APPENDIX TO DEFENDANT-INTERVENOR’S
  MOTION FOR SUMMARY JUDGMENT
                                    TABLE OF CONTENTS:

      APPENDIX TO DEFENDANT-INTERVENOR’S MOTION FOR SUMMARY JUDGMENT

                                                                   Appendix
                                  Description                        Page
                                                                   Number(s)

Declaration of Lainey Armistead                                        1


Declaration of Chelsea Mitchell                                        9


Declaration of Christina Mitchell                                     20


Declaration of Alanna Smith                                           33


Declaration of Selina Soule                                           39


Declaration of Darcy Aschoff                                          49


Declaration of Cynthia Monteleone                                     54


Declaration of Madison Kenyon                                         59


Declaration of Mary Marshall                                          65


Declaration of Haley Tanne                                            70


Declaration of Linnea Saltz                                           75

2019 NCAA Division II Outdoor Track & Field Championship Results
                                                                      80
(Excerpt)

2020 Big Sky Indoor Track & Field Championship Results (Excerpt)      82


2020 Women’s Ivy League Swimming & Diving Championship Results        87

2020 NCAA Division I Women’s Swimming & Diving Championship
                                                                      109
Results (500 Yard Freestyle)
2020 NCAA Division I Women’s Swimming & Diving Championship
                                                                              113
Results (100 Yard Freestyle)

Declaration of Gregory A. Brown, PH.D, FACSM                                  116


Declaration of Dr. Chad T. Carlson, M.D., FACSM                               198


Declaration of Dr. Stephen B. Levine, M.D.                                    276


Declaration of James M. Cantor, PH.D                                          384


Deposition of Mary D. Fry, PH.D                                               492


Deposition of Dr. Joshua Safer, M.D.                                          614


Deposition of Dr. Deanna Adkins, M.D.                                         753


Deposition of Dr. Aron Janssen, M.D.                                          905


Deposition of Bernard Dolan                                                   1067


Deposition of Dr. Kacie Kidd, M.D.                                            1142


Deposition of B.P.J.                                                          1279

Plaintiff’s Responses and Objections to Defendant-Intervenor Lainey
                                                                              1437
Armistead’s First Set of Requests for Admission
Plaintiff’s Responses and Objections to Intervenor Lainey Armistead’s Third
                                                                              1487
Set of Interrogatories and Second and Third Sets of Requests for Admission
Defendant Harrison County Board of Education’s Responses and Objections
                                                                              1511
to Plaintiff’s Second Set of Requests for Admission

Errata Sheet to Deposition of Dr. Joshua Safer, M.D.                          1535

Harrison County Board of Education Document Production:
                                                                              1538
HCBOE 01167–01172
Harrison County Board of Education Document Production:
                                                          1544
HCBOE 01265–01268
                                                                                  Armistead App. 0001



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON
                                              Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF
 EDUCATION, HARRISON COUNTY BOARD OF                             Case No. 2:21-cv-00316
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.
 CLAYTON BURCH in his official capacity as State                Hon. Joseph R. Goodwin
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA
                                           Defendants,
        and
 LAINEY ARMISTEAD
                                 Defendant-Intervenor.


                        DECLARATION OF LAINEY ARMISTEAD


I, Lainey Armistead, under penalty of perjury, declare as follows:

       1.      I am a twenty-two-year-old resident of Charleston, West Virginia, in Kanawha

County, and have personal knowledge of the information below.

       2.      I am a junior and female athlete at West Virginia State University (WVSU) in

Charleston, West Virginia, where I am a member of the women’s soccer team. Soccer is my

passion and life-defining pursuit.

Athletics Background

       3.      I come from a family of talented athletes. My dad was a multi-sport athlete in

high school and an All-American soccer player in college. He later coached club soccer. My

                                                1
                                                                                    Armistead App. 0002



mom was a high school and collegiate cheerleader. Two of my brothers went on to play soccer in

college.

          4.   Soccer was like the air I breathed growing up. I first kicked a soccer ball at three

years old—almost as soon as I could walk. I grew up playing pick-up soccer games with my

brothers, being coached by my dad on technique, and cheering at soccer matches alongside my

family.

          5.   I started playing on club soccer teams in my home state of Kentucky at age seven

and continued competing on club teams through the end of my high school career.

          6.   I was excited to enjoy success on those club soccer teams. When I was just nine

years old, my club soccer team won the indoor U.S. Youth Futsall National Championships—

which is the largest and most prestigious indoor youth soccer competition in the country. It was

an unforgettable experience.

          7.   I later went on to help my club soccer team win state championships during my

freshman and sophomore years of high school. Those wins pushed me to try even harder.

          8.   Also during my sophomore year of high school, I had the honor of being selected

from my club soccer team (Kentucky Fire) as one of only 20 girls in the nation to be invited to

compete in a showcase soccer event in Las Vegas.

          9.   In addition to club soccer, I also competed on my school’s middle school and high

school soccer teams. One of my favorite memories from that time was helping my high school

soccer team win the state championship during my freshman year of high school.




                                                 2
                                                                                    Armistead App. 0003



Competing in Women’s Collegiate Athletics

       10.      It was my dream to play soccer in college. And I hoped my hard work would pay

off with a college scholarship. I know, however, that athletic scholarships are limited and

competitive.

       11.      After visiting approximately ten different colleges, I decided to visit West

Virginia State University (WVSU), a public state university. I immediately knew this was where

I wanted to attend college and I committed the same day.

       12.      WVSU offered me a soccer scholarship to compete on its women’s soccer team.

That scholarship helps pay for my education and brings me one step closer to my dream of being

a lawyer someday.

       13.      Without a scholarship, I likely would have attended a college in my hometown

and been saddled with school loans. My athletic scholarship opened the door for me to attend the

school of my choice.

       14.      WVSU is an NCAA Division II soccer team and competes in the NCAA

Mountain East Conference.

       15.      There are 11 players per team (22 players total) on the soccer field at any given

time, though teams may have two or three times that many players total. Those 11 starting

positions are highly coveted and competitive.

       16.      Team players are grouped into four general categories:

             a. the front, or attacking positions, which are called strikers;

             b. the midfielder positions;

             c. the defender positions;

             d. and the goalie.


                                                   3
                                                                                     Armistead App. 0004



        17.     I play starting left wingback on the soccer field, which is a defender position. But

I “attack” a lot, which means I run up and down the field much of the game.

        18.     I also have the privilege of serving as team captain. This is a leadership position

that is voted on by both players and coach, and has responsibilities that include organizing the

team, determining what jerseys to wear, serving as liaison between the players and coaches, and

also serving as liaison between the players and referee.

        19.     In 2020, I received the Stinger Award for “Female Teammate of the Year” in

WVSU women’s soccer.

        20.     Due to the COVID-19 pandemic, I currently have three years of NCAA eligibility

left.

        21.     My teammates and I train hard to win. We do running drills, weightlifting, and

watch replay videos of our prior games to evaluate how we can improve.

        22.     But it is not always easy. I have made many sacrifices over the course of my

athletic career to play the sport that I love. I have missed school dances and spring breaks; family

events; and friends’ birthdays. I have given up my weekends and free time. I stay at school late

for practice and get up early to train.

        23.     But I make these sacrifices because I want to be the best that I can be. I want to

win—not just for myself, but also for my teammates. And it is that love of winning that helps me

press through when the going gets tough.

        24.     I love my sport. It’s exhilarating to see all the training and hard work that we put

in at practice pay off on the field.




                                                  4
                                                                                   Armistead App. 0005



       25.     Soccer is called the “beautiful sport”—and for good reason. It is the most played

sport in the world. Like music, soccer transcends culture. You can play a pick-up game of soccer

with anyone regardless of language or background.

       26.     But soccer is also beautiful because it takes incredible teamwork to achieve a win.

Soccer is a 90-minute game. It is much more difficult for women to run nonstop for a full 90-

miuntes than it is for men. As a result, women’s soccer games are different than men’s. We have

to be more cohesive. We pass the ball more, communicate more, and rely on our teammates

more. But rather than a downside, I see teamwork as a thing of beauty. I love accomplishing

things as a group. And when I step on the field with those ten other women, I know they have my

back and I have theirs. We play hard for each other. As a result, my teammates have become

some of my closest friends.

       27.     Soccer also taught me life skills like mental and physical toughness, perseverance,

and good sportsmanship. It taught me that hard work and discipline pay off. It taught me the

value of teamwork. It provided leadership opportunities that will benefit my future career. It

opened new financial opportunities, such as benefitting from my image and likeness. It has given

me lasting friendships with my teammates. And it has given me something to strive for. I would

not be the person I am today without soccer.

Safety Concerns in Soccer

       28.     Soccer is a rough contact sport, and injuries are common among female athletes.

       29.     From my own observations, concussions, knee injuries, and ankle injuries are the

most common injuries incurred by soccer players. In the first couple games of the WVSU fall

2021 soccer season alone, members of my team suffered all three of these injuries.




                                                 5
                                                                                      Armistead App. 0006



       30.     Playing a rough contact sport with other girls is one thing. But having played

pick-up soccer games with my brothers and street soccer with men, I have realized that playing a

rough contact sport with men is entirely different.

       31.     Males are generally stronger, fitter, faster, and have a bigger stature than women,

which gives them advantages of strength, speed, and size in soccer. They compete at a faster

pace. They kick the ball harder. They have physical frames that are generally larger.

       32.     Thankfully, I can enjoy a casual pick-up game of soccer with men because they

take it easier on me. They do not go “all-in” because they know they could hurt me. But it would

be a different story if a male was seriously competing and making full use of his strength, speed,

and size in a soccer match against me. Based on my long experience playing competitive team

soccer, I would be more worried that I could be injured by a male than a female competitor in a

game in which players are trying their hardest to win.

Fairness in Women’s Sports

       33.     A couple years ago, I heard about female track athletes in Connecticut who lost to

biological males competing in their races. I learned that these two males won 15 women’s state

championship titles in girls’ high school track and field. I was appalled and heartbroken for those

girls. It felt so unfair. But I was thankful that those athletes had the courage to stand up.

       34.     I also heard that a male who competed on the University of Montana men’s team

track and cross-country team began competing in women’s cross-country and track events and

displaced collegiate female athletes.

       35.     So when I heard that West Virginia’s legislature passed the Save Women’s Sports

Act to protect the integrity of women’s sports, I enthusiastically supported it.




                                                   6
                                                                                     Armistead App. 0007



       36.     I never dreamed this would be an issue in West Virginia. And I never thought this

issue could personally impact my competition till I learned a lawsuit had been filed against the

new West Virginia law to protect women’s sports.

       37.     Getting involved in this lawsuit was a weighty decision. I sought a lot of counsel

and considered my options carefully before deciding to become involved in a case of this public

importance and controversy. It’s not always easy standing up for what you believe in.

       38.     And I know from experience in friendly competitions against men that facing a

male in a soccer game changes the entire dynamics on the field and poses not just fairness but

safety concerns, as well.

       39.     If forced to compete against a male athlete, I would have to face the hard decision

of competing on an unfair playing field with heightened safety risks, or not competing at all.

       40.     A single male on my team could displace me or one of my teammates from a

starting position—or a position on the team.

       41.     Even if the male athlete was on my team—arguably giving my team an

advantage—I would treat that individual with respect and kindness, but it would still be unfair to

displace a female athlete from her place on the field or from that position. And it also would not

be fair to the female players on the opposing team.

       42.     Allowing males into women’s athletics allows a person with a male body to take

opportunities away from female athletes—whether that is a spot on the team, a starting position

on the field, an athletic scholarship, the opportunity to benefit from her likeness, or recognition

and awards—and is contrary to the entire purpose of women’s sports.

       43.     Women’s sports exist to give girls like me a chance to compete in sports on a

level playing field.



                                                  7
                                                                                     Armistead App. 0008



        44.     Women have worked so hard to be taken seriously on the athletic level.

        45.     I fear that too many women feel pressured to remain silent about their beliefs.

        46.     I want other little girls in the future, or my own daughters, to not have to worry

about competing against males. I also fear that girls in the future might consider not playing at all

if they feel they cannot win against a physically superior male. Winning is the motivation for a

lot of us who played sports for years.

        47.     I believe that protecting fairness in women’s sports is a women’s rights issue.

This isn’t just about fair play for me: it’s about protecting fairness and safety for female athletes

across West Virginia. It’s about ensuring that future generations of female athletes are not

discriminated against but have access to the same equal athletic opportunities that shaped my

life.

        48.     Being an athlete in college has made me even more passionate about the sport that

I play. I want fairness and equality in sports. And I want to ensure those standards are protected

for other girls, too.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                                      ____________________________________
                                                      Lainey Armistead
                                                      Dated: April 20, 2022




                                                  8
                                                                                    Armistead App. 0009



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

    B.P.J, by her next friend and mother, HEATHER
    JACKSON,
                                               Plaintiff,
           v.
    WEST       VIRGINIA      STATE       BOARD       OF           Case No. 2:21-cv-00316
    EDUCATION, HARRISON COUNTY BOARD OF
    EDUCATION, WEST VIRGINIA SECONDARY
    SCHOOL ACTIVITIES COMMISSION, W.                              Hon. Joseph R. Goodwin
    CLAYTON BURCH in his official capacity as State
    Superintendent, DORA STUTLER in her official
    capacity as Harrison County Superintendent, and THE
    STATE OF WEST VIRGINIA,
                                             Defendants
           and
    LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                         DECLARATION OF CHELSEA MITCHELL
I, Chelsea Mitchell, declare as follows:
          1.     I am a nineteen-year-old graduate of Canton High School in Canton,

Connecticut, and a sophomore student athlete at the College of William and Mary in

Williamsburg, Virginia.

          2.     As an elite female athlete, I had the deflating experience of competing against

and losing to male athletes in the girls’ category throughout all four years of my high school

career. I personally lost four state championship titles, two All-New England awards, medals,

points, placements, and publicity due to an unfair state athletic policy that permits males to

compete in girls’ sports in Connecticut.




                                                 1
                                                                                       Armistead App. 0010



                 I hope that by sharing my experience, no other female athlete will have to face

the heartache and loss that I did.

Athletic Background

       4.          Sports are a big part of my family. My sisters and I each started playing

organized sports in kindergarten and later became multi-sport athletes. My oldest sister was

captain of her high school soccer and track teams and went on to run collegiate track. My

younger sister plays high school soccer and runs track, and also played lacrosse and basketball

for a time. And I played basketball until eighth grade. I was the leading scorer on my varsity

soccer team and a four-year starter. And I am a short distance sprinter and long-jumper.

                 My dad dedicated 15 years to coaching our soccer and basketball teams. My

mom was our number one cheerleader, driving us to and from games, and volunteering her time

so that we could play the sports we loved. 

       6.          I started running track in middle school. My older sister ran it, and I decided to

give it a try. I loved it: the competitiveness, how it makes me feel, and the opportunity to win.

                  I’m quite proud of my high school athletic achievements, which include:

       x       High School All-American for Long Jump, 2020 – NSAF (top 6 nationally)
       x       Girls Outdoor Track Athlete of the Year, 2019 – Connecticut High School Coaches
               Association
       x       Bo Kolinsky Female Athlete of the Year, 2019 – Hartford Courant (soccer and track)
       x       New England Champion in 100m
       x       3 State Open Championships – 55m, 100m, Long Jump
       x       8 State Championships – 55m, 100m, 200m, 300m, Long Jump x3, 4x100 relay
       x       20 Conference Championships
       x       Hold the Conference Meet Records in all my events – 55m, 300m, LJ, 100m, 200m,
               LJ
       x       MVP award for track every season of high school career.
       x       Most goals scored in school history for girls’ soccer.
       x       Most championship titles in school history for any athlete, male or female.



                                                    2
                                                                                        Armistead App. 0011



         x       Being the only female in school history to win a State or New England Championship
                 in track and field. Thirteen different male athletes have won titles.
                    I am proud of what I’ve accomplished. But it hasn’t been easy. 

                    I have made a ton of sacrifices to compete—giving up what many would

consider the “normal” teenage life by watching what I eat, skipping the parties, and going to bed

early. I spend several hours a day at the track and in the weight room. Track meets are all-day

events that start early and end late. I usually train or compete six days a week, with Sunday often

my only day off when we are in-season. I do all of this to strengthen my body and improve my

technique in hopes of running just a few tenths of a second faster or jumping just a few inches

farther.

                  I do not mind the early mornings and long, tiring days when I know the

competition is fair. Because when the competition is fair, I know I have a decent shot at winning.

But my high school experience was anything but fair. 

Males competing in Connecticut girls’ track

                  During my freshman year of high school, my mom informed me that a male

would be competing in the girls’ category. 

         12.         Later, we learned that the Connecticut Interscholastic Athletic Conference

(CIAC) —the athletic association that set the rules for school sports in Connecticut—had passed

a policy allowing biological males who identify as female to compete in the girls’ category.

                  From the Spring 2017 outdoor track season through the Winter 2020 indoor track

season1—six track seasons—I competed against biological males in my track and field athletic

events due to the CIAC policy.



                                   
1
    The Spring 2020 outdoor season was cancelled due to the global COVID-19 pandemic.
                                                     3
                                                                                      Armistead App. 0012



               Over the course of my high school career, I competed head-to-head with male

athletes 27 times. I never won a race in which both male athletes were running.

2016-2017 Freshman Year

               I first competed against a male in girls’ track and field as a fourteen-year-old

freshman at the Spring 2017 State Open Championship.

            16.   On the way to this meet, I was instructed by my coach to respond “no comment”

if asked about the issue of males competing in the female category.

            17.   In the 100m final at the 2017 outdoor State Open, I placed 7th overall. The top

six receive a medal and qualify to advance to the New England Regional Championship: one of

those top six spots was taken by male athlete Andraya Yearwood:

Table 1: 2017 CIAC State Open Women’s Outdoor Track 100m Results (June 5, 2017)2
    Place     Grade   Sex    Name                             Time      High School
    1*        12      F      Caroline O’Neil                  12.14s    Daniel Hand
    2*        12      F      Kathryn Kelly                    12.36s    Lauralton Hall
    3*        9       M      Andraya Yearwood                 12.41s    Cromwell
    4*        11      F      Tia Marie Brown                  12.44s    Windsor
    5*        12      F      Kiara Smith                      12.59s    Jonathan Law
    6*        11      F      Kate Hall                        12.62s    Stonington
    7         9       F      Chelsea Mitchell                 12.69s    Canton
    8         12      F      Tiandra Robinson                 FS        Weaver
* Qualified for the New England Championship.


            18.   If not for Yearwood’s participation in the girls’ category, I would have medaled

and had the honor of advancing to the prestigious regional championship as a freshman.




                                
2
 AthleticNet, https://www.athletic.net/TrackAndField/meet/306453/results/f/1/100m, last visited
June 2, 2020.
                                                   4
                                                                                    Armistead App. 0013



2017-2018 Sophomore Year
          19.   During my sophomore year, I learned that Andraya Yearwood’s school was

reclassified to the Class S division for indoor track events—which was the same class as my

school.

          20.   This news was upsetting for me because I would now be racing against a male

competitor at both the Class S championship and the State Open championship.

          21.   At the February 10, 2018, indoor Class S Championship in the 300m, I was

knocked out of advancing to the State Open by just one spot—a spot was taken by Andraya.

             As a competitive person, I often check Athletic.net, a website that lists high

school track rankings. One day, I noticed a new girl, named Terry Miller, at the top of the charts.

Terry was running times better than I ever hoped to run. But my coach told me later that it must

be some mistake—perhaps Terry was entered in the wrong race. Terry had competed as a boy for

the previous three seasons.

          23.   On April 27, 2018, at the first invitational race of the Spring 2018 outdoor

season, I was seeded in the 100m in a lane beside not just one, but two male athletes: Terry

Miller and Andraya Yearwood.

          24.   I distinctly remember seeing Terry look over to Andraya and say: “You and me,

one and two.” At fifteen years old, I felt extremely intimidated to run against bigger, faster, and

stronger male competitors.

          25.   But Terry was right. I should have won that 100m race; but instead, Terry and

Andraya took first and second place, while I placed third.

          26.   Similarly, at the Spring 2018 outdoor State Open Championship, Terry won the

women’s 100m event by a wide margin, while Andraya finished second.

          27.   But for CIAC’s policy, I would have won second place statewide:

                                                 5
                                                                                      Armistead App. 0014



Table 2: 2018 CIAC State Open Championship Women’s Outdoor Track 100m Results
(June 4, 2018)3
    Place     Grade   Sex    Name                             Time      High School
    1*        10      M      Terry Miller                     11.72s    Bulkeley
    2*        10      M      Andraya Yearwood                 12.29s    Cromwell
    3*        11      F      Bridget Lalonde                  12.36s    RHAM
    4*        10      F      Chelsea Mitchell                 12.39s    Canton
    5*        11      F      Maya Mocarski                    12.47s    Fairfield Ludlowe
    6*        10      F      Selina Soule                     12.67s    Glastonbury
    7         12      F      Tia Marie Brown                  12.71s    Windsor
    8         11      F      Ayesha Nelson                    12.80s    Hillhouse
* Qualified for the New England Championship.

            28.   Bridget Lalonde beat me by just three-hundredths of a second, but I was so

relieved that she did. Emotionally, it was less of a loss to be denied runner-up status than to be

denied a first place State Open Championship—a feat almost unheard of for a high school

sophomore.

            29.   At the 2018 outdoor New England Regional Championship, I placed seventh in

the 100m. Only the top six medal and receive the All New England award—one of those top six

spots was taken by Terry.

            30.   Had I earned the title of All New England, I would have made Canton High

School history as the first Canton female athlete to win this prestigious award.

2018-2019 Junior Year

            31.   In the fall of my junior year, I learned that male athlete Terry Miller transferred

to Bloomfield, another Class S school.

            32.   I was devastated, fearing that with two males competing in my division, my

chances of ever winning a state championship in sprints were now over.



                                
3
 AthleticNet, https://www.athletic.net/TrackAndField/meet/334210/results/f/1/100m, last visited
June 2, 2020.
                                                   6
                                                                                    Armistead App. 0015



            33.   I trained harder than ever, spending countless hours to shave mere fractions of

seconds off of my times. I never missed a practice, squeezed in extra workouts where I could,

and saw my race times consistently drop.

            34.   But it was not enough. And my fears of losing championship after championship

were realized in the Winter and Spring 2019 seasons.

            35.   At the February 7, 2019, indoor Class S State Championship, Terry finished first

in the 55m. I placed second. But for the CIAC’s policy, I would have been named the Class S

State Champion in the 55m.

            36.   The February 16, 2019, indoor State Open Championship saw similar results and

a similar impact. Terry and Andraya finished first and second respectively in both the

preliminary and final Women’s 55m races, each time defeating the fastest girl by a wide margin.

I placed third in the final.

            37.   But for CIAC’s policy, I would have won the 2019 State Open Championship in

the 55m dash:

Table 3: 2019 CIAC State Open Championship Women’s Indoor Track 55m Preliminary
Results (February 16, 2019)4
    Place     Grade   Sex      Name                          Time     High School
    1*        11      M        Terry Miller                  7.00s    Bloomfield
    2*        11      M        Andraya Yearwood              7.07s    Cromwell
    3*        12      F        Cori Richardson               7.24s    Windsor
    4*        11      F        Chelsea Mitchell              7.27s    Canton
    5*        12      F        Kate Shaffer                  7.27s    Conard
    6*        12      F        Ayesha Nelson                 7.29s    Hillhouse
    7*        12      F        Maya Mocarski                 7.34s    Fairfield Ludlowe
    8         11      F        Selina Soule                  7.37s    Glastonbury
    9         10      F        Kisha Francois                7.41s    East Haven
* Qualified for the women’s 55m final.

                                 
4
 AthleticNet, https://www.athletic.net/TrackAndField/meet/352707/results/f/1/55m, last visited
June 2, 2020.
                                                  7
                                                                                   Armistead App. 0016



Table 4: 2019 CIAC State Open Championship Women’s Indoor Track 55m Final Results
(February 16, 2019)5
    Place     Grade   Sex    Name                           Time      High School
    1*        11      M      Terry Miller                   6.95s     Bloomfield
    2*        11      M      Andraya Yearwood               7.01s     Cromwell
    3*        11      F      Chelsea Mitchell               7.23s     Canton
    4*        12      F      Kate Shaffer                   7.24s     Conard
    5*        12      F      Ayesha Nelson                  7.26s     Hillhouse
    6*        12      F      Maya Mocarski                  7.33s     Fairfield Ludlowe
    7         12      F      Cori Richardson                7.39s     Windsor
* Qualified for the New England Championship.
            38.   Instead, I was not named State Open Champion in the 55m, I received a bronze

medal instead of a gold medal, and I did not make Canton High School history as the first ever

Canton female athlete to be named a State Open Champion.

            39.   However, after the 55m race, I returned to the finals of the long jump, which had

no males competing. While listening to them announce Terry as the winner and new meet record

holder in the 55m, I won the long jump event to solidify my place in the Canton record books as

the first Canton indoor track athlete—male or female—to be named a State Open Champion.

            40.   State Champions are recognized as All-State Athletes, an award listed on college

applications, scholarship applications, and college recruiting profiles. State Champions are

invited to the All-State Banquet, and get their name celebrated on a banner in their high school

gym. I did not receive any of these awards for the 55m. But I was able to receive these awards

for my long jump championship.

            41.   After the State Open Championship, I was repeatedly referred to in the press as

the “third-place competitor, who is not transgender.” I was the fastest biological girl in the 55m

race at the State Open Championship, but the press did not mention my name—I felt invisible.



                                
5
    Id.
                                                  8
                                                                                     Armistead App. 0017



            42.   At the March 2, 2019, indoor New England Regional Championship, Terry took

first and Andraya took third place in the 55m dash. I missed medaling and being named All New

England Champion by just two spots—two spots that were taken by male competitors.

            43.   Following Terry Miller’s sweep of the CIAC’s Indoor Class S, State Open, and

New England titles in the 55m dash and 300m, Terry was named “All-Courant girls indoor track

and field athlete of the year” by the Hartford Courant newspaper. This felt like an injustice to my

fellow female athletes.

            44.   In the Spring 2019 outdoor season, I competed against both Terry and Andraya

in the Class S Championship. At this event, I ran the fastest biological female times in the 100m

and 200m across all state class meets.

            45.   But because of the CIAC’s policy, being the fastest biological girl just was not

good enough to experience the thrill of victory. Instead, at the 2019 Class S Championship, Terry

placed first in the 100m and 200m, while I placed second in both events. I won the long jump

and received a state title. But because of the CIAC’s policy, I took home only one state title

instead of three.

            46.   The trend continued at the 2019 outdoor State Open Championship as Terry

easily won the women’s 200m race. But for CIAC’s policy, Cori Richardson would have won

the state championship, Alanna Smith would have finished runner-up, and Olivia D’Haiti would

have advanced to the New England Championship:

Table 5: 2019 CIAC State Open Championship Women’s Outdoor Track 200m Final
Results (June 3, 2019)6
    Place     Grade   Sex    Name                            Time      High School

                                
6
 AthleticNet,
https://www.athletic.net/TrackAndField/MeetResults.aspx?Meet=364088&show=all, last visited
June 2, 2020.
                                                  9
                                                                                   Armistead App. 0018



    1*     11          M    Terry Miller                   24.33s    Bloomfield
    2*     12          F    Cori Richardson                24.75s    Windsor
    3*     9           F    Alanna Smith                   25.01s    Danbury
    4*     11          F    Chelsea Mitchell               25.24s    Canton
    5*     12          F    Nichele Smith                  25.38s    East Hartford
    6*     12          F    Bridget Lalonde                25.55s    RHAM
    7      12          F    Olivia D’Haiti                 25.63s    Kolbe-Cathedral
* Qualified for the New England Championship.
         47.     But I did receive one opportunity to compete on a more level playing field. At

the Spring 2019 State Open Championship in the 100m, Terry, the top-seed in the race, false-

started and was disqualified. This opened the door for me: I was able to relax, focus on my race,

and win. I set a personal record of 11.67 seconds, made Canton High School history as the first

sprinter to be a state open champion in any sprint event, medaled, received significant media

publicity, and advanced to the New England Regional Championships.

         48.     I went on to win the New England Regional Championships in the 100m dash

and was named All New-England. Here, too, I made Canton High School history as the first

female to win a New England Championship.

         49.     Thereafter, I was awarded Track Athlete of the Year by the Connecticut High

School Coaches Association, and the Hartford Courant named me 2019 All-Courant Girls

Outdoor Track and Field Athlete of the Year and the Bo Kolinsky Female Athlete of the Year

(across all sports).

         50.     My new personal record, State Open Champion and All New-England awards

put me in a much better recruiting position for college scholarships—all because a false start that

prevented a male from competing against me in the women’s division leveled the playing field.

2019-2020 Senior Year

         51.     A similar scenario played out in the Winter 2020 season. At the indoor Class S

Championship 55m race, Andraya Yearwood—the top seed in the race and the individual ranked

                                                10
                                                                                    Armistead App. 0019



number one in the state for the women’s 55m dash—false-started and was disqualified. That

false start opened the door for me to not only win the CIAC Class S Championship in the 55m

dash, but also to advance to the 2020 Connecticut State Open Championship in the 55m event

and win.

       52.      To my disappointment, the 2020 Spring outdoor season—the final track season

of my high school career — was cancelled in light of the global COVID-19 pandemic.

       53.      It feels defeating to know that records at my high school, CIAC, AthleticNet,

MySportsResults, CT.Milesplit.com, and others do not reflect the four state titles and two All

New England awards I should have earned. It is upsetting to know that the meet records of many

great female athletes before me have also been wiped from the books.

       54.      Competing against males makes me feel anxious and stressed. And stress has a

negative impact on my athletic performance.

       55.      I try to stay positive, to take support from family and friends, but it is hard when

I know that I must compete against those who have a biological advantage because they were

born male.

       56.      I hope that future female athletes will not have to endure the anxiety, stress, and

performance losses that I have while competing under a policy that allows males to compete in

the female category.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                   ____________________________________
                                                   Chelsea Mitchell
                                                   Dated: April 13, 2022



                                                11
                                                                                   Armistead App. 0020



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                             Defendants
        and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                       DECLARATION OF CHRISTINA MITCHELL

       I, Christina L. Mitchell, under penalty of perjury, declare as follows:

       1.      I am a forty-eight-year-old resident of Canton, Connecticut, in Hartford County,

and have personal knowledge of the information below.

       2.      I am the mother of three female athletes. My daughters are now ages twenty-

three, nineteen, and fifteen and have competed in soccer, basketball, and track. Our family life

has been centered around sports since the girls were just little, spending most nights and nearly

every weekend at the soccer field, in the gym, or at the track.

Family Athletics Background

       3.      I ran track and played basketball in high school. My husband played many sports

and was the star of his high school basketball team. We have a competitive spirit that we have
                                                 1
                                                                                    Armistead App. 0021



passed on to our girls. Whether it’s board games, March Madness brackets, or a pickup game of

soccer in the yard, our family enjoys a good competition.

       4.      My husband volunteered his time as a youth soccer and basketball coach for the

town of Canton for fifteen years. He would race home from his office job to try and make it to

the field or gym in time for practice. Some seasons he coached two of our daughters’ teams,

which meant practice four nights a week and four games each weekend. It was exhausting but he

loved every minute of it.

       5.      I volunteered on the Board for the Canton Youth Soccer Association for eight

years. As registrar, I had to enforce strict age categories for the teams. Kids were allowed to

“play up” on an older team but were never allowed to “play down” on a team for younger kids.

Soccer teams were also separated by sex beginning in first grade. Boys’ teams were designated

as co-ed so that girls who wanted to sign up for the boys’ team could “play up”. Girls' teams

were restricted to females in the registration system.

       6.      When my oldest daughter reached high school, I turned my volunteer efforts to

the Canton Athletic Booster Club. I worked to get a concession stand built and stadium lighting

installed at the high school track and field. In 2017, I was presented with the Dubuc Service to

Canton Award in recognition for my years of volunteer service to the school and community.

       7.      All three of our daughters have excelled at sports. Our oldest daughter, Emily,

was a varsity soccer and track athlete in high school. She was captain of both teams in her senior

year and went on to compete on the women’s track team in college.

       8.      Our youngest daughter, Kennedy, is a sophomore in high school and competes in

soccer and track as well. She plays outside defensive back in soccer and her team made it to the




                                                 2
                                                                                     Armistead App. 0022



state championship this year. She is a long jumper and sprinter in track. She hopes to continue

with one of these sports in college.

       9.      Our middle daughter, Chelsea, has proven herself as an exceptional athlete. Like

her sisters, she had success in both soccer and track in high school. As a little girl on the soccer

field, you could see her natural ability to run – she could come from 20 yards behind and beat

anyone to the ball. When she got to high school, she added a heavy dose of hard work to that

natural gift and made the most of it on the track.

2017 Outdoor Track Season – Freshman year

       10.     In April of 2017, the outdoor season of track and field in Connecticut was just

getting started and Chelsea was ranked among the top sprinters in the state. She was coming off

the indoor season where she set school records in the 55m and 300m at her very first meet.

       11.     There was one other freshman posting times in the top ten, Andraya Yearwood. I

soon learned from an article in the Hartford Courant that Yearwood was a male identifying as

female and running for Cromwell. I was confused by the piece, which seemed to celebrate this,

and found it hard to believe that the schools, coaches, and state officials would allow it to

continue. I saw it as a clear violation of women’s rights under Title IX.

       12.     Chelsea worked hard that season and placed 2nd at the Class S state championship

in all three of her events - the 100m, 200m, and 4x100 relay. The top five in each event advance

to the State Open Championship to compete against the top twenty-five athletes in the state.

Making it to the State Open is a huge accomplishment and Chelsea had qualified in all three

events as a freshman. We were very proud and excited for her.

       13.     I knew that one of the other twenty-five competitors at the State Open would be

Andraya Yearwood. The CIAC had allowed Yearwood to compete at the Class M state



                                                  3
                                                                                      Armistead App. 0023



championships and take the girls’ title in the 100m and 200m races. One of the girls who placed

second, Kate Hall, was interviewed following the race – “I can’t really say what I want to say”.

The silencing of the girls had begun.

          14.   I had shielded Chelsea from much of the news up to this point, but the night

before the race we felt we needed to prepare her for what she would face the next day. I told her

there would be a boy who identified as a girl in her race and that she had to try to focus on

herself and block out the rest. We knew that this would be a blow to her mental game but didn’t

want her to be surprised by it at the start line.

          15.   Chelsea’s first race against a biological male was on a really big stage. The State

Open is held at New Britain stadium, one of the biggest outdoor tracks in Connecticut. It is

always packed with spectators and many college coaches attend to see potential recruits in

action.

          16.   For me, it was my first time watching this unfair policy play out in person. As

someone who has now watched my daughter race against males more than twenty times, I can

attest to how difficult it has been every single time. The girls are forced into a race that they

know is rigged against them. They are told to be quiet and be a good sport. They watch as

officials casually ignore the foundational principle of sport – fair play. They see the media there,

waiting to celebrate the travesty and daring the girls to speak against it. The message to these

girls was very clear – nobody cares about your rights. As a woman it was infuriating and as a

mom it was heartbreaking. I can only imagine what it felt like to be one of the girls in the race.

          17.   The 2017 Outdoor State Open was Chelsea’s first tangible loss to a biological

male. She took 7th place in the finals of the 100m. She missed advancing to the New England

Championship by one spot. Yearwood had placedUG.



                                                    4
                                                                                      Armistead App. 0024



       18.       In a stroke of luck, one of the six automatic qualifiers to New England, Caroline

O’Neil, had to decline her spot. We got the call later that night that as the 7th place finisher,

Chelsea could go and compete. We were so grateful.

       19.       A few days later at the New England Championships, I watched as Yearwood’s

2nd place finish in the 100m again took something tangible from female athletes. Madison Post

from Maine didn’t make the finals. Katya Levasseur from New Hampshire missed the top six

and lost out on the All-New England designation. Kyla Hill from Massachusetts took home a 3rd

place medal instead of silver. The ripple effect of Connecticut’s policy had spread to our

neighboring states.

2018 Indoor Track Season – Sophomore Year

       20.       I hoped that common sense would prevail, and this would work itself out before

the next season. It didn’t. Yearwood took home the 2018 Indoor Class S State Championship

title in the 55m and placed 2nd in the 300m. Chelsea recorded another lost opportunity due to the

policy as she missed advancing to the State Open in the 300m by one spot. Patricia Jurkowski

should have taken home the 55m title and other girls lost opportunities to advance to finals or

score points for their team. With every race, the list of female sprinters impacted by the policy

grew longer. I knew I couldn’t remain silent about it any longer.

       21.       Following the 2018 Indoor State Championships, I began to advocate for a change

in policy. I first spoke to the Assistant Superintendent of Canton Schools, Dr. Jordan Grossman.

I asked if he thought the Board of Education could help, but he advised against taking the issue

to them. Instead, he gave me the name of the CIAC Executive Director so I could follow up with

them directly.




                                                   5
                                                                                     Armistead App. 0025



       22.     I went to work on a letter to the CIAC asking for a solution to protect the rights of

the female athletes in our state. I included the Canton principal, athletic director, coach, and

assistant superintendent on the email. The CIAC replied that they were unwilling to consider

changing the policy and listed various reasons. I addressed each reason with my own points – I

was thorough and respectful – but I received no reply.

2018 Outdoor Track Season – Sophomore Year

       23.     The night before the first big meet of the outdoor season, we realized that a

second male was competing in girls' sprint events. It was hard to believe at first, I remember

thinking that surely this wasn’t really happening. Terry Miller had competed for three seasons on

the boys’ team. Looking at the race results online, it was clear that Miller was an average runner

that hadn’t even qualified to compete at the boys’ state championships just a few weeks earlier.

After switching to the girls’ team, Miller was suddenly ranked first in the state. I reached out to

Chelsea’s coach immediately. It seemed it was true; this was really happening.

       24.     The two male athletes took first and second in the 100m race the next day –

Chelsea finished 3rd. With two males competing, it was clear that the number of lost

opportunities for Chelsea and female sprinters across the state would now be double.

       25.     I again wrote to the Canton athletic director and principal to let them know that

there were now two male athletes competing in girls’ track. I asked them to urge the CIAC to

change the policy before more harm was done but nothing changed.

       26.     Miller swept the sprint events at the Class M championship, taking three state

titles. Yearwood was close behind. Girls were sidelined, missing finals and advancement to the

Open. Anyone who tried to speak out was quickly silenced. Chelsea was thankfully in Class S




                                                  6
                                                                                      Armistead App. 0026


and took home three state titles of her own. But she would again head to the State Open to

compete against males.

       27.     The State Open was a circus. Miller and Yearwood took 1st and 2nd in the 100m.

The media was out in full force, waiting to ask the first female finisher how she felt about taking

3rd place. We were glad Chelsea took 4th and didn’t have to deal with the emotions of being the

one to lose a state title and her banner in the gym. Bridget LaLonde was the unlucky girl this

time. Other girls lost points for their team, medals, and opportunities to advance to the New

England Championship. The list of females impacted was very long at this point.

       28.     There was more of the same at the New England Championship. The top six

athletes from Maine, Vermont, New Hampshire, Massachusetts, Rhode Island, and Connecticut

were there to compete for the title. It was a sunny day at a beautiful track and field facility at the

University of New Hampshire, an incredible experience. But a cloud hung over the event as the

female athletes were again denied a fair race.

       29.     I watched as Miller swept the 100m and 200m races at the New England

championship. Chloe Alfieri, a senior from Massachusetts, took second place in both events.

Miller was interviewed after each win, as is customary for the champion. Chloe missed out on

those titles and that recognition. It was awful to watch.

       30.     Chelsea took 7th place in the 100m. The top six are given the All-New England

designation, so it was another tangible loss that she directly felt. Athletes set goals for

themselves—they don’t expect to achieve the top spot right out of the gate. It is a progression.

Being named All-New England was the goal she had set for the day and she hadn’t reached it

because they allowed a male to compete in her race.




                                                   7

                                                                                     Armistead App. 0027


       31.     Following the New England Championship, I called my state senator, Kevin

Witkos. He urged me to seek help from the school administration, as he did not agree with the

CIAC that Connecticut law required this policy. He felt that if asked by member schools, CIAC

could change the policy and restore fairness for the female athletes.

       32.     I immediately followed up with an email to Canton school officials including

Chelsea’s coach, the athletic director, the principal, the assistant superintendent, and the

superintendent. I asked them to contact the CIAC and urge a change in policy. Nobody

responded to my email.

       33.     At the end of June, Senator Witkos reached out to me and said that he would work

with the Connecticut Speaker of the House to draft a letter to the superintendents of all schools,

but not until after the November elections, five months away. That letter never happened.

       34.     In July, I scheduled an in-person meeting with the principal, Drew DiPippo. I

asked what the process was to formally request a change in CIAC policy. He said he would look

into it and let me know. He noted that there would be a new CIAC Executive Director starting in

August and that perhaps the policy would be revisited. I never heard back from him on the

process to request a change.

       35.     During the fall, we learned that Terry Miller had transferred to a Class S school.

Chelsea cried as I drove her home from soccer that night. She knew that meant she would now

face males not just at the State Open, but at the Class S championship as well. In her mind, it

meant she would never win another state championship race.

2019 Indoor Track Season – Junior Year

       36.     A few weeks before the state championships arrived, I drafted another letter to

CIAC Executive Director, Glenn Lungarini, to again ask for fairness for female athletes and a



                                                  8

                                                                                     Armistead App. 0028



change in policy. The CIAC responded that they would not consider my request for a rule change

because I was just a parent. I soon learned there was a new “gender committee” commissioned

by the CIAC that would make a recommendation in the summer. It was an endless game of

shifting responsibility and delaying any meaningful discussion.

       37.     As the championships drew near, I dreaded what was to come. I had watched

many other girls lose the state title they deserved. This time it was Chelsea’s turn. As a junior,

she was stronger, more experienced, and her times had improved significantly. She was the

fastest female in the 55m at both the Class S championship and the State Open. But Miller went

home with both of those titles. Jillian Mars was the fastest female in the 300m – she too was

robbed of her titles. And, of course, more girls lost the chance to advance to finals, or the Open,

or the New England Championship. Female athletes lost out on podium spots and medals and

points for their team. Chelsea lost out on another All-New England designation after finishing 8th

at the championship in Boston.

       38.     The list of girls who had been directly harmed was pages long by now, but the

CIAC did not care. They showed so little regard for the rights of the female track athletes in our

state it was staggering. The coaches and administrators remained silent, no doubt fearful for their

jobs. But there was one girl who was not afraid to speak up, Selina Soule. We watched her

bravely tell her story on national television one night and knowing that we weren’t alone in our

fight made all the difference.

       39.     I asked my principal to schedule time for me to meet with CIAC director, Glenn

Lungarini. As we sat in the principal’s office at Canton High School and I shared the list of the

girls who had been directly harmed by the policy, it became clear that they had no intention of

changing anything. I expressed my concerns that the CIAC policy was violating the rights of my



                                                  9
                                                                                       Armistead App. 0029


daughter and the other female athletes under Title IX. Mr. Lungarini’s response was that my

daughter had only the right to participate, not to win.

       40.     The CIAC director was not interested in alternative solutions or fairness for

females. He did not seem at all bothered that the CIAC’s unwillingness to address the issue had

placed all of these kids directly in the center of a highly controversial international political

debate. He tossed about slogans like “transwomen are women” and his arguments lacked any

logical consistency or regard for the rights of females. I left feeling angry but resolved to

advocate for Chelsea and all of the girls being harmed.

       41.     Following that meeting, I asked to meet with our school’s Title IX coordinator,

Lori Devito. I called the State of Connecticut’s Title IX Coordinator, Dr. Adrian Wood, to

discuss my options for filing a Title IX complaint. I spoke with an attorney, Robin Cecere, at the

Connecticut Department of Education. I called the Office of Civil Rights for the U.S.

Department of Education in Boston. Multiple times I was told by these government officials that

girls have the right to participate, not to win. I began to believe it must be part of the talking

points being circulated on this issue or in some presentation somewhere. It certainly didn’t stem

from any regulation or case law on Title IX that I had found.

       42.     I contacted the Canton Board of Education and the topic was added to the agenda

for their next meeting. I was given three minutes to speak about something that had been

impacting us for two years. I followed up with more emails to the Board of Education but would

seldom get a reply. The one-way dialogue was not an effective means of discussion.

       43.     I continued to send research papers and information to Glenn Lungarini at the

CIAC. He abruptly notified me that he would no longer receive my emails because I was just a

parent. Everything would have to come from a member school. I went back to the Board of



                                                  10

                                                                                       Armistead App. 0030



Education and asked them to contact the CIAC to request a public forum be held so that parents

could bring their concerns forward. Canton Superintendent, Kevin Case, assured me he would

ask for one, but it never happened.

       44.     I emailed my state representative, Leslee Hill, and my state senator, Kevin

Witkos. I contacted two female coaches from the Connecticut High School Coaches Association

(CHSCA) to ask for their help requesting a rule change. In all of these cases, I explained the

devastating impact this was having on female athletes in our state. And yet, at the end of the day,

not a single person would help us get the policy changed.

2019 Outdoor Track Season – Junior Year

       45.     The Outdoor season added more names to the list of girls impacted by the policy.

It was Chelsea’s fifth season competing against males. My efforts to convince school and state

officials to fix the policy had failed. I felt sure that nobody was going to take steps to change

things unless their hand was forced.

       46.     The state championships should have been an exciting day, but I dreaded

watching the injustice play out again. I understood how demoralizing and disrespectful it was to

these girls and felt sickened by the whole thing. Chelsea lost the Class S championship in the

100m and 200m to Miller– her tally was now at four state titles lost to biological males. She

headed to the State Open expecting more of the same.

       47.     It was her third year in a row competing against males in the 100m at the State

Open. None of us were looking forward to watching males break the female records, take home

the title, and give their post-race interviews. This year would be different though.

       48.      In what I often describe as a gift from above, there was a false-start in the 100m

by Miller. Chelsea saw the playing field leveled a bit, and she was going to make the most of it.



                                                 11
                                                                                        Armistead App. 0031


Her win in the 100m that day was extraordinary for so many reasons and I will be forever

grateful she had that moment. What unfolded at that stadium was emotional not just for us, but

many in the crowd. We had so many strangers come up and hug her and tell us how happy they

were for her. She ran a time that is still her personal best, even three years later.

        49.     Other awards and opportunities flowed from her success that day, and I often

think of how sad it would have been if that false start hadn’t happened and she had never had

those experiences. It shouldn’t need to be said, but girls shouldn’t have to hope for a false start to

get their chance at fair competition.

        50.     I continued to pursue opportunities to advocate for the girls. I had a meeting with

Connecticut Deputy Attorney General Peggy Chapple and three other members of the AG’s

office. I met with Governor Lamont’s General Counsel, Bob Clark. I spoke with several state

lawmakers and asked them to pass legislation. I wrote letters to my U.S. Representative, Jahana

Hayes, and my U.S. Senator, Richard Blumenthal. And while some were sympathetic to our

position, they were unwilling to do anything to help.

        51.     I also looked for support from well-known feminist organizations such as

Women’s Sports Foundation, National Women’s Law Center, and National Organization of

Women. It was just unbelievable to learn that these organizations did not support our advocacy

for fairness in women’s sports. They issued statements to publicly say so. They completely

ignored the impact it was having on our female athletes and seemed shockingly uneducated

about the harm that will flow from eliminating sex-based rights in law. Thankfully, many other

women’s organizations are taking their place and stand with us in this fight.




                                                  12

                                                                                       Armistead App. 0032



2020 Indoor Track Season – Senior Year

       52.         After years of asking school, state, and federal officials for help, we did what we

felt was our last resort. Two days before what would end up being Chelsea’s final state

championships, we filed a federal lawsuit. Chelsea was taking a public stand for herself and

other female athletes. We hoped that this might finally make a difference and that what she went

through wouldn’t have to happen to anyone else. It took a great deal of courage, and I was very

proud of her.

       53.         Since then, many more people are aware of her story. We have submitted

testimony on both state and federal legislation. Several states have successfully passed laws to

protect female sports and many more are now debating the issue. She has bravely given

interviews and told her story in national publications. There was a time when she was afraid to

speak out, and I was afraid for her future if she did. But we are no longer afraid.

       54.         We will continue to fight for policy and laws to be based on facts about science

and biology, not ideology. We will exercise our right to speak out on issues that affect us without

fear. We hope that in the end, the sex-based rights of females will be acknowledged and

respected and fairness will be restored in our sports.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.   


                                                     ____________________________________

                                                     Christina Mitchell

                                                     Dated: $SULO




                                                    13
                                                                                 Armistead App. 0033



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                              Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF            Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                               Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                           Defendants
        and
 LAINEY ARMISTEAD,
                                Defendant-Intervenor.

                           DECLARATION OF ALANNA SMITH

I, Alanna Smith, declare as follows:

       1.      I am an eighteen-year-old senior at Danbury High School in Danbury,

Connecticut.

       2.      Though I am an elite female track athlete, I have personally experienced the

devasting impact of competing against—and losing to—male athletes in my sport.

       3.      Though I only competed against these athletes during my freshman year of high

school, they still impacted my placements, public recognition, medals, records, and how I

physically and mentally prepared for competition.




                                                1
                                                                                      Armistead App. 0034



Athletic Background

        4.      I was born into a family of athletes. My dad is a Major League Baseball Hall of

Fame relief pitcher. My mom ran track in high school and still runs recreationally. One maternal

uncle played professional football. Another played professional baseball. My twin brother is a

three-sport athlete.

        5.      Sports was a big part of my world from a very young age, as I attended my dad’s

MLB games and events and ran with my mom. Having a twin brother who is naturally athletic

helped instill a competitive drive in me, because as a little girl I loved to beat him in foot races at

every opportunity.

        6.      The sports legacy that surrounds me was not something I consciously thought

about—it just became a part of who I am. And without thinking about it too seriously, I knew I

had the potential to excel athletically.

        7.      It wasn’t until I started running with mom and developing endurance and strength

that I considered competitively running track. So, in middle school, mom enrolled me in the local

middle school track program. Between 2015 and 2018, I tried shot put, the long jump, the 55-

meter dash, the 100-meter, 200-meter, 400-meter, and 800-meter races.

        8.      As I tried different track and field competitions, I realized that I enjoyed and

excelled at running shorter distances. That’s when I knew I wanted to concentrate on the 100-

meter, 200-meter, and 400-meter distances. I wanted to run and get it over with!

        9.      During middle school, I became a three-peat 100-meter Connecticut State

Champion. In eighth grade, I was also the 400-meter state champion.




                                                   2
                                                                                     Armistead App. 0035



        10.    My freshman year of high school I was a varsity cheerleader in the fall and winter

and made it to the 2019 Connecticut High School Coaches Association All-State cheerleading

team.

        11.    After cheerleading finished, I started outdoor track in the spring of 2019. I was

nervous. The first few practices were hard. I felt that my teammates had high expectations based

on my middle school track performance. And it didn’t help that the first few track meets were

outside in cold or rainy weather, courtesy of New England.

        12.    But I won. And it felt amazing. I had proven to myself, the coaches, and my

teammates that I could be a contributor to a winning season.

        13.    As my freshman season played out, I set personal, conference, state and regional

facility records; improved my personal strength and technique; and accomplished personal goals.

I contributed to the Danbury High School sweeping the 2019 outdoor FCIAC, Class LL, State

Open, and New England Regional Championship competitions, and received numerous honors

such as The Ruden Report Player of the Week, The Ruden Report Player of the Year, the 2019

All-FCIAC First Team in the 100-meter, 200-meter, 400-meter, 2019 CHSCA All-State Girls’

Outdoor Track, and was a recognizable component of the 2019 CHSCA Connecticut Team of the

Year award.

        14.    Excelling on the track and setting personal records gives me a sense of personal

achievement and confidence that carries over into all parts of my life. I love training, I love

competing. Competing against girls like myself who work hard is rewarding. I compete to be the

best, to be the fastest, to be a champion.




                                                  3
                                                                                         Armistead App. 0036



Competition Against Males

         15.    In spite of my focused, diligent practice and training, my success on the track has

been limited by biological males competing in the girl’s high school track in Connecticut.

         16.    I first competed against a male at the New York Relays in April 2019. My team

was invited to attend, along with teams from approximately seventeen other states. I knew going

in that there would be a male athlete named Terry Miller from another Connecticut school in my

race, and I was upset. I knew I wouldn’t win, and I knew we girls were competing for second

place and beyond. As expected, Terry won the 100-meter dash. I placed fourth. Had Terry not

competed in that race I would have been recognized as third place.

         17.    I learned later that Terry had competed for three seasons in Connecticut boys’

high school track before switching to girls’ track.

         18.    Later that season, I found out I would be racing against Terry Miller and a second

male athlete, Andraya Yearwood, in the 100-meter dash at the 2019 Connecticut State Open that.

         19.    After learning this news, I thought “I don’t stand a chance to win.” I felt defeated

before I even got set in my blocks. Terry was in the lane next to me in the 100-meter finals, and I

assumed going in that Terry would win. Terry was disqualified from the race due to a false start.

I felt badly for Terry as an athlete, but I could tell the rest of us girls were a bit relieved that the

race would now be a little more fair.

         20.    Also at the 2019 Connecticut State Open, I raced Terry Miller in the women’s

200-meter dash. Terry placed first. Because of a male in my race, I was pushed from second

place to third place.

         21.    Thus, at the 2019 State Open, I had one fair race: the 400-meter dash. I won that

event.



                                                    4
                                                                                      Armistead App. 0037



       22.       From the State Open Championship, I advanced to the New England Regional

Championship meet, which is quite an accomplishment for any athlete, but especially a

freshman.

       23.       I won the 400-meter title at the New England Regional Championships. It was

exhilarating, not only because I won, but because my race was free of male athletes. It was a

level playing field.

       24.       The 200-meter dash was a different story. I would have also been runner-up in the

200-meter and received a silver medal and earned my team more overall points, but Terry Miller

placed first and pushed me down in the rankings to third. Third place is nothing to be ashamed of

if it is won fair-and-square, but my race was anything but fair.

       25.       My story is not unique. Girls across Connecticut have experienced similar

displacement, loss of recognition, and even championship title losses solely because my state

allowed two biological males to compete against biological females. Between 2017-2020, these

two male competitors won 15 women’s state championship titles and set 17 new meet records in

track and field. These statistics are in the back of my mind no matter how hard I train and how

well I perform

       26.       Even though the males have graduated now and are no longer competing against

us girls in Connecticut, we still feel the effects of their participation. For example, in the 2022

Connecticut indoor track and field season—long after Terry Miller and Andraya Yearwood

graduated—I ran a 6:96 time in the 55m dash. This would have set a new Connecticut girls’ state

record. But back in 2019, Terry Miller set a record of 6.95 in the 55m dash, eclipsing my best

time. If not for Terry competing in the girls’ category three years ago, I would have been




                                                  5
                                                                                     Armistead App. 0038



recognized for my accomplishment—setting a new record for female athletes in my state.

Fairness in Women’s Sports

       27.     It has taken me years to develop the personal confidence and sense of belonging I

now feel on my track team. The addition of males to girls’ sports fills me with a sense of defeat

before I even set up in the blocks. I deserve the opportunity to be confident, to be running against

girls who have the same biological makeup that I do.

       28.     The addition of males in girls’ sports is frustrating and disappointing to me. So

often I go to the blocks and know that I am the fastest girl on the line. But I also know that my

best effort will not be enough when I’m faced with a competitor who is bigger, faster, and

stronger than me simply because he was born male.

       29.     I want to make sure that female athletes of today and tomorrow do not have to

face the same sense of defeat, disappointment, and lack of support that I have felt. So many girls

across my state believe the situation is unfair but are afraid to stand up and speak out for fear of

retaliation from coaches, schools, the media, and strangers.

       30.     I am proud of all female athletes who stay strong and do their very best when

rules and laws put unfair challenges in their way. I am proud to be a voice for female athletes

who are surrounded by unfairness in their sport.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                       __
                                                        ___________________________
                                                       ___________________________________
                                                       Alanna Smith
                                                       Dated: 




                                                   6
                                                                                 Armistead App. 0039



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF             Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                             Defendants
        and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                            DECLARATION OF SELINA SOULE

I, Selina Soule, under penalty of perjury, declare as follows:

       1.      I am a nineteen-year-old resident of Boca Raton, Florida, in Palm Beach County

and have personal knowledge of the information below.

       2.      I am a sophomore and female athlete at Florida Atlantic University (FAU) in

Boca Raton, Florida. Competing in track and field is my passion.

Athletics Background

       3.      Sports are a huge part of my family. Both of my parents were multi-sport athletes.

My dad competed in track, cross-country, baseball, and football. My mom was a competitive

runner and figure skater, and now coaches figure skating.
                                               1
                                                                                       Armistead App. 0040



        4.        My mom first coaxed me onto the ice rink at Rockefeller Center when I was just

three years old. At age five, I started taking figure skating lessons. During elementary school, I

began entering figure skating competitions—something I continued through my sophomore year

of high school.

        5.        Figure skating was something my mom and I did together. We spent a lot of time

on the ice, as she not only helped me learn to skate but even skated with me at times. By age

thirteen, I was a volunteer figure skating coach helper, which turned into a paid coaching

position at age fifteen. I continued coaching figure skating until I moved away for college.

        6.        The axel jump—a figure skating showstopper!—is my favorite figure skating

element. Figure skating is not only a beautiful, graceful sport, but it is athletic too. It requires

strength, speed, balance, and skill to execute those jumps and spins.

        7.        But I remember one thing very distinctively about figure skating: I did not like the

scoring. Scoring was subjective; it was harder to clearly measure my achievements. (This is one

reason I love track. My race times clearly show how fast I run so scoring is objective, not based

on the subjective opinion of an individual judge.)

        8.        My mom introduced me to running when I was just five years old. I began

running in our community’s summer mile-long “fun runs” with my mom. Even at that young

age, I knew two things with certainty: I loved to run, and I hated running long distances!

        9.        When I was around eight years old, my mom signed me up for my first Hershey

Track and Field meet that was held in our town in the spring. It was the first time I set foot on a

track—and I loved it. I realized that I was fast, and that I enjoyed competing to win. Running

became my passion. And I enjoyed some success in the Hershey events as I competed there in



                                                   2
                                                                                     Armistead App. 0041



third through sixth grade. For example, I qualified twice for state level meets. In sixth grade, I

won all three of my events.

       10.     After the Hershey events, I competed in the Nutmeg State games, the largest

amateur multi-sport sporting event in my home state of Connecticut. These meets were ones my

mom and I could do together. My favorite memory of the Nutmeg games was that my mom

taught me how to long jump just a couple weeks before my first competition. And I went on to

win the long jump that year for my age category.

       11.     But my freshman year at Glastonbury High School in Connecticut was my first

school opportunity to compete in track and field. It was my first time on a school team with

organized team practices and workouts—and I loved it.

       12.     Track and field competitions involve a variety of races and events. In track there

are sprints, middle distance races, long-distance races, relay races, and hurdle races. And field

events include long jump, triple jump, high jump, pole vault, shot put, discus throw, javelin

throw, and hammer throw.

       13.     I am a short-distance sprinter and long-jumper. During high school, I competed in

the 55-meter dash, 100-meter dash, 200-meter dash, the 4x200 and 4x100-meter relays, and the

long jump. I also ran the 300-meter dash a handful of times.

       14.     When I joined my high school track team in my freshman year, I quickly became

the school’s best long jumper. And after only a few competitions, I became the permanent starter

for the 4x200-meter relay.

       15.     I am proud of my high school athletic accomplishments. I was a ten-time All-

Conference Honoree recipient, a five-time state title holder, three-time All New England award



                                                  3
                                                                                       Armistead App. 0042



recipient, a four-time National qualifier, and set five new Glastonbury high school records

(including one that was previously set in 1976).

        16.     Track means everything to me. It is my passion and my happy place. When I run,

I set aside everything else in life and just run.

Facing Male Competition in Girls’ Track

        17.     But my high school track and field experience was not without frustration. During

all four years of high school, I had the deflating experience of competing against male athletes in

the girls’ category.

        18.     The first time I competed against a male athlete in the girls’ category was during

my freshman year of high school at the May 2017 Middletown Invitational in the 200-meter

dash. The gun went off at the start of the race, the male athlete left most of us girls in the dust. I

knew immediately that this was not right and that girls would miss opportunities to succeed. Just

days later, that same male went on to win the 2017 Connecticut Interscholastic Athletic

Conference (CIAC) Class M Women’s outdoor track championship in both the 100-meter and

the 200-meter sprints.

        19.     The losses happened again and again. During my sophomore year, another male

athlete joined girls’ track and I had to face two male competitors at the 3rd Greater Bristol

outdoor track and field invite in the 200-meter dash. The males took first and second; I crossed

the finish line third. Had the males not been competing in the girls’ category, I would have won

that race.

        20.     These two males, Terry Miller and Andraya Yearwood, impacted my placement

at statewide championship meets. At the 2018 CIAC State Open Championship in the Women’s

Outdoor 100-meter dash, the males again took first and second. Because of their participation in
                                               4
                                                                                    Armistead App. 0043



the women’s category, I was bumped down to sixth place when I should have earned fourth

place.

         21.    But one of my more painful memories of loss involved the 2019 Connecticut

State Open Championship. I missed qualifying for the state championship 55-meter final by just

one spot, and the chance to qualify for the New England Regional championship by just two

spots. The top two spots were taken by males. If not for those two male competitors in my race, I

would have had the opportunity to compete in the championship final and for a coveted spot at

the New England Regional championship.

         22.    While I was in high school, these two males collectively won 15 Connecticut

women’s state championship titles in girls’ high school track and field and set 17 new individual

meet records.

         23.    It is demoralizing and frustrating to compete against someone who has unfair

physical advantages over you, because no matter how hard I train or how hard I try, there is

nothing I can do to overcome that disparity. We girls train to win; not to win second place or

receive a participation trophy. Some girls I know were so demoralized by the experience of

losing to males that they abandoned certain track events and changed sporting events entirely.

Other times coaches tried to convince girls to change their events just so the girls would have a

chance to succeed.

         24.    Because of male competition, I have lost opportunities to compete at world class

tracks. I have lost opportunities to compete in front of college coaches and scouts. I have lost

opportunities to win titles and public recognition of my achievements. I have lost opportunities

to win recognition and event points for my school.



                                                 5
                                                                                     Armistead App. 0044



       25.     And the heartbreaking thing is that my story is not unique. Many other girls

across the state of Connecticut lost out on similar opportunities.

       26.     It felt so unfair. I knew I had to stand up. My parents and I reached out to school

administrators and coaches. We reached out to CIAC officials to ask for a policy change. But no

one would listen to us. Instead, they silenced us.

       27.     My parents and I were left with no other option but to file a federal lawsuit to

protect the integrity of women’s sports under Title IX. It was a huge step, a scary step. But

someone needed to speak out for girls in Connecticut. That lawsuit is still ongoing.

Competing in Women’s Collegiate Athletics

       28.     It was my dream to run track in college. Despite the unfairness of my high school

track experience, I hoped to put that experience behind me and have a fresh start and level

playing field in college.

       29.     After visiting several colleges, I decided to attend the College of Charleston in

South Carolina. I attended the College of Charleston in 2020-21 for my freshman year. However,

it was a tough school year with COVID and at the end of the year, I re-visited my options.

       30.     I received an offer to run for Florida Atlantic University, and I immediately knew

that was the right fit for me. My dream has always been to attend college and run in Florida, and

I finally have the opportunity to fulfill that goal. And I had always hoped to end up somewhere

warm with lots of sunshine, so competing in Florida was a dream come true.

       31.     FAU has a NCAA Division I track and field team and competes in the East

Division of Conference USA.

       32.     Being part of the team is quite an honor. And there are many additional side

benefits to being a collegiate athlete: access to top-tier coaching, facilities, and equipment;
                                                   6
                                                                                   Armistead App. 0045



consultation with nutritionists and dieticians; paid travel to games, academic support services;

medical and wellness care; access to psychologists; access to the NCAA Student Assistance

Fund; team gear and apparel; and the opportunity to make money on my own name, image, and

likeness.

       33.     For example, the Florida Panthers, a professional ice hockey team, recently

announced that they were sponsoring FAU female athletes and giving us an opportunity to

partner with them. I do not yet know all that will entail, but we receive tickets to home games,

team apparel, the opportunity to partner with their brand. As athletes, we also have the

opportunity to make money on our name, image, and likeness by appearing in ad campaigns for

brands like Nike and Adidas.

       34.     At the end of the 2021-22 academic year, I will still have four more years of

NCAA eligibility due to COVID.

       35.     My teammates and I train hard to win. We weightlift, complete running drills, and

run sprints time and time again. It takes incredible work and dedication to win a race determined

by hundredths of a second. I have trained much of my life striving to shave mere fractions of

seconds off my race times.

       36.     I had to make many sacrifices over the course of my athletic career to play the

sport I love. I have missed school dances and spring breaks, family events and holiday trips, and

friends’ birthdays and vacations. I have given up weekends and free time. I stayed late after

school for practice. And the commitment to track has only increased during my time spent

training in college.




                                                 7
                                                                                    Armistead App. 0046



         37.   But I make these sacrifices because I want to be the best that I can be. I want to

win—not just for myself, but also for my teammates. And the motivation to win is what compels

me to train as hard as I can.

         38.   I love my sport. I get on the track and I can let everything in my life go and I can

be free to focus on running. It’s exhilarating to see all the training and hard work pay off on the

track.

         39.   But track has taught me more than just how to run fast down the track. I have also

learned life skills. It has taught me physical and mental toughness. I have learned perseverance

and good sportsmanship. I have learned that hard work pays off. And that making sacrifices to

excel at something reaps future benefits. It opened new financial opportunities, personal

development opportunities, and even academic opportunities. And it has given me something to

strive for.

         40.   I am currently majoring in criminal justice with the goal of being a lawyer. But I

always have my eyes on the track, and I would love to go pro after college if the right door

opens.

Fairness in Women’s Sports

         41.   When I heard that Florida’s legislature passed the Fairness in Women’s Sports

Act in late April 2021 to protect the integrity of women’s sports, I enthusiastically supported it.

         42.   In fact, it was my incredible honor to be invited to attend the bill signing

ceremony in early June 2021 because my own personal story had played such a role in

motivating lawmakers to pass a bill protecting Florida’s female athletes. Little did I know at the

time that Florida’s Fairness in Women’s Sports Act would later protect me, too, as I start

competing for a public university women’s team in Florida.
                                              8
                                                                                     Armistead App. 0047



        43.    When that law was later challenged in federal court, I decided to speak up for

girls who are afraid of retaliation from the media, school officials, and coaches and filed a

motion to intervene in the lawsuit. I fear that too many women feel pressured to remain silent

about their real views. And if someone does not speak up for women, I fear that we could see the

end of women’s sports. There will be boys’ sports and co-ed sports. But women’s sports as we

know it will be gone.

        44.    I know from my own past experience in high school that males competing in

women’s sports takes away opportunities from women—whether that is a spot on the team, a

spot on the podium, an athletic scholarship, the ability to benefit from her likeness, or

recognition and awards—and it defies the entire purpose of having separate women’s sports.

        45.    Woman have fought hard for many years to have equal athletic opportunities. I

want to make sure that girls in the future can continue to compete in the sports they love. If girls

do not have equal opportunities, I fear they may choose not to be involved in sports at all if they

feel they cannot win or possibly even get physically hurt competing against a stronger, faster

male.

        46.    I believe that ensuring an equal playing field for women to be champions in their

own sport is a women’s rights issue. But this isn’t just about fair play and winning for me. I want

to protect the fairness and safety of women’s sports for female athletes everywhere. I want to

ensure that future generations of women have access to the same equal athletic opportunities that

shaped me and my love of sports.




                                                  9
Armistead App. 0048
                                                                                    Armistead App. 0049



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                                Plaintiff,
           v.
 WEST       VIRGINIA      STATE       BOARD       OF               Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                              Defendants
           and
 LAINEY ARMISTEAD,
                                  Defendant-Intervenor.

                            DECLARATION OF DARCY ASCHOFF

       1.        I am a 2 year resident of Lehi, Utah, and have personal knowledge of the

information below.

       2.        As a former collegiate athlete, high school varsity volleyball coach, and mother of

two competitive high school volleyball players, I have observed the mental and psychological

toll on female athletes of being forced to compete against a male.

Athletic Background

       3.        Volleyball runs in my family. My mom played as a youth, I competed in college,

and now my daughters are star high school volleyball athletes with dreams of competing in

college.




                                                  1
                                                                                   Armistead App. 0050



       4.      I began playing competitive volleyball as a freshman at Delta High School as a

middle blocker. During my senior year, my volleyball team won the 1995 Utah State

Championship, and I was awarded MVP (most valuable player) for our team.

       5.      Throughout my sophomore, junior, and senior years of high school, I also played

club volleyball.

       6.      I was recruited and given a scholarship to play varsity volleyball at Dixie State

College (now Dixie State University), an NCAA Division I school. From 1996 to 1997, I played

for Dixie State College.

       7.      After my sophomore year of college, I transferred to Hawaii Pacific University,

an NCAA Division II school, where I was also offered a volleyball scholarship. From 1998 to

1999 during my junior and senior years of college, I played volleyball for Hawaii Pacific

University.

       8.      In 1998, during my junior year of college, my Hawaii Pacific volleyball team won

the NCAA Division II Nationals Championship. This was the highlight of my volleyball career.

       9.      In 2016, my entire Hawaii Pacific University volleyball team was inducted into

Hawaii Pacific’s Hall of Fame to honor our 1998 Nationals Championship.

       10.     I continued to play volleyball recreationally after college. My two daughters, Ajah

and Jahslyn, have said that one of their earliest memories is watching me play recreational

volleyball at a park across the street from our home. I would bring my daughters with me, and

Ajah would beg whoever was on the sidelines not playing volleyball to pass the ball with her.

       11.     Both of my daughters went to volleyball summer camp at young ages, and

eventually began competing in school and club volleyball.

       12.     As my girls reached high school, I started coaching their school and club teams.



                                                 2
                                                                                   Armistead App. 0051



        13.    In 2015, I coached Lanakila club volleyball for the 14 and under team, and in

2016 I coached Lanakila club volleyball for the 12 and under team, respectively.

        14.    From 2018 to 2020, I also coached girl’s Hawaiian Style Volleyball, a

competitive club volleyball team on Maui. In the 2018-2019 season, I coached the girls’ 14 and

under team, and in the 2019-2020 season I coached the girls’ 16 and under team.

        15.    I served as assistant girls’ varsity volleyball coach at Maui High School during

the 2018 and 2019 seasons. Maui High School competes in the Maui Interscholastic League of

the Hawaii High School Athletic Association.

My Daughters’ Experience Competing Against a Male Athlete

        16.    The 2019-2020 volleyball season was my girls’ final volleyball season at Maui

High on our beloved island of Maui. Ajah was a sophomore and a team captain, and Jahslyn was

a freshman. The Maui High team was a young team in a building season.

        17.    Ajah and Jahslyn worked so hard to develop their volleyball skills to become their

best. They attended summer camps, participated in daily practice during high school season, and

then continued to play volleyball year-round with highly competitive national club teams. These

teams travel nationally and practice 2-3 times per week.

        18.    But despite my daughters’ hard work, the 2019-2020 varsity girls’ volleyball

season was unusually tough: they were forced to face a male athlete on another team.

        19.    Both of my daughters knew this athlete, Jhene Saribay, from summer volleyball

camps because training is co-ed. From what I learned, this male competed on the Kamehameha

boys’ volleyball team for several years, and only recently switched to competing on the girls’

team.




                                                3
                                                                                    Armistead App. 0052



        20.     My daughters heard rumors from other girls on the Maui High team that this male

athlete was planning to play on the Kamehameha High girls’ varsity volleyball team, but at first

they didn’t believe it.

        21.     I first heard about the situation from the Maui High head coach. Initially I thought

it was a joke: this could not be happening. But it was. And our coach’s hands were tied—the

Maui High athletic director made clear that our head coach could not make waves about this

situation, or he would lose his job. Other parents at Maui High were upset but were not willing to

act.

        22.     My daughters competed against this athlete 3 times and their volleyball team lost

every match.

        23.     Based on my observations as a mother and assistant coach at my daughters’

volleyball games, this male athlete dominated Maui varsity girls’ volleyball in the 2019-2020

season. He dominated playing time. He jumped higher. He spiked the ball harder and faster and

further. From my perspective, he was one of the best hitters on Maui, despite his average stature.

        24.     The girls, on the other hand, were nervous and intimidated by the male on the

other side of the net. They seemed mentally defeated before stepping onto the court. They would

often “duck and cover” or assume a defensive position rather than prepare to respond to his

spikes. My daughters said they were afraid of getting hurt. My daughters’ teammates told us that

they felt demoralized. Some wondered why they should even bother playing in matches against

Kamehameha that season, because they knew the male athlete’s team would beat them.

        25.     Volleyball is a very physical sport. And a male competing in girls’ volleyball is a

safety issue. I’m concerned that one of my daughters could be hurt, or that a male could take

away their scholarship opportunities to compete in college.



                                                 4
                                                                                    Armistead App. 0053



       26.     Both of my daughters love the friendships they built through volleyball, as well as

the comradery and competitive nature of the sport. They grew stronger and more powerful in

hitting and jumping. They gained self-confidence and poise. I am proud of their hard work and

drive to be the best they can be at their sport. Volleyball is all about testing your limits—how

high you can jump, fast you can run, hard you can swing—and knowing that males have an

advantage makes it hard for girls to compete.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                 ____________________________________
                                                  _______________________________
                                                 Darcy Aschoff

                                                 Dated:




                                                 5
                                                                                   Armistead App. 0054



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
          v.
 WEST       VIRGINIA      STATE       BOARD       OF             Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                            Defendants
          and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.

                      DECLARATION OF CYNTHIA MONTELEONE

I, Cynthia Monteleone under penalty of perjury, declare as follows:

         1.     I am a forty-six-year-old resident of Lahaina, Maui County, Hawaii, and have

personal knowledge of the information below.

         2.     I am a mother, a coach, and track and field athlete for Team USA. Both my

daughter and I have had the frustrating experience of competing against a male athlete in our

sport.

My Competition Against a Male Athlete

         3.     In September 2018, I competed at the World Masters Athletics Championships in

Malaga, Spain. I was eager to put my hard work to the test. And it paid off: I took bronze in the

W40 400, along with USA golds in the 4x100 and 4x400.


                                                 1
                                                                                    Armistead App. 0055



        4.     But I was shocked to find out that one of my competitors was a biological male

from Colombia who had just recently started identifying as female. The athlete had a much larger

build than any of the female athletes.

        5.     I began to ask questions as to the fairness of this issue. The European officials

stopped the track meet, conferred, and decided that the race had to continue and urged me to file

a complaint with the Team USA managers.

        6.     Not only did the Team USA managers refuse to file a complaint or inquiry, they

warned that for my own safety, I should not speak up about this issue.

        7.     My freedom of speech is important to me. I will not be silenced. I continue to

defy this directive and speak up because I see firsthand the harm being done to my fellow female

athletes.

        8.     This is not about being a sore loser—I beat the male athlete by just a few tenths of

a second. This is about fairplay for all women. The same male athlete just a year later beat my

USA teammate in the hurdles for a place on the podium at the 2019 World Masters Athletics

Championships in Poland.

        9.     I see the psychological and emotional heartbreak of women. After training so hard

to be the best that they can be at their sport, and spending so much time away from their families,

they are devasted to see that sacrifice wasted because they were beaten by a biological advantage

that no amount of training or sacrifice can overcome.

        10.    Many of the girls I coach suffer from anxiety over having to compete against male

athletes. We all know the powerful scientific neurotransmitter connection between our minds and

our bodies: When you think you can win, you have a better chance of doing it. It’s proven.




                                                 2
                                                                                       Armistead App. 0056



        11.     Science and common sense tell us that male and female bodies are different. No

amount of testosterone suppression can change the amount of myonuclei in a male body, making

it easier at any point in their life to build more muscle than the female sex. Not only that these

cellular level advantages dictate that male bodies will be more powerful with faster twitch fibers

than those of the female sex.

        12.     Women are not just hormones. Our athletic performance is impacted by our cycle,

birth control, and pregnancy—something no male who identifies as female has to address.

        13.     As a masters athlete, I am especially concerned because female hearts shrink as

we age, while the male hearts enlarge, all of this despite any “hormone treatment.”

My Daughter’s Competition Against a Male Athlete

        14.     But it was not just on the world stage that I experienced the demoralizing trend of

males displacing females in their own competitions; it was also on my home island of Maui,

Hawaii.

        15.     A year and a half after my experience in Spain, my daughter, Margaret, lined up

for her very first high school track meet. I had watched proudly as my strong and determined girl

did all the right things – made personal, difficult sacrifices to train her body to be as fast and fit

as possible for her first race.

        16.     Yet all her hard work seemed for naught as she raced against a male-bodied

athlete who had just transferred from the boys’ volleyball team to the girls’ team the season

before. The athlete breezed right by Margaret to win first place, pushing her into second place.

        17.     My daughter lost her very first race to this athlete who ran so fast in the first 100

meters of the 400-meter race that the individual could have set a state record.




                                                   3
                                                                                     Armistead App. 0057



       18.      The Maui athletic community is small and tightknit. I learned that this biological

male had grown up wrestling and had just injured a girl during volleyball, giving her a

concussion with a powerful spike. This individual was casually trying out track and had trained

only two weeks before running next to my daughter who had trained all year.

       19.     This athlete also raced against the girls I coached. One senior girl was crying

because she told me she knew there was nothing she could do to win the conference

championship that she had dreamed of winning since she was a freshman. She told me, right

after that male athlete raced, that she was quitting track, even though I told her she had what it

took to possibly run in college. She turned to me and asked, “What’s the point, if it’s not fair?”

       20.     COVID cancelled the rest of our season, but these horrible memories were never

cancelled from my mind. We must consider the mental and physical health and safely of the

biological female athletes and provide an equal and level playing field for them to achieve all of

the opportunities the male sex has.

       21.      We must not hold the feelings and mental health of one group as more important

than another. The mental health of our daughters, granddaughters, sisters, and teammates matter.

       22.     All of the lessons I teach as a coach about hard work paying off: these lessons fall

apart when a mid-level male athlete doesn’t have to work as hard and can beat our hardest

working, most talented females.

       23.     In 2019 in Hawai’i, about 350 out of 700 male athletes ran faster than the fastest

female in Hawai’i. Quite literally, a mediocre boy could beat the best girl. Tens of thousands of

high school boys could run faster than the most decorated Olympian in history, Allyson Felix. If

we do not protect women’s sports, our girls will see their athletic dreams crushed.




                                                  4
                                                                                   Armistead App. 0058



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. 

                                                 ____________________________________
                                                 Cynthia Monteleone

                                                 Dated: $SULO




                                                 5
                                                                                  Armistead App. 0059



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                             Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF            Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                               Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                           Defendants
        and
 LAINEY ARMISTEAD,
                                Defendant-Intervenor.


                        DECLARATION OF MADISON KENYON

I, Madison Kenyon, declare as follows:

        1.    I am a twenty-year-old resident of Pocatello, Idaho, and have personal knowledge

of the information below.

        2.    I am a junior and female athlete at Idaho State University in Pocatello, Idaho,

where I compete in women’s cross-country and track. Running is my passion.

Athletics Background

        3.    Athletics has been my world from a very young age. Both of my parents were

high school athletes, so competition—especially among my siblings—was like the air I breathed

growing up.



                                               1
                                                                                      Armistead App. 0060



           4.    I first kicked a soccer ball at age three, and I was hooked. That first encounter

with a ball led me to compete for 15 years on various club soccer teams.

           5.    Through playing soccer, I learned both that I am fiercely competitive and that I

love to run.

           6.    Admittedly, I hated running at first, because it is hard work. But the more I ran,

the faster I got and the more I enjoyed it.

           7.    In 6th grade, that love of running and competition led me to try cross-country—a

sport I have competed in every fall since. In my freshman year of high school, I also started

running track.

           8.    Running is my happy place. I love pushing my body to its limits, spending time

outdoors, and doing it all with a sense of camaraderie and fun alongside some of my closest

friends.

           9.    I’m proud of my accomplishments. In high school, I set five different school

records, and as a sophomore was even voted unanimously by our coaches for the honor of

“athlete of the year.”

Competing in Women’s Collegiate Athletics

           10.   I decided to attend college at Idaho State University (ISU) because it is a big

university nestled in a small town with plenty of opportunities for outdoor activity and track

competition. The athletic scholarship I received from ISU has not only helped finance my

athletic career but has also helped finance my dream of becoming a nurse someday. I am

currently pursuing a degree in nursing.




                                                   2
                                                                                      Armistead App. 0061



        11.    As an ISU freshman in the 2019-2020 academic year, I made the cross-country

team and competed in the 4-kilometer (2.49-mile), 3-mile, 5-kilometer (3.12-mile), and 6-

kilometer (3.73-mile) events. I was thrilled.

        12.    But that enthusiasm turned into confusion when, at the start of the fall 2019 cross-

country season, I was informed that I would be competing against a male athlete.

        13.     At first, I was incredulous that any biological male would be allowed to compete

in the women’s category. This couldn’t be happening.

        14.    So I researched the student. I found out that June Eastwood competed on the

University of Montana’s men’s cross-country team for three years, before switching to compete

on its women’s cross-country team. I also learned that while competing as a man, Eastwood ran

times in at least one event that was faster than the NCAA collegiate women’s record. My heart

sank.

        15.     So as I got into position at the starting line of my first ever collegiate cross-

country race, I faced a hurdle I never expected to encounter: a male athlete.

        16.    In the 2019 cross-country season, I lost to Eastwood three times:

           a. 2019 Montana State Cross-Country Classic in the 3-mile event.

           b. 2019 Big Sky Cross-Country Championships in the 5k event.

           c. 2019 NCAA Division I Mountain Region XC Championships in the 6k event.

        17.    In all three races, Eastwood not only beat me by a significant margin, but also

bumped me down to a lower placement than I would have received had I only competed against

other women. That may not seem like a big deal to some, but placements matter to athletes. I

want to know that I earned my placement fair and square. Fair competition pushes me to better

myself and try harder; unfair competition leaves me feeling frustrated and defeated.



                                                  3
                                                                                  Armistead App. 0062



         18.   It was discouraging. My heart sank as I watched Eastwood placing and medaling

in the women’s cross-country races in meet after meet.

         19.   Cross-country athletes, like me, usually also compete in indoor and outdoor track.

So, during the winter 2020 indoor track season, I competed in the 3k (1.86-mile), the mile, and

the distance medley relay events.

         20.   Again, I raced this male athlete during the indoor track season. At the 2020 Stacy

Dragila Open Women’s Indoor Mile, Eastwood took 2nd place and I took 8th. Eighth place is

nothing to be ashamed of if won fairly—especially as a freshman competing in a race dominated

by juniors and seniors—but the competition is not fair when one of the athletes in the women’s

category is a male with the strength and speed advantages that come from male physiology.

         21.   And at the 2020 Indoor Big Sky Championship I, along with three other ISU

teammates, competed in the distance medley relay against Eastwood’s relay team. A distance

medley relay is made up of a 1200-meter leg, a 400-meter leg, an 800-meter leg, and a 1600-

meter leg. Montana State’s relay team was in 6th place before Eastwood began the final 1600-

meter leg of the race. During Eastwood’s leg, Eastwood advanced Montana’s relay team not one

or two, but four positions to finish in 2nd place. My team took 5th, though we would have placed

4th if not for Eastwood’s participation. We lost not only a placement, but team points as well.

         22.   Also at the Big Sky Championship, I watched in disbelief as one of my teammates

lost her bronze medal and place on the championship podium because Eastwood took first place

in my teammate’s women’s mile event and bumped her to fourth place. It was heartbreaking to

watch.




                                                4
                                                                                    Armistead App. 0063



Fairness in Women’s Sports

        23.    I believe that allowing males to enter women’s sports defeats the entire idea of

fair competition. Sex segregation in sports helps maintain fair competition so that no athlete has

an unfair advantage over another. And it helps ensure that if women like me work hard, we have

a shot at winning.

        24.    I am studying nursing and plan to enter the medical field. In my biology

coursework, it is clear that the biological differences between male and female are not matters of

personal opinion, or features that can be changed or chosen. I am female, not because I chose to

be female, or identify as female, but because every cell in my body is marked with XX

chromosomes and my entire body developed in alignment with those female markers.

        25.    But you do not need to be a medical expert to understand this. I know from

everyday experience that since the boys in my class went through puberty, the males around me

are generally bigger, faster, and stronger than the females, simply because they are male. Even

the rules of sport implicitly acknowledge this. For example, men’s cross-country races are longer

than women’s cross-country races.

        26.    In March 2020, Idaho became the first state in the country to pass a law to protect

women’s sports. H.B. 500, the Fairness in Women’s Sports Act, protects women’s sports by

ensuring that only female athletes compete in sports designated for women or girls. I intervened

in a lawsuit to help defend that law because I want my races to be fair and a test of skill and hard

work. I do not want to wonder whether I am training countless hours for inevitable defeat, or

whether I will even have a chance to win against a physically advantaged male athlete.

        27.    I fear that if we are no longer allowed by law to recognize the objective existence

of women, that it will be a huge loss to women’s rights.



                                                 5
                                                                                     Armistead App. 0064



           28.   Sports was like the air I breathed growing up, and I want my kids to have that

same experience. And as hard as my teammates and I work to be competitive, I do not want to

see women’s sports fade away as a separate category because males compete in women’s

divisions, and women give up trying to compete because they do not think they can win. I fear

that we will soon effectively have men’s sports and co-ed sports, but no dedicated category for

females only.

           29.   And I do not want to see women lose their legal protection and progress under the

law because we can no longer identify what a woman is.

           30.   To my knowledge, June Eastwood has graduated. But I learned through my

involvement in defending Idaho’s Fairness in Women’s Sports Act that another male, Lindsay

Hecox, wants to compete on the women’s team at Boise State University—a university that my

team competes against. And if Title IX and Idaho's law aren’t upheld, other males will almost

certainly follow.

           31.   I believe everyone should be able to compete, but it must be done fairly. It is not

fair for women’s competitions to be open to male athletes. And women’s sports itself will lose its

meaning, and its specialness, if males can be redefined as females.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                       ___________________________________
                                                       Madison Kenyon
                                                       Dated: $SULO




                                                   6
                                                                                    Armistead App. 0065



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                            Defendants
        and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                         DECLARATION OF MARY MARSHALL

I, Mary Marshall, declare as follows:

       1.      I am a twenty-one-year-old resident of Twin Falls, Idaho, and have personal

knowledge of the information below.

       2.      I am a senior and female athlete at Idaho State University in Pocatello, Idaho,

where I compete in cross-country and track and field.

Athletics Background

       3.      I first started playing basketball at 7 or 8 years old, and I continued through my

sophomore year of high school. I enjoyed the competition, the adrenaline rush, and the sheer fun

of the game.




                                                 1
                                                                                    Armistead App. 0066



       4.      In 8th grade, I started running track. My sophomore year of high school I started

running cross country to get in shape for basketball. But to my surprise, I found out that I loved

running more than playing basketball! So, I kept running races. And my sophomore year of high

school, I dropped basketball altogether and started focusing on cross country and track.

       5.      I discovered that I am good at running. In two back-to-back years, my high school

medley relay team won the State championship in our division. My junior year I won the state

championship in the 300 intermediate hurdles. And in my senior year of high school, I won the

State championship in the 800m for my division.

       6.      I love to run. It gives me confidence, improves my mood, and allows me to

explore the great outdoors on foot. But being a competitive female athlete is about more than just

running long distances. It is about community. My teammates have become my closest friends.

We push each other to be our best, help one another through disappointments and losses, and

cheer one another on as we celebrate victories. We travel together for sporting events and share

overnight lodging: it’s like a sisterhood. We enjoy one another so much that we even spend our

free time together. Through running competitively, I have made some of my closest lifelong

friends.

Competing in Women’s Collegiate Athletics

       7.      I chose to attend college at Idaho State University (ISU) because it is close to

home and I really liked my track coaches. And I am grateful to be one of the lucky ones to

benefit from a women’s track scholarship.

       8.      In college, I am primarily a mid-distance track athlete, focusing on shorter

distances like the 800-meter and the mile. But I also compete in cross-country to stay in shape. In

cross-country, I generally compete in the 5k.



                                                 2
                                                                                       Armistead App. 0067



          9.    Training is hard work. On Tuesdays and Thursdays, I usually have a two-hour

workout with my team. On alternate days, my teammates and I get together for a five-to-six-mile

run. Additionally, we have an hour-long weightlifting session on Mondays and Wednesdays.

          10.   But in the fall of my sophomore year of college, I learned that I would be racing

against a male athlete who was competing on the University of Montana women’s team because

he identifies as female. I was appalled. I do not know how anyone could think this was fair to

female athletes. Males are naturally fitter and faster than females.

          11.   I raced against this athlete, June Eastwood, not once, but twice. First, I competed

against Eastwood in the Montana State Cross-Country Classic 3-mile event in the fall of 2019.

And then I competed against Eastwood again in January 2020 at the Stacy Dragila Indoor mile

event.

          12.   I lost both times. I was displaced and pushed down to a lower spot in the rankings

than I would have earned had the playing field been level.

          13.   When I lose to another woman, I assume that she must train harder than I do and

it drives me to work harder. If I lose to a man, it feels completely different. It’s deflating. I

wonder whether he works as hard as I do, whether he was even trying, or was that an easy race

for him. It makes me think that no matter how hard I try, my hard work and effort will not

matter.

          14.   Members of the men’s track team sometimes do easy runs with me and my

teammates on the women’s track team. But we women are under no illusion that we would be

competitive in a race against these men. Even our easy runs are at different paces. For example,

an easy run for women is usually at an 8:30 pace, while an easy pace for men is around 7:30.




                                                   3
                                                                                     Armistead App. 0068



Fairness in Women’s Sports

         15.   When I first heard about Idaho’s H.B. 500 Fairness in Women’s Sports Act, I was

really excited. I hoped that this would be the solution we needed to keep men out of women’s

sports. And that’s why—when the law was later challenged in court — I chose to stand up and

intervene in the lawsuit to defend the law. I wanted to make sure that the voices of women were

heard.

         16.   I have personally seen the negative impact on women when Eastwood was

allowed to compete against women’s teams, and I fear that as men realize they only need to

“identify” as women in order to compete in the women’s category, others might follow suit. In

fact, I learned through my lawsuit that a male athlete, Lindsay Hecox, wants to compete on the

Boise State women’s track and cross-country team—a team that I compete against. I want to stop

this before it becomes popular.

         17.   I want to preserve the camaraderie and sisterhood that comes from competing

with an all-female team. There is no way that I would feel comfortable sharing a hotel room with

a male athlete, regardless of how that person identified.

         18.   And I want other young women to benefit from sports as I did. I did well in high

school sports. But if a boy had decided to compete against me in basketball, or track, or cross-

country, I am not sure that I would have kept on competing. Success drives endeavor. And if I

knew that I could not win, I might have dropped out of sports altogether.

         19.   That very idea concerns me. Sports has played such an important role in my life.

It taught me how to work in groups and as a team. It taught me how to persist through

disappointment. It taught me that if I put in the work, I will get the results. It has taught me how

to interact with people I do not know, and how to respond to those in authority over me. It has



                                                  4
                                                                                   Armistead App. 0069



given me the confidence to study business, marketing, management, and economics at ISU

because I hope to be an entrepreneur and own a business someday. These are the benefits that I

want to preserve for the next generation of women.




Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                    ____________________________________
                                                    Mary Kate Marshall

                                                    Dated:




                                                5
                                                                                   Armistead App. 0070



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                                  Plaintiff,
         v.
 WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                                Defendants
         and
 LAINEY ARMISTEAD,
                                  Defendant-Intervenor.



                              DECLARATION OF HALEY TANNE

        I am a 22 year-old senior at Southern Utah University and have personal knowledge of

the information below.

Athletic Background

        1.      I have always loved running. As a kid, I was fast and could outrun a lot of people.

But I didn’t get into running seriously until the summer before my freshman year of high school.

My older sister (who later ran in college) “forced” me to get up early with her and run. Once I

got into shape, I loved it.

        2.      As a high school freshman, my coach pulled me aside and said that I had the

potential to run in college. I was surprised!



                                                    1
                                                                                     Armistead App. 0071



        3.     And I started training harder. My family wasn’t financially well off so I worked

hard to earn the participation fees and gear fees to run in high school. I worked in my coach’s

woodshop over the summer, and later transitioned to be a pool instructor to earn money.

        4.     It was a lot of work. I worked throughout my summers, went to bed early and

missed out on the typical teenage experience of my peers.

        5.     In high school, I was our school’s top ranked female athlete. I felt a lot of pressure

being at the top. But the desire to be the best and potentially earn a scholarship for college kept

me pushing to stay at the top.

        6.     Being a female athlete is not easy and requires sacrifice. To get faster and hold

my spot required a lot of self-discipline in my diet, bedtime, and homework.

        7.     My teammates say I’m fiercely loyal. I’m hardworking, smart, reliable, and I

invest deeply in relationships.

        8.     I love racing! I love the feeling when my legs are burning, almost numb, lungs are

burning, arms are burning and so fatigued. But when you cross that finish line, all the pain melts

away.

        9.     There are never “days off” in the life of a distance runner. You have to really

love running to excel in this sport. I have many favorite runs near the Southern Utah University

campus. I love the Canyon Run, Dikes Run, and the Main Street Run. I love running in this part

of Utah and losing myself to the scenery. It gives me temporary relief from stresses or negative

emotions I’m facing.

        10.    When I was deciding on which college to attend, I looked all throughout Utah. I

had many options, and many schools were interested. But I ultimately decided to go to Southern

Utah University because of the team dynamic and the kind, caring, and capable coaches.



                                                  2
                                                                                    Armistead App. 0072



       11.     Going to college was something that was not a likely option for me because of the

low-income status I came from. Gratefully, running allowed me to earn a scholarship and attend

college. Running has completely shaped my college career. It has taught me even greater

discipline than I had in high school. I have learned mental toughness from hard workouts and

practices. I have also developed many leadership traits from being on a team, and even though I

am one of the youngest runners on the team as a sophomore, I still have a position of leadership.

       12.     My teammates have made my college athletic career worth it. We are with each

other through anything and everything. My teammates have seen me at my lowest lows and my

highest highs. It is a special bond, and we are all so close. While we have a lot of personalities on

the team, we all mesh together so well. I love my teammates and every one of those girls means

the world to me.

       13.     One day I want to be nurse and nursing school will be my next step. I’ve always

been interested in the human body and medicine and I have always wanted to be involved in a

health career. After nursing school, I would like to settle down and move forward in my career

and have a family.

Competition Against a Male Athlete

       14.     I remember learning that there was a male signed up to compete on the women’s

cross-country team at the University of Montana. My coach sat us all down before the season

started and informed us that there was a male who transitioned and would be racing against us. I

remember being so shocked. I never imagined this would happen in my lifetime.

       15.     This male, June Eastwood, had competed on the men’s team for three years and

was not an exceptional athlete. But even as a mid-level runner, Eastwood posted times that were

faster than women’s NCAA records.



                                                 3
                                                                                    Armistead App. 0073



       16.     I competed against Eastwood twice and I lost to Eastwood both times. The first

time I competed against Eastwood was in the 2019 Big Sky Cross Country Championships. I

also competed against Eastwood in the NCAA Division 1 Mountain Region Cross Country

Championships.

       17.     One of my teammates, Madison Fruchey, was also knocked off from being an

All-Conference athlete because of June Eastwood’s involvement. Eastwood was in the top-10

and Madison was 11th. You can mentally exclude Eastwood from the top 10, but when the All-

Conference list was published, Madison’s name was not on it.

       18.     Eastwood’s participation is frustrating. My teammate lost opportunities for

accomplishments she worked hard to achieve. I do not want to have anger towards Eastwood, but

when I see Eastwood lining up in a women’s race, it just feels wrong.

       19.     Eastwood has an advantage when competing. Us women are already at a loss once

Eastwood stands at the starting line. Eastwood’s presence is intimidating, and it is hard to

mentally compete at our best when we know we can’t win.

       20.     Males run track with more physicality than women. They throw elbows and

compete with a more aggressive strategy. They are especially more aggressive in college and

when they progress to more elite races.

       21.     Like I mentioned earlier, obtaining an athletic scholarship was vital to pursuing

my dream of being a nurse. Running was the only way I could afford to participate in academic

programs at my school. When I heard Eastwood was participating on the University of

Montana’s girls’ team through a girls’ scholarship, it was frustrating. There is a limited number

of athletic scholarships that each school can distribute, and Eastwood took an opportunity from




                                                 4
                                                                                  Armistead App. 0074



another woman. It makes you wonder if there may have been another female athlete in my shoes

that may not have been able to afford school without an athletic scholarship.

Fairness in Women’s Sports

       22.     Title IX was created to provide a space for women, like me, to compete on a fair

playing field and be a champion in my own sport. But allowing males to compete in women’s

sports destroys that opportunity and sets women back half a century.

       23.     Generally speaking, males are stronger, faster, and bigger than woman. June

Eastwood towered over the female competitors like me. And if men take over, I fear that women

will lose the drive to compete in the sport altogether.

       24.     Eastwood displaced women in races and in scholarships. Because of Eastwood’s

involvement, a woman missed the opportunity to receive an athletic scholarship and may have

impeded her ability to attend school at all. Women should not have their opportunities taken by

biological males.

       25.     I decided to stand up and speak out because I don’t want my daughters to have to

deal with what I’ve had to deal with. I want to protect women’s sports for all the women that will

come behind me.

       26.     I know what I’m doing is right and I know what we’re fighting for is right.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                                  ____________________________________
                                                   ______________
                                                   aley Tanne
                                                  Haley

                                                  Dated: April 19, 2022




                                                  5
                                                                                     Armistead App. 0075



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                                Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF               Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                              Defendants
        and
 LAINEY ARMISTEAD,
                                   Defendant-Intervenor.

                            DECLARATION OF LINNEA SALTZ

       I, Linnea Saltz, declare as follows:

       1.      I am a resident of Washington, D.C., and a former elite track athlete at both

Southern Utah University and Georgetown University.

Athletic Background

       2.      Growing up, I loved cheer, gymnastics, and dance. But with a brother who ran

cross-country and a mother who ran triathlons, I decided to try out for track my sophomore year

of high school. I surprised everyone—including myself—by running the fastest time of my high

school tryouts in the 400-meter.

       3.      That initial success on the track led to a love of running. I joined my varsity girls’

track team and even competed on a club team. By my senior year, I gave up all other


                                                  1
                                                                                    Armistead App. 0076



extracurricular activities and focused on getting faster and stronger in order to be the best version

of myself.

       4.      That hard work paid off with an athletic scholarship to run track for Southern

Utah University. I received offers from bigger schools, but ultimately chose to attend SUU

because I could tell they really cared about their athletes.

       5.      Being a student-athlete opened doors for me to make connections on campus and

provided a ready-made support and friendship network in my teammates.

       6.      But being a collegiate athlete is not easy. It involves early morning workouts and

afternoon practices; weekend travel for meets; and lots of self-discipline in diet, bedtime, and

homework. I missed out on sleeping in, spring break, and social events.

       7.      But it was absolutely worth it. Every time I earned a new Big Sky Championship

medal or put my name on the record book for my school, it made all the sacrifice worth it.

       8.      I am proud of what I achieved in my time at SUU. I am a two-time Big Sky

Champion in the 800-meter, once in outdoor and once in indoor. And by the time I graduated, I

held seven school records:

               x   indoor 4x400-meter relay,
               x   indoor distance medley relay,
               x   indoor 400-meter,
               x   indoor 600-meter,
               x   indoor 800-meter,
               x   outdoor 800-meter,
               x   outdoor 4x4 relay.

Competition against a male athlete

       9.      My senior year of college, I learned about a male athlete at the University of

Montana who would be competing in women’s cross-country and track.




                                                  2
                                                                                     Armistead App. 0077



       10.     This male, June Eastwood, had competed for three years on the men’s team and

was not a stand-out athlete. But even as a mid-level male athlete, Eastwood still posted times as a

man that were faster than multiple women’s NCAA records.

       11.     In the fall of 2019, Eastwood bested some of my teammates in cross country

competitions. I thought it was so unfair. Why would someone who knows they have a

physiological advantage over these women compete against them?

       12.     After my teammates’ experience, I spent weeks reading the NCAA’s transgender

handbook. The NCAA policy at that time—which had been in place since 2011—required males

to undergo one year of testosterone suppression before competing on a women’s team. I thought

this could not be true. I could see for myself that testosterone suppression did not eliminate the

male advantage. (Thankfully, the NCAA scrapped that old policy in late 2021, but did not

replace it with any policy that actually protects female athletes.)

       13.     In the winter of 2020, I learned that Eastwood would be competing in the indoor

Big Sky Conference Track and Field Championships.

       14.     As the defending 800-meter Big Sky Conference Champion, I immediately

jumped online to see what I was going to have to be competing against this season. All hope was

lost when I realized that the male athlete was going to be competing against had a personal best

time of 1:55 in the 800-meter, not only 10 seconds faster than the best time I had posted the

season prior, but faster than the NCAA women’s record in the event.

       15.     I took a step back and realized that my senior year was no longer going to be

about the sacrifices, hard work, pain, and dedication I had put forth the last four years. It was

going to be about fairness in women's sports being stripped away right in front of me. Title IX

was passed in order to create an equal and fair playing field for all—yet allowing male athletes to



                                                  3
                                                                                    Armistead App. 0078



compete in women’s sports discourages young women and deters them from their sports. Sports

that encourage independence, strength, strong will, and give you the confidence of being a

competitive athlete.

       16.     Instead of looking forward to my races, I was anxious. I could not bear the

thought of losing my Big Sky Championship title to a former male athlete. I tried hard to focus

on my training, but it was mentally exhausting to anticipate racing a male athlete with all the

advantages of male puberty.

       17.     To my relief, Eastwood did not enter the 800-meter race. But I competed against

Eastwood in the distance medley relay (DMR). In the middle of that relay, after finishing my leg,

I overhead the University of Montana coach cuing this athlete from the sidelines, telling

Eastwood to do something I had never heard in competition: to slow down. Eastwood took the

University of Montana’s relay team from nearly the bottom of the pack to a 2nd place finish.

       18.     Eastwood also bested some of my SUU teammates in the women’s mile at Big

Sky. Remarkably, this athlete finished four seconds ahead of the next competitor—a massive

amount of time in an elite track competition.

Fairness in Women’s Sports

       19.     Female-only sports exist for a reason: to give women like me the chance to

podium, showcase our talents, and receive the recognition our hard work and talent deserve. But

allowing a male to compete in the women’s category shatters these opportunities.

       20.     Simply by observation, males are generally bigger, faster, and stronger than

women. Eastwood’s over six-foot-tall frame towered over the female competitors. June’s

cadence, stride length, broader shoulders, and lack of fatty tissue around the hips and chest all




                                                 4
                                                                                        Armistead App. 0079



spoke to June’s male advantage. Personally, I would find it demeaning to stand on the podium

beneath an athlete that had been on the podium with boys a couple years ago.

        21.        It is mentally draining to run against a male athlete. While in prior years I could

just focus on my training, in 2020, I spent a lot of time in preseason stressing over competing

against a male.

        22.        It only takes three males to displace females on the podium. And only eight males

to displace females from All-Conference honors, and even worse from first-team All-American

status which some women athletes could only dream of accomplishing.

        23.        I don’t want to look back at the SUU school record books five or ten years down

the line to find my name erased by males.

        24.        Because if men take over, I fear that women will lose the drive to compete in

sports entirely.

        25.        Men are able to celebrate fairness in their sports, so it should only make sense that

we can as well. It is discouraging for girls and women to think that they may have to compete

against an individual that has a biological advantage over them. Taking away our opportunities

will run us out of the sports world, which we already had to fight so hard to be a part of.



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                                     ____________________________________
                                                     Linnea Saltz

                                                     Dated: $SULO




                                                     5
                                       Armistead App. 0080




  NCAA Division II Outdoor Track & Field
              Championships (Excerpt)
                   May 23-25, 2019
                     Available at:
http://leonetiming.com/2019/Outdoor/NCAADII/Re
                       sults.pdf
    [permalink: https://perma.cc/BB84-YJPL]
            (last visited: April 20, 2022)
                                                                                                            Armistead App. 0081
   Leone Timing and Results Services - Contractor License              Hy-Tek's MEET MANAGER 9:12 PM 5/25/2019 Page 3
                                                           NCAA Division II
                                                 Outdoor Track & Field Championships
                                         Hosted By Texas A&M Kingsville - 5/23/2019 to 5/25/2019
                                                               Results
Finals ... (Women 5000 Meter Run)                                       18    Chelsea Walker         SO Christian Bros         14.48 4.1
     Name                  Yr School                   Finals           ---   Jordan Hammond         JR NW Missouri             DNF 4.8
  18    Dania Holmberg         SO   Seattle Pacific   17:54.06
                                                                      Women 100 Meter Hurdles
  19    Malena Grover          SR   Adams State       18:00.77
                                                                         Meet Record:     12.70 M 5/23/2013 Vashti Thomas
  20    Chloe Flora            SO   Lee               18:02.64
                                                                           Name                      Yr School                Finals
  21    Cynthia Togom          FR   Cen Missouri      18:03.95
  22    Chloe Cook             SR   CO Mines          18:24.29
                                                                      Finals
                                                                         1    Courtney Nelson        SR   Pittsburg St         13.06   10
  ---   Allie Ludge            JR   Grand Valley St       DNF
                                                                         2    Monisha Lewis          JR   San Francisco St     13.29   8
Women 10000 Meter Run                                                    3    Danielle Kohlwey       SR   MN Duluth            13.31   6
   Meet Record: 33:17.39 M 5/26/2011 Sarah Porter                        4    Erin Hodge             SR   Lindenwood           13.47   5
     Name                      Yr School               Finals            5    CeCe Telfer            SR   Franklin Pierce      13.56   4
Finals                                                                   6    Briana Burt            SR   So. Conn. St         13.83   3
   1    Caroline Kurgat        SR   Alaska Anchorage36:34.31     10      7    Mariyah Vongsaveng     SR   Cen Washington       13.87   2
   2    Leah Hanle             JR   Mount Olive     37:20.46     8       8    Morgan Smith           SR   MO Southern          13.98   1
   3    Gina Patterson         JR   Grand Valley St 37:33.19     6
                                                                      Women 400 Meter Hurdles
   4    Jessica Gockley        SO   Grand Valley St 37:40.52     5
                                                                         Meet Record:     55.42 M 5/27/2017 Tia-Adana Belle
   5    Kaylee Bogina          JR   Adams State     37:43.89     4
                                                                           Name                      Yr School               Prelims
   6    Eileen Stressling      SR   Azusa Pacific   38:02.76     3
   7    Alexa Shindruk         SR   Cen Washington 38:04.69      2
                                                                      Preliminaries
                                                                         1    CeCe Telfer            SR   Franklin Pierce    58.18Q
   8    Allison Dorr           SR   Saginaw Valley 38:05.52      1
                                                                         2    Shannon Kalawan        JR   St. Augustine's    59.18Q
   9    Kathryn Etelamaki      JR   Ferris State    38:16.78
                                                                         3    Sidney Trinidad        SO   Cen Washington     59.78Q
  10    Ida Narbuvoll          JR   U-Mary          38:43.20
                                                                         4    Jordan Hammond         JR   NW Missouri        59.68Q
  11    Hope Jones             JR   So Indiana      38:46.90
                                                                         5    Kissi-Ann Brown        SR   Lincoln-MO         59.92Q
  12    Malena Grover          SR   Adams State     38:51.72
                                                                         6    Jessica Eby            SO   Grand Valley St 1:00.34Q
  13    Billie Hatch           SO   Dixie State     39:01.07
                                                                         7    Minna Sveard           SO   TAMU-Commerce 1:00.16q
  14    Emily Byrd             JR   Michigan Tech 39:27.23
                                                                         8    Hanneke Oosterwegel    SR   Northern State   1:00.23q
  15    Leah Lewis             JR   Dallas Baptist 39:51.54
                                                                         9    Chelsea Walker         SO   Christian Bros   1:00.31
  16    Michaela Reynolds      SR   CO Mines        39:58.06
                                                                        10    Erykah Weems           JR   Cen Washington 1:00.43
  17    Cassidy Ahrens         SR   West Colorado 40:16.52
                                                                        11    Claudia Cox            JR   UC San Diego     1:01.12
  18    Jax Heckers            SO   CSU San Marcos 41:15.31
                                                                        12    Faith Roberson         SO   Angelo State     1:01.24
  ---   Brianna Coy            JR   Walsh               DNF
                                                                        13    Miyah Golden           SR   Shorter          1:01.35
  ---   Alexandria Tucker      SO   Chico State         DNF
                                                                        14    Kelly Strand           SR   UC San Diego     1:01.79
Women 100 Meter Hurdles                                                 15    Monisha Lewis          JR   San Francisco St 1:02.10
   Meet Record:      12.70 M 5/23/2013 Vashti Thomas                    16    Janeth Moya            SR   Cal St. LA       1:02.13
     Name                      Yr School              Prelims           17    Brittney Augustin      FR   Lees-McRae       1:02.69
Preliminaries                                                           18    Danielle Scantlebury   FR   St. Augustine's  1:02.71
   1    Courtney Nelson        SR   Pittsburg St        12.99Q4.1       19    Leah Molter            SR   OK Baptist       1:03.37
   2    Erin Hodge             SR   Lindenwood          13.37Q4.8
                                                                      Women 400 Meter Hurdles
   3    Danielle Kohlwey       SR   MN Duluth           13.52Q3.4
                                                                         Meet Record:     55.42 M 5/27/2017 Tia-Adana Belle
   4    Monisha Lewis          JR   San Francisco St    13.22Q4.1
                                                                           Name                      Yr School                Finals
   5    CeCe Telfer            SR   Franklin Pierce     13.49Q4.8
                                                                      Finals
   6    Mariyah Vongsaveng     SR   Cen Washington      13.97Q3.4
                                                                         1    CeCe Telfer            SR   Franklin Pierce   57.53      10
   7    Briana Burt            SR   So. Conn. St        13.77q 4.1
                                                                         2    Minna Sveard           SO   TAMU-Commerce 59.21          8
   8    Morgan Smith           SR   MO Southern         13.92q 4.1
                                                                         3    Sidney Trinidad        SO   Cen Washington    59.49      6
   9    Julia Hammerschmidt    SR   U-Mary              14.03 3.4
                                                                         4    Hanneke Oosterwegel    SR   Northern State  1:00.29      5
  10    Tamia Prince           JR   Concordia-CA        14.03 4.8
                                                                         5    Jordan Hammond         JR   NW Missouri     1:01.24      4
  11    Danielle Scantlebury   FR   St. Augustine's     14.12 3.4
                                                                         6    Kissi-Ann Brown        SR   Lincoln-MO      1:01.35      3
  12    SheQuilla McClain      SO   Shorter             14.13 4.8
                                                                         7    Jessica Eby            SO   Grand Valley St 1:01.35      2
  13    Leah Molter            SR   OK Baptist          14.14 3.4
  14    Nia Vance              JR   Cal Poly Pomoma     14.22 4.1
  15    Oweneika Watson        JR   Adams State         14.34 3.4
  16    Carolyn Hackel         JR   MN State            14.36 3.4
  17    Jordan Nash            SR   Angelo State        14.40 4.8
                                        Armistead App. 0082




2020 Big Sky Indoor Track & Field Championship
                  Results (Excerpt)
                February 27-29, 2020
                     Available at:
https://bigskyconf.com/documents/2020/3/27//2020
_bsc_itf_final_results_single_column.pdf?id=6627
    [permalink: https://perma.cc/U4LX-23M6]
            (last visited: April 20, 2022)
                                                                                                                     Armistead App. 0083
                                                         !"#$%&$%!%!'( 1
                                                         
                                                                          ! 
                                                                         "#
/ )));$  4&"# <
        2                                                                                     /             0
   8      *                                 .4  7 (                                            % 1/%" 2                
   :    ,(+*=(- (                       , - .(.                                   % 0/%0     % 1/&0                  
  !    9+ *(.4                             =6(4                                        % &/0#     % 0/8%            #      
      ) * A                                .( (.(.                                 % #/":     % 0/:&                  
  %    9       *(66                          (. ,(4 .                              % :/88     % &/&0            %      
  #    <  *B. C(                         .4   (6                                % &/&1     % 8/%0            #      
  1    ++ *'                             =6(4 .(.                                  % "/:0     % 8/&1                  
  0     6  *4((                           =6(4 .(.                                  % :/%!     % 8/&0            %      
  "     6* (                                 .( (.(.                                 % &/81     % :/%%                  
  &    ( 4(*( )(.                       =6(4 .(.                                  % "/&8     % %1/&%            %      
$  4&"#
      (     ()3   +   ,              .$9
    !(    (*)   0   ,,          :$.  
           ! (    (,)47   1             " 5 9.-   
       2                                                                             /                        /  
 
       (.7* (                               3.4       .(4                           % #/18     % !8/!!                !
    %    * (                                 .4         7 (                         % %/1:     % !:/"#                 8
    #   (+(*) (                             .(       (.(.                           % #/"%     % /##                 "
    1   ' 4(* (                               =6(4                                        % #/&%     % %/0"                 0
    0   . *) .(                             =6(4                                        % #/1     % 1/#                 1
    "   (  *'(. (                          .(       (.(.                           % #/8%     % 0/%%                 #
    &     *                                 .4         7 (                         % 1/%"     % 0/8#                 %
    8   4( *(( (                          =6(4                                        % #/&     % 0/88                 
$  ,&"#
      (     7(*7)7   +   %          5  2 .2  !6        
    !(    7(*)7   0   *          5  2 .2  !6        
           ! (    7(7)   1   ,%          $    = #  .  
       2                                                                                                     0   /  
 
       (.@ 6*53                               .( (                                      1 10/8#     1 0!/%8            %    !
   %    ((< (*((                        .4  7 (                                1 18/:0     1 01/&8            %     8
   #    4( *(( (                          =6(4                                        1 0%/"0     1 00/!            %     "
   1     *                               =6(4 .(.                                  1 0%/"0     1 0&/!#            %     0
   0    . *'<                               .4  7 (                                1 18/"     0 !!/1            %     1
   "      *                                 .4  7 (                                1 1"/#0     0 !!/80            %     #
   &      *5                              .4  7 (                                1 0%/&0     0 !/0%            %     %
   8     * (                              .4  7 (                                1 01/#%     0 !1/&!                 
   :    ( *(                               3.4 .(4                                 0 !0/%&     0 !0/%%                  
  !    ?3      *+                          ( (+ . ./                               1 0#/&     0 !"/1:            %      
      ,(+*=(- (                       , - .(.                                   1 0#/:     0 !"/08            %      
  %    (  *'(. (                          .( (.(.                                 1 00/!%     0 !&/0#                  
  #     (.4(+*4                             , - .(.                                   1 0"/%0     0 !8/8                  
  1    ' (..*4                            , - .(.                                   1 0&/##     0 !8/:8                  
  0    93 ( *(                             ( (+ . ./                               1 0#/8     0 %/!#            %      
  "    ( *(                                 3.4 .(4                                 0 !!/#%     0 %/0%                  
  &    9  *(6(                             3.4 .(4                                 0 !#/0%     0 "/!0                  
  8    9        *(66                         (. ,(4 .                              0 !/8"     0 &/%1                 
                                                                                                                    Armistead App. 0084
                                                        !"#$%&$%!%!'( 0
                                                        
                                                                         ! 
                                                                        "#
 )));$  ,&"# <
       2                                                                                                    0   /  
  : ) +*)(                               3.4       .(4                           0 &/#0     0 :/1                  
  %! , *+                                .4          (6                         0 1/08     0 %:/&!                  
$  *&"#
      (     ()%,   +   7            2 .2  !6 
    !(    (%)%,   0   *         5  & .2  !6        
           ! (    ()   1   ,4*         5&  .8
       2                                                                                                    0   /  
 
      ((< (*((                        .4  7        (                         : #&/!     : 1&/!0            %    !
   %    *                               =6(4 .(.                                  : #1/!%     : 18/%            %     8
   #   '..*+                             .( (                                      : 0#/&:     : 18/:8            %     "
   1   .4 *(                            , - .(.                                   : 1&/0!     : 18/:8            %     0
   0   @  *)                              =6(4                                        : 08/#:     : 0%/!8            %     1
   "     *5                              .4  7        (                         : 18/#     : 0:/":            %     #
   &   (+3 *9 (                           .4  7        (                         : 0%/&#    ! !!/#&            %     %
   8   . *'<                               .4  7        (                         : 1"/0"    ! !!/:"            %     
   :     * (. A                         .( (                                      : 0#/0&    ! !/%            %      
  !   - *)((                             ' .( 6.(.                                : 1%/08    ! !#/8:            %      
     ) * A                                .( (.(.                                            ! !1/%%                  
  %   (+< *(.4((                         =6(4                                       ! !:/%#    ! !0/&&                  
  #   ,(*(                              , - .(.                                  ! !0/0&    ! !&/%"                  
  1   ( *(                             .( (.(.                                 : 18/"0    ! /#&            %      
  0   (.@ 6*53                               .( (                                      : 0:/8%    ! 1/!1            %     
  "    6( *--                              .4  7        (                        ! !8/!#    ! 0/&%                  
  &   B. *(4                             ( (+ . ./                              ! 0/#!    ! :/"%                  
  8    * (                              .4  7        (                        ! !#/1:    ! %/&%            %      
  :     - . *(+( .4(                       .( (                                     ! 0/:#    ! %/80                  
  %!   93 ( *(                             ( (+ . ./                               : 0"/:!    ! %0/88            %      
  %   9  *(6(                             3.4 .(4                                ! !1/"0    ! %&/%!                  
  %%   ( *(                               3.4 .(4                                 : 0%/"#    ! %&/&8            %     
  %#   ( *4(                               , - .(.                                  ! %/8    ! %&/::                  
  %1    *(3 (                            =6(4 .(.                                 ! !/0#    ! #%/#            %      
  %0     *6                              , - .(.                                  ! %1/##    ! #%/##                  
  %"   ( *(                                 3.4 .(4                                 : 0%/#8    ! #%/&8            %      
  %&   +( 6*(+( .4(                          3.4 .(4                                ! %1/!    ! ##/08                  
  %8    .. 4 +*                         , - .(.                                  ! %&/#%    ! #&/#!                  
  %:   34( *5                               3.4 .(4                                ! %&/0!    ! 11/"!                  
  #!   ?3       *+                         ( (+ . ./                                          ! 1"/::                  
  #    * ( 6(                            ' .( 6.(.                               ! #%/0:     !1/":                  
$  3&"#
      (    ,%(*3)4   +   ,         =&= .> $ 
    !(   ,3(73)%   0   ,4         /-.2  !6 
           ! (   ,%(**)%   1   ,4,         ! ?@       .A 
       2                                                                                                        /  
 
     ((< (*((                         .4  7 (                               " /!!    & !!/%0                !
    % @  *)                               =6(4                                                   & !&/8!                 8
    # .4 *(                             , - .(.                                  " 0&/!:    & 8/08                 "
                                                                                                                               Armistead App. 0085
                                                                   !"#$%&$%!%!'( &
                                                                
                                                                                   ! 
                                                                                  "#
$  %& # 
      (               4),   +   ,7              . # 8
    !(              4),   0   ,7              . # 8
           ! (              4)   1                5B.-   
       2                                                                                       /                         0      /  
 
              *)(.                                      , - .(.                                    8/01       8/0                    %      !
    %   ;( * (                                          .( (.(.                                  8/&1       8/"!                           8
    #    +- * 34                                    (. ,(4 .                               8/"       8/"                    %       "
    1   *;(                                        .( (                                       8/80       8/"0                           0
    0   5 4  * +(                                        .4   (6                                 8/&:       8/&%                    %       1
    "   ( . * (                                          .( (.(.                                  8/88       8/&#                           #
    &         * . ( (                                   ( (+ . ./                                8/&#       8/&0                           %
    8    ; *9 .                                      3.4 .(4                                  8/8&       :/!"                    %       
$  7C7&"
      (          *(7)*     +   ,4            .2  !6 
    !(         *(7,)4     0   ,4            .2  !6 
           ! (         *(*)4     1   ,4,            .! 8 D
                                                     "                                                                      0      /  
 
     ( (+ . ./                                                                               # 18/""    # 1&/!&                   #      !
         E 6   6*4(4                  %E       (     (7( 7*5(+   #E    * . ( (                1E ; (*((
    %  3.4       .(4                                                                           # 1:/%!    # 1&/8&                   #       8
         E ..*                           %E(.7*       (               #E      *' .                  1E 6*7 
    # =6(4 .(.                                                                                  # 0%/8%    # 18/"                   %       "
         E + *;(                       %EB( B .* (        (          #E((4 *= 6                 1EB( ; ..3 *4 
    1  .4         7        (                                                                  # 0/0!    # 18/88                   #       0
         E, *(6                         %E5(     *5(6(                #E   * (                    1E  +( -* (
    0  .4          (6                                                                         # 18/"    # 1:/%0                   #       1
         E43 .7*)                        %E*(-                   #E<  *B. C(              1E' ...*( 7
    " , - .(.                                                                                   # 0#/"!    # 1:/%"                   %       #
         E(    *+                       %E @ * 6                       #E ( ) *+              1E     *)(.
    &       .( (.(.                                                                            # 0#/:    # 0/%                   %       %
         E  *(66                        %E+.4*9 (                    #E(+(*)        (           1E(  *'(. (
    8 =6(4                                                                                        # 0:/!:    # 01/01                          
         E)3 37*( ( (                      %E 34*(+                     #E' 4(* (                     1E'(; *(3
    :  .( (                                                                                      # 0&/18    # 0:/%8                          
         E*;(                        %E *                         #E( +     *--                1E( *5(
  ! (.        ,(4 .                                                                        1 !/&#    1 !/:8                          
         E @ * <4                        %E) 4.*(6                   #E' .4*)(.                   1E +- * 34
$  ' & 
      (         ,,(*7),     +   ,4            .2  !6       
    !(        ,,(,*),4     0   %            .2  !6       
           ! (        ,,(7)7     1   ,4,            . B
                                                     "                                                                             /  
 
      .4         7        (                                                                             18/:&                         !
         E  *5                         %E. *'<                     #E4 *(                  1E   * ( 
    %  .( (                                                                                                 0/":                          8
         E  - . *(+( .4(                  %E( *5(                         #E9(4+*(                    1E(.@ 6*53
                                                                                                                          Armistead App. 0086
                                                              !"#$%&$%!%!'( 8
                                                           
                                                                               ! 
                                                                              "#
 )));$  ' &  <
                                                   "                                                                    /  
    # , - .(.                                                                                         0#/#8                    "
         E' (..*4                     %E(     *+               #E (.4(+*4                   1E,(*( 
    1 ( (+ . ./                                                                          0"/%&    01/&1                    0
         E93 ( *(                      %E     (     (7( 7*5(+   #E?3      *+                1EB. *(4 
    0 =6(4 .(.                                                                            % #:/&:   % !0/88                    1
         E)  *(6                        %E( . *) 6(                #E 6       *4((            1E * 
    "  .( (.(.                                                                           % !&/#0   % !0/:8                    #
         E(  *'(. (                  %E    6* (                  #E) * A                     1E( *(
    & =6(4                                                                                  % 0/!1   % #/00                    %
         E9+     *(.4                  %E)3 37*( (      (          #E' 4(* (                   1E( * 
    8  3.4        .(4                                                                               % 0/08                    
         E+( 6*(+( .4(                  %E) 4 *(3 (                   #E) +*)(                  1E9  *(6(
$   5#
      (        %,)3    +   %               " .2  !6 
    !(          %    0   ,44             !9$ .  
           ! (       %*)3    1   ,47             :  .$ "D  
       2                                                                                                                /  
 
        - ..*3                                    .( (.(.                                  /&0+     /&%+                    !
   %     .4*5(                                        .( (                                       /&!+    5/&%+                     8
   #    B( ; ..3 *4                         =6(4 .(.                                   /&+    5/&%+                     "
   1    ( *53(                                   =6(4                                         /"8+    5/&%+                     0
   0    B( B .* ( (                                =6(4 .(.                                   /"#+     /"1+                     #
   0    (6. * (                                    .( (                                       /"0+     /"1+                     #
   0     . *)(<                                     =6(4 .(.                                   /"%+     /"1+                     #
   8    4 . <4  * 3 .                           , - .(.                                    /"#+    5/"1+                      /0!
   8    9 7 *4 -                                  ( (+ . ./                                /""+    5/"1+                       /0!
  !    '4 A*                                       .4   (6                                 /&+    5/"1+                      
      , *(6                                    .4  7 (                                 /"1+     /0:+                      
      93  (;*                                  ' .( 6.(.                                 /"0+     /0:+                      
  #    3      * (                                  .4   (6                                 /"!+    5/0:+                      
  #    4( * - (                                 (. ,(4 .                               /"&+    5/0:+                      
  #      *                                     =6(4 .(.                                   /"&+    5/0:+                      
  "    (3 *)((                                   .4   (6                                 /"0+    5/0:+                      
  "    5 4  *D                                       .( (.(.                                  /"0+    5/0:+                      
      ..*(                                  ' .( 6.(.                                 /&+                              
     ( *+                                    , - .(.                                    /"#+                              
     (. *(                                  (. ,(4 .                               /"&+                              
     9 6 *--                                     .( (                                       /08+                              
     ' ...*( 7                                 .4   (6                                 /":+                              
     , *(6                                   (. ,(4 .                               /"&+                              
$  / A#
      (           ,7   +   ,             =&  .> $ 
    !(          ,77   0   ,             =&  .> $ 
           ! (          ,3%   1   *              '.2
       2                                                                                                                /  
 
       *                                         =6(4 .(.                                   #/:+     #/:8+                    !
    % 43.7*(;( (4                                 (. ,(4 .                               1/!+     #/:#+                     8
                                        Armistead App. 0087




 Women’s Ivy League Swimming & Diving
             Championship Results
              February 16-19, 2022
                   Available at:
http://www.meetresults.com/2022/ivies/results.ht
                        ml
    [permalink: https://perma.cc/RFA7-6YDX]
          (last visited: April 20, 2022)
4/20/22, 12:08 PM                               www.meetresults.com/2022/ivies/results.html   Armistead App. 0088
  Licensed to Harvard University - Site License
                                     HY-TEK's MEET MANAGER 8.0 2/20/2022 02:09 PM
                Women's Ivy League Swimming & Diving Championships
                     February 16-19, 2022 - Harvard University
                                      Results

  Event 1 Women 200 Yard Medley Relay
  ===============================================================================
   Meet Record: M 1:37.30         2018 Yale
                            H.Vanderwel, C.O'Leary, M.Zimmerman, B.Hindley
   Pool Record: P 1:37.30         2018 Yale
                            H.Vanderwel, C.O'Leary, M.Zimmerman, B.Hindley
    NCAA A Std: A 1:36.40
    NCAA B Std: B 1:37.05
      School                                                 Seed      Finals Points
  ===============================================================================
    1 Princeton University                                1:38.96     1:38.66   64
       1) Pappas, Alexa FR                  2) Wang, Vivian SR
       3) Venema, Nikki JR                  4) Bradley, Christina JR
    2 Yale University                                     1:37.48     1:38.91   56
       1) Wagner, Lindsey SO                2) Buckley, Marykate JR
       3) Pilkinton, Ophelia SO             4) Henig, Iszac JR
    3 Harvard University                                  1:40.80     1:39.14   54
       1) Pasadyn, Felicia SR               2) Denisenko, Aleksandra FR
       3) Carr, Abigail FR                  4) Brenner, Mandy FR
    4 Brown University                                    1:41.71     1:40.22   52
       1) Reznicek, Jenna FR                2) Willhite, Kellie SO
       3) Chidley, Nell JR                  4) Scott, Samantha SO
    5 University of Pennsylvania                          1:40.31     1:40.33   50
       1) Kannan, Hannah SR                 2) Maizes, Rachel SR
       3) Chong, Vanessa FR                 4) Kaczorowski, Margot JR
    6 Columbia University                                 1:42.27     1:42.05   48
       1) Pruden, Mary SR                   2) Walker, Allegra SO
       3) Wang, Emily SR                    4) Arevalo, Isabelle JR
    7 Cornell University                                  1:44.19     1:43.17   46
       1) Munoz, Aviva JR                   2) Tsai, Sophia FR
       3) Gruvberger, Anna SO               4) Wongso, Priscilla SO
    8 Dartmouth College                                   1:46.95     1:44.54   44
       1) Zhang, Connie JR                  2) Zhang, Rachel FR
       3) Howley, Mary FR                   4) Wortzman, Zoe JR

  Event 2 Women 800 Yard Freestyle Relay
  ===============================================================================
   Meet Record: M 6:59.92        2020 Harvard
                           M. Dahlke, S. Shelton, K. Quist, F. Pasadyn
   Pool Record: P 7:05.06        2018 Harvard
                           M. Dahlke, K. Quist, G. Enoch, M. Popp
    NCAA A Std: A 7:00.86
    NCAA B Std: B 7:05.88
      School                                               Seed      Finals Points
  ===============================================================================
    1 Harvard University                                7:15.97     7:06.66   64
       1) Pasadyn, Felicia SR             2) Shelton, Samantha JR
       3) Bullock, Addie Rose SO          4) Hamlin, Molly FR
    2 Yale University                                   7:16.64     7:08.33   56
       1) Henig, Iszac JR                 2) Massey, Alexandra FR
       3) Jones, Raime JR                 4) Moesch, Marlise SR
    3 University of Pennsylvania                        7:14.50     7:09.91   54
       1) Thomas, Lia SR                  2) Kaczorowski, Margot JR
       3) Kalandadze, Anna Sofia JR       4) O'Leary, Bridget JR
    4 Princeton University                              7:18.36     7:16.00   52
       1) Venema, Nikki JR                2) Marquardt, Ellie SO
       3) Liu, Amelia JR                  4) Valdman, Nathalie SO
    5 Columbia University                               7:20.76     7:16.55   50

www.meetresults.com/2022/ivies/results.html                                                                    1/21
4/20/22, 12:08 PM                                 www.meetresults.com/2022/ivies/results.html        Armistead App. 0089
        1) Ganihanova, Aziza SO               2) Jubin, Olivia JR
        3) Martin, Allison FR                 4) Breiter, Callie SO
     6 Dartmouth College                                    7:36.02            7:20.86          48
        1) Post, Ashley JR                    2) Leko, Mia JR
        3) Wiener, Sophie FR                  4) Wortzman, Zoe JR
     7 Brown University                                     7:29.88            7:21.75          46
        1) Podurgiel, Anna FR                 2) Barrett, Sara FR
        3) Bilgin, Zehra FR                   4) Orange, Audrey JR
     8 Cornell University                                   7:33.06            7:27.74          44
        1) Parker, Melissa JR                 2) Syrkin, Alex FR
        3) Sih, Angelica SO                   4) DuPont, Schuyler FR

  Event 3 Women 500 Yard Freestyle
  ===============================================================================
   Meet Record: M 4:36.37        2020 Ellie Marquardt (Princeton)
   Pool Record: P 4:37.64        2007 Kate Ziegler (Fish)
    NCAA A Std: A 4:35.76
    NCAA B Std: B 4:47.20
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Thomas, Lia               SR Penn                 4:41.19    4:37.32P 32
    2 Buroker, Catherine        SO Penn                 4:47.22    4:44.83B 28
    3 Marquardt, Ellie          SO Princeton            4:48.61    4:46.63B 27
    4 Kalandadze, Anna Sofia    JR Penn                 4:46.62    4:47.54   26
    5 Loomis, Ashley            SR Yale                 4:49.24    4:48.72   25
    6 Ganihanova, Aziza         SO Columbia             4:48.60    4:48.88   24
    7 Cavanagh, Erin            FR Harvard              4:47.38    4:49.04   23
    8 Thompson, Mikki           SR Harvard              4:49.99    4:52.59   22
  B - Final
    9 O'Leary, Bridget          JR Penn                 4:50.20    4:47.77   20
   10 Girotto, Amelia           FR Penn                 4:51.87    4:49.88   17
   11 Kim, Junseo               FR Yale                 4:51.64    4:50.20   16
   12 Rose, Carlie              FR Harvard              4:52.20    4:50.26   15
   13 Appleton, Emily           FR Princeton            4:54.10    4:51.66   14
   14 Valdman, Nathalie         SO Princeton            4:52.80    4:51.72   13
   15 Hazlett, Kate             SO Harvard              4:54.05    4:53.53   12
   16 Barrett, Sara             FR Brown                4:52.14    4:54.11   11
  C - Final
   17 Jubin, Olivia             JR Columbia             4:54.85    4:52.20    9
   18 Giddings, Grace           SR Penn                 4:56.83    4:55.91    7
   19 Minnigh, Sarah            JR Dartmouth            4:56.37    4:56.03    6
   20 Antoniuk, Bella           FR Brown                5:00.94    4:56.16    5
   21 Iorini, Maria             SO Brown                4:57.45    4:58.27    4
   22 Mannion, Macey            SO Princeton            5:01.16    4:58.65    3
   23 Orange, Audrey            JR Brown                4:54.30    4:58.68    2
   24 Breiter, Callie           SO Columbia             4:58.56    5:02.20    1

  Event 3 Women 500 Yard Freestyle
  ===============================================================================
   Meet Record: M 4:36.37        2020 Ellie Marquardt (Princeton)
   Pool Record: P 4:37.64        2007 Kate Ziegler (Fish)
    NCAA A Std: A 4:35.76
    NCAA B Std: B 4:47.20
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Thomas, Lia               SR Penn                 4:34.06    4:41.19B
    2 Kalandadze, Anna Sofia    JR Penn                 4:47.93    4:46.62B
    3 Buroker, Catherine        SO Penn                 4:58.67    4:47.22
    4 Cavanagh, Erin            FR Harvard              4:47.98    4:47.38
    5 Ganihanova, Aziza         SO Columbia             4:50.71    4:48.60
    6 Marquardt, Ellie          SO Princeton            4:47.28    4:48.61
    7 Loomis, Ashley            SR Yale                 4:52.23    4:49.24
    8 Thompson, Mikki           SR Harvard              5:02.27    4:49.99
www.meetresults.com/2022/ivies/results.html                                                                           2/21
4/20/22, 12:08 PM                             www.meetresults.com/2022/ivies/results.html   Armistead App. 0090
  -------------------------------------------------------------------------
    9 O'Leary, Bridget          JR Penn                 5:03.20    4:50.20
   10 Kim, Junseo               FR Yale                 4:53.98    4:51.64
   11 Girotto, Amelia           FR Penn                 4:55.47    4:51.87
   12 Barrett, Sara             FR Brown                4:52.57    4:52.14
   13 Rose, Carlie              FR Harvard              4:54.43    4:52.20
   14 Valdman, Nathalie         SO Princeton            4:54.31    4:52.80
   15 Hazlett, Kate             SO Harvard              4:56.20    4:54.05
   16 Appleton, Emily           FR Princeton            4:53.07    4:54.10
  -------------------------------------------------------------------------
   17 Orange, Audrey            JR Brown                4:57.48    4:54.30
   18 Jubin, Olivia             JR Columbia             4:57.20    4:54.85
   19 Minnigh, Sarah            JR Dartmouth            5:07.26    4:56.37
   20 Giddings, Grace           SR Penn                 4:54.25    4:56.83
   21 Iorini, Maria             SO Brown                4:58.88    4:57.45
   22 Breiter, Callie           SO Columbia             4:54.27    4:58.56
   23 Antoniuk, Bella           FR Brown                4:53.03    5:00.94
   24 Mannion, Macey            SO Princeton            5:01.01    5:01.16
  -------------------------------------------------------------------------
   25 Caverly, Gillian          SR Cornell              5:22.63    5:01.67
   26 Cianciolo, Christina      SO Dartmouth            5:13.70    5:01.91
  -------------------------------------------------------------------------
   27 Larsen, Clare             SR Columbia             5:02.48    5:03.18
   28 Jiang, Joy                FR Penn                 5:00.53    5:03.66
   29 Danko, Allie              FR Cornell              4:59.45    5:04.34
   30 Peng, Jessica             JR Columbia             5:03.15    5:04.39
   31 Munoz, Aviva              JR Cornell              5:05.35    5:05.77
   32 Durak, Anna               SR Princeton            5:10.71    5:05.81
   33 Pujadas, Riley            FR Columbia             5:08.07    5:06.31
   34 Wiener, Sophie            FR Dartmouth            5:12.46    5:06.97
   35 Barry, Hayden             FR Dartmouth            5:18.17    5:08.40
   36 Maizes, Deedee            SR Cornell              5:11.01    5:10.61

  Event 4 Women 200 Yard IM
  ===============================================================================
   Meet Record: M 1:55.09        2013 Katie Meili (Columbia)
   Pool Record: P 1:57.11        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 1:53.66
    NCAA B Std: B 1:59.94
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Shelton, Samantha         JR Harvard              1:59.48    1:58.03B 32
    2 Pasadyn, Felicia          SR Harvard              1:58.86    1:58.25B 28
    3 Whitmire, Liza            SO Princeton            2:00.82    1:59.29B 27
    4 Denisenko, Aleksandra     FR Harvard              2:01.16    2:00.69   26
    5 Jones, Raime              JR Yale                 2:02.28    2:01.24   25
    6 Weng, Vivian              FR Yale                 2:01.64    2:01.90   24
    7 Buckley, Maggie           FR Harvard              2:02.15    2:01.94   23
   -- Yeager, Jess              SO Princeton            1:59.48 DQ 1:58.49
        Head did not break the surface by 15 meters - fly
  B - Final
    9 McDonald, Margaux         SO Princeton            2:02.35    2:01.31   20
   10 Podurgiel, Anna           FR Brown                2:02.41    2:01.65   17
   11 Leko, Mia                 JR Dartmouth            2:02.85    2:02.48   16
   12 Paoletti, Olivia          JR Yale                 2:02.68    2:02.90   15
   13 Chong, Vanessa            FR Penn                 2:02.69    2:03.08   14
   14 Pytel, Isabella           FR Penn                 2:02.41    2:03.31   13
   15 Korbly, Isabella          FR Princeton            2:03.12    2:03.42   12
   16 Boeckman, Anna            FR Penn                 2:02.82    2:03.52   11
  C - Final
   17 Martin, Allison           FR Columbia             2:03.42    2:02.67    9
   18 Lukawski, Audrey          SR Brown                2:03.62    2:02.85    7
   19 Maizes, Rachel            SR Penn                 2:03.66    2:03.06    6
   20 Baldari, Alessandra       SR Yale                 2:03.70    2:03.27    5
www.meetresults.com/2022/ivies/results.html                                                                  3/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html       Armistead App. 0091
   21   Wang, Vivian                          SR   Princeton                2:03.26         2:03.45          4
   22   Sutter, Olivia                        SO   Cornell                  2:04.83         2:03.80          3
   23   Williams, Marie                       SO   Cornell                  2:03.92         2:04.56          2
   24   Chen, Jaime                           FR   Princeton                2:05.02         2:06.16          1

  Event 4 Women 200 Yard IM
  ===============================================================================
   Meet Record: M 1:55.09        2013 Katie Meili (Columbia)
   Pool Record: P 1:57.11        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 1:53.66
    NCAA B Std: B 1:59.94
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Pasadyn, Felicia          SR Harvard              2:00.20    1:58.86B
    2 Yeager, Jess              SO Princeton            2:00.86    1:59.48B
    2 Shelton, Samantha         JR Harvard              2:02.16    1:59.48B
    4 Whitmire, Liza            SO Princeton            2:00.54    2:00.82
    5 Denisenko, Aleksandra     FR Harvard              2:01.45    2:01.16
    6 Weng, Vivian              FR Yale                 2:06.74    2:01.64
    7 Buckley, Maggie           FR Harvard              2:02.84    2:02.15
    8 Jones, Raime              JR Yale                 2:02.99    2:02.28
  -------------------------------------------------------------------------
    9 McDonald, Margaux         SO Princeton            2:02.04    2:02.35
   10 Podurgiel, Anna           FR Brown                2:04.52    2:02.41
   10 Pytel, Isabella           FR Penn                 2:02.70    2:02.41
   12 Paoletti, Olivia          JR Yale                 2:04.63    2:02.68
   13 Chong, Vanessa            FR Penn                 2:01.41    2:02.69
   14 Boeckman, Anna            FR Penn                 2:03.23    2:02.82
   15 Leko, Mia                 JR Dartmouth            2:05.81    2:02.85
   16 Korbly, Isabella          FR Princeton            2:05.65    2:03.12
  -------------------------------------------------------------------------
   17 Wang, Vivian              SR Princeton            2:03.18    2:03.26
   18 Martin, Allison           FR Columbia             2:03.22    2:03.42
   19 Lukawski, Audrey          SR Brown                2:04.57    2:03.62
   20 Maizes, Rachel            SR Penn                 2:12.74    2:03.66
   21 Baldari, Alessandra       SR Yale                 2:06.24    2:03.70
   22 Williams, Marie           SO Cornell              2:05.60    2:03.92
   23 Sutter, Olivia            SO Cornell              2:05.53    2:04.83
   24 Chen, Jaime               FR Princeton            2:04.37    2:05.02
  -------------------------------------------------------------------------
   25 Walker, Allegra           SO Columbia             2:03.26    2:05.08
   26 Takabayashi, Miku         SR Brown                2:02.67    2:05.56
  -------------------------------------------------------------------------
   27 Estabrook, Grace          SR Penn                 2:06.02    2:05.65
   28 Unas, Julia               FR Columbia             2:05.91    2:06.03
   29 Laster, Susannah          JR Dartmouth            2:13.66    2:07.73
   30 Chang, Allison            SR Cornell              2:06.88    2:07.96
   31 Petersen, Amanda          FR Cornell              2:09.44    2:09.13
   32 Parker, Bridget           SO Dartmouth            2:17.64    2:09.92
   33 Hu, Ashley                FR Columbia             2:08.24    2:11.17
   34 Moon, Zoe                 FR Dartmouth            2:16.37    2:12.01
   35 Wu, Amy                   SO Cornell              2:13.99    2:13.79
   -- xHeilbrun, Maddie         SR Harvard              2:07.59   X2:06.86

  Event 5 Women 50 Yard Freestyle
  ===============================================================================
   Meet Record: M 21.83        2019 Bella Hindley (Yale)
   Pool Record: P 22.34        2018 Bella Hindley (Yale)
    NCAA A Std: A 21.66
    NCAA B Std: B 22.76
      Name                    Year School                Prelims    Finals Points
  ===============================================================================
  A - Final
    1 Henig, Iszac              JR Yale                    22.17     21.93P 32
www.meetresults.com/2022/ivies/results.html                                                                                       4/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html        Armistead App. 0092
    2   Venema, Nikki                         JR   Princeton                   22.65           22.30P        28
    3   Scott, Samantha                       SO   Brown                       22.80           22.81         27
    4   Bradley, Christina                    JR   Princeton                   23.02           23.02         26
    5   Wortzman, Zoe                         JR   Dartmouth                   23.05           23.03         25
    6   Pilkinton, Ophelia                    SO   Yale                        23.06           23.05         24
    7   Brenner, Mandy                        FR   Harvard                     22.90           23.08         23
    8   Liu, Amelia                           JR   Princeton                   23.12           23.30         22
  B -   Final
    9   Wagner, Lindsey                       SO   Yale                        23.14           23.12         20
   10   Post, Ashley                          JR   Dartmouth                   23.25           23.22         17
   11   Parker, Melissa                       JR   Cornell                     23.30           23.30         16
   12   Arevalo, Isabelle                     JR   Columbia                    23.44           23.35         15
   13   Macdonald, Emily                      FR   Columbia                    23.43           23.39         14
   14   Secrest, Jennifer                     JR   Princeton                   23.26           23.42         13
   15   Kaczorowski, Margot                   JR   Penn                        23.50           23.44         12
   16   Carter, Camryn                        JR   Penn                        23.51           23.46         11
  C -   Final
   17   Willhite, Kellie                      SO   Brown                       23.54           23.38          9
   18   Healy, Marissa                        SO   Yale                        23.59           23.42          7
   19   Wongso, Priscilla                     SO   Cornell                     23.60           23.57          6
   20   Buckley, Marykate                     JR   Yale                        23.78           23.69          5
   21   Young, Georgia                        SO   Columbia                    23.77           23.79          4
   22   Myers, Andie                          SR   Penn                        23.68           23.85          3
   23   Wang, Emily                           SR   Columbia                    23.74           23.88          2
   24   Gruvberger, Anna                      SO   Cornell                     23.80           23.94          1

  Event 5 Women 50 Yard Freestyle
  ===============================================================================
   Meet Record: M 21.83        2019 Bella Hindley (Yale)
   Pool Record: P 22.34        2018 Bella Hindley (Yale)
    NCAA A Std: A 21.66
    NCAA B Std: B 22.76
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Henig, Iszac              JR Yale                   22.05      22.17P
    2 Venema, Nikki             JR Princeton              22.59      22.65B
    3 Scott, Samantha           SO Brown                  23.13      22.80
    4 Brenner, Mandy            FR Harvard                22.91      22.90
    5 Bradley, Christina        JR Princeton              22.81      23.02
    6 Wortzman, Zoe             JR Dartmouth              23.82      23.05
    7 Pilkinton, Ophelia        SO Yale                   23.06      23.06
    8 Liu, Amelia               JR Princeton              23.06      23.12
  -------------------------------------------------------------------------
    9 Wagner, Lindsey           SO Yale                   23.39      23.14
   10 Post, Ashley              JR Dartmouth              23.72      23.25
   11 Secrest, Jennifer         JR Princeton              23.61      23.26
   12 Parker, Melissa           JR Cornell                23.15      23.30
   13 Macdonald, Emily          FR Columbia               23.38      23.43
   14 Arevalo, Isabelle         JR Columbia               23.21      23.44
   15 Kaczorowski, Margot       JR Penn                   23.44      23.50
   16 Carter, Camryn            JR Penn                   23.84      23.51
  -------------------------------------------------------------------------
   17 Willhite, Kellie          SO Brown                  23.51      23.54
   18 Healy, Marissa            SO Yale                   23.33      23.59
   19 Wongso, Priscilla         SO Cornell                23.39      23.60
   20 Myers, Andie              SR Penn                   24.31      23.68
   21 Wang, Emily               SR Columbia               23.57      23.74
   22 Young, Georgia            SO Columbia               23.84      23.77
   23 Buckley, Marykate         JR Yale                   25.14      23.78
   24 Gruvberger, Anna          SO Cornell                23.69      23.80
  -------------------------------------------------------------------------
   25 Bullock, Addie Rose       SO Harvard                23.41      23.86
   26 Matsushima, Sage          JR Brown                  24.27      23.87
  -------------------------------------------------------------------------
www.meetresults.com/2022/ivies/results.html                                                                                        5/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html   Armistead App. 0093
   27   Moesch, Marlise                       SR   Yale                        24.56          24.05
   28   Zhang, Tori                           FR   Cornell                     24.19          24.09
   29   Tsai, Sophia                          FR   Cornell                     23.93          24.18
   30   Zhang, Connie                         JR   Dartmouth                   25.03          24.39
   31   Syrkin, Alex                          FR   Cornell                     24.65          24.50
   32   Wong, Anthea                          FR   Columbia                    24.00          24.53
   33   Zwart, Eleanor                        JR   Dartmouth                   24.92          24.63
   34   Zhang, Rachel                         FR   Dartmouth                   24.80          24.74
   35   Van Steyn, Kenna                      SR   Dartmouth                   27.17          25.18
   36   Kramer, Katherine                     FR   Dartmouth                   25.70          25.95
   37   Hamlen, Izzy                          FR   Dartmouth                   25.89          26.00
   --   xLe, Tina                             JR   Columbia                    23.77         X24.20
   --   xOhr, Joelle                          SO   Cornell                     24.25         X24.37

  Event 6 Women 1 mtr Diving
  ===============================================================================
   Meet Record: M 314.20        2016 Mikaela Thompson (Harvard)
   Pool Record: P 324.15        1987 Jenny Greene (Harvard)
    NCAA A Std: A 265.00
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Laverty, Katie            FR Harvard               246.55     288.15A 32
    2 Herculano, Morgane        SR Harvard               272.95     282.95A 28
    3 Lawrence, Esther          SR Harvard               269.15     274.55A 27
    4 Edvalson, Remi            FR Harvard               257.45     268.45A 26
    5 Francella, Olivia         JR Penn                  247.05     254.45   25
    6 Geier, Evie               JR Harvard               259.40     249.45   23.5
    6 Diakova, Alice            SO Columbia              245.95     249.45   23.5
    8 Seltzer, Maddie           FR Princeton             252.15     242.75   22
  B - Final
    9 Henderson, Hayden         FR Yale                  243.80     266.85A 20
   10 Lichen, Isabella          JR Dartmouth             244.95     261.85   17
   11 Jendritz, Elise           JR Cornell               245.10     261.55   16
   12 Wotovich, Amy             FR Harvard               239.45     252.00   15
   13 Mitchell, Liv             SR Brown                 239.40     249.95   14
   14 Williams, Demetra         SR Cornell               242.60     245.40   13
   15 Milne, Georgi             SR Harvard               240.55     242.95   12
   16 Rosendalh, Brighida       SR Columbia              240.40     239.70   11

  Event 6 Women 1 mtr Diving
  ===============================================================================
   Meet Record: M 314.20        2016 Mikaela Thompson (Harvard)
   Pool Record: P 324.15        1987 Jenny Greene (Harvard)
    NCAA A Std: A 265.00
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Herculano, Morgane        SR Harvard               291.80     272.95A
    2 Lawrence, Esther          SR Harvard               284.48     269.15A
    3 Geier, Evie               JR Harvard               281.63     259.40
    4 Edvalson, Remi            FR Harvard               286.43     257.45
    5 Seltzer, Maddie           FR Princeton             279.80     252.15
    6 Francella, Olivia         JR Penn                  264.60     247.05
    7 Laverty, Katie            FR Harvard               285.98     246.55
    8 Diakova, Alice            SO Columbia              294.68     245.95
    9 Jendritz, Elise           JR Cornell               289.35     245.10
   10 Lichen, Isabella          JR Dartmouth             292.10     244.95
   11 Henderson, Hayden         FR Yale                  291.50     243.80
   12 Williams, Demetra         SR Cornell               286.58     242.60
   13 Milne, Georgi             SR Harvard               266.00     240.55
   14 Rosendalh, Brighida       SR Columbia              268.43     240.40
   15 Wotovich, Amy             FR Harvard               298.05     239.45
   16 Mitchell, Liv             SR Brown                 285.08     239.40
   17 Feord, Julia              JR Brown                 277.80     236.20
www.meetresults.com/2022/ivies/results.html                                                                                   6/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html   Armistead App. 0094
   18   Lee, Michelle                         SR   Columbia                   274.73         234.80
   19   Miclau, Elizabeth                     SO   Harvard                    273.98         229.55
   20   Johnsson-Stjernstrom, Ha              SO   Princeton                  251.35         224.80
   21   Palacios, Alyssa                      FR   Dartmouth                  288.45         219.40
   22   Thibodeau, Genevieve                  FR   Yale                       266.85         218.10
   23   Chin, Audrey                          SO   Harvard                    240.00         216.95
   24   Brinker, Alexa                        FR   Brown                      267.15         206.25
   25   Singh, Ishani                         SO   Yale                       241.70         202.30
   26   Shao, Stephanie                       FR   Yale                       306.75         198.95
   27   Parker, Madeleine                     FR   Penn                       234.38         197.40
   28   Ennis, Maya                           FR   Yale                       269.25         190.15
   29   Stein, Samantha                       SO   Penn                       216.52         163.35
   30   Jin, Laurel                           FR   Yale                       272.33         149.85

  Event 7 Women 200 Yard Freestyle Relay
  ===============================================================================
   Meet Record: M 1:29.69         2017 Yale
                            B. Hindley, K. Rogers, M. Zimmerman, K. Zhou
   Pool Record: P 1:30.50         2018 Harvard
                            M. Colby, I. Wall, J. Li, M. Dahlke
    NCAA A Std: A 1:28.43
    NCAA B Std: B 1:29.21
      School                                                  Seed   Finals Points
  ===============================================================================
    1 Yale University                                     1:30.14   1:29.66M 64
       1) Henig, Iszac JR                   2) Wagner, Lindsey SO
       3) Pilkinton, Ophelia SO             4) Healy, Marissa SO
    2 Princeton University                                1:31.22   1:30.38P 56
       1) Bradley, Christina JR             2) Liu, Amelia JR
       3) Venema, Nikki JR                  4) Secrest, Jennifer JR
    3 Harvard University                                  1:32.48   1:31.90   54
       1) Brenner, Mandy FR                 2) Shelton, Samantha JR
       3) Bullock, Addie Rose SO            4) Hamlin, Molly FR
    4 University of Pennsylvania                          1:33.67   1:32.45   52
       1) Kaczorowski, Margot JR            2) Thomas, Lia SR
       3) Kannan, Hannah SR                 4) Carter, Camryn JR
    5 Brown University                                    1:33.70   1:32.75   50
       1) Scott, Samantha SO                2) Reznicek, Jenna FR
       3) Willhite, Kellie SO               4) Matsushima, Sage JR
    6 Columbia University                                 1:33.69   1:32.97   48
       1) Wang, Emily SR                    2) Macdonald, Emily FR
       3) Young, Georgia SO                 4) Arevalo, Isabelle JR
    7 Dartmouth College                                   1:36.75   1:33.08   46
       1) Wortzman, Zoe JR                  2) Post, Ashley JR
       3) Wiener, Sophie FR                 4) Leko, Mia JR
    8 Cornell University                                  1:33.64   1:33.86   44
       1) Wongso, Priscilla SO              2) Zhang, Tori FR
       3) Gruvberger, Anna SO               4) Parker, Melissa JR

  Event 8 Women 1000 Yard Freestyle
  ===============================================================================
   Meet Record: M 9:33.43        2008 Alicia Aemisegger (Princeton)
   Pool Record: P 9:28.49        2007 Kate Ziegler (Fish)
      Name                    Year School                  Seed      Finals Points
  ===============================================================================
    1 Buroker, Catherine        SO Penn                 9:56.25     9:43.54   32
    2 Kalandadze, Anna Sofia    JR Penn                 9:48.15     9:50.05   28
    3 Ganihanova, Aziza         SO Columbia            10:04.73     9:53.92   27
    4 Giddings, Grace           SR Penn                 9:58.45     9:57.15   26
    5 Loomis, Ashley            SR Yale                 9:58.46     9:57.92   25
    6 Barrett, Sara             FR Brown               10:01.75     9:58.96   24
    7 Rose, Carlie              FR Harvard             10:14.20     9:59.40   23
    8 Girotto, Amelia           FR Penn                10:06.22   10:02.02    22
    9 Ruppert-Gomez, Marcella   JR Harvard             10:11.87   10:02.70    20
   10 Valdman, Nathalie         SO Princeton           10:04.03   10:07.62    17
www.meetresults.com/2022/ivies/results.html                                                                                   7/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html        Armistead App. 0095
   11   Minnigh, Sarah                        JR   Dartmouth               10:39.27        10:08.65          16
   12   Yoon, Grace                           FR   Harvard                 10:23.13        10:10.22          15
   13   Paoletti, Isabella                    FR   Yale                    10:12.35        10:12.51          14
   14   Cianciolo, Christina                  SO   Dartmouth               10:43.39        10:14.50          13
   15   Danko, Allie                          FR   Cornell                 10:16.26        10:15.13          12
   16   Antoniuk, Bella                       FR   Brown                   10:13.97        10:18.05          11
   17   Mannion, Macey                        SO   Princeton               10:22.26        10:19.39           9
   18   Takabayashi, Miku                     SR   Brown                   10:36.64        10:19.97           7
   19   Jiang, Joy                            FR   Penn                          NT        10:20.06           6
   20   Maizes, Deedee                        SR   Cornell                 10:41.76        10:33.72           5
   21   Barry, Hayden                         FR   Dartmouth               10:56.19        10:41.50           4

  Event 9 Women 400 Yard IM
  ===============================================================================
   Meet Record: M 4:06.15        2009 Alicia Aemisegger (Princeton)
   Pool Record: P 4:04.63        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 4:03.62
    NCAA B Std: B 4:17.30
      Name                    Year School               Prelims      Finals Points
  ===============================================================================
  A - Final
    1 Pasadyn, Felicia          SR Harvard              4:13.45     4:10.45B 32
    2 Thompson, Mikki           SR Harvard              4:13.86     4:14.14B 28
    3 Pruden, Mary              SR Columbia             4:17.22     4:15.00B 27
    4 Marquardt, Ellie          SO Princeton            4:17.60     4:16.15B 26
    5 Cavanagh, Erin            FR Harvard              4:17.17     4:16.24B 25
    6 Yeager, Jess              SO Princeton            4:16.99     4:17.94   24
    7 Paoletti, Olivia          JR Yale                 4:18.70     4:18.48   23
    8 Paoletti, Isabella        FR Yale                 4:18.85     4:25.46   22
  B - Final
    9 Hazlett, Kate             SO Harvard              4:18.88     4:16.05B 20
   10 Whitmire, Liza            SO Princeton            4:21.91     4:18.19   17
   11 Appleton, Emily           FR Princeton            4:20.30     4:18.27   16
   12 Kim, Junseo               FR Yale                 4:20.80     4:18.82   15
   13 Yoon, Grace               FR Harvard              4:19.01     4:18.91   14
   14 Boeckman, Anna            FR Penn                 4:20.63     4:20.00   13
   15 Buckley, Maggie           FR Harvard              4:21.72     4:22.17   12
   16 Boyer, Liz                JR Harvard              4:22.72     4:23.78   11
  C - Final
   17 Clements, Emily           SO Brown                4:23.22     4:19.20    9
   18 Brault, Ellie             FR Brown                4:24.44     4:20.44    7
   19 Whall, Emma               SR Brown                4:27.84     4:22.53    6
   20 Sutter, Olivia            SO Cornell              4:23.28     4:22.75    5
   21 Williams, Marie           SO Cornell              4:31.17     4:26.58    4
   22 Unas, Julia               FR Columbia             4:34.02     4:30.43    3
   23 Ruppert-Gomez, Marcella   JR Harvard              4:28.71     4:34.33    2
   24 Parker, Bridget           SO Dartmouth            4:37.68     4:40.15    1

  Event 9 Women 400 Yard IM
  ===============================================================================
   Meet Record: M 4:06.15        2009 Alicia Aemisegger (Princeton)
   Pool Record: P 4:04.63        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 4:03.62
    NCAA B Std: B 4:17.30
      Name                    Year School                  Seed     Prelims
  ===============================================================================
  Preliminaries
    1 Pasadyn, Felicia          SR Harvard              4:13.82     4:13.45B
    2 Thompson, Mikki           SR Harvard              4:25.40     4:13.86B
    3 Yeager, Jess              SO Princeton                 NT     4:16.99B
    4 Cavanagh, Erin            FR Harvard              4:13.69     4:17.17B
    5 Pruden, Mary              SR Columbia             4:18.92     4:17.22B
    6 Marquardt, Ellie          SO Princeton            4:13.99     4:17.60
    7 Paoletti, Olivia          JR Yale                 4:18.97     4:18.70
    8 Paoletti, Isabella        FR Yale                 4:25.22     4:18.85
www.meetresults.com/2022/ivies/results.html                                                                                        8/21
4/20/22, 12:08 PM                             www.meetresults.com/2022/ivies/results.html   Armistead App. 0096
  -------------------------------------------------------------------------
    9 Hazlett, Kate             SO Harvard              4:17.49    4:18.88
   10 Yoon, Grace               FR Harvard                   NT    4:19.01
   11 Appleton, Emily           FR Princeton            4:18.41    4:20.30
   12 Boeckman, Anna            FR Penn                 4:25.02    4:20.63
   13 Kim, Junseo               FR Yale                 4:25.08    4:20.80
   14 Buckley, Maggie           FR Harvard              4:22.18    4:21.72
   15 Whitmire, Liza            SO Princeton            4:19.77    4:21.91
   16 Boyer, Liz                JR Harvard              4:23.09    4:22.72
  -------------------------------------------------------------------------
   17 Clements, Emily           SO Brown                4:27.06    4:23.22
   18 Sutter, Olivia            SO Cornell              4:26.60    4:23.28
   19 Brault, Ellie             FR Brown                4:25.15    4:24.44
   20 Whall, Emma               SR Brown                4:33.38    4:27.84
   21 Ruppert-Gomez, Marcella   JR Harvard              4:30.90    4:28.71
   22 Williams, Marie           SO Cornell              4:29.96    4:31.17
   23 Unas, Julia               FR Columbia             4:28.67    4:34.02
   24 Parker, Bridget           SO Dartmouth            4:53.56    4:37.68
  -------------------------------------------------------------------------
   25 Petersen, Amanda          FR Cornell              4:34.69    4:37.93

  Event 10 Women 100 Yard Butterfly
  ===============================================================================
   Meet Record: M 51.57        2013 Alex Forrester (Yale)
   Pool Record: P 51.89        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 50.92
    NCAA B Std: B 53.76
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Venema, Nikki             JR Princeton              53.63      52.42B 32
    2 Carr, Abigail             FR Harvard                53.86      52.69B 28
    3 Henig, Iszac              JR Yale                   53.53      52.82B 27
    4 Massey, Alexandra         FR Yale                   53.73      53.59B 26
    5 Chidley, Nell             JR Brown                  54.56      54.00   25
    6 Reznicek, Jenna           FR Brown                  54.00      54.08   24
    7 Bradley, Christina        JR Princeton              54.39      54.16   23
    8 Matsushima, Sage          JR Brown                  54.63      54.64   22
  B - Final
    9 Pilkinton, Ophelia        SO Yale                   54.83      54.33   20
   10 Myers, Andie              SR Penn                   54.84      54.56   17
   11 Kannan, Hannah            SR Penn                   54.76      54.74   15.5
   11 Chong, Vanessa            FR Penn                   54.79      54.74   15.5
   13 Murphy, Quinn             FR Yale                   55.15      54.87   14
   14 Secrest, Jennifer         JR Princeton              55.06      54.94   13
   15 Bilgin, Zehra             FR Brown                  54.83      54.97   12
   16 Wang, Emily               SR Columbia               55.01      55.26   11
  C - Final
   17 Brenner, Mandy            FR Harvard                55.42      54.48    9
   18 Martin, Allison           FR Columbia               55.25      55.05    7
   19 Baldari, Alessandra       SR Yale                   55.19      55.24    6
   20 Peng, Jessica             JR Columbia               55.36      55.25    5
   21 Howley, Mary              FR Dartmouth              55.57      55.42    4
   22 Chen, Jaime               FR Princeton              55.57      55.43    3
   23 Pappas, Alexa             FR Princeton              55.44      56.02    2
   24 Gruvberger, Anna          SO Cornell                55.65      56.50    1

  Event 10 Women 100 Yard Butterfly
  ===============================================================================
   Meet Record: M 51.57        2013 Alex Forrester (Yale)
   Pool Record: P 51.89        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 50.92
    NCAA B Std: B 53.76
      Name                    Year School                  Seed    Prelims
  ===============================================================================
www.meetresults.com/2022/ivies/results.html                                                                  9/21
4/20/22, 12:08 PM                             www.meetresults.com/2022/ivies/results.html   Armistead App. 0097
  Preliminaries
    1 Henig, Iszac              JR Yale                      NT      53.53B
    2 Venema, Nikki             JR Princeton              52.64      53.63B
    3 Massey, Alexandra         FR Yale                   54.41      53.73B
    4 Carr, Abigail             FR Harvard                53.00      53.86
    5 Reznicek, Jenna           FR Brown                  54.05      54.00
    6 Bradley, Christina        JR Princeton              53.41      54.39
    7 Chidley, Nell             JR Brown                  54.65      54.56
    8 Matsushima, Sage          JR Brown                  55.13      54.63
  -------------------------------------------------------------------------
    9 Kannan, Hannah            SR Penn                   55.22      54.76
   10 Chong, Vanessa            FR Penn                   54.67      54.79
   11 Bilgin, Zehra             FR Brown                  55.38      54.83
   11 Pilkinton, Ophelia        SO Yale                      NT      54.83
   13 Myers, Andie              SR Penn                   55.62      54.84
   14 Wang, Emily               SR Columbia               54.62      55.01
   15 Secrest, Jennifer         JR Princeton              54.99      55.06
   16 Murphy, Quinn             FR Yale                   56.16      55.15
  -------------------------------------------------------------------------
   17 Baldari, Alessandra       SR Yale                   55.06      55.19
   18 Martin, Allison           FR Columbia               55.70      55.25
   19 Peng, Jessica             JR Columbia               55.06      55.36
   20 Brenner, Mandy            FR Harvard                55.83      55.42
   21 Pappas, Alexa             FR Princeton              54.81      55.44
   22 Chen, Jaime               FR Princeton              55.20      55.57
   22 Howley, Mary              FR Dartmouth              57.37      55.57
   24 Gruvberger, Anna          SO Cornell                55.81      55.65
  -------------------------------------------------------------------------
   25 Healy, Marissa            SO Yale                   54.95      55.69
   26 Wong, Anthea              FR Columbia               55.62      55.77
  -------------------------------------------------------------------------
   27 Waterson, Rebecca         FR Brown                  56.46      56.23
   28 Macdonald, Emily          FR Columbia               56.44      56.50
   29 Hailu, Hannah             FR Columbia               56.50      56.64
   30 Wortzman, Zoe             JR Dartmouth                 NT      57.46
   31 Zhang, Tori               FR Cornell                56.82      57.76
   -- xRippon, Caylene          SR Brown                  56.73     X56.40
   -- xNewnam, Anna             SR Penn                   56.69     X56.94

  Event 11 Women 200 Yard Freestyle
  ===============================================================================
   Meet Record: M 1:43.78        2020 Miki Dahlke (Harvard)
   Pool Record: P 1:45.00        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 1:42.98
    NCAA B Std: B 1:47.12
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Thomas, Lia               SR Penn                 1:44.91    1:43.12M 32
    2 Shelton, Samantha         JR Harvard              1:47.42    1:45.82B 28
    3 Hamlin, Molly             FR Harvard              1:46.66    1:47.33   27
    4 Post, Ashley              JR Dartmouth            1:48.09    1:47.48   26
    5 Moesch, Marlise           SR Yale                 1:48.25    1:48.09   25
    6 O'Leary, Bridget          JR Penn                 1:48.79    1:48.29   24
    7 Kaczorowski, Margot       JR Penn                 1:48.48    1:48.73   23
    8 Leko, Mia                 JR Dartmouth            1:47.96    1:49.29   22
  B - Final
    9 Jones, Raime              JR Yale                 1:48.89    1:48.17   20
   10 Weng, Vivian              FR Yale                 1:49.56    1:48.48   17
   11 Podurgiel, Anna           FR Brown                1:48.94    1:49.17   16
   12 Parker, Melissa           JR Cornell              1:50.45    1:50.01   15
   13 Breiter, Callie           SO Columbia             1:50.56    1:50.18   14
   14 Liu, Amelia               JR Princeton            1:51.63    1:50.19   13
   15 Carter, Camryn            JR Penn                 1:49.93    1:50.27   12
   16 Jubin, Olivia             JR Columbia             1:51.34    1:50.30   11
www.meetresults.com/2022/ivies/results.html                                                                  10/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html       Armistead App. 0098
  C -   Final
   17   Orange, Audrey                        JR   Brown                    1:51.64         1:51.80          9
   18   Valdman, Nathalie                     SO   Princeton                1:52.62         1:52.14          7
   19   Wiener, Sophie                        FR   Dartmouth                1:52.17         1:52.36          6
   20   Syrkin, Alex                          FR   Cornell                  1:52.28         1:52.43          5
   21   Iorini, Maria                         SO   Brown                    1:54.09         1:52.56          4
   22   DuPont, Schuyler                      FR   Cornell                  1:52.94         1:52.60          3
   23   Young, Georgia                        SO   Columbia                 1:53.54         1:53.03          2
   24   Larsen, Clare                         SR   Columbia                 1:52.88         1:53.32          1

  Event 11 Women 200 Yard Freestyle
  ===============================================================================
   Meet Record: M 1:43.78        2020 Miki Dahlke (Harvard)
   Pool Record: P 1:45.00        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 1:42.98
    NCAA B Std: B 1:47.12
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Thomas, Lia               SR Penn                 1:41.93    1:44.91P
    2 Hamlin, Molly             FR Harvard              1:49.44    1:46.66B
    3 Shelton, Samantha         JR Harvard              1:50.63    1:47.42
    4 Leko, Mia                 JR Dartmouth            1:50.64    1:47.96
    5 Post, Ashley              JR Dartmouth            1:52.39    1:48.09
    6 Moesch, Marlise           SR Yale                 1:48.65    1:48.25
    7 Kaczorowski, Margot       JR Penn                 1:55.27    1:48.48
    8 O'Leary, Bridget          JR Penn                 1:49.56    1:48.79
  -------------------------------------------------------------------------
    9 Jones, Raime              JR Yale                 1:49.51    1:48.89
   10 Podurgiel, Anna           FR Brown                1:49.88    1:48.94
   11 Weng, Vivian              FR Yale                 1:50.06    1:49.56
   12 Carter, Camryn            JR Penn                 1:54.78    1:49.93
   13 Parker, Melissa           JR Cornell              1:49.61    1:50.45
   14 Breiter, Callie           SO Columbia             1:50.17    1:50.56
   15 Jubin, Olivia             JR Columbia             1:49.42    1:51.34
   16 Liu, Amelia               JR Princeton            1:50.03    1:51.63
  -------------------------------------------------------------------------
   17 Orange, Audrey            JR Brown                1:51.69    1:51.64
   18 Wiener, Sophie            FR Dartmouth            1:54.59    1:52.17
   19 Syrkin, Alex              FR Cornell              1:51.40    1:52.28
   20 Valdman, Nathalie         SO Princeton            1:49.84    1:52.62
   21 Larsen, Clare             SR Columbia             1:52.12    1:52.88
   22 DuPont, Schuyler          FR Cornell              1:53.03    1:52.94
   23 Young, Georgia            SO Columbia             1:52.34    1:53.54
   24 Iorini, Maria             SO Brown                1:52.75    1:54.09
  -------------------------------------------------------------------------
   25 Durak, Anna               SR Princeton            1:54.60    1:54.31
   26 Arevalo, Isabelle         JR Columbia             1:52.73    1:54.53
  -------------------------------------------------------------------------
   27 Scott, Samantha           SO Brown                1:58.52    1:55.56
   28 Sih, Angelica             SO Cornell              1:53.67    1:55.99
   29 Maizes, Deedee            SR Cornell              1:54.84    1:57.23
   -- xLe, Tina                 JR Columbia             1:53.14   X1:52.41

  Event 12 Women 100 Yard Breaststroke
  ===============================================================================
   Meet Record: M   58.44        2013 Katie Meili (Columbia)
   Pool Record: P   59.64        2012 Katie Meili (Columbia)
    NCAA A Std: A   58.46
    NCAA B Std: B 1:01.84
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Denisenko, Aleksandra     FR Harvard              1:01.57    1:00.96B 32
    2 Buckley, Marykate         JR Yale                 1:02.48    1:01.69B 28
www.meetresults.com/2022/ivies/results.html                                                                                       11/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html        Armistead App. 0099
    3   Franks, Ava                           FR   Yale                     1:02.32         1:01.96          27
    4   McDonald, Margaux                     SO   Princeton                1:02.21         1:02.48          26
    5   Maizes, Rachel                        SR   Penn                     1:02.50         1:02.76          25
    6   Pytel, Isabella                       FR   Penn                     1:02.77         1:02.88          24
    7   Estabrook, Grace                      SR   Penn                     1:02.46         1:03.07          23
    8   Willhite, Kellie                      SO   Brown                    1:02.88         1:03.20          22
  B -   Final
    9   Lukawski, Audrey                      SR   Brown                    1:03.27         1:02.76          20
   10   Brault, Ellie                         FR   Brown                    1:04.23         1:03.05          17
   11   Hu, Ashley                            FR   Columbia                 1:03.60         1:03.30          16
   12   Boyer, Liz                            JR   Harvard                  1:03.66         1:03.47          15
   13   Liu, Hannah                           FR   Penn                     1:03.45         1:03.57          14
   14   Walker, Allegra                       SO   Columbia                 1:03.42         1:04.15          13
   15   Wang, Vivian                          SR   Princeton                1:03.53         1:04.23          12
   16   Wu, Amy                               SO   Cornell                  1:05.07         1:04.76          11
  C -   Final
   17   Tsai, Sophia                          FR   Cornell                  1:05.20         1:04.44           9
   18   Chang, Allison                        SR   Cornell                  1:06.04         1:05.11           7
   19   Van Steyn, Kenna                      SR   Dartmouth                1:05.17         1:05.65           6
   20   Zhang, Rachel                         FR   Dartmouth                1:07.44         1:07.66           5

  Event 12 Women 100 Yard Breaststroke
  ===============================================================================
   Meet Record: M    58.44       2013 Katie Meili (Columbia)
   Pool Record: P    59.64       2012 Katie Meili (Columbia)
    NCAA A Std: A    58.46
    NCAA B Std: B 1:01.84
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Denisenko, Aleksandra     FR Harvard              1:02.54    1:01.57B
    2 McDonald, Margaux         SO Princeton            1:02.46    1:02.21
    3 Franks, Ava               FR Yale                 1:01.47    1:02.32
    4 Estabrook, Grace          SR Penn                 1:02.96    1:02.46
    5 Buckley, Marykate         JR Yale                 1:01.82    1:02.48
    6 Maizes, Rachel            SR Penn                 1:03.79    1:02.50
    7 Pytel, Isabella           FR Penn                 1:02.66    1:02.77
    8 Willhite, Kellie          SO Brown                1:03.29    1:02.88
  -------------------------------------------------------------------------
    9 Lukawski, Audrey          SR Brown                1:03.58    1:03.27
   10 Walker, Allegra           SO Columbia             1:02.76    1:03.42
   11 Liu, Hannah               FR Penn                 1:02.17    1:03.45
   12 Wang, Vivian              SR Princeton            1:02.17    1:03.53
   13 Hu, Ashley                FR Columbia             1:03.18    1:03.60
   14 Boyer, Liz                JR Harvard              1:03.48    1:03.66
   15 Brault, Ellie             FR Brown                1:03.39    1:04.23
   16 Wu, Amy                   SO Cornell              1:06.38    1:05.07
  -------------------------------------------------------------------------
   17 Van Steyn, Kenna          SR Dartmouth            1:07.61    1:05.17
   18 Tsai, Sophia              FR Cornell              1:05.99    1:05.20
   19 Chang, Allison            SR Cornell              1:05.13    1:06.04
   20 Zhang, Rachel             FR Dartmouth            1:08.08    1:07.44
   -- xRippon, Caylene          SR Brown                     NT   X1:06.14
   -- xOhr, Joelle              SO Cornell              1:09.19   X1:09.36

  Event 13 Women 100 Yard Backstroke
  ===============================================================================
   Meet Record: M 52.34        2019 Bella Hindley (Yale)
   Pool Record: P 52.45        2018 Heidi Vanderwel (Yale)
    NCAA A Std: A 50.93
    NCAA B Std: B 53.94
      Name                    Year School                Prelims    Finals Points
  ===============================================================================
  A - Final
    1 Reznicek, Jenna           FR Brown                   52.43     52.94B 32
www.meetresults.com/2022/ivies/results.html                                                                                        12/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html          Armistead App. 0100
    2   Korbly, Isabella                      FR   Princeton                   53.85           53.88B        28
    3   Wagner, Lindsey                       SO   Yale                        54.66           54.36         27
    4   Hamlin, Molly                         FR   Harvard                     54.25           54.38         26
    5   Kannan, Hannah                        SR   Penn                        53.76           54.42         25
    6   Murphy, Quinn                         FR   Yale                        54.72           54.54         24
    7   Pappas, Alexa                         FR   Princeton                   55.04           55.23         23
    8   Bullock, Addie Rose                   SO   Harvard                     55.20           55.30         22
  B -   Final
    9   Carr, Abigail                         FR   Harvard                     55.42           54.20         20
   10   Matsushima, Sage                      JR   Brown                       55.66           55.60         17
   11   Pruden, Mary                          SR   Columbia                    55.47           55.62         16
   12   Howley, Mary                          FR   Dartmouth                   56.28           55.76         15
   13   Clements, Emily                       SO   Brown                       56.40           56.01         13.5
   13   Waterson, Rebecca                     FR   Brown                       56.22           56.01         13.5
   15   Munoz, Aviva                          JR   Cornell                     56.02           56.45         12
   16   Caverly, Gillian                      SR   Cornell                     56.58           56.92         11
  C -   Final
   17   Laster, Susannah                      JR   Dartmouth                   57.42           56.31          9
   18   Pujadas, Riley                        FR   Columbia                    56.68           56.47          7
   19   Hamlen, Izzy                          FR   Dartmouth                   56.92           56.76          6
   20   Hailu, Hannah                         FR   Columbia                    57.07           57.05          5
   21   Zhang, Connie                         JR   Dartmouth                   57.60           57.50          4
   22   Sih, Angelica                         SO   Cornell                     57.99           58.07          3
   23   Zwart, Eleanor                        JR   Dartmouth                   57.77           58.15          2
   24   Kramer, Katherine                     FR   Dartmouth                   59.36           58.67          1

  Event 13 Women 100 Yard Backstroke
  ===============================================================================
   Meet Record: M 52.34        2019 Bella Hindley (Yale)
   Pool Record: P 52.45        2018 Heidi Vanderwel (Yale)
    NCAA A Std: A 50.93
    NCAA B Std: B 53.94
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Reznicek, Jenna           FR Brown                   52.94     52.43P
    2 Kannan, Hannah            SR Penn                    54.71     53.76B
    3 Korbly, Isabella          FR Princeton               55.45     53.85B
    4 Hamlin, Molly             FR Harvard                 54.43     54.25
    5 Wagner, Lindsey           SO Yale                    53.58     54.66
    6 Murphy, Quinn             FR Yale                    54.64     54.72
    7 Pappas, Alexa             FR Princeton               54.39     55.04
    8 Bullock, Addie Rose       SO Harvard                 55.35     55.20
  -------------------------------------------------------------------------
    9 Carr, Abigail             FR Harvard                 54.65     55.42
   10 Pruden, Mary              SR Columbia                55.68     55.47
   11 Matsushima, Sage          JR Brown                   56.67     55.66
   12 Munoz, Aviva              JR Cornell                 56.73     56.02
   13 Waterson, Rebecca         FR Brown                   56.34     56.22
   14 Howley, Mary              FR Dartmouth               57.52     56.28
   15 Clements, Emily           SO Brown                   56.48     56.40
   16 Caverly, Gillian          SR Cornell                 56.90     56.58
  -------------------------------------------------------------------------
   17 Pujadas, Riley            FR Columbia                56.62     56.68
   18 Hamlen, Izzy              FR Dartmouth               59.52     56.92
   19 Hailu, Hannah             FR Columbia                57.30     57.07
   20 Laster, Susannah          JR Dartmouth               59.81     57.42
   21 Zhang, Connie             JR Dartmouth               59.25     57.60
   22 Zwart, Eleanor            JR Dartmouth               59.22     57.77
   23 Sih, Angelica             SO Cornell                 57.09     57.99
   24 Kramer, Katherine         FR Dartmouth             1:00.41     59.36
  -------------------------------------------------------------------------
   25 Moon, Zoe                 FR Dartmouth             1:00.77     59.83
   -- xMoore, Sophia            FR Yale                    56.13    X56.08
   -- xNewnam, Anna             SR Penn                       NT    X59.62
www.meetresults.com/2022/ivies/results.html                                                                                          13/21
4/20/22, 12:08 PM                              www.meetresults.com/2022/ivies/results.html   Armistead App. 0101
  Event 14 Women 400 Yard Medley Relay
  ===============================================================================
   Meet Record: M 3:32.72         2020 Harvard
                            F. Pasadyn, J. Yegher, M. Dahlke, K. Quist
   Pool Record: P 3:34.22         2018 Yale
                            H. Vanderwel, C. O'Leary, M. Zimmerman, B. Hindley
    NCAA A Std: A 3:31.66
    NCAA B Std: B 3:33.78
      School                                                  Seed    Finals Points
  ===============================================================================
    1 Yale University                                     3:37.49    3:36.10   64
       1) Wagner, Lindsey SO                2) Buckley, Marykate JR
       3) Massey, Alexandra FR              4) Henig, Iszac JR
    2 Princeton University                                3:39.60    3:38.63   56
       1) Korbly, Isabella FR               2) McDonald, Margaux SO
       3) Venema, Nikki JR                  4) Bradley, Christina JR
    3 Brown University                                    3:43.62    3:41.72   54
       1) Reznicek, Jenna FR                2) Lukawski, Audrey SR
       3) Chidley, Nell JR                  4) Scott, Samantha SO
    4 University of Pennsylvania                          3:40.97    3:41.87   52
       1) Kannan, Hannah SR                 2) Estabrook, Grace SR
       3) Chong, Vanessa FR                 4) Thomas, Lia SR
    5 Columbia University                                 3:46.55    3:44.25   50
       1) Ganihanova, Aziza SO              2) Walker, Allegra SO
       3) Wang, Emily SR                    4) Macdonald, Emily FR
    6 Dartmouth College                                   3:51.77    3:45.35   48
       1) Howley, Mary FR                   2) Van Steyn, Kenna SR
       3) Leko, Mia JR                      4) Post, Ashley JR
    7 Cornell University                                  3:50.79    3:48.25   46
       1) Munoz, Aviva JR                   2) Wu, Amy SO
       3) Gruvberger, Anna SO               4) Wongso, Priscilla SO
   -- Harvard University                                  3:40.88 DQ 3:35.82
        Early take-off swimmer #3
       1) Pasadyn, Felicia SR               2) Denisenko, Aleksandra FR
       3) Carr, Abigail FR                  4) Brenner, Mandy FR

  Event 15 Women 1650 Yard Freestyle
  ===============================================================================
   Meet Record: M 15:57.34        2009 Alicia Aemisegger (Princeton)
   Pool Record: P 15:50.23        1981 Kim Linehan (Longhorn)
    NCAA A Std: A 15:52.41
    NCAA B Std: B 16:30.59
      Name                    Year School                  Seed      Finals Points
  ===============================================================================
    1 Buroker, Catherine        SO Penn                16:23.72   16:21.17B 32
    2 Marquardt, Ellie          SO Princeton           16:34.66   16:28.22B 28
    3 Kalandadze, Anna Sofia    JR Penn                16:31.12   16:28.85B 27
    4 Loomis, Ashley            SR Yale                       NT  16:36.57    26
    5 Giddings, Grace           SR Penn                16:44.50   16:37.79    25
    6 Girotto, Amelia           FR Penn                17:11.04   16:41.17    24
    7 Barrett, Sara             FR Brown               16:46.54   16:47.86    23
    8 Minnigh, Sarah            JR Dartmouth           17:40.40   16:48.35    22
    9 Jubin, Olivia             JR Columbia                   NT  16:49.80    20
   10 Appleton, Emily           FR Princeton           16:45.59   16:53.62    17
   11 O'Leary, Bridget          JR Penn                       NT  16:53.92    16
   12 Rose, Carlie              FR Harvard             17:02.13   16:56.05    15
   13 Paoletti, Isabella        FR Yale                       NT  17:00.65    14
   14 Whall, Emma               SR Brown                      NT  17:00.83    13
   15 Orange, Audrey            JR Brown               17:13.49   17:05.76    12
   16 Ruppert-Gomez, Marcella   JR Harvard             16:56.38   17:06.04    11
   17 Cianciolo, Christina      SO Dartmouth                  NT  17:11.28     9
   18 Antoniuk, Bella           FR Brown               17:01.85   17:12.66     7
   19 Danko, Allie              FR Cornell             17:04.31   17:14.64     6
   20 Mannion, Macey            SO Princeton                  NT  17:15.62     5
www.meetresults.com/2022/ivies/results.html                                                                   14/21
4/20/22, 12:08 PM                                            www.meetresults.com/2022/ivies/results.html       Armistead App. 0102
   21 Takabayashi, Miku                       SR Brown                         NT        17:18.05          4
   22 Durak, Anna                             SR Princeton                     NT        17:40.30          3
   23 Barry, Hayden                           FR Dartmouth               18:15.71        17:54.27          2

  Event 16 Women 200 Yard Backstroke
  ===============================================================================
   Meet Record: M 1:52.56        2020 Felicia Pasadyn (Harvard)
   Pool Record: P 1:54.64        2018 Quinn Scannell (Pennsylvania)
    NCAA A Std: A 1:50.50
    NCAA B Std: B 1:57.11
      Name                    Year School               Prelims      Finals Points
  ===============================================================================
  A - Final
    1 Pasadyn, Felicia          SR Harvard              1:55.69     1:53.58P 32
    2 Massey, Alexandra         FR Yale                 1:58.02     1:57.39   28
    3 Murphy, Quinn             FR Yale                 1:58.09     1:57.42   27
    4 Whitmire, Liza            SO Princeton            1:57.08     1:57.44   26
    5 Kannan, Hannah            SR Penn                 1:57.61     1:57.54   25
    6 Korbly, Isabella          FR Princeton            1:57.97     1:57.71   24
    7 Pruden, Mary              SR Columbia             1:58.65     1:59.13   23
    8 Ganihanova, Aziza         SO Columbia             1:58.16     1:59.27   22
  B - Final
    9 Hazlett, Kate             SO Harvard              1:58.96     1:57.26   20
   10 Clements, Emily           SO Brown                1:59.50     1:59.25   17
   11 Jones, Raime              JR Yale                 2:00.59     1:59.61   16
   12 Bullock, Addie Rose       SO Harvard              1:59.47     1:59.87   15
   13 Cavanagh, Erin            FR Harvard              2:01.03     2:00.40   14
   14 Munoz, Aviva              JR Cornell              2:01.03     2:00.43   13
   15 Chidley, Nell             JR Brown                2:00.02     2:00.65   12
   16 Laster, Susannah          JR Dartmouth            2:01.41     2:00.71   11
  C - Final
   17 Waterson, Rebecca         FR Brown                2:02.62     2:01.60    9
   18 Carter, Camryn            JR Penn                 2:01.48     2:01.70    7
   19 Howley, Mary              FR Dartmouth            2:02.17     2:01.77    6
   20 Caverly, Gillian          SR Cornell              2:01.79     2:01.79    5
   21 Pujadas, Riley            FR Columbia             2:01.89     2:01.86    4
   22 Hailu, Hannah             FR Columbia             2:02.88     2:02.49    3
   23 Williams, Marie           SO Cornell              2:01.74     2:02.70    2
   24 Sutter, Olivia            SO Cornell              2:03.55     2:03.19    1

  Event 16 Women 200 Yard Backstroke
  ===============================================================================
   Meet Record: M 1:52.56        2020 Felicia Pasadyn (Harvard)
   Pool Record: P 1:54.64        2018 Quinn Scannell (Pennsylvania)
    NCAA A Std: A 1:50.50
    NCAA B Std: B 1:57.11
      Name                    Year School                  Seed     Prelims
  ===============================================================================
  Preliminaries
    1 Pasadyn, Felicia          SR Harvard              1:54.97     1:55.69B
    2 Whitmire, Liza            SO Princeton            1:58.40     1:57.08B
    3 Kannan, Hannah            SR Penn                 1:59.69     1:57.61
    4 Korbly, Isabella          FR Princeton            1:59.43     1:57.97
    5 Massey, Alexandra         FR Yale                 1:57.32     1:58.02
    6 Murphy, Quinn             FR Yale                 1:58.18     1:58.09
    7 Ganihanova, Aziza         SO Columbia             1:58.23     1:58.16
    8 Pruden, Mary              SR Columbia             1:59.28     1:58.65
  -------------------------------------------------------------------------
    9 Hazlett, Kate             SO Harvard              1:57.75     1:58.96
   10 Bullock, Addie Rose       SO Harvard              2:03.08     1:59.47
   11 Clements, Emily           SO Brown                1:58.89     1:59.50
   12 Chidley, Nell             JR Brown                2:01.77     2:00.02
   13 Jones, Raime              JR Yale                 2:00.71     2:00.59
   14 Cavanagh, Erin            FR Harvard              1:58.23     2:01.03
   14 Munoz, Aviva              JR Cornell              2:02.97     2:01.03
www.meetresults.com/2022/ivies/results.html                                                                                     15/21
4/20/22, 12:08 PM                             www.meetresults.com/2022/ivies/results.html   Armistead App. 0103
   16 Laster, Susannah          JR Dartmouth            2:07.95    2:01.41
  -------------------------------------------------------------------------
   17 Carter, Camryn            JR Penn                 2:02.91    2:01.48
   18 Williams, Marie           SO Cornell              2:01.13    2:01.74
   19 Caverly, Gillian          SR Cornell              2:02.86    2:01.79
   20 Pujadas, Riley            FR Columbia             2:02.66    2:01.89
   21 Howley, Mary              FR Dartmouth            2:05.64    2:02.17
   22 Waterson, Rebecca         FR Brown                2:03.77    2:02.62
   23 Hailu, Hannah             FR Columbia             2:02.60    2:02.88
   24 Sutter, Olivia            SO Cornell              2:04.31    2:03.55
  -------------------------------------------------------------------------
   25 Hamlen, Izzy              FR Dartmouth            2:09.31    2:03.99
   26 DuPont, Schuyler          FR Cornell              2:04.95    2:05.82
  -------------------------------------------------------------------------
   27 Zhang, Connie             JR Dartmouth            2:13.04    2:06.30
   28 Moon, Zoe                 FR Dartmouth            2:09.79    2:06.32
   29 Sih, Angelica             SO Cornell              2:03.48    2:06.54
   30 Kramer, Katherine         FR Dartmouth            2:09.68    2:06.72
   31 Zwart, Eleanor            JR Dartmouth            2:10.17    2:08.09
   -- xMoore, Sophia            FR Yale                 2:02.21   X2:03.48
   -- xHeilbrun, Maddie         SR Harvard              2:05.86   X2:05.15
   -- Reznicek, Jenna           FR Brown                1:58.63 DQ 2:04.77
        False start

  Event 17 Women 100 Yard Freestyle
  ===============================================================================
   Meet Record: M 47.85        2019 Bella Hindley (Yale)
   Pool Record: P 48.64        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 47.18
    NCAA B Std: B 49.51
      Name                    Year School                Prelims    Finals Points
  ===============================================================================
  A - Final
    1 Thomas, Lia               SR Penn                    48.71     47.63M 32
    2 Henig, Iszac              JR Yale                    47.80     47.82M 28
    3 Venema, Nikki             JR Princeton               49.66     48.81B 27
    4 Hamlin, Molly             FR Harvard                 49.52     49.38B 26
    5 Pilkinton, Ophelia        SO Yale                    49.94     49.67   25
    6 Kaczorowski, Margot       JR Penn                    50.06     49.86   24
    7 Wagner, Lindsey           SO Yale                    49.85     49.89   23
    8 Post, Ashley              JR Dartmouth               50.12     50.42   22
  B - Final
    9 Shelton, Samantha         JR Harvard                 50.15     50.25   20
   10 Bradley, Christina        JR Princeton               50.59     50.26   17
   11 Weng, Vivian              FR Yale                    50.66     50.28   16
   12 Parker, Melissa           JR Cornell                 50.37     50.41   15
   13 Macdonald, Emily          FR Columbia                50.65     50.54   14
   14 Liu, Amelia               JR Princeton               50.41     50.61   13
   15 Scott, Samantha           SO Brown                   50.52     50.85   12
   16 Podurgiel, Anna           FR Brown                   50.82     50.97   11
  C - Final
   17 Arevalo, Isabelle         JR Columbia                50.86     50.56    9
   18 Wongso, Priscilla         SO Cornell                 51.02     50.66    7
   19 Brenner, Mandy            FR Harvard                 51.02     50.68    6
   20 Moesch, Marlise           SR Yale                    51.14     50.81    5
   21 Wortzman, Zoe             JR Dartmouth               50.90     50.94    4
   22 Secrest, Jennifer         JR Princeton               51.17     51.23    3
   23 Breiter, Callie           SO Columbia                51.48     51.72    2
   24 Healy, Marissa            SO Yale                    51.83     51.98    1

  Event 17 Women 100 Yard Freestyle
  ===============================================================================
   Meet Record: M 47.85        2019 Bella Hindley (Yale)
   Pool Record: P 48.64        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 47.18
www.meetresults.com/2022/ivies/results.html                                                                  16/21
4/20/22, 12:08 PM                             www.meetresults.com/2022/ivies/results.html   Armistead App. 0104
    NCAA B Std: B 49.51
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Henig, Iszac              JR Yale                   48.03      47.80M
    2 Thomas, Lia               SR Penn                   49.42      48.71B
    3 Hamlin, Molly             FR Harvard                50.97      49.52
    4 Venema, Nikki             JR Princeton              49.67      49.66
    5 Wagner, Lindsey           SO Yale                      NT      49.85
    6 Pilkinton, Ophelia        SO Yale                   49.88      49.94
    7 Kaczorowski, Margot       JR Penn                   50.11      50.06
    8 Post, Ashley              JR Dartmouth              51.40      50.12
  -------------------------------------------------------------------------
    9 Shelton, Samantha         JR Harvard                50.95      50.15
   10 Parker, Melissa           JR Cornell                50.82      50.37
   11 Liu, Amelia               JR Princeton              50.11      50.41
   12 Scott, Samantha           SO Brown                  51.40      50.52
   13 Bradley, Christina        JR Princeton              49.91      50.59
   14 Macdonald, Emily          FR Columbia               50.60      50.65
   15 Weng, Vivian              FR Yale                   51.03      50.66
   16 Podurgiel, Anna           FR Brown                  51.43      50.82
  -------------------------------------------------------------------------
   17 Arevalo, Isabelle         JR Columbia               51.04      50.86
   18 Wortzman, Zoe             JR Dartmouth              52.61      50.90
   19 Brenner, Mandy            FR Harvard                50.91      51.02
   19 Wongso, Priscilla         SO Cornell                50.80      51.02
   21 Moesch, Marlise           SR Yale                   51.01      51.14
   22 Secrest, Jennifer         JR Princeton              51.92      51.17
   23 Breiter, Callie           SO Columbia               52.62      51.48
   24 Healy, Marissa            SO Yale                   52.29      51.83
  -------------------------------------------------------------------------
   25 Gruvberger, Anna          SO Cornell                51.65      51.88
   26 Larsen, Clare             SR Columbia               51.35      51.91
  -------------------------------------------------------------------------
   27 Young, Georgia            SO Columbia               51.62      51.94
   28 Bilgin, Zehra             FR Brown                  52.15      52.19
   28 Wang, Emily               SR Columbia               51.64      52.19
   30 Baldari, Alessandra       SR Yale                   51.16      52.47
   31 Tsai, Sophia              FR Cornell                52.30      52.69
   32 Zhang, Tori               FR Cornell                52.22      52.98
   33 Wiener, Sophie            FR Dartmouth              53.92      53.00
   -- xLe, Tina                 JR Columbia               51.48     X51.67
   -- xOhr, Joelle              SO Cornell                52.59     X52.54

  Event 18 Women 200 Yard Breaststroke
  ===============================================================================
   Meet Record: M 2:08.47        2020 Jaycee Yegher (Harvard)
   Pool Record: P 2:09.37        2010 Susan Kim (Yale)
    NCAA A Std: A 2:06.58
    NCAA B Std: B 2:13.97
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Denisenko, Aleksandra     FR Harvard              2:13.78    2:11.93B 32
    2 Franks, Ava               FR Yale                 2:15.73    2:12.79B 28
    3 McDonald, Margaux         SO Princeton            2:16.38    2:14.88   27
    4 Pytel, Isabella           FR Penn                 2:16.70    2:15.11   26
    5 Thompson, Mikki           SR Harvard              2:14.56    2:15.46   25
    6 Lukawski, Audrey          SR Brown                2:16.15    2:15.82   24
    7 Paoletti, Olivia          JR Yale                 2:16.47    2:15.87   23
    8 Boeckman, Anna            FR Penn                 2:16.38    2:16.12   22
  B - Final
    9 Estabrook, Grace          SR Penn                 2:17.24    2:16.02   20
   10 Brault, Ellie             FR Brown                2:17.37    2:16.50   17
   11 Buckley, Maggie           FR Harvard              2:17.33    2:17.33   16
www.meetresults.com/2022/ivies/results.html                                                                  17/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html        Armistead App. 0105
   12   Buckley, Marykate                     JR   Yale                     2:17.10         2:17.82          15
   13   Liu, Hannah                           FR   Penn                     2:17.78         2:17.99          14
   14   Maizes, Rachel                        SR   Penn                     2:18.33         2:18.20          13
   15   Walker, Allegra                       SO   Columbia                 2:18.04         2:18.56          12
   16   Wang, Vivian                          SR   Princeton                2:19.92         2:20.22          11
  C -   Final
   17   Chang, Allison                        SR   Cornell                  2:21.65         2:19.28           9
   18   Hu, Ashley                            FR   Columbia                 2:20.23         2:20.06           7
   19   Willhite, Kellie                      SO   Brown                    2:19.97         2:20.35           6
   20   Unas, Julia                           FR   Columbia                 2:24.40         2:22.51           5
   21   Wu, Amy                               SO   Cornell                  2:25.05         2:23.22           4
   22   Van Steyn, Kenna                      SR   Dartmouth                2:25.10         2:24.01           3
   23   Petersen, Amanda                      FR   Cornell                  2:23.09         2:24.94           2
   24   Parker, Bridget                       SO   Dartmouth                2:26.36         2:25.27           1

  Event 18 Women 200 Yard Breaststroke
  ===============================================================================
   Meet Record: M 2:08.47        2020 Jaycee Yegher (Harvard)
   Pool Record: P 2:09.37        2010 Susan Kim (Yale)
    NCAA A Std: A 2:06.58
    NCAA B Std: B 2:13.97
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Denisenko, Aleksandra     FR Harvard              2:14.31    2:13.78B
    2 Thompson, Mikki           SR Harvard              2:22.35    2:14.56
    3 Franks, Ava               FR Yale                 2:12.56    2:15.73
    4 Lukawski, Audrey          SR Brown                2:17.36    2:16.15
    5 Boeckman, Anna            FR Penn                 2:18.42    2:16.38
    5 McDonald, Margaux         SO Princeton            2:16.52    2:16.38
    7 Paoletti, Olivia          JR Yale                 2:17.02    2:16.47
    8 Pytel, Isabella           FR Penn                 2:16.75    2:16.70
  -------------------------------------------------------------------------
    9 Buckley, Marykate         JR Yale                 2:16.23    2:17.10
   10 Estabrook, Grace          SR Penn                 2:18.16    2:17.24
   11 Buckley, Maggie           FR Harvard              2:18.43    2:17.33
   12 Brault, Ellie             FR Brown                2:18.85    2:17.37
   13 Liu, Hannah               FR Penn                 2:17.47    2:17.78
   14 Walker, Allegra           SO Columbia             2:17.96    2:18.04
   15 Maizes, Rachel            SR Penn                 2:25.73    2:18.33
   16 Wang, Vivian              SR Princeton            2:18.75    2:19.92
  -------------------------------------------------------------------------
   17 Willhite, Kellie          SO Brown                2:18.04    2:19.97
   18 Hu, Ashley                FR Columbia             2:17.92    2:20.23
   19 Chang, Allison            SR Cornell              2:17.32    2:21.65
   20 Petersen, Amanda          FR Cornell              2:23.58    2:23.09
   21 Unas, Julia               FR Columbia             2:23.92    2:24.40
   22 Wu, Amy                   SO Cornell              2:23.70    2:25.05
   23 Van Steyn, Kenna          SR Dartmouth            2:29.43    2:25.10
   24 Parker, Bridget           SO Dartmouth            2:35.39    2:26.36
  -------------------------------------------------------------------------
   25 Zhang, Rachel             FR Dartmouth            2:27.46    2:26.97
   -- xMoore, Sophia            FR Yale                 2:26.76   X2:21.87

  Event 19 Women 200 Yard Butterfly
  ===============================================================================
   Meet Record: M 1:54.60        2013 Alex Forrester (Yale)
   Pool Record: P 1:52.99        1981 Mary T. Meagher (Lakeside)
    NCAA A Std: A 1:53.20
    NCAA B Std: B 1:59.23
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Carr, Abigail             FR Harvard              1:58.08    1:57.26B 32
    2 Chong, Vanessa            FR Penn                 2:00.03    1:58.17B 28
www.meetresults.com/2022/ivies/results.html                                                                                        18/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html        Armistead App. 0106
    3   Massey, Alexandra                     FR   Yale                     2:00.32         1:58.72B         27
    4   Yeager, Jess                          SO   Princeton                1:59.19         1:58.75B         26
    5   Chidley, Nell                         JR   Brown                    1:59.97         1:59.63          25
    6   Leko, Mia                             JR   Dartmouth                1:57.65         1:59.70          24
    7   Kim, Junseo                           FR   Yale                     2:00.45         1:59.92          23
    8   Yoon, Grace                           FR   Harvard                  2:00.54         2:01.13          22
  B -   Final
    9   Martin, Allison                       FR   Columbia                 2:01.75         2:00.17          20
   10   Jiang, Joy                            FR   Penn                     2:01.08         2:00.99          17
   11   Bilgin, Zehra                         FR   Brown                    2:00.90         2:01.84          16
   12   Myers, Andie                          SR   Penn                     2:01.48         2:02.00          15
   13   Peng, Jessica                         JR   Columbia                 2:02.58         2:02.35          14
   14   Pappas, Alexa                         FR   Princeton                2:03.96         2:02.53          13
   15   Boyer, Liz                            JR   Harvard                  2:02.62         2:03.05          12
   16   Whall, Emma                           SR   Brown                    2:03.56         2:06.71          11
  C -   Final
   17   Wong, Anthea                          FR   Columbia                 2:04.81         2:03.47           9
   18   Iorini, Maria                         SO   Brown                    2:04.31         2:04.14           7
   19   Chen, Jaime                           FR   Princeton                2:06.49         2:06.69           6
   20   DuPont, Schuyler                      FR   Cornell                  2:08.95         2:06.99           5
   21   Syrkin, Alex                          FR   Cornell                  2:10.29         2:08.24           4

  Event 19 Women 200 Yard Butterfly
  ===============================================================================
   Meet Record: M 1:54.60        2013 Alex Forrester (Yale)
   Pool Record: P 1:52.99        1981 Mary T. Meagher (Lakeside)
    NCAA A Std: A 1:53.20
    NCAA B Std: B 1:59.23
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Leko, Mia                 JR Dartmouth            2:00.23    1:57.65B
    2 Carr, Abigail             FR Harvard              1:58.61    1:58.08B
    3 Yeager, Jess              SO Princeton            1:57.83    1:59.19B
    4 Chidley, Nell             JR Brown                1:59.35    1:59.97
    5 Chong, Vanessa            FR Penn                 2:00.14    2:00.03
    6 Massey, Alexandra         FR Yale                 1:57.51    2:00.32
    7 Kim, Junseo               FR Yale                 2:01.27    2:00.45
    8 Yoon, Grace               FR Harvard              2:03.17    2:00.54
  -------------------------------------------------------------------------
    9 Bilgin, Zehra             FR Brown                2:01.71    2:00.90
   10 Jiang, Joy                FR Penn                 2:00.79    2:01.08
   11 Myers, Andie              SR Penn                 2:04.21    2:01.48
   12 Martin, Allison           FR Columbia             2:01.42    2:01.75
   13 Peng, Jessica             JR Columbia             2:02.04    2:02.58
   14 Boyer, Liz                JR Harvard              2:02.01    2:02.62
   15 Whall, Emma               SR Brown                2:03.48    2:03.56
   16 Pappas, Alexa             FR Princeton            2:03.27    2:03.96
  -------------------------------------------------------------------------
   17 Iorini, Maria             SO Brown                2:04.46    2:04.31
   18 Wong, Anthea              FR Columbia             2:03.66    2:04.81
   19 Chen, Jaime               FR Princeton            2:02.10    2:06.49
   20 DuPont, Schuyler          FR Cornell              2:06.37    2:08.95
   21 Syrkin, Alex              FR Cornell              2:07.54    2:10.29
   -- xRippon, Caylene          SR Brown                2:04.89   X2:05.32

  Event 20 Women 3 mtr Diving
  ===============================================================================
   Meet Record: M 360.55        2015 Caitlin Chambers (Princeton)
   Pool Record: P 360.55        2015 Caitlin Chambers (Princeton)
    NCAA A Std: A 280.00
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Miclau, Elizabeth         SO Harvard               261.45     315.20A 32
www.meetresults.com/2022/ivies/results.html                                                                                        19/21
4/20/22, 12:08 PM                                              www.meetresults.com/2022/ivies/results.html        Armistead App. 0107
    2   Milne, Georgi                         SR   Harvard                    310.35         311.20A         28
    3   Lawrence, Esther                      SR   Harvard                    292.95         302.90A         27
    4   Edvalson, Remi                        FR   Harvard                    277.75         292.05A         26
    5   Williams, Demetra                     SR   Cornell                    271.35         281.30A         25
    6   Jendritz, Elise                       JR   Cornell                    282.90         276.10          24
    7   Laverty, Katie                        FR   Harvard                    264.05         274.30          23
    8   Geier, Evie                           JR   Harvard                    300.10         274.15          22
  B -   Final
    9   Herculano, Morgane                    SR   Harvard                    253.65         304.45A         20
   10   Shao, Stephanie                       FR   Yale                       248.10         278.65          17
   11   Henderson, Hayden                     FR   Yale                       254.45         276.15          16
   12   Wotovich, Amy                         FR   Harvard                    257.40         274.80          15
   13   Seltzer, Maddie                       FR   Princeton                  253.75         274.65          14
   14   Francella, Olivia                     JR   Penn                       246.50         263.70          13
   15   Rosendalh, Brighida                   SR   Columbia                   243.70         247.95          12
   16   Brinker, Alexa                        FR   Brown                      228.90         209.40          11

  Event 20 Women 3 mtr Diving
  ===============================================================================
   Meet Record: M 360.55        2015 Caitlin Chambers (Princeton)
   Pool Record: P 360.55        2015 Caitlin Chambers (Princeton)
    NCAA A Std: A 280.00
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Milne, Georgi             SR Harvard               303.68     310.35A
    2 Geier, Evie               JR Harvard               291.90     300.10A
    3 Lawrence, Esther          SR Harvard               330.65     292.95A
    4 Jendritz, Elise           JR Cornell               321.08     282.90A
    5 Edvalson, Remi            FR Harvard               290.78     277.75
    6 Williams, Demetra         SR Cornell               312.00     271.35
    7 Laverty, Katie            FR Harvard               300.50     264.05
    8 Miclau, Elizabeth         SO Harvard               317.63     261.45
    9 Wotovich, Amy             FR Harvard               321.53     257.40
   10 Henderson, Hayden         FR Yale                  323.55     254.45
   11 Seltzer, Maddie           FR Princeton             291.15     253.75
   12 Herculano, Morgane        SR Harvard               295.80     253.65
   13 Shao, Stephanie           FR Yale                  268.80     248.10
   14 Francella, Olivia         JR Penn                  275.10     246.50
   15 Rosendalh, Brighida       SR Columbia              293.55     243.70
   16 Brinker, Alexa            FR Brown                 275.40     228.90
   17 Thibodeau, Genevieve      FR Yale                  260.03     228.70
   18 Jin, Laurel               FR Yale                  277.75     227.55
   19 Johnsson-Stjernstrom, Ha SO Princeton              246.23     226.60
   20 Singh, Ishani             SO Yale                  256.43     224.95
   21 Ennis, Maya               FR Yale                  266.78     220.80
   22 Mitchell, Liv             SR Brown                 304.00     220.25
   23 Parker, Madeleine         FR Penn                  244.80     218.95
   24 Feord, Julia              JR Brown                 306.45     217.35
   25 Diakova, Alice            SO Columbia              292.73     215.15
   26 Lichen, Isabella          JR Dartmouth             259.65     213.20
   27 Lee, Michelle             SR Columbia              257.33     210.35
   28 Chin, Audrey              SO Harvard               245.70     195.80
   29 Stein, Samantha           SO Penn                  221.20     189.25
   30 Palacios, Alyssa          FR Dartmouth             298.15     185.90

  Event 21 Women 400 Yard Freestyle Relay
  ===============================================================================
   Meet Record: M 3:14.48        2020 Harvard
                           F. Pasadyn, K. Quist, S. Shelton, M. Dahlke
   Pool Record: P 3:18.25        2015 Princeton
                           C. McIlmail, N. Larson, E. McDonald, M. Veith
    NCAA A Std: A 3:14.50
    NCAA B Std: B 3:16.35
      School                                               Seed     Finals Points
www.meetresults.com/2022/ivies/results.html                                                                                        20/21
4/20/22, 12:08 PM                                        www.meetresults.com/2022/ivies/results.html   Armistead App. 0108
  ===============================================================================
    1 University of Pennsylvania                        3:22.50     3:17.80P 64
       1) Thomas, Lia SR                  2) Kaczorowski, Margot JR
       3) Kannan, Hannah SR               4) Carter, Camryn JR
    2 Harvard University                                3:19.40     3:19.17  56
       1) Pasadyn, Felicia SR             2) Shelton, Samantha JR
       3) Denisenko, Aleksandra FR        4) Hamlin, Molly FR
    3 Yale University                                   3:17.61     3:19.71  54
       1) Pilkinton, Ophelia SO           2) Wagner, Lindsey SO
       3) Weng, Vivian FR                 4) Franks, Ava FR
    4 Princeton University                              3:20.87     3:21.66  52
       1) Bradley, Christina JR           2) Liu, Amelia JR
       3) Marquardt, Ellie SO             4) Secrest, Jennifer JR
    5 Columbia University                               3:23.69     3:22.44  50
       1) Macdonald, Emily FR             2) Jubin, Olivia JR
       3) Ganihanova, Aziza SO            4) Arevalo, Isabelle JR
    6 Dartmouth College                                 3:29.56     3:24.03  48
       1) Post, Ashley JR                 2) Leko, Mia JR
       3) Howley, Mary FR                 4) Wortzman, Zoe JR
    7 Cornell University                                3:24.49     3:24.40  46
       1) Wongso, Priscilla SO            2) Gruvberger, Anna SO
       3) Tsai, Sophia FR                 4) Parker, Melissa JR
    8 Brown University                                  3:26.68     3:25.40  44
       1) Podurgiel, Anna FR              2) Scott, Samantha SO
       3) Reznicek, Jenna FR              4) Orange, Audrey JR

                             Women - Team Rankings - Through Event 21

     1.   Harvard University                    1503.5      2.   Yale University                           1258
     3.   University of Pennsylvania              1256      4.   Princeton University                      1074
     5.   Brown University                         904      6.   Columbia University                      706.5
     7.   Dartmouth College                        563      8.   Cornell University                         508




www.meetresults.com/2022/ivies/results.html                                                                             21/21
                                        Armistead App. 0109




  2022 NCAA Division I Women’s Swimming &
    Diving Championship Results (500 Yard
                     Freestyle)
                 March 16-19, 2022
Available at: https://swimmeetresults.tech/NCAA-
    Division-I-Women-2022/220316F003.htm
   [permalink: https://perma.cc/JUD4-N2W6]
           (last visited: April 20, 2022)
4/20/22, 12:13 PM                                          Meet Results: 2022 NCAA DI Women's Swimming & Diving   Armistead App. 0110
      Refresh

      Print Result

   NCAA Division I Championship Meet
                         2022 NCAA Division I Women's
                        Swimming & Diving Championships

   Event 3 Women 500 Yard Freestyle
  =========================================================================
           NCAA: N 4:24.06 3/16/2017 Katie Ledecky, Stanford
           Meet: M 4:24.06 3/16/2017 Katie Ledecky, Stanford
       American: A 4:24.06 3/16/2017 Katie Ledecky, Stanford
        US Open: O 4:24.06 3/16/2017 Katie Ledecky, Stanford
           Pool: P 4:30.81 3/17/2016 Leah Smith, Virginia
      Name                 Year School            Prelims     Finals Points
  =========================================================================
                         === Championship Final ===

     1 Thomas, Lia                     5Y Penn                       4:33.82        4:33.24      20
       r:+0.76 25.25                  52.80 (27.55)
           1:20.59 (27.79)              1:48.43 (27.84)
           2:16.24 (27.81)              2:44.12 (27.88)
           3:11.80 (27.68)              3:39.29 (27.49)
           4:06.74 (27.45)              4:33.24 (26.50)
     2 Weyant, Emma                    FR Virginia                   4:37.25        4:34.99      17
       r:+0.73 25.59                  53.04 (27.45)
           1:20.91 (27.87)              1:48.66 (27.75)
           2:16.33 (27.67)              2:44.17 (27.84)
           3:11.98 (27.81)              3:39.90 (27.92)
           4:07.73 (27.83)              4:34.99 (27.26)
     3 Sullivan, Erica                 FR Texas                      4:36.79        4:35.92      16
       r:+0.66 25.34                  52.62 (27.28)
           1:20.30 (27.68)              1:48.25 (27.95)
           2:16.22 (27.97)              2:44.41 (28.19)
           3:12.74 (28.33)              3:40.98 (28.24)
           4:08.96 (27.98)              4:35.92 (26.96)
     4 Forde, Brooke                   5Y Stanford                   4:38.19        4:36.18      15
       r:+0.65 25.89                  53.30 (27.41)
           1:21.09 (27.79)              1:48.85 (27.76)
           2:16.71 (27.86)              2:44.59 (27.88)
           3:12.43 (27.84)              3:40.16 (27.73)
           4:08.35 (28.19)              4:36.18 (27.83)
     5 Pfeifer, Evie                   5Y Texas                      4:37.39        4:37.29      14
       r:+0.78 25.85                  53.27 (27.42)
           1:21.03 (27.76)              1:49.08 (28.05)
           2:17.27 (28.19)              2:45.23 (27.96)
           3:13.27 (28.04)              3:41.58 (28.31)
           4:09.87 (28.29)              4:37.29 (27.42)
     6 McKenna, Paige                  FR Wisconsin                  4:37.36        4:37.35      13
       r:+0.73 25.47                  52.97 (27.50)
           1:21.03 (28.06)              1:49.02 (27.99)
           2:17.09 (28.07)              2:45.09 (28.00)
           3:13.17 (28.08)              3:41.40 (28.23)
           4:09.65 (28.25)              4:37.35 (27.70)
     7 McMahon, Kensey                 SR Alabama                    4:38.76        4:40.06      12
       r:+0.73 25.96                  53.81 (27.85)
           1:21.43 (27.62)              1:49.54 (28.11)
           2:17.97 (28.43)              2:46.43 (28.46)
           3:15.11 (28.68)              3:43.92 (28.81)
           4:12.58 (28.66)              4:40.06 (27.48)
     8 Tankersley, Morgan              SR Stanford                   4:38.65        4:40.08      11
       r:+0.70 26.03                  53.96 (27.93)
           1:22.08 (28.12)              1:50.49 (28.41)
https://swimmeetresults.tech/NCAA-Division-I-Women-2022/                                                                            1/3
4/20/22, 12:13 PM                                          Meet Results: 2022 NCAA DI Women's Swimming & Diving   Armistead App. 0111
             2:18.81 (28.32)             2:47.05 (28.24)
             3:15.09 (28.04)             3:43.21 (28.12)
             4:11.84 (28.63)             4:40.08 (28.24)

                                   === Consolation Final ===

    9 Mrozinski, Julia                 FR Tennessee                   4:39.60       4:37.35        9
      r:+0.66 25.29                   53.45 (28.16)
          1:21.82 (28.37)               1:50.33 (28.51)
          2:18.72 (28.39)               2:47.24 (28.52)
          3:15.51 (28.27)               3:43.55 (28.04)
          4:11.10 (27.55)               4:37.35 (26.25)
   10 Mull, Lola                       SO Northwestern                4:40.70       4:38.37        7
      r:+0.69 26.09                   54.01 (27.92)
          1:22.23 (28.22)               1:50.73 (28.50)
          2:19.25 (28.52)               2:47.94 (28.69)
          3:16.04 (28.10)               3:44.23 (28.19)
          4:11.78 (27.55)               4:38.37 (26.59)
   11 Mathieu, Tylor                   JR Florida                     4:39.07       4:38.62        6
      r:+0.75 26.15                   54.25 (28.10)
          1:22.72 (28.47)               1:51.21 (28.49)
          2:19.74 (28.53)               2:47.99 (28.25)
          3:16.05 (28.06)               3:44.24 (28.19)
          4:11.97 (27.73)               4:38.62 (26.65)
   12 Coetzee, Dune                    FR Georgia                     4:40.24       4:38.78        5
      r:+0.73 25.67                   53.62 (27.95)
          1:21.89 (28.27)               1:50.22 (28.33)
          2:18.69 (28.47)               2:46.91 (28.22)
          3:15.44 (28.53)               3:43.85 (28.41)
          4:11.72 (27.87)               4:38.78 (27.06)
   13 Laning, Erica                    5Y ASU                         4:40.70       4:38.90        4
      r:+0.73 25.84                   53.34 (27.50)
          1:21.33 (27.99)               1:49.54 (28.21)
          2:17.98 (28.44)               2:46.43 (28.45)
          3:15.17 (28.74)               3:43.78 (28.61)
          4:11.97 (28.19)               4:38.90 (26.93)
   14 Nordin, Emma                     5Y ASU                         4:40.78       4:39.17        3
      r:+0.70 26.13                   54.06 (27.93)
          1:22.28 (28.22)               1:50.59 (28.31)
          2:19.03 (28.44)               2:47.49 (28.46)
          3:15.48 (27.99)               3:43.36 (27.88)
          4:11.43 (28.07)               4:39.17 (27.74)
   15 Donohoe, Madelyn                 JR Virginia                    4:39.61       4:40.49        2
      r:+0.64 26.23                   54.37 (28.14)
          1:22.71 (28.34)               1:51.21 (28.50)
          2:19.69 (28.48)               2:48.10 (28.41)
          3:16.44 (28.34)               3:45.16 (28.72)
          4:13.24 (28.08)               4:40.49 (27.25)
   16 McCulloh, Abigail                FR Georgia                     4:40.58       4:41.17        1
      r:+0.67 26.20                   54.57 (28.37)
          1:22.97 (28.40)               1:51.44 (28.47)
          2:20.06 (28.62)               2:48.68 (28.62)
          3:17.22 (28.54)               3:45.78 (28.56)
          4:14.02 (28.24)               4:41.17 (27.15)

                          Women - Team Rankings - Through Event 3

    1.   Virginia                                          93    2.   Texas                                         88
    3.   Stanford                                          80    4.   California                                    56
    5.   Alabama                                           50    6.   Louisville                                    46
    7.   NC State                                          44    8.   Tennessee                                     43
    9.   Georgia                                           40   10.   Ohio St                                       38
   11.   Florida                                           32   12.   Wisconsin                                     27
   13.   Michigan                                          26   14.   Penn                                          20
   15.   Arizona St                                        19   16.   Southern California                           18
https://swimmeetresults.tech/NCAA-Division-I-Women-2022/                                                                            2/3
4/20/22, 12:13 PM                                          Meet Results: 2022 NCAA DI Women's Swimming & Diving   Armistead App. 0112
   16. Kentucky                                            18   18. Northwestern                                    15
   19. UNC                                                 10   20. Indiana                                          8
   21. Virginia Tech                                        2   21. Arizona                                          2




https://swimmeetresults.tech/NCAA-Division-I-Women-2022/                                                                            3/3
                                        Armistead App. 0113




  2022 NCAA Division I Women’s Swimming &
    Diving Championship Results (100 Yard
                     Freestyle)
                 March 16-19, 2022
Available at: https://swimmeetresults.tech/NCAA-
    Division-I-Women-2022/220316F017.htm
    [permalink: https://perma.cc/88Q9-4C5L]
           (last visited: April 20, 2022)
4/20/22, 12:14 PM                                          Meet Results: 2022 NCAA DI Women's Swimming & Diving   Armistead App. 0114
      Refresh

      Print Result

   NCAA Division I Championship Meet
                         2022 NCAA Division I Women's
                        Swimming & Diving Championships

   Event 17 Women 100 Yard Freestyle
  =========================================================================
           NCAA: N 45.56 3/18/2017 Simone Manuel, Stanford
           Meet: M 45.56 3/17/2017 Simone Manuel, Stanford
       American: A 45.56 3/18/2017 Simone Manuel, Stanford
        US Open: O 45.56 3/18/2017 Simone Manuel, Stanford
           Pool: P 46.05 3/19/2022 Gretchen Walsh, Virginia
      Name                 Year School            Prelims     Finals Points
  =========================================================================
                         === Championship Final ===

     1 Walsh, Gretchen                 FR Virginia                      46.78          46.05P    20
       r:+0.75 22.10                  46.05 (23.95)
     2 Scott, Morgan                   SR Alabama                       47.27          46.78     17
       r:+0.65 22.08                  46.78 (24.70)
     3 Berkoff, Katharine              JR NCSU                          46.89          46.95     16
       r:+0.67 22.41                  46.95 (24.54)
     4 Dupre, Cora                     JR Alabama                       47.51          47.08     15
       r:+0.60 22.54                  47.08 (24.54)
     5 Henig, Iszac                    JR Yale                          47.55          47.32     13.5
       r:+0.60 22.65                  47.32 (24.67)
     5 Albiero, Gabi                   SO Louisville                    47.45          47.32     13.5
       r:+0.60 22.90                  47.32 (24.42)
     7 Countie, Grace                  SR UNC                           47.50          47.36     12
       r:+0.73 22.67                  47.36 (24.69)
     8 Thomas, Lia                     5Y Penn                          47.37          48.18     11
       r:+0.73 23.19                  48.18 (24.99)

                                   === Consolation Final ===

    9 Huske, Torri                     FR Stanford                      48.12          46.98       9
      r:+0.60 22.32                   46.98 (24.66)
   10 MacNeil, Maggie                  SR Michigan                      47.77          47.42       7
      r:+0.63 22.65                   47.42 (24.77)
   11 Flynn, Lindsay                   FR Michigan                      47.94          47.67       6
      r:+0.66 22.88                   47.67 (24.79)
   12 Alons, Kylee                     SR NCSU                          48.02          47.68       5
      r:+0.64 22.77                   47.68 (24.91)
   13 Ivey, Isabel                     SR California                    47.61          47.71       4
      r:+0.70 22.76                   47.71 (24.95)
   14 Zenick, Katherine                SO Ohio St                       47.91          47.85       3
      r:+0.61 22.88                   47.85 (24.97)
   15 Antoniou, Kalia                  SR Alabama                       47.84          47.93       2
      r:+0.67 23.16                   47.93 (24.77)
   16 Bates, Talia                     JR Florida                       48.14          47.95       1
      r:+0.70 23.13                   47.95 (24.82)

                        Women - Team Rankings - Through Event 17

    1.   Virginia                                     433.5      2.   Stanford                                     327
    3.   Texas                                          292      4.   Alabama                                      243
    5.   NC State                                       233      6.   California                                   155
    7.   Louisville                                   153.5      8.   Ohio St                                      143
    9.   Michigan                                       139     10.   Tennessee                                    118
   11.   UNC                                            103     12.   Florida                                       91
   13.   Southern California                             89     14.   Wisconsin                                     86
https://swimmeetresults.tech/NCAA-Division-I-Women-2022/                                                                            1/2
4/20/22, 12:14 PM                                          Meet Results: 2022 NCAA DI Women's Swimming & Diving   Armistead App. 0115
   15.   Georgia                                       85.5     16.   Kentucky                                    82.5
   17.   Indiana                                         82     18.   Northwestern                                  68
   19.   Penn                                          44.5     20.   Minnesota                                     43
   21.   Miami (Florida)                               41.5     22.   Arizona                                     35.5
   23.   Virginia Tech                                   31     24.   Duke                                          27
   25.   Missouri                                        25     26.   Arizona St                                    22
   27.   Yale                                          14.5     28.   Arkansas                                      11
   29.   South Carolina                                   9     30.   Rutgers                                        6
   30.   Notre Dame                                       6     32.   UCLA                                           4
   32.   Lsu                                              4     34.   Wyoming                                        2
   34.   San Diego St                                     2     34.   Harvard                                        2
   37.   Texas A&M                                        1




https://swimmeetresults.tech/NCAA-Division-I-Women-2022/                                                                            2/2
Armistead App. 0116
                                    Armistead App. 0117

G. Brown        Expert Report, B.P.J. v. WV BOE et al.









           ii
                                                                           Armistead App. 0118

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.




                               Expert Report of

                      Gregory A Brown, Ph.D. FACSM

       In the case of B.P.J. vs. West Virginia State Board of Education.




                                             iii
                                                                                                                              Armistead App. 0119



                                                               Table of Contents

Table of Contents ..................................................................................................................... iv

Personal Qualifications and Disclosure ................................................................................... 1

Overview ................................................................................................................................... 4

I.The scientific reality of biological sex ................................................................................... 5

II.Biological men, or adolescent boys, have large, well-documented performance
advantages over women and adolescent girls in almost all athletic contests. ....................... 7

                               Men are stronger. ................................................................................... 10

                              Men run faster. ....................................................................................... 12

                              Men jump higher and farther. ............................................................... 15

                              Men throw, hit, and kick faster and farther. ........................................ 16

                              Males exhibit faster reaction times. ...................................................... 17

III.Men have large measured physiological differences compared to women which
demonstrably or likely explain their performance advantages. ........................................... 17

                              Men are taller and heavier than women ............................................... 18

                              Males have larger and longer bones, stronger bones, and different bone
                               configuration. .......................................................................................... 18

                              Males have much larger muscle mass. .................................................. 20

                              Females have a larger proportion of body fat. ...................................... 20

                              Males are able to metabolize and release energy to muscles at a higher
                               rate due to larger heart and lung size, and higher hemoglobin
                               concentrations. ....................................................................................... 21

IV. The role of testosterone in the development of male advantages in athletic performance
................................................................................................................................................. 23

                              Boys exhibit advantages in athletic performance even before puberty. ..
                                ............................................................................................................... 25




                                                                                   iv
                                                                                                                       Armistead App. 0120

          G. Brown                                                                             Expert Report, B.P.J. v. WV BOE et al.


                             The rapid increase in testosterone across male puberty drives
                              characteristic male physiological changes and the increasing
                              performance advantages. ....................................................................... 37

V.The available evidence shows that suppression of testosterone in a male after puberty
has occurred does not substantially eliminate the male athletic advantage. ...................... 39

                             Empirical studies find that males retain a strong performance
                              advantage even after lengthy testosterone suppression....................... 39

                             Testosterone suppression does not reverse important male
                              physiological advantages. ...................................................................... 46

                             Responsible voices internationally are increasingly recognizing that
                              suppression of testosterone in a male after puberty has occurred does
                              not substantially reverse the male athletic advantage. ....................... 50

Conclusions ............................................................................................................................. 56

Bibliography ............................................................................................................................. a

Appendix 1 – Data Tables ........................................................................................................ h

                    Presidential Physical Fitness Results ................................................................ h

                    Data Compiled from Athletic.Net........................................................................ j

Appendix 2 – Scholarly Publications in Past 10 Years ........................................................... n




                                                                               v
                                                                            Armistead App. 0121

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.




                      Personal Qualifications and Disclosure

      I serve as Professor of Exercise Science in the Department of Kinesiology and
Sport Sciences at the University of Nebraska Kearney, where I teach classes in
Exercise Physiology among other topics. I am also the Director of the General
Studies program. I have served as a tenured (and nontenured) professor at
universities since 2002.

       In August 2002, I received a Doctor of Philosophy degree from Iowa State
University, where I majored in Health and Human Performance, with an emphasis
in the Biological Bases of Physical Activity. In May 1999, I received a Master of
Science degree from Iowa State University, where I majored in Exercise and Sport
Science, with an emphasis in Exercise Physiology.

      I have received many awards over the years, including the Mortar Board
Faculty Excellence Honors Award, College of Education Outstanding Scholarship /
Research Award, and the College of Education Award for Faculty Mentoring of
Undergraduate Student Research. I have authored more than 40 refereed
publications and more than 50 refereed presentations in the field of Exercise
Science. I have authored chapters for multiple books in the field of Exercise Science.
And I have served as a peer reviewer for over 25 professional journals, including
The American Journal of Physiology, the International Journal of Exercise Science,
the Journal of Strength and Conditioning Research, and The Journal of Applied
Physiology.

       My areas of research have included the endocrine response to testosterone
prohormone supplements in men and women, the effects of testosterone prohormone
supplements on health and the adaptations to strength training in men, the effects
of energy drinks on the physiological response to exercise, and assessment of
various athletic training modes in males and females. Articles that I have published
that are closely related to topics that I discuss in this white paper include:

      Studies of the effect of ingestion of a testosterone precursor on circulating
       testosterone levels in young men. Douglas S. King, Rick L. Sharp, Matthew
       D. Vukovich, Gregory A. Brown, et al., Effect of Oral Androstenedione on
       Serum Testosterone and Adaptations to Resistance Training in Young Men: A
       Randomized Controlled Trial, JAMA 281: 2020-2028 (1999); G. A. Brown, M.
       A. Vukovich, et al., Effects of Anabolic Precursors on Serum Testosterone
       Concentrations and Adaptations to Resistance Training in Young Men, INT J
       SPORT NUTR EXERC METAB 10: 340-359 (2000).

      A study of the effect of ingestion of that same testosterone precursor on
       circulating testosterone levels in young women. G. A. Brown, J. C. Dewey, et



                                             1
                                                                           Armistead App. 0122

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



        al., Changes in Serum Testosterone and Estradiol Concentrations Following
        Acute Androstenedione Ingestion in Young Women, HORM METAB RES 36: 62-
        66 (2004.)

       A study finding (among other things) that body height, body mass, vertical
        jump height, maximal oxygen consumption, and leg press maximal strength
        were higher in a group of physically active men than comparably active
        women, while the women had higher percent body fat. G. A. Brown, Michael
        W. Ray, et al., Oxygen Consumption, Heart Rate, and Blood Lactate
        Responses to an Acute Bout of Plyometric Depth Jumps in College-Aged Men
        And Women, J. STRENGTH COND RES 24: 2475-2482 (2010).

       A study finding (among other things) that height, body mass, and maximal
        oxygen consumption were higher in a group of male NCAA Division 2
        distance runners, while women NCAA Division 2 distance runners had
        higher percent body fat. Furthermore, these male athletes had a faster mean
        competitive running speed (~3.44 min/km) than women (~3.88 min/km), even
        though the men ran 10 km while the women ran 6 km. Katherine Semin,
        Alvah C. Stahlnecker, Kate A. Heelan, G. A. Brown, et al, Discrepancy
        Between Training, Competition and Laboratory Measures of Maximum Heart
        Rate in NCAA Division 2 Distance Runners, JOURNAL OF SPORTS SCIENCE AND
        MEDICINE 7: 455-460 (2008).

       A presentation at the 2021 American Physiological Society New Trends in
        Sex and Gender Medicine Conference entitled “Transwomen Competing in
        Women’s Sports: What We Know and What We Don’t”. I have also authored
        an August 2021 entry for the American Physiological Society Physiology
        Educators Community of Practice Blog (PECOP Blog) titled “The Olympics,
        Sex, and Gender in the Physiology Classroom.”

A list of my published scholarly work for the past 10 years appears as an Appendix.







                                             2
                                                                              Armistead App. 0123

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.


                            Purpose of this Declaration


        I have been asked by counsel for Defendant State of West Virginia and
Intervenor Defendant Lainey Armistead in the matter of B.P.J. by her next friend
and mother Heather Jackson, v. State of West Virginia State Board of Education, et
al. to offer my opinions about the following: (a) whether males have inherent
advantages in athletic performance over females, and if so the scale and
physiological basis of those advantages, to the extent currently understood by
science and (b) whether the sex-based performance advantage enjoyed by males is
eliminated if feminizing hormones are administered to male athletes who identify
as transgender (and in the case of prepubertal children, whether puberty blockers
eliminate the advantage). In this declaration, when I use the terms “boy” or “male,”
I am referring to biological males based on the individual’s reproductive biology and
genetics as determined at birth. Similarly, when I use the terms “girl” or “female,” I
am referring to biological females based on the individual’s reproductive biology and
genetics as determined at birth. When I use the term transgender, I am referring to
persons who are males or females, but who identify as a member of the opposite sex.

       I have previously provided expert information in cases similar to this one in
the form of a written declaration and a deposition in the case of Soule vs. CIAC in
the state of Connecticut, and in the form of a written declaration in the case of
Hecox vs. Little in the state of Idaho. I have not previously testified as an expert in
any trials.

       The opinions I express in this declaration are my own, and do not necessarily
reflect the opinions of my employer, the University of Nebraska.

       I have been compensated for my time serving as an expert in this case at the
rate of $150 per hour. My compensation does not depend on the outcome in the case.






                                               3
                                                                                  Armistead App. 0124

G. Brown                                                      Expert Report, B.P.J. v. WV BOE et al.



                                          Overview

      In this declaration, I explore three important questions relevant to current
discussions and policy decisions concerning inclusion of transgender individuals in
women’s athletic competitions. Based on my professional familiarity with exercise
physiology and my review of the currently available science, including that
contained in the many academic sources I cite in this report, I set out and explain
three basic conclusions:

            At the level of (a) elite, (b) collegiate, (c) scholastic, and (d) recreational
             competition, men, adolescent boys, or male children, have an advantage
             over equally aged, gifted, and trained women, adolescent girls, or female
             children in almost all athletic events;

            Biological male physiology is the basis for the performance advantage that
             men, adolescent boys, or male children have over women, adolescent girls,
             or female children in almost all athletic events; and

            The administration of androgen inhibitors and cross-sex hormones to men
             or adolescent boys after the onset of male puberty does not eliminate the
             performance advantage that men and adolescent boys have over women
             and adolescent girls in almost all athletic events. Likewise, there is no
             published scientific evidence that the administration of puberty blockers
             to males before puberty eliminates the pre-existing athletic advantage
             that prepubertal males have over prepubertal females in almost all
             athletic events.

      In short summary, men, adolescent boys, and prepubertal male children
perform better in almost all sports than women, adolescent girls, and prepubertal
female children because of their inherent physiological advantages. In general, men,
adolescent boys, and prepubertal male children, can run faster, output more
muscular power, jump higher, and possess greater muscular endurance than
women, adolescent girls, and prepubertal female children. These advantages
become greater during and after male puberty, but they exist before puberty.

       Further, while after the onset of puberty males are on average taller and
heavier than females, a male performance advantage over females has been
measured in weightlifting competitions even between males and females matched
for body mass.

       Male advantages in measurements of body composition, tests of physical
fitness, and athletic performance have also been shown in children before puberty.
These advantages are magnified during puberty, triggered in large part by the
higher testosterone concentrations in men, and adolescent boys, after the onset of

                                                   4
                                                                             Armistead App. 0125

 G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


 male puberty. Under the influence of these higher testosterone levels, adolescent
 boys and young men develop even more muscle mass, greater muscle strength, less
 body fat, higher bone mineral density, greater bone strength, higher hemoglobin
 concentrations, larger hearts and larger coronary blood vessels, and larger overall
 statures than women. In addition, maximal oxygen consumption (VO2max), which
 correlates to ~30-40% of success in endurance sports, is higher in both elite and
 average men and boys than in comparable women and girls when measured in
 regard to absolute volume of oxygen consumed and when measured relative to body
 mass.

       Although androgen deprivation (that is, testosterone suppression) may
 modestly decrease some physiological advantages that men and adolescent boys
 have over women and adolescent girls, it cannot fully or even largely eliminate
 those physiological advantages once an individual has passed through male
 puberty.



                             Evidence and Conclusions

I.   The scientific reality of biological sex

        1.    The scientific starting point for the issues addressed in this report is
 the biological fact of dimorphic sex in the human species. It is now well recognized
 that dimorphic sex is so fundamental to human development that, as stated in a
 recent position paper issued by the Endocrine Society, it “must be considered in the
 design and analysis of human and animal research. . . . Sex is dichotomous, with
 sex determination in the fertilized zygote stemming from unequal expression of sex
 chromosomal genes.” (Bhargava et al. 2021 at 220). As stated by Sax (2002 at 177),
 “More than 99.98% of humans are either male or female.” All humans who do not
 suffer from some genetic or developmental disorder are unambiguously male or
 female.

        2.    Although sex and gender are used interchangeably in common
 conversation, government documents, and in the scientific literature, the American
 Psychological Association defines sex as “physical and biological traits” that
 “distinguish between males and females” whereas gender “implies the
 psychological, behavioral, social, and cultural aspects of being male or female (i.e.,
 masculinity or femininity)” (https://dictionary.apa.org, accessed January 14, 2022).
 The concept that sex is an important biological factor determined at conception is a
 well-established scientific fact that is supported by statements from a number of
 respected organizations including, but not limited to, the Endocrine Society
 (Bhargava et al. 2021 at 220), the American Physiological Society (Shah 2014), the
 Institute of Medicine, and the National Institutes of Health (Miller 2014 at H781-
 82). Collectively, these and other organizations have stated that every cell has a sex


                                               5
                                                                             Armistead App. 0126

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.



and every system in the body is influenced by sex. Indeed, “sex often influences
gender, but gender cannot influence sex.” (Bhargava 2021 at 228.)

       3.    To further explain: “The classical biological definition of the 2 sexes is
that females have ovaries and make larger female gametes (eggs), whereas males
have testes and make smaller male gametes (sperm) … the definition can be
extended to the ovaries and testes, and in this way the categories—female and
male—can be applied also to individuals who have gonads but do not make gametes
… sex is dichotomous because of the different roles of each sex in reproduction.”
(Bhargava 2021 at 221.) Furthermore, “sex determination begins with the
inheritance of XX or XY chromosomes” (Bhargava 2021 at 221.) And, “Phenotypic
sex differences develop in XX and XY embryos as soon as transcription begins. The
categories of X and Y genes that are unequally represented or expressed in male
and female mammalian zygotes … cause phenotypic sex differences” (Bhargava
2021 at 222.)

       4.    Although disorders of sexual development (DSDs) are sometimes
confused with discussions of transgender individuals, the two are different
phenomena. DSDs are disorders of physical development. Many DSDs are
“associated with genetic mutations that are now well known to endocrinologists and
geneticists.” (Bhargava 2021 at 225) By contrast, a sense of transgender identity is
usually not associated with any physical disorder, and “a clear biological causative
underpinning of gender identity remains to be demonstrated.” (Bhargava 2021 at
226.)

        5.   Further demonstrating the biological importance of sex, Gershoni and
Pietrokovski (2017) detail the results of an evaluation of “18,670 out of 19,644
informative protein-coding genes in men versus women” and reported that “there
are over 6500 protein-coding genes with significant S[ex]D[ifferential] E[xpression]
in at least one tissue. Most of these genes have SDE in just one tissue, but about
650 have SDE in two or more tissues, 31 have SDE in more than five tissues, and 22
have SDE in nine or more tissues” (Gershoni 2017 at 2-3.) Some examples of tissues
identified by these authors that have SDE genes include breast mammary tissue,
skeletal muscle, skin, thyroid gland, pituitary gland, subcutaneous adipose, lung,
and heart left ventricle. Based on these observations the authors state “As expected,
Y-linked genes that are normally carried only by men show SDE in many tissues”
(Gershoni 2017 at 3.) A stated by Heydari et al. (2022, at 1), “Y chromosome harbors
maleဩspecific genes, which either solely or in cooperation with their X-counterpart,
and independent or in conjunction with sex hormones have a considerable impact on
basic physiology and disease mechanisms in most or all tissues development.”

      6.   In a review of 56 articles on the topic of sex-based differences in
skeletal muscle, Haizlip et al., (2015) state that “More than 3,000 genes have been

                                               6
                                                                             Armistead App. 0127

  G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.


  identified as being differentially expressed between male and female skeletal
  muscle.” (Haizlip 2015 at 30.) Furthermore, the authors state that “Overall,
  evidence to date suggests that skeletal muscle fiber-type composition is dependent
  on species, anatomical location/function, and sex” (Haizlip 2015 at 30.) The
  differences in genetic expression between males and females influence the skeletal
  muscle fiber composition (i.e. fast twitch and fast twitch sub-type and slow twitch),
  the skeletal muscle fiber size, the muscle contractile rate, and other aspects of
  muscle function that influence athletic performance. As the authors review the
  differences in skeletal muscle between males and females they conclude,
  “Additionally, all of the fibers measured in men have significantly larger cross-
  sectional areas (CSA) compared with women.” (Haizlip 2015 at 31.) The authors
  also explore the effects of thyroid hormone, estrogen, and testosterone on gene
  expression and skeletal muscle function in males and females. One major conclusion
  by the authors is that “The complexity of skeletal muscle and the role of sex adding
  to that complexity cannot be overlooked.” (Haizlip 2015 at 37.) The evaluation of
  SDE in protein coding genes helps illustrate that the differences between men and
  women are intrinsically part of the chromosomal and genetic makeup of humans
  which can influence many tissues that are inherent to the athletic competitive
  advantages of men compared to women.

II.   Biological men, or adolescent boys, have large, well-documented
       performance advantages over women and adolescent girls in almost all
       athletic contests.

        7.    It should scarcely be necessary to invoke scientific experts to “prove”
  that men are on average larger, stronger, and faster than women. All of us, along
  with our siblings and our peers and perhaps our children, have passed through
  puberty, and we have watched that differentiation between the sexes occur. This is
  common human experience and knowledge.

         8.   Nevertheless, these differences have been extensively studied and
  measured. I cited many of these studies in the first paper on this topic that I
  prepared, which was submitted in litigation in January 2020. Since then, in light of
  current controversies, several authors have compiled valuable collections or reviews
  of data extensively documenting this objective fact about the human species, as
  manifest in almost all sports, each of which I have reviewed and found informative.
  These include Coleman (2020), Hilton & Lundberg (2021), World Rugby (2020),
  Harper (2021), Hamilton (2021), and a “Briefing Book” prepared by the Women’s
  Sports Policy Working Group (2021). The important paper by Handelsman et al.
  (2018) also gathers scientific evidence of the systematic and large male athletic
  advantage.

        9.   These papers and many others document that men, adolescent boys,
  and prepubertal male children, substantially outperform comparably aged women,



                                               7
                                                                              Armistead App. 0128

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.



adolescent girls and prepubertal female children, in competitions involving running
speed, swimming speed, cycling speed, jumping height, jumping distance, and
strength (to name a few, but not all, of the performance differences). As I discuss
later, it is now clear that these performance advantages for men, adolescent boys,
and prepubertal male children, are inherent to the biological differences between
the sexes.

       10. In fact, I am not aware of any scientific evidence today that disproves
that after puberty men possess large advantages in athletic performance over
women–so large that they are generally insurmountable for comparably gifted and
trained athletes at every level (i.e. (a) elite, (b) collegiate, (c) scholastic, and (d)
recreational competition). And I am not aware of any scientific evidence today that
disproves that these measured performance advantages are at least largely the
result of physiological differences between men and women which have been
measured and are reasonably well understood.

       11. My use of the term “advantage” in this paper must not be read to imply
any normative judgment. The adult female physique is simply different from the
adult male physique. Obviously, it is optimized in important respects for the
difficult task of childbearing. On average, women require far fewer calories for
healthy survival. Evolutionary biologists can and do theorize about the survival
value or “advantages” provided by these and other distinctive characteristics of the
female physique, but I will leave that to the evolutionary biologists. I use
“advantage” to refer merely to performance advantages in athletic competitions.

       12. I find in the literature a widespread consensus that the large
performance and physiological advantages possessed by males–rather than social
considerations or considerations of identity–are precisely the reason that most
athletic competitions are separated by sex, with women treated as a “protected
class.” To cite only a few statements accepting this as the justification:

           x Handelsman et al. (2018) wrote, “Virtually all elite sports are
              segregated into male and female competitions. The main justification
              is to allow women a chance to win, as women have major
              disadvantages against men who are, on average, taller, stronger, and
              faster and have greater endurance due to their larger, stronger,
              muscles and bones as well as a higher circulating hemoglobin level.”
              (803)

           x Millard-Stafford et al. (2018) wrote “Current evidence suggests that
              women will not swim or run as fast as men in Olympic events, which
              speaks against eliminating sex segregation in these individual sports”
              (530) “Given the historical context (2% narrowing in swimming over 44
              y), a reasonable assumption might be that no more than 2% of the
                                               8
                                                                             Armistead App. 0129

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


              current performance gap could still potentially be attributed to
              sociocultural influences.”, (533) and “Performance gaps between US
              men and women stabilized within less than a decade after federal
              legislation provided equal opportunities for female participation, but
              only modestly closed the overall gap in Olympic swimming by 2% (5%
              in running).” (533) Dr. Millard-Stafford, a full professor at Georgia
              Tech, holds a Ph.D. in Exercise Physiology and is a past President of
              the American College of Sports Medicine.

           x In 2021, Hilton et al. wrote, “most sports have a female category the
              purpose of which is the protection of both fairness and, in some sports,
              safety/welfare of athletes who do not benefit from the physiological
              changes induced by male levels of testosterone from puberty onwards.”
              (204)

           x In 2020 the Swiss High Court (“Tribunal Fédéral”) observed that “in
              most sports . . . women and men compete in two separate categories,
              because the latter possess natural advantages in terms of physiology.”1

           x The members of the Women’s Sports Policy Working Group wrote that
              “If sports were not sex-segregated, female athletes would rarely be
              seen in finals or on victory podiums,” and that “We have separate sex
              sport and eligibility criteria based on biological sex because this is the
              only way we can assure that female athletes have the same
              opportunities as male athletes not only to participate but to win in
              competitive sport. . . . If we did not separate athletes on the basis of
              biological sex–if we used any other physical criteria–we would never
              see females in finals or on podiums.” (WSPWG Briefing Book 2021 at 5,
              20.)

           x In 2020, the World Rugby organization stated that “the women's
              category exists to ensure protection, safety and equality for those who
              do not benefit from the biological advantage created by these biological
              performance attributes.” (World Rugby Transgender Women
              Guidelines 2020.)

           x In 2021 Harper et al. stated “…the small decrease in strength in
              transwomen after 12–36 months of GAHT [Gender Affirming Hormone
              Therapy] suggests that transwomen likely retain a strength advantage


       “dans la plupart des sports . . . les femmes et les hommes concourent dans
       1

deux catégories séparées, ces derniers étant naturellement avantagés du point de
vue physique.” Tribunal Fédéral decision of August 25, 2020, Case 4A_248/2019,
4A_398/2019, at §9.8.3.3.


                                               9
                                                                            Armistead App. 0130

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



              over cisgender women.” (7) and “…observations in trained transgender
              individuals are consistent with the findings of the current review in
              untrained transgender individuals, whereby 30 months of GAHT may
              be sufficient to attenuate some, but not all, influencing factors
              associated with muscular endurance and performance.” (8)

           x Hamilton et al. (2021), in a consensus statement for the International
              Federation of Sports Medicine (FIMS) concluded that “Transwomen
              have the right to compete in sports. However, cisgender women have
              the right to compete in a protected category.” (1409)

      13. While the sources I mention above gather more extensive scientific
evidence of this uncontroversial truth, I provide here a brief summary of
representative facts concerning the male advantage in athletic performance.

              Men are stronger.

        14. Males exhibit greater strength throughout the body. Both Handelsman
et al. (2018) and Hilton & Lundberg (2021) have gathered multiple literature
references that document this fact in various muscle groups.

       15. Men have in the neighborhood of 60%-100% greater arm strength
than women. (Handelsman 2018 at 812.)2 One study of elbow flexion strength
(basically, bringing the fist up towards the shoulder) in a large sample of men and
women found that men exhibited 109% greater isometric strength, and 89% higher
strength in a single repetition. (Hilton 2021 at 204, summarizing Hubal (2005) at
Table 2.)

       16. Grip strength is often used as a useful proxy for strength more
generally. In one study, men showed on average 57% greater grip strength than
women. (Bohannon 2019.) A wider meta-analysis of multiple grip-strength studies
not limited to athletic populations found that 18- and 19-year-old males exhibited in




       2Handelsman expresses this as women having 50% to 60% of the “upper
limb” strength of men. Handelsman cites Sale, Neuromuscular function, for this
figure and the “lower limb” strength figure. Knox et al., Transwomen in elite sport
(2018) are probably confusing the correct way to state percentages when they state
that “differences lead to decreased trunk and lower body strength by 64% and 72%
respectively, in women” (397): interpreted literally, this would imply that men have
almost 4x as much lower body strength as do women.
                                             10
                                                                             Armistead App. 0131

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


the neighborhood of 2/3 greater grip strength than females. (Handelsman 2017
Figure 3, summarizing Silverman 2011 Table 1.)3

       17. In an evaluation of maximal isometric handgrip strength in 1,654
healthy men, 533 healthy women aged 20-25 years and 60 “highly trained elite
female athletes from sports known to require high hand-grip forces (judo,
handball),” Leyk et al. (2007) observed that, “The results of female national elite
athletes even indicate that the strength level attainable by extremely high training
will rarely surpass the 50th percentile of untrained or not specifically trained men.”
(Leyk 2007 at 415.)

       18. Men have in the neighborhood of 25%-60% greater leg strength than
women. (Handelsman 2018 at 812.) In another measure, men exhibit 54% greater
knee extension torque and this male leg strength advantage is consistent across the
lifespan. (Neder 1999 at 120-121.)

      19. When male and female Olympic weightlifters of the same body weight
are compared, the top males lift weights between 30% and 40% greater than the
females of the same body weight. But when top male and female performances are
compared in powerlifting, without imposing any artificial limitations on
bodyweight, the male record is 65% higher than the female record. (Hilton 2021 at
203.)

       20. In another measure that combines many muscle groups as well as
weight and speed, moderately trained males generated 162% greater punching
power than females even though men do not possess this large an advantage in any
single bio-mechanical variable. (Morris 2020.) This objective reality was subjectively
summed up by women’s mixed-martial arts fighter Tamikka Brents, who suffered
significant facial injuries when she fought against a biological male who identified
as female and fought under the name of Fallon Fox. Describing the experience,
Brents said:

           “I’ve fought a lot of women and have never felt the strength
           that I felt in a fight as I did that night. I can’t answer whether
           it’s because she was born a man or not because I’m not a
           doctor. I can only say, I’ve never felt so overpowered ever in my
           life, and I am an abnormally strong female in my own right.”4




       3 Citing Silverman, The secular trend for grip strength in Canada and the
United States, J. Ports Sci. 29:599-606 (2011).
       4 http://whoatv.com/exclusive-fallon-foxs-latest-opponent-opens-up-to-whoatv/

(last accessed October 5, 2021).


                                              11
                                                                           Armistead App. 0132

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



             Men run faster.

     21. Many scholars have detailed the wide performance advantages enjoyed
by men in running speed. One can come at this reality from a variety of angles.

       22. Multiple authors report a male speed advantage in the neighborhood of
10%-13% in a variety of events, with a variety of study populations. Handelsman et
al. 2018 at 813 and Handelsman 2017 at 70 both report a male advantage of about
10% by age 17. Thibault et al. 2010 at 217 similarly reported a stable 10%
performance advantage across multiple events at the Olympic level. Tønnessen et
al. (2015 at 1-2) surveyed the data and found a consistent male advantage of 10%-
12% in running events after the completion of puberty. They document this for both
short sprints and longer distances. One group of authors found that the male
advantage increased dramatically in ultra-long-distance competition (Lepers &
Knechtle 2013.)

       23. A great deal of current interest has been focused on track events. It is
worth noting that a recent analysis of publicly available sports federation and
tournament records found that men enjoy the least advantage in running events, as
compared to a range of other events and metrics, including jumping, pole vaulting,
tennis serve speed, golf drives, baseball pitching speed, and weightlifting. (Hilton
2021 at 201-202.) Nevertheless, as any serious runner will recognize, the
approximately 10% male advantage in running is an overwhelming difference. Dr.
Hilton calculates that “approximately 10,000 males have personal best times that
are faster than the current Olympic 100m female champion.” (Hilton 2021 at 204.)
Professors Doriane Coleman, Jeff Wald, Wickliffe Shreve, and Richard Clark
dramatically illustrated this by compiling the data and creating the figure below
(last accessed on February 10, 2022, at https://bit.ly/35yOyS4), which shows that
the lifetime best performances of three female Olympic champions in the 400m
event—including Team USA’s Sanya Richards-Ross and Allyson Felix—would not
match the performances of “literally thousands of boys and men, including
thousands who would be considered second tier in the men’s category” just in 2017
alone: (data were drawn from the International Association of Athletics Federations
(IAAF) website which provides complete, worldwide results for individuals and
events, including on an annual and an all-time basis).




                                            12
                                    Armistead App. 0133

G. Brown        Expert Report, B.P.J. v. WV BOE et al.









           13
                                                                         Armistead App. 0134

G. Brown                                             Expert Report, B.P.J. v. WV BOE et al.



       24. Professor Coleman and her colleague Wicklyffe Shreve also created the
table below (last accessed on February 10, 2022, at https://bit.ly/37E1s2X), which
“compares the number of men—males over 18—competing in events reported to the
International Association of Athletics Federation whose results in each event in
2017 would have ranked them above the very best elite woman that year.”




      25. The male advantage becomes insuperable well before the
developmental changes of puberty are complete. Dr. Hilton documents that even
“schoolboys”–defined as age 15 and under–have beaten the female world records in
running, jumping, and throwing events. (Hilton 2021 at 204.)

      26. Similarly, Coleman and Shreve created the table below (last accessed
on February 10, 2022, at https://bit.ly/37E1s2X), which “compares the number of
boys—males under the age of 18—whose results in each event in 2017 would rank
them above the single very best elite [adult] woman that year:” data were drawn
from the International Association of Athletics Federations (IAAF) website




                                           14
                                                                             Armistead App. 0135

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


       27. In an analysis I have performed of running events (consisting of the
100 m, 200 m, 400 m, 800 m, 1500 m, 5000 m, and 10000 m) in the Division 1,
Division 2, and Division 3 NCAA Outdoor track championships for the years of
2010-2019, the average performance across all events of the 1st place man was
14.1% faster than the 1st place woman, with the smallest difference being a 10.2%
advantage for men in the Division 1 100 m race. The average 8th place man across
all events (the last place to earn the title of All American) was 11.2% faster than 1st
place woman, with the smallest difference being a 6.5% advantage for men in the
Division 1 100 m race. (Brown et al. Unpublished observations, to be presented at
the 2022 Annual Meeting of the American College of Sports Medicine.)

       28. Athletic.net® is an internet-based resource providing “results, team,
and event management tools to help coaches and athletes thrive.” Among the
resources available on Athletic.net are event records that can be searched by
nationally or by state age group, school grade, and state. Higerd (2021) in an
evaluation of high school track running performance records from five states(CA,
FL, MN, NY, WA), over three years (2017 – 2019) observed that males were 14.38%
faster than females in the 100M (at 99), 16.17% faster in the 200M (at 100), 17.62%
faster in the 400M (at 102), 17.96% faster in the 800M (at 103), 17.81% faster in the
1600M (at 105), and 16.83% faster in the 3200M (at 106).

             Men jump higher and farther.

       29. Jumping involves both leg strength and speed as positive factors, with
body weight of course a factor working against jump height. Despite their
substantially greater body weight, males enjoy an even greater advantage in
jumping than in running. Handelsman 2018 at 813, looking at youth and young
adults, and Thibault 2010 at 217, looking at Olympic performances, both found
male advantages in the range of 15%-20%. See also Tønnessen 2015 (approximately
19%); Handelsman 2017 (19%); Hilton 2021 at 201 (18%). Looking at the vertical
jump called for in volleyball, research on elite volleyball players found that males
jumped on average 50% higher during an “attack” at the net than did females.
(Sattler 2015; see also Hilton 2021 at 203 (33% higher vertical jump).)

       30. Higerd (2021) in an evaluation of high school high jump performance
available through the track and field database athletic.net®, which included five
states (CA, FL, MN, NY, WA), over three years (2017 – 2019) (at 82) observed that
in 23,390 females and 26,843 males, females jumped an average of 1.35 m and
males jumped an average of 1.62 m, for an 18.18% performance advantage for males
(at 96). In an evaluation of long jump performance in 45,705 high school females
and 54,506 high school males the females jumped an average of 4.08 m and males
jumped an average of 5.20 m, for a 24.14% performance advantage for males (at 97).




                                              15
                                                                          Armistead App. 0136

G. Brown                                              Expert Report, B.P.J. v. WV BOE et al.



       31. The combined male advantage of body height and jump height means,
for example, that a total of seven women in the WNBA have ever dunked a
basketball in the regulation 10 foot hoop,5 while the ability to dunk appears to be
almost universal among NBA players: “Since the 1996–97 season (the earliest data
is available from Basketball-Reference.com), 1,801 different [NBA] players have
combined for 210,842 regular-season dunks, and 1,259 out of 1,367 players (or 92%)
who have played at least 1,000 minutes have dunked at least once.”6

             Men throw, hit, and kick faster and farther.

     32. Strength, arm-length, and speed combine to give men a large
advantage over women in throwing. This has been measured in a number of studies.

       33. One study of elite male and female baseball pitchers showed that men
throw baseballs 35% faster than women—81 miles/hour for men vs. 60 miles/hour
for women. (Chu 2009.) By age 12, “boys’ throwing velocity is already between 3.5
and 4 standard deviation units higher than the girls’.” (Thomas 1985 at 276.) By age
seventeen, the average male can throw a ball farther than 99% of seventeen-year-
old females. (Lombardo 2018; Chu 2009; Thomas 1985 at 268.) Looking at publicly
available data, Hilton & Lundberg found that in both baseball pitching and the field
hockey “drag flick,” the record ball speeds achieved by males are more than 50%
higher than those achieved by females. (Hilton 2021 at 202-203.)

       34. Men achieve serve speeds in tennis more that 15% faster than women;
and likewise in golf achieve ball speeds off the tee more than 15% faster than
women. (Hilton 2021 at 202.)

     35. Males are able to throw a javelin more than 30% farther than females.
(Lombardo 2018 Table 2; Hilton 2021 at 203.)

       36. Men serve and spike volleyballs with higher velocity than women, with
a performance advantage in the range of 29-34%. (Hilton 2021 at 204 Fig. 1.)

       37. Men are also able to kick balls harder and faster. A study comparing
collegiate soccer players found that males kick the ball with an average 20% greater
velocity than females. (Sakamoto 2014.)




       5 https://www.espn.com/wnba/story/_/id/32258450/2021-wnba-playoffs-
brittney-griner-owns-wnba-dunking-record-coming-more.
       6 https://www.si.com/nba/2021/02/22/nba-non-dunkers-patty-mills-tj-

mcconnell-steve-novak-daily-cover
                                            16
                                                                               Armistead App. 0137

   G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


                Males exhibit faster reaction times.

          38. Interestingly, men enjoy an additional advantage over women in
   reaction time–an attribute not obviously related to strength or metabolism (e.g.
   V02max). “Reaction time in sports is crucial in both simple situations such as the
   gun shot in sprinting and complex situations when a choice is required. In many
   team sports this is the foundation for tactical advantages which may eventually
   determine the outcome of a game.” (Dogan 2009 at 92.) “Reaction times can be an
   important determinant of success in the 100m sprint, where medals are often
   decided by hundredths or even thousandths of a second.” (Tønnessen 2013 at 885.)

           39. The existence of a sex-linked difference in reaction times is consistent
   over a wide range of ages and athletic abilities. (Dykiert 2012.) Even by the age of 4
   or 5, in a ruler-drop test, males have been shown to exhibit 4% to 6% faster reaction
   times than females. (Latorre-Roman 2018.) In high school athletes taking a common
   baseline “ImPACT” test, males showed 3% faster reaction times than females.
   (Mormile 2018.) Researchers have found a 6% male advantage in reaction times of
   both first-year medical students (Jain 2015) and world-class sprinters (Tønnessen
   2013).

          40. Most studies of reaction times use computerized tests which ask
   participants to hit a button on a keyboard or to say something in response to a
   stimulus. One study on NCAA athletes measured “reaction time” by a criterion
   perhaps more closely related to athletic performance–that is, how fast athletes
   covered 3.3 meters after a starting signal. Males covered the 3.3 meters 10% faster
   than females in response to a visual stimulus, and 16% faster than females in
   response to an auditory stimulus. (Spierer 2010.)

         41. Researchers have speculated that sex-linked differences in brain
   structure, as well as estrogen receptors in the brain, may be the source of the
   observed male advantage in reaction times, but at present this remains a matter of
   speculation and hypothesis. (Mormile at 19; Spierer at 962.)

III.   Men have large measured physiological differences compared to
        women which demonstrably or likely explain their performance
        advantages.

          42. No single physiological characteristic alone accounts for all or any one
   of the measured advantages that men enjoy in athletic performance. However,
   scientists have identified and measured a number of physiological factors that
   contribute to superior male performance.




                                                17
                                                                            Armistead App. 0138

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



             Men are taller and heavier than women

       43. In some sports, such as basketball and volleyball, height itself provides
competitive advantage. While some women are taller than some men, based on data
from 20 countries in North America, Europe, East Asia, and Australia, the 50th
percentile for body height for women is 164.7 cm (5 ft 5 inches) and the 50th
percentile for body height for men is 178.4 cm (5 ft 10 inches). Helping to illustrate
the inherent height difference between men and women, from the same data
analysis, the 95th percentile for body height for women is 178.9 cm (5 feet 10.43
inches), which is only 0.5 cm taller than the 50th percentile for men (178.4 cm; 5 feet
10.24 inches), while the 95th percentile for body height for men is 193.6 cm (6 feet
4.22 inches). (Roser 2013.)

       44. To look at a specific athletic population, an evaluation of NCAA
Division 1 basketball players compared 68 male guards and 59 male forwards to 105
female guards and 91 female forwards, and found that on average the male guards
were 187.4 ± 7.0 cm tall and weighed 85.2 ± 7.4 kg while the female guards were
171.6 ± 5.0 cm tall and weighed 68.0 ± 7.4 kg. The male forwards were 201.7 ± 4.0
cm tall and weighed 105.3 ± 5.9 kg while the female forwards were 183.5 ± 4.4 cm
tall and weighed 82.2 ± 12.5 kg. (Fields 2018 at 3.)

             Males have larger and longer bones, stronger bones, and
              different bone configuration.

      45. Obviously, males on average have longer bones. “Sex differences in
height have been the most thoroughly investigated measure of bone size, as adult
height is a stable, easily quantified measure in large population samples. Extensive
twin studies show that adult height is highly heritable with predominantly additive
genetic effects that diverge in a sex-specific manner from the age of puberty
onwards.” (Handelsman 2018 at 818.) “Pubertal testosterone exposure leads to an
ultimate average greater height in men of 12–15 centimeters, larger bones, greater
muscle mass, increased strength and higher hemoglobin levels.” (Gooren 2011 at
653.)

       46. “Men have distinctively greater bone size, strength, and density than
do women of the same age. As with muscle, sex differences in bone are absent prior
to puberty but then accrue progressively from the onset of male puberty due to the
sex difference in exposure to adult male circulating testosterone concentrations.”
(Handelsman 2018 at 818.)

      47. “[O]n average men are 7% to 8% taller with longer, denser, and
stronger bones, whereas women have shorter humerus and femur cross-sectional



                                             18
                                                                               Armistead App. 0139

G. Brown                                                   Expert Report, B.P.J. v. WV BOE et al.


areas being 65% to 75% and 85%, respectively, those of men.” (Handelsman 2018 at
818.)

       48. Greater height, leg, and arm length themselves provide obvious
advantages in several sports. But male bone geometry also provides less obvious
advantages. “The major effects of men’s larger and stronger bones would be
manifest via their taller stature as well as the larger fulcrum with greater leverage
for muscular limb power exerted in jumping, throwing, or other explosive power
activities.” (Handelsman 2018 at 818.)

      49. Male advantage in bone size is not limited to length, as larger bones
provide the mechanical framework for larger muscle mass. “From puberty onwards,
men have, on average, 10% more bone providing more surface area. The larger
surface area of bone accommodates more skeletal muscle so, for example, men have
broader shoulders allowing more muscle to build. This translates into 44% less
upper body strength for women, providing men an advantage for sports like boxing,
weightlifting and skiing. In similar fashion, muscle mass differences lead to
decreased trunk and lower body strength by 64% and 72%, respectively in women.
These differences in body strength can have a significant impact on athletic
performance, and largely underwrite the significant differences in world record
times and distances set by men and women.” (Knox 2019 at 397.)

       50. Meanwhile, distinctive aspects of the female pelvis geometry cut
against athletic performance. “[T]he widening of the female pelvis during puberty,
balancing the evolutionary demands of obstetrics and locomotion, retards the
improvement in female physical performance.” (Handelsman 2018 at 818.) “[T]he
major female hormones, oestrogens, can have effects that disadvantage female
athletic performance. For example, women have a wider pelvis changing the hip
structure significantly between the sexes. Pelvis shape is established during
puberty and is driven by oestrogen. The different angles resulting from the female
pelvis leads to decreased joint rotation and muscle recruitment ultimately making
them slower.” (Knox 2019 at 397.)

       51. There are even sex-based differences in foot size and shape.
Wunderlich & Cavanaugh (2001) observed that a “foot length of 257 mm represents
a value that is … approximately the 20th percentile men’s foot lengths and the 80th
percentile women’s foot lengths.” (607) and “For a man and a woman, both with
statures of 170 cm (5 feet 7 inches), the man would have a foot that was
approximately 5 mm longer and 2 mm wider than the woman.” (608). Based on
these, and other analyses, they conclude that “female feet and legs are not simply
scaled-down versions of male feet but rather differ in a number of shape
characteristics, particularly at the arch, the lateral side of the foot, the first toe, and
the ball of the foot.” (605) Further, Fessler et al. (2005) observed that “female foot
length is consistently smaller than male foot length” (44) and concludes that



                                               19
                                                                             Armistead App. 0140

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.



“proportionate foot length is smaller in women” (51) with an overall conclusion that
“Our analyses of genetically disparate populations reveal a clear pattern of sexual
dimorphism, with women consistently having smaller feet proportionate to stature
than men.” (53)

        52. Beyond simple performance, the greater density and strength of male
bones provide higher protection against stresses associated with extreme physical
effort: “[S]tress fractures in athletes, mostly involving the legs, are more frequent in
females, with the male protection attributable to their larger and thicker bones.”
(Handelsman 2018 at 818.)

             Males have much larger muscle mass.

       53. The fact that, on average, men have substantially larger muscles than
women is as well known to common observation as men’s greater height. But the
male advantage in muscle size has also been extensively measured. The differential
is large.

       54. “On average, women have 50% to 60% of men’s upper arm muscle
cross-sectional area and 65% to 70% of men’s thigh muscle cross-sectional area, and
women have 50% to 60% of men’s upper limb strength and 60% to 80% of men’s leg
strength. Young men have on average a skeletal muscle mass of >12 kg greater
than age-matched women at any given body weight.” (Handelsman 2018 at 812. See
also Gooren 2011 at 653, Thibault 2010 at 214.)

      55. “There is convincing evidence that the sex differences in muscle mass
and strength are sufficient to account for the increased strength and aerobic
performance of men compared with women and is in keeping with the differences in
world records between the sexes.” (Handelsman 2018 at 816.)

       56. Once again, looking at specific and comparable populations of athletes,
an evaluation of NCAA Division 1 basketball players consisting of 68 male guards
and 59 male forwards, compared to 105 female guards and 91 female forwards,
reported that on average the male guards had 77.7 ± 6.4 kg of fat free mass and 7.4
± 3.1 kg fat mass while the female guards had 54.6 ± 4.4 kg fat free mass and 13.4 ±
5.4 kg fat mass. The male forwards had 89.5 ± 5.9 kg fat free mass and 15.9 ± 5.6
kg fat mass while the female forwards had 61.8 ± 5.9 kg fat free mass and 20.5 ± 7.7
kg fat mass. (Fields 2018 at 3.)

             Females have a larger proportion of body fat.

      57. While women have smaller muscles, they have proportionately more
body fat, in general a negative for athletic performance. “Oestrogens also affect body

                                              20
                                                                            Armistead App. 0141

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


composition by influencing fat deposition. Women, on average, have higher
percentage body fat, and this holds true even for highly trained healthy athletes
(men 5%–10%, women 8%–15%). Fat is needed in women for normal reproduction
and fertility, but it is not performance-enhancing. This means men with higher
muscle mass and less body fat will normally be stronger kilogram for kilogram than
women.” (Knox 2019 at 397.)

      58. “[E]lite females have more (<13 vs. <5 %) body fat than males. Indeed,
much of the difference in [maximal oxygen uptake] between males and females
disappears when it is expressed relative to lean body mass. . . . Males possess on
average 7–9 % less percent body fat than females.” (Lepers 2013 at 853.)

       59. Knox et al. observe that both female pelvis shape and female body fat
levels “disadvantage female athletes in sports in which speed, strength and recovery
are important,” (Knox 2019 at 397), while Tønnessen et al. describe the “ratio
between muscular power and total body mass” as “critical” for athletic performance.
(Tønnessen 2015 at 7.)

             Males are able to metabolize and release energy to muscles at a
              higher rate due to larger heart and lung size, and higher
              hemoglobin concentrations.

       60. While advantages in bone size, muscle size, and body fat are easily
perceived and understood by laymen, scientists also measure and explain the male
athletic advantage at a more abstract level through measurements of metabolism,
or the ability to deliver energy to muscles throughout the body.

       61. Energy release at the muscles depends centrally on the body’s ability
to deliver oxygen to the muscles, where it is essential to the complex chain of
biochemical reactions that make energy available to power muscle fibers. Men have
multiple distinctive physiological attributes that together give them a large
advantage in oxygen delivery.

      62. Oxygen is taken into the blood in the lungs. Men have greater
capability to take in oxygen for multiple reasons. “[L]ung capacity [is] larger in
men because of a lower diaphragm placement due to Y-chromosome genetic
determinants.” (Knox 2019 at 397.) Supporting larger lung capacity, men have
“greater cross-sectional area of the trachea”; that is, they can simply move more air
in and out of their lungs in a given time. (Hilton 2021 at 201.)

      63. More, male lungs provide superior oxygen exchange even for a given
volume: “The greater lung volume is complemented by testosterone-driven
enhanced alveolar multiplication rate during the early years of life. Oxygen
exchange takes place between the air we breathe and the bloodstream at the alveoli,



                                             21
                                                                          Armistead App. 0142

G. Brown                                              Expert Report, B.P.J. v. WV BOE et al.



so more alveoli allows more oxygen to pass into the bloodstream. Therefore, the
greater lung capacity allows more air to be inhaled with each breath. This is
coupled with an improved uptake system allowing men to absorb more oxygen.”
(Knox 2019 at 397.)

       64. “Once in the blood, oxygen is carried by haemoglobin. Haemoglobin
concentrations are directly modulated by testosterone so men have higher levels
and can carry more oxygen than women.” (Knox 2019 at 397.) “It is well known that
levels of circulating hemoglobin are androgen-dependent and consequently higher in
men than in women by 12% on average…. Increasing the amount of hemoglobin in
the blood has the biological effect of increasing oxygen transport from lungs to
tissues, where the increased availability of oxygen enhances aerobic energy
expenditure.” (Handelsman 2018 at 816.) (See also Lepers 2013 at 853; Handelsman
2017 at 71.) “It may be estimated that as a result the average maximal oxygen
transfer will be ~10% greater in men than in women, which has a direct impact on
their respective athletic capacities.” (Handelsman 2018 at 816.)

      65. But the male metabolic advantage is further multiplied by the fact that
men are also able to circulate more blood per second than are women.
“Oxygenated blood is pumped to the active skeletal muscle by the heart. The left
ventricle chamber of the heart is the reservoir from which blood is pumped to the
body. The larger the left ventricle, the more blood it can hold, and therefore, the
more blood can be pumped to the body with each heartbeat, a physiological
parameter called ‘stroke volume’.The female heart size is, on average, 85% that of a
male resulting in the stroke volume of women being around 33% less.” (Knox 2018
at 397.) Hilton cites different studies that make the same finding, reporting that
men on average can pump 30% more blood through their circulatory system per
minute (“cardiac output”) than can women. (Hilton 2021 at 202.)

       66. Finally, at the cell where the energy release is needed, men appear to
have yet another advantage. “Additionally, there is experimental evidence that
testosterone increases . . . mitochondrial biogenesis, myoglobin expression, and
IGF-1 content, which may augment energetic and power generation of skeletal
muscular activity.” (Handelsman 2018 at 811.)

       67. “Putting all of this together, men have a much more efficient
cardiovascular and respiratory system.” (Knox 2019 at 397.) A widely accepted
measurement that reflects the combined effects of all these respiratory,
cardiovascular, and metabolic advantages is referred to as “V02max,” which refers
to the maximum rate at which an individual can consume oxygen during aerobic




                                            22
                                                                              Armistead App. 0143

  G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


  exercise.7 Looking at 11 separate studies, including both trained and untrained
  individuals, Pate et al. concluded that men have a 50% higher V02max than women
  on average, and a 25% higher V02max in relation to body weight. (Pate 1984 at 92.
  See also Hilton 2021 at 202.)


IV.   The role of testosterone in the development of male advantages in
       athletic performance.

         68. The following tables of reference ranges for circulating testosterone in
  males and females are presented to help provide context for some of the subsequent
  information regarding athletic performance and physical fitness in children, youth,
  and adults, and regarding testosterone suppression in transwomen and athletic
  regulations. These data were obtained from the Mayo Clinic Laboratories (available
  at https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-
  Interpretive, accessed January 14, 2022).


  Reference ranges for serum testosterone concentrations in males and females.
   Age                            Males                        Females
   0 – 5 months             2.6 – 13.9 nmol/l               0.7 – 2.8 nmol/l
   6 months – 9 years        0.2 – 0.7 nmol/l               0.2 – 0.7 nmol/l
   10 – 11 years             0.2 – 4.5 nmol/l               0.2 – 1.5 nmol/l
   12 -13 years             0.2 – 27.7 nmol/l               0.2 – 2.6 nmol/l
   14 years                 0.2 – 41.6 nmol/l               0.2 – 2.6 nmol/l
   15 – 16 years            3.5 – 41.6 nmol/l               0.2 – 2.6 nmol/l
   17 – 18 years            10.4 – 41.6 nmol/l              0.7 – 2.6 nmol/l
   19 years and older       8.3 – 32.9 nmol/l               0.3 – 2.1 nmol/l

   Please note that testosterone concentrations are sometimes expressed in units of
   ng/dl, and 1 nmol/l = 28.85 ng/dl.

         69. Tanner Stages can be used to help evaluate the onset and progression
  of puberty and may be more helpful in evaluating normal testosterone
  concentrations than age in adolescents. “Puberty onset (transition from Tanner
  stage I to Tanner stage II) occurs for boys at a median age of 11.5 years and for girls



         7 V02max is “based on hemoglobin concentration, total blood volume, maximal
  stroke volume, cardiac size/mass/compliance, skeletal muscle blood flow, capillary
  density, and mitochondrial content.” International Statement, The Role of
  Testosterone in Athletic Performance (January 2019), available at
  https://law.duke.edu/sites/default/files/centers/sportslaw/Experts_T_Statement_201
  9.pdf.


                                               23
                                                                            Armistead App. 0144

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



at a median age of 10.5 years. . . . Progression through Tanner stages is variable.
Tanner stage V (young adult) should be reached by age 18.”
(https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-
Interpretive, accessed January 14, 2022).

Reference Ranges for serum testosterone concentrations by Tanner stage
      Tanner Stage                    Males                    Females
      I (prepubertal)            0.2 – 0.7 nmol/l           0.7 – 0.7 nmol/l
             II                  0.3 – 2.3 nmo/l            0.2 – 1.6 nmol/l
            III                 0.9 – 27.7 nmol/l           0.6 – 2.6 nmol/l
             IV                 2.9 – 41.6 nmol/l           0.7 – 2.6 nmol/l
      V (young adult)           10.4 – 32.9 nmol/           0.4 – 2.1 nmol/l


       70. Senefeld et al. (2020 at 99) state that “Data on testosterone levels in
children and adolescents segregated by sex are scarce and based on convenience
samples or assays with limited sensitivity and accuracy.” They therefore “analyzed
the timing of the onset and magnitude of the divergence in testosterone in youths
aged 6 to 20 years by sex using a highly accurate assay” (isotope dilution liquid
chromatography tandem mass spectrometry) Senefeld observed a significant
difference beginning at age 11, which is to say about fifth grade.

Serum testosterone concentrations (nmol/L) in youths aged 6 to 20 years measured
using isotope dilution liquid chromatography tandem mass spectrometry (Senefeld
et al. ,2020, at 99)
                                    %R\V            *LUOV
                      $JH \  WK WK WK WK WK WK
                                   
                                   
                                   
                                   
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  

                                             24
                                                                            Armistead App. 0145

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.




             Boys exhibit advantages in athletic performance even before
              puberty.

       71. It is often said or assumed that boys enjoy no significant athletic
advantage over girls before puberty. However, this is not true. Writing in their
seminal work on the physiology of elite young female athletes, McManus and
Armstrong (2011) reviewed the differences between boys and girls regarding bone
density, body composition, cardiovascular function, metabolic function, and other
physiologic factors that can influence athletic performance. They stated, “At birth,
boys tend to have a greater lean mass than girls. This difference remains small but
detectable throughout childhood with about a 10% greater lean mass in boys than
girls prior to puberty.” (28) “Sexual dimorphism underlies much of the physiologic
response to exercise,” and most importantly these authors concluded that, “Young
girl athletes are not simply smaller, less muscular boys.” (23)

      72. Certainly, boys’ physiological and performance advantages increase
rapidly from the beginning of puberty until around age 17-19. But much data and
multiple studies show that significant physiological differences, and significant
male athletic performance advantages in certain areas, exist before significant
developmental changes associated with male puberty have occurred.

        73. Starting at birth, girls have more body fat and less fat-free mass than
boys. Davis et al. (2019) in an evaluation of 602 infants reported that at birth and
age 5 months, infant boys have larger total body mass, body length, and fat-free
mass while having lower percent body fat than infant girls. In an evaluation of 20
boys and 20 girls ages 3-8 years old, matched for age, height, and body weight
Taylor et al. (Taylor 1997) reported that the “boys had significantly less fat, a lower
% body fat and a higher bone-free lean tissue mass than the girls” when “expressed
as a percentage of the average fat mass of the boys”, the girls’ fat mass was 52%
higher than the boys “…while the bone-free lean tissue mass was 9% lower” (at
1083.) In an evaluation of 376 prepubertal [Tanner Stage 1] boys and girls, Taylor
et al. (2010) observed that the boys had 21.6% more lean mass, and 13% less body
fat (when expressed as percent of total body mass) than did the girls. In a review of
22 peer reviewed publications on the topic, Staiano and Katzmarzyk (2012) conclude
that “… girls have more T[otal]B[ody]F[at] than boys throughout childhood and
adolescence. (at 4.)

       74. In the seminal textbook, Growth, Maturation, and Physical Activity,
Malina et al. (2004) present a summary of data from Gauthier et al. (1983) which
present data from “a national sample of Canadian children and youth”
demonstrating that from ages 7 to17, boys have a higher aerobic power output than
do girls of the same ages when exercise intensity is measured using heart rate



                                             25
                                                                            Armistead App. 0146

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



(Malina at 242.) That is to say, that at a heart rate of 130 beats per minute, or 150,
or 170, a 7 to 17 year old boy should be able to run, bike, or swim faster than a
similarly aged girl.

      75. Considerable data from school-based fitness testing exists showing
that prepubertal boys outperform comparably aged girls in tests of muscular
strength, muscular endurance, and running speed. These sex-based differences in
physical fitness are relevant to the current issue of sex-based sports categories
because, as stated by Lesinski et al. (2020), in an evaluation “of 703 male and
female elite young athletes aged 8–18” (1) “fitness development precedes sports
specialization” (2) and further observed that “males outperformed females in
C[ounter]M[ovement]J[ump], D[rop]J[ump], C[hange]o[f]D[irection speed]
performances and hand grip strength.” (5).

       76. Tambalis et al. (2016) states that “based on a large data set comprising
424,328 test performances” (736) using standing long jump to measure lower body
explosive power, sit and reach to measure flexibility, timed 30 second sit ups to
measure abdominal and hip flexor muscle endurance, 10 x 5 meter shuttle run to
evaluate speed and agility, and multi-stage 20 meter shuttle run test to estimate
aerobic performance (738). “For each of the fitness tests, performance was better in
boys compared with girls (p < 0.001), except for the S[it and] R[each] test (p <
0.001).” (739) In order to illustrate that the findings of Tambalis (2016) are not
unique to children in Greece, the authors state “Our findings are in accordance with
recent studies from Latvia [ ] Portugal [ ] and Australia [Catley & Tomkinson
(2013)].”(744).

       77. The 20-m multistage fitness test is a commonly used maximal running
aerobic fitness test used in the Eurofit Physical Fitness Test Battery and the
FitnessGram Physical Fitness test. It is also known as the 20-meter shuttle run
test, PACER test, or beep test (among other names; this is not the same test as the
shuttle run in the Presidential Fitness Test). This test involves continuous running
between two lines 20 meters apart in time to recorded beeps. The participants stand
behind one of the lines facing the second line and begin running when instructed by
the recording. The speed at the start is quite slow. The subject continues running
between the two lines, turning when signaled by the recorded beeps. After about
one minute, a sound indicates an increase in speed, and the beeps will be closer
together. This continues each minute (level). If the line is reached before the beep
sounds, the subject must wait until the beep sounds before continuing. If the line is
not reached before the beep sounds, the subject is given a warning and must
continue to run to the line, then turn and try to catch up with the pace within two
more 'beeps'. The subject is given a warning the first time they fail to reach the line
(within 2 meters) and eliminated after the second warning.


                                             26
                                                                                           Armistead App. 0147

G. Brown                                                               Expert Report, B.P.J. v. WV BOE et al.


       78. To illustrate the sex-based performance differences observed by
Tambalis, I have prepared the following table showing the number of laps
completed in the 20 m shuttle run for children ages 6-18 years for the low, middle,
and top decile (Tambalis 2016 at 740 & 742), and have calculated the percent
difference between the boys and girls using the same equation as Millard-Stafford
(2018).

                    ൊ  

 1XPEHURIODSVFRPSOHWHGLQWKHPVKXWWOHUXQIRUFKLOGUHQDJHV\HDUV
                  0DOH                            )HPDOH                 0DOH)HPDOH'LIIHUHQFH
       WK       WK       WK     WK        WK      WK      WK    WK      WK
 $JH  LOH       LOH       LOH     LOH       LOH      LOH       LOH    LOH      LOH
                                                             
                                                             
                                                             
                                                          
                                                          
                                                         
                                                         
                                                             
                                                             
                                                            
                                                          
                                                            
                                                           



       79. The Presidential Fitness Test was widely used in schools in the United
States from the late 1950s until 2013 (when it was phased out in favor of the
Presidential Youth Fitness Program and FitnessGram, both of which focus on
health-related physical fitness and do not present data in percentiles). Students
participating in the Presidential Fitness Test could receive “The National Physical
Fitness Award” for performance equal to the 50th percentile in five areas of the
fitness test, “while performance equal to the 85th percentile could receive the
Presidential Physical Fitness Award.” Tables presenting the 50th and 85th
percentiles for the Presidential Fitness Test for males and females ages 6 – 17, and
differences in performance between males and females, for curl-ups, shuttle run, 1
mile run, push-ups, and pull-ups appear in the Appendix.

       80. For both the 50th percentile (The National Physical Fitness Award) and
the 85th percentile (Presidential Physical Fitness Award), with the exception of curl-
ups in 6-year-old children, boys outperform girls. The difference in pull-ups for the
85th percentile for ages 7 through 17 are particularly informative with boys




                                                      27
                                                                                           Armistead App. 0148

G. Brown                                                               Expert Report, B.P.J. v. WV BOE et al.



outperforming girls by 100% – 1200%, highlighting the advantages in upper body
strength in males.

       81. A very recent literature review commissioned by the five United
Kingdom governmental Sport Councils concluded that while “[i]t is often assumed
that children have similar physical capacity regardless of their sex, . . . large-scale
data reports on children from the age of six show that young males have significant
advantage in cardiovascular endurance, muscular strength, muscular endurance,
speed/agility and power tests,” although they “score lower on flexibility tests.” (UK
Sports Councils’ Literature Review 2021 at 3.)

       82. Hilton et al., also writing in 2021, reached the same conclusion: “An
extensive review of fitness data from over 85,000 Australian children aged 9–17
years old showed that, compared with 9-year-old females, 9-year-old males were
faster over short sprints (9.8%) and 1 mile (16.6%), could jump 9.5% further from a
standing start (a test of explosive power), could complete 33% more push-ups in 30
[seconds] and had 13.8% stronger grip.” (Hilton 2021 at 201, summarizing the
findings of Catley & Tomkinson 2013.)

       83. The following data are taken from Catley & Tomkinson (2013 at 101)
showing the low, middle, and top decile for 1.6 km run (1.0 mile) run time for 11,423
girls and boys ages 9-17.


 NPUXQ PLOH UXQWLPHIRUJLUOVDQGER\VDJHV
                         0DOH                             )HPDOH                0DOH)HPDOH'LIIHUHQFH
              WK       WK       WK       WK      WK     WK       WK    WK      WK
 $JH         LOH       LOH       LOH       LOH      LOH     LOH       LOH    LOH      LOH
                                                            
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           



        84. Tomkinson et al. (2018) performed a similarly extensive analysis of
literally millions of measurements of a variety of strength and agility metrics from
the “Eurofit” test battery on children from 30 European countries. They provide
detailed results for each metric, broken out by decile. Sampling the low, middle, and
top decile, 9-year-old boys performed better than 9-year-old girls by between 6.5%


                                                         28
                                                                                       Armistead App. 0149

G. Brown                                                           Expert Report, B.P.J. v. WV BOE et al.


and 9.7% in the standing broad jump; from 11.4% to 16.1% better in handgrip; and
from 45.5% to 49.7% better in the “bent-arm hang.” (Tomkinson 2018.)

       85. The Bent Arm Hang test is a measure of upper body muscular strength
and endurance used in the Eurofit Physical Fitness Test Battery. To perform the
Bent Arm Hang, the child is assisted into position with the body lifted to a height so
that the chin is level with the horizontal bar (like a pull up bar). The bar is grasped
with the palms facing away from body and the hands shoulder width apart. The
timing starts when the child is released. The child then attempts to hold this
position for as long as possible. Timing stops when the child's chin falls below the
level of the bar, or the head is tilted backward to enable the chin to stay level with
the bar.

       86. Using data from Tomkinson (2018; table 7 at 1452), the following table
sampling the low, middle, and top decile for bent arm hang for 9- to 17-year-old
children can be constructed:



 %HQW$UP+DQJWLPH LQVHFRQGV IRUFKLOGUHQDJHV\HDUV
                  0DOH                                 )HPDOH              0DOH)HPDOH'LIIHUHQFH
         WK     WK        WK        WK        WK    WK     WK     WK      WK
 $JH   LOH      LOH        LOH        LOH        LOH    LOH     LOH     LOH      LOH
                                                  
                                                 
                                                 
                                                 
                                                 
                                          
                                          
                                               
                                               



       87. Evaluating these data, a 9-year-old boy in the 50th percentile (that is
to say a 9-year-old boy of average upper body muscular strength and endurance)
will perform better in the bent arm hang test than 9 through 17-year-old girls in the
50th percentile. Similarly, a 9-year-old boy in the 90th percentile will perform
better in the bent arm hang test than 9 through 17-year-old girls in the 90th
percentile.

       88. Using data from Tomkinson et al. (2017; table 1 at 1549), the following
table sampling the low, middle, and top decile for running speed in the last stage of
the 20 m shuttle run for 9- to 17-year-old children can be constructed.




                                                        29
                                                                                        Armistead App. 0150

G. Brown                                                            Expert Report, B.P.J. v. WV BOE et al.



 PVKXWWOH5XQQLQJVSHHG NPKDWWKHODVWFRPSOHWHGVWDJH 
                   0DOH                              )HPDOH                0DOH)HPDOH'LIIHUHQFH
         WK      WK       WK        WK       WK    WK      WK     WK       WK
 $JH    LOH      LOH       LOH        LOH      LOH     LOH      LOH     LOH      LOH
                                                     
                                                    
                                                    
                                                    
                                                  
                                                 
                                                 
                                                 
                                                



       89. Evaluating these data, a 9-year-old boy in the 50th percentile (that is
to say a 9-year-old boy of average running speed) will run faster in the final stage of
the 20 m shuttle run than 9 through 17-year-old girls in the 50th percentile.
Similarly, a 9-year-old boy in the 90th percentile will run faster in the final stage of
the 20-m shuttle run than 9 through 15, and 17-year-old girls in the 90th percentile
and will be 0.01 km/h (0.01%) slower than 16-year-old girls in the 90th percentile.

       90. Just using these two examples for bent arm hang and 20-m shuttle
running speed (Tomkinson 2107, Tomkinson 2018) based on large sample sizes
(thus having tremendous statistical power) it becomes apparent that a 9-year-old
boy will be very likely to outperform similarly trained girls of his own age and older
in athletic events involving upper body muscle strength and/or running speed.

       91. Another report published in 2014 analyzed physical fitness
measurements of 10,302 children aged 6 -10.9 years of age, from the European
countries of Sweden, Germany, Hungary, Italy, Cyprus, Spain, Belgium, and
Estonia. (De Miguel-Etayo et al. 2014.) The authors observed “… that boys
performed better than girls in speed, lower- and upper-limb strength and
cardiorespiratory fitness.” (57) The data showed that for children of comparable
fitness (i.e. 99th percentile boys vs. 99th percentile girls, 50th percentile boys vs.
50th percentile girls, etc.) the boys outperform the girls at every age in
measurements of handgrip strength, standing long jump, 20-m shuttle run, and
predicted VO2max (pages 63 and 64, respectively). For clarification, VO2max is the
maximal oxygen consumption, which correlates to 30-40% of success in endurance
sports.

       92. The standing long jump, also called the Broad Jump, is a common and
easy to administer test of explosive leg power used in the Eurofit Physical Fitness
Test Battery and in the NFL Combine. In the standing long jump, the participant
stands behind a line marked on the ground with feet slightly apart. A two-foot take-

                                                        30
                                                                                      Armistead App. 0151

G. Brown                                                          Expert Report, B.P.J. v. WV BOE et al.


off and landing is used, with swinging of the arms and bending of the knees to
provide forward drive. The participant attempts to jump as far as possible, landing
on both feet without falling backwards. The measurement is taken from takeoff line
to the nearest point of contact on the landing (back of the heels) with the best of
three attempts being scored.

       93. Using data from De Miguel-Etayo et al. (2014, table 3 at 61), which
analyzed physical fitness measurements of 10,302 children aged 6 -10.9 years of
age, from the European countries of Sweden, Germany, Hungary, Italy, Cyprus,
Spain, Belgium, and Estonia, the following table sampling the low, middle, and top
decile for standing long jump for 6- to 9-year-old children can be constructed:

 6WDQGLQJ%URDG-XPS FP IRUFKLOGUHQDJHV\HDUV
                 0DOH                              )HPDOH             0DOH)HPDOH'LIIHUHQFH
           WK    WK      WK      WK      WK    WK     WK    WK      WK
 $JH      LOH    LOH     LOH      LOH       LOH    LOH     LOH    LOH      LOH
                                         
                                         
                                        
                                        
                                        
                                       



       94. Another study of Eurofit results for over 400,000 Greek children
reported similar results. “[C]ompared with 6-year-old females, 6-year-old males
completed 16.6% more shuttle runs in a given time and could jump 9.7% further
from a standing position.” (Hilton 2021 at 201, summarizing findings of Tambalis et
al. 2016.)

       95. Silverman (2011) gathered hand grip data, broken out by age and sex,
from a number of studies. Looking only at the nine direct comparisons within
individual studies tabulated by Silverman for children aged 7 or younger, in eight of
these the boys had strength advantages of between 13 and 28 percent, with the
remaining outlier recording only a 4% advantage for 7-year-old boys. (Silverman
2011 Table 1.)

       96. To help illustrate the importance of one specific measure of physical
fitness in athletic performance, Pocek (2021) stated that to be successful, volleyball
“players should distinguish themselves, besides in skill level, in terms of above-
average body height, upper and lower muscular power, speed, and agility. Vertical
jump is a fundamental part of the spike, block, and serve.” (8377) Pocek further
stated that “relative vertical jumping ability is of great importance in volleyball
regardless of the players’ position, while absolute vertical jump values can
differentiate players not only in terms of player position and performance level but
in their career trajectories.” (8382)



                                                      31
                                                                                             Armistead App. 0152

G. Brown                                                                 Expert Report, B.P.J. v. WV BOE et al.



       97. Using data from Ramírez-Vélez (2017; table 2 at 994) which analyzed
vertical jump measurements of 7,614 healthy Colombian schoolchildren aged 9 -17.9
years of age the following table sampling the low, middle, and top decile for vertical
jump can be constructed:

 9HUWLFDO-XPS+HLJKW FP IRUFKLOGUHQDJHV\HDUV
                     0DOH                          )HPDOH                   0DOH)HPDOH'LIIHUHQFH
           WK      WK     WK      WK      WK      WK         WK    WK      WK
 $JH      LOH      LOH     LOH      LOH      LOH      LOH         LOH    LOH      LOH
                                                        
                                                        
                                                        
                                                       
                                                     
                                                     
                                                     
                                                     
                                                     



       98. Similarly, using data from Taylor (2010; table 2, at 869) which
analyzed vertical jump measurements of 1,845 children aged 10 -15 years in
primary and secondary schools in the East of England, the following table sampling
the low, middle, and top decile for vertical jump can be constructed:

 9HUWLFDO-XPS+HLJKW FP IRUFKLOGUHQ\HDUV
                    0DOH                            )HPDOH                  0DOH)HPDOH'LIIHUHQFH
           WK      WK     WK      WK      WK      WK        WK    WK      WK
 $JH      LOH      LOH     LOH      LOH      LOH      LOH        LOH    LOH      LOH
                                                   
                                                    
                                                  
                                                  
                                                 
                                                 



       99. As can be seen from the data from Ramírez-Vélez (2017) and Taylor
(2010), males consistently outperform females of the same age and percentile in
vertical jump height. Both sets of data show that an 11-year-old boy in the 90th
percentile for vertical jump height will outperform girls in the 90th percentile at
ages 11 and 12, and will be equal to girls at ages 13, 14, and possibly 15. These data
indicate that an 11-year-old would be likely to have an advantage over girls of the
same age and older in sports such as volleyball where “absolute vertical jump


                                                          32
                                                                            Armistead App. 0153

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


values can differentiate players not only in terms of player position and
performance level but in their career trajectories.” (Pocek 2021 at 8382.)

       100. Boys also enjoy an advantage in throwing well before puberty. “Boys
exceed girls in throwing velocity by 1.5 standard deviation units as early as 4 to 7
years of age. . . The boys exceed the girls [in throwing distance] by 1.5 standard
deviation units as early as 2 to 4 years of age.” (Thomas 1985 at 266.) This means
that the average 4- to 7-year-old boy can out-throw approximately 87% of all girls of
his age.

        101. Record data from USA Track & Field indicate that boys outperform
girls in track events even in the youngest age group for whom records are kept (age
8 and under).8

           American Youth Outdoor Track & Field Record times in
                 age groups 8 and under (time in seconds)

 Event                Boys                  Girls                  Difference
 100M                 13.65                 13.78                  0.95%
 200M                 27.32                 28.21                  3.26%
 400M                 62.48                 66.10                  5.79%
 800M                 148.59                158.11                 6.41%
 1500M                308.52                314.72                 2.01%
 Mean                                                              3.68%


       102. Looking at the best times within a single year shows a similar pattern
of consistent advantage for even young boys. I consider the 2018 USATF Region 8
Junior Olympic Championships for the youngest age group (8 and under).9

2018 USATF Region 8 Junior Olympic Championships for the 8 and under
age group
Event           Boys              Girls            Difference
100M            15.11             15.64            3.51%
200M            30.79             33.58            9.06%
400M            71.12             77.32            8.72%
800M            174.28            180.48           3.56%
1500M           351.43            382.47           8.83%
Mean                                               6.74%


       8http://legacy.usatf.org/statistics/records/view.asp?division=american&locatio

n=outdoor%20track%20%26%20field&age=youth&sport=TF
     9 https://www.athletic.net/TrackAndField/meet/384619/results/m/1/100m
     9 https://www.athletic.net/CrossCountry/Division/List.aspx?DivID=62211




                                             33
                                                                            Armistead App. 0154

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.




       103. Using Athletic.net9, for 2021 Cross Country and Track & Field data for
boys and girls in the 7-8, 9-10, and 11-12 year old age group club reports, and for
5th, 6th, and 7th grade for the whole United States I have compiled the tables for
3000 m events, and for the 100-m, 200-m, 400-m, 800-m, 1600-m, 3000-m, long
jump, and high jump Track and Field data to illustrate the differences in individual
athletic performance between boys and girls, all of which appear in the Appendix.
The pattern of males outperforming females was consistent across events, with rare
anomalies, only varying in the magnitude of difference between males and females.

        104. Similarly, using Athletic.net, for 2021 Track & Field data for boys and
girls in the 6th grade for the state of West Virginia, I have compiled tables, which
appear in the appendix, comparing the performance of boys and girls for the 100-m,
200-m, 400-m, 800-m, 1600-m, and 3200-m running events in which the 1st place
boy was consistently faster than the 1st place girl, and the average performance of
the top 10 boys was consistently faster than the average performance for the top 10
girls. Based on the finishing times for the 1st place boy and girl in the 6th grade in
West Virginia 1600-m race, and extrapolating the running time to a running pace,
the 1st place boy would be expected to finish 273 m in front of the 1st place girl,
which is 2/3 of a lap on a standard 400-m track, or almost the length of 3 football
fields. In comparison, the 1st place boy would finish 66 m in front of the 2nd place
boy, and the 1st place girl would finish 20 m in front of the 2nd place girl.




                                             34
                                                                                             Armistead App. 0155

G. Brown                                                                 Expert Report, B.P.J. v. WV BOE et al.


 7RS:HVW9LUJLQLDER\VDQGJLUOVWKJUDGHRXWGRRUWUDFNIRU WLPHLQVHFRQGV 
         P                     P                       P            
    %R\V *LUOV                %R\V *LUOV                 %R\V *LUOV 
      'LIIHUHQFH   'LIIHUHQFH   'LIIHUHQFH
      EHWZHHQ   EHWZHHQ   EHWZHHQ
      ER\DQG   ER\DQG   ER\DQG
          JLUO             JLUO             JLUO
                                       
                                                      
              $YHUDJH         $YHUDJH        $YHUDJH
             GLIIHUHQFH   GLIIHUHQFH   GLIIHUHQFH
                            ER\VYV                     ER\VYV                    ER\VYV
                JLUOV           JLUOV          JLUOV
                                      
                                                                          
         P                           P                    P           
      %R\V *LUOV                    %R\V *LUOV               %R\V *LUOV 
             'LIIHUHQFH   'LIIHUHQFH   'LIIHUHQFH
            EHWZHHQ   EHWZHHQ   EHWZHHQ
            ER\DQG   ER\DQG   ER\DQG
                 JLUO            JLUO           JLUO
                                    
                                                      
              $YHUDJH         $YHUDJH        $YHUDJH
             GLIIHUHQFH   GLIIHUHQFH   GLIIHUHQFH
                            ER\VYV                     ER\VYV                    ER\VYV
                JLUOV           JLUOV          JLUOV
                                     



       105. As serious runners will recognize, differences of 3%, 5%, or 8% are not
easily overcome. During track competition the difference between first and second
place, or second and third place, or third and fourth place (and so on) is often 0.5 -
0.7%, with some contests being determined by as little as 0.01%.

       106. I performed an analysis of running events (consisting of the 100-m,
200-m, 400-m, 800-m, 1500-m, 5000-m, and 10,000-m) in the Division 1, Division 2,
and Division 3 NCAA Outdoor championships for the years of 2010-2019: the mean
difference between 1st and 2nd place was 0.48% for men and 0.86% for women. The
mean difference between 2nd and 3rd place was 0.46% for men and 0.57% for women.
The mean difference between 3rd place and 4th place was 0.31% for men and 0.44%
for women. The mean difference between 1st place and 8th place (the last place to
earn the title of All American) was 2.65% for men and 3.77% for women. (Brown et
al. Unpublished observations, to be presented at the 2022 Annual Meeting of the
American College of Sports Medicine.)

      107. A common response to empirical data showing pre-pubertal
performance advantages in boys is the argument that the performance of boys may



                                                           35
                                                                             Armistead App. 0156

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.



represent a social–cultural bias for boys to be more physically active, rather than
representing inherent sex-based differences in pre-pubertal physical fitness.
However, the younger the age at which such differences are observed, and the more
egalitarian the culture within which they are observed, the less plausible this
hypothesis becomes. Eiberg et al. (2005) measured body composition, VO2max, and
physical activity in 366 Danish boys and 332 Danish girls between the ages of 6 and
7 years old. Their observations indicated that VO2max was 11% higher in boys than
girls. When expressed relative to body mass the boys’ VO2max was still 8% higher
than the girls. The authors stated that “…no differences in haemoglobin or sex
hormones10 have been reported in this age group,” yet “… when children with the
same VO2max were compared, boys were still more active, and in boys and girls
with the same P[hysical] A[ctivity] level, boys were fitter.” (728). These data
indicate that in pre-pubertal children, in a very egalitarian culture regarding
gender roles and gender norms, boys still have a measurable advantage in regards
to aerobic fitness when known physiological and physical activity differences are
accounted for.

       108. And, as I have mentioned above, even by the age of 4 or 5, in a ruler-
drop test, boys exhibit 4% to 6% faster reaction times than girls. (Latorre-Roman
2018.)

      109. When looking at the data on testosterone concentrations previously
presented, along with the data on physical fitness and athletic performance
presented, boys have advantages in athletic performance and physical fitness before
there are marked differences in testosterone concentrations between boys and girls.

       110. For the most part, the data I review above relate to pre-pubertal
children. Today, we also face the question of inclusion in female athletics of males
who have undergone “puberty suppression.” The UK Sport Councils Literature
Review notes that, “In the UK, so-called ‘puberty blockers’ are generally not used
until Tanner maturation stage 2-3 (i.e. after puberty has progressed into early
sexual maturation).” (9.) While it is outside my expertise, my understanding is that
current practice with regard to administration of puberty blockers is similar in the
Unites States. Tanner stages 2 and 3 generally encompass an age range from 10 to
14 years old, with significant differences between individuals. Like the authors of
the UK Sports Council Literature Review, I am “not aware of research” directly
addressing the implications for athletic capability of the use of puberty blockers.
(UK Sport Councils Literature Review at 9.) As Handelsman documents, the male
advantage begins to increase rapidly–along with testosterone levels–at about age
11, or “very closely aligned to the timing of the onset of male puberty.” (Handelsman
2017.) It seems likely that males who have undergone puberty suppression will


       10   This term would include testosterone and estrogens.
                                              36
                                                                           Armistead App. 0157

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.


have physiological and performance advantages over females somewhere between
those possessed by pre-pubertal boys, and those who have gone through full male
puberty, with the degree of advantage in individual cases depending on that
individual’s development and the timing of the start of puberty blockade.

       111. Tack et al. (2018) observed that in 21 transgender-identifying
biological males, administration of antiandrogens for 5-31 months (commencing at
16.3 ± 1.21 years of age), resulted in nearly, but not completely, halting of normal
age-related increases in muscle strength. Importantly, muscle strength did not
decrease after administration of antiandrogens. Rather, despite antiandrogens,
these individuals retained higher muscle mass, lower percent body fat, higher body
mass, higher body height, and higher grip strength than comparable girls of the
same age. (Supplemental tables).

       112. Klaver et al. (2018 at 256) demonstrated that the use of puberty
blockers did not eliminate the differences in lean body mass between biological male
and female teenagers. Subsequent use of puberty blockers combined with cross-sex
hormone use (in the same subjects) still did not eliminate the differences in lean
body mass between biological male and female teenagers. Furthermore, by 22 years
of age, the use of puberty blockers, and then puberty blockers combined with cross
sex hormones, and then cross hormone therapy alone for over 8 total years of
treatment still had not eliminated the difference in lean body mass between
biological males and females.

       113. The effects of puberty blockers on growth and development, including
muscle mass, fat mass, or other factors that influence athletic performance, have
been minimally researched. Indeed, Klaver et al. (2018) is the only published
research that I am aware of that has evaluated the use of puberty blockers on body
composition. As stated by Roberts and Carswell (2021), “No published studies have
fully characterized the impact of [puberty blockers on] final adult height or current
height in an actively growing TGD youth.” (1680). Likewise, “[n]o published
literature provides guidance on how to best predict the final adult height for
TGD youth receiving GnRHa and gender- affirming hormonal treatment.” (1681).
Thus, the effect of prescribing puberty blockers to a male child before the onset of
puberty on the physical components of athletic performance is largely unknown.
There is not any scientific evidence that such treatment eliminates the pre-existing
performance advantages that prepubertal males have over prepubertal females.

             The rapid increase in testosterone across male puberty drives
              characteristic male physiological changes and the increasing
              performance advantages.

        114. While boys exhibit some performance advantage even before puberty,
it is both true and well known to common experience that the male advantage



                                            37
                                                                            Armistead App. 0158

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



increases rapidly, and becomes much larger, as boys undergo puberty and become
men. Empirically, this can be seen by contrasting the modest advantages reviewed
immediately above against the large performance advantages enjoyed by men that I
have detailed in Section II.

       115. Multiple studies (along with common observation) document that the
male performance advantage begins to increase during the early years of puberty,
and then increases rapidly across the middle years of puberty (about ages 12-16).
(Tønnessen 2015; Handelsman 2018 at 812-813.) Since it is well known that
testosterone levels increase by more than an order of magnitude in boys across
puberty, it is unsurprising that Handelsman finds that these increases in male
performance advantage correlate to increasing testosterone levels, as presented in
his chart reproduced below. (Handelsman 2018 at 812-13.)




       116. Handelsman further finds that certain characteristic male changes
including boys’ increase in muscle mass do not begin at all until “circulating
testosterone concentrations rise into the range of males at mid-puberty, which are
higher than in women at any age.” (Handelsman 2018 at 810.)

       117. Knox et al. (2019) agree that “[i]t is well recognised that testosterone
contributes to physiological factors including body composition, skeletal structure,
and the cardiovascular and respiratory systems across the life span, with significant
influence during the pubertal period. These physiological factors underpin strength,
speed, and recovery with all three elements required to be competitive in almost all
sports.” (Knox 2019 at 397.) “High testosterone levels and prior male physiology
provide an all-purpose benefit, and a substantial advantage. As the IAAF says, ‘To
the best of our knowledge, there is no other genetic or biological trait encountered in
female athletics that confers such a huge performance advantage.’” (Knox 2019 at
399.)

                                             38
                                                                              Armistead App. 0159

 G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


        118. However, the undisputed fact that high (that is, normal male) levels of
 testosterone drive the characteristically male physiological changes that occur
 across male puberty does not at all imply that artificially depressing testosterone
 levels after those changes occur will reverse all or most of those changes so as to
 eliminate the male athletic advantage. This is an empirical question. As it turns
 out, the answer is that while some normal male characteristics can be changed by
 means of testosterone suppression, others cannot be, and all the reliable evidence
 indicates that males retain large athletic advantages even after long-term
 testosterone suppression.

V.   The available evidence shows that suppression of testosterone in a
      male after puberty has occurred does not substantially eliminate the
      male athletic advantage.

        119. The 2011 “NCAA Policy on Transgender Student-Athlete
 Participation” requires only that males who identify as transgender be on
 unspecified and unquantified “testosterone suppression treatment” for “one
 calendar year” prior to competing in women’s events. In supposed justification of
 this policy, the NCAA’s Office of Inclusion asserts that, “It is also important to know
 that any strength and endurance advantages a transgender woman arguably may
 have as a result of her prior testosterone levels dissipate after about one year of
 estrogen or testosterone-suppression therapy.” (NCAA 2011 at 8.)

        120. Similarly, writing in 2018, Handelsman et al. could speculate that
 even though some male advantages established during puberty are “fixed and
 irreversible (bone size),” “[t]he limited available prospective evidence . . . suggests
 that the advantageous increases in muscle and hemoglobin due to male circulating
 testosterone concentrations are induced or reversed during the first 12 months.”
 (Handelsman 2018 at 824.)

       121. But these assertions or hypotheses of the NCAA and Handelsman are
 now strongly contradicted by the available science. In this section, I examine what
 is known about whether suppression of testosterone in males can eliminate the
 male physiological and performance advantages over females.

              Empirical studies find that males retain a strong performance
               advantage even after lengthy testosterone suppression.

        122. As my review in Section II indicates, a very large body of literature
 documents the large performance advantage enjoyed by males across a wide range
 of athletics. To date, only a limited number of studies have directly measured the
 effect of testosterone suppression and the administration of female hormones on the
 athletic performance of males. These studies report that testosterone suppression
 for a full year (and in some cases much longer) does not come close to eliminating



                                               39
                                                                           Armistead App. 0160

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



male advantage in strength (hand grip, leg strength, and arm strength) or running
speed.

       Hand Grip Strength

      123. As I have noted, hand grip strength is a well-accepted proxy for
general strength. Multiple separate studies, from separate groups, report that
males retain a large advantage in hand strength even after testosterone
suppression to female levels.

       124. In a longitudinal study, Van Caenegem et al. reported that males who
underwent standard testosterone suppression protocols lost only 7% hand strength
after 12 months of treatment, and only a cumulative 9% after two years. (Van
Caenegem 2015 at 42.) As I note above, on average men exhibit in the neighborhood
of 60% greater hand grip strength than women, so these small decreases do not
remotely eliminate that advantage. Van Caenegem et al. document that their
sample of males who elected testosterone suppression began with less strength than
a control male population. Nevertheless, after one year of suppression, their study
population still had hand grip only 21% less than the control male population, and
thus still far higher than a female population. (Van Caenegem 2015 at 42.)

       125. Scharff et al. (2019) measured grip strength in a large cohort of male-
to-female subjects from before the start of hormone therapy through one year of
hormone therapy. The hormone therapy included suppression of testosterone to less
than 2 nml/L “in the majority of the transwomen,” (1024), as well as administration
of estradiol (1021). These researchers observed a small decrease in grip strength in
these subjects over that time (Fig. 2), but mean grip strength of this group remained
far higher than mean grip strength of females—specifically, “After 12 months, the
median grip strength of transwomen [male-to-female subjects] still falls in the 95th
percentile for age-matched females.” (1026).

       126. Still a third longitudinal study, looking at teen males undergoing
testosterone suppression, “noted no change in grip strength after hormonal
treatment (average duration 11 months) of 21 transgender girls.” (Hilton 2021 at
207, summarizing Tack 2018.)

       127. In a fourth study, Lapauw et al. (2008) looked at the extreme case of
testosterone suppression by studying a population of 23 biologically male
individuals who had undergone at least two years of testosterone suppression,
followed by sex reassignment surgery that included “orchidectomy” (that is, surgical
castration), and then at least an additional three years before the study date.
Comparing this group against a control of age- and height-matched healthy males,
the researchers found that the individuals who had gone through testosterone
suppression and then surgical castration had an average hand grip (41 kg) that was

                                            40
                                                                            Armistead App. 0161

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


24% weaker than the control group of healthy males. But this remains at least 25%
higher than the average hand-grip strength of biological females as measured by
Bohannon et al. (2019).

      128. Summarizing these and a few other studies measuring strength loss
(in most cases based on hand grip) following testosterone suppression, Harper et al.
(2021) conclude that “strength loss with 12 months of [testosterone suppression] . . .
ranged from non-significant to 7%. . . . [T]he small decrease in strength in
transwomen after 12-36 months of [testosterone suppression] suggests that
transwomen likely retain a strength advantage over cisgender women.” (Hilton
2021 at 870.)

       Arm Strength

       129. Lapauw et al. (2008) found that 3 years after surgical castration,
preceded by at least two years of testosterone suppression, biologically male
subjects had 33% less bicep strength than healthy male controls. (Lapauw (2008) at
1018.) Given that healthy men exhibit between 89% and 109% greater arm strength
than healthy women, this leaves a very large residual arm strength advantage over
biological women.

       130. Roberts et al. have recently published an interesting longitudinal
study, one arm of which considered biological males who began testosterone
suppression and cross-sex hormones while serving in the United States Air Force.
(Roberts 2020.) One measured performance criterion was pushups per minute,
which, while not exclusively, primarily tests arm strength under repetition. Before
treatment, the biological male study subjects who underwent testosterone
suppression could do 45% more pushups per minute than the average for all Air
Force women under the age of 30 (47.3 vs. 32.5). After between one and two years of
testosterone suppression, this group could still do 33% more pushups per minute.
(Table 4.) Further, the body weight of the study group did not decline at all after
one to two years of testosterone suppression (in fact rose slightly) (Table 3), and was
approximately 24 pounds (11.0 kg) higher than the average for Air Force women
under the age of 30. (Roberts 2020 at 3.) This means that the individuals who had
undergone at least one year of testosterone suppression were not only doing 1/3
more pushups per minute, but were lifting significantly more weight with each
pushup.

       131. After two years of testosterone suppression, the study sample in
Roberts et al. was only able to do 6% more pushups per minute than the Air Force
female average. But their weight remained unchanged from their pre-treatment
starting point, and thus about 24 pounds higher than the Air Force female average.
As Roberts et al. explain, “as a group, transwomen weigh more than CW [cis-
women]. Thus, transwomen will have a higher power output than CW when



                                             41
                                                                            Armistead App. 0162

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



performing an equivalent number of push-ups. Therefore, our study may
underestimate the advantage in strength that transwomen have over CW.” (Roberts
2020 at 4.)

       Leg Strength

       132. Wiik et al. (2020), in a longitudinal study that tracked 11 males from
the start of testosterone suppression through 12 months after treatment initiation,
found that isometric strength levels measured at the knee “were maintained over
the [study period].”11 (808) “At T12 [the conclusion of the one-year study], the
absolute levels of strength and muscle volume were greater in [male-to-female
subjects] than in . . . CW [women who had not undergone any hormonal therapy].”
(Wiik 2020 at 808.) In fact, Wiik et al. reported that “muscle strength after 12
months of testosterone suppression was comparable to baseline strength. As a
result, transgender women remained about 50% stronger than . . . a reference
group of females.” (Hilton 2021 at 207, summarizing Wiik 2020.)

       133. Lapauw et al. (2008) found that 3 years after surgical castration,
preceded by at least two years of testosterone suppression, subjects had peak knee
torque only 25% lower than healthy male controls. (Lapauw 2008 at 1018.) Again,
given that healthy males exhibit 54% greater maximum knee torque than healthy
females, this leaves these individuals with a large average strength advantage over
females even years after sex reassignment surgery.

       Running speed

      134. The most striking finding of the recent Roberts et al. study concerned
running speed over a 1.5 mile distance–a distance that tests midrange endurance.
Before suppression, the MtF study group ran 21% faster than the Air Force female
average. After at least 2 year of testosterone suppression, these subjects still ran
12% faster than the Air Force female average. (Roberts 2020 Table 4.)

       135. The specific experience of the well-known case of NCAA athlete Cece
Telfer is consistent with the more statistically meaningful results of Roberts et al.,
further illustrating that male-to-female transgender treatment does not negate the
inherent athletic performance advantages of a post-pubertal male. In 2016 and 2017
Cece Telfer competed as Craig Telfer on the Franklin Pierce University men’s track
team, being ranked 200th and 390th (respectively) against other NCAA Division 2
men. “Craig” Telfer did not qualify for the National Championships in any events.
Telfer did not compete in the 2018 season while undergoing testosterone


       11Isometric strength measures muscular force production for a given amount
of time at a specific joint angle but with no joint movement.
                                             42
                                                                             Armistead App. 0163

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


suppression (per NCAA policy). In 2019 Cece Telfer competed on the Franklin
Pierce University women’s team, qualified for the NCAA Division 2 Track and Field
National Championships, and placed 1st in the women’s 400 meter hurdles and
placed third in the women’s 100 meter hurdles. (For examples of the media coverage
of this please see KWWSVZZZZDVKLQJWRQWLPHVFRPQHZVMXQFHFHWHOIHUIUDQNOLQ
SLHUFHWUDQVJHQGHUKXUGOHUZL last accessed May 29, 2020.
KWWSVZZZQHZVKXEFRQ]KRPHVSRUWDWKOHWLFVWUDQVJHQGHUZRPDQFHFHWHOIHU
ZKRSUHYLRXVO\FRPSHWHGDVDPDQZLQVQFDDWUDFNFKDPSLRQVKLSKWPO (last accessed May
29, 2020.)

       136. The table below shows the best collegiate performance times from the
combined 2015 and 2016 seasons for Cece Telfer when competing as a man in men’s
events, and the best collegiate performance times from the 2019 season when
competing as a woman in women’s events. Comparing the times for the running
events (in which male and female athletes run the same distance) there is no
statistical difference between Telfer’s “before and after” times. Calculating the
difference in time between the male and female times, Telfer performed an average
of 0.22% faster as a female. (Comparing the performance for the hurdle events
(marked with H) is of questionable validity due to differences between men’s and
women’s events in hurdle heights and spacing, and distance for the 110m vs. 100
m.) While this is simply one example, and does not represent a controlled
experimental analysis, this information provides some evidence that male-to-female
transgender treatment does not negate the inherent athletic performance
advantages of a postpubertal male. (These times were obtained from
https://www.tfrrs.org/athletes/6994616/Franklin_Pierce/CeCe_Telfer.html and
https://www.tfrrs.org/athletes/5108308.html, last accessed May 29, 2020).

       As Craig Telfer (male athlete)            As Cece Telfer (female athlete)
 Event              Time (seconds)           Event             Time (seconds)
       55                 7.01                     55                7.02
       60                 7.67                     60                7.63
       100                12.17                    100               12.24
       200                24.03                    200               24.30
       400                55.77                    400               54.41
       55 H †             7.98                     55 H†             7.91
       60 H †             8.52                     60 H†             8.33
       110 H†             15.17                    100 H†            13.41*
       400 H‡             57.34                    400 H‡            57.53**
* women’s 3rd place, NCAA Division 2 National Championships
** women’s 1st place, NCAA Division 2 National Championships
† men’s hurdle height is 42 inches with differences in hurdle spacing between men
and women
‡ men’s hurdle height is 36 inches, women’s height is 30 inches with the same
spacing between hurdles


                                              43
                                                                            Armistead App. 0164

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



      137. Similarly, University of Pennsylvania swimmer Lia Thomas began
competing in the women’s division in the fall of 2021, after previously competing for
U. Penn. in the men’s division. Thomas has promptly set school, pool, and/or league
women’s records in 200 yard freestyle, 500 yard freestyle, and 1650 yard freestyle
competitions, beating the nearest female in the 1650 yard by an unheard-of 38
seconds.

        138. In a pre-peer review article, Senefeld, Coleman, Hunter, and Joyner
(doi: https://doi.org/10.1101/2021.12.28.21268483, accessed January 12, 2022)
“compared the gender-related differences in performance of a transgender swimmer
who competed in both the male and female NCAA (collegiate) categories to the sex-
related differences in performance of world and national class swimmers” and
observed that this athlete [presumably Lia Thomas based on performance times and
the timing of this article] was unranked in 2018-2019 in the 100-yard, ranked 551st
in the 200-yard, 65th in the 500-yard 32nd in the 1650-yards men’s freestyle. After
following the NCAA protocol for testosterone suppression and competing as a
woman in 2021-2022, this swimmer was ranked 94th in the 100-yard, 1st in the 200-
yard, 1st in the 500-yard, and 6th in the 1650-yard women’s freestyle. The
performance times swimming as a female, when compared to swimming as a male,
were 4.6% slower in the 100-yard, 2.6% slower in the 200-yard, 5.6% slower in the
500-yard, and 6.8% slower in the 1650-yard events than when swimming as a male.
It is important to note that these are mid-season race times and do not represent
season best performance times or in a championship event where athletes often set
their personal record times. The authors concluded “…that for middle distance
events (100, 200 and 400m or their imperial equivalents) lasting between about one
and five minutes, the decrements in performance of the transgender woman
swimmer are less than expected on the basis of a comparison of a large cohort of
world and national class performances by female and male swimmers” and “it is
possible that the relative improvements in this swimmer’s rankings in the women’s
category relative to the men’s category are due to legacy effects of testosterone on a
number of physiological factors that can influence athletic performance.”

       139. Harper (2015) has often been cited as “proving” that testosterone
suppression eliminates male advantage. And indeed, hedged with many
disclaimers, the author in that article does more or less make that claim with
respect to “distance races,” while emphasizing that “the author makes no claims as
to the equality of performances, pre and post gender transition, in any other sport.”
(Harper 2015 at 8.) However, Harper (2015) is in effect a collection of unverified
anecdotes, not science. It is built around self-reported race times from just eight
self-selected transgender runners, recruited “mostly” online. How and on what
websites the subjects were recruited is not disclosed, nor is anything said about how
those not recruited online were recruited. Thus, there is no information to tell us
whether these eight runners could in any way be representative, and the

                                             44
                                                                            Armistead App. 0165

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


recruitment pools and methodology, which could bear on ideological bias in their
self-reports, is not disclosed.

       140. Further, the self-reported race times relied on by Harper (2015) span
29 years. It is well known that self-reported data, particularly concerning
emotionally or ideologically fraught topics, is unreliable, and likewise that memory
of distant events is unreliable. Whether the subjects were responding from memory
or from written records, and if so what records, is not disclosed, and does not appear
to be known to the author. For six of the subjects, the author claims to have been
able to verify “approximately half” of the self-reported times. Which scores these are
is not disclosed. The other two subjects responded only anonymously, so nothing
about their claims could be or was verified. In short, neither the author nor the
reader knows whether the supposed “facts” on which the paper’s analysis is based
are true.

       141. Even if we could accept them at face value, the data are largely
meaningless. Only two of the eight study subjects reported (undefined) “stable
training patterns,” and even with consistent training, athletic performance
generally declines with age. As a result, when the few data points span 29 years, it
is not possible to attribute declines in performance to asserted testosterone
suppression. Further, distance running is usually not on a track, and race times
vary significantly depending on the course and the weather. Only one reporting
subject who claimed a “stable training pattern” reported “before and after” times on
the same course within three years’ time,” which the author acknowledges would
“represent the best comparison points.”

       142. Harper (2015) to some extent acknowledges its profound
methodological flaws, but seeks to excuse them by the difficulty of breaking new
ground. The author states that, “The first problem is how to formulate a study to
create a meaningful measurement of athletic performance, both before and after
testosterone suppression. No methodology has been previously devised to make
meaningful measurements.” (2) This statement was not accurate at the time of
publication, as there are innumerable publications with validated methodology for
comparing physical fitness and/or athletic performance between people of different
ages, sexes, and before and after medical treatment, any of which could easily have
been used with minimal or no adaptation for the purposes of this study. Indeed, well
before the publication of Harper (2015), several authors that I have cited in this
review had performed and published disciplined and methodologically reliable
studies of physical performance and physiological attributes “before and after”
testosterone suppression.

      143. More recently, and to her credit, Harper has acknowledged the finding
of Roberts (2020) regarding the durable male advantage in running speed in the 1.5
mile distance, even after two years of testosterone suppression. She joins with co-



                                             45
                                                                            Armistead App. 0166

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



authors in acknowledging that this study of individuals who (due to Air Force
physical fitness requirements) “could at least be considered exercise trained,” agrees
that Roberts’ data shows that “transwomen ran significantly faster during the 1.5
mile fitness test than ciswomen,” and declares that this result is “consistent with
the findings of the current review in untrained transgender individuals” that even
30 months of testosterone suppression does not eliminate all male advantages
“associated with muscle endurance and performance.” (Harper 2021 at 8.) The
Harper (2021) authors conclude overall “that strength may be well preserved in
transwomen during the first 3 years of hormone therapy,” and that [w]hether
transgender and cisgender women can engage in meaningful sport [in competition
with each other], even after [testosterone suppression], is a highly debated
question.” (Harper 2021 at 1, 8.)

       144. Higerd (2021) “[a]ssess[ed] the probability of a girls’ champion being
biologically male” by evaluating 920,11 American high school track and field
performances available through the track and field database Athletic.net in five
states (CA, FL, MN, NY, WA), over three years (2017 – 2019),in eight events; high
jump, long jump, 100M, 200M, 400M, 800M, 1600M, and 3200M and estimated that
“there is a simulated 81%-98% probability of transgender dominance occurring in
the female track and field event” and further concluded that “in the majority of
cases, the entire podium (top of the state) would be MTF [transgender athletes]” (at
xii).

             Testosterone suppression does not reverse important male
              physiological advantages.

       145. We see that, once a male has gone through male puberty, later
testosterone suppression (or even castration) leaves large strength and performance
advantages over females in place. It is not surprising that this is so. What is now a
fairly extensive body of literature has documented that many of the specific male
physiological advantages that I reviewed in Section II are not reversed by
testosterone suppression after puberty, or are reduced only modestly, leaving a
large advantage over female norms still in place.

       146. Handelsman has well documented that the large increases in
physiological and performance advantages characteristic of men develop in tandem
with, and are likely driven by, the rapid and large increases in circulating
testosterone levels that males experience across puberty, or generally between the
ages of about 12 through 18. (Handelsman 2018.) Some have misinterpreted
Handelsman as suggesting that all of those advantages are and remain entirely
dependent–on an ongoing basis–on current circulating testosterone levels. This is a
misreading of Handelsman, who makes no such claim. As the studies reviewed
above demonstrate, it is also empirically false with respect to multiple measures of

                                             46
                                                                            Armistead App. 0167

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


performance. Indeed, Handelsman himself, referring to the Roberts et al. (2020)
study which I describe below, has recently written that “transwomen treated with
estrogens after completing male puberty experienced only minimal declines in
physical performance over 12 months, substantially surpassing average female
performance for up to 8 years.” (Handelsman 2020.)

       147. As to individual physiological advantages, the more accurate and more
complicated reality is reflected in a statement titled “The Role of Testosterone in
Athletic Performance,” published in 2019 by several dozen sports medicine experts
and physicians from many top medical schools and hospitals in the U.S. and around
the world. (Levine et al. 2019.) This expert group concurs with Handelsman
regarding the importance of testosterone to the male advantage, but recognizes that
those advantages depend not only on current circulating testosterone levels in the
individual, but on the “exposure in biological males to much higher levels of
testosterone during growth, development, and throughout the athletic career.”
(Emphasis added.) In other words, both past and current circulating testosterone
levels affect physiology and athletic capability.

       148. Available research enables us to sort out, in some detail, which specific
physiological advantages are immutable once they occur, which can be reversed
only in part, and which appear to be highly responsive to later hormonal
manipulation. The bottom line is that very few of the male physiological advantages
I have reviewed in Section II above are largely reversible by testosterone
suppression once an individual has passed through male puberty.

       Skeletal Configuration

       149. It is obvious that some of the physiological changes that occur during
“growth and development” across puberty cannot be reversed. Some of these
irreversible physiological changes are quite evident in photographs that have
recently appeared in the news of transgender competitors in female events. These
include skeletal configuration advantages including:

           x Longer and larger bones that give height, weight, and leverage
              advantages to men;

           x More advantageous hip shape and configuration as compared to
              women.

       Cardiovascular Advantages

      150. Developmental changes for which there is no apparent means of
reversal, and no literature suggesting reversibility, also include multiple




                                             47
                                                                           Armistead App. 0168

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



contributors to the male cardiovascular advantage, including diaphragm placement,
lung and trachea size, and heart size and therefore pumping capacity.12

       151. On the other hand, the evidence is mixed as to hemoglobin
concentration, which as discussed above is a contributing factor to V02 max. Harper
(2021) surveyed the literature and found that “Nine studies reported the levels of
Hgb [hemoglobin] or HCT [red blood cell count] in transwomen before and after
[testosterone suppression], from a minimum of three to a maximum of 36 months
post hormone therapy. Eight of these studies. . . found that hormone therapy led to
a significant (4.6%–14.0%) decrease in Hgb/HCT (p<0.01), while one study found no
significant difference after 6 months,” but only one of those eight studies returned
results at the generally accepted 95% confidence level. (Harper 2021 at 5-6 and
Table 5.)

      152. I have not found any study of the effect of testosterone suppression on
the male advantage in mitochondrial biogenesis.

       Muscle mass

       153. Multiple studies have found that muscle mass decreases modestly or
not at all in response to testosterone suppression. Knox et al. report that “healthy
young men did not lose significant muscle mass (or power) when their circulating
testosterone levels were reduced to 8.8 nmol/L (lower than the 2015 IOC guideline
of 10 nmol/L) for 20 weeks.” (Knox 2019 at 398.) Gooren found that “[i]n spite of
muscle surface area reduction induced by androgen deprivation, after 1 year the
mean muscle surface area in male-to- female transsexuals remained significantly
greater than in untreated female-to-male transsexuals.” (Gooren 2011 at 653.) An
earlier study by Gooren found that after one year of testosterone suppression,
muscle mass at the thigh was reduced by only about 10%, exhibited “no further
reduction after 3 years of hormones,” and “remained significantly greater” than in
his sample of untreated women. (Gooren 2004 at 426-427.) Van Caenegem et al.
found that muscle cross section in the calf and forearm decreased only trivially (4%
and 1% respectively) after two years of testosterone suppression. (Van Caenegem
2015 Table 4.)

       154. Taking measurements one month after start of testosterone
suppression in male-to-female (non-athlete) subjects, and again 3 and 11 months
after start of feminizing hormone replacement therapy in these subjects, Wiik et al.


       12“[H]ormone therapy will not alter … lung volume or heart size of the
transwoman athlete, especially if [that athlete] transitions postpuberty, so natural
advantages including joint articulation, stroke volume and maximal oxygen uptake
will be maintained.” (Knox 2019 at 398.)
                                            48
                                                                            Armistead App. 0169

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


found that total lean tissue (i.e. primarily muscle) did not decrease significantly
across the entire period. Indeed, “some of the [subjects] did not lose any muscle
mass at all.” (Wiik 2020 at 812.) And even though they observed a small decrease in
thigh muscle mass, they found that isometric strength levels measured at the knee
“were maintained over the [study period].” (808) “At T12 [the conclusion of the one-
year study], the absolute levels of strength and muscle volume were greater in
[male-to-female subjects] than in [female-to-male subjects] and CW [women who
had not undergone any hormonal therapy].” (808)

       155. Hilton & Lundberg summarize an extensive survey of the literature as
follows:

           “12 longitudinal studies have examined the effects of
           testosterone suppression on lean body mass or muscle size in
           transgender women. The collective evidence from these studies
           suggests that 12 months, which is the most commonly
           examined intervention period, of testosterone suppression to
           female typical reference levels results in a modest
           (approximatelyï 5%) loss of lean body mass or muscle size. . . .

           “Thus, given the large baseline differences in muscle mass
           between males and females (Table 1; approximately 40%), the
           reduction achieved by 12 months of testosterone suppression
           can reasonably be assessed as small relative to the initial
           superior mass. We, therefore, conclude that the muscle mass
           advantage males possess over females, and the performance
           implications thereof, are not removed by the currently studied
           durations (4 months, 1, 2 and 3 years) of testosterone
           suppression in transgender women. (Hilton 2021 at 205-207.)

       156. When we recall that “women have 50% to 60% of men’s upper arm
muscle cross-sectional area and 65% to 70% of men’s thigh muscle cross-sectional
area” (Handelsman 2018 at 812), it is clear that Hilton’s conclusion is correct. In
other words, biologically male subjects possess substantially larger muscles than
biologically female subjects after undergoing a year or even three years of
testosterone suppression.

       157. I note that outside the context of transgender athletes, the
testosterone-driven increase in muscle mass and strength enjoyed by these male-to-
female subjects would constitute a disqualifying doping violation under all league
anti-doping rules with which I am familiar.




                                             49
                                                                            Armistead App. 0170

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



             Responsible voices internationally are increasingly
              recognizing that suppression of testosterone in a male after
              puberty has occurred does not substantially reverse the male
              athletic advantage.

       158. The previous very permissive NCAA policy governing transgender
participation in women’s collegiate athletics was adopted in 2011, and the previous
IOC guidelines were adopted in 2015. At those dates, much of the scientific analysis
of the actual impact of testosterone suppression had not yet been performed, much
less any wider synthesis of that science. In fact, a series of important peer-reviewed
studies and literature reviews have been published only very recently, since I
prepared my first paper on this topic, in early 2020.

      159. These new scientific publications reflect a remarkably consistent
consensus: once an individual has gone through male puberty, testosterone
suppression does not substantially eliminate the physiological and performance
advantages that that individual enjoys over female competitors.

       160. Importantly, I have found no peer-reviewed scientific paper, nor any
respected scientific voice, that is now asserting the contrary–that is, that
testosterone suppression can eliminate or even largely eliminate the male biological
advantage once puberty has occurred.

      161. I excerpt the key conclusions from important recent peer-reviewed
papers below.

       162. Roberts 2020: “In this study, we confirmed that . . . the pretreatment
differences between transgender and cis gender women persist beyond the
12-month time requirement currently being proposed for athletic competition by the
World Athletics and the IOC.” (6)

       163. Wiik 2020: The muscular and strength changes in males undergoing
testosterone suppression “were modest. The question of when it is fair to permit a
transgender woman to compete in sport in line with her experienced gender identity
is challenging.” (812)

      164. Harper 2021: “[V]alues for strength, LBM [lean body mass], and
muscle area in transwomen remain above those of cisgender women, even after 36
months of hormone therapy.” (1)

       165. Hilton & Lundberg 2021: “evidence for loss of the male performance
advantage, established by testosterone at puberty and translating in elite athletes
to a 10–50% performance advantage, is lacking. . . . These data significantly


                                             50
                                                                           Armistead App. 0171

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.


undermine the delivery of fairness and safety presumed by the criteria set out in
transgender inclusion policies . . .” (211)

        166. Hamilton et al. 2020, “Response to the United Nations Human Rights
Council’s Report on Race and Gender Discrimination in Sport: An Expression of
Concern and a Call to Prioritize Research”: “There is growing support for the idea
that development influenced by high testosterone levels may result in retained
anatomical and physiological advantages . . . . If a biologically male athlete self-
identifies as a female, legitimately with a diagnosis of gender dysphoria or
illegitimately to win medals, the athlete already possesses a physiological
advantage that undermines fairness and safety. This is not equitable, nor consistent
with the fundamental principles of the Olympic Charter.”

       167. Hamilton et al. 2021, “Consensus Statement of the Fédération
Internationale de Médecine du Sport” (International Federation of Sports Medicine,
or FIMS), signed by more than 60 sports medicine experts from prestigious
institutions around the world: The available studies “make it difficult to suggest
that the athletic capabilities of transwomen individuals undergoing HRT or GAS
are comparable to those of cisgender women.” The findings of Roberts et al.
“question the required testosterone suppression time of 12 months for transwomen
to be eligible to compete in women’s sport, as most advantages over ciswomen were
not negated after 12 months of HRT.”

      168. Outside the forum of peer-reviewed journals, respected voices in sport
are reaching the same conclusion.

       169. The Women’s Sports Policy Working Group identifies among its
members and “supporters” many women Olympic medalists, former women’s tennis
champion and LGBTQ activist Martina Navratilova, Professor Doriane Coleman, a
former All-American women’s track competitor, transgender athletes Joanna
Harper and Dr. Renee Richards, and many other leaders in women’s sports and civil
rights. I have referenced other published work of Joanna Harper and Professor
Coleman. In early 2021 the Women’s Sports Policy Working Group published a
“Briefing Book” on the issue of transgender participation in women’s sports,13 in
which they reviewed largely the same body of literature I have reviewed above, and
analyzed the implications of that science for fairness and safety in women’s sports.

      170. Among other things, the Women’s Sports Policy Working Group
concluded:




       13https://womenssportspolicy.org/wp-content/uploads/2021/02/Congressional-
Briefing-WSPWG-Transgender-Women-Sports-2.27.21.pdf


                                            51
                                                                              Armistead App. 0172

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.



           x “[T]he evidence is increasingly clear that hormones do not eliminate
              the legacy advantages associated with male physical development” (8)
              due to “the considerable size and strength advantages that remain
              even after hormone treatments or surgical procedures.” (17)

           x    “[T]here is convincing evidence that, depending on the task, skill,
                sport, or event, trans women maintain male sex-linked (legacy)
                advantages even after a year on standard gender-affirming hormone
                treatment.” (26, citing Roberts 2020.)

           x “[S]everal peer-reviewed studies, including one based on data from the
              U.S. military, have confirmed that trans women retain their male sex-
              linked advantages even after a year on gender affirming hormones. . . .
              Because of these retained advantages, USA Powerlifting and World
              Rugby have recently concluded that it isn't possible fairly and safely to
              include trans women in women's competition.” (32)

       171. As has been widely reported, in 2020, after an extensive scientific
consultation process, the World Rugby organization issued its Transgender
Guidelines, finding that it would not be consistent with fairness or safety to permit
biological males to compete in World Rugby women’s matches, no matter what
hormonal or surgical procedures they might have undergone. Based on their review
of the science, World Rugby concluded:

           x “Current policies regulating the inclusion of transgender women in
              sport are based on the premise that reducing testosterone to levels
              found in biological females is sufficient to remove many of the
              biologically-based performance advantages described above. However,
              peer-reviewed evidence suggests that this is not the case.”

           x “Longitudinal research studies on the effect of reducing testosterone to
              female levels for periods of 12 months or more do not support the
              contention that variables such as mass, lean mass and strength are
              altered meaningfully in comparison to the original male-female
              differences in these variables. The lowering of testosterone removes
              only a small proportion of the documented biological differences, with
              large, retained advantages in these physiological attributes, with the
              safety and performance implications described previously.”

           x “. . . given the size of the biological differences prior to testosterone
              suppression, this comparatively small effect of testosterone reduction
              allows substantial and meaningful differences to remain. This has
              significant implications for the risk of injury . . . .”


                                               52
                                                                              Armistead App. 0173

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.


           x “ . . . bone mass is typically maintained in transgender women over the
              course of at least 24 months of testosterone suppression, . . . . Height
              and other skeletal measurements such as bone length and hip width
              have also not been shown to change with testosterone suppression, and
              nor is there any plausible biological mechanism by which this might
              occur, and so sporting advantages due to skeletal differences between
              males and females appear unlikely to change with testosterone
              reduction.

       172. In September 2021 the government-commissioned Sports Councils of
the United Kingdom and its subsidiary parts (the five Sports Councils responsible
for supporting and investing in sport across England, Wales, Scotland and Northern
Ireland) issued a formal “Guidance for Transgender Inclusion in Domestic Sport”
(UK Sport Councils 2021), following an extensive consultation process, and a
commissioned “International Research Literature Review” prepared by the Carbmill
Consulting group (UK Sport Literature Review 2021). The UK Sport Literature
Review identified largely the same relevant literature that I review in this paper,
characterizes that literature consistently with my own reading and description, and
based on that science reaches conclusions similar to mine.

       173. The UK Sport Literature Review 2021 concluded:

           x “Sexual dimorphism in relation to sport is significant and the most
              important determinant of sporting capacity. The challenge to sporting
              bodies is most evident in the inclusion of transgender people in female
              sport.” “[The] evidence suggests that parity in physical performance in
              relation to gender-affected sport cannot be achieved for transgender
              people in female sport through testosterone suppression. Theoretical
              estimation in contact and collision sport indicate injury risk is likely to
              be increased for female competitors.” (10)

           x “From the synthesis of current research, the understanding is that
              testosterone suppression for the mandated one year before competition
              will result in little or no change to the anatomical differences between
              the sexes, and a more complete reversal of some acute phase metabolic
              pathways such as haemoglobin levels although the impact on running
              performance appears limited, and a modest change in muscle mass and
              strength: The average of around 5% loss of muscle mass and strength
              will not reverse the average 40-50% difference in strength that
              typically exists between the two sexes.” (7)

           x “These findings are at odds with the accepted intention of current
              policy in sport, in which twelve months of testosterone suppression is




                                               53
                                                                             Armistead App. 0174

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.



              expected to create equivalence between transgender women and
              females.” (7)

      174. Taking into account the science detailed in the UK Sport Literature
Review 2021, the UK Sports Councils have concluded:

           x “[T]he latest research, evidence and studies made clear that there are
              retained differences in strength, stamina and physique between the
              average woman compared with the average transgender woman or
              non-binary person registered male at birth, with or without
              testosterone suppression.” (3)

           x “Competitive fairness cannot be reconciled with self-identification into
              the female category in gender-affected sport.” (7)

           x “As a result of what the review found, the Guidance concludes that the
              inclusion of transgender people into female sport cannot be balanced
              regarding transgender inclusion, fairness and safety in gender-affected
              sport where there is meaningful competition. This is due to retained
              differences in strength, stamina and physique between the average
              woman compared with the average transgender woman or non-binary
              person assigned male at birth, with or without testosterone
              suppression.” (6)

           x “Based upon current evidence, testosterone suppression is unlikely to
              guarantee fairness between transgender women and natal females in
              gender-affected sports. . . . Transgender women are on average likely
              to retain physical advantage in terms of physique, stamina, and
              strength. Such physical differences will also impact safety parameters
              in sports which are combat, collision or contact in nature.” (7)

       175. On January 15, 2022 the American Swimming Coaches Association
(ASCA) issued a statement stating, “The American Swimming Coaches Association
urges the NCAA and all governing bodies to work quickly to update their policies
and rules to maintain fair competition in the women’s category of swimming. ASCA
supports following all available science and evidenced-based research in setting the
new policies, and we strongly advocate for more research to be conducted” and
further stated “The current NCAA policy regarding when transgender females can
compete in the women’s category can be unfair to cisgender females and needs to be
reviewed and changed in a transparent manner.” (https://swimswam.com/asca-
issues-statement-calling-for-ncaa-to-review-transgender-rules/; Accessed January
16, 2022.)



                                              54
                                                                              Armistead App. 0175

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.


       176. On January 19, 2022, the NCAA Board of Governors approved a
change to the policy on transgender inclusion in sport and stated that “…the
updated NCAA policy calls for transgender participation for each sport to be
determined by the policy for the national governing body of that sport, subject to
ongoing review and recommendation by the NCAA Committee on Competitive
Safeguards and Medical Aspects of Sports to the Board of Governors. If there is no
N[ational]G[overning]B[ody] policy for a sport, that sport's international federation
policy would be followed. If there is no international federation policy, previously
established IOC policy criteria would be followed”
(https://www.ncaa.org/news/2022/1/19/media-center-board-of-governors-updates-
transgender-participation-policy.aspx; Accessed January 20, 2022.)

       177. On February 1, 2022, because “…a competitive difference in the male
and female categories and the disadvantages this presents in elite head-to-head
competition … supported by statistical data that shows that the top-ranked female
in 2021, on average, would be ranked 536th across all short course yards (25 yards)
male events in the country and 326th across all long course meters (50 meters) male
events in the country, among USA Swimming members,” USA Swimming released
its Athlete Inclusion, Competitive Equity and Eligibility Policy. The policy is
intended to “provide a level-playing field for elite cisgender women, and to mitigate
the advantages associated with male puberty and physiology.” (USA Swimming
Releases Athlete Inclusion, Competitive Equity and Eligibility Policy, available at
https://www.usaswimming.org/news/2022/02/01/usa-swimming-releases-athlete-
inclusion-competitive-equity-and-eligibility-policy.) The policy states:

           x For biologically male athletes seeking to compete in the female
              category in certain “elite” level events, the athlete has the burden of
              demonstrating to a panel of independent medical experts that:

                 o “From a medical perspective, the prior physical development of
                    the athlete as Male, as mitigated by any medical intervention,
                    does not give the athlete a competitive advantage over the
                    athlete’s cisgender Female competitors” and

                 o There is a presumption that the athlete is not eligible unless the
                    athlete “demonstrates that the concentration of testosterone in
                    the athlete’s serum has been less than 5 nmol/L . . . continuously
                    for a period of at least thirty-six (36) months before the date of
                    the Application.” This presumption may be rebutted “if the
                    Panel finds, in the unique circumstances of the case, that [the
                    athlete’s prior physical development does not give the athlete a
                    competitive advantage] notwithstanding the athlete’s serum
                    testosterone results (e.g., the athlete has a medical condition




                                              55
                                                                                   Armistead App. 0176

G. Brown                                                       Expert Report, B.P.J. v. WV BOE et al.



                        which limits bioavailability of the athlete’s free testosterone).”
                        (USA Swimming Athlete Inclusion Procedures at 43.)

                                         Conclusions

       The research and actual observed data show the following:

            At the level of (a) elite, (b) collegiate, (c) scholastic, and (d) recreational
             competition, men, adolescent boys, or male children, have an advantage
             over equally gifted, aged and trained women, adolescent girls, or female
             children in almost all athletic events;

            Biological male physiology is the basis for the performance advantage that
             men, adolescent boys, or male children have over women, adolescent girls,
             or female children in almost all athletic events; and

            The administration of androgen inhibitors and cross-sex hormones to men
             or adolescent boys after the onset of male puberty does not eliminate the
             performance advantage that men and adolescent boys have over women
             and adolescent girls in almost all athletic events. Likewise, there is no
             published scientific evidence that the administration of puberty blockers
             to males before puberty eliminates the pre-existing athletic advantage
             that prepubertal males have over prepubertal females in almost all
             athletic events.

       For over a decade sports governing bodies (such as the IOC and NCAA) have
wrestled with the question of transgender inclusion in female sports. The previous
polices implemented by these sporting bodies had an underlying “premise that
reducing testosterone to levels found in biological females is sufficient to remove
many of the biologically-based performance advantages.” (World Rugby 2020 at 13.)
Disagreements centered around what the appropriate threshold for testosterone
levels must be–whether the 10nmol/liter value adopted by the IOC in 2015, or the
5nmol/liter value adopted by the IAAF.

       But the science that has become available within just the last few years
contradicts that premise. Instead, as the UK Sports Councils, World Rugby, the
FIMS Consensus Statement, and the Women’s Sports Policy Working Group have
all recognized the science is now sharply “at odds with the accepted intention of
current policy in sport, in which twelve months of testosterone suppression is
expected to create equivalence between transgender women and females” (UK
Sports Literature Review 2021 at 7), and it is now “difficult to suggest that the
athletic capabilities of transwomen individuals undergoing HRT or GAS are
comparable to those of cisgender women.” (Hamilton, FIMS Consensus Statement
2021.) It is important to note that while the 2021 “IOC Framework on Fairness,

                                                   56
                                                                            Armistead App. 0177

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


Inclusion, and Non-Discrimination on the Basis of Gender Identity and Sex
Variations” calls for an “evidence-based approach,” that Framework does not
actually reference any of the now extensive scientific evidence relating to the
physiological differences between the sexes, and the inefficacy of hormonal
intervention to eliminate male advantages relevant to most sports. Instead, the IOC
calls on other sporting bodies to define criteria for transgender inclusion, while
demanding that such criteria simultaneously ensure fairness, safety, and inclusion
for all. The recently updated NCAA policy on transgender participation also relies
on other sporting bodies to establish criteria for transgender inclusion while calling
for fair competition and safety.

       But what we currently know tells us that these policy goals—fairness, safety,
and full transgender inclusion—are irreconcilable for many or most sports. Long
human experience is now joined by large numbers of research papers that document
that males outperform females in muscle strength, muscular endurance, aerobic
and anaerobic power output, VO2max, running speed, swimming speed, vertical
jump height, reaction time, and most other measures of physical fitness and
physical performance that are essential for athletic success. The male advantages
have been observed in fitness testing in children as young as 3 years old, with the
male advantages increasing immensely during puberty. To ignore what we know to
be true about males’ athletic advantages over females, based on mere hope or
speculation that cross sex hormone therapy (puberty blockers, androgen inhibitors,
or cross-sex hormones) might neutralize that advantage, when the currently
available evidence says it does not, is not science and is not “evidence-based” policy-
making.

       Because of the recent research and analysis in the general field of
transgender athletics, many sports organizations have revised their policies or are
in the process of doing so. As a result, there is not any universally recognized policy
among sports organizations, and transgender inclusion policies are in a state of flux,
likely because of the increasing awareness that the goals of fairness, safety, and full
transgender inclusion are irreconcilable.

      Sports have been separated by sex for the purposes of safety and fairness for
a considerable number of years. The values of safety and fairness are endorsed by
numerous sports bodies, including the NCAA and IOC. The existing evidence of
durable physiological and performance differences based on biological sex provides a
strong evidence-based rationale for keeping rules and policies for such sex-based
separation in place (or implementing them as the case may be).

       As set forth in detail in this report, there are physiological differences
between males and females that result in males having a significant performance
advantage over similarly gifted, aged, and trained females in nearly all athletic
events before, during, and after puberty. There is not scientific evidence that any



                                             57
                                                                           Armistead App. 0178

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



amount or duration of cross sex hormone therapy (puberty blockers, androgen
inhibitors, or cross-sex hormones) eliminates all physiological advantages that
result in males performing better than females in nearly all athletic events. Males
who have received such therapy retain sufficient male physiological traits that
enhance athletic performance vis-à-vis similarly aged females and are thus, from a
physiological perspective, more accurately categorized as male and not female.




       .




                                            58
                                                                           Armistead App. 0179

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.


                                   Bibliography

Bhargava, A. et al. Considering Sex as a Biological Variable in Basic and Clinical
  Studies: An Endocrine Society Scientific Statement. Endocr Rev. 42:219-258
  (2021).

Bohannon, R.W. et al., Handgrip strength: a comparison of values obtained from the
  NHANES and NIH toolbox studies. Am. J. Occ. Therapy 73(2) (March/April
  2019).

Catley, M. and G.Tomkinson, Normative health-related fitness values for children:
   analysis of 85,437 test results on 9-17-year-old Australians since 1985. Br. J.
   Sports Med. published online October 21, 2011. Bjsm.bmj.com. Additional
   versions of this article were published by BJSM in 2012 and 2013, including Br.
   J. Sports Med. 47:98-108 (2013).

Chu, Y. et al., Biomechanical comparison between elite female and male baseball
  pitchers. J. App. Biomechanics 25:22-31 (2009).

Coleman, D.L. and W. Shreve, Comparing athletic performances: the best elite
   women to boys and men.
   web.law.duke.edu/sites/default/files/centers/sportslaw/comparingathleticperform
   ances.pdf. (Accessed 06/20/21)

Coleman, D. L. et al., Re-affirming the value of the sports exception to Title IX's
   general non-discrimination rule. Duke J. of Gender and Law Policy 27(69):69-134
   (2020).

Davis SM, Kaar JL, Ringham BM, Hockett CW, Glueck DH, and Dabelea D. Sex
  differences in infant body composition emerge in the first 5 months of life. J
  Pediatr Endocrinol Metab 32: 1235-1239 (2019).

De Miguel-Etayo, P. et al., Physical fitness reference standards in European
   children: the IDEFICS study. Int. J. Obes (Lond) 38(2):557-566 (2014).

Dogan, B., Multiple-choice reaction and visual perception in female and male elite
  athletes. J. Sports Med. and Physical Fitness 49:91-96 (2009).

Dykiert, D. and G. Der, Sex differences in reaction time mean and intraindividual
  variability across the life span. Developmental Psychology 48(5): 1262-76 (2012).

Eiberg, S. et al, Maximum oxygen uptake and objectively measured physical activity
   in Danish children 6-7 years of age: the Copenhagen school child intervention
   study. Br J Sports Med 39:725-30 (2005).




                                             a
                                                                              Armistead App. 0180

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.



Fessler, D.M. et al. Sexual dimorphism in foot length proportionate to stature. Ann
   Hum Biol. 32:44-59 (2005).

Fields J. et al., Seasonal and Longitudinal Changes in Body Composition by Sport-
   Position in NCAA Division I Basketball Athletes. Sports (Basel). 22:6 (2018).

Gauthier. R. et al. The physical work capacity of Canadian children, aged 7 to 17 in
  1983. A comparison with 1968. CAHPER Journal/Revue de l'ACSEPR 50:4–9
  (1983).

Gershoni, M. & Pietrokovski, S. The landscape of sex-differential transcriptome and
   its consequent selection in human adults. BMC BIOL 15: 7 (2017).

Gooren, L., The significance of testosterone for fair participation of the female sex in
  competitive sports, 13 Asian J. of Andrology 653 (2011).

Gooren, L., et al., Transsexuals and competitive sports. Eur. J. Endocrinol. 151:425-
  9 (2004).

Haizlip, K.M. et al., Sex-based differences in skeletal muscle kinetics and fiber-type
  composition. PHYSIOLOGY (BETHESDA) 30: 30–39 (2015).

Hamilton, B. et al, Integrating transwomen and female athletes with differences of
  sex development (DSD) into elite competition: the FIMS 2021 consensus
  statement. Sports Med 2021. doi: 10.1007/s40279-021-01451-8.

Hamilton, B. et al., Response to the United Nations Human Rights Council’s report
  on race and gender discrimination in sport: an expression of concern and a call to
  prioritise research. Sports Med 2020. doi: 10.1007/s40279-020-01380-4.

Handelsman, D.J. et al., Circulating testosterone as the hormonal basis of sex
  differences in athletic performance. Endocrine Reviews 39(5):803-829 (Oct 2018).

Handelsman, D.J., Sex differences in athletic performance emerge coinciding with
  the onset of male puberty, 87 Clinical Endocrinology 68 (2017).

Handelsman, D.J., “Perspective,” at
  https://www.healio.com/news/endocrinology/20201216/transgender-women-
  outpace-cisgender-women-in-athletic-tests-after-1-year-on-hormones (last
  accessed September 29, 2021).

Harper, J. et al., How does hormone transition in transgender women change body
  composition, muscle strength and haemoglobin? Systematic review with a focus
  on the implications for sport participation. Br J Sports Med 55(15):865-872
  (2021).

                                               b
                                                                             Armistead App. 0181

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


Harper, J., Race time for transgender athletes. J. Sporting Cultures & Identities 6:1
  (2015).

Heydari R, et al. Y chromosome is moving out of sex determination shadow. Cell
  Biosci. 12:4. (2022).

Higerd, G.A. Assessing the Potential Transgender Impact on Girl Champions in
   American High School Track and Field. Doctoral Dissertation United States
   Sports Academy. (2020).
   https://www.proquest.com/openview/65d34c1e949899aa823beecad873afae/1?pq-
   origsite=gscholar&cbl=18750&diss=y

Hilton, E. N. and T.R. Lundberg, Transgender women in the female category of
   sport: perspectives on testosterone suppression and performance advantage.
   Sports Medicine 51:199-214 (2021).

Hubal, M., H. Gordish-Dressman, P. Thompson, et al., Variability in muscle size
  and strength gain after unilateral resistance training, Med & Sci in Sports &
  Exercise 964 (2005).

Jain, A. et al., A comparative study of visual and auditory reaction times on the
   basis of gender and physical activity levels of medical first year students. Int J
   App & Basic Med Res 5:2(124-27) (May-Aug 2015).

Klaver M, et al.. Early Hormonal Treatment Affects Body Composition and Body
   Shape in Young Transgender Adolescents. J Sex Med 15: 251-260 (2018).

Knechtle, B., P. T. Nikolaidis et al., World single age records in running from 5 km
  to marathon, Frontiers in Psych 9(1) (2013).

Knox, T., L.C. Anderson, et al., Transwomen in elite sport: scientific & ethical
  considerations, 45 J. Med Ethics 395 (2019).

Lapauw, B. et al., Body composition, volumetric and areal bone parameters in male-
  to-female transsexual persons. Bone 43:1016-21 (2008).

Latorre-Roman, P. et al., Reaction times of preschool children on the ruler drop test:
   a cross-sectional study with reference values. Perceptual & Motor Skills
   125(5):866-78 (2018).

Lepers, R., B. Knechtle et al., Trends in triathlon performance: effects of sex & age,
   43 Sports Med 851 (2013).

Lesinski, M., A. Schmelcher, et al., Maturation-, age-, and sex-specific
   anthropometric and physical fitness percentiles of German elite young athletes.
   PLoS One. 15(8):e0237423 (2020).


                                              c
                                                                             Armistead App. 0182

G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.



Levine, B., M. Joyner et al., The role of testosterone in athletic performance.
   Available at
   https://web.law.duke.edu/sites/default/files/centers/sportslaw/Experts_T_Statem
   ent_2019.pdf (January 2019).

Leyk, D, W. Gorges et al., Hand-grip strength of young men, women and highly
   trained female athletes, Eur J Appl Physiol. 2007 Mar; 99(4):415-21 (2007).

Lombardo, M. and R. Deaner, On the evolution of the sex differences in throwing:
  throwing as a male adaptation in humans, Quarterly Rev of Biology 93(2):91-119
  (2018).

Malina R.M., Bouchards, C., Bar-Or, O. Growth, Maturation, and Physical Activity
  (2nd edition). Published by Human Kinetics. 2004.

McManus, A. and N. Armstrong, Physiology of elite young female athletes. J Med &
  Sport Sci 56:23-46 (2011).

Millard-Stafford, M. et al., Nature versus nurture: have performance gaps between
   men and women reached an asymptote? Int’l J. Sports Physiol. & Performance
   13:530-35 (2018).

Miller, V.M. Why are sex and gender important to basic physiology and translational
   and individualized medicine? Am J Physiol Heart Circ Physiol 306(6): H781-788,
   (2014).

Mormile, M. et al., The role of gender in neuropsychological assessment in healthy
  adolescents. J Sports Rehab 27:16-21 (2018).

Morris, J. et al., Sexual dimorphism in human arm power and force: implications
  for sexual selection on fighting ability. J Exp Bio 223 (2020).

National Collegiate Athletic Association, Inclusion of transgender student-athletes.
  https://ncaaorg.s3.amazonaws.com/inclusion/lgbtq/INC_TransgenderHandbook.p
  df (August 2011).

Neder, J.A. et al., Reference values for concentric knee isokinetic strength and power
  in nonathletic men and women from 20 to 80 years old. J. Orth. & Sports Phys.
  Therapy 29(2):116-126 (1999).

Pate, R. and A. Kriska, Physiological basis of the sex difference in cardiorespiratory
   endurance. Sports Med 1:87-98 (1984).




                                              d
                                                                            Armistead App. 0183

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


Pocek, S. et al., Anthropometric Characteristics and Vertical Jump Abilities by
   Player Position and Performance Level of Junior Female Volleyball Players. Int J
   Environ Res Public Health. 18: 8377-8386 (2021).

Ramírez-Vélez, R. et al., Vertical Jump and Leg Power Normative Data for
  Colombian Schoolchildren Aged 9-17.9 Years: The FUPRECOL Study. J
  Strength Cond Res. 31: 990-998 (2017).

Roberts, S.A., J.M. Carswell. Growth, growth potential, and influences on adult
  height in the transgender and gender-diverse population. Andrology. 9:1679-1688
  (2021).

Roberts, T.A. et al., Effect of gender affirming hormones on athletic performance in
  transwomen and transmen: implications for sporting organisations and
  legislators. Br J Sports Med published online at 10.1136/bjsports-2020-102329
  (Dec. 7, 2020).

Roser, M., Cameron Appel and Hannah Ritchie (2013) "Human Height". Published
   online at OurWorldInData.org. Retrieved from:
   https://ourworldindata.org/human-height [Online Resource]

Ross, J.G. and G.G. Gilbert. National Children and Youth Fitness Study. J Physical
   Educ Rec Dance (JOPERD) 56: 45 – 50 (1985).

Sakamoto, K. et al., Comparison of kicking speed between female and male soccer
   players. Procedia Eng 72:50-55 (2014).

Santos, R. et al. Physical fitness percentiles for Portuguese children and adolescents
   aged 10-18 years. J Sports Sci. 32:1510-8. (2014).

Sattler, T. et al., Vertical jump performance of professional male and female
   volleyball players: effects of playing position and competition level. J Strength &
   Cond Res 29(6):1486-93 (2015).

Sax L. How common is intersex? a response to Anne Fausto-Sterling. J Sex Res.
   39(3):174-8 (2002).

Scharff, M. et al., Change in grip strength in trans people and its association with
   lean body mass and bone density. Endocrine Connections 8:1020-28 (2019).

Senefeld, J.W., et al. Divergence in timing and magnitude of testosterone levels
   between male and female youths, JAMA 324(1):99-101 (2020).

Shah, K. et al. Do you know the sex of your cells? Am J Physiol Cell Physiol.
  306(1):C3-18 (2014).




                                              e
                                                                            Armistead App. 0184

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



Silverman, I., The secular trend for grip strength in Canada and the United States,
   J Sports Sci 29(6):599-606 (2011).

Spierer, D. et al., Gender influence on response time to sensory stimuli. J Strength &
   Cond Res 24:4(957-63) (2010).

Staiano AE, Katzmarzyk PT. Ethnic and sex differences in body fat and visceral and
   subcutaneous adiposity in children and adolescents. Int J Obes (Lond). 36:1261-
   9. (2012).

Tack, L.J.W. et al., Proandrogenic and antiandrogenic progestins in transgender
   youth: differential effects on body composition and bone metabolism. J. Clin.
   Endocrinol. Metab, 103(6):2147-56 (2018).

Tambalis, K. et al., Physical fitness normative values for 6-18-year-old Greek boys
  and girls, using the empirical distribution and the lambda, mu, and sigma
  statistical method. Eur J Sports Sci 16:6(736-46) (2016).

Taylor, M.J. et al., Vertical jumping and leg power normative data for English
   school children aged 10-15 years. J Sports Sci. 28:867-72. (2010).

Taylor RW, Gold E, Manning P, and Goulding A. Gender differences in body fat
   content are present well before puberty. Int J Obes Relat Metab Disord 21: 1082-
   1084, 1997.

Taylor RW, Grant AM, Williams SM, and Goulding A. Sex differences in regional
   body fat distribution from pre- to postpuberty. Obesity (Silver Spring) 18: 1410-
   1416, 2010.

Thibault, V., M. Guillaume et al., Women and men in sport performance: the gender
   gap has not evolved since 1983. J Sports Science & Med 9:214-223 (2010).

Thomas, J.R. and K. E. French, Gender differences across age in motor performance:
  a meta-analysis. Psych. Bull. 98(2):260-282 (1985).

Tomkinson, G. et al., European normative values for physical fitness in children and
  adolescents aged 9-17 years: results from 2,779,165 Eurofit performances
  representing 30 countries. Br J Sports Med 52:1445-56 (2018).

Tomkinson, G. et al., International normative 20 m shuttle run values from
  1,142,026 children and youth representing 50 countries. Br J Sports Med.
  51:1545-1554 (2017).




                                              f
                                                                              Armistead App. 0185

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.


Tønnessen, E., I. S. Svendsen et al., Performance development in adolescent track &
   field athletes according to age, sex, and sport discipline. PLOS ONE 10(6):
   e0129014(2015).

Tønnessen, E. et al., Reaction time aspects of elite sprinters in athletic world
   championships. J Strength & Cond Res 27(4):885-92 (2013).

United Kingdom Sports Councils, Guidance for transgender inclusion in domestic
  sport. Available at https://equalityinsport.org/docs/300921/Guidance for
  Transgender Inclusion in Domestic Sport 2021 - Summary of Background
  Documents.pdf. September 2021.

United Kingdom Sports Councils, International Research Literature Review.
  Available at
  https://equalityinsport.org/docs/300921/Transgender%20International%20Resear
  ch%20Literature%20Review%202021.pdf. September 2021.

USA Swimming Athlete Inclusion Procedures, last revision February 1, 2022,
  available at https://www.usaswimming.org/docs/default-
  source/governance/governance-lsc-website/rules_policies/usa-swimming-policy-
  19.pdf.

VanCaenegem, E. et al, Preservation of volumetric bone density and geometry in
  trans women during cross-sex hormonal therapy: a prospective observational
  study. Osteoporos Int 26:35-47 (2015).

Wiik, A., T. R Lundberg et al., Muscle strength, size, and composition following 12
   months of gender-affirming treatment in transgender individuals. J. Clinical
   Endocrin. & Metab. 105(3):e805-813 (2020).

Women’s Sports Policy Working Group, Briefing book: a request to Congress and the
  administration to preserve girls’ and women’s sport and accommodate
  transgender athletes. Available at womenssportspolicy.org. (2021).

World Rugby Transgender Guidelines. https://www.world.rugby/the-game/player-
  welfare/guidelines/transgender (2020).

World Rugby Transgender Women’s Guidelines. https://www.world.rugby/the-
  game/player-welfare/guidelines/transgender/women (2020).

Wunderlich RE, Cavanagh PR. Gender differences in adult foot shape: implications
  for shoe design. Med Sci Sports Exerc. 33:605-1 (2001).






                                               g
                                                                              Armistead App. 0186

G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.



                               Appendix 1 – Data Tables

Presidential Physical Fitness Results14

 &XUO8SV LQPLQXWH 
                                                         0DOH)HPDOH
               0DOH                )HPDOH                'LIIHUHQFH
             WK     WK   WK      WK            WK       WK
 $JH        LOH     LOH   LOH      LOH   $JH     LOH       LOH
                                                 
                                                 
                                                  
                                                  
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              


 
 
 
 
 
 
 
 
 
 
 
 
 
 
 


        14This data is available from a variety of sources. including:
https://gilmore.gvsd.us/documents/Info/Forms/Teacher%20Forms/Presidentialchalle
ngetest.pdf
                                              h
                                                                                Armistead App. 0187

G. Brown                                                    Expert Report, B.P.J. v. WV BOE et al.


 6KXWWOH5XQ VHFRQGV 
                                                           0DOH)HPDOH
              0DOH               )HPDOH                    'LIIHUHQFH
           WK      WK   WK     WK                WK       WK
 $JH      LOH      LOH   LOH     LOH       $JH     LOH       LOH
                                            
                                            
                                            
                                            
                                          
                                            
                                           
                                           
                                           
                                          
                                          
                                          


 PLOHUXQ VHFRQGV 
                                                           0DOH)HPDOH
             0DOH                )HPDOH                    'LIIHUHQFH
           WK      WK   WK     WK                WK       WK
 $JH      LOH      LOH   LOH     LOH       $JH     LOH       LOH
                                                
                                               
                                              
                                              
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            




 
 



                                                i
                                                                                                  Armistead App. 0188

G. Brown                                                                    Expert Report, B.P.J. v. WV BOE et al.



    3XOO8SV FRPSOHWHG 
                                                                          0DOH)HPDOH
                0DOH                         )HPDOH                       'LIIHUHQFH
              WK         WK         WK     WK                   WK       WK
    $JH      LOH         LOH         LOH     LOH          $JH     LOH       LOH
                                                                       
                                                                     
                                                                     
                                                                   
                                                                 
                                                                 
                                                                 
                                                                 
                                                                
                                                                
                                                             
                                                             


Data Compiled from Athletic.Net
    1DWLRQDOPFURVVFRXQWU\UDFHWLPHLQVHFRQGV
                      \HDUVROG                     \HDUVROG                    \HDUROG
      5DQN    %R\V    *LUOV                    %R\V     *LUOV                  %R\V     *LUOV
                     'LIIHUHQFH           'LIIHUHQFH         'LIIHUHQFH
                 ER\YV   ER\YV                   ER\YV
                        JLUO                JLUO               JLUO
                                                           
                                                              
                                                              
                      $YHUDJH               $YHUDJH              $YHUDJH
                     GLIIHUHQFH            GLIIHUHQFH           GLIIHUHQFH
                 ER\VYVJLUOV   ER\VYVJLUOV               ER\VYVJLUOV
                                                          


    
    
    
    
    
    
    
    
    
    
    

                                                              j
                                                                                                       Armistead App. 0189

    G. Brown                                                                   Expert Report, B.P.J. v. WV BOE et al.

     1DWLRQDOPFURVVFRXQWU\UDFHWLPHLQVHFRQGV
                         WKJUDGH                           WKJUDGH                           WKJUDGH
       5DQN   %R\V     *LUOV                     %R\V     *LUOV                    %R\V      *LUOV
                       'LIIHUHQFH         'LIIHUHQFH              'LIIHUHQFH
                      ER\YV         ER\YV             ER\YV
                          JLUO                  JLUO                JLUO
                                                                
                                                                   
                                                                   
                        $YHUDJH                 $YHUDJH                $YHUDJH
                       GLIIHUHQFH              GLIIHUHQFH            GLIIHUHQFH
                  ER\VYVJLUOV           ER\VYVJLUOV           ER\VYVJLUOV
                                                               

    1DWLRQDOP7UDFNUDFHWLPHLQVHFRQGV
                      \HDUVROG                    \HDUVROG                         \HDUROG
      5DQN    %R\V     *LUOV                   %R\V    *LUOV                       %R\V     *LUOV
                  'LIIHUHQFH   'LIIHUHQFH                  'LIIHUHQFH
                      ER\YV          ER\YV                 ER\YV
                          JLUO                JLUO                       JLUO
                                                              
                                                                  
                                                                  
                      $YHUDJH              $YHUDJH                   $YHUDJH
                      GLIIHUHQFH          GLIIHUHQFH                 GLIIHUHQFH
                  ER\VYVJLUOV   ER\VYVJLUOV                  ER\VYVJLUOV
                                                             

    1DWLRQDOP7UDFNUDFHWLPHLQVHFRQGV
                      \HDUVROG                    \HDUVROG                         \HDUROG
      5DQN    %R\V     *LUOV                   %R\V    *LUOV                       %R\V     *LUOV
                  'LIIHUHQFH   'LIIHUHQFH                  'LIIHUHQFH
                      ER\YV          ER\YV                 ER\YV
                          JLUO                JLUO                       JLUO
                                                            
                                                                  
                                                                  
                      $YHUDJH              $YHUDJH                   $YHUDJH
                      GLIIHUHQFH          GLIIHUHQFH                 GLIIHUHQFH
                  ER\VYVJLUOV   ER\VYVJLUOV                  ER\VYVJLUOV
                                                             

















                                                                 k
                                                                                                   Armistead App. 0190

    G. Brown                                                               Expert Report, B.P.J. v. WV BOE et al.



    1DWLRQDOP7UDFNUDFHWLPHLQVHFRQGV
                      \HDUVROG                    \HDUVROG                     \HDUROG
      5DQN    %R\V     *LUOV                   %R\V    *LUOV                   %R\V     *LUOV
                  'LIIHUHQFH   'LIIHUHQFH              'LIIHUHQFH
                      ER\YV          ER\YV             ER\YV
                          JLUO                JLUO                   JLUO
                                                          
                                                              
                                                              
                      $YHUDJH              $YHUDJH               $YHUDJH
                      GLIIHUHQFH          GLIIHUHQFH             GLIIHUHQFH
                  ER\VYVJLUOV   ER\VYVJLUOV              ER\VYVJLUOV
                                                         


    1DWLRQDOP7UDFNUDFHWLPHLQVHFRQGV
                      \HDUVROG                    \HDUVROG                     \HDUROG
      5DQN    %R\V     *LUOV                   %R\V    *LUOV                   %R\V     *LUOV
                  'LIIHUHQFH   'LIIHUHQFH              'LIIHUHQFH
                      ER\YV          ER\YV             ER\YV
                          JLUO                JLUO                   JLUO
                                                          
                                                              
                                                              
                       $YHUDJH             $YHUDJH               $YHUDJH
                      GLIIHUHQFH          GLIIHUHQFH             GLIIHUHQFH
                  ER\VYVJLUOV   ER\VYVJLUOV              ER\VYVJLUOV
                                                         
    
    1DWLRQDOP7UDFNUDFHWLPHLQVHFRQGV
                       \HDUVROG                   \HDUVROG                     \HDUROG
      5DQN    %R\V      *LUOV                  %R\V    *LUOV                   %R\V     *LUOV
                  'LIIHUHQFH   'LIIHUHQFH              'LIIHUHQFH
                      ER\YV          ER\YV             ER\YV
                           JLUO                JLUO                  JLUO
                                                           
                                                              
                                                              
                       $YHUDJH             $YHUDJH               $YHUDJH
                       GLIIHUHQFH          GLIIHUHQFH            GLIIHUHQFH
                  ER\VYVJLUOV   ER\VYVJLUOV              ER\VYVJLUOV
                                                          













                                                              l
                                                                                                        Armistead App. 0191

    G. Brown                                                                     Expert Report, B.P.J. v. WV BOE et al.

    1DWLRQDOP7UDFNUDFHWLPHLQVHFRQGV
                       \HDUVROG                   \HDUVROG                          \HDUROG
      5DQN    %R\V      *LUOV                  %R\V    *LUOV                        %R\V     *LUOV
                  'LIIHUHQFH   'LIIHUHQFH                   'LIIHUHQFH
                            ER\YV          ER\YV                  ER\YV
                                       JLUO               JLUO                        JLUO
                                                                          
                         1R                                                   
                1R
                       )XUWKHU                                                
               IXUWKHU
                        'DWD      $YHUDJH             $YHUDJH                    $YHUDJH
                GDWD
                                   GLIIHUHQFH         GLIIHUHQFH                  GLIIHUHQFH
                                 ER\VYVJLUOV   ER\VYVJLUOV                ER\VYVJLUOV
                                    1$                                       


    1DWLRQDO/RQJ-XPS'LVWDQFH LQLQFKHV   
                       \HDUVROG                         \HDUVROG                    \HDUROG
      5DQN    %R\V     *LUOV                       %R\V      *LUOV                  %R\V     *LUOV
                  'LIIHUHQFH             'LIIHUHQFH         'LIIHUHQFH
                      ER\YV                ER\YV            ER\YV
                          JLUO                      JLUO                  JLUO
                                                            
                                                                   
                                                                   
                       $YHUDJH                   $YHUDJH              $YHUDJH
                      GLIIHUHQFH                GLIIHUHQFH            GLIIHUHQFH
                  ER\VYVJLUOV             ER\VYVJLUOV         ER\VYVJLUOV
                       1R                                                                        
                         )XUWKHU
                    'DWD                                                  


    1DWLRQDO+LJK-XPS'LVWDQFH LQLQFKHV 
                       \HDUVROG                         \HDUVROG                 \HDUROG
      5DQN    %R\V     *LUOV                       %R\V      *LUOV                  %R\V *LUOV
                    'LIIHUHQFH               'LIIHUHQFH        'LIIHUHQFH
                         ER\YV                 ER\YV           ER\YV
                             JLUO                       JLUO                 JLUO
                                                                  
                                                                      
                                                                           
                              $YHUDJH                     $YHUDJH             $YHUDJH
                           1R
                              GLIIHUHQFH                 GLIIHUHQFH           GLIIHUHQFH
                         IXUWKHU
                            ER\VYVJLUOV         1R        ER\VYVJLUOV       ER\VYVJLUOV
                          'DWD
                                                       )XUWKHU                               
                                                      'DWD                       




    




                                                                   m
                                                                          Armistead App. 0192

G. Brown                                              Expert Report, B.P.J. v. WV BOE et al.



              Appendix 2 – Scholarly Publications in Past 10 Years

Refereed Publications
1. Brown GA, Shaw BS, Shaw I. How much water is in a mouthful, and how many
    mouthfuls should I drink? A laboratory exercise to help students understand
    developing a hydration plan. Adv Physiol Educ 45: 589–593, 2021.
2. Schneider KM and Brown GA (as Faculty Mentor). What's at Stake: Is it a
    Vampire or a Virus? International Journal of Undergraduate Research and
    Creative Activities. 11, Article 4. 2019.
3. Christner C and Brown GA (as Faculty Mentor). Explaining the Vampire
    Legend through Disease. UNK Undergraduate Research Journal. 23(1), 2019.
    (*This is an on-campus publication.)
4. Schneekloth B and Brown GA. Comparison of Physical Activity during Zumba
    with a Human or Video Game Instructor. 11(4):1019-1030. International
    Journal of Exercise Science, 2018.
5. Bice MR, Hollman A, Bickford S, Bickford N, Ball JW, Wiedenman EM, Brown
    GA, Dinkel D, and Adkins M. Kinesiology in 360 Degrees. International
    Journal of Kinesiology in Higher Education, 1: 9-17, 2017
6. Shaw I, Shaw BS, Brown GA, and Shariat A. Review of the Role of Resistance
    Training and Musculoskeletal Injury Prevention and Rehabilitation. Gavin
    Journal of Orthopedic Research and Therapy. 1: 5-9, 2016
7. Kahle A, Brown GA, Shaw I, & Shaw BS. Mechanical and Physiological Analysis
    of Minimalist versus Traditionally Shod Running. J Sports Med Phys Fitness.
    56(9):974-9, 2016
8. Bice MR, Carey J, Brown GA, Adkins M, and Ball JW. The Use of Mobile
    Applications to Enhance Learning of the Skeletal System in Introductory
    Anatomy & Physiology Students. Int J Kines Higher Educ 27(1) 16-22, 2016
9. Shaw BS, Shaw I, & Brown GA. Resistance Exercise is Medicine. Int J Ther
    Rehab. 22: 233-237, 2015.
10.Brown GA, Bice MR, Shaw BS, & Shaw I. Online Quizzes Promote Inconsistent
    Improvements on In-Class Test Performance in Introductory Anatomy &
    Physiology. Adv. Physiol. Educ. 39: 63-6, 2015
11.Brown GA, Heiserman K, Shaw BS, & Shaw I. Rectus abdominis and rectus
    femoris muscle activity while performing conventional unweighted and weighted
    seated abdominal trunk curls. Medicina dello Sport. 68: 9-18. 2015
12.Botha DM, Shaw BS, Shaw I & Brown GA. Role of hyperbaric oxygen therapy in
    the promotion of cardiopulmonary health and rehabilitation. African Journal for

                                            n
                                                                            Armistead App. 0193

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.


      Physical, Health Education, Recreation and Dance (AJPHERD). Supplement 2
      (September), 20: 62-73, 2014
13.Abbey BA, Heelan KA, Brown, GA, & Bartee RT. Validity of HydraTrend™
    Reagent Strips for the Assessment of Hydration Status. J Strength Cond Res.
    28: 2634-9. 2014
14.Scheer KC, Siebrandt SM, Brown GA, Shaw BS, & Shaw I. Wii, Kinect, & Move.
    Heart Rate, Oxygen Consumption, Energy Expenditure, and Ventilation due to
    Different Physically Active Video Game Systems in College Students.
    International Journal of Exercise Science: 7: 22-32, 2014
15.Shaw BS, Shaw I, & Brown GA. Effect of concurrent aerobic and resistive
    breathing training on respiratory muscle length and spirometry in asthmatics.
    African Journal for Physical, Health Education, Recreation and Dance
    (AJPHERD). Supplement 1 (November), 170-183, 2013
16.Adkins M, Brown GA, Heelan K, Ansorge C, Shaw BS & Shaw I. Can dance
    exergaming contribute to improving physical activity levels in elementary school
    children? African Journal for Physical, Health Education, Recreation and Dance
    (AJPHERD). 19: 576-585, 2013
17.Jarvi MB, Brown GA, Shaw BS & Shaw I. Measurements of Heart Rate and
    Accelerometry to Determine the Physical Activity Level in Boys Playing
    Paintball. International Journal of Exercise Science: 6: 199-207, 2013
18.Brown GA, Krueger RD, Cook CM, Heelan KA, Shaw BS & Shaw I. A prediction
    equation for the estimation of cardiorespiratory fitness using an elliptical motion
    trainer. West Indian Medical Journal. 61: 114-117, 2013.
19.Shaw BS, Shaw I, & Brown GA. Body composition variation following
    diaphragmatic breathing. African Journal for Physical, Health Education,
    Recreation and Dance (AJPHERD). 18: 787-794, 2012.

Refereed Presentations
1.    Brown GA. Transwomen competing in women’s sports: What we know, and
       what we don’t. American Physiological Society New Trends in Sex and Gender
       Medicine conference. Held virtually due to Covid-19 pandemic. October 19 -
       22, 2021, 2021.
2.    Shaw BS, Boshoff VE, Coetzee S, Brown GA, Shaw I. A Home-based
       Resistance Training Intervention Strategy To Decrease Cardiovascular Disease
       Risk In Overweight Children Med Sci Sport Exerc. 53(5), 742. 68th Annual
       Meeting of the American College of Sports Medicine. Held virtually due to
       Covid-19 pandemic. June 1-5, 2021.
3.    Shaw I, Cronje M, Brown GA, Shaw BS. Exercise Effects On Cognitive
       Function And Quality Of Life In Alzheimer’s Patients In Long-term Care. Med



                                              o
                                                                            Armistead App. 0194

G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



      Sci Sport Exerc. 53(5), 743. 68th Annual Meeting of the American College of
      Sports Medicine. Held virtually due to Covid-19 pandemic. June 1-5, 2021.
4.   Brown GA, Escalera M, Oleena A, Turek T, Shaw I, Shaw BS. Relationships
      between Body Composition, Abdominal Muscle Strength, and Well Defined
      Abdominal Muscles. Med Sci Sport Exerc. 53(5), 197. 68th Annual Meeting of
      the American College of Sports Medicine. Held virtually due to Covid-19
      pandemic. June 1-5, 2021.
5.   Brown GA, Jackson B, Szekely B, Schramm T, Shaw BS, Shaw I. A Pre-
      Workout Supplement Does Not Improve 400 M Sprint Running or Bicycle
      Wingate Test Performance in Recreationally Trained Individuals. Med Sci
      Sport Exerc. 50(5), 2932. 65th Annual Meeting of the American College of
      Sports Medicine. Minneapolis, MN. June 2018.
6.   Paulsen SM, Brown GA. Neither Coffee Nor A Stimulant Containing “Pre-
      workout” Drink Alter Cardiovascular Drift During Walking In Young Men.
      Med Sci Sport Exerc. 50(5), 2409. 65th Annual Meeting of the American
      College of Sports Medicine. Minneapolis, MN. June 2018.
7.   Adkins M, Bice M, Bickford N, Brown GA. Farm to Fresh! A Multidisciplinary
      Approach to Teaching Health and Physical Activity. 2018 spring SHAPE
      America central district conference. Sioux Falls, SD. January 2018.
8.   Shaw I, Kinsey JE, Richards R, Shaw BS, and Brown GA. Effect Of Resistance
      Training During Nebulization In Adults With Cystic Fibrosis. International
      Journal of Arts & Sciences’ (IJAS). International Conference for Physical, Life
      and Health Sciences which will be held at FHWien University of Applied
      Sciences of WKW, at Währinger Gürtel 97, Vienna, Austria, from 25-29 June
      2017.
9.   Bongers M, Abbey BM, Heelan K, Steele JE, Brown GA. Nutrition Education
      Improves Nutrition Knowledge, Not Dietary Habits In Female Collegiate
      Distance Runners. Med Sci Sport Exerc. 49(5), 389. 64th Annual Meeting of
      the American College of Sports Medicine. Denver, CO. May 2017.
10. Brown GA, Steele JE, Shaw I, Shaw BS. Using Elisa to Enhance the
     Biochemistry Laboratory Experience for Exercise Science Students. Med Sci
     Sport Exerc. 49(5), 1108. 64th Annual Meeting of the American College of
     Sports Medicine. Denver, CO. May 2017.
11. Brown GA, Shaw BS, and Shaw I. Effects of a 6 Week Conditioning Program
     on Jumping, Sprinting, and Agility Performance In Youth. Med Sci Sport
     Exerc. 48(5), 3730. 63rd Annual Meeting of the American College of Sports
     Medicine. Boston, MA. June 2016.
12. Shaw I, Shaw BS, Boshoff VE, Coetzee S, and Brown GA. Kinanthropometric
     Responses To Callisthenic Strength Training In Children. Med Sci Sport Exerc.

                                              p
                                                                         Armistead App. 0195

G. Brown                                             Expert Report, B.P.J. v. WV BOE et al.


    48(5), 3221. 63rd Annual Meeting of the American College of Sports Medicine.
    Boston, MA. June 2016.
13. Shaw BS, Shaw I, Gouveia M, McIntyre S, and Brown GA. Kinanthropometric
     Responses To Moderate-intensity Resistance Training In Postmenopausal
     Women. Med Sci Sport Exerc. 48(5), 2127. 63rd Annual Meeting of the
     American College of Sports Medicine. Boston, MA. June 2016.
14. Bice MR, Cary JD, Brown GA, Adkins M, and Ball JW. The use of mobile
     applications to enhance introductory anatomy & physiology student
     performance on topic specific in-class tests. National Association for
     Kinesiology in Higher Education National Conference. January 8, 2016.
15. Shaw I, Shaw BS, Lawrence KE, Brown GA, and Shariat A. Concurrent
     Resistance and Aerobic Exercise Training Improves Hemodynamics in
     Normotensive Overweight and Obese Individuals. Med Sci Sport Exerc. 47(5),
     559. 62nd Annual Meeting of the American College of Sports Medicine. San
     Diego, CA. May 2015.
16. Shaw BS, Shaw I, McCrorie C, Turner S., Schnetler A, and Brown GA.
     Concurrent Resistance and Aerobic Training in the Prevention of Overweight
     and Obesity in Young Adults. Med Sci Sport Exerc. 47(5), 223. 62nd Annual
     Meeting of the American College of Sports Medicine. San Diego, CA. May 2015.
17. Schneekloth B, Shaw I, Shaw BS, and Brown GA. Physical Activity Levels
     Using Kinect™ Zumba Fitness versus Zumba Fitness with a Human Instructor.
     Med Sci Sport Exerc. 46(5), 326. 61st Annual Meeting of the American College
     of Sports Medicine. Orlando, FL. June 2014.
18. Shaw I, Lawrence KE, Shaw BS, and Brown GA. Callisthenic Exercise-related
     Changes in Body Composition in Overweight and Obese Adults. Med Sci Sport
     Exerc. 46(5), 394. 61st Annual Meeting of the American College of Sports
     Medicine. Orlando, FL June 2014.
19. Shaw BS, Shaw I, Fourie M, Gildenhuys M, and Brown GA. Variances In The
     Body Composition Of Elderly Woman Following Progressive Mat Pilates. Med
     Sci Sport Exerc. 46(5), 558. 61st Annual Meeting of the American College of
     Sports Medicine. Orlando, FL June 2014.
20. Brown GA, Shaw I, Shaw BS, and Bice M. Online Quizzes Enhance
     Introductory Anatomy & Physiology Performance on Subsequent Tests, But Not
     Examinations. Med Sci Sport Exerc. 46(5), 1655. 61st Annual Meeting of the
     American College of Sports Medicine. Orlando, FL June 2014.
21. Kahle, A. and Brown, G.A. Electromyography in the Gastrocnemius and
     Tibialis Anterior, and Oxygen Consumption, Ventilation, and Heart Rate
     During Minimalist versus Traditionally Shod Running. 27th National
     Conference on Undergraduate Research (NCUR). La Crosse, Wisconsin USA.
     April 11-13, 2013



                                           q
                                                                           Armistead App. 0196

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



22. Shaw, I., Shaw, B.S., and Brown, G.A. Resistive Breathing Effects on
     Pulmonary Function, Aerobic Capacity and Medication Usage in Adult
     Asthmatics Med Sci Sports Exerc 45 (5). S1602 2013. 60th Annual Meeting of
     the American College of Sports Medicine, Indianapolis, IN USA, May 26-30
     3013
23. Shaw, B.S. Gildenhuys, G.A., Fourie, M. Shaw I, and Brown, G.A. Function
     Changes In The Aged Following Pilates Exercise Training. Med Sci Sports
     Exerc 45 (5). S1566 60th Annual Meeting of the American College of Sports
     Medicine, Indianapolis, IN USA, May 26-30 2013
24. Brown, G.A., Abbey, B.M., Ray, M.W., Shaw B.S., & Shaw, I. Changes in
     Plasma Free Testosterone and Cortisol Concentrations During Plyometric
     Depth Jumps. Med Sci Sports Exerc 44 (5). S598, 2012. 59th Annual Meeting of
     the American College of Sports Medicine. May 29 - June 2, 2012; San
     Francisco, California
25. Shaw, I., Fourie, M., Gildenhuys, G.M., Shaw B.S., & Brown, G.A. Group
     Pilates Program and Muscular Strength and Endurance Among Elderly
     Woman. Med Sci Sports Exerc 44 (5). S1426. 59th Annual Meeting of the
     American College of Sports Medicine. May 29 - June 2, 2012; San Francisco,
     California
26. Shaw B.S., Shaw, I., & Brown, G.A. Concurrent Inspiratory-Expiratory and
     Aerobic Training Effects On Respiratory Muscle Strength In Asthmatics. Med
     Sci Sports Exerc 44 (5). S2163. 59th Annual Meeting of the American College of
     Sports Medicine. May 29 - June 2, 2012; San Francisco, California
27. Scheer, K., Siebrandt, S., Brown, G.A, Shaw B.S., & Shaw, I. Heart Rate,
     Oxygen Consumption, and Ventilation due to Different Physically Active Video
     Game Systems. Med Sci Sports Exerc 44 (5). S1763. 59th Annual Meeting of
     the American College of Sports Medicine. May 29 - June 2, 2012; San
     Francisco, California
28. Jarvi M.B., Shaw B.S., Shaw, I., & Brown, G.A. (2012) Paintball Is A Blast, But
     Is It Exercise? Heart Rate and Accelerometry In Boys Playing Paintball. Med
     Sci Sports Exerc 44 (5). S3503. 59th Annual Meeting of the American College of
     Sports Medicine. May 29 - June 2, 2012; San Francisco, California

Book Chapters
1. Shaw BS, Shaw I, Brown G.A. Importance of resistance training in the
    management of cardiovascular disease risk. In Cardiovascular Risk Factors.
    IntechOpen, 2021.




                                             r
                                                                           Armistead App. 0197

G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.


2. Brown, G.A. Chapters on Androstenedione and DHEA. In: Nutritional
    Supplements in Sport, Exercise and Health an A-Z Guide. edited by Linda M.
    Castell, Samantha J. Stear, Louise M. Burke. Routledge 2015.

Refereed Web Content
1. Brown GA. Looking back and moving forward. The importance of reflective
    assessment in physiology education. (January 13, 2022)
    https://blog.lifescitrc.org/pecop/2022/01/13/looking-back-and-moving-forward-the-
    importance-of-reflective-assessment-in-physiology-education/
2. Brown GA. The Olympics, sex, and gender in the physiology classroom.
    Physiology Educators Community of Practice, managed by the Education group
    of the American Physiological Society (August 18, 2021)
    https://blog.lifescitrc.org/pecop/2021/08/18/the-olympics-sex-and-gender-in-the-
    physiology-classroom/


A complete CV is available at
https://www.unk.edu/academics/hperls/bio_pages/current-vita-gab.pdf




                                             s
                                                                                          Armistead App. 0198


                          ,17+(81,7('67$7(6',675,&7&2857
                      )257+(6287+(51',675,&72):(679,5*,1,$
                                  &+$5/(6721',9,6,21
                                            
    %3- E\ KHU QH[W IULHQG DQG PRWKHU +($7+(5     
    -$&.621                                                  
                                                            
                                 Plaintiff,                
                                                               
                     YV                                      
                                                              
    :(67 9,5*,1,$ 67$7( %2$5' 2) 
    ('8&$7,21 +$55,621 &2817< %2$5' 2)                          &DVH1RFY
    ('8&$7,21 :(67 9,5*,1,$ 6(&21'$5<                                       
    6&+22/6 $&7,9,7,(6 &200,66,21 :                             +RQ-RVHSK5*RRGZLQ
    &/$<721 %85&+ LQ KLV RIILFLDO FDSDFLW\ DV 6WDWH
    6XSHULQWHQGHQW '25$ 6787/(5 LQ KHU RIILFLDO
    FDSDFLW\ DV WKH +DUULVRQ &RXQW\ 6XSHULQWHQGHQW DQG
    WKH67$7(2):(679,5*,1,$
    
                                Defendants,
    
                   DQG
    
    /$,1(<$50,67($'
    
                                Defendant-Intervenor.


                 '(&/$5$7,212)'5&+$'7&$5/6210')$&60

          ,'U&KDG7&DUOVRQSXUVXDQWWR86&RGHGHFODUHXQGHUSHQDOW\RI

SHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVRI$PHULFDWKDWWKHIDFWVFRQWDLQHGLQP\([SHUW

5HSRUWRI'U&KDG7&DUOVRQ0')$&0SUHSDUHGIRUB.P.J. v. West Virginia DWWDFKHG

KHUHWRDUHWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHIDQGWKDWWKHRSLQLRQV

H[SUHVVHGWKHUHLQUHSUHVHQWP\RZQH[SHUWRSLQLRQV
       
       ([HFXWHGRQ)HEUXDU\            
                                      
             
                                                            &KDG7&DUOVRQ0'


          
                                                    i

         Armistead App. 0199










    ii

                                                     Armistead App. 0200





    Expert Report of Dr. Chad Thomas Carlson, M.D., FACM
             prepared for B.P.J. v. West Virginia
                      February 23, 2022





                             iii

                                                                                                               Armistead App. 0201



                                               TABLE OF CONTENTS

Table of Contents .......................................................................................................... iv
Introduction.................................................................................................................... 1
Credentials ..................................................................................................................... 5
    I.      OVERVIEW .......................................................................................................... 8
    II. A BRIEF HISTORY OF THE RATIONALE FOR SEPARATION OF SPORT
    BY SEX...................................................................................................................... 10
    III.       UNDERSTANDING THE CAUSES OF SPORTS INJURIES ..................... 13
         A. The epidemiological model of injury ......................................................... 13
         B. The biomechanical model of injury ........................................................... 18
    IV.        THE PHYSICS OF SPORTS INJURY ........................................................... 20
    V. GENDER DIFFERENCES RELEVANT TO INJURY ..................................... 24
         A. Height and weight ..................................................................................... 25
         B. Bone and connective tissue strength ........................................................ 26
         C. Speed .......................................................................................................... 27
         D. Strength/Power .......................................................................................... 27
         E. Throwing and kicking speed ..................................................................... 30
    VI.        ENHANCED FEMALE VULNERABILITY TO CERTAIN INJURIES ....... 33
         A. Concussions ................................................................................................ 35
         B. Anterior Cruciate Ligament injuries ........................................................ 42
    VII. TESTOSTERONE SUPPRESSION WILL NOT PREVENT THE HARM TO
    FEMALE SAFETY IN ATHLETICS ....................................................................... 46
         A. Size and weight .......................................................................................... 51
         B. Bone density ............................................................................................... 52
         C. Strength ..................................................................................................... 52
         D. Speed .......................................................................................................... 55
Conclusion .................................................................................................................... 56
Bibliography ................................................................................................................. 61
Appendix – List of Publications .................................................................................. 71
Curriculum Vitae (Abbreviated) ................................................................................. 72






                                                                  iv

                                                                                Armistead App. 0202





                                     INTRODUCTION

        Up to the present, the great majority of news, debate, and even

scholarship about transgender participation in female athletics has focused on

track and field events and athletes, and the debate has largely concerned

questions of fairness and inclusion. However, the transgender eligibility policies

of many high school athletic associations in the United States apply with equal

force to all sports, including sports in which players frequently collide with each

other, or can be forcefully struck by balls or equipment such as hockey or

lacrosse sticks. And in fact, biologically male transgender athletes have

competed in a wide range of high school, collegiate, and professional girls’ or

women’s sports, including, at least, basketball, 1 soccer, 2 volleyball, 3 softball, 4

lacrosse,5 and even women’s tackle football.6


                                
1https://www.espn.com/espnw/athletes-life/story/_/id/10170842/espnw-gabrielle-ludwig-52-

year-old-transgender-women-college-basketball-player-enjoying-best-year-life (accessed
2/17/22)
2https://www.unionleader.com/news/education/nh-bill-limits-women-s-sports-to-girls-born-

female/article_d1998ea1-a1b9-5ba4-a48d-51a2aa01b910.html;
https://www.outsports.com/2020/1/17/21069390/womens-soccer-mara-gomez-transgender-
player-argentina-primera-division-villa-san-marcos (accessed 6/20/21)
3https://news.ucsc.edu/2016/09/challenging-assumptions.html(accessed 6/20/21);
https://www.outsports.com/2017/3/20/14987924/trans-athlete-volleyball-tia-thompson (accessed
6/20/21)
4https://www.foxnews.com/us/californias-transgender-law-allows-male-high-schooler-to-make-

girls-softball-team (accessed 6/20/21)
5https://savewomenssports.com/f/emilys-story?blogcategory=Our+Stories   (accessed 6/20/21)
6https://www.outsports.com/2017/12/13/16748322/britney-stinson-trans-football-baseball

(accessed 6/20/21); https://www.mprnews.org/story/2018/12/22/transgender-football-player-
prevails-in-lawsuit (accessed 6/20/21)


                                              1

                                                                        Armistead App. 0203




      The science of sex-specific differences in physiology, intersecting with the

physics of sports injury, leaves little doubt that participation by biological males

in these types of girls’ or women’s sports, based on gender identity, creates

significant additional risk of injury for the biologically female participants

competing alongside these transgender athletes.

      In 2020, after an extensive review of the scientific literature, consultation

with experts, and modeling of expected injuries, World Rugby published revised

rules governing transgender participation, along with a detailed explanation of

how the new policy was supported by current evidence. World Rugby concluded

that “there is currently no basis with which safety and fairness can be assured

to biologically female rugby players should they encounter contact situations

with players whose biological male advantages persist to a large degree,” and

that after puberty, “the lowering of testosterone removes only a small proportion

of the documented biological differences.” Hence, World Rugby concluded that

biological men should not compete in women’s rugby. (World Rugby

Transgender Women Guidelines 2020.) World Rugby has been criticized by some

for its new guidelines, but those criticisms have often avoided discussions of

medical science entirely, or have asserted that modeling scenarios can overstate

true risk. What cannot be denied, however, is that World Rugby’s approach is

evidence-based, and rooted in concern for athlete safety. As a medical doctor

who has spent my career in sports medicine, it is my opinion that World Rugby’s

assessment of the evidence is scientifically sound, and that injury modeling


                                         2

                                                                       Armistead App. 0204




meaningfully predicts that biologically male transgender athletes do constitute

a safety risk for the biologically female athlete in women’s sports.

      In a similar vein, in 2021, the UK Sports Councils’ Equality Group

released new guidance for transgender inclusion in organized sports. This

guidance was formulated after extensive conversations with stakeholders, a

review of scientific findings related to transgender athletes in sport through

early 2021, and an assessment of the use by some sport national governing

bodies of case-by-case assessment to determine eligibility. Noteworthy within

these stakeholder consultations was a lack of consensus on any workable

solution, as well as concerns related to athlete safety and “adherence to rules

which give sport validity.” The Literature Review accompanying the guidance

document further noted that “[t]here are significant differences between the

sexes which render direct competition between males and females . . . unsafe in

sports which allow physical contact and collisions.” (UK Sports Councils’

Equality Group Literature Review 2021 at 1.) Their review of the science “made

clear that there are retained differences in strength, stamina and physique

between the average woman compared with the average transgender

woman….with or without testosterone suppression.” (UK Sports Councils’

Equality Group Guidance at 3.) This was also reflected in their ten guiding

principles, stating that physical differences between the sexes will “impact

safety parameters in sports which are combat, collision or contact in nature.”

(UK Sports Councils’ Equality Group Guidance 2021 at 7.) Ultimately, UK Sport


                                        3

                                                                      Armistead App. 0205




concluded that the full inclusion of transgender athletes in women’s sports

“cannot be reconciled within the current structure of sport,” stating that “the

inclusion of transgender people into female sport cannot be balanced regarding

transgender inclusion, fairness and safety in gender-affected sport where there

is meaningful competition . . . . due to retained differences in strength, stamina

and physique between the average woman compared with the average

transgender woman…, with or without testosterone suppression.” (UK Sports

Councils’ Equality Group Guidance 2021 at 6.) Finally, UK Sport affirmed the

use of sex categorization in sport, along with age and disability, as important

for the maintenance of safety and fairness. (UK Sports Councils’ Equality Group

Guidance 2021 at 7-8.)

      Unfortunately, apart from World Rugby’s careful review and the recent

release of UK Sports Councils’ guidance, the public discourse is lacking any

careful consideration of the question of safety. As a physician who has spent my

career caring for athletes, I find this silence about safety both surprising and

concerning. It is my hope through this white paper to equip and motivate sports

leagues and policy makers to give adequate attention to the issue of safety for

female athletes when transgender policies are being considered. I first explain

the nature and causes of common sports injuries. I then review physiological

differences between male and female bodies that affect the risk and severity of

injuries to females when biological males compete in the female category, and




                                        4

                                                                        Armistead App. 0206




explain why testosterone suppression does not eliminate these heightened risks

to females. Finally, I explain certain conclusions about those risks.


                                CREDENTIALS

        1.   I am a medical doctor practicing Sports Medicine, maintaining an

active clinical practice at Stadia Sports Medicine in West Des Moines, Iowa. I

received my M.D. from the University of Nebraska College of Medicine in 1994

and completed a residency in family medicine at the University of Michigan in

1997.

        2.   Following my time in Ann Arbor, I matched to a fellowship in

Sports Medicine at Ball Memorial Hospital in Muncie, Indiana, training from

1997 to 1999, with clinical time split between Central Indiana Orthopedics, the

Ball State Human Performance Laboratory, and the Ball State University

training room. I received my board certification in Sports Medicine in 1999,

which I continue to hold. Since residency training, my practice has focused on

Sports Medicine–the treatment and prevention of injuries related to sport and

physical activity.

        3.   Since 1997, I have served in several clinical practices and settings

as a treating physician, including time as team physician for both the University

of Illinois and Ball State University, where I provided care to athletes in several

sports, including football, ice hockey, basketball, field hockey, softball,

gymnastics, soccer, and volleyball. In the course of my career, I have provided

coverage for NCAA Power Five Conference championships and NCAA National

                                        5

                                                                    Armistead App. 0207




Championship events in basketball, field hockey and gymnastics, among other

sports, as well as provided coverage for national championship events for U.S.A.

gymnastics, and U.S. Swimming and Diving. I have also covered professional

soccer in Des Moines.

      4.    Since 2006, I have been the physician owner of Stadia Sports

Medicine in West Des Moines, Iowa. My practice focuses on treatment of sports

and activity-related injury, including concussive injury, as well as problems

related to the physiology of sport.

      5.    I have served in and provided leadership for several professional

organizations over the course of my career. In 2004, I was designated a Fellow

of the American College of Sports Medicine (ACSM). I have served on ACSM’s

Health and Science Policy Committee since 2010, and for a time chaired their

Clinical Medicine Subcommittee. From 2009 to 2013, I served two elected terms

on the Board of Directors of the American Medical Society for Sports Medicine

(AMSSM), and during that time served as Chair of that body’s Practice and

Policy Committee. I was subsequently elected to a four-year term on AMSSM’s

executive committee in 2017, and from 2019-20, I served as AMSSM’s President.

AMSSM is the largest organization of sports medicine physicians in the world.

I gained fellowship status through AMSSM in 2020–my first year of eligibility.

My work for ACSM and AMSSM has brought with it extensive experience in

public policy as relates to Sports Medicine.




                                        6

                                                                     Armistead App. 0208




      6.    In 2020, I was named as AMSSM’s first board delegate to the

newly-constituted Physical Activity Alliance. I am a named member of an NCAA

advisory group on COVID-19, through which I provided input regarding the

cancellation of the basketball tournament in 2020. I also serve as a member of

the Iowa Medical Society’s Sports Medicine Subcommittee and have been asked

to serve on the Iowa High School Athletic Association’s newly-forming Sports

Medicine Advisory Committee.

      7.    I have served as a manuscript reviewer for organizational policy

pronouncements, and for several professional publications, most recently a

sports medicine board review book just published in 2021. I have published

several articles on topics related to musculoskeletal injuries in sports and

rehabilitation, which have been published in peer-reviewed journals such as

Clinical Journal of Sports Medicine, British Journal of Sports Medicine, Current

Reviews in Musculoskeletal Medicine, Athletic Therapy Today, and the Journal

of Athletic Training. In conjunction with my work in policy advocacy, I have

helped write several pieces of legislation, including the initial draft of what

became the Sports Medicine Licensure Clarity Act, signed into law by President

Trump in 2018, which eases the restrictions on certain practitioners to provide

health services to athletes and athletic teams outside of the practitioner’s home

state. A list of my publications over the past ten (10) years is included as an

appendix to this report.




                                       7

                                                                                   Armistead App. 0209




       8.     In the past four years, I have not testified as an expert witness in

a deposition or at trial.

       9.     I am being compensated for my services as an expert witness in

this case at the rates of $650 per hour for consultation, $800 per hour for

deposition testimony, and $3,500 per half-day of trial testimony.


I.    OVERVIEW

       10.    In this statement, I offer information and my own professional

opinion on the potential for increased injury risk to females in sports when they

compete against biologically male transgender athletes.7 At many points in this

statement, I provide citations to published, peer-reviewed articles that provide

relevant and supporting information to the points I make.

       11.    The principal conclusions that I set out in this white paper are as

follows:

               a.Government and sporting organizations have historically
               considered the preservation of athlete safety as one component of
               competitive equity.

               b.Injury in sport is somewhat predictable based on modeling
               assumptions that take into account relevant internal and external
               risk factors.


                               
7In the body of this paper, I use the terms “male” and “female” according to their ordinary
medical meaning–that is to say, to refer to the two biological sexes. I also use the word “man”
to refer to a biologically male human, and “woman” to refer to a biologically female human. In
the context of this opinion, I include in these categories non-syndromic, biologically-normal
males and females who identify as a member of the opposite sex, including those who use
endogenous hormone suppression to alter their body habitus. In contexts that are not focused
on questions of biology and physiology, terms of gender are sometimes used to refer to
subjective identities rather than to biological categories – something I avoid for purposes of a
paper focused on sports science


                                                8

                                                                                   Armistead App. 0210




               c. Males exhibit large average advantages in size, weight, and
               physical capacity over females—often falling far outside female
               ranges. Even before puberty, males have a performance advantage
               over females in most athletic events. Failure to preserve protected
               female-only categories in contact sports (broadly defined) will
               ultimately increase both the frequency and severity of injury
               suffered by female athletes who share playing space with these
               males.

               d.Current research supports the conclusion that suppression of
               testosterone levels by males who have already begun puberty will
               not fully reverse the effects of testosterone on skeletal size,
               strength, or muscle hypertrophy, leading to persistence of sex-
               based differences in power, speed, and force-generating capacity.

       12.    In this white paper, I use the term “contact sports” to refer broadly

to all sports in which collisions between players, or collisions between equipment

such as a stick or ball and the body of a player, occur with some frequency

(whether or not permitted by the rules of the game), and are well recognized in

the field of sports medicine as causes of sport-related injuries.8 The 1975 Title

IX implementing regulations (34 CFR § 106.41) say that “for purposes of this

[regulation] contact sports include boxing, wrestling, rugby, ice hockey, football,

basketball, and other sports the purpose or major activity of which involves

bodily contact.” Certainly, all of the sports specifically named in the regulation

fall within my definition of “contact sport.” Mixed martial arts, field hockey

(Barboza 2018), soccer (Kuczinski 2018), rugby (Viviers 2018), lacrosse




                               
8It is common to see, within the medical literature, reference to distinctions between “contact”
and “collision” sports. For purposes of clarity, I have combined these terms, since in the
context of injury risk modeling, there is no practical distinction between them.


                                               9

                                                                               Armistead App. 0211




(Pierpoint 2019), volleyball,9 baseball, and softball also involve collisions that

can and do result in injuries, and so also fall within my definition.


II.   A BRIEF HISTORY OF THE RATIONALE FOR SEPARATION OF
       SPORT BY SEX

       13.    World Rugby is correct when it notes that “the women’s category

exists to ensure protection, safety, and equality” for women. (World Rugby

Transgender Women Guidelines 2020.) To some extent, those in charge of sport

governing bodies in the modern era have always recognized the importance of

grouping athletes together based on physical attributes, in order to ensure both

safety and competitive balance. Weight classifications have existed in wrestling

since it reappeared as an Olympic event in 1904. Women and men have

participated in separate categories since the advent of intercollegiate sporting

clubs early in the 20th century. When Title IX went into effect in 1975, there

were just under 300,000 female high school athletes, and fewer than 10,000

female collegiate athletes. With the changes that resulted from Title IX, it was

assumed that newly-available funds for women in sport would ensure the

maintenance of existing, or creation of new, sex-segregated athletic teams that

would foster greater participation by women. This has been borne out

subsequently; by the first half of the 1980’s these numbers had risen to 1.9

million and nearly 100,000 respectively. (Hult 1989.)


                              
9See https://www.latimes.com/sports/story/2020-12-08/stanford-volleyball-hayley-hodson-
concussions-cte-lawsuit, and https://volleyballmag.com/corinneatchison/ (both accessed
6/20/21).


                                            10

                                                                     Armistead App. 0212




       14.   The rationale for ongoing “separate but equal” status when it came

to sex-segregated sports was made clear within the language of the original

implementing regulations of Title IX , which, acknowledging real, biologically-

driven differences between the sexes, created carve-out exceptions authorizing

sex-separation of sport for reasons rooted in the maintenance of competitive

equity. Importantly, the effect of these innate sex-based differences on the

health and safety of the athlete were acknowledged by the express authorization

of sex-separated teams for sports with higher perceived injury risk—i.e.,

“contact sports.” (Coleman 2020.)

       15.   In the almost half century since those regulations were adopted,

the persistent reality of sex-determined differences in athletic performance and

safety has been recognized by the ongoing and nearly universal segregation of

men’s and women’s teams–even those that are not classically defined as being

part of a contact or collision sport.

       16.   Now, however, many schools and sports leagues in this country are

permitting males to compete in female athletics—including in contact sports—

based on gender identity. In my view, these policies have been adopted without

careful analysis of safety implications. Other researchers and clinicians have

addressed questions of the negative impact of such policies on fairness, or

equality of athletic experiences for girls and women, in published articles, and

in court submissions. One recent review of track and field performances,

including sprints, distance races and field events, noted that men surpass the


                                        11

                                                                      Armistead App. 0213




top female performance in each category between 1000 and 10,000 times each

year, with hundreds or thousands of men beating the top women in each event.

(Coleman & Shreve.) Although this was not their primary focus, World Rugby

well-summarized the point when it observed that in a ranking list of the top

thousand performances in most sports, every year, every one will have been

achieved by a biological male. (World Rugby Transgender Women Guidelines

2020.) Although most easily documented in athletes who have gone through

puberty, these differences are not exclusively limited to post-pubescent athletes

either.

      17.   I have reviewed the expert declaration of Gregory A. Brown, Ph.D.,

FACM of February 23, 2022, provided in this case, which includes evidence from

a wide variety of sources, including population-based mass testing data, as well

as age-stratified competition results, all of which support the idea that

prepubertal males run faster, jump higher and farther, exhibit higher aerobic

power output, and have greater upper body strength (evidenced by stronger hand

grip and better performance with chin-ups or bent arm hang) than comparably

aged females. This performance gap is well-documented in population-based

physiologic testing data that exists in databases such as the Presidential Fitness

Test, the Eurofit Fitness test, and additional mass testing data from the UK and

Australia. Collectively, this data reveals that pre-pubertal males outperform

comparably aged females in a wide array of athletic tests including but not

limited to the countermovement jump test, drop jump test, change of direction


                                       12

                                                                        Armistead App. 0214




test, long jump, timed sit-up test, the 10 X 5 meter shuttle run test, the 20 meter

shuttle run test, curl-ups, pull-ups, push-ups, one mile run, standing broad jump,

and bent arm hang test. Dr. Brown further references studies showing a

significant difference in the body composition of males and females before

puberty. In sum, a large and unbridgeable performance gap between the sexes is

well-studied and equally well-documented, beginning in many cases before

puberty. In this white paper, I focus on some of these differences as they touch

on the question of athlete safety.


III.   UNDERSTANDING THE CAUSES OF SPORTS INJURIES

        18.   The causes for injury in sport are multifactorial. In recent decades,

medical researchers have provided us an evolving understanding of how sports

injuries occur, as well as the factors that make them more or less probable, and

more or less severe. Broadly speaking, there are two ways of modeling injury:

the epidemiological model, and the biomechanical model. These models are not

mutually exclusive, but provide complementary conceptual frameworks to help

us stratify risk in sport.

        A.     The epidemiological model of injury

        19.   From a practical standpoint, sports medicine researchers and

clinicians often use the “epidemiological model” to explain, prevent and manage

sports injuries. Broadly speaking, this model views an injury in sport as the

product of internal and external risk factors, triggered by an inciting event. In

other words, a given injury is “caused” by a number of different factors that are


                                         13

                                                                       Armistead App. 0215




unique to a given situation. (Meeuwise 1994.) When the interplay of these

factors exceeds the injury threshold, injury occurs. One example of how this

interplay might work would be a female distance runner in track who develops

a tibial stress fracture, with identified risks of low estrogen state from

amenorrhea (suppression of menses), an aggressive winter training program on

an indoor tile surface, and shoes that have been used for too many miles, and

are no longer providing proper shock absorption. Most risk factors ebb and flow,

with the overall injury risk at any given time fluctuating as well. Proper

attention to risk factor reduction before the start of the sports season (including

appropriate rule-making) is the best way to reduce actual injury rates during

the season.

      20.    As alluded to, the risk factors associated with injury can be broadly

categorized as internal or external. Internal risk factors are internal to the

athlete. These include relatively fixed variables, such as the athlete’s age,

biological sex, bone mineral density (which affects bone strength) and joint

laxity, as well as more mutable variables such as body weight, fitness level,

hydration state, current illness, prior injury, or psychosocial factors such as

aggression.

      21.    External risk factors are, as the name suggests, external to the

athlete. These include non-human risks such as the condition of the playing

surface or equipment, athletic shoe wear, or environmental conditions. Other

external risk factors come from opposing competitors, and include such


                                        14

                                                                                    Armistead App. 0216




variables as player size, speed, aggressiveness, and overall adherence to the

rules of the game. As already mentioned, these risks can be minimized through

the proper creation and enforcement of rules, as well as the appropriate

grouping of athletes together for purposes of competition. To the latter point,

children don’t play contact sports with adults and, in the great majority of cases,

men and women compete in categories specific to their own biological sex.

Certainly these categorical separations are motivated in part by average

performance differences and considerations of fairness and opportunity. But

they are also motivated by safety concerns. When properly applied, these

divisions enhance safety because, when it comes to physical traits such as body

size, weight, speed, muscle girth, and bone strength, although a certain amount

of variability exists within each group, the averages and medians differ widely

between the separated groups.10

        22.    Thus, each of these commonly utilized groupings of athletes

represents      a    pool     of    individuals      with     predictable      commonalities.

Epidemiological risk assessment is somewhat predictable and translatable as

long as these pools remain intact. But the introduction of outside individuals


                                
10In some cases, safety requires even further division or exclusion. A welterweight boxer
would not compete against a heavyweight, nor a heavyweight wrestle against a smaller
athlete. In the case of youth sports, when children are at an age where growth rates can vary
widely, leagues will accommodate for naturally-occurring large discrepancies in body size by
limiting larger athletes from playing positions where their size and strength is likely to result
in injury to smaller players. Thus, in youth football, players exceeding a certain weight
threshold may be temporarily restricted to playing on the line and disallowed from carrying
the ball, or playing in the defensive secondary, where they could impose high-velocity hits on
smaller players.


                                               15

                                                                       Armistead App. 0217




into a given pool (e.g. an adult onto a youth football team, or males into most

women’s sports) would change the balance of risk inside that pool. Simply put,

when you introduce larger, faster, and stronger athletes from one pool into a

second pool of athletes who are categorically smaller (whether as a result of age

or sex), you have altered the characteristics of the second pool, and, based on

known injury modeling, have statistically increased the injury risk for the

original athletes in that pool. This, in a nutshell, is the basis for World Rugby’s

recommendations.

      23.   Most clinical studies of the epidemiology of sports injuries use a

multivariate approach, identifying multiple independent risk factors and

examining how these factors might interact, in order to determine their relative

contribution to injury risk, and make educated inferences about causation.

(Meeuwise 1994.)

      24.   In applying the multivariate approach, the goal is to keep as many

variables as possible the same so as to isolate the potential effect of a single

variable (such as age or biological sex) on injury risk, as well as to determine

how the isolated variable interacts with the other analyzed variables to affect

injury risk. Failure to consider relevant independent variables can lead to error.

Researchers focusing on differences between male and female athletes, for

example, would not compare concussion rates of a high school girls’ soccer team

to concussion rates of a professional men’s soccer team, because differences in

the concussion rate might be due to a number of factors besides sex, such as age,


                                        16

                                                                        Armistead App. 0218




body mass, relative differences in skill, speed, or power, as well as differences in

training volume and intensity.

      25.   As indicated earlier, an injury event is usually the end product of

a number of different risk factors coming together. (Bahr 2005.) A collision

between two soccer players who both attempt to head the ball, for example,

might be the inciting event that causes a concussion. Although the linear and

angular forces that occur through sudden deceleration would be the proximate

cause of this injury, the epidemiological model of injury would also factor in

“upstream” risks, predicting the possibility of an injury outcome for each athlete

differently depending on the sum of these risks. If the collision injury described

above occurs between two disparately-sized players, the smaller athlete will

tend to decelerate more abruptly than the larger athlete, increasing the smaller

athlete’s risk for injury. Additional discrepancies in factors such as neck

strength, running speeds, and muscle force generation capacity all result in

differing risks and thus, the potential for differing injury outcomes from the

same collision. As I discuss later in this white paper, there are significant

statistical differences between the sexes when it comes to each of these

variables, meaning that in a collision sport where skeletally mature males and

females are playing against one another, there is a higher statistical likelihood

that injury will result when collisions occur, and in particular there is a higher

likelihood that a female will suffer injury. This again is the basis for the recent

decision by World Rugby to disallow the crossover of men into women’s rugby,


                                        17

                                                                      Armistead App. 0219




regardless of gender identity. (World Rugby Transgender Women Guidelines

2020.) The decision-making represented by this policy change is rational and

rooted in objective facts and objective risks of harm, because it takes real,

acknowledged, and documented physical differences between the sexes (in many

cases before adolescence), and models expected injury risk on the basis of the

known differences that persist even after hormone manipulation.

      B.     The biomechanical model of injury

      26.   Sports medicine researchers and clinicians also consider a

biomechanical approach when it comes to understanding sports injuries. In the

biomechanical model of injury, injury is considered to be analogous to the failure

of a machine or other structure. Every bone, muscle, or connective tissue

structure in an athlete’s body has a certain load tolerance. Conceptually, when

an external “load” exceeds the load tolerance of a given structure in the human

body, an injury occurs. (Fung 1993 at 1.) Thus, researchers focus on the

mechanical load—the force exerted on a bone, ligament, joint or other body

part—and the load tolerance of that impacted or stressed body part, to

understand what the typical threshold for injury is, and how predictable this

might be. (McIntosh 2005 at 2-3.) Biomechanical models of injury usually

consider forces in isolation. The more consistent the movement pattern of an

individual, and the fewer the contributions of unexpected outside forces to the

athlete, the more accurate biomechanical predictions of injury will be.




                                       18

                                                                       Armistead App. 0220




      27.   Biomechanical modeling can be highly predictive in relatively

simple settings. For example, in blunt trauma injury from falls, mortality

predictably rises the greater the fall. About 50% of people who fall four stories

will survive, while only 10% will survive a fall of seven stories. (Buckman 1991.)

As complexity increases, predictability in turn decreases. In sport, the pitching

motion is highly reproducible, and strain injury to the ulnar collateral ligament

(UCL) of the elbow can be modeled. The load tolerance of the UCL of a pitcher’s

elbow is about 32 Newton-meters, but the failure threshold of a ligament like

this in isolation is not the only determinant of whether injury will occur. During

the pitching motion, the valgus force imparted to the elbow (gapping stress

across the inner elbow that stretches the UCL) routinely reaches 64 Newtons,

which is obviously greater than the failure threshold of the ligament. Since not

all pitchers tear their UCLs, other variables innate to an athlete must mitigate

force transmission to the ligament and reduce risk. The load tolerance of any

particular part of an athlete’s body is thus determined by other internal factors

such as joint stiffness, total ligament support, muscle strength across the joint,

or bone mineral density. Injury load can be self-generated, as in the case of a

pitcher’s elbow, or externally-generated, as in the case of a linebacker hitting a

wide receiver. While load tolerance will vary by individual, as described above,

and is often reliant on characteristics innate to a given athlete, external load is

determined by outside factors such as the nature of the playing surface or




                                        19

                                                                          Armistead App. 0221




equipment used, in combination with the weight and speed of other players or

objects (such as a batted ball) with which the player collides. (Bahr 2005.)

       28.   As this suggests, the two “models” of sports injuries described

above are not in any sense inconsistent or in tension with each other. Instead,

they are complementary ways of thinking about injuries that can provide

different insights. But the important point to make regarding these models is

that in either model, injury risk (or the threshold for injury) rises and falls

depending on the size of an externally-applied force, and the ability of a given

athlete to absorb or mitigate that force.


IV.   THE PHYSICS OF SPORTS INJURY

       29.   Sports injuries often result from collisions between players, or

between a player and a rapidly moving object (e.g. a ball or hockey puck, a

lacrosse or hockey stick). In soccer, for example, most head injuries result from

collisions with another player’s head or body, collision with the goal or ground,

or from an unanticipated blow from a kicked ball. (Boden 1998; Mooney 2020.)

In basketball, players often collide with each other during screens, while diving

for a loose ball, or while driving to the basket. In lacrosse or field hockey, player-

to-player, or player-to-stick contact is common.

       30.   But what are the results of those collisions on the human body?

Basic principles of physics can cast light on this question from more than one

angle. A general understanding of these principles can help us identify factors




                                         20

                                                                             Armistead App. 0222




that will predictably increase the relative risk, frequency, and severity of sports

injuries, given certain assumptions.

              31.   First, we can consider energy. Every collision involves an object or

objects that possess energy. The energy embodied in a moving object (whether a

human body, a ball, or anything else) is called kinetic energy.

              32.   Importantly, the kinetic energy of a moving object is expressed as:

          ૚
ࡱ࢑ ൌ ࢓࢜૛ . That is, kinetic energy is a function of the mass of the object
          ૛


multiplied by the square of its velocity. (Dashnaw 2012.) To illustrate with a

simple but extreme example: if athletes A and B are moving at the same speed,

but athlete A is twice as heavy, athlete A carries twice as much kinetic energy

as athlete B. If the two athletes weigh the same amount, but athlete A is going

twice as fast, athlete A carries four times as much kinetic energy as athlete B.

But as I have noted, the kinetic energy of a moving object is a function of the

mass of the object multiplied by the square of its velocity. Thus, if athlete A is

twice as heavy, and moving twice as fast, athlete A will carry eight times the

kinetic energy of athlete B into a collision.11

              33.   The implication of this equation means that what appear to be

relatively minor discrepancies in size and speed can result in major differences

in energy imparted in a collision, to the point that more frequent and more

severe injuries can occur. To use figures that correspond more closely to average



                                  
11   ʹ ൈ  ʹଶ ൌ ͺ


                                               21

                                                                           Armistead App. 0223




differences between men and women, if Player M weighs only 20% more than

Player F, and runs only 15% faster, Player M will bring 58% more kinetic energy

into a collision than Player F.12

          3 4 .  The law of conservation of energy tells us that energy is never

destroyed or “used up.” If kinetic energy is “lost” by one body in a collision, it is

inevitably transferred to another body, or into a different form. In the case of

collision between players, or between (e.g.) a ball and a player’s head, some of

the energy “lost” by one player, or by the ball, may be transformed into

(harmless) sound; some may result in an increase in the kinetic energy of the

player who is struck (through acceleration, which I discuss below); but some of

it may result in deformation of the player’s body—which, depending on its

severity, may result in injury. Thus, the greater the kinetic energy brought into

a collision, the greater the potential for injury, all other things being equal.

          35.     Alternately, we can consider force and acceleration, which is

particularly relevant to concussion injuries.

          36.     Newton’s third law of motion tells us that when two players collide,

their bodies experience equal and opposite forces at the point of impact.

               Acceleration refers to the rate of change in speed (or velocity).

When two athletes collide, their bodies necessarily accelerate (or decelerate)

rapidly: stopping abruptly, bouncing back, or being deflected in a different



                                
12   ͳǤʹ ൈ ሺͳǤͳͷሻଶ ൌ ͳǤͷͺ͹


                                             22

                                                                                  Armistead App. 0224




direction. Newton’s second law of motion tells us that: ࡲ ൌ ࢓ࢇ (that is, force

equals mass multiplied by acceleration). From this equation we see that when a

larger and a smaller body collide, and (necessarily) experience equal and

opposite forces, the smaller body (or smaller player, in sport) will experience

more rapid acceleration. We observe this physical principle in action when we

watch a bowling ball strike bowling pins: the heavy bowling ball only slightly

changes its course and speed; the lighter pins go flying.

       38.    This same equation also tells us that if a given player’s body or

head is hit with a larger force (e.g., from a ball that has been thrown or hit

faster), it will experience greater acceleration, everything else being equal.

       39.    Of course, sport is by definition somewhat chaotic, and forces are

often not purely linear. Many collisions also involve angular velocities, with the

production of rotational force, or torque. Torque can be thought of as force that

causes rotation around a central point. A different but similar equation of

Newtonian physics governs the principles involved. 13 Torque is relevant to

injury in several ways. When torque is applied through joints in directions those

joints are not able to accommodate, injury can occur. In addition, rotational force

can cause different parts of the body to accelerate at different rates—in some

cases, very rapid rates, also leading to injury. For example, a collision where the



                               
13In this equation, ࣎ ൌ ࡵࢻ, torque equals moment of inertia multiplied by angular acceleration,
where “moment of inertia” is defined as ࡵ ൌ ࢓࢘૛ , that is, mass multiplied by the square of the
distance to the rotational axis.


                                              23

                                                                         Armistead App. 0225




body is impacted at the waist can result in high torque and acceleration on the

neck and head.

      40.   Sport-related concussion—a common sports injury and one with

potentially significant effects—is attributable to linear, angular, or rotational

acceleration and deceleration forces that result from impact to the head, or from

an impact to the body that results in a whiplash “snap” of the head. (Rowson

2016.) In the case of a concussive head injury, it is the brain that accelerates or

decelerates on impact, colliding with the inner surface of the skull. (Barth 2001

at 255.)

      41.   None of this is mysterious: each of us, if we had to choose between

being hit either by a large, heavy athlete running at full speed, or by a small,

lighter athlete, would intuitively choose collision with the small, light athlete as

the lesser of the two evils. And we would be right. One author referred to the

“increase in kinetic energy, and therefore imparted forces” resulting from

collision with larger, faster players as “profound.” (Dashnaw 2012.)


V.   GENDER DIFFERENCES RELEVANT TO INJURY

      42.   It is important to state up front that it is self-evident to most people

familiar with sport and sport injuries that if men and women were to

consistently participate together in competitive contact sports, there would be

higher rates of injury in women. This is one reason that rule modifications often




                                        24

                                                                                     Armistead App. 0226




exist in leagues where co-ed participation occurs.14 Understanding the physics

of sports injuries helps provide a theoretical framework for why this is true, but

so does common sense and experience. All of us are familiar with basic objective

physiological differences between the sexes, some of which exist in childhood,

and some of which become apparent after the onset of puberty, and persist

throughout adulthood. And as a result of personal experience, all of us also have

some intuitive sense of what types of collisions are likely to cause pain or injury.

Not surprisingly, our “common sense” on these basic facts about the human

condition is also consistent with the observations of medical science. Below, I

provide quantifications of some of these well-known differences between the

sexes that are relevant to injury risk, as well as some categorical differences

that may be less well known.

        A.      Height and weight

        43.    It is an inescapable fact of the human species that males as a group

are statistically larger and heavier than females. On average, men are 7% to 8%

taller than women. (Handelsman 2018 at 818.) According to the most recently

available Centers for Disease Control and Prevention (CDC) statistics, the

weight of the average U.S. adult male is 16% greater than that of the average

U.S. adult female. (CDC 2018.) This disparity persists into the athletic cohort.


                                
14For example, see https://www.athleticbusiness.com/college/intramural-coed-basketball-
playing-rules-vary-greatly.html (detailing variety of rule modifications applied in co-ed
basketball). Similarly, coed soccer leagues often prohibit so-called “slide tackles,” which are not
prohibited in either men’s or women’s soccer. See, e.g..,
http://www.premiercoedsports.com/pages/rulesandpolicies/soccer.


                                                25

                                                                      Armistead App. 0227




Researchers find that while athletes tend on average to be lighter than non-

athletes, the weight difference between the average adult male and female

athlete remains within the same range—between 14% and 23%, depending on

the sport analyzed. (Santos 2014; Fields 2018.) Indeed, World Rugby estimates

that the typical male rugby player weighs 20% to 40% more than the typical

female rugby player. (World Rugby Transgender Women Guidelines 2020.) This

size advantage by itself allows men to bring more force to bear in a collision.

      B.     Bone and connective tissue strength

      44.   Men have bones in their arms, legs, feet, and hands that are both

larger and stronger per unit volume than those of women, due to greater cross-

sectional area, greater bone mineral content, and greater bone density. The

advantage in bone size (cross-sectional area) holds true in both upper and lower

extremities, even when adjusted for lean body mass. (Handelsman 2018 at 818;

Nieves 2005 at 530.) Greater bone size in men is also correlated with stronger

tendons that are more adaptable to training (Magnusson 2007), and an

increased ability to withstand the forces produced by larger muscles (Morris

2020 at 5). Male bones are not merely larger, they are stronger per unit of

volume. Studies of differences in arm and leg bone mineral density – one

component of bone strength – find that male bones are denser, with measured

advantages of between 5% and 14%. (Gilsanz 2011; Nieves 2005.)




                                       26

                                                                       Armistead App. 0228




       45.   Men also have larger ligaments than women (Lin 2019 at 5), and

stiffer connective tissue (Hilton 2021 at Table 1), providing greater protection

against joint injury.

       C.     Speed

       46.   When it comes to acceleration from a static position to a sprint,

men are consistently faster than women. World record sprint performance gaps

between the sexes remain significant at between 7% and 10.5%, with world

record times in women now exhibiting a plateau (no longer rapidly improving

with time) similar to the historical trends seen in men. (Cheuvront 2005.) This

performance gap has to do with, among other factors, increased skeletal

stiffness, greater cross-sectional muscle area, denser muscle fiber composition

and greater limb length. (Handelsman 2018.) Collectively, males, on average,

run about 10% faster than females. (Lombardo 2018 at 93.) This becomes

important as it pertains to injury risk, because males involved in sport will often

be travelling at faster speeds than their female counterparts in comparable

settings, with resultant faster speed at impact, and thus greater impact force,

in a given collision.

       D.     Strength/Power

       47.   In 2014, a male mixed-martial art fighter identifying as female and

fighting under the name Fallon Fox fought a woman named Tamikka Brents,

and caused significant facial injuries in the course of their bout. Speaking about

their fight later, Brents said:



                                        27

                                                                                 Armistead App. 0229




               “I’ve fought a lot of women and have never felt the
               strength that I felt in a fight as I did that night. I can’t
               answer whether it’s because she was born a man or
               not because I’m not a doctor. I can only say, I’ve never
               felt so overpowered ever in my life, and I am an
               abnormally strong female in my own right.”15

       48.    So far as I am aware, mixed martial arts is not a collegiate or high

school interscholastic sport. Nevertheless, what Brent experienced in an

extreme setting is true and relevant to safety in all sports that involve contact.

In absolute terms, males as a group are substantially stronger than women.

       49.    Compared to women, men have “larger and denser muscle mass,

and stiffer connective tissue, with associated capacity to exert greater muscular

force more rapidly and efficiently.” (Hilton 2021 at 201.) Research shows that on

average, during the prime athletic years (ages 18-29) men have, on average, 54%

greater total muscle mass than women (33.7 kg vs. 21.8 kg) including 64%

greater muscle mass in the upper body, and 47% greater in the lower body.

(Janssen 2000 at Table 1.) The cross-sectional area of muscle in women is only

50% to 60% that of men in the upper arm, and 65% to 70% of that of men in the

thigh. This translates to women having only 50% to 60% of men's upper limb

strength and 60% to 80% of men's lower limb strength. (Handelsman 2018 at

812.) Male weightlifters have been shown to be approximately 30% stronger

than female weightlifters of equivalentstature and mass. (Hilton 2021 at 203.)

But in competitive athletics, since the stature and mass of the average male

                              
15https://bjj-world.com/transgender-mma-fighter-fallon-fox-breaks-skull-of-her-female-
opponent/


                                             28

                                                                    Armistead App. 0230




exceeds that of the average female, actual differences in strength between

average body types will, on average, exceed this. The longer limb lengths of

males augment strength as well. Statistically, in comparison with women, men

also have lower total body fat, differently distributed, and greater lean muscle

mass, which increases their power-to-weight ratios and upper-to-lower limb

strength ratios as a group. Looking at another common metric of strength, males

average 57% greater grip strength (Bohannon 2019) and 54% greater knee

extension torque (Neder 1999). Research shows that sex-based discrepancies in

lean muscle mass begin to be established from infancy, and persist through

childhood to adolescence. (Davis 2019; Kirchengast 2001; Taylor 1997; Taylor

2010; McManus 2011.)

      50.   Using their legs and torso for power generation, men can apply

substantially larger forces with their arms and upper body, enabling them to

generate more ball velocity through overhead motions, as well as to generate

more pushing or punching power. In other words, isolated sex-specific

differences in muscle strength in one region (even differences that in isolation

seem small) can, and do combine to generate even greater sex-specific

differences in more complex sport-specific functions. One study looking at

moderately-trained individuals found that males can generate 162% more

punching power than females. (Morris 2020.) Thus, multiple small advantages

aggregate into larger ones.




                                      29

                                                                        Armistead App. 0231




      E.     Throwing and kicking speed

      51.   One result of the combined effects of these sex-determined

differences in skeletal structure is that men are, on average, able to throw

objects faster than women. (Lombardo 2018; Chu 2009; Thomas 1985.) By age

seventeen, the average male can throw a ball farther than 99% of seventeen-

year-old females—which necessarily means at a faster initial speed assuming a

similar angle of release— despite the fact that factors such as arm length,

muscle mass, and joint stiffness individually don’t come close to exhibiting this

degree of sex-defined advantage. One study of elite male and female baseball

pitchers showed that men throw baseballs 35% faster than women—81

miles/hour for men vs. 60 miles/hour for women. The authors of this study

attribute this to a sex-specific difference in the ability to generate muscle torque

and power. (Chu 2009.) A study showing greater throwing velocity in male

versus female handball players attributed it to differences in body size,

including height, muscle mass, and arm length. (Van Den Tillaar 2012.)

Interestingly, significant sex-related difference in throwing ability has been

shown to manifest even before puberty, but the difference increases rapidly

during and after puberty. (Thomas 1985 at 266.) These sex-determined

differences in throwing speed are not limited to sports where a ball is thrown.

Males have repeatedly been shown to throw a javelin more than 30% farther

than females. (Lombardo 2018 Table 2; Hilton 2021 at 203.) Even in

preadolescent children, differences exist. International youth records for 5- to


                                        30

                                                                        Armistead App. 0232




12-year-olds in the javelin show 34-55% greater distance in males vs. females

using a 400g javelin.16

          52.    Men also serve and spike volleyballs with higher velocity than

women, with a performance advantage in the range of 29-34%. (Hilton 2021.)

Analysis of first and second tier Belgian national elite male volleyball players

shows ball spike speeds of 63 mph and 56 mph respectively. (Forthomme 2005.)

NCAA Division I female volleyball players—roughly comparable to the second-

tier male elite group referenced above—average a ball spike velocity of

approximately 40 mph (18.1 m/s). (Ferris 1995 at Table 2.) Notably, based on

the measurements of these studies, male spiking speed in lower elite divisions

is almost 40% greater than that of NCAA Division I female collegiate players.

Separate analyses of serving speed between elite men and women Spanish

volleyball players showed that the average power serving speed in men was 54.6

mph (range 45.3–64.6 mph), with maximal speed of 76.4 mph. In women,

average power serving speed was 49 mph (range 41–55.3 mph) with maximal

speed of 59 mph. This translates to an almost 30% advantage in maximal serve

velocity in men. (Palao 2014.)

          53.    Recall that kinetic energy is dependent on mass and the square of

velocity. A volleyball (with fixed mass) struck by a male, and traveling an




                                 
16   http://age-records.125mb.com/.


                                           31

                                                                         Armistead App. 0233




average 35% faster than one struck by a female, will deliver 82% more energy

to a head upon impact.

      54.   The greater leg strength and jumping ability of men confer a

further large advantage in volleyball that is relevant to injury risk. In volleyball,

an “attack jump” is a jump to position a player to spike the ball downward over

the net against the opposing team. Research on elite national volleyball players

found that on average, males exhibited a 50% greater vertical jump height

during an “attack” than did females. (Sattler 2015.) Similar data looking at

countermovement jumps (to block a shot) in national basketball players reveals

a 35% male advantage in jump height. (Kellis 1999.) In volleyball, this dramatic

difference in jump height means that male players who are competing in female

divisions will more often be able to successfully perform a spike, and this will be

all the more true considering that the women’s net height is seven inches lower

than that used in men’s volleyball. Confirming this inference, research also

shows that the successful attack percentage (that is, the frequency with which

the ball is successfully hit over the net into the opponent’s court in an attempt

to score) is so much higher with men than women that someone analyzing game

statistics can consistently identify games played by men as opposed to women

on the basis of this statistic alone. These enhanced and more consistently

successful attacks by men directly correlate to their greater jumping ability and

attack velocity at the net. (Kountouris 2015.)




                                         32

                                                                        Armistead App. 0234




       55.   The combination of the innate male-female differences cited above,

along with the lower net height in women’s volleyball, means that if a

reasonably athletic male is permitted to compete against women, the

participating female players will likely be exposed to higher ball velocities that

are outside the range of what is typically seen in women’s volleyball. When we

recall that ball-to-head impact is a common cause of concussion among women

volleyball players, this fact makes it clear that participation in girls’ or women’s

volleyball by biologically male individuals will increase concussion injury risk

for participating girls or women.

       56.   Male sex-based advantages in leg strength also lead to greater kick

velocity. In comparison with women, men kick balls harder and faster. A study

comparing kicking velocity between university-level male and female soccer

players found that males kick the ball with an average 20% greater velocity than

females. (Sakamoto 2014.) Applying the same principles of physics we have just

used above, we see that a soccer ball kicked by a male, travelling an average

20% faster than a ball kicked by a female, will deliver 44% more energy on head

impact. Greater force-generating capacity will thus increase the risk of an

impact injury such as concussion.


VI.   ENHANCED FEMALE VULNERABILITY TO CERTAIN
       INJURIES

       57.   Above, I have reviewed physiological differences that result in the

male body bringing greater weight, speed, and force to the athletic field or court,



                                        33

                                                                        Armistead App. 0235




and how these differences can result in a greater risk of injury to females when

males compete against them. It is also true that the female body is more

vulnerable than the male body to certain types of injury even when subject to

comparable forces. This risk appears to extend to the younger age cohorts as

well. An analysis of Finnish student athletes from 1987-1991, analyzing over

600,000 person-years of activity exposures, found, in students under fifteen

years of age, higher rates of injury in girls than boys in soccer, volleyball, judo

and karate. (Kujala 1995.) Another epidemiological study looking specifically at

injury rates in over 14,000 middle schoolers over a 20 year period showed that

“in sex-matched sports, middle school girls were more likely to sustain any

injury (RR = 1.15, 95% CI = 1.1, 1.2) or a time-loss injury (RR = 1.09, 95% CI =

1.0, 1.2) than middle school boys.” In analyzed both-sex sports (i.e., sex-

separated sports that both girls and boys play, like soccer), girls sustained

higher injury rates, and greater rates of time-loss injury. (Beachy 2014.)

Another study of over 2000 middle school students at nine schools showed that

the injury rate was higher for girls’ basketball than for football (39.4 v 30.7/1000

AEs), and injury rates for girls’ soccer were nearly double that of boys’ soccer

(26.3 v. 14.7/1000 AEs). (Caswell 2017.) In this regard, I will focus on two areas

of heightened female vulnerability to collision-related injury which have been

extensively studied: concussions, and anterior cruciate ligament injuries.




                                        34

                                                                                     Armistead App. 0236




        A.      Concussions

        58.    Females are more likely than males to suffer concussions in

comparable sports, and on average suffer more severe and longer lasting

disability once a concussion does occur. (Harmon 2013 at 4; Berz 2015;

Blumenfeld 2016; Covassin 2003; Rowson 2016.) Females also seem to be at

higher risk for post-concussion syndrome than males. (Berz 2015; Blumenfeld

2016; Broshek 2005; Colvin 2009; Covassin 2012; Dick 2009; Marar 2012; Preiss-

Farzanegan 2009.)

        59.    The most widely-accepted definition of sport-related concussion

comes from the Consensus Statement on Concussion in Sport (see below). 17

(McCrory 2018.) To summarize, concussion is “a traumatically induced transient




                                
17“Sport related concussion is a traumatic brain injury induced by biomechanical forces.
Several common features that may be utilised in clinically defining the nature of a concussive
head injury include:

SRC may be caused either by a direct blow to the head, face, neck or elsewhere on the body
with an impulsive force transmitted to the head.

SRC typically results in the rapid onset of short-lived impairment of neurological function that
resolves spontaneously. However, in some cases, signs and symptoms evolve over a number of
minutes to hours.

SRC may result in neuropathological changes, but the acute clinical signs and symptoms
largely reflect a functional disturbance rather than a structural injury and, as such, no
abnormality is seen on standard structural neuroimaging studies.

SRC results in a range of clinical signs and symptoms that may or may not involve loss of
consciousness. Resolution of the clinical and cognitive features typically follows a sequential
course. However, in some cases symptoms may be prolonged.

The clinical signs and symptoms cannot be explained by drug, alcohol, or medication use, other
injuries (such as cervical injuries, peripheral vestibular dysfunction, etc) or other comorbidities
(e.g., psychological factors or coexisting medical conditions).”


                                                35

                                                                       Armistead App. 0237




disturbance of brain function and involves a complex pathophysiological

process” that can manifest in a variety of ways. (Harmon 2013 at 1.)

      60.   Sport-related concussions have undergone a significant increase in

societal awareness and concurrent injury reporting since the initial passage of

the Zachery Lystedt Concussion Law in Washington State in 2009 (Bompadre

2014), and the subsequent passage of similar legislation governing return-to-

play criteria for concussed athletes in most other states in the United States.

(Nat’l Cnf. of State Leg’s 2018). Concussion is now widely recognized as a

common sport-related injury, occurring in both male and female athletes. (CDC

2007.) Sport-related concussions can result from player-surface contact or

player-equipment contact in virtually any sport. However, sudden impact via a

player-to-player collision, with rapid deceleration and the transmission of linear

or rotational forces through the brain, is also a common cause of concussion

injury. (Covassin 2012; Marar 2012; Barth 2001; Blumenfeld 2016; Boden 1998;

Harmon 2013 at 4.)

      61.   A large retrospective study of U.S. high school athletes showed a

higher rate of female concussions in soccer (79% higher), volleyball (0.6

concussions/10,000 exposures, with 485,000 reported exposures, vs. no

concussions in the male cohort), basketball (31% higher), and softball/baseball

(320% higher). (Marar 2012.) A similarly-sized, similarly-designed study

comparing concussion rates between NCAA male and female collegiate athletes

showed, overall, a concussion rate among females 40% higher than that of


                                       36

                                                                    Armistead App. 0238




males. Higher rates of injury were seen across individual sports as well,

including ice hockey (10% higher); soccer (54% higher); basketball (40% higher);

and softball/baseball (95% higher). (Covassin 2016.) The observations of these

authors, my own observations from clinical practice, and the acknowledgment

of our own Society’s Position Statement (Harmon 2013), all validate the higher

frequency and severity of sport-related concussions in women and girls.

      62.   Most epidemiological studies to date looking at sport-related

concussion in middle schoolers show that more boys than girls are concussed.

There are fewer studies estimating concussion rate. This is, in part, because

measuring injury rate is more time and labor-intensive. Researchers at a

childrens’ hospital, for example, could analyze the number of children

presenting to the emergency department with sport-related concussion and

publish findings of absolute number. However, to study concussion incidence,

athlete exposures also have to be recorded. Generally speaking, an athlete

exposure is a single practice or game where an athlete is exposed to playing

conditions that could reasonably supply the necessary conditions for an injury

to occur. Rates of athletic injury, concussion among them, are then, by

convention, expressed in terms of injury rate per 1000 athletic exposures. More

recently, some studies have been published that analyze the rates of concussion

in the middle school population. Looking at the evidence, the conclusion can be

made that females experience increased susceptibility to concussive injuries

before puberty. For example, Ewing-Cobbs, et al. (2018) found elevated post-


                                      37

                                                                                Armistead App. 0239




concussion symptoms in girls across all age ranges studied, including children

between the ages of 4 and 8. Kerr’s 2017 study of middle school students showed

over three times the rate of female vs male concussion in students participating

in sex-comparable sports [0.18 v. 0.66/1000 A.E.’s]. (Kerr 2017.) This is the first

study I am aware of that mimics the trends seen in adolescent injury

epidemiology showing a higher rate of concussion in girls than boys in

comparable sports.

       63.    More recent research looking at the incidence of sport-related

concussions in U.S. middle schoolers between 2015 and 2020, found that the rate

of concussion was higher in middle school athletes than those in high school. In

this study, girls had more than twice the rate of concussion injury (0.49/1000

athletic exposures vs 0.23/1000 AE) in analyzed sports (baseball/softball,

basketball, soccer and track), as well as statistically greater time loss. (Hacherl

2021 (Journal of Athletic Training); Hacherl 2021 (Archives of Clinical

Neuropsychology).) The authors hypothesized that the increasing incidence of

concussion in middle school may relate to “other distinct differences associated

with the middle school sport setting itself, such as, the large variations in player

size and skill.”18

       64.    In addition, females on average suffer materially greater cognitive

impairment than males when they do suffer a concussion. Group differences in


                              
18https://www.nata.org/press-release/062421/middle-school-sports-have-overall-higher-rate-
concussion-reported-high-school.


                                             38

                                                                     Armistead App. 0240




cognitive impairment between females and males who have suffered concussion

have been extensively studied. A study of 2340 high school and collegiate

athletes who suffered concussions determined that females had a 170% higher

frequency of cognitive impairment following concussions, and that in

comparison with males, female athletes had significantly greater declines in

simple and complex reaction times relative to their preseason baseline levels.

Moreover, the females experienced greater objective and subjective adverse

effects from concussion even after adjusting for potentially protective effect of

helmets used by some groups of male athletes. (Broshek 2005 at 856, 861; Colvin

2009; Covassin 2012.)

      65.   This large discrepancy in frequency and severity of concussion

injury is consistent with my own observations across many years of clinical

practice. The large majority of student athletes who have presented at my

practice with severe and long-lasting cognitive disturbance have been

adolescent girls. I have seen girls remain symptomatic for over a year, and lose

ground academically and become isolated from their peer groups due to these

ongoing symptoms. For patients who experience these severe effects, post-

concussion syndrome can be life-altering.

      66.   Some of the anatomical and physiological differences that we have

considered between males and females help to explain the documented

differences in concussion rates and in symptoms between males and females.

(Covassin 2016; La Fountaine 2019; Lin 2019; Tierney 2005; Wunderle 2014.)


                                       39

                                                                     Armistead App. 0241




Anatomically, there are significant sex-based differences in head and neck

anatomy, with females exhibiting in the range of 30% to 40% less head-neck

segment mass and neck girth, and 49% lower neck isometric strength. This

means that when a female athlete’s head is subjected to the same load as an

analogous male, there will be a greater tendency for head acceleration, and

resultant injury. (Tierney 2005 at 276-277.)

      67.   When modeling the effect of the introduction of male mass, speed,

and strength into women’s rugby, World Rugby gave particular attention to the

resulting increases in forces and acceleration (and injury risk) experienced in

the head and neck of female players. Their analysis found that “the magnitude

of the known risk factors for head injury are . . . predicted by the size of the

disparity in mass between players. The addition of [male] speed as a

biomechanical variable further increases these disparities,” and their model

showed an increase of up to 50% in neck and head acceleration that would be

experienced in a typical tackle scenario in women’s rugby. As a result, “a number

of tackles that currently lie beneath the threshold for injury would now exceed

it, causing head injury.” (World Rugby Transgender Women Guidelines 2020.)

While rugby is notoriously contact-intensive, similar increases to risk of head

and neck injury to women are predictable in any sport context in which males

and females collide at significant speed, as happens from time to time in sports

including soccer, softball, and basketball.




                                        40

                                                                      Armistead App. 0242




      68.   In addition, even when the heads of female and male athletes are

subjected to identical accelerative forces, there are sex-based differences in

neural anatomy and physiology, cerebrovascular organization, and cellular

response to concussive stimuli that make the female more likely to suffer

concussive injury, or more severe concussive injury. For instance, hypothalamic-

pituitary disruption is thought to play a role in post-concussion symptomatology

that differentially impacts women. (McGroarty 2020; Broshek 2005 at 861.)

Another study found that elevated progesterone levels during one portion of the

menstrual    cycle   were   associated    with   more   severe   post-concussion

symptomatology that differentially impacted women. (Wunderle 2014.)

      69.   As it stands, when females compete against each other, they

already have higher rates of concussive injury than males, across most sports.

The addition of biologically male athletes into women’s contact sports will

inevitably increase the risk of concussive injury to girls and women, for the

multiple reasons I have explained above, including, but not limited to, the innate

male advantage in speed and lean muscle mass. Because the effects of

concussion can be severe and long-lasting, particularly for biological females, we

can predict with some confidence that if participation by biological males in

women’s contact sports based on gender identity becomes more common, more

biological females will suffer substantial concussive injury and the potential for

long-term harm as a result.




                                         41

                                                                                        Armistead App. 0243




          B.      Anterior Cruciate Ligament injuries

          70.    The Anterior Cruciate Ligament (“ACL”) is a key knee stabilizer

that prevents anterior translation of the tibia relative to the femur and also

provides rotatory and valgus knee stability.19 (Lin 2019 at 4.) Girls and women

are far more vulnerable to ACL injuries than are boys and men. The physics of

injury that we have reviewed above makes it inevitable that the introduction of

biologically male athletes into the female category will increase still further the

occurrence of ACL injuries among girls or women who encounter these players

on the field.

          71.    Sports-related injury to the ACL is so common that it is easy to

overlook the significance of it. But it is by no means a trivial injury, as it can

end sports careers, require surgery, and usually results in early-onset, post-

traumatic osteoarthritis, triggering long-term pain and mobility problems later

in life. (Wang 2020.)

          72.    Even in the historic context in which girls and women limit

competition to (and so only collide with) other girls and women, the rate of ACL

injury is substantially higher among female than male athletes. (Flaxman 2014;

Lin 2019; Agel 2005.) One meta-analysis of 58 studies reports that female

athletes have a 150% relative risk for ACL injury compared with male athletes,

with other estimates suggesting as much as a 300% increased risk. (Montalvo

2019; Sutton 2013.) Particularly in those sports designated as contact sports, or

                                  
19   Valgus force at the knee is a side-applied force that gaps the medial knee open.


                                                 42

                                                                       Armistead App. 0244




sports with frequent cutting and sharp directional changes (basketball, field

hockey, lacrosse, soccer), females are at greater risk of ACL injury. In basketball

and soccer, this risk extends across all skill levels, with female athletes between

two and eight times more likely to sustain an ACL injury than their male

counterparts. (Lin 2019 at 5.) These observations are widely validated, and

consistent with the relative frequencies of ACL injuries that I see in my own

practice.

      73.   When the reasons underlying the difference in the incidence of

ACL injury between males and females were first studied in the early 1990s,

researchers speculated that the difference might be attributable to females’

relative inexperience in contact sports, or to their lack of appropriate training.

However, a follow-up 2005 study looking at ACL tear disparities reported that,

“Despite vast attention to the discrepancy between anterior cruciate ligament

injury rates between men and women, these differences continue to exist.” (Agel

2005 at 524.) Inexperience and lack of training do not explain the differences.

Sex seems to be an independent predictor of ACL tear risk.

      74.   In fact, as researchers have continued to study this discrepancy,

they have determined that multiple identifiable anatomical and physiological

differences between males and females play significant roles in making females

more vulnerable to ACL injuries than males. (Flaxman 2014; Lin 2019; Wolf

2015.) Summarizing the findings of a number of separate studies, one researcher

recently cited as anatomical risk factors for ACL injury smaller ligament size,


                                        43

                                                                      Armistead App. 0245




decreased femoral notch width, increased posterior-inferior slope of the lateral

tibia plateau, increased knee and generalized laxity, and increased body mass

index (BMI). With the exception of increased BMI, each of these factors is more

likely to occur in female than male athletes. (Lin 2019 at 5.) In addition, female

athletes often stand in more knee valgus (that is, in a “knock-kneed” posture)

due to wider hips and a medially-oriented femur. Often, this is also associated

with a worsening of knee valgus during jump landings. The body types and

movement patterns associated with these valgus knee postures are more

common in females and increase the risk for ACL tear. (Hewett 2005.)

      75.   As with concussion, the cyclic fluctuation of sex-specific hormones

in women is also thought to be a possible risk factor for ACL injury. Estrogen

acts on ligaments to make them more lax, and it is thought that during the

ovulatory phase of menses (when estrogen levels peak), the risk of ACL tear is

higher. (Chidi-Ogbolu 2019 at 1; Herzberg 2017.)

      76.   Whatever the factors that increase the injury risk for ACL tears in

women, the fact that a sex-specific difference in the rate of ACL injury exists is

well established and widely accepted.

      77.   Although non-contact mechanisms are the most common reason for

ACL tears in females, tears related to contact are also common, with ranges

reported across multiple studies of from 20%-36% of all ACL injuries in women.

(Kobayashi 2010 at 672.) For example, when a soccer player who is kicking a

ball is struck by another player in the lateral knee of the stance leg, medial and


                                        44

                                                                       Armistead App. 0246




rotational forces can tear the medial collateral ligament (MCL), the ACL, and

the meniscus. Thus, as participation in the female category based on identity

rather than biology becomes more common (entailing the introduction of

athletes with characteristics such as greater speed and lean muscle mass), and

as collision forces suffered by girls and women across the knee increase

accordingly, the risk for orthopedic injury and in particular ACL tears among

impacted girls and women will inevitably rise.

      78.   Of course there exists variation in all these factors within a given

group of males or females. However, it is also true that within sex-specific pools,

size differential is somewhat predictable and bounded, even considering

outliers. When males are permitted to enter into the pool of female athletes

based on gender identity rather than biological sex, there is an increased

possibility that a statistical outlier in terms of size, weight, speed, and

strength—and potentially an extreme outlier—is now entering the female pool.

Although injury is not guaranteed, risks to female participants will increase.

And as I discuss later, the available evidence together suggests that this will be

true even with respect to males who have been on testosterone suppression for

a year or more. World Rugby relied heavily upon this when they were

determining their own policy, and I think it is important to reiterate that this

policy, rooted in concern for athlete safety, is justifiable based upon current

evidence from medical research and what we know about biology.




                                        45

                                                                               Armistead App. 0247




VII. TESTOSTERONE SUPPRESSION WILL NOT PREVENT THE
      HARM TO FEMALE SAFETY IN ATHLETICS

       79.    A recent editorial in the New England Journal of Medicine opined

that policies governing transgender participation in female athletics “must

safeguard the rights of all women—whether cisgender or transgender.” (Dolgin

2020.) Unfortunately, the physics and medical science reviewed above tell us

that this is not practically possible. If biological males are given a “right” to

participate in the female category based on gender identity, then biological

women will be denied the right to reasonable expectations of safety and injury

risk that have historically been guaranteed by ensuring that females compete

(and collide) only with other females.

       80.    Advocates of unquestioning inclusion based on gender identity

often contend that hormonal manipulation of a male athlete can feminize the

athlete enough that he is comparable with females for purposes of competition.

The NCAA’s Office of Inclusion asserts (still accessible on the NCAA website as

of this writing) that “It is also important to know that any strength and

endurance advantages a transgender woman arguably may have as a result of

her prior testosterone levels dissipate after about one year of estrogen or

testosterone suppression therapy.”20 (NCAA 2011 at 8.) Whether or not this is

true is a critically important question.




                              
20https://www.ncaa.org/sports/2016/3/2/lesbian-gay-bisexual-transgender-and-questioning-
lgbtq.aspx


                                            46

                                                                       Armistead App. 0248




      81.   At the outset, we should note that while advocates sometimes claim

that testosterone suppression can eliminate physiological advantages in a

biological male, none of the relevant transgender eligibility policies that I am

aware of prior to 2021 requires any demonstration that it has actually achieved

that effect in a particular male who seeks admission into the female category.

The Connecticut policy that is currently at issue in ongoing litigation permits

admission to the female category at the high school level without requiring any

testosterone suppression at all. Prior to their new policy, just announced in

January 2022, the NCAA’s policy required no demonstration of any reduction of

performance capability, change in weight, or regression of any other physical

attribute of the biological male toward female levels. It did not require

achievement of any particular testosterone level, and did not provide for any

monitoring of athletes for compliance. Moving forward, through a phasing

process, the NCAA will ultimately require athletes in each sport to meet

requirements of their sport’s national governing body (NGB). If no policy exists,

the policy of that sport’s international governing body applies, or, finally, if no

policy exists there, the 2015 policy of the International Olympic Committee

(IOC) will apply. The 2015 IOC policy requires no showing of any diminution of

any performance capability or physical attribute of the biological male, and

requires achievement and compliance monitoring only of a testosterone level

below 10nmol/liter—a level far above levels occurring in normal biological




                                        47

                                                                                      Armistead App. 0249




females (0.06 to 1.68 nmol/L).21 Indeed, female athletes with polycystic ovarian

disorder—a condition that results in elevated testosterone levels—rarely exceed

4.8 nmol/L, which is the basis for setting the testing threshold to detect

testosterone doping in females at 5.0 nmol/L. Thus, males who qualify under

the 2015 IOC policy to compete as transgender women may have testosterone

levels—even after hormone suppression—double the level that would disqualify

a biological female for doping with testosterone.22

          82.   As Dr. Emma Hilton has observed, the fact that there are over 3000

sex-specific differences in skeletal muscle alone makes the hypothesis that sex-

linked performance advantages are attributable solely to current circulating

testosterone levels improbable at best. (Hilton 2021 at 200-01.)

          83.   In fact, the available evidence strongly indicates that no amount of

testosterone suppression can eliminate male physiological advantages relevant

to performance and safety. Several authors have recently reviewed the science

and statistics from numerous studies that demonstrate that one year (or more)

of testosterone suppression does not substantially eliminate male performance

advantages. (Hilton 2021; De Varona 2021; Harper 2021.) As a medical doctor,

I will focus on those specific sex-based characteristics of males who have

                                 
21   Normal testosterone range in a healthy male averages between 7.7 and 29.4 nmol/L.
22In November 2021, the IOC released new guidelines, deferring decision-making about a
given sport’s gender-affectedness to its governing body. The current NCAA policy, however,
still utilizes the 2015 IOC policy to determine an athlete’s eligibility in event that the sport’s
national and international governing bodies lack policies to determine eligibility.




                                                48

                                                                        Armistead App. 0250




undergone normal sex-determined pubertal skeletal growth and maturation

that are relevant to the safety of female athletes. Here, too, the available science

tells us that testosterone suppression does not eliminate the increased risk to

females or solve the safety problem.

      84.    The World Rugby organization reached this same determination

based on the currently available science, concluding that male physiological

advantages that “create risks [to female players] appear to be only minimally

affected” by testosterone suppression. (World Rugby Transgender Women

Guidelines 2020.)

      85.    Surprisingly, so far as public information reveals, the NCAA’s

Committee on Competitive Safeguards is not monitoring and documenting

instances of transgender participation on women’s teams for purposes of injury

reporting. In practice, the NCAA is conducting an experiment which in theory

predicts an increased frequency and severity of injuries to women in contact

sports, while at the same time failing to collect the relevant data from its

experiment.

      86.    In their recent guidelines, UK Sport determined that, “based upon

current evidence, testosterone suppression is unlikely to guarantee fairness

between transgender women and natal females in gender-affected sports.” (UK

Sports Councils’ Equality Group Guidance 2021 at 7.) They also warned that

migration to a scenario by NGBs where eligibility is determined through case-

by-case assessment “is unlikely to be practical nor verifiable for entry into


                                        49

                                                                            Armistead App. 0251




gender-affected sports,” in part because “many tests related to sports

performance are volitional,” and incentives on the part of those tested would

align with intentional poor performance. (UK Sports Councils’ Equality Group

Guidance 2021 at 8.)

       87.   Despite these concerns, this appears to be exactly the route that

the IOC is taking, as reflected in their Framework on Fairness, Inclusion and

Non-Discrimination on the Basis of Gender Identity, released in November of

2021. 23 In it, the IOC lists two disparate goals. First, that “where sports

organizations elect to issue eligibility criteria for men’s and women’s categories

for a given competition, they should do so with a view to . . . [p]roviding

confidence that no athlete within a category has an unfair and disproportionate

competitive advantage . . . [and] preventing a risk to the physical safety of other

athletes.” (IOC Framework 2021 § 4.1.) At the same time, governing bodies are

not to preclude any athlete from competing until evidence exists based upon

“robust and peer-reviewed research that . . . demonstrates a consistent, unfair,

disproportionate     competitive      advantage      in   performance      and/or     an

unpreventable risk to the physical safety of other athletes” – research moreover

that “is largely based on data collected from a demographic group that is

consistent in gender and athletic engagement with the group that the eligibility


                             
23The IOC Framework on Fairness, Inclusion and Non-Discrimination on the Basis of Gender
Identity and Sex Variations is available at
https://stillmed.olympics.com/media/Documents/News/2021/11/IOC-Framework-Fairness-
Inclusion-Non-discrimination-2021.pdf?_ga=2.72651665.34591192.1645554375-
759350959.1644946978


                                           50

                                                                    Armistead App. 0252




criteria aim to regulate.” (IOC Framework 2021 § 6.1) Finally, affected athletes

may appeal any evidence-based decision-making process through a further

“appropriate internal mediation mechanism, such as a Court of Arbitration for

Sport.” (IOC Framework 2021 § 6.1.) Rather than cite any of the growing

evidence that testosterone suppression cannot mitigate sex-based performance

differences, the IOC’s new policy remains aspirational and opaque. And yet the

research relating to hormonal suppression in transgender athletes, as confirmed

by World Rugby and UK Sport, already speaks very clearly to the fact that males

retain a competitive advantage over women that cannot be eliminated through

testosterone suppression alone. What follows is a brief summary of some of these

retained differences as they relate to sport safety.

      A.     Size and weight

      88.   Males are, on average, larger and heavier. As we have seen, these

facts alone mean that males bring more kinetic energy into collisions, and that

lighter females will suffer more abrupt deceleration in collisions with larger

bodies, creating heightened injury risk for impacted females.

      89.   I start with what is obvious and so far as I am aware undisputed—

that after the male pubertal growth spurt, suppression of testosterone does not

materially shrink bones so as to eliminate height, leverage, performance, and

weight differences that follow from simply having longer, larger bones, and

being subsequently taller.




                                        51

                                                                     Armistead App. 0253




      90.   In addition, multiple studies have found that testosterone

suppression may modestly reduce, but does not come close to eliminating the

male advantage in muscle mass and lean body mass, which together contribute

to the greater average male weight. Researchers looking at transitioning

adolescents found that the weight of biological male subjects increased rather

than decreased after treatment with an antiandrogen testosterone suppressor.

(Tack 2018.) In one recent meta-analysis, researchers looking at the

musculoskeletal effects of hormonal transition found that even after males had

undergone 36 months of therapy, their lean body mass and muscle area

remained above those of females. (Harper 2021.) Another group in 2004 studied

the effects of testosterone suppression to less than 1 nmol/L in men after one or

more years, but still found only a 12% total loss of muscle area by the end of

thirty-six months. (Gooren 2004.)

      B.     Bone density

      91.   Bone mass (which includes both size and density) is maintained

over at least two years of testosterone suppression (Singh-Ospina 2017; Fighera

2019), and one study found it to be preserved even over a median of 12.5 years

of suppression (Hilton 2021; Ruetsche 2005).

      C.     Strength

      92.   A large number of studies have now observed minimal or no

reduction in strength in male subjects following testosterone suppression. In one

recent meta-analysis, strength loss after twelve months of hormone therapy


                                       52

                                                                    Armistead App. 0254




ranged from negligible to 7%. (Harper 2021.) Given the baseline male strength

advantage in various muscle groups of from approximately 25% to 100% above

female levels that I have noted in Section V.D above, even a 7% reduction leaves

a large retained advantage in strength. Another study looking at handgrip

strength—which is a proxy for general strength—showed a 9% loss of strength

after two years of hormonal treatment in males who were transitioning, leaving

a 23% retained advantage over the female baseline. (Hilton 2021.) Yet another

study which found a 17% retained grip strength advantage noted that this

placed the median of the group treated with hormone therapy in the 95th

percentile for grip strength among age-matched females. (Scharff 2019.)

Researchers looking at transitioning adolescents showed no loss of grip strength

after hormone treatment. (Tack 2018.)

      93.   One recent study on male Air Force service members undergoing

transition showed that they retained more than two thirds of pretreatment

performance advantage over females in sit-ups and push-ups after between one

and two years of testosterone-reducing hormonal treatment. (Roberts 2020.)

Another recently-published observational cohort study looked at thigh strength

and thigh muscle cross-sectional area in men undergoing hormonal transition

to transgender females. After one year of hormonal suppression, this group saw

only a 4% decrease in thigh muscle cross-sectional area, and a negligible

decrease in thigh muscle strength. (Wiik 2020.) Wiik and colleagues looked at

isokinetic strength measurements in individuals who had undergone at least 12


                                        53

                                                                      Armistead App. 0255




months of hormonal transition and found that muscle strength was comparable

to baseline, leaving transitioned males with a 50% strength advantage over

reference females. (Wiik 2020.) Finally, one cross-sectional study that compared

men who had undergone transition at least three years prior to analysis, to age-

matched, healthy males found that the transgender individuals had retained

enough strength that they were still outside normative values for women. This

imbalance continued to hold even after eight years of hormone suppression. The

authors also noted that since males who identify as women often have lower

baseline (i.e., before hormone treatment) muscle mass than the general

population of males, and since baseline measures for this study were

unavailable, the post-transition comparison may actually represent an

overestimate of muscle mass regression in transgender females. (Lapauw 2008;

Hilton 2021.)

      94.   World Rugby came to the same conclusion based on its own review

of the literature, reporting that testosterone suppression “does not reverse

muscle size to female levels,” and in fact that “studies assessing [reductions in]

mass, muscle mass, and/or strength suggest that reduction in these variables

range between 5% and 10%. Given that the typical male vs female advantages

range from 30% to 100%, these reductions are small.” (World Rugby

Transgender Women Guidelines 2020.)

      95.   It is true that most studies of change in physical characteristics or

capabilities over time after testosterone suppression involve untrained subjects


                                       54

                                                                     Armistead App. 0256




rather than athletes, or subjects with low to moderate training. It may be

assumed that all of the Air Force members who were subjects in the study I

mention above were physically fit and engaged in regular physical training. But

neither that study nor those studies looking at athletes quantify the volume or

type of strength training athletes are undergoing. The important point to make

is that the only effect strength training could have on these athletes is to

counteract and reduce the limited loss of muscle mass and strength that does

otherwise occur to some extent over time with testosterone blockade. There has

been at least one study that illustrates this, although only over a short period,

measuring strength during a twelve-week period where testosterone was

suppressed to levels of 2 nmol/L. During that time, subjects actually increased

leg lean mass by 4%, and total lean mass by 2%, and subject performance on the

10 rep-max leg press improved by 32%, while their bench press performance

improved by 17%. (Kvorning 2006.)

      96.   The point for safety is that superior strength enables a biological

male to apply greater force against an opponent’s body during body contact, or

to throw, hit, or kick a ball at speeds outside the ranges normally encountered

in female-only play, with the attendant increased risks of injury that I have

already explained.

      D.     Speed

      97.   As to speed, the study of transitioning Air Force members found

that these males retained a 9% running speed advantage over the female control


                                       55

                                                                       Armistead App. 0257




group after one year of testosterone suppression, and their average speed had

not declined significantly farther by the end of the 2.5 year study period.

(Roberts 2020.) Again, I have already explained the implications of greater male

speed on safety for females on the field and court, particularly in combination

with the greater male body weight.


                                CONCLUSION

      Since the average male athlete is larger and exerts greater power than

the average female athlete in similar sports, male–female collisions will produce

greater energy at impact, and impart greater risk of injury to a female, than

would occur in most female-female collisions. Because of the well-documented

physiological testing and elite performance differences in speed and strength, as

well as differences in lean muscle mass that exist across all age ranges, the

conclusions of this paper can apply to a certain extent before, as well as during,

and after puberty. We have seen that males who have undergone hormone

therapy in transition toward a female body type nevertheless retain

musculoskeletal “legacy” advantages in muscle girth, strength, and size. We

have also seen that the additive effects of these individual advantages create

multiplied advantages in terms of power, force generation and momentum on

the field of play. In contact or collision sports, sports involving projectiles, or

sports where a stick is used to strike something, the physics and physiology

reviewed above tell us that permitting male-bodied athletes to compete against,

or on the same team as females—even when undergoing testosterone

                                        56

                                                                       Armistead App. 0258




suppression—must be expected to create predictable, identifiable, substantially

increased, and unequal risks of injuries to the participating women.

      Based on its independent and extensive analysis of the literature coupled

with injury modeling, World Rugby recognized the inadequacy of the

International Olympic Committee’s policy to preserve safety for female athletes

in their contact sport (the NCAA policy is even more lax in its admission of

biological males into the female category). Among the explicit findings of the

World Rugby working group were the following:

      x     Forces and inertia faced by a smaller and slower player during
             collisions are significantly greater when in contact with a larger,
             faster player.

      x     Discrepancies in mass and speed (such as between two opponents
             in a tackle) are significant determinants of various head and
             other musculoskeletal injury risks.

      x     The risk of injury to females is increased by biological males’
             greater ability to exert force (strength and power), and also by
             females’ reduced ability to receive or tolerate that force.

      x     Testosterone suppression results in only “small” reductions in the
             male physiological advantages. As a result, heightened injury risks
             remain for females who share the same field or court with
             biological males.

      x     These findings together predict a significant increase in injury
             rates for females in rugby if males are permitted to participate
             based on gender identity, with or without testosterone
             suppression, since the magnitude of forces and energy transfer
             during collisions will increase substantially, directly correlated to
             the differences in physical attributes that exist between the
             biological sexes.

      Summarizing their work, the authors of the World Rugby Guidelines said

that, “World Rugby’s number one stated priority is to make the game as safe as


                                       57

                                                                     Armistead App. 0259




possible, and so World Rugby cannot allow the risk to players to be increased to

such an extent by allowing people who have the force and power advantages

conferred by testosterone to play with and against those who do not.” (World

Rugby Transgender Guidelines 2020.) As my own analysis above makes clear, I

agree with the concerns of UK Sport and the conclusions of World Rugby

regarding risk to female athletes. Importantly, I also agree that it must be a

high priority for sports governing bodies (and other regulatory or governmental

bodies governing sports) to make each sport as safe as reasonably possible. And

in my view, medical practitioners with expertise in this area have an obligation

to advocate for science-based policies that promote safety.

          The performance advantages retained by males who participate in

women’s sports based on gender identity are readily recognized by the public.

When an NCAA hurdler who ranked 200th while running in the collegiate male

division transitions and immediately leaps to a number one ranking in the

women’s division;24 when a high school male sprinter who ranked 181st in the

state running in the boys’ division transitions and likewise takes first place in

the girls’ division (De Varona 2021), the problem of fairness and equal

opportunities for girls and women is immediately apparent, and indeed this

problem is being widely discussed today in the media.




                                  
24   https://en.wikipedia.org/wiki/Cece_Telfer (accessed 6/20/21)


                                                 58

                                                                        Armistead App. 0260




      The causes of sports injuries, however, are multivariate and not always

as immediately apparent. While, as I have noted, some biological males have

indeed competed in a variety of girls’ and women’s contact sports, the numbers

up till now have been small. But recent studies have reported very large

increases in the number of children and young people identifying as transgender

compared to historical experience. For example, an extensive survey of 9th and

11th graders in Minnesota found that 2.7% identified as transgender or gender-

nonconforming— well over 100 times historical rates (Rider 2018), and many

other sources likewise report this trend.25

      Faced with this rapid social change, it is my view as a medical doctor that

policymakers have an important and pressing duty not to wait while avoidable

injuries are inflicted on girls and women, but instead to proactively establish

policies governing participation of biological males in female athletics that give

proper and scientifically-based priority to safety in sport for these girls and

women. Separating participants in contact sports based on biological sex

preserves competitive equity, but also promotes the safety of female athletes by

protecting them from predictable and preventable injury. Otherwise, the hard

science that I have reviewed in this white paper leaves little doubt that

eligibility policies based on ideology or gender identity rather than science, will,



                           
25https://www.nytimes.com/2016/07/01/health/transgender-
population.html?.?mc=aud_dev&ad-
keywords=auddevgate&gclid=Cj0KCQjwkZiFBhD9ARIsAGxFX8BV5pozB9LI5Ut57OQzuMhu
rWThv BMisV9NyN9YTXIzWl7OAnGT6VkaAu0jEALw_wcB&gclsrc=aw.ds (accessed 6/20/21)


                                        59

                                                                     Armistead App. 0261




over time, result in increased, and more serious, injuries to girls and women

who are forced to compete against biologically male transgender athletes. When

basic science and physiology both predict increased injury, then leagues, policy-

makers, and legislators have a responsibility to act to protect girls and women

before they get hurt.


                                        Chad Carlson, M.D.,
                                        FACSM Stadia Sports
                                        Medicine West Des
                                        Moines, Iowa Past-
                                        President, AMSSM




                                       60

                                                                      Armistead App. 0262




                               BIBLIOGRAPHY

Agel, J. et al., Anterior cruciate ligament injury in National Collegiate Athletic
       Association basketball and soccer: a 13-year review. Am. J. Sports Med.
       33(4):524-531 (2005).

Athletic Business, “College intramural playing rules vary greatly.”
      https://www.athleticbusiness.com/college/intramural-coed-basketball-
      playing-rules-vary-greatly.html.

Bahr, R. and T. Krosshaug, Understanding injury mechanisms: a key
      component of preventing injuries in sport. Br. J. Sports Med 39:324-329
      (2005).

Barboza, S.D. et al., Injuries in field hockey players: a systematic review.
     Sports Med. 48:849-66 (2018).

Barth, J.T. et al., Acceleration-deceleration sport-related concussion: the
      gravity of it all. J. Athletic Training 36(3):253-56 (2001).

Beachy, G. and M. Rauh, Middle school injuries: a 20-year (1988-2008)
     multisport evaluation. J. Athl. Train. 49(4):493-506 (2014).

Berz, K. et al., Sex-specific differences in the severity of symptoms and
      recovery rate following sports-related concussion in young athletes. The
      Physician and Sports Med. 41(2):58-63 (2015).

BJJ World, "Transgender MMA Fighter Fallon Fox Breaks Skull of Her
     Female Opponent." https://bjj-world.com/transgender-mma-fighter-
     fallon-fox-breaks-skull-of-her-female-opponent/.

Blankenship, M.J. et al., Sex-based analysis of the biomechanics of pitching.
     38th International Society of Biomechanics in Sport Conference (July
     2020).

Blumenfeld, R.S. et al., The epidemiology of sports-related head injury and
     concussion in water polo. Front. Neurol. 7(98) (2016).

Boden, B.P. et al., Concussion incidence in elite college soccer players. Am. J.
     Sports Med. 26(2):238-241 (1998).

Bohannon, R.W. et al., Handgrip strength: a comparison of values obtained
     from the NHANES and NIH toolbox studies. Am. J. Occ. Therapy 73(2)
     (March/April 2019).



                                        61

                                                                      Armistead App. 0263




Bompadre, V. et al., Washington State’s Lystedt Law in concussion
     documentation in Seattle public high schools. J. Athletic Training
     49(4):486-92 (2014).

Broshek, D.K. et al., Sex differences in outcome following sports-related
      concussion, J. Neurosurg. 102:856-63 (May 2005).

Buckman, R. F. and Buckman, P.D., Vertical deceleration trauma: principles of
     management. Surg .Clin. N. Am. 71(2):331–44 (1991).

Caswell, S.V., et al., Epidemiology of sports injuries among middle school
     students. Brit. J. of Sports Med. 51(4):305 (2017).

Centers for Disease Control, CDC National Health Statistics Report Number
      122, 12/20/2018.

Centers for Disease Control, Nonfatal traumatic brain injuries from sports and
      recreation activities–United States, 2001-2005, JAMA 298(11):1271-72
      (Sept 2007).

Cheuvront, S.N. et al., Running performance differences between men and
     women: an update. Sports Med. 35(12):1017-24 (2005).

Chidi-Ogbolu, N. and K. Baar, Effect of estrogen on musculoskeletal
      performance and injury risk. Front. Physiol. 9:1834 (2019).

Chu, Y. et al., Biomechanical comparison between elite female and male
      baseball pitchers. J. Applied Biomechanics 25:22-31 (2009).

Coleman, D.L. and W. Shreve, Comparing athletic performances: the best elite
     women to boys and men.
     web.law.duke.edu/sites/default/files/centers/sportslaw/comparingathletic
     perform ances.pdf. (Accessed 06/20/21)

Coleman, D. L. et al., Re-affirming the value of the sports exception to Title
     IX's general non-discrimination rule. Duke J. of Gender and Law Policy
     27(69):69134 (2020).

Colvin, A.C. et al., The role of concussion history and gender in recovery from
      soccer-related concussion. Am. J. Sports Med, 37(9):1699-1704 (2009).

Covassin, T. et al., Sex differences and the incidence of concussions among
     collegiate athletes. J. Ath. Training 38(3):238-244 (2003).

Covassin, T. et al., Sex differences in reported concussion injury rates and time
     loss from participation: an update of the National Collegiate Athletic

                                       62

                                                                     Armistead App. 0264




      Association Injury Surveillance Program from 2004-2005 through 2009-
      2009. J. Ath. Training 51(3):189-194 (2016).

Covassin, T. et al., The role of age and sex in symptoms, neurocognitive
     performance, and postural stability in athletes after concussion. Am. J.
     Sports Med. 40(6):1303-1312 (2012).

Dashnaw, M.L. et al., An overview of the basic science of concussion and
     subconcussion: where we are and where we are going. Neurosurg. Focus
     33(6) E5 (2012).

Davis, S.M., et al., Sex Differences in Infant Body Composition Emerge in
      First 5 Months of Life. J. Pediatr. Endocrinol. Metab. 32(11): 1235–1239
      (2019)

De Varona, D. et al., Briefing book: a request to Congress and the
     Administration to preserve girls’ and women’s sport and accommodate
     transgender athletes. Women’s Sports Policy Working Group (2021),
     available at https://womenssportspolicy.org/wp-
     content/uploads/2021/02/Congressional-Briefing-WSPWG-Transgender-
     Women-Sports-2.27.21.pdf.

Dick, R.W., Is there a gender difference in concussion incidence and outcomes?
      Br. J. Sports Med. 43(Supp I):i46-i50 (2009).

Dolgin, J., Transgender women on college athletic teams – the case of Lindsay
      Hecox. NEJM 383(21):2000-2002 (2020).

Ewing-Cobbs, et al., Persistent postconcussion symptoms after injury.
     Pediatrics 142(5):e20180939 (2018).

Ferris, D.P. et al., The relationship between physical and physiological
       variables and volleyball spiking velocity. J. Strength & Cond. Research
       9(1):32-36 (1995).

Fields, J.B. et al., Body composition variables by sport and sport-position in
       elite collegiate athletics. J. Strength & Cond. Research 32(11):3153-3159
       (Nov 2018).

Fighera, T.M. et al., Bone mass effects of cross-sex hormone therapy in
      transgender people: updated systematic review and meta-analysis. J.
      Endocrine Soc. 3(5):943-964 (May 2019).

Flaxman, T.E. et al., Sex-related differences in neuromuscular control:
     implications for injury mechanisms or healthy stabilization strategies?
     J. Ortho. Research 310-317 (Feb 2014).

                                       63

                                                                      Armistead App. 0265




Forthomme, B. et al., Factors correlated with volleyball spike velocity. AJSM
      33(10):1513-1519 (2005).

Fung, Y.C.,The application of biomechanics to the understanding of injury and
      healing. A.M. Nahum et al. (eds), Accidental Injury, Springer Science &
      Business Media: New York (1993).

Gay, T., Football physics: the science of the game. Rodale Books (2004).

Gilsanz, V. et al., Age at onset of puberty predicts bone mass in young
      adulthood. J. Pediatr. 158(1):100-105 (Jan 2011).

Gooren, L.J.G. et al., Transsexuals and competitive sports. Eur. J. Endocrinol.
     151:425-9 (2004).

Hacherl, S.L., et al., Concussion rates and sports participation time loss in sex-
     comparable middle school sports. Archives of Clinical Neuropsychology
     36:650 (2021).

Hacherl, S.L., et al., Concussion rates in U.S. middle school athletes from the
     2015-16 to 2019-20 school years. J. Athl. Train. 56(6s):S-21 (2021).

Handelsman, D.J. et al., Circulating testosterone as the hormonal basis of sex
     differences in athletic performance. Endocrine Reviews 39(5):803-829
     (Oct 2018).

Harmon, K.G. et al., American Medical Society for Sports Medicine position
     statement: concussion in sport. Br. J. Sports Med. 47:15-26 (2013).

Harper, J. et al., How does hormone transition in transgender women change
     body composition, muscle strength and haemoglobin? Systematic review
     with a focus on the implications for sport participation. BJSM
     55(15):865-72 (2021).

Herzberg, S.D. et al., The effect of menstrual cycle and contraceptives on ACL
     injuries and laxity: a systematic review and meta-analysis. Orthop. J.
     Sports Med. 5(7) (2017).

Hewett, T.E. et al., Biomechanical measures of neuromuscular control and
     valgus loading of the knee predict anterior cruciate ligament injury risk
     in female athletes: a prospective study. AJSM 33(4):492-501 (2005).

Hilton, E. N. and T.R. Lundberg, Transgender women in the female category of
      sport: perspectives on testosterone suppression and performance
      advantage. Sports Medicine 51:199-214 (2021).


                                       64

                                                                        Armistead App. 0266




Hon, W.H.C. and S.H. Kock, Sports related fractures: a review of 113 cases. J.
      Orhopaedic Surg. 9(1):35-38 (2001).

Howell, D.R. et al., Collision and contact sport participation and quality of life
     among adolescent athletes. J. Athletic Training 55(11):1174-1180 (2020).

Hult, J.S., Women's struggle for governance in U.S. amateur athletics. Int.
       Rev. for Soc. of Sports 24(3):249-61 (1989).

International Olympic Committee. IOC Framework on Fairness, Inclusion and
      Non-Discrimination on the Basis of Gender Identity and Sex Variations
      (2021).

Janssen, I. et al., Skeletal muscle mass and distribution in 468 men and
      women aged 18-88 yr. J. Appl. Physiol. 89:81-88 (2000).

Kellis, S.E. et al., The evaluation of jumping ability of male and female
       basketball players according to their chronological age and major
       leagues. J. Strength and Conditioning Res. 13(1):40-46 (1999).

Kerr, Z., et al., Concussion rates in U.S. middle school athletes, 2015-16 school
      year, Am. J. Prev. Med. 53(6):914-18 (2017).

Kirchengast, S., Sexual dimorphism in body composition, weight status and
      growth in prepubertal school children from rural areas of eastern
      Austria. Collegium Antropologicum 25(1):21-30 (2001).

Kobayashi, H. et al., Mechanisms of the anterior cruciate ligament injury in
     sports activities: A twenty-year clinical research of 1700 athletes. J.
     Sports Science & Medicine 9:669-675 (2010).

Kountouris, P. et al., Evidence for differences in men’s and women’s volleyball
     games based on skills effectiveness in four consecutive Olympic
     tournaments. Comprehensive Psychology 4(9) (2015).

Kuczinski, A. et al., Trends and epidemiologic factors contributing to soccer-
      related fractures that presented to emergency departments in the
      United States. Sports Health 11(1):27-31 (2018).

Kujala U.M., et al., Acute injuries in soccer, ice hockey, volleyball, basketball,
      judo, and karate: analysis of national registry data. BMJ
      311(7018):1465-68 (1995).

Kvorning, T. et al., Suppression of endogenous testosterone production
     attenuates the response to strength training: a randomized, placebo-


                                        65

                                                                      Armistead App. 0267




      controlled, and blinded intervention study. Am. J. Physiol .Metab.
      291:E1325-E1332 (2006).

La Fountaine, M.F. et al., Preliminary evidence for a window of increased
      vulnerability to sustain a concussion in females: a brief report. Front.
      Neurol. 10:691 (2019).

Lapauw, B. et al., Body composition, volumetric and areal bone parameters in
     male-to-female transsexual persons. Bone 43:1016-21 (2008).

Lin, C. et al., Sex differences in common sports injuries. PM R 10(10):1073-
      1082 (2019).

Lombardo, M.P. and R. O. Deaner, On the evolution of sex differences in
     throwing. Qu. Review of Bio. 93(2):91-119 (2018).

Los Angeles Times, "Volleyball star Haley Hodson had it all, until blows to her
      head changed everything." https://www.latimes.com/sports/story/2020-
      12-08/stanford-volleyball-hayley-hodson-concussions-cte-lawsuit.

Magnusson, S.P. et al., The adaptability of tendon loading differs in men and
     women. Int. J. Exp. Pathol. 88:237-40 (2007).

Marar, M. et al., Epidemiology of concussions among United States high school
     athletes in 20 sports. Am. J. Sports Med. 40(4):747-755 (2012).

McCrory, P. et al., Consensus statement on concussion in sport—the 5th
     international conference on concussion in sport held in Berlin, October
     2016. BJSM 51:838-847 (2018).

McGroarty, N.K. et al., Sport-related concussion in female athletes: a
     systematic review. Orthop. J. Sports Med. 8(7) (2020).

McIntosh, A.S., Risk compensation, motivation, injuries, and biomechanics in
     competitive sport, Br. J. Sports Med (39):2-3 (2005).

McManus, A. and N. Armstrong, Physiology of elite young female athletes. J
    Med & Sport Sci 56:23-46 (2011).

Meeuwise, W.H., Assessing causation in sports injury: a multifactorial model.
     Clinical J. of Sports Med. 4(3):166-70 (1994).

Montalvo, A.M. et al., Anterior cruciate ligament injury risk in sport: a
     systematic review and meta-analysis of injury incidence by sex and
     sport classification. J. Ath. Training 54(5):472-482 (2019).


                                       66

                                                                       Armistead App. 0268




Montalvo, A.M. et al., "What's my risk of sustaining an ACL injury while
     playing sports?": a systematic review with meta-analysis. Br. J. Sports
     Med. 53:10031012 (2019).

Mooney, J. et al., Concussion in soccer: a comprehensive review of the
     literature. Concussion 5(3) (2020).

Morris, J.S. et al., Sexual dimorphism in human arm power and force:
      implications for sexual selection on fighting ability. J. Exp. Biol. 223(Pt
      2) (2020).

National Collegiate Athletic Association, Inclusion of transgender student-
      athletes.
      https://ncaaorg.s3.amazonaws.com/inclusion/lgbtq/INC_TransgenderHa
      ndbook.pdf (August 2011).

National Conference of State Legislatures, Report on traumatic brain injury
      legislation. https://www.ncsl.org/research/health/traumatic-brain-injury-
      legislation.aspx#1 (2018).

Neder, J.A. et al., Reference values for concentric knee isokinetic strength and
      power in nonathletic men and women from 20 to 80 years old. J. Orth. &
      Sports Phys. Therapy 29(2):116-126 (1999).

New York Times, “Estimate of U.S. transgender population doubles to 1.4
     Million adults.”
     https://www.nytimes.com/2016/07/01/health/transgender-
     population.html?.?mc=aud_dev&ad-
     keywords=auddevgate&gclid=Cj0KCQjwkZiFBhD9ARIsAGxFX8BV5poz
     B9LI5Ut57OQzuMhurWThvBMisV9NyN9YTXIzWl7OAnGT6VkaAu0jE
     ALw_wcB&gclsr c=aw.ds. (July 1, 2016).

Nieves, J.W. et al., Males have larger skeletal size and bone mass than females,
      despite comparable body size. J. Bone Mineral Res. 20(3):529-35 (2005).

Palao, J.M. et al., Normative profiles for serve speed for the training of the
      serve and reception in volleyball. The Sport Journal (July 2014).

Pierpoint, L. et al., The first decade of web-based sports injury surveillance:
      descriptive epidemiology of injuries in US high school boys’ (and girls)
      lacrosse (2008–2009 Through 2013–2014) and National Collegiate
      Athletic Association men’s lacrosse (2004–2005 Through 2013–2014). J.
      Athl. Training 54(1):30-41 (2019).




                                        67

                                                                      Armistead App. 0269




Preiss-Farzanegan, S.J. et al., The relationship between gender and
      postconcussion symptoms after sport-related mild traumatic brain
      injury. PM R 1(3):245-53 (2009).

Rider, G.N. et al., Health and care utilization of transgender and gender
       nonconforming youth: a population-based study. Pediatrics 141:3 (March
       2018).

Roberts, T.A. et al., Effect of gender affirming hormones on athletic
      performance in transwomen and transmen: implications for sporting
      organisations and legislators. BJSM 0:1-7 (2020).

Rowson, S. et al., Biomechanical perspectives on concussion in sport, Sports
     Med. Arthrosc. 24(3):100-107 (Sept 2016).

Ruetsche, A.G. et al., Cortical and trabecular bone mineral density in
      transsexuals after long-term cross-sex hormonal treatment: a cross-
      sectional study. Osteoporos. Int. 16:791-798 (2005).

Sakamoto, K. et al., Comparison of kicking speed between female and male
     soccer players. Procedia Engineering 72:50-55 (2014).

Santos, D.A. et al., Reference values for body composition and anthropometric
      measurements in athletes. PLOSOne 9(5) (May 2014).

Sattler, T. et al., Vertical jump performance of professional male and female
      volleyball players: effects of playing position and competition level. J.
      Strength and Conditioning Res. 29(6):1486-93 (2015).

Scharff, M. et al., Change in grip strength in trans people and its association
      with lean body mass and bone density. Endocrine Connections 8:1020-28
      (2019).

Singh-Ospina, N. et al., Effect of sex steroids on the bone health of transgender
      individuals: a systematic review and meta-analysis. J. Clin. Endocrinol.
      Metab. 102(11):3904-13 (Nov 2017).

Sutton, K.M. et al., Anterior cruciate ligament rupture: differences between
      males and females. J. Am. Acad. Orthop. Surg. 21(1):41-50 (2013).

Tack, L.J.W. et al., Proandrogenic and antiandrogenic progestins in
      transgender youth: differential effects on body composition and bone
      metabolism. J. Clin. Endocrinol. Metab, 103(6):2147-56 (2018).

Taylor, R.W., et al., Gender differences in body fat content are present well
      before puberty. Int. J. Obes. Relat. Metab. Disord. 21(11): 1082-4 (1997).

                                       68

                                                                       Armistead App. 0270




Taylor, R.W., et al., Sex differences in regional body fat distribution from pre-
      to postpuberty. Obesity 18(7): 1410-16 (2010).

Thomas, J.R. and K. E. French, Gender differences across age in motor
     performance: a meta-analysis. Psych. Bull. 98(2):260-282 (1985).

Tierney, R.T. et al., Gender differences in head-neck segment dynamic
      stabilization during head acceleration. Med. and Sci. in Sports and
      Exercise, American College of Sports Medicine 37(2):272-9 (2005).

UK Sports Councils’ Equality Group, Guidance for Transgender Inclusion in
     Domestic Sport,
     https://equalityinsport.org/docs/300921/Guidance%20for%20Transgende
     r%20Inclusion%20in%20Domestic%20Sport%202021.pdf (2021).

UK Sports Councils’ Equality Group, International Research Literature
     Review,
     https://equalityinsport.org/docs/300921/Transgender%20International%
     20Research%20Literature%20Review%202021.pdf (2021).

Van Den Tillaar, R. and J. M. H. Cabri, Gender differences in the kinematics
     and ball velocity of overarm throwing in elite team handball players. J.
     Sports Sciences 30(8):807-813 (2012).

Viviers, P. et al., A review of a decade of rugby union injury epidemiology:
      20072017. Sports Health 10(3):223-27 (2018).

VolleyballMag.com, "Hit by volleyballs: concussions have changed coach
      Corinne Atchison's life." https://volleyballmag.com/corinneatchison/
      (9/25/16).

Wang, L. et al., Post-traumatic osteoarthritis following ACL injury. Arthritis
     Res. and Therapy 22(57) (2020)

Wiik, A., T. R Lundberg et al., Muscle strength, size, and composition following
      12 months of gender-affirming treatment in transgender individuals. J.
      Clinical Endocrin. & Metab. 105(3):e805-813 (2020).

Wikipedia, “Cece Telfer.” https://en.wikipedia.org/wiki/Cece_Telfer.

Wolf, J.M. et al., Male and female differences in musculoskeletal disease. J.
       Am. Acad. Orthop. Surg. 23:339-347 (2015).

World Regby Transgender Guidelines. https://www.world.rugby/the-
      game/player-welfare/guidelines/transgender (2020).


                                        69

                                                               Armistead App. 0271




World Rugby Transgender Women Guidelines. https://www.world.rugby/the-
      game/player-welfare/guidelines/transgender/women (2020).

Wunderle, K. et al, Menstrual phase as predictor of outcome after mild
    traumatic brain injury in women. J. Head Trauma Rehabil. 29(5):E1-E8
    (2014).






                                   70

                                                                 Armistead App. 0272




                 APPENDIX – LIST OF PUBLICATIONS


Publications of Dr. Chad Thomas Carlson, M.D., FACSM


Sports Medicine CAQ Study Guide, Healthy Learning, 2021 [editor].

SEXUAL VIOLENCE IN SPORT: AMERICAN MEDICAL SOCIETY FOR
    SPORTS MEDICINE POSITION STATEMENT. Published in Curr
    Sports Med Reports June 2020;19(6):232-4; Clin J Sports Med June 8
    2020; Br J Sports Med 2020;0:1-3.

Traveling with Medication. NCAA Sports Science Institute Bulletin, 2015
      http://www.ncaa.org/sport-science-institute/traveling-medication.

A SURVEY OF STATE MEDICAL LICENSING BOARDS: CAN THE
     TRAVELING TEAM PHYSICIAN PRACTICE IN YOUR STATE? 2013.
     Jan (47)1:60-62.

AXIAL BACK PAIN IN THE ATHLETE: PATHOPHYSIOLOGY AND
     APPROACH TO REHABILITATION. Curr Rev Musculoskel Med. 2009
     (2):88-93.

THE NATURAL HISTORY AND MANAGEMENT OF HAMSTRING
     INJURIES. Curr Rev Musculoskel Med 2008 (1):120-128.

SPONDYLOLYSIS AND THE ATHLETE. Athletic Ther Today. 2007 (12)4:37-
    39.

“ACUTE SUBDURAL HEMATOMA IN A HIGH SCHOOL FOOTBALL
     PLAYER,” J Athl Training, 38;2(63), 2003.

THE RELATIONSHIP OF EXCESSIVE WEIGHT LOSS TO PERFORMANCE
     IN HIGH SCHOOL WRESTLERS – A PILOT STUDY; presented at the
     AMSSM national meeting, San Diego, CA, 2000; Clinical Journal of
     Sport Medicine 10(4):310, October, 2000.






                                     71

                                                                                                   Armistead App. 0273
   




                           CURRICULUM VITAE (ABBREVIATED)



&KDG7KRPDV&DUOVRQ0'

              :RUN$GGUHVV6WDGLD6SRUWV0HGLFLQH
              8QLYHUVLW\$YH
                           6XLWH
                          :HVW'HV0RLQHV,$
              3KRQH  
              
$FWLYHSURIHVVLRQDOOLFHQVHV,$1(&$7;711&$=)/ WHOHPHG 

             %RDUGFHUWLILHGIDPLO\PHGLFLQH$%06UHFHUWLILHG
              
              %RDUGFHUWLILHGVSRUWVPHGLFLQH$%06UHFHUWLILHG
              
              



('8&$7,21

       x )HOORZVKLS6SRUWV0HGLFLQH%DOO0HPRULDO+RVSLWDO&HQWUDO,QGLDQD2UWKRSHGLFV&RPSOHWHG
              
       x 5HVLGHQF\8QLYHUVLW\RI0LFKLJDQ'HSDUWPHQWRI)DPLO\0HGLFLQH
       x 8QLYHUVLW\RI1HEUDVND&ROOHJHRI0HGLFLQH
             0'REWDLQHG0D\
       x 8QLYHUVLW\RI1HEUDVNDDW/LQFROQ
             %6ZLWKPDMRUVLQKLVWRU\ HPSKDVLV$PHULFDQ DQGELRORJ\REWDLQHG0D\

(03/2<0(17+,6725<
       
       x 3K\VLFLDQ2ZQHU6WDGLD6SRUWV0HGLFLQH:HVW'HV0RLQHV,$SUHVHQW
       x 6WDII3K\VLFLDQ8QLYHUVLW\RI,OOLQRLV
       x 'LUHFWRU &DUOH 6SRUWV 0HGLFLQH &DUOH )RXQGDWLRQ +RVSLWDO 8UEDQD ,/  7HDP SK\VLFLDQ
              8QLYHUVLW\RI,OOLQRLV
       x 3ULYDWHSUDFWLFH,RQLD&RXQW\+RVSLWDO,RQLD0,

+263,7$/$)),/,$7,216

       x ,RZD0HWKRGLVW+RVSLWDO'HV0RLQHV
       x 0HUF\0HGLFDO&HQWHU'HV0RLQHV

352)(66,21$/+21256$:$5'6

       x $SSRLQWHGWR%RDUGRI'LUHFWRUV3K\VLFDO$FWLYLW\$OOLDQFH
       x $SSRLQWHGWRMRLQW$06601&$$&29,':RUNLQJ*URXS0DUFKSUHVHQW
                     o 0HGLFDODGYLVRU\SDQHO:RPHQ¶V'LYLVLRQ,1&$$%DVNHWEDOO7RXUQDPHQW
       x $0660)RXQGHUV$ZDUGDZDUGHGRQFHDQQXDOO\IRUWKH6SRUWV0HGLFLQH3K\VLFLDQQDWLRQDOO\ZKR
              EHVWH[HPSOLILHVWKHSUDFWLFHRI6SRUWV0HGLFLQH
       x )HOORZGHVLJQDWLRQ$PHULFDQ0HGLFDO6RFLHW\IRU6SRUWV0HGLFLQH
       x (OHFWHGWR([HFXWLYH&RPPLWWHH$PHULFDQ0HGLFDO6RFLHW\IRU6SRUWV0HGLFLQH
                     o 3UHVLGHQWRI$0660


                                                          72
   
                                                                                                 Armistead App. 0274



    x   3UDFWLFH3ROLF\&RPPLWWHH$0660 )RUPHU&KDLU 
              o $XWKRURI86+5WKH6SRUWV0HGLFLQH/LFHQVXUH&ODULW\$FWZKLFKSDVVHGWKH86+RXVHRI
                  5HSUHVHQWDWLYHVDQG6HQDWHLQ-DQXDU\DQGZDVVLJQHGLQWRODZE\3UHVLGHQW7UXPS
    x   $SSRLQWHGPHPEHURISK\VLFLDQOLDLVRQJURXSWRWKH1&$$WRGLVFXVVUHWXUQWRVSRUWVWUDWHJLHVLQWKH&29,'
         SDQGHPLF
    x   $SSRLQWHGWR%RDUGRI'LUHFWRUV5XQQLQJWKH5DFHSUHVHQW
    x   6SRUWV8OWUDVRXQG&RPPLWWHH3ROLF\&R&KDLU$0660
    x   (OHFWHGWR%RDUGRI'LUHFWRUV$PHULFDQ0HGLFDO6RFLHW\IRU6SRUWV0HGLFLQH
    x   0HPEHU+HDOWKDQG6FLHQFH3ROLF\&RPPLWWHH$&60SUHVHQW
              o &KDLU&OLQLFDO0HGLFLQH6XEFRPPLWWHH+63&$&60
    x   ,RZD0HGLFDO6RFLHW\/HDGHUVKLS'HYHORSPHQW&RPPLWWHH
    x   0HPEHURI6SRUWV0HGLFLQH6XEFRPPLWWHHIRUWKH,RZD6WDWH0HGLFDO6RFLHW\SUHVHQW
              o ,RZDGHVLJQDWHWR1DWLRQDO<RXWK6SRUWV6DIHW\6XPPLW
                        1HZ<RUN&LW\±
                        ,QGLDQDSROLV±
                        .DQVDV&LW\±
    x   $0660GHVLJQDWHIRUWKH$PHULFDQ$FDGHP\RI2UWKRSDHGLF6XUJHRQV¶.QHH2VWHRDUWKULWLV4XDOLW\
         0HDVXUHUHYLHZFRPPLWWHH
    x   $VVRFLDWH(GLWRU&XUUHQW5HYLHZVLQ0XVFXORVNHOHWDO0HGLFLQH
    x   )HOORZ$PHULFDQ&ROOHJHRI6SRUWV0HGLFLQH'HVLJQDWHGLQ



63(&,$/48$/,),&$7,216

   x 3ULRUOHJDOFRQVXOWLQJZRUNLQFDVHVZLWKERWKORFDODQGQDWLRQDOUHDFK
   x ([WHQVLYHWUDLQLQJLQRIILFHPXVFXORVNHOHWDOLQMXU\
   x 2YHUVLJKWRIWUHDGPLOOVWUHVVWHVWLQJPHWDEROLFVWUHVVWHVWLQJ
   x ,QGHSHQGHQWFRQVXOWDWLRQUHJDUGLQJHVWDEOLVKPHQWRILQGLYLGXDOH[HUFLVHSURJUDPVFRQVLVWHQWZLWKUHYLVHG
       $&60JXLGHOLQHV
   x 3URILFLHQWDWHYDOXDWLRQPDQDJHPHQWRIERQHPLQHUDOGHQVLW\SUREOHPVDWDOODJHV
       
   x 4XDOLILHGSURFHGXUDOO\IRU
                      8OWUDVRXQGGLDJQRVWLFWHVWLQJDQGJXLGHGLQMHFWLRQV
                      -RLQWLQMHFWLRQDVSLUDWLRQ
                      3HUFXWDQHRXVWHQRWRP\ 7(1(; 
                     5RWDWRUFXIIEDUERWDJH
                      /DFWDWH$QDHURELFWKUHVKROG920$;H[HUFLVHWHVWLQJ
                      /DU\QJRVFRS\IRUYRFDOFRUGDVVHVVPHQW
                     &RPSDUWPHQWSUHVVXUHDVVHVVPHQW
                     8OWUDVRXQGJXLGHGQHUYHEORFNV
   x ([WHQVLYHH[SHULHQFHVSHDNLQJWRODUJHQDWLRQDOJURXSVRQLVVXHVSHUWDLQLQJWRVSRUWVPHGLFLQHLQFOXGLQJ
       EXWQRWOLPLWHGWR
            o 2YHUXVH,QMXU\
            o +HDGDQG1HFN,QMXULHVRQWKH)LHOG
            o ([HUFLVH,QGXFHG$VWKPD
            o 7KH6KRXOGHU([DP
            o 3ULQFLSOHVRI([HUFLVH3UHVFULSWLRQ
            o 7UDXPDWLF%UDLQ,QMXU\LQ6SRUW
            o 7KH.QHH([DP
            o 7KH$QNOH([DP
            o 7KH+LS([DP
            o 7KH3UH3DUWLFLSDWLRQ([DP
            o &DUGLRSXOPRQDU\([HUFLVH7HVWLQJIRU'HWHUPLQDWLRQRI7UDLQLQJ=RQH(VWLPDWHVDQGWR,GHQWLI\
                 &DXVHVRI([HUFLVH5HODWHG'\VSQHD
            o $WKOHWLF$PHQRUUKHD
            o $GYRFDF\LQ6SRUWV0HGLFLQH
            o 0HGLFDO3UDFWLFH(FRQRPLFV





                                                        73

                                                                                                  Armistead App. 0275



38%/,&$7,2165(6($5&+


       x 6SRUWV0HGLFLQH&$46WXG\*XLGH+HDOWK\/HDUQLQJ0RQWHUH\&$>HGLWRU@
       x $;,$/%$&.3$,1,17+($7+/(7(3$7+23+<6,2/2*<$1'$3352$&+725(+$%,/,7$7,21
              &XUU5HY0XVFXORVNHO0HG  
       x 6321'</2/<6,6$1'7+($7+/(7($WKOHWLF7KHU7RGD\  
       x 7+(1$785$/+,6725<$1'0$1$*(0(172)+$0675,1*,1-85,(6&XUU5HY0XVFXORVNHO0HG
                
       x $6859(<2)67$7(0(',&$//,&(16,1*%2$5'6&$17+(75$9(/,1*7($03+<6,&,$1
              35$&7,&(,1<28567$7("%-60-DQ  
       x 6(;8$/9,2/(1&(,163257$0(5,&$10(',&$/62&,(7<)256325760(',&,1(326,7,21
              67$7(0(17
                    o &XUU6SRUWV0HG5HSRUWV-XQH  
                    o &OLQ-6SRUWV0HG-XQH
                    o %U-6SRUWV0HG
       x ³$&87(68%'85$/+(0$720$,1$+,*+6&+22/)227%$//3/$<(5´
              -$WKO7UDLQLQJ  
       x 7UDYHOLQJZLWK0HGLFDWLRQ1&$$6SRUWV6FLHQFH,QVWLWXWH%XOOHWLQKWWSZZZQFDDRUJVSRUWVFLHQFH
              LQVWLWXWHWUDYHOLQJPHGLFDWLRQ
       x 7+(5(/$7,216+,32)(;&(66,9(:(,*+7/266723(5)250$1&(,1+,*+6&+22/
              :5(67/(56±$3,/27678'<SUHVHQWHGDWWKH$0660QDWLRQDOPHHWLQJ6DQ'LHJR&$
&OLQLFDO-RXUQDORI6SRUW0HGLFLQH  2FWREHU





                                                         74

Armistead App. 0276
         Armistead App. 0277




- ii -
                                                                    Armistead App. 0278




                        Expert Report of

                    Stephen B. Levine, MD

In the case of B.P.J. vs. West Virginia State Board of Education.



                       February 23, 2022




                             - iii -
                                                                                                                         Armistead App. 0279




                                                     TABLE OF CONTENTS

I.    CREDENTIALS & SUMMARY.......................................................................................... 1
II. BACKGROUND ON THE FIELD ...................................................................................... 8
      A. The biological baseline of the binary sexes...................................................................... 8
      B. Definition and diagnosis of gender dysphoria ................................................................ 12
      C. Impact of gender dysphoria on minority and vulnerable groups .................................... 13
      D. Three competing conceptual models of gender dysphoria and transgender
         identity ............................................................................................................................ 14
      E. Four competing models of therapy ................................................................................. 16
III. THERE IS NO CONSENSUS OR AGREED “STANDARD OF CARE”
     CONCERNING THERAPEUTIC APPROACHES TO CHILD OR
     ADOLESCENT GENDER DYSPHORIA. ........................................................................ 22
      A. Experts and organizations disagree as to whether “distress” is a necessary
         element for diagnoses that justifies treatment for gender identity issues. ...................... 23
      B. Opinions and practices vary widely about the utilization of social transition for
         children and adolescents. ................................................................................................ 24
      C. The WPATH “Standards of Care” is not an impartial or evidence-based
         document. ....................................................................................................................... 25
      D. Opinions and practices differ widely with respect to the proper role of
         psychological counseling before, as part of, or after a diagnosis of gender
         dysphoria. ....................................................................................................................... 28
      E. Opinions and practices vary widely with respect to the administration of puberty
         blockers and cross-sex hormones. .................................................................................. 30
IV. TRANSGENDER IDENTITY IS NOT BIOLOGICALLY BASED. ............................. 33
      A. No theory of biological basis has been scientifically validated. .................................... 34
      B. Large changes across time and geography in the epidemiology of transgender
         identification are inconsistent with the hypothesis of a biological basis for
         transgender identity. ....................................................................................................... 35
      C. Disorders of sexual development (or DSDs) and gender identity are very
         different phenomena, and it is an error to conflate the two. ........................................... 38
      D. Studies of individuals born with DSDs suggest that there may be a biological
         predisposition towards typical gender identifications, but provide no support for
         a biological basis for transgender identification. ........................................................... 39
V. GENDER IDENTITY IS EMPIRICALLY NOT FIXED FOR MANY
   INDIVIDUALS. ................................................................................................................... 40
      A. Most children who experience gender dysphoria ultimately “desist” and resolve
         to cisgender identification. ............................................................................................. 40



                                                                    - iv -
                                                                                                                        Armistead App. 0280



      B. Desistance is increasingly observed among teens and young adults who first
         manifest GD during or after adolescence. ...................................................................... 42
VI. TRANSITION AND AFFIRMATION IS AN IMPORTANT
    PSYCHOLOGICAL AND MEDICAL INTERVENTION THAT CHANGES
    GENDER IDENTITY OUTCOMES. ................................................................................ 45
      A. If both a typical gender or a transgender long-term gender identity outcome are
         possible for a particular patient, the alternatives are not medically neutral. .................. 45
      B. Social transition of young children is a powerful psychotherapeutic intervention
         that radically changes outcomes, almost eliminating desistance.................................... 46
      C. Administration of puberty blockers is a powerful medical and psychotherapeutic
         intervention that radically changes outcomes, almost eliminating desistance on
         the historically observed timeline. .................................................................................. 48
VII. TRANSITION AND AFFIRMATION ARE EXPERIMENTAL THERAPIES
     THAT HAVE NOT BEEN SHOWN TO IMPROVE MENTAL OR PHYSICAL
     HEALTH OUTCOMES BY YOUNG ADULTHOOD. ................................................... 49
      A. The knowledge base concerning therapies for gender dysphoria is “very low
         quality.” .......................................................................................................................... 50
      B. Youth who adopt a transgender identity show no durable improvement in mental
         health after social, hormonal, or surgical transition and affirmation. ............................ 52
      C. Long-term mental health outcomes for individuals who persist in a transgender
         identity are poor. ............................................................................................................. 54
VIII. TRANSITION AND AFFIRMATION DO NOT DECREASE, AND MAY
    INCREASE, THE RISK OF SUICIDE. ............................................................................ 56
      A. The risk of suicide among transgender youth is confused and exaggerated in the
         public mind. .................................................................................................................... 56
      B. Transition of any sort has not been shown to reduce levels of suicide. ......................... 58
      C. Long-term life in a transgender identity correlates with very high rates of
         completed suicide. .......................................................................................................... 59
IX. HORMONAL INTERVENTIONS ARE EXPERIMENTAL PROCEDURES
    THAT HAVE NOT BEEN PROVEN SAFE. .................................................................... 61
      A. Use of puberty blockers has not been shown to be safe or reversible for gender
         dysphoria. ....................................................................................................................... 62
      B. Use of cross-sex hormones in adolescents for gender dysphoria has not been
         shown to be medically safe except in the short term. ..................................................... 66
      C. The timing of harms. ...................................................................................................... 70
Bibliography ................................................................................................................................ 72




                                                                    -v-
                                                                                    Armistead App. 0281




I.     CREDENTIALS & SUMMARY

       1.      I am Clinical Professor of Psychiatry at Case Western Reserve University School

of Medicine, and maintain an active private clinical practice. I received my MD from Case

Western Reserve University in 1967, and completed a psychiatric residency at the University

Hospitals of Cleveland in 1973. I became an Assistant Professor of Psychiatry at Case Western

in 1973, became a Full Professor in 1985, and in 2021 was honored to be inducted into the

Department of Psychiatry’s “Hall of Fame.”

       2.      Since July 1973, my specialties have included psychological problems and

conditions relating to individuals’ sexuality and sexual relations, therapies for sexual problems,

and the relationship between love, intimate relationships, and wider mental health. In 2005, I

received the Masters and Johnson Lifetime Achievement Award from the Society of Sex

Therapy and Research. I am a Distinguished Life Fellow of the American Psychiatric

Association.

       3.      I have served as a book and manuscript reviewer for numerous professional

publications. I have been the Senior Editor of the first (2003), second (2010), and third (2016)

editions of the Handbook of Clinical Sexuality for Mental Health Professionals. In addition to

five previously solo-authored books for professionals, I have recently published

Psychotherapeutic Approaches to Sexual Problems (2020). The book has a chapter titled “The

Gender Revolution.”

       4.      In total I have authored or co-authored over 180 journal articles and book

chapters, 20 of which deal with the issue of gender dysphoria. I am an invited member of a

Cochrane Collaboration subcommittee that is currently preparing a review of the scientific

literature on the effectiveness of puberty blocking hormones and of cross-sex hormones for
                                                                                     Armistead App. 0282



gender dysphoria for adolescents. Cochrane Reviews are a well-respected cornerstone of

evidence-based practice, comprising a systematic review that aims to identify, appraise, and

synthesize all the empirical evidence that meets pre-specified eligibility criteria in response to a

particular research question.

       5.      I first encountered a patient suffering what we would now call gender dysphoria

in July 1973. In 1974, I founded the Case Western Reserve University Gender Identity Clinic,

and have served as Co-Director of that clinic since that time. Across the years, our Clinic treated

hundreds of patients who were experiencing a transgender identity. An occasional child was seen

during this era. I was the primary psychiatric caregiver for several dozen of our patients and

supervisor of the work of other therapists. I was an early member of the Harry Benjamin

International Gender Dysphoria Association (later known as WPATH) and served as the

Chairman of the committee that developed the 5th version of its Standards of Care. In 1993 the

Gender Identity Clinic was renamed, moved to a new location, and became independent of Case

Western Reserve University. I continue to serve as Co-Director.

       6.      In the course of my five decades of practice treating patients who suffered from

gender dysphoria, I have at one time or another recommended or prescribed or supported social

transition, cross-sex hormones, and surgery for particular patients, but only after extensive

diagnostic and psychotherapeutic work.

       7.      In 2006, Judge Mark Wolf of the Eastern District of Massachusetts asked me to

serve as an independent, court-appointed expert in a litigation involving the treatment of a

transgender inmate within the Massachusetts prison system. In that litigation, the U.S. Court of

Appeals for the First Circuit in a 2014 (En Banc) opinion cited and relied on my expert




                                                -2-
                                                                                      Armistead App. 0283



testimony. I have been retained by the Massachusetts Department of Corrections as a consultant

on the treatment of transgender inmates since 2007.

       8.      In 2019, I was qualified as an expert and testified concerning the diagnosis,

understanding, developmental paths and outcomes, and therapeutic treatment of transgenderism

and gender dysphoria, particularly as it relates to children, in the matter of In the Interest of

J.A.D.Y. and J.U.D.Y., Case No. DF-15-09887-S, 255th Judicial District, Dallas County, TX (the

“Younger litigation”). I have provided expert testimony in other litigation as listed in my

curriculum vitae. In 2019, I provided written expert testimony in the landmark case in the United

Kingdom; Bell v. The Tavistock and Portman NHS Foundation Trust.

       9.      I am regularly requested to speak on the topic of gender dysphoria and have given

countless presentations to academic conferences and Departments of Psychiatry around the

country. In May of this year, I will be co-presenting a symposium on the management of

adolescent-onset transgender identity at American Psychiatric Association’s Annual Meeting.

       10.     A fuller review of my professional experience, publications, and awards is

provided in my curriculum vitae, a copy of which is attached hereto as Exhibit A.

       11.     I am being compensated for my time spent in connection with this case at a rate of

$400.00 per hour for consultation and $500.00 per hour for time spent testifying.

       12.     I have reviewed the “Declaration and Expert Report of Deanna Adkins, MD,”

dated January 21, 2022 (“Adkins”). In that declaration Dr. Adkins makes a variety of statements

about gender dysphoria, therapies for gender dysphoria, and outcomes of therapies, which I

believe to be inaccurate, or unsupported by scientific evidence. Dr. Adkins is a pediatric

endocrinologist. I note with some concern that Dr. Adkins makes a number of sweeping and




                                                 -3-
                                                                                      Armistead App. 0284



purportedly scientific assertions but cites almost no peer-reviewed articles or studies that support

her opinions.

       13.      Based on her declaration, Dr. Adkins’ practice is focused on children and

adolescents; her CV and declaration do not suggest substantial experience in working with adults

or older young adults who are living in a transgender identity, or who suffer from gender

dysphoria. (This diagnosis requires “clinically significant” distress.) The wider lifecycle view

that derives from experience with these adults (and familiarity with the literature concerning

them) provides an important cautionary perspective. The psychiatrist or psychologist treating a

trans child or adolescent, of course seeks to make the young patient happy, but the overriding

consideration is the creation of a happy, highly functional, mentally healthy person for the next

50 to 70 years of life. I refer to treatment that keeps this goal in view as the “life course”

perspective.

       14.      Dr. Adkins’ stated belief that the only way to avoid harm is affirmative care is just

one of many questionable assumptions that lack firm scientific foundation. Others that frequently

ride along with advocates’ convictions about affirmative care include:

                a. A trans identity is immutable;

                b. Trans identities are primarily caused by biological forces;

                c. Gender identity and orientation are distinct stable dimensions of identity;

                d. There are no alternative treatments to affirmative care;

                e. Affirmative care lastingly improves mental health and social function;

                f. Affirmative care reduces the rates of suicidal ideation and suicide;

                g. Young teens can give informed consent for hormones because they know best

       what will make them happy now and in the future;




                                                 -4-
                                                                                     Armistead App. 0285



                h. De-transition of affirmed youth is rare;

                i. Associated psychopathology during and after affirmative care is primarily due

       to minority stress.

       15.      These assertions are inaccurate or unsupported, for reasons that I explain in this

Declaration. I will provide citations to published, peer-reviewed articles that inform my

judgments.

       16.      I have also reviewed the “Expert Report and Declaration of Joshua D. Safer,

MD,” dated January 21, 2022 (“Safer”). In that declaration Dr. Safer similarly makes a variety of

statements about gender dysphoria, therapies for gender dysphoria, and outcomes of therapies,

which I believe to be inaccurate, or unsupported by scientific evidence. Dr. Safer also makes a

number of sweeping and purportedly scientific assertions that are not substantiated by peer-

reviewed articles or studies.

       17.      It is also my opinion that a number of Dr. Safer’s assertions are inaccurate or

unsupported, for reasons that I explain in this Declaration. Similarly, I will provide citations to

published, peer-reviewed articles that inform my judgments.

       18.      A summary of the key points that I explain in this report is as follows:

                a. Sex as defined by biology and reproductive function is clear, binary, and

       cannot be changed. While hormonal and surgical procedures may enable some

       individuals to “pass” as the opposite gender during some or all of their lives, such

       procedures carry with them physical, psychological, and social risks, and no procedures

       can enable an individual to perform the reproductive role of the opposite sex. (Section

       II.A.)




                                                -5-
                                                                            Armistead App. 0286



       b. The diagnosis of “gender dysphoria” encompasses a diverse array of

conditions, with widely differing pathways and characteristics depending on age of onset,

biological sex, mental health, intelligence, motivations for gender transition,

socioeconomic status, country of origin, etc. Data from one population (e.g., adults)

cannot be assumed to be applicable to others (e.g., children). (Section II.B.)

       c. Among practitioners in the field, there are currently widely varying views

concerning both the causes of and appropriate therapeutic response to gender dysphoria

in children or adolescents. There are no generally accepted “standards of care” and

existing studies do not provide a basis for a scientific conclusion as to which therapeutic

response results in the best long-term outcomes for affected individuals. (Section III.)

       d. Transgender identity is not biologically based. Rather, gender dysphoria is a

psychiatric condition that cannot be identified by any biological test or measurement.

(Sections IV.A, IV.B.)

       e. Disorders of sexual development (“DSDs”) are biological phenomena. It is an

error to conflate and/or scientifically link DSDs with incidents of gender dysphoria.

(Sections IV.C, IV.D.)

       f. The large majority of children who are diagnosed with gender dysphoria

“desist”—that is, their gender dysphoria does not persist—by puberty or adulthood.

Desistance is also increasingly observed among teens and young adults who have

experienced “rapid onset gender dysphoria” — first manifesting gender dysphoria during

or shortly after adolescence. (Section V.A., V.B.)

       g. “Social transition” —the active affirmation of transgender identity—in young

children is a powerful psychotherapeutic intervention that will substantially reduce the




                                        -6-
                                                                                Armistead App. 0287



number of children “desisting” from transgender identity. Therefore, the profound

implications of “affirmative” treatment—which include taking puberty blockers and

cross-sex hormones—must be taken into account where social transition is being

considered. (Section VI.A,, VI.B.)

        h. Administration of puberty blockers is not a benign “pause” of puberty, but

rather a powerful medical and psychotherapeutic intervention that almost invariably leads

to persistence in a transgender identity and, ultimately, to the administration of cross-sex

hormones. (Section VI.C.)

        i. The knowledge base concerning the “affirmative” treatment of gender

dysphoria available today has very low scientific quality with many long-term

implications remaining unknown. (Section VII.A)

        j. There are no studies that show that affirmation of transgender identity in

young children reduces suicide or suicidal ideation, or improves long-term outcomes, as

compared to other therapeutic approaches. Meanwhile, multiple studies show that adult

individuals living transgender lives suffer much higher rates of suicidal ideation,

completed suicide, and negative physical and mental health conditions than does the

general population. This is true before and after transition, hormones, and surgery.

(Section VII.B., VII.C.)

        k. In light of what is known and not known about the impact of affirmation on

the incidence of suicide, suicidal ideation, and other indicators of mental and physical

health, it is scientifically baseless, and therefore unethical, to assert that a child or

adolescent who express an interest in a transgender identity will kill him- or herself

unless adults and peers affirm that child in a transgender identity. (Section VIII.)




                                          -7-
                                                                                     Armistead App. 0288



               l. Hormonal interventions to treat gender dysphoria are experimental in nature

       and have not been shown to be safe, but rather put an individual at risk of a wide range of

       long-term and even life-long harms including: physical health risks; sterilization and the

       associated emotional response; impaired sexual response; surgical complications and life-

       long after-care; alienation of family and romantic relationships; elevated mental health

       risks of depression, anxiety, and substance abuse. (Section IX.)

II.    BACKGROUND ON THE FIELD

       A.      The biological baseline of the binary sexes

       19.     Dr. Adkins asserts that “the terms biological sex and biological male or female are

imprecise and should be avoided.” (Adkins at 10.) Dr. Safer further asserts that the term

biological sex “can cause confusion,” and moreover that a person’s sex encompasses gender

identity. (Safer at 6.) These statements are untrue. Biological sex is very well defined in all

biological sciences including medicine. It is pervasively important in human development

throughout the lifecycle.

       20.     Sex is not “assigned at birth” by humans visualizing the genitals of a newborn; it

is not imprecise. Rather, it is clear, binary, and determined at conception. The sex of a human

individual at its core structures the individual’s biological reproductive capabilities—to produce

ova and bear children as a mother, or to produce semen and beget children as a father. As

physicians know, sex determination occurs at the instant of conception, depending on whether a

sperm’s X or Y chromosome fertilizes the egg. A publication of the federal government’s

National Institute of Health accurately summarizes the scientific facts:

               “Sex is a biological classification, encoded in our DNA. Males
               have XY chromosomes, and females have XX chromosomes. Sex
               makes us male or female. Every cell in your body has a sex—
               making up tissues and organs, like your skin, brain, heart, and


                                                -8-
                                                                                        Armistead App. 0289



                stomach. Each cell is either male or female depending on whether
                you are a man or a woman.” (NIH 2022.)

        21.     The binary of biological sex is so fundamental and wide-ranging in its effects on

human (and mammal) development and physiology that since 2014 the NIH has required all

funded research on humans or vertebrate animals to include “sex as a biological variable” and

give “adequate consideration of both sexes in experiments.” (NIH 2015). In 2021, the Endocrine

Society issued a position paper elaborating on the application of the NIH requirement. The

Endocrine Society correctly stated that “Sex is a biological concept . . . all mammals have 2

distinct sexes;” that “biological sex is . . . a fundamental source of intraspecific variation in

anatomy and physiology;” and that “In mammals, numerous sexual traits (gonads, genitalia, etc.)

that typically differ in males and females are tightly linked to each other because one

characteristic leads to sex differences in other traits.” (Bhargava et al. 2021 at 221, 229.)

        22.     The Endocrine Society emphasized that “The terms sex and gender should not be

used interchangeably,” and noted that even in the case of those “rare” individuals who suffer

from some defect such that they “possess a combination of male- and female-typical

characteristics, those clusters of traits are sufficient to classify most individuals as either

biologically male or female.” They concluded, “Sex is an essential part of vertebrate biology, but

gender is a human phenomenon. Sex often influences gender, but gender cannot influence sex.”

(Bhargava et al. 2021 at 220-221, 228.) For purposes of this litigation, Dr. Bhargava’s statement

that gender cannot influence sex is of central importance.

        23.     As these statements and the NIH requirement suggest, biological sex pervasively

influences human anatomy, its development and physiology. This includes, of course, the

development of the human brain, in which many sexually dimorphic characteristics have now

been identified. In particular, the Endocrine Society and countless other researchers have



                                                  -9-
                                                                                    Armistead App. 0290



determined that human brains undergo particular sex-specific developmental stages during

puberty. This predictable developmental process is a genetically controlled coordinated

endocrine response that begins with pituitary influences leading to increases in circulating sex

hormones. (Bhargava et al. 2021 at 225, 229; Blakemore et al. 2010 at 926-927, 929; NIH

2001.).

          24.   Humans have viewed themselves in terms of binary sexes since the earliest

historical records. Recognizing a concept of “gender identity” as something distinct from sex is a

rather recent innovation whose earliest manifestations likely began in the late 1940s. Its usage

became common in medicine in the 1980s and subsequently in the larger culture. Definitions of

gender have been evolving and remain individual-centric and subjective. In a statement on

“Gender and Health,” the World Health Organization defines “gender” as “the characteristics of

women, men, girls and boys that are socially constructed” and that “var[y] from society to

society and can change over time,” and “gender identity” as referring to “a person’s deeply felt,

internal and individual experience of gender.” (WHO Gender and Health.) As these definitions

indicate, a person’s “felt” “experience of gender” is inextricably bound up with and affected by

societal gender roles and stereotypes—or, more precisely, by the affected individual’s perception

of societal gender roles and stereotypes and their personal idiosyncratic meanings. Typically,

gendered persons also have subtly different, often idiosyncratic, reactions to societal gender roles

and stereotypes without preoccupation with changing their anatomy.

          25.   Thus, the self-perceived gender of a child begins to develop along with the early

stages of identity formation generally, influenced in part from how others label the infant: “I love

you, son (daughter).” This designation occurs thousands of times in the first two years of life

when a child begins to show awareness of the two possibilities. As acceptance of the designated




                                               - 10 -
                                                                                    Armistead App. 0291



gender corresponding to the child’s sex is the outcome in >99% of children everywhere,

anomalous gender identity formation begs for understanding. Is it biologically shaped? Is it

biologically determined? Is it the product of how the child was privately regarded and treated? Is

it a product of the quality of early life caregiver attachments? Does it stem from trauma-based

rejection of maleness or femaleness, and if so, flowing from what trauma? Does it derive from a

tense, chaotic interpersonal parental relationship without physical or sexual abuse? Is it a

symptom of another, as of yet unrevealed, emotional disturbance or neuropsychiatric condition

(autism)? The answers to these relevant questions are not scientifically known but are not likely

to be the same for every trans-identified child, adolescent, or adult.

       26.      Under the influence of hormones secreted by the testes or ovaries, numerous

additional sex-specific differences between male and female bodies continuously develop

postnatally, culminating in the dramatic maturation of the primary and secondary sex

characteristics with puberty. These include differences in hormone levels, height, weight, bone

mass, shape, musculature, body fat levels and distribution, and hair patterns, as well as

physiological differences such as menstruation and ejaculation. These are genetically

programmed biological consequences of sex—the actual meaning of sex over time. Among the

consequences of sex is the consolidation of gender identity during and after puberty.

       27.     Despite the increasing ability of hormones and various surgical procedures to

reconfigure some male bodies to visually pass as female, or vice versa, the biology of the person

remains as defined by his (XY) or her (XX) chromosomes, including cellular, anatomic, and

physiologic characteristics and the particular disease vulnerabilities associated with that

chromosomally defined sex. For instance, the XX (genetically female) individual who takes

testosterone to stimulate certain male secondary sex characteristics will nevertheless remain




                                                - 11 -
                                                                                    Armistead App. 0292



unable to produce sperm and father children. It is certainly true, as Dr. Adkins writes, that

“[h]ormone therapy and social transition significantly change a person’s physical appearance.”

(Adkins at 8.) But in critical respects this change can only be “skin deep.” Contrary to assertions

and hopes that medicine and society can fulfill the aspiration of the trans individual to become “a

complete man” or “a complete woman,” this is not biologically attainable. (Levine 2018 at 6;

Levine 2016 at 238.) It is possible for some adolescents and adults to pass unnoticed—that is, to

be perceived by most individuals as a member of the gender that they aspire to be—but with

limitations, costs, and risks, as I detail later.

        B.      Definition and diagnosis of gender dysphoria

        28.     Specialists have used a variety of terms over time, with somewhat shifting

definitions, to identify and speak about a distressing incongruence between an individual’s

genetically determined sex and the gender with which they identify or to which they aspire.

Today’s American Psychiatric Association Diagnostic and Statistical Manual of Mental

Disorders (“DSM-5”) employs the term Gender Dysphoria and defines it with separate sets of

criteria for adolescents and adults on the one hand, and children on the other.

        29.     There are at least five distinct pathways to gender dysphoria: early childhood

onset; onset near or after puberty with no prior cross gender patterns; onset after defining oneself

as gay for several or more years and participating in a homosexual lifestyle; adult onset after

years of heterosexual transvestism; and onset in later adulthood with few or no prior indications

of cross-gender tendencies or identity. (Levine 2021.) The early childhood onset pathway and the

more recently observed onset around puberty pathway are most relevant to this matter.

        30.     Gender dysphoria has very different characteristics depending on age and sex at

onset. Young children who are living a transgender identity commonly suffer materially fewer

symptoms of concurrent mental distress than do older patients. (Zucker 2018 at 10.) The


                                                    - 12 -
                                                                                       Armistead App. 0293



developmental and mental health patterns for each of these groups are sufficiently different that

data developed in connection with one of these populations cannot be assumed to be applicable

to another.

       31.     The criteria used in DSM-5 to identify Gender Dysphoria include a number of

signs of discomfort with one’s natal sex and vary somewhat depending on the age of the patient,

but in all cases require “clinically significant distress or impairment in . . . important areas of

functioning” such as social, school, or occupational settings. The symptoms must persist for at

least six months.

       32.     Children who conclude that they are transgender are often unaware of a vast array

of adaptive possibilities for how to live life as a man or a woman—possibilities that become

increasingly apparent over time to both males and females. A boy or a girl who claims or

expresses interest in pursuing a transgender identity often does so based on stereotypical notions

of femaleness and maleness that reflect constrictive notions of what men and women can be.

(Levine 2017 at 7.) A young child’s—or even an adolescent’s—understanding of this topic is

quite limited. Nor can they grasp what it may mean for their future to be sterile. These children

and adolescents consider themselves to be relatively unique; they do not realize that discomfort

with the body and perceived social role is neither rare nor new to civilization. What is new is that

such discomfort is thought to indicate that they must be a trans person.

       C.       Impact of gender dysphoria on minority and vulnerable groups

       33.     Given that, as I discuss later, a diagnosis of gender dysphoria is now frequently

putting even young children on a pathway that leads to irreversible physical changes and

sterilization by young adulthood, it should be of serious concern to all practitioners that minority

and vulnerable groups are receiving this diagnosis at disproportionately high rates. These

include: children of color (Rider et al. 2018), children with mental developmental disabilities


                                                 - 13 -
                                                                                    Armistead App. 0294



(Reisner et al. 2015), children on the autistic spectrum (at a rate more than 7x the general

population) (Shumer et al. 2016; van der Miesen et al. 2018), children with ADHD (Becerra-

Culqui et al. 2018), children residing in foster care homes, adopted children (at a rate more than

3x the general population) (Shumer et al. 2017), victims of childhood sexual or physical abuse or

other “adverse childhood events” (Thoma 2021 et al.; Newcomb et al. 2020; Kozlowska et al.

2021), children with a prior history of psychiatric illness (Edwards-Leeper et al. 2017; Kaltiala-

Heino et al. 2015; Littman 2018), and more recently adolescent girls (in a large recent study, at a

rate more than 2x that of boys) (Rider et al. 2018 at 4).

        D.      Three competing conceptual models of gender dysphoria and transgender
                identity

        34.     Discussions about appropriate responses by mental health professionals (“MHPs”)

to actual or sub-threshold gender dysphoria are complicated by the fact that various speakers and

advocates (or a single speaker at different times) view transgenderism through at least three very

different paradigms, often without being aware of, or at least without acknowledging, the

distinctions.

        35.     Gender dysphoria is conceptualized and described by some professionals and

laypersons as though it were a serious, physical medical illness that causes suffering,

comparable to diseases that are curable before it spreads, such as melanoma or sepsis. Within

this paradigm, whatever is causing distress associated with gender dysphoria—whether

secondary sex characteristics such as facial hair, nose and jaw shape, presence or absence of

breasts, or the primary anatomical sex organs of testes, ovaries, penis, or vagina—should be

removed to alleviate the illness. The promise of these interventions is the cure of the gender

dysphoria.




                                                - 14 -
                                                                                   Armistead App. 0295



       36.     Dr. Adkins appears to endorse this perspective, asserting that gender dysphoria is

a “medical condition.” (Adkins at 4.) It should be noted, however, that gender dysphoria is a

psychiatric, not a medical, diagnosis. Since its inception in DSM-III in 1983, it has always been

specified in the psychiatric DSM manuals and has not been specified in medical diagnostic

manuals. Notably, gender dysphoria is the only psychiatric condition to be treated by surgery,

even though no endocrine or surgical intervention package corrects any identified biological

abnormality. (Levine 2016 at 240.)

       37.     Gender dysphoria is alternatively conceptualized in developmental terms, as an

adaptation to a psychological problem that may have been first manifested as a failure to

establish a comfortable conventional sense of self in early childhood. This paradigm starts from

the premise that all human lives are influenced by past processes and events. Trans lives are not

exceptions to this axiom. (Levine 2016 at 238.) MHPs who think of gender dysphoria through

this paradigm may work both to identify and address causes of the basic problem of the deeply

uncomfortable self or a sense of self impaired by later adversity or abuse. The purpose is to

ameliorate suffering when the underlying problem cannot be solved. MHPs first work with the

patient and (ideally) family to learn about the events and processes that may have led to the trans

person repudiating the gender associated with his sex. The developmental paradigm is mindful of

temperamental, parental bonding, psychological, sexual, and physical trauma influences, and the

fact that young children work out their psychological issues through fantasy and play and

adolescents work out their issues by adopting various interests and identity labels.

       38.     There is evidence among adolescents that peer social influences through “friend

groups” (Littman 2018) or through the internet can increase the incidence of gender dysphoria or

claims of transgender identity. Responsible MHPs will want to probe these potential influences




                                               - 15 -
                                                                                     Armistead App. 0296



to better understand what is truly deeply tied to the psychology of the patient, and what may

instead be being “tried on” by the youth as part of the adolescent process of self-exploration and

self-definition.

        39.        In addition, the developmental paradigm recognizes that, with the important

exception of genetic sex, essentially all aspects of an individual’s identity evolve—often

markedly—across the individual’s lifetime. This includes gender. Some advocates assert that a

transgender identity is biologically caused, fixed from early life, and eternally present in an

unchanging manner. As I review later, however, this assertion is not supported by science. 1

        40.        The third paradigm through which gender dysphoria is alternatively

conceptualized is from a sexual minority rights perspective. Under this paradigm, any response

other than medical and societal affirmation and implementation of a patient’s claim to “be” the

opposite gender is a violation of the individual’s civil right to self-expression. Any effort to ask

“why” questions about the patient’s condition, or to address underlying causes, is viewed as a

violation of autonomy and civil rights. In the last few years, this paradigm has been successful in

influencing public policy and the education of pediatricians, endocrinologists, and many mental

health professionals. Obviously, however, this is not a medical or psychiatric perspective.

Unfortunately, it appears to be the most powerful perspective that exists in the public, non-

scientific debate.

        E.         Four competing models of therapy

        41.        Few would disagree that the human psyche is complex. Few would disagree that

children’s and adolescents’ developmental pathways typically have surprising twists and turns.

The complexity and unpredictability of childhood and adolescent development equally applies to


        1
         Even the advocacy organization The Human Rights Campaign asserts that a person can
have “a fluid or unfixed gender identity.” https://www.hrc.org/resources/glossary-of-terms.


                                                 - 16 -
                                                                                    Armistead App. 0297



trans-identifying youth. Because of past difficulties of running placebo-controlled clinical trials

in the transgender treatment arena, substantial disagreements among professionals about the

causes of trans identities and their ideal treatments exist. These current disagreements might have

been minimized if trans treated persons were carefully followed up to determine long term

outcomes. They have not been. When we add to this to the very different current paradigms for

understanding transgender phenomena, it is not scientifically surprising that disagreements are

sharply drawn. It is with this in mind that I summarize below the leading approaches, and offer

certain observations and opinions concerning them.

               (1)     The “watchful waiting” therapy model

       42.     In Section V.A below I review the uniform finding of eleven follow-up studies

that the large majority of children who present with gender dysphoria will desist from desiring a

transgender identity by adulthood if left untreated by social transition approaches.

       43.     When a pre-adolescent child presents with gender dysphoria, a “watchful waiting”

approach seeks to allow for the fluid nature of gender identity in children to naturally evolve—

that is, take its course from forces within and surrounding the child. Watchful waiting has two

versions:

               a. Treating any other psychological co-morbidities—that is, other mental

       illnesses as defined by DSM-5 (separation anxiety disorder, attention deficit hyperactivity

       disorder, autism spectrum disorder, obsessive compulsive disorder, etc), or subthreshold

       for diagnosis but behavioral problems that the child may exhibit (school avoidance,

       bedwetting, inability to make friends, aggression/defiance) without a focus on gender

       (model #1); and

               b. No treatment at all for anything but a regular follow-up appointment. This

       might be labeled a “hands off” approach (model #2).


                                               - 17 -
                                                                                    Armistead App. 0298



               (2)     The psychotherapy model: Alleviate distress by identifying and
                       addressing causes (model #3)

       44.     One of the foundational principles of psychotherapy has long been to work with a

patient to identify the causes of observed psychological distress and then to address those causes

as a means of alleviating the distress. The National Institute of Mental Health has promulgated

the idea that 75% of adult psychopathology has its origins in childhood experience.

       45.     Many experienced practitioners in the field of gender dysphoria, including myself,

have believed that it makes sense to employ these long-standing tools of psychotherapy for

patients suffering gender dysphoria, asking the question as to what factors in the patient’s life are

the determinants of the patient’s repudiation of his or her natal sex. (Levine 2017 at 8; Levine

2021.) I and others have reported success in alleviating distress in this way for at least some

patients, whether the patient’s sense of discomfort or incongruence with his or her natal sex

entirely disappeared or not. Relieving accompanying psychological co-morbidities leaves the

patient freer to consider the pros and cons of transition as he or she matures.

       46.     Among other things, the psychotherapist who is applying traditional methods of

psychotherapy may help—for example—the male patient appreciate the wide range of masculine

emotional and behavioral patterns as he grows older. He may discuss with his patient, for

example, that one does not have to become a “woman” in order to be kind, compassionate,

caring, noncompetitive, to love the arts, and to be devoted to others’ feelings and needs. (Levine

2017 at 7.) Many biologically male trans individuals, from childhood to older ages, speak of their

perceptions of femaleness as enabling them to discuss their feelings openly, whereas they

perceive boys and men to be constrained from emotional expression within the family and larger

culture, and to be aggressive. Men, of course, can be emotionally expressive, just as they can




                                               - 18 -
                                                                                    Armistead App. 0299



wear pink. Converse examples can be given for girls and women. These types of ideas regularly

arise during psychotherapies.

       47.     As I note above, many gender-nonconforming children and adolescents in recent

years derive from minority and vulnerable groups who have reasons to feel isolated and have an

uncomfortable sense of self. A trans identity may be a hopeful attempt to redefine the self in a

manner that increases their comfort and decreases their anxiety. The clinician who uses

traditional methods of psychotherapy may not focus on their gender identity, but instead work to

help them to address the actual sources of their discomfort. Success in this effort may remove or

reduce the desire for a redefined identity. This often involves a focus on disruptions in their

attachment to parents in vulnerable children, for instance, those in the foster care system.

       48.     Because “watchful waiting” can include treatment of accompanying

psychological co-morbidities, and the psychotherapist who hopes to relieve gender dysphoria

may focus on potentially causal sources of psychological distress rather than on the gender

dysphoria itself, there is no sharp line between “watchful waiting” and the psychotherapy model

in the case of prepubescent children.

       49.     To my knowledge, there is no evidence beyond anecdotal reports that

psychotherapy can enable a return to male identification for genetically male boys, adolescents,

and men, or return to female identification for genetically female girls, adolescents, and women.

On the other hand, anecdotal evidence of such outcomes does exist; I and other clinicians have

witnessed reinvestment in the patient’s biological sex in some individual patients who are

undergoing psychotherapy. The Internet contains many such reports, and I have published a

paper on a patient who sought my therapeutic assistance to reclaim his male gender identity after

30 years living as a woman and is in fact living as a man today. (Levine 2019.) I have seen




                                               - 19 -
                                                                                      Armistead App. 0300



children desist even before puberty in response to thoughtful parental interactions and a few

meetings of the child with a therapist. There are now a series of articles and at least one major

book on the psychological treatment of adolescents. (D’Angelo et al. 2021 at 7-16; Evans &

Evans 2021.)

               (3)     The affirmation therapy model (model #4)

       50.     While it is widely agreed that the therapist should not directly challenge a claimed

transgender identity in a child, some advocates and practitioners go much further, and promote

and recommend that any expression of transgender identity should be immediately accepted as

decisive, and thoroughly affirmed by means of consistent use of clothing, toys, pronouns, etc.,

associated with transgender identity. They argue that the child should be comprehensively re-

socialized in grade school in their aspired-to gender. As I understand it, this is asserted as a

reason why male students who assert a female gender identity must be permitted to compete in

girls’ or women’s athletic events. These advocates treat any question about the causes of the

child’s transgender identification as inappropriate. They may not recognize the child’s

ambivalence. They assume that observed psychological co-morbidities in the children or their

families are unrelated or will get better with transition, and need not be addressed by the MHP

who is providing supportive guidance concerning the child’s gender identity.

       51.     Some advocates, indeed, assert that unquestioning affirmation of any claim of

transgender identity in children is essential, and that the child will otherwise face a high risk of

suicide or severe psychological damage. Dr. Adkins appears to follow this line, asserting that

“My clinical experience . . . has been that [patients] suffer and experience worse health

outcomes” when they are not permitted to enter all spaces and participate in all activities in a

manner “consistent with gender identity.” (Adkins at 9.) This claim is simply not supported by

the clinical data we have available to us. Indeed, available long-term data contradicts Dr.


                                                - 20 -
                                                                                     Armistead App. 0301



Adkins’ claim. I address physical and mental health outcomes in Section VII below, and suicide

in Section VIII below.

       52.      Dr. Adkins also asserts that fully supported social transition is the “only

treatment for prepubertal children.” (Adkins at 6.) As I review in the next section, this is not

correct. This may be the only treatment that Dr. Adkins considers, but my own conversations and

contacts lead me to believe that Dr. James Cantor was correct when he wrote that “almost all

clinics and professional associations in the world” do not use “gender affirmation” for

prepubescent children and instead “delay any transitions after the onset of puberty.” (Cantor

2019 at 1.)

       53.     I do not know what proportion of practitioners are using which model. However,

in my opinion, in the case of young children, prompt and thorough affirmation of a transgender

identity disregards the principles of child development and family dynamics and is not supported

by science. Instead of science, this approach is currently being reinforced by an echo-chamber of

approval from other like-minded child-oriented professionals who do not sufficiently consider

the known negative medical and psychiatric outcomes of trans adults. Rather than recommend

social transition in grade school, the MHP must focus attention on the child’s underlying internal

and familial issues. Ongoing relationships between the MHP and the parents, and the MHP and

the child, are vital to help the parents, child, other family members, and the MHP to understand

over time the issues that need to be dealt with by each of them.

       54.     Likewise, since the child’s sense of gender develops in interaction with his

parents and their own gender roles and relationships, the responsible MHP will almost certainly

need to delve into family and marital dynamics.




                                               - 21 -
                                                                                       Armistead App. 0302



III.    THERE IS NO CONSENSUS OR AGREED “STANDARD OF CARE”
        CONCERNING THERAPEUTIC APPROACHES TO CHILD OR ADOLESCENT
        GENDER DYSPHORIA.

        55.     Dr. Adkins states that “[t]he only treatment to avoid [ ] serious harm is to

recognize the gender identity of patients with gender dysphoria and follow appropriate treatment

protocols to affirm gender identity and alleviate distress,” and appears to believe that transition

and affirmation of children who suffer from gender dysphoria is a generally accepted “standard

of care.” (Adkins at 5.) It is not.

        56.     As I review in separate sections later, there is far too little firm clinical evidence

in this field to permit any evidence-based standard of care. Given the lack of scientific evidence,

it is neither surprising nor improper that—as I detailed in Section II—there is a diversity of

views among practitioners as to as to the best therapeutic response for the child, adolescent, or

young adult who suffers from gender dysphoria. Dr. Adkins is unwittingly confusing therapeutic

precedent among those who agree with her views, armed with ideas promulgated by WPATH,

with careful scientific documentation of her concepts. She presumes that her views have been

scientifically established even though much has been published highlighting the lack of

supportive definitive evidence.

        57.     Reviewing the state of opinion and practice in 2021, the Royal Australian and

New Zealand College of Psychiatrists observed that “There are polarised views and mixed

evidence regarding treatment options for people presenting with gender identity concerns,

especially children and young people.” (RANZCP, 2021.) Similarly, a few years earlier

prominent Dutch researchers noted: “[T]here is currently no general consensus about the best

approach to dealing with the (uncertain) future development of children with GD, and making

decisions that may influence the function and/or development of the child — such as social




                                                 - 22 -
                                                                                     Armistead App. 0303



transition.” (Ristori & Steensma 2016 at 18.) 2 In this Section, I comment on some of the more

important areas of disagreement within the field.

       A.      Experts and organizations disagree as to whether “distress” is a necessary
               element for diagnoses that justifies treatment for gender identity issues.

       58.     As outlined in Section II.B above, “clinically significant distress” is one of the

criteria used in DSM-5 to identify gender dysphoria. This indicates a heightened level of distress

that rises beyond a threshold level of social awkwardness or discomfort with the changing body.

It is known that many trans-identified youth with incongruence between their sexed bodies and

their gender identity choose not to take hormones; their incongruence is quite tolerable as they

further clarify their sexual identity elements. This population raises the questions of what distress

is being measured when DSM-5 criteria are met and what else might be done about it.

       59.     I note that there is no “clinically significant distress” requirement in World Health

Organization’s International Classification of Diseases (ICD-11) criteria for gender

incongruence, which rather indicates “a marked and persistent incongruence between an

individual´s experienced gender and the assigned sex.” (World Health Organization 2019.)

       60.     Therefore, even between these two committee-based authorities, there is a

significant disagreement as to what constitutes a gender condition justifying life-changing

interventions. To my knowledge, some American gender clinics and practitioners are essentially

operating under the ICD-11 criteria rather than the APA’s DSM-5 criteria, prescribing transition

for children, hormonal interventions for slightly older children, and different hormones for

adolescents who assert a desire for a transgender identity whether or not they are exhibiting

“clinically significant distress.” Others adhere to the DSM-5 diagnostic standard.



       2
        See also Zucker 2020 which questions the merit of social transition as a first-line
treatment.


                                               - 23 -
                                                                                     Armistead App. 0304



       61.     I will add that even from within one “school of thought,” such as embodied by Dr.

Adkins, it is not responsible to make a single, categorical statement about the proper treatment of

children or adolescents presenting with gender dysphoria or other gender-related issues. There is

no single pathway to the development of a trans identity and no reasonably uniform short- or

long-term outcome of medically treating it. As individuals grow physically, mature

psychologically, and experience or fail to experience satisfying romantic relationships, their life

course depends on their differing psychological, social, familial, and life experiences. There

should be no trust in assertions that trans identified youth must be treated in a particular manner

to avoid harm for two reasons: first, there is no systematic data on the nature of, and the rate of

harms of either affirmative treatment, no treatment, or psychological only treatment. Second, as

in other youthful psychiatric and other challenges, outcomes vary.

       B.      Opinions and practices vary widely about the utilization of social transition
               for children and adolescents.

       62.     Dr. Adkins notes that she is a member of the World Professional Association for

Transgender Health (WPATH), invokes a guidance document that that organization has chosen

to publish under the title of “standards of care,” and asserts that the WPATH Standards of Care

are “widely accepted.” (Adkins at 3, 5.) Below, I will provide some explanation of WPATH and

its “Standards of Care,” which are not the product of a strictly scientific organization, and are by

no means accepted by all or even most practitioners as setting out best practices.

       63.     Here, however, I will note that WPATH does not take a position concerning

whether or when social transition may be appropriate for pre-pubertal children. Instead, the

WPATH “Standards of Care” states that the question of social transition for children is a

“controversial issue” and calls for mental health professionals to support families in what it

describes as “difficult decisions” concerning social transition.



                                                - 24 -
                                                                                     Armistead App. 0305



       64.     Dr. Erica Anderson is a prominent practitioner in this area who identifies as a

transgender woman, who was the first transgender president of USPATH, and who is a former

board member of WPATH. Dr. Anderson recently resigned from those organizations and has

condemned automatic approval of transition upon the request of a child or adolescent, noting that

“adolescents . . . are notoriously susceptible to peer influence,” that transition “doesn’t cure

depression, doesn’t cure anxiety disorders, doesn’t cure autism-spectrum disorder, doesn’t cure

ADHD,” and instead that “a comprehensive biopsychosocial evaluation” should proceed

allowing a child to transition. (Davis 2022.) And as I have explained previously, my own view

based on 50 years of experience in this area favors strong caution before approving life-altering

interventions such as social transition, puberty blockers, or cross-sex hormones.

       C.      The WPATH “Standards of Care” is not an impartial or evidence-based
               document.

       65.     Because WPATH is frequently cited by advocates of social, hormonal, and

surgical transition, I provide some context concerning that private organization and its

“Standards of Care.”

       66.     I was a member of the Harry Benjamin International Gender Dysphoria

Association from 1974 until 2001. From 1997 through 1998, I served as the Chairman of the

eight-person International Standards of Care Committee that issued the fifth version of the

Standards of Care. I resigned my membership in 2002 due to my regretful conclusion that the

organization and its recommendations had become dominated by politics and ideology, rather

than by scientific process, as it was years earlier. In approximately 2007, the Harry Benjamin

International Gender Dysphoria Association changed its name to the World Professional

Association for Transgender Health.




                                                - 25 -
                                                                                     Armistead App. 0306



       67.      WPATH is a voluntary membership organization. Since at least 2002, attendance

at its biennial meetings has been open to trans individuals who are not licensed professionals.

While this ensures taking patients’ needs into consideration, it limits the ability for honest and

scientific debate, and means that WPATH can no longer be considered a purely professional

organization.

       68.      WPATH takes a decided view on issues as to which there is a wide range of

opinion among professionals. WPATH explicitly views itself as not merely a scientific

organization, but also as an advocacy organization. (Levine 2016 at 240.) WPATH is supportive

to those who want sex reassignment surgery (“SRS”). Skepticism as to the benefits of SRS to

patients, and strong alternate views, are not well tolerated in discussions within the organization

or their educational outreach programs. Such views have been known to be shouted down and

effectively silenced by the large numbers of nonprofessional adults who attend the organization’s

biennial meetings. Two groups of individuals that I regularly work with have attended recent and

separate WPATH continuing education sessions. There, questions about alternative approaches

were quickly dismissed with “There are none. This is how it is done.” Such a response does not

accurately reflect what is known, what is unknown, and the diversity of clinical approaches in

this complex field.

       69.      The Standards of Care (“SOC”) document is the product of an effort to be

balanced, but it is not politically neutral. WPATH aspires to be both a scientific organization and

an advocacy group for the transgendered. These aspirations sometimes conflict. The limitations

of the Standards of Care, however, are not primarily political. They are caused by the lack of

rigorous research in the field, which allows room for passionate convictions on how to care for

the transgendered. And, of course, once individuals have socially, medically, and surgically




                                               - 26 -
                                                                                    Armistead App. 0307



transitioned, WPATH members and the trans people themselves at the meetings are committed to

supporting others in their transitions. Not only have some trans participants been distrustful or

hostile to those who question the wisdom of these interventions, their presence makes it difficult

for professionals to raise their concerns. Vocal trans rights advocates have a worrisome track

record of attacking those who have alternative views. (Dreger 2015.)

       70.     In recent years, WPATH has fully adopted some mix of the medical and civil

rights paradigms. It has downgraded the role of counseling or psychotherapy as a requirement for

these life-changing processes. WPATH no longer considers preoperative psychotherapy to be a

requirement. It is important to WPATH that the person has gender dysphoria; the pathway to the

development of this state is not. (Levine 2016 at 240.) The trans person is assumed to have

thoughtfully considered his or her options before seeking hormones, for instance.

       71.     Most psychiatrists and psychologists who treat patients suffering sufficiently

severe distress from gender dysphoria to seek inpatient psychiatric care are not members of

WPATH. Many psychiatrists, psychologists, and pediatricians who treat some patients suffering

gender dysphoria on an outpatient basis are not members of WPATH. WPATH represents a self-

selected subset of the profession along with its many non-professional members; it does not

capture the clinical experiences of others. WPATH claims to speak for the medical profession;

however, it does not welcome skepticism and therefore, deviates from the philosophical core of

medical science. There are pediatricians, psychiatrists, endocrinologists, and surgeons who

object strongly, on professional grounds, to transitioning children and providing affirmation in a

transgender identity as the first treatment option. WPATH does not speak for all of the medical

profession.




                                               - 27 -
                                                                                    Armistead App. 0308



       72.     In 2010 the WPATH Board of Directors issued a statement advocating that

incongruence between sex and felt gender identity should cease to be identified in the DSM as a

pathology. 3 This position was debated but not adopted by the (much larger) American

Psychiatric Association, which maintained the definitions and diagnoses of gender dysphoria as a

pathology in the DSM-5 manual issued in 2013.

       73.     In my experience some current members of WPATH have little ongoing

experience with the mentally ill, and many trans care facilities are staffed by MHPs who are not

deeply experienced with recognizing and treating frequently associated psychiatric co-

morbidities. Further, being a mental health professional, per se, does not guarantee experience

and skill in recognizing and effectively intervening in serious or subtle patterns. Because the 7th

version of the WPATH SOC deleted the requirement for therapy, trans care facilities that

consider these Standards sufficient are permitting patients to be counseled to transition by means

of social presentation, hormones, and surgery by individuals with masters rather than medical

degrees.

       D.      Opinions and practices differ widely with respect to the proper role of
               psychological counseling before, as part of, or after a diagnosis of gender
               dysphoria.

       74.     In Version 7 of its Standards of Care, released in 2012, WPATH downgraded the

role of counseling or psychotherapy, and the organization no longer sees psychotherapy without

transition and hormonal interventions as a potential path to eliminate gender dysphoria by

enabling a patient to return to or achieve comfort with the gender identity aligned with his or her

biology.




3
  WPATH De-Psychopathologisation Statement (May 26, 2010), available at wpath.org/policies
(last accessed January 21, 2020).


                                               - 28 -
                                                                                    Armistead App. 0309



       75.     Around the world, many prominent voices and practitioners disagree. For

example, renowned gender therapists Dr. Laura Edwards-Leeper and Dr. Erica Anderson (who,

as mentioned above, identifies as a transgender woman) have recently spoken out arguing that

children and adolescents are being subjected to puberty blockers and hormonal intervention far

too quickly, when careful and extended psychotherapy and investigation for potential causes of

feelings of dysphoria (such as prior sexual abuse) should be the first port of call and might

resolve the dysphoria. (Edwards-Leeper & Anderson 2021; Davis 2022.)

       76.     In a recently published position statement on gender dysphoria, the Royal

Australian and New Zealand College of Psychiatrists emphasized the critical nature of mental

health treatment for gender dysphoric minors, stressing “the importance of the psychiatrist’s role

to undertake thorough assessment and evidence-based treatment ideally as part of a

multidisciplinary team, especially highlighting co-existing issues which may need addressing

and treating.” The Royal College also emphasized the importance of assessing the

“psychological state and context in which Gender Dysphoria has arisen,” before any treatment

decisions are made. (RANZCP, 2021.)

       77.     Dr. Paul Hruz of the University of Washington St. Louis Medical School has

noted, “The WPATH has rejected psychological counseling as a viable means to address sex–

gender discordance with the claim that this approach has been proven to be unsuccessful and is

harmful (Coleman et al. 2012). Yet the evidence cited to support this assertion, mostly from case

reports published over forty years ago, includes data showing patients who benefited from this

approach (Cohen-Kettenis and Kuiper 1984).” (Hruz 2020.)




                                               - 29 -
                                                                                    Armistead App. 0310



       E.      Opinions and practices vary widely with respect to the administration of
               puberty blockers and cross-sex hormones.

       78.     There is likewise no broadly accepted standard of care with respect to use of

puberty blockers. The WPATH Standards of Care explicitly recognize the lack of any consensus

on this important point, stating: “Among adolescents who are referred to gender identity clinics,

the number considered eligible for early medical treatment—starting with GnRH analogues to

suppress puberty in the first Tanner stages—differs among countries and centers. Not all clinics

offer puberty suppression. . . The percentages of treated adolescents are likely influenced by the

organization of health care, insurance aspects, cultural differences, opinions of health

professionals, and diagnostic procedures offered in different settings.”

       79.     The use of puberty blockers as a therapeutic intervention for gender dysphoria is

often justified by reference to the seminal work of a respected Dutch research team that

developed a protocol that administered puberty blockers to children no younger than age 14.

However, it is well known that many clinics in North America now administer puberty blockers

to children at much younger ages than the “Dutch Protocol” allows. (Zucker 2019.) The Dutch

protocol only treated children with these characteristics: a stable cross gender identity from early

childhood; dysphoria that worsened with the onset of puberty; were otherwise psychologically

healthy; had healthy families; the patient and family agreed to individual and family counselling

throughout the protocol. But the experience and results of the Dutch model is being used as a

justification for giving puberty blockers to children who differ considerably from these criteria.

Its authors have also recently noted this fact. (de Vries 2020.)

       80.     However, Zucker notes that “it is well known” that clinicians are administering

cross-sex hormones, and approving surgery, at ages lower than the minimum age thresholds set

by that “Dutch Protocol.” (Zucker 2019 at 5.)



                                                - 30 -
                                                                                   Armistead App. 0311



         81.   Similarly, at least one prominent clinic—that of Dr. Safer at Columbia’s Mt. Sinai

Medical Center—is quite openly admitting patients for even surgical transition who are not

eligible under the criteria set out in WPATH’s Standards of Care. A recent study published by

Dr. Safer and colleagues revealed that of a sample of 139 individuals, 45% were eligible for

surgery “immediately” under the center’s own criteria, while only 15% were eligible under

WPATH’s criteria. That is, three times as many patients immediately qualified for surgery under

the center’s loose standards than would have qualified under WPATH criteria. (Lichenstein et al.

2020.)

         82.   Internationally, there has been a recent marked trend against use of puberty

blockers, as a result of extensive evidence reviews by national medical bodies, which I discuss

later. The main gender clinic in Sweden has declared that it will no longer authorize use of

puberty blockers for minors below the age of 16. Finland has similarly reversed its course,

issuing new guidelines that allow puberty blockers only on a case-by-case basis after an

extensive psychiatric assessment. A landmark legal challenge against the UK’s National Health

Service in 2020 by “detransitioner” Keira Bell led to the suspension of the use of puberty

blockers and new procedures to ensure better psychological care, as well as prompting a

thorough evidence review by the National Institute for Health and Care Excellence (NICE

2021a; NICE 2021b). 4

         83.   In this country, some voices in the field are now publicly arguing that no

comprehensive mental health assessment at all should be required before putting teens on

puberty blockers or cross-sex hormones (Ghorayshi 2022), while Dr. Anderson and Dr.



         4
         The decision requiring court approval for administration of hormones to any person
younger than age 16 was later reversed on procedural grounds by the Court of Appeal and is
currently under consideration by the UK Supreme Court.


                                              - 31 -
                                                                                    Armistead App. 0312



Edwards-Leeper argue that U.S. practitioners are already moving too quickly to hormonal

interventions. (Edwards-Leeper & Anderson 2021; Davis 2022.) It is evident that opinions and

practices are all over the map.

       84.     It is true that a committee of the American Academy of Pediatricians has issued a

statement supporting administration of puberty blockers to children diagnosed with gender

dysphoria. It is also true that no other American medical association has endorsed the use of

puberty blockers, and that pediatricians are neither endocrinologists nor psychiatrists. Dr. James

Cantor published a peer-reviewed paper detailing that the Academy’s statement is not evidence-

based and misdescribed the few scientific sources it did reference. (Cantor 2019.) It has been

well noted in the field that the AAP has declined invitations to publish any rebuttal to Dr.

Cantor’s analysis. But this is all part of ongoing debate, simply highlighting the absence of any

generally agreed standard of care.

       85.     Dr. Adkins asserts that the Society’s 2017 Practice Guidelines on Endocrine

Treatment of Gender-Dysphoric/Gender-Incongruent Persons (Hembree et al. 2017) amount to

“widely accepted standards of care” that were “developed through rigorous scientific processes.”

(Adkins at 2, 5 and 6.)

       86.     Contrary to Dr. Adkins’ assertion, the 2017 Endocrine Society Guidelines

themselves expressly state that they are not “standards of care.” The document states: “The

guidelines cannot guarantee any specific outcome, nor do they establish a standard of care. The

guidelines are not intended to dictate the treatment of a particular patient.” (Hembree et al. 2017

at 3895 (emphasis added).) Nor do the Guidelines claim to be the result of a “rigorous scientific

process.” Rather, they expressly advise that their recommendations concerning use of puberty

blockers are based only on “low quality” evidence.




                                               - 32 -
                                                                                     Armistead App. 0313



       87.     Dr. Adkins notes that the 2017 Guidelines assert that: “patients with gender

dysphoria often must be treated with ‘a safe and effective hormone regimen. . .’” (Adkins at 6.)

Notably, however, the Guidelines do not make any firm statement that use of puberty blockers

for this purpose is safe, and the Guidelines go no further than “suggest[ing]” use of puberty

blockers—language the Guidelines warn represents only a “weak recommendation.” (Hembree

2017 at 3872.) Several authors have pointed out that not only were the Endocrine Society

suggestions regarding use of puberty blockers reached on the basis of “low quality” evidence,

but its not-quite claims of ‘safety’ and ‘efficacy’ are starkly contradicted by several in-depth

evidence reviews. (Laidlaw et al., 2019; Malone et al. 2021.) I detail these contradictory findings

in more detail in Section VII below.

       88.     While there is too little meaningful clinical data and no consensus concerning best

practices or a “standard of care” this area, there are long-standing ethical principles that do or

should bind all medical and mental health professionals as they work with, counsel, and

prescribe for these individuals.

       89.     One of the oldest and most fundamental principles guiding medical and

psychological care—part of the Hippocratic Oath—is that the physician must “do no harm.” This

states an ethical responsibility that cannot be delegated to the patient. Physicians themselves

must weigh the risks of treatment against the harm of not treating. If the risks of treatment

outweigh the benefits, principles of medical ethics prohibit the treatment.

IV.    TRANSGENDER IDENTITY IS NOT BIOLOGICALLY BASED.

       90.     Dr. Safer asserts that “Although the detailed mechanisms are unknown, there is a

medical consensus that there is a significant biologic component underlying gender identity” and




                                                - 33 -
                                                                                       Armistead App. 0314



that gender identity is a “largely biological phenomenon.” (Safer at 5, 6.) Many advocates of

affirmative care assert this belief.

        91.     However, it is not true. There is no medical consensus that transgender identity

has any biological basis. Furthermore, there is considerable well-documented evidence that is

inconsistent with the hypothesis of a biological basis for gender identity—at least in the large

majority of currently-presenting patients.

        A.      No theory of biological basis has been scientifically validated.

        92.     At the outset, the attempt to identify a single “typically . . . biological” cause for

psychiatric conditions (including gender dysphoria) has been strongly criticized as “out of step

with the rest of medicine” and as a lingering “ghost” of an understanding of the nature of

psychiatric conditions that is now broadly disproven. (Kendler 2019 at 1088-1089.) Gender

dysphoria is defined and diagnosed only as a psychiatric, not a medical, condition.

        93.     Nonetheless, in a published article, Dr. Safer has referred to data that he asserts

supports the existence of “a fixed, biologic basis for gender identity.” (Saraswat et al. 2015 at

199.) But on the contrary, this article itself states that studies attempting to find an association

between genetics and transgender identification “have been contradictory,” and that “no

statistically significant association between particular genes [and transgender identity] has been

described.” (Saraswat 2015 at 202.)

        94.     Similarly, while some have pointed to very small brain scan studies as evidence of

a biological basis, no studies of brain structure of individuals identifying as transgender have

found any statistically significant correlation between any distinct structure or pattern and

transgender identification, after controlling for sexual orientation and exposure to exogenous

hormones. (Sarawat et al. 2015 at 202; Frigerio et al. 2021.)




                                                 - 34 -
                                                                                      Armistead App. 0315



       95.     Indeed, the Endocrine Society 2017 Guidelines recognizes: “With current

knowledge, we cannot predict the psychosexual outcome for any specific child” and “there are

currently no criteria to identify the GD/gender-incongruent children to whom this applies. At the

present time, clinical experience suggests that persistence of GD/gender incongruence can only

be reliably assessed after the first signs of puberty.” (Hembree et al. 2017 at 3876.)

       96.     In short, no biological test or measurement has been identified that provides any

ability to predict which children will exhibit, and which children will persist in, gender dysphoria

or a transgender identification. Unless and until such a test is identified, the theory of a biological

basis is a hypothesis still searching for support. A hypothesis is not a fact, and responsible

scientists will not confuse hypothesis with fact.

       B.      Large changes across time and geography in the epidemiology of transgender
               identification are inconsistent with the hypothesis of a biological basis for
               transgender identity.

       97.     In fact, there is substantial evidence that the “biological basis” theory is incorrect,

at least with respect to the large majority of patients presenting with gender dysphoria today.

       98.     Vast changes in incidence: Historically, there were very low reported rates of

gender dysphoria or transgender identification. In 2013, the DSM-5 estimated the incidence of

gender dysphoria in adults to be at 2-14 per 100,000, or between 0.002% and 0.014%. (APA

2013 at 454.) Recently however, these numbers have increased dramatically, particularly in

adolescent populations. Recent surveys estimate that between 2-9% of high school students self-

identify as transgender or “gender non-conforming.” with a significantly large increase in

adolescents claiming “nonbinary” gender identity as well. (Johns et al. 2019; Kidd et al. 2021.)

Consistent with these surveys, gender clinics around the world have seen numbers of referrals

increase rapidly in the last decade, with the Tavistock clinic in London seeing a 30-fold increase

in the last decade (GIDS 2019), and similar increases being observed in Finland (Kaltiala-Heino


                                                - 35 -
                                                                                    Armistead App. 0316



et al. 2018), the Netherlands (de Vries 2020), and Canada (Zucker 2019). The rapid change in the

number of individuals experiencing gender dysphoria points to social and cultural, not biological,

causes.

          99.    Large change in sex ratio: In recent years there has been a marked shift in the

sex ratio of patients presenting with gender dysphoria or transgender identification. The

Tavistock clinic in London saw a ratio of 4 biological females(F):5 biological males(M) shift to

essentially 11F:4M in a decade. (GIDS 2019.) One researcher summarizing multiple sources

documented a swing of 1F:2M or 1F:1.4M through 2005 to 2F:1M generally (but as high as

7F:1M) in more recent samples. (Zucker 2019 at 2.) This phenomenon has been noted by Dr.

Erica Anderson, who said: “The data are very clear that adolescent girls are coming to gender

clinics in greater proportion than adolescent boys. And this is a change in the last couple of

years. And it’s an open question: What do we make of that? We don’t really know what’s going

on. And we should be concerned about it.” (Davis 2022.) Again, this large and rapid change in

who is experiencing gender dysphoria points to social, not biological, causes.

          100.   Clustering: Dr. Littman’s recent study documented “clustering” of new

presentations of gender dysphoria among natal females in specific schools and among specific

friend groups. This again points strongly to social causes for gender dysphoria at least among the

adolescent female population. (Littman 2018.)

          101.   Desistance: As I discuss later, there are very high levels of desistance among

children diagnosed with gender dysphoria, as well as increasing (or at least increasingly vocal)

numbers of individuals who first asserted a transgender identity during or after adolescence,

underwent substantial medical interventions to “affirm” that trans-identity, and then “desisted”




                                                - 36 -
                                                                                     Armistead App. 0317



and reverted to a gender identity congruent with their sex. (See Section V.B below.) These

narratives, too, point to a social and/or psychological cause, rather than a biological one.

       102.    “Fluid” gender identification: Advocates and some practitioners assert that

gender identity is not binary, but can span an almost endless range of gender identity self-labels,

which a given individual may try on, inhabit, and often discard. (A recent article identifies 72. 5) I

have not heard any theory offered for how there is or could be a biological basis for gender

identity as now expansively defined.

       103.    I frequently read attempts to explain away the points in this Section IV. They

include: these problems always existed, but children are now learning that there are effective

treatments for their dilemma and are simply seeking them. And; children have hidden their trans

identity throughout childhood and now that trans people are recognized and accepted, they are

presenting themselves. And; now pediatricians realize that girls can have gender dysphoria and

are referring them to gender clinics. But these are all mere hypotheses unsupported by concrete

evidence. One set of unproven hypotheses cannot provide support for the unproven hypothesis of

biological basis. And none of these hypotheses could even potentially explain the failure of

science thus far to identify any predictive biological marker of transgender identification.

       104.    Therapies affect gender identity outcomes: Finally, the evidence shows that

therapeutic choices can have a powerful effect on whether and how gender identity does change,

or gender dysphoria desists. Social transition of juveniles, for instance, strongly influences

gender identity outcomes to such an extent that it has been described a “unique predictor of




5
 Allarakha, What Are the 72 Other Genders?, MedicineNet, available at:
https://www.medicinenet.com/what_are_the_72_other_genders/article.htm


                                                - 37 -
                                                                                    Armistead App. 0318



persistence.” (See Section V.B below.) Again, this observation cuts against the hypothesis of

biological origin.

       C.      Disorders of sexual development (or DSDs) and gender identity are very
               different phenomena, and it is an error to conflate the two.

       105.    Dr. Adkins spends much of her report discussing individuals who suffer from

disorders of sexual development (DSDs), apparently as evidence that sex is not binary or clearly

defined, or as somehow supporting the idea that transgender identification has a biological basis.

(Adkins at 9.) I have extensively detailed that sex is clear, binary, and determined at conception.

(Section II.) Here I explain that gender dysphoria is an entirely different phenomenon than

DSDs—which unlike transgender identity are indeed biological phenomena. It is an error to

conflate the two distinct concepts.

       106.    Every DSD reflects a genetic enzymatic defect with negative anatomic and

physiological consequences. As the Endocrine Society recognized in a 2021 statement: “Given

the complexities of the biology of sexual determination and differentiation, it is not surprising

that there are dozens of examples of variations or errors in these pathways associated with

genetic mutations that are now well known to endocrinologists and geneticists; in medicine,

these situations are generally termed disorders of sexual development (DSD) or differences in

sexual development.” Gender Identity on the other hand is uniformly defined as a subjective

“sense” of being, a feeling or state of mind. (Section II.C.)

       107.    The vast majority of those who experience gender dysphoria or a transgender

identity do not suffer from any DSD, nor from any genetic enzymatic disorder at all. Conversely,

many who suffer from a DSD do not experience a gender identity different from their

chromosomal sex (although some may). In short, those who suffer from gender dysphoria are not

a subset of those who suffer from a DSD, nor are those who suffer from a DSD a subset of those



                                                - 38 -
                                                                                      Armistead App. 0319



who suffer from gender dysphoria. The two are simply different phenomena, one physical, the

other mental, defined only as a psychiatric condition. The issue here is not whether biological

forces play a role in personality development; it is whether there is strong evidence that it is

determinative. Science has come too far to revert to single explanations for gender dysphoria or

any psychiatric diagnosis.

       108.    The importance of this distinction is evident from the scientific literature. For

example, in a recent study of clinical outcomes for gender dysphoric patients, Tavistock Clinic

researchers excluded from their analysis any patients who did not have “normal endocrine

function and karyotype consistent with birth registered sex.” (Carmichael et al. 2021 at 4.) In

other words, the researchers specifically excluded from their study anyone who suffered from

genetic-based DSD, or a DSD comprising any serious defect in hormonal use pathways, in order

to ensure the study was focused only on individuals experiencing the psychological effects of

what we might call “ordinary” gender dysphoria.

       D.      Studies of individuals born with DSDs suggest that there may be a biological
               predisposition towards typical gender identifications, but provide no support
               for a biological basis for transgender identification.

       109.    Studies of individuals born with serious DSDs have been pointed to as evidence

of a biological basis for transgender identification. They provide no such support.

       110.    One well-known study by Meyer-Bahlburg reviewed the case histories of a

number of XY (i.e. biologically male) individuals born with severe DSDs who were surgically

“feminized” in infancy and raised as girls. (Meyer-Bahlburg 2005.) The majority of these

individuals nevertheless later adopted male gender identity—suggesting a strong biological

predisposition towards identification aligned with genetic sex, even in the face of feminized

genitalia from earliest childhood, and parental “affirmation” in a transgender identity. But at the

same time, the fact that some of these genetically male individuals did not later adopt male


                                                - 39 -
                                                                                     Armistead App. 0320



gender identity serves as evidence that medical and social influences can indeed encourage and

sustain transgender identification.

         111.   Importantly, the Meyer-Bahlburg study did not include any individuals who were

assigned a gender identity congruent with their genetic sex who subsequently adopted a

transgender identity. Therefore, the study can provide no evidence of any kind that supports the

hypothesis of a biological basis for transgender identity. A second study in this area (Reiner &

Gearhart 2004) likewise considered exclusively XY subjects, and similarly provides evidence

only for a biological bias towards a gender identity congruent with one’s genetic sex, even in the

face of medical and social “transition” interventions. None of this provides any evidence at all of

a biological basis for transgender identity.

V.       GENDER IDENTITY IS EMPIRICALLY NOT FIXED FOR MANY
         INDIVIDUALS.

         112.   Dr. Safer states that gender identity is “durable and cannot be changed by medical

intervention.” (Safer at 5.) Dr. Adkins likewise states that gender identity “cannot be voluntarily

changed.” (Adkins at 4.) There is extensive evidence that this is not correct. Instead, gender

identity changes over time for many individuals. 6 I summarize their two opinions as: they assert

that a trans identity in a child or adolescent is immutable—unchangeable by medical,

psychotherapeutic, or developmental processes.

         A.     Most children who experience gender dysphoria ultimately “desist” and
                resolve to cisgender identification.

         113.   A distinctive and critical characteristic of juvenile gender dysphoria is that

multiple studies from separate groups and at different times have reported that in the large




6
    See n1 supra.


                                                - 40 -
                                                                                      Armistead App. 0321



majority of patients, absent a substantial intervention such as social transition or puberty

blocking hormone therapy, it does not persist through puberty.

           114.   A recent article reviewed all existing follow-up studies that the author could

identify of children diagnosed with gender dysphoria (11 studies), and reported that “every

follow-up study of GD children, without exception, found the same thing: By puberty, the

majority of GD children ceased to want to transition.” (Cantor 2019 at 1.) Another author

reviewed the existing studies and reported that in “prepubertal boys with gender discordance . . .

the cross gender wishes usually fade over time and do not persist into adulthood, with only 2.2%

to 11.9% continuing to experience gender discordance.” (Adelson et al. 2012 at 963; see also

Cohen-Kettinis 2008 at 1895.) The Endocrine Society recognized this important baseline fact in

its 2017 Guidelines. (Hembree 2017 at 3879.) It should be noted that the reason that the Dutch

Protocol waited until age 14 to initiate puberty blockers was that it was well known that many

children would desist if left free of hormonal intervention until that age.

           115.   Findings of high levels of desistance among children who experience gender

dysphoria or incongruence have been reaffirmed in the face of critiques through thorough

reanalysis of the underlying data. (Zucker 2018.)

           116.   As I explained in detail in Section IV above, it is not yet known how to

distinguish those children who will desist from that small minority whose trans identity will

persist.

           117.   It does appear that prevailing circumstances during particularly formative years

can have a significant impact on the outcome of a juvenile’s gender dysphoria. A 2016 study

reviewing the follow-up literature noted that “the period between 10 and 13 years” was “crucial”

in that “both persisters and desisters stated that the changes in their social environment, the




                                                 - 41 -
                                                                                      Armistead App. 0322



anticipated and actual feminization or masculinization of their bodies, and the first experiences

of falling in love and sexual attraction in this period, contributed to an increase (in the persisters)

or decrease (in the desisters) of their gender related interests, behaviors, and feelings of gender

discomfort.” (Ristori & Steensma 2016 at 16.) As I discuss in Section VI below, there is

considerable evidence that early transition and affirmation causes far more children to persist in a

transgender identity.

       B.      Desistance is increasingly observed among teens and young adults who first
               manifest GD during or after adolescence.

       118.    Desistance within a relatively short period may also be a common outcome for

post-pubertal youths who exhibit recently described “rapid onset gender disorder.” I have

observed an increasingly vocal online community of young women who have reclaimed a female

identity after claiming a male gender identity at some point during their teen years, and young

“detransitioners” (individuals in the process of reidentifying with their birth sex after having

undergone a gender transition) are now receiving increasing attention in both clinical literature

and social media channels. (It is my understanding that March 12, 2022, is scheduled to be

Detransition Awareness Day.)

       119.    Almost all scientific articles on this topic have appeared within the last few years.

Perhaps this historic lack of coverage is not entirely surprising – one academic who undertook an

extensive review of the available scientific literature in 2021 noted that the phenomenon was

“socially controversial” in that it “poses significant professional and bioethical challenges for

those clinicians working in the field of gender dysphoria.” (Expósito Campos 2021 at 270.) This

review reported on multifarious reasons for why individuals were motivated to detransition,

which included coming to “understand[ ] how past trauma, internalized sexism, and other

psychological difficulties influenced the experience of GD.”



                                                - 42 -
                                                                                     Armistead App. 0323



       120.    In 2021, Lisa Littman of Brown University conducted a ground-breaking study of

100 teenage and young adults who had transitioned and lived in a transgender identity for a

number of years, and then “detransitioned” or changed back to a gender identity matching their

sex. Littman noted that the “visibility of individuals who have detransitioned is new and may be

rapidly growing.” (Littman 2021 at 1.) Of the 100 detransitioners included in Littman’s study,

60% reported that their decision to detransition was motivated (at least in part) by the fact that

they had become more comfortable identifying as their natal sex, and 38% had concluded that

their gender dysphoria was caused by something specific such as trauma, abuse, or a mental

health condition. (Littman 2021 at 9.)

       121.    A significant majority (76%) did not inform their clinicians of their detransition.

(Littman 2021 at 11.)

       122.    A similar study that recruited a sample of 237 detransitioners (the large majority

of whom had initially transitioned in their teens or early twenties) similarly reported that a

common reason for detransitioning was the subject’s conclusion that his or her gender dysphoria

was related to other issues (70% of the sample). (Vandenbussche 2021.)

       123.    The existence of increasing numbers of youth or young adult detransitioners has

also been recently noted by Dr. Edwards-Leeper and Dr. Anderson. (Edwards-Leeper &

Anderson 2021.) Edwards-Leeper and Anderson noted “the rising number of detransitioners that

clinicians report seeing (they are forming support groups online)” which are “typically youth

who experienced gender dysphoria and other complex mental health issues, rushed to medicalize

their bodies and regretted it.” Other clinicians working with detransitioners have also noted the

recent phenomenon. (Marchiano 2020.)




                                               - 43 -
                                                                                     Armistead App. 0324



       124.    A growing body of evidence suggests that for many teens and young adults, a

post-pubertal onset of transgender identification can be a transient phase of identity exploration,

rather than a permanent identity, as evidenced by a growing number of young detransitioners

(Entwistle 2020; Littman 2021; Vandenbussche 2021). Previously, the rate of detransition and

regret was reported to be very low, although these estimates suffered from significant limitations

and were likely undercounting true regret (D’Angelo 2018). As gender-affirmative care has

become popularized, the rate of detransition appears to be accelerating.

       125.    A recent study from a UK adult gender clinic observed that 6.9% of those treated

with gender-affirmative interventions detransitioned within 16 months, and another 3.4% had a

pattern of care suggestive of detransition, yielding a rate of probable detransition in excess of

10%. Another 21.7%, however, disengaged from the clinic without completing their treatment

plan. While some of these individuals later re-engaged with the gender service, the authors

concluded, “detransitioning might be more frequent than previously reported.” (Hall et al. 2021).

       126.    Another study from a UK primary care practice found that 12.2% of those who

had started hormonal treatments either detransitioned or documented regret, while the total of

20% stopped the treatments for a wider range of reasons. The mean age of their presentation with

gender dysphoria was 20, and the patients had been taking gender-affirming hormones for an

average 5 years (17 months-10 years) prior to discontinuing. Comparing these much higher rates

of treatment discontinuation and detransition to the significantly lower rates reported by the older

studies, the researchers noted: “Thus, the detransition rate found in this population is novel and

questions may be raised about the phenomenon of overdiagnosis, overtreatment, or iatrogenic

harm as found in other medical fields” (Boyd et al. 2022 at 15.) Indeed, given that regret may

take up to 8-11 years to materialize (Dhejne et al., 2014; Wiepjes et al., 2018), many more




                                               - 44 -
                                                                                     Armistead App. 0325



detransitioners are likely to emerge in the coming years. Detransitioner research is still in its

infancy, but the Littman and Vandenbussche studies in 2021 both report that detransitioners from

the recently transitioning cohorts feel they were rushed into medical gender-affirmative

interventions with irreversible effects, often without the benefit of appropriate, or in some

instances any, psychologic exploration.

VI.  TRANSITION AND AFFIRMATION IS AN IMPORTANT PSYCHOLOGICAL
AND MEDICAL INTERVENTION THAT CHANGES GENDER IDENTITY
OUTCOMES.

       A.      If both a typical gender or a transgender long-term gender identity outcome
               are possible for a particular patient, the alternatives are not medically
               neutral.

       127.    Where a juvenile experiences gender dysphoria, the gender identity that is

stabilized will have a significant impact on the course of their life. Living in a transgender

identity for a time will make desistance, if it is ever considered, more difficult to accomplish.

       128.    If the juvenile desists from the gender dysphoria and becomes reasonably

comfortable with a gender identity congruent with their sex—the most likely outcome from a

statistical perspective absent affirming intervention—the child will not require ongoing

pharmaceutical maintenance and will not have their fertility destroyed post-puberty.

       129.    However, if the juvenile persists in a transgender identity, under current practices,

the child is most likely to require regular administration of hormones for the rest of their lives,

exposing them to significant physical, mental health, and relational risks (which I detail in

Section IX below), as well as being irreversibly sterilized chemically and/or surgically. The child

is therefore rendered a “patient for life” with complex medical implications further to a

scientifically unproven course of treatment.




                                                - 45 -
                                                                                      Armistead App. 0326



       B.      Social transition of young children is a powerful psychotherapeutic
               intervention that radically changes outcomes, almost eliminating desistance.

       130.    Dr. Adkins asserts that social transition is a “a critical part” of the treatment of

gender dysphoria. (Adkins at 6, 7). Rather, social transition has a critical effect on the persistence

of gender dysphoria. It is evident from the scientific literature that engaging in therapy that

encourages social transition before or during puberty—which would include participation on

athletic teams designated for the opposite sex—is a psychotherapeutic intervention that

dramatically changes outcomes. A prominent group of authors has written that “The gender

identity affirmed during puberty appears to predict the gender identity that will persist into

adulthood.” (Guss et al. 2015 at 421.) Similarly, a comparison of recent and older studies

suggests that when an “affirming” methodology is used with children, a substantial proportion of

children who would otherwise have desisted by adolescence—that is, achieved comfort

identifying with their natal sex—instead persist in a transgender identity. (Zucker 2018 at 7.)

       131.    Indeed, a review of multiple studies of children treated for gender dysphoria

across the last three decades found that early social transition to living as the opposite sex

severely reduces the likelihood that the child will revert to identifying with the child’s natal sex,

at least in the case of boys. That is, while, as I review above, studies conducted before the

widespread use of social transition for young children reported desistance rates in the range of

80-98%, a more recent study reported that fewer than 20% of boys who engaged in a partial or

complete social transition before puberty had desisted when surveyed at age 15 or older. (Zucker

2018 at 7 7; Steensma et al. 2013.) 8 Another researcher observed that a partial or complete gender



       7
          Zucker found social transition by the child to be strongly correlated with persistence for
natal boys, but not for girls. (Zucker 2018 at 5.)
        8
          Only 2 (3.6%) of 56 of the male desisters observed by Steensma et al. had made a
complete or partial transition prior to puberty, and of the twelve males who made a complete or


                                                - 46 -
                                                                                     Armistead App. 0327



social transition prior to puberty “proved to be a unique predictor of persistence.” (Singh et al.

2021 at 14.)

       132.    Some vocal practitioners of prompt affirmation and social transition even proudly

claim that essentially no children who come to their clinics exhibiting gender dysphoria or cross-

gender identification desist in that identification and return to a gender identity consistent with

their biological sex. 9 This is a very large change as compared to the desistance rates documented

apart from social transition.

       133.    Even voices generally supportive of prompt affirmation and social transition are

acknowledging a causal connection between social transition and this change in outcomes. As

the Endocrine Society recognized in its 2017 Guidelines: “If children have completely socially

transitioned, they may have great difficulty in returning to the original gender role upon entering

puberty. . . [S]ocial transition (in addition to GD/gender incongruence) has been found to

contribute to the likelihood of persistence.” (Hembree et al. 2017 at 3879.) The fact is that these

unproven interventions with the lives of kids and their families have systematically documented

outcomes. Given this observed phenomenon, I agree with Dr. Ken Zucker who has written that

social transition in children must be considered “a form of psychosocial treatment.” (Zucker

2020 at 1.)

       134.    Moreover, as I review below, social transition cannot be considered or decided

alone. Studies show that engaging in social transition starts a juvenile on a “conveyor belt” path




partial transition prior to puberty, only two had desisted when surveyed at age 15 or older.
Steensma 2013 at 584.
         9
           See, e.g., Ehrensaft 2015 at 34: “In my own clinical practice . . . of those children who
are carefully assessed as transgender and who are allowed to transition to their affirmed gender,
we have no documentation of a child who has ‘desisted’ and asked to return to his or her
assigned gender.”


                                                - 47 -
                                                                                    Armistead App. 0328



that almost inevitably leads to the administration of puberty blockers, which in turn almost

inevitably leads to the administration of cross-sex hormones. The emergence of this well-

documented path means that the implications of taking puberty blockers and cross-sex hormones

must be taken into account even where “only” social transition is being considered or requested

by the child or family. As a result, there are a number of important “known risks” associated

with social transition.

       C.      Administration of puberty blockers is a powerful medical and
               psychotherapeutic intervention that radically changes outcomes, almost
               eliminating desistance on the historically observed timeline.

       135.    Dr. Adkins speaks of the use of puberty blockers as though this major hormonal

disruption of some of the most basic aspects of ordinary human development were entirely

benign, acting as a “pause.” (Adkins at 7.) This optimistic view is not based on science. In fact, it

should be understood that puberty blockers are usually administered to early-stage adolescents as

part of a path that includes social transition. Moreover, medicine does not know what the long-

term health effects on bone, brain, and other organs are of a “pause” between ages 11-16.

Medicine also does not know if the long-term effects of these compounds are different in boys

than in girls. The mental health professional establishment likewise does not know the long-term

effects on coping skills, interpersonal comfort, and intimate relationships of this “pause” while

one’s peers are undergoing their maturational gains in these vital arenas of future mental health. I

address medical, social, and mental health risks associated with the use of puberty blockers in

Section IX. Here, I note that the data strongly suggests that the administration of puberty

blockers, too, must be considered to be a component of a “psychosocial treatment” with complex

implications, rather than a “pause.”

       136.    Multiple studies show that the large majority of children who begin puberty

blockers go on to receive cross-sex hormones. (de Vries 2020 at 2.) A recent study by the


                                               - 48 -
                                                                                    Armistead App. 0329



Tavistock and Portman NHS Gender Identity Development Service (UK)—the world’s largest

gender clinic—found that 98% of adolescents who underwent puberty suppression continued on

to cross-sex hormones. (Carmichael et al 2021 at 12.) 10

       137.    These studies demonstrate that going on puberty blockers virtually eliminates the

possibility of desistance in juveniles. Rather than a “pause,” puberty blockers appear to act as a

psychosocial “switch,” decisively shifting many children to a persistent transgender identity.

Therefore, as a practical and ethical matter the decision to put a child on puberty blockers must

be considered as the equivalent of a decision to put that child on cross-sex hormones, with all the

considerations and informed consent obligations implicit in that decision.

VII. TRANSITION AND AFFIRMATION ARE EXPERIMENTAL THERAPIES
THAT HAVE NOT BEEN SHOWN TO IMPROVE MENTAL OR PHYSICAL HEALTH
OUTCOMES BY YOUNG ADULTHOOD.

       138.    It is undisputed that children and adolescents who present with gender dysphoria

exhibit a very high level of mental health comorbidities. (Section II.C.) Whether the gender

dysphoria is cause or effect of other diagnosed or undiagnosed mental health conditions, or

whether these are merely coincident comorbidities, is hotly disputed, but the basic fact is not.

       139.    Dr. Adkins asserts that when the “transition, affirmation, and hormones” therapy

that she advocates is followed, “gender dysphoria is easily managed” (Adkins at 5), implying

that transition and hormone therapy have been proven to be effective in relieving gender

dysphoria and the general mental health distress that broadly afflicts these children and

adolescents. This is scientifically incorrect. It ignores both what is known and what is unknown.




       10
          See also Brik 2020 where Dutch researchers found nearly 97% of adolescents who
received puberty blockers proceeded to cross-sex hormones.


                                               - 49 -
                                                                                    Armistead App. 0330



       A.      The knowledge base concerning therapies for gender dysphoria is “very low
               quality.”

       140.    At the outset, it is important for all sides to admit that the knowledge base

concerning the causes and treatment of gender dysphoria has low scientific quality.

       141.    In evaluating claims of scientific or medical knowledge, it is axiomatic in science

that no knowledge is absolute, and to recognize the widely accepted hierarchy of reliability when

it comes to “knowledge” about medical or psychiatric phenomena and treatments. Unfortunately,

in this field opinion is too often confused with knowledge, rather than clearly locating what

exactly is scientifically known. In order of increasing confidence, such “knowledge” may be

based upon data comprising:

               a. Expert opinion—it is perhaps surprising to educated laypersons that expert

       opinion standing alone is the lowest form of knowledge, the least likely to be proven

       correct in the future, and therefore does not garner as much respect from professionals as

       what follows;

               b. A single case or series of cases (what could be called anecdotal evidence)

       (Levine 2016 at 239.);

               c. A series of cases with a control group;

               d. A cohort study;

               e. A randomized double-blind clinical trial;

               f. A review of multiple trials;

               g. A meta-analysis of multiple trials that maximizes the number of patients

       treated despite their methodological differences to detect trends from larger data sets.

       142.    Prominent voices in the field have emphasized the severe lack of scientific

knowledge in this field. The American Academy of Child and Adolescent Psychiatry has



                                                 - 50 -
                                                                                     Armistead App. 0331



recognized that “Different clinical approaches have been advocated for childhood gender

discordance. . . . There have been no randomized controlled trials of any treatment. . . . [T]he

proposed benefits of treatment to eliminate gender discordance … must be carefully weighed

against … possible deleterious effects.” (Adelson et al. at 968–69.) Similarly, the American

Psychological Association has stated, “because no approach to working with [transgender and

gender nonconforming] children has been adequately, empirically validated, consensus does not

exist regarding best practice with pre-pubertal children.” (APA 2015 at 842.)

       143.    Critically, “there are no randomized control trials with regard to treatment of

children with gender dysphoria.” (Zucker 2018 at 8.) On numerous critical questions relating to

cause, developmental path if untreated, and the effect of alternative treatments, the knowledge

base remains primarily at the level of the practitioner’s exposure to individual cases, or multiple

individual cases. As a result, claims to certainty are not justifiable. (Levine 2016 at 239.)

       144.    Within the last two years, at least three formal evidence reviews concerning

hormonal interventions for gender dysphoria have been conducted. All three found all of the

available clinical evidence to be very low quality.

       145.    The British National Health Service (NHS) commissioned formal “evidence

reviews” of all clinical papers concerning the efficacy and safety of puberty blockers and cross-

sex hormones as treatments for gender dysphoria. These evidence reviews were performed by the

U.K. National Institute for Health and Care Excellence (NICE), applying the respected

“GRADE” criteria for evaluating the strength of clinical evidence.

       146.    Both the review of evidence concerning puberty blockers and the review of

evidence concerning cross-sex hormones were published in 2020, and both found that all

available evidence as to both efficacy and safety was “very low quality” according to the




                                                - 51 -
                                                                                    Armistead App. 0332



GRADE criteria. (NICE 2021a; NICE 2021b.) “Very low quality” according to GRADE means

there is a high likelihood that the patient will not experience the hypothesized benefits of the

treatment. (Balshem et al. 2011.)

       147.    Similarly, the highly respected Cochrane Library—the leading source of

independent systematic evidence reviews in health care—commissioned an evidence review

concerning the efficacy and safety of hormonal treatments now commonly administered to

“transitioning transgender women” (i.e., testosterone suppression and estrogen administration to

biological males). That review, also published in 2020, concluded that “We found insufficient

evidence to determine the efficacy or safety of hormonal treatment approaches for transgender

women in transition.” (Haupt et al. 2020 at 2.) It must be understood that both the NICE and the

Cochrane reviews considered all published scientific studies concerning these treatments.

       148.    As to social transition, as I have noted above, considerable evidence suggests that

socially transitioning a pre-pubertal child puts him or her on a path from which very few children

escape—a path which includes puberty blockers and cross-sex hormones before age 18. As a

practical matter, then, a decision about social transition for a child must be made in light of what

is known and what is unknown about the effects of those expected hormonal interventions.

       149.    I discuss safety considerations in Section IX below. Here, I detail what is known

about the effectiveness of social and hormonal transition and affirmation to improve the mental

health of individuals diagnosed with gender dysphoria.

       B.      Youth who adopt a transgender identity show no durable improvement in
               mental health after social, hormonal, or surgical transition and affirmation.

       150.    As I noted above, the evidence reviews for the efficacy and safety of hormonal

interventions published in 2020 concluded that the supporting evidence is so poor that there is “a




                                               - 52 -
                                                                                    Armistead App. 0333



high likelihood that the patient will not experience the hypothesized benefits of the treatment.”

There is now some concrete evidence that on average they do not experience those benefits.

       151.    An important paper published in 2021 by Tavistock clinic clinicians provided the

results of the first longitudinal study that measured widely used metrics of general psychological

function and suicidality before commencement of puberty blockers, and then at least annually

after commencing puberty blockers. After up to three years, they “found no evidence of change

in psychological function with GnRHa treatment as indicated by parent report (CBCL) or self-

report (YSR) of overall problems, internalizing or externalizing problems or self-harm” as

compared to the pre-puberty-blocker baseline evaluations. “Outcomes that were not formally

tested also showed little change.” (Carmichael at al. 2021 at 18-19.) Similarly, a study by

Branström and Pachankis of the case histories of a set of individuals diagnosed with GD in

Sweden found no positive effect on mental health from hormonal treatment. (Landen 2020.)

       152.    A cohort study by authors from Harvard and Boston Children’s Hospital found

that youth and young adults (ages 12-29) who self-identified as transgender had an elevated risk

of depression (50.6% vs. 20.6%) and anxiety (26.7% vs. 10.0%); a higher risk of suicidal

ideation (31.1% vs. 11.1%), suicide attempts (17.2% vs. 6.1%), and self-harm without lethal

intent (16.7% vs. 4.4%) relative to the matched controls; and a significantly greater proportion of

transgender youth accessed inpatient mental health care (22.8% vs. 11.1%) and outpatient mental

health care (45.6% vs. 16.1%) services. (Reisner et al. 2015 at 6.) Similarly, a recent longitudinal

study of transgender and gender diverse youth and young adults in Chicago found rates of

alcohol and substance abuse “substantially higher than those reported by large population-based

studies of youth and adults.” (Newcomb et al. 2020 at 14.) Members of the clinical and research

team at the prominent Dutch VU University gender dysphoria center recently compared mental




                                               - 53 -
                                                                                        Armistead App. 0334



health metrics of two groups of subjects before (mean age 14.5) and after (mean age 16.8)

puberty blockers. But they acknowledged that the structure of their study meant that it “can . . .

not provide evidence about . . . long-term mental health outcomes,” and that based on what

continues to be extremely limited scientific data, “Conclusions about the long-term benefits of

puberty suppression should . . . be made with extreme caution.” In other words, we just don’t

know. (van der Miesen et al. 2020 at 703.)

       153.    Kiera Bell, who was diagnosed with gender dysphoria at the Tavistock Clinic,

given cross-sex hormones, and subjected to a mastectomy, before desisting and reclaiming her

female gender identity, and a Swedish teen girl who appeared in a recent documentary after

walking that same path, have both stated that they feel that they were treated “like guinea pigs,”

experimental subjects. They are not wrong.

       C.      Long-term mental health outcomes for individuals who persist in a
               transgender identity are poor.

       154.    The responsible MHP cannot focus narrowly on the short-term happiness of the

young patient, but must instead consider the happiness and health of the patient from a “life

course” perspective. When we look at the available studies of individuals who continue to

inhabit a transgender identity across adult years, the results are strongly negative.

       155.    In the United States, the death rates of trans veterans are comparable to those with

schizophrenia and bipolar diagnoses—20 years earlier than expected. These crude death rates

include significantly elevated rates of substance abuse as well as suicide. (Levine 2017 at 10.)

Similarly, researchers in Sweden and Denmark have reported on almost all individuals who

underwent sex-reassignment surgery over a 30-year period. (Dhejne et al. 2011; Simonsen et al.

2016.) The Swedish follow-up study similarly found a suicide rate in the post-SRS population




                                                - 54 -
                                                                                     Armistead App. 0335



19.1 times greater than that of the controls; both studies demonstrated elevated mortality rates

from medical and psychiatric conditions. (Levine 2017 at 10.)

       156.    A recent study in the American Journal of Psychiatry reported high mental health

utilization patterns of adults for ten years after surgery for approximately 35% of patients.

(Bränström & Panchankis, 2020.) Indeed, earlier Swedish researchers in a long-term study of all

patients provided with SRS over a 30-year period (median time since SRS of > 10 years)

concluded that individuals who have SRS exhibit such poor mental health that they should be

provided very long-term psychiatric care as the “final” transition step of SRS. (Dhejne et al.

2011, at 6-7.) Unfortunately, across the succeeding decade, in Sweden and elsewhere their

suggestion has been ignored.

       157.    I will note that these studies do not tell us whether the subjects first experienced

gender dysphoria as children, adolescents, or adults, so we cannot be certain how their findings

apply to each of these subpopulations which represent quite different pathways. But in the

absence of knowledge, we should be cautious.

       158.    Meanwhile, no studies show that affirmation of pre-pubescent children or

adolescents leads to more positive outcomes (mental, physical, social, or romantic) by, e.g., age

25 or older than does “watchful waiting” or ordinary therapy.

       159.    The many studies that I have cited here warn us that as we look ahead to the

patient’s life as a young adult and adult, the prognosis for the physical health, mental health, and

social well-being of the child or adolescent who transitions to live in a transgender identity is not

good. Gender dysphoria is not “easily managed” when one understands the marginalized,

vulnerable physical, social, and psychological status of adult trans populations.




                                               - 55 -
                                                                                      Armistead App. 0336



VIII. TRANSITION AND AFFIRMATION DO NOT DECREASE, AND MAY
INCREASE, THE RISK OF SUICIDE.

        A.     The risk of suicide among transgender youth is confused and exaggerated in
               the public mind.

        160.   While suicide is closely linked to mental health, I comment on it separately

because rhetoric relating to suicide figures so prominently in debates about responses to gender

dysphoria.

        161.   At the outset, I will note that any discussion of suicide when considering younger

children involves very long-range and very uncertain prediction. Suicide in pre-pubescent

children is extremely rare, and the existing studies of gender identity issues in pre-pubescent

children do not report significant incidents of suicide. Any suggestion otherwise is misinformed.

Our focus for this topic, then, is on adolescents and adults.

        162.   Some authors have reported rates of suicidal thoughts and behaviors among trans-

identifying teens or adults ranging from 25% to as high as 52%, generally through non-

longitudinal self-reports obtained from non-representative survey samples. (Toomey et al. 2018.)

Dr. Adkins asserted in her declaration submitted in support of Plaintiff’s preliminary injunction

motion that “Attempted suicide rates in the transgender community are over 40%,” and that

“[t]he only treatment to avoid this serious harm is to . . . affirm gender identity.” (Adkins at 6.)

Contrary to these assertions, no studies show that affirmation of children (or anyone else)

reduces suicide, prevents suicidal ideation, or improves long-term outcomes, as compared to

either a “watchful waiting” or a psychotherapeutic model of response, as I have described above.

Rhetorical references to figures such as 40%—and some published studies—confuse suicidal

thoughts and actions that represent a cry for help, manipulation, or expression of rage with

serious attempts to end life. Such statements or studies ignore a crucial and long-recognized

distinction.


                                                - 56 -
                                                                                     Armistead App. 0337



       163.    I have included suicidality in my discussion of mental health above. Here, I focus

on actual suicide. Too often, in public comment suicidal thoughts are blurred with suicide. Yet

the available data tells us that suicide among children and youth suffering from gender dysphoria

is extremely rare.

       164.    An important new analysis of data covering patients as well as those on the

waiting list (and thus untreated) at the UK Tavistock gender clinic—the world’s largest gender

clinic—found a total of only four completed suicides across 11 years’ worth of patient data,

reflecting an estimated cumulative 30,000 patient-years spent by patients under the clinic’s care

or on its waiting list. This corresponded to an annual suicide rate of 0.013%. The proportion of

individual patients who died by suicide was 0.03%, which is orders of magnitude smaller than

trans adolescents who self-report suicidal behavior or thoughts on surveys. (Biggs 2022b.)

       165.    Thus, only a minute fraction of trans-identifying adolescents who report thoughts

or conduct considered to represent “suicidality” actually commit suicide. I agree with the

statement by Dr. Zucker that the assertion by, for example, Karasic and Ehrensaft (2015) that

completed suicides among transgender youth are “alarmingly high” “has no formal and

systematic empirical basis.” (Zucker 2019 at 3.)

       166.    Professor Biggs of Oxford, author of the study of incidence of suicide among

Tavistock clinic patients, rightly cautions that it is “irresponsible to exaggerate the prevalence of

suicide.” (Biggs 2022b at 4.) It is my opinion that telling parents—or even allowing them to

believe from their internet reading—that they face a choice between “a live son or a dead

daughter” is both factually wrong and unethical. Informed consent requires clinicians to tell the

truth and ensure that their patients understand the truth. To be kind, the clinicians who believe




                                                - 57 -
                                                                                      Armistead App. 0338



such figures represent high risk of ultimate suicide in adolescence simply do not know the truth;

they are ill-informed.

       B.      Transition of any sort has not been shown to reduce levels of suicide.

       167.    Every suicide is a tragedy, and steps that reduce suicide should be adopted. I have

noted above that suicidality (that is, suicidal thoughts or behaviors, rather than suicide) is

common among transgender adolescents and young adults before, during, and after social and

medical transition. If a medical or mental health professional believes that an individual he or she

is diagnosing or treating for gender dysphoria presents a suicide risk, in my view it is unethical

for that professional merely to proceed with treatment for gender dysphoria and hope that “solves

the problem.” Rather, that professional has an obligation to provide or refer the patient for

evidence-based therapies for addressing depression and suicidal thoughts that are well-known to

the profession. (Levine 2016 at 242.)

       168.    This is all the more true because there is in fact no evidence that social and/or

medical transition reduces the risk or incidence of actual suicide. On the contrary, in his analysis

of those who were patients of or on the waiting list of the Tavistock clinic, Professor Biggs found

that the suicide rate was not higher among those on the clinic’s waiting list (and thus as-yet

untreated), than for those who were patients under care. (Biggs 2022b.) And as corrected,

Bränström and Pachankis similarly acknowledge that their review of records of GD patients

“demonstrated no advantage of surgery in relation to . . . hospitalizations following suicide

attempts.” (I assume for this purpose that attempts that result in hospitalization are judged to be

so serious as to predict a high rate of future suicide if not successfully addressed.”) 11



11
  Turban et al. (2020) has been described in press reports as demonstrating that administration of
puberty suppressing hormones to transgender adolescents reduces suicide or suicidal ideation.
The paper itself does not make that claim, nor permit that conclusion.


                                                - 58 -
                                                                                    Armistead App. 0339



       C.      Long-term life in a transgender identity correlates with very high rates of
               completed suicide.

       169.    As with mental health generally, the patient, parent, or clinician fearing the risk of

suicide must consider not just the next month or year, but a life course perspective.

       170.    There are now four long-term studies that analyze completed suicide among those

living in transgender identities into adulthood. The results vary significantly, but are uniformly

highly negative.

       171.    Dhejne reported a long-term follow-up study of subjects after sex reassignment

surgery. Across the multi-year study, subjects who had undergone SRS committed suicide at

19.1 times the expected rate compared to general population controls matched by age and both

sexes. MtF subjects committed suicide at 13.9 times the expected rate, and FtM subjects

committed suicide at 40.0 times the expected rate. (Dhejne et al. 2011 Supplemental Table S1.)

       172.    Asscheman, also writing in 2011, reported results of a long-term follow-up of all

transsexual subjects of the Netherlands’ leading gender medicine clinic who started cross-sex

hormones before July 1, 1997, a total of 1331 patients. Due to the Dutch system of medical and

death records, extensive follow-up was achieved. Median follow-up period was 18.5 years. The

mortality rate among MtF patients was 51% higher than among the age-matched general

population; the rate of completed suicide among MtF patients was six times that of the age-

matched general population. (Asscheman et al. 2011.)

       173.    Importantly, Asscheman et al. found that “No suicides occurred within the first 2

years of hormone treatment, while there were six suicides after 2-5 years, seven after 5-10 years,

and four after more than 10 years of CSH treatment at a mean age of 41.5 years." (Asscheman et

al. 2011 at 637-638.) This suggests that studies that follow patients for only a year or two after

treatment are insufficient. Asscheman et al.’s data suggest that such short-term follow-up is



                                               - 59 -
                                                                                      Armistead App. 0340



engaging only with an initial period of optimism, and will simply miss the feelings of disillusion

and the increase in completed suicide that follows in later years.

       174.    A retrospective, long-term study published in 2020 of a very large cohort (8263)

of patients referred to the Amsterdam University gender clinic between 1972 and 2017 found

that the annual rate of completed suicides among the transgender subjects was “three to four

times higher than the general Dutch population.” “[T]he incidence of observed suicide deaths

was almost equally distributed over the different stages of treatment.” The authors concluded that

“vulnerability for suicide occurs similarly in the different stages of transition.” (Wiepjes et al.

2020.) In other words, neither social nor medical transition reduced the rate of suicide.

       175.    As with Asscheman et al., Wiepjes et al. found that the median time between start

of hormones and suicide (when suicide occurred) was 6.1 years for natal males, and 6.9 years for

natal females. Again, short- or even medium-term studies will miss this suicide phenomenon.

       176.    A 2021 study analyzed the case histories of a cohort of 175 gender dysphoria

patients treated at one of the seven UK adult gender clinics who were “discharged” (discontinued

as patients) within a selected one-year period. The authors reported the rather shocking result

that 7.7% (3/39) of natal males who were diagnosed and admitted for treatment, and who were

between 17 and 24 years old, were “discharged” because they committed suicide during

treatment. (Hall et al. 2021, Table 2.)

       177.    None of these studies demonstrates that the hormonal or surgical intervention

caused suicide. That is possible, but as we have seen, the population that identifies as

transgender suffers from a high incidence of comorbidities that correlate with suicide. What

these studies demonstrate—at the least—is that this remains a troubled population in need of

extensive and careful psychological care that they generally do not receive, and that neither




                                                - 60 -
                                                                                       Armistead App. 0341



hormonal nor surgical transition and “affirmation” resolve their underlying problems and put

them on the path to a stable and healthy life.

       178.    In sum, claims that affirmation will reduce the risk of suicide for children and

adolescents are not based on science. Instead, transition of any sort must be justified, if at all, as

a life-enhancing measure, not a lifesaving measure. (Levine 2016 at 242.) In my opinion, this is

an important fact that patients, parents, and even many MHPs fail to understand.

IX. HORMONAL INTERVENTIONS ARE EXPERIMENTAL PROCEDURES THAT
HAVE NOT BEEN PROVEN SAFE.

       179.    Dr. Adkins also appears to assert as a fact—but without citation to peer-reviewed

literature—that social transition, puberty blockers, and cross-sex hormones are known to be

“safe.” (Adkins at 5-6, 8.) This is not true. And Dr. Adkins, along with a number of voices in the

field, also asserts that puberty blockers act merely as a “pause” in the process of puberty-driven

maturation, suggesting that this hormonal intervention has been proven to be fully reversible.

This is also an unproven belief.

       180.    On the contrary, no studies have been done that meaningfully demonstrate that

either puberty blockers or cross-sex hormones, as prescribed for gender dysphoria, are safe in

other than the short run. No studies have attempted to determine whether the effects of puberty

blockers, as currently being prescribed for gender dysphoria, are fully reversible. Neither Dr.

Adkins nor Dr. Safer cites any such studies, and there are none. There are only pronouncements.

In fact, there are substantial reasons for concern that these hormonal interventions are not safe.

Multiple researchers have expressed concern that the full range of possible harms have not even

been correctly conceptualized.

       181.    Because, as I have explained in Section VI, recent evidence demonstrates that pre-

pubertal social transition almost always leads to progression on to puberty blockers which in turn


                                                 - 61 -
                                                                                     Armistead App. 0342



almost always leads to the use of cross-sex hormones, physicians bear the ethical responsibility

for a thorough informed consent process for parents and patients that includes this fact and its

full implications. Informed consent does not mean sharing with the parents and patients what the

doctor believes: it means sharing what is known and what is not known about the intervention.

So much of what doctors believe is based on mere trust in what they have been taught. Neither

they themselves nor their teachers may be aware of the scientific foundation and scientific

limitations of what they are recommending.

         A.     Use of puberty blockers has not been shown to be safe or reversible for
                gender dysphoria.

         182.   As I noted above, the recent very thorough literature review performed for the

British NHS concluded that all available clinical evidence relating to “safety outcomes” from

administration of puberty blockers for gender dysphoria is of “very low certainty.” (NHS 2020a

at 6.)

         183.   In its 2017 Guidelines, the Endocrine Society cautioned that “in the future we

need more rigorous evaluations of the effectiveness and safety of endocrine and surgical

protocols” including “careful assessment of . . . the effects of prolonged delay of puberty in

adolescents on bone health, gonadal function, and the brain (including effects on cognitive,

emotional, social, and sexual development).” (Hembree et al. 2017 at 3874.) No such “careful”

or “rigorous” evaluation of these very serious safety questions has yet been done.

         184.   Some advocates appear to assume that puberty blockers are “safe” because they

have been approved by the Food and Drug Administration (FDA) for use to treat precocious

puberty—a rare condition in which the puberty process may start at eight or younger. No such

conclusion can be drawn. As the “label” for Lupron (one of the most widely prescribed puberty

blockers) explains, the FDA approved the drug only until the “age was appropriate for entry into



                                               - 62 -
                                                                                    Armistead App. 0343



puberty.” The study provides no information at all as to the safety or reversibility of instead

blocking healthy, normally-timed puberty’s beginning, and throughout the years that body-wide

continuing changes normally occur. Given the physical, social, and psychological dangers to the

child with precocious puberty, drugs like Lupron are effective in returning the child to a puerile

state without a high incidence of significant side effects—that is, they are “safe” to reverse the

condition. But use of drugs to suppress normal puberty has multiple organ system effects whose

long-term consequences have not been investigated.

       185.    Fertility: The Endocrine Society Guidelines rightly say that research is needed

into the effect of puberty blockade on “gonadal function” and “sexual development.” The core

purpose and function of puberty blockers is to prevent the maturation of the ovaries or testes, the

sources of female hormones and male hormones when stimulated by the pituitary gland. From

this predictable process fertility is accomplished within a few years. Despite widespread

assertions that puberty blockers are “fully reversible,” there has been no study published on the

critical question of whether patients ever develop normal levels of fertility if puberty blockers are

terminated after a “prolonged delay of puberty.” The 2017 Endocrine Society Guidelines are

correct that are no data on achievement of fertility “following prolonged gonadotropin

suppression” (that is, puberty blockade). (Hembree et al. 2017 at 3880.)

       186.    Bone strength: Multiple studies have documented adverse effects from puberty

blockers on bone density. (Klink et al. 2015; Vlot et al. 2016; Joseph et al. 2019.) The most

recent found that after two years on puberty blockers, the bone density measurements for a

significant minority of the children had declined to clinically concerning levels. Density in the

spines of some subjects fell to a level found in only 0.13% of the population. (Biggs 2021.) Some




                                               - 63 -
                                                                                     Armistead App. 0344



other studies have found less concerning effects on bone density. While the available evidence

remains limited and conflicting, it is not possible to conclude that the treatment is “safe.”

       187.    Brain development: Important neurological growth and development in the brain

occurs across puberty. The anatomic and functional effect on brain development of blocking the

natural puberty process has not been well studied. A prominent Australian clinical team recently

expressed concern that “no data were (or are) available on whether delaying the exposure of the

brain to a sex steroid affects psychosexual, cognitive, emotional, or other neuropsychological

maturation.” (Kozlowska et al. 2021 at 89.) In my opinion, given the observed correlation

between puberty and brain development, the default hypothesis must be that there would be a

negative impact. For the purpose of protecting patients all over the world, the burden of proof

should be on advocates to first demonstrate to a reasonable degree of certainty that brain

structure and its measurable cognitive and affect processing are not negatively affected. This

recalls the ethical principle: Above All Do No Harm.

       188.    The Endocrine Society Guidelines acknowledge as much, stating that side effects

of pubertal suppression “may include . . . unknown effects on brain development,” that “we need

more rigorous evaluations of . . . the effects of prolonged delay of puberty in adolescents on . . .

the brain (including effects on cognitive, emotional, social, and sexual development),” and

stating that “animal data suggests there may be an effect of GnRH analogs [puberty blockers] on

cognitive function.” (Hembree et al. 2017 at 3874, 3882, 3883.) Given this concern, one can only

wonder why this relevant question has not been scientifically investigated in a large group of

natal males and females.

       189.    There has been a longitudinal study of one natal male child, assessed before, and

again 20 months after, puberty suppression was commenced. It reported a reduction in the




                                                - 64 -
                                                                                     Armistead App. 0345



patient’s “global IQ,” measured an anomalous absence of certain structural brain development

expected during normal male puberty, and hypothesized that “a plausible explanation for the

G[lobal] IQ decrease should consider a disruption of the synchronic [i.e., appropriately timed]

development of brain areas by pubertal suppression.” (Schneider et al. 2017 at 7.) This should

cause parents and practitioners serious concern.

       190.    Whether any impairment of brain development is “reversed” upon later

termination of puberty blockade has, to my knowledge, not been studied at all. As a result,

assertions by medical or mental health professionals that puberty blockade is “fully reversible”

are unjustified and based on hope rather than science.

       191.    Without a number of additional case studies—or preferably statistically

significant clinical studies—two questions remain unanswered: Are there brain anatomic or

functional impairment from puberty blockers? And are the documented changes reversed over

time when puberty blockers are stopped? With these questions unanswered, it is impossible to

assert with certainty that the effects of this class of medications are “fully reversible.” Such an

assertion is another example of ideas based on beliefs rather than on documentation, on hope not

science.

       192.    Psycho-social harm: Puberty is a time of stress, anxiety, bodily discomfort

during physical development, and identity formation for all humans. No careful study has been

done of the long-term impact on the young person’s coping skills, interpersonal comfort, and

intimate relationships from remaining puerile for, e.g., two to five years while one’s peers are

undergoing pubertal transformations, and of then undergoing an artificial puberty at an older age.

However, pediatricians and mental health professionals hear of distress, concern, and social

awkwardness in those who naturally have a delayed onset of puberty. In my opinion, individuals




                                                - 65 -
                                                                                   Armistead App. 0346



in whom puberty is delayed multiple years are likely to suffer at least subtle negative

psychosocial and self-confidence effects as they stand on the sidelines witnessing their peers

developing the social relationships (and attendant painful social learning experiences) that come

with adolescence. (Levine 2018 at 9.) Social anxiety and social avoidance are common findings

in the evaluation of trans-identified children and teens. Are we expected to believe that creating

years of being further different than their peers has no lasting internal consequences? Do we

ignore Adolescent Psychiatry’s knowledge of the importance of peer groups among adolescents?

       193.    We simply do not know what all the psychological impacts of NOT grappling

with puberty at the ordinary time may be, because it has not been studied. And we have no

information as to whether that impact is “fully reversible.”

       194.    In addition, since the overwhelming proportion of children who begin puberty

blockers continue on to cross-sex hormones, it appears that there is an important element of

“psychological irreversibility” in play. The question of to what extent the physical and

developmental impacts of puberty blockers might be reversible is an academic one, if psycho-

social realities mean that very few patients well ever be able to make that choice once they have

started down the road of social transition and puberty blockers.

       B.      Use of cross-sex hormones in adolescents for gender dysphoria has not been
               shown to be medically safe except in the short term.

       195.    As with puberty blockers, all evidence concerning the safety of extended use of

cross-sex hormones is of “very low quality.” The U.K. NICE evidence review cautioned that

“the safety profiles” of cross-sex hormone treatments are “largely unknown,” and that several of

the limited studies that do exist reported high numbers of subjects “lost to follow-up,” without

explanation—a worrying indicator. (NICE 2020b.)




                                               - 66 -
                                                                                     Armistead App. 0347



       196.    The 2020 Cochrane Review reported that: “We found insufficient evidence to

determine the . . . safety of hormonal treatment approaches for transgender women in transition.”

(Haupt et al. 2020 at 4.) Even the Endocrine Society tagged all its recommendations for the

administration of cross-sex hormones as based on “low quality evidence.” (Hembree et al. 2017

at 3889.)

       197.    Sterilization: It is undisputed, however, that harm to the gonads is an expected

effect, to the extent that it must be assumed that cross-sex hormones will sterilize the patient.

Thus, the Endocrine Society 2017 Guidelines caution that “[p]rolonged exposure of the testes to

estrogen has been associated with testicular damage,” that “[r]estoration of spermatogenesis after

prolonged estrogen treatment has not been studied,” and that “[i]n biological females, the effect

of prolonged treatment with exogenous testosterone upon ovarian function is uncertain.”

(Hembree et al. 2017 at 3880.) 12

       198.    The Guidelines go on to recommend that the practitioner counsel the patient about

the (problematic and uncertain) options available to collect and preserve fertile sperm or ova

before beginning cross-sex hormones. The life-long negative emotional impact of infertility on

both men and women has been well studied. While this impact has not been studied specifically

within the transgender population, the opportunity to be a parent is likely a human, emotional

need, and so should be considered an important risk factor when considering gender transition

for any patient.




       12
            See also Guss et al. 2015 at 4 (“a side effect [of cross-sex hormones] may be
infertility”) and at 5 (“cross-sex hormones . . . may have irreversible effects”); Tishelman et al.
2015 at 8 (Cross-sex hormones are “irreversible interventions” with “significant ramifications for
fertility”).


                                                - 67 -
                                                                                      Armistead App. 0348



       199.    Sexual response: Puberty blockers prevent maturation of the sexual organs and

response. Some, and perhaps many, transgender individuals who did not go through puberty

consistent with their sex and are then put on cross-sex hormones face significantly diminished

sexual response as they enter adulthood and are unable ever to experience orgasm. In the case of

males, the cross-sex administration of estrogen limits penile genital growth and function. In the

case of females, prolonged exposure to exogenous testosterone impairs vaginal function. Much

has been written about the negative psychological and relational consequences of anorgasmia

among non-transgender individuals that is ultimately applicable to the transgendered. (Levine

2018 at 6.) At the same time, prolonged exposure of females to exogenous testosterone often

increases sexual drive to a distracting degree. It is likely that parents and physicians are

uncomfortable discussing any aspects of genital sexual activity with patients.

       200.    Cardiovascular harm: Several researchers have reported that cross-sex

hormones increase the occurrence of various types of cardiovascular disease, including strokes,

blood clots, and other acute cardiovascular events. (Getahun et al. 2018; Guss et al. 2015;

Asscheman et al. 2011.) With that said, I agree with the conclusion of the Endocrine Society

committee (like that of the NICE Evidence Review) that: “A systematic review of the literature

found that data were insufficient (due to very low–quality evidence) to allow a meaningful

assessment of patient-important outcomes, such as death, stroke, myocardial infarction, or

venous thromboembolism in transgender males. Future research is needed to ascertain the

potential harm of hormonal therapies.” (Hembree et al. 2017 at 3891.) Future research questions

concerning long-term harms need to be far more precisely defined. The question of whether

cross-sex hormones are safe for adolescents and young adults cannot be answered by analogies

to hormone replacement therapy in menopausal women (which is not a cross-sex usage).




                                                - 68 -
                                                                                      Armistead App. 0349



Medicine has answered safety questions for menopausal women in terms of cancer and

cardiovascular safety: at what dose, for what duration, and at what age range. The science of

endocrine treatment of gender dysphoric youth is being bypassed by short-term clinical

impressions of safety even though physicians know that cardiovascular and cancer processes

often develop over many years.

       201.    Further, in contrast to administration for menopausal women, hormones begun in

adolescence are likely to be administered for four to six decades. The published evidence of

adverse impact, coupled with the lack of data sufficient to reach a firm conclusion, make it

irresponsible to assert that cross-sex hormones “are safe.”

       202.    Harm to family and friendship relationships: As a psychiatrist, I recognize that

mental health is a critical part of health generally, and that relationships cannot be separated from

and profoundly impact mental health. Gender transition routinely leads to isolation from at least

a significant portion of one’s family in adulthood. In the case of a juvenile transition, this will be

less dramatic while the child is young, but commonly increases over time as siblings who marry

and have children of their own do not wish the transgender individual to be in contact with those

children. By adulthood, the friendships of transgender individuals tend to be confined to other

transgender individuals (often “virtual” friends known only online) and the generally limited set

of others who are comfortable interacting with transgender individuals. (Levine 2017 at 5.) My

concerns about this are based on decades of observations in my professional work with patients.

       203.    Sexual-romantic harms associated with transition: After adolescence,

transgender individuals find the pool of individuals willing to develop a romantic and intimate

relationship with them to be greatly diminished. When a trans person who passes well reveals his

or her natal sex, many potential mates lose interest. When a trans person does not pass well,




                                                - 69 -
                                                                                    Armistead App. 0350



options are likely further diminished. But regardless of a person’s appearance, these adults soon

learn that many of their dates are looking for exotic sexual experiences rather than genuinely

loving relationships. (Levine 2017 at 5, 13; Levine 2013 at 40.)

       C.      The timing of harms.

       204.    The multi-year delay between start of hormones and the spike in completed

suicide observed by Professor Biggs in the Tavistock data (as discussed in Section VIII above)

warns us that the safety and beneficence of these treatments cannot be judged based on short-

term studies, or studies that do not continue into adulthood. Similarly, several of the harms that I

discuss above would not be expected to manifest until the patients reaches at least middle-age.

For example, stroke or other serious cardiovascular event is a complication that is unlikely to

manifest during teen years even if its likelihood over the patient’s lifetime has been materially

increased via obesity, lipid abnormalities, and smoking. Regret over sterilization or over an

inability to form a stable romantic relationship may occur sooner. Psychological challenges of

being a trans adult may become manifest after the medical profession is only doing routine

follow up care—or, in many cases, has lost contact with the patient altogether. Because few, if

any, clinics in this country are conducting systematic long-term follow-up with their child and

adolescent patients, the doctors who counsel, prescribe, or perform hormonal and surgical

therapies are unlikely ever to become aware of the later negative life impacts, however severe.

These concerns are compounded by the findings in the recent “detransitioner” research that 76%

did not inform their clinicians of their detransition. (Littman 2021.)

       205.    The possibility that steps along the transition and affirmation pathway, while

lessening the pain of gender dysphoria in the short term, could lead to additional sources of

crippling emotional and psychological pain, are too often not considered by advocates of social

transition and not considered at all by the trans child. (Levine 2016 at 243.) Clinicians must


                                               - 70 -
                                                                                    Armistead App. 0351



distinguish the apparent short-term safety of hormones from likely or possible long-term

consequences, and help the patient or parents understand these implications as well. The young

patient may feel, “I don’t care if I die young, just as long I get to live as a woman.” The mature

adult may take a different view. Hopefully, so will the child’s physician.

       206.    Individual patients often pin excessive hope in transition, believing that transition

will solve what are in fact ordinary social stresses associated with maturation, or mental health

co-morbidities. In this way, transition can prevent them from mastering personal challenges at

the appropriate time or directly addressing conditions that require treatment. When the hoped-for

“vanishing” of other mental health or social difficulties does not occur, disappointment, distress,

and depression may ensue. It is noteworthy that half of the respondents to the larger

“detransitioner” survey reported that their transition had not helped the gender dysphoria, and

70% had concluded that their gender dysphoria was related to other issues. (Vandenbussche

2021.) Without the clinical experience of monitoring the psychosocial outcomes of these young

patients as they age into adulthood, many such professionals experience no challenge to their

affirmative beliefs. But medical and mental health professionals who deliver trans affirmative

care for those with previous and co-existing mental health problems have an ethical obligation to

inform themselves, and to inform patients and parents, that these dramatic treatments are not a

panacea.

       207.    In sum, whether we consider physical or mental health, science does not permit us

to say that either puberty blockers or cross-sex hormones are “safe,” and the data concerning the

mental health of patients before, during, and after such treatments strongly contradict the

assertion that gender dysphoria is “easily managed.”




                                               - 71 -
                                                                               Armistead App. 0352



                                        Bibliography

Adelson, S. & American Academy of Child & Adolescent Psychiatry (2012). Practice
      Parameter on Gay, Lesbian, or Bisexual Sexual Orientation, Gender Nonconformity, and
      Gender Discordance in Children and Adolescents. JOURNAL OF THE AMERICAN
      ACADEMY OF CHILD & ADOLESCENT PSYCHIATRY 51(9) 957.

American Psychiatric Association. (2013). Diagnostic and statistical manual of mental
     disorders (5th ed.). https://doi.org/10.1176/appi.books.9780890425596

American Psychological Association. Guidelines for Psychological Practice with Transgender
     & Gender Nonconforming People (2015). AMERICAN PSYCHOLOGIST 70(9) 832.

Anderson, E. (2022, January 3). Opinion: When it comes to trans youth, we’re in danger of
     losing our way. THE SAN FRANCISCO EXAMINER. Accessed January 5, 2022
     http://www.sfexaminer.com/opinion/are-we-seeing-a-phenomenon-of-trans-youth-social-
     contagion/

Anzani, A., Lindley, L., Tognasso, G., Galupo, M. & Prunas, A. (2021). “Being Talked to Like
     I Was a Sex Toy, Like Being Transgender Was Simply for the Enjoyment of Someone
     Else”: Fetishization and Sexualization of Transgender and Nonbinary Individuals.
     ARCHIVES OF SEXUAL BEHAVIOR 50(3) 897-911..

Asscheman, H., Giltay, E. J., Megens, J. A. J., de Ronde, W. (Pim), van Trotsenburg, M. A. A.,
     & Gooren, L. J. G. (2011). A long-term follow-up study of mortality in transsexuals
     receiving treatment with cross-sex hormones. EUROPEAN JOURNAL OF ENDOCRINOLOGY
     164(4) 635–642.

Balshem, H., Helfand, M., Schünemann, H. J., Oxman, A. D., Kunz, R., Brozek, J., Vist, G. E.,
      Falck-Ytter, Y., Meerpohl, J., & Norris, S. (2011). GRADE guidelines: 3. Rating the
      quality of evidence. JOURNAL OF CLINICAL EPIDEMIOLOGY 64(4), 401–406.

Becerra-Culqui, T. et. al. (2018). Mental Health of Transgender and Gender Nonconforming
      Youth Compared with Their Peers. PEDIATRICS 141(5).

Bhargava, A., et al. (2021). Considering Sex as a Biological Variable in Basic and Clinical
     Studies: An Endocrine Society Scientific Statement. ENDOCRINE REVIEWS 42(3) 219-
     158.

Biggs, M. (2021). Revisiting the effect of GnRH analogue treatment on bone mineral density in
      young adolescents with gender dysphoria. JOURNAL OF PEDIATRIC ENDOCRINOLOGY AND
      METABOLISM 34(7), 937-939.




                                            - 72 -
                                                                                  Armistead App. 0353



Biggs, M. (2022a). Estrogen is Associated with Greater Suicidality among Transgender Males,
      and Puberty Suppression is not Associated with Better Mental Health Outcomes for
      Either Sex. Journals.plos.org/plosone/article/comment?id=10.1371/annotation/dcc6a58e-
      592a-49d4-9b65-ff65df2aa8f6.

Biggs, M. (2022b). Suicide by Clinic-Referred Transgender Adolescents in the United Kingdom.
      ARCHIVES OF SEXUAL BEHAVIOR. Doi.org/10.1007/s10508-022-02287-7.

Blakemore, S., Burnett, S., and Dahl, R. (2010). The Role of Puberty in the Developing
     Adolescent Brain. HUMAN BRAIN MAPPING 31:926.933.

Boyd, I., Hackett, T. &, Bewley, S. (2022).. Care of Transgender Patients: A General Practice
      Quality Improvement Approach. HEALTHCARE. 10(1):121.

Bränström, R., & Pachankis, J. E. (2020a). Reduction in Mental Health Treatment Utilization
      Among Transgender Individuals After Gender-Affirming Surgeries: A Total Population
      Study. AMERICAN JOURNAL OF PSYCHIATRY 177(8) 727–734.

Bränström, R., & Pachankis, J. E. (2020b). Correction to Bränström and Pachankis. (2020).
      AMERICAN JOURNAL OF PSYCHIATRY, 177(8), 734–734.
      https://doi.org/10.1176/appi.ajp.2020.1778correction

Brik, T. et al. (2020). Trajectories of Adolescents Treated with Gonadotropin-Releasing
       Hormone Analogues for Gender Dysphoria. ARCHIVES OF SEXUAL BEHAVIOR.
       https://doi.org/10.1007/s10508-020-01660-8.

Cantor, J. (2019). Transgender and Gender Diverse Children and Adolescents: Fact-Checking
      of AAP Policy. JOURNAL OF SEX & MARITAL THERAPY, 46(4), 307–313.

Carmichael, P., Butler, G., Masic, U., Cole, T. J., De Stavola, B. L., Davidson, S., Skageberg, E.
     M., Khadr, S., & Viner, R. M. (2021). Short-term outcomes of pubertal suppression in a
     selected cohort of 12- to 15-year-old young people with persistent gender dysphoria in
     the UK. PLOS ONE, 16(2), e0243894.

Cohen-Kettenis, P. and Kuiper, B. (1984). Transsexuality and Psychotherapy. TIJDSCHRIFT
     VOOR PSYCHOTHERAPIE 10 (153-166).

Cohen-Kettenis, P. T., Delemarre-van de Waal, H. A., & Gooren, L. J. G. (2008). The treatment
     of adolescent transsexuals: Changing insights. THE JOURNAL OF SEXUAL MEDICINE, 5(8),
     1892–1897.

D’Angelo, R. (2018). Psychiatry’s ethical involvement in gender-affirming care.
     AUSTRALASIAN PSYCHIATRY 26(5), 460–463.




                                             - 73 -
                                                                                 Armistead App. 0354



D’Angelo, R., Syrulnik, El, Ayad, S., Marchiano, L., Kenny, D.T., & Clarke, P. (2021). One
     Size Does Not Fit All: In Support of Psychotherapy for Gender Dysphoria. ARCHIVES OF
     SEXUAL BEHAVIOR 50(1) 7-16.

Davis, L. (2022). A Trans Pioneer Explains Her Resignation from the US Professional
      Association for Transgender Health. QUILETTE. Accessed February 1, 2022.
      https://quillette.com/2022/01/06/a-transgender-pioneer-explains-why-she-stepped-down-
      from-uspath-and-wpath/

de Vries, A. L. C. (2020). Challenges in Timing Puberty Suppression for Gender-
      Nonconforming Adolescents. PEDIATRICS 146(4), e2020010611.

Dhejne, C., Lichtenstein, P., Boman, M., Johansson, A. L. V., Långström, N., & Landén, M.
     (2011). Long-Term Follow-Up of Transsexual Persons Undergoing Sex Reassignment
     Surgery: Cohort Study in Sweden. PLoS ONE 6(2), e16885.

Dhejne, C., Öberg, K., Arver, S., & Landén, M. (2014). An Analysis of All Applications for Sex
     Reassignment Surgery in Sweden, 1960–2010: Prevalence, Incidence, and Regrets.
     ARCHIVES OF SEXUAL BEHAVIOR, 43(8), 1535–1545.

Dreger, A. (2015) Galileo's Middle Finger: Heretics, Activists, and One Scholar's Search for
      Justice Paperback. PENGUIN BOOKS.

Edwards-Leeper, L. and Anderson, E. (November 24, 2021). The Mental Health Establishment
     is Failing Trans Kids. THE WASHINGTON POST. Accessed February 1, 2022.
     https://www.washingtonpost.com/outlook/2021/11/24/trans-kids-therapy-psychologist/

Edwards-Leeper, L. et al. (2017). Psychological Profile of the First Sample of Transgender
     Youth Presenting for Medical Intervention in a U.S. Pediatric Gender Center.
     PSYCHOLOGY OF SEXUAL ORIENTATION AND GENDER DIVERSITY 4(3) 374.

Ehrensaft , B.(2015). Listening and Learning from Gender-Nonconforming Children. THE
      PSYCHOANALYTIC STUDY OF THE CHILD 68(1) 28.

Entwistle, K. (2020). Debate: Reality check – Detransitioners’ testimonies require us to rethink
      gender dysphoria. CHILD AND ADOLESCENT MENTAL HEALTH camh.12380.

Evans, M. and Evans, S. (2021). Psychotherapy of Gender Dysphoria of Children and Young
      Adults. PHOENIX PUBLICATION, UK.

Expósito-Campos, P. (2021). A Typology of Gender Detransition and Its Implications for
     Healthcare Providers. JOURNAL OF SEX & MARITAL THERAPY.
     https://doi.org/10.1080/0092623X.2020.1869126.




                                             - 74 -
                                                                               Armistead App. 0355



Frigerio, A. et al. (2021). Structural, Functional, and Metabolic Brain Differences as a
       Function of Gender Identity or Sexual Orientation: A Systematic Review of the Human
       Neuroimaging Literature. ARCHIVES OF SEXUAL BEHAVIOR 50:3329-3352.

Getahun, D., Nash, R., Flanders, W. D., Baird, T. C., Becerra-Culqui, T. A., Cromwell, L.,
     Hunkeler, E., Lash, T. L., Millman, A., Quinn, V. P., Robinson, B., Roblin, D.,
     Silverberg, M. J., Safer, J., Slovis, J., Tangpricha, V., & Goodman, M. (2018). Cross-sex
     Hormones and Acute Cardiovascular Events in Transgender Persons: A Cohort Study.
     ANNALS OF INTERNAL MEDICINE, 169(4), 205.

Gender Identity Development Service of the NHS (2019). Referrals to the Gender Identity
     Development Service (GIDS) Level Off in 2018-19.
     https://tavistockandportman.nhg.uk/about-us/news/stories/referrals-gender-identity-
     development-service-gids-level-2018-19.

Ghorayshi, A. (2022, January 13). Doctors Debate Whether Trans Teens Need Therapy Before
     Hormones. THE NEW YORK TIMES. Accessed February 1, 2022.
     https://www.nytimes.com/2022/01/13/health/transgender-teens-hormones.html.

Griffin, L., Clyde, K., Byng, R., & Bewley, S. (2021). Sex, Gender and Gender Identity: A Re-
       evaluation of the Evidence. BJPSYCH BULLETIN, 45(5), 291-299.

Guss, C. et al. (2015). Transgender and Gender Nonconforming Adolescent Care:
      Psychosocial and Medical Considerations. CURRENT OPINIONS IN PEDIATRICS 26(4) 421.

Hall, R., Mitchell, L., & Sachdeva, J. (2021). Access to care and frequency of detransition
       among a cohort discharged by a UK national adult gender identity clinic: Retrospective
       case-note review. BJPSYCH OPEN, 7(6), e184.

Haupt, C. et al. (2020). Antiandrogen or Estradiol Treatment or Both During Hormone Therapy
      in Transitioning Transgender Women (Review). COCHRANE DATABASE OF SYSTEMATIC
      REVIEWS 11. DOI: 10.1002/14651858.CD013138.pub2.

Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L., Hannema, S. E., Meyer, W. J., Murad, M.
     H., Rosenthal, S. M., Safer, J. D., Tangpricha, V., & T’Sjoen, G. G. (2017). Endocrine
     Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society*
     Clinical Practice Guideline. THE JOURNAL OF CLINICAL ENDOCRINOLOGY &
     METABOLISM 102(11), 3869–3903.

Hruz, P. (2020). Deficiencies in Scientific Evidence for Medical Management of Gender
      Dysphoria. THE LINACRE QUARTERLY 87(1):34-42.

Johns, M. M., Lowry, R., Andrzejewski, J., Barrios, L. C., Demissie, Z., McManus, T.,
      Rasberry, C. N., Robin, L., & Underwood, J. M. (2019). Transgender Identity and
      Experiences of Violence Victimization, Substance Use, Suicide Risk, and Sexual Risk


                                            - 75 -
                                                                                  Armistead App. 0356



      Behaviors Among High School Students—19 States and Large Urban School Districts,
      2017. MORBIDITY AND MORTALITY WEEKLY REPORT 68(3) 67–71.

Joseph, T., Ting, J., & Butler, G. (2019). The effect of GnRH analogue treatment on bone
      mineral density in young adolescents with gender dysphoria: findings from a large
      national cohort. JOURNAL OF PEDIATRIC ENDOCRINOLOGY METABOLISM 32(10):1077-
      1081.

Kaltiala-Heino, R., Bergman, H., Työläjärvi, M., & Frisen, L. (2018). Gender dysphoria in
       adolescence: Current perspectives. ADOLESCENT HEALTH, MEDICINE AND THERAPEUTICS
       9 (31–41).

Kaltiala-Heino, R., Sumia, M., Työläjärvi, M., & Lindberg, N. (2015). Two years of gender
       identity service for minors: Overrepresentation of natal girls with severe problems in
       adolescent development. CHILD AND ADOLESCENT PSYCHIATRY AND MENTAL HEALTH,
       9(1), 9.

Kendler K. S. (2019). From Many to One to Many-the Search for Causes of Psychiatric Illness.
     JAMA PSYCHIATRY, 76(10) 1085–1091.

Kidd, K. M., Sequeira, G. M., Douglas, C., Paglisotti, T., Inwards-Breland, D. J., Miller, E., &
      Coulter, R. W. S. (2021). Prevalence of Gender-Diverse Youth in an Urban School
      District. PEDIATRICS, 147(6) e2020049823.

Klink, D. et al. (2015). Bone mass in young adulthood following gonadotropin-releasing
      hormone analog treatment and cross-sex hormone treatment in adolescents with gender
      dysphoria. JOURNAL OF CLINICAL ENDOCRINOLOGY METABOLIAM 100(2):E270-5.

Kozlowska, K., Chudleigh, C., McClure, G., Maguire, A. M., & Ambler, G. R. (2021).
     Attachment Patterns in Children and Adolescents with Gender Dysphoria. FRONTIERS IN
     PSYCHOLOGY 11. https://doi.org/10.3389/fpsyg.2020.582688.

Laidlaw, M. K., Van Meter, Q. L., Hruz, P. W., Van Mol, A., & Malone, W. J. (2019). Letter to
      the Editor: "Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An
      Endocrine Society Clinical Practice Guideline". THE JOURNAL OF CLINICAL
      ENDOCRINOLOGY AND METABOLISM. 104(3), 686–687.


Landén, M. (2020). The Effect of Gender-Affirming Treatment on Psychiatric Morbidity Is Still
     Undecided. AMERICAN JOURNAL OF PSYCHIATRY. 177(8):767-768.

Levine, S. (2013). Barriers to Loving: A Clinician’s Perspective. (Routledge, New York
      2013).

Levine, S. (2016). Reflections on the Legal Battles Over Prisoners with Gender Dysphoria.
      JOURNAL OF THE AMERICAN ACADEMY OF PSYCHIATRY LAW 44, 236.


                                             - 76 -
                                                                                 Armistead App. 0357




Levine, S. (2017). Ethical Concerns About Emerging Treatment Paradigms for Gender
      Dysphoria. JOURNAL OF SEX & MARITAL THERAPY at 7. DOI:
      10.1080/0092623X.2017.1309482.

Levine, S. (2019). Informed Consent for Transgender Patients, JOURNAL OF SEX & MARITAL
      THERAPY 45(3):218-229.

Levine, S. (2021). Reflections on the Clinician’s Role with Individuals Who Self-identify as
      Transgender. ARCHIVES OF SEXUAL BEHAVIOR. https://doi.org/10.1007/s10508-021-
      02142-1

Lichtenstein M, Stein L, Connolly E, Goldstein ZG, Martinson T, Tiersten L, Shin SJ, Pang JH,
      Safer JD (2020). The Mount Sinai patient-centered preoperative criteria meant to
      optimize outcomes are less of a barrier to care than WPATH SOC 7 criteria before
      transgender-specific surgery. TRANSGENDER HEALTH 5:3, 166–172.

Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a
      rapid onset of gender dysphoria. PLoS ONE 13(8): e0202330.

Littman, L. (2021). Individuals Treated for Gender Dysphoria with Medical and/or Surgical
      Transition Who Subsequently Detransitioned: A Survey of 100 Detransitioners.
      ARCHIVES OF SEXUAL BEHAVIOR. https://doi.org/10.1007/s10508-021-02163-w

Malone, W., Hruz, P., Mason, J., Beck, S., (2021). Letter to the Editor from William J. Malone
     et al: “Proper Care of Transgender and Gender-diverse Persons in the Setting of
     Proposed Discrimination: A Policy Perspective”. THE JOURNAL OF CLINICAL
     ENDOCRINOLOGY & METABOLISM Volume 106, Issue 8, August 2021, Pages e3287–
     e3288.

Marchiano, L. (2021). Gender detransition: a case study. JOURNAL OF ANALYTICAL
     PSYCHOLOGY. 66:813– 832.

Meyer-Bahlburg H. F. (2005). Gender identity outcome in female-raised 46,XY persons with
     penile agenesis, cloacal exstrophy of the bladder, or penile ablation. ARCHIVES OF
     SEXUAL BEHAVIOR, 34(4), 423–438.


National Institute for Health and Care Excellence (2021a). Evidence review: Gonadotrophin
      releasing hormone analogues for children and adolescents with gender dysphoria.
      https://arms.nice.org.uk/resources/hub/1070905/attachment

National Institute for Health and Care Excellence. (2021b). Evidence review: Gender-affirming
      hormones for children and adolescents with gender dysphoria.
      https://arms.nice.org.uk/resources/hub/1070871/attachment


                                             - 77 -
                                                                                Armistead App. 0358




National Institutes of Health. NIH Policy and Guidelines on The Inclusion of Women and
      Minorities as Subjects in Clinical Research. Notice Number NOT-OD-02-001 released
      10-09-2001. https://grants.nih.gov/policy/inclusion/women-and-
      minorities/guidelines.htm

National Institutes of Health. Consideration of Sex as a Biological Variable in NIH-Funded
      Research. Notice Number NOT-OD-15-102 released 06-09-2015.
      https://grants.nih.gov/grants/guide/notice-files/NOT-OD-15-102.html

National Institutes of Health, Office of Research on Women’s Health. How Sex and Gender
      Influence Health and Disease. Downloaded 2-11-2022
      https://orwh.od.nih.gov/sites/orwh/files/docs/SexGenderInfographic_11x17_508.pdf.

Newcomb, M. et al. (2020). High Burden of Mental Health Problems, Substance Use, Violence,
     and Related Psychosocial Factors in Transgender, Non-Binary, and Gender Diverse
     Youth and Young Adults. ARCHIVES OF SEXUAL BEHAVIOR 49(2) 645-659.

Reiner, W. G., & Gearhart, J. P. (2004). Discordant sexual identity in some genetic males with
      cloacal exstrophy assigned to female sex at birth. THE NEW ENGLAND JOURNAL OF
      MEDICINE 350(4), 333–341.


Reisner, S. et al. (2015), Mental Health of Transgender Youth in Care at an Adolescent Urban
      Community Health Center: A Matched Retrospective Cohort Study, JOURNAL OF
      ADOLESCENT HEALTH 56(3) at 6.

Rider, G. et al. (2018), Health and Care Utilization of Transgender/Gender Non-Conforming
       Youth: A Population Based Study. PEDIATRICS at 4, DOI: 10.1542/peds.2017-1683.

Ristori, J., & Steensma, T. D. (2016). Gender dysphoria in childhood. INTERNATIONAL REVIEW
       OF PSYCHIATRY, 28(1), 13–20.


Royal Australian and New Zealand College of Psychiatrists. (2021) Statement: Recognising and
      addressing the mental health needs of people experiencing Gender Dysphoria / Gender
      Incongruence. https://www.ranzcp.org/news-policy/policy-and-advocacy/position-
      statements/gender-dysphoria

Saraswat, A. et al. (2015). Evidence Supporting the Biologic Nature of Gender Identity.
      ENDOCRINE PRACTICE 21(2) 199.

Schneider, M. et al. (2017). Brain Maturation, Cognition and Voice Pattern in a Gender
      Dysphoria Case Under Pubertal Suppression. FRONTIERS IN HUMAN NEUROSCIENCE
      11:528.



                                            - 78 -
                                                                                Armistead App. 0359



Shumer, D. & Tishelman, A. (2015). The Role of Assent in the Treatment of Transgender
     Adolescents, INTERNATIONAL JOURNAL OF TRANSGENDERISM at 1. DOI:
     10.1080/15532739.2015.1075929.

Shumer, D. et al. (2016), Evaluation of Asperger Syndrome in Youth Presenting to a Gender
     Dysphoria Clinic, LGBT HEALTH 3(5) 387.

Shumer, D. et al. (2017), Overrepresentation of Adopted Adolescents at a Hospital-Based
     Gender Dysphoria Clinic, TRANSGENDER HEALTH Vol. 2(1) 76.

Simonsen, R.K. et al. (2016), Long-Term Follow-Up of Individuals Undergoing Sex
     Reassignment Surgery: Psychiatric Morbidity & Mortality, NORDIC JOURNAL OF
     PSYCHIATRY 70(4).

Singh, D., Bradley, S. J., & Zucker, K. J. (2021). A Follow-Up Study of Boys with Gender
      Identity Disorder. FRONTIERS IN PSYCHIATRY, 12.
      https://doi.org/10.3389/fpsyt.2021.632784

Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T.
      (2013). Factors Associated with Desistence and Persistence of Childhood Gender
      Dysphoria: A Quantitative Follow-Up Study. JOURNAL OF THE AMERICAN ACADEMY OF
      CHILD & ADOLESCENT PSYCHIATRY, 52(6), 582–590.

Thoma, B. et al. (2021). Disparities in Childhood Abuse Between Transgender and Cisgender
     Adolescents. PEDIATRICS 148(2).

Tishelman, A. C., Kaufman, R., Edwards-Leeper, L., Mandel, F. H., Shumer, D. E., & Spack,
      N. P. (2015). Serving Transgender Youth: Challenges, Dilemmas and Clinical Examples.
      PROFESSIONAL PSYCHOLOGY, RESEARCH AND PRACTICE 46(1), 37–45.

Toomey R. B., Syvertsen A. K., Shramko M. (2018). Transgender Adolescent Suicide
     Behavior. PEDIATRICS.142(4):e20174218.

Turban, J. L., King, D., Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal Suppression for
     Transgender Youth and Risk of Suicidal Ideation. PEDIATRICS 145(2), e20191725..

Vandenbussche, E. (2021). Detransition-Related Needs and Support: A Cross-Sectional Online
     Survey. JOURNAL OF HOMOSEXUALITY 20.
     https://doi.org/10.1080/00918369.2021.1919479.

van der Miesen, A. I. R., Cohen-Kettenis, P. T., & de Vries, A. L. C. (2018). Is There a Link
      Between Gender Dysphoria and Autism Spectrum Disorder? JOURNAL OF THE AMERICAN
      ACADEMY OF CHILD & ADOLESCENT PSYCHIATRY 57(11), 884–885.



                                            - 79 -
                                                                                 Armistead App. 0360



van der Miesen, A. I. R. et al. (2020). Psychological Functioning in Transgender Adolescents
      Before and After Gender-Affirmative Care Compared With Cisgender General
      Population Peers. JOURNAL OF ADOLESCENT HEALTH, Volume 66, Issue 6, 699-704.

Vlot, M. et al. (2016). Effect of pubertal suppression and cross-sex hormone therapy on bone
      turnover markers and bone mineral apparent density (BMAD) in transgender
      adolescents. BONE 95:11-19.

Wiepjes, C. M., Nota, N. M., de Blok, C. J. M., Klaver, M., de Vries, A. L. C., Wensing-
     Kruger, S. A., de Jongh, R. T., Bouman, M.-B., Steensma, T. D., Cohen-Kettenis, P.,
     Gooren, L. J. G., Kreukels, B. P. C., & den Heijer, M. (2018). The Amsterdam Cohort of
     Gender Dysphoria Study (1972–2015): Trends in Prevalence, Treatment, and Regrets.
     THE JOURNAL OF SEXUAL MEDICINE, 15(4), 582–590.

Wiepjes, C. M., den Heijer, M., Bremmer, M. A., Nota, N. M., Blok, C. J. M., Coumou, B. J.
     G., & Steensma, T. D. (2020). Trends in suicide death risk in transgender people: Results
     from the Amsterdam Cohort of Gender Dysphoria study (1972–2017). ACTA
     PSYCHIATRICA SCANDINAVICA 141(6) 486–491.

World Health Organization. Gender and Health. https://www.who.int/health-
     topics/gender#tab=tab_1. Downloaded 2-11-2022.

World Health Organization (2019). International statistical classification of diseases and
     related health problems (11th ed.). https://icd.who.int/.

WPATH De-Psychopathologisation Statement (May 26, 2010), available at wpath.org/policies
    (last accessed January 21, 2020).

Zucker, K. (2018). The myth of persistence: Response to “A critical commentary on follow-up
     studies and ‘desistance’ theories about transgender and gender non-conforming
     children” by Temple Newhook et al. (2018). INTERNATIONAL JOURNAL OF
     TRANSGENDERISM 19(2) 231–245.

Zucker, K. (2019). Adolescents with Gender Dysphoria: Reflections on Some Contemporary
     Clinical and Research Issues. ARCHIVES OF SEXUAL BEHAVIOR 48(7) 1983–1992.

Zucker, K. (2020). Different strokes for different folks. CHILD ADOLESC MENT HEALTH
     25(1): 36–37. https://doi: 10.1111/camh.12330.




                                             - 80 -
                       Armistead App. 0361




LEVINE EXPERT REPORT

     EXHIBIT A




        - 81 -
                                                                               Armistead App. 0362




Stephen B. Levine, M.D.                                                  Curriculum Vita
                                                                         February, 2022

Brief Introduction
        Dr. Levine is Clinical Professor of Psychiatry at Case Western Reserve University
School of Medicine. He is the author or coauthor of numerous books on topics relating to human
sexuality and related relationship and mental health issues. Dr. Levine has been teaching,
providing clinical care, and writing since 1973, and has generated original research, invited
papers, commentaries, chapters, and book reviews. He has served as a journal manuscript and
book prospectus reviewer for many years. Dr. Levine has been co-director of the Center for
Marital and Sexual Health/ Levine, Risen & Associates, Inc. in Beachwood, Ohio from 1992 to
the present. He received a lifetime achievement Masters and Johnson’s Award from the Society
for Sex Therapy and Research in March 2005.
Personal Information
   Date of birth 1/14/42
   Medical license no. Ohio 35-03-0234-L
   Board Certification 6/76 American Board of Neurology and Psychiatry
Education
   1963 BA Washington and Jefferson College
   1967 MD Case Western Reserve University School of Medicine
   1967-68 internship in Internal Medicine University Hospitals of Cleveland
   1968-70 Research associate, National Institute of Arthritis and Metabolic Diseases,
   Epidemiology Field Studies Unit, Phoenix, Arizona, United States Public Health Service
   1970-73 Psychiatric Residency, University Hospitals of Cleveland
   1974-77 Robert Wood Johnson Foundation Clinical Scholar
Appointments at Case Western Reserve University School of Medicine
   1973- Assistant Professor of Psychiatry
   1979- Associate Professor
   1982- Awarded tenure
   1985- Full Professor
   1993- Clinical Professor




Page 1 of 22
                                                                                Armistead App. 0363



Honors
   Summa Cum Laude, Washington & Jefferson
   Teaching Excellence Award-1990 and 2010 (Residency program)
   Visiting Professorships
       x       Stanford University-Pfizer Professorship program (3 days)–1995
       x       St. Elizabeth’s Hospital, Washington, DC –1998
       x       St. Elizabeth’s Hospital, Washington, DC--2002
   Named to America’s Top Doctors consecutively since 2001
   Invitations to present various Grand Rounds at Departments of Psychiatry and Continuing
   Education Lectures and Workshops
   Masters and Johnson Lifetime Achievement Award from the Society of Sex Therapy and
   Research, April 2005 along with Candace Risen and Stanley Althof
   2006 SSTAR Book Award for The Handbook of Clinical Sexuality for Mental Health
   Professionals: Exceptional Merit
   2018—Albert Marquis Lifetime Achievement Award from Marquis Who’s Who. (Exceling
   in one’s field for at least twenty years)
Professional Societies
   1971- American Psychiatric Association; fellow; #19909
   2005- American Psychiatric Association, Distinguished Life Fellow
   1973- Cleveland Psychiatric Society
   1973- Cleveland Medical Library Association
       x       1985 - Life Fellow
       x       2003 - Distinguished Life Fellow
   1974-Society for Sex Therapy and Research
       x       1987-89-President
   1983- International Academy of Sex Research
   1983- Harry Benjamin International Gender Dysphoria Association
       x       1997-8 Chairman, Standards of Care Committee
   1994- 1999 Society for Scientific Study of Sex




Page 2 of 22
                                                                              Armistead App. 0364



Community Boards
   1999-2002 Case Western Reserve University Medical Alumni Association
   1996-2001 Bellefaire Jewish Children’s Bureau
   1999-2001 Physicians’ Advisory Committee, The Gathering Place (cancer rehabilitation)
Editorial Boards
   1978-80 Book Review Editor Journal Sex and Marital Therapy
   Manuscript Reviewer for:
          a. Archives of Sexual Behavior
          b. Annals of Internal Medicine
          c. British Journal of Obstetrics and Gynecology
          d. JAMA
          e. Diabetes Care
          f. American Journal of Psychiatry
          g. Maturitas
          h. Psychosomatic Medicine
          i. Sexuality and Disability
          j. Journal of Nervous and Mental Diseases
          k. Journal of Neuropsychiatry and Clinical Neurosciences
          l. Neurology
          m. Journal Sex and Marital Therapy
          n. Journal Sex Education and Therapy
          o. Social Behavior and Personality: an international journal (New Zealand)
          p. International Journal of Psychoanalysis
          q. International Journal of Transgenderism
          r. Journal of Urology
          s. Journal of Sexual Medicine
          t. Current Psychiatry
          u. International Journal of Impotence Research
          v. Postgraduate medical journal
          w. Academic Psychiatry


Page 3 of 22
                                                                                  Armistead App. 0365



   Prospectus Reviewer
          a. Guilford
          b. Oxford University Press
          c. Brunner/Routledge
          d. Routledge
Administrative Responsibilities
   Principal Investigator of approximately 70 separate studies involving pharmacological
   interventions for sexual dysfunction since 1989.
   Co-leader of case conferences at DELRLLC.com
Expert testimony at trial or by deposition within the last 4 years
   Provided expert testimony for Massachusetts Dept. of Corrections in its defense of a lawsuit
   brought by prisoner Katheena Soneeya, including by deposition in October 2018, and in-
   court testimony in 2019.
   Provided expert testimony by deposition and at trial in In the Interests of the Younger
   Children (Dallas, TX), 2019.
   Testified in an administrative hearing in In the matter of Rhys & Lynn Crawford (Washington
   State), March 2021.
   Testified multiple times in juvenile court in In the matter of Asha Kerwin (Tucson, Arizona),
   2021.
   Provided expert testimony by deposition in Kadel et al v. Folwell et al. (North Carolina),
   2021.
Consultancies
   Massachusetts Department of Corrections—evaluation of 12 transsexual prisoners and the
   development of a Gender Identity Disorders Program for the state prison system. Monthly
   consultation with the GID treatment team since February 2009 and the GID policy committee
   since February 2010.
   California Department of Corrections and Rehabilitation; 2012-2015; education, inmate
   evaluation, commentary on inmate circumstances, suggestions on future policies.
   Virginia Department of Corrections –evaluation of an inmate.
   New Jersey Department of Corrections—evaluation of an inmate.
   Idaho Department of Corrections—workshop 2016.
Grant Support/Research Studies
   TAP–studies of Apomorphine sublingual in treatment of erectile dysfunction.


Page 4 of 22
                                                                                 Armistead App. 0366



   Pfizer–Sertraline for premature ejaculation.
   Pfizer–Viagra and depression; Viagra and female sexual dysfunction; Viagra as a treatment
   for SSRI-induced erectile dysfunction.
   NIH- Systemic lupus erythematosis and sexuality in women.
   Sihler Mental Health Foundation
          a. Program for Professionals
          b. Setting up of Center for Marital and Sexual Health
          c. Clomipramine and Premature ejaculation
          d. Follow-up study of clergy accused of sexual impropriety
          e. Establishment of services for women with breast cancer
   Alza–controlled study of a novel SSRI for rapid ejaculation.
   Pfizer–Viagra and self-esteem.
   Pfizer- double-blind placebo control studies of a compound for premature ejaculation.
   Johnson & Johnson – controlled studies of Dapoxetine for rapid ejaculation.
   Proctor and Gamble: multiple studies to test testosterone patch for post menopausal sexual
   dysfunction for women on and off estrogen replacement.
   Lilly-Icos—study of Cialis for erectile dysfunction.
   VIVUS – study for premenopausal women with FSAD.
   Palatin Technologies- studies of bremelanotide in female sexual dysfunction—first intranasal
   then subcutaneous administration.
   Medtap – interview validation questionnaire studies.
   HRA- quantitative debriefing study for Female partners os men with premature ejaculation,
   Validation of a New Distress Measure for FSD.
   Boehringer-Ingelheim- double blind and open label studies of a prosexual agent for
   hypoactive female sexual desire disorder.
   Biosante- studies of testosterone gel administration for post menopausal women with HSDD.
   J&J a single-blind, multi-center, in home use study to evaluate sexual enhancement effects of
   a product in females.
   UBC-Content validity study of an electronic FSEP-R and FSDS-DAO and usability of study
   PRO measures in premenopausal women with FSAD, HSDD or Mixed FSAD/HSDD.
   National registry trial for women with HSDD.
   Endoceutics—two studies of DHEA for vaginal atrophy and dryness in post menopausal
   women.

Page 5 of 22
                                                                                     Armistead App. 0367



   Palatin—study of SQ Bremelanotide for HSDD and FSAD.
   Trimel- a double-blind, placebo controlled study for women with acquired female orgasmic
   disorder.
   S1 Biopharma- a phase 1-B non-blinded study of safety, tolerability and efficacy of Lorexys
   in premenopausal women with HSDD.
   HRA – qualitative and cognitive interview study for men experiencing PE.
Publications
          A) Books
               1)    Pariser SR, Levine SB, McDowell M (eds.), Clinical Sexuality, Marcel
               Dekker, New York, 1985
               2)     Sex Is Not Simple, Ohio Psychological Publishing Company, 1988;
               Reissued in paperback as: Solving Common Sexual Problems: Toward a Problem
               Free Sexual Life, Jason Aronson, Livingston, NJ. 1997
               3)     Sexual Life: A Clinician’s Guide. Plenum Publishing Corporation. New
               York, 1992
               4)        Sexuality in Midlife. Plenum Publishing Corporation. New York, 1998
               5)    Editor, Clinical Sexuality. Psychiatric Clinics of North America, March,
               1995.
               6)     Editor, (Candace Risen and Stanley Althof, associate editors) Handbook of
               Clinical Sexuality for Mental Health Professionals. Routledge, New York, 2003
                    1.    2006 SSTAR Book Award: Exceptional Merit
               7)     Demystifying Love: Plain Talk For The Mental Health Professional.
               Routledge, New York, 2006
               8)     Senior editor, (Candace B. Risen and Stanley E. Althof, Associate editors),
               Handbook of Clinical Sexuality for Mental Health Professionals, 2nd edition.
               Routledge, New York, 2010.
               9)        Barriers to Loving: A Clinician’s Perspective. Routledge, New York, 2014.
               10)    Senior editor Candace B. Risen and Stanley E. Althof, Associate editors),
               Handbook of Clinical Sexuality for Mental Health Professionals. 3rd edition
               Routledge, New York, 2016
          B) Research and Invited Papers
                When his name is not listed in a citation, Dr. Levine is either the solo or the senior
author.
               1)    Sampliner R. Parotid enlargement in Pima Indians. Annals of Internal
               Medicine 1970; 73:571-73


Page 6 of 22
                                                                                    Armistead App. 0368



               2)     Confrontation and residency activism: A technique for assisting residency
               change: World Journal of Psychosynthesis 1974; 6: 23-26
               3)     Activism and confrontation: A technique to spur reform. Resident and Intern
               Consultant 173; 2
               4)    Medicine and Sexuality. Case Western Reserve Medical Alumni Bulletin
               1974:37:9-11.
               5)     Some thoughts on the pathogenesis of premature ejaculation. J. Sex &
               Marital Therapy 1975; 1:326-334
               6)    Marital Sexual Dysfunction: Introductory Concepts. Annals of Internal
               Medicine 1976;84:448-453
               7)     Marital Sexual Dysfunction: Ejaculation Disturbances 1976; 84:575-579
               8)     Yost MA: Frequency of female sexual dysfunction in a gynecology clinic:
               An epidemiological approach. Archives of Sexual Behavior 1976;5:229-238
               9)     Engel IM, Resnick PJ, Levine SB: Use of programmed patients and
               videotape in teaching medical students to take a sexual history. Journal of Medical
               Education 1976;51:425-427
               10)   Marital Sexual Dysfunction: Erectile dysfunction. Annals of Internal
               Medicine 1976;85:342-350
               11)    Male Sexual Problems. Resident and Staff Physician 1981:2:90-5
               12)    Female Sexual Problems. Resident and Staff Physician 1981:3:79-92
               13)    How can I determine whether a recent depression in a 40 year old married
               man is due to organic loss of erectile function or whether the depression is the
               source of the dysfunction? Sexual Medicine Today 1977;1:13
               14)   Corradi RB, Resnick PJ Levine SB, Gold F. For chronic psychologic
               impotence: sex therapy or psychotherapy? I & II Roche Reports; 1977
               15)    Marital Sexual Dysfunction: Female dysfunctions 1977; 86:588-597
               16)    Current problems in the diagnosis and treatment of psychogenic impotence.
               Journal of Sex & Marital Therapy 1977;3:177-186
               17)    Resnick PJ, Engel IM. Sexuality curriculum for gynecology residents.
               Journal of Medical Education 1978; 53:510-15
               18)   Agle DP. Effectiveness of sex therapy for chronic secondary psychological
               impotence Journal of Sex & Marital Therapy 1978;4:235-258
               19)     DePalma RG, Levine SB, Feldman S. Preservation of erectile function after
               aortoiliac reconstruction. Archives of Surgery 1978;113-958-962
               20)   Conceptual suggestions for outcome research in sex therapy Journal of Sex
               & Marital Therapy 1981;6:102-108

Page 7 of 22
                                                                                    Armistead App. 0369



               21)   Lothstein LM. Transsexualism or the gender dysphoria syndrome. Journal of
               Sex & Marital Therapy 1982; 7:85-113
               22)     Lothstein LM, Levine SB. Expressive psychotherapy with gender dysphoria
               patients Archives General Psychiatry 1981; 38:924-929
               23)    Stern RG Sexual function in cystic fibrosis. Chest 1982; 81:422-8
               24)    Shumaker R. Increasingly Ruth: Towards understanding sex reassignment
               surgery Archives of Sexual Behavior 1983;12:247-61
               25)    Psychiatric diagnosis of patients requesting sex reassignment surgery.
               Journal of Sex & Marital Therapy 1980; 6:164-173
               26)    Problem solving in sexual medicine I. British Journal of Sexual Medicine
               1982;9:21-28
               27)    A modern perspective on nymphomania. Journal of Sex & Marital Therapy
               1982;8:316-324
               28)    Nymphomania. Female Patient 1982;7:47-54
               29)     Commentary on Beverly Mead’s article: When your patient fears impotence.
               Patient Care 1982;16:135-9
               30)    Relation of sexual problems to sexual enlightenment. Physician and Patient
               1983 2:62
               31)    Clinical overview of impotence. Physician and Patient 1983; 8:52-55.
               32)    An analytical approach to problem-solving in sexual medicine: a clinical
               introduction to the psychological sexual dysfunctions. II. British Journal of Sexual
               Medicine
               33)     Coffman CB, Levine SB, Althof SE, Stern RG Sexual Adaptation among
               single young adults with cystic fibrosis. Chest 1984;86:412-418
               34)    Althof SE, Coffman CB, Levine SB. The effects of coronary bypass in
               female sexual, psychological, and vocational adaptation. Journal of Sex & Marital
               Therapy 1984;10:176-184
               35)   Letter to the editor: Follow-up on Increasingly Ruth. Archives of Sexual
               Behavior 1984;13:287-9
               36)    Essay on the nature of sexual desire Journal of Sex & Marital Therapy 1984;
               10:83-96
               37)    Introduction to the sexual consequences of hemophilia. Scandanavian
               Journal of Haemology 1984; 33:(supplement 40).75-
               38)    Agle DP, Heine P. Hemophila and Acquired Immune Deficiency Syndrome:
               Intimacy and Sexual Behavior. National Hemophilia Foundation; July, 1985
               39)    Turner LA, Althof SE, Levine SB, Bodner DR, Kursh ED, Resnick MI.

Page 8 of 22
                                                                                    Armistead App. 0370



               External vacuum devices in the treatment of erectile dysfunction: a one-year study
               of sexual and psychosocial impact. Journal of Sex & Marital Therapy
               40)     Schein M, Zyzanski SJ, Levine SB, Medalie JH, Dickman RL, Alemagno
               SA. The frequency of sexual problems among family practice patients. Family
               Practice Research Journal 1988; 7:122-134
               41)   More on the nature of sexual desire. Journal of Sex & Marital Therapy
               1987;13:35-44
               42)    Waltz G, Risen CB, Levine SB. Antiandrogen treatment of male sex
               offenders. Health Matrix 1987; V.51-55.
               43)    Lets talk about sex. National Hemophilia Foundation January, 1988
               44)  Sexuality, Intimacy, and Hemophilia: questions and answers . National
               Hemophilia Foundation January, 1988
               45)    Prevalence of sexual problems. Journal Clinical Practice in Sexuality
               1988;4:14-16.
               46)    Kursh E, Bodner D, Resnick MI, Althof SE, Turner L, Risen CB, Levine
               SB. Injection Therapy for Impotence. Urologic Clinics of North America 1988;
               15(4):625-630
               47)     Bradley SJ, Blanchard R, Coates S, Green R, Levine S, Meyer-Bahlburg H,
               Pauly I, Zucker KJ. Interim report of the DSM-IV Subcommittee for Gender
               Identity Disorders. Archives of Sexual Behavior 1991;;20(4):333-43.
               48)    Sexual passion in mid-life. Journal of Clinical Practice in Sexuality 1991
               6(8):13-19
               49)     Althof SE, Turner LA, Levine SB, Risen CB, Bodner DR, Resnick MI.
               Intracavernosal injections in the treatment of impotence: A prospective study of
               sexual, psychological, and marital functioning. Journal of Sex & Marital Therapy
               1987; 13:155-167
               50)     Althof SE, Turner LA, Risen CB, Bodner DR, Kursh ED, Resnick MI. Side
               effects of self-administration of intracavernosal injection of papaverine and
               phentolamine for treatment of impotence. Journal of Urology 1989;141:54-7
               51)    Turner LA, Froman SL, Althof SE, Levine SB, Tobias TR, Kursh ED,
               Bodner DR. Intracavernous injection in the management of diabetic impotence.
               Journal of Sexual Education and Therapy 16(2):126-36, 1989
               52)   Is it time for sexual mental health centers? Journal of Sex & Marital
               Therapy 1989
               53)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner D, Kursh ED, Resnick
               MI. Sexual, psychological, and marital impact of self injection of papaverine and
               phentolamine: a long-term prospective study. Journal of Sex & Marital Therapy


Page 9 of 22
                                                                                  Armistead App. 0371



            54)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner D, Kursh ED, Resnick
            MI. Why do so many men drop out of intracavernosal treatment? Journal of Sex &
            Marital Therapy. 1989;15:121-9
            55)    Turner LA, Althof SE, Levine SB, Risen CB, Bodner D, Kursh ED, Resnick
            MI. Self injection of papaverine and phentolamine in the treatment of psychogenic
            impotence. Journal of Sex & Marital Therapy. 1989; 15(3):163-78
            56)     Turner LA, Althof SE, Levine SB, Risen CB, Bodner D, Kursh ED, Resnick
            MI. Treating erectile dysfunction with external vacuum devices: impact upon
            sexual, psychological, and marital functioning. Journal of Urology 1990;141(1):79-
            82
            57)    Risen CB, Althof SE. An essay on the diagnosis and nature of paraphilia
            Journal of Sex & Marital Therapy 1990; 16(2):89-102.
            58)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,
            Resnick MI. Through the eyes of women: the sexual and psychological responses of
            women to their partners’ treatment with self-injection or vacuum constriction
            therapy. International Journal of Impotence Research (supplement 2)1990;346-7.
            59)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,
            Resnick MI. A comparison of the effectiveness of two treatments for erectile
            dysfunction: self injection vs. external vacuum devices. . International Journal of
            Impotence Research (supplement 2)1990;289-90
            60)     Kursh E, Turner L, Bodner D, Althof S, Levine S. A prospective study on
            the use of the vacuum pump for the treatment of impotence.International Journal of
            Impotence Research (supplement 2)1990;340-1.
            61)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,
            Resnick MI. Long term use of intracavernous therapy in the treatment of erectile
            dysfunction in Journal of Sex & Marital Therapy 1991; 17(2):101-112
            62)    Althof SE, Turner LA, Levine SB, Risen CB, Bodner DB, Kursh ED,
            Resnick MI. Long term use of vacuum pump devices in the treatment of erectile
            dsyfunction in Journal of Sex & Marital Therapy 1991;17(2):81-93
            63)    Turner LA, Althof SE, Levine SB, Bodner DB, Kursh ED, Resnick MI. A
            12-month comparison of the effectiveness of two treatments for erectile
            dysfunction: self injection vs. external vacuum devices. Urology 1992;39(2):139-44
            64)   Althof SE, The pathogenesis of psychogenic impotence. J. Sex Education
            and Therapy. 1991; 17(4):251-66
            65)     Mehta P, Bedell WH, Cumming W, Bussing R, Warner R, Levine SB.
            Letter to the editor. Reflections on hemophilia camp. Clinical Pediatrics 1991;
            30(4):259-260
            66)    Successful Sexuality. Belonging/Hemophilia. (Caremark Therapeutic


Page 10 of 22
                                                                                 Armistead App. 0372



            Services), Autumn, 1991
            67)    Psychological intimacy. Journal of Sex & Marital Therapy 1991; 17(4):259-
            68
            68)    Male sexual problems and the general physician, Georgia State Medical
            Journal 1992; 81(5): 211-6
            69)     Althof SE, Turner LA, Levine SB, Bodner DB, Kursh E, Resnick MI.
            Through the eyes of women: The sexual and psychological responses of women to
            their partner’s treatment with self-injection or vacuum constriction devices. Journal
            of Urology 1992; 147(4):1024-7
            70)     Curry SL, Levine SB, Jones PK, Kurit DM. Medical and Psychosocial
            predictors of sexual outcome among women with systemic lupus erythematosis.
            Arthritis Care and Research 1993; 6:23-30
            71)     Althof SE, Levine SB. Clinical approach to sexuality of patients with spinal
            cord injury. Urological Clinics of North America 1993; 20(3):527-34
            72)  Gender-disturbed males. Journal of Sex & Marital Therapy 19(2):131-141,
            1993
            73)    Curry SL, Levine SB, Jones PK, Kurit DM. The impact of systemic lupus
            erythematosis on women’s sexual functioning. Journal of Rheumatology 1994;
            21(12):2254-60
            74)    Althof SE, Levine SB, Corty E, Risen CB, Stern EB, Kurit D.
            Clomipramine as a treatment for rapid ejaculation: a double-blind crossover trial of
            15 couples. Journal of Clinical Psychiatry 1995;56(9):402-7
            75)    Risen CB, Althof SE. Professionals who sexually offend: evaluation
            procedures and preliminary findings. Journal of Sex & Marital Therapy 1994;
            20(4):288-302
            76)    On Love, Journal of Sex & Marital Therapy 1995; 21(3):183-191
            77)    What is clinical sexuality? Psychiatric Clinics of North America 1995;
            18(1):1-6
            78)     “Love” and the mental health professions: Towards an understanding of
            adult love. Journal of Sex & Marital Therapy 1996; 22(3)191-202
            79)   The role of Psychiatry in erectile dysfunction: a cautionary essay on the
            emerging treatments. Medscape Mental Health 2(8):1997 on the Internet.
            September, 1997.
            80)   Discussion of Dr. Derek Polonsky’s SSTAR presentation on
            Countertransference. Journal of Sex Education and Therapy 1998; 22(3):13-17
            81)    Understanding the sexual consequences of the menopause. Women’s Health
            in Primary Care, 1998

Page 11 of 22
                                                                                Armistead App. 0373



            82)    Fones CSL, Levine SB. Psychological aspects at the interface of diabetes
            and erectile dysfunction. Diabetes Reviews 1998; 6(1):1-8
            83)    Guay AT, Levine SB, Montague DK. New treatments for erectile
            dysfunction. Patient Care March 15, 1998
            84)       Extramarital Affairs. Journal of Sex & Marital Therapy 1998; 24(3):207-216
            85)     Levine SB (chairman), Brown G, Cohen-Kettenis P, Coleman E, Hage JJ,
            Petersen M, Pfäfflin F, Shaeffer L, van Masdam J, Standards of Care of the Harry
            Benjamin International Gender Dysphoria Association, 5th revision, 1998.
            International Journal of Transgenderism at http://www.symposion.com/ijt
                x       Reprinted by the Harry Benjamin International Gender Dysphoria
                    Association, Minneapolis, Minnesota
            86)     Althof SE, Corty E, Levine SB, Levine F, Burnett A, McVary K, Stecher V,
            Seftel. The EDITS: the development of questionnaires for evaluating satisfaction
            with treatments for erectile dysfunction. Urology 1999;53:793-799
            87)    Fones CSL, Levine SB, Althof SE, Risen CB. The sexual struggles of 23
            clergymen: a follow-up study. Journal of Sex & Marital Therapy 1999
            88)    The Newly Devised Standards of Care for Gender Identity Disorders.
            Journal of Sex Education and Therapy 24(3):1-11,1999
            89)     Levine, S. B. (1999). The newly revised standards of care for gender
            identity disorders. Journal of Sex Education & Therapy, 24, 117-127.
            90)     Melman A, Levine SB, Sachs B, Segraves RT, Van Driel MF. Psychological
            Issues in Diagnosis of Treatment (committee 11) in Erectile Dysfunction (A.
            Jarden, G. Wagner, S. Khoury, F. Guiliano, H. Padma-nathan, R. Rosen, eds.)
            Plymbridge Distributors Limited, London, 2000
            91)     Pallas J, Levine SB, Althof SE, Risen CB. A study using Viagra in a mental
            health practice. J Sex&Marital Therapy.26(1):41-50, 2000
            92)   Levine SB, Stagno S. Informed Consent for Case Reports: the ethical
            dilemma between right to privacy and pedagogical freedom. Journal of
            Psychotherapy: Practice and Research, 2001, 10 (3): 193-201.
            93)    Alloggiamento T., Zipp C., Raxwal VK, Ashley E, Dey S. Levine SB,
            Froelicher VF. Sex, the Heart, and Sildenafil. Current Problems in Cardiology 26
            June 2001(6):381-416
            94)   Re-exploring The Nature of Sexual Desire. Journal of Sex and Marital
            Therapy 28(1):39-51, 2002.
            95)   Understanding Male Heterosexuality and Its Disorders in Psychiatric Times
            XIX(2):13-14, February, 2002
            96)       Erectile Dysfunction: Why drug therapy isn’t always enough. (2003)

Page 12 of 22
                                                                                Armistead App. 0374



            Cleveland Clinic Journal of Medicine, 70(3): 241-246.
            97)   The Nature of Sexual Desire: A Clinician’s Perspective. Archives of Sexual
            Behavior 32(3):279-286, 2003 .
            98)     Laura Davis. What I Did For Love: Temporary Returns to the Male Gender
            Role. International Journal of Transgenderism, 6(4), 2002 and
            http://www.symposion.com/ijt
            99)    Risen C.B., The Crisis in the Church: Dealing with the Many Faces of
            Cultural Hysteria in The International Journal of Applied Psychoanalytic Studies,
            1(4):364-370, 2004
            100) Althof SE, Leiblum SR (chairpersons), Chevert-Measson M. Hartman U.,
            Levine SB, McCabe M., Plaut M, Rodrigues O, Wylie K., Psychological and
            Interpersonal Dimensions of Sexual Function and Dysfunction in World Health
            Organization Conference Proceedings on Sexual Dysfunctions, Paris, 2003.
            Published in a book issued in 2004.
            101) Commentary on Ejaculatory Restrictions as a Factor in the Treatment of
            Haredi (Ultra-Orthodox) Jewish Couples: How Does Therapy Work? Archives of
            Sexual Behavior, 33(3):June 2004
            102)   What is love anyway? J Sex & Marital Therapy 31(2):143-152,2005.
            103) A Slightly Different Idea, Commentary on Y. M. Binik’s Should
            Dyspareunia Be Retained as a Sexual Dysfunction in DSM-V? A Painful
            Classification Decision. Archives of Sexual Behavior 34(1):38-39, 2005.
            http://dx.doi.org/10.1007/s10508-005-7469-3
            104) Commentary: Pharmacologic Treatment of Erectile Dysfunction: Not
            always a simple matter. BJM USA; Primary Care Medicine for the American
            Physician, 4(6):325-326, July 2004
            105) Leading Comment: A Clinical Perspective on Infidelity. Journal of Sexual
            and Relationship Therapy, 20(2):143-153, May 2005.
            106) Multiple authors. Efficacy and safety of sildenafil citrate (Viagra) in men
            with serotonergic antidepressant-associated erectile dysfunction: Results from a
            randomized, double-blind, placebo-controlled trial. Submitted to Journal of Clinical
            Psychiatry Feb 2005
            107) Althof SE, Leiblum SR, Chevert-Measson M, Hartman U, Levine SB,
            McCabe M, Plaut M, Rodrigues O, Wylie K. Psychological and Interpersonal
            Dimensions of Sexual Function and Dysfunction. Journal of Sexual Medicine, 2(6):
            793-800, November, 2005
            108) Shifren JL, Davis SR, Moreau M, Waldbaum A, Bouchard C., DeRogatis L.,
            Derzko C., Bearnson P., Kakos N., O’Neill S., Levine S., Wekselman K., Buch A.,
            Rodenberg C., Kroll R. Testosterone Patch for the Treatment of Hypoactive Sexual


Page 13 of 22
                                                                                Armistead App. 0375



            Desire Disorder in Naturally Menopausal Women: Results for the INTIMATE
            NM1 Study. Menopause: The Journal of the North American Menopause Society
            13(5) 2006.
            109) Reintroduction to Clinical Sexuality. Focus: A Journal of Lifelong Learning
            in Psychiatry Fall 2005. III (4):526-531
            110) PDE-5 Inhibitors and Psychiatry in J Psychiatric Practice 12 (1): 46-49,
            2006.
            111) Sexual Dysfunction: What does love have to do with it? Current Psychiatry
            5(7):59-68, 2006.
            112) How to take a Sexual History (Without Blushing), Current Psychiatry 5(8):
            August, 2006.
            113) Linking Depression and ED: Impact on sexual function and relationships in
            Sexual Function and Men’s Health Through the Life Cycle under the auspices of
            the Consortium for Improvement of Erectile Function (CIEF),12-19, November,
            2006.
            114) The First Principle of Clinical Sexuality. Editorial. Journal of Sexual
            Medicine,4:853-854, 2007
            115) Commentary on David Rowland’s editorial, “Will Medical Solutions to
            Sexual Problems Make Sexological Care and Science Obsolete?” Journal of Sex
            and Marital Therapy, 33(5), 2007
            116) Real-Life Test Experience: Recommendations for Revisions to the
            Standards of Care of the World Professional Association for Transgender Health
            International Journal of Transgenderism, Volume 11 Issue 3, 186-193, 2009
            117) Sexual Disorders: Psychiatrists and Clinical Sexuality. Psychiatric Times
            XXIV (9), 42-43, August 2007
            118) I am not a sex therapist! Commentary to I. Binik and M. Meana’s article Sex
            Therapy: Is there a future in this outfit? Archives of Sexual Behavior, Volume 38,
            Issue 6 (2009), 1033-1034
            119) Solomon A (2009) Meanings and Political Implications of
            “Psychopathology” in a Gender Identity Clinic: Report of 10 cases. Journal of Sex
            and Marital Therapy 35(1): 40-57.
            120) Perelman, MA., Levine SB, Fischkoff SA. Randomized, Placebo-
            Controlled, Crossover Study to Evaluate the Effects of Intranasal Bremelanotide on
            Perceptions of Desire and Arousal in Postmenopausal Women with Sexual Arousal
            Disorder submitted to Journal of Sexual Medicine July 2009, rejected
            121) What is Sexual Addiction? Journal of Sex and Marital Therapy.2010
            May;36(3):261-75


Page 14 of 22
                                                                              Armistead App. 0376



            122) David Scott (2010) Sexual Education of Psychiatric Residents. Academic
            Psychiatry, 34(5) 349-352.
            123) Chris G. McMahon, Stanley E. Althof, Joel M. Kaufman, Jacques Buvat,
            Stephen B. Levine, Joseph W. Aquilina, Fisseha Tesfaye, Margaret Rothman,
            David A. Rivas, Hartmut Porst. Efficacy and Safety of Dapoxetine for the
            Treatment of Premature Ejaculation: Integrated Analysis of Results From 5 Phase 3
            Trials Journal of Sexual Medicine 2011 Feb;8(2):524-39.
            124) Commentary on Consideration of Diagnostic Criteria for Erectile
            Dysfunction in DSM V. Journal of Sexual Medicine July 2010
            125) Hypoactive Sexual Desire Disorder in Men: Basic types, causes, and
            treatment. Psychiatric Times 27(6)4-34. 2010
            126) Male Sexual Dysfunctions, an audio lecture, American Physician Institute
            2013
            127) Fashions in Genital Fashion: Where is the line for physicians? Commentary
            on David Veale and Joe Daniels’ Cosmetic Clitoridectomy in a 33-year-old woman.
            Arch Sex Behav (2012) 41:735–736 DOI 10.1007/s10508-011-9849-7
            128)   Review: Problematic Sexual Excess. Neuropsychiatry 2(1):1-12, 2012
            129)   The Essence of Psychotherapy. Psychiatric Times 28 (2): August 2, 2012 t
            130) Parran TV, Pisman, AR, Youngner SJ, Levine SB.Evolution of
            remedial CME course in professionalism: Addressing learner needs,
            developing content, and evaluating outcomes. Journal of Continuing
            Education in the Health Professions, 33(3): 174-179, 2013.
            131)   Love and Psychiatry. Psychiatric Times November 2013
            132) Orgasmic Disorders, Sexual Pain Disorders, and Sexual Dysfunction Due to
            a Medical Condition. Board Review Psychiatry 2013-2014 Audio Digest CD 27.
            Audio recording of a one-hour lecture available October 2013.
            133) Towards a Compendium of the Psychopathologies of Love. Archives of
            Sexual Behavior Online First December 25, 2013 DOI 10.1007/s10508-013-0242-6
            43(1)213-220.
            134) Flibanserin. (editorial) Archives of Sexual Behavior 44 (8), 2015 November
            2015. DOI: 10.1007/s10508-015-0617-y
            135) Martel C, Labrie F, Archer DF, Ke Y, Gonthier R, Simard JN, Lavoie L,
            Vaillancourt M, Montesino M, Balser J, Moyneur É; other participating members of
            the Prasterone Clinical Research Group. (2016) Serum steroid concentrations
            remain within normal postmenopausal values in women receiving daily 6.5mg
            intravaginal prasterone for 12 weeks.J Steroid Biochem Mol Biol. 2016
            May;159:142-53. doi: 10.1016/j.jsbmb.2016.03.016


Page 15 of 22
                                                                               Armistead App. 0377



            136) Reflections of an Expert on the Legal Battles Over Prisoners with Gender
            Dysphoria. J Am Acad Psychiatry Law 44:236–45, 2016
            137) Cooper E, McBride J, Levine SB. Does Flibanserin have a future?
            Psychiatric Times accepted October 23, 2015.
            138) Levine SB, Sheridan DL, Cooper EB. The Quest for a Prosexual Medication
            for Women, Current Sexual Health Reports (2016) 8: 129. doi:10.1007/s11930-016-
            0085-y
            139) Why Sex Is Important: Background for Helping Patients with Their Sexual
            Lives., British Journal of Psychiatry Advances (2017), vol. 23(5) 300-306; DOI:
            10.1192/apt.bp.116.016428
            140) Commentary on "Asexuality: Orientation, paraphilia, dysfunction, or none
            of the above? Archives Sexual Behavior, Archives of Sexual Behavior April 2017,
            Volume 46, Issue 3, pp. 639–642 DOI: 10.1007/s10508-017-0947-z
            141)   Sexual Dysfunction in Clinical Psychiatry, Psychiatric Times, March 2017
            142) Ethical Concerns About the Emerging Treatment of Gender Dysphoria,
            Journal of Sex and Marital Therapy, 44(1):29-44. 2017. DOI
            10.1080/0092623X.2017.1309482
            143) The Psychiatrist’s Role in Managing Transgender Youth: Navigating
            Today’s Politicized Terrain. CMEtoGO Audio Lecture Series, May 2017
            144) Transitioning Back to Maleness, Archives of Sexual Behavior, 2017 Dec
            20. doi: 10.1007/s10508-017-1136-9; 47(4), 1295-1300, May 2018
            145) Informed Consent for Transgender Patients, Journal of Sex and Marital
            Therapy, 2018 Dec 22:1-12. doi: 10.1080/0092623X.2018.1518885.
            146) Reflections On The Clinician’s Role with Individuals Who Self-Identify as
            Transgender (2021) Archives Sexual Behavior, 50(8):3527-3536. doi:
            10.1007/s10508-021-02142-1.
            147) Levine SB, Abbruzzese E, Mason J. Reconsideration of Informed Consent
            for Trans-identified Children, Adolescents, and Young Adults. J. Sex and Marital
            Therapy, in press 2022.

       C) Book Chapters
            1)    Overview of Sex Therapy. In Sholevar GP (ed) The Handbook of Marriage
            and Marital Therapy. New York. Spectrum Publications, 1981 pp. 417-41
            2)     Why study sexual functioning in diabetes? In Hamburg BA, Lipsett LF,
            Inoff GE, Drash A (eds) Behavioral & Psychosocial Issues in Diabetes: Proceedings
            of a National conference. Washington, DC. US Dept. of Health & Human Services.
            PHS NIH, Pub. #80-1933


Page 16 of 22
                                                                               Armistead App. 0378



            3)     Sexual Problems in the Diabetic in Bleicher SJ, Brodoff B (eds) Diabetes
            Mellitus and Obesity. Williams and Wilkins, 1992
            4)    Clinical Introduction to Human Sexual Dysfunction. In Pariser SF, Levine
            SB, McDowell M (eds) Clinical Sexuality. New York, Marcel Dekker Publisher,
            1983.
            5)    Psychodynamically-oriented clinician’s overview of psychogenic
            impotence. In RT Segraves (ed) Impotence. New York, Plenum, 1985
            6)     Origins of sexual preferences. In Shelp EE (ed) Sexuality and Medicine. D.
            Reidel Publishing co. 1987. pp. 39-54.
            7)      Hypoactive Sexual Desire and Other Problems of Sexual Desire. In H. Lief
            (ed). The Treatment of Psychosexual Dysfunctions/ III. American Psychiatric Press,
            chapter 207, pp. 2264-79, 1989
            8)    Psychological Sexual Dysfunction. In Sudak H (ed) Clinical Psychiatry.
            Warren H. Green. St. Louis, 1985
            9)     Male sexual dysfunction. In Sudak H (ed) Clinical Psychiatry. Warren H.
            Green. St. Louis, 1985
            10)    Sexuality and Aging. In Sudak H (ed) Clinical Psychiatry. Warren H. Green.
            St. Louis, 1985
            11)    Homosexuality. In Sudak H (ed) Clinical Psychiatry. Warren H. Green. St.
            Louis, 1985
            12)    Individual and intrapsychic factors in sexual desire. In Leiblum SR, Rosen
            RC (eds). Clinical Perspectives on Sexual Desire Disorders. Guilford Press, New
            York, 1988, pp. 21-44
            13)   Gender Identity Disorders. In Sadock B, Kaplan H(eds). Comprehensive
            Textbook of Psychiatry, Baltimore, William and Wilkins, 1989, pp. 1061-9
            14)   Intrapsychic and Interpersonal Aspects of Impotence: Psychogenic Erectile
            Dysfunction. In Leiblum SR, Rosen RC (eds). Erectile Disorders: Assessment and
            Treatment. Guilford Press, New York, 1992
            15)    Psychological Factors in Impotence. In Resnick MI, Kursh ED, (eds.)
            Current Therapy in Genitourinary Surgery, 2nd edition. BC Decker, 1991, pp. 549-
            51
            16)    The Vagaries of Sexual Desire. In Leiblum SR, Rosen RC (eds). In Case
            Studies in Sex Therapy. Guilford Press, New York, 1995
            17)   Rosenblatt EA. Sexual Disorders (chapter 62). In Tasman A, Kay J,
            Liberman JA (eds). Psychiatry Volume II, W.B.Saunders, Philadelphia. 1997, pp.
            1173-2000.
            18)    Althof SE. Psychological Evaluation and Sex Therapy. In Mulcahy JJ (ed)

Page 17 of 22
                                                                                Armistead App. 0379



            Diagnosis and Management of Male Sexual Dysfunction Igaku-Shoin, New York,
            1996, pp. 74-88
            19)     Althof SE, Levine SB. Psychological Aspects of Erectile Dysfunction. In
            Hellstrum WJG (ed) Male Infertility and Dysfunction. Springer-Verlag, New York,
            1997. pp. 468-73
            20)   Paraphilias. In Comprehensive Textbook of Psychiatry/VII. Sadock BJ,
            Sadock VA (eds.) Lippincott Williams & Wilkins, Baltimore, 1999, pp. 1631-1645.
            21)   Women’s Sexual Capacities at Mid-Life in The Menopause: Comprehensive
            Management B. Eskind (ed). Parthenon Publishing, Carnforth, UK, 2000.
            22)   Male Heterosexuality in Masculinity and Sexuality:Selected Topics in the
            Psychology of Men, (Richard C. Friedman and Jennifer I. Downey, eds) Annual
            Review of Psychiatry, American Psychiatric Press, Washington, DC, W-18. pp. 29-
            54.
            23)    R.T.Segraves. Introduction to section on Sexuality: Treatment of Psychiatric
            Disorders-III (G.O.Gabbard, ed), American Psychiatric Press, Washington, DC,
            2001
            24)    Sexual Disorders (2003) in Tasman A, Kay J, Liberman JA (eds). Psychiatry
            2nd edition, Volume II, W.B.Saunders, Philadelphia. Chapter 74
            25)    What Patients Mean by Love, Psychological Intimacy, and Sexual Desire
            (2003) in SB Levine, CB Risen, SE Althof (eds) Handbook of Clinical Sexuality for
            Mental Health Professionals, Brunner-Routledge, New York, pp. .21-36.
            26)    Infidelity (2003) in SB Levine, CB Risen, SE Althof (eds) Handbook of
            Clinical Sexuality for Mental Health Professionals, Brunner-Routledge, New York,
            pp. 57-74
            27)     Preface (2003) in SB Levine, CB Risen, SE Althof (eds) Handbook of
            Clinical Sexuality for Mental Health Professionals, Brunner-Routledge, New York,
            pp. xiii-xviii
            28)    A Psychiatric Perspective on Psychogenic Erectile Dysfunction (2004) in
            T.F. Lue (ed) Atlas of Male Sexual Dysfunction, Current Medicine, Philadelphia
            Chapter 5
            29)     Levine, SB., Seagraves, RT. Introduction to Sexuality Section, Treatment of
            Psychiatric Disorders, 3rd edition (Gabbard GO, editor), American Psychiatric
            Press, 2007
            30)     Risen CB, (2009)Professionals Who Are Accused of Sexual Boundary
            Violations In Sex Offenders: Identification, Risk Assessment, Treatment, and Legal
            Issues edited by Fabian M. Saleh, Albert J. Grudzinskas, Jr., and John M. Bradford,
            Oxford University Press, 2009
            31)    What Patients Mean by Love, Intimacy, and Sexual Desire, in Handbook of

Page 18 of 22
                                                                                  Armistead App. 0380



            Clinical Sexuality for Mental Health Professionals edited by Levine SB, Risen, CB,
            and Althof, SE, Routledge, New York, 2010
            32)     Infidelity in Handbook of Clinical Sexuality for Mental Health Professionals
            edited by Levine SB, Risen, CB, and Althof, SE, Routledge, New York, 2010
            33)    Scott DL, Levine, SB. Understanding Gay and Lesbian Life in Handbook of
            Clinical Sexuality for Mental Health Professionals edited by Levine SB, Risen, CB,
            and Althof, SE, Routledge, New York, 2010
            34)    Levine, SB, Hasan, S., Boraz M. (2009) Male Hypoactive Sexual Desire
            Disorder (HSDD) in Clinical Manual of Sexual Disorders (R. Balon and RT
            Segraves, eds), American Psychiatric Press, Washington, DC.
            35)     Levine, SB. Sexual Disorders in Fundamentals of Psychiatry (by Allan
            Tasman and Wanda Mohr, eds.)
            <http://eu.wiley.com/WileyCDA/WileyTitle/productCd-0470665777.html>, .
            36)     Infidelity in Principles and Practices of Sex Therapy (I Binik, K. Hall,
            editors), 5th edition, Guilford Press, New York, 2014.
            37)    Why is Sex Important? In Handbook of Clinical Sexuality for Mental Health
            Professionals 3rd ed. [SB Levine, CB Risen, SE Althof, eds] New York. Routledge,
            2016, Chapter 1
            38)    The Rich Ambiguity of Key Terms: Making Distinctions. In Handbook of
            Clinical Sexuality for Mental Health Professionals 3rd ed. [SB Levine, CB Risen,
            SE Althof, eds] New York. Routledge, 2016. Chapter 4
            39)    The Mental Health Professional’s Treatment of Erection Problems . In
            Handbook of Clinical Sexuality for Mental Health Professionals 3rd ed. [SB
            Levine, CB Risen, SE Althof, eds] New York. Routledge, 2016 Chapter 11
            40)      Why is Sex Important? In Sexual Health in the Couple: Management of
            Sexual Dysfunction in Men and Women [L Lipshultz, A Pastuszak, M Perelman, A
            Giraldi, J Buster, eds.] New York, Springer, 2016.
            41)     Sommers, B., Levine, S.B., Physician’s Attitude Towards Sexuality, in
            Psychiatry and Sexual Medicine: A Comprehensive Guide for Clinical
            Practitioners, 2020.
            42)    Boundaries And The Ethics Of Professional Misconduct in A. Steinberg, J.
            L. Alpert, C A. Courtois( Eds.) Sexual Boundary Violations In Psychotherapy:
            Therapist Indiscretions, & Transgressions, & Misconduct American Psychological
            Association, 2021.

       D) Book Reviews
            1)     Homosexualities: A Study of Diversity Among Men and Women by Alan P.
            Bell and Martin S. Weinberg, Simon and Schuster, New York, 1978. In Journal of

Page 19 of 22
                                                                             Armistead App. 0381



            Sex & Marital Therapy 1979; 5:
            2)     Marriage and Marital Therapies: Psychoanalytic, Behavioral & System
            Theory Perspectives by TJ Paolino and BS McCrady. Brunner/Mazel, New York,
            1978. In Journal of Sex & Marital Therapy 1979; 5:
            3)     Management of Male Impotence. Volume 5 International Perspectives in
            Urology AH Bennett, (ed) Williams and Wilkins, Baltimore, 1992. In American
            Journal of Psychiatry, 1984
            4)     The Sexual Relationship by DE Scharff, Routledge & Kegan Paul, 1982 in
            Family Process 1983;22:556-8
            5)     Phenomenology and Treatment of Psychosexual Disorders, by WE Fann, I
            Karacan, AD Pokorny, RL Williams (eds). Spectrum Publications, New York,
            1983. In American Journal of Psychiatry 1985;142:512-6
            6)    The Treatment of Sexual Disorders: Concepts and Techniques of Couple
            Therapy, G Arentewicz and G Schmidt. Basic Books, New York, 1983. In
            American Journal of Psychiatry 1985;142:983-5
            7)    Gender Dysphoria: Development, Research, Management. BN Steiner (ed).
            Plenum Press, 1985 in Journal of Clinical Psychiatry, 1986
            8)     Gender Dysphoria: Development, Research, Management. BN Steiner (ed).
            Plenum Press, 1985 in Contemporary Psychology 1986:31:421-2 [titled, The
            Limitations of Science, the Limitations of Understanding]
            9)     Psychopharmacology of Sexual Disorders by M Segal (ed) John Libbey &
            Co Ltd, London, 1987 in American Journal of Psychiatry 1987;144:1093
            10)    “The Sissy Boy Syndrome” and the Development of Homosexuality by R
            Green. Yale University Press, New Haven, 1987. In American Journal of Psychiatry
            1988;145:1028
            11)    Male Homosexuality: A contemporary psychoanalytic perspective by RC
            Friedman, Yale University Press, New Haven, 1988 in Journal of Clinical
            Psychiatry 1989;50:4, 149
            12)   Sexual Landscapes: Why we are what we are, why we love whom we love.
            By JD Weinrich, Charles Schribner’s Sons, New York, 1987 in Archives of Sexual
            Behavior 21 (3):323-26, 1991
            13)  How to Overcome Premature Ejaculation by HS Kaplan, Brunner/Mazel,
            New York, 1989 in Journal of Clinical Psychiatry 51(3):130, 1990
            14)    Clinical Management of Gender Identity Disorders in Children and Adults
            R. Blanchard, BN Steiner (eds) American Psychiatry Press, Washington, DC, 1990.
            In Journal of Clinical Psychiatry 52(6):283, 1991
            15)    Psychiatric Aspects of Modern Reproductive Technologies. NL Stotland


Page 20 of 22
                                                                               Armistead App. 0382



            (ed) American Psychiatric Press, Washington DC, 1990. In Journal of Clinical
            Psychiatry 1991;52(9):390
            16)     Homosexualities: Reality, Fantasy, and the Arts. CW Socarides, VD Volkan
            (eds). International Universities Press, Madison, Connecticut, 1990. In Journal of
            Clinical Psychiatry 1992;(10)
            17)    Reparative Therapy of Male Homosexuality: A New Clinical Approach. J
            Nicolosi, Jason Aronson, Northvale NJ, 1992. In Contemporary Psychology
            38(2):165-6, 1993 [entitled Is Evidence Required?]
            18)    Male Victims of Sexual Assault, GC Mezey, MB King (eds) Oxford
            University Press, New York, 1992. In Journal of Clinical Psychiatry
            1993;54(9):358,
            19)    AIDS and Sex: An Integrated Biomedical and Biobehavioral Approach. B
            Voeller, JM Reinisch, M Gottlieb, Oxford University Press, New York, 1990. In
            American Journal of Psychiatry
            20)  Porn: Myths for the Twentieth Century by RJ Stoller, Yale University Press,
            New Haven, 1991. In Archives of Sexual Behavior 1995;24(6):663-668
            21)    Sexual Dysfunction: Neurologic, Urologic, and Gynecologic Aspects. R
            Lechtenberg, DA Ohl (eds) Lea & Febiger, Philiadelphia, 1994. In Neurology
            22)    The Sexual Desire Disorders: Dysfunctional Regulation of Sexual
            Motivation. HS Kaplan Brunner/Mazel, New York, 1995. In Neurology 1996;
            47:316
            23)    Femininities, Masculinities, Sexualities: Freud and Beyond. N. Chodorow.
            The University Press of Kentucky, Lexington, 1994. Archives of Sexual Behavior
            28(5):397-400,1999
            24)    Sexual Function in People with Disability and Chronic Illness: A Health
            Professional’s Guide by ML Sipski, CJ Alexander. Aspen Publishers, Gaitersburg,
            Md, 1997. In Journal of Sex Education and Therapy, 1998;23(2):171-2
            25)   Sexual Aggression by J Shaw (ed). American Psychiatric Press,
            Washington, DC, 1998. In American Journal of Psychiatry, May, 1999
            26)    The Wounded Healer: Addiction-Sensitive Approach to the Sexually
            Exploitative Professional by Richard Irons and Jennifer P. Schneider. Jason
            Aronson, Northvale, N.J., 1999 in American Journal of Psychiatry 157(5):8-9,2000.
            27)    Culture of the Internet by Sara Kiesler (editor), Lawrence Erlbaum
            Associates, Mahway, New Jersey, 1997. 463pp in Journal of Sex Research, 2001
            28)    Psychological Perspectives on Human Sexuality. Lenore T. Szuchman and
            Frank Muscarella (editors), Wiley and Sons, New York, American Journal of
            Psychiatry, April, 2002


Page 21 of 22
                                                                                Armistead App. 0383



            29)     “How Sexual Science Operates” a review of Sex, Love, and Health in
            America: Private Choices and Public Policies. EO Laumann and RT Michael,
            editors. Chicago, University of Chicago, 2001 in Second Opinion, The Park Ridge
            Center for the Study of Health, Faith, and Ethics, 11:82-3, April, 2004.
            30)     Sexual Orientation and Psychoanalysis: Sexual Science and Clinical
            Practice. R.C. Friedman and J.I. Downey (eds). New York. Columbia University
            Press. in Archives of Sexual Behavior (2003) 31(5):473-474
            31)    Prozac on the Couch: Prescribing Gender in the Era of Wonder Drugs,
            Jonathon Michel Metzl. Duke University Press, Durham, 2003 in American Journal
            of Psychiatry, November, 2004.
            32)     Sex and Gender by M. Diamond and A. Yates Child Psychiatric Clinics of
            North America W. B. Saunders, Philadelphia, Pennsylvania, 2004, 268 pp. in Archives
            of Sexual Behavior April 2007 online publication in Dec.2006 at
            http://dx.doi.org/10.1007/s10508-006-9114-7
            33)     Getting Past the Affair: A program to help you cope, heal, and move on—
            together or apart by Douglas K. Snyder, Ph.D, Donald H. Baucom, Ph.D, and
            Kristina Coop Gordon, Ph.D, New York, Guilford Press, 2007 in Journal of Sex and
            Marital Therapy,34:1-3, 2007
            34)    Dancing with Science, Ideology and Technique. A review of Sexual
            Desire Disorders: A casebook Sandra R. Leiblum editor, Guilford Press, New York,
            2010. In Journal of Sex Research 2011.
            35)     What is more bizarre: the transsexual or transsexual politics? A review of
            Men Trapped in Men’s Bodies: Narratives of Autogynephilic Transsexualism by
            Anne A. Lawrence, New York, Springer, 2014. In Sex Roles: a Journal of Research,
            70, Issue 3 (2014), Page 158-160, 2014. DOI: 10.1007/s11199-013-0341-9
            36)    There Are Different Ways of Knowing. A review of: How Sexual Desire
            Works: The Enigmatic Urge by Frederick Toates, Cambridge, UK, Cambridge
            University Press, in Sexuality and Cu1ture (2015) 19:407–409 DOI
            10.1007/s12119-015-9279-0
            37)     The Dynamics of Infidelity: Applying Relationship Science to Clinical
            Practice by Lawrence Josephs, American Psychological Association, Washington,
            DC, 2018, pp. . 287, $69.95 in Journal of Sex and Marital
            Therapy10.1080/0092623X.2018.1466954, 2018. For free access:
            https://www.tandfonline.com/eprint/UgiIHbWbpdedbsXWXpNf/full
            38)     Transgender Mental Health by Eric Yarbrough, American Psychiatric
            Association Publications, 2018, Journal and Marital & Sexual Therapy,
            https://doi.org/10.1080/0092623X.2018.1563345 .




Page 22 of 22
                                                                       Armistead App. 0384



                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION


B.P.J., by her next friend and mother,
HEATHER JACKSON,
                              Plaintiff,
                  v.
WEST VIRGINIA STATE BOARD OF                    Civil Action No: 2:21-cv-00316
EDUCATION, HARRISON COUNTY BOARD
OF EDUCATION, et al.,                                 THE HONORABLE
                            Defendants,              JOSEPH R. GOODWIN
                 and
LAINEY ARMISTEAD,
                    Defendant-Intervenor.


                    DECLARATION OF JAMES M. CANTOR, PHD.
      I, Dr. James Cantor, pursuant to 28 U.S. Code § 1746, declare under penalty

of perjury under the laws of the United States of America that the facts contained in

my Expert Report of James M. Cantor, Ph.D., in the Case of B.P.J. v. West Virginia

State Board of Education, dated February 23, 2022, attached hereto, are true and

correct to the best of my knowledge and belief, and that the opinions expressed

therein represent my own expert opinions.




_________________________                    Executed February 23, 2022

Dr. James M. Cantor, PhD.
     Armistead App. 0385




ii
                                                             Armistead App. 0386




                        Expert Report of
                   James M. Cantor, PhD.
In the case of B.P.J. vs. West Virginia State Board of Education.


                       February 23, 2022




                               iii
     Armistead App. 0387




iv
                                                                                                          Armistead App. 0388



                                              Table of Contents

I.     Background & Credentials ................................................................................. 1

II.    Introduction ......................................................................................................... 3

III.   Clarifying Terms ................................................................................................. 4

IV.    Evidence Cited by Plaintiffs’ Expert Reports .................................................... 5

V.     Evidence Missing from Plaintiffs’ Expert Reports .......................................... 11

       A. Adult-Onset Gender Dysphoria .................................................................. 12

            1. Outcome Studies of Transition in Adult-Onset Gender Dysphoria ..... 13

            2. Mental Health Issues in Adult-Onset Gender Dysphoria .................... 13

       B. Childhood Onset (Pre-Puberty) Gender Dysphoria.................................... 15

            1. Prospective Studies of Childhood-Onset Gender Dysphoria Show
               that Most Children Desist in the “Natural Course” by Puberty .......... 15

            2. “Watchful Waiting” and “The Dutch Approach” ................................... 18

            3. Studies of Transition Outcomes: Overview ........................................... 20

                 a. Outcomes of The Dutch Approach (studies from before 2017):
                    Mix of positive, negative, and neutral outcomes ............................. 21

                 b. Clinicians and advocates have invoked the Dutch Approach
                    while departing from its protocols in important ways. ................... 23

                 c. Studies by other clinicians in other countries have failed to
                    reliably replicate the positive components of the results
                    reported by the Dutch clinicians in de Vries et al. 2011. ................ 24

            4. Mental Health Issues in Childhood-Onset Gender Dysphoria ............. 26

       C. Adolescent-Onset Gender Dysphoria .......................................................... 28

            1. Features of Adolescent-Onset Gender Dysphoria ................................. 28

            2. Prospective Studies of Social Transition and Puberty Blockers in
               Adolescence ............................................................................................. 29

            3. Mental Illness in Adolescent-Onset Gender Dysphoria ....................... 30



                                                             v
                                                                                                             Armistead App. 0389



VI.       Alleged Scientific Claims Assessed .................................................................. 32

          A. Conversion Therapy..................................................................................... 32

          B. Claims that All Childhood Outcome Studies Are Wrong ........................... 33

          C. Assessing Claims of Suicidality .................................................................. 34

          D. Assessing Demands for Social Transition and Affirmation-Only or
             Affirmation-on-Demand Treatment in Pre-Pubertal Children. ................ 37

          E. Assessing the “Minority Stress Hypothesis” .............................................. 41

VII.      Assessing Statements from Professional Associations .................................... 42

          A. Understanding the Value of Statements from Professional
             Associations.................................................................................................. 42

          B. Misrepresentations of statements of professional associations. ................ 43

               1. World Professional Association for Transgender Health (WPATH) .... 44

               2. Endocrine Society (ES) ........................................................................... 45

               3. Pediatric Endocrine Society and Endocrine Society (ES/PES) ............. 46

               4. American Academy of Child & Adolescent Psychiatry (AACAP) ......... 47

               5. American College of Obstetricians & Gynecologists (ACOG) ............... 48

               6. American College of Physicians (ACP) .................................................. 49

               7. American Academy of Pediatrics (AAP) ................................................ 51

               8. The ESPE-LWPES GnRH Analogs Consensus Conference Group ...... 51

References .................................................................................................................... 53




                                                               vi
                                                                             Armistead App. 0390



I.        Background & Credentials
     1.     I am a clinical psychologist and Director of the Toronto Sexuality Centre in

Canada. For my education and training, I received my Bachelor of Science degree

from Rensselaer Polytechnic Institute, where I studied mathematics, physics, and

computer science. I received my Master of Arts degree in psychology from Boston

University, where I studied neuropsychology. I earned my Doctoral degree in

psychology from McGill University, which included successfully defending my

doctoral     dissertation   studying   the   effects   of   psychiatric   medication   and

neurochemical changes on sexual behavior, and included a clinical internship

assessing and treating people with a wide range of sexual and gender identity issues.

     2.     Over my academic career, my posts have included Psychologist and Senior

Scientist at the Centre for Addiction and Mental Health (CAMH) and Head of

Research for CAMH’s Sexual Behaviour Clinic, Associate Professor of Psychiatry on

the University of Toronto Faculty of Medicine, and Editor-in-Chief of the peer

reviewed journal, Sexual Abuse. That journal is one of the top-impact, peer-reviewed

journals in sexual behavior science and is the official journal of the Association for

the Treatment of Sexual Abusers. In that appointment, I was charged to be the final

arbiter for impartially deciding which contributions from other scientists in my field
merited publication. I believe that appointment indicates not only my extensive

experience evaluating scientific claims and methods, but also the faith put in me by

the other scientists in my field. I have also served on the Editorial Boards of the

Journal of Sex Research, the Archives of Sexual Behavior, and Journal of Sexual

Aggression. Thus, although I cannot speak for other scientists, I regularly interact

with and am routinely exposed to the views and opinions of most of the scientists

active in our field today, within the United States and throughout the world.

     3.     My scientific expertise spans the biological and non-biological development

of human sexuality, the classification of sexual interest patterns, the assessment and


                                             1
                                                                              Armistead App. 0391



treatment of atypical sexualities, and the application of statistics and research

methodology in sex research. I am the author of over 50 peer-reviewed articles in my

field,   spanning   the   development     of       sexual   orientation,   gender   identity,

hypersexuality, and atypical sexualities collectively referred to as paraphilias. I am

the author of the past three editions of the gender identity and atypical sexualities

chapter of the Oxford Textbook of Psychopathology. These works are now routinely

cited in the field and are included in numerous other textbooks of sex research.

   4.      I began providing clinical services to people with gender dysphoria in 1998.

I trained under Dr. Ray Blanchard of CAMH and have participated in the assessment

of treatment of over one hundred individuals at various stages of considering and

enacting both transition and detransition, including its legal, social, and medical

(both cross-hormonal and surgical) aspects. My clinical experience includes the

assessment and treatment of several thousand individuals experiencing other

atypical sexuality issues. I am regularly called upon to provide objective assessment

of the science of human sexuality by the courts (prosecution and defense), professional

media, and mental health care providers.

   5.      I have served as an expert witness in a total of 14 cases, which are listed in

my curriculum vitae, attached here as Appendix 1, which includes a list of cases in
which I have recently testified.

   6.      A substantial proportion of the existing research on gender dysphoria comes

from two clinics, one in Canada and one in the Netherlands. The CAMH gender clinic

(previously, Clarke Institute of Psychiatry) was in operation for several decades, and

its research was directed by Dr. Kenneth Zucker. I was employed by CAMH between

1998 and 2018. I was a member of the hospital’s adult forensic program. However, I

was in regular contact with members of the CAMH child psychiatry program (of

which Dr. Zucker was a member), and we collaborated on multiple projects.




                                               2
                                                                            Armistead App. 0392



      7.     For my work in this case, I am being compensated at the hourly rate of $400

per hour. My compensation does not change based on the conclusions and opinions

that I provide here or later in this case or on the outcome of this lawsuit.

II.        Introduction
      8.     The principal opinions that I offer and explain in detail in this report are:

             a. Biological sex is a clear, scientifically valid, and well-defined category.

                The existence of disorders of sexual development in an extremely small

                proportion of individuals does not change this.

             b. Neither early-onset (childhood) gender dysphoria nor adolescent-onset

                gender dysphoria can be assumed to reflect a fixed aspect of a person’s

                psychological make-up or self-perception.

             c. No study has demonstrated that “affirming” the transgender identity of

                a child or adolescent produces better mental health outcomes or reduced

                suicidality relative to psychotherapy and mental health support.

             d. On the contrary, the contemporary studies have failed to find improved

                mental health in teens and young adults after administration of puberty

                blockers and/or cross-sex hormones.

             e. e) Affirmation of a transgender identity in minors who suffer from
                early-onset or adolescent-onset gender dysphoria is not an accepted

                “standard of care.”

In addition, I have been asked to provide an expert opinion on how relevant

professional organizations have addressed these questions and whether any of them

have taken any meritorious position that would undermine West Virginia’s Protect

Women’s Sports Act (H.B. 3292) (“Act”). As I explain in detail in this report, it is my

opinion that Plaintiffs’ expert reports display a wide variety of flaws that call their

conclusions into question and that no professional organization has articulated a

meritorious position that calls into question the basis for the Act.


                                              3
                                                                           Armistead App. 0393



   9.       To prepare the present report, I reviewed the following resources related to

this litigation:

            a. West Virginia’s Protect Women’s Sports Act, H.B. 3293.

            b. The Amended Complaint in this litigation.

            c. Ms. Armistead’s Declaration, Doc. 95-1.

            d. Declaration and Expert Report of Deanna Adkins, MD.

            e. Expert Report and Declaration of Joshua D. Safer, MD, FACP, FACE.

III.     Clarifying Terms
   10.      Most scientific discussions begin with the relevant vocabulary and

definitions of terms. In the highly polarized and politicized debates surrounding

transgender issues, that is less feasible: Different authors have used terms in

differing, overlapping ways. Activists and the public (especially on social media) will

use the same terms, but to mean different things, and some have actively misapplied

terms so that original documents appear to assert something they do not.

   11.      “Gender expression” is one such term. For another example, the word

“child” is used in some contexts to refer specifically to children before puberty; in some

contexts, to refer to children before adolescence (thus including ages of puberty); in

still other contexts, to refer to people under the legal age of consent, which is age
sixteen in the Netherlands (where much of the research was conducted) or age

eighteen in much of North America. Thus, care should be taken in both using and

interpreting the word “child” in this field.

   12.      Because the present document is meant to compare the claims made by

others, it is the definitions used by those specific authors in those specific contexts

which are relevant. Thus, definitions to my own uses of terms are provided where

appropriate, but primarily explicate how terms were defined and used in their original

contexts.




                                               4
                                                                           Armistead App. 0394



IV.         Evidence Cited by Plaintiffs’ Expert Reports
      13.      Dr. Adkins claimed a person’s gender identity cannot be voluntarily

changed. In actual clinical practice, that is rarely the relevant issue. The far more

typical situation is youth who are mistaken about their gender identity. These youth

are misinterpreting their experiences to indicate they are transgender, or they are

exaggerating their descriptions of their experiences in service of attention-seeking or

other psychological needs. Dr. Adkins’ claim is not merely lacking any science to

support it; the claim itself defies scientific thinking. In science, it is not possible to

know that gender identity cannot be changed: We can know only that we lack

evidence of such a procedure. In the scientific method, it remains eternally possible

for evidence of such a treatment to emerge, and unlike sexual orientation’s long

history with conversion therapy, there have not been systematic attempts to change

gender identity.

      14.     Dr. Adkins claimed that untreated gender dysphoria can result in several

mental health issues, including suicidality. The relevant research on suicidality is

summarized in its own section to follow. Nonetheless, Dr. Adkins’ claim is a

misleading half-truth: Missing is that people with gender dysphoria continue to

experience those mental health symptoms even after they do transition, including a

19 times greater risk of death from suicide. 1 This is why clinical guidelines repeatedly
indicate that mental health issues should be resolved before any transition, as

indicated in multiple sets of clinical guidelines, summarized in their own section to

follow. As emphasized even by authorities Dr. Adkins cites herself: Transition should

not be relied upon itself to improve mental health status.

      15.     Adkins’ support for the claim that untreated gender dysphoria lessens

mental health consisted of two articles: Olson, et al. (2016) and Spack (2012). Such is

a terrible misrepresentation of the state of the scientific literature. Although Olson,


1     Dhejne, et al., 2011.


                                            5
                                                                          Armistead App. 0395



et al., did indeed report that gender dysphoric children showed no mental health

differences from the non-transgender control groups, Olson’s report turned out to be

incorrect. The Olson data were reanalyzed, and after correcting for statistical errors

in the original analysis, the data instead showed that the gender dysphoric children

under Olson’s care did, in fact, exhibit significantly lower mental health. 2
    16.    I conducted an electronic search of the research literature to identify any

responses from the Olson team regarding the Schumm and Crawford re-analysis of

the Olson data and was not able to locate any. I contacted Professor Schumm by email

on August 22, 2021 to verify that conclusion, to which he wrote there has been: “No

response [from Olson].” 3

    17.    Adkins also misrepresented the views of Dr. Norman Spack. The article

Adkins cited—Spack, 2012—repeatedly emphasized that children with gender

dysphoria exhibit very many symptoms of mental illnesses. Spack asserted

unambiguously that “Gender dysphoric children who do not receive counseling have

a high risk of behavioural and emotional problems and psychiatric diagnoses.”4 The

wording of Dr. Adkins’ report (“gender dysphoria . . . if left untreated”) misrepresents

Spack so as to suggest Spack was advocating for medical transition to treat the gender

dysphoria rather than counseling to treat suicidality and any other mental health

issues. Moreover still, missing from Adkins’ report was Spack’s conclusion that

“[m]ental health intervention should persist for the long term, even after surgery, as

patients continue to be at mental health risk, including for suicide. While the causes

of suicide are multifactorial, the possibility cannot be ruled out that some patients

unrealistically believe that surgery(ies) solves their psychological distress.” 5 Whereas




2   Schumm & Crawford, 2020; Schumm, et al., 2019.
3   Schumm, email communication, Aug. 22, 2021 (on file with author).
4   Spack, et al., 2012, at 422, italics added.
5   Spack, et al., 2013, at 484, italics added


                                                6
                                                                         Armistead App. 0396



Adkins (selectively) cited Spack to support her insinuation that transition relieves

distress, Spack instead explicitly warned against drawing exactly that conclusion.

    18.     Next, Adkins claimed to have achieved levels of success in her professional

clinical practice unlike those reported by anyone anywhere else in the world: “All of

my patients have suffered from persistent gender dysphoria, which has been

alleviated through clinical appropriate treatment.” 6 It is difficult to evaluate such a
bold self-assessment of success. No clinic has published success rates even

approximating this. By contrast, the peer-reviewed research literature repeatedly

indicates that clients misrepresent themselves to their care-providers, engaging in

“image management” so as to appear as having better mental health than they

actually do. 7 In the absence of objective evidence, it is not possible to differentiate

Adkins’ claims of success from the simpler explanation that she and her patients are

telling each other what they want and expect to hear.

    19.     Adkins referred to the clinical practice guidelines (CPG’s) of three

professional societies: the American Association of Pediatrics (AAP), the World

Professional Association for Transgender Health (WPATH), and the Endocrine

Society. This provides only an incomplete and inaccurate portrayal of the field. I am

aware of six rather than three professional societies providing clinical guidelines for

the care of gender dysphoric children. They are detailed more fully in their own

section of this report. Nonetheless, with the broad exception of the AAP, their

statements repeatedly noted:

            x   Desistance of gender dysphoria occurs in the majority of prepubescent
                children.
            x   Mental health issues need to be assessed as potentially contributing
                factors and need to be addressed before transition.
            x   Puberty-blocking medication is an experimental, not a routine, treat-
                ment.

6   Adkins Report at 5.
7   Anzani, et al., 2020; Lehmann, et al., 2021.


                                                   7
                                                                          Armistead App. 0397



             x   Social transition is not generally recommended until after puberty.
Although some other associations have published broad statements of moral support

for sexual minorities and against discrimination, they did not include any specific

standards or guidelines regarding medical- or transition-related care.

     20.     Although Adkins referred to them as “widely accepted,” the WPATH and

the Endocrine Society guidelines have both been subjected to standardized

evaluation, the Appraisal of Guidelines for Research and Evaluation (“AGREE II”)

method, as part of an appraisal of all published CPGs regarding sex and gender

minority healthcare. 8 Utilizing community stakeholders to set domain priorities for
the evaluation, the assessment concluded that the guidelines regarding HIV and its

prevention were of high quality, but that “[t]ransition-related CPGs tended to lack

methodological rigour and rely on patchier, lower-quality primary research.” 9 Neither

the Endocrine Society’s or WPATH’s guidelines were recommended for use. Indeed,

the WPATH guidelines received unanimous ratings of “Do not recommend.” 10

     21.     Immediately following the publication of the AAP policy, I conducted a

point-by-point fact-check of the claims it asserted and the references it cited in

support. I submitted that to the Journal of Sex & Marital Therapy, a well-known

research journal of my field, where it underwent blind peer review and was published.

I append that article as part of this report. See Appendix 2. A great deal of published

attention ensued; however, the AAP has yet to respond to the errors I demonstrated

its policy contained. Writing for The Economist about the use of puberty blockers,

Helen Joyce asked AAP directly, “Has the AAP responded to Dr Cantor? If not, have

you any response now?” The AAP Media Relations Manager, Lisa Black, responded:

“We do not have anyone available for comment.”




8
     Dahlen, et al., 2021.
9    Dahlen, et al., 2021, at 6.
10   Dahlen, et al., 2021, at 7.


                                             8
                                                                                       Armistead App. 0398



     22.    Finally, the clinical guidelines from all these associations have become

largely outdated. As detailed in the Studies of Transition Outcomes section of this

report, there was some reason, circa 2010, to expect positive outcomes among children

who transition, owing to optimistic findings reported from the Netherlands.11 Early
positive findings, however, have been retracted after statistical errors were

identified, 12 or shown to be more attributable to mental health counseling rather than

to medical transition. 13 The professional societies’ statements were produced during

that earlier phase.

     23.    In contrast with these U.S.-based associations, public healthcare systems

throughout the world have instead been withdrawing their earlier support for

childhood transition, responding to the increasingly recognized risks associated with

hormonal interventions and the now clear lack of evidence that medical transition

was benefitting most children, as opposed to the mental health counseling

accompanying transition. These have included Sweden 14,                 15,   Finland 16,   17,   and the

United Kingdom 18, and the Royal Australian and New Zealand College of

Psychiatrists. 19

     24.    Adkins repeatedly claimed success on the basis of what her patients tell

her. In the absence of any systematic method, however, it is not possible to evaluate

to what extent such a conclusion reflects human recall bias, cases of negative

outcomes dropping out of treatment thus becoming invisible to Adkins, the

aforementioned impression management efforts of clients, psychotherapy that they

were receiving at the same time, or simple maturation during which the patients


11   de Vries, et al., 2011.
12   Kalin, 2020.
13   c.f., Carmichael, et al., 2021; Biggs, 2019; Biggs, 2020.
14   Swedish Agency of Health Technology Assessment and Assessment of Social Services, 2019.
15   Nainggolan, 2021.
16   Finland Ministry of Social Affairs and Health, Council for Choices in Health Care, 2020, June 11.
17   Finland Ministry of Social Affairs and Health, Council for Choices in Health Care, 2020, June 16.
18   United Kingdom National Health Service (NHS), 2021, March 11.
19   McCall, 2021.


                                                  9
                                                                        Armistead App. 0399



would have experienced improved mental health regardless of transition. Indeed, the

very purpose of engaging in systematic, peer-reviewed research instead of relating

anecdotal recollections is to rule out exactly these biases.

     25.    Adkins referred to disorders of sexual development (DSDs) and intersex

variations to claim that the very notion of there being two sexes is inherently flawed

(i.e., challenging “singular biological sex”). Although they both potentially involve

medical alteration of genitalia, these are not comparable issues. DSDs and intersex

conditions develop before birth, and objective medical testing is capable of confirming

diagnoses. Her claims not only misrepresent the research literature on DSDs, but

also failed to engage the relevant scientific concept, “construct validity.” Adkins

claimed DSD prevalences of 1 in 1000 live births and 1 in 300 people in the world

(Adkins Report at 11), leaving unclear how there could be a larger proportion of such

people living in the world than are born in the first place. The scientific literature,

however, shows that DSDs are much rarer than this 20 and that the very large
majority of DSDs are the hypospadias—mislocations of the urethra on the penis. 21

Because of the biological processes involved in causing them, hypospadias are

classified as disorders of sexual development. That some boys are born with

mislocated urethra is falsely taken by Adkins to demonstrate that ‘there are more

than just boys and girls’.

     26.    Overall, Adkins’ argument was that, because there exist exceptions among

features which distinguish male from female, the distinction itself is entirely moot.

Although she did not use the term, Adkins is claiming that the existence of these

exceptions demonstrates that sex lacks “construct validity.” Her argument does not,

however, follow from how construct validity is determined in science—very many

scientific classification systems include exceptions. Scientific constructs are not


20   Sax, 2002.
21   Bancroft, 2009.


                                           10
                                                                          Armistead App. 0400



determined by any one of the components it reflects, in this case being each of the sex

chromosomes, sex hormones, sexually dimorphic genitalia, etc. Rather, such

constructs are represented by the generalizable interrelationships among its multiple

components. Notwithstanding exceptions in an individual component in an individual

case, the interrelationships among the network of components remains intact. The

existence of people born with a clubfoot or undeveloped leg does not challenge the

classification of humans as a bipedal species.

     27.     Similarly to Dr. Adkins, Dr. Safer claimed that “gender identity is durable

and cannot be changed by medical intervention,” providing no evidence or reference

to the research literature. It is not at all apparent upon what basis such a statement

about durability can be made, however. It has been the unanimous conclusion of every

follow-up study of gender dysphoric children ever conducted, not only that gender

identity does change, but also that it changes in the large majority of cases, as

documented below. This is, of course, very different from what is reported by

transgender adults—they are the very people for whom gender dysphoria did endure.

Regarding responses to clinical intervention, I am not aware of, and Safer did not cite

any research reports of medical interventions attempting to change gender identity,

regardless of outcome. It is not clear whether Safer intended this comment to apply
also to psychological/non-medical interventions.

V.         Evidence Missing from Plaintiffs’ Expert Reports
     28.     One   of   the   most   widespread    public   misunderstandings     about

transsexualism and people with gender dysphoria is that all cases of gender

dysphoria represent the same phenomenon; however, the clinical science has long

and consistently demonstrated that gender dysphoric children (cases of early-onset

gender dysphoria) do not represent the same phenomenon as adult gender dysphoria




                                            11
                                                                        Armistead App. 0401



(cases of late-onset gender dysphoria), 22 merely attending clinics at younger ages.
That is, gender dysphoric children are not simply younger versions of gender

dysphoric adults. They differ in every known regard, from sexual interest patterns,

to responses to treatments. A third presentation has recently become increasingly

observed among people presenting to gender clinics: These cases appear to have an

onset in adolescence in the absence of any childhood history of gender dysphoria. Such

cases have been called adolescent-onset or “rapid-onset” gender dysphoria (ROGD).

     29.     In the context of school athletics, the adult-onset phenomenon would not

seem relevant; however, very many public misunderstandings and expert

misstatements come from misattributing evidence or personal experience from one of

these types to the other. For example, there exist only very few cases of transition

regret among adult transitioners, whereas the research has unanimously shown that

the majority of children with gender dysphoria desist—that is, cease to experience

such dysphoria by or during puberty. A brief summary of the adult-onset phenomenon

is included, to facilitate distinguishing features which are unique to childhood gender

dysphoria.

           A. Adult-Onset Gender Dysphoria
     30.     People with adult-onset gender dysphoria typically attend clinics

requesting transition services in mid-adulthood, usually in their 30s or 40s. Such

individuals are nearly exclusively male. 23 They typically report being sexually

attracted to women and sometimes to both men and women. Some cases profess

asexuality, but very few indicate any sexual interest in or behavior involving men. 24

Cases of adult-onset gender dysphoria are typically associated with a sexual interest

pattern (medically, a paraphilia) involving themselves in female form. 25


22   Blanchard, 1985.
23   Blanchard, 1990, 1991.
24   Blanchard, 1988.
25   Blanchard 1989a, 1989b, 1991.


                                           12
                                                                        Armistead App. 0402



             1. Outcome Studies       of   Transition   in   Adult-Onset     Gender
                Dysphoria
     31.     Clinical research facilities studying gender dysphoria have repeatedly

reported low rates of regret (less than 3%) among adult-onset patients who

underwent complete transition (i.e., social, plus hormonal, plus surgical transition).

This has been widely reported by clinics in Canada, 26 Sweden, 27 and the
Netherlands. 28

     32.     Importantly, each of the Canadian, Swedish, and Dutch clinics for adults

with gender dysphoria all performed “gate-keeping” procedures, disqualifying from

medical services people with mental health or other contraindications. One would not

expect the same results to emerge in the absence of such gate-keeping or when gate-

keepers apply only minimal standards or cursory assessment.

             2. Mental Health Issues in Adult-Onset Gender Dysphoria
     33.     The research evidence on mental health issues in gender dysphoria

indicates it to be different between adult-onset versus adolescent-onset versus

prepubescent-onset types. The co-occurrence of mental illness with gender dysphoria

in adults is widely recognized and widely documented. 29 A research team in 2016

published a comprehensive and systematic review of all studies examining rates of

mental health issues in transgender adults. 30 There were 38 studies in total. The

review indicated that many studies were methodologically weak, but nonetheless

concluded (1) that rates of mental health issues among people are highly elevated

both before and after transition, (2) but that rates were less elevated among those

who completed transition. Analyses were not conducted in a way so as to compare the

elevation in mental health issues observed among people newly attending clinics to

improvement after transition. Also, several studies showed more than 40% of patients

26   Blanchard, et al., 1989.
27   Dhejneberg, et al., 2014.
28   Wiepjes, et al., 2018.
29   See, e.g., Hepp, et al., 2005.
30   Dhejne, et al., 2016.


                                           13
                                                                       Armistead App. 0403



becoming “lost to follow-up.” With attrition rates that high, it is unclear to what

extent the information from the available participants genuinely reflects the whole

sample. The very high “lost to follow-up” rate leaves open the possibility of

considerably more negative results overall.

   34.    An important caution applies to interpreting these results: These very high

proportions of mental health issues come from people who are attending a clinic for

the first time and are undergoing assessment. Clinics serving a “gate-keeper” role

divert candidates with mental health issues away from medical intervention. The

side-effect of removing these people from the samples of transitioners is that if a

researcher compared the average mental health of individuals coming into the clinic

with the average mental health of individuals going through medical transition, then

the post-transition group would appear to show a substantial improvement, even

though transition had no effect at all: The removal of people with poorer mental

health created the statistical illusion of improvement among the remaining people.

   35.    The long-standing and consistent finding that gender dysphoric adults have

high rates of mental health issues both before and after transition and the finding

that those mental health issues cause the gender dysphoria (the epiphenomenon)

rather than the other way around indicate a critical point: To the extent that gender
dysphoric children resemble adults, we should not expect mental health to improve

as a result of transition. Mental health issues should be resolved before any

transition.




                                         14
                                                                                 Armistead App. 0404



           B. Childhood Onset (Pre-Puberty) Gender Dysphoria

             1. Prospective Studies of Childhood-Onset Gender Dysphoria
                Show that Most Children Desist in the “Natural Course” by
                Puberty
     36.     The large majority of childhood onset cases of gender dysphoria occur in

biological males, with clinics reporting 2–6 biological male children to each female.31
     37.     Prepubescent children (and their parents) have been approaching mental

health professionals for help with their unhappiness with their sex and belief they

would be happier living as the other for many decades. Projects following-up and

reporting on such cases began being published in the 1970s, with subsequent

generations of research employing increasingly sophisticated methods studying the

outcomes of increasingly large samples. In total, there have now been a total of 11

such outcomes studies. See the appendix to Appendix 2 (listing these studies).

     38.     In sum, despite coming from a variety of countries, conducted by a variety

of labs, using a variety of methods, all spanning four decades, every study without

exception has come to the identical conclusion: Among prepubescent children who feel

gender dysphoric, the majority cease to want to be the other gender over the course

of puberty—ranging from 61–88% desistance across the large, prospective studies.

Such cases are often referred to as “desisters,” whereas children who continue to feel

gender dysphoria are often called “persisters.”

     39.     Notably, in most cases, these children were receiving professional

psychosocial support across the study period aimed not at affirming cross-gender

identification, but at resolving stressors and issues potentially interfering with

desistance. While beneficial to these children and their families, the inclusion of

therapy in the study protocol represents a complication for the interpretation of the

results: That is, it is not possible to know to what extent the observed outcomes

(predominant desistance, with a small but consistent occurrence of persistence) were


31   Cohen-Kettenis, et al., 2003; Steensma, et al., 2018; Wood, et al., 2013.


                                                    15
                                                                           Armistead App. 0405



influenced by the psychosocial support, or would have emerged regardless. It can be

concluded only that prepubescent children who suffer gender dysphoria and receive

psychosocial support focused on issues other than “affirmation” of cross-gender

identification do in fact desist in suffering from gender dysphoria, at high rates, over

the course of puberty.

   40.    While the absolute number of those who present as prepubescent children

with gender dysphoria and “persist” through adolescence is very small in relation to

the total population, persistence in some subjects was observed in each of these

studies. Thus, the clinician cannot take either outcome for granted.

   41.    It is because of this long-established and invariably consistent research

finding that desistance is probable, but not inevitable, that the “watchful waiting”

method became the standard approach for assisting gender dysphoric children. The

balance of potential risks to potential benefits is very different for groups likely to

desist versus groups unlikely to desist: If a child is very likely to persist, then taking

on the risks of medical transition might be more worthwhile than if that child is very

likely to desist in transgender feelings.

   42.    The consistent observation of high rates of desistance among pre-pubertal

children who present with gender dysphoria demonstrates a pivotally important—
yet often overlooked—feature: because gender dysphoria so often desists on its own,

clinical researchers cannot assume that therapeutic intervention cannot facilitate or

speed desistance for at least some patients. Such is an empirical question, and there

has not yet been any such study.

   43.    It is also important to note that research has not yet identified any reliable

procedure for discerning which children who present with gender dysphoria will

persist, as against the majority who will desist, absent transition and “affirmation.”

Such a method would be valuable, as the more accurately that potential persisters

can be distinguished from desisters, the better the risks and benefits of options can


                                            16
                                                                             Armistead App. 0406



be weighted. Such “risk prediction” and behavioral “test construction” are standard

components of applied statistics in the behavioral sciences. Multiple research teams

have reported that, on average, groups of persisters are somewhat more gender non-

conforming than desisters, but not so different as to usefully predict the course of a

particular child. 32
     44.    In contrast, a single research team, led by Dr. Kristina Olson, claimed the

opposite, asserting to have developed a method of distinguishing persisters from

desisters, using a single composite score representing a combination of children’s

“peer preference, toy preference, clothing preference, gender similarity, and gender

identity.” 33 That team reported a statistical association (mathematically equivalent

to a correlation) between that composite score and the probability of persistence. As

they described their result, “Our model predicted that a child with a gender-

nonconformity score of .50 would have roughly a .30 probability . . . of socially

transitioning. By contrast, a child with gender-nonconformity score of .75 would have

roughly a .48 probability.” 34 Although the authors declared that “social transitions

may be predictable from gender identification and preferences,” 35 their actual results

suggest the opposite: The gender-nonconforming group who went on to transition

(socially) had a mean composite score of .73 (which is less than .75), and the gender-

nonconforming group who did not transition had a mean composite score of .61, also

less than .75. 36 Both of those are lower than the value of .75, so both of those would

be more likely than not to desist, rather than to proceed to transition. Thus, Olson’s

model does not distinguish likely from unlikely to transition; rather, it distinguishes

unlikely from even less likely to transition.



32   Singh, et al. (2021); Steensma et al., 2013.
33   Rae, et al., 2019, at 671.
34   Rae, et al., 2019, at 673.
35   Rae, et al., 2019, at 669.
36   Rae, et al., 2019, Supplemental Material at 6, Table S1, bottom line.


                                                  17
                                                                        Armistead App. 0407



   45.    Although it remains possible for some future finding to yield a method to

identify with sufficient accuracy which gender dysphoric children will persist, there

does not exist such a method at the present time. Moreover, in the absence of long-

term follow-up, it cannot be known what proportions come to regret having

transitioned and then detransition. Because only a minority of gender dysphoric chil-

dren persist in feeling gender dysphoric in the first place, “transition-on-demand” in-

creases the probably of unnecessary transition and unnecessary medical risks.

          2. “Watchful Waiting” and “The Dutch Approach”
   46.    It was this state of the science—that the majority of prepubescent children

will desist in their feelings of gender dysphoria and that we lack an accurate method

of identifying which children will persist—that led to the development of a clinical

approach, often called “The Dutch Approach” (referring to The Netherlands clinic

where it was developed) including “Watchful Waiting” periods. Internationally, the

Dutch Approach is currently the most widely respected and utilized method for

treatment of children who present with gender dysphoria.

   47.    The purpose of these methods was to compromise the conflicting needs

among: clients’ desires upon assessment, the long-established and repeated

observation that those preferences will change in the majority of (but not all)
childhood cases, and that cosmetic aspects of medical transition are perceived to be

better when they occur earlier rather than later.

   48.    The Dutch Approach (also called the “Dutch Protocol”) was developed over

many years by the Netherlands’ child gender identity clinic, incorporating the

accumulating findings from their own research as well as those reported by other

clinics working with gender dysphoric children. They summarized and explicated the

approach in their peer-reviewed report, Clinical management of gender dysphoria in

children and adolescents: The Dutch Approach (de Vries & Cohen-Kettenis, 2012).




                                          18
                                                                          Armistead App. 0408



The components of the Dutch Approach are:
            x   no social transition at all considered before age 12 (watchful waiting
                period),
            x   no puberty blockers considered before age 12,
            x   cross-sex hormones considered only after age 16, and
            x   resolution of mental health issues before any transition.
     49.    For youth under age 12, “the general recommendation is watchful waiting

and carefully observing how gender dysphoria develops in the first stages of puberty.” 37
     50.    The age cut-offs of the Dutch Approach authors were not based on any

research demonstrating their superiority over other potential age cut-off’s. Rather,

they were chosen to correspond to ages of consent to medical procedures under Dutch

law. But whatever their original rationale, the data from this clinic simply contains

no information about safety or efficacy of these measures at younger ages.

     51.    The authors of the Dutch Approach repeatedly and consistently emphasize

the need for extensive mental health assessment, including clinical interviews,

formal psychological testing with validated psychometric instruments, and multiple

sessions with the child and the child’s parents.

     52.    Within the Dutch approach, there is no social transition before age twelve.

That is, social affirmation of the new gender may not begin until age 12—as

desistance is less likely to occur past that age. “Watchful Waiting” refers to a child’s

developmental period up to that age. Watchful waiting does not mean do nothing but

passively observe the child. Such children and families typically present with

substantial distress involving both gender and non-gender issues. It is during the

watchful waiting period that a child (and other family members as appropriate) would

undergo therapy, resolving other issues which may be exacerbating psychological

stress or dysphoria. As noted by the Dutch clinic, “[T]he adolescents in this study

received extensive family or other social support . . . [and they] were all regularly


37   de Vries & Cohen-Kettenis, 2012, at 301.


                                                19
                                                                                         Armistead App. 0409



seen by one of the clinic’s psychologists or psychiatrists.” 38 One is actively treating
the person, while carefully “watching” the dysphoria.

     53.     The inclusion of psychotherapy and support during the watchful waiting

period is, clinically, a great benefit to the gender dysphoric children and their parents.

The inclusion of psychotherapy and support poses a scientific complication, however:

It becomes difficult to know to what extent the outcomes of these cases might be

related to receiving psychotherapy received versus being “spontaneous” desistance,

which would have occurred on its own anyway. This situation is referred to in science

as a “confound.”

             3. Studies of Transition Outcomes: Overview
     54.     Very many strong claims have appeared in the media and on social media

asserting that transition results in improved mental health or, contradictorily, in

decreased mental health. In the highly politicized context of gender and transgender

research, many authors have cited only the findings which appear to support one side,

cherry-picking from the complete set of research reports. Seemingly contradictory

findings are common in science with on-going research projects. When considered

together, however, the full set of relevant reports show that a coherent pattern and

conclusion has emerged over time, as detailed in the following sections. Initial

optimism was suggested by reports of improvements in mental health. 39 Upon

continued analysis, these seeming successes turned out to be illusory, however: The

Bränström and Pachankis (2019) finding has been retracted. 40 The greater mental

health among transitioners reported by Costa, et al. (2015) was noted to be because

the control group consisted of cases excluded from hormone eligibility exactly because

they showed poor mental health to begin with. 41 The improvements reported by the


38   de Vries, et al., 2011, at 2280-81.
39   Bränström & Pachankis 2019; Costa, et al., 2015; de Vries, et al., 2011; de Vries, et al., 2014.
40   Kalin, 2020.
41   Biggs, 2019.


                                                    20
                                                                                     Armistead App. 0410



de Vries studies from the Dutch Clinic themselves appear genuine; however, because

that clinic also provides psychotherapy to all cases receiving puberty-blockers, it

remains entirely plausible that the psychotherapy and not the puberty blockers

caused the improvements. 42 New studies continued to appear an accelerating rate,
repeatedly reporting deteriorations or lacks of improvement in mental health 43 or

lack of improvement beyond psychotherapy alone, 44 and other studies continue to re-

port on only the combined effect of both psychotherapy and hormone treatment

together. 45
                 a. Outcomes of The Dutch Approach (studies from before 2017):
                    Mix of positive, negative, and neutral outcomes
     55.     The research confirms that some, but not all, adolescents improve on some,

but not all, indicators of mental health and that those indicators are inconsistent

across studies. Thus, the balance of potential benefits to potential risks differs across

cases, and thus suggests different courses of treatment across cases.

     56.     The Dutch clinical research team followed up 70 youth undergoing puberty

suppression at their clinic. 46 The youth improved on several variables upon follow-up

as compared to pre-suppression measurement, including depressive symptoms and

general functioning. No changes were detected in feelings of anxiety or anger or in

gender dysphoria as a result of puberty suppression; however, natal females using

puberty suppression suffered increased body dissatisfaction both with their

secondary sex characteristics and with nonsexual characteristics. 47

     57.     As the report authors noted, while it is possible that the improvement on

some variables was due to the puberty-blockers, it is also possible that the

improvement was due to the mental health support, and it is possible that the


42   Biggs, 2020.
43   Carmichael, et al., 2021; Hisle-Gorman, et al., 2021; Kaltiala, et al., 2020.
44   Achille, et al., 2020.
45   Kuper, et al., 2020; van der Miesen, et al., 2020, at 703.
46   de Vries, et al. 2011.
47   Biggs, 2020.


                                                    21
                                                                           Armistead App. 0411



improvement occurred only on its own with natural maturation. So any conclusion

that puberty blockers improved the mental health of the treated children is not

justified by the data. Because this study did not include a control group (another

group of adolescents matching the first group, but not receiving medical or social

support), these possibilities cannot be distinguished from each other, representing a

confound. The authors of the study were explicit in noting this themselves: “All these

factors may have contributed to the psychological well-being of these gender

dysphoric adolescents.” 48
     58.     The authors were careful not to overstate the implications of their results,

“We cautiously conclude that puberty suppression may be a valuable element in

clinical management of adolescent gender dysphoria.” 49

     59.     Costa, et al. (2015) reported on preliminary outcomes from the Tavistock

and Portman NHS Foundation Trust clinic in the UK. They compared the

psychological functioning of one group of youth receiving psychological support with

a second group receiving both psychological support as well as puberty blocking

medication. Both groups improved in psychological functioning over the course of the

study, but no statistically significant differences between the groups was detected at

any point. 50 As those authors concluded, “Psychological support and puberty

suppression were both associated with an improved global psychosocial functioning

in GD adolescence. Both these interventions may be considered effective in the

clinical management of psychosocial functioning difficulties in GD adolescence.” 51

Because psychological support does not pose the physical health risks that hormonal

interventions or surgery does (such as loss of reproductive function), one cannot

justify taking on the greater risks of social transition, puberty blockers or surgery


48   de Vries, et al. 2011, at 2281.
49   de Vries, et al. 2011, at 2282, italics added.
50   Costa, et al., at 2212 Table 2.
51   Costa, et al., at 2206.


                                                      22
                                                                           Armistead App. 0412



without evidence of such treatment producing superior results. Such evidence does

not exist.
                 b. Clinicians and advocates have invoked the Dutch Approach
                    while departing from its protocols in important ways.
     60.     The reports of partial success contained in de Vries, et al. 2011 called for

additional research, both to confirm those results and to search for ways to maximize

beneficial results and minimize negative outcomes. Instead, many other clinics and

clinicians proceeded on the basis of the positives only, broadened the range of people

beyond those represented in the research findings, and removed the protections

applied in the procedures that led to those outcomes. Many clinics and individual

clinicians have reduced the minimum age for transition to 10 instead of 12. While the

Dutch Protocol involves interdisciplinary teams of clinicians, many clinics now rely

on a single assessor, in some cases one without adequate professional training in

childhood and adolescent mental health. Comprehensive, longitudinal assessments

(e.g., one and a half years 52) became approvals after one or two assessment sessions.
Validated, objective measures of youths’ psychological functioning were replaced with

clinicians’ subjective (and first) opinions, often reflecting only the clients’ own self-

report. Systematic recordings of outcomes, so as to allow for detection and correction

of clinical deficiencies, were eliminated.

     61.     Notably, Dr. Thomas Steensma, central researcher of the Dutch clinic, has

decried other clinics for “blindly adopting our research” despite the indications that

those results may not actually apply: “We don’t know whether studies we have done

in the past are still applicable to today. Many more children are registering, and also

a different type.” 53 Steensma opined that “every doctor or psychologist who is involved

in transgender care should feel the obligation to do a good pre- and post-test.” But

few if any are doing so.

52   de Vries, et al., 2011.
53   Tetelepta, 2021.


                                             23
                                                                           Armistead App. 0413



                 c. Studies by other clinicians in other countries have failed to
                    reliably replicate the positive components of the results
                    reported by the Dutch clinicians in de Vries et al. 2011.
     62.     The indications of potential benefit from puberty suppression in at least

some cases has led some clinicians to attempt to replicate the positive aspects of those

findings. These efforts have not succeeded.

     63.     The Tavistock and Portman clinic in the U.K. recently released its findings,

attempting to replicate the outcomes reported by the Dutch clinic. 54 Study
participants were ages 12–15 (Tanner stages 3 for natal males, Tanner 2 for natal

females) and were repeatedly tested before beginning puberty-blocking medications

and then every six months thereafter. Cases exhibiting serious mental illnesses (e.g.,

psychosis, bipolar disorder, anorexia nervosa, severe body-dysmorphic disorder

unrelated to gender dysphoria) were excluded. Relative to the time point before

beginning puberty suppression, there were no significant changes in any

psychological measure, from either the patients’ or their parents’ perspective.

     64.     A multidisciplinary team from Dallas published a prospective follow-up

study which included 25 youths as they began puberty suppression. 55 (The other 123

study participants were undergoing cross-sex hormone treatment.) Interventions were

administered according to “Endocrine Society Clinical Practice Guidelines.” 56 Their

analyses found no statistically significant changes in the group undergoing puberty

suppression on any of the nine measures of wellbeing measured, spanning tests of

body satisfaction, depressive symptoms, or anxiety symptoms. 57 (Although the

authors reported detecting some improvements, these were only found when the large

group undergoing cross-sex hormone treatment were added in.) Although the Dutch




54   Carmichael, et al., 2021.
55   Kuper, et al., 2020, at 5.
56   Kuper, et al., 2020, at 3, referring to Hembree, et al., 2017.
57   Kuper, et al., 2020, at Table 2.


                                                    24
                                                                         Armistead App. 0414



Approach includes age 12 as a minimum for puberty suppression treatment, this team

provided such treatment beginning at age 9.8 years (full range: 9.8–14.9 years). 58
     65.     Achille, et al. (2020) at Stony Brook Children’s Hospital in New York

treated a sample of 95 youth with gender dysphoria, providing follow-up data on 50

of them. (The report did not indicate how these 50 were selected from the 95.) As well

as receiving puberty blocking medications, “Most subjects were followed by mental

health professionals. Those that were not were encouraged to see a mental health

professional.” 59 The puberty blockers themselves “were introduced in accordance with

the Endocrine Society and the WPATH guidelines.” 60 Upon follow-up, some

incremental improvements were noted; however, after statistically adjusting for

psychiatric medication and engagement in counselling, “most predictors did not reach

statistical significance.” 61 That is, puberty blockers did not improve mental health

any more than did mental health care on its own.

     66.     In a recent update, the Dutch clinic reported continuing to find improve-

ment in transgender adolescents’ psychological functioning, reaching age-typical lev-

els, “after the start of specialized transgender care involving puberty suppression.” 62

Unfortunately, because the transgender care method of that clinic involves both

psychosocial support and puberty suppression, it cannot be known which of those (or

their combination) is driving the improvement. Also, the authors indicate that the

changing demographic and other features among gender dysphoric youth might have

caused the treated group to differ from the control group in unknown ways. As the

study authors themselves noted, “The present study can, therefore, not provide




58   Kuper, et al., 2020, at 4.
59   Achille, et al., 2020, at 2.
60   Achille, et al., 2020, at 2.
61   Achille, et al., 2020, at 3 (italics added).
62   van der Miesen, et al., 2020, at 699.


                                                    25
                                                                            Armistead App. 0415



evidence about the direct benefits of puberty suppression over time and long-term

mental health outcomes.” 63
     67.     It has not yet been determined why the successful outcomes reported by the

Dutch child gender clinic a decade ago failed to emerge when applied by others more

recently. It is possible that:
             (1) The Dutch Approach itself does not work and that their originally
                 successful results were a fluke;
             (2) The Dutch Approach does work, but only in the Netherlands, with local
                 cultural, genetic, or other unrecognized factors that do not generalize to
                 other countries;
             (3) The Dutch Approach itself does work, but other clinics and individual
                 clinicians are removing safeguards and adding short-cuts to the
                 approach, and those changes are hampering success.
             (4) The Dutch Approach does work, but the cause of the improvement is the
                 psychosocial support, rather than any medical intervention, which other
                 clinics are not providing.
     68.     The failure of other clinics to repeat the already very qualified success of

the Dutch clinic demonstrates the need for still greater caution before endorsing

transition and the greater need to resolve potential mental health obstacles before

doing so.

             4. Mental Health Issues in Childhood-Onset Gender Dysphoria
     69.     As shown by the outcomes studies, there is no statistically significant

evidence that transition reduces the presence of mental illness among transitioners.

As shown repeatedly by clinical guidelines from multiple professional associations,

mental health issues are expected or required to be resolved before undergoing

transition.      The reasoning behind these conclusions is that children may be

expressing gender dysphoria, not because they are experiencing what gender

dysphoric adults report, but because they mistake what their experiences indicate or

to what they might lead. For example, a child experiencing depression from social




63   van der Miesen, et al., 2020, at 703.


                                             26
                                                                           Armistead App. 0416



isolation might develop hope—and the unrealistic expectation—that transition will

help them fit in, this time as and with the other sex.

     70.     If a child undergoes transition, discovering only then that their mental

health or social situations will not in fact change, the medical risks and side-effects

(such as sterilization) will have been borne for no reason. If, however, a child resolves

the mental health issues first with the gender dysphoria resolving with it (which the

research literature shows to be the case in the large majority), then the child need

not undergo transition at all, but yet still retains the opportunity to do so later.

     71.     Elevated rates of multiple mental health issues among gender dysphoric

children are reported throughout the research literature. A formal analysis of

children (ages 4–11) undergoing assessment at the Dutch child gender clinic showed

52% fulfilled criteria for a DSM axis-I disorder. 64 A comparison of the children
attending the Canadian versus Dutch child gender dysphoria clinic showed only few

differences between them, but a large proportion in both groups were diagnosable

with clinically significant mental health issues. Results of standard assessment

instruments (Child Behavior Check List, or CBCL) demonstrated that the average

score was in the clinical rather than healthy range, among children in both clinics. 65

When expressed as percentages, among 6–11-year-olds, 61.7% of the Canadian and

62.1% of the Dutch sample were in the clinical range.

     72.     A systematic, comprehensive review of all studies of Autism Spectrum

Disorders (ASDs) and Attention-Deficit Hyperactivity Disorder (ADHD) among

children diagnosed with gender dysphoria was recently conducted. It was able to

identify a total of 22 studies examining the prevalence of ASD or ADHD I youth with

gender dysphoria. Studies reviewing medical records of children and adolescents

referred to gender clinics showed 5–26% to have been diagnosed with ASD. 66

64   Wallien, et al., 2007.
65   Cohen-Kettenis, et al., 2003, at 46.
66   Thrower, et al., 2020.


                                            27
                                                                           Armistead App. 0417



Moreover, those authors gave specific caution on the “considerable overlap between

symptoms of ASD and symptoms of gender variance, exemplified by the subthreshold

group which may display symptoms which could be interpreted as either ASD or

gender variance. Overlap between symptoms of ASD and symptoms of GD may well

confound results.” 67 When two or more issues are present at the same time (in this
case, gender dysphoria present at the same time as ADHD or ASD), researchers

cannot distinguish when a result is associated with or caused by the issue of interest

(gender dysphoria itself) or one of the side issues, called confounds (ADHD or ASD,

in the present case). 68 The rate of ADHD among children with GD was 8.3–11%.

Conversely, in data from children (ages 6–18) with Autism Spectrum Disorders

(ASDs) show they are more than seven times more likely to have parent-reported

“gender variance.” 69

           C. Adolescent-Onset Gender Dysphoria

             1. Features of Adolescent-Onset Gender Dysphoria
     73.     A third profile has begun to present to clinicians or socially,

characteristically distinct from the previously identified ones. 70 Unlike adult-onset

gender dysphoria (and also unlike childhood-onset, see supra Part IV.B.2), this group

is predominately biologically female. This group first presents in adolescence, but

lacks the history of cross-gender behavior in childhood like the childhood-onset cases

have. It is this feature which led to the term Rapid Onset Gender Dysphoria

(ROGD). 71 The majority of cases appear to occur within clusters of peers and in

association with increased social media use 72 and especially among people with

autism or other neurodevelopmental or mental health issues. 73

67   Thrower, et al., 2020, at 703.
68   Cohen-Kettenis et al., 2003, at 51; Skelly et al., 2012.
69   Janssen, et al., 2016.
70   Kaltiala-Heino, et al., 2015; Littman, 2018.
71   Littman, 2018.
72   Littman, 2018.
73   Kaltiala-Heino, et al., 2015; Littman, 2018; Warrier, et al., 2020.


                                                    28
                                                                          Armistead App. 0418



     74.    It cannot be easily determined whether the self-reported gender dysphoria

is a result of other underlying issues or if those mental health issues are the result of

the stresses of being a stigmatized minority, as some writers are quick to assume. 74
See infra Part VI.E (discussing the minority stress hypothesis). Importantly, and

unlike other presentations of gender dysphoria, people with rapid-onset gender

dysphoria often (47.2%) experienced declines rather than improvements in mental

health when they publicly acknowledged their gender status.75 Although long-term

outcomes have not yet been reported, these distinctions argue against generalizing

findings from the other types of gender dysphoria to this one. That is, in the absence

of evidence, researchers cannot assume that the pattern found in childhood-onset or

adult-onset gender dysphoria also applies to rapid-onset (aka adolescent-onset)

gender dysphoria. That is, the group differences already observed argue against the

conclusion that any given feature would be present, in general, throughout all types

of gender dysphoria.

            2. Prospective Studies of Social Transition and Puberty Blockers
               in Adolescence
     75.    There do not yet exist prospective outcomes studies either for social

transition or for medical interventions for people whose gender dysphoria began in

adolescence. That is, instead of taking a sample of individuals and following them

forward over time (thus permitting researchers to account for people dropping out of

the study, people misremembering the order of events, etc.), all studies have thus far

been retrospective. It is not possible for such studies to identify what factors caused

what outcomes. No study has yet been organized in such a way as to allow for an

analysis of the adolescent-onset group, as distinct from childhood-onset or adult-onset

cases. Many of the newer clinics (not the original clinics systematically tracking and

reporting on their case results) fail to distinguish between people who had childhood-

74   Boivin, et al., 2020.
75   Biggs, 2020; Littman, 2018.


                                           29
                                                                                        Armistead App. 0419



onset gender dysphoria and have aged into adolescence and people whose onset was

not until adolescence. Similarly, there are clinics failing to distinguish people who

had adolescent-onset gender dysphoria and aged into adulthood from adult-onset

gender dysphoria. Studies selecting groups according to their current age instead of

their ages of onset can produce only confounded results, representing unclear mixes

according to how many of each type of case wound up in the final sample.

            3. Mental Illness in Adolescent-Onset Gender Dysphoria
     76.    In 2019, a Special Section of the Archives of Sexual Behavior was published:

“Clinical Approaches to Adolescents with Gender Dysphoria.” It included this brief

yet thorough summary of rates of mental health issues among adolescents expressing

gender dysphoria by Dr. Aron Janssen of the Department of Child and Adolescent

Psychiatry of New York University: 76 The literature varies in the range of
percentages of adolescents with co-occurring disorders. The range for depressive

symptoms ranges was 6–42%, 77 with suicide attempts ranging 10 to 45%. 78 Self-

injurious thoughts and behaviors range 14–39%. 79 Anxiety disorders and disruptive

behavior difficulties including Attention Deficit/Hyperactivity Disorder are also

prevalent. 80 Gender dysphoria also overlaps with Autism Spectrum Disorder. 81

     77.    Of particular concern in the context of adolescent onset gender dysphoria is

Borderline Personality Disorder (BPD). The DSM criteria for BPD are:
            A pervasive pattern of instability of interpersonal relationships, self-
            image, and affects, and marked impulsivity beginning by early
            adulthood and present in a variety of contexts, as indicated by five (or
            more) of the following:
            1. Frantic efforts to avoid real or imagined abandonment. (Note: Do not
               include suicidal or self-mutilating behaviour covered in Criterion 5.)


76 Janssen, et al., 2019.
77 Holt, et al., 2016; Skagerberg, et al., 2013; Wallien, et al., 2007.
78 Reisner, et al., 2015.
79 Holt, et al., 2016; Skagerberg, et al., 2013.
80 de Vries, et al., 2011; Mustanski, et al., 2010; Wallien, et al., 2007.
81 de Vries, et al., 2010; Jacobs, et al., 2014; Janssen, et al., 2016; May, et al., 2016; Strang, et al.,
2014, 2016.


                                                   30
                                                                            Armistead App. 0420



            2. A pattern of unstable and intense interpersonal relationship
               characterized by alternating between extremes of idealization and
               devaluation.
            3. Identity disturbance: markedly and persistently unstable self-image
               or sense of self.
            4. Impulsivity in at least two areas that are potentially self-damaging
               (e.g., spending, sex, substance abuse, reckless driving, binge eating).
               (Note: Do not include suicidal or self-mutilating behavior covered in
               Criterion 5.)
            5. Recurrent suicidal behaviour, gestures, or threats, or self-mutilating
               behavior.
            6. Affective instability due to a marked reactivity of mood (e.g., intense
               episodic dysphoria, irritability, or anxiety usually lasting a few hours
               and only rarely more than a few days).
            7. Chronic feelings of emptiness.
            8. Inappropriate, intense anger or difficulty controlling anger (e.g., fre-
               quent displays of temper, constant anger, recurrent physical fights).
            9. Transient, stress-related paranoid ideation or severe dissociative
               symptoms.
(Italics added.)

     78.    It is increasingly hypothesized that very many cases appearing to be ado-

lescent-onset gender dysphoria are actually cases of BPD. 82 That is, some people may
be misinterpreting their experiences to represent a gender identity issue, when it

instead represents the “identity disturbance” noted in symptom Criterion 3. Like

adolescent-onset gender dysphoria, BPD begins to manifest in adolescence, is

substantially more common among biological females than males, and occurs in 2–

3% of the population, rather than 1-in-5,000 people (i.e., 0.02%). Thus, if even only a

portion of people with BPD had an ‘identity disturbance’ that focused on gender

identity and were mistaken for transgender, they could easily overwhelm the number

of genuine cases of gender dysphoria.

     79.    A primary cause for concern is symptom Criterion 5: recurrent suicidality.

Regarding the provision of mental health care, this is a crucial distinction: A person

with BPD going undiagnosed will not receive the appropriate treatments (the


82   E.g., Zucker, 2019.


                                            31
                                                                          Armistead App. 0421



currently most effective of which is Dialectical Behavior Therapy). A person with a

cross-gender identity would be expected to feel relief from medical transition, but

someone with BPD would not: The problem was not about gender identity, but about

having an unstable identity. Moreover, after a failure of medical transition to provide

relief, one would predict for these people increased levels of hopelessness and

increased risk of suicidality. One would predict also that misdiagnoses would occur

more often if one reflexively dismissed or discounted symptoms of BPD as responses

to “minority stress.” See infra Part VI.D (discussing minority stress).

      80.     Regarding research, there have now been several attempts to document

rates of suicidality among gender dysphoric adolescents. See infra Part VI.C. The

scientific concern presented by BPD is that it poses a potential confound: samples of

gender dysphoric adolescents could appear to have elevated rates of suicidality, not

because of the gender dysphoria (or transphobia in society), but because of the

number of people with BPD in the sample.

VI.         Alleged Scientific Claims Assessed

            A. Conversion Therapy
      81.     Activists and social media increasingly, but erroneously, apply the term

“conversion therapy” moving farther and farther from what the research has
reported. “Conversion therapy” (or “reparative therapy” and other names) was the

attempt to change a person’s sexual orientation; however, with the public more

frequently accustomed to “LGB” being expanded to “LGBTQ+”, the claims relevant

only to sexual orientation are being misapplied to gender identity. The research has

repeatedly demonstrated that once one explicitly acknowledges being gay or lesbian,

this is only rarely mistaken. That is entirely unlike gender identity, wherein the

great majority of children who declare cross-gender identity cease to do so by puberty,

as shown unanimously by every follow-up study ever published. As the field grows

increasingly polarized, any therapy failing to provide affirmation-on-demand is


                                            32
                                                                                      Armistead App. 0422



mislabeled “conversion therapy.” 83 Indeed, even actions of non-therapists, unrelated
to any therapy have been labelled conversion therapy, including the very prohibition

of biological males competing on female teams.84

           B. Claims that All Childhood Outcome Studies Are Wrong
     82.     As already indicated, the follow-up studies of gender dysphoric children are

unanimous in their conclusion that gender dysphoria desists in the large majority of

cases. Nonetheless, some authors assert that the entire set of prospective outcomes

studies on prepubescent children is wrong; that desistance is not, in fact, the usual

outcome for gender dysphoric children; and that results from various retrospective

studies are the more accurate picture. 85 As indicated in the responses published from

authors of several prospective outcomes studies (and as summarized below), the

detractors’ arguments are invalid. 86

     83.     There have been accusations that some of the prospective outcome studies

are old. This criticism would be valid only if newer studies showed different results

from the older studies; however, the findings of desistance are the same, indicating

that age of the studies is not, in fact, a factor.

     84.     There have been accusations that some studies failed to use a DSM

diagnosis, and should therefore be rejected. That would be a valid criticism only if

studies using the DSM showed different results from studies not using the DSM.

Because both kinds of studies showed the same results, one may conclude that DSM

status was not a factor, even if using a DSM diagnosis would have been a preferred

method.



83  D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021). One size
does not fit all: In support of psychotherapy for gender dysphoria. Archives of Sexual Behavior, 50, 7–
16.
84  Turban, J. (2021, March 16). Trans girls belong on girls’ sports teams. Scientific American.
www.scientificamerican.com/article/trans-girls-belong-on-girls-sports-teams/
85  Temple Newhook, et al., 2018; Winters, et al., 2018.
86  Steensma, et al., 2018a; Zucker, et al. 2018.


                                                  33
                                                                           Armistead App. 0423



   85.     There have been criticisms that some studies are too small to provide a

reliable result. It is indeed true that if larger studies showed different results from

the smaller studies, we would tend to favor the results of the larger studies. Because

the smaller studies came to the same conclusion as the larger studies, however, the

criticism is, once again, entirely moot.

   86.     There have been accusations that studies did not use the current DSM-5 as

their method of diagnosing gender dysphoric children. This criticism would be valid

only if there existed any studies using the DSM-5 against which to compare the

existing studies. The DSM-5 is still too recent for there yet to have been long-term

follow-up studies. It can be seen, however, that the outcome studies are the same

across the DSM-III, DSM-III-R, DSM-IV, and DSM-IV-TR.

   87.     In science, there cannot be any such thing as a perfect study. Especially in

medical research, where we cannot manipulate people in ways that would clear up

difficult questions, all studies will have a fault. In science, we do not, however, reject

every study with any identifiable short-coming—rather, we gather a diversity of

observations, made with their diversity of compromises to safety and ethics (and time

and cost, etc.), and tentatively accept the most parsimonious (simplest) explanation

of the full set, weighting each study according to their individual strengths and
weaknesses.

         C. Assessing Claims of Suicidality
   88.     In the absence of scientific evidence associating improvement with

transition among youth, demands for transition are increasingly accompanied by

hyperbolic warnings of suicide should there be delay or obstacle to affirmation-on-

demand. Social media circulate claims of extreme suicidality accompanied by

declarations that “I’d rather have a trans daughter than a dead son.” Such claims

convey only grossly misleading misrepresentations of the research literature,

however.


                                           34
                                                                              Armistead App. 0424



     89.    Despite that the media treat them as near synonyms, suicide and

suicidality are distinct phenomena. They represent different behaviors with different

motivations, with different mental health issues, and with differing clinical needs.

Suicide refers to completed suicides and the sincere intent to die. It is substantially

associated with impulsivity, using more lethal means, and being a biological male. 87
Suicidality refers to parasuicidal behaviors, including suicidal ideation, threats, and

gestures. These typically represent cries for help rather than an intent to die and are

more common among biological females. Suicidal threats can indicate any of many

problems or represent emotional blackmail, as typified in “If you leave me, I will kill

myself.” Professing suicidality is also used for attention- seeking or for the support or

sympathy it evokes from others, indicating distress much more frequently than an

intent to die.

     90.    The scientific study of suicide is inextricably linked to that of mental illness.

For example, as noted in the preceding, suicidality is a well-documented symptom of

Borderline Personality Disorder (as are chronic identity issues), and personality

disorders are highly elevated among transgender populations, especially adolescent-

onset. Thus, the elevations of suicidality among gender dysphoric adolescents may

not be a result of anything related to transition (or lack of transition), but to the

overlap with mental illness of which suicidality is a substantial part. Conversely,

improvements in suicidality reported in some studies may not be the result of

anything related to transition, but rather to the concurrent general mental health

support which is reported by the clinical reported prospective outcomes. Studies that

include more than one factor at the same time without accounting for each other

represent a “confound,” and it cannot be known which factor (or both) is the one

causing the effects observed. That is, when a study provides both mental health



87   Freeman, et al., 2017.


                                             35
                                                                           Armistead App. 0425



services and medical transition services at the same time, it cannot be known which

(or both) is what caused any changes.

     91.     A primary criterion for readiness for transition used by the clinics

demonstrating successful transition is the absence or resolution of other mental

health concerns, such as suicidality. In the popular media, however, indications of

mental health concerns are instead often dismissed as an expectable result caused by

Sexual Minority Stress (SMS). It is generally implied that such symptoms will

resolve upon transition and integration into an affirming environment. Dr. Adkins

makes it explicit in her report that the purpose of “the medical treatment for gender

dysphoria is to eliminate the clinically significant distress.” (Adkins, p. 5.)

     92.     Despite that relevant professional association statements repeatedly call

for mental health issues, including suicidality, to be resolved before transition (see

infra Section VI), threats of suicide are instead oftentimes used as the very

justification for labelling transition a ‘medical necessity’. However plausible it might

seem that failing to affirm transition causes suicidality, the epidemiological evidence

indicates that hypothesis to be incorrect: Suicide rates remains elevated even after

complete transition, as shown by a comprehensive review of 19 studies of suicidality

in gender dysphoria. 88
     93.     Of particular relevance in the present context is suicidality as a well-

documented symptom of Borderline Personality Disorder (BPD) and that very many

cases appearing to be adolescent-onset gender dysphoria actually represent cases of

BPD. [See full DSM-5 criteria already listed herein.] That is, some people may be

misinterpreting their experiencing of the broader “identity disturbance” of symptom

Criterion 3 to represent a gender identity issue specifically. Like adolescent-onset

gender dysphoria, BPD begins to manifest in adolescence and occurs in 2–3% of the



88   McNeil, et al., 2017.


                                           36
                                                                                       Armistead App. 0426



population, rather than 1-in-5,000 people. (Thus, if even only a portion of people with

BPD experienced an identity disturbance that focused on gender identity and were

mistaken for transgender, they could easily overwhelm the number of genuine cases

of gender dysphoria.)

     94.     Rates     of    completed       suicide      are   elevated      among   post-transition

transsexuals, but are nonetheless rare, 89 and BPD is repeatedly documented to be
greatly elevated among sexual minorities 90. Overall, rates of suicidal ideation and

suicidal attempts appear to be related—not to transition status—but to the social

support received: The research evidence shows that support decreases suicidality, but

that transition itself does not. Indeed, in some situations, social support was

associated with increased suicide attempts, suggesting the reported suicidality may

represent attempts to evoke more support. 91

           D. Assessing Demands for Social Transition and Affirmation-Only or
              Affirmation-on-Demand Treatment in Pre-Pubertal Children.
     95.     Colloquially, affirmation refers broadly to any actions that treat the person

as belonging to a new gender. In different contexts, that could apply to social actions

(use of a new name and pronouns), legal actions (changes to birth certificates), or

medical actions (hormonal and surgical interventions). That is, social transition, legal

transition, and medical transition (and subparts thereof) need not, and rarely do,

occur at the same time. In practice, there are cases in which a child has socially only

partially transitioned, such as presenting as one gender at home and another at

school or presenting as one gender with one custodial parent and another gender with

the other parent.

     96.     Referring to “affirmation” as a treatment approach is ambiguous: Although

often used in public discourse to take advantage of the positive connotations of the


89   Wiepjes, et al., 2020.
90   Reuter, et al., 2016; Rodriguez-Seiljas, et al., 2021; Zanarni, et al., 2021.
91   Bauer, et al., 2015; Canetto, et al., 2021.


                                                     37
                                                                         Armistead App. 0427



term, it obfuscates what exactly is being affirmed. This often leads to confusion, such

as quoting a study of the benefits and risks of social affirmation in a discussion of

medical affirmation, where the appearance of the isolated word “affirmation” refers

to entirely different actions.

   97.    It is also an error to divide treatment approaches into affirmative versus

non-affirmative. As noted already, the widely adopted Dutch Approach (and the

guidelines of the multiple professional associations based on it) cannot be said to be

either: It is a staged set of interventions, wherein social transition (and puberty

blocking) may not begin until age 12 and cross-sex hormonal and other medical

interventions, later.

   98.    Formal clinical approaches to helping children expressing gender dysphoria

employ a gate-keeper model, with decision trees to help clinicians decide when and if

the potential benefits of affirmation of the new gender would outweigh the potential

risks of doing so. Because the gate-keepers and decision-trees generally include the

possibility of affirmation in at least some cases, it is misleading to refer to any one

approach as “the affirmation approach.” The most extreme decision-tree would be

accurately called affirmation-on-demand, involving little or no opportunity for

children to explore at all whether the distress they feel is due to some other, less
obvious, factor, whereas more moderate gate-keeping would endorse transition only

in select situations, when the likelihood of regretting transition is minimized.

   99.    Many outcomes studies have been published examining the results of gate-

keeper models, but no such studies have been published regarding affirmation-on-

demand with children. Although there have been claims that affirmation-on-demand

causes mental health or other improvement, these have been the result only of

“retrospective” rather than “prospective” studies. That is, such studies did not take

a sample of children and follow them up over time, to see how many dropped out

altogether, how many transitioned successfully, and how many transitioned and


                                          38
                                                                          Armistead App. 0428



regretted it or detransitioned. Rather, such studies took a sample of successfully

transitioned adults and asked them retrospective questions about their past. In such

studies, it is not possible to know how many other people dropped out or regretted

transition, and it is not possible to infer causality from any of the correlations

detected, despite authors implying and inferring causality.

     100.    Olson and colleagues employed exactly such a retrospective study. They

offered their survey to children in the TransYouth Project—people who have socially

transitioned, their families, and any contacts they had, by word of mouth. This

method is referred to as “convenience sampling,” and differs from genuinely

representative samples in applying to means of ensuring study participants

accurately represent the population being studied. There were three groups of

children for comparison: (i) children who had already socially transitioned, (ii) their

siblings, and (iii) children in a university database of families interested in

participating in child development research. As noted by the study authors, “For the

first time, this article reports on socially transitioned gender children’s mental health

as reported by the children.” 92 Reports from parents were also recorded. 93 In contrast,
no reports or ratings were provided by any mental health care professional or

researcher at all. That is, although adding self-assessments to the professional

assessments might indeed provide novel insights, this project did not add self-

assessment to professional assessment. Rather, it replaced professional assessment

with self-assessment. Moreover, as already noted, Olson’s data did not show what the

Olson team claimed. 94 The dataset was subsequently re-analyzed, and “[T]o the

contrary, the transgender children, even when supported by their parents, had

significantly lower average scores on anxiety and self-worth. ” 95


92   Durwood, et al., 2017, at 121 (italics added).
93   See Olson, et al., 2016.
94   Schumm, et al., 2019.
95   Schumm & Crawford, 2020, p. 9


                                                      39
                                                                          Armistead App. 0429



     101.    It is well established in the field of psychology that participant self-

assessment can be severely unreliable for multiple reasons. For example, one well-

known phenomenon in psychological research is known as “socially desirable

responding”—the tendency of subjects to give answers that they believe will make

themselves look good, rather than accurate answers. Specifically, subjects’ reports

that they are enjoying good mental health and functioning well could reflect the

subjects’ desire to be perceived as healthy and as having made good choices, rather

than reflecting their actual mental health.

     102.    In their analyses, the study reported finding no significant differences

between the transgender children, their non-transgender siblings, or the community

controls. As the authors noted, “[t]hese findings are in striking contrast to previous

work with gender-nonconforming children who had not socially transitioned, which

found very high rates of depression and anxiety.” 96 The authors are correct to note
that their result contrasts with the previous research, but they do not discuss that

this could reflect a problem with the novel research design they used: The subjective

self-reports of the children and their parents’ reports may not be reflecting reality

objectively, as careful professional researchers would. Because the study did not

employ any method to detect and control for participants indulging in “socially

desirable responding” or acting under other biasing motivations, this possibility

cannot be assessed or ruled out.

     103.    Because this was a single-time study relying on self-reporting, rather than

a before-and-after transition study relying on professional evaluation, it is not

possible to know if the children reported as well-functioning are in fact well-

functioning, nor if so whether they are well-functioning because they were permitted

to transition, or whether instead the fact is that they were already well-functioning



96   Durwood, et al., 2017, at 116.


                                            40
                                                                          Armistead App. 0430



and therefore permitted to transition. Finally, because the TransYouth project lacks

a prospective design, it cannot be known how many cases attempted transition,

reacted poorly, and then detransitioned, thus never having entered into the study in

the first place.

        E. Assessing the “Minority Stress Hypothesis”
     104.   The elevated levels of mental health problems among lesbian, gay, and

bisexual populations is a well-documented phenomenon, and the idea that it is caused

by living within a socially hostile environment is called the Minority Stress

Hypothesis. 97 The association is not entirely straight-forward, however. For example,
although lesbian, gay, and bisexual populations are more vulnerable to suicide

ideation overall, the evidence specifically on adult lesbian and bisexual women is

unclear. Meyer did not include transgender populations in originating the hypothesis,

and it remains a legitimate question to what extent and in what ways it might apply

to gender identity.

     105.   Minority stress is associated, in large part, with being a visible minority.

There is little evidence that transgender populations show the patterns suggested by

the hypothesis. For example, the minority stress hypothesis would predict differences

according to how visibly a person is discernable as a member of the minority, which

often changes greatly upon transition. Biological males who are very effeminate stand

out throughout childhood, but in some cases can successfully blend in as adult

females; whereas the adult-onset transitioners blend in very much as heterosexual

cis-gendered males during their youth and begin visibly to stand out in adulthood,

only for the first time.

     106.   Also suggesting minority stress cannot be the full story is that the mental

health symptoms associated with minority stress do not entirely correspond with



97   Meyer, 2003.


                                           41
                                                                         Armistead App. 0431



those associated with gender dysphoria. The primary symptoms associated with

minority stress are depressive symptoms, substance use, and suicidal ideation. 98 The
symptoms associated with gender dysphoria indeed include depressive symptoms and

suicidal ideation, but also include anxiety symptoms, Autism Spectrum Disorders,

and personality disorders.

VII.    Assessing Statements from Professional Associations

        A. Understanding      the   Value      of   Statements   from    Professional
           Associations
     107.   The value of position statements from professional associations should be

neither over- nor under-estimated. In the ideal, an organization of licensed health

care professionals would convene a panel of experts who would systematically collect

all the available evidence about an issue, synthesizing it into recommendations or

enforceable standards for clinical care, according to the quality of the evidence for

each alternative. For politically neutral issues, with relevant expertise contained

among association members, this ideal can be readily achievable. For controversial

issues with no clear consensus, the optimal statement would summarize each

perspective and explicate the strengths and weaknesses of each, providing relatively

reserved recommendations and suggestions for future research that might resolve the

continuing questions. Several obstacles can hinder that goal, however. Committees

within professional organizations are typically volunteer activities, subject to the

same internal politics of all human social structures. That is, committee members are

not necessarily committees of experts on a topic—they are often committees of

generalists handling a wide variety of issues or members of an interest group who

feel strongly about political implications of an issue, instead of scientists engaged in

the objective study of the topic.




98   Meyer, 2003.


                                          42
                                                                         Armistead App. 0432



   108.   Thus, documents from professional associations may represent required

standards, the violation of which may merit sanctions, or may represent only

recommendations or guidelines. A document may represent the views of an

association’s full membership or only of the committee’s members (or majorities

thereof). Documents may be based on systematic, comprehensive reviews of the

available research or selected portions of the research. In sum, the weight best placed

on any association’s statement is the amount by which that association employed

evidence versus other considerations in its process.

      B. Misrepresentations of statements of professional associations.
   109.   In the presently highly politicized context, official statements of

professional associations have been widely misrepresented. In preparing the present

report, I searched the professional research literature for documentation of

statements from these bodies and from my own files, for which I have been collecting

such information for many years. I was able to identify statements from six such

organizations. Although not strictly a medical association, the World Professional

Association for Transgender Health (WPATH) also distributed a set of guidelines in

wide use and on which other organizations’ guidelines are based.

   110.   Notably, despite that all these medical associations reiterate the need for
mental health issues to be resolved before engaging in medical transition, only the

AACAP members have medical training in mental health. The other medical

specialties include clinical participation with this population, but their assistance in

transition generally assumes the mental health aspects have already been assessed

and treated beforehand.




                                          43
                                                                                     Armistead App. 0433



             1. World Professional             Association        for   Transgender         Health
                (WPATH)
      111.   The WPATH standards as they relate to prepubescent children begin with

the acknowledgement of the known rates of desistance among gender dysphoric

children:
             [I]n follow-up studies of prepubertal children (mainly boys) who were
             referred to clinics for assessment of gender dysphoria, the dysphoria
             persisted into adulthood for only 6–23% of children (Cohen-Kettenis,
             2001; Zucker & Bradley, 1995). Boys in these studies were more likely
             to identify as gay in adulthood than as transgender (Green, 1987; Money
             & Russo, 1979; Zucker & Bradley, 1995; Zuger, 1984). Newer studies,
             also including girls, showed a 12–27% persistence rate of gender
             dysphoria into adulthood (Drummond, Bradley, Peterson-Badali, &
             Zucker, 2008; Wallien & Cohen-Kettenis, 2008). 99
      112.   That is, “In most children, gender dysphoria will disappear before, or early

in, puberty.” 100

      113.   Although WPATH does not refer to puberty blocking medications as

“experimental,” the document indicates the non-routine, or at least inconsistent

availability of the treatment:
             Among adolescents who are referred to gender identity clinics, the
             number considered eligible for early medical treatment—starting with
             GnRH analogues to suppress puberty in the first Tanner stages—differs
             among countries and centers. Not all clinics offer puberty suppression.
             If such treatment is offered, the pubertal stage at which adolescents are
             allowed to start varies from Tanner stage 2 to stage 4 (Delemarre, van
             de Waal & Cohen-Kettenis, 2006; Zucker et al., [2012]).101
      114.   WPATH neither endorses nor proscribes social transitions before puberty,

instead recognizing the diversity among families’ decisions:
             Social transitions in early childhood do occur within some families with
             early success. This is a controversial issue, and divergent views are held
             by health professionals. The current evidence base is insufficient to
             predict the long-term outcomes of completing a gender role transition
             during early childhood. 102
      115.   It does caution, however, “Relevant in this respect are the previously

described relatively low persistence rates of childhood gender dysphoria.”103

99    Coleman, et al., 2012, at 172.
100   Coleman, et al., 2012, at 173.
101   Coleman, et al., 2012, at 173.
102   Coleman, et al., 2012, at 176.
103   Coleman, et al., 2012, at 176 (quoting Drummond, et al., 2008; Wallien & Cohen-Kettenis, 2008).


                                                  44
                                                                          Armistead App. 0434



             2. Endocrine Society (ES)
      116.   The 150,000-member Endocrine Society appointed a nine-member task

force, plus a methodologist and a medical writer, who commissioned two systematic

reviews of the research literature and, in 2017, published an update of their 2009

recommendations, based on the best available evidence identified. The guideline was

co-sponsored by the American Association of Clinical Endocrinologists, American

Society of Andrology, European Society for Paediatric Endocrinology, European

Society of Endocrinology, Pediatric Endocrine Society (PES), and the World

Professional Association for Transgender Health (WPATH).

      117.   The document acknowledged the frequency of desistance among gender

dysphoric children:
             Prospective follow-up studies show that childhood GD/gender incongru-
             ence does not invariably persist into adolescence and adulthood (so-
             called “desisters”). Combining all outcome studies to date, the
             GD/gender incongruence of a minority of prepubertal children appears
             to persist in adolescence. . . . In adolescence, a significant number of
             these desisters identify as homosexual or bisexual.104
      118.   The statement similarly acknowledges inability to predict desistance or
persistence, “With current knowledge, we cannot predict the psychosexual outcome

for any specific child.” 105

      119.   Although outside their area of professional expertise, mental health issues

were also addressed by the Endocrine Society, repeating the need to handle such

issues before engaging in transition, “In cases in which severe psychopathology,

circumstances, or both seriously interfere with the diagnostic work or make

satisfactory treatment unlikely, clinicians should assist the adolescent in managing

these other issues.” 106 This ordering—to address mental health issues before

embarking on transition—avoids relying on the unproven belief that transition will

solve such issues.

104   Hembree, et al., 2017, at 3876.
105   Hembree, et al., 2017, at 3876.
106   Hembree, et al., 2017, at 3877.


                                            45
                                                                                       Armistead App. 0435



      120.   The Endocrine Society did not endorse any affirmation-only approach. The

guidelines were neutral with regard to social transitions before puberty, instead

advising that such decisions be made only under clinical supervision: “We advise that

decisions regarding the social transition of prepubertal youth are made with the

assistance of a mental health professional or similarly experienced professional.” 107
      121.   The Endocrine Society guidelines make explicit that, after gathering

information from adolescent clients seeking medical interventions and their parents,

the clinician “provides correct information to prevent unrealistically high

expectations [and] assesses whether medical interventions may result in unfavorable

psychological and social outcomes.”108

             3. Pediatric Endocrine Society and Endocrine Society (ES/PES)
      122.   In 2020, the 1500-member Pediatric Endocrine Society partnered with the

Endocrine Society to create and endorse a brief, two-page position statement. 109

Although strongly worded, the document provided no specific guidelines, instead

deferring to the Endocrine Society guidelines. 110

      123.   It is not clear to what extent this endorsement is meaningful, however.

According to the PES, the Endocrine Society “recommendations include evidence that

treatment of gender dysphoria/gender incongruence is medically necessary and

should be covered by insurance.” 111 However, the Endocrine Society makes neither

statement. Although the two-page PES document mentioned insurance coverage four

times, the only mention of health insurance by the Endocrine Society was: “If GnRH

analog treatment is not available (insurance denial, prohibitive cost, or other

reasons), postpubertal, transgender female adolescents may be treated with an



107   Hembree, et al., 2017, at 3872.
108   Hembree, et al., 2017, at 3877.
109   PES, online; Pediatric Endocrine Society & Endocrine Society, Dec. 2020.
110   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1; Hembree, et al., 2017.
111   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1.


                                                   46
                                                                            Armistead App. 0436



antiandrogen that directly suppresses androgen synthesis or action.” 112 Despite the
PES asserting it as ”medically necessary,” the Endocrine Society stopped short of

that. Its only use of that phrase was instead limiting: “We recommend that a patient

pursue genital gender-affirming surgery only after the MHP and the clinician

responsible for endocrine transition therapy both agree that surgery is medically

necessary and would benefit the patient’s overall health and/or well-being.” 113

             4. American Academy of Child & Adolescent Psychiatry (AACAP)
      124.   The 2012 statement of the American Academy of Child & Adolescent

Psychiatry (AACAP) is not an affirmation-only policy. It notes:
             Just as family rejection is associated with problems such as depression,
             suicidality, and substance abuse in gay youth, the proposed benefits of
             treatment to eliminate gender discordance in youth must be carefully
             weighed against such possible deleterious effects. . . . In general, it is
             desirable to help adolescents who may be experiencing gender distress
             and dysphoria to defer sex reassignment until adulthood, or at least un-
             til the wish to change sex is unequivocal, consistent, and made with ap-
             propriate consent. 114
      125.   The AACAP’s language repeats the description of the use of puberty
blockers only as an exception: “For situations in which deferral of sex reassignment

decisions until adulthood is not clinically feasible, one approach that has been

described in case series is sex hormone suppression under endocrinological

management with psychiatric consultation using gonadotropin-releasing hormone

analogues.” 115

      126.   The AACAP statement acknowledges the long-term outcomes literature for

gender dysphoric children: “In follow-up studies of prepubertal boys with gender

discordance—including many without any mental health treatment—the cross

gender wishes usually fade over time and do not persist into adulthood,” 116 adding

that “[c]linicians should be aware of current evidence on the natural course of gender

112   Hembree, et al. 2017, at 3883.
113   Hembree, et al., 2017 at 3872, 3894.
114   Adelson & AACAP, 2012, at 969.
115   Adelson & AACAP, 2012, at 969 (italics added).
116   Adelson & AACAP, 2012, at 963.


                                                 47
                                                                           Armistead App. 0437



discordance and associated psychopathology in children and adolescents in choosing

the treatment goals and modality.” 117
      127.   The policy similarly includes a provision for resolving mental health issues:

“Gender reassignment services are available in conjunction with mental health

services focusing on exploration of gender identity, cross-sex treatment wishes,

counseling during such treatment if any, and treatment of associated mental health

problems.” 118 The document also includes minority stress issues and the need to deal

with mental health aspects of minority status (e.g., bullying). 119

      128.   Rather than endorse social transition for prepubertal children, the AACAP

indicates: “There is similarly no data at present from controlled studies to guide

clinical decisions regarding the risks and benefits of sending gender discordant

children to school in their desired gender. Such decisions must be made based on

clinical judgment, bearing in mind the potential risks and benefits of doing so.”120

             5. American College of Obstetricians & Gynecologists (ACOG)
      129.   The American College of Obstetricians & Gynecologists (ACOG) published

a “Committee Opinion” expressing recommendations in 2017. The statement

indicates it was developed by the ACOG’s Committee on Adolescent Health Care, but

does not indicate participation based on professional expertise or a systematic method

of objectively assessing the existing research. It includes the disclaimer: “This

document reflects emerging clinical and scientific advances as of the date issued and

is subject to change. The information should not be construed as dictating an

exclusive course of treatment or procedure to be followed.” 121




117   Adelson & AACAP, 2012, at 968.
118   Adelson & AACAP, 2012, at 970 (italics added).
119   Adelson & AACAP, 2012, at 969.
120   Adelson & AACAP, 2012, at 969.
121   ACOG, 2017, at 1.


                                                 48
                                                                                       Armistead App. 0438



      130.   Prepubertal children do not typically have clinical contact with

gynecologists, and the ACOG recommendations include that the client additionally

have a primary health care provider. 122
      131.   The ACOG statement cites the statements made by other medical

associations—European Society for Pediatric Endocrinology (ESPE),, PES, and the

Endocrine Society—and by WPATH. 123 It does not cite any professional association

of mental health care providers, however. The ACOG recommendations repeat the

previously mentioned eligibility/readiness criteria of having no mental illness that

would hamper diagnosis and no medical contraindications to treatment. It notes:

“Before any treatment is undertaken, the patient must display eligibility and

readiness (Table 1), meaning that the adolescent has been evaluated by a mental

health professional, has no contraindications to therapy, and displays an

understanding of the risks involved.” 124

      132.   The “Eligibility and Readiness Criteria” also include, “Diagnosis

established for gender dysphoria, transgender, transsexualism.” 125 This standard,

requiring a formal diagnosis, forestalls affirmation-on-demand because self-declared

self-identification is not sufficient for DSM diagnosis.

      133.   ACOG’s remaining recommendations pertain only to post-transition,

medically oriented concerns. Pre-pubertal social transition is not mentioned in the

document, and the outcomes studies of gender dysphoric (prepubescent) children are

not cited.

             6. American College of Physicians (ACP)
      134.   The American College of Physicians published a position paper broadly

expressing support for the treatment of LGBT patients and their families, including


122   ACOG, 2017, at 1.
123   ACOG, 2017, at 1, 3.
124   ACOG, 2017, at 1, 3 (citing the Endocrine Society guidelines) (italics added).
125   ACOG, 2017, at 3 Table 1.


                                                    49
                                                                           Armistead App. 0439



nondiscrimination, antiharassment, and defining “family” by emotional rather than

biological or legal relationships in visitation policies, and the inclusion of transgender

health care services in public and private health benefit plans.126
      135.   ACP did not provide guidelines or standards for child or adult gender

transitions. The policy paper opposed attempting “reparative therapy;” however, the

paper confabulated sexual orientation with gender identity in doing so. That is, on

the one hand, ACP explicitly recognized that “[s]exual orientation and gender identity

are inherently different.” 127 It based this statement on the fact that “the American

Psychological Association conducted a literature review of 83 studies on the efficacy

of efforts to change sexual orientation.” 128 The APA’s document, entitled “Report of

the American Psychological Task Force on appropriate therapeutic responses to

sexual orientation” does not include or reference research on gender identity. 129

Despite citing no research about transgenderism, the ACP nonetheless included in

its statement: “Available research does not support the use of reparative therapy as

an effective method in the treatment of LGBT persons.” 130 That is, the inclusion of

“T” with “LGB” is based on something other than the existing evidence.

      136.   There is another statement, 131 which was funded by ACP and published in

the Annals of Internal Medicine under its “In the Clinic” feature, noting that “‘In the

Clinic’ does not necessarily represent official ACP clinical policy.” 132 The document

discusses medical transition procedures for adults rather than for children, except to

note that “[n]o medical intervention is indicated for prepubescent youth,” 133 that a

“mental health provider can assist the child and family with identifying an



126   Daniel & Butkus, 2015a, 2015b.
127   Daniel & Butkus, 2015b, at 2.
128   Daniel & Butkus, 2015b, at 8 (italics added).
129   APA, 2009 (italics added).
130   Daniel & Butkus, 2015b, at 8 (italics added).
131   Safer & Tangpricha, 2019.
132   Safer & Tangpricha, 2019, at ITC1.
133   Safer & Tangpricha, 2019, at ITC9.


                                                      50
                                                                          Armistead App. 0440



appropriate time for a social transition,” 134 and that the “child should be assessed and
managed for coexisting mood disorders during this period because risk for suicide is

higher than in their cisgender peers.”135

             7. American Academy of Pediatrics (AAP)
      137.   The policy of the American Academy of Pediatrics (AAP) is unique among

the major medical associations in being the only one to endorse an affirmation-on-

demand policy, including social transition before puberty without any watchful

waiting period. Although changes in recommendations can obviously be appropriate

in response to new research evidence, the AAP provided none. Rather, the research

studies AAP cited in support of its policy simply did not say what AAP claimed they

did. In fact, the references that AAP cited as the basis of their policy instead outright

contradicted that policy, repeatedly endorsing watchful waiting. 136 Moreover, of all

the outcomes research published, the AAP policy cited one, and that without men-

tioning the outcome data it contained. 137.

             8. The ESPE-LWPES GnRH Analogs Consensus Conference Group
      138.   Included in the interest of completeness, there was also a collaborative

report in 2009, between the European Society for Pediatric Endocrinology (ESPE)

and the Lawson Wilkins Pediatric Endocrine Society (LWPES). 138 Thirty experts

were convened, evenly divided between North American and European labs and

evenly divided male/female, who comprehensively rated the research literature on

gonadotropin-release hormone analogs in children.

      139.   The effort concluded that “[u]se of gonadotropin-releasing hormone analogs

for conditions other than central precocious puberty requires additional investigation



134   Safer & Tangpricha, 2019, at ITC9.
135   Safer & Tangpricha, 2019, at ITC9.
136   Cantor, 2020.
137   Cantor, 2020, at 1.
138   Carel et al., 2009.


                                            51
                                                                      Armistead App. 0441



and cannot be suggested routinely.” 139 However, gender dysphoria was not explicitly
mentioned as one of those other conditions.




139   Carel et al. 2009, at 752.


                                        52
                                                                           Armistead App. 0442



                                      References

Achille, C., Taggart, T., Eaton, N. R., Osipoff, J., Tafuri, K., Lane, A., & Wilson, T. A.
   (2020). Longitudinal impact of gender-affirming endocrine intervention on the
   mental health and well-being of transgender youths: Preliminary results.
   International Journal of Pediatric Endocrinology. doi: 10.1186/s13633-020-00078-2

Adelson, S. L., & American Academy of Child and Adolescent Psychiatry (AACAP)
  Committee on Quality Issues. (2012). Practice parameter on gay, lesbian, or
  bisexual sexual orientation, gender nonconformity, and gender discordance in
  children and adolescents. Journal of the American Academy of Child & Adolescent
  Psychiatry, 51, 957–974.

American College of Obstetricians and Gynecologists. (2017). Care for transgender
  Adolescents.     Committee       Opinion    No.     685.     Retrieved      from
  www.acog.org/clinical/clinical-guidance/committee-opinion/articles/2017/01/care-
  for-transgender-adolescents

American Psychological Association, Task Force on Appropriate Therapeutic
  Responses to Sexual Orientation. (2009). Report of the American Psychological
  Association Task Force on Appropriate Therapeutic Responses to Sexual
  Orientation. Retrieved from http://www. apa.org/pi/lgbc/publications/therapeutic-
  resp.html

Anzani, A., De Panfilis, C., Scandurra, C., & Prunas, A. (2020). Personality Disorders
  and Personality Profiles in a Sample of Transgender Individuals Requesting
  Gender-Affirming Treatments. International Journal of Environmental Research
  and            Public            Health,           27,           17,           1521.
  www.ncbi.nlm.nih.gov/pmc/articles/PMC7084367/

Bancroft, J. (2009). Human sexuality and its problems (3rd ed.). New York: Elsevier.

Bauer, G. R., Scheim, A. I., Pyne, J., Travers, R., & Hammond, R. (2015). Intervenable
  factors associated with suicide risk in transgender persons: A respondent driven
  sampling study in Ontario, Canada. BMC Public Health, 15, 525.
Biggs, M. (2019). A letter to the editor regarding the original article by Costa et al:
   Psychological support, puberty suppression, and psychosocial functioning in
   adolescents with gender dysphoria. Journal of Sexual Medicine, 16, 2043.

Biggs, M. (2020). Gender dysphoria and psychological functioning in adolescents
   treated with GnRHa: Comparing Dutch and English prospective studies. Archives
   of Sexual Behavior, 49, 2231–2236.

Blanchard, R. (1985). Typology of male-to-female transsexualism. Archives of Sexual
   Behavior, 14, 247–261.

Blanchard, R. (1988). Nonhomosexual gender dysphoria. The Journal of Sex
   Research, 24, 188–193.

Blanchard, R. (1989a). The classification and labeling of nonhomosexual gender
   dysphorias. Archives of Sexual Behavior, 18, 315–334.



                                           53
                                                                          Armistead App. 0443



Blanchard, R. (1989b). The concept of autogynephilia and the typology of male gender
   dysphoria. Journal of Nervous and Mental Disease, 177, 616–623.

Blanchard, R. (1990). Gender identity disorders in adult women. In R. Blanchard &
   B. W. Steiner (Eds.), Clinical management of gender identity disorders in children
   and adults (pp. 77–91). Washington, DC: American Psychiatric Press.

Blanchard, R. (1991). Clinical observations and systematic studies of autogynephilia.
   Journal of Sex and Marital Therapy, 17, 235–251.

Blanchard, R., Steiner, B. W., Clemmensen, L. H., & Dickey, R. (1989). Prediction of
   regrets in postoperative transsexuals. Canadian Journal of Psychiatry, 34, 43–45.

Bränström, R., & Pachankis, J. E. (2019). Reduction in mental health treatment
   utilization among transgender individuals after gender-affirming surgeries: A
   total population study. American Journal of Psychiatry, 177, 727–734.

Boivin, L., Notredame, C.-E., Jardri, R., & Medjkane, F. (2020). Supporting parents
   of transgender adolescents: Yes, but how? Archives of Sexual Behavior, 49, 81–83.

Cantor, J. M. (2020). Transgender and gender diverse children and adolescents: Fact-
  checking of AAP policy. Journal of Sex & Marital Therapy, 46, 307–313.

Canetto, S. S., Antonelli, P., Ciccotti, A., Dettore, D., & Lamis, D. A. (2021). Suicidal
  as normal: A lesbian, gay, and bisexual youth script? Crisis, 42, 292–300.

Carel, J. C., Eugster, E. A., Rogol, A., Ghizzoni, L., Palmert, M. R.; ESPE-LWPES
   GnRH Analogs Consensus Conference Group, Antoniazzi, F., Berenbaum, S.,
   Bourguignon, J. P., Chrousos, G. P., Coste, J., Deal, S., de Vries, L., Foster, C.,
   Heger, S., Holland, J., Jahnukainen, K., Juul, A., Kaplowitz, P., Lahlou, N., Lee,
   M. M., Lee, P., Merke, D. P., Neely, E. K., Oostdijk, W., Phillip, M., Rosenfield, R.
   L., Shulman, D., Styne, D., Tauber, M., Wit, J. M. (2009). Consensus statement on
   the use of gonadotropin-releasing hormone analogs in children. Pediatrics, 123(4),
   e752–e762.

Cohen, J., Cohen, P., West, S. G. Cohen, J., Cohen, P., West, S. G., & Aiken, L. S.
  (2003). Applied multiple regression/correlation analysis for the behavioral sciences
  (3rd ed.). Mahwah, NJ: Lawrence Erlbaum Associates.
Carmichael, P., Butler, G., Masic, U., Cole, T. J., De Stavola, B. L., Davidson, S.,
   Skageberg, E. M., Khadr, S., Viner, R. M. (2021). Short-term outcomes of pubertal
   suppression in a selected cohort of 12 to 15 year old young people with persistent
   gender dysphoria in the UK. PLosONE, 16(2): e0243894.

Cohen-Kettenis, P. T. (2001). Gender identity disorder in DSM? Journal of the
  American Academy of Child & Adolescent Psychiatry, 40, 391–391.

Cohen-Kettenis, P. T., Owen, A., Kaijser, V. G., Bradley, S. J., & Zucker, K. J. (2003).
  Demographic characteristics, social competence, and behavior problems in
  children with gender identity disorder: A cross-national, cross-clinic comparative
  analysis. Journal of Abnormal Child Psychology, 31, 41–53.

Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman,
   J., Fraser, L., Green, J., Knudson, G., Meyer, W. J., Monstrey, S., Adler, R. K.,

                                           54
                                                                          Armistead App. 0444



   Brown, G. R., Devor, A. H., Ehrbar, R., Ettner, R., Eyler, E., Garofalo, R., Karasic,
   D. H., Lev, A. I., Mayer, G., Meyer-Bahlburg, H., Hall, B. P., Pfaefflin, F., Rachlin,
   K., Robinson, B., Schechter, L. S., Tangpricha, V., van Trotsenburg, M., Vitale, A.,
   Winter, S., Whittle, S., Wylie, K. R., & Zucker, K. (2012). Standards of care for the
   health of transsexual, transgender, and gender-nonconforming people, version 7.
   International Journal of Transgenderism, 13, 165–232.

Costa, R., Dunsford, M., Skagerberg, E., Holt V., Carmichael, P., & Colizzi, M. (2015).
   Psychological support, puberty suppression, and psychosocial functioning in
   adolescents with gender dysphoria. Journal of Sexual Medicine, 12, 2206–2214.

Dahlen, S., Connolly, D., Arif, I., Hyder Junejo, M., Bewley, S., & Meads, C. (2021).
  International clinical practice guidelines for gender minority/trans people:
  Systematic review and quality assessment. BMJ Open, 11, e048943.

Daniel, H., & Butkus, R. (2015a). Lesbian, gay, bisexual, and transgender health
  disparities: Executive summary of a policy position paper from the American
  College of Physicians. Annals of Internal Medicine, 163, 135–137.

Daniel, H., & Butkus, R. (2015b). Appendix: Lesbian, gay, bisexual, and transgender
  health disparities: A policy position paper from the American College of
  Physicians. Annals of Internal Medicine, 163(2), [unpaginated].

de Vries, A. L. C. & Cohen-Kettenis, P. T. (2012). Clinical management of gender
   dysphoria in children and adolescents: The Dutch Approach. Journal of
   Homosexuality, 59, 301–320.

de Vries, A. L. C., McGuire, J. K., Steensma, T. D., Wagenaar, E. C. F., Doreleijers,
   T. A. H., & Cohen-Kettenis, P. T. (2014). Young adult psychological outcome after
   puberty suppression and gender reassignment. Pediatrics, 134, 1–9.

de Vries, A. L. C., Steensma, T. D., Doreleijers, T. A. H., & Cohen-Kettenis, P. T.
   (2011). Puberty suppression in adolescents with gender identity disorder: A
   prospective follow-up study. Journal of Sexual Medicine, 8, 2276–2283.

de Vries, A. L., Doreleijers, T. A., Steensma, T. D., & Cohen-Kettenis, P. T. (2011).
   Psychiatric comorbidity in gender dysphoric adolescents. Journal of Child
   Psychology and Psychiatry, 52, 1195–1202.

de Vries, A. L., Noens, I. L., Cohen-Kettenis, P. T., van Berckelaer- Onnes, I. A., &
   Doreleijers, T. A. (2010). Autism spectrum disorders in gender dysphoric children
   and adolescents. Journal of Autism and Developmental Disorders, 40, 930–936.

Delemarre-van de Waal, H. A., & Cohen- Kettenis, P. T. (2006). Clinical management
   of gender identity disorder in adolescents: A protocol on psychological and
   paediatric endocrinology aspects. European Journal of Endocrinology, 155 (suppl
   1), S131–S137.

Dhejne, C., Van Vlerken, R., Geylens, G., & Arcelus, J. (2016). Mental health and
  gender dysphoria: A review of the literature. International Review of Psychiatry,
  28, 44–57.

Dhejne, C., Lichtenstein, P., Boman, M., Johansson, A. L. V., Langström, N., &
  Landén, M. (2011). Long-term follow-up of transsexual persons undergoing sex

                                          55
                                                                         Armistead App. 0445



   reassignment surgery: Cohort study in Sweden. PLoS ONE 6(2), e16885.

Dhejneberg, C., Öberg, K., Arver, S., & Landén, M. (2014). An analysis of all
  applications for sex reassignment surgery in Sweden, 1960–2010: Prevalence,
  incidence, and regrets. Archives of Sexual Behavior, 43, 1535–1545.

Drummond, K. D., Bradley, S. J., Peterson-Badali, M., & Zucker, K. J. (2008). A follow
   up study of girls with gender identity disorder. Developmental Psychology, 44, 34–45.

Durwood, L., McLaughlin, K. A., & Olson, K. R. (2017). Mental health and self-worth
  in socially transitioned transgender youth. Journal of the American Academy of
  Child & Adolescent Psychiatry, 56, 116–123.

Finland Ministry of Social Affairs and Health, Council for Choices in Health Care.
   (2020, June 11). Medical treatment methods for dysphoria associated with
   variations in gender identity in minors—Recommendation. Retrieved from
   https://palveluvalikoima.fi/documents/1237350/22895008/Summary_minors_en+(
   1).pdf/fa2054c5-8c35-8492-59d6-
   b3de1c00de49/Summary_minors_en+(1).pdf?t=1631773838474

Finland Ministry of Social Affairs and Health, Council for Choices in Health Care.
   (2020, June 16). Medical treatments for gender dysphoria that reduces functional
   capacity     in   transgender    people—Recommendation.       Retrieved     from
   https://palveluvalikoima.fi/documents/1237350/22895838/Summary+transgender
   .pdf/2cc3f053-2e34-39ce-4e21-
   becd685b3044/Summary+transgender.pdf?t=1592318543000

Freeman, A., Mergl, R., Kohls, E., Székely, A., Gusmao, R., Arensman, E., Koburger,
   N., Hegerl, U., & Rummel-Kluge, C. (2017). A cross-national study on gender
   differences in suicide intent. BMC Psychiatry, 17, 234.

Green, R. (1987). The “sissy boy syndrome” and the development of homosexuality.
   New Haven, CT: Yale University Press.

Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L., Hannema, S. E., Meyer, W. J.,
  Murad, M. H., Rosenthal, S. M., Safer, T. D., Tangpricha, V., & T’Sjoen, G. G.
  (2017). Endocrine treatment of gender-dysphoric/ gender-incongruent persons: An
  Endocrine Society clinical practice guideline. Journal of Clinical Endocrinology &
  Metabolism, 102, 3869–3903.

Hepp, U., Kraemer, B., Schnyder, U., Miller, N., & Delsignore, A. (2005). Psychiatric
  comorbidity in gender identity disorder. Journal of Psychosomatic Research, 58,
  259–261.

Hisle-Gorman, E., Schvey, N. A., Adirim, T. A., Rayne, A. K., Susi, A., Roberts, T. A.,
   & Klein, D. A. (2021). Mental healthcare utilization of transgender youth before
   and after affirming treatment. The Journal of Sexual Medicine, 18, 1444–1454.

Holt, V., Skagerberg, E., & Dunsford, M. (2016). Young people with features of gender
   dysphoria: Demographics and associated difficulties. Clinical Child Psychology
   and Psychiatry, 21, 108–118.

Jacobs, L. A., Rachlin, K., Erickson-Schroth, L., & Janssen, A. (2014). Gender
   dysphoria and co-occurring autism spectrum disorders: Review, case examples,

                                          56
                                                                        Armistead App. 0446



   and treatment considerations. LGBT Health, 1, 277–282.

Janssen, A., Busa, S., Wernick, J. (2019). The complexities of treatment planning for
   transgender youth with co-occurring severe mental illness: A literature review
   and case study. Archives of Sexual Behavior, 48, 2003–2009.

Janssen, A., Huang, H., & Duncan, C. (2016). Gender variance among youth with
   autism spectrum disorders: A retrospective chart review. Transgender Health, 1,
   63–68.

Kalin, N. H. (2020). Reassessing mental health treatment utilization reduction in
   transgender individuals after gender-affirming surgeries: A comment by the
   Editor on the process. American Journal of Psychiatry, 177, 765.

Kaltiala, R, Heino, E., Työläjärvi, & Suomalainen, L. (2020). Adolescent development
   and psychosocial functioning after starting cross-sex hormones for gender
   dysphoria. Nordic Journal of Psychiatry, 74, 213–219.

Kaltiala-Heino, R., Sumia, M., Työläjärvi, M., & Lindberg, N. (2015). Two years of
   gender identity service for minors: Overrepresentation of natal girls with severe
   problems in adolescent development. Child and Adolescent Psychiatry and Mental
   Health, 9, 9.

Kuper, L. E., Stewart, S., Preston, S., Lau, M., & Lopez, X. (2020). Body
  dissatisfaction and mental health outcomes of youth on gender- affirming
  hormone therapy. Pediatrics, 145, e20193006.

Lehmann, K., Rosato, M., McKenna, H., & Leavey, G. (2021). Dramaturgical accounts
   of transgender individuals: Impression management in the presentation of self to
   specialist gender services. Archives of Sexual Behavior, 50, 3539–3549.

Littman, L. (2018). Parent reports of adolescents and young adults perceived to show
   signs of a raid onset of gender dysphoria. PLoS ONE, 13(8), e0202330.

May, T., Pang, K., & Williams, K. J. (2016). Gender variance in children and
  adolescents with autism spectrum disorder from the National Database for
  Autism Research. International Journal of Transgenderism, 18, 7–15.

McCall, B. (2021, October 7). Psychiatrists shift stance on gender dysphoria,
  recommend       therapy.    Medscape       Psychiatry.   Retrieved    from
  www.medscape.com/viewarticle/960390?src=soc_tw_share

McNeil, J., Ellis, S. J., & Eccles, F. J. R. (2017). Suicide in trans populations: A
  systematic review of prevalence and correlates. Psychology of Sexual Orientation
  and Gender Diversity, 4, 341–353.

Meyer, I. H. (2003). Prejudice, social stress, and mental health in lesbian, gay, and
  bisexual populations: Conceptual issues and research evidence. Psychological
  Bulletin, 129, 674–697.

Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant gender identity/
  role in childhood: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.

Mustanski, B. S., Garofalo, R., & Emerson, E. M. (2010). Mental health disorders,

                                          57
                                                                          Armistead App. 0447



   psychological distress, and suicidality in a diverse sample of lesbian, gay, bisexual,
   and transgender youths. American Journal of Public Health, 100, 2426–2432.

Nainggolan, L. (2021, May 12). Hormonal Tx of youth with gender dysphoria stops in
  Sweden.           Medscape          Psychiatry.          Retrieved         from
  www.medscape.com/viewarticle/950964?src=soc_tw_share

Olson, K. R., Durwood, L., DeMeules, M., & McLaughlin, K. A. (2016). Mental health
   of transgender children who are supported in their identities. Pediatrics, 137,
   e20153223.

Pediatric Endocrine Society & Endocrine Society. (2020, December 15). Transgender
   health.       Retrieved       from        www.endocrine.org/advocacy/position-
   statements/transgender-health.

Pediatric    Endocrine    Society.    (Online).    About     PES.     Retrieved     from
   https://pedsendo.org/about-pes/

Rae, J. R., Gülgoz, S., Durwood, L., DeMeules, M., Lowe, R., Lindquist, G., & Olson,
  K. R. (2019). Predicting early-childhood gender transitions. Psychological Science,
  30, 669–681.

Rafferty, J., AAP Committee on psychosocial aspects of child and family health, AAP
   Committee on adolescence, AAP Section on lesbian, gay, bisexual, and
   transgender health and wellness. (2018). Ensuring comprehensive care and
   support for transgender and gender-diverse children and adolescents. Pediatrics,
   142(4), e20182162

Reisner, S. L., Vetters, R., Leclerc, M., Zaslow, S., Wolfrum, S., Shumer, D., &
   Mimiaga, M. J. (2015). Mental health of transgender youth in care at an
   adolescent urban community health center: A matched retrospective cohort study.
   Journal of Adolescent Health, 56(3), 274–279.

Reuter, T. R., Sharp, C., Kalpakci, A. H., Choi, H. J., & Temple, J. R. (2016). Sexual
  orientation and Borderline Personality Disorder features in a community sample
  of adolescents. Journal of Personality Disorders, 30, 694–707.

Rodriguez-Seiljas, C., Morgan, T. A., & Zimmerman, M. (2021). A population-based
  examination of criterion-level disparities in the diagnosis of Borderline
  Personality Disorder among sexual minority adults. Assessment, 28, 1097–1109.

Safer, J. D., Tangpricha, V. (2019). In the clinic: Care of the transgender patient.
   Annals of Internal Medicine, 171(1), ITC1–ITC6.

Sax, L. (2002). How common is Intersex? A response to Ann Fausto-Sterling. The
   Journal of Sex Research, 39, 174–178.

Schumm, W. R., Crawford, D. W., Fawver, M. M., Gray, N. K., Niess, Z. M., & Wagner,
   A. D. (2019). Statistical errors in major journals: Two case studies used in a basic
   statistics class to assess understanding of applied statistics. Psychology and
   Education—An Interdisciplinary Journal, 56, 35–42.

Schumm, W. R., & Crawford, D. W. (2020). Is research on transgender children what
   it seems? Comments on recent research on transgender children with high levels

                                           58
                                                                         Armistead App. 0448



   of parental support. The Linacre Quarterly, 87, 9–24.

Singh, D., Bradley, S. J., & Zucker, K. J. (2021). A follow-up study of boys with gender
   identity disorder. Frontiers in Psychiatry, 12, 632784.

Skagerberg, E., Parkinson, R., & Carmichael, P. (2013). Self-harming thoughts and
  behaviors in a group of children and adolescents with gender dysphoria.
  International Journal of Transgenderism, 14, 86–92.

Skelly, A. C., Dettori, J. R., & Brodt, E. D. (2012). Assessing bias: The importance of
   considering confounding. Evidence-based Spine-Care Journal, 3, 9–12.

Spack, N. P., Edwards-Leeper, L., Feldman, H. A., Leibowitz, S., Mandel, F.,
   Diamond, D. A., & Vance, S. R. (2012). Children and adolescents with gender
   identity disorder referred to a pediatric medical center. Pediatrics, 129, 418–425.

Spack, N. P. (2013). Management of transgenderism. Journal of the American
   Medical Association, 309, 478–484.

Steensma, T. D., & Cohen-Kettenis, P. T. (2018a). A critical commentary on “A critical
   commentary on follow-up studies and ‘desistance’ theories about transgender and
   gender-nonconforming children”. International Journal of Transgenderism, 19,
   225–230.

Steensma, T. D., Cohen-Kettenis, P. T., & Zucker, K. J. (2018b). Evidence for a change
   in the sex ratio of children referred for gender dysphoria: Data from the Center of
   Expertise on Gender Dysphoria in Amsterdam (1988–2016). Journal of Sex &
   Marital Therapy, 44, 713–715.

Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-
   Kettenis, P. T. (2013). Factors associated with desistence and persistence of
   childhood gender dysphoria: A quantitative follow-up study. Journal of the
   American Academy of Child and Adolescent Psychiatry, 52, 582–590.

Strang, J. F., Kenworthy, L., Dominska, A., Sokoloff, J., Kenealy, L. E., Berl, M., …
   Wallace, G. L. (2014). Increased gender variance in autism spectrum disorders
   and attention deficit hyperactivity disorder. Archives of Sexual Behavior, 43,
   1525–1533.

Strang, J. F., Meagher, H., Kenworthy, L., de Vries, A. L., Menvielle, E., Leibowitz,
   S., … Anthony, L. G. (2016). Initial clinical guidelines for co-occurring autism
   spectrum disorder and gender dysphoria or incongruence in adolescents. Journal
   of Clinical Child and Adolescent Psychology, 47, 105–115.

Swedish Agency of Health Technology Assessment and Assessment of Social Services.
  (2019). Gender dysphoria in children and adolescents: An inventory of the
  literature.   Retrieved from: www.sbu.se/en/publications/sbu-bereder/gender-
  dysphoria-in-children-and-adolescents-an-inventory-of-the-literature/

Temple Newhook, J., Pyne, J., Winters, K., Feder, S., Holmes, C., Tosh, J. Sinnott,
  M.-L., Jamieson, A., & Pickett, S. (2018). A critical commentary on follow-up
  studies and “desistance” theories about transgender and gender-nonconforming
  children. International Journal of Transgenderism, 19, 212–224.


                                          59
                                                                          Armistead App. 0449



Tetelepta, B. (2021, Feb 27). More research is urgently needed into transgender care
   for young people: 'Where does the large flow of children come from?' [translated].
   Algemeen Dagblad. Retrieved from www.ad.nl/nijmegen/dringend-meer-
   onderzoek-nodig-naar-transgenderzorg-aan-jongeren-waar-komt-de-grote-
   stroom-kinderen-vandaan~aec79d00/?referrer=https%3A%2F%2Ft.co%2F.

Thrower, E., Bretherton, I., Pang, K. C., Zajac, J. D., & Cheung, A. S. (2020).
   Prevalence of Autism Spectrum Disorder and AttentionဩDeficit Hyperactivity
   Disorder amongst individuals with Gender Dysphoria: A systematic review.
   Journal of Autism and Developmental Disorders, 50, 695–706.

United Kingdom National Health Service (NHS), National Institute for Health and
  Care Excellence, (2021, March 11). Evidence review: Gonadotrophin releasing
  hormone analogues for children and adolescents with gender dysphoria. Retrieved
  from
  www.evidence.nhs.uk/document?id=2334888&returnUrl=search%3ffrom%3d202
  0-01-01%26q%3dgender%2bdysphoria%26sp%3don%26to%3d2021-03-31

van der Miesen, A. I. R., Steensma, T. D., de Vries, A. L. C., Bos, H., Popma, A. (2020).
   Psychological functioning in transgender adolescence before and after gender-
   affirmative care compared with cisgender general population peers. Journal of
   Adolescent Health, 66, 699–704.

Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-
  dysphoric children. Journal of the American Academy of Child & Adolescent
  Psychiatry, 47, 1413–1423.

Wallien, M. S., Swaab, H., & Cohen-Kettenis, P. T. (2007). Psychiatric comorbidity
  among children with gender identity disorder. Journal of the American Academy
  of Child and Adolescent Psychiatry, 46, 1307–1314.

Warrier, V., Greenberg, D. M., Weir, E., Buckingham, C., Smith, P., Lai, M.-C.,
  Allison, C., & Baron-Cohen, S. (2020). Elevated rates of autism, other
  neurodevelopmental and psychiatric diagnoses, and autistic traits in transgender
  and gender-diverse individuals. Nature Communications, 11, 3959.

Wiepjes, C. M., den Heijer, M., Bremmer, M. A., Nota, N. M., de Block, C. J. M.,
  Coumou, B. J. G., & Steensma, T. D. (2020). Trends in suicide death risk in
  transgender people: Results from the Amsterdam Cohort of Gender Dysphoria
  study (1972–2017). Acta Psychiatrica Scandinavica, 141, 486–491.

Wiepjes, C. M., Nota, N. M., de Bok, C. J. M., Klaver, M., de Vries, A. L. C., Wensing-
  Kruger, S. A., de Jongh, R. T., Bouman, M-B., Steensma, T. D., Cohen-Kettenis,
  P., Gooren, L. J. G., Kreukels B. P. C., & den Heijer, M. (2018). The Amsterdam
  Cohort of Gender Dysphoria Study (1972–2015): Trends in prevalence, treatment,
  and regrets. Journal of Sexual Medicine, 15, 582–590.

Winters, K., Temple Newhook, J., Pyne, J., Feder, S., Jamieson, A., Holmes, C.,
  Sinnott, M.-L., Pickett, S., & Tosh J. (2018). Learning to listen to trans and gender
  diverse children: A Response to Zucker (2018) and Steensma and Cohen-Kettenis
  (2018). International Journal of Transgenderism, 19, 246–250.

Wood, H., Sasaki, S., Bradley, S. J., Singh, D., Fantus, S., Own-Anderson, A., Di
  Giacomo, A., Bain, J., & Zucker, K. J. (2013). Patterns of referral to a gender

                                           60
                                                                        Armistead App. 0450



   identity service for children and adolescents (1976–2011): Age, sex ratio, and
   sexual orientation. Journal of Sex & Marital Therapy, 39, 1–6.
Zanarini, M. C., Magni, L. R., Temes, C. M., Hein, K. E., Aguirre, B. A., & Goodman,
   M. (2021). Sexual orientation and gender of intimate relationship partners among
   adolescents with BPD and psychiatrically healthy adolescents. Journal of
   Personality Disorders, 35 (Suppl. B), 1–7.

Zucker, K. J. (2018). The myth of persistence: Response to “A critical commentary on
   follow-up studies and ‘desistance’ theories about transgender and gender-
   nonconforming children” by Temple Newhook et al. (2018). International Journal
   of Transgenderism, 19, 231–245.

Zucker, K. J. (2019). Adolescents with gender dysphoria: Reflections on some
   contemporary clinical and research issues. Archives of Sexual Behavior, 48, 1983–
   1992.

Zucker, K. J., & Bradley, S. J. (1995). Gender identity disorder and psychosexual
   problems in children and adolescents. New York: Guilford Press.

Zucker, K. J., Bradley, S. J., Owen-Anderson, A., Kibblewhite, S. J., Wood, H., Singh,
   D., & Choi, K. (2012). Demographics, behavior problems, and psychosexual
   characteristics of adolescents with gender identity disorder or transvestic
   fetishism. Journal of Sex & Marital Therapy, 38, 151–189.

Zuger, B. (1984). Early effeminate behavior in boys: Outcome and significance for
   homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.




                                         61
                                        Armistead App. 0451




EXPERT REPORT OF JAMES M. CANTOR, PHD



           APPENDIX 1
                                                                                 Armistead App. 0452



                           
%'%$)%,*" )-$)'                                                           %
 '")%$+(* )                                                            


%'%$)%$)' %$                                       !#($)%'&# "%#


                                            

145'1&513$.(..184+,2                                                  !5B       \$5M       
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

1&5131)+,.1412+:                                                     *9D  \!IB           
'GM7<C@C;MX$7=@@,B=J9FG=HMX$CBHFQ5@5B585

$45(31)354                                                            *9D   \!5B  
'GM7<C@C;MXCGHCB,B=J9FG=HMXCGHCB$

$&+(.131) &,(0&(                                                      *9D  \I;  
BH9F8=G7=D@=B5FM*7=9B79X)9BGG9@59F'C@MH97<B=7 BGH=HIH9X+FCM%0
CB79BHF5H=CBGCADIH9FG7=9B79A5H<9A5H=7GD<MG=7G


                                      

,3(&513                                                                    96     \'F9G9BH
+CFCBHC*9LI5@=HM9BHF9&+CFCBHC5B585

 (0,13 &,(05,450$6*63$.(/%(3                                      I;     \$5M        
5AD69@@5A=@M$9BH5@95@H<)9G95F7< BGH=HIH9
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

 (0,13 &,(05,45                                                         !5B     \$5M        
CAD@9L$9BH5@ @@B9GG'FC;F5A
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

($'1)(4($3&+                                                         %CJ       \DF        
*9LI5@9<5J=CIFG@=B=7
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

(4($3&+ (&5,10($'                                                     97    \*9D         
#5K$9BH5@95@H<'FC;F5A
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

4:&+1.1*,45                                                             $5M     \97         
#5K$9BH5@95@H<'FC;F5A
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585


                                                                                                 
                                                                      Armistead App. 0453




.,0,&$.4:&+1.1*:05(30                                    *9D  \I;  
9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

!($&+,0*44,45$05                                            *9D  \$5M 
9D5FHA9BHC:'GM7<C@C;M
$7=@@,B=J9FG=HMX$CBHFQ5@5B585

3(1&513$.3$&5,&6/                                        *9D  \!IB  
*9L5B8CID@9G+<9F5DM,B=H
)CM5@-=7HCF=5CGD=H5@X$CBHFQ5@5B585

3(1&513$.3$&5,&6/                                        $5M \97  
9D5FHA9BHC:'GM7<=5HFM
(I99B@=N569H<CGD=H5@X$CBHFQ5@5B585


                                      

441&,$5(31)(4413                                            !I@     \$5M    
9D5FHA9BHC:'GM7<=5HFM
,B=J9FG=HMC:+CFCBHC57I@HMC:$98=7=B9&+CFCBHC5B585

'-60&5$&6.5:                                               I;      \!IB    
F58I5H9'FC;F5A=B'GM7<C@C;M
0CF?,B=J9FG=HM&+CFCBHC5B585

441&,$5($&6.5:10                                       &7H     \97    
*7<CC@C:9<5J=CIF5@C;B=H=J9*C7=5@*7=9B79
,B=J9FG=HMC:%9KB;@5B8&FA=85@9IGHF5@=5

44,45$0531)(4413                                            !IB    \!IB     
9D5FHA9BHC:'GM7<=5HFM
,B=J9FG=HMC:+CFCBHC57I@HMC:$98=7=B9&+CFCBHC5B585

'-60&5$&6.5:                                               *9D     \!IB     
@=B=75@'GM7<C@C;M)9G=89B7M'FC;F5A
*H !CG9D<aG95@H<75F9&5A=@HCB5B585




                                                                                   
                                                                                Armistead App. 0454



                                      

   5BHCF! $    +F5BG;9B89F5B8;9B89F8=J9FG97<=@8F9B5B858C@9G79BHG57H
       7<97?=B;C:'DC@=7M =C@</:=4&3F /@7B/:'63@/>G  \ 8C=
                   /    
 *<=F5N=+ *9@: 5BHCF! 5KCC8" 5F89B5G) )CG9B:=9@8" &FH=N+ 5FFQ
       ! $75B=9@$ @5B7<5F8) 5@5GI6F5A5B=5B) 9@5B9M FCK@9M. *
       $5F7F998@CJ9* $ 'IHG    +=A=B;C:D9F=DI69FH5@GH9FC=89LDCGIF9
       DF98=7HGJ=GICGD5H=5@7C;B=H=CB=BA9BJ=89B79:FCAH<F99G5AD@9G =@;=<3A/<2
       36/D7=@         
 *H9D<9BG* *9HC$  5BHCF! $ #5@IA=RF9$ #   +<9*7F99B=B;*75@9
       :CF'98CD<=@=7 BH9F9GH )9J=G98**' A5M695A95GIF9C:D98C<969D<=@=5 =C@</:
       =4&3FC/: 32717<3  e  8C=            > >GLA    
 $7'<5=@ - 9FA5BB  9FB5B9* 9FB5B89N0 $ %IB9G" # 5BHCF!
       $   -5@=8=HM=BD<5@@CA9HF=7H9GH=B;:CFG9LI5@=BH9F9GHG=B7<=@8F9BA9H5
       5B5@MH=7F9J=9K AA3AA;3<B \ 8C=                     
 5BHCF! $   5BD98CD<=@9G7<5B;9C@@3<B&3FC/:3/:B6%3>=@BA  \ 
       8C=         G          
 5BHCF! $ 98CFC::! '   5BD98CD<=@9G7<5B;9)9GDCBG9HCCD9B=B;
       5F;IA9BHG5B87CB7@IG=CBG C@@3<B&3FC/:3/:B6%3>=@BA  \ 8C=
                 G         N
 *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $   ;98=J9FG=HM5ACB;
       J=7H=AGC:<969D<=@=7G9LI5@C::9B89FG &3FC/:0CA3 \ 8C=
                 
 *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $   +<9F9@5H=CBG<=DG
       69HK99BJ=7H=A5;9;9B89F5B8F9@5H=CBG<=DDC@MACFD<=GA5B8G9LI5@F97=8=J=GA 
       &3FC/:0CA3  e  8C=             
 *H9D<9BG* %9KA5B!  5BHCF! $ *9HC$    +<9*H5H=7 )DF98=7HG
       G9LI5@5B8J=C@9BHF97=8=J=GA:CF=B8=J=8I5@GK=H<@CK=BH9@@97HI5@:IB7H=CB=B; =C@</:
       =4&3FC/:55@3AA7=<  \ 8C=              
   5BHCF! $   *9LI5@89J=5B79CFGC7=5@89J=5B79.<5H$) F9G95F7<F9J95@G56CIH
       D98CD<=@=5 '&=@C;  GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG 
       95J9FHCB&) <HHD B9KGA5B5;9F 7CAAD5FHB9FG 7CA 5HG5 =GGI9G      <HA@
   .5@HCB$ + 5BHCF! $ <I@@5F% #M?=BG    MD9FG9LI5@=HM
       7F=H=75@F9J=9K5B8=BHFC8I7H=CBHCH<9^*9L<5J=CFM7@9 _@167D3A=4&3FC/:36/D7=@
          \ 8C=           G     
  *H9D<9BG* #9FCIL *?=@@=B;+ 5BHCF! $ *9HC$    H5LCA9HF=7
       5B5@MG=GC:D98CD<=@=5IH=@=N=B;G9@: F9DCFH69<5J=CF5@5B8G9LI5@5FCIG5@=B8=75HCFG 
       =C@</:=40<=@;/:#AG16=:=5G  \              8C=      56B       
  5N=C) # MG<B=?I #M?=BG  5BHCF! $   #9;@9B;H<J9FGIGHCFGC
       @9B;H<=BD98CD<=@=5IFH<9F9J=89B79C:5HMD=75@D<MG=75@89J9@CDA9BH95F@M=B@=:9 
       &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B  \  8C=
                  
  *9HC$  *H9D<9BG* #5@IA=RF9$ # 5BHCF! $   +<9)9J=G98*7F99B=B;
       *75@9:CF'98CD<=@=7 BH9F9GHG**' 9J9@CDA9BH5B87F=H9F=CB F9@5H98J5@=85H=CB 
       &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B  \8C=


                                                                                            
                                                                                       Armistead App. 0455



                       
       *H9D<9BG* 5BHCF! $ CC8K=@@ $ *9HC$    $I@H=D@9=B8=75HCFGC:
             G9LI5@=BH9F9GH=BDF9DI69G79BHCFDI69G79BH7<=@8F9B5GDF98=7HCFGC:G9LI5@F97=8=J=GA 
             =C@</:=4=<AC:B7<5/<2:7<71/:#AG16=:=5G \8C=           77D       
       *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $   J=89B79C:7CBGHFI7H
             J5@=8=HM=BH<95GG9GGA9BHC:<969D<=@=5 @167D3A=4&3FC/:36/D7=@  \ 8C=
                      G      N
       .5@HCB$ + 5BHCF! $ #M?=BG    BCB@=B95GG9GGA9BHC:D9FGCB5@=HM
             DGM7<C@C;=75@5B8G9LI5@=HMHF5=HJ5F=56@9G5GGC7=5H98K=H<G9@: F9DCFH98<MD9FG9LI5@
             69<5J=CF @167D3A=4&3FC/:36/D7=@  \8C=           G      
       5BHCF! $ #5:5=@@9* ! 5BB5<! "I7M= *C< . =F5F8+  $=?I@=G
             !    B89D9B89BH7CADCB9BH5B5@MG=GC:F9GH=B; GH5H9:IB7H=CB5@A5;B9H=7
             F9GCB5B79=A5;=B;=BD98CD<=@9G =C@</:=4&3FC/: 32717<3  \ 8C=
                      > >GLA    
       5BHCF! $ $7'<5=@ -   %CB C::9B8=B;D98CD<=@9G C@@3<B&3FC/:3/:B6
             %3>=@BA  \  8C=          G           N
       5BHCF! $   $=@9GHCB9G=BG9LF9G95F7<.<5H75IG9GD98CD<=@=5 B! * M89!
              9#5A5H9F * M9FG8G (<23@AB/<27<56C;/<A3FC/:7BG5B58=5B98 
             DD \ +CFCBHC$7F5K =@@)M9FGCB
       5BHCF! $   '98CD<=@=5  B) 5IH=B* #=@=9B:9@88G <1G1:=>327/=4
             1:7<71/:>AG16=:=5G$5@89B$.=@9M @57?K9@@ 8C=
                            K697D 
      %IB9G" # 5BHCF! $   *9LC::9B89FG  B' .<9@9<5B C@=B8G 
             <B3@</B7=</:3<1G1:=>327/=46C;/<A3FC/:7BG$5@89B$.=@9M @57?K9@@ 
      5BHCF! $ #5:5=@@9* *C< . $C5M98=$ $=?I@=G ! =F5F8+   
             =::IG=CB+9BGCF A5;=B;C:D98CD<=@=5 @167D3A=4&3FC/:36/D7=@   \  
             8C=          G     
      5BHCF! $ $7'<5=@ -   *9BG=H=J=HM5B8GD97=:=7=HM:CFH<9D<5@@CA9HF=7H9GH
             C:<969D<=@=5 =C@</:=4&3FC/: 32717<3   \  8C=              >GA  
                       
      MG<B=?I  $IFF5M$  5N=C) # #M?=BG  5BHCF! $   $=BCF
             D<MG=75@5BCA5@=9G5G5K=B8CK=BHCH<9DF9B5H5@CF=;=BGC:D98CD<=@=5 @167D3A=4
             &3FC/:36/D7=@   \  8C=              G     
      5N=C) # 5BHCF! $   57HCFGHFI7HIF9C:H<98=B6IF;<5B898B9GG
              BJ9BHCFMJ9FGIGH<95N=C#5H9F5@=HM BJ9BHCFM=B5DCDI@5H=CBK=H<9GH56@=G<98
             5HMD=75@<5B898B9GG >>:732!3C@=>AG16=:=5G  \  8C=
                         
      #M?=BG  )C6=BGCB! ! #9@5B7* 5BHCF! $   +<99::97HGC:7CAACB
             A98=75H=CBGCBJC@IA9HF=7D<5@@CA9HFM =C@</:=4&3FC/:55@3AA7=< \
             8C=                        
      *IHHCB" * *HF5HHCB% 'MHM7?! "C@@5% ! 5BHCF! $   '5H=9BH
             7<5F57H9F=GH=7G6MHMD9C:<MD9FG9LI5@=HMF9:9FF5@EI5BH=H5H=J97<5FHF9J=9KC: 
             7CBG97IH=J9A5@975G9G =C@</:=4&3F/<2 /@7B/:'63@/>G e 8C=
                         /   
      5BHCF! $   C@8GH5FD98CD<=@9G=B;9B9F5@G9LH<9F5DMDF57H=79  B0 $ =B=?
             5B8" 5@@8G #@7<17>:3A/<2>@/1B713=4A3FB63@/>G98 DD  \ %9K
             0CF?I=@:CF8 


                                                                                                    
                                                                                 Armistead App. 0456



  5BHCF! $ *IHHCB" *   '5F5D<=@=5;9B89F8MGD<CF=55B8<MD9FG9LI5@=HM  B
         '  @5B9M+ $=@@CB8G "F4=@2B3FB0==9=4>AG16=>/B6=:=5G98 DD 
         \  %9K0CF?&L:CF8,B=J9FG=HM'F9GG 
  <=J9FG$ # )CM F=A6CG+ 5BHCF! $ *9HC$    *D97=:=7=HMC:
         G9LI5@5FCIG5@:CFG9LI5@57H=J=H=9G=BA9B5B8KCA9BK=H<7CBJ9BH=CB5@5B8
         A5GC7<=GH=7G9LI5@=BH9F9GHG @167D3A=4&3FC/:36/D7=@  e 8C=
                  G     
  5N=C) # #M?=BG  5BHCF! $   @9J5H98F5H9GC:5HMD=75@ <5B898B9GG=B
         D598CD<=@=5+<9CFM5B8=AD@=75H=CBG /B3@/:7BG  e 8C=
                  /   
  #M?=BG  5BHCF! $   -CF5F9D<=@=575G9GHI8M=BA5GC7<=GA5B89FCH=7
         7CBGIADH=CB @167D3A=4&3FC/:36/D7=@   \ 8C=
                  G     M
  5BHCF! $ "@9=B #M?=BG )I@@C!  +<5@9F# .5@@=B; )   
         HF95HA9BH CF=9BH98HMDC@C;MC:G9@: =89BH=:=98<MD9FG9LI5@=HMF9:9FF5@G @167D3A=4
         &3FC/:36/D7=@ \ 8C=             G     
  @5B7<5F8) "I65B$  @5?+ "@5GG9B'  =7?9M) 5BHCF! $   
         *9LI5@5HHF57H=CBHCCH<9FG7CAD5F=GCBC:HKCAC89@GC:5@@C9FCH=7F9GDCB8=B;=B
         A9B @167D3A=4&3FC/:36/D7=@  \8C=             G           
  5BHCF! $   F5=BF9G95F7<5B8D98CD<=@=5.<5H=HG5MG5B8K<5H=HA95BG2 BJ=H98
         5FH=7@93 &3F"443<23@/E%3>=@B  \ 
  5BHCF! $    G<CACG9LI5@=HM5D5F5D<=@=5+<99J=89B79:CF5B85;5=BGH @167D3A
         =4&3FC/:36/D7=@ \ 8C=             G     
  #M?=BG  5BHCF! $ "I65B$  @5?+ =7?9M) "@5GG9B'  
         @5B7<5F8)        *9LI5@5FCIG5@HC:9A5@97<=@8F9B=B;MB9D<=@=7A9B &3FC/:
         0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B \ 8C=
                     
  #M?=BG  5BHCF! $ "I65B$  @5?+ =7?9M) "@5GG9B'  
         @5B7<5F8)        +<9F9@5H=CB69HK99BD95?F9GDCBG9A5;B=HI89G5B85;F99A9BH
         =B8=5;BCG9GC6H5=B98:FCAHKC8=::9F9BHD<5@@CA9HF=7H9GHG:CFD98CD<=@=5 &3FC/:
         0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B \ 8C=
                    
  5BHCF! $ @5B7<5F8) 5F65F99    *9LI5@8=GCF89FG  B'  @5B9M
         + $=@@CB8G "F4=@2B3FB0==9=4>AG16=>/B6=:=5G98 DD \ %9K
         0CF?&L:CF8,B=J9FG=HM'F9GG 
  5F65F99  #5B;HCB $ @5B7<5F8) 5BHCF! $   ;=B;J9FGIGGH56@9
         9B8IF=B;HF5=HG5G9LD@5B5HCFM7CBGHFI7HG=BG9LC::9B89FF97=8=J=GA'5FH=H=CB=B;
         57HI5F=5@DF98=7H=CB=BHC7CB79DHI5@@MA95B=B;:I@7CADCB9BHG @7;7</:CAB713/<2
         36/D7=@<<B3@</B7=</:=C@</: \ 8C=            
  @5B7<5F8) "I65B$  @5?+ 5BHCF! $ "@5GG9B'  =7?9M)   
         6GC@IH9J9FGIGF9@5H=J95G79FH5=BA9BHC:D98CD<=@=5=BA9B &3FC/:0CA3=C@</:
         =4%3A3/@16/<2'@3/B;3<B  \ 8C=                 
  @5B7<5F8) #M?=BG  .<9FF9HH "I65B$  5BHCF! $ @5?+ =7?9M
         ) "@5GG9B'    '98CD<=@=5<969D<=@=55B8H<9*$\- @167D3A=4
         &3FC/:36/D7=@ \ 8C=             G      
  5BHCF! $   $) F9G95F7<CBD98CD<=@=5.<5H+*A9A69FGG<CI@8?BCK


                                                                                              
                                                                                    Armistead App. 0457



           2 BJ=H985FH=7@93 '&=@C; \ 
    5BHCF! $ "565B=% <F=GH9BG9B " 1=DIFG?M)  5F65F99  =7?9M) 
           "@5GG9B'  $=?I@=G ! "I65B$  @5?+ )=7<5F8G  5BF5HHM$ " 
           @5B7<5F8)   9F96F5@K<=H9A5HH9F89:=7=9B7=9G=BD98CD<=@=7A9B =C@</:
           =4#AG167/B@71%3A3/@16  \  8C=            > >DGM7<=F9G           
    @5B7<5F8) "C@@5% ! 5BHCF! $ "@5GG9B'  =7?9M) "I65B$  @5?
           +    (<5B898B9GG5B8D98CD<=@=5=B58I@HA5@9D5H=9BHGGHF5H=:=986MF9:9FF5@
           GCIF79 &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B \  8C=
                   G         
    5BHCF! $ "I65B$  @5?+ "@5GG9B'  =7?9M) @5B7<5F8)   
           '<MG=75@<9=;<H=BD98CD<=@=55B8<969D<=@=5 &3FC/:0CA3=C@</:=4%3A3/@16/<2
           '@3/B;3<B \  8C=           G         
    @5B7<5F8) 5BHCF! $ C;59FH  F998@CJ9* $ @@=G#   
             BH9F57H=CBC::F5H9FB5@6=FH<CF89F5B8<5B898B9GG=BH<989J9@CDA9BHC:A5@9
           <CACG9LI5@=HM =@;=<3A/<236/D7=@  \  8C=
                    > M<69<    
    @5B7<5F8) "I65B$  @5?+ 5BHCF! $ "@5GG9B' =7?9M)   
           '<5@@CA9HF=77CAD5F=GCBC:D98CD<=@=7=BH9F9GH=BBCB58A=HH=B;G9LI5@C::9B89FG
           5;5=BGHGH9D85I;<H9FG6=C@C;=75@85I;<H9FGCH<9F6=C@C;=75@@MF9@5H98;=F@G5B8
           IBF9@5H98;=F@G &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B  \  8C=
                   G                
     @5B7<5F8) 5BHCF! $ )C6=7<5I8# "   =C@C;=75@:57HCFG=BH<9
           89J9@CDA9BHC:G9LI5@89J=5B795B85;;F9GG=CB=BA5@9G  B  5F65F99. # 
           $5FG<5@@8G '638CD3<7:3A3F=443<23@98 DD \  %9K0CF?I=@:CF8 
     5BHCF! $ "I65B$  @5?+ "@5GG9B'  =7?9M) @5B7<5F8)   
           F589:5=@IF95B8GD97=5@98I75H=CBD@579A9BH=BG9LI5@C::9B89FGa98I75H=CB5@
           <=GHCF=9G @167D3A=4&3FC/:36/D7=@ \ 8C=              G      
    *9HC$  5BHCF! $ @5B7<5F8)   <=@8DCFBC;F5D<MC::9BG9G5F95J5@=8
           8=5;BCGH=7=B8=75HCFC:D98CD<=@=5 =C@</:=40<=@;/:#AG16=:=5G          \  
           8C=         /    
    1I7?9F" ! $=H7<9@@! % F58@9M* ! +?57<I?! 5BHCF! $ @@=B* $ 
             +<9)975@@98<=@8<CC89B89F 89BH=HM 9B89F)C@9(I9GH=CBB5=F9
           'GM7<CA9HF=7DFCD9FH=9G &3F%=:3A \ 8C=             G         L
    5BHCF! $ @5B7<5F8) )C6=7<5I8# " <F=GH9BG9B "   (I5BH=H5H=J9
           F95B5@MG=GC:5;;F9;5H985H5CB (=BG9LI5@C::9B89FG #AG16=:=571/:C::3B7<        
           \ 8C=              
    5BHCF! $ "@5GG9B'  =7?9M) <F=GH9BG9B " "I65B$  @5?+ 
           .=@@=5AG% * @5B7<5F8)   5B898B9GG=BD98CD<=@=55B8<969D<=@=5 
           @167D3A=4&3FC/:36/D7=@ \ 8C=             G     
    5BHCF! $ @5B7<5F8) <F=GH9BG9B " =7?9M) "@5GG9B'  97?GH958 
           # @5?+ "I65B$     BH9@@=;9B79A9ACFM5B8<5B898B9GG=B
           D98CD<=@=5 !3C@=>AG16=:=5G \  8C=               
    @5B7<5F8) "I65B$  "@5GG9B' =7?9M) <F=GH9BG9B " 5BHCF! $ 
           @5?+   *9@: F9DCFH98=B>IF=9G69:CF95B85:H9F5;9 =BD98CD<=@=75B8BCB
           D98CD<=@=7A9BF9:9FF98:CF7@=B=75@5GG9GGA9BH @167D3A=4&3FC/:36/D7=@ \
            


                                                                                                 
                                                                                Armistead App. 0458



 @5B7<5F8) <F=GH9BG9B " *HFCB;* $ 5BHCF! $ "I65B$  "@5GG9B' 
        =7?9M) @5?+   )9HFCGD97H=J9G9@: F9DCFHGC:7<=@8<CC8577=89BHG
        75IG=B;IB7CBG7=CIGB9GG=BD<5@@CA9HF=75@@M8=5;BCG98D98CD<=@9G @167D3A=4&3FC/:
        36/D7=@  \ 
 5BHCF! $ @5B7<5F8) '5H9FGCB  C;59FH    CKA5BM;5MA9B
        CK9H<9=FG9LI5@CF=9BH5H=CBHC:F5H9FB5@6=FH<CF89F@167D3A=4&3FC/:36/D7=@ 
        \ 
 5BHCF! $ =B=?0 $ ':5IG!    <FCB=7:@ICL9H=B9=B<=6=HGG9LI5@
        69<5J=CF=BH<9A5@9F5H)9J9FG5@K=H<CLMHC7=B #AG16=>6/@;/1=:=5G       \ 
 =B=?0 $ 5BHCF! &7<G $95B5$   FCAH<97CI7<HCH<9?9M6C5F8
        'GM7<CH<9F5DM=B7M69FGD579  B* "=9G@9F8 C:BC@3=4B637<B3@<3BDD  \   
        $5<K5<%!#5KF9B79F@65IA 
 !C<BGCB$ " &aCBBCF$ 5BHCF!   CB:56I@5H=CBA9ACFM89:=7=HG5B8
        :FCBH5@8MG:IB7H=CB @/7</<2=5<7B7=<  \  
 "95B9$ $ 56F=9@=!   $CBH=#  @9=G7<A5B  5BHCF! $ %C@5B!
        *    BH57H5B8=AD5=F987CB79DHI5@A9ACFMDFC79GG9G=B5AB9G=5
        !3C@=>AG16=:=5G \
 '=@?=B;HCB% . 5BHCF! $   '9F79DH=CBGC:<9H9FCG9LI5@6=5G=BDFC:9GG=CB5@
        DGM7<C@C;MDFC;F5AGGIFJ9MC:;F58I5H9GHI89BHG #@=43AA7=</:#AG16=:=5G
        %3A3/@16/<2#@/1B713  \  




                                                                                             
                                                                                 Armistead App. 0459



                                      
                                            
!! ! 
    5BHCF! $   )9G95F7<A9H<C8GGH5H=GH=75@5B5@MG=G5B8H<9D<5@@CA9HF=7H9GH:CF
          <969D<=@=5)9GDCBG9HC98CFC::28=HCF=5@CAA9BH5FM3 =C@</:=4&3FC/: 32717<3
             \ 8C=           >GA   
  5BHCF! $    B<=GCKBKCF8G)9GDCBG9HC$CG9F28=HCF=5@CAA9BH5FM3 
          =C@</:=4&3FC/: 32717<3  \  8C=             >GA  
  5BHCF! $   'IFDCFH987<5B;9G=BD98CD<=@=55GGH5H=GH=75@5FH9:57HGCAA9BHCB
          $W@@9F9H5@   @167D3A=4&3FC/:36/D7=@ \8C=          G  
               L
  $7'<5=@ - 5BHCF! $   '98CD<=@=5<9=;<H5B8H<9A5;B=HI89C:H<9
          5GGC7=5H=CBF9G95F7<BCH9 3D7/<B36/D7=@ \8C=
                         
  *C< . 5BHCF! $   D99?=BG=895:IFFM7CBJ9BH=CB2#9HH9FHCH<98=HCF3 
          @167D3A=4&3FC/:36/D7=@  \8C=           G     M
  5BHCF! $   )9D@MHC H5@=5BCaG 7CAA9BHCB5BHCF         2#9HH9FHCH<9
          8=HCF3 @167D3A=4&3FC/:36/D7=@   \  8C=           G   
          M
  5BHCF! $   +<99FFCFGC:"5F9BF5B?@=BaG#@3B3FBC/:7BG2CAA9BH5FM3 
          <B3@</B7=</:=C@</:=4=@3<A71 3<B/:3/:B6 \ 8C=
                      
  5BHCF! $ @5B7<5F8)   .<=H9A5HH9FJC@IA9G=BD98CD<=@9G<969D<=@9G5B8
          H9@9=CD<=@9G2#9HH9FHCH<98=HCF3 @167D3A=4&3FC/:36/D7=@  \ 8C=
                   G     
  5BHCF! $        %9K$) GHI8=9GGIDDCFHH<9@5B7<5F8HMDC@C;MC:A5@9 HC :9A5@9
          HF5BGG9LI5@=GA2#9HH9FHCH<98=HCF3 @167D3A=4&3FC/:36/D7=@ \ 8C=
                  G             
     1I7?9F" ! F58@9M* ! &KB B89FGCB "=66@9K<=H9* ! 5BHCF! $   
           G;9B89F=89BH=HM8=GCF89F=B58C@9G79BHG7CA=B;CIHC:H<97@CG9H=C@</:=4&3F/<2
             /@7B/:'63@/>G \ 
     5BHCF! $  *IAA9F )9J=9KC:H<96CC?'63 /<*6=*=C:23$C33<6M! 
          $=7<59@5=@9M !3EA:3BB3@=47D7A7=< =4B63;3@71/<#AG16=:=571/:AA=17/B7=<
             
    5BHCF! $  *DF=B; .<5H5F9H<9<CHHCD=7G=B#+F9G95F7<=BDGM7<C@C;M
          !3EA:3BB3@=47D7A7=< =4B63;3@71/<#AG16=:=571/:AA=17/B7=<   \ 
    5BHCF! $  5@@ $5@9<CACG9LI5@=HMG7=9B795B8D98CD<=@=5 !3EA:3BB3@=4
          7D7A7=< =4B63;3@71/<#AG16=:=571/:AA=17/B7=< \ 
    5BHCF! $      )9J=9KC:H<96CC?&3FC/:2271B7=<<<B35@/B32>>@=/16
          =C@</:=4&3F/<2 /@7B/:'63@/>G  \  


! 
  5BHCF! $      8=HCF=5@ &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B    



                                                                                              
                                                                                 Armistead App. 0460



   5BHCF! $      8=HCF=5@BCH9 &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B
             
   5F65F99  5BHCF! $        '9F:CFA5B79=B8=75H9G:CF&3FC/:0CA3=C@</:
        =4%3A3/@16/<2'@3/B;3<B*!)+28=HCF=5@3 &3FC/:0CA3=C@</:=4%3A3/@16
        /<2'@3/B;3<B  \ 
   5F65F99  5BHCF! $   &3FC/:0CA3=C@</:=4%3A3/@16/<2
        '@3/B;3<BD9F:CFA5B79=B8=75HCFG:CF 28=HCF=5@3 &3FC/:0CA3=C@</:=4
        %3A3/@16/<2'@3/B;3<B \ 
   1I7?9F" ! 5BHCF! $   FI=G=B; AD57H:57HCF85H528=HCF=5@3 @167D3A=4
        &3FC/:%3A3/@16 \ 
   5F65F99  5BHCF! $   '9F:CFA5B79=B8=75HCFG:CF&3FC/:0CA3
        =C@</:=4%3A3/@16/<2'@3/B;3<B28=HCF=5@3 &3FC/:0CA3=C@</:=4%3A3/@16
        /<2'@3/B;3<B \ 
   1I7?9F" ! 5BHCF! $   +<9@167D3A=BH<99F5C:CB@=B9:=FGH5<958C:
        DF=BH28=HCF=5@3 @167D3A=4&3FC/:36/D7=@  \  
   1I7?9F" ! 5BHCF! $   +<9=AD57H:57HCF+<9Archives bF95?G:FCAH<9D57?
        28=HCF=5@3 @167D3A=4&3FC/:36/D7=@ \ 
   1I7?9F" ! 5BHCF! $   +<9=AD57H:57HCF^C=BaID_28=HCF=5@3 @167D3A=4
        &3FC/:36/D7=@ \ 
    1I7?9F" 5BHCF! $   +<9BIA69FG;5A9+<9=AD57H:57HCF5B85@@H<5H>5NN
        28=HCF=5@3 @167D3A=4&3FC/:36/D7=@ \ 




                                                                                             
                                                                                  Armistead App. 0461



                                         

'F=B7=D5@ BJ9GH=;5HCFG CI;-5B89F#55B$9B; <I5B#5=
C BJ9GH=;5HCFG         !5A9G$ 5BHCF$9;<5$5@@5F<5?F5J5FHM%5B7M#C65I;<$ 
                          '5@A9FH$ *?CFG?5
+=H@9                   @/7<4C<1B7=</<21=<<31B=;71A4=::=E7<5A3F6=@;=<3B@3/B;3<B7<
                          /2=:3A13<BA3F>3@73<1353<23@2GA>6=@7/
;9B7M                  5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
                          9<5J=CIF5@*7=9B79G  
IB8G                      M95FG!I@M 

'F=B7=D5@ BJ9GH=;5HCF   $=7<59@ *9HC
C BJ9GH=;5HCFG          $5FH=B#5@IA=RF9!5A9G$ 5BHCF
+=H@9                   @31=<<31B7D7BG27443@3<13AC<7?C3B=>32=>67:7/
;9B7M                   ,B=J9FG=HM$98=75@)9G95F7<IB8)CM5@&HH5K5CGD=H5@
IB8G                          M95F!5BI5FM 

'F=B7=D5@ BJ9GH=;5HCF   #CF=FCHHC
C BJ9GH=;5HCFG          BH<CBMC;59FH!5A9G$ 5BHCF9FI@:)=9;9F
+=H@9                   <D3AB75/B7=<A7<B=B63<3C@/:C<23@>7<<7<5A/<207=:=571/:1=@@3:/B3A
                           =4/A3FC/:7BG
;9B7M                   %5HIF5@*7=9B79G5B8B;=B99F=B;)9G95F7<CIB7=@%*)
                           =G7CJ9FMF5BHG'FC;F5A
IB8G                          M95FGDF=@ 

'F=B7=D5@ BJ9GH=;5HCF   CI;-5B89F#55B
C BJ9GH=;5HCFG          !9F5@85=B!5A9G$ 5BHCF$9;<5$5@@5F<5?F5J5FHM*C:=5
                           <5J9N%5B7M#C65I;<5B8"9BB9H<! 1I7?9F
+=H@9                    4431BA=4A3F6=@;=<3B@3/B;3<B=<0@/7<23D3:=>;3<B;/5<3B71
                           @3A=</<137;/57<5ABC2G=4/2=:3A13<BAE7B653<23@2GA>6=@7/
;9B7M                   5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
                           +F5BG=H=CB5@&D9BF5BH'FC;F5A
IB8G                     M95FG*9DH9A69F 

'F=B7=D5@ BJ9GH=;5HCF   !5A9G$ 5BHCF
C BJ9GH=;5HCFG          CK5F8 5F65F99)5M@5B7<5F8)C69FH=7?9M+C88 =F5F8
                           '<=@@=D "@5GG9B5B85J=8! $=?I@=G
+=H@9                    !3C@=/</B=;7143/BC@3AA>317471B=>32=>67:7/
;9B7M                   5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
IB8G                         M95FG&7HC69F 

'F=B7=D5@ BJ9GH=;5HCF   !5A9G$ 5BHCF
+=H@9                   >@3:7;7</@GABC2G=44 %/A/27/5<=AB71B3AB=4>32=>67:7/
;9B7M                   95BC:$98=7=B9%9K57I@HMF5BHCAD9H=H=CB,B=J C:+CFCBHC
IB8G                          !I@M 




                                                                                                
                                                                                Armistead App. 0462



'F=B7=D5@ BJ9GH=;5HCF   !5A9G$ 5BHCF
C BJ9GH=;5HCF           )5M@5B7<5F8
+=H@9                     =@>6=:=571/:/<2<3C@=>AG16=:=571/:1=@@3:/B3A=4>32=>67:7/
;9B7M                   5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
IB8G                       M95FGDF=@ 




                                                                                             
                                                                                Armistead App. 0463



                                               

   5BHCF! $   *9DH9A69F !=B=>71B==B=C564=@B67A3F>3@B>/<3:G3/@7<
        @3D73E'@9B5FM*9GG=CB:CFH<9 BBI5@)9G95F7<5B8+F95HA9BHCB:9F9B79
        GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG 
  5BHCF! $  $5M  <B@=2C1B7=</<2$4=@O#32=>67:3P*HCD*&BBI5@
        CB:9F9B79#CB8CB," 
  5BHCF! $  I;IGH !3C@=07=:=5G=4>32=>67:7/=@>/@/>67:7/'=E/@2A/
        O@/<2(<74732'63=@GP=4A3FC/:7<B3@3ABA"9MBCH9588F9GGHCH<9 BH9FB5H=CB5@
        GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@&::9B89FG-=@B=IG#=H<I5B=5 
  5BHCF! $  I;IGH #32=>67:7//<2B630@/7<'6@33?C3AB7=<A/A932/<2
        /<AE3@32'F97CB:9F9B79HF5=B=B;DF9G9BH98HCH<9 BH9FB5H=CB5@GGC7=5H=CB:CFH<9
        +F95HA9BHC:*9LI5@&::9B89FG-=@B=IG#=H<I5B=5 
  5BHCF! $  DF=@  '63@3A>=<A3AB= '98CD<=@94@=;*3B63>3=>:3"9MBCH9
        588F9GGHCH<9$=BB9GCH5GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG$=BB95DC@=G
        $=BB9GCH5 
  5BHCF! $  DF=@  &BC2G7<5/BG>71/:A3FC/:7B73A@=;D/<7::/B= '98CD<=@9 
        I@@85MKCF?G<CD5HH<9$=BB9GCH5GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG
        $=BB95DC@=G$=BB9GCH5 
  5BHCF! $  !5BI5FM  =E;C16A3F7A3<=C564=@/6/>>G:743 BJ=H98@97HIF9
        HCH<9,B=J9FG=HMC:+CFCBHC=J=G=CBC:,FC@C;M$9BaG95@H<*IAA=H+CFCBHC
        5B585 
  5BHCF! $  %CJ9A69F '98CD<=@=55G5D<9BCA9BCBC:H<96F5=B,D85H9C:
        9J=89B795B8H<9DI6@=7F9GDCBG9  BJ=H98DF9G9BH5H=CBHCH<95BBI5@*98I75H=CB
        9J9BH9BHF9:CF88=7H=CB5B8$9BH5@95@H<+CFCBHC5B585 
  5BHCF! $  !IB9 '98CD<=@=569=B;=BH<96F5=B+<99J=89B795B8H<9DI6@=7aG
        F957H=CB  BJ=H98DF9G9BH5H=CBHC&+>=A7C;/BB63%" '63A173<13=4:=D3/<2A3F
        +CFCBHC5B585 
    5BHCF! $ 5AD95$  DF=@  M#32=>67:3NA6=E7<5/<227A1CAA7=<
         BJ=H98DF9G9BH5H=CBHCH<95BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8
        )9G95F7<$CBHFQ5@5B585 
    5BHCF! $  $5F7<  C<1B7=</:/<2AB@C1BC@/:<3C@=7;/57<5=4>32=>67:7/
        =<A7AB3<173A/1@=AA;3B6=2A/<2;=2/:7B73A BJ=H98@97HIF9HCH<9F5=B A5;=B;
        9BHF9)CM5@&HH5K5CGD=H5@&HH5K55B585 
   5BHCF! $  !5BI5FM #32=>67:7/037<57<B630@/7<'633D723<13/<2B63>C0:71
        @3/1B7=< B5I;IF5@?9MBCH9588F9GGHCH<9,B=J9FG=HMC:+CFCBHC*9LI5@=HM BH9F9GH
        %9HKCF?+CFCBHC&BH5F=C5B585 
   5BHCF! $  &7HC69F  7A1CAA7=<=4PAM#32=>67:3N&::=79C:H<9
        <=@8F9BaG#5KM9F8I75H=CB5@*9GG=CB+CFCBHC&BH5F=C5B585 
   5BHCF! $  *9DH9A69F  D/:C/B7<5B63@7A9B=@3=443<2*6/BE39<=E/<2
        E6/BE32=<PB BJ=H98@97HIF9HCH<9GGC7=5H=CBC:&BH5F=C!I8;9G&BH5F=CCIFHC:
        !IGH=79BBI5@5A=@M#5K'FC;F5A@I9$CIBH5=BG&BH5F=C5B585 2'F=J5H9@=B?
        CB@M<HHDG J=A9C 7CA           7 3
   5BHCF! $  DF=@ #32=>67:7//<2B630@/7<=<1:CA7=<A4@=;B63A31=<2
        53<3@/B7=<=4@3A3/@16 BJ=H98@97HIF95HH<9 5BBI5@)=G?5B8)97CJ9FMCF9BG=7
        CB:9F9B795A=@HCB&BH5F=C 


                                                                                             
                                                                              Armistead App. 0464



  5BHCF! $  DF=@ G>3@A3FC/:7BGE7B6=CBB636G>3@0=:3"9MBCH9588F9GGHCH<9
         
            5BBI5@)=G?5B8)97CJ9FMCF9BG=7CB:9F9B795A=@HCB&BH5F=C 
  5BHCF! $  %CJ9A69F !==<3/A9AB=03A3FC/::G/BB@/1B32B=167:2@3<7D7<57<
      /<73:PA*=@:2F5B8)CIB8G9BHF9:CF88=7H=CB5B8$9BH5@95@H< +CFCBHC
      5B585 
  5BHCF! $  I;IGH G>3@A3FC/:7BG3BB7<5>/ABE63B63@M7BN7A=@M7BN7A<PB
       BJ=H98588F9GG5HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7< 
      +CFCBHC5B585
  5BHCF! $  !I@M C<74732B63=@G=4BG>71/:/<2/BG>71/:A3FC/:7<B3@3AB7<;3<
      #/@/>67:7/6G>3@A3FC/:7BG/A3FC/:7BG/<2D/<7:://A=CB1=;3A=4/A7<5:32C/:
      =>>=<3<B>@=13AA BJ=H98DF9G9BH5H=CBHCH<9 'INN@9GC:*9LI5@&F=9BH5H=CB
      7CB:9F9B79#9H<6F=8;9#5B585 
 5BHCF! $  !IB9 G>3@A3FC/:7BG"9MBCH988F9GGHCH<9&BH5F=C'FC6@9A
      5A6@=B;'FCJ=B7=5@CFIA +CFCBHC5B585 
 5BHCF! $  $5M AA3AA;3<B=4>32=>67:7/#/AB>@3A3<B4CBC@3"9MBCH9
      88F9GGHCH<9 BH9FB5H=CB5@*MADCG=IACB%9IF5@$97<5B=GAG,B89F@M=B;'98CD<=@=5
      5B8<=@8*9LI5@6IG9%9$,' 9F@=B9FA5BM 
 5BHCF! $  $5F7< #@3D3<B7=<=4A3FC/:/0CA30GB/19:7<5B6307553ABAB75;/=4
      B63;/:: /97<5A3FB63@/>G/D/7:/0:3B=>32=>67:3A"9MBCH9588F9GGHCH<9 5BBI5@
      A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<CGHCB$ 
 5BHCF! $  $5F7< #32=>67:7/#@327A>=A7B7=<=@>3@D3@A7=<'5B9@8=G7IGG=CB5H
      C@IA6=5,B=J9FG=HM*7<CC@C:!CIFB5@=GA %9K0CF?%0 
 5BHCF! $  96FI5FM G>3@A3FC/:7BG)9G95F7<5MF5B8)CIB8GDF9G9BH5H=CB
      HC&BH5F=C*<CF9G9BHF9:CF$9BH5@95@H<*7=9B79G.<=H6M&BH5F=C5B585 
 5BHCF! $  !5BI5FM @/7<@3A3/@16/<2>32=>67:7/*6/B7B;3/<A4=@
      /AA3AA;3<B@3A3/@16/<2>=:71G"9MBCH9588F9GGHCH<9=B5I;IF5@A99H=B;C:H<9
      %9H<9F@5B8GGGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG,HF97<H%9H<9F@5B8G 
 5BHCF! $  979A69F (<23@AB/<27<5>32=>67:7//<2B630@/7<;>:71/B7=<A4=@
      A/43BG/<2A=173BG"9MBCH9588F9GG:CF+<9!9K=G<CAAIB=HMCB:FCBHG-=C@9B795B8
      6IG9F=G=G9BHF9:CF)9@=;=CIG.CA9B!9FIG5@9A GF59@ 
 5BHCF! $  &7HC69F (<23@AB/<27<5>32=>67:7/B630@/7< BJ=H98:I@@ 85M
      KCF?G<CD:CFH<9*9L&::9B89FGG9GGA9BHC5F8C:'9BBGM@J5B=55FF=G6IF;' 
 5BHCF! $  *9DH9A69F (<23@AB/<27<5<3C@=7;/57<5=4>32=>67:7/C@@3<B
      AB/BCA/<27;>:71/B7=<A BJ=H98@97HIF9DF9G9BH98HCH<9$9BH5@95@H<5B888=H=CB
      )CIB8G*H !CG9D<aG95@H<75F95A=@HCB&BH5F=C5B585 
 5BHCF! $  !IB9 <3D3<7<5E7B6@/;3A/<B=@ BJ=H98@97HIF9DF9G9BH98HC
      H<9&BH5F=C$98=75@GGC7=5H=CB=GHF=7H C7HCFGa#CIB;9'FC;F5A+CFCBHC
      &BH5F=C5B585 
 5BHCF! $  DF=@ #32=>67:7//<2B630@/7< BJ=H98@97HIF9DF9G9BH98HCH<9
      ,B=J9FG=HMC:+CFCBHC$98=75@*HI89BHG@IB7<H=A9@97HIF9 +CFCBHC&BH5F=C5B585 
 5BHCF! $  96FI5FM #32=>67:7//<2B630@/7<%31/>/<2C>2/B3.CF?G<CD
      DF9G9BH985HH<9 5BBI5@A99H=B;C:H<9.5G<=B;HCB*H5H9GGC7=5H=CB:CFH<9
      +F95HA9BHC:*9LI5@6IG9FG@9@IA. 
 5BHCF! $ #5:5=@@9* 5BB5<! "I7M= *C< =F5F8+  $=?I@=G $
       96FI5FM C<1B7=</:1=<<31B7D7BG7<>32=>67:7/%9IFCDGM7<=5HFM)CIB8G
      +CFCBHC.9GH9FBCGD=H5@+CFCBHC&BH5F=C5B585 


                                                                                           
                                                                               Armistead App. 0465



 5BHCF! $  %CJ9A69F (<23@AB/<27<5>32=>67:7//<2B630@/7<'630/A71AB63
      1C@@3<BAB/BCA/<2B637@7;>:71/B7=<A BJ=H98@97HIF9HCH<9CF9BG=7'GM7<C@C;M
      )9G95F7<9BHF95F@9HCB,B=J9FG=HM&HH5K55B585 
 5BHCF! $  %CJ9A69F  7AB/97<5>C03@BG;7AB/97<56303>67:7/"9MBCH9588F9GG
      DF9G9BH98HCH<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@
      6IG9FG<=75;C # 
 5BHCF! $  &7HC69F (<23@AB/<27<5>32=>67:7//<2B630@/7<@31/>/<2
      C>2/B3 BJ=H98KCF?G<CDDF9G9BH985HH<9B85BBI5@A99H=B;C:H<9GGC7=5H=CB:CF
      H<9+F95HA9BHC:*9LI5@6IG9FG<=75;C # 
 5BHCF! $  &7HC69F =;>C:A7D36G>3@A3F/2271B7=<2=<PB1/@3E6/BE3/::7B
      E6/B1/<E38C BJ=H98588F9GGDF9G9BH98HCH<9C5F8C:L5A=B9FGC:*9L+<9F5D=GHG
      5B8CIBG9@CFGC:&BH5F=C+CFCBHC&BH5F=C5B585 
 5BHCF! $  *9DH9A69F !3C@=7;/57<5=4>32=>67:7/C@@3<BAB/BCA/<2
      7;>:71/B7=<A$7=@@,B=J9FG=HM95@H<9BHF99D5FHA9BHC:'GM7<=5HFMF5B8)CIB8G
      DF9G9BH5H=CB$CBHFQ5@(IQ6975B585 
 5BHCF! $  DF=@ (<23@AB/<27<5>32=>67:7//<2B630@/7< BJ=H98KCF?G<CD
      DF9G9BH985HH<9 A99H=B;C:H<9$=BB9GCH5GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@
      6IG9FG$=BB95DC@=G$% 
 5BHCF! $  DF=@ '63<3C@=07=:=5G=4>32=>67:7//<27BA7;>:71/B7=<A4=@
      /AA3AA;3<BB@3/B;3<B/<2>C0:71>=:71G BJ=H98@97HIF95HH<95BBI5@A99H=B;C:
      H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<5@H=ACF9$ 
 5BHCF! $  DF=@ &3F=443<23@A%3:/B7<5@3A3/@16B=>=:71G BJ=H98FCIB8H56@9
      DF9G9BH5H=CB5HH<95BBI5@A99H=B;C:H<97589AMC:F=A=B5@!IGH=79*7=9B79G5@@5G
      +/ 
 5BHCF! $  $5F7< #32=>67:7//<20@/7<@3A3/@16@=;B630/A71AB=B63AB/B3
      =4B63/@B BJ=H98KCF?G<CDDF9G9BH98HCH<95BBI5@A99H=B;C:H<9CF9BG=7$9BH5@
      95@H<GGC7=5H=CBC:5@=:CFB=5$CBH9F9M 
 5BHCF! $  !5BI5FM #32=>67:7//<2167:2;=:3AB/B7=< BJ=H98@97HIF9DF9G9BH98
      HCH<95B58=5BCF89F*9FJ=79G;9B7M+CFCBHC&BH5F=C5B585 
 5BHCF! $  %CJ9A69F (<23@AB/<27<5>32=>67:7//<2A3FC/:=443<23@A/5/7<AB
      167:2@3<!3C@=7;/57<5/<27BA7;>:71/B7=<A4=@>C0:71A/43BG BJ=H98;I9GH@97HIF9HC
      ,B=J9FG=HMC:%9K$9L=7C*7<CC@C:$98=7=B995@H<*7=9B79G9BH9F@6IEI9FEI9
      %$ 
 5BHCF! $  %CJ9A69F #32=>67:7//<20@/7<@3A3/@16 BJ=H98;I9GH@97HIF9HCH<9
      5BBI5@A99H=B;C:H<9=F7@9GC:*IDDCFH5B877CIBH56=@=HM+CFCBHC&BH5F=C5B585 
 5BHCF! $  !5BI5FM C@@3<B47<27<5A=<>32=>67:7/0@/7<@3A3/@16 BJ=H98
      KCF?G<CD5HH<9*5B=9;C BH9FB5H=CB5@CB:9F9B79CB<=@85B85A=@M$5@HF95HA9BH
      *5B=9;C 
 5BHCF! $  !5BI5FM #32=>67:7//<2B63@7A9B=@3=443<2 BJ=H98@97HIF9HCH<9
      &BH5F=CCIFHC:!IGH=79!I8=7=5@9J9@CDA9BH BGH=HIH9+CFCBHC&BH5F=C5B585 
 5BHCF! $     %CJ9A69F #32=>67:7//<2B630@/7<*6/B7B;3/<A4=@/AA3AA;3<B
      B@3/B;3<B/<2>=:71G'@9B5FM#97HIF9DF9G9BH985HH<9GGC7=5H=CB:CFH<9+F95HA9BHC:
      *9LI5@6IG9FG+CFCBHC&BH5F=C5B585 
 5BHCF! $     !I@M '=E/@2AC<23@AB/<27<51=<B@/271B=@G47<27<5A7<B63
      <3C@=7;/57<5=4>32=>67:71;3<"9MBCH9588F9GGHC5BBI5@7CB:9F9B79CB)9G95F7<
      =BCF9BG=7'GM7<=5HFM)9;9BG69F;9FA5BM 


                                                                                           
                                                                                 Armistead App. 0466



 5BHCF! $     $5F7< (<23@AB/<27<5A3FC/:=443<27<5/<2B630@/7<@/7<0/A71AB=
      B63AB/B3=4B63/@B.CF?G<CDDF9G9BH985HH<9K=BH9F7CB:9F9B79C:H<9&F9;CB
      GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG&F9;CB=HM&) 
 5BHCF! $      &7HC69F  /<CA1@7>B>C0:7A67<54=@ABC23<BA.CF?G<CDDF9G9BH985H
      H<9H<5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG
      '<C9B=L1 
 5BHCF! $      I;IGH AA3FC/:=@73<B/B7=</>/@/>67:7/ BJ=H98@97HIF95HH<9
       BH9FB5H=CB5@9<5J=CF5@9J9@CDA9BH*MADCG=IA#9H<6F=8;9@69FH55B585 
 5BHCF! $     $5F7< (<23@AB/<27<5A3FC/:=443<27<5/<2B630@/7<@=;B63
      0/A71AB=B63AB/B3=4B63/@B.CF?G<CDDF9G9BH985HH<95BBI5@A99H=B;C:H<9
      .5G<=B;HCB*H5H9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG@5=B9. 
 5BHCF! $  !5BI5FM @/7<AB@C1BC@3/<24C<1B7=<=4>32=>67:7/;3<
      %9IFCDGM7<=5HFM)CIB8G+CFCBHC.9GH9FBCGD=H5@+CFCBHC&BH5F=C 
 5BHCF! $  DF=@ A>32=>67:7/1/CA320G0@/7<2GA4C<1B7=< BJ=H98588F9GGHC
      H<9,B=J9FG=HM K=89*7=9B795M#97HIF9*9F=9G*,%0&GK9;C&GK9;C%0 
 5BHCF! $ "565B=% <F=GH9BG9B " 1=DIFG?M)  5F65F99  =7?9M) 
      "@5GG9B'  $=?I@=G ! "I65B$  @5?+ )=7<5F8G  5BF5HHM$ " 
      @5B7<5F8)  *9DH9A69F  %A=4>32=>67:71;3< BJ=H98DF9G9BH5H=CB5HH<9
      5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C 
 5BHCF! $ @5B7<5F8) <F=GH9BG9B "  $5F7< 7<27<5A7</<2
      7;>:71/B7=<A=4<3C@=>AG16=:=5G/<23>723;7=:=5G=4>32=>67:7/ BJ=H98@97HIF95HH<9
      5BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<$=5A= 
 5BHCF! $ <F=GH9BG9B " "@5GG9B'  =7?9M) @5B7<5F8)       !I@M
      !3C@=>AG16=:=571/:4C<1B7=<7<57<>32=>67:3A BJ=H98@97HIF9DF9G9BH985HH<9
      5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<FCACBH5B585 
 5BHCF! $ @5B7<5F8) <F=GH9BG9B "@5GG9B' =7?9M)      96FI5FM
      7@AB5:/<13/B$;3;=@G4C<1B7=<7<5/<26/<232<3AA7<A3F=443<23@A#97HIF9
      DF9G9BH985HH<9CF9BG=7#97HIF9*9F=9G9BHF9:CF88=7H=CB5B8$9BH5@95@H<
      +CFCBHC&BH5F=C5B585 
 5BHCF! $  %CJ9A69F %3D3@A/:=4&&%7<2C132;/:3A3FC/:2GA4C<1B7=<
      &C553AB7=<A4@=;/</<7;/:;=23:F5B8)CIB8GDF9G9BH5H=CB5HH<9@@5B$9ACF=5@
       BGH=HIH9)CM5@-=7HCF=5CGD=H5@$CBHFQ5@5B585 




                                                                                             
                                                                                   Armistead App. 0467



                         

   5BHCF! $   DF=@ ^ a8F5H<9F<5J95HF5BG?=8H<5B58958?=8_F=H=75@5GG9GGA9BH
         C:F9DCFH98F5H9GC:GI=7=85@=HM=BHF5BG?=8G #/>3@>@3A3<B32/BB63/<<C/:;33B7<5=4
         B63&=173BG4=@B63&3F'63@/>G/<2%3A3/@16&B@=B9=B@=9IC:=BD9FGCBA99H=B; 
  *H9D<9BG* #5@IA=RF9$ *9HC$  5BHCF! $  &7HC69F '63@3:/B7=<A67>
         03BE33<A3FC/:@3A>=<A7D3<3AA/<2A3FC/:3F1:CA7D7BG7<>6/::=;3B@71>@=47:3A'5D9F
         DF9G9BH985HH<95BBI5@A99H=B;C:H<95B58=5B*9L)9G95F7<CFIAF989F=7HCB
         %9KFIBGK=7?5B585 
  *H9D<9BG* 5BHCF! $ *9HC$   $5F7< /<B63&&# 23B31B6303>67:71
         A3FC/:7<B3@3AB'5D9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9A9F=75B 'GM7<C@C;M
         #5K*C7=9HMBBI5@$99H=B;*95HH@9. 
  *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $  &7HC69F )71B7;16=713
         >=:G;=@>67A;/<2@31727D7A;*MADCG=IA'F9G9BH5H=CB '5D9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG$CBHFQ5@
         5B585 
  $7'<5=@ - 9FA5BB  9FB5B9* 9FB5B89N0 5BHCF! $ %IB9G" # 
          &7HC69F &3FC/:23D7/<137<A3FC/:=443<23@A/5/7<AB167:2@3<;3B//</:GB71
         @3D73E=4>6/::=;3B@71@3A3/@16'5D9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9
         GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B=9;C 
  *H9D<9BG* *9HC$  5BHCF! $ CC8K=@@ $  &7HC69F A6303>67:71
         A3FC/:7<B3@3AB/1@7;7<=53<71<332:/@53A1/:3@31727D7A;ABC2G'5D9FDF9G9BH98
         5HH<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B
         =9;C 
  *H9D<9BG* *9HC$  5BHCF! $ #5@IA=RF9$  &7HC69F 3D3:=>;3<B
         /<2D/:72/B7=<=4B63%3D7A32&1@33<7<5&1/:34=@#32=>67:71<B3@3ABA&&#L '5D9F
         DF9G9BH985HH<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@
         6IG9FG*5B=9;C 
  5BHCF! $ #5:5=@@9* 5BB5<! "I7M= *C< =F5F8+  $=?I@=G $ 
          *9DH9A69F #32=>67:7//<2B630@/7<*67B3;/BB3@27443@3<13A23B31B32E7B6
         ''5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@GGC7=5H=CB:CFH<9
         +F95HA9BHC:*9LI5@6IG9FG'CFHC'CFHI;5@ 
  *H9D<9BG* *9HC$ 5BHCF! $ CC8K=@@ $ "I65B$  $5F7< '63
         @=:3=46303>67:71A3FC/:7<B3@3ABA7<A3FC/:D71B7;16=713'5D9FDF9G9BH985HH<95BBI5@
         A99H=B;C:H<9A9F=75B'GM7<C@C;M5B8#5K*C7=9HM%9K&F@95BG# 
    $7'<5=@ - 9FB5B9*  9FA5BB  9FB5B89N0 $ %IB9G" # 5BHCF
         ! $  %CJ9A69F &3FC/:23D7/<13/<2A3FC/:@31727D7A;7<A3FC/:=443<23@A
         /5/7<AB167:2@3<;3B//</:GA7A'5D9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9
         GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C # 
    5BHCF! $  *9DH9A69F #32=>67:7//<2B630@/7<C@@3<B %@3A3/@16/<27BA
         7;>:71/B7=<A'5D9FDF9G9BH985HH<9 5BBI5@.CF@8CB;F9GG:CF*9LI5@95@H<
         'CFHC@9;F9F5N=@ 295HIF985ACB;9GH6GHF57HGHCD C: 3
   5BHCF! $ <5=F  $5F7< <<=D/B7=<A7<A3F@3A3/@16*MADCG=IA7CB8I7H985H
         H<95BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<<=75;C 
   5BHCF! $ @5B7<5F8)       I;IGH :$) J9FGIGD<5@@CA9HFM=BH<98=5;BCG=GC:
         D98CD<=@=55B8<969D<=@=5  B! $ 5BHCF<5=F!3C@=7;/57<5=4;3<PA=0831B


                                                                                                
                                                                                     Armistead App. 0468



            >@343@3<13A*MADCG=IADF9G9BH985HH<9H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@
            7589AMC:*9L)9G95F7<#CGB;9@9G,* 
       5BHCF! $ <5=F     I;IGH !3C@=7;/57<5=4;3<PA=0831B>@343@3<13A
            *MADCG=IA7CB8I7H985HH<9H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L
            )9G95F7<#CGB;9@9G 
       5BHCF! $     &7HC69F A9H5 5B5@MG=GC:B9IFC=A5;=B;GHI8=9GC:A5@9G9LI5@
            5FCIG5@  B* *HC@9FV<5=F@/7<>@=13AA7<5=4A3FC/:AB7;C:77<>32=>67:7/<
            />>:71/B7=<=44C<1B7=</:<3C@=7;/57<5*MADCG=IADF9G9BH985HH<95BBI5@
            A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG'<C9B=L1 
       <=J9FG$ # *9HC$  5BHCF!  F=A6CG+ )CM DF=@     
            #AG16=>6GA7=:=571/:/AA3AA;3<B=4A3FC/:/1B7D7BG>@343@3<13A7<E=;3<'5D9F
            DF9G9BH985HH<95BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<
            CGHCB,* 
       5BHCF! $ =F5F8+  #CJ9HH 5FFCB$  %CJ9A69F '630@/7<@357=<AB6/B
            @3A>=<2B=3@=B71/&3FC/:<3C@=A173<134=@2C;;73A'5D9FDF9G9BH985HH<9 GH
            5BBI5@A99H=B;C:H<9*C7=9HM:CFH<9*7=9BH=:=7*HI8MC:*9LI5@=HM*5B!I5B'I9FHC
            )=7C 
       5F65F99 #5B;HCB @5B7<5F8) 5BHCF! $  &7HC69F '63@=:3=4/53
            /B@3:3/A37<B633D/:C/B7=<=4@31727D7A;@7A9=4A3FC/:=443<23@A'5D9FDF9G9BH985H
            H<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B
            =9;C 
       5BHCF! $ "565B=% <F=GH9BG9B " 1=DIFG?M)  5F65F99  =7?9M) 
            "@5GG9B'  $=?I@=G ! "I65B$  @5?+ )=7<5F8G  5BF5HHM$ " 
            @5B7<5F8)  !I@M #32=>67:7//<20@/7<;=@>6=:=5G6GHF57H5B8D5D9F
            DF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
            AGH9F85A%9H<9F@5B8G 
       *9HC$  5BHCF! $ @5B7<5F8)  $5F7< 67:2>=@<=5@/>6G=443<27<57A
            /27/5<=AB717<271/B=@=4>32=>67:7/ '5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
            A9F=75B'GM7<C@C;M #5K*C7=9HMCB:9F9B79*H '9H9FG6IF;@CF=85 
       @5B7<5F8) 5BHCF! $ C;59FH  F998@CJ9* $ @@=G#  I;IGH
            <B3@/1B7=<=44@/B3@</:07@B6=@23@/<26/<232<3AA7<B6323D3:=>;3<B=4;/:3
            6=;=A3FC/:7BG6GHF57H5B8D5D9FDF9G9BH985HH<9 BH9FB5H=CB5@9<5J=CF5@
            9J9@CDA9BH*MADCG=IA$=BCH%CFH<5?CH5 
      5BHCF! $ @5B7<5F8)  !I@M $C/<B7B/B7D3@3/</:GA7A=4/55@35/B32/B/=<
            $7<A3FC/:=443<23@A6GHF57H5B8DCGH9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
              BH9FB5H=CB5@7589AMC:*9L)9G95F7<&HH5K55B585 
      5BHCF! $  I;IGH &3F@3/AA75<;3<B=<23;/<2'631:7<717/<PA27:3;;/'5D9F
            DF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB
            +CFCBHC5B585 
      5BHCF! $  !IB9  3B//</:GA7A=4)$L#$27443@3<13A7<;/:3A3F=443<23@A
            '5D9FDF9G9BH985HH<95FJ9M*H5B79F)9G95F7<5M+CFCBHC&BH5F=C5B585 
      5BHCF! $  I;IGH 3<23@@=:37</CB=5G<3>67:71B@/<AA3FC/:A'63;=@3B67<5A
            16/<53K'5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
            GGC7=5H=CB<=75;C 




                                                                                                  
                                                                                 Armistead App. 0469



  5BHCF! $ <F=GH9BG9B " "@5GG9B'  =7?9M) @5B7<5F8)    !IB9 
         $;3;=@G4C<1B7=<7<5/<26/<232<3AA7<;/:3A3F=443<23@A'5D9FDF9G9BH985HH<9
         5FJ9M*H5B79F)9G95F7<5M+CFCBHC&BH5F=C5B585 
  5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
         ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
         GGC7=5H=CB 
  5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
         'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
  5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
         ABC23<BA '5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
         GGC7=5H=CB 
  5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
         'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
  5BHCF! $  I;IGH &G;>=A7C;$C3AB7=<=47<1:CA7=<3A07/</<25/G
         >AG16=:=57ABA/<2/11@327B/B7=< '5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
         A9F=75B'GM7<C@C;=75@GGC7=5H=CB+CFCBHC 
  5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
         ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
         GGC7=5H=CB 
  5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
         'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
  5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
         ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
         GGC7=5H=CB 
  5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
         'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
  5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
         ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
         GGC7=5H=CB 
  5BHCF! $ '=@?=B;HCB% .  I;IGH =;=>6=07/7<>AG16=:=5G>@=5@/;A
         AC@D3G=45@/2C/B3ABC23<BA'5D9FDF9G9BH985HH<99BH9BB=5@CBJ9BH=CBC:H<9
         A9F=75B'GM7<C@C;=75@GGC7=5H=CB.5G<=B;HCB ) C7IA9BH)9DFC8I7H=CB
         *9FJ=79%C   
  5BHCF! $   I;IGH 37<55/G/<2037<5/5@/2C/B3ABC23<B=C0:3B63
         ;3;03@A67>A4=C@B7;3AB63>@=0:3;A '5D9FDF9G9BH985HH<95BBI5@A99H=B;C:
         H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB*5BF5B7=G7C 




                                                                                              
                                                                                   Armistead App. 0470



                                  

   "@9=B# *H9D<9BG* CC8K=@@ $ 5BHCF! $ *9HC$   &7HC69F '63
         >AG16=:=571/:>@=>3<A7B73A=4@7A97<C<23B31B32A3FC/:=443<23@A'CGH9FDF9G9BH985H
         H<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG
         $CBHFQ5@5B585 
  'I@@A5B#  *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $  &7HC69F 
         *6G/@37<13AB=443<23@A:3AA:793:GB=@31727D/B3'CGH9FDF9G9BH985HH<95BBI5@
         A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG$CBHFQ5@5B585 
  *9HC$  *H9D<9BG* $ 5BHCF! $ #5@IA=9F9$ # *5B8@9F!  F99A5B% 
           I;IGH '6323D3:=>;3<B/<2D/:72/B7=<=4B63%3D7A32&1@33<7<5&1/:34=@
         #32=>67:71<B3@3ABA&&# 'CGH9FDF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9
          BH9FB5H=CB5@7589AMC:*9L)9G95F7< +CFCBHC5B585 
  *C< . 5BHCF! $  I;IGH >3397<A723/4C@@G1=<D3<B7=<'CGH9F
         DF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7< 
         +CFCBHC5B585 
  -5B89F#55B ' #C65I;<% ! <5?F5J5FHM$ $ '5H9@) <5J9N* *HC>5BCJG?=
         * & +5?5;= I;<9G* " .5GG9FA5B# 5=B! 5BHCF! $ 1I7?9F" 
         !  I;IGH '63<3C@=6=@;=</:6G>=B63A7A=453<23@2GA>6=@7/#@3:7;7</@G
         3D723<13=41=@B71/:AC@4/13/@3/27443@3<13A7</2=:3A13<B</B/:43;/:3A'CGH9F
         DF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7< 
         +CFCBHC5B585 
  5BHCF! $ #5:5=@@9* ! $C5M98=$ $=?I@=G $ =F5F8+   !IB9 
         744CA7=<B3<A=@7;/57<5'=4B630@/7<7<>32=6303>67:71;3<#@3:7;7</@G
         /</:GA3A5FJ9M*H5B79F)9G95F7<5M+CFCBHC&BH5F=C5B585 
  %9KA5B!  *H9D<9BG* *9HC$  5BHCF! $  &7HC69F '63D/:727BG=4
         B63&B/B717<A3FC/:=443<23@AE7B6:=E7<B3::31BC/:/07:7B73A'CGH9FDF9G9BH5H=CB5H
         H<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B
         =9;C 
  #M?=BG  .5@HCB$ + 5BHCF! $  !IB9 <=<:7<3/AA3AA;3<B=4
         >3@A=</:7BG>AG16=:=571/:/<2A3FC/:7BGB@/7BD/@7/0:3A/AA=17/B32E7B6A3:4@3>=@B32
         6G>3@A3FC/:036/D7=@'CGH9FDF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9
          BH9FB5H=CB5@7589AMC:*9L)9G95F7<I6FCJB=?FC5H=5 
  *H9D<9BG* *9HC$  5BHCF! $ CC8K=@@ $ "I65B$  %CJ9A69F 
         '63CB7:7BG=4>6/::=;3B@G7<B63/AA3AA;3<B=46303>67:7/'CGH9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C 
    *H9D<9BG* *9HC$  5BHCF! $ CC8K=@@ $ "I65B$  &7HC69F 
         '63@=:3=46303>67:71A3FC/:7<B3@3ABA7<A3FC/:D71B7;16=713'CGH9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C 
    5N=C) # 5BHCF! $  &7HC69F </:GA7A=4B63/H7=/B3@/:7BG<D3<B=@G
         7</>=>C:/B7=<E7B63AB/0:7A632/BG>71/:6/<232<3AA'CGH9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9%5H=CB5@7589AMC:%9IFCDGM7<C@C;M*5B=9;C 
   #5:5=@@9* 5BB5<! *C< "I7M= =F5F8+  $=?I@=G $ 5BHCF! $ 
          I;IGH <D3AB75/B7<5@3AB7<5AB/B3<3BE=@9A7<>32=6303>67:3A'CGH9F
         DF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
         <=75;C 


                                                                                               
                                                                                  Armistead App. 0471



  $7'<5=@ - #M?=BG  )C6=BGCB! ! #9@5B7* 5BHCF! $  I;IGH
        4431BA=4>@3A1@7>B7=<;3271/B7=<=<D=:C;3B@71>6/::=;3B@G=CB>CB'CGH9FDF9G9BH98
        5HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<<=75;C 
  $IFF5M$  MG<B=?I 5N=C) # 5BHCF! $  I;IGH  7<=@>6GA71/:
        /<=;/:73A/A/E7<2=E7<B=B63>@3</B/:=@757<A=4>32=>67:7/'CGH9FDF9G9BH985HH<9
        5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<<=75;C 
  *IHHCB" * *H9D<9BG* MG<B=?I +I@@C7<+ 5BHCF! $  I;IGH #7:=B
        5@=C>B@3/B;3<B4=@M>@=1@/ABC@0/B7=<N'CGH9FDF9G9BH985H5BBI5@A99H=B;C:H<9
         BH9FB5H=CB5@7589AMC:*9L)9G95F7<<=75;C 
  *IHHCB" * 'MHM7?! *HF5HHCB% *M@J5 "C@@5% 5BHCF! $  I;IGH
        :73<B16/@/1B3@7AB71A0GBG>3=46G>3@A3FC/:7BG@343@@/:?C/<B7B/B7D316/@B@3D73E
        'CGH9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L
        )9G95F7<<=75;C 
  5N=C) # 5BHCF! $  !IB9 @3>:71/B7=</<23FB3<A7=<=4B63>AG16=;3B@71
        >@=>3@B73A=4B63757B)757:/<13'3AB'CGH9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
        A9F=75B7589AMC:@=B=75@%9IFCDGM7<C@C;M<=75;C 
  #5:5=@@9* $C5M98=$ $=?I@=G $ =F5F8+  "I65B$ @5?+ 5BHCF!
        $  !I@M 744CA7=<'3<A=@;/57<5'=4B630@/7<7<>32=6303>67:71;3<
        #@3:7;7</@G/</:GA3A'CGH9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@
        7589AMC:*9L)9G95F7<#=G6CB'CFHI;5@
  #M?=BG  5BHCF! $ "I65B$  @5?+ =7?9M) "@5GG9B'  
        @5B7<5F8)       !I@M &3FC/:/@=CA/:B=43;/:3167:2@3<7<5G<3>67:71;3<'CGH9F
        DF9G9BH985HH<9H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
        'F5;I9N97<)9DI6@=7 
 5BHCF! $ =F5F8+  #CJ9HH 5FFCB$ @5?+  !I@M @/7<@357=<A
        @3A>=<27<5B=D7AC/:A3FC/:AB7;C:7 3B//</:GA7A=4#'/<24 %ABC273A6GHF57H
        5B8DCGH9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L
        )9G95F7<#9IJ9B9@;=IA 
 #M?=BG  @5B7<5F8) 5BHCF! $ @5?+ "I65B$   !I@M
        7/5<=A7<5A3FC/:/BB@/1B7=<B=167:2@3<=<A723@/B7=<A4=@& )'CGH9FDF9G9BH98
        5HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<#9IJ9B
        9@;=IA 
 5BHCF! $ @5?+ "I65B$  "@5GG9B'  =7?9M) 5B8@5B7<5F8)  
        &7HC69F #6GA71/:63756B7<>32=>67:7//<26303>67:7/'CGH9FDF9G9BH985HH<9
        5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B=9;C 
 5BHCF! $ @5?+ "I65B$  "@5GG9B'  =7?9M) 5B8@5B7<5F8)  
        I;IGH #6GA71/:63756B7<>32=>67:7//<26303>67:7/6GHF57H5B8DCGH9FDF9G9BH985H
        H<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<-5B7CIJ9F
        5B585 
 'IHG  @5B7<5F8) 5F89B5G) 5BHCF! !CF85B # F998@CJ9* $
         I;IGH /@:73@>C03@BG>@3271BAAC>3@7=@>3@4=@;/<13=<;/:307/A32
        D7AC=A>/B7/:B/A9A7<;3<0CB<=BE=;3<6GHF57H5B8DCGH9FDF9G9BH985HH<9
        5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<-5B7CIJ9F5B585 
 *9HC$  5BHCF! $ @5B7<5F8)  %CJ9A69F #=AA3AA7=<=4167:2
        >=@<=5@/>6G7A/27/5<=AB717<271/B=@=4>32=>67:7/'CGH9FDF9G9BH985HH<95BBI5@
        A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG%9K&F@95BG 



                                                                                             
                                                                                 Armistead App. 0472



  @5B7<5F8) 5BHCF! $ C;59FH  F998@CJ9 * $ @@=G#  !I@M 
         <B3@/1B7=<=44@/B3@</:07@B6=@23@/<26/<232<3AA7<B6323D3:=>;3<B=4;/:3
         6=;=A3FC/:7BG6GHF57H5B8DCGH9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
          BH9FB5H=CB5@7589AMC:*9L)9G95F7<&HH5K55B585 
  5BHCF! $ @5B7<5F8)  !I@M '63@3>=@B32)$L#$27443@3<13A7<;/:3A3F
         =443<23@A/@3/@B74/1BC/:6GHF57H5B8DCGH9FDF9G9BH985HH<95BBI5@A99H=B;C:
         H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<@CCA=B;HCB B8=5B5 
  <F=GH9BG9B " 5BHCF! $ $=@@=?=B @5B7<5F8)  96FI5FM /1B=@
         /</:GA7A=4BE=0@734;3;=@GB3ABA#@3:7;7</@G3D723<134=@;=2/:7BGA>317471
         ;3/AC@3;3<B'CGH9FDF9G9BH985HH<9 H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@
         %9IFCDGM7<C@C;=75@*C7=9HM+CFCBHC&BH5F=C5B585 
  5BHCF! $ @5B7<5F8) '5H9FGCB C;59FH     !IB9 =E;/<G5/G;3<
         =E3B637@A3FC/:=@73<B/B7=<B=4@/B3@</:07@B6=@23@6GHF57H5B8DCGH9FDF9G9BH985H
         H<9 BH9FB5H=CB5@9<5J=CF5@9J9@CDA9BH*MADCG=IA$=BCH%CFH<5?CH5 
  5BHCF! $ =B=?0 ':5IG!   %CJ9A69F :C=F3B7<37<6707B7=<=4;/:3@/B
         A3FC/:036/D7=@%3D3@A/:0G=FGB=17< 'CGH9FDF9G9BH985HH<95BBI5@A99H=B;C:
         H<9*C7=9HM:CF%9IFCG7=9B79G.5G<=B;HCB 
  5BHCF! $ =B=?0 ':5IG!   !IB9 </<7;/:;=23:=44:C=F3B7<37<2C132
         A3FC/:2GA4C<1B7=<=A323>3<23<13/<2B7;31=C@A3 'CGH9FDF9G9BH985HH<9
         5BBI5@CB:9F9B79CB)9DFC8I7H=J99<5J=CF$CBHFQ5@5B585 
  5BHCF! $ &aCBBCF$  "5D@5B 9FA5?# *  !IB9 '@/<A73<B3D3<BA
         B3AB=4@3B@=5@/23;3;=@G#3@4=@;/<13=4/;<3AB71/<2C<7;>/7@32>=>C:/B7=<A 
         'CGH9FDF9G9BH985HH<9B85BBI5@G7=9B79GMADCG=IAC:H<9$5GG57<IG9HHG
         %9IFCDGM7<C@C;=75@*C7=9HM5A6F=8;9$ 




                                                                                            
                                                                              Armistead App. 0473



                                   

',513,0+,()
&3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B                  !5B    \97    


',513,$.1$3'(/%(34+,24
=C@</:=4&3FC/:55@3AA7=<                                       !5B   \97   
=C@</:=4&3F%3A3/@16'63                                       !5B  \I;   
&3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B                  !5B  \97  
@167D3A=4&3FC/:36/D7=@                                        !5B  \'F9G9BH
'63:7<71/:#AG16=:=57AB                                          !5B  \97  


'+1&1630$.(7,(8(3&5,7,5:
;3@71/<=C@</:=4#AG167/B@G                =C@</:=4=<AC:B7<5/<2:7<71/:#AG16=:=5G
<<C/:%3D73E=4&3F%3A3/@16                 =C@</:=4=@3<A71#AG16=:=5G#@/1B713
@167D3A=43<3@/:#AG167/B@G                =C@</:4=@B63&173<B7471&BC2G=4%3:757=<
AA3AA;3<B                                    =C@</:=4&3FC/:55@3AA7=<
7=:=571/:#AG167/B@G                         =C@</:=4&3FC/: 32717<3
 #AG167/B@G                                =C@</:=4#AG167/B@71%3A3/@16
@/7<&B@C1BC@3/<2C<1B7=<                  !/BC@3!3C@=A173<13
@7B7A6=C@</:=4#AG167/B@G                 !3C@=07=:=5G%3D73EA
@7B7A6 3271/:=C@</:                       !3C@=A173<137=036/D7=@/:%3D73EA
/</27/<=C@</:=436/D7=C@/:&173<13       !3C@=A173<133BB3@A
/</27/<=C@</:=4#AG167/B@G                #@=13327<5A=4B63%=G/:&=173BG
3@30@/:=@B3F                                  7=:=571/:&173<13A
:7<71/:/A3&BC273A                         #AG16=:=571/:AA3AA;3<B
=;>@363<A7D3#AG167/B@G                      #AG16=:=571/: 32717<3
3D3:=>;3<B/:#AG16=:=5G                      #AG16=:=571/:&173<13
C@=>3/<#AG16=:=57AB                         #AG16=:=5G=4 3< /A1C:7<7BG
@=<B73@A7<C;/<!3C@=A173<13               &3F%=:3A
C;/<@/7< />>7<5                           &3FC/:/<2 /@7B/:'63@/>G
<B3@</B7=</:=C@</:=4>723;7=:=5G         &3FC/:/<2%3:/B7=<A67>'63@/>G
<B3@</B7=</:=C@</:=4;>=B3<13%3A3/@16   &3FC/:7BGC:BC@3
<B3@</B7=</:=C@</:=4&3FC/:3/:B6        &3FC/:7BG%3A3/@16/<2&=17/:#=:71G
<B3@</B7=</:=C@</:=4'@/<A53<23@7A;       '63:7<71/:#AG16=:=57AB
=C@</:=40<=@;/:#AG16=:=5G                '@/C;/B=:=5G
=C@</:=4:7<71/:#AG16=:=5G                *=@:2=C@</:=47=:=571/:#AG167/B@G




                                                                                          
                                                                                Armistead App. 0474



                                    

   \     $9A69FC@@9;9C:)9J=9K9FG/</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

           CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
              /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

           $9A69F BH9FB5H=CB5@)9J=9KC5F8)9G95F7<7C@@56CF5H=CBGCB69<5J=CIF5@
              8=GCF89FGF9@5H98HCJ=C@9B79B9;@97HA5@HF95HA9BH5B856IG9=B7<=@8<CC85B8
              58C@9G79B79 C<23A;7<7AB3@7C;4I@7:2C<5C<2=@A16C<5- 7<7AB@G=4
              2C1/B7=</<2%3A3/@16.9FA5BM 

           )9J=9K9F %5H=CB5@*7=9B799BH9F2!/@=2=E33<B@C;!/C973'C@5B8 

           CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
              /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

           GG9GGCF'99F)9J=9K9F =G7CJ9FMF5BHG'FC;F5A CAB@/:7/<%3A3/@16
              =C<17:IGHF5@=5 

           )9J=9K9F H316&173<13=C<2/B7=<N97<)9DI6@=7 

           )9J=9K9F^&::H<9695H9BHF57?_;F5BHG7<9A9 )=:9AE/53<=C<2/B7=<
              9FA5BM 

           LH9FB5@)9J=9K9F=G7CJ9FMF5BHGDFC;F5A⎯=C@C;=75@*MGH9AG5B8
              IB7H=CBG !/B7=</:&173<13A/<2<57<33@7<5%3A3/@16=C<17:=4/</2/
              5B585

           CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
              /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

           GG9GGCF'99F)9J=9K9F =G7CJ9FMF5BHG'FC;F5A CAB@/:7/<%3A3/@16
              =C<17:IGHF5@=5 

           LH9FB5@)9J=9K9F=G7CJ9FMF5BHGDFC;F5A⎯=C@C;=75@*MGH9AG5B8
              IB7H=CBG !/B7=</:&173<13A/<2<57<33@7<5%3A3/@16=C<17:=4/</2/
              5B585 

           '5B9@$9A69F95BaGIB8]@=B=75@*7=9B79'5B9@ (<7D3@A7BG=4'=@=<B=
              /1C:BG=4 32717<35B585 

           CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
              /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

           '5B9@$9A69FF5BH$=@@9F5B79F)9G95F7<F5BH'5B9@ (<7D3@A7BG=4'=@=<B=
              /1C:BG=4 32717<35B585 




                                                                                            
                                                                            Armistead App. 0475



      '5B9@$9A69F95BC:$98=7=B9IB8%9K57I@HMF5BH@=B=75@*7=9B79
         '5B9@ (<7D3@A7BG=4'=@=<B=/1C:BG=4 32717<35B585 

      C5F8$9A69F BH9FB5H=CB5@)9J=9KC5F8)9G95F7<7C@@56CF5H=CBGCB
         69<5J=CIF5@8=GCF89FGF9@5H98HCJ=C@9B79B9;@97HA5@HF95HA9BH5B856IG9=B
         7<=@8<CC85B858C@9G79B79FCIB8 C<23A;7<7AB3@7C;4I@7:2C<5C<2
         =@A16C<5- 7<7AB@G=42C1/B7=</<2%3A3/@16.9FA5BM 

      LH9FB5@)9J=9K9F,B=J9FG=HMC:&HH5K5$98=75@)9G95F7<IB8 (<7D3@A7BG=4
         "BB/E/3>/@B;3<B=4#AG167/B@G5B585 

      LH9FB5@)9J=9K9F9<5J=CIF5@*7=9B79G] /</27/<<AB7BCB3A=43/:B6
         %3A3/@165B585 

       C5F8$9A69F BH9FB5H=CB5@)9J=9KC5F8)9G95F7<7C@@56CF5H=CBGCB
         69<5J=CIF5@8=GCF89FGF9@5H98HCJ=C@9B79B9;@97HA5@HF95HA9BH5B856IG9=B
         7<=@8<CC85B858C@9G79B79 C<23A;7<7AB3@7C;4I@7:2C<5C<2=@A16C<5
         - 7<7AB@G=42C1/B7=</<2%3A3/@16.9FA5BM 




                                                                                       
                                                                                 Armistead App. 0476



                                    
!" " ! # $!
 % " "  "  " " " "
F "5H<9F=B9* *IHHCB                                                 *9DH  \97  
F )57<9@5N=C                                                        *9DH  \I;  
F AM#M?=BG                                                          *9DH  \%CJ  


 " ! # $!
"  " " " "
$=7<59@.5@HCBX,B=J9FG=HMC:%9KB;@5B8IGHF5@=5                   *9DH  \I;  
96F5*C<X0CF?,B=J9FG=HM                                             $5M \I; 
*?M9*H9D<9BGX)M9FGCB,B=J9FG=HM                                      DF=@ \!IB9 


 !" !! # $!
"  " " " "
%=7C@9CFA=9FX)M9FGCB,B=J9FG=HM                                        !IB9 \DF9G9BH
96F5*C<X)M9FGCB,B=J9FG=HM                                         $5M \DF=@   


  #"! # $!
"  " " " "
"M@=9)95@9X)M9FGCB,B=J9FG=HM                                                  *DF=B; 
!5FF9HH5BB5<X,B=J9FG=HMC:)C7<9GH9F                                         *IAA9F 
$=7<59@IA9B=I?X,B=J9FG=HMC:+CFCBHC                                         *IAA9F 


# $! "  " !
 " !  "  " " " "
"5H<9F=B9* *IHHCBX(I99BaG,B=J9FG=HM                                                 \ 
5J=8*M@J5X%CFH<K9GH9FB,B=J9FG=HM                                                    \ 
!CF85B)I@@CX,B=J9FG=HMC:,H5<                                                        \  
#95+<5@9FX,B=J9FG=HMC:%9J585#5G-9;5G                                             \  
5FC@=B"@9=BX,B=J9FG=HMC:F=H=G<C@IA6=5                                          \  
C66M) .5@@=B;X,B=J9FG=HMC:$5B=HC65                                               \  




                                                                                            
                                                                                    Armistead App. 0477



                                     

# $! "  !" !$ "
"  " " " "
+M@9F+I@@C7<X)M9FGCB,B=J9FG=HM                                                    \      
%5H5@=9*HF5HHCBX)M9FGCB,B=J9FG=HM                                              *IAA9F    
=CB5MG<B=?IX,B=J9FG=HMC:.=B8GCF                                             *IAA9F    
$57?9BN=997?9FX$7$5GH9F,B=J9FG=HM                                             *IAA9F    
*?M9*H9D<9BGX)M9FGCB,B=J9FG=HM                                                    \      
-=J=5B%M5BH5?M=X5D9@@5,B=J9FG=HM                                                    \     
5=@9M5FHK=7?X,B=J9FG=HMC:I9@D<                                                5@@    
+F=7=5+99:HXIA69FC@@9;9                                                      *IAA9F     
@@=GCB)99J9GX&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC          \       
9@9B5=@9MX)M9FGCB,B=J9FG=HM                                                  *IAA9F    
8B5FM99X&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC              \      
 FMB5 J5BCJ5X&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC           \      
!9BB=:9F)C6=BGCBX&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC       \      
1CT#5?GA5BX8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                                 \      
=5B5$5B89@9KX8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                              \      
*IG5B.BI?X0CF?,B=J9FG=HM                                                          \      
=H9B#58X8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                                   \      
%5H5G<5.=@@=5AGX8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                            \      
#=G5CID9FH<K5=H9X&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC      \      
#CF=F5MBQ9)C6=7<5I8X,B=J9FG=HMC:.=B8GCF                                   *IAA9F    
*5B8F59@:FMX&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC           \      
@H<95$CBH9=FCX0CF?,B=J9FG=HM                                                  *IAA9F    
*5A5BH<5KCFG?MX0CF?,B=J9FG=HM                                                       \    
"9FFMC@@=BGX,B=J9FG=HMC:.=B8GCF                                              *IAA9F     
!9BB=:9FC;5FHMX.5H9F@CC,B=J9FG=HM                                                   \     
A=@MF=DDGX.5H9F@CC,B=J9FG=HM                                                 *IAA9F     
#9997?GH958X,B=J9FG=HMC:,H5<                                                              




                                                                                             
                                                                                      Armistead App. 0478



                                      

 
     \          #C75@CGH *C7=9HM:CF*9L+<9F5DM5B8)9G95F7< 
             $9A69F BH9FB5H=CB5@*7=9BH=:=7CAA=HH99.CF@8GGC7=5H=CB:CF*9LI5@
                      95@H< 
             $9A69F'FC;F5A'@5BB=B;5B8CB:9F9B79CAA=HH99GGC7=5H=CB:CFH<9
                      +F95HA9BHC:*9LI5@6IG9FG
     \          <5=F*HI89BH)9G95F7<K5F8GCAA=HH99*C7=9HM:CF*9L+<9F5DM)9G95F7<
     \          $9A69F'FC;F5A'@5BB=B;5B8CB:9F9B79CAA=HH99GGC7=5H=CB:CFH<9
                      +F95HA9BHC:*9LI5@6IG9FG
        \        <5=F*HI89BH)9G95F7<K5F8GCAA=HH99*C7=9HM:CF*9L+<9F5DM)9G95F7<
        \         *7=9BH=:=7'FC;F5ACAA=HH99 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
     \          $9A69FG<=DCAA=HH99X'=J=G=CB @=B=75@'GM7<C@C;M
     \          <5=FCAA=HH99CB*7=9B79 GGI9G'=J=G=CB
             &6G9FJ9FF5BH)9J=9KCAA=HH99X5B58=5B BGH=HIH9GC:95@H<)9G95F7<
                      9<5J=CIF5@*7=9B79G
        \        )9J=9K9FX'=J=G=CBCBJ9BH=CB'FC;F5ACAA=HH99
               )9J=9K9FX'$5@MCB *A=H<*7<C@5FG<=DCAA=HH99
        \        +5G?CF79CB+F5BG;9B89F GGI9G'=J=G=CB
    \         CBGI@H5BH'C5F8C:=F97HCFG.CF?=B;FCIDCB'GM7<C@C;M$5F?9HD@579
            *HI89BH)9DF9G9BH5H=J9X'C5F8C:'FC:9GG=CB5@::5=FGa BGH=HIH9CB
                      +9@995@H<
    \         CIB89F5B8<5=FX' '*+5G?CF79CB%9K'GM7<C@C;=GHGaCB79FBG
    \         *HI89BH)9DF9G9BH5H=J9X' ''*I6 CAA=HH99:CF5%5H=CB5@*HF5H9;M:CF
                      'F9G7F=DH=CB'F=J=@9;9G
    \         #=5=GCBX'CAA=HH99:CFH<98J5B79A9BHC:'FC:9GG=CB5@'F57H=79
    \         #=5=GCBX'C5F8C:'FC:9GG=CB5@::5=FG
    \         CIB89F5B8<5=FX' '*CAA=HH99CB#CB79FBG





                                                                                                  
                                                                                 Armistead App. 0479



                                

  
   \      $9A69FX/</27/<&3F%3A3/@16=@C;
   \'F9G9BH $9A69FX&=173BG4=@&3F'63@/>G/<2%3A3/@16
   \'F9G9BH $9A69F9@97H98X<B3@</B7=</:1/23;G=4&3F%3A3/@16
   \'F9G9BH )9G95F7<5B8@=B=75@$9A69FXAA=17/B7=<4=@B63'@3/B;3<B=4&3F0CA3@A
   \      GGC7=5H9$9A69F9@97H98X<B3@</B7=</:1/23;G=4&3F%3A3/@16
            CIB8=B;$9A69FX'*97H=CBCB*9LI5@&F=9BH5H=CB5B89B89F 89BH=HM
    \      $9A69FX/</27/<#AG16=:=571/:AA=17/B7=<'
    \      $9A69FX;3@71/<AA=17/B7=<4=@B632D/<13;3<B=4&173<13
    \      $9A69FX;3@71/<#AG16=:=571/:AA=17/B7=<'
                      '=J=G=CB @=B=75@'GM7<C@C;M
                      '=J=G=CB*C7=9HM:CFH<9'GM7<C@C;=75@*HI8MC:# GGI9G
    \      $9A69FX&=173BG4=@B63&173<B7471&BC2G=4&3FC/:7BG
 \        *HI89BH$9A69FX&=173BG4=@B63&173<B7471&BC2G=4&3FC/:7BG
 \        *HI89BH::=@=5H9X;3@71/<#AG16=:=571/:AA=17/B7=<
  \      $9A69FA9F=75B'GM7<C@C;=75@GGC7=5H=CBC:F58I5H9*HI89BHG'*




                                                                                          
                                                                           Armistead App. 0480



                                      

9FH=:=75H9C:)9;=GHF5H=CB%IA69F
C@@9;9C:'GM7<C@C;=GHGC:&BH5F=C&BH5F=C5B585



                                   

     .(&5('(..18441&,$5,10)135+(!3($5/(051) (96$.%64(34

  18$3'$3%$3((8$3')139&(..(0&(,0(4($3&+
9BHF9:CF88=7H=CB5B8$9BH5@95@H<#5K5B8$9BH5@95@H<'FC;F5A

   )#,4,5,0*(..184+,231*3$/$5$44$&+64(554(0(3$.142,5$.
A9F=75B'GM7<C@C;=75@GGC7=5H=CB8J5B798+F5=B=B; BGH=HIH95B8% 

; 1451&513$.(4($3&+(..184+,2
9BHF9:CF88=7H=CB5B8$9BH5@95@H<CIB85H=CB5B8&BH5F=C$=B=GHFMC:95@H<

8$3')13,45,0*6,4+('1053,%65,10%:$ 56'(05
A9F=75B'GM7<C@C;=75@GGC7=5H=CB=J=G=CB

 ,44(35$5,10(4($3&+3$05
*C7=9HM:CFH<9*7=9BH=:=7*HI8MC:*9LI5@=HM

 ; &,.."0,7(34,5:1&513$. &+1.$34+,2

 8$3')136545$0',0*1053,%65,1051"0'(3*3$'6$5(!($&+,0*
^+C:H<9095FK5F8_:FCAH<9$7=@@'GM7<C@C;M,B89F;F58I5H9*HI89BHGGC7=5H=CB




                                                                                         
                                                                                   Armistead App. 0481



                                                 
                             CAD@9H9@=GH5J5=@56@9IDCBF9EI9GH 

($563(.(0*5+1&6/(05$3,(4
-=795B585)9DCFHG 53=4=<A3<B !5B  
5B58=5BFC5875GH=B;CAD5BM #32=>67:3=FGH<5B88C7IA9BH5F=9G        $5F     

22($3$0&(4$0'05(37,(84
  $5F   66=HGCB!C<B  H=G7FI7=5@H<5H'5F@=5A9BH;9HGH<97CBJ9FG=CB H<9F5DM65BF=;<H 
       '63:=03 /7:
!5B  &C?89<I@DJ55F8=;96IIFA5B?5BJ9FN5A9@55FJ5B?=B89FDCFBCN=B 3 =@53<
%CJ  -=@@5;9C:H<985AB98  7<CB3ACAB@/:7/
 %CJ  O"&% [0# %CFG?B9HHCJ9F;F=D9F\!9;<5H9FA9;G9@J%CF8A5BB9B
       @5GH9FB98CJ9F;F9DGA5H9F=5@9:F5B9HH9H\C;CDD:CF8F9FDC@=H=9HH=@P;=5AB9GH=:CFG@=?9
       GCA<5A 
  &7H  *A=H<+ FCK=B;9::CFHG5F9@CC?=B;5H<CK]CF=:]$9+CCC::9B89FG75B69
       F9:CFA98 !/B7=</:#C0:71%/27=
*9D  5F9M 'F9M=B;CB<=@8F9B+<9A9F;=B;'GM7<C@C;MC:'98CD<=@9G !3E
       ,=@9'7;3A
DF  $5H<=9I G569@@9 #5DCIDQ9EI=5HFCI6@Q@9G+9FF9 %9IJ=9BG /'@70C<3
 $5F  'CD9F5B7=GK5BHGDGM7<C@C;=75@H9GH=B;HCDF9J9BHDFC6@9ADF=9GHG IH75B=H
       F95@@M8CH<5H'63*/A67<5B=<#=AB
 97  <=@8G9L8C@@G @@9;5@=B5B5855B88CN9BGG9=N985HH<96CF89F &BH5F=C+C85M
       K=H<)=H59@@= 
 97  9@@=) 5FF=G" CN9BGC:7<=@8G9L8C@@GG9=N986M5B58=5B6CF89F5;9BHG 
       !3EA
DF  )C;9FGFCC? +<9CB@=B9`=B79@a7I@HIF9=GF95@\5B885B;9FCIG !3E,=@9#=AB
DF  05B;! %IA69F7=H98=B7FMDH=75796CC?DCGHA5H7<9G@9?$=B5GG=5BaGA=@=H5FM
        *CIF79 '=@=<B=&B/@
D ,B89FGH5B8=B;`=B79@a ')!3EA
%CJ  5F9M +<9F5DM:CF*9LI5@$=G7CB8I7H HaG$CGH@M,BDFCJ9B !3E,=@9
       '7;3A
 %CJ  +F9ACBH= $ +<9IFF9BH 
%CJ  <F=GH9BG9B! .<MA9BIG9A5GHIF65H=CBHC<5F5GGKCA9B !!
       <HHD KKK 7BB 7CA               <95@H< A5GHIF65H=CB G9LI5@ <5F5GGA9BH =B89L <HA@
%CJ  %5N5FM5B .<M=GH<95@H F=;<HC6G9GG98K=H<D98CD<=@=5!3EAE339
 &7H  &I5H=? QG7CIJF9 'Q8CD<=@=99HG7=9B79 %/27=/</2/
 &7H  &I5H=? '9IH CB;IQF=F@5DQ8CD<=@=9%/27=/</2/
  *9D  IFBG +<9MCIB;D598CD<=@9GK<CG5MH<9M8CBaH56IG97<=@8F9B !3EA
 I;   BH9FJ=9K !/B7=</:#=AB%/27=*=F=IG/$5B585 
 I;  @57?K9@@+CA $5BG5MG<9K5G7IF98C:D98CD<=@=55H&HH5K57@=B=7` HaG@=?95
       K9=;<HH<5HaG699B@=:H98aIHG?9DH=7GKCFFM56CIHH<9=AD57HC:G9B8=B;D98CD<=@9G=BHC
       H<9KCF@87CBJ=B798H<9=F7IFG9<5G699BJ5BEI=G<98 !/B7=</:#=AB
DF  15@?=B8* 'F9DG7<CC@G<=8G9L56IG9>IGH@=?9H<975H<C@=77<IF7< )
DF  *5GHF9' 'Q8CD<=@=9IB9D5B=EI9ACF5@9>5A5=GB56C@=F5IB7F=A9 &:/B3@/<13
 96  '5M9HH9 <=@8G9L8C@@HF=5@CD9BG'5B8CF5aG6CLC:EI9GH=CBG !3EA
%CJ  9HACF?9IJ9HH9H2^+<9IB?BCKB85F?B9GG3_ 32@3:/<2AD3<<3<
 !I@M  '598CD<=@=5*<988=B;@=;<HCBH<985F?:=9@8 '631=<=;7AB


                                                                                                
                                                                                 Armistead App. 0482



 !I@    96IGG7<9F9 %=9H=989F99B8=9?=B89FDCFBC?=>?H=G99BD98C:=9@9AMH<9GFCB8
        D98C:=@=9CBH?F57<H 3 =@53<
 DF  &aCBBCF) +9F9B79$5FH=B+<9+5GA5B=5B$'K<CG9A98=75H=CBHIFB98<=A
        =BHC5D598CD<=@9 '63<23>3<23<B
$5F  =9@G?=1 `+<9ACGHJ=G79F5@@M<5H98;FCIDCB95FH<aC7IA9BH5FM9LD@CF9G<CK
        =BH9FJ9BH=CB75BGHCDD98CD<=@9G '63:=03/<2 /7:
 $5F  @A<=FGH* .<5HG<CI@8K98C56CIHD598CD<=@9G'63C/@27/<
96  +<9A5BK<CG96F5=BHIACIF`HIFB98<=A=BHC5D598CD<=@9a '63<23>3<23<B
%CJ  MFCB+ +<9HFIH<56CIH7<=@8G9L56IG9 'E=
 I;  +<9!5F98C;@975G9.<MK9IB89FGH5B8GC@=HH@956CIH56IG9 */A67<5B=<#=AB
 I;  @57?K9@@+ +F95HG9LC::9B89FG:CF=ADCH9B79]HC?99DH<9ACIHC:HFCI6@9
        5B58=5BDGM7<=5HF=GHG5MG !/B7=</:#=AB
I;  $9B9B89N! %9KGCIF*=@:2&3@D713
 !I@  +<9B5HIF9C:D98CD<=@=5 %/27= 
!I@  +<9G9L C::9B89FH9GHCK57CADIH9F=N985GG9GGA9BH75B<9@D89H9FA=B9H<9:5H9C:
        A9BK<CaJ9699B577IG98C:G9LI5@@M56IG=B;7<=@8F9B '63B:/<B71
   DF  %.+:5=@98HCDF9J9BHG9LC::9B89F:FCA56IG=B;GH9D85I;<H9F5;5=B !3EA
   96  *5J5;9 ^+<99H<=75@G58=GH _ B*5J5;9#CJ9 '63&B@/<53@
 !5B  9;F=DJCCF J5BD98C:=@=92,B89FGH5B8=B;D98CD<=@=53 23)=:9A9@/<B
97  5F9M .<9B5F5D=GHaGK95DCB=G5D=@@ !3E,=@9'7;3A 
 97  *=B;5@! 5BJ=FHI5@F95@=HM<9@DD98CD<=@9G!3E,=@9 /5/H7<3
 %CJ  *5MD98U:=@96IG7C5M8I5 :#/7A
*9D  CFBH<5HK5M23/AE7B6#/C:3<<32G)58=C&B9 
I;   BH9FFC;5H=B;H<9GH5H=GH=7G:CFH<9DF9J5@9B79C:D598CD<=@=5  
!I@  *H9D<9BGCB. +<9DF9J5@9B79C:D598CD<=@=5 *=@:2&3@D713
 !I@  =@896F5B8H -=FHICIG'98CD<=@9G;FCID;=J9GGIDDCFHH<9F5DM75BBCH 
!5B  '598CD<=@=55F9GI@HC::5I@HMK=F=B;G7=9BH=GHGGI;;9GH /7:G /7:
97  "5B9#  GD98CD<=@=55G9LI5@CF=9BH5H=CB'=@=<B=&B/@
 !I@  $=@@9F# +<9HIFB CBGK=H7<9H=G<H<9CFMDCGH F9I8 !3E,=@9 /5/H7<3
 !I@  $CF=B 'Q8CD<=@=9@58=::=7=@9EISH98IB9CF=;=B96=C@C;=EI9 3 =<23
!IB  $5@7C@A# +<9DGM7<C@C;MC:D598CD<=@=5 CAB@/:7/<!/B7=</:%/27=
 $5F  "5M! +<9AC66=B;C:+CA@5B5;5B=GIBK5FF5BH985B87FI9@ !/B7=</:#=AB
96  CM*7CIHG6C5F889@5MGJCH9CB@=:H=B;65BCB;5MG '7;3A
 I;  %%%9KGFCCA=BH9FJ=9KK=H<G<@9=;<5B:=9@8 !!
!IB  %%%9KGFCCA=BH9FJ=9KK=H<CB#9ACB !!




                                                                                            
                                                                             Armistead App. 0483



                              

     FCGG9H5@ J#CI8CIB*7<CC@C5F8               #CI8CIB-
     @@5B$ !CG9D<GCBJ%99@=9B85DI8=              .9GH9FB=GHF=7HC:"9BHI7?M
     )9CAA=HA9BHC:$=7<59@I;<9GFM995F=B;    CC?CIBHM @@=BC=G
     ,*JG'9H9FF=;<H                                *CIH<9FB=GHF=7HC:%9K0CF?
%0
     'FC65H95B85A=@MCIFHIGHC8M95F=B;        CGHCB$5GG57<IG9HHG
     )9CAA=HA9BHC:*H9J9B5GD9FFM995F=B;     "9B85@@CIBHM @@=BC=G
     )9CAA=HA9BHC: B;9FFM995F=B;             'CI;<?99DG=9%0
     )9CAA=HA9BHC:9FB5B8C#=HH@9FM995F=B;   ,H=75%0
     5B585JG!C<B=HND5HF=7?*9BH9B7=B;95F=B;   +CFCBHC&BH5F=C5B585




                                                                                        
                                        Armistead App. 0484




EXPERT REPORT OF JAMES M. CANTOR, PHD



           APPENDIX 2
                                                                                            Armistead App. 0485

JOURNAL OF SEX & MARITAL THERAPY
https://doi.org/10.1080/0092623X.2019.1698481




Transgender and Gender Diverse Children and Adolescents:
Fact-Checking of AAP Policy
James M. Cantor
Toronto Sexuality Centre, Toronto, Canada


    ABSTRACT
    The American Academy of Pediatrics (AAP) recently published a policy
    statement: Ensuring comprehensive care and support for transgender and
    gender-diverse children and adolescents. Although almost all clinics and pro-
    fessional associations in the world use what’s called the watchful waiting
    approach to helping gender diverse (GD) children, the AAP statement
    instead rejected that consensus, endorsing gender affirmation as the only
    acceptable approach. Remarkably, not only did the AAP statement fail to
    include any of the actual outcomes literature on such cases, but it also
    misrepresented the contents of its citations, which repeatedly said the very
    opposite of what AAP attributed to them.



The American Academy of Pediatrics (AAP) recently published a policy statement entitled,
Ensuring comprehensive care and support for transgender and gender-diverse children and adoles-
cents (Rafferty, AAP Committee on Psychosocial Aspects of Child and Family Health, AAP
Committee on Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and
Wellness, 2018). These are children who manifest discontent with the sex they were born as and
desire to live as the other sex (or as some alternative gender role). The policy was quite a remark-
able document: Although almost all clinics and professional associations in the world use what’s
called the watchful waiting approach to helping transgender and gender diverse (GD) children,
the AAP statement rejected that consensus, endorsing only gender affirmation. That is, where the
consensus is to delay any transitions after the onset of puberty, AAP instead rejected waiting
before transition. With AAP taking such a dramatic departure from other professional associa-
tions, I was immediately curious about what evidence led them to that conclusion. As I read the
works on which they based their policy, however, I was pretty surprised—rather alarmed, actually:
These documents simply did not say what AAP claimed they did. In fact, the references that
AAP cited as the basis of their policy instead outright contradicted that policy, repeatedly endors-
ing watchful waiting.
    The AAP statement was also remarkable in what it left out—namely, the actual outcomes
research on GD children. In total, there have been 11 follow-up studies of GD children, of which
AAP cited one (Wallien & Cohen-Kettenis, 2008), doing so without actually mentioning the out-
come data it contained. The literature on outcomes was neither reviewed, summarized, nor sub-
jected to meta-analysis to be considered in the aggregate—It was merely disappeared. (The list of
all existing studies appears in the appendix.) As they make clear, every follow-up study of GD
children, without exception, found the same thing: Over puberty, the majority of GD children
cease to want to transition. AAP is, of course, free to establish whatever policy it likes on


CONTACT James Cantor            jamescantorphd@gmail.com   Toronto Sexuality Centre, 2 Carlton Street, suite 1820, Toronto,
Ontario M5B 1J3, Canada.
ß 2019 Taylor & Francis Group, LLC
                                                                                       Armistead App. 0486
2        J. M. CANTOR


whatever basis it likes. But any assertion that their policy is based on evidence is demonstrably
false, as detailed below.
    AAP divided clinical approaches into three types—conversion therapy, watchful waiting,
and gender affirmation. It rejected the first two and endorsed gender affirmation as the only
acceptable alternative. Most readers will likely be familiar already with attempts to use conver-
sion therapy to change sexual orientation. With regard to gender identity, AAP wrote:
    “[C]onversion” or “reparative” treatment models are used to prevent children and adolescents from
    identifying as transgender or to dissuade them from exhibiting gender-diverse expressions. … Reparative
    approaches have been proven to be not only unsuccessful38 but also deleterious and are considered outside
    the mainstream of traditional medical practice.29,39–42

The citations were:
    38. Haldeman DC. The practice and ethics of sexual orientation conversion therapy. J Consult Clin Psychol.
        1994;62(2):221–227.
    29. Adelson SL; American Academy of Child and Adolescent Psychiatry (AACAP) Committee on Quality
        Issues (CQI). Practice parameter on gay, lesbian, or bisexual sexual orientation, gender nonconformity,
        and gender discordance in children and adolescents. J Am Acad Child Adolesc Psychiatry.
        2012;51(9):957–974.
    39. Byne W. Regulations restrict practice of conversion therapy. LGBT Health. 2016;3(2):97–99.
    40. Cohen-Kettenis PT, Delemarrevan de Waal HA, Gooren LJ. The treatment of adolescent transsexuals:
        changing insights. J Sex Med. 2008;5(8):1892–1897.
    41. Bryant K. Making gender identity disorder of childhood: historical lessons for contemporary debates.
        Sex Res Soc Policy. 2006;3(3):23–39.
    42. World Professional Association for Transgender Health. WPATH De-Psychopathologisation Statement.
        Minneapolis, MN: World Professional Association for Transgender Health; 2010.

    AAP’s claims struck me as odd because there are no studies of conversion therapy for gender
identity. Studies of conversion therapy have been limited to sexual orientation, and, moreover, to
the sexual orientation of adults, not to gender identity and not of children in any case. The article
AAP cited to support their claim (reference number 38) is indeed a classic and well-known
review, but it is a review of sexual orientation research only. Neither gender identity, nor even
children, received a single mention in it. Indeed, the narrower scope of that article should be
clear to anyone reading even just its title: “The practice and ethics of sexual orientation conver-
sion therapy” [italics added].
    AAP continued, saying that conversion approaches for GD children have already been rejected
by medical consensus, citing five sources. This claim struck me as just as odd, however—I
recalled associations banning conversion therapy for sexual orientation, but not for gender iden-
tity, exactly because there is no evidence for generalizing from adult sexual orientation to child-
hood gender identity. So, I started checking AAP’s citations for that, and these sources too
pertained only to sexual orientation, not gender identity (specifics below). What AAP’s sources
did repeatedly emphasize was that:

    A.    Sexual orientation of adults is unaffected by conversion therapy and any other [known]
          intervention;
    B.    Gender dysphoria in childhood before puberty desists in the majority of cases, becoming
          (cis-gendered) homosexuality in adulthood, again regardless of any [known] intervention; and
    C.    Gender dysphoria in childhood persisting after puberty tends to persist entirely.

   That is, in the context of GD children, it simply makes no sense to refer to externally induced
“conversion”: The majority of children “convert” to cisgender or “desist” from transgender
                                                                             Armistead App. 0487
                                                               JOURNAL OF SEX & MARITAL THERAPY     3


regardless of any attempt to change them. “Conversion” only makes sense with regard to adult
sexual orientation because (unlike childhood gender identity), adult homosexuality never or
nearly never spontaneously changes to heterosexuality. Although gender identity and sexual
orientation may often be analogous and discussed together with regard to social or political val-
ues and to civil rights, they are nonetheless distinct—with distinct origins, needs, and responses
to medical and mental health care choices. Although AAP emphasized to the reader that “gender
identity is not synonymous with ‘sexual orientation’” (Rafferty et al., 2018, p. 3), they went ahead
to treat them as such nonetheless.
    To return to checking AAP’s fidelity to its sources: Reference 29 was a practice guideline
from the Committee on Quality Issues of the American Academy of Child and Adolescent
Psychiatry (AACAP). Despite AAP applying this source to gender identity, AACAP was quite
unambiguous regarding their intent to speak to sexual orientation and only to sexual orienta-
tion: “Principle 6. Clinicians should be aware that there is no evidence that sexual orientation
can be altered through therapy, and that attempts to do so may be harmful. There is no estab-
lished evidence that change in a predominant, enduring homosexual pattern of development is
possible. Although sexual fantasies can, to some degree, be suppressed or repressed by those
who are ashamed of or in conflict about them, sexual desire is not a choice. However, behav-
ior, social role, and—to a degree—identity and self-acceptance are. Although operant condi-
tioning modifies sexual fetishes, it does not alter homosexuality. Psychiatric efforts to alter
sexual orientation through ‘reparative therapy’ in adults have found little or no change in sex-
ual orientation, while causing significant risk of harm to self-esteem” (AACAP, 2012, p. 967,
italics added).
    Whereas AAP cites AACAP to support gender affirmation as the only alternative for treat-
ing GD children, AACAP’s actual view was decidedly neutral, noting the lack of evidence:
“Given the lack of empirical evidence from randomized, controlled trials of the efficacy of
treatment aimed at eliminating gender discordance, the potential risks of treatment, and longi-
tudinal evidence that gender discordance persists in only a small minority of untreated cases
arising in childhood, further research is needed on predictors of persistence and desistence of
childhood gender discordance as well as the long-term risks and benefits of intervention before
any treatment to eliminate gender discordance can be endorsed” (AACAP, 2012, p. 969).
Moreover, whereas AAP rejected watchful waiting, what AACAP recommended was: “In gen-
eral, it is desirable to help adolescents who may be experiencing gender distress and dysphoria
to defer sex reassignment until adulthood” (AACAP, 2012, p. 969). So, not only did AAP attri-
bute to AACAP something AACAP never said, but also AAP withheld from readers AACAP’s
actual view.
    Next, in reference 39, Byne (2016) also addressed only sexual orientation, doing so very clearly:
“Reparative therapy is a subset of conversion therapies based on the premise that same-sex attrac-
tion are reparations for childhood trauma. Thus, practitioners of reparative therapy believe that
exploring, isolating, and repairing these childhood emotional wounds will often result in reducing
same-sex attractions” (Byne, 2016, p. 97). Byne does not say this of gender identity, as the AAP
statement misrepresents.
    In AAP reference 40, Cohen-Kettenis et al. (2008) did finally pertain to gender identity; how-
ever, this article never mentions conversion therapy. (!) Rather, in this study, the authors pre-
sented that clinic’s lowering of their minimum age for cross-sex hormone treatment from age 18
to 16, which they did on the basis of a series of studies showing the high rates of success with
this age group. Although it did strike me as odd that AAP picked as support against conversion
therapy an article that did not mention conversion therapy, I could imagine AAP cited the article
as an example of what the “mainstream of traditional medical practice” consists of (the logic
being that conversion therapy falls outside what an ‘ideal’ clinic like this one provides). However,
what this clinic provides is the very watchful waiting approach that AAP rejected. The approach
                                                                                          Armistead App. 0488
4       J. M. CANTOR


espoused by Cohen-Kettenis (and the other clinics mentioned in the source—Gent, Boston, Oslo,
and now formerly, Toronto) is to make puberty-halting interventions available at age 12 because:
“[P]ubertal suppression may give adolescents, together with the attending health professional,
more time to explore their gender identity, without the distress of the developing secondary sex
characteristics. The precision of the diagnosis may thus be improved” (Cohen-Kettenis et al.,
2008, p. 1894).
   Reference 41 presented a very interesting history spanning the 1960s–1990s about how
feminine boys and tomboyish girls came to be recognized as mostly pre-homosexual, and
how that status came to be entered into the DSM at the same time as homosexuality was
being removed from the DSM. Conversion therapy is never mentioned. Indeed, to the extent
that Bryant mentions treatment at all, it is to say that treatment is entirely irrelevant to his
analysis: “An important omission from the DSM is a discussion of the kinds of treatment
that GIDC children should receive. (This omission is a general orientation of the DSM and
not unique to GIDC)” (Bryant, 2006, p. 35). How this article supports AAP’s claim is a mys-
tery. Moreover, how AAP could cite a 2006 history discussing events of the 1990s and earlier
to support a claim about the current consensus in this quickly evolving discussion remains all
the more unfathomable.
   Cited last in this section was a one-paragraph press release from the World Professional
Association for Transgender Health. Written during the early stages of the American Psychiatric
Association’s (APA’s) update of the DSM, the statement asserted simply that “The WPATH
Board of Directors strongly urges the de-psychopathologisation of gender variance worldwide.”
Very reasonable debate can (and should) be had regarding whether gender dysphoria should be
removed from the DSM as homosexuality was, and WPATH was well within its purview to assert
that it should. Now that the DSM revision process is years completed however, history has seen
that APA ultimately retained the diagnostic categories, rejecting WPATH’s urging. This makes
AAP’s logic entirely backwards: That WPATH’s request to depathologize gender dysphoria was
rejected suggests that it is WPATH’s view—and therefore the AAP policy—which fall “outside the
mainstream of traditional medical practice.” (!)
   AAP based this entire line of reasoning on their belief that conversion therapy is being used
“to prevent children and adolescents from identifying as transgender” (Rafferty et al., 2018, p. 4).
That claim is left without citation or support. In contrast, what is said by AAP’s sources is
“delaying affirmation should not be construed as conversion therapy or an attempt to change
gender identity” in the first place (Byne, 2016, p. 2). Nonetheless, AAP seems to be doing exactly
that: simply relabeling any alternative approach as equivalent to conversion therapy.
   Although AAP (and anyone else) may reject (what they label to be) conversion therapy purely
on the basis of political or personal values, there is no evidence to back the AAP’s stated claim
about the existing science on gender identity at all, never mind gender identity of children.
   AAP also dismissed the watchful waiting approach out of hand, not citing any evidence, but
repeatedly calling it “outdated.” The criticisms AAP provided, however, again defied the existing
evidence, with even its own sources repeatedly calling watchful waiting the current standard.
According to AAP:
    [G]ender affirmation is in contrast to the outdated approach in which a child’s gender-diverse assertions are
    held as “possibly true” until an arbitrary age (often after pubertal onset) when they can be considered valid,
    an approach that authors of the literature have termed “watchful waiting.” This outdated approach does not
    serve the child because critical support is withheld. Watchful waiting is based on binary notions of gender
    in which gender diversity and fluidity is pathologized; in watchful waiting, it is also assumed that notions of
    gender identity become fixed at a certain age. The approach is also influenced by a group of early studies
    with validity concerns, methodologic flaws, and limited follow-up on children who identified as TGD and,
    by adolescence, did not seek further treatment (“desisters”).45,47

The citations from AAP’s reference list are:
                                                                                   Armistead App. 0489
                                                                    JOURNAL OF SEX & MARITAL THERAPY          5


   45. Ehrensaft D, Giammattei SV, Storck K, Tishelman AC, Keo-Meier C. Prepubertal social gender
       transitions: what we know; what we can learn—a view from a gender affirmative lens. Int J Transgend.
       2018;19(2):251–268
   47. Olson KR. Prepubescent transgender children: what we do and do not know. J Am Acad Child Adolesc
       Psychiatry. 2016;55(3):155–156.e3

    I was surprised first by the AAP’s claim that watchful waiting’s delay to puberty was somehow
“arbitrary.” The literature, including AAP’s sources, repeatedly indicated the pivotal importance
of puberty, noting that outcomes strongly diverge at that point. According to AAP reference 29,
in “prepubertal boys with gender discordance—including many without any mental health treat-
ment—the cross gender wishes usually fade over time and do not persist into adulthood, with
only 2.2% to 11.9% continuing to experience gender discordance” (Adelson & AACAP, 2012, p.
963, italics added), whereas “when gender variance with the desire to be the other sex is present
in adolescence, this desire usually does persist through adulthood” (Adelson & AACAP, 2012, p.
964, italics added). Similarly, according to AAP reference 40, “Symptoms of GID at prepubertal
ages decrease or even disappear in a considerable percentage of children (estimates range from
80–95%). Therefore, any intervention in childhood would seem premature and inappropriate.
However, GID persisting into early puberty appears to be highly persistent” (Cohen-Kettenis
et al., 2008, p. 1895, italics added). That follow-up studies of prepubertal transition differ from
postpubertal transition is the very meaning of non-arbitrary. AAP gave readers exactly the reverse
of what was contained in its own sources. If AAP were correct in saying that puberty is an arbi-
trarily selected age, then AAP will be able to offer another point to wait for with as much empir-
ical backing as puberty has.
    Next, it was not clear on what basis AAP could say that watchful waiting withholds support—
AAP cited no support for its claim. The people in such programs often receive substantial sup-
port during this period. Also unclear is on what basis AAP could already know exactly which
treatments are “critical” and which are not—Answering that question is the very purpose of this
entire endeavor. Indeed, the logic of AAP’s claim appears entirely circular: It is only if one were
already pre-convinced that gender affirmation is the only acceptable alternative that would make
watchful waiting seem to withhold critical support—What it delays is gender affirmation, the
method one has already decided to be critical.
    Although AAP’s next claim did not have a citation appearing at the end of its sentence, binary
notions of gender were mentioned both in references 45 and 47. Specifically, both pointed out
that existing outcome studies have been about people transitioning from one sex to the other,
rather than from one sex to an in-between status or a combination of masculine/feminine fea-
tures. Neither reference presented this as a reason to reject the results from the existing studies of
complete transition however (which is how AAP cast it). Although it is indeed true that the out-
come data have been about complete transition, some future study showing that partial transition
shows a different outcome would not invalidate what is known about complete transition.
Indeed, data showing that partial transition gives better outcomes than complete transition would,
once again, support the watchful waiting approach which AAP rejected.
    Next was a vague reference alleging concerns and criticisms about early studies. Had AAP
indicated what those alleged concerns and flaws were (or which studies they were), then it would
be possible to evaluate or address them. Nonetheless, the argument is a red herring: Because all
of the later studies showed the same result as did the early studies, any such allegation is neces-
sarily moot.
    Reference 47 was a one-and-a-half page commentary in which the author off-handedly men-
tions criticisms previously made of three of the eleven outcome studies of GD children, but does
not provide any analysis or discussion. The only specific claim was that studies (whether early or
late) had limited follow-up periods—the logic being that had outcome researchers lengthened the
follow-up period, then people who seemed to have desisted might have returned to the clinic as
                                                                                      Armistead App. 0490
6      J. M. CANTOR


cases of “persistence-after-interruption.” Although one could debate the merits of that prediction,
AAP instead simply withheld from the reader the result from the original researchers having
tested that very prediction directly: Steensma and Cohen-Kettenis (2015) conducted another ana-
lysis of their cohort, by then ages 19–28 (mean age 25.9 years), and found that 3.3% (5 people of
the sample of 150) later returned. That is, in long-term follow-up, the childhood sample showed
66.7% desistence instead of 70.0% desistance.
    Reference 45 did not support the claim that watchful-waiting is “outdated” either. Indeed,
that source said the very opposite, explicitly referring to watchful waiting as the current
approach: “Put another way, if clinicians are straying from SOC 7 guidelines for social transi-
tions, not abiding by the watchful waiting model favored by the standards, we will have adoles-
cents who have been consistently living in their affirmed gender since age 3, 4, or 5” (Ehrensaft
et al., 2018, p. 255). Moreover, Ehrensaft et al. said there are cases in which they too would still
use watchful waiting: “When a child’s gender identity is unclear, the watchful waiting approach
can give the child and their family time to develop a clearer understanding and is not necessar-
ily in contrast to the needs of the child” (p. 259). Ehrensaft et al. are indeed critical of the
watchful waiting model (which they feel is applied too conservatively), but they do not come
close to the position the AAP policy espouses. Where Ehrensaft summaries the potential bene-
fits and potential risks both to transitioning and not transitioning, the AAP presents an ironic-
ally binary narrative.
    In its policy statement, AAP told neither the truth nor the whole truth, committing sins both
of commission and of omission, asserting claims easily falsified by anyone caring to do any fact-
checking at all. AAP claimed, “This policy statement is focused specifically on children and youth
that identify as TGD rather than the larger LGBTQ population”; however, much of that evidence
was about sexual orientation, not gender identity. AAP claimed, “Current available research and
expert opinion from clinical and research leaders … will serve as the basis for recommendations”
(pp. 1–2); however, they provided recommendations entirely unsupported and even in direct
opposition to that research and opinion.
    AAP is advocating for something far in excess of mainstream practice and medical consensus.
In the presence of compelling evidence, that is just what is called for. The problems with
Rafferty, however, do not constitute merely a misquote, a misinterpretation of an ambiguous
statement, or a missing reference or two. Rather, AAP’s statement is a systematic exclusion and
misrepresentation of entire literatures. Not only did AAP fail to provide compelling evidence, it
failed to provide the evidence at all. Indeed, AAP’s recommendations are despite the exist-
ing evidence.


Disclosure statement
No potential conflict of interest was reported by the author.


References
Rafferty, J., AAP Committee on Psychosocial Aspects of Child and Family Health, AAP Committee on
   Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and Wellness. (2018). Ensuring
   comprehensive care and support for transgender and gender-diverse children and adolescents. Pediatrics, 142(4),
   e20182162 doi:10.1542/peds.2018-2162
Steensma, T. D., & Cohen-Kettenis, P. T. (2015). More than two developmental pathways in children with gender
   dysphoria? Journal of the American Academy of Child and Adolescent Psychiatry, 52, 147–148. doi:10.1016/j.jaac.
   2014.10.016
Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric children. Journal of
   the American Academy of Child and Adolescent Psychiatry, 47, 1413–1423. doi:10.1097/CHI.0b013e31818956b9
                                                                                                     Armistead App. 0491
                                                                                      JOURNAL OF SEX & MARITAL THERAPY              7


Appendix



Count             Group                                                            Study
   2/16    gay                   Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its outcome.
   4/16    trans-/crossdress        American Journal of Psychiatry, 128, 1283–1289.
  10/16    straight/uncertain
   2/16    trans-                 Zuger, B. (1978). Effeminate behavior present in boys from childhood:
   2/16    uncertain                Ten additional years of follow-up. Comprehensive Psychiatry, 19, 363–369.
  12/16    gay
     0/9   trans-                 Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant
     9/9   gay                      gender identity/role: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.
   2/45    trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
  10/45    uncertain                significance for homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.
  33/45    gay
   1/10    trans-                 Davenport, C. W. (1986). A follow-up study of 10 feminine boys. Archives of
   2/10    gay                      Sexual Behavior, 15, 511–517.
   3/10    uncertain
   4/10    straight
   1/44    trans-                 Green, R. (1987). The "sissy boy syndrome" and the development of homosexuality.
  43/44    cis-                      New Haven, CT: Yale University Press.
     0/8   trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient treatment help?
     8/8   cis-                     Medical Journal of Australia, 146, 565–569.
  21/54    trans-                 Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric
  33/54    cis-                     children. Journal of the American Academy of Child and Adolescent Psychiatry, 47,
                                    1413–1423.
   3/25    trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K. J. (2008). A follow-up study
   6/25    lesbian/bi-              of girls with gender identity disorder. Developmental Psychology, 44, 34–45.
  16/25    straight
 17/139    trans-                 Singh, D. (2012). A follow-up study of boys with gender identity disorder. Unpublished doctoral
122/139    cis-                      dissertation, University of Toronto.
 47/127    trans-                 Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013).
 80/127    cis-                      Factors associated with desistence and persistence of childhood gender dysphoria:
                                     A quantitative follow-up study. Journal of the American Academy of Child and Adolescent
                                     Psychiatry, 52, 582–590.
For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.
                                                 Armistead App. 0492

                                                          3DJH
,17+(81,7('67$7(6',675,&7&2857

)257+(6287+(51',675,&72):(679,5*,1,$

     

%3-E\KHUQH[WIULHQGDQG

PRWKHU+($7+(5-$&.621

3ODLQWLIIV &DVH1R

YV &9

:(679,5*,1,$67$7(%2$5'2)

('8&$7,21+$55,621&2817<%2$5'2)

('8&$7,21:(679,5*,1,$6(&21'$5<

6&+22/$&7,9,7,(6&200,66,21:

&/$<721%85&+LQKLVRIILFLDO

FDSDFLW\DV6WDWH6XSHULQWHQGHQW

DQG'25$6787/(5LQKHURIILFLDO

FDSDFLW\DV+DUULVRQ&RXQW\

6XSHULQWHQGHQW3$75,&.0255,6(<LQ



9,'(27$3(''(326,7,212)

0$5<')5<3+'

0DUFK



$Q\UHSURGXFWLRQRIWKLVWUDQVFULSW

LVSURKLELWHGZLWKRXWDXWKRUL]DWLRQ

E\WKHFHUWLI\LQJDJHQF\
                                                                                                   Armistead App. 0493
                                                  3DJH                                                         3DJH
     KLVRIILFLDOFDSDFLW\DV$WWRUQH\                            $33($5$1&(6
     *HQHUDODQG7+(67$7(2):(67                       
     9,5*,1,$                            .$7+/((15+$571(77(648,5(
     'HIHQGDQWV                            -8/,(9(52))(648,5(
                                    =2(+(/67520(648,5(
                                                                    .$7(/<1.$1*(648,5(
     9,'(27$3(''(326,7,212)                       (/,=$%(7+5(,1+$5'7(648,5(
     0$5<')5<3+'                          9$/(5,$03(/(7'(/7252(648,5(
     0DUFK                            &RROH\//3
                                                                  (PEDUFDGHUR&HQWHU
                                                                  WK)ORRU
                                                                  6DQ)UDQFLVFR&$
                                                                  &2816(/6)253/$,17,))
                                                             
                                                                  6587,6:$0,1$7+$1(648,5(
                                                                  /DPEGD/HJDO
                                                                  :DOO6WUHHW
                                                                  WK)ORRU
                                                                  1HZ<RUN1<
                                                                  &2816(/)253/$,17,))
                                                             
                                                             
                                                             
                                                             


                                                  3DJH                                                         3DJH
    9,'(27$3(''(326,7,21                       $33($5$1&(6 FRQW G
    2)                             
    0$5<')5<3+'WDNHQRQEHKDOIRIWKH,QWHUYHQRU         '$9,'75<21(648,5(
    KHUHLQSXUVXDQWWRWKH5XOHVRI&LYLO3URFHGXUHWDNHQ       6WDWH&DSLWRO&RPSOH[
    EHIRUHPHWKHXQGHUVLJQHG1LFROH0RQWDJDQRD&RXUW         %XLOGLQJ5RRP(
    5HSRUWHUDQG1RWDU\3XEOLFLQDQGIRUWKH&RPPRQZHDOWK        &KDUOHVWRQ:9
    RI3HQQV\OYDQLDWDNHQYLDYLGHRFRQIHUHQFHRQ7XHVGD\       &2816(/)2567$7(2):(679,5*,1,$
    0DUFKDWDP                              
                                                                  52%(57$)*5((1(648,5(
                                                                6KXPDQ0F&XVNH\6OLFHU3//&
                                                                9LUJLQLD6WUHHW(DVW
                                                                6XLWH
                                                                &KDUOHVWRQ:9
                                                                &2816(/)25:(679,5*,1,$6(&21'$5<6&+22/
                                                                $&7,9,7,(6&200,66,21
                                                             
                                                                -())5(<0&5233(648,5(
                                                                6WHSWRH -RKQVRQ
                                                                :KLWH2DNV%RXOHYDUG
                                                                %ULGJHSRUW:9
                                                                &2816(/)25+$55,621&2817<%2$5'2)('8&$7,21DQG
                                                                +$55,621&2817<683(5,17(1'(17'25$6787/(5
                                                             
                                                             



                                                                                                 3DJHVWR
                                                                                                          Armistead App. 0494
                                                    3DJH                                                          3DJH
    $33($5$1&(6 FRQW G                     (;+,%,73$*(
                                                                
    .(//<&025*$1(648,5(                                       3$*(
    %DLOH\:\DQW                                                   180%(5,'(17,),&$7,21,'(17,),('
    9LUJLQLD6WUHHW(DVW                                       'HFODUDWLRQ
    6XLWH                                                      ([SHUW5HSRUWRI'U)U\
    &KDUOHVWRQ:9                                          +%
    &2816(/)25:(679,5*,1,$%2$5'2)('8&$7,21DQG           $UWLFOHE\'U)U\
    683(5,17(1'$17:&/$<721%85&+                            $UWLFOH
                                                                 )DLUQHVVDQG(QMR\PHQWLQ6FKRRO
   -2+1$7+$16&58**6(648,5(                                    6SRQVRUHG<RXWK6SRUWV
   5$&+(/&6872526(648,5(                                      $UWLFOH
   $OOLDQFH'HIHQGLQJ)UHHGRP                                    $UWLFOH
   1RUWKWK6WUHHW                                       $UWLFOHRQ/LD7KRPDV
   6FRWWVGDOH$=                                         $UWLFOHRQ5HND*\RUJ\
   &2816(/)25,17(59(125/$,1(<$50,67($'               
                                                              
                                                              
                                                              
                                                              
                                                              
                                                              
                                                              
                                                              


                                                    3DJH                                                          3DJH
     ,1'(;                             2%-(&7,213$*(
                                                                
     ',6&866,21$021*3$57,(6       $77251(<3$*(
     :,71(660$5<')5<3+'                                   9HURII
     (;$0,1$7,21                                                   
     %\$WWRUQH\7U\RQ       
     (;$0,1$7,21                                                   
     %\$WWRUQH\6FUXJJV       
     ',6&866,21$021*3$57,(6       
    &(57,),&$7(      
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                              
                                                              
                                                              
                                                              
                                                              
                                                              
                                                              
                                                              


                                                                                                    3DJHVWR
                                                                                                              Armistead App. 0495
                                                                3DJH                                                     3DJH
    67,38/$7,21                                  UHSUHVHQWLQJ3ODLQWLII
                     $77251(<.$1*+L7KLVLV.DWHO\Q
     ,WLVKHUHE\VWLSXODWHGDQGDJUHHGE\DQGEHWZHHQ                       .DQJUHSUHVHQWLQJ3ODLQWLIIV
    FRXQVHOIRUWKHUHVSHFWLYHSDUWLHVWKDWUHDGLQJ                         $77251(<5(,1+$5'77KLVLV(OL]DEHWK
    VLJQLQJVHDOLQJFHUWLILFDWLRQDQGILOLQJDUHQRWQRW                   5HLQKDUGWZLWK&RROH\DOVRIRU3ODLQWLIIV
    ZDLYHG                                                                  $77251(<+(/67520=RH+HOVWURPZLWK
                     &RROH\DOVRIRU3ODLQWLIIV
    352&((',1*6                                  $77251(<6:$0,1$7+$17KLVLV6UXWL
                     6ZDPLQDWKDQIURP/DPEGD/HJDODOVRIRU3ODLQWLII
                                             $77251(<6&58**6-RKQDWKDQ6FUXJJVZLWK
   0$5<')5<3+'                                  $OOLDQFHIRU)UHHGRPIRUWKHLQWHUYHQLQJ'HIHQGDQWV
   &$//('$6$:,71(66,17+()2//2:,1*352&((',1*$1'                    $QGDOVRZLWKPHRQWKH=RRPLV5DFKHO&VXWRURVDOVR
   +$9,1*),567%((1'8/<6:2517(67,),('$1'6$,'$6                     IRUWKHLQWHUYHQLQJ'HIHQGDQW
   )2//2:6                                                                $77251(<&52337KLVLV-HIIHU\&URSS
                                              IURP6WHSWRH -RKQVRQUHSUHVHQWLQJWKH'HIHQGDQWV
   06%85.'2//0\QDPHLV'DQD%XUNGROO                 +DUULVRQ&RXQW\%RDUGRI(GXFDWLRQDQG6XSHULQWHQGHQW
   &651RWDU\IRUWKH6WDWHRI.DQVDV                                    'RUD6WXWOHU
   $77251(<75<21:HPLJKWZDQWWRJRRII                 $77251(<*5((17KLVLV5REHUWD*UHHQ
   WKHUHFRUG                                                             KHUHRQEHKDOIRI:HVW9LUJLQLD6HFRQGDU\6FKRRO
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG                     $FWLYLWLHV&RPPLVVLRQ
   &XUUHQWWLPHUHDGVDP                                           9,'(2*5$3+(5$QGLIWKDWLVHYHU\RQHZH
   2))9,'(27$3(                                                           FDQEHJLQ
                                             $77251(<75<21,V.HOO\RQWKHOLQH"
    :+(5(8321$12))5(&25'',6&866,21:$6+(/'                          'LG,PLVVWKDW"


                                                                3DJH                                                     3DJH
                                               $77251(<*5((1$FWXDOO\,MXVWJRWD
      219,'(27$3(                                                           WH[WIURP.HOO\WKDWVKHFDQ WORFDWHWKHOLQN
      9,'(2*5$3+(5:HDUHQRZEDFNRQWKH                   $77251(<9(52))/HW VJRRIIWKHUHFRUG
      UHFRUGP\QDPHLV-DFRE6WRFN, PD&HUWLILHG/HJDO                  ZKLOHZHUHDFKRXWWRKHU
      9LGHR6SHFLDOLVWHPSOR\HGE\6DUJHQW V&RXUW5HSRUWLQJ                 9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
      6HUYLFHV7KHGDWHWRGD\LV0DUFKWK7KH                    WLPHUHDGVDP
      FXUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH                  2))9,'(27$3(
      7KLVGHSRVLWLRQLVEHLQJWDNHQUHPRWHO\E\D=RRP                      
      FRQIHUHQFH7KHFDSWLRQRIWKLVFDVHLVLQWKH8QLWHG                  :+(5(8321$6+257%5($.:$67$.(1
     6WDWHV'LVWULFW&RXUWIRUWKH6RXWKHUQ'LVWULFWRI:HVW               
     9LUJLQLD&KDUOHVWRQ'LYLVLRQ%3-HWDOYHUVXVWKH                219,'(27$3(
     :HVW9LUJLQLD%RDUGRI(GXFDWLRQHWDO&LYLO$FWLRQ                9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     1XPEHU&97KHQDPHRIWKHZLWQHVVLV0DU\                7KHFXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH
     )U\ZKRKDVDOUHDG\EHHQVZRUQLQ:LOOWKHDWWRUQH\V               $77251(<025*$17KLVLV.HOO\0RUJDQRQ
     SUHVHQWVWDWHWKHLUQDPHVDQGWKHSDUWLHVWKH\                        EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
     UHSUHVHQW"                                                            6XSHULQWHQGDQW%XUFK
     $77251(<75<217KLVLV'DYLG7U\RQ                   $77251(<75<212ND\
     UHSUHVHQWLQJWKH6WDWHRI:HVW9LUJLQLDDQG, PZLWKWKH              7KHQ,WKLQNZHZLOOPRYHIRUZDUGQRZ
     $WWRUQH\*HQHUDO V2IILFH                                            6RSULRUWRJRLQJRQWKHUHFRUGZHZRXOGOLPLW
     $77251(<9(52))-XOLH9HURIIZLWK                    REMHFWLRQVWRREMHFWLRQWRSULYLOHJHREMHFWLRQVWR
     &RROH\//3,UHSUHVHQWWKH3ODLQWLII$QG, OOOHW                VFRSHDQGREMHFWLRQVWRIRUPZKLFKZRXOGLQFOXGHDOO
     P\FRFRXQVHOLQWURGXFHWKHPVHOYHV                                   RWKHUREMHFWLRQVDQGWKDWLVZKHQZHVD\REMHFWLRQ
     $77251(<+$571(77+L7KLVLV.DWKOHHQ              ZH OOSUHVHUYHWKRVHREMHFWLRQV,VWKDWDFFHSWDEOHWR
     +DUWQHWWIURP&RROH\, PLQWKHURRPZLWK-XOLH                    \RX-XOLH"


                                                                                                     3DJHVWR
                                                                                                    Armistead App. 0496
                                                  3DJH                                                          3DJH
    $77251(<9(52))<HVWKDQN\RXVRPXFK       $6RXQGVJRRG
    $77251(<75<21'RHVDQ\ERG\HOVHKDYH         4$QGLI\RXDQVZHU, OOKDYHWRDVVXPHWKDW\RX
    DQ\REMHFWLRQWRGRLQJLWWKDWZD\"2ND\7KHQOHW V         XQGHUVWRRGWKHTXHVWLRQ'R\RXXQGHUVWDQGWKDW"
    PRYHIRUZDUG                                                  $<HV
                                     4$QGDVZHVWDWHGRIIWKHUHFRUGLI\RXQHHGD
    (;$0,1$7,21                             EUHDNDWDQ\WLPHOHWXVNQRZ:HZLOOEUHDNIRU\RX
                                     DQGWKHRQO\FDYHDWRQWKDWLVRQFH,DVNDTXHVWLRQ\RX
    %<$77251(<75<21                                             KDYHWRZDLWXQWLO\RXILQLVK\RXUDQVZHUEHIRUHZHFDQ
    4+HOOR3URIHVVRU)U\+RZDUH\RX"                   WDNHDEUHDN
   $'RLQJZHOO7KDQN\RX                              $OOULJKW"
   4'R\RXSUHIHUFDOOLQJ\RX3URIHVVRU*UHHQ        $2ND\7KDQN\RX
   H[FXVHPH3URIHVVRU)U\"'RHVWKDWZRUN"                     4'R\RXKDYHDQ\TXHVWLRQVDERXWWKLVSURFHHGLQJ
   $6XUH                                                EHIRUHZHJHWVWDUWHG"
   42ND\                                                $1R
   &DQ\RXVWDWH\RXUIXOOQDPHIRUWKHUHFRUG          42ND\
   SOHDVH"                                                       :HOOMXVWIRUWKHUHFRUGWKLVGHSRVLWLRQLV
   $0DU\'LDQH)U\                                      EHLQJFRQGXFWHGDVRQ&URVV([DPLQDWLRQ$QG3URIHVVRU
   4$UH\RXUHSUHVHQWHGE\FRXQVHOWKLVPRUQLQJ"         )U\GLG\RXEULQJDQ\GRFXPHQWVWRWKHGHSRVLWLRQ
   $<HV                                                 WRGD\"
   4$QGZKRLV\RXUSULPDULO\UHSUHVHQWLQJ\RX       $<HV
   WRGD\"                                                        4:KDWGLG\RXEULQJ"
   $-XOLH-XOLH9HURII                                 $,KDYHEHIRUHPHP\'HFODUDWLRQWKH+RXVH%LOO
   4*UHDW$QGKDYH\RXEHHQGHSRVHGEHIRUH"            P\H[SHUWUHSRUWDQGP\9LWDH
   $,KDYHQRW                                          4$QGZKHQ\RXWDONPHQWLRQ\RXU'HFODUDWLRQ


                                                  3DJH                                                          3DJH
    4+DYH\RXWHVWLILHGLQFRXUWEHIRUH"                   LVWKLVWKHILUVWRQHWKDWZDVILOHGLQWKHFDVH",V
    $2QHWLPH                                             WKDWZKDW\RXPHDQ"
    47HOOPHDERXWWKDW                                   $<HV
    $<HDUVDJRP\KXVEDQGDQG,UHWXUQHGIURPRXU          4,VWKHUHDQ\RQHHOVHLQWKHURRPZLWK\RXDW
    KRQH\PRRQDQGZHIRXQGRXWZHKDGEHHQUREEHG$QGD          WKLVSRLQW"
    QHLJKERUKDGVHHQWKUHHJX\VFUDZOLQJRXWRIRXUEHGURRP       $1R
    ZLQGRZDQGVR,DSSHDUHGLQFRXUWWRVKDUHZKDWZDV           4:KDWGRFXPHQWVGLG\RXUHYLHZLQSUHSDUDWLRQIRU
    PLVVLQJZKHQZHUHWXUQHG                                      \RXUGHSRVLWLRQWRGD\"
    4:HOO, PVRUU\7KDWGRHVQ WVRXQGOLNHD           $,UHYLHZHGP\VWDWHPHQWDQGP\9LWDHDQGVRPHRI
   JUHDWZD\WRHQGDKRQH\PRRQ6RDQ\RWKHUWLPHV\RX         WKH&RXUWGRFXPHQWVWKH&RPSODLQWDQGDFXUVRU\UHYLHZ
   WHVWLILHGDWWULDO"                                           RIVRPHRIWKHRWKHUVWDWHPHQWV,UHYLHZHGWKH
   $1R                                                  3ODLQWLII VVWDWHPHQWDQGKHUPRWKHU VVWDWHPHQW
   4$QGZKHQZH UHVSHDNLQJ\RXNQRZVLQFHZH UH       4$Q\RWKHU&RXUWGRFXPHQWVEHVLGHVWKH&RPSODLQW
   LQDGHSRVLWLRQWKLVLVDFRPPXQLFDWLRQSULYLOHJH            DQGWKHVWDWHPHQWZLWKWKH3ODLQWLIIDQGWKHPRWKHU"
   XQOLNHDQ\RWKHUEXWRQHRIWKHWKLQJVWKDWZHQHHGWR       $$FXUVRU\UHYLHZRIRWKHUH[SHUWZLWQHVVHVDQG
   PDNHWRPDNHLWHDVLHUIRUWKHFRXUWUHSRUWHUWR              \HDKDQ\RIWKHFDVHGRFXPHQWVDFXUVRU\UHYLHZ
   XQGHUVWDQGZKDWZH UHGRLQJ6RZKHQ,DVN\RXD             4:KLFKH[SHUWUHSRUWVGLG\RXORRNDW"
   TXHVWLRQSOHDVHPDNHVXUH\RXDQVZHUYHUEDOO\DVRSSRVHG      $,FRXOGQ WFDOOWKHPDOOE\QDPHEXWWKHH[SHUW
   WRMXVWQRGGLQJ\RXUKHDG                                    ZLWQHVVHVWKDWDUHPHGLFDOH[SHUWV
   2ND\"                                                47KH3ODLQWLII VH[SHUWVRU'HIHQGDQWV RUERWK"
   $2ND\                                                $%RWK
   4,I\RXGRQ WXQGHUVWDQGDTXHVWLRQWKDW,DVN        46RWKHUHLVDWRWDORIQRZLQFOXGLQJ\RXUV
   \RXWHOOPHDQG, OOWU\DQGUHSKUDVH                       HLJKWH[SHUWUHSRUWV+DYH\RXVHHQDOORIWKRVH"
   $OOULJKW"                                           $<RXNQRZ, PQRWSRVLWLYH7KHUHZDVDUHSRUW


                                                                                            3DJHVWR
                                                                                                     Armistead App. 0497
                                                   3DJH                                                         3DJH
    IURPWZRRQHDFKVLGHDQGWKHQDUHVSRQVHDQGVR,         ILOHGWKHODZVXLW"
    DQGDJDLQ,GLGQ WUHDGWKHVHLQGHWDLOEXW,GLGKDYH         $<RXNQRZLW VKDUGWRUHFDOO7KHUH VTXLWHD
    DORRNDWWKHP                                                 ELWRIZDWHUXQGHUWKHEULGJH,NQRZQRZWKDWVKH
    42ND\                                                  ZDQWHGWRGRFKHHUOHDGLQJDQGUXQWUDFNDQG, PQRW
    :DVWKHUHDQ\WKLQJLQSDUWLFXODUWKDW\RXZHUH         VXUH,FRXOGWHOO\RXWKHH[DFWGDWH,NQHZHLWKHURQH
    ORRNLQJIRUZKHQ\RXORRNHGWKURXJKWKRVHH[SHUW                RIWKRVH
    UHSRUWV"                                                        42ND\
    $1RMXVWWU\LQJWRJHWDVHQVHRIWKHFDVH,         /HWPHUHSKUDVHP\TXHVWLRQEHFDXVH, PQRW
    NHSWDIRFXVRQP\SXUSRVHKHUHWRGD\                          DVNLQJZKDWWKHGDWHZDV, PDVNLQJLI\RXQRZNQRZ
   4$QGVRDUH\RXDZDUHRIWKLVFDVH"'R\RXNQRZ       ZKDWDWWKLVWLPHZKDWVSRUW%3-SDUWLFLSDWHGLQ"
   ZKR%3-LV"                                                    $<HV
   $<HV                                                  4$QGZKLFKRQH"
   4$QGZKRLV%3-"                                       $6KHSDUWLFLSDWHGLQFKHHUOHDGLQJDQGQRZWUDFN
   $6KHLVD\RXQJDWKOHWHLQ:HVW9LUJLQLDZKRLVD      4$QGVRLWZDVFURVVFRXQWU\LVWKDWWKHVDPH
   WUDQVDWKOHWHDQGZDQWHGWRSOD\VSRUWVLQKHUVFKRRO          WKLQJDVWUDFN"
   4$QG\RXXQGHUVWDQG%3-LVWKH3ODLQWLII              $6RUU\FURVVFRXQWU\,W VDGLIIHUHQWVHDVRQ
   ,VWKDWULJKW"                                        FURVVFRXQWU\
   $<HV                                                  4,VWKDWSDUWRIWUDFNDQGILHOGRULVLW
   4'R\RXNQRZZKR+HDWKHU-DFNVRQLV"                   GLIIHUHQW"
   $+HUPRWKHU                                           $,W VDGLIIHUHQWVHDVRQ\HDK,PHDQ
   4+DYH\RXHYHUVSRNHQWRHLWKHURQHRIWKHP"           XVXDOO\LW VJURXSHGWRJHWKHUWUDFNDQGFURVVFRXQWU\
   $,KDYHQRW                                           EXW,VKRXOGKDYHVDLGFURVVFRXQWU\7KDWLVZKDW,
   46R,SUHVXPHE\WKHVDPHUDWLRQDOH\RXKDYHQRW       PHDQW
   PHWHLWKHURQHRIWKHPHLWKHU                                 42ND\


                                                   3DJH                                                         3DJH
    &RUUHFW"                                               $WWKHWLPHWKDW\RXZHUHUHWDLQHGKDG\RX
    $,KDYHQRW                                            DOUHDG\SUHSDUHGDQ\UHSRUWVLPLODUWRZKDWZDV
    4:KHQGLG\RXILUVWKHDUDERXW%3-"                     XOWLPDWHO\ILOHGLQWKLVFDVHRQ\RXUEHKDOI"
    $$ERXWD\HDUDJR,ZDVFRQWDFWHGE\3ODLQWLII V        $<HV
    &RXQVHOLQODWH$SULO                                          46RWHOOPHDERXWWKDW
    4$QGRIFRXUVHGRQ WWHOOPHDQ\WKLQJWKDW\RXU        $2ND\
    FRXQVHODQ\GLVFXVVLRQV\RXKDGDIWHU\RXZHUH              46ROHWPHPDNHVXUHZHDUHFRPPXQLFDWLQJ6R
    UHWDLQHGE\FRXQVHOEXWSULRUWREHLQJUHWDLQHGE\             EHIRUH\RXZHUHFRQWDFWHGE\FRXQVHOIRU%3-KDG\RX
    FRXQVHOZHOOOHWPHEDFNXS                               DOUHDG\SUHSDUHGVRPHWKLQJWKDWZKDWZDVILOHGDV\RXU
   $WRQHSRLQW\RXZHUHUHWDLQHGE\FRXQVHOWREH       'HFODUDWLRQ"
   DQH[SHUWLQWKLVFDVH                                        $<HV
   5LJKW"                                                42ND\
   $5LJKW                                                7HOOPHDERXWWKDW
   4:KHQZDVWKDW"                                        $2ND\
   $/DWH$SULOHDUO\0D\,EHOLHYH                     ,QWKHVSULQJRI,ZDVFRQWDFWHGWRVHHLI
   4$QGZKDWZHUH\RXILUVWWROGDERXWWKHFDVH           ,ZRXOGEHZLOOLQJWREHDQH[SHUWZLWQHVVILUVWLQWKH
   EHIRUH\RXZHUHUHWDLQHG"                                      &RQQHFWLFXWFDVHWUDQVDWKOHWHFDVHDQGWKHQLQ,GDKR
   $7KDWWKLVFDVHLQYROYHGD\RXQJDWKOHWHZKRZDV       $QGWKRVHVRUWRIRYHUODSSHGLQWKHVSULQJRID
   KHDGHGWR0LGGOH6FKRRODQGUHDOO\ZDQWHGWREHDEOHWR        OLWWOHELWEXW, YHEHHQLQYROYHGLQSURYLGLQJH[SHUW
   SOD\VSRUWV                                                   UHSRUWVIRUERWKRIWKRVH
   4:HUH\RXWROGZKLFKVSRUW"                            42ND\
   $,WKLQNVRDWWKHWLPH                               6R\RXGLGVHUYHDVDQH[SHUWZLWQHVVLQWKH
   46RDWWKLVSRLQWLQWLPHGR\RXNQRZZKLFK            &RQQHFWLFXWFDVH
   VSRUWV%3-ZDQWHGWRSDUWLFLSDWHLQDWWKHWLPHWKDW%3-       ,VWKDWULJKW"


                                                                                            3DJHVWR
                                                                                                         Armistead App. 0498
                                                  3DJH                                                                 3DJH
    $<HV                                                  $<HV
    4:DVVRPHWKLQJWKDW\RXSUHSDUHGILOHGLQWKH          $77251(<75<21$QG-DNHGR\RXKDYH
    &RQQHFWLFXWFDVH"                                              WKDWPDUNHGDV([KLELW"$UH\RXDEOHWRGRWKDW"
    $<HV                                                  9,'(2*5$3+(5,GRQ WKDYHLWPDUNHG
    46DPHWKLQJLQWKH,GDKRFDVH"                         ZLWKDVWLFNHUDWWKHPRPHQWEXW,FDQPDUNWKHPLI\RX
    $<HV                                                  ZDQWPHWR
    4+DYH\RXVHUYHGDVDQH[SHUWZLWQHVVLQDQ\           $77251(<75<21<HV7KDWZRXOGEH
    RWKHUFDVHVEHVLGHVWKRVHWZR"                                 JUHDW
    $, PVHUYLQJDVDQH[SHUWZLWQHVVLQWKH)ORULGD       9,'(2*5$3+(52ND\
   FDVHDVZHOO                                                 $77251(<75<21$QGZKDW,ZRXOGOLNHWR
   4%XW\RXWRGDWHKDYHQRWWHVWLILHGLQDQ\RI       GRWKHH[SHUWUHSRUWZKLFKLVWKHRQHWKDW\RX
   WKRVHFDVHV                                                  SUHYLRXVO\EURXJKWXS-DNHWKDWZRXOGEH([KLELW
   5LJKW"                                               6RLI\RXFRXOGEULQJWKDWXSDQGPDNHVXUHZHDOO
   $7KDW VFRUUHFW                                      XQGHUVWDQGZKDW([KLELWLV
   4$QG\RXKDYHQ WEHHQGHSRVHGLQWKRVHFDVHV          
   HLWKHU,WDNHLW                                              :KHUHXSRQ([KLELW([SHUW5HSRUWRI
   5LJKW"                                               'U)U\ZDVPDUNHGIRULGHQWLILFDWLRQ
   $7KDW VULJKW,KDYHQRW                           
   4+DYH\RXDFWXDOO\SUHSDUHGDQH[SHUWUHSRUWIRU      $77251(<75<21:LOO\RXEHDEOHWRPDUN
   )ORULGDDWWKLVSRLQW"                                        WKHVHZKLOHZHDUHLQWKLVSURFHHGLQJ-DNH
   $<HV                                                 9,'(2*5$3+(5,KDYHLWRQP\FRPSXWHU
   4+DVWKDWEHHQVXEPLWWHGWRFRXUW\HW"                EXW, PQRWRQP\FRPSXWHUDWWKHPRPHQW,GRQ WWKLQN
   $,EHOLHYHVR                                        ,FDQXQOHVVZHFRXOGJRRIIUHFRUGIRUPHWRGRVR
   $77251(<75<21$WWKLVSRLQW\RXU            $77251(<75<21:HZLOONHHSRQJRLQJ


                                                  3DJH                                                                 3DJH
    LQLWLDOUHSRUWWKDWZDVILOHGZLWKWKHFRXUWWKH              DQGDVNLI\RXUHFRJQL]HZKDWWKH\DUHDQGWKHQPD\EH
    LQLWLDO'HFODUDWLRQ/HW VPDUNWKDWDV([KLELWDQG,       GXULQJDEUHDN\RXFDQGRWKDW
    ZLOODVNWKHFRXUWUHSRUWHUWREULQJWKDWXS                  9,'(2*5$3+(57KDWZRUNVIRUPH
                                     $77251(<75<21$QGIRUWKHUHFRUGZH
     :KHUHXSRQ([KLELW'HFODUDWLRQ             ZLOOEHORRNLQJDWWKHVWDWXWHZKLFKZHZLOOEHPDUNLQJ
    PDUNHGIRULGHQWLILFDWLRQ                     DV([KLELWWRWKLVGHSRVLWLRQ
                                     
    %<$77251(<75<21                                              :KHUHXSRQ([KLELW+%ZDV
    4$QGIHHOIUHHWRORRNDW\RXUKDUGFRS\DVZH         PDUNHGIRULGHQWLILFDWLRQ
   DUHGLVFXVVLQJWKHVHH[KLELWVRND\3URIHVVRU"               
   $2ND\                                                %<$77251(<75<21
   $77251(<9(52))6RUU\,WKLQNWKLVLV      46RQRZOHW VJRWR([KLELWZKLFKLV\RXU
   WKHH[SHUWUHSRUWDQG,WKLQN\RXZHUHDVNLQJIRUWKH         FXUUHQWH[SHUWUHSRUW, PJRLQJWRWU\WRPDQLSXODWH
   'HFODUDWLRQ                                                  P\SDJHVR,FDQVHH\RX3URIHVVRUDWWKHVDPHWLPH
   $77251(<75<21<HVULJKW                   ,FDQVZLWFKWKLVRYHUWRDQRWKHUVFUHHQEXWLW VQRW
   9,'(2*5$3+(50\DSRORJLHV                   ZRUNLQJ/HW VWU\WKLV$OOULJKW6RORRNLQJDW
   $77251(<75<21,WVKRXOGKDYHWKH&RXUW      1XPEHUOHWPHEDFNXSSDUDJUDSKQXPEHUWKUHH\RX
   VWDPSRQWKHOHIWDWWKHWRSDV,UHFDOO                     VD\\RXKDYHNQRZOHGJHRIWKHPDWWHUVVWDWHGLQWKLV
   9,'(2*5$3+(5,VHHWKDW0\DSRORJLHV      H[SHUWUHSRUWDQG'HFODUDWLRQ,KDYHFROOHFWHGDQG
   %<$77251(<75<21                                            FLWHWRUHOHYDQWOLWHUDWXUHFRQFHUQLQJWKHLVVXHVWKDW
   46RILUVWRIDOO,ZDQWWRHVWDEOLVKWKDWWKLV       DULVHLQWKLVOLWLJDWLRQ'R\RXVHHWKDW"
   LVWKH'HFODUDWLRQWKDW\RXILUVWSUHSDUHGIRUWKLV           $<HV
   FDVH                                                         46RZKDWDUHWKHLVVXHVWKDWDULVHLQWKLV
   ,VWKDWULJKW"                                       OLWLJDWLRQDV\RXXQGHUVWDQGLW"



                                                                                               3DJHVWR
                                                                                                     Armistead App. 0499
                                                  3DJH                                                          3DJH
    $77251(<9(52)), PVRUU\, OOMXVW          $77251(<75<216RWKDWZRXOGEH
    REMHFWWRWKHH[WHQWWKDWFRPSOHWHSDUDJUDSKWKUHH              ([KLELW$UH\RXILQGLQJWKDW-DNH"<RX UHPXWHG
    ZDVQ WUHDG                                                    9,'(2*5$3+(5, PORRNLQJLQP\IROGHU
    $77251(<75<212ND\                           ,MXVWKDGLWWKLVPRUQLQJ,WPLJKWEHRQP\RWKHU
    %<$77251(<75<21                                              FRPSXWHU&RXQVHOLI\RXZDQWWRJRRIIWKHUHFRUG,
    42ND\                                                  FDQJUDEWKDWDQGWKHQJHWWKHVRIWZDUHWRPDUNWKHVH
    )HHOIUHHWRUHDGWKHHQWLUHSDUDJUDSKLI\RX          IRU\RX
    ZDQWEXW, PMXVWDVNLQJDERXWWKDWVSHFLILFFODXVH            $77251(<75<212ND\
    $7KHLVVXHVWKDWDUHUHOHYDQWDUHWKDWWKHUH VD        +RZORQJZRXOGWKDWWDNH"
   FDWHJRULFDOH[FOXVLRQRIWUDQVDWKOHWHV$QGWKDWLVRI        9,'(2*5$3+(57KUHHPLQXWHV
   FRQFHUQEHFDXVHRIWKHPDQ\EHQHILWVWKDWDWKOHWHVUHDS        $77251(<75<212ND\
   IURPKDYLQJWKHRSSRUWXQLW\WRSDUWLFLSDWHLQVSRUWV          /HW VGRWKDW
   4$Q\RWKHULVVXHVWKDWDULVHLQWKLVOLWLJDWLRQ"       9,'(2*5$3+(52ND\
   $1RWKLQJFRPHVWRPLQGDWWKHPRPHQW                  ,DSRORJL]HWUXO\*RLQJRIIWKHUHFRUG
   46RWKDW VZKDW\RXUHIHUWRZKHQ\RXVD\LVVXHV       7KHFXUUHQWWLPHUHDGVDP
   DULVHLQWKLVOLWLJDWLRQDQG\RXVDLGWKHFDWHJRULFDO         2))9,'(27$3(
   H[FOXVLRQRIWUDQVJHQGHUDWKOHWHVEHFDXVHRIEHQHILWV          
   DWKOHWHVUHFHLYHIURPVSRUW,VWKDWDERXWULJKW",W V        :+(5(8321$6+257%5($.:$67$.(1
   QRWH[DFWO\ZKDW\RXVDLGEXWWKDWLVDERXWULJKW"            
   $<HDKEHFDXVHRIWKHFDWHJRULFDOH[FOXVLRQRI         219,'(27$3(
   WUDQVJHQGHUDWKOHWHVLQVSRUWVWKDWSUHYHQWWKHPIURP          9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
   KDYLQJRSSRUWXQLWLHVWRUHDSDOOWKHEHQHILWVLQVSRUW        7KHFXUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH
   4<RXKDYHVDLGDOUHDG\RQWKHUHFRUGDQG\RXDOVR      $77251(<75<21$QG-DNHLI\RXFRXOG
   VD\LQSDUDJUDSKIRXUWKDWLQSUHSDULQJWKLVH[SHUW            EULQJXS([KLELWQRZSOHDVHZKLFKLVWKH+%


                                                  3DJH                                                          3DJH
    UHSRUWDQG'HFODUDWLRQ,UHYLHZHG:HVW9LUJLQLD+%        6RWKLVKDVSUHYLRXVO\EHHQPDUNHGEXWIRUWKLV
    WKHELOODWLVVXHLQWKLVOLWLJDWLRQ                           GHSRVLWLRQZHZLOOPDUNLWDV([KLELW
    5LJKW"                                                 %<$77251(<75<21
    $<HV                                                   46RWKLVLVWKH+RXVH%LOOWKDW\RXWKHODZ
    46RKRZGLG\RXUHDGWKHHQWLUHWKLQJ"              WKDW\RXUHYLHZHG3URIHVVRU)U\"
    $7KHHQWLUHELOO"                                       $<HV
    47KDW VP\TXHVWLRQ                                    4([FXVHPH$QGQRZKHUHLQKHUHGRHVLWXVHWKH
    $<HV\HV                                              ZRUGWUDQVJHQGHUGRHVLW"
    4:KDWGLGWKHOHJLVODWXUHVD\WKHSXUSRVHLV"           $1R
   $:HOOWRSUHYHQWWUDQVJHQGHUIHPDOHVIURP             $77251(<9(52))2EMHFWLRQ
   SDUWLFLSDWLQJLQDVSRUWLQ:HVW9LUJLQLD                     %<$77251(<75<21
   47KHELOOGRHVQRWXVHWKHZRUGWUDQVJHQGHUDW         47DNHDORRNDWSDUDJUDSKRQHH[FXVHPH
   DOOGRHVLW"                                                  SDJHRQHXQGHU H OLQH$LWVWDUWV$
   $77251(<9(52))6RUU\0U7U\RQ, P        OHJLVODWXUHKHUHE\ILQGVWKHUHDUHLQKHUHQWGLIIHUHQFHV
   JRLQJWRREMHFW,I\RX UHJRLQJWRDVNWKHZLWQHVV           EHWZHHQELRORJLFDOPDOHVDQGELRORJLFDOIHPDOHVDQGWKDW
   DERXWWKHELOOLI\RXFRXOGSOHDVHSXWLWXSRQWKH           WKHVHGLIIHUHQFHVDUHFDXVHIRUFHOHEUDWLRQDV
   VFUHHQVRVKHFRXOGKDYHLWLQIURQWRIKHU                   GHWHUPLQHGE\WKH6XSUHPH&RXUWRIWKH8QLWHG6WDWHVLQ
   $77251(<75<21:HZLOOGRLWLQD             8QLWHG6WDWHVYHUVXV9LUJLQLDLQSDUHQWKHVHV'R
   PRPHQW,WKLQNVKH VORRNLQJDWLWDQ\ZD\VRLW V           \RXVHHWKDW"
   EHHQSXWXSRQWKHVFUHHQ                                     $<HV
   $77251(<9(52)),VWKDWULJKW                4'R\RXDJUHHZLWKWKDWVWDWHPHQW"
   3URIHVVRU)U\"'R\RXKDYHDKDUGFRS\RIWKHELOOLQ         $77251(<9(52))2EMHFWLRQ
   IURQWRI\RX"                                                  %<$77251(<75<21
   7+(:,71(66<HV                              4*RDKHDG


                                                                                            3DJHVWR
                                                                                                    Armistead App. 0500
                                                   3DJH                                                         3DJH
    $<HV                                                   $77251(<9(52))2EMHFWLRQ
    41XPEHUWZRLQSDUHQWKHVHVVD\VWKHVHLQKHUHQW         7+(:,71(667KHILUVWVHQWHQFHRIQXPEHU
    GLIIHUHQFHVDUHQRWDYDOLGMXVWLILFDWLRQIRUVH[EDVHG         WZR"
    FODVVLILFDWLRQVWKDWPDNHRYHUEURDGJHQHUDOL]DWLRQVRU          %<$77251(<75<21
    SHUSHWXDWHWKHOHJDOVRFLDODQGHFRQRPLFLQIHULRULW\RI        4, PVRUU\/HWPHPDNHVXUHZH UHFOHDURQWKH
    HLWKHUVH[5DWKHUWKHVHLQKHUHQWGLIIHUHQFHVDUHD            UHFRUG7KHSKUDVHWKDWVD\VWKHVHLQKHUHQWGLIIHUHQFHV
    YDOLGMXVWLILFDWLRQIRUVH[EDVHGFODVVLILFDWLRQVZKHQ          DUHDYDOLGMXVWLILFDWLRQIRUVH[EDVHGFODVVLILFDWLRQV
    WKH\UHDOLVWLFDOO\UHIOHFWWKHIDFWWKDWWKHVH[HVDUH          ZKHQWKH\UHDOLVWLFDOO\UHIOHFWWKHIDFWWKDWVH[HVDUH
    QRWVLPLODUO\VLWXDWHGLQFHUWDLQFLUFXPVWDQFHVDV             QRWVLPLODUO\VLWXDWHGLQFHUWDLQFLUFXPVWDQFHVWKDW
   UHFRJQL]HGE\WKH6XSUHPH&RXUWRIWKH8QLWHG6WDWHVLQ        FODXVHDV,XQGHUVWDQG\RXUWHVWLPRQ\\RXGRQRWDJUHH
   0LFKDHO96RQRPD&RXQW\$VVRFLDWLRQRI,QWHUFROOHJLDWH        ZLWKLQLWVHQWLUHW\,VWKDWWUXH"
   $WKOHWLFVDQG1,$LQSDUHQWKHVHVRU1DWLRQDO-XQLRU           $77251(<9(52))6RUU\0U7U\RQ
   &ROOHJH$WKOHWLF$VVRFLDWLRQ,JRRIHGWKDW6RUU\,       2EMHFWLRQ
   VNLSSHGDSDJH6RFRQWLQXLQJLWVDLGLQ0LFKDHO0Y        7+(:,71(665LJKWWKDW VWUXH
   6RQRPD&RXQW\6XSHULRU&RXUWLQSDUHQWKHVHVDQG         %<$77251(<75<21
   6XSUHPH&RXUWRI$SSHDOVLQ:HVW9LUJLQLDLQ,VUDHOY         42ND\
   6HFRQGDU\6FKRROV&RPPLVVLRQLQLQSDUHQWKHVHV           1XPEHUWKUHHLWVD\VLQWKHFRQWH[WRIVSRUWV
   2WKHUWKDQWKHFLWDWLRQVRIWKRVHFDVHVGR\RXDJUHH           LQYROYLQJFRPSHWLWLYHVWHOODUFRQWDFWDFWXDOO\
   ZLWKWKDWVWDWHPHQW"                                           VWULNHWKDW
   $77251(<9(52))2EMHFWLRQ                    /HW VPRYHGRZQ,ZDQWWRPDNHVXUH,
   7+(:,71(66,EHOLHYHWKDWLW VPRUH           XQGHUVWDQG7KHVHDUHXVLQJWHUPVWKDWDUHGHILQHG
   FRPSOH[WKDQMXVWWRKDYHDELQDU\XQGHUVWDQGLQJRI            EHORZVR,ZDQWWRVHHLIZHKDYHDPXWXDODJUHHPHQWRQ
   PDOHVDQGIHPDOHV                                             WKHPHDQLQJRIWKHVHWHUPV$QGRQOLQHDVVKRZQRQ
   %<$77251(<75<21                                             WKHOHIWKDQGVLGHLWGHILQHVTXRWHELRORJLFDOVH[


                                                   3DJH                                                         3DJH
    46ROHWPHUHVWULFWP\TXHVWLRQWRWKLVSDUW,W       FORVHGTXRWHPHDQVDQLQGLYLGXDO VSK\VLFDOIRUPDVD
    VD\VWKHVHLQKHUHQWGLIIHUHQFHVDUHDYDOLG                     PDOHRUIHPDOHEDVHGVROHO\RQWKHLQGLYLGXDO V
    MXVWLILFDWLRQIRUVH[EDVHGFODVVLILFDWLRQVZKHQWKH\           UHSURGXFWLYHELRORJ\DQGJHQHWLFVDWELUWK'R\RXVHH
    UHDOLVWLFDOO\UHIOHFWWKHIDFWWKDWVH[HVDUHQRW               WKDW"
    VLPLODUO\VLWXDWHGLQFHUWDLQFLUFXPVWDQFHV7KDW              $<HV,VHHWKDW
    FODXVHGR\RXDJUHHZLWKRUGLVDJUHHZLWK"                     4,VWKDWDIDLUGHILQLWLRQRIELRORJLFDOVH["
    $77251(<9(52))2EMHFWLRQ                     $77251(<9(52))2EMHFWLRQ
    7+(:,71(66<HDK,ZRXOGMXVWVD\WKDW         7+(:,71(66,GLVDJUHH,WKLQNLWLV
    LW VDOOPRUHFRPSOH[WKDQMXVWVD\LQJWKDWZHKDYH         PRUHFRPSOH[WKDQWKDW
   PDOHVDQGIHPDOHV                                             %<$77251(<75<21
   %<$77251(<75<21                                             42ND\
   42ND\                                                 +RZZRXOG\RXGHILQHELRORJLFDOVH["
   , PVRUU\ZKDWGLG\RXVD\ODVW"                     $77251(<9(52))2EMHFWLRQ
   $<HDKWKDWLW VPRUHFRPSOH[WKDQMXVW                7+(:,71(66%DVHGRQPXOWLSOHIDFWRUV
   FRQVLGHULQJWKHPHYHU\RQHILWVWLJKWO\LQWRDPDOH         EHVLGHVMXVWWKHUHSURGXFWLYHELRORJ\LQJHQHWLFVDW
   RUIHPDOHFDWHJRU\                                            ELUWK
   4$QGVR\RXZRXOGGLVDJUHHZLWKWKDWVWDWHPHQW"        %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    42ND\
   7+(:,71(66<HDK,ZRXOGDJUHHZLWK          $QGZKDWZRXOG\RXUGHILQLWLRQEH"
   WKHILUVWVHQWHQFHWKDWZHVKRXOGQ WXVHWKHVHWR             $77251(<9(52))2EMHFWLRQ
   GLVFULPLQDWH                                                  7+(:,71(66, PQRWVXUH
   %<$77251(<75<21                                             %<$77251(<75<21
   4'RHVWKDWVSHFLILFFODXVH\RXGRQ WDJUHHZLWK       42ND\
   WKDWLVWKDWDIDLUVWDWHPHQW"                                :HOOWKHUHDVRQ,DVNLVEHFDXVHZHDUH


                                                                                            3DJHVWR
                                                                                                    Armistead App. 0501
                                                   3DJH                                                         3DJH
    SUREDEO\XVLQJWKHVHWHUPVWKURXJKRXWWKLVGHSRVLWLRQ           $77251(<9(52))2EMHFWLRQ
    WRGD\VR, PWU\LQJWRPDNHVXUHZHKDYHDPXWXDO              %<$77251(<75<21
    XQGHUVWDQGLQJRIZKDWELRORJLFDOVH[PHDQV6R,GRQ W         4&DQZHXVHWKDWDVDGHILQLWLRQWRGD\"
    ZDQWWRWU\DQGLPSRVHXSRQ\RXDGHILQLWLRQWKDW\RX           $77251(<9(52))2EMHFWLRQ
    DUHXQFRPIRUWDEOHZLWK                                         7+(:,71(66,WKLQNLW VPRUH
    $2ND\                                                  DSSURSULDWHWRXVHWKHWHUPWRUHIHUWRSHRSOHZKR
    46RLI\RXFRXOGJLYHPHVRPHWKLQJWKDW\RXZRXOG       LGHQWLI\DVPDOH
    EHFRPIRUWDEOHZLWK,ZRXOGDSSUHFLDWHLW                     %<$77251(<75<21
    $77251(<9(52))2EMHFWLRQ                     46R\RXGRQ WWKLQNWKHUHLVVXFKDWKLQJDVD
   7+(:,71(66<HDK,ZRXOGIHHOPRUH           ELRORJLFDOPDOH",VWKDWZKDW\RXDUHWHOOLQJPH"
   FRPIRUWDEOH\HDK, PQRWVXUHWREHKRQHVW              $77251(<9(52))2EMHFWLRQ
   %<$77251(<75<21                                             7+(:,71(66,WKLQNWHUPELRORJLFDO
   4$OOULJKW                                            PDOHLVDFRPSOH[WHUPWKDWDORWJRHVLQWRWKDW
   6R,DVVXPHWKDWWKHGHILQLWLRQRIIHPDOHLQ          %<$77251(<75<21
   KHUH\RX UHDOVRXQFRPIRUWDEOHZLWK,VWKDWDIDLU           4<RX UHIDPLOLDUZLWKWKHWHUPFLVPDOHULJKW"
   VWDWHPHQW"                                                     $<HV
   $<HV                                                  4:KDWGRHVWKDWPHDQ"
   $77251(<9(52))2EMHFWLRQ                    $:HOOILUVWLVVRPHERG\ZKRVHLGHQWLW\DOLJQV
   %<$77251(<75<21                                             ZLWKWKHLUELUWKFKDUDFWHULVWLFV
   4+RZDERXWWKHGHILQLWLRQRIPDOHFDQZHUHDFK        42ND\
   DQDJUHHPHQWWKDWPDOHPHDQVDQLQGLYLGXDOZKRVH               :KDWELUWKFKDUDFWHULVWLFVDUHWKRVH"
   ELRORJLFDOVH[GHWHUPLQHGDWELUWKLVPDOH"                    $77251(<9(52))2EMHFWLRQ
   $77251(<9(52))2EMHFWLRQ                    7+(:,71(66,WKLQNWKHPDOHIHPDOH
   7+(:,71(66<HV,ZRXOGQRWDJUHHZLWK        FDWHJRU\ZRUNVLQJHQHUDOEXWWKHUHLVSHRSOHZKRIDOO


                                                   3DJH                                                         3DJH
    WKDW                                                           LQEHWZHHQDQGPD\QRWEHIURPDELRORJLFDOSHUVSHFWLYH
    %<$77251(<75<21                                              QLFHDQGWLJKWO\FDWHJRUL]HGLQWRHLWKHURIWKRVH
    4<RXZRXOGQRWDJUHHZLWKWKDW'RHVWKHZRUG          FDWHJRULHV6RZKHQ,VD\LWLVFRPSOH[LWLVLVQRW
    PDOHKDYHDPHDQLQJWR\RX"                                     MXVWWKHZD\VRPHERG\ZDVERUQRURQHSDUWLFXODU\RX
    $77251(<9(52))2EMHFWLRQ                     NQRZSK\VLFDOFKDUDFWHULVWLFRUVR
    7+(:,71(66<HV,IHHOOLNHLW V              %<$77251(<75<21
    UHODWHGWRKRZSHRSOHVHHWKHPVHOYHVLQWHUPVRIPDOHRU        4:HOO, PMXVWWU\WRXQGHUVWDQGWKHWHUP\RX
    IHPDOH                                                         MXVWJDYHPH<RXVDLGWKDWFLVJHQGHULVVRPHRQHWKDW
    %<$77251(<75<21                                              LGHQWLILHVLQWKHVDPHLGHQWLILHVZLWKWKHVH[WKDW
   46RLW VRQO\WKHWHUPPDOHRQO\PHDQVKRZ         FRUUHVSRQGVZLWKWKHLUELUWKFKDUDFWHULVWLFV$QG, P
   VRPHERG\VHHVKLPRUKHUVHOI"                                  DVNLQJZKDW\RXPHDQWZKHQ\RXVDLGELUWK
   $77251(<9(52))2EMHFWLRQ                    FKDUDFWHULVWLFV
   7+(:,71(667KH\YLHZWKHLULGHQWLW\DV       $77251(<9(52))2EMHFWLRQ
   PDOHDQGIHPDOH,WKLQNWKDW VWKHFULWLFDOWKLQJ            7+(:,71(66<HDK,IHHOOLNHWKHUH V
   %<$77251(<75<21                                             PHGLFDOWHUPVWKDWJREH\RQGP\H[SHUWLVH%XWLQP\
   4$QGGRHVELRORJ\KDYHDQ\LPSRUWDQFHDWDOO"          XQGHUVWDQGLQJVRPHRQHFDQEHERUQDQGKDYH
   $77251(<9(52))2EMHFWLRQ                    FKDUDFWHULVWLFVRIFURVVJHQGHU6RXVLQJMXVWDELQDU\
   7+(:,71(66<HVLWGRHV,W VMXVWQRW       V\VWHPZKHUHZHFDWHJRUL]HDQGSXWHYHU\RQHLQHLWKHUD
   WKHRQO\IDFWRU                                               PDOHRUIHPDOHFDWHJRU\LVOLPLWLQJDQGQRWKHOSIXO
   %<$77251(<75<21                                             %<$77251(<75<21
   46RKRZDERXWWKLVKRZDERXWLIZHZLOOUHIHUWR      46RWKHQZKDWLVDFLVJHQGHUSHUVRQ"
   PDOHWRGD\PDOHRUER\ZHPHDQVRPHRQHZKRVHELUWK       $77251(<9(52))2EMHFWLRQ
   RQZKRVH%LUWK&HUWLILFDWHLWGHVLJQDWHVWKHPDVPDOHRU       7+(:,71(666RPHRQHZKRPD\DOLJQ
   DVPDOH"                                                       SK\VLFDOO\DWELUWKZLWKRQHRIWKHJHQGHUV$QGDOVR


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0502
                                                   3DJH                                                          3DJH
    ZKHQ,VD\DOLJQWKRVHPDWFKXSZLWKKRZWKH\SHUFHLYH         $77251(<9(52))2EMHFWLRQ
    WKHPVHOYHVDORQJZLWKWKHLUELUWKFKDUDFWHULVWLFV              7+(:,71(66<HDK,WKLQNDPHGLFDO
    %<$77251(<75<21                                              SURIHVVLRQDOVD\VWKDWDEDE\KDVDOOWKH
    4$JDLQ\RXXVHWKDWWHUPELUWKFKDUDFWHULVWLFV         FKDUDFWHULVWLFVRIDPDOHULJKW, PMXVWVLPSO\
    ,QHHGWRNQRZZKDW\RXPHDQE\WKDW                           VD\LQJWKDWHYHU\RQHGRHVQ WILWQLFHDQGWLJKWO\LQWR
    $77251(<9(52))2EMHFWLRQ                     WKDWPDOHRUIHPDOHWKDWWKHUH VWZRFURVVRYHUVWKDW
    7+(:,71(66$JDLQXVLQJWKLVLQLQ        WKHGRFWRUVVHHPWRDJUHHRQ
    IURPP\SHUVSHFWLYH,ZRXOGOLVWHQWRWKHGRFWRUV          %<$77251(<75<21
    ZKRVWXG\WKLVDQGVD\WKDWZHFDQ WMXVWFODVVLI\              4$QGZKDWWKHGRFWRUVVHHPWRDJUHHRQLVZKDW
   SHRSOHWLJKWO\LQWRWKHVHFDWHJRULHV$QGVRPHSHRSOH         WKH\SXWRQWKH%LUWK&HUWLILFDWHULJKWDWOHDVW
   PD\VKDUHFKDUDFWHULVWLFVRIHLWKHUJHQGHUDWELUWKDQG        LQLWLDOO\")DLUVWDWHPHQW"
   VRLWPD\EHPRUHFRPSOLFDWHG                                 $77251(<9(52))2EMHFWLRQ
   %<$77251(<75<21                                             7+(:,71(66<HDK, GVD\LQJHQHUDO
   46RZHVWLOOGRQ WHYHQKDYHDGHILQLWLRQRI           GRFWRUVFKRRVHRQHRUWKHRWKHUWKDW VFORVHVW
   FLVJHQGHUIURP\RX                                            %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    46RDWOHDVWIRUSXUSRVHVRIWRGD\ZKHQ,VD\
   %<$77251(<75<21                                             PDOHRUER\FDQZHDJUHHWKDW, PUHIHUULQJWRVRPHRQH
   46R\RXGRQ WNQRZZKDWELUWKFKDUDFWHULVWLFV          ZKRRQWKH%LUWK&HUWLILFDWHWKHRULJLQDO%LUWK
   DUH",VWKDWZKDW\RXDUHWHOOLQJPH"                         &HUWLILFDWHLWLVVWDWHGWKDWWKDWSHUVRQLVPDOH"
   $77251(<9(52))2EMHFWLRQDVNHGDQG          $,FDQDJUHHWRSURFHHGWKDWZD\
   DQVZHUHG"                                                      42ND\
   7+(:,71(66<HDK,WKLQNVRPHSHRSOH         $QGWKHVDPHWKLQJZLWKUHVSHFWWRIHPDOHRU
   DUHERUQDQGWKH\ILWQLFHO\LQWRWKHVHFDWHJRULHVRI          JLUO
   PDOHDQGIHPDOH, PMXVWDFNQRZOHGJLQJWKDWQRW              5LJKW"


                                                   3DJH                                                          3DJH
    HYHU\RQHGRHV$QGLIWKH\GRILWQLFHO\LQWRWKRVH           $77251(<9(52))2EMHFWLRQ
    QLFHO\MXVWPHDQLQJWKDWWKH\DUHWKH\\RXNQRZ           7+(:,71(66<HV&DQZHDOVRDJUHH
    DUHFRQVLGHUHGPDOHDWELUWKDQGWKH\DOVRSHUFHLYHWKDW        WKDWLI,WKDW,FDQXVHWKHWHUPWUDQVIHPDOHWR
    WKH\DUHWKDQRUWKHRWKHUZD\LVIHPDOHWKHQWKDW         UHIHUWRVRPHRQHZKRPD\VKDUHFKDUDFWHULVWLFVDFURVV
    ZRXOGEHDFLVJHQGHUSHUVRQ                                    JHQGHUDQGPD\LGHQWLI\DVDIHPDOH"
    $77251(<75<21-DNHKRZGR,JHWWR           %<$77251(<75<21
    WKHOLYHIHHG"                                                  4/HW VEHFOHDURQWKDW3OHDVHWHOOPHZKDW
    9,'(2*5$3+(5<RXPHDQOLNHWKHYLGHR           \RXUGHILQLWLRQRIWUDQVOHW VILUVWFLWHZKDWGRHV
    IHHGRUOLNHWKHUHDOWLPH"                                     WUDQVJHQGHUPHDQ"
   $77251(<75<21<HV                           $77251(<9(52))2EMHFWLRQ
   9,'(2*5$3+(5*LYHPHRQHVHF, OO            7+(:,71(667UDQVJHQGHUUHIHUVWR
   UHSRVWWKHOLQN                                               VRPHRQHZKRPD\KDYHEHHQFODVVLILHGDVELUWKDVRQH
   $77251(<75<21$UH\RXJRLQJWRSXW           JHQGHUEXWLGHQWLILHVDVWKHRWKHUJHQGHU
   WKDWLQWKHFKDWURRP"                                         %<$77251(<75<21
   9,'(2*5$3+(5,WVKRXOGEHYLVLEOHQRZ        4$QGWKHQWUDQVJHQGHUJLUOFDQ\RXJLYHPH\RXU
   %<$77251(<75<21                                             GHILQLWLRQRIWKDW"
   4:KHQ\RX\RXXVHGWKHWHUPQRZFRQVLGHUHG         $<HVVRPHRQHZKRPD\KDYHEHHQDVVLJQHGWKHPDOH
   PDOHDWELUWK&DQ\RXWHOOPHZKDW\RXPHDQE\WKDW"         VH[DWELUWKDQGLGHQWLILHVDVIHPDOH
   $77251(<9(52))2EMHFWLRQ                    4$QGWKHQWUDQVJHQGHUER\"
   %<$77251(<75<21                                             $6RPHRQHZKRPD\KDYHEHHQDVVLJQHGIHPDOH
   4, PQRWWU\LQJWRWULFN\RX, PMXVWWU\LQJWR      DVVLJQHGDIHPDOHJHQGHUDWELUWKEXWSHUFHLYHV
   HVWDEOLVKVRPHGHILQLWLRQVRZHFDQFRPPXQLFDWHSURSHUO\       LGHQWLILHVZLWKDPDOHVH[PDOHJHQGHU
   WRGD\                                                         41RZZKHQ,DVNHG\RXDERXWWUDQVJHQGHU\RXVDLG
   $<HDK                                                 VRPHRQHFODVVLILHGDWELUWK$QGWKHQZKHQ,DVNHG\RX


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0503
                                                   3DJH                                                        3DJH
    DERXWWUDQVJHQGHUJLUO\RXVDLGDVVLJQHG,VWKHUHD          42ND\
    GLIIHUHQFHEHWZHHQFODVVLILHGDQGDVVLJQHGLQ\RXUPLQG"       ,QHHGWRDSRORJL]HDWWKLVSRLQW2QWKH
    $77251(<9(52))2EMHFWLRQ                    IORRUZKHUH, PDWWKH\DUHGRLQJFRQVWUXFWLRQVR
    7+(:,71(661RWKHUHZDVQ WD                 SHULRGLFDOO\\RXPD\KHDUSRXQGLQJRURWKHUQRLVHDQG
    GLVWLQFWLRQWKHUH                                             , PVRUU\DERXWWKDW
    %<$77251(<75<21                                             /HWPHDVN\RXDERXWWKHGHILQLWLRQRIDQRWKHU
    42ND\                                                 ZRUGWKDWDSSHDUVSHULRGLFDOO\WKHZRUGDUELWUDU\$QG
    $QGFRXOGWKDWVH[RIDFKLOGEHDVVLJQHG             ,ORRNHGWKDWXSLQDGLFWLRQDU\DQRQOLQHGLFWLRQDU\
    EHIRUHELUWK"                                                  &DPEULGJHRUJDQGWKHGHILQLWLRQLWJDYHPHZDVEDVHG
   $77251(<9(52))2EMHFWLRQ                   RQFKDQFHUDWKHUWKDQEHLQJSODQQHGRUEDVHGRQUHDVRQ
   7+(:,71(66<HDKSRVVLEO\                  ,VWKDWDIDLUGHILQLWLRQRIDUELWUDU\"
   %<$77251(<75<21                                            $77251(<9(52))2EMHFWLRQ
   4*RLQJEDFNWRWKHELOOLWVHOIRQOLQHRQ        7+(:,71(66, PQRWVXUH
   SDJHWZRLQWKHFRQWH[WRIVSRUWVLQYROYLQJFRPSHWLWLYH      %<$77251(<75<21
   VNLOORUFRQWDFWELRORJLFDOPDOHVDQGELRORJLFDOIHPDOHV      42ND\
   DUHQRWLQIDFWVLPLODUO\VLWXDWHG'R\RXDJUHHZLWK      :KDWLV\RXUGHILQLWLRQRIDUELWUDU\"
   WKDWVWDWHPHQW"                                               $77251(<9(52))2EMHFWLRQ
   $77251(<9(52))2EMHFWLRQ                   7+(:,71(66, PQRWVXUH
   7+(:,71(66, PQRWVXUHZKDWWKDW            %<$77251(<75<21
   VWDWHPHQWPHDQVE\WKHIDFWVLPLODUO\VLWXDWHG               4<RXKDYHD%DFKHORU V'HJUHH
   %<$77251(<75<21                                            5LJKW"
   42ND\                                                $,GR
   /HW VJRWRWKHQH[WVHQWHQFH%LRORJLFDO           4$QGD0DVWHU V'HJUHH
   PDOHVZRXOGGLVSODFHIHPDOHVWRDVXEVWDQWLDOH[WHQWLI       5LJKW"


                                                   3DJH                                                        3DJH
    SHUPLWWHGWRFRPSHWHRQWHDPVGHVLJQDWHGIRUELRORJLFDO        $<HV
    IHPDOHVDQGWKHQLWFLWHVDFDVH'R\RXDJUHHZLWK           46R,UHFDOO\RXDOVRKDYHD3K'
    WKDWVWDWHPHQW"                                                ,VWKDWULJKW"
    $77251(<9(52))2EMHFWLRQ                    $7KDWLVULJKW
    7+(:,71(66,EHOLHYHWKHUHFDQEHD          4$QG\RXFDQ WGHILQHIRUPHZKDWDUELWUDU\
    IDLUSOD\LQJJURXQGIRUSHRSOHZKRDUHERUQPDOHDQGZKR       PHDQV"
    UHFHLYHWUHDWPHQWIROORZWKHUXOHVDQGSOD\WKHVSRUW         $77251(<9(52))2EMHFWLRQ
    IRUWKHPWREHDEOHWRSDUWLFLSDWHDVIHPDOHV                 7+(:,71(661RQRWDWWKHPRPHQW
    %<$77251(<75<21                                             %<$77251(<75<21
   46R,WDNHLW\RXGRQRWIXOO\DJUHHZLWKWKDW        4<RXXVHGWKHZRUGDUELWUDU\LQWKLVUHSRUW\HW
   VWDWHPHQW                                                    \RXGRQ WNQRZZKDWLWPHDQV"
   ,VWKDWDIDLUVWDWHPHQW"                            $77251(<9(52))2EMHFWLRQ
   $<HDK                                                7+(:,71(66<HDK'R\RXZDQWWRJRWR
   $77251(<9(52))2EMHFWLRQ                   ZKHUH,XVHGLW"
   7+(:,71(66,GRQRW                         %<$77251(<75<21
   %<$77251(<75<21                                            41R,ZDQWWRNQRZLI\RXLQIDFWGRQ WNQRZ
   4,WHP1XPEHUOLQHVD\VFODVVLILFDWLRQRI       ZKDWDUELWUDU\PHDQV"
   WHDPVDFFRUGLQJWRELRORJLFDOVH[LVQHFHVVDU\WR             $77251(<9(52))2EMHFWLRQ,WKLQNWKH
   SURPRWHHTXDODWKOHWLFRSSRUWXQLWLHVIRUWKHIHPDOHVH[      ZLWQHVVKDVDVNHGWRVHHZKHUHWHUPLVXVHGLQKHU
   'R\RXDJUHHZLWKWKDWVWDWHPHQW"                             UHSRUW$QGLWZRXOGEHKHOSIXOWRVKRZLWWRKHUIRU
   $77251(<9(52))2EMHFWLRQ                   FRQWH[W
   7+(:,71(661RWLILWPHDQVH[FOXGLQJ        $77251(<75<217KDQN\RX&RXQVHO,
   WUDQVJHQGHUDWKOHWHV                                         ZRXOGOLNHWKHZLWQHVVWRWHOOPHKRZVKHGRHVQ WNQRZ
   %<$77251(<75<21                                            VLQFHVKHKDVD3K'VKHFDQ WWHOOPHZKDW


                                                                                         3DJHVWR
                                                                                                     Armistead App. 0504
                                                  3DJH                                                          3DJH
    DUELWUDU\PHDQV$QGWKHQ\RXZRQ WHYHQDJUHHZLWKWKH       $$JDLQ,FDQ WVSHDNIRUHYHU\DWKOHWH
    GHILQLWLRQWKDW,IRXQGLQWKH&DPEULGJHRUJ'LFWLRQDU\       4$QGWKHQZKHQ\RXVDLGWKHUHZDVDJLUOVWHDP
    $77251(<9(52))2EMHFWLRQ                    ZKDWGLGWKDWPHDQ":KDWGLG\RXKDYHWREHWREHRQ
    7+(:,71(66&DQ\RXUHSHDWWKDW                WKHJLUOVWHDP"
    GHILQLWLRQDJDLQ"                                              $<HDK$QGLQJHQHUDOWKH\DUHIHPDOHVDQGVHH
    %<$77251(<75<21                                             WKDWFODVVLILFDWLRQDVDSSURSULDWHDQGSDUWLFLSDWHDV
    4%DVHGRQFKDQFHUDWKHUWKDQEHLQJSODQQHGRU          IHPDOHV
    EDVHGRQUHDVRQ                                               4$QGZK\LVWKDWFODVVLILFDWLRQDSSURSULDWHIRU
    $2ND\                                                 WHQQLV"
   , PJRLQJWRJREDFNDQGDFFHSWWKDW                $77251(<9(52))2EMHFWLRQ
   42ND\                                                7+(:,71(66,WKLQNLW VLQJHQHUDO
   ,QSDUDJUDSKVHYHQRI\RXUUHSRUWZHFDQJR      DSSURSULDWHWRKDYHWROHWPDOHVDQGIHPDOHVFRPSHWH
   EDFNWRWKHUHSRUWQRZ7KLVLV([KLELW,Q               VHSDUDWHO\
   SDUDJUDSKVHYHQWKDWLVRQWKHVFUHHQRU\RXFDQORRNDW      %<$77251(<75<21
   \RXUKDUGFRS\\RXPHQWLRQWKDW\RXVSHQWILYH\HDUV         4,VWKDWEHFDXVHLQJHQHUDOPDOHVDUHEHWWHUDW
   WHDFKLQJSK\VLFDOHGXFDWLRQDQGFRDFKLQJWHQQLVDW            WHQQLV"
   VFKRROVDQGVXPPHUFDPSV7HOOPHDOLWWOHELWDERXW         $77251(<9(52))2EMHFWLRQ
   \RXUFRDFKLQJWHQQLV                                         7+(:,71(66,ZRXOGQ WDJUHHZLWKWKDW
   $<HV,ZDVWKHKHDGFRDFKRIERWKWKHER\VDQG       %<$77251(<75<21
   WKHJLUOVWHDPKLJKVFKRRO$QGWKHZHKDGD            47KHQZK\LVLWDSSURSULDWHWROHWWKHPFRPSHWH
   YDUVLW\DQGDMXQLRUYDUVLW\WHDP7KH\FRPSHWHGLQWKH      VHSDUDWHO\"
   IDOOVHDVRQ7KDWZDVDWHDPFRPSHWLWLRQ$QGWKHQWKH      $77251(<9(52))2EMHFWLRQ
   LQGLYLGXDOLQVSULQJVRLWLVD\HDUURXQGVSRUWLQ          7+(:,71(66<HDK,WKLQNPDOHVZRXOG
   7H[DV                                                        LQJHQHUDOGXHWR\RXNQRZWKHLUSK\VLFDO


                                                  3DJH                                                          3DJH
    46RZK\GLGWKH\GLYLGHLWEHWZHHQYDUVLW\DQG         FKDUDFWHULVWLFVZRXOGKDYHDFRXOGKDYHDQ
    MXQLRUYDUVLW\"                                                DGYDQWDJH
    $%HFDXVHVRPHRIWKHNLGVDUHEHFDXVHLW           %<$77251(<75<21
    JLYHVWKHPRUHDGYDQFHGDWKOHWHVDFKDQFHWRFRPSHWHDW        4:KDWNLQGRIDGYDQWDJH"
    WKHYDUVLW\OHYHODQGFDQEHYHU\LQFOXVLYHDQGJLYHD         $77251(<9(52))2EMHFWLRQ
    ORWRINLGVDQRSSRUWXQLW\WRSOD\DOVRDVZHOOZLWKD         7+(:,71(66<HDKJUHDWHUJUHDWHU
    MXQLRUYDUVLW\                                                WHVWRVWHURQHOHYHOVZKLFKFDQOHDGWRZKLFKFDQ
    4$QG\RXKDGQRSUREOHPZLWKWKDWULJKW"              LPSDFWPXVFOHPDVVDQGVL]H
    $77251(<9(52))2EMHFWLRQ                    %<$77251(<75<21
   7+(:,71(667KDW VULJKW                    4$VWKHFRDFKGLG\RXDFWXDOO\REVHUYHWKDW
   %<$77251(<75<21                                            WKHUHZDVDGLIIHUHQFHSHUIRUPDQFHGLIIHUHQFHEHWZHHQ
   4$QGWKHQ\RXVDLGWKH\GLYLGHGLWLQWRER\VDQG      ER\VDQGJLUOVWHDPV"
   JLUOVWHDPV:K\GLGWKH\GRWKDW"                           $,ZRXOG
   $77251(<9(52))2EMHFWLRQ                   4, PVRUU\/HWPHUHSKUDVHWKDW$VWKHFRDFK
   7+(:,71(66%HFDXVHLQJHQHUDOWKDW        GLG\RXDFWXDOO\REVHUYHWKDWWKHUHZDVDSHUIRUPDQFH
   FODVVLILFDWLRQZRUNVEXWWKHUHDUHH[FHSWLRQVWRLW         GLIIHUHQFHEHWZHHQER\VDQGJLUOV"
   %<$77251(<75<21                                            $<HV
   4$QGZKHQ\RXVDLGER\VZKDWGLG\RXPHDQE\         $77251(<9(52))2EMHFWLRQ
   ER\V"                                                         7+(:,71(66,WKLQNLI\RXFRPSDUHWKH
   $,PHDQWKRVHZKRPD\KDYHEHHQFODVVLILHGDVD       PHDQOHYHORIDELOLW\DFURVVWKHWZRWKHQWKHUHLVD
   PDOHLQWKHLUOLYHVDQGDOVRLGHQWLI\WKDWZD\               PRGHUDWHGLIIHUHQFHEXWWKHUHZDVWKHUHZDVELJ
   46RWKHWHDPWKHWHQQLVWHDPZDVEDVHGRQWKRVH      GLIIHUHQFHVZLWKLQHDFKJHQGHU,KDGVRPHYHU\
   ZKRZHUHERUQFODVVLILHGDVPDOHVDQGDOVRLGHQWLILHG        WDOHQWHGPDOHVDQGVRPHPDOHVWKDWZHUHQRWYHU\
   WKDWZD\"                                                     WDOHQWHG$QGWKHVDPHZLWKIHPDOHV$ELOLW\OHYHOV


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0505
                                                  3DJH                                                          3DJH
    UHDOO\YDULHG$QG,KDGIHPDOHVDFURVVP\\HDUV              GHYLDWLRQGR\RXNQRZLIWKHILUVWVWDQGDUGGHYLDWLRQ
    FRDFKLQJKLJKVFKRROWKDWZHUHVWURQJHUWKDQPDOHV6R        ZRXOGRYHUODSEHWZHHQWZRJURXSV"
    LWLVQRWD\RXKDYHWREHFDUHIXOWRVD\WKDWHYHU\       $77251(<9(52))2EMHFWLRQ
    PDOHRXWSHUIRUPVHYHU\IHPDOHEHFDXVHWKDWKDVQRWEHHQ       7+(:,71(66,WKLQNVRLQKLJKVFKRRO
    P\H[SHULHQFH                                                 WHQQLVULJKW
    %<$77251(<75<21                                             %<$77251(<75<21
    48QGHUVWRRG2QWKHDYHUDJHWKRXJKLVLWVDIH       42ND\
    WRVD\WKDWWKHER\VRXWSHUIRUPWKHIHPDOHV"                  +DYH\RXDFWXDOO\WKDW VIURPMXVW\RXU
    $77251(<9(52))2EMHFWLRQ                    JHQHUDOL]HGH[SHULHQFHEXWKDYH\RXDFWXDOO\GRQHD
   7+(:,71(665LJKWLIZHMXVWORRNDWD       GDWDFRPSLODWLRQWRGHWHUPLQHWKDW"
   PHDQDFURVVWKHJHQGHU\HV                                  $77251(<9(52))2EMHFWLRQ
   %<$77251(<75<21                                            7+(:,71(661R
   42ND\                                                %<$77251(<75<21
   <RXXVHGWKHZRUGPHDQLQVWHDGRIDYHUDJH&DQ      4'R\RXNQRZRIVXFKDWKLQJDQ\VWXGLHVWKDWGR
   \RXH[SODLQ"                                                  WKDW"
   $<HVRQDYHUDJH                                     $,FRXOGQ WLGHQWLI\VSHFLILFDOO\VWXGLHVEXW
   42ND\                                                ZKHQ,VHHWKHVHWKLQJVOLNHLI,LI,SLFNXSWKH
   ,MXVWZDQWWRPDNHVXUHZHDUHFRPPXQLFDWLQJ        .DQVDV&LW\SDSHURUDIWHUWKHPDUDWKRQ,VHHPDOHVDQG
   FRUUHFWO\                                                    IHPDOHVLQWHUVSHUVHGDOOWKHZD\WKURXJKZLWKWKHLU
   $6XUH                                                WLPHVULJKW6RLW VQRWDWKLQJZKHUHHYHU\PDOHWKDW
   4+DYH\RXHYHUGRQHORRNHGDWWKHVWDQGDUG        UDQWKHPDUDWKRQRXWSHUIRUPHGHYHU\IHPDOHWKDWUDQWKH
   GHYLDWLRQWKHEHOOFXUYHIRUHDFKRIWKRVHJURXSV"           PDUDWKRQ6R,WKLQNLW VSUHWW\FRQVLVWHQWWKDWWKRVH
   $77251(<9(52))2EMHFWLRQ                   GLIIHUHQFHVDUHVPDOOHUWRRLIZHDUHQRWWDONLQJ
   7+(:,71(66, PIDPLOLDUZLWKWKHEHOO       DERXWWKHHOLWHRIHOLWHDWKOHWHV


                                                  3DJH                                                          3DJH
    FXUYH'R\RXPHDQ"                                       4:KHQ\RXZHUHFRDFKLQJKRZORQJGLG\RXFRDFK"
    %<$77251(<75<21                                             $,FRDFKHGIRXU\HDUVIXOOWLPHDQGWKHQP\
    42ND\                                                 JUDGXDWHSURJUDPDW*UHHQVERUR,ZDV,KDGDQ
    +DYH\RXORRNHGDWWKHEHOOFXUYHIRU                 DVVLVWDQWVKLSDWD0LGGOH6FKRROWRWHDFKWRDVVLVW
    SHUIRUPDQFHEHWZHHQWKRVHWZRJURXSVRIWHQQLVSOD\HUV        WHDFKHUVZLWKWHDFKLQJSK\VLFDOHGXFDWLRQ
    ER\VYHUVXVJLUOV"                                             4,QSDUDJUDSKHLJKWRI\RXUUHSRUWLWVD\VWKDW
    $77251(<9(52))2EMHFWLRQ                    \RXJUDGXDWHGZLWKD0DVWHURI6FLHQFHLQVSRUWV
    7+(:,71(662ND\                              SV\FKRORJ\SHGDJRJ\IURPWKH8QLYHUVLW\RI1RUWK
    ,KDYHEHHQ,KDYHQ WFROOHFWHGGDWD        &DUROLQDLQ*UHHQVERUR1RUWK&DUROLQDLQ'XULQJ
   WKDW,FRXOGVKDUHIURPZKHQ,FRDFKHGKLJKVFKRRO           WKDWGLG\RXWDNHDQ\FODVVHVLQVSRUWVELRPHFKDQLFV"
   :KDW,FRXOGVD\LVWKDWLIZHWRRNDQ\VNLOOOHW V         $,EHOLHYH,WRRNRQH
   VD\WKHLUDELOLW\WRVHUYHDFFXUDWHO\RUKLWDFULVS          4:KDWLVVSRUWVELRPHFKDQLFV"
   YROOH\RUKLWDVROLGEDFNKDQGDFURVVWKHFRXUWWKDW         $6SRUWVELRPHFKDQLFVORRNVDWWKHVWXG\RI
   WKHLUWKRVHEHOOFXUYHVDUHYHU\FORVHWRHDFK            PRYHPHQWDQGKRZWRRSWLPL]HVNLOOVDQGPRYHPHQW
   RWKHUEXWRYHUDOOIRUMXVWORRNLQJDWWKHWZRJURXSV         SDWWHUQV
   WKHER\VFRXOGKDYHDVOLJKWDGYDQWDJH%XWWKRVHWZR        4$QGLVLWIDLUWRVD\WKDWWKHELRPHFKDQLFVRI
   EHOOFXUYHVLIZHDUHORRNLQJDWWKHERWWRPRIWKRVH        PDOHVDQGIHPDOHVDUHGLIIHUHQW"
   \RX UHJRLQJWRVD\WKHUHLVWUHPHQGRXVYDULDELOLW\ZLWK      $77251(<9(52))2EMHFWLRQ
   WKHPDOHVDQGIHPDOHV$QGVRLWLVHDV\WRJHWNLQGRI      7+(:,71(66:LWKUHJDUGWRHYHU\WKLQJ
   IRFXVHGRQWKLVVPDOOPHDQGLIIHUHQFHDFURVVJHQGHUZKHQ      DFURVVWKHERDUGOLNHZDONLQJ"
   WKHUHLVKXJHGLIIHUHQFHVDFURVV\RXNQRZHDFKJHQGHU       %<$77251(<75<21
   DVZHOO                                                      4,QDWKOHWLFVZHOOZH OOWDONDERXWLQ
   %<$77251(<75<21                                            ZDONLQJ,VLWGLIIHUHQWLQZDONLQJ"
   48QGHUVWRRG$VIDUDVWKHILUVWVWDQGDUG            $77251(<9(52))2EMHFWLRQ


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0506
                                                   3DJH                                                         3DJH
    7+(:,71(66,ZRXOGVD\WKHUHLVPRUH           4)DLUHQRXJK
    VLPLODULW\DFURVVWKHJHQGHUVPRUHYDULDELOLW\ZLWKDJH        $77251(<75<21:HOOZH YHEHHQJRLQJD
    WKDQDFURVVJHQGHUVRQPRVWPRYHPHQWV                          OLWWOHRYHUDQKRXU, PKDSS\WRNHHSRQJRLQJ%XW
    %<$77251(<75<21                                              LI\RXQHHGDEUHDNOHWPHNQRZ
    42ND\                                                  $77251(<9(52)),WKLQNLWZRXOGEH
    6R\RXGRQ WWKLQNWKHUHLVDGLIIHUHQFH               JRRGWRWDNHDVKRUWEUHDN
    EHWZHHQPDOHVDQGIHPDOHVLQWKHFRQWH[WRI                     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
    ELRPHFKDQLFV"                                                   FXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH
    $77251(<9(52))2EMHFWLRQ                     2))9,'(27$3(
   7+(:,71(66<HDK,WKLQN,MXVWQHHG         
   VRPHWKLQJPRUHVSHFLILFULJKWLIPDOHVLQJHQHUDOFDQ         :+(5(8321$6+257%5($.:$67$.(1
   JHQHUDWHPRUHSRZHURUVRPHWKLQJLQDSDUWLFXODU               
   PRYHPHQWWKDWPD\EHWKHFDVH,WLVQRWP\DUHDRI          219,'(27$3(
   H[SHUWLVH                                                     9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
   %<$77251(<75<21                                             7KHFXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH
   42ND\)DLUHQRXJK$UH\RXDSV\FKRORJLVW"          %<$77251(<75<21
   $,DPQRW                                             4,QSDUDJUDSKQLQHRI\RXUUHSRUW\RXUHIHUWRD
   4$UH\RXDSV\FKLDWULVW"                               &RDFKHU V*XLGHRI0D[LPL]LQJ<RXWK6SRUW([SHULHQFH
   $1R                                                   $QGGLG\RXZULWHWKDWZKROHERRN"
   4+DYH\RXKDGDQ\FOLQLFDOH[SHULHQFHVHHLQJDQ\       $:LWKFROOHDJXHVZHGLG
   SDWLHQWV"                                                      4'RHVWKDWERRNDGGUHVVWUDQVJHQGHUDWKOHWHVDW
   $1RWFOLQLFDOH[SHULHQFHQR                          DOO"
   42WKHUW\SHVRIH[SHULHQFHVHHLQJSDWLHQWV"            $,WDGGUHVVHVKRZWRFUHDWHDQHQYLURQPHQWWKDW
   $1R                                                   FDQEHLQFOXVLYHDQGKHOSDOODWKOHWHVKDYHDJUHDW


                                                   3DJH                                                         3DJH
    4$QGVR,DSUHVXPH\RXQHYHUWUHDWHGDQ\               H[SHULHQFH,W VQRWVSHFLILFDOO\ZULWWHQ\RXNQRZ
    SDWLHQWV"                                                       LW VQRWDERXWDERXWWUDQVJHQGHUDWKOHWHVRYHUDOO:KDW
    $7KDW VFRUUHFW                                        ,ZRXOGVD\WKH\ UHLQFOXGHGLQWKHVHQVHWKDWLWLV
    4+DYH\RXHYHUZRUNHGDVDFRXQVHORURUVRFLDO          EHQHILFLDOWREHLQFOXVLYHLQVSRUW
    ZRUNHU"                                                         4,VWKHWHUPWUDQVJHQGHUGRHVLWDSSHDULQWKH
    $1R                                                    ERRNDWDOO"
    4+DYH\RXHYHUFRXQVHOHGZLWKNLGVRQHLWKHUD          $%H\RQG, PQRWVXUH
    IRUPDOEDVLVRULQIRUPDOEDVLVRQPHQWDOKHDOWKLVVXHV"         4:KHQZDVWKDWERRNZULWWHQ"
    $, PRQWKHHGXFDWLRQDOVLGHRIVSRUWVSV\FKRORJ\       $,WZDVUHOHDVHGLQ
   DQGVR,PLJKWSURYLGHHGXFDWLRQDOLQIRUPDWLRQULJKW         4:KHQZDVWKHILUVWWLPHWKDW\RXEHFDPHDZDUHRI
   DERXWKRZWRGHYHORSVWURQJPHQWDOVNLOOVULJKWWKDW         WKHLVVXHRIWUDQVJHQGHUJLUOVSDUWLFLSDWLQJLQJLUOV
   DUHJRLQJWRKHOS\RXHQMR\\RXUVSRUWEHWWHUDQG              VSRUWV"
   SHUIRUPEHWWHUULJKW,W VDOORQWKHHGXFDWLRQDO            $77251(<9(52))2EMHFWLRQ
   VLGHVRQRWRQDGLDJQRVLVVLGHRUWUHDWPHQWRIPHQWDO        7+(:,71(66, PQRWVXUH<HDUVDJR,
   KHDOWK7KDWZRXOGEHEH\RQGP\FUHGHQWLDOVDQG,ZRXOG       WDNHFRQIHUHQFHVUHJXODUO\RUVSRUWVSV\FKRORJ\
   UHIHUDWKOHWHVWRVRPHRQHHOVH                                FRQIHUHQFHDQGWKHUHKDVEHHQVHVVLRQVIRUDORQJWLPH
   42ND\                                                 $77251(<75<21/HWPHDVN\RXWRWDNHD
   +DYH\RXHYHUFRXQVHOHGZLWKNLGVRQJHQGHU           ORRNDWVRPHGRFXPHQWV-DNHLI\RXFDQSXOOXSWKH
   G\VSKRULDLVVXHV"                                              GRFXPHQW&RUWLVROHDQG6WUHVV5HVSRQVHGXULQJWKH*DPH
   $,KDYHQRW                                           DQG3UDFWLFHLQ)HPDOH&ROOHJLDWH6RFFHU3OD\HUV
   4+DYH\RXFRXQVHOHGZLWKNLGVRU\RXQJDGXOWVRQ       9,'(2*5$3+(5'R\RXZDQWWKDWPDUNHG"
   WUDQVJHQGHULVVXHV"                                            $77251(<75<21<HVWKLVZRXOGEH
   $,KDYHQRW7RVD\WKDWZRXOGEHEH\RQGP\           1XPEHU
   H[SHUWLVHDQGWUDLQLQJ                                        


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0507
                                                  3DJH                                                           3DJH
     :KHUHXSRQ([KLELW$UWLFOHE\'U            4'R\RXNQRZKRZWKHVWXGHQWLGHQWLILHGLI
    )U\ZDVPDUNHGIRULGHQWLILFDWLRQ             VRPHRQHZDVDIHPDOH"
                                       $,WKLQNVKHXVHGDIHPDOHFROOHJLDWHVRFFHUWHDP
    $77251(<75<21$QGMXVWIRUWKHFRXUW          DQGVRWKRVHZHUHIHPDOHDWKOHWHVRQWKHWHDP
    UHSRUWHUP\QDPHLVVSHOOHG75<21                         4'R\RXNQRZLIDQ\RIWKRVHIHPDOHDWKOHWHVZHUH
    %<$77251(<75<21                                              WUDQVIHPDOHV"
    42ND\                                                  $1R,GRQ W
    7KLVLVDGRFXPHQWDQDUWLFOHWKDW\RXZURWH         4:RXOGWKDWKDYHPDGHDGLIIHUHQFHIRUWKHVWXG\
    FRUUHFW3URIHVVRU)U\"                                         LIVRPHZHUHWUDQVIHPDOHVDQGRWKHUVZHUHZKDW,ZRXOG
   $7KLVZDVD0DVWHU VWKHVLVIURPRQHRIRXU            FDOOELRORJLFDOIHPDOHV"
   VWXGHQWVDQG,VHUYHGRQKHUFRPPLWWHH                        $77251(<9(52))2EMHFWLRQ
   4,VHH:KRLV$QGUHZ)U\"                            7+(:,71(66,GRQ WNQRZ$QG,WKLQN
   $+H VP\KXVEDQG                                      LWZRXOGGHSHQGRQZKHUHWKHWUDQVDWKOHWHVZHUH
   42ND\                                                 %<$77251(<75<21
   :K\GLGWKLVGRFXPHQWRQO\IRFXVRQIHPDOH            4:KHUHWKH\ZHUH":KDWGR\RXPHDQ"
   VRFFHUSOD\HUV"                                                $, PVRUU\ZKHUHWKH\, PVRUU\'DQDMXVW
   $7\SLFDOO\LQD0DVWHU VWKHVLV\RXNLQGRIFDQ       FDPHLQZLWKFRUGVDQG,JRWGLVWUDFWHGIRUDVHFRQG
   NHHSWKLQJVVPDOOHUDQGWLJKWHUDQGLW VQRWOLNHD           :LWKZKHUHWKH\ZHUHLQWKHWUDQVLWLRQLQJSURFHVV
   GRFWRUDOGLVVHUWDWLRQ,WKLQNZRXOGEHRQHRIWKHNH\          $77251(<75<212ND\
   UHDVRQV7KHUH VSUREDEO\EHHQOHVVUHVHDUFKZLWK             ,I\RXFRXOGEULQJXSWKHQH[WGRFXPHQW
   IHPDOHVDQGFRUWLVROEHFDXVHLW VDOLWWOHPRUH                ([DPLQDWLRQRIWKH3V\FKRPHWULF3URSHUWLHVRI3HUFHLYHG
   FRPSOLFDWHGZLWKPHQVWUXDOF\FOHVDQGDOOWKDWWRR           0RWLYDWLRQDO&OLPDWHLQ6SRUWV4XHVWLRQQDLUH
   $QG,WKLQNWKLVDWKOHWH, PVRUU\WKLVVWXGHQWZDV       9,'(2*5$3+(5, PVRUU\&DQ\RXUHSHDW
   YHU\LQWHUHVWHGLQDQ\IHPDOHVWXGHQWWRWKHOLWHUDWXUH       WKDWWLWOH"


                                                  3DJH                                                           3DJH
    4,VWKHUHDGLIIHUHQFHLQFRUWLVRODQGVWUHVV           $77251(<75<21<HV([DPLQDWLRQRIWKH
    UHVSRQVHVEHWZHHQPDOHDQGIHPDOHVRFFHUSOD\HUV"               3V\FKRPHWULF3URSHUWLHVRIWKH3HUFHLYHG0RWLYDWLRQDO
    $77251(<9(52))2EMHFWLRQ                     &OLPDWHLQ6SRUWV4XHVWLRQQDLUH
    7+(:,71(66<HDK\RXNQRZWKLVLV        9,'(2*5$3+(52ND\
    ,ZRXOGQHHGWRUHYLHZWKLV$QGDJDLQLW VEH\RQGP\         -XVWJLYHPHRQHPRPHQW"
    H[SHUWLVHLQORRNLQJDWJHQGHUGLIIHUHQFHVLQFRUWLVRO         7+(:,71(66<RXPD\ZDQWWRWDNHWKLV
    %<$77251(<75<21                                              KRPHIRUEHGWLPHUHDGLQJWRQLJKWULJKW
    46R, PDOLWWOHSX]]OHG<RXVDLGWKDW\RX UH         $77251(<75<217KLVLVQRZPDUNHGDV
    RQWKHFRPPLWWHHWRUHYLHZWKHVWXGHQWV ZRUN'LG,           ([KLELW,EHOLHYH
   JHWWKDWDERXWULJKW"                                          
   $,KHOSHGZLWKWKLVSURMHFWEXWWKLVZDVKHU           :KHUHXSRQ([KLELW$UWLFOHZDV
   WKHVLVUHVHDUFKDQGVKHDOVRKDGVRPH,WKLQN                 PDUNHGIRULGHQWLILFDWLRQ
   SV\FKRORJLFDOPHDVXUHV7KLVKDVEHHQDZKLOH,WZDV        
   SXEOLVKHGLQEXWVKHZDV, PQRWHYHQVXUH,         %<$77251(<75<21
   FRXOGWHOO\RXZKDW\HDUVKHJUDGXDWHGRULIWKLVZDV          4+DYH\RXVHHQWKLVGRFXPHQWEHIRUH"
   ULJKWRYHUEXW\RXNQRZTXLWHDELWRIWLPHKDV              $,KDYH,W VEHHQDZKLOHVLQFH,ORRNHGDWLW
   SDVVHG,ZRXOGKDYHWRJREDFNDQGUHYLHZWKLVDQGLW        EXW\HDK,KDYH
   LVQRWP\SULPDU\DUHDRIH[SHUWLVHEXW,ZDVDQDXWKRU       4$QGZKDWLVWKHSXUSRVHRIWKLVGRFXPHQW"
   RQWKLVSDSHU                                                 $6RWKHUHZDVDPHDVXUHDSHUFHLYHGPRWLYDWLRQDO
   46RZKHQ\RXVD\\RX UHDQDXWKRUGRHVWKDWPHDQ      FOLPDWHRIVSRUWVTXHVWLRQQDLUH$QG0DULD1HZWRQLQ
   \RXZURWHSRUWLRQVRILWRUMXVWVXSHUYLVHGLW"                KHUGLVVHUWDWLRQVKHZDQWHGWRH[SDQGRQWKHPHDVXUH
   $<RXNQRZLWYDULHVDQG,ZRXOGKDYHWRJREDFN       DQGFUHDWHOLWWOHVXEVFDOHVZLWKLQZKDWZHFDOOWDVNLQ
   WRWKLVRQH+RQHVWO\LQUHYLHZLQJLW,KDYHQ W             HJRLQYROYLQJFOLPDWHV$QG,WKLQNVKHUDQLWZLWKD
   ORRNHGDWWKLVLQDORQJWLPH                                 FRXSOHRIVDPSOHVKHUHMXVWWREHDEOHWRWHVWWKH


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0508
                                                   3DJH                                                          3DJH
    SV\FKRPHWULFVRIWKHPHDVXUH                                   46RMXVWWREHFOHDU\RXDUHQRWDQH[HUFLVH
    4:K\ZDVWKLVRQHOLPLWHGWRIHPDOHDWKOHWHV"           SK\VLRORJLVWULJKW"
    $,W VDJRRGTXHVWLRQ:K\GRHVDQ\UHVHDUFKHU         $,DPQRW
    LQFOXGHVIHPDOHVPDOHVDQGRUERWK"0DULDKDGDFFHVV          4$QG\RXDUHQRWDPHGLFDOGRFWRU
    WRDV,UHPHPEHUDPDVVLYHWRXUQDPHQWYROOH\EDOO             &RUUHFW"
    WRXUQDPHQWDQGFRXOGJHWWKHJURXSRQERDUGDQGEHDEOH         $7KDW VFRUUHFW
    WRDFFHVVDORWRIWHDPVEHFDXVHUHVHDUFKLVKDUGWRGR        4$QG\RXGRQ WKDYHH[SHUWLVHLQWKHVFLHQFHRI
    <RXUHDOO\QHHGWREHDEOHWRDFFHVVDQXPEHURIWHDPV          SHUIRUPDQFHDGYDQWDJHGR\RX"
    DQGVKHZDVDEOHWRGRWKDWZLWKWKLVVWXG\                    $1R
   46R\RXGRQ WNQRZZK\LWZRXOGEHVHSDUDWHGWR        4$QG\RXKDYHQRH[SHUWLVHLQVSRUWVVDIHW\,V
   EHRQO\IRUIHPDOHDWKOHWHV"                                   WKDWWUXH"
   $,WKLQNVKHZDVRQO\LQWHUHVWHGLQYROOH\EDOO         $<HVWUXH
   DQGLQSDUWLFXODUIHPDOHV                                     4$QGGR\RXKDYHDQ\H[SHUWLVHLQFRQFXVVLRQ
   4,VWKHUHDGLIIHUHQFHLQYROOH\EDOOEHWZHHQ           PDQDJHPHQW"
   IHPDOHDQGPDOHDWKOHWHV"                                      $1R
   $77251(<9(52))2EMHFWLRQ                    4'R\RXKDYHDQ\H[SHUWLVHLQ$&/LQMXULHV"
   7+(:,71(66$GLIIHUHQFHLQZKDWVHQVH"        $1R
   %<$77251(<75<21                                             4+DYH\RXGRQHDQ\UHVHDUFKVWXGLHVRUSDSHUV
   4,QSV\FKRPHWULFSURSHUWLHVWKHSHUFHLYHG             UHJDUGLQJWUDQVJHQGHUIHPDOHVLQVSRUWV"
   PRWLYDWLRQDOFOLPDWH"                                          $1R
   $2ND\                                                 4+DYH\RXWDXJKWDQ\FODVVHVRQWKDW"
   6RZKLOHVKHGLGQ WORRNDWWKDWLQWKHVWXG\         $1RWOLNHDFRPSOHWHFRXUVHEXWLW VDWRSLF
   EHFDXVHVKHRQO\KDGIHPDOHVVRZHMXVWKDYHWRORRNDW       WKDWZHFDQFRYHULQRXUXQGHUJUDGXDWHVFRUHSV\FKRORJ\
   WKHEURDGHUOLWHUDWXUHULJKW$QGWKHWKHRU\                 FODVV


                                                   3DJH                                                          3DJH
    SUHGLFWLRQVKROGXSLQWKDWDWKOHWHVFDQSHUFHLYHWKH           4$QGVRLVWKDWDFODVVWKDW\RXWHDFK"
    FOLPDWHDVYHU\WDVNLQYROYLQJRUHJRLQYROYLQJULJKW         $<HV
    $QGLQVRPHVDPSOHVDWKOHWHV\RXNQRZPDOHVRUIHPDOHV        4$QGZKDWH[DFWO\KDYH\RXFRYHUHGZLWKUHJDUGWR
    PD\VHHLWRQHZD\RUDQRWKHUPRUHEXWWKHSUHGLFWLRQV         WUDQVJHQGHUIHPDOHVLQWKDWFODVV"
    MXVWDOLJQFRQVLVWHQWO\WKDWLI\RXSHUFHLYHWKHWDVN           $6RODWHWKLVVHPHVWHU, PWHDFKLQJWKHFODVVDQG
    LQYROYLQJFOLPDWHDWOHDVWWRJRRGWKLQJV/LNHSHRSOH         ODWHULQ$SULOZHKDYHDWUDQVDWUDQVIHPDOHZKRLV
    KDYHPRUHIXQDQGWU\KDUGHUWKH\ UHPRUHFRPPLWWHGWR         DUHWLUHGDWKOHWHDQGFRDFKFRPLQJLQIRUWKDWGD\DQG
    WKHLUVSRUWVWKH\KDYHEHWWHUUHODWLRQVKLSVZLWK               ZHZLOOSUREDEO\WDNHDSDUWLDOFODVVEHIRUHWKDWMXVW
    RWKHUVWKRVHNLQGRIWKLQJV                                   WRKDYHVRPHGLVFXVVLRQVDQGOD\VRPHJURXQGZRUN,WLV
   4$OOULJKW                                            DQHGXFDWLRQDOVHVVLRQZKHUHZHMXVWZHKDYH
   $77251(<75<21, PILQLVKHGZLWKWKDW         VWXGHQWVZKRPD\EHZHOOLQIRUPHGDQGSDVVLRQDWHDERXW
   H[KLELWWKHQ/HWPHWKHQDVN\RXVRPHRWKHUTXHVWLRQV       WUDQVDWKOHWHVLQVSRUWDQGZHKDYHKDGRWKHUVWXGHQWV
   %<$77251(<75<21                                             ZKRKDYHKDGYHU\OLWWOHH[SRVXUH6RLW VQRWDELJ
   4,V\RXUH[SHUWLVHOLPLWHGWRVSRUWVSV\FKRORJ\"       LW VQRWDELJFKXQNRIWKHFODVVULJKWLW VD
   $6SRUWVSV\FKRORJ\LVDEURDGWHUP\RXNQRZEXW      FODVVRUWZRWKDWZHWRXFKRQLW
   \HV,ZRXOGVD\WKDWLVP\H[SHUWLVH,GRQ WNQRZLI        4$VLGHIURPDQ\UHVHDUFKKDYH\RXDWWHQGHGDQ\
   \RXZRXOGFRQVLGHU\RXWKVSRUWDVDSDUWRIWKDW              VHPLQDUVRUFODVVHVRQWUDQVJHQGHUIHPDOHVLQVSRUWV"
   4, PVRUU\,PLVVHGZKDW\RXVDLG                   $<HV7\SLFDOO\DWRXUQDWLRQDOFRQIHUHQFHWKH
   $7KH\RXWKVSRUW                                      $VVRFLDWLRQRI$SSOLHG6SRUWV3V\FKRORJ\\RXNQRZ
   42K\RXWKVXSSRUW"                                    WKDW VDMDPSDFNHGVFKHGXOHDQGSUREDEO\PRVW
   $<HVLQSDUWLFXODUZLWKLQVSRUWVSV\FKRORJ\P\        FRQIHUHQFHV, OOVLWLQRQDVHVVLRQ6RPHWLPHVWKH\
   IRFXVKDVEHHQRQ\RXWK                                       WKH\ZLOOGRDZHELQDUWKLQJVOLNHWKDW6RRYHU
   42ND\                                                 WKH\HDUV\HV,KDYHSDUWLFLSDWHGLQWKRVH
   $1RWH[FOXVLYHO\                                      4+DYH\RXUHYLHZHGDQ\OLWHUDWXUHRQWUDQVJHQGHU


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0509
                                                   3DJH                                                          3DJH
    SDUWLFLSDWLRQLQVSRUWVWRSUHSDUH\RXURSLQLRQLQWKLV         WKHUH
    FDVH"                                                           9,'(2*5$3+(5,ZRXOGQRWHWKDWZH
    $/LNHRYHUWKHODVWWZR\HDUV, YHUHDGVRPH,        JDLQHGDQRWKHUSDUWLFLSDQW,IWKH\ZRXOGLGHQWLI\
    FRXOGQ WSRLQWRULGHQWLI\KH\WKLVLVH[DFWO\WKH            WKHPVHOYHVIRUWKHUHFRUG
    OLWHUDWXUH, YHUHDG-XVWVRPHRQHZKR VUHDGLQJRIWHQ         $77251(<3(/(7*RRGPRUQLQJ0\QDPH
    LQP\\RXNQRZZLWKLQVSRUWVSV\FKRORJ\                   LV9DOHULD3HOHWGHO7RURIRU&RROH\/3IRU3ODLQWLII
    4<RXUELEOLRJUDSK\GRHVQ WLQFOXGHDQ\SDSHUV           %3-
    VWXG\LQJWUDQVJHQGHUDWKOHWHVGRHVLW"                         7+(:,71(667KDQN\RXIRUWKDWWLPH
    $1R                                                    7KH+RJXH)U\DQG)U\,KDYHWRUHYLHZWKDW
   4$QGKDYH\RXGRQHDQ\VWXGLHVRUSDSHUV               SDSHU,FDQ WUHPHPEHULIWKHUHZHUHDQ\JHQGHU
   UHJDUGLQJWKHKDUPWRPRWLYDWLRQRQIHPDOHVZKHQ               GLIIHUHQFHV7KHVHZHUH0LGGOH6FKRRONLGVZKR
   ELRORJLFDOER\VRUWUDQVWUDQVJHQGHUJLUOVDUHDOORZHG         ZHUH
   WRFRPSHWHRQJLUOVWHDPV"                                     %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    4/HWPHVWRS\RXIRUMXVWDVHFRQG&DQ\RXWHOO
   7+(:,71(66,KDYH                           PHZKDWSDJHWKDW VRQ"
   %<$77251(<75<21                                             $<HVSDJHWKHVHFRQGIURPWKHODVW
   4'R\RXPHDQKDYHQRW"                                 UHIHUHQFH
   $, PVRUU\KDYHQRW                                  4$QGZKLFKRQHLVLWDJDLQ"
   4+DYH\RXWDXJKWDQ\FODVVHVRQWKDWWRSLF"            $7KH+RJXH)U\DQG)U\
   $77251(<9(52))2EMHFWLRQ                    43DJH\RXVDLG"
   7+(:,71(66,KDYHQRW                       $<HVSDJHWKHVHFRQGUHIHUHQFHIURPWKH
   %<$77251(<75<21                                             ERWWRPRIWKHSDJH
   4+DYH\RXDWWHQGHGDQ\VHPLQDUVRUFODVVHVRQ          4, PVHHLQJ:DOOLQJ0'
   WKDWWRSLF"                                                    $2ND\6RUU\


                                                   3DJH                                                          3DJH
    $77251(<9(52))2EMHFWLRQ                     40D\EHWKHSDJLQDWLRQLVGLIIHUHQWRQ\RXUFRS\
    7+(:,71(66,KDYHQRW                         $, PVRUU\$UH\RXORRNLQJDWWKHH[SHUWUHSRUW
    %<$77251(<75<21                                              DQG'HFODUDWLRQ"
    4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJ                 4<HV,DP
    GLIIHUHQFHVIRUPRWLYDWLRQEHWZHHQPDOHVDQGIHPDOHV"           $2ND\
    $77251(<9(52))2EMHFWLRQ                     ,WVKRXOGEHWKHVDPH,I\RXJRLQ
    7+(:,71(66<HV                               DOSKDEHWLFDORUGHU+RJXHZLWKDQ++2*8(
    %<$77251(<75<21                                              42ND\
    42ND\                                                  +HUHLVWKHLVVXH,VHH+RJXHHWFHWHUD
   :HOOZKDWDUHWKRVH"                                 $<HV
   $2ND\                                                 47KHUH VWZRE\+RJXH:KLFK\HDU"7KH\ UHERWK
   ,WKLQNLQRKJRVKLQVRPHWLPHVLQ          
   SDSHUVZH\RXNQRZZHVHHLIWKHUHZHUHJHQGHU               $7KH
   GLIIHUHQFHVLQWHUPVRIPRWLYDWLRQ:KHQWKHUHDUH            4:KDWLVWKHWLWOH"
   GLIIHUHQFHVWKH\ UHVOLJKWDQGZHDUHEDFNWRWKDWEHOO        $7KHWLWOHLVWKH'LIIHUHQWLDO,PSDFWRI
   FXUYHPHDQWKLQJWKDWWKHUHPLJKWEHDVOLJKWGLIIHUHQFH       0RWLYDWLRQDO&OLPDWHRQ$GROHVFHQWV3V\FKRORJLFDODQG
   EXWWKH\GRQ WLPSDFWWKHK\SRWKHVHVLQWKHVHQVHWKDW         3K\VLRORJLFDO6WUHVV5HVSRQVHV
   LQWKHVHQVHWKDWVRPHRQHKDVDKLJKWDVN                  $77251(<75<21,WLVRQSDJHWKUHH
   RULHQWDWLRQDQGRUSHUFHLYHVDWDVNLQYROYLQJFOLPDWHRU       &DQ\RXEULQJWKDWXS-DNH",WLVXQGHU
   FDULQJFOLPDWHZKHWKHU\RXDUHPDOHRUIHPDOHWKRVH           9,'(2*5$3+(5,ZDVWU\LQJWRORRNIRU
   SUHGLFWLRQVKROGXSLQWHUPVRIWKHRXWFRPHV                  LWWRR
   4$UHWKHUHSDSHUVLQ\RXUELEOLRJUDSK\WKDWZRXOG      $77251(<9(52)),WKLQNWKHUHLVWZR
   VKRZWKDWWREHWKHFDVHWKDWLW VWKHVDPHIRUER\VDQG       SDJHV6RWKHUHLVDELEOLRJUDSK\WKDWGLUHFWO\
   JLUOV)HHOIUHHWRWDNHDORRNDWLW<RXKDYHJRWLW       IROORZVWKHH[SHUWUHSRUWDQGWKHQWKHUHLVWKH


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0510
                                                  3DJH                                                          3DJH
    FLWDWLRQVWKDWDUHHQFRPSDVVHGLQ([KLELW$WKHILUVW          GLIIHUHQFHEHWZHHQWKHPWKDWLV"
    SDJH                                                        $<HDK,WKLQNZLWKDQ\RIWKHVHVWXGLHV
    $77251(<75<217KDQN\RX-XOLHIRU           KRQHVWO\,MXVWKDYHWRJREDFNDQGVHHLIWKHUHZHUH
    KHOSLQJXVRXWZLWKWKDW,VHHLWQRZ, PVRUU\IRU         DQ\PLQRUOLWWOHGLIIHUHQFHVEHWZHHQJHQGHUEXWDFURVV
    WKDWFRQIXVLRQ                                                 JHQGHUWKHUHVXOWVDUHFRQVLVWHQW
    %<$77251(<75<21                                              42ND\$OOULJKW
    4<RXZHUHJRLQJWRH[SODLQWKDWSDSHU                  /HWPHDVN\RXKDYH\RXSUHSDUHGDQ\SDSHUV
    $, PVRUU\'LG\RXDVNPHWRH[SODLQWKHSDSHU"       UHJDUGLQJPRWLYDWLRQVIRUELRORJLFDOER\VLGHQWLI\LQJDV
    4<HV<RXZHUHVWDUWLQJWRWDONDERXWWKDWVR,       JLUOV"
   ZRXOGDSSUHFLDWHLI\RXFRXOGWDONDERXWWKDW"                 $,KDYHQRW
   $6RLQWKLVVWXG\0LGGOH6FKRRONLGVDUH               4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJ
   UHFUXLWHGWRSDUWLFLSDWHLQDQLQWHUYHQWLRQ7KH\FRPH        WUDQVJHQGHUJLUOV"
   LQDQGWKH\OHDUQDQDFWLYLW\$QGWKH\ UHDVVLJQHG       $,KDYHQRW
   UDQGRPO\DVVLJQHGWRHLWKHUFDULQJWDVNLQYROYLQJ              4+DYH\RXVWXGLHGWKDWLVVXH"
   FOLPDWHRUDQHJRLQYROYLQJFOLPDWH$QGDVWKH\              $1R
   SDUWLFLSDWHDFURVVWKHLQWHUYHQWLRQVWKHLUFRUWLVROLV        4:RXOGWKDWEHVRPHWKLQJZRUWKVWXG\LQJ"
   PHDVXUHG&RUWLVROLVDVWUHVVKRUPRQHDQGLWFDQ             $,WFRXOG, PVRUU\&RXOG\RXUHSHDWWKDW"
   LQGLFDWHWKDWSHRSOHDUHH[SHULHQFLQJKLJKHUVWUHVV           40RWLYDWLRQUHJDUGLQJWUDQVJHQGHUJLUOV"
   $QGVRLQWKLVVWXG\ZHIRXQGWKDWDWKOHWHVLQWKH             $<HVLWFRXOGEHYDOXDEOH
   FDULQJWDVNHQYLURQPHQWFOLPDWHWKHLUFRUWLVROOHYHOV         4$VIDUDV\RXNQRZKDVDQ\RQHVWXGLHGWKDW"
   DFWXDOO\GHFUHDVHGULJKWVXJJHVWLQJWKDWWKH\ZHUHQRW       $<HDK,\RXNQRZ,KHDUSHRSOHVD\LQJ\RX
   VWUHVVHG,QDGGLWLRQWKH\KDGPRUHIXQWKH\LQGLFDWHG       NQRZWKDWWKHUHLVMXVWJRLQJWREHPRUHDQGPRUH
   WKH\WULHGKDUGHUWKH\PDGHPRUHSURJUHVVOHDUQLQJWKH        UHVHDUFKFRPLQJRXW,WKLQNWKHUHLVLVRODWHGSDSHUV
   DFWLYLW\WKH\H[SHULHQFHG\RXNQRZOHVVVKDPHOHVV         RXWWKHUHSUREDEO\WKDWSHRSOHKDYHKDGDORRNDWRU


                                                  3DJH                                                          3DJH
    HPEDUUDVVPHQWOHVVDQ[LHW\7KDWLVZKDW, PUHFDOOLQJ        EXW,FRXOGQ WQDPHWKHPULJKWQRZIRU\RX
    IURPPHPRU\RND\7KHUHDUHSUREDEO\DFRXSOHRIRWKHU        4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJFRDFKLQJ
    WKLQJV                                                         WUDQVJHQGHUJLUOVYHUVXVELRORJLFDOJLUOV"
    $QGLIWKH\SDUWLFLSDWHGLQDQHJRLQYROYLQJ         $,KDYHQRW
    FOLPDWH\RXJRWWRIOLSDOORIWKRVH7KH\GLGQ WKDYH         $77251(<9(52))2EMHFWLRQ
    DVPXFKIXQGLGQ WLQGLFDWHWKDWWKH\ZDQWHGWR                %<$77251(<75<21
    FRQWLQXHZLWKWKHDFWLYLW\DQGWKHLUFRUWLVROOHYHOV            4$UH\RXDZDUHRIDQ\VWXGLHVWKDWGRDGGUHVV
    ZHUHVLJQLILFDQWO\KLJKHUWKDQWKRVHLQWKHRWKHUJURXS        WKDW"
    $QGWKHUHVXOWVZHUHFRQVLVWHQWIRUPDOHVDQGIHPDOHV          $77251(<9(52))2EMHFWLRQ
   :KDW,ZRXOGKDYHWRJREDFNDQGFKHFNLVZHUHWKHUHDQ\       7+(:,71(661R
   JRLQJEDFNWRWKHVHVOLJKWPHDQGLIIHUHQFHVZHUH          %<$77251(<75<21
   WKHUHDQ\GLIIHUHQFHVEHWZHHQWKHPDOHVDQGIHPDOHVLQ         4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJWKH
   WKHRWKHUYDULDEOHV$QGWKDW,FRXOGQ WWHOO\RX             RSSRUWXQLW\IRUFROOHJLDWHDWKOHWLFVFKRODUVKLSV
   ZLWKRXWUHYLHZLQJLW%XWLQJHQHUDOWKHSXUSRVHRI          PRWLYDWHVVWXGHQWDWKOHWHV"
   WKHVWXG\ZDVWRVHHKRZWKLVHQYLURQPHQWDIIHFWVNLGV         $+DYH,SUHSDUHGDQ\SDSHUV"
   DQGWKHUHVXOWVZHUHVLPLODUIRUPDOHVDQGIHPDOHV            47KDWLVP\TXHVWLRQ
   4$QGZKDWDJHJURXSZDVWKDW"                          $1R
   $7KLVZDV0LGGOH6FKRROVRVL[VHYHQDQGHLJKW       4:RXOG\RXDJUHHWKDWWKHRSSRUWXQLW\IRU
   JUDGHUV,WKLQNLWOHDQHGKHDYLHURQWKHVL[JUDGH          FROOHJLDWHDWKOHWLFVFKRODUVKLSVGRHVLQIDFWPRWLYDWH
   VHYHQJUDGHSDUWLFLSDQWVEXWWKHPHDQDJHZDVSUREDEO\        WKHVWXGHQWDWKOHWHV"
                                                               $6RPHVWXGHQWDWKOHWHV
   4$Q\RWKHUSDSHUVLQ\RXUELEOLRJUDSK\WDONLQJ         41RZ\RXTXDOLI\WKDWDVVRPH$Q\LGHDZKDW
   DERXWZKHWKHURUQRWWKHUHLVDGLIIHUHQFHEHWZHHQPDOHV       WKDWSHUFHQWDJHPLJKWEH"
   DQGIHPDOHVDQGKRZWKH\DUHPRWLYDWHGLIWKHUHLVDQ\        $1R


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0511
                                                   3DJH                                                         3DJH
    4$UH\RXIDPLOLDUZLWK7LWOH"                         WKHLUSRWHQWLDORUKHOSWKHPSHUIRUPEHWWHU,WLVD
    $77251(<9(52))2EMHFWLRQ                     PL[RIWKHRUJDQL]DWLRQ7KHUHDUHSHRSOHZKRDUH
    7+(:,71(66<HVWRVRPHGHJUHH                IDFXOW\PHPEHUVDQGSHRSOHWKDWDUHLQYROYHGLQWKH
    %<$77251(<75<21                                              WHDPDUHLQYROYHGLQSURJUDPVEXWWKHUH VDOVRSHRSOH
    47HOOPHZKDW\RXUXQGHUVWDQGLQJRI7LWOHLVLQ       WKDWDUHWUDLQHGRQWKHFOLQLFDOVLGHRUWKDWDUHPRUH
    WKHFRQWH[WRIJLUOVVSRUWV                                    IRFXVHGRQVRUWRIFRXQVHOLQJDVSHFWVRIVSRUWV
    $77251(<9(52))2EMHFWLRQ                     SV\FKRORJ\
    7+(:,71(660RUHRSSRUWXQLWLHVDUH             4$UH\RXDFWXDOO\DPHPEHURIWKHRUJDQL]DWLRQ"
    SURYLGHGWRJLUOVWRWKHVDPHGHJUHHDVER\VDQGWKDW           $<HV,DP
   IDLUQHVVLVJLYHQDFURVVRWKHUDVSHFWVRIUHVRXUFHVDQG        41RZRQWKHZHEVLWHLWVDLGWKDWWKHUHLV
   VRRQIDFLOLWLHVDQGWKLQJVOLNHWKDW                        PHPEHUVLQFRXQWULHV,VWKDWDERXWULJKWWR\RXU
   %<$77251(<75<21                                             NQRZOHGJH"
   4+DYH\RXHYHUZULWWHQDQ\SDSHUVRQ7LWOH"          $7KDWVRXQGVULJKW
   $1R                                                   46R,GLYLGHGWKDWRXW7KDWZRXOGEHSHU
   4+DYH\RXZULWWHQDQ\SDSHUVRQFROOHJH                FRXQWU\7KDWGRHVQ WVRXQGYHU\ELJSHUFRXQWU\6R
   VFKRODUVKLSVIRUJLUOV"                                        OHWPHDVN\RXGR\RXNQRZKRZPDQ\RIWKRVHDUH
   $2QFROOHJHVFKRODUVKLSVIRUJLUOV"                    PHPEHUVDUHLQWKH8QLWHG6WDWHV"
   4<HV                                                  $,GRQ WNQRZ,ZRXOGJXHVVLW VKHDYLO\
   $1R                                                   ZHLJKWHGLQWKH86,ZRXOGVD\RYHUKDOI,WKLQN
   46R\RXZRXOGQ WEHDQH[SHUWRQWKDWZRXOG\RX"      WKHUH VDORWRIFRXQWULHVWKDWPLJKWKDYHRQHSHUVRQRU
   $1R                                                   VR6RHYHQWKRXJKFRXQWULHVDUHUHSUHVHQWHG\RX
   4+DYH\RXVXEPLWWHGDQ\FRPPHQWVWRWKH                NQRZVRPHRIWKHPDUHVPDOODQGPD\KDYHDUHDOO\VPDOO
   'HSDUWPHQWRI(GXFDWLRQRQSURSRVHGUXOHVRUUHJXODWLRQV       SDUWLFLSDWLRQULJKW
   XQGHU7LWOH"                                                 42ND\)DLUHQRXJK


                                                   3DJH                                                         3DJH
    $1R                                                    6R\RXPHQWLRQLQWKLVSDUDJUDSKWKH
    4/HWPHDVN\RXDTXHVWLRQDOLWWOHELWGLIIHUHQW       FHUWLILFDWLRQH[DP6RWKHUHLVDFHUWLILFDWLRQH[DP
    WKDQWKHRQHHDUOLHU&DQWKHRSSRUWXQLW\IRU                  ,VWKDWULJKW"
    VFKRODUVKLSVIRUJLUOVFROOHJLDWHVSRUWVEHDPRWLYDWRU         $<HV,W VSUHWW\QHZ7KHUHKDVEHHQD
    IRUJLUOVWRFRPSHWHLQJLUOVVSRUWV"                           FHUWLILFDWLRQ7KHIDFWWKDWLWLVH[DPEDVHGLVDQHZ
    $,WFDQEHIRUVRPHDWKOHWHV                           GLUHFWLRQRYHUWKHODVWIHZ\HDUV
    46RLQSDUDJUDSKRI\RXUH[SHUWUHSRUWZKLFK        4:KDWLVWKHSXUSRVHRUPHDQLQJRIWKDW
    LV([KLELWLWVD\VRQWKHQDWLRQDOOHYHO, YHVHUYHG         FHUWLILFDWLRQ"
    ZLWKWKH$VVRFLDWLRQRI$SSOLHG6SRUWV6SRUW                $,W VFDOOHG&03&&HUWLILHG0HGLFDO3HUIRUPDQFH
   3V\FKRORJ\$$63DVDPHPEHURIWKH3URJUDP5HYLHZ            &RQVXOWDQWDQGLWLVJRRGIRUWKHILHOGEHFDXVHWKH
   &RPPLWWHH7KDWLVFRUUHFWLVQ WLW"                         SHRSOHZKRKDYHWKDWFUHGHQWLDOLWGHVLJQDWHVVRUWRI
   $<HV                                                  \RXNQRZDFFHSWDEOHOHYHORIFRPSHWHQFHWRJRRXWDQG
   4,W VP\XQGHUVWDQGLQJWKDWWKHSXUSRVHRIWKDW        WRZRUNZLWKDWKOHWHVDQGFRDFKHV6RWKHUHLVDQXPEHU
   RUJDQL]DWLRQLVSULPDULO\WRKHOSWUDLQFRDFKHV               RIFRXUVHVSHRSOHKDYHWRKDYH7KH\KDYHWRKDYHKRXUV
   ,VWKDWIDLU"                                         RIWUDLQLQJZRUNLQJGLUHFWO\ZLWKDWKOHWHV$QGWKHQ
   $1RWKDWZRXOGEHQRWDFFXUDWH                       ZKHQWKH\FRPSOHWHDOOWKRVHUHTXLUHPHQWVWKH\WDNH
   47HOOPHWKHSXUSRVHRILW                            WKH\WDNHDQH[DP
   $2ND\                                                 4+DYH\RXWDNHQWKHH[DP"
   ,WLVDQRUJDQL]DWLRQRISURIHVVLRQDOVWKDWZRUN      $, P, PDERXWWRLQWKHFRPLQJPRQWKV$
   LQWKHDUHDRIVSRUWDQGH[HUFLVHSV\FKRORJ\DQGWRVD\        OLWWOHEDFNVWRU\RQWKLVLVWKDWWKHFHUWLILFDWLRQ
   WKHUH VSUREDEO\WZRDLPVWKDWWKHVHSURIHVVLRQDOVDUH        RULJLQDOO\FDPHRXWDV,ZDVZUDSSLQJXSP\GRFWRUDO
   WU\LQJWRKHOSSHRSOHDZLGHYDULHW\RISHRSOHDFURVV         WUDLQLQJDQG,ZRXOGKDYHQHHGHGWRVWD\DQRWKHU\HDU
   WKHOLIHVSDQUHDSRIIWKHEHQHILWVIURPSDUWLFLSDWLRQLQ       WRJHWWKHRWKHUUHTXLUHPHQWVWKDW,ZDVPLVVLQJDQGP\
   SK\VLFDODFWLYLW\DQGDOVRKHOSSHRSOHSHUIRUPXSWR           GRFWRUDODGYLVRUDWWKHWLPHVDLG\RXNQRZ\HDK, G


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0512
                                                   3DJH                                                         3DJH
    MXVWJRDQGJUDGXDWHDQGJHWUROOLQJLQ\RXUFDUHHU            4'LG\RXZDQWWRZLQ"
    $QGVKHZDVQ WVXUHLIWKLVZRXOGWDNHRIIRUKRZELJD         $,GLG
    GHDOLWZRXOGEHDQGVRRYHUWKH\HDUVLWKDVEHHQVRUW        4$QGVRZHUH\RXOHW VJREDFNWRWKHWHUPV
    RIVORZWRWDNHRII,KDYHIRUH[DPSOHSHRSOHFRPH          \RXDOUHDG\PHQWLRQHGOLNHHJRRULHQWHGDQGWDVN
    DQGVD\GR\RXKDYHWKLV$$63&HUWLILFDWLRQXQWLOWKH           RULHQWHGULJKW"
    ODVW\HDURUWZR6R,WKLQNWKHSXEOLFLVEHFRPLQJ           $8KKXK \HV \HV
    \RXNQRZPRUHDZDUHRILW                                     4$QGVRWHOOPHMXVWLQOD\PDQ VWHUPVZKDWWKRVH
    ,ZDVDVNHGWRZULWHWKHFKDSWHULQWKH              PHDQ
    (VVHQWLDOV7H[WZKLFKLVUHDOO\WKHWH[WIRUSHRSOHWR         $2ND\
   SUHSDUHIRUWKHH[DP$QGVR,ZDVDVNHGWRZULWHWKH         7KH\ZHUHGHYHORSHGLQDWKHRU\E\DJX\QDPHG
   PRWLYDWLRQFKDSWHUDNH\FKDSWHURQPRWLYDWLRQ                -RKQ1LFKROOVDQGKHVDLGZKDWKHZDVUHDOO\WKH
   WKHRULHV$QGVRWKHUH VWKLVGRXEOHEOLQGV\VWHPRQ          TXHVWLRQKHZDVWU\LQJWRDGGUHVVLVZKDWVKRXOGZHEH
   ZULWLQJRQHRIWKHFKDSWHUVWKDW,QHHGHGWRZDLWORQJHU       GRLQJLIZHDUHWU\LQJWRKHOSHYHU\DWKOHWHUHDFKWKHLU
   WRDFWXDOO\WDNHWKHH[DP%XWFXUUHQWO\, PDQ               RZQSRWHQWLDO$QGVRKLVWKHRU\LWKDVWKUHHIDFHWVWR
   DSSURYHGPHQWRUWRWUDLQVWXGHQWVZKRDUHVHHNLQJWKH          LW2QHLVWKHJRDORULHQWDWLRQDQGWKRVHUHIHUWR\RXU
   FHUWLILFDWLRQ                                                 SHUVRQDOGHILQLWLRQRIVXFFHVV$QGVRVRPHSHRSOH
   4%XW\RXGRQ WKDYHWKHFHUWLILFDWLRQDWWKLV          KHLGHQWLILHGWZRWDVNRULHQWDWLRQDQGHJR$QGSHRSOH
   SRLQW                                                         ZKRKDYHDKLJKWDVNRULHQWDWLRQWKH\UHDOO\IHHOPRVW
   &RUUHFW"                                              VXFFHVVIXOZKHQWKH\FDQZDONDZD\NQRZLQJWKH\JDYH
   $5LJKW-XVWDVDPHQWRU,KDYH,UHFHLYHG      WKHLUEHVWHIIRUWDQGWKH\ UHIRFXVHGRQWKHLU
   DOOWKHWKXPEVXSRQHYHU\RQ\RXNQRZ\RX            LPSURYHPHQWRYHUWLPH%XWWKDWLVZKHUHJHQXLQH
   VXEPLWDSDFNHWRIPDWHULDOVVKRZLQJ\RXKDYHDOOWKH          IHHOLQJVRIVXFFHVVFRPH
   FUHGHQWLDOVDQGDOO6R, YHGRQHWKDW,MXVWQHHG          ,QFRQWUDVWVRPHSHRSOHKDYHDVWURQJHJR
   QRZWRVLWIRUWKHH[DP$QG,KDYHQ WGRQHWKDW\HW         RULHQWDWLRQDQGWKH\ UHPRUHIRFXVHGRQKRZWKH\FRPSDUH


                                                   3DJH                                                         3DJH
    ,ZLOOSUREDEO\GRLWRQFHWKHVHPHVWHULVRYHU                WRHYHU\RQHRUDUHWKH\ZLQQLQJ$QGWKH\PD\VD\
    4'R\RXFRQVLGHU\RXUVHOIDQDWKOHWH"                   \HDKJRRGIRUPH,WULHGKDUGZKRFDUHV:KDW,FDUH
    $, PVPLOLQJ,GR                                    DERXWLVKRZGLG,FRPSDUHWRHYHU\RQH'LG,
    42ND\                                                  GHPRQVWUDWHFRQILGHQFH"'LG,ORRNEHWWHUWKDQRWKHUV
    $,ZRUNFORVHO\ZLWKWKH:RPHQ V,QQHU6SRUW            GLG,ZLQ"
    1HWZRUNLQ.DQVDV&LW\DQGWKH\VD\WKDWVKRXOGEHWKH          4$QGFDQVRPHERG\KDYHERWKDQHJRRULHQWDWLRQ
    PDQWUD(YHU\IHPDOHVKRXOGVD\, PDQDWKOHWH, P           DQGDWDVNRULHQWDWLRQ"
    QRWFXUUHQWO\FRPSHWLQJ                                        $<HV7KH\FDQEHKLJKLQERWKKLJKLQRQHDQG
    42ND\                                                  ORZLQDQRWKHU
   :KDWVSRUWVKDYH\RXSDUWLFLSDWHGLQ"                 4$QGZKHQ\RXZHUHSOD\LQJWHQQLVZHUH\RX
   $7HQQLVDQGVRIWEDOOZHUHP\SULPDU\VSRUWV           ZKLFKRQHZHUH\RX"(JRRULHQWHGRUWDVNRULHQWHG"
   4$QGZKHQGLG\RXFRPSHWHLQRUSDUWLFLSDWHLQ         $,WKLQN, YHDOZD\VKDGDKLJKWDVNRULHQWDWLRQ
   WKRVH"                                                         ,MXVWORYHGVSRUWDQGWKHFKDQFHWRFRPSOHWHDQG,
   $6RIWEDOOZDVNLQGRID0LGGOH6FKRROWKLQJDQG,      ZRXOGVD\,KDGDPRGHUDWHHJRRULHQWDWLRQ
   WUDQVLWLRQHGWRWHQQLVDV,KLWKLJKVFKRRODQGFRPSHWHG       4,VRQHEHWWHUWKDQWKHRWKHU"
   WKURXJKKLJKVFKRRODQGFROOHJHDQGWKHQSUREDEO\              $,WGHSHQGVZKDW\RXUDLPLV,IZHZDQW
   WKURXJKP\VVWLOOFRPSHWLQJLQWRXUQDPHQWVDURXQGWKH       DWKOHWHVWRKDYHIXQDQGWRNHHSSOD\LQJDQGWRWU\KDUG
   VWDWH                                                         WRKDYHJRRGUHODWLRQVKLSVZLWKRWKHUVDQGWREHJRRG
   46RDIWHUFROOHJHZHUH\RXVWLOOFRPSHWLQJLQ          VSRUWVWKHQZHVKRXOGWU\WRSURPRWHWDVNRULHQWDWLRQ
   VRPHIDVKLRQ"                                                  EHFDXVHHJRRULHQWDWLRQLVQRWUHODWHGWRWKRVHWKLQJV
   $,ZDV\HDK-XVWRQHRIWKHQLFHWKLQJVDERXW       SUHWW\FRQVLVWHQWO\
   WHDFKLQJDQG\RXKDYHWKDWVXPPHUEUHDN$QGP\IULHQGV       4$QGXQGHU\RXUWKHRU\WKHQVKRXOGZHWU\WR
   HQMR\HGSOD\LQJVRZHZRXOGSOD\LQWRXUQDPHQWVDURXQG         VXSSUHVVHJRRULHQWDWLRQ"
   WKHVWDWH                                                     $1R,WKLQNWKHVHFRQGSDUWRIWKHWKHRU\LV


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0513
                                                   3DJH                                                          3DJH
    ZKDWNLQGRIHQYLURQPHQWZHFUHDWHIRURXUDWKOHWHVDQG        SOHDVHVWD\RXWRIWKHZD\JRVLWDWWKHHQGRIWKH
    VRWKHUHVHDUFKLVYHU\VWURQJLQWKLVDUHDVXJJHVWLQJ          EHQFKJRGRZQWRWKHHQGRIWKHFRXUWEHFDXVH, P
    PDQ\EHQHILWVZKHQZHFDQFUHDWHDWDVNDQGDFDULQJ            ZRUNLQJZLWKWKHVHIHZVWDUDWKOHWHV, YHJRWKHUHWKHQ
    FOLPDWHIRUDWKOHWHV6RWKHSUREOHPZLWKWKHFOLPDWH          \HDKLWZRXOGEHGLVFRXUDJLQJ
    IRUDFRDFKLVWKDW\RXUHDOO\QHHGWRSLFNZKDWDP,           4:RXOG\RXDJUHHWKDWUXOHVDUHLPSRUWDQWLQ
    JRLQJWRGREHFDXVH\RXFDQ WGRERWKRULWEHFRPHVD           VSRUWV"
    ZDVKRUDQHXWUDOHQYLURQPHQW6RWKRVHIHDWXUHVRI            $<HV
    HDFKRIWKHFOLPDWHVWKH\ UHUHDOO\LQGLUHFWFRQWUDVW         46R\RXPHQWLRQHG\RXKDYHSOD\HGWHQQLVDQG
    ZLWKRQHDQRWKHU                                               VRIWEDOO$QGZKDWRWKHUVSRUWVDUH\RXIDPLOLDUZLWK"
   4:KHQ\RXVD\\RXDUHDQDWKOHWHZKDWGRHVWKDW       $3OD\HGDOLWWOHELWRIYROOH\EDOOJRLQJWKURXJK
   PHDQWREHDQDWKOHWH"                                         \HDK\RXNQRZ,JUHZXSLQ7H[DVDQGWHQQLVLV
   $<RXNQRZIRUPHLWPHDQVVRPHRQHZKRMXVWORYHV      MXVWD\HDUURXQGVSRUWULJKW
   KDYLQJWKHRSSRUWXQLW\WRGRWKHLUEHVWDQGWRWU\DQG         45LJKW
   LPSURYHDQGWRZDONDZD\RQRQH\RXNQRZWRGD\, P        $6RWKDWLVDORWRIP\H[SHULHQFH0\VRQLVD
   JRLQJWRJRRXWWKHUH, PJRLQJWRJLYHP\EHVWDQG           EDVHEDOOSOD\HUVR, YHZDWFKHGDQDZIXOORWRI
   WRPRUURZ, PJRLQJWRJHWXSDQGJRGRLWDJDLQZKDWHYHU       EDVHEDOODVZHOO
   KDSSHQHGULJKWEHFDXVHWKHUHLVMXVWVRPXFKIXQDQG         4$UH\RXIDPLOLDUZLWKWUDFNDQGFURVVFRXQWU\
   MR\WKDWFRPHVIURPKDYLQJWKDWRSSRUWXQLW\                   HYHQWKRXJK\RXKDYHQ WGRQHLW"
   46RMXVWDV,UHFDOO\RXVDLG\RXGROLNHWRZLQ      $<HDK\HV
   ULJKW"                                                         4$UH\RXIDPLOLDUZLWKIRRWEDOO"
   $,GR                                                 $<HV
   4$QG\RXFDQOLNHWRZLQDQGZDQWWRZLQZKHWKHU       46RKRZDERXWEDVNHWEDOO"
   \RXDUHSHUVRQDOO\HJRRULHQWHGRUWDVNRULHQWHGULJKW"       $<HV
   $$EVROXWHO\,PHDQZKRSOD\VVSRUWVDQG             4:KRLVJRLQJWRJRRQLQWKHILQDOIRXU"


                                                   3DJH                                                          3DJH
    GRHVQ WZDQWWRZLQ,PHDQWKDW VMXVWVRUWRID             $$EVROXWHO\$OLWWOHH[FLWHPHQWKHUHLQWRZQ
    JLYHQ:KDWGRHVZLQQLQJPHDQIRUXVULJKW",VLWD          4<HV6RGRVSRUWVKDYHWREHDWKOHWLFWREH
    FKDQFHIRUPHWRNLQGRISXWP\FKHVWRXWDQGVD\, P           VSRUWV"
    EHWWHUWKDQ\RX,EHDW\RXRULVLWNLQGRID                 $77251(<9(52))2EMHFWLRQ
    FHOHEUDWLRQRIPHEHLQJDEOHWRVD\ER\, YHZRUNHG           7+(:,71(66'RWKH\KDYHWREH
    KDUGDQG,FDQVHH, PLPSURYLQJULJKW                        DWKOHWLF"
    45LJKW%XWLI\RXDUHLQDQHQYLURQPHQWZKHUH         %<$77251(<75<21
    \RXEDVLFDOO\DUHSUHYHQWHGIURPZLQQLQJWKDWZRXOGEH         47KDWLVP\TXHVWLRQ
    YHU\GLVFRXUDJLQJ                                              $2ND\
   5LJKW"                                                ,WKLQNLWMXVWGHSHQGVRQKRZ\RXGHILQH
   $, PQRWDZDUHRIDQ\RIWKRVHHQYLURQPHQWVZKHUH      DWKOHWLF
   \RXDUHSUHYHQWHGIURPZLQQLQJ                                4:HOOWKDW VZKDW, PZRQGHULQJ6RIRUH[DPSOH
   4:HOOZKDWLIWKHFRDFKGRHVQ WOHW\RXSOD\"         DUHYLGHRJDPHVVSRUWV"
   $'RHVWKDWPHDQOLNH\RX UHQRWDVWDUWHURU       $<RXNQRZVRPHXQLYHUVLWLHVDUHFRQVLGHULQJ
   LVWKDWZKDW\RX UHUHIHUULQJWR"                              WKRVH7KH\KDYHVSRUWVWHDPVDQGWKH\DUHFRQVLGHULQJ
   4:HOOLI\RXDUHMXVWDEHQFKZDUPHUZRXOGWKDW      WKDWSDUWRIWKHDWKOHWLFV,W VQRWP\SDUWLFXODUDUHD
   EHGLVFRXUDJLQJWRVRPHSHRSOH"                                RILQWHUHVW
   $<RXNQRZWKLVFRPHVEDFNWRWKHFOLPDWH,ID       42ND\
   FRDFKLVVD\LQJ\RX UHDQLPSRUWDQWSDUWRIWKLVWHDP          6RVRPHVSRUWVDUHVRORDQGVRPHDUHZLWK
   ZKLFKLVRQHRIWKHIHDWXUHVRIDWDVNDQGFDULQJ              WHDPV
   FOLPDWHULJKW\RX UHYDOXDEOH\RXSXVKHYHU\ERG\           ,VWKDWDIDLUVWDWHPHQW"
   \RXURSSRUWXQLWLHVDUHJRLQJWREHFRPLQJ$QGZKDW           $<HVDQGQR$JDLQ,ZRXOGVD\LWLVKRZ\RX
   LW VUHDOO\DERXWLVOHW VGRDOOZHFDQWRKHOS\RX           GHILQHLWULJKW,I\RXDUHJRLQJWRVD\DWUDFNWHDP
   NHHSGHYHORSLQJULJKW,IZHDUHMXVWOLNHKH\             ZLWKWKHEHVWLQGLYLGXDO,ZRXOGVD\WKHUHLVUHOD\V


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0514
                                                   3DJH                                                         3DJH
    DQGLWGHSHQGVKRZWKHFRDFKDSSURDFKHVLW$UHZHMXVW        DUHDWHDPDQGZHDUHZRUNLQJWRJHWKHUWREULQJRXWWKH
    DORWRILQGLYLGXDOVGRLQJRXUWKLQJRXWKHUHDUHZHD         EHVWLQHDFKRQHRIXVEXWWKHJRDOLVHYHU\DWKOHWH
    WHDPZRUNLQJWRJHWKHU"                                          UHDFKWKHLUSRWHQWLDO
    4:HOOZKHQ\RXVRWKDWPD\EHLQKLJKVFKRRO       4%XWHYHU\RQHRIWKRVHNLGVRQDWUDFNWHDP
    WKHUHLVWHDPV%XWRXWVLGHRIKLJKVFKRRORUFROOHJH          VWLOOZDQWVWREHWKHEHVWRQWKHWUDFNWHDPDVD
    WKHUHDUHVSRUWV\RXSDUWLFLSDWHLQWKDWIRUH[DPSOHD        JHQHUDOUXOHULJKW"
    PDUDWKRQ\RXFRXOGEHRQDPDUDWKRQDQGVLPSO\\RX UH          $,GRQ WNQRZWKDWWKDWLVQHFHVVDULO\WUXHEXW
    SDUWLFLSDWLQJDVDQLQGLYLGXDOULJKW"                          ,WKLQNWKH\ZDQWWRFRPSHWHDQGWKH\ZDQWWRGRZHOO
    $8KKXK \HV ,DJUHH                                 ,ZRXOGDJUHHZLWKWKDW
   4$QGEXWVRVRPHDWKOHWLFHYHQWVFDQEHGRQH       4,SUREDEO\RYHUVWDWHGWKDWEXWPDQ\RIWKHP
   ZLWKRXWEHLQJRQDWHDP$UHWKHUHRWKHUVWKDW\RXFDQ        DWOHDVWVRPHRIWKHPZDQWWREHWKHEHVWRQWKHWHDP
   WKLQNRIEHVLGHVPDUDWKRQV"                                    WKHIDVWHVWRQWKHWHDPULJKW"
   $6XUH$VSHRSOHJUDGXDWHDQGWKH\FDQUXQ            $<HV
   UDFHV\HDKWKH\FDQSDUWLFLSDWHLQZHLJKWOLIWLQJ            46RWKRVHDUHWKHSHRSOHWKDWDUHFRPSDULQJ
   4$QGDORWRIWKHVHWKLQJV"                        WKHPVHOYHVWRRWKHUVDQGMXVWZDQWWREHVRWKH\
   $7KH\FRXOGKDYH                                  ZRXOGEHHJRFHQWHUHGHJRRULHQWHG
   46RUU\WRLQWHUUXSW\RX*RDKHDG                    ,VWKDWULJKW"%XWQRWQHFHVVDULO\"
   $, PVRUU\7KH\FRXOGVZLP, PMXVWWKURZLQJ       $<HDKQRWQHFHVVDULO\
   RXWDQRWKHURQH                                               42ND\
   4<HDK6RVZLPPLQJLVERWK\RXGRLWDVD         $'R\RXZDQWPHWRFRPPHQWRQLW"
   VROHDVDQLQGLYLGXDOEXWDOVRDVSDUWRIDWHDPLQ        46XUH
   KLJKVFKRRODQGFROOHJHULJKW"                                $2ND\
   $5LJKW                                                ,I,FRXOGMXVWXVHDQH[DPSOH/LNHDWUDFN
   4$QGERWKFDVHV\RXDVDQLQGLYLGXDOZDQWWR         DWKOHWH$O2HUWHUZDVDQDWKOHWHLQWKH VDQG V


                                                   3DJH                                                         3DJH
    ZLQLQWKHVHVSRUWVEXWDOVR\RX UHWU\LQJWRKHOS\RXU         KHZRQIRXUJROGPHGDOVFRQVHFXWLYHO\DFURVVIRXU
    WHDPZLQ,VWKDWDIDLUVWDWHPHQW"                            2O\PSLFVLW VFUD]\WKURZLQJWKHGLVFXV$QGKHVDLG
    $<HVDWLWVEHVW                                      DUHSRUWHUDVNHGKLPKRZGLG\RXEHDWWKHZRUOGKRZ
    4$QGWKHUHLVVRPHWLPHVZKHQ\RXIHHOOLNH              ZHUH\RXVRJUHDWKRZZHUH\RXEHWWHUWKDQHYHU\ERG\
    UXQQLQJLWFDQEHVRPHWKLQJ\RXMXVWOLNHWRUXQ<RX         HOVHWKHVHIRXU2O\PSLFVDQGKHVDLGKLVUHVSRQVH
    GRQ WKDYHWREHRQDWHDPRU\RXFDQFRPSHWH\RXMXVW         ZDVOLNHWKDW VQRQVHQVH,WLVQHYHUDERXWEHLQJ
    UXQRQ\RXURZQULJKW"                                         EHWWHUWKDQVRPHERG\HOVH,W VDERXWEHLQJWKHEHVW
    $7KDW VWUXH                                           WKDW\RXFDQEHULJKW$QGVRZKDWLILVMXVWJRRG
    4,VHHOLWWOHNLGVZK\ZDONZKHQ\RXFDQUXQ          HQRXJK:KDWLI,EHDW\RXJRRGEXWPD\EH,FDQEHVR
   6RWKDW VVRPHWKLQJWKDW\RXFDQGRDORQHRU\RXFDQGR        PXFKEHWWHUWKDQWKDW6RIRUP\VLJKWVWREHVHWRQ
   ZLWK\RXUIDPLO\ULJKW"                                       MXVWEHLQJEHWWHUWKDQ\RXLWLVOLPLWLQJULJKW$QG
   $8KKXK \HV                                          LI\RXDUHVRPXFKEHWWHUWKDQPHDQGVRPXFKOHVV
   4,VWKDWD\HV"                                        WDOHQWHGZK\GRQ W,MXVWIRFXVHYHU\GD\RQEHLQJWKH
   $<HVVRUU\                                           EHVWWKDW,FDQEHULJKW6R$O2UHWHU\RXWKLQNIRXU
   47KDQNV$QGLW VVRPHWKLQJ\RXFDQGRHLWKHU         WLPH2O\PSLFJROGPHGDOLVWKH VJRWWREHKLJKRQHJR
   FRPSHWLWLYHO\RUQRWFRPSHWLWLYHO\ULJKW"                     RULHQWDWLRQ+H VVRPHERG\ZKR VUHDOO\KLJKLQWDVN
   $<HV                                                  DQGZRXOGKDYHEHHQORZHU%XWZHFRXOGORRNDWRWKHU
   41RZZKHQ\RX UHRQDWHDPIRUH[DPSOHDWUDFN       DWKOHWHVWKDWZRXOGEHWKHIOLSDQGGHILQLWHO\6RZKHQ
   WHDP\RX UHFRPSHWLQJDJDLQVWRWKHUSHRSOHRQ\RXU            \RXVD\DWKOHWHVZKRZDQWWRZLQWKDWGRHVQ W
   WHDP                                                          GLVWLQJXLVKWKHWDVNDQGHJRDVSHFWRILW
   ,VWKDWULJKW"                                        46RWDVNDQGHJRRULHQWDWLRQGRHVQ WDIIHFW
   $$JDLQ,ZRXOGMXVWVD\,ZRXOGMXVWFKHFN        VRPHERG\ VGHVLUHWRZLQ'HVLUHWRZLQLVVHSDUDWH
   WKDWLVQRWKRZ,ZRXOGSKUDVHLWLI,ZHUHDFRDFK       IURPWKHHJRYHUVXVWDVNRULHQWDWLRQWKDW VZKDW\RX UH
   WKDWZH UHFRPSHWLQJDJDLQVWHDFKRWKHU,ZRXOGVD\ZH       VD\LQJULJKW"


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0515
                                                   3DJH                                                          3DJH
    $,WKLQNLWFRPHVGRZQPRUHWRZKDWGRHVZLQQLQJ        WKH\UHDFWWRSUREOHPVWKDWKDYHDOUHDG\RFFXUUHG"
    PHDQ                                                           $77251(<9(52))2EMHFWLRQ
    4$OOVSRUWVKDYHUXOHVZH YHHVWDEOLVKHGWKDW         7+(:,71(66<HV
    ULJKW"                                                          %<$77251(<75<21
    $8KKXK \HV                                           4,VWKDWD\HV"
    4,VWKDWD\HV"                                         $<HV
    $<HV                                                   4$QGWKHQKRZDERXWIDLUQHVVZHKDYHUXOHV
    47KHSXUSRVHVRIWKHUXOHVLVRQHWHOOV\RXKRZ       GHVLJQHGIRUIDLUQHVVDQGWKRVHDUHVRPHWLPHVVHWLQ
    WRSOD\WKHJDPHULJKW"                                        PRWLRQEHFDXVHRIVRPHWKLQJWKDWKDVKDSSHQHGULJKW"
   $<HV                                                  $8KKXK \HV 
   4$QRWKHULVIRUVDIHW\<RXKDYHUXOHVIRU            4<HV"
   VDIHW\LVWKDWULJKW"                                         $<HV
   $<HV                                                  4$QGRWKHUWLPHVLW VLQDQWLFLSDWLRQRISUREOHPV
   4$QG\RXKDYHUXOHVWRPDNHWKLQJVIDLUULJKW"        WKDWZHVHHPLJKWFRPHGRZQWKHURDGEXWZHZDQWWRVHW
   $<HV                                                  UXOHVIRUIDLUQHVVULJKW"
   4:KDWRWKHUUHDVRQVGRZHKDYHUXOHVLQVSRUWV"        $77251(<9(52))2EMHFWLRQ
   'RHVWKDWFRYHULW"                                            7+(:,71(66<HV
   $1RWKLQJHOVHFRPHVWRPLQGULJKWQRZ                 %<$77251(<75<21
   4:KRJHQHUDOO\PDNHVUXOHVIRUVSRUWV"                 4$QGLQDOOVSRUWVWKHUHLVVFRULQJULJKW"
   $7KHOHDJXHVDQGVSRUWVRUJDQL]DWLRQVSHUVH          $<HV
   4:RXOGLWEHIDLUWRVD\WKDWWKHSDUWLFLSDQWV         47KDWLVSDUWRIWKHUXOHVULJKW"
   UHO\RQWKHUXOHV"                                             $8KKXK \HV \HV
   $5HO\RQWKHUXOHV"                                    4$QGWKRVHVFRUHVGHFLGHZKRZLQVULJKW"
   4<HV                                                  $<HV


                                                   3DJH                                                          3DJH
    $)DLUWRVD\WKDWSDUWLFLSDQWVZKHQWKH\MRLQD         4:RXOG\RXVD\VFRULQJLVDPRWLYDWRU"
    OHDJXHRU\RXNQRZWKHLUXQGHUVWDQGLQJWKDWWKHUHDUH         $)RUVRPHDWKOHWHV
    UXOHVWKDWWKH\QHHGWRDELGHE\                               4:KHQDQDWKOHWHSHUFHLYHVVRPHWKLQJDVEHLQJ
    4$QGWKH\H[SHFWWKDWRWKHUVKDYHWRDELGHE\           XQIDLUWKDW VDGHPRWLYDWRUZRXOG\RXDJUHH"
    WKRVHVDPHUXOHVULJKW"                                        $77251(<9(52))2EMHFWLRQ
    $<HV                                                   7+(:,71(66,QVRPHFDVHV
    4$QGLWLVLPSRUWDQWWRKDYHFRQVLVWHQWUXOHV          %<$77251(<75<21
    UXOHVWKDWGRQ WFKDQJHSHULRGLFDOO\ULJKW"                    46RVSRUWVDOVRKDYHUDQNLQJVLQGLYLGXDO
    $,WKLQNUXOHVFKDQJHDOOWKHWLPHLQVSRUWV           UDQNLQJVDQGWHDPUDQNLQJVULJKW"
   4:K\GRWKH\FKDQJH"                                   $7KDW VULJKW
   $,WKLQNWKH\FKDQJHEHFDXVHWKH\DUHUHFRJQL]LQJ      4$QGIRUVRPHDWKOHWHVWKRVHUDQNLQJVDUH
   WKRVHWKLQJVWKDW\RXPHQWLRQHGWKDWPD\EHVRPHWKLQJ           PRWLYDWRUVULJKW"
   ZRXOGEHVDIHURUVRPHWKLQJZRXOGEHPRUHIDLURUPRUH         $<HVIRUVRPH
   LQFOXVLYH                                                     4$QGVSRUWV\RXJLYHRXWWURSKLHVIRUZLQQHUV
   4$QGVRPHWLPHVWKRVHFKDQJHVDUHPDGHLQ               ULJKW"
   DQWLFLSDWLRQRISUREOHPVQRWZDLWLQJIRUSUREOHPVWR          $, PVRUU\<RXEURNHXS
   KDSSHQ                                                        4,QVSRUWVZHJLYHRXWDWOHDVWLQVRPHFDVHV
   ,VWKDWIDLU"                                         ZHJLYHRXWWURSKLHVWRZLQQHUVULJKW"
   $77251(<9(52))2EMHFWLRQ                    $,QVRPHFDVHV
   7+(:,71(66<HDK, PQRWVXUH                46ROHWPHVHHLI,XQGHUVWDQG$UH\RX
   %<$77251(<75<21                                             DGYRFDWLQJWKDWVSRUWVVKRXOGHOLPLQDWHVFRULQJ"
   42ND\                                                 $77251(<9(52))2EMHFWLRQ
   :KDWDERXWVDIHW\UXOHVIRUVDIHW\GR               7+(:,71(661R
   VRPHWLPHVVDIHW\UXOHVDQWLFLSDWHSUREOHPVDQGVRPHWLPHV       %<$77251(<75<21


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0516
                                                   3DJH                                                          3DJH
    4$UH\RXDGYRFDWLQJWKDWWKH\VKRXOGHOLPLQDWH          WKDWZLQQLQJFRPSHWLWLRQVLVRQHRIWKHEHQHILWV
    UDQNLQJV"                                                       &RUUHFW"
    $,GRQ WWKLQNLWZRXOGKXUWDWORZHUOHYHOV,        $77251(<9(52))2EMHFWLRQ
    GRQ WWKLQNZHQHHGWRKDYHKDYHDIRFXVRQWKDWZKHQ           7+(:,71(66<HDK,WKLQNZKDW,PHDQ
    \RX UHILYHRUVL[\HDUVROGRQUDQNLQJVDQGZHRXJKW         E\WKDWLVLIRQO\LI\RXKDYHWRZLQWRKDYHD
    WREHIRFXVHGMXVWRQOHDUQLQJWKHJDPHDQGKDYLQJIXQ         JUHDWH[SHULHQFHLQVSRUWVWKHQKDOIRIRXUWHDPVDUH
    EXWLQJHQHUDO, PQRWRSSRVHGWRXVKDYLQJ                 QRWJRLQJWRKDYHDJRRGH[SHULHQFHULJKW6RZKDW, P
    LGHQWLI\LQJZLQQHUVDQGUDQNLQJWHDPVDQGVRRQ                VXJJHVWLQJKHUHLVWKDWDQGDVWKHGDWDEDFNVWKLVXS
    4$QGVSRUWVWHDPVWKHFRDFKHVGHFLGHZKRSOD\V         WKDWLI\RXDUHLQDJRRGFOLPDWHWKHQ\RXFDQJRRXW
   LQGLIIHUHQWSRVLWLRQVLQGLIIHUHQWJDPHV                     WKHUHDQGKDYHIXQDQGWU\KDUGDQGPD\EH\RXUWHDP
   ,VWKDWULJKW"                                        GLGQ WHQGXSZLWKDZLQQLQJUHFRUGEXW\RXFDQVWLOO
   $7KDW VULJKW                                         UHDSWKHEHQHILWV$QGVRLWLVQRWWKHFDVHWKDWRQO\
   4$QGVKRXOGKRZJRRGWKHVWXGHQWDWKOHWHLVKDYH       ZLQQLQJWHDPVUHDSWKHVHEHQHILWVWKDWFRPHDORQJZLWK
   DQ\WKLQJWRGRZLWKZKHQZKHUHDQGKRZWRSOD\                VSRUWV
   DFFRUGLQJWRWKHFRDFK"                                        %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    46R\RXDUHVD\LQJZLQQLQJLVQRWDEHQHILW"
   7+(:,71(666KRXOGWKHDWKOHWH VWDOHQW        $77251(<9(52))2EMHFWLRQ
   KDYHVRPHWKLQJWRGRZLWKKRZPXFKSOD\LQJWLPHWKH\           7+(:,71(66, PJRLQJWRVD\ZLQQLQJ
   JHW"                                                           FDQEHDEHQHILW,W VQRWDSULPDU\RQHLQP\PLQGLQ
   %<$77251(<75<21                                             VSRUWEXW\HVZLQQLQJFDQKHOSXVVHHRXULPSURYHPHQW
   47KDWZRXOGEHDIDLUZD\WRFKDUDFWHUL]HP\           DQG\RXNQRZZLQQLQJKDVLWVSODFHIRUVXUH
   TXHVWLRQ\HV:KDWLV\RXUDQVZHU"                           %<$77251(<75<21
   $,ZRXOGDJUHHZLWKWKDWSDUWLFXODUO\DVZHPRYH       4$QG\RXVHHDWKOHWHVZKHQWKH\ZLQWKH\DUH
   XSLQOHYHOV,UHDOO\OLNHWKHUXOHVWKDWVRPH\RXWK         SUHWW\H[FLWHGDUHQ WWKH\"


                                                   3DJH                                                          3DJH
    VSRUWOHDJXHVKDYHWKDWZHKDYHHLJKW\HDUROGVDQG             $0DQ\RIWKHPDUH
    ZH UHQRWMXVWJRLQJWRVD\KH\-XOLH\RX UHRQWKH          4:HOOKDYH\RXHYHUVHHQDQ\ERG\GLVDSSRLQWHG
    EHQFKEHFDXVH\RX UHQRWDVJRRGVR\RXGRQ WJHWDQ\           DERXWZLQQLQJ"
    SOD\LQJWLPH,OLNHWKHUXOHVWKDWVD\HYHU\ERG\JHWV         $0D\EHQRWGLVDSSRLQWHGEXWLIOHW VMXVW
    LQWKHUHDIHZLQQLQJVDQGJHWVVRPHSOD\LQJWLPHRU            VD\\RXDUHUHDOO\VNLOOHGLQWHQQLVDQG\RXFRPHDQG
    JHWVWREDWRUZKDWHYHUWKHVSRUWPLJKWEH6R,WKLQN        \RXNQRZ\RXOHDYHPHEHKLQG\RXEHDWPHWKHUH
    LWUHDOO\YDULHVRQZKDWVSRUWZHDUHWDONLQJDERXW            PLJKWQRWEHDORWRIMR\IRU\RXLQEHDWLQJPHULJKW
    4/HW VORRNEDFNDW\RXUUHSRUW([KLELW/RRN       EXWIRUVRPHDWKOHWHVLWPLJKWEHKH\LW VDQRWKHUZLQ
    DWSDUDJUDSK'R\RXVHHWKDW"                              IRUPHDQG, PVXSHUH[FLWHGDERXWWKDW6RWKDWLV
   $<HV,GR                                            ZKDW,PHDQ
   47KHILUVWVHQWHQFHVD\VWKXVWKHEHQHILWV            4$QGZKHUHWKH\ UHUDQNHGLQWKHLUVSRUWWKDWLV
   DVVRFLDWHGZLWK\RXWKDQG\RXQJDGXOWVSRUWDUHQRW            RQHRIWKHEHQHILWV
   OLPLWHGWRZKHWKHUDWKOHWHVDUHZLQQLQJFRPSHWLWLRQV          5LJKW"
   ZKHUHWKH\DUHUDQNHGLQWKHLUVSRUWRUZKDWOHYHORI          $77251(<9(52))2EMHFWLRQ
   SXEOLFLW\WKH\DUHJHWWLQJ                                    7+(:,71(66<HDK,WKLQNZHPD\KDYHD
   'R\RXVHHWKDW"                                      GLIIHUHQWYLHZRQEHQHILWV:LWKEHQHILWV, PMXVW
   $<HV                                                  WKLQNLQJZKDW VJRLQJWRKHOSXVORQJWHUP$QGLW
   46R\RXZRXOGDJUHHZLWKPHWKDWRQHRIWKH            UHPLQGVPHRIWKLV2O\PSLFJROGPHGDOLVWZKRVDLGKHU
   EHQHILWVLVWKHRSSRUWXQLW\WRZLQFRPSHWLWLRQV               NLGZDVJRLQJWKURXJKNLQGRIDMXQNGUDZHUDQGIRXQG
   5LJKW"                                                KHUJROGPHGDOULJKW6RZLQQLQJVKH VDJROG
   $,ZRXOGSUREDEO\ZRUGLWRQHRIWKHEHQHILWVLV       PHGDOLVWGLGQ WPHDQDVPXFKDVDOOWKHH[SHULHQFHDQG
   WKHRSSRUWXQLW\WRFRPSHWH                                    MXVWUHIOHFWLQJRQWKHDELOLW\WRJLYH\RXUEHVWHIIRUW
   4:HOOKHUH\RXVD\ZLQQLQJ<RXVD\LWLVQRW        DQGWREXLOGWKHVHUHODWLRQVKLSVDQGWRSXVK\RXUVHOIVR
   OLPLWHGWRZKHWKHUDWKOHWHVDUHZLQQLQJZKLFKVXJJHVWV        KDUG7KRVHVHHPOLNHEHQHILWVPRUHWKDQ\RXNQRZWKH


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0517
                                                   3DJH                                                         3DJH
    WURSK\RUVRPHWKLQJZLQQLQJ, PQRWGLVSXWLQJWKDW            VSRUWVULJKW"
    ZLQQLQJ\HDKFDQEHIXQDQGLWLVGHILQLWHO\SDUWRI          $77251(<9(52))2EMHFWLRQ
    VSRUW                                                          7+(:,71(66,WKLQNWKHUHFRXOGEH
    %<$77251(<75<21                                              SHRSOHOLNHWKDWIRUVXUH
    4<HDK$QGVRDOOWKRVHWKLQJV\RXMXVW                %<$77251(<75<21
    PHQWLRQHGFHUWDLQO\DUHEHQHILWVWRVSRUWV, PQRW            4$QGVDPHWKLQJZLWKVFKRODUVKLSVWKHUHDUHD
    WU\LQJWRVXJJHVWWKDW VQRWWKHFDVH,MXVWZDQWWR          ORWRINLGVWKDWZDQWWRJHWVFKRODUVKLSVWKH\PD\QRW
    XQGHUVWDQGZKHQ\RXVD\LQWKLVSDUDJUDSKWKXVEHQHILWV        JHWWKHPEXWWKH\ UHLQVSRUWVEHFDXVHWKH\ZDQWWRJHW
    DVVRFLDWHGZLWK\RXWKDQG\RXQJDGXOWVSRUWVDUHQRW            WKDWVFKRODUVKLSDQGWKH\WKLQNWKH\ OOEHDEOHWR
   OLPLWHGWRZKHWKHUDWKOHWHVDUHZLQQLQJFRPSHWLWLRQV          )DLUVWDWHPHQW"
   ZKHUHWKH\DUHUDQNHGLQWKHLUVSRUWRUZKDWOHYHORI          $77251(<9(52))2EMHFWLRQ
   SXEOLFLW\WKH\DUHJHWWLQJLW VQRWOLPLWHGWRWKDW          7+(:,71(66<HDK, PQRWVXUHZKDWWKH
   EXWLWGRHVLQFOXGHWKRVHWKUHHWKLQJVULJKW"                 SHUFHQWDJHVDUH7KHUHDUHSUREDEO\DORWPRUHZKR
   $77251(<9(52))2EMHFWLRQ                    ZRXOGOLNHWRKDYHDFROOHJHVFKRODUVKLSZKRGRQ W
   7+(:,71(66, PJRLQJWRJLYH\RXWKDW        UHFHLYHWKHPEHFDXVHRIWKHVPDOOSURSRUWLRQZKRGR
   WKRVHDUHEHQHILWV, PMXVWJRLQJWRSXWWKHPGRZQ           ULJKW%XWGHILQLWHO\7KDW VFDOOHGH[WULQVLF
   ORZHURQZKDWZHYDOXH                                        PRWLYDWLRQ,I, PMXVWSOD\LQJDVSRUWEHFDXVHWKDW V
   %<$77251(<75<21                                             WKHWKDW VZKDW, PJRLQJIRULVDVFKRODUVKLS
   42ND\                                                 \HDKWKHUHFRXOGGHILQLWHO\EHDWKOHWHVIRFXVHGDORQJ
   $2UPRUHLPSRUWDQWEHQHILWV                           WKRVHOLQHV
   4,VWKHRSSRUWXQLW\WRJHWDFROOHJHVFKRODUVKLS       %<$77251(<75<21
   DOVRDEHQHILWLQ\RXWKVSRUWV"                                4$QGZRXOG\RXDJUHHWKDWFROOHJHVJHQHUDOO\
   $)RUDYHU\VPDOOSURSRUWLRQRIFKLOGUHQLQ\RXWK      VHOHFWVFKRODUVKLSDWKOHWHVIURPWKHSRRORISHRSOHWKDW
   LQRXU\RXWKVSRUWZRUOGDUHDEOHWRVHFXUHFROOHJH        DUHDFWXDOO\SOD\LQJKLJKVFKRRODWKOHWLFV"7KDWLVD


                                                   3DJH                                                         3DJH
    VFKRODUVKLSVDQGJRRQDQGVRRXU\RXWKVSRUWZRUOG            FRUUHFWVWDWHPHQWULJKW"
    VKRXOGQ WEHFHQWHUHGDURXQGWKDW,EHOLHYH                    $,ZRXOGVD\WKHPDMRULW\KDYHSOD\HGKLJKVFKRRO
    4%XWIRUWKRVHWKDWZDQWWRDQGFDQJHWFROOHJH         DWKOHWLFV\HV
    VFKRODUVKLSVWKDWLVDELJEHQHILWIRUWKHPULJKW"            4$QGWKRVHWKDWDUHVHHNLQJWKDWVFKRODUVKLSDUH
    $<HVWKDW VYHU\FRRO                                 DWKOHWHVZKRXVHWKHLUKLJKVFKRROSHUIRUPDQFHWR
    4$QGLWFDQEHZRUWKWHQVRIWKRXVDQGVRI               FRPSHWHIRUFROOHJHVFKRODUVKLSVULJKW"
    GROODUVULJKW"                                                 $77251(<9(52))2EMHFWLRQ
    $<HVLWFDQ                                           7+(:,71(66<HVSUREDEO\PDQ\GR
    4$QGHYHQMXVWEHLQJUHFUXLWHGWRSOD\RQD             %<$77251(<75<21
   FROOHJHWHDPWKDW VDELJEHQHILWIRUKLJKVFKRROHUV         4$QGWKHPDUNHWIRUDWKOHWLFVFKRODUVKLSVLVLQ
   ULJKW"                                                         IDFWFRPSHWLWLYHULJKW"
   $<HVIRUVRPH                                        $0DQ\VFKRROVLWLV'HILQLWHO\QRWDOOVFKRROV
   4:HOOULJKWIRUVRPH$QGLQRUGHUWRJHW           WKRXJK
   WKHUH\RXQHHGWREHDEOHWRKDYHWKHRSSRUWXQLW\WR       42ND\
   ZHOOVWULNHWKDW                                         :KDWZRXOGLWEHRWKHUZLVH"
   $QGIRUREYLRXVO\DVPDOOHUPLQRULW\VWLOOWKH        $,WKLQNVRPHRIWKHVRPHVPDOOHUVFKRROV
   RSSRUWXQLW\WRXOWLPDWHO\JRRQDQGSOD\SURIHVVLRQDO          MXVWZLOOZHKDYHDORFDOFROOHJHWKDWZLOOJLYH
   VSRUWVWKDWLVDQRWKHUEHQHILWULJKW"                        VWXGHQWVOLNHRUD\HDUWRZDUGVWKHLU
   $<HDKLW VDEHQHILWIRUVXFKDVPDOOSURSRUWLRQ      WXLWLRQIHHVLIWKH\SDUWLFLSDWHRQDVSRUWWHDP$QG
   WKDWDJDLQ,ZRXOGMXVWVD\WKDW VQRWKRZZHVKRXOG         RIFRXUVH\RXNQRZWKHUHKDVWREHVRPHOHYHORIVNLOO
   VHWXSRXUVSRUWVZRUOGIRUWKRVHIHZ                        WKHUHEXW,ZRXOGQ WLWLVDJRRGSODFHIRUSHRSOH
   4,XQGHUVWDQGWKDWEXWQRQHWKHOHVVWKHUHDUH          ZKRZDQWWRFRQWLQXHWRSOD\DVSRUWEXWPD\QRWKDYH
   PDQ\ZKRQHYHUJHWWRWKDWSODFHEXWWKDW VZKDWWKH\         WKHKLJKHVWVNLOOOHYHOVDQGGHILQLWHO\DUHQ WEHLQJ
   VWULYHIRUDQGWKDW VRQHRIWKHUHDVRQVZK\WKH\DUHLQ       UHFUXLWHGDWWKHGLYLVLRQIRUWKHPRVWSDUWD


                                                                                         3DJHVWR
                                                                                                     Armistead App. 0518
                                                     3DJH                                                    3DJH
    'LYLVLRQ,OHYHORUVRPHWKLQJOLNHWKDW                        6SRUWVZDVPDUNHGIRULGHQWLILFDWLRQ
    4%XWWKH\VWLOOFRPSHWHIRUWKDWVFKRODUVKLS           
    IDLUHQRXJK"                                                    $77251(<75<21-DFRELI\RXFRXOGMXVW
    $<HV                                                   SXW,WKLQNZH YHGRQHWKLVEHIRUH3XWWKLVLQD
    $77251(<9(52)):H YHEHHQJRLQJIRUD        3')LQWKHFKDWER[FDQ\RXGRWKDW"
    OLWWOHRYHUDQKRXU,MXVWZDQWHGWRFKHFNLQVHH            9,'(2*5$3+(5<HV,MXVWKDYHWRGR
    'DYLGLI\RXKDYHDVHQVHRIZKHQ\RXDUHZUDSSLQJXS          WKDWZKLOHLWLVQRWEHLQJVKDUHGDQGWKHQ,FDQVKDUH
    WKLVPRGXOH0D\EHLWZRXOGEHDJRRGWLPHWRWDNHD           LWDJDLQ
    EUHDN                                                          $77251(<75<212ND\
   $77251(<75<21<HVJLYHPHDQRWKHU           :HOO,WKLQNZHFDQMXVWVKDUHLWIRUQRZ
   ILYHPLQXWHVDQGZHFDQEUHDNLIDQ\ERG\ZDQWVWR             DQGWKHQZHFDQSXWLWLQWKHUH,IQRWWKHQLIZH
   $77251(<9(52))*UHDW                        QHHGWRZHFDQGRLW
   $77251(<75<21:HOOZHFDQEUHDNULJKW       9,'(2*5$3+(52ND\
   QRZ, OOOHDYHLWXSWRWKHZLWQHVV, PQRWJRLQJWR       ,PHDQ,DOUHDG\KDYHLWGUDJJHGLQ
   IRUFHLWXSRQWKHZLWQHVVRU3ODLQWLII V&RXQVHO:RXOG       $77251(<75<21*UHDW,WGRHVQ WWDNH
   \RXOLNHDVKRUWEUHDN"                                        ORQJDWDOO*UHDW
   7+(:,71(667KDWZRXOGEHJUHDW7KDQN       %<$77251(<75<21
   \RX                                                           46RKDYH\RXHYHUVHHQWKLVDUWLFOHEHIRUH"
   $77251(<75<21/HW VJREDFNKRZDERXW        $,KDYHQ W&DQ\RXHQODUJHLWDOLWWOHELW"
   WLOO'RHVWKDWZRUN"                                      $QGZKDW\HDUZDVWKLVDWWKHWRS"
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       4,WORRNVOLNH
   FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH        $7KDQN\RX
   2))9,'(27$3(                                                  $77251(<9(52)),I\RXJLYHWKHZLWQHVV
                                    DPLQXWHLIVKHZDQWVWRVFUROODQGJHWDVHQVHRIZKDW


                                                     3DJH                                                    3DJH
     :+(5(8321$6+257%5($.:$67$.(1                            WKLVLV
                                      %<$77251(<75<21
    219,'(27$3(                                                    4:HOOEHIRUH,DVN\RXDQ\TXHVWLRQVDERXWWKLV
    9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG        OHWPHMXVWDVN\RXVRPHTXHVWLRQVRYHUDOO:RXOG\RX
    7KHFXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH             DJUHHWKDWIDLUQHVVLQVSRUWVLVDQLPSRUWDQWYDOXH"
    %<$77251(<75<21                                              $<HV
    46ROHWPHWKHQDVN\RX3URIHVVRU)U\KDYH\RX        $77251(<9(52))2EMHFWLRQ
    KHDUGRIWKH,QWHUQDWLRQDO9LHZIRU6RFLRORJ\RI6SRUW"         %<$77251(<75<21
    $7KDWMRXUQDO"                                          4$QGKDYH\RXGRQHDQ\UHVHDUFKRQWKHLVVXHRI
   4<HV                                                  IDLUQHVVDQGVSRUWV"
   $<HV, YHKHDUGRILW                                $1R, PMXVWKHVLWDWLQJEHFDXVHZHKDYH
   42ND\                                                 LQFOXGHGPHDVXUHVRIVSRUWVSHUVRQVKLSEHLQJDJRRG
   $UH\RXIDPLOLDUZLWK:DUUHQ:KLVHQDQW"               VSRUW6RLI\RXLQFOXGHWKDWWKHQ\HV%XWLQ
   $1R                                                   JHQHUDOMXVWIDLUQHVV,ZRXOGVD\QR
   42ND\                                                 42ND\
   +RZDERXW-HUHP\6-RUGDQ"                           +DYH\RXUHDGDQ\SDSHUVWKDWVSHFLILFDOO\
   $1R                                                   IRFXVRQIDLUQHVVLQVSRUWV"
   42ND\)DLUHQRXJK/HWPHVKRZ\RX([KLELW      $<RXNQRZSUREDEO\EXW,FRXOGQ WQDPHWKHP
   LIZHFRXOGPDUNWKLV,JXHVVZH UHDW([KLELW             42ND\
   )DLUQHVVDQG(QMR\PHQWLQ6FKRRO6SRQVRUHG<RXWK6SRUWV       /HW VJRGRZQWR,UHDOO\RQO\KDYHRQH
   ,I\RXFRXOGEULQJWKDWXS-DFRE                             TXHVWLRQKHUHZKLFKZH OOORRNDWDQGWKHQLI\RXZDQW
                                    WRUHYLHZPRUHRIWKHDUWLFOH\RXDUHFHUWDLQO\ZHOFRPH
    :KHUHXSRQ([KLELW)DLUQHVVDQG             WRGRWKDW%XWLI\RXJRWRZKDWLVODEHOHGDVSDJH
   (QMR\PHQWLQ6FKRRO6SRQVRUHG<RXWK            DWWKHWRS


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0519
                                                 3DJH                                                         3DJH
    $&RXOG,MXVWUHDGWKHDEVWUDFWILUVW"'R\RX          $77251(<9(52))2EMHFWLRQ
    PLQG"                                                           7+(:,71(66<HV
    4<HV                                                   %<$77251(<75<21
    9,'(2*5$3+(5,I\RXQHHGWKDWPDGH             4<RXKDYHQRWDWWHPSWHGWRGRWKDWEDODQFLQJLQ
    ELJJHUOHWPHNQRZ                                            FRQQHFWLRQZLWK+%KDYH\RX"
    7+(:,71(660D\EHRQHPRUHQRWFKXS           $77251(<9(52))2EMHFWLRQ
    7KDQN\RX                                                      7+(:,71(66<HDK,WKLQNP\H[SHUWLVH
    9,'(2*5$3+(5<RX UHZHOFRPH                   LVWRZHLJKLQRQDOOWKHEHQHILWVWKDWDWKOHWHVZRXOG
    7+(:,71(662ND\                              QRWKDYHDQRSSRUWXQLW\WRUHDSLIWKH\ZHUHQ WDEOHWR
   %<$77251(<75<21                                             SDUWLFLSDWH%XW,WKLQNWKHUHDUHSHRSOHZKRNQRZD
   4,I\RXWXUQWRDQGWKHWKLUGIXOOSDUDJUDSK       ZKROHORWPRUHPRUHZLWKDQ\VSRUWDERXWKRZWRNHHS
   RQWKDWSDJHLWVD\VDQRUJDQL]DWLRQDOFOLPDWHHPEUDFLQJ       PDNLQJWKHUXOHVIDLUIRUHYHU\RQH
   IDLUQHVVLVDFULWLFDOIDFWRULQIOXHQFLQJVWXGHQW              %<$77251(<75<21
   DWKOHWHV DWWLWXGHWRZDUGVWKHVSRUWWKH\SDUWLFLSDWHLQ       42ND\
   DQGWKHLUGHVLUHWRFRQWLQXHSDUWLFLSDWLRQ'R\RX            %XWMXVWWREHFOHDU\RXKDYHQRWDWWHPSWHGWR
   DJUHHZLWKWKDWVWDWHPHQW"                                     GRWKDWEDODQFLQJZLWK+%"
   $77251(<9(52)),ZLOOMXVWUHPLQGWKH        $77251(<9(52))2EMHFWLRQ
   ZLWQHVVLIVKHZRXOGILQGLWKHOSIXOWRUHDGPRUH              7+(:,71(66, PQRWVXUH,XQGHUVWDQG
   FRQWH[WDURXQGWKDWVWDWHPHQWEHIRUH\RXDQVZHU\RX UH        WKHTXHVWLRQ
   ZHOFRPHWRGRVR                                              %<$77251(<75<21
   7+(:,71(66<HV,WKLQNLWZRXOGEH          42ND\
   KHOSIXOWRORRNDWKRZWKH\PHDVXUHIDLUQHVVDQG\RX          /HWPHWU\DJDLQ:HHVWDEOLVKHGWKDWIDLUQHVV
   NQRZWKHPHWKRGVXVHGLQWKHVWXG\EXWLQJHQHUDO,          GHSHQGVRQEDODQFLQJDORWRILQWHUHVWVDQGYLHZVRI
   FDQLPDJLQHWKDW\HDKWKDWWKLVLVWUXH                     GLIIHUHQWJURXSVGLIIHUHQWSHRSOHULJKW"


                                                 3DJH                                                         3DJH
    %<$77251(<75<21                                              $<HV
    42ND\                                                  $77251(<9(52))2EMHFWLRQ
    <RXGRQ WMXVWDVDJHQHUDOVWDWHPHQW\RX          %<$77251(<75<21
    GRQ WGLVDJUHHZLWKLW"                                         4$QGWKDWEDODQFLQJ\RXKDYHQRWDWWHPSWHGWRGR
    $5LJKW                                                 ZLWKUHVSHFWWR+%
    46R, PQRWJRLQJWRDVN\RXDERXWDQ\RIWKHLU         &RUUHFW"
    UHVXOWVRUDQ\WKLQJHOVH,MXVWZDQWHGWRJHW\RXU             $77251(<9(52))2EMHFWLRQ
    UHDFWLRQRQWKDWVWDWHPHQW$QG\RXDUHQRWRIIHULQJ           7+(:,71(66,WKLQNLWZRXOGEHXQIDLU
    DQ\H[SHUWRSLQLRQRQIDLUQHVVLQVSRUWV                       WRFDWHJRULFDOO\H[FOXGHDJURXSRIDWKOHWHVIURPKDYLQJ
   5LJKW"                                                WKHRSSRUWXQLW\WRSDUWLFLSDWH6R, PQRWVXUHLIWKDW
   $7KDW VULJKW                                         LI\RXLQWHUSUHWWKDWDVEDODQFLQJRUQRWEDODQFLQJ
   4$UH\RXRIIHULQJDQH[SHUWRSLQLRQRQZKHWKHURU      %<$77251(<75<21
   QRW+%LVIDLU"                                           4+DYH\RXEDODQFHGWKHLQWHUHVWVKDYH\RX
   $, P,EHOLHYHWKDWWKHVSRUWRUJDQL]DWLRQV        ORRNHGDWWKHLQWHUHVWVRIRWKHUSHRSOHLQWKDWGHFLVLRQ
   DWHYHU\OHYHOUHDOO\YDOXHEHLQJLQFOXVLYHDQGLWZRXOG       WKDWZHQWLQWR+%"
   EHKDUPIXOWRH[FOXGHDWKOHWHVZKHUHWKH\ZRXOGQ WKDYH        $77251(<9(52))2EMHFWLRQ
   DQRSSRUWXQLW\WRUHDSWKHEHQHILWVRIVSRUW                  7+(:,71(66<HV,WKLQNWKLV+RXVH
   4$QGWKHUHDUHDORWRIWKLQJVWKDWJRLQWR            %LOOLVQRWIDLUWRWUDQVIHPDOHDWKOHWHV
   IDLUQHVVULJKW"                                               %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    42ND\
   7+(:,71(66<HV                               :HZLOOPRYHRQWRWKDWLQOLWWOHELWWKHQ
   %<$77251(<75<21                                             :KDWLV\RXUTXDOLILFDWLRQVWRGHWHUPLQHIDLUQHVV"
   4$QGLWUHTXLUHVEDODQFLQJRILQWHUHVWVRI             $77251(<9(52))2EMHFWLRQ
   YDULRXVSHRSOHDQGJURXSVDQGYDOXHVULJKW"                   7+(:,71(66,WKLQN,ZDVFDOOHGWREH


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0520
                                                 3DJH                                                        3DJH
    DQH[SHUWZLWQHVVLQWKLVFDVHWRVSHDNWRWKHPDQ\             ZDVIDLUULJKW"
    EHQHILWVWKDWFRPHIURPSDUWLFLSDWLQJLQVSRUWV$QGVR        $77251(<9(52))2EMHFWLRQ
    IURPP\H[SHULHQFHDVDQDWKOHWHDQGDFRDFKDQGD              7+(:,71(66:HOO, PDVVXPLQJ\RXPHDQ
    VFKRODULQWKLVDUHD,WKLQN,KDYH\RXNQRZLQVLJKW          WUDQVIHPDOHVSOD\LQJDQG"
    DQGFDQVSHDNWRWKHPDQ\EHQHILWVDQGKRZZHVKRXOGGR         %<$77251(<75<21
    DOOZHFDQWRSUHYHQWRUDOOZHFDQWRQRWH[FOXGH          4,GRQRWPHDQWKDW,PHDQWH[DFWO\ZKDW,
    DWKOHWHVIURPKDYLQJWKHRSSRUWXQLW\WRSDUWLFLSDWH            VDLG,I\RXJRWRFRPSHWHDJDLQVWDQRWKHUWHDPDQG
    %<$77251(<75<21                                              WKDWWHDPVD\VZHKDYHWZRPHQELRORJLFDOPHQDQGWKH\
    4<RXVDLG\RXDUHDWHQQLVSOD\HUULJKW"               DUHJRLQJWRFRPSHWHDJDLQVW\RX\RXZRXOGKDYHVDLG
   $<HV                                                  WKDWLVQRWIDLUULJKW"
   4:KHQLVWKHODVWWLPH\RXSOD\HGWHQQLV"              $77251(<9(52))2EMHFWLRQ
   $,WKHUH VDZDOOULJKWRXWVLGHP\RIILFH         7+(:,71(66,ZRXOGKDYHVDLGVRUU\
   DQGVR,KLWRQDEDFNERDUG,KDYHQ WSOD\HGDPDWFK         $77251(<9(52))7KDWLVDOOULJKW
   LQDOLWWOHZKLOH, PQRWVXUHWKHODVWWLPHZDV            7+(:,71(66,WKLQN,ZRXOGKDYHVDLG
   4$QGZKHQ\RXSOD\HGWKHPRVWUHFHQWWLPH\RX      ZKDWDUHWKHUXOHVULJKW$QGLIWKHUXOHVDUHWKDW
   SOD\HGFRPSHWLWLYHO\ZDVWKDWLQDOHDJXHRUKRZGRHV         VRPHERG\FRXOGSOD\WKHQ,ZRXOGVD\EULQJWKHPRQ
   WKDWZRUN"                                                     ULJKW$QGLIWKHUXOHVDUHWKDWWKH\FDQ WSOD\WKHQ
   $,KDYHQ WSOD\HGOHDJXHVLQDZKLOH,WZDV          , GVD\\HDKZHSUREDEO\VKRXOGQ WGRLWWKDWZD\
   MXVWIRUIXQ, GSOD\ZLWKDFRXSOHRIP\IULHQGV           XQWLOWKHUXOHVFKDQJHULJKW
   ZKHQZHJRWRFRQIHUHQFHVZHEULQJRXUUDFTXHWVDQGZH        %<$77251(<75<21
   JHWWRJHWKHUDQGSOD\, YHPRYHGLQWR\RXNQRZRWKHU       46RZKDWHYHUWKHUXOHVDUHE\GHILQLWLRQDUH
   H[HUFLVHIRUPVQRZDQG,VZLPDQGKLNHDQGVRRQ              IDLUULJKW"
   4$QGVRZKHQ\RXZHUHSOD\LQJWHQQLVWHDPLV         $77251(<9(52))2EMHFWLRQ
   WKDWZKDWLWZDVRQDWHDP"                                   7+(:,71(661R,GLGQ WVD\WKDW, P


                                                 3DJH                                                        3DJH
    $8KKXK \HV \HV                                     VRUU\-XOLH
    4:KDWWHDPZDVWKDW"                                    $77251(<9(52))1RWKDW VTXLWHDOO
    $,SOD\HG867$OHDJXHV7KRVHDUHIRUDGXOWV          ULJKW
    $QGDIWHUFROOHJH\RXNQRZWKHUHLVMXVWOLNHD               7+(:,71(66,GLGQ WVD\WKHUXOHVDUH
    FLUFXLWLQ7H[DVWKDW\RXFDQVLJQXSIRUWRXUQDPHQWV           DOZD\VIDLUEXW,WKLQNZHKDYHWRVWDUWVRPHZKHUHDQG
    DOODURXQGWKH6WDWHDQGSOD\DQGJRIRUUDQNLQJ               ZHKDYHWRDFNQRZOHGJHWKHPDQGUHVSHFWWKHP
    4%XWLQFROOHJH\RXSOD\HGULJKW"                      %<$77251(<75<21
    $<HV                                                   4:HOOLIWKH\VDLGZHDUHJRLQJWRKDYHWKHVH
    4$QGZDVWKDWRQDJLUOVWHDPRUDPL[HGWHDPRU        PHQFRPSHWHDJDLQVW\RXDQGWKH\MXVWFKDQJHGWKHUXOHV
   ZKDW",GRQ WNQRZPXFKDERXWWHQQLVVR, PMXVWWU\LQJ       RQ\RXZRXOGQ W\RXREMHFWWRWKHUXOHVEHLQJFKDQJHG"
   WRXQGHUVWDQGWKDW                                            $77251(<9(52))2EMHFWLRQ
   $2ND\                                                 7+(:,71(66<HDK<RXNQRZLQWKH
   7KHUHZDVDPHQ VDQGZRPHQ VWHDP:HKDGD         FRQWH[WRIZKDWLVWDNLQJSODFHWKDWVHHPVQRWOLNHD
   KHDGFRDFKIRUERWKDQGDVVLVWDQW0D\EHLQWKHODVW          YHU\UHDOLVWLFH[DPSOHLQP\PLQG6R, PQRWVXUH, P
   \HDUWKHUHZHUHVHSDUDWHKHDGFRDFKHVEXWZHZRUNHGRXW       WKLQNLQJDERXWLW
   WRJHWKHU:HWUDYHOHGWRWRXUQDPHQWVWRJHWKHU:KHQ          %<$77251(<75<21
   \RXDGGXSWKHVFRUH\RXJRWWR\RXJRWWRWKH         46R\RXGRQ WZDQWWRDQVZHUP\TXHVWLRQ"
   ZRPHQKDGDVFRUHDQGWKHPHQKDGDVFRUHVRLWZDVQ W        $77251(<9(52))2EMHFWLRQ
   DWRWDOWHDPZLQOLNHWKDW                                    7+(:,71(66<HDK,WKLQNLW V,
   42ND\                                                 WKLQNZKDWZHDUHWDONLQJDERXWLVMXVWPRUH
   6RLI\RX UHRQWKHZRPHQ VWHDPDQG\RXJRXS        FRPSOLFDWHGULJKWDQGLWLVQRWMXVWLIZHDUH
   DJDLQVWVRPHRWKHUWHDPDQGWKH\MXVWVDLGZH UHJRLQJ         WDONLQJDERXWWUDQVIHPDOHDWKOHWHV,WKLQNZHDUH
   WRKDYHER\VZH UHJRLQJWRKDYHPHQSDUWLFLSDWHLQWKH       WDONLQJDERXWDGLIIHUHQWEDOOJDPHWKDQ\RXDUH
   ZRPHQ VWHDPDJDLQVW\RX\RXZRXOGQ WKDYHWKRXJKWWKDW       %<$77251(<75<21


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0521
                                                 3DJH                                                        3DJH
    4<HDK:HOO,ZDVQRWWDONLQJDERXWWKHPDW         EHLQJLQFOXVLYHDQGOHW VGRDOOZHFDQWR\RXNQRZ
    OHDVWQRW\HW, PMXVWDVNLQJLIVXGGHQO\PHQDUH            EDODQFHWKHVHWKLQJVDQGPDNHWKLQJVIDLUEXWDOVREHLQJ
    DOORZHGWRFRPSHWHDJDLQVWZRPHQLQWHQQLVZKHWKHURU         LQFOXVLYHDQGQRWWRWDOO\H[FOXGLQJDJURXSRIDWKOHWHV
    QRWWKH\LGHQWLI\DVIHPDOHGR\RXWKLQNWKDWZRXOGEH        %<$77251(<75<21
    IDLUWRWKHZRPHQ"                                             46RZKDWZRXOGEHWKHUXOHWKDW\RXZRXOGVHWXS
    $77251(<9(52))2EMHFWLRQ                    IRUKLJKVFKRROIRUWUDQVJHQGHUSHRSOHOHWPH
    7+(:,71(66$JDLQ,ZRXOGMXVWJREDFN       UHSKUDVHWKDW:KDWZRXOGEHWKHUXOHWKDW\RXZRXOG
    WRWKHUXOHV%XWMXVWLQJHQHUDOWKDWLI,GHFLGH           VHWXSLQKLJKVFKRROVSRUWVIRUDPDOHZKRH[SUHVVHV
    WRGD\KH\,ZLOOJRZHKDYHDUHDOO\ZHDNPHQ V          WKDWKHLVQRZLGHQWLI\LQJDVIHPDOHVKRXOGEHDOORZHG
   WHQQLVWHDPVRWRGD\,WKLQN, OOJRSOD\RQWKHPDOHV       WRSDUWLFLSDWHLQJLUOVVSRUWV"
   WHQQLVWHDP\HDK,GRQ WWKLQNWKDWZRXOGEHULJKW         $77251(<9(52))2EMHFWLRQ*RDKHDG
   ULJKWWKDW,FRXOGVZLWFKRYHUWRZLQ5LJKW7KH           7+(:,71(66<HDK,WKLQNZHVKRXOG
   SRLQWLVFDQSHRSOHEHWKHLUJHQXLQHDXWKHQWLFDWHVHOI       UHO\RQWKHH[SHUWVDQGWKHPHGLFDOGRFWRUVDQGWKH
   DQGSOD\ZLWKDJHQGHULGHQWLW\WKDWWKH\KDYH               H[HUFLVHSK\VLRORJLVWVZKRUHDOO\VWXG\WKLVDQGFDQ
   %<$77251(<75<21                                            VD\KH\DFURVVWKHVHVSRUWVWKLVLVVHHPVWR
   46R,PHDQ\RX UHDQVZHULQJ\RXURZQTXHVWLRQ         FUHDWHDIDLUSOD\LQJJURXQG,WKLQN\RXNQRZLW
   \RXURZQZD\EXWVRWKDW VILQHEXW\RXKDYHDOVRVDLG      VRXQGVOLNHRXUORFDOZHDWKHUPDQZHKDYHLQFRPLQJGDWD
   WKDW\RXWKLQN+%ZKLFKVHWVDUXOH\RXWKLQN          ULJKWEXWWKLVLVUHODWLYHO\QHZLQWKHVSRUWZRUOGDQG
   WKDWUXOHLVXQIDLUULJKW"                                   ,WKLQNDOORIWKHVHUHVHDUFKHUVDUHJDWKHULQJPRUHGDWD
   $<HV,GR                                           DOOWKHWLPHWKDWLVJRLQJWRKHOSLQIRUPWKHVH
   $77251(<9(52))2EMHFWLRQ                   GHFLVLRQVPRYLQJIRUZDUGRQKRZZHFUHDWHLW6R\RX
   %<$77251(<75<21                                            NQRZ, PQRWDQH[SHUWWRVD\KH\ZKDWZRXOGWKRVH
   4%XWWKHOHJLVODWXUHEDODQFHGDORWRIGLIIHUHQW      H[DFWJXLGHOLQHVEHEXWMXVWWRKDYHDEODQNHW
   LQWHUHVWVLQPDNLQJWKDWUXOHULJKW"                         H[FOXVLRQRIDOOZHVHWWKHVWDNHVWRGRDORWRIKDUP


                                                 3DJH                                                        3DJH
    $77251(<9(52))2EMHFWLRQ                    DQG%3-ZRXOGEHDUHFLSLHQWRIWKDWKDUPLQP\RSLQLRQ
    7+(:,71(66,GRQ WNQRZ,GRQ WNQRZ        %<$77251(<75<21
    WKDWWKDWLVWUXH                                             46RZHVKRXOGUHO\RQH[SHUWVDERXWVDIHW\IRU
    %<$77251(<75<21                                             RQHWKLQJULJKW"
    4<RXGRQ WNQRZRQHZD\RUWKHRWKHUZKDW              $77251(<9(52))2EMHFWLRQ
    LQWHUHVWVWKH\EDODQFHGULJKW"                                7+(:,71(66<HV
    $,GRQ WNQRZZKDWWKHLU                          %<$77251(<75<21
    $77251(<9(52))2EMHFWLRQ                    4$QGZHVKRXOGDOVRUHO\XSRQH[SHUWVLQ
    7+(:,71(66,GRQ WNQRZZKDWWKHLU       SHUIRUPDQFHULJKW"
   NQRZOHGJHEDVHLVRUWKHLUUHDOLQYROYHPHQW,GRQ W         $77251(<9(52))2EMHFWLRQ
   NQRZLIWKH\ YHWDNHQDFORVHORRN,WORRNVOLNHLQ         7+(:,71(66<HV
   WKLVVLWXDWLRQWKDW3%- VLF WKDWSHRSOHFORVHWRLW       %<$77251(<75<21
   DUHVD\LQJKH\OHW VOHWWKLVFKLOGSOD\ULJKWDQG       46R\RXNHHSIRFXVLQJRQ%3-VRLIZHDUHJRLQJ
   \RXNQRZWKHZRUOGLVQRWJRLQJWRHQGDQGNLGVFDQ          WRIRFXVRQHDFKLQGLYLGXDOZHKDYHWRKDYHLQHDFK
   KDYHJRRGH[SHULHQFHVDQGZHFDQZHFDQJR6R           VSRUWDQH[DPSOHRIVRPHRQHZKRLVDPDOHLGHQWLI\LQJDV
   \HDK,FDQ WVSHDNWRZKDWWKHOHJLVODWRUVKDYHWKH      DIHPDOHKDVWREHLQGLYLGXDOO\HYDOXDWHGWRGHWHUPLQH
   EDFNJURXQGWKH\ YHGRQHRUWKHLUPLQGVHW                     ZKHWKHUWKDWSHUVRQVKRXOGEHDOORZHGWRSDUWLFLSDWHLQ
   %<$77251(<75<21                                            ZKDWHYHUVSRUWWKDWSHUVRQZDQWVWREHLQ"
   4'R\RXWKLQNWKDWWKHOHJLVODWLRQWKLV              $77251(<9(52))2EMHFWLRQ
   OHJLVODWLRQVKRXOGEHWDLORUHGWRHDFKLQGLYLGXDO"            7+(:,71(661R,GLGQ WVD\WKDW$QG
   $77251(<9(52))2EMHFWLRQ                   LWPD\EHMXVWZHFRXOGKDYHJHQHUDOJXLGHOLQHVDWWKH
   7+(:,71(661RQR,WKLQNWKHVSRUW       KLJKVFKRROOHYHO, PMXVWVD\LQJ, PQRWWKDWLV
   RUJDQL]DWLRQVDWHYHU\OHYHOIURPWKH2O\PSLF&RPPLWWHH      QRWP\H[SHUWLVHDVRQWKHSHUIRUPDQFHDQGH[HUFLVH
   WRWKH1&$$DOORIWKHPDUHVD\LQJZHUHDOO\YDOXH           SK\VLRORJ\RILWDOOWRWKLQNZKDWZRXOGEHIDLU,


                                                                                     3DJHVWR
                                                                                                         Armistead App. 0522
                                                          3DJH                                                   3DJH
    WKLQNDVZHEUDQFKXSDQGJHWWRPRUHHOLWHOHYHOVWKHQ            ZLQQLQJRQO\, PQRWVXUH,WKLQNWKHUHDUHSUREDEO\
    WKDWVHHPVWREHWKHGLUHFWLRQWKDW1&$$LVJRLQJWKDW            FRDFKHVRXWWKHUHWKDWDUH
    KH\OHW VSXOOLQWKHVHQDWLRQDOJRYHUQLQJERGLHV                  46RUU\*RDKHDG
    DFURVVWKHVSRUWEHFDXVHWKH\NQRZWKHVSRUWWKHEHVW               $<HDKSUREDEO\PRVW\RXNQRZLW VQRWD
    DQGDUHLQWKHEHVWSRVLWLRQWRPD\EHRIIHUWKRVH                   SHUFHQWEXWZKHQZHVD\SULPDU\WKDWWKDW VZKDW V
    JXLGHOLQHV                                                         UHDOO\GULYLQJWKHERDWIRUWKHP,WKLQNWKHUHDUH
    %<$77251(<75<21                                                  FRDFKHVRXWWKHUH
    4'R\RXKDYHDQRSLQLRQDERXWRWKHUZHOOZH            4:HOO\RXGLGQ WVD\SULPDU\<RXVDLGVROHO\
    ZLOOJHWWRWKDWODWHU/HW VJREDFNWR\RXUUHSRUW               7KRVHDUH\RXUZRUGVULJKW"
   DQGLIZHFRXOGJRWRDIWHUSDUDJUDSK:HOOWKDW              $5LJKW
   GRHVQ WVHHPULJKW7KHUHZHJR2ND\7KHWLWOHRI             $77251(<9(52))2EMHFWLRQ
   WKLVVHFWLRQRQWRSRISDJHILYHLWVD\V)RFXVLQJ6ROHO\           %<$77251(<75<21
   RQ3HUIRUPDQFH2XWFRPHV8QGHUPLQHVWKH%HQHILWVRI6SRUW           4'R\RXQRZZDQWWRPRGLI\WKDWLQ\RXURSLQLRQ"
   IRU<RXWKDQG<RXQJ$GXOW$WKOHWHV'R\RXVHHWKDW"              $77251(<9(52)), PVRUU\REMHFWLRQ
   $<HV                                                      7+(:,71(666RUU\, PMXVWJRLQJEDFN
   4$UH\RXDZDUHRIDQ\PLGGOHVFKRROVHOHPHQWDU\           WRWKLVZRUGLQJWKDW\RX UHWDONLQJDERXW$UH\RX
   VFKRROVRUKLJKVFKRROVWKDWIRFXVSULPDULO\RQ                    VD\LQJ"
   RXWFRPHV"                                                          %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                        4$WWKHKHDGLQJ5LJKWDERXWSDUDJUDSK
   7+(:,71(661R                                   $6RUU\,ZDVORRNLQJXQGHUQHDWK<HDK,PHDQ
   %<$77251(<75<21                                                 LWLQWKHVHQVHWKDWWKDWVHHPVWREHZKDWDOOWKH
   4$UH\RXDZDUHRIDQ\VXUYH\VRUVWXGLHVRI                GLVFXVVLRQLVDERXWWKDWDOOZHUHIRFXVHGRQMXVWWKLV
   PLGGOHVFKRROVRUKLJKVFKRROVWKDWILQGRXWLIWKHUH              LVQ WIDLULQWHUPVRISHUIRUPDQFHDQG, PVD\LQJWKDW
   DUHDQ\VFKRROVWKDWIRFXVVROHO\RQSHUIRUPDQFH                   LVPLVVLQJDELJJHUSLFWXUHRIZKDW\RXWKVSRUWFDQEH


                                                          3DJH                                                   3DJH
    RXWFRPHV"                                                           4:KDWGLVFXVVLRQLVWKDW"<RXVDLGWKDW
    $77251(<9(52))2EMHFWLRQ                         GLVFXVVLRQVDOODERXWLW:KDWGLVFXVVLRQVDUH\RX
    7+(:,71(66,ZRXOGMXVWVD\WKDWLW               WDONLQJDERXW"
    GHSHQGVZKDWZHPHDQE\VROHO\IRFXVRQSHUIRUPDQFH                 $77251(<9(52))2EMHFWLRQ
    RXWFRPHV,WKLQNWKHUHDUHFRDFKHVRXWWKHUHWKDW                 7+(:,71(667KHLGHDWKDWLW VQRWIDLU
    DEVROXWHO\WKDWLVWKHLUSULPDU\WKLQJDQGWKH\FDUH                IRUWUDQVDWKOHWHVWRSDUWLFLSDWHULJKW$QGWKHRQO\
    OHVVDERXWWKHKROOLVWLF\RXNQRZZHOOQHVVDQGMXVW               UHDVRQWKDWZHKDYHDQ\FRQFHUQDERXWWKLVLVIURPWKH
    WKHRYHUDOOH[SHULHQFHRIWKHLUNLGVDQGWKH\DUHMXVW              SHUIRUPDQFHLVVXH6RLQWKLVFDVH, PMXVWVD\LQJLI
    WU\LQJWRSXWWKHWHDPWRJHWKHUWKDWLVJRLQJWRJLYH               ZHWKLQNDERXW%3-DQGKHUEHLQJH[FOXGHGIURPKDYLQJ
   WKHPWKHEHVWFKDQFHWRZLQ                                       WKHRSSRUWXQLW\WRSOD\DVSRUWWKHUH VDORWDWVWDNH
   %<$77251(<75<21                                                 WKHUHDVZHOODVWKHRWKHUVLGHLVVD\LQJKH\LVWKLV
   4:KDWFRDFKHVDUH\RXDZDUHRILQKLJKVFKRRO              IDLULQWHUPVRISHUIRUPDQFHIRUDWKOHWHVULJKW7KDW
   WKDWGRWKDW"                                                      LVZKDW,PHDQWE\WKLV
   $-XVWLQP\H[SHULHQFHDFURVV\HDUV,VHH,          %<$77251(<75<21
   VHHFRDFKHVWKDWDUHYHU\IRFXVHGRQZLQQLQJWKDWXVHD            46RZKRLVEXW\RX UHQRWDZDUHRIDQ\
   ORWRISXQLVKPHQWIRUPLVWDNHVDQGWKDWVHHPVWREHZKDW           VFKRROVRUFROOHJHVWKDWKDYHDSROLF\RIIRFXVLQJ
   GULYHVWKHP                                                       VROHO\RQSHUIRUPDQFHRXWFRPHVULJKW"
   4$QGVR\RXEHOLHYHWKHUHDUHFRDFKHVRXWWKHUH            $5LJKW
   WKDWIRFXVVROHO\RQSHUIRUPDQFHRXWFRPHVIRU\RXWKDQG            4%XW\RXWKLQNWKHVWDWXWH+%VROHO\
   \RXQJDGXOWDWKOHWHV"                                              IRFXVHVRQSHUIRUPDQFHRXWFRPHV"
   $<HVLWMXVWVHHPVOLNHDZHLUGZD\WRWDON               $77251(<9(52))2EMHFWLRQ
   DERXWLWWKDW, PQRWVXUHZKHQ,PHDQWRSXWD               7+(:,71(66, PQRWVXUHZKDWOHDGVPH
   SHUFHQWDJHLI\RX UHDVNLQJWKDWVRDUHWKHUHFRDFKHV            WRVD\WKDWEXW,WKLQNWKHVWDWXWHH[FOXGHVDJURXSRI
   WKDWSHUFHQWWKH\ UHMXVWIRFXVHGRQZLQQLQJDQG               DWKOHWHVDQGWKDWWKDWZRXOGEHXQIRUWXQDWHWKDWWKH\


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0523
                                                 3DJH                                                         3DJH
    ZRXOGQ WKDYHDFKDQFHWRMXVWUHDSWKHVHEHQHILWVWKDW         RUJDQL]HGVSRUWVZLWKLQWKHLUVFKRROVEXWMXVWFRPSDUH
    FDQFRPHIURPEHLQJDVSRUWVWHDP                              WKDWWR/LWWOH/HDJXHWKDWDV\RXPRYHXSWRFROOHJH
    %<$77251(<75<21                                              WKHHPSKDVLVRQZLQQLQJPD\LQFUHDVHDQGVRRQ
    46R\RXDUHQRWVD\LQJWKDW\RXEHOLHYHWKDW            47KDQN\RX:RXOG\RXDJUHHZLWKPHWKDWWKHUH
    +%IRFXVHVVROHO\RQSHUIRUPDQFHRXWFRPHVULJKW"          LVQRWKLQJLQ+%WKDWVD\VWKHUHVKRXOGEHDVROH
    $2ND\, PQRWVD\LQJWKDW,WKLQNSHUIRUPDQFH       RUP\RSLFIRFXVRQZLQQLQJLQDQ\RIWKHVSRUWVLW
    RXWFRPHVLVVHHPVWREHDSLHFHLQLW                      FRYHUV"
    4,VWKDWDQDSSURSULDWHSLHFHWRFRQVLGHU"              $77251(<9(52))2EMHFWLRQ
    $77251(<9(52))2EMHFWLRQ                     7+(:,71(66<HV,ZRXOGDJUHH
   %<$77251(<75<21                                             %<$77251(<75<21
   4/HWPHUHSKUDVHWKDW,VSHUIRUPDQFHRXWFRPHV        4$QGWKHODZGRHVQ WVD\DQ\WKLQJDQ\ZKHUHWKDW
   VRPHWKLQJWKDW VDQDSSURSULDWHWKLQJIRUDOHJLVODWXUH        WKHUHDUHQRWRWKHUEHQHILWVWRVSRUWVRWKHUWKDQ
   RUDVFKRROWRIRFXVRQ"                                       ZLQQLQJ5LJKW"
   $77251(<9(52))2EMHFWLRQ                    $77251(<9(52))2EMHFWLRQ
   7+(:,71(66<HV                               7+(:,71(665LJKW
   %<$77251(<75<21                                             $77251(<9(52)),WKLQNLIZHDUHJRLQJ
   41RZLQSDUDJUDSKLWVHOI\RXVD\WKHVHFRQG      WRKDYHDQ\TXHVWLRQVDERXWZKDWWKHODZVD\VZHVKRXOG
   VHQWHQFHDP\RSLFIRFXVRQZLQQLQJLQ\RXWKDQG\RXQJ         SXWLWEDFNXSRQWKHVFUHHQ
   DGXOWDWKOHWHVLJQRUHWKHRWKHULPSRUWDQWEHQHILWVWKDW        $77251(<75<21,GRQ WKDYHDQ\PRUH
   VFKRRODWKOHWLFVRIIHUV\RXQJDWKOHWHVVXFKDVWHDPZRUN        TXHVWLRQVRQWKDW
   DQGFDPDUDGHULHZKLFKDOODGYDQFHZKHQDOODWKOHWHVKDYH       $77251(<9(52))7KDQN\RX
   WKHRSSRUWXQLW\WRSOD\WKHVSRUWVWKH\ORYHDQGUHDS          %<$77251(<75<21
   WKHEHQHILWVRIVXFKSDUWLFLSDWLRQ'R\RXVHHWKDW"          4/HW VORRNDWSDUDJUDSKLQ\RXUUHSRUW<RX
   $<HV                                                  VD\WKHUHDUHPDQ\EHQHILWVWR\RXQJSHRSOHIURP


                                                 3DJH                                                         3DJH
    4:KHQ\RXVD\DP\RSLFIRFXV\RX UHQRW                SDUWLFLSDWLQJLQDWKOHWLFDFWLYLWLHVGLVFXVVHGIXUWKHU
    H[FOXGLQJDQDSSURSULDWHOHYHORIIRFXVRQZLQQLQJ             KHUHLQ'R\RXVHHWKDW"
    5LJKW"                                                          $<HV
    $77251(<9(52))2EMHFWLRQ                     4,VLWSRVVLEOHWKDWVRPH\RXQJSHRSOHDUH
    7+(:,71(667KDW VULJKW                      DFWXDOO\KDUPHGE\SDUWLFLSDWLRQLQDWKOHWLFDFWLYLWLHV"
    %<$77251(<75<21                                              $77251(<9(52))2EMHFWLRQ
    4,VWKHUHDUHDVRQDEOHYDULDQFHRIRSLQLRQVLQ          7+(:,71(66<HV,WKLQNVR
    WKHVSRUWLQJZRUOGVSRUWVZRUOGRQZKDWH[DFWO\WKH         %<$77251(<75<21
    SURSHUIRFXVRQZLQQLQJRXJKWWREHYHUVXVWKHRWKHU            4:KDWDUHVRPHRIWKRVHSRVVLEOHKDUPV"
   EHQHILWV"                                                      $6RPHRIWKRVHKDUPVPLJKWEHWKH\KDYHDEXVLYH
   $77251(<9(52))2EMHFWLRQ                    FRDFKHVWKDWSXVKWKHPWRRKDUGSK\VLFDOO\WKDW\RX
   7+(:,71(66<HV,WKLQNWKHUHLVDQ          NQRZGRQ WWUHDWWKHPLQDGHYHORSPHQWDOO\DSSURSULDWH
   DJUHHPHQWZLWKLQRXUILHOGRIVSRUWH[HUFLVHSV\FKRORJ\        ZD\WKDWWKHUHFRDFKHVDOORZOLNHEXOO\LQJWRJR
   WKDWDWWKH\RXWKVSRUWOHYHOWKHIRFXVVKRXOGEHRQ           RQWKDWNLGVDUHPDGHWRIHHOVKDPHLIWKH\GRQ W
   JLYLQJDVPDQ\NLGVDVSRVVLEOHDFKDQFHWRSDUWLFLSDWH        SHUIRUPZHOO7KRVHNLQGRIWKLQJV
   LQ\RXWKVXSSRUWULJKW$QGWKHQDVDWKOHWHVPRYHXS         42XWVLGHWKHFRDFKLQJ\RXPHQWLRQHGEXOO\LQJ
   WKHOHYHOVWKDWWKHUHLVPRUHHPSKDVLVDQGLPSRUWDQFH         6RLQVSRUWVWKDWKDSSHQVULJKWVRPHDWKOHWHVEXOO\
   SODFHGRQZLQQLQJ                                             RWKHUDWKOHWHVULJKW"
   %<$77251(<75<21                                             $,WKDSSHQVVRPHWLPHV
   4:KDWGR\RXPHDQE\WKDWDVDWKOHWHVPRYHXS         4$QGWKDWFDQKDYHORQJWHUPODVWLQJQHJDWLYH
   WKHOHYHOV"                                                    LPSDFWVULJKW"
   $7KDWW\SLFDOO\WKHUH VDJUHDWHUIRFXVLQKLJK        $<HV
   VFKRROWKDQPLGGOHVFKRROJUHDWHUIRFXVLQPLGGOH             4$UH\RXDZDUHWKDWVRPHWLPHVWKRVHZKRDUH
   VFKRROWKDQHOHPHQWDU\VFKRROQRWWKDWWKH\KDYH              DWKOHWHVDOVREHOLWWOHWKRVHZKRDUHQRW"


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0524
                                                 3DJH                                                         3DJH
    $<HV, PDZDUHRIWKDW                                DSRORJL]HIRUPLVVLQJWKDW
    4/HW VPRYHRQWRSDUDJUDSKQXPEHU,Q               4<RXUGLVVHUWDWLRQ"
    SDUDJUDSK\RXWDONHGDERXWDFKLHYHPHQWJRDO                  $<HV,GLGDWKLVZDVP\OLQHRIZRUN
    SHUVSHFWLYHWKHRU\ULJKW"                                      (DUO\LQP\FDUHHU,GLGDVHULHVRIWKUHHVWXGLHVNLQG
    $<HV                                                   RIWDSSLQJLQWRWKRVHKRZFKLOGUHQJDLQDQ
    4'RHVWKLVWKHRU\DSSO\WRRXWVLGHVSRUWVVD\          XQGHUVWDQGLQJRIWKHFRQFHSWVRIHIIRUWOXFNDQG
    IRUH[DPSOHWRDFDGHPLFV"                                      DELOLW\
    $<HV-RKQ1LFKROOVDFWXDOO\VWDUWHGWKHUHLQ           47KH\JDLQDQXQGHUVWDQGLQJRIFRQFHSWVRI
    FODVVURRPUHVHDUFK                                             HIIRUWRIOXFNDQGDELOLW\,VWKDWZKDW\RXVDLG"
   46RJRDOSHUVSHFWLYHWKHRU\LVDERXWJRDOV            $<HV
   ULJKW"                                                         4:KDWGRHVWKDWPHDQOXFNDQGDELOLW\"
   $<HV                                                  $6RZKHQNLGVDUHUHDOO\OLWWOHWKRVHWKH\
   4$QGKRZWRVHWJRDOVDQGKRZWRUHDFKJRDOV"          GRQ WFOHDUO\GLVWLQJXLVKWKHVH6RWKH\MXVWWKLQN
   $1RWH[DFWO\,ZRXOGXVHVRUWRIDQRWKHUDUHD        KH\ZKRHYHUWULHVKDUGHVWWKH\DUHJRLQJWRGRWKH
   RIJRDOVHWWLQJEXWJRDOSHUVSHFWLYHWKHRU\LVPRUH           EHVWULJKWDQGWKH\GRQ WUHFRJQL]HDELOLW\LQWKH
   DERXWZKDWLVRXUKRZGRZHGHILQHVXFFHVVDQGKRZ         VDPHZD\WKDWZHGRDVZHPDWXUHRYHUWLPHDQGWKDWZH
   DUHZHNLQGRIYDOXLQJZKDWLVLPSRUWDQWLQOLIH6RPH        XQGHUVWDQGKH\JRVK\RXFRXOGUXQFLUFOHVDURXQGPH
   SHRSOHWKLQNRIJRDOSHUVSHFWLYHLVKRZZHVHWJRDOV          WRGD\\RXZHUHDPXFKEHWWHUIDVWHURUVWURQJHUUXQQHU
   ULJKWWKDWWKH\QHHGWREHVSHFLILFPHDVXUDEOH7KDW         WKDQ,DPIRUH[DPSOHULJKW$QGWKDWGRHVQ WPHDQ
   LVVRUWRIDQRWKHUSDUWRIWKHOLWHUDWXUH$QGLQVWHDG       WKDW,FDQ WWU\KDUGHUWRLPSURYHEXWRXUDELOLW\
   1LFKROOVLVMXVWWKLQNLQJKRZWRXQGHUVWDQGSHRSOH V           OHYHOVDUHUHDOO\GLIIHUHQWWRGD\
   SHUVSHFWLYHRQZKDWWKH\DUHWU\LQJWRJHWRXWRI              6RLQWKHVHVWXGLHVZHVHWXSVFHQDULRVDQGZH
   WKLQJVULJKW$QGLI\RXKDYHWKLVWDVNJRDO                 VKRZNLGVDQGVRWKHUH VNLQGRIDFRQWUDVW6RPHERG\
   SHUVSHFWLYHVWKDW\RXDUHPRYLQJWKURXJKOLIHWKLQNLQJ         GLGQ WWU\KDUGDWDOODFWXDOO\RXWSHUIRUPHGVRPHERG\


                                                 3DJH                                                         3DJH
    KRZFDQ,MXVWJLYHLWP\EHVWDQGEHWKHEHVWWKDW,           ZKRVHHPVWREHIRFXVHGDQGFRQFHQWUDWLQJDQGZHVD\
    FDQEH$QGLI\RXDUHPRYLQJWKURXJKOLIHZLWKDQHJR         \RXNQRZZKDWGRZHWKLQNLVKDSSHQLQJKHUH$QGVR
    SHUVSHFWLYH\RXDUHWKLQNLQJKH\KRZFDQ,                   WKHVHFRQFHSWVDUHMXVWUHDOO\EOXUUHGDQGNLGVDUH
    GHPRQVWUDWHP\FRPSHWHQWP\FRPSHWHQFHDQGVKRZ             VD\LQJ\HDK\RXNQRZWKLVSHUVRQLVGHILQLWHO\WU\LQJ
    RWKHUSHRSOH, PEHWWHU                                        KDUGHU,GRQ WNQRZZK\WKH\GLGQ WSHUIRUPYHU\ZHOO
    4$QGWKDWKDSSHQVLQDOODVSHFWVRIOLIHULJKW        7KLVSHUVRQORRNVOLNHWKH\DUHQRWWU\LQJKDUG%XWLI
    QRWMXVWLQDFDGHPLFV"                                          WKH\ERWKGRLWDJDLQDQGWKH\WU\KDUGWKHQ,WKLQN
    $<HVLW VDSUHWW\UHOHYDQWWKHRU\                    WKH\ZLOOJHWWKHVDPHVFRUH6RMXVWWKLVZLGHYDULHW\
    4<RXSUREDEO\VHHLWLQIDFXOW\ORXQJHVDQG             RIVFHQDULRV.LGVGRQ WGLVWLQJXLVKOLNHOXFNDQG
   FROOHJHERDUGVDQG\RXZLOOFHUWDLQO\VHHLWORWVRI           DELOLW\6R\RXNQRZLI\RX UHDURXQGOLWWOHNLGV\RX
   SODFHVLQDFDGHPLDULJKW"                                     NQRZWKH\OLNHJDPHVOLNH&KXWHVDQG/DGGHUVRU
   $5LJKWDFDGHPLDIURP, PJXHVVLQJODZILUPVDQG       &DQG\ODQG7KRVHDUHDKXQGUHGSHUFHQWOXFNJDPHV
   SUREDEO\HYHU\ZKHUHZHJRLQWKHZRUOG                        ULJKW7KHUH VQR
   4<RXEHW$EVROXWHO\\RXVHHLWLQODZILUPVDQG      41RZ,XQGHUVWDQG,WKRXJKW\RXVDLGORFN
   SUHWW\PXFKHYHU\SODFH,DJUHHZLWK\RX                     /2&.<RXDUHVD\LQJOXFN/8&."
   /HWPHORRNDWSDUDJUDSKZLWK\RX<RXVD\        $5LJKWULJKW
   ILUVWLVWKHGHYHORSPHQWDOFRPSRQHQWRIDFKLHYHPHQWJRDO       47KDQN\RX,GLGQ WPHDQWRKDYH\RXJRRQZLWK
   SHUVSHFWLYHWKHRU\<RXQJFKLOGUHQDUHLQFDSDEOHRI           WKDWORQJH[SODQDWLRQZKHQ,MXVWPLVXQGHUVWRRG\RXURQH
   DFFXUDWHO\FRPSDULQJWKHLUDELOLW\WRRWKHUV                  ZRUG%XWWKDQN\RXIRUWKDWH[SODQDWLRQ7KDWKHOSV
   RYHUHVWLPDWHWKHLUDELOLW\DQGDUHQDWXUDOO\IRFXVHGRQ        PHXQGHUVWDQGZKDW\RX UHVD\LQJKHUH
   WKHLUHIIRUWDVDPDUNHURIVXFFHVV6R, PQRWVD\LQJ        6RP\WKHQ, PMXVWLQWHUHVWHGLQZKDWLVLW
   WKDW VZURQJEXW,GRQ WVHHDVRXUFHIRUWKDW'R\RX       WKDWDWVRPHSRLQWOLWWOHNLGVVRPHKRZUHDOL]HWKDWWKH\
   KDYHDVRXUFHIRUWKDWVWDWHPHQW"                              KDYHRYHUHVWLPDWHGWKHLUDELOLW\LVWKDWVRPHWKLQJWKDW
   $,GR1LFKROOVDQGP\GLVVHUWDWLRQ,          MXVWQDWXUDOO\KDSSHQVRULVLWVRPHWKLQJWKDWRWKHU


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0525
                                                 3DJH                                                        3DJH
    SHRSOHKDYHWRSRLQWRXWIRUWKHPIRUWKHPWRUHDOL]H          LVVXHZLWKLQHGXFDWLRQLVQRWWKDWNLGVDUH
    LWZKHWKHULWEHWHDFKHUVRUFRDFKHVRUMXVWWKHNLGV         RYHUHVWLPDWLQJEXWWKH\ UH\RXNQRZGRQ WKDYHDV
    DURXQGWKHP"                                                   KLJKVHOIHVWHHPRUFRQILGHQFHDQGWKRVHW\SHRIWKLQJV
    $2ND\                                                 %XWDUHWKHUHSHRSOHRXWWKHUHWKDWFRXOGEH
    6RMXVWDTXLFNH[DPSOH1LFKROOVZRXOGSXWD        RYHUHVWLPDWLQJ"$EVROXWHO\
    OLVWRIIDFHV\RXNQRZOLNHJHQHULFVPLOH\IDFHVWR        %<$77251(<75<21
    DQG\RXJRLQZLWKDFODVVRIILYH\HDUROGVDQG\RX        46R1LFKROOVGLGWKHVWXG\RIDFDGHPLF'LGKH
    LQWHUYLHZWKHPRQHDWDWLPH$QG\RXVD\RND\WKLV         GRDQ\VWXG\DWKOHWLFDOO\"
    LVHYHU\ERG\LQ\RXUFODVVDQGWKH\DUHOLVWHGE\KRZ          $7KDW VZKHUH,SLFNHGLWXSDQGORRNHGLQWKH
   JRRGDUHDGHUWKH\DUHULJKW$QGVRWKLVSHUVRQLV         SK\VLFDOGRPDLQDQGPDGHVFHQDULRVSHFLILFWRSK\VLFDO
   WKHYHU\EHVWLQ\RXUFODVVULJKWWKLVSHUVRQLVMXVW       DFWLYLW\DQGFRQGXFWHGWKHVHWKUHHVWXGLHVWKDWORRNHG
   WKHZRUVWUHDGHUWKLVSHUVRQLVWKHPLGGOH:KLFKRQH       DWHIIRUWDQGOXFNDQGDELOLW\ZLWKNLGVDJHGWR
   LV\RX"$QGWKHPHDQIRUNLGVLQNLQGHUJDUWHQLVOLNH        DQGVRUWRIUHSOLFDWHGKLVZRUNDQGZHIRXQGWKDWNLGV
   WKUHHZKLFKWHOOVXVWKH\ UHDOOVD\LQJZHOOWKDW VPH      PRYHWKURXJKWKHVHVDPHOHYHOVRIXQGHUVWDQGLQJLQWKH
   XSWKHUHKLJKULJKW, PWKHEHVWUHDGHULQWKHFODVV      SK\VLFDOGRPDLQZKHUHWKLQJVDUHDOLWWOHELWPRUH
   %XWDV\RXPRYHWKURXJKWKRVHHOHPHQWDU\VFKRRO\HDUV        REYLRXVIRUXVWRVHHULJKW,IZH UHVLWWLQJKHUH
   WKHPHDQVKLIWVWROLNHE\WKHWLPHWKH\ UHVD\LQ         ZRUNLQJRQPDWKSUREOHPVZHQRWEHDEOHLWPLJKWQRW
   VL[WKJUDGHEHFDXVHZKHQ\RXDVNVL[JUDGHUVDOO            EHDVHYLGHQWWKDWKH\VRPHERG\LVPRYLQJWKURXJK
   ULJKWKHUH VHYHU\ERG\LQ\RXUFODVVZKHUHGR\RXILW       WKHVHDQGWKH\DUHVWURQJHUULJKW%XWLQWKHSK\VLFDO
   LQWKH\DUHPXFKPRUHDFFXUDWH$QGZKHQWKH\DVNWKH       GRPDLQZKHQZHVHHHDFKRWKHUDQGPRYHDQGZHFDQVHH
   WHDFKHUVWKHUH VQRFRUUHODWLRQULJKWZLWK\RXQJHU         HDFKRWKHU VVNLOOOHYHOVLQVRPHRIWKHVHWKLQJVPRYH
   NLGVEHFDXVHWKH\DUHDOORYHUWKHSODFH%XWE\WKH        DWLQ\ELWIDVWHUEXWLWZDVWKHVDPHVRUWRIVWDJHVRI
   WLPH\RXJHWWRWKHXSSHUHOHPHQWDU\JUDGHVLW                GHYHORSPHQWLI\RXZLOO
   FRUUHODWHVKLJKO\ZLWKZKDWWKHWHDFKHUVDUHVD\LQJLQ        4,V\RXUGLVVHUWDWLRQFLWHGLQ\RXUELEOLRJUDSK\"


                                                 3DJH                                                        3DJH
    WHUPVRIWKHNLGV UHDGLQJDELOLW\$QG1LFKROOVVDLG         $1RLWLVQRW
    WKLVLVVRNH\EHFDXVHLWPDNHV0LGGOH6FKRRODYHU\NH\       4,VLWLQ\RXUOLVWRISXEOLFDWLRQV"
    GHYHORSPHQWDOSHULRGDVNLGVDUHJDLQLQJWKLV                  $,W VLQP\9LWDH
    XQGHUVWDQGLQJDOORIDVXGGHQQRZWKHUHLVDUHDVRQWR         4<RXKDYHDORWRISXEOLFDWLRQV&DQ\RXGLUHFW
    WU\\RXUKDUGHVWRUZLWKGUDZHIIRUWEHFDXVH\RXGRQ W          PHWRLW"
    ZDQWWRORRNVLOO\<RXNQRZWKDWRWKHUSHRSOHPLJKWEH       $<RX UHJRLQJWRJREDFNDZD\V2ND\6RWKH
    PRUHVNLOOHGWKDQ\RX$QGWKDW VZK\KHZDVVR               GLVVHUWDWLRQVWXG\LVRQLW VRQSDJHVL[)U\
    SDVVLRQDWHDERXWWKLVWKHRU\(YHQWKRXJKZHDUH              DQG'XGD
    FDSDEOHRIORRNLQJDWWKHZRUOGWKDWZD\ZHDOOFDQ           4,VHH)U\DQG'XGD
   FKRRVHWRMXVWVWD\IRFXVHGRQRXUHIIRUWDQGDELOLW\         $<HVWKRVHDUHP\GLVVHUWDWLRQVWXGLHV$QG,
   DQGEHLQJWKHEHVWWKDWZHFDQEH                            IROORZHGLWXSZLWKWZRVWXGLHVDWWKHWRSRIWKDWSDJH
   46RWKHUHDUHSHRSOHWKDWVRUU\                  )U\7KHUHDUHWZRGLIIHUHQWVWXGLHV
   $7KDWLVWKHRWKHUSLHFHRIWKHFOLPDWHKRZGR       42ND\
   ZHWUDLQWHDFKHUVDQGFRDFKHVWRFUHDWHWKDW                  /HWPHPRYHRQWRSDUDJUDSKRI\RXUUHSRUW
   HQYLURQPHQW7KDWWHOOVSHRSOHNHHSWKDWWDVN                ,MXVWJRRIHGRQP\WKHUHZHJR,ORVWDOOWKH
   LQYROYHPHQWJRLQJ                                            SLFWXUHVVR,FRXOGQ WVHH\RXDQ\PRUH-XVWRQHRI
   4$QGWKHUHDUHSHRSOHWKDWFRQWLQXHWR                WKHKD]DUGVRIWHFKQRORJ\2ND\6R, PORRNLQJDW
   RYHUHVWLPDWHWKHLUDELOLWLHVWKURXJKRXWOLIHULJKW"          SDUDJUDSKDQG\RXWDONDERXWWDVN+HUH\RXWDON
   $<HV                                                 DERXWJRDOSULPDU\JRDORULHQWDWLRQVDUHWDVNDQG
   4$QGWKDWLVH[DFHUEDWHGLIWKRVHSHRSOHDUH          HJRRULHQWDWLRQULJKW"
   QHYHUFRUUHFWHGWROHWWKHPNQRZLQVRPHZD\WKDWWKHLU       $<HV
   DELOLWLHVDUHQRWZKDWWKH\WKLQNWKH\DUHULJKW"            46R\RX UHQRWVD\LQJ,WKLQN\RX YHVDLG
   $77251(<9(52))2EMHFWLRQ                   WKLVEHIRUHEXW,MXVWZDQWWRPDNHVXUH,XQGHUVWDQG
   7+(:,71(66<HDK, GVD\RXUELJJHU         <RX UHQRWVD\LQJWKDWHJRRULHQWDWLRQLVEDGIURPDQ


                                                                                     3DJHVWR
                                                                                                    Armistead App. 0526
                                                3DJH                                                        3DJH
    LQGLYLGXDOEDVLVDUH\RX",WMXVWNLQGRIVRXQGVOLNH        ZDQWWREHLQWHQWLRQDODQG,ZDQWWRGRHYHU\WKLQJ,FDQ
    LW VDSHMRUDWLYH<RXGRQ WPHDQLWWKDWZD\GR\RX"        WRFUHDWHWKLVHQYLURQPHQWWKDWLVJRLQJWRKHOSEULQJ
    $,WKLQNLWGHSHQGVRQZKDW\RXUDLPLVDQGLI         RXWWKHEHVWLQP\DWKOHWHVULJKWDQG,GRQ WKDYH
    \RXKDYHLI\RXZDQWDWKOHWHVWRKDYHIXQDQGWU\          WRWDOFRQWURORYHUZKDWP\DWKOHWHVSHUFHLYH, PMXVW
    KDUGDQGKDYHJRRGUHODWLRQVKLSVDQG\RXNQRZIHHO           JRLQJWRGRZKDW,FDQWRSURPRWHWKHVHIHDWXUHVWKDW
    JRRGDERXWWKHPVHOYHVKDYHFRQILGHQFHKDYHHPSDWK\IRU       DUHLQWKHODVWVHQWHQFH, PDOVRJRLQJWRJHW
    RWKHUVWKLQJVOLNHWKDWWKHQLW VQRWVRPHWKLQJZH           DWKOHWHVWU\LQJWRJHWWKHPWREX\LQVRWKDWWKH\VHH
    ZRXOGZDQWWRSURPRWHLVWKHRULHQWDWLRQEHFDXVHDFURVV        KRZYDOXDEOHWKLVLVLIZHFUHDWHWKLVFDULQJ
    DZLGHERG\RIOLWHUDWXUHWKRVHMXVWGRQ WOHDGWRZKDW        WDVNLQYROYLQJFOLPDWH,WGRHVQ WLQDQ\ZD\PHDQ\RX
   ZHFDOODGDSWLYHRXWFRPHVULJKW                             NQRZZH UHQRWJRLQJWRJHWDEDGFDOORUWKLQJVDUHQ W
   2QWKHRWKHUKDQGPDQ\HOLWHDWKOHWHVDUHKLJK      JRLQJWRKDSSHQWKLQJVGRQ WJRRXUZD\VRPHERG\
   LQWDVNDQGHJRRULHQWDWLRQULJKW$QGWKHELJGHDO         VWDUWVEHIRUH,GR5LJKW$OONLQGVRIWKLQJV7KRVH
   KHUHLVWKDWSHRSOHUHDOO\QHHGWKDWKLJKWDVN                DUHMXVWSDUWRIVSRUWVULJKWEXWWKLVUHIHUVWRWKH
   RULHQWDWLRQWRVXVWDLQPRWLYDWLRQRYHUWLPHZLWKWKHXSV      FRDFKHVEX\LQJLQWRWKLVWUXFNORDGRIUHVHDUFKWKDWZH
   DQGGRZQVDQGRYHUFRPLQJLQMXULHVZLWKDOORIWKDWEXW      KDYHWKDWVKRZVKRZZHFDQKHOSDOODWKOHWHVKDYHDJRRG
   HJRRULHQWDWLRQLVQ WQHFHVVDULO\DEDGWKLQJLQWKLV         H[SHULHQFH
   FDVH%XWLWSUREDEO\LVQ WJUHDWLI\RXGRQ WKDYH          4<RX UHQRWDGYRFDWLQJIRUODZVUHTXLULQJDWDVN
   WKDWKLJKWDVNRULHQWDWLRQWRJRZLWKLW                     RULHQWHGHQYLURQPHQWDUH\RX"
   46ROHW VPRYHRQWRSDUDJUDSK2ND\6RLQ      $1R7KDWZRXOGEHWHPSWLQJ1R:H UHMXVW
   WKHODVWVHQWHQFH,WKLQNLWLVWKHQH[WWRODVW             VD\LQJLIRXUJRDOLVWRKHOSDWKOHWHVUHDFKWKHLU
   VHQWHQFH2ND\7KHVHQWHQFHWKDWVWDUWVZKHQWKH           SRWHQWLDOWKHQZHKDYHDORWRIVFKRODUVKLSWRJXLGH
   HQYLURQPHQWFUHDWHGE\FRDFKHVDQGRWKHUVLVDFDULQJ         WRJXLGHZKDWZHGR:HNQRZDORWDERXWKRZWR
   HQYLURQPHQWGR\RXVHHWKDWSDUW"                            PDNHWKDWKDSSHQ
   $<HV                                                 4'R\RXWKLQNFRDFKHVDUHXQIDLULIWKH\GRQ W


                                                3DJH                                                        3DJH
    4,WFRQWLQXHVDWKOHWHVDUHPRUHOLNHO\WR             DGRSWDWDVNRULHQWHGDSSURDFK"
    SHUFHLYHWKHRYHUDOOFOLPDWHDVWDVNLQYROYLQJ$             $77251(<9(52))2EMHFWLRQ
    FDULQJHQYLURQPHQWLVRQHZKHUHDWKOHWHVIHHOVDIH            7+(:,71(66,WKLQNWKH\GRDORWRI
    ZHOFRPHFRPIRUWDEOHDQGYDOXHGDQGDUHWUHDWHGZLWK           KDUPULJKWDQGWKH\VHWDWKOHWHVXSWRH[SHULHQFHDOO
    NLQGQHVVDQGUHVSHFWE\DOOLQWKHVSRUWVVHWWLQJ<RX        WKHVHQHJDWLYHDVSHFWVULJKWDQGWKH\GRQ WKDYHIXQ
    ZURWHWKDWULJKW"                                             DQGWKH\GRQ WWU\DVKDUG7KH\GRQ WKDYHDVJRRGD
    $<HV                                                  UHODWLRQVKLSWKH\H[SHULHQFHVKDPH$QGDOORIWKDW
    4$QGWKDWPHDQVDFDULQJHQYLURQPHQWIRUDOO           VWXIIMXVWPHDQVWKDWDORWRINLGVDUHQ WJRLQJWR
    DWKOHWHVULJKW"                                               VWLFNZLWKLWDQGZHDUHJRLQJWRORVHDORW$QGWKDW
   $<HV                                                 MXVWKDVORQJWHUPLPSOLFDWLRQVIRUSHRSOHOLYLQJ
   4$QGDFDULQJHQYLURQPHQWDOVRUHTXLUHVUXOHV"        SK\VLFDOO\DFWLYHOLYHVULJKW:KHQ\RXKDYHEDG
   $<HV                                                 H[SHULHQFHV\RXNQRZDORWRISHRSOHDUHUXQQLQJEDFN
   4$FDULQJHQYLURQPHQWVWLOOLQFOXGHVWKHFRDFK        RXWWKHUHWRNHHSSDUWLFLSDWLQJ
   OHWPHUHSKUDVHWKDW$FDULQJHQYLURQPHQWVWLOO         %<$77251(<75<21
   LQFOXGHVWKHFRDFKDQGRIILFLDOVDQGUHTXLUHVWKHPWR         4:HOORIILFLDOVPDNHFDOOVDOOWKHWLPHWKDW
   PDNHFDOOVWKDWPDNHWKDWVRPHDWKOHWHVGRQ WOLNH        XSVHWDWKOHWHV$WKOHWHVWKLQNWKH\ UHXQIDLURU
   DQGPD\HYHQJHWXSVHWULJKW"                                WKH\ UHZURQJ<RX UHDWHQQLVSOD\HU<RXUHPHPEHU
   $77251(<9(52))2EMHFWLRQ                   -RKQ0F(QURH"
   7+(:,71(665LJKW                            $,GR
   %<$77251(<75<21                                            4+H\HOOHGDOOWKHWLPH$OOWKHWLPHLVDQ
   46RKRZGR\RXVTXDUHWKDWZLWKDFDULQJ              H[DJJHUDWLRQ+HIUHTXHQWO\FODLPHGWKHFDOOVWKH
   HQYLURQPHQWZKHQWKHUXOHVDUHJRLQJWRPDNHVRPH             RIILFLDOVPDGHZHUHXQIDLUULJKW"
   DWKOHWHVXQKDSS\"                                             $<HV
   $6RWKLVLVDERXWFRDFKHVNLQGRIVD\LQJ\HV,      4'R\RXWKLQNWKDWWKHXPSLUHVVKRXOGKDYH


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0527
                                                 3DJH                                                         3DJH
    FKDQJHGWKHLUFDOOVWRVDWLVI\KLPLQRUGHUWRSURYLGHD        VRZHMXVWNLQGRIKDYHWRNHHSWKHIRFXVRQWKHUXOHV
    PRUHFDULQJHQYLURQPHQWIRUKLP"                                ,KDGDQDWKOHWHWHOOPHWKDWKLVWHDPPDWHKDVEHHQ
    $77251(<9(52))2EMHFWLRQ                     GLDJQRVHGZLWK06DQGWKDWGRHVQ WVHHPYHU\IDLU
    7+(:,71(66,WKLQNWKH\VKRXOGKDYH           ULJKWWKDWD\RXQJSHUVRQKDVWRJRWKURXJKWKDWEXW
    WDNHQKLPRXWRIDIHZWRXUQDPHQWVDQG,IHHOOLNHWKDW         , PJODGWKDWWKH\DUHSDUWRIDFDULQJDQG
    ZRXOGKDYHQLSSHGLWLQWKHEXG%XWZLWKUHVSHFWWRD         WDVNLQYROYLQJWHDPZKHUHWKH\ZDQWWKLVDWKOHWHWR
    FDULQJDQGWDVNLQYROYLQJFOLPDWHZKDW\RX UHWU\LQJWR        FRQWLQXHWREHSDUWRIWKHWHDPULJKW$QGLQPRUHRI
    VD\LVZHDUHWU\LQJWRWUHDWHYHU\RQHZLWKNLQGQHVVDQG        DQHJRLQYROYLQJWHDPZHPLJKWMXVWVD\KH\VRUU\
    UHVSHFWDQGZH UHJRLQJWRXQGHUVWDQGWKDWRIILFLDOVDUH        \RXDUHUHDOO\JRLQJWRLPSDLURXUDELOLW\WRZLQ
   RXWWKHUHWU\LQJWRGRWKHEHVWWKH\FDQDQGWKH\ UH          7KDW VRXUIRFXVWKDW VZK\ZHDUHKHUHVR\RXNQRZ
   JRLQJWRPDNHPLVWDNHVMXVWOLNHDOORIXVPDNH                KDYHDJRRGOLIHULJKW$QG,PHDQZKDW VKDSSHQLQJ
   PLVWDNHV$QGVRWKHJRDOZRXOGEHIRUXVWREH               LVWKH\DUHMXVWZRUNLQJZLWKWKLVDWKOHWHWRVWLOOEHD
   UHVSHFWIXO$QGLIZHIHHOOLNHEDGFDOOVDUHPDGHZH         YLWDOSDUWRIWKHWHDP
   ZRXOGGHDOZLWKLWLQDUHVSHFWIXOZD\ULJKWEXWZH          %<$77251(<75<21
   GRQ WGHDOZLWKLWOLNH:LOO6PLWKGLGULJKWOLNHZKHQ       4'R\RXWKLQN\RXQHHGWREHDQDWKOHWHWRKDYHD
   KHZH UHWU\LQJWROHDUQWRFRQWURORXUHPRWLRQV          IXOILOOLQJOLIH"
   ULJKWDQGZRZLWMXVWPDNHVVSRUWDSRZHUIXODUHQD           $1R
   ZKHQDWKOHWHVFDQOHDUQWKRVHWHUPV                           4, PJODGWRKHDU\RXVD\WKDWEHFDXVH, PQRW
   %<$77251(<75<21                                             PXFKRIDQDWKOHWH
   45LJKW,XQGHUVWDQGWKDW$QG, PMXVWDVNLQJ      $77251(<75<21:HOOLISHRSOHZDQWWR
   VR\RXJRWUXOHV\RXJRWFDOOVE\KLJKHUSRZHUVDQG\RX       EUHDNIRUOXQFKQRZ, PRND\ZLWKWKDW,FDQWDNHD
   JRWWROLYHE\WKRVHUXOHV$QGLI\RXWKLQNWKH\ UH          EUHDNQRZRUZHFDQNHHSRQJRLQJ:KDWHYHU'U)U\
   XQIDLUWKHQ\RXVKRXOGDVNWKHPWRKDYHWKHPFKDQJHG          3URIHVVRU)U\ZKDWHYHU\RXUSUHIHUHQFHLVDQGRWKHU
   ULJKW"                                                         FRXQVHO"


                                                 3DJH                                                         3DJH
    $<HV                                                   7+(:,71(66,WPLJKWEHQLFHWRKDYHD
    4%XWLWLVVWLOODFDULQJHQYLURQPHQWDQGMXVW          EUHDNDWWKLVSRLQW
    EHFDXVH\RXWKLQNLWLVXQIDLUWR\RXLQSDUWLFXODU             $77251(<75<212ND\'R\RXZDQWWRJR
    GRHVQ WPDNHLWXQFDULQJ                                       DQGJHWVRPHOXQFK"
    ,VWKDWDIDLUVWDWHPHQW"                              7+(:,71(66<HVVRXQGVJRRG
    $77251(<9(52))2EMHFWLRQ                     $77251(<75<21+RZORQJGR\RXQHHG",
    7+(:,71(66<RXNQRZWKHZD\UHVHDUFK         GRQ WNQRZZKDW\RXUHQYLURQPHQWLVDURXQG\RXLI\RX
    LVGRQHLV\RX UHDVNLQJHYHU\DWKOHWHRQWKHWHDPWR           EURXJKWDOXQFKRUWKHUH VDUHVWDXUDQWQHDUE\,VKDOI
    ILOORXWDVXUYH\ULJKW6RLWGRHVQ WPHDQWKDWWKHUH        DQKRXUORQJHQRXJK"'R\RXQHHGORQJHU"
   LVDSHUFHQWDJUHHPHQWULJKW,PD\IHHOOLNHWKH        7+(:,71(661RDKDOIKRXUZRXOGEH
   FRDFKLVQ WIDLUKDVQ WJLYHQPHDIDLUVKRWULJKW          JUHDW
   DQGVRPHERG\HOVHPD\QRWIHHOWKDWZD\%XWLQ               $77251(<75<217KHQZK\GRQ WZHWDNHD
   JHQHUDOWKHUH VVRUWRIDFRQVHQVXVRQPRVWWHDPV\RX        EUHDNDQGFRPHEDFNDWWHQPLQXWHVDIWHUWKHKRXU"
   NQRZWKDWSHRSOHDUHVHHLQJLWPRUHVLPLODUO\                7+(:,71(662ND\
   %<$77251(<75<21                                             9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   4<HV,JXHVV, PMXVWDVNLQJVSHFLILFDOO\DERXW       FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   UXOHV5XOHVE\WKHLUYHU\QDWXUHWKH\DUHQRWFDULQJ       2))9,'(27$3(
   WKH\GRQ WFDUHDERXWLQGLYLGXDOV7KH\DUHMXVWVHW          
   WKHUHDQG\RXQHHGWRIROORZWKHPULJKW"                       :+(5(8321$6+257%5($.:$67$.(1
   $77251(<9(52))2EMHFWLRQ                    
   7+(:,71(66<HDK+RSHIXOO\WKH\KDYH         219,'(27$3(
   EHHQHVWDEOLVKHGLQDFDULQJZD\WKLQNLQJDERXWZKDWLV       9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
   EHVWIRUDWKOHWHVEXWWKHUHLVMXVWVRPDQ\WKLQJV            7KHFXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG
   DFURVVVSRUWVWKDWDUHQRWQHFHVVDULO\IDLUULJKWDQG        7LPH


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0528
                                                 3DJH                                                        3DJH
    %<$77251(<75<21                                             ZLQLI,GHPRQVWUDWHFRPSHWHQFHULJKWWRDJUHDWHU
    42ND\                                                 GHJUHHWKDQRWKHUSHRSOHULJKWVRLIWKDWGRHVQ W
    /HW VJREDFNWRSDUDJUDSKRI\RXUUHSRUW         KDSSHQEXWWKDWLVKRZ,MXGJHVXFFHVVWKHQFKDQFHVDUH
    ,WVD\VDWKOHWHVKLJKLQWDVNRULHQWDWLRQDOVRUHSRUW          P\SHUFHSWLRQVRIDELOLW\DUHJRLQJWREHORZHU
    JUHDWHUFRQILGHQFHDQGSHUFHLYHGDELOLW\DQGWDVN              ,I, PWKHVWDURQWKHWHDPDQG,MXGJHVXFFHVV
    RULHQWDWLRQKDVEHHQFRUUHODWHGZLWKERWKVHOIDQGWHDP        EDVHGRQKRZ,FRPSDUHWRRWKHUVWKHQ,SUREDEO\JHWD
    HIILFDF\DQGJUHDWHUSHUFHLYHGFRQILGHQFH                  ORWRINXGRVDQGJHWUHHQIRUFHGIRUWKDW6RWKDW VZK\
    FRPSHWHQFHH[FXVHPH<RXDUHVD\LQJJUHDWHU                 ZHZLOOJXHVVWKHUHLVQRFRUUHODWLRQWKHUHLQWKHZD\
    FRQILGHQFHDQGSHUFHLYHGDELOLW\3HUFHLYHGDELOLW\LV        WKHUHLVWDVNULJKW$QGWKDWLVZK\1LFKROOVZDVPRVW
   GLIIHUHQWWKDQUHDOLW\LVQ WLW"                             FRQFHUQHGDERXWSHRSOHKLJKLQHJRRULHQWDWLRQZKRKDG
   $<HV                                                 ORZHUSHUFHSWLRQVRIDELOLW\EHFDXVHLWPDNHVXV
   4$UH\RXVD\LQJWKDWLVDJRRGWKLQJ"                 YXOQHUDEOH7KDW VZK\, PVRIRFXVHGDQGFDUHDERXW
   $,QWKHSV\FKRORJ\ZRUOGLWLVSUHWW\ZHOO            , PQRW\RXNQRZ, PQRWDVJRRG'RHVWKDWPDNH
   DFFHSWHGWKDWSHUFHSWLRQVDUHYHU\LPSRUWDQW6R\HDK       VHQVH"
   \RXDUHULJKWLQLGHQWLI\LQJWKDWWKLVLVDWKOHWHV            4, PSURFHVVLQJLW,VWLOOZDQWWRXQGHUVWDQG
   SHUFHSWLRQVRIWKHLUDELOLW\$QGVRDWKOHWHVZKRKDYH       LWDOLWWOHEHWWHU,QSDUDJUDSKDWKOHWHVKLJKLQ
   DKLJKWDVNRULHQWDWLRQLQWXUQ\RXNQRZVHHPWRKDYH       WDVNRULHQWDWLRQDOVRUHSRUWJUHDWHUFRQILGHQFHLQ
   PRUHFRQILGHQFHDQGEHOLHYHWKDWWKH\KDYHKLJKHU             SHUFHLYHGDELOLW\$P,ULJKWWKDWSHUFHLYHGDELOLW\LV
   DELOLW\                                                      QRWDFWXDODELOLW\"
   4$QGWKHQLQSDUDJUDSK\RXVD\E\FRQWUDVW       $5LJKWLW VQRW,WHPVZRXOGMXVWWDSLQWR,
   HJRRULHQWDWLRQLHWKHQRQSHMRUDWLYHGHVFULSWLYH          ZRXOGEHUHVSRQGLQJWRDTXHVWLRQOLNH, PUHDOO\JRRG
   WHUPIRUGHILQLQJVXFFHVVEDVHGRQDELOLW\DQG                DWEDVNHWEDOORUVRPHWKLQJ, PYHU\VNLOOHGLQ
   SHUIRUPDQFHRXWFRPHVLVQRWFRUUHODWHGZLWKSHUFHLYHG         EDVNHWEDOORU, PQRWYHU\VNLOOHGDQG,ZRXOGEH
   DELOLW\LQJHQHUDOFRQILGHQFHRIDWKOHWHVKLJKLQHJR         DQVZHULQJLWRQDTXDQWLWDWLYHVFDOHVRLWZRXOGEHP\


                                                 3DJH                                                        3DJH
    RULHQWDWLRQZDVPRUHRIEDVHGRQWKHLUSHUFHSWLRQRI           SHUFHSWLRQRILW
    DELOLW\DQGKDYLQJDVWURQJSK\VLFDOSUHVHQFH%XWLQ         4,VQ WLWLPSRUWDQWWKDWDWKOHWHVXQGHUVWDQG
    WKDWILUVWVHQWHQFHLWLQGLFDWHVLWVXJJHVWVWKDW          WKHLUDFWXDODELOLW\UDWKHUWKDQMXVWWKHLUSHUFHLYHG
    HJRRULHQWDWLRQLVEDVHGRQDFWXDOUHDOLW\H[FXVH         DELOLW\"
    DFWXDODELOLW\UDWKHUWKDQSHUFHLYHGDELOLW\'R,            $77251(<9(52))2EMHFWLRQ
    XQGHUVWDQGWKDWLQGLFDWLRQFRUUHFWO\"                          7+(:,71(66,WKLQNLW VLPSRUWDQWIRU
    $:KHUHGR\RXVHHWKDWLWLVRQDFWXDODELOLW\"        FRDFKHVWRVKDUHZLWKDWKOHWHVZKHUHWKH\DUHDQGZKDW
    42ND\                                                 WKH\FDQGRWRNHHSLPSURYLQJ, PQRWVXUHLW VVXSHU
    /HWPHVWDUWWKDWRYHU6RLQWKHVHQWHQFHLW        EHQHILFLDOWKDWZHQHHGWRJRDURXQGDQGWHOODWKOHWHV
   VD\VE\FRQWUDVWHJRRULHQWDWLRQLHWKH                   KH\\RX UHQRWYHU\JRRGWKLVSHUVRQLVEHWWHUWKDQ
   QRQSHMRUDWLYHGHVFULSWLYHWHUPIRUGHILQLQJVXFFHVV          \RXULJKWWKRVHDUHMXVWNLQGRIGLVWUDFWLRQVEXW
   EDVHGRQDELOLW\DQGSHUIRUPDQFHRXWFRPHVLVQRW              KHOSLQJSHRSOHVHHZKHUHWKH\DUHDQGZKDWWKH\FDQGR
   FRUUHODWHGZLWKSHUFHLYHGDELOLW\LQJHQHUDO'RHVWKDW      WRLPSURYH\HDKZRXOGVHHPYDOXDEOH
   PHDQLW VFRUUHODWHGZLWKDFWXDODELOLW\UDWKHUWKDQ          %<$77251(<75<21
   SHUFHLYHGDELOLW\"                                            4,QRUGHUIRUDQDWKOHWHWRLPSURYHGRHVQ WWKH
   $2ND\,XQGHUVWDQG1R1RZKDWLWPHDQVLV      DWKOHWHQHHGWRXQGHUVWDQGZKHUHKHRUVKHLVUDWKHU
   WKDWLI\RX UHLI\RX UHVRPHERG\ZKR VKLJKLQWDVN      WKDQMXVWZKHUHKHRUVKHSHUFHLYHVKLPRUKHUVHOIWR
   RULHQWDWLRQWKHQ\RX UHIHHOLQJVXFFHVVIXOZKHQ\RX          EH"
   JLYH\RXUEHVWHIIRUWZKHQ\RXVHHLPSURYHPHQWULJKW       $<HVZHJHWLQWRNLQGRIDUHZHWDONLQJOLNH
   7KRVHDUHWKLQJVZHKDYHPRUHFRQWURORYHU$QGVRZKHQ      PRUELGDELOLW\ULJKWRUDQGVRLQWKDWVHQVHGR,
   \RX UHIRFXVHGWKDWZD\\RXWHQGWRKDYHKLJKHU               QHHGWRWHOO, YHJRWILYHDWKOHWHVKHUH'R,QHHG
   SHUFHSWLRQVRIDELOLW\ULJKWEHFDXVHWKDWLV\RXU           WRPDNHVXUHWKH\DOONQRZZKHUHWKH\UDQNEHWZHHQRQH
   IRFXV,I\RXDUHKLJKLQHJRRULHQWDWLRQULJKWDQG        DQGILYHULJKWLQP\PLQHZKR VWKHEHVW"2UGR,
   VR, PIHHOLQJVXFFHVVIXOLI,RXWSHUIRUPRWKHUVLI,       MXVWQHHGWRWDNHHDFKDWKOHWHDVLGHULJKWDQGPDNH


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0529
                                                 3DJH                                                         3DJH
    VXUHWKDWWKH\XQGHUVWDQGKHUH VVRPHDUHDV\RXFRXOG           FODXVHWKHUH\RXFLWHRQO\WR%DODJXHU, PDVNLQJLI
    UHDOO\LPSURYHRQDQG,FDUHOHVVDERXWHYHQKDYLQJD          WKHUHDUHRWKHUVRXUFHVIRUWKDWFRQWHQWLRQWKDW
    FRQYHUVDWLRQDERXWZKR VWKHEHVWULJKWQRZULJKWWKDW        DWKOHWHVKLJKLQHJRRULHQWDWLRQUHSRUWORZHU
    WKLVSHUVRQLVEHWWHUWKDQWKLVSHUVRQULJKWLW V             FRPSDQLRQVKLSDQGJUHDWHUFRQIOLFWZLWKWHDPPDWHV$QG
    PRRW$QGWKDW VZKHUH1LFKROOVZDVFRPLQJIURP:KDW         LIWKHUHDUHRWKHUWKLQJVZKDWDUHWKRVHRWKHUVWXGLHV"
    LIZHDVFRDFKHVGLGPRUHMXVWWRIRFXVSHRSOHRQ              $/LNH6PLWKDQG6PDOOIRXQGWKDWLQ\RXWKVSRUW
    ULJKWRQZKDWWKH\FRXOGGRWRNHHSLPSURYLQJ"                 DWKOHWHV\RXNQRZGLGQ WOLNHWKHLUFRDFKDVPXFK
    4$QGDWKOHWLFVLWLVFHUWDLQO\REYLRXVWKRXJK         GLGQ WWKLQNWKHLUFRDFKNQHZDVPXFKDERXWWKHVSRUW
    ZKDW\RXUDWKOHWLFDELOLW\LVDWOHDVWDVIDUWKLQJV            GLGQ WOLNHWKHLUWHDPPDWHVDVPXFKZKHQWKH\KDGOLNH
   LQYROYLQJUDFLQJWLPHVIRUH[DPSOH\RXJHW\RXUWLPHV        KLJKHJRRULHQWDWLRQ
   VR\RXNQRZZKDW\RXUDELOLW\LVDVFRPSDUHGWR\RXUVHOI       4,VWKHUHDUHDVRQZK\\RXGLGQ WFLWH6PLWKDQG
   RUDVFRPSDUHGWRRWKHUSHRSOHULJKW"                         6PDOOIRUWKDWSURSRVLWLRQ"
   $5LJKW,WKLQNWKHUHLVMXVWDORWLQVSRUW          $<HV<HDK,WKLQNLWFURVVHVGRFXPHQWV:H
   WKDW VJLYLQJXVIHHGEDFNRIKRZZHFRPSDUHWRRWKHUV         FRXOGKDYHDGGHGDQRWKHU\RXNQRZUHIHUHQFHV
   $QGDOVRZKHQZHVHHWKHVHWLPHVLW VWKDW V               SUREDEO\7ULHGWRNHHSLWPRUHPDQDJHDEOHZKLFKLW V
   LQIRUPDWLRQWKDWZHFDQWUDFNKRZZH UHLPSURYLQJ             MXVWFRQVLVWHQWWKDWLIWKDWLVVRPHWKLQJWKDW\RXFDUH
   ULJKWDQGKRZZHDUHGRLQJ                                   DERXWWKHTXDOLW\RIUHODWLRQVKLSVWKHQLWGRHVQ W
   46RZK\GRZHVKDUHZLWKSHRSOHZHOOVWULNH       FRPHRXWRIWHQDV\RXNQRZLWFRPHVRXWZLWKWKH
   WKDW,ZLOOPRYHRQ                                         WDVNRULHQWDWLRQQRWDQHJR
   2ND\3DUDJUDSKSOHDVH/HWPHNQRZZKHQ        4:HOOWKHUHDVRQ, PDVNLQJWKLVLV,UHDGWKDW
   \RXVHHWKDW                                                  %DODJXHUUHSRUWDQG,GLGQRWVHHDQ\WKLQJLQWKHUH
   $,VHHLW7KDQNV                                    WKDWVXSSRUWHGWKLVSURSRVLWLRQRIWKLVILUVWFODXVHRI
   4$WKOHWHVKLJKLQHJRRULHQWDWLRQUHSRUWORZHU         WKLVVHQWHQFH$UH\RXFRQILGHQWWKDWLW VLQWKHUH"
   FRPSDQLRQVKLSDQGJUHDWHUFRQIOLFWZLWKWHDPPDWHV)RU        $,WZRXOGEHJRRGIRUPHWRUHYLHZ


                                                 3DJH                                                         3DJH
    WKDWSKUDVH\RXFDQJRDKHDGDQGUHDGWKHZKROH             4,I,VKRZHG\RXWKHDUWLFOHZRXOG\RXEHDEOHWR
    VHQWHQFHLI\RXZDQWEXW,ZDQWWRDVN\RXDTXHVWLRQ          ORFDWHLWZLWKRXWWRRPXFKGLIILFXOW\"
    DERXWWKDWSKUDVHRUWKDWFODXVH                               $, PQRWVXUH, GSUREDEO\MXVWKDYHWRUHYLHZ
    $2ND\                                                  LW%XWKDYLQJ
    46RIRUWKDWFODXVH\RXFLWH%DODJXHULQWKDW           $77251(<75<21:HOOOHW VEULQJLWXS
    VWXG\ULJKW"                                                   DQGPD\EH, YHMXVWPLVVHGLW$QGVRWKDWZRXOGEH
    $<HV%DODJXHU FRUUHFWVSURQXQFLDWLRQ                 WKHQDPHRILWLV0RWLYDWLRQDO&OLPDWHDQG*RDO
    47KDQN\RXIRUKHOSLQJPHSURQRXQFHWKDW               2ULHQWDWLRQVDV3UHGLFWRUVRI3HUFHSWLRQVRI,PSURYHPHQW
    %DODJXHU$QGLVWKHUHDQ\WKLQJHOVHRQZKLFK\RXEDVH         6DWLVIDFWLRQLQ&RDFK5DWLQJV$PRQJ7HQQLV3OD\HUV
   WKDWILUVWFODXVH"                                             (GXFDWRUV6R-DNHLI\RXFRXOGILQGWKDWDQGSXOO
   $<HVWKHUHDUHRWKHUUHIHUHQFHV7KLVSDUDJUDSK      WKDWXS
   LQJHQHUDOLVMXVWUHIHUULQJWRZHKDYHEHWWHU                 9,'(2*5$3+(5'R\RXZDQWLWPDUNHG"
   UHODWLRQVKLSVULJKWZKHQSHRSOHDUHKLJKLQWDVN             $77251(<75<21<HV,WKLQNZHDUHRQ
   RULHQWDWLRQ7KH\ UHUHDOO\YDOXLQJWKDWDVSHFWRI            QRZULJKW"
   KHOSLQJHDFKRWKHULPSURYH$QGLQDQHJRRULHQWDWLRQ        9,'(2*5$3+(5,WKLQNLW VXQOHVV,
   ZKHQ, PMXVWNLQGRI]RQHGLQRQPHDQGPHZDQWLQJWR        PLVVHGVRPHWKLQJ
   VKRZWKDW, PEHWWHUWKDQP\WHDPPDWHVULJKWLWMXVW         $77251(<75<21:HOO,ZLOOWDNH\RXU
   VHWVWKLQJVXSWRQRWKDYLQJDVJRRGDUHODWLRQVKLS           ZRUGIRUWKDW
   7KLVGRHVQ WPHDQWKDWHYHU\DWKOHWHRXWWKHUHWKDWLV         
   KLJKLQRULHQWDWLRQLWMXVWPHDQVWKHUH VDWHQGHQF\           :KHUHXSRQ([KLELW$UWLFOHZDV
   WKDWWKLVFRUUHODWHVWKDW\RX UHPXFKPRUHOLNHO\WR       PDUNHGIRULGHQWLILFDWLRQ
   VHHWKLVZKHQSHRSOHKDYHDKLJKHJRRULHQWDWLRQ              
   46R, PMXVWP\TXHVWLRQLVDOLWWOHPRUH          $77251(<75<21<RXNQRZZKDW,VKRXOG
   SUHFLVH7KDQN\RXIRUWKDWH[SODQDWLRQ%XWWKHILUVW       DVN\RX-DNHJRDKHDGDQGSXWWKDWLQWKHFKDWURRPVR


                                                                                      3DJHVWR
                                                                                                            Armistead App. 0530
                                                 3DJH                                                                   3DJH
    WKDW3URIHVVRU)U\FDQGRZQORDGLWDQGORRNDWLWUHDO           DJDLQ"
    TXLFN                                                           9,'(2*5$3+(5<RXFDQFRQWUROWKHPRXVH
    9,'(2*5$3+(5$OUHDG\GLG                       FXUVRUULJKWQRZVR\RXZRXOGKDYHWRPRYHLWRYHUKHUH
    $77251(<75<21*UHDW                           DQGMXVWGUDJLWGRZQRUFOLFNRQWKLVGRZQDUURZGRZQ
    %<$77251(<75<21                                               KHUH"
    46R3URIHVVRU)U\\RXFDQHLWKHUORRNDWWKLV           7+(:,71(666R,GRQ WUHDOO\KDYHD
    ZLWKPHRULWPLJKWEHEHVWLI\RXMXVWGRXEOHFKHFNLQ          PRXVHULJKWZLWKWKLV,W VMXVWXVLQJP\ILQJHURQ
    WKHFKDWURRPDQGWKHQLWVKRXOGGRZQORDGLWDQG\RX             WKHVFUHHQ
    VKRXOGEHDEOHWREULQJLWXSDQGORRNWKURXJKWKHUHDW          9,'(2*5$3+(55LJKW,ILWZRUNVOLNH
   \RXU,GRQ WZDQWWRVD\OHLVXUHEXWKRZ\RXZRXOG          QRUPDOL3DGWKLQJVWKHQ\RXZRXOGWRFOLFN
   SUHIHUWRGRLW                                                VRPHWKLQJ\RXZRXOGGRXEOHWDSLWDQGWKHQKROGZKLFK
   $2ND\,PD\KDYHWRJHWKHOSKHUHEHFDXVHLW V        VRXQGVFRQYROXWHG
   QRWDSSHDULQJRQP\HQG                                        $77251(<75<21:HOOLI\RXKDYHDQ\
   4'R\RXVHHLWLQWKHFKDWURRP"                        GLIILFXOWLHVZLWKLWZK\GRQ WZHOHW-DNHWDNHFRQWURO
   $<HDK,FDQFOLFNRQLWEXWWKHQLWWDNHVPHWR       DQGVFUROOGRZQZLWKLW"
   VRPHFDVHYLHZQHWWKLQJDQGLWVD\V,QHHGDFRGHDQG          7+(:,71(662ND\
   SDVVZRUG, PXVLQJWKHLUV\VWHPVR, PJXHVVLQJLW V         ,WKLQN'DQDLVRXWVLGHLI\RXZDQWPH
   UHODWHGWRWKDW                                                WRJHWKHUWRKHOSUHDOTXLFNWRVDYHWLPH
   9,'(2*5$3+(51RWWKHOLQN7KHUH              $77251(<75<21, OOWHOO\RXZKDW
   VKRXOGEHD3')GRFXPHQW\RXFDQMXVWFOLFNRSHQ               OHW VGRWKLV7KLVLVQRWDFULWLFDOSRLQWIRUPH,
   7+(:,71(662ND\                              MXVWZDQWHGWRWU\DQGXQGHUVWDQGWKLV6ROHW VFRPH
   9,'(2*5$3+(5,GRQ WNQRZKRZLWLVRQ         EDFNWRWKLVODWHU$OOULJKW"
   DQL3DGVR,ZLOODGPLW, PDWDORVV                         7+(:,71(662ND\
   7+(:,71(662ND\                              $77251(<75<21:HKDYHWLPH


                                                 3DJH                                                                   3DJH
    %<$77251(<75<21                                              %<$77251(<75<21
    4$UH\RXDEOHWRORRNDWLWQRZ"                        4,QSDUDJUDSK\RXWDONHGVHYHUDOWLPHVDERXW
    9,'(2*5$3+(57KHGRFXPHQWFDOOHGDW        WKHFOLPDWHULJKW"
    WKHEHJLQQLQJ"                                                  $<HV
    7+(:,71(66:KHQ,FOLFNRQWKHFKDW           4$QGLQWKHVHQWHQFHLWVD\VGHVSLWHWKHHJR
    , PMXVWVHHLQJRQHOLQNOLVWHG                                LQYROYLQJFOLPDWHVHPSKDVLVRQWKHSHUIRUPDQFHRXWFRPHV
    %<$77251(<75<21                                              UHVXOWVDFURVVVWXGLHVVXJJHVWWKHEHQHILWVRIWDVN
    48QGHUQHDWKWKHOLQNWKHUHVKRXOGEHD3')             LQYROYLQJFOLPDWHPD\KDYHDGLUHFWLPSDFWRQDWKOHWLF
    $2ND\,W VQRWVKRZLQJXSIRUPH                     SHUIRUPDQFHDQGXOWLPDWHO\LPSURYHSHUIRUPDQFHRXWFRPHV
   42ND\                                                 6RWKDWVHQWHQFHLVWDONLQJDERXWWKHFOLPDWHQRWWKH
   9,'(2*5$3+(5$OWHUQDWLYHO\&RXQVHO,        LQGLYLGXDO VRULHQWDWLRQULJKW"
   FDQJLYHUHPRWHFRQWURORIWKHGRFXPHQWWRKHUVRWKDW         $7KDW VFRUUHFW
   VKHFDQVFUROORQLWKHUVHOI                                  4$QG\RXVD\LWPD\KDYHDGLUHFWLPSDFW6RE\
   $77251(<75<21/HW VGRWKDW                 PD\WKDWLVQRWVXJJHVWLQJWKDWLW VSUREDEOHLWLV
   9,'(2*5$3+(52ND\                            MXVWVD\LQJWKDWLWPLJKW,VWKDWDIDLUVWDWHPHQW"
   7+(:,71(667KDQN\RX                        $<HV
   9,'(2*5$3+(5<RXVKRXOGKDYHFRQWUROLI       47KHQOHWPHPRYHGRZQWRSDUDJUDSK
   \RXMXVWWU\WRFOLFNRQWKHVFUHHQDQG\RXMXVWVFUROO        $&DQ,MXVWVD\RQWKDWSRLQW"
   LWDQGPRYHLW3HUIHFW                                      4<HV
   7+(:,71(662ND\                             $,WKLQNWKLVLVDQDUHDZLWKLQRXUERG\RI
   6RKRZGR,PRYHWKHGRFXPHQW"                  UHVHDUFKWKDWWKHUHLVOHVVVXSSRUWIRUEXWWKHVWXGLHV
   9,'(2*5$3+(56RLI\RXZRXOGPRYHWKH         WKDWDUHLQSODFHZRXOGVXJJHVWWKDWSHUFHSWLRQVRID
   FXUVRUOLNHRYHUKHUHDQGGUDJLW                             WDVNLQYROYLQJFOLPDWHZRXOGOHDGWRJUHDWHU
   7+(:,71(666RUU\&DQ\RXVD\WKDW          SHUIRUPDQFH6RWKHUHLVVRPHHYLGHQFHIRUWKDWEXW,



                                                                                          3DJHVWR
                                                                                                    Armistead App. 0531
                                                 3DJH                                                        3DJH
    ZRXOGDJUHHLW VQRWVWURQJDQGWKDWLVZK\WKHZRUGLQJ        WKDWDQHDV\WKLQJWRGR"
    LVVRIWHUWKHUHULJKWEXWWKHUHLVQRHYLGHQFH               $1RLWLVQRW
    VXJJHVWLQJWKDWSHUFHSWLRQVLQDQHJRLQYROYLQJFOLPDWH        4$QGLWLVEDVHGRQZKDWRWKHUSHRSOHWKLQNRI
    ZRXOGOHDGWREHWWHUSHUIRUPDQFH$QGVRRQWKHRQH           \RXDQG\RXUZRUNULJKW"
    KDQGSHRSOHMXVWPLJKWEHWKLQNLQJZRZWKDW VD              $<HDK,PHDQWKHUH VUHTXLUHPHQWVWRFRPSOHWH
    QREUDLQHUULJKWLIDOO\RXFDUHDERXWSHUIRUPDQFHJR        D3K'IRUVXUHWKDWLQYROYHRWKHUSHRSOH
    ZLWKWKDWHJRLQYROYLQJFOLPDWHEXWIRUDOOWKHVHRWKHU       4$QGWKH\ UHMXGJLQJ\RXUZRUNULJKW"
    UHDVRQVZHZRXOGDUJXHLWPDNHVVHQVHULJKW,ISHRSOH       $5LJKW
    DUHKDYLQJPRUHIXQDQGKDYLQJEHWWHUUHODWLRQVKLSVDQG        4$QGWKDWFUHDWHV,SUHVXPHIRUPRVWSHRSOHLW
   WU\LQJKDUGDQGVRRQWKDWLWPLJKWOHDGWREHWWHU           FUHDWHVDORWRIDQ[LHW\'LGLWIRU\RX"
   SHUIRUPDQFH                                                  $77251(<9(52))2EMHFWLRQ
   4,QSDUDJUDSK\RXWDONDERXW\RXQJDWKOHWHV        7+(:,71(66<RXNQRZDWWLPHVLWZDV
   ZLWKDKLJKHJRRULHQWDWLRQSDUWLFLSDWLQJLQDYDULHW\        VWUHVVIXOEXW,HQMR\HGHYHU\PLQXWHRILW$QGVR
   RIVSRUWVKDYHUHSRUWHGKLJKHUWUDLWVDQGVWDWH               VRPHRIWKLVFRPHVEDFNWRDQ[LHW\LVSUHWW\W\SLFDODQG
   FRJQLWLYHDQGVRPDWLFDQ[LHW\DVZHOODVJUHDWHU              ZH UHJRLQJWRH[SHULHQFHWKDWEXWZKDW, PIHHOLQJ
   FRQFHQWUDWLRQG\VIXQFWLRQPDODGDSWLYHSHUIHFWLRQLVPDQG      DERXWLWLVKHOSLQJSHRSOHGHYHORSVWURQJFRSLQJVNLOOV
   FRQFHUQRYHUPDNLQJPLVWDNHV1RZP\TXHVWLRQLV           VRWKDWWKH\FDQGHDOZLWKWKDWVWUHVVDQGDQ[LHW\$QG
   LVQ WWKDWWUXHIRUEDVLFDOO\DQ\HQGHDYRUWKDWWKHUH V      WKDWLV\RXNQRZDQRWKHUVWXG\WKDWZHUHFHQWO\
   JRLQJWREH\RX UHJRLQJWRKDYHDQ[LHW\LQWU\LQJ        SXEOLVKHGWKDWSHRSOHZKRSHUFHLYHGDFDULQJWDVN
   WRVXFFHHG"                                                   LQYROYLQJFOLPDWHUHSRUWHGJUHDWHUFRSLQJVNLOOVULJKW
   $77251(<9(52))2EMHFWLRQ                   %<$77251(<75<21
   7+(:,71(66<RXNQRZGHILQLWHO\DQ[LHW\      4$QGWRGHYHORSWKRVHFRSLQJVNLOOV\RXQHHGWR
   DQGVWUHVVLVSDUWRIVSRUW:LWKWKHVHFOLPDWHVWKRXJK      VRPHWLPHVIROORZWKHUXOHVRIRWKHUVOLNHWKRVHRQWKH
   ZKDWZH UHVHHLQJFRQVLVWHQWO\LVWKDWDWKOHWHVUHSRUW        3K'FRPPLWWHHLIWKDW VWKHULJKWWHUPLQRORJ\UDWKHU


                                                 3DJH                                                        3DJH
    WKDWZKHQWKH\SHUIRUPWKHLUEHVWWKH\ZHUHOHVV               WKDQVD\LQJKH\FRPPLWWHH\RX UHZURQJ, PULJKW\RX
    ERWKHUHGE\VWUHVVDQGDQ[LHW\,QIDFWWKHNLQGRI          KDYHWRGRZKDW,VD\ULJKW"
    HSLWRPHRIEHLQJZKDWZHFDOOEHLQJLQIORZULJKW        $77251(<9(52))2EMHFWLRQ
    \RXMXVW\RXIHHOKLJKFRQILGHQFH\RX UH                  7+(:,71(66, PQRWVXUHWKDW VUHODWHG
    FRQFHQWUDWLQJZHOO\RX UHQRWZRUULHGDERXW                   WRFRSLQJVNLOOVEXWZKDW\RXVDLGLVWUXHLWGRHV
    GLVWUDFWLRQV\RX UHQRWVWUHVVHGULJKW$QGVR             WDNHSODFHZKHQ\RX UHZRUNLQJRQD3K'
    FRQVLVWHQWO\SHRSOHZRXOGUHSRUWDKLJKHUHJR                  %<$77251(<75<21
    RULHQWDWLRQWKH\MXVWQRPDWWHUKRZLW VPHDVXUHG         4$QGSUHWW\PXFKHYHU\SDUWRIOLIH\RXFDQ W
    DOOWKLVNLQGRIEDGVWXIIWKDWZH GUDWKHUWDNHRXW          MXVWVD\,GRQ WOLNH\RXUUXOHVGRLWP\ZD\DQGJHW
   ULJKWDQGQRWKDYHSHRSOHZRUULHGDERXW\RXQJDWKOHWHV      \RXUZD\\RXKDYHWRFRSHZLWKWKHZRUOGDVLWLVQRW
   ZRUULHGDERXWWKH\MXVWH[SHULHQFHLWPRUH6RWKH          DV\RXZDQWLWWREHDOOWKHWLPHULJKW"
   FRJQLWLYHDQ[LHW\LVZKDW VJRLQJRQXSKHUHULJKW          $5LJKW
   ZRUU\DQGGRXEWDQGWKHVRPDWLFDQ[LHW\LV,FDQ WJHW       $77251(<9(52))2EMHFWLRQ
   DJULSRQP\KHDUWUDWHP\PXVFOHVIHHOWHQVH,KDYH        %<$77251(<75<21
   EXWWHUIOLHVDQGWKRVHNLQGVRIWKLQJV6RZHVHHWKDW        4$QGWKDW VDKDUGWKLQJULJKW"
   PRUHZLWKDWKOHWHVKLJKLQHJRRULHQWDWLRQ                   $,WLV
   4:HOOZKHQ\RXZHUHJRLQJWKURXJKFROOHJHDQG        4%XWLWEXLOGVFKDUDFWHUGRHVQ WLW"
   JHWWLQJ\RXU3K'\RXZHUHVWULYLQJWRGR\RXUYHU\         $,WVXUHFDQ
   EHVWDQG\RXZHUHVWULYLQJWRVXFFHHGDQGJHW$VWRJHW       46ROHWPHPRYHRQWKHQ,WKLQN,XQGHUVWDQG
   \RXU3K'$OORIWKRVHWKLQJVDUHVRPHWKLQJWKDW            ZKDW\RX UHVD\LQJLQWKLVSDUDJUDSK/RRNLQJDW
   UHTXLUHV\RXWRVXFFHHGDQGWRFRQYLQFHRWKHUSHRSOHKRZ      SDUDJUDSKRND\OHWPHVHHLIZHDGGUHVVHGVRPHRI
   JRRG\RXDUHULJKW"                                          WKHVHWKLQJV+DYH\RXVWXGLHGGHSUHVVLRQDQGPHQWDO
   $7RVXFFHHGDQGPDNHWKHZRUOGEHWWHU                KHDOWKZLWKDWKOHWHV"
   45LJKWEXWWRJHWD3K'WKDW VDWRXJKLV      $1RLW VQRWP\DUHD<HV, YHUHDGVRPHEXW


                                                                                     3DJHVWR
                                                                                                    Armistead App. 0532
                                                 3DJH                                                        3DJH
    QRLW VQRWDQDUHDWKDW,VWXGLHGLQGHSWK                   46R,DPJRLQJWRDVN\RXDERXWVHYHUDOSDUWVLQ
    46R\RXKDYHQ WZULWWHQRQLW"                          KHUHVRLWPLJKWEHKHOSIXOWRKDYHWU\RQHPRUH
    $:HPLJKWKDYHDVWXG\ZKHUHZHLQFOXGHVRPH            WLPHWRVHHLI\RXFDQJLYH\RXDFFHVVWRLWWR
    SDUDPHWHUVRISV\FKRORJLFDOZHOOEHLQJOLNHVWXGLHV            JLYH\RXFRQWURORYHUWKHVFUHHQVR\RXFDQVFUROOGRZQ
    ZLWKNLGVORRNLQJDWKRZWKHFOLPDWHUHODWHVWRD              $QG\RXVKRXOGEHDEOHWRWUHDWLWMXVWOLNHDQ\WKLQJ
    FDULQJFOLPDWHUHODWLQJWRUHSRUWLQJJUHDWHUKRSHDQG           HOVHRQ\RXUL3DGZLWK\RXUILQJHUVRUKRZHYHU\RXGR
    KDSSLQHVVDQGOHVVGHSUHVVLRQDQGVDGQHVVEXWVWXG\LQJ         LW
    OLNHGHSUHVVLRQLVQRWDSULPDU\DUHDIRUPH                   $6RZKHQ,FOLFNRQFRQWUROLWKDVOLNHD
    4+DYH\RXORRNHGDWWKHLVVXHIRUDWKOHWHV              NH\ERDUGDQGWKHQLWKDVDTXHVWLRQPDUN
   EHWZHHQLQMXULHVDQGPHQWDOKHDOWKRUGHSUHVVLRQ"              $77251(<75<21-DNHDQ\LQSXW"
   $1RQR                                               9,'(2*5$3+(5,WVRXQGVOLNHLW VMXVW
   4$UH\RXDZDUHWKDWWKHUHDUHVWXGLHVDQGSDSHUV       EULQJLQJXSWKHL3DGNH\ERDUGDQGWKHUHVKRXOGEH
   RQWKDWLVVXH"                                                 VRPHWKLQJWKDWORRNVOLNHDNH\ERDUGDQGWKDWPLQLPL]HV
   $<HV                                                  WKHNH\ERDUGLWVHOIVR\RXFDQMXVWJHWEDFNWRWKH
   42ND\                                                 VFUHHQ
   /HWPHDVN\RXWRWDNHDORRNDWZHOO            $77251(<9(52)), PVRUU\'U)U\
   EHIRUHZHJRKDYH\RXKHDUGRIWKH$PHULFDQ&ROOHJHRI        7+(:,71(661RJRDKHDG
   6SRUWV0HGLFLQH"                                               $77251(<9(52)),ZDVMXVWJRLQJWR
   $,KDYH                                               DVN'DYHLVWKHUHDQ\ZD\WRJHWLQWRXFKZLWK'DQD
   4$QGDUHWKH\ZHOOUHJDUGHG"                           0D\EHZHFRXOGVHQGKHUWKH3')DQGKDYHKHUSULQWWKHP
   $<HV                                                  VRWKDWWKHZLWQHVVFRXOGKDYHKDUGFRSLHV7KDWPLJKW
   4+DYH\RXKHDUGRI$QGUHZ:RODQLQ"                     PDNHWKLVDOOZRUNDOLWWOHELWHDVLHUIRUDQ\IRU
   $,KDYHQRW                                           WKLVRUDQ\RWKHUVWXGLHVWKDW\RXZRXOGZDQWKHUWR
   $77251(<75<212ND\                          ORRNDW


                                                 3DJH                                                        3DJH
    :HOOOHW VEULQJXSWKLVH[KLELWZKLFK         $77251(<75<21<HDKH[FHSWWKH\ UHLQ
    ZLOOEHWKHQ([KLELW,WKLQNWKLVZLOOEHZHOO         DKRWHOURRPQRZ7KDW VRQHRIWKHLV'DQDRXWVLGH
    ,ZLOOMXVWDVN-DNHKHOSPHRXWZLWKQXPEHUV7KH           WKHGRRUGLG\RXVD\"
    WLWOHLV'HSUHVVLRQDQG$WKOHWHV3UHYDOHQFHDQG5LVN           7+(:,71(66<HVLVLWRND\LI,MXVW
    )DFWRUV                                                        FKHFNZLWKKHUEHFDXVH,WKLQNVKHKDVDOLWWOHEXVLQHVV
    9,'(2*5$3+(5,EHOLHYHZH UHRQ1XPEHU         FHQWHUVHWXSPD\EH
    QRZ                                                          $77251(<9(52)),IZHFDQJRRIIWKH
    $77251(<75<212ND\3HUIHFW                 UHFRUGIRUDPRPHQW
    9,'(2*5$3+(5-XVWJLYHPHRQHPRPHQW          $77251(<75<21*UHDW
                                    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
    :KHUHXSRQ([KLELW$UWLFOHZDV             FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   PDUNHGIRULGHQWLILFDWLRQ                     2))9,'(27$3(
                                    
   %<$77251(<75<21                                              :+(5(8321$6+257%5($.:$67$.(1
   4+DYH\RXVHHQWKLVGRFXPHQWWKDW,QRZPDUNHGDV      
   ([KLELWEHIRUH"                                              219,'(27$3(
   $1R,KDYHQ W-DNHFDQ\RXVKRZWKHWRSDJDLQ      9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
   SOHDVH"                                                        7KHFXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   9,'(2*5$3+(57KDWLVDVIDUXSDVLW          $77251(<75<212ND\,I\RXFDQQRZ
   JRHV                                                          ORRNDWJLYHPHDPRPHQW/HW VORRNDW\RXU
   7+(:,71(662ND\                             RULJLQDOUHSRUWRQSDJHWKDWZRXOGEH([KLELW
   %<$77251(<75<21                                             9,'(2*5$3+(5'LG\RXVD\SDJHRU
   4$UH\RXIDPLOLDUZLWKDQ\RIWKHWKUHHDXWKRUV"       SDUDJUDSK"
   $1R                                                   $77251(<75<213DJH


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0533
                                                 3DJH                                                         3DJH
    9,'(2*5$3+(52ND\                             4/HWPHDVN\RXDERXW6SHFLDO2O\PSLFV,VWKH
    $77251(<75<212ND\ULJKWWKHUHLV            HQWUDQFHLQWR6SHFLDO2O\PSLFVGR\RXNQRZDQ\WKLQJ
    JUHDW                                                          DERXWOHWPHEDFNXS<RX UHDZDUHRIZKDW6SHFLDO
    %<$77251(<75<21                                              2O\PSLFVLVULJKW"
    42ND\                                                  $<HV, PDZDUHRILW
    'R\RXVHHWKDW'RFWRU)U\"                           4$QGGR\RXNQRZLIWKHUHDUHVSHFLILF
    $<HV                                                   UHTXLUHPHQWVLQRUGHUWREHDEOHWRSDUWLFLSDWHLQ
    46RWKHWLWOH\RXKDYHKHUHLV([FOXGLQJ*URXSV         6SHFLDO2O\PSLFV"
    IURP3DUWLFLSDWLQJLQ+LJKVFKRRO$WKOHWLFVZRXOG               $,NQRZWKHUHDUH,FRXOGQ WWHOO\RXZKDWWKH\
   'HSULYH7KHPDQG7KHLU7HDPPDWHVRID:LGH5DQJHRI            DUHDFURVVWKHGLIIHUHQWFDWHJRULHVDQGDOO
   (GXFDWLRQDO%HQHILWV'LG\RXZULWHWKDW"                     4&DQDEOHERGLHGDWKOHWHVDQGDEOHPLQGHG
   $<HV                                                  DWKOHWHVSDUWLFLSDWHLQ6SHFLDO2O\PSLFV"
   42ND\                                                 $6SHFLDO2O\PSLFVZDVFUHDWHGWRJLYHDWKOHWHV
   7KHQ,ZRXOGOLNHWRFRPSDUHWKDWWRWKHWLWOH        RND\'DQDVDLGVKHKDGQ WUHFHLYHGWKRVH-XVWWR
   WKDW\RXKDYHLQ\RXUODWHVWUHSRUWLI\RXFRXOGEULQJ        GRXEOHFKHFNWKDWLWLV'DQD#PLGZHVWUHSRUWHUVQHW
   WKDWXSDQGWKDWLVRQSDJHWHQ6RKHUH\RXFKDQJH          ,W VQRWFRP
   JURXSVIURPWRH[FOXGLQJWUDQVJHQGHUVWXGHQWV:K\GLG        9,'(2*5$3+(5,ZLOOGRXEOHFKHFNLW
   \RXPDNHWKDWFKDQJH"                                          7+(:,71(667KDQN\RX
   $,WKLQNMXVWEHFDXVHLW VVSHFLILFWRWKLVFDVH      $77251(<75<216RUU\WRLQWHUUXSW\RXU
   4:HOOWKHVSHFLILFVRIWKLVFDVHZHUHWKHVDPH        IORZ
   EHIRUHDVWKH\DUHQRZVRGR\RXKDYHDQ\EHWWHU              %<$77251(<75<21
   H[SODQDWLRQ"                                                   46RP\TXHVWLRQZDVFDQDEOHERGLHGDWKOHWHVDQG
   $77251(<9(52))2EMHFWLRQ                    DEOHPLQGHGDWKOHWHVSDUWLFLSDWHLQ6SHFLDO2O\PSLFV
   7+(:,71(66<RXNQRZ,HGLWHYHU\WKLQJ       DQG\RXVWDUWHGWRVD\6SHFLDO2O\PSLFVZDVFUHDWHG


                                                 3DJH                                                         3DJH
    ,ZULWHDQGVRLI,VHHVRPHWKLQJWKDWPD\FODULI\PRUH        $5LJKW7KHDQVZHULVQRWKH\FDQ W
    RUFKDQJHDZRUG\RXNQRZWKDWPDNHVLWEHWWHUWKHQ,        SDUWLFLSDWH
    ZRXOGGRWKDW,WKLQNWKDW VZKDWKDSSHQHGKHUH              46RWKDWLVDQH[FOXVLRQULJKW"
    %<$77251(<75<21                                              $<HV
    4$UH\RXDZDUHRIDQ\JURXSVEHLQJH[FOXGHGIURP        4$QGLW VDFDWHJRULFDOH[FOXVLRQULJKW"
    SDUWLFLSDWLQJLQ\RXWKRUDGXOWDWKOHWLFV"                      $<HV
    $77251(<9(52))2EMHFWLRQ                     4'R\RXWKLQNLW VDIDLUH[FOXVLRQ"
    7+(:,71(66<RXNQRZ,WKLQNDORWRI          $77251(<9(52))2EMHFWLRQ
    WLPHVNLGVZLWKGLVDELOLWLHVDUHNHSWRXW,WKLQNNLGV        7+(:,71(666RUU\<HVLQWKLVFDVH
   ZKRKDYHOLPLWHGILQDQFLDOUHVRXUFHVVRPHWLPHVDUH             %<$77251(<75<21
   OLPLWHG,WKLQNJURXSVDUHVRLWPD\QRWEHDUXOH       4$QGZK\"
   WKDW\RXFDQQRWSOD\EXW\RXNQRZWKHUHDUHRWKHU            $%HFDXVHWKRVHDEOHERGLHGDWKOHWHVKDYHDQRWKHU
   JURXSVZKRPLVVRXWRQWKHRSSRUWXQLWLHVWRSOD\              DUHDZKHUHWKH\FDQFRPSHWH
   %<$77251(<75<21                                             4$QGVR6SHFLDO2O\PSLFVLVHVSHFLDOO\GHVLJQDWHG
   42WKHUWKDQWKDWFDQ\RXWKLQNRIDQ\JURXSV          IRUFHUWDLQDWKOHWHVZKRDUHQRWDEOHWRFRPSHWHDJDLQVW
   WKDWDUHH[FOXGHGE\DQ\UXOHRUUHTXLUHPHQWVIURPDQ\         DEOHERGLHGDQGDEOHPLQGHGDWKOHWHVULJKW"
   DWKOHWLFDFWLYLWLHV"                                           $8KKXK \HV \HV
   $77251(<9(52))2EMHFWLRQ                    46RLW VHVVHQWLDOO\DSURWHFWHGFDWHJRU\ULJKW"
   7+(:,71(661RWWKDW VFRPLQJWRPLQG         $77251(<9(52))2EMHFWLRQ
   WKDWDUH\RXNQRZOLNHREYLRXVRUVWDWHGLQWKHUXOHV       7+(:,71(66<HV,GRQ WNQRZLILWLV
   EXW,WKLQNWKHUH VSHUVRQDOGLIIHUHQWHWKQLFPLQRULW\        SURWHFWLRQVRPXFKDVMXVWSURYLGHDQRSSRUWXQLW\
   JURXSVIRUH[DPSOHWKDWPLJKWKDYHOHVVH[SRVXUHWR          %<$77251(<75<21
   VSRUWWKLQJVOLNHWKDW                                       4$QGWKDWH[FOXVLRQLVRIZLWKUHVSHFWWR
   %<$77251(<75<21                                             6SHFLDO2O\PSLFV\RXZRXOGQ WFDOOWKDWDUELWUDU\


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0534
                                                  3DJH                                                        3DJH
    ZRXOG\RX"                                                      %<$77251(<75<21
    $77251(<9(52))2EMHFWLRQ                     4'R\RXWKLQNLQKLJKVFKRROWKDWHYHU\VSRUW
    7+(:,71(661R                                 VKRXOGKDYHDGLIIHUHQWUXOHRIZKHQWUDQVJHQGHUJLUOV
    %<$77251(<75<21                                              FDQSDUWLFLSDWHLQWKRVHVSHFLILFJLUOVVSRUWV"
    41RZLIZHJRGRZQLQSDUDJUDSKWKHVHFRQG         $77251(<9(52))2EMHFWLRQ
    VHQWHQFHVD\VLIWUDQVJHQGHUVWXGHQWVDUHDUELWUDULO\          7+(:,71(66<RXNQRZ,MXVWFRPHEDFN
    H[FOXGHGIURP\RXWKVSRUWVWKH\DUHLQWXUQGHSULYHG          WRP\H[SHUWLVHDQGZK\, YHEHHQDVNHGWREHRQWKLV
    RIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHVDQGWKHLU            FDVHLVMXVWWRDGGUHVVWKHEHQHILWVWKDWDWKOHWHV
    WHDPPDWHVDUHGHSULYHGRIDJHQXLQHO\RSWLPDOVSRUWV            UHFHLYHIURPSDUWLFLSDWLQJLQVSRUW6R,ZRXOGQ W
   H[SHULHQFH                                                    SHUFHLYHWKDWWKH\DUHDWWKHKLJKVFKRROOHYHO7KHUH
   'R\RXVHHWKDW"                                      LVGLIIHUHQWUXOHVIRUHYHU\VSRUWEXW,GRQ WNQRZ
   $,GR                                                 ZKHUHZHZLOOEHGRZQWKHURDGULJKWDVZHMXVWILJXUH
   4,IWKDWH[FOXVLRQLVEDVHGRQVDIHW\FRQFHUQVRU      DOOWKLVRXWDQGVWULYHWRLQFOXGHDOODWKOHWHV
   SHUIRUPDQFHFRQFHUQVWKHQLWZRXOGQRWEHDUELWUDU\           %<$77251(<75<21
   &RUUHFW"                                              46R\RXGRQ WNQRZZKDWWKHUXOHVVKRXOGEH"
   $77251(<9(52))2EMHFWLRQ                    $77251(<9(52))2EMHFWLRQ
   7+(:,71(66,IWKHUHZHUHVWURQJ              7+(:,71(665LJKW, PQRWWKHEHVW
   HYLGHQFHIRUWKRVH                                            SHUVRQWRPDNHWKRVHGHFLVLRQV,WKLQNZHQHHGSHRSOH
   %<$77251(<75<21                                             ZKRDUHVWXG\LQJWKHVHLVVXHVDQGWKDWLVEH\RQGP\
   4$QGMXVW,WKLQNZHFRYHUHGWKLVEXW,MXVW      H[SHUWLVH
   ZDQWWRPDNHVXUH, PFRUUHFW\RXDUHQRWDQH[SHUWRQ        %<$77251(<75<21
   VDIHW\LVVXHVULJKW"                                          4)DLUHQRXJK,GRQ WZDQW\RXWRJREH\RQG\RXU
   $7KDW VULJKW                                         H[SHUWLVH:HOOOHWPHDVN\RXMXVWVRPHUHODWHG
   4$QG\RXDUHDOVRQRWDQH[SHUWRQSHUIRUPDQFH         TXHVWLRQV$QG\RXPD\VD\WKHVDPHWKLQJRQWKLVEXW


                                                  3DJH                                                        3DJH
    LVVXHVULJKW"                                                  , PJRLQJWRDVN\RXDQGZHZLOOVHHLI\RXKDYHDQ\
    $7KDW VULJKW                                          WKRXJKWV<RXPD\KDYHDOUHDG\DQVZHUHGWKLVEXWOHW
    4:KDWZRXOG\RXFDOOVWURQJHYLGHQFH"                   PHDVN\RXWKHVH2QZKDWWHDPVVKRXOGVWXGHQWDWKOHWHV
    $77251(<9(52))2EMHFWLRQ                     SDUWLFLSDWHRQLIWKH\DUHWUDQVJHQGHU",IWKH\DUHD
    7+(:,71(66,FDOOLWGDWDWKDWWKH            WUDQVJHQGHUJLUOVKRXOGWKH\SDUWLFLSDWHRQER\VRU
    H[SHUWVFRPHWRDJUHHWKDW\RXNQRZKRZWKH\FDQ           JLUOVWHDPV"
    JXLGHWKHUXOHVIRUVSRUWULJKWDQGEDODQFHLQFOXVLRQ         $77251(<9(52))2EMHFWLRQ
    DQGIDLUQHVV                                                   7+(:,71(66,WKLQNLWGHSHQGVZKDWWKH
    %<$77251(<75<21                                              UXOHVDUHEXW\RXNQRZRYHUWKHODVWGHFDGHDFURVV
   4:RXOG\RXDJUHHZLWKPHWKDWQRWDOOH[SHUWV          RUJDQL]DWLRQVRUJDQL]DWLRQVKDYHIRXQGDZD\WRDOORZ
   DJUHHRQHYHU\WKLQJHYHQZLWKWKHLURZQILHOGULJKW"         WUDQVJHQGHUIHPDOHVWRSDUWLFLSDWH
   $7KDW VULJKW                                         %<$77251(<75<21
   4,VWKHUHDPLQLPXPQXPEHURIH[SHUWVWKDWZRXOG       4$QGWKRVHUXOHVKDYHFKDQJHGRYHUWLPHULJKW"
   KDYHWRDJUHHEHIRUHLW VVWURQJHYLGHQFHRULVWKDW           $7KH\GR
   VRUWRID,GRQ WNQRZKRZWRVD\LW:KDWGR\RX         41&$$MXVWFKDQJHGLWVUXOHVULJKW"
   WKLQN"                                                         $77251(<9(52))2EMHFWLRQ
   $77251(<9(52))2EMHFWLRQ                    %<$77251(<75<21
   7+(:,71(66,WKLQNZLWKUHVSHFWWR           4'LG\RXDQVZHU"
   WKLVFDVHWKDWRUJDQL]DWLRQVFDQ\RXNQRZZHLJKLQRQ       $<RXNQRZ, PQRWVXUHRIWKHODWHVW,WKRXJKW
   WKHHYLGHQFHWKHUHWRVHH,PHDQWKHUHLVMXVWD          WKH\ZHUHJRLQJWROHDYH\HDKWKH\ UHJRLQJWREH
   ORWRILQMXU\ZLWKLQVSRUWWKDWKDSSHQVULJKWLW V           ORRNLQJDWRWKHURSWLRQVDQGJHWWLQJIHHGEDFNIURPWKH
   MXVWSDUWRIVSRUW6R,WKLQNWKH\ZRXOGKDYHWR             JRYHUQLQJERGLHVLVP\XQGHUVWDQGLQJ
   UHDOO\FRQVLGHUWKHHYLGHQFHWRVHHLIWKHUHDUHVDIHW\        4$UH\RXDZDUHRIZKDWWKH5XJE\$VVRFLDWLRQ
   FRQFHUQVIRUKDYLQJWUDQVDWKOHWHVSDUWLFLSDWH                 VD\V"


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0535
                                                 3DJH                                                         3DJH
    $77251(<9(52))2EMHFWLRQ                     DFURVVVWDWHV
    7+(:,71(661R                                 %<$77251(<75<21
    %<$77251(<75<21                                              4'R\RXNQRZRIDQ\UXOHGR\RXNQRZRIDQ\
    4$UH\RXDZDUHRI86$6ZLPPLQJZKDWWKHLUUXOHV        UXOHWKDWVSHFLILFDOO\DGGUHVVHVQRQELQDU\DWKOHWHV"
    DUH"                                                            $77251(<9(52))2EMHFWLRQ
    $77251(<9(52))2EMHFWLRQ                     7+(:,71(661R
    7+(:,71(66,FRXOGQ WWHOO\RXDOOWKH         %<$77251(<75<21
    GHWDLOVEXW,NQRZ86$6ZLPPLQJUHDOO\LVWU\LQJWR            4+DYH\RXKHDUGWKHWHUPELJHQGHU"
    ILQGDZD\WREHLQFOXVLYHDQGVR,NQRZDWWKH\RXWK          $77251(<9(52))2EMHFWLRQ
   OHYHOVWKDWWUDQVJHQGHU\RXWKDUHDEOHWRSDUWLFLSDWH         7+(:,71(66<HV
   ULJKWDQGWKDWWKH\KDYHDOORZHGVRPHUXOHFKDQJHVIRU        %<$77251(<75<21
   ZKDWVZLPVXLWNLGVZHDUDQGWKLQJVOLNHWKDW                  47KHGHILQLWLRQWKDW,KDYHUHDGLVDSHUVRQZKR
   %<$77251(<75<21                                             LGHQWLILHVDVELJHQGHUKDVWZRJHQGHUV,VWKDW\RXU
   4%XWWKRVHWUDQVJHQGHUJLUOVKDYHWRRU            XQGHUVWDQGLQJDVZHOO"
   WUDQVJHQGHUZRPHQKDYHWRPHHWFHUWDLQUHTXLUHPHQWV            $77251(<9(52))2EMHFWLRQ
   EHIRUHWKH\FDQSDUWLFLSDWHRQDIHPDOHWHDP                  7+(:,71(66<HV
   5LJKW"                                                %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    4$QGLQKLJKVFKRROWKHELRORJLFDOPDOH
   7+(:,71(66<HV                               LGHQWLILHVDVELJHQGHUDQGZDQWVWRSDUWLFLSDWHRQD
   %<$77251(<75<21                                             JLUOVVSRUWVWHDPVKRXOGWKDWEHDOORZHG"
   4$UH\RXDZDUHRIWKHVSHFLILFV"                       $77251(<9(52))2EMHFWLRQ
   $1R, YHUHDGVRPHRIWKLVEXW, PQRWVXUH         7+(:,71(66,WKLQNJUHDWHUFRQWH[WLV
   , YHUHWDLQHGLWDQGLW VQRWVRPHWKLQJWKDW,VSHQWD         QHHGHG7KHUH VD\RXNQRZXQGHUVWDQGZKDW VJRLQJ
   ORQJWLPHRQDFURVVVSRUWV                                    RQZLWKWKDWSDUWLFXODUDWKOHWH$QGDJDLQ,MXVWZDQW


                                                 3DJH                                                         3DJH
    42ND\                                                  WRWKLVLVDOLWWOHELWEH\RQGP\H[SHUWLVHDQG, P
    /HWPHDVN\RXWKHQLI\RXKDYHHYHUKHDUGRI          KHUHWRMXVWUHHQIRUFHWKDWWKHUHLVDORWRIEHQHILWV
    WKHWHUPQRQELQDU\"                                             IRUDOODWKOHWHVWREHDEOHWRSDUWLFLSDWH
    $,KDYHKHDUGRIWKDWWHUP                             %<$77251(<75<21
    4,VWKLVDIDLUGHILQLWLRQWKDWLWLVSHRSOHZKR       4:KDWLIDELRORJLFDOPDOHZDQWVWREHRQDJLUOV
    GRQRWGHVFULEHWKHPVHOYHVRUWKHLUJHQGHUVDVILWWLQJ          WHDPHYHQWKRXJKKHGRHVQRWLGHQWLI\DVDJLUOVKRXOG
    LQWKHFDWHJRU\RIPDQRUZRPDQ"'RHVWKDWVRXQGOLNHD        KHEHDOORZHGWRGRVR"
    IDLUGHILQLWLRQ"                                                $77251(<9(52))2EMHFWLRQ
    $77251(<9(52))2EMHFWLRQ                     7+(:,71(661R
   7+(:,71(66<HV                               %<$77251(<75<21
   %<$77251(<75<21                                             4$QGZK\QRW"
   46KRXOGDELRORJLFDOPDOHZKRLGHQWLILHVDV            $%HFDXVHKH VZDQWLQJWRSOD\RQDRQD
   QRQELQDU\ZKRLVDQDWKOHWHSDUWLFLSDWHLQKLJKVFKRRO         IHPDOHWHDPDQGKHGRHVQ WKDVQ WWUDQVLWLRQHGDQG
   RQWKHER\VRUJLUOVWHDP"                                     LVQ WLGHQWLI\LQJDVDIHPDOH
   $77251(<9(52))2EMHFWLRQ                    4,IDELRORJLFDOPDOHZDQWVWRSDUWLFLSDWHRQD
   7+(:,71(66,WKLQNLWGHSHQGVRQZKDW        JLUOVWHDPDQGLGHQWLILHVDVDIHPDOHEXWKDVQRW
   WKHUXOHVDUH$QG,WKLQNWKHJRDORIWKHVSRUW              WUDQVLWLRQHGLQDQ\ZD\VKRXOGKHEHDOORZHGWR
   RUJDQL]DWLRQVVHHPVWREHKRZFDQZHORRNDWWKHVH             SDUWLFLSDWHRQWKHJLUOVWHDP"
   LVVXHVDQGMXVWVWLOOWU\WREHDVLQFOXVLYHDV                $77251(<9(52))2EMHFWLRQ
   SRVVLEOH                                                      7+(:,71(66,QLQJHQHUDO,ZRXOG
   %<$77251(<75<21                                             VD\QREXWZH UHPLVVLQJWKHFRQWH[W:KDWLIWKLVZDV
   4:KDWDUHWKHUXOHVRQWKDWLQKLJKVFKRRO"            \HDK,WKLQNZHZDQWWKDWSHUVRQWRWUDQVLWLRQ
   $77251(<9(52))2EMHFWLRQ                    %<$77251(<75<21
   7+(:,71(665LJKWLWVHHPVWRYDU\           42ND\


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0536
                                                3DJH                                                         3DJH
    :KDWWUDQVLWLRQLQJZRXOGEHQHFHVVDU\"                7+(:,71(66,IZHXQGHUVWDQGWKDW
    $77251(<9(52))2EMHFWLRQ                    WUDQVDWKOHWHVDUHLGHQWLI\LQJZLWKDSDUWLFXODUJHQGHU
    7+(:,71(66,WKLQNWKDW VRXWIRU            VRLQWKLVFDVHWUDQVIHPDOHVWKHQQRWKDWZRXOGQ WEH
    GHEDWHGLVFXVVLRQDQGWRILJXUHRXWDWWKHVHGLIIHUHQW       DQRSWLRQWRJRSDUWLFLSDWHRQDPDOHWHDP
    OHYHOVRIVSRUWVZKDWWKDWFULWHULDLVJRLQJWREH            %<$77251(<75<21
    %<$77251(<75<21                                             4:HOOZK\LVWKDWQRWDQRSWLRQ"
    46RLQKLJKVFKRROLVLWVLPSO\FKDQJLQJ\RXU          $5LJKWZHOO,MXVWSRLQWWR3%-ULJKWZKRKDV
    QDPHWRDIHPDOHQDPHZRXOGWKDWIRUDPDOHWR            LGHQWLILHGDVDJLUOIRUDORQJWLPHDQGORRNVYHU\PXFK
    FKDQJHWRDIHPDOHQDPHZRXOGWKDWEHDGHTXDWHWRWKHQ        OLNHDJLUODQGLVWKH,EHOLHYHWKHSULQFLSDOVDLG
   EHDOORZHGWRSOD\RQWKHJLUOVWHDP"                         \RXNQRZZH UHMXVWFUHDWLQJSUREOHPV7KLVOLWWOH
   $77251(<9(52))2EMHFWLRQ                   JLUOFDQEHZLWKKHUIULHQGVFDQUXQFURVVFRXQWU\FDQ
   7+(:,71(661R, GVD\LQJHQHUDOWKDW      UHDSDOOWKHVHEHQHILWVULJKWDQGLW VQRWDQRSWLRQ
   ZRXOGQ WEHWKHFDVH                                         WRVHQGKHURYHUWRWKHER\VWHDPEHFDXVHVKHLVDJLUO
   %<$77251(<75<21                                            4'R\RXQHHGWRORRNOLNHDJLUOWREHRQWKH
   42ND\                                                JLUOVWHDP"
   ,IWKDWSHUVRQLQDGGLWLRQWRFKDQJLQJKLV          $77251(<9(52))2EMHFWLRQ
   QDPHWRDIHPDOHQDPHDQGVD\V,ZDQWWREHDGGUHVVHG         7+(:,71(661R, PQRWVXUHZKDWWKDW
   XVLQJIHPDOHSURQRXQVLVWKDWDGHTXDWH"                      PHDQV
   $77251(<9(52))2EMHFWLRQ                   %<$77251(<75<21
   7+(:,71(66,WKLQNWKDWZH YHJRWWKLV      4:HOOWKHUHDUHJLUOVWKDWORRNPDVFXOLQHWKDW
   NLQGRIFRQWLQXXPLWVRXQGVOLNHULJKWWRZKDWGHJUHH       DUHJLUOVDQGWKH\RIFRXUVHZDQWWREHRQWKHJLUOV
   SHRSOHDUHWUDQVLWLRQLQJWRNQRZWUDQVLWLRQLQJ$QGWR       WHDP,ZRXOGSUHVXPH\RXZRXOGDJUHHWKH\VKRXOGEHRQ
   MXVWKDYHDEODQNHWVWDWHPHQWWKDWQRRQHWKDWQR         WKHJLUOVWHDPULJKW"
   WUDQVDWKOHWHFDQHYHUSDUWLFLSDWHLQVSRUWHYHUDFURVV        $77251(<9(52))2EMHFWLRQ


                                                3DJH                                                         3DJH
    WKHXQLYHUVHLVKDUPIXOIRUPDQ\DWKOHWHVULJKW$QG         7+(:,71(665LJKWWKHUHDUH\RX
    VRWKHVHVSHFLILFVRIZKHUHZHDUHJRLQJWRJRZLWKZKDW       NQRZZHPD\JHWLQWRDGHEDWHDERXWZKDWLVPDVFXOLQH
    WKHFULWHULDLVIRUDWKOHWHVULJKW,WKLQNWKHUH VD         RUIHPLQLQHLIZH UHVD\LQJWKDW\RX UHGHVFULELQJ
    ORWRISHRSOHVWXG\LQJWKHVHLVVXHVDQGZHLJKLQJLQDQG        VRPHERG\DVPRUHDIHPDOHWKDW VPRUHPDVFXOLQHEXW
    , PQRWRQHRIWKRVHLQGLYLGXDOVZKR VUHDOO\VWXG\LQJ         PD\EHRWKHUSHRSOHVHHLWWKDWWKHUH VDIHPLQLQH
    WKLVVWXIILQGHWDLODWWKDWOHYHOEXW,GRNQRZ         TXDOLW\WRZKDWHYHUEHLQJVWURQJ\HDKKDYLQJDVROLG
    %<$77251(<75<21                                             EXLOGWKRVHWKLQJV
    46RUU\*RDKHDG                                     %<$77251(<75<21
    $,GRNQRZWKDWLQFOXVLRQLQVSRUWKDVPDQ\            4:HOO\RX UHWKHRQHWKDWSRLQWHGRXWWKDW%3-
   EHQHILWVDQGWKDWLWZRXOGEHDVKDPHWRQRWKROGD           ORRNVOLNHDOLWWOHJLUODQGVXJJHVWLQJWKDWWKDWZDV
   FDWHJRU\RIDWKOHWHVRXWWRSDUWLFLSDWH                      RQHRIWKHUHDVRQVWKDW%3-VKRXOGEHRQWKHJLUOVWHDP
   46RWKHUHZRXOGEHQRWKLQJWRVWRSDPDOH             'LG,XQGHUVWDQGWKDWLQFRUUHFWO\"
   DWKOHWHDELRORJLFDOPDOHDWKOHWHLGHQWLI\LQJDVD           $:KDW,PHDQWWRHPSKDVL]HLVWKDWVKHVHHV
   IHPDOHIURPSDUWLFLSDWLQJRQDER\VWHDPULJKW"              KHUVHOIDVDJLUODQGVRZHSXWKHULQDUHDOO\
   $77251(<9(52))2EMHFWLRQ                   XQFRPIRUWDEOHVSRWWRVD\\RXFDQ WEHZLWKWKHJLUOV
   7+(:,71(665LJKW,GLGQRWVWDWH          DQG\RXKDYHWRJREHZLWKWKHER\VHYHQWKRXJKLQ\RXU
   WKDW, PQRWVXUHZKDWWKDWFULWHULDVKRXOGEHEXWLW      KHDUWRIKHDUWV\RXNQRZ\RX UHDJLUO
   KHOSVXVEDODQFHEHLQJLQFOXVLYHDQGDOVREHLQJIDLU        4&DQWKDWEHXQFRPIRUWDEOHIRUWKHELRORJLFDO
   %<$77251(<75<21                                            JLUOVRQWKHJLUOVWHDPLIELRORJLFDOER\VZKRLGHQWLI\
   46RLW VQRWH[FOXGLQJWKDWSHUVRQIURP               WKHPVHOYHVDVLQWHUQDOO\DVEHLQJJLUOVDUHDOORZHGWR
   SDUWLFLSDWLQJLQVSRUWVLW VMXVWH[FOXGLQJWKDWSHUVRQ      SDUWLFLSDWHRQWKHJLUOVWHDP"
   IURPSDUWLFLSDWLQJRQWKHWHDPWKDWSHUVRQZDQWVWR           $77251(<9(52))2EMHFWLRQ
   SDUWLFLSDWHRQULJKW"                                        7+(:,71(66&RXOG\RXNQRZFRXOG
   $77251(<9(52))2EMHFWLRQ                   WKHIDFWWKDWDWUDQVJHQGHUJLUOLVSDUWLFLSDWLQJLQD


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0537
                                                 3DJH                                                         3DJH
    VSRUWRQDWHDPFRXOGWKDWPDNHVRPHRQHIHHO                  WKLVFKLOGDVRQHRIRXURZQHYHQWKRXJKWKLVFKLOGLVD
    XQFRPIRUWDEOH"'HILQLWHO\LW VSRVVLEOH                       WUDQVJHQGHUIHPDOHWKLVWUDQVJHQGHUIHPDOHZLOOEHRQ
    %<$77251(<75<21                                              WKHER\VWHDPDQG\RXZLOOWUHDWWKLVWUDQVJHQGHUIHPDOH
    41RWRQO\LVLWSRVVLEOHEXWLWKDSSHQVULJKW"        ZLWKUHVSHFWDQGEHDIXOOSDUWRIWKHWHDPULJKWWKDW
    $77251(<9(52))2EMHFWLRQ                     FRDFKFRXOGGRWKDW"
    7+(:,71(66<HV,WKLQNLWSUREDEO\           $77251(<9(52))2EMHFWLRQ
    KDSSHQV,WSUREDEO\KDSSHQVERWKZD\VWKDWWKHUHDUH         7+(:,71(66<HVWKHSUREOHPLVWKDWWKH
    DOVRWHDPPDWHVWKDWDUHYHU\VXSSRUWLYH                        WUDQVJHQGHUDWKOHWHLVDIHPDOHULJKWDQGKDVWKH
    %<$77251(<75<21                                              ULJKWWRSDUWLFLSDWHZLWKWKHIHPDOHWHDP
   4%XWWKHIHHOLQJVRIWKHELRORJLFDOJLUOVZKRDUH      %<$77251(<75<21
   XQFRPIRUWDEOHZLWKDELRORJLFDOPDOHLGHQWLI\LQJDVD          4:KHUHLVWKDWULJKWIRXQG"<RXMXVWVDLGVKH
   IHPDOHRUDWUDQVJHQGHUJLUODV\RXKDYHVDLGWKHLU          KDVWKDWULJKW:KHUHLVWKDWULJKW"
   IHHOLQJVDUHLPSRUWDQWWRRULJKW"                             $77251(<9(52))2EMHFWLRQ
   $77251(<9(52))2EMHFWLRQ                    7+(:,71(66,PHDQDVLWFRPHVZLWKLQ
   7+(:,71(66<RXNQRZSXOOLQJIURPP\         WKHUXOHVULJKW, PVRUU\-XOLH,PHDQDVLW
   H[SHUWLVHLIZH UHWU\LQJWRFUHDWHWKLVFDULQJWDVN          IDOOVZLWKLQWKHUXOHVULJKW
   LQYROYLQJFOLPDWHWKHQ\HVLWZRXOGEHYHU\LPSRUWDQW        %<$77251(<75<21
   IRUDFRDFKWRVLWGRZQZLWKWKRVHDWKOHWHVDQGWDONDQG       4:HOOULJKWQRZWKHUXOHLV+%ZKLFKVD\V
   HQFRXUDJHWKHP,IWKHWUDQVIHPDOHDWKOHWHLVSOD\LQJ         WKDWWKDWWUDQVJHQGHUJLUOPXVWSDUWLFLSDWHRQWKHER\V
   E\WKHUXOHVDQGKDVGRQHHYHU\WKLQJWKDWKDVEHHQDVNHG       WHDP$QGVLQFHWKDWLVWKHUXOHIROORZLQJ\RXU
   DQGWKH\DUHSDUWRIDWHDPWKHQFRDFKHVVKRXOGUHDOO\        \RXUORJLF\RXJRWRWKHER\VWHDPDQGWKHER\VFRDFK
   WDONZLWKWKHDWKOHWHVWKDQKHOSWKHPXQGHUVWDQGKHOS         DQG\RXVD\WKLVFKLOGLVJRLQJWREHSDUWLFLSDWLQJLQ
   WKHPQRWOHWWKLVEHDGLVWUDFWLRQKHOSWKHPHPEUDFH          WKLVWHDP\RXZLOOZHOFRPHKHUZLWKRSHQDUPVRQWRRXU
   DOOWKHLUWHDPPDWHVULJKW7KHUHLVVRPXFKLQWKH           WHDPMXVWDVZHGRRQIRRWEDOOZHRSHQZLWKZHOFRPH


                                                 3DJH                                                         3DJH
    VSRUWWKDWDQ\RIXVRQDWHDPPLJKWOLNHWRFKDQJH            ZLWKRSHQDUPVJLUOVZKRDUHSOD\LQJRQDER\VIRRWEDOO
    ULJKWRUZLVKRXUWHDPPDWHVGLGRWKHUWKLQJVULJKW           WHDPULJKW"
    ZLVKWKH\ZRUNHGKDUGHURUZLVKWKH\XVHGOHVV                  $77251(<9(52))2EMHFWLRQ
    UHFUHDWLRQDOGUXJVRUDQ\WKLQJULJKWEXWZHDUHDWHDP        7+(:,71(660\XQGHUVWDQGLQJLQWKLV
    DQGZHFRPHWRJHWKHUDQGZHMXVWVXSSRUWHDFKRWKHUDQG         FDVHLVWKDWWKHMXGJHLVKDVNLQGRIORRNHGDWWKH
    ZHNHHSWKHIRFXVRQEHLQJWKHEHVWZHFDQEHHYHU\GD\        HYLGHQFHDQGVDLGULJKWQRZ,WKLQNWKHUHLVSRWHQWLDO
    %<$77251(<75<21                                              GLVFULPLQDWLRQDQGVRZH UHJRLQJWROHW%3-FRQWLQXHWR
    46RELRORJLFDOJLUOVMXVWQHHGWRNQXFNOHXQGHU         FRPSHWHDQGDOOWKURXJKWKLVVR
    DQGDFFHSWWKLQJVWKHZD\WKDW\RXZDQWWKHPWREH,V         %<$77251(<75<21
   WKDWZKDW\RXDUHVD\LQJ"                                      47KDW VULJKWWKH-XGJHGLGVD\WKDWIRUQRZ
   $77251(<9(52))2EMHFWLRQ                    EXWKHGLGQRWVD\WKDWIRUHYHU\WKLQJ%XW, PDVNLQJ
   7+(:,71(66, PVD\LQJEHLQJSDUWRID        IRUDPRUHJHQHUDOUXOH3XWWLQJDVLGH%3-DVD
   WHDPLVFKDOOHQJLQJDQGIRUVRPHSHRSOHKDYLQJD              JHQHUDOUXOHZK\ZRXOG\RXVD\FRDFKRIWKHER\VWHDP
   WHDPPDWHWKDWLVWUDQVJHQGHUPD\EHRQHRIWKRVH               \RXZLOODOORZWKHVHWUDQVJHQGHUJLUOVWRFRPHDQGSOD\
   FKDOOHQJHVWKH\KDYHWRGHDOZLWK%XWHYHU\RQHLV            RQ\RXUWHDPDQG\RXZLOOZHOFRPHWKHPZLWKRSHQDUPV
   GHDOLQJZLWKFKDOOHQJHVZLWKWKHWHDPVULJKW$QGLI         MXVWDVZHGRZLWKRXUIRRWEDOOWHDPVWKDWDOORZJLUOV
   WKDWWUDQVJHQGHUDWKOHWHLVWKHUHSOD\LQJE\WKHUXOHV        WRSOD\RQWKHP"
   ULJKWDQGLVDOORZHGWREHWKHUHWKHQ\HDK,JXHVV          $77251(<9(52))2EMHFWLRQ
   WKHRWKHUVKDYHWRGHDOZLWKLW                               %<$77251(<75<21
   %<$77251(<75<21                                             4%HFDXVHDIWHUDOODV\RXVDLGWKHWUDQVJHQGHU
   46RRQWKHRWKHUKDQG\RXFDQWHOOWKDW               JLUOLVDJLUODQGVRVKRXOGEHDOORZHGWRSOD\RQWKH
   WUDQVJHQGHUIHPDOHWRSDUWLFLSDWHRQWKHER\VWHDPDQG         ER\VWHDPLIVKHFKRRVHV"
   WKHFRDFKRQWKHER\VWHDPZRXOGVLWGRZQZLWKWKHER\V        $77251(<9(52))2EMHFWLRQ
   DQGVD\\RXZLOOQRWPDNHIXQRIWKLVFKLOG\RXDFFHSW        7+(:,71(66,WKLQNIRRWEDOOLVDJUHDW


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0538
                                                3DJH                                                         3DJH
    VSRUWDQG,ZLVKWKH\KDGPDOHDQGIHPDOHWHDPV              4$QGRIFRXUVHQRWDOODWKOHWHVFRPSHWHRQ
    7\SLFDOO\LW VMXVWDPDOHWHDPVRDIHPDOHZKRZDQWV        WHDPV6RPHWLPHVLIWKH\MXVWORYHWRUXQLIWKDWLV
    WRSOD\IRRWEDOOGRHVQ WKDYHDQRWKHURSWLRQ%XWLQ          WKHNH\WKH\MXVWORYHWRUXQWKH\GRQ WKDYHWREHRQ
    WKLVFDVH%3-DQGRWKHUVZKRLGHQWLI\DVDIHPDOHDQG          DWHDPWRUXQULJKW"
    VKRXOGEHDEOHWRFRPSHWHZLWKRWKHUIHPDOHVWKHLU            $5LJKW
    IULHQGJURXSDQGVR,VHHWKDWDVDQLQGLIIHUHQFH         $77251(<75<216RZHKDYHJRQHIRUDQ
    %<$77251(<75<21                                             KRXU$QG,ZRXOGOLNHWRJHWVRPHGRFXPHQWVSULQWHG
    47KHLUIULHQGJURXS"6RJLUOVFDQ WKDYHER\          VLQFHZH UHQRWDEOHWRHDVLO\ORRNDWWKHPRQ\RXU
    IULHQGV"                                                       L3DG6RZK\GRQ WZHJRRIIWKHUHFRUGWRVHHLIZH
   $1R,PHDQWLWVRUU\,PHDQWLQWKLVFDVH      FDQJHWWKDWWDNHQFDUHRI,VWKDWRND\ZLWK\RX
   %3-LVVD\LQJKHUFORVHVWIULHQGVDUHRQWKHJLUOVWHDP      -XOLH"
   6KHLVDJLUODQGVKHDQGVRLWZRXOGEHKDUPIXO         $77251(<9(52))7KDWLVJUHDW7KDQN
   QRWIDLUWRQRWOHWKHUFRPSHWHZLWKWKDWWHDP               \RX
   4+RZGR\RXGHILQHIDLU"<RXWROGPHEHIRUH\RX      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   DUHQRWDQH[SHUWRQIDLUQHVV$UH\RXQRZVD\LQJWKDW       FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   \RXGRNQRZZKDWLVIDLU"                                     2))9,'(27$3(
   $77251(<9(52))2EMHFWLRQ                   
   7+(:,71(66, PMXVWNHHSLQJIRFXVHGRQ       :+(5(8321$6+257%5($.:$67$.(1
   ZKDWWKHUXOHVDUHDQGWKH-XGJHKDVUXOHGULJKWQRZ          
   WKDW%3-VKRXOGEHDEOHWRFRPSHWHZLWKWKHJLUOV             219,'(27$3(
   EHFDXVHVKHLVDJLUODQGVRIURPP\SHUVSHFWLYH            9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
   WKDW VZKHUHLWVWDQGVULJKWQRZ                             7KHFXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   %<$77251(<75<21                                            %<$77251(<75<21
   42ND\                                                43URIHVVRU)U\WKDQN\RXIRUKHOSLQJXVZLWK


                                                3DJH                                                         3DJH
    7KDW VMXVWEHFDXVHWKDW VZKDWWKH-XGJHVDLG        WKDWWHFKQLFDOLVVXH
    WKHQULJKW"                                                   $1RSUREOHP
    $77251(<9(52))2EMHFWLRQ                    4,ZRXOGOLNH\RXWRILQGWKHH[KLELWWKDWVD\V
    7+(:,71(661R,WKLQNWKHFRUHLVVXH        'HSUHVVLRQLQ$WKOHWHV,WVKRXOGEH([KLELW,
    LV%3-LGHQWLILHVDVDJLUOKDVOLYHGWKHPDMRULW\RI         EHOLHYH
    KHUOLIHDVDJLUODQGZDQWVWREHDEOHWRSDUWLFLSDWH         $, YHJRWLW
    LQKHUVFKRRODFWLYLWLHVDVDJLUOLQFOXGLQJ                  42ND\
    FURVVFRXQWU\                                                 , YHORVW\RX7KHUH\RXDUH2ND\/HWPH
    %<$77251(<75<21                                             ILQGWKHULJKWSDJH, PRXWOLQLQJWR2ND\6R([KLELW
   46RKRZORQJGR\RXWKLQNDWUDQVJHQGHUJLUOKDV      LV'HSUHVVLRQLQ$WKOHWHV3UHYDOHQFHDQG5LVN
   WROLYHDVDJLUOEHIRUHSDUWLFLSDWLQJRQWKHJLUOV           )DFWRUVE\$QGUHZ:RODQLQDQGRWKHUDXWKRUVULJKW"
   WHDP"                                                         $<HV
   $77251(<9(52))2EMHFWLRQ                   46R,ZDQWHGWRDVN\RXDERXWDSDVVDJHRQWKH
   7+(:,71(66$JDLQ,WKLQN, PQRWWKH       VHFRQGSDJHRIWKLVZKLFKLVSDJHXQGHUWKHWLWOH
   EHVWSHUVRQIRUWKDWOLQHRILQTXLU\, PQRWVXUHEXW      6SRUWV,QMXULHVDQG'HSUHVVLRQDWWKHERWWRPRIWKH
   ,NQRZRWKHUVDUHVWXG\LQJWKDWWKRVHNLQGRILVVXHV        ILUVWFROXPQ6R,ZLOOMXVWUHDGWKHSDVVDJHWKDW,
   DQGFDQDGGJUHDWHULQVLJKWWRLW                            KDYHDTXHVWLRQDERXWDQGLI\RXFKRRVHWRUHDGLWWRR
   %<$77251(<75<21                                            LI\RXZDQWWRUHDGLWPRUHLQIDFWGLG\RXDOUHDG\
   42ND\                                                UHDGWKHDEVWUDFWRQWKLVHDUOLHU"
   $, PMXVWVRPHRQHZKRZRXOGKDWHWRVHH%3-QRW       $,MXVWGLG
   EHDOORZHGWRSDUWLFLSDWHLQKHUVFKRRODFWLYLWLHVMXVW      42ND\
   WREHWROGQR, PVRUU\                                     6R\RX YHUHDGWKHDEVWUDFW0\TXHVWLRQLV
   42QWKHJLUOVWHDP"                                   RQDV,VDLGXQGHU6SRUWV,QMXULHVDQG'HSUHVVLRQ
   $5LJKW                                               $QG,ZLOOMXVWUHDGLQWRWKHUHFRUG%UXHUDQG3HWULH


                                                                                     3DJHVWR
                                                                                                       Armistead App. 0539
                                                        3DJH                                                    3DJH
    VHYHQLQSDUHQWKHVHVZHUHDPRQJWKHILUVWUHVHDUFKHUV            %<$77251(<75<21
    WRFRPSDUHGHSUHVVLRQV\PSWRPVEHWZHHQDWKOHWHVZKRKDG           4*RDKHDG\RXPD\DQVZHU
    DQGKDGQRWH[SHULHQFHGLQMXULHV,QWKLVUHWURVSHFWLYH          $2ND\
    VWXG\LWZDVIRXQGWKDWDWKOHWHVZKRH[SHULHQFHGDQ               <RXNQRZWKHUHLVSUREDEO\MXVWDORWRI
    LQMXU\GXULQJWKHSUHYLRXV\HDUUHSRUWHGVLJQLILFDQWO\            EDFNJURXQGWRWKLVVR,DJUHH,KDYHQ WUHDGWKLVRQH
    KLJKHUGHSUHVVLRQV\PSWRPVFRUHVWKDQWKRVHUHSRUWHGE\           EXW,ZRXOGMXVVD\$&/LQMXULHVFDQEHH[WHQVLYHDQG
    QRQLQMXUHGDWKOHWHVDVPHDVXUHGE\WKH9DOLGDWHG                ODVWRYHUPRQWKVULJKWDQGWDNHDQDWKOHWHRXWRI
    &HQWHUIRU(SLGHPLRORJLFDO6WXGLHV'HSUHVVLRQ                    VSRUWVIRUPRQWKV:KHUHDVDFRQFXVVLRQ\RXNQRZLW
    SDUHQWKHVHV&(6'VFDOH'R\RXVHHWKDW"                       YDULHVLQVHYHULW\DQGVRPHERG\PLJKWEHEDFNUHODWLYHO\
   $,GR                                                   TXLFNO\LQFRPSDULVRQ%XW\RXNQRZERWKRIERWK
   4$QGP\TXHVWLRQLVGR\RXKDYHDQ\UHDVRQWR            RIWKHVHLQMXULHVDUHQRWIXQIRUDWKOHWHVWRGHDOZLWK
   GLVSXWHWKLVRUFRQWHVWWKLVILQGLQJLQWKLVVWDWHPHQW"          DQG\HDKFDQFDXVHVWUHVVDQGGHSUHVVLRQ
   $1R                                                     42ND\
   4:RXOGLWEHIDLUWRVD\WKDW\RXDJUHHZLWKLW"         6R,WKLQN\RXZRXOGDJUHHWKDWLW VLPSRUWDQW
   $<RXNQRZLW VUHWURVSHFWLYHVRWKH\ UHJRLQJ          IRUDWKOHWHVWRDYRLGLQMXULHVZKHUHSRVVLEOHULJKW"
   EDFNLQWLPHDQGDVNLQJKH\ZKHQ\RXZHUHLQMXUHGZKDW         $5LJKWULJKWDQG\HDK
   ZDVJRLQJRQEXWQR,ZRXOGDFFHSWWKLVLVFRXOG           4$QGZRXOG\RXDJUHHWKDWLWLVLPSRUWDQWWRKDYH
   EHDOHJLWLPDWHILQGLQJ                                         UXOHVLQSODFHWRDYRLGLQMXULHVZKHUHSRVVLEOH"
   42ND\                                                   $<HV,ZRXOGDJUHH
   7KHQLQWKHQH[WFROXPQILUVWIXOOSDUDJUDSK          4$QGZRXOG\RXDJUHHWKDWZHGRQ WQHHGWRZDLW
   WKHUHKDVEHHQDUHFHQWVXUJHRIHYLGHQFHVXJJHVWLQJ             IRUDFWXDOKDUPEHIRUHSXWWLQJUXOHVLQSODFHWRSUHYHQW
   WKDWVSRUWVFRQFXVVLRQVFDQOHDGWRFKDQJHVLQHPRWLRQDO         KDUPLILW VUHDVRQDEO\IRUHVHHDEOH"
   VWDWHSDUHQWKHVHVFORVHGSDUHQSHULRG                    $77251(<9(52))2EMHFWLRQ
   )XUWKHUPRUHWKHUHLVUHFHQWHYLGHQFHWRVXJJHVWWKDW            7+(:,71(66<HDKWKHNH\ZRUGLV


                                                        3DJH                                                    3DJH
    VSRUWVFRQFXVVLRQVFDQKDYHORQJODVWLQJHPRWLRQDO                UHDVRQDEO\
    LPSDFW$QGP\TXHVWLRQLVGR\RXKDYHDQ\UHDVRQWR            %<$77251(<75<21
    FRQWHVWWKLVVWDWHPHQW"$QGIHHOIUHHWRORRNDWLWDQG          45LJKW6R\RXDJUHHZLWKWKDWEXWIRFXVLQJRQ
    PDNHVXUH, PQRWUHDGLQJLWRXWRIFRQWH[W                      WKHZRUGUHDVRQDEO\ULJKW"
    $1R,GRQ WFRQWHVWWKLV                                $77251(<9(52))2EMHFWLRQ
    47KHQLQWKHEHJLQQLQJRIWKHODVWIXOOSDUDJUDSK         7+(:,71(665LJKW
    RQWKHSDJHLWVD\VZKLOHWKHUHODWLRQVKLSEHWZHHQ               %<$77251(<75<21
    FRQFXVVLRQDQGGHSUHVVLRQPD\EHVLJQLILFDQWWKHUHLV             4:RXOG\RXDJUHHWKDWVHJUHJDWLRQRIPDOHDQG
    DOVRHYLGHQFHWRVXJJHVWWKDWDFRQFXVVLRQPD\KDYHWKH           IHPDOHVSRUWVLVDWOHDVWLQSDUWWRSURWHFWJLUOVIURP
   VDPHHIIHFWDVRWKHULQMXULHVRQPHQWDOKHDOWK)RU             LQMXU\DWOHDVWIRUVRPHVSRUWV"
   H[DPSOH0DLQ:HDULQJHWDOLQSDUHQWKHVHV                $77251(<9(52))2EMHFWLRQ
   FRQGXFWHGDVWXG\WRH[DPLQHWKHGLIIHUHQFHVEHWZHHQ             7+(:,71(663RVVLEO\,ZRXOGMXVW
   HPRWLRQDOUHVSRQVHVLQDWKOHWHVZKRKDGDFRQFXVVLRQ             QRWHWKDWWKHUHLVWUHPHQGRXVYDULDELOLW\ZLWKLQHDFK
   FRPSDUHGZLWKDQWHULRUFUXFLDWHOLJDPHQW$&/LQMXU\           JHQGHUDQGLIWKDWZHUHWRWDOO\ZKDWZDVGULYLQJWKLV
   7KH\IRXQGWKDWDWKOHWHVZLWK$&/LQMXULHVKDGPRUH              WKHQZHUHDOO\ZRXOGEHFRQFHUQHGDERXWVRPHIRU
   VHYHUHOHYHOVRIGHSUHVVLRQDQGORQJHUGXUDWLRQRI               H[DPSOHQRWDVVWURQJPDOHVFRPSHWLQJDJDLQVWELJJHU
   GHSUHVVLRQFRPSDUHGWRWKRVHDWKOHWHVZLWKFRQFXVVLRQ           VWURQJHUPDOHVDQGVDPHZLWKIHPDOHV6RWKHLVVXHMXVW
   'R\RXVHHWKDW"                                                 WUDQVFHQGJHQGHU\RXNQRZLW VDQLVVXHZLWKLQHDFK
   $,GR                                                   JHQGHU
   4$QGGR\RXKDYHDQ\UHDVRQWRFRQWHVWWKDW              %<$77251(<75<21
   VWDWHPHQW"                                                       4:HOO\RXVDLG\RXKDGVRPHIDPLOLDULW\ZLWK
   $77251(<9(52)), OOMXVWREMHFWWRWKH         7LWOHULJKW"
   H[WHQWWKLVVWDWHPHQWUHOLHVRQDVWXG\WKDWLVDFWXDOO\         $<HV
   QRWEHIRUHWKHZLWQHVV                                          4$QG7LWOHGLYLGHVVSRUWVLQWRER\VPDOH


                                                                                        3DJHVWR
                                                                                                     Armistead App. 0540
                                                 3DJH                                                         3DJH
    DQGIHPDOHVSRUWVLQVRPHLQVWDQFHVULJKW"                     RI\RXUPRVWUHFHQWUHSRUW2ND\6RWKHILUVWFODXVH
    $77251(<9(52))2EMHFWLRQ                     RIWKDWILUVWVHQWHQFHVD\VDWKOHWHVKLJKLQHJR
    7+(:,71(66<HV                               RULHQWDWLRQUHSRUWORZHUFRPSDQLRQVKLSDQGJUHDWHU
    %<$77251(<75<21                                              FRQIOLFWVZLWKWHDPPDWHVDQG\RXFLWH%DODJXHUIRUWKDW
    4$QGLQSDUWLFXODUZLWKUHVSHFWWRFRQWDFW             SURSRVLWLRQ,VLPSO\ZDVQRWDEOHWRILQGWKDW
    VSRUWVULJKW"                                                  SURSRVLWLRQLQWKH%DODJXHUUHSRUW%\WKHZD\WKH
    $77251(<9(52))2EMHFWLRQ                     8QLYHUVLW\RI9DOHQFLDZKHUHLVWKDW",VWKDWLQ
    7+(:,71(66<HV                               6SDLQ"
    %<$77251(<75<21                                              $,WLV
   4$QGZRXOGLWEHIDLUWRVD\WKDWWKRVHFRQWDFW        47KHQZK\GRHV(OL]DEHWKKDYHD)UHQFKQDPH", P
   VSRUWV7LWOHGRHVWKDWVSHFLILFDOO\WRIRUVDIHW\        VRUU\,I\RXFRXOGMXVWORRNWKURXJKDQGWHOOPHLI
   SXUSRVHV"                                                      \RXFDQVHHWKHODQJXDJHWKDWVXSSRUWV\RXUODQJXDJHLQ
   $77251(<9(52))2EMHFWLRQ                    SDUDJUDSK
   7+(:,71(66,WKLQNLW VIDLUWRVD\           $<HDK\HDKMXVWRQHPRUHVHFRQG<HDKRND\
   WKDWWKDWLVDLVDFRQFHUQ\HDK                         7KH\JLYH\RXWKLV,WKLQNWKLVZDVQ WWKHEHVW
   %<$77251(<75<21                                             DUWLFOH,WZDVUHIHUULQJWRWKHFRDFKLQVWHDGRIWKH
   4<RXZRXOGQ WVD\WKDW7LWOHWKHUHJXODWLRQV        WHDPPDWHVZLWKWKLVRQH%XWLI\RXZRXOGORRNRQ
   IRU7LWOHWKDWUHJXODWHWKDWGR\RXWKLQNWKRVHDUH         RUPD\EHWKDWSDUDJUDSKLQWKHPLGGOHRIWKH
   XQIDLURUVKRXOGEHGHWHUPLQHGWREHLOOHJDO"                  ILUVWFROXPQ<HDKMXVWDOLWWOHELWORZHU%XWWKH
   $77251(<9(52))2EMHFWLRQ                    ZRUGLQJLQWKLVSDUDJUDSKRQWKHOHIW\HDKLI\RXFDQ
   7+(:,71(665LJKWQR                        ILWWKHZKROHWKLQJLQDJDLQ5LJKW6RSDUWZD\GRZQ
   %<$77251(<75<21                                             LW VMXVWDVNLQJDERXWWRZULWH\RXUFXUUHQWFRDFK
   46ROHW VJREDFNWRWKHVWXG\E\,ZLOOVD\       RUVRPHERG\WKDWVRRQHZRXOGEHMXVWGRHVQ W
   LWZURQJLQ%DODJXHU"                                         FRLQFLGHDWDOOZLWKWKHFRDFK,ZRXOGOLNHWRKDYH


                                                 3DJH                                                         3DJH
    $<HV%DODJXHU                                         YHUVXVP\LGHDOFRDFK6RWKHORZHUUDWLQJRQWKHFRDFK
    4%DODJXHUWKDQN\RX'R\RXVSHDN)UHQFK"            LVMXVWWKDWLVQRWDJRRGWKLQJZKHQ\RX UHJRLQJ
    $1REXWVKHLVRQHRIP\IDYRULWHSHRSOHLQWKH        WKLVLVQRWWKHFRDFKWKDW,ZDQWULJKWRUDOOWKHZD\
    ZRUOG                                                          XSWRWKLVLVP\LGHDOFRDFK6RLWVXSSRUWVWKH
    42KRND\                                              ILQGLQJVWKDWUHODWLRQVKLSVDUHQ WWKDWVWURQJEXWLW
    9,'(2*5$3+(5&RXQVHOKHOSPHRXWKHUH         LVQRWWKHEHVWVWXG\RU\RXNQRZLWVKRXOGQ WKDYH
    ZKLFKH[KLELWQXPEHULVWKDW"                                   EHHQVORWWHGWKHUHEHFDXVHLW VMXVWUHIHUULQJWRWKH
    7+(:,71(660D\EH                           FRDFKLQVWHDGRIWKHDWKOHWHV,I\RXORRNDWWKDW
    $77251(<75<211RWKH%DODJXHU               WDEOHXQGHUQHDWKZKHUHZH UHORRNLQJQRZ7DEOH
   9,'(2*5$3+(5,I\RXFDQWHOOPHWKH           %<$77251(<75<21
   WLWOH,FDQWHOO\RXWKHQXPEHU                               4, PORRNLQJDWLW
   $77251(<75<21, PVRUU\                     $:KRRSVLVWKDWLW8QGHUVDWLVIDFWLRQDQGVR
   9,'(2*5$3+(5,VDLGLI\RXFDQWHOOPH        WKHPLGGOHSDUWRQWKHOHIWDQGWKHERWWRPRQH
   WKHWLWOH,FDQWHOO\RXWKHQXPEHU                           VDWLVIDFWLRQZLWKWKHFRDFK\RXFDQMXVWVHHWKDWWKH
   $77251(<75<21+HUHLWLV,WKLQNLW        PRUH\RXSHUFHLYHDWDVNFOLPDWHWKHPRUH\RXDUH
   LVQXPEHU0RWLYDWLRQDO&OLPDWHDQG*RDO2ULHQWDWLRQ         WKLQNLQJWKLVLVWKHLGHDOFRDFK, GOLNHWRKDYHWKH
   DVSUHGLFWRUVRI3HUFHSWLRQV                                  PRUHUHVSHFW,KDYHIRUWKHFRDFKRUKRZHYHU\RXZDQW
   9,'(2*5$3+(5&RUUHFWWKDWZRXOGEH           WRSXWWKDWLQ\RXUZRUGVDQGWKHPRUH\RXSHUFHLYHDQ
   1XPEHU                                                      HJRFOLPDWHWKHOHVVDQGWKHPRUHRQWKHWDVN
   %<$77251(<75<21                                             RULHQWDWLRQ\RXDUHPRUHOLNHO\WRMXVWVD\WKLVLVD
   4$QGLVWKDWSULQWHGRXWIRU\RX3URIHVVRU)U\"       FRDFK, PJODG,KDYH$QGZLWKWKHHJRRULHQWDWLRQ
   $<HV                                                  LW VMXVWQRWVLJQLILFDQWVRDQ\ZD\LWVXSSRUWV
   4$QGJRLQJEDFNLQWKHUHSRUWOHWPHVHHLI,      WKHUHVXOWVIRUVD\LQJRYHUDOOEXWWKDWZDVQRWWKH
   FDQILQGWKHULJKWSDUDJUDSK+HUHZHJRSDUDJUDSK        EHVWUHIHUHQFHWKHUH,WVKRXOGQ WKDYHEHHQXVHGULJKW


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0541
                                                  3DJH                                                        3DJH
    WKHUH                                                          4<RXEHW6ROHWPHUHGLUHFW\RXUDWWHQWLRQWR
    46RMXVWWRPDNHVXUH,XQGHUVWDQGWKHQWKH            SDUDJUDSK6RLQWKHODVWOHW VVHHWKH
    %DODJXHUUHSRUWGRHVQRWDFWXDOO\VXSSRUWWKHLGHDWKDW         VHQWHQFHWKDWVD\VEHFDXVHWKHVHSRVLWLYHEHQHILWVDUH
    DWKOHWHVKLJKLQHJRRULHQWDWLRQUHSRUWORZHU                   IRVWHUHGLQWDVNLQYROYLQJHQYLURQPHQWDUELWUDU\
    FRPSDQLRQVKLSDQGJUHDWHUFRQIOLFWZLWKWHDPPDWHV              H[FOXVLRQVFDQFDXVHKDUPQRWRQO\WRWKHDWKOHWHVZKR
    ULJKW"                                                          DUHH[FOXGHGEXWDOVRWRWKHRWKHUDWKOHWHVRQWKHWHDP
    $77251(<9(52))2EMHFWLRQ                     &DQ\RXWHOOPHZKDWKDUPVLWFDXVHVWRRWKHUDWKOHWHV
    7+(:,71(665LJKW                             RQWKHWHDP"
    %<$77251(<75<21                                              $,WFRXOGFDXVHKDUPWRDWKOHWHVZKRDUHQ W
   4'R\RXEHOLHYH6PLWKDQG6PDOOGRHV"                  DOORZHGWRKDYHWKHLUWKHLUIULHQGVSDUWLFLSDWH
   $<HDK<RXNQRZDOLWWOHZKLOHDJRZKHQZHZHUH      WKHLUIULHQGVZKRVKRXOGEHRQWKHWHDPULJKWLI
   ORRNLQJDWWKDWSDVVDJHLWMXVWLQFOXGHGOLNHWHQ             %3-ZDVQRWDOORZHGWRSDUWLFLSDWHDQGKHUIULHQGV
   YDULDEOHVWKDWZHUHFRJQLWLYHDQ[LHW\DQGZRUU\DQG            UHDOO\ZHUHORRNLQJIRUZDUGWRWKDWEHLQJDSDUWRIWKH
   FRQFHQWUDWLRQGLVUXSWLRQDQG,GRQ WNQRZILYHRWKHU          VSRUWULJKW7KHVSRUWH[SHULHQFHLVWRVKDUHWKDW
   WKLQJVDORWRIZD\VWRPHDVXUHVWUHVV$QGVRDFURVV        WRJHWKHU7KDWFRXOGEHKDUPIXO,WLVDOVRMXVW\RX
   WKHVHVWXGLHVDORWRIZD\VWKDWWKHVHUHODWLRQVKLSV           NQRZLWFRXOGEHDPLVVHGRSSRUWXQLW\WRIRUNLGV
   ZLWKFRDFKHVDQGDWKOHWHVEXWLW VQRWOLNHHYHU\RQHLV       WROHDUQDQGWRJURZDQGWREHFRPHPRUHIDPLOLDUDQGWR
   XVLQJRQHXQLIRUPPHDVXUH<HDKVRWKHUH VSUREDEO\          EHFRPHPRUHDFFHSWLQJULJKW
   PRUHVWXGLHVVKRZLQJWKDW\RXKDYHEHWWHUUHODWLRQVKLSV        46RLIWKDW VWKHFDVHFRXOGQ WWKHFRDFKMXVW
   ZKHQSHRSOHSHUFHLYHDWDVNLQYROYLQJFOLPDWHRUKDYHD        VD\WRWKHP,NQRZ\RXZRXOGOLNHWRKDYH\RXUIULHQGRQ
   WDVNRULHQWDWLRQDQGWKHQLW VNLQGRIDPL[RQWKHHJR        WKHWHDPEXWWKDW VQRWWKHZD\LWZRUNVDQGKHOSWKHP
   VLGH6RVRPHWLPHVWKDWFRPHVRXWDQGVRPHWLPHVLW            ZRUNWKURXJKWKDWMXVWDV\RXWROGPHWKHFRDFKFDQ
   GRHVQ W                                                       FRXQVHONLGVZKRGLVDJUHHZLWKWKHGHFLVLRQVVRPH
   4'RQ WVWXGLHVVKRZWKDWWKHEHVWPL[LVDKLJK        RWKHUGHFLVLRQV"


                                                  3DJH                                                        3DJH
    HJRRULHQWDWLRQDQGDKLJKWDVNRULHQWDWLRQ"                    $77251(<9(52))2EMHFWLRQ
    $77251(<9(52))2EMHFWLRQ                     7+(:,71(662ND\
    7+(:,71(661R,ZRXOGQ WDJUHHZLWK           'HILQLWHO\DFRDFKFRXOGGRWKDWEXW
    WKDWWKDWPL[HVLW VQRWQHFHVVDULO\WKDWWKDWLV          WKDWGRHVQ WFKDQJHWKHIDFWWKDWWKDWLWFRXOGEH
    KDUPIXOULJKWKDYLQJDKLJKWDVNDQGKLJKHJR%XWWR        KDUPIXOLQWKHVHQVHWKDWNQRZLQJWKDWRWKHUSHRSOH\RX
    VD\LWLVWKHEHVWQR,ZRXOGQ WVD\WKDW                    FDUHDERXWDQGHYDOXDWHDUHEHLQJH[FOXGHGLQDQXQIDLU
    %<$77251(<75<21                                              ZD\
    4,V6PLWKDQG6PDOOFLWHGLQWKHELEOLRJUDSK\"          %<$77251(<75<21
    $2QHRIWKHLUDUWLFOHVE\*URVVEDULVEXWWKDW         4$QGWKDWWHUPWKHXQIDLUZD\LVVRPHWKLQJWKDW
   LVORRNLQJPRUHDWWKHRULHQWDWLRQVLQFOLPDWH7KDW          \RXVDLGWKDW\RXDUHQRWDQH[SHUWRQZKDW VIDLUDQG
   RQH,ORVWWKDWSDJH,ZDVMXVWWU\LQJWRVHHLI            ZKDW VXQIDLUULJKW"
   WKHUHZDVDQRWKHURQH7KHUHLVRQHE\&XPPLQJV        $5LJKW,VDLGLW VQRWDSULPDU\DUHDRIVWXG\
   ,V:LQQLQJ(YHU\WKLQJWKH&RQWULEXWLRQVRI&OLPDWH            ULJKW
   DQG                                                       4<HDK:HOO,ZDQWWRDVN\RXDTXHVWLRQ,
   4$QGWKDWLVJRLQJWRWHOOPHWKDWLVJRLQJ        WKLQN\RX UHUHIHUULQJWRWKH3ODLQWLIIDV3%-ZLWK
   WRVXSSRUWWKHVWDWHPHQWWKDWHJRRULHQWDWLRQFUHDWHV          ILUVWOHWWHUEHLQJ3
   PRUHFRQIOLFW"                                                 $P,KHDULQJ\RXULJKW"
   $1RQR, PQRWVXUH,WKLQN, GKDYHWRVWHS      $,GLGQ WWKLQNVR%XWLWGRHVEXW%3-
   EDFNDQGUHYLHZWRWHOO\RXIRUVXUHZKDWWKRVHDUHEXW       6RUU\
   ,FDQFHUWDLQO\GRWKDW                                       4$OOULJKW,ZDQWWRPDNHVXUHZH UHDOOVD\LQJ
   4$OOULJKW                                            WKHFRUUHFWLQLWLDOV
   :HOOOHW VPRYHRQ,GRQ WZDQWWRNHHS\RX        9,'(2*5$3+(5([FXVHPH&RXQVHO,I,
   KHUHDQ\ORQJHUWKDQZHQHHGWREHKHUH                       FRXOGLQWHUUXSWIRUDVHFRQG,I,FRXOGMXVWDVNWKH
   $7KDQN\RX,DSSUHFLDWHWKDW                        ZLWQHVVWRNLQGRIVLWXS<RX UHVWDUWLQJWRVORXFK


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0542
                                                 3DJH                                                         3DJH
    GRZQDQG\RXUKHDGLVJHWWLQJFXWRIILQWKHYLGHR             7+(:,71(665LJKW,WKLQNLWFRPHV
    7KDQN\RX                                                      GRZQWRDPDWWHURIDGPLQLVWUDWRUVLQVSRUWOHDJXHVDQG
    7+(:,71(66$OOULJKW6RUU\DERXW            KDYLQJDGHVLUHWRSURYLGHFRDFKLQJHGXFDWLRQWU\WR
    WKDW                                                           KHOSFRDFKHVXQGHUVWDQGWKLVUHVHDUFKDQGWRKHOSIRVWHU
    %<$77251(<75<21                                              FDULQJDQGWDVNLQYROYLQJFOLPDWH
    4<RX UHQRWVD\LQJWKDWDQ\:HVW9LUJLQLDVSRUWV        %<$77251(<75<21
    RUJDQL]DWLRQRUHGXFDWLRQDOHGXFDWLRQKDVDGRSWHGDQ            4$UH\RXVXJJHVWLQJWKHUHVKRXOGEHDVWDWHZLGH
    HJRSURPRWLQJSKLORVRSK\DUH\RX"                              RUQDWLRQZLGHUXOHRQWKLV"
    $, PQRW                                               $1R
   4$QG\RXGRQ WNQRZRIDQ\FRDFKHVLQ:HVW             $77251(<9(52))2EMHFWLRQ
   9LUJLQLDWKDWKDYHHLWKHUULJKW"                              7+(:,71(661R, PQRWVXJJHVWLQJ
   $77251(<9(52))2EMHFWLRQ                    , PVRUU\-XOLH
   7+(:,71(661R                               $77251(<9(52))7KDWLVTXLWHRND\*R
   %<$77251(<75<21                                             DKHDG
   4$QGDWHDPFDQEXLOGDWDVNRULHQWHGFOLPDWH          7+(:,71(661R, PQRWVXJJHVWLQJ
   ZLWKVSRUWVVHSDUDWHGE\VH[ULJKW"                           WKDWDOWKRXJK,ZRXOGMXVWQRWHWKDW&DQDGDKDVDEDVLF
   $7KDW VULJKW                                         FRDFKLQJHGXFDWLRQIRUDQ\RQHZKRLVJRLQJWRZRUNZLWK
   4'R\RXNQRZLIIHPDOHWHDPVDUHEHWWHUDW             HYHQYHU\\RXQJDWKOHWHVULJKWDQGWKHQWKH\KDYH
   EXLOGLQJWDVNRULHQWHGFOLPDWHVWKDQER\VWHDPVRUYLFH        WKHVHGLIIHUHQWOHYHOVWKDWSHRSOHQHHGWRJRWKURXJK
   YHUVD"                                                         WKLVFRDFKLQJHGXFDWLRQEHFDXVHWKH\UHDOO\YDOXHWU\LQJ
   $<HDK,W VSRVVLEOHWREXLOGDVWURQJWDVN           WRKHOSFUHDWHLQFOXVLYHHQYLURQPHQWVWKDWKHOSNLGV
   LQYROYLQJFDULQJFOLPDWHLQERWKWHDPVZLWKPDOHVDQG          IRFXVRQWKHLUHIIRUWDQGLPSURYHPHQWDQGFDQEHVHWXS
   IHPDOHV7KHUHPD\EHDVOLJKWWHQGHQF\DFURVVVRPH          LQDZD\WREULQJRXWWKHEHVWLQDQ\FKLOG
   VWXGLHVZKHUHWKRVHVFRUHVFRPHRXWDOLWWOHELWKLJKHU        %<$77251(<75<21


                                                 3DJH                                                         3DJH
    IRUIHPDOHVWKDQPDOHVEXWLW VQRWFRQVLVWHQWULJKW         46RZKDW\RXVDLGLQ&DQDGDWKH\KDYHWKLVZKR
    EXWIHPDOHVVRPHWLPHVUHDOO\YDOXHWKDWWKRVHVRFLDO        KDVWKLV"
    DVSHFWVRIWKHVSRUW1RWWKDWPDOHVGRQ WEXWPD\EHD        $,EHOLHYHLWNLQGRIWULFNOHGGRZQIURPWKH
    VOLJKWO\KLJKHULIZH UHORRNLQJDWWKRVHEHOO              JRYHUQPHQWWKDWWKH\MXVWVDLG\RXNQRZLQWKH
    FXUYHVDJDLQWKH\ZRXOGEHUHDOO\FORVHEXWLW V              6WDWHVLQWKH86RXUPRGHOLVLI\RXKDYHD
    SRVVLEOHWKDWIRULIZHDUHORRNLQJDWJX\VWKH\            KHDUWEHDWULJKWDQG\RX UHZLOOLQJOHW VSXW\RXZLWK
    PLJKWFRPHRXWDOLWWOHELWKLJKHURQWKHHJRDVSHFWVRI        DWHDPEHFDXVHZHMXVWZDQWZDQWWRKDYHDVPDQ\
    WKHFOLPDWHDQGIHPDOHVWKHWDVN                               WHDPVDQGQHLJKERUKRRGVZKHUHNLGVFDQSDUWLFLSDWH%XW
    %<$77251(<75<21                                              LQ&DQDGDWKH\MXVWVHWWKHEDUKLJKHUDQGWKH\VDLGLI
   4&DQZHORRNDWSDUDJUDSKRI\RXUUHSRUW           \RX UHJRLQJWRZRUNZLWKNLGVZHZDQW\RXWRKDYHVRPH
   SOHDVH"                                                        EDVLFFRDFKLQJHGXFDWLRQ$QGVRLW VMXVWDUXOH
   $<HV                                                  DFURVVWKHLUVRUWRIVSRUWLQJJRYHUQPHQW
   46R\RXVD\WKHFOLPDWHRI\RXWKVSRUWVPXVWEH        %<$77251(<75<21
   JHDUHGWRLQFOXGHDOOSDUWLFLSDQWVVRWKDWWHDPVDUH          4<RXVD\VSRUWLQJJRYHUQPHQW$UH\RXVD\LQJWKH
   PRUHOLNHO\WRKHOSHYHU\DWKOHWHPD[LPL]HWKHLU               QDWLRQDOJRYHUQPHQWLVGRLQJWKLVRUVRPHVSRUWLQJ
   SRWHQWLDO1RZWKHZRUGPXVWLVDPDQGDWRU\ZRUG            RUJDQL]DWLRQ",GRQ WNQRZPXFKDQ\WKLQJDERXW
   ULJKW"                                                         &DQDGDDVIDUDVWKDWLVFRQFHUQHG
   $<HDK,WKLQNLWPHDQVPXVWLQWKHVHQVHWKDW        $<HDK<RXNQRZ,ZRXOGKDYHWRORRNDWWKDW
   WKDW VRXUDLPWRPD[LPL]HWKHSRWHQWLDORIHYHU\             PRUHFORVHO\'HILQLWHO\WKHLUVSRUWLQJRUJDQL]DWLRQV
   DWKOHWH,IWKDW VRXUDLPWKHQLWLVSUHWW\NH\WR          EXW, PQRWVXUHWKDWGRHVQ WWULFNOHGRZQIURPVRPHRI
   FUHDWLQJWKDWFOLPDWH                                         WKHLUJRYHUQPHQWUXOHVEXW,ZRQ WVD\WKDWIRUWKH
   46RZKRZRXOGEHWKHZKDWHQWLW\ZRXOGEHWKH      UHFRUG)RUWKHUHFRUG, OOMXVWVD\WKDWWKH\GR
   RQHWRHQIRUFHWKDW"                                           UHTXLUHDQ\XVHIRUDFRDFKWRKDYHDEDVLFLQWURGXFWLRQ
   $77251(<9(52))2EMHFWLRQ                    WRFRDFKLQJHGXFDWLRQZKLFKZRXOGLQFOXGHVRPHRIWKHVH


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0543
                                                 3DJH                                                         3DJH
    FRQFHSWV                                                       $3UREDEO\VR\HV
    4%XW\RX UHQRWDGYRFDWLQJWKDWIRUWKH8QLWHG          46RJRLQJEDFNWRFXWWLQJNLGVRIIWHDPVWKDW V
    6WDWHVDUH\RX"                                                DWKLQJZKHUHNLGVLIWKH\GRQ WSHUIRUPDWDFHUWDLQ
    $1R                                                    OHYHOWKH\ UHFXWIURPWKHWHDPRUQHYHUDOORZHGRQWR
    42ND\                                                  WKHWHDPULJKW"
    /HW VVHHVRP\QH[WTXHVWLRQLV\RXVD\VR           $5LJKW
    WKDWWHDPVDUHPRUHOLNHO\WRKHOSHYHU\DWKOHWH            4$QGVRLIVRPHERG\GRHVEHWWHUWKDQ\RXRQWKDW
    , PVRUU\VWULNHWKDW                                         WHDPWKHQ\RXDUHDWDGLVDGYDQWDJHULJKW"
    6WLOOWKDWILUVWFODXVH7KHFOLPDWHRI\RXWK        $77251(<9(52))2EMHFWLRQ
   VSRUWPXVWEHJHDUHGWRLQFOXGHDOOSDUWLFLSDQWV6R          %<$77251(<75<21
   ZKRJHWVWRSDUWLFLSDWH":KHQ\RXVD\DOOSDUWLFLSDQWV        4,I\RXDUHFXWIURPWKHWHDP"
   ZKDWGR\RXPHDQE\WKDW"                                      $<HV
   $+RSHIXOO\ZHKDYHDQDYHQXHIRUDOO\RXQJ            41RZ\RXVD\IURPDQHGXFDWLRQDOVWDQGSRLQWLW
   SHRSOHWRJDLQVRPHH[SRVXUHWR\RXWKVSRUWVRDOO            LVRSWLPDOWRHQFRXUDJHDOODWKOHWHVWRGRWKHEHVWWKH\
   DWKOHWHVZKRZDQWWR                                          FDQDQGWRKHOSDOODWKOHWHVHQMR\WKHVSRUWWKH\ORYH
   42ND\                                                 ULJKW"
   6RLQVRPHVSRUWVDQGKLJKVFKRRODWKOHWHVDQG        $8KKXK \HV <HV
   LQFROOHJH\RXKDYHWU\RXWV$QGLI\RXGRQ WPDNHWKH        46RZKHQ\RXVD\IURPDQHGXFDWLRQDOSHUVSHFWLYH
   WU\RXWV\RXGRQ WPDNHWKHWHDP                              OHWPHMXVWDVN\RXGR\RXIHHOOLNH\RXDUHDQ
   5LJKW"                                                H[SHUWRQHGXFDWLRQRUWHDFKLQJPHWKRGRORJ\"
   $7KDW VULJKW                                         $,WGHSHQGV:KHQ,VD\DQHGXFDWLRQDO
   4$QGGR\RXWKLQNWKDW VRND\RUGR\RXWKLQN          SHUVSHFWLYH,PHDQIURPWKHVSRUWVSV\FKRORJ\
   WKDWZHVKRXOGGRDZD\ZLWKWU\RXWVDQGHYHU\ERG\VKRXOG       OLWHUDWXUH$QG\RXNQRZLW VQRWZKDW,VWXG\LQ
   EHRQWKHWHDPLIWKH\ZDQWWREHRQWKHWHDP"                 VRUU\, PMXVWJRLQJWRWKLQNIRUDVHFRQG


                                                 3DJH                                                         3DJH
    $77251(<9(52))2EMHFWLRQ                     47DNH\RXUWLPH,ZDQWWRJHWDQDFFXUDWH
    7+(:,71(66,WKLQNWKHUHLVDORWRI           DQVZHUIURP\RX, PQRWWU\LQJWRIRRO\RXRU
    EHQHILWVWRORRNLQJDWKLJKVFKRROVSRUWVDQGLQFOXGLQJ         DQ\WKLQJ
    DVPDQ\DWKOHWHVDVZHFDQ%XWQR,ZRXOGQ WVD\WKDW        $7KDQN\RX<HDK,WKLQNWKLVLVEXLOGLQJRQ
    , PDJDLQVWDOOHYHU\ZKHUHZHVKRXOGKDYHDQRFXW          DFKLHYHPHQWJRDOSHUVSHFWLYHWKHRU\WKDWMXVWDVZH
    SROLF\%XW,WKLQNLW VYDOXDEOHWRORRNDQGVD\KH\        VKRXOGEHKHOSLQJDOONLGVEHWKHEHVWWKDWWKH\FDQEH
    DUHZHLQFOXGLQJDVPDQ\NLGVDVZHFDQ%HFDXVHWKH           ULJKWDQGLIZH UHQRWGRLQJWKDWWKHQZH UHPRUH
    HYLGHQFHVXSSRUWVWKDWNLGVIHHOPRUHFRQQHFWHGDW              OLNHO\VHWWLQJLWXSWRMXVWIRFXVRQWKRVHNLGVZKRZH
    VFKRRO\RXNQRZWKHLUDWWHQGDQFHLVEHWWHU7KHUH VD        WKLQNDUHJRLQJWREHWKHEHVWDQGWKHKLJKHVW
   ORWSOXVHVZKHQNLGVJHWWKDWRSSRUWXQLW\WR                   DFKLHYHUVEXWWRNHHSWKHIRFXVRQKHOSLQJHYHU\
   SDUWLFLSDWH                                                   DWKOHWHHYHU\VWXGHQWEHWKHEHVWWKDWWKH\FDQEH,
   %<$77251(<75<21                                             WKLQNLVUHDOO\DYDOXDEOHDLP
   4'RQ WVSRUWVVRPHWLPHVWDNHNLGVDZD\IURPWKHLU      4'R\RXNQRZKRZPDQ\VFKRROVLQ:HVW9LUJLQLD
   DFDGHPLFV"                                                     KDYHVSRUWVSURJUDPV"
   $77251(<9(52))2EMHFWLRQ                    $,GRQRW
   7+(:,71(667KH\VRPHWLPHVGRIRUVRPH        4'R\RXKDYHDQ\LGHDRIZKDWSHUFHQWDJHRINLGV
   NLGV                                                          DUHLQDWKOHWLFSURJUDPVLQ:HVW9LUJLQLDVFKRROV"
   %<$77251(<75<21                                             $,GRQ W
   4)RUDORWRINLGVLVQ WLW"                          4'R\RXNQRZDERXWLQDQ\RIWKHXQLYHUVLWLHVLQ
   $, PQRWVXUHZKDWWKHSHUFHQWDJHVDUHEXW\HDK      :HVW9LUJLQLD"
   VRPHNLGVPD\EHOHVVIRFXVHGRQDFDGHPLFV                    $1R,GRQ WNQRZ
   4$QGWKDWLVZK\DORWRIVFKRROVDFWXDOO\KDYH        47DNHDORRNDWSDUDJUDSK5HDGWKDW, P
   UXOHVRQPLQLPXPDFDGHPLFVFRUHVWKDW\RXDUHJHWWLQJLQ       QRWJRLQJWRUHDGLWDOORXWORXGEXW,GRKDYHVRPH
   RUGHUWREHRQDWHDPULJKW"                                  TXHVWLRQVIRU\RXDERXWSDUDJUDSK


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0544
                                                 3DJH                                                          3DJH
    $2ND\2ND\                                           ,ORRNDWWKHVSRUWRUJDQL]DWLRQVDFURVVWKLVFRXQWU\
    4$VIDUDV,FDQWHOOWKLVSDUDJUDSKKDVQRWKLQJ       DQGLQWHUQDWLRQDOO\WKDWVSRUWOHDGHUVDUHUHFRJQL]LQJ
    WRGRZLWK+RXVH%LOOGRHVLW"                            WKDWZHZDQWWREDODQFHIDLUQHVVZLWKLQFOXVLRQDQGWKDW
    $77251(<9(52))2EMHFWLRQ                     WKHUHKDVEHHQVXFFHVVLQWKDWDOUHDG\DQGWKDWWKDWLV
    7+(:,71(66,WKLQNLWWDNHVDELJJHU          VRPHWKLQJWKDWZHFDQGRDQGWKDWZHGRQ WKDYHWRMXVW
    SLFWXUHSHUVSHFWLYHRIMXVWWKH\RXWKVSRUWZRUOGDQG          H[FOXGHDOOWUDQVDWKOHWHVIURPSDUWLFLSDWLQJLQVSRUW
    VRZKDW VWUXHIRUSDUHQWVIRUWKLVSDUHQW-LP                %<$77251(<75<21
    7KRPSVRQZKRKDGDFKLOGZKRH[SHULHQFHGVRPXFK               46R\RXKDYHQRWDQVZHUHGP\TXHVWLRQGLUHFWO\
    QHJDWLYH\RXNQRZLQWHUDFWLRQVZKHQKHILUVWVLJQHGXS        ,VWKDWEHFDXVH\RXGRQ WZDQWWRRUEHFDXVH\RXGRQ W
   IRUVSRUWWKDW-LP7KRPSVRQZDVOLNHZRZWKLVLV            IHHOOLNH\RXFDQ"
   FUD]\DQGKHZHQWRQWRVWDUWWKLVRUJDQL]DWLRQWR            $77251(<9(52))2EMHFWLRQ
   SURYLGHFRDFKLQJHGXFDWLRQIRU\RXNQRZIRU               7+(:,71(66,IHHOOLNHLW VPRUH
   FRDFKHV+HKDVPDWHULDOVIRUSDUHQWVIRURIILFLDOV         FRPSOH[WKDQZKDW\RX UHPDSSLQJLWRXW:KHQZHWDON
   EXW\RXNQRZUHDGLQJLWLWPDNHVPHWKLQNLWZRXOGEH        DERXWWUDQVDWKOHWHVDQGWKHLUJHQGHULGHQWLW\DQG
   KHDOWK\IRUDOORIXVWRVWHSEDFNDQGMXVWVD\KH\          ZKHWKHUWKH\PD\EHWUDQVLWLRQLQJDQGDOOWKHVHRWKHU
   OHW VQRWJHWWRRWRRRYHUFUD]\DERXWWKLVULJKW           IDFWRUVLW VMXVWDELJJHUSLFWXUHWKDQVD\LQJDQ\PDOH
   $QGLQWKHFDVHRI%3-ULJKWKRZFRROLIZHFDQOHW          VKRXOGEHDEOHWRGHFLGHDWDQ\PRPHQW,ZDQWWRFRPSHWH
   KHUKDYHWKHH[SHULHQFHRIUXQQLQJFURVVFRXQWU\VFKRRO        DVDIHPDOH1RZHKDYHWRKDYHJXLGHOLQHVLQSODFH
   DQGZRXOGQ WLWEHDVKDPHLIZHMXVWKDGDEODQNHW            WKDWDUHIDLUDQGLQFOXVLYH
   H[FOXVLRQRINLGVEDVHGRQWKHLUJHQGHULGHQWLW\              %<$77251(<75<21
   %<$77251(<75<21                                             46RLIZHMXVWQDUURZHGGRZQWKHVWDWXWHVRPHZKDW
   42ND\                                                 WRLPSO\ZLWK\RXUYLHZVRQWKDWWKHQ\RXWKLQNLW
   %XWZKDWGRHVWKDWKDYHWRGRZLWK+%"           ZRXOGEHRND\WRH[FOXGHVRPHWUDQVJHQGHUV
   $77251(<9(52))2EMHFWLRQ                    WUDQVJHQGHUJLUOVIURPFRPSHWLQJRQJLUOVWHDPVEXWQRW


                                                 3DJH                                                          3DJH
    7+(:,71(66<RXNQRZLW VSUREDEO\            DOO"
    MXVWDPDWWHURIKRZZHLQWHUSUHWWKLVEXWLIZHLI        $77251(<9(52))2EMHFWLRQ
    ZHKDYHOHJLVODWRUVMXVWPDNLQJDEODQNHWGHFLVLRQWKDW         %<$77251(<75<21
    DFURVVRXUVWDWHQRFKLOGLQVHFRQGDU\HGXFDWLRQQR            4,VWKDWULJKW"
    DWKOHWHVLQXQLYHUVLWLHVZKRDUHWUDQVDWKOHWHVFDQ              $5LJKW,WKLQNWKDW VZKDW VKDSSHQLQJULJKW
    SDUWLFLSDWHLWIHHOVOLNHZHDUHUHDOO\GRLQJD                QRZULJKWWKHUHDUHOLNHFULWHULDZLWKLQWKH1&$$IRU
    GLVDGYDQWDJHWRWKRVHDWKOHWHVDQGQRWDOORZLQJWKHPWR         H[DPSOHDQGDWKOHWHVKDYHPHHWWKDWFULWHULDWR
    SDUWLFLSDWHDQGUHDSWKHEHQHILWV$QG,WKLQN-LP             SDUWLFLSDWHDVDWUDQVJHQGHUIHPDOH
    7KRPSVRQKHUHLVMXVWVD\LQJWKHUHLVMXVWVRPDQ\              4$QGVRDVWDWXWHWKDWGLGWKDW\RXZRXOGILQG
   EHQHILWVDQGZKDWLIZHZHUHDOOXQLWHGDQGVD\LQJKRZ         RND\"
   FDQZHFRPHLQDQGMXVWPDNHVSRUWEHDOOLWFDQEH           $77251(<9(52))2EMHFWLRQ
   3DUHQWVSOD\DELJUROHLQWKDWEXWWKH\ UHGHILQLWHO\        7+(:,71(66,EHOLHYHVSRUW
   QRWWKHRQO\SDUW\WKDWGRHV                                  RUJDQL]DWLRQVDQGOHDGHUVDUHJRLQJWREHDEOHWRILQGD
   %<$77251(<75<21                                             ZD\WREDODQFHLQFOXVLRQDQGIDLUQHVVDQGZKDWWKDWPD\
   4,VLW\RXUSRVLWLRQWKHQWKDWDFKLOGRU\RXWK       ORRNOLNHDFURVVVSRUWVRUGLIIHUHQWOHYHOV\HDK, P
   D\RXQJDGXOWVKRXOGEHDOORZHGWRSDUWLFLSDWHRQ              QRWDQH[SHUWRQWKDWDQGFRXOGQ WRXWOLQHDOOWKDWIRU
   ZKDWHYHUWHDPWKDWFKLOGLGHQWLILHVDVEHLQJDJHQGHU          \RXULJKWQRZ,FRXOGMXVWVD\LWPDNHVPHVDGZKHQ
   DVVRFLDWHGZLWKWKDWWHDP"7KDWZDVQ WYHU\DUWIXOO\          DWKOHWHVDUHH[FOXGHGDQGQRWJLYHQDFKDQFHWRUHDSDOO
   VDLGVROHWPHWU\DJDLQ,VLW\RXUSRVLWLRQWKDWDQ\       WKHVHDPD]LQJEHQHILWVIURPEHLQJDSDUWRIVSRUW
   FKLOGWKDWLGHQWLILHVDVDJLUOVKRXOGEHDOORZHGWR           %<$77251(<75<21
   SDUWLFLSDWHRQDJLUOVWHDPRUZRPHQ VWHDPDVWKHFDVH        4,KHDU\RXEXW,VWLOOZDQWWRNQRZLI\RX
   PD\EH"                                                        EHOLHYHWKDWWKHUH VDSODFHIRUWKH6WDWHWRSDVVODZV
   $77251(<9(52))2EMHFWLRQ                    WRUHJXODWHWKDW"
   7+(:,71(66,W VP\SRVLWLRQWKDWZKHQ        $77251(<9(52))2EMHFWLRQ


                                                                                       3DJHVWR
                                                                                                     Armistead App. 0545
                                                 3DJH                                                        3DJH
    7+(:,71(66<HDK,GRQ WWKLQNWKH            \RXVRPHTXHVWLRQVDERXW/LD7KRPDVGLGQ W\RX"
    6WDWHOHJLVODWRUVLQP\YLHZDUHWKHEHVWSRVLWLRQ,          $,GLGQ WNQRZZKDWWRH[SHFWKRQHVWO\
    IHHOOLNHWKHVSRUWRUJDQL]DWLRQVDQGVSRUWOHDGHUVDQG         $77251(<9(52))2EMHFWLRQ
    SHRSOHUHDOO\LQYHVWHGDQGNQRZOHGJHDEOHDQGLQYROYHGLQ        7+(:,71(66,GLGQ WNQRZZKDWWR
    WKHVSRUWVDWGLIIHUHQWOHYHOVVKRXOGEHPDNLQJWKHVH           H[SHFW
    FDOOV                                                          %<$77251(<75<21
    %<$77251(<75<21                                              42IFRXUVHWKHZKROHLVVXHZLWK/LD7KRPDVKDV
    46R\RXGRQ WEHOLHYHWKDWWKH6WDWHVKRXOGSDVV        EHHQLQWKHQHZVDORWDQGVR,ZDQWWRDVN\RXDERXW
    DQ\ODZZKDWVRHYHUUHJXODWLQJSDUWLFLSDWLRQRI                  WKLVLVDQDUWLFOHLQ)R[1HZV,WVD\V3HQQ
   WUDQVJHQGHUJLUOVLQJLUOVVSRUWV"                             6ZLPPHU6ODPV6FKRRO V+DQGOLQJRI/LD7KRPDV6DJD
   $77251(<9(52))2EMHFWLRQ                    7KH\'RQ W$FWXDOO\&DUHDERXW:RPHQDW$OO6RKDYH
   7+(:,71(66<HDK, PQRWVSHDNLQJWR         \RXVHHQWKLVDUWLFOH"
   HYHU\SRVVLEOHODZWKDWFRXOGHYHUEHLQYHQWHGEXWZLWK       $1R
   UHJDUGWRWKLV+RXVH%LOOULJKW,WKLQNLW V                 4%XW\RXDUHDZDUHRIWKH/LD7KRPDVZKDW,ZLOO
   XQIRUWXQDWHWRKDYHMXVWDEODQNHWH[FOXVLRQIRU               FDOOFRQWURYHUV\ULJKW"
   WUDQVDWKOHWHVIRUWUDQVIHPDOHV                               $<HV
   %<$77251(<75<21                                             46RWKHILUVWSDUDJUDSKVD\VDVZLPPHURQ
   4)DLUHQRXJK:KDWDERXWPD\EHDZHOOOHW        8QLYHUVLW\RI3HQQV\OYDQLD:RPHQ VWHDPVD\VVKHIHHOV
   PHMXVWDVNWKLVTXHVWLRQ:KHQNLGVDUHFRPSHWLQJLV        WKHVFKRRO VGHFLVLRQWRDOORZWUDQVJHQGHUVZLPPHU/LD
   LWWKHLULGHQWLW\WKDW VFRPSHWLQJRULVLWWKHLUERG\         7KRPDVWRFRPSHWHKDVFUHDWHGDQXQIDLUEDODQFHZLWKLQD
   WKDW VFRPSHWLQJ"                                              VSRUWWKDWSULRULWL]HV7KRPDV VULJKWVRYHUWKDWRI
   $77251(<9(52))2EMHFWLRQ                    ELRORJLFDOIHPDOHVWXGHQWDWKOHWHV$VWXGHQWZKRVSRNH
   7+(:,71(66, PVRUU\,ZRXOGQ WHYHQ       WR)R[1HZ'LJLWDORQWKHFRQGLWLRQRIDQRQ\PLW\RXWRI
   NQRZZKHUHWREHJLQWRDGGUHVVWKDWTXHVWLRQRUZKDW           IHDURIUHWULEXWLRQVDLGVKHZDVKRSHIXODIWHUOHDUQLQJ


                                                 3DJH                                                        3DJH
    HYHQ                                                       WKH1&$$ VGHFLVLRQODVWZHHNWRXSGDWHLWVSROLFLHVRI
    %<$77251(<75<21                                              DOORZLQJWUDQVJHQGHUJLUOVWRFRPSHWHEDVHGRQKRUPRQH
    4/HWPHVHH\RX UHQRWDQH[SHUWRQSXEHUW\            OHYHOV$QGWKHQVNLSSLQJGRZQLWVD\VVWXIIOLNHWKDW
    EORFNHUVWKHUDS\IRUER\VRU\RXQJPHQZKRZDQWWREHRQ        LW VQRWMXVWWKHGLIIHUHQFHEHWZHHQWZRJLUOVDQGKRZ
    WKHJLUOVWHDPVULJKW"                                         RQHPD\KDYHVOLJKWO\ODUJHUOXQJVWKDWJLYHVWKHPD
    $,DPQRW                                              VOLJKWDGYDQWDJH7KHVHDUHPRQXPHQWDODGYDQWDJHVWKDW
    4$QG\RX UHQRWDQH[SHUWRQWHVWRVWHURQH               ELRORJLFDOPDOHVMXVWGHYHORSWKURXJKSXEHUW\DQGLW V
    VXSSUHVVLRQIRUER\VRU\RXQJPHQZKRZDQWHGWREHRQD         QRWVRPHWKLQJWKDWD\HDURIKRUPRQHWUHDWPHQWVLQ
    JLUOVWHDPULJKW"                                              EUDFNHWVFDQVXSSUHVVEHFDXVHWKH\VWLOOKDYHDOOWKH
   $7KDWLVFRUUHFW                                      PXVFOHPDVVWKDWWKH\KDGIRUWKHODVW\HDUVFORVHG
   4$QG\RXDUHQRWDQH[SHUWRQKRUPRQHWKHUDS\IRU      TXRWH'R\RXEHOLHYHWKDWWKLVVZLPPHULVMXVWLILHGLQ
   ER\VRU\RXQJPHQZKRZDQWWRFRPSHWHRQJLUOVWHDPV          KHUIHHOLQJVDERXWWKLVEHLQJXQIDLU"
   ULJKW"                                                         $77251(<9(52))2EMHFWLRQ
   $7KDW VFRUUHFW                                       7+(:,71(66,EHOLHYHWKLVVZLPPHUKDV
   4/HW VWDNHDORRNDW([KLELW                      WKHULJKWWRKHURSLQLRQIRUVXUH
   $77251(<75<21-DNHLI\RXFRXOGEULQJ       %<$77251(<75<21
   WKDWXS([FXVHPH([KLELW,EHJ\RXUSDUGRQ,         4'R\RXDJUHHWKDWLWZDVXQIDLUIRU/LD7KRPDV
   KDYHWRUHODEHOVRPHRIWKHVH                                 WRFRPSHWHZLWKWKHJLUOVRQWKHWHDP"
                                     $77251(<9(52))2EMHFWLRQ
    :KHUHXSRQ([KLELW$UWLFOHRQ/LD           7+(:,71(667KH1&$$KDVVHWWKHVH
   7KRPDVZDVPDUNHGIRULGHQWLILFDWLRQ         VWDQGDUGVLQSODFHDQG/LD7KRPDVIROORZHGHYHU\WKLQJ
                                    VKHKDVIROORZHGWKHUXOHVDQGVRLW VUHDOO\
   %<$77251(<75<21                                             XQIRUWXQDWHWRVHHKRZPXFKKDWHDQGODFNRIUHVSHFWDQG
   46R, PVXUH\RXH[SHFWHGWKDW,ZDVJRLQJWRDVN      ODFNRINLQGQHVVKDVEHHQWKURZQKHUZD\,W VMXVW


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0546
                                                 3DJH                                                         3DJH
    UHDOO\KDUGVWXII,XQGHUVWDQGWKDWDWKOHWHVWKLV         $77251(<9(52))2EMHFWLRQ
    LVQHZDQG,WKLQNHDFKVSRUWZLOOEHMXVWORRNLQJDW           7+(:,71(66, GVD\,MXVWUHFRJQL]H
    WKHFULWHULDWKH\XVHDQGVR\RXNQRZWKH\PD\WZHDN          WKDW\RX UHUHDOO\IUXVWUDWHGZLWKWKLVDQG\RXGRQ W
    VRPHWKLQJVDORQJWKHZD\%XW,GRQ WWKLQNZHFDQ            DJUHHZLWKLWDQGWKDWZHZHOO,WKLQN\RXNQRZ
    WDNHLWRXWRQ/LD7KRPDVZKRKDVGRQHHYHU\WKLQJWKDW          ZKHQVWXIILVQHZDQGZHGRQ WKDYHDORWRIH[SHULHQFH
    KDVEHHQDVNHGRIKHU                                          RUH[SRVXUHWRLW\RXNQRZWKDWLVUHDOO\KDUG,
    %<$77251(<75<21                                              MXVWUHIOHFWEDFNWRP\ILUVWVHPHVWHUDWFROOHJHDQG,
    4,VWKHUHDQ\WKLQJWKDW\RXDUHDZDUHRIWKLV       ZDVMXVWKDYLQJOXQFKDWDORQJWDEOHZLWKORWVRI
    VZLPPHUGRHVQ WVD\,KDWH/LD7KRPDV<RXMXVWVWDUWHG        ZRPHQDQGP\URRPPDWHWROGPHDIWHUZDUGVWKDWHYHU\
   RXWWDONLQJDERXWKDWH:KHUHGR\RXJHWWKDWIURP"           SHUVRQWKDWZHKDGOXQFKZLWKZKLFKZDVDORWWKDW
   $77251(<9(52))2EMHFWLRQ                    WKH\ZHUHDOOJD\$QG,KDGQRLGHDQHYHU,JUHZ
   7+(:,71(66)URPHYHU\WKLQJFRPLQJIURP       XSLQ7H[DVQHYHUWDONHGWRDQ\ERG\QHYHUNQHZDQ\ERG\
   VRFLDOPHGLD$QGVRVKHIHDUVUHWULEXWLRQDQGZDQWVWR       WKDW,NQHZZDVJD\ZDVSUREDEO\MXVWQDLYH
   VWD\DQRQ\PRXV/LD7KRPDV,IHHOKDVDORWRIFRXUDJH        $QGVRGRZQWKHURDGQRZVRPHSHRSOH
   WRSXWKHUVHOIRXWWKHUHNQRZLQJWKDWWKHUHLVJRLQJWR        WKDW, PFORVHVWWRDQGORYHLQWKHZRUOGDUHJD\DQGLW
   EHDORWRISHRSOHXQKDSS\DQGDORWRISXVKEDFNDQG          LVQRWDQ\WKLQJWKDW,JLYHDQ\WKRXJKWWR,W VOLNH
   \RXNQRZNLQGRIFRXSOHRIWKLQJVWKDWVKHVD\VLVMXVW       \RXNQRZFUD]\WKDWLVZKDWKDSSHQVRYHUWLPH$QG,
   UHIHUULQJWREHZKRVKHLVUHDG\WRFRPSHWH$QGVR          VHHWKHVDPHWKLQJKDSSHQLQJZLWKWUDQVJHQGHUDWKOHWHV
   , PDFNQRZOHGJLQJWKLVLVDUHDOO\GLIILFXOWVLWXDWLRQ        :H UHMXVWJRLQJWRZKRZRXOGZDQWWRKDYHWKH
   ULJKWIRUVZLPPHUVIRUKHUWHDPPDWHVEXW,WKLQNLQ         FRXUDJHWRFRPHRXWDQGMXVWSXW\RXUOLYHVRXWWKHUH
   WKLVFDVHZHKDYHWRZDLWWRVHHZKDWWKH1&$$DQGZKDW        DQG\RXUIDPLO\DQGGRHYHU\WKLQJWKDWWKH\KDYHWRGR
   WKH86$6ZLPJURXSGHFLGHVWRGRDQGZKDWWKH\GHFLGHLV       WRRDQGVR,WKLQNZH OODOOMXVWJURZDQGZH OOOHDUQ
   IDLU$QGWKH\KDYHRQJRLQJVWXGLHVDERXWKRZWREH           PRUHDERXWZKDWWKLVH[SHULHQFHLVDQGZH OOEHDEOHWR
   LQFOXVLYHDQG\HWIDLUDQG, PFRQILGHQWWKDWZHFDQ          VHHULJKWWKDWKHUHLVMXVWDQRWKHUDWKOHWHOLNHPH


                                                 3DJH                                                         3DJH
    NHHSSXUVXLQJWKDWDQGWKHUHPD\EHDOHDUQLQJFXUYHIRU        :HKDYHPRUHLQFRPPRQWKDQZHGRQ W$QG,WKLQNRYHU
    XVULJKWRULWPD\EHWKDWWKLVLVGHWHUPLQHGZLWK            WLPHDORWRIYLHZVZLOOFKDQJHDQGZH OOMXVWNHHS
    GDWDRYHUWLPHWKDWWKLVLVH[DFWO\ZKDWWKHFULWHULD           ZRUNLQJRQWU\LQJWREHDVIDLUDVZHFDQRQZKDWWKH
    QHHGVWREH                                                    FULWHULDVKRXOGEH%XWZLWKWKLVDWKOHWH,ZRXOGVD\
    %<$77251(<75<21                                              QRWKLQJFKDQJHVIRU\RX:KDW\RXDUHWU\LQJWRGRLV
    46ROHW VWXUQWRWKHWKLUGSDJHXQGHUQHDWKWKDW        EHWKHDEVROXWHYHU\EHVWWKDW\RXFDQEHULJKWDQGVR
    SLFWXUHLWVD\VNHHSJRLQJGRZQ, PVRUU\0RUH         OHW VNHHSZRUNLQJKDUGOHW VNHHSVHHLQJZKDW\RXFDQ
    SOHDVHEHORZWKHQH[WSLFWXUH7KHUHZHJR$QGULJKW        GR,QVZLPPLQJWKDW VDQLFHVSRUWWRMXVWEHDEOHWR
    VRWKHSDUDJUDSKLWVD\VWKH\DUHMXVWSURYLQJ            VWD\IRFXVHGRQ\RXUWLPHDQG\RXUSHUIRUPDQFHDQG
   RQFHDJDLQWKDWWKH\GRQ WDFWXDOO\FDUHDERXWZRPHQ          SURYLQJ\RXUWHFKQLTXH
   DWKOHWHVWKHVZLPPHUVDLGRIWKH8QLYHUVLW\RI                %<$77251(<75<21
   3HQQV\OYDQLD7KH\VDLGWKH\FDUHDQGWKDWWKH\ UHKHUH       4$QGVR\RXDUHVD\LQJWKDWWKLVJLUOVKRXOGEHD
   IRURXUHPRWLRQVEXWZK\GRZHKDYHWREHJUDFLRXV            JUDFLRXVORVHUSHULRGULJKW"
   ORVHUV":KRDUH\RX\RXWRWHOOPHWKDW,VKRXOGQ W           $77251(<9(52))2EMHFWLRQ
   ZDQWWRZLQEHFDXVH,GRZDQWWRZLQ, PVZLPPLQJ           7+(:,71(661R, PVD\LQJLIWKDW
   , PGHGLFDWLQJPRUHWKDQKRXUVDZHHNWRWKHVSRUW         VXJJHVWVWKDWHYHU\WUDQVJHQGHUIHPDOHWKDWHYHU
   $QGREYLRXVO\,ZDQWWRZLQ<RXFDQ WMXVWWHOOPH           FRPSHWHVLQVSRUWVLVJRLQJWREHHYHU\IHPDOHULJKW
   WKDW,VKRXOGEHKDSS\ZLWKVHFRQGSODFH, PQRW$QG       DQGWKDW VMXVWFUD]\VRDQG\RXNQRZ, PQRW
   WKHVHSHRSOHLQ3HQQ VDGPLQLVWUDWLYHGHSDUWPHQWZKR           IROORZLQJLWWKDWFORVHO\EXW/LD7KRPDVKDVORVWUDFHV
   MXVWWKLQNWKDWZRPHQVKRXOGMXVWUROORYHULW V              DVZHOO6RMXVWWRVD\WKDWVKHLVKHUH
   GLVWXUELQJDQGLW VUHPLQLVFHQWRIWKHVZKHQWKH          %<$77251(<75<21
   DUHILJKWLQJIRU7LWOHDQGVWXIIOLNHWKDW7KH\            45LJKW
   GRQ WDFWXDOO\FDUHDERXWZRPHQDWDOO:KDWZRXOG\RX        $$QG, PMXVWDELJORVHUIRUQRZEHFDXVH,FDQ
   VD\WRWKLVVZLPPHU"                                           QHYHU\RXNQRZEHDWKHUQR\RXMXVWJRRXWWKHUHDQG


                                                                                      3DJHVWR
                                                                                                          Armistead App. 0547
                                                           3DJH                                                    3DJH
    FRPSHWHEHFDXVHWKDW VZKDWVSRUWVLVDERXW                         LWDELWGLIIHUHQWDQG,FDQ WKHOSEXWEHDQJU\RUVDG
    4$QGWKDWVRUU\JRDKHDG,WKRXJKW\RX                ,WKXUWVPHP\WHDPDQGRWKHUZRPHQLQWKHSRRO2QH
    ZHUHILQLVKHG                                                       VSRWZDVWDNHQDZD\IURPDJLUOWKDWJRWWKLQWKH
    $6RUU\,W VMXVWRXWRI\RXNQRZVRPHRI                 IUHHDQGGLGQ WPDNHLWEDFNWRWKH$ILQDOSUHYHQWLQJ
    WKHVHUXOHVDUHWKLQJVWKDWDUHMXVWRXWRIKHUFRQWURO              KHUIURPEHLQJDQDOO$PHULFDQ(YHU\HYHQWWKDW
    VRVKHQHHGVWRVWD\IRFXVHGRQZKDWVKHFDQIRFXVRQ               WUDQVJHQGHUDWKOHWHVFRPSHWHGLQZDVRQHVSRWWDNHQDZD\
    4,VLW\RXUYLHZWKDWWKHVHJLUOVWKDWDUH                   IURPELRORJLFDOIHPDOHVWKURXJKRXWWKHPHHW'R\RX
    REMHFWLQJWR/LD7KRPDVEHLQJRQWKHWHDPDUHGRLQJLW               GLVDJUHHZLWK5HND*\RUJ\"
    EHFDXVHWKH\KDWH/LD7KRPDV"                                        $77251(<9(52))2EMHFWLRQ
   $77251(<9(52))2EMHFWLRQ                         7+(:,71(66,UHFRJQL]HWKDWVKHLV
   7+(:,71(661RQR,GRQ WNQRZDQ\RI            YHU\IUXVWUDWHGDQGIHHOVWKDWWKLVGHFLVLRQZDVQ W
   WKHVHDWKOHWHV                                                     IDLU<RXNQRZLIZH UHORRNLQJDWDELJJHUSLFWXUH,
   %<$77251(<75<21                                                  WKLQNVSRUWRUJDQL]DWLRQVDWWKH2O\PSLFOHYHO
   4/HWPHDVN\RXWRWDNHDORRNDW([KLELW               LQWHUQDWLRQDOOHYHOQDWLRQDOOHYHODUHDOOLQYHVWHGLQ
   /HWPHNQRZZKHQ\RXKDYHLW                                       NHHSLQJWKLVYDOXHRILQFOXVLRQULJKWDQGWU\LQJWR
   $2ND\,KDYHLW                                           EDODQFHWKDWZLWKIDLUQHVVDQGVR,WKLQNLW V
   47KLVLVWKHRSHQLQJSDUDJUDSKDQGWKLVVD\V                VRPHWKLQJWKHVHRUJDQL]DWLRQVDUHUHDOO\JRLQJWRNHHS
   9LUJLQLD7HFKILIWK\HDU5HND*\RUJ\KDVUHOHDVHGD                ZRUNLQJRQDQGWKDW
   OHWWHUWR1&$$DGGUHVVLQJKHURSLQLRQRQWKH                        %<$77251(<75<21
   RUJDQL]DWLRQ VFRQWURYHUVLDOWUDQVJHQGHUSROLF\ZKLFK               46RUU\*RDKHDG
   DOORZHG3HQQILIWK\HDU/LD7KRPDVWRFRPSHWHDWWKH                $$QGWKDWWKH\DUHJRLQJWREHDEOHWRILQGD
   1&$$FKDPSLRQVKLSVODVWZHHN$QGLIZHFDQWXUQWRWKH            JRRGVSRWWKDWLVVRPHZKHUHVRPHZKHUHLQDSODFH
   SDJHZHFDQVHHWKHDFWXDOOHWWHUZULWWHQE\WKLV                   WKDWFDQEHUHVSHFWIXOEHLWWUDQVIHPDOHDWKOHWHVDQG
   VZLPPHU,WLVLQLWDOLFV$QGOHWPHVWDUWZLWKWKH              DOVRWKHIHPDOHDWKOHWHVRQWKHVHWHDPV


                                                           3DJH                                                    3DJH
    VHFRQGSDUDJUDSK0\QDPHLV5HND*\RUJ\RI+XQJDU\,             46R\RXWDONDERXWDJRRGVSRW<RXGRQ WNQRZ
    DPD5LR2O\PSLDQUHSUHVHQWHG9LUJLQLD7HFKIRU                ZKDWWKDWJRRGVSRWLV
    WKHSDVWILYH\HDUVDWZRWLPH$&&FKDPSLRQWZRWLPH               ,VWKDWULJKW"
    DOO$PHULFDQDQGWKUHHWLPHKRQRUDEOHPHQWLRQ                        $77251(<9(52))2EMHFWLRQ
    DOO$PHULFDQ$QGWKHQVNLSSLQJGRZQRQHSDUDJUDSKVKH              7+(:,71(661R,GRQ WVRUU\
    VD\V0LFNDLI, PVD\LQJKHUQDPHULJKWVD\V, P                  -XOLHEXW, PFRQILGHQWWKDWWKHUHDUHPDQ\SHRSOH
    ZULWLQJWKLVOHWWHUULJKWQRZLQKRSHVWKDWWKH1&$$                 ORRNLQJVSHQGLQJDORWRIWLPHDQGWU\LQJWRILJXUH
    ZLOORSHQWKHLUH\HVDQGFKDQJHWKHVHUXOHVLQWKH                   RXWKRZWRDQVZHUVRPHRIWKHVHTXHVWLRQV,QUHVSRQVH
    IXWXUH,WGRHVQ WSURPRWHRXUVSRUWLQDJRRGZD\DQG              WRWKLVDWKOHWHVKH VSUREDEO\NQRFNHGRXWDORWRI
   ,WKLQNLW VGLVUHVSHFWIXODJDLQVWWKHELRORJLFDOO\                 RWKHUIHPDOHDWKOHWHVEHFDXVHPD\EHVKHKDGPRUH
   IHPDOHVZLPPHUVZKRDUHFRPSHWLQJLQWKH1&$$                      DGYDQWDJHVDORQJWKHZD\ULJKW0D\EHKHUSDUHQWVZHUH
   $QGWKHQ,ZDQWWRVNLSGRZQZHOOOHW V               DEOHWRSXWKHULQJRRGSURJUDPVRUJRRGFRDFKLQJDQG
   MXVWFRQWLQXHRQWKHQH[WSDUDJUDSK,GRQ WZDQWWR               WKLQJVOLNHWKDW6R\RXNQRZLW VMXVWQHYHUOLNHD
   VNLSWRRPXFK,VZDPWKHIUHHDW1&$$RQ                      ZHOLNHWRMXVWWKLQNZKDWDVZHHWSHUIHFWZRUOGLW
   0DUFKWKZKHUH,JRWWKZKLFKPHDQV,GLGQ W             LVZKHUHHYHU\RQHKDVWKHVDPHRSSRUWXQLWLHVDQG\RX
   PDNHLWEDFNWRWKHILQDOVDQGILUVWDOWHUQDWH,DPD             NQRZWKHUH VMXVWDORWWKDW VQRWIDLURXWWKHUH
   ILIWK\HDUVHQLRU,KDYHEHHQWRSDQGWRSDQG,              ULJKWDFURVVIRUDWKOHWHVEXW,WKLQNZHGRWKHEHVW
   NQRZKRZPXFKDSULYLOHJHLWLVWRPDNHILQDOVDWDELJ             ZHFDQZKLFKLVZKDWWKH1&$$KDVWULHGWRGRDWWKLV
   DWDPHHWWKLVELJ7KLVLVP\ODVWFROOHJHPHHW               SRLQW$QGOLNH,VDLGWKLQJVPD\EHFKDQJLQJ\HDK
   HYHUDQG,IHHOIUXVWUDWHG,WIHHOVOLNHWKDWILQDO               EXWWKHQEXWMXVWWRJREDFNWRWKHRWKHUVLGHIRU
   VSRWZDVWDNHQDZD\IURPPHEHFDXVHRIWKH1&$$ V                   WKHDQVZHUWREHDEODQNHWH[FOXVLRQRIDOOWUDQVJHQGHU
   GHFLVLRQWROHWVRPHRQHZKRLVQRWDELRORJLFDOIHPDOH              DWKOHWHVDWHYHU\OHYHOLVQRWKHOSLQJXVPRYHIRUZDUG
   FRPSHWH,NQRZ\RXFDQVD\,KDGWKHRSSRUWXQLW\WR               %<$77251(<75<21
   VZLPIDVWHUPDNHWKHWRSEXWWKLVVLWXDWLRQPDNHV              4%XW\RXWKLQNHYHQ/LD7KRPDVVKRXOGKDYHEHHQ


                                                                                           3DJHVWR
                                                                                                            Armistead App. 0548
                                                 3DJH                                                                    3DJH
    DOORZHGWRSDUWLFLSDWHLQWKLVVZLPPHHWULJKW"                WKHVHRWKHUJLUOVELRORJLFDOJLUOVDUHIHHOLQJYHU\
    $77251(<9(52))2EMHFWLRQ                     PDUJLQDOL]HG'RHVWKDWFRXQWIRUDQ\WKLQJ"
    7+(:,71(66<HDK,GRQ WWKLQNLW             $77251(<9(52))2EMHFWLRQ
    PDWWHUVZKDW,WKLQNEHFDXVH, PMXVWQRWWKDWHPHUVHG          7+(:,71(66,WKLQNWKHUHLVDORWWKDW
    LQWKHVSRUWWRNQRZHYHU\WKLQJ6RZKHWKHULW VWHQ           RXUILHOGRIVSRUWVSV\FKRORJ\FDQRIIHUKHUHLQWHUPV
    ZKDWHYHULWLVQDQRPROVSHUOLWHURUZKHWKHU\RXNQRZ         RIKHOSLQJSHRSOHZRUNWKURXJKWKHVHWKLQJV%XW,
    WKDW VJRLQJWRFKDQJH,GRQ WNQRZEXW,WKLQNVKH           ZRXOGMXVWJREDFNWRLIZHWKLQNWKHDQVZHULVWR
    ,UHVSHFWKHUVKHGLGHYHU\WKLQJWKHVSRUWKDV             H[FOXGHDOOWUDQVJHQGHUIHPDOHDWKOHWHVIURPFRPSHWLQJ
    DVNHGKHUWRGR$QGVKHVD\VVKHJHWVLQWKHSRRO             WKHQWKDW VQRWULJKWDQGVRZH UHJRLQJWRKDYHWR
   HYHU\GD\DQGJLYHVLWKHUEHVWHIIRUW$QGWKRVHDUH         PDQHXYHUWKLVZHDUHDOOJRLQJWRKDYHWREHLQYROYHG
   WKHNLQGRIWHDPPDWHV,OLNHWRKDYHULJKWWKDWDUH          LQKHOSLQJILJXUHRXWKRZWRPRYHIRUZDUG
   WKDWZD\6R,WKLQNHYHU\ERG\FDQKHUWHDPPDWHV          %<$77251(<75<21
   FDQORRNDWWKLVDVPD\EHWKH\FDQPDNHHDFKRWKHU             4/HWPHMXVWEHFOHDU+%GRHVQRWH[FOXGH
   EHWWHUDQGJURZDVKXPDQEHLQJVDQGPDNHWKHZRUOG             DQ\DWKOHWHVIURPFRPSHWLQJLQVSRUWVGRHVLW"
   EHWWHU                                                        $77251(<9(52))2EMHFWLRQ
   %<$77251(<75<21                                             7+(:,71(662ND\
   46RDJDLQ\RXWKLQN/LD7KRPDV VWHDPPDWHVVKRXOG      )URPP\SHUFHSWLRQLWGRHVEHFDXVH%3-LV
   MXVWNQXFNOHXQGHUDQGEHKDSS\DERXWLWDQGEH                DIHPDOHDQGZDQWVWRFRPSHWHZLWKKHUIHPDOHSHHUV
   FRPSOHWHLVWKDWULJKW"                                       %<$77251(<75<21
   $77251(<9(52))2EMHFWLRQ                    42ND\
   7+(:,71(66,IHHOV\PSDWK\DQGHPSDWK\       $6R,GRQ WVHHWKDWDVDJRRGRSWLRQIRUKHUWR
   IRUVRPDQ\DWKOHWHVWKDWDUHGHDOLQJZLWKGLIILFXOW           FRPSHWHZLWKWKHPDOHV
   FKDOOHQJHVULJKWLQFOXGLQJWKHVHDWKOHWHVULJKWDQG        4:KDWDERXW/LD7KRPDV",PHDQ/LD7KRPDVORRNV
   ,MXVWDFNQRZOHGJH\HDKLWPXVWEHWRXJKULJKW             OLNHDPDOH"


                                                 3DJH                                                                    3DJH
    \RX YHMXVWEHHQGRLQJ\RXUWKLQJLQ\RXUVSRUWIRUD           $77251(<9(52))2EMHFWLRQ
    ORQJWLPHDQGWKHQ\RXKDSSHQWREHDWWKHFHQWHUVWDJH         %<$77251(<75<21
    RIVRPHRIWKLVWDNLQJSODFHEXW\RXNQRZLW VMXVWD        4$QGFRXOGQ WKHFRPSHWHRQWKHPDOHWHDPDVKH
    ORWRIFKDOOHQJHVWKDWDWKOHWHVDUHGHDOLQJZLWKRQPDQ\        KDGEHHQIRU\HDUVDQGWKHQWKHFRDFKRQWKDWWHDP
    OHYHOVDQGVR,GRQ WWKLQNWKH\DUHXQLTXHLQ\RX             VLPSO\VD\\HDK/LD7KRPDVQRZJRHVE\VKHEXW/LD
    NQRZLW VQRWOLNHWKH\DUHWKHRQO\DWKOHWHVWKDWKDYH        7KRPDVLVJRLQJWRFRPSHWHRQWKHER\VWHDPVDQG\RX
    FKDOOHQJHVWRGHDOZLWK                                        JX\VMXVWQHHGWRUHVSHFWWKDW"
    %<$77251(<75<21                                              $77251(<9(52))2EMHFWLRQ
    4'R\RXWKLQNWKDWDUH\RXHTXDWLQJWKHIDFW        7+(:,71(66$VDFLVJHQGHUIHPDOHLW V
   WKDWWKLVVZLPPHUPLJKWKDYHKDGVRPHDGYDQWDJHVLQKHU        KDUGWRIDWKRPWKDW\RXZDNHXSDQG\RXMXVWIHHOOLNH
   OLIHWRWKHIDFWWKDW/LD7KRPDVKDGEHHQKDGJRQH         \RXDUHLQWKHZURQJERG\ULJKW$QGWKHPRUH, YH
   WKURXJKSXEHUW\DQGZDVPD\EHDVPXFKDVDIRRWWDOOHU         UHDGRYHUWKH\HDUVDQGWKHPRUH, YHKHDUGSHRSOHVKDUH
   WKDQWKHRWKHUVZLPPHUVWKRVHDUHMXVWWKHVDPHWKLQJ"        WKHLUVWRULHVLWPXVWMXVWEHH[FUXFLDWLQJO\SDLQIXOWR
   $1R                                                   JRWKURXJKOLIHDQGIHHOOLNHWKDW V\RXUVLWXDWLRQDQG
   $77251(<9(52))2EMHFWLRQ                    VR
   7+(:,71(66, PVRUU\, PQRW               %<$77251(<75<21
   HTXDWLQJWKRVH, PMXVWVLPSO\VD\LQJZKDW,IHHODV         45LJKW$QGQRERG\LVGLVDJUHHLQJZLWKWKDW
   WKHWUXWKWKDWQRWHYHU\ERG\RXWWKHUHKDVDOOWKHVDPH       QRERG\LVFRQWHVWLQJWKDWMXVWWKHTXHVWLRQWKH
   RSSRUWXQLWLHVULJKWDQGDFFHVVDQGJUHDWFRDFKLQJDQG        ULJKWTXHVWLRQLVZKDW VIDLUWRHYHU\RQHQRWMXVWWR
   IDFLOLWLHVDQGHYHU\WKLQJHOVH6R,WKLQNWKH1&$$LV        WKHWUDQVJHQGHUSHUVRQEXWDOVRWRWKHELRORJLFDO
   WU\LQJWRGRWKHEHVWWKDWWKH\FDQDQGHYHU\ERG\LV           JLUOV
   OHDUQLQJULJKWVR                                       ,VQ WWKDWWKHTXHVWLRQ"
   %<$77251(<75<21                                             $77251(<9(52))2EMHFWLRQ
   42QHRIWKHWKLQJVWKDWZHDUHOHDUQLQJWKDW           7+(:,71(665LJKW,WKLQNWKH


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0549
                                                3DJH                                                         3DJH
    TXHVWLRQLVKRZGRZHEDODQFHWKDWLQFOXVLRQDQG               DWKOHWLFHYHQWVEHIRUHSXEHUW\"
    IDLUQHVV                                                      $77251(<9(52))2EMHFWLRQ
    %<$77251(<75<21                                             7+(:,71(66'LVDJUHH
    4, PDOPRVWILQLVKHG, PJRLQJWRUHDG\RXD         %<$77251(<75<21
    VHULHVRIVWDWHPHQWVDQGSOHDVHWHOOPHLI\RXDJUHHRU        42ND\
    GLVDJUHH(LWKHURQHLVILQH,MXVWZDQWWR                 1XPEHUILYHWKHUHLVQRWVFLHQWLILFHYLGHQFH
    XQGHUVWDQG\RXUSRVLWLRQ2U\RXPD\VD\,GRQ WNQRZ        WKDWDQ\DPRXQWRUGXUDWLRQRIFURVVVH[KRUPRQH
    7KDW VILQHWRR7KHILUVWVWDWHPHQWWKHUHDUH               WKHUDS\SXEHUW\EORFNHUVDQGURJHQLQKLELWRUVRUFURVV
    SK\VLRORJLFDOGLIIHUHQFHVEHWZHHQQDWDOPDOHVDQGQDWDO        VH[KRUPRQHVHOLPLQDWHVDOOSK\VLRORJLFDODGYDQWDJHV
   IHPDOHV                                                      WKDWUHVXOWLQPDOHVSHUIRUPLQJEHWWHUWKDQIHPDOHVLQ
   $77251(<9(52))2EMHFWLRQ$SRORJLHV       QHDUO\DOODWKOHWLFHYHQWV"
   REMHFWLRQ                                                    $77251(<9(52))2EMHFWLRQ
   7+(:,71(667UXH                             7+(:,71(662ND\
   $77251(<9(52))6RUU\WR0U7U\RQ      $QG, PMXVWJRLQJWRVD\WKDWLVEH\RQG
   DUHWKHVH\RXUGRFXPHQWVRUDUHWKHVHVWDWHPHQWVFRPLQJ       P\H[SHUWLVHDQGNQRZOHGJHRIWKDWOLWHUDWXUH
   IURPDGRFXPHQWVRPHZKHUH                                   %<$77251(<75<21
   $77251(<75<211RWKHVHDUHP\              40DOHVZKRKDYHUHFHQWO\H[FXVHPHPDOHVZKR
   VWDWHPHQWV                                                   KDYHUHFHLYHGVXFKWKHUDS\UHWDLQVXIILFLHQWPDOH
   $77251(<9(52))7KDQN\RXIRUWKH            SK\VLRORJLFDOWUDLWVWKDWHQKDQFHDWKOHWLFSHUIRUPDQFH
   FODULILFDWLRQ                                                YLVjYLVVLPLODUO\DJHGIHPDOHVIURPDSK\VLRORJLFDO
   %<$77251(<75<21                                            SHUVSHFWLYHPRUHDFFXUDWHO\FKDUDFWHUL]HGDVPDOH
   46HFRQGWKHUHDUHSK\VLRORJLFDOGLIIHUHQFHLQ        DJUHHRUGLVDJUHH"
   QDWDOPDOHVDQGQDWDOIHPDOHVWKDWUHVXOWLQPDOHV            &28575(3257(5, PVRUU\&RXQVHO&DQ
   KDYLQJDVLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU               \RXUHVWDWHWKDWTXHVWLRQ",PLVVHGLW


                                                3DJH                                                         3DJH
    VLPLODUO\JLIWHGDJHDQGWUDLQHGIHPDOHVLQQHDUO\DOO         $77251(<75<216XUH
    DWKOHWLFHYHQWVDIWHUSXEHUW\"                                 %<$77251(<75<21
    $77251(<9(52))2EMHFWLRQ                    40DOHVZKRKDYHUHFHLYHGVXFKWKHUDS\WKDW,
    %<$77251(<75<21                                             PHQWLRQHGLQTXHVWLRQQXPEHUILYHUHWDLQVXIILFLHQWPDOH
    4$JUHHRUGLVDJUHH"                                    SK\VLRORJLFDOWUDLWVWKDWHQKDQFHDWKOHWLFSHUIRUPDQFH
    $77251(<9(52))2EMHFWLRQ                    YLVDYLVVLPLODUO\DJHGIHPDOHVDQGDUHWKXVIURPD
    7+(:,71(66,WKLQNWKHUHLVH[FHSWLRQV       SK\VLRORJLFDOSHUVSHFWLYHPRUHDFFXUDWHO\FKDUDFWHUL]HG
    WRWKLVEXWDVDJHQHUDOUXOHWKDWLVWUXH                   DVPDOHDQGQRWIHPDOH"
    %<$77251(<75<21                                             $77251(<9(52))2EMHFWLRQ
   41XPEHUWKUHHWKHUHDUHSK\VLRORJLFDO                7+(:,71(66$JDLQ,ZRXOGVD\WKDW
   GLIIHUHQFHVEHWZHHQPDOHVDQGIHPDOHVWKDWUHVXOWLQ          H[FHHGVP\H[SHUWLVH
   PDOHVKDYLQJDVLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU         $77251(<75<21)DLUHQRXJK/HWPHJR
   VLPLODUO\JLIWHGDJHGDQGWUDLQHGIHPDOHVLQQHDUO\DOO       RIIWKHUHFRUGIRUMXVWDIHZPLQXWHV,WKLQN, YH
   DWKOHWLFHYHQWVGXULQJSXEHUW\DVRSSRVHGWRDIWHU            FRYHUHGHYHU\WKLQJEXW,MXVWZDQWWRPDNHVXUHDQG
   SXEHUW\'R\RXDJUHHRUGLVDJUHH"                           WKHQ,ZLOOWXUQWKHWLPHRYHUWRP\FR'HIHQGDQWVLI
   $77251(<9(52))2EMHFWLRQ                   WKH\KDYHDQ\TXHVWLRQV6RMXVWJLYHPHILYHPLQXWHV
   7+(:,71(66<HDK,WKLQNLW,           WRJRRIIWKHUHFRUG,VWKDWDOOULJKWZLWKHYHU\RQH"
   WKLQNWKDWVWDWHPHQWVRPHZKDWGHSHQGVRQZKDWZHGHILQH       $77251(<9(52))7KDQN\RX
   DVVLJQLILFDQW                                               7+(:,71(66<HV
   %<$77251(<75<21                                            9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   4)DLUHQRXJK)RXUWKHUHDUHSK\VLRORJLFDO          WLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   GLIIHUHQFHVEHWZHHQPDOHVDQGIHPDOHVWKDWUHVXOWLQ          2))9,'(27$3(
   PDOHVKDYLQJDVLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU         
   VLPLODUO\JLIWHGDJHGDQGWUDLQHGIHPDOHVLQDOO               :+(5(8321$6+257%5($.:$67$.(1


                                                                                     3DJHVWR
                                                                                                               Armistead App. 0550
                                                 3DJH                                                                       3DJH
                                      $, GVD\EHIRUHWKHQEXW, PQRWVXUH
    219,'(27$3(                                                    42ND\
    9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG        'R\RXKDYHDQ\LGHDDWDOOZKDWWLPHIUDPH"
    7KHFXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH            $77251(<9(52))2EMHFWLRQ$VNHGDQG
    $77251(<9(52))([FHOOHQW7KDQN\RX         DQVZHUHG
    0U7U\RQLQRXUODVWH[FKDQJHZLWK3URIHVVRU)U\\RX          7+(:,71(66, PUHDOO\QRWVXUH<RX
    UHDGDVHULHVRIVWDWHPHQWVDQG,DVNHG\RXLIWKHVH            NQRZWKLQJVMXVWNLQGRIEOXURYHUWLPH
    VWDWHPHQWVZHUHFRPLQJIURPDQ\GRFXPHQWV<RXVDLG           %<$77251(<75<21
    QRWKHVHDUHP\VWDWHPHQWV$QG,MXVWZDQWWRSXWRQ         46XUH
   WKHUHFRUGWKDWLWDSSHDUVWKDWLQVRPHRIWKRVH               $%XW, PDIDQRIWU\LQJWROHWDWKOHWHV
   VWDWHPHQWV\RXZHUHUHDGLQJIURPSRUWLRQVRIWKHUHSRUW        SDUWLFLSDWH6R, PQRWVXUH,GHILQLWHO\OHDUQHG
   RI'RFWRU%URZQRQHRI'HIHQGDQW VH[SHUWZLWQHVVHV          PRUHRYHUWKHODVWIHZ\HDUVDQGPD\FRPHIURPDPRUH
   $77251(<75<21:HOOLQUHVSRQVHWKH\        NQRZOHGJHDEOHSRVLWLRQEXW,WKLQNLW VRQH,IHOWIRU
   ZHUHJHQHUDWHGIURPWKDWEXWWKH\DUHQRWKLV                 VRPHWLPH
   VWDWHPHQWVSUHFLVHO\VRDQG,WKLQNWKDW,                4)RUPRUHWKDQWHQ\HDUV"
   UHSUHVHQWHGWKDWFRUUHFWO\LI\RXDUHVXJJHVWLQJWKDW,        $77251(<9(52))2EMHFWLRQ
   PLVUHSUHVHQWHGLW                                             7+(:,71(66<RXNQRZLW VMXVWKDUGWR
   $77251(<9(52))7KDQN\RX                    VD\,GRQ WUHPHPEHUWKLVEHLQJSDUWRIWKH
   $77251(<75<210RUHRYHU,GRQ WWKLQN        FRQYHUVDWLRQVRPXFKWHQ\HDUVDJRVRLIVRPHRQHKDG
   ,QHHGWRUHIHUHQFHWKHVRXUFHRIP\TXHVWLRQVEXW,          DVNHG\HDK, PUHDOO\QRWVXUHKRZWRSXWDWLPHIUDPH
   DSSUHFLDWH\RXUVWDWHPHQW                                     RQLW
   $77251(<9(52))7KDQN\RX,ZDVMXVW        %<$77251(<75<21
   FODULI\LQJ,WKRXJKWWKDWWKHDQVZHUWKDW\RXJDYH            4'R\RXNQRZZKHQWKHILUVWWLPHLV\RXKHDUGRI
   HDUOLHUZDV\RXUVWDWHPHQWVDQGZDVLQDFFXUDWHDQGVR,       WKHLGHDRIWUDQVJHQGHUZRPHQSDUWLFLSDWLQJRU


                                                 3DJH                                                                       3DJH
    MXVWZDQWHGWRFODULI\WKDWIRUWKHUHFRUG                     WUDQVJHQGHUIHPDOHVSDUWLFLSDWLQJRQJLUOVVSRUWV"
    $77251(<75<21:HOO,EHOLHYHLWWREH        $$JDLQ,GRQ WNQRZ<RXNQRZ, YHEHHQ
    DFFXUDWHEXWZH OODJUHHWRGLVDJUHHSHUKDSV                  DWWHQGLQJVSRUWVSV\FKRORJ\FRQIHUHQFHVIRUWKHODVW
    %<$77251(<75<21                                              \HDUVDQG,GRQ WUHPHPEHUWKHILUVWWLPH,VDWLQ
    46REDFNWRP\TXHVWLRQV3URIHVVRU)U\LWVHHPV       RQDVHVVLRQRU\RXNQRZEHJDQWROHDUQPRUH
    WKDW\RXKDYHDVSHFLILFYLHZDERXWWUDQVJHQGHUJLUOVRU        42ND\
    ZRPHQSDUWLFLSDWLQJRQJLUOVRUZRPHQ VWHDPV                  $,UHDOO\GRQ W
    ,VWKDWDIDLUVWDWHPHQW"                              49HU\JRRG:KDW VWKHWRWDOFRPSHQVDWLRQWKDW
    $77251(<9(52))2EMHFWLRQ                     \RXUHFHLYHGRUWKDW\RX YHFKDUJHGIRULQWKLVFDVHVR
   7+(:,71(66&DQ\RXEHPRUHVSHFLILF"          IDU"
   %<$77251(<75<21                                             $,QWKLVFDVH"
   46R\RXLQGLFDWHGQXPHURXVWLPHVRI\RXUEHOLHI       4<HVLQWKLVFDVH
   JHQHUDOO\WKDWWUDQVWKDWPDOHVZKRLGHQWLI\DV           $<HDK,KDYHQ WWXUQHGLQDELOOVR,KDYHQ W
   IHPDOHVVKRXOGEHDOORZHGWRSDUWLFLSDWHRQJLUOVWHDPV       UHFHLYHGDQ\WKLQJ
   5LJKW"                                                  46RKRZPXFKKDYH\RXLQFXUUHGVRIDUDVIHHVLQ
   $77251(<9(52))2EMHFWLRQ                    WKLVFDVH"
   7+(:,71(66$JDLQ, YHVWDWHGWKDW, P       $<HDK, YH,WKLQNLW VLQWKHEDOOSDUNRI
   RSSRVHGWRKDYLQJDEODQNHWH[FOXVLRQSROLF\IRUDOO           HLJKWWRWHQKRXUVSUREDEO\SULRUWRWRGD\
   WUDQVIHPDOHDWKOHWHV                                          4$QGZKDWLV\RXUKRXUO\UDWH"
   %<$77251(<75<21                                             $
   4:KHQGLG\RXDUULYHDWWKDWSRVLWLRQ"                 4$QGKRZDERXWLQWKHRWKHUWKUHHFDVHVFRPELQHG
   $, PQRWVXUH                                         KRZPXFKKDYH\RXKRZPDQ\KRXUVKDYH\RXH[SHQGHG"
   4:DVLWVRPHWLPHLQWKHSDVWWZR\HDUVRU              $3UREDEO\HLJKWWRWHQKRXUVIRUWKH&RQQHFWLFXW
   VRPHZKHUHEHIRUHWKHQ"                                         DQG,GDKRFDVHVWRJHWKHU



                                                                                             3DJHVWR
                                                                                                     Armistead App. 0551
                                                 3DJH                                                         3DJH
    4$QG)ORULGD"                                           ZKDWLV\RXUIDYRULWHEDUEHFXHSODFHLQ0HPSKLV"7KDW V
    $,Q)ORULGDIRXU                                      WKHUHDOTXHVWLRQ
    46RZKHQ\RXILUVW"                                 $,JXHVV, GKDYHWRJRZLWKWKH5HQGH]YRXV0\
    $6RUU\                                                 KXVEDQGDQG,KDGRXUILUVWGDWHWKHUH7KDWZDVNLQG
    46RUU\JRDKHDG                                       RIVSHFLDO
    $)RXUWRVL[DQG,ELOOHGIRUIRXUWKRXJKVR,       4:HOO, PIURPWKHUHRULJLQDOO\VRWKDW VZK\,
    UHFHLYHGDWKRXVDQGIRU)ORULGDLQWKH)ORULGDFDVH        DVNHG
    4'R,XQGHUVWDQGFRUUHFWO\WKHQWKDWWKHILUVW          $:KHUHDUH\RXIURP"
    UHSRUWWKDW\RXGLGZDVIRU&RQQHFWLFXW"                        4, PIURP0HPSKLVWKH0HPSKLVDUHDRULJLQDOO\
   $:HVWDUWHGWKDWRQHDQGWKHQWKHUHZDV            $2ND\
   WKDW VZKHQ&29,'KLWDQGWKHVHDVRQZDVRQKROG,           4, PPRUHSDUWLDOWRFHQWUDOEDUEHFXHSODFHVEXW
   ZRXOGKDYHWRJREDFNDQGORRN%XW,WKLQNWKHILUVW         WKH\ UHDOOJRRG6RDQ\ZD\,ZDQWWRWXUQDOLWWOH
   RQHWKDWZDVILOHGHQGHGXSEHLQJ,GDKRHYHQWKRXJKZH         ELWWRSDUDJUDSKRI\RXUH[SHUWUHSRUW,WLV
   VWDUWHGRQ&RQQHFWLFXWRU,ZDVSDUWRIWKH                ([KLELWWKHUH$QG,ZDQWWRWXUQ\RXPRUHWRZDUGWKH
   &RQQHFWLFXWRQH                                               HQGRIWKDWSDUDJUDSKZKHUHLWVD\VZKHQDWKOHWHVDUH
   4$QG\RXEHOLHYH\RXDUHDEOHWRSXWWKLVZKROH        H[FOXGHGIURPSDUWLFLSDWLQJLQWKHVSRUWRULQDFOLPDWH
   UHSRUWWRJHWKHULQHLJKWWRWHQKRXUVIRU&RQQHFWLFXW"         ZKHUHWKH\GRQRWIHHODFFHSWHGRUUHVSHFWHGWKH\GR
   $77251(<9(52))2EMHFWLRQ                    QRWKDYHWKHRSSRUWXQLW\WRUHDSWKHVHEHQHILWV1RZ
   7+(:,71(66<HV                              ZKDWEHQHILWVDUH\RXWDONLQJDERXWWKHUH"
   %<$77251(<75<21                                             $7KHEHQHILWVRISDUWLFLSDWLQJLQVSRUWDQGWR
   4$QG\RXUELOOLQJUDWHLVWKHVDPHIRUDOORI          \HDKVRUU\OHWPHUHDGWKLVRQHPRUHWLPHWKLV
   WKHP"                                                          SDUDJUDSKSOHDVH
   $7KDW VFRUUHFW                                       4$EVROXWHO\
   $77251(<75<21,GRQ WKDYHDQ\IXUWKHU       $<HDKVR,ZDVUHIHUULQJWRWKHEHQHILWV


                                                 3DJH                                                         3DJH
    TXHVWLRQV$QGVRWKDQN\RXIRU\RXUWLPH,WLV              KLJKOLJKWHGWKURXJKRXWWKLVVWDWHPHQWWKDWFRPHIURP
    DOZD\VVWUHVVIXODQGVR,DSSUHFLDWHLW,UHFRJQL]H           KDYLQJDFKDQFHWRSDUWLFLSDWHLQDUHDOO\SRVLWLYH
    WKDWLWZDVVWUHVVIXODQGWKDW,GRDSSUHFLDWH\RXU             FOLPDWH%XWLQWKLVSDUWLFXODUSDUDJUDSKVD\LQJWKDW
    SDWLHQFHDQG\RXUWLPH7KDQNV"                                WKHUH VVRPHDGYDQWDJHVWRIHPDOHVZKRDUHDEOHWR
    7+(:,71(667KDQN\RX7KDQNVYHU\            SDUWLFLSDWHULJKWDQGPLJKWEHPRUHOLNHO\WRJRRQWR
    PXFK                                                           FROOHJHDQGWKRVHWKLQJV
    $77251(<6&58**6,JXHVV,ZLOOMXPSLQ        4/HW VMXVWWDONJHQHUDOO\UHDOTXLFN&DQ\RX
    VLQFHQRQHRIWKHRWKHU'HIHQGDQWVZDQWWR                     RXWOLQHNLQGRIMXVWDVJHQHUDOEHQHILWEH\RQGWKDW
    $77251(<75<21*RDKHDG                       RQHVSHFLILFRQH\RXPHQWLRQHG"
   $77251(<6&58**62ND\                        $77251(<9(52))2EMHFWLRQ$VNHGDQG
                                    DQVZHUHG
   (;$0,1$7,21                             %<$77251(<6&58**6
                                    4<RXFDQDQVZHUWKHTXHVWLRQ
   %<$77251(<6&58**6                                           $2ND\:HOOWKURXJKRXWWKHVWDWHPHQWWKHVH
   4+HOOR'RFWRU)U\+RZDUH\RXGRLQJ"&DQ\RX       EHQHILWVRIEHLQJDEOHWRSDUWLFLSDWHLQVSRUW\RX
   KHDUPHRND\"                                                  NQRZLQDFDULQJFOLPDWHWKDW\RXNQRZSHRSOHFDQ
   $,FDQ'RLQJZHOO7KDQN\RX                       KDYHIXQFDQKDYHJRRGH[SHULHQFHVDQGJRRG
   46RP\QDPHLV-RKQDWKDQ6FUXJJV, PDQ              UHODWLRQVKLSVZLWKFRDFKHVDQGDWKOHWHV7KH\FDQKDYH
   DWWRUQH\IRUWKHLQWHUYHQLQJ'HIHQGDQW/DLQH\                 MXVWUHDSWKHSK\VLFDOEHQHILWVRIEHLQJLQEHWWHU
   $UPLVWHDGLQWKLVFDVH6R, PMXVWJRLQJWRDVN\RXD       KHDOWKDQGERWKSV\FKRORJLFDOO\DQGSK\VLFDOO\
   IHZTXHVWLRQV7KHJRRGQHZVLV,ZRQ WDVNPDQ\              7KH\FDQH[SUHVVJUHDWHUHPSDWK\IRURWKHUVDQG\RX
   TXHVWLRQVDVWKHSULRUWHVWLPRQ\DQG,FDQ WVLQFHZH         NQRZEHWWHUVSRUWVSHUVRQVKLSULJKWUHDOO\HYDOXDWH
   DUHOLPLWHGLQWLPH6R,ZLOOWU\WRJRTXLFN%XW          EHLQJDUHVSHFWIXOFRPSHWLWRUDQGWKLQJVOLNHWKDW
   WKHPRVWLPSRUWDQWTXHVWLRQDFWXDOO\,KDYHIRU\RXLV         41RZLQ\RXUODVWVHQWHQFHLQSDUDJUDSK\RX


                                                                                      3DJHVWR
                                                                                                                         Armistead App. 0552
                                                 3DJH                                                                        3DJH
    GRQ WKDYHDWLPHIUDPHPHQWLRQHGLQWHUPVRIZKHQ               %<$77251(<6&58**6

    DWKOHWHVDUHH[FOXGHGIURPSDUWLFLSDWLQJLQVSRUWVWKH\         41RZHDUOLHUZHGLVFXVVHG+%WKHODZWKDW

    GRQ WKDYHWKHRSSRUWXQLW\WRUHDSWKHVHEHQHILWV'R          LVDWLVVXHLQWKHFDVH1RZ,GRQ WZDQWWRUHWUHDGD

    \RXPHDQZKHQWKH\GRQ WKDYHDQRSSRUWXQLW\IRUD              ORWRIROGJURXQGEXW,MXVWZDQWWRSXWLWLQ\RXU

    VXEVWDQWLDOSHULRGRIWLPHRUDQ\W\SHRIORVVRI               ZRUGV6RZKDWLVWKHSUREOHPLQ\RXURSLQLRQZLWK

    SDUWLFLSDWLRQIRUDQ\SHULRGRIWLPH"                           WKLVODZ"

    $6RZKHQDWKOHWHVDUHH[FOXGHGIURPVSRUW, P       $77251(<9(52))2EMHFWLRQDVWRVFRSH

    QRWVXUH, PIROORZLQJ\RXEXWLIWKH\ZHUHH[FOXGHG           7+(:,71(66,WKLQNLW V\RXNQRZ

    IRUDGD\RUWZRDUH\RXVD\LQJZRXOGWKDWEHDELJ            SURYLGHVDEODQNHWRIH[FOXVLRQRIWUDQVJHQGHUIHPDOH

   GHDORUDUHWKH\H[FOXGHGIRUDZKROHVHDVRQRU                DWKOHWHVIURPSDUWLFLSDWLQJLQWKHVHFRQGDU\DQGFROOHJH

   WKH\"                                                      OHYHODQGWKDWLVXQIRUWXQDWHDQGKDUPIXO

   46XUH6XUH, PMXVWZRQGHULQJLI\RXFDQSXW       %<$77251(<6&58**6

   WKDWLQDWLPHIUDPH"                                           40D DP, PVRUU\\RXUDQVZHUEURNHXSWKHUH,
   $1REXW,ZRXOGJUDQWWKDWLIWKH\ UHH[FOXGHG        WKLQNP\LQWHUQHWFRQQHFWLRQZDVDELWIDXOW\&DQ,
   IRUDGD\RUVRPHWKLQJOLNHWKDWZHZRXOGQ WEHKHUH          DVNWKHFRXUWUHSRUWHUWRUHDGEDFNWKDWDQVZHU"
   WDONLQJDERXWLWSUREDEO\EXW\HDKRQDELJJHUVFDOH        
   4%XW\RXZRXOGDJUHHWKDWLIVWXGHQWVZHUH              :+(5(8321&28575(3257(55($'6%$&.35(9,286$16:(5
   H[FOXGHGIURPSDUWLFLSDWLQJLQKLJKVFKRROVSRUWVIRU          
   IRXU\HDUVWKH\ZRXOGPLVVRXWRQWKHRSSRUWXQLWLHVIRU       %<$77251(<6&58**6
   SDUWLFLSDWLQJLQ\RXWKVSRUWV"                                 4$QGKRZKDUPIXOH[DFWO\"
   $<HV                                                  $77251(<9(52))2EMHFWLRQ
   4$QG,DVVXPHWKHVDPHLVIRUD\HDU                  7+(:,71(66,WLVKDUPIXOEHFDXVH,
   &RUUHFW"                                              WKLQNZKDWVFKRROGLVWULFWVDUHWU\LQJWRGRLVKHOS
   $<HV                                                  HYHU\FKLOGUHDFKWKHLURZQSRWHQWLDODQGEULQJRXW



                                                 3DJH                                                                        3DJH
    4/HW VVD\WKHUH VDSROLF\DVIDUDVPDOHVZLWK             WKHLUEHVWDQGEXWZHKDYHWKHVHDFWLYLWLHVDYDLODEOH
    IHPDOHJHQGHULGHQWLWLHVWRXQGHUJRWHVWRVWHURQH                     EXWZHDUHWHOOLQJDSDUWLFXODUJURXSRINLGVWKDW\RX
    VXSSUHVVLRQIRUD\HDUEHIRUHWKH\FDQSDUWLFLSDWHRQ                FDQ WSDUWLFLSDWHLQWKHVHDFWLYLWLHVDQGWKHVHPD\EH
    WKHJLUO VWHDPZRXOGWKDWSROLF\IRUFHDWOHDVWVRPH               YHU\LPSRUWDQWWRWKHPDQGEHH[WUHPHO\YDOXDEOHSDUWRI
    DWKOHWHVWRPLVVRXWRQVRPHRSSRUWXQLWLHVDVVRFLDWHG                WKHLUHGXFDWLRQDOH[SHULHQFHWKURXJKWKHVHFRQGDU\
    ZLWK\RXWKVSRUWV"                                                   VFKRROV
    $77251(<9(52))2EMHFWLRQ                          %<$77251(<6&58**6
    7+(:,71(66,WFRXOG                               4*RWLW*RWLW$QGQRZHDUOLHULQ\RXU
    %<$77251(<6&58**6                                                 WHVWLPRQ\\RXPHQWLRQHG\RXGLGQ WWKLQNLW VDSUREOHP
   4:HOOFRXOG\RXHQYLVLRQZKHUHLWZRXOGQ W"                LIDPDOHWKDWZRXOGEHDPDOHWKDWZDVH[FOXGHG
   $77251(<9(52))2EMHFWLRQ                         IURPIRUH[DPSOHWKHZRPHQ VJLUOWUDFNWHDP
   7+(:,71(66, PMXVWWKLQNLQJWKH\                 'R\RXUHPHPEHUWKDW"
   PLJKWKDYHRWKHURSWLRQVRUFRXOGSOD\RQDFRJHQGHU               $77251(<9(52))2EMHFWLRQ
   WHDPWKDW VPD\EHQRWSDUWRIWKHLUVFKRROZKDWWKH\               7+(:,71(66, PVRUU\GLG\RXVD\D
   UHDOO\ZDQWHGWRGRZDVRQWKHLUVFKRROEXWWKHUHFRXOG            PDOHZKRLGHQWLILHVDVDPDOH"
   EHDQRWKHUSRVVLELOLW\                                             %<$77251(<6&58**6
   %<$77251(<6&58**6                                                4<HV\HV)URPWKHZRPHQ VVSRUWVWHDP"
   4<HDKVREHLQJDVLWXDWLRQZKHUHWKH\RQO\                 $5LJKW7KHWHDPIRUWKHIHPDOHVLVIRUWKH
   ZDQWHGWREHRQWKHLUVFKRRODQGKDGWRXQGHUJR                     IHPDOHVULJKWVR,ZRXOGDJUHH
   WHVWRVWHURQHVXSSUHVVLRQIRUD\HDUWRGRVRWKH\ZRXOG            46R\RXGRQ WWKLQN+%LVQRWSUREOHPDWLFLQ
   ORVHRXWRQWKRVHEHQHILWVIRUWKDW\HDU                           WKDWVLWXDWLRQ"
   &RUUHFW"                                                   $77251(<9(52))2EMHFWLRQ
   $77251(<9(52))2EMHFWLRQ                         7+(:,71(665LJKW
   7+(:,71(668KKXK \HV                            %<$77251(<6&58**6


                                                                                                        3DJHVWR
                                                                                                     Armistead App. 0553
                                                  3DJH                                                        3DJH
    4$QGWKDW VWUXHHYHQLIWKDWPDOHORVHVRXWRQ         SDUWLFLSDWHRQWKHIHPDOHWUDFNWHDP"
    DQRSSRUWXQLW\IURPSDUWLFLSDWLQJRQWKHJLUO VWUDFN           $77251(<9(52))2EMHFWLRQ
    WHDP"                                                           7+(:,71(661R6RUU\1R1R,
    $77251(<9(52))2EMHFWLRQ                     GRQ WWKLQNVR
    7+(:,71(665LJKW5LJKW%XWWKH\ UH        %<$77251(<6&58**6
    LGHQWLI\LQJDVDPDOHDQGFDQSHUIRUPRQDFDQ              4:HOOZK\GRHVQ WZK\VKRXOGQ WZHYDOXH
    SDUWLFLSDWHRQWKHPDOH VWHDP                                 WKHLUSDUWLFLSDWLRQRQDQDWKOHWLFWHDP"
    %<$77251(<6&58**6                                            $77251(<9(52))2EMHFWLRQ
    46RWKH\FDQSDUWLFLSDWHRQWKHPDOH VWHDPDQG         7+(:,71(66,GRQ WWKLQNZH UHVD\LQJ
   WKDWLVZK\WKH\WDONDERXWLW"                                ZHZRXOGQ WYDOXHWKDWULJKW7KDWKDSSHQVDOOWKH
   $77251(<9(52))2EMHFWLRQ                    WLPH
   7+(:,71(665LJKW                             %<$77251(<6&58**6
   %<$77251(<6&58**6                                           4<HDK, PVD\LQJZK\GRQ WZHYDOXHZK\
   4:KDWLIWKDWPDOHDWKOHWHLVQRWIDVWHQRXJKWR       GRQ WZHSURPRWHWKHLUSDUWLFLSDWLRQLQDWKOHWLFVDQG
   UXQRQWKHPDOHWHDP"                                          DOORZWKHPWRSDUWLFLSDWHRQWKHIHPDOHWUDFNWHDP"
   $77251(<9(52))2EMHFWLRQ                    $77251(<9(52))2EMHFWLRQ$QGSOHDVH
   7+(:,71(66,QVD\FURVVFRXQWU\              OHWWKHZLWQHVVILQLVKKHUDQVZHU
   RU"                                                        7+(:,71(66,WKLQNWKHUH VDWHDPIRU
   %<$77251(<6&58**6                                           WKLVPDOHDWKOHWHWRDWOHDVWWU\RXWIRUDQGJRIRUDQG
   4<HV2QFURVVFRXQWU\LVQRWIDVWHQRXJKIRU         VR,GRQ WVHHWKHLVVXHWKDWZH UHQRWEHLQJLQFOXVLYH
   WKHPDOHWHDPFDQQRWUXQRQWKHPDOHWHDPVKRXOGWKDW        DQGJLYLQJWKLVDWKOHWHDQRSSRUWXQLW\WRWU\RXWIRU
   PDOHDWOHDVWEHDEOHWRSDUWLFLSDWHRQWKHIHPDOHWUDFN       WKDWWHDP$FURVVWHDPVDQGDFURVVVFKRROVPDQ\
   WHDP"                                                          DWKOHWHVWU\RXWIRUVSRUWVDQGGRQ WPDNHWKHWHDP
   $77251(<9(52))2EMHFWLRQ                    %<$77251(<6&58**6


                                                  3DJH                                                        3DJH
    7+(:,71(665LJKWQRQR1RSHRSOH          4:HOO%3-FDQWU\RXWIRUWKHPDOHWUDFNWHDP
    DWWU\RXWVGRQRWPDNHWHDPV%XWKHLVDPDOH                &RUUHFW"
    LGHQWLI\LQJDVDPDOHWKHQKHVKRXOGVWLFNZLWKWKDW            $77251(<9(52))2EMHFWLRQ
    WHDP                                                           7+(:,71(667KDWGRHVQ WVHHPWREHD
    %<$77251(<6&58**6                                            YLDEOHRSWLRQVLQFH%3-LVDIHPDOH
    46RLQWKDWVLWXDWLRQLWGRHVQ WPDWWHUWKDW          %<$77251(<6&58**6
    PDOHDWKOHWHGRHVQ WKDYHDQRWKHURSWLRQ"                       4*RWFKD2ND\/HWPHWXUQ\RXWRZDUG
    $77251(<9(52))2EMHFWLRQ                     SDUDJUDSKLQ\RXUH[SHUWUHSRUWDJDLQ, PJRLQJWR
    7+(:,71(665LJKW                             DVN\RXDERXWWKHVHFRQGTXHVWLRQWKHVHFRQGRU
   %<$77251(<6&58**6                                           WKHODVWVHQWHQFHH[FXVHPHWKHUHZKHUHLWVD\VLI
   42ND\                                                 WUDQVJHQGHUVWXGHQWVDUHDUELWUDULO\H[FOXGHGIURPWKHVH
   :RXOGQ WLWEHPRUHLQFOXVLYHWRDOORZWKHPDQ        VSRUWVWKH\DUHLQWXUQGHSULYHGRIWKLVSRVLWLYH
   WRSDUWLFLSDWHRQWKHIHPDOHWUDFNWHDP"                       H[SHULHQFHDVDQRXWFRPHDQGWKHLUWHDPPDWHVDUH
   $77251(<9(52))2EMHFWLRQ                    GHSULYHGRIDJHQHUDOO\RSWLPDOVSRUWH[SHULHQFH'LG,
   7+(:,71(66,GRQ WVHHLWOLNHWKDW         UHDGWKDWFRUUHFWO\"
   ULJKW7KHUH VDPDOHWUDFNWHDPDQGDPDOHFDQWU\RXW       $<HV,WKLQNVR
   IRUWKHWKDW$QGWKHJRRGQHZVLVZLWKFURVVFRXQWU\         41RZZRXOG\RXDJUHHWKDWLIZHMXVWVDLGDQ\
   WKH\FDQKDQGOHDORWRIDWKOHWHVVRRIWHQWKHUHLVQRW        VWXGHQWLVH[FOXGHGIURP\RXWKVSRUWVWKH\DUHGHSULYHG
   DFXWSROLF\LQFURVVFRXQWU\                                 RIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHVDQGWKHLU
   %<$77251(<6&58**6                                           WHDPPDWHVDUHGHSULYHGRIDJHQHUDOO\RSWLPDOVSRUWV
   4:HOO,WKLQN,FDQHDVLO\JLYHDVFHQDULRZKHUH      H[SHULHQFH"
   WKHPDOHFDQ WPDNHWKHPDOHWUDFNWHDPEXWWKHUHLVDQ       $<HDK, PQRWWKLQNLQJRIDVLWXDWLRQZKHUHWKDW
   RSHQVORWRQWKHIHPDOHWUDFNWHDPVRWKDWPDOHVZKR          LVQRWWKHFDVHULJKWQRZ
   LGHQWLI\DVPDOHVVKRXOGWKDWSHUVRQEHDEOHWR               46RZRXOG\RXDJUHHWKDWLILWVDLGLIDQ\


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0554
                                                3DJH                                                         3DJH
    VWXGHQWQRPDWWHUWKHLUJHQGHULGHQWLW\ZHUH                 $77251(<9(52))2EMHFWLRQ$VNHGDQG
    DUELWUDULO\H[FOXGHGIURP\RXWKVSRUWVWKH\DUH               DQVZHUHG
    GHSULYHGRIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHV"           7+(:,71(66<HV,WKLQNLWFKDQJHVWKH
    $,ZRXOGMXVWDGGWKDWEDVHGRQWKHLUJHQGHU           PHDQLQJWRVD\LIDQ\DWKOHWHVDQ\DWKOHWHXQGHUDQ\
    LGHQWLW\ULJKW6R\RXFRXOGKDYHDWUDQVIHPDOH             FLUFXPVWDQFHVEXW,MXVWPHDQDWKOHWHVKHUH
    DWKOHWHZKRWULHVRXWIRUDWHDPDQGGRHVQ WPDNHLW          %<$77251(<6&58**6
    ULJKWZH UHQRWLQFOXGLQJWKDWLQWKHVDPHEDOOSDUN           4<HDK, PQRWVD\LQJXQGHUDQ\FLUFXPVWDQFHV,
    KHUHZLWKMXVWKDYLQJDEODQNHWVWDWHPHQWWKDW                 JXHVVZKDW, PWU\LQJWRILJXUHRXWLVZKDWUROHGRHVDQ
    WUDQVIHPDOHDWKOHWHVPD\QRWSDUWLFLSDWH                      DWKOHWH VJHQGHULGHQWLW\SOD\LQWKDWVHQWHQFH,W
   4,JXHVV, PQRWUHDOO\IROORZLQJ\RX%XW           VD\VLIDWKOHWHVZHUHDUELWUDULO\H[FOXGHGVR,DVVXPH
   DJDLQ\RXZRXOGDJUHHWKDWLIDQ\VWXGHQWVDUH               WKHUHFRXOGEHDPDOHDWKOHWHZKRLGHQWLILHVDVPDOH
   DUELWUDULO\H[FOXGHGWKH\UHDSWKHEHQHILWVIURP\RXWK       ,IWKDWDWKOHWHLVDUELWUDULO\H[FOXGHGWKDWFUHDWHVD
   VSRUWV"                                                       SUREOHPWKDW\RXLGHQWLI\LQWKDWSDUDJUDSK"
   $77251(<9(52))2EMHFWLRQ$VNHGDQG        $, PQRWIDPLOLDUZLWKVRUU\-XOLH
   DQVZHUHG                                                     $77251(<9(52))2EMHFWLRQ
   7+(:,71(661R,ZRXOGQ WDJUHHZLWK        7+(:,71(66, PQRWIDPLOLDUZLWKWKDW
   WKDW,ZRXOGQHHGWKHFRQWH[WRIWKDWEHFDXVHWKH           FDVHZKHUHWKHPDOHDWKOHWHLVDUELWUDULO\SUHYHQWHG
   H[DPSOH, PJLYLQJLVWUDQVJHQGHUIHPDOHDWKOHWHWULHV        IURPSDUWLFLSDWLQJ, PQRWVXUHZKDW\RX UHUHIHUULQJ
   RXWIRUDIHPDOHWHDPDQGGRHVQ WPDNHLWULJKWDQGVR      WRWKHUH
   ZRXOGEHH[FOXGHGIRUWKDWUHDVRQWKDWWKH\ UHWKLV      %<$77251(<6&58**6
   WHDPLVOLPLWHGLQKRZPDQ\SRVLWLRQVWKH\KDYHDQGWKH\      4:HOOOHW VWKLQNDERXWDVLWXDWLRQRQWKH
   SDUWLFXODU\RXNQRZVRPHNLGVWU\DQGGRQ WPDNH        VSRUWVWHDPZKHUHDFRDFKFXWVDQDWKOHWHDIHPDOH
   WKHWHDP                                                     DWKOHWHZKRLGHQWLILHVDVIHPDOHDQGLQVWHDGLWIDYRUV
   %<$77251(<6&58**6                                          WKHFRDFK VRZQGDXJKWHUIRUH[DPSOH<RXZRXOG


                                                3DJH                                                         3DJH
    4/HWPHWXUQ\RXWR\RXU'HFODUDWLRQ\RXU             FRQVLGHUWKDWDQDUELWUDU\H[FOXVLRQULJKW"
    LQLWLDOH[SHUW'HFODUDWLRQ,WKLQNLW V([KLELWDQG        $77251(<9(52))2EMHFWLRQ
    WKHQOHWPHWXUQ\RXWRSDUDJUDSKDQGMXVWUHDGWKH         7+(:,71(661R:H GKDYHWRNQRZD
    VHFRQGVHQWHQFHZKLFKVD\VLIDWKOHWHVDUHDUELWUDULO\       ZKROHORWPRUHDERXWWKDWVLWXDWLRQ
    H[FOXGHGIURP\RXWKVSRUWVWKH\DUHLQWXUQGHSULYHG        %<$77251(<6&58**6
    RIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHVDQGWKHLU           42ND\
    WHDPPDWHVDUHGHSULYHGRIDJHQHUDOO\WDVNLQYROYLQJDQG       $0D\EHWKHFRDFK VGDXJKWHUGHVHUYHVWREHRQ
    FDULQJVSRUWVFOLPDWH'R\RXVHHWKDW"                       WKHWHDPDQGLIWKHWHDPFDQRQO\KDQGOHVRPDQ\PD\EH
    $,GR                                                 WKDW VKRZLWKDGWREH%XWWRPDNHWKHDVVXPSWLRQ
   4$QGDUH\RXUHIHUULQJWRDOODWKOHWHVWKHUH"         WKDWEHFDXVHLWZDVWKHFRDFK VGDXJKWHUWKDWLWZDVQ W
   $,WKLQNWKHSRLQWLVDUELWUDULO\WKHUH              DIDLUSURFHVV
   48KKXK \HV                                         4, PDVVXPLQJWKDWZDVWKHRQO\UHDVRQWKDWWKH
   $5LJKWWKHQVRLIZH UHMXVWVD\LQJZH           DWKOHWHVKDYHEHHQFKRVHQDQGVRPHRQHHOVHLVH[FOXGHG"
   VKRXOGKDYHDFXWSROLF\EHFDXVHWKDW VQRWIDLUULJKW      $,QRWKHUZRUGVLIDFRDFKMXVWVD\V,GRQ W
   WKDW VQRWZKDW, PLQVLQXDWLQJKHUHULJKWMXVWVD\LQJ      OLNH\RX,GRQ WZDQW\RXRQP\WHDP
   EXWWRKDYHWKLVPDNHWKLVGHFLVLRQWKDWDVD             4([DFWO\
   EODQNHWVWDWHPHQWWKDWFHUWDLQJURXSRIDWKOHWHVFDQ W        $,WVHHPVOLNHWKHUHZRXOGEHJXLGHOLQHVLQSODFH
   SDUWLFLSDWHFDQ WWU\RXWFDQ WSDUWLFLSDWHWKHQ          IRUVRPHRQHWRDSSHDOWKDWWRWKH$WKOHWLF'LUHFWRUDQG
   \HV,WKLQNWKHVWDWHPHQWLVWUXH                           VRRQDQG\HDKWKDWGRHVQ WVRXQGOLNHLW GEHYHU\
   4<HV,WKLQNZHDUHVD\LQJWKHVDPHWKLQJ/HW      IDLUWRQRWJLYHVRPHRQHDFKDQFH
   PHDVNLWDQRWKHUZD\$JDLQIRFXVLQJRQWKH                4([DFWO\$QGWKDWNLQGRISULQFLSOHDSSOLHV
   DUELWUDULO\LIDOODWKOHWHVLIDQ\DWKOHWHLV            UHJDUGOHVVRIVRPHRQH VJHQGHULGHQWLW\"
   DUELWUDULO\H[FOXGHGWKDWFUHDWHVDSUREOHPLQ\RXU          $77251(<9(52))2EMHFWLRQ
   PLQG"                                                         7+(:,71(662ND\<HDK,I, P


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0555
                                                 3DJH                                                         3DJH
    IROORZLQJ\RX\HV,WKLQN                                    7+(:,71(665LJKW,QKHUHQWZLWKLQ
    %<$77251(<6&58**6                                            VSRUWVXQIRUWXQDWHO\SDUWLFXODUO\DWWKHVHFRQGDU\
    4<HDK1RZVZLWFKLQJJHDUVVOLJKWO\\RX              OHYHOLVWKDWQRWDOOVFKRROVDUHLQDSRVLWLRQWROHW
    PHQWLRQHGWRJREDFNOHW VJREDFNDFWXDOO\WR          HYHU\FKLOGSDUWLFLSDQWZKRZDQWVWRULJKWDQGVR
    \RXUH[SHUWUHSRUWSDUDJUDSK$QGDJDLQWKDWODVW         WKHUHLVDFXWSROLF\3HUVRQDOO\EHFDXVHRI
    VHQWHQFHWKDWWUDQVJHQGHUVWXGHQWVDUHDUELWUDULO\              HYHU\WKLQJ, YHRXWOLQHGWRGD\,ZLVKHYHU\VFKRRO
    H[FOXGHGZKDWLVWKHVLWXDWLRQZKHQDWUDQVJHQGHU              GLVWULFWZDVGRLQJHYHU\WKLQJSRVVLEOHWRLQFOXGHDV
    VWXGHQWLVQRWDUELWUDULO\H[FOXGHGIURP\RXWKVSRUWV           PDQ\NLGVDVPDQ\DWKOHWHVDVWKH\FRXOGULJKWEXW
    RUOHWPHVWULNHWKDW/HWPHUHSKUDVH                    WKDW VQRWWKHUHDOLW\%R\VDQGJLUOVWU\RXWIRU
   :KDWLVDVLWXDWLRQWRXVH\RXUWHUP                WHDPVDQGWKH\JHW\RXNQRZWKH\GRQ WPDNHLW,
   WUDQVJHQGHUVWXGHQWGRHVQ WPDNHWKHVSRUWVWHDPDQG           MXVWVDZWKLVFOLSWKLVZHHNHQG%LOO\0LOOV2O\PSLF
   WKDW VQRWDUELWUDU\"'LG\RXKHDUWKDWTXHVWLRQ"             JROGPHGDOLVWULJKWKHZDVFXWIURPKLVWUDFNWHDPDV
   $6RUU\,WKRXJKWWKHFRXUWUHSRUWHUZDVDVNLQJ        DIUHVKPDQULJKW6RWKDWKDSSHQV$QG, P
   IRULWWREHUHSHDWHGRUVRPHWKLQJ                            GLVWLQJXLVKLQJWKDWIURPMXVWDUELWUDULO\VD\LQJWKLV
   41R, PVRUU\                                       ZKROHJURXSRIDWKOHWHV\RXGRQ WKDYHWKHULJKWWR
   $1RWKDW VRND\,ORVWVRPHWKLQJRND\6R         HYHQWU\RXWIRUWKHWHDP
   \RX UHVD\LQJIRUH[DPSOHDWUDQVIHPDOHDWKOHWHWULHV        %<$77251(<6&58**6
   RXWIRUDIHPDOHDWKOHWLFWHDPDQGGRHVQ WPDNHLW"           4%XWLQWHUPVRIWDNLQJDGYDQWDJHRIWKHEHQHILWV
   4, PDVNLQJLVWKDWDQH[DPSOHRIDQRQDUELWUDU\      DVVRFLDWHGZLWKVSRUWVLW VQRWVRPXFKZK\VRPHRQHLV
   H[FOXVLRQ"                                                     H[FOXGHGEXWMXVWWKHIDFWWKDWWKH\DUHH[FOXGHG"
   $<HV,QJHQHUDO,ZRXOGVD\\HVZLWKRXW           $77251(<9(52))2EMHFWLRQDVNHGDQG
   KDYLQJPRUHGHWDLOVDOOULJKWEXWLWGRHVQ W             DQVZHUHG
   WUDQVDWKOHWHVULJKWZRXOGMXVWKDYHWKHULJKWWRWU\         7+(:,71(66,ZRXOGVD\LW VLPSRUWDQW
   RXWWKHULJKWWR\RXNQRZSRWHQWLDOO\SDUWLFLSDWH          WRFRQVLGHUZK\WKH\DUHH[FOXGHG


                                                 3DJH                                                         3DJH
    EXWLWGRHVQ WPHDQWKDWHYHU\RQHZRXOGPDNHWKHWHDP          %<$77251(<6&58**6
    4*RWLW6RWKDWVLWXDWLRQZKHUH\RXKDYHWKH          42ND\
    PDOHDWKOHWHZKRLGHQWLILHVDVIHPDOHULJKWDQGMXVW          $QGZK\LVWKDWLPSRUWDQW"
    GRHVQ WPDNHWKHWHDPGRWKH\ORVHRXWRQWKH                  $%HFDXVH,EHOLHYHLW VKDUPIXOWRMXVWKDYHD
    H[SHULHQFHVDQGRSSRUWXQLWLHVDVVRFLDWHGZLWK                   EODQNHWH[FOXVLRQRIDJURXSRIDWKOHWHVOLNH
    SDUWLFLSDWLQJLQVSRUWV"                                        WUDQVDWKOHWHVWRVD\\RXGRQ WKDYHWKHULJKWWR
    $77251(<9(52))2EMHFWLRQ                     SDUWLFLSDWHLQ\RXUVFKRRODFWLYLWLHVWRWU\RXW
    7+(:,71(66<HDKLWGHSHQGV<RX             ULJKWDQGWREHSDUWRIWKHVHWHDPVDQGDFWLYLWLHV
    NQRZVRPHPLJKWSDUWLFLSDWHLQDQRWKHUVSRUWULJKWRU        4:HOO, PDVNLQJZLWKUHVSHFWWR\RXUH[SHUWLVH
   ILQGDQRWKHUDYHQXHEXWWKHSRWHQWLDOLVWKHUHIRU            DERXWEHQHILWLQJIURPWKHRXWFRPHDQGDGYDQWDJHVRI
   WKDW\HDK                                                    SDUWLFLSDWLQJLQVSRUWV,WVHHPVWRPHWKDWDQ\W\SH
   %<$77251(<6&58**6                                           RIH[FOXVLRQIURPVSRUWVZDVE\GHILQLWLRQPD\EHFDQQRW
   46RLQDVLWXDWLRQZKHUHWKHUHLVQRRWKHU             WDNHDGYDQWDJHRIWKLVRSSRUWXQLW\WREHQHILW,VQ W
   RSSRUWXQLW\RUDYHQXHEXWZHDUHVD\LQJWKDWDWKOHWH          WKDWFRUUHFW"
   MXVWFDQ WPDNHWKDWWHDPEHFDXVHWKH\MXVWGRQ WKDYH         $77251(<9(52))2EMHFWLRQ$VNHGDQG
   WKDWDWKOHWLFVNLOOLQWKDWVLWXDWLRQWKH\ZRXOGORVH         DQVZHUHG
   RXWRQWKHRSSRUWXQLW\RXWFRPHVDVVRFLDWHGZLWK                7+(:,71(661R, PVSHDNLQJ
   SDUWLFLSDWLQJRQWKDWWHDP"                                    VSHFLILFDOO\DERXWVSRUWEHFDXVHWKDW VZKDW VRQWKH
   $77251(<9(52))2EMHFWLRQ                    WDEOHLQWKLVFDVHEXW\RXNQRZVRPHERG\HOVHPLJKW
   %<$77251(<6&58**6                                            UHDOO\H[SHULHQFHDFDULQJWDVNLQYROYLQJFOLPDWHDQG
   46RWKHZRUGDUELWUDU\GRHVQ WUHDOO\GHWHUPLQH        KDYHJUHDWRSSRUWXQLWLHVLQRWKHUDFWLYLWLHVRIVFKRRO
   ZKHWKHUVRPHRQHEHQHILWVIURPWKHH[SHULHQFHDQG               WKDWWKH\ UHSDVVLRQDWHDERXWOLNHVFKRRORUPXVLF
   RXWFRPHVRISDUWLFLSDWLQJLQ\RXWKVSRUWV"                     ULJKW%XWLIOLNH%3-LIKHUSDVVLRQLVVSRUW
   $77251(<9(52))2EMHFWLRQ                    ZDQWLQJWRUXQWUDFNULJKWWKHQDQGWKHUH VMXVWD


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0556
                                                 3DJH                                                        3DJH
    EODQNHWVWDWHPHQWVD\LQJ\RX UHQRW\RXFDQ W\RX         FRQVLGHU\RXWKVSRUWWKURXJKKLJKVFKRRODQGZHZRXOG
    FDQ WWU\RXWIRUWKHZRPHQ VWUDFNWHDPULJKWWKHQ           VHSDUDWHWKDWIURPFROOHJLDWHVSRUW
    WKDWZRXOGSUHYHQWKHUIURPWKHSRWHQWLDOEHQHILWVWKDW         %<$77251(<6&58**6
    VKHFRXOGEHUHDSLQJULJKWDQGMXVWHQKDQFLQJKHU             4'R\RXWKLQNLWZRXOGEHZURQJWRVD\WKDWZH
    VFKRROH[SHULHQFH                                              VKRXOGQRW\RXNQRZVWULNHWKDW
    4*RWLW/LNHWKHPDOHWKDWLGHQWLILHVDVPDOH         'R\RXWKLQNWKDWZHVKRXOGQ WJHDUDWKOHWLFRU
    DQGFDQ WSDUWLFLSDWHRQHLWKHUWKHPDOHVVSRUWVWHDPRU        FROOHJHVSRUWVWRLQFOXGHDOOSDUWLFLSDQWV"
    WKHIHPDOHVSRUWVWHDP"                                         $77251(<9(52))2EMHFWLRQ
    $77251(<9(52))2EMHFWLRQ                     7+(:,71(66<RXNQRZDWDSODFHOLNH
   7+(:,71(665LJKW7KHGLVWLQFWLRQLV        WKH8QLYHUVLW\RI.DQVDVZKHUH,DPZHKDYHGLIIHUHQW
   WKDWKHFDQSDUWLFLSDWHRQWKHPDOHWHDP+HFDQWU\          OHYHOVDQGVR\RXKDYHWKH'VSRUWULJKWDQGWKHQ
   RXWULJKWMXVWOLNHWKHWUDQVJHQGHUIHPDOHFDQWU\RXW       \RXKDYHFOXEVSRUWZKHUHSHRSOHZKRGRQ WKDYHWKH
   IRUWKHZRPHQ VWHDPEXWWKHUH VQRJXDUDQWHHWKDWWKH        VNLOOOHYHORUWKHH[SHULHQFHWRSOD\D'VSRUWFDQ
   DWKOHWHVPDNHWKHWHDP                                        WU\RXWIRUWKHFOXEVSRUWWKRVH,WKLQNWKHUH V
   %<$77251(<6&58**6                                           OLNHWHDPVRUPD\EHPRUHZHKDYHDQGWKHVNLOOOHYHO
   4([DFWO\6R,PHQWLRQHGWR\RXWKDW,UHSUHVHQW      DPRQJWKRVHVSRUWFOXEWHDPVUHDOO\YDULHVULJKW<RX
   /DLQH\$UPLVWHDG$QG,ZLOOUHSUHVHQWWR\RXWKDWVKH        JRWVRPHWKDWDUHQRWKLWDQGJLJJOH\RXNQRZMXVW
   LVDIHPDOHVRFFHUSOD\HURQWKH:HVW9LUJLQLD6WDWH           HYHU\RQH VZHOFRPHDQGWKH\GRQ WKDYH\RXNQRZD
   8QLYHUVLW\VRFFHUWHDP1RZ,WKLQNHDUOLHU\RX              FXWSROLF\2WKHUVDUHSUHWW\FRPSHWLWLYHDQGPD\EH
   PHQWLRQHGWKDW\RXUHYLHZHGVRPHGRFXPHQWVLQWKHFDVH        FRPSHWLQJDWQDWLRQDOOHYHOV
   'LG\RXKDSSHQWRUXQDFURVVDQ\GRFXPHQWVPHQWLRQLQJ          %XW\RXKDYHDQRWKHUOHYHORILQWHUPXUDOV
   0V$UPLVWHDG"                                                 WKDWLVRSHQWRHYHU\VWXGHQWRQFDPSXVFDQVLJQXS
   $<HV,UHDGKHUVWDWHPHQW,W VEHHQDOLWWOH        EHFDXVHWKH\ZDQWWRSOD\ZKDWHYHULWLVEDVNHWEDOORU
   ELWRIWLPHVR,PLJKWQHHGWREHUHIUHVKHGRQLWEXW        LQGRRUVRFFHURUVRPHWKLQJ6R,WKLQNLGHDOO\\RX


                                                 3DJH                                                        3DJH
    ,GLGWDNHDORRNDWWKDW                                      NQRZXQLYHUVLWLHVVKRXOGRIIHUORWVRIRSSRUWXQLWLHV
    42ND\                                                  IRUSHRSOHWRSDUWLFLSDWHLQVSRUW
    :HOOOHWPHJRWR([KLELWSDUDJUDSKRI         ,WLVQRWUHDOLVWLFWKDWHYHU\VWXGHQWRQ
    \RXUH[SHUWUHSRUW                                             FDPSXVFRXOGSDUWLFLSDWHLQ\RXNQRZ'VSRUWRU
    9,'(2*5$3+(5:KDWQXPEHUGLG\RXVD\          ZKDWHYHUWKHOHYHO\RXNQRZDVFKRROPLJKWKDYH
    &RXQVHO"                                                        %<$77251(<6&58**6
    $77251(<6&58**63DUDJUDSK                 46R'RFWRULIZHKDGDPDOHWKDWLGHQWLILHVDV
    9,'(2*5$3+(57KDQN\RX                        IHPDOHLWZRXOGQ WEHSUREOHPDWLFWRH[FOXGHWKDW
    %<$77251(<6&58**6                                            SHUVRQIURPWKHIHPDOHFROOHJLDWHWUDFNWHDP"
   4$QGLWVD\VWKHFOLPDWHRI\RXWKVSRUWPXVWEH        $77251(<9(52))2EMHFWLRQ
   JHDUHGWRLQFOXGHDOOSDUWLFLSDQWVVRWKHWHDPVDUHPRUH       7+(:,71(66,WKLQNLWGHSHQGVRQZKDW
   OLNHO\WRKHOSHYHU\DWKOHWHPD[LPL]HWKHLUSRWHQWLDO         WKHUXOHVDUHLQSODFHEXWLIWKLVWUDQVJHQGHUIHPDOH
   )URPDQHGXFDWLRQDOSHUVSHFWLYHLWLVRSWLPDOWR               PHHWVWKHFULWHULDDQGSDUWLFLSDWHVULJKWWKDWWKDWLV
   HQFRXUDJHDOODWKOHWHVWRGRWKHEHVWWKH\FDQDQGWR          JUHDW
   KHOSDOODWKOHWHVHQMR\WKHVSRUWWKDWWKH\ORYH              %<$77251(<6&58**6
   'LG,UHDGWKDWFRUUHFWO\"                            4:HOODJDLQDVVXPLQJWKHUXOHVDUHWKH
   $<HV                                                  UXOHVRI:HVW9LUJLQLDDUHLQSODFHDQGVD\VZHQRZ
   46R,DVVXPHWKDWZRXOGLQFOXGH0V$UPLVWHDGLQ       UHTXLUHDOOQDWDOPDOHVWRSDUWLFLSDWHRQWKHPDOHWHDP
   \RXURSLQLRQ                                                  UDWKHUWKDQRQWKHIHPDOHWHDPZK\FDQ WZHMXVWWHOO
   &RUUHFW"                                              WKHPDOHFROOHJHDWKOHWHVWRLGHQWLI\DVIHPDOHVWKH\
   $77251(<9(52))2EMHFWLRQ                    FDQJRSOD\RQWKHFOXEVSRUWVFOXEWHDP"
   7+(:,71(66,WKLQNVRPHRIWKHLGHDV         $77251(<9(52))2EMHFWLRQ
   KROGEXW\RXNQRZZHZHUHUHIHUULQJKHUHWRWKH              7+(:,71(66,WKLQNWKHWUDQVJHQGHU
   FOLPDWHRI\RXWKVSRUW7\SLFDOO\LQRXUILHOGZH             IHPDOHDWKOHWHVKRXOGKDYHWKHULJKWWRSDUWLFLSDWHRQ


                                                                                      3DJHVWR
                                                                                                                Armistead App. 0557
                                                 3DJH                                                                   3DJH
    ZKLFKHYHURIWKRVHOHYHOVWKDWWKH\ZDQWWRSDUWLFLSDWH        $77251(<*5((17KLVLV5REHUWD*UHHQRQ
    RQ5LJKW7KHIHPDOH'WHDPWKHVSRUWVWHDPWKH          EHKDOIRI:HVW9LUJLQLD6HFRQGDU\6FKRRO$FWLYLWLHV
    LQWHUPXUDOWHDPWKH\VKRXOGKDYHWKHULJKWWRWU\RXW         &RPPLVVLRQ,KDYHQRTXHVWLRQV
    DVORQJDVWKH\PHHWWKHFULWHULDWKDW VLQSODFH             $77251(<025*$17KLVLV.HOO\0RUJDQRQ
    %<$77251(<6&58**6                                           EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
    4'R\RXIHHOWKDW0V$UPLVWHDGVKRXOGKDYHWKH        6XSHULQWHQGDQW%XUFK,KDYHQRTXHVWLRQV
    ULJKWWRSDUWLFLSDWHRQWKHIHPDOHZRPHQ VVRFFHUWHDP"        $77251(<75<21$QGWKLVLV'DYH7U\RQ
    $77251(<9(52))2EMHFWLRQ                    ,KDYHQRIXUWKHUTXHVWLRQVXQOHVVWKH'HIHQVH&RXQVHO
    7+(:,71(66<HV                              GRHV([FXVHPH3ODLQWLII V&RXQVHO
   %<$77251(<6&58**6                                          $77251(<9(52))1RZHGRQ WKDYHDQ\
   4'RFWRU)U\\RXZRXOGDJUHHWKDWLI0V              IXUWKHUTXHVWLRQV7KHZLWQHVVZLOOUHDGDQGVLJQ
   $UPLVWHDGORVWKHUVSRWRQWKHVRFFHUWHDPWRDPDOH          ODWHU
   VRFFHUSOD\ZKRLGHQWLILHVDVIHPDOH0V$UPLVWHDG           9,'(2*5$3+(52ND\
   ZRXOGEHGHSULYHGRIWKHSRVLWLYHH[SHULHQFHVDVVRFLDWHG      ,IWKHUH VQRIXUWKHUTXHVWLRQVWKDW
   ZLWKSDUWLFLSDWLQJRQWKDWVRFFHUWHDP"                       FRQFOXGHVWKLVGHSRVLWLRQ7KHFXUUHQWWLPHUHDGV
   $77251(<9(52))2EMHFWLRQ                   SP(DVWHUQ6WDQGDUG7LPH
   7+(:,71(665LJKW,IWKHWUDQVJHQGHU             
   IHPDOHLVPHHWLQJWKHFULWHULDWKDW VLQSODFHE\WKH         9,'(27$3(''(326,7,21&21&/8'('$730
   1&$$ULJKWDQGWKHQDQGPDNHVWKHWHDPDQGVRPHRQH            
   HOVHGRHVQ WPDNHWKHWHDPULJKW,ZRXOGVD\WKDW V      
   WKDW VSDUWRIVSRUWMXVWOLNH0V$UPLVWHDG,        
   WKLQNULJKWLIVKHWULHGRXWDQGVKHGLGQ WPDNHWKH     
   WHDPEHFDXVHWKHUH VRWKHUFLVIHPDOHDWKOHWHVWKDWKDGD   
   EHWWHUSHUIRUPDQFHRUPDGHWKHWHDPEXWHLWKHUZD\VKH    


                                                 3DJH                                                                   3DJH
    ZRXOGEHPLVVLQJRXWRQWKHEHQHILWVLIVKHGLGQ WPDNH         &20021:($/7+2)3(116</9$1,$
    WKHWHDP                                                       &2817<2)3+,/$'(/3+,$
    %<$77251(<6&58**6                                            &(57,),&$7(
    4$QGWKDW VQRWP\SRLQW,XQGHUVWDQG\RXU            ,1LFROH0RQWDJDQRD1RWDU\3XEOLFLQDQG
    DUJXPHQW,XQGHUVWDQGWKDWDVDPDWWHURIIDFWVKH          IRUWKH&RPPRQZHDOWKRI3HQQV\OYDQLDGRKHUHE\FHUWLI\
    ZRXOGORVHRXWRQWKHEHQHILWVDQGRSSRUWXQLWLHVIRU
                                                                     7KDWWKHIRUHJRLQJSURFHHGLQJVGHSRVLWLRQ
    SDUWLFLSDWLQJRQWKHVSRUWVWHDP
                                                                     RI0DU\')U\3K'ZDVUHSRUWHGE\PHRQ0DUFK
    $77251(<9(52)), PJRLQJWRREMHFWWR
                                                                     DQGWKDW,1LFROH0RQWDJDQRUHDGWKLVWUDQVFULSW
    &RXQVHOWHVWLI\LQJ
   %<$77251(<6&58**6                                            DQGWKDW,DWWHVWWKDWWKLVWUDQVFULSWLVDWUXHDQG
   4, PDVNLQJLI\RXDJUHHZLWKWKDW"                    DFFXUDWHUHFRUGRIWKHSURFHHGLQJ
   $77251(<9(52))2EMHFWLRQWRWKH              7KDWWKHZLWQHVVZDVILUVWGXO\VZRUQWR
   TXHVWLRQ                                                      WHVWLI\WRWKHWUXWKWKHZKROHWUXWKDQGQRWKLQJEXW
   7+(:,71(66<HDK, PDJUHHLQJWKDW           WKHWUXWKDQGWKDWWKHIRUHJRLQJGHSRVLWLRQZDVWDNHQDW
   DWKOHWHVWU\RXWIRUWHDPVDQGZKHQWKH\GRQ WPDNHLW       WKHWLPHDQGSODFHVWDWHGKHUHLQ
   LW VKDUGIRUWKHPWRUHDSWKHEHQHILWVRIEHLQJSDUWRI       ,IXUWKHUFHUWLI\WKDW,DPQRWDUHODWLYH
   WKHLUWHDPLIWKH\\RXNQRZGRQ WSDUWLFLSDWHDQG            HPSOR\HHRUDWWRUQH\RIDQ\RIWKHSDUWLHVQRUD
   DUHQ WSDUWRIWKDW
                                                                    UHODWLYHRUHPSOR\HHRIFRXQVHODQGWKDW,DPLQQRZD\
   $77251(<6&58**6,XQGHUVWDQG,KDYH
                                                                    LQWHUHVWHGGLUHFWO\RULQGLUHFWO\LQWKLVDFWLRQ
   QRIXUWKHUTXHVWLRQV7KDQN\RX'U)U\
   $77251(<&52337KLVLV-HIIUH\&URSS
                                                                    'DWHGWKHGD\RI$SULO
   &RXQVHOIRU'HIHQGDQW+DUULVRQ&RXQW\%RDUGRI             
   (GXFDWLRQDQG6XSHULQWHQGDQW'RUD6WXWOHU,KDYHQR     
   TXHVWLRQV                                                 



                                                                                               3DJHVWR
                                                            Armistead App. 0558
                                                                  3DJH

      $                  DFFHVV     DGDSWLYH        
DP                                      
                          DGG      DGYDQWDJHV
                                  
                   DFFXUDWH                  
$$63                         DGGHG     
                              DGGLWLRQ        
DELGH                                  
DELOLWLHV                                   
                        DGGUHVV        DGYLVRU
DELOLW\               DFFXUDWHO\            
                                    DGYRFDWLQJ
                                        
          DEOHERGLHG                       
                         DGGUHVVHG       
           DFKLHYHPHQW             DIIHFW 
      DEOHPLQGHG                       DJH 
                        DGGUHVVHV       
                                     
         DEVROXWH       DFKLHYHUV                DJHG 
                             DGGUHVVLQJ      
      DEVROXWHO\     DFNQRZOHGJH              
                      DGHTXDWH        
                                DJHQF\ 
               DFNQRZOH    DGPLQLVW    DJR 
                                      
                        DGPLQLVW     
      DEVWUDFW       $&/                  
                       DGPLW    DJUHH 
                      $GROHVFHQWV      
         DEXVLYH        DFWLRQ               
                       DGRSW      
       DFDGHPLD       DFWLYH         DGRSWHG          
DEOH                                
        DFDGHPLF       DFWLYLWLHV     DGXOW       
                                    
                                    
      DFDGHPLFV                         
                                        
                                       
                                   
         $&&            DGXOWV     
          DFFHSW                         
                 DFWLYLW\       DGYDQFH         
                                    
          DFFHSWDEOH           DGYDQFHG        
                                      
                   DFWXDO    DGYDQWDJH       
         DFFHSWHG                      
                                  
                                        
       DFFHSWLQJ                         
                                        
                                                            Armistead App. 0559
                                                                  3DJH

      $OOLDQFH       DQVZHU    DSRORJLHV       
                                
        DOORZ                        
                            DSRORJL]H       
                               
                                        
                            DSSHDO          
                                    
         DOORZHG                  $SSHDOV         
                                     DUHD 
                             DSSHDU      
                            DSSHDUHG         
                                    
                     DSSHDULQJ       
                                     
                         DSSHDUV     
DJUHHG              DQVZHUHG                 
DJUHHLQJ                          $SSOLHG         
                                   
DJUHHPHQW                         DSSOLHV         
                                       
                         DSSO\     DUHDV 
                            DSSUHFLDWH     DUHQD 
                               DUJXH 
DKHDG                                DUJXPHQW
                                       
                  DQVZHULQJ              $UPLVWHDG
          DOORZLQJ                DSSURDFK        
                                        
                   DQWHULRU       DSSURDFKHV      
         DOSKDEHW                         
                     DQWLFLSDWH     DSSURSULDWH     
          DOWHUQDWH                        
                  DQWLFLSD         DUPV 
          $OWHUQDW                      
                                      DUULYH
          DPD]LQJ        DQ[LHW\              
                         DSSURYHG       DUURZ 
DLP       $PHULFDQ                          DUWIXOO\
                          $SULO       
      DPRXQW                   DUWLFOH 
         DQGRU                     
DLPV                         DUELWUDULO\     
DO     $QGUHZ                        
                   DQ\ERG\              
                                      
         DQGURJHQ                        
DOLJQ                            
       DQJU\     DQ\PRUH               
DOLJQV    DQRQ\PLW\                         
DOO$PHU             DQ\ZD\             
        DQRQ\PRXV                         
                            DUELWUDU\      DUWLFOHV
                                                        Armistead App. 0560
                                                              3DJH

                               
DVLGH                          
                            
                              
DVNHG                             
       $VVRFLDWLRQ               
                            
                           
                  DWKOHWH V          
         DVVXPH                     
                                    
                  DWKOHWHV             
                             
                          
          DVVXPLQJ                   
                                    
                                   
                             
         DVVXPSWLRQ               
                                
DVNLQJ     DWKOHWH                  
                               
                      
                              
                               
                                 
                     DWKOHWHV
                      
                             
                              DWKOHWLF
                             
                    
                                
                        
DVSHFW                              
                                  
DVSHFWV                               
                         
                                 
                                  
                              
DVVLJQHG                                 
                             
                       
                                
                             
DVVLVW                          
DVVLVWDQW                             
                                  
DVVLVWDQ                          
                                DWKOHWLF
DVVRFLDWHG                     
                        DWKOHWLFV
                                                      Armistead App. 0561
                                                            3DJH

                             
                          
                             
                        
                           
                         
                             
                           
                        
                       
DWWHPSWHG                       
                         
                        
DWWHQGDQFH                    
                      
DWWHQGHG                          
                         
                              
DWWHQGLQJ                        
                         
DWWHQWLRQ                   
                             
DWWHVW                     
DWWLWXGH                          
                           
DWWRUQH\                     
                              
                        
                       
                     
                      
                      
                            
                        
                         
                             
                    
                    
                        
                             
                     
                             
                         
                       
                      
                      
                    
                    
                      
                   
                       
                   
                   
                                                        Armistead App. 0562
                                                              3DJH

                DXWKRUL]            EDODQFH
                             
              DXWKRUV                
                            
                                 
          DYDLODEOH           
                             
           DYHQXH                 
                           
                          EDODQFHG
         DYHUDJH            
                           
              DYRLG             
                         EDODQFLQJ
             DZDUH             
                         
                        
                         
                             
                             EDOO 
                          EDOOSDUN
                                
                               
                                  EDU 
                             EDUEHFXH
                           
                               EDVH 
                           
                                EDVHEDOO
            DZIXO          
           $=               EDVHG 
                               EDFNERDUG      
                 %                 
              %3-       EDFNJURXQG     
            EDE\               
         %DFKHORU V              
                      EDFNKDQG      
           EDFN                
                 EDFNV     
                   EDG     
                               
                           
                          
                                 EDVLF 
                         
                          %DLOH\    EDVLFDOO\
                    %DODJXHU      
    DWWRUQH\V                 
                          EDVLV 
    DXWKHQWL                       
                             EDVNHWEDOO
    DXWKRU                     
                                 
                                                           Armistead App. 0563
                                                                 3DJH

                               %LOO\ 
EDW        EHQHILFLDO                   ELQDU\ 
EHDW                              
         EHQHILW                           ELRORJLFDO
                                    
                               
EHDWLQJ                             
EHFRPLQJ                                
                                    
EHGURRP                     EH\RQG      
EHGWLPH    EHQHILWLQJ                      
EHJ                               
EHJDQ     EHQHILWV                      
EHJLQQLQJ                                 
                                       
                                    
EHKDOI                      ELEOLRJU     
                             
                                
                                   
EHLQJV                                  
                                  
EHOLHI                         ELJ        
                                  
EHOLHYH                                  
                                   
                                     
                           
                                 ELRORJLF
                                    
                                 ELRORJ\ 
                           ELJHQGHU        
                                   
                                     ELRPHFKD
                            ELJJHU     
                  EHW                
                                      
                  EHWWHU             ELUWK 
                                     
                             
                                    
                            
                    ELOO       
                                
                                     
EHOLWWOH                               
                                    
EHOO                                  
                                  
                                
                   ELOOHG     
          EHVW              ELOOLQJ        ELW 
EHQFK                              
                                                            Armistead App. 0564
                                                                  3DJH

                                       FDOOV 
      ERRN             EURNH      
                                 
                           EURXJKW         
         ERUQ                        
                             FDPDUDGHULH
                            %URZQ     
          ERWKHUHG                %UXHU    &DPEULGJ
                            EXG         
         ERWWRP             EXLOG     FDPSV 
                                      FDPSXV
                                   
                  EUDFNHWV       EXLOGLQJ     
         %RXOHYDUG                         &DQDGD
                    EUDQFK               
EODQNHW        ER[       EUHDN      EXLOGV          
         ER\                       &DQG\ODQG
                         EXOO\     
                     EXOO\LQJ       FDSDEOH
                                     
         ER\V             %XUFK      FDSDFLW\
                              
                                        
                       %XUNGROO       &DSLWRO 
                               FDSWLRQ 
                            EXVLQHVV       FDUH 
                                        
                         EXWWHUIOLHV     
EOLQG                                   
EORFNHUV                EULGJH     EX\        
                    %ULGJHSRUW     EX\LQJ          
                                        
EOXU               EULQJ                     
EOXUUHG                              &        
                          &         
ERDUG                            
                           &$          
                       FDOO      FDUHHU 
                                    
                                    FDUHIXO 
                                     FDUHV 
                                     FDULQJ 
                                        
ERDUGV                                   
                                      
ERDW                                   
ERGLHG         %3-                FDOOHG     
                                     
ERGLHV                             
                EULQJLQJ                 
ERG\                                
               EURDG     FDOOLQJ         
                  EURDGHU                   
                                                           Armistead App. 0565
                                                                 3DJH

                                  
         FDWHJRULFDO    FHUWLILF               
                                FKLOGUHQ
                         FKDQJLQJ        
                                 
        FDWHJRUL                     
                   &HUWLILHG      FKDSWHU    FKRRVH 
        FDWHJRULHV                    
&DUROLQD            FHUWLI\        FKDSWHUV        
                                   FKRRVHV
FDVH                FHUWLI\LQJ     FKDUDFWHU       
      FDWHJRUL]H                         FKRVHQ
               &(6'     FKDUDFWH     
         FDWHJRUL]HG    FHWHUD                FKXQN 
                 FKDOOHQJHV     FKDUDFWH    &KXWHV
     FDWHJRU\                     
                                FLUFOHV
                              
                 FKDOOHQJLQJ         FLUFXLW
                               
               FKDPSLRQ                  FLUFXPVW
                            FKDUDFWH      
     FDXVH     FKDPSLRQ                
                           FKDUDFWH     
                 FKDQFH             FLVIHPDOH
        FDXVHV                      
        FDYHDW           FKDUJHG        FLVJHQGHU
     FHOHEUDWLRQ                        
                         &KDUOHVWRQ       
        FHQWHU                     
                                      FLVPDOH
                            FKDW       
                                      FLWDWLRQV
         FHQWHUHG       FKDQFHV                   
                             FLWH 
        FHQWUDO        FKDQJH                 
                      FKHFN      
        FHUWDLQ                        
                               FLWHG 
                                    
                                  FLWHV 
                                   &LW\ 
                           FKHHUOHD     
         FHUWDLQO\                        &LYLO 
                             FKHVW       
                           FKLOG      FODLPHG
                 FKDQJHG                  
                                  FODULILF
FDVHV                           
      &HUWLILFDWH                   FODULI\
               FKDQJHV                   
                              
                               FODULI\LQJ
                                                          Armistead App. 0566
                                                                3DJH

                FOXE            
FODVV                      
                             
              &03&               
                FRFRXQVHO             
                                FROOHJHV
FODVVHV                 FR'HIHQ         
                                      
                    FRJHQGHU              FROOHJLDWH
                                      
                 FRDFK             
FODVVLIL                         
                                   
                           FROXPQ
                                  
FODVVLIL                     FRDFKLQJ       
                                  
                               FRP 
FODVVLILHG                             FRPELQHG
                              
                          FRPH 
                                 
FODVVLI\                             
                                      
FODVVURRP                                 
                                   
FODXVH                      FRGH     
                    FRJQLWLYH      
                                     
                            
                          
          FOLPDWHV            FRLQFLGH       
                                 
&/$<721                   FROOHDJXHV     
                                        
FOHDU                       FROOHFWHG      
       FOLQLFDO                      
                        FROOHJH        
                                      
FOHDUO\        FOLS     FRDFK V             FRPHV 
         FORVH                    
FOLFN                         
                   FRDFKHG              
       FORVHG                  
                &RDFKHU V              
                                   
FOLPDWH        FORVHO\    FRDFKHV               
                                  
                                FRPIRUWDEOH
      FORVHVW                         
                               
                                FRPLQJ 
                                     
                                                          Armistead App. 0567
                                                               3DJH

          FRPSDULVRQ              FRQFHUQHG     FRQIXVLRQ
                   FRPSHWLW            
          FRPSHQVD                  FRQQHFWHG
                                 
         FRPSHWH    FRPSHWLWLYH   FRQFHUQLQJ    &RQQHFWLFXW
                                  
                             FRQFHUQV       
FRPPHQW                            
                                 
FRPPHQWV             FRPSHWLW   &21&/8'('      
                                  FRQQHFWLRQ
&RPPLVVLRQ                       FRQFOXGHV      
               FRPSHWLWRU             
                            FRQFXVVLRQ    FRQVHFXW
                    FRPSLODWLRQ             
                             FRQVHQVXV
FRPPLWWHG                &RPSODLQW              
                                 FRQVLGHU
FRPPLWWHH               FRPSOHWH      FRQFXVVLRQV     
                              
                                      
                           FRQGLWLRQ      
                                    
                         FRQGXFWHG      
FRPPRQ             FRPSOH[             FRQVLGHUHG
&RPPRQZH                         
                             FRQVLGHULQJ
                     FRQIHUHQFH     
FRPPXQLFDWH                          
          FRPSHWHG       FRPSOLFDWHG            FRQVLVWHQW
FRPPXQLF                       FRQIHUHQFHV     
                                    
FRPPXQLF                                
          FRPSHWHQFH     FRPSRQHQW              
FRPSDQLR                               FRQVLVWH
                   FRPSXWHU      FRQILGHQFH      
                                
                                        
          FRPSHWHQW      FRQFHQWU        FRQVWUXF
FRPSDUH                                 
          FRPSHWHV                        &RQVXOWDQW
               FRQFHQWU             
          FRPSHWLQJ              FRQILGHQW     FRQW G 
                                
                FRQFHSWV              FRQWDFW
                                   
                            FRQIOLFW       
FRPSDUHG                               
               FRQFHUQ                FRQWDFWHG
                                   
FRPSDULQJ                               
                           FRQIOLFWV     FRQWHQWLRQ
         FRPSHWLWLRQ                      
                                                           Armistead App. 0568
                                                                3DJH

FRQWHVW                FRUUHODWHV              FUHDWHG
        FRQYROXWHG                         
                      FRXSOH     
FRQWHVWLQJ    FRRO       FRUUHODWLRQ                
                                   FUHDWHV
FRQWH[W       &RROH\                          
                FRUUHVSRQGV    FRXUDJH         
                                      
                FRUWLVRO                 
          FRSH           FRXUVH     FUHDWLQJ
        FRSLHV                          
                                  
        FRSLQJ                             FUHGHQWLDO
              &RUWLVROH                 
                                      FUHGHQWLDOV
                  FRXQVHO    FRXUVHV         
FRQWLQXH      FRS\                        
                             FRXUW       FULVS 
                            FULWHULD
        FRUGV                 
        FRUH                     
         FRUUHFW                  
                               
                                 
FRQWLQXHV                               
                                 
FRQWLQXLQJ                                  
                                  FULWLFDO
FRQWLQXXP                                   
                                  
FRQWUDVW                             
                               &URSS 
                       FRYHU      
                 FRXQVHOHG                 
                      FRYHUHG    FURVV 
&RQWULEX            FRXQVHOLQJ                
                                       
FRQWURO                FRXQVHORU      FRYHUV     
                             &29,'    FURVVFR
        FRUUHFWHG      &2816(/6       FUDZOLQJ        
                                        
     FRUUHFWO\      FRXQW     FUD]\       
                FRXQWULHV             
                                  
                                      
FRQWURYH             FRXQWU\        FUHDWH     
                               
FRQWURYHUV\                                  
        FRUUHFWV                      FURVVHV
FRQYHUVD             &RXQW\                
         FRUUHODWHG                    FUXFLDWH
                               
FRQYLQFH                            &65 
                                                            Armistead App. 0569
                                                                 3DJH

&VXWRURV                          GHILQLQJ        
      'DQD      GHFLGHV                 GHSRVLWLRQ
&XPPLQJV                                     
                  GHFLVLRQ       GHILQLWHO\       
FXUUHQW                                 
                                 
                                    
          'DQD#PLG                          
                                   
        GDWD                           
                                  GHSUHVVLRQ
                GHFLVLRQV                
                                   
                                   
      GDWH             GHILQLWLRQ      
                  'HFODUDWLRQ             
                                 
                                    
FXUUHQWO\      'DWHG                 
      GDXJKWHU                   
FXUVRU                             'HSULYH
                                
          'DYH                         GHSULYHG
FXUVRU\                  GHFUHDVHG                
       'DYLG                          
                    GHGLFDWLQJ               
FXUYH                                  
         GD\        'HIHQGDQW      GHJUHH     
                                     
                                   GHSWK 
FXUYHV                               GHVFULEH
                 'HIHQGDQW V    GHO      
                            GHPRQVWUDWH    GHVFULELQJ
FXW       GHPRWLY    'HIHQGDQWV            
                                      GHVFULSWLYH
       GHDO                 GHSDUWPHQW      
                                       
               'HIHQGDQWV              GHVHUYHV
                          GHSHQG     
               'HIHQGLQJ      GHSHQGV        GHVLJQDWHG
FXWV                                    
FXWWLQJ                  'HIHQVH               
                                      GHVLJQDWHV
F\FOHV    GHDOLQJ        GHILQH               
                                         
      '                                     GHVLJQHG
'                                    
       GHEDWH                      GHVLUH 
                                     
          GHFDGH    GHILQHG                   
'      GHFLGH                        
               GHILQHV        GHSRVHG        GHVSLWH
                                        
                                                         Armistead App. 0570
                                                              3DJH

GHWDLO                   GLVUXSWLRQ      
                                    
GHWDLOV                     GLVVHUWD    GRFXPHQW
                  'LUHFWRU                  
                                    
GHWHUPLQH          GLVDELOL             
                                 
                 GLVDGYDQ             
                               
                           GLVWLQFWLRQ     
GHWHUPLQHG            GLVDJUHH                  
                                   
                   GLVWLQJXLVK    GRFXPHQWV
        GLIIHUHQW                         
                                  
GHYHORS                                    
                     GLVWLQJX     
                           
                        GLVWUDFWHG      
GHYHORSHG              GLVDJUHHLQJ              
                      GLVWUDFWLRQ     
GHYHORSLQJ            GLVDSSRL             
                         GLVWUDFW    GRLQJ 
GHYHORSPHQW           GLVFRXUD             
                                   
GHYHORSP                     GLVWULFW      
                GLVFULPL           
                                     
GHYHORSP         GLVFULPL              
                          GLVWULFWV       
GHYLDWLRQ             GLVFXV              
             GLVFXVVHG     GLVWXUELQJ      
                                      
GLDJQRVHG                       GLYLGH      
                 GLVFXVVLQJ    GLYLGHG        GROODUV 
GLDJQRVLV     'LIIHUHQ                      GRPDLQ
                  GLVFXVVLRQ               
'LDQH    GLIILFXOW              GLYLGHV         
GLFWLRQDU\                              GRRU 
                        GLYLVLRQ       'RUD 
          GLIILFXO                        
GLIIHUHQFH                               
     GLIILFXOW\    GLVFXVVLRQV             GRXEOH 
                     GRFWRU      
         'LJLWDO                         
             GLVSODFH                
      GLUHFW                      GRXEW 
               GLVSXWH                 GRZQORDG
                                 
     GLUHFWLRQ     GLVSXWLQJ     GRFWRUDO       GRZQV 
                                  'U 
        GLUHFWO\      GLVUHVSH            
GLIIHUHQFHV                    GRFWRUV     
                                                            Armistead App. 0571
                                                                 3DJH

                                
                        HOLPLQDWHV     HQKDQFLQJ
GUDJ                                
          HDV\                HOLWH     HQMR\ 
GUDJJHG                                    
         HFRQRPLF                         
GUDZHU                               HQMR\HG
GULYHV         HGLW               (OL]DEHWK       
         HGXFDWLRQ                     
GULYLQJ                                (QMR\PHQW
                            (PEDUFDGHUR     
                                     
GUXJV                      HPEDUUDV    HQODUJH
'XGD                                   
GXH                      HPEUDFH        HQWLUH 
GXO\                                   
                         HPEUDFLQJ      HQWLUHW\
GXUDWLRQ                                  
                         HPHUVHG        HQWLW\
                                        
G\VIXQFWLRQ               HPRWLRQDO      HQWUDQFH
                                   
G\VSKRULD                                HQYLURQPHQW
                          HPRWLRQV        
                                         
      (                                  
(      HGXFDWLRQDO              HPSDWK\          
            HJRSURP               
                                    
(                 HLJKW               
HDUOLHU                    HPSKDVLV        
                               
                                      
                    HLJKW\H               
                              HPSKDVL]H       
         (GXFDWRUV      HLWKHU              
HDUO\                     HPSOR\HG        
          HIIHFW                          HQYLURQP
HDVLHU                    HPSOR\HH        
         HIILFDF\                        
HDVLO\                    HQFRPSDVVHG    HQYLVLRQ
         HIIRUW                          
(DVW                           HQFRXUDJH      (SLGHPLR
                                         
(DVWHUQ                              HSLWRPH
                                     
                         HQGHDYRU       HTXDO 
                                     HTXDWLQJ
                  HOHPHQWDU\     HQGHG     
                            HQIRUFH        HVSHFLDOO\
      HJR                          
                  HQKDQFH        (648,5( 
             HOLPLQDWH                
                                                          Armistead App. 0572
                                                               3DJH

                                   
      H[DFWO\        H[FOXGH      H[FOXVLYHO\    ([KLELW
                                
HVVHQWLDOO\                  H[FUXFLD    H[KLELWV
                                     
(VVHQWLDOV                   H[FXVH    H[SDQG 
                                  H[SHFW 
HVWDEOLVK                                  
                H[FOXGHG               H[SHFWHG
                                     
HVWDEOLVKHG    H[DJJHUD                  H[SHQGHG
                                      
         H[DP                      H[SHULHQFH
                                  
HW                   H[HUFLVH        
                                   
         ([DPLQDWLRQ                   
HWKQLF                              
                                     
HYDOXDWH                              
                       H[KLELW      
         H[DPLQH                    
HYDOXDWHG                              
         H[DPSOH                    
HYHQW                      
HYHQWV                            
                                 
                              
HYHU\ERG\                            
                H[FOXGHV              
                                 
                   H[FOXGLQJ              
                                    
                                     
                                  
HYHU\RQH V                   ([KLELW       
                              H[SHULHQFHG
HYLGHQFH                H[FOXVLRQ              
                       ([KLELW      
                                     
                               H[SHULHQFHV
       H[FHHGV            ([KLELW       
                              
          ([FHOOHQW                        
                              
          H[FHSWLRQV                        
                           ([KLELW       
                                   
HYLGHQW        H[FKDQJH                      
                           ([KLELW       
H[DFHUEDWHG    H[FLWHG                          H[SHULHQ
                    ([KLELW       
H[DFW      H[FLWHPHQW     H[FOXVLRQV            H[SHUW 
                                                           Armistead App. 0573
                                                                3DJH

                    IDFXOW\          IDXOW\
      H[SODQDWLRQ              IDLUQHVV        
            IDLU            IDYRULWH
                           
                            
     H[SRVXUH                        IDYRUV
                                  
                                  IHDU 
                            IHDUV 
                                   IHDWXUHV
     H[SUHVV                             
                                   
     H[SUHVVHV                      IHHG 
                               IHHGEDFN
         H[WHQVLYH                          
                                     
     H[WHQW                         IHHO 
                           IDOO        
                                      
        H[WUHPHO\               IDOOV     
                           IDPLOLDU         
    H[WULQVLF                        
                                 
        H\HV                      
                                            
              )                          
         )                              
         IDFHV                     
H[SHUWLVH                      IDPLOLDULW\     
         IDFHWV                     
         IDFLOLWLHV           IDPLO\     
                                   
                           IDQ       
      IDFW                 IDU        
                               
                                   
                                      
                              
                                   
                                  
                                  IHHOLQJ
                          IDVKLRQ         
                                      
                        IDVW      
                                 IHHOLQJV
H[SHUWV                           IDVWHU          
      IDFWRU                       
                                    
       IDFWRUV                          IHHOV 
                         IDVWHVW         
                                      
H[SODLQ                          IDWKRP          
                                IHHV 
                                                           Armistead App. 0574
                                                                3DJH

                                     IOLS 
IHOW                               
IHPDOH                                IORRU 
                    ILUPV      
                ILIWK             )ORULGD 
                            ILUVW      
                ILIWK\HDU             
                                  
            ILJKWLQJ                 IORZ 
                           
              ILJXUH               IRFXV 
                              
          IHPDOHV                        
                                     
                                    
                                     
                ILOHG                
                             
                            
                                    
                                  
              ILOLQJ             
                  ILOO            
           ILQDO               
                                      
                               
               ILQDOV                   
                               
                 ILQDQFLDO                
                                  
             ILQG              IRFXVHG
                                    
                               
                                    
                                    
                           ILW        
                                
                                   
                                  
                        ILWV       
           ILQGLQJ    ILWWLQJ         
                               
              ILQGLQJV       ILYH       
                                        
               ILQGV               
                  ILQH               
                                 IRFXVHV
               ILQJHU              
                  ILQJHUV                   
          IHPLQLQH                          IRFXVLQJ
                ILQLVK             
      ILHOG             ILYH\HD     
                ILQLVKHG                  
                                                            Armistead App. 0575
                                                                 3DJH

                              JDPH       
                               
IROGHU     IRXU                      
IROORZ                   JDPHV      
                                    
                                    
IROORZHG                         JDWKHULQJ       
                                  
                         JD\       
IROORZLQJ      )R[                     
          )UDQFLVFR               JHDU       
                             JHDUHG          
         IUHH                          
                                   *HQHUDO V
                   IXOILOOLQJ               
                            JHDUV     JHQHUDOL
IROORZV                  IXOO      JHQGHU     
          )UHHGRP                     JHQHUDOL]HG
                                     
IRRO      )UHQFK                     JHQHUDOO\
IRRW                                  
IRRWEDOO       IUHTXHQWO\                          
                   IXOO\             
         IUHVKPDQ       IXQ               
                                 
         IULHQG                       
                                   JHQHUDWH
IRUFH                             
          IULHQGV                           JHQHUDWHG
IRUHJRLQJ                                 
                                   JHQHULF
IRUHVHHDEOH                                 
                                  JHQHWLFV
IRUP                               
                                       JHQXLQH
IRUPDO     IURQW     IXUWKHU                 
IRUPV                                   
IRUZDUG        IUXVWUDWHG                       JHQXLQHO\
                         JHQGHUV         
                               JHWWLQJ
                                  
         )U\                        
                  )XUWKHUPRUH    JHQHUDO      
IRVWHU                                  
IRVWHUHG                 IXWXUH               
                                      
IRXQG                    *              JLIWHG 
                *                     
                    JDLQ              JLJJOH
                               
                JDLQHG                JLUO 
               JDLQLQJ                   
                                       
                                                         Armistead App. 0576
                                                              3DJH

                                       
                             
                               
                             
                          
                                   
                               
                          
                        
                             
                               
         JLYH                      
                                   
                                
                              
JLUO V                            
                          JRDO        
JLUOV                           
                               
                         
                                
                                 
                             
                                 
                                  
                                    
                                 
                               
                                     
                       JRDOV      
                                
                                  
                          JRHV        
                                    
                                     
         JLYHQ            JRLQJ       
                                   
                                    
                                     
      JLYHV                     
                                  
                                     
      JLYLQJ                            
                                 
                                
                                 
                                    
       JODG                    
                                 
                                
         JR                          
                              
                            
                                                            Armistead App. 0577
                                                                 3DJH

                                      
         JRVK                          
                                      
      *RWFKD                       KDSSHQV
          JRYHUQLQJ                          
                                     
                                        
          JRYHUQPHQW              JXHVVLQJ        
                *UHHQ                 
                                
                        JXLGH      
          JUDE                      
          JUDFLRXV       *UHHQVERUR               KDSSLQHVV
JROG                      JXLGHOLQHV      
                JUHZ               KDSS\ 
          JUDGH                        
                   JULS                
JRRG                *URVVEDU                KDUG 
       JUDGHUV                             
                 JURXQG     JX\         
                        JX\V        
       JUDGHV                               
                  JURXQGZRUN                
      JUDGXDWH                  *\RUJ\      
                JURXS                
                                      
          JUDGXDWHG                           
                                         
         JUDQW                  +          
         JUHDW             +           
                       +2*8(       
                                     
                              KDOI       
                               
                                    
                  JURXSHG        KDQG      
                                    
                   JURXSV             KDUGHU 
                           KDQGOH          
                                        
                                      
                            +DQGOLQJ        
                                   KDUGHVW
                         KDSSHQ     
                           
         JUHDWHU                       KDUP 
                    JURZ                
                                   
                        KDSSHQHG        
                JXDUDQWHH             
                                   
                   JXHVV     KDSSHQLQJ      KDUPHG 
JRRIHG                                KDUPIXO
                                                            Armistead App. 0578
                                                                 3DJH

                                    
          KHDU                           
                              +RJXH 
                                    
                  KHOSHG              
                   KHOSIXO                 KROG 
                                    
         KHDUG                      
                                   
KDUPV                             
                 KHOSLQJ              
                                   KROOLVWLF
+DUULVRQ                           
                                  KRPH 
      KHDULQJ                       KRQHVW 
                                  KRQHVWO\
+DUWQHWW    KHDUW                      
                                 
KDWH     KHDUWEHDW      KHOSV           KRQH\PRRQ
                                       
       KHDUWV         +HOVWURP           KRQRUDEOH
                                   
KD]DUGV        +HDWKHU     KHVLWDWLQJ              KRSH 
                                      KRSHIXO
+%     KHDYLHU        KH\                   
                              +RSHIXOO\
          KHDYLO\                     
                                      
       +(/'                      KRSHV 
       +HOOR                         KRUPRQH
                                      
         KHOS                KLJKHU     
                                      
                                    
                                  KRUPRQHV
                                      
                                  KRWHO 
                                       KRXU 
                                        
KHDG                                  
                 +L                 
                                     
                   KLJK      KLJKHVW        KRXUO\
KHDGHG                             
KHDGLQJ                                  KRXUV 
                      KLJKOLJKWHG     
KHDOWK                               
                            KLJKO\          
                                  
                         KLNH     +RXVH 
                        KLW     
                                      
KHDOWK\                                    
                                                          Armistead App. 0579
                                                               3DJH

KXJH                             
KXPDQ         LPSDLU             LQGLUHFWO\
KXQGUHG                 LPSOLFDW    LQFOXGHG       
                                     LQGLYLGXDO
+XQJDU\                 LPSO\             
                  LPSRUWDQFH              
KXUW       LGHQWLI\                LQFOXGHV        
KXUWV                               
KXVEDQG             LPSRUWDQW            
                     LQFOXGLQJ      
                               
K\SRWKHVHV                                  
                                  LQGLYLGX
                                          
      ,                                   
LH                      LQFOXVLRQ     LQGLYLGX
                                 
,GDKR                            LQGLYLGXDOV
           LGHQWLI\LQJ                      
                                  
                                    
LGHD                                 LQGRRU
                  LPSRVH     LQFOXVLYH      
                  LPSURYH             LQIHULRULW\
                                 
                                   LQIOXHQFLQJ
                             
LGHDO                                 LQIRUP
                                  
LGHDOO\        LGHQWLWLHV                      LQIRUPDO
                  LPSURYHPHQW             
LGHDV    LGHQWLW\                        LQIRUPDWLRQ
LGHQWLIL                                
                                   
                                LQIRUPHG
                       LQFRPLQJ       
                  LPSURYLQJ              LQKHUHQW
                       LQFRUUHFWO\     
                                 
                  LQDFFXUDWH     LQFUHDVH        
LGHQWLILHG                               LQKLELWRUV
       LJQRUH        LQFDSDEOH      LQFXUUHG       
                               LQLWLDO 
          LOOHJDO       LQFOXGH        LQGLFDWH        
LGHQWLILHV                        LQLWLDOO\
         LPDJLQH                 LQGLFDWHG      
                                 LQLWLDOV
          LPSDFW                       
                           LQGLFDWHV     LQMXUHG
                                  
                        LQGLFDWLRQ    LQMXULHV
                                      
      LPSDFWV                 LQGLIIHU    
                                                           Armistead App. 0580
                                                                3DJH

         LQWHUQHW                         MXQN 
                             MXV 
          LQWHUSUHW                        MXVWLILF
                               
                                     
      LQWHUUXSW                        MXVWLILHG
LQMXU\                           MDPSDFNHG       
                 L3DG      
                           -HIIHU\              .
         LQWHUVSH                    .DQJ 
                            -HIIUH\     
,QQHU      LQWHUYHQLQJ   LVRODWHG                .DQVDV 
LQQLQJV                    -HUHP\           
LQSXW            ,VUDHO              
LQTXLU\        ,QWHUYHQRU    LVVXH      -LP    .DWHO\Q 
                                 
LQVLJKW        LQWHUYHQ             -RKQ      .DWKOHHQ 
                                        
         LQWHUYHQ                      NHHS 
LQVLQXDWLQJ                       -RKQDWKDQ        
         LQWHUYLHZ                   
LQVWDQFHV                                   
          LQWURGXFH               -RKQVRQ     
LQWHQWLRQDO                              
          LQWURGXF             MRLQ        
LQWHUDFW                      -RUGDQ          
          LQYHQWHG                         
,QWHUFRO            LVVXHV    MRXUQDO         
          LQYHVWHG                       
LQWHUHVW                       MR\        
                                   
LQWHUHVWHG     LQYROYH                MXGJH      
                                        
          LQYROYHG                       
                                     
                                   
LQWHUHVWV                    MXGJLQJ        NHHSLQJ
                 LW G                
         LQYROYHPHQW   LWDOLFV        -XOLH        
                              .HOO\ 
                 ,WHP                  
          LQYROYLQJ     ,WHPV            
LQWHUPXUDO                                     
                         -                  NHSW 
LQWHUPXUDOV         -DFNVRQ               
                                    NH\ 
LQWHUQDOO\              -DFRE                
                                   
LQWHUQDW                             
                  -DNH    MXPS       
                   MXQLRU    NH\ERDUG
LQWHUQDW                        
                                        
                                                       Armistead App. 0581
                                                            3DJH

NH\ZRUG                           
                                 
NLG                           
NLGV                         
                        NQRZLQJ
                                 
                                  
                           
                            NQRZOHGJH
                               
                            
                                 
                              
     NLQGHUJD           NQRZOHGJ
                         
        NLQGQHVV                 
                            NQXFNOH
                                  
                                   
      NLQGV                   NXGRV 
                        
         NQHZ                         /
                            / 
                            /2&.
        NQRFNHG                       
                              /8&.
        NQRZ                       
                      ODEHOHG
                         
                   ODFN 
                           
                           /DGGHUV
                          
                          /DLQH\ 
                               
                              
                          /DPEGD 
                            
NLGV                         ODQJXDJH
NLQG                              
                           ODUJHU 
                      ODVWLQJ
                         
                     ODWH 
                                   
                              ODWHVW
                               
                               
                              ODZ 
                                 
                                
                           
                              
                                                          Armistead App. 0582
                                                               3DJH

ODZV                               OLWWOH 
         OHJLVODWXUH                       
ODZVXLW                         
OD\                                    
OD\PDQ V                                   
           OHJLWLPDWH                       
OHDG                                  
          OHLVXUH             OLIHVSDQ         
                                    
       OHW V              OLJDPHQW        
                                  
OHDGHUV                   OLPLW      
                           OLPLWHG     
                                 
                               
OHDGV                          
OHDJXH                      
                                     
                                     
OHDJXHV                OHYHOV    OLPLWLQJ        
                                  
                                  
                        OLQH       
                                     
OHDQHG                                 
OHDUQ                             
                                  
                                  
                                  OLYH 
                        OLQHV     
OHDUQHG                         OLQN        
                                   OLYHG 
OHDUQLQJ                                OLYHV 
                                
                           OLVW       
                                      OLYLQJ
                    OLVWHG     
OHDYH                                 //3 
                 /LD       OLVWHQ      
                          OLWHU     ORFDO 
OHIW                 OLWHUDWXUH      
                                ORFDWH 
                                  
OHIWKDQG                             ORFN 
                                ORJLF 
OHJDO                            ORQJ 
       OHWWHU                            
                                     
OHJLVODWLRQ                           
                    OLWLJDWLRQ      
OHJLVODWRUV    OHYHO                    
              OLIH            
                                       
                                                           Armistead App. 0583
                                                                3DJH

                            ORZ          
         ORRNHG     ORW      ORZHU      
                             
                                 
                                    
ORQJODV                               
                              
ORQJWHUP                                   
                                      
         ORRNLQJ         /3          
ORQJHU                    OXFN     
                                  
                                
                                  
ORRN                                  
                      OXQFK     
                                 
                                   
                             OXQJV      
                                           
                            0         
                            0        
                                      
                        0'        
                       0D DP     
                              0DLQ      
                        PDMRULW\        
                                   
                                   
         ORRNV              PDNLQJ          
                                 
                                     
                                
                                       
                                  
                           PDODGDSWLYH     
                                 PDOH V 
         ORVH               PDOH       
                             PDOHV 
                                  
                    ORWV           
      ORVHU                     
                                    
         ORVHUV         ORXG           
                  ORXQJHV               
          ORVHV                         
         ORVV     ORYH                
                                  
         ORVW                     
                                  
                                   
                  ORYHG           
                  ORYHV           
                                                          Armistead App. 0584
                                                               3DJH

        PDUNHG                          
           0F(QURH                 PHHWV 
                             PHPEHU 
             PHDQ              
                                PHPEHUV 
                                      
                           PHPRU\ 
                              0HPSKLV
                             
     PDUNHU                       PHQ 
                                 
        PDUNHW                         
                         PHDQW      
        PDUNLQJ                        
         0DU\                           
                                PHQ V 
                                   
                              PHQVWUXDO
PDQ                     PHDVXUDEOH      
                                PHQWDO 
PDQDJHDEOH    PDVFXOLQH             PHDVXUH         
                               
PDQDJHPHQW                              
         PDVV                         
PDQGDWRU\                           PHQWLRQ
        PDVVLYH            PHDVXUHG        
PDQHXYHU      0DVWHU                       
        0DVWHU V                          
PDQLSXODWH                                PHQWLRQHG
                     PHDVXUHV         
PDQWUD    PDWFK                          
PDSSLQJ                               
        PDWHULDOV               PHGDO      
PDUDWKRQ                         PHGDOLVW        
                                   
     PDWK                     
          PDWWHU                      
PDUDWKRQV                       PHGDOV      
                            PHGLD    PHQWLRQLQJ
0DUFK                       PHGLFDO         
                                 PHQWRU 
                                   
        PDWWHUV                       PHW 
                                    PHWKRGRORJ\
PDUJLQDO                      0HGLFLQH        
         PDWXUH                           PHWKRGV
0DULD                      PHHW      
          PD[LPL]H       PHDQLQJ                 0LFKDHO
PDUN                        
                                0LFND 
      0D[LPL]LQJ                        PLGGOH 
                  PHDQV                 
         0F&XVNH\              PHHWLQJ         
                                                            Armistead App. 0585
                                                                 3DJH

                                       QDWXUH
          PLVXQGHU              PXVFOH      
                               1&$$ 
      PL[                 PXVFOHV         
                                  
          PL[HG     PRWLYDWL    PXVLF     
         PL[HV           PXWHG       
         PRGHO               PXWXDO     
0LOOV    PRGHUDWH                             
PLQG                          P\RSLF          
                                    
          PRGLI\                             
                   PRWLYDWLRQV               
         PRGXOH                               
         PRPHQW     PRWLYDWRU            1        1&$$ V 
                          1         
PLQGHG                   PRWLYDWRUV              QHDUE\ 
                                  QHDUO\ 
PLQGVHW              PRXVH     QDLYH     
                          QDPH       
PLQH              PRYH              QHFHVVDULO\
PLQLPL]HV      0RQWDJDQR                       
                                 
PLQLPXP                                   
         PRQWKV                    
                                     QHFHVVDU\
PLQRU      PRQXPHQWDO                      
PLQRULW\                                 
          PRRW                     QHHG 
         PRUELG                            
PLQXWH                                      
         0RUJDQ               QDPHG       
                         QDPHV       
PLQXWHV                      QDQRPROV         
          PRUQLQJ                             
                         QDUURZHG        
                                       
      0255,6(<                QDWDO      
PLVUHSUH                                
         PRWKHU                         
PLVVHG                                 
                 PRYHG    QDWLRQZLGH     
         PRWKHU V       PRYHPHQW                  
                          QDWLRQDO        
PLVVLQJ    PRWLRQ                          
          PRWLYDWH       PRYHPHQWV             
                                         
          PRWLYDWHG      PRYLQJ                   
                                      
          PRWLYDWHV                         
PLVWDNHV                           QDWXUDOO\       
         PRWLYDWLRQ                        
            PXOWLSOH                 
                                                          Armistead App. 0586
                                                               3DJH

                    QXPHURXV             
         1LFROH                         
                 1<                   
         QLQH                               
QHHGHG    QLSSHG          2               
          QREUDLQHU     2                  
                   2DNV                 
QHHGV     QRGGLQJ        REMHFW              
                                   
QHJDWLYH       QRLVH                    
         QRQDUEL                      
                                    
          QRQLQMXUHG    REMHFWLQJ               
QHLJKERU                                 
           QRQSHMR    REMHFWLRQ             
QHLJKERU                         
                                  
QHW      QRQELQDU\                    
1HWZRUN                          
QHXWUDO                             
QHYHU      QRQVHQVH                       
                              
         QRUPDO                     
                               
      1RUWK                   
                                   
         1RWDU\                       
                                 
QHZ                                 
         QRWFK                     
         QRWH                       
                                
                                  
          QXPEHU                      
QHZV                            
                              
                                   
1HZWRQ                            
1,$                              
QLFH                          
                             
                                   
                                  
QLFHO\                        
                             
1LFKROOV                                
                               
                                  
                                   
                                    
                                   
          QXPEHUV                      
                                  
                                                        Armistead App. 0587
                                                             3DJH

              ROG         
                                 
                   2O\PSLDQ        
                             RSSRUWXQLW\
                 2O\PSLF          
                                 
                                  
                            
                               
                              
                     2O\PSLFV        
                                
                         
                       
                             
REMHFWLRQV                        
                      
                  RQERDUG     
                         RQFH        
REVHUYH                                 
                               
REYLRXV                    RQJRLQJ         
                                  
                     RQOLQH      
                        RSHQ      
REYLRXVO\                     
                                 
                              RSSRVHG
RFFXUUHG                               
                                 
2HUWHU              RSHQLQJ         
RIIHU                          RSWLPDO
                     RSLQLRQ     
                            
RIIHULQJ                               
                          
RIIHUV                                 RSWLPL]H
                                  
RIILFH                           RSWLRQ 
                            
RIILFLDO                             
                     RSLQLRQV        
                                   
RIILFLDOV                  RSSRUWXQ     
                                  RSWLRQV
                        
                                   
                              RUGHU 
RK                              
                                
                                  
RND\                              
                                 
                                                            Armistead App. 0588
                                                                 3DJH

2UHWHU                             
RUJDQL]D                              
                                
         RULHQWDW                     
                                    
                   RYHUDOO                  
                                  
RUJDQL]D    RULHQWHG                         
                                      
RUJDQL]D                                
                                   
RUJDQL]D              RYHUEURDG                 
                                        
                   RYHUFRPLQJ     SDJLQDWLRQ      
                                    
         RULJLQDO       RYHUHVWL    SDLQIXO         
                                   
                           SDSHU      
         RULJLQDOO\     RYHUHVWL               
                                    
                 RYHUHVWL                
          RWKHU V                SDSHUV     
               RYHUODS             
RUJDQL]HG      RXJKW      RYHUODSSHG           
                                    SDUDPHWHUV
RULHQWDWLRQ    RXWFRPH        RYHUV              
                   RYHUVWDWHG          SDUGRQ
                                  
       RXWFRPHV                               SDUHQ 
                       3                SDUHQW 
             3      SDUDJUDSK      SDUHQWKHVHV
                           
                               
                                   
               SP              
                             
                            SDUHQWV
                               
                                  
                                      
                              SDUW 
                SDFNHW               
            SDJH                
         RXWOLQH                           
                                   
                                 
       RXWOLQHG                            
                                     
         RXWOLQLQJ                       
                                    
       RXWSHUIR                        
                                 
          RXWVLGH                         
                                                           Armistead App. 0589
                                                                3DJH

                         SDVVDJH          
                                  
                                     
                        SDVVHG      
                             SDVVLRQ          
                                      
                           SDVVLRQDWH       
                                 
                                  
                                  
                           SDVVZRUG         
                                      
                           SDWLHQFH         
                                 
                          SDWLHQWV         
                                 
SDUWLDO                                   
                           3$75,&.      
SDUWLFLSDQW            SDUWLFLS    SDWWHUQV         
                            
SDUWLFLS                       3%-        
                                        
                              
                           3')         
                                 
                                        
                                 
SDUWLFLSDWH            SDUWLFXODU     SHHUV      
                          SHMRUDWLYH       
                                     
                      3HOHW         
                                   
                        3HQQ        
                                      
                          3HQQ V           
         SDUWLFLS                        
                         3HQQV\OY      
                                
                                        
         SDUWLFLS                      
                 SDUWLFXO    SHRSOH       
         SDUWLFLS                       
                                      
              SDUWLHV             
                                
                                     
                                    
                 SDUWV             
                   SDUWZD\                   
                                
               SDUW\               
              SDVV              
                                       
                                                           Armistead App. 0590
                                                                3DJH

        SHUIHFW        SHUSHWXDWH                
                                        
                  SHUVRQ    3+,/$'(/     
                                   
SHRSOH V      SHUIHFWL              SKLORVRSK\      
                                  
SHUFHLYH      SHUIRUP            SKUDVH      
                                 
                                
                            SK\VLFDO        
                                    
                                    
                               
                                      
SHUFHLYHG                               
     SHUIRUPDQFH                    
                                 
                                   
                    SK\VLFDOO\     SODFHG
                                 
                              SODFHV
                                  
                                  
                SHUVRQDO       SK\VLROR    3ODLQWLII
                                   
SHUFHLYHV                            
                  SHUVRQDOO\             
                                 
                                  
SHUFHQW                SHUVSHFWLYH            3ODLQWLII V
                    SK\VLROR     
                                  
                        SK\VLROR     
                                    
SHUFHQWDJH                 SK\VLRORJ\     3ODLQWLIIV
                                      
                        SLFN       
                                      SODQQHG
SHUFHQWDJHV   SHUIRUPHG                SLFNHG      
                           SLFWXUH        SOD\ 
        SHUIRUPLQJ                          
SHUFHSWLRQ                                  
         SHUIRUPV       SHUVSHFW               
                                       
        SHULRG    3HWULH                   
SHUFHSWLRQV                     SLFWXUHV        
              3K'                 
                         SLHFH      
      SHULRGLF                      
                                    
                         SODFH      
         SHUPLWWHG                          
                                    
                                                           Armistead App. 0591
                                                                3DJH

      3//&                         SULPDULO\
         SOXVHV                  SUHIHUHQFH      
                                 
      SRLQW               SUHSDUDWLRQ     
                                    SULPDU\
                         SUHSDUH     
               SRVVLELOLW\               
                           SUHSDUHG        
                  SRVVLEOH                 
                                
                                 
                                    
SOD\HG                           
                        SUHSDULQJ      SULQFLSDO
                                       
                        SUHVHQFH       SULQFLSOH
                                  
                            SUHVHQW        SULQW 
        SRLQWHG       SRVVLEO\                 SULQWHG
SOD\HU                       SUHVHUYH        
          SROLFLHV                          
                  SRWHQWLDO      SUHVXPH        SULRU 
         SROLF\                     
SOD\HUV                                  
                                      
                        SUHWW\    SULRULWL]HV
                               
SOD\LQJ                              SULYLOHJH
                                   
                                   
                                  
                   SRWHQWLDOO\              SUREDEOH
      SRRO                       
                  SRXQGLQJ                SUREDEO\
                              3UHYDOHQFH       
         SRUWLRQV      SRZHU                
                  SRZHUIXO                 
                          SUHYHQW         
          SRVLWLRQ      SRZHUV                     
SOD\V                                  
                3UDFWLFH                  
SOHDVH                                
                   SUHFLVH                   
                            SUHYHQWHG       
              SUHFLVHO\               
                                      
                  SUHGLFWLRQV    SUHYHQWLQJ      
         SRVLWLRQV                         
                            SUHYLRXV        
                  SUHGLFWRUV                
          SRVLWLYH                          
                           SUHYLRXVO\      
                  SUHIHU           
                                                           Armistead App. 0592
                                                                3DJH

                           SXEOLFLW\      SX]]OHG 
                            
                                           4
                    SURYLGHG      SXEOLVKHG      TXDOLILF
         SURJUDP                         
                    SURYLGHV               TXDOLI\
      SURJUDPV                SXOO       
                    SURYLGLQJ               TXDOLW\
SUREOHP                             
               SURYLQJ       SXOOLQJ         
          SURJUHVV                         TXDQWLWD
                            SXQLVKPHQW      
          SURKLELWHG     SV\FKLDW            TXHVWLRQ
                             SXUSRVH     
         SURMHFW        SV\FKROR          
SUREOHPDWLF                                   
         SURPRWH                          
                                          
SUREOHPV                 SV\FKROR   SXUSRVHV         
                                
                SV\FKROR             
                             SXUVXDQW     
                  SV\FKRORJ\    SXUVXLQJ        
         SURQRXQFH                      
3URFHGXUH                      SXVK       
            SURQRXQV                           
SURFHHG                                    
          SURQXQFL         SXVKEDFN        
SURFHHGLQJ                               
          SURSHU              SXW     
          SURSHUO\                          
                                       
         SURSHUWLHV                    
SURFHHGLQJV                              
                                   
SURFHVV        SURSRUWLRQ     SV\FKROR           
                                        
                   SV\FKRPH              
SURFHVVLQJ                             
         SURSRVHG                          
SURIHVVL              SV\FKRPH             
      SURSRVLWLRQ                         
SURIHVVL          SXEHUW\                 
                                  
3URIHVVRU      SURWHFW                           
                                  
          SURWHFWHG                      
                                    TXHVWLRQ
          SURWHFWLRQ                       
               SXEOLF                
      SURYLGH             SXWWLQJ        TXHVWLRQV
                   SXEOLFDW             
                                   
                                                            Armistead App. 0593
                                                                 3DJH

                                  
                                    
         UDWH     UHDGV               UHDVRQDEOH
                                   
                                       UHDVRQDEO\
          UDWLQJ                     
         5DWLQJV                           
                                      UHDVRQV
          UDWLRQDOH                          
                                 
         UHDFK                      
                                
                              
                                 UHFDOO 
TXLFN                                  
                   UHDG\               
         UHDFW      UHDO                 UHFDOOLQJ
         UHDFWLRQ                          
                                     UHFHLYH
TXLFNO\        UHDG                          
                                      
TXLWH                               
                     UHDOLVWLF                UHFHLYHG
                                    
                                    
TXRWH               UHDOLVWL              
                                     
                                       
                        UHDOLW\                  
      5                          UHDS      UHFLSLHQW
5                                 
                                  UHFRJQL]H
UDFHV           UHDOL]H                
                                      
5DFKHO                                
                   UHDOO\            
UDFLQJ                                    
                                   UHFRJQL]HG
UDFTXHWV                                 
                                    UHFRJQL]LQJ
UDQ                                 
                                         
UDQGRPO\                               UHFRUG 
                                        
5DQJH                      UHDSLQJ          
UDQN                                   
UDQNHG    UHDGHU                   UHDVRQ      
                                
                                        
UDQNLQJ    UHDGLQJ                          
                              
UDQNLQJV                                      
                                   
                                                            Armistead App. 0594
                                                                 3DJH

                                    UHSRVW 
                            UHSOLFDWHG     UHSUHVHQW
          UHIOHFWLQJ                         
                          UHSRUW       
       UHIUHVKHG                      UHSUHVHQWHG
                                  
       UHJDUG    UHODWLYH              
                                     
                  UHODWLYHO\             
      UHJDUGHG                       UHSUHVHQ
                                 
         UHJDUGLQJ      UHOD\V               
                 UHOHDVHG               
                                 UHSURGXF
                                
UHFUHDWL            UHOHYDQW              UHSURGXF
          UHJDUGOHVV                      
UHFUXLWHG                                  UHTXLUH
      UHJXODUO\      UHOLHV                   
                                     
UHGLUHFW       UHJXODWH       UHO\               UHTXLUHP
                                       
UHHQIRUFH                                
          UHJXODWLQJ                       
UHHQIRUFHG               UHPHPEHU                  
          UHJXODWLRQV                    
UHIHU                                 UHTXLUHV
                                  
      5HLQKDUGW                       
                                  
          5HND       UHPLQG                  UHTXLULQJ
UHIHUHQFH                                  
                 UHPLQGV               UHVHDUFK
                                       
         UHODEHO        UHPLQLVFHQW                
UHIHUHQFHV                                  
         UHODWHG    UHPRWH                    
                            UHSRUWHG         
UHIHUULQJ               UHPRWHO\                 
                                         
                   5HQGH]YRXV              
         UHODWHV                             
                   UHSHDW     UHSRUWHU     
          UHODWLQJ                        
                                    UHVHDUFKHU
         UHODWLRQ    UHSHDWHG                 
                                  UHVHDUFKHUV
                  UHSKUDVH                 
                         UHSRUWLQJ       
         UHODWLRQ                    UHVRXUFHV
UHIHUV                    UHSRUWV         
                                    
UHIOHFW                             UHVSHFW
                                                        Armistead App. 0595
                                                             3DJH

          UHWLUHG                 
          UHWUHDG                   
                              
          UHWULEXWLRQ                   
                          
                            
         UHWURVSH               
                               
          UHWXUQHG                   
                                
         UHYLHZ                 
                              
                           
                           
UHVSHFWHG                         
                             
UHVSHFWIXO                       
                             
                           
         UHYLHZHG                 
UHVSHFWLYH                           
                             
UHVSRQGLQJ                         
                              
UHVSRQVH       UHYLHZLQJ                  
                              
                         
         ULJKW                 
UHVSRQVHV                          
                         
                                 
UHVWDWH                              
                         
UHVWDXUDQW                               
                           
UHVWULFW                              
                               
UHVXOW                                 
                              
                              
                          
UHVXOWV                     
                       
                                 
                             
                          
UHWDLQ                                
                                   
                            
UHWDLQHG                                 
                          
                         
                           
                                                          Armistead App. 0596
                                                               3DJH

                              
                 VDGQHVV         
                                  
                VDIH        
                              
                   VDIHU      
       ULJKWV              VDIHW\     
                                   
    5LR                     
    5LVN                       
                               
       URDG                       
                               
                                    
       UREEHG              6DJD      
       5REHUWD               VDPSOHV         
                             
                        6DQ        VD\V 
     UROH              6DUJHQW V        
                                     
      UROO           VDW         
       UROOLQJ             VDWLVIDF      
     URRP                            
                          
                        VDWLVI\         
                              
                    VDYH      
                       VDZ       
        URRPPDWH                VD\LQJ      
                               
    5XJE\                         
       UXOH                        
                                 
              UXQ               
                            
                             
                              
                              
                               
                           
                            
                              
                UXQQHU                
                                     
    UXOHG    UXQQLQJ              
    UXOHV                        
                               
                                  
               6                   
              6               
                       
                               
        VDG                
                                                            Armistead App. 0597
                                                                 3DJH

VFDOH                              
                   6FRWWVGDOH     VHF        
                              VHFRQG     
VFHQDULR              VFUHHQ            
                                    
                                      
VFHQDULRV                                  
                                      
                                    
VFKHGXOH                                 
                   VFUROO                   
VFKRODU                                     
                                 
VFKRODUVKLS                                 
                                        
                 6FUXJJV             
                                  
                              VHFRQGDU\       
          VFKRRO V                      
                                
VFKRODUV    VFKRROHUV                          
                                   
       VFKRROV                         
                                     
                                  
                                    
                       VHFWLRQ         
VFKRRO                              
                    VHFXUH     
                         VHH        
                                     
                                     
                                    
                            
                               
                                    
                                      
       VFLHQFH                 
                                 
        VFLHQWLILF                      
                                   VHHLQJ 
        VFRSH                    
                                 
        VFRUH                       
                              
                                    
                                   
      VFRUHV    VH              VHHNLQJ
                VHDOLQJ              
                  VHDVRQ               
                                    VHHQ 
          VFRULQJ                         
                              
                                                           Armistead App. 0598
                                                                3DJH

                        6KXPDQ     VLWXDWLRQ
        VHSDUDWH             VLF       
                         VLGH        
VHHV                           
                                    
VHJUHJDWLRQ   VHSDUDWHG                           
                                     
VHOHFW                 VH[EDVHG                
        VHSDUDWHO\                        
VHOI                  VLJKWV     
         VHULHV    VH[HV      VLJQ       
VHOIHVWHHP                              
                   VKDPH               
VHPHVWHU      VHUYH              VLJQHG     
                          VLJQLILFDQW    VL[ 
         VHUYHG                         
VHPLQDUV                               
         6HUYLFHV       VKDUH                
                                 
VHQG    VHUYLQJ                       VL[WK 
        VHVVLRQ               VLJQLILF    VL]H 
VHQLRU                               VNLOO 
                           VLJQLQJ     
VHQVH     VHVVLRQV                VLOO\      
                        VLPLODU     
      VHW       VKDUHG               
                 VKLIWV         VLPLODULW\      
                                      VNLOOHG 
             VKRUW      VLPLODUO\       
                            
                                 VNLOOV 
                                       
                                      
                                   
VHQWHQFH                                  
                                 VNLS 
                                      
         VHWV     VKRW     VLPSO\     VNLSSHG
                 VKRZ             
     VHWWLQJ                            VNLSSLQJ
                                    
                                        
                          VLW       6ODPV 
         VHYHQ                    6OLFHU 
                                    VOLJKW 
                                
                   VKRZHG              
         VHYHUH         VKRZLQJ        VLWWLQJ         
                                      
        VHYHULW\                 VLWXDWHG       VOLJKWO\
                                   
         VH[        VKRZQ            
               VKRZV               
                                                           Armistead App. 0599
                                                                3DJH

VORW     VROR                     
VORWWHG        VRPDWLF                           
                           VRXUFHV        VSRUW 
VORXFK                                     
         VRPHERG\               6RXWKHUQ     
VORZ                                      
VPDOO                    6SDLQ      
                      VSHDN       
                                      
                                     
                                   
                        VSHDNLQJ         
                                     
                                       
VPDOOHU                                   
                             VSHFLDO         
                                   
                                    
                                   
VPLOH\                              
VPLOLQJ    VRPHERG\ V                    
6PLWK                                  
       VRPHRQH V              6SHFLDOLVW      
                                      
          VRPHZKDW               VSHFLILF        
VRFFHU                           
                                  
           VRQ                         
      6RQRPD                      
                                      
       VRUU\                         
                                
VRFLDO           VRUW             
                                
                         VSHFLILF     
6RFLRORJ\                        
                               
VRIWEDOO                                   
                                    
                                    
VRIWHU              VRXQG               
VRIWZDUH                          VSHFLILFV       
                                        
VROH                              
                   VRXQGV               
VROHO\                        VSHOOHG     
                     VSHQGLQJ        
                                     
                             VSHQW      
                                 
                            VSRNH     
VROLG                    VSRNHQ     
                VRXUFH        6SRQVRUHG       
                                                         Armistead App. 0600
                                                              3DJH

                       
                              
                            
                             
                     VWDQGDUGV       
                               
                       VWDQGSRLQW      
                            
                        VWDQGV           
                              
                     VWDU        
                                 
                       VWDUW      
                               
                              
                                
                        VWDUWHG         
                                      
                              
                                
                                  
            VSRUWVSH           
                 VWDUWHU         
                                
               VSRW     VWDUWLQJ        
                                     
VSRUWLQJ                            
                        VWDUWV     
                               
            VSULQJ             VWDWHPHQWV
VSRUWV                    VWDWH     
                                   
             VTXDUH                    
                              
                 6UXWL                 
                               
          VWDJH               VWDWHV 
            VWDJHV                   
                                 
             VWDNH              
          VWDNHV                    
                                
            VWDPS              
           VWDQGDUG                 
                   VWDWHG     VWDWHZLGH
                                    
                               VWDWXWH 
                               
                              
                                   
                        VWDWHPHQW      VWD\ 
                        
                               
                                                           Armistead App. 0601
                                                                3DJH

                               VXSSRUW
                            VXFFHVV         
                                    
VWHOODU                                 
                                     
VWHS     VWURQJHU                         
                                      
6WHSWRH            VWXG\              VXSSRUWHG
                                   
VWLFN                     VXFFHVVIXO     VXSSRUWLYH
          VWXGHQW                         
VWLFNHU                          VXSSRUWV
VWLSXODWHG                   VXGGHQ     
                          VXGGHQO\        
6WRFN                                  
VWRS                        VXIILFLHQW     VXSSUHVV
                                      
VWRULHV                                    
                        VXJJHVW    VXSSUHVVLRQ
VWRU\                               
6WUHHW                              
                                 6XSUHPH
                             VXJJHVWLQJ      
VWUHVV                             
      VWXGHQWV                          VXUH 
                VWXG\LQJ                  
                                 
                                       
                                     
                                 
                                     
VWUHVVHG               VWXII               
                            VXJJHVWV        
                                       
VWUHVVIXO                                     
         VWXGHQWV                          
                           6XLWH       
VWULNH    VWXGLHG                              
                6WXWOHU    VXPPHU     
                                  
                            VXSHU       
          VWXGLHV       VXEPLW               
                VXEPLWWHG      6XSHULQW     
VWULYH                               
                                  
VWULYLQJ                 VXEVFDOHV                 
                        6XSHULQW     
VWURQJ          VXEVWDQWLDO             
                               
                         6XSHULRU        
                  VXFFHHG                   
                           VXSHUYLVHG      
                                
                                                            Armistead App. 0602
                                                                 3DJH

                                     
         VZLPVXLW                WDOOHU          
                                      
         VZLWFK             WDS      WHDFKLQJ
         VZLWFKLQJ                          
                             WDSSLQJ          
          VZLWFKRYHU     WDNHQ                
                           WDVN      WHDP 
      VZRUQ                     
                                     
                                    
         V\PSDWK\                       
                                  
         V\PSWRP                          
                                     
         V\PSWRPV                           
                              
      V\VWHP                     
                                   
                                      
                                        
VXUJH           7       WDNHV           
VXUYH\    7                            
VXUYH\V        75<21      WDOHQW              
                    WDOHQWHG                  
VXVWDLQ        WDEOH                  
                                       
VZDP               WDON              
6ZDPLQDWKDQ                             
       WDLORUHG                           
                                     
VZHHW    WDNH                       
VZLP                               
                                
                                   
                                  
                                      
VZLPPHU                               
                WDONHG              
                                     
                                
                    WDONLQJ                   
                                   
                        WDVNLQY     
                                   
VZLPPHUV                                    
                                       
                                      
                             WDXJKW     
VZLPPLQJ                                     
                            WHDFK       
                                       
                           WHDFKHUV        
                                                         Armistead App. 0603
                                                              3DJH

                  WHQGHQF\        
             WHDPZRUN                WHVWLI\LQJ
                           
     WHDPPDWH      7HFK     WHQQLV    WHVWLPRQ\
                                     
            WHFKQLFDO             
        WHDPPDWHV                      
           WHFKQLTXH            WHVWRVWH
                                    
              WHFKQRORJ\            
                               7H[DV 
             WHOO            
                              
                                  
                       WH[W 
                                 
                               WKDQN 
                              
                          WHQV        
                  WHQVH      
                      WHUP       
        WHDPV                     
                               
                               
                           
                          
                                 
                          
                          
                               
                              
                                
                                   
                 WHUPLQRORJ\     
                                 
                         WHUPV      
             WHOOLQJ               
                              
                              
                                    
            WHOOV                
                               7KDQNV 
                               
             WHPSWLQJ                 
                               WKHRULHV
             WHQ                 
                            WKHRU\ 
                      WHVW       
                       WHVWLILHG       
                         
                              
                                 
         WHQG     WHVWLI\         
                                                      Armistead App. 0604
                                                           3DJH

                             
WKHUDS\                             
                           
                              
                             
WKHVLV                      
                              
                               
WKLQJ                       
                          
                         
                          WKLQNLQJ
                           
                             
                             
                                  
                             
                            
         WKLQN                   
                              
                            
                               WKLUG 
                          
                         7KRPDV 
                            
                           
                                  
                            
                      
                          
                        
WKLQJV                         
                           
                           
                          
                             7KRPDV V
                              
                            
                     7KRPSVRQ
                                
                         
                            WKRXJKW
                                
                            
                          
                              
                          
                          
                               
                           WKRXJKWV
                             
                         WKRXVDQG
                           
                                                           Armistead App. 0605
                                                                3DJH

WKRXVDQGV                                
                            WRXUQDPHQW      
WKUHH                                  
                  WRXUQDPHQWV     
                                   
                             
                                
                        WRZQ        
                        WUDFN      WUDQVFHQG
                                    
              WRGD\             WUDQVFULSW
                                    
                                  
                              WUDQVIHPDOH
                                  
WKUHHWLPH                              
                                   
WKURZLQJ                                 
                             
WKURZQ                               
                                  
WKXPEV                                
WLJKWHU                 WROG               WUDQVIHP
                                       
WLJKWO\                                     
                               
                       WUDLQ      
WLOO                                WUDQVJHQGHU
WLPH            WRPRUURZ                 
                            WUDLQHG     
         WRQLJKW             
               WRS                 
                       WUDLQLQJ        
                                       
                               
                        WUDLWV           
                                  
      WLPHIUDPH                      
                                 
           WRSLF     WUDQV        
       WLPHV                   
                7RUR                  
                                     
               WRWDO     WUDQVWU     
                                  
                         WUDQVDWK     
                                   
               WRWDOO\                   
                                    
      WLQ\             WUDQVDWK     
         WLWOH    WRXFK                
                                   
              WRXJK               
                                                         Armistead App. 0606
                                                              3DJH

       WULFN                    
      WULFNOH                      
                                
         WULFNOHG                     
                              
         WULHG                  
                                       
                                  
                               
                                 
         WULHV                    
                                 
                              
          WURSKLHV                     
                                
          WURSK\                      
         WUXFNORDG                   
                   WU\LQJ         
          WUXH                  
                                    
                                 
                          
                             
                             
                               
WUDQVJHQ                             
                                     
WUDQVLWLRQ                            
                                     
WUDQVLWL                          
                                   
                             
WUDQVLWL    WUXO\                    
          WUXWK                  
                               
                                 
         WU\                         
WUDYHOHG                           
                              
WUHDW                           
                                   
                                   
                                   
WUHDWHG                               
                7U\RQ                
WUHDWPHQW                            
                             
WUHDWPHQWV                              
                               
WUHPHQGRXV                         
                             
                                  
WULDO                            
                                                        Armistead App. 0607
                                                             3DJH

                 XQGHUJUD     
                             
                         8QGHUPLQHV    XQIDLU 
                           
                         XQGHUQHDWK     
                                  
                              
                               
                                
                      XQGHUVLJQHG    
                                  
                          XQGHUVWDQG     
           WZRWLPH              
                           XQIRUWXQDWH
          W\SH                
                               
                            
        W\SHV           
         W\SLFDO             XQIRUWXQ
                             
           W\SLFDOO\              XQKDSS\
                                  
                            
                           XQLIRUP
                              
                            XQLTXH 
                                    XQLWHG 
                 8                   
    WU\RXWV       8                 
          86                 
                                
              8KKXK              
     7XHVGD\                   
        WXLWLRQ                      XQLYHUVH
                              
   WXUQ                      XQLYHUVL
                                  
                                 
                                
                                  
                XOWLPDWHO\              8QLYHUVLW\
                         
                        XQGHUVWD    
          XPSLUHV              
        WXUQHG                       
             XQFDULQJ             
       WZHDN                     XSGDWH 
    WZR       XQFRPIRU             XSSHU 
                             XSV 
                           XSVHW 
                                
          XQGHUJR                 86$ 
                  XQGHUVWRRG     
                                                        Armistead App. 0608
                                                             3DJH

XVH                              
                               
         YDULDQFH                     
                            
          YDULHG                  
          YDULHV              
                          
                             
         YDULHW\                
                              
                                   
867$                       
XVXDOO\        YDULRXV                        
                                 
               YDUVLW\                      
       9                           
Y                        
          YDU\               
9DOHQFLD       YHUEDOO\                      
                                  
9DOHULD     9HURII                     
                               
YDOLG                   
                          
9DOLGDWHG                           
                            
YDOXDEOH                          
                             
                               
                           
                       
                              
                            
                                
YDOXH                               
                                 
                          
                         
                           
                            YHUVD 
                          YHUVXV 
                         
                                 
YDOXHG                      
YDOXHV                               
                               YLDEOH 
YDOXLQJ                               YLFH 
                        YLGHR 
                                
YDULDELOLW\                          
                            YLGHRFRQ
                             
YDULDEOHV                         9,'(2*5$
                                                          Armistead App. 0609
                                                               3DJH

                            :DUUHQ
     YLHZ      ZDLWLQJ                  
                                     ZDVK 
                ZDLYHG           ZDVQ W 
              ZDNH               
                ZDON            
                           
               ZDONLQJ              
      YLHZV                     
                               
                   ZDOO               ZDWFKHG
     9LUJLQLD                    
           :DOOLQJ                 ZDWHU 
                             ZD\ 
                   ZDQW                
                             
                              
                                 
                               
                                
                                      
                            
                             
                              
                            
                            
                          ZDQWHG     
                                
                             
                              
                                    
     YLVDYLV                        
                                  
     YLVjYLV                         
                                    
        YLVLEOH                        
                           ZDQWLQJ         
       9LWDH                      
                               
9,'(27$3(     YLWDO                    
     YROOH\             ZDQWV       
       YROOH\EDOO                       
                            
                                   
        YV                            
         YXOQHUDEOH                     
                                
                                       
          :                            
        :                         
         ZDLW                         
9,'(27$3('                                 
                        ZDUPHU     
                                                         Armistead App. 0610
                                                              3DJH

                  ZLGH             
                              
ZH OO    ZHHNHQG                        
                                 
        ZHLJK     ZLOOLQJ               
                               
        ZHLJKLQJ                      
                   ZLQ             
         ZHLJKWHG                    
ZH UH                             
      ZHLJKWOL                   
                             
          ZHLUG                
        ZHOFRPH                   
                           
                             
                              
                            
                                  
                                 
        ZHOOEHLQJ                     
                                   
        ZHOOQHVV       ZLQGRZ            
                  ZLQQHUV                  
         ZHQW                  
                                      
         ZHUHQ W        ZLQQLQJ          
                               
         :HVW                      
                              
                             
                           
                                  
                                
                                 
                          
                                   
                                     
ZH YH                           
                          
                                  
                 ZLQV                
ZHDN              ZLVK          
ZHDU                               
:HDULQJ       ZKDWVRHYHU                        
                                 
ZHDWKHUPDQ    ZKLFKHYHU      ZLWKGUDZ                
                                     
ZHELQDU       :KLVHQDQW      ZLWQHVV          
                                   
ZHEVLWH       :KLWH                         
         :KRRSV                          
ZHHN                              
                                                         Armistead App. 0611
                                                              3DJH

                             
                               ZULWWHQ 
                                     
                                 
                            
                                 
               ZRUGLQJ                ZURQJ 
                                
                                   
                      ZRUULHG         
            ZRUGV            
                                   
                       ZRUU\    ZURWH 
                                 
                 ZRUN     ZRUVW     
                   ZRUWK     :9 
                               
     ZLWQHVVHV              ZRXOGQ W       :\DQW 
                       
                                         ;
        :RODQLQ                         ; 
                      
                                       <
       ZRPDQ                      \HDK 
     ZRPHQ                       
                                  
                                     
             ZRUNHG              
                                  
                                   
                                    
                 ZRUNHU               
                 ZRUNLQJ                 
                                    
     ZRPHQ V                    
                              
                                 
                                 
                                   
                                 
                   ZRZ        
           ZRUNV                
                                 
     ZRQ                 ZUDSSLQJ        
       ZRQGHULQJ                           
                                      
              ZRUOG     ZULWH       
       ZRUG                    
                               
                                
                                 
                        ZULWLQJ         
                                
                                                          Armistead App. 0612
                                                               3DJH

                                 
                                  
                           
                                
                                   
                                
                                   
        \HDUURXQG                       
                                 
                                     
         \HDUV                     
                               
                          
                                
                                
                                      
                                
                                   
                                    
                                 
                            
                                   
                              WK 
                                   
                              
                                 
        \HOOHG                               
                      =                  H
         <RUN      =RH           
        \RXQJ    ]RQHG          
               =RRP                 
                                     
                                    
                                         
                                 
                                      
                                     
                                
                                
                                     
                             V 
                                  
                                     
                             
                                  
                            
        \RXQJHU                       
\HDU                             
         \RXWK               V        
                              WK 
                      $ 
                        
                                          
                                                            Armistead App. 0613
                                                                 3DJH

                                 
                                              
                                       
                              
                              
                                        
&9                            
                                  WK 
                          
                                    
                                
                                    
                                    
                               V         
                                  
                                  
                                   
                                   
                                  
                                WK 
                        
                         
                
                               
                  
                           
                            
                            
                         
                         V 
                     
                          
                               
                               
                  
V                              
WK                         
                       
                        
                              
                            
                  
                                    
                          
                        
                              
                      
                             
                        
                         
        WK                  
                        
                                                
 
                                                 Armistead App. 0614

                                                          3DJH
,17+(81,7('67$7(6',675,&7&2857

)257+(6287+(51',675,&72):(679,5*,1,$

     

%3-E\KHUQH[WIULHQGDQG

PRWKHU+($7+(5-$&.621

3ODLQWLIIV &DVH1R

YV &9

:(679,5*,1,$67$7(%2$5'2)

('8&$7,21+$55,621&2817<%2$5'2)

('8&$7,21:(679,5*,1,$6(&21'$5<

6&+22/$&7,9,7,(6&200,66,21:

&/$<721%85&+LQKLVRIILFLDO

FDSDFLW\DV6WDWH6XSHULQWHQGHQW

DQG'25$6787/(5LQKHURIILFLDO

FDSDFLW\DV+DUULVRQ&RXQW\

6XSHULQWHQGHQW3$75,&.0255,6(<LQ



9,'(27$3(''(326,7,212)

-26+8$6$)(50'

0DUFK



$Q\UHSURGXFWLRQRIWKLVWUDQVFULSW

LVSURKLELWHGZLWKRXWDXWKRUL]DWLRQ

E\WKHFHUWLI\LQJDJHQF\
                                                                                                 Armistead App. 0615
                                                  3DJH                                                     3DJH
     KLVRIILFLDOFDSDFLW\DV$WWRUQH\                          $33($5$1&(6
     *HQHUDODQG7+(67$7(2):(67                       
     9,5*,1,$                          -26+8$%/2&.(648,5(
     'HIHQGDQWV                          $PHULFDQ&LYLO/LEHUWLHV8QLRQ)RXQGDWLRQ
                                  %URDG6WUHHW
                                                                  1HZ<RUN1<
     9,'(27$3(''(326,7,212)                     &2816(/)253/$,17,))
     -26+8$6$)(50'                     
     0DUFK                          .$7+/((15+$571(77(648,5(
                                                                $1'5(:%$55(648,5(
                                                                -8/,(9(52))(648,5(
                                                                =2(+(/67520(648,5(
                                                                .$7(/<1.$1*(648,5(
                                                                &RROH\//3
                                                                (PEDUFDGHUR&HQWHU
                                                                WK)ORRU
                                                                6DQ)UDQFLVFR&$
                                                                &2816(/6)253/$,17,))
                                                             
                                                             
                                                             
                                                             
                                                             
                                                             


                                                  3DJH                                                     3DJH
    9,'(27$3(''(326,7,21                       $33($5$1&(6 FRQW G
    2)                             
    -26+8$6$)(50'WDNHQRQEHKDOIRIWKH,QWHUYHQRU         6587,6:$0,1$7+$1(648,5(
    KHUHLQSXUVXDQWWRWKH5XOHVRI&LYLO3URFHGXUHWDNHQ       /DPEGD/HJDO
    EHIRUHPHWKHXQGHUVLJQHG1LFROH0RQWDJDQRD&RXUW         :DOO6WUHHW
    5HSRUWHUDQG1RWDU\3XEOLFLQDQGIRUWKH&RPPRQZHDOWK        WK)ORRU
    RI3HQQV\OYDQLDWDNHQYLDYLGHRFRQIHUHQFHRQ                1HZ<RUN1<
    :HGQHVGD\0DUFKDWDP                        &2816(/)253/$,17,))
                                                              
                                                                '$9,'75<21(648,5(
                                                                6WDWH&DSLWRO&RPSOH[
                                                                %XLOGLQJ5RRP(
                                                                &KDUOHVWRQ:9
                                                                &2816(/)2567$7(2):(679,5*,1,$
                                                             
                                                                52%(57$)*5((1(648,5(
                                                                6KXPDQ0F&XVNH\6OLFHU3//&
                                                                9LUJLQLD6WUHHW(DVW
                                                                6XLWH
                                                                &KDUOHVWRQ:9
                                                                &2816(/)25:(679,5*,1,$6(&21'$5<6&+22/
                                                                $&7,9,7,(6&200,66,21
                                                             
                                                             



                                                                                             3DJHVWR
                                                                                                         Armistead App. 0616
                                                    3DJH                                                         3DJH
    $33($5$1&(6 FRQW G                   ,1'(;
                                                              
    686$1'(1,.(5(648,5(                                       ',6&866,21$021*3$57,(6
    6WHSWRH -RKQVRQ                                            :,71(66-26+8$6$)(50'
    :KLWH2DNV%RXOHYDUG                                     (;$0,1$7,21
    %ULGJHSRUW:9                                        %\$WWRUQH\%URRNV
    &2816(/)25+$55,621&2817<%2$5'2)('8&$7,21DQG       (;$0,1$7,21
    +$55,621&2817<683(5,17(1'(17'25$6787/(5              %\$WWRUQH\7U\RQ
                                                                 ',6&866,21$021*3$57,(6
   .(//<&025*$1(648,5(                                    &(57,),&$7(
   %DLOH\:\DQW                                             
   9LUJLQLD6WUHHW(DVW                                 
   6XLWH                                                
   &KDUOHVWRQ:9                                    
   &2816(/)25:(679,5*,1,$%2$5'2)('8&$7,21DQG     
   683(5,17(1'$17:&/$<721%85&+                      
                                                            
                                                            
                                                            
                                                            
                                                            
                                                            
                                                            
                                                            


                                                    3DJH                                                         3DJH
      $33($5$1&(6 FRQW G                 (;+,%,73$*(
                                                              
      52*(5%522.6(648,5(                                      3$*(
      /$85(1&(:,/.,1621(648,5(                                180%(5,'(17,),&$7,21,'(17,),('
      &+5,67,$1$+2/&20%(648,5(                                5HSRUWRI'U6DIHU
      -2+1$7+$16&58**6(648,5(                                 5HEXWWDO5HSRUWRI'U6DIHU
      $OOLDQFH'HIHQGLQJ)UHHGRP                                 )DLUQHVVIRU7UDQVJHQGHU3HRSOHLQ
      1RUWKWK6WUHHW                                    6SRUW$UWLFOH
      6FRWWVGDOH$=                                      3URIHVVRU+DQGHOVPDQ$UWLFOH
     &2816(/)25,17(59(125/$,1(<$50,67($'              &RXUWRI$UELWUDWLRQIRU6SRUW'HFLVLRQ
                                                               'HFODUWLRQRI'U6DIHU
                                                               7UDQVJHQGHU:RPHQLQD)HPDOH&DWHJRU\
                                                               2I6SRUW
                                                               (QGRFULQH6RFLHW\*XLGHOLQHV
                                                               &DUHRIWKH7UDQVJHQGHU3DWLHQW$UWLFOH
                                                               5REHUWVHWDO$UWLFOH
                                                               5DFH7LPHVIRU7UDQVJHQGHU
                                                               $WKOHWHV$UWLFOH
                                                               -RDQQD+DUSHU$UWLFOH
                                                               'U5REHUWV$UWLFOH
                                                               *XLGDQFH:LWK7UDQVJHQGHU,QFOXVLRQLQ
                                                               'RPHVWLF6SRUW
                                                               'U6DIHU$UWLFOH
                                                            



                                                                                                        3DJHVWR
                                                                                                          Armistead App. 0617
                                                             3DJH                                                     3DJH
    (;+,%,73$*(                                    67,38/$7,21
                                                                          
    3$*(                   ,WLVKHUHE\VWLSXODWHGDQGDJUHHGE\DQGEHWZHHQ
    180%(5,'(17,),&$7,21,'(17,),('               FRXQVHOIRUWKHUHVSHFWLYHSDUWLHVWKDWUHDGLQJ
    $UXQD6DZDVZDW$UWLFOH                   VLJQLQJVHDOLQJFHUWLILFDWLRQDQGILOLQJDUHQRWQRW
    3DSHUE\3URIHVVRU+HLQR                                 ZDLYHG
    0H\HU%DKOEXUJ                   
    3DSHUE\'RFWRU5HLQHU                   352&((',1*6
    $UWLFOH                   
                                                                        05%$%:$+0\QDPHLV%UDQGRQ%DEZDK
                                                                        , PDQRWDU\SXEOLFRXWRIWKH6WDWHRI1HZ<RUN
                                                                        9,'(2*5$3+(5:HDUHQRZRQWKHUHFRUG
                                                                        0\QDPHLV-DFRE6WRFN, PD&HUWLILHG/HJDO9LGHR
                                                                        6SHFLDOLVWHPSOR\HGE\6DUJHQW V&RXUW5HSRUWLQJ
                                                                        6HUYLFHV7KHGDWHWRGD\LV0DUFKWK7KH
                                                                        FXUUHQWWLPHRQWKHYLGHRPRQLWRUUHDGVDP
                                                                        (DVWHUQ6WDQGDUG7LPH7KLVGHSRVLWLRQLVWDNHQ
                                                                        UHPRWHO\E\YLGHRFRQIHUHQFH7KHFDSWLRQRIWKLVFDVH
                                                                        LVWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH6RXWKHUQ
                                                                        'LVWULFWRI:HVW9LUJLQLDDW&KDUOHVWRQ%3-HWDO
                                                                        YHUVXV:HVW9LUJLQLD6WDWHRI%RDUGRI(GXFDWLRQHW
                                                                        DO&LYLO$FWLRQ1RFY7KHQDPHRIWKH
                                                                        ZLWQHVVLV-RVKXD6DIHU:LOOWKHDWWRUQH\VSUHVHQW
                                                                        VWDWHWKHLUQDPHVDQGWKHSDUWLHVWKH\UHSUHVHQW"


                                                             3DJH                                                     3DJH
     2%-(&7,213$*(                                  $77251(<%522.65RJHU%URRNVIRUWKH
                                                                          ,QWHUYHQRU/DLQH\$UPLVWHDGLQWKHURRPLQWKH
     $77251(<3$*(               FRQIHUHQFHURRPZLWKWKHZLWQHVV:LWKPHLVP\
     %ORFN             FROOHDJXH/DZUHQFH:LONHUVRQ
                   $77251(<+2/&20%&KULVWLDQD+ROFRPEIRU
                   WKH,QWHUYHQRU
                   $77251(<75<217KLVLV'DYLG7U\RQ
                   UHSUHVHQWLQJWKH6WDWHRI:HVW9LUJLQLD, PZLWKWKH
                   $WWRUQH\*HQHUDO V2IILFH
                 $77251(<025*$17KLVLV.HOO\0RUJDQRQ
                  EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
                  6XSHULQWHQGHQW%XUFK
                  $77251(<'(1,.(5*RRGPRUQLQJ6XVDQ
                  'HQLNHUUHSUHVHQWLQJ+DUULVRQ&RXQW\%RDUGRI(GXFDWLRQ
                  DQG6XSHULQWHQGHQW'RUD6WXWOHU
                  $77251(<*5((15REHUWD*UHHQKHUHRQ
                  EHKDOIRI:HVW9LUJLQLD6HFRQGDU\6FKRRO$FWLYLWLHV
                  &RPPLVVLRQ
                  $77251(<%/2&.)RUWKH3ODLQWLIILQWKH
                  URRPLV-RVK%ORFNIURPWKH$&/8
                  $77251(<6:$0,1$7+$1$QG\RXKDYH6UXWL
                                  6ZDPLQDWKDQIURP/DPEGD/HJDO
                                                                        $77251(<+$571(77*RRGPRUQLQJ7KLV
    %URRNV                LV.DWKOHHQ+DUWQHWWIURP&RROH\IRUWKH3ODLQWLII



                                                                                                  3DJHVWR
                                                                                                             Armistead App. 0618
                                                               3DJH                                                     3DJH
    $77251(<%$557KLVLV$QGUHZ%DUUIURP                 $77251(<:,/.,16217DE
    &ROH\IRU3ODLQWLII                                                    
    $77251(<.$1**RRGPRUQLQJ7KLVLV                    :KHUHXSRQ([KLELW)DLUQHVVIRU
    .DWHO\Q.DQJIURP&RROH\IRUWKH3ODLQWLII                             7UDQVJHQGHU3HRSOHLQ6SRUWV$UWLFOHZDV
    $77251(<+(/67520+HOOR7KLVLV=RH                  PDUNHGIRULGHQWLILFDWLRQ
    +HOVWURPIURP&RROH\IRU3ODLQWLII                                     
    9,'(2*5$3+(5$QGLIWKDW VHYHU\RQH                   $77251(<%522.6$QGWKHFRXUWUHSRUWHU
    PD\,DVNWKHQRWDU\WRVZHDULQWKHZLWQHVV"                           ZLOOKDQGWKHVWDPSHGFRS\WRWKHZLWQHVVDP,FRUUHFW"
                                              %<$77251(<%522.6
   -26+8$6$)(50'                                 4$QG'RFWRU6DIHU,ZLOODVN\RXTXHVWLRQVLI
   &$//('$6$:,71(66,17+()2//2:,1*352&((',1*$1'                   \RXJRDERXW\RXUH[SHUWUHSRUWVEXWOHWPHDVN\RXQRZ
   +$9,1*),567%((1'8/<6:251%<$127$5<38%/,&                       WRIRFXV\RXUDWWHQWLRQRQ([KLELW1XPEHU$P,ULJKW
   7(67,),('$1'6$,'$6)2//2:6                                         WKDWWKLVLVDQDUWLFOHWKDW\RXKDYHMXVWYHU\UHFHQWO\
                                            SXEOLVKHG"
   9,'(2*5$3+(50D\,DOVRDVNWKHQRWDU\                $<HV
   WRLGHQWLI\KLPVHOIIRUWKHUHFRUGDVZHOO"                            4:KHQGLGWKLVFRPHRXW"
   127$5<0\QDPHLV%UDQGRQ%DEZDK                     $7KLVFDPHRXWZLWKLQWKHSDVWIHZZHHNV,WKLQN
   9,'(2*5$3+(5$QGDWWKLVWLPHWKH                     4$QGWKLVLVQRWDUHFRUGLQJRIWKHRULJLQDO
   QRWDU\PD\EHGLVPLVVHGDQGZHFDQEHJLQ                              UHVHDUFK7KLVLVDWZRSDJHSLHFHVLPSO\H[SODLQLQJ
   $77251(<%522.67KDQN\RX$QGWKDQN                 FXUUHQWLVVXHVWRWKHUHDGHUVKLSRIWKLVMRXUQDO"
   \RXDOOIRUPDNLQJDOOWKLVFRPSOLFDWHGVWXIIZRUN                    $77251(<%/2&.2EMHFWLRQWRIRUP
                                            7+(:,71(666RWKLVLVQRWRULJLQDO
   (;$0,1$7,21                                     UHVHDUFKWKDW VFRUUHFW
                                            $77251(<%522.67KDQN\RX


                                                               3DJH                                                     3DJH
       %<$77251(<%522.6                                                  %<$77251(<%522.6
       4'RFWRU6DIHUJRRGPRUQLQJ,ZDQWWRILUVWSXW            4+RZZRXOG\RXGHVFULEHWKHSXUSRVHRIWKLV
       LQIURQWRI\RX\RXUH[SHUWUHSRUWDQG\RXUUHEXWWDO                 DUWLFOH"
       UHSRUWVRWKDW\RXKDYHWKRVHLIDWDQ\SRLQW\RXZDQW               $7KHSXUSRVHRIWKLVDUWLFOHLVWRHGXFDWH
       WRUHIHUWRWKHP,WORRNVIRUFRQYHQLHQFHOHW V                HQGRFULQRORJLVWVIUDPHWKHLVVXHVDQGDOVRVHUYHVDELW
       PDUNWKRVHDV([KLELWDQGIRUWKHGHSRVLWLRQ                    DVDFKDUJHWRHQGRFULQRORJLVWVLQWHUPVRIZRUNWKDW
       $77251(<75<215RJHURQHPRPHQW, P              QHHGVWREHGRQH
       ORRNLQJDWWKHUHDOWLPHDQGLW VUHFRUGLQJ\RXDV                   47KDQN\RX,I\RXORRNDWWKHILUVWFROXPQRI
       $WWRUQH\&DSHKDUW6R,GRQ WNQRZLIWKDWQHHGVWREH              WKHILUVWSDJHLQWKHWKLUGSDUDJUDSK\RXZLOOVHHLW
      FRUUHFWHGQRZ$QGLW VVKRZLQJPHDV$WWRUQH\                     EHJLQVDSRVVLEOHWHQVLRQH[LVWVEHFDXVHRIWKH
      +DUWQHWW                                                           REVHUYDWLRQWKDWRQDYHUDJHFLVJHQGHUER\VDQGPHQKDYH
      $77251(<%522.66KHZLOOJHWWKDWIL[HG            EHWWHUSHUIRUPDQFHRXWFRPHVLQDWKOHWLFVWKDQGR
      DQGWKHUHFRUGZLOOEHFRUUHFW                                     FLVJHQGHUJLUOVDQGZRPHQ'R\RXVHHWKDWODQJXDJH"
      $77251(<75<212ND\                               $,GR
                                            4$QG\RXDUHUHIHUULQJWKHUHWRWKHJHQHUDO
       :KHUHXSRQ([KLELW5HSRUWRI'U6DIHU             REVHUYDWLRQWKDWQDWDOPDOHVKDYHEHWWHUDYHUDJH
      ZDVPDUNHGIRULGHQWLILFDWLRQ                          DWKOHWLFSHUIRUPDQFHWKDQQDWDOIHPDOHVLQDYDULHW\RI
       :KHUHXSRQ([KLELW5HEXWWDO5HSRUWRI               PHDVXUHV
      'U6DIHUZDVPDUNHGIRULGHQWLILFDWLRQ               &RUUHFW"
                                            $77251(<%/2&.2EMHFWLRQWRIRUP
      $77251(<%522.6$QGDWWKHPRPHQW, P              7+(:,71(666R,JXHVV,QHHGWREH
      KDQGLQJFRSLHVWRWKHZLWQHVV$QG,ZRXOGOLNHWRPDUN            PRUHVSHFLILFRU,FDQFODULI\
      DV6DIHU([KLELWDVKRUWDUWLFOHHQWLWOHG)DLUQHVVIRU            %<$77251(<%522.6
      7UDQVJHQGHU3HRSOHLQ6SRUWE\-RVKXD6DIHU                        4,I\RXZRXOGEHPRUHVSHFLILF


                                                                                                    3DJHVWR
                                                                                                        Armistead App. 0619
                                                   3DJH                                                             3DJH
    $6RFLVJHQGHUPHQDWDFHUWDLQDJHKDYHEHWWHU          IHPDOHFDWHJRU\
    VSRUWVRXWFRPHVWKDQFLVJHQGHUZRPHQ                           %<$77251(<%522.6
    4%XW\RXZURWHLQWKLVMXVWSXEOLVKHGDUWLFOH           4$QGRQHUHDVRQLVWRJLYHFLVJHQGHUJLUOVDQG
    WKDWFLVJHQGHUER\VDQGPHQKDYHEHWWHUSHUIRUPDQFH             ZRPHQDQRSSRUWXQLW\WRTXRWHUHOLDEO\ZLQHYHQWV
    RXWFRPHVWKDQWKHFLVJHQGHUJLUOVDQGZRPHQ                    &RUUHFW"
    &RUUHFW"                                               $77251(<%/2&.2EMHFWLRQ
    $7KDWLVFRUUHFW                                       &28575(3257(5, PVRUU\&RXQVHO,
    4$QGZKDWGLG\RXPHDQLQWKDWVWDWHPHQWE\\RXU        FDQ WKHDU\RX
    UHIHUHQFHWRER\VDQGJLUOV"                                    %<$77251(<%522.6
   $%R\VDQGJLUOVZKRDUHEDVLFDOO\LWGHSHQGV      42QHUHDVRQDFFRUGLQJWRZKDW\RX YHZULWWHQLQ
   LW VFRQWH[W,JXHVV6RER\VDQGJLUOVZKRDUH               WKLVDUWLFOHWKDWWKHUHKDYHEHHQDFDUYHRXWLQD
   GHYHORSHGWRWKDWSRLQW                                       VHSDUDWHIHPDOHGLYLVLRQLVWRSURYLGHJLUOVDQGZRPHQ
   46RWKRVHZKDW\RXKDGLQPLQGDUHER\VDQG        ZLWKRSSRUWXQLWLHVWRTXRWHUHOLDEO\ZLQHYHQWV
   JLUOVRQFHWKHSXEHUW\SURFHVVEHJLQVLQPDOHVLQ             FORVHGTXRWH
   SDUWLFXODU"                                                    &RUUHFW"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $6R,JXHVVWKHZD\,ZRXOGVD\LWLVLIZHDUH
   7+(:,71(66<HV,JXHVV,ZRXOGVD\          JRLQJWREHUHDOO\FDUHIXOZLWKWKHODQJXDJHKHUHWKDW
   WKDWZKDWZHNQRZLVZKDWLVWRZDUGVWKHHQGRISXEHUW\        LWZRXOGEHRQDYHUDJHWRUHOLDEO\ZLQHYHQWVWKDWLV
   DQGVXEVHTXHQWGHYHORSPHQWEH\RQGSXEHUW\                     \HDK,ZLOOOHDYHLWDWWKDW
   %<$77251(<%522.6                                            4&HUWDLQO\QRWHYHU\JLUODQGZRPHQLVJRLQJWR
   4<RXVD\LQWKHQH[WVHQWHQFHZHOOOHWPH         ZLQHYHQWVDV,NQRZDVDPDOHZKRQHYHUZRQDQHYHQW"
   MXVWFODULI\\RXDFFHSWDVDVFLHQWLILFIDFWWKH              $([DFWO\
   JHQHUDOREVHUYDWLRQWKDWRQDYHUDJHER\VDQGPHQ            4$QGDQRWKHUUHDVRQDFFRUGLQJWRWKLVVHQWHQFH
   GHILQLQJER\VDV\RXMXVWGLGKDYHVLJQLILFDQWO\              WKDW\RXZURWHIRUKDYLQJDVHSDUDWHFDWHJRU\IRUJLUOV


                                                   3DJH                                                             3DJH
    VWURQJHUDWKOHWLFSHUIRUPDQFHLQDYDULHW\RIPHWULFV           DQGZRPHQLVVRWKDWWKH\FDQTXRWHVDIHO\FRPSHWH
    WKDQJLUOVDQGZRPHQDV\RXMXVWGHILQHGJLUOVFRUUHFW"        &RUUHFW"
    $77251(<%/2&.2EMHFWLRQWRIRUP              $7KHZRUGVDIHO\LQWKDWFRQWH[WLVNLQGRI
    7+(:,71(666R,JXHVVKRZ,ZRXOGVD\         DFFHQWXDWHVUHOLDEO\
    WKDWLV,DFFHSWDVIDFWWKDWPHQDQGER\VZKRDUH              4$QG\RXZURWHLQWKHQH[WVHQWHQFHWKDWTXRWH
    DSSURSULDWHO\GHYHORSHGKDYH\HDKKDYHEDGSHUIRUPDQFH        WKHIHPDOHRQO\GLYLVLRQVDUHDPDMRUIDFWRUWR
    RXWFRPHVLQFHUWDLQVSRUWVWKDQGRFLVJHQGHUZRPHQDQG          HQFRXUDJHJUHDWHUSDUWLFLSDWLRQRIJLUOVDQGZRPHQLQ
    FLVJHQGHUJLUOVDJDLQDSSURSULDWHO\GHYHORSHG                  VSRUWVZLWKDJRDORIHTXDOSDUWLFLSDWLRQUDWHV
    %<$77251(<%522.6                                             'R\RXVHHWKDWODQJXDJH"
   4$QGWKHQH[WVHQWHQFHUHDGVWKHSHUIRUPDQFH           $,GR
   GLIIHUHQFHKDVUHVXOWHGLQWKHHVWDEOLVKPHQWRIIHPDOH         4$QGFDQ\RXH[SODLQWRPHZKDW\RXXQGHUVWDQGRU
   RQO\GLYLVLRQVIRUVSRUWSDUWLFLSDWLRQIRUJLUOVDQG           ZKDW\RXZHUHWU\LQJWRH[SODLQDVWKHUHODWLRQVKLS
   ZRPHQDQGVDIHO\FRPSHWHLQWKHOLYHHYHQWVFORVHG            EHWZHHQKDYLQJDVHSDUDWHIHPDOHFDWHJRU\RQWKHRQH
   TXRWH'R\RXVHHWKDWODQJXDJH"                              KDQGDQGHQFRXUDJLQJJUHDWHUSDUWLFLSDWLRQE\ZRPHQDQG
   $,GR                                                 JLUOVRQWKHRWKHU"
   4$QGWKHUH\RXZHUHDP,FRUUHFWH[SODLQLQJWKH      $6RPHRIWKHJRDOVRIWKHSHRSOHZKRDUHLQVSRUW
   UHODWLRQVKLSRI\RXUREVHUYDWLRQDERXWPDOHSHUIRUPDQFH        ZKRRUJDQL]HVSRUWDUHWRJHWDVKLJKIUDFWLRQVRIWKH
   ZLWKWKHH[LVWHQFHLQRXUVRFLHW\RIVH[VHSDUDWHG             SRSXODWLRQWRSDUWLFLSDWHDVFDQEHHQFRXUDJHGWRGRVR
   VSRUWV                                                        IRUVKHHUKHDOWKRIWKRVHLQGLYLGXDOVDQGWKHQRI
   &RUUHFW"                                           HYHU\ERG\$QGVRWKHSXUSRVHRIWKHFDUYHRXWWKHQLQ
   $77251(<%/2&.2EMHFWLRQWRIRUP             WKHVHFLUFXPVWDQFHVLVWRHQFRXUDJHJLUOVDQGZRPHQWR
   7+(:,71(666R,JXHVV,ZRXOG            SDUWLFLSDWHLQODUJHUQXPEHUVWKDQWKH\PLJKWRWKHUZLVH
   WKLQNWKHZD\,ZRXOGVD\LWP\VHOILVWKLVLVD           4$QGGR\RXKDYHDQRSLQLRQGR\RXKDYHDQ
   WKLVLVWKHUHDVRQZK\ZHKDYHWKHFDUYHRXWIRUWKH           H[SHUWRSLQLRQDVWRZKHWKHUWKHH[LVWHQFHRIVHSDUDWH



                                                                                              3DJHVWR
                                                                                                     Armistead App. 0620
                                                   3DJH                                                          3DJH
    FDWHJRULHVIRUIHPDOHVSRUWVKDVLQIDFWEHHQDTXRWH         LQWHUYHQWLRQVDSSURSULDWHWRJHQGHULGHQWLW\+DYH,
    PDMRUIDFWRULQHQFRXUDJLQJJUHDWHUSDUWLFLSDWLRQE\            UHDGWKDWFRUUHFWO\"
    ZRPHQDQGJLUOVLQVSRUW"                                       $<HV
    $,GRQ WKDYHDQH[SHUWRSLQLRQ                        4$QGLVLWFRQVLVWHQWZLWK\RXUH[SHULHQFHWKDW
    4<RXGRQ WNQRZZKHWKHUWKDWLVREMHFWLYHO\WUXH        PRVWQDWDOPDOHVZKRVHHNZKDW\RXUHIHUWRDVJHQGHU
    RUQRW"                                                         FRQILUPLQJWUHDWPHQWGRVRDIWHUH[SHULHQFLQJDWOHDVW
    $77251(<%/2&.2EMHFWLRQWRIRUP              PRVWRIWKHRUGLQDU\PDOHSXEHUW\"
    7+(:,71(66,GRQ WULJKW,FDQ W         $77251(<%/2&.2EMHFWLRQWRIRUP
    VWDWHDVDQH[SHUWRQWKHGHWDLOVRIWKDWVXEMHFW              7+(:,71(66<HV6RMXVWWHUPLQRORJ\
   WKDW VULJKW                                                  MXVWWREHFOHDUVRSHRSOHZKRDUHUHFRUGHGPDOHDW
   %<$77251(<%522.6                                            ELUWKZKRDUHORRNLQJIRUJHQGHUDIILUPLQJLVWKHWHUP
   42QWKHVHFRQGFROXPQLQWKHWKHILUVWIXOO       EXWJHQGHUFRQILUPLQJLVILQH$QGVRUU\WKHTXHVWLRQ
   VHQWHQFHEHJLQVPDQ\KRUPRQHUHODWHG'R\RXVHHWKDW"        WKHUH"
   $<HV,GR                                            %<$77251(<%522.6
   4/HWPHUHDGWKDWVHQWHQFHLQWRWKHUHFRUG            4,ZLOODVNLWDJDLQ,VLWFRQVLVWHQWZLWK\RXU
   4XRWHPDQ\KRUPRQHUHODWHGSK\VLFDOFKDUDFWHULVWLFV           SHUVRQDOH[SHULHQFHWKDWPRVWQDWDOPDOHVZKRVHHN
   DFTXLUHGGXULQJSXEHUW\DUHQRWUHYHUVHGLIKRUPRQH            JHQGHUDIILUPLQJWUHDWPHQWSUHVHQWDIWHUXQGHUJRLQJDW
   OHYHOVDUHFKDQJHGODWHULQOLIH&DQ\RXWHOOXVZKDW        OHDVWPRVWRIDQDWXUDOPDOHSXEHUW\"
   SK\VLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKW\SLFDOPDOH          $77251(<%/2&.6DPHREMHFWLRQWR
   GHYHORSPHQWDUHLQ\RXURSLQLRQQRWUHYHUVHGLIKRUPRQH        WHUPLQRORJ\
   OHYHOVDUHFKDQJHGODWHULQOLIH"                              7+(:,71(66<HV6RPRVWWUDQVJHQGHU
   $$JDLQVR,GRQ WNQRZWKDW,ZRXOGRIIWKHWRS       ZRPHQZKRFRPHVHHNLQJPHGLFDOWUHDWPHQWKDYHJRQH
   RIP\KHDGJLYHDQH[KDXVWLYHOLVWEXWDFODVVLFZRXOG         WKURXJKDW\SLFDOPDOHSXEHUW\WKDWLVFRUUHFWULJKW
   EHKHLJKW                                                     QRZ


                                                   3DJH                                                          3DJH
    4:RXOG\RX,XQGHUVWDQG\RXUOLVWPD\QRWEH        %<$77251(<%522.6
    H[KDXVWLYHEXWOHWPHDVN\RXWRWHOOXVDOOWKH               4$QGLQ\RXUFOLQLFPRVWRIWKHPKDYHJRQH
    H[DPSOHVDV\RX UHDEOHWRVLWKHUHWKLQNLQJWRGD\RI           WKURXJKZKDW\RXZRXOGFRQVLGHUWREHDFRPSOHWHPDOH
    SK\VLFDOFKDUDFWHULVWLFVDFTXLUHGGXULQJPDOHSXEHUW\           SXEHUW\SURFHVV"
    WKDWDUHQRWUHYHUVHGLIKRUPRQHOHYHOVDUHFKDQJHG             $,FDQ WDQVZHUWKDWFRPSOHWHO\EHFDXVHZHGHILQH
    ODWHULQOLIH                                                  SXEHUW\LQWKLVQDUURZZD\ZLWKWKH7DQQHUVWDJHVEXW
    $77251(<%/2&.2EMHFWLRQWRIRUP              WKHQSHRSOHFRQWLQXHWRKDYHGHYHORSPHQWHYHQEH\RQG
    7+(:,71(66,GRQ WNQRZWKDW,FRXOG          WKDWWRDVLJQLILFDQWGHJUHH
    ,GRQ WNQRZWKDW,ZRXOGZDQWWRDFFLGHQWDOO\JR           4%XWWKH\KDYHH[SHULHQFHGLQ\RXUSURIHVVLRQDO
   GRZQWKDWSDWKDQGFRQMHFWXUHWRRPXFKEXWLI, P             H[SHULHQFHDWOHDVWWKHEXONRIWKHSXEHUWDOFKDQJHV"
   H[SDQGLQJDELWRQKHLJKWDQGWKLQNLQJDERXWERQH              $<HV,PHDQWKH,JXHVVWKHZD\,ZRXOG
   FKDUDFWHULVWLFVHVSHFLDOO\WKHUHPLJKWEHPRGHVWFKDQJH       VD\LWLVLVWKDWPRVWRIWKHWUDQVJHQGHUZRPHQZKRDUH
   EXWVLJQLILFDQWUHVLGXDOERQHZRXOGEHWKHELJJHVW             FRPLQJRUHYHQJLUOVZKRDUHFRPLQJIRUPHGLFDO
   H[DPSOH$QGVRPHRWKHUHOHPHQWV,FDQ WHYHQVD\,       DWWHQWLRQKDYHJRQHWKURXJKWKHFODVVLF7DQQHUVWDJHVRI
   ZDVDERXWWRVD\DELWSURSRUWLRQDOEXWLW VPRUH             SXEHUW\WKURXJK7DQQHUILYHZKLFKLVWKHODVWRQHE\
   FRPSOLFDWHGWKDQWKDWVRRWKHURWKHUWLVVXHVSDUWO\       WKHWLPHWKH\KDYHGHWHUPLQHGWKDWWKH\ UHLQWHUHVWHGLQ
   LQIOXHQFHGE\WKDWIDFW                                       JHQGHUDIILUPLQJWUHDWPHQW\HV
   %<$77251(<%522.6                                            4$QGOHW VJREDFNWRWKHYHU\ILUVWSDUDJUDSKRI
   4,IZHMXPSGRZQWRWKHQH[WSDUDJUDSKLWEHJLQV      \RXUDUWLFOHLQZKLFK\RXPHQWLRQDERXWILYHOLQHVGRZQ
   TXRWHWKHTXHVWLRQVDULVHPRVWZLWKWUDQVJHQGHUZRPHQ         TXRWHFRQFHUQIRUSRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHV
   ZKREHJDQKRUPRQHWUHDWPHQWDIWHUSXEHUW\$QGWKHQLW        IURPDKLVWRU\RIW\SLFDOPDOHSXEHUW\FORVHGTXRWH
   FRQWLQXHVTXRWHWKHVLWXDWLRQLQFOXGHVPRVW                  'R\RXVHHWKDWODQJXDJH"
   WUDQVIHPLQLQHSHRSOHEHFDXVHLWLVPRVWFRPPRQWR              $/HWPHILQGLW:KHUHLVLW"
   XQGHUJRHQGRJHQRXVSXEHUW\SULRUWRVHHNLQJPHGLFDO            4,W VDERXWILYHOLQHVGRZQRQWKHYHU\ILUVW


                                                                                             3DJHVWR
                                                                                                    Armistead App. 0621
                                                   3DJH                                                         3DJH
    SDUDJUDSKRIWKHDUWLFOH                                      RWKHUFRQVLGHUDWLRQVRIIDLUQHVVRILQFOXVLRQWKDWLV
    $2KWKHPLGGOHRIWKHVHQWHQFHH[DFWO\              QRW\RXUH[SHUWLVHLVZKDW\RXDUHWHOOLQJPH"
    4$QGVRLQ\RXURSLQLRQLWLVFRQFHUQIRU             $7KDWLVULJKWWKDWLVQRWP\H[SHUWLVH
    SRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHVIURPDKLVWRU\RI        4,IZHJRWRSDJHWZRLQWKHILUVWFROXPQWKH
    W\SLFDOPDOHSXEHUW\WKDWGULYHVDJUHDWGHDORIFRQFHUQ       VHFRQGIXOOSDUDJUDSKEHJLQVEHFDXVHWHVWRVWHURQH'R
    DERXWKRZWRDGGUHVVLQFOXVLRQRIQDWDOPDOHVZKR              \RXVHHWKDWSDUDJUDSK"
    H[SHULHQFHDIHPDOHJHQGHULGHQWLW\LQIHPDOHDWKOHWLFV       $,GR
    $P,FRUUHFW"                                         4$QG\RXGLVFXVVWKHUH:RUOG$WKOHWLF
    $77251(<%/2&.2EMHFWLRQWRIRUP             UHTXLUHPHQWVWKDWLVWKHIRUPHU,$$),EHOLHYH\RXMXVW
   7+(:,71(666RWKHFRQFHUQDERXWWKH         WHVWLILHG"
   UHVLGXDOLPSDFWRIWHVWRVWHURQHGXULQJSXEHUW\IRU            $<HV
   WUDQVJHQGHUZRPHQZKRZHQWWKURXJKDW\SLFDOPDOH             4$QGWKH:RUOG$WKOHWLFVKDVDGRSWHGD
   SXEHUW\LVWKHVRXUFHRIULJKWLVDVRXUFHRI            UHTXLUHPHQWWRVXSSUHVVWHVWHURQH VLF WRILYH
   WHQVLRQDWDPHGLFDOVHQVLWLYHOHYHO\HV                    QDQRPRODUSHUOLWHUWHVWRVWHURQH
   %<$77251(<%522.6                                           &RUUHFW"
   4$QGWKDW VDQLVVXHWKDWIRULQVWDQFH\RX          $:RUOG$WKOHWLFVWKUHVKROGLVILYHQDQRPRODUSHU
   HQJDJHLQH[WHQVLYHGLVFXVVLRQVDERXWLQFRQQHFWLRQZLWK      OLWHUIRUWKRVHVSRUWVZKHUHWKH\KDYHDWKUHVKROG
   \RXUVHUYLFHRQWKHFRPPLWWHHIRUWKH,$$)                   7KDW VULJKW\HV
   $P,FRUUHFW"                                        4$QGDWOHDVWIRUPDOO\WKH,QWHUQDWLRQDO2O\PSLF
   $6RWKHULJKWWKHFRQYHUVDWLRQDW:RUOG          &RPPLWWHHKDGDWHQQDQRPRODUWKUHVKROGDVSDUWRIZKDW
   $WKOHWLFVQRZEXWIRUPHUO\,$$)KDVGHDOWDQG, PVXUH      \RXZRXOGFDOORXWLQWKLVSDUDJUDSK
   ZLOOFRQWLQXHWRGHDOZLWKWKDWZKLFKLVWKHTXHVWLRQRI      ,VWKDWFRUUHFW"
   WRZKDWGHJUHHDUHVRPHRIWKRVHFKDUDFWHULVWLFVD           $77251(<%/2&.2EMHFWLRQWRIRUP
   FDXVHIRUUHOHYDQWDWKOHWLFDGYDQWDJH                        7+(:,71(66<HV6RLWZDVWKHFDVH


                                                   3DJH                                                         3DJH
    4$QGLQ\RXURSLQLRQFRQFHUQDERXWSRVVLEOH           WKDWWKH,QWHUQDWLRQDO2O\PSLF&RPPLWWHH0HGLFDO*URXS
    UHVLGXDODWKOHWLFDGYDQWDJHVUHVXOWLQJIURPDKLVWRU\RI       ZDVWU\LQJWRIRUPDXQLILHGDSSURDFKMXVWIRUSXUSRVHV
    W\SLFDOPDOHSXEHUW\LVOHJLWLPDWHFRQFHUQ                    RIRUJDQL]DWLRQ$QGDWWKDWWLPHDWHQQDQRPRODUSHU
    5LJKW"                                                OLWHUVXJJHVWLRQZDVSXWRXW$QGWKDWLVDERXWDVIDU
    $77251(<%/2&.2EMHFWLRQWRIRUP             DVLWJRWEHFDXVHLWWKHQZDVVKLIWHGWRDOORIWKH
    7+(:,71(665LJKW,GRQ WNQRZWKDW         LQGLYLGXDOLQWHUQDWLRQDOIHGHUDWLRQV
    , PDVDQH[SHUWFRPPHQWLQJRQLWVOHJLWLPDF\0\UROH        %<$77251(<%522.6
    RQWKHFRPPLWWHHLVWDONLQJDERXWZKDWLV                     4<RXVD\LQWKHILQDOVHQWHQFHRIWKDWSDUDJUDSK
    %<$77251(<%522.6                                            TXRWHVXFKWKUHVKROGVDUHFRQVLGHUHGWREHIDLUWR
   4'R\RXKDYHDQ\H[SHUWRSLQLRQDVWRZKHWKHU         WUDQVJHQGHUZRPHQEHFDXVHWKH\DUHZHOODERYHWKH
   FRQFHUQIRUSRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHVIURPD      QDQRPRODUSHUOLWHUWDUJHWWHVWRVWHURQHWKUHVKROGLQ
   KLVWRU\RIW\SLFDOPDOHSXEHUW\LVDOHJLWLPDWHFRQFHUQ"      PHGLFDOWUHDWPHQWJXLGHOLQHVFORVHGTXRWH
   $, PVRUU\6D\WKDWDJDLQ                          'R\RXVHHWKDWODQJXDJH"
   4'R\RXKDYHDQ\H[SHUWRSLQLRQDVWRZKHWKHU         $<HV
   FRQFHUQIRUSRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHIURPD       4$P,FRUUHFWWKDWLQ\RXUSURIHVVLRQDO
   KLVWRU\RIDW\SLFDOPDOHSXEHUW\LVDOHJLWLPDWH             XQGHUVWDQGLQJWKHQDQRPRODUSHUOLWHUWDUJHWLVVHW
   FRQFHUQ"                                                      EHFDXVHWKDW VJHQHUDOO\EHOLHYHGWREHDWWKHXSSHU
   $,GRQ WNQRZWKDW,ZRXOGDJDLQ,GRQ W         UDQJHRIWHVWRVWHURQHOHYHOVLQQRUPDOKHDOWK\IHPDOHV"
   NQRZWKDW, PDQH[SHUWRQZKDWLVOHJLWLPDWHRUQRW,      $77251(<%/2&.2EMHFWLRQWRIRUP
   FRPHLQWRWKHURRPDVWKHVFLHQWLVWWDONLQJDERXWZKDW        7+(:,71(666RWKHQDQRPRODUSHU
   LVWUXHDQGZKDWLVQRWWUXHZKDWGRZHNQRZDQGZKDW        OLWHUWDUJHWLVWKHXSSHUOHYHOIRUDGXOWVFLVJHQGHU
   GRZHQRWNQRZ                                               ZRPHQ
   46RRQWKHTXHVWLRQWKHQDIWHUWKHVFLHQFHKDV        %<$77251(<%522.6
   EHHQSXWRQWKHWDEOHDVWRKRZWREDODQFHWKDWZLWK          4$QGZLWKWKDWFODULILHGFDQ\RXH[SODLQWRPH


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0622
                                                   3DJH                                                         3DJH
    ZKDW\RXPHDQWE\WKHVHQWHQFHWKDW,MXVWUHDGZKDW           ZRPHQKDVDQXSSHUOLPLWRIQDQRPRODUSHUOLWHU
    WKHSRLQWLVWKHUH"                                             WKHUHDUHFLVJHQGHUZRPHQZKRIRUDYDULHW\RIUHDVRQV
    $7KHSRLQWRIWKHVHQWHQFHLVWR,JXHVV            KDYHQXPEHUVKLJKHUWKDQWKDWDQGVRWKDWDQGVR
    WKHUHDUHDFRXSOHRIFRQVLGHUDWLRQVLQWHUPVRI                WKDWLVSDUWRIWKHFRQVLGHUDWLRQ
    GHWHUPLQLQJWKHVHQXPEHUVEXWVRSDUWRIWKHSRLQW         %<$77251(<%522.6
    LVWRLGHQWLI\QXPEHUVWKDWDUHIHDVLEOHIRUWUDQVJHQGHU        4/HWPHWDNH\RXWRWKHWZRSDUDJUDSKVEHORZWKDW
    ZRPHQRQWKHLUPHGLFDOWUHDWPHQW                               WRWKHSDUDJUDSKWKDWEHJLQVWKHVRFLHWDOSULRULWLHV
    4,VWKHUHVRPHRWKHUSRLQWWRWKLVVHQWHQFHLQ          'R\RXVHHWKDWSDUDJUDSK"
    \RXUXQGHUVWDQGLQJDVLWLVRIIHUHG"                            $,GR
   $77251(<%/2&.2EMHFWLRQWRIRUP             47KHODVWVHQWHQFHRIWKDWSDUDJUDSKUHDGVLI
   7+(:,71(666RWKHVHQWHQFHUHIHUHQFHV        DGYDQWDJHIURPWHVWRVWHURQHLVGHPRQVWUDWHGGRHV
   WKDWSLHFHEXWWKHUHLVWKHDGGLWLRQDOFRQWH[WRI             VRFLHW\ZDQWWRLPSOHPHQWUXOHVWKDWPD\LQGLUHFWO\
   KDYLQJDQXPEHUWKDWLVIDLUWRWKHJUHDWHUIHPDOH             FRHUFHWUDQVJHQGHUFKLOGUHQWREHJLQPHGLFDOUHJLPHQV
   FRPPLWWHHFLVJHQGHUDQGWUDQVJHQGHUWRR                       SULRUWRWKHLUEHLQJUHDG\DQGWKDWWKH\PLJKWQHYHU
   %<$77251(<%522.6                                            DFWXDOO\FKRRVHRWKHUZLVHFORVHGTXRWH
   46RLW VIDLULQ\RXUMXGJPHQWWRWUDQVJHQGHU          'R\RXVHHWKDWODQJXDJH"
   ZRPHQEHFDXVHWKHWKUHVKROGWKDWLVEHLQJVHWJLYHV           $,GR
   ZKDWVKRXOGZHVD\SOHQW\RIEXIIHUDERYHZKDWLV             4:RXOG\RXH[SODLQWRPHWKHFRQFHUQWKDW\RXDUH
   FRQVLGHUHGWREHWKHXSSHUUDQJHRIQRUPDOIHPDOH              H[SUHVVLQJWKHUH"
   WHVWRVWHURQHOHYHOV"                                           $,IDVRFLHWDOJRDODQGDJDLQKHUHUHFRJQL]H
   $77251(<%/2&.2EMHFWLRQWRIRUP             , PQRWDFWLQJDVDQH[SHUWLQWKLVVSDFHEXW, P
   7+(:,71(665LJKW6R, PQRWWDNLQJD       WU\LQJWRH[SODLQWRP\FROOHDJXHVZKDWSHRSOHDUH
   SRVLWLRQRQZKDWLVIDLUWREHFOHDU                          GLVFXVVLQJ$QGLIRXUFRQFHUQLVLQFUHDVHG
   %<$77251(<%522.6                                            SDUWLFLSDWLRQLQVSRUWE\YDULRXVSHRSOHWKHQ\RXFDQ


                                                   3DJH                                                         3DJH
    47KDQN\RX                                             HQYLVLRQDFLUFXPVWDQFHZKHUHVRPHJLUOVIDUWKHUDORQJ
    $%XWWKHFRQFHSWRIWKRVHLQWKHURRPPDNLQJWKDW       LQSXEHUW\KDYHDWHVWRVWHURQHDGYDQWDJHWKDWFRXOGEH
    GLVWLQFWLRQIHOWWKDWWKLVFXWRIIZRXOGEHIDLUEHFDXVH         GHPRQVWUDWHG$JDLQQRWWKDWZHHYHQKDYHDWWKLV
    WKHUHZRXOGEHLQGHHGFUHDWHVRPHEXIIHUDQG                 SRLQW$QGWKHQZHZRXOGEHIDFHGZLWKWKDWTXHVWLRQ
    WKHUHIRUHSHRSOHZKRZHUHQ WSHUIHFWO\DWJRDOZRXOG           ZKLFKLVWKDWFRPSHWLQJJRDORIPDNLQJWKRVHWUDQVJHQGHU
    VWLOOEHLQFOXGHG                                              JLUOVSDUWLFLSDWHLQVSRUWVDQGDUHFRJQLWLRQLIWKH\
    46REHFDXVHWKLVPD\EHLPSRUWDQWOHWPH               DUHVXIILFLHQWO\IDUDORQJLQWKHLUGHYHORSPHQWWKDW
    FODULI\ZKHQ\RXZURWHVXFKWKUHVKROGVDUHFRQVLGHUHG          WKH\PD\KDYHDQDGYDQWDJHLIZHGHPRQVWUDWHVXFKDQ
    WREHIDLU\RXZHUHQRWRIIHULQJDSHUVRQDORSLQLRQ            DGYDQWDJH
   DERXWIDLUQHVVEXWH[SODLQLQJWKHMXGJPHQWWKDWKDGEHHQ       4/HWPHVHHLI,FDQEUHDNWKDWRXW:HUH\RX
   PDGHE\WKLVFRPPLWWHHDERXWIDLUQHVV"                         WDONLQJKHUHDERXWDFRQFHUQDERXWDK\SRWKHWLFDOUXOH
   $7KDW VFRUUHFW                                       WKDWVD\VWRDQDWDOPDOHZKRLGHQWLILHVDVIHPDOHWKDW
   47KDQN\RX$QGGLGLWFDXVH\RXSHUVRQDOO\DQ\       \RXPD\SOD\LI\RXKDYHVXSSUHVVHGWHVWRVWHURQH\RX
   FRQFHUQWKDWWKHWKUHVKROGWKDWEHFDXVHWKH                PD\SOD\LI\RXKDYHWDNHQSXEHUW\EORFNHUVDWDQHDUO\
   WKUHVKROGWKDWZDVVHWZDVPRUHWKDQWKUHHWLPHVKLJKHU        DJHEXW\RXPD\QRWSOD\LI\RXKDYHQRWWDNHQSXEHUW\
   WKDQWKHXSSHUERXQGVRIWHVWRVWHURQHFRQFHQWUDWLRQVLQ        EORFNHUVIURPDQHDUO\VWDJH",VWKDWWKHK\SRWKHWLFDO
   QRUPDOKHDOWK\ZRPHQWKDWWKDWPLJKWEHXQIDLUWRWKH         VWUXFWXUHWKDW\RXZHUHDGGUHVVLQJLQWKLVVHQWHQFH"
   EURDGHUSRSXODWLRQRIFLVJHQGHUZRPHQ"                         $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%/2&.2EMHFWLRQWRIRUP             7+(:,71(666RWKHLWLVD
   7+(:,71(666RWREHFOHDU, PQRW           K\SRWKHWLFDODQGLWZRXOGEHWKDWLIZHPDNHDVSHFLILF
   UHQGHULQJDQRSLQLRQDVDQH[SHUWRQZKDWLVIDLUEXW,       WHVWRVWHURQHORZHULQJUXOHDWDVFKRODVWLFOHYHOPLJKW
   FDQLQWHUSUHWWKHFRQVLGHUDWLRQVRISHRSOHKDYLQJWKHVH        ZHUXQLQWRDFLUFXPVWDQFHZKHUHZHDUHHQFRXUDJLQJ
   FRQYHUVDWLRQV$QGVRZKLOHLWLVWUXHWKDWWKH               VRPHERG\WRPDNHPHGLFDWLRQZKRPLJKWQRWRWKHUZLVHWDNH
   ODERUDWRU\UDQJHIRUWHVWRVWHURQHIRUKHDOWK\FLVJHQGHU        WKDWPHGLFDWLRQ


                                                                                            3DJHVWR
                                                                                                   Armistead App. 0623
                                                  3DJH                                                         3DJH
    %<$77251(<%522.6                                            /HWPHMXVWDVNWKLVLQJHQHUDO'R\RXKDYH
    4$QGVWD\LQJDZD\IURPTXHVWLRQVRIIDLUQHVVDQG       DQRSLQLRQDVWRKRZPXFKRIDSHUIRUPDQFHDGYDQWDJH
    VSHDNLQJIURPZKDW,WKLQNLVDPHGLFDOHWKLFV                 ZRXOGFRXQWIRUWKRVHIRUQDWDOPDOHVYHUVXVQDWDO
    SHUVSHFWLYHZRXOG\RXWKLQNLWUDLVHVHWKLFDOSUREOHPV        IHPDOHVKRZPXFKRIDSHUIRUPDQFHDGYDQWDJHZRXOGEH
    LIVRFLHW\ZHUHWRDGRSWDUXOHWKDWSHUPLWWHGFHUWDLQ         TXRWHVLJQLILFDQW"
    LQGLYLGXDOVWRFRPSHWHLQIHPDOHDWKOHWLFVLIWKH\KDG         $77251(<%/2&.2EMHFWLRQWRIRUP
    WDNHQSXEHUW\EORFNHUVEXWGLGQRWSHUPLWWKHPWR              7+(:,71(66,GRQRWKDYHDQRSLQLRQ
    FRPSHWHZLWKWKHDWKOHWLFLIWKH\KDGQRWWDNHQSXEHUW\        %<$77251(<%522.6
    EORFNHUV"                                                      4$QGLQ\RXUYLHZLVWKDWHYHQDVFLHQWLILF
   $77251(<%/2&.2EMHFWLRQWRIRUP            TXHVWLRQ"
   7+(:,71(66,WKLQNWKDW VEH\RQGZKHUH      $77251(<%/2&.2EMHFWLRQWRIRUP
   , PFRPPHQWLQJDVDQH[SHUWZLWQHVV6RPHRIWKDW            7+(:,71(66/HWPHWKLQN1RWKDW
   GHFLVLRQLVDVRFLHW\GHFLVLRQRUIRURWKHUH[SHUWV          LVQ WDVFLHQWLILFTXHVWLRQ
   %<$77251(<%522.6                                           %<$77251(<%522.6
   4'R\RXFRQVLGHU\RXUVHOIWRKDYHVRPHH[SHUWLVH      4$QG\RXDQGWKHQH[WVHQWHQFHLVWKHUHD
   RQPHGLFDOHWKLFV"                                            SRLQWZKHUHDQDGYDQWDJHVXFKDQDGYDQWDJHZRXOG
   $1RWDVDQH[SHUW                                    RXWZHLJKDSULRULW\WRPRWLYDWHDOOWRSDUWLFLSDWH$P
   4$QG\RXGRQ WIHHODEOH\RXGRQ WKDYHDQ\       ,FRUUHFWWKDW\RXDOVRGRQ WFRQVLGHUWKDWWREHD
   RSLQLRQDV\RXVLWKHUHWRGD\DVWRZKHWKHUDSROLF\          VFLHQWLILFTXHVWLRQ"
   WKDWFUHDWHGLQFHQWLYHVIRUFKLOGUHQWREHJLQPHGLFDO         $7KDWLVFRUUHFW
   UHJLPHVUHODWLQJWRJHQGHUWUDQVLWLRQFRXOGUDLVH             47KDWLVDYDOXHMXGJPHQW"
   PHGLFDOHWKLFDOFRQFHUQV"                                     $77251(<%/2&.2EMHFWLRQWRIRUP
   $1RWDVDPHGLFDOH[SHUWWKDW VULJKW               7+(:,71(666RLW VQRWDVFLHQWLILF
   4,QWKHQH[WSDUDJUDSKDQG,WKLQNZHVDLG        TXHVWLRQ,FDQJRDOLWWOHPRUHLQ,FDQH[SDQGD


                                                  3DJH                                                         3DJH
    WKLVLVMXVWRXWLQWKHODVWFRXSOHRIZHHNVWKLV             OLWWOHELWWKHUHZKLFKLVWRVD\WKDWZHKDYHYDULRXV
    SXEOLFDWLRQ                                                   DGYDQWDJHVDQGGHJUHHVRIXQIDLUQHVV6RZKDWFRXOGEH
    5LJKW"                                                DVFLHQWLILFTXHVWLRQLIZHNQHZWKHDQVZHUVZRXOG
    $,W VYHU\IUHVK1XPEHUILYHVR\HV                LQFOXGHWKHGHJUHHRIDGYDQWDJHIRUVRPHFLUFXPVWDQFH
    4, PQRWSOD\LQJPHPRU\JDPHV,WVD\VDWWKH         YHUVXVDQRWKHUFLUFXPVWDQFHZKHUHZHDUHDEOHWRPHDVXUH
    WRSDGYDQFHDFFHVVSXEOLFDWLRQ0DUFK"                  WKRVHWKLQJV
    $*RRG                                                 %<$77251(<%522.6
    46RYHU\UHFHQW"                                       4%XWWKHTXHVWLRQRIZKHWKHUDQDGYDQWDJHRQWKH
    $<HV                                                  RQHKDQGRXWZHLJKVDGHVLUHWREHLQFOXVLYHRQWKHRWKHU
   4$QG\RXEHOLHYH\RXDUHUHDVRQDEO\FXUUHQWLQ        KDQGLVDYDOXHTXHVWLRQQRWDVFLHQWLILFTXHVWLRQ"
   WKHVFLHQFHRIWKLVDUHD"                                     $77251(<%/2&.2EMHFWLRQWRIRUP
   $,DPUHDVRQDEO\FXUUHQWLQGHHG                     %<$77251(<%522.6
   4,GLGQ WDVNLI\RXNQRZLWDOOEHFDXVHQRERG\       4,Q\RXURSLQLRQ
   NQRZVLWDOOEXW\RXVD\DWWKHEHJLQQLQJRIWKLV            $77251(<%/2&.2EMHFWLRQWRIRUP
   SDUDJUDSKPXFKUHPDLQVXQNQRZQVFLHQWLILFDOO\$QG\RX       7+(:,71(666R,JXHVV,ZRXOGMXVWJR
   FRQWLQXHTXRWHIRUH[DPSOHDWZKDWSRLQWLQSXEHUW\        EDFNWRVD\LQJKRZ,VDLGLWZKLFKLVWKHVFLHQWLILF
   LVDGYDQWDJHIURPWHVWRVWHURQHVLJQLILFDQW,VWKHUHD       TXHVWLRQLQWKHUHZRXOGEHWRSURYLGHWKDWGHJUHHRI
   SRLQWZKHUHVXFKDGYDQWDJHZRXOGRXWZHLJKDSULRULW\WR       GLIIHUHQFHDQGVKRZIRUH[DPSOHWKDWWKLVZRXOGEH
   RXWZHLJKDOOSDUWLFLSDQWVDOOWRSDUWLFLSDWHLQ           WKLVLVVPDOODGYDQWDJHVYHUVXVVRPHRQHWKDWZHDUH
   VSRUWRIVRPHVRUWFORVHGTXRWH                             DOUHDG\GRLQVRFLHW\DVELJDGYDQWDJHDQGWKDWZRXOGEH
   'R\RXVHHWKDWODQJXDJH"                            KRZWKDWZRXOGEHWKHUROHRIWKHVFLHQWLVW
   $,GR                                                %<$77251(<%522.6
   4$QGDFWXDOO\WKHSRLQWLQZULWLQJWKHVHFRQG         4,XQGHUVWDQGWKDW VZKDW\RXZRXOGOLNHWRVD\
   VHQWHQFHWKHUHVWULNHWKDW                               EXWP\TXHVWLRQIRU\RXLVLQ\RXURSLQLRQLVWKHQH[W


                                                                                         3DJHVWR
                                                                                                           Armistead App. 0624
                                                  3DJH                                                                  3DJH
    VWHSRIGHFLGLQJRIZKHWKHUWKDWDGYDQWDJHZKLFKKDVQRZ       %<$77251(<%522.6
    EHHQVFLHQWLILFDOO\GHWDLOHGRXWZHLJKVDSULRULW\WR           4/HWPHDVN\RXWRILQG\RXULQLWLDOH[SHUW
    PRWLYDWHDOOWRSDUWLFLSDWHLVDYDOXHGHFLVLRQ               UHSRUWZKLFKLV([KLELWDQGWKHUH,ZLOODVN\RXWR
    $77251(<%/2&.2EMHFWLRQWRIRUP             WXUQWRSDUDJUDSK$WWKHEHJLQQLQJRISDUDJUDSK
    7+(:,71(66<HDK,GRQ W,JXHVV,       \RXZURWHLQWKLVUHSRUWH[HFXWHGRQ-DQXDU\
    FDQ WDVDQH[SHUWVD\IRUFHUWDLQWKDWLQDOO                 ZKLFKLVWZRPRQWKVSULRUWRWKHSXEOLFDWLRQGDWHRIWKH
    FLUFXPVWDQFHVWKDWLVDYDOXHWRFRQVLGHU                     DUWLFOHZHMXVWORRNHGDWDQGDFWXDOO\OHWPHSDXVH
    %<$77251(<%522.6                                            DQGDVN\RXZKHQGLG\RXZULWHWKHDUWLFOHWKDWZHMXVW
    4<RXFRQWLQXHDPRQJ\RXUOLVWVRIWKLQJVWKDW          ORRNHGDW"$QGWKHSURFHVVDOZD\VJULQGVRQIRUD
   DUHTXRWHXQNQRZQVFLHQWLILFDOO\TXRWHIRUWKRVHZKR      OLWWOHZKLOH:KHQGR\RXWKLQN\RXVXEVWDQWLDOO\
   KDYHFRPSOHWHGSXEHUW\ZKDWGXUDWLRQRI                      FRPSOHWHGWKHWDVN"
   WHVWRVWHURQHORZHULQJWUHDWPHQWLVVXIILFLHQWWRFUHDWH       $,KRQHVWO\GRQ WUHPHPEHU
   DOHYHOSOD\LQJILHOGLQDJLYHQVSRUWFORVHGTXRWH         46RUU\7KHTXHVWLRQZDVZKHQGR\RXWKLQN\RX
   'R\RXVHHWKDW"                                     VXEVWDQWLDOO\ZURWHWKHWH[WLQWKHDUWLFOHWKDW\RX
   $<HV                                                 MXVWORRNHGDW"
   4$QGLQ\RXUYLHZWKHTXHVWLRQRIZKDWGXUDWLRQ      $,KRQHVWO\GRQ WUHPHPEHUWKHGHWDLOV:HFDQ
   RIWHVWRVWHURQHORZHULQJWUHDWPHQWLIDQ\FDQEH            WDONLQ\HDUVVRLWZRXOGEHDQGEDFNLQWR
   VXIILFLHQWWRFUHDWHDOHYHOSOD\LQJILHOGLQDJLYHQ         42ND\
   VSRUWLVFXUUHQWO\XQNQRZQVFLHQWLILFDOO\"                    6RDERXWWKHVDPHWLPHWKDW\RXZHUHSUHSDULQJ
   $77251(<%/2&.2EMHFWLRQWRIRUP            WKLVH[SHUWUHSRUW"
   7+(:,71(66,W VXQNQRZQVFLHQWLILFDOO\      $7KHUHFHUWDLQO\ZRXOGEHVRPHRYHUODS
   DFURVVYLUWXDOO\DOOVSRUWV:KDWGXUDWLRQRI                4<RXZURWHLQSDUDJUDSKTXRWHHYHQLI
   WHVWRVWHURQHORZHULQJUDLVHVZKDWGHJUHHRIDGYDQWDJH        HYLGHQFHZHUHHYHQWXDOO\WRVKRZWKDWRQDYHUDJH
   ,W VMXVWDWWKDWOHYHO7RJRWRWKHOHYHOSOD\LQJ          WUDQVJHQGHUZRPHQKDYHVRPHOHYHORIDGYDQWDJHFRPSDUHG


                                                  3DJH                                                                  3DJH
    ILHOGLVDZKROHIXUWKHUWLHU                                 WRDYHUDJHQRQWUDQVJHQGHUZRPHQFORVHGTXRWH
    %<$77251(<%522.6                                            'R\RXVHHWKDWODQJXDJH"
    4$QGLQ\RXUILQDOSDUDJUDSK,WKLQN\RXVDLGDW       $,GR
    WKHEHJLQQLQJWKDWLQSDUWWKLVZDVDFDOOWRWKH            41RZLQIDFW\RXDUHDZDUHRIVXEVWDQWLDO
    ILHOGRIHQGRFULQRORJ\IRUQHHGHGUHVHDUFK,QWKH            HYLGHQFHWKDWRQDYHUDJHWUDQVJHQGHUZRPHQGRKDYH
    ILQDOSDUDJUDSK\RXVD\TXRWHZHLQWKHHQGRFULQH            VRPHOHYHORIDGYDQWDJHFRPSDUHGWRDGYDQWDJH
    KHDOWKFDUHFRPPXQLW\KDYHPXFKZRUNWRGRWRFUHDWHDQ         QRQWUDQVJHQGHUZRPHQ
    HYLGHQFHEDVHWRKHOSJXLGHGHFLVLRQPDNHUVVRWKH             &RUUHFW"
    FKRLFHVIRUWUDQVJHQGHUZRPHQLQVSRUWDUHGDWDGULYHQ        $77251(<%/2&.2EMHFWLRQWRIRUP
   FORVHGTXRWH                                                 7+(:,71(661R, PQRW6RWKDWLVQ W
   +DYH,UHDGWKDWODQJXDJHFRUUHFWO\"                 P\VWDWHPHQW
   $<HV                                                 %<$77251(<%522.6
   46RLW V\RXUYLHZDVRIWKDWWKHGDWDWKDW      4$QGLVWKHTXHVWLRQVR\RXVHUYHGRQWKH
   ZHKDYHDYDLODEOHWRGD\DUHLQVXIILFLHQWWRHQDEOHGDWD       ,$$)&RPPLWWHHGLVFXVVLQJTXHVWLRQVRIWHVWRVWHURQH
   GULYHQFKRLFHVDERXWWUDQVJHQGHUSDUWLFLSDWLRQLQIHPDOH      OHYHOV$QGLQWKDWFRQWH[W\RXGLGQRWEHFRPH
   DWKOHWLFV                                                    DFTXDLQWHGZLWKGDWDVKRZLQJWKDWRQDYHUDJHWUDQVJHQGHU
   &RUUHFW"                                             ZRPHQKDYHVRPHOHYHORIDGYDQWDJHFRPSDUHGWRDYHUDJH
   $77251(<%/2&.2EMHFWLRQWRIRUP            QRQWUDQVJHQGHUZRPHQ"
   7+(:,71(66,ZRXOGVD\WKDWLQZH      $1RWLQVRQR,QWKHFRQWH[WRIVSHFLILF
   KDYHLQVXIILFLHQWGDWDWRKRZZRXOG,VD\WKLVZH        VSRUWVQR
   KDYHLQVXIILFLHQWGDWDWRPDNHUXOHVIRUOHW VVD\          4'R\RXFRQVLGHUWKHTXHVWLRQRIKRZPXFK
   WUDQVJHQGHUZRPHQPRVWO\WDONLQJDERXWROGHUPRUH            DGYDQWDJHQDWDOPDOHVKDYHRYHUQDWDOIHPDOHVLQ
   GHYHORSHGSHRSOHWKDWZRXOGDGGUHVVWKHVHFRQFHUQVIRU       SDUWLFXODUVSRUWVWREHZLWKLQ\RXUSURIHVVLRQDO
   SDUWLFLSDWLRQ                                                H[SHUWLVH"



                                                                                             3DJHVWR
                                                                                                    Armistead App. 0625
                                                  3DJH                                                         3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP             
    7+(:,71(666RVRUU\VRFLVJHQGHU         $77251(<:,/.,16217DE
    PHQYHUVXVFLVJHQGHUZRPHQWKDWGLIIHUHQFHDWDQDGXOW        9,'(2*5$3+(5, PVRUU\ZKDWWDELVLW"
    OHYHOLVDWP\H[SHUWLVHWRNQRZWKDWGHJUHHRI               $77251(<%522.67DE
    GLIIHUHQFH",VWKDWWKHTXHVWLRQ"                             %<$77251(<%522.6
    %<$77251(<%522.6                                            4$QG'RFWRU6DIHUDP,FRUUHFWWKLVLVDQ
    4,WLV                                                DUWLFOHWKDW\RXUHDGZLWKVRPHFDUH"
    $1RWKDWLVQRWP\H[SHUWLVH                         $7KLVLVDQDUWLFOHWKDW,UHDGZLWKVRPHFDUH
    4$QGLVLWZLWKLQ\RXUH[SHUWLVHWRNQRZWKH           4<RXFLWHGLQ\RXUH[SHUWUHSRUW
   OHYHORIDGYDQWDJHHQMR\HGE\QDWDOPDOHVZKRKDYH            &RUUHFW"
   WUDQVLWLRQHGWRIHPDOHJHQGHULGHQWLW\RYHUFLVJHQGHU         $,WKLQNVR
   ZRPHQLQDQ\SDUWLFXODUVSRUW"                                4,WKLQNVRWRR,W VQRWDPHPRU\WHVW,
   $77251(<%/2&.2EMHFWLRQWRIRUP            UHWUDFWWKHTXHVWLRQ:HZLOOFRPHWRLWVKRUWO\
   7+(:,71(666RLQWKHVRLIZHDUH       /HWPHDVN\RXWRWXUQLQDQGOHWPHDVN
   WDONLQJFLVJHQGHUZRPHQYHUVXVWUDQVJHQGHUZRPHQLW          \RXGR\RXNQRZ3URIHVVRU+DQGHOVPDQSHUVRQDOO\"
   ZRXOGEHLQP\H[SHUWLVHWRNQRZZKDWGDWDZHKDYHRQ         $,GRQRW
   WKLVVXEMHFWZKLFKLVGLIIHUHQWIURPNQRZLQJWKHGHJUHH      4+DYH\RXHQFRXQWHUHGKLPLQDQ\RWKHUDFWLRQV"
   RIGLIIHUHQFHEHFDXVHZHGRQ WKDYHWKRVHGDWD               $,KDYH
   %<$77251(<%522.6                                           42QFHPRUHWKDQRQFH"
   4<RXVD\LQSDUDJUDSKOHWPHILQGWKLV           $7KDWLVDOVRDWULFNTXHVWLRQIRUPH)RUVXUH
   TXRWHWKHUHLVQRLQKHUHQWUHDVRQZK\WUDQVJHQGHUZRPHQ      RQFH
   SK\VLRORJLFDOFKDUDFWHULVWLFVUHODWHGWRDWKOHWLF             42ND\
   SHUIRUPDQFHVKRXOGEHWUHDWHGDVDQ\PRUHRIDQXQIDLU        'R\RXFRQVLGHUKLPWRKDYHDKLJKUHSXWDWLRQ
   DGYDQWDJHWKDQWKHDGYDQWDJHVWKDWDOUHDG\H[LVWDPRQJ        LQWKHILHOG"


                                                  3DJH                                                         3DJH
    GLIIHUHQWZRPHQDWKOHWHV'R\RXVHHWKDWODQJXDJH"           $,IWKDWTXHVWLRQLVDVDQH[SHUW,FDQ W,
    $,GR                                                 ZRQ WFRPPHQWEXWKHFHUWDLQO\KDVSXEOLVKHGZLGHO\DQG
    41RZHDUOLHU\RXWROGPHUDWKHUHPSKDWLFDOO\          ZHTXRWHKLP
    WKDWWKHTXHVWLRQRIIDLUQHVVLVRXWVLGH\RXU                  4:KDWGR\RXPHDQE\ZHLQWKDWDQVZHU"
    SURIHVVLRQDOH[SHUWLVH                                        $7KHUHVWRIXVLQWKHILHOGDQG,FHUWDLQO\
    &RUUHFW"                                              TXRWHKLPLQDQH[SHUWRSLQLRQ
    $77251(<%/2&.2EMHFWLRQWRIRUP             4$OOULJKW
    7+(:,71(66,WLVRXWVLGHP\H[SHUWLVH       $QGWKLVDUWLFOHLQSDUWLFXODUZHQRWH\RX
    %<$77251(<%522.6                                            ZLGHO\UHIHUHQFH"
   46RZK\GLG\RXRIIHUKHUHDQRSLQLRQDERXWZKDW      $7KLVDUWLFOHLV\HDK,WKLQNWKDWLV
   LVIDLURUXQIDLU"                                            DFWXDOO\DIDLUWKLQJWRVD\,WLVDVZLGHO\
   $77251(<%/2&.2EMHFWLRQWRIRUP            UHIHUHQFHGDVDQ\WKLQJLQDUHODWLYHO\VPDOOILHOG
   7+(:,71(665LJKW6R, PQRW               4/HWPHDVN\RXWRWXUQWRWKHVHFRQGSDJHRI
   GHWHUPLQLQJWKHIDLUQHVVSHUVHDVDQH[SHUWEXW, P         WKLVDUWLFOHZKHUH3URIHVVRU+DQGHOVPDQLQWKHILUVW
   VLPSO\WDONLQJDERXWWKHLQSXWVZKHUHVRPHERG\ZKRLV         IXOOSDUDJUDSKWKHVHFRQGIXOOSDUDJUDSKEHJLQV
   GHWHUPLQLQJZKDWLVIDLUZKHUHVRPHERG\LV                QHYHUWKHOHVV+HVD\VTXRWHIDLUQHVVLVDQHOXVLYH
   GHWHUPLQLQJZKDWLVIDLUZRXOGFRQVLGHU                      VXEMHFWLYHFRQFHSWZLWKPDOOHDEOHERXQGDULHVWKDWPD\
   $77251(<%522.6/HWPHPDUNDV6DIHU         FKDQJHRYHUWLPHDVVRFLDOFRQFHSWVRIIDLUQHVVHYROYH
   ([KLELWDQDUWLFOHE\3URIHVVRU+DQGHOVPDQHQWLWOHG         'R\RXVHHWKDW"
   &LUFXODWLQJ7HVWRVWHURQHRQD+RUPRQDO%DVLVRI6H[           $,GR
   'LIIHUHQFHVLQ$WKOHWLF3HUIRUPDQFH                          4'R\RXDJUHHZLWKWKDWVWDWHPHQW"
                                   $$VDQH[SHUW,FDQ WFRPPHQW
    :KHUHXSRQ([KLELW3URIHVVRU+DQGHOVPDQ       4<RXGRQ WSXUSRUWWREHDEOHWRJLYHDQ\
   $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ           GHILQLWLRQRIIDLUQHVV"


                                                                                         3DJHVWR
                                                                                                    Armistead App. 0626
                                                  3DJH                                                         3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP             KDYHVXEVWDQWLDOO\PRUHIDYRUDEOHSK\VLTXHVWKDQRWKHUV"
    7+(:,71(66<HVQRWDVDQH[SHUW            $77251(<%/2&.2EMHFWLRQWRIRUP
    %<$77251(<%522.6                                            7+(:,71(665LJKW6RIRUDQ\JLYHQ
    4$QG\RXGRQ WKDYHDQ\RSLQLRQDVWRZKHWKHU          VSRUWVRPHZRPHQKDYHDGYDQWDJHVUHODWLYHO\WRRWKHUV
    VWDQGDUGVRIIDLUQHVVFDQFKDQJHRYHUWLPH"                    \HV
    $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%522.6
    7+(:,71(66, PDZDUHRIWKH                  4$QGLQEDVNHWEDOOVRPHDUHVLPSO\JHQHWLFDOO\
    FRQYHUVDWLRQRQWKHVXEMHFWRIFRXUVHEXWLI\RXDUH         JRLQJWREHVXEVWDQWLDOO\WDOOHUWKDQRWKHUV"
    DVNLQJPHWRFRPPHQWDVDQH[SHUWWKHQQR                    $,QEDVNHWEDOOVRPHDUHWDOOHUWKDQRWKHUV\HV
   %<$77251(<%522.6                                           4, PQRWVSHDNLQJIRU\RX,DW LQP\
   4,IWKHDFWXDOHYLGHQFHVKRZVWKDWWKHDFWXDO         VKRHVIRULQVWDQFHZDVDPMXVWSK\VLRORJLFDOO\
   VFLHQWLILFGDWDZHUHWRVKRZWKDWTXRWHRQDYHUDJH          GLVDGYDQWDJHGIRUEDVNHWEDOOFRPSDUHGWRDPDQZKRLV
   WUDQVJHQGHUZRPHQKDYHFORVHGTXRWHDYHU\ODUJH             "
   DGYDQWDJHFRPSDUHGWRDYHUDJHQRQWUDQVJHQGHUZRPHQ          $77251(<%/2&.2EMHFWLRQWRIRUP
   ZRXOG\RXWKHQKDYHDQ\YLHZDVWRZKHWKHUSHUPLWWLQJ         7+(:,71(666RDVDQH[SHUW,DFWXDOO\
   QRQWUDQVJHQGHUZRPHQWRFRPSHWHLQIHPDOHFDWHJRULHVLV      ZRXOGQ WJRWKHUHEHFDXVHWKHUHDUHRWKHU
   IDLU"                                                         FKDUDFWHULVWLFVLQEDVNHWEDOOSHUVH
   $77251(<%/2&.2EMHFWLRQWRIRUP, P       %<$77251(<%522.6
   VRUU\ZKDW VWKHTXRWDWLRQ"                                  47KDW VWUXHDOWKRXJK,KDYHQRQHRIWKHP%XW
   %<$77251(<%522.6                                           LVLWLQ\RXUYLHZHTXDOO\WUXHWKDWWKHUHLVQR
   4,IDFWXDOGDWDZHUHWRVKRZWKDWRQDYHUDJH          LQKHUHQWUHDVRQZK\FLVJHQGHUPHQ VSK\VLRORJLFDO
   WUDQVJHQGHUZRPHQKDYHDYHU\ODUJHDGYDQWDJHFRPSDUHG        FKDUDFWHULVWLFVUHODWHGWRDWKOHWLFSHUIRUPDQFHVKRXOG
   WRQRQWUDQVJHQGHUZRPHQWKHQZRXOG\RXKDYHDQ\             EHWUHDWHGDVDQ\PRUHRIDQXQIDLUDGYDQWDJHIRU
   RSLQLRQDVWRZKHWKHULWLVIDLUWRSHUPLWWKH                FRPSHWLQJLQWKHZRPHQ VFDWHJRU\WKDQWKHDGYDQWDJHV


                                                  3DJH                                                         3DJH
    WUDQVJHQGHUZRPHQWRFRPSHWHLQWKHIHPDOHFDWHJRU\"           WKDWDOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"
    $77251(<%/2&.2EMHFWLRQWRIRUP             $6R\HDKOHW VJRWKURXJKWKLVPRUHVORZO\D
    7+(:,71(661RWKDWZRXOGQRWFKDQJH        VHFRQGVR, PFOHDU
    ,ZRXOGVLPSO\DVDQH[SHUW,ZRXOGWDONDERXWWKRVH           4$OO,GLGZDVVXEVWLWXWHFLVJHQGHUPHQIRU
    GHJUHHVRIGLIIHUHQFHDVLQIRUPDWLRQ                          WUDQVJHQGHUZRPHQLQWKDWVHQWHQFH$QGP\TXHVWLRQLV
    %<$77251(<%522.6                                            GRHVQ W\RXUDUJXPHQWDVVWDWHGWKHUHDSSO\H[DFWO\ZLWK
    4%XW\RXZRXOGRIIHUQRRSLQLRQDVWRZKHWKHU          HTXDOIRUFHWRFLVJHQGHUPDOH"
    SHUPLWWLQJWKHSDUWLFLSDWLRQLQWKHIHPDOHFDWHJRU\ZDV        $1R
    RUZDVQRWDSSURSULDWH"                                        4:K\LVWKDW"
   $,ZRXOGQRWRIIHUDQH[SHUWRSLQLRQ7KDW V         $:KHQZHWDONDERXWZKHQZH UHWDONLQJDERXW
   ULJKW                                                        DUDQJHRIFKDUDFWHULVWLFVDPRQJDUDQJHRISHRSOH
   41RZ\RXVD\LQSDUDJUDSKRI\RXUH[SHUW          YHUVXVVRPHWKLQJWKDWPLJKWEHV\VWHPDWLFDOO\WUXHRU
   UHFRUGWKDWWKHUHLVTXRWHQRLQKHUHQWZK\WUDQVJHQGHU      QRWDQGVRLWMXVWVRWKHDQVZHUMXVWHQGVXSEHLQJ
   ZRPHQ VSK\VLRORJLFDOFKDUDFWHULVWLFVUHODWHGWR              PRUHFRPSOH[
   DWKOHWLFSHUIRUPDQFHVKRXOGEHWUHDWHGDVDQ\PRUHRIDQ      4:HOO\RXKDYHWHVWLILHGWKDWPRVWQDWDOZRPHQ
   XQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDWDOUHDG\H[LVW       SDUGRQPH\RXWHVWLILHGWKDWPRVWQDWDOPDOHVZLWK
   DPRQJGLIIHUHQWZRPHQDWKOHWHVFORVHTXRWH:HKDYH         IHPDOHJHQGHULGHQWLW\KDYHXQGHUJRQHDWOHDVWWKH
   ORRNHGDWWKDWODQJXDJH                                      PDMRULW\RIPDOHSXEHUW\EHIRUHWKH\SUHVHQWIRUJHQGHU
   &RUUHFW"                                             DIILUPLQJWUHDWPHQW
   $<RXDUHUHDGLQJWKDWFRUUHFWO\                      &RUUHFW"
   47KDQN\RX                                           $77251(<%/2&.2EMHFWLRQWRIRUP
   $:KDWHYHUWKHTXHVWLRQLV                            7+(:,71(666RPRVWFLVJHQGHUZRPHQ
   41RTXHVWLRQEH\RQGWKDWVRIDU$QG\RXUSRLQW      ZKHQWKH\FRPHWRPHGLFDODWWHQWLRQKDYHJRQHWKURXJKD
   ,WDNHLWLVWKDWIRUDQ\JLYHQVSRUWVRPHZRPHQMXVW         VLJQLILFDQWSXEHUW\WKHILYH7DQQHUVWDJHV


                                                                                         3DJHVWR
                                                                                                             Armistead App. 0627
                                                   3DJH                                                                        3DJH
    %<$77251(<%522.6                                             DGYDQWDJHLQWKHVSRUWWKH\ZLVKWRSOD\LQDVDUHVXOW
    4$QGMXVWWRFODULI\WRXVH\RXUWHUPVLQ             RIW\SLFDOPDOHGHYHORSPHQWWKDWWKH\KDGJRQHWKURXJK"
    JLYLQJWKDWDQVZHU\RXVDLGFLVJHQGHUZRPHQ7KDWLV           $77251(<%/2&.2EMHFWLRQWRIRUP
    QRWZKDW\RXPHDQW                                             7+(:,71(665LJKW, PQRWRIIHULQJDQ
    &RUUHFW"                                               RSLQLRQ,WZDVDORQJTXHVWLRQ
    $7KDWLVQRWZKDW,PHDQWWKDQN\RX                   %<$77251(<%522.6
    7UDQVJHQGHUZRPHQ                                              4:RXOG\RXOLNHWRKHDUWKHTXHVWLRQEDFN"
    4$QGWKHUHIRUHWKH\V\VWHPDWLFDOO\KDYHJRQH           $6XUHEXW, PQRWRIIHULQJDQRSLQLRQRQVHYHUDO
    WKURXJKV\VWHPDWLFDOO\JRQHWKURXJKSK\VLRORJLF             DVSHFWV
   FKDQJHVDVVRFLDWHGZLWKPDOHSXEHUW\"                          $77251(<%522.6:RXOG\RXUHDGWKDW
   $77251(<%/2&.2EMHFWLRQWRIRUP             TXHVWLRQEDFNSOHDVH"
   7+(:,71(666RWKHVRWKH\WKH\       
   KDYHJRQHWKURXJKPDOHSXEHUW\$QGWKHUHLVVRPHWKLQJ         &28575(3257(55($'6%$&.35(9,28648(67,21
   RQDYHUDJHWKDWPD\EHWUXHWKHUHEXWZKHWKHUWKDW            
   UHODWHVWRDQDGYDQWDJHLQDVSHFLILFVSRUW,FDQ WJR         %<$77251(<%522.6
   WKHUH                                                         4$QG\RXUDQVZHULV"
   %<$77251(<%522.6                                            $6R, PQRWRIIHULQJDQRSLQLRQ,VKRXOGH[SDQG
   4:HOOWKHH[DPSOHWKDW\RXJDYHHDUOLHURID          DELWEHFDXVHKRZWKDWTXHVWLRQZDVSKUDVHGDVDQ
   V\VWHPDWLFGLIIHUHQFHUHVXOWLQJIURPPDOHSXEHUW\WKDW         LQGLYLGXDOE\LQGLYLGXDOSHUVRQDQGPRVWRIWKHVHUXOHV
   WKHVHWUDQVJHQGHUZRPHQHQMR\LVKHLJKWWKDWLV\RX           DUHDFURVVDJURXSRIVSRUWV
   PHQWLRQHGWKDWHDUOLHU                                        4$QGP\TXHVWLRQZDVDERXWDQLQGLYLGXDOSHUVRQ
   &RUUHFW"                                              $<RXUTXHVWLRQZDVDQLQGLYLGXDOSHUVRQEXW
   $8KKXK \HV                                          45LJKW/RRNLQJDW\RXUSDUDJUDSKDJDLQGR
   46RDJDLQOHWPHDVNJLYHQWKDWDFFRUGLQJWR         \RXEHOLHYHWKHUHLVDUH\RXRIIHULQJDQRSLQLRQ


                                                   3DJH                                                                        3DJH
    \RXUWHVWLPRQ\DQGH[SHULHQFHWKHVXEVWDQWLDOPDMRULW\           OHWPHVWDUWWKDWDJDLQ$UH\RXDEOHWRLGHQWLI\IRU
    RIWUDQVJHQGHUZRPHQKDYHXQGHUJRQHPRVWRIPDOH                 PHDQ\LQKHUHQWUHDVRQZK\DUHODWLYHO\ZHDNRUVPDOORU
    SXEHUW\ZK\LVLWQRWHTXDOO\WUXHWKDWWKHUHLVQR             VORZPDOHVWULNHWKDW
    LQKHUHQWUHDVRQZK\FLVJHQGHUPHQ VSK\VLRORJLFDO                <RXUHIHUHQFHGLQ\RXUUHSRUWDQGDOVRWKH
    FKDUDFWHULVWLFVUHODWHGWRDWKOHWLFSHUIRUPDQFHVKRXOG           DUWLFOHZHMXVWORRNHGDWWKH,$$)UHJXODWLRQVWKDW
    EHWUHDWHGDVDQ\PRUHRIDQXQIDLUDGYDQWDJHVWKDQWKH          H[FOXGHGIURPWKHIHPDOHFDWHJRU\DQ\LQGLYLGXDOZKRKDV
    DGYDQWDJHVWKDWDOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQ              FLUFXODWLQJWHVWRVWHURQHKLJKHUWKDQILYHQDQRPRODUSHU
    DWKOHWHV"                                                        OLWHU'R\RXUHFDOOWKDW"
    $6RLI, PIROORZLQJWKLVFRUUHFWO\WKHQLW V        $77251(<%/2&.2EMHFWLRQWRIRUP
   WKHQWKHDQVZHUWRWKHTXHVWLRQZK\DUHFLVJHQGHUPHQ           7+(:,71(666RMXVWWRFODULI\LWLV
   GLIIHUHQWWKDQWUDQVJHQGHUZRPHQ"                               QRWWKDWUXOHIRUILYHQDQRPRODUVLVQRWDFURVVDOO
   4:K\GRHVWKLVORJLFDSSO\GLIIHUHQWO\WRWKH           VSRUWV
   FLVJHQGHUPHQWKDQWRWKHWUDQVJHQGHUZRPHQ"                    %<$77251(<%522.6
   $6ROHW VVHH,WDFWXDOO\GRHVQ W6RLI\RX         4$QGZKLFKVSRUWVLQ\RXUUHFROOHFWLRQGLGWKDW
   KDYHDVSRUWZKHUHWKDWZKHUHWKHDGYDQWDJHRU          DSSO\WR"
   IRUWKHZKHUHDNQRZQDGYDQWDJHIRUFLVJHQGHUPHQ           $<HDKWKDW V,GRQ WUHPHPEHURIIWKHWRSRI
   YHUVXVFLVJHQGHUZRPHQZDVVXIILFLHQWO\PRGHVWDQG             P\KHDG
   DJDLQ,ZRXOGQ WEHWKHMXGJHRIWKDWEXW\RXFRXOG           4$WWKHYHU\OHDVWLWDSSOLHGWRWUDFNHYHQWV
   HQYLVLRQWKDWEHFRPLQJDFRHGVSRUW                            &RUUHFW"
   4$UH\RXRIIHULQJDQRSLQLRQWKDWHLWKHU                $,WGRHV%XWLI\RXVWDUWWRTXL]PHRQWKH
   JRYHUQPHQWRUOHDJXHVKDYHDQREOLJDWLRQWRGRDQ               VSHFLILFGLVWDQFHV,ZRQ WJHWWKDW
   LQGLYLGXDOE\LQGLYLGXDODVVHVVPHQWDVWRZKHWKHUD             4$QGQRUZLOO,VRTXL]\RX$QGWKDW
   SDUWLFXODUQDWDOPDOHZKRH[SHULHQFHVDIHPDOHJHQGHU           UHTXLUHPHQWDVDSSOLHGWRWUDFNFRPSHWLWLRQZDVLQ
   LGHQWLW\GRHVRUGRHVQRWHQMR\DSK\VLRORJLFDO                 IDFWWKHVXEMHFWRIDPDMRULQWHUQDWLRQDODUELWUDWLRQ



                                                                                                        3DJHVWR
                                                                                                     Armistead App. 0628
                                                   3DJH                                                         3DJH
    DV\RX UHDZDUH                                                4$QG\RXWKRXJKWWKDWWKDWUXOHZDVUHDVRQDEOH"
    &RUUHFW"                                               $$VZLWKWKHGDWDZHKDYHFXUUHQWO\\HV
    $,IZH UHUHIHUHQFLQJWKH&DVWHU6HPHQ\DFDVH          SHUVRQDOO\
    \HV                                                            4$QGZKDWLQ\RXURSLQLRQLVWKHLQKHUHQW
    4'LG\RX\RXUVHOIKDYHDQ\SDUWLFLSDWLRQLQWKDW        UHDVRQWKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOV
    DUELWUDWLRQ"                                                    IDURXWVLGHWKHQRUPDOIHPDOHUDQJHVKRXOGEHWUHDWHGDV
    $,GLGQRW                                             DQ\PRUHRIDQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDW
    4'R\RXNQRZZKHWKHU'RFWRU+DQGHOVPDQKDGDQ\          DOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"
    SDUWLFLSDWLRQLQWKDW"                                          $77251(<%/2&.2EMHFWLRQ, PVRUU\
   $77251(<%/2&.2EMHFWLRQ                     &DQ\RXFODULI\DVDQH[SHUWRUDVDQLQGLYLGXDOMXVW
   7+(:,71(66,GRQ WNQRZRIIWKHWRS          EHFDXVH\RXVKLIWHGEDFNDQGIRUWK"
   RIIRIP\KHDG                                                %<$77251(<%522.6
   %<$77251(<%522.6                                            4)LUVWDVDQH[SHUW
   4+DYH\RXHYHUUHDGWKHDUELWUDULDOGHFLVLRQLQ        $6R\HVJLYHPHWKHTXHVWLRQDJDLQ, P
   WKDWFDVH"                                                     VRUU\
   $, PFHUWDLQ,UHDGH[FHUSWVEXWWKDWLVDVPXFK      4:KDWLQ\RXURSLQLRQLVWKHLQKHUHQWUHDVRQ
   DV,FRXOGVD\                                                WKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOVRXWVLGH
   42ND\                                                 WKHQRUPDOIHPDOHUDQJHVKRXOGEHWUHDWHGDVDQ\PRUHRI
   <RXSDUWLFLSDWHGLQGHYHORSLQJRQWKHD           DQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDWDOUHDG\
   PHPEHURIWKHFRPPLWWHHWKDWGHYHORSHGWKHUHJXODWLRQ          H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"
   WKDW\RX YHUHIHUHQFHGWKHQDQRPRODUWKUHVKROG"           $6RWRFODULI\ZHVRRND\OHWPHJREDFN
   $,ZDVRQWKHFRPPLWWHHWKDWKHOSHGGHWHUPLQH          /HWPHDQVZHULQSLHFHV,JXHVVRUDVN\RXWRVD\LWLQ
   WKDWSDUWLFXODUWKUHVKROGFRQFHSWXDO\HV                     SLHFHV6RZKDWLVGLIIHUHQWEHWZHHQW\SLFDOPDOH
   4$QG\RX UHDZDUHWKDWLQDGGLWLRQWRLQGLYLGXDOV      OHYHOVRIWHVWRVWHURQHLQDQLQGLYLGXDODQGVRPHRWKHU


                                                   3DJH                                                         3DJH
    VXFKDV&DVWHU6HPHQ\DZKRVXIIHUHGRIDGLVRUGHURI           FKDUDFWHULVWLFVWKDWDUHDFURVVWKHUDQJHRI
    VH[XDOGHYHORSPHQWWKDWWKDWUXOHZRXOGH[FOXGHVRPH           FKDUDFWHULVWLFVRIFLVJHQGHUZRPHQ",VWKDWWKH
    WUDQVJHQGHUZRPHQIURPIHPDOHDWKOHWLFVWKDWZHUH               TXHVWLRQ"$P,UHSKUDVLQJWKDWFRUUHFWO\"
    VXEMHFWWRWKDW,$$)UXOH                                      4, PDFWXDOO\UHIHUHQFLQJSDUDJUDSKRI\RXU
    &RUUHFW"                                               H[SHUWUHSRUWEXWP\TXHVWLRQDQGOHW VWDNHIRU
    $77251(<%/2&.2EMHFWLRQWRWKH                LQVWDQFHDQDWDOPDOHZKRKDVSUHVVWHVWRVWHURQHEXW
    WHUPLQRORJ\                                                    RQO\DFKLHYHGVL[QDQRPRODUSHUOLWHUFRQFHQWUDWLRQGR
    7+(:,71(666R,ZDVDZDUHWKDWE\             \RXKDYHWKDWFRQFHQWUDWLRQGR\RXKDYHWKDWLQPLQG"
    VHWWLQJDWKUHVKROGWKDWWKHUHDQGHYHQWKDW                $$WUDQVJHQGHUZRPDQZKRVHWHVWRVWHURQHOHYHOLV
   WKUHVKROGLQSDUWLFXODUWKDWWKHUHZRXOGEHWUDQVJHQGHU       VL[
   ZRPHQZKRZRXOGQRWDFKLHYHWKDWWKUHVKROGIRUZKDWHYHU        45LJKW:KDWLQ\RXURSLQLRQLVWKHLQKHUHQW
   UHDVRQ                                                        UHDVRQWKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOV
   %<$77251(<%522.6                                            DERYHDWKUHVKROGVXFKDVILYHQDQRPRODUVVKRXOGEH
   4$QGGLG\RXQHYHUWKHOHVVFRQVLGHUWKHUHJXODWLRQ      WUHDWHGDVDQ\PRUHRIDQXQIDLUDGYDQWDJHWKDQWKH
   WREHUHDVRQDEOH"                                              DGYDQWDJHVWKDWDOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQ
   $,I\RXDUHDVNLQJPHDVDQH[SHUWWKHQDJDLQ,       DWKOHWHV"
   FDQ WFRPPHQW                                                 $77251(<%/2&.2EMHFWLRQWRIRUP
   4:HOOOHWPHMXVWDVN\RXDV'RFWRU6DIHU            7+(:,71(666RDFRXSOHRIWKLQJV
   $$P,DOORZHGWR"                                  )LUVWRIDOO,GRQ WNQRZWKDWDWHVWRVWHURQHOHYHORI
   $77251(<%/2&.2EMHFWLRQWRIRUP             VL[LVIURPDVFLHQWLILFSHUVSHFWLYHGHPRQVWUDWLYHO\
   %<$77251(<%522.6                                            GLIIHUHQWWKDQDWHVWRVWHURQHOHYHORIILYH,W VMXVW
   4<RXDUHDOORZHG                                      DPDWWHURIDIIHFWLQJLWRYHUDOO6R,ZDQWWRFODULI\
   $2ND\6RKDYLQJDUXOHGRHVPDNHVHQVHWRPH        WKDW,W VQRWWKDWWKDWWKDWVPDOOGHJUHHLV
   \HV                                                           QHFHVVDULO\UHOHYDQW$QG,FDQ WHYHQVD\WKDWZH


                                                                                          3DJHVWR
                                                                                                       Armistead App. 0629
                                                  3DJH                                                             3DJH
    GHPRQVWUDWHGDGYDQWDJH,W VVWLOODWKHRUHWLFDOZLWK         $77251(<%/2&.2EMHFWLRQWRWKHIRUP
    UHJDUGWRVRPHRIWKRVHKLJKHUWHVWRVWHURQHOHYHOV/HW       7+(:,71(66<HDK,GRQ WEXW,JXHVV
    PHWKLQNDERXWWKRVHIRUDVHFRQG<HVVRVRPHRIWKH        LW VDFRPSOLFDWHGDQVZHUVR,QHHGWRNQRZZKDW
    ORJLFSDWWHUQIRUKDYLQJDWKUHVKROGLVLQRUGHUWREH         \RXPHDQE\WKDW
    DEOHWROLPLWWKHHQWLUHFRQYHUVDWLRQWRGHDOLQJZLWK          %<$77251(<%522.6
    WUDQVJHQGHUZRPHQRUZRPHQZLWKRULQWHUVH[ZRPHQRU       4,PHDQLWEURDGO\+DYH\RXZRUNHGZLWKKHURQ
    ZRPHQZKRIRUDQ\UHDVRQKDYHKDYHHOHYDWHGWHVWRVWHURQH       DQ\VRUWVRISURMHFWVRUFRPPLWWHHV"
    OHYHOVDQGQRWWRRSHQWKHGRRUDWWKHHOLWHOHYHOIRUD       $:HOOZHZHUHERWKLQWKHZRUNLQJJURXSIRU
    SDUWLFLSDWLRQE\FLVJHQGHUPHQSRVLQJDVFLVJHQGHUZRPHQ       :RUOG$WKOHWLFVWKDWKHOSHGGHYHORSWKLVWKUHVKROG
   LIWKDWPDNHVVHQVH                                          4$QGGR\RXFRQVLGHU'RFWRU+DUSHUWREH
   %<$77251(<%522.6                                           NQRZOHGJHDEOHLQWKHILHOGRIVSRUWVSK\VLRORJ\"
   4,VWKHUHLQ\RXUMXGJPHQWDQ\LQKHUHQWUHDVRQ      $,GR
   WKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOVZHOO         4$QGGR\RXFRQVLGHU'RFWRU+DUSHUWREH
   RXWVLGHQRUPDOIHPDOHUDQJHVVKRXOGEHWUHDWHGDVDQ\         NQRZOHGJHDEOHZLWKUHJDUGWRWKHLPSDFWRIWHVWRVWHURQH
   PRUHRIDQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDW          VXSSUHVVLRQRQDWKOHWLFFDSDELOLWLHVLQPDOH"
   DOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"                 $6RGR,FRQVLGHUKHUWREHNQRZOHGJHDEOHLQWKH
   $6R,KDYHWRJREDFNWRWKDWRQH,VLWP\          ILHOG",FHUWDLQO\GR)RUZKDWLW VZRUWKVKHLV
   RSLQLRQWKDWPDOHOHYHOWHVWRVWHURQHOHYHOV"              VWLOO0V+DUSHU6KH VDFWXDOO\LQWKH3K'SURJUDP
   4/HWPHP\TXHVWLRQLVWHVWRVWHURQHOHYHOV        QRZ
   VLJQLILFDQWO\DERYHQRUPDOIHPDOHUDQJHV"                     42KRND\,MXVWJDYHKHUDQKRQRUDU\GHJUHH
   $$UHWKHQQRVRUU\,WWRRNPHDOLWWOH         $6KHRFFXSLHVDSURPLQHQWSODFHLQWKHILHOG
   ZKLOHWRJHWWKHUHEXWQR                                   $77251(<%522.6/HW VWDNHWKDWEUHDN
   4%HFDXVHWKHTXHVWLRQZDVFRPSOLFDWHGDQGWKH         9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   DQVZHUZDVEURNHQXS,ZLOODVN\RXDJDLQQRWWRLQVXOW      FXUUHQWWLPHLVDP(DVWHUQ6WDQGDUG7LPH


                                                  3DJH                                                             3DJH
    \RXEXWVRZHKDYHDFOHDUUHFRUG,WKLQN,XQGHUVWRRG       2))9,'(27$3(
    \RXUDQVZHUEXWLVWKHUHLQ\RXURSLQLRQDQ\UHDVRQ          
    ZK\DGYDQWDJHVSURYLGHGE\WHVWRVWHURQHOHYHOZHOO              :+(5(8321$6+257%5($.:$67$.(1
    RXWVLGHQRUPDOIHPDOHUDQJHVVKRXOGEHWUHDWHGDVDQ\          
    PRUHRIDQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDW           219,'(27$3(
    DOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"                  9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
    $77251(<%/2&.2EMHFWLRQWRIRUP             &XUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH
    7+(:,71(66$QGDVDQH[SHUW, PQRW          %<$77251(<%522.6
    UHQGHULQJDQRSLQLRQWKHUHWKDW VULJKW                      4'U6DIHUOHWPHDVN\RXWRJREDFNWR([KLELW
   %<$77251(<%522.6                                           3URIHVVRU+DQGHOVPDQ VDUWLFOH$QGLI\RXZRXOGWXUQ
   42ND\                                                LQWKDWDUWLFOHWRSDJHWKHILUVWSDUDJUDSKEHJLQV
   ,QSDUDJUDSKRI\RXU                         WKHVWURQJHVWFODVVLILFDWLRQLQDOHDJXHVSRUWLVWKDW
   $77251(<%/2&.:RXOGQRZEHDJRRGWLPH      DIWHUSXEHUW\PHQWLPHVPRUHWHVWRVWHURQHWKDQZRPHQ
   IRUDEUHDN"                                                  'R\RXVHHWKDWODQJXDJH"
   $77251(<%522.6/HWPHMXVWDVNWKLV         $,GR
   RQHTXHVWLRQDQGWKHQ\HV                                    4$QGKHGLVFXVVHVDQXPEHURIUHVXOWVDQGHQGV
   %<$77251(<%522.6                                           KLVSDUDJUDSKE\VD\LQJLQFRQFHUWTXRWHLQFRQFHUW
   4,QSDUDJUDSK\RXFLWHDDUWLFOHE\           WKHVHUHQGHUZRPHQRQDYHUDJHXQDEOHWRFRPSHWH
   -RDQQD+DUSHU"                                                HIIHFWLYHO\DJDLQVWPHQLQSRZHUEDVHGRUHQGXUDQFH
   $,GR\HV                                           EDVHGVSRUWV
   4+DYH\RXHYHUPHW-RDQQD+DUSHU"                     'R\RXVHHWKDW"
   $,KDYH                                              $,GR
   4$QGKDYH\RXFROODERUDWHGZLWK-RDQQD+DUSHULQ      4$QGGR\RXFRQVLGHU\RXUVHOITXDOLILHGWR
   DQ\ZD\"                                                      HYDOXDWH3URIHVVRU+DQGHOPDQ VDVVHUWLRQWKDWZRPHQDUH



                                                                                           3DJHVWR
                                                                                                   Armistead App. 0630
                                                  3DJH                                                         3DJH
    RQDYHUDJHXQDEOHWRFRPSHWHHIIHFWLYHO\DJDLQVWPHQLQ        LGHQWLILFDWLRQ
    SRZHUEDVHGRUHQGXUDQFHEDVHGVSRUWV"                         
    $1R                                                   %<$77251(<%522.6
    41RWTXDOLILHG"                                        4$QG'RFWRU6DIHUQRZWKDW\RXKDYH,DVNHG
    $1RWTXDOLILHGFRUUHFW                               \RXHDUOLHUDERXWZKHWKHU\RXKDGVHHQWKHDUELWUDWLRQ
    4'R\RXEHOLHYH\RXKDYHDQXQGHUVWDQGLQJ          GHFLVLRQDQG,WKLQN\RXVDLG\RXPLJKWKDYHUHDG
    ZHOOOHWPHDVN\RXWKLV'R\RXFRQVLGHU\RXUVHOI           H[FHUSWVRILW/RRNLQJDWLWWRGD\GR\RXEHOLHYH
    TXDOLILHGWRRIIHUDQ\RSLQLRQDVWRZK\VSRUWVKDYH           WKDW\RXKDYHHYHUVHHQDFRS\RIWKHZKROH'HFLVLRQ"
    EHHQVHSDUDWHGE\VH[KLVWRULFDOO\"                            $,GRQRWWKLQN, YHUHDGWKURXJKWKHZKROH
   $,JXHVV,ZRXOGVD\, PDZDUHRIWKHKLVWRU\        'HFLVLRQ
   4$QGLQ\RXUXQGHUVWDQGLQJZKDWLVWKHUHDVRQ         4'R\RXWKLQN\RX YHHYHUKHOGWKLVZKROH
   WKDWVSRUWVKDYHEHHQVHSDUDWHGE\VH[KLVWRULFDOO\"          GRFXPHQWLQ\RXUKDQGEHIRUH"
   $7KHKLVWRU\LVWKDWDWDFHUWDLQSRLQWZKHUH         $7KLVLVWKHILUVWWLPHWKDW,KHOGWKHZKROH
   VXIILFLHQWGHYHORSPHQWKDVWDNHQSODFHWKHUHLVD             GRFXPHQW
   GLIIHUHQWLDOLQDWOHDVWVRPHVSRUWVEHWZHHQPHQDQG          4, PJRLQJWRDVN\RXDERXWDIHZTXRWDWLRQVLQ
   ZRPHQEHWZHHQFLVJHQGHUPHQDQGFLVJHQGHUZRPHQVXFK      LWQRWWRDVN\RXURSLQLRQVDERXWWKHMXGJPHQWEXWWR
   WKDWLQRUGHUIRUZRPHQWRZLQWKRVHHYHQWVUHOLDEO\          HOLFLW\RXURSLQLRQVDERXWWKHVFLHQFH6RLI\RXZRXOG
   WKHUHQHHGVWREHDFDUYHRXW                                WXUQDQGWKHVWUXFWXUHRIWKHGRFXPHQWLVWKDW
   4$QGDV\RXVLWKHUHWRGD\FDQ\RXLGHQWLI\IRU       HYHU\WKLQJLQLWKDVDSDUDJUDSKQXPEHUZKLFKWKDQN
   PHDQ\VSRUWLQZKLFK\RXEHOLHYHWKDWFLVJHQGHUPHQ          JRRGQHVVPDNHVLWHDV\WRILQGWKLQJV6RLI\RXZRXOG
   DIWHUSXEHUW\GRQRWHQMR\DVLJQLILFDQWSHUIRUPDQFH          WXUQWRSDUDJUDSK7KHILUVWVHQWHQFHRI
   DGYDQWDJHRYHUFLVJHQGHUZRPHQ"                               SDUDJUDSKRIWKLV'HFLVLRQUHDGVWKHUHLVQRGLVSXWH
   $<HV                                                 WKDWHQVXULQJIDLUFRPSHWLWLRQLQWKHIHPDOHFDWHJRU\RI
   43OHDVHGR                                           HOLWHFRPSHWLWLYHDWKOHWLFVLVDOHJLWLPDWHREMHFWLYH


                                                  3DJH                                                         3DJH
    $([DPSOHVLQFOXGHZHOO,JXHVV,EHWWHUQRW       IRUWKH,$$)WRSXUVXHFORVHGTXRWH$VDPHPEHURI
    JHWWRRIDUDQGEHWKHH[SHUWKHUHEXW,EHOLHYH              WKH,$$)&RPPLWWHHWKDWHVWDEOLVKHGWKHSROLF\WKDWZDV
    ULIOHU\DQGRWKHUVLQWKHFDWHJRU\RIKDQGH\H                 FKDOOHQJHGLQWKLVDUELWUDWLRQGR\RXDJUHHRUGLVDJUHH
    FRRUGLQDWLRQ,WKLQNVRPHRIWKHHTXHVWULDQVSRUWVDUH       WKDWWKHUHLVQRGLVSXWHWKDWHQVXULQJIDLUFRPSHWLWLRQ
    H[DPSOHV                                                      LQWKHIHPDOHFDWHJRU\LVDOHJLWLPDWHREMHFWLYHIRUWKH
    42ND\                                                 ,$$)WRSXUVXH"
    <RXDUHQRWRIIHULQJDQ\RSLQLRQDUH\RXWKDW       $77251(<%/2&.2EMHFWLRQWRIRUP
    WKHUHDVRQIRUVHSDUDWLRQRIVSRUWVE\VH[LVWRDIILUP        7+(:,71(66$VDQH[SHUW,GRQRWKDYH
    VH[VSHFLILFVRFLDOUROHVRULGHQWLWLHV"                       DQRSLQLRQ
   $, PQRWDZDUHRIWKDW, PQRWDQH[SHUWRQ         %<$77251(<%522.6
   WKRVHSLHFHVEXW, PQRWDZDUHSHUVRQDOO\                   42ND\
   4$QGLWLVQRW\RXURSLQLRQLVLWWKDW              /HWPHDVN\RXWRWXUQWRSDUDJUDSK$QG
   VHSDUDWLRQRIVSRUWE\VH[LVLQJHQHUDOXQIDLU"              WKLVDUELWUDWLRQDV\RXQRWHGGHDOVZLWKWKHFDVHRI
   $77251(<%/2&.2EMHFWLRQWRIRUP            &DVWHU6HPHQ\DDQGWKHUHIRUHZLWKWUDFNHYHQWVQRWZLWK
   7+(:,71(666RDJDLQDVDQH[SHUW, P       ULIOHU\RUZLWKHTXHVWULDQHYHQWV6R,ZLOODVN\RXU
   QRWFRPPHQWLQJRQIDLUQHVV                                   UHDFWLRQWRWKDWFRQWH[W,QWKHPLGGOHRI
   $77251(<%522.6, PJRLQJWRPDUNDV         SDUDJUDSKEHJLQQLQJKDOIZD\WKURXJKWKHVL[WKOLQH
   6DIHU([KLELWD'HFLVLRQLQWKHDUELWUDODZDUG             WKHSDQHOZURWHTXRWHVXIILFHWRVD\WKDWSRVWSXEHUW\
   GHOLYHUHGLQWKH&RXUWRI$UELWUDWLRQIRU6SRUWLQ            JHQHUDOO\VSHDNLQJPDOHVRXWSHUIRUPIHPDOHDWKOHWHV
   FRQQHFWLRQZLWKWKHDUELWUDWLRQEHWZHHQ$WKOHWLF6RXWK        , PVRUU\PDOHDWKOHWHVRXWSHUIRUPIHPDOHDWKOHWHVDW
   $IULFDDQGWKH,$$)DEXON\GRFXPHQWXQIRUWXQDWHO\         DQHOLWHOHYHO7KLVGLIIHUHQFHLVLQVXUPRXQWDEOH
                                   FORVHGTXRWH
    :KHUHXSRQ([KLELW&RXUWRI$UELWUDWLRQ       'R\RXVHHWKDW"
   IRU6SRUW'HFLVLRQZDVPDUNHGIRU                $,GR


                                                                                         3DJHVWR
                                                                                                     Armistead App. 0631
                                                   3DJH                                                          3DJH
    4$QGGR\RXEHOLHYHLWWREHWUXHIDOVHRU             $77251(<%/2&.2EMHFWLRQWRIRUP
    RXWVLGHRI\RXUH[SHUWLVHWKDWPDOHDWKOHWHVRXWSHUIRUP         7+(:,71(666RLWGHSHQGVRQWKHHYHQW
    IHPDOHDWKOHWHVDWWKHHOLWHOHYHODWDGLIIHUHQFHWKDW         %<$77251(<%522.6
    LVLQVXUPRXQWDEOH"                                              4:K\GRHVLWGHSHQGRQWKHHYHQW"
    $77251(<%/2&.2EMHFWLRQWRIRUP              $:HOOWKHUHDUHHYHQWVZKHUHZHVHHDVDQ
    7+(:,71(66$VDEODQNHWVWDWHPHQWQR        HOLWH2O\PSLFHYHQWZKHUHWKHUXQQHUVDUHYLUWXDOO\
    ,ZRXOGVD\WKDWLVQRWP\H[SHUWLVH                           WLHG$QGSHUFHQWWKHQZLOOEHVLJQLILFDQWLQWKH
    %<$77251(<%522.6                                             PRPHQWEHFDXVHWKDWZLOOEHGHVFULEHGLQWKDWILHOG
    4/HWPHDVN\RXWRWXUQWR,VDLG,         $QG\HWWKHUHDUHRWKHUHYHQWVZKHUHSHRSOHDUHIDUPRUH
   PHDQW,DSRORJL]H$WWKHHQGRIWKHSDQHO          VSUHDGRXWDQGWKHUH VJUHDWHULQHYHU\HOHPHQW
   KDVZULWWHQTXRWH                                       WKHQSHUFHQWDGYDQWDJHEHFRPHVORVWLQWKDWQRLVH
   $77251(<%522.6:HMXVWKDGVWDWLF            4$QGZHOOOHW VWDNHFRPSHWLWLYHKLJKVFKRRO
   KHUHVROHWPHDVNZKHWKHUSHRSOHRXWVLGHWKH                 DWKOHWLFVFRPSHWLWLYHKLJKVFKRROWUDFN'R\RXKDYH
   FRQIHUHQFHURRPDUHKHDULQJXV",IVRPHERG\FRXOG             DQRSLQLRQDVWRSHUFHQWDGYDQWDJHLQWKDWFRQWH[W
   XQPXWH                                                        LVVLJQLILFDQWRULQVLJQLILFDQW"
   $77251(<75<21,FDQKHDU\RX                $,GRQRWKDYHDQRSLQLRQ
   $77251(<%522.6:HMXVWKDGVRPHVWDWLF       46RLI,XQGHUVWDQGFRUUHFWO\\RXUSRLQWLQVRPH
   WKDWFDXVHGPHFRQFHUQ                                        FRQWH[W\RXNQRZWKDWSHUFHQWLVVLJQLILFDQWEXW
   %<$77251(<%522.6                                            WKDWLQRWKHUFRQWH[W\RXGRQ WNQRZRQHZD\RUWKH
   4$WWKHHQGRISDUDJUDSKWKHSDQHOZURWH          RWKHU"
   TXRWHPDOHDWKOHWHVGRQRWKDYHWREHHOLWHWRVXUSDVV        $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   HYHQWKHYHU\EHVWIHPDOHDWKOHWHV'U%HUPDQSRLQWHG        7+(:,71(66<HV,JXHVV,ZRXOGVD\
   RXWWKDWLQDUDFHVXFKDVWKHPHWHUDSHUFHQW        WKDWLQVRPHFRQWH[W,FDQVHHWKDWSHUFHQWLV
   DGYDQWDJHDVFDOFXODWHGLQ%*ZDVVXIILFLHQWWR            VLJQLILFDQWDQGWKHQLQRWKHUFRQWH[W,FDQVHHWKDW


                                                   3DJH                                                          3DJH
    GHWHUPLQHILUVWSODFHE\WKHUHJLRQRIQLQHPHWHUV             SHUFHQWGRHVQRWDSSHDUWREHVLJQLILFDQW$QGDFWXDOO\
    FORVHGTXRWH                                                   HYHQLI\RX UHDVNLQJDVDQH[SHUWZKDWHYHQLV
    'R\RXVHHWKDWODQJXDJH"                              VLJQLILFDQWLVRXWVLGHP\SXUYLHZEXWZLWKWKDW
    $<HV                                                   XQGHUVWRRG,FDQVWLOOVHHWKDWVRPHRQHZRXOGVD\LWRQH
    4$QGGR\RXFRQVLGHULWWREHWUXHIDOVHRU            ZD\DQGQRWVD\LWWKHRWKHUZD\
    RXWVLGH\RXUH[SHUWLVHWKDWPDOHDWKOHWHVGRQRWHYHQ           %<$77251(<%522.6
    KDYHWREHHOLWHWRVXUSDVVWKHYHU\EHVWIHPDOH                4/HWPHDVN\RXWRWXUQWRSDUDJUDSK$QG
    DWKOHWHV"                                                       ILUVW,ZLOODVN\RXWRWXUQWRSDJHSDUDJUDSK
    $77251(<%/2&.2EMHFWLRQWRIRUP              MXVWVR\RXFDQVHHZH UHLQDVHFWLRQVXPPDUL]LQJWKH
   7+(:,71(66,QDDVDEODQNHW             WHVWLPRQ\RI3URIHVVRU'DYLG+DQGHOVPDQ7KDWEHJLQVDW
   VWDWHPHQWLWLVRXWVLGHP\H[SHUWLVH                          SDUDJUDSK$QGWKHQ, PJRLQJWRFDOO\RXU
   %<$77251(<%522.6                                            DWWHQWLRQWRSDUDJUDSKDQGLWSXWV\RXWRWKH
   4$QGGR\RXKDYHDQRSLQLRQDVWRZKHWKHUD            VWDWHPHQWWKHUH
   SHUFHQWDGYDQWDJHLVDVLJQLILFDQWDGYDQWDJHRU            LQFOXGHVDQXPEHURIEXOOHWSRLQWV7KH
   LQVLJQLILFDQWDGYDQWDJH"                                       WKLUGEXOOHWSRLQWZKLFKLVRQSDJHUHDGVDQG
   $,WKLQNWKDW VWRRFRPSOLFDWHGDVSKUDVHGIRUPH      DJDLQWKLVLVWKHSDUDJUDSKEHJLQVTXRWH3URIHVVRU
   WRDQVZHU                                                     +DQGHOVPDQZHQWRQWRH[SODLQLQJUHDWHUGHWDLOZK\WKH
   47KDW VDFWXDOO\RQHRIWKHVLPSOHUTXHVWLRQV          VH[GLIIHUHQFHLQFLUFXODWLQJWHVWRVWHURQHLVWKHFDXVH
   WKDW, YHDVNHGWRGD\/HWPHDVNLWDJDLQDQGDVN\RX        RIWKHGLIIHUHQFHLQDWKOHWLFSHUIRUPDQFHEHWZHHQPHQ
   WRWKLQN'R\RXKDYHDQRSLQLRQDQGLI\RXRQH          DQGZRPHQDQGWKHQWKHUHDUHEXOOHWSRLQWV7KHWKLUG
   DQVZHURIFRXUVHLV,GRQ WKDYHDQRSLQLRQRULWLV           EXOOHWSRLQWUHDGVRQDYHUDJHZRPHQKDYHWR
   RXWVLGHRIP\H[SHUWLVHEXWGR\RXKDYHDQRSLQLRQDV         SHUFHQWRIPHQ VXSSHUDUPPXVFOHFURVVVHFWLRQDO
   WRZKHWKHUDSHUFHQWDGYDQWDJHLQDWUDFNHYHQWLVD       DUHDWRSHUFHQWRIPHQ VWKLJKPXVFOH
   VLJQLILFDQWDGYDQWDJH"                                         FURVVVHFWLRQDODUHDWRSHUFHQWRIPHQ VOLPE



                                                                                           3DJHVWR
                                                                                                           Armistead App. 0632
                                                  3DJH                                                                   3DJH
    VWUHQJWKDQGWRRIPHQ VOHJVWUHQJWK'R\RXVHH       LQWHUQDWLRQDOIHGHUDWLRQVZLWKWKHLUUXOHPDNLQJ
    WKDWODQJXDJH"                                                 4$QGGR\RXFRQVLGHU3URIHVVRU&ROHPDQWREH
    $77251(<%/2&.2EMHFWLRQWRIRUP             NQRZOHGJHDEOHDERXWWKHUHODWLYHDWKOHWLFFDSDELOLWLHV
    7+(:,71(66,GR                             DQGUHFRUGVRIPDOHDQGIHPDOHDWKOHWHV"
    %<$77251(<%522.6                                            $7RPHWKDW VWRRYDJXHDTXHVWLRQ6KH VD
    4'R\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHUWKRVH         ODZ\HU
    VWDWLVWLFVDUHRQFRUUHFWDVJLYHQE\'U+DQGHOVPDQ"          4$UH\RXDZDUHDOVRRIKHUDWKOHWLFEDFNJURXQGDV
    $,GRQRW                                             DFRPSHWLWLYHDWKOHWH"
    4$QGGR\RXKDYHDQ\H[SHUWNQRZOHGJHDVWRKRZ        $,DP
   WKRVHVWDWLVWLFVGRRUGRQRWFKDQJHXQGHUWKHLQIOXHQFH      4$QGDUH\RXDZDUHRIKHUUHVHDUFKDQG
   RIWHVWRVWHURQHVXSSUHVVLRQLQQDWDOPDOHVZKR                SXEOLFDWLRQVKDYLQJWRGRZLWKDWKOHWLFUHFRUGVDQG
   H[SHULHQFHDIHPDOHJHQGHULGHQWLW\"                          FDSDELOLWLHVRIPDOHDQGIHPDOHDWKOHWHV"
   $77251(<%/2&.2EMHFWLRQWR                  $77251(<%/2&.2EMHFWLRQWRIRUP
   WHUPLQRORJ\                                                  7+(:,71(66, PDZDUHRIVRPHRIKHU
   7+(:,71(666R,JXHVVWKH,KDYH        SXEOLFDWLRQVZKHUHVKHKDVFRDXWKRUHGEXWVKH VQRW
   QRH[SHUWNQRZOHGJHDERXWWKHVHQXPEHUVSHUVHEXW,        XVXDOO\WKHSK\VLRORJ\H[SHUWLQWKHJURXS
   GRNQRZDVDQH[SHUWWKDWZKHQWHVWRVWHURQHOHYHOVDUH        %<$77251(<%522.6
   VXSSUHVVHGLQWUDQVJHQGHUZRPHQDQGDFWXDOO\LQ               4/HWPHDVN\RXWRWXUQWRSDUDJUDSK$QGLI
   FLVJHQGHUPHQDQ\RQHWKDWWKHVHQXPEHUVDUHGHFUHDVHG      \RXORRNDWWKHSDJH\RXZLOOVHHWKDWWKLVLVZLWKLQ
   $QG,FDQVD\WKDWZLWKFRQILGHQFHDVDQH[SHUW              WKHWULEXQDOVXPPDU\RIWHVWLPRQ\RI3URIHVVRU&ROHPDQ
   %<$77251(<%522.6                                           /HWPHDVN\RXVLQFH\RXGHDOWSHUVRQDOO\ZLWKWKH
   4%XW\RX UHQRWDEOHWRTXDQWLI\WKDWGHFUHDVH       SURIHVVRUEHFDXVH,ZDQWWKHUHFRUGWREHUHVSHFWIXO
   ,VWKDWFRUUHFW"                                     GRHVVKHLQJHQHUDOXVHSUHIHUWREHUHIHUUHGWRDV
   $,FDQQRWTXDQWLI\WKDWGHFUHDVH7KHGDWDJHWV      3URIHVVRU/DPEHOHW&ROHPDQRUVLPSO\3URIHVVRU&ROHPDQ"


                                                  3DJH                                                                   3DJH
    PXUN\ZKHQZHVWDUWWRJHWWKHUH                              $,GRQ WNQRZWKHDQVZHU
    4+DYH\RXHYHUPHW3URIHVVRU&ROHPDQDW'XNH           42ND\
    8QLYHUVLW\"                                                    $,SUHIHUWRKHURQDILUVWQDPHEDVLV
    $'RULDQH&ROHPDQ"                                      4$OOULJKW
    4<HV                                                  ,ZLOOVWLFNZLWKWKHVKRUWHUYHUVLRQ,Q
    $,KDYH                                               SDUDJUDSKWKHSDQHOGHVFULELQJ3URIHVVRU&ROHPDQ V
    4$QGLQZKDWFRQWH[WKDYH\RXLQWHUDFWHGZLWK          VXEPLVVLRQVWDWHVTXRWH3URIHVVRU/DPEHOHW&ROHPDQ V
    3URIHVVRU&ROHPDQ"                                             UHSRUWFRPSDUHGWKHOLIHWLPHEHVWSHUIRUPDQFHRIWKUHH
    $7KHDSURIHVVLRQDOFRQWH[W                       HOLWHIHPDOHDWKOHWHVLQWKHPHWHUHYHQWZLWKWKH
   4&DQ\RXGHVFULEHWKHFRQWH[W"                        SHUIRUPDQFHRIPDOHDWKOHWHVLQWKHVDPHHYHQWGXULQJD
   $:HKDYHVHUYHGRQVRPHRIWKHVHWZRRIWKH       VLQJOH\HDUSHULRG7KLVVKRZHGQRWRQO\WKDW
   VDPHFRPPLWWHHVFRPPLWWHHWDVNIRUFHZKDWHYHU\RX        WKHHOLWHIHPDOHVZRXOGKDYHORVWWRWKHEHVWPHQE\D
   FDOOLWIRU:RUOG$WKOHWLFVWRJHWKHU                        PDUJLQRIDERXWSHUFHQWEXWDOVRWKDWHYHQDWWKHLU
   4:DVVKHLQIDFWRQWKHFRPPLWWHHZKLFK\RX         DEVROXWHEHVWWKHHOLWHIHPDOHVZRXOGKDYHORVWWR
   SDUWLFLSDWHGWKDWVHWWKHILYHQDQRPRODUVWDQGDUGIRU         WKRXVDQGVRIRWKHUER\VDQGPHQE\DPXFKVPDOOHU
   WKH,$$)"                                                     PDUJLQFORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
   $,GRQ WUHFDOOIRUVXUHEXW,WKLQNQRW             $,GR
   47KHQFDQ\RXLGHQWLI\IRUPHWKHWZRFRPPLWWHHV      4$QGGR\RXKDYHDQ\UHDVRQWRGRXEWWKHDFFXUDF\
   WKDW\RXUHFDOOWKDW\RXGLGVLWRQZLWK3URIHVVRU            RIWKDWVXPPDU\RIDWKOHWLFSHUIRUPDQFHVWDWLVWLFV"
   &ROHPDQ"                                                      $,FDQ WUHQGHUDQH[SHUWRSLQLRQWKHUH
   $6XEVHTXHQWWRWKHLQLWLDOJURXSDQG,GRQ W         4'R\RXDV\RXVLWKHUHWRGD\KDYHDQ\UHDVRQWR
   NQRZWKDWLW VWZRFRPPLWWHHVLWPD\EHWKHVDPH             GRXEWWKHDFFXUDF\RIWKRVHVWDWLVWLFV"
   FRPPLWWHHWKH\JHWUHQDPHG7KLQJVOLNHWKDWKDSSHQ        $$JDLQ,FDQQRWFRPPHQWDVDQH[SHUW,JXHVV
   6RLWLV, PWKLQNLQJIRUZDUGWRDVVLVWLQJRWKHU          WKDW VWKHERWWRPOLQH


                                                                                              3DJHVWR
                                                                                                    Armistead App. 0633
                                                  3DJH                                                          3DJH
    4,ILWLVWUXHWKDWWKHPRVWHOLWHIHPDOH              4$QG\RXVWDWHLQSDUDJUDSKWKDWTXRWHDJH
    DWKOHWHVSHUIRUPLQJDWWKHLUDEVROXWHEHVWZRXOGORVHWR       JUDGHFRPSHWLWLYHVSRUWVUHFRUGVVKRZPLQLPDORUQR
    WKRXVDQGVRIRWKHUVER\VDQGPHQ,WLVDOVRWUXH            GLIIHUHQFHLQDWKOHWLFSHUIRUPDQFHEHWZHHQ
    ZRXOG\RXQRWDJUHHWKDWWKHYHU\EHVWIHPDOHFROOHJH         QRQWUDQVJHQGHUER\VDQGQRQWUDQVJHQGHUJLUOVEHIRUH
    DWKOHWHVZRXOGORVHWRHYHQDODUJHUQXPEHURI                 SXEHUW\DQG\RXFLWH+DQGHOVPDQWKHDUWLFOHWKDWZH
    FROOHJLDWHER\VDQGPHQ"                                       KDYHEHHQORRNLQJDW
    $,I, PVSHDNLQJDVDQH[SHUWWKHQ, PQRW            &RUUHFW"
    UHQGHULQJDQRSLQLRQWKHUH                                    $<HV
    4+RZDERXWDVDKLJKO\HGXFDWHGDQGLQWHOOLJHQW        4$QGZKDWUHVHDUFKGLG\RXGRWRDUULYHDWWKH
   SURIHVVRU"                                                    FRQFOXVLRQWKDWDJHJUDGHFRPSHWLWLYHVSRUWVUHFRUGV
   $6LPSO\LQWKDWFRQWH[WLWZRXOGEHWUXHWKDW        VKRZPLQLPDORUQRGLIIHUHQFHLQDWKOHWLFSHUIRUPDQFH
   WKDWLWZRXOGOHDVWEHWUXHDWVRPHOHYHOLQWKH          EHWZHHQQRQWUDQVJHQGHUER\VDQGQRQWUDQVJHQGHUJLUOV"
   HOLWHOHYHOVRIFROOHJH                                      $,VWKHTXHVWLRQRIRULJLQDOUHVHDUFKRQP\SDUW"
   4$QGWKHYHU\EHVWIHPDOHKLJKVFKRRODWKOHWHV        41RZKDWVWHSVGLG\RXWDNHWRDUULYHDWWKDW
   ZRXOGORVHWRDQHYHQODUJHUQXPEHURIKLJKVFKRROER\V      FRQFOXVLRQ"
   &RUUHFW"                                             $5HDGLQJUHOHYDQWOLWHUDWXUH
   $6RQRZ,FDQUHQGHUDOLWWOHELWRIDQH[SHUW        4<RXFLWHGRQO\3URIHVVRU+DQGHOPDQ V
   FRPPHQWZKLFKLVWKDWDV\RXPRYHGRZQWKDWOLQHWKH        DUWLFOH'LG\RXUHDGRWKHUOLWHUDWXUHWKDWJDYH\RX
   GHJUHHRIGLIIHUHQFHIDOOVEHFDXVHWKHGHJUHHRI              FRPIRUWWKDWLVDWUXHVWDWHPHQW"
   WHVWRVWHURQHLPSDFWRQERG\LVHYROYLQJDFURVVWKRVH          $,KDYHUHDGRWKHUOLWHUDWXUHEXW,ZRXOG
   DJHV                                                         VXJJHVWWKDW'RFWRU+DQGHOVPDQJDYH'RFWRU
   4,ILW VWUXHWKDWWKHZRUOGIDVWHVWIHPDOH           +DQGHOVPDQ VSDSHULVWKHEHVWVXPPDU\RIWKHSRLQW
   DWKOHWHVZRXOGORVHWRWKRXVDQGVRIER\VDQGPHQWKHQLW      4$QGDJDLQLQPDNLQJWKLVVWDWHPHQWZKDWGLG
   LVLQHYLWDEO\WUXHLVLWQRW'RFWRU6DIHUWRVD\WKDW      \RXFRQVLGHUWREHDPLQLPDOGLIIHUHQFH"


                                                  3DJH                                                          3DJH
    WKHYHU\EHVWIHPDOHKLJKVFKRRODWKOHWHVZRXOGORVHWR        $:KHQ, PWKLQNLQJDERXWWKLVDVDVFLHQWLVWLW
    HYHQODUJHUQXPEHUVRIKLJKVFKRROER\V"                       LVDGLIIHUHQFHZKHUH, PQRWVXUHLILWLVWUXHRU
    $77251(<%/2&.2EMHFWLRQWRIRUP             ZKHWKHULWLVVLJQLILFDQWZKHQGHILQLQJWKHZRUG
    7+(:,71(666RWKHLWLVWKHFRLOV        PLQLPXP
    KHUH6RLWZRXOGEHODUJHUQXPEHUVRIFLVJHQGHUPHQLQ       4<RXMXVWGHILQHGPLQLPDOE\XVLQJWKHZRUN
    JHQHUDOLQFOXGLQJSHRSOHZKRDUHROGHUWKDQWKH\DUH         VLJQLILFDQW<RXIRUFHPHWRDVN\RXZKDWGR\RXPHDQ
    EXW, PQRWVXUHZKHUHWKDWZRXOGEHJRLQJ                    E\VLJQLILFDQW"
    %<$77251(<%522.6                                            $6RUU\6RDVDVFLHQWLVWZHOOWKHUHDUH
    4/HWPHWDNH\RXEDFNWR\RXUH[SHUWUHSRUW           WZRGHILQLWLRQVRIVLJQLILFDQW6RWKHRQHLVWKDWLW
   ([KLELWDQGWDNH\RXWRSDUDJUDSK$FWXDOO\OHW       LVUHOHYDQWIRUWKRVHIRUGHFLVLRQPDNHUV$QGWKDW
   PHKDYHWKH'HFODUDWLRQZKLFKLV7DE                     DFWXDOO\JHWVRXWVLGHRIP\H[SHUWLVH$QGWKHQZHGR
   $77251(<%522.6/HWPHPDUNDV6DIHU         XVHLWDVDWHUPRIDUWLQVFLHQFHDVZHOO
   ([KLELWD'HFODUDWLRQRI'U6DIHUH[HFXWHGLQ              4<RXPHDQWVWDWLVWLFDOO\VLJQLILFDQW"
   0D\WK                                               $7KHVHFRQGZRXOGEHVWDWLVWLFDOO\VLJQLILFDQW
                                   WKDW VULJKW
    :KHUHXSRQ([KLELW'HFODUDWLRQ        4'U6DIHU\RXGHOHWHGWKDWVHQWHQFHIURP\RXU
   RI'U6DIHUZDVPDUNHGIRU                      H[SHUWUHSRUW
   LGHQWLILFDWLRQ                                   ,VWKDWFRUUHFW"
                                   $,KDYHWRORRN
   %<$77251(<%522.6                                           4,GRQ WPHDQLWWREHDWULFNTXHVWLRQ/HWPH
   4$QG,DSRORJL]HLW VSDUDJUDSK'U6DIHU      DVN\RXWKLV'R\RXUHFDOOUHPRYLQJWKDWVHQWHQFHDV
   GLG\RXLQIDFWSUHSDUHDQGH[HFXWHWKLV'HFODUDWLRQ        \RXUHYLVHG\RXU'HFODUDWLRQWRFUHDWH\RXUH[SHUW
   LQWKHWLPHOHDGLQJXSWR0D\"                       UHSRUW"
   $<HV                                                 $1R


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0634
                                                   3DJH                                                          3DJH
    4$OOULJKW                                             %<$77251(<%522.6
    $,GRQ WUHFDOO                                        4&DXVHKDVWRSUHFHGHHIIHFW"
    4:HZLOOMXVWPRYHRQWRWKHVFLHQFHDQGQRWDVN        $&DXVHLQWKLVFDVHKDVWRSUHFHGHHIIHFW
    \RXGHOHWHGWKHTXHVWLRQ/HWPHWDNH\RXWRSDUDJUDSK         H[DFWO\%XW,FDXWLRQWKDWLWLVQRWFOHDUWKDWWKDW V
    RI\RXUH[SHUWUHSRUW([KLELW$QGMXVWWREH            VRPHWKLQJWKDWZHFRXOGSDUVHRXWPHGLFDOO\LQDJLYHQ
    VXUH\RXDUHRQWKHH[SHUWUHSRUWQRZDQGQRWWKH              SHUVRQLQDUHDVRQDEOHZD\7KDWLV,GRQ WNQRZWKDW,
    'HFODUDWLRQ"7KH\DUHVRVLPLODUWKDWLWLVHDV\WRJHW        FRXOGGRDEORRGWHVWDQGFDWFKLWDVLWZHUH
    FRQIXVHG                                                       42ND\
    $<HV                                                   &DQ\RXH[SODLQWRPHZKDW\RXZHUHUHIHUULQJ
   43DUDJUDSK\RXVD\LQWKHVHFRQGVHQWHQFH          WRZKHQ\RXPHQWLRQHGWKHFXPXODWLYHHIIHFWRISXEHUWDO
   LQFUHDVHGWHVWRVWHURQHEHJLQVWRDIIHFWDWKOHWLF               FKDQJHVDWWKHHQGRIWKDWVHQWHQFH"
   SHUIRUPDQFHDWWKHEHJLQQLQJRISXEHUW\EXWWKRVH             $:KHUHDUHZHQRZ"
   HIIHFWVFRQWLQXHWRLQFUHDVHHDFK\HDURISXEHUW\XQWLO        4:HDUHLQWKHVHFRQGVHQWHQFHRISDUDJUDSKRI
   DERXWZLWKWKHIXOOLPSDFWRISXEHUW\UHVXOWLQJIURP       ([KLELW$QG\RXVD\DWWKHHQGZLWKDIXOOLPSDFWRI
   WKHFXPXODWLYHHIIHFWRIHDFK\HDU'R\RXVHHWKDW           SXEHUW\UHVXOWLQJIURPWKHFXPXODWLYHHIIHFWRIHDFK
   ODQJXDJH"                                                      \HDUDQGLI\RXZRXOGH[SODLQIRUWKH&RXUWZKDW\RX
   $,GR                                                 PHDQWE\FXPXODWLYHHIIHFWWKDWZRXOGEHKHOSIXO
   4$QGMXVWWRFODULI\LQPDNLQJWKLVVWDWHPHQW         $77251(<%/2&.2EMHFWLRQWRIRUP
   ZKDWGR\RXUHIHUWRDVTXRWHWKHEHJLQQLQJRI               7+(:,71(666RWKHWHVWRVWHURQHKDV
   SXEHUW\"$QGZH UHWDONLQJDERXWPDOHW\SLFDOSXEHUW\         LPSDFWRQFHUWDLQWLVVXHVDQGWKHQLWFRQWLQXHVWRKDYH
   LQWKLVGLVFXVVLRQVRDVWRFODULI\6RZKDWGR\RX           LPSDFWRQWLVVXHV$QG,GRQ WNQRZWKDW,KDYHDQ\
   KDYHLQPLQGDVWKHEHJLQQLQJRIPDOHSXEHUW\"                 JUHDWHUH[SODQDWLRQIRUWKHULJKWFXPXODWLYHLPSDFW
   $6RWKHDQVZHULVFRPSOH[7KHW\SLFDOPDOH           %<$77251(<%522.6
   SXEHUW\LVGHILQHGDVEHJLQQLQJZLWKZKDWZHODEHODV          46R\RXUSRLQWLVWKDWE\WKHDJHRIZKDWHYHU


                                                   3DJH                                                          3DJH
    7DQQHU$QGLQWHUPVRIZKHQ\RXZRXOGVHHLPSDFWRQ         DGYDQWDJHVLQDWKOHWLFSHUIRUPDQFHDSDUWLFXODUPDOHKDV
    DWKOHWLFSHUIRUPDQFHSHUVHLVQRWZHOOHVWDEOLVKHG          LVGXHWRERG\FKDQJHVWKDWKDYHKDSSHQHGHDFK\HDU
    4$QGQRZVWUHWFKLQJWKDWLQERWKGLUHFWLRQVRQ         VLQFHSXEHUW\EHJDQQRWGXHVLPSO\WRWKHWHVWRVWHURQH
    WKHRQHKDQG7DQQHU6WDJHLI, PFRUUHFWLV                 OHYHORIWKDWLQGLYLGXDODWDJH"
    HVVHQWLDOO\GHILQHGDVFHUWDLQILUVWREVHUYDEOHSK\VLFDO        $77251(<%/2&.2EMHFWLRQWRIRUP
    FKDQJHVLQDER\ VERG\                                        7+(:,71(667KHPHDQLQJLVQ WDV,
    5LJKW"                                                 JXHVV,ZRXOGEHFDUHIXODERXWRYHUVWDWLQJLWVRWKHUH
    $7DQQHULVVSHFLILFDOO\GHILQHGDVVSHFLILF           FDQWKHUHPLJKWEHVRPHLPSDFWHDUOLHUDQGWKHQ
    REVHUYDEOHFKDQJHVLQDSHUVRQ VERG\\HV                     WKHUHPLJKWEHDGGLWLRQDOLPSDFWRYHUWLPHEXWDQG
   4$QGWKHUHIRUHWHVWRVWHURQHOHYHOVKDYHEHJXQWR      VRLQWKHDEVROXWHLWZRXOGEHWUXHWRVD\WKDWDOORI
   LQFUHDVHHYHQEHIRUHWKHILUVWREVHUYDEOHFKDQJHVWKDW         WKHHIIHFWGRHVQ WRFFXUDW7DQQHUZKLFKLVWKH
   UHVXOW                                                        GHILQHGHQG
   &RUUHFW"                                              %<$77251(<%522.6
   $7KHZD\LW VXQGHUVWRRGLQPHGLFLQHLVLWLV          42ND\
   UHIOHFWLYHRIH[LVWLQJUHDOLW\6RLWLVQRW                  7KHFXPXODWLYHSK\VLRORJLFDOFKDQJHVWKDW\RX
   QHFHVVDULO\\RXNQRZRQO\LQWKHDEVROXWH                DUHUHIHUULQJWRKHUHUHVXOWIURPDPXOWL\HDUKLVWRU\
   4:HOODVDPHGLFDOGRFWRU\RXZRXOGDJUHHZLWK       RIPDOHW\SLFDOOHYHOVRIWHVWRVWHURQHE\DJH
   PHRUZRXOG\RXQRWWKDWWHVWRVWHURQHOHYHOVPXVW              &RUUHFW"
   LQFUHDVHLQWKHERG\EHIRUHREVHUYDEOHFKDQJHVLQWKH          $<HV:HOOHYHQWKDWLVWKHUH VFRPSOH[LW\
   ERG\FDXVHGE\WHVWRVWHURQHFDQEHFDQFRPHDERXW"         EXW\HV
   $77251(<%/2&.2EMHFWLRQWRWKHIRUP         4<RXVD\VRUU\ZHDUHMXPSLQJEDFNDQG
   7+(:,71(666RLWPXVWEHWKHFDVHWKDW       IRUWK
   WKHWHVWRVWHURQHOHYHOVZRXOGKDYHWRULVHSULRUWR            $$FWXDOO\MXVWFRQWLQXLQJDOLWWOHELWIXUWKHU
   WKHLUKDYLQJDQRWLFHDEOHHIIHFWWKDWLVWUXH                LW VDOVRDERXWDJHLVQRWDWULYLDOZRUG


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0635
                                                  3DJH                                                           3DJH
    48QGHUVWRRG$QG,VLPSO\XVHGWKDWDVD               4,QSDUDJUDSKRI\RXUH[SHUWUHSRUW\RXZULWH
    UHSUHVHQWDWLYHHQGPDUNHUDQGIRUVRPHLQGLYLGXDOVLW           LQWKHWKLUGIXOOVHQWHQFHTXRWH:HVW9LUJLQLD
    ZRXOGEHHDUOLHUDQGIRUVRPHLQGLYLGXDOVLWZRXOGEH           FDWHJRULFDOO\SUHYHQWVJLUOVZKRDUHWUDQVJHQGHUIURP
    ODWHU                                                          SDUWLFLSDWLQJRQJLUOVWHDPVUHJDUGOHVVRIZKHWKHUWKH\
    &RUUHFW"                                               DUHSUHSXEHUWDOUHFHLYLQJSXEHUW\EORFNHUVRU
    $7KDW VULJKWHYHQZLWKWKHFROOHJHDWKOHWHV          UHFHLYLQJJHQGHUDIILUPLQJKRUPRQHWKHUDS\FORVHG
    4<RXVWDWHDWWKHEHJLQQLQJRISDUDJUDSKWKDW       TXRWHG'R\RXVHHWKDW"
    TXRWHWKHFRQFHUQVWKDWDQLPDWHGWKH:RUOG$WKOHWLFV           $,GR
    DQGSULRU,2&SROLFLHVDUHHYHQPRUHDWWHQXDWHGIRU             4:KDWLQ\RXURSLQLRQLVWKHVLJQLILFDQFHRIWKDW
   VWXGHQWVLQWKHPLGGOHRIKLJKVFKRROZKHUHDWKOHWHV           VWDWHPHQW":KDWLV\RXUSRLQW"
   W\SLFDOO\UDQJHIURPWR                                 $77251(<%/2&.2EMHFWLRQ&RXOG\RX
   'R\RXVHHWKDW"                                      MXVWJLYHKLPVRPHWLPHWRUHDGWKHFRQWH[W"
   $,GR:DVWKLVSDUDJUDSK"                         %<$77251(<%522.6
   4,WLV$QGE\DWWHQXDWHG\RXPHDQWKHVDPHLQ        4<HV
   QDWXUHEXWVPDOOHULQVFDOH                                   $6R,JXHVV,PD\EHPDNHWKHKHOSPHZLWK
   &RUUHFW"                                              ZKHUH\RX UHJRLQJZLWKWKDWTXHVWLRQ, PWKHUXOH
   $77251(<%/2&.2EMHFWLRQWRIRUP             DVZULWWHQLQFOXGHVDOOWUDQVJHQGHUJLUOV
   7+(:,71(66<HDK,FDQ WHYHQVD\WKDW       4$UH\RXGLG\RXPHDQWRVXJJHVWWKDWPHGLFDO
   VR\HDK,FDQ W                                      VFLHQFHZRXOGGLFWDWHWKDWWKH:HVW9LUJLQLDODZVKRXOG
   %<$77251(<%522.6                                            PDNHDQH[FHSWLRQIRUQDWDOPDOHVZKRKDYH
   4,VQ WWKDWZKDWDWWHQXDWHGPHDQV"                     VXSSUHVVHGSXEHUW\"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWWRIRUP
   7+(:,71(66$WWHQXDWHGLVERWKLQVFDOH       7+(:,71(667KHFRQWH[WIRUWKHWKH
   DQGW\SHLQWKLVFDVH                                         FRQWH[WRIGLIIHUHQWWUDQVJHQGHUJLUOVZLWKGLIIHUHQW


                                                  3DJH                                                           3DJH
    %<$77251(<%522.6                                             GHJUHHVRIWUHDWPHQWDQGGLIIHUHQWVWDJHVRISXEHUW\DUH
    4$OOULJKW                                             GLIIHUHQW,JXHVVWKDW VDVPXFK,ZRXOGVD\, PQRW
    <RXDUHQRWKHUHRUDQ\ZKHUHGHQ\LQJWKDWWKH          H[SUHVVLQJDQRSLQLRQDERXWZKDWWKH, PVHUYLQJ
    VDPHW\SHRIFRQFHUQWKDWLVSK\VLRORJLFDODGYDQWDJHV         KHUHMXVWDVDVFLHQWLVWLQWHUPVRIZKDWWKHZKDW
    H[LVWDWIRULQVWDQFHDJH"                                   WKHZKDWZHNQRZDERXWDWKOHWLFLVP
    $77251(<%/2&.2EMHFWLRQWRIRUP              %<$77251(<%522.6
    7+(:,71(666RVRUU\VD\WKDWDJDLQ          4<RXDUHQRWRIIHULQJDQRSLQLRQWKDWHLWKHU
    %<$77251(<%522.6                                             VFLHQFHRUUHDVRQDEOHQHVVUHTXLUHVWKDW:HVW9LUJLQLD V
    4<RXDUHQRWLQWKLVSDUDJUDSKRUDQ\ZKHUH              ODZVPDNHDQH[FHSWLRQIRUQDWDOPDOHVZKRKDYH
   RIIHULQJDQRSLQLRQWKDWWKHVDPHW\SHRIFRQFHUQVWKDW       VXSSUHVVHGSXEHUW\"
   LVSK\VLRORJLFRULQSHUIRUPDQFHDGYDQWDJHVH[LVWWR          $77251(<%/2&.2EMHFWLRQWRIRUP
   VRPHGHJUHHDWIRULQVWDQFHDJH"                          7+(:,71(66, PQRWRIIHULQJDQRSLQLRQ
   $77251(<%/2&.2EMHFWLRQWRIRUP             WKDWWKDWZRXOGEHWKDWZRXOGEHDORJLFDOODZIRU
   7+(:,71(66, PQRWRIIHULQJDQRSLQLRQ       WUDQVJHQGHUJLUOVLQWKDWFLUFXPVWDQFH
   WKHUHWKDW VULJKW                                           %<$77251(<%522.6
   %<$77251(<%522.6                                            4$QGLQWKHDUWLFOHWKDWZHEHJDQWRGD\ORRNLQJ
   4$QGWKHVDPHLVWUXHDWDJH"                       DW\RXH[SUHVVHGFRQFHUQDERXWSROLFLHVWKDWZRXOG
   $77251(<%/2&.2EMHFWLRQWRIRUP             FUHDWHLQFHQWLYHVIRUFKLOGUHQWREHJLQSXEHUW\
   7+(:,71(66, PQRWVR,JXHVVDV         EORFNHUVZRXOG\RXQRW"
   ZHDV\RXPRYHDORQJWRWKHFRQWLQXXPWKHQ           $77251(<%/2&.2EMHFWLRQWRIRUP
   %<$77251(<%522.6                                            7+(:,71(666RHDUOLHULQP\,
   4,WJHWVPRUHDWWHQXDWHG"                              UHIHUHQFHWKDWDVDFRQFHUQ,ZDQWWREHFOHDUWKDWDV
   $7KHRSLQLRQULJKWWKHRSLQLRQVKLIWV             DQH[SHUW, PQRWVXJJHVWLQJWKDW, PQRWVXJJHVWLQJ
   EHFDXVHLWGHSHQGVRQFRQWH[W                                 DQH[SHUWRSLQLRQWKDWWKHVHQHHGVWREHFRQFHUQV, P


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0636
                                                   3DJH                                                          3DJH
    UDLVLQJWKHLVVXHVWKDWZHDUHFRQVLGHULQJ                     WHUPLQRORJ\"
    %<$77251(<%522.6                                             7+(:,71(66$QGLI,VDLGWKHZRUGEHVW
    4:HOOZKDW\RXZURWHWRHGXFDWH\RXUFROOHDJXHV        PD\EHWKDW VQRWWKHEHVWZD\RIVD\LQJLWEXWLW VD
    DVDQHQGRFULQRORJLVW\RX3URIHVVRU6DIHUUDLVHWKDW         YHU\FOHDQZHOOZULWWHQVXPPDU\RIWKHFLUFXPVWDQFH
    DVDFRQFHUQ"                                                   %<$77251(<%522.6
    $77251(<%/2&.2EMHFWLRQWRIRUP              4$WDQ\UDWHLW VWKHRQHWKDW\RXFKRVHWR
    7+(:,71(667REHFOHDU,UDLVHGLWDV        FLWH"
    DFRQFHUQRIWKHFRPPXQLW\,GLGQRWWDNHDQRSLQLRQ          $$QGLWLVWKHRQHWKDW,FKRVHWRFLWH
    LQWKDWDUWLFOHWKDWLWZDVDFRQFHUQWKDW,ZDV                4, PJRLQJWRJLYH\RXDWKUHHE\ILYHFDUGWR
   RIIHULQJDVDQH[SHUW                                         KHOSUHDGDFKDUWWKDWGRHVQ WKDYHJULGOLQHVRQLWVR
   %<$77251(<%522.6                                            \RXKDYHDVWUDLJKWHGJH$QG,ZDQWWRWDNH\RXLQ
   4:HOOOHWPHDVN\RXDVDPHGLFDOGRFWRUVLWWLQJ      +DQGHOVPDQ VDUWLFOH([KLELWWRSDJHDQG
   KHUHWRGD\DQHQGRFULQRORJLVWLWZRXOGFDXVH\RX             ILJXUHRQH$QG\RX YHIDPLOLDUZLWKWKLVILJXUHDQG
   FRQFHUQZRXOGLWQRWWKDWSROLFLHVDUHDGRSWHGWKDW          WKHVHFXUYHVDUH\RXQRW"
   FUHDWHGLQFHQWLYHVIRUFKLOGUHQWRVWDUWSXEHUW\               $,DP\HV
   EORFNHUVZKHQWKH\PLJKWRWKHUZLVHQRWFKRRVHWRGRVR"        4:KHQ\RXVWXGLHGWKLVDUWLFOHFDUHIXOO\WKLVLV
   $77251(<%/2&.2EMHFWLRQWRIRUPDQGWR       SDUWRIZKDW\RXVWXGLHG
   VFRSH                                                         5LJKW"
   7+(:,71(66,W VWRREURDGRID               $,WLV
   TXHVWLRQDV\RX UHDVNLQJLWEHFDXVHWKHUHLVFHUWDLQO\        4$QGWKHVHFKDUWVVKRZSHUFHQWDJHSHUIRUPDQFH
   LQPHGLFLQHLWLVFHUWDLQO\WKHFDVHWKDWZHIHDU          DGYDQWDJHRIPDOHVRYHUIHPDOHVDQGMXVWWRVLPSOLI\
   FRHUFLQJSHRSOHWRFHUWDLQWUHDWPHQWVDQGFHUWDLQ              WHUPLQRORJ\,EHOLHYHWKHUH VQRWKLQJLQKHUHDERXW
   FLUFXPVWDQFHVEXWWKH\DUHFHUWDLQO\DOWHUQDWHH[DPSOHV        GHDOLQJZLWKWUDQVJHQGHULQGLYLGXDOVLQWKHVHFKDUWV
   ZKHUHZHYHU\PXFKFRHUFHSHRSOHWRKDYHFHUWDLQPHGLFDO       6RZLWK\RXUSHUPLVVLRQ, OOVLPSO\XVHPDOHDQGIHPDOH


                                                   3DJH                                                          3DJH
    LQWHUYHQWLRQV$QGVRDVDQH[SHUW,KDYHQRRSLQLRQ          WREHWKHGDUH,VD\VLPSOHELRORJLFDOGHVLJQDWLRQVDV
    DVZHVDLGDOUHDG\$QGVLPSO\DVVRPHERG\WU\LQJWREH        ZHKDGSUHYLRXVGLVFXVVLRQV,VWKDWDFFHSWDEOH"
    ORJLFDODQGWKRXJKWIXO,FDQFRPHXSZLWKH[DPSOHVLQ           $,WKLQNVR
    ERWKFHUWDLQFLUFXPVWDQFHV                                     4,ILW VVRPHWKLQJWKDWFRPHVXS
    %<$77251(<%522.6                                             $,ZLOOPHQWLRQLW\HV
    4, PJRLQJWRDVN\RXWRWDNH([KLELWQR         4,GRQ WWKLQNLWZLOOLQWKLVGLVFXVVLRQ)LUVW
    ([KLELWWKH+DQGHOVPDQDUWLFOHLI\RXZRXOG                 RIDOOZRXOG\RXDJUHHZLWKPHWKDWJHQHUDOO\
    $<HV                                                   VSHDNLQJMXQLRUKLJKFRQWHPSODWHVJUDGHVWKURXJK
    $77251(<75<215RJHUZRXOG\RXVSHDN          DQGFRPPRQO\DJHVLQWKHUDQJHRIWR"
   XSDOLWWOHPRUHSOHDVH"$QG-RVKZKHQ\RXVKXIIOH          $77251(<%/2&.2EMHFWLRQWRIRUP
   \RXUSDSHUVLWUHDOO\JDUEOHVWKHWHVWLPRQ\,I\RX G        7+(:,71(66-XQLRUKLJKLVJUDGHV
   EHDOLWWOHPRUHFDUHIXODERXWWKDW, GDSSUHFLDWHLW        WKURXJK,WXVHGWREH1RZWKHUHLV0LGGOH6FKRRO
   $77251(<%/2&.6RUU\                         %<$77251(<%522.6
   $77251(<%522.6,W VDFURZGHGWDEOH          4,NQRZ"
   DQGZHKDYHSDSHUVEXPSLQJXSDJDLQVWWKHPLF6RMXVW        $([DFWO\
   FDOORXWLIZHGRWKDWZURQJ                                  4/HW VMXVWZRUNZLWK\RXDQG,DUHRIJHQHUDO
   %<$77251(<%522.6                                            DJH6R-XQLRU+LJKLVWR"
   46R'U6DIHU\RXSRLQWHGWRWKH+DQGHOVPDQ           $2ND\
   DUWLFOHDVWKHEHVWVRXUFHRQWKHSURSRVLWLRQRQWKH       4$QGLQ\RXUJHQHUDOXQGHUVWDQGLQJWKLVLV
   TXHVWLRQWRZKDWH[WHQWLIDQ\QDWDOPDOHKDV                  OD\PDQ VVWXIIQRWH[SHUWVWXIIWKDWLVDJHVWR
   SK\VLRORJLFDORU,VKRXOGVD\DWKOHWLFSHUIRUPDQFH             LVK"
   DGYDQWDJHVRYHUQDWDOIHPDOHVEHIRUHSXEHUW\                  $/HW VVHHVHYHQOHWPHWKLQNDERXWWKLV
   &RUUHFW"                                              5LJKWDWDERXWWKHPD[ULJKWEHFDXVHWKHUHLV
   $77251(<%/2&.2EMHFWLRQWR                   DERXW


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0637
                                                   3DJH                                                         3DJH
    4$QGKLJKVFKRROLVWKURXJKDJHLVK          7+(:,71(666RWKHSUREOHPKHUHZLWK
    6RPHSHRSOHJUDGXDWHDWDJH"                                 JRLQJULJKWWRWKLVILJXUHLVLW VLQFOXGLQJDUDQJHRI
    $<HV$VDQRQH[SHUW,ZRXOGEHOLHYH\HV            LQSXWVDQGVRWKLVLVVRWKHVHDUHZKDWDUHFDOOHG
    4$OOULJKW                                             FURVVVHFWLRQDOVWXGLHVDQGVRWKHLI\RXUTXHVWLRQ
    $QGWKLVFKDUWFKDUWVWKHSHUFHQWDJHDGYDQWDJH         LVMXVWLQWKHQDUURZSRLQWRIWKLVILYHSHUFHQW
    HQMR\HGRQDYHUDJHHQMR\HGE\PDOHVRYHUIHPDOHVLQ         PLQLPDOZHOOHYHQWKHUH,GRQ WNQRZWKDW,FDQ
    WKUHHGLIIHUHQWHYHQWVDWRYHURQD\HDUE\\HDU            FRPPHQWEHFDXVHLWGHSHQGVRQKRZEURDGWKHYDULDWLRQLV
    EDVLVIURPDJHVXSWR                                    DPRQJWKHJURXS
    $P,GHVFULELQJLWFRUUHFWO\"                          %<$77251(<%522.6
   $77251(<%/2&.2EMHFWLRQWRIRUP-XVW       4$QGZKDWJHQGHUGLIIHUHQFHGLG'U+DQGHOVPDQ
   IRUWKHUHFRUGLW VSHUFHQWDJHGLIIHUHQFHVQRW               UHSRUWLQUXQQLQJDWDJH"
   SHUFHQWDJHDGYDQWDJHV                                         $$WDJHDUDQJHWKDWLVKRYHULQJDERXWWR
   %<$77251(<%522.6                                            SHUFHQW
   4&RUUHFWLWVD\VLWVD\VJHQGHUGLIIHUHQFH        4$QGE\DJHDFFRUGLQJWRKLVVDPSOHWKH
   SHUFHQWDJHWRUHDGWKH<D[LV                                 JHQGHUGLIIHUHQFHLVDSSURDFKHGEHJLQVWROHYHORII
   $&OHDU\HV                                           ,QRWKHUZRUGVLWKDVPRVWRIWKHJHQGHUGLIIHUHQFH
   42ND\                                                 KDVEHHQDFKLHYHGDWDJH
   6ROHW VORRNDWUXQQLQJDQG\RXKDYH\RXU            &RUUHFW"
   VWUDLJKWHGJHLILWLVKHOSIXOWR\RX$WDJHZKDW       $77251(<%/2&.2EMHFWLRQWRIRUP
   DFFRUGLQJWR'U+DQGHOVPDQLVWKHJHQGHUGLIIHUHQFHLQ       7+(:,71(66$PRQJWKLVGDWDLQWKLV
   UXQQLQJSHUIRUPDQFH"                                           VWXG\VHW\HV,ZLOODJUHHZLWK\RXLWGRHVOHYHORII
   $6RLQWKLVSDSHUWKHUHLVDUDQJH%XWMXVWWR       %<$77251(<%522.6
   KHOS\RXJHWWR\RXUSRLQWIDVWHU,JXHVVZHFDQLW        46ROHWPHDVN\RXWKLV'R\RXKDYHDQ
   LVDERXWILYHSHUFHQWRIWDERYHU                             XQGHUVWDQGLQJRIWKHSK\VLRORJLFDOEDVLVRIZKDW\RX


                                                   3DJH                                                         3DJH
    4$QGIRUUHDVRQVEHVWNQRZQWR3URIHVVRU                GHVFULEHGDVDWZRWRWKUHHSHUFHQWPDOHDGYDQWDJHDW
    +DQGHOVPDQKLVDUURZEDUVH[WHQGRQO\XSZDUGVFRUUHFW        DJHWHQLQUXQQLQJ"
    LQWKLVFKDUW"                                                  $77251(<%/2&.2EMHFWLRQWRIRUP
    $5LJKW,ZLOOKDYHWRDWWULEXWHWKDWWR               %<$77251(<%522.6
    FOHDQOLQHVVRIWKHILJXUH                                      4,IDQ\"
    42ULIKHKDVFKRVHQWRILWKLVFXUYHWRWKH            $6RVSHDNLQJDVDQH[SHUWWKHUH VQRWKHUH
    ERWWRPHQGRIWKLVHUURUUDQJHSRVVLEO\"                        LVQRSK\VLRORJLFDOWKHUHLVQRH[SHFWDWLRQRID
    $77251(<%/2&.2EMHFWLRQWRIRUP              SK\VLRORJLFDOH[SODQDWLRQ$QGWKHUHLVDZDUHQHVVRI
    7+(:,71(66<HDK,FDQ WFRPPHQW              RWKHUFRQIRXQGHUVLQWHUPVRIH[SHULHQFHH[SRVXUHWR
   WKHUHEXWWKDWZRXOGQ WEHXVXDO                             VSRUWDQGWKLQJVOLNHWKDW
   %<$77251(<%522.6                                            4/HWPHDVN\RXWRORRNDWMXPSLQJDWDJHWHQ
   47KDWZRXOGQRWEHXVXDO,DJUHH$QGZKDW           $QGWKLVLVDWDJHWHQZKDWSHUIRUPDQFHRIJHQGHU
   DGYDQWDJHZKDWJHQGHUGLIIHUHQFHEHWZHHQPDOHDQG          GLIIHUHQFHDGYDQWDJHGLG'U+DQGHOVPDQUHSRUWIRUER\V
   IHPDOHGRHV3URIHVVRU+DQGHOVPDQUHSRUWDWDJHWHQ             LQMXPSLQJ"
   DSSUR[LPDWHO\"                                                 $6RDWDJHWHQLWZRXOGJRRQVRDWDJHWHQ
   $$WDJHWHQLQWKHSDUWLFXODUILJXUHWKDWZHDUH       WKHQWKHUDQJH
   UHIHUHQFLQJLWLVWKHDYHUDJHLVZHOODFWXDOO\       47KLVE\WKHZD\WHOOVXVWKDWKHFDQQRWEH
   VRKHUHLWUDQJHVIURPDERXWWZRSHUFHQWEHFDXVHWKDWLV       LQFOLQHGLQDUURZEDUDV\PPHWULFDODUURZEDUEHORZ
   SUREDEO\KRZWKHDLUEDUVDUHPHDQWWREHXSWRMXVWD         &RUUHFW"
   OLWWOHQRUWKWRWKUHHSHUFHQW                                 $77251(<%/2&.2EMHFWLRQWRIRUP
   4$QGJRLQJEDFNWRDJHGR\RXFRQVLGHUDILYH      7+(:,71(666RKHFDQ W,QIDFWWKH
   SHUFHQWGLIIHUHQFHEHWZHHQPDOHDQGIHPDOHSHUIRUPDQFH         UDQJHWKDWKH VVKRZLQJWKHUHJRHVIURPDQDGYDQWDJHIRU
   WREHPLQLPDO"                                                 JLUOVWKDWLVLWJRHVEHORZWRDQDGYDQWDJHIRU
   $77251(<%/2&.2EMHFWLRQWRIRUP             ER\V7KHUDQJHLVLQFOXGHGDQGLWMXVWIRUERWK


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0638
                                                   3DJH                                                         3DJH
    VH[HV                                                          TXLWHZLGHUDQJHRIKHWHURJHQHLW\LQGHYHORSPHQWERG\
    %<$77251(<%522.6                                             W\SHHWFHWHUD,FHUWDLQO\FRXOGHQYLVLRQDVLWXDWLRQ
    46RZKDWLVWKHDYHUDJHDGYDQWDJHWKDWKHUHSRUWV       \HV
    DWDJHWHQIRUER\V"                                            %<$77251(<%522.6
    $6RLQWKLVGDWDVHWWKHDYHUDJHLVDERXWDVL[          4'U6DIHULQ\RXU'HFODUDWLRQILOHGLQ0D\\RX
    SHUFHQWDYHUDJHIRUER\VEXWLWLVLPSRUWDQWWR                VWDWHGWKDWEHIRUHSXEHUW\DWKOHWLFDGYDQWDJHE\ER\V
    XQGHUVWDQGWKHGDWD$QGWKHGDWDWKDWWKHSRLQW           ZDVPLQLPDO'R\RXUHFDOOWKDWODQJXDJH"
    EHLQJWKDWLIZHZHUHWRUHSHDWWKHVWXG\\RXZRXOG             $7KHZD\,ZRXOGVD\LWLVWKHGLIIHUHQFHEHWZHHQ
    DQWLFLSDWHWKDWWKDWDYHUDJHZRXOGIDOODFURVVWKRVH            ER\VDQGJLUOVEHIRUHSXEHUW\LVPLQLPDORU
   HQWLUHWKHHQWLUHUDQJHVKRZQVRWKDWLQDGLIIHUHQW       QRQH[LVWHQW,GRQ WNQRZLI,FRXOGEHZLVHUWKDQ
   GD\LWPLJKWVKRZDELJJHUDGYDQWDJHIRUER\VEXWD           WKDW
   GLIIHUHQWGD\LWPLJKWDOVRVKRZDQDGYDQWDJHIRUJLUOV        4$OOULJKW%XWQRZ\RXDUHWHOOLQJPHZKHQ,
   DERXWKLJKHU                                                  DVNHG\RXTXHVWLRQVDERXWPLQLPDOWKDW\RXDVDQH[SHUW
   4$UH\RXDZDUHRIDQ\GDWDVHWWKDWVKRZVD             DUHQRWDEOHWRGHILQHPLQLPDO+RZGR\RXUHFRQFLOH
   VPDOOHUDGYDQWDJHLQMXPSLQJIRUJLUOVDWDJHWHQ"             WKRVHWZR"
   $2IIWKHWRSRIP\KHDG,FDQQRWJXLGHOHDG        $77251(<%/2&.2EMHFWLRQWRIRUP
   \RXWRDGDWDVHW                                              7+(:,71(666RWKHGHILQLWLRQRI
   4$WDJHZKDWDGYDQWDJHLQMXPSLQJZHOO         PLQLPDOLVLQFRQWH[W$QGVRDVZHGLVFXVVHGLWZDV
   OHWPHVWDUWRYHU$WDJHZKDWDGYDQWDJHLQMXPSLQJ        QRWDVLJQLILFDQWGLIIHUHQFHXVLQJERWKWKRVH
   GRHV'U+DQGHOVPDQUHSRUWIRUER\V"                           GHILQLWLRQVWKDWZHDOUHDG\XVHGZHUHQRGLIIHUHQWDW
   $6RLQWKLVGDWDVHWDWDJHKHVKRZVWKH             DOO
   DGYDQWDJHWKHDYHUDJHDGYDQWDJHWREHRIWKHOHVV          %<$77251(<%522.6
   WKDQWKHDYHUDJHDGYDQWDJHIRUDJHWHQEXWWKLVH[DFWO\       4<RXUVWDWHPHQWLQ\RXU'HFODUDWLRQVLPSO\
   SRLQWVWRWKHFDXWLRQWKDW,ZDVUHIHUHQFLQJZKLFKLV         DVVHUWHGFDWHJRULFDOO\LQDOPRVWQRFRQWH[WWKDWWKH


                                                   3DJH                                                         3DJH
    WKDWWKHUDQJHRISRVVLELOLWLHVWKDW\RXPLJKW                  GLIIHUHQFHLQDWKOHWLFFDSDELOLW\RIER\VWRJLUOVZHUH
    DQWLFLSDWHEDVHGRQWKLVSDUWLFXODUGDWDVHWDWDJH           ERWKPLQLPDO0\TXHVWLRQIRU\RXLVXVLQJZKDWHYHU
    KDVDUDQJHRIIRXUWRVL[SHUFHQWDGYDQWDJHIRUER\V          GHILQLWLRQ\RXKDGLQPLQGZKHQ\RXZURWHWKDWGR\RX
    47KHDUURZEDUKDVWLJKWHQHGXSDORW"                  FRQVLGHUD,ZLOOORRNDWMXPSLQJDILYHSHUFHQW
    $7KHDUURZEDULQWKDWDJHUDQJHLVWLJKWHU            GLIIHUHQFHLQFDSDELOLW\WREHPLQLPXP"
    4$QGGR\RXFRQVLGHUDVL[SHUFHQWDGYDQWDJHWR         $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    EHPLQLPDO"                                                     FKDUDFWHUL]DWLRQRIWKHUHSRUW
    $77251(<%/2&.2EMHFWLRQWRIRUP              7+(:,71(666RLW VDFRQWH[W6RLQ
    7+(:,71(66$VDQH[SHUW,FDQ WDQVZHU        WKHUHSRUWWKHUHIHUHQFHLVWRSUHSXEHUWDOFKLOGUHQ
   WKDWEHFDXVHLWGHSHQGVRQFRQWH[WRQWKHKHWHURJHQHLW\        $QGWKHUHLWLVHDVLHUWREHPRUHFDWHJRULFDO:KHUH
   RIDOOWKHVHHYHQWV                                           QRZZH UHPRYLQJLQWRDQDUHDZKHUHWKHUHLVZKHUH
   %<$77251(<%522.6                                            WKLQJVDUHPRUHFRPSOH[DQGVRLWLVDKDUGHUFRQWH[WWR
   4$QGDWDJHZKDWDYHUDJHDGYDQWDJHLQMXPSLQJ       PDNHWKDWVWDWHPHQW
   GLG'U+DQGHOVPDQUHSRUWIRUER\V"                            %<$77251(<%522.6
   $)RUDJHKHKDVDUDQJHRUWKHDYHUDJHVLWVDW      47KDWLVDVDPSOHRIWHQ\HDUROGER\VLQFOXGHV
   SHUFHQWDQGWKHUDQJHUXQVIURPDERXWSHUFHQWWR         VRPHZKRDUHQRORQJHUSUHSXEHUWDO
   PD\EHSHUFHQW                                              &RUUHFW"
   4,VWKHUHDQ\FRQWH[WLQ\RXURSLQLRQDQ\             $1R, PVD\LQJLWPRUHWKHRWKHUZD\ZKLFKLV
   DWKOHWLFHQGHDYRUWKDWLQYROYHVMXPSLQJLQZKLFKD          DVDPSOHRIWHQ\HDUROGER\VZRXOGRYHUZKHOPLQJO\EH
   SHUFHQWDGYDQWDJHLVLQ\RXUYLHZPLQLPDO"                     SUHSXEHUWDOEXWDVDPSOHRI\HDUROGER\VZRXOGKDYH
   $77251(<%/2&.2EMHFWLRQWRIRUP             PRUHRIDUDQJHDQGKDYHPRUHKHWHURJHQHLW\$QG
   7+(:,71(66<HV,WKLQNDVDQH[SHUW,       WKHUH VPRUHWRLWHYHQWKDQWKDWZKLFKLVWKH
   FDQ WDQVZHUWKDW,I\RX UHWKLQNLQJDWWKHVFKRODVWLF       GHILQLWLRQRIPLQLPDODOVRLQFOXGHVWKHFRQWH[WRIWKH
   OHYHOZKHUHWKHUHLVDZLGHUDQJHRIZKHUHWKHUH VD       HQWLUHSRSXODWLRQZKRSDUWLFLSDWHGLQWKHVSRUW


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0639
                                                   3DJH                                                        3DJH
    46RIRFXVLQJRQWHQ\HDUROGER\VDQGMXPSLQJ\RX       RULJLQDOUHVHDUFKRUDVPRUHRIDOLWHUDWXUHUHYLHZ
    VDLGDWDJHWHQWKHODUJHPDMRULW\RIER\VDUH                 SDSHU"
    DFFRUGLQJWR\RXUGHILQLWLRQSUHSXEHUWDO5HIHUULQJ           $,GRQ WUHFDOOWKHPUHSRUWLQJRQWKHLURULJLQDO
    EDFNWR'HFODUDWLRQDQGWKHPHDQLQJWKDW\RXDVFULEHGWR        UHVHDUFKEXW,ZRXOGKDYHWRORRN,W VPRVWO\D
    WKHZRUGPLQLPDOWKHUHLQ\RXUYLHZLVDVL[SHUFHQW          UHYLHZSDSHU
    GLIIHUHQFHLQFDSDELOLW\PLQLPDORUQRWPLQLPDO"                47KDWLVDOVRP\LPSUHVVLRQ,MXVWGLGQ WZDQW
    $77251(<%/2&.2EMHFWLRQWRIRUPDQGWR        WRFUHDWHDGLIIHUHQWLPSUHVVLRQ/HWPHDVN\RXWR
    WDONLQJDERXWKLV'HFODUDWLRQZLWKRXWLWEHLQJLQIURQW         WXUQWRSDJHDQGWKHUHLQWKHILUVWFROXPQ
    RIKLP                                                         EHJLQQLQJVL[OLQHVGRZQWKHUHLVDVHQWHQFHWKDWEHJLQV
   $77251(<%522.6+HKDVLWLQIURQWRI         DQH[WHQVLYHUHYLHZ/HWPHDVN\RXWRILQGWKDW
   KLPDQGZHDOUHDG\ORRNHGDWWKHODQJXDJH                     $,KDYHLW
   %<$77251(<%522.6                                            4$QGWKDW, OOUHDGLWLQWRWKHUHFRUG
   4<RXPD\DQVZHU                                       4XRWHDQH[WHQVLYHUHYLHZRIILWQHVVGDWDIURPRYHU
   $6RWKHJUDSKWKDWZHDUHORRNLQJDWLQFOXGHV          $XVWUDOLDQFKLOGUHQDJHWR\HDUVROGVKRZHG
   DUURZEDUVWKDWLQFOXGHWKHSRVVLELOLW\WKDWER\VZRXOG        WKDWFRPSDUHGZLWKQLQH\HDUROGIHPDOHVQLQH\HDUROG
   KDYHWKDWWKHJLUOVZRXOGKDYHDVXSHULRURXWFRPH         PDOHVZHUHIDVWHURYHUVKRUWVSULQWVSHUFHQWDQG
   DQGVRWKHDQVZHUWKHQEHFRPHV\HV:KHUHWKHGDWDDUH       RQHPLOHSHUFHQWFRXOGMXPSSHUFHQWIDUWKHU
   HLWKHUVPDOORUDUHVXVSHFWRUQRWVLJQLILFDQWWKHQDOO       IURPDVWDQGLQJVWDUWZKLFKWHVWHGH[SORVLYHSRZHU
   RIWKDWFROOHFWLYHO\FHUWDLQO\LVZRXOGEHLQFOXGHG        FRXOGFRPSOHWHPRUHSXVKXSVLQVHFRQGVDQGKDYH
   DVPLQLPDOWRQRQH[LVWHQW                                    SHUFHQWVWURQJHUJULS0DOHDGYDQWDJHRIDVLPLODU
   $77251(<%522.6/HWPHPDUNDV([KLELW        PDJQLWXGHZDVGHWHFWHGLQDJURXSVWXG\RIFKLOGUHQ
   6DIHUDSDSHUE\(PPD&ROWRQDQG7RPP\/XQGVEXUJ             ZKHUHFRPSDUHGWRDVL[\HDUROGIHPDOHVVL[\HDUROG
   HQWLWOHG7UDQVJHQGHU:RPHQLQD)HPDOH&DWHJRU\RI             PDOHVFRPSHWHGSHUFHQWPRUHVKXWWOHUXQVLQDJLYHQ
   6SRUWIURPSUHYLRXVO\PDUNHGDV([KLELWDW'U       WLPHDQGFRXOGMXPSSHUFHQWIXUWKHUIURPDVWDQGLQJ


                                                   3DJH                                                        3DJH
    $GNLQV VGHSRVLWLRQ                                            SRVLWLRQ'R\RXVHHWKDWODQJXDJH"
                                      $,GR
     :KHUHXSRQ([KLELW7UDQVJHQGHU:RPHQ,Q         4$QGRQWKH$XVWUDOLDQVWXG\LI\RXIROORZWKH
    D)HPDOH&DWHJRU\RI6SRUWZDVPDUNHGIRU          IRRWQRWH\RXZLOOVHHWKDWLWUHIHUHQFHVDVWXG\E\
    LGHQWLILFDWLRQ                                     .DLWOLQ7KRPSNLQVRQ7KDW VIRRWQRWH$QGP\ILUVW
                                      TXHVWLRQLVKDYH\RXUHDGWKHUHIHUHQFHVWXG\E\.DLWOLQ
    %<$77251(<%522.6                                             7KRPSNLQVRQ"
    4$QGILUVW3URIHVVRU6DIHUOHWPHDVNZKHWKHU         $,GRQ WUHFDOO, PJXHVVLQJ\HV
    \RX UHIDPLOLDUZLWKWKLVSDSHUSXEOLVKHGODVW\HDU"            4$OOULJKW$OOULJKW
   $,DPIDPLOLDU                                        'R\RXKDYHDQ\UHDVRQWRGRXEWWKHDFFXUDF\RI
   4$QGKDYH\RXLQWHUDFWHGSURIHVVLRQDOO\ZLWK           WKLVVXPPDU\RIWKHILQGLQJVRI.DLWOLQ7KRPSNLQVRQ
   HLWKHU'U&ROWRQRUDQG,GRQ WNQRZKLVGHJUHH          EDVHGRQGDWDIURPRYHU$XVWUDOLDQFKLOGUHQ"
   0U/XQGVEXUJLQDQ\FRQWH[W"                                  $77251(<%/2&.2EMHFWLRQWRIRUP
   $+HUH,GRQ WUHPHPEHU                                7+(:,71(66,WKLQNWKHLPSRUWDQWWKLQJ
   42ND\                                                 WRUHFRJQL]HZKHQ\RXORRNDWWKHVHVRUWVRIGDWDDUH
   'R\RXEHOLHYHWKDW\RXEHFDPHDZDUHRIWKLV          UHFRJQL]LQJWKHPXOWLSOHLQSXWV6RWKHODUJHUWKHVH
   SDSHUVRRQDIWHULWZDVSXEOLVKHG"                             JURXSVWKHVHFURVVVHFWLRQDOVWXGLHVJHWWKHPRUH
   $,GRQ WNQRZLI,FDQDQVZHUWKDWFOHDQO\             FRQIRXQGHGWKH\JHWE\DFFHVVDQGRWKHUVRFLDO
   HLWKHUEXW,FHUWDLQO\KDYHEHFDPHDZDUHRILW                H[SODQDWLRQVZK\WKHUHDUHER\VSDUWLFLSDWLQJLQVSRUWV
   VRPHZKHUHEHWZHHQWKHQDQGQRZ                                WRDJUHDWHUGHJUHH
   4$QGKDYH\RXUHDGLWZLWKVRPHFDUH"                  %<$77251(<%522.6
   $,KDYHUHDGLWZLWKVRPHFDUH\HV                   46RSXWWLQJDVLGHFDXVDWLRQZKLFKPLJKWEH
   4/HWPHDVN\RXZHOOOHWPHDVN\RXWKLV          SK\VLRORJLFDODQGPLJKWEHFXOWXUDODV\RXVDLGWKHUH
   ILUVW:RXOG\RXGHVFULEHWKLVSDSHUDVUHSRUWLQJ             FRXOGEHYDULRXVFDXVHVGR\RXKDYHDQ\UHDVRQWRGRXEW


                                                                                        3DJHVWR
                                                                                                   Armistead App. 0640
                                                3DJH                                                        3DJH
    WKHDFFXUDF\RIWKHILQGLQJVRISHUIRUPDQFHDGYDQWDJH          LPSRUWDQW6RLI\RXQHHGDEUHDNZH OOWDNHDEUHDN
    VXPPDUL]HGKHUHLQWKHSDVVDJHWKDW, YHMXVWUHDG"            $6R, PJRRG
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG          $77251(<%522.6:HOOREYLRXVO\LI
    WHUPLQRORJ\                                                   DQ\ERG\ZDQWVDEUHDNZHFDQWDNHDEUHDN
    7+(:,71(663XWWLQJDVLGHFDXVDWLRQ,        $77251(<%/2&.'R\RXQHHGDEUHDN"
    KDYHQR,FDQ WRIIHUDQH[SHUWRSLQLRQ,JXHVVLI         $77251(<6:$0,1$7+$11R
    WKDW VWKHERWWRPOLQH%XWLI\RX UHDVNLQJPHMXVWDV       $77251(<%/2&.:HDUHJRRG
    DQLQGLYLGXDO, PQRWH[SHFWLQJWKDWWKH\ UH                  7+(:,71(666RP\UHEXWWDO
    IDEULFDWLQJWKDWGDWD,DPQRWH[SHFWLQJWKDW               %<$77251(<%522.6
   %<$77251(<%522.6                                           4<RXUUHEXWWDOZKLFKLV([KLELWVRLW V
   4$QG\RXDJUHHWKDWDGYDQWDJHVRQDVFDOHRI        SUREDEO\DWWKHERWWRP$QGLQWKDW, PJRLQJWRGUDZ
   SHUFHQWSHUFHQWFRXOGSURYLGHDVLJQLILFDQW               \RXUDWWHQWLRQWRSDUDJUDSK$QGWKHUH\RXZURWH
   DGYDQWDJHLQDWKOHWLFFRPSHWLWLRQGR\RXQRW"                WKHUHLVDOVRQREDVLVWRFRQILGHQWO\SUHGLFWWKH
   $77251(<%/2&.2EMHFWLRQWR                  SDWWHUQVDERXWWKHDWKOHWLFSHUIRUPDQFHRISUHSXEHUWDO
   WHUPLQRORJ\                                                  FLVJHQGHUER\VZLOOEHWKHVDPHIRUSUHSXEHUWDO
   7+(:,71(666RVD\WKDWTXHVWLRQDJDLQ      WUDQVJHQGHUJLUOVFORVHGTXRWH'R\RXVHHWKDW"
   %<$77251(<%522.6                                           $,GR
   4<RXDJUHHWKDWDGYDQWDJHVRQWKHVFDOHRI            4$QGOHWPHDWWHPSWWRVHHLI,XQGHUVWDQGWKH
   SHUFHQWRUSHUFHQWZRXOGSURYLGHDODUJH             SRLQWRIWKLVSDUDJUDSK$QGLQGHHGLI\RXZRXOGOLNH
   DGYDQWDJHLQDWKOHWLFFRPSHWLWLRQGR\RXQRW"                WRUHDGWKHZKROHSDUDJUDSK\RXVKRXOG%XWP\
   $77251(<%/2&.6DPHREMHFWLRQWR             XQGHUVWDQGLQJRIWKHSRLQWLVWKDW\RX UHVD\LQJWKDW
   WHUPLQRORJ\                                                  HYHQLISUHSXEHUWDOER\VKDYHVRPHSHUIRUPDQFHVRPH
   7+(:,71(66,QHOLWHDWKOHWLF                VWDWLVWLFDOO\VLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU
   FRPSHWLWLRQ\HV                                             SUHSXEHUWDOJLUOVWKDW\RXDUHQRWFRQILGHQWWKDWWKH


                                                3DJH                                                        3DJH
    %<$77251(<%522.6                                            DWKOHWLFSHUIRUPDQFHFDSDELOLWLHVRIQDWDOPDOHVZKR
    4'LG\RXSOD\DQ\VSRUWLQKLJKVFKRRO"                LGHQWLI\DVIHPDOHVEHIRUHSXEHUW\ZLOOEHWKHVDPHDV
    $$WDVRSKLVWLFDWHGOHYHO,GLGQRW                   WKRVHRIQDWDOPDOHVZKRLGHQWLILHGDVPDOHEHIRUH
    4<RXUJHQHUDONQRZOHGJHSHUPLWV\RXWRVD\GRHV       SXEHUW\"
    LWQRWWKDWDWWKHKLJKVFKRROOHYHODOVRDSHUFHQW       $77251(<%/2&.2EMHFWLRQWRWKH
    RUDSHUFHQWDGYDQWDJHLVDYHU\ODUJHDGYDQWDJH"         WHUPLQRORJ\
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG          7+(:,71(666RWRWKHH[WHQWVR
    WHUPLQRORJ\"                                                   ZHUHGLIIHUHQFHVWREHGHWHUPLQHGEHWZHHQFLVJHQGHUER\V
    7+(:,71(666RWKHUHLWJHWVPRUH             DQGFLVJHQGHUJLUOVLWLVFRUUHFWWRVD\WKDWWKDW
   GLIIXVHWKHUHIRUHDQG,FDQ WDQVZHUDVDQH[SHUW          ZRQ WFRQFOXVLYHO\GHPRQVWUDWHWKDWWKHVDPHDSSOLHVIRU
   %<$77251(<%522.6                                           WUDQVJHQGHUJLUOV7KDW VULJKW
   4&DQ\RXDQVZHUDVDQLQIRUPHGDGXOWFLWL]HQ"         %<$77251(<%522.6
   $77251(<%/2&.6DPHREMHFWLRQ               41RZHOVHZKHUHLQ\RXUZULWLQJV\RXKDYHVDLG
   7+(:,71(666RDVDQH[SHUWIRUVXUH         WKDWLWLVZHOONQRZQWKDWWKHPDMRULW\RISUHSXEHUWDO
   QRW$VDQLQIRUPHGDGXOWLWIDOOVEDFNWRWKHVDPH         FKLOGUHQZKRH[SHULHQFHJHQGHUG\VSKRULDGRQRWSHUVLVW
   VLWXDWLRQ:KHQWKHUHLVDZLGHUDQJHRIDWKOHWHVLQD       LQWKDWG\VSKRULDLQWRSXEHUWDODGROHVFHQFH
   FHUWDLQFRQWH[WWKHQLWLVJRLQJWRVHHPOHVVUHOHYDQW      &RUUHFW"
   $QGREYLRXVO\ZLWKWKHH[DPSOH,JDYHEHIRUHZLWKDQ          $77251(<%/2&.2EMHFWLRQ
   HOLWHFLUFXPVWDQFHZKHUHWKDWLWGHVFULEHVWKH            7+(:,71(661R
   HQWLUHILHOGLVPRUHVLJQLILFDQW                             %<$77251(<%522.6
   %<$77251(<%522.6                                           41RWFRUUHFW"
   4/HWPHDVN\RXWRILQG\RXUUHEXWWDOUHSRUW         $1RWFRUUHFW
   $$QGDFWXDOO\GRRWKHUVQHHGDEUHDN"             47KHQZHZLOOFRPHEDFNWRWKDW,QWKLV
   4$Q\WLPH\RXUFRQFHQWUDWLRQLVPRVW              SDUDJUDSK\RXVSHFXODWHDOLWWOHIDUWKHUGRZQWKDW


                                                                                     3DJHVWR
                                                                                                            Armistead App. 0641
                                                 3DJH                                                                  3DJH
    TXRWHWKHH[SHULHQFHRIWUDQVJHQGHUJLUOVPLJKWEHPRUH        UHIHUVWRZLGHO\SXEOLFL]HGDQHFGRWHVDERXWLVRODWHG
    VLPLODUWRWKHH[SHULHQFHRIFLVJHQGHUJLUOV"                   FDVHVRIWUDQVJHQGHUJLUOVDQGZRPHQVWDWHFKDPSLRQVKLSV
    $77251(<%/2&.2EMHFWLRQWRWKH                LQKLJKVFKRROVSRUWVRU1&$$FKDPSLRQVKLSVLQFROOHJH
    FKDUDFWHUL]DWLRQDQGVSHFXODWLYH                               'R\RXVHHWKDW"
    %<$77251(<%522.6                                             $,GR
    4:HOOE\XVLQJWKHZRUGPLJKW\RXPHDQWWR             4$QG\RXJRRQWRZULWHEXWWUDQVJHQGHUDWKOHWHV
    LQGLFDWHGLG\RXQRW'U6DIHUWKLVLVDK\SRWKHVLV         RIZRPHQKDYHEHHQFRPSHWLQJLQ1&$$DQGVHFRQGDU\
    WKLVLVQRWDGRFXPHQWHGIDFW"                                  VFKRRODWKOHWLFVIRUPDQ\\HDUVDWWKLVSRLQWFORVHG
    $7KDWLIWKHTXHVWLRQLVGR,NQRZWKDWWKH             TXRWH'R\RXVHHWKDWODQJXDJH"
   H[SHULHQFHRIWUDQVJHQGHUJLUOVLVGHILQLWHO\LQWKLV          $,GR
   FLUFXPVWDQFHWKHVDPHDVFLVJHQGHUJLUOVWKDW VULJKW        4/HWPHDVN\RXWRQDPHDOOLQVWDQFHVRIPDOH
   ,GRQ WNQRZWKDW,WRQO\PLJKWEHWUXH                     PDOHVNQRZQWR\RXZKRKDYHFRPSHWHGLQZRPHQ VGLYLVLRQ
   4$QGWRZDUGVWKHHQGLQWKHODVWOLQH\RXUHIHU      YDUVLW\DWKOHWLFVLQDQ\DWKOHWLFHQGHDYRUIRUDQ\1&$$
   WRSRWHQWLDOELRORJLFDOXQGHUSLQQLQJVRIJHQGHU                PHPEHUVFKRRO"
   LGHQWLW\$JDLQWKHZRUGSRWHQWLDOVLJQDOLQJWKDWQR         $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   VXFKVSHFLILFXQGHUSLQQLQJVKDYH\HWEHHQLGHQWLILHG          VFRSH
   &RUUHFW"                                              7+(:,71(665LJKWVR,FHUWDLQO\FDQ W
   $6D\WKDWTXHVWLRQDJDLQ                              GRWKDWXVHIXOO\RIIWKHWRSRIP\KHDGQDPH
   4,QWKHODVWOLQH\RXUUHIHUHQFHWRTXRWH           WUDQVJHQGHUZRPHQDQGDOOWKHVHFRQWH[WLQVXFKDQ
   SRWHQWLDOELRORJLFDOXQGHUSLQQLQJVRIJHQGHULGHQWLI\         H[KDXVWLYHZD\OLNHWKDW
   E\WKHZRUGSRWHQWLDO\RXDUHLQGLFDWLQJWKDWQR               %<$77251(<%522.6
   VSHFLILFELRORJLFDOXQGHUSLQQLQJKDV\HWEHHQ                  4:HOO,DVNHG\RXDFFXVHG'RFWRU%URZQRIFLWLQJ
   LGHQWLILHG                                                    LVRODWHGFDVHV'R\RXKDYHDQ\EDVLVWRDVVHUWWKDWKH
   &RUUHFW"                                              KDVGRQHDQ\WKLQJRWKHUWKDQFLWHDOOFDVHVLQZKLFK


                                                 3DJH                                                                  3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP              QDWDOPDOHVKDYHFRPSHWHGLQ1&$$DWKOHWLFVLQWKH
    7+(:,71(666RLW VVRQR                 IHPDOHFDWHJRU\"
    SRWHQWLDOLQWKLVFRQWH[WGRHVUHIHUHQFHWKDWPRVWRI           $6RWKHLIRXUIRFXVLVRQWKHZRUGLVRODWHG
    WKLVELRORJ\LVXQNQRZQVRWKDWSDUWLVWUXHEXWLW           WKHQSHUVHWKH\DUHDOOWKHVHDUHDOOLVRODWHG
    GRHVQ WPHDQWKDWWKHUHLVQRWKLQJNQRZQ                       FDVHV7KHVHDUHQ WV\VWHPDWLFDQDO\VHVRIDQ\FRKRUW
    %<$77251(<%522.6                                             RISHRSOH
    4<RXGRQRWSURSRVHWRRIIHUDQ\RSLQLRQWKDW           4<RXDUHQRWDFFXVLQJ'RFWRU%URZQRISLFNLQJDQG
    QDWDOPDOHVOHWPHVWULNHWKDWDQGVWDUWDJDLQ             FKRRVLQJ"
    <RXGRQRWSURSRVHWRRIIHUDQ\RSLQLRQGR            $77251(<%/2&.2EMHFWLRQWRIRUP
   \RXWKDWSULRUWRSXEHUW\QDWDOPDOHVZKRLGHQWLI\DV         7+(:,71(666ROHWPHWKLQNDERXWWKDW
   IHPDOHDUHOHVVDWKOHWLFFDSDEOHRQDYHUDJHWKDQQDWDO         %\VLPSO\FKRRVLQJLQGLYLGXDOFDVHVWKDWDUHLQWKH
   PDOHVZKRLGHQWLI\DVPDOH"                                    SUHVVWKHQLWLVE\LWVQDWXUHSLFNLQJDQGFKRRVLQJ
   $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%522.6
   7+(:,71(66, PQRWRIIHULQJDQRSLQLRQ       4:KDWGR\RXPHDQE\WKDW"
   ZLWKUHJDUGWRFLVJHQGHUH[FXVHPHFLVJHQGHU           $:HOOWKHVHDUHVLPSO\LQGLYLGXDOFDVHVWKDW
   ER\VYHUVXVWUDQVJHQGHUJLUOVDQGWKHLUDWKOHWLFLVPZKHQ       KDYHWKDWKDYHFRPHWRSXEOLFDWWHQWLRQDQGVR,
   WKH\DUHSUHSXEHUWDO,IWKDW VZKDW\RXDUHDVNLQJ          VRDQGWKDW VWKHEDVLVRIP\VWDWHPHQWDV
   WKHQ\HV, PQRWRIIHULQJDQRSLQLRQEHWZHHQWKRVHWZR        RSSRVHGWRVRPHH[KDXVWLYHDWWHPSWWRLGHQWLI\
   JURXSV, PVLPSO\UDLVLQJWKHSRVVLELOLW\WKDW               WUDQVJHQGHUSHRSOHLQDV\VWHPDWLFIDVKLRQ
   VRPHWKLQJOLNHELRORJ\DVVRFLDWHGZLWKWUDQVJHQGHUFRXOG       4$V\RXVLWKHUHWRGD\'U6DIHUDUH\RXDZDUH
   KDYHLQIOXHQFHLQWRLW                                        RIDVLQJOHFDVHQRWPHQWLRQHGE\'RFWRU%URZQLQKLV
   %<$77251(<%522.6                                            UHSRUWRIDQDWDOPDOHZKRKDVFRPSHWHGLQ1&$$
   4/HWPHDVN\RXWRWXUQWRSDUDJUDSKRI\RXU        DWKOHWLFVLQWKHZRPHQ VFDWHJRU\"
   UHEXWWDOUHSRUW$QGWKHUH\RXZULWH'RFWRU%URZQDOVR        $77251(<%/2&.2EMHFWLRQWRIRUP


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0642
                                                 3DJH                                                        3DJH
    7+(:,71(66&DQ,QDPHVRPHERG\RIIWKH        ZKRDUHWUDQVJHQGHU"
    WRSRIP\KHDG",FDQQRW                                      $77251(<%/2&.2EMHFWLRQWRIRUP
    %<$77251(<%522.6                                             7+(:,71(667KDWLVFRUUHFW,GRQRW
    4'R\RXKDYHDQ\FRQFUHWHOHDYLQJDVLGH             NQRZWKHSHUFHQWDJHWKDWZKDWZHNQRZLVWKH
    ZKHWKHU\RXUHPHPEHUDSUHFLVHQDPHGR\RXKDYHDQ\            SHUFHQWDJHRIWUDQVJHQGHUSHRSOHDQGWKHQZHNQRZWKH
    IDFWXDOEDVLVWRNQRZWKDW'RFWRU%URZQKDVRPLWWHGDQ\         SHUFHQWDJHRILGHQWLILHGDWKOHWHVZLQQLQJFRPSHWLWLRQV
    FDVHRIDQDWDOPDOHZKRKDVFRPSHWHGLQWKHIHPDOH             $QGHYHQWKHQZHGRQ WNQRZWKDWDEVROXWHO\:HRQO\
    GLYLVLRQRI1&$$DWKOHWLFV"                                     NQRZWKHRQHVWKDWDUHSXEOLFL]HG%XWULJKWLQWKH
    $77251(<%/2&.2EMHFWLRQWRIRUP              LQEHWZHHQZHGRQ WKDYHVWDWLVWLFV7KDW VULJKW
   7+(:,71(666R,JXHVVLIWKHTXHVWLRQ        $77251(<%522.6&RXQVHO, PJRLQJWR
   LVZKDWFDQ,GRRIIWKHWRSRIP\KHDGWKHQ,FDQQRW        VXJJHVWLQP\H[SHULHQFHLIZHEUHDNIRUOXQFKDW
   %<$77251(<%522.6                                            QRRQLWPDNHVLWDOLWWOHORQJDIWHUQRRQ6R,ZRXOG
   42IIWKHWRSRI\RXUKHDG\RXUHFDOOWKHFDVHRI      VXJJHVWWKDWZHWDNHDVKRUWEUHDNQRZDQGWKHQNHHS
   -XQH(DVWZRRGGR\RXQRW"                                     JRLQJXQWLOOLNHRUVRPHWKLQJ,W VVHYHQKRXUV
   $<RXKDYHWRUHPLQGPHZKDWWKDWLV                   RQWKHFORFNDQG, PKHUHMXVWWRWHOO\RXWKDWWKH
   4$UXQQHULQ0RQWDQD"                                  DIWHUQRRQJHWVORQJ6RXQOHVV\RXDUHVWDUYLQJ, G
   $,DFWXDOO\ZRXOGQHHGWREHUHPLQGHGRIWKRVH         UHFRPPHQG"
   GHWDLOV                                                       7+(:,71(661R,WKLQNWKDW VDJUHDW
   4$OOULJKW&HUWDLQO\\RXUHFDOO/LD7KRPDV           LGHD
   EHFDXVHQRQHRIXVFDQPLV/LD7KRPDVWKHVHGD\V"              $77251(<%522.67DNHDVKRUWEUHDNQRZ
   $/LD7KRPDVLVVWLOOLQWKHQHZV                      7+(:,71(666R\RXGRQ WNQRZZKRLVRQ
   4'R\RXUHFDOOWKHFDVHRI&H&H7HOIHU"                WKHSKRQHVRJLYHWKHPDEUHDN
   $1DPHVDUHQRWP\VWUHQJWK                            $77251(<%522.6/HW VJRRIIWKH
   4$OOULJKW1RPRUHRQWKDW                          UHFRUG


                                                 3DJH                                                        3DJH
    <RXVD\DWWKHHQGRIWKLVSDUDJUDSKTXRWH           9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
    WKHRFFDVLRQDOFKDPSLRQVKLSWKDWKDVEHHQZLGHO\                FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
    SXEOLFL]HGGRQRWFRPHFORVHWRFRQVWLWXWLQJWKHUDWHV          2))9,'(27$3(
    RQHZRXOGH[SHFWLIWKH\WKDWLVWUDQVJHQGHUDWKOHWHV         
    ZDQWHGUDWHVWKDWDUHSURSRUWLRQDOWRWKHLURYHUDOO              :+(5(8321$6+257%5($.:$67$.(1
    SHUFHQWDJHRIWKHSRSXODWLRQZKLFKLVDSSUR[LPDWHO\RQH        
    SHUFHQW'R\RXVHHWKDWODQJXDJH"                             219,'(27$3(
    $,GR                                                  9,'(2*5$3+(5%DFNRQWKHUHFRUG
    4'R\RXKDYHDQ\NQRZOHGJHDVWRZKDWILUVW         &XUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
   RIDOOOHWPHDVNZKDWLV\RXUEDVLVIRUEHOLHYLQJ           $77251(<%522.6/HWPHPDUNDV6DIHU
   WKDWWKHFXUUHQWVWXGHQWSRSXODWLRQLQFROOHJHDQGKLJK        ([KLELWWKH(QGRFULQH7UHDWPHQWRI*HQGHU
   VFKRROOHYHOLVDSSUR[LPDWHO\RQHSHUFHQWWUDQVJHQGHU"         '\VSKRULF*HQGHU,QFRQJUXHQW3HUVRQVDQ(QGRFULQH
   $7KHVWDWLVWLFIRUWKHSHUFHQWDJHRIWKH               6RFLHW\&OLQLFDO3UDFWLFH*XLGHOLQHVIURP
   SRSXODWLRQZKRDUHWUDQVJHQGHUFRPHVIURPVXUYH\V             SUHYLRXVO\PDUNHGDV$GNLQV([KLELW
   4$QGGR\RXKDYHDQ\NQRZOHGJHDWDOODVWRZKDW       $77251(<:,/.,16217DE
   SHUFHQWDJHRIYDUVLW\DWKOHWHVLQ$PHULFDWRGD\DWWKH         
   1&$$DPRQJ1&$$PHPEHUVFKRROVLQWKHZRPHQ V               :KHUHXSRQ([KLELW(QGRFULQH6RFLHW\
   GLYLVLRQDUHWUDQVJHQGHU"                                      *XLGHOLQHVZDVPDUNHGIRULGHQWLILFDWLRQ
   $,IWKHTXHVWLRQLVWKDWDVXUYH\LQWKDW              
   SRSXODWLRQ, PQRWDZDUHRIDVXUYH\WKDW VEHHQGRQH        %<$77251(<%522.6
   46R\RXGRQ WNQRZZKHWKHUWKHQXPEHURI               4$QG'RFWRU6DIHUDP,FRUUHFW\RXVHUYHGWKH
   YLFWRULHVRIFKDPSLRQVKLSVWKDWKDYHEHHQWDNHQLQWKH         FRPPLWWHHWKDWFUHDWHGWKLVUHYLVHGYHUVLRQRIWKH
   ZRPHQ VGLYLVLRQE\WUDQVJHQGHUFRPSHWLWRUVLVKLJKHURU       (QGRFULQH6RFLHW\ V*XLGHOLQHV"
   ORZHUWKDQWKHSHUFHQWDJHRIDWKOHWHVLQWKRVHGLYLVLRQV       $<HV


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0643
                                                 3DJH                                                         3DJH
    4$QGLVLWUHDVRQDEOHIRUPHWRDVVXPHWKHUHIRUH        WUDQVJHQGHUNLGVZLWKWKHVHVRUWVRIODEHOV
    WKDW\RXDUHIDPLOLDUZLWKLWLQVRPHGHWDLO"                   %<$77251(<%522.6
    $,DPIDPLOLDUZLWKLWLQVRPHGHWDLO                  4:HOOUHFRPPHQGDWLRQVD\VZHUHFRPPHQG
    47KH\DOVRSHUWDLQWR\RXUSUDFWLFH"                    DJDLQVWSXEHUW\EORFNLQJDQGDJHQGHUKRUPRQHWUHDWPHQW
    $P,FRUUHFW                                          LQSUHSXEHUWDOFKLOGUHQZLWKJHQGHUG\VSKRULDRUJHQGHU
    $$QGWKH\GRSHUWDLQWRP\SUDFWLFH\HV               LQFRQJUXHQFH'R\RXKDYHDQXQGHUVWDQGLQJRIZK\WKHVH
    4/HWPHDVN\RXWRWXUQLQ([KLELWWR3DJH       (QGRFULQH6RFLHW\JXLGHOLQHVRIZKLFK\RX UHDFRDXWKRU
    ([KLELW$QGWKHUH,ZLOOFDOO\RXU                UHFRPPHQGHGDJDLQVWSXEHUW\EORFNLQJLQSUHSXEHUWDO
    DWWHQWLRQWRWKHVSHFLILFUHFRPPHQGDWLRQWKDW VQXPEHUHG        FKLOGUHQ"
   $QGLWVD\VWKHUHZHUHFRPPHQGDJDLQVWSXEHUW\           $<HV
   EORFNLQJDQGJHQGHUDIILUPLQJKRUPRQHWUHDWPHQWLQ             4:K\"
   SUHSXEHUWDOFKLOGUHQZLWK*'JHQGHULQFRQJUXHQFH              $7KH\KDYHQRLPSDFW
   'R\RXVHHWKDW"                                      4&DQ\RXSRLQWPHWRDQ\ZKHUHLQWKHHYLGHQFH
   $,GR                                                 GLVFXVVLRQWKDWVXJJHVWVWKDWLVWKHUHDVRQIRUWKLV
   4$QGWKHQWKHUHLVDVHFWLRQKHDGHGHYLGHQFH          UHFRPPHQGDWLRQ"
   ULJKW"                                                         $,GRQ WNQRZ/HWPHORRN
   $<HV                                                  47KHHYLGHQFHGLVFXVVLRQLVMXVWWZRSDUDJUDSKV
   4$QGWKHILUVWVWDWHPHQWLQWKHVHQWHQFHWKDWLV       $77251(<%/2&.,MXVWZDQWWRREMHFWWR
   LQWKHVHFWLRQKHDGHGHYLGHQFHLVTXRWHLQPRVW          WKHH[WHQW\RX UHOLPLWLQJKLVUHYLHZWRWKHHYLGHQFH
   FKLOGUHQGLDJQRVHGZLWK*'JHQGHULQFRQJUXHQFHLWGLG          VHFWLRQ
   QRWSHUVLVWLQWRDGROHVFHQFHFORVHGTXRWH                    %<$77251(<%522.6
   'R\RXVHHWKDW"                                      40\TXHVWLRQSHUWDLQVWRWKHHYLGHQFHVHFWLRQ
   $,GR                                                 $6RWKRVHWZRSDUDJUDSKVDUHERWKSULPDULO\
   4'R\RXEHOLHYHWKDWWREHDIDOVHVWDWHPHQW"          UHIHUHQFLQJDQGQRW


                                                 3DJH                                                         3DJH
    $,ZRXOGQ W,JXHVVLWGHSHQGVRQFRQWH[W           4:HOOOHWPHDVN\RXWRWXUQWRSDJH$QG
    KHUHWRR6RDVRIZKHQWKLVZDVZULWWHQWKH                  DWWKHWRSRIWKDWILUVWFROXPQRQLWUHDGVZH
    OLWHUDWXUHEHLQJUHIHUHQFHGKDGDEURDGHUGLDJQRVLVIRU         WKHUHIRUHDGYLVHVWDUWLQJVXSSUHVVLRQLQHDUO\SXEHUW\
    JHQGHUG\VSKRULDDQGJHQGHULQFRQJUXHQFHRUUHDOO\              WRSUHYHQWLUUHYHUVLEOHGHYHORSPHQWRIXQGHVLUDEOH
    JHQGHUG\VSKRULDLVWKHODEHOWKDWZDVEHLQJXVHGDQG           VHFRQGDU\VH[FKDUDFWHULVWLFV+RZHYHUFRPPD
    VWLOOLV*HQGHULQFRQJUXHQFHLVZKHUHZHDUHKHDGHG          DGROHVFHQWVZLWKJHQGHUG\VSKRULDVODVKJHQGHU
    $QGVRZLWKWKDWEURDGHUGHILQLWLRQWKDWLQFOXGHG              LQFRQJUXHQFHVKRXOGH[SHULHQFHWKHILUVWFKDQJHVRI
    JHQGHUH[SDQVLYHFKLOGUHQZKRZHUHQRWQHFHVVDULO\              WKHLUHQGRJHQRXVSXEHUW\EHFDXVHWKHLUHPRWLRQDO
    WUDQVJHQGHU                                                    UHDFWLRQWRWKHVHILUVWSK\VLFDOFKDQJHVKDVGLDJQRVWLF
   47KHVWDWHPHQWLV,WKLQNIDLUO\VSHFLILF$QG        YDOXHLQHVWDEOLVKLQJWKHSHUVLVWHQFHRIJHQGHU
   DV\RXDUHDZDUHWKHGLVFXVVLRQFLWHVYDULRXV                 G\VSKRULDJHQGHULQFRQJUXHQFH
   UHIHUHQFHVEXWWKHLQWURGXFWRU\VHQWHQFHVWDWHVLQPRVW       'R\RXVHHWKDWODQJXDJH"
   FKLOGUHQGLDJQRVHGZLWK*'DJHQGHUG\VSKRULDRUJHQGHU        $,GR
   LQFRQJUXHQFHGLGQRWSHUVLVWLQWRDGROHVFHQFH'R\RX         4$QGDVDVFLHQWLVWDQGSUDFWLWLRQHUGR\RXDJUHH
   EHOLHYHWREHDWUXHVWDWHPHQWRUIDOVHVWDWHPHQW"             ZLWKWKDWVWDWHPHQW"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $,ZRXOGVD\WKDWWKHYDOLGLW\RIWKDWVWDWHPHQW
   7+(:,71(667KHSUREOHPLV,FDQ W            LVLQHYROXWLRQ
   DQVZHUWKDWTXLWHWKDWFOHDQO\7KHVWDWHPHQW                 4,Q\RXUSUDFWLFHRYHUWLPHZHOOOHWPHDVN
   UHIHUHQFHVDFLUFXPVWDQFHWKDW,MXVWUHIHUHQFHGZKHUH         \RXWKLV:KHQWKLVZDVGUDIWHGGLG\RXUDLVHDQ
   FKLOGUHQUHFHLYLQJWKDWODEHOKDYHWRIRUWKHPRVW         REMHFWLRQWRWKHSURSRVLWLRQWKDWWKHFKLOG VHPRWLRQDO
   SDUWZHUHQRWWUDQVJHQGHU7KHRQO\FDXWLRQ,ZDQWWR         UHDFWLRQWRWKHILUVWSK\VLFDOFKDQJHVRISXEHUW\KDG
   PDNHLVWKDWDVZHJURZPRUHUHILQHGLQRXU                    LPSRUWDQWGLDJQRVWLFYDOXH"
   XQGHUVWDQGLQJRIJHQGHULGHQWLW\DQGDOVRLQRXU               $,FDQQRWUHFDOORXUVSHFLILFFRQYHUVDWLRQVEXW
   ODEHOLQJWKDWZHDUHPRUHVSHFLILFLQLGHQWLI\LQJ             LI\RX UHDVNLQJLIP\YLHZKDVVKLIWHGVLQFHOHW VVD\


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0644
                                                 3DJH                                                         3DJH
    QRWKHUHFRJQLWLRQWKDWWKHUHLVDQ          FKDQJHVRISXEHUW\DVSDUWRIWKHLUSURFHVVRI
    HYROXWLRQZDVDOUHDG\SDUWRIP\RSLQLRQ                       GHWHUPLQLQJZKHWKHUWUDQVJHQGHUKRUPRQDOWKHUDSLHVRI
    4:KDWGR\RXPHDQWKHUHFRJQLWLRQWKDWWKHUHLV         DQ\VRUWDUHDSSURSULDWHIRUWKDWFKLOG"
    DQHYROXWLRQDERXW"                                             $<HDK,FDQ WJLYH\RXJLYH\RXDQDQVZHU,
    $6RWKHHYROXWLRQLVWKDWZKHWKHUWKHUHLVDQHHG       ZRXOGDFWXDOO\KDYHWRJRVXUYH\P\SV\FKRORJLVWV
    WRVWDUWSXEHUW\DVDGLDJQRVWLFDVDQHFHVVDU\             4/HWPHGLUHFW\RXWRSDUDJUDSKRI\RXU
    GLDJQRVWLFFLUFXPVWDQFH                                        UHEXWWDOUHSRUW$QGWKHUH\RXVD\LQWKHVHFRQG
    4,Q\RXUSUDFWLFHWRGD\GR\RXSUHVFULEHSXEHUW\        VHQWHQFHXQGHUFXUUHQWVWDQGDUGVRIFDUHWUDQVJHQGHU
    EORFNHUVSULRUWR7DQQHU6WDJH"                               DGROHVFHQWVDUHHOLJLEOHWRUHFHLYHSXEHUW\EORFNHUV
   $,VRWZRWKLQJV0\SUDFWLFHLVZLWK             ZKHQWKH\UHDFK7DQQHUQRW7DQQHUZKLFKLVHDUO\
   DGXOWV$QGDOWKRXJK,ZLOOVHHROGHUNLGVEHFDXVH,          HQRXJKWRSUHYHQWHQGRJHQRXVSXEHUW\IURPWDNLQJSODFH
   GRQ WKDYHDKDUGWKUHVKROGRIDJHEXW,GRQ W             FORVHGTXRWH
   SUHVFULEHSXEHUW\EORFNHUVEHFDXVH,GRQ WP\              'R\RXVHHWKDW"
   SUDFWLFHGRHVQRWLQFOXGHWKRVHDJHFKLOGUHQ%XWWZR        $,GR
   LWLVVWLOOWKHJXLGDQFHDQGVRWKHSHGLDWULFLDQVZKR          41RZMXVWIRUFRQWH[W\RXWHVWLILHGSUHYLRXVO\
   DUHSDUWRIP\SURJUDPGRQRWSUHVFULEHSXEHUW\EORFNHUV       WKDWWKHODUJHPDMRULW\RIPLQRUV, OOVD\ZKRSUHVHQW
   SULRUWR7DQQHUIRUWKHUHDVRQ,VWDWHGLQLWLDOO\           ZLWKJHQGHULQFRQJUXHQFHRUJHQGHUG\VSKRULDDUHLQ
   4$QGDFFRUGLQJWRWKHVHJXLGHOLQHVE\WKHWLPH        IDFWFRQVLGHUDEO\ROGHUDQGKDYHJRQHWKURXJKDWOHDVW
   \RXUHDFK7DQQHU6WDJHWKHUHKDYHEHHQVXIILFLHQW            PRVWRIWKH7DQQHUVWDJHV
   ILUVWSXEHUWDOVWDJHVRISXEHUWDOGHYHORSPHQWWR           &RUUHFW"
   JLYHDFKDQFHWRREVHUYHWKHFKLOG VUHDFWLRQWR               $77251(<%/2&.2EMHFWLRQWR
   SXEHUWDOFKDQJHVIRUGLDJQRVWLFSXUSRVHV                      FKDUDFWHUL]DWLRQ
   &RUUHFW"                                              7+(:,71(660RVWRIWKHSHRSOHZHDUH
   $77251(<%/2&.2EMHFWLRQWRIRUP             VHHLQJLQFOLQLFDOSUDFWLFHDUHFRPLQJWRXVDWODWHU


                                                 3DJH                                                         3DJH
    7+(:,71(666RWKHVR,JXHVVWKHUH        VWDJHVRIGHYHORSPHQW\HV
    DUHNLQGRIWZRSLHFHV7KHVHQWHQFHLVWKDW               %<$77251(<%522.6
    VHQWHQFHLVZULWWHQEXWWKDWLVWKHVHQWHQFHWKDW, P          4$QGVRZKHQZHWDONDERXWSUHSXEHUWDOFKLOGUHQ
    VXJJHVWLQJLVDQRSLQLRQWKDWLVLQHYROXWLRQOLNH, P         ZH UHWDONLQJDERXWDVPDOOPLQRULW\RIWKHSDWLHQWV
    VD\LQJWRZKHWKHUWKDWQHHGUHDOO\H[LVWVRUQRW7KH         FRPLQJLQWR"
    UHDVRQZK\ZHVWLOOGRQ WSUHVFULEHSXEHUW\EORFNHUV            $,FDQ WGHILQHVPDOOEXWLWLVWKHPLQRULW\
    EHIRUH7DQQHULVWKDWWKHUHLVQRSRLQWWKHUHLVQR          WKDW VFRUUHFW
    SUHYHQWLYHHOHPHQWWRSXEHUW\EORFNHUVDQGVRWKHUHLV          4$QGGR\RXEHOLHYHWKDWZKDW\RXUFOLQLFLV
    QRSRLQWWRJLYHWKHPEHIRUHSXEHUW\EHJLQVDQGWKHUHLV        VHHLQJLQWKDWUHJDUGLVW\SLFDORIZKDW VEHLQJVHHQ
   QRZD\WRNQRZWKDWXQWLOWKHUHLVDQREVHUYDEOH               DFURVVWKHFRXQWU\WKHVHGD\V"
   REMHFWLYHILQGLQJ                                             $6RLI, PVLWWLQJKHUHDVDQH[SHUW,GRQ W
   4+DV\RXURZQSUDFWLFHHYHULQYROYHGWRD              KDYHDQH[SHUWVXUYH\WRSRLQWWRWRJLYH\RXDQDQVZHU
   VLJQLILFDQWH[WHQWWUHDWLQJSUHSXEHUWDORUHDUO\               WKHUH
   SXEHUWDOVWDJHFKLOGUHQIRUJHQGHUG\VSKRULDRUJHQGHU         4%XW\RXUHDGWKHOLWHUDWXUHDQG\RXWDONWR
   LQFRQJUXHQFHLQFRQJUXHQFH"                                     FROOHDJXHVDWRWKHULQVWLWXWLRQV
   $+DYH,SHUVRQDOO\FDUHGIRUSUHSXEHUWDOFKLOGUHQ      $P,FRUUHFW"
   ZKRDUHWUDQVJHQGHURURWKHUZLVH"$FWXDOO\LQWKH            $,FHUWDLQO\ERWKUHDGWKHOLWHUDWXUHDQGWDONWR
   VXEMHFWVQR                                                  FROOHDJXHV
   4$QGGRSK\VLFLDQVZKRGRWUHDWSUHSXEHUWDO            4$QGLVLW\RXUFXUUHQWEHOLHIWKDWZKDW\RXDUH
   FKLOGUHQUHSRUWWR\RXLQFRQQHFWLRQZLWK\RXUSRVLWLRQ        VHHLQJLQWHUPVRIWKHEUHDNGRZQRISDWLHQWSRSXODWLRQ
   DWWKHFOLQLFRUWKH0RXQW6LQDL0HGLFDO+RVSLWDO"             LVVLPLODUWRRUTXLWHGLIIHUHQWIURPZKDWRWKHUPDMRU
   $<HV                                                  JHQGHUFOLQLFVDUHH[SHULHQFLQJ"
   4$QGGR\RXNQRZZKHWKHU\RXUFOLQLFPDNHVXVHRI      $6RNLQGRIVHSDUDWLQJ, POLYLQJLQP\H[SHUW
   FKLOGUHQ VHPRWLRQDOUHDFWLRQVWRWKHILUVWSK\VLFDO           UROH,UHDOO\ZDQWWRSRLQWWRGDWDZKHUH,KDYHDQ\


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0645
                                                 3DJH                                                         3DJH
    FRQILGHQFHDWDOODQG,KDYHQRQH,I\RXDUHDVNLQJ          6WDJHGRHVQRWFDWHJRULFDOO\SUHYHQWHQGRJHQRXV
    PHLQDPRUHLQIRUPDOZD\DPRQJRXUFRQYHUVDWLRQVWKHQ         SXEHUW\IURPWDNLQJSODFHEXWLQVWHDGSUHYHQWVD
    ,FDQDQVZHUWKDWRXUH[SHULHQFHVHHPVVLPLODUWR               VXEVWDQWLDOSRUWLRQRIHQGRJHQRXVSXEHUW\IURPWDNLQJ
    RWKHUV H[SHULHQFH                                             SODFH
    4$OOULJKW                                             &RUUHFW"
    6RLQWDONLQJDERXWSUHSXEHUWDOFKLOGUHQ           $77251(<%/2&.2EMHFWLRQWRIRUP
    ZHOOVWULNHWKDW:H YHEHHQWKURXJKWKDW                    7+(:,71(666ROHWPH
    ,Q\RXUUHEXWWDOUHSRUWZKHQ\RXVDLGEHJLQQLQJ          %<$77251(<%522.6
    SXEHUW\EORFNHUVDW7DQQHUVWDJHLVHDUO\HQRXJKWR           4,WLVLQSDUDJUDSK
   SUHYHQWHQGRJHQRXVSXEHUW\IURPWDNLQJSODFHOHWPHDVN       $6RWKH,JXHVVWKHZD\WKLVLVXQGHUVWRRGLV
   \RXLQFRQVLGHUDWLRQGR\RXEHOLHYHLWLVDFFXUDWHDV        ,JXHVVLWGHSHQGVRQKRZH[WUHPH\RXZDQWWRWDNH
   VWDWHG"                                                        WKLQJV,WLVEDFNWRRXURULJLQDOFRQYHUVDWLRQRIWKDW
   $6R7DQQHUHDUO\HQRXJKWRSUHYHQWHQGRJHQRXV        FDXVHKDVWRWDNHSODFHEHIRUHHIIHFW6RLW VSDUVLQJ
   SXEHUW\IURPWDNLQJSODFH\HVWKDWLVDFFXUDWH              LWWRWKDWGHJUHH
   4<RXZRXOGDJUHHZLWKPHZRXOG\RXQRWWKDWWKH      ,QDELRORJLFDOFRQWH[WLWUHDOO\LVWKHFDVH
   HQGRFULQHJXLGHOLQHVRIZKLFK\RXDUHDFRDXWKRU              WKDWZHQHHGVRPHREMHFWLYHHYLGHQFHEHIRUHZHEHJLQ
   UHFRPPHQGWRWUHDWEHJLQQLQJSXEHUW\EORFNHUVDW7DQQHU        WKLQJVVRWKDWZHGRQ WPDNHWKHPLVWDNHRIXVLQJD
   6WDJH"                                                       PHGLFDWLRQSULRUWRLWVKDYLQJDQ\LPSDFW$QGWKHQ
   $6RWRFODULI\XQGHUWKHFLWHGJXLGHOLQHVZKDW        LW VDOVRWUXHWKDWVRPHRIWKHKRUPRQHPHGLDWHGFKDQJHV
   WKH\VD\WKHUHFRPPHQGDWLRQLVGRQRWXVHSXEHUW\              WKDWZHVHHGRDFWXDOO\UHJUHVVWRWKDWSUHSXEHUWDO
   EORFNHUVSULRUWRSXEHUW\EHJLQQLQJSULRUWR7DQQHU        VWDWHZKHQZHZKHQ\RXXVHSXEHUW\EORFNHUVDW
   4/HWPHGLUHFW\RXWRUHFRPPHQGDWLRQRQ            7DQQHU6RWKHVWDWHPHQWDVZULWWHQDV,ZURWHLW
   SDJH5HFRPPHQGDWLRQUHDGVZHVXJJHVWWKH            LVDFFXUDWHLQWKHZD\ZHWKLQNRIWKHVHWKLQJVLQ
   FOLQLFLDQVEHJLQSXEHUWDOKRUPRQHVXSSUHVVLRQDIWHU            ELRORJ\


                                                 3DJH                                                         3DJH
    JLUOVDQGER\VILUVWH[KLELWSK\VLFDOFKDQJHVRI                4$OWKRXJKWKHJXLGHOLQHVVSHFLILFDOO\VWDWHWKDW
    SXEHUW\                                                        DGROHVFHQWVVKRXOGEHIRUHSXEHUW\EORFNHUVTXRWH
    'R\RXVHHWKDW"                                       VKRXOGH[SHULHQFHWKHILUVWFKDQJHVRIWKHLUHQGRJHQRXV
    $,GR                                                  VSRQWDQHRXVSXEHUW\$QGWKHUHFRPPHQGDWLRQFDOOVIRU
    4$QGWKHQLWVD\VSDUHQ7DQQHUVWDJHV*%           EHJLQQLQJSXEHUW\EORFNHUVTXRWHDIWHUJLUOVDQGER\V
    ZKLFKLVWRVD\WKHJLUOV7DQQHURUER\V7DQQHU            ILUVWH[KLELWSK\VLFDOFKDQJHVDWSXEHUW\SDUHQ7DQQHU
    FRUUHFW"                                                        VWDJHVFORVHGSDUHQ, PQRWPLVUHDGLQJDQ\WKLQJDP
    $7KDWLVZKDWWKDWPHDQV\HV                          ,"
    46RWKHRIILFLDOUHFRPPHQGDWLRQIURPWKH                $77251(<%/2&.2EMHFWLRQWRMXVW
   (QGRFULQH6RFLHW\LVEHJLQDWRUDIWHU7DQQHU6WDJH         UHDGLQJDQH[FHUSW
   ULJKW"                                                         7+(:,71(665LJKW,GRQ WNQRZ,
   $77251(<%/2&.2EMHFWLRQWRIRUP             GRQ WNQRZLIWKRVHZHUHDUHDOOGLUHFWTXRWHVRUQRWVR
   7+(:,71(667KDWLVDFRUUHFW                ,ZRQ WFRPPHQWRQZKHWKHU\RX UHPLVUHDGLQJRUQRWEXW
   %<$77251(<%522.6                                            WKHILUVWVWDWHPHQWWKDW\RXUHIHUHQFHDV, YHVDLGLV
   4$QGLWVD\VWKDW7DQQHU6WDJHLVGHILQHGDV         RQHZKHUHWKHUHLVDQHYROYLQJXQGHUVWDQGLQJRILWV
   JLUOVDQGER\VILUVWH[KLELWLQJSK\VLFDOFKDQJHVRI            YHUDFLW\RULWVDSSOLFDELOLW\
   SXEHUW\                                                       7KHVWDWHPHQWLVVLPSO\XVLQJ
   &RUUHFW"                                                DOWHUQDWHSKUDVLQJIRUVD\LQJ7DQQHUWKDWLVZHQHHG
   $77251(<%/2&.2EMHFWLRQWRIRUP             WRKDYHREMHFWLYHHYLGHQFHWKDWSXEHUW\LVJHQXLQHO\
   7+(:,71(667KHGHILQLWLRQRI7DQQHU       EHJLQQLQJ7KHIRFXVDQGWKHSXUSRVHRIWKHVH
   LVZKHUHWKHUHLVDQ\REMHFWLYHHYLGHQFHZKHQSXEHUW\          VWDWHPHQWVLVWRDYRLGSHRSOHXVLQJSXEHUW\EORFNHUVRQ
   KDVEHJXQ                                                     QRQSXEHUWDONLGV
   %<$77251(<%522.6                                            %<$77251(<%522.6
   46RLQIDFWEHJLQQLQJSXEHUW\EORFNHUVDW7DQQHU      4:HOO\RXZRXOGDJUHHZLWKPHZRXOG\RXQRW


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0646
                                                 3DJH                                                         3DJH
    WKDWLIRQHDGPLQLVWHUSXEHUW\EORFNHUVLQDFFRUGDQFH           7UDQVJHQGHU3DWLHQW$UWLFOHZDVPDUNHG
    ZLWK(QGRFULQH6RFLHW\JXLGHOLQHVWKHQVRPHVWDJHVRI          IRULGHQWLILFDWLRQ
    HQGRJHQRXVPDOHSXEHUW\ZLOOKDYHRFFXUUHGLQQDWDOPDOH        
    SDWLHQWV"                                                       %<$77251(<%522.6
    $77251(<%/2&.2EMHFWLRQWKHIRUP             4$P,FRUUHFWWKDWWKLVLVZHOO\RXWHOOPH
    7+(:,71(666RZKHQZHDUH                 LVWKLVDQDUWLFOHRUERRNFKDSWHU"+RZZRXOG\RX
    VSHFLILFDOO\ZH UHUHIHUHQFLQJWUDQVJHQGHUJLUOVKHUH          GHVFULEHWKLVGRFXPHQW"
    $QGDOWKRXJKSUHSXEHUWLVJHQGHUER\VZKHQZHVHH              $7KLVLVDUHYLHZDUWLFOHIURPWKH$QQDOVRI
    7DQQHUWKHQVRPHVRPHGHJUHHRIGHYHORSPHQWKDV          ,QWHUQDO0HGLFLQH
   WDNHQSODFH7KDWSDUWLVWUXH6RLQWKHDEVROXWH           4$QGE\UHYLHZ\RXPHDQLW VQRWUHSRUWLQJRQ
   VHQVHWKHQ\HV%XWLQDELRORJLFDOVHQVHOLNH,VDLG       RULJLQDOUHVHDUFKEXWUDWKHUVXPPDUL]LQJWKHVWDWHRI
   DOUHDG\WKHVRPHLQWHUHVWLQJUHDOLW\LVWKDWVRPH         NQRZOHGJHLQDSDUWLFXODUDUHD"
   RIWKDWGRHVUHJUHVV                                          $7KDWLVFRUUHFW
   %<$77251(<%522.6                                            42ND\
   4%\WKHZD\\RX\RXUVHOIGRQRWKDYHDQ\            $QGWKHSDJHVPD\KDYH,7&DQGDQXPEHUEXW
   NQRZOHGJHDVWRZKDWGHYHORSPHQWVRIHQGRJHQRXVPDOH           , OOMXVWUHIHUWRWKHQXPEHULI,PD\2QSDJHWKUHH
   SXEHUW\%3-XQGHUZHQWSULRUWRLQLWLDWLQJSXEHUW\              FROXPQWZRLVDVWDWHPHQWWKDW,WKLQNLVMXVW
   EORFNHUVGR\RX"                                              UHSHDWLQJZKDW\RXWROGPHWKDWLVPRVWTXRWHPRVW
   $,KDYHKDGQRSK\VLFDOFRQWDFWZLWK%3-              WUDQVJHQGHUSHUVRQVSUHVHQWWRFOLQLFLDQVLQODWH
   41RUKDYH\RXVWXGLHG%3- VFKDUWVXIILFLHQWO\WR      DGROHVFHQFHRUDGXOWKRRGFORVHGTXRWH7KDWLV
   EHIHHOWKDW\RXNQRZWKHDQVZHUWRWKDWTXHVWLRQ"             FRQVLVWHQWZLWKZKDW\RXWHVWLILHGHDUOLHU
   $5LJKW, PQRWH[SUHVVLQJDQ\RSLQLRQWRWKH          &RUUHFW"
   VSHFLILFPHGLFDOWHUPVWKDW VULJKW                          $7KDWLV\HV
   4+DYH\RX\RXUVHOIHYHUVXSHUYLVHGDQ\               4$QGLI\RXWXUQWKHQWRSDJHILYHFROXPQWZR


                                                 3DJH                                                         3DJH
    UHVHDUFKFOLQLFDOUHVHDUFKFRQFHUQLQJWUHDWPHQWRI            \RXZULWHLQWKHILUVWIXOOVHQWHQFHLQFROXPQWZR
    SUHSXEHUWDOFKLOGUHQIRUJHQGHUG\VSKRULDRUJHQGHU             SULRUHIIHFWVRIDQGURJHQVRQWKHVNHOHWRQKHLJKWDQG
    LQFRQJUXHQFH"                                                   VL]HDQGVKDSHRIWKHKDQGVIHHWMDZDQGSHOYLVDQG
    $+DYH,VXSHUYLVHGUHVHDUFKRQWUHDWPHQWRI             YRLFHLQFOXGLQJYLVLEO\YLVLEOHODU\QJHDO
    SUHSXEHUWDOWUDQVJHQGHUJLUOV"/HWPHWKLQNDERXWWKDW        SURPLQHQFHZLOOQRWEHDOWHUHGLIWUHDWPHQWLV
    1RWKLQJLVFRPLQJWRPLQGEXWRXUSURJUDPGRHVGR              LQLWLDWHGDIWHUSXEHUW\
    UHVHDUFKDFURVVDQDJHVSDQ                                    'R\RXVHHWKDWODQJXDJH"
    4:HOOVRPHRI\RXUFROOHDJXHVPLJKWKDYHGRQH          $,GR
    VXFKUHVHDUFKEXWP\TXHVWLRQLVZKHWKHU\RXKDYHEHHQ         4$QGLVLWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJ
   SHUVRQDOO\VXSHUYLVHGRULQYROYHGLQVXFKUHVHDUFK"            WKDWDWWKLVVWDJHDOVRFKDQJHVWRWKHVL]HRIWKHKHDUW
   $, PSUHWW\LQYROYHGDFWXDOO\HVSHFLDOO\LQRXU       DQGWKHOXQJVZLOOQRWEHDOWHUHGLIWHVWRVWHURQHLV
   UHVHDUFKSURJUDPEXW, PKDYLQJDGLIILFXOWWLPHFRPLQJ       FRPPHQFHGDIWHUWKHLQLWLDWLRQRISXEHUW\"
   XSZLWKDQH[DPSOH                                            $1RWTXLWH
   4$OOULJKW                                            4([SODLQWKDWWRPHSOHDVH
   ,MXVWZDQWWRPDNHVXUH,NQRZDERXWLWLILW        $6RWUDQVJHQGHUZRPHQLIWKH\KDYHJRQHWKURXJK
   H[LVWV                                                        DW\SLFDOPDOHSXEHUW\DUHJRLQJWRUHPDLQODUJHUEXW
   $<HV                                                  WKHWHVWRVWHURQHKDVDFWLRQRQFHUWDLQWLVVXHVVR
   $77251(<%522.6/HWPHPDUNDV6DIHU          VSHFLILFDOO\PXVFOHDQGWKDWZKHQWKRVH
   ([KLELWDQDUWLFOHHQWLWOHGDQDUWLFOHRUD              WHVWRVWHURQHOHYHOVVKULQNWKHQWKDWPXVFOHVKULQNVDQG
   FKDSWHURUVRPHWKLQJHQWLWOHG&DUHRIWKH7UDQVJHQGHU          WKHKHDUWPXVFOHLVZHOOWKHKHDUWLVDPXVFOHVR
   3DWLHQWGDWHGE\'U6DIHUDQGE\'RFWRU9LQ              LWZLOOEHWKHUHZLOOEHDQLPSDFWIURPERG\VL]H
   7DQJSULFKD                                                    EXWWKHUHZLOODOVREHLPSDFWIURPWKHORZHUOHYHORI
                                    WHVWRVWHURQH6RLWZLOOEHNLQGRIDPL[RIWKRVHWZR
    :KHUHXSRQ([KLELW&DUHRIWKH                 47KHKHDUWLVDPXVFOHEXWLWKDVLQLWFDYLWLHV


                                                                                      3DJHVWR
                                                                                                   Armistead App. 0647
                                                 3DJH                                                       3DJH
    RIDFHUWDLQVL]HLQZKLFKEORRGIORZVRXWRIZKLFK           JHQGHUDIILUPLQJKRUPRQHWKHUDS\RQDWKOHWLF
    EORRGLVSXPSHGFRUUHFW"'R\RXKDYHDQ\NQRZOHGJH          SHUIRUPDQFHFORVHGTXRWH'R\RXVHHWKDW"
    DUH\RXDZDUHRUDQ\OLWHUDWXUHWKDWGRFXPHQWVWKDW            $<HV
    WHVWRVWHURQHVXSSUHVVLRQUHGXFHVWKHKHDUW VSXPSLQJ           4<RXDUHDZDUHDUH\RXQRWWKDWWKHUHDUHD
    FDSDFLW\"                                                      VXEVWDQWLDOO\ODUJHUQXPEHURIVWXGLHVWKDWH[DPLQHWKH
    $77251(<%/2&.2EMHFWLRQWRIRUP             HIIHFWRIWHVWRVWHURQHVXSSUHVVLRQRQVWUHQJWKRUPXVFOH
    7+(:,71(666RWKHVRWKHUHLVD          PDVVLQQDWDOPDOHV"
    JDSWKHUHRIWUDQVJHQGHUUHVHDUFKVRQRWKDWLV           $77251(<%/2&.2EMHFWLRQWRIRUP
    VRPHWKLQJWKDW VQRWEHHQVWXGLHG                             7+(:,71(667KHUHDUHWKHUHDUHD
   %<$77251(<%522.6                                           KDQGIXORIVWXGLHVRQWKHLPSDFWRIWHVWRVWHURQH
   4$QGWKHOXQJVDUHQRWPXVFOHWLVVXH$UH\RX        ORZHULQJWUHDWPHQWRQWUDQVJHQGHUZRPHQRQVRPHWLVVXHV
   DZDUHRIDQ\VFLHQFHWKDWLQGLFDWHVRUHYHQVXJJHVWVWR       \HV
   \RXDVDQH[SHUWWKDWDQLQGLYLGXDOZKRKDVJRQHWKURXJK      %<$77251(<%522.6
   W\SLFDOPDOHSXEHUW\WKDWLQGLYLGXDO VOXQJVUHGXFHLQ       4:HOODQGQRWWRJHWFDUULHGDZD\ZLWKWKH
   VL]HLIWHVWRVWHURQHLVVXSSUHVVHG"                           WHUPLQRORJ\WKHUHDUHDOVRVWXGLHVWKDWUHODWHWR
   $6RWKHDQVZHUZLWKUHJDUGWROXQJVLVJRLQJWR       DSSOLFDWLRQRIWHVWRVWHURQHVXSSUHVVLRQWRPDOHVZKR
   KDYHVRPHRIWKRVHVDPHLQSXWVDVKHDUWRURWKHUWLVVXHV      GRQ WLGHQWLI\DVWUDQVJHQGHUDUHWKHUHQRW"
   DFWXDOO\ZKHUHRYHUDOOVL]HRIWKHLQGLYLGXDOLVQRW      $7RFLVJHQGHUPHQLQDGGLWLRQWRWUDQVJHQGHU
   ZHOOFHUWDLQO\KHLJKWDWOHDVWLVQRWGHFUHDVLQJDQG        ZRPHQWKHUHDUHVRPHVWXGLHV\HVWKHUHDUHDFWXDOO\
   VRWKLVSHUVRQLVODUJHU$QGVROXQJVL]HPDWFKHVWKDW      VRPHPRGHVWVWXGLHV\HVRQFLVJHQGHUPHQ
   WRVRPHGHJUHH$QGWHVWRVWHURQHKDVVRPHLPSDFWRQ          4$QGKDYH\RXQRZWDNHQVRPHFDUHWRUHYLHZ
   VXUURXQGLQJPXVFOH$QGVRWRWKHGHJUHHWKDWWKDW           \RXUVHOIDOOWKHSHHUUHYLHZHGVWXGLHVRIWKDWW\SHWKDW
   VKULQNVWKHUHPLJKWEHOXQJVKULQNLQJWRR$QGVR\RX        ZHUHFLWHGLQ'RFWRU%URZQ VUHSRUW"
   KHDUWKDWWKDWLVJRLQJWREHDFRPSOH[DQVZHU$QG      $,KDYHORRNHGDWSDSHUVWKDWZHUHFLWHGE\


                                                 3DJH                                                       3DJH
    LQWHUPVRILQWHUSUHWLQJLWHYHQ\RXWKHQZRXOGDOVR          'RFWRU%URZQ7KHPRPHQWZHXVHWKHZRUGDOO,
    KDYHWRLQWHUSUHWLWLQWKHFRQWH[WRIWKHVL]HRIWKH         KHVLWDWHEXWFHUWDLQO\, YHUHDGWKURXJKWKHSDSHUV
    ERG\LI\RXZDQWWRFRQVLGHUIXQFWLRQDQGQRQHRIWKLV        WKDWZHUHFLWHG
    KDVEHHQVWXGLHG                                              $77251(<%522.6:HOOOHW VVWDUWZLWK
    4&HUWDLQO\\RXGRQ WEHOLHYHGR\RXWKDWDQ          RQH\RXUHIHUHQFHGDUWLFOHE\5REHUWVHWDOIURP
    LQGLYLGXDOZKRKDVEHHQOHWPHVWDUWWKDWDJDLQ,W       ZKLFK,ZLOOPDUNDV([KLELW6DIHU([KLELW
    LVQRW\RXURSLQLRQLVLWWKDWWHVWRVWHURQH                  &28575(3257(5
    VXSSUHVVLRQE\DQLQGLYLGXDOZKRKDVEHHQWKURXJKD            $77251(<:,/.,16217DE
    W\SLFDOPDOHSXEHUW\UHGXFHVWKDWLQGLYLGXDOV92PDVV         
   WRW\SLFDOIHPDOHOHYHOV"                                      :KHUHXSRQ([KLELW5REHUWVHWDO
   $6RWKHPRUHZHJHWLQWRVRPHRIWKHVXEWOHU          $UWLFOHVZDVPDUNHGIRU
   SK\VLRORJ\,ZLOOWDNHDVWHSEDFNDQGJLYH\RXDQ           LGHQWLILFDWLRQ
   H[SHUWRSLQLRQEXW,ZLOOLQDGGLWLRQWRWKDWSRLQW      %<$77251(<%522.6
   RXWWKDWZHGRQ WHYHQKDYHVWXGLHVRQWKLV:H UHMXVW      4$QGLQIDFWWKLVLVRQHRIRQO\YHU\IHZ
   DWDVWDJHRIEHJLQQLQJWRORRNDWWKDWVRUWIWKLQJ         DUWLFOHVWKDW\RXFLWHLQ\RXUH[SHUWUHSRUWVWDUWWR
   $77251(<%/2&.5RJHUDUH\RXDEOHWR        ILQLVK
   VSHDNXSDOLWWOH"                                            &RUUHFW"
   $77251(<%522.6,ZLOOWU\                  $77251(<%/2&.2EMHFWLRQWRIRUP
   %<$77251(<%522.6                                           7+(:,71(666RWKLVSDSHULVUHIHUHQFHG
   4<RXVWDWHWKDWLQSDUDJUDSKRI\RXUH[SHUW        WRDQH[SHUWUHSRUW
   UHSRUW([KLELW"                                            %<$77251(<%522.6
   $6RSDUDJUDSK                                     4/HWPHGLUHFW\RXWRWKHODVWSDJHRI\RXU
   4)LIW\ILYH  <RXVWDWHWKDWWKHUHDUH          H[SHUWUHSRUWZKHUHWKHUHLVDELEOLRJUDSK\$QGRWKHU
   TXRWHRQO\WZRVWXGLHVH[DPLQLQJWKHHIIHFWRI               WKDQFLWLQJWR\RXURZQZULWLQJVDVWKHHQWLUHEDVLVRI


                                                                                     3DJHVWR
                                                                                                      Armistead App. 0648
                                                 3DJH                                                          3DJH
    \RXURSLQLRQV\RXFLWHGRQO\VL[DUWLFOHV                      RIWHVWRVWHURQHRQDWKOHWLFSHUIRUPDQFHLVVRPHRIWKH
    &RUUHFW"                                               VWURQJHVWGDWDWKDWZHKDYHDYDLODEOH"
    $77251(<%/2&.2EMHFWLRQWR                    $77251(<%/2&.2EMHFWLRQWRIRUP
    FKDUDFWHUL]DWLRQDERXWLWVHQWLUHFDVHVIRUKLV                 7+(:,71(66,WLVP\RSLQLRQWKDWWKH
    RSLQLRQV                                                       5REHUWVDQG+DUSHUVWXGLHVDUHWKHRQO\WZRVWXGLHVWKDW
    7+(:,71(666RWKHSDSHUVSHFLILFDOO\          ZHKDYHDYDLODEOH
    UHIHUHQFHGWZRUHYLHZVDQGVL[SDSHUVEXWUHFRJQL]HG            %<$77251(<%522.6
    WKDWVRPHRIWKHVHSDSHUVVSHFLILFDOO\DUHVXPPDULHVRI         4,VLW\RXURSLQLRQDVDQH[SHUWLVLWQRWWKDW
    WKHWRSLF                                                      WKHVWUXFWXUHRIWKH5REHUWVVWXG\UHQGHUVLWDQG
   %<$77251(<%522.6                                            WKHVRXUFHRILWVGDWDUHQGHUVLWIDUPRUHUHOLDEOHWKDQ
   4<RXKDYHVWXGLHGWKH5REHUWVDUWLFOHZLWK        WKH+DUSHUVWXG\"
   VRPHFDUH                                                     $77251(<%/2&.2EMHFWLRQWRIRUP
   ,VWKDWFRUUHFW"                                      7+(:,71(66,ZRXOGQRWRYHUVWDWHWKDW
   $,KDYHLQGHHG\HV                                   VRQR,I, PEHLQJLI, PEHLQJSURIHVVRULDODQG
   4$QGVRIDUDV\RXNQRZLWLVWKHRQO\                 VD\LQJWKLVLVKRZWRRUJDQL]HVRPHWKLQJWKHQLQWKDW
   ORQJLWXGLQDOVWXG\RIWKHLPSDFWRIWHVWRVWHURQH               FRQWH[W,PLJKWVD\WKDWEXWLQWHUPVRIVLPSO\
   VXSSUHVVLRQLQQDWDOPDOHVDQGDFWXDODWKOHWLF                 EHOLHYDELOLW\RIGDWD,JRWWZRPRGHVWSDSHUVWKDWDUH
   SHUIRUPDQFHDQGLQWKLVFDVHUXQQLQJ                          WKHVXPRIWKHZRUOGOLWHUDWXUHRQWKHVXEMHFW
   &RUUHFW"                                              %<$77251(<%522.6
   $77251(<%/2&.2EMHFWLRQWRIRUP             4<RXVD\LQSDUDJUDSKRI\RXUUHSRUWWKDW
   7+(:,71(666RWKH5REHUWVVWXG\DQG          5REHUWVIRXQGTXRWHDIWHUWZR\HDUVRI
   WKH+DUSHUVWXG\DUHERWKVWXGLHVRIWUDQVJHQGHUZRPHQ         JHQGHUDIILUPLQJKRUPRQHWKHUDS\WUDQVJHQGHUZRPHQ
   ZLWKDWOHDVWWZRWLPHSRLQWV                                 FRPSOHWHGWKHPLOHUXQSHUFHQWIDVWHURQDYHUDJH
   %<$77251(<%522.6                                            WKDQQRQWUDQVJHQGHUZRPHQFORVHGTXRWH'R\RXVHH


                                                 3DJH                                                          3DJH
    47KH+DUSHUVWXG\LVVWULFWO\UHWURVSHFWLYHLW         WKDW"
    LVQRWDSURVSHFWLYHORQJLWXGLQDOVWXG\"                       $77251(<%/2&.,WKLQNKHQHHGVVRPH
    $7KH+DUSHUVWXG\LVWKDW VDJRRGTXHVWLRQ        WLPHWRJHW
    ,DFWXDOO\GRQ WNQRZLILWLVLW VSUREDEO\PL[HG         7+(:,71(66<HDKWRDFWXDOO\ILQG
    KRQHVWO\                                                       WKH
    4:HOOZHFDQORRNDWLWEXWLWLVQRWPL[HG          %<$77251(<%522.6
    ,WLVDRQHWLPHVXUYH\                                        43DUDJUDSK$QG,ZLOOUHIHU\RXWRWKHWKLUG
    $:HOOWREHFOHDUWKHZD\ZHSKUDVHWKHVH             VHQWHQFH
    WKLQJVVRPHWLPHVDUH, PWU\LQJWREHDUH               $$OOULJKW
   DFFRUGLQJWRFHUWDLQFRQYHQWLRQVDFDGHPLFDOO\VRWKDW         6RUU\VD\WKDWDJDLQ
   VRPHWLPHVLWZLOOEHIUDPHGWKDWZD\EHFDXVHIURPDQ           4, PVLPSO\FDOOLQJ\RXUDWWHQWLRQWRWKHSODFH
   DFDGHPLFSHUVSHFWLYHZH OOXVHWKDWFRQWH[WEXW,WKLQN       ZKHUH\RXZURWHDWWKH5REHUWVUHSRUWWKDWDIWHUWZR
   VRPHRIWKHGDWDZDVDFWXDOO\FROOHFWHGLQERWK                \HDUVRIDJHQGHUDIILUPLQJKRUPRQHWKHUDS\WUDQVJHQGHU
   FROOHFWLRQV                                                   ZRPHQFRPSOHWHGWKHPLOHUXQSHUFHQWIDVWHURQ
   47KH5REHUWVVWXG\\RXXQGHUVWDQGWREHD              DYHUDJHWKDQQRQWUDQVJHQGHUZRPHQ
   SURVSHFWLYHORQJLWXGLQDOVWXG\GR\RXQRW"                   $<HV
   $:HOODFWXDOO\\RXDUHWHVWLQJPHRQWKDW'LG      4$QGWZR\HDUVQRWDWULFNTXHVWLRQKHUHWZLFH
   WKH\VHWRXWDWWKHEHJLQQLQJWRGRLWRUGLGWKH\JR          DVORQJDVWKHRQH\HDUWHVWRVWHURQHVXSSUHVVLRQ
   EDFNDQGORRN", GKDYHWRVHH                               UHTXLUHPHQWWKDWOHGWRWKH1&$$UXOH
   4:HOOEDVHGRQWKHPHWKRG,WKLQNWKHDQVZHULV      &RUUHFW"
   WKH\ZHQWEDFNDQGORRNHGEHFDXVHLWEHJLQVZHUHYLHZHG"       $7ZR\HDUVLVWZLFHRQH\HDU\HV
   $<HV                                                  4$QG\RXZRXOGDJUHHZLWKPHWKDWDSHUFHQW
   4'R\RXLVLW\RXURSLQLRQWKDWDPRQJVWWKH        IDVWHULQZRPHQ VWLPHLVDVXEVWDQWLDODGYDQWDJH"
   DYDLODEOHGDWDWKH5REHUWVVWXG\LVRQWKHLPSDFW         $77251(<%/2&.2EMHFWLRQWRIRUP



                                                                                       3DJHVWR
                                                                                                     Armistead App. 0649
                                                 3DJH                                                         3DJH
    7+(:,71(666RWKLVLVDELWWKLV          $<HV,VHHWKDW
    LVDELWRIWKHVDPHFRQYHUVDWLRQ,JXHVV,FDQ WVD\         4$QG\RXGRQ WKDYHDQ\H[SHUWRSLQLRQVWKDWWKH
    WKDWLQDEODQNHWZD\,WGHSHQGVRQFRQWH[W                  ILQGLQJVRI5REHUWVDUHLQDFFXUDWHRUXQUHOLDEOHGR
    %<$77251(<%522.6                                             \RX"
    47KHFRQWH[WKHUHLVWKDWWKDWWKHVHDUHDOO$LU        $6RWKHWKLVLVDJDLQDTXHVWLRQRIFRQWH[W
    )RUFHPHPEHUVGR\RXUHFDOO"                                   6R,KDYHQRUHDVRQWRVXVSHFWWKDWWKHVHGDWDDUH
    $,EHOLHYHWKH\DUHDOO$LU)RUFHPHPEHUV\HV         VXVSHFW7KHRQO\TXHVWLRQWKHQLVZKDWZHFRQFOXGH
    4$OOVXEMHFWWR$LU)RUFHSK\VLFDOILWQHVV              ZKHQ\RXGRDVWXG\RIIRUWKHWUDQVJHQGHUZRPHQ,
    UHTXLUHPHQWV6RZHDUHQRWWDONLQJDERXWFRXFK                WKLQNZHDUHWDONLQJDERXWSHRSOHZKLFK,FHUWDLQO\
   SRWDWRHV"                                                      OLNHDORWEHWWHUWKDQVLPSO\SRLQWLQJWRDUDQGRP
   $, PQRWUHQGHULQJDQRSLQLRQWKHUHDVDQH[SHUW      LQGLYLGXDOEXW,UHFRJQL]HDVDOVRVLPSO\
   4*HQHUDOO\\RXZRXOGDFFHSWWKDWWKLVLVD             LQGLYLGXDOVLQDFHUWDLQFLUFXPVWDQFHWKDWPLJKWRU
   UHODWLYHO\ILWSRSXODWLRQ"                                     PLJKWQRWEHUHSOLFDWHGDVZHGRWKLVDJDLQDQGLQFUHDVH
   $,FDQ WHYHQUHQGHUDQRSLQLRQWKHUHDVDQ            WKHQXPEHUVRISHRSOHWKDWZHHYDOXDWH
   H[SHUW                                                        4<RXGRQ WSURSRVHWRRIIHUDQ\H[SHUWRSLQLRQ
   4'R\RXKDYHVRPHXQKHDOWK\UHODWLYHZKR VD           WKDWWKHILQGLQJVRI5REHUWVDVUHSRUWHGLQWKLVSDSHU
   PHPEHURIWKHDUPHGIRUFHV"                                    RIDUHLQDFFXUDWH"
   $,ZDVLQWKH1DWLRQDO*XDUGVR,GRKDYHVRPH        $6R,JXHVVWKHZD\,VDLGLWLVKRZ,VDLGLW
   LQVLJKW                                                       DOUHDG\ZKLFKLV, PQRWGRXEWLQJ5REHUWV GDWDEXW,
   42ND\                                                 ZRXOGQ WWKHQRYHUJHQHUDOL]HWRVD\WKDW,NQRZWKDW
   <RXZRXOGDJUHHZRXOG\RXQRWWKDWUXQQLQJ          WKHVHZRXOGEHWKHILQGLQJVZHZRXOGVHHLQHYHU\
   VSHHGDQGHQGXUDQFHSHUVHDUHUHOHYDQWWRTXLWHD           VLPLODUFLUFXPVWDQFH
   QXPEHURIVSRUWV"                                              4$QGDUH\RXDZDUHWKDWRQHFRPPRQWUDFNHYHQWRU
   $5XQQLQJVSHHGDQGHQGXUDQFHDUHUHOHYDQWWRPDQ\      FURVVFRXQWU\HYHQW,FDQQHYHUNHHSWKHPVWUDLJKWLV


                                                 3DJH                                                         3DJH
    VSRUWV, PFHUWDLQWKDWLVWUXH, PQRW                 WKHPHWHUZKLFKLVDERXWDPLOH"
    4:HOO                                              $$FWXDOO\WKDWLVQRWP\H[SHUWLVH,EHOLHYH
    $DQH[SHUWDJDLQ                                   \RX
    4, PQRVSRUWVIDQEXWZH YHDOOVHHQHQRXJK           4$UH\RXDZDUHWKDWWKHPHWHUDPLOH
    VSRUWVWRNQRZWKHUH VDORWRIUXQQLQJLQYROYHGQRW            GLVWDQFHLVDVWDQGDUGHYHQW"
    MXVWLQWUDFNEXWLQEDVNHWEDOOVRFFHUODFURVVHDQG           $,I\RXDUHPHDQLQJWRTXL]PHRQWKHVWDQGDUG
    ILHOGKRFNH\                                                   OHQJWKVWKHVHGD\VDQGPHWHUVDQGDOORIWKDWQR
    &RUUHFW"                                               $77251(<%522.6:HOO,FDQ WFRPSOHWH
    $,KDYHREVHUYHGWKDW\HV%XWDJDLQ, PQRW         P\QH[WGRFXPHQWLQWZRPLQXWHVZHLIZHZDQWWREUHDN
   UHQGHULQJDQH[SHUWRSLQLRQWKHUHEXW\HV                    DWQRZRU,FDQGRRQHPRUHGRFXPHQW
   4$QGRQSDJHVL[RIWKLVSDSHU                    $77251(<%/2&., PILQHFRQWLQXLQJLI
   $7KLVLV5REHUWV                                      \RXDUH
   4<HV5REHUWVDQG([KLELW5REHUWVDQGKLV         7+(:,71(660\ELDVLVWRSXVK
   FRDXWKRUVVXPPDUL]HLQWKHLUFRQFOXVLRQE\VWDWLQJ           $77251(<%522.6)RONVRQOLQHZH UH
   TXRWHLQWKLVVWXG\ZHFRQILUPWKDWWKHXVHRIJHQGHU        JRLQJWRFRQWLQXHDOLWWOHELWIDUWKHU
   DIILUPLQJKRUPRQHVDUHDVVRFLDWHGZLWKFKDQJHVLQ              %<$77251(<%522.6
   DWKOHWLFSHUIRUPDQFHDQGGHPRQVWUDWHGWKDWWKH                 4<RXFLWHGDSDSHUE\+DUSHUIURP$QGWKDW
   SUHWUHDWPHQWGLIIHUHQFHVEHWZHHQDWUDQVJHQGHUDQGD           SDSHUDOVR,WDNHLW\RXVWXGLHGZLWKVRPHGHWDLO"
   FLVJHQGHUZRPDQSHUVLVWEH\RQGWKHPRQWKWLPH               $<HV
   FXUUHQWO\UHTXLUHPHQWFXUUHQWO\EHLQJSURSRVHGIRU         4$QGKRZPDQ\LQGLYLGXDOVGLG+DUSHUKDYHLQWKDW
   DWKOHWLFFRPSHWLWLRQE\WKH:RUOG$WKOHWLFVDQGWKH,2&       VWXG\"
   'R\RXVHHWKDW"                                               $,GRZHKDYHKHU"
   $7KLVLVWKHFRQFOXVLRQVHFWLRQ"                       4(YHU\WKLQJWKDW\RXPHQWLRQ,KDYH
   4,WLV                                                $77251(<%522.6/HWPHPDUNDV6DIHU


                                                                                       3DJHVWR
                                                                                                     Armistead App. 0650
                                                 3DJH                                                         3DJH
    ([KLELW                                                  ORQJWKDWWKH\KDGVXSSUHVVHGWHVWRVWHURQH
    $77251(<:,/.,1621<HV                        &RUUHFW"
    $77251(<%522.6+DUSHU V+DUSHU        $7KHUHZDVQRLQGHSHQGHQWFRQILUPDWLRQEH\RQG0V
    HWDORUMXVW+DUSHUDUWLFOH5DFH7LPHVIRU                   +DUSHUDQGKHUGHDOLQJZLWKRWKHUVXEMHFWVGLUHFWO\
    7UDQVJHQGHU$WKOHWHVIURP                                 4:HOOLQ\RXUYLHZDVDVFLHQWLVWWKDW VQRW
    $77251(<:,/.,16217DE                     LQGHSHQGHQWFRQILUPDWLRQLVLW"
                                      $77251(<%/2&.2EMHFWLRQWRIRUP
     :KHUHXSRQ([KLELW5DFH7LPHVIRU              7+(:,71(666R, PQRWH[SUHVVLQJDQ
    7UDQVJHQGHU$WKOHWHV$UWLFOHZDVPDUNHGIRU        RSLQLRQWKHUHEHFDXVHLQDVFLHQFH\RXNQRZLQD
   LGHQWLILFDWLRQ                                    VFLHQWLILFSDSHUZHZRXOGKDYHZHZRXOGKDYHSHHU
                                    UHYLHZEXWZHGRQ WWKDWMXVWHQGVXSEHLQJD
   7+(:,71(667KDQN\RX                        OLWWOHELWRIDIX]]\UHDOW\
   %<$77251(<%522.6                                            %<$77251(<%522.6
   4<RXVD\\RXKDYHZRUNHGZLWK-RDQQD+DUSHU\RX       47KHUHLVQRLQIRUPDWLRQLQWKLVSDSHUDERXWZKDW
   DUHDZDUHWKDW'U+DUSHULVERWKDQDWKOHWHDQG               WHVWRVWHURQHOHYHOVZHUHDFKLHYHGE\DQ\RIWKHVH
   WUDQVJHQGHU"                                                   LQGLYLGXDOVDVDUHVXOWRIVXSSUHVVLRQLVWKHUH"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $,GRQ WNQRZ/HW V,FDQORRNWKURXJKWKDW
   7+(:,71(66,DPDZDUH,DPDZDUH           DOLWWOHELWEHFDXVHGRHVVKHUHIHUHQFHKRZPDQ\RIWKHP
   WKDWVKHLVDQDWKOHWHDQG, PDZDUHWKDWVKHLV              KDYHKDGVXUJHU\DQGVXFK",WKDVEHHQTXLWHDZKLOH
   WUDQVJHQGHU                                                   \RXNQRZ6RQRWDEO\WKHUHLVVRPHLQGHSHQGHQW
   %<$77251(<%522.6                                            FRQILUPDWLRQRIVRPHRIWKHGDWDEHFDXVHVRPHRIWKLV
   4'LG\RXKDYHDIWHUVWXG\LQJWKHSDSHUHQGXS          ZDVSRVWHG
   ZLWKDQXQGHUVWDQGLQJRIKRZPDQ\SDUWLFLSDQWVWKHUH           4:DLW/HWPHMXVWEHFOHDU6RPHRIWKHWLPHV
   ZHUH"                                                          ZHUHYHULILHGLQGHSHQGHQWO\


                                                 3DJH                                                         3DJH
    $7KHUHZHUHHLJKWSDUWLFLSDQWV, PORRNLQJDW         &RUUHFW"
    7DEOH                                                        $7KDW VFRUUHFW
    4'LG\RXKDYHDQXQGHUVWDQGLQJRIKRZWKRVH             41RWKLQJDERXWWKHKRUPRQDOWUHDWPHQW"
    SDUWLFLSDQWVZHUHUHFUXLWHG"                                    $5LJKW
    $,GRKDYHVRPHXQGHUVWDQGLQJRIWKDW\HV             $77251(<%/2&.'R\RXZDQWWRJLYHKLP
    4+RZLVWKDW"                                           DFKDQFHWRUHYLHZLW"
    $7KHKRZZRXOG,FKDUDFWHUL]HWKLV",W V           %<$77251(<%522.6
    VRPHZKDWDGKRFLQWKHVHQVHWKDW0V+DUSHULVLQWKH          4'RFWRU6DIHUOHWPHMXVWZLWKGUDZWKDWTXHVWLRQ
    FDWHJRU\RIWKHVHRWKHUSDUWLFLSDQWVDQGVRVKHZDV            DQGDVN\RXDQRWKHUTXHVWLRQ
   DEOHWRLGHQWLI\RWKHUVWKDWPHWWKHFULWHULDRIEHLQJ         $<HDKJRDKHDG
   ERWKWUDQVJHQGHUDQGEHLQJVXIILFLHQWO\LQWHQVHLQWKHLU       4'R\RXNQRZZKHWKHU'RFWRU+DUSHUVWDQGVEHKLQG
   PLGGOHGLVWDQFHUXQQLQJWKDWWKH\KDGUDFHWLPHVWKDW          WKHFRQFOXVLRQVRIKHUSDSHUWRGD\"
   WKH\FRXOGLGHQWLI\WKDWZRXOGDOORZIRUWKHIRU           $,I\RXDVNPHGR,NQRZLWWKDW VWRRVWURQJD
   WKHVHGHWHUPLQDWLRQVRIDJHEDVHG,GRQ WNQRZDOO         VWDWHPHQW
   WKHWHUPLQRORJ\KHUHEXWWKHLUDJHEDVHGJUDGH                $77251(<%522.6/HWPHPDUNDV6DIHU
   SURSRUWLRQDOWRRWKHUVLQWKDWVDPHVH[FDWHJRU\              ([KLELWDQDUWLFOHE\-RDQQD+DUSHUDQGRWKHUVIURP
   4$QGLWLVFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJLV      HQWLWOHG+RZ'RHV+RUPRQH7UDQVLWLRQLQ7UDQVJHQGHU
   LWQRWWKDWDOORIWKHLQIRUPDWLRQLQWKLVVWXG\DERXW        :RPHQ&KDQJH%RG\&RPSRVLWLRQ0XVFOH6WUHQJWKDQG
   ZKDWKRUPRQDOWUHDWPHQWWKHVHLQGLYLGXDOVKDGXQGHUJRQH        +HPRJORELQ
   ZDVVHOIUHSRUWHG"                                             $77251(<:,/.,16217DE
   $7KLVLVWKHHQWLUHVWXG\LVVHOIUHSRUW          
   WKDWLVVKHGLGQ WKDYH0V+DUSHUGLGQRWKDYH             :KHUHXSRQ([KLELW-RDQQD+DUSHU
   DFFHVVWRSHRSOH VLQGLYLGXDOUHFRUGVLQGHSHQGHQWO\           $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
   46RWKHUHZDVQRLQGHSHQGHQWFRQILUPDWLRQRIKRZ       



                                                                                      3DJHVWR
                                                                                                     Armistead App. 0651
                                                 3DJH                                                         3DJH
    %<$77251(<%522.6                                             HQGXUDQFHDQGSHUIRUPDQFH"
    4'U6DIHUKDYHZHSXWWKDWLQIURQWRI\RX"           $7KHVWDWHPHQWKHUHLVWRREURDGVRLW VVLPSO\
    <HVZHKDYH$UH\RXIDPLOLDUZLWKWKLVDUWLFOH"              UDLVLQJTXHVWLRQV
    $,DP                                                  4:HOO-RDQQD+DUSHUVD\VKHUHWKDWWKHILQGLQJV
    4$QGKDYH\RXUHDGLWUHYLHZHGLWUHFHQWO\"            RIKHUFXUUHQWUHYLHZZHUHWKDWPRQWKVRIJHQGHU
    $,KDYHUHYLHZHGLWUHODWLYHO\UHFHQWO\                DIILUPLQJKRUPRQHWKHUDS\PD\EHVXIILFLHQWWRDWWHQXDWH
    4$QGGR\RXXQGHUVWDQGDQG,GLGQ WFRPSOHWHO\         VRPHEXWQRWDOOLQIOXHQFLQJIDFWRUVDVVRFLDWHGZLWK
    UHDGWKHWLWOH7KHVHFRQGVHQWHQFHRIWKHWLWOHVD\V          PXVFXODUHQGXUDQFHDQGSHUIRUPDQFH"
    6\VWHPDWLF5HYLHZZLWKWKH)RFXVRQ,PSOLFDWLRQVIRU            $77251(<%/2&.2EMHFWLRQWROHDYLQJRXW
   6SRUW3DUWLFLSDWLRQ                                           ZRUGVRIZKDW\RXTXRWHG
   'R\RXVHHWKDW"                                      %<$77251(<%522.6
   $,GR                                                 4$QGP\TXHVWLRQIRU\RXLVGR\RXLQWHQGWR
   4&DQ\RXWHOOPHZK\ZKHQ\RXFLWHG+DUSHU V      RIIHUDQH[SHUWRSLQLRQWKDW\RXEHOLHYHLVLQFRQVLVWHQW
   SDSHUWKDW\RXMXVWUHIHUUHGWRDVROGHUVFLHQFH\RX           ZLWKWKDWVWDWHPHQW"
   GLGQ WFLWH+DUSHU VSXEOLFDWLRQ"                         $77251(<%/2&.6DPHREMHFWLRQ,W V
   $6RWREHFOHDU,GLGQ WXVHWKHROGHUVFLHQFH       PLVTXRWLQJWKHGRFXPHQW
   ,VLPSO\UHIHUHQFHG+DUSHU VSDSHUDVRQHRIWKHRQO\          7+(:,71(666RWKHRSHUDWLYHRU
   WZRSDSHUVRQWKHVXEMHFW$QG\RXUTXHVWLRQ"                 LQRSHUDWLYHZRUGKHUHLVPD\EHVXIILFLHQWDQGVRZKHQ
   4:K\GLGQ W\RXFLWH+DUSHU VSDSHURQWKH        ZH UHWKHVHDUHUHVHDUFKTXHVWLRQVDVZHWU\WR
   WRSLF"                                                         XQGHUVWDQGSK\VLRORJ\DQGWKHUHOHYDQFHRIFHUWDLQ
   $6RWKLVSDSHULVPRUHLQWKHFDWHJRU\RIWKH          WHVWRVWHURQHOHYHOVDWFHUWDLQHQGSRLQWVDQGWKHQQRW
   SDSHUVORRNLQJDWLPSDFWRQWLVVXHVRIZKLFKWKHUHDUH         MXVWHQGSRLQWVDVVXUURJDWHVZKLFKLVZKDWPRVWRIWKH
   VHYHUDOSDSHUVDVRSSRVHGWRDFWXDOO\LQYHVWLJDWLQJD          SDSHUVWRGDWHVWLOODUHEXWHQGSRLQWVLQDFWXDO
   VSHFLILFDFWLYLW\DSHUVRQ VDFWLYLW\$QGGRHVWKLV         DWKOHWLFLVPDQGDWKOHWLFFRPSHWLWLRQ$QGVRWKDW VDOO


                                                 3DJH                                                         3DJH
    KDYHSULPDU\GDWDLQLW"                                        WKLVLVGRLQJLVSXWWLQJRXWVRPHTXHVWLRQVRUVRPH
    4:HOOOHWPHWDNH\RXWRSDJHHLJKW                   SRWHQWLDOWKRXJKWV
    $<HDK,GRQ WHYHQWKLQNWKLVKDVDILQDOGDWD         %<$77251(<%522.6
    LQLW                                                          4/HWPHDVN\RXWRWXUQWRSDJHRQHDQGFROXPQ
    4'HVFULELQJWKH5REHUWVVWXG\+DUSHUKHUHRQ           RQH
    SDJHHLJKWFROXPQRQHDERXWKDOIZD\GRZQVXPPDUL]HV          $2IWKLVVDPHSDSHU"
    DVIROORZV4XRWHWUDQVZRPHQUDQVLJQLILFDQWO\IDVWHU        42IWKHVDPHSDSHU,QWKHFRQFOXVLRQRIWKH
    GXULQJWKHPLOHILWQHVVWHVWWKDQFLVZRPHQ7KHVH          DEVWUDFWWKHODVWVHQWHQFHUHDGVTXRWHWKHVHILQGLQJV
    REVHUYDWLRQVLQWUDLQHGWUDQVJHQGHULQGLYLGXDOVDUH             VXJJHVWWKHVWUHQJWKPD\EHZHOOEHSUHVHUYHGLQWUDQV
   FRQVLVWHQWZLWKWKHILQGLQJRIWKHFXUUHQWUHYLHZLQ           ZRPHQGXULQJWKHILUVWWKUHH\HDUVRIKRUPRQHWKHUDS\
   XQWUDLQHGLQGLYLGXDOVZKHUHE\PRQWKVRIJHQGHU              FORVHGTXRWH
   DIILUPLQJKRUPRQHWKHUDS\PD\EHVXIILFLHQWWRDWWHQXDWH        'R\RXVHHWKDW"
   VRPHEXWDOOLQIOXHQFLQJIDFWRUVDVVRFLDWHGZLWK               $,GR
   PXVFXODUHQGXUDQFHDQGSHUIRUPDQFHFORVHGTXRWH              4$QGKDYLQJUHYLHZHGZKDWHYHUOLWHUDWXUH\RXKDYH
   'R\RXVHHWKDW"                                      UHYLHZHGWRGDWHGR\RXVKDUH'RFWRU+DUSHU V
   $<HV7KLVLVWKHHQGRIWKHSDUDJUDSKWKHUH"         XQGHUVWDQGLQJWKDWVWUHQJWKPD\ZHOOEHSUHVHUYHGLQ
   4<HV                                                  WUDQVZRPHQGXULQJWKHILUVWWKUHH\HDUVRIKRUPRQH
   $:H UHVWDUWLQJZLWKWKHVHREVHUYDWLRQV\HV,        WKHUDS\"
   VHHWKDW                                                      $77251(<%/2&.2EMHFWLRQWRPLVTXRWLQJ
   4$QGGR\RXSURSRVHWRRIIHUDQ\H[SHUWRSLQLRQ        WKHGRFXPHQW
   LQFRQVLVWHQWZLWK-RDQQD+DUSHU VVXPPDU\RIWKHGDWD          7+(:,71(666R,FDQ WFRPPHQWRQ0V
   KHUHVXJJHVWLQJWKDWPRQWKVRIJHQGHUDIILUPLQJ             +DUSHU VXQGHUVWDQGLQJEXWLI\RX UHDVNLQJLVWKDW
   KRUPRQHWKHUDS\PD\EHVXIILFLHQWWRDWWHQXDWHVRPHEXW        \RXNQRZLVWKHTXHVWLRQDTXHVWLRQVRWKHTXHVWLRQLV
   QRWDOOLQIOXHQFLQJIDFWRUVDVVRFLDWHGZLWKPXVFXODU           DTXHVWLRQ7KHVHILQGLQJVVXJJHVWWKDWVWUHQJWKPD\


                                                                                      3DJHVWR
                                                                                                             Armistead App. 0652
                                                              3DJH                                                    3DJH
    DQGDJDLQDQRSHUDWLYHZRUGLVPD\                                     ZRPHQFDQHQJDJHLQPHDQLQJIXOVSRUWHYHQDIWHUJHQGHU
    %<$77251(<%522.6                                                     DIILUPLQJKRUPRQHWKHUDS\LVRQHRQZKLFKUHDVRQDEOH
    4<HV                                                           VFLHQWLVWVFDQGLIIHUDQGDUHGLIIHULQJWRGD\JLYHQWKH
    $$QGWKHVHDUHDV,DVFLHQWLVWDQGVKHLVD                  SRVVLELOLW\RIGDWD"
    VFLHQWLVWWRRZHDUHWXUQLQJWKHHDUWKDVLWZHUHRI                 $77251(<%/2&.2EMHFWLRQWRIRUPIRU
    ZKDWZHNQRZORRNLQJIRUZKDWTXHVWLRQVZHPLJKWZDQWWR                WKHVDPHUHDVRQV
    VWXG\DQGKRZZHPLJKWZDQWWRIUDPHVWXGLHVJRLQJ                      7+(:,71(666R, PVLWWLQJKHUHDVD
    IRUZDUG                                                                VFLHQWLVWWDONLQJDERXWGLIIHUHQFHVLQDWKOHWLFLVPDQG
    4/HWPHWDNH\RXEDFNWRSDJHHLJKWLI,PD\                  VXFKDQGZKHWKHUDQGVRPRYLQJRQWRPHDQLQJIXOVSRUW
   $QGWKHSHQXOWLPDWHVHQWHQFHRIWKLVSDSHUDWWKHERWWRP               JRHVEH\RQGP\H[SHUWLVH, PRQO\SXWWLQJGDWD
   RIWKHILUVWFROXPQRISDUDJUDSKRISDJHHLJKWUHDGV                  WRJHWKHULQDWKDW VP\ODQHRQWKLVVXEMHFW
   TXRWHZHOOOHWPHUHDG\HDK,ZLOOMXVWUHDG                 $77251(<%522.62ND\
   WKDWTXRWHZKHWKHUWUDQVJHQGHUDQGFLVJHQGHUZRPHQFDQ               /HW VEUHDNIRUOXQFK
   HQJDJHLQPHDQLQJIXOVSRUWHYHQDIWHUJHQGHUDIILUPLQJ                 $77251(<%/2&./HW VJRRIIWKHUHFRUG
   KRUPRQHWKHUDS\LVDKLJKO\GHEDWHGTXHVWLRQFORVHG                   VR
   TXRWH                                                                 $77251(<%522.6"$Q\GLVVHQW"1R
   'R\RXVHHWKDWODQJXDJH"                                     GLVVHQW
   $,GR                                                         9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   4<RX OODJUHHWKDWXSWRWKHSUHVHQWWKDWLVD                 FXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH
   KLJKO\GHEDWHGTXHVWLRQ"                                               2))9,'(27$3(
   $77251(<%/2&.2EMHFWLRQWRIRUP                     
   7+(:,71(667KHUH VFRQWH[WWKHUHWRR                 :+(5(8321$6+257%5($.:$67$.(1
   6RWKLVLVUHIHUHQFLQJDOHDJXHVSRUWDQGLW VDV                  
   ZHOOWKHUHDUHDUDQJHRISRWHQWLDOVSRUWVDQGVRWKH                 219,'(27$3(


                                                              3DJH                                                    3DJH
    TXHVWLRQDQGWKHGHJUHHWRZKLFKLWLVKLJKO\GHEDWHG                   9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH
    HYHQ, PQRWJRLQJWRUHQGHUDQRIILFLDORSLQLRQWKHUH                 FXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH
    6RWKHZKHWKHUWUDQVJHQGHUDQGFLVJHQGHUZRPHQFDQ                  %<$77251(<%522.6
    HQJDJHLQPHDQLQJIXOVSRUWGHSHQGVRQZKDWVSRUWZH UH                  4*RRGDIWHUQRRQ'U6DIHU7DNH\RXEDFNLQWR
    WDONLQJDERXWZKDWWUHDWPHQWZH UHWDONLQJDERXWDJH                  FRQWH[W, PJRLQJWRDVN\RXWRILQG\RXUH[SHUW
    JURXSZKHWKHUHOLWHYHUVXVPRUHRIDQLQWHUPXUDO                       UHSRUW([KLELWDQGILQGSDUDJUDSKZKLFKZHKDYH
    VHWWLQJ$QGVRLW VMXVWDUHODWLYHO\VLPSOHVWDWHPHQW                ORRNHGDWEHIRUH$QGWKHUHLQWKHWKLUGVHQWHQFHLW
    DQGWRVXPPDUL]HDSDSHU,JXHVV                                       UHDGVEDVHGRQFXUUHQWUHVHDUFKFRPSDULQJ
    %<$77251(<%522.6                                                     QRQWUDQVJHQGHUER\VDQGPHQZLWKQRQWUDQVJHQGHUJLUOV
   4<RXDJUHHWKDWWKLVWKDWLVWKHTXHVWLRQRI               DQGZRPHQEHIRUHGXULQJDQGDIWHUSXEHUW\WKHSULPDU\
   ZKHWKHUWUDQVJHQGHUDQGFLVJHQGHUZRPHQFDQHQJDJHLQ                  NQRZQELRORJLFDOGULYHURIWKHVHDYHUDJHJURXS
   PHDQLQJIXOVSRUWHYHQDIWHUJHQGHUDIILUPLQJKRUPRQH                   GLIIHUHQFHVLVWHVWRVWHURQHVWDUWLQJDWSXEHUW\DQGQRW
   WKHUDS\LVRQHRQZKLFKUHDVRQDEOHVFLHQWLVWVFDQ                      UHSURGXFWLYHELRORJ\RUJHQHWLFVSHULRGFORVHGTXRWH
   GLVDJUHHDQGWRGD\DUHGLVDJUHHLQJ"                                    'R\RXVHHWKDWODQJXDJH"
   $77251(<%/2&.2EMHFWLRQWRIRUP                     $<HV
   7+(:,71(666RJRLQJEDFNVRLV                   4$QG\RXURQHFLWHIRUWKDWLVWKHHQGRFULQHWKDW
   \RXUVRDUH\RXDVNLQJPH,JXHVVKHOSPH                      ZH YHDOUHDG\ORRNHGDWDOUHDG\
   UHIUDPHZKDWWKHTXHVWLRQLVWKHUHEHFDXVHWKHUHDUHD                 5LJKW"
   EXQFKRIWKLQJVSDFNHGLQWRWKDWVHQWHQFHDFWXDOO\$QG               $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   \RXKHDUGPHWU\WRXQSDFNWKHPERWK                                  7+(:,71(666RWKHFLWDWLRQLQWKDW
   %<$77251(<%522.6                                                    SDUDJUDSKLVWKH+DQGHOVPDQ\HV
   47KDWPD\EHDFRPSOH[TXHVWLRQDVGHEDWHG                    %<$77251(<%522.6
   TXHVWLRQVRIWHQDUHEXWP\TXHVWLRQLVGR\RXDJUHH                   4$QGGR\RXUHFDOORXUHDUOLHUGLVFXVVLRQDERXW
   WKDWWKHTXHVWLRQRIZKHWKHUWUDQVJHQGHUDQGFLVJHQGHU                 KRZWKHHIIHFWVRIWHVWRVWHURQHDUHFXPXODWLYHRYHUWLPH



                                                                                              3DJHVWR
                                                                                                     Armistead App. 0653
                                                 3DJH                                                         3DJH
    UDWKHUWKDQGHSHQGLQJVROHO\RQWKHWHVWRVWHURQHOHYHO          KLPVHOILQKLVSXEOLFDWLRQH[SUHVVHGDQ\YLHZZKHWKHU
    RIDQLQGLYLGXDODWDSDUWLFXODUWLPHULJKW"'R\RX           WHVWRVWHURQHVXSSUHVVLRQDIWHUPDOHSXEHUW\HOLPLQDWHV
    UHFDOOWKDWGLVFXVVLRQ"                                         VH[EDVHGSK\VLFDODGYDQWDJHVVXIILFLHQWO\WRPDLQWDLQ
    $6RWKHLPSDFWH[FXVHPHWKHLPSDFWRI             IDLUQHVVLQVSRUWVIRUZRPHQ"
    WHVWRVWHURQHLVFXPXODWLYH,WGHSHQGVZKDWLPSDFWV            $77251(<%/2&.2EMHFWLRQWRIRUP
    ZH UHWDONLQJDERXW6RWKHUHDUHLPSDFWVWKDWDUH             7+(:,71(666R,GRQ WNQRZLIKHKDV
    FXPXODWLYHOLNHKHLJKWDQGWKHUHDUHLPSDFWVWKDW             ZULWWHQVRPHWKLQJFRYHULQJDOOWKRVHEDVHVWKDW\RXMXVW
    UHDOO\GRUHIOHFWWKDWSRLQWLQWLPH                           GHVFULEHGKRZ\RXGHVFULEHGLW
    41RZDWWKHPRPHQWOHWPHDVNMXVWEDVHGRQ\RXU       $77251(<%522.6$OOULJKW/HW VORRN
   UHFROOHFWLRQ7KH+DQGHOVPDQDUWLFOHLV([KLELW'R        DWWUHDWPHQWYDULDEOH/HWPHPDUNDV([KLELWD
   \RXKDYHWKDW"$QG,ZLOODVN\RXWRILQGLWLQ\RXU          VKRUWDUWLFOHE\'U5REHUWVZLWKDVXEVHTXHQWFRPPHQW
   SLOH,VKRXOGKDYHQHDWHGXS\RXUSLOHRIH[KLELWV           E\'DYLG+DQGHOVPDQ
   ZKLOH\RXZHUHRXW7KDWORRNVOLNHLW                       $77251(<:,/.,16217DE
   $*RWLW\HV                                          $77251(<%522.6$QGXQIRUWXQDWHO\WKH
   47KH+DQGHOVPDQDUWLFOHDVIDUDV\RXUHFDOO         ZRUGVZHUHDOLWWOHFOLSSHGRQWKLV:HZLOOVHHKRZZH
   GRHVQRWFRQWDLQDQ\GDWDRUFRQFOXVLRQVFRQFHUQLQJWKH        GR
   HIIHFWVRIWHVWRVWHURQHDIWHUWKHEHJLQQLQJRIPDOH            
   SXEHUW\GRHVLW"                                               :KHUHXSRQ([KLELW'U5REHUWV$UWLFOHZDV
   $77251(<%/2&.2EMHFWLRQWRIRUP             PDUNHGIRULGHQWLILFDWLRQ
   7+(:,71(66+RQHVWO\,ZRXOGKDYHWR         
   JRORRNFDUHIXOO\                                             $77251(<%/2&.7KDQNV
   %<$77251(<%522.6                                            %<$77251(<%522.6
   47KHQ,ZRQ WWDNHWLPHWRGRWKDW                    4$QG,WKLQNDIDLUGHVFULSWLRQRIZKDWZHKDYH
   $2ND\                                                 KHUHLVDUHODWLYHO\SRSXODUSUHVVW\SHSLHFHE\'U


                                                 3DJH                                                         3DJH
    4,WGRHVRULWGRHVQ W:HZLOOGHDOZLWKWKDW        5REHUWVILUVW$QGWKLVGRFXPHQWLVGDWHG'HFHPEHU
    $<HV                                                   
    4'R\RXNQRZZKHWKHUDQ\RWKHUZULWLQJ3URIHVVRU        $77251(<%/2&.2EMHFWLRQ'RHVLWVD\
    +DQGHOVPDQKDVH[SUHVVHGDQ\YLHZDVWRZKHWKHU                 ZKHUHLWZDVSXEOLVKHG"
    WHVWRVWHURQHVXSSUHVVLRQDIWHUPDOHSXEHUW\HOLPLQDWHV          $77251(<%522.61RLWGRHVQ WVD\RQ
    VH[EDVHGSK\VLFDODGYDQWDJHVVXIILFLHQWO\WRPDLQWDLQ          LWVIDFHZKHUHLWZDVSXEOLVKHG$QGDVZHVLWKHUH
    IDLUQHVVLQVSRUWVIRUZRPHQ"                                   ULJKWQRZ,GRQ WUHFDOOWKRXJKDFWXDOO\ORRNLQJDWLW
    $77251(<%/2&.2EMHFWLRQWRWKHIRUP          ,GRUHFDOOWKDW.LOLRLVDQRQOLQHSXEOLFDWLRQRIVRPH
    7+(:,71(666RILUVWRIDOOSXWWLQJLW        VRUWDQG, YHVHHQWKHEUDQGFDPHIURPWKH.LOLR
   DOWRJHWKHUWKDWZD\LVQ WQHFHVVDULO\KRZ,ZRXOGVD\LW       ZHEVLWH
   RUKRZ,ZRXOGH[SHFWLWWREHVDLG,WZRXOGEH              %<$77251(<%522.6
   WHVWRVWHURQHVXSSUHVVLRQDQGZKDWHYHUWKHVFLHQWLILF           4$WDQ\UDWH,VHHWKHGDWH,VHHWKHWLWOH
   ILQGLQJDWWKHPRPHQWZRXOGEH6RZHDOUHDG\NQRZWKDW       ,WSXUSRUWVWREHDQDUWLFOHE\3URIHVVRU5REHUWV,
   WKHGDWDWKDWUHODWHWRDWKOHWLFLVPDUHMXVWWKH5REHUWV       MXVWZDQWWREHFOHDULQP\GHVFULSWLRQLWGRHVQRW
   SDSHUDQGWKH+DUSHUSDSHUVR,JXHVVWKDWLVDVPXFK         LWGRHVQRWKDYHWKHDSSHDUDQFHRIDVHSDUDWHSHHU
   DV,FDQVD\LQWKDWSDUWLFXODUFRQWH[W$QGLQWHUPV         UHYLHZDUWLFOHVLQFHWKHVXPPDU\WDNHQRIIRIWKH
   RIVR\HV,WKLQNWKDWLWZRXOGQ WEH,IRUJRW        DUWLFOHWKDWZH YHDOUHDG\ORRNHGDW$QGWKHQDWWKH
   DOUHDG\KRZ\RXSKUDVHGWKDW                                  HQGRILWLVDWZRSDUDJUDSKSURVSHFWLYHRQWKLVRIIHUHG
   %<$77251(<%522.6                                            E\'U+DQGHOVPDQ
   4/HWPHMXVWDVNDJDLQ                                'R\RXVHHWKDW"
   $<HV                                                  $,GR
   46RWKHILUVWTXHVWLRQLVQRWDKDUGRQH              4$QGKHEHJLQVE\PDNLQJFOHDUWKDWKHLV
   $2ND\                                                 FRPPHQWLQJRQWKLVVWXG\WKDWLV5REHUWVVWXG\WKDWLV
   4'R\RXNQRZZKHWKHU3URIHVVRU+DQGHOVPDQKDV          GLVFXVVHGDERYH+HLVQRWLQWURGXFLQJQHZVFLHQFH


                                                                                      3DJHVWR
                                                                                                   Armistead App. 0654
                                                3DJH                                                        3DJH
    FRUUHFWLVWKDWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJ"           GLVDJUHHZLWK3URIHVVRU+DQGHOVPDQVXPPDU\RIWKH
    $77251(<%/2&.2EMHFWLRQ*LYHKLPD         ILQGLQJVRI5REHUWV"
    FKDQFHWRUHDGLW                                             $77251(<%/2&.2EMHFWLRQWRIRUP, P
    7+(:,71(666RWKDW\HVP\                  MXVWQRWVXUHLW VDOOEDVHGRQ5REHUWV"
    XQGHUVWDQGLQJWRRLVWKDWWKHUHLVQRWQHZGDWDKHUH        7+(:,71(66,WLVQRWFOHDUWRPHWKDW
    PRVWO\DFRPPHQWDU\ZLWKLQWKHFRQWH[WVRPHRIRXU             LW VWKDWLWLVEDVHGRQ5REHUWVIRUZKDWLW V
    H[LVWLQJNQRZOHGJHRQWKH5REHUWVVWXG\                       ZRUWK,W VDOVRVRPHZKDWVLPSOLVWLFDOO\ZULWWHQ$QG
    %<$77251(<%522.6                                            DQH[DPSOHLVZHGRQ WWKHFRQWHQWLRQZLWKUHJDUGWR
    4$QGLQKLVFRPPHQWWR'U+DQGHOVPDQVWDWHVLQ        DWKOHWLFRXWFRPHVUHODWHVPRUHWRWHVWRVWHURQHDQGVR
   WKHVHFRQGSDUDJUDSKDVRITXRWHDPDMRU              VD\LQJWUDQVJHQGHUZRPHQWUHDWHGZLWKHVWURJHQVZRXOGQ W
   TXHVWLRQUHPDLQVZKHWKHUJHQGHUDIILUPLQJKRUPRQH             EHSUHFLVHO\KRZ,ZRXOGIUDPHWKDWHLWKHU
   WUHDWPHQWRYHUFRPHVVH[EDVHGSK\VLFDODGYDQWDJHV             %<$77251(<%522.6
   VXIILFLHQWO\WRPDLQWDLQIDLUQHVVVRWKDWDQH[FHSWLRQ        4+HFRQFOXGHV3URIHVVRU+DQGHOVPDQFRQFOXGHV
   FDQEHPDGHIRUWUDQVZRPHQSDUHQQDWDOPDOHVFORVHG       E\VWDWLQJVXSSRUWLQJIHGHUDWLRQVVKRXOGLQFRUSRUDWH
   SDUHQWUHDWHGZLWKHVWURJHQ                                 WKHVHILQGLQJVLQWKHVWUDWHJLHVIRULQFOXGLQJWUDQV
   'R\RXVHHWKDWODQJXDJH"                            ZRPHQLQHOLWHIHPDOHFRPSHWLWLRQVZKLOHPDLQWDLQLQJ
   $,GR                                                IDLUQHVVDQGVDIHW\IRURWKHUZRPHQ'U6DIHUGR\RX
   $77251(<%/2&.2EMHFWLRQ,EHOLHYH         DJUHHWKDWPDLQWDLQLQJVDIHW\IRUFLVJHQGHUZRPHQLVD
   WKDWLVZKDWLWVD\VEXW,MXVWZDQWWRQRWHIRUWKH         OHJLWLPDWHDQGLQGHHGLPSRUWDQWFRQFHUQ"
   UHFRUGWKDWWKHUHLVWH[WFXWRIIRQWKHOHIW                $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%522.67KHUHLV$QG, OOJHW      7+(:,71(66$VDQH[SHUW, PQRWJRLQJ
   EHWWHUFRSLHV, PORRNLQJDWDFRS\WKDW VQRWFXWRII      WRJLYHDQRSLQLRQ
   ,ZLOOUHSUHVHQW                                             %<$77251(<%522.6
   %<$77251(<%522.6                                           4$V'RFWRU6DIHUGR\RXDJUHHWKDWHQVXULQJ


                                                3DJH                                                        3DJH
    4$QGGR\RXKDYHDQH[SHUWRSLQLRQDVWR           VDIHW\IRUFLVJHQGHUZRPHQDQGJLUOVLVDOHJLWLPDWH
    ZHOOGR\RXSURSRVHWRRIIHUDQ\RSLQLRQGLVDJUHHLQJ          FRQFHUQ"
    ZLWK3URIHVVRU+DQGHOVPDQWKDWDVRILWUHPDLQHGD        $77251(<%/2&.2EMHFWLRQWRIRUP
    PDMRUTXHVWLRQZKHWKHUJHQGHUDIILUPLQJKRUPRQH                7+(:,71(666RLI, PVLPSO\VSHDNLQJ
    WUHDWPHQWWRRYHUFRPHVH[EDVHGSK\VLFDODGYDQWDJHV            QRWDVDQH[SHUWMXVWDVDQHGXFDWHGSHUVRQLQWKH
    VXIILFLHQWO\WRPDLQWDLQIDLUQHVVVRWKDWDQH[FHSWLRQ         ILHOGWKHQLWLVWUXHWKDWVDIHW\LVLPSRUWDQWEXW, P
    FRXOGEHPDGHIRUWUDQVZRPHQWUHDWHGZLWKHVWURJHQ"           QRWFOHDUWKDW,GRQ WNQRZWKDWLQPRVWRIWKHVH
    $6RWRPHWKDW VWRREURDGDTXHVWLRQLI\RX UH        DWKOHWLFDFWLYLWLHVLW VDFWXDOO\DFRQFHUQ
    DVNLQJPHWRUHQGHUDQH[SHUWRSLQLRQDERXWKLVRSLQLRQ       $77251(<%522.6/HWPHPDUNDV6DIHU
   4, PDVNLQJZKHWKHU\RXSURSRVHWRRIIHUDQ           ([KLELWDGRFXPHQWHQWLWOHG*XLGDQFHZLWK7UDQVJHQGHU
   H[SHUWRSLQLRQLQFRQVLVWHQWZLWKKLVYLHZWKDWUHPDLQVD      ,QFOXVLRQLQ'RPHVWLF6SRUWZLWKV\PEROVRIDQXPEHURI
   PDMRUTXHVWLRQDVRI                                    8.VSRUWJRYHUQLQJERGLHVDFURVVWKHIURQWDQGD
   $,W V,PLJKWZHOO,ZRXOGDWOHDVW          VWDWHPHQWSXEOLVKHG6HSWHPEHU
   SKUDVHWKLQJVGLIIHUHQWO\LQWKHUHZHPLJKWKDYHWR       $77251(<:,/.,16217DE
   JRWKURXJKSLHFHVRILWEHFDXVHFHUWDLQO\ZKHUHZHODFN       
   GDWD,WKLQNZHZRXOGDJUHHEXWLQWHUPVRIWKRVH             :KHUHXSRQ([KLELW*XLGDQFHZLWK
   VWDWHPHQWVWKDWWKHQJRRQWRHGLWRULDOL]H,GRQ WNQRZ      7UDQVJHQGHU,QFOXVLRQLQ'RPHVWLF6SRUW
   WKDWZHQHFHVVDULO\DJUHHLQKRZZHZRXOGIUDPHWKDW         PDUNHGIRULGHQWLILFDWLRQ
   4$OLWWOHIDUWKHUGRZQPD\EHWZRVHQWHQFHVGRZQ      
   LWUHDGVTXRWHE\FRQWUDVWWUDQVZRPHQWUHDWHGZLWK        7+(:,71(667KDQN\RX
   HVWURJHQVDIWHUFRPSOHWLQJPDOHSXEHUW\H[SHULHQFHGRQO\      %<$77251(<%522.6
   PLQLPDOGHFOLQHVLQSK\VLFDOSHUIRUPDQFHRYHUPRQWKV      4$QGP\ILUVWTXHVWLRQIRU\RX'U6DIHULV
   VXEVWDQWLDOO\VXUSDVVLQJDYHUDJHIHPDOHSHUIRUPDQFHIRU       ZKHWKHU\RXKDYHVHHQWKLVGRFXPHQWEHIRUH"
   XSWRHLJKW\HDUVFORVHGTXRWH'R\RXDJUHHRU             $,KDYHVHHQWKLVGRFXPHQWEHIRUH


                                                                                     3DJHVWR
                                                                                                           Armistead App. 0655
                                                            3DJH                                                    3DJH
    4$QGZHUH\RXDZDUHRILWSULRUWRLWVUHIHUHQFH              IHPDOHVSRUWFDQQRWEHEDODQFHGUHJDUGLQJWUDQVJHQGHU
    LQWKLVOLWLJDWLRQ"                                                   LQFOXVLRQIDLUQHVVDQGVDIHW\LQJHQGHUDIIHFWHGVSRUW
    $,GRQ WNQRZWKDW,ZDV                                     ZKHUHWKHUHLVPHDQLQJIXOFRPSHWLWLRQSHULRGFORVHG
    4$QGDUH\RXIDPLOLDUZLWKWKHUROHRIWKH                    TXRWH
    VXSSRUWLQJERG\PHQWLRQHGRQWKHIURQWSDJHLQ                        'R\RXVHHWKDW"
    JRYHUQDQFHRIVSRUWZLWKLQWKH8QLWHG.LQJGRP"                        $,GR
    $%\ORRNLQJDWDOOWKHLUORJRV,FDQQRWVD\WKDW             4$QGGR\RXGLVDJUHHZLWKWKDWFRQFOXVLRQRIWKLV
    ,NQRZWKHPDOOQR                                                  RUJDQL]DWLRQRUWKHVHRUJDQL]DWLRQV"
    4$QGGR\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHU                  $6R,UHDOO\DVZHGLVFXVVHGHDUOLHU, PQRW
   WKHVHDUHRIILFLDOJRYHUQPHQWFKDUWHGFKDUWHUHG                  JRLQJWRH[SUHVVDVDQH[SHUW,GRQ WWKLQN, GEH
   VSRUWLQJJRYHUQLQJERGLHV"                                           DEOHWRH[SUHVVDVDQH[SHUWIDLUQHVVDQGVR,FDQ W
   $,GRQRWKDYHWKDWNQRZOHGJH                               FRPPHQWDQ\IXUWKHU
   4+DYH\RXQRZVWXGLHGWKLVGRFXPHQWZLWKVRPH                4/HWPHDVN\RXWRWXUQWRSDJHQLQHLQ\RXU
   FDUH"                                                                H[SHUWUHSRUWSDUDJUDSK
   $,ZRXOGVD\WKDW,KDYHRQO\ORRNHGDWWKLV                 $2ND\3DUDJUDSK
   GRFXPHQWVXSHUILFLDOO\, PFHUWDLQO\KDSS\WRORRN                 4$WWKHHQGRISDUDJUDSK\RXVWDWHTXRWHD
   WKURXJKLW                                                          SHUVRQ VJHQHWLFPDNHXSDQGLQWHUQDODQGH[WHUQDO
   4,ZLOODVN\RXMXVWDERXWDFRXSOHRISDVVDJHV             UHSURGXFWLYHDQDWRP\DUHQRWXVHIXOLQGLFDWRUVRI
   /HWPHDVN\RXWRWXUQWRSDJHWKUHHRIWKHGRFXPHQW                DWKOHWLFSHUIRUPDQFHDQGKDYHQRWEHHQXVHGLQHOLWH
   $QGWRZDUGVWKHYHU\ERWWRPDQGWKHQH[WWRWKHODVW                 FRPSHWLWLRQIRUGHFDGHV,QPDNLQJWKDWVWDWHPHQWZKHQ
   SDUDJUDSKWKLVILYHRUJDQL]DWLRQVVWDWHVTXRWHRXU             \RXUHIHUWRDSHUVRQ VJHQHWLFPDNHXSZHUH\RX
   ZRUNH[SORULQJWKHODWHVWUHVHDUFKHYLGHQFHDQGVWXGLHV             UHIHUULQJWRWKHTXHVWLRQRIZKHWKHUWKH\KDG;;RU;<
   PDGHFOHDUWKDWWKHUHDUHUHWDLQHGGLIIHUHQFHVLQ                    FKURPRVRPHV"
   VWUHQJWKVWDPLQDDQGSK\VLTXHEHWZHHQWKHDYHUDJHZRPHQ             $6RZKHQ, PPDNLQJWKHVWDWHPHQWJHQHWLFPDNHXS


                                                            3DJH                                                    3DJH
    FRPSDUHGZLWKWKHDYHUDJHWUDQVJHQGHUZRPHQIRU                       , PKHDYLO\UHIHUHQFLQJFKURPRVRPHV6R,JXHVV,ZRXOG
    QRQELQDU\SHUVRQUHJLVWHUHGPDOHDWELUWKZLWKRU                     VD\WKDWLVPRVWO\FRUUHFWZLWKVRPHZLWKSHUKDSV
    ZLWKRXWWHVWRVWHURQHVXSSUHVVLRQ                                     VRPHNQRZQJHQHVEXWPRVWO\FKURPRVRPHV
    'R\RXVHHWKDWODQJXDJH"                                    4<RXZRXOGDJUHHZRXOG\RXQRWWKDWUHVSHFWHG
    $,GR                                                        YRLFHVLQWKHILHOGWDNHWKHYLHZWKDWJHQHWLFVH[LWLV
    4$QGGR\RXGLVDJUHHZLWKWKHFRQFOXVLRQRIWKHVH             DWOHDVWDQLPSRUWDQWGHWHUPLQDQWRIDWKOHWLF
    8.VSRUWLQJERGLHVWKDWWKHODWHVWUHVHDUFKHYLGHQFH                 SHUIRUPDQFHGR\RXQRW"
    DQGVWXGLHVQRZPDNHFOHDUWKDWWKHUHDUHUHWDLQHG                    $77251(<%/2&.2EMHFWLRQWRIRUP
    GLIIHUHQFHVLQVWUHQJWKVWDPLQDDQGSK\VLTXHLQ                      7+(:,71(666RWKDW, PVXSSRVHGWR
   QRQELQDU\LQWUDQVJHQGHUZRPHQRUQRQELQDU\SHUVRQV              FRPPHQWWKDWWKHUHDUHSHRSOHLQWKHILHOGZKRVD\WKDW"
   UHJLVWHUHGPDOHDWELUWKZLWKRUZLWKRXWWHVWRVWHURQH"               ,JXHVVZKDW,ZRXOGVD\LVWKHFRQVHQVXVULJKWQRZ
   $77251(<%/2&.2EMHFWLRQWRUHIHUULQJ               DPRQJPHGLFDOSHRSOHDGYLVLQJHOLWHDWKOHWLF
   WRWKLVDVVRPHWKLQJZULWWHQE\WKHJRYHUQLQJERGLHVDV              RUJDQL]DWLRQVZRXOGEHWRPRYHDZD\IURPXVLQJWKDWDVD
   RSSRVHGWRWKHTXDOLW\FRXQFLOWKDWPDNHV                            VXUURJDWH,QWKHSDVWLWZDV7KHUHZHUHFKURPRVRPH
   UHFRPPHQGDWLRQVWRWKHJRYHUQLQJERGLHV                             WHVWVDQGWKHSUREOHPLVWKDWSHRSOHKDYHWKHUHLV
   7+(:,71(667RWKHVWDWHPHQWZULWWHQE\             TXLWHDELWRIYDULHW\LQELRORJ\DQGRIFRXUVHWKH
   ZKRHYHUDFWXDOO\ZURWHLWWKDWHYLGHQFHDQGVWXGLHVRQ               PRPHQW\RXPDNHDUXOH\RXVHHWKHH[FHSWLRQV
   WKHVXEMHFWRIWUDQVJHQGHUSHRSOHPDNHFOHDUDQ\WKLQJ,             %<$77251(<%522.6
   GLVDJUHH                                                            47KHH[FHSWLRQV
   %<$77251(<%522.6                                                  $$QGVR,ZRXOGVD\WKDWDVDQH[SHUW,FDQ W
   4/HWPHDVN\RXWRWXUQWRSDJHVL[XQGHUWKH               FRPPHQWLQWHUPVRI\RXNQRZVRPHVWXG\RIHYHU\ERG\ V
   KHDGLQJTXHVWLRQUHYLHZLVUHFRPPHQGLQJLWVWDWHV                   RSLQLRQRUVRPHVXUYH\%XWDVVRPHERG\ZKRKDVEHHQRQ
   TXRWHDVDUHVXOWRIZKDWWKHUHYLHZIRXQGWKHJXLGDQFH             WKHVHFRPPLWWHHV, YHREVHUYHGWKDWWKDWZDVGLVFDUGHG
   FRQFOXGHVWKDWWKHLQFOXVLRQRIWUDQVJHQGHUSHRSOHLQWR              46RLI\RXSXWDORQJVLGHLQGLYLGXDOVZKRVXIIHU


                                                                                            3DJHVWR
                                                                                                    Armistead App. 0656
                                                 3DJH                                                        3DJH
    IURPDQ\FRQGLWLRQWKDWKDVEHHQLGHQWLILHGDVD                QRWDXVHIXOLQGLFDWRURIDWKOHWLFSHUIRUPDQFH
    GLVRUGHURIVH[XDOGHYHORSPHQWDP,FRUUHFWWKDW\RX           4<RXVD\DWSDUDJUDSKRI\RXUUHSRUW,
    FRQVLGHU\RXUVHOIWRKDYHH[SHUWLVHLQZKDWFRQVWLWXWHV         ZLOOVDYHWKDW,WKLQNWKDWLVDQHZ'HFODUDWLRQDQG
    DGLVRUGHURIVH[XDOGHYHORSPHQW"                               ZHZLOOQRWWDNHWLPHWRGRWKDW
    $,KDYHVRPHH[SHUWLVH$QGWKHWHUPLQRORJ\LV         /HWPHDVN\RXWRORRNDWSDUDJUDSKRI\RXU
    DFWXDOO\GLIIHUHQFHVRIVH[XDOGHYHORSPHQWRUVH[XDO            UHEXWWDOUHSRUW<RXVD\LQSDUDJUDSKWKDWQRQHRI
    GLIIHUHQWLDWLRQRULQWHUVH[DUHWKHWHUPVWKDWDUHPRUH         'RFWRU&DUOVRQ VDUJXPHQWVVXSSRUW+%FDWHJRULFDO
    SRSXODUO\XVHG                                                 EDQRIDOOJLUOVZKRDUHWUDQVJHQGHUIURPDOOJLUOV
    4<RXZRXOGDJUHHZLWKPHZRXOG\RXQRWWKDW           VSRUWVWHDPV
   PDQ\UHVSHFWLYHVRXUFHVXSWRWKHSUHVHQWZRXOGFRQWLQXH       'R\RXVHHWKDW"
   WRUHIHUWRGLVRUGHUVRIVH[XDOGHYHORSPHQW"                   $,GR
   $77251(<%/2&.2EMHFWLRQWRIRUP             4$QG,VKRXOGFRQWLQXH, PVRUU\'RFWRU
   7+(:,71(666RWKHUHZKDW,ZRXOG         &DUOVRQ VVDIHW\DUJXPHQWUHODWHVVROHO\WRFRQWDFWDQG
   VD\WKHUHLVWKDWWKHQHZHUWHUPLQRORJ\KDVQRW        FROOLVLRQVSRUWVDQGWKHSK\VLFDOFKDUDFWHULVWLFV
   KDVQRW\HWSHUPHDWHGEHFDXVHWKHUHKDYHQRWEHHQ              GHYHORSHGGXULQJSXEHUW\SHULRG%\UHIHUULQJWRD
   UHYLVLRQVWRDOOWKHGRFXPHQWVWKDWKDYHEHHQFUHDWHG         FDWHJRULFDOEDQOHWPHDVNWKLV'R\RXDJUHHWKDW
   %<$77251(<%522.6                                            VDIHW\FRQVLGHUDWLRQVFRXOGMXVWLI\RUPD\MXVWLI\
   4+RZDERXWLIZHVD\'6'"                              H[FOXGLQJQDWDOPDOHVZKRH[SHULHQFHGDOORUVLJQLILFDQW
   $'6'LVDUHDVRQDEO\VDIHRU'6'LQWHUVH[LVZKDW      SDUWRIPDOHW\SLFDOSXEHUWDOGHYHORSPHQWIURP
   VRPHSHRSOHGR\HV                                           SDUWLFLSDWLQJLQIHPDOHGLYLVLRQRIFRQWDFWRUFROOLVLRQ
   4:HOOQRWDOO'6'VZRXOGEHFRQVLGHUHGLQWHUVH[       VSRUWVVXFKDVEDVNHWEDOODQGVRFFHU"
   FRQGLWLRQV                                                    $77251(<%/2&.2EMHFWLRQWRIRUP
   &RUUHFW"                                              7+(:,71(666RLIWKHTXHVWLRQLVZRXOG
   $<RXDUHULJKWWKDWVRPHSHRSOHWU\WRSDUVH           ,DQWLFLSDWHDVDQH[SHUWWKDWWKHUHZRXOGEHDVDIHW\


                                                 3DJH                                                        3DJH
    WKRVHWZRWHUPVHYHQ$QGWKHUHLVEXW,WKLQN             H[SODQDWLRQIRUEDQQLQJWUDQVJHQGHUZRPHQIURPWKH
    WKRVHNLQGVRIGLVWLQFWLRQVPLJKWEHRQWKHVFRSHRI            IHPDOHFDWHJRU\WKHQ,ZRXOG,ZRXOGQ W,
    ZKDWZHDUHGLVFXVVLQJ                                         FHUWDLQO\OHWPHWKLQNDERXWZKLFKZD\WRSKUDVHLW
    43UREDEO\VR,IZHSXWRQVLGHLQGLYLGXDOVZKR        ,ZRXOGKDYHDKDUGWLPHFRPLQJXSZLWKDQH[DPSOHZKHUH
    VXIIHUIURPDQ\WKLQJWKDWLVFKDUDFWHUL]HGLQWKHILHOG         ,ZRXOGXVHEHLQJWUDQVJHQGHUDVDVDIHW\FULWHULRQDV
    DVD'6'\RXZRXOGDJUHHZRXOG\RXQRWWKDWJHQHWLF           RSSRVHGWRERG\KDELWXVVL]HRUVRPHRWKHUPRUH
    PDNHXSDQGVSHFLILFDOO\ZKHWKHUWKHLQGLYLGXDOSRVVHVVHV        REMHFWLYHFULWHULRQ
    ;;RU;<FKURPRVRPHVLVDVWDWLVWLFDOO\PHDQLQJIXO              %<$77251(<%522.6
    LQGLFDWRURIDWKOHWLFSHUIRUPDQFH"                              4:HOODQG,GLGQ WVD\DQ\WKLQJDERXWJHQGHU
   $77251(<%/2&.2EMHFWLRQWRIRUP             VWDWXV/HWPHDVNDJDLQ:RXOG\RXDJUHHWKDWVDIHW\
   7+(:,71(666RQRDQGWKHLW V       FRQVLGHUDWLRQVFRXOGMXVWLI\H[FOXGLQJQDWDOPDOHVZKR
   ,JXHVVLWGHSHQGVZKDW\RXPHDQLVZKDWLWFRPHVGRZQ         KDYHH[SHULHQFHGDOORUDVLJQLILFDQWSDUWRIPDOH
   WR6RLI\RXDUHLI\RXDUHVLPSO\VD\LQJZHOOD       W\SLFDOSXEHUWDOGHYHORSPHQWIURPSDUWLFLSDWLQJLQ
   FHUWDLQIUDFWLRQRISHRSOHRIWKHVHFKURPRVRPHVDUH            IHPDOHGLYLVLRQFRQWDFWDQGFROOLVLRQVSRUWVVXFKDV
   JRLQJWREHKDYHWKLVRWKHUFKDUDFWHULVWLFWKHQ           EDVNHWEDOORUVRFFHU"
   PD\EHWKHUHDUHWKRVHNLQGVRIDVVRFLDWLRQV%XWLI\RX       $77251(<%/2&.2EMHFWLRQWRIRUP
   DUHJRLQJWRVD\WKDWLW VFRQQHFWHGWRWKHSRLQWZKHUH        7+(:,71(666R\RX UHVD\LQJWKDWHYHQ
   \RXFRXOGDFWXDOO\XVHRQHRIWKRVHOHW VVD\REVHUYLQJ        LIZHRWKHUZLVHGHFLGHGWKDWLWZRXOGEHRND\IRU
   DFKURPRVRPHDVDQDFWXDOGHWHUPLQDWLRQIRUDJLYHQ            FLVJHQGHUPDOHVWRSOD\ZLWKFLVJHQGHUIHPDOHVZRXOG,
   LQGLYLGXDOWKHQ,ZRXOGVD\QR                               HQYLVLRQWKHUHEHLQJDVDIHW\UHDVRQWREDQWKRVH
   %<$77251(<%522.6                                            FLVJHQGHUPDOHV"
   4,VLW\RXURSLQLRQWKDWDJHQGHULGHQWLW\LWVHOI      %<$77251(<%522.6
   LVDRUXVHIXOLQGLFDWRURIDWKOHWLFSHUIRUPDQFH"          4$OO,DVNHGKDGQRWKLQJWRGRZLWKJHQGHU
   $,WLVP\RSLQLRQWKDWJHQGHULGHQWLW\LWVHOILV       LGHQWLW\'R\RXDJUHHWKDWWKHLQWURGXFWLRQRQWRWKH


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0657
                                                 3DJH                                                         3DJH
    ILHOGRUWKHFRXUWLQRUKDYHEHHQVSRNHQRILWVFRQWDFW        4,DSRORJL]HLI,DVNHGVRPHWKLQJHDUO\LQWKH
    RUFROOLVLRQVSRUWVLQWKHIHPDOHGLYLVLRQRIQDWDO             PRUQLQJEXWLW VIDVWHUWKDQWU\LQJWRGLJEDFNLQWR
    PDOHVZKRKDYHJRQHWKURXJKDOORUDVLJQLILFDQWSDUWRI        WKHWUDQVFULSW'R\RXKDYHDQ\RSLQLRQDVWRZKHWKHU
    PDOHW\SLFDOSXEHUWDOGHYHORSPHQWFRXOGUDLVHOHJLWLPDWH        LWLVUHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDPDOH
    FRQFHUQVDERXWVDIHW\IRUWKHQDWDOIHPDOHV"                    JHQGHULGHQWLW\IURPDKLJKVFKRROJLUOVEDVNHWEDOO
    $77251(<%/2&.6DPHREMHFWLRQVDVWKH          WHDP"
    SUHYLRXVWZRTXHVWLRQV                                         $77251(<%/2&.2EMHFWLRQWRIRUP
    7+(:,71(666RDQ\SHUVRQZKR VJRQH           7+(:,71(666RDVNWKDWDJDLQDOLWWOH
    WKURXJKDPDOHSXEHUW\ZRXOGWKDWSHUVHPDNHPH              ELWVORZHU
   LQYRNHDVDIHW\FRQFHUQLIWKDW VWKHTXHVWLRQ           %<$77251(<%522.6
   %<$77251(<%522.6                                            4'R\RXKDYHKDYHDQ\RSLQLRQDVWRZKHWKHULWLV
   4&RXOGWKDWLQ\RXUPLQGUDLVHWKHJLYHQVDIHW\        UHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDPDOHJHQGHU
   FRQFHUQV"                                                      LGHQWLW\IURPSDUWLFLSDWLRQLQDJLUOVKLJKVFKRRO
   $6R,ZRXOGQRWWKHZRUGOHJLWLPDWH, PQRW        EDVNHWEDOOWHDP"
   DGGUHVVLQJEXW, PQRWDZDUHRIWKDWLQDQGRILWVHOI         $77251(<%/2&.2EMHFWLRQ
   EHLQJDVDIHW\FRQFHUQ                                        7+(:,71(66,GRQRWKDYHDQH[SHUW
   4<RXVWDWHLQSDUDJUDSKRI\RXUUHEXWWDO            RSLQLRQRQWKDWVXEMHFW
   UHSRUWWKDWTXRWHWUDQVJHQGHUDWKOHWHVDQGZRPHQKDYH        %<$77251(<%522.6
   EHHQFRPSHWLQJLQ1&$$DQGVHFRQGDU\VFKRRODWKOHWLFV          4'R\RXKDYHDSHUVRQDOYLHZ"
   IRUPDQ\\HDUVDWWKLVSRLQW/HWPHDVN\RXLI\RXDUH       $,GRQ WNQRZWKDW,WKHUHLWZRXOGJHWPRUH
   DZDUHRIDQ\LQVWDQFHLQZKLFKQDWDOPDOHVKDYHFRPSHWHG       FRPSOLFDWHGGHSHQGLQJRQFRQWH[W
   LQWKHIHPDOHFDWHJRU\LQDQ\FRQWDFWRUFROOLVLRQVSRUW       4<RXGRQ WKDYHDVLPSOH\HVRUQRSHUVRQDOYLHZ
   LQHLWKHUWKH1&$$RUKLJKVFKRROGLYLVLRQ"                    RQWKDWTXHVWLRQ"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $,GRQ W


                                                 3DJH                                                         3DJH
    7+(:,71(666RFDQ,LGHQWLI\                  4$QGGR\RXKDYHDYLHZZKHWKHULWLVUHDVRQDEOH
    WUDQVJHQGHUJLUOVRUZRPHQVSHFLILFDOO\DQGVSHFLILF            WRH[FOXGHDQDWDOPDOHZLWKDIHPDOHJHQGHULGHQWLW\
    LQVWDQFHVRISDUWLFLSDWLRQ",FDQQRW                          IURPSDUWLFLSDWLRQLQDKLJKVFKRROJLUOVEDVNHWEDOO
    %<$77251(<%522.6                                             WHDP"
    4:KDWZDV\RXUEDVLVIRUDVVHUWLQJWKDWVXFK            $77251(<%/2&.2EMHFWLRQWRIRUP
    DWKOHWHVKDYHEHHQFRPSHWLQJLQWKH1&$$DQGVHFRQGDU\          7+(:,71(666RGR,KDYHDYLHZRQ
    VFKRRODWKOHWLFVIRUPDQ\\HDUV"                                SDUWLFLSDWLRQRIDFLVJHQGHUJLUOLQWKHJLUOVFDWHJRU\"
    $77251(<%/2&., PVRUU\,VWKH              6RUU\6D\LWDJDLQ
    TXHVWLRQDERXWFROOLVLRQVSRUWV"%HFDXVH\RXDUH               %<$77251(<%522.6
   TXRWLQJVRPHWKLQJWKDWLVQRWDERXWFROOLVLRQVSRUWV          4,VDLGGR\RXKDYHDYLHZRQZKHWKHULWLV
   $77251(<%522.6/HWPHEUHDNWKDWRXW        UHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDIHPDOHJHQGHU
   7KDQN\RX                                                     LGHQWLW\IURPSDUWLFLSDWLRQLQWKHKLJKVFKRROJLUOV
   %<$77251(<%522.6                                            EDVNHWEDOOWHDP"
   4'R\RXKDYHDYLHZDVWRZKHWKHU,VKRXOGQ W      $77251(<%/2&.2EMHFWLRQWRIRUP
   VD\DYLHZ'R\RXKDYHDQ\LQIRUPDWLRQDVWRZKHWKHU         7+(:,71(666RWKDWLVDWUDQVJHQGHU
   WUDQVJHQGHUDWKOHWHVKDYHEHHQFRPSHWLQJLQWKHZRPHQ V        JLUOJRWLW6RDQGWKHTXHVWLRQLVGR,KDYHD
   GLYLVLRQRI1&$$RUVHFRQGDU\VFKRRODWKOHWLFVLQDQ\          YLHZRQ,DSRORJL]H*REDFN
   FRQWDFWRUFROOLVLRQVSRUWVIRUPDQ\\HDUV"                    %<$77251(<%522.6
   $7KDWLQIRUPDWLRQRQWKHYDOLGLW\LVWKDWWKH\         4,FDQGRLWDJDLQ
   KDYHKDGDFFHVVEHFDXVHWKHUHKDVQRWEHHQDEDQ              $<HVGRLWDJDLQ6RUU\
   4%XWZKHWKHUWKH\KDYHGRQHVR\RXGRQRWKDYH         4'R\RXKDYHDYLHZDVWRZKHWKHULWLV
   DQ\LQIRUPDWLRQ"                                               UHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDWUDQVJHQGHU
   $%XW,FDQQRWSRLQWWRVSHFLILFLQVWDQFHV             LGHQWLW\IURPSDUWLFLSDWLRQLQWKHJLUOVKLJKVFKRRO
   H[DFWO\                                                       EDVNHWEDOOWHDP"


                                                                                      3DJHVWR
                                                                                                           Armistead App. 0658
                                                 3DJH                                                                    3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP              GHILQLWLRQRUDP,DFWLQJDVDQH[SHUWWRGHILQHWKHVH
    7+(:,71(66$QGLWLVGR,KDYHDYLHZ         ZRUGVDQG,WKLQNZHDUHNLQGRILQWKDWVLWXDWLRQ
    RQH[FOXGLQJDVDQH[SHUWDP,RSLQLQJRQWKDW", P        %<$77251(<%522.6
    QRW, PRSLQLQJDVDVFLHQWLVWRQZKDWWKHGDWDDUH          4%XW, PDVNLQJ\RXDERXW\RXUH[SHUWUHSRUWVLQ
    %<$77251(<%522.6                                             WKHOLWLJDWLRQ<RXPXVWKDYHPHDQWVRPHWKLQJ:KDW
    4'R\RXFRQVLGHUDSROLF\WKDWH[FOXGHVQDWDO           GLG\RXPHDQE\QRQGLVFULPLQDWRU\ZKHQ\RXVXEPLWWHG
    PDOHVZLWKDPDOHJHQGHULGHQWLW\IURPWKHJLUOV                WKLVH[SHUWUHSRUW"
    EDVNHWEDOOWHDPWREHTXRWHGLVFULPLQDWRU\"                   $77251(<%/2&.2EMHFWLRQWRIRUP
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG           7+(:,71(666RZKHQ, PXVLQJWKHZRUG
   VFRSH                                                         QRQGLVFULPLQDWRU\,DPXVLQJLWWRPHDQVRPHWKLQJWKDW
   7+(:,71(666RDVDQH[SHUW, PQRW           LVQ WXVLQJVRPHRWKHULQGLFDWRUZHOO, PUHDOO\
   WDNLQJDSRVLWLRQRQH[FOXGLQJFLVJHQGHUPDOHVIURPWKH        MXVWXVLQJLWLQWKHEURDGHVWVHQVHWRVRPHWKLQJWKDWLV
   IHPDOHFDWHJRU\LI,DQVZHUHGWKDWFRUUHFWO\                 LQFOXGLQJSHRSOH
   %<$77251(<%522.6                                            %<$77251(<%522.6
   40\TXHVWLRQZDVVLPSO\GR\RXFRQVLGHUVXFKD         48VLQJLWLQWKHEURDGHVWVHQVHGLVFULPLQDWLQJ
   SROLF\WREHDGLVFULPLQDWRU\SROLF\"                          EHWZHHQRQHFDWHJRU\DQGDQRWKHULVFRXOGEHDJRRG
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG          WKLQJRUDEDGWKLQJ
   VFRSH                                                         &RUUHFW"
   7+(:,71(666RDUH\RXDVNLQJPHDVDQ        $77251(<%/2&.2EMHFWLRQWRIRUP
   H[SHUWWRGHILQHGLVFULPLQDWLRQ"                               7+(:,71(66$VDQH[SHUW,WKDWLV
   %<$77251(<%522.6                                            ZD\RXWVLGHP\VFRSH%XWVLPSO\DVDQ(QJOLVKVSHDNHU
   4,ZLOOGLUHFW\RXWRSDUDJUDSKRI\RXU             \HVGLVFULPLQDWLRQFRXOGEHJRRGRULWFDQEHEDG\HV
   UHEXWWDOUHSRUW$QGWKHUH\RXZURWH'RFWRU&DUOVRQKDV       %<$77251(<%522.6
   QRWRIIHUHGFRJHQWH[SODQDWLRQIRUZK\DOOHJHGVDIHW\          4$QGIRULQVWDQFHLI\RXDUHZHOO\RXVDLG


                                                 3DJH                                                                    3DJH
    FRQFHUQVEDVHGRQDYHUDJHGLIIHUHQFHVLQVL]HDQG               \RXGRQ WSUHVFULEHWRPLQRUVVREXWLI\RXDUH
    VWUHQJWKVKRXOGEHDGGUHVVHGZLWKLQDQDFURVVWKHERDUG         GHDOLQJZLWKD\HDUROGZKRVD\VDQG\RXFRQFOXGHG,
    H[FOXVLRQRIWUDQVJHQGHUZRPHQDVRSSRVHGWRWDLORUHG           QHHGJHQGHUDIILUPLQJKRUPRQHDQG,ZLOOXVHWKHWHUP
    QRQGLVFULPLQDWRU\SROLFLHV                                     \RXSUHIHULIWKDWLQGLYLGXDO VKRUPRQHVDQGELRORJ\
    'R\RXVHHWKDW"                                       DUHIHPDOHWKHQJHQGHUDIILUPLQJKRUPRQHVDUHJRLQJWR
    $,GR                                                  FRQVLVWDPRQJRWKHUWKLQJVSHUKDSVRIDGPLQLVWHULQJ
    46RXQGHUVWDQGLQJGLVFULPLQDWRU\KRZHYHU\RXGLG       WHVWRVWHURQH
    XQGHUVWDQGLWZKHQ\RXZURWHWKDWGR\RXFRQVLGHUD            &RUUHFW"
    SROLF\WKDWSURKLELWVQDWDOPDOHVZLWKDPDOHJHQGHU            $<HVW\SLFDOO\ZHZRXOGKDYHKDYH
   LGHQWLW\IURPSDUWLFLSDWLQJRQWKHJLUOVEDVNHWEDOOWHDP       4$QGLIWKDWLQGLYLGXDO VELRORJ\DQGKRUPRQHV
   WREHDGLVFULPLQDWRU\SROLF\"                                 HQGRJHQRXVZHUHPDOHWKHQWKHJHQGHUDIILUPLQJKRUPRQHV
   $77251(<%/2&.6DPHREMHFWLRQV               ZRXOGLQFOXGHDPRQJRWKHUWKLQJVHVWURJHQRUHVWURJHQ
   7+(:,71(665LJKW6R, PQRWGHILQLQJ       DQDORJ
   , PQRWGHILQLQJGLVFULPLQDWRU\KHUH, P             &RUUHFW"
   ULJKW6RLI\RXDUHDVNLQJDVDQH[SHUWWRGHILQH            $77251(<%/2&.2EMHFWLRQWRIRUP
   GLVFULPLQDWRU\WKDW,FDQ WGR                               7+(:,71(66,IWKDWSHUVRQKDG
   %<$77251(<%522.6                                            W\SLFDOO\W\SLFDOO\DPDOHKRUPRQHSURILOHULJKW
   4:HOOLI\RXGRQ WNQRZZKDWGLVFULPLQDWRU\           WRPRYHWRZDUGDPRUHIHPLQLQHSURILOHWKDWW\SLFDOO\
   PHDQVZKDWGR\RXPHDQZKHQ\RXUHIHUUHGWRDWDLORUHG        ZRXOGLQFOXGHHVWURJHQVRUVRPHRWKHUDJHQWVWKDWZHUH
   QRQGLVFULPLQDWRU\SROLF\"                                      RWKHUWKDQWHVWRVWHURQH\HV
   $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%522.6
   7+(:,71(66,JXHVV,KDYHWRFLUFOH          46RVSHDNLQJVFLHQWLILFDOO\DQGQRWLQFLYLO
   EDFNLQLWLDOO\WR,PHDQZHFDQGRWKDWIRUDQ\ZRUG       ULJKWVWHUPVLI,PD\\RXDVDVFLHQWLVWDV\RX
   KHUHULJKWZKHUH,FRXOGKDYHOLNHP\RZQSHUVRQDO           GHFLGHZKLFKUHJLPHQRIKRUPRQHVWRDGPLQLVWHUWRWKLV



                                                                                          3DJHVWR
                                                                                                    Armistead App. 0659
                                                3DJH                                                         3DJH
    LQGLYLGXDOKDYHWRGLVFULPLQDWHEHWZHHQWKRVHZKRDUH          FDQKDYHWKRVHDFWXDOO\FDQKDYHDVSRUWVFRQWH[W
    HQGRJHQRXVO\PDOHDQGWKRVHZKRDUHHQGRJHQRXVO\IHPDOH        4+DYH\RXGRQHDQ\UHVHDUFKRQWKHLPSDFWRI
    LQGHFLGLQJZKLFKUHJLPHQ\RXSUHVFULEH                       WHVWRVWHURQHVXSSUHVVLRQRQDWKOHWLFSHUIRUPDQFHRUDQ\
    &RUUHFW"                                              PHDVXUHPHQWRIVWUHQJWK"
    $77251(<%/2&.2EMHFWLRQWRWKHIRUP         $6RWKHVHFRQGSLHFHRIWKDWLV,KDYHQRWGRQH
    7+(:,71(66:HKDYHWRPDNHDGHFLVLRQ       DQ\UHVHDUFKWKDWVSHFLILFDOO\XVHGVWUHQJWKDVDQ
    $QGVRLI\RXDUHWU\LQJWRJHWPHWRVD\WKDW                 HQGSRLQWLQP\RZQVWXGLHV7RWKHVHFRQGSLHFHRI
    GLVFULPLQDWLRQFDQEHGHILQHGDVPDNLQJGHFLVLRQV, P         WKRVH,IRUJRWZKDW
    ZLWK\RXDQG\HV                                              4$WKOHWLFSHUIRUPDQFH"
   %<$77251(<%522.6                                           $$WKOHWLFSHUIRUPDQFHWKHUHLWJHWVDPXGGOHG
   42ND\                                                WKLQJ7KHUHVHDUFKWKDW,KDYHGRQHFDQEHDSSOLFDEOH
   /HWPHMXVWUXQGRZQDIHZLWHPVWRPDNHVXUH       LQWKDWFRQWH[W
   <RXKDYHQRWSHUVRQDOO\HQJDJHGLQDQ\UHVHDUFK               4:HOOWKDWLVLI\RXUHQGSRLQWLVKHPDWRFULW
   UHJDUGLQJVSRUWVSK\VLRORJ\KDYH\RX"                        FRXQWWRXVHWKHULJKWWHUP\RX UHVD\LQJWKDWPLJKW
   $, PWU\LQJWRWKLQNLWWKHUH VDQ\WKLQJ,          KDYHLPSOLFDWLRQVIRUDWKOHWLFSHUIRUPDQFH",VWKDW
   GRQ WEHOLHYH,KDYH                                         \RXUSRLQW"
   4<RX\RXUVHOIKDYHQ WSHUVRQDOO\HQJDJHGLQDQ\       $7KDWLVFRUUHFW\HV
   UHVHDUFKRUSXEOLVKHGDQ\SDSHUVWKDW VDFRPSRXQG        4%XW\RXKDYHQRWGRQHDQ\UHVHDUFKLQZKLFKDQ\
   TXHVWLRQ<RX\RXUVHOIKDYHQ WHQJDJHGLQDQ\              PHDVXUHPHQWRIDWKOHWLFSHUIRUPDQFHLVDQHQGSRLQW"
   UHVHDUFKUHODWLQJWRVSRUWVPHGLFLQHRUVSRUWVLQMXULHV      $77251(<%/2&.2EMHFWLRQWRIRUP
   KDYH\RX"                                                     7+(:,71(66$JDLQ,KDYHWRWKLQN
   $,KDYHQRWHQJDJHGLQDQ\UHVHDUFKZLWKUHJDUG       DERXWKRZWRVD\WKDWEHFDXVHVRPHRIWKHSDUWRI
   WRVSRUWVLQMXULHV$QGWKHDQVZHUWRWKHILUVWSDUWRI      WKHSUREOHPLVWKDWSDSHUVWKDWZH UHORRNLQJDWLQFOXGH
   WKDWJHWVDOLWWOHPXGGOHGEHFDXVHVRPHRIWKHSDSHUV         TXLWHDELWRIOLWHUDWXUHRQFRPSRQHQWVWKDWPD\EH


                                                3DJH                                                         3DJH
    WKDW,KDYHZULWWHQDERXWSK\VLRORJ\DQGWUDQVJHQGHU           DSSOLFDEOHWKDWPD\EHDSSOLFDEOHLQVSRUWV
    SHRSOHFRXOGDSSO\WRVSRUWVPHGLFLQH                         PHGLFLQHZKHWKHULWLVPXVFOHVWUHQJWKDQGPXVFOHVL]H
    4+DYH\RX\RXUVHOIHYHUSDUWLFLSDWHGLQ              RUEORRGFHOOFRXQWVDQGVXFK$QGVRWKDWPRUH
    GHYLVLQJDQ\DWKOHWLFWUDLQLQJUHJLPHVIRULQGLYLGXDOV         H[SDQVLYHO\WKDQP\UHVHDUFKLVLQWKDWFDWHJRU\
    RIHLWKHUVH["                                                 :KHUHDVLI, PWU\LQJWREHIRFXVHGDQGQDUURZWKHQ
    $, YHQRWEHHQLQYROYHGLQGHYLVLQJDQ\WUDLQLQJ       , YHJRWWKRVHWZRVWXGLHVWKHRQHE\5REHUWVDQGWKH
    UHJLPHV                                                       RQHE\+DUSHU$QGP\SDSHUVDUHQRWWKRVH
    4+DYH\RXGRQHDQ\UHVHDUFKZLWKUHODWHGWRPDOH       %<$77251(<%522.6
    SK\VLRORJ\, PVRUU\PDOHSK\VLRORJLFDODGYDQWDJHV        4<RXGRQ WKDYHDQ\LQIRUPDWLRQDERXWQXPEHUVRI
   UHOHYDQWWRDWKOHWLFVEHIRUHGXULQJRUDIWHUSXEHUW\"        FKLOGUHQLQ:HVW9LUJLQLDZKRVXIIHUIURPDQ\'6'GR
   $6RWKHUH,KDYHQRQHRIWKHUHVHDUFKWKDW,      \RX"
   KDYHGRQHWRGDWHKDVEHHQVSHFLILFDOO\ORRSKROHGDV      $1RDV,JXHVV,KDYHWRVD\QRWKHUHLQ
   ZHOO,FDQ WHYHQVD\WKDW6RUHVHDUFKWKDW,KDYH         WHUPVRIDFWXDOVXUYH\VRINLGVLQ:HVW9LUJLQLD,NQRZ
   GRQHZLWKUHJDUGWRREVHUYLQJSK\VLRORJ\DPRQJP\             VRPHEURXJKWVWDWLVWLFV:HVW9LUJLQLDLVELJHQRXJK
   VXEMHFWVFDQEHDSSOLFDEOHWRVSRUWVPHGLFLQHLQVRPH         WKDW\RXZRXOGSUHGLFWWKDWWKHVWDWLVWLFVZRXOG
   FRQWH[W                                                      JHQHUDOO\DSSO\EXWWKDWLVDVVPDUWDV,FRXOGJHWRQ
   42QZKDWSXEOLFDWLRQVLIDQ\RI\RXUVGR\RX        WKHVXEMHFW
   EHOLHYHUHODWHWRPDOHSK\VLRORJLFDODGYDQWDJHVLQ            4$QG\RXDUH,WKLQN\RXHIIHFWLYHO\DQVZHUHG
   DWKOHWLFVEHIRUHGXULQJRUDIWHUSXEHUW\"                    WKLVEXWWREHFOHDUIRUWKHUHFRUG\RXDUHQRWRSLQLQJ
   $:HOOMXVWRIIWKHWRSRIP\KHDGZLWKRXW           WKDW%3-VXIIHUVIURPDQ\'6'"
   ORRNLQJDWLWH[KDXVWLYHO\,KDYHDSDSHURQ                 $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   KHPDWRFULWZKLFKLVWKHR[\JHQFDUU\LQJFHOOVLQ             7+(:,71(666RWKHKHUHWRRZHJHW
   SHRSOH,QWUDQVJHQGHUSHRSOH,KDYHDSDSHURQ              LQWRLQWRDQHYROYLQJDUHDRIGHILQLWLRQVZKHUH\RX
   WHVWRVWHURQHOHYHOVZLWKGLIIHUHQWWUHDWPHQWV6RWKRVH      FRXOGHQYLVLRQLIVRPHRIWKHVSHFLILFJHQHWLFVWKDWDUH


                                                                                     3DJHVWR
                                                                                                                      Armistead App. 0660
                                                                 3DJH                                                            3DJH
    DVVRFLDWHGZLWKEHLQJWUDQVJHQGHUEHFDPHLGHQWLILHG                       ZDVPDUNHGIRULGHQWLILFDWLRQ
    ZRXOGZHLQWKHPHGLFDOZRUOGVWDUWWRODEHOWKRVH                         
    LQVWDQFHVDV'6'",W VSRVVLEOH6RWKDWLVMXVW                    %<$77251(<%522.6
    %<$77251(<%522.6                                                        41RZ'U6DIHUWREHIDLU,VHHWKDW\RXDUH
    47KXVIDUQRVXFKLQGLFDWRUVKDYHEHHQ                             WKHODVWOLVWHGDXWKRURQDIDLUO\OHQJWK\OLVWRI
    LGHQWLILHG                                                                DXWKRUV$QGPD\EHWKDWGRHVDQGPD\EHWKDWGRHVQ W
    &RUUHFW"                                                          KDYHVLJQLILFDQFHLQWHUPVRIKRZLQGHSWK\RXU
    $,FDQ WHYHQ,FDQ WHYHQVD\WKDW                            LQYROYHPHQWLQWKLVSDSHUZDV/HWPHDVN:DVWKLVD
    GHILQLWLYHO\,WLVDQDUHDRIDFWLYHFRQYHUVDWLRQLQ                     SDSHURIZKLFK\RXKDGVRPHVLJQLILFDQWLQSXW"
   WHUPVRILQWHUPVRIERDUGHUVHWWLQJLQWKHPHGLFDO                   $,KDGVLJQLILFDQWLQSXW,FDQWHOO\RXWKDWLQ
   FRPPXQLW\ULJKWQRZ                                                      WKHPHGLFDODQGVFLHQWLILFFRPPXQLW\WKHILUVWDXWKRU
   4+RZHYHU,WKLQNP\TXHVWLRQLVHDVLHU<RX UH                  W\SLFDOO\GLGWKHZRUNDQGWKHODVWDXWKRULVWKHVHQLRU
   QRWRIIHULQJDQRSLQLRQDQ\RSLQLRQWKDW%3-VXIIHUV                  DXWKRUDQGVXSHUYLVRU$QGWKHPLGGOHDXWKRUVDUH
   IURPDQ\'6'DUH\RX"                                                    DFWXDOO\WKHRQHVZKHUH\RX
   $6R,GRQ WKDYHVRWREHFOHDUILUVW,GRQ W                 42ND\
   NQRZWKH%3- VVSHFLILFPHGLFDOFRQGLWLRQ,ZDVQ W                  ,ZDVDZDUHRIWKHVLJQLILFDQFHRIWKHILUVW
   EURXJKWLQWRHYDOXDWHWKDWDQG,KDYHQRW6R,FDQ W                   ,ZDVQRWDZDUHRIWKHVLJQLILFDQFHRIWKHODVW2ND\
   DFWXDOO\UHQGHUDQRSLQLRQRQDQ\RIWKHPHGLFDOVWRU\                    7KDWLVKHOSIXO$OORIWKHDXWKRUVKHUHLI, P
   WKHUH                                                                    FRUUHFWDUHFROOHDJXHVZLWKLQWKH0RXQW6LQDL&OLQLFRU
   4$QG\RXGRQ WNQRZZKHWKHUDQ\FKLOGRUW\SLFDO                  GLYLVLRQWKDW\RXVXSHUYLVH
   ;<FKURPRVRPHSDUGRQPH\RXGRQ WNQRZZKHWKHUDQ\                   $P,FRUUHFW"
   FKLOGZLWK;<FKURPRVRPHVZKRVXIIHUVIURPD'6'KDV                      $$OORIWKHDXWKRUVZHUHLQWKRVHSRVLWLRQVDW
   HYHUVRXJKWWRFRPSHWHLQIHPDOHDWKOHWLFVLQ:HVW                        VRPHSRLQWZKLFKLVKRZZHFDPHWRJHWKHUWRZULWHWKH
   9LUJLQLDXSXQWLOWKHSUHVHQW"                                            SDSHU


                                                                 3DJH                                                            3DJH
    $77251(<%/2&.2EMHFWLRQWRWKHIRUP                     4$QGWKHSDSHU,VKRXOGVD\IRUWKHUHFRUGLV
    7+(:,71(666RWKHTXHVWLRQLVGR,                       GDWHG$QGOHWPHVHHLI,FRUUHFWO\XQGHUVWRRG
    NQRZRIDQLQVWDQFHRIDVSHFLILFLQGLYLGXDOZLWK;<                       ZKDWWKHSDSHULVDERXW,IZHLQWKLVSDSHU\RX
    FKURPRVRPHVDQGD'6'FRQQHFWHGWRWKDWZKRKDV                            FRPSDUHWKHHOLJLELOLW\RISDWLHQWVZKRDUHVHHNLQJ
    VSHFLILFDOO\SDUWLFLSDWHGLQVSRUWVLQ:HVW9LUJLQLD"                      YDJLQRSODVW\XQGHUWKH:3$7+6WDQGDUGRI&DUHFULWHULD
    %<$77251(<%522.6                                                        YHUVXVWKHFULWHULDDFWXDOO\XVHGE\\RXUFOLQLF
    4:KRKDVVRXJKWWRSDUWLFLSDWHLQIHPDOH                           $P,FRUUHFW"
    DWKOHWLFVLQ:HVW9LUJLQLD"                                                $<HV
    $5LJKWVRZKRKDVVRXJKWWRSDUWLFLSDWHLQ                        4$QGMXVWVRZH UHFOHDUYDJLQRSODVW\LVD
   IHPDOHVSRUWVLQ:HVW9LUJLQLD,FDQQRWJLYH\RXD                      VXUJHU\WKDWLVRQO\GRQHRQELRORJLFDOPDOHQDWDOPDOH
   VSHFLILFLQVWDQFHWKDWLVWUXH,FDQVD\WKRXJK                      LQGLYLGXDOV
   NQRZLQJWKHSHUFHQWDJHRISHRSOHZKRKDYH'6'VDQGWKH                    &RUUHFW"
   VL]HRIWKH6WDWHRI:HVW9LUJLQLDWKDW\RXZRXOG                         $77251(<%/2&.2EMHFWLRQWRIRUP
   SUHGLFWLWZRXOGEHWUXHEXWWKDWZRXOGEHDJDLQDV                      7+(:,71(666RDYDJLQDOSODVW\LVWKH
   VPDUWDV,FRXOGEHRQRQHVXEMHFW                                       JHQLWDOUHFRQVWUXFWLRQVXUJHU\WRFUHDWHDYDJLQDLQD
   $77251(<%522.6/HWPHPDUNDV6DIHU                     SHUVRQ:KHQZHDUHXVLQJLWDVDJHQGHUDIILUPLQJ
   ([KLELWZKDWZDVSUHYLRXVO\GHVLJQDWHGDV7DEDQ                   VXUJHU\WKHQZHDUHXVLQJLWRQSHRSOHZKRKDYHZKDW
   DUWLFOHE\'U6DIHUDQGRWKHUVHQWLWOHGWKH0RXQW6LQDL                  ZRXOGEHFRQVLGHUHGW\SLFDOO\PDOHDQDWRP\LQWKDW
   3DWLHQW&HQWHU3UHRSHUDWLYH&ULWHULD0HDQWWR2SWLPL]H                    FLUFXPVWDQFHEXWWKHVXUJHU\FRXOGDOVREHXVHGRQ
   2XWFRPHVDUH/HVVRID%DUULHUWR&DUHWKDQ:3$7+62&                   VRPHERG\ZLWKW\SLFDOO\IHPDOHDQDWRP\UHTXLULQJ
   &ULWHULD%HIRUH7UDQVJHQGHU6SHFLILF6XUJHU\$QG\HV                   FRQVWUXFWLRQIRUZKDWHYHUWKHLUFLUFXPVWDQFHPD\EH
   WKDWLVDPRXWKIXO                                                       %<$77251(<%522.6
                                               47KDWVDLGWKHVXEMHFWVGLVFXVVHGLQWKLVSDSHU
    :KHUHXSRQ([KLELW'U6DIHU$UWLFOH                    DUHDOOLQGLYLGXDOVZKRDUHVHHNLQJWKHVXUJHU\IRU



                                                                                                     3DJHVWR
                                                                                                     Armistead App. 0661
                                                 3DJH                                                         3DJH
    JHQGHUDIILUPLQJSXUSRVHVUDWKHUWKDQIRULQVWDQFH            %<$77251(<%522.6
    EHFDXVHRIDVHYHUH'6'                                        4,WLVQRWWKHFDVHLVLWWKDWHYHU\SDWLHQW
    &RUUHFW"                                               ZKRZDVTXDOLILHGIRUVXUJHU\E\\RXUFOLQLFKDGEHHQ
    $7KHSHRSOHLQWKLVFLUFXPVWDQFHDUHDOOSHRSOH         GHPRQVWUDWHGWRVDWLVI\WKH:3$7+FULWHULDIRU
    VHHNLQJWKHVXUJHU\IRUJHQGHUDIILUPLQJSXUSRVHVDQG           HOLJLELOLW\"
    QRWWKRVHIRU'6'RUIRURWKHUSXUSRVHVUHFRQVWUXFWLRQ         $,WLVVRWKHUHZHUHWKHSDWLHQWVMXVWDV
    RIYDJLQDVIRUDFFLGHQWVDQGFDQFHUV,PHDQWKHUHLV          VWDWHGZKRTXDOLILHGE\RXUFULWHULDEXWQRWE\:3$7+
    TXLWHDUDQJH                                                  FULWHULDWKHUHLVVXFKDJURXSWKDWH[LVWHGH[DFWO\
    4$QGWKHUHVXOWDVVXPPDUL]HGLQWKHDEVWUDFWLV        \HV
   WKDWRISDWLHQWVZKRZHUHLGHQWLILHGDVVXEMHFWVRI        42ND\
   WKLVVWXG\TXDOLILHGIRUVXUJHU\LPPHGLDWHO\EDVHG         $QGVSHFLILFDOO\DFFRUGLQJWR\RXUFULWHULD
   RQWKH0RXQW6LQDLFULWHULD                                   WKUHHWLPHVDVPDQ\SDWLHQWVDUHHOLJLEOHDFFRUGLQJWR
   &RUUHFW"                                              :3$7+FULWHULD"
   $<HV                                                  $77251(<%/2&.2EMHFWLRQWRIRUP
   4:KHUHDVRQO\RIWKRVHZRXOGKDYHTXDOLILHG         7+(:,71(66,W VQRWVRPXFKWKHWKUHH
   EDVHGRQWKHFULWHULDVHWRXWLQWKH:3$7+6WDQGDUGRI         WLPHV,WLVWKHSDFH6RPHRIWKLVUHODWHVWRSDFH
   &DUH9HUVLRQ"                                                DQGHIILFLHQF\
   $<HV                                                  %<$77251(<%522.6
   47KUHHWLPHVDVPDQ\LQGLYLGXDOVTXDOLILHGIRU         4'U6DIHU\RXUFOLQLFDFFRUGLQJWRWKLVSDSHU
   LPPHGLDWHVXUJHU\XQGHUWKHVWDQGDUGXVHGE\\RXUFOLQLF       DSSURYHGIRUVXUJHU\SDWLHQWVZKRZHUHDWWKDWWLPH
   DVRSSRVHGWRWKHVWDQGDUGVVHWRXWLQWKH:3$7+               QRWHOLJLEOHDFFRUGLQJWR:3$7+FULWHULD
   6WDQGDUGRI&DUH"                                              &RUUHFW"
   $7KDW VFRUUHFW                                       $77251(<%/2&.2EMHFWLRQWRIRUP
   4:KHQGLG\RXUFOLQLFEHJLQDSSURYLQJVXUJHU\IRU      7+(:,71(661R6RWKHUHDOLW\LVZH


                                                 3DJH                                                         3DJH
    SDWLHQWVZKRDUHQRWHOLJLEOHXQGHUWKH:3$7+6WDQGDUG          VWLOOOLYHLQWKHXQLYHUVHWKDWHYHU\ERG\HOVHOLYHVLQ
    RI&DUH"                                                        VRZHDUHVRWKLVSDSHUSURSRVHVDPRUHDSSURSULDWH
    $77251(<%/2&.2EMHFWLRQWRIRUP              DQGDPRUHSDWLHQWDSSURSULDWHPRGHOEXWLWLVQRWWKH
    7+(:,71(66<HDKVRWREHFOHDUWKH          FDVHWKDWZHDFWXDOO\VHQWSHRSOHWRVXUJHU\ZKRZRXOG
    SDWLHQWVLQRXUSURJUDPTXDOLI\E\ERWKFULWHULD7KH          QRWEHDSSURYHGE\:3$7+
    SDSHULVVLPSO\SRLQWLQJRXWWKDWRXUSURFHVVLVPRUH           %<$77251(<%522.6
    HIILFLHQWDQGSDWLHQWIULHQGO\EXWLW VQRWWRVD\WKDW        4:HOOZHUH\RXSHUVRQDOO\LQYROYHGLQGHYHORSLQJ
    ZHZHUHQRWLQIRUPHGE\:3$7+FULWHULDDOVR$QG,             DQGDSSURYLQJ0RXQW6LQDL VFULWHULD"
    WKLQN,QHHGWRH[SDQGHYHQDOLWWOHELWIXUWKHU3DUW         $/HWPHORRNDWWKHUROHKHUH<HV,GHILQLWHO\
   RIWKHSRLQWRIWKHSDSHULVWKDWLWLQFOXGHVLW           KDGDUROHLQGHYHORSLQJRXUFULWHULD
   LQFOXGHVHIIRUWVWRNQRZEHQHILWWRWKHSDWLHQWWKDWHQG       4/HWPHDVN\RXWRORRNDWSDJHFROXPQRQH
   XSEHLQJWLPHFRQVXPLQJDQGWKHUHIRUHDUHDZDVWHRI           FDOO\RXUDWWHQWLRQTXLWHDELWWRWDEOHRQH$QGLI,
   HQHUJ\LQFRQWUDVWWRRXUDSSURDFKZKLFKLVDFWXDOO\          XQGHUVWDQGFRUUHFWO\WDEOHRQHLVGHVLJQHGWRKHOSXV
   PRUHFRQVHUYDWLYHWKDQ:3$7+ VDSSURDFK:HDFWXDOO\          FRPSDUHDQGFRQWUDVWZKDWLVUHTXLUHGE\WKH:3$7+
   ORRNDWPRUHWKLQJVEXWZHGRVRLQDPRUHHIILFLHQW           FULWHULDIRUVXUJLFDOUHDGLQHVVYHUVXVWKH0RXQW6LQDL
   IDVKLRQDQGWKDWLVDFWXDOO\WKHSRLQWRIWKHSDSHU           FULWHULDIRUVXUJLFDOUHDGLQHVV
   %<$77251(<%522.6                                            &RUUHFW"
   4:HOOOHWPHFODULI\RQHWKLQJ\RXMXVWVDLG         $7KDWLVFRUUHFW\HV
   $FFRUGLQJWRWKLVSDSHULWLVQRWWKHFDVHLVLWWKDW       4$QGWKH:3$7+UHTXLUHVDOHWWHURIVXSSRUWIURP
   HYHU\SDWLHQWIRUZKRP\RXUFOLQLFDSSURYHGVXUJHU\ZDV        WKHSDWLHQW VKRUPRQHSURYLGHUFRQILUPLQJWKHKRUPRQH
   DWWKDWWLPHTXDOLILHGDFFRUGLQJWRWKH:3$7+FULWHULD"        UHJLPHQDQGWKHOHQJWKRIWLPHRIKRUPRQHWKHUDS\
   $77251(<%/2&.2EMHFWLRQWRIRUP             &RUUHFW"
   7+(:,71(66:DLW6D\LWDJDLQ&RXOG       $7KDWLVKRZLWLVZULWWHQ\HV
   \RXUHSHDWWKDW"                                               4$QGIDUWKHUGRZQXQGHUPHQWDOKHDOWKLWVD\V


                                                                                      3DJHVWR
                                                                                                      Armistead App. 0662
                                                 3DJH                                                           3DJH
    WKDWLWUHTXLUHVWZROHWWHUVRIVXSSRUWIURPPHQWDO             EXW,ZLOOTXRWHLWWKHPRVWVLJQLILFDQWRIWKH0RXQW
    KHDOWKSURYLGHUV"                                               6LQDLFULWHULDLVWKHUHPRYDORIWKHUHTXLUHPHQWRIWZR
    $,WGRHV\HV                                          LQGHSHQGHQWSV\FKLDWULFHYDOXDWLRQV$QGWKDWLVLQ
    4$QGLWJLYHVRQSDJHDGHILQLWLRQZKRLVD         FROXPQWZRRISDJHDWWKHHQGRIWKHILUVWIXOO
    TXDOLILHGPHQWDOKHDOWKSURIHVVLRQDOGRZQWRZDUGVWKH           SDUDJUDSK7KHILUVWIXOOSDUDJUDSKFROXPQWZRWKH
    ERWWRPRIWKHVHFRQGFROXPQ, PJRLQJWRDVN\RXWR           ILQDOVHQWHQFH
    ILQGWKDWODQJXDJHLI\RXFRXOG"                                $, PLQZKLFKFROXPQ"6RUU\
    $8KKXK \HV \HV                                     4&ROXPQWZR
    4<RXVD\PDQ\GHILQHOLFHQVHGPHQWDOKHDOWK            $2KFROXPQWZR6RUU\
   SURYLGHUVKDYLQJRQHRUPRUHRIWKHIROORZLQJ                  47KHILUVWIXOOSDUDJUDSKILQDOVHQWHQFH
   FUHGHQWLDOVWKH/&6:/LFHQVHG&OLQLFDO6RFLDO:RUNHU        $7KHPRVWVLJQLILFDQWGHOHWLRQIURPWKH0RXQW
   ,VWKDWULJKW"                                        6LQDLFULWHULDLVWKHUHPRYDORI\HV,VHHWKDW
   $/&6:LV/LFHQVHG&OLQLFDO6RFLDO:RUNHU\HV         4$QG\RXVWDWHGDWWKHWRSRIFROXPQRQHRQWKH
   4$QG0''2WKDWLVDPHGLFDOGRFWRUDGRFWRURI      VDPHSDJHWKDWTXRWHILQGLQJWZRPHQWDOKHDOWK
   ZKDWGRHVWKH2VWDQGIRU"                                 SURYLGHUVWRGRLQGHSHQGHQWHYDOXDWLRQVLV
   $2VWHRSDWK\                                           WLPHFRQVXPLQJH[SHQVLYHDQGGLIILFXOW
   47KHUHZHJR$SV\FKLDWULVWD3K'\HVWKDW      5LJKW"
   ZDVVXUSULVLQJWRPH6XUHO\QRWMXVWDQ\3K'"              $-XVWWU\LQJWRILQGWKDWH[DFWZRUGLQJ<HV
   $5LJKWWKDW VUHIHUULQJWRD3K'FOLQLFDO           46RLQ\RXURZQFOLQLF VSUDFWLFHZKLOH:3$7+
   SV\FKRORJLVW                                                  FDOOVIRUWZROHWWHUVIURPLQGHSHQGHQWPHQWDOKHDOWK
   42ND\                                                 SURYLGHUV\RXFRQFOXGHGWKDWEHFDXVHLWZDVKDUGWRJHW
   2UDQ\0DVWHU VOHYHOIRUDERYHFRXQVHOLQJ            WZRLQGHSHQGHQWHYDOXDWLRQV\RXUFOLQLFZRXOGVLPSO\
   GHJUHHV%XWWKHQ\RXJRRQWRVD\WKDWLQ\RXU               GLVSHQVHZLWKWKHUHTXLUHPHQWRIDQ\LQGHSHQGHQWPHQWDO
   HYDOXDWLRQEDVHGRQ62&FULWHULD7KDW VWKH:3$7+          KHDOWKUHYLHZ


                                                 3DJH                                                           3DJH
    FULWHULD"                                                       &RUUHFW"
    $7KDW VWKH:3$7+FULWHULD\HV                        $77251(<%/2&.2EMHFWLRQWRIRUP
    4:HLQFOXGHGWKHDERYHGHJUHHVZLWKWKHIROORZLQJ       7+(:,71(661RWKDWLVQRWTXLWH
    H[FOXVLRQVPHQWDOKHDOWKSURYLGHUVZLWKORZHUWKDQ             FRUUHFW3DUWRIWKHGLIIHUHQFHIRURXURSHUDWLRQLV
    0DVWHU VOHYHOWUDLQLQJDQGXQOLFHQVHGPHQWDOKHDOWK            WKDWZHKDYHZHKDYHH[SHUWLVHLQKRXVHDQGZHKDYH
    SURYLGHUVRIDQ\W\SH13VDQG3$VZLWKRXWPHQWDOKHDOWK        LI\RXQRWLFHORRNLQJDWWKHWDEOHDORQJHUOLVW
    FUHGHQWLDOVSK\VLFLDQVZKRDUHQRWSV\FKLDWULVWVRU            RIUHTXLUHPHQWVDFWXDOO\WKDQ:3$7+GRHVZKLFKLQFOXGHV
    PHQWDOKHDOWKSURYLGHUVZKRDUHVWLOOLQWUDLQLQJ'R          DVRFLDOZRUNFRPSRQHQW$QGWKDWDFWXDOO\LVWKH
    \RXVHHWKDWODQJXDJH"                                          WKDW VWKHVRXUFHRIDFWXDOO\\HWDVHFRQGSDLURIH\HV
   $,GR                                                 DVLWZHUH$QGVRLWLVQRWWKHFDVHWKDWZHDUH
   46RXQGHUWKHGHILQLWLRQXVHGLQ\RXUFOLQLF\RX      WKDWZH UHSURYLGLQJOHVVRIDVFUHHQZHDUHDFWXDOO\
   \RXUVHOIGRQRWTXDOLI\DVDPHQWDOKHDOWK                    SURYLGLQJPRUHRIDVFUHHQ,W VMXVWWKDWZHDUH
   SURIHVVLRQDO                                                  RSHUDWLQJLQDPRUHHIILFLHQWPDQQHUIRUWKHSDWLHQW
   &RUUHFW"                                              %<$77251(<%522.6
   $7KDWLVFRUUHFW                                      4/HW VIOLSEDFNWRFROXPQRQH$IHZPRUHOLQHV
   46RDWQRSRLQWKDYH\RXUHOLHGRQ\RXURZQ            GRZQLWVD\VIRURXUDQDO\VLVSDWLHQWVZKRRWKHUZLVHPHW
   RSLQLRQIRUDQ\PHQWDOKHDOWKHYDOXDWLRQIRU                   :3$7+62&FULWHULDUHFHLYHGRQHOHWWHURIVXSSRUWIURP
   HOLJLELOLW\"                                                   WKH&706PHQWDOKHDOWKSURYLGHU5LJKW"<RXZRXOG
   $7KDW VFRUUHFW                                       DJUHHZLWKPHZRXOG\RXQRWWKDWWKHRQO\OHWWHURI
   42ND\                                                 VXSSRUWIRUDPHQWDOKHDOWKSURYLGHUUHTXLUHGE\\RXU
   ,MXVWZDQWHGWRXQGHUVWDQGWKDWFOHDUO\6R         SURWRFROVLVIURPDPHQWDOKHDOWKSURYLGHUZLWKLQ\RXU
   EDFNWRPHQWDOKHDOWKGDWD,QVD\VLQWKH:3$7+FROXPQ       HPSOR\PHQW"
   WKDWWZROHWWHUVRIVXSSRUWIURPPHQWDOKHDOWKSURYLGHUV       $77251(<%/2&.2EMHFWLRQWRQRWUHDGLQJ
   DUHUHTXLUHG,QWKLVSDSHU\RXVWDWHRQWKHQH[WSDJH       WKHFRPSOHWHVHQWHQFH



                                                                                       3DJHVWR
                                                                                                     Armistead App. 0663
                                                 3DJH                                                         3DJH
    7+(:,71(666R\HV6RPD\EHOHWPH           $,GR
    MXVWVKRZPHWKHZRUGLQJDJDLQ                             4$QG\RXXQGHUVWDQGZHOOGRFXPHQWHGJHQGHU
    %<$77251(<%522.6                                             G\VSKRULDWREHUHIHUULQJWRDJHQHUDOGLDJQRVLVXQGHU
    4<HV)RURXUDQDO\VLVDQG, PEHJLQQLQJDW        WKH'609FULWHULD"
    SHUKDSVHLJKWOLQHVGRZQ                                       $6RIRU:3$7+ VSXUSRVHV,WKLQNWKH\DUH
    $2XUDQDO\VLV\HV                                     VSHFLILFDOO\UHIHUULQJWRWKH'60GLDJQRVLV
    43DWLHQWVZKRRWKHUZLVHPHW:3$7+62&FULWHULD        4,Q\RXUFOLQLF\RXDUHZLOOLQJWRDSSURYHIRU
    UHFHLYHGRQHOHWWHURIVXSSRUWIURPWKH&706PHQWDO             WKLV, PQRWVXUHKRZWRDFWXDOO\VD\WKHZRUG
    KHDOWKSURYLGHUGRLQJWKHDVVHVVPHQWSHULRGFORVHG            YDJLQRSODVW\VXUJHU\LQGLYLGXDOVZKRGRQRWVXIIHUIURP
   TXRWHG                                                        SHUVLVWHQWZHOOGRFXPHQWHGJHQGHUG\VSKRULD
   'R\RXVHHWKDW"                                      &RUUHFW"
   $,GR\HV                                            $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   4$VWKHWHUPLVJHQHUDOO\XQGHUVWRRGLQ\RXU           7+(:,71(666RLI\RXORRNWKHOLVWRI
   ILHOGD&706PHQWDOKHDOWKSURYLGHULVQRWLQGHSHQGHQW        WKHFULWHULDIRU0RXQW6LQDLWKHQWKHSKUDVLQJLVD
   OHWPHXVHWKHFRUUHFWWHUPLQRORJ\LVQRWDQ              FRQILUPDWLRQWKDWWKLVSHUVRQIRUDOOLQWHQWVDQG
   LQGHSHQGHQWPHQWDOKHDOWKSURYLGHU"                            SXUSRVHVWKDWWKLVSHUVRQLVWUDQVJHQGHUDQGZLWKWKH
   $6RLQDFOLQLFVHWWLQJ,GRQ WNQRZWKDWWKH          ODQJXDJHDQGHYROXWLRQZHXVHWKDWZRUGJHQGHUG\VSKRULD
   ZRUGLQGHSHQGHQWDFWXDOO\KDVWKHVDPHPHDQLQJDVLQ           DQGZHDOVRXVHWKHQHZZRUGWKDWZLOOUHSODFHJHQGHU
   VRPHRWKHUFRQWH[W6RHYHQD:3$7+UHTXLUHPHQWLVQ W         G\VSKRULDJHQGHULQFRQJUXHQFHDVWKHWHUPV,
   QHFHVVDULO\WKDWLWZRXOGEHDQXQDIILOLDWHGSHUVRQRU,       UHIHUHQFHGEHIRUHWUDQVJHQGHU
   GRQ WNQRZZKDW\RXZHUHWKLQNLQJLQGHSHQGHQWPLJKWPHDQ       %<$77251(<%522.6
   KHUHVR,GRQ WZDQWWRSXWZRUGVLQ\RXUPRXWKRU            4$QGWKHHIIHFWRIWKDWLV\RXGRQRWUHTXLUHD
   FRQMHFWXUHWRRPXFK%XWZKHQZHVD\LQGHSHQGHQWZH           GLDJQRVLVRIJHQGHUG\VSKRULDXQGHUWKHWHUPVRI'609
   MXVWPHDQWZRGLIIHUHQWSHRSOH                                &RUUHFW"


                                                 3DJH                                                         3DJH
    4%XWLQIDFWWKHOHWWHURIVXSSRUWIURPWKH&706       $77251(<%/2&.2EMHFWLRQWRIRUP
    PHQWDOKHDOWKSURYLGHUWKDW\RXUHIHUWRLQWKLV                7+(:,71(666RWKH\HDKLIZHKDG
    SDUDJUDSKDWWKHWRSRIFROXPQRQHRISDJHDFWXDOO\         RXUGUXWKHUVZKLFKLV,WKLQN\RXDUHDVNLQJDQGZH
    SOD\VQRUROHLQ\RXUGHWHUPLQDWLRQDVWRZKHWKHUWKLV          GLGQRWDQGZHZHUHQ WVLPSO\VDWLVI\LQJDWKLUG
    SDWLHQWLVHOLJLEOHIRUVXUJHU\                                SDUW\SD\RUZRXOGZHLQVLVWRQWKDWIRUPDO'609
    &RUUHFW"                                               FULWHULDIRUDSHUVRQZHRWKHUZLVHNQRZWREH
    $77251(<%/2&.2EMHFWLRQWRIRUP              WUDQVJHQGHU":HZRXOGQRW
    7+(:,71(666R\HV, PFRQIXVHGE\           %<$77251(<%522.6
    WKHTXHVWLRQ                                                   4$QGLQIDFW\RXGRQRW
   %<$77251(<%522.6                                            &RUUHFW"
   4, PFRQIXVHGE\WKHWH[W7KHILQDOSDUDJUDSK        $77251(<%/2&.2EMHFWLRQWRIRUP
   VHQWHQFHLQWKDWSDUDJUDSKUHDGVWKHVHOHWWHUVRI          7+(:,71(66:HOODVDSUDFWLFDO
   VXSSRUWZHUHXVHGWRVDWLVI\WKLUGSD\RUUHTXLUHPHQWVWR       PDWWHUOLNH,VDLGZHOLYHLQDXQLYHUVHZKHUHZHHQG
   FRYHUVXUJHU\DQGZHUHQRWSDUWRIWKH&706DVVHVVPHQW"        XSGRLQJERWKZKDWZHVXJJHVWLVWKHQHFHVVDU\DSSURDFK
   $2K\HDKWKDW VDJRRGSRLQW7KHOLWHUDO           DQGZHHQGXSEHFDXVHZHVWLOOOLYHLQWKHXQLYHUVH
   OHWWHULVEHFDXVHZHDUHDOOLQKRXVHWKHRSLQLRQRIWKH       WKDWZHOLYHLQVDWLVI\LQJWKHRWKHUDSSURDFKHYHQ
   SHUVRQLVRIFRXUVHLPSRUWDQWDQGVRWKHVFUHHQWDNHV        WKRXJKZH UHVXJJHVWLQJWKDWLW VFXPEHUVRPH
   SODFH%XWWKHQHHGWRFUHDWHWKHEXUHDXFUDWLFRI         %<$77251(<%522.6
   FUHDWLQJDVSHFLILFOHWWHULVRQHRIWKHEXUGHQVWKDWZH       4'U6DIHU\RXWHVWLILHGHDUOLHUWKDWLQIDFW
   DUHVXJJHVWLQJFRXOGEHUHPRYHG                               LQSDWLHQWV\RXUFOLQLFGHWHUPLQHGWKH\ZHUHVXUJHU\
   4,QWDEOHRQHOHWPHILQGWKLV8QGHUPHQWDO         HOLJLEOHHYHQWKRXJKWKH\GLGQRWVDWLVI\WKH62&
   KHDOWK:3$7+62&UHTXLUHVTXRWHSHUVLVWHQWZHOO           FULWHULDOLVWHGLQFROXPQRQHRIWDEOHRQH"
   GRFXPHQWHGJHQGHUG\VSKRULD                                   $5LJKW6RWKH\DUHQRWVRWKH\ZRXOGEH
   'R\RXVHHWKDW"                                      WKH\WKHRUHWLFDOO\ZRXOGEHHOLJLEOHZLWKRXWKDYLQJ


                                                                                      3DJHVWR
                                                                                                                Armistead App. 0664
                                                        3DJH                                                              3DJH
    VDWLVILHGWKHVRPHRIWKRVHVSHFLILF:3$7+FULWHULD           $:HOOLWLVWKHFLUFXPVWDQFHWKDWVRPHSHRSOH
    WKDWZHGLVFXVVHG%XWLQSUDFWLFHQRERG\ZHQWWR                PRUHVRRXWVLGHRI1HZ<RUNVRPHWUDQVJHQGHUSHRSOH
    VXUJHU\ZLWKRXWFRYHULQJERWKVHWVRIFULWHULD                   VWLOOGRQRWKDYHDFFHVVWRFDUHIRUWRJHQGHU
    4,VQ WWKHSUHFLVHUHVXOWVUHSRUWHGE\WKLVSDSHU         DIILUPLQJFDUHDQGGRJHWVRPHRIWKHLUWUHDWPHQWE\
    WKDWSDWLHQWVZHUHGHHPHGVXUJHU\DSSURYHGZKRGLG             DOWHUQDWLYHPHDQV$QGLIWKHUHLVDQLQVLVWHQFHRQD
    QRWTXDOLI\XQGHU:3$7+FULWHULD"                                 GRFXPHQWHGPRQWKFRQWLQXRXVKRUPRQHWKHUDS\
    $%XW,JXHVVWKHERWWRPOLQHRIWKHSDSHULVWKDW         UHTXLUHPHQWWKHQWKRVHSHRSOHPLJKWQRWEHDEOHWREH
    LIZHIROORZHGRXURXUUXOHVDORQHZHZRXOG                  DSSURYHGIRUVXUJHU\
    DFWXDOO\FRYHUPRUHGHWDLOVDQGEHPRUHFRQVHUYDWLYHLQ           4,QHHGWRDVN\RXWRFODULI\ZKDW\RXPHDQE\
   RXUDSSURDFKLIDORQJHUOLVWRIFULWHULDDQGZHZRXOG           REWDLQLQJE\DOWHUQDWHPHDQV"
   GRVRPRUHTXLFNO\7KDW VDOOWKHSDSHUVD\V,W              $:HKDYHSHRSOHJHWWLQJKRUPRQHVIURPLQWHUQHW
   GRHVQ WVD\WKDWZHKDYHWKDWZHKDYHDFWLYHO\               SURYLGHUV:HKDYHSHRSOHLQDSSURSULDWHZHOO,
   GHILHGWKHH[LVWLQJXQLYHUVHDQGVHQWSHRSOHWRVXUJHU\          DSRORJL]H,GRQ WZDQWWRPDNHDYDOXHMXGJPHQWWKHUH
   ZLWKRXWFRYHULQJWKHFULWHULDWKDWDUHJHQHUDOO\EHLQJ           EXWZHKDYHSHRSOHJHWWLQJKRUPRQHVIURPIULHQGVRU
   XVHGE\GRFWRUV                                                 FRQQHFWLRQVRIWKHLUVWKLQJVRXWVLGHWKHV\VWHP
   4$QGE\WKHZD\WKHVXUJHU\ZH UHWDONLQJDERXW        46R\RXKDYHVRPHSHRSOHFRPHWR\RXZKRKDYH
   YDJLQRSODVW\LQWKHFRQWH[WZKHUHLWLVEHLQJXVHGIRU          HIIHFWLYHO\VHOIGLDJQRVHGDQGVHOISUHVFULEHG
   JHQGHUDIILUPLQJSXUSRVHVLQYDULDEO\LQFOXGHV                   $77251(<%/2&.2EMHFWLRQ
   FDVWUDWLQJWKHLQGLYLGXDO                                       %<$77251(<%522.6
   &RUUHFW"                                                4KRUPRQHWKHUDSLHV"
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG            $77251(<%/2&.2EMHFWLRQWRIRUP
   IRXQGDWLRQ                                                      7+(:,71(666RZKHQZHDUHVHHLQJ
   7+(:,71(666RDYDJLQRSODVW\LVD              SHRSOHIRUVXUJHULHVWKHQLWLVQRORQJHUDPDWWHURI
   JHQLWDOUHFRQVWUXFWLRQVXUJHU\ZKLFKLQWKLVFRQWH[WLV         VHOIGLDJQRVLVEHFDXVHZHVHHWKHPRXUVHOYHVZLWKRXU


                                                        3DJH                                                              3DJH
    WDNLQJWKHH[LVWLQJW\SLFDOO\W\SLFDOPDOHJHQLWDOLD          LQWHUQDOWHDP%XWWKHUHDUHSHRSOHZKRKDYH
    DQGUHFRQILJXULQJLWLQWRW\SLFDOO\IHPDOHJHQLWDOLD             VHOISUHVFULEHGWKHLUKRUPRQHVRUREWDLQHGWKHPE\
    $QGLQWKDWLQWKHSURFHGXUHWKHWHVWHVDUHUHPRYHG          QRQFRQYHQWLRQDOPHDQVWKDWSDUW\HV
    %<$77251(<%522.6                                               %<$77251(<%522.6
    47KH\ UHQRWUHFRQILJXUHG"                                4$QGZKHQSHRSOHFRPHLQZKRKDYHREWDLQHG
    $7KH\DUHQRWUHFRQILJXUHG                               KRUPRQHVE\QRQFRQYHQWLRQDOPHDQVDQGWDNHQWKHPZLWKRXW
    4/HWPHDVN\RXFROXPQRQHLWVD\VDERXW            SUHVFULSWLRQQHFHVVDULO\\RXFKRVHWRUHPRYHWKH
    WZRWKLUGVRIWKHZD\GRZQDWWKHHQGRIWKHSDUDJUDSK           UHTXLUHPHQWIRUPRQWKVSURSHUO\SUHVFULEHGFRQWLQXRXV
    WKDWEHJLQVPHGLFDOUHTXLUHPHQWVIRUWKH0RXQW6LQDL              KRUPRQHWKHUDS\UDWKHUWKDQLQVLVWLQJWKDWWKHSDWLHQWV
   &706",ZDQWWRGLUHFW\RXURSLQLRQ\RXUDWWHQWLRQ          XQGHUJRFRQWURORIKRUPRQHWKHUDS\IRUPRQWKVEHIRUH
   WRWKHILQDOVHQWHQFH                                           \RXRSHUDWHRQWKHP"
   $6RZKLFKSDUDJUDSKFROXPQRQH                         $77251(<%/2&.2EMHFWLRQWRIRUP
   4&ROXPQRQHWKHSDUDJUDSKWKDWEHJLQVKDOIZD\           7+(:,71(666RWRFODULI\DJDLQWKHVH
   GRZQPHGLFDOUHTXLUHPHQWV"                                      DUHZHDUHSURSRVLQJWKDWWKLVZRXOGEHWKH
   $<HV                                                    SURWRFRO,QSUDFWLFHZHKDYHQRWEHHQDEOHWRGR
   41RZOHW VMXPSWRWKHHQG7KH0RXQW6LQDL            WKLVWKDWLVZHKDYHKDGWRGRERWK%XWLQRXU
   FULWHULDDOVRUHPRYHGWKHPRQWKFRQWLQXRXVKRUPRQH            H[SHULHQFHDVDSURJUDPZHGRQ WVHHDQ\EHQHILWWRD
   WKHUDS\UHTXLUHPHQWIRUWKHYDJLQRSODVW\ZKLFK                   VXSHUYLVHGDVXSHUYLVHGUHJLPHQWKDWLVZHDUHQRW
   FRPSOLFDWHVPDWWHUVIRUSHRSOHZKRKDYHUHFHLYHGKRUPRQH         , OOMXVWOHDYHLWWKHUH
   WKHUDS\IURPQRQPHGLFDOSURYLGHUV                              %<$77251(<%522.6
   'R\RXVHHWKDWODQJXDJH"                               4:3$7+LQWDEOHRQHUHTXLUHVWKDWDOOSV\FKLDWULF
   $,GR                                                   V\PSWRPVEHTXRWHZHOOFRQWUROOHG
   4([SODLQWRPHWKHUHIHUHQFHIRUSHRSOHZKRKDYH         &RUUHFW"
   UHFHLYHGKRUPRQHWKHUDS\IURPQRQPHGLFDOSURYLGHUV"             $7KH\XVHWKDWODQJXDJH\HV



                                                                                               3DJHVWR
                                                                                                     Armistead App. 0665
                                                 3DJH                                                         3DJH
    4$QGWKHODQJXDJHXQGHUWKH&706FROXPQLVUDWKHU       4'U6DIHU\RXWHVWLILHGHDUOLHUDQG,WKLQN
    GLIIHUHQW$PRQJRWKHUWKLQJVLWVD\VQRVXLFLGH               , PXVLQJWKHZRUGWKDW\RXXVHGWKDWLI\RXUFOLQLFKDG
    DWWHPSWLQWKHODVWVL[PRQWKV'R\RXVHHWKDW"               LWVGUXWKHUVWKH\ZRXOGEHIROORZLQJRUPDNLQJGHFLVLRQV
    $/HWPHILQGLW:H UHLQWKHWDEOHULJKW"            VWULFWO\EDVHGRQWKHFULWHULDWKDWDUHODLGRXWLQWKLV
    4:HDUHLQWKHPHQWDOKHDOWKVHFWLRQXQGHU&706         SDSHU([KLELWXQGHUWKHKHDGLQJRI0RXQW6LQDL
    FROXPQ"                                                         &706
    $<HV                                                   &RUUHFW"
    41RVXLFLGHDWWHPSWLQWKHODVWVL[PRQWKV%XW        $<HV
    LIWKHSDWLHQWWULHGWRFRPPLWVXLFLGHVHYHQPRQWKVDJR        4$QGFDQ,LQIHUIURPWKDWWKDW\RX\RXUVHOI
   WKDW VRND\"                                                   GRQ WYLHZWKH:3$7+62&DVVHWWLQJRXWVFLHQWLILFDOO\
   $77251(<%/2&.2EMHFWLRQWRIRUP             HVWDEOLVKHGEHVWSUDFWLFHVEXWUDWKHUUHFRPPHQGDWLRQVRQ
   7+(:,71(666RWKHSRLQWKHUHDQGWKH         ZKLFK\RXXVHGLIIHUHQW"
   GLVWLQFWLRQLVWKDWWKH:3$7+FULWHULDDUHWRRYDJXH          $77251(<%/2&.2EMHFWLRQWRIRUP
   DQGVRZKDW\RXDUHREVHUYLQJZLWKWKH0RXQW6LQDL             7+(:,71(661R,ZRXOGQRWVD\WKDW
   FULWHULDLVWKH\ UHPXFKPRUHJUDQXODU$QGUDWKHUWKDQ       6R62&VHWVRXWWKHJXLGHOLQHVDVWKLQJVZHUH
   OHDYLQJVRPHWKLQJWRVRPHVXEMHFWLYHLQWHUSUHWDWLRQZH         XQGHUVWRRGLQDQGDQGZHKDYHOHDUQHG
   GHILQHVRPHRIWKHVSHFLILFVWRPDNHLWFOHDUHURQZKDW        ZH YHOHDUQHGDQGWKLQJVKDYHHYROYHGVLQFHWKHQLQ
   WKHJXLGHOLQHVVKRXOGEH                                      WHUPVRIWKHFDUHRIWUDQVJHQGHUSHRSOH
   %<$77251(<%522.6                                            %<$77251(<%522.6
   4<RXUHIHUKHUHLQ\RXUJXLGHOLQHWRQRVXLFLGH        4'LG\RXKDYHDQ\SDUWLFLSDWLRQLQWKH
   DWWHPSWLQWKHODVWVL[PRQWKV,IDSDWLHQWKDV              GHYHORSPHQWRIWKH62&JXLGHOLQHV"
   HQWHUWDLQHGVXLFLGDOWKRXJKWVEXWPDGHQRDWWHPSWLQWKH       $,KDGYHU\PLQLPDOSDUWLFLSDWLRQ,KHOSHG
   ODVWVL[PRQWKVGLGWKDWSDWLHQWSRWHQWLDOO\VDWLVI\          UHYLHZVRPHDUWLFOHVWKDWLQIRUPHGWKRVHJXLGHOLQHV
   WKH0RXQW6LQDLFULWHULD"                                      47KRVHJXLGHOLQHVGLG\RXKDYHDQ\


                                                 3DJH                                                         3DJH
    $6RWKDWNLQGRIGHFLVLRQZRXOGEHDWWKH               IDPLOLDULW\ZLWKWKHSURFHVVRIKRZWKH\ZHUHEHLQJ
    GLVFUHWLRQRIWKHUHYLHZLQJPHQWDOKHDOWKSURIHVVLRQDO         GUDIWHG"
    WKHSV\FKLDWULVWRUWKHSV\FKRORJLVWDQGVR\RXFDQ            $, PWU\LQJWRWKLQNLI,FDQVD\WKLQJV
    FHUWDLQO\HQYLVLRQGLIIHUHQWFLUFXPVWDQFHV6RHYHQ            XVHIXOO\,ZDVQRWFORVHHQRXJKWRWKHSURFHVVWKDWZH
    JRLQJEDFNWR\RXUH[DPSOHRIVHYHQPRQWKV\RXFRXOG           ZRXOGZDQWWKDW,ZRXOGZDQWWRVWDUWFRPPHQWLQJRQ
    HQYLVLRQWKDWVRPHWKLQJOLNHWKDWPLJKWEHFRQVLGHUHG          4'R\RXNQRZZKHWKHUWKH\DGGUHVVHGLVVXHVRQ
    GHSHQGLQJXSRQWKHSHUVRQWRRXQVWDEOHHYHQWKRXJKWKH\        ZKLFKRSLQLRQVZLWKLQWKHGUDIWLQJFRPPLWWHHGLIIHUHG"
    WHFKQLFDOO\PHWFULWHULD7KLVLVQ WMXVWDFKHFNER[         $,FDQ WFRPPHQWRQ62&:HDUHOLWHUDOO\
    ,WLVPRUHDJXLGHOLQH$QGVLPLODUO\WR\RXUSRLQW           ZULWLQJ62&QRZ
   DERXWDVXLFLGDOLGHDWLRQWKHUHDUHGLIIHUHQWWLHUVRI        4$QGRQWKDWDUHWKHUHLVVXHVWKDWWKH62&LV
   WKHP$QG,ZRQ WFODLPWREHDQH[SHUWRQWKH                DGGUHVVLQJRQZKLFKRSLQLRQVVLJQLILFDQWO\GLIIHU"
   VSHFLILFVWKHUHEXWP\PHQWDOKHDOWKSURIHVVLRQDOVDUH        $<HV
   PRUHFRQFHUQHGDERXWVRPHRIWKRVHWKDQRWKHUV                46RLW VQRWWKDWHYHU\DVSHFWRIWKHJXLGHOLQHV
   $77251(<%522.67DNHDEUHDN                 DUHXQDQLPRXVO\DJUHHGE\HYHU\PHPEHU"
   9,'(2*5$3+(57KHFXUUHQWWLPHUHDGV           $77251(<%/2&.2EMHFWLRQWRIRUP
   SP(DVWHUQ6WDQGDUG7LPH                               7+(:,71(666RZLWKPHGLFDOJXLGHOLQHV
   2))9,'(27$3(                                                  LQJHQHUDOWKHUHLVQ WWKDWXQDQLPLW\ZRXOGQ WEHD
                                   WKLQJ7KH\ UHUHIHUUHGWRDVFRQVHQVXVGRFXPHQWV
    :+(5(8321$6+257%5($.:$67$.(1                           UDWKHUWKDQXQDQLPRXVGRFXPHQWV
                                   %<$77251(<%522.6
   219,'(27$3(                                                   4$QGZKDWWKDWWHOOVXVLVWKDWWKHUHLVWKDW
   9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG       UHDVRQDEOHSHRSOHGLIIHURQDWOHDVWVRPHDVSHFWVRI
   7KHFXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH           ZKDWLVVHWIRUWKLQWKHGRFXPHQW"
   %<$77251(<%522.6                                            $77251(<%/2&.2EMHFWLRQWRIRUP


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0666
                                                 3DJH                                                         3DJH
    7+(:,71(66,QDOOJXLGHOLQHV                 LQYROYHGDVDUHVXOWRIJHQGHUDIILUPLQJVXUJHULHV
    LQFOXGLQJWKHVHPHPEHUVRIWKHFRPPLWWHHHYHQGLIIHULQ        SHUIRUPHGE\\RXUFOLQLFLQWKHODVW\HDU"
    WHUPVRIKRZWKLQJVDUHIUDPHGDQGZKHQFRQVHQVXVLV            $6RGR,NQRZVRPHRIWKHILQDQFLDOHOHPHQWV"
    REWDLQHGEXWQRWXQDQLPLW\                                    4&RUUHFW
    %<$77251(<%522.6                                             $6R,GRNQRZVRPHRIWKHILQDQFLDOHOHPHQWVEXW
    4+RZPDQ\JHQGHUSHUIRUPLQJVXUJHULHVRUJHQGHU         QRWKLQJWKDWWKHKRVSLWDOZRXOGDOORZPHWRVKDUH
    DIILUPLQJVXUJHULHVZHUHSHUIRUPHGLQ\RXUFOLQLFLQ            4<RXUFRXQVHOFDQGHVLJQDWHLWDVFRQILGHQWLDO
    "                                                           ODWHURQVRLWGRHVQ WEHFRPHSXEOLFEXW\RXDUH
    $,QDOOWKHUHZHUHDFFRUGLQJWRWKH          REOLJHGWRDQVZHUWKHTXHVWLRQ
   1HZ<RUN7LPHVDERXWWRWDOVXUJHULHVSHUIRUPHGDW       $77251(<%/2&., PQRW
   0RXQW6LQDLKRVSLWDOVLQFOXGLQJHYHU\WKLQJZHGR6R         %<$77251(<%522.6
   WKDWZRXOGQ WMXVWEHYDJLQRSODVW\7KDWZRXOGLQFOXGH        4, PHQWLWOHGWRXQGHUVWDQG\RXUILQDQFLDO
   FKHVWUHFRQVWUXFWLRQVXUJHULHVUHYLVLRQVRIROGHU             LQWHUHVWLQWKHDUHDRI\RXUWHVWLPRQ\
   VXUJHULHVHWFHWHUD                                          $77251(<%/2&.:HDUHQRWUHSUHVHQWLQJ
   4:HOO\RXTXRWHWKH1HZ<RUN7LPHV:KHUHGLG        KLPLQWKHFRQWH[WRIDQ\OHJDOGLVSXWHZLWK0RXQW
   WKH\JHWWKHLQIRUPDWLRQ"                                      6LQDL
   $,VXSSRVHWKHVRXUFHVLVXV                          $77251(<%522.6,DPHQWLWOHGWR
   4<RXEHOLHYHWKDWQXPEHUWREHDSSUR[LPDWHO\           XQGHUVWDQGWKHH[SHUW VILQDQFLDOLQWHUHVW$QG,
   DFFXUDWH"                                                      VXJJHVWWR\RX&RXQVHOWKDW\RX GUDWKHUKDYHPH
   $,WKLQNWKDW VULJKW                                 TXHVWLRQVDVNHGKHUHZKHUH\RXFDQGHVLJQDWHLWDV
   4,GRQ WWUXVWWKH1HZ<RUN7LPHVEXW\RXKDYHD      FRQILGHQWLDOWKDQDWWULDOLQDSXEOLFFRXUWURRP
   SDVV$QGQRZPD\RUPD\QRWKDYHEHHQDIIHFWHGE\       $77251(<%/2&.,W VQRWXSWRPH
   &29,'LQWHUPVRISDWLHQWVSUHVHQWLQJDQGZDQWLQJ              $77251(<%522.6<RXFDQFRQIHULI\RX
   VXUJHU\+DVWKHUHEHHQDFOHDUWUHQGLQQXPEHUVRI           ZDQWEHFDXVHWKDWZRXOGEHWKHDOWHUQDWLYH,I\RX


                                                 3DJH                                                         3DJH
    VXUJHULHVSHUIRUPHGE\\RXUFOLQLFRYHUWKHODVWILYH           ZDQWWRVWHSRXWDQGFRQIHUZLWK\RXUZLWQHVV\RX
    \HDUV"                                                          VKRXOGGRVR
    $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.,W VQRWXSWRPHWRVD\
    7+(:,71(666RWKHUHLVGHILQLWHO\DQ          ZKDWKHFDQDQGFDQ WVD\LQFRQWUDYHQWLRQZLWKDQ
    LQFUHDVHLQWKHQXPEHURIVXUJHULHVDW0RXQW6LQDLRYHU         DJUHHPHQWZLWKKLVHPSOR\HUDQGVR,WKLQNLI\RXZDQW
    WKHSDVWILYH\HDUV8QIRUWXQDWHO\H[SHFWDWLRQLVWKH         WROLNHREWDLQOLNHD3URWHFWLYH2UGHU\RXNQRZZLWK
    FKDOOHQJH:HRSHQHGWKHSURJUDPLQVRURXJKO\           KLP
    WKRVHILYH\HDUV$QGFHUWDLQO\WKHILUVWIHZ\HDUV            $77251(<%522.6:HKDYHD3URWHFWLYH
    ZHUHTXLHWHUDVWKHUHSXWDWLRQJUHZ,QQXPEHUV          2UGHULQSODFH&RXQVHO
   ZHUHGRZQEHFDXVHZHKDGWRGLYHUWUHVRXUFHVWRWDNLQJ         $77251(<%/2&.,NQRZ, PQRW
   FDUHRISHRSOHZLWK&29,'2XUJURXSLQFOXGLQJP\VHOI       UHSUHVHQWLQJKLPLQWKDWFDSDFLW\WKRXJK6RLI\RX
   OLWHUDOO\GURSSHGZKDWZHZHUHGRLQJIRUDSHULRGRI           ZDQWWRLQWHUIDFHZLWKKLVDWWRUQH\WKURXJK0RXQW6LQDL
   WLPHWRJREHFRPH&29,'KRVSLWDOHPSOR\HHVDQGVRWKHUH       WKHQ\RXFDQEXW,GRQ WKDYHDQDWWRUQH\FOLHQW
   ZDVDGLSWKHUHLQDVDOLWWOHELWRIDUHERXQG           UHODWLRQVKLSZLWKKLPIRUSXUSRVHVRIDQ\HPSOR\PHQW
   HOHPHQWWRLW                                                 GLVSXWHV
   %<$77251(<%522.6                                            $77251(<%522.6$UH\RXLQVWUXFWLQJWKH
   4$UH\RXDEOHWRJLYHPHDQ\DYHUDJHWRWDO             ZLWQHVVQRWWRDQVZHU"
   UHFHLSWVRI\RXUFOLQLFRUWKHKRVSLWDODVDZKROHDQG         $77251(<%/2&.1R, PQRW
   DVVRFLDWHGSK\VLFLDQVIURPJHQGHUDIILUPLQJVXUJHULHV          $77251(<%522.6$UH\RXUHIXVLQJWR
   SHUIRUPHGZLWKLQ"                                         DQVZHU"
   $, PVRUU\VD\WKDWDJDLQ                            7+(:,71(66,ZRXOGQ WEHDEOHWR
   4/HWPHMXVWDVNWKLVDJDLQ'R\RXKDYHDQ\          DQVZHUZLWKRXWLQFOXGLQJWKHKRVSLWDOODZ\HUV
   NQRZOHGJHDVWKHWRWDODVWRWKHWRWDOUHFHLSWVRI         %<$77251(<%522.6
   \RXUFOLQLFRUWKHZLGHUKRVSLWDODQGSK\VLFLDQV               4&DQ\RXWHOOPH"


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0667
                                                 3DJH                                                         3DJH
    $77251(<75<217KLVLV'DYH7U\RQ, P        UHFHLYHVIRUSDWLHQWVZKRDUHVHHNLQJJHQGHUDIILUPLQJ
    VRUU\                                                      VXUJHU\LQWKHFOLQLF"
    $77251(<%522.6*RDKHDG                      $:HGRQ WFKDUDFWHUL]HLWWKDWZD\7KHUH VD
    $77251(<75<210D\,MXVWDOVRVD\WKDW        WKHUH VDZLGHUDQJHRIUHLPEXUVHPHQWVRUODFNRI
    ,WKLQNLIWKHZLWQHVVLVQRWZLOOLQJWRGLVFORVHKLV           UHLPEXUVHPHQWVDFURVVPHGLFLQH$QGJHQGHUDIILUPLQJ
    ILQDQFLDOLQWHUHVWKHUHWKDWWKDWZRXOGEHJURXQGVWR          FDUHLQFOXGHVTXLWHWKDWHQWLUHUDQJHDFWXDOO\IURP
    GLVTXDOLI\KLPDVDZLWQHVVZKLFKRQEHKDOIRIWKH             PHQWDOKHDOWKZKLFKLVXQGHUUHLPEXUVHGWRWKH
    VWDWH,ZRXOGOLNHO\SXUVXH6R,ZRXOGUHVSHFWIXOO\           VXUJHULHVZKLFKDUHZKHUHWKHUH VPRUHPRQH\
    UHTXHVWWKDWKHDQVZHUWKHTXHVWLRQ                            4, YHEHHQZDLWLQJWRKHDUWKHIOLSVLGHRIWKDW
   $77251(<%/2&.'DYHRQZKDWEDVLVLV         $6R\HVVRZHKDYHWKDWVR,GRQ WWKLQN,
   WKDWJURXQGVWRKHKDVGLVFORVHGHYHU\WKLQJUHTXLUHG       FRXOGJLYH,ZRXOGQ WHYHQZHUH,DOORZHGE\WKH
   E\WKHUXOHV<RX UHDVNLQJIRUKHKDVQRILQDQFLDO       KRVSLWDOWRJLYH\RXWKHVSHFLILFV,GRQ WNQRZWKDW,
   LQWHUHVWLQWKLVOLWLJDWLRQ                                   ZRXOGEHDEOHWRGRWKDWRQDSHUSDWLHQWEDVLV
   $77251(<%522.6:HGRQ WQHHGWRDUJXH        4&DQ\RXWHOOPH\RXUWRWDOSHUVRQDOLQFRPHLQ
   WKHPRWLRQULJKWQRZ7KHPRWLRQVHHPVOLNHO\WKH            IURPLQDQ\ZD\UHODWHGWR\RXUZRUNLQ
   PRWLRQZLOOEHEULHIHGEXWZHGRQ WZHJRWQR-XGJH       FRQQHFWLRQZLWK\RXUHPSOR\PHQWDW0RXQW6LQDL"
   KHUHZH UHQRWJRLQJWREHGHFLGLQJ                      $6RLVWKLVVRPHWKLQJWKDW, PDQVZHULQJ"
   $77251(<%/2&.,I\RXZDQWWRILOHD          $77251(<%/2&., PVRUU\FRXOG\RX
   VXESRHQDDVDWKLUGSDUW\VXESRHQDIRUWKDWLQIRUPDWLRQ        UHVWDWHWKHTXHVWLRQ"
   ZLWKD&RXUW2UGHUWKDQ\RX UHIUHHWRGRVR+HLV          7+(:,71(66+H VDVNLQJIRUP\
   DSSHDULQJKHUHDVDQH[SHUWZLWQHVVRQKLVH[SHUW              \RX UHDVNLQJIRUP\VDODU\"
   WHVWLPRQ\6R\RXKDYHSOHQW\RIGLVFRYHU\WRROVWR           %<$77251(<%522.6
   REWDLQWKDWLQIRUPDWLRQ$QGZH UHQRWKLVFRXQVHOIRU        4, PDVNLQJIRU\RXUWRWDOLQFRPHLQDQ\ZD\
   WKDW                                                          LQLQDQ\ZD\DVVRFLDWHGZLWKWKHFOLQLFDW


                                                 3DJH                                                         3DJH
    $77251(<%522.6,GRKDYHGLVFRYHU\            0RXQW6LQDL"
    WRROVLQFOXGLQJDVNLQJKLPTXHVWLRQVDWWKLV                   $6RZH UHUXQQLQJLQWRVR, PVLPSO\RQ
    GHSRVLWLRQ, YHDWWHPSWHGWRGRVR<RXKDYHQRW             VDODU\EXWWKHVSHFLILFVRIWKDWDUHDOVRVRPHWKLQJ
    LQVWUXFWHGKLPQRWWRDQVZHU7KHZLWQHVVKDVUHIXVHG          ZKHUH,ZRXOGQHHGWRLQFOXGHWKH0RXQW6LQDLODZ\HUV
    WRDQVZHU7KHUHFRUGLVFOHDU                                EHFDXVHWKDW VSDUWRIWKHLUSUDFWLFHDQG,ZRXOGKDYH
    %<$77251(<%522.6                                             WRGHIHUWRWKHP
    4/HWPHDVN\RXDERXWSHUVRQDOO\'RHV\RXURZQ        4<RXGHFOLQHWRDQVZHUWKHTXHVWLRQDERXW\RXU
    LQFRPHRUDQ\ERQXV\RXUHFHLYHGHSHQGRQDQ\SDUWRI           RZQSHUVRQDOLQFRPH"
    WKHRYHUDOOUHYHQXHVRI\RXUSODQ"                              $<HV
   $,WGRHVQRW                                          $77251(<%522.6,ZRQ WWDNHWLPHWR
   4$QGGRHV\RXUSHUVRQDOLQFRPHFRQVLVWVWULFWO\        VSHDNXSRQLWEXW,ZLOOREMHFW
   RIDVDODU\RUDOVRDVDODU\SOXVIHHVDVVRFLDWHGZLWK         %<$77251(<%522.6
   VXUJHULHVSHUIRUPHG"                                           4,UHDGLQVRPHGRFXPHQWWKDW\RXUVSRXVHLVDQ
   $([FOXVLYHO\DVDODU\                                 HPSOR\HHRI3DUH[HOLI, PSURQRXQFLQJWKDWFRPSDQ\
   4$QG\RXULQFRPHGHSHQGVLQQRZD\RQKRZPDQ\         FRUUHFWO\
   VXUJHULHV\RX\RXUVHOISHUIRUP"                               ,VWKDWVWLOOWKHFDVH"
   $7KDWZHOO,GRQ WSHUIRUPVXUJHULHV, PQRW      $<HV
   DQHQGRFULQRORJLVW                                            4$QGGRHVWKDWFRPSDQ\GHULYHDQ\UHYHQXHVIURP
   43DUGRQPH                                            WKHVDOHVWHVWLQJFOLQLFDOWULDOVRIDQ\
   $%XWWKDW VULJKWLW VQRWUHYHQXHEDVHG             SKDUPDFHXWLFDOWKDWLVXVHGWRVXSSUHVVSXEHUW\RULV
   4,W VQRWUHYHQXHEDVHGLQDQ\ZD\"                    XVHGDVDFURVVVH[KRUPRQH"
   $,QDQ\ZD\7KDW VULJKW                            $,GRQ WNQRZWKHDQVZHU3DUH[HOLVDYHU\
   47KDWLVKHOSIXO'R\RXKDYHDQ\XQGHUVWDQGLQJ       ODUJHEDFNRIILFHRUJDQL]DWLRQVXSSRUWLQJFOLQLFDO
   DVWRWKHDYHUDJHUHYHQXHVSHUSDWLHQWWKDW\RXUFOLQLF        UHVHDUFKZLWKPDQ\FOLHQWV$QGVR\RXFDQHQYLVLRQ


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0668
                                                3DJH                                                         3DJH
    VRPHFRQQHFWLRQEXULHGLQWKHUHEXW,GRQ WNQRZ              7+(:,71(666RERWKRIWKHSDSHUV
    VSHFLILFV                                                     UHIHUHQFHUHYLHZVZLWKODUJHUELEOLRJUDSKLHVWKDW
    4)DLUHQRXJK                                          UHIHUHQFH\HWRWKHUSDSHUVWKDWVXSSRUWWKHVWDWHPHQW
    $77251(<%522.6/HWPHKDYH               $QGZKHQZH UHWDONLQJDERXWZKDW VLQIRUPLQJWKH
    %<$77251(<%522.6                                            VWDWHPHQWRIFRXUVHLVQRWOLPLWHGWRWKHVSHFLILF
    4/HWPHDVN\RXWRWXUQWRSDUDJUDSKLQ\RXU        SDSHUVUHIHUHQFHGVRWKDW VSDUWRIWKHUHDVRQZK\,
    H[SHUWUHSRUWDQGWKHUHLQWKHILUVWVHQWHQFH\RXZULWH       JDYHWKDWH[DPSOHIRUH[DPSOHWKHHQGRFULQHVRFLHW\ V
    DOWKRXJKWKHGHWDLOHGPHFKDQLVPVDUHXQNQRZQWKHUHLVD       IRUPDOVWDWHPHQWVRQWKHSURMHFWZKLFKLVDFRQVHQVXV
    PHGLFDOFRQVHQVXVWKDWWKHUHLVDVLJQLILFDQWELRORJLF         YLHZRIPRUHSHRSOHWKDQP\VHOIRIFRXUVH
   FRPSRQHQWXQGHUO\LQJJHQGHULGHQWLW\FORVHGTXRWH           $77251(<%522.6/HWPHPDUNDV
   'R\RXVHHWKDW"                                     ([KLELWDQDUWLFOHE\$UXQD6DUDVZDWDQGRWKHUV
   $1R,PLJKWKDYHSXOOHGWKHZURQJWKLQJRXW         HQWLWOHG(YLGHQFH6XSSRUWLQJWKH%LRORJLFDO1DWXUHRI
   :KLFK"                                                    *HQGHU,GHQWLW\IURPRIZKLFK'U6DIHULVRQHRI
   4,W VWKHH[SHUWUHSRUWQRWWKHUHEXWWDO"             WKHFRDXWKRUV
   $([SHUWUHSRUW$QGLW VZKLFKSDUDJUDSK"            $77251(<:,/.,16217DE
   43DUDJUDSK"                                        
   $2KVRUU\                                            :KHUHXSRQ([KLELW$UXQD6DUDVZDW
   47KLVLVZK\ODZ\HUVQXPEHUWKHLUSDUDJUDSKV         $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
   $7KDWLVZLVH$OOULJKW3DUDJUDSK             
   4, PMXVWFDOOLQJ\RXUDWWHQWLRQDQG,KDYH       %<$77251(<%522.6
   UHDGLQWRWKHUHFRUGWKHILUVWVHQWHQFHRIWKDW               4$QG'U6DIHULVWKDWDSDSHUWKDW\RX,
   SDUDJUDSK                                                    JXHVV,VHHE\SODFHPHQWKDGVXSHUYLVRU\
   $,VHHLW                                            UHVSRQVLELOLW\IRU"
   4$QGSLFNLQJXSRQRXUHDUOLHUGLVFXVVLRQDERXW       $<HV


                                                3DJH                                                         3DJH
    FRQVHQVXV:KHQ\RXVD\WKHUHLVDPHGLFDOFRQVHQVXV         4/HWPH,OHDUQHGVRPHWKLQJLQWKLV
    GR\RXPHDQWKDWDOOH[SHUWVLQWKHILHOGDJUHHRUGR          GHSRVLWLRQVRWKDWLVJRRG
    \RXPHDQWKDWLQ\RXUYLHZWKLVLVDPDMRULW\RSLQLRQ"         /HWPHFDOO\RXUDWWHQWLRQWRSDJHWZRDQG
    $77251(<%/2&.2EMHFWLRQWRIRUP             FROXPQWZRDQGLQWKHYHU\ERWWRPSDUDJUDSK
    7+(:,71(666RZKHQ,JXHVVVLPLODUWR        $77251(<%/2&., PVRUU\GLG\RXPHDQ
    ZKHQZHWDONHGDERXWJXLGHOLQHVLIWKHTXHVWLRQLVLV         "
    WKHUHXQDQLPLW\WKHQWKHUHLVQHYHUXQDQLPLW\VRWKHUH       $77251(<%522.6,GLGPHDQ,
    \RXJR                                                        DSRORJL]H7KDWLVDOVRWKHVHFRQGSDJH
    %<$77251(<%522.6                                            %<$77251(<%522.6
   42ND\                                                4,QWKHERWWRPILUVWFROXPQERWWRPSDUDJUDSK
   $,FDQEHDOLWWOHVWURQJHUWKRXJKEHFDXVHWKH      LWVWDWHVTXRWHKRZHYHULWLVLPSRUWDQWWRQRWHWKDW
   PDLQVWUHDPPHGLFDORUJDQL]DWLRQVKDYHYDULRXVVWDWHPHQWV      PRVWWUDQVJHQGHULQGLYLGXDOVGHYHORSDJHQGHULGHQWLW\
   LQWKLVVSDFH6RIRUH[DPSOHWKHHQGRFULQHVRFLHW\        WKDWFDQQRWEHH[SODLQHGE\DW\SLFDOVH[XDO
   ZKLFKLVWKHODUJHVWLQWHUQDWLRQDORUJDQL]DWLRQRI            GLIIHUHQWLDWLRQFORVHGTXRWH
   HQGRFULQRORJLVWVGRHVDFWXDOO\KDYHDVWDWHPHQWZKHUH         $6RWKLVLVFROXPQWZR
   WKHVXPRIWKHPRGHOLQJIRUJHQGHUDIILUPLQJFDUHLV          4&ROXPQRQH,I,PLVVSRNH,DSRORJL]H
   SUHIDFHGZLWKVWDWHPHQWVWKDWVXSSRUWWKLV                   $,FRXOGKDYHPLVXQGHUVWRRGDWWKLVKRXU
   4,QSURYLGLQJWKHEDVLVIRU\RXURSLQLRQWKDW         4$WWKHERWWRPSDUDJUDSK"
   WKHUHLVVXFKDFRQVHQVXV\RXFLWHRQO\WZRSDSHUVDQG       $+RZHYHULWLVLPSRUWDQWWRQRWH, PWKHUH\HV
   WKRVHRQO\SDSHUVWKDW\RXKDGZULWWHQ\RXUVHOI              4$OOULJKW
   'LG\RXFRQVLGHUWKRVHSDSHUVZULWWHQE\              &DQ\RXH[SODLQWRPHZKDWLVPHDQWE\WKH
   \RXUVHOIWRDGHTXDWHO\GRFXPHQWWKHH[LVWHQFHRIWKH          VWDWHPHQWWKDWPRVWWUDQVJHQGHULQGLYLGXDOVKDYHD
   PHGLFDOFRQVHQVXV"                                            JHQGHULGHQWLW\WKDWFDQQRWEHH[SODLQHGE\DW\SLFDO
   $77251(<%/2&.2EMHFWLRQWRIRUP            WUDQVJHQGHUGLIIHUHQWLDWLRQ"


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0669
                                                 3DJH                                                         3DJH
    $6RWKDWLVUHIHUHQFLQJLQWKLVFRQWH[WDWWKH         LQWHUPVRIWKHLUUHSURGXFWLYHDQDWRP\RULQWHUPVRI
    WLPHWKDWWKLVZDVZULWWHQWKHDQDWRP\JHQLWDOV              WKHLUFKURPRVRPHV6RWKDWLVKRZLWZDVGHILQHGDWWKH
    UHSURGXFWLYHVWUXFWXUHV                                        WLPH
    4$QGOHWPHMXVWIRUSXUSRVHVRIWHUPLQRORJ\       4:HOOWRGD\DQGXVLQJLGHQWLILDEOHWRPHDQ\RX
    \RXVDLGDWWKHWLPHWKLVZDVZULWWHQ7KLVLVDERXW           'RFWRUVDIHUDUHDEOHWRLGHQWLI\LWQRZQRW
    VHYHQ\HDUVDJRVL[\HDUVDJR"                                 K\SRWKHWLFDOO\LQWKHIXWXUHLWUHPDLQVWUXHWKDWWKH
    $\HV                                             RYHUZKHOPLQJPDMRULW\RIWUDQVJHQGHULQGLYLGXDOVGRQRW
    4$QGLI\RXORRNDWWKHSDJHRQHFROXPQRQH            VXIIHUIURPDQ\FXUUHQWLGHQWLILDEOHSK\VLFDO
    DEVWUDFW7KLVSDSHULVXVLQJWKHWHUPGLVRUGHUVLQ           FKURPRVRPDORUKRUPRQDOLUUHJXODULW\
   VH[XDOGHYHORSPHQWDQGWKDW'6'                              &RUUHFW"
   'R\RXVHHWKDW"                                      $,ZRXOGVD\WKDWULJKWQRZLQLWZRXOGEH
   $,GR                                                 WUXHWRVD\WKDWDWUDQVJHQGHUSHUVRQGRHVQRWKDYHDQ
   47KDWZDVDWHUPWKDW\RXZHUHFRPIRUWDEOHZLWK        LGHQWLILDEOHJHQLWDOGLIIHUHQFHDOPRVWE\GHILQLWLRQRU
   PRVWUHFHQWO\"                                                 DRUDQLQWHUQDOUHSURGXFWLYHRUJDQGLIIHUHQFH
   $,WZDVDWHUPLQRORJ\WKDW,ZDVXVLQJWKDW            DOPRVWE\GHILQLWLRQ&KURPRVRPDO,FDQ WVD\EHFDXVH
   UHFHQWO\\HV                                                 ZHDFWXDOO\GRQ WFKHFN$QGKRUPRQDOJHWVHYHQJUD\HU
   47KHSRLQWKHUHRQSDJHFROXPQRQHWKDWZH      WKDQWKDWEHFDXVHLWFRXOGEHWKHFDVHWKDWWKHUHDUH
   ZHUHMXVWORRNLQJDWLVLQIDFWPRVWWUDQVJHQGHU             KRUPRQDOH[SRVXUHVIRUH[DPSOHLQXWHURWKDWH[SODLQ
   LQGLYLGXDOVGRQRWVXIIHUIURPDQ\LGHQWLILDEOH'6'           DWOHDVWVRPHSHRSOHDVEHLQJWUDQVJHQGHU
   ,VWKDWZKDWWKLVLVVD\LQJ"                          4$V\RXVLWKHUHWRGD\\RXGRQ WNQRZRIDQ\
   $)URPDSK\VLFDOO\LGHQWLILDEOH'6'WKDWLVZKDW      FKURPRVRPDOWHVWWKDWFDQLGHQWLI\DQLQGLYLGXDODV
   WKLVLVVD\LQJ\HV                                           WUDQVJHQGHUGR\RX"
   43K\VLFDOO\JHQHWLFDOO\KRUPRQDOO\                  $,VWKHUHDWKHUHDV,VLWKHUHWRGD\
   LGHQWLILDEOHE\DQ\SK\VLFDOPHDVXUHPHQW                      WKHUHDUHQRWHVWVWRLGHQWLI\VRPHERG\ZKRLV


                                                 3DJH                                                         3DJH
    &RUUHFW"                                               WUDQVJHQGHU
    $77251(<%/2&.2EMHFWLRQWRIRUP              4$QGWKDWLQFOXGHVJHQHWLFWHVWV"
    7+(:,71(666R\RXKDYHWREHFDUHIXO          $7KHUH VQRVFDQDQGWKHUHDUHQREORRGWHVWVDQG
    WREHQRWWRREURDGDQGSDUWRIWKHUHDVRQLVWKHOLQH         WKHUHDUHQRJHQHWLFWHVWV
    WKHUHLVDFWXDOO\EOXUULQJ6RZKHQ, PVLWWLQJKHUH           4$QGQRKRUPRQDOWHVWV"
    DQGWDONLQJLQ,UHFRJQL]HWKDWWKHUHLVD                 $7KDW VULJKW7KHUHDUHQRKRUPRQDOWHVWVULJKW
    SRWHQWLDOIRUVRPHEOXUULQJLQWKDWOLQH%XWLQ          QRZWRLGHQWLI\DWUDQVJHQGHUSHUVRQ
    LWZDVFHUWDLQO\XQGHUVWRRGWREHKRZ\RX UHVD\LQJLW         4$V\RXVLWKHUHWRGD\DQGEDVHGRQ\RXUZKROH
    %<$77251(<%522.6                                             NQRZOHGJHRIWKHILHOGWKHUHLVQRELRORJLFDOWHVWIURP
   4:HOOLWUHPDLQVWUXHWRGD\GRHVLWQRWWKDW        VRPHPHQWDOSURIHVVLRQDOVDVWKH\FDQGREXWWKHUHLV
   WKHRYHUZKHOPLQJPDMRULW\RIWUDQVJHQGHULQGLYLGXDOVGR        QRELRORJLFDOWHVWWKDWZLOOWHOO\RXLQDGYDQFHZKLFK
   QRWVXIIHUIURPDQ\LGHQWLILDEOHDW\SLFDOLW\                   SUHSXEHUWDOFKLOGZKRLVVXIIHULQJIURPJHQGHUG\VSKRULD
   JHQHWLFDOO\SK\VLFDOO\RUKRUPRQDOO\                         ZRXOGSHUVLVWDQGZKLFKZRXOGGHVLVWDVWKH\HQWHU
   &RUUHFW"                                              DGROHVFHQFH"
   $:HOOWKDW VQRWKRZ,ZRXOGVD\LWEHFDXVH          $6R,ZRXOGKDYHWRFKDOOHQJHKRZ\RX UHVWDWLQJ
   JHQGHULGHQWLW\LVDELRORJLFDOSKHQRPHQRQDQGVRRQH          WKDWDOLWWOHELWMXVWVRWKDWZHDUHFOHDQHULQWHUPV
   ZRXOGSUHGLFWWKDWDVZHLGHQWLI\FHUWDLQFRUUHODWHVRU        RIKRZZHWKLQN6RZH UHWKLQNLQJULJKWQRZLQWHUPV
   HYHQH[SODQDWLRQVWKDQZHZLOOKDYHWKLQJVLQWKDW            RILGHQWLI\LQJNLGVZKRDUHWUDQVJHQGHU:HXVHYDULRXV
   VSDFH%XWLIZH UHWDONLQJDERXWKRZWKLQJVZHUH             WHUPLQRORJLHVVRWKDWZH YHKDYHEHHQXVLQJWKH
   GHILQHGLQEHLQJWUDQVJHQGHUZDVGHILQHGDV              WHUPJHQGHUG\VSKRULDZH UHJRLQJWREHVKLIWLQJWRPRUH
   VRPHERG\ZKHUHWKHLUJHQGHULGHQWLW\ZDVQRWDOLJQHG           JHQGHULQFRQJUXHQFHEXWZH UHWU\LQJWRLGHQWLI\SHRSOH
   ZLWKWKHUHVWRIWKHLUELRORJ\DQGWKHUHZDVQR               ZKRDUHWUDQVJHQGHUDQGZKRPD\UHTXLUHLQWHUYHQWLRQ
   DSSDUHQWSK\VLFDOYDULDWLRQHLWKHULQWHUPVRIWKHLU          ODWHU
   DQDWRP\RUWKHLUFKURPRVRPHVLQWHUPVRIWKHLUJHQLWDOV       5HFRJQL]LQJIXUWKHUWKDWRQO\DVXEVHWRI


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0670
                                                 3DJH                                                        3DJH
    WUDQVJHQGHUSHRSOHZRXOGUHTXLUHDPHGLFDORUVXUJLFDO         H[SODQDWLRQIRUVRPHSHRSOH
    LQWHUYHQWLRQ$QGVRLIWKHTXHVWLRQLVFDQLV            4,WFRXOGEHEXWQRVFLHQFHKDVEHHQGRQHWR
    WKHUHDWHVWQRZLQWRGHWHUPLQHLQDQSUHSXEHVFHQW       SURYHWKDWWKDWLVDIDFWKDVLW"
    NLGZKRVD\VWKH\ UHWUDQVJHQGHURUSHRSOHZKRVXVSHFW         $6RLWLVQ WUHDOO\DK\SRWKHWLFDOWKDWLVZHGR
    PD\EHWUDQVJHQGHURQZKDWHYHUWKH\ UHVD\LQJQRWKHUH       KDYHZHGRKDYHGDWDWKDWVXSSRUWLWEXWLWGRHVQ W
    LVQRWHVWWRNQRZWKDWLVWUXHRUQRWDQGWRNQRZLI          OHDGXVWRDWHVW
    WKH\ OOWKLQNWKDWODWHURUQRWDQGWRNQRZLIWKH\ OO        4,ILWLVQRWWHVWDEOHWKHQLWLVDK\SRWKHVLV
    ZDQWWUHDWPHQWRUQRW                                         QRWDIDFWLVQ WLWQRWRIVFLHQFH
    46RLWLV\RXURSLQLRQWKDWWKHUHLVFRQVHQVXV         &RUUHFW"
   WKDWWKHUHLVDELRORJLFDOEDVLVIRUWUDQVJHQGHU              $77251(<%/2&.2EMHFWLRQWRIRUP
   LGHQWLILFDWLRQEXWDVRI\RXGRQ WNQRZZLWKDQ\        7+(:,71(661RWKDWLVXVLQJWHVWLQJ
   FRQILGHQFHZKDWWKDWELRORJLFDOEDVLVLV                     WZRGLIIHUHQWZD\V6RLQDVFLHQWLILFVWXG\WKHQD
   &RUUHFW"                                             K\SRWKHVLVLVVRPHWKLQJWKDW\RXKDYHEDVHGRQDFHUWDLQ
   $77251(<%/2&.2EMHFWLRQWRIRUP            EDVHGRQFHUWDLQGDWDEXWWKHQ\RXWHVWWRVHHKRZ
   7+(:,71(66,ZRXOGVD\WKDWLWLV           WUXHLWPLJKWEH%XWZKHQ,ZDVXVLQJWKHZRUGWHVW
   FRPSOLFDWHGDQGWKHUHPD\HYHQEHPRUHWKHUHPLJKW        , PWDONLQJDERXWOLNHDEORRGWHVWRUVRPHWKLQJWKDWZH
   EHPXOWLSOHH[SODQDWLRQVIRUSHRSOHEHLQJWUDQVJHQGHU        FRXOGDFWXDOO\GRRQDJLYHQLQGLYLGXDOWRNQRZWKHLU
   :HVHHWKDWZLWKRWKHUELRORJLFDOHQWLWLHVOLNH               FLUFXPVWDQFHZLWKUHJDUGWRWKHLUJHQGHULGHQWLW\
   GLDEHWHVIRUH[DPSOH6RWKHLGHDWKDWZHGRQ WNQRZ        %<$77251(<%522.6
   ZKDWLWLVLVDOVRDOLWWOHWRRQDUURZ                      4/HWPHDVN\RXWRORRNDWWKHSDSHUWKDW, YH
   %<$77251(<%522.6                                           PDUNHGDV([KLELW(YLGHQFH6XSSRUWLQJWKH%LRORJLFDO
   4<RXGRQ WNQRZDQ\RQHLGHQWLILDEOHELRORJLFDO       1DWXUH,VWKDWWKDWZKLFK\RXKDYHLQIURQWRI\RX"
   FDXVHZLWKDQ\FRQILGHQFHWKDWVWDWHZLWKLQDVFLHQWLILF      $,GR\HV
   NQRZOHGJH"                                                    4$QGRQWKHILUVWSDJH\RXUHIHUXQGHUWKHUHVXOW


                                                 3DJH                                                        3DJH
    $1R7KDW VQRWTXLWHWUXH:HNQRZWKDW         WKDWEHJLQVE\GLVFXVVLRQRIDVHPLQDOVWXG\E\
    DQGLW VQRWHYHQWKHELRORJ\RIEHLQJWUDQVJHQGHUHYHQ        0H\HU%DKOEXUJ'R\RXVHHWKDW"6HFRQGFROXPQ
    WKRXJKWKDWLVKRZ,MXVWIUDPHGLW,WLVHYHQRQH           EHJLQQLQJRIWKHUHVXOWVVHFWLRQ
    VWHSEDFNZKLFKLVWKHELRORJ\RIJHQGHULGHQWLW\:H         $<HV
    DOOKDYHJHQGHULGHQWLW\DQGKRZLVWKDWGHWHUPLQHGDQG       4$QGLVLW\RXUFRQWHQWLRQWKDWWKH
    ZKDWLVWKDWELRORJ\$QGZHNQRZWKHUHDQGZHNQRZ       0H\HU%DKOEXUJVWXG\SURYLGHVHYLGHQFHRIDELRORJLFDO
    WKHQWKDWVRPHWUDQVJHQGHUSHRSOHKDYHWKDWSDUWLFXODU         EDVLVIRUWUDQVJHQGHULGHQWLILFDWLRQ"
    ELRORJ\QRWDOLJQHGZLWKVRPHRIWKHLURWKHUELRORJ\          $:KDWWKH0H\HU%DKOEXUJVWXG\GRHVLVLW
    6RJRLQJEDFNWRZKDW\RXMXVWDVNHGWKDWZH       SURYLGHVHYLGHQFHRIDELRORJLFDOEDVLVIRUJHQGHU
   GRQ WNQRZDQ\PHFKDQLVPVLVQRWTXLWHWUXH7KDWLV         LGHQWLW\
   SHRSOHWKDWORRNVWREHWUXHWKDWH[SRVXUHWRDQGURJHQ       4:HOOVSHFLILFDOO\WKHVWXG\WKH0H\HU%DKOEXUJ
   PDOHKRUPRQHVLQXWHURFDQKDYHVRPHLQIOXHQFHRQVRPH        VWXG\OHWPHKDYHWKDWVRZHDUHQRWVKRRWLQJLQWKH
   SHRSOHDVWRWKHLULGHQWLW\                                  GDUN([KLELWLVDSDSHUIURPIURP3URIHVVRU
   4:HOOLIWKHUHLVQRW\HWDQ\WHVWWKDWLV           +HLQR0H\HU%DKOEXUJHQWLWOHG*HQGHU,GHQWLW\2XWFRPH
   SUHGLFWLYHRIJHQGHULGHQWLW\LQDSUHSXEHVFHQWFKLOG        LQ)HPDOH5DLVHGFRPPD;<SHUVRQVZLWKSHQLOH
   WKHQDVDPDWWHURIVFLHQFHLWIROORZVWKDW\RXGRQ W         DJHQHVLVDQGLWFRQWLQXHV,W VDORQJGRFXPHQW"
   DFWXDOO\NQRZDQ\FDXVDOUHODWLRQVKLSDQ\ELRORJLFDO         $77251(<:,/.,16217DE
   EDVLVLVWKDWQRWWUXH"                                      
   $1RWKDWZRXOGQ WEHTXLWHVXUH:HFDQ WWHVW       :KHUHXSRQ([KLELW3DSHUE\
   IRUVRPHERG\GHHPHGWUDQVJHQGHUDQGZHFDQ WWHVW            3URIHVVRU+HLQR0H\HU%DKOEXUJZDVPDUNHG
   JHQGHULGHQWLW\ZLWKDWHVW%XWOLNH,VDLGWKDWDW        IRULGHQWLILFDWLRQ
   OHDVWLQVRPHFLUFXPVWDQFHVWKHDQGURJHQH[SRVXUHLQ          
   XWHURLQDPRWKHU VZRPEFRXOGEHSDUWRIWKH               %<$77251(<%522.6
   H[SODQDWLRQIRUVRPHSHRSOH0D\EHLVQ WDOOWKH             4,EHOLHYHWKHOHYHORITXHVWLRQVWKDW,ZLOOEH



                                                                                     3DJHVWR
                                                                                                    Armistead App. 0671
                                                  3DJH                                                       3DJH
    DVNLQJKRZHYHUDUHWKHRQHVWKDW\RXZLOONQRZRIIWKH        FDQEHVXPPDUL]HGDVIROORZV2QHWKHPDMRULW\RI
    WRSRI\RXUKHDGJLYHQWKHLPSRUWDQFHRIWKLVVWXG\LQ          ;<LQGLYLGXDOVZLWKSUHVXPDEO\QRUPDOPDOHSUHQDWDO
    WKHILHOG7KHVWXG\FRQFHUQHGH[FOXVLYHO\FKLOGUHQZKR        KRUPRQDOPLOLHXFRPPDQRQKRUPRQDODQDWRPLF
    DUHERUQZLWKZKDW VUHIHUUHGWRDVD;<FRQGLWLRQ          DEQRUPDOLWLHVRIWKHJHQLWDOVFRPPDDQGIHPDOHJHQGHU
    5LJKW"                                                 DVVLJQPHQWDWELUWKRULQHDUO\FKLOGKRRGKDYHQRW
    $<HV                                                   FKDQJHGJHQGHUWRPDOH'R\RXVHHWKDW"
    4$QGWKDWLVORQJUHFRJQL]HGDVD'6'"                  $,GRVHHLW
    $1R;<LVWKHFODVVLFPDOHFKURPRVRPH               4$QGRQHWKLQJDQG,XQGHUVWDQGWKH
    SDWWHUQ                                                        TXDOLILFDWLRQVWKDW\RX YHMXVWGHVFULEHGWKLVLVQRW
   4<HV3DUGRQPH6RWKHVHDUHLQGLYLGXDOVZLWK       UHFRUGLQJDFDUHIXOO\VWUXFWXUHGVWXG\SHUIRUPHGE\
   W\SLFDOPDOHSDWWHUQFKURPRVRPHV"                              'RFWRU0H\HU%DKOEXUJEXWUDWKHUDUHYLHZRIFDVH
   $<HV                                                  KLVWRULHV
   4:KRKRZHYHUIRUVRPHUHDVRQKDYHKDGD              5LJKW"
   GHYHORSPHQWDOGLVRUGHURUGHIHFWDIIHFWLQJWKHLU               $([DFWO\
   JHQLWDOV"                                                      4%XWKLVFRQFOXVLRQIURPKLVUHYLHZRIWKRVHLV
   $:KRKDYHKDGVRPHVRUWRIDOWHUDWLRQRU               WKDWWKHPDMRULW\RIJHQHWLFDOO\SUHVXPDEO\QRUPDOPDOH
   GHYHORSPHQWRIWKHLUJHQLWDOVH[DFWO\                        LQGLYLGXDOVZKRZHUHUDLVHGIHPDOHDQG,EHOLHYHLW V
   4$QGWKHVWXG\FRQFHUQVWKHUHVXOWVRIHIIRUWVWR      IDLUWRVXPPDUL]HLQPRVWFDVHVDIWHUIHPLQL]LQJJHQLWDO
   UDLVHVXFKJHQHWLFDOO\PDOHFKLOGUHQDVIHPDOHLQVRPH         VXUJHU\DGKHUHGWRDIHPDOHJHQGHULGHQWLW\DWOHDVWWR
   FDVHVDIWHUVXUJLFDOSURFHGXUHVWRIHPLQL]HWKHPDQGLQ        WKHGDWDZHKDYH"
   VRPHFDVHVDEVHQWVXUJLFDOSURFHGXUHV                         $<HVVR,GRQ WNQRZZKHWKHUWKH\DFWXDOO\DOO
   &RUUHFW"                                              KDGVXUJHU\RUQRW
   $7KHVWXG\UHDOO\UHODWHVWRWKHJHQGHULGHQWLW\       47KH\GLGQRWDOOKDYHVXUJHU\
   RIWKRVHZKHUHWKHUHLVDQDWWHPSWWRUDLVHWKHPDV            $5LJKWRUHYHQWKHODUJHUQXPEHU,GRQ WNQRZ


                                                  3DJH                                                       3DJH
    IHPDOHV                                                        ,ZRXOGKDYHWRJRWKURXJK
    4$QGWKHUHVXOWVLI,XQGHUVWDQGWKHVWXG\ZHUH       4)DLUHQRXJK
    PL[HGWKDWLVWKDWVRPHRIWKHLQGLYLGXDOVZKRZHUH            $%XWWKHDQGLWZDVKLVRSLQLRQDWWKHWLPH
    UDLVHGDVIHPDOHVQHYHUWKHOHVVFDPHWRLGHQWLI\DVPDOH         KHZDVZULWLQJWKLVWKDWWKHPDMRULW\ZKRZHUHUHDUHG
    DQGVRPHRIWKHLQGLYLGXDOVZKRZHUHUDLVHGDVIHPDOHV          IHPDOHZHUHOLYLQJDVIHPDOHDOWKRXJKZHGRQ WNQRZ
    FDPHSHUVLVWHGLQLGHQWLI\LQJDVIHPDOH                    WKHLUJHQGHUEXWQRZWKLVLVPHVWHSSLQJRXWVD\LQJ
    &RUUHFW"                                               ZHGRQ WNQRZWKHLUJHQGHULGHQWLW\QRERG\DVNHG7KH
    $,WLVQRWDFWXDOO\DVFOHDQDV\RX UHVD\LQJLW       UHDVRQZK\WKLVSDSHULVLQWHUHVWLQJLVHYHQLQWKH
    6RZHVKRXOGORRNDWVRPHRIWKHVSHFLILFVDQGZHPLJKW         FLUFXPVWDQFHZKHUHWKH\ZHUHEHLQJVRSDVVLYHLQKRZ
   QHHGWRSRLQWRXWWRVSHFLILFVHQWHQFHVEXWWKLVWRRLV       WKH\ZHUHFROOHFWLQJWKHGDWDVXFKDODUJHIUDFWLRQRI
   DVXUYH\RIDVXUYH\RIVWXGLHVWREHFOHDULW V         WKHVHLQGLYLGXDOVZHUHVRFOHDULQWKHLUPDOHJHQGHU
   QRWLWVRZQLVRODWHGVWXG\DQGWKHQWKHUHLQQRQH         LGHQWLW\WKDWWKH\DFWXDOO\LGHQWLILHGWKHPVHOYHV
   RIWKHVHVWXGLHVZHUHWKH\V\VWHPDWLFRU\RXNQRZ,          DJDLQVWWKHSURWRFROV
   JXHVV,ZLOOMXVWXVHWKHZRUGV\VWHPDWLFLQ                   4$QGWKDWVHHPHGWREHHYLGHQFHWKDWRID
   DVFHUWDLQLQJWKDWDOORIWKHSHRSOHZKRZHUHEHLQJ             ELRORJLFEDVLVRIJHQGHULGHQWLW\FRQJUXHQWZLWKWKHLU
   UDLVHGIHPDOHDQGDVFHUWDLQLQJDOORIWKHJHQGHU               PDOHJHQHWLFV
   LGHQWLW\RIWKRVHSHRSOH%XWZKDWWKH\DUHUHDOO\            &RUUHFW"
   REVHUYLQJLVWKDWWKHQXPEHUVWKDWWKH\PHQWLRQRIWKH         $7KDWIRUWKHVHSHRSOHWKDW VULJKW7KDW
   SHRSOHZKRWKH\ZHUHWU\LQJWRUDLVHIHPDOHZKRKDGPDOH       LVZLWKRUZLWKWKHLUFKURPRVRPHV
   JHQGHULGHQWLW\ZHUHZKDWHYHUWKHQXPEHUVZHUH,GRQ W       45LJKW
   NQRZLIWKDWPDNHVVHQVHEXW\RX OOIROORZDV                 $:KLFK\RXZRXOGSUHGLFW,IZHWKLQNDERXW
   QHFHVVDU\                                                     LIZHUHFRJQL]HLIZHWKLQNWKDWE\VXUYH\DKDOID
   4,I\RXWXUQWRSDJHLWEHJLQVXQGHUWKH           SHUFHQWRUHYHQDIXOOSHUFHQWRISHRSOHDUHWUDQVJHQGHU
   KHDGLQJGLVFXVVLRQ,WEHJLQVTXRWHWKHPDLQILQGLQJV       WKDWZRXOGPHDQWKDWSHUFHQWRISHRSOHDUHFLVJHQGHU


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0672
                                                3DJH                                                         3DJH
    $QGVRLI\RXWDNHDSRSXODWLRQRISHRSOHZLWKFHUWDLQ         ELRORJLFEDVLVRIWUDQVJHQGHULGHQWLILFDWLRQFDQLW"
    FKURPRVRPHVSHUFHQWRIWKHPDUHJRLQJWREH                $:DLW,WKLQNVD\WKDWDJDLQ
    FLVJHQGHUDQGZLOOKDYHDJHQGHULGHQWLW\LQFRQJUXHQW          47KHVWXG\LQFOXGHVQRLQGLYLGXDOVZKRDGRSWHGD
    ZLWKWKHLUFKURPRVRPHV                                        JHQGHULGHQWLW\DWUDQVJHQGHULGHQWLW\DSDUWIURP
    47KHVWXG\LQFOXGHVQRLQGLYLGXDOVZKRZHUH            VRFLDOWUDQVLWLRQDQGWKHUHIRUHFDQSURYLGHQR
    UDLVHGZLWKDJHQGHULGHQWLW\LQFRQVLVWHQWZLWKWKHLU          LQIRUPDWLRQRQHZD\RUWKHRWKHUDERXWZKHWKHUWKHUHLV
    PDOHFKURPRVRPHVZKRFDPHWRLGHQWLI\RUODWHUSHUFHLYHG       RULVQRWDELRORJLFEDVLVIRUWUDQVJHQGHU
    WKHPVHOYHVDVLGHQWLI\LQJDVIHPDOH                           LGHQWLILFDWLRQ"
    &RUUHFW"                                              $6RQRWTXLWH6RWKHEHFDXVHUHPHPEHUWKH
   $:HOOZHGRQ WNQRZWKDWEHFDXVHWKH\ZHUH       SRLQWLVWKDWJHQGHULGHQWLW\SHULRGXQLYHUVDOO\KDV
   WKH\ UHDOO;<LQGLYLGXDOVZKRZHUHEHLQJUDLVHGIHPDOH      DELRORJLFDOEDVLV,W VQRWWKDWZHDQGWREH
   $QGVRPHERG\ZKRKDGDIHPDOHJHQGHULGHQWLW\ZKRLV          FOHDU,GRQ WHYHQNQRZWKDWZHZRQ WILQGDQGVRPH
   WUDQVJHQGHUDPRQJWKHPZRXOGQHYHUEHLGHQWLILHGDV           SHRSOHHYHQZRQGHULIZHZLOOILQGDJHQHWKDW
   WUDQVJHQGHULQWKLVFDVH                                     DVVRFLDWHVDJHQHZLWKWUDQVJHQGHUSHUVH%XW, PQRW
   46RP\TXHVWLRQZDVDOLWWOHPRUHVSHFLILF7KH      HYHQVD\LQJWKDW,IWKHUH V, PRQO\VD\LQJWKDW
   VWXG\VLPSO\GRHVQ WLQFOXGHDQ\LQGLYLGXDOZKRKDGPDOH      ZHZLOOILQGOHW VVD\JHQHVDVVRFLDWHGZLWKJHQGHU
   FKURPRVRPHVZKRZDVUDLVHGPDOHZKRFDPHWRLGHQWLI\DV       LGHQWLW\DQGQRWHYHU\ERG\ZLOOKDYHWKHPDOLJQHGZLWK
   IHPDOH"                                                       WKHUHVWRIWKHLUELRORJ\6R,MXVWZDQWWRSUHIDFH
   $7KDW VFRUUHFW$OORIWKHVHSHRSOHZKRDUH;<      ZLWKWKDW
   FKURPRVRPHSHRSOHUDLVHGIHPDOH                              $QGLQWKLVSDUWLFXODUUHYLHZWKH\ UHWDNLQJ
   4$QG\RXZRXOGDJUHHZLWKPHZRXOG\RXQRWWKH      SHRSOHZKRKDYH;<FKURPRVRPHVH[FOXVLYHO\6R
   VWXG\SURYLGHVVRPHHYLGHQFHWKDWH[WHUQDOIRUFHVVXFK        WKHUHIRUHLIRQHLIDFHUWDLQIUDFWLRQRIWKHPZHUH
   DVIHPLQL]LQJVXUJHU\RUKRZWKHLUSDUHQWVWUHDWWKH          WRKDYHIHPDOHJHQGHULGHQWLW\GHVSLWHDVVXPLQJ
   FKLOGFDQKDYHVRPHLQIOXHQFHRQWKHIRUPDWLRQRIJHQGHU      GLIIHUHQWGHYHORSPHQWWKH\ZRXOGKDYHKDGPDOHWKH\


                                                3DJH                                                         3DJH
    LGHQWLW\"                                                      ZRXOGKDYHKDGRWKHUPDOHELRORJ\WKRVHDUHWKHSHRSOH
    $,FDQ WVD\WKDWEHFDXVHWKHVWXG\UHDOO\             ZHZRXOGKDYHFDWHJRUL]HGDVWUDQVJHQGHUXVLQJFXUUHQW
    GRHVQ WJRWKHUH7KHVWXG\LVRQO\SDVVLYHREVHUYDWLRQ       GHILQLWLRQV$QGWKRVHLQGLYLGXDOVZRXOGQRWKDYHEHHQ
    DQGDOOWKHRQO\WKLQJ,ZRXOGVD\ZLWKVRPH               DSSDUHQWLQWKLVVWXG\WKH\ZHUHEHLQJUDLVHGIHPDOH
    FRQILGHQFHLVWKDWVRPHIUDFWLRQRIWKHVHLQGLYLGXDOV          DQ\ZD\
    ZKRDUHVRFOHDULQWKHLUJHQGHULGHQWLW\WKDWGHVSLWH         4$QGP\SRLQWZDVWKDWWKHUHIRUHWKDWWKLV
    QRERG\HYHQORRNLQJIRUWKDWVRUWRIWKLQJEHFDXVHWKDW       VWXG\FDQ WSURYLGHDQ\LQIRUPDWLRQDERXWZKHWKHUWKHUH
    ZDVQ WHYHQDFRQVLGHUDWLRQZKHQWKHVHZKHQWKHVH          LVRULVQ WDELRORJLFDOEDVLVIRUWUDQVJHQGHU
    FDVHVRFFXUUHGWKH\WKHLQGLYLGXDOVVSRQWDQHRXVO\         LGHQWLILFDWLRQ"
   DQQRXQFHGWRWKHDXWKRULWLHVDURXQGWKHPSDUHQWVDQG         $6R\HV,JXHVVKRZ\RXDUHIUDPLQJWKDWLV
   GRFWRUVWKDWWKH\ZHUHZURQJWKDWWKHSDUHQWVDQG           ZKHUH, PSXVKLQJEDFN6RWKHSRLQWRIWKLVVWXG\LV
   GRFWRUVZHUHZURQJ                                           DVHYLGHQFHRIWKHUHEHLQJDELRORJLFDOEDVLVRIJHQGHU
   4$QGWKDWLQ\RXUYLHZSURYLGHVDWOHDVWVRPH       LGHQWLW\SHULRGKDYLQJQRWKLQJQRWQHFHVVDULO\IRU
   HYLGHQFHRIDJHQHWLFEDVLVIRUJHQGHULGHQWLW\               EHLQJWUDQVJHQGHU,QIDFW,GRQ WHYHQNQRZLIWKHUH
   FRQJUXHQWZLWKFKURPRVRPDOVH["                               \HDK,GRQ WHYHQNQRZLIWKDWZRXOGEHWKHPRGHO
   $77251(<%/2&.2EMHFWLRQWRIRUP            7KHPRGHOZRXOGEHVRPHERG\ZKRKDVDFHUWDLQJHQGHU
   7+(:,71(661R,WSURYLGHVVRPH            LGHQWLW\DFHUWDLQRWKHUELRORJ\DQGWKHQWKDW
   HYLGHQFHRIDELRORJLFDOEDVLVIRUJHQGHULGHQWLW\WKDW       FRPELQDWLRQLVZKDWZHDUHFDOOLQJWUDQVJHQGHU
   FDQ WEHPDQLSXODWHGH[WHUQDOO\                              4<RXDOVRUHIHUHQFHGDSDSHUE\'RFWRU5HLQHU
   %<$77251(<%522.6                                           $QGOHWPHKDYHWKDW
   4:HOOFRQVLGHULQJWKDWWKHVWXG\LQFOXGHGQR         $77251(<%522.6$QG,ZLOOPDUNWKDWDV
   H[DPSOHVRIDQ\LQGLYLGXDOZKRDGRSWHGDWUDQVJHQGHU          ([KLELW'LVFRUGDQW6H[XDOLQ6RPH*HQHWLF0DOHV
   LGHQWLW\LQFRQVLVWHQWZLWKKRZWKH\ZHUHUDLVHGWKH          :LWK&ORDFDO([VWURSK\$VVLJQHGWR)HPDOH6H[DW%LUWK
   VWXG\VLPSO\FDQ WSURYLGHDQ\LQIRUPDWLRQDERXW              $77251(<:,/.,16217DE


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0673
                                                 3DJH                                                        3DJH
                                      $1R
     :KHUHXSRQ([KLELW3DSHUE\'RFWRU             46ROHW VVXPPDUL]HWKLVVWXG\LI,PD\, P
    5HLQHUZDVPDUNHGIRULGHQWLILFDWLRQ              WXUQLQJWRSDJH
                                      $$QGH[WHQGLQJWKDWWRRSDUWRIKLVIUXVWUDWLRQ
    %<$77251(<%522.6                                             ZRXOGQ WEHP\IUXVWUDWLRQEHFDXVH,DPQRWORRNLQJIRU
    4$QG'U6DIHU\RXDUHZHOOIDPLOLDUZLWKWKLV         WKRVHSDUWLFXODUHQGSRLQWVWKDWLVIRUP\SXUSRVHVIRU
    SDSHU                                                          GHWHUPLQLQJZKHWKHUJHQGHULGHQWLW\LVDELRORJLFDO
    $P,FRUUHFW"                                          EDVLV5HLQHUDQG*HDUKDUW VSDSHULVDFWXDOO\TXLWH
    $,DP\HV                                             VWURQJ
   4$QGWKLVLVWKHRQO\RWKHUSDSHUWKDW\RXFLWH        4/HW VORRNDWWKHILUVWSDJHLQWKHVXPPDU\XS
   IRUWKHDVVHUWLRQWKDWJHQGHULGHQWLW\KDVDELRORJLFDO        IURQW,WUHIHUVWRWKLVSDSHUGHDOWZLWKXQGHU
   EDVLV                                                         PHWKRGVJHQHWLFPDOHV
   $P,FRUUHFW"                                         &RUUHFW"
   $1RWKHUHDUHDUDQJHRIFDWHJRULHVRISDSHUV        $<HV
   EXWWKHVHDUHWZRRIP\IDYRULWHSDSHUVLQWKHILUVW           4$QGWKHVHZHUHDOOPDOHVZKRVXIIHUHGIURP
   FDWHJRU\ZKLFKLVWKHFDWHJRU\RIDWWHPSWLQJWR               XVHVWKHZRUGLQWKHVHFRQGOLQHRIWKHEDFNJURXQGDV
   PDQLSXODWHJHQGHULGHQWLW\H[WHUQDOO\                         VHYHUHGHYHORSPHQWDOGLVRUGHUVDIIHFWLQJWKHLUJHQLWDOV
   4'U%DKOEXUJLQKLVSDSHURQSDJHRI             &RUUHFW"
   ([KLELWLQFROXPQRQH                                 $7KDW VKRZLWLVSKUDVHGKHUH:KHUHDP,
   $<HV/HWPHJHWWKHUH                               VHHLQJWKDW"
   4<HVFROXPQRQH                                47KHVHFRQGOLQHRIWKHEDFNJURXQGVD\VVHYHUH
   $FROXPQRQH                                      $6HYHUHSKDOOLFLQDGHTXDF\\HV,VHHWKDW
   4+HVD\VDERXWWZRLQFKHVRIIWKHERWWRP              4:KLFKLVWRVD\QRWDEVHQWRUVHYHUHO\
   UHIHUULQJWRWKH5HLQHUDQG*HDUKDUWSDSHURI            GLVIRUPHGSHQLV"


                                                 3DJH                                                        3DJH
    ZKLFK,EHOLHYHLVWKLVSDSHUKHVD\VTXRWHLWKDV           $7KDW VZKDWWKDWPHDQV\HV
    VHULRXVPHWKRGRORJLFDOIODZV'R\RXDJUHHZLWKWKDW           42ND\
    VWDWHPHQW"                                                      %XWWKHVHDUHLQGLYLGXDOVZKRDUHJHQHWLFDOO\
    $/HW VUHDGZKDWKHLVFULWLFL]LQJ$OOWKHVH          PDOHDQGPRUHWKDQWKDWRQSDJHFROXPQWZR
    SDSHUVKDYHWKHLUZHDNQHVVHV$OOULJKW6RWKH               WZRWKLUGVRIWKHZD\GRZQLWVD\VWKHWHVWHVZHUH
    UHPDLQGHURIWKDWVRWKHUHPDLQGHURIWKHSDUDJUDSK         KLVWRORJLFDOO\QRUPDOLQDOOZKHQH[DPLQHG"
    LVGHWDLOVWKHFRPSODLQWVIRU'RFWRU0H\HU%DKOEXUJ        $, PRQFROXPQWZR
    ZKHUHKLVZKLFK,IRFXVDVDVRFLDOVFLHQFH                 4,WLVFROXPQWZR
    UHVHDUFKHUWKDWWKH\GLGQ WGRYDULRXVDVVHVVPHQWVWKDW         $,DSRORJL]H
   ZRXOGPDNHLWWKDWZRXOGPDNHVWDQGDUGSHRSOHGRLQJ        4<RXFDQNLQGRIVHHZKHUHP\ILQJHULVSRLQWLQJ
   VRPHRIWKLVUHVHDUFKDEOHWRUHSOLFDWHVRPHRIWKH            KHUH
   LWHPVLQWKHSDSHU$QG,ZLOOVRZKLOH'RFWRU            $$QGWKLVLVXQGHU
   0H\HU%DKOEXUJPD\EHIUXVWUDWHGDQGEHFRPSODLQLQJ            48QGHUPHWKRGVDQGWKHSDUDJUDSKWKDWEHJLQV
   DERXWWKDWKHLVQRWDFWXDOO\DWWDFNLQJWKHYHUDFLW\RI       SDUHQWVWREHHGXFDWHG"
   WKHLUUHVXOWV                                                 $7HVWHVZHUHKLVWRORJLFDOO\QRUPDOLQDOO
   4:HOOWKHSRLQWZDVVHULRXVPHWKRGRORJLFDOIODZV      , PWKHUH\HV
   LV\RXDUHQRWUHDOO\DEOHWRHYDOXDWHWKHYHUDFLW\RI         46RZHKDGLQGLYLGXDOVZKRZHUHJHQHWLFDOO\PDOH
   WKHUHVXOWV                                                   WKDWKDGQRUPDOWHVWHVDQGKDGVHYHUHGHSULYDWLRQRI
   &RUUHFW"                                              WKHLUSHQLVRULWZDVDEVHQW"
   $1RWQHFHVVDULO\                                      $<HV
   4'R\RXDJUHHZLWK'RFWRU0H\HU%DKOEXUJ V             4$QGZKDWZDVGRQHWRWKHVHVXEMHFWVORRNLQJ
   HYDOXDWLRQWKDWWKHPHWKRGRORJ\RIWKHVWXG\UHSRUWHGE\       MXVWDERYHWKDWLVWKDWWKH\ZHUHDVVLJQHGDIHPDOHVH[
   5HLQHUDQG*HDUKDUWVXIIHUVIURPVHULRXVPHWKRGRORJLFDO        VXUJLFDOO\E\PHDQVRIRUFKLHFWRP\DQGFRQVWUXFWLRQRI
   IODZV"                                                         YXOYD


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0674
                                                  3DJH                                                        3DJH
    5LJKW"                                                 $$VRIZKHQWKH\ZURWHWKHSDSHUWKH\ZHUHVWLOO
    $<HV                                                   LGHQWLI\LQJDVIHPDOHDVIDUDV,UHPHPEHU7KDW V
    4$QGRUFKLHFWRP\LVDQRWKHUPHGLFDOWHUPIRUZKDW       ULJKW
    WKHOD\PDQWKLQNVRIDVFDVWUDWLRQ"                             4$QGLWZRXOGEH\RXUSRVLWLRQWKDWYLVLEO\
    $$VUHPRYLQJWKHWHVWHV                                LGHQWLI\LQJDVIHPDOHGRHVQ WQHFHVVDULO\PHDQWKDWWKH\
    4$QGFRQVWUXFWLRQRIWKHYXOYLLVFUHDWLQJD        ZHUHJHQHUDOO\WUDQVJHQGHU"
    , PQRWVXUHZKDWWKHULJKWWHUPLVDSVHXGRYDJLQD"           $7KDWZHGRQ WNQRZWKDWEHFDXVHWKDWZDVQ W
    $,WZRXOGQ WEHDSVHXGRYDJLQDEXWFUHDWLQJD         DVNHG
    YDJLQD                                                         4,VLW\RXUYLHZWKDWLI\RXKDGWKHVHFKLOGUHQ
   4,WVD\VWKDWMXVWLPPHGLDWHO\IROORZLQJWKH       ZKRZHUHVXUJLFDOO\WUDQVLWLRQHGVRFLDOO\WUDQVLWLRQHG
   GHVFULSWLRQRIWKHVXUJHU\RIWKHVHORRNLQJ          YLVLEO\LGHQWLI\LQJDVIHPDOHWKDWLI\RXKDGVLPSO\
   EDFNDWWKHUHVXOWVSDUDJUDSKDQGWKHDEVWUDFWRI          DVNHGWKHP\RXZRXOGKDYHIRXQGRXWWKHXQGRXEWHGWUXWK
   WKHVHZHUHDVVLJQHGIHPDOHEXWODWHUGHFODUHG               DERXWWKHLUJHQGHULGHQWLW\"
   WKHPVHOYHVPDOHGHVSLWHWKHVXUJHU\GHVSLWHEHLQJ             $77251(<%/2&.2EMHFWLRQWRIRUP
   UDLVHGDVIHPDOH                                              7+(:,71(666RLWLVWUXHWKDWDV
   5LJKW"                                                SHRSOHGHYHORSDQGDVVXPLQJWKDWWKHUHDUHJRRGODQJXDJH
   $5LJKWRIWKHZKRZHUHDVVLJQHGIHPDOH          VNLOOVDQGWKDWWKHUHDUHQ WRWKHUGHYHORSPHQWDOPHQWDO
   4, PVRUU\,PLVUHDGWKDW7KDQN\RX(LJKWRI      GHYHORSPHQWDOUHDVRQVRURWKHUPHQWDOKHDOWKUHDVRQVZK\
   WKHZKRZHUHDVVLJQHGIHPDOHQHYHUWKHOHVVGHFODUHG          SHRSOHZRXOGQRWEHFOHDUWKDWSHRSOHDUHDEOHWR
   WKHPVHOYHVPDOHDWVRPHVWDJH"                                 DUWLFXODWHWKHLUJHQGHULGHQWLW\&HUWDLQO\DGXOWVGR
   $7KDW VFRUUHFW                                       VRDSSDUHQWO\TXLWHUHOLDEO\DQGROGHUWHHQDJHUVWKH
   4$QGWKHWZRZKRKDGEHHQUDLVHGDVPDOHVHYHQ        VDPHVRGHSHQGLQJRQDJH%XW\HVWKHUHZRXOGEHD
   WKRXJKWKH\VXIIHUHGWKHVDPHW\SHRISKDOOLF                  SRLQWLQWLPHZKHQ\RXFRXOGVLPSO\DVFHUWDLQWKDWE\
   GHYHORSPHQWDOGHIHFWUHPDLQHGLGHQWLI\LQJDVPDOHV           DVNLQJ


                                                  3DJH                                                        3DJH
    &RUUHFW"                                               %<$77251(<%522.6
    $<HV                                                   4'U6DIHULVWKDWIXQGDPHQWDOO\DPHGLFDO
    47KHUHZDVDQZKDWHYHUDVVLJQPHQWZDVPDGH         TXHVWLRQRUDSV\FKRORJ\PHQWDOKHDOWKTXHVWLRQ"7KH
    WKLVZDVPDGHWRLQIDQWV,WZDVQ WPDGHRUEDVHGRQ           TXHVWLRQRIWKHUHOLDELOLW\RIDSDWLHQW VVHOIUHSRUW"
    DQ\FKRLFHRUUHSRUWHGVHQVHRQWKHSDUWRIWKHFKLOG"          $,GRQ WNQRZWKDW,VHSDUDWHLWWKDWZD\,VD\
    $7KDW VH[DFWO\ULJKW\HV                             WKDWEDVHGRQWKHGDWDZHVORZO\GHYHORSRYHUWLPHRI
    46RVHYHUDORIWKHVHLQGLYLGXDOVVSHFLILFDOO\          WUDQVJHQGHUSHRSOHZKHUHZHVHHWKDWDQ\DEVHQFHRI
    VL[ZKRZHUHDVVLJQHGIHPDOHDWOHDVWWKURXJKRXWWKH           RWKHUFRQIRXQGLQJLWHPVDORQJWKHOLQHVWKDW,VDLG
    SHULRGLGHQWLILHGE\WKLVVWXG\DGKHUHGWRDIHPDOH         SHRSOHDWDFHUWDLQVWDJHLQPDWXULW\ZKRWHOO\RXD
   OLYLQJRXWWKHIHPDOHJHQGHULGHQWLW\"                         FHUWDLQWKLQJDERXWWKHLUJHQGHULGHQWLW\DUHFRQVLVWHQW
   $$FWXDOO\LWZDVILYHEHFDXVHRQHRIWKHFKLOGUHQ      LQWKDWUHJDUG
   UHIXVHGWRKDYHFRQWDFWZLWKWKHVXUJHRQVZKHQVRPHRI         47KLVVWXG\WKH5HLQHU*HDUKDUWVWXG\
   WKHVHFRQYHUVDWLRQVEHJDQWRWDNHSODFH                       ([KLELWFRQFHUQVORRNVDWWKHHIIHFWRIWU\LQJ
   46RZHNQRZWKDWILYHZHGRQ WNQRZZKDWWKDW      WRUDLVHLQGLYLGXDOVLQDJHQGHULGHQWLW\GLVFRUGDQW
   SHUVRQZDVWKLQNLQJIHHOLQJRULGHQWLI\LQJEXWZH         ZLWKWKHLUFKURPRVRPDOVH[
   NQRZWKDWILYH"                                            &RUUHFW"
   $7KH\ZHUHDQJU\                                      $,WLVGLVFRUGHGZLWKTXLWHDQXPEHURIWKLQJV
   47KH\ZHUHDQJU\:KLFKHYHUWKDWFDPHRXW, G        EXW\HVFKURPRVRPDOLVRQHRI\RXUKDUGGDWDSRLQWV
   EHDQJU\VR                                               47KLVVWXG\GRHVQRWORRNDWWKHTXHVWLRQDERXW
   $<HV                                                  ZKHWKHUDQGZKHQRUKRZDQ\VRUWRILQWHUYHQWLRQPLJKW
   4VRRIWKHVXEMHFWVZKRZHUHDVVLJQHG         HQFRXUDJHGHYHORSPHQWRIDJHQGHULGHQWLW\FRQVLVWHQW
   IHPDOHDQGVXUJLFDOO\WUDQVLWLRQHGDQGVRFLDOO\                ZLWKRQH VJHQHWLFVVH[GRHVLW",WVLPSO\GRHVQRW
   WUDQVLWLRQHGFRQWLQXHGWRDWOHDVWSK\VLFDOO\LGHQWLI\         ORRNDWWKLVLVVXH"
   DVIHPDOH"                                                     $6D\WKDWDJDLQVRUU\


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0675
                                                 3DJH                                                        3DJH
    47KLVVWXG\GRHVQRWDGGUHVVWKHTXHVWLRQRI            WRLGHQWLI\LQJLQDPDQQHUFRQVLVWHQWZLWKWKHLUJHQHWLF
    ZKHWKHURUKRZRUDWZKDWGHYHORSPHQWDOVWDJH                   VH["
    WKHUDSHXWLFLQWHUYHQWLRQVPLJKWHQFRXUDJHWKH                   $77251(<%/2&.2EMHFWLRQWRIRUP
    GHYHORSPHQWRIDJHQGHULGHQWLW\FRQVLVWHQWZLWKRQH V          7+(:,71(666R, PDZDUHRI'U/LWWPDQ
    FKURPRVRPDOVH["                                                KDYLQJZULWWHQDVHFRQGSDSHU%XW, PQRWIDFLOH,
    $7KHVWXG\LVWKHZD\, PLQWHUSUHWLQJWKH          JXHVV
    VWXG\LVLW VORRNLQJDWRXULQDELOLW\WRPDQLSXODWH            %<$77251(<%522.6
    JHQGHULGHQWLW\$QGLW VMXVWWKDW$QG, PDOLWWOH         4<RXKDYHQ WUHDGWKDWSDSHU"
    IX]]\RQWKHUHVWRIZKDW\RX UHDVNLQJPH                     $,KDYHQRWUHDGWKHSDSHU,SUREDEO\GLGUHDG
   4:HOOWKHVWXG\ORRNVDWHIIRUWVWRPDQLSXODWH        LWEXW,ZRXOGQRWEHDEOHWREHTXL]]HGRQLW
   JHQGHULGHQWLW\DZD\IURPFKURPRVRPDOIURPWKHLGHQWLW\        47KHQ,ZRQ WTXL]\RXRQLW,DOZD\VWHOO
   QRUPDOO\DVVRFLDWHGZLWKRQH VFKURPRVRPDOVH[,QWKLV       ZLWQHVVHV,GRQ WNQRZLVWKHHDVLHVWZD\RXWRIDOLQH
   FDVHWKHPDOHVH[                                             RITXHVWLRQLQJ
   5LJKW"                                                $UH\RXOHWPHDVN\RXWKLVGRHV\RXU
   $,WGRHV                                              FOLQLFKDYHDQ\SURFHGXUHLQSODFHWRWUDFNRXWFRPHVRQ
   47KLVVWXG\VLPSO\GRHVQRWORRNDWHIIRUWVWR         SDWLHQWVRQZKRP\RXSHUIRUPJHQGHUFRQIRUPLQJVXUJHU\
   PDQLSXODWHJHQGHULGHQWLW\WRZDUGVDOLJQPHQWZLWKWKH          ORQJWHUP"
   LGHQWLW\QRUPDOO\DVVRFLDWHGZLWKDVXEMHFW V                  $:H UHDFWXDOO\LQWKHZHKDYHDFRXSOHRI
   FKURPRVRPDOVH["                                               SURFHVVHVVR,JXHVVWKHVKRUWDQVZHUVDUH\HVDQG
   $,WKLQN, PIROORZLQJ\RXQRZ6R\RX UH             ZH UHJRLQJWREHPRUHULJRURXVJRLQJIRUZDUG
   VXJJHVWLQJWKDWLIZHWRRNDWUDQVJHQGHUSHUVRQDQG            4'R\RXKDYHDQ\NQRZOHGJHDVWRKRZPDQ\
   WULHGWRPDQLSXODWHWKHLUJHQGHULGHQWLW\WRDOLJQZLWK        SDWLHQWVRQZKRP\RXUFOLQLFKDVSHUIRUPHGVXUJHU\KDYH
   VRPHRIWKHUHVWRIWKHLUELRORJ\"                             DIWHUWKDWVXUJHU\FRPPLWWHGVXLFLGH"
   4, PQRWVXJJHVWLQJWKDW, PVLPSO\VD\LQJWKLV        $,GRQ WRIIWKHWRSRIP\KHDGNQRZWKDW


                                                 3DJH                                                        3DJH
    VWXG\                                                          4'R\RXEHOLHYHWKDW\RXUFOLQLFSRVVHVVHV
    $7KDWSDUWLFXODULQVWDQFH<HV                        UHDVRQDEO\FRPSOHWHLQIRUPDWLRQRQWKDWTXHVWLRQ"
    $77251(<%522.6,WLVRQHRIWKH          $,DFWXDOO\GRQ WWKLQNRXULQIRUPDWLRQLV
    SUHYLRXVPDUNHGRQHVLIWKDWPDWWHUV$OOULJKW              VXIILFLHQWO\FRPSOHWHFXUUHQWO\DQGWKDWDFWXDOO\LVDQ
    ,ZLOOQRWVKRZ\RXWKDWGRFXPHQW/HW          DUHDZKHUHZH UHJRLQJWRGHYHORSPRUHYLJRURXVO\
    PHDVNWKHFRXUWUHSRUWHUKRZPDQ\KRZPXFKWLPHZH         EHFDXVH,ZRXOGDFWXDOO\OLNHWRNQRZWKDW
    KDYHOHIWRQWKHFORFN                                         4'R\RXNQRZZKHWKHUDQ\SDWLHQWVRQZKRP\RXU
    &28575(3257(5,KDYHILYHKRXUV         FOLQLFKDVSHUIRUPHGVXUJHU\KDVVXEVHTXHQWO\VRXJKWWR
    DQGPLQXWHV                                                 GHWUDQVLWLRQDQGWDNHRQRUUHYHUWWRZKLFKHYHUZD\
   $77251(<75<21,GLGQ WKHDUWKDW            \RXZDQWWRVHHLWDJHQGHULGHQWLW\WKDW VDOLJQHG
   &RXOG\RXUHSHDWWKDW"                                         ZLWKWKHLUFKURPRVRPDOVH["
   $77251(<%522.6:H YHJRWDQKRXUDQG         $6RLW VDFRPSOLFDWHGTXHVWLRQ$QGDFWXDOO\,
   HLJKWPLQXWHVDFFRUGLQJWRWKHFORFNRIWKHFRXUW              MXVWZDQWWRJREDFNWRWKHILUVWSDUWZKHUH\RXZHUH
   UHSRUWHUKHUHDQG,EHOLHYHWKDWRXUIULHQGLQWKH            WDONLQJDERXWVXLFLGH
   HWKHULVFDOFXODWLQJVHSDUDWHO\                               7REHFOHDUWKHULJRU, PWDONLQJDERXWLVQRW
   9,'(2*5$3+(5&RUUHFW$QGLWVRXQGV          VXLFLGHIRFXVHGEHFDXVH,DFWXDOO\DPQRWDQWLFLSDWLQJ
   OLNHWKHVDPH,KDYHWRGRWKHPDWK                         WKDWWKDWLVWKDWWKDWLVKDSSHQLQJRULVKDSSHQLQJ
   $77251(<%522.62ND\                         PRUHWKDQZLWKEHLQJVHHQLQDJHQHUDOSRSXODWLRQEXW
   %<$77251(<75<21                                             IRUDOOHQFRPSDVVLQJWKDWZHGRGHILQLWHO\QHHGWKDW
   4$UH\RXIDPLOLDU'U6DIHUZLWKDSDSHUUHFHQWO\      %XWEDFNWR\RXUFXUUHQWTXHVWLRQ
   SXEOLVKHGE\/LVD/LWWPDQRI%URZQ8QLYHUVLW\ORRNLQJDW       4/HWPHMXPSEDFNWRVXLFLGHIRUDPRPHQW$UH
   WKHVXUYH\LQJWHHQVRU\RXQJDGXOWVDFWXDOO\           \RXDZDUHRIVWXGLHVFRPLQJRXWRI'H9U\8QLYHUVLW\DQG
   VXUYH\LQJDKXQGUHGLQGLYLGXDOVZKRUHSRUWKDYLQJ              $PVWHUGDPVXJJHVWLQJWKDWSRVWVXUJLFDOWUDQVJHQGHU
   GHWUDQVLWLRQHGDQGJRQHIURPLGHQWLI\LQJDVWUDQVJHQGHU       SRSXODWLRQVFRQWLQXHVWRH[SHULHQFHHOHYDWHGUDWHVRI


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0676
                                                 3DJH                                                        3DJH
    FRPSOHWHVXLFLGHVFRPSDUHGWRFRQWUROOHGSRSXODWLRQV"           KDYHWRVWRSHYHQWKRXJK,KDYHVRPDQ\PRUH
    $77251(<%/2&.2EMHFWLRQWRIRUP              LQWHUHVWLQJTXHVWLRQV
    7+(:,71(666R, PDZDUHWKDW                  $77251(<%522.66R'DYH,ZLOOVWRS
    WUDQVJHQGHUSHRSOHKDYHPRUHPHQWDOKHDOWKPRUELGLW\            DQG,ZLOOWXUQWKHZLWQHVVRYHUWR\RX
    WKDQRWKHUSRSXODWLRQV2QFHFRUUHFWLRQVDUHPDGHIRU          $77251(<%/2&.&RXOGZHWDNHDEUHDN
    RWKHUFRQIRXQGLQJIDFWRUV,GRQ WNQRZWKDWZHZRXOG            QRZ"
    KDYHWKDWZH UHYHU\FOHDU\HWRQWKRVHGDWD                $77251(<%522.62IFRXUVHLWLVDJRRG
    LQFOXGLQJ                                                  WLPHIRUVXUH
    %<$77251(<%522.6                                             $77251(<%/2&.7KDQNV&DQZHJRRII
   4:KHQ,UHIHUWRDSXEOLVKHGVWXG\FRPLQJRXWRI       WKHUHFRUG"
   'H9U\8QLYHUVLW\RI$PVWHUGDPVKRZLQJKLJKUDWHVRI            9,'(2*5$3+(57KHWLPHLVSP
   VXLFLGDOLW\LQSRVWVXUJLFDOWUDQVJHQGHUSDWLHQWV\RX          (DVWHUQ6WDQGDUG7LPH
   EHOLHYH\RX UHIDPLOLDUZLWKWKDWOLWHUDWXUH"                  2))9,'(27$3(
   $,JXHVVLWZRXOGIDOOLQWKHVDPHFDWHJRU\DV         
   /LWWPDQ VVHFRQGSDSHU                                         :+(5(8321$6+257%5($.:$67$.(1
   42ND\                                                 
   $:KHUH, PIDPLOLDUZLWKWKHIDFWWKDWWKH\ UH         219,'(27$3(
   GRLQJVXUYH\VDQG, PIDPLOLDUZLWKWKHEURDGRXWOLQHV        9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
   EXWFRXOGQRW                                              7KHFXUUHQWWLPHUHDGVSP(DVWHUQVWDQGDUG7LPH
   42ND\                                                 $77251(<%/2&.7KLVLV-RVK%ORFNRQ
   $FRPPHQWRQVSHFLILFVWXGLHVZLWKRXWLWEHLQJ      EHKDOIRIWKH3ODLQWLII:HKDYHFRQIHUUHGRIIWKH
   LQIURQWRIPH                                                UHFRUGLQFOXGLQJZLWKFRXQVHOIURP0RXQW6LQDLDQG
   4$QGKDYHDQ\SDWLHQWVRQZKRP\RXUFOLQLFKDV         'RFWRU6DIHUFDQDQVZHUWKHWZRTXHVWLRQVKHGHFOLQHGWR
   SHUIRUPHGVXUJHU\VXEVHTXHQWO\GHFLGHGWRGHWUDQVLWLRQ        DQVZHUEHIRUHSURYLGHGWKDWZHPDUNWKRVHSRUWLRQVRI


                                                 3DJH                                                        3DJH
    DQGDVVXPHDJHQGHULGHQWLW\DOLJQHGZLWKWKHLU                 WKHGHSRVLWLRQWUDQVFULSWFRQILGHQWLDODQGDOOFRXQVHO
    FKURPRVRPDOVH["                                                IRU'HIHQGDQWVKDYHDJUHHGZLWKWKDW
    $,GRQ W,GRQ WNQRZ7KHUHLVDEVROXWHO\         $77251(<%522.6$QGWKLVLV5RJHU
    WKHFDVHWKDWWKHUHDUHSHRSOHZKRVWRSWKHLUWUHDWPHQW         %URRNVDQG\HV,FRQILUPWKDWDOOFRXQVHOIRU
    DWGLIIHUHQWOHYHOVVRLWKDVGHILQLWHO\EHHQP\               'HIHQGDQWVKDYHDJUHHGWRWKDW
    H[SHULHQFHWKDW,KDYHSDWLHQWVZKR, YHSXWRQKRUPRQH         &21),'(17,$/3257,21%(*,16
    WUHDWPHQWVZKRKDYHVWRSSHGWKRVHKRUPRQHWUHDWPHQWV        
    $QGWKHUHDUHDOVRDPRQJRXUSDWLHQWV,GRQ WNQRZ      
    LIDQ\RIWKHSDWLHQWVZKHUHZHSHUIRUPHGWKHRULJLQDO       
   VXUJHU\WKH\DFWXDOO\ZHUHRSWLQJIRUDGLIIHUHQW           
   VXUJHU\EXWZHGHILQLWHO\KDYHSDWLHQWVZKRKDYHFRPH      
   WRXVZKRKDGDVXUJHU\GRQHHOVHZKHUHZKRZHUHORRNLQJ    
   IRUDGHJUHHEDVLFDOO\ZKDW\RX UHFDOOLQJDUHYHUVDO      
   WRWKHGHJUHHWKDWWKDW VSRVVLEOH6RWKDWVXFKD         
   WKLQJGRHVH[LVW6RWKHSRLQWDERXWVD\LQJWKDWWKH\      
   KDYHDGLIIHUHQWJHQGHULGHQWLW\WKDWZRXOGWKDWLV    
   QRWW\SLFDOO\KRZWKHSDWLHQWVFRPHVD\LQJLW7KH\        
   GRQ WVD\RKLWWXUQVRXWP\JHQGHULGHQWLW\LVQRW       
   WKDW,W VPRUHRIWHQVRFLHW\LVQRWWUHDWLQJPHZHOO     
   WKLVLVQ WZRUNLQJRXW7KDW VWKHPRUHWKDW VWKH     
   WKDW VWKHW\SLFDOVFHQDULR,PHDQ\HVZH           
   GHILQLWHO\KDYHVHHQWKDWFLUFXPVWDQFH                     
   4'DYH7U\RQZKRLVZLWKXVUHPRWHO\DV&RXQVHO     
   IRU:HVW9LUJLQLD,KDYHSURPLVHGKLPDQKRXUVR,        


                                                                                      3DJHVWR
                                                                      Armistead App. 0677
                 3DJH                                                            3DJH

                                  
       




                           



                                  
                                 
       
                               &21),'(17,$/3257,21(1'6
                            
                            
                            
                            
                            
                     
                            
                     
                            
                            
                     


                 3DJH                                                            3DJH
                                
                                (;$0,1$7,21
                                
                                %<$77251(<75<21
                         4+HOOR'U6DIHU7KDQNVIRU\RXUWLPHWRGD\
                                6R,DP'DYLG7U\RQ,UHSUHVHQWWKH6WDWHRI9LUJLQLD
                                , PDSSRLQWHGE\WKH$WWRUQH\*HQHUDO V2IILFH$QG,
                                ZDQWHGWRVWDUWRXWE\ORRNLQJDWDVNLQJ\RXWRWDNH
                         DORRNDW\RXU5HEXWWDO5HSRUW,GRQ WUHFDOOZKDW
                               H[KLELWQXPEHUWKDWLV,I\RXFRXOGWHOOXVZKDWLWLV
                        PDUNHG"
                               $77251(<:,/.,1621([KLELW
                        $77251(<75<21([KLELW
                               $77251(<:,/.,16217DE
                        7+(:,71(66,KDYHWKDWLQIURQWRIPH
                               %<$77251(<75<21
                        4&RXOG\RXWDNHDORRNDWSDUDJUDSKVL[SOHDVH"
                               'R\RXKDYHWKDWLQIURQWRI\RX"
                               $<HV
                               4*UHDW1RZLQKHUHLWVD\VLQWKHVHFRQGRU
                               PD\EHWKLUGVHQWHQFHDVUHIOHFWHGLQWKHVDPHVRXUFH
                               FLWHGE\'RFWRU%URZQGLPRUSKRXVVH[XDOFKDUDFWHULVWLFV
                               LQPHQDQGZRPHQDUHSURGXFHGE\DFRPELQDWLRQRIJHQHV
                        SUHQDWDODQGURJHQH[SRVXUHWRVH[KRUPRQHV$QG, G



                                                             3DJHVWR
                                                                                                     Armistead App. 0678
                                                 3DJH                                                         3DJH
    OLNHWRIRFXVRQWKDWSDUWLFXODUFODXVH&DQ\RX               JHQLWDOLDVRWKDWDOOEDELHVERUQZLWKZKDWZLWKD
    H[SODLQZKDWSUHQDWDODQGURJHQH[SRVXUHWRVH[KRUPRQHV         SHQLVDQGZLWKDXUHWKUDWKDWLVWKHSDUWIRUZKLFK\RX
    LV"                                                             XULQDWHWKDW VXSLQVLGHWKHSHQLVDQGKDYLQJWKH
    $<HV7KDWUHIHUHQFHV,JXHVVWRPHLW V           JRQDGVZKLFKZRXOGW\SLFDOO\EHWHVWHVLQWKHVFURWXP
    PRUHRUOHVVH[DFWO\ZKDWLWVD\VZKLFKLVWKDWWKH            DOORIWKDWKDSSHQVLQUHVSRQVHWRWHVWRVWHURQH
    GHYHORSLQJIHWXVLVH[SRVHGWRYDULRXVKRUPRQHVDQG             %<$77251(<75<21
    RWKHUIDFWRUVDQGDQGURJHQLVVSHFLILFDOO\WKHPDOH         4$QGWKHQWKDWDOVRWULJJHUVDTXHVWLRQ,KDG
    LVW\SLFDOO\ZKDWZHFRQVLGHUWREHWKHPDOHVH[                <RXKDGSUHYLRXVO\VDLGLQ\RXURULJLQDOUHSRUWD
    KRUPRQHDOWKRXJKHYHU\RQHKDVVRPH$QGWKHQSUHQDWDO         SHUVRQ VJHQHWLFPDNHXSDQGLQWHUQDODQGH[WHUQDO
   MXVWPHDQVDQGLQXWHURRULQWKHPRWKHU VZRPE               UHSURGXFWLYHDQDWRP\DUHQRWXVHIXOLQGLFDWRUVRI
   46RDQGURJHQIRUPDOHVLVWHVWRVWHURQH                DWKOHWLFSHUIRUPDQFHDQGKDYHQRWEHHQXVHGLQDOHDJXH
   ,VWKDWULJKW"                                        FRPSHWLWLRQIRUGHFDGHV
   $$QGURJHQLQJHQHUDOLVWKDWFDWHJRU\RIKRUPRQHV      0\TXHVWLRQRQWKDWLVZKHQ\RXVD\DSHUVRQ V
   WKDWZHWKLQNRIDVW\SLFDOO\PDOHHYHQWKRXJKOLNH,        JHQHWLFPDNHXSGRHVQ WWKHLUJHQHWLFPDNHXSWULJJHU
   VDLGZHDOOKDYHWKHP$QGRQHRIWKHDQGURJHQVLV           ZKHWKHURUQRWWKH\DUHJRLQJWRDSHUVRQ VJHQHWLF
   WHVWRVWHURQH$QGZLWKDGXOWVLWLVWKHRQHWKDWZHDUH       PDNHXSZLOOGHWHUPLQHZKHWKHURUQRWWKH\ UHDER\RUD
   WDONLQJDERXWPRVWRIWKHWLPHRIFRXUVH                     JLUODQGWKHUHIRUHLIWKH\ UHDER\WKDWZRXOGWULJJHU
   42ND\                                                 WKHLUJHQHUDWLRQRIPRUHWHVWRVWHURQHWKDQDJLUO
   6RDV,XQGHUVWDQGLW\RXUVXJJHVWLRQLVWKDW        ,VWKDWDIDLUVWDWHPHQW"
   WKDWSUHQDWDOH[SRVXUHWRWHVWRVWHURQHFDQKDYHDQ             $77251(<%/2&.2EMHFWLRQWRIRUP
   LPSDFWHYHQDIWHUELUWK                                       7+(:,71(66<HDKQRWKDW VVR,
   ,VWKDWULJKW"                                        WKLQN,QHHGWRZDONWKDWEDFNDOLWWOHELW:K\GRQ W
   $77251(<%/2&.2EMHFWLRQWRIRUP             ZHFDQZHGRLWOLNHSLHFHE\SLHFHRUKDYH\RX
   7+(:,71(666RDOOIDFWRUVZHOO,        UHVWDWHSDUWV"


                                                 3DJH                                                         3DJH
    GRQ WZDQWWRRYHUVWDWHLWEXWIDFWRUVWKDWRFFXUWR           %<$77251(<75<21
    ZKLFKDIHWXVLVH[SRVHGLQWKHZRPEKDYHLPSDFWRQWKH         4,ZLOOUHVWDWHLW6RZKHQ\RXVD\DSHUVRQ V
    GHYHORSPHQWRIWKDWIHWXVRIWKDWSHUVRQZKHQWKH\DUH         JHQHWLFPDNHXSZKDWGRHVWKDWPHDQ"
    ERUQDQGVRDQGURJHQVLQFOXGLQJWHVWRVWHURQHZRXOGEH        $0RVWO\LQWKLVFRQWH[W, PUHIHUHQFLQJWKHLU
    SDUWRIWKDWVR\HV                                           FKURPRVRPHVWKDW VWKHVSHFLILFWKDWLQWKHIXUWKHUSDVW
    %<$77251(<75<21                                              ZDVDFWXDOO\EHLQJXVHGWRLGHQWLI\SHRSOHZKLFKZHQR
    46RDUH\RXDZDUHRIVWXGLHVDGGUHVVLQJWKH             ORQJHUGR,W VQRWVXIILFLHQWO\UHOLDEOH
    LPSDFWRISUHQDWDOH[SRVXUHWRWHVWRVWHURQHDVLW               4'RHVWKH\RXKDYHDQ;<FKURPRVRPHWKDWLV
    LPSDFWVSHRSOHDIWHUWKHLUELUWK"                               W\SLFDOO\FRQVLGHUHGWRPHDQWKDW\RX UHDPDOH
   $77251(<%/2&.2EMHFWLRQWRIRUP             &RUUHFW"
   7+(:,71(66,WKLQN,QHHG\RXWREH          $7KH;<FKURPRVRPHLVW\SLFDOO\FRQVLGHUHGWR
   VSHFLILFDERXWZKLFKVWXGLHV                                  PHDQWKDW\RX UHDPDOHFRUUHFW
   %<$77251(<75<21                                             4$QGWKDWZRXOGPHDQWKDW\RXZRXOGEHJHQHUDWLQJ
   4$UH\RXDZDUHRIDQ\VWXG\WKDWDGGUHVVHVWKH         PRUHWHVWRVWHURQHWKDQLI\RXKDYHDQ;FKURPRVRPH
   HIIHFWRISUHQDWDOWHVWRVWHURQHXSRQER\VDIWHUWKH\ UH        5LJKW"
   ERUQ"                                                          $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%/2&.2EMHFWLRQWRIRUP             7+(:,71(666RWKHSUHVHQFHDORQHRI
   7+(:,71(666RWKH                       WKDW;<SDWWHUQLVLQVXIILFLHQWWRNQRZZLWKFHUWDLQW\
   %<$77251(<75<21                                             WKDW\RX UHSURGXFLQJPRUHWHVWRVWHURQHDQGWKDWLVSDUW
   42UPHQ"                                               RIWKHSRLQWRI, PVD\LQJLWLVWKDWELRORJLFDOVH[LV
   $6R,FDQ,JXHVV,KDYHWRNLQGRI        PRUHFRPSOH[DQG\RXFRXOGKDYHWKHJHQHIRUWKHWHVWHV
   WZRDQVZHUV([SRVXUHWRSUHQDWDODQGURJHQVNLQGRI          WKDWSURGXFHWHVWRVWHURQHHOVHZKHUHDQGWKHQ\RX
   JHQHUDOO\EHFDXVHLWLVQRWDOZD\VWHVWRVWHURQHH[SODLQ       ZRXOGQ WKDYHWKDWSDWWHUQDQG\RXVWLOOZRXOGEH
   WKHGHYHORSPHQWRIZKDWZHFRQVLGHUWREHW\SLFDOO\PDOH       SURGXFLQJWKHWHVWRVWHURQHRUYLFHYHUVD



                                                                                       3DJHVWR
                                                                                                     Armistead App. 0679
                                                 3DJH                                                         3DJH
    %<$77251(<75<21                                              FRQFOXVLRQRQSDJH"
    42ND\                                                  $6RFDQZHPRYHWKHSLFWXUHVEHFDXVHWKH\ UH
    :HOOOHW VJREDFNWRSUHQDWDOWHVWRVWHURQH          EORFNLQJ
    6R\RX UHQRWLI,XQGHUVWRRGZKDW\RX UHVD\LQJ            4&DQ\RXVHHLW"
    EHIRUH\RX UHQRWDZDUHRIDQ\VWXGLHVWKDWVKRZ               $:H UHJHWWLQJWKHUH$QGWKHQLVWKHUHDZD\WR
    ZKHWKHURUQRWSUHQDWDOWHVWRVWHURQHZRXOGKDYHOHW         PRYHWKDW"2KSHUIHFW<HV
    PHMXVWVWDUWWKDWRYHUDJDLQ                                  42ND\
    $UH\RXDZDUHRIDQ\VWXGLHVWKDWDGGUHVV              7KHFRQFOXVLRQVD\VFXUUHQWSDSHUSURYLGHV
    ZKHWKHUSUHQDWDOWHVWRVWHURQHKDVLPSDFWRQVSRUWLQJRQ        LQLWLDOVXSSRUWIURPDQDVVRFLDWLRQEHWZHHQSUHQDWDO
   DWKOHWLFVLQFKLOGUHQDIWHUELUWK"                             WHVWRVWHURQHOHYHOVDQGPHQWDOWRXJKQHVVRSWLPLVPJRDO
   $&RUUHFW7KDWZRXOGEHULJKWWRVD\WKDWWKHUH       RULHQWDWLRQVFRSLQJVWUDWHJLHVDQGKRVWLOLW\SHULRG
   DUHQRVWXGLHVRIZKLFK, PDZDUHWKDWFDQDVVRFLDWH           )LQGLQJVWHQWDWLYHO\VXJJHVWWKDWWKHPHQWLRQHG
   SUHQDWDOWHVWRVWHURQHZLWKDWKOHWLFLVP$QG,GRQ W           SV\FKRORJLFDOFKDUDFWHULVWLFVPD\EHSDUWLDOO\
   NQRZZKDWOHYHOVZH UHHYHQWDONLQJ/LNHDQDGXOW            ELRORJLFDOO\SUHGHWHUPLQHG
   OHYHO":KDW V\RXUTXHVWLRQWKHUH"                            'R\RXVHHWKDW"
   40\QH[WTXHVWLRQLVKDYH\RXKHDUGRIWKH            $,GRVHHLW\HV
   -RXUQDORI6SRUWV6FLHQFHDQG0HGLFLQH"                        4'R\RXKDYHDQ\UHDVRQWREHOLHYHZKHWKHUWKDW V
   $,JXHVV\RXZRXOGKDYHWRVKRZLWWRPH              WUXHRUQRWWUXH"
   42ND\                                                 $77251(<%/2&.2EMHFWLRQ,MXVW
   +DYH\RXHYHUKHDUGWKHQDPH-LP*ROGE\RU            REMHFWWRDVNLQJKLPDERXWDFRQFOXVLRQZKHQKHMXVWKDV
   -HQQLIHU0D\V"                                                 DOLWWOHVQLSSHWRIWKDWDQGKDVQ WUHYLHZHGWKH
   $1R                                                   DUWLFOH$QG, PQRWHYHQVXUHLILWKDVEHHQFLWHGLQ
   $77251(<75<21-DNHFRXOG\RXEULQJXS       WKHRWKHUH[SHUWUHSRUWV
   WKH([KLELWWKDW,VHQWWR\RXWRGD\ZKLFKLVWKH             7+(:,71(66,FHUWDLQO\FDQ


                                                 3DJH                                                         3DJH
    *HQHUDO6SRUWV6FLHQFHDQG0HGLFLQH"                            %<$77251(<75<21
    $77251(<:,/.,1621'R\RXVHHDQ\WKLQJ"        4*RDKHDG
    7+(:,71(66,GRQ WVHHDQ\WKLQJ2K         $,FHUWDLQO\FDQQRWVD\LIWKDWFRQFOXVLRQKDV
    WKDW 6WRRVPDOO2ND\7KDW VRND\                          DQ\ORJLFWRLWZLWKRXWNQRZLQJWKHVWXG\
    $77251(<75<212ND\                           48QGHUVWRRG,VLWSRVVLEOHVLQFHWKLV
    $QGWKLVZLOOEH([KLELWZKDW([KLELW        SDUWLFXODUVWXG\VXJJHVWVWKHUHLVDQLPSDFWRQDGXOWV
    DUHZHRQ-DNHGR\RXNQRZ"                                    E\SUHQDWDOWHVWRVWHURQH",VLWWKDWSUHQDWDO
    9,'(2*5$3+(57KLVLV                       WHVWRVWHURQHFRXOGDOVRKDYHD'6'H[SODQDWLRQIRUZK\
                                       VKRXOGER\VDW\HDUVROGKDYHPRUHDWKOHWLFDELOLW\
    :KHUHXSRQ([KLELW$UWLFOHZDV            WKDQJLUOV"
   PDUNHGIRULGHQWLILFDWLRQ                     $77251(<%/2&.2EMHFWLRQWRIRUP
                                    7+(:,71(666RVSHDNLQJ\HDK
   $77251(<75<21, PVRUU\"                 VSHDNLQJDVDQH[SHUW,FDQ WJLYH\RXDQH[SHUW
   9,'(2*5$3+(5&RUUHFW                         FRPPHQWWKHUHZLWKRXWVHHLQJWKHLUVWXG\
   %<$77251(<75<21                                             %<$77251(<75<21
   42ND\                                                 42ND\
   ,WDNHLWIURP\RXUHDUOLHUDQVZHUV\RX              6R\RXMXVWFDQ WVD\RQHZD\RUWKHRWKHU
   SUREDEO\QHYHUVHHQLWEHIRUH                                 &RUUHFW"
   ,VWKDWULJKW"                                        $77251(<%/2&.2EMHFWLRQWRIRUP
   $,FHUWDLQO\GRQ WUHFDOO,GRQ WZDQWWRVWDWH      7+(:,71(66,PRVWO\ZRXOGQ WZDQWWR
   GHILQLWLYHO\, YHQHYHUVHHQLWHLWKHUEXWLW V               FRPPHQWRQWKHLUVWXG\,ZLOORQO\PDNHWKH
   FHUWDLQO\QRWDSDSHUWKDW, PJRLQJWRNQRZRIIWKHWRS       REVHUYDWLRQWKDWWKHGDWDRIZKLFK,DPDZDUHGRQRW
   RIP\KHDG                                                    VKRZGLIIHUHQFHVIRUSUHSXEHUWDOFKLOGUHQLIWKDWZDV
   4:HOOOHWPHDVN\RXWRWDNHDORRNDWWKH            SDUWRI\RXUTXHVWLRQ


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0680
                                                3DJH                                                         3DJH
    %<$77251(<75<21                                             WKHPHGLFDOFRPPXQLW\ULJKWQRZ7KHGHWDLOHG
    4$QGVRWKHSHUIRUPDQFHGDWDWKDW'U+DQGHOVPDQ       H[SODQDWLRQVIRUWKHVSHFLILFELRORJ\DUHQRWNQRZQLI
    SRLQWHGRXWVKRZLQJWKDWWKHUHDUHVRPHGDPDJHVJLYHQ          WKDW VZKHUH\RX UHJRLQJ
    EHIRUHSXEHUW\\RXUHMHFWWKRVH"                              %<$77251(<75<21
    $77251(<%/2&.2EMHFWLRQWRIRUP             4$VVXPLQJWKHUHLVDFWXDOO\DELRORJLFDO
    7+(:,71(666RWKRVHEURDG                    FRPSRQHQWDV\RXVD\WRJHQGHULGHQWLW\WKDWVD\V
    FURVVVHFWLRQDOVWXGLHVGRQ WJHWDWLQSXWZKHWKHUWKH\       QRWKLQJDERXWZKHWKHUDELRORJLFDOPDOHLGHQWLI\LQJDVD
    DUHUHIHUHQFLQJELRORJLFDOH[SODQDWLRQVYHUVXVVRFLHWDO        IHPDOHVKRXOGDVDSXEOLFSROLF\PDWWHUEHDOORZHGWR
    H[SODQDWLRQV                                                  SDUWLFLSDWHRQDJLUOVDWKOHWLFWHDPLQKLJKVFKRRODQG
   %<$77251(<75<21                                            PLGGOHVFKRRO
   42ND\                                                5LJKW"
   :KHWKHULW VVRFLHWDORUELRORJLFH[SODQDWLRQV      $77251(<%/2&.2EMHFWLRQWRIRUP
   +DQGHOVPDQVWLOOGHPRQVWUDWHGWKDWWKHUHLVDQDGYDQWDJH      7+(:,71(666RWKHZD\WKDW,ZRXOGVD\
   IRUSUHSXEHVFHQWPDOHVRYHUIHPDOHVLQDWKOHWLFV            WKDWLVHYHQLIZHUHFRJQL]HWKDWWKHUHLVDELRORJLFDO
   5LJKW"                                                 H[SODQDWLRQIRUJHQGHULGHQWLW\WKDWGRHVQRWZHOO
   $77251(<%/2&.2EMHFWLRQWRIRUP            ,GRQ WNQRZWKDWWKHQ,FDQJRRQWRPDNHDQH[SHUW
   7+(:,71(661RQHLWKHU'U+DQGHOVPDQ       VWDWHPHQWKRQHVWO\EHFDXVHWKDWJHWVRXWVLGHP\
   LQKLVSDSHUKHGRHVQ WDFWXDOO\VD\WKDW$QGLI        SXUYLHZDQGLQWHUPVRIP\ODQHLVMXVWVLPSO\WR
   \RX,WKLQNZHORRNHGSUHYLRXVO\DWRQHRIWKH            VD\WKDW
   ILJXUHVZKHUHVSHFLILFDOO\WKHUDQJHRIRXWFRPHVLI\RX      %<$77251(<75<21
   ZHUHWRUHSHDWWKHVWXG\LQFOXGHGWKHJLUOVGRLQJ            4*RWLW&DQ\RXORRNDW\RXUUHEXWWDOUHSRUW
   EHWWHUWKDQWKHER\V                                         DQGORRNDWSDJHWZR"
   %<$77251(<75<21                                            $,KDYHP\UHEXWWDOLQIURQWRIPHDQG, PRQ
   4:HOOWKDWZDVRQO\RQHRIWKHP7KDWZDVQRW       SDJHWZR


                                                3DJH                                                         3DJH
    LW7KDWZDVRQHRIWKHFKDUWV7KHRWKHUFKDUWVKRZHG       43DUDJUDSK%"
    WKDWWKHUHZDVDQDGYDQWDJHULJKW"                            $,KDYHWKDWLQIURQWRIPH
    $77251(<%/2&.2EMHFWLRQWRIRUP             4<RXVD\JUHDW<RXVD\FLUFXODWLQJ
    7+(:,71(667KHRWKHU\HDKOHWPH        WHVWRVWHURQHLVWKHSULPDU\NQRZQELRORJLFDOGULYHURI
    WKLQNZLWKWKDWRQH5LJKW:HDUHQRWJHWWLQJLQWR          DYHUDJHGLIIHUHQFHVLQDWKOHWLFSHUIRUPDQFH'R\RXVHH
    ZKDWWKHFDXVDOLW\LVWKHQWKHRWKHUFKDUWVGLGVKRZ          WKDW"
    WKHER\VGRLQJEHWWHU$QGDJDLQWKHFDYHDWUHPDLQV          $,GR
    ZKDWLVQRWZKDWLVQRWGHPRQVWUDWHGWKHUHLVWKDW         4<RXVD\LWLVSULPDU\VRZKDWDUHWKHRWKHU
    WKHUHLVWKDWWKDWLVDELRORJLFDOWKLQJYHUVXV            ELRORJLFDOGULYHUVRIDYHUDJHGLIIHUHQFHVLQDWKOHWLF
   VLPSO\WKHYHU\ORQJVWDQGLQJVRFLHWDODQGFXOWXUDO            SHUIRUPDQFH"
   HQYLURQPHQWV                                                 $77251(<%/2&.2EMHFWLRQWRIRUP
   %<$77251(<75<21                                            7+(:,71(666RZKHQ,VRZH UH
   4$QG\RX YHFRQWHQGHGWKDWWKHUH VDELRORJLFDO       WDONLQJDERXWFLUFXODWLQJWHVWRVWHURQHOHWPHMXVW
   FRPSRQHQWWRJHQGHULGHQWLW\                                 ORRNDWWKLV5LJKW7KHWUXWKLVLVWKDWLWPD\
   &RUUHFW"                                             WKDWWKHRQO\FDQGLGDWHVWKDWZHKDYHVRIDUDUH
   $<HV                                                 WHVWRVWHURQHDWSXEHUW\DQGWHVWRVWHURQHLQWKHPRPHQW
   4:KLFKZHKDYHQRWEHHQDEOHWRLGHQWLI\LQWKLV      %<$77251(<75<21
   GHSRVLWLRQ                                                   46RLW VDFFRUGLQJWR\RXLW VWHVWRVWHURQH
   &RUUHFW"                                             DWSXEHUW\DQGFLUFXODWLQJWHVWRVWHURQHDUHWKHRQO\
   $77251(<%/2&.2EMHFWLRQWRIRUP            ELRORJLFDOGULYHUVRIDYHUDJHGLIIHUHQFHVLQDWKOHWLF
   7+(:,71(666RLWLVQRWTXLWHZHOO      SHUIRUPDQFH
   ,DFWXDOO\GRQ WNQRZZKDW VEHHQLGHQWLILHGLQWKH           ,VWKDWULJKW"
   GHSRVLWLRQ7KHGDWDDUHLQFOXGHGLQP\LQWKH           $6RH[FXVHPH, PDFWXDOO\VRWKLVLVWKH
   SDSHUVWKDW,UHIHUHQFHGWKDWDUHZKDWDUHFRQYLQFLQJWR      SUHVLGHQWRIWKHKRVSLWDO


                                                                                     3DJHVWR
                                                                                                    Armistead App. 0681
                                                 3DJH                                                        3DJH
    $77251(<%/2&., PVRUU\&DQZHJR          FRPSRQHQWVRIWKHHGXFDWLRQDOSURFHVVLQVWLWXWLRQVPD\
    RIIWKHUHFRUGIRUDPLQXWHDQGWDNHDEUHDN7KH             DGRSWSROLFLHVGHVLJQHGWRHPSKDVL]HLQFOXVLRQDQGWR
    SUHVLGHQWRIWKHKRVSLWDOLVUHWXUQLQJKLVSUHYLRXV            SURYLGHWKHPRVWDWKOHWLFRSSRUWXQLWLHVWRWKHJUHDWHVW
    FDOO                                                          QXPEHURISHRSOH<RXVHHWKDW
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       5LJKW"
    FXUUHQWWLPHLV(DVWHUQ6WDQGDUG7LPH                    $,GR
    2))9,'(27$3(                                                  46RWKHVHSROLFLHV\RXUHIHUUHGWRDUHGHVLJQHG
                                    WRHPSKDVL]HLQFOXVLRQDQGWRSURYLGHWKHPRVWDWKOHWLF
     :+(5(8321$6+257%5($.:$67$.(1                           RSSRUWXQLWLHVWRWKHJUHDWHVWQXPEHURISHRSOHZKDW V
                                  WKHVRXUFHRIWKDWSROLF\"'LG\RXFRPHXSZLWKWKDWRU
   219,'(27$3(                                                  GLG\RXVHHLWVRPHSODFHHOVH"
   9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH        $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH           7+(:,71(666RWKHTXHVWLRQLVKRZDP,
   %<$77251(<75<21                                            DZDUH"<HDK,DSRORJL]H<RXFDQKHDUWKDW, P
   40\ODVWTXHVWLRQZDVDFFRUGLQJDFFRUGLQJWR      FRQIXVHGRQ\RXUTXHVWLRQ
   \RXWHVWRVWHURQHDWSXEHUW\DQGFLUFXODWLQJ                  %<$77251(<75<21
   WHVWRVWHURQHDUHWKHRQO\ELRORJLFDOGULYHUVRIDYHUDJH       4, OOWU\DQGGREHWWHU<RXVDLGLQWXLWLRQVPD\
   GLIIHUHQFHVLQDWKOHWLFSHUIRUPDQFH                          DGRSWSROLFLHVGHVLJQHGWRHPSKDVL]HLQFOXVLRQDQGWR
   ,VWKDWULJKW"                                       SURYLGHWKHPRVWDWKOHWLFRSSRUWXQLWLHVWRHPEUDFHD
   $5LJKWWKH\DUHWKHRQO\RQHVWKDWDUHNQRZQ        QXPEHURISHRSOH$QGWKRVHSROLFLHVWKDW\RX UHVD\LQJ
   4$QGLQSDUDJUDSK&ORRNLQJRQSDJHWKUHH       WKHUHLVWKDWDSROLF\WKDW\RXUHDGDERXWVRPHZKHUHRU
   OHW VPRYHRYHUWRSDJHWKUHHDWWKHWRSRIWKHSDJH        VRPHWKLQJ\RXDUHMXVWVXJJHVWLQJ":KDW VWKHVRXUFHRI
   \RXUVWDWHPHQWLVWKHUHLVQREDVLVWRH[SHFWWKDW            WKDW"
   WUDQVJHQGHUJLUOVZKRUHFHLYHSXEHUW\GHOD\LQJ                $77251(<%/2&.2EMHFWLRQWRIRUP


                                                 3DJH                                                        3DJH
    PHGLFDWLRQIROORZHGE\JHQGHUDIILUPLQJKRUPRQHVZRXOG         7+(:,71(666RDQRSHUDWLYHZRUGLQ
    KDYHDQDWKOHWLFDGYDQWDJH7KHUH VDFRPPD%XWLIZH       WKLVLVPD\DGRSWSROLFLHVVRWKLVLVQ WUHIHUHQFLQJD
    MXVWSXWDSHULRGWKHUHLVWKDW\RXURSLQLRQ"                 VSHFLILFSROLF\WKDW,ZRXOGJLYH\RXULJKWWKLVPRPHQW
    $7KDWLVFRUUHFW<HVWKDWLVP\RSLQLRQ            LIWKDW VZKDW\RXDUHDVNLQJ
    4/HWPHDVN\RXWKHFRQYHUVH<RXVD\WKHUHLV        %<$77251(<75<21
    QREDVLVWRH[SHFWWKDWWUDQVJHQGHUJLUOVZKRUHFHLYH          46RULJKWMXVWDVLGHIURPHGXFDWLRQWKLV
    SXEHUW\GHOD\LQJPHGLFDWLRQIROORZHGE\JHQGHUDIILUPLQJ       ZKROHSDUDJUDSKLVWDONLQJDERXWHGXFDWLRQEXW\RX UH
    KRUPRQHVZRXOGQRWKDYHDQDWKOHWLFDGYDQWDJHSHULRG         QRWDQH[SHUWRQHGXFDWLRQRUWHDFKLQJPHWKRGRORJ\DUH
    :RXOG\RXDJUHHZLWKWKDWVWDWHPHQW"                           \RX"
   $1R                                                  $,FHUWDLQO\DPQRW
   4'R\RXKDYHDQ\H[FXVHPHDQ\SHUIRUPDQFH       4$QG\RXGRQ WKDYHDQ\GHJUHHVLQHGXFDWLRQRU
   GDWDIURPDQDFWXDODWKOHWLFHYHQWWKDWVXSSRUW\RXU          WUDLQLQJLQWHDFKLQJPHWKRGRORJ\GR\RX"
   RSLQLRQ"                                                      $,GRQRW
   $,GRQRWKDYHDQ\GDWDIURPDQDFWXDODWKOHWLF       4$QG\RXKDYHQRGHJUHHVRUWUDLQLQJLQSHGDJRJ\"
   SHUIRUPDQFHVWXG\IRUWKDW1R,GRQRWLQWKDW             $,KDYHQRGHJUHHLQSHGDJRJ\,ZLOOEHFDUHIXO
   FRQWH[WLQWKDWVSHFLILFLQVWDQFH                           KRZDEVROXWHO\,GRQRWEHFDXVHWKDW VQRWP\
   4/HWPHDVN\RXWRORRNDW\RXUUHSRUW7XUQWR      WKDW VQRWZKHUH,DPUHSUHVHQWLQJP\VHOIWREHDQ
   SDUDJUDSK                                                 H[SHUW,DPLQYROYHGLQVRPHHGXFDWLRQEXWDWWKH
   $6RP\UHSRUWSDUDJUDSK$OOULJKW,KDYH      VFKRODVWLFOHYHOQRWVROHW VMXVWVD\QR
   WKDWLQIURQWRIPH                                          4$QG\RXKDYHQRH[SHUWLVHDVWRZKHWKHUVSRUWV
   4*UHDW)LQDOO\XQOLNHHOLWHLQWHUQDWLRQDO          RUKRZVSRUWVDUHXVHGDVSDUWRIHGXFDWLRQDOV\VWHPV
   FRPSHWLWLRQVFKRROVDQGFROOHJHVRIWHQSURYLGHDWKOHWLF      5LJKW
   FRPSHWLWLRQDVSDUWRIDEURDGHUHGXFDWLRQDOPLVVLRQ         $&RUUHFW7KDWLVQRWWKHH[SHUWLVH7KHKRZ
   ,QWKDWFRQWH[WZKHQVFKRODVWLFDWKOHWLFVDUH                DQGP\GHFLVLRQVDPRQJWKLVDUHQRWP\H[SHUWLVH


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0682
                                                 3DJH                                                         3DJH
    4'R\RXKDYHDQ\LGHDKRZPDQ\VFKRROVDFWXDOO\         H[SUHVVLQJDQRSLQLRQLQSDUDJUDSKH[SHUWRU
    KDYHVSRUWVSURJUDPV"                                           RWKHUZLVH, PVLPSO\VWDWLQJWKHEDFNJURXQGVLWXDWLRQ
    $77251(<%/2&.2EMHFWLRQ,FRXOGQ W          %<$77251(<75<21
    KHDUWKHIXOOTXHVWLRQ<RXFXWRXW                           42ND\
    %<$77251(<75<21                                              %XWRND\,ZRXOGDVN\RXWRWXUQWR
    46RUU\'R\RXKDYHDQ\LGHDKRZPDQ\VFKRROV          SDUDJUDSKRI\RXUUHSRUW
    KDYHVSRUWVSURJUDPV"                                           $$OOULJKW
    $,FRXOGQRWJLYH\RXDQXPEHUQR                     ,KDYHWKDWLQIURQWRIPH
    4$UH\RXDZDUHWKDWVRPHFROOHJHVGRQRWKDYH           47KLVLVWDONLQJDERXWWKH,QWHUQDWLRQDO2O\PSLFV
   DWKOHWLFSURJUDPV"                                             &RPPLWWHH5LJKW"/HWPHPRYHEDFNWRSDUDJUDSKV
   $,JXHVV, PYDJXHO\DZDUH,I\RX UHDVNLQJPH       DQG
   DVDQH[SHUWWKDQ,ZRXOGQ WFRPPHQWRQWKDWDVDQ             $<HVWKLVLVWKH,QWHUQDWLRQDO2O\PSLF
   H[SHUWEXWDVDKXPDQLQVRFLHW\,FHUWDLQO\DPDZDUH         &RPPLWWHH7KLVUHODWHVWRWKH,QWHUQDWLRQDO2O\PSLF
   WKDWWKDWLVDWKLQJ                                          &RPPLWWHH
   42ND\                                                 46RWKLVIUDPHZRUNGR\RXEHOLHYHWKDW\RX
   $QGGR\RXKDYHDQ\LGHDZKDWSHUFHQWDJHRI           XQGHUVWDQGWKLVIUDPHZRUN"
   NLGVDUHLQDWKOHWLFSURJUDPVLQVFKRROVYHUVXVWKRVH          $,WKLQN\RX OOKDYHWRDVNPRUHVSHFLILF
   WKDWDUHQRWWKDWDUHVWLOOVWXGHQWV"                          TXHVWLRQVEHFDXVH,PLJKWXQGHUVWDQGSDUWVDQG,PLJKW
   $1R,ZRXOGQRWEH\RXUVRXUFHIRUWKDWGDWD          KDYHTXHVWLRQVDERXWSDUWV
   SRLQW                                                         49HU\JRRG)LUVWRIDOOLWVD\VWKH
   46RZKHQ\RXDUHH[SUHVVLQJWKLVRSLQLRQLQ            IUDPHZRUNIXUWKHUSURYLGHVWKDWTXRWHDQ\UHVWULFWLRQV
   SDUDJUDSKWKDW VQRWDQH[SHUWRSLQLRQWKHUHLVLW"        DULVLQJIURPHOLJLELOLW\FULWHULDVKRXOGEHEDVHGRQ
   $77251(<%/2&.2EMHFWLRQWRIRUP             UREXVWDQGSHHUUHYLHZHGUHVHDUFKWKDW$GHPRQVWUDWHV
   7+(:,71(666RULJKW,JXHVVLW VD          DFRQVLVWHQWXQIDLUGLVSURSRUWLRQDWHFRPSHWLWLYH


                                                 3DJH                                                         3DJH
    ELWFRQIXVLQJKHUHEHFDXVHLW VQRWP\H[SHUWRSLQLRQ          DGYDQWDJHZLWKSHUIRUPDQFHDQGRUDQXQSUHYHQWDEOHULVN
    WKDWZHOO, PFHUWDLQO\DZDUHDVDQLQGLYLGXDOWKDW        WRWKHSK\VLFDOVDIHW\RIRWKHUDWKOHWHV<RXVHHWKDW
    WKLVLVDSULRULW\DQGZKHQ,VLWRQZKHQ,VLWRQ          SDUWULJKW"
    FRPPLWWHHVZKHUHZHGLVFXVVUHODWLYHSULRULWLHVWKHUH          $,GR\HV
    DUHH[SHUWVSUHVHQWZKRGLVFXVVWKHVHSULRULWLHV%XW          4'R\RXXQGHUVWDQGZKDWWKHZRUGGLVSURSRUWLRQDWH
    LI, PVSHDNLQJWR\RXDVDQH[SHUWWKHQ,WKHQ,          PHDQVLQWKLVFRQWH[W"
    FDQ WEHWKHUHSUHVHQWDWLYHH[SHUWLQWKDWVSDFH               $7RDGHJUHH
    %<$77251(<75<21                                              42ND\
    45LJKW:HOO, PMXVWDVNLQJLQSDUDJUDSK        :KDWGR\RXXQGHUVWDQGLWWRPHDQZKHQLWVD\V
   JLYHQ\RXUODFNRIH[SHUWLVHDQGHGXFDWLRQ\RXDUHQRW        DGLVSURSRUWLRQDWHFRPSHWLWLYHDGYDQWDJHLQSHUIRUPDQFH"
   JLYLQJDQH[SHUWRSLQLRQLQSDUDJUDSK                      $7KH,2&LVDZDUHWKDWWKHUH VTXLWHDZLGHUDQJH
   ,VWKDWDFRUUHFWVWDWHPHQW"                          RIDGYDQWDJHVZLWKGLIIHUHQWERG\W\SHVDQGGLIIHUHQW
   $77251(<%/2&.2EMHFWLRQDVNHGDQG           ELRORJ\DQGVRWKH\XVHODQJXDJHOLNHGLVSURSRUWLRQDWH
   DQVZHUHG                                                      ZKHQWKH\ZDQWWRWDONDERXWVRPHWKLQJWKDW VWKDW V
   7+(:,71(666R, PVLPSO\, P             WKDW VV\VWHPDWLFDOO\DVVRFLDWHGZLWKRQH
   UDLVLQJDOORIWKHLVVXHVWKDWZHNQRZH[LVWEXWWKHQ         FLUFXPVWDQFHLQDZD\WKDWWKH\WKLQNZRXOGYLRODWHWKH
   , PQRWSURYLGLQJDQH[SHUWRSLQLRQLQWHUPVRIWKH            UXOHVZKDWHYHUWKH\PLJKWEHIRUDVSHFLILFVSRUW
   UHODWLYHSULRULWLHVDPRQJWKHVHFLUFXPVWDQFHVWKDW             47KDW VSUHWW\DPELJXRXV,KDYHQRLGHDZKDW
   H[LVW                                                         WKDWPHDQV/HWPHVHHLIZHFDQQDUURZLWGRZQ,VD
   %<$77251(<75<21                                             GLVSURSRUWLRQDWHFRPSHWLWLYHDGYDQWDJHLQSHUIRUPDQFH
   4/HWPHMXVWDVN\RXYHU\FOHDUO\LVSDUDJUDSK      ZRXOGSHUFHQWEHDGLVSURSRUWLRQDWHFRPSHWLWLYH
   DQH[SHUWRSLQLRQRI\RXUV"                                    DGYDQWDJH"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWLRQWRIRUP
   7+(:,71(66,GRQ WWKLQN, PHYHQ            7+(:,71(666RWKDW V,FDQ W



                                                                                      3DJHVWR
                                                                                                     Armistead App. 0683
                                                 3DJH                                                         3DJH
    DQVZHUWKDWEHFDXVHLWGHSHQGVRQFRQWH[WDQG, PQRW         7+(:,71(66,DVDQH[SHUWFDQQRW
    WKHSHUVRQZKRZURWHWKHVSHFLILFODQJXDJHLQWKDW              JLYH\RXDEODQNHWH[SODQDWLRQRIZKDWZRXOG
    GRFXPHQWVRWKDWLVWKHTXRWHIURPWKHGRFXPHQW%XW          VSHFLILFDOO\FRQVLVWRIZKDWZRXOGVSHFLILFDOO\PHHW
    LQWHUPVRI,GRQ W,WKLQNZHJRVRPHSODFHZH          WKDWGHILQLWLRQ:KHQWKH\ZURWHWKHVWDWHPHQWWKH\
    GRQ WZDQWWRJRLIZHWU\WRRYHUGHILQHWKHVSHFLILF          GLGQ WDFWXDOO\HYHQKDYHVSHFLILFJXLGDQFHWKDWLV
    ZRUGGLVSURSRUWLRQDWH                                          VLPSO\WKHVSLULWRIDJXLGHOLQHWKHVSLULWRIZKDW
    %<$77251(<75<21                                              DVSHFLILFJXLGHOLQHVKRXOGFRQVLGHUZKHQWKDWJXLGHOLQH
    46RLW VMXVWQRWVRPHWKLQJWKDW\RXRU,FRXOG         LVPDGH
    ORRNDWDQGUHDFKDQ\NLQGRIFRQFOXVLRQWRWHOOWKHP           %<$77251(<75<21
   ZKDWWKDWPHDQVVLWWLQJKHUHWRGD\                            4'R\RXNQRZZKDWWKH\PHDQWZKHQWKH\VDLG
   ,VWKDWULJKW"                                        XQIDLU"
   $,WKLQNLIZHORRNDWDVSHFLILFVSRUW,WKLQN       $6RWKHLW VNLQGRIWKHVDPHFLUFXPVWDQFH
   WKDWLILWZDVOLPLWHGWRMXVWWKHWZRRIXVZHPLJKW          7KDWLVWKHSXUSRVHRIWKLVVWDWHPHQWLVWREHJOREDO
   QHHGPRUHH[SHUWLVHWRPDNHDGHFLVLRQ                        JXLGDQFHIRUWKHH[SHUWVLQWKHVSHFLILFVSRUWZKHQWKH\
   4:HOOOHW VVD\LIZHWDONHGDERXWWKHRQHPLOH       PLJKWGHYHORSJXLGHOLQHVUHOHYDQWWRWKHLUVSHFLILF
   UXQQLQJRQHPLOHLVWKDWVRPHWKLQJWKDWZHFRXOG          VSRUW6RIRUH[DPSOHWKHJURXSZLWKH[SHUWLVHLQWKDW
   WKHQGHWHUPLQHZKDWGLVSURSRUWLRQDWHFRPSHWLWLYH               RQHPLOHUXQWKDW\RX UHUHIHUHQFLQJVKRXOGWKLQNLQ
   DGYDQWDJHDQGSHUIRUPDQFHZRXOGPHDQ"                          WKLVFRQWH[W7KDW VDOOWKLVLVGRLQJ
   $77251(<%/2&.2EMHFWLRQWRIRUP             4$QGVRPHRIWKHVSRUWLQJRUJDQL]DWLRQVKDYHFRPH
   7+(:,71(66,WZRXOGGHSHQGRQFRQWH[W       XSZLWKVRPHYHU\VSHFLILFUXOHV
   $QGLIZH UHWDONLQJDERXWDWWKHHOLWHOHYHOZKLFKLV         &RUUHFW"
   ZKDWWKH,2&UHIHUHQFHVDQGZHOLPLWHGHYHQWKHQLI        $6RPHRIWKHVSRUWLQJIHGHUDWLRQVKDYHFRPHXS
   ZHOLPLWLWMXVWWR\RXDQGWRP\VHOIZHZRXOGZDQW           ZLWKVSHFLILFUXOHV\HV
   PRUHH[SHUWLVH                                                4$QGDV,UHFDOOVRPHRIWKHPUHTXLUHDFHUWDLQ


                                                 3DJH                                                         3DJH
    %<$77251(<75<21                                              OHYHORIFLUFXODWLQJWHVWRVWHURQH
    45LJKW2ND\                                          ,VWKDWULJKW"
    6RZHGRQ WNQRZZKDWWKH,2&PHDQWE\WKLVLQ         $6RPHRIWKHVSRUWLQJIHGHUDWLRQVXVHDFHUWDLQ
    DQ\SDUWLFXODUFRQWH[WGRZH"                                   OHYHORIFLUFXODWLQJKRUPRQHDVSDUWRUDOORIWKHLU
    $77251(<%/2&.2EMHFWLRQWRIRUP              UROHV
    $77251(<75<21$FWXDOO\OHWPHUHGUDZ         4$QGVRPHRIWKHPXVHWKHOHYHOWKDW\RX YH
    WKLVTXHVWLRQ                                                  PHQWLRQHGWKDW\RXZHUHLQYROYHGLQVHWWLQJZKLFKZDV
    %<$77251(<75<21                                              1PROVD\LWIRUPH1PROVRPHWKLQJ
    4<RXDVDQH[SHUWZRXOGQRWEHDEOHWRJLYHPHDQ       $1PRO/VSHUOLWHU<HVVRPHRIWKHPXVHWKDW
   H[SHUWRSLQLRQRQZKDWGLVSURSRUWLRQDWHFRPSHWLWLYH            QPRO/SHUOLWHUWKUHVKROG
   DGYDQWDJHLQSHUIRUPDQFHRIWKHRQHPLOHUXQZRXOGEH         4'LGWKH\ZKHUHGLGWKH\JHWWKDWQPRO/
   ULJKW"<RXFRXOGQRWJLYHPHDQH[SHUWRSLQLRQRQWKDW       TXDQWLW\GR\RXNQRZ"
   )DLUVWDWHPHQW"                                       $77251(<%/2&.2EMHFWLRQWRIRUP
   $,I\RXEUHDNWKHZRUGVRXWLQWKDWLQWKDW        7+(:,71(666R,GRNQRZZKHUHWKDW
   IDVKLRQWKHQLWGRHVEHFRPHGLIILFXOW,I\RXDVNPH          QXPEHUFRPHVIURPRULJLQDOO\IRU:RUOG$WKOHWLFVZKLFK
   ZKDWWKHHQWLUHVWDWHPHQWDIWHUWKHOHWWHU$LV                LVWKHILUVWRQHWRSXWWKDWQXPEHURXW$QGWKDW
   UHIHUHQFLQJ,FDQDWOHDVWH[SODLQVRPHRIWKHWKRXJKW        QXPEHUFRPHVIURPVWXGLHVRIVRPH2O\PSLFDWKOHWHVLQ
   SURFHVVIRUWKH,2&WKHUH                                     VRPHUDFHVZKHUHWKHUHZDVIRUDWOHDVWFHUWDLQ
   4:HOOP\TXHVWLRQLVVLPSO\\RXDVDQH[SHUW        GLVWDQFHVDGHPRQVWUDEOHGLIIHUHQFHEHWZHHQSHRSOHZKR
   DUH\RXDEOHWRWHOOPHZKDWDEOHWRGHILQHIRUPH         KDGDQGVSHFLILFDOO\SHRSOHLQWKHIHPDOHFDWHJRU\
   ZKDWZRXOGEHDFRQVLVWHQWXQIDLUGLVSURSRUWLRQDWH            ZKRKDGORZHUQXPEHUVRIWHVWRVWHURQHWKDQWKDWDQG
   FRPSHWLWLYHDGYDQWDJHLQSHUIRUPDQFHLQDRQHPLOHUXQ         KLJKHUQXPEHUVRIWHVWRVWHURQHWKDQWKDW
   IRUWKH,2&"                                                   %<$77251(<75<21
   $77251(<%/2&.2EMHFWLRQWRIRUP             4<RXZHUHRQWKDWFRPPLWWHH


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0684
                                                 3DJH                                                        3DJH
    5LJKW"                                                5LJKW"
    $,ZDVRQWKHJURXSWKDWZURWHWKDW:RUOG              $77251(<%/2&.2EMHFWLRQWRIRUP
    $WKOHWLFVSROLF\\HV1RWRQWKHJURXSWKDWGLGWKDW         7+(:,71(666RWKHGLIIHUHQW
    VWXG\                                                         ,QWHUQDWLRQDO$WKOHWLF)HGHUDWLRQVZHUHWRPDNHXVHRI
    4$QGVRKRZGLG\RXILQDOO\FRPHXSZLWKWKH           GDWDVXFKDVLWH[LVWVWRPDNHWKHLURZQUXOHVIRU
    QXPEHURIILYHDVRSSRVHGWRIRXURUVL[RUWKUHHRU           SDUWLFLSDWLRQLQWKHLUVSRUWV
    VHYHQ"                                                         %<$77251(<75<21
    $7KHQXPEHUILYHGLVFULPLQDWHVLQWHUPVLQ         4$QGGLIIHUHQWRUJDQL]DWLRQVFDPHXSZLWKYHU\
    WHUPVRIWKHUHEHLQJVRPHGHPRQVWUDWHGDGYDQWDJHRU            GLIIHUHQWUXOHV
   LPSURYHGRXWFRPHLVUHDOO\ZKDWLWZDVIRUWKRVHZLWK        5LJKW"
   KLJKHUQXPEHUVYHUVXVWKRVHZLWKORZHUQXPEHUV7KDW         $77251(<%/2&.2EMHFWLRQWRIRUP
   ZDVQRWWUXHQHFHVVDULO\ZLWKDORZHUWHVWRVWHURQH            7+(:,71(666RPRVWRIWKH
   WKUHVKROG7KDWLVDGLIIHUHQFHZDVQRWDVDSSDUHQWDQG      LQWHUQDWLRQDOIHGHUDWLRQVVWLOOGRQRWKDYHUXOHV
   WKDW VUHDOO\WKHHQWLUHORJLFSDWWHUQWKHUH                 DFWXDOO\$QGKRQHVWO\WKDW VPRVWO\DORJLVWLFV
   4:HOOHDUOLHU\RXMXVWVDLGLWFRXOGKDYHEHHQ       VLWXDWLRQZKHUHVRPHRIWKHVHRUJDQL]DWLRQVDUHWRR
   \RXGLGQ WWKLQNWKHUHZDVWKDWPXFKGLIIHUHQFH           VPDOOWRSXWWKHGDWDWRJHWKHURUWKHFRPPLWWHHV
   EHWZHHQILYHDQGVL[7KDWZDV\RXUWHVWLPRQ\HDUOLHU        WRJHWKHUWRPDNHUXOHV
   DV,UHFDOO                                                  %<$77251(<75<21
   5LJKW"                                                47KRVHWKDWGRKDYHUXOHVKDYHGLIIHUHQWUXOHV
   $77251(<%/2&.2EMHFWLRQ                    &RUUHFW"
   7+(:,71(66$VDQHQGRFULQRORJLVW,FDQ      $7KRVHWKDWGRKDYHUXOHVKDYHKDGGLIIHUHQW
   WHOO\RXWKDWWKRVHGLIIHUHQFHWKDWWKDW VULJKW          FRQYHUVDWLRQVLQWKHVSDFH,GRQ WNQRZWKDW,FRXOG
   WKDWWRWKHGLIIHUHQFHEHWZHHQILYHDQGVL[ZRXOGEH      V\VWHPDWLFDOO\JRWKURXJKDOORIWKHPEXWWKHUHLVVRPH
   KDUGWRGHPRQVWUDWH                                          YDULDWLRQ\HV


                                                 3DJH                                                        3DJH
    %<$77251(<75<21                                             46RPHUHTXLUHKDYHD/HYHOQDQRPROHVSHU
    46RKRZGLG\RXVHWWOHRQILYHLQVWHDGRIVL[RU       OLWHUDQGVRPHVWLOOKDYHWHQ
    ILYHRUVL[LQVWHDGRIIRXU"                                   5LJKW"
    $6R,JXHVVWKHLQSXWVDUHWKDWWKHUHQHHGHGWR        $6R, GKDYHWRJREDFNDQGORRN<RXZRXOGKDYH
    EHDOLQHVRWKDWWKHUH VDELOLW\WRHQIRUFHVRPHWKLQJ        WRVKRZPH:RUOG$WKOHWLFVKDVILYHIRUVXUH$QG
    7KHUHQHHGHGWREHDUXOH$QGWKHFKRLFHRIILYH            WKDW VWKHRQHZKHUH, PPRVWIDPLOLDUEHFDXVH,ZDV
    PRVWO\LVZKDW, YHEHHQVD\LQJDOUHDG\ZKLFKLV         DFWXDOO\VLWWLQJLQWKHURRPKHOSLQJGUDIWWKDW7KH
    LW VDFOHDQQXPEHUZKHUHWKHUH VDWOHDVWVRPH                ,2&LQWKHSDVWKDGXVHGWHQDVDOLQHEXWWKDWMXVW
    GLVWDQFHVWKHUH VDGHPRQVWUDEOHGLIIHUHQFHLQRXWFRPHV       VLWVWKHUHULJKWQRZDVDDVDQXPEHUVRPHRQHPLJKW
   DWWKDWOHYHODERYHDQGEHORZWKDWOHYHO                 DGRSW,DFWXDOO\GRQ WNQRZRIIWKHWRSRIP\KHDGLI
   46RDUH\RXVD\LQJWKDWWKHUHLVDYDOXHRI           DQ\ERG\KDVDGRSWHGWKDWIRUWKHLUIRUPDOUXOHV
   KDYLQJDKDUGUXOH"                                           4:KDWZDVWKHVFLHQWLILFEDVLVIRUWKHWHQ
   $77251(<%/2&.2EMHFWLRQWRIRUP            QDQRPROHVSHUOLWHU"
   %<$77251(<75<21                                            $7KHORJLFIRUWHQDWWKHWLPHLVLWLVWKH
   40D\EH,VKRXOGVD\KDYLQJDFOHDQUXOH"              ERWWRPRIWKHPDOHUDQJH7KDW VLWVKLVWRU\
   $6RDVDQH[SHUW, PQRWWKDWZDVQ WP\UROH      42ND\
   RQWKHFRPPLWWHHWRGHWHUPLQHWKDWWKHUHQHHGHGWREHD       6RLWVRXQGVWRPHOLNHWKHUHLVURRPIRU
   UXOHEXWWKDWLVFHUWDLQO\WKHORJLFSDWWHUQRIWKH          UHDVRQDEOHGLVFXVVLRQDERXWZKDWWKHDSSURSULDWHUXOH
   FRPPLWWHHWKDWWKHUHRXJKWWREHDUXOH7KDWLVQRWP\      RXJKWWREH"
   H[SHUWRSLQLRQ                                               $77251(<%/2&.2EMHFWLRQWRIRUP
   42ND\                                                7+(:,71(667KHZD\,ZRXOGVD\LWLV
   %XWGLIIHUHQWRUJDQL]DWLRQVDUHIUHHWRFRPHXS      DVGLIIHUHQWDWKOHWLFRUJDQL]DWLRQVREWDLQGDWDWKH\
   ZLWKGLIIHUHQWFRQFOXVLRQVRIDERXWZKDWWKHLUUXOHV          PLJKWXVHWKRVHGDWDWRGHWHUPLQHGLIIHUHQFHVLQFOXGLQJ
   RXJKWWREH                                                  LIWKHLIRXUEHVWPHDVXUHLVWHVWRVWHURQH


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0685
                                                 3DJH                                                          3DJH
    GLIIHUHQWWKUHVKROGVRIWHVWRVWHURQH                           4,QWKRVHWZRVWXGLHVGLGWKH\FKHFNWKH
    %<$77251(<75<21                                              FLUFXODWLQJWHVWRVWHURQHLQWKHLQGLYLGXDOVLQWKHVH
    4:RXOGLWEHDSSURSULDWHWRXVHSHUIRUPDQFHGDWD        VWXGLHV"
    DVZHOOWRPDNHWKRVHGHFLVLRQV"                                $, GKDYHWRORRN,WKLQNZHGLGORRNHDUOLHU
    $7KHEHVWGDWDLQP\RSLQLRQDUHDFWXDORXWFRPHV        WRGD\ZLWKUHJDUGWRWKH+DUSHUVWXG\DQG,GRQ WWKLQN
    ZLWKLQDJLYHQVSRUW                                           VKH VUHIHUHQFLQJWHVWRVWHURQHOHYHOVDWDOO$JDLQ
    4:KDWGR\RXPHDQE\RXWFRPHVSHUIRUPDQFH"$UH        , GKDYHWRJREDFNDQGORRNWREHVXUH:HZHUH
    ZHVD\LQJWKHVDPHWKLQJ"                                       WDONLQJDERXWZKHWKHUWKH\ZHUHVHOIUHSRUWHG$QGWKH
    $,GRQ WNQRZLIZH UHVD\LQJWKHVDPHWKLQJ6R       ZLWKWKH5REHUWVWXG\,ZRXOGKDYHWRJREDFNDQG
   WKHVWXGLHVWKDW,UHIHUHQFHDUHWKH5REHUWVVWXG\DQG         ORRNDWWKDWRQHWRR, PIHHOLQJOLNHWKHDQVZHULV
   WKH+DUSHUVWXG\ZKHUHWKH\DFWXDOO\ORRNDWVSHFLILF         QREXWZHFDQORRNWKHUHLI\RXZDQW
   DWKOHWLFHQGHDYRUVDQGPHDVXUHWKRVHDVRSSRVHGWRWKH         4<HDKZHGRQ WQHHGWR, PSUHWW\VXUHWKDWZH
   VWXGLHVZKHUHWKH\ UHVLPSO\VLWWLQJLQDSK\VLRORJ\ODE       MXVWWDONHGDERXWKRZORQJWKH\KDGEHHQLQWKHWKHUDS\
   PHDVXULQJVRPHERG\PRYHDQDUPEDFNDQGIRUWKDQG              UDWKHUWKDQDFWXDOPHDVXUHPHQWV
   WKLQNLQJWKDWLWPLJKWDVVRFLDWHZLWKVRPHDFWXDO              :HOOOHWPHPRYHRQ,NQRZZHGRQ WKDYHD
   DWKOHWLFSHUIRUPDQFH                                          ORWRIWLPHOHIW
   46RPHERG\PRYLQJWKHLUDUPEDFNDQGIRUWKZLWK         6R\RXVDLG\RX UHIDPLOLDULQ\RXUH[SHUW
   ZHLJKWVWKDW VQRWDWKOHWLF"                                  UHSRUW\RXDUHIDPLOLDUZLWK+%
   $,W VDJDLQLWZRXOGULJKWWKDW V        ,VWKDWULJKW"
   WKDW VRQO\WKDW VZKDWZHZRXOGFDOODVXUURJDWH          $77251(<%/2&.2EMHFWLRQWRIRUP
   HQGSRLQWZKHUH\RXDUHVLPSO\ORRNLQJDWVRPHWKLQJWKDW        7+(:,71(666R\HV, PVRPHZKDW
   PLJKWFRUUHODWHZLWKZKDW\RXZDQWEXWEXW\RX            IDPLOLDU
   GRQ WNQRZLWXQWLO\RXWHVWLW,WHQGVXSEHLQJZKDW        %<$77251(<75<21
   ZHFDOOK\SRWKHVLVJHQHUDWLQJ7KDWLVKRZZHZRXOGVD\       4+DYH\RXUHDGWKHZKROHWKLQJ"


                                                 3DJH                                                          3DJH
    LWLQDVFLHQWLILFZD\                                         $,GRQ WWKLQN, YHUHDGWKHZKROHWKLQJQR
    4$QGWKHVDPHZRXOGKROGWUXHZLWKWKHOHYHORI         4:KHQGLG\RXILUVWKHDURI+%"
    FLUFXODWLQJWHVWRVWHURQH\RXZRXOGZDQWWRDFWXDOO\            $,SUREDEO\ILUVWKHDUGRILWZKHQWKHZKHQ,
    WHVWWKDWLQUHDOOLIHWRVHHKRZSHRSOH VFLUFXODWLQJ          UHFHLYHGFRQWDFWIURPWKH$&/8WRVHUYHDVDQH[SHUW
    WHVWRVWHURQHDFWXDOO\WUDQVODWHVLQWRSHUIRUPDQFHRIDQ         ZLWQHVV
    DFWXDODWKOHWLFFRQWHVW                                        4'R\RXUHFDOOLIWKDWZDVEHIRUHRUDIWHULWZDV
    5LJKW"                                                 SDVVHG"
    $7KDW VULJKW6RWKHGDWDWKDWZHUHXVHGWR           $,GRQ WUHFDOO,ZRXOGKDYHWRVSHFXODWHWKDW
    GHWHUPLQHWKHILYHQDQRPROHSHUOLWHUFXWSRLQWDUH             LWZRXOGEHDIWHUEHFDXVHWKDWZRXOG,PHDQWKDW
   SDVVLYHO\FROOHFWHGGDWD$QGLIVRPHERG\GLGDVWXG\         ZRXOGPDNHVHQVHWKDWWKDWLVWUXHEXW,GRQ WUHFDOO
   ORRNLQJDWWKDWWKUHVKROGDQGIRXQGWKDWWKHUHZDV            VR,ZRXOGQ WEHDEOHWRDQVZHUWKDW
   OHW VVD\QRGLIIHUHQFHWKHQWKDWUXOHPLJKWEH              42ND\
   GLVFDUGHG                                                     6RZHZRXOGUHIHUWRWKLVDV6WDWH:RPHQ V
   4$QGVRIDURWKHUWKDQ5REHUWVDQG+DUSHULI,       6SRUWV/DZDQGWKHUH VRWKHUW\SHVRIODZVOLNHWKLV
   UHFDOOFRUUHFWO\WKRVHDUHWKHRQO\WZRWKDW\RXNQRZ         WKURXJKRXWWKHFRXQWU\
   RI                                                            $UH\RXDZDUHRIWKDW"
   5LJKW"                                                $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%/2&.2EMHFWLRQWRIRUP             7+(:,71(666R, PDZDUHWKDWWKHUHDUH
   7+(:,71(667KRVHDUHWKHRQO\WZR            DWWHPSWVDWOHJLVODWLRQDQGVRPHDFWXDOOHJLVODWLRQ
   VWXGLHVWKDWKDYHJRQHWKDWH[WUDVWHSDQGORRNHGDWDQ        SDVVHGWREORFNWUDQVJHQGHUDWKOHWHVLQYDULRXV
   DFWXDODWKOHWLFDFWLYLW\ZLWKDQRXWFRPHWKDWLVSDUWRI       SHUPHDWLRQVLQFOXGLQJWUDQVJHQGHUZRPHQLQVHYHUDO
   WKDWDWKOHWLFDFWLYLW\DQGQRWZKDW,ZDVMXVW                 VWDWHV, PDZDUHRIWKDW\HV
   UHIHUHQFLQJDVDVXUURJDWHHQGSRLQW                          %<$77251(<75<21
   %<$77251(<75<21                                             4$UH\RXDZDUHWKHQ+RXVH%LOOWKHZRUG


                                                                                      3DJHVWR
                                                                                                           Armistead App. 0686
                                                 3DJH                                                                 3DJH
    WUDQVJHQGHUGRHVQRWDSSHDUDWDOO"                              IRUH[DPSOHJHQGHULGHQWLW\$QGWKHSKUDVLQJ
    $+RXVH%LOOWKDW VWKLVRQH"                         FKDUDFWHULVWLFGHILQHGELQDU\IRUPLVQRWQHFHVVDULO\
    47KDWLVWKLVRQH                                       WUXHIRUHDFKFRPSRQHQWRIELRORJLFDOVH[
    $,ZDVQRWDZDUHWKDWWKHZRUGWUDQVJHQGHUGRHV          46R\RXGLVDJUHHZLWKWKHVWDWHPHQWLQWKH
    QRWDSSHDUDWDOO                                               +DQGHOVPDQUHSRUWLVWKDWGLG,VWDWHWKDWIDLUO\"
    4$UH\RXWUDFNLQJWKHRWKHUELOOVRXWWKHUHWKDW         $5LJKW,ZRXOGFKDUDFWHUL]HWKHVWDWHPHQWDV
    DUHVLPLODUWR+RXVH%LOO"                                  QRWH[KDXVWLYH
    $,DPQRWSHUVRQDOO\WUDFNLQJWKHRWKHUELOOV           $77251(<75<21/HWPHDVNWKHFRXUW
    QR                                                              UHSRUWHULI,KDYHDQ\WLPH
   4&DQ\RXWDNHDORRNDWWKH+DQGHOVPDQUHSRUW           &28575(3257(5,KDYHVL[PLQXWHVDQG
   WKDW\RXKDYHLQIURQWRI\RX,GRQ WUHFDOOWKH              VL[KRXUVDQGPLQXWHV
   H[KLELWQXPEHU                                                 $77251(<75<21:HOO,JXHVVZLWKP\
   $77251(<:,/.,1621,WKLQN([KLELW          ODVWWZRPLQXWHV, OOMXVWVD\WKDQN\RXIRU\RXUWLPH
   RKVRUU\LW V([KLELW,WKLQN                         DQG,DSSUHFLDWHLW$QG,GRQ WKDYHDQ\RWKHU
   7+(:,71(66,GRQ WVHH                       TXHVWLRQV,GRQ WNQRZLIDQ\RIWKHRWKHU'HIHQGDQWV
   $77251(<:,/.,1621,FDQJLYH\RXWKDW        GR,GRXEWLW%XWJRDKHDG,IWKH\GRJRDKHDG
   7+(:,71(667KHVWDFNJRWELJ                 .HOO\"
   $77251(<75<21:HFDQMXVWEULQJLW        $77251(<025*$17KLVLV.HOO\0RUJDQ
   LI\RXFDQ WILQGLWZHFDQEULQJLWXSRQWKHVFUHHQ"          ,GRQ WKDYHDQ\TXHVWLRQV7KDQN\RXVRPXFK
   7+(:,71(662ND\                              $77251(<75<215REHUWD"6XVDQ\RX UH
   ,ZDVJLYHQDQRWKHUFRS\VRZH UHJRRG         QH[W
   ,KDYHLWLQIURQWRIPH                                       $77251(<*5((17KLVLV5REHUWD*UHHQRQ
   %<$77251(<75<21                                              WKHEHKDOIRIWKH66$&1RTXHVWLRQV7KDQN\RX
   42ND\                                                  $77251(<'(1,.(5'U6DIHUWKLVLV


                                                 3DJH                                                                 3DJH
    2QWKHVHFRQGSDJH"                                    6XVDQ'HQLNHU,KDYHQRTXHVWLRQV7KDQN\RXIRU\RXU
    $2QWKHVHFRQGSDJH                                    WLPHWRGD\
    42ND\                                                  $77251(<75<21:HDUHILQLVKHG
    8QGHUIDLUQHVVDQGVHJUHJDWLRQLQVSRUWV              9,'(2*5$3+(57KLVFRQFOXGHVWKLV
    'R\RXVHHWKDWVHFWLRQ"                               GHSRVLWLRQ7KHFXUUHQWWLPHUHDGVSP(DVWHUQ
    $,GR                                                  6WDQGDUG7LPH
    4,QWKHWKLUGIXOOSDUDJUDSKXQGHUQHDWKWKHUH             
    RKWKHIRUPDWWLQJWKHUHLVDOLWWOHGLIIHUHQWWKDQWKH          9,'(27$3(''(326,7,21&21&/8'('$730
    FRS\WKDW,KDYH/HW VVHH7KHUH VDSDUDJUDSKWKDW               
   VWDUWVWKHWHUPVVH[DQGJHQGHU7KHUHLWLV7KH         
   WHUPVVH[DQGJHQGHUDUHRIWHQFRQIXVHGDV                  
   LQWHUFKDQJHDEOH1RZ,ZDQW\RXWRIRFXVRQWKLVQH[W     
   VHQWHQFH6H[LVDQREMHFWLYHVSHFLILFELRORJLFDO          
   VWDWHDWHUPZLWKGLVWLQFWIL[HGIDFHWVQRWDEO\            
   JHQHWLFFKURPRVRPDOJRQDGDOKRUPRQDODQGSKHQRW\SLF      
   LQFOXGLQJJHQLWDOVH[HDFKRIZKLFKKDVD                  
   FKDUDFWHULVWLFGHILQHGELQDU\IRUP'LG,UHDGWKDW        
   FRUUHFWO\"                                                  
   $<RXUHDGWKDWFRUUHFWO\\HV                      
   4'R\RXDJUHHZLWKWKDWVWDWHPHQW"                  
   $,GRQ WDJUHHZLWKWKDWVWDWHPHQWFRPSOHWHO\      
   QR                                                         
   4:KDWVSHFLILFDOO\GR\RXILQGREMHFWLRQDEOH       
   $,W VPLVVLQJVRPHFRPSRQHQWVRIVH[LQFOXGLQJ    



                                                                                                3DJHVWR
                                                           Armistead App. 0687
                                                                 3DJH

      $       DFDGHPLF       DFWLYH              
DP                 DFWLYHO\       DGPLQLVW      
         DFDGHPLF                        
              DFWLYLWLHV     DGROHVFHQFH      
DELOLW\       DFFHQWXDWHV                      
                                        
         DFFHSW                        
DEOH                 DFWLYLW\                 
                              
     DFFHSWDEOH           DGROHVFHQWV     
                DFWXDO               
         DFFHVV                        
                                      
                          DGRSW       
                                   
                                       
        DFFLGHQW                    
                          DGRSWHG         
        DFFLGHQWV                        
                                      
         DFFRXQWDQW                         
              DG                   
        DFFRXQWDQWV    DGGLWLRQ                 
                            DGXOW       
      DFFXUDF\                       
                                  
               DGGLWLRQDO     DGXOWKRRG       
                                  
        DFFXUDWH       DGGUHVV    DGXOWV     
DEQRUPDO                             
                                      
DEVHQFH                                    
         DFFXVHG        DGGUHVVHG                
DEVHQW                                      
        DFFXVLQJ                 DGYDQFH     
                  DGGUHVVHV               DGYDQWDJHV
        DFKLHYH                 DGYDQWDJH        
DEVROXWH                DGGUHVVLQJ                
     DFKLHYHG                            
                               
                                      
        $&/8                         
DEVROXWHO\              DGHTXDWHO\             
         DFTXDLQWHG                     
                   DGKHUHG                 
         DFTXLUHG                         
                               
DEVWUDFW      DFWLQJ    $GNLQV                
                                    
         DFWLRQ    $GNLQV V               
                                        
        DFWLRQV        DGPLQLVWHU                
                                             
                                                           Armistead App. 0688
                                                                 3DJH

                                    
              DKHDG    DQDO\VHV        
                                   
                           DQDO\VLV        
                                 
DGYLVH         DLU                
DGYLVLQJ                      DQDWRPLF        
                 DO                    
DIIHFW                    DQDWRP\         
DIILUP                              
DIILUPLQJ      DJHEDVHG                      
               DOLJQ               
          DJHQF\    DOLJQHG                  
         DJHQHVLV                          
                                 DQVZHUHG
          DJHQWV                 DQGRU     
                          $QGUHZ      
         DJHV                           
                 DOLJQPHQW      DQGURJHQ       DQVZHULQJ
                                   
          DJR      DOOHJHG                 DQVZHUV 
                           
         DJUHH    $OOLDQFH              
              DOORZ    DQGURJHQV       
                                  DQWLFLSDWH
                   DOORZHG                   
                                  
                       DQHFGRWHV      DQWLFLSD
                                       
                DORQJVLGH      DQJU\    DQ\ERG\
                                 
                 DOWHUDWLRQ     DQLPDWHG        
                                      DQ\ZD\ 
                DOWHUHG        $QQDOV    DSDUW 
$IULFD                DQQRXQFHG      DSRORJL]H
DIWHUQRRQ           DOWHUQDWH                
                        DQVZHU      
                               
DJH                                 
               DOWHUQDWLYH               
                                        
                              
            DOWRJHWKHU            
                            DSSDUHQW
               DPELJXRXV             
                                    
             $PHULFD                
                                      DSSDUHQWO\
            $PHULFDQ           
       DJUHHG    $PVWHUGDP               DSSHDU 
                                 
                                DSSHDUDQFH
     DJUHHPHQW     DQDORJ                    
                                                           Armistead App. 0689
                                                                 3DJH

DSSHDULQJ                                
        DUELWUDO                        DVVRFLDWH
DSSOLFDE                             
        DUELWUDULDO                       
DSSOLFDEOH                              DVVRFLDWHG
        DUELWUDWLRQ                    
                            
                                 
DSSOLFDWLRQ                             
                                  
DSSOLHG                                  
      DUHD                          
DSSOLHV                               
                               
DSSO\                              
                                      
                                   
                                   
                                      
DSSRLQWHG     DUJXH                       
         DUJXPHQW       DUWLFOHV                 DVVRFLDWHV
DSSUHFLDWH                               
                                      DVVRFLDWLRQ
        DUJXPHQWV               DVSHFW          
DSSURDFK                DUWLFXODWH              DVVRFLDW
          DULVLQJ                 DVSHFWV     
              $UXQD               DVVXPH 
     DUP             DVVHUW          
              DVFHUWDLQ               DVVXPLQJ
DSSURDFKHG    DUPHG             DVVHUWHG        
         $UPLVWHDG      DVFHUWDL               
DSSURSULDWH                DVVHUWLQJ       
      DUULYH     DVFULEHG                 DWKOHWH 
                              DVVHUWLRQ       
       DUURZ      DVLGH              DWKOHWHV
                                    
                            DVVHVV      
DSSURSUL                       DVVHVVPHQW       
        DUW       DVNHG                 
DSSURYH       DUWLFOH                          
                                    
DSSURYHG                    DVVHVVPHQWV     
                                    
                        DVVLJQHG        
                                    
                                      
                                
DSSURYLQJ                            
                                 
                         DVVLJQPHQW      
DSSUR[LP            DVNLQJ                
                               
                      DVVLVWLQJ       
                                                        Armistead App. 0690
                                                              3DJH

            DWWHPSWV             
                              
           DWWHQWLRQ            
                               
                                 
                                 
                            
                               
DWKOHWLF                           
                                
     DWKOHWLFLVP                    
                               
                             
                              
                                 
                 DWWHQXDWH             
                              
     DWKOHWLFV                     
              DWWHQXDWHG           
                                 
                            
                           
           DWWRUQH\          
                                  
                             
                       
                         
                              
                           
                            
                            
                              
                         
                             
                              
                             
                                
                          
                            
                                 
                                
        DWWDFNLQJ                    
                           
      DWWHPSW                    
                               
                             
                     
                          
                             
         DWWHPSWHG                     
                                
    DWWHPSWLQJ                
                              
                                                      Armistead App. 0691
                                                            3DJH

                    DYHUDJH
                  
                      
                          
                      
                      
                         
                      
                            
                     
                       
                         
                         
                   
                                 
                         
                              
                       
                        
                          
                         
                      
                         
                      
                             
                                
                DWWRUQH\     
                     DYRLG 
              DWWRUQH\V      DZDUG 
                            DZDUH 
                   DWWULEXWH        
                             
            DW\SLFDO        
                            
             DW\SLFDOLW\     
                         
             $XVWUDOLDQ      
                      
                       
              DXWKRU     
                          
                          
             DXWKRULWLHV     
                      
             DXWKRUL]     
                              
             DXWKRUV         
                          
                    
                   DYDLODEOH       
                      
                            
                             
                                                           Armistead App. 0692
                                                                 3DJH

                                 
                                 
                  EDVHV              
                  EDVLFDOO\             
                                    
                                 
                  EDVLV              
         EDFNJURXQG                      
                                     
                    EHJLQV     
                                       
DZDUHQHVV      EDG                           
                                EHOLHYHG
D[LV      %DKOEXUJ                      
$=                                     EHOLHYLQJ
               %DLOH\                      
      %        EDODQFH                          EHQHILW
%3-                                    
EDELHV    EDODQFHG                          
%DEZDK                             %HUPDQ 
          EDOOSDUN                        EHVW 
                                      
EDFN      EDQ                    
                                   
                           
       EDQQLQJ                         
                                     
      EDU             EHJXQ      
                                  
          %DUU                EHKDOI       
                              EHWWHU 
         %DUULHU        EDVNHWEDOO                
                                  
          EDUV                       
                            EHOLHI          
         EDVH                         
      EDVHG             EHOLHYDE     
                                
                      EHOLHYH    EH\RQG 
                                     
                                   
                                 
                   EHFRPLQJ              
                                   
                 EHJDQ              %* 
                               ELDV 
                                ELEOLRJU
                 EHJLQQLQJ                
                                 ELEOLRJU
                               
                                ELJ 
                                
                                  
                                                        Armistead App. 0693
                                                              3DJH

                              
ELJJHU                    
ELJJHVW                              
                                  
%LOO                         
                                
ELOOV                             
                                
ELQDU\         ELUWK                  
                              
                                  
ELRORJLF                          
                               
                                 
                              
         ELW                       
ELRORJLFDO                      
                              
                             
                               
                               
                              
                               
                               
                              
                              
                            
                          
                              
                               
                                   
                              
         EODFN                     
                               
       EODQNHW                
                                 
                                 
                                  
          EORFN                    
                      
                           
                          
                                 
                             
                                
ELRORJLF                        
                                 
ELRORJ\                            
                               
                                
                            EORFNHUV
                                   
                                
                                                          Armistead App. 0694
                                                                3DJH

                                
                   EUDQG               
                %UDQGRQ              
                                  
                                    
                    EUHDN            
                               
                           
                                 
                                
                             
       %RXOHYDUG                  
EORFNLQJ                                 
         ERXQGDULHV                       
                                     
          ERXQGV               
EORRG      ER[                       
        ER\                  
                                
          ER\ V                     
         ER\V                         
EOXUULQJ             EUHDNGRZQ                
                               
ERDUG            %ULGJHSRUW               
                                     
                EULHIHG               
                            
                  EULQJ          
ERDUGHU                           
               EURDG             
ERGLHV                            
                                   
                                
                               
                                  
ERG\                              
               EURDGHU               
                              
                                       
                                 
               EURDGHVW            
                               
                    EURDGO\          
                    EURNHQ          
                  %URRNV             
ERQH                             
                                      
ERQXV                           
ERRN      %3-                    
ERUQ                        
                                
                                   
ERWWRP    %3- V                    
                                                         Armistead App. 0695
                                                               3DJH

                                  
               FDOFXODWLQJ           
                                   
               FDOO               
                               
                                  
                                     
                              &DVWHU 
                        FDUHG      
                       FDUHIXO        FDVWUDWLQJ
                               
                            FDVWUDWLRQ
              FDOOHG               
                                    FDWFK 
             FDOOLQJ        FDUHIXOO\      FDWHJRULFDO
      EURXJKW                            
                                  
                                 FDWHJRUL
       %URZQ             &DUOVRQ          
                FDOOV               
                    &DUOVRQ V      FDWHJRULHV
                 FDQFHUV                 
                          FDUULHG         
               FDQGLGDWHV              FDWHJRUL]HG
                      FDUYHRXW       
       %URZQ V        FDSDELOL              FDWHJRU\
                                 
       EXIIHU                         
                                       
      %XLOGLQJ       FDSDELOLW\     FDVH          
                                    
       EXON                         
      EXON\     FDSDEOH                    
    EXOOHW                        
             FDSDFLW\              
                                
      EXPSLQJ                          
                                   
       EXQFK    &DSHKDUW               
      %XUFK                           
         &DSLWRO              
      EXUGHQV        FDSWLRQ                  
                                 
   EXUHDXFU    FDUG                  
             FDUH                  
     EXULHG                       
                                     FDXVDO
          &                           
     &                       FDXVDOLW\
                                
                                FDXVDWLRQ
     &$                             
       FDOFXODWHG              FDVHV      
                                                           Armistead App. 0696
                                                                3DJH

FDXVH                             
                   FKDQJHV                 FKRRVH 
                        FKDUWHG         
                             FKRRVLQJ
                       FKDUWHUHG       
                                  
FDXVHG                       FKDUWV    FKRVH 
                              
FDXVHV                                  FKRVHQ 
                            FKHFN     &KULVWLDQD
FDXWLRQ                               
                                      FKURPRVRPDO
                          FKHVW     
FDYHDW                     FKLOG      
FDYLWLHV                            
                  FKDSWHU                 
&H&H                                 
FHOO                                  
FHOOV             FKDUDFWH              
&HQWHU                       FKLOG V         
                                    
        FHUWDLQW\                        FKURPRVRPH
FHUWDLQ             FKDUDFWH   FKLOGKRRG       
       &(57,),&$7(                     
                        FKLOGUHQ        
      FHUWLILF                        
                                         
       &HUWLILHG                          
                             
         FHUWLI\LQJ                FKURPRVRPHV
                                      
          FHWHUD                        
                                 
          FKDOOHQJH                      
                                     
               FKDUDFWH            
         FKDOOHQJHG                    
                                   
      FKDPSLRQ                       
                    FKDUDFWH              
         FKDPSLRQ                        
                                  
                                   
         FKDQFH         FKDUDFWH          FLUFOH
                                   
FHUWDLQO\                FKDUJH              FLUFXODWLQJ
                    FKDUJHG                  
      FKDQJH                      
            &KDUOHVWRQ    FKLOGUHQ V      
                              
                    FKRLFH     
          FKDQJHG        FKDUW               
                       FKRLFHV     
                                                           Armistead App. 0697
                                                                3DJH

                   FODULW\        FOLHQWV         
FLUFXPVW                            
                FODVVLF        FOLQLF      
                                   
                                   
                                     
                  FODVVLIL                
        FLVZRPHQ                         
                   FODXVH               
     FLWDWLRQ       &/$<721             
                                   
         FLWH      FOHDQ                
                                    
                                     
                  FOHDQHU                  
                                     
              FOHDQOLQHVV               
                                    
FLUFXPVW            FOHDQO\                  
                                   
     FLWHG                         
                   FOHDU             
                                  
                             
FLVJHQGHU                                
                             
                              
                                    
                                 FRDXWKRU
                           FOLQLF V        
      FLWHV                    
      FLWLQJ                   FOLQLFDO       FRDXWKRUHG
                                 
                                FRDXWKRUV
       FLWL]HQ                          
                               
      FLYLO                         FRHG 
                             FRHUFH 
                         FOLQLFLDQV      
     FODLP                      FRHUFLQJ
      FODULILHG                          
                            FOLQLFV        FRJHQW
     FODULI\                           
                            FOLSSHG        FRKRUW 
                               FRLOV 
                     &ORDFDO        &ROHPDQ 
                               
                         FORFN     
               FOHDUHU               &ROHPDQ V
                          FORVH      
               FOHDUO\                  &ROH\ 
                                     FROODERU
                          FORVHG     
                                                           Armistead App. 0698
                                                                3DJH

FROOHDJXH                    FRPPXQLW\      
                                    
FROOHDJXHV                              
                               
                                   
                          FRPSDQ\        
                                 
FROOHFWHG                  FRPSDUH        
         FRPELQDWLRQ                        
                                   FRPSHWLWRUV
FROOHFWLQJ                    FRPSDUHG       
         FRPH                    FRPSODLQLQJ
FROOHFWLRQV              FRPPHQWDU\               
                                   FRPSODLQWV
FROOHFWL              FRPPHQWLQJ           
                               FRPSOHWH
                                   
FROOHJH                                
                         FRPSDULQJ      
                    &RPPLVVLRQ               
                         FRPSHQVD    
FROOHJHV                                  
               FRPPLW    FRPSHWH       FRPSOHWHG
                   FRPPLWWHG            
FROOHJLDWH                             
                     FRPPLWWHH            
FROOLVLRQ                           
      FRPHV                    FRPSOHWHO\
                            FRPSHWHG        
                                   
                               FRPSOHWLQJ
         FRPIRUW                      
&ROWRQ                             FRPSOH[ 
          FRPIRUWDEOH                    
FROXPQ                       FRPSHWLQJ      
      FRPLQJ                    
                                        
                                  
                                
                          FRPSHWLWLRQ   FRPSOH[LW\
                                    
                   FRPPLWWHHV          FRPSOLFDWHG
                              
         FRPPD                     
                                      
                                    
                                
     FRPPHQFHG      FRPPRQ             
                                 
          FRPPHQW    FRPPRQO\       FRPSHWLW   FRPSOLFDWHV
                                    
                 &RPPRQZH            FRPSRQHQW
                               FRPSHWLWLYH    
                                                         Armistead App. 0699
                                                              3DJH

                 FRQILGHQW             FRQVLVW
         FRQFHUW                        
                FRQILGHQ             
          FRQFOXGH                      
FRPSRQHQWV                         FRQVLVWHQW
         FRQFOXGHG                      
                   FRQILGHQWO\             
                                   
&RPSRVLWLRQ             FRQILUP       FRQVHUYD    
         FRQFOXGHV                      
FRPSRXQG                               
                 FRQILUPD   FRQVLGHU       
FRQFHQWU                           
         FRQFOXVLRQ              
                                 
FRQFHQWU         FRQILUPLQJ              
                                   FRQVWLWXWHV
FRQFHSW                               
                   FRQIRUPLQJ          FRQVWLWX
FRQFHSWV                                 
              FRQIRXQGHG         FRQVWUXF
FRQFHSWXDO                             
                   FRQIRXQGHUV             
FRQFHUQ        FRQFOXVLRQV                   
              FRQIRXQGLQJ        FRQVXPLQJ
                                   
                             FRQW G 
       FRQFOXVL   FRQIXVHG                 
                               FRQWDFW
          FRQFUHWH                        
                                 
          FRQGLWLRQ                       
               FRQIXVLQJ     FRQVLGHU    
                                 
                FRQJUXHQW     FRQVLGHU    
          FRQGLWLRQV                       
                                 FRQWDLQ
        FRQIHU        FRQMHFWXUH              
                       FRQVLGHU   FRQWHPSO
FRQFHUQHG                              
         FRQIHUHQFH    FRQQHFWHG              FRQWHQGHG
                                
FRQFHUQLQJ     FRQIHUUHG                      FRQWHQWLRQ
                 FRQQHFWLRQ    FRQVLGHUHG     
                                 
FRQFHUQV                                   FRQWHVW
                                   
      FRQILGHQFH                    FRQWH[W
                                       
                                   
            FRQQHFWLRQV   FRQVLGHULQJ    
                                      
               FRQVHQVXV              
                                                       Armistead App. 0700
                                                            3DJH

      FRQWLQXLQJ                     FRUUHFWHG
               FRUUHFW             
                            FRUUHFWLRQV
         FRQWLQXRXV                      
                           FRUUHFWO\
                              
                               
      FRQWLQXXP                      
                            
    FRQWUDVW                      
                            
                               
                                
        FRQWUDYH                 
                               
        FRQWURO                 FRUUHODWH
                                 
         FRQWUROOHG                 FRUUHODWHV
                             
                                FRXFK 
       FRQYHQLHQFH               FRXQFLO
                                  
        FRQYHQWLRQV              FRXQVHO 
                              
        FRQYHUVD                
                                
                                
                                  
                              
                              
     FRQYHUVD                    
                                   
                                  
                                 
                         FRXQVHOLQJ
                            
      FRQYHUVH                    &2816(/6
                                  
        FRQYLQFLQJ                 FRXQW 
FRQWLQXH                              
     &RROH\                    FRXQWU\
                        
                                 
        FRRUGLQD               FRXQWV 
                                  &RXQW\ 
        FRSLHV                  
FRQWLQXHG                             
        FRSLQJ                     FRXSOH 
FRQWLQXHV                               
         FRS\                    
                                   
                               FRXUVH 
                                 
                                                            Armistead App. 0701
                                                                 3DJH

                                  GHDO 
                            
                              GHDOLQJ 
                                     
                                     
FRXUW                                  
                                   GHDOV 
                                     GHDOW 
                                 
                                 
                            GHEDWHG
                                    
                                     
                                   GHFDGHV
                                     
                                    
                                    'HFHPEHU
                                 
FRXUWURRP      FULWHULRQ      FXUUHQWO\               GHFLGH
                               
FRYHU    FULWLFL]LQJ                GHFLGHG
                                       
FRYHULQJ       FURVV    FXUYH              
          FURVVFR    FXUYHV    GDWDVHW    GHFLGLQJ
                FXW               
&29,'    FURVVVH                    
                       GDWH      GHFLVLRQ
FUHDWH                                       
                FXWRII                
                                          
          FURZGHG              '                  
                    '                 
         &706     GDPDJHV        GDWHG     
                                     
FUHDWHG               GDUH                  
                   GDUN     'DYH       
                  GDWD              
                                   GHFLVLRQV
         FXOWXUDO                            
FUHDWLQJ                                    
                         'DYLG       
        FXPEHUVRPH                   
FUHGHQWLDOV                            'HFODUDWLRQ
         FXPXODWLYH                      
                          GD\     
FULWHULD                       GD\V       
                                
                                     
                          GHWUDQV     
                              GHFODUHG
     FXUUHQW                         
                         GHWUDQV    'HFODUWLRQ
                                 
                                                            Armistead App. 0702
                                                                 3DJH

GHFOLQH                  GHOLYHUHG                 
                                    GHWHUPLQDQW
GHFOLQHG                GHPRQVWU             
                         GHSULYDWLRQ    GHWHUPLQ
GHFOLQHV                                    
         GHILQLWLRQ     GHPRQVWUDWH    GHSWK      
GHFUHDVH                            GHULYH         GHWHUPLQ
                                
GHFUHDVHG                     GHVFULEH       GHWHUPLQH
                    GHPRQVWU            
GHFUHDVLQJ                               
                                         
GHHPHG                       GHVFULEHG       
                                    
GHIHFW                                 
                                        
         GHILQLWLRQV              GHVFULEHV      GHWHUPLQHG
'HIHQGDQWV           GHPRQVWU              
                         GHVFULELQJ      
                    GHPRQVWU            
         GHILQLWL                         
'HIHQGLQJ                'HQLNHU     GHVFULSWLRQ    GHWHUPLQLQJ
                                       
GHIHU     GHJUHH                        
GHIHUUHG                                 
                   GHQ\LQJ    GHVLJQDWH       
GHILHG               GHSHQG            GHYHORS 
                             GHVLJQDWHG      
GHILQH                                  
                    GHSHQGLQJ      GHVLJQDW     
                                       
                            GHVLJQHG        
                                      GHYHORSHG
                                   
                   GHSHQGV        GHVLUH       
                         GHVLVW          
                                
                             GHVSLWH        GHYHORSLQJ
GHILQHG                               
                                  
                                    
          GHJUHHV              GHWDLO    GHYHORSPHQW
                                   
                                       
                         GHWDLOHG         
                                 
         GHOD\LQJ                             
                   GHSRVLWLRQ     GHWDLOV     
GHILQLQJ                                    
      GHOHWHG                         
                              
GHILQLWHO\     GHOHWLRQ                            
                            GHWHFWHG        
                                                           Armistead App. 0703
                                                                3DJH

                        GLVFRUGDQW      
                                  GLVPLVVHG
               GLIIHUHQ              
                            GLVFRUGHG      GLVRUGHU
              GLIIHUHQ               
                           GLVFRYHU\       
                              
               GLIIHUHQWO\              GLVRUGHUV
                          GLVFUHWLRQ      
GHYHORSP                                
         GLIIHUHQFHV   GLIIHULQJ      GLVFULPL     
                                      GLVSHQVH
                  GLIILFXOW      GLVFULPL     
                                  GLVSURSR
                           GLVFULPL     
GHYHORSP                                
                 GLIIXVH        GLVFULPL     
GHYLVLQJ                                  
                 GLJ                 
'H9U\             GLPRUSKRXV                
                           GLVFULPL    GLVSXWH
GLDEHWHV               GLS               
             GLUHFW            
GLDJQRVHG                             GLVSXWHV
                                    
         GLIIHUHQW              GLVFXVV    GLVTXDOLI\
GLDJQRVLV                             
                        GLVFXVVHG      GLVVHQW
            GLUHFWLRQV                
GLDJQRVWLF                             GLVWDQFH
             GLUHFWO\                  
                              
GLFWDWH              'LUHFWRU                 GLVWDQFHV
                       GLVFXVVHV       
GLIIHU         GLVDGYDQ               
                         GLVFXVVLQJ      
                   GLVDJUHH                 GLVWLQFW
GLIIHUHG                                      
                                     GLVWLQFWLRQ
GLIIHUHQFH                       GLVFXVVLRQ      
                                    
                               GLVWLQFW
                                  
              GLVDJUHHLQJ          'LVWULFW 
                                  
                                    
            GLVFDUGHG               GLYHUW
                                   
                             GLYLVLRQ
               GLVFORVH                 
                      GLVFXVVLRQV     
            GLVFORVHG             
                           GLVIRUPHG       
                                                          Armistead App. 0704
                                                               3DJH

                                  
                           
                                  
                                  
                                   
GLYLVLRQV                            HDUO\ 
                                
                                    
GRFWRU                                 
                        '6'V      
                             
         GRFXPHQWHG             '60        
                        '609      
                                HDUWK 
                               HDVLHU 
                           GXH       
         GRFXPHQWV           'XNH       HDVLHVW
                           '8/<       
                         GXUDWLRQ       (DVW 
                            
         GRLQJ                        (DVWHUQ
                       G\VSKRULD       
                               
                                
                                     
                                   
                                    
                                  
                                  
        'RPHVWLF       GUDIW              
                GUDIWHG              (DVWZRRG
                              
        GRRU                         HDV\ 
        'RUD       GUDIWLQJ             
                         G\VSKRUL    HGJH 
      'RULDQH    GUDZ              
        GRXEW     GULYHQ    '\VSKRULF      HGLWRULD
                                     
              GULYHU                       HGXFDWH 
GRFWRUV                              (         
        GRXEWLQJ                (      HGXFDWHG
              GULYHUV                
        'U                   
                                 HGXFDWLRQ
                GULYHV    (         
GRFXPHQW            GURSSHG       HDUOLHU      
                               
             GUXWKHUV              
                                   
                                      
                '6'              HGXFDWLRQDO
                                  
                                     
                                                            Armistead App. 0705
                                                                 3DJH

                              HQGRJHQR     
HIIHFW             HPSOR\PHQW              
      HOLFLW             HQGSRLQW        
     HOLJLELOLW\                     
                                      HQWLWLHV
                    HQDEOH              
                  HQFRPSDV             HQWLWOHG
                           HQGSRLQWV       
          HOLJLEOH       HQFRXQWHUHG           
                                       
                   HQFRXUDJH                 
                       HQGV       
HIIHFWLYHO\                                  
                                
         HOLPLQDWHV     HQFRXUDJHG               
                                       
HIIHFWV                  HQFRXUDJLQJ              
          HOLWH            HQGXUDQFH      HQYLURQP
                                     
               HQGHDYRU             HQYLVLRQ
                                    
HIILFLHQF\                              
                HQGHDYRUV      HQHUJ\          
HIILFLHQW                                 
                HQGRFULQH      HQIRUFH         
                                    
HIIRUWV                        HQJDJH    HTXDO 
                                  
                                   HTXDOO\
                                    
HLJKW                       HQJDJHG        HTXHVWULDQ
                                   
       HOXVLYH                       HUURU 
                            (QJOLVK        HVSHFLDOO\
          (PEDUFDGHUR                        
                    HQGRFULQ    HQMR\      
         HPEUDFH                          (648,5( 
HLWKHU                                 
      (PPD               HQMR\HG         
       HPRWLRQDO      HQGRFULQ           
                                      
                           HQVXULQJ        
          HPSKDVL]H      HQGRFULQ          HVVHQWLDOO\
                                   
         HPSKDWLF    HQGRJHQRXV     HQWHU    HVWDEOLVKHG
HOHPHQW                             HQWHUWDLQHG      
          HPSOR\HG                           
                             HQWLUH     HVWDEOLV
         HPSOR\HH                     
HOHPHQWV                                  HVWDEOLV
          HPSOR\HHV                          
                                 HVWURJHQ
HOHYDWHG       HPSOR\HU                           
                                                           Armistead App. 0706
                                                                3DJH

                                    
                               
HVWURJHQV                               
                         H[HFXWH        
                                 ([KLELW
                           H[HFXWHG        
HW                                  
                          ([HFXWLYH     ([KLELW
                                
                         H[KDXVWLYH    ([KLELW
                                 
                                   ([KLELW
HWKHU                              
HWKLFDO                               ([KLELW
                             H[KDXVWL    
HWKLFV           H[DPSOHV               H[KLELWLQJ
                          H[KLELW     
HYDOXDWH       HYROXWLRQ                  H[KLELWV
                                     
                             H[LVW 
                   H[FHHG               
                  H[FHSWLRQ              
HYDOXDWLRQ     HYROYH                
         HYROYHG                           
                                    
         HYROYLQJ       H[FHSWLRQV           
HYDOXDWLRQV                          
                H[FHUSW               
                                     H[LVWHG
HYHQW     H[DFW    H[FHUSWV                
      H[DFWO\                   H[LVWHQFH
               H[FOXGH             
                                
                                 
                                      H[LVWLQJ
                  H[FOXGHG             
HYHQWV                                  
              H[FOXGHV              
                                      
                    H[FOXGLQJ             H[LVWV 
                                  
                                
         (;$0,1$7,21                 
                H[FOXVLRQ           H[SDQG 
HYHQWXDOO\                                   
                    H[FOXVLRQV           
HYHU\ERG\      H[DPLQH                          H[SDQGLQJ
                    H[FOXVLYHO\          
          H[DPLQHG                        H[SDQVLYH
                                    
HYHU\ERG\ V    H[DPLQLQJ                       H[SDQVLYHO\
                  H[FXVH               
HYLGHQFH       H[DPSOH                         H[SHFW 
                                                       Armistead App. 0707
                                                            3DJH

                              H[WHQW 
                          
                             
H[SHFWDWLRQ              H[SODQDWLRQ    
                           H[WHUQDO
H[SHFWLQJ                             
                          
H[SHQVHV                              
                       H[WHUQDOO\
H[SHQVLYH                           
                               
H[SHULHQFH         H[SHUW V               H[WUD 
                   H[SODQDW   H[WUHPH
         H[SHUWLVH              
                           H\HV 
                            
                                )
                      I 
                    H[SORULQJ       
                                IDEULFDWLQJ
                  H[SORVLYH       
                              IDFH 
                     H[SRVHG       IDFHG 
                                IDFHWV
                                   
H[SHULHQFHG                H[SRVXUH      IDFLOH 
                              IDFW 
                             
                                  
                            
H[SHULHQFHV                           
            H[SHUWV       H[SRVXUHV       
H[SHULHQ                             
                           H[SUHVV         
                            
H[SHUW                   H[SUHVVHG       
                H[SODLQ                  
                             
                                 
                 H[SUHVVLQJ      
                            
                                   
                                
                             IDFWRU 
                               
                   ([VWURSK\     IDFWRUV
                            
                     H[WHQG      
                       H[WHQGLQJ       
                           
                H[SODLQHG     H[WHQVLYH       
                            IDFWXDO
          H[SODLQLQJ           
                                                          Armistead App. 0708
                                                               3DJH

IDLU                 IHHV           
                              
                               
        IDPLOLDULW\    IHHW           )LIW\ILYH
                 IHOW            
          IDQ                       ILJXUH 
          IDU        IHPDOH              
                          
                               
                              ILJXUHV
                                 
                             ILOH 
                            ILOHG 
                                 ILOLQJ 
                                     ILQDO 
                                
IDLUO\                       IHPDOHRQO\    
         IDUWKHU                    
                         IHPDOHV        
                                      
IDLUQHVV                        ILQDOO\
                              
                          
      IDVKLRQ                        ILQDQFLDO
                            
                             
                               
          IDVWHU                 
                                  
                              ILQG 
                              
                            IHPLQLQH       
                                     
       IDVWHVW                 IHPLQL]H       
                                     
IDOO       IDYRUDEOH              IHPLQL]LQJ     
                                     
IDOOV     IDYRULWH                         
                          IHWXV     
IDOVH      IHDU                    
           IHDVLEOH             ILHOG     
                                
         IHGHUDWLRQV                  
IDPLOLDU                               
                               
                                ILQGLQJ
                                 
                                   
          IHHO                         
                                  
         IHHOLQJ                         ILQGLQJV
                               
                                   
                                                        Armistead App. 0709
                                                             3DJH

              )RONV          
                IROORZ          
                                 
              IROORZHG              
                             
        ILW                     
                IROORZLQJ                
ILQH     ILWQHVV                   
                                
ILQJHU                                
                                     
ILQLVK        ILYH                     
                               
ILQLVKHG            IROORZV                  
                              
ILUVW                               
                           
                          
               IRRWQRWH                 
                        
                   IRUFH                 
                                
                                 
           IRUFHV                   
                           
                                
              IRUJRW                
                              
                                     
              IRUP               
                                     
                             
     IL[HG                    
                                 
        IODZV                     
                             
      IOLS                       
                             
         )ORRU                      
                                   
        IORZV                   
      IRFXV                     
                                  
                                 
                                 
                                  
                               
                            
         IRFXVHG                        
                                
                                    
        IRFXVLQJ                      
                                 
                                                          Armistead App. 0710
                                                               3DJH

                              
                                     
         IUDPLQJ                         
                  IXWXUH             
         )UDQFLVFR      IX]]\             
                                   
          IUHH                          
IRUPDO                    *             
          )UHHGRP     *                
         IUHVK      *%              
IRUPDOO\       IULHQG      JDPHV               
                   JDS           
IRUPDWLRQ      IULHQGO\       JDUEOHV                
                                   JHQGHUD
IRUPDWWLQJ     IULHQGV        *'                
                   *'JHQGHU            
IRUPHU     IURQW                 
                 *HDUKDUW            
IRUPHUO\                                  
                                    JHQH 
IRUWK                               
                   *HDUKDUW V             
                                    JHQHUDO 
               JHQGHU            
IRUZDUG                            
                                 
                                       
                                 
IRXQG                          
                              
         IUXVWUDWHG                       
                             
IRXQGDWLRQ     IUXVWUDWLRQ                      
                             
IRXU       IXOO                     *HQHUDO V
                                   
                                 JHQHUDOL]H
IUDFWLRQ                           
                        JHQHUDOO\
                                 
                         
                                
IUDFWLRQV                            
                                 
IUDPH      IXQFWLRQ                   
                               
         IXQGDPHQ                  
                                 JHQHUDWLQJ
IUDPHG         IXUWKHU                     
                                    
                             JHQHUDWLRQ
                                  
IUDPHZRUN                                JHQHV 
                                                        Armistead App. 0711
                                                             3DJH

                               
                                
JHQHWLF                               
                         
                               
                               
                                
                                  
                               
                               *ROGE\
                                  
                  JLYHQ             JRQDGDO
                                
                        JRQDGV 
                             JRRG 
                                    
JHQHWLFDOO\                       
                         JRDO       
                          
                                   
                                 
                          JRDOV     
                   JRHV      
JHQHWLFV                                 
                                   
                         JRLQJ     
                 JLYHV          
                                    
JHQLWDO              JLYLQJ             JRRGQHVV
                                   
              JOREDO             JRYHUQDQFH
                          
                JR            JRYHUQLQJ
                                 
JHQLWDOLD                           
                                 
                               JRYHUQPHQW
JHQLWDOV                              
                                   
                               JUDGH 
     JLYH                    
                                     
                                JUDGHV 
JHQXLQHO\                               
                               JUDGXDWH
JHWWLQJ                                
                             JUDQXODU
                                
                                 JUDSK 
JLUO                           JUD\HU
                                
                           JUHDW 
JLUOV                              
                                                          Armistead App. 0712
                                                               3DJH

                       KDQGIXO        +DUWQHWW 
                                     
                           KDQGLQJ         
JUHDWHU                               +%
                         KDQGV      
                         +       KDSSHQ     
                  KDELWXV       KDSSHQHG        
                                    KHDG 
                  KDOI    KDSSHQLQJ       
               KDOIZD\              
JUHDWHVW                        KDSSHQV         
                                    
*UHHQ                      KDSS\     
                KDQG      KDUG      
                              
JUHZ                                  
JULG                             
JULQGV             KDQGH\H                
JULS                               
JURVV             +DQGHOPDQ V             
                                    KHDGHG
JURXQGV                          KDUGHU     
               +DQGHOVPDQ    +DUSHU      
JURXS                           KHDGLQJ
                               
                                    
                              
         JXHVVLQJ                     KHDOWK 
                                  
         JXLGDQFH                   
                                    
                            
                                 
                                 
JURXSV                                   
         JXLGH                     
                                     
JURZ     JXLGHOLQH                        
*XDUG                            
JXHVV                              
                               
        JXLGHOLQHV                      
                                  
                               
                    +DUSHU V        
                                
                             
                              
                                      
               +DQGHOVP         KHDOWKFDUH
                           +DUULVRQ     
                          KHDOWK\
                                   
                                                           Armistead App. 0713
                                                                3DJH

                  KROG     KRUPRQH      
KHDU       KHPDWRFULW     KRQHVWO\                  
                     KRUPRQHV         
                                     
          +HPRJORELQ                   
                                LGHD 
         KHVLWDWH                      
                    KRQRUDU\               
          KHWHURJH                       
KHDUG          KRUPRQDO               LGHDWLRQ
                               
          KLJK                       LGHQWLIL
KHDULQJ                          KRVSLWDO        
                                    
KHDUW                        
                                 
                                 
                                  LGHQWLIL
KHDUW V                                 
                    KRUPRQDOO\              
+($7+(5                                   
KHDYLO\                                    
                   KRUPRQH                  
KHLJKW                 KRVSLWDOV       
                                
                        KRVWLOLW\       
                                     
                            KRXU      
          KLJKHU                      
+HLQR                               
                     KRXUV     
KHOG                                  
                                     
+HOOR                       +RXVH     
          KLJKO\                   
KHOS                      KRYHULQJ        
                                    
          KLVWRORJ            KXPDQ     
                         KXQGUHG        LGHQWLILHG
         KLVWRULF                        
                         K\SRWKHVLV      
KHOSHG    KLVWRULHV                          
                                  
         KLVWRU\                       
KHOSIXO                      K\SRWKHW     
                            
                                    
                                    
                        K\SRWKHW     
KHOSLQJ        KRF                          
          KRFNH\                          LGHQWLILHV
+HOVWURP       +ROFRPE                    ,         
                         ,$$)      LGHQWLI\
                                                           Armistead App. 0714
                                                                3DJH

                                  
           LPSDFWV        LQFOXGHG        
                               
                                    
                 LPSOHPHQW                 
                                 
                 LPSOLFDW              
                              
                             
               LPSRUWDQFH              LQFRQJUXHQW
                       LQFOXGHV        
            LPSRUWDQW                 
                               LQFRQVLV
                                
                                     
                                   
                              
                                    
                                    LQFRUSRUDWH
LGHQWLI\LQJ                            
                              LQFUHDVH
              LPSRVVLEOH                
                                       
                LPSUHVVLRQ     LQFOXGLQJ       
                                 
                 LPSURYHG                 LQFUHDVHG
                              
                  LQKRXVH                 
         LPPHGLDWH                       LQGHSHQGHQW
                                     
LGHQWLWLHV    LPPHGLDWHO\    LQDELOLW\                
                                        
LGHQWLW\               LQDFFXUDWH                
      LPSDFW                     
                   LQDGHTXDF\               
                                       
               LQDSSURS              
                                  LQGHSHQG
               LQFHQWLYHV            
                           LQFOXVLRQ       
                               LQGLFDWH
                                       
            LQFKHV               LQGLFDWHV
                                  
                 LQFOLQHG                 LQGLFDWLQJ
                                  
                 LQFOXGH    LQFOXVLYH      LQGLFDWRU
                                   
                         LQFRPH     
                            
                             LQGLFDWRUV
                                
                         LQFRQJUX     
                                                          Armistead App. 0715
                                                               3DJH

LQGLUHFWO\          LQLWLDO               
                          LQVWUXFWLQJ     
LQGLYLGXDO                                LQWHUSUH
              LQLWLDOO\      LQVXIILF     
                               LQWHUSUH
                                   
              LQLWLDWHG                
                       LQVXOW    LQWHUVH[
              LQLWLDWLQJ     LQVXUPRX      
         LQHYLWDEO\                    
              LQLWLDWLRQ     LQWHOOLJHQW    ,QWHUYHQRU
     LQIDQWV                             
                LQMXULHV       LQWHQG          
        LQIHU                   LQWHUYHQ
        LQIOXHQFH     LQRSHUDWLYH    LQWHQVH         
                                     
              LQSXW     LQWHQWV         
                                   LQWHUYHQ
                           LQWHUDFWHG       
        LQIOXHQFHG    LQSXWV           
                            LQWHUFKD    LQWURGXFLQJ
        LQIOXHQFLQJ                      
                      LQWHUHVW       LQWURGXF
                                  
        LQIRUPDO      LQVLGH           LQWURGXF
                  LQVLJKW        LQWHUHVWHG      
LQGLYLGX   LQIRUPDWLRQ                      LQWXLWLRQV
                  LQVLJQLI    LQWHUHVWLQJ     
                                 LQYDULDEO\
LQGLYLGXDOV                                
          LQVLVW              LQYHVWLJ
             LQVLVWHQFH     LQWHUIDFH       
                                 LQYRNH
                 LQVLVWLQJ      LQWHUPXUDO      
                                 LQYROYHG
                LQVWDQFH       LQWHUQDO        
                                      
                                 
                                
        LQIRUPHG                         
                                  
                         LQWHUQDW     
                              
        LQIRUPLQJ                     LQYROYHPHQW
                                       
     LQKHUHQW      LQVWDQFHV               LQYROYHV
                                    
                               ,2& 
                                  
              LQVWLWXW            
                         LQWHUQHW        
                                   
                 LQVWUXFWHG     LQWHUSUHW       
                                                        Armistead App. 0716
                                                             3DJH

          MXGJH                  
LUUHJXOD                            
          MXGJPHQW                        
LUUHYHUV                              
                                    
LVRODWHG                            
                                 
                                 
                  NLQGV           
LVVXH     -8/,(                    NQRZLQJ
         MXPS      .LQJGRP           
LVVXHV                          
                NQHZ              
                NQRZ            NQRZOHGJH
         MXPSLQJ                     
,7&                             
LWHPV                        
                            
                               
                             
                                  
      -        -XQH                    
-$&.621     MXQLRU                 
-DFRE                         
-DNH     MXVWLI\                 
                             
-DQXDU\                         NQRZOHGJ
MDZ                               
-HQQLIHU             .                     
         .DLWOLQ                    NQRZQ 
-LP                    
-RDQQD     .DQJ                    
                            
          .DWHO\Q                 
                                    
      .DWKOHHQ                
                            
          NHHS                
-2+1$7+$1                               
            .HOO\                  NQRZV 
-RKQVRQ                    
-RVK                                /
          NLG                      / 
         NLGV                   ODE 
-RVKXD                             ODEHO 
                                 
                                   
                                 ODEHOLQJ
                                 
          .LOLR                 ODEHOV 
MRXUQDO                             ODERUDWRU\
          NLQG                       
                                  ODFN 
                                                          Armistead App. 0717
                                                               3DJH

                          OHWWHU          
        ODUJHU    OHG               
ODFURVVH              OHIW           
                                      
ODLG                              
/DLQH\             OHJ                 
                   OHJDO                
/DPEGD                        OHWWHUV         
                                       
/DPEHOHW                              
         ODUJHVW        OHJLVODWLRQ             
/DPEHOHW                          /LD 
          ODU\QJHDO      OHJLWLPDF\    OHYHO      
ODQH                                  /LEHUWLHV
        ODWH     OHJLWLPDWH               
ODQJXDJH      ODWHVW                    OLFHQVHG
                                   
                               
     /$85(1&(                  OLIH 
         ODZ                        
                                 
                  OHQJWK                OLIHWLPH
         /DZUHQFH                      
                OHQJWKV             OLPE 
     ODZV                      OLPLW 
              OHQJWK\                  
     ODZ\HU                         
     ODZ\HUV        OHW V             OLPLWHG
                                     
                                  
                                 OLPLWLQJ
         OD\PDQ                       
        OD\PDQ V                          OLQH 
                                   
        /&6:                        
                                   
        OHDG                        
                                   
         OHDGLQJ                       
                                   
        OHDJXH                        
                         OHYHOV     
                                
         OHDJXHV                           
                                    OLQHV 
        OHDUQHG                        
                             
ODUJH                              
     OHDYH                   
                                    
         OHDYLQJ                           
                                    /LVD 
                                  OLVW 
                                                            Armistead App. 0718
                                                                 3DJH

                                         0
                                      0'  
                                    
                                      
OLVWHG                                PDJQLWXGH
                                      
OLVWV                                 PDLQ 
OLWHU                                PDLQVWUHDP
      /LWWPDQ                            
                                  PDLQWDLQ
                                    
       /LWWPDQ V                          
                                    
       OLYH                         
                                     PDLQWDLQLQJ
OLWHUDO                                 
                                     PDMRU 
OLWHUDOO\      OLYHV                         
          OLYLQJ                   ORRNV       
                                     
OLWHUDWXUH                               
                                  PDMRULW\
          //3                            
          ORJLF            ORRSKROHG       
                                   
                     ORVH      
                                    
                                       
         ORJLFDO               ORVW       
                                 
         ORJLVWLFV               ORW         
OLWLJDWLRQ                              PDNHUV 
          ORJRV                     
          ORQJ                         PDNHXS
               ORRNHG     ORZHU     
OLWWOH                               
                                 
                                       
                                    
                            ORZHULQJ        
                                 PDNLQJ 
          ORQJHU                      
                                       
                           OXQFK     
                                     
                   ORRNLQJ    /XQGVEXUJ       
      ORQJLWXG                         
                                   
                      OXQJ     PDOH 
          ORQJVWDQ                        
                            OXQJV      
          ORRN                       
                              
                                                         Armistead App. 0719
                                                              3DJH

                             
                           
            PDQLSXODWHG    PDWFKHV         
                              
        PDQQHU         PDWK     PHDQV 
                      PDWWHU     
                               
            0DUFK                
                               
                              
          PDUJLQ    PDWWHUV         
                                 
            PDUN               
                  PDWXULW\       PHDQW 
                                   
                        PD[        
                        0D\V      
                     0F&XVNH\        
        PDOHV                         
                       0'        
                      PHDQ        
                          
                                     
                                   
                                     
                                   PHDVXUH 
                                
                               
             PDUNHG              PHDVXUHPHQW
                          
                                 
                               PHDVXUHP
                                  
                                PHDVXUHV
                           
                                    PHDVXULQJ
                                 
                               PHFKDQLVPV
                                
                                  
                               PHGLDWHG
                             
                              PHGLFDO
                                
                                
                                 
                                      
                                 
        PDOOHDEOH              PHDQLQJ      
            PDUNHU            
    PDQ      PDVV                
       PDQLSXODWH              PHDQLQJIXO      
                0DVWHU V                 
                                                           Armistead App. 0720
                                                                3DJH

                                PRPHQW 
                               
                  PHWHU             
                                 
                  PHWHUV           
                              
           PHWKRG                
                                   
              PHWKRGRO              
                                PRQH\ 
                          PLQLPXP    PRQLWRU
                  PHWKRGRORJ\                
       PHQ V             PLQRULW\       0RQWDJDQR
                              
                PHWKRGV        PLQRUV         0RQWDQD
                                       
          PHQWDO                           PRQWKV 
                  PHWULF         PLQXWH     
PHGLFDOO\                 PLQXWHV         
                PHWULFV               
PHGLFDWLRQ           0H\HU%D            
                         
                                
                   PLV       
PHGLFLQH                        PLVTXRWLQJ     PRUELGLW\
                                
                  0H\HU%D             0RUJDQ 
                         PLVUHDG         
                 PLF                 
             PLGGOH     PLVUHDGLQJ     PRUQLQJ
                                     
                          PLVVLQJ          
                                       
                          PLVVLRQ        0255,6(<
                                  
PHHW                        PLVVSRNH       PRWKHU 
PHPEHU            PLOH              PRWKHU V
           PHQWLRQ                PLVWDNH         
                                 
                         PLVXQGHU    PRWLRQ
                                     
         PHQWLRQHG           PL[       
PHPEHUV                       PL[HG     PRWLYDWH
                                      
                  PLOLHX              0RXQW 
PHPRU\              PLOOLRQ        PRGHO      
                                  
PHQ                         PRGHOLQJ        
               PLQG                
       PHW            PRGHVW     
                                 
                                  
              PLQLPDO              
                                                           Armistead App. 0721
                                                                3DJH

               1DWLRQDO                QRQSXEH
                                   
                  QDWXUDO                 QRQWUDQ
         QDPHV              QHHGHG      
                 QDWXUH          
         QDQRPRODU              QHHGV        
                              
                                  
           1&$$               
PRXWK                  QHLWKHU         
PRXWKIXO                            QRQELQDU\
                        QHYHU      
PRYH      QDQRPRODUV                     
                                 QRQFRQYH
                                   
         QDQRPROH                      QRQGLVFU
                 QHDWHG                
         QDQRPROHV              QHYHUWKH     
               QHFHVVDULO\              QRRQ 
         QDUURZ                        QRUPDO 
                                   
PRYLQJ                                 
                           QHZ       
         QDWDO                        
PXGGOHG                                 
                                   
                                  
PXOWL\HDU                             
                                       QRUPDOO\
PXOWLSOH                                
                                  QRUWK 
              QHFHVVDU\      QHZHU     
PXUN\                         QHZV     QRWDEO\
PXVFOH                  1LFROH       
                         QLQH        
             QHHG               QRWDU\ 
                       QLQH\HD      
                                 
                    1PRO     
                            QPRO/         QRWH 
                                   
                           1PRO/V         
PXVFXODU                                  QRWHG 
                       QRLVH     QRWLFH 
                            QRQH[LV    QRWLFHDEOH
                                            
      1                               13V 
1                        QRQH[SHUW     QXPEHU 
                                     
                        QRQKRUP      
QDPH                                   
                         QRQPHGLFDO     
                               
                                                       Armistead App. 0722
                                                            3DJH

                                 
                            REMHFWLYHO\
                              
                              REOLJDWLRQ
                              
                                REOLJHG
                              
                           REVHUYDEOH
                                
                             
                                 
                          REVHUYDWLRQ
                               
                             
                       
                                
                               
                                 REVHUYDW
                       
                             REVHUYH
                                
                            REVHUYHG
QXPEHUHG                          
                            
QXPEHUV                          REVHUYLQJ
                             
                              
                         
                             
                       REWDLQ 
                                
                            
                                 
                          REWDLQHG
                               
                              
                           REWDLQLQJ
1<                           
                                    REYLRXVO\
      2                          
2                        
                        REMHFWLR   RFFDVLRQDO
2DNV                          
REMHFW                    REMHFWLRQV    RFFXSLHV
                                  
                             RFFXU 
                       REMHFWLYH      
REMHFWLRQ                        RFFXUUHG
                           
                                
                       RIIHU 
                           
                               
                                                           Armistead App. 0723
                                                                3DJH

                              RSSRVHG
                  RQHWLPH            
                                   
               RQHV                
                                   
RIIHUHG                            
                                     
                                     
RIIHULQJ                RQOLQH                   
                                 RSWLPLVP
                                
            RSHQ               2SWLPL]H
                RSHQHG            
               RSHUDWH             RSWLQJ
                                  
               RSHUDWLQJ              RUFKLHFWRP\
                                      
RIILFH              RSHUDWLRQ               
                                    RUGHU 
                                      
RIILFLDO               RSHUDWLYH            
                                  
                                    
                                     RUGLQDU\
                  RSLQLQJ              
RK                                RUJDQ 
                                 RUJDQL]D
                    RSLQLRQ               
         ROG                       
                                
                                 RUJDQL]D
                                    
          ROGHU                    
                                    
                                   
RND\                              
                            
                                  
                                 
          2O\PSLF                       RUJDQL]H
                           
                                      
                               RULHQWDW
                     RSLQLRQV       
      2O\PSLFV                    RULJLQDO
                                    
          RPLWWHG                        
                                  
         RQFH                RSSRUWXQ    
                                 
                              
                          RSSRUWXQLW\    
         RQH V                     RULJLQDOO\
                                                            Armistead App. 0724
                                                                 3DJH

         RYHUVWDWH                          
2VWHRSDWK\                                     
                                       
RWKHUV         RYHUVWDWLQJ                   
                                            
RXJKW    RYHUWLPH                          
                                  
         RYHUZKHO                     
RXWFRPH                                    
                                       
         RYHUZKHO                       
                                        
         R[\JHQF                      
RXWFRPHV                                 
                                      
              3                            
          3                         
                SDJHV    SDSHUV      
               SDLU                  
                    SDQHO                
          SP                        
                                      
RXWOLQHV                 SDSHU               
                                 
RXWSHUIRUP                                
                                 
                                  
RXWVLGH    SDFH                        
                                     
          SDFNHG                           
                                   
        SDJH                       
                            
                                    
                                
                      SDUDJUDSK        
                             
RXWZHLJK                               
                                 
                                      
RXWZHLJKV                                    
                                   
RYHUDOO                                
                                 
                                
                                       
                                   
RYHUFRPH                                 
                                     
RYHUFRPHV                                
                                  
RYHUODS                               
                                         
                                                           Armistead App. 0725
                                                                3DJH

SDUDJUDSKV                                  
                                         
                                      
                                       
         SDUWLDOO\                           
SDUGRQ                                  
         SDUWLFLS                        
                  SDUWLHV                 
                                 
SDUHQ                                
        SDUWLFLSDWH   SDUWO\            
            SDUWV            
SDUHQWV                           
              SDUW\     3$75,&.      
             3$V       SDWWHUQ      
                  SDVV              
3DUH[HO        SDUWLFLS   SDVVDJH                
                                    
SDUVH               SDVVDJHV                  
                           SDWWHUQV         
SDUVLQJ                 SDVVHG               
                           SDXVH        
SDUW      SDUWLFLS   SDVVLYH        SD\LQJ           
                                      
                        SD\RU      
                  SDVVLYHO\                  
                           SHGDJRJ\         
                 SDWK              
       SDUWLFLS   SDWLHQW    SHGLDWUL      
                                   
                         SHHU       
                                   
                        SHHUUHY      
                                  
                                   
                           SHOYLV      
                             SHQLOH           
                                      
                       SHQLV      
                                    
                                  
                            3HQQV\OY      
          SDUWLFXODU                           
                   SDWLHQW V      SHQXOWLPDWH      
                                      
                         SHRSOH        
                   SDWLHQWV               
                                        
                                     
                                 
                                    
                                   
                                    
                                                         Armistead App. 0726
                                                              3DJH

                                 3K' 
         SHUIRUPDQFH                       
                             
                            SKDOOLF
SHRSOH V                            
                                   
                                   SKDUPDFH
SHUFHLYHG                              
                                     SKHQRPHQRQ
SHUFHQW            SHUIRUPLQJ               
                                SKHQRW\SLF
           SHULRG              
                           SKRQH 
                               SKUDVH 
                            
                                  
                           SHUVRQ V      SKUDVHG
                                      
                                 
                              
                              
                               SKUDVLQJ
         SHUPHDWHG                
                       SHUVRQDO       
                   SHUPHDWLRQV          
                            SK\VLFDO
             SHUPLVVLRQ              
                                  
             SHUPLW              
                                 
              SHUPLWV        SHUVRQDOO\     
                               
                SHUPLWWHG            
                                   
           SHUPLWWLQJ               
                                
             SHUVLVW                 
                            
SHUFHQWDJH                               
                                
                                  
                        SHUVRQV        
              SHUVLVWHG               
                               SK\VLFDOO\
          SHUVLVWHQFH             
                                
                SHUVLVWHQW     SHUVSHFWLYH    
SHUIHFW                             SK\VLFLDQV
                                
SHUIHFWO\         SHUVRQ    SHUWDLQ        
                                  
SHUIRUP       SHUIRUPHG                SHUWDLQV      SK\VLRORJLF
                              
                                                           Armistead App. 0727
                                                                3DJH

SK\VLROR                               SRVWVXUJ
          SODFHPHQW               SRSXODWLRQ     
                                     SRWDWRHV
      3ODLQWLII                         
                                  SRWHQWLDO
                          
                                
                                 
           3ODLQWLIIV                       
                                         
       SODQ                        
SK\VLROR    SODVW\                  SRSXODWLRQV   SRWHQWLDOO\
                                     
SK\VLRORJ\     SOD\                    SRZHU 
                          SRUWLRQ        
                                   
                                    SUDFWLFDO
         SOD\LQJ                      
                         SRUWLRQV      SUDFWLFH
                                 
         SOD\V               SRVLQJ     
SK\VLTXH       SOHDVH    SRLQWHG        SRVLWLRQ       
                                       
                                        
SK\VLTXHV                                  
                    SRLQWLQJ                
SLFNLQJ        SOHQW\                       
                                    
         3//&                SRVLWLRQV      
SLFWXUHV       SOXV     SRLQWV             
                             SRVVHVVHV     SUDFWLFHV
SLHFH     SRLQW                          
                                  SUDFWLWL
                         SRVVLELO    
              SROLFLHV                 SUHSXEH
                   SRVVLELOLW\    
SLHFHV                                 SUHSXEH
                                       
                                  SUHFHGH 
                             SRVVLEOH       
                                   SUHFLVH
SLOH               SROLF\          
                              
SODFH                              SUHFLVHO\
                            
                                      SUHGHWHU
                      SRVVLEO\       
                               SUHGLFW
                            SRVW      
                           SRVWVXU    
               SRSXODU                 
                            SRVWHG         
                   SRSXODUO\               
                                                          Armistead App. 0728
                                                               3DJH

SUHGLFWLYH     SUHVFULS                     
                  SULPDULO\      SURGXFH       SURKLELWV
SUHIDFH        SUHVHQFH                        
                 SULPDU\        SURGXFHG      SURMHFW
SUHIDFHG       SUHVHQW                          
                           SURGXFLQJ     SURMHFWV
SUHIHU                           
               SULRU     SURIHVVL   SURPLQHQFH
SUHQDWDO                           
                             SURPLQHQW
                                
                            SURPLVHG
                               
                           SURIHVVL   SURQRXQFLQJ
      SUHVHQWLQJ                       
                           SURIHVVL   SURSHUO\
          SUHVHUYHG                        
              SULRULWLHV             SURSRUWL
3UHRSHUD    SUHVLGHQW           SURIHVVRU      
                                
SUHSDUH                 SULRULW\              
          SUHVV                        SURSRVH
SUHSDULQJ                              
                                   
SUHSXEHUWDO    SUHVXPDEO\    SUREDEO\              
                             
       SUHWUHDW                SURSRVHG
                                    
      SUHWW\                          SURSRVHV
                                  
                               SURSRVLQJ
                                   
                 SUREOHP         SURSRVLWLRQ
        SUHYHQW                         
                                 
                                   SURVSHFWLYH
               SUREOHPV              
                                    
         SUHYHQWLYH    SURFHGXUH      SURIHVVR   3URWHFWLYH
                                 
         SUHYHQWV               SURILOH       SURWRFRO
              SURFHGXUHV           
SUHSXEHV    SUHYLRXV            SURJUDP       SURWRFROV
               352&((',1*               
                                     
SUHVFULEH               SURFHVV              SURYH 
                               SURYLGH
         SUHYLRXVO\                   
                                       
                          SURJUDPV       
                                 
SUHVFULEHG                               
                   SURFHVVHV      SURKLELWHG     
                                                           Armistead App. 0729
                                                                3DJH

                          SXUSRUW         
                             
SURYLGHG                        SXUSRUWV        
                                   TXDOLI\
                          SXUSRVH     
SURYLGHU                                
         SXEHUW\                           
                           TXDOLW\
                           SXUSRVHV        
                                 TXDQWLI\
                                   
                             TXDQWLW\
SURYLGHUV                            
                               TXHVWLRQ
                            
                                 
                                
                    SXUVXDQW     
                        SXUVXH      
SURYLGHV                                 
              SXEOLF      SXUYLHZ     
                                   
                     SXVK      
                            SXVKXSV        
                                   
SURYLGLQJ                     SXVKLQJ          
            SXEOLFDWLRQ              
                        SXW          
                                  
SVHXGR                                  
                                   
SV\FKLDWULF                                
              SXEOLFDW              
                                     
SV\FKLDW                              
              SXEOLFL]HG               
                                        
SV\FKLDW                      SXWV       
                            SXWWLQJ          
SV\FKROR           SXEOLVKHG                
                              
SV\FKROR                           
                                      
                                  
SV\FKROR                                 
                              4          
SV\FKROR                  TXDOLILF     
                                   
SXEHUWDO             SXOOHG         TXDOLILHG       
                               
              SXPSHG              
              SXPSLQJ               
                                
                                                        Armistead App. 0730
                                                             3DJH

                            
                                  
                         TXRWHG       
                            
                            
                  TXRWHV           
                               
                 TXRWLQJ         
                         
                                       
                         5        
              5       
                              
                                  
        TXLFNO\            UDFH       UDQJHV 
                                
        TXLHWHU                      
                               UDWH 
        TXLWH          UDFHV     
                       UDLVH     UDWHV 
                                   
                               
                                
                               UHDFK 
                               
                                  
                        UDLVHG     UHDFWLRQ
                              
                               
                                    
                          UHDFWLRQV
                              
                            UHDG 
                                  
                             
                     UDLVHV       
                                  
                       UDLVLQJ     
      TXL]                   
                                
                                  
                     UDQ        
     TXL]]HG              UDQGRP          
                                   
      TXRWDWLRQ          UDQJH      
TXHVWLRQLQJ                              
        TXRWDWLRQV                      
TXHVWLRQV                             
         TXRWH                    
                    
                               
                                
                                 
                                                           Armistead App. 0731
                                                                3DJH

                                    
                                   
      UHDOWLPH                UHFRJQL]HG      
                                        
         UHDOW\                            
                           UHFRJQL]LQJ     
      UHDUHG                      
UHDGHUVKLS     UHDVRQ                       
                    UHFROOHF     
UHDGLQHVV                UHFDOO               
                           UHFRUGHG
UHDGLQJ               UHFRPPHQG       
                                UHFRUGLQJ
                                    
                               
                                UHFRUGV 
UHDGV                    UHFRPPHQ      
                                    
                                   
                           UHFUXLWHG
                                     
                                    UHG 
                                   UHGUDZ 
                            UHFRPPHQ    UHGXFH
                                     
                                    UHGXFHV
                       UHFRPPHQGHG     
                                      
         UHDVRQDEOH     UHFHLSWV      UHFRPPHQ    UHIHU 
                               
               UHFHLYH       UHFRQFLOH       
                                      
                            UHFRQILJ     
                                  
UHDG\                     UHFRQILJ     
UHDO               UHFHLYHG                 
UHDOLW\                         UHFRQVWU     
                                      
         UHDVRQDE                    
                                       
UHDOO\    UHDVRQDEO\     UHFHLYHV               UHIHUHQFH
                          UHFRUG      
                   UHFHLYLQJ                 
                                       
         UHDVRQV                       
               UHFRJQLWLRQ          
                            
          UHERXQG                            
                  UHFRJQL]H                
          UHEXWWDO                       
                                   
                                   
                                UHIHUHQFHG
                                                           Armistead App. 0732
                                                                3DJH

               5HLQHU              UHQGHU 
          UHIOHFWHG                        
                      UHOLDELOLW\     
       UHIOHFWLYH                        
                             UHOLDEOH        
         UHIUDPH                          
                 UHMHFW               
          UHIXVHG       UHODWH         UHOLDEO\       UHQGHULQJ
                                  
                                 
UHIHUHQFHV     UHIXVLQJ                         
                  UHODWHG        UHOLHG          
          UHJDUG                       UHQGHUV
                         UHPDLQ          
                                     UHSHDW 
                        UHPDLQGHU       
UHIHUHQFLQJ                               
                         UHPDLQHG        
                  UHODWHV                  UHSHDWLQJ
                                      
                           UHPDLQV        UHSKUDVLQJ
                                      
                                    UHSODFH
          UHJDUGLQJ                        
                                     UHSOLFDWH
                  UHODWLQJ                  
          UHJDUGOHVV                        UHSOLFDWHG
                                        
         UHJLPHQ       UHODWLRQ    UHPHPEHU       UHSRUW 
                                   
                                        
                                      
UHIHUUHG                                    
          UHJLPHQV      UHODWLYH                   
                                         
         UHJLPHV                UHPLQG           
                                    
                 UHODWLYHO\     UHPLQGHG        
          UHJLRQ                    
UHIHUULQJ      UHJLVWHUHG               UHPRWHO\        
                                
      UHJUHVV                            
                           UHPRYDO         
                                  
         UHJXODWLRQ    UHOHYDQFH      UHPRYH     
                           UHPRYHG         
                 UHOHYDQW                 
         UHJXODWLRQV                     
UHIHUV                        UHPRYLQJ        
         UHLPEXUVHG                         
UHILQHG                                      
         UHLPEXUV            UHQDPHG         
UHIOHFW                                
                                                          Armistead App. 0733
                                                               3DJH

                                      
         UHSURGXF                     
                                     
                                    
                                     
                                 
                          UHVXOWHG        
          UHSXWDWLRQ                    
                     UHVXOWLQJ       
                               
          UHTXHVW                          
                                 
          UHTXLUH                        UHYLHZHG
                           UHVXOWV         
                                    
                                  
                                     
                  UHVHDUFKHU             UHYLHZLQJ
         UHTXLUHG                          
                  UHVLGHQWV           UHYLHZV
UHSRUWHG                                 
                 UHVLGXDO      UHWDLQHG        
                                   UHYLVHG
          UHTXLUHPHQW                   
                       UHWLUHPHQW      
                                  UHYLVLRQV
UHSRUWHU            UHVRXUFHV     UHWUDFW         
                                  
                UHVSHFWHG     UHWURVSH    ULIOHU\ 
                                      
             UHVSHFWIXO    UHWXUQLQJ      ULJKW 
                                    
UHSRUWLQJ               UHVSHFWI   UHYHQXH         
          UHTXLUHP                   
               UHVSHFWLYH    UHYHQXHV        
                                     
                                   
UHSRUWV              UHVSRQVH              
      UHTXLUHV                           
                    UHVSRQVL             
                         UHYHUVDO        
UHSUHVHQW               UHVW                 
                          UHYHUVH          
                                     
          UHTXLULQJ           UHYHUVHG         
UHSUHVHQ            UHVWDWH               
      UHVHDUFK                          
UHSUHVHQ                  UHYHUW     
                      UHYLHZ      
                UHVWULFW            
                                  
              UHVXOW              
UHSURGXF                         
                                                         Armistead App. 0734
                                                              3DJH

                                
          UREXVW               
                              
                5RJHU      UXQQHU          
                                  
                      UXQQHUV     
                        UXQQLQJ         
                               
              UROH             
                                     
                                
                                  
                                  
                                   
                                  
              UROHV               
                        UXQV      VDIHW\
             URRP                
                                 
                           6         
                          6         
       ULJKWV                         
                 URXJKO\                 
    ULJRU             VDIH      
       ULJRURXV       UXOH     VDIHO\     
                               
       ULVH           VDIHU       
        ULVN                       
       5REHUW                 VDODU\
       5REHUWD                      
                                 
                            
       5REHUWV                  
                          
                              VDOHV 
                            VDPSOH 
                         
         UXOHV             
                                    6DQ 
                         6DUDVZDW
                                 
                              6DUJHQW V
                                 
                              VDWLVILHG
                              
                                VDWLVI\
                        
                          
                             
                                   
                UXQ             VDWLVI\LQJ
                                   
      5REHUWV                          VDYH 
                                                           Armistead App. 0735
                                                                3DJH

6DZDVZDW                                      
           VFDOH                         
VD\LQJ                                  
                                
          VFDQ                          
         VFHQDULR                          
                                     
         VFKRODVWLF                          
                  VFLHQWLI                
                                    
                                    
                                   
         VFKRRO                         
                               
                VFLHQWLVW                 
                                    
                        VHFRQGDU\        
                                   
                                
                                      
                              
                                      
                                  
                        VHFRQGV          
             VFLHQWLVWV                
                       VHFWLRQ      
VD\V                                
            VFRSH             
       VFKRROV                           
                                       
                                    
                                
          VFLHQFH       6FRWWVGDOH     VHH       
                                       
                  VFUHHQ                     
                                 
                               
                                   
                 VFURWXP                    
                                        
               6&58**6             
                  VH                
                                        
                               
                                     
                                 
                                        
         VFLHQWLILF                     
              VHDOLQJ                
                VHFRQG            
                             
                                   
                                   
                                                           Armistead App. 0736
                                                                3DJH

                 VHSDUDWHO\            
                                       
               VHSDUDWLQJ                
       VHQVLWLYH                        
                   VHSDUDWLRQ                
         VHQW                        
                6HSWHPEHU                
VHHLQJ                                    
         VHQWHQFH      VHULRXV                  
                                VKRUWHU 
                                 VKRUWO\
              VHUYH             
               VHUYHG          VKRZ 
VHHN                               
VHHNLQJ                                 
                   VHUYHV                
                   VHUYLFH                  
                                   
                   VHUYLFHV                 
                                
VHHQ                               
                VHUYLQJ              
                   VHW                  
                          VH[EDVHG       
                               VKRZHG 
                                      
                                     
                              VKRZLQJ
VHJUHJDWLRQ                   VH[VHSD     
                                       
VHOI              VHWV      VH[HV       
                           VH[XDO      
                   VHWWLQJ           
VHOIGLD                             VKRZQ 
                                   VKRZV 
VHOIGLD                                
                                 VKULQN
VHOISUH                                
                 VHWWOH    VKDSH     VKULQNLQJ
                  VHYHQ     VKDUH     
VHOIUHS                             VKULQNV
                            VKHHU      
6HPHQ\D                      VKLIWHG     
      VHQWHQFHV                         VKXIIOH
VHPLQDO                                    
                  VHYHUH    VKLIWLQJ       6KXPDQ 
VHQLRU         VHSDUDWH                     VKXWWOH
                        VKLIWV     
VHQVH                    VKRHV     VLF 
                  VHYHUHO\       VKRRWLQJ       VLGH 
                                  
          VHSDUDWHG     VH[       VKRUW     VLJQDOLQJ
                                 
                                                            Armistead App. 0737
                                                                 3DJH

VLJQLILF          VLQJOH               
                               VRFLHWDO
             VLW                   
VLJQLILFDQW                                   
                                    
                         VNHOHWRQ       VRFLHW\ 
                                     
                            VNLOOV           
                                    
                    VODVK      
                      6OLFHU      
                        VORZ        
                 VLWV      VORZHU     
                           VORZO\      
                   VLWWLQJ                   
                             VPDOO      
                                  
                                       VRFLHW\ V
                                       
                                     
                                       VROHO\ 
                                     
                   VLWXDWLRQ      VPDOOHU        VRPHERG\
                              
                                    
                                      
VLJQLILF                       VPDUW     
                                      
                   VL[     VQLSSHW         
                                    
                           62&       
VLJQLQJ                                  
VLPLODU                             
         6LQDL                       
                            62&     
                                 
                                  VRPHSODFH
                                      
                                      
                            62&     VRPHZKDW
VLPLODUO\                              
                         VRFFHU     
VLPSOH                                 
                                  VRRQ 
                   VL[SHUFHQW    VRFLDO    VRSKLVWL
VLPSOHU                                        
                   VL[\HDU                VRUU\ 
VLPSOLI\                             
                  VL[WK                
VLPSOLVW             VL]H                  
                                 
VLPSO\    6LQDL V               VRFLDOO\        
                                
                                                          Armistead App. 0738
                                                               3DJH

                                 
                               
                                 
         VSDQ     VSHFLILF              
         VSHDN                  
                                      
                                  
          VSHDNHU                         
                                
         VSHDNLQJ                          
                                 
                              
                              
                                    
                                 
                               VSRXVH
                                      
          6SHFLDOLVW                     VSUHDG 
                                    VSULQWV
         VSHFLILF                       
VRUW                             6UXWL 
                                  
                  VSHFLILFV               66$& 
                            VSRUWLQJ      VWDFN 
                               VWDJH 
                                        
                                  
VRUWV                               
                                  
                  VSHFXODWH      VSRUWV     
VRXJKW                                 
                                 
              VSHFXODWLYH          
                                  
VRXQGV                 VSHHG           
                                  
                 VSLULW          VWDJHV 
VRXUFH                                
                   VSRNHQ           
                   VSRQWDQHRXV         
                                    
                  VSRQWDQH            
                                    
              VSRUW              
                                   
VRXUFHV                                VWDPLQD
                                    
                                   
6RXWK                            VWDPSHG 
6RXWKHUQ                            VWDQG 
                             VWDQGDUG
VSDFH                        
                               
                                                           Armistead App. 0739
                                                                3DJH

                          VWUDLJKW        
                VWDWHPHQWV                
                                   VWXGLHG
                                    
                         VWUDWHJLHV      
                                      
               VWDWHV                
                       6WUHHW       
                                     
                                 
                           VWUHQJWK       VWXGLHV 
      VWDWHG                       
                                    
                                      
VWDQGDUGV              VWDWLF              
                                 
                 VWDWLQJ                  
VWDQGLQJ       VWDWHPHQW                        
                               
VWDQGV                                  
                                     
VWDUW               VWDWLVWLF                 
                     VWUHWFKLQJ      
                   VWDWLVWL                
                          VWULFWO\        
                                      
                                        
                  VWDWLVWLFV               
                       VWULNH     
                          
                                    
                     VWURQJ          
                  VWDWXV                   
                                  VWXG\ 
VWDUWLQJ               VWD\LQJ    VWURQJHU        
                  VWHS                   
                                  
                                      
VWDUWV                           VWURQJHVW       
                                     
VWDUYLQJ            VWHSSLQJ                  
                           VWUXFWXUH       
VWDWH           VWHSV                
                6WHSWRH                
               VWLFN                 
               VWLSXODWHG     VWUXFWXUHG      
                                    
               6WRFN               
                   VWRS      VWUXFWXUHV      
                                    
               VWRSSHG        VWXGHQW         
                                   
           VWRU\    VWXGHQWV        
                                                         Armistead App. 0740
                                                              3DJH

         VXEMHFWV                       
              VXIILFH            VXSSRUW
                                 
             VXIILFLHQW    VXLFLGHV       
                                 
                        6XLWH      
                                     
                       VXP      
         VXEPLVVLRQ                  
                     VXPPDULHV      
         VXEPLWWHG     VXIILFLH             
                        VXPPDUL]H      
     VXESRHQD                       
                                
          VXEVHTXHQW                     VXSSRUWLQJ
                                      
                       VXPPDUL]HG     
                                    
      VXEVHTXH                      
                                  
                  VXJJHVW       VXPPDUL]HV    VXSSRVH
         VXEVHW                           
                          VXPPDUL]LQJ   VXSSRVHG
     VXEVWDQWLDO                   
                               VXSSUHVV
                        VXPPDU\        
                                   
          VXEVWDQW                    VXSSUHVVHG
                          
                 VXJJHVWLQJ             
                                
VWXG\LQJ                                 
         VXEVWLWXWH                      
VWXII                                
       VXEWOHU               VXSHUILF   VXSSUHVVLRQ
6WXWOHU                          
       VXIIHU                683(5,17    
VXEMHFW                               
               VXJJHVWLRQ    6XSHULQW    
                                
                                 
                  VXJJHVWV                
                         VXSHULRU       
                                    
         VXIIHUHG               VXSHUYLVH      
                   VXLFLGDO               
                         VXSHUYLVHG     
                                  
VXEMHFW V      VXIIHULQJ     VXLFLGDOLW\          
                              VXUH 
VXEMHFWLYH     VXIIHUV       VXLFLGH       VXSHUYLVRU      
                                 
                      VXSHUYLVRU\     
                                                          Armistead App. 0741
                                                               3DJH

                6:251                
             V\PEROV               
                                     
                 V\PPHWULFDO           
         VXUJLFDO                        
             V\PSWRPV                  
                                     
              V\VWHP                
        VXUJLFDOO\                    
                 V\VWHPDWLF               
                                  
6XUHO\                                  
        VXUSDVV                            
VXUJHRQV                            
        VXUSDVVLQJ    V\VWHPDW              
VXUJHULHV                              
        VXUSULVLQJ                          
                               
     VXUURJDWH                        
            V\VWHPV                   
                                    
                                       
        VXUURJDWHV          7                   
                 7                  
        VXUURXQGLQJ   WDE                
                               
         VXUYH\                             
VXUJHU\                               WDOOHU 
                          WDNHQ      
                                 7DQJSULFKD
                                
                               7DQQHU 
                             
                                  
     VXUYH\LQJ                         
                                
      VXUYH\V                          
                                    
                                 
                 WDEOH                
        6XVDQ                          
                                 
                              
                            WDNHV     
        VXVSHFW                WDON       
                                  
                             
                                     
        6ZDPLQDWKDQ   WDLORUHG                 
                  WDONHG    WDUJHW 
              WDNH                 
                                    WDVN 
         VZHDU           WDONLQJ     
                                                         Armistead App. 0742
                                                              3DJH

WHDFKLQJ       WHQVLRQ                     
                               
WHDP                                  
         WHQWDWLYHO\                 
                              
         WHUP     WHVW           
                             
                                
                               
                               
WHDPV                        
                            WHVWRVWH
WHFKQLFDOO\                           
                                WHVWV 
WHHQDJHUV                             
         WHUPLQRO                      
WHHQV            WHVWDEOH                
7HOIHU         WHUPLQRORJ\                  WH[W 
                WHVWHG               
WHOO                         
                  WHVWHURQH              WKDQN 
                              
                  WHVWHV          
                               
                                    
                                    
                                 
                                
                  WHVWLILHG              
                                  
       WHUPV                       
                          
                                
                                 7KDQNV
                              
                                 
WHOOLQJ             WHVWLPRQ\               
                                WKHLUV
WHOOV                             
                                WKHRUHWLFDO
WHQ                                
                                WKHRUHWL
                             
               WHVWLQJ               WKHUDSHXWLF
                            
                          WKHUDSLHV
                              
            WHVWRVWH         
                           WKHUDS\ 
WHQ\HDU                            
                              
WHQ\HDU                             
                         
                                                         Armistead App. 0743
                                                              3DJH

                                
                            
                            
                             
                                  
                   WKUHVKROG       
                           
                                
                                  
                             
                                 
                              
WKLJK           WKLQNLQJ             
WKLQJ                          
                                 
                                   
                               
                                   
                                  
                  WKUHVKROGV      
                                 
                 WKLQNV               
               WKLUG      WLHG        
                      WLHU        
                     WLHUV     
                          WLJKWHQHG      WLPHFRQ
                                    
                         WLJKWHU    WLPHV 
                         WLPH       
                                      
WKLQJV            WKLUGSDUW\               
                            
                7KRPDV                    
                             
                                    
                 7KRPSNLQVRQ            
                               
             WKRXJKW              WLVVXH
                                
                 WKRXJKWIXO               WLVVXHV
                                    
                WKRXJKWV                 
                               
                                   
               WKRXVDQGV                
                                 
                            WLWOH 
                 WKUHH               
                               
                            WRGD\ 
                                  
                           
WKLQN                        
                                                         Armistead App. 0744
                                                              3DJH

          WUDFN                      
                             WUHDWLQJ
                                    
                                    
                             WUHDWPHQW
                               
                            
                              
         WUDFNLQJ                      
                            
         WUDLQHG                      
                            
         WUDLQLQJ                      
                                   
                               
                              
         WUDQV                   
                               
                             
WROG                              
                                    
7RPP\                            
WRROV                              
          WUDQVFULSW                     
WRS                             
                              
          WUDQVIHP                    WUHDWPHQWV
                                     
         WUDQVJHQGHU                 
                          
                               WUHQG 
                      WUDQVLWLRQ     WULDO 
                                    WULDOV
                                   
                                  WULEXQDO
                          WUDQVLWL     
                               WULFN 
                           
                          
                 WUDQVODWHV     WULHG 
                                 
WRSLF                      WUHDW    WULJJHU
                               
WRWDO                          WULJJHUV
                  WUHDWHG         
                             WULYLDO
                              
                           WUXH 
                                 
WRWDOHG                                
                          
WRXJKQHVV                              
                                   
                                                           Armistead App. 0745
                                                                3DJH

                              8 
                          8KKXK 
                                     
                                8. 
                        WZRSDUD      
                                  XQDEOH 
                            WZRWKLUGV       
                   WXUQLQJ                  XQDIILOL
                                        
                          W\SH      XQDQLPLW\
               WXUQV              
                 WZLFH                 
                                   
                WZR                XQDQLPRXV
                                     
                             XQDQLPRXVO\
                      W\SHV      
                              XQGHUJR
                        W\SLFDO          
                                    
                               XQGHUJRLQJ
                                
                               XQGHUJRQH
                               
                                 
                               XQGHUO\LQJ
                                     
                                   XQGHUQHDWK
WUXVW                              
WUXWK                         XQGHUSLQ
                                    
WU\                                 XQGHUSLQ
                                     
                                      
                                 XQGHUVLJQHG
                                  
                                    XQGHUVWDQG
                                         
WU\LQJ    WXUQ               W\SLFDOO\        
                                  
                             
                                 
                                 
                                
                                
                                       
                                 
                                  
                                       
7U\RQ                                 
                        7\URQ      
                                           
                         8           
                                                            Armistead App. 0746
                                                                 3DJH

                         YDJXHO\         
        XQLILHG                       
XQGHUVWD    8QLRQ                YDOLGLW\        
      8QLWHG                         
                                     
                              YDOXH     YLFH 
          XQLYHUVDOO\                    YLFWRULHV
                                       
         XQLYHUVH                      YLGHR 
                                    
                                 YLGHRFRQ
                            YDULDEOH         
         8QLYHUVLW\                       9,'(2*5$
                         YDULDWLRQ        
                                    
                                     
                                    
         XQNQRZQ                  YDULHW\         
XQGHUVWRRG                               
                                    
                XVHIXO                   
                            YDULRXV         
                                    
         XQOLFHQVHG                         
                                      
          XQPXWH    XVHIXOO\                 
          XQSDFN                           9,'(27$3(
                                        
XQGHUZHQW      XQSUHYHQ    XVHV               
                   XVXDO                
XQGHVLUDEOH    XQUHOLDEOH                         
                    XVXDOO\        YDUVLW\         
XQGRXEWHG      XQVWDEOH                           
                   XWHUR             9,'(27$3('
XQIDLU    XQWUDLQHG            YHUDFLW\         
                                       
          XSSHU                          YLHZ 
                          9        YHULILHG        
                YDJLQD                   
                       9(52))      
                          YHUVD     
      XSZDUGV    YDJLQDO        YHUVLRQ      
          XUHWKUD                           
                   YDJLQDV                  
         XULQDWH                  YHUVXV     
                   YDJLQRSO            
XQIDLUQHVV     XVH                       
                                          
XQIRUWXQ                               
                                        
                                     
                   YDJXH                 
XQKHDOWK\                                   
                                                           Armistead App. 0747
                                                                3DJH

                                
                                    
                                        
                                    ZKLFKHYHU
                                  
YLJRURXVO\                                 
                              :KLWH 
9LQ                                 ZLGH 
YLRODWH                                  
                                   
9LUJLQLD                                
                                   
                               ZLGHO\ 
                                   
                                   
                                 
                      ZH YH     ZLGHU 
                                 :LONHUVRQ
                                 
                                :,/.,1621
                              
                                     
                                      
                            ZHDN        
9LUJLQLD V                   ZHDNQHVVHV      
                                         
YLUWXDOO\                        ZHEVLWH         
                                 
YLVLEOH                         :HGQHVGD\       
                                      
YLVLEO\                         ZHHNV      
                                         
                ZD\V    ZHLJKWV         
92                ZH OO              
YRLFH     ZDQWHG            ZHOOZUL    ZLOOLQJ
YRLFHV             ZH UH                
YV                          ZHQW       
YXOYD    ZDQWLQJ                           ZLQ 
YXOYL                                 
               ZDQWV                         
     :         ZDVQ W                  ZHUHQ W    ZLQQLQJ
:                                  
:DLW                       :HVW      ZLVH 
                                   ZLVHU 
                                    ZLVK 
ZDLWLQJ                              ZLWKGUDZ
          ZDVWH                    
ZDLYHG     ZD\                      ZLWQHVV 
ZDON                              
:DOO                                      
ZDQW                               
                              
                                   
                                                    Armistead App. 0748
                                                         3DJH

                      
                         
                          
                            
                           
                   ZLWQHVVHV      
                           
                   ZRPDQ      
                              
                      ZRPE     
                            
                           
                  ZRPHQ      
                          
                        
                          
                   
                        
                     
                               
                                
                            
                               
                        
                          
                        
                            
                           
                         
                            
                    ZRPHQ V
                          
                     
                         
                       
                             
                       
                       
                     
                      ZRQ 
                        ZRQGHU
                      
                          ZRUG 
                           
                          
                  
                            
                         
                             
                         
                          
                         
                            
                                                           Armistead App. 0749
                                                                3DJH

                            <               =
                                     =RH 
                          \HDK        
                             
                                         
                              
                                     
                                   
                                        
                                     
                                      
                                     
                   ZURQJ               
ZRUGLQJ                                    
         :3$7+                    
                    ZURWH                
ZRUGV                            
                              
                               
                                        
                                
                                       
ZRUN                       \HDU       
                                
                              
                                  
                                    
                                    
                                      
ZRUNHG                               
                                      
:RUNHU                                      
      :3$7+ V        :9     \HDUV      
ZRUNLQJ                               
                   :\DQW                
ZRUOG     ZULWH                             
                      ;               
               ;               
                               
                   ;;                
                                     
                    ;<              
         ZULWLQJ                        
                                    
                                      
ZRUWK                                 WK 
                           <RUN      
ZRXOGQ W       ZULWLQJV                            
                                    
                                   
          ZULWWHQ                        
                                  \RXQJ      
                        <
                                                            Armistead App. 0750
                                                                 3DJH

                                   
                                
                                
                            
                         
                               
                    WK         
                                       
                                          
                                   
                                   
                               
                            
                             
                                  
                                  
                                   
                                
PRQWK                              
                          
                           
                            
                             
                                         
     LVK               
    \HDUROG               
                                    
                                  
                      
                                 
                                 
                       FY     
                             
                                   
                                     
                                     
                                     
                                    
                                 
                             
                  LVK              
                                 
                                
                              
                              
                         
                        
                      WK 
                                 
                            
                             
                          
               \HDUROG               
                                                            Armistead App. 0751
                                                                 3DJH

                               
              PHWHU       
                                      
                                     
                                
                                     
                                     
                                  
                                
                                           
                                        
                               
                              
                                 
                               
                                  
                                 
                           
                   
WK                                     
                               
                                  
                                       
                          
                                      
                                  
                               
                          
                                     
                            
                             
                             
                                     
                                         
                      
                                   
           %                 
                 &            
                                       
                                    
                         
                              
                              
                                
                                   
                                         
                                     
                           
                                    
                            
                                      
                                 
                            
             Armistead App. 0752
                  3DJH

 
 
 
 
 
 
WK 
 
 
 
 

 
 
 
 
 
 
 
 
                                                 Armistead App. 0753

                                                          3DJH
,17+(81,7('67$7(6',675,&7&2857

)257+(6287+(51',675,&72):(679,5*,1,$

     

%3-E\KHUQH[WIULHQGDQG

PRWKHU+($7+(5-$&.621

3ODLQWLIIV &DVH1R

YV &9

:(679,5*,1,$67$7(%2$5'2)

('8&$7,21+$55,621&2817<%2$5'2)

('8&$7,21:(679,5*,1,$6(&21'$5<

6&+22/$&7,9,7,(6&200,66,21:

&/$<721%85&+LQKLVRIILFLDO

FDSDFLW\DV6WDWH6XSHULQWHQGHQW

DQG'25$6787/(5LQKHURIILFLDO

FDSDFLW\DV+DUULVRQ&RXQW\

6XSHULQWHQGHQW3$75,&.0255,6(<LQ



9,'(27$3(''(326,7,212)

'($11$$'.,160'

0DUFK



$Q\UHSURGXFWLRQRIWKLVWUDQVFULSW

LVSURKLELWHGZLWKRXWDXWKRUL]DWLRQ

E\WKHFHUWLI\LQJDJHQF\
                                                                                                 Armistead App. 0754
                                                  3DJH                                                     3DJH
     KLVRIILFLDOFDSDFLW\DV$WWRUQH\                          $33($5$1&(6
     *HQHUDODQG7+(67$7(2):(67                       
     9,5*,1,$                          -26+8$%/2&.(648,5(
     'HIHQGDQWV                          $PHULFDQ&LYLO/LEHUWLHV8QLRQ)RXQGDWLRQ
                                  %URDG6WUHHW
                                                                  1HZ<RUN1<
     9,'(27$3(''(326,7,212)                     &2816(/)253/$,17,))
     '($11$$'.,160'                     
     0DUFK                          .$7+/((15+$571(77(648,5(
                                                                $1'5(:%$55(648,5(
                                                                -8/,(9(52))(648,5(
                                                                =2(+(/67520(648,5(
                                                                .$7(/<1.$1*(648,5(
                                                                (/,=$%(7+5(,1+$5'7(648,5(
                                                                &RROH\//3
                                                                (PEDUFDGHUR&HQWHU
                                                                WK)ORRU
                                                                6DQ)UDQFLVFR&$
                                                                &2816(/6)253/$,17,))
                                                             
                                                             
                                                             
                                                             
                                                             


                                                  3DJH                                                     3DJH
    '(326,7,21                            $33($5$1&(6 FRQW G
    2)                             
    '($11$$'.,160'WDNHQRQEHKDOIRIWKH,QWHUYHQRU        6587,6:$0,1$7+$1(648,5(
    KHUHLQSXUVXDQWWRWKH5XOHVRI&LYLO3URFHGXUHWDNHQ       7$5$%25(//,(648,5(
    EHIRUHPHWKHXQGHUVLJQHG/DFH\&6FRWWD&RXUW           /DPEGD/HJDO
    5HSRUWHUDQG1RWDU\3XEOLFLQDQGIRUWKH&RPPRQZHDOWK        :DOO6WUHHW
    RI3HQQV\OYDQLDWDNHQYLDYLGHRFRQIHUHQFHRQ                WK)ORRU
    :HGQHVGD\0DUFKDWDP                        1HZ<RUN1<
                                                                  &2816(/)253/$,17,))
                                                             
                                                                '$9,'75<21(648,5(
                                                                6WDWH&DSLWRO&RPSOH[
                                                                %XLOGLQJ5RRP(
                                                                &KDUOHVWRQ:9
                                                                &2816(/)2567$7(2):(679,5*,1,$
                                                             
                                                                52%(57$)*5((1(648,5(
                                                                6KXPDQ0F&XVNH\6OLFHU3//&
                                                                9LUJLQLD6WUHHW(DVW
                                                                6XLWH
                                                                &KDUOHVWRQ:9
                                                                &2816(/)25:(679,5*,1,$6(&21'$5<6&+22/
                                                                $&7,9,7,(6&200,66,21
                                                             



                                                                                             3DJHVWR
                                                                                                         Armistead App. 0755
                                                    3DJH                                                         3DJH
    $33($5$1&(6 FRQW G                   ,1'(;
                                                              
    686$1'(1,.(5(648,5(                                       ',6&866,21$021*3$57,(6
    6WHSWRH -RKQVRQ                                            :,71(66'($11$$'.,160'
    :KLWH2DNV%RXOHYDUG                                     (;$0,1$7,21
    %ULGJHSRUW:9                                        %\$WWRUQH\%URRNV
    &2816(/)25+$55,621&2817<%2$5'2)('8&$7,21DQG       (;$0,1$7,21
    +$55,621&2817<683(5,17(1'(17'25$6787/(5              %\$WWRUQH\7U\RQQ
                                                                 &(57,),&$7(
   .(//<&025*$1(648,5(                                 
   %DLOH\:\DQW                                             
   9LUJLQLD6WUHHW(DVW                                 
   6XLWH                                                
   &KDUOHVWRQ:9                                    
   &2816(/)25:(679,5*,1,$%2$5'2)('8&$7,21DQG     
   683(5,17(1'$17:&/$<721%85&+                      
                                                            
   7,027+<''8&$5(648,5(                                
   /DZ2IILFHRI7LPRWK\''XFDU                           
   (DVW%XWKHUXV'ULYH                                 
   6XLWH(                                                  
   6FRWWVGDOH$=                                    
   &2816(/)25,17(59(125/$,1(<$50,67($'             
                                                            


                                                    3DJH                                                         3DJH
      $33($5$1&(6 FRQW G                 (;+,%,73$*(
                                                              
      52*(5%522.6(648,5(                                      3$*(
      /$85(1&(:,/.,1621(648,5(                                180%(5,'(17,),&$7,21,'(17,),('
      +$/)$03721(648,5(                                       5HSRUWRI'HDQQD$GNLQV0'
      &+5,67,$1$+2/&20%(648,5(                                &XUULFXOXP9LWDH
      -2+1$7+$16&58**6(648,5(                                 5HEXWWDO5HSRUW
      5$&+(/&6872526(648,5(                                   (QGRFULQH6RFLHW\*XLGHOLQHV
      $OOLDQFH'HIHQGLQJ)UHHGRP                                 (QGRFULQH6RFLHW\*XLGHOLQHV
     1RUWKWK6WUHHW                                   /DSLQVNL$UWLFOH
     6FRWWVGDOH$=                                     (QGRFULQH6RFLHW\6FLHQWLILF
     &2816(/)25,17(59(125/$,1(<$50,67($'              6WDWHPHQW
                                                               1,+6H[*HQGHU,QIRJUDSKLF
                                                               :RUOG+HDOWK2UJDQL]DWLRQ:HESDJH
                                                               :DVKLQJWRQ3RVW$UWLFOH
                                                               2XW6SRUWV$UWLFOH
                                                               'XNH-RXUQDORI*HQGHU/DZDQG3ROLF\
                                                               $UWLFOH
                                                               +LOWRQDQG/XQGEHUJ$UWLFOH
                                                               3RGFDVW6XPPDU\
                                                               3RGFDVW7UDQVFULSW
                                                               :DVKLQJWRQ3RVW$UWLFOH
                                                               $QGHUVRQ,QWHUYLHZ
                                                               'HFODUDWLRQRI'HDQQD$GNLQV0'


                                                                                                        3DJHVWR
                                                                                                    Armistead App. 0756
                                                  3DJH                                                         3DJH
    (;+,%,73$*(                            2%-(&7,213$*(
                                                                
    3$*(           $77251(<3$*(
    180%(5,'(17,),&$7,21,'(17,),('        %RUHOOL
    +HUEHUW+HDOWK3XEOLVKLQJ$UWLFOH           
    7XUEDQ'H9ULHVDQG=XFNHU$UWLFOH           
    1,0+,QIRUPDWLRQ6KHHW           
                                                                   
                                                                   
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                                                                 


                                                  3DJH                                                         3DJH
     2%-(&7,213$*(                           2%-(&7,213$*(
                                                                
     $77251(<3$*(        $77251(<3$*(
     %RUHOOL       %RUHOOL
            
            
            
            
            
          
       
       
       
         
        
        
        
        
        
        
        
        
        
        


                                                                                           3DJHVWR
                                                                                                                 Armistead App. 0757
                                                  3DJH                                                                       3DJH
    67,38/$7,21                        6ZDPLQDWKDQDOVRIURP/DPEGD/HJDODOVRRQEHKDOIRI
           3ODLQWLII
     ,WLVKHUHE\VWLSXODWHGDQGDJUHHGE\DQGEHWZHHQ             $77251(<+$571(77$QGWKLVLV.DWKOHHQ
    FRXQVHOIRUWKHUHVSHFWLYHSDUWLHVWKDWUHDGLQJ               +DUWQHWWIURP&RROH\RQEHKDOIRIWKH3ODLQWLII
    VLJQLQJVHDOLQJFHUWLILFDWLRQDQGILOLQJDUHQRWQRW         $77251(<%$55$QGUHZ%DUUDOVRIURP
    ZDLYHG                                                        &RROH\RQEHKDOIRIWKH3ODLQWLII
           $77251(<5(,1+$5'77KLVLV(OL]DEHWK
    352&((',1*6                        5HLQKDUGWDOVRZLWK&RROH\DOVRIRU3ODLQWLII
           $77251(<%/2&.-RVK%ORFNIURP$&/8RQ
   9,'(2*5$3+(5*RRGPRUQLQJ:H UHQRZ        EHKDOIRI3ODLQWLII
   RQWKHUHFRUG0\QDPHLV-DFRE6WRFN, PD&HUWLILHG      9,'(2*5$3+(5,IWKDWLVHYHU\ERG\WKHQ
   /HJDO9LGHR6SHFLDOLVWHPSOR\HGE\6DUJHQW V&RXUW            FDQ,DVNWKHQRWDU\WRVZHDULQWKHZLWQHVV"
   5HSRUWLQJ6HUYLFHV7RGD\ VGDWHLV0DUFKWK         
   DQGWKHFXUUHQWWLPHLVDP(DVWHUQ6WDQGDUG7LPH      '($11$$'.,160'
   7KLVYLGHRLVEHLQJWDNHQSODFHUHPRWHO\E\YLGHR             &$//('$6$:,71(66,17+()2//2:,1*352&((',1*$1'
   FRQIHUHQFH7KHFDSWLRQRIWKLVFDVHLVLQWKH8QLWHG        +$9,1*),567%((1'8/<6:2517(67,),('$1'6$,'$6
   6WDWHV'LVWULFW&RXUWIRUWKH6RXWKHUQ'LVWULFWRI:HVW       )2//2:6
   9LUJLQLD&KDUOHVWRQ'LYLVLRQ%3-HWDO9:HVW        
   9LUJLQLD6WDWH%RDUGRI(GXFDWLRQHWDO&LYLO$FWLRQ       9,'(2*5$3+(5$QGDWWKLVWLPHWKH
   1XPEHU&97KHQDPHRIWKHZLWQHVVLV'HDQQD      QRWDU\PD\EHGLVPLVVHGDQGZHFDQEHJLQ
   $GNLQV:LOOWKHDWWRUQH\SUHVHQWVWDWHWKHLUQDPHVDQG      $77251(<%522.67KDQN\RXPD DP
   WKHSDUWLHVWKH\UHSUHVHQWIRUWKHUHFRUG"                    127$5<
   $77251(<%522.65RJHU%URRNVWDNLQJWKH      7KDQN\RX+DYHDJRRGGD\HYHU\ERG\
   GHSRVLWLRQZLWK$OOLDQFH'HIHQGLQJ)UHHGRPDQG                


                                                  3DJH                                                                       3DJH
    UHSUHVHQWLQJWKHLQWHUYHQRU                                      (;$0,1$7,21
    $77251(<+2/&80%&KULVWLQD+ROFXPEIRU            
    LQWHUYHQRU                                                       %<$77251(<%522.6
    $77251(<'8&$57LPRWK\'XFDUIRU                 4)RUFRQYHQLHQFHJRRGPRUQLQJ'U$GNLQV
    LQWHUYHQRU                                                       
    $77251(<&68725265DFKHO&VXWRURVIRU            $*RRGPRUQLQJ
    LQWHUYHQRU                                                       4DQGWKDQN\RXIRU\RXUWLPHKHUHWRGD\
    $77251(<75<21'DYLG7U\RQDWWKH                $77251(<%522.6)RUFRQYHQLHQFHOHWPH
    $WWRUQH\*HQHUDO V2IILFHLQ:HVW9LUJLQLDDQG,                 VWDUWRXWE\PDUNLQJWKUHHH[KLELWV$V$GNLQV([KLELW
   UHSUHVHQWWKH6WDWHRI:HVW9LUJLQLD                            1XPEHU,ZRXOGOLNHWRPDUNWKH'HFODUDWLRQDQG
   $77251(<025*$1.HOO\0RUJDQZLWK               H[SHUWUHSRUWRI'HDQQD$GNLQVZKLFKLQWKHILOHZLOO
   %DLOH\DQG:\DQWRQEHKDOIRI:HVW9LUJLQLD%RDUGRI             EHPDGHDYDLODEOHWRWKHFRXUWUHSRUWHULVWDEWZR$QG
   (GXFDWLRQDQG6XSHULQWHQGHQW%XUFK                              ,KDYHFRSLHVIRUWKHZLWQHVVDQGIRUFRXQVHO,ZRXOG
   $77251(<'(1,.(5*RRGPRUQLQJ                  DOVROLNHWRPDUNDV$GNLQV([KLELWZKDWZHKDYH
   HYHU\RQH6XVDQ'HQLNHUUHSUHVHQWLQJ'HIHQGDQW+DUULVRQ         SURYLGHGDVWDEWKUHHZKLFKLVWKH&9RIWKHZLWQHVV
   &RXQW\%RDUGRI(GXFDWLRQDQG6XSHULQWHQGHQW'RULV               'HDQQD$GNLQV
   6WXWOHU                                                         
   $77251(<*5((15REHUWD*UHHQ6KXPDQ             :KHUHXSRQ$GNLQV([KLELW5HSRUW
   0F&XVNH\6OLFHU, PKHUHRQEHKDOIRI:HVW9LUJLQLD            RI'HDQQD$GNLQV0'ZDVPDUNHGIRU
   6HFRQGDU\6FKRRO$FWLYLWLHV&RPPLVVLRQ                          LGHQWLILFDWLRQ
   $77251(<%25(//,$QGWKLVLV7DUD                :KHUHXSRQ$GNLQV([KLELW&XUULFXOXP
   %RUHOOLZLWK/DPEGD/HJDORQEHKDOIRIWKH3ODLQWLII            9LWDHZDVPDUNHGIRULGHQWLILFDWLRQ
   %3-                                                          
   $77251(<6:$0,1$7+$17KLVLV6UXWL              7+(:,71(66,I\RXGRQ WPLQGLW V


                                                                                                       3DJHVWR
                                                                                                     Armistead App. 0758
                                                   3DJH                                                         3DJH
    'HDQQD FRUUHFWVSURQXQFLDWLRQ                                 SURIHVVLRQDOO\FRPSHWHQWLQXVLQJWKH$PHULFDQ
    $77251(<%522.6'HDQQD,FHUWDLQO\           3V\FKLDWULF$VVRFLDWLRQ'LDJQRVWLFDQG6WDWLVWLFDO
    GRQ WPLQG,ZDQWWRJHWWKDWULJKW6RUU\DERXW             0DQXDOWRPDNHFKLOGDQGDGROHVFHQWPHQWDOLOOQHVVRU
    WKDW                                                           SV\FKLDWULFGLDJQRVHVJHQHUDOO\RXWVLGHWKHVFRSHRI
    7+(:,71(667KDQN\RX                         JHQGHUG\VSKRULD"
    $77251(<%522.6$QG,ZRXOGOLNHWR            $77251(<%25(//,2EMHFWLRQIRUP
    DGPLWDV([KLELWWKHUHEXWWDOUHSRUWVXEPLWWHGE\'U         7+(:,71(66,QSHGLDWULFVZH UH
    $GNLQV,ZLOOSURYLGHFRSLHVRIWKDWWRWKHZLWQHVV          WUDLQHGWRPDNHVRPHRIWKHGLDJQRVHVWKDWDUH
    -XVWZULWHWKHQXPEHURQLW                                    DSSURSULDWHIRUDSHGLDWULFVSURYLGHUWRWUHDW
   7+(:,71(667KDQN\RX                        %<$77251(<%522.6
   $77251(<%522.6:H OOKDYHRFFDVLRQWR        46RLVWKDWDGR\RXFRQVLGHU\RXUVHOI
   FRPHEDFNWRWKRVH                                            JHQHUDOO\FRPSHWHQWLQPDNLQJGLDJQRVLVRIFKLOGRU
                                    DGROHVFHQWPHQWDOLOOQHVVDFFRUGLQJWRWKHVWDQGDUGVRI
    :KHUHXSRQ$GNLQV([KLELW5HEXWWDO          '609"
   5HSRUWZDVPDUNHGIRULGHQWLILFDWLRQ         $77251(<%25(//,2EMHFWLRQIRUP
                                    7+(:,71(66)RUWKHWKLQJV,ZDV
   %<$77251(<%522.6                                            WUDLQHGLQDQGKDYHFRQWLQXHGWRJHW&0(LQ,GR
   4'U$GNLQVOHWPHDVN\RXWRILQGDPRQJVWWKH        %<$77251(<%522.6
   WKUHHGRFXPHQWV,KDYHJLYHQ\RX([KLELWZKLFKLV           4$QG\RXGRQRWKDYHDQ\WUDLQLQJLQVSRUWV
   \RXU&XUULFXOXP9LWDH                                         SK\VLRORJ\GR\RX"
   9,'(2*5$3+(5&RXQVHOGR\RXZDQWWKDW        $77251(<%25(//,2EMHFWLRQIRUP
   SXOOHGXSRQWKHVKDUHGVFUHHQ"                                7+(:,71(661RWKLQJVSHFLILF
   $77251(<%522.67KDW VXSWRWKH              %<$77251(<%522.6
   UHPRWH<RXVKRXOGFHUWDLQO\PDNHLWDYDLODEOH               4<RXZRXOGFRQVLGHUWKDWWREHRXWVLGH\RXUILHOG


                                                   3DJH                                                         3DJH
    2EYLRXVO\HYHU\ERG\KHUHLQWKHGHSRVLWLRQURRPKDVLW        RISURIHVVLRQDOH[SHUWLVH$P,ULJKW"
    %<$77251(<%522.6                                             $77251(<%25(//,2EMHFWLRQIRUP
    4'U$GNLQVOHWPHDVN\RXWRWXUQWRSDJHWZR         7+(:,71(667KHUHLVSUREDEO\VRPHRYHU
    RI([KLELW\RXU&XUULFXOXP9LWDH$QG\RXKDYHWKHUH        ODSJLYHQWKDWSK\VLRORJ\DQGHQGRFULQRORJ\DUHYHU\
    DOLVWKHDGHGSURIHVVLRQDOWUDLQLQJDQGDFDGHPLFFDUHHU        LPSRUWDQWDQGWLHGDQGLQWHUOLQNHGEXW,FRXOGQ WWHOO
    'R\RXVHHWKDW"                                                \RXVLQFH,GRQ WNQRZZKHUHWKHRYHUODSPLJKWEH
    $<HV                                                   %<$77251(<%522.6
    4$P,ULJKWWKDW\RXKDYHGRQHHLWKHUUHVLGHQFLHV       4<RX\RXUVHOIKDYHQRWGRQHDQ\UHVHDUFKUHODWHG
    RUIHOORZVKLSVLQWKHILHOGRISHGLDWULFVDQG                   WRVSRUWVSK\VLRORJ\KDYH\RX"
   HQGRFULQRORJ\"                                                 $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(661RWP\VHOIQR
   7+(:,71(66, YHGRQHERWK\HV              %<$77251(<%522.6
   UHVLGHQF\DQGIHOORZVKLSLQSHGLDWULFVIROORZHGE\             41RUKDYH\RXGRQHDQ\UHVHDUFKUHODWLQJWRWKH
   HQGRFULQRORJ\\HV                                            LPSDFWRIKRUPRQHVRQDWKOHWLFFDSDELOLW\"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4$QG\RXKDYHQRWGRQHHLWKHUDUHVLGHQF\QRUD        7+(:,71(661RWSHUVRQDOO\
   IHOORZVKLSLQSV\FKLDWU\+DYH\RX"                           %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQWRIRUP           4'R\RXFRQVLGHU\RXUVHOIWREHDQH[SHUWLQDQ\
   7+(:,71(661R                               VHQVHLQWKHTXHVWLRQRIZKDWLVRULVQRWIDLU"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4$QG\RXGRQ WKDYHDQ\GHJUHHLQFKLOGRU             7+(:,71(66:HOOWKDW VDEURDG
   DGROHVFHQWGHYHORSPHQWDOSV\FKRORJ\GR\RX"                   TXHVWLRQ7KDW V
   $1R                                                   %<$77251(<%522.6
   4'R\RXFRQVLGHU\RXUVHOIWUDLQHGDQG                  4'R\RXFRQVLGHU\RXUVHOIDQH[SHUWLQWKH


                                                                                            3DJHVWR
                                                                                                     Armistead App. 0759
                                                   3DJH                                                         3DJH
    FRQFHSWRIIDLUQHVV"                                            47KDQN\RX
    $77251(<%25(//,2EMHFWLRQ                    $5RXJKO\
    7+(:,71(66,EHOLHYHWKDW,FDQ               45RXJKO\"
    UHFRJQL]HIDLUQHVVDQGKDYHDFRQFHSWWKDWZRXOGEH             ,VHHDQDUWLFOHKHUHQXPEHUWKUHHRQWKH
    DSSURSULDWHIRUVRPHRQHRIP\DJH                              OLVW7HMZDQLIURP7HMZDQLHWDODQG\RXDUHRQHRI
    %<$77251(<%522.6                                             WKHDXWKRUVVKRZQIURP\HDU'R\RXVHHWKDW"
    4'R\RXEHOLHYHWKDW\RXKDYHH[SHUWLVHDQG             $<HV
    IDLUQHVVEH\RQGWKDWIURPRUGLQDU\KXPDQH[SHULHQFH"            4$QGWKDWUHODWHVWRGLVRUGHUVRIVH[XDO
    $77251(<%25(//,2EMHFWLRQIRUP              GHYHORSPHQW
   7+(:,71(66,ZRXOGKDYHWRVHHZKDW          $P,FRUUHFW"
   WKDWZRXOGORRNOLNHWRVD\\HVRUQRWRWKDWTXHVWLRQ        $<HV
   %<$77251(<%522.6                                            4$QGDP,FRUUHFWWKDWWKDWDUWLFOHKDV
   4$OOULJKW                                            GRHVQ WVSHDNDWDOOWRWKHTXHVWLRQVRIJHQGHU
   /HW VORRNDW\RXUOLVWRISXEOLFDWLRQVZKLFK        'RHVLW"
   LVRQSDJHWKUHHRI([KLELW\RXUFXUULFXOXPYLWDH          $77251(<%25(//,2EMHFWLRQWRIRUP
   $QGXQGHUWKHWKHSDJHWKUHHDQGFRQWLQXLQJRQWR           7+(:,71(667KDWQR
   SDJHIRXULVDVHFWLRQWLWOHG5HIHUHHG-RXUQDO                %<$77251(<%522.6
   &RUUHFW"                                              41RWFRUUHFW"
   $<HV                                                  $, PVRUU\QRLWGRHVQ WVSHDN
   4$QGE\5HIHUHHG-RXUQDOZH OOERWKKDYHWR        4-XVWWREHFOHDUIRUWKHUHFRUGWKH7HMZDQLHW
   UHPHPEHUWKDW$QGDOVRWKHFRXUWUHSRUWHUPD\IURP           DODUWLFOHZKLFK\RXDUHDFRDXWKRUGRHVQRWVSHDNDW
   WLPHWRWLPHWHOORQHRIXVWRVORZGRZQ7KHVHDOO           DOOWRTXHVWLRQVRIJHQGHULGHQWLW\
   MXVWRUGLQDU\SDUWVRIWKHSURFHVVMXVWIRUJHWWLQJWR         &RUUHFW"
   VSHDNXSRUWRJRVORZHQRXJKWREHWUDQVFULEHG               $77251(<%25(//,2EMHFWLRQIRUP


                                                   3DJH                                                         3DJH
    &DQ\RXH[SODLQIRUWKHUHFRUGZKDW\RXPHDQE\        7+(:,71(66&RUUHFW
    UHIHUHHGMRXUQDOZKDWWKHVLJQLILFDQFHRIWKDWKHDGLQJ         %<$77251(<%522.6
    LV"                                                             4$QG,VHHKHUHD/DSLQVNLHWDODUWLFOHWKH
    $<HV6RIRUWKRVHMRXUQDOVWKH\DUHUHYLHZHGE\       WKLWHPIURPHQWLWOHG%HVW3UDFWLFHVLQ
    DQHGLWRUDQGWKRVHDUHSHHUUHYLHZHGDVZHOO                 7UDQVJHQGHU+HDOWK$&OLQLFLDQ V*XLGHIRU3ULPDU\
    46RWKHVHWKLVZRXOGEHWKHOLVWRI\RXU            &DUH
    SXEOLFDWLRQVWKDWZRXOG\RXZRXOGFRQVLGHUWREH            'R\RXVHHWKDW"
    SHHUUHYLHZHGSXEOLFDWLRQV"                                     $<HV
    $77251(<%25(//,2EMHFWLRQIRUP              4$P,FRUUHFWWKDWWKDWDUWLFOHGRHVQRWUHSRUW
   7+(:,71(66/RRNLQJDWWKHGDWHRQWKH        RQDQ\UHJLRQDOUHVHDUFKE\WKHDXWKRUV"
   IURQWRIWKLVRQH\HV                                        $77251(<%25(//,2EMHFWLRQWRIRUP
   %<$77251(<%522.6                                            7+(:,71(66,EHOLHYHWKDW VWUXH
   4$QGWKDWGDWHLV-DQXDU\VWRIWKLV\HDU           %<$77251(<%522.6
                                                             4$UH\RXWKHDXWKRURIDQ\SHHUUHYLHZHGSDSHUV
   5LJKW"                                                WKDWUHSRUWRULJLQDOFOLQLFDOUHVHDUFKUHODWLQJWR
   $<HV                                                  JHQGHULGHQWLW\RUIRUWUDQVJHQGHUWKHUDSLHV"
   4$QGKDYH\RXKDGDQ\SHHUUHYLHZHGSXEOLFDWLRQ        $77251(<%25(//,2EMHFWLRQWRIRUP
   DSSHDUVLQFH-DQXDU\VWRIWKLV\HDU"                        $77251(<%522.6,GRQ WNQRZZKRVSRNH
   $,KDYHRQHWKDWLVWKDW VLQSUHVVIRUQH[W       WRWKHZLWQHVV
   PRQWK                                                         7+(:,71(666RJRVK,KDYHDORWRI
   4$QGZKDWLVWKHWLWOHRIWKDW"                        WKLQJVWKDWDUHLQSURFHVV/HWPHJLYHLWDVHFRQG
   $,ZRXOGKDYHWRUHYLHZWKHWLWOHLQP\HPDLO        $77251(<%25(//,7DNHWKHWLPH\RXQHHG
   ,W V&OLQLFDO6LPXODWLRQIRU(GXFDWLRQRI1XUVH                WRUHYLHZWKDWWRDQVZHUWKHTXHVWLRQIXOO\
   $QHVWKHVLDLQ*HQGHU$IILUPLQJ&DUH                           7+(:,71(66&RXOG\RXUHSHDWWKH


                                                                                            3DJHVWR
                                                                                                     Armistead App. 0760
                                                  3DJH                                                          3DJH
    TXHVWLRQ"                                                       SDUWLFXODUSDWLHQWSHUVRQ
    %<$77251(<%522.6                                             %<$77251(<%522.6
    4<HV$UH\RXWKHDXWKRURIDQ\SXEOLVKHGSHHU         4/HWPHWDNH\RXDJDLQWR([KLELWDQGSDJHWZR
    UHYLHZHGSDSHUVWKDWUHSRUWRULJLQDOFOLQLFDOUHVHDUFK          "
    UHODWLQJWRJHQGHULGHQWLW\RUWUDQVJHQGHUWKHUDSLHV"           $77251(<025*$10D\,LQWHUUXSWIRUD
    $77251(<%25(//,2EMHFWLRQWRIRUP            PRPHQW
    7+(:,71(667KHLWHPRQQXPEHUVL[             $77251(<%522.6, PVRUU\:KR V
    ZRXOGEHWKHFORVHVW$QGLWLVWDONLQJZLWKSDWLHQWV          VSHDNLQJ"
    DERXWWKHJHQGHULGHQWLW\DQGWKHLUH[SHULHQFHRI               $77251(<025*$16XUH7KLVLV.HOO\
   WUDQVJHQGHUFDUH\HV                                         0RUJDQ, PKDYLQJDWHUULEOHWLPHXQGHUVWDQGLQJWKH
   %<$77251(<%522.6                                            ZLWQHVV6REHIRUHZHJRRQLVWKHUHDQ\ZD\WRVHHLI
   47KHWKDWSDSHULQSDUWLFXODULVHVVHQWLDOO\       ZHFDQLWVRXQGVH[WUHPHO\PXIIOHG, PRQO\
   FDOOLQJIRUUHVHDUFK                                          FDWFKLQJOLNHPD\EHKDOIRIWKHZRUGV
   $P,FRUUHFW"                                         $77251(<%522.60RVWPRVWRIWKH
   $77251(<%25(//,2EMHFWLRQWRIRUP           YRLFHLVFRPLQJWKURXJKYHU\FOHDURQRXUHQG, P
   7+(:,71(66<HV                              JRLQJWRPRYHVSHDNHUVRWKDWSDSHUVKXIIOLQJLVQRWDV
   %<$77251(<%522.6                                            OLNHO\WRVKXIIOHLW%H\RQGWKDW,WKLQNHYHU\ERG\LQ
   4,WLVQRWUHSRUWLQJRQDFFRPSOLVKHGFOLQLFDO          WKLVURRPZLOODJUHHWKDWZH UHVSHDNLQJVORZO\DQG
   UHVHDUFKLVLW"                                               FOHDUO\DQGIUDQNO\ORXGO\6R, PQRWVXUHWKHUH V
   $77251(<%25(//,2EMHFWLRQIRUP             PRUHZHFDQGR
   7+(:,71(666RLQWKDWVWXG\ZH               $77251(<%25(//,$QG.HOO\IRUZKDWLW
   DFWXDOO\GLGLQWHUYLHZLQGLYLGXDOVDVSDUWRIWKHVWXG\       LVZRUWK,WKLQN,FDXJKWPD\EHKDOIRI\RXUZRUGV,
   VRLWKDVLW VGRQHDVDRK/RUGZRUGV, P         ZRQGHULIWKHUHLVDFRQQHFWLRQLVVXHRQ\RXUHQGWKDW
   JRLQJWRILQGWKHZRUGLQDVHFRQG1RWLQOLNH           PLJKWEHZRUWKLQYHVWLJDWLQJ


                                                  3DJH                                                          3DJH
    PRUHRIDSXEOLFKHDOWKEDVHGUHVHDUFKDSSURDFKZKHUH           $77251(<+$571(77,ZLOOMXVWVD\IRU
    \RXGRQRWDFWXDOOLNHFRXQWLQJRIWKLQJVOLNH\RXZRXOG        WKHUHFRUGDQGRWKHUVVKRXOGVSHDNXSWRREHFDXVHZH
    GRVRUWRIVHDUFKEXWPRUHDURXQGLQWHUYLHZLQJDQG         REYLRXVO\ZDQWDOOFRXQVHOWRKHDUWKHGHSRVLWLRQ,
    ORRNLQJDWTXDQWLWDWHYHUVXVTXDOLWDWLYH7KDW VWKH           KDYHEHHQDEOHWRKHDU0U%URRNVWKHZLWQHVVDQGWKH
    ZRUG, PORRNLQJIRU,W VDTXDOLWDWLYHVWXG\ZKLFKLV        REMHFWLRQVKDYHEHHQDELWPRUHIDLQWEXWZHKDYHEHHQ
    W\SLFDOO\GRQHLQSXEOLFKHDOWKSURJUDPVRURWKHUSXEOLF        DEOHWRPDNHWKHPRXWVRIDU
    KHDOWKUHVHDUFK                                                $77251(<75<217KLVLV'DYH7U\RQ,
    4$OOULJKW                                             VKDUH.HOO\ VIUXVWUDWLRQ, PKDYLQJGLIILFXOW\
    $P,FRUUHFW'U$GNLQVWKDW\RX\RXUVHOI          XQGHUVWDQGLQJWKHZLWQHVVVR
   KDYHQRWWUHDWHGQRUSHUVRQDOO\H[DPLQHG3ODLQWLII            $77251(<%522.6$QGVLPLODUO\'DYH
   %3-"                                                        ZKHQZHKHDU\RX\RX UHDOLWWOHELWPRUHPXIIOHGWKDQ
   $77251(<%25(//,2EMHFWLRQIRUP             VRPHRIWKHRWKHUYRLFHV6RWKHLVVXHSHUKDSVWKH
   7+(:,71(667KDW VFRUUHFW                   PLFVDQGVSHDNHUVRQWKHRWKHUHQGEXWWKHUH VQRWKLQJ
   %<$77251(<%522.6                                            PRUHZHFDQGRDWWKLVHQG
   4$QG\RXGRQ WKDYHDQ\GLUHFWNQRZOHGJHDVWRDW      $77251(<*5((17KLVLV5REHUWD*UHHQ
   ZKDW7DQQHUVWDJH%3-EHJDQSXEHUW\EORFNHUV               DQG, PDOVRKDYLQJWURXEOHKHDULQJ$QG, P
   $P,FRUUHFW"                                         FRQVLGHULQJPD\EH\RXNQRZPD\EHPXWLQJP\FRPSXWHU
   $,GRQ WUHFDOOVHHLQJWKDWLQDQ\RIWKH              DQGFDOOLQJLQRQP\SKRQHDQGVHHLI,FDQKHDUEHWWHU
   GRFXPHQWDWLRQ                                                 ,WKLQNZKHQWKHGRFWRUORRNVGRZQWRORRNDWGRFXPHQWV
   4$QG\RXGRQ WKDYHDQ\NQRZOHGJHDVWRKRZ            ZHORVHVRPHRIWKDW6R, OOUHSRUWLQLIFDOOLQJLQ
   %3- VSK\VLRORJ\RUDWKOHWLFFDSDELOLWLHVFRPSDUHWR        RQP\SKRQHLVDEUHDNWKURXJKEXW,DSSUHFLDWH\RXDOO
   DJHQHWLFIHPDOHRIDVLPLODUDJHGR\RX"                     7KDQN\RX
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<'(1,.(5<HV7KDQN\RX, P
   7+(:,71(66,KDYHQ WDVVHVVHGWKH            DOVRKDYLQJWURXEOH$QG, PFXULRXVLIWKHFRXUW


                                                                                            3DJHVWR
                                                                                                    Armistead App. 0761
                                                  3DJH                                                          3DJH
    UHSRUWHULVKDYLQJWURXEOH$QGLIVKH VQRWWKDW V          WRSURWHFWKHUKHDOWK
    JRRGEXW,MXVWZDQWWRPDNHVXUHWKDWZHWKDW            $77251(<%522.6$QGZHGLGDJUHHWR
    HYHU\ERG\FDQKHDU                                            SURFHHGLQZKDWHYHUZD\WKHZLWQHVVZDQWHGZKHQLWFRPHV
    &28575(3257(56RP\ELJJHVWLVVXHLV         WRWKDWVRZH OODOOMXVWKDYHWROLYHZLWKWKDWDV
    SHRSOHQRWVD\LQJWKHLUQDPHVZKHQWKH\ UHVSHDNLQJ6R       SDUWRIWKHVHGD\V
    ZHMXVWKDGDEXQFKRISHRSOHDQG,UHDOO\KDYHQRLGHD        0D\ZHSURFHHG"
    ZKRLVVD\LQDQ\WKLQJ,GRQ WNQRZZKRLVPDNLQJWKH         $77251(<75<21<HV
    REMHFWLRQV$QGPD DPZLWKWKHPDVNRQLWLVKDUGWR        %<$77251(<%522.6
    XQGHUVWDQG\RXDWWLPHV, PUHDOO\OLNHKDYLQJWR             4,I\RXKDYH([KLELWDQGRQSDJHWZRRIWKDWZH
   UHDOO\IRFXVLQRQ\RX$QGWKHREMHFWLRQVDUHFRPLQJ        KDYHSURIHVVLRQDOWUDLQLQJDQGDFDGHPLFFDUHHUZKLFK
   LQTXLFN$QG,PHDQWKHUHDUHGHILQLWHO\VRPH              WRZDUGVWKHERWWRPLQFOXGHV\RXUFXUUHQWWZR
   FKDOOHQJHVEXW,GRQ WNQRZ                                 DSSRLQWPHQWVDVVRFLDWHGZLWK'XNH8QLYHUVLW\
   $77251(<%25(//,:HOOLQFDVHWKLVLV       $P,FRUUHFW"
   KHOSIXOVRWKLVLV7DUD%RUUHOOLZLWK/DPEGD/HJDORQ        $7KUHH
   EHKDOIRIWKH3ODLQWLII,DPWKHSHUVRQGHIHQGLQJWKH       4,DSRORJL]H,VHHWKDW2QHLV\RX UHDQ
   GHSRVLWLRQVRWKHREMHFWLRQVZLOOEHFRPLQJIURPPHLQ      $VVRFLDWH3URIHVVRURI3HGLDWULFV
   FDVHWKDW VKHOSIXOJRLQJIRUZDUG                            &RUUHFW"
   &28575(3257(5<HV                          $&RUUHFW
   $77251(<+$571(777KLVLV.DWKOHHQ           4$QG\RXDUHWKH'LUHFWRURIWKH'XNH&KLOGDQG
   +DUWQHWWIRUWKH3ODLQWLIIIURP&RROH\,ZDVWKHILUVW      $GROHVFHQW*HQGHU&DUH&OLQLF"
   SHUVRQWKDWVSRNHDIWHUVRPHRQHUDLVHGWKHLVVXH,          $&RUUHFW
   EHOLHYH0LVV0V0RUJDQKDGUDLVHGWKHLVVXHRIWKH       4$QG\RXDUHD&R'LUHFWRURIWKH'XNH6H[XDODQG
   DELOLW\WRKHDU$QG,ZRXOGMXVWVD\IRUWKHUHFRUG         *HQGHU+HDOWKDQG:HOOQHVV3URJUDP
   WKLVLVDQLQSHUVRQGHSRVLWLRQWKDWZDVVFKHGXOHGZKHUH      &RUUHFW"


                                                  3DJH                                                          3DJH
    ZHKDGSURSRVHGLWWREHUHPRWHLISDUWLHVVDZILWWRGR       $&RUUHFW
    WKDW:H UHQRWREMHFWLQJWRLWEHLQJLQSHUVRQ:H UH       4:KDWLVWKHWRWDOFRPSHQVDWLRQ\RXUHFHLYHLQ
    REYLRXVO\WKH\ UHGHIHQGLQJ$QGDOOSDUWLHVKDG          FRQQHFWLRQZLWKWKRVHWKUHHDSSRLQWPHQWVZLWK'XNH
    WKHDELOLW\WRDWWHQGLQSHUVRQLIWKH\FKRVHWR              8QLYHUVLW\"
    $77251(<%522.6$QG,,ZLOO          $77251(<%25(//,2EMHFWLRQIRUP
    WKLVLV5RJHU%URRNVWDNLQJWKHGHSRVLWLRQ,ZLOO            7+(:,71(66:HOO\RXZDQWDQXPEHURU
    VXJJHVWWKDWZHMXVWDJUHHE\YRLFHDFFOLPDWLRQWKDW           "
    ZH UHQRWJRLQJWRF\FOHWKURXJKDOOWKHQDPHVDQGWU\         %<$77251(<%522.6
    WRLGHQWLI\DOOWKHSHRSOHZKRKDYHFKDWWHGZLWKXV            4,GR
   DERXWWKHLUUHFHSWLRQDQGVLPSO\PRYHRQZLWKWKH             $, PJRLQJWRKDYHWRJLYHDQDSSUR[LPDWLRQ
   GHSRVLWLRQXQOHVVDQ\ERG\REMHFWVWRWKDW                    4$QGWKDW VILQH"
   $77251(<025*$1,KDYHQRREMHFWLRQWR       $$SSUR[LPDWHO\SHU\HDU
   WKDW7KLVLV.HOO\0RUJDQ%XWLVWKHUHDQ\                4$QGWKDWLV\RXUWRWDOFRPSHQVDWLRQRQD:
   SRVVLELOLW\WKDWWKHZLWQHVVZRXOGEHDEOHWRUHPRYHKHU      IURP'XNH8QLYHUVLW\"
   PDVNLIHYHU\RQHHOVHLVPDVNHGRWKHUWKDQWKH                $1R'XNH8QLYHUVLW\RQO\SD\VPHSHU
   TXHVWLRQHU"/LNH,, PQRWKDYLQJWURXEOHKHDULQJ        \HDU,ZRUNIRUWKHSULYDWH'LDJQRVWLF&OLQLFZKLFK
   DQ\RQHHOVHRWKHUWKDQWKHZLWQHVVDQGLWMXVWVHHPVWR      LVRXUSULYDWHSUDFWLFHDQGWKH\SD\PHWKHEDODQFH
   JHWPXIIOHG                                                  42ND\
   $77251(<%25(//,, PVRUU\EXW,,      $QGGR\RXUHFHLYHDQ\RWKHUFRPSHQVDWLRQLQ
   GRQ WEHOLHYHWKDW VJRLQJWREHDQRSWLRQ,PHDQ          FRQQHFWLRQZLWK\RXUZRUNZLWKSDWLHQWVLQFRQQHFWLRQ
   WKLVWKLVLVSDUWO\ZK\DUHPRWHGHSRVLWLRQZRXOG         ZLWKWKH'XNH&KLOGDQG$GROHVFHQW*HQGHU&DUH&OLQLF"
   KDYHEHHQRXURXUSUHIHUHQFHEXW'U$GNLQV              $77251(<%25(//,2EMHFWLRQIRUP
   REYLRXVO\KDVWRWDNHSUHFDXWLRQVEHFDXVHVKHLV              7+(:,71(661R
   FRQWLQXLQJWRVHHDQGWUHDWSDWLHQWV$QGVRVKHQHHGV       %<$77251(<%522.6


                                                                                            3DJHVWR
                                                                                                     Armistead App. 0762
                                                   3DJH                                                         3DJH
    4&DQ\RXWHOOPHZKDW\RXHDUQHGLQVSHDNLQJIHHV       &RUUHFW"
    LQDSSUR[LPDWHO\"                                         $77251(<%25(//,2EMHFWLRQIRUP
    $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,KDYHEHHQDZDUHWKDW
    7+(:,71(66,Q",VWKDWZKDW\RX         XOWUDVRQRJUDSKHUVRIWHQWHOOSHRSOHZKDWWKH\WKLQNWKH\
    VDLG"                                                           DUH$QG, PDOVRWKHRQHWKDWKDVWRWHOOWKHSDUHQWV
    %<$77251(<%522.6                                             WKDWLWLVGLIIHUHQWZKHQWKH\ UHERUQDQGLWLVQRW
    4,GLG                                                 H[DFWO\DFFXUDWH
    $/HW VVHH, PORVLQJWUDFNRIGDWHV,WKLQN        %<$77251(<%522.6
    RQO\OLNH                                                 47KDWLVDVDUHVXOWRIWKHTXDOLW\RILPDJLQJRQ
   4$QGZKDWZHUHWKHWRWDOH[SHUWIHHVWKDW\RX          XOWUDVRXQGVRPHWLPHVWKHZURQJFDOOLVPDGHRQWKDW"
   UHFHLYHGLQLQFRQQHFWLRQZLWKVHUYLQJDVDQH[SHUW       $77251(<%25(//,2EMHFWLRQIRUP
   LQOLWLJDWLRQ"                                                 7+(:,71(663RVVLEO\WKHTXDOLW\RI
   $77251(<%25(//,2EMHFWLRQIRUP             LPDJLQJWKHVNLOORIWKHSHUVRQ7KHUHDUHDOVR
   7+(:,71(661RWKLQJ                          VRPHWLPHVYDULDWLRQVWKDWDUHQ WHDVLO\YLVLEOHRQ
   %<$77251(<%522.6                                            XOWUDVRXQG
   4$QGLQGLG\RXUHFHLYHDQ\SD\PHQWVIRUDQ\      %<$77251(<%522.6
   UHDVRQVIURPDQ\SKDUPDFHXWLFDOFRPSDQ\"                       4<RX UHDUHDZDUHDUH\RXQRWWKDWWKHJHQHWLF
   $77251(<%25(//,2EMHFWLRQIRUP             VH[RILQIDQWLVLQIDFWGHWHUPLQDEOHE\JHQHWLF
   7+(:,71(661R                               WHVWLQJDVHDUO\DVWKHILUVWWULPHVWHURISUHJQDQF\"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQWRIRUP
   4/HWPHDVN\RXWRORRNDW([KLELWZKLFKLV         7+(:,71(667KHW\SLFDOWHVWLQJIRU
   \RXUH[SHUWUHSRUW$QGLI\RXZRXOGWXUQLI\RX          WKDWLVFKURPRVRPHVZKLFKDUHEURDGYLHZDQGQRW
   ZRXOGWXUQWRSDUDJUDSKRIWKDWUHSRUWSDUDJUDSK       VSHFLILFIRUWKHKXQGUHGVRIJHQHVWKDWFDQFKDQJHWKH
   $QGWKHUH\RXVD\ZKHQDFKLOGLVERUQDVH[DVVLJQPHQW        VH[RIWKHLQGLYLGXDO


                                                   3DJH                                                         3DJH
    LVXVXDOO\PDGHEDVHGRQWKHLQIDQW VH[WHUQDOO\YLVLEOH        %<$77251(<%522.6
    JHQLWDOV7KLVGHVLJQDWLRQLVWKHQUHFRUGHGDQGXVXDOO\        4:HOOP\TXHVWLRQZDV\RXDUHDZDUHDUH\RX
    EHFRPHVWKHVH[GHVLJQDWLRQOLVWHGRQWKHLQIDQW VELUWK        QRWWKDWWKHFKURPRVRPDOVH[RIWKHLQIDQWLV
    FHUWLILFDWH'R\RXVHHWKDWODQJXDJH"                         GHWHUPLQDEOHDVHDUO\DVWKHILUVWWULPHVWHURI
    $,GR                                                  SUHJQDQF\"
    4$QGDVDWUDLQHGSK\VLFLDQFDQ\RXWHOOXVKRZ        $77251(<%25(//,2EMHFWLRQIRUP
    DVH[DVVLJQPHQWLVXVXDOO\PDGHEDVHGRQWKHLQIDQW V          7+(:,71(66, PVRUU\,GLGQ WKHDU
    H[WHUQDOYLVLEOHJHQLWDOV"                                      \RXVD\FKURPRVRPDO,WKRXJKW\RXVDLGELRORJLFDO,
    $<HV,QPRVWFDVHVWKHH[WHUQDOJHQLWDOVZLOO         DSRORJL]H
   KDYHDIRUPWKDWORRNVW\SLFDOWRDPDOHYHUVXVW\SLFDO        %<$77251(<%522.6
   WRDIHPDOH$QGLIWKHUHLVDTXHVWLRQWKHQ,JHW           4,FDQ WVZHDUZKDW,VDLGWKHILUVWWLPH
   FRQVXOWHGLIWKHUH VVRPHWKLQJGLIIHUHQW                     $77251(<%522.6/HW VDVNWKHUHSRUWHU
   4$QGE\W\SLFDOWRDPDOHIRULQVWDQFH\RXPHDQ      WRUHDGEDFNWKHVHFRQGTXHVWLRQ,DVNHG,VWKHFRXUW
   ZKDW"                                                          UHSRUWHUPXWHGSHUKDSV"
   $6RPDOHH[WHUQDOJHQLWDOLDDWELUWKW\SLFDOO\         &28575(3257(52QHPLQXWH
   KDVDSKDOLFVWUXFWXUHSHQLVWKDWLVRIDFHUWDLQ            $77251(<%522.62ND\
   OHQJWKPRVWRIWKHWLPH$QGWKHQWKHUH VVFURWXPDQG         &28575(3257(5<RXVDLGJHQHWLF
   WKHQWKHUHDUHXVXDOO\WHVWLFOHVDOWKRXJKVRPHWLPHV           WHVWLQJ'R\RXZDQWPHWRUHDGWKHZKROHTXHVWLRQ"
   WKH\FDQEHXSRUGRZQLQWKHVFURWXP                         $77251(<%522.6,GR
   4$QGGR\RX\RXUVHOIKDYHFKLOGUHQ"                  &28575(3257(5<RXDUHDZDUHDUH\RX
   $,GR                                                 QRWWKDWWKHJHQHWLFVH[RIDQLQIDQWLVGHWHUPLQDEOH
   4$QG\RX UHDZDUHWKDWIRUTXLWHDQXPEHURI           E\JHQHWLFWHVWLQJDVHDUO\DVWKHILUVWWULPHVWHURI
   \HDUVQRZLQIDFWSDUHQWVRIWHQOHDUQRIWKHVH[RI          SUHJQDQF\"
   WKHLUFKLOGEHIRUHELUWK                                      $77251(<%25(//,2EMHFWLRQWRIRUP


                                                                                          3DJHVWR
                                                                                                            Armistead App. 0763
                                                   3DJH                                                                 3DJH
    &28575(3257(5$QGDJDLQ,MXVWZDQWWR        $77251(<%255(//,2EMHFWLRQWRIRUP
    VD\WKDWWKHZLWQHVVLVKDUGWRXQGHUVWDQG7KHUHLV           7+(:,71(66, PQRWDEOHWRDQVZHUWKH
    GHILQLWHO\DORWRIPXIIOLQJZRUGVFRPLQJWKURXJK\RX          TXHVWLRQ\HVRUQR
    NQRZMXVWOLNHLQWKHVHQWHQFHWKHUHPLJKWEHWZRZRUGV        %<$77251(<%522.6
    WKDW,MXVWKDYHWROLNHUHDOO\, PMXVWVWUXJJOLQJ         4<RXZRXOGDJUHHWKDWWKHJHQHWLFVH[RIDQ
    RYHUKHUHZLWKWKLVPDVN,FDQ WVHH\RXUOLSVPRYLQJ        LQIDQWLVGHWHUPLQHGDWWKHLQVWDQWRIFRQFHSWLRQ"
    VRLW VUHDOO\KDUGEXW                                    $77251(<%25(//,2EMHFWLRQWRIRUP
    7+(:,71(66, OOVORZGRZQEXW,ZDV          7+(:,71(667KHDFWXDO<FKURPRVRPHV
    VLFNHDUOLHUWKLVZHHNDQG, GUHDOO\UDWKHUQRWVKDUH         DUHDWWKDWWLPH\HV
   WKDWZLWKDQ\RQHLQWKHURRP$QG,GRQ WWKLQNWKDW          %<$77251(<%522.6
   WKH\ZRXOGOLNHWKDWVR                                  47KDW VQRWVRPHWKLQJWKDWDGRFWRUKDVDQ\
   %<$77251(<%522.6                                            FKRLFHRUFRXOGFKDQJHDWWKHWLPHRIELUWK"
   4'RQ WFRQVLGHU\RXUVHOISUHVVXUHGWRWDNHRII         $77251(<%25(//,2EMHFWLRQIRUP
   \RXUPDVN-XVWGRZKDW\RXFDQWRVSHDNFOHDUO\LQWR         7+(:,71(667KHFKURPRVRPHVQR
   WKHPLFURSKRQH                                                %<$77251(<%522.6
   $77251(<%25(//,7KDQN\RX$QGZH           4$QG\RXXQGHUVWDQGZKDW,WKLQNZHDOOOHDUQHG
   MXVWPRYHGWKHPLFFORVHUWRWKHZLWQHVVDVZHOOVRZH        LQSHUKDSVVL[WKJUDGHELRORJ\WKDWDQLQGLYLGXDOZLWK
   ZHKRSHWKDWWKDWZLOOKHOSPDNHDGLIIHUHQFH             WZR;FKURPRVRPHVSURYLGHGWKDWWKHUHLVQRFKURPRVRPDO
   $77251(<+$51(77([FXVHPH7KLVLV          DEQRUPDOLW\LVIHPDOHIHPDOHDQGDQLQGLYLGXDOIUHHRI
   .DWKOHHQ+DUWQHWWIURP&RROH\,ZRXOGOLNHWRDVN            DEQRUPDOLWLHVZKRKDVDQ;DQGD<FKURPRVRPHLVPDOH
   ZKHWKHUWKHYLGHRWDSLQJWKDW VKDSSHQLQJQRZZLOODOORZ        &RUUHFW"
   IXUWKHUWUDQVFULSWLRQDIWHUWKHGHSRVLWLRQ"                    $77251(<%25(//,2EMHFWLRQIRUP
   9,'(2*5$3+(5<HVWKDW VWKH              7+(:,71(66)UHHRIDQ\DEQRUPDOLWLHV
   YLGHRWDSHLVSLFNLQJXSHYHU\WKLQJWKDW, PKDYLQJ         \HV


                                                   3DJH                                                                 3DJH
    QRWURXEOHVRQP\VLGHVRLW VSLFNLQJXSDOORIWKH           %<$77251(<%522.6
    DXGLRDQGHYHU\WKLQJ                                           4$QG\RXDOVRXQGHUVWDQGWKDWLQKXPDQVOLNHDOO
    $77251(<+$571(777KDQN\RXYHU\PXFK         PDPPDOVDJDPHWHIURPDPDOHDQGDJDPHWHIURPDIHPDOH
    9,'(2*5$3+(5<RX UHZHOFRPH                   DUHQHFHVVDU\WRFUHDWHDIHUWLOL]HGHJJLQDQHZ
    $77251(<%522.6$QGUDWKHUWKDQ                LQGLYLGXDO"
    UHUHDGLQJWKHTXHVWLRQ, PMXVWJRLQJWRIRUJHWDOO           $77251(<%25(//,2EMHFWLRQIRUP
    WKDWDQGDVN\RXDQHZTXHVWLRQ                                7+(:,71(66&DQ\RXUHDGWKHYHU\ILUVW
    %<$77251(<%522.6                                             SDUWRIWKHTXHVWLRQDJDLQSOHDVH"
    4<RXDUHDZDUHDUH\RXQRWWKDWWKHFKURPRVRPDO       %<$77251(<%522.6
   VH[RIDQLQIDQWQRZDGD\VFDQEHGHWHUPLQHGDVVRRQDV         4<RXXQGHUVWDQGWKDWLQKXPDQVDVLQDOO
   WKHILUVWWULPHVWHURISUHJQDQF\"                              PDPPDOVDJDPHWHIURPDPDOHDQGDJDPHWHIURPDIHPDOH
   $77251(<%25(//,2EMHFWLRQWRIRUP           DUHQHFHVVDU\WRFUHDWHDIHUWLOL]HGHJJDQGDQHZ
   7+(:,71(66<RXFDQREWDLQWKHEDVHOLQH       LQGLYLGXDO"
   FKURPRVRPHV\HV                                              $77251(<%25(//,6DPHREMHFWLRQ
   %<$77251(<%522.6                                            7+(:,71(66<HV
   4$QGWKDWZLOOWHOO\RXWKHFKURPRVRPDOVH[RI         %<$77251(<%522.6
   WKDWLQIDQW"                                                   41RZLI\RXORRNDWSDUDJUDSKLQ\RXU
   $77251(<%25(//,2EMHFWLRQIRUP             GHFODUDWLRQ
   7+(:,71(667KHQRWUHDOO\DWHUP         $<HV
   WKDWLVUHDOO\SUHFLVHDVWKHUH VKXQGUHGVRIJHQHVWKDW       4LQSDUDJUDSK\RXVWDWHTXRWHELRORJLFDO
   FDQFKDQJHWKDW                                               VH[ELRORJLFDOPDOHRUIHPDOHDUHLPSUHFLVHDQGVKRXOG
   %<$77251(<%522.6                                            EHDYRLGHG'R\RXVHHWKDW"
   46R\RXDUHQRWDEOHWRDQVZHUP\TXHVWLRQ\HVRU      $<HV
   QR"                                                            4$QGLWLV\RXUYLHZWKDWWKHWHUPVELRORJLFDO



                                                                                                3DJHVWR
                                                                                                          Armistead App. 0764
                                                  3DJH                                                                   3DJH
    PDOHELRORJLFDOIHPDOHDQGELRORJLFDOVH[DUHVR              WKDWGDWHUDQJH\HV
    LPSUHFLVHDVWREHQRWXVHIXOIURPDPHGLFDOSRLQWRI          %<$77251(<%522.6
    YLHZ"                                                          4+DYH\RXPHW'U&RKHQ.HWWHQLV"
    $77251(<%25(//,2EMHFWLRQIRUP             $1R
    7+(:,71(66,QP\SUDFWLFHZHKDYHWR         4$QGVKHLVDVVRFLDWHGZLWKDKLJKO\UHVSHFWHG
    EHPRUHFDUHIXOWKDQWKDWEHFDXVH,VHHTXLWHDORWRI         LQVWLWXWHLQ$PVWHUGDP
    LQGLYLGXDOVZKHUHWKDWZRXOGQ WEHDYHU\SUHFLVH              $P,ULJKW"
    DQVZHU                                                        $,DPQRWFHUWDLQ,ZRXOGKDYHWRORRNWKDWXS
    %<$77251(<%522.6                                            4<RXGRQ WNQRZ<RXZHUHQ WLQYLWHGWRVHUYHRQ
   40\TXHVWLRQLVLVLW\RXUH[SHUWRSLQLRQDUH        WKHFRPPLWWHHWKDWGUDIWHGWKHVHJXLGHOLQHVZHUH\RX"
   \RXRIIHULQJH[SHUWRSLQLRQLQWHUPVRIELRORJLFDOVH[       $77251(<%25(//,2EMHFWLRQIRUP
   ELRORJLFDOPDOHDQGELRORJLFDOIHPDOHDUHVRLPSUHFLVH        7+(:,71(667KHUHLVDQLQYLWDWLRQ
   DVWRQRWEHPHGLFDOO\XVHIXO"                                H[WHQGHGWRDOO(QGRFULQH6RFLHW\PHPEHUV,GLGILQGD
   $77251(<%25(//,2EMHFWLRQIRUP            WLPH7KDWZDVHDUO\LQP\ZRUNZLWKWKLVDWWKDWWLPH
   7+(:,71(66<HV                             %<$77251(<%522.6
   $77251(<%522.6/HWPHPDUNDV([KLELW       4,I\RXORRNGRZQRQSDJHRQHDERXWILYHOLQHV
   ZKDWLVWDEDQGWKDWLVWKH(QGRFULQH6RFLHW\            IURPWKHERWWRP
   *XLGHOLQHVGDWHGEXWWKHQXPEHURIDXWKRUV7KH        $6D\LWDJDLQ
   ILUVWQDPHLV:LOH\+HPEUHH                                  43DJHRQHILYHOLQHVIURPWKHERWWRP"
                                   $<HV
    :KHUHXSRQ$GNLQV([KLELW             4$FWXDOO\OHW VJRWZRPRUHXSDQGEHJLQD
   (QGRFULQH6RFLHW\*XLGOLQHVZDVPDUNHG       VHQWHQFH7KHUH VDVHQWHQFHWKDWEHJLQVWKH\UHTXLUHD
   IRULGHQWLILFDWLRQ                           VDIHDQGHIIHFWLYHKRUPRQHUHJLPHQWKDWZLOORQH
                                   VXSSUHVVHQGRJHQRXVVH[KRUPRQHVHFUHWLRQGHWHUPLQHGE\


                                                  3DJH                                                                   3DJH
    $77251(<%522.6, PKDQGLQJWKDWWRWKH       WKHSHUVRQ VJHQHWLFJRQDGDOVH['R\RXVHHWKDW"
    ZLWQHVVDQGWRRSSRVLQJFRXQVHO                               $,GR
    %<$77251(<%522.6                                            4$QGGR\RXWKLQN\RXXQGHUVWDQGZKDW VUHIHUUHG
    4'U$GNLQVWKLVLVDGRFXPHQWWKDW\RXFLWHLQ       WRE\WKHWHUPJHQHWLFJRQDGDOVH["
    \RXUH[SHUWUHSRUW                                            $77251(<%25(//,2EMHFWLRQIRUP
    &RUUHFW"                                              7+(:,71(66<HV
    $&RUUHFW                                              %<$77251(<%522.6
    4$QGZLWKZKLFK\RXDUHTXLWHIDPLOLDU"                4$QGZKDWLV\RXUXQGHUVWDQGLQJRIZKDWWKDW
    $&RUUHFW                                              UHIHUVWR"
   4'R\RXNQRZ'U+HPEUHH"                             $6RWKDWZRXOGLQFOXGHERWKWKHFKURPRVRPHVDV
   $,VSRNHZLWKKLPRQWKHSKRQH                       PHQWLRQHGEHIRUHWKHEURDG;<DQGLWVKRXOGLQFOXGH
   4<RXZRXOGDJUHHZRXOG\RXQRWWKDWKH VEHHQ       DOORIWKHRWKHUJHQHWLFPXWDWLRQVDVZHOODVZKDW
   SURPLQHQWLQWKHILHOGRIWUDQVJHQGHUPHGLFLQHIRU            DFWXDOJRQDGVDUHSUHVHQWLQWKHSHUVRQ
   GHFDGHV"                                                      4$QGWKLVFRPPLWWHHWKHVHSURPLQHQWUHVHDUFKHUV
   $77251(<%25(//,2EMHFWLRQIRUP            DWOHDVWFRQVLGHUHGJHQHWLFJRQDGDOVH[WREHD
   7+(:,71(66+LVSXEOLFDWLRQV\HV           PHDQLQJIXODQGUHDGLO\XQGHUVWDQGDEOHELQDU\
   %<$77251(<%522.6                                           FODVVLILFDWLRQ
   4$QGDQRWKHUDXWKRULV3HJJ\&RKHQ.HWWHQLV'R      &RUUHFW"
   \RXVHHWKDW"6KH VWKHVHFRQGDXWKRU                       $77251(<%25(//,2EMHFWLRQIRUP
   $<HV                                                 7+(:,71(667KDW VQRWFOHDUWKHUHDQG
   4$QGOLNHZLVHVKHKDVEHHQSURPLQHQWLQWKH          LWLVGLIIHUHQWIURPZKDW\RXVDLGEHIRUH
   ILHOGIRUDWOHDVW\HDUV"                                  %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQ                  4,WU\WRPDNHHDFKTXHVWLRQVRPHZKDWGLIIHUHQW
   7+(:,71(66, YHVHHQSXEOLFDWLRQVLQ        IURPWKHRQHEHIRUHVR\HV/HWPHDVNDQHZTXHVWLRQ


                                                                                               3DJHVWR
                                                                                                    Armistead App. 0765
                                                  3DJH                                                          3DJH
    7KLVFRPPLWWHHFRQVLGHUHGWKHFRPPLWWHHWKDWGUDIWHG        %<$77251(<%522.6
    WKHVHJXLGHOLQHVFRQVLGHUHGJHQHWLFJRQDGDOVH[WREHD         47KHUHODWLRQVKLSEHWZHHQFKURPRVRPDOVH[DQG
    PHDQLQJIXODQGUHDGLO\XQGHUVWDQGDEOHFODVVLILFDWLRQ           JRQDGVDUHQRWVHSDUDWHWKLQJVWKDWFDQYDU\LQKHDOWK\
    &RUUHFW"                                               LQGLYLGXDOVDUHWKH\"
    $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQWRIRUP
    7+(:,71(66<HV7KH\GLGQ WXVHWKH          7+(:,71(66:HOO,KDYHKHDOWK\
    ZRUGFKURPRVRPDOVH[$QGWKH\LQFOXGHGJRQDGVZKLFK           LQGLYLGXDOVZKRKDYH;<FKURPRVRPHVDQGH[WHUQDO
    DUHDOVRDSDUWRIWKHEURDGGHYHORSPHQWRIKXPDQ               JHQLWDOLDWKDWDUHFRPSOHWHO\IHPDOH
    UHSURGXFWLYHELRORJ\                                           $77251(<%522.6/HWPHPDUNDV([KLELW
   %<$77251(<%522.6                                            WKHSULRUHGLWLRQJXLGHOLQHVSXWRXWE\WKH(QGRFULQH
   4$QGLQIDFW\RX\RXUVHOITXRWHGWKLVODQJXDJH      6RFLHW\LQHLJKW\HDUVHDUOLHU
   LQ\RXUH[SHUWUHSRUWGLG\RXQRW"                            
   $<HV                                                   :KHUHXSRQ$GNLQV([KLELW
   4$QGJHQHWLFVH[LQ\RXUXQGHUVWDQGLQJZKDWLV       (QGRFULQH6RFLHW\*XLGHOLQHVZDVPDUNHG
   WKHPHDQLQJRIJHQHWLFVH["                                    IRULGHQWLILFDWLRQ
   $77251(<%25(//,2EMHFWLRQIRUP             
   7+(:,71(66:HOOLQPRVWSDWLHQWVLQ        %<$77251(<%522.6
   PRVWSHRSOHLWLVZKHWKHU\RXUHFHLYHGDQ;RUD<            4$QGWKHSULPDU\DXWKRULVRQWKHILUVW
   FKURPRVRPHDQGDOORI\RXUERG\SDUWVLQFOXGHDQ;<            DXWKRURQWKHJXLGHOLQHVDUHWKHVDPHLQGLYLGXDOV
   FRQWDLQLQJRUDQ;;FRQWDLQLQJFHOO7KHUHDUHFDVHV          'U+HPEUHHDQG&RKHQ.HWWHQLV"
   ZKHUH\RXFDQKDYHPRVVDLFLVPRUGLIIHUHQWSDUWVRID          &RUUHFW"
   KXPDQDWGLIIHUHQWVH[FKURPRVRPHVZKHUHDSDUWLV;;D       $&RUUHFW
   SDUWLV;<SDUWLV;2$QGWKHQWKHUHLVDOVRVRPH           $77251(<%25(//,2EMHFWLRQIRUP
   PXWDWLRQVWKDWFDQRFFXULQORWVRIRWKHUORFDWLRQVWKDW       %<$77251(<%522.6


                                                  3DJH                                                          3DJH
    FDQGHWHUPLQHZKHWKHURUQRWDSDWLHQW V\RXNQRZ             4,QIDFW\RX\RXUVHOIZHUHIDPLOLDUZLWKDQG
    OLNHO\WRKDYHWKHUHVWRIWKHLUKXPDQGHYHORSPHQW              UHJXODUO\FRQVXOWHGWKHVHJXLGHOLQHV
    DSSHDUDVZKDWZHZRXOGPRUHW\SLFDOO\VHHLQDPDOH            $P,FRUUHFW"
    KXPDQRUDIHPDOHKXPDQ                                        $77251(<%25(//,2EMHFWLRQWRIRUP
    %<$77251(<%522.6                                             7+(:,71(6663ULRUWR"
    4:HOOLQHYHU\KXPDQLQGLYLGXDOZKRLVKHDOWK\         %<$77251(<%522.6
    DQGIUHHRIGLVRUGHURIVH[XDOGHYHORSPHQWJHQHWLFVH[         4&RUUHFW
    DQGJRQDGDOVH[DUHGLUHFWO\FRUUHVSRQG                    $,XVHGWKHVHJXLGHOLQHV
    &RUUHFW"                                               4$QGGLG\RXILQGWKHPWREHLQFRPSUHKHQVLEOH"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(667\SLFDOO\\HV                   7+(:,71(661R
   %<$77251(<%522.6                                            %<$77251(<%522.6
   46RLQDKHDOWK\LQGLYLGXDOIUHHRIJHQHWLF            4,I\RXORRNZLWKPHRQSDJHPDUNHGZKLFK
   GHIHFWHYHU\LQGLYLGXDOZKRLVFKURPRVRPDOO\;;LVJRLQJ       LVWKHWKLUGSDJHRIWKHGRFXPHQWVHFRQGFROXPQWKUHH
   WRKDYHIHPDOHJRQDGVDQGIHPDOHJHQLWDOLD                    TXDUWHUVRIWKHZD\GRZQLVWKHGHILQLWLRQRIXQGHU
   &RUUHFW"                                              WKHKHDGLQJRIGHILQLWLRQVLVDGHILQLWLRQRI
   $77251(<%25(//,2EMHFWLRQWRIRUP           WUDQVVH[XDORUWUDQVVH[XDOSHRSOH
   7+(:,71(660\RQO\FRQFHUQLV,ZRXOG        'R\RXVHHWKDW"
   QRWXVHGHIHFWDVDODQJXDJH7KHUH V\RXNQRZZH        $,VHHLW
   VHHYDULDWLRQDFURVVKXPDQVDQGZH\RXNQRZWKHUH         4,WVD\VWKHUHWKDWDWUDQVVH[XDOSHUVRQUHIHUV
   DUHYDULDWLRQVWKDWDUHQRUPDODQGYDULDWLRQVWKDWDUH         WRDELRORJLFDOPDOHZKRLGHQWLILHVDVRUGHVLUHVWREH
   W\SLFDOYHUVXVUDUH6R,ZRXOGQRWFDOOLWQHFHVVDULO\       DIHPDOHDPHPEHURIWKHIHPDOHJHQGHURUYLFH
   DGHIHFWPD\EHDYDULDWLRQZRXOGEHWKHZRUG,ZRXOG          YHUVD
   XVH                                                           'R\RXVHHWKDW"


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0766
                                                  3DJH                                                         3DJH
    $<HV                                                  PXFKDERXWELQDU\
    4$QGVRLQWKHVHSURPLQHQWDXWKRUVLQWKH         %<$77251(<%522.6
    ILHOGFRQVLGHUHGELRORJLFDOPDOHWREHDVFLHQWLILFDOO\        4,VLW\RXUEHOLHIWKDWWKHXQGHUO\LQJELRORJ\
    XVHIXODQGDGHTXDWHO\FOHDUWHUPIRUWKHPWRXVHLQ           KDVFKDQJHGVLQFH"
    WKHVHJXLGHOLQHVLVVXHGE\WKH(QGRFULQH6RFLHW\              $77251(<%25(//,2EMHFWLRQIRUP
    &RUUHFW"                                                7+(:,71(662XUXQGHUVWDQGLQJRIDORW
    $77251(<%25(//,2EMHFWLRQIRUP             RIWKLQJVLQWKLVDUHDLVJURZLQJUDSLGO\,W VDUDSLG
    7+(:,71(66,W VZULWWHQWKDWZD\LQ          DUHDRIUHVHDUFK
    WKLVSDSHU\HV                                               %<$77251(<%522.6
   %<$77251(<%522.6                                           4/HWPHDVN\RXWRWXUQLQWKLVGRFXPHQWWRSDJH
   4$QG\RXLQWKDWWLPHSHULRGWRMXVW        
   XVHGWKHVHJXLGHOLQHVDQGZHUHDEOHWRXQGHUVWDQGWKHP       $6DPHGRFXPHQW"
   &RUUHFW"                                             4<HV
   $77251(<%25(//,2EMHFWLRQIRUP            $7KDQN\RX
   7+(:,71(66<RXNQRZ,ZRXOGKDYHWR        4$QGKHUHZH UHLQDGLVFXVVLRQRIWKHXVHRI
   VSHQGVRPHWLPHORRNLQJWRVHHZKDWHOVHLVLQKHUH,W      *51+DQDORJVZKLFKLVWRVD\SXEHUW\EORFNHUV
   KDVEHHQDORQJWLPHVLQFH, YHXVHGWKHVHSDUWLFXODU         $P,FRUUHFW"
   DQGSXOOHGRXW$QGLWLVDVLQJOHORFDWLRQ,WFDQ         $:KLFKVHFWLRQ"
   VRPHWLPHVEHPLVOHDGLQJLI\RX UHDZDUHLI\RX YH         4:HOOWKHKHDGLQJLVHYLGHQFHDQGLWLV
   UHDGPDQ\PHGLFDODUWLFOHV                                   WDONLQJDERXWLQWKHVHFRQGSDUDJUDSKWUHDWPHQWZLWK
   %<$77251(<%522.6                                           *51+DQDORJV"
   46R\RXGRQ WUHFDOOZKHWKHU\RXIRXQGWKHVH          $77251(<%25(//,&RXQVHOFDQZHJLYH
   JXLGHOLQHVWREHFRPSUHKHQVLEOHDQGXVHIXOIRU\RXU           WKHZLWQHVVRQHPRPHQWWRORRNDWWKLV"
   SXUSRVHVLQWKH\HDUVEHWZHHQDQG"                  $77251(<%522.62IFRXUVH


                                                  3DJH                                                         3DJH
    $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,7KDQN\RX
    7+(:,71(66*HQHUDOO\WKH\ZHUHXVHIXO       7+(:,71(66<HVWKDWDSSHDUVWREH
    %<$77251(<%522.6                                            ZKDWLVGLVFXVVHGLQWKLVVHFWLRQ
    4,I\RXORRNMXVWDOLWWOHORZHULVWKHQH[W       %<$77251(<%522.6
    GHILQLWLRQLVWUDQVLWLRQ                                      4+HUHWKHDXWKRUVLQWKH(QGRFULQH6RFLHW\
    'R\RXVHHWKDW"                                      JXLGHOLQHVGHVFULEHWKHHIIHFWRIWUHDWPHQWZLWKSXEHUW\
    $<HV                                                  EORFNHUV
    4$QGLWUHIHUVWRDSHULRGRIWLPHGXULQJZKLFK        &RUUHFW"
    WUDQVVH[XDOSHUVRQVFKDQJHWKHLUSK\VLFDOVRFLDODQG          $77251(<%25(//,2EMHFWLRQIRUP
   OHJDOFKDUDFWHULVWLFVWRWKHJHQGHURSSRVLWHWKDWRI          7+(:,71(66<HV
   WKHLUELRORJLFDOVH[                                         %<$77251(<%522.6
   'R\RXVHHWKDW"                                     4$QGWKH\VD\DPRQJRWKHUWKLQJVWKDWTXRWHLQ
   $,GR                                                JLUOVEUHDVWGHYHORSPHQWZLOOEHFRPHDWURSKLFDQGPHQVHV
   4$QGDJDLQWKHVHDXWKRUVXVHGWKHWHUP               ZLOOVWRS$QGWKH\FRQWLQXHTXRWHLQER\V
   ELRORJLFDOVH[GLGWKH\QRW"                                 YHULOL]DWLRQZLOOVWRSDQGWHVWLFXODUYROXPHZLOO
   $7KH\GLG                                            GHFUHDVH
   4$QGWKH\LQGLFDWHGWKHLUXQGHUVWDQGLQJWKDW          'R\RXVHHWKRVHTXRWHV"
   ELRORJLFDOVH[LVELQDU\LQUHIHUULQJWRRSSRVLWHRID        $,GR
   ELRORJLFDOVH[                                               4$JDLQLQWKH(QGRFULQH6RFLHW\GLGQ W
   &RUUHFW"                                             WKLQNWKHUHZDVDPELJXLW\RULPSUHFLVLRQDVWRZKDWLVD
   $77251(<%25(//,2EMHFWLRQIRUP            JLUODQGZKDWLVDER\IRUSXUSRVHVRIGHYHORSPHQWLQ
   7+(:,71(66,QWKLVROGHUYHUVLRQWKH\       SXEHUW\GLGWKH\"
   GRXVHPRUHELQDU\WHUPV$V\RXNQRZODQJXDJHFKDQJHV      $77251(<%25(//,2EMHFWLRQWRIRUP
   RYHUWLPH,QWKHQHZJXLGHOLQHVWKH\GRQ WWDONDV          7+(:,71(66$V,VDLGWKHODQJXDJH


                                                                                         3DJHVWR
                                                                                                     Armistead App. 0767
                                                   3DJH                                                         3DJH
    ZRXOGEHGLIIHUHQWDQGOLNHO\LVGLIIHUHQWLQ                   SUHVFULEHFURVVVH[KRUPRQHVIRUDSDWLHQWLQSDWLHQWV
    FRQYHUVDWLRQVDURXQGWKLVEHFDXVHLWLVQRWDVSUHFLVH          ZKRDUHIUHHRIDQ\GLVRUGHURIVH[XDOGHYHORSPHQW\RX
    DV,ZRXOGXVHRUP\FROOHDJXHVZRXOGXVH                      GRQ WKDYHDQ\WURXEOHGHWHUPLQLQJZKLFKSDWLHQWVQHHG
    %<$77251(<%522.6                                             WHVWRVWHURQHDVDFURVVVH[KRUPRQHYHUVXVZKLFK
    4,QWKH(QGRFULQH6RFLHW\LQSXEOLVKLQJ            SDWLHQWVQHHGHVWURJHQDVDFURVVVH[KRUPRQHGR\RX"
    WKHVHJXLGHOLQHVGLGQ WWKLQNWKHUHZDVDQ\DPELJXLW\RU        $77251(<%25(//,2EMHFWLRQIRUP
    LPSUHFLVLRQDVWRZKDWLVDJLUODQGZKDWLVDER\IRU          7+(:,71(660\PRXWKLVJHWWLQJGU\,
    SXUSRVHVRIWKHHIIHFWRISXEHUW\                              GRQ WKDYHDQ\WURXEOHZLWKWKDW
    &RUUHFW"                                               %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQWRIRUP           4$QGWKDW VEHFDXVHDEVHQWUDUHDQGXQXVXDO
   7+(:,71(66,ZRXOGKDYHWRUHDGWKH          GLVRUGHUVRIVH[XDOGHYHORSPHQWLW VUHDOO\HDV\IRUDOO
   DUWLFOHXSWRWKLVSRLQWWRVHHZKDWWKHLU                     RIXVWRWHOOJLUOVIURPER\VLVQ WLW"
   FODULILFDWLRQVDUHZLWKUHJDUGWRWKRVHSKUDVHV               $77251(<%25(//,2EMHFWLRQWRIRUP
   2IWHQWLPHVLQWKHEHJLQQLQJRIDUWLFOHVWKH\ZLOO              7+(:,71(66:LWKUHJDUGWRWKHLUVH[
   FODULI\ZKDWWKH\PHDQE\DSDUWLFXODUSKUDVHDQG             DVVLJQPHQWDWELUWK\HV
   WDNLQJLWRXWRIFRQWH[WLVDOLWWOHELWGLIILFXOWIRU         %<$77251(<%522.6
   PHWRMXVWVD\LWLVWUXHULJKWKHUHRQWKHVSRW              41RZ\RX YHPHQWLRQHGDFRXSOHWLPHVZKHQ,
   $77251(<%25(//,,ZRXOGDOVRMXVW            DVNHG\RXTXHVWLRQVDERXWWKHJXLGHOLQHVWKDW
   REMHFWWRWKHH[WHQWWKDWZH UHDVNLQJDERXWVHOHFW            SHUKDSVDODQJXDJHWKDW VXVHGKDVFKDQJHG
   GHILQLWLRQVZLWKRXWKDYLQJJLYHQWKHZLWQHVVDQ                $P,ULJKW"
   RSSRUWXQLW\WRUHYLHZWKHHQWLUHGHILQLWLRQDQGVHFWLRQ        $<HV
   RIWKHGRFXPHQWDQGDVNLQJKHUWRGUDZFRQFOXVLRQVDERXW       4<RXDUHQRWFRQWHQGLQJWKDWKRZKXPDQELRORJ\
   WKHODUJHUGRFXPHQW                                           ZRUNVKDVFKDQJHG"
   $77251(<%522.6&RXQVHO,WKLQNWKDW         $77251(<%25(//,2EMHFWLRQIRUP


                                                   3DJH                                                         3DJH
    \RXDUHVXSSRVHGWRXQGHUWKH5XOHVWRFRQILQH\RXU             7+(:,71(662XUXQGHUVWDQGLQJRIKXPDQ
    REMHFWLRQVWRVWDWLQJREMHFWLRQ                                ELRORJ\DWWKLVWLPHLVDFFHOHUDWLQJJUHDWO\HVSHFLDOO\
    %<$77251(<%522.6                                             LQWKHDUHDRIJHQHWLFV:HFDQQRZORRNDWVRPHRQH V
    4,Q\RXUSUDFWLFHWRGD\ZLWKUHVSHFWWR                 ZKROHH[RPHZKROHFKURPRVRPHDQGLW V,PHDQLQ
    LQGLYLGXDOVZKRGRQRWVXIIHUIURPDQ\GLVRUGHURI              WKLVWLPHIUDPHWKHUH VDQDPD]LQJDPRXQWRILQIRUPDWLRQ
    VH[XDOGHYHORSPHQW\RXGRQ WKDYHDQ\WURXEOHWHOOLQJ           WKDW VEHFRPHPRUHFOHDU
    JLUOVIURPER\VGR\RX"                                        %<$77251(<%522.6
    $77251(<%25(//,2EMHFWLRQWRIRUP            46RLVLW\RXUDUH\RXDVVHUWLQJWKDWWKH
    7+(:,71(66,GRQRWKDYHWURXEOH              PRUHUHFHQW(QGRFULQH6RFLHW\SROLF\VWDWHPHQWVKRXOGEH
   GHFLGLQJZKRZDVDVVLJQHGIHPDOHDWELUWKYHUVXVWKRVH         DFFHSWHGDVDPRUHSUHFLVH6FLHQWLILFVWDWHPHQW"
   ZKRZHUHDVVLJQHGPDOHDWELUWK                               $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                            7+(:,71(667KHJRDOLVIRUWKDWWREH
   4:HKDYHDOUHDG\WDONHGDERXWKRZWKDWDVVLJQPHQW      \HVZKHQ\RXDUHZULWLQJWKRVH$QGLW VDOVREHHQ
   LVGRQHEDVHGRQREVHUYDWLRQRIJHQLWDOLDZKLFKGHSHQG        VRPHWLPHVVLQFHWKLVZDVSXEOLVKHGDVZHOO
   RQXQGHUO\LQJJHQHWLFVH[                                     %<$77251(<%522.6
   5LJKW"                                                46LQFHWKHJXLGHOLQHV"
   $77251(<%25(//,2EMHFWLRQIRUP             $&RUUHFW
   7+(:,71(666RWKHW\SLFDOPDQQHURI          4%XWLQJHQHUDOLVLW\RXUYLHZWKHPRUHUHFHQW
   DVVLJQPHQWZHKDYHGLVFXVVHG6RPHWLPHVWKRVHWKLQJV          VWDWHPHQWVRIWKH(QGRFULQH6RFLHW\WKDWWRXFKRQLVVXHV
   FKDQJHRYHUWLPHZLWKDEVHQWRIFRXUVHDGLIIHUHQFH        RIWKHGHILQLWLRQRIJHQGHUDQGVH[DUHZHVKRXOG
   RIVH[GHYHORSPHQWRULQWHUVH[FRQGLWLRQV7\SLFDOO\          FRQVLGHUPRUHDFFXUDWHRUUHOLDEOHWKDQHDUOLHU
   WKH\ZRXOGPDWFK                                              VWDWHPHQWV"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4$QGLI\RXDUHIRULQVWDQFHJHWWLQJUHDG\WR        7+(:,71(66,QWKHFRUUHFWFRQWH[W


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0768
                                                   3DJH                                                         3DJH
    \HV6RPHWLPHVZKHQWKH\ UHWDNHQRXWRIFRQWH[WDQG           'R\RXVHHWKDW"
    DSSOLHGWRQRWWKHH[DFWVDPHSRSXODWLRQWKH\PD\RU           $<HV
    PD\QRWEHDVSUHFLVH                                          4$QGWKHSDUDJUDSKFRQWLQXHVRQWRSDJHDQG
    %<$77251(<%522.6                                             WKHODQJXDJH,ZDQWWRFDOO\RXUDWWHQWLRQWRLVWKHUH
    47KH\PD\RUPD\QRWEH7KDWLV\RXGRQ W             EXWRIFRXUVHIHHOIUHHWRORRNDWWKHSDUDJUDSK"
    PDLQWDLQWKDWJHQHUDOO\PRUHUHFHQWVWDWHPHQWVRIWKH           $77251(<%25(//,&RXQVHOIRUFODULW\
    (QGRFULQH6RFLHW\UHODWLQJWRGHILQLWLRQVRIJHQGHUDQG         RIWKHUHFRUG, PVKRZLQJWKDWWKHKHDGLQJLVRQSDJH
    VH[DUHPRUHUHOLDEOHWKDQHDUOLHUVWDWHPHQWV"                  
    $77251(<%25(//,2EMHFWLRQWRIRUP            $77251(<%522.6&RUUHFW7KDW VZKHUH
   7+(:,71(667KHLUJRDODQGRXUJRDODV        WKHSDUDJUDSKEHJLQVDQGWKHQWKHUH VDWZRSDJHWDEOH
   DFRPPXQLW\LVWREHDVSUHFLVHDVSRVVLEOH6RPHWLPHV        EUHDNVXSWKHSDUDJUDSKDQGQRZZH UHRQ
   WKDWZRUNVDQGVRPHWLPHVLWGRHVQ W                           $77251(<%25(//,7KDQN\RX
   $77251(<%522.6/HWPHPDUNDV([KLELW        7+(:,71(66-XVWWKDWSDUDJUDSK
   ZKDWDUHZHDW([KLELW:KDWLVWDELQWKH       %<$77251(<%522.6
   PDWHULDOVSURYLGHGWRWKHFRXUWUHSRUWHUDQDUWLFOH           4<HV
   /DSLQVNLHWDOZKLFK'U$GNLQVLVDFRDXWKRUIURP          $2ND\
   3DUGRQPH                                        4,QZULWLQJDJXLGHIRUFOLQLFLDQVDVWR
                                    ZKDW\RXFRQVLGHUHGWREHEHVWSUDFWLFHVLQWUDQVJHQGHU
    :KHUHXSRQ$GNLQV([KLELW              KHDOWK\RXDQG\RXUFRDXWKRUVWKRXJKWWKDWLWZDVFOHDU
   /DSLQVNL$UWLFOHZDVPDUNHGIRU               DQGXVHIXOWRUHIHUWRTXRWHWKHRSSRVLWHELRORJLFDO
   LGHQWLILFDWLRQ                                VH[FORVHGTXRWHGLG\RXQRW"
                                    $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                            7+(:,71(667KHODQJXDJHZRXOGEH
   4$QGWKLVLV\RXURQO\RUSHUKDSVRQHRIRQO\WZR      UHIOHFWLYHRIWKHRULJLQDOSXEOLFDWLRQV


                                                   3DJH                                                         3DJH
    SHHUUHYLHZHGDUWLFOHVRQZKLFK\RXZHUHDQDXWKRUWKDW         %<$77251(<%522.6
    UHODWHWRWUDQVJHQGHUSDWLHQWV                                 4'U$GNLQVZKDWGR\RXPHDQE\WKDWDQVZHU"
    &RUUHFW"                                               $:KHQ\RX UHSXWWLQJVRPHWKLQJLQWRDMRXUQDO
    $77251(<%25(//,2EMHFWLRQIRUP              DUWLFOHDQG\RX UHUHSRUWLQJWKDWRULJLQDODUWLFOH V
    7+(:,71(66, PJRLQJWRUHIHUEDFNWR         LQIRUPDWLRQLWZRXOGEHLQDSSURSULDWHWRFKDQJHWKH
    P\                                                         ODQJXDJH6RWKHRULJLQDOUHSRUWWKDWVWDWHVWKLV
    %<$77251(<%522.6                                             SDUWLFXODULQIRUPDWLRQXVHGWKRVHZRUGV
    43OHDVHGRDQGWKDW V([KLELW                       4:HOO\RXGLGQ WSXWWKLVLQTXRWDWLRQPDUNVLQ
    $,DSRORJL]H, PVRUU\,ZDVWKLQNLQJRI          \RXUDUWLFOHGLG\RX"
   WKHERRNFKDSWHU<HV,ZDVWKLQNLQJRIWKHERRN             $77251(<%25(//,2EMHFWLRQIRUP
   FKDSWHU, YHZULWWHQWKHUH6RWKRVHDUHDOVRSHHUHG          7+(:,71(66:HGRQ WQHFHVVDULO\KDYH
   UHYLHZHG6RLI\RXMXVWIDOOLQJPDQXVFULSWRIMRLQW          WRSXWWKHPLQTXRWDWLRQPDUNV,QPHGLFDOO\UHIHUUHG
   DUWLFOHVWKDW VWUXHEXW,DOVRKDYHRQHERRNFKDSWHU        MRXUQDOV\RXFDQMXVWSXWWKHUHIHUHQFH
   SXEOLVKHGDQGRQHWKDWLVLQSURFHVV                          %<$77251(<%522.6
   4:HOODWDQ\UDWHWKLVDUWLFOHZDVSXEOLVKHGLQ      4$QGLQIDFWWKHUHLVQRIRRWQRWHWRWKLVLV
   WKHVDPH\HDUDVWKHPRUHUHFHQWJXLGHOLQHVIURP         WKHUHWKHUHLVQRUHIHUHQFH"
   WKH(QGRFULQH6RFLHW\                                         $77251(<%25(//,2EMHFWLRQIRUP
   &RUUHFW"                                              7+(:,71(661RWULJKWDWWKHHQGRI
   $&RUUHFW                                              WKDWVHQWHQFH
   4$QGLQWKLVDUWLFOHOHWPHDVN\RXWRWXUQ        %<$77251(<%522.6
   WRSDJH$QGORRNLQJDWDSDUDJUDSKWKDWDFWXDOO\         4:KDWWKDWVHQWHQFHVD\VWRJHWLWLQWRWKH
   UXQVRYHUIURPEHFDXVHRIDORQJLQWHUYHQLQJWDEOH        UHFRUG, PUHIHUULQJWRVH[XDORULHQWDWLRQLWVD\V
   3DUDJUDSKLVKHDGHGXQGHUVWDQGLQJWKHPHDQLQJRI               TXRWHWKLVIOXFWXDWLRQWHQGVWRRFFXUPRUHFRPPRQO\
   WUDQVLWLRQLQJIRUWUDQVJHQGHUSDWLHQWV                        ZLWKLQGLYLGXDOVZKRDUHDWWUDFWHGWRWKHRSSRVLWH


                                                                                          3DJHVWR
                                                                                                         Armistead App. 0769
                                                            3DJH                                                    3DJH
    ELRORJLFDOVH[EHIRUHWUDQVLWLRQLQJFORVHGTXRWHV                  7+(:,71(666,KDYHVHHQWKDWSROLF\
    +DYH,UHDGWKDWODQJXDJHFRUUHFWO\"                                 DQGDOVRVHHQWKHSROLFLHVWKDWDUHSUHVHQWHGE\WKH1,+
    $&RUUHFW                                                    ZKLFKXVHVVH[DVVLJQHGDWELUWKDVZHOODVJHQGHU
    4$QGSXEOLVKLQJWKLVJXLGHOLQHIRUFOLQLFLDQVLQ             LGHQWLW\DQGLQDGGLWLRQDVYDULDEOHVWKDWVKRXOGEH
    LVLW\RXUWHVWLPRQ\WKDWHYHQLI\RXWKRXJKWWKDW             LQFOXGHGLQWKHLUUHVHDUFK
    ODQJXDJHZDVLQDFFXUDWHDQGFRQIXVLQJ\RXZRXOGQRWKDYH             %<$77251(<%522.6
    FODULILHGLW"                                                        40\TXHVWLRQLVSUHFLVH$UH\RXIDPLOLDUZLWK
    $77251(<%25(//,2EMHFWLRQIRUP                   WKH1,+SROLF\WKDWUHTXLUHVJUDQWVXSSRUWHGUHVHDUFKLQ
    7+(:,71(66,FDQ WFKDQJHZKDWWKH                 VDOHVRUFOLQLFDOZRUNWRTXRWHFRQVLGHUVH[DVD
   SXEOLFDWLRQVWDWHV,WZRXOGEHLQDSSURSULDWHIRUPHWR            ELRORJLFDOYDULDEOH"
   PDNHDVWDWHPHQWWKDWZDVGLIIHUHQWIURPZKDWWKH                   $77251(<%25(//,2EMHFWLRQIRUP
   SXEOLFDWLRQVWDWHV$QGWKHUHDUHSHRSOHWKDWIDOORQ              &RXQVHOLI\RXDUHJRLQJWRFRQWLQXHTXHVWLRQLQJKHU
   WKHELQDU\DQGSHRSOHZKRIDOOLQWKHPLGGOHDQGWKDW              DERXWWKHSROLF\ZH GUHTXHVWDFRS\EHSODFHGLQIURQW
   SDUWLFXODUVWXG\LQYHVWLJDWHGSHRSOHZKRLGHQWLILHGRQ              RIWKHZLWQHVV
   HDFKHQGRIWKHELQDU\VSHFWUXPRILQGLYLGXDOV                      $77251(<%522.6$WWKHPRPHQW, PMXVW
   LGHQWLILFDWLRQRIJHQGHULGHQWLW\                                  DVNLQJWKHZLWQHVVLIVKH VIDPLOLDUZLWKWKDWSROLF\
   %<$77251(<%522.6                                                 $77251(<%25(//,0\REMHFWLRQVWDQGV
   46R\RXEHOLHYHDVDVFLHQWLVWDQGDQDXWKRUWKDW           7+(:,71(66,KDYHQ WUHDGWKHHQWLUH
   ZULWLQJLQHYHQLI\RXWKRXJKWWKHWHUPELRORJLFDO            SROLF\,KDYHVHHQWKDWZLWKLQWKHGRFXPHQWVWKDW\RX
   VH[ZDVPLVOHDGLQJDQGLQDFFXUDWH\RXLWZDV                   KDYHSUHVHQWHGVR,FDQ WDFFXUDWHO\VWDWHLILWLV
   QHYHUWKHOHVVDSSURSULDWHIRU\RXWRXVHWKDWWHUPLQD              WUXH
   EHVWSUDFWLFHVJXLGHWKDW\RXZHUHZULWLQJIRU                      %<$77251(<%522.6
   FOLQLFLDQV"                                                         4+DYH\RX\RXUVHOIHYHUVXEPLWWHGDQ\JUDQW
   $77251(<%25(//,2EMHFWLRQIRUP                  SURSRVDOWKDWZDVVXEMHFWWRWKDW1,+SROLF\"


                                                            3DJH                                                    3DJH
    7+(:,71(666RLI\RXZRXOGUHDGWKH                $77251(<%25(//,2EMHFWLRQIRUP
    HQWLUHW\RIWKHDUWLFOH,ZRXOGKRSHWKDWZHZRXOGEH               7+(:,71(66,KDYHVXEPLWWHG1,+
    FOHDUDQGLWZRXOGEHXQGHUVWRRGLQWKDWLVRODWHG                    JUDQWV
    SDUDJUDSKDJDLQ,KDYHWRXVHZKDWODQJXDJHZDVXVHG               %<$77251(<%522.6
    LQWKHRULJLQDOSXEOLFDWLRQ2WKHUZLVH, P                         4$QGLQWKDWFRQQHFWLRQGLG\RXWDNHVRPHVWHSV
    PLVUHSUHVHQWLQJWKHRULJLQDOSXEOLFDWLRQDQG,ZRXOGQRW             WRDVVXUHWKDW\RXUJUDQWSURSRVDOZRXOGFRPSO\ZLWK
    ZDQWWRGRWKDW                                                     WKDWSROLF\"
    %<$77251(<%522.6                                                  $77251(<%25(//,2EMHFWLRQIRUP
    4:HOOLI\RXWKRXJKWWKHRULJLQDOSXEOLFDWLRQ               7+(:,71(66$OORIP\JUDQWV
   ZDVLQDFFXUDWHDQGPLVOHDGLQJ\RXZRXOGQ WZDQWWRFLWH            DSSOLFDWLRQVKDGVH[DVVLJQHGDWELUWKDVDYDULDEOH
   DQGUHO\RQLWZRXOG\RX"                                          WKDWZHUHSRUW
   $77251(<%25(//,2EMHFWLRQIRUP                  %<$77251(<%522.6
   7+(:,71(66$VLW VVWDWHGLW VQRW               4/HWPHVKRZ\RXDQRWKHUPRUHUHFHQW(QGRFULQH
   LQDFFXUDWH$QGLI\RXLQIHUWKLQJVIURPDVHQWHQFHLW             6RFLHW\SROLF\VWDWHPHQW7KLVLVWDEHLJKW,WZLOO
   FRXOGEHPLVOHDGLQJ,I\RXUHDGLWVWUDLJKWIRUZKDW              EH([KLELW
   LWVD\VLW VDFFXUDWHWRZKDWWKHUHSRUWJDYHLQWKH               
   LQLWLDOSXEOLFDWLRQ                                                 :KHUHXSRQ$GNLQV([KLELW
   %<$77251(<%522.6                                                 (QGRFULQH6RFLHW\6FLHQWLILF6WDWHPHQW
   4$UH\RXIDPLOLDU'U$GNLQVZLWKD1,+SROLF\            ZDVPDUNHGIRULGHQWLILFDWLRQ
   WKDWUHTXLUHVUHVHDUFKVXSSRUWHGE\1,+JUDQWVWKDW                 
   LQYROYHVDQLPDORUKXPDQFOLQLFDOZRUNWRFRQVLGHUZKDW             7+(:,71(66%HIRUHZHVWDUWWKLV
   1,+UHIHUVWRDVTXRWHVH[DVDELRORJLFDOYDULDEOH              TXHVWLRQLQJLVLWSRVVLEOHIRUPHWRWDNHDEUHDN"
   FORVHGTXRWH"                                                       $77251(<%522.6,WFHUWDLQO\LV$W
   $77251(<%25(//,2EMHFWLRQIRUP                  DQ\WLPHWKDW\RXZDQWWR\RXMXVWVD\VR


                                                                                               3DJHVWR
                                                                                                    Armistead App. 0770
                                                   3DJH                                                         3DJH
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       \HVWKHUHDUHVRPHIRONVWKHUHZKRGRDQLFHMRE
    FXUUHQWWLPHUHDGVDP                                  4$QGPD\EHIRXUOLQHVIURPWKHERWWRPRIWKDW
    2))9,'(2                                                      EORFN,VHHDUHIHUHQFHWRWKH1DWLRQDO,QVWLWXWHRI
                                     0HQWDO+HDOWK
     :+(5(8321$3$86(,17+(5(&25':$6+(/'                    'R\RXVHHWKDW"
                                     $<HV
    219,'(27$3(                                                   4$QGWKDW VDKLJKO\UHVSHFWHGJRYHUQPHQWDO
    9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG        UHVHDUFKODERUDWRU\
    &XUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH           &RUUHFW"
   $77251(<%522.6$QGWKLVLV5RJHU            $77251(<%25(//,2EMHFWLRQIRUP
   %URRNVUHVXPLQJWKHTXHVWLRQLQJ,KDYHSXWLQIURQWRI      7+(:,71(66<HV
   WKHZLWQHVVZKDWLVPDUNHG([KLELWZKLFKLVDTXRWH      %<$77251(<%522.6
   VFLHQWLILFVWDWHPHQWIURPWKH(QGRFULQH6RFLHW\WKDWLV       4$QGOHWPHDVN\RXWRWXUQKHUHLQWKLVGRFXPHQW
   HQWLWOHG&RQVLGHULQJ6H[DVD%LRORJLFDO9DULDEOHLQ          WRWKHVHFRQGSDJHZKLFKLVSDJH$QGWKLVLVLQ
   %DVLFDQG&OLQLFDO6WXGLHV$Q(QGRFULQH6RFLHW\              IDFWWKHEHJLQQLQJRIWKHWH[WDIWHUWKHDEVWUDFWRQ
   6FLHQWLILF6WDWHPHQWFORVHGTXRWH'R\RXVHHWKDW"         WKHSUHYLRXVSDJH$QGWKHUHLWEHJLQVTXRWHVH[LV
   $3DUGRQPH<HV                                     DQLPSRUWDQWELRORJLFDOYDULDEOHWKDWPXVWEHFRQVLGHUHG
   46RWKLVLVGRFXPHQWWKLVVWDWHPHQWLVIURP      LQWKHGHVLJQDQGDQDO\VLVRIKXPDQDQGDQLPDOUHVHDUFK
   MXVWODVW\HDU$QGIRXUPRUH\HDUVUHFHQW         7KHWHUPVVH[DQGJHQGHUVKRXOGQRWEHXVHG
   IRXUPRUH\HDUVRIVFLHQFHDYDLODEOHDVFRPSDUHGWRWKH       LQWHUFKDQJHDEO\6H[LVGLFKRWRPRXVZLWKVH[
   JXLGHOLQHVZHORRNHGDWHDUOLHU                         GHWHUPLQDWLRQLQWKHIHUWLOL]HG]\JRWHVVWHPPLQJIURP
   &RUUHFW"                                             XQHTXDOH[SUHVVLRQRIVH[FKURPRVRPDOJHQHVFORVHG
   $,WLVWKDW\HVDVIDUDVWKHGDWHJRHV,       TXRWH
   PHDQRQHZRXOGWKLQNWKH\ZRXOGEHXSWRGDWH               'R\RXVHHWKDWODQJXDJH"


                                                   3DJH                                                         3DJH
    4$QGOHWPHMXVWDVNREYLRXVO\WKH(QGRFULQH          $,GR
    6RFLHW\LVDODUJHRUJDQL]DWLRQEXWGR\RXNQRZHLWKHU       4'R\RXXQGHUVWDQGWKHPHDQLQJRIWKHZRUG
    SHUVRQDOO\RUE\UHSXWDWLRQDQ\RIWKHDXWKRUVOLVWHG         GLFKRWRPRXV"
    RQWKLVGRFXPHQW"                                              $,GR
    $77251(<%25(//,2EMHFWLRQIRUP             4:KDWGRHVLWPHDQ"
    7+(:,71(66([FXVHPH:DOWHU0LOOHU         $7ZRRSWLRQV
    E\UHSXWDWLRQ                                                 47KHUHDUHWZRRSWLRQV$QGGR\RXWKLQN\RX
    %<$77251(<%522.6                                            XQGHUVWDQGWKHVLJQLILFDQFHRIWKHVWDWHPHQWWKDW
    4$QG:DOWHU0LOOHULVDWWKH8QLYHUVLW\RI             TXRWHVH[LVDQLPSRUWDQWELRORJLFDOYDULDEOH"
   &DOLIRUQLD6DQ)UDQFLVFRDFFRUGLQJWRWKHIRRWQRWH          $77251(<%25(//,2EMHFWLRQIRUP
   WKHUH"                                                        7+(:,71(66,XQGHUVWDQGWKDWLW
   $/HW VVHH7KDW VZKDWLWORRNVOLNH               \HV
   4$QGMXVWORRNLQJGRZQWKH8QLYHUVLW\RI             %<$77251(<%522.6
   &DOLIRUQLD6DQ)UDQFLVFRLVDKLJKO\SUHVWLJLRXV            4,QIDFW,EHOLHYH\RXWHVWLILHGHDUOLHUWKDWLQ
   UHVHDUFKLQVWLWXWLRQLVLWQRW"                              WKHKXPDQERG\HYHU\ERG\SDUWHYHU\FHOOHLWKHUKDV;;
   $,WKDVDJRRGUHSXWDWLRQ                            FKURPRVRPHVRU;<FKURPRVRPHVGHSHQGLQJRQWKH
   4$QGIDUWKHUGRZQKDOIZD\GRZQWKHEORFNRI          FKURPRVRPDOVH[RIWKHLQGLYLGXDO
   LQVWLWXWLRQVWKDWWKHVHDXWKRUVDUHDVVRFLDWHGZLWK,        ,VWKDWULJKW"
   VHH8QLYHUVLW\RI&DOLIRUQLD/RV$QJHOHV'R\RXVHH        $77251(<%25(//,2EMHFWLRQIRUP
   WKDW"                                                         7+(:,71(666RPHLQGLYLGXDOVKDYHD
   $<HV                                                 PL[WXUH
   4$QG8&/$WRXVHLWVDEEUHYLDWLRQLVDOVRD         %<$77251(<%522.6
   KLJKO\UHVSHFWHGUHVHDUFKXQLYHUVLW\LVLWQRW"              4$QGWKRVHZRXOGEHJHQHWLFDEQRUPDOLWLHV
   $<RXNQRZWKHUHLVVRPHYDULDELOLW\WKHUH$QG      $P,FRUUHFW"


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0771
                                                   3DJH                                                         3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              GHWHUPLQHGLQIHUWLOL]HG]\JRWH7KDWGRHVQ W
    7+(:,71(66$JDLQ,GRQ WOLNHWKH            QHFHVVDULO\HTXDOVH[WKDW VDVVLJQHGDWELUWK
    ZRUGDEQRUPDOLWLHV,WLVDYDULDWLRQLQSUHVHQWDWLRQ          %<$77251(<%522.6
    RIDKXPDQ                                                     4$EVHQWDQ\GLVRUGHURIVH[XDOGHYHORSPHQWWKH
    %<$77251(<%522.6                                             GHWHUPLQDWLRQWKH]\JRWHWKDW\RXMXVWGHVFULEHGZLOO
    4<RXZRXOGDJUHHZRXOG\RXQRWWKDWDQ\               LQIDFWGLFWDWHSHUFHQWUHOLDELOLW\WKHVH[
    GHYLDWLRQIURPKDYLQJHLWKHU;;RU;<FKURPRVRPHVLV            REVHUYHGDWELUWK
    ZLGHO\FRQVLGHUHGWREHDQDEQRUPDOLW\"                         &RUUHFW"
    $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(66$JDLQ,GRQ WSUHIHUWKDW        7+(:,71(66:HOO,FDQ W\RXNQRZ
   ODQJXDJH                                                      LQPHGLFLQHZHGRQ WVD\DQ\WKLQJLVSHUFHQW,I
   %<$77251(<%522.6                                            \RXXVHWKHDEVHQWDQ\DQ\GLIIHUHQFHRIVH[
   4'U$GNLQV,GLGQ WDVN\RXZKDW\RXSUHIHU,      GHYHORSPHQWHYHQDQXQNQRZQRQHWKDWZHPLJKWQRWNQRZ
   XQGHUVWDQG\RXUSUHIHUHQFH0\TXHVWLRQLV\RXZRXOG          DERXWWKDWWKDWLVZKDWZHNQRZWREHWUXH
   DJUHHZRXOG\RXQRWZLWKLQWKHVFLHQWLILFFRPPXQLW\LW       %<$77251(<%522.6
   LVZLGHO\KHOGYLHZWKDWDQ\FKURPRVRPDODUUDQJHPHQW           4<RXPHQWLRQHGHDUOLHUWKDWGLFKRWRPRXVPHDQV
   RWKHUWKDQKDYLQJ;;RU;<LVDEQRUPDO"                        WKHUHDUHWZRDOWHUQDWLYHVDQGRQO\WZRDOWHUQDWLYHV
   $77251(<%25(//,2EMHFWLRQIRUP             5LJKW"
   7+(:,71(661RWLQP\H[SHULHQFHLQP\        $77251(<%25(//,2EMHFWLRQIRUP
   JURXSRISHRSOHWKDW,SUDFWLFHZLWKWKH\ZRXOGQRW           %<$77251(<%522.6
   GHVFULEHLWWKDWZD\                                          47KDW VMXVWZKDWWKHZRUGPHDQV"
   %<$77251(<%522.6                                            $77251(<%25(//,6DPHREMHFWLRQ
   4:RXOG\RXDJUHHWKDWVH[LVGHWHUPLQHGWRXVH         7+(:,71(667KDW VZKDWWKHZRUGPHDQV
   WKHODQJXDJHWKDW,KDYHGLUHFWHG\RXWRTXRWHLQWKH        %<$77251(<%522.6


                                                   3DJH                                                         3DJH
    IHUWLOL]HG]\JRWHFORVHGTXRWH"                                4$QGLQWKLVLPSRUWDQWVWDWHPHQWIURPWKH
    $, PVRUU\&DQ\RXUHUHDGWKHTXHVWLRQRU            (QGRFULQH6RFLHW\SXEOLVKHGMXVWODVW\HDUGUDIWHGE\D
    UHSHDWWKHTXHVWLRQ"                                            ZKROHFRPPLWWHHRISURPLQHQWHQGRFULQRORJLVWVWKH\VD\
    4<HV, PUHIHUULQJWRWKHODQJXDJHWKDW               WKDWVH[LVDQLPSRUWDQWELRORJLFDOYDULDEOHFORVHG
    UHIHUHQFHVVH[GHWHUPLQDWLRQLQWKHIHUWLOL]HG]\JRWH          TXRWH'R\RXGLVDJUHHZLWKWKLVVWDWHPHQWIURPWKH
    $QGP\TXHVWLRQLVGR\RXDJUHHWKDWWKHVH[RIDQ              (QGRFULQH6RFLHW\"
    LQGLYLGXDOLVGHWHUPLQHGTXRWHLQWKHIHUWLOL]HG              $77251(<%25(//,2EMHFWLRQIRUP
    ]\JRWHFORVHGTXRWH"                                           7+(:,71(66,QUHDGLQJWKDWSDUWLFXODU
    $77251(<%25(//,2EMHFWLRQIRUP              VWDWHPHQW,ZRXOGDJUHHLIWKH\KDGXVHGWKHZRUGVH[
   7+(:,71(66$JDLQWKH\ UHQRWEHLQJ          DVVLJQHGDWELUWKRUVRPHWKLQJPRUHSUHFLVHLQWKDW
   YHU\VSHFLILFLQWKDWSDUWLFXODUVHQWHQFHDERXWZKDW           VHQWHQFH
   WKH\PHDQE\VH[                                              %<$77251(<%522.6
   %<$77251(<%522.6                                            4:HOOZKDWWKH\VDLGSUHFLVHO\LVVH[LVD
   4<RX UHQRWDEOHWRVD\ZKHWKHUWKLVRSHQLQJ           ELRORJLFDOYDULDEOH'R\RXVHHWKDWODQJXDJH"
   ODQJXDJHLQWKLVVWDWHPHQWIURPWKH(QGRFULQH             $<HDK
   6RFLHW\LVLQ\RXUYLHZDFFXUDWHRULQDFFXUDWH"               4'R\RXDJUHHZLWKWKDW"
   $77251(<%25(//,2EMHFWLRQWRIRUP           $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(667DNLQJRQHVWDWHPHQW,           7+(:,71(666RLQWKHFRQWH[WRI
   FDQ W7KLVLVDYHU\ORQJGRFXPHQW                          PHGLFLQHZKHQZH UHWDONLQJDERXWVH[DQGZH UHWDONLQJ
   %<$77251(<%522.6                                            DERXWWKDW VYHU\LPSUHFLVH,UHDOO\WKLQNWKDWLW
   4, PDVNLQJ\RXQRZGR\RXDJUHHRUGLVDJUHHWKH      LV,ZRXOGLW VKDUGIRUPHWRXVHWKDWZRUG
   VH[LVGHWHUPLQHGLQWKHIHUWLOL]HG]\JRWH"                    EHFDXVHLWLVLPSUHFLVHDV,KDYHPHQWLRQHGEHIRUH
   $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
   7+(:,71(66;;DQG;<FRPSRQHQWVDUH          46R\RXWKLQNWKLVVWDWHPHQWIURPODVW\HDUIURP


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0772
                                                  3DJH                                                         3DJH
    WKH(QGRFULQH6RFLHW\LQLWVRSHQLQJODQJXDJHLVVR            4,QWKHILUVWSDUDJUDSKXQGHUWKHKHDGLQJ
    LPSUHFLVHWKDW\RXFDQ WWHOOPHZKHWKHU\RXWKLQNLWLV       ELRORJLFDOVH[GLUHFWLQJ\RXUDWWHQWLRQWRWKH
    DFFXUDWHRUQRW"                                               VWDWHPHQWGLG\RXGLVFXVVWKHVWDWHPHQWVH[LVD
    $77251(<%25(//,2EMHFWLRQIRUP             ELRORJLFDOFRQFHSW'R\RXVHHWKDWODQJXDJH"
    7+(:,71(66,ZRXOGKDYHWRUHDGWKH          $,GR
    HQWLUHW\RIWKHUHSRUWDQGWDNHLWZLWKLQFRQWH[WDV,         4$QG\RXEHOLHYHWKDWWREHDVFLHQWLILFDOO\
    ZRXOGZLWKDQ\RWKHUODQJXDJHXVHG                            DFFXUDWHVWDWHPHQW"
    %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQWRIRUP
    46LWWLQJKHUHULJKWQRZ\RX UHXQDEOHWRDQVZHU       7+(:,71(66<HV
   P\TXHVWLRQDVWRZKHWKHU\RXWKLQNLWLVDQDFFXUDWH         %<$77251(<%522.6
   VWDWHPHQWWKDWVH[LVDELRORJLFDOFRQFHSW"                   4$QGLQWKHQH[WVHQWHQFHWKLV(QGRFULQH6RFLHW\
   $77251(<%25(//,2EMHFWLRQIRUP            VWDWHPHQWWHOOVXVWKDWTXRWHDOOPDPPDOVKDYHWZR
   7+(:,71(666H[LVDELRORJLFDO              GLVWLQFWVH[HVFORVHGTXRWH'R\RXEHOLHYHWKDWLV
   FRQFHSW\HV                                                 WUXHRUVFLHQWLILFDOO\LQDFFXUDWH"
   %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQIRUP
   4$QGOHWPHWDNH\RXLQIDFWWRSDJHRI         7+(:,71(66([FXVHPH, PVRUU\, P
   WKLVGRFXPHQWILUVWFROXPQ$QGWKHUH\RXZLOOVHHD        WU\LQJWRILQGWKDWODQJXDJH
   KHDGLQJWKDWEHJLQVELRORJLFDOVH[WKHGHILQLWLRQRI         %<$77251(<%522.6
   PDOHDQGIHPDOH                                              47KLUGOLQHRIWKDWSDUDJUDSKDOOPDPPDOVKDYH
   'R\RXVHHWKDW"                                     WZRGLVWLQFWVH[HV0\TXHVWLRQLVGR\RXEHOLHYHWKDW
   $<HV                                                 LVLQDFFXUDWHRUDFFXUDWHVFLHQWLILF"
   4$QGLWEHJLQVVH[LVDELRORJLFDOFRQFHSW$QG      $77251(<%25(//,2EMHFWLRQIRUP
   \RXMXVWVDLGWKDW\RXWKLQNWKDW VDVFLHQWLILFDOO\          7+(:,71(66,VWLOOWKLQNLWLV
   WUXHVWDWHPHQW                                               LPSUHFLVH


                                                  3DJH                                                         3DJH
    5LJKW"                                                %<$77251(<%522.6
    $77251(<%25(//,2EMHFWLRQIRUP             4+DYH\RXILQLVKHG\RXUDQVZHU"
    &RXOGFRXOGVKHKDYHDQRSSRUWXQLW\WRUHDGWKLV           $<HV6RUU\0\DOOHUJLHVDUHPDNLQJPH
    VHFWLRQEHIRUHZHFRQWLQXHTXHVWLRQLQJ"                        4$Q\WLPH\RXQHHGDGULQN
    $77251(<%522.6<HV%XW, OODVN\RX        $<HDK6RUU\DERXWWKDW
    QRWWRFRDFKWKHZLWQHVV,KDYHQRWGHQLHGDQ\               4)HZOLQHVGRZQLWVD\VTXRWHWKHFODVVLFDO
    UHTXHVWVEXWWKHZLWQHVVVKRXOGPDNHWKHPQRWFRXQVHO       ELRORJLFDOGHILQLWLRQRIWKHWZRVH[HVLVWKDWIHPDOHV
    $77251(<%25(//,7KHREMHFWLRQVWDQGV        KDYHRYDULHVDQGPDNHODUJHUIHPDOHJDPHWHVHJJV
    ,WLVDSSURSULDWHWRDVNWKDWDZLWQHVVEHDEOHWRUHDG        ZKHUHDVWKHPDOHVKDYHWHVWHVDQGPDOHVPDOOHUJDPHWHV
   DVHFWLRQRIDGRFXPHQWEHIRUHEHLQJDVNHGWRRSLQH           VSHUP'R\RXVHHWKDWODQJXDJH"
   DERXWWKHODUJHUPHDQLQJRIWKHGRFXPHQW                     $,GR
   $77251(<%522.6,EHOLHYHWKHZLWQHVV        4'R\RXDJUHHWKDWLVDIDLUVWDWHPHQWRIWKH
   WKUHZVRPHPRUHODQJXDJHLQWKLVSDUDJUDSKVRWKDW VD        FODVVLFDOELRORJLFDOGHILQLWLRQRIWKHWZRVH[HV"
   JRRGLGHD                                                    $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(66:KHQ\RXXVHWKHZRUG
   4,I\RXZLOOWHOOXVZKHQ\RXKDYHUHDGWKDW          FODVVLFDOLWGHVFULEHVZKDW\RXZRXOGVHHW\SLFDOO\VR
   SDUDJUDSK                                                    ,DJUHHZLWKWKDWVWDWHPHQW,WDOORZVIRUWKHUHWREH
   $<HV6RUU\                                         VRPHYDULDWLRQVWKDWPD\QRWEHFODVVLFDO
   4<RXKDYH"                                            %<$77251(<%522.6
   $1R,ZLOOWHOO\RX                                 4$QGLWLVDFFHSWHGDVDFODVVLFDOGHILQLWLRQ
   $77251(<7<521-DNHFRXOG\RXVFUROO        EHFDXVHLWLVDFFXUDWHLQWKHRYHUZKHOPLQJSHUFHQWDJHRI
   GRZQDELWSOHDVH"                                           FDVHV
   7+(:,71(662ND\                            ,VWKDWWUXH"
   %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQIRUP


                                                                                         3DJHVWR
                                                                                                     Armistead App. 0773
                                                  3DJH                                                          3DJH
    7+(:,71(666R\RXNQRZDV,PHQWLRQHG        JHQHWLFJRQDGDOVH[WKHQGR\RX\RXFRQVLGHUWKLV
    EHIRUHLQP\SDSHUVWKDW,VXEPLWWHGLW\RXNQRZ          VWDWHPHQWWREHDFFXUDWH"
    WKHSHUFHQWDJHRISHRSOHZLWKGLIIHUHQFHVRIVH[                $77251(<%25(//,2EMHFWLRQIRUP
    GHYHORSPHQWLVORZDQGWKRVHZRXOGEHWKHLQGLYLGXDOV           7+(:,71(667KDW VQRWZKDWLWVD\VVR
    WKDWZRXOGQRWIROORZW\SLFDOO\ZLWKLQWKLV                    , OODVN\RXWRUHSHDWWKHTXHVWLRQIRUPH
    %<$77251(<%522.6                                             %<$77251(<%522.6
    4$QGWKRVHLQGLYLGXDOVDUHWKHRYHUZKHOPLQJ             4,IZHDVVXPHK\SRWKHWLFDOO\,ZLOODVN\RX
    PDMRULW\                                                       WRDVVXPHWKDWVH[DVXVHGLQWKLV(QGRFULQH6RFLHW\
    &RUUHFW"                                               GRFXPHQWKDVWKHPHDQLQJWKDW\RXLQIDFW
   $77251(<%25(//,2EMHFWLRQIRUP             H[SODLQHGIURPWKHWHUPXVHGLQWKH(QGRFULQH
   7+(:,71(667KH\DUHWKHPDMRULW\            6RFLHW\GRFXPHQWWKDWLVTXRWHJHQHWLFJRQDGDOVH[
   %<$77251(<%522.6                                            FORVHGTXRWHWKHQ\RXEHOLHYHWKLVWREHWKH
   4:HOOPRUHWKDQSHUFHQW                            ODQJXDJHWKDW,KDYHUHDGWR\RXIURPWKHGRFXPHQW
   &RUUHFW"                                              WREHDFFXUDWH"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(66,ZRXOGKDYHWRGRWKHPDWK       7+(:,71(666R,EHOLHYHZKHQ,
   EXWWKDWVRXQGVDFFXUDWH                                      DQVZHUHGWKDWTXHVWLRQ,EHOLHYHZKHQ,DQVZHUHG
   %<$77251(<%522.6                                            WKDWTXHVWLRQVH[JRQDGDO\RXNQRZWKRVHDUHWZR
   4/HWPHDVN\RXWRWXUQWRSDJH,QWKH           SDUWVRILW7KH\KDYHQRWLQFOXGHGWKHIXOOUDQJHRI
   VHFRQGFROXPQWKHILQDOSDUDJUDSKEHJLQVRQWKDWSDJH        KRUPRQDORUH[WHUQDOJHQLWDOLDWREHVSHFLILF,QP\
   LWUHDGVTXRWHVH[LVDQHVVHQWLDOSDUWRIYHUWHEUDWH        OLQHRIZRUN,ZRXOGQHHGDOORIWKDWLQIRUPDWLRQWR
   ELRORJ\EXWJHQGHULVDKXPDQSKHQRPHQRQVHPLFRORQ          UHDOO\SLQGRZQWKLQJV
   6H[RIWHQLQIOXHQFHVJHQGHUEXWJHQGHUFDQQRWLQIOXHQFH       %<$77251(<%522.6
   VH['R\RXVHHWKDWODQJXDJH                                46R\RXUWHVWLPRQ\QRZLVWKDWWKHWHUP


                                                  3DJH                                                          3DJH
    $:KDWLVWKHILUVWZRUGLQWKHVHQWHQFHDJDLQVR        JHQHWLFJRQDGDO JXLGHOLQHVLVWRRLPSUHFLVHIRU\RX
    ,FDQILQGLW"                                                  UHDOO\WRXQGHUVWDQG"
    4,W VRQWKHVHFRQGFROXPQWKHILQDOSDUDJUDSK        $77251(<%25(//,2EMHFWLRQIRUP
    $2ND\                                                  7+(:,71(66,WKLQN\RXDVNHGWKDW
    4, PUHDOO\MXVWFDOOLQJ\RXUDWWHQWLRQWRWKH          TXHVWLRQEHIRUH
    ILUVWVHQWHQFH                                                 %<$77251(<%522.6
    $<HSUHDGLW                                          4$QG,WKRXJKW\RXKDGVDLG\RXGLGXQGHUVWDQG
    4,VWKHUHDQ\WKLQJLQWKDWVHQWHQFHWKDW\RX            <RXVHHPWREHFKDQJLQJ\RXUWHVWLPRQ\
    EHOLHYHWREHLQDFFXUDWHVFLHQWLILFDOO\"                        $77251(<%25(//,2EMHFWLRQ
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<RXFDQUHDGLWEDFNWRPH
   7+(:,71(66$JDLQ,WKLQNWKH\ UH            LI\RX,WKLQNWKDWWKHUH VPXOWLSOHWKLQJVWKDWDUH
   LPSUHFLVHDVSULPDWHVKDYHJHQGHUUROHVDQGJHQGHUHG           OHIWRXWRIWKDWSDUWLFXODUSKUDVHWRGHVFULEH\RX
   DFWLYLW\VRLW VQRWH[DFWO\SUHFLVH                         NQRZLQGLYLGXDOV,FDQ WVD\VRPHWKLQJWKDWLV\RX
   %<$77251(<%522.6                                            NQRZLQP\H[SHULHQFHDQGLQWKHOLWHUDWXUHDQGLQ
   4$Q\WKLQJHOVHDERXWWKDWVWDWHPHQWWKDW\RXZDQW      SDWLHQWVZLWKLQWHUVH[FRQGLWLRQVWKDWDUHWKDW
   WRVD\LVOHVVWKDQVFLHQWLILFDOO\DFFXUDWH"                   FRXOGEHGLIIHUHQWIURPWKDW7KHUH\HDK
   $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
   7+(:,71(66<RXNQRZDJDLQWKH\XVH          4,IZHIRUDPRPHQWIRFXVRQLQGLYLGXDOVZKRGR
   WKHZRUGVH[ZLWKRXWEHLQJYHU\VSHFLILFDVWRVH[             QRWVXIIHUIURPDQ\GLVRUGHURIVH[XDOGHYHORSPHQWWKHQ
   DVVLJQHGDWELUWK7KDW VP\RQO\RWKHUFDYHDW               GR\RXEHOLHYHWKHIROORZLQJTXRWHIURP(QGRFULQH
   %<$77251(<%522.6                                            6RFLHW\GRFXPHQWLVWUXHDQGWKDWLVTXRWHVH[
   4,IZHUHDGWKDWWRUHIHUWRZKDWWKH(QGRFULQH        LVDQHVVHQWLDOSDUWRIYHUWHEUDWHELRORJ\EXWJHQGHU
   6RFLHW\GHWHUPLQHGXVHGLQWKH(QGRFULQH6RFLHW\          LVDKXPDQSKHQRPHQRQVHPLFRORQVH[RIWHQLQIOXHQFHV
   VWDWHPHQWWKDWZHORRNHGDWWKDWLVTXRWH                   JHQGHUFRPPDEXWJHQGHUFDQQRWLQIOXHQFHVH[FORVHG


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0774
                                                   3DJH                                                         3DJH
    TXRWH"                                                          4'U$GNLQVGR\RXEHOLHYHLWWREHWUXHRU
    $77251(<%25(//,2EMHFWLRQIRUP              IDOVHWKDWZRPHQDQGPHQDVZRPHQDQGPHQGLIIHUIURP
    7+(:,71(667U\LQJWRWKLQNPDNHVXUH         HDFKRWKHULQPDQ\SK\VLRORJLFDODQGSV\FKRORJLFDO
    ,FDQ WWKLQNRIDQLQVWDQFHULJKWQRZWKDWPDNHVPH        YDULDEOHV"
    GLVDJUHHZLWKWKDWVWDWHPHQW                                   $77251(<%25(//,2EMHFWLRQWRWKHIRUP
    %<$77251(<%522.6                                             7+(:,71(666RZRPHQDQGPHQDUHD
    4/HWPHWDNH\RXWRWKHILUVWFROXPQRQSDJH        JHQGHUDVVLJQPHQWQRWWKHELRORJLFDOVH[ZKLFK\RX
    DQGWKHUH VDKHDGLQJWKHUHWKDWVD\VFRQVLGHULQJVH[           PHQWLRQHGEHIRUH$QGJHQGHULVQRWQHFHVVDULO\DZD\
    DQGRUJHQGHUDVYDULDEOHVLQKHDOWKDQGGLVHDVH               WKDW,ZRXOGQHFHVVDULO\WKLQNLVDVFLHQWLILFDOO\
   'R\RXVHHWKDW"                                      SUHFLVHZD\WRSODFHWKDWLI\RX UHWDONLQJDERXWWKLV
   $1R:KDWSDJHDUH\RXRQ"                            SDUWLFXODUVWDWHPHQW
   4                                               %<$77251(<%522.6
   $<HV                                                  4,VLW\RXUEHOLHIWKDWWKH(QGRFULQH6RFLHW\LQ
   4ILUVWFROXPQWKHKHDGLQJWRZDUGVWKHERWWRP      WKLVGRFXPHQWLQWKHWHUPVZRPHQDQGPHQLVUHIHUULQJWR
   RIWKHSDJH                                                   JHQGHULGHQWLW\RWKHUWKDQELRORJLFDOZKDWGRHVWKH
   $2ND\                                                 ZRUGSK\VLRORJLFDOPHDQWR\RXDVDGRFWRU"
   4$QGKHUHWKH\ UHVSHFLILFDOO\PHQWLRQLQJVH[RQ       $7KHPHWKRGRIIXQFWLRQDQGLQWHUDFWLRQRIDOO
   RQHKDQGDQGJHQGHURQWKHRWKHU'R\RXVHHWKDW"            WKHSDUWVRIWKHERG\
   7KLVSDUDJUDSKEHJLQVTXRWHZRPHQDQGPHQGLIIHULQ          4,WUHIHUVWRELRORJ\QRWWRWKHVWDWHPHQWRI
   PDQ\SK\VLRORJLFDODQGSV\FKRORJLFDOYDULDEOHV                PLQGRULGHQWLW\
   'R\RXVHHWKDW"                                      &RUUHFW"
   $<HV                                                  $77251(<%25(//,2EMHFWLRQWRIRUP
   4'R\RXEHOLHYHWKDWWREHDVFLHQWLILFDOO\            7+(:,71(66,ZRXOGMXVWDJUHHZLWK
   DFFXUDWHVWDWHPHQW"                                            WKDWVWDWHPHQW


                                                   3DJH                                                         3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
    7+(:,71(66,WKLQNLI,ZHUHWRDGG           4/HWPHDVN\RXWRWXUQWRSDJH
    W\SLFDOLW VVD\LQJWKHUHLVYDULDELOLW\                      47KHILUVWIXOOSDUDJUDSKEHJLQVTXRWHGHVSLWH
    %<$77251(<%522.6                                             WKHIDFWWKDWELRORJLFDOVH[LVVXFKDIXQGDPHQWDO
    4:HOOLWLVVD\LQJVSHFLILFDOO\WKDWZRPHQDQG         VRXUFHRILQWHUHVWVSHFLILFYDULDWLRQLQDQDWRP\DQG
    PHQGLIIHUIURPHDFKRWKHULQSK\VLRORJLFDODQG                 SK\VLRORJ\PXFKEDVLFDQGFOLQLFDOVFLHQFHKDVWHQGHGR
    SV\FKRORJLFDOZD\V                                             IRFXVVWXGLHVRQRQHVH[W\SLFDOO\PDOHFORVHGTXRWH
    &RUUHFW"                                               'R\RXVHHWKDWODQJXDJH"
    $77251(<%25(//,2EMHFWLRQIRUP              $,GR
   7+(:,71(667KDW VZKDWLWVD\V              4$QGGR\RXXQGHUVWDQGZKDWLVPHDQWE\
   %<$77251(<%522.6                                            LQWUDVSHFLILFYDULDWLRQ"/HWPHRIIHUDVXJJHVWLRQ'R
   4$QGGR\RXEHOLHYHWKDWWREHDVFLHQWLILFDOO\        \RXXQGHUVWDQGLWWRUHIHUWRYDULDWLRQVZLWKLQWKH
   WUXHVWDWHPHQW"                                                KXPDQVSHFLHV"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQWRIRUP
   7+(:,71(66$JDLQ\RXNQRZ\RXKDYH         7+(:,71(66,WKLQN\RXNQRZDJDLQLQ
   WRLQWHUSUHWWKHVHLQWKHLUFRQWH[WRIZKDWWKH\DUH           FRQWH[W,ZRXOGQHHGWRLQWUDVSHFLILFLQWUDVSHFLILF
   VD\LQJ6WDWHPHQWV                                           FRXOGEHEHWZHHQPHDQG\RX,VRODWHGLQWKLVRQH
   %<$77251(<%522.6                                            VHQWHQFH,ZRXOGQHHGWRWDNHDPRPHQWWRVHHLILW
   4'R\RXEHOLHYHLWWREHWUXHRUIDOVHWKDWZRPHQ      EHWWHUH[SODLQVLWLI,ZHUHWRUHDGIXUWKHU
   DQGPHQGLIIHULQPDQ\SK\VLRORJLFDODQGSV\FKRORJLFDO         %<$77251(<%522.6
   YDULDEOHV"                                                     4'R\RXGLVDJUHHRUDJUHHWKDWELRORJLFDOVH[LV
   $77251(<%25(//,2EMHFWLRQIRUP             DIXQGDPHQWDOVRXUFHRIYDULDWLRQLQDQDWRP\DQG
   7+(:,71(66$OOSHRSOHDUHGLIIHUHQW         SK\VLRORJ\ZLWKLQWKHKXPDQVSHFLHV"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP


                                                                                          3DJHVWR
                                                                                                    Armistead App. 0775
                                                  3DJH                                                          3DJH
    7+(:,71(66, PVRUU\,JRW                 $2ND\
    VLGHWUDFNHGLQP\EUDLQ&RXOG\RXSOHDVHUHDGWKH            4,QWKHER[DWWKHWRSLWVD\VDQG,TXRWHVH[
    TXHVWLRQ"                                                      LVDELRORJLFDOFODVVLILFDWLRQLQFOXGHGLQRXU'1$
    %<$77251(<%522.6                                            0DOHVKDYH;<FKURPRVRPHVDQGIHPDOHVKDYH;;
    4<HV,FDQ'R\RXDJUHHRUGLVDJUHHWKDW            FKURPRVRPHV6H[PDNHVXVPDOHRUIHPDOH'R\RXVHH
    ELRORJLFDOVH[LVWKHIXQGDPHQWDOVRXUFHRIYDULDWLRQLQ       WKDWODQJXDJH"
    DQDWRP\DQGSK\VLRORJ\ZLWKLQWKHKXPDQFHDVHVSHFLHV"         $,GR
    $77251(<%25(//,2EMHFWLRQIRUP             4$QGLWFRQWLQXHVHYHU\FHOOLQ\RXUERG\KDVD
    7+(:,71(667KHUHLVORWVRIRWKHU            VH[PDNLQJXSWLVVXHVDQGRUJDQVOLNH\RXUVNLQEUDLQ
   SDUWVRISK\VLRORJ\WKDWDUHFRPSOHWHO\XQUHODWHGWR          KHDUWDQGVWRPDFK(DFKFHOOLVHLWKHUPDOHRUIHPDOH
   \RXUUHSURGXFWLYHV\VWHPWKDWLVPRUHIXQGDPHQWDO            GHSHQGLQJRQZKHWKHU\RXDUHDPDQRUDZRPDQFORVHG
   %<$77251(<%522.6                                           TXRWH
   4'U$GNLQVGR\RXDJUHHRUGLVDJUHHWKDW            'R\RXVHHWKDW"
   ELRORJLFDOVH[LVDIXQGDPHQWDOVRXUFHRIYDULDWLRQLQ        $,GR
   DQDWRP\DQGSK\VLRORJ\ZLWKKXPDQVSHFLHV"                    4$QGWKHQLWFRQWLQXHVXQGHUWKDWZLWKD
   $77251(<%25(//,2EMHFWLRQIRUP            GHILQLWLRQRIJHQGHU6RP\TXHVWLRQLVEHJLQV
   7+(:,71(66,WLVRQHRIWKHYDULDEOHV       KHUHWKHRSHQLQJVWDWHPHQWLQWKLV1,+SXEOLFDWLRQVD\V
   ZLWKLQYDULDWLRQV                                            WKDWVH[LVDELRORJLFDOFODVVLILFDWLRQ'R\RXDJUHH
   $77251(<%522.6/HWPHPDUNDV([KLELW       RUGLVDJUHHZLWKWKDW"
   DQLQIRJUDSKLFLI,FDQXVHWKDWWHUP([KLELW"         $77251(<%25(//,2EMHFWLRQIRUP
   9,'(2*5$3+(5([FXVHPH&RXQVHO<RX        7+(:,71(66<RXNQRZWKHUHLVDZKROH
   FXWRXWULJKWDIWHU([KLELW,GLGQ WKHDUZKLFK           OLWHUDWXUHRQRQWKLVWKHGLIIHUHQFHVLQLQ
   GRFXPHQWWKDWZDV                                            VH[,VRELRORJLFDODVRSSRVHGWRDQRWKHUW\SHRI
   $77251(<%522.6,WLVWDEDQGLWLVD      FODVVLILFDWLRQ,DJUHHZLWKWKDWVWDWHPHQW


                                                  3DJH                                                          3DJH
    RQHSDJHLQIRJUDSKLFLI,PD\SXWRXWE\WKH1DWLRQDO        %<$77251(<%522.6
    ,QVWLWXWHRI+HDOWKWLWOHG+RZ6H[DQG*HQGHU,QIOXHQFH        4,WVD\VDOLWWOHIXUWKHUDORQJWKDWTXRWH
    6H[DQG'LVHDVH                                               HYHU\FHOOLQ\RXUERG\KDVDVH[FORVHGTXRWH'R\RX
                                     DJUHHRUGLVDJUHHZLWKWKDW"
     :KHUHXSRQ$GNLQV([KLELW1,+               $77251(<%25(//,2EMHFWLRQWRWKHIRUP
    6H[*HQGHU,QIRJUDSKLFZDVPDUNHGIRU         7+(:,71(66,DJUHH$QGHDFKFHOOFDQ
    LGHQWLILFDWLRQ                                EHGLIIHUHQW
                                     %<$77251(<%522.6
    %<$77251(<%522.6                                            4$UH\RXVD\LQJWKDWZLWKLQDQLQGLYLGXDOD
   4$QGILUVWOHWPHDVN'U$GNLQVDUH\RX            VSHFLILFLQGLYLGXDOHDFKFHOOFDQKDYHDGLIIHUHQWVH["
   IDPLOLDUZLWKWKH1DWLRQDO,QVWLWXWHRI+HDOWKDVDQ          $<HV
   RUJDQL]DWLRQV"                                                47KLV1,+SXEOLFDWLRQWHOOVXVWKDWTXRWHHDFK
   $<HV                                                 FHOOLVHLWKHUPDOHRUIHPDOHFORVHGTXRWH$QG,WDNH
   47KDWLVDJRYHUQPHQWUHVHDUFKLQVWLWXWH"             LW\RXVLPSO\EHOLHYHWKH1,+LVZURQJDERXWWKDW"
   $<HV                                                 $77251(<%25(//,2EMHFWLRQIRUP
   4$QGPDMRUJUDQWPDMRUVRXUFHRIJUDQWV          7+(:,71(66,WKLQNWKDWWKHQXDQFHV
   JUDQWPDNLQJLQWKHKHDOWKVFLHQFHV"                          DUHVRPHWKLQJWKDW\RXFDQ WSXEOLVKLQDRQHSDJH
   $<HV                                                 GRFXPHQWDWLRQZKHQWKH\ UHQRWWDONLQJDERXWDQHQWLUH
   4$QGDUH\RXZHUH\RXDZDUHWKDWLWKDV           SRSXODWLRQ
   ZLWKLQLWDQ2IILFHRI5HVHDUFKRQ:RPHQ V+HDOWK"            %<$77251(<%522.6
   $1R                                                  48QGHUWKLVLQLWLDOER[LVDKHDGLQJWKDWVD\V
   4'R\RXVHHWKDWWKLVLVSXEOLVKHGE\WKH             H[DPSOHVRIVH[DQGJHQGHULQIOXHQFHV'R\RXVHHWKDW"
   1DWLRQDO,QVWLWXWHRI+HDOWK2IILFHRI5HVHDUFKRQ           $,GR
   :RPHQ V+HDOWK"                                               4$QGLWKDVYDULRXVFDWHJRULHVRIWKLQJVWKDWPD\


                                                                                         3DJHVWR
                                                                                                    Armistead App. 0776
                                                   3DJH                                                         3DJH
    EHLQIOXHQFHGRQRQHHQGE\VH[ZKLFKLVGHILQHGLQ            4$QGLIZHXVHWKHWHUPVXEVWLWXWHWKHWHUP
    WKLVGRFXPHQWDVDELRORJLFDOFODVVLILFDWLRQDQG               IHPDOHVIRUZRPHQDQGJLUOVDQGVD\IHPDOHVDUHPRUH
    JHQGHU'R\RXVHHWKDWVWUXFWXUHRIWKLVGRFXPHQW"            OLNHO\WRLQMXUHWKHLUNQHHVZKHQSOD\LQJVSRUWVGR\RX
    $77251(<%25(//,2EMHFWLRQIRUP              EHOLHYHWKDWWREHDVFLHQWLILFDOO\DFFXUDWHVWDWHPHQW"
    7+(:,71(66<HDK                              $77251(<%25(//,2EMHFWLRQWRIRUP
    %<$77251(<%522.6                                             7+(:,71(66<RXKDYHWROHDYHVRPH
    4$QGLWVD\VLIZHJRGRZQWRFDUGLRYDVFXODUULVN       URRP$JDLQLQPHGLFLQHZH UHQRWOLNHSHUFHQW
    RQHRIWKHGLIIHUHQFHVWKDWLVLGHQWLILHGDVEDVHGRQ           %XW,DJUHHWKDWSRUWLRQVRIIHPDOHVWKDWDUHW\SLFDOLQ
    VH[LVWKDWTXRWHEORRGYHVVHOVLQDZRPDQ VKHDUWDUH        UHVHDUFKKDYHEHHQUHSRUWHGWRKDYHPRUHIUHTXHQWNQHH
   VPDOOHULQGLDPHWHUDQGPXFKPRUHLQWULFDWHO\EUDQFKHG         LQMXULHV
   WKDQWKRVHRIDPDQFORVHGTXRWH'R\RXVHHWKDW"           %<$77251(<%522.6
   $8QGHUFDUGLRYDVFXODUULVN\HDK2ND\               42ND\
   4$QGWKH1,+JLYHVWKLVDVDQH[DPSOHRID             /HWPHDVN\RXWRILQG\RXUUHSRUW([KLELW
   SK\VLFDOPHDVXUDEOHELRORJLFDOGLIIHUHQFHWKDWGHSHQGV         DQGOHW VWXUQWRSDUDJUDSK$QGWKHUH\RXZURWH
   RQELRORJLFDOVH[                                             TXRWHDSHUVRQ VJHQGHULGHQWLW\UHIHUVWRDSHUVRQ V
   &RUUHFW"                                              LQQHUVHQVHRIEHORQJLQJWRDSDUWLFXODUJHQGHUVXFKDV
   $77251(<%25(//,2EMHFWLRQIRUP             PDOHRUIHPDOH$QG\RXFRQWLQXHHYHU\RQHKDVDJHQGHU
   7+(:,71(66:HOODFWXDOO\WKHZRUGV          LGHQWLW\FORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
   WKH\ UHXVLQJDUHJHQGHUJHQGHUZRUGVQRWWKHZRUGV       $,GR
   ZHZRXOGXVHIRUVH[\RXNQRZIHPDOHRUPDOHRUD            4/HWPHGLUHFW\RXUDWWHQWLRQWRWKH(QGRFULQH
   YDULDWLRQLQEHWZHHQ6R,ZRXOGLI,ZHUHHGLWLQJ        6RFLHW\JXLGHOLQHVIURPZKLFKLV([KLELW$QG
   WKLVGRFXPHQW,SUREDEO\ZRXOGQ WKDYHXVHGWKHZRUG          ZH UHJRLQJWRFRPHEDFNLI\RXFDQPDNHDVWDFNRI
   ZRPDQ                                                         PRVWRIWKHVHEXWWKHJXLGHOLQHVZHZLOOFRPHEDFN
   %<$77251(<%522.6                                            WRZLWKVRPHIUHTXHQF\%XWZH UH


                                                   3DJH                                                         3DJH
    4<RXZRXOGKDYHVDLGDIHPDOH"                          $.HHSLQJLWRQWRS"
    $7\SLFDOIHPDOH                                        4NHHSLQJLWRQWRS
    4%HFDXVHZKDWKRZWKHEORRGYHVVHOVLQ\RXU         $2ND\
    KHDUWDUHVWUXFWXUHGGHSHQGRQ\RXUVH[QRWRQ\RXU            4$QGWKHUH,ZDQWWRFDOO\RXUDWWHQWLRQWRSDJH
    JHQGHULGHQWLW\$P,FRUUHFW"                                 
    $77251(<%25(//,2EMHFWLRQIRUP              $
    7+(:,71(667KHUHLVPDQ\YDULDEOHV            45LJKW$QGLQWKHVHFRQGFROXPQWKHUH VD
    WKDWFDQDIIHFWWKHVHWKLQJVDQGZKDWWKDWLVRQHRI        VHFWLRQKHDGHGLQWURGXFWLRQ$QGLWEHJLQVZLWKD
    WKHP                                                           KLVWRULFDOUHYLHZRIWKHFRQFHSWRIJHQGHU$QG, P
   %<$77251(<%522.6                                            JRLQJWRDVN\RXDTXHVWLRQEHJLQQLQJZLWKWKHODQJXDJH
   47R\RXUNQRZOHGJHJHQGHULGHQWLW\LVQRWD           WKDWLVWZRLQFKHVIURPWKHERWWRPWZRDQGDKDOI
   YDULDEOHWKDWDIIHFWVKRZWKHEORRGYHVVHOVLQRQH V           LQFKHVIURPWKHERWWRPWKDWEHJLQVWKHVHHDUO\
   KHDUWDUHVWUXFWXUHGGRHVLW"                                 UHVHDUFKHUV6RLI\RXZDQWWRNLQGRIJOLGHWKURXJK
   $77251(<%25(//,2EMHFWLRQIRUP             ZKDWFRPHVEHIRUHWKDWOHWPHNQRZDQG, OOEHJLQP\
   7+(:,71(661RWWKDW, PDZDUHRI            TXHVWLRQLQJ
   %<$77251(<%522.6                                            $<HV, OOORRNRYHULW7KDQN\RX
   48QGHUWKHODVWLWHPKHUHLVNQHHDUWKULWLV'R       ,KDYHUHDGWKDWVHFWLRQ
   \RXVHHWKDWKHDGLQJ"                                          4,ZDQWWRFDOO\RXUDWWHQWLRQWRDVHQWHQFH
   $<HV                                                  ZKLFKP\XQGHUVWDQGLQJLVFRQWUDVWLQJDJDLQVWRUWKH
   4, PVXUHZH OOKDYHWKHVDPHWHUPLQRORJ\              KLVWRU\WKDWEHJLQVTXRWHVRPHH[SHULHQFHWKHPVHOYHV
   GLVFXVVLRQEXWWKHODQJXDJHWKHUHVD\VTXRWHZRPHQ          DVKDYLQJERWKDPDOHDQGIHPDOHJHQGHULGHQWLW\ZKHUHDV
   DQGJLUOVDUHPRUHOLNHO\WRLQMXUHWKHLUNQHHVZKHQ           RWKHUVFRPSOHWHO\UHQRXQFHDQ\JHQGHUFODVVLILFDWLRQ
   SOD\LQJVSRUWVFORVHGTXRWH'R\RXVHHWKDWODQJXDJH"       FORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
   $,GR                                                 $,GR


                                                                                          3DJHVWR
                                                                                                     Armistead App. 0777
                                                   3DJH                                                          3DJH
    4$QGLQ\RXUH[SHUWRSLQLRQLVWKDWDQDFFXUDWH        $77251(<%522.6/HWPHPDUNDV([KLELW
    VWDWHPHQW"                                                      ZKDWLVWDEDQGWKDWLVDRQHSDJHVWDWHPHQWIURP
    $77251(<%25(//,2EMHFWLRQIRUP              D:RUOG+HDOWK2UJDQL]DWLRQ VZHEVLWHWLWOHG*HQGHUDQG
    7+(:,71(66,QP\FOLQLFDOH[SHULHQFH,        +HDOWK
    KDYHPHWLQGLYLGXDOVZKRDUHLGHQWLI\DVDJHQGHU            
    ZKLFKZRXOGLQP\PLQGEHVLPLODUWRWKLVGHILQLWLRQ            :KHUHXSRQ$GNLQV([KLELW:RUOG
    EXW,W\SLFDOO\DVNWKHSDWLHQWZKDWWKHLUJHQGHUPHDQV         +HDOWK2UJDQL]DWLRQ:HESDJHZDVPDUNHG
    WRWKHP                                                        IRULGHQWLILFDWLRQ
    %<$77251(<%522.6                                             
   4:HOOGR\RXKDYHDQ\RSLQLRQDVWRZKHWKHUVRPH      7+(:,71(667KDQN\RX
   LQGLYLGXDOVH[SHULHQFHERWKDPDOHDQGIHPDOHJHQGHU           %<$77251(<%522.6
   LGHQWLW\"                                                      4$UH\RXIDPLOLDUZLWKWKH:RUOG+HDOWK
   $77251(<%25(//,2EMHFWLRQIRUP             2UJDQL]DWLRQDVDQRUJDQL]DWLRQ"
   7+(:,71(66,KDYHSDWLHQWVWKDWGR           $,DP
   WKDW\HV                                                     4$QGGR\RXFRQVLGHUWKH:RUOG+HDOWK
   %<$77251(<%522.6                                            2UJDQL]DWLRQWREHJHQHUDOO\DUHVSHFWHGVRXUFHRI
   4$QG,WKLQN\RXVDLGWKDW,GRQ WZDQWWR         LQIRUPDWLRQRQPHGLFDODQGKHDOWKWRSLFV"
   SXWVZRUGVLQ\RXUPRXWK'R\RXKDYHDQRSLQLRQ              $77251(<%25(//,2EMHFWLRQWRIRUP
   ZKHWKHUVRPHLQGLYLGXDOVUHSRUWQRWKDYLQJDQ\JHQGHU         7+(:,71(660\JHQHUDOH[SHULHQFHVR
   QRWILWWLQJDQ\JHQGHUFODVVLILFDWLRQ"                         IDUWRGDWHLVWKH\ UHUHOLDEOH
   $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
   7+(:,71(66,GRKDYHSDWLHQWVWKDW           4:HOO,ZLOOUHSUHVHQWWR\RXWKDWWKLVGRFXPHQW
   PDWFKWKDWGHVFULSWLRQ                                        FDPHRIIRID:RUOG+HDOWK2UJDQL]DWLRQZHEVLWHDQGWKH
   %<$77251(<%522.6                                            ZHEDGGUHVVLVDWWKHERWWRPRIWKHSDJH,VHHRQWKH


                                                   3DJH                                                          3DJH
    4$QGWKLVJRHVRQWKHQH[WVHQWHQFHWRVD\             FRS\LQIURQWRI\RX, OOVWDQGE\P\UHSUHVHQWDWLRQ
    TXRWHWKHUHDUHDOVRUHSRUWVRILQGLYLGXDOV                    RIZK\PLQHKDVLW
    H[SHULHQFLQJDFRQWLQXRXVDQGUDSLGLQYROXQWDU\                 $2ND\
    DOWHUQDWLRQEHWZHHQDPDOHDQGIHPDOHLGHQWLW\FORVHG          47KLVGRFXPHQWWLWOHG*HQGHUDQG+HDOWKEHJLQV
    TXRWH                                                          JHQGHUUHIHUVWRWKHFKDUDFWHULVWLFVRIZRPHQPHQ
    'R\RXVHHWKDW"                                       JLUOVDQGER\VWKDWDUHVRFLDOO\FRQVWUXFWHGFORVHG
    $,GR                                                  TXRWH'R\RXVHHWKDW"
    4$QGGR\RXEHOLHYHWKDWWREHDQDFFXUDWH              $,GR
    VWDWHPHQW"                                                      4$QGLVWKDWDGHILQLWLRQRIJHQGHUSHUVHWKDW V
   $77251(<%25(//,2EMHFWLRQIRUP             FRQVLVWHQWZLWKKRZ\RXDUHXVHGWRVHHLQJWKHWHUP
   7+(:,71(66,KDYHQRWKDGWKDW               XVHG"
   FOLQLFDOH[SHULHQFH,ZRXOGKDYHWRUHO\RQWKH\RX         $77251(<%25(//,2EMHFWLRQIRUP
   NQRZPHGLFDOUHSRUWZLWKWKDWLQSDUWLFXODUDQG,            7+(:,71(666R\RXNQRZVRFLDO
   ZRXOGSUREDEO\ORRNDWWKHHYLGHQFHWKDWZDVDYDLODEOH         FRQVWUXFWVFKDQJHUHJXODUO\VR,ZRXOGVD\WKDW\RX
                                                               NQRZWKDWZRXOGQ WEHFRPSOHWHO\LQFOXVLYHRIFXUUHQW
   %<$77251(<%522.6                                            VRFLDOO\FRQVWUXFWHGJHQGHUVLQP\H[SHULHQFH
   4:HOO                                              %<$77251(<%522.6
   $SULRUWRPDNLQJDGHFLVLRQ                       4:HOOOHWPHGLUHFWZK\GRQ W\RXUHDGWKDW
   4GR\RXDVDSUDFWLWLRQHUFRQVLGHULW              ZKROHILUVWSDUDJUDSKZKLFKLVMXVWWKUHHVHQWHQFHV
   UHDVRQDEOHWRUHO\RQWKDWDVVHUWLRQLQWKLV              EHFDXVH,WKLQNWKH:RUOG+HDOWK2UJDQL]DWLRQUDLVHV
   (QGRFULQH6RFLHW\VWDWHPHQWJXLGHOLQH"                         H[DFWO\WKDWSRLQW6R, OODVN\RXWRUHDGWKDW"
   $77251(<%25(//,2EMHFWLRQIRUP             $6XUH6XUH
   7+(:,71(66,ZRXOGUHO\RQLWWREH          
   VRPHWKLQJ,VKRXOGDWOHDVWFRQVLGHU                           :+(5(8321:,71(665(9,(:6'2&80(17


                                                                                           3DJHVWR
                                                                                                   Armistead App. 0778
                                                 3DJH                                                       3DJH
                                    TXHVWLRQLVDV\RXXQGHUVWDQGLW
    7+(:,71(662ND\                            $,WKLQNWKDW\RXKDYHWRDOVRLQFOXGH
    %<$77251(<%522.6                                           &28575(3257(5([FXVHPH,QHHGWR
    46RH[WHQGLQJLQWRWKDWSDUDJUDSKWKDW               LQWHUUXSW([FXVHPH, PVRUU\WRLQWHUUXSWEXW
    WKUHHVHQWHQFHSDUDJUDSKMXVWWKDWH[SODQDWLRQRIWKH        &RXQVHO\RXUIXOOTXHVWLRQGLGQ WFRPHWKURXJKRQWKLV
    FRQFHSWRIJHQGHUILWZLWKKRZ\RXDUHXVHGWRVHHLQJ         HQG
    WKHWHUPXVHGLQ\RXUSURIHVVLRQDOH[SHULHQFH"                $77251(<%522.6, OOUHDVNLW3DUGRQ
    $77251(<%25(//,2EMHFWLRQIRUP            PH
    7+(:,71(666RLQUHDGLQJWKDWP\           $77251(<%25(//,$FWXDOO\ZK\GRQ WZH
   XQGHUVWDQGLQJRIZKDWWKH\DUHXVLQJWKRVHVSHFLILF          MXVWDGGUHVVRQHKRXVHNHHSLQJPDWWHU:RXOG\RXEHDEOH
   ZRUGVPHQZRPHQJLUOVDQGER\VDUHH[DPSOHV7KH\        WRLGHQWLI\IRUWKHUHFRUGWKH85/WKDWDSSHDUVRQ\RXU
   GRQ WFRPPHQWRQRWKHUVRFLHWLHV-XVWVRLQWKDW       FRS\DQGZKHWKHUWKHUHLVDGDWHRIWKHGRFXPHQWRUGDWH
   DVVHVVPHQW\HV                                             RIDFFHVVMXVWVRZHKDYHLWRQWKHUHFRUG"
   %<$77251(<%522.6                                          $77251(<%522.67KHUHLVQRGDWHRI
   4$OOULJKW                                          DFFHVV7KDWDFFHVVLVZLWKLQWKHODVWWZRPRQWKV7KH
   ,IZHVNLSGRZQWRWKHWKLUGSDUDJUDSKLW           DGGUHVVLV
   EHJLQVJHQGHULQWHUDFWVZLWKEXWLVGLIIHUHQWIURPVH[      ZZZZKRLQWKHDOWKWRSLFVJHQGHUWDEHTXDOVWDEXQGHUOLQH
   ZKLFKUHIHUVWRWKHGLIIHUHQWELRORJLFDODQG                 RQH
   SV\FKRORJLFDOFKDUDFWHULVWLFVRIIHPDOHVPDOHVDQG          $77251(<%25(//,7KDQN\RX
   LQWHUVH[SHUVRQVVXFKDVFKURPRVRPHVKRUPRQHVDQG          $77251(<%522.6, PJODGLWZDVQ WRQH
   UHSURGXFWLYHRUJDQVFORVHGTXRWH'R\RXVHHWKDW          RIWKHVHIRXUOLQHRQHV
   ODQJXDJH"                                                    %<$77251(<%522.6
   $,ZRXOGOLNHWRUHDGLWWRRWKRXJKLI\RX        4$QG,ZLOOUHDVNP\TXHVWLRQ
   GRQ WPLQG                                                  $2ND\


                                                 3DJH                                                       3DJH
    46XUH                                                47KHTXHVWLRQLV'U$GNLQVLVLWFRQVLVWHQW
    $<HDK2ND\,KDYHUHDGLW                        ZLWK\RXUXQGHUVWDQGLQJWKDWJHQGHULGHQWLW\UHIHUVWRD
    46RILUVWEDFNLQJXSWRWKHVWDWHPHQWRSHQLQJ       SHUVRQ VLQGLYLGXDOH[SHULHQFHRIJHQGHUZKLFKLVLQ
    SDUDJUDSKWKDWJHQGHULVVRFLDOO\FRQVWUXFWHGGR\RX        WXUQDVRFLDOFRQVWUXFW"
    EHOLHYHWKDWWREHDQDFFXUDWHVWDWHPHQW"                     $77251(<%25(//,2EMHFWLRQIRUP
    $77251(<%25(//,2EMHFWLRQIRUP            7+(:,71(667KDWGRHVQ WVRXQGWRPHWR
    7+(:,71(66*HQGHULVDVRFLDO               EHDIXOOH[SODQDWLRQ-XVWGRHVQ WVRXQGDFFXUDWHWR
    FRQVWUXFW\HV                                               PH, PKDYLQJDKDUGWLPH
    %<$77251(<%522.6                                           %<$77251(<%522.6
   4$QGWKHQLQWKHWKLUGSDUDJUDSKLWVWDWHVWKDW      47KHQOHWPHQRWWDNHPRUHWLPHRQWKDW
   JHQGHULGHQWLW\UHIHUVWRDSHUVRQ VGHHSO\IHOW             $2ND\
   LQWHUQDODQGLQGLYLGXDOH[SHULHQFHRIJHQGHU'R\RX        4<RXZRXOGDJUHHWKDWJHQGHULVDVRFLDO
   VHHWKDW"                                                    FRQVWUXFWWKDWFDQFKDQJHRYHUWLPH
   $,GR                                               $P,ULJKW"
   46RJHQGHULGHQWLW\UHIHUVWRDQLQGLYLGXDO V        $77251(<%25(//,2EMHFWLRQIRUP
   H[SHULHQFHLQUHODWLRQWRJHQGHUZKLFKLVDVRFLDO          7+(:,71(66*HQGHUVRLW VDVRFLDO
   FRQVWUXFW                                                   FRQVWUXFWLW VWUXH*HQGHULV\RXNQRZKRZ\RX
   5LJKW"                                              ,PHDQLW VFRPSOLFDWHG,WLQYROYHVPRUHWKLQJVWKDQ
   $77251(<%25(//,2EMHFWLRQIRUP           DQGVR\RXNQRZLI\RX UHWDONLQJDERXWJHQGHU
   7+(:,71(66,VHHLWDQG,ZRXOGDVN       H[SUHVVLRQWKDW VGLIIHUHQW6RPHRQH VJHQGHUDVWKH\
   \RXWRUHDGWKHTXHVWLRQRQHPRUHWLPH,MXVWZDQWWR      XQGHUVWDQGLWIRUWKHLUJHQGHULGHQWLW\LVGLIIHUHQW,
   PDNHVXUH, PDQVZHULQJ\RXDFFXUDWHO\                      PHDQ,KDYHSDWLHQWVZKRDUHDVVLJQHGDSDUWLFXODUVH[
   %<$77251(<%522.6                                          DQGWKHIDPLO\DQGWKHSK\VLFLDQVDVVLJQDJHQGHUWKDW
   4$V,WKLQN,VHHLQWKLVGRFXPHQWUHDOO\WKH        LVPRUHW\SLFDOO\FRUUHODWHGZLWKWKDWVH[$QGWKHQ


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0779
                                                 3DJH                                                         3DJH
    RYHUWLPHWKRVHLQGLYLGXDOVVRPHWLPHVGRQ WLGHQWLI\            WRIRUP
    ZLWKWKDWJHQGHUDQGWKH\PD\FKDQJHWKHLUJHQGHU              7+(:,71(667KDWLVKRZ,UHFDOOWKDW
    PDUNHUIRUH[DPSOHEHFDXVHWKHLULGHQWLW\UHDOO\MXVW         %<$77251(<%522.6
    GRHVQ WPDWFKZKDWZHDVVLJQHGWKHPDWELUWK, PQRW          43DUDJUDSKULJKW"
    VXUHKRZWRJLYHDFOHDUHUDQVZHU, PWU\LQJ                 $<HDK,ZDQWWRUHVHUYHWKHULJKWWRORRNDWLW
    %<$77251(<%522.6                                             WREHFHUWDLQ7KDWVRXQGVFRUUHFWWRPHDWWKLV
    4:HOOVRLIDQLQGLYLGXDOFRPHVLQWR\RXURIILFH       PRPHQW
    DQGDVVHUWVDJHQGHULGHQWLW\RIOHW VVD\PDQRU             4$QGZKDWGRHVFOLQLFDOO\VLJQLILFDQWGLVWUHVV
    ERWKHLWKHURQHRIWKRVHKRZFDQDFOLQLFLDQYHULI\           WKDWLPSDLUVLPSRUWDQWDUHDVRIIXQFWLRQLQJORRNOLNHLQ
   ZKHWKHUWKDWLQGLYLGXDOLVDFFXUDWHO\XQGHUVWDQGLQJKLV        DFKLOG"
   RZQRUWKHLURZQVXEMHFWLYHIHHOLQJV"                          $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<HDK6R\RXNQRZLW
   7+(:,71(66$QG\RXNQRZDJHQGHU            GHSHQGVRQZKDWWKH\DUHFRPLQJLQZLWK,PHDQIRU
   DJDLQLVVRPHWKLQJWKDW VDVVLJQHGDWELUWKDQGLWLV          VRPHRIP\SDWLHQWV\RXNQRZZKRDUH\RXNQRZ
   ZKDW\RXZRUNZLWKLQ\RXUOLIHDQGVR\RXNQRZ,            K\SHUWK\URLGIRUH[DPSOHWKHLUEUDLQ VUXQUHDOO\
   ZRXOGDVNWKHPDQGWKH\FRXOGWHOOPHKRZWKH\ZHUH            IDVWWKH\FDQ WIRFXVGXULQJVFKRRODQGWKDWZRXOGEH
   SURFHHGLQJLQOLIHZLWKUHJDUGWRWKHLUJHQGHU                 LPSDLUPHQWLQWKHLUDELOLW\WRGRWKHLUPDLQMREZKLFK
   EHKDYLRUV7KDWZRXOGEHKRZ,ZRXOGSUREDEO\DVVHV           LVWREHLQVFKRRODQGOHDUQ6RWKDW VRQHDUHDZKHUH
   WKHLUJHQGHU                                                  \RXFDQKDYHVRPHLPSDLUPHQWLQWKHLULWYDULHVIURP
   %<$77251(<%522.6                                            SDWLHQWWRSDWLHQWDQGLQHDFKWKLQJZH UHWDONLQJ
   4+RZGR\RXDVFHUWDLQZKHWKHUWKDWLQGLYLGXDOZKR      DERXW
   FODLPVLGHQWLW\RIPDQRUERWKLVWHOOLQJ\RXWKH             %<$77251(<%522.6
   FOLQLFLDQWKHWUXWK"                                          47KHH[DPSOH\RXMXVWJDYHZDVLPSDLUPHQW
   $77251(<%25(//,2EMHFWLRQIRUP             UHVXOWLQJIURPDK\SHUWK\URLGFRQGLWLRQ


                                                 3DJH                                                         3DJH
    7+(:,71(666RLQJHQHUDO\RXNQRZ          $P,FRUUHFW"
    LQSHGLDWULFVZHKDYHDSDUHQWDOUHSRUWDQGLWGHSHQGV         $&RUUHFW
    RQWKHFOLQLFDOVLWXDWLRQ:HPD\RUPD\QRWKDYH              4:KDW,DVNHGZDVLPSDLUPHQWGXHWR
    DQRWKHUKHDOWKSURYLGHU VUHSRUWRUDPHQWDOKHDOWK             DWWULEXWDEOHWRZKDWJHQGHUG\VSKRULDORRNVOLNHLQD
    SURYLGHU VUHSRUW,IZHKDYHTXHVWLRQVZHVWDUWWR           FKLOG
    GLJGHHSHUDQGORRNDWRWKHUDUHDV                             $2K
    %<$77251(<%522.6                                             $77251(<%25(//,,GRQ WZDQWWR
    4/HWPHFDOO\RXUDWWHQWLRQWRSDUDJUDSKLQ          LQWHUUXSW,WKLQNWKHUHPD\KDYHEHHQDPLVUHDGLQJRI
    \RXUH[SHUWUHSRUW([KLELW$QGWKHUH\RXUHIHUWR          WKHODQJXDJHLQWKHSDUDJUDSKDQG,MXVWZDQWWRPDNH
   '609GHILQLWLRQRIJHQGHUG\VSKRULD                          VXUHWKHUHFRUGLVFRUUHFWWKDWWKHILQDOVHQWHQFHRI
   'R\RXVHHWKDW"                                      WKDWSDUDJUDSKVD\VLQRUGHUWREHGLDJQRVHGZLWKJHQGHU
   $:KDWSDUDJUDSK"                                       G\VSKRULDLQFRQJUXHQFHPXVWSHUVLVWIRUDWOHDVWVL[
   43DUDJUDSK"                                         PRQWKVDQGEHDFFRPSDQLHGE\FOLQLFDOO\VLJQLILFDQW
   $<HDK                                                 GLVWUHVVRULPSDLUPHQWLQVRFLDORFFXSDWLRQDORURWKHU
   4$QG\RXPHQWLRQWKDWDPRQJRWKHUWKLQJVWKH           LPSRUWDQWDUHDRIIXQFWLRQLQJ
   GLDJQRVWLFFULWHULDXQGHU'609IRUJHQGHUG\VSKRULD           %<$77251(<%522.6
   LQFOXGHVTXRWHFOLQLFDOO\VLJQLILFDQWGLVWUHVV'R          4,RQWKHRWKHUKDQGZLOODVNDTXHVWLRQWKDWL
   \RXVHHWKDW"                                                  EHOLHYHLVPRUHFORVHO\WUDFNHGWRWKH'609ODQJXDJH
   $,GR                                                 ZKLFKLVZKDWLVFOLQLFDOO\VLJQLILFDQWGLVWUHVVWKDW
   4$QGLQIDFWLWLQFOXGHVFOLQLFDOO\VLJQLILFDQW       LPSDLUVLPSRUWDQWDUHDRIIXQFWLRQLQJORRNOLNHLQD
   GLVWUHVVWKDWTXRWHLPSDLUVLPSRUWDQWDUHDVRI               \RXQJFKLOG"
   IXQFWLRQLQJFORVHGTXRWH                                     $77251(<%25(//,2EMHFWLRQIRUP
   $P,FRUUHFW"'R\RXUHFDOOWKDWLQ'609"           7+(:,71(662ND\,PLVKHDUG\RX, P
   $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ        VRUU\,GLGQ WKHDUWKHJHQGHUG\VSKRULDSDUW,


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0780
                                                3DJH                                                         3DJH
    DSRORJL]H6RLQSDWLHQWVZLWKJHQGHUG\VSKRULD               SUHVFULELQJSXEHUW\EORFNHUIRUEHOLHYHGJHQGHU
    VRPHWLPHVLWFDQEHDQ[LHW\WKDWNHHSVWKHPIURPJRLQJ         G\VSKRULD"
    WRVFKRRO6RPHWLPHVLWFDQEHDQ[LHW\WKDWNHHSVWKHP        $77251(<%25(//,2EMHFWLRQWRIRUP
    IURPXVLQJSXEOLFUHVWURRPV6RPHWLPHVLWLVGHSUHVVLRQ       7+(:,71(66:HOOLQWKHZD\WKDW\RX
    VRWKDWWKH\FDQ WJHWRXWRIEHGWRIXQFWLRQ                 VWDWHGLW\RX UHVD\LQJWKDWWKHSDWLHQWDOUHDG\KDV
    6RPHWLPHVLW VMXVWIHHOLQJUHDOO\XQFRPIRUWDEOHDQG       JHQGHUG\VSKRULDVR\HV
    ZLWKKRZWKH\DUHEHLQJWUHDWHGDQGZKDWWKH\ UHDOORZHG       %<$77251(<%522.6
    WRGRLQDZD\WKDWPDNHVLWPRUHGLIILFXOWIRUWKHP           4,Q\RXUSUDFWLFHLVWKHIXOOGLDJQRVLVRIJHQGHU
    WKDQDSHUVRQZLWKRXWJHQGHUG\VSKRULD                        G\VSKRULDXQGHUWKH'609FULWHULDDSUHFRQGLWLRQIRU
   %<$77251(<%522.6                                           SUHVFULELQJSXEHUW\EORFNHUVDVDWKHUDS\IRUJHQGHU
   4,Q\RXUSUDFWLFHLVDIXOOGLDJQRVLVRIJHQGHU       G\VSKRULDRUJHQGHULQFRQJUXLW\"
   G\VSKRULDXQGHUWKH'609FULWHULDDSUHFRQGLWLRQIRU         $77251(<%25(//,2EMHFWLRQIRUP
   UHFRPPHQGLQJRUVXSSRUWLQJVRFLDOWUDQVLWLRQLQJ"              7+(:,71(66<HV
   $77251(<%25(//,2EMHFWLRQIRUP            %<$77251(<%522.6
   7+(:,71(666RLQP\SUDFWLFHWKH            4$QGLQ\RXUSUDFWLFHLVDIXOOGLDJQRVLVRI
   PDMRULW\RIP\SDWLHQWVKDYHVRFLDOO\WUDQVLWLRQHG            JHQGHUG\VSKRULDDFFRUGLQJWRWKH'609FULWHULDD
   EHIRUHWKH\FRPHWRVHHPHLQRUGHUWRLPSURYHWKHLU          SUHFRQGLWLRQIRUSUHVFULELQJFURVVVH[KRUPRQHV"
   JHQGHUG\VSKRULD,QJHQHUDOWKDWLVVRPHWKLQJWKDW         $77251(<%25(//,2EMHFWLRQIRUP
   WKHLUIDPLO\DQGWKHLUPHQWDOKHDOWKSURYLGHUGHFLGHV        7+(:,71(667KH\DUHXVHGWRUHOLHYH
   (DFKLQGLYLGXDOSDWLHQWLVGLIIHUHQWDQGZHWDONWKURXJK      G\VSKRULD7\SLFDOO\WKDWZRXOGEHZKDWZHZRXOGXVH
   ZKHWKHUWKDWLVDSSURSULDWHIRUHDFKSDWLHQW                 WKHPWRGRLVWRUHOLHYHWKDWG\VSKRULDVRWKH\ZRXOG
   %<$77251(<%522.6                                           KDYHWKDWGLDJQRVLV2QRFFDVLRQLQP\SUDFWLFHWKH
   4,Q\RXUSUDFWLFHLVDIXOO'609GLDJQRVLVRI        LQFRQJUXHQFHGRHVQRWQHFHVVDULO\FDXVHG\VSKRULDSHU
   JHQGHUG\VSKRULDDSUHFRQGLWLRQIRUUHFRPPHQGLQJVRFLDO       VHDQG\HWWKH\VWLOOKDYHVLJQLILFDQWLVVXHVWKDWDUH


                                                3DJH                                                         3DJH
    WUDQVLWLRQ"                                                    LPSDLULQJWKHLUDELOLW\WRPRYHIRUZDUGLQWKHLUOLYHV
    $77251(<%25(//,2EMHFWLRQIRUP             LQDKDSS\KHDOWK\ZD\$QG,PLJKWXVHPHGLFDWLRQV
    7+(:,71(661R                               VXFKDVJHQGHUDIILUPLQJKRUPRQHVLQWKRVHFDVHV
    %<$77251(<%522.6                                            %<$77251(<%522.6
    4$QGLQ\RXUSUDFWLFHLVDIXOO'609JHQGHU          46RLI,XQGHUVWDQGFRUUHFWO\\RX UHVD\LQJWKDW
    G\VSKRULDGLDJQRVLVDSUHFRQGLWLRQIRUSUHVFULELQJ             DWOHDVWVRPHFDVHVLQ\RXUSUDFWLFH\RXDUHZLOOLQJWR
    SXEHUW\EORFNHUV"                                              SUHVFULEHFURVVVH[KRUPRQHVIRULQGLYLGXDOVZKRGRQRW
    $77251(<%25(//,2EMHFWLRQIRUP             VXIIHUIURPJHQGHUG\VSKRULDDFFRUGLQJWRWKHFULWHULD
    7+(:,71(66,XVHSXEHUW\EORFNHUVIRU        VSHOOHGRXWLQ'609"
   PRUHWKDQRQHLQGLFDWLRQ                                     $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(66(YHU\SDWLHQWLVGLIIHUHQW
   4/HWPHDVNDEHWWHUTXHVWLRQ,Q\RXUSUDFWLFH      0RVWRIP\SDWLHQWVKDYHJHQGHUG\VSKRULD$OORIWKHP
   LVDIXOO'609JHQGHUG\VSKRULDGLDJQRVLVD                  KDYHDWUDQVJHQGHULGHQWLW\DQG,ZRXOGWUHDWHLWKHURI
   SUHFRQGLWLRQIRUSUHVFULELQJSXEHUW\EORFNHUVDVD            WKRVH
   WUHDWPHQWIRUJHQGHUG\VSKRULD"                               %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP            4,WKLQNWKLVTXHVWLRQFDQEHDQVZHUHG\HVRUQR
   7+(:,71(666RP\SDWLHQWVDUH               'R\RXSUHVFULEHFURVVVH[KRUPRQHVIRUVRPHSDWLHQWV
   HYDOXDWHGE\PHQWDOKHDOWKSURYLGHUVRXWVLGHWKHFOLQLF       ZKRGRQRWVXIIHUIURPJHQGHUG\VSKRULDDFFRUGLQJWRWKH
   DQGLQVLGHWKHFOLQLF7KHREMHFWLYHRIXVLQJSXEHUW\        '609FULWHULD"
   EORFNHUVFDQEHXVHGWRUHOLHYHG\VSKRULDDQGJLYHWKHP       $77251(<%25(//,2EMHFWLRQIRUP
   WLPHWRFRQVLGHUWKHLUJHQGHULGHQWLW\                       7+(:,71(66,GRQ WWKLQNVR,PHDQ
   %<$77251(<%522.6                                           JHQGHUDIILUPLQJKRUPRQHV,XVHKRUPRQHVIRUDORW
   4,Q\RXUSUDFWLFHLVDIXOOGLDJQRVHRIJHQGHU        RIGLIIHUHQWWKLQJV:KHWKHU\RXFDOOWKHPJHQGHU
   G\VSKRULDXQGHUWKH'609FULWHULDDSUHFRQGLWLRQIRU         DIILUPLQJRUQRWLV\RXNQRZZKDWLVNLQGRID



                                                                                      3DJHVWR
                                                                                                            Armistead App. 0781
                                                             3DJH                                                    3DJH
    WKLQJKHUH,PHDQIRUSHRSOHZLWK.OLQHIHOWHU VZKR                DERXWSD\LQJIRUWKDWVRUWRIWKLQJEHFDXVHWKH\GRQ W
    DUHFOLQLFDOO\VLJQLILFDQWO\GHSUHVVHGEHFDXVHWKH\KDYH               WKLQNLWLVDSSURSULDWHWRGR6R,FDQ WHYDOXDWHWKHP
    ORZWHVWRVWHURQH,SUHVFULEHWHVWRVWHURQHWRLPSURYH                  XQOHVVWKH\KDYHDV\PSWRPRIDQLQWHUVH[FRQGLWLRQ
    WKHLUPRRGWKHLUOLELGRWKHLUPXVFOHVWUHQJWK)RU                  7KRVHFDQSUHVHQWHYHQLQWR\RXUVDQGQRWEHHYLGHQW
    SHRSOHZKRKDYHG\VSKRULDRUZKRKDYHDWUDQVJHQGHU                    XQWLO\RXDUHWU\LQJWRJHWSUHJQDQW6R,WKLQNWREH
    LGHQWLW\,GRSUHVFULEHWKRVHPHGLFDWLRQV,WKLQN                   DFFXUDWHWKDW V
    WKDWWREHSUHFLVHLQP\DQVZHUV,FDQQRWVD\LWDVD                  47R\RXUNQRZOHGJHDOPRVWDOORIWKHFKLOGUHQ
    \HVRUQRDQVZHU                                                      WKDW\RXKDYHWUHDWHGIRUJHQGHUG\VSKRULDGLGQRWVKRZ
    4/HWPHDVN\RXWRWXUQWRSDUDJUDSKWHQRI\RXU               VLJQVRIDQ\LQWHUVH[FRQGLWLRQRUGLVRUGHURIVH[XDO
   UHSRUW7KHUH\RXVD\,KDYHWUHDWHGDSSUR[LPDWHO\               GHYHORSPHQW"
   WUDQVJHQGHUDQGLQWHUVH[\RXQJSHRSOHLQP\FDUHHU                   $77251(<%25(//,2EMHFWLRQIRUP
   'R\RXVHHWKDW"                                             7+(:,71(667REHVWRIP\NQRZOHGJH
   $1RWKDW VQRWKRZLW VZULWWHQ                             %<$77251(<%522.6
   4,DSRORJL]H,ZDVUHDGLQJWR\RXWKHVHFRQG                4/HWPHFDOO\RXUDWWHQWLRQWRSDJHWKUHHRI\RXU
   VHQWHQFHRISDUDJUDSKWHQDQG,EHOLHYH,UHDGWKDW                  UHSRUWZKLFKLVRQSDJHILYH$QG\RXVD\WKHUHLQWKH
                                                                     VHFRQGVHQWHQFHTXRWHDOORIP\SDWLHQWVKDYHVXIIHUHG
   $2ND\                                                        IURPSHUVLVWHQWJHQGHUG\VSKRULD
   , PVRUU\,ZDVVWDUWLQJDWWKHEHJLQQLQJ                 'R\RXVHHWKDW"
   4,XQGHUVWDQG                                                $8KKXK \HV 
   $<HV                                                         41RZ,MXVWGRQ WXQGHUVWDQGWKDWEHFDXVHDIHZ
   4$QGOHW VEUHDNWKDWRXW2IWKRVH                     PLQXWHVDJR\RXH[SODLQHGWRPHWKDWVRPHRI\RXU
   DSSUR[LPDWHO\KRZPDQ\VXIIHUHGIURPVRPHIRUPRI'6'"                SDWLHQWVVXIIHUIURPJHQGHUG\VSKRULDDQGVRPHRIWKHP
   $77251(<%25(//,2EMHFWLRQIRUP                    GRQ W6RFDQ\RXH[SODLQWRPHZKDW\RXPHDQWE\WKDW
   7+(:,71(666RWKHWKDW,NQRZRI               VWDWHPHQW"


                                                             3DJH                                                    3DJH
    EHFDXVHZHGRQ WHYDOXDWHHYHU\SHUVRQQHFHVVDULO\IRU                 $77251(<%25(//,2EMHFWLRQIRUP
    DQLQWHUVH[FRQGLWLRQSUREDEO\JRVKLW VKDUGWR                 7+(:,71(66<HDK,OHDUQPRUHDQG
    HVWLPDWH6R,WKLQNDWOHDVWLQP\FOLQLFDQGWKHQ                PRUHHYHU\GD\DERXWWKHSDWLHQWVZKRFRPHLQWRP\
    SUREDEO\LQWKHKRVSLWDODWOHDVWD\HDU$W                   FOLQLF,GLGVWDWHWKDWPRVWRIP\SDWLHQWVKDYH
    OHDVWRQHDPRQWKRUVR                                               JHQGHUG\VSKRULD,DPILQGLQJLQGLYLGXDOVFXUUHQWO\LQ
    %<$77251(<%522.6                                                    P\SUDFWLFHZKRDUHQ WQHFHVVDULO\WRWKHSRLQWRI
    42IWKHWUDQVJHQGHULQWHUVH[XDO\RXQJSHRSOH               KDYLQJWKDWFOLQLFDOO\VLJQLILFDQWFULWHULDWKDWLV
    WKDW\RXWUHDWHGLQ\RXUFDUHHUKRZPDQ\ZRXOG\RX                    PHQWLRQHGLQWKHIRUG\VSKRULDWKDWKDYHD
    HVWLPDWHVXIIHUHGIURPVRPHIRUPRIGLVRUGHURIVH[XDO                 WUDQVJHQGHULGHQWLILFDWLRQ7KHPDMRULW\,ZRXOGVD\GR
   GHYHORSPHQW"                                                          KDYHG\VSKRULD
   $77251(<%255(//,2EMHFWLRQIRUP                   %<$77251(<%522.6
   7+(:,71(662IIWKHWRSRIP\KHDG,                 4<RXZRXOGQRZVD\WKHPDMRULW\UDWKHUWKDQDOO"
   FDQWKLQNRIRQH,KDYHUHYLHZHGDUHIHUUDOIRUD                   $77251(<%25(//,2EMHFWLRQIRUP
   VHFRQGRQH*RVK:LWKWKDWPDQ\SDWLHQWVWKDW VWKH               7+(:,71(66,FDQ WWKLQNRI\HDK
   EHVW,FDQGR6RUU\                                                ,ZRXOGVD\WKHPDMRULW\7KHUHZRXOGEHDYHU\UDUH
   %<$77251(<%522.6                                                   LQVWDQFHDQGWKDW VZK\,PHQWLRQHGLWEHIRUH
   4$QG,WDNHLWWKHQWKDWWKHRYHUZKHOPLQJ                     $77251(<%25(//,&RXQVHOMXVWDTXLFN
   PDMRULW\DOPRVWDOOWKHFKLOGUHQWKDW\RXKDYHVHHQDQG              TXHVWLRQDERXWWLPLQJDQGDSRWHQWLDOEUHDNEHFDXVH
   WUHDWHGIRUJHQGHUG\VSKRULDGLGQRWVXIIHUIURPDQ\                  ZH YHEHHQJRLQJIRUDOLWWOHZKLOH
   GLVRUGHURIVH[XDOGHYHORSPHQW"                                       $77251(<%522.65LJKW, PLQFOLQHGWR
   $6RDWWKHWLPHRIP\HYDOXDWLRQRIWKHPWKH\                 JROLNHIURPP\H[SHULHQFHLI\RXVWRSHDUO\IRU
   ZHUHQ WVKRZLQJDQ\VLJQVRIDQLQWHUVH[FRQGLWLRQ,                OXQFKWKHQLW VDQDZIXOORQJDIWHUQRRQ6R, GEH
   GRQ WQHFHVVDULO\WHVWIRULQWHUVH[FRQGLWLRQVRQHYHU\               LQFOLQHGWRJRXQWLORUVRDQGWKHQEUHDNIRU
   SHUVRQWKDWFRPHVLQ,QVXUDQFHLVUHDOO\NLQGRIIXQQ\              OXQFK


                                                                                             3DJHVWR
                                                                                                     Armistead App. 0782
                                                 3DJH                                                         3DJH
    $77251(<%25(//,'RHVWKDWZRUNIRU            LVJLYLQJWKHPSV\FKRORJLFDOV\PSWRPVWKDWZHVHHZKLFK
    \RX":RXOG\RXOLNHDEUHDNQRZEHIRUHZHODWHUEUHDN          LVUHDOO\FRPPRQLQPHGLFLQH:HVHHORWVRIGLIIHUHQW
    IRUOXQFKRUZKDWLVEHVWIRU\RX'U$GNLQV"                  PHGLFDOFRQGLWLRQVFDXVHGSV\FKRORJLFDOV\PSWRPV,
    7+(:,71(66:HOOVLQFH, PQRWD              DOUHDG\PHQWLRQHGRQHZLWKK\SRWK\URLGLVP
    EUHDNIDVWHDWHU,ZRXOGSUHIHUWRJRDOLWWOHELW              4,QWKHRYHUZKHOPLQJQXPEHURIFDVHVWUDQVJHQGHU
    HDUOLHULIZHFDQ                                              LGHQWLILFDWLRQLVQRWDVVRFLDWHGZLWKDQ\SK\VLFDO
    $77251(<%522.6:HFDQGRLW,MXVW          GLVRUGHUWKDW\RXDVDGRFWRUKDYHEHFRPHDZDUHRI"
    ZDUQ\RXLWJHWVWREHDORQJDIWHUQRRQ                        $77251(<%25(//,2EMHFWLRQIRUP
    7+(:,71(66,XQGHUVWDQG                      7+(:,71(66, PVRUU\,JRW
   $77251(<%522.6/HWPHILQLVKXSWKH          GLVWUDFWHG&DQ\RXUHSHDWLW"
   OLQHRITXHVWLRQLQJ:HOOVKRXOGZHWDUJHWQRRQWR           %<$77251(<%522.6
   VWRSIRUOXQFK"                                                4<HV,QWKHRYHUZKHOPLQJPDMRULW\RISDWLHQWV
   7+(:,71(667KDW VILQH7KDQN\RX          WKDW\RXKDYHVHHQWKHWUDQVJHQGHULGHQWLW\LVQRW
   %<$77251(<%522.6                                            DVVRFLDWHGZLWKDQ\SK\VLFDOGLVRUGHUWKDW\RXDUHDZDUH
   4/HWPHWDNH\RXEDFNWRWKH(QGRFULQH6RFLHW\         RI
   VWDWHPHQWRQEDFNWRWKHELRORJLFDOYDULDEOHZKLFK        &RUUHFW"
   LV([KLELW,I\RXZRXOGILQGWKDWSOHDVH$QG, OO       $77251(<%25(//,2EMHFWLRQIRUP
   DVN\RXWRWXUQWRSDJHVHFRQGFROXPQWRZDUGVWKH         7+(:,71(66,PHDQ, PJRLQJWRQHHGD
   ERWWRPZLWKWKHKHDGLQJWKDWUHDGVELRORJLFDOEDVLVRI         PLQXWHWRWKLQNEHFDXVH,KDYHVHHQVRPDQ\SDWLHQWV
   GLYHUVLW\DQGVH[XDOJHQGHUGHYHORSPHQWDQGRULHQWDWLRQ       WKDW,GRQ W,JXHVVLWVRUWRIGHSHQGVRQKRZ\RX
   'R\RXVHHWKDW"                                      GHILQHWKDWULJKW,DPGLVWUHVVLVSK\VLFDODQG
   $,GR                                                 SV\FKRORJLFDO7KHGLIIHUHQFHLVSK\VLFDOLQWKDW
   4$QGLWUHDGVDWWKHEHJLQQLQJJLYHQWKH               WKH\ UHELRORJLFDOO\DVVLJQHGVH[DQGWKRVH
   FRPSOH[LWLHVRIWKHELRORJ\RIVH[XDOGHWHUPLQDWLRQDQG        FKDUDFWHULVWLFVDVVRFLDWHGDUHGLIIHUHQWIURPWKHLU


                                                 3DJH                                                         3DJH
    GLIIHUHQWLDWLRQFRPPDLWLVQRWVXUSULVLQJWKDWWKHUH         JHQGHULGHQWLW\6RLW VDELWRIDPL[WXUH
    DUHGR]HQVRIH[DPSOHVRIYDULDWLRQVRUHUURUVLQWKHVH         %<$77251(<%522.6
    SDWKZD\VDVVRFLDWHGZLWKJHQHWLFPXWDWLRQVWKDWDUHQRZ         40DQ\LQGLYLGXDOVZKRVXIIHUIURPGLVRUGHURI
    ZHOONQRZQWRHQGRFULQRORJLVWVDQGJHQHWLFLVWV,Q             VH[XDOGHYHORSPHQWGRQRWH[SHULHQFHJHQGHULGHQWLW\
    PHGLFLQHWKHVHVLWXDWLRQVDUHJHQHUDOO\WHUPHGGLVRUGHUV        WKDWLVGLVFRUGDQWZLWKWKHLUFKURPRVRPDOVH[
    RIVH[XDOGHYHORSPHQWRUGLIIHUHQFHVLQVH[XDO                  &RUUHFW"
    GHYHORSPHQWFORVHGTXRWH                                      $77251(<%25(//,2EMHFWLRQIRUP
    'R\RXVHHWKDW"                                       7+(:,71(666RPHGR\HV7KDWLVWUXH
    $<HV                                                   IRUVRPH
   41RZLQ\RXURSLQLRQDWUDQVJHQGHULGHQWLW\LV       %<$77251(<%522.6
   QRWDGLVRUGHU                                                40DQ\LQGLYLGXDOVZKRH[SHULHQFHDWUDQVJHQGHU
   $P,ULJKW"                                           LGHQWLW\, PVRUU\0DQ\LQGLYLGXDOVZKRVXIIHU
   $,WLVDQRUPDOYDULDWLRQLQP\RSLQLRQRIKXPD      IURPDGLVRUGHURIVH[XDOGHYHORSPHQWGRQRWH[SHULHQFH
   RIKXPDQVLQJHQHUDO                                      DJHQGHULGHQWLW\WKDWLVGLVFRUGDQWZLWKWKHLU
   4,W VQRWDPHQWDOGLVRUGHU"                           FKURPRVRPDOVH[
   $77251(<%25(//,2EMHFWLRQIRUP             &RUUHFW"
   7+(:,71(666R\RXNQRZWKH\KDYHLQ         $77251(<%25(//,2EMHFWLRQWRIRUP
   WKHSDVWLQFOXGHGLWLQWKH'60ZKLFKLVFDWHJRUL]HGDV       7+(:,71(666RWKHUH V\RXNQRZOLNH
   WKRVHVRUWVRIWKLQJV$VIDUDVOLNHSV\FKRORJLFDO          GLIIHUHQWYDULDWLRQV6RPHDUHPRUHOLNHO\WRKDYH
   WKHUH VVXFKRYHUODSEHWZHHQSV\FKRORJLFDODQGWKH            TXHVWLRQVDERXWWKHLUJHQGHULGHQWLW\WKDQRWKHUV,W
   SK\VLFDO,JXHVVWKHEHVWZRUG,FDQXVHEXWWKDW         YDULHVE\GLDJQRVLV
   LW VKDUGWRLW VKDUGWRVD\<RXNQRZ,WKLQN          %<$77251(<%522.6
   SHRSOHDUHPRYLQJPRUHWRZDUGVWKDWLWLVPRUHRID            42ND\
   PHGLFDOSUREOHPWKDWLVRFFXUULQJZLWKLQWKHSHUVRQWKDW       %XWP\TXHVWLRQLVDKLJKOHYHORQH,WLV


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0783
                                                 3DJH                                                         3DJH
    WUXHLVLWQRWWKDWPDQ\LQGLYLGXDOVZKRVXIIHUIURPD        $77251(<%25(//,2EMHFWLRQIRUP
    GLVRUGHURIVH[XDOGHYHORSPHQWGRQRWH[SHULHQFHJHQGHU         7+(:,71(66,GRQ WNQRZ%3-,
    LGHQWLW\WKDWLVGLVFRUGDQWZLWKWKHLUFKURPRVRPDOVH["         KDYHQRWHYDOXDWHG%3-,FDQ WVD\WKDWDERXW
    $77251(<%25(//,2EMHFWLRQIRUP              %3-
    7+(:,71(66,QWKHPHGLFDOOLWHUDWXUH          %<$77251(<%522.6
    WKHUHSRUWVYDU\6RPHRIWKHFRQGLWLRQVDUHRIWKHP        4$QGLQIDFW\RXGRQ WNQRZZKHWKHUDQ\FKLOG
    WKHLULGHQWLW\PDWFKHVZLWKWKHLUFKURPRVRPDOVH[DQGLQ        ZKRLVFKURPRVRPDOO\;<EXWVXIIHUVIURPDGLVRUGHURI
    VRPHFDVHVLW VOLNHWRSHUFHQW                          VH[XDOGHYHORSPHQWKDVHYHUVRXJKWWRFRPSHWHLQIHPDOH
    %<$77251(<%522.6                                             DWKOHWLFVLQ:HVW9LUJLQLDGR\RX"
   4$QGDV\RXKDYHWHVWLILHGPDQ\LQGLYLGXDOVZKR       $77251(<%25(//,2EMHFWLRQWRIRUP
   H[SHULHQFHWUDQVJHQGHULGHQWLW\GRQRWVXIIHUIURPDQ\         7+(:,71(667KHUHDUHVRPDQ\SHRSOH
   LGHQWLILHGGLVRUGHUVRIVH[XDOGHYHORSPHQW"                    ZKRKDYHFRPSHWHGRUWULHGWRFRPSHWHRYHUWKH\HDUV,
   $77251(<%25(//,2EMHFWLRQIRUP             KDYHQRWVHHQDGRFXPHQWDWLRQVSHFLILFDOO\RI:HVW
   7+(:,71(66,DQVZHUHGWKDWTXHVWLRQ          9LUJLQLD,W VFRPPRQLQDWKOHWLFV
   DOUHDG\\HDK                                                 %<$77251(<%522.6
   %<$77251(<%522.6                                            4<RXDUHQRWDZDUHRIDVLQJOHFDVHWKDWKDVHYHU
   47KHDQVZHULV\HV"                                    RFFXUUHGLQ:HVW9LUJLQLDRIDFKURPRVRPDOO\;<FKLOG
   $<HV,DQVZHUHGWKHTXHVWLRQDOUHDG\                 VHHNLQJWRFRPSHWHLQIHPDOHDWKOHWLFVEDVHGRQD
   4)RUFODULW\,ZRXOGOLNH\RXWRDQVZHULWDJDLQ      OHWPHDVNWKDWTXHVWLRQDJDLQ<RX UHQRWDZDUHRIDQ\
   $77251(<%25(//,2EMHFWLRQIRUP             VSHFLILFLQVWDQFHLQZKLFKDQ;FKURPRVRPDOO\;<
   7+(:,71(66&DQ\RXUHSHDWLWWKHQ"           FKLOGZKRVXIIHUVIURPDGLVRUGHURIVH[XDOGHYHORSPHQW
   %<$77251(<%522.6                                            KDVVRXJKWWRFRPSHWHLQIHPDOHDWKOHWLFVLQ:HVW
   4<HV0DQ\LQGLYLGXDOVZKRH[SHULHQFHD               9LUJLQLDXSWRWKHSUHVHQW"
   WUDQVJHQGHULGHQWLW\GRQRWVXIIHUIURPDQ\NQRZQ              $77251(<%25(//,2EMHFWLRQWRIRUP


                                                 3DJH                                                         3DJH
    GLVRUGHURIVH[XDOGHYHORSPHQW"                                 7+(:,71(666RVRPHSHRSOHGLHZLWK
    $77251(<%25(//,2EMHFWLRQIRUP              FKURPRVRPHV;<DQGORRNFRPSOHWHO\IHPDOHDQGQHYHU
    7+(:,71(66,QP\H[SHULHQFHWKDWLV           NQHZ6R,FDQ WVD\WKDWDQ\RQHFRXOGGHILQLWHO\VD\
    WUXH                                                           WKDWLQFOXGLQJP\VHOI
    %<$77251(<%522.6                                             %<$77251(<%522.6
    4<RXKDYHQRNQRZOHGJHDVWRWKHQXPEHURI              4:HOOP\TXHVWLRQZDV\RXDUHQRWDZDUHRIDQ\
    FKLOGUHQZKRVXIIHUIURPDGLVRUGHURIVH[XDO                   FDVHRIDQ;<LQGLYLGXDOZKRVXIIHUHGIURPDGLVRUGHURI
    GHYHORSPHQWZKRSUHVHQWO\DWWHQGVFKRROVRUFROOHJHVLQ         VH[XDOGHYHORSPHQWVHHNLQJWRFRPSHWHLQIHPDOH
    :HVW9LUJLQLDGR\RX"                                          DWKOHWLFVLQ:HVW9LUJLQLD
   $77251(<%25(//,2EMHFWLRQIRUP             5LJKW"
   7+(:,71(66,FDQRQO\UHO\RQWKH            $77251(<%25(//,2EMHFWLRQWRIRUP
   SUHYDOHQFHWKDW VUHFRUGHGLQWKHPHGLFDOOLWHUDWXUHDQG       7+(:,71(66&RUUHFW
   WKHQDVVXPHWKDW:HVW9LUJLQLDKDVWKHSRSXODWLRQEDVH         %<$77251(<%522.6
   WKDWLVVLPLODUWRWKRVHPHGLFDOUHSRUWV                      4$QGVROHWPHDVN\RXDVXEVWDQWLDOSRUWLRQ
   %<$77251(<%522.6                                            RI\RXUH[SHUWUHSRUWJRHVLQWRDOOVRUWVRIGHWDLO
   4<RX\RXUVHOIGRQ WKDYHDQ\DFWXDONQRZOHGJH        DERXWGLVRUGHUVRIVH[XDOGHYHORSPHQW
   HLWKHUZD\RQWKDW                                            &RUUHFW"
   &RUUHFW"                                              $&RUUHFW
   $77251(<%25(//,2EMHFWLRQIRUP             4,Q\RXUXQGHUVWDQGLQJZKDWLVWKHSRLQW":KDW
   7+(:,71(66,KDYHQRWEHHQJLYHQD           GRHVWKDWKDYHWRGRZLWKDQ\RSLQLRQ\RXDUHRIIHULQJ
   OLVWRIWKHQXPEHURILQGLYLGXDOVQR                         DERXWLVVXHVLQWKLVFDVH"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4$QG\RXDUHQRWRSLQLQJWKDW%3-VXIIHUVIURP      7+(:,71(666RWKHIRONVZKRKDYH
   DQ\GLVRUGHURIVH[XDOGHYHORSPHQWDUH\RX"                   GLIIHUHQFHVRIVH[GHYHORSPHQWKDYHUHDOO\EHHQRXUWRRO


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0784
                                                 3DJH                                                        3DJH
    ZLWKLQPHGLFLQHWRXQGHUVWDQGJHQGHULGHQWLW\DQGKRZLW        LVXQUHDVRQDEOHWRWKHH[WHQWWKDWLWSUHYHQWVHYHQD
    GHYHORSHGRYHUWLPHHVSHFLDOO\ZKHQWKHUHPD\EHVRPH          VLQJOHWUDQVJHQGHU\RXWKIURPSOD\LQJLQDGLYLVLRQ
    GLIIHUHQFHLQWKHHIIHFWVRIWKHFKURPRVRPHVWKH               FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"
    KRUPRQDOH[SUHVVLRQDQGWKHELRORJLFDOH[WHUQDO                 $77251(<%25(//,2EMHFWLRQIRUP
    UHSURGXFWLYHJHQLWDOLD$QGLWHOLFLWVNLQGRI             7+(:,71(66, PVRUU\7KDWZDVQ W
    VKRZVXVWKDWWKHUHFDQEHVRPHYDULDWLRQVWKDWLGHQWLW\        FOHDU&DQ\RX"
    WKDW\RXPLJKWKDYH, PVRUU\VH[WKDW\RXPLJKW           %<$77251(<%522.6
    DVVLJQDWELUWKEDVHGRQRQHRIWKHVHFDWHJRULFDOWKLQJV        4$UH\RXRIIHULQJDQRSLQLRQWKDWWKH:HVW
    RUDPL[WXUHRIWKHPPD\QRWEHH[DFWO\ZKDWDSHUVRQ           9LUJLQLDODZLVXQUHDVRQDEOHWRWKHH[WHQWLWSUHYHQWV
   LGHQWLILHVDWELUWK                                           HYHQDVLQJOHWUDQVJHQGHU\RXWKIURPSOD\LQJLQWKH
   )RUH[DPSOHWKHUHDUHLQGLYLGXDOVZKR          GLYLVLRQFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"
   DUHERUQZKRQHYHUKDGDQ\KRUPRQHVWKH\GRQ WKDYH           $77251(<%25(//,2EMHFWLRQIRUP
   H[WHUQDOJHQLWDOLDDWDOOZKHQWKH\ UHERUQDQGVRKRZ        7+(:,71(66<HV
   GR\RXGHFLGHZKDWVH[WRDVVLJQWKDWSHUVRQDQGWKXV          %<$77251(<%522.6
   ZKDWJHQGHUWRDVVLJQWKDWSHUVRQDQGVRLWLW            4$UH\RXRIIHULQJDQRSLQLRQWKDW:HVW9LUJLQLD
   KHOSVXVXQGHUVWDQGWKDWWKHUHDUHORWVRIGLIIHUHQW           GRHVQRWKDYHDVWURQJLQWHUHVWLQHQVXULQJIDLUDQG
   WKLQJVWKDWJRLQWRGHWHUPLQLQJDJHQGHULGHQWLW\DQG          VDIHFRPSHWLWLRQIRUIHPDOHVLQWKHLUVFKRROVDQG
   \RXPD\QRWNQRZLWULJKWDWELUWKFHUWDLQO\QRWDW           XQLYHUVLWLHV"
   FRQFHSWLRQEXW\RXPD\EHJLQWRXQGHUVWDQGLWDVWKH          $77251(<%25(//,2EMHFWLRQIRUP
   SHUVRQJURZVROGHU                                            7+(:,71(66,WKLQNWKDWZRXOGUHTXLUH
   $QGVRLW VLPSRUWDQWWRNQRZWKDW              PHWRKDYHWR\RXNQRZWDONZLWKWKHPDERXWWKDWDQG
   EHFDXVHZKHQWKHUHDUHGLIIHUHQFHVEHWZHHQWKRVHWZR           XQGHUVWDQGDOLWWOHELWEHWWHU,ZRXOGKRSHLWZRXOG
   WKLQJVLWFDQFDXVHVLJQLILFDQWGLVWUHVVDQGKDUPWRWKH       EHHYHU\RQHWKDWWKH\ZHUHWU\LQJWRNHHSVDIH
   LQGLYLGXDODVWKH\JHWROGHULIWKRVHWZRDUHQRW              %<$77251(<%522.6


                                                 3DJH                                                        3DJH
    PDWFKLQJ                                                       4$UH\RXRIIHULQJDQRSLQLRQWKDW:HVW9LUJLQLD
    %<$77251(<%522.6                                             ODZLVQRWDUHDVRQDEOHPHDVXUHWRHQVXUHIDLUDQGVDIH
    4/HWPHWDNH\RXWRSDUDJUDSKRI\RXUH[SHUW         FRPSHWLWLRQIRUIHPDOHVLQVFKRROVDQGFROOHJHV"
    UHSRUW$WWKHHQGRIWKDWSDUDJUDSK\RXVWDWH,NQRZ          $77251(<%25(//,2EMHFWLRQIRUP
    IURPH[SHULHQFHZLWKP\SDWLHQWVWKDWLWFDQEH                 7+(:,71(66$JDLQWKHODQJXDJHLV
    H[WUHPHO\KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHG          LW VQRWUHDOO\FOHDUZLWKWKHIHPDOHZKRXVHVWKHZRUG
    IURPWKHWHDPFRQVLVWHQWZLWKWKHLUWUDQVJHQGHU                 IHPDOH,W VOLNHXVLQJWKHZRUGVH[,W VMXVWQRW
    LGHQWLW\'R\RXVHHWKDW"                                     FOHDU
    $,WDFWXDOO\VD\VZLWKWKHLUJHQGHULGHQWLW\           %<$77251(<%522.6
   4,I,PLVVSRNH,DSRORJL]H)RUWKHUHFRUGOHW      4'U$GNLQV,XVHGWKHZRUGIHPDOHEHFDXVH
   PHMXVWGRLWDJDLQ4XRWH,NQRZIURPH[SHULHQFHZLWK       HDUOLHULQRQHRIWKHVHSDSHUVZKHUHLWVDLGZRPDQ\RX
   P\SDWLHQWVWKDWLWFDQEHH[WUHPHO\KDUPIXOIRU               VDLGLWZRXOGZRUNLIWKH\VDLGIHPDOHDVDVH[
   WUDQVJHQGHU\RXWKWREHH[FOXGHGIURPWKHWHDP                 LQGLFDWRUWREHGLVWLQJXLVKHGIURPJHQGHULGHQWLW\
   FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\FORVHGTXRWH           'R\RXUHFDOOWKDWWHVWLPRQ\"
   'R\RXVHHWKDWODQJXDJH"                             $,GR
   $,GR                                                 4/HWPHDVNWKHTXHVWLRQDJDLQXVLQJWKHWHUP
   4/HWPHMXVWDVNZHUH\RXDYDUVLW\KLJKVFKRRO        IHPDOHLQWKHZD\WKDW\RXPHDQWLQWKDWHDUOLHU
   RUFROOHJHDWKOHWH\RXUVHOI"                                   WHVWLPRQ\$UH\RXRIIHULQJDQRSLQLRQWKDWWKH:HVW
   $77251(<%25(//,2EMHFWLRQIRUP             9LUJLQLDODZLVQRWDUHDVRQDEOHPHDVXUHWRHQVXUHIDLU
   7+(:,71(66,ZDV                            DQGVDIHFRPSHWLWLRQIRUIHPDOHVLQVFKRROVDQGFROOHJHV
   %<$77251(<%522.6                                            LQ:HVW9LUJLQLD"
   41RZOHWPHDVNZKDW\RXXQGHUVWDQGWREHWKH         $77251(<%25(//,2EMHFWLRQIRUP
   VLJQLILFDQFHRIWKDWVWDWHPHQWWKDWLVDUH\RXRIIHULQJ       7+(:,71(666<HV
   DQRSLQLRQLQWKLVOLWLJDWLRQWKDWWKH:HVW9LUJLQLDODZ       %<$77251(<%522.6


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0785
                                                3DJH                                                         3DJH
    4&DQ\RXWHOOPHWKHH[DPSOHVWKDW\RXKDGLQ          REMHFWLRQ
    PLQGZKHQ\RXVDLG,NQRZIURPH[SHULHQFHWKDWLWFDQEH       $1RUWK&DUROLQDLQIRUWKLVSDUWLFXODU
    H[WUHPHO\KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHG         SDWLHQWWKUHH\HDUVDJR,KDYHSDWLHQWVWKDWFRPHLQ
    IURPWKHWHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"           HYHU\GD\ZKRWKLVDSSOLHV
    $,FDQ                                                4'U$GNLQVJLYHQWKDW\RX UHWHVWLI\LQJXQGHU
    43OHDVHGR                                            RDWKDQGWU\LQJWREHDFFXUDWHLVLWWUXHWKDW\RXKDYH
    $,KDYHSDWLHQWVZKRKDYHSDUWLFLSDWHGLQVSRUWV       SDWLHQWVFRPHLQHYHU\GD\WKDWWKLVDSSOLHVWR"
    ZLWKWKHWHDPVWKDWWKH\LGHQWLI\DV7KHLUIHOORZ            $77251(<%25(//,2EMHFWLRQIRUP
    VWXGHQWVRQO\NQRZWKHPDVWKHJHQGHUWKDWWKH\LGHQWLI\       %<$77251(<%522.6
   ZLWKDQGWKDWWKH\H[SUHVV,IWKH\ZHUHDVNHGWR            4$UHQ WZHJHWWLQJDOLWWOHFDUULHGDZD\KHUH"
   SDUWLFLSDWHRQDWHDPWKDWPDWFKHGWKHLUVH[DVVLJQHGDW      $77251(<%25(//,2EMHFWLRQIRUP
   ELUWKWKHQWKHVHLQGLYLGXDOVZRXOGIRURQHZRXOGEH        7+(:,71(66,GROLNHWREHSUHFLVH
   RQWKHER\V WHDPDQGWKHQHYHU\RQHLQVFKRROZRXOGNQRZ      %<$77251(<%522.6
   WKDWWKH\ZHUHWUDQVJHQGHU7KH\GRQ WKDYHWRNQRZ          47KDQN\RX
   WKDW,WLVQRWDQ\RIWKHLUEXVLQHVV                       $,QFOLQLFPRVWGD\VZKHQ, PLQFOLQLF,VHHD
   2QFHWKH\DUHLGHQWLILHGDVWUDQVJHQGHUWKH\        SDWLHQWZKRGRHVQ WSDUWLFLSDWHLQDWKOHWLFVEHFDXVHRI
   DUHDWKLJKULVNIRUEHLQJEXOOLHGKDUDVVHGVH[XDOO\        WKHUHTXLUHPHQWWKDWWKH\JRWRSDUWLFLSDWHLQDQDUHD
   DVVDXOWHGDQGOHDYLQJVFKRROZKLFKOHDGVWRSRRUMREV      WKDWLVIRUWKHLUDVVLJQHGVH[DWELUWK0RVWGD\V, P
   SRRULQVXUDQFHKRPHOHVVQHVV7KHUHDUHDQ\QXPEHURI        LQDJHQGHUFOLQLF
   UHDVRQVWKDW,ZRXOGZDQWP\SDWLHQWWREHDEOHWR            4$QGZKDW\RXVWDWHLQ\RXUGRFXPHQWLQ\RXU
   SDUWLFLSDWHRQWKHWHDPWKDWLGHQWLILHVZLWKWKHLU            UHSRUWKHUHLVWKDW\RXNQRZIURPH[SHULHQFHWKDWEHLQJ
   JHQGHULGHQWLW\WRNHHSWKHPKHDOWK\                         H[FOXGHGIURPWKHWHDPFRQVLVWHQWZLWKWKHLUJHQGHU
   4'U$GNLQV\RXUDQVZHUVDLGLIWKH\ZHUH            LGHQWLW\FDQEHTXRWHH[WUHPHO\KDUPIXOWRWUDQVJHQGHU
   UHTXLUHGWRSOD\RQWKHWHDPFRUUHVSRQGLQJWRWKHLU, OO      \RXWK<RXKDYHGHVFULEHGWRPHVWXGHQWVZKRFKRRVHQRW


                                                3DJH                                                         3DJH
    VD\FKURPRVRPDOVH[WKHLUQDWDOVH[ZKLFKVXJJHVWV\RX       WRSDUWLFLSDWHLQDWKOHWLFV%H\RQGWKDWFDQ\RXJLYH
    KDYHQRWDFWXDOO\VHHQLWKDSSHQ,VWKHUHDVLQJOH           PHH[DPSOHVRIH[WUHPHKDUPWKDWKDVUHVXOWHGIURPVXFK
    FDVH\RXFDQSRLQWPHWRLQZKLFK\RXKDYHREVHUYHGD          SROLFLHV"
    SDWLHQWKDUPHGE\EHLQJH[FOXGHGIURPWKHWHDP                 $77251(<%25(//,2EMHFWLRQIRUP
    FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"                         7+(:,71(66<RXNQRZVRPHRIWKDW
    $<HV                                                  ZRXOGUHTXLUHDELWRIVSHFXODWLRQEHFDXVH,ZRXOGQ W
    4&DQ\RXWHOOPHWKDWDUHD"                            NQRZZKDWZRXOGKDSSHQWRWKRVHLQGLYLGXDOVLIWKH\
    $77251(<%25(//,2EMHFWLRQIRUP             UHPDLQLQWKHVSRUW
    7+(:,71(66:HOORQHRIP\SDWLHQWV          %<$77251(<%522.6
   ZKRKDGEHHQRQPLGGOHVFKRROVSRUWVWHDPVWKDWPDWFKHG       4, PQRWDVNLQJ\RXWRVSHFXODWH
   WKHLUJHQGHULGHQWLW\ZDVWKHQDVNHGWRFKDQJH$QG          $6RFDQ\RXUHDVNWKHTXHVWLRQVR,FDQNLQGRI
   WKH\GLGQ WIHHOFRPIRUWDEOHJRLQJZLWKWKHRWKHU             ILJXUHRXWKRZWRDQVZHULWEHWWHU
   LQGLYLGXDOVEHFDXVHWKHLULGHQWLW\ZRXOGEHGLVFRYHUHG       4, OOUHDVNLWDQGPD\EHWKDW\RX UHQRWDEOHWR
   WKHLULQGLYLGXDOVZRXOGNQRZWKDWWKH\ZHUH               DQVZHULWEXWFDQ\RXLGHQWLI\IRUPHVSHFLILFH[WUHPH
   WUDQVJHQGHU1RRQHDWWKHWLPHNQHZDQGVWLOOWRWKLV       KDUPWKDWLQGLYLGXDOSDWLHQWVKDYHVXIIHUHGDVDUHVXOW
   GD\GRQ WNQRZEHFDXVHWKH\FKRVHQRWWRSDUWLFLSDWH          RIQRWEHLQJDEOHWRSDUWLFLSDWHLQWKHWHDPFRQVLVWHQW
   UDWKHUWKDQEHRQWKHWHDPWKDWGLGQ WPDWFKWKHLU            ZLWKWKHLUJHQGHULGHQWLW\"
   JHQGHULGHQWLW\                                              $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(666R,KDYHKDGSDWLHQWVZKR
   4$QGZKHQDQGZKDWVWDWHGLGWKHVHHYHQWVRFFXU"      KDYHQRORQJHUSDUWLFLSDWHGLQVSRUWVJDLQHGZHLJKW
   $1RUWK&DUROLQD                                      EHFRPHREHVHDQGGHYHORSHGW\SHWZRGLDEHWHV,KDYH
   $77251(<%25(//,2EMHFWLRQWRIRUP          VHHQWKDWDURXQG,FDQWKLQNRIDWOHDVWWZR
   %<$77251(<%522.6                                           H[DPSOHV$QGWKHQ\RXNQRZWKDW VDFKURQLFOLIH
   47KDW VZKHUHZKHQ"7KDW V\RXU&RXQVHO V           ORQJGLVHDVHWKDWFDQOHDGWRDPSXWDWLRQDQGDOONLQGV


                                                                                     3DJHVWR
                                                                                                    Armistead App. 0786
                                                 3DJH                                                        3DJH
    RIRWKHUKDUPV$QGOHW VVHHZKDWRWKHUWKLQJV             UHFHQWO\WKH1&$$SROLF\IRUDGHFDGHDWWKHFROOHJLDWH
    ,KDYHVHHQSDWLHQWVZLWKZKRZHUHQR       OHYHOZDVWKDW;;;<LQGLYLGXDOVPDOHVWRXVHWKDW
    ORQJHUKDSS\DWWKHLUVFKRRODQGEHFDXVHWKHWLPHWKDW         WHUPLQRORJ\FRXOGFRPSHWHEDVHGRQJHQGHULGHQWLW\LQ
    WKH\ZHUHLGHQWLILHGDVWUDQVJHQGHUZHUHDVNHGWROHDYH        ZRPHQ VGLYLVLRQVRQO\DIWHUWKH\KDGVXSSUHVVHG
    WKHLUVSRUWWKHLUIULHQGJURXSVFKDQJHG$QG\RXNQRZ       WHVWRVWHURQHIRUDWOHVWD\HDU"
    LW VWRXJKLQVFKRRO7KHUHDUHNLGVZKRKDYHDQG         $77251(<%25(//,2EMHFWLRQIRUP
    WKDWNLQGRIFDQSXVKWKHPGRZQWKHVORSHRIVXLFLGDO          7+(:,71(66,GRQ WNQRZWKHGHWDLOVRI
    LGHDWLRQDQGGHSUHVVLRQDQGWKRVHVRUWVRIWKLQJV,          1&$$,MXVWGRQ W
    PHDQ,KDYHWRWKLQNORQJHUIRURWKHUH[DPSOHV7KRVH        %<$77251(<%522.6
   DUHWZR                                                      4$UH\RXDZDUHJHQHUDOO\WKDWVRPHDWKOHWLF
   %<$77251(<%522.6                                           OHDJXHVKDYHDUHTXLUHPHQWWKDWELRORJLFDOPDOHVPD\
   45DWKHUWKDQVWDUWLQJVRPHWKLQJHOVHVKRXOGZH       FRPSHWHLQZRPHQ VDWKOHWLFVEDVHGRQJHQGHULGHQWLW\
   EUHDNQRZIRUOXQFK"                                          RQO\DIWHUVXSSUHVVLQJWHVWRVWHURQHIRUVRPHSHULRGRI
   $77251(<%25(//,7KDWZRUNV                 WLPH"
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH      $77251(<%25(//,2EMHFWLRQIRUP
   FXUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH          7+(:,71(66,KDYHKHDUGWKDWWKHUHDUH
   2))9,'(2                                                     LQGLYLGXDOVZKRDUHDOORZHGWRSDUWLFLSDWHEDVHGRQ
                                   WKHLUJHQGHULGHQWLW\DQGWKDWWKHUH VVRPHFRPPHQW
    :+(5(8321$3$86(,17+(5(&25':$6+(/'                   DERXWKRUPRQHVXSSUHVVLRQ
                                   %<$77251(<%522.6
   219,'(2                                                      4$QGGR\RXKDYHFROOHJHDJHWUDQVJHQGHUSDWLHQWV
   9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG       \RXUVHOI"
   &XUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH          $,GR
   %<$77251(<%522.6                                           4'RHV\RXUVWDWHPHQWWKDWZHORRNHGDWLQ


                                                 3DJH                                                        3DJH
    42ND\                                                 SDUDJUDSKRI\RXUUHSRUWWKDWLWFDQEHH[WUHPHO\
    'U$GNLQVZHOFRPHEDFNIURPOXQFK2QZHJR       KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHGIURPWKH
    :H UHJRLQJWRKDYHDORQJDIWHUQRRQ/HWPHPDUNDV          WHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\KROGWUXHLQ
    ([KLELWZKDWZHKDYHSUHYLRXVO\LGHQWLILHGDVWDE       \RXURSLQLRQDWWRFROOHJLDWHOHYHO"$QG,ZDVTXRWLQJ
    ZKLFKLVDQDUWLFOHGDWHG-DQXDU\IURPWKH            IURPSDUDJUDSK
    :DVKLQJWRQ3RVWHQWLWOHG$7UDQVJHQGHU&ROOHJH6ZLPPHU         $77251(<%25(//,7RFODULI\\RXMXVW
    LV6KDWWHULQJ5HFRUGV6SDUNLQJD'HEDWH2YHU)DLUQHVV        VDLGSDUDJUDSK"
                                     $77251(<%522.6,WLVSDUDJUDSK,
     :KHUHXSRQ$GNLQV([KLELW          DSRORJL]H
   :DVKLQJWRQ3RVW$UWLFOHZDVPDUNHGIRU       $77251(<%25(//,7KDQN\RX,FDQ W
   LGHQWLILFDWLRQ                               UHPHPEHULI,ORGJHGDQREMHFWLRQ2EMHFWLRQWRIRUP
                                   7+(:,71(66$QGWKHTXHVWLRQZDV"
   %<$77251(<%522.6                                           %<$77251(<%522.6
   4'U$GNLQVOHWPHMXVWDVNJHQHUDOO\\RX UH        47KHTXHVWLRQZDVGRHV\RXUDVVHUWLRQLQ
   DZDUHRIUHFHQWHYHQWVLQWKHQHZVLQYROYLQJ/HDK             SDUDJUDSKRI\RXUUHSRUWWKDW\RXNQRZIURP
   7KRPDV VFRPSHWLWLRQLQ1&$$VZLPPLQJ                        H[SHULHQFHWKHSDWLHQWVWKDWLWFDQEHH[WUHPHO\
   &RUUHFW"                                             KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHGIURPWKH
   $77251(<%25(//,2EMHFWLRQIRUP            WHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\DSSO\WR
   7+(:,71(66,DPDZDUHRIYDULRXV            FROOHJHDJHLQGLYLGXDOVDVZHOODVKLJKVFKRRORU
   SLHFHVRIWKDW                                               \RXQJHULQGLYLGXDOV"
   %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQIRUP
   4$QG, PQRWJRLQJWRWU\WRWXUQ\RXLQWRDQ         7+(:,71(66,QP\H[SHULHQFHWKDW
   H[SHUWRQ/LD7KRPDVEXW\RX UHMXVWDZDUHRIWKDW           \HV
   QDUUDWLYH$UH\RXJHQHUDOO\DZDUHWKDWDWOHDVWXQWLO       %<$77251(<%522.6


                                                                                     3DJHVWR
                                                                                                    Armistead App. 0787
                                                3DJH                                                         3DJH
    4'R\RXKDYHDQ\RSLQLRQDVWRZKHWKHUDSROLF\        7+(:,71(66,WKLQN\RXPLVXQGHUVWRRG
    WKDWUHTXLUHVELRORJLFDOO\PDOHDWKOHWHVWRVXSSUHVV           WKHDQVZHUWKDW,JDYH,WZRXOGUHDOO\GHSHQGRQD
    WHVWRVWHURQHIRUDFHUWDLQSHULRGRIWLPHRUWRD              VSHFLILFFDVH
    FHUWDLQOHYHORIWHVWRVWHURQHSULRUWRFRPSHWLQJLQ            %<$77251(<%522.6
    ZRPHQ VRUJLUOV DWKOHWLFVLVUHDVRQDEOHRU                   4:HOOOHW VORRNDWDVSHFLILFFDVH,KDYHSXW
    XQUHDVRQDEOH"                                                  LQIURQWRI\RX([KLELWWKLV:DVKLQJWRQ3RVWDUWLFOH
    $77251(<%25(//,2EMHFWLRQIRUP             IURP-DQXDU\DERXW/LD7KRPDVZKRDFFRUGLQJ
    7+(:,71(666R\RX UHDVNLQJPHLI           WRWKHKHDGOLQHLVVKDWWHULQJUHFRUGV/HWPHDVN\RX
    WKDW VP\RSLQLRQ", PVRUU\&RXOG\RXMXVWUHSHDW          WRWXUQLQWKDWDUWLFOHWRSDJHWKUHH$QGWKHUHLW
   WKHTXHVWLRQ"                                                 LIZHORRNDWWKHWKLUGSDUDJUDSKWKHRQHWKDWEHJLQV
   %<$77251(<%522.6                                           KHUIDVWHVW\DUGIUHHVW\OHDQGWKHVHFRQGVHQWHQFH
   4'R\RXKDYHDQRSLQLRQGR\RXKDYHDQ            RUWKHWKLUGVHQWHQFHVD\VWKDW VWKHIDVWHVWWLPH
   RSLQLRQDVWRZKHWKHUDSROLF\WKDWUHTXLUHV                  E\DQ\IHPDOHFROOHJHVZLPPHUWKLV\HDUVHFRQGV
   ELRORJLFDOO\PDOHDWKOHWHVWRVXSSUHVVWHVWRVWHURQH           IDVWHUWKDQ2O\PSLDQ7RUUL+XVNH$QGLWFRQWLQXHV
   HLWKHUIRUDFHUWDLQSHULRGRIWLPHRUGRZQWRDFHUWDLQ      TXRWH7KRPDVKDVDOVRSRVWHGWKHQDWLRQ VEHVW\DUG
   OHYHOEHIRUHWKH\FDQEHHOLJLEOHWRFRPSHWHLQZRPHQ V       IUHHVW\OHWLPHGWKLVVHDVRQDWIRXUPLQXWHV
   DWKOHWLFVEDVHGRQJHQGHULGHQWLW\LVUHDVRQDEOHRU           VHFRQGVQHDUO\WKUHHVHFRQGVIDVWHUWKDQ2O\PSLDQ
   XQUHDVRQDEOH"                                                 %URRNH)RUGH
   $77251(<%25(//,2EMHFWLRQIRUP            'R\RXVHHWKDW"
   7+(:,71(66,WJHWVWULFN\,DP        $8KKXK \HV 
   \RXNQRZZKHQ\RXVWDUWWKURZLQJLQVRUWRISHRSOHZLWK      4$QGWKHVHUHFRUGVZHUHVHWDIWHU/LD7KRPDVKDG
   3&26DQGSHRSOHZLWKLQWHUVH[FRQGLWLRQVDQGLWJHWV      TXDOLILHGXQGHUWKH1&$$UHTXLUHPHQWRIWHVWRVWHURQH
   WULFN\6RLW VKDUGHUIRUPHWRDQVZHU                     VXSSUHVVLRQIRURQH\HDU6RP\TXHVWLRQRQWKH
   ,WKLQNWKHTXHVWLRQZDVGR,KDYHDQ          VSHFLILFVSRUWIRU\RXLVLVLW\RXUYLHZWKDWDSROLF\


                                                3DJH                                                         3DJH
    RSLQLRQLILW VUHDVRQDEOHRUQRWUHDVRQDEOH",VWKDW         WKDWSHUPLWV7KRPDVWRFRPSHWHLQWKHZRPHQ VGLYLVLRQ
    WKHTXHVWLRQ"                                                  DJDLQVWFRPSHWLWRUVZKRDUHELRORJLFDOO\IHPDOHLVIDLU"
    %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
    47KDWLV                                              7+(:,71(666R\RXZLOOQRWHLQWKH
    $2ND\                                                 SDUDJUDSKDERYHLWDOVRVD\VWKDWKHUWLPHVORZHGGRZQ
    ,QVRPHFDVHVLWPLJKWEHUHDVRQDEOHDQGVRPH         RQFHVKHKDGWKLVKDSSHQHGDQGVKHZDVVXSSUHVVLQJKHU
    FDVHVLWPLJKWQRWEHUHDVRQDEOH                              WHVWRVWHURQH<RXNQRZ,,GRQ WZDQWWRXVHWKDW
    4,IZHSXWRQRQHVLGHDQGH[FOXGHIURP                ZRUG7KHUHDUHVRPDQ\WKLQJVWKDWJRLQWRDWKOHWLF
    FRQVLGHUDWLRQLQGLYLGXDOVZKRVXIIHUIURPDQ\IRUPRI          SHUIRUPDQFHDQG\RXUWLPHWKDW VQRWWRWDOO\UHODWHGWR
   GLVRUGHURIVH[XDOGHYHORSPHQWGR\RXEHOLHYHWKDWD         \RXUVH[DVVLJQPHQWDWELUWKRU\RXUFXUUHQWKRUPRQDO
   SROLF\WKDWUHTXLUHVELRORJLFDOO\PDOHDWKOHWHVWR            VWDWXVSUDFWLFH\RXNQRZWUDLQLQJZKHWKHU\RXKDGDQ
   VXSSUHVVWHVWRVWHURQHHLWKHUIRUDFHUWDLQSHULRGRI          RSSRUWXQLW\WRJHWVWDUWHGDWD\RXQJDJHDORWRI
   WLPHRUGRZQWRDFHUWDLQOHYHOEHIRUHWKH\FDQEH            YDULDEOHVWKDWDUHQ WUHODWHGWRWKHLUFXUUHQWKRUPRQHV
   HOLJLEOHWRSOD\LQZRPHQ VDWKOHWLFVEDVHGRQJHQGHU         %<$77251(<%522.6
   LGHQWLW\LVUHDVRQDEOHRUXQUHDVRQDEOH"                       4'R\RXKDYHDQRSLQLRQDVWRZKHWKHUDSROLF\
   $77251(<%25(//,2EMHFWLRQIRUP            WKDWSHUPLWV/LD7KRPDVWRFRPSHWHDJDLQVWWKRVHERUQ
   7+(:,71(666R\RXNQRZIRUWKRVHZKR       IHPDOHLQVZLPPLQJLVIDLU"
   DUHDVVLJQHGPDOHDWELUWKLWGHSHQGVRQZKHUHWKH\          $77251(<%25(//,2EMHFWLRQWRIRUP
   DUH\RXNQRZDQGZKDWVSRUWWKH\ UHGRLQJDQGZKDW V        &RXQVHO,WKLQNZH UHVWDUWLQJWRJHWRXWVLGHWKH
   LQYROYHG7KHUHDUHDQXPEHURIFDYHDWVWKDWFRXOGEH        VFRSH7KHZLWQHVVFDQDQVZHUWKLVTXHVWLRQLIVKHFDQ
   WKURZQLQWKHUHDORQJWKRVHOLQHV                            EXWZH UHWUHDGLQJRQWKDWWHUULWRU\
   %<$77251(<%522.6                                           7+(:,71(666RLQWKDWWKHUHDUHYHU\
   4,VLW\RXGRQ WNQRZZKDW\RXWKLQNDERXWWKDW"      IHZWUDQVJHQGHULQGLYLGXDOVZKRDUHLQYROYHGDQGWKHUH
   $77251(<%25(//,2EMHFWLRQWRIRUP          DUHORWVDQGORWVDQGORWVRIRSSRUWXQLWLHVIRUWKRVH


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0788
                                                 3DJH                                                        3DJH
    DVVLJQHGIHPDOHDWELUWKWRFRPSHWH,WKLQNLWLVIDLU       P\REMHFWLRQ:H OOVHHZKHUHWKHOLQHRITXHVWLRQLQJ
    %<$77251(<%522.6                                            JRHVDQGZH OOFRQIHUDJDLQLIZHQHHGWR
    4$QGOHWPHFDOO\RXUDWWHQWLRQWZRSDUDJUDSKV         $77251(<75<217KLVLV'DYH7U\RQ,
    GRZQZKHUHLWEHJLQVHYHU\ERG\ZDQWVDQGTXRWLQJ              ZRXOGDVNWKDWLIWKHUHDUHIXUWKHUVSHDNLQJREMHFWLRQV
    0LFKDHO-R\QHUZKRLGHQWLILHVDVDSK\VLRORJLVWDWWKH        RUGLVFXVVLRQVDERXWVFRSHLWEHGRQHRXWVLGHWKH
    0D\R&OLQLF$UH\RXIDPLOLDUZLWKWKHUHSXWDWLRQRI          SUHVHQFHRIWKHZLWQHVV
    WKH0D\R&OLQLF"                                               %<$77251(<%522.6
    $<HV                                                  4/HWPHDVN\RXWKLVZLWKRXWWDNLQJWKHWLPH
    4,WLVDKLJKUHSXWDWLRQ                              ZLWKRXWUHDGLQJWKHHQWLUHGRFXPHQWGR\RXDJUHHRU
   $P,FRUUHFW"                                        GLVDJUHHZLWK'RFWRU-R\QHUWKDWWKHTXHVWLRQRIZKHWKHU
   $77251(<%25(//,2EMHFWLRQIRUP            DELRORJLFDOO\PDOHLQGLYLGXDOVXFKDV/LD7KRPDVVKRXOG
   7+(:,71(66,QJHQHUDOSHRSOHWKLQNLW      EHSHUPLWWHGWRFRPSOHWHLQWKHZRPHQ VGLYLVLRQDJDLQVW
   KDVDJRRGUHSXWDWLRQ                                        ELRORJLFDOIHPDOHVLVDWRXJKTXHVWLRQWKDWUHDVRQDEOH
   %<$77251(<%522.6                                           SHRSOHFDQGLIIHU"
   4,I\RXUHDGWKLVSDUDJUDSK'U-R\QHUVD\V         $77251(<%25(//,2EMHFWLRQWRIRUP
   TXRWHHYHU\ERG\ZDQWVWRPD[LPL]HHDFKLQGLYLGXDO V          $77251(<%522.67KDW VHQRXJK7KDW V
   RSSRUWXQLW\WRSDUWLFLSDWHDQGEHDVLQFOXVLYHDV             DOO\RXPD\VD\
   SRVVLEOHRQHRIWKHUHVHDUFKHUV0LFKDHO-R\QHUD           $77251(<%25(//,([FXVHPH&RXQVHO
   SK\VLRORJLVWDWWKH0D\R&OLQLFVDLGLQDQLQWHUYLHZ        WKHZLWQHVVKDV
   $QGKLVTXRWHFRQWLQXHVEXWKRZGR\RXEDODQFHWKDW          $77251(<%522.6<RXPD\VD\REMHFWLRQ
   LQFOXVLRQDWWKHLQGLYLGXDOOHYHOZLWKWKHIDLUQHVVWR        WRIRUP
   WKHHQWLUHILHOG"7KDW VUHDOO\WKHVSOLWWKHEDE\           $77251(<%25(//,7KHZLWQHVVKDV
   TXHVWLRQFORVHGTXRWH                                       WKHZLWQHVVDVNHGWRUHDGWKHHQWLUHGRFXPHQW
   'R\RXVHHWKDWODQJXDJH"                            $77251(<%522.6,DPDVNLQJDTXHVWLRQ


                                                 3DJH                                                        3DJH
    $,GR                                                 IUHHDQGDSDUWIURPWKHGRFXPHQW$QG, PHQWLWOHGWR
    4'R\RXDJUHHWKDWWKHTXHVWLRQRIIDLUQHVVWKDW       GRWKDW
    'U-R\QHUDGGUHVVHVWKHUHLVLQIDFWDWRXJKTXHVWLRQ       $77251(<%25(//,, PQRWSHUVXDGHGWKDW
    RQZKLFKUHDVRQDEOHSHRSOHFRXOGGLVDJUHH"                     WKLVLVIUHHDQGDSDUWIURPWKHGRFXPHQW
    $77251(<%25(//,2EMHFWLRQIRUP$QG        $77251(<%522.6,ZLOOPDNHLW
    FRXQVHO,QHHGWRUHQHZP\REMHFWLRQDVWRVFRSH             SHUFHQWDSDUWIURPWKHGRFXPHQW
    $77251(<%522.6<RXFDQKDYHDVWDQGLQJ       $77251(<%25(//,&DQ\RXSOHDVHUHVWDWH
    REMHFWLRQDVWRVFRSHEXW,FDQSXUVXHWKLVOLQHRI           WKHTXHVWLRQWRGRWKDW"7KDQN\RX
    TXHVWLRQLQJ                                                   %<$77251(<%522.6
   7+(:,71(66,ZRXOGOLNHWRWDNHD           4'U$GNLQVGR\RXDJUHHWKDWWKHTXHVWLRQRI
   PRPHQWWRUHDGWKHZKROHDUWLFOHSOHDVH                     ZKHWKHUDELRORJLFDOPDOHVXFKDV/LD7KRPDVVKRXOGEH
   $77251(<%25(//,&RXQVHOFDQ\RXSRLQW      SHUPLWWHGWRFRPSHWHDJDLQVWELRORJLFDOIHPDOHVLQWKH
   PHWRWKHSRUWLRQRIWKHUHSRUWZKHUHVKHRIIHUV              FROOHJLDWHOHYHOLVDWRXJKTXHVWLRQRQZKLFKUHDVRQDEOH
   RSLQLRQVDERXWWKLQJV"                                        SHRSOHFDQGLIIHU"
   $77251(<%522.66KHKDVRIIHUHGWKH          $77251(<%25(//,2EMHFWLRQIRUP
   RSLQLRQLQWKHUHSRUWWKDWGHQ\LQJSDUWLFLSDWLRQLV           &RXQVHO\RXMXVWSXWDQDUWLFOH
   H[WUHPHO\KDUPIXO6KHKDVWHVWLILHGRQWKHUHFRUGWKDW      $77251(<%522.67KDW VHQRXJKRIWKH
   LQKHUYLHZDSROLF\WKDWSHUPLWVHYHQRQHWUDQVJHQGHU       VSHDNLQJREMHFWLRQ,FDQWDNHWKHDUWLFOHEDFNDZD\
   LQGLYLGXDOIURPSOD\LQJDFFRUGLQJWRWKHLUJHQGHU             IURPWKHZLWQHVV0\TXHVWLRQPDNHVQRUHIHUHQFHWRWKH
   LGHQWLW\WKDWVKHKDVDQRSLQLRQEXWVKHLVRIIHULQJ        DUWLFOH
   DQRSLQLRQWKDWWKDWLVDQXQUHDVRQDEOHSROLF\,            $77251(<%25(//,<RXUTXHVWLRQPDNHV
   LQWHQGWRH[DPLQHWKDWWKRURXJKO\6FRSHLVQRWWLJKWO\      UHIHUHQFHWR
   OLPLWHGRQH[SHUWGHSRVLWLRQV,DVVXUH\RX                  $77251(<%522.6&RXQVHOWKDW VHQRXJK
   $77251(<%25(//,, PJRLQJWRVWDQGRQ       VSHDNLQJREMHFWLRQV<RXDUHYLRODWLQJWKH)HGHUDO


                                                                                     3DJHVWR
                                                                                                    Armistead App. 0789
                                                 3DJH                                                        3DJH
    5XOHV                                                          KDUPIXOIRUSDWLHQWVGHHSO\KDUPIXOIRUWUDQVJHQGHU
    $77251(<%25(//,,VWURQJO\GLVDJUHH           \RXWKWREHH[FOXGHGIURPWKHWHDPFRQVLVWHQWZLWKWKHLU
    ZLWKWKDWFKDUDFWHUL]DWLRQ,GRQ WWKLQNWKDW V               JHQGHULGHQWLW\,Q\RXUYLHZLVDSROLF\WKDWUHTXLUHV
    FRUUHFW<RX UHDVNLQJTXHVWLRQVDERXWDVXEMHFWRIWKH        WUDQVJHQGHU\RXWKZKRDUHELRORJLFDOO\PDOHWRVXSSUHVV
    DUWLFOH3K\VLFDOO\UHPRYLQJWKHDUWLFOHIURPWKH              WHVWRVWHURQHEHIRUHWKH\FDQEHHOLJLEOHWRFRPSHWHRQD
    ZLWQHVVGRHVQ WUHPRYHWKDWTXHVWLRQIURPWKHVXEMHFWRI        WHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\H[WUHPHO\
    WKHDUWLFOH                                                    KDUPIXOWR\RXWK"
    $77251(<%522.6,GRQ WKDYHWRVKRZ           $77251(<%25(//,2EMHFWLRQIRUP
    WKHZLWQHVVHYHU\DUWLFOHDERXWDWRSLF7KHZLWQHVVLV        7+(:,71(66,ZDVWU\LQJWRFDWFKXS
   DZDUHRI/LD7KRPDV, PDVNLQJDTXHVWLRQDERXW/LD          ZLWK\RXZLWKILQGLQJWKHSDJH
   7KRPDVDQGFRPSHWLWLYHVZLPPLQJ7KHZLWQHVVFDQ              %<$77251(<%522.6
   DQVZHU                                                        47KDWZDVDFRPSOLFDWHGTXHVWLRQ,ZLOODVNLW
   $77251(<%25(//,,VWDQGRQP\                DJDLQ
   REMHFWLRQ                                                     $7KDQN\RX
   $77251(<%522.6<RXFDQGRVR                4,Q\RXUYLHZLVDSROLF\WKDWUHTXLUHVD
   7+(:,71(666RUU\7KDQN\RX                ELRORJLFDOPDOHZKRH[SHULHQFHVDIHPDOHJHQGHULGHQWLW\
   <RXNQRZHYHU\ERG\KDVWKHLURSLQLRQ           WRVXSSUHVVWHVWRVWHURQHSULRUWREHFRPLQJHOLJLEOHWR
   EDVHGRQWKHLUH[SHULHQFHDQGWKHLUNQRZOHGJHDQG              FRPSHWHLQWKHZRPHQ VGLYLVLRQH[WUHPHO\KDUPIXO"
   WKH\ UHDOORZHGWRVWDWHWKDWDQGFRQIHUZLWKRWKHUV           $77251(<%25(//,2EMHFWLRQIRUP
   DERXWLW:KHWKHURUQRWLWLVUHDVRQDEOHLVDZKROH          7+(:,71(666XSSUHVVLRQRIWKH
   RWKHUTXHVWLRQDQGWKDWLQYROYHVSHUVSHFWLYHDQG              WHVWRVWHURQHIRUP\SUDFWLFHLVQ WWKH\RXNQRZWKH
   EDFNJURXQG6RZLWKWKDWFDYHDW,FRXOGVHHSHRSOH           KDUP,WLVWKHH[FOXVLRQWKDWGRHVPRVWRIWKHKDUP
   KDYLQJGLIIHUHQWRSLQLRQVRQWKLVSDUWLFXODUPDWWHU           ,WKLQN,DQVZHUHGWKDW
   %<$77251(<%522.6                                            %<$77251(<%522.6


                                                 3DJH                                                        3DJH
    47KDQN\RX                                             4/HWPHWU\WRLQOLJKWRIZKDW\RXMXVW
    $77251(<%522.6&DQZHPDUNDV([KLELW         VDLGOHWPHDVNDEHWWHUTXHVWLRQ,Q\RXUYLHZLVD
    DGRFXPHQWSUHYLRXVO\LGHQWLILHGDVWDEDUWLFOH          SROLF\WKDWH[FOXGHVDELRORJLFDOPDOHZKRLGHQWLILHVDV
    IURPWKHSXEOLFDWLRQQDPHG2XW6SRUWVWKDWLVGDWHG             DZRPDQIURPFRPSHWLWLRQLQWKHZRPHQ VGLYLVLRQXQOHVV
    -DQXDU\                                                DQGXQWLOWKDWELRORJLFDOPDOHKDVVXSSUHVVHG
                                      WHVWRVWHURQHH[WUHPHO\KDUPIXO"
     :KHUHXSRQ$GNLQV([KLELW            $77251(<%25(//,2EMHFWLRQWRIRUP
    2XW6SRUWV$UWLFOHZDVPDUNHGIRU               7+(:,71(666RWKHVH[DVVLJQHGDW
    LGHQWLILFDWLRQ                                 ELUWKIRUWKLVSHUVRQZRXOGEHPDOHDQGZRXOGQHHGWLPH
                                    WRVXSSUHVVWHVWRVWHURQHZKLFKWDNHVWLPHDQGOHDGVWR
   %<$77251(<%522.6                                            OLPLWDWLRQVLQSDUWLFLSDWLRQRIVSRUWVLQFRPSHWLWLRQ
   4'U$GNLQVKDYH\RXKHDUGWKHQDPH,V]DF+HQLJ"      ,WKLQNWKDWGLVDGYDQWDJHVPRVWDWKOHWHVLIWKH\KDYHWR
   $1R                                                   WDNHWLPHRIIIRUDQ\NLQGRIPHGLFDOWUHDWPHQWIRU
   4'LG\RXKHDUDQ\QHZVLWHPVWKDWDWUDQVJHQGHU        WKHLUSUHSDUDWLRQ,QWKDWIDVKLRQLWZRXOGEHKDUPIXO
   PDOHFRPSHWLQJLQWKHIHPDOHGLYLVLRQWKDWLVJHQHWLF          WRWKHDWKOHWH
   IHPDOHPDOHLGHQWLW\WUDQVJHQGHUPDOHFRPSHWLQJLQWKH       %<$77251(<%522.6
   IHPDOHGLYLVLRQEHDW/LD7KRPDVDWUDQVJHQGHUIHPDOH         4$QG,EHOLHYH\RXWHVWLILHG\RXGRQ WKDYHDQ\
   FRPSHWLQJLQWKHIHPDOHGLYLVLRQLQFHUWDLQUDFHV"            VLPSOHVLQJOHRSLQLRQDVWRZKHWKHULWZRXOG
   +DYH\RXKHDUGWKDW"                                           QHYHUWKHOHVVEHUHDVRQDEOHGHVSLWHEHLQJKDUPIXOWRWKDW
   $1R                                                   DWKOHWH"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQWRIRUP
   %<$77251(<%522.6                                            7+(:,71(66,GRQ WWKLQNWKDW VZKDW,
   4$OOULJKW                                            VDLG
   <RXVWDWHGLQSDUDJUDSKWKDWLWFDQEH             %<$77251(<%522.6


                                                                                      3DJHVWR
                                                                                                   Armistead App. 0790
                                                3DJH                                                        3DJH
    4$OOULJKW                                            7+(:,71(66)RUDQDVVLJQHGPDOHDW
    7KHQ, OODVNDGLIIHUHQWWRDYRLG                 ELUWKVXSSUHVVLQJWHVWRVWHURQHVRZH UHFOHDUEHFDXVH
    XQFODULW\'R\RXKDYHDQRSLQLRQDVWRZKHWKHU              \RXXVHGWKHZRUGWKH\LQWKDWSDUWLFXODUTXHVWLRQ,
    GHVSLWHWKHKDUPWKDW\RXKDYHGHVFULEHGDSROLF\WKDW        WKLQNLWLVXQUHDVRQDEOHIRUWKHPWREHWDNHQRXWRI
    UHTXLUHVVXSSUHVVLRQRIWHVWRVWHURQHLQRUGHUIRUVXFK         WKHLUVSRUW,WKLQNLWFDXVHVKDUP:HVHHHYLGHQFH
    DQLQGLYLGXDOWREHHOLJLEOHWRFRPSHWHLQDZRPHQ V           WKDWLWFDXVHVKDUPZLWKUHJDUGWRGHSUHVVLRQDQ[LHW\
    GLYLVLRQLVUHDVRQDEOH"                                        VXLFLGDOLW\,WDOVRFDXVHVPHWDEROLFKDUPFKDQJHVLQ
    $77251(<%25(//,2EMHFWLRQWRIRUP           WKHSHUIRUPDQFH
    7+(:,71(667KDW VFRPSOLFDWHG,            $77251(<%522.6/HWPHPDUNWKLV
   DSRORJL]HIRUQRWDQVZHULQJ\HVRUQR,MXVW            ([KLELWDQDUWLFOHE\'XNH3URIHVVRU'RULDQH
   VRPHWLPHV\RXJHWORVWLQ\RXUTXHVWLRQ6R,GRQ W          /DPEHOHW&ROHPDQ0LFKDHO-R\QHUDQG'RQQD/RSLDQRWKH
   WKLQNLW VUHDVRQDEOHWRDVNWKHPQRWWRSDUWLFLSDWH         'XNH-RXUQDORI*HQGHU/DZDQG3ROLF\
   7KH\QHHGWLPHWRSUDFWLFHDQGSDUWLFLSDWHOLNHDOO           
   WKHLUSHHUVWKDWDUHSUDFWLFLQJDQGFRPSHWLQJDWWKH           :KHUHXSRQ$GNLQV([KLELW'XNH
   WLPH                                                         -RXUQDORI*HQGHU/DZDQG3ROLF\
   %<$77251(<%522.6                                           $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
   46R\RXUWHVWLPRQ\DV\RXVLWKHUHWRGD\LVWKDW      
   HYHQDVDELRORJLFDOO\PDOHDWKOHWHVQDWDOPDOH              9,'(2*5$3+(5&RXQVHO,GLGQ WIXOO\
   DWKOHWHVZKRKDYHQRWVXSSUHVVHGWHVWRVWHURQHDWDOOLW      FDWFKZKLFKGRFXPHQWWKDWZDV"'LG\RXVD\LWZDVWDE
   LVQRWUHDVRQDEOHWRH[FOXGHWKHPIURPSDUWLFLSDWLRQLQ       "
   WKHZRPHQ VGLYLVLRQ"                                         $77251(<%522.6,WLVWDEWKDW V
   $77251(<%25(//,2EMHFWLRQIRUP            FRUUHFW
   7+(:,71(667RWKRVHZKRDUHDVVLJQHG        9,'(2*5$3+(57KDQN\RX
   IHPDOHDWELUWK\RX UHDJDLQJRLQJWRFDXVHWKHPKDUP        %<$77251(<%522.6


                                                3DJH                                                        3DJH
    E\QRWDOORZLQJWKHPWRSDUWLFLSDWHDQGQRWEHDIILUPHG        4'U$GNLQVOHWPHDVNZKHWKHU\RXKDYHEHIRUH
    LQWKHLUJHQGHU7KDWSDUWRILWLVDELJSDUWRI         QRZEHHQDZDUHRIWKLVDUWLFOHE\'XNH3URIHVVRU&ROHPDQ
    ZKDWLWPHDQVWRLPSURYHWKHLURYHUDOOKHDOWKDQGZKDW         DQGRWKHUV"
    ZHGRWRFDUHIRUWKHVHLQGLYLGXDOV<RX UHDOVR              $,KDYHKHDUGRIDQDUWLFOH\HV
    PDUNLQJWKHPE\VD\LQJWKDWWKH\DUH\RXNQRZ                4'R\RXNQRZ3URIHVVRU&ROHPDQ"
    WUDQVJHQGHUDQGWKDWLVJRLQJWRFDXVHDOONLQGVRI            $,PHW3URIHVVRU&ROHPDQRQFH
    NHUIXIIOHDQGSHRSOHDUHQRWQLFHWRWKHP,WFDQFDXVH       4$QGKDYH\RXHYHUVHHQWKLVDUWLFOHEHIRUH
    H[WUHPHKDUPWRWKHPLQWKDWZD\                              WRGD\"
    %<$77251(<%522.6                                            $,KDYHQ WORRNHGDWLW
   4,QWKHEHJLQQLQJRI\RXUDQVZHU\RXUHIHUUHGWR      43UREDEO\P\TXHVWLRQLQJDERXWLWZLOOEHYHU\
   LQGLYLGXDOVLGHQWLILHGDVIHPDOHDWELUWK                    VKRUW/HWPHDVN\RXWRWXUQWRSDJH$WWKHYHU\
   $$VVLJQHGIHPDOHDWELUWK                            ERWWRPRISDJHLVDVHQWHQFHWKDWUXQVRYHULQWR
   4$QG,WKLQNWKDW\RXUDQVZHUZDVVSHDNLQJWR         WKDWUHDGVDVIROORZV,IHOLWHVSRUWZHUHFRHGRU
   LQGLYLGXDOVZKRDUHDVVLJQHGPDOHDWELUWK                   FRPSHWLWLRQZHUHRSHQHYHQWKHEHVWIHPDOHZRXOGEH
   $$SSOLHVWRERWK                                     UHQGHUHGLQYLVLEOHE\WKHVHDRIPHQDQGER\VZKRZRXOG
   $77251(<%25(//,2EMHFWLRQIRUP            VXUSDVVKHUFORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
   %<$77251(<%522.6                                           $,GR
   47KHQOHWPHUHDVNP\TXHVWLRQEHFDXVH,DVNHG       4'R\RXKDYHWKHH[SHUWLVHWRHYDOXDWHZKHWKHU
   DERXWLQGLYLGXDOVDVVLJQHGPDOHDWELUWK$VWRWKRVH        WKDWLVWUXHRUIDOVH"
   LQGLYLGXDOVLVLW\RXURSLQLRQWKDWDSROLF\WKDW            $77251(<%25(//,2EMHFWWRIRUP
   UHTXLUHVWKHPWRVXSSUHVVWHVWRVWHURQHSULRUWREHFRPLQJ      7+(:,71(667KHZHOODJDLQ\RX
   HOLJLEOHIRUSDUWLFLSDWLRQLQWKHZRPHQ VGLYLVLRQRU         DUHSLFNLQJRQHVHQWHQFHRXWRIDZKROHDUWLFOH$QG,
   KLJKVFKRROOHYHOJLUOVGLYLVLRQLVXQUHDVRQDEOH"             NQRZWKDW'U&ROHPDQKDVDFWXDOO\FDOOHGLQWRTXHVWLRQ
   $77251(<%25(//,2EMHFWLRQIRUP            VRPHRIWKHLQIRUPDWLRQIURPWKLVUHSRUWLQSDUWLFXODU



                                                                                     3DJHVWR
                                                                                                     Armistead App. 0791
                                                 3DJH                                                         3DJH
    $QGZLWKRXWNQRZLQJZKLFKWKLQJV,FDQ WUHDOO\UHO\RQ         LQIRUPDWLRQUHJDUGLQJWKLV,GRQ WWKLQNWKDWWKHUH V
    WKLVGRFXPHQWWRVD\ZKHWKHULW VWUXH$QGWKDW VQRW         DZD\WRDQVZHUWKDWTXHVWLRQZLWKWKHGDWDWKDWZHKDYH
    WKDW VKHUH[SHUWLVH                                       DWWKLVWLPH
    %<$77251(<%522.6                                             %<$77251(<%522.6
    4:HOOWKDW VP\TXHVWLRQ'R\RXEHOLHYHWKDW         4,VLWWUXHLQ\RXUSUDFWLFHWKDWPRVWRI\RXU
    LWLVZLWKLQ\RXUH[SHUWLVHWRHYDOXDWHWKDWVRUWRI            ELRORJLFDOO\PDOHSDWLHQWVSUHVHQWDW\RXUFOLQLFOHW V
    TXHVWLRQDERXWVSRUWLQJSHUIRUPDQFH"                            VD\DIWHUDJH"
    $77251(<%25(//,2EMHFWWRWKHIRUP           $77251(<%25(//,2EMHFWWRIRUP
    7+(:,71(666$JDLQ\RXDUHSLFNLQJRQH        7+(:,71(660RVWRIP\SDWLHQWVZKRDUH
   VHQWHQFH,KDYHVRPHSURIHVVLRQDOH[SHULHQFHZLWK            DVVLJQHGZKLFKDWELUWKGLG\RXVD\"
   DVVLVWLQJSHRSOHLQLPSURYLQJWKHLUSK\VLRORJ\ZLWK            %<$77251(<%522.6
   UHJDUGWR\RXNQRZPXVFOHPDVVIDWPDVV6SRUWZRXOG       40DOH
   EHRXWVLGHZKDW,ZRXOGKDYHWRVD\WKLV                   $$IWHUDJHZKDWDJDLQ"
   VSHFLILFDOO\                                                  4,FKRVH
   %<$77251(<%522.6                                            $77251(<%25(//,6DPHREMHFWLRQ
   4, PQRWVXUHWKDWZDVDFRPSHWHVHQWHQFHOHWPH      7+(:,71(66,ZRXOGDJUHHZLWKWKDW
   DVNDIROORZXSTXHVWLRQ,VLWWKHFDVHWKDWLWLV       %<$77251(<%522.6
   \RXFRQVLGHULWRXWVLGH\RXUSURIHVVLRQDOH[SHUWLVHWR         4$QGLPSOLFDWLRQVRIWKDWDUHWKDWWKRVH
   HYDOXDWHWKHWUXWKRUIDOVLW\RIWKLVVXSSRVHGDVVHUWLRQ       LQGLYLGXDOVKDYHDOUHDG\H[SHULHQFHGZHOOOHWPH
   WKDWTXRWHLIHOLWHVSRUWZHUHFRHGRUFRPSHWLWLRQ           DVNLWGLIIHUHQWO\,Q\RXUH[SHULHQFHRUEDVHGRQ\RXU
   ZHUHRSHQHYHQWKHEHVWIHPDOHZRXOGEHUHQGHUHG              WUDLQLQJHLWKHURQHRQDYHUDJHZKDW7DQQHUVWDJHDUH
   LQYLVLEOHE\WKHVHDRIPHQDQGER\VZKRZRXOGVXUSDVV         ER\VDWE\WKHWLPHWKH\KDYHILQLVKHGWKHLUWK\HDU"
   KHUFORVHGTXRWH"                                             $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWWRIRUP              7+(:,71(666RDVVLJQHGPDOHDWELUWK"


                                                 3DJH                                                         3DJH
    7+(:,71(667KDW VQRWEHHQP\                 %<$77251(<%522.6
    H[SHULHQFH7KDW VQRWZKDWZH UHVHHLQJLQVSRUWV,         4&RUUHFW
    FDQ WVD\DQ\WKLQJHOVHDERXWZKHWKHURUQRW,FRXOG            $7KHDYHUDJHDWLV7DQQHU
    DVVHVVLW7KDWZRXOGEHP\RQO\ZD\WRDVVHVVLWEDVHG        4%\WKHHQGRIDJH\RXZRXOGVD\7DQQHU"
    RQP\H[SHULHQFH                                               $,WLVUHDOO\DQGDKDOILVZKDWWKHSXEOLVKHG
    %<$77251(<%522.6                                             OLWHUDWXUHVD\V
    4:KDWLV\RXUSURIHVVLRQDOWUDLQLQJRUUHVHDUFK         46RSUHVXPDEO\E\WKHHQGRIWKHLUWK\HDU
    WKDWTXDOLILHV\RXWRHYDOXDWHWKHLPSDFWWKDWZRXOGEH         ZKHQWKH\ UHROGHUWKDQWKH\ UHHLWKHULQDODWHU
    H[SHULHQFHGLQDWKOHWLFVRQELRORJLFDOZRPHQLIVSRUW           VWDJHRI7DQQHUVWDJHRUPRYLQJLQWR7DQQHUVWDJH"
   ZHUHFRHGRUFRPSHWLWLRQZHUHRSHQ"                            $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQWRIRUP           7+(:,71(662QDYHUDJHEXWWKHUHLV
   7+(:,71(66<HDK,GRQ WVWXG\              VXFKDZLGHYDULHW\RIWKH\FDQSUHVHQWZLWKSXEHUW\
   VSRUWV                                                        IURPWR$QGWKH\DOOPRYHGLIIHUHQWO\DW
   %<$77251(<%522.6                                            GLIIHUHQWUDWHVDQGGLIIHUHQWWLPHVVRWKHUH VDORWRI
   4<RXDUHDQHQGRFULQRORJLVWE\WUDLQLQJ               YDULHW\LQWKHDQGDKDOI\HDUROGV,VHHLQP\
   ,VWKDWFRUUHFW"                                      FOLQLFZKRDUHDVVLJQHGPDOHDWELUWK
   $,DP                                                 %<$77251(<%522.6
   4'R\RXKDYHDQH[SHUWRSLQLRQDVWRZKDWODVWLQJ      4$QGP\TXHVWLRQZDVDERXWDYHUDJHV6RRQ
   RUOHJDF\VWUHQJWKDQGDWKOHWLFFDSDELOLW\LIDQ\          DYHUDJHE\WKHHQGRIWKHWK\HDUWKHSDWLHQWV\RX
   ZD\QDWDOPDOHVFRQWLQXHWRHQMR\RYHUQDWDOIHPDOHV           VHHZRXOGEHWRZDUGVWKHHQGRI7DQQHUVWDJHRU
   DIWHUVXSSUHVVLQJWHVWRVWHURQH"                                HQWHULQJLQWR7DQQHUVWDJH"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(666RWKHUH VDODFNRI              7+(:,71(662QDYHUDJH\HDK
   UHVHDUFKLQWKLVDUHD,IHHOOLNHZHQHHGPRUH               %<$77251(<%522.6


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0792
                                                 3DJH                                                        3DJH
    4$QGE\WKDWWLPHWKRVHELRORJLFDOO\PDOHZKR          DQ\WKLQJVSHFLILF
    KDYHXQGHUJRQHHIIHFWVRQVNHOHWRQRQKHLJKWRQ             %<$77251(<%522.6
    PXVFXODWXUHW\SLFDORIRUVRPHWLPHVUHIHUUHGWRDV            4:HOODV,WHOOZLWQHVVHV,DPGHIHQGLQJ,GRQ W
    YHULOL]DWLRQ                                                  NQRZLVDOZD\VDJUHDWFRQYHUVDWLRQVWRSSHU,VLW\RXU
    &RUUHFW"                                                WHVWLPRQ\WKDW\RXGRQ WDFWXDOO\NQRZKRZPXFKERQH
    $77251(<%25(//,2EMHFWLRQIRUP             GHQVLILFDWLRQKDVRFFXUUHGE\WKHHQGRIWKHWK\HDU
    7+(:,71(666RDWDQGDKDOIWKH           LQWKRVHLQELRORJLFDOPDOHV"
    DYHUDJHDVVLJQHGPDOHDWELUWKLVGHDGFHQWHUWKHLU            $77251(<%25(//,2EMHFWLRQIRUP
    JURZWKVSXUWVRWKH\ YHRQO\JRQHWKURXJKDERXWKDOIRI       7+(:,71(66,KDYHQ WORRNHGDWLW
   LW7KH\VWLOOKDYHDERXWKDOIRILWOHIW                   ,KDYHQ WORRNHGDWLWUHFHQWO\7KHUHDUHWKDW V
   %<$77251(<%522.6                                           DQLQWHUSUHWDWLRQVWKDWZHXVHDQGLWFRPHVZLWKRXU
   42ND\                                                UHSRUWVDQG,ZRXOGKDYHWRORRNDWWKDWWRUHO\RQLW
   $QGGR\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHU          %<$77251(<%522.6
   WKH\KDYHDOVRXQGHUJRQHFKDQJHVLQKHDUWDQGOXQJVL]H       4+DYH\RXKHDUGWKHQDPH-RDQQD+DUSHU"
   DQGERQHVWUHQJWKWKDWDUHW\SLFDORIPDOHSXEHUW\"           $1R
   $77251(<%25(//,2EMHFWLRQIRUP            4/HWPHVHHWDE
   7+(:,71(666R,FDQ WFRPPHQWDERXW         $77251(<%522.60DUNLQJZKDWZDV
   WKHKHDUWDQGWKHOXQJ7KHOXQJVL]HLVW\SLFDOO\           SUHYLRXVO\GHVLJQDWHGWDEDUWLFOHSXEOLVKHG'HFHPEHU
   SURSRUWLRQHGWRWKHERG\VL]H6RLQWKDWZD\KDOIZD\      E\(PPD+LOWRQDQG7RPP\/XQGEHUJWLWOHG
   %RQHVWUHQJWKKRZHYHUWKHUH VPRUHLQIRUPDWLRQDERXW       7UDQVJHQGHU:RPHQLQWKH)HPDOH&DWHJRU\RI6SRUW
   $QG\RXNQRZSHRSOHGRQ WJHWWKHLUSHDNERQHPDVV           3HUVSHFWLYHVRQ7HVWRVWHURQH6XSSUHVVLRQDQG3HUIRUPDQFH
   XQWLOWKH\ UHVRWKH\KDYHDORQJZD\WRJRVWDUWLQJ      $GYDQWDJH
   IURPDQGDKDOIEHIRUHWKH\UHDFKWKDW                    
   %<$77251(<%522.6                                            :KHUHXSRQ$GNLQV([KLELW


                                                 3DJH                                                        3DJH
    4+DYHRQDYHUDJHPDOHVH[SHULHQFHGVLJQLILFDQW       +LOWRQDQG/XQGEHUJ$UWLFOHZDVPDUNHG
    ERQHGHQVLILFDWLRQE\DJHE\WKHHQGRIWKHLUWK         IRULGHQWLILFDWLRQ
    \HDU"                                                          
    $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
    7+(:,71(66'HSHQGVRQ\RXUGHILQLWLRQ        4$QG'U$GNLQVOHWPHDVNDJDLQZKHWKHU\RX
    RIVLJQLILFDQW&OLQLFDOO\VLJQLILFDQWPHGLFDOO\             NQRZWKHQDPH(PPD+LOWRQRU7RPP\/XQGEHUJ
    VLJQLILFDQW",VLW\RXNQRZVLJQLILFDQWZLWKUHJDUG         $1R
    WRWKHELRORJLFDODVVD\,VLW\RX UHWDONLQJDERXW           4&DQ,WDNHLWWKHQ\RXKDYHQRWVHHQWKLV
    ZKLFKZRXOG'H[XVVFDQV"                                   DUWLFOHEHIRUH"
   %<$77251(<%522.6                                           $,ZRXOGQ WVD\WKDWRQHHTXDOVWKHRWKHU, P
   4,ZLOOWDNHFOLQLFDOO\VLJQLILFDQW                  WHUULEOHZLWKQDPHVWREHTXLWHKRQHVW
   $77251(<%25(//,2EMHFWLRQWRIRUP          4/HWPHDVNWKHUHIRUH,UHWUDFWWKDW
   7+(:,71(66&DQ\RXUHSHDW\RXU              TXHVWLRQ'R\RXUHFDOOVHHLQJWKLVDUWLFOHEHIRUH
   TXHVWLRQZLWKWKDW"                                           WRGD\"
   %<$77251(<%522.6                                           $1R
   4<HV2QDYHUDJHKDYHELRORJLFDOPDOHV              42ND\
   H[SHULHQFHGFOLQLFDOO\VLJQLILFDQWERQHGHQVLILFDWLRQE\      7KHQDJDLQZHZLOOEHVKRUW<RXVHHWKH
   WKHHQGRIWKHLUWK\HDU"                                   WLWOH,XQGHUVWDQG\RXKDYHQRWVHHQLW/HWPHDVN
   $77251(<%25(//,2EMHFWLRQIRUP            \RXWRWXUQWRSDJH$ERXWDQLQFKGRZQLQWKH
   7+(:,71(662YHUWKHLUOLIHVSDQWKH\        ILUVWFROXPQVXPPDUL]LQJRWKHUUHVHDUFKWKHDXWKRUVRI
   GRFRQWLQXHWRLQFUHDVHWKHLUERQHGHQVLW\7KHSHDNRI      WKLVSDSHUZULWHDQH[WHQVLYHUHYLHZRIILWQHVVIURP
   ERQHGHQVLW\LVPXFKODWHUVRHYHU\SHUVRQLVGLIIHUHQW      RYHU$XVWUDOLDQFKLOGUHQDJHWR\HDUVROG
   DVWRZKHUHWKH\DUHLQWKDWGHQVLW\VFDOH$WWKH           VKRZWKDWFRPSDUHGZLWK\HDUROGIHPDOHV\HDUROG
   PLGGOHRISXEHUW\,PHDQ,ZRXOGEHJXHVVLQJLI,VDLG      PDOHVZHUHIDVWHURYHUVKRUWVSULQWVSHUFHQWDQG


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0793
                                                 3DJH                                                        3DJH
    RQHPLOHSHUFHQW&RXOGMXPSSHUFHQWIXUWKHU         7+(:,71(66*HQHUDOO\HGXFDWLRQLQ
    IURPDVWDQGLQJVWDUWDWHVWRIH[SORVLYHSRZHU               PHGLFDOVFKRRODQGWKHQORRNLQJDWKRUPRQDOHIIHFWVLQ
    4XRWHFRXOGFRPSOHWHPRUHSXVKXSVLQVHFRQGVDQG        PXVFOHDQGERQHDQGWKRVHWKLQJV%XWQRWLQSDUWLFXODU
    KDGSHUFHQWVWURQJHUJULSFORVHGTXRWH'R\RX           WKHVHVSHFLILFWHVWV
    VHHWKDWODQJXDJH"                                              %<$77251(<%522.6
    $<HDK                                                  4'R\RXKDYHDQ\RSLQLRQDVWRZKHWKHUSULRUWR
    4$QGP\TXHVWLRQIRU\RXLV\RXKDYH\RXUVHOIDQ\       SXEHUW\QDWDOPDOHVKDYHVWUHQJWKVSHHGRURWKHU
    NQRZOHGJHDVWRZKHWKHUWKHIDFWVUHFLWHGWKHUHDUH             DWKOHWLFDGYDQWDJHVRYHUQDWDOIHPDOHVRQDYHUDJH"
    VFLHQWLILFDOO\DFFXUDWHRULQDFFXUDWH"                          $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66*RVKWKHUH VVXFKDZLGH
   7+(:,71(666RZKHQHYHU, PUHYLHZLQJ         YDULHW\RIKXPDQV$QG,NQRZ\RXDUHDVNLQJRQ
   DQDUWLFOHDQGDJDLQ,KDYHQRWVHHQWKHIXOODUWLFOH       DYHUDJH,GRQ WWKLQN,IHHOFRPIRUWDEOHDQVZHULQJWKH
   LW VUHSRUWLQJRQSRSXODWLRQIURP$XVWUDOLDZKLFK,           TXHVWLRQ
   XVXDOO\XVHWKHSRSXODWLRQWKDW, PWDONLQJDERXWZKHQ,       %<$77251(<%522.6
   DPXVLQJWKDWLQIRUPDWLRQWRKHOSJXLGHP\SUDFWLFH6R       4$OOULJKW
   , PQRWFRPSOHWHO\VXUHWKDWZRXOGEHDWKLQJWKDWZRXOG       <RXKDYHRIIHUHGWKHRSLQLRQZHFDQJREDFN
   FRPHLQWRP\PLQGZKHQORRNLQJDWWKLV,VWKLVWKH           WRSDUDJUDSK,NHHSUHIHUULQJWRWKHVDPHWKDW
   VDPHSRSXODWLRQLQ$XVWUDOLD\RXZH UHVHHLQJKHUH"            UHIXVLQJWRSHUPLWDWUDQVJHQGHULQGLYLGXDOWR
   7KDW VRQHRIP\ILUVWTXHVWLRQVDERXWLW                     SDUWLFLSDWHLQDVSRUWFDWHJRU\FRUUHVSRQGLQJWRWKHLU
   %<$77251(<%522.6                                            JHQGHULGHQWLW\FDQEHRULVH[WUHPHO\KDUPIXO)URP
   4$QG,XQGHUVWDQGWKDWHYHU\ERG\LQ$XVWUDOLDLV       \RXUPHGLFDOSRLQWRIYLHZZKDWGR\RXFRQVLGHUWREH
   XSVLGHGRZQEXWP\TXHVWLRQVLPSO\ZDVGR\RXKDYHDQ\        WKHLPSOLFDWLRQVRIWKDWRSLQLRQZKHQLWFRPHVWR
   NQRZOHGJHDVWRZKHWKHUDVDPDWWHURIVFLHQFHWKHVH         LQGLYLGXDOVZKRFODLPERWKDPDOHDQGDIHPDOHJHQGHU
   DVVHUWLRQVDUHWUXHRUIDOVH"                                  LGHQWLW\"


                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
    7+(:,71(667KH\KDYHSXEOLVKHGLWLQD        %<$77251(<%522.6
    SHHUUHYLHZHGMRXUQDO,WKLQN,ZRXOGKDYHWRORRNLI         40XVWWKH\EHSHUPLWWHGWRSOD\LQHLWKHU
    WKLVLVDSHHUUHYLHZHGMRXUQDOEHFDXVHVRPHDUHQRW           FDWHJRU\DFFRUGLQJWRWKHLUFKRLFH
    ,IWKRVHWKLQJVDUHWUXHWKHDVVXPSWLRQZHPDNHLQ             $77251(<%25(//,2EMHFWLRQIRUP
    PHGLFLQHLVWKDWWKH\DUHWUXH                                 7+(:,71(667KDWLVDJRRGTXHVWLRQ,
    %<$77251(<%522.6                                             ZRXOGKDYHWRWDONWRWKHLQGLYLGXDOSHUVRQWRUHDOO\
    4<RXDUHDYHU\WUXVWLQJSHUVRQWRSHHUUHYLHZHG        NQRZZKDWKDUPWKH\PLJKWWKLQNIHHOWKDWWKH\DUH
    MRXUQDOV                                                       KDYLQJLIWKH\ZHUHNHSWIURPRQHYHUVXVWKHRWKHU,
   $7KH\JHWUHGDFWHGDOOWKHWLPH6RDJDLQP\         WKLQNWKDWZRXOGEHDYHU\LQGLYLGXDOL]HGTXHVWLRQ,
   SUHYLRXVWKLQJLV\RXJRWWRORRNDWDOORIWKHSLHFHV        FDQ WDQVZHULWZLWKP\H[SHULHQFH
   HWFHWHUD                                                     %<$77251(<%522.6
   4,QJHQHUDOLQJHQHUDOGR\RXFRQVLGHUWKDW       4$OOULJKW
   \RXUH[SHUWLVHH[WHQGVWRWKHTXHVWLRQRIKRZPXFK             :RXOG\RXKDYHWKHVDPHDQVZHUZLWKUHJDUGWR
   DWKOHWLFDGYDQWDJHELRORJLFDOPDOHVHQMR\RYHU                 DQLQGLYLGXDOZKRH[SHULHQFHVQHLWKHUJHQGHULGHQWLW\
   ELRORJLFDOIHPDOHVSULRUWRSXEHUW\LIDQ\"                   QHLWKHUPDOHRUIHPDOH"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(66,NQRZOLPLWHGDPRXQWRI          7+(:,71(666RSHRSOHZKRLGHQWLI\DVD
   WKDWLQIRUPDWLRQ:HDOOOHDUQDOLWWOHELWEXW,            DJHQGHU\RXNQRZWKHUHLVVXFKDZLGHYDULHW\WKHUHRI
   ZRXOGQ WVD\WKDW,FRXOGVD\\RXNQRZ,NQRZ                WKHLUOLIHH[SHULHQFHWKHLUSXEHUWDOH[SHULHQFHWKHLU
   HYHU\WKLQJWKDWH[LVWV                                        FXUUHQWKRUPRQHVDQGZKDWWKLQJVWKH\PLJKWEHWDNLQJRU
   %<$77251(<%522.6                                            QRWWDNLQJZKHUHWKHLUOHYHOVDUH,WKLQNLWDQG
   4:KDWLV\RXUVRXUFHRILQIRUPDWLRQLQWKDWDUHD"      \RXNQRZDJDLQ,WKLQN\RXZRXOGKDYHWRORRNDW
   $77251(<%25(//,2EMHFWLRQIRUP             WKHLQGLYLGXDOSHUVRQ


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0794
                                                3DJH                                                         3DJH
    %<$77251(<%522.6                                            OLWWOHELW7KH\VRPHWLPHVDUHIULOO\OLNHPHYHU\
    4,VLW\RXURSLQLRQ'U$GNLQVWKDWWKHRQO\         IHPLQLQHLVKDQGRQGD\VDQGIHHOWKDWDQG
    UHDVRQDEOHSROLF\IRUVFKRROVFROOHJHVRUDWKOHWLF            RWKHUGD\VWKH\PLJKWZHDUDVXLWDQGWLH$QGWKDW
    OHDJXHVZRXOGEHWRFRQVLGHUHOLJLELOLW\IRUWUDQVJHQGHU       JHQGHUH[SUHVVLRQPD\DOLJQZLWKWKHLUJHQGHULGHQWLW\,
    LQGLYLGXDOVRQDFDVHE\FDVHEDVLVWDNLQJLQWRDFFRXQW       JXHVVWRH[SUHVVWKHPVHOYHVDGLIIHUHQWZD\,W VMXVW
    DOORIWKHW\SHVRIFRPSOH[LWLHV\RXMXVWGHVFULEHG"           DPDWWHUWKDW\RXNQRZVRPHGD\V,IHHOOLNHDJLUO
    $77251(<%25(//,2EMHFWLRQIRUP             DQGVRPHGD\V,GRQ W$QG,DFWXDOO\DOVRVRPHWLPHV
    7+(:,71(66,WKLQNWKDWWKDWLV              KDYHWKDWIHHOLQJRI\RXNQRZDPRUHJLUO\RQHGD\
    FRPSOHWHO\SRVVLEOHIRUWKHPWRGRJLYHQWKHVPDOO             WKDQWKHRWKHU,GRQ WNQRZ, PQRWLPSO\LQJWKDW
   SRSXODWLRQWKDWZH UHWDONLQJDERXW$QG,WKLQNLWLV       , PJHQGHUIOXLGEXWWKDWSDUWLFXODUSHUVRQLVDQ
   UHDVRQDEOHIRUWKHPWRWDNHWKHWLPHWRGRWKDWZLWK          H[DPSOHRIZKDWPLJKWKDSSHQIRUVRPHRQHZKR VJHQGHU
   HDFKLQGLYLGXDOKXPDQ                                        IOXLG
   %<$77251(<%522.6                                           4/HWPHDVN\RXWRILQG,WROG\RXZH GGLJIRU
   4'R\RXWKLQNWKDWVXFKDSROLF\LVWKHRQO\          LWDJDLQWKH(QGRFULQH6RFLHW\*XLGHOLQHVZKLFK
   UHDVRQDEOHSROLF\"                                            DUH([KLELW
   $77251(<%25(//,2EMHFWLRQIRUP            $, PQRWVD\LQJP\H[SHULHQFHLVWKHRQHDQG
   7+(:,71(66<HDK, PJRLQJWRYHQWXUH       RQO\RQHDOOEHDOO
   WKDW\HV                                                    4$QG, OOFDOO\RXUDWWHQWLRQWRSDJHILYH
   %<$77251(<%522.6                                           FROXPQWZR"
   4,Q\RXUYLHZDV\RX YHWHVWLILHGHDUOLHUD       $, PVRUU\ZKDWLVWKDWDJDLQ"
   ELWDERXWWKHFDWHJRU\RIJHQGHUIOXLGLQGLYLGXDOV<RX      43DJHILYHFROXPQWZR/DQJXDJHORRNVOLNH
   PHQWLRQHGWKHWHUP$UH\RXIDPLOLDUZLWKWKDW               WKLV7KDW VRQSDJHILYH7KDW VILQH
   FDWHJRU\FRQFHSWRIJHQGHUIOXLGLQGLYLGXDOV"                $77251(<75<217KLVLV'DYH7U\RQ,
   $77251(<%25(//,2EMHFWLRQIRUP            WKLQNERWKRI\RXDUHVWDUWLQJWRWUDLORIIDWWLPHVDQG


                                                3DJH                                                         3DJH
    7+(:,71(66, PDZDUHRIWKHFRQFHSW         VSHDNOHVVORXGO\DQGLW VJHWWLQJDOLWWOHELWKDUGHU
    %<$77251(<%522.6                                            WRKHDU\RX,I\RXFDQERWKUHPHPEHUWRNHHS\RXU
    4&DQ\RXH[SODLQIRUWKHFRXUWZKDWWKHFRQFHSW        YRLFHVXSLWZRXOGEHKHOSIXOWRPH
    RIZKDWDJHQGHUIOXLGLQGLYLGXDOLVRUZKDWWKDW          $77251(<%522.6:HZLOOGRRXUEHVW
    SHUVRQH[SHULHQFHV"                                            :DLWXQWLO
    $77251(<%25(//,2EMHFWLRQWRIRUP           %<$77251(<%522.6
    7+(:,71(666RP\H[SHULHQFHLVWKDW          43DJHFROXPQWZR$QGWRZDUGVWKHERWWRP
    HYHU\JHQGHUIOXLGSHUVRQLVGLIIHUHQWDQG,KDYHWR          LVDGLVFXVVLRQRIWKHFRQWLQXXPDQGLQGLYLGXDOVZKR
    DFWXDOO\GLJGHHSZKHQ, PWDONLQJWRVRPHRQHZKRLV           H[SHULHQFHERWKRUQHLWKHUDQGWKHQDUHIHUHQFHWKDWZH
   JHQGHUIOXLGDVWRZKDWWKDWPHDQV,WFRXOGPHDQD          ORRNHGDWEHIRUHDERXWUHSRUWVRILQGLYLGXDOV
   ZLGHYDULHW\RIGLIIHUHQWH[SHULHQFHV                        H[SHULHQFLQJDFRQWLQXRXVDQGUDSLGLQYROXQWDU\
   %<$77251(<%522.6                                           DOWHUQDWLRQEHWZHHQDPDOHDQGIHPDOHJHQGHULGHQWLW\
   4<RX UHQRWDEOHWRGHVFULEHDWDOOZKDWLWPHDQ      'R\RXVHHWKDW",W VDERXWHLJKWOLQHVIURPWKH
   WREHJHQGHUIOXLG"                                           ERWWRP
   $77251(<%25(//,2EMHFWLRQIRUP            $2QWKHULJKW"
   7+(:,71(66,FDQJLYH\RXDQH[DPSOH       4<HV
   ,FDQJLYH\RXPRUHWKDQRQHH[DPSOH                         $<HDK
   %<$77251(<%522.6                                           4$QG, PJRLQJWRIRFXV\RXRQWKHUDSLG
   4, OOWDNHDQH[DPSOH                                LQYROXQWDU\DOWHUQDWLRQEHWZHHQPDOHDQGIHPDOH
   $2ND\                                                LGHQWLW\$QGLVLW\RXUYLHZLVLW\RXURSLQLRQ
   )RUDSDWLHQW, PEULQJLQJWRPLQGIRUWKDW         WKDWXQOHVVVFKRRORUOHDJXHSROLF\DOORZVVXFKJHQGHU
   LQGLYLGXDOWKH\JHQHUDOO\PLJKWEHH[SUHVVLQJWKHLU           IOXLGLQGLYLGXDOVWRSOD\LQWKHOHDJXHDFFRUGLQJWR
   JHQGHULGHQWLW\YDULDEO\RQDSDUWLFXODUGD\7KHLU          WKHLUSUHVHQWJHQGHULGHQWLW\ZKDWHYHUWKDWPLJKWEH
   XQGHUVWDQGLQJRIWKHLULGHQWLW\LVWKDWLWVKLIWVD           WKDWLWZLOOGRH[WUHPHKDUPWRWKRVHLQGLYLGXDOV"


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0795
                                                  3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,GR
    7+(:,71(666R,WKLQNWKDWXQOHVV\RX         %<$77251(<%522.6
    DUHZRUNLQJZLWKWKDWLQGLYLGXDOSHUVRQWRGRZKDWZRUNV        4$QGGR\RXKDYHVSHFLILFH[DPSOHVRIVXFK
    IRUWKHPEDVHGRQWKHLUJHQGHULGHQWLW\\RXDUHOLNHO\         SDWLHQWVZKRH[SHULHQFHGLQFUHDVHGVXLFLGDOLGHDWLRQ
    WRGRKDUP                                                     VSHFLILFDOO\DVDUHVXOWRIQRWEHLQJSHUPLWWHGWRSOD\
    %<$77251(<%522.6                                             LQDWKOHWLFVDFFRUGLQJWRWKHLUJHQGHULGHQWLW\"
    4$QGDP,FRUUHFWWKDWLWLV\RXURSLQLRQWKDW          $77251(<%25(//,2EMHFWLRQIRUP
    DYRLGLQJKDUPWRVWXGHQWVZKRH[SHULHQFHDWUDQVJHQGHU          7+(:,71(66,GR
    LGHQWLW\SHUKDSVDJHQGHUIOXLGLGHQWLW\LVDKLJKHU          %<$77251(<%522.6
   SULRULW\WKDQHQVXULQJIDLUQHVVLQFRPSHWLWLRQIRUWKRVH       47HOOXVDERXWWKDW
   ERUQIHPDOH"                                                   $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQWRIRUP           7+(:,71(66<HDK6RRQHRIP\
   7+(:,71(666RGRLQJDKDUPWR                SDWLHQWVIRUH[DPSOHKDGSOD\HGIRRWEDOO7KLV
   LQGLYLGXDOVWKDWDUHWUDQVJHQGHUFDQOHDGGLUHFWO\WR          SDWLHQWZDVDVVLJQHGIHPDOHDWELUWKLGHQWLI\LQJDV
   WKHLUGHDWK6RZH UHWDONLQJDERXWDOLIHDQGGHDWK          PDOHLQPLGGOHVFKRRO5HDOO\ZDQWHGWRSOD\LQKLJK
   H[SHULHQFHIRUWKHVHLQGLYLGXDOV:KDW\RXDUH                VFKRRODQGZDVHYHQWXDOO\QRWDOORZHGWRGRVRDQG
   UHIHUULQJWRZLWKUHJDUGWRVSRUWVSDUWLFLSDWLRQLQP\         WKHLUGHSUHVVLRQGHHSHQHG7KH\KDGQRWKDGDQ\
   YLVLRQRIDOORIWKHVSRUWVDWKOHWLFVLVDUDULW\RI           VXLFLGDOLGHDWLRQEHIRUH7KH\KDGEHHQZHOODIILUPHG
   VRPHRQHG\LQJDQGLWLVQRWEHFDXVHRIWKHKDUPSROLF\        7KH\ZHUHOLYLQJLQWKHLUJHQGHULGHQWLW\LQHYHU\RWKHU
   RIWUDQVJHQGHUSHUVRQ                                     DVSHFWRIWKHLUOLIH
   %<$77251(<%522.6                                            $QGWKH\HQGHGXSKDYLQJWRJRRQ
   4:KDW VWKHDQVZHUWRP\TXHVWLRQ"                     PHGLFDWLRQWRPDNHVXUHWKDWWRWUHDWWKDW
   &28575(3257(5([FXVHPH                     GHSUHVVLRQLQDGGLWLRQWRDOORIWKHVXSSRUWLQWKH
   $77251(<%25(//,2EMHFWLRQ                   IDPLO\DQGWHDFKHUVZHUHJLYLQJZLWKWKHLUJHQGHU


                                                  3DJH                                                        3DJH
    &28575(3257(5,MXVWZDQWWRLQWHUUXSW        LGHQWLW\
    EHFDXVHWKHZLWQHVVFXWRXWGXULQJKHUDQVZHU                  %<$77251(<%522.6
    %<$77251(<%522.6                                             4$QGGR\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHUWKDW
    4:HOO, PJRLQJWRUHDVNWKHTXHVWLRQ$QG           LQGLYLGXDOZRXOGKDYHIDFHGVHULRXVVDIHW\LQMXU\ULVNV
    ZH OOERWKWU\WRVSHDNXSDQGSHUKDSVWRVRPHH[WHQW           KDGWKDWLQGLYLGXDOQDWDOIHPDOHEHHQSHUPLWWHGWR
    WKHWUDQVFULSWZLOOKDYHWREH\RXNQRZFOHDQHGXS            SOD\IRRWEDOODWKLJKVFKRROOHYHODV\RXUSDWLHQW V
    IURPWKHUHFRUGLQJ:H OOGRWKHEHVWZHFDQ,VLW           PDOHSHHUVPDWXUHGLQWRIXOOPDOHVWDWXUH"
    \RXURSLQLRQWKDWDYRLGLQJKDUPWRWUDQVJHQGHU                  $77251(<%25(//,2EMHFWLRQWRIRUP
    LQGLYLGXDOVSRWHQWLDOO\LQFOXGLQJJHQGHUIOXLG                 7+(:,71(667KLVSDUWLFXODUSDWLHQWZDV
   LQGLYLGXDOVLVDYDOXHWKDWLVPRUHLPSRUWDQWWKDQ            ZLWKLQWKHQRUPDOUDQJHIRUDPDOHRIWKDWDJHDVIDUDV
   SURWHFWLQJWKHIDLUQHVVDQGVDIHW\IRUJLUOVDQGZRPHQ         KHLJKWZHLJKWDQG%0,VRWKHUHZDVQ WDJUHDW
   IRUWKRVHERUQIHPDOHLQVSRUW"                                GLVSDULW\ZLWKUHJDUGWRWKDW7KDWFDQFRPHXSDW
   $77251(<%25(//,2EMHFWLRQIRUP             WLPHVZLWKUHJDUGVWRVSRUWVSDUWLFLSDWLRQLQ
   7+(:,71(666RZKHQZH UHWDONLQJDERXW       FRQVLGHUDWLRQZLWKLQMXU\6RWKLVSDUWLFXODUSDWLHQW
   OLIHDQGGHDWKWKDWLVWKHXOWLPDWHRXWFRPH$QG,           ,ZRXOGQRWKDYHKDGDQ\FRQFHUQWKHUH/RWVRI
   VWLOOVD\WKDWLI\RX UHWDONLQJDERXWDSROLF\WKDW           DVVLJQHGIHPDOHVDWELUWKZKRDUHQRWWUDQVJHQGHUDOVR
   FRXOGFDXVHWKHGHDWKRIDKXPDQEHLQJWKDWLQP\            SOD\IRRWEDOOLQKLJKVFKRRO
   MXGJPHQWGRHVUDQNKLJKHUWKDQIDLUQHVVDWWKDWWLPH         %<$77251(<%522.6
   %<$77251(<%522.6                                            47DE'U$GNLQVGR\RXUHFDOOSHUPLWWLQJ
   4$QG\RXWDONHGHDUOLHUDERXW\RXUDVVHUWLRQWKDW      WKHUHSRUWLQJRIDQGEHLQJSDUWRID:1<&SRGFDVWEDFN
   \RXKDGSDWLHQWVZKRKDYHH[SHULHQFHGKDUPDVDUHVXOW         LQ"
   RIQRWEHLQJSHUPLWWHGWRSOD\DFFRUGLQJWRWKHLUJHQGHU       $<HV
   LGHQWLW\'R\RXUHFDOOWKDWWHVWLPRQ\"                       4/HWPHPDUNDV([KLELWDWZRSDJHNLQGRI
   $77251(<%25(//,2EMHFWLRQIRUP             LQWURGXFWRU\SDJHRIIWKH:1<&ZHEVLWHGHVFULELQJWKLV


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0796
                                                 3DJH                                                         3DJH
    SRGFDVW7KHGRFXPHQWLWVHOIWKHSRVWLQJLVGDWHG             4, PVRUU\,QWKLVILHOGRIWUHDWPHQWRIJHQGHU
    $XJXVW*LYHPHRQHPRPHQWKHUH                       RILQGLYLGXDOVVXIIHULQJJHQGHUG\VSKRULD"
                                      $77251(<%25(//,2EMHFWLRQIRUP
     :KHUHXSRQ$GNLQV([KLELW              7+(:,71(66,VWDUWHGFDULQJIRU
    3RGFDVW6XPPDU\:HESDJHZDVPDUNHGIRU         SDWLHQWVZKRDUHWUDQVJHQGHULQ,WKLQNDURXQG
    LGHQWLILFDWLRQ                                 %<$77251(<%522.6
                                      42ND\
    $77251(<%522.6$QGOHWPHDOVRPDUNDV        6REHWZHHQWZRDQGWKUHH\HDUVEHIRUHWKHWLPH
    ([KLELWWKHWUDQVFULSWRIWKDWSRGFDVWGRZQORDGHGRII        WKLVZDVUHFRUGHG
   RIWKH:1<&ZHEVLWH                                           2ND\
                                    /HWPHDVN\RXWRORRNDW([KLELWZKLFKLV
    :KHUHXSRQ$GNLQV([KLELW             WRVD\WKHWUDQVFULSW$QGILUVWSDJHLWLQGLFDWHVDQG
   3RGFDVW7UDQVFULSWZDVPDUNHGIRU             , OOMXVWLWGHDOVZLWKWZRFOLHQWVZLWKQDPHVDW
   LGHQWLILFDWLRQ                                OHDVWIRUSXUSRVHVRIWKHSRGFDVWRI'UHZ$GDPVDQG
                                    0DUN'R\RXUHFDOOWKDW"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4$QGWKDWWKHWLWOHDSSDUHQWO\RIWKHSRGFDVW      7+(:,71(66,ZRXOGKDYHWRYHULI\
   LVTXRWH, G5DWKHU+DYHD/LYLQJ6RQWKDQD'HDG            3UREDEO\DFFXUDWHEXW
   'DXJKWHU'R\RXVHHWKDW"                                    %<$77251(<%522.6
   $,GR                                                 40DUWLQVKRZVXSRQSDJH$FRXSOHLQFKHV
   4$QG\RXDOORZHGDUHSRUWHUIURP:1<&WRFRPH          GRZQZHVNLSWRWKHODVWSDWLHQWDWWKHHQGRIDORQJ
   LQWR\RXURIILFHDQGUHFRUGYDULRXVFRQYHUVDWLRQV             GD\DQGWKHQLWVD\VUHFDOOLQJWKLVSDWLHQW0DUWLQ
   $P,FRUUHFW"                                         $,VHHWKDW
   $77251(<%25(//,2EMHFWLRQIRUP             4/HW VJREDFNDQGMXVWORRNDWLVVXHVUHODWLQJ


                                                 3DJH                                                         3DJH
    7+(:,71(66:LWKWKHSHUPLVVLRQRI         WR'UHZ$GDPV'UHZLVLI,XQGHUVWDQGFRUUHFWO\
    WKHHYHU\RQHLQYROYHG                                      QDWDOIHPDOHLGHQWLI\LQJDWWKHWLPHRIWKLVUHFRUGLQJ
    %<$77251(<%522.6                                             DV"
    47RSDUWLFLSDWHDQGWKH\ZDLYHGWKHSULYDF\ZLWK        $'UHZZDVDVVLJQHGIHPDOHDWELUWKDQGLGHQWLILHG
    UHJDUGWRDQ\WKLQJWKDWZDVQ WLQFOXGHGLQWKHSRGFDVW         DVPDOHDWWKLVWLPH
    $P,FRUUHFW"                                          4$QGVRIDUDV\RXXQGHUVWDQGEDVHGRQ\RXU
    $77251(<%25(//,2EMHFWLRQWRIRUP            PHGLFDOHYDOXDWLRQ'UHZLVVRPHERG\ZKRZDV
    7+(:,71(667KDWZRXOGEHVWDQGDUG            FKURPRVRPDOO\IHPDOH
    %<$77251(<%522.6                                             &RUUHFW"
   4$WOHDVWDVIDUDV\RXUVHOIGR\RXUHFDOOGRLQJ      $77251(<%25(//,2EMHFWLRQWRIRUP
   WKDW"                                                          7+(:,71(66,GRQ WJHWWRYHULI\WKHLU
   $77251(<%25(//,2EMHFWLRQWRIRUP           FKURPRVRPHV:HGRQ WGRWKDW
   7+(:,71(66,GRQ WUHFDOO,VXVSHFW        %<$77251(<%522.6
   ,ZRXOGKDYH                                                  4$WWKHWLPHWKLVZDVUHFRUGHG\RXGLGKDYHDQ
   %<$77251(<%522.6                                            XQGHUVWDQGLQJGLG\RXQRWWKDW'UHZKDGIHPDOH
   4$QGGLG\RX\RXUVHOIUHYLHZWKHSRGFDVWEHIRUH        UHSURGXFWLYHELRORJ\"
   LWZDVUHOHDVHGIRUDQ\SULYDF\RUDFFXUDF\FRQFHUQV"          $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(662QP\H[DPDWWKDWWLPH
   7+(:,71(66,GRQ WUHPHPEHU7KDW V         'UHZKDGH[WHUQDOJHQLWDOLDWKDWDSSHDUHGIHPDOHDQG
   EHHQVRORQJDJR                                              VHFRQGDU\VH[FKDUDFWHULVWLFVW\SLFDORIVRPHRQH
   %<$77251(<%522.6                                            DVVLJQHGIHPDOHDWELUWK
   4,WKDVEHHQDZKLOH7KLVZDV$QG\RX         %<$77251(<%522.6
   KDGEHHQSUDFWLFLQJLQWKLVDUHDDERXWKRZORQJLQ"       4:HOOLQIDFWVRPHERG\ELRORJLFDOO\IHPDOH
   $,Q1RUWK&DUROLQD"                                    &RUUHFW"


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0797
                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQ                    ZRUNOLNH,GRZLWKHYHU\SDWLHQWZKLFKLVUHFRPPHQGHG
    7+(:,71(66$VVLJQHGIHPDOHDWELUWK          E\WKH(QGRFULQH6RFLHW\WKDW\RXJHWEDVHOLQHKRUPRQH
    %<$77251(<%522.6                                             OHYHOV,GLGDSK\VLFDOH[DP1RWHYHU\SDWLHQWJHWV
    4:HOOOHWPHDVN\RXWKLV<RXSUHVFULEHG             WRKDYHDQXOWUDVRXQGDNDU\RW\SHRUDIXOOH[RQ
    KRUPRQHVIRU'UHZ                                              DQDO\VLV,W VQRWWKHZD\\RXFDQSUDFWLFHPHGLFLQH
    $P,FRUUHFW"                                          %<$77251(<%522.6
    $<HV                                                   47XUQZLWKPHWRSDJHWKUHHRIWKHWUDQVFULSW
    4$QG\RXGLGQ WGRWKDWZLWKRXWDKLJKOHYHORI         7ZRWZRDQGDKDOILQFKHVGRZQ0+ZKR,EHOLHYHLV
    FRQILGHQFHLQ\RXUPLQGDVWRWKHELRORJ\RI'UHZ V             WKHUHSRUWHUQRWVRPHERG\ZRUNLQJIRU\RXEXWWKH
   ERG\                                                          UHSRUWHUVD\VTXRWHWKLVLV'UHZ VVHFRQGWLPHKHUH
   $P,FRUUHFW"                                         FORVHGTXRWH'R\RXVHHWKDWMXVWWZRLQFKHVGRZQ"
   $77251(<%25(//,2EMHFWLRQWRIRUP           $<HDK
   %<$77251(<%522.6                                            4,W VEHHQTXLWHDIHZ\HDUV'R\RXEHOLHYH
   4<RXZHUHQ WMXVWEDVHGRQZKDWVRPHERG\KDSSHQHG      WKDWWKDWZDVDFFXUDWHWKDWZKDWWKHHYHQWVWKDWZHUH
   WREHDVVLJQHGDWELUWK<RXEHOLHYHGWKDW'UHZZDV           UHFRUGHGKHUHZHUHRQ'UHZ VVHFRQGYLVLWWR\RXU
   ELRORJLFDOO\IHPDOHGLG\RXQRW"                              FOLQLF"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(666RDWWKHEHJLQQLQJSULRU        7+(:,71(66,WKDVEHHQVRORQJ7R
   WRWUHDWLQJSDWLHQWVZHGRORRNDWZKHUHWKHLUEDVHOLQH       YHULI\LWLVWUXH,ZRXOGKDYHWRORRNEDFNDWP\FOLQLF
   KRUPRQHVDUH6R,GLGKDYHWKDWLQIRUPDWLRQDVZHOODV       QRWHVDVZHOODVLI,HYHQVWLOOKDGLWUHFRUGHGZKHQ
   DQH[WHUQDOH[DP,GLGQ WKDYHFKURPRVRPHVRUDQ             WKH\ZHUHLQFOLQLFRUQRW
   XOWUDVRXQG                                                    %<$77251(<%522.6
   %<$77251(<%522.6                                            4$QGGR\RXNQRZDV\RXVLWKHUHWRGD\ZKHWKHU
   40\TXHVWLRQLVDWWKHWLPH\RXSUHVFULEHG             SULRUWRWKLVSHUKDSVVHFRQGPHHWLQJZLWK'UHZDQ\


                                                 3DJH                                                        3DJH
    KRUPRQHVIRU'UHZ\RXEHOLHYHGWKDW'UHZZDV                    SV\FKRORJLVWRUSV\FKLDWULVWDVVRFLDWHGZLWK\RXUQHZ
    ELRORJLFDOO\IHPDOHILUPO\GLG\RXQRW"                        FOLQLFKDGSHUVRQDOO\HYDOXDWHG'UHZWRFRQILUPWKH
    $77251(<%25(//,2EMHFWLRQIRUP              GLDJQRVLVRIJHQGHUG\VSKRULD"
    7+(:,71(66,KDGQRUHDVRQDWWKDW            $77251(<%25(//,2EMHFWLRQIRUP
    WLPHZLWKWKHGDWDLQIURQWRIP\WRLGHQWLI\'UHZDV           7+(:,71(66%HIRUHZHVWDUWWUHDWPHQW
    DQ\WKLQJRWKHUWKDQDVVLJQHGIHPDOHDWELUWK                   ZHKDYHRXUPHQWDOKHDOWKWHDPGRDQDVVHVVPHQWRIWKH
    %<$77251(<%522.6                                             SDWLHQWZLWKUHJDUGWRILQGLQJRXWWKHLUDQ\
    4$QG\RXMXVWGLGQ WFDUHZKDW'UHZ VELRORJ\ZDV       SV\FKRORJLFDOFKDOOHQJHVWKDWWKH\PD\EHKDYLQJDQG
    DV\RXFKRVHKRUPRQHVWRSUHVFULEH"                             FRQILUPLIWKH\KDYHJHQGHUG\VSKRULDDQGFRQILUPWKH
   $77251(<%25(//,2EMHFWLRQIRUP             FULWHULDIURPWKH'60*RGP\EUDLQLVMXVWWLUHG
   7+(:,71(66,LQYHVWLJDWHGZKDWLV            )URPWKH'60FULWHULD$QGLQDGGLWLRQWRWKDWZHKDYH
   QHFHVVDU\WRPRYHDKHDGZLWKWKDWSUHVFULSWLRQDQGPDNH        DSHUVRQZKRLVDORFDOPHQWDOKHDOWKSURYLGHUDOVR
   LWVDIHIRUWKHSDWLHQW                                       SHUIRUPDQ\HYDOXDWLRQDQGGHYHORSDUHODWLRQVKLSZLWK
   %<$77251(<%522.6                                            WKHSDWLHQWSULRUWRVWDUWLQJWKHWUHDWPHQW
   4:KDWZDVQHFHVVDU\ZDVWRGHWHUPLQHWKDW              %<$77251(<%522.6
   ELRORJLFDOO\'UHZZDVIHPDOH                                  4:HOOOHWPHEUHDNWKDWRXW'R\RXUHTXLUH
   $P,FRUUHFW"                                         WKDWDSV\FKRORJLVWRUSV\FKLDWULVWDVVRFLDWHGZLWK'XNH
   $77251(<%25(//,2EMHFWLRQIRUP             FRQILUPDGLDJQRVLVRIJHQGHUG\VSKRULDEHIRUH\RX
   %<$77251(<%522.6                                            SURFHHGZLWKKRUPRQDOLQWHUYHQWLRQV"
   4<RXDUHJRLQJWRWHOOWKHFRXUWWKDW\RXGLGQ W       $77251(<%25(//,2EMHFWLRQIRUP
   WU\WRGHWHUPLQHZKHWKHU'UHZZDVELRORJLFDOO\PDOHRU         7+(:,71(66,KDYHDWHDPRIPHQWDO
   IHPDOH"                                                        KHDOWKSURYLGHUVZKRZRUNZLWKPHDQGGRWKDW
   $77251(<%25(//,2EMHFWLRQIRUP             DVVHVVPHQW7KDWLVSDUWRIWKHLUVWDQGDUGMRE$QG
   7+(:,71(66,REWDLQHGEDVHOLQHEORRG         HYHU\SDWLHQWLVHYDOXDWHGE\WKDWWHDP6RPHWLPHVLW


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0798
                                                 3DJH                                                          3DJH
    LVDSV\FKLDWULVWSV\FKRORJLVW6RPHWLPHVLWLVD             $77251(<%25(//,2EMHFWLRQIRUP
    GLIIHUHQWNLQGRIPHQWDOKHDOWKSURYLGHU                       7+(:,71(662XUFOLQLFSROLF\LVWR
    %<$77251(<%522.6                                             KDYHVRPHRQHRXWVLGHRI'XNHDVZHOODVVRPHRQHLQVLGH
    4:HOOLILWLVQRWDSV\FKRORJLVWRU                   RI'XNH
    SV\FKLDWULVWRQZKDWW\SHRIPHQWDOKHDOWKZKDW            %<$77251(<%522.6
    TXDOLILFDWLRQVRIPHQWDOKHDOWKSURYLGHUVGR\RXUHO\WR        46R\RXPD\UHFDOOGR\RXUHFDOOWKDW'UHZ
    PDNHVXFKDGLDJQRVLVEHIRUHSUHVFULELQJKRUPRQDO               DQGKLVPRWKHUKDGGULYHQXSIURP)ORULGDIRUWKLV
    LQWHUYHQWLRQV"                                                  PHHWLQJV"
    $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(66<RXNQRZWKHUHDUH               7+(:,71(66,GRUHPHPEHUWKDW
   /LFHQVHG&OLQLFDO6RFLDO:RUNHUVWKDWZHZRUNZLWKWKDW        %<$77251(<%522.6
   DUHXVHGE\'XNHLQDQXPEHURIFDSDFLWLHVZLWKUHJDUG         4$QGGR\RXVRPHWLPHVFRQVLGHUGLDJQRVLVJLYHQE\
   WRPHQWDOKHDOWKFDUH                                          PHQWDOIRUSXUSRVHVRISURFHHGLQJZLWKKRUPRQDO
   %<$77251(<%522.6                                            LQWHUYHQWLRQV"
   4,VLW\RXUWHVWLPRQ\,ZDQWWREHFDUHIXORQ      $77251(<%25(//,2EMHFWLRQIRUP
   WKLV,VLW\RXUWHVWLPRQ\WKDW\RXDUHZLOOLQJWRUHO\       7+(:,71(66,IWKH\DUHOLFHQVHGWR
   RQDGLDJQRVLVE\DVRFLDOZRUNHUZLWKQRPHGLFDO             SUDFWLFHLQWKDWDUHDRUFHUWLILHGLQWKHLUVWDWHWKDW
   SV\FKRORJLFDOGHJUHHEHIRUHSUHVFULELQJDKRUPRQDO             LVZKDWZHUHO\RQ
   LQWHUYHQWLRQ"                                                  %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP             4$WWKHWRSRISDJHWZRDQGDJDLQWKLVLV
   7+(:,71(666RWKHPHQWDOKHDOWK              WKHYRLFHRIWKHUHSRUWHUVR,ZDQWWRFKHFNLWZLWK
   SURYLGHUVWKDW,XVHKDYHPDVWHU VGHJUHHHGXFDWLRQLQ         \RX,WVD\VWKHHQGRIWKHILUVWIXOOSDUDJUDSKWKDW
   FDUHIRUSDWLHQWVLQWKLVDUHDDQGKDYHRQJRLQJ                'UHZDQGKLVPRPDUHGULYLQJHLJKWKRXUVIURP
   FRQWLQXLQJPHGLFDOHGXFDWLRQZLWKUHJDUGWRWKHLU              -DFNVRQYLOOH)ORULGDWRJHWKHUHEHFDXVH1RUWK


                                                 3DJH                                                          3DJH
    DELOLW\WRDVVHVWKHPHQWDOKHDOWKRIDSDWLHQWLQIURQW        &DUROLQDLVDOVRKRPHWRRQHRIWKHRQO\FOLQLFVLQWKH
    RIWKHP                                                        VRXWKWKDWWUHDWVWUDQVJHQGHUNLGV'R\RXVHHWKDW"
    %<$77251(<%522.6                                             $,GR
    47KDWZRXOGEHDD0DVWHU VLQVRFLDOZRUN         4$QGLQ\RXUXQGHUVWDQGLQJZDVWKDWWUXHLQ
    &RUUHFW"                                               WKDW\RXKHUHKDGRQHRIWKHRQO\FOLQLFVLQWKHVRXWK
    $2IWHQLW VD0DVWHU VLQVRFLDOZRUN$OVRKDYH       WKDWWUHDWHGWUDQVJHQGHUNLGV"
    SHRSOHZKRKDYH0DVWHU VLQSXEOLFKHDOWKLQDGGLWLRQ,         $77251(<%25(//,2EMHFWLRQIRUP
    VKRXOGVD\                                                     7+(:,71(66:HZHUHRQHRIDIHZ
    4$QGVRLIVXFKDQ\HYDOXDWLRQVZDVGRQHE\D           %<$77251(<%522.6
   PHQWDOKHDOWKSURIHVVLRQDODVVRFLDWHGZLWK'XNHWKDW          4$QGWKH\KDGGULYHQDOOWKHZD\WR1RUWK
   ZRXOGKDYHEHHQDW'UHZ VILUVWYLVLWQRWDWWKHYLVLW        &DUROLQDIURP)ORULGDSUHFLVHO\EHFDXVHZKDWHYHUPHQWDO
   WKDWZDVWKHVXEMHFWRIWKLVSRGFDVWUHFRUGLQJ"                KHDOWKSURYLGHUVWKH\ZHUHVHHLQJLQ)ORULGDGLGQ WKDYH
   $77251(<%25(//,2EMHFWLRQIRUP             H[SHUWLVHLQWKLVDUHD
   7+(:,71(66$WWKDWWLPHLWFRXOGKDYH        ,VWKDWFRUUHFW"
   EHHQGRQHSK\VLFDOO\DWWKHILUVWYLVLW6RPHWLPHVZH         $77251(<%25(//,2EMHFWLRQIRUP
   KDYHKDGWKHPFRPHRQDGLIIHUHQWGD\WKDQWKHLUYLVLW         7+(:,71(667KH\GLGQ WGULYHKHUHWR
   ZLWKPH6RLWLVSRVVLEOHLWFRXOGKDYHEHHQD               VHHDPHQWDOKHDOWKSURYLGHU7KH\GURYHKHUHWRVHHPH
   GLIIHUHQWGD\,MXVWGRQ WUHPHPEHU                         DVDQHQGRFULQRORJLVW
   %<$77251(<%522.6                                            %<$77251(<%522.6
   42ND\                                                 4,DSRORJL]H:KDWHYHUSURIHVVLRQDOVZHUH
   'R\RXHYHUUHO\RQWKHGLDJQRVLVRIDQ               DGYLVLQJWKHPLQ)ORULGDGLGQ WKDYHH[SHUWLVHLQWKLV
   LQGLYLGXDO VPHQWDOKHDOWKZRUNHUQRWDVVRFLDWHGZLWK          DUHD"
   'XNHDVDQDGHTXDWHEDVLVWRSUHVFULEHKRUPRQDO                $77251(<%25(//,2EMHFWLRQIRUP
   LQWHUYHQWLRQV"                                                 7+(:,71(66:LWKUHJDUGWRKRUPRQDO


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0799
                                                3DJH                                                         3DJH
    PDQDJHPHQW                                                    %<$77251(<%522.6
    %<$77251(<%522.6                                            4'R\RXKDYHDQ\SURIHVVLRQDORSLQLRQDVWR
    4:KDWVWHSVLIDQ\GLG\RXWDNHWRJLYH              ZKHWKHUDXWLVPLWVHOIFDQFDXVHLQGLYLGXDOVWRIHHO
    \RXUVHOIFRPIRUWWKDWDQ\FRPRUELGLWLHVWKDWPLJKWEH          DOLHQDWHGIURPRUGLVDVVRFLDWHGZLWKWKHLUJHQGHU
    PLJKWFRQIRXQGWKHGLDJQRVLVRIWUDQVJHQGHULVPKDG         LGHQWLW\
    EHHQDSSURSULDWHO\DGGUHVVHGEHIRUH\RXSUHVFULEHG             $77251(<%25(//,2EMHFWLRQIRUP
    KRUPRQHVIRU'UHZ"                                             %<$77251(<%522.6
    $77251(<%25(//,2EMHFWLRQWRIRUP           4RU,VKRXOGVD\WKHJHQGHULGHQWLW\
    7+(:,71(66,PHDQ,ZRXOGKDYHWR           DVVRFLDWHGZLWKWKHLUQDWDOVH["
   ORRNEDFNDWP\QRWHVVSHFLILFDOO\WRVHHH[DFWO\ZKDW        $77251(<%25(//,2EMHFWLRQWRIRUP
   ZHKDGLQWKHUHFRUG2XUSROLF\DJDLQLVWRKDYH            7+(:,71(66:LWKWKHLQIRUPDWLRQWKDW,
   VRPHRQHZKRKDVKDGDUHODWLRQVKLSZLWKWKHSDWLHQW           KDYHZRUNHGZLWKRQRXUDXWLVPWHDPDW'XNHLVWKDW\RX
   RXWVLGHRI'XNH&OLQLFWKDWVWDWHVWKDWWKH\KDYHZHOO        NQRZLWFDQWDNHDOLWWOHORQJHUIRUSHRSOHZLWKDXWLVP
   PDQDJHGLVVXHVZLWKUHJDUGWRWKHLUPHQWDOKHDOWKDQG         WRWUXO\XQGHUVWDQGWKHLUJHQGHULGHQWLW\6RZHGR
   DUHSUHSDUHGDQGVDIHWRPRYHIRUZDUGZLWKJHQGHU             WDNHFDUHWKHUH7KDW VZK\ZHVFUHHQ
   DIILUPLQJKRUPRQHV                                           %<$77251(<%522.6
   %<$77251(<%522.6                                           4,ZRXOGOLNHWRSOD\DFOLSIURPWKLVSRGFDVW
   4$VDPDWWHURISROLF\LQ\RXUFOLQLFGR\RX          WKDWLQFOXGHV\RXUYRLFHWKHUHSRUWHU VYRLFH'UHZ V
   LQVLVWRQDGLDJQRVLVWKDWZLOOWHOO\RXZKHWKHURUQRW       YRLFH,WKLQNLWZLOOFRPHWKURXJKORXGDQGFOHDU
   WKLVSDWLHQWVXIIHUVIURPDXWLVPRIDQ\VRUW"                 , PRSWLPLVWLFIRUWKRVHRI\RX
   $77251(<%25(//,2EMHFWLRQIRUP            $77251(<%25(//,:KLOH\RX UHVHWWOLQJ
   7+(:,71(66:HGRUHTXLUHWKDWWKH\          WKLVZLOOWKHZRUGVIURPWKHUHFRUGLQJGRWKH\DSSHDU
   KDYHDVFUHHQLQJWKDWLVSHUIRUPHGZLWKLQRXUFOLQLFIRU      LQWKHWUDQVFULSWLRQ
   DQ\SRWHQWLDOVLJQVRUV\PSWRPVRIDXWLVP                    $77251(<%522.67KH\GR,ZDVDERXW


                                                3DJH                                                         3DJH
    %<$77251(<%522.6                                            WRVD\WKDWIRUHYHU\ERG\ VEHQHILW
    4$QGLI\RXLGHQWLI\WKDWDSDWLHQWGRHVKDYH          $77251(<%25(//,7KDQN\RX&RXQVHO
    VRPHVLJQVRUV\PSWRPVRIDXWLVPZKDWVLJQLILFDQFHGRHV        $77251(<%522.61RZ, PWKLQNLQJ
    WKDWKDYHDVWRKRZTXLFNO\RUZKHWKHU\RXDUHZLOOLQJ         7KDWKDVWREHOLYH$OOULJKW6RWKDW VXQPXWHG
    WRSURFHHGZLWKKRUPRQDOLQWHUYHQWLRQV"                        9,'(2*5$3+(5<RXVDLGRQH"
    $77251(<%25(//,2EMHFWLRQWRWKHIRUP       $77251(<%522.6:KDW VWKDW"
    7+(:,71(666RDJDLQHYHU\SDWLHQWLV        9,'(2*5$3+(5<RXVDLGRQH"
    GLIIHUHQW$XWLVPLVDVSHFWUXPDVLW VGHVFULEHG            $77251(<%522.6%XW,QHHGWRVD\RQ
    DXWLVPVSHFWUXPGLVRUGHUDQGVR\RXKDYHWRILJXUHRXW        WKHUHFRUGDQGWHOOSHRSOHFDQWKHFRXUWUHSRUWHU
   HDFKSDWLHQW VXQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\        KHUHPH
   ZKDW VJRLQJRQLQWKHLUOLIHDQGLIWKH\ UHUHDG\           &28575(3257(5<HV
   %<$77251(<%522.6                                           $77251(<%522.67KHFOLSWKDW, PDERXW
   4'R\RXKDYHDQ\SURIHVVLRQDORSLQLRQDVWR           WRSOD\DSSHDUVRQSDJHIRXURIWKHWUDQVFULSWWKDWLV
   ZKHWKHUDXWLVPLWVHOIFDQFDXVHDSDWLHQWWRIHHO             PDUNHG([KLELWDQGLWPDNHVXSNLQGRIWKHFHQWHU
   XQFRPIRUWDEOHZLWKWKHLULGHQWLW\"                            WZRWKLUGVRIWKHWUDQVFULSW$OOWKHZRUGVWKDW\RX
   $77251(<%25(//,2EMHFWLRQWRIRUP          ZLOOKHDURUSHUKDSVZRQ WKHDUYHU\ZHOODSSHDURQWKH
   7+(:,71(667KHLUZKROHLGHQWLW\"            WUDQVFULSW:H UHJRLQJWROLVWHQWRFOLSRQHKHUH
   %<$77251(<%522.6                                           
   4<HV                                                  :+(5(832132'&$67$8',2:$63/$<('
   $,                                               
   $77251(<%25(//,2EMHFWLRQ              %<$77251(<%522.6
   7+(:,71(66<HDK,GRQ WNQRZLI,          47KHQDUUDWRUVD\VWKDW'UHZ VRQO\TXHVWLRQZDV
   KDYHVHHQDQ\UHSRUWVDERXWWKHLUZKROHLGHQWLW\EHLQJ        TXRWHZKHQFDQ,VWDUWWHVWRVWHURQHDQG\RXUHVSRQGHG
   FDOOHGLQWRTXHVWLRQMXVWEHFDXVHWKH\KDYHDXWLVP           WRGD\VRXQGJRRG\HDKDOOULJKW,VWKDWFRQVLVWHQW


                                                                                     3DJHVWR
                                                                                                          Armistead App. 0800
                                                        3DJH                                                    3DJH
    ZLWK\RXUUHFROOHFWLRQRIZKDWKDSSHQHGWKDWGD\"                 RIRXUYLVLW,W VQRWQHFHVVDULO\SDUWWKDW,ZRXOG
    $77251(<%25(//,2EMHFWLRQIRUP                GR$QGZHDOVRKDYHIRUPVWKDWWKH\ILOORXWWKDWGRHV
    7+(:,71(66<HV                                 DQDVVHVVPHQWRIGHSUHVVLRQSULRUWRPHZDONLQJLQWKH
    %<$77251(<%522.6                                               URRP
    4:DVWKDW\RXUYRLFH"                                     %<$77251(<%522.6
    $7KDWZDVP\YRLFH                                       4'LG\RXHQVXUHWKDWDQDVVHVVPHQWKDGEHHQGRQH
    42ND\                                                    WKDWHYDOXDWHGWKHVWUHQJWKVDQGZHDNQHVVHVRI'UHZ V
    $QGGLG\RXNQRZEHIRUH\RXFDPHLQWRWKHURRP           UHODWLRQVKLSZLWK'UHZ VIDPLO\"
    WKDW'UHZ VJRDOZDVWRZDONRXWZLWKDWHVWRVWHURQH              $77251(<%25(//,2EMHFWLRQIRUP
   LQMHFWLRQRUDSUHVFULSWLRQIRUDWHVWRVWHURQH                   7+(:,71(667KHPHQWDOKHDOWK
   LQMHFWLRQ"                                                       HYDOXDWLRQGRHVLQFOXGHZDONLQJWKURXJKSDUHQW
   $77251(<%25(//,2EMHFWLRQWRIRUP             UHODWLRQVKLSVVFKRROUHODWLRQVKLSVWHDFKHU
   7+(:,71(66<RXNQRZ,GRQ WUHPHPEHU         UHODWLRQVKLSVDQGILQGLQJRXWZKHUHWKRVHDUH
   ,GRQ WUHPHPEHUZKDW,NQHZEHIRUHLQZDONHGLQWKH             %<$77251(<%522.6
   GRRU6RPHWLPHV,GR6RPHWLPHV,GRQ W                       4'LG\RXIHHOWKDW\RX\RXUVHOIQHHGHGWRKDYH
   %<$77251(<%522.6                                              DQ\XQGHUVWDQGLQJIRULQVWDQFHRI'UHZ VUHODWLRQVKLS
   41RZ,ZDQWWREHIDLU7KLVLVWKHVHDUH          ZLWK'UHZ VIDWKHUEHIRUH\RXSURFHHGHGWRSUHVFULEH
   FOLSVDQGWKH\ UHFDUHIXOO\GRQHVR,FDQ WEHVXUH             FURVVVH[KRUPRQHV"
   ZKHWKHUWKHUHDUHWKLQJVLQEHWZHHQ                             $77251(<%25(//,2EMHFWLRQIRUP
   $&RUUHFW                                                7+(:,71(66,ZRXOGZDQWWRNQRZZKHUH
   4'R\RXKDYHDQ\UHFROOHFWLRQDVWRDQ\                  WKHLUUHODWLRQVKLSVDUH
   GLVFXVVLRQRUDQ\IXUWKHUHYDOXDWLRQWKDWKDSSHQHG               %<$77251(<%522.6
   EHWZHHQKH\KRZDUH\RXDQG\RXUYRLFHDQGDQVZHULQJ         46R'UHZ VPRWKHUDWWHQGHG:KDWVWHSVGLG\RX
   WKHTXHVWLRQZKHQFDQ,VWDUWWRGD\"                            WDNHWRILQGRXWZKDW'UHZ VUHODWLRQVKLSZLWK'UHZ V


                                                        3DJH                                                    3DJH
    $77251(<%25(//,2EMHFWLRQIRUP                IDWKHUZDV"
    7+(:,71(666RPRVWW\SLFDOO\EHIRUH,          $77251(<%25(//,2EMHFWLRQIRUP
    ZDONLQWRDURRP,KDYHUHYLHZHGWKHSDWLHQW VPHGLFDO            7+(:,71(66,GRQ WUHPHPEHU,ZRXOG
    UHFRUG,KDYHUHYLHZHGWKHLUOHWWHUIURPWKHLUPHQWDO           KDYHWRORRNEDFN
    KHDOWKSURYLGHU$QG,KDYHUHYLHZHGDQ\ODERUDWRU\              %<$77251(<%522.6
    HYDOXDWLRQWKDW,KDYHUHFHLYHGIURPWKHPSULRUDQG               4$QGGRHV\RXUFOLQLFEHIRUHSUHVFULELQJKRUPRQDO
    JHQHUDOO\UHYLHZWKHLUUHFRUGV6R,ZRXOGFRPHLQWRD           LQWHUYHQWLRQVPDNHVXUHWKDWDQRYHUDOOSV\FKRWKHUDS\
    YLVLWZLWKWKDWVRUWRIIUHVKLQP\PLQG                         WUHDWPHQWSODQKDVEHHQSUHSDUHGWRGLDJQRVHDQGDGGUHVV
    %<$77251(<%522.6                                               DQ\RWKHUSV\FKRORJLFDORUVRFLDOGLIILFXOWLHVVXIIHUHG
   46RLWLVFRQVLVWHQWZLWK\RXUUHFROOHFWLRQWKDW         E\WKHSDWLHQW"
   RQ'UHZ VVHFRQGPHHWLQJZLWK\RX\RXZDONHGLQWRWKH           $77251(<%25(//,2EMHFWLRQWRIRUP
   URRPKDYLQJPDGHXS\RXUPLQGWRJLYH'UHZWHVWRVWHURQH"         7+(:,71(666R\RXNQRZ,IROORZWKH
   $77251(<%25(//,2EMHFWLRQIRUP               JXLGHOLQHVWKDWVD\WKDWZHVKRXOGKDYHDQ\RIWKH
   7+(:,71(66%DVHGRQWKHZRUGVWKDWDUH         PHQWDOKHDOWKLVVXHVZHOOPDQDJHGDQGWKDW VZK\ZHXVH
   KHUHWKDWZRXOGEH,ZRXOGKDYHUHYLHZHGWKH                KDYHRXUSDWLHQWVKDYHDPHQWDOKHDOWKSURYLGHUDQG
   LQIRUPDWLRQWKDW,QHHGHGWRNQRZWKDWWKDWZRXOGEH             WKDW VZK\ZHKDYHWKHPWHOOXVWKDWLQZULWLQJ
   VDIH                                                            %<$77251(<%522.6
   %<$77251(<%522.6                                              46R, PJRLQJWRSOD\DVHFRQGFOLSWKDWSLFNVXS
   4$QGLQEHWZHHQZDONLQJLQWKHURRPDQGWHOOLQJ          H[DFWO\ZKHUHZHOHIWRIIRQWKHWUDQVFULSWWKDWLVDW
   'UHZWRGD\\D\DOOULJKWGLG\RXPDNHDQ\IXUWKHU            WKHYHU\ERWWRPRISDJHILYHDQGFRQWLQXLQJKDOIZD\
   LQTXLU\DERXWZKHWKHU'UHZLQWKHODVWVLQFHKHODVW         , PVRUU\WKHYHU\ERWWRPRISDJHIRXUDQGFRQWLQXLQJ
   VDZ\RXKDGEHHQVXIIHULQJIURPDQ\VRUWRIGHSUHVVLRQ"          KDOIZD\GRZQSDJHILYH,I\RXZRXOG
   $77251(<%25(//,2EMHFWLRQWRIRUP          
   7+(:,71(666RW\SLFDOO\WKDWLVSDUW           



                                                                                                    3DJHVWR
                                                                                                     Armistead App. 0801
                                                 3DJH                                                         3DJH
     :+(5(832132'&$67$8',2:$63/$<('                           WHVWRVWHURQHDWDIXWXUHGDWH
                                       &RUUHFW"
    $77251(<%522.67KDWZDVEDFNJURXQG            $77251(<%25(//,2EMHFWLRQIRUP
    QRLVH,WKRXJKWLWZDVFRPLQJWKURXJKKHUH,                7+(:,71(66&RUUHFW
    DSRORJL]H-XVWVWDUWLWDJDLQ0\PLVWDNH                   %<$77251(<%522.6
                                      4$QGWKDWLVVWLOOSDUWRI\RXUGLVFORVXUHWRGD\
     :+(5(832132'&$67$8',2:$63/$<('                           LVWKDWFRUUHFW"
                                       $7KDW VSDUWRILW:HDFWXDOO\KDYHPRUH
    %<$77251(<%522.6                                             VWXGLHVWKDWVKRZDFWXDOO\DQHTXDOIHUWLOLW\UDWHIRU
   4'U$GNLQVGR\RXEHOLHYHWKDWWKHEDVLF             RXUWUDQVJHQGHUPDOHVZKRKDYHEHHQRQWHVWRVWHURQHDQG
   QDUUDWLYHKHUHDFFXUDWHO\GHVFULEHVZKDWKDSSHQHGWKDW        FRPHRIIDQGFKRRVHWRJHWSUHJQDQWDVWKHLUFLVJHQGHU
   \RXFDPHLQ\RXVSRNHZLWK'UHZ\RXZHQWRXWDQG            SHHUVWKHLUDVVLJQHGIHPDOHVDWELUWKZKR YHQHYHUEHHQ
   ZKLOH\RXZHUHRXWRQHRI\RXUDLGHVUHDGULVN                 WKURXJKDQ\WHVWRVWHURQHWUHDWPHQW
   GLVFORVXUHVIRUFRQVHQWWR'UHZDQG'UHZ VPRWKHU"             4%HFDXVHRIWKHSUHVHQWVFLHQFH\RXVWLOOPDNH
   $77251(<%25(//,2EMHFWLRQIRUP             H[DFWO\WKHVDPHFDXWLRQLQ\RXUZDUQLQJVWRSDWLHQWV
   7+(:,71(667KDWLVSDUWRILW               EHIRUHSUHVFULELQJWHVWRVWHURQH
   %<$77251(<%522.6                                            &RUUHFW"
   4$QGWKHQDUUDWRUVDLGDWWKHEHJLQQLQJ                $77251(<%25(//,2EMHFWLRQWRIRUP
   H[SODLQLQJWKLVSURFHVVWKDWWKHUHZHUHVWLOODVRI           7+(:,71(66,GR
   DORWRIXQNQRZQVDERXWZKDWWKHVHKRUPRQHVZLOO         %<$77251(<%522.6
   GRORQJWHUP:DVWKDWDQDFFXUDWHVWDWHPHQWDWWKH           4$QGVRWKHVHTXHQFHLVWKDW\RXVDLGZLWKUHJDUG
   WLPHLQ\RXURSLQLRQ"                                          WRDGPLQLVWHULQJWHVWRVWHURQHZKLFK\RXFDXWLRQHGRU
   $77251(<%25(//,2EMHFWLRQIRUP             FOLQLFFDXWLRQHGFRXOGEHSRWHQWLDOO\VWHULOL]LQJ\RX
   7+(:,71(66:H YHOHDUQHGDORWPRUH         DVWKHGRFWRUVDLGWR'UHZVRXQGJRRG\HDKDOOULJKW


                                                 3DJH                                                         3DJH
    :HKDYHJRWKRZHYHUPDQ\PRUH\HDUVZKDWILYHPRUH            $QGWKHQ\RXOHIWWKHURRPZKLOHVRPHERG\HOVHUHDG
    \HDUVDWOHDVWRILQIRUPDWLRQVLQFHWKHQ<RXFDQ W            ZDUQLQJVDQGGLVFORVXUHV
    NQRZZKDWHYHU\VLQJOHWKLQJWKDWHYHU\GUXJLVJRLQJWR        ,VWKDWULJKW"
    GRIRUHYHU                                                     $77251(<%25(//,2EMHFWLRQIRUP
    %<$77251(<%522.6                                             7+(:,71(667KDWGRHVQ WLVWKDW
    42QHRIWKHWKLQJVWKDW\RXLQFOXGHGDWWKDWWLPH       ZKDWWKHVHTXHQFHZDVLQWKLVUHSRUW",WORRNVOLNH
    LQ\RXUFDXWLRQVRUGLVFORVXUHVZDVWKDWWDNLQJWKHVH           WKDW,DOVRPDNHVXUHWKDWWKHSDWLHQWVKDYHDGHTXDWH
    FURVVVH[KRUPRQHVPLJKWSUHYHQWDSDWLHQWZKRKDG          WLPHWRDQVZHUTXHVWLRQV,XVXDOO\JLYHWKHPWKLVIRUP
    ZDVDQDWDOIHPDOHIURPHYHUEHLQJDEOHWRJHWSUHJQDQW        DKHDGRIWKHYLVLWVRWKH\FDQUHYLHZLWDQGLQFDVH
   HYHQLI'UHZVWRSSHGWDNLQJWHVWRVWHURQHLQWKHIXWXUH        WKHLUUHDGLQJLVWKHLUEHWWHUPHWKRGYHUVXVYHUEDO
   &RUUHFW"                                              7KDW VZK\ZHGRLWLQWZRGLIIHUHQWZD\VDVIDUDV
   $77251(<%25(//,2EMHFWLRQIRUP2QH        WKHLUOHDUQLQJVW\OH:HPDNHHYHU\HIIRUWWRKHOSPDNH
   RWKHUMXVWSLHFHRIFODULW\IRUWKHUHFRUG,ZDQWWR          VXUHWKDWRXUSDWLHQWVXQGHUVWDQG
   PDNHVXUHWKDWLWLVFOHDUWKDWWKHWUDQVFULSWDQG             $77251(<%25(//,:HKDYHEHHQJRLQJD
   UHFRUGLQJLVQRWDFRPSOHWHUHFRUGLQJRIWKHHQWLUH            ZKLOH&DQZHWDNHDEUHDNVRRQ",WKLQNZHVKRXOG
   YLVLW                                                         $77251(<%522.6)DLUO\VRRQ:H OO
   $77251(<%522.6,KDYHPDGHWKDWFOHDU        ILQLVKWKLVOLQHRITXHVWLRQLQJDQGWKLVFOLS
   ,WKLQN                                                       %<$77251(<%522.6
   $77251(<%25(//,7KDQN\RX&RXQVHO          4<RX\RXUVHOIGLGQ WHYHUVLWGRZQDQGWDON
   %<$77251(<%522.6                                            WKURXJKNQRZQRUSRWHQWLDOVLGHHIIHFWVZLWKHLWKHUWKH
   40\TXHVWLRQLVRQHRI\RXUGLVFORVXUHVLQ        FKLOGRUWKHPRWKHULQWKLVFDVHGLG\RX"
   ZDVWKDWWKHDGPLQLVWUDWLRQRIWHVWRVWHURQHWRDQDWDO         $77251(<%25(//,2EMHFWLRQIRUP
   IHPDOHPLJKWPHDQWKDWWKDWLQGLYLGXDOZRXOGQRWHYHUEH       7+(:,71(66,GRQ WUHPHPEHULW
   DEOHWRJHWSUHJQDQWHYHQVKRXOGWKHSDWLHQWVWRSWDNLQJ       VSHFLILFDOO\HYHU\YLVLWIURPDQGH[DFWO\ZKDW


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0802
                                                 3DJH                                                        3DJH
    KDSSHQHG                                                       %<$77251(<%522.6
    %<$77251(<%522.6                                             4+DYH\RX\RXUVHOIHYHUSDUWLFLSDWHGDVD
    4$VDPDWWHU                                       SK\VLFLDQLQDVRFDOOHGSKDVHRQHFOLQLFDWULDO"
    $77251(<%25(//,&RXQVHO, PVRUU\,         $77251(<%25(//,2EMHFWLRQWRIRUP
    WKLQN,KHDUGWKHZLWQHVVVD\DPRPHQWDJRWKDWDEUHDN         7+(:,71(666RSKDVHRQHW\SLFDOO\LV
    ZRXOGEHJRRG:K\GRQ WZHEUHDNKHUH"&DQZHFRPH           GRVHUHODWHG,KDYHQRWGRQHWKRVH,KDYHGRQHSKDVH
    EDFNLQVD\WHQPLQXWHV"                                        WZRSKDVHWKUHHDQGWKHQDIWHUPDUNHW
    $77251(<%522.6:HFDQVD\WKDWRU,           %<$77251(<%522.6
    FDQILQLVKWKLVSDUDJUDSK                                      43KDVHRQHLVDPRQJRWKHUWKLQJVUHTXLUHGWR
   $77251(<%25(//,:K\GRQ WZHEUHDN           HVWDEOLVKVDIHW\
   QRZ:H YHEHHQJRLQJDZKLOH7KDQN\RX                    $P,FRUUHFW"
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       $77251(<%25(//,2EMHFWLRQIRUP
   FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH            7+(:,71(667KDWLVSDUWRIWKH
   2))9,'(2                                                      REMHFWLYHRIDSKDVHRQHVWXG\
                                    %<$77251(<%522.6
    :+(5(8321$3$86(,17+(5(&25':$6+(/'                    4$QGLQGHHGLWLVDUHTXLUHGSDUWRIWKH
                                    REMHFWLYH
   219,'(2                                                       5LJKW"
   9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG        $77251(<%25(//,2EMHFWLRQIRUP
   &XUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH            7+(:,71(66<HV
   %<$77251(<%522.6                                            %<$77251(<%522.6
   4'U$GNLQVLQGHDOLQJZLWK'UHZ\RXKDYHD          4$QGWR\RXUNQRZOHGJHKDVDQ\VWXG\RIVDIHW\
   VRFLDOZRUNHUUHDGWKHGLVFORVXUHVWKHZDUQLQJV'LG         RIDGPLQLVWHULQJWHVWRVWHURQHIRUWKHSXUSRVHRI
   \RX\RXUVHOIHYHUSUHVHQWWR'UHZRSWLRQVIRU                DSSHDULQJPRUHPDVFXOLQHLQQDWDOIHPDOHVHYHUEHHQGRQH


                                                 3DJH                                                        3DJH
    IHUWLOLW\SUHVHUYDWLRQ"                                         DWDOHYHORIULJRUWKDWFRXOGVDWLVI\)'$UHTXLUHPHQWV"
    $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
    7+(:,71(66<HVWKDWLVDFRQYHUVDWLRQ        7+(:,71(666R,GRQ WKDYHWKH)'$
    ,KDYHZLWKP\SDWLHQWV                                        VWDQGDUGVULJKWLQIURQWRIPH,KDYH\RXNQRZUHDG
    %<$77251(<%522.6                                             DUWLFOHVWKDWUHSRUWRXWFRPHVDQGVLGHHIIHFWVDQG
    4<RX\RXUVHOIKDYHWKDWFRQYHUVDWLRQ"                 VDIHW\SURILOHV7KHUHDUHRWKHUWHVWRVWHURQHWKHUH
    $,GR                                                  DUHWHVWRVWHURQHSURGXFWVRQWKHPDUNHWWKDWDUH)'$
    4/HW VDQGGLG\RXH[SODLQ,VHHWKDWWKH       DSSURYHGIRUXVLQJFLVJHQGHUIHPDOHV
    GLVFORVXUHZHKHDUGWKHGLVFORVXUHWKDWLW V            %<$77251(<%522.6
   XVLQJWHVWRVWHURQHWRDSSHDUPRUHPDVFXOLQHLVRIIODEHO       4'R\RXNQRZZKHWKHUDQ\VDIHW\VWXG\KDVHYHU
   XVH,VWKDWSDUWRI\RXUVWDQGDUGGLVFORVXUHV"               EHHQGRQHIRUDGPLQLVWUDWLRQRIWHVWRVWHURQHWRQDWDO
   $77251(<%25(//,2EMHFWLRQIRUP             IHPDOHVIRUWKHSXUSRVHRIDSSHDULQJPRUHPDVFXOLQHDWD
   %<$77251(<%522.6                                            OHYHORIULJRUWKDWFRXOGVDWLVI\)'$UHTXLUHPHQWV"
   4'R\RXH[SODLQWR\RXUSDWLHQWVWKDWWKHIDFW         $77251(<%25(//,2EMHFWLRQIRUP
   WKDWLWLVRIIODEHOPHDQVWKDWQRVWXGLHVWKDW                7+(:,71(66,FDQ WDQVZHUWKHTXHVWLRQ
   HVWDEOLVKVDIHW\RIXVHRIWHVWRVWHURQHIRUWKDWSXUSRVH       ZLWKRXW\RXNQRZ,ZRXOGKDYHWRUHDOO\ORRNDWWKH
   DWWKHOHYHODVZRXOGEHUHTXLUHGIRU)'$DSSURYDOKDYH        LQGLFDWLRQVWKH)'$UXOHV
   EHHQGRQH"                                                     %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP             42ND\
   7+(:,71(661RWKDWZRXOGQ WEHDQ           /HW VOLVWHQWRDWKLUGDQGILQDOFOLS7KLV
   DFFXUDWHVWDWHPHQW7KRVHVWXGLHVFDQEHGRQH7KH\          RQHEHJLQVZLWKDVHQWHQFHWKHODVWRQHHQGHGZLWKRQ
   MXVWKDYHQ WEHHQSUHVHQWHGE\WKHFRPSDQ\PDQXIDFWXULQJ       SDJHILYHDQGUXQVMXVWRQWRSDJHVL[,EHOLHYH(QG
   WKHPHGLFDWLRQWRWKH)'$WRWU\DQGJHWWKDW                  RISDJHILYH/HW VKHDUWKDW
   FHUWLILFDWLRQIURPWKH)'$                                 



                                                                                      3DJHVWR
                                                                                                    Armistead App. 0803
                                                  3DJH                                                       3DJH
                                      KRUPRQHVDVKDSS\GUXJV"
     :+(5(832132'&$67$8',2:$63/$<('                           $77251(<%25(//,2EMHFWLRQIRUP
                                      7+(:,71(666RLI\RXZLOOUHFDOOZH
    %<$77251(<%522.6                                             XVHWKHPHGLFDWLRQWRGHFUHDVHG\VSKRULDZKLFKLVD
    4$OOULJKW                                             GLVFRPIRUWDQGWRLPSURYHGHSUHVVLRQ6RDQ\
    0\LPSUHVVLRQFRUUHFWPHRUWHOOPHLI\RX            PHGLFDWLRQWKDWZRXOGUHOLHYHWKRVHWKLQJVFRXOGEH
    DJUHHWKDWFOLSLVMXVWDVLQJOHXQEURNHQELWRI               GHVFULEHGDVDKDSS\GUXJ, PRND\ZLWKWKDW
    FRQYHUVDWLRQQRWSLHFHGWRJHWKHUIURPGLIIHUHQWWKLQJV        %<$77251(<%522.6
    ,VWKDWFRQVLVWHQWZLWKZKDW\RXKHDUGDQGZKDW\RX             4$QGDIWHU'UHZVD\VKDSS\GUXJ\RXVDLG\D\
   UHFDOO"                                                        \D\$UH\RXFRPIRUWDEOHWKDW VFRQVLVWHQWZLWK\RXU
   $77251(<%25(//,2EMHFWLRQIRUP             UROHDVDGRFWRULQOLJKWRISRWHQWLDOGRZQVLGHVDQG
   7+(:,71(66<RXNQRZ,GRQ WUHPHPEHU       VLGHHIIHFWVRIWKLVWUHDWPHQWDQGWKLVFKLOG VOLIHWR
   %<$77251(<%522.6                                            VHUYHWKHUROHRIDFKHHUOHDGHUVD\LQJ\D\\D\"
   42ND\                                                 $77251(<%25(//,2EMHFWLRQ&RXQVHO,
   <RXFRPHEDFNLQWKHURRPZLWKDSUHVFULSWLRQ         MXVWZDQWWRQRWHIRUWKHUHFRUGLW VQRWFOHDUIURP
   LQ\RXUKDQGWKHZDUQLQJVKDYHEHHQUHDGZKLOH\RXZHUH       WKDWUHFRUGLQJWKDWERWK\D\VDUHLQWKHVDPHYRLFH
   RXWVLGH<RXDVNJXHVVZKDW,KDYHLQP\KDQG<RX          7KDW VDFWXDOO\QRWZKDW,KHDUG
   KHDUGWKHFOLSDQG,VHHZKDWLWVD\VWKHUH,VWKH           $77251(<%522.6,I\RXKDYHDQ
   YRLFHWKDWVD\VKDSS\GUXJV'UHZ VYRLFHRU\RXUYRLFH"        REMHFWLRQ\RXFDQUDLVHLWODWHU
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,,QHHGWRPDNHP\
   7+(:,71(660LQH0\YRLFH                  UHFRUGQRZ&RXQVHO
   %<$77251(<%522.6                                            $77251(<%522.61R\RXQHHGWRUDLVH
   47KHYRLFHWKDWVD\VKDSS\GUXJVLV\RXUYRLFH        \RXUREMHFWLRQQRZ<RXJHWWRGLVFXVVLWIXUWKHULQ
   $QGWKHYRLFHWKDWVD\V\D\\D\VDOVR\RXUYRLFH",I       IURQWRIWKHFRXUW


                                                  3DJH                                                       3DJH
    \RXZDQWWRKHDULWDJDLQ\RXFDQ                              %<$77251(<%522.6
    $,W VQRWODEHOHGWKDWZD\                             4,ZLOOUHDVNP\TXHVWLRQ'R\RXFRQVLGHULW
    4:HOO\D\\D\LVODEHOHG\RX"                         FRQVLVWHQWZLWK\RXUUROHDVDSK\VLFLDQLQOLJKWRI
    $<D\\D\LVODEHOHGPH"2ND\                         WKHSRWHQWLDOGRZQVLGHVDQGVLGHHIIHFWVIURPFURVVVH[
    4'RFWRU$"                                              KRUPRQHVIRUWKLVFKLOGIRU\RXWRSOD\WKHUROHRI
    $,W VUHDOO\FRQIXVLQJEHFDXVHLW V                FKHHUOHDGHUVD\LQJ\D\"
    4/HW VGRWKLV/HW VOLVWHQWRWKLVRQHPRUH          $77251(<%25(//,2EMHFWLRQIRUP
    WLPH                                                           7+(:,71(666RLQP\MREDVDSK\VLFLDQ
    $7KHUHLVFRQIXVLRQ                                    ,RIWHQDPKHOSLQJPRWLYDWHP\SDWLHQWVLPSURYHWKHLU
   4,ZDQW\RXWROLVWHQGRQ WWUXVWWKHODEHOV      RYHUDOOKHDOWK$QGLQWKDWZD\,RIWHQVRXQGOLNH,DP
   /LVWHQWRWKHYRLFHRQKDSS\GUXJV7KH\PD\EH          DFKHHUOHDGHUDQG,DPWU\LQJWRKHOSWKHPEHOLHYHLQ
                                    WKHPVHOYHVDQGXQGHUVWDQGDQGIHHOJRRGPRYLQJIRUZDUG
    :+(5(832132'&$67$8',2:$63/$<('                          ZLWKPHGLFDWLRQWUHDWPHQWVWRKDYHWKHEHVWOLNHOLKRRG
                                     RIVXFFHVV6R,PD\VD\\D\
   %<$77251(<%522.6                                            9,'(2*5$3+(5([FXVHPH<RXJRWFXW
   4:KRVHYRLFHVD\VKDSS\GUXJV"                         RXWWKHUHLQWKHPLGGOHRIWKDWLQWKHPLGGOHRI
   $7KDWVRXQGHGOLNH'UHZ                               \RXUDQVZHU
   42ND\                                                 7+(:,71(662ND\
   6RWKHODEHOLQJ\RXEHOLHYHLVFRUUHFW,MXVW       'R\RXZDQWPHWRVWDUWRYHU"
   ZDQWHGWRGRXEOHFKHFNWKDW                                   $77251(<%522.6:KRZDVWKDW"
   $UH\RXDVDSK\VLFLDQLQOLJKWRIDOORIWKH       $77251(<:,/.,16217KDWZDVWKHFRXUW
   GLVFORVXUHVWKDWKDYHMXVWEHHQPDGHDERXWSRWHQWLDO           UHSRUWHU,FDQPDNHDUHFRUGLQJLIHYHU\RQHLVKDSS\
   VLGHHIIHFWVSRWHQWLDOKDUPIXOHIIHFWVZHUH\RX              ZLWKP\SKRQHMXVWRQWKHWDEOHVRZHFRXOGUHIHUWR
   FRPIRUWDEOHZLWKWKHFKLOGUHIHUULQJWRFURVVVH[              WKDWODWHULIWKDW VXVHIXOLIZH UHFRQFHUQHGDERXWWKH


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0804
                                                3DJH                                                        3DJH
    DXGLRFXWWLQJRXW                                             VKHGRHVQ WOLNHWDONLQJDERXWZKDW'UHZ VOLIHZDVOLNH
    $77251(<%522.67KHUHLVQRKDUPLQD         EHIRUHKHVWDUWHGWUDQVLWLRQLQJ%XWZKHQ,DVNHGKHU
    EDFNXSUHFRUGLQJ9RLFHVZLOOEHLGHQWLILDEOH,I\RX        KRZVKHNQHZOLYLQJDVDER\ZDVWKHULJKWFKRLFHIRU
    ZDQWWRVHWLWWKHUHE\WKDWVSHDNHU                          'UHZVKHZDVEOXQW6KHVDLG, GUDWKHUKDYHDOLYLQJ
    $77251(<:,/.,1621,I\RX UH                  VRQWKDQDGHDGGDXJKWHU'R\RXVHHWKDW"
    FRPIRUWDEOH                                                   $,GR
    $77251(<%25(//,,MXVWZDQWWRFKHFN         4'LG\RXHYHUWHOO'UHZ VPRWKHUWKDWWKDWZDV
                                                                WKHFKRLFHWKDWVKHIDFHGEHWZHHQDOLYLQJVRQDQGD
    &28575(3257(5:KRLVWDONLQJULJKW           GHDGGDXJKWHU"
   QRZ, PVRUU\ZKRLVZKRLVWDONLQJDERXWWKHLU        $77251(<%25(//,2EMHFWLRQWRIRUP
   SKRQH,GRQ WXQGHUVWDQG/LNH,GRQ WNQRZZKR V         7+(:,71(66,ZRXOGQRWKDYHXVHGWKDW
   VSHDNLQJ                                                     SKUDVH,ZRXOGKDYHGLVFXVVHGWKHULVNRIVXLFLGDOLW\
   $77251(<%522.6-XVWQRZP\FROOHDJXH        %<$77251(<%522.6
   /DZUHQFH:LONLQVRQLVSURSRVLQJWRVHWKLVL3KRQHRQ          4'LG\RXHYHUKHDU'UHZ VPRWKHUVD\VKH
   UHFRUGE\WKHVSHDNHUKHUHVRWKHUHZLOOEHDEDFNXS          XQGHUVWRRGWKDWZDVWKHFKRLFHVKHIDFHGEHWZHHQD
   RQVLWHUHFRUGLQJLQFDVHDQ\WKLQJLVGURSSHGRYHUWKH         OLYLQJVRQDQGDGHDGGDXJKWHU"
   LQWHUQHW$QGWKDWZLOOEHPDGHDYDLODEOHERWKWRWKRVH      $77251(<%25(//,2EMHFWLRQIRUP
   ZKRDUHOLVWHQLQJDQGWRWKHFRXUWUHSRUWHUVHUYLFH          7+(:,71(66<RXNQRZ,KDYHKHDUGLW
   $GGUHVVVRPHRIWKHFRQFHUQV6ROHW VILUHWKDWXSDQG      VLQFHWKHQEHFDXVHRIWKHSRGFDVWVR,FDQ WUHPHPEHU
   LWZLOOEHWKHUH                                             LI,KHDUGLWEHIRUHWKHQRUQRW,GRQ WUHFDOO
   %<$77251(<%522.6                                           KHDULQJLWEHIRUHWKHQ
   4,ZLOOFRQWLQXHZLWKP\TXHVWLRQLQJ'LGLW         %<$77251(<%522.6
   FDXVH\RXDQ\FRQFHUQWKDWLQUHIHUULQJE\UHIHUULQJ      4:KHQ\RXVDZWKHWLWOHWRWKHSRGFDVWGLG\RX
   WRDWHVWRVWHURQHLQMHFWLRQDVKDSS\GUXJVWKDWWKDWZDV      FDOO:1<&DQGH[SUHVVDQ\FRQFHUQWKDWWKDWWLWOHFRXOG


                                                3DJH                                                        3DJH
    DQLQGLFDWLRQWKDW\RXQJ'UHZZDVQRWWDNLQJVHULRXVO\         EHPLVOHDGLQJ"
    WKHPLQXWHV ZRUWKRIFDXWLRQVDQGZDUQLQJVWKDWKDG        $77251(<%25(//,2EMHFWLRQIRUP
    MXVWEHHQUHDG"                                                7+(:,71(66,GLGQRW
    $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
    7+(:,71(666RJLYHQWKDWWKH                 4+DYH\RXHYHUFRQVXOWHGUHVHDUFKRQWKHUDWHRI
    PHGLFDWLRQLVXVHGWRGHFUHDVHG\VSKRULDDQGLPSURYH           VXLFLGHDPRQJSUHDGROHVFHQWVIRUDQ\SXUSRVH"
    GHSUHVVLYHV\PSWRPVLQWKDWZD\LWGRHVPDNHVRPHRQH          $77251(<%25(//,2EMHFWLRQWRIRUP
    KDSSLHU$QG,KDYHQRLVVXHZLWKDSDWLHQWZKRLV            %<$77251(<%522.6
    XVLQJDJHQHUDOUHIHUHQFHDVKDSS\GUXJVLQWKDWWKDWLV       4,QDQ\FDWHJRU\"
   SDUWRIZKDWZLOOKDSSHQZLWKWKHPHGLFDWLRQ,GLGQ W       $5HSHDWWKHTXHVWLRQSOHDVH
   KDYHDQ\FRQFHUQVZLWKUHJDUGWRWKHIDFWWKDW'UHZPD\       4+DYH\RXHYHUFRQVXOWHGUHVHDUFKRUGDWDDERXW
   QRWKDYHJRWWHQHYHU\WKLQJKHQHHGHGWRXQGHUVWDQGZKDW       WKHUDWHRIVXLFLGHDPRQJSUHDGROHVFHQWVSHULRG"
   KHZDVJRLQJLQWRJRLQJIRUZDUGZLWKWKLVPHGLFDWLRQ         $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(663UHDGROHVFHQWVKDYH,
   4/HW VEDFNXSWRSDJHIRXURIWKHWUDQVFULSW        FRQVXOWHGUHVHDUFKRQVXLFLGDOLW\RQSUHDGROHVFHQWVVR
   $QGZH UHQRWJRLQJWROLVWHQWRDQ\RUHFOLSV               EHIRUHSXEHUW\1RWLQDZKLOH
   (YHU\ERG\ZLOOEHKDSS\WRNQRZSHUKDSV                      %<$77251(<%522.6
   $77251(<%25(//,,W VXQVWDEOH              4<RXDUHDZDUHDUH\RXQRWWKDWLQFLGHQFHVRI
   7+(:,71(667KHUHZHJR                     DFWXDOVXLFLGHDUHH[WUHPHO\UDUHLQLQGLYLGXDOVRIDOO
   %<$77251(<%522.6                                           FDWHJRULHVEHIRUHSXEHUW\"
   42ND\                                                $77251(<%25(//,2EMHFWLRQIRUP
   $QGWRZDUGVWKHWRSRISDJHIRXUWKHVHFRQG         7+(:,71(667KDWVRXQGVFRQVLVWHQWZLWK
   SDUDJUDSKWKHQDUUDWRUDQGWKLVLVQRW\RXVSHDNLQJ      WKHOHDGLQJFDXVHVWKDW,UHFDOOIRUGHDWKEHIRUH
   DQGLWLVQRW'UHZ VPRWKHUVSHDNLQJ7KHQDUUDWRUVD\V      SXEHUW\


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0805
                                                 3DJH                                                         3DJH
    %<$77251(<%522.6                                             7+(:,71(66([FXVHPH1R
    4$QG\RX\RXUVHOIDUHQRWDZDUHRIDVLQJOH           %<$77251(<%522.6
    FDVHRIVXLFLGHE\DSUHDGROHVFHQWJHQGHUG\VSKRULD             4+DYH\RXIROORZHGXSVRWKDW\RXKDYHFXUUHQW
    SDWLHQWWKDWKDVFRPHWR\RXUFOLQLF"                           LQIRUPDWLRQDERXW'UHZ VPHQWDOSK\VLFDODQGVRFLDO
    $77251(<%25(//,2EMHFWLRQIRUP              KHDOWKDVRIWRGD\ZKLFKZRXOGEHDERXWDJH"
    7+(:,71(661R                                $77251(<%25(//,2EMHFWLRQIRUP
    %<$77251(<%522.6                                             7+(:,71(66'UHZ VQRORQJHUP\
    4$QGKDYH\RXFRQVXOWHGDQ\UHVHDUFKRQWKHUDWH        SDWLHQWKDVWUDQVLWLRQHGWRDGXOWFDUH7KDW VQRW
    RIDFWXDOVXLFLGHE\FKLOGUHQVXIIHULQJIURPJHQGHU             ZKDW,GRVR,GRQ WKDYHDFFHVVWRWKDW
   G\VSKRULDXQGHUWKHDJHRI"                                 %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP             4:KDWSURFHGXUHVGR\RXKDYHLQSODFHLIDQ\LQ
   7+(:,71(66+DYH,"<HV                     \RXUFOLQLFWRIROORZXSORQJWHUPZLWKWKRVHZKRP\RX
   %<$77251(<%522.6                                            KDYHSUHVFULEHGSXEHUW\EORFNHUVRUFURVVVH[KRUPRQHV
   4$QGZKDWGLGWKDWZKDWVRXUFHGR\RXKDYHLQ      IRU"
   PLQGZKHQ\RXVD\WKDW"                                        $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(666R\RXNQRZKHUHDW'XNH
   7+(:,71(66$JDLQ,KDYHWURXEOHZLWK        ZHKDYHDPXOWLGLVFLSOLQDU\WHDP$V,GRQ WNQRZ
   UHPHPEHULQJDQGWKHUHLVDZLGHYDULHW\RIUHSRUWVVRPH       LI,PHQWLRQHGWKHPEHIRUH,WLQFOXGHVDZLGHYDULHW\
   DVIURPWRSHUFHQWVRPHDVKLJKDV               RILQGLYLGXDOV$QGWKDWJURXSGLVFXVVHVHYHU\PRQWK
   SHUFHQW$QGWKRVHDUHVXLFLGHDWWHPSWVDV,UHFDOO         RXUSDWLHQWVDQ\FRQFHUQVRUTXHVWLRQV,QDGGLWLRQ
   ZKLFKPHDQVWKDWWKHIRONVWKDWGLHGZRXOGQ WKDYHHYHQ        WKDWJURXSKDVSXWWRJHWKHUDUHJLVWU\WKDWVWDUWVZKHQ
   EHHQLGHQWLILHG                                               WKH\FRPHWRP\FOLQLFDQGZHIROORZWKHLUKHDOWKWKHLU
   %<$77251(<%522.6                                            PHQWDOKHDOWKWKURXJKWKHWLPHWKDWWKH\DUHLQRXU
   4:HOO\RXDUHDZDUHWKDWWKHUH VDYHU\ZLGH          FOLQLFDQGWKHQZKHQRRSV6RUU\$QGWKHQZKHQ


                                                 3DJH                                                         3DJH
    VWDWLVWLFDOJDSEHWZHHQVXLFLGHDWWHPSWVDQGVXLFLGHV          WKH\DUHDGXOWVWUDQVLWLRQLQJWRRXUDGXOWFDUHWHDP
    &RUUHFW"                                               $QGLQWKDWZD\, PDEOHWRNHHSXSZLWKWKRVHSDWLHQWV
    $77251(<%25(//,2EMHFWLRQWRIRUP            ZKRUHPDLQDW'XNHIRUDGXOWFDUH
    7+(:,71(667KHUHLVVRPHYDULDWLRQ            %<$77251(<%522.6
    EHWZHHQVXLFLGHDWWHPSWVDQGZKDWZDVWKHZRUGVXLFLGH         46R\RXKDYHEHHQSUDFWLFLQJWKLVILHOG,WKLQN
    LGHDWLRQ\HDK                                                 \RXVDLGVLQFHDERXW$QGWKHSDWLHQWVWKDW\RX
    %<$77251(<%522.6                                             VDZOHW VVD\LQ,WKLQN\RXVDLGPRVW
    41R:KDW,VDLGLVWKHUHLVDYHU\ZLGHJDS           RI\RXUSDWLHQWVSUHVHQWHGROGHUWKDQDJH,GRQ W
    EHWZHHQVXLFLGHDWWHPSWVDQGDFWXDOFRPSOHWHGVXLFLGH"          UHFDOOH[DFWO\<RXUDYHUDJHSUHVHQWDWLRQLVROGHUWKDQ
   $77251(<%25(//,2EMHFWLRQIRUP             "
   7+(:,71(667KHUHLVDJDSEHWZHHQ           $77251(<%25(//,2EMHFWWRWKHIRUP
   1RWHYHU\RQHZKRDWWHPSWV2WKHUZLVHWKHUHZRXOGQ W         7+(:,71(66<HV
   EHDGLIIHUHQFHLQWKHQDPH                                   $77251(<%25(//,<RXJRWWRSDXVHVR,
   %<$77251(<%522.6                                            FDQJHWLQDQREMHFWLRQ
   4,QIDFW\RXNQRZDVDPDWWHURISURIHVVLRQDO         7+(:,71(662K\HDK<HDK
   H[SHUWLVHWKDWLWLVDYHU\ZLGHJDSGR\RXQRW"              %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQ                   46R\HDK6RWKRVHSDWLHQWVRQDYHUDJHDUH
   7+(:,71(66,ZRXOGKDYHWRORRNDWWKH       QRZLQWKHLUXSSHUWHHQVRUSHUKDSV"
   OLWHUDWXUHDWZKDWWKHQXPEHUVORRNOLNHDQGGHVFULELQJ       $77251(<%25(//,2EMHFWLRQIRUP
   LWZK\LVDQRSLQLRQ                                          7+(:,71(66/HW VVHH,KDYHSDWLHQWV
   %<$77251(<%522.6                                            ZKRDUHROGHUWKDQWKDW, PQRWVXUHRIDQDYHUDJH,
   4+DVDQ\SDWLHQWRIWKHXQGHU\RXUFDUHHYHU       KDYHQRWFDOFXODWHGDQDYHUDJH
   FRPPLWWHGVXLFLGHDWDQDJH\RXQJHUWKDQ"                   %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP             4'R\RXKDYHDQ\SURFHGXUHVLQSODFHWRDWWHPSW


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0806
                                                 3DJH                                                        3DJH
    WRPRQLWRUWKHPHQWDOKHDOWKRI\RXUSDWLHQWVILYH\HDUV        $$UHJLVWU\LVDOLVWRISDWLHQWVZKRDUH
    DIWHU\RXILUVWSUHVFULEHSXEHUW\EORFNHUVRUFURVVVH[         HQUROOHGLQDVWXG\LILW VGRQHDVDUHVHDUFK
    KRUPRQHV"                                                       SURWRFRO$QGZLWKLQWKDWUHJLVWU\\RXFROOHFW
    $77251(<%25(//,2EMHFWLRQIRUP              LQIRUPDWLRQWKDW\RXFKRRVHWRUHFRUGWKDW VLPSRUWDQW
    7+(:,71(667KHSDWLHQWVWKDWUHPDLQ           DQGWKHQ\RXIROORZWKDWRYHUWLPHLQDV\VWHPDWLFZD\
    ZLWKLQRXUUHJLVWU\GRKDYHUHJXODUPHQWDOKHDOWK               $77251(<%522.6/HWPHJUDEWDE
    IROORZXS:HKDYHDWHDPRQWKHDGXOWVLGHDVZHOOLQ         OHWPHPDUNDV([KLELWDGRFXPHQWSUHYLRXVO\
    ERWKRIWKHWZRFOLQLFVWKDWZHZRUNZLWK                      GHVLJQDWHGDVWDEZKLFKLVDUWLFOHHQWLWOHG,
    %<$77251(<%522.6                                             VKRXOGVD\DQHZVSDSHUDUWLFOHHQWLWOHG7KH0HQWDO
   4:KDWSHUFHQWDJHRI\RXUSDWLHQWVWKDW\RX             +HDOWK(VWDEOLVKPHQWLV)DLOLQJ7UDQV.LGVE\/DXUD
   \RXUVHOIKDYHDXWKRUL]HGFURVVVH[KRUPRQHVGR\RXKDYH        (GZDUGV/HHSHUDQG(ULFD
   DFFHVVWRGDWDDERXWWKHLUPHQWDOKHDOWKILYH\HDUV            
   DIWHULQLWLDWLRQRIKRUPRQHWUHDWPHQW"                          :KHUHXSRQ$GNLQV([KLELW
   $77251(<%25(//,2EMHFWLRQIRUP             :DVKLQJWRQ3RVW$UWLFOHZDVPDUNHGIRU
   7+(:,71(666RPHDUHVWLOOSUHVHQWLQ         LGHQWLILFDWLRQ
   WKHFOLQLF,ZRXOGKDYHDFFHVVWRWKRVH<RXNQRZ          
   , PQRWVXSSRVHGWRDFFHVVUHFRUGVVSHFLILFDOO\LI             %<$77251(<%522.6
   WKH\ UHQRORQJHULQP\FDUH7KHSURYLGHUFDQUHDFK          4$QG'U$GNLQVDP,FRUUHFWWKDWWKLVLQWKH
   RXWWRPHZLWKFRQFHUQVDQGKDYHDYHU\FORVH                  :DVKLQJWRQ3RVWFDPHRXWLQ1RYHPEHURIVWLUUHGXS
   UHODWLRQVKLSZLWKWKHDGXOWSURYLGHUVDQGWKH\GRDVNPH       TXLWHDELWRIGLVFXVVLRQZLWKLQ\RXUSURIHVVLRQ"
   TXHVWLRQVDERXWVRPHRIWKRVH6RLQWKDWZD\,ZRXOG         $77251(<%25(//,2EMHFWLRQIRUP
   KDYHDFFHVVDVZHOODVZKHQZHFDOFXODWHRQDSRSXODWLRQ       7+(:,71(66,XQGHUVWDQGWKDWWKHUHZDV
   EDVHZLWKLQRXUUHJLVWU\DQ\RXWFRPHVWKHUH                   DQDUWLFOHE\/DXUD(GZDUGV/HHSHUWKDWWKHUHZDVDORW
   %<$77251(<%522.6                                            RIFRQYHUVDWLRQDURXQG,GRQ WNQRZLILWZDVWKLV


                                                 3DJH                                                        3DJH
    4$VDPDWWHURIUHVHDUFKKDVKDYH\RXRU           RQH,WLVSRVVLEOH
    DQ\ERG\DVVRFLDWHGZLWK\RXUFOLQLFDWWHPSWHGD                 %<$77251(<%522.6
    IROORZXSVXUYH\RUV\VWHPDWLFVHULHVRILQWHUYLHZVRI          4'LG\RXUHDGWKLV"
    DOOSDWLHQWVZKRZHUHSUHVFULEHGKRUPRQHVZLWKLQIRU           $,KDYHQ WUHDGWKLVDUWLFOH
    LQVWDQFHVRPHSDUWLFXODUWLPHSHULRG"                          47KHUHZDVDORWRIFRQYHUVDWLRQDURXQGDUHFHQW
    $77251(<%25(//,2EMHFWLRQIRUP              DUWLFOHE\'U(GZDUGV/HHSHUDQG'U$QGHUVRQEXW\RX
    7+(:,71(666RZHFXUUHQWO\DUH                GLGQ WERWKHUWRUHDGLW"
    HQUROOLQJSDWLHQWVLQWKDWVWXG\,W VQRWFRPSOHWH           $77251(<%25(//,2EMHFWLRQWRIRUP
    %<$77251(<%522.6                                             7+(:,71(66,KDYHKDGGLVFXVVLRQVZLWK
   4$VZHVLWKHUHWRGD\\RXGRQ WKDYHDQ\              P\FROOHDJXHVDURXQGWKHVXEVWDQFH,KDYHQ WKDGWKH
   V\VWHPDWLFUHDVRQDEO\WKRURXJKLQIRUPDWLRQRQWKHPHQWDO       WLPHWRUHDGLW
   KHDOWKFRQGLWLRQRIOHW VVD\SDWLHQWVIRUZKRP\RX            %<$77251(<%522.6
   ILUVWSUHVFULEHGKRUPRQDOLQWHUYHQWLRQVILYH\HDUVDJR        4+DYH\RXKDGSURIHVVLRQDOLQWHUDFWLRQVLQWKH
   ,VWKDWFRUUHFW"                                      SDVWZLWK'U(GZDUGV/HHSHU"
   $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ        $77251(<%25(//,2EMHFWLRQIRUP
   WRIRUP                                                       7+(:,71(66,W VSRVVLEOHWKDWZH
   7+(:,71(66,ZRXOGFRQVLGHU\RXNQRZ       WDXJKWDWDVDPHFRQIHUHQFHRQFHEXW,GRQ WUHFDOO
   DUHJLVWU\ZLWKUHVHDUFKEDVHGV\VWHPDWLFPHWKRG              HYHUKDYLQJDFRQYHUVDWLRQ
   %<$77251(<%522.6                                            %<$77251(<%522.6
   4$UHJLVWU\ZLWKUHVHDUFKEDVHG"                   4$QGKDYH\RXKDGSURIHVVLRQDOLQWHUDFWLRQVZLWK
   $7KDWLVUHVHDUFKEDVHGLVDV\VWHPDWLFSURJUDP        'U$QGHUVRQ"
   WRGRWKDWDQGILQGRXWIROORZXS                             $77251(<%25(//,2EMHFWLRQIRUP
   4:KDWGR\RXPHDQE\UHJLVWU\WKDWLWLVUHVHDUFK      7+(:,71(66,KDYHQRW
   EDVHG"                                                         %<$77251(<%522.6


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0807
                                                 3DJH                                                        3DJH
    4$UH\RXJHQHUDOO\DZDUHRI'U(GZDUGV/HHSHU V        %<$77251(<%522.6
    UHSXWDWLRQLQWKHILHOG"                                        46RDVDUHSUHVHQWDWLRQWKHUH,NQRZWKDW'U
    $77251(<%25(//,2EMHFWLRQIRUP              $QGHUVRQLVWUDQVJHQGHULVDQDWDOPDOHZKR VEHHQ
    7+(:,71(66<HV                               OLYLQJZLWKDIHPDOHJHQGHULGHQWLW\IRUPDQ\\HDUV
    %<$77251(<%522.6                                             7KDW\RXGRQ WNQRZDERXWRQHZD\RUWKHRWKHU"
    4+RZZRXOG\RXGHVFULEHWKDWUHSXWDWLRQDWOHDVW        $77251(<%25(//,2EMHFWLRQIRUP
    SULRUWRSXEOLFDWLRQRIWKLVDUWLFOH"                           7+(:,71(66,GRQRWNQRZWKDW
    $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
    7+(:,71(66,QJHQHUDO,ZRXOGQRW            42ND\
   QHFHVVDULO\VD\WKDWLWKDVFKDQJHG3HRSOHKDYH              /HWPHWDNH\RXEDFNWR([KLELWVRUU\ZKDW
   UHVSHFWIRU'U(GZDUGV/HHSHUDQGKHUSXEOLFDWLRQVLQ         ZDVWKHILUVWRQHZHPDUNHG":DVLWDQGRUDQG
   JHQHUDO,GRQ WNQRZDERXWVSHFLILF                     "
   %<$77251(<%522.6                                            $77251(<:,/.,16216L[WHHQ  DQG
   43HRSOHJHQHUDOO\KDYHUHVSHFWIRUKHU                 DQG
   SXEOLFDWLRQV"                                                  %<$77251(<%522.6
   $*HQHUDOO\,GRQ WNQRZDERXWHYHU\RQH             4/HWPHWDNH\RXEDFNWR([KLELW$QGWKH
   46XUH:HUH\RXLQYLWHGWRSDUWLFLSDWHDVD           ILUVWSDUDJUDSKFRQWDLQVDQDUUDWLYH,KDYHQRLGHD
   PHPEHURIWKHFRPPLWWHHWRUHYLVHWKH:3$7+VRFDOOHG          ZKHWKHULWLVDVSHFLILFQDUUDWLYHRUNLQGRIFDVHVWXG\
   VWDQGDUGVRIFDUHUHODWLQJWRWUHDWPHQWRIWUDQVJHQGHU         QDUUDWLYHDERXWWKLVJLUO3DWULFLDZKRWROGKHUSDUHQWV
   LQGLYLGXDOV"                                                   VKHZDVWUDQVJHQGHUDWDJH,WJRHVRQWRVD\WKDWD
   $77251(<%25(//,2EMHFWLRQIRUP             \HDUHDUOLHUVKHKDGEHHQVH[XDOO\DVVDXOWHGE\DQROGHU
   7+(:,71(66,ZDV                            JLUO'R\RXNQRZZKDWSHUFHQWDJHRIQDWDOIHPDOHVZKR
   %<$77251(<%522.6                                            FRPHWR\RXUFOLQLFDIWHUWKHEHJLQQLQJRISXEHUW\KDYH
   4$UH\RXGRLQJWKDW"                                   H[SHULHQFHGVH[XDODVVDXOWEHIRUHWKH\SUHVHQWWR\RX"


                                                 3DJH                                                        3DJH
    $1R                                                    $77251(<%25(//,2EMHFWLRQIRUP
    4$QGGLG\RXSDUWLFLSDWHLQWKHWDVNIRUFHIRU          7+(:,71(66,FDQ WJLYH\RXD
    WKH$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQZKLFKGHYHORSHG         SHUFHQWDJH,WLVVRPHWKLQJWKDWZHGLVFXVVZLWKHYHU\
    JXLGHOLQHVIRUSUDFWLFHJXLGHOLQHVIRUZRUNZLWK                SDWLHQWLQWKHLULQWDNHDVVHVVPHQW
    WUDQVJHQGHULQGLYLGXDOV"                                        %<$77251(<%522.6
    $77251(<%25(//,2EMHFWLRQIRUP              4'R\RXEHOLHYHWKDWQDWDOIHPDOHVZKRKDYH
    7+(:,71(66,KDYHQRWSDUWLFLSDWHGLQ         VXIIHUHGVH[XDODVVDXOWDUHGLVSURSRUWLRQDWHO\
    WKDWQR                                                       UHSUHVHQWHGDPRQJWKHSRSXODWLRQZKRSUHVHQW
    %<$77251(<%522.6                                             H[SHULHQFLQJJHQGHUG\VSKRULDRUJHQGHULQFRQJUXHQFH"
   42ND\                                                 $77251(<%25(//,2EMHFWLRQIRUP
   $QGOHWPHPDUNWKHQH[WRQHZKLFKLVDQ             7+(:,71(666RWKRVHDVVLJQHGIHPDOHDW
   DUWLFOHWKDWFRQVLVWVRIDQLQWHUYLHZZLWK'U$QGHUVRQ       ELUWK,FDQ WVD\WKDWEDVHGRQP\UHYLHZRIP\
   7KLV,ZLOOPDUNDV([KLELW"                                LQIRUPDWLRQWKDWWKH\DUHRYHUUHSUHVHQWHG$QG,ZRXOG
                                    KDYHWRKDYHDFRPSDULVRQJURXS<RXNQRZRQHLQIRXU
    :KHUHXSRQ$GNLQV([KLELW$QGHUVRQ         FLVJHQGHUZRPHQKDYHEHHQDWWDFNHGVH[XDOO\DWVRPH
   ,QWHUYLHZZDVPDUNHGIRU                      SRLQWLQWKHLUOLIH,W VKDUGWRJHWDURXQGWKDW
   LGHQWLILFDWLRQ                                %<$77251(<%522.6
                                    4/HWPHDVN\RXWRWXUQWRSDJHWKUHHRI([KLELW
   %<$77251(<%522.6                                            
   4$QG,EHOLHYH,DVNHGLI\RXNQHZKHURUDUH\RX      $, PVRUU\
   IDPLOLDUZLWKWKHUHSXWDWLRQRI'U$QGHUVRQ'U/DXUD        43DJHWKUHH([KLELW
   $QGHUVRQ"                                                      $2ND\7KDQN\RX,MXVWKDGDGULQNRIZDWHU
   $77251(<%25(//,2EMHFWLRQIRUP             42IFRXUVH
   7+(:,71(66$FWXDOO\QR                     $7KH\ UHQRWODEHOHGRQP\SDSHU


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0808
                                                 3DJH                                                          3DJH
    47KHSDJHVDUHQRW<RXDUHULJKW,ZURWHWKHP       WKLQNLWGRHVLWEHJLQV
    RQPLQH<RXZRXOGKDYHWRFRXQWWKHPWREHVXUHEXW          $2ND\$OOULJKW
    WKHWKLUGSDJH                                                 4:LWKLQWKDW\RX OOILQGWKHVHQWHQFHWKDWEHJLQV
    $,WKLQN,JRWLW                                      LQUHFHQWVWXG\
    47KHVHDXWKRUV'RFWRUV(GZDUGV/HHSHUDQG              $*RWLW
    $QGHUVRQVWDWHDWWKHHQGRIWKHSDUDJUDSKDWWKHWRS          4$QGLWVD\VLQDUHFHQWVWXG\
    RISDJHWKUHHWKDWTXRWHZHPD\EHKDUPLQJVRPHRIWKH        GHWUDQVLWLRQHUVIRULQVWDQFHSHUFHQWUHSRUWHGWKDW
    \RXQJSHRSOHZHVWULYHWRVXSSRUWSHRSOHZKRPD\QRWEH        WKH\EHOLHYHGWKHLURULJLQDOG\VSKRULDKDYHEHHQFDXVHG
    SUHSDUHGIRUWKHJHQGHUWUDQVLWLRQVWKH\DUHEHLQJ              E\VRPHWKLQJVSHFLILFVXFKDVWUDXPDDEXVHRUPHQWDO
   UXVKHGLQWRFORVHGTXRWH                                     KHDOWKFRQGLWLRQFORVHGTXRWH
   'R\RXVHHWKDW"                                      'R\RXVHHWKDW"
   $:KHUHDJDLQ"                                          $,GR
   4,W VWKHYHU\ODVWVHQWHQFHRIWKHSDUWLDO            4$UH\RX\RXUVHOIDZDUHRIDUHFHQWO\SXEOLVKHG
   SDUDJUDSKDWWKHWRS"                                          VXUYH\RIGHWUDQVLWLRQHUVE\'U/LWPDQRI%URZQ
   $5LJKW*RWLW7KDQN\RX<HDK,VHHLW          8QLYHUVLW\"
   4'R\RXVKDUHWKDWFRQFHUQH[SUHVVHGE\'U            $77251(<%25(//,2EMHFWLRQIRUP
   (GZDUGV/HHSHUDQG'U$QGHUVRQWKDWLVWKDWVRPH\RXQJ        7+(:,71(66,KDYHQRWVHHQWKDW
   SHRSOHDUHEHLQJUXVKHGLQWRWUDQVLWLRQVDQGPD\EH            UHSRUW
   KDUPHGUDWKHUWKDQVXSSRUWHGDVDUHVXOW"                      %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP             4$UH\RXDZDUHRIWKDW"
   7+(:,71(666RLI\RX UHIROORZLQJWKH        $77251(<%25(//,2EMHFWLRQWRIRUP
   UHFRPPHQGDWLRQVWKHUH VDWOHDVWVL[PRQWKVRIWLPH,Q       7+(:,71(661RDFWXDOO\$JDLQ,
   P\JHQHUDOH[SHULHQFHLWLV\HDUVEHIRUHWKH\HYHQ             GRQ WUHPHPEHUQDPHVVRZKHQ\RXDVNPHDERXWDQ
   SUHVHQWWRP\FOLQLF6R,GRQ W,ZRXOGQRWVD\          DUWLFOHE\'RFWRU%URZQ,NQRZ'RFWRU%URZQ$QG,


                                                 3DJH                                                          3DJH
    WKDWWKDW VDUXVK                                             KDYHVHHQVRPHDUWLFOHVDERXWGHWUDQVLWLRQ6RZLWKRXW
    %<$77251(<%522.6                                             WKDWLQIURQWRIPHWRUHDOO\VD\\HV, YHVHHQWKDW
    4:HOODQGP\TXHVWLRQZDVQ WDERXW\RXUFOLQLF         DUWLFOHLW VSRVVLEOH,GRP\EHVWWRNHHSXSRQ
    QRZ0\TXHVWLRQZDVGR\RXVKDUHWKHFRQFHUQRIWKHVH         WKHOLWHUDWXUH
    DXWKRUVWKDWORRNLQJDURXQGWKHSUDFWLFHPRUHJHQHUDOO\         %<$77251(<%522.6
    WKDWVRPH\RXQJSHRSOHDUHEHLQJKDUPHGUDWKHUWKDQ             4$OOULJKW, PXVHGWRZHWWLQJP\ILQJHUV
    VXSSRUWHGEHFDXVHWKH\DUHEHLQJUXVKHGLQWRWUDQVLWLRQV        OHWPHWDNH\RXEDFNWRWKHSUHYLRXVSDJHWKHWKLUG
    WKH\PD\QRWEHIXOO\SUHSDUHGIRU"                             SDUDJUDSKDQGWKHSDUDJUDSKEHJLQVFRPSUHKHQVLYH
    $77251(<%25(//,2EMHFWLRQIRUP              DVVHVVPHQW'R\RXVHHWKDWSDUDJUDSK"
   7+(:,71(666RZLWKLQUHVHDUFKDQG            $<HV
   ZLWKLQP\FRQYHUVDWLRQVZLWKP\FROOHDJXHVZKRDUHGRLQJ       4$QGDWWKHHQGRIWKDWWKHODVWVHQWHQFHUHDGV
   VLPLODUZRUNZHSUDFWLFHVLPLODUO\,GRQ WDJUHHWKDW       WKHPHVVDJHVWKDWWHHQVJHWIURP7LN7RNDQGRWKHU
   WKH\DUHUXVKLQJWKHVHNLGV                                   VRXUFHVPD\QRWEHYHU\SURGXFWLYHIRUXQGHUVWDQGLQJ
   %<$77251(<%522.6                                            WKLVFRQVWHOODWLRQRILVVXHVUHIHUULQJWRJHQGHU
   4/HWPHDVN\RXWRWXUQRYHUWRWKHQH[WSDJH         G\VSKRULDUHODWHGLVVXHV'R\RXVHHWKDWVHQWHQFH"
   $QGWKHUHLQWKHVHFRQGSDUDJUDSKIURPWKHERWWRPLVD         $,GR
   VHQWHQFHWKDWEHJLQVLQDUHFHQWVWXG\'R\RXVHHWKDW       4'R\RXVKDUHWKHFRQFHUQRIWKHVHDXWKRUV\RXQJ
   VHQWHQFH"                                                      SHRSOHDUHEHLQJXQGXO\LQIOXHQFHGRQLVVXHVRIJHQGHU
   $,PXVWQRWEHRQWKHULJKWSDJH                      LGHQWLW\E\VRFLDOPHGLDPHVVDJHV"
   4,WLVWKHSHQXOWLPDWHSDJH                           $77251(<%25(//,2EMHFWLRQWRIRUP
   $,QWKH                                           7+(:,71(66$VDSHGLDWULFLDQ,KDYH
   4,QWKHSHQXOWLPDWHSDUDJUDSK                         P\UHVHUYDWLRQVDERXWVRFLDOPHGLDDQGWKHLUHIIHFWVRQ
   $3URYLGHUVWKDWRQH"                                  WHHQV$OZD\VUHPLQGLQJWHHQVLQP\FDUHWKDWWKH\QHHG
   4,QDUHFHQWVWXG\RIGHWUDQVLWLRQHUV,          WRFKHFNWKHLUVRXUFHVDQGWKDW7LN7RNLVQ WIRU


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0809
                                                 3DJH                                                         3DJH
    H[DPSOHSHHUUHYLHZHGDQGWKDWWKH\VKRXOGUHO\RQ\RX        RYHUWKHODVWGHFDGH"
    NQRZWKHNQRZOHGJHRIWKHLUSURYLGHU$QGWKH\ UHIUHH        $77251(<%25(//,2EMHFWLRQIRUP
    WRDVNWKRVHTXHVWLRQVDQGOHDUQWKDWLQIRUPDWLRQIURPD        7+(:,71(66,KDYHVHHQDWOHDVWRQH
    UHOLDEOHSHUVRQZLWKLQRXUFOLQLF                              VWXG\ZRXOGVXJJHVWWKDW,WKDVQRWEHHQP\FOLQLFDO
    %<$77251(<%522.6                                             H[SHULHQFH
    4'R\RXVKDUHWKHFRQFHUQWKDWWHHQVDUH                %<$77251(<%522.6
    SDUWLFXODUO\VXEMHFWWRSHHUSUHVVXUHWKURXJKVRFLDO            47KDWKDVQRWEHHQWKHH[SHULHQFHLQ\RXUFOLQLF"
    PHGLD"                                                          $1R
    $77251(<%25(//,2EMHFWLRQIRUP              4/HWPHWDNH\RXWRSDUDJUDSKRI\RXUH[SHUW
   7+(:,71(666R\RXNQRZSHHUSUHVVXUH        UHSRUW$QGWKHUH\RXH[SUHVVWKHRSLQLRQWKDWD
   LVDUHFRJQL]HGSKHQRPHQRQZLWKDGROHVFHQWVWKDWFDQ           SHUVRQ VJHQGHULGHQWLW\FDQQRWEHYROXQWDULO\FKDQJHG
   DIIHFWWHHQV                                                  DQGLVQRWXQGHUPLQHGRUDOWHUHGE\WKHH[LVWHQFHRI
   %<$77251(<%522.6                                            RWKHUVH[XDOO\UHODWHGFKDUDFWHULVWLFVWKDWGRQRWDOLJQ
   4,V\RXUFOLQLFVHHLQJDQLQFUHDVLQJQXPEHURI         ZLWKLW'R\RXVHHWKDW"
   ROGHUWHHQVRU\RXQJDGXOWVZKRDUHFRQVLGHULQJ                $,GR
   GHWUDQVLWLRQLQJ"                                              4$QGOHWPHLQIDFWKDYHWKH'HFODUDWLRQ
   $77251(<%25(//,2EMHFWLRQIRUP             WKHSUHOLPLDU\LQMXQFWLRQGHFODUDWLRQZKLFKLVWDERQH
   7+(:,71(66, PVRUU\5HSHDWWKHYHU\       $77251(<%522.6, PJRLQJWRPDUNWKDW
   ILUVWSDUWRIWKDW                                            DV([KLELWRUGLG,DOUHDG\PDUNLW"
   %<$77251(<%522.6                                            $77251(<:,/.,16211RWPDUNHG
   4,V\RXUFOLQLFVHHLQJDQLQFUHDVLQJQXPEHURI         $77251(<%522.6,GLGQRW6RZKDW
   ROGHUWHHQVRU\RXQJDGXOWVZKRDUHFRQVLGHULQJ                H[KLELWZDVWKDW"
   GHWUDQVLWLRQLQJ"                                              $77251(<:,/.,1621(LJKWHHQ  
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%522.6:HZLOOPDUNWKH


                                                 3DJH                                                         3DJH
    7+(:,71(66,QFUHDVLQJRYHUWLPH           'HFODUDWLRQRI'HDQQD$GNLQVGDWHGDV([KLELW
    %<$77251(<%522.6                                             
    4<HV                                                   
    $RULQWKHSDVW",ZRXOGQ WVD\WKHUDWHKDV        :KHUHXSRQ$GNLQV([KLELW
    LQFUHDVHGLQP\FOLQLF                                         'HFODUDWLRQRI'HDQQD$GNLQV0'ZDV
    4:LWKLQWKHODVWZHOOOHW VVD\ZLWKLQ        PDUNHGIRULGHQWLILFDWLRQ
    RUZKDWHYHURIWKHUHKDVEHHQKRZPDQ\SDWLHQWV           
    KDYHUDLVHGZLWK\RXRUWR\RXUNQRZOHGJHDQ\RQHLQ\RXU        %<$77251(<%522.6
    FOLQLFWKHSRVVLELOLW\RIGHWUDQVLWLRQLQJ"                     4$QGLQWKLVGRFXPHQWDOVR,ZDQWWRFDOO\RXU
   $77251(<%25(//,2EMHFWLRQIRUP             DWWHQWLRQWRSDUDJUDSK$QGLQWKHGHFODUDWLRQILOHG
   7+(:,71(66,QWKDWWLPHIUDPH,ZRXOG        LQ0D\RIODVW\HDULQSDUDJUDSK\RXZURWHDSHUVRQ V
   KDYHWRORRNEDFNH[DFWO\2QO\WKUHH                        JHQGHULGHQWLW\LVIL[HG'R\RXVHHWKDWODQJXDJH"
   %<$77251(<%522.6                                            $,GR
   4$UH\RXDZDUHRIPXOWLSOHUHSRUWVWKDWWKH            4$QG\RXHOLPLQDWHGWKHZRUGWKHDVVHUWLRQ
   SURSRUWLRQRI\RXQJSHRSOHSUHVHQWLQJZLWKJHQGHU              WKDWDSHUVRQ VJHQGHULGHQWLW\LVIL[HGIURP\RXU
   G\VSKRULDRUJHQGHULQFRQJUXHQFHDPRQJWHHQVKDVVKLIWHG       H[SHUWGHFODUDWLRQVXEPLWWHGPRUHUHFHQWO\'R\RXVHH
   KHDYLO\WRZDUGVJLUOVRYHUWKHODVWGHFDGH"                    WKDW"
   $77251(<%25(//,2EMHFWLRQIRUP             $,GR
   7+(:,71(66<RXZLOOKDYHWRFODULI\          4:K\GLG\RXPDNHWKDWRPLVVLRQ"
   WKHTXHVWLRQEHFDXVHJLUOV                                $,WKLQNWKDWLW VWRRHDV\WRPLVLQWHUSUHW
   %<$77251(<%522.6                                            4([SODLQ
   4$UH\RXDZDUHWKDWWKHSURSRUWLRQRIWHHQV            $6RZKHQ, PWDONLQJDERXWVRPHRQH VJHQGHU
   SUHVHQWLQJDWFOLQLFVZLWKJHQGHUG\VSKRULDRUJHQGHU          LGHQWLW\LWLVZKDWLWLV$QGQRWKLQJWKDW,GRRU
   LQFRQJUXHQFHZKRDUHQDWDOIHPDOHKDVLQFUHDVHGJUHDWO\        WKH\GRRUWKHLUIDPLO\GRHVFDQFKDQJHWKDWJHQGHU


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0810
                                                 3DJH                                                         3DJH
    LGHQWLW\7KHLUXQGHUVWDQGLQJRIWKDWJHQGHULGHQWLW\          $77251(<%25(//,2EMHFWLRQIRUP
    PD\FKDQJHRYHUWLPH$QGWKDWZDVP\ZKDW,ZDV           7+(:,71(66(YHU\RQH VJHQGHULGHQWLW\
    WU\LQJWRVD\ZDVQRWFKDQJHDEOH$QGZKHQ\RXXVHWKH         LVKRZWKH\H[SODLQLW7KH\PD\XQGHUVWDQGLW
    RWKHUZRUGLWVHHPVWKDWLWFRXOGEHPLVLQWHUSUHWHGWR          GLIIHUHQWO\RYHUWLPH-XVWEHFDXVH,VD\,GRQ WOLNH
    PH                                                             VWUDZEHUULHVZKHQ, PHLJKWDQG,GROLNHVWUDZEHUULHV
    46R\RXGRQ WPHDQWRVD\WKDWJHQGHULGHQWLW\          QRZGRHVQ WPHDQW,QHYHUOLNHGVWUDZEHUULHVWREHJLQ
    QHYHUFKDQJHVLQLQGLYLGXDOVGR\RX"                           ZLWK,WPHDQV,ILQDOO\KDGDJRRGVWUDZEHUU\
    $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%522.6/HWPHKDYHWDE
    7+(:,71(667KDW VQRWZKDW,VDLG,         /HWPHPDUNDV([KLELW
   VDLGJHQGHULGHQWLW\LVZKDWLWLV$QG\RXU                  $77251(<:,/.,16211LQHWHHQ  
   XQGHUVWDQGLQJRILWPD\FKDQJHRYHUWLPH                      $77251(<%522.6/HWPHPDUNDV([KLELW
   %<$77251(<%522.6                                            DQDUWLFOHIURP+HUEHUW+HDOWK3XEOLVKLQJE\6DGUD
   4:HORRNHGLQWKH(QGRFULQH6RFLHW\*XLGHOLQHV        .DW]:LVHHQWLWOHG*HQGHU)OXLGLW\:KDWLW0HDQVDQG
   DWWKHODQJXDJHWKDWUHIHUVWRLQGLYLGXDOVZKR                 :K\6XSSRUW0DWWHUV
   H[SHULHQFHDFRQWLQXRXVDQGUDSLGLQYROXQWDU\                  
   DOWHUQDWLRQEHWZHHQPDOHDQGIHPDOH'R\RXUHPHPEHU           :KHUHXSRQ$GNLQV([KLELW
   WKDWODQJXDJH"                                                 +HUEHUW+HDOWK3XEOLVKLQJ$UWLFOHZDV
   $,GR                                                 PDUNHGIRULGHQWLILFDWLRQ
   4+RZGRHVWKDWUHODWHKRZLVWKDWFRQVLVWHQW       
   ZLWK\RXURSLQLRQWKDWJHQGHULGHQWLW\LVIL[HGDQG            %<$77251(<%522.6
   PHDQVZKDWLWLV"                                              4)LUVW, OODVNLI\RXKDYHDQ\SURIHVVLRQDO
   $77251(<%25(//,2EMHFWLRQIRUP             FRQWDFWZLWK'RFWRU6DGUD.DW]:LVH"
   7+(:,71(666RJHQGHULGHQWLW\LVWKDW        $,GRQ WVHHWKHQDPHVSHOOHGRXW,WGRHVQ W
   LWPRYHVVRPHZKDWDORQJWKHVSHFWUXP7KDWGRHVQ W            VRXQGIDPLOLDU


                                                 3DJH                                                         3DJH
    FKDQJH7KDWLVWKHLULGHQWLW\                                4,W VMXVWXQGHUWKHJUDSKLFKHUHDKHDGRIWKH
    %<$77251(<%522.6                                             WH[W<RX OOVHHWKHQDPH
    47KDWGRHVQ WFKDQJHEXW\RXKDYHDSURIHVVLRQDO       $2KLQUHG7KDW VZK\,GLGQ WVHHLW
    RSLQLRQWKDWLQGLYLGXDOVZKRH[SHULHQFHDJHQGHUIOXLG          4<HDKH[DFWO\5LJKW
    LGHQWLW\DWVRPHSHULRGLQWKHLUOLIHLQHYLWDEO\UHPDLQ         $*RWLW.DW]:LVH1R
    JHQGHUIOXLGIRUWKHUHVWRIWKHLUOLYHV"                       4,VHHZKHQ,ORRNKHUXSWKDW'U.DW]:LVHLV
    $77251(<%25(//,2EMHFWLRQIRUP              DVVRFLDWHGZLWK%RVWRQ&KLOGUHQ V+RVSLWDODQG+DUYDUG
    7+(:,71(668QGHUVWDQGLQJWKHLUJHQGHU         0HGLFDO6FKRRO7KDWGRHVQ WUHIUHVK\RXUUHFROOHFWLRQ
    LGHQWLW\PD\FKDQJHZKDWWKHLGHQWLW\LVLVXQGHU             DVWRDQ\SUHYLRXVSURIHVVLRQDOLQWHUDFWLRQVZLWKKHU"
   H[SORUDWLRQWKURXJKRXWWKHLUOLYHV)URPWKHWLPH             $$JDLQ, PWHUULEOHZLWKQDPHV
   WKH\ UH\RXQJWKH\ UHGLVFRYHULQJWKHLUJHQGHULGHQWLW\       4<RX UHDZDUHWKDW%RVWRQ&KLOGUHQ V+RVSLWDOKDV
   %<$77251(<%522.6                                            DKLJKUHSXWDWLRQLQWKHDUHDRIWUDQVJHQGHUWKHUDS\"
   4:HOO\RXFRQVLGHUSDUWRI\RXUSURIHVVLRQDO          $77251(<%25(//,2EMHFWLRQIRUP
   SUDFWLFHWREHOLHYHZKDWSHRSOHWHOO\RXDERXWWKHLU           7+(:,71(66:HOOWKH\KDYHEHHQ
   JHQGHULGHQWLW\GRQ W\RX"                                    LQYROYHGLQWUDQVJHQGHUWKHUDS\IRUDORQJWLPH
   $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
   7+(:,71(667KHJHQGHULGHQWLW\LV            4$QGWKH\KDYHDKLJKUHSXWDWLRQ"
   VRPHWKLQJWKDWFDQRQO\EHH[SODLQHGE\DSHUVRQEHFDXVH       $77251(<%25(//,2EMHFWLRQIRUP
   LWLVWKHLUNQRZOHGJHRIWKHPVHOYHV                           7+(:,71(66,QJHQHUDOSHRSOHIHHOOLNH
   %<$77251(<%522.6                                            WKH\GRDJRRGMRE
   4$QGLIDSHUVRQDWRQHSRLQWLQWLPHIHHOVWKDW       %<$77251(<%522.6
   WKHLUJHQGHULGHQWLW\LVIOXLGDQGDQRWKHUSRLQWLQWLPH       4/HWPHDVN\RXWRWXUQWRWKHVHFRQGSDJH$QG
   IHHOVWKDWLWLVQRWRQZKDWEDVLVGR\RXVD\WKDW            GRZQDWWKHERWWRPLVDKHDGLQJWKDWVD\VZKDW VWKH
   WKHLUWUXHJHQGHULGHQWLW\KDVQ WFKDQJHG"                     GLIIHUHQFHEHWZHHQJHQGHUIOXLGDQGWUDQVJHQGHU'R\RX


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0811
                                                 3DJH                                                        3DJH
    VHHWKDW"                                                       LQFRQJUXHQFHZKLFK\RXMXVWVDLGPHDQVWKDWWKHLUJHQGHU
    $,GR                                                  LGHQWLW\GRHVQ WPDWFKWKHLUJHQGHUDVVLJQHGDWELUWK
    4$QGWKHILUVWVHQWHQFHWKHUHVD\VZKLOHVRPH           $QGWKHQWKH(QGRFULQH6RFLHW\JRHVRQWRVD\WKDWWKDW
    SHRSOHGHYHORSDJHQGHULGHQWLW\HDUO\LQFKLOGKRRG            LGHQWLW\WKDWVHQVHRILQFRQJUXHQFHGRHVQRWSHUVLVW
    RWKHUVPD\LGHQWLI\ZLWKRQHJHQGHUDWRQHWLPHDQGWKHQ        LQWRDGROHVFHQFH
    DQRWKHUJHQGHUODWHURQ                                        'R\RXVHHWKDW"
    'R\RXVHHWKDW"                                       $77251(<%25(//,2EMHFWLRQIRUP
    $,GR                                                  7+(:,71(66,GR
    4$QGGR\RXDJUHHRUGLVDJUHHZLWKWKDWVWDWHPHQW       %<$77251(<%522.6
   E\'U6DEDU.DW]:LVH"                                        4$QGKRZGR\RXUHFRQFLOHWKDWZLWK\RXU
   $77251(<%25(//,2EMHFWLRQIRUP             SUHYLRXVO\H[SUHVVHGRSLQLRQWKDWJHQGHULGHQWLW\LV
   7+(:,71(666RVKHLVQRWVD\LQJWKDW         TXRWHIL[HG"
   WKHLUJHQGHULGHQWLW\FKDQJHV<RXNQRZDWGLIIHUHQW         $77251(<%25(//,2EMHFWLRQIRUP
   WLPHVLQ\RXUOLIH\RXUXQGHUVWDQGLQJPD\EHWKDWWKLV         7+(:,71(666RWKLVLVDUDQGRPSLHFH
   LVWKHJURXSWKDW,EHORQJZLWK$QGDV\RXOHDUQPRUH        RXWRIWKLVZKROHSXEOLFDWLRQ7KH\DUHWDONLQJDV
   DERXW\RXUH[SHULHQFHDQG\RXUJHQGHUWKDWFDQFKDQJH        IDUDV,FDQWHOOULJKWKHUHDQGDJDLQ,ZRXOGEH
   %<$77251(<%522.6                                            VSHFXODWLQJWKDWLWLVDERXWDSDUWLFXODUSLHFHRI
   4'U$GNLQVKRZGR\RXDVDFOLQLFLDQLI\RX      PHGLFDOHYLGHQFH$QGPHGLFDOHYLGHQFHLQWKLVDUHDKDV
   KDYHDSDWLHQWZKRDWRQHWLPHLGHQWLILHVRQHZD\DQG          YDULHG,W VEDVHGRQWKHGLIIHUHQWJURXSVDQGWKHZD\
   DQRWKHUWLPHLGHQWLILHVDQRWKHUZD\KRZGR\RXDVD           WKH\ZHUHUHFUXLWHGHWFHWHUD
   FOLQLFLDQGHWHUPLQHZKLFKRIWKRVHLVWKDWSDWLHQW V           %<$77251(<%522.6
   WUXHJHQGHULGHQWLW\JLYHQWKDW\RX YHVDLGWKDWJHQGHU       4:HOO\RX UHQHYHUPLQGRQDSDUWLFXODU
   LGHQWLW\LVVRPHWKLQJWKDWRQO\WKHSDWLHQWFDQH[SUHVV        SLHFH<RX UHZHOODZDUHDUH\RXQRWWKDWWKHUHDUH
   WR\RX"                                                        PXOWLSOHVWXGLHVWKDWLQGLFDWHWKHVXEVWDQWLDOPDMRULW\


                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              RIFKLOGUHQZKRDUHGLDJQRVHGZLWKJHQGHUG\VSKRULD
    7+(:,71(666R\RXNQRZZH UHQRWVRUW        GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHVWDJH
    RIGRLQJDQ\WKLQJWRLQIOXHQFHWKDWLQRXUSDWLHQWV             LQDGROHVFHQFH"
    XQWLOWKH\FRPHWRXVODWHUDQGKDYHKDGORWVRIWLPHWR        $77251(<%25(//,2EMHFWLRQIRUP
    UHIOHFWRQWKDW7KH\E\WKHJXLGHOLQHVQHHGWRKDYHDW        %<$77251(<%522.6
    OHDVWVL[PRQWKVRILGHQWLILFDWLRQZLWKDQG                     4<RXGLVFXVVWKDWLQ\RXUUHSRUWGR\RXQRW"
    XQGHUVWDQGLQJWKDWJHQGHULGHQWLW\LVDSDUWLFXODUZD\         $, PVRUU\&DQ\RXUHSHDWWKHTXHVWLRQ"
    $QGW\SLFDOO\JHQGHULGHQWLW\LVVWDUWLQJWRFRQVROLGDWH        4<RXDUHDZDUHWKDWWKHUHDUHPXOWLSOHVWXGLHV
    LQDGROHVFHQFHDQGKDYHDJRRGXQGHUVWDQGLQJRI\RXU            WKDWKDYHIRXQGWKDWFKLOGUHQGLDJQRVHGZLWKJHQGHU
   LGHQWLW\DWWKDWWLPH                                         G\VSKRULDWKHODUJHPDMRULW\RIWKRVHLQGLYLGXDOV
   %<$77251(<%522.6                                            GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHWLPH
   4:KDWGR\RXXQGHUVWDQGWREHPHDQWE\WKHWHUP        LQDGROHVFHQFH"
   JHQGHULQFRQJUXHQFH"                                           $77251(<%25(//,2EMHFWLRQIRUP
   $,WLVVLPLODUWRWKHJHQGHULGHQWLW\QRW              7+(:,71(66$QG,GRQ WW\SLFDOO\VHH
   PDWFKLQJ\RXUVH[DVVLJQHGDWELUWK                           WKRVHSDWLHQWVLQP\FOLQLF
   4/HWPHDVN\RXWRILQG([KLELW(QGRFULQH      %<$77251(<%522.6
   6RFLHW\JXLGHOLQHV$QGWXUQLI\RXZRXOGWRSDJH       4%XW\RX UHDZDUHRIWKHVFLHQFHWKDWLV
   ILUVWFROXPQXQGHUWKHKHDGLQJHYLGHQFHLWUHDGVLQ           GHVFULEHGWKRXJK
   PRVWFKLOGUHQGLDJQRVHGZLWK*'JHQGHULQFRQJUXHQFHLW         5LJKW"
   GLGQRWSHUVLVWLQWRDGROHVFHQFH                              $77251(<%25(//,2EMHFWLRQIRUP
   'R\RXVHHWKDW"                                      7+(:,71(667KHUHDUHSDWLHQWV
   $,GLG                                                WKHUHDUHVWXGLHVWKDWZHUHGRQHLQWKHSDVWWKDWZHUH
   46RWKHSRLQWKHUHLVWKDWWKHVHFKLOGUHQZHUH        QRWZHOOGRQHDQGKDGDELDVZLWKWKHUHFUXLWPHQWWKDW
   LQIDFWGLDJQRVHGZLWKJHQGHUG\VSKRULDRUJHQGHU             RYHUODSSHGZLWKRWKHULVVXHV, PDZDUHRIWKRVH


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0812
                                                 3DJH                                                        3DJH
    VWXGLHV$QGFKLOGUHQDUHQRWEHLQJWUHDWHGLQP\              PHGLFDOOLWHUDWXUHGRQHZHOOWKRXJK,KDYHQRWUHDG
    FOLQLFIRUJHQGHUG\VSKRULD$GROHVFHQWVDUHZKRZH            HYHU\VWXG\, PQRWJRLQJWRFRPPHQWRQHYHU\WKLQJ
    WUHDWLQRXUFOLQLF                                            WKDWWKH\KDYHGRQH$ORWRIWKHWKLQJV, PDZDUHRI
    %<$77251(<%522.6                                             DUHGRQHZHOO
    4:HOOWKHVWXG\WKDWWKH(QGRFULQH6RFLHW\FKRVH       %<$77251(<%522.6
    WRFLWHIRUWKLVSURSRVLWLRQMXVWDOLWWOHORZHULQWKDW        4,GLGQ WDVN\RXWRFRPPHQWRQDVLQJOHRQHRI
    SDUDJUDSKLWVD\VDVIROORZV$QGWKLVLV                 WKHLUDUWLFOHV,DVNHG\RXLVQ WWKHLUUHSXWDWLRQ
    (QGRFULQH6RFLHW\*XLGHOLQHV7KH\VD\DODUJH                 DPRQJWKHKLJKHVWLQ\RXUILHOG"
    PDMRULW\DERXWSHUFHQWRISUHSXEHUWDOFKLOGUHQZLWK         $77251(<%25(//,2EMHFWLRQIRUP
   DFKLOGKRRGGLDJQRVLVGLGQRWUHPDLQJHQGHU                    7+(:,71(66,IIRUJHQGHUDIILUPLQJ
   G\VSKRULFJHQGHULQFRQJUXHQWLQWRDGROHVFHQFH                 FDUH\HV
   'R\RXVHHWKDWODQJXDJH"                             %<$77251(<%522.6
   $,VHHWKDWODQJXDJH                                  47KDQN\RX+RZGRHVWKHLUILQGLQJLQODUJH
   4$QGWKLV(QGRFULQH6RFLHW\FRQVLGHUHGWKDW            PDMRULW\RIFKLOGUHQGLDJQRVHGZLWKJHQGHUG\VSKRULD
   VFLHQFHZRUWKFLWLQJUDWKHUWKDQGLVPLVVLQJLWDVSRRUO\       GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHVWDJH
   GRQHDV\RXMXVWDWWHPSWHG                                   LQDGROHVFHQFHVTXDUHZLWK\RXURSLQLRQWKDWJHQGHU
   &RUUHFW"                                              LGHQWLW\LVTXRWHIL[HG"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(66,Q\RXUJRDOVLQFUHDWLQJ         7+(:,71(66, PVRUU\:KHUHDUH\RX
   JXLGHOLQHV\RXZDQWWREHSUHVHQWLQJWKHLQIRUPDWLRQ           UHDGLQJIURPDQGZKDWZDVWKDWDJDLQ"
   WKDW VDYDLODEOH7KLVVWXG\LVDYDLODEOH                    %<$77251(<%522.6
   %<$77251(<%522.6                                            4+RZGRHVWKHLUILQGLQJWKDWODUJHPDMRULW\RI
   4$QGWKHVWXG\LQTXHVWLRQLVRQHE\VRPHRIWKH       FKLOGUHQGLDJQRVHGZLWKJHQGHUG\VSKRULDEHIRUHSXEHUW\
   PRVWKLJKO\UHVSHFWHGUHVHDUFKHUVLQWKHILHOG                GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHVWDJH


                                                 3DJH                                                        3DJH
    $P,FRUUHFW"                                          LQDGROHVFHQFHILWZLWK\RXUH[SUHVVHGRSLQLRQWKDW
    $77251(<%25(//,2EMHFWLRQ                    JHQGHULGHQWLW\LVIL[HG"
    %<$77251(<%522.6                                             $77251(<%25(//,2EMHFWLRQIRUP
    4,VHH\RXORRNLQJDWWKHIRRWQRWH"                     7+(:,71(666RWKH\DUHWDONLQJDERXW
    $5LJKW                                                 SUHSXEHUWDOFKLOGUHQ3UHSXEHUWDOFKLOGUHQKDYHQ WJRQH
    47KRVHDUHDPRQJWKHPRVWKLJKO\UHVSHFWHG              WKURXJKWKHLUUHDOXQGHUGHYHORSPHQWRI
    UHVHDUFKHUVLQWKHILHOG                                       XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\RUWKHLU
    &RUUHFW"                                               FRQVROLGDWLRQRIJHQGHULGHQWLW\DWWKDWWLPH,W V
    $7KH\DUHVRPHRIWKHWKH\ UHVRPHRIWKH           NLQGRIDIDOVHHQGSRLQWWRSXWLWWKDWZD\EHFDXVH
   RULJLQDOUHVHDUFKHUV                                          ZH UHQRWUHDOO\DJDLQWUHDWLQJWKHVH\RXQJFKLOGUHQDQG
   4$QGWRWKLVYHU\GD\WKH\DUHDPRQJWKHPRVW          ZH UHQRWFKDQJLQJDQ\WKLQJDERXWWKHP7KHVHSDWLHQWV
   KLJKO\UHVSHFWHGLQWKHILHOG                                 ZRXOGQ WHYHQFRPHWRP\FOLQLF
   $P,ULJKW"                                           %<$77251(<%522.6
   $77251(<%25(//,2EMHFWLRQIRUP             4<RXGRQ WVHHSUHSXEHUWDOFKLOGUHQDW\RXU
   7+(:,71(66,QJHQHUDOWKH\DUHGRLQJ        FOLQLF"
   JRRGUHVHDUFKDQGSXEOLFDWLRQV,FDQ WVD\HYHU\WKLQJ        $77251(<%25(//,2EMHFWLRQIRUP
   WKH\GRLVEHDXWLIXO                                          7+(:,71(669HU\UDUHO\
   %<$77251(<%522.6                                            %<$77251(<%522.6
   4'U$GNLQVGR\RXUHIXVHWRDFNQRZOHGJHWKDW         4$QG"
   'U6WHHPVPD'H9ULHVDQG&RKHQ.HWWHQLVDUHDPRQJWKH         $*HQGHUFOLQLF"
   PRVWKLJKO\UHVSHFWHGUHVHDUFKHUVLQ\RXUILHOG"               43DWLHQWV\RXWUHDWLQDQ\FDSDFLW\"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQWRIRUP
   7+(:,71(662IWKHLUZRUNWKDW,KDYH         7+(:,71(66,VHHDOONLQGVRISDWLHQWV
   UHDGDQGVHHQLQJHQHUDOLWLVEDVHGRQVWDQGDUGVRI           IURPELUWKXQWLO, PFUHGHQWLDOHGWR


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0813
                                                 3DJH                                                         3DJH
    %<$77251(<%522.6                                             DJR\RXVZRUHXQGHURDWKWKDWLWZDV\RXUSURIHVVLRQDO
    4'R\RXLQ\RXUSURIHVVLRQDOZRUNGHDOZLWK             RSLQLRQWKDWJHQGHULGHQWLW\ZDVIL[HG, PHQWLWOHGWR
    SUHSXEHUWDOFKLOGUHQZKRDUHH[SHULHQFLQJJHQGHU                DVN\RXDERXWWKDW7KHIDFWWKDW\RXZDQWHGWRFKDQJH
    G\VSKRULD"                                                      DODWHUGRFXPHQWLVLQWHUHVWLQJ,WGRHVQ WGHSULYHPH
    $77251(<%25(//,2EMHFWLRQIRUP              RIWKHULJKWWRDVN\RXTXHVWLRQVDERXWWKDWGRFXPHQW
    7+(:,71(666RPH                              0\TXHVWLRQIRU\RXQRZLVGR\RXZDQWWRUHYLVH
    %<$77251(<%522.6                                             WKDWVWDWHPHQWWRH[SUHVVWKHRSLQLRQWKDWJHQGHU
    42ND\                                                  LGHQWLW\LVIL[HGDIWHUSXEHUW\"
    $QGGR\RXZDQWWRUHYLVHWKHVWDWHPHQWLQ\RXU        $77251(<%25(//,2EMHFWLRQIRUP,
   UHSRUWWRVD\LQVWHDGWKDWDIWHUSXEHUW\JHQGHULGHQWLW\       DSRORJL]H&RXQVHO&DQZH, PVRUU\MXVWORVW
   LVIL[HG"                                                      WUDFN+DYH\RXLQWURGXFHGWKH3,GHFODUDWLRQ"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%522.6,KDYH
   7+(:,71(66:LOO\RXSRLQWWKDWRXWWR        $77251(<%25(//,:KDWH[KLELWQXPEHULV
   PH"                                                            LW"
   %<$77251(<%522.6                                            $77251(<%522.6,WLV3DUDJUDSK
   4, PVRUU\SRLQWZKDWRXWWR\RX"                     
   $7KDWSDUWLFXODUVWDWHPHQWLQP\UHSRUW               $77251(<%25(//,3DUDJUDSK7KDQN
   4,PLVVSRNH<RXDVVHUWHGLQ\RXUGHFODUDWLRQ         \RX2EMHFWLRQWRIRUP
   WKDWJHQGHULGHQWLW\ZDVIL[HGDQGP\TXHVWLRQLVRQ           7+(:,71(666R,GRQ WWKLQNWKDWP\
   FRQVLGHUDWLRQZRXOG\RXSUHIHUWRVD\WKDWJHQGHU              GHVFULSWLRQRISHRSOH VXQGHUVWDQGLQJRIJHQGHULGHQWLW\
   LGHQWLW\LVIL[HGDIWHUSXEHUW\KDVRFFXUUHG"                  DQGWKHZD\WKDWZHXQGHUVWDQGLWVGHYHORSPHQWKDV
   $77251(<%25(//,2EMHFWLRQIRUP             FKDQJHG,FDQ WGRDQ\WKLQJWRFKDQJHWKHLULGHQWLW\
   7+(:,71(666R,GLGQ WSXWWKDWLQD         <RXFDQ WGRLW7KHLUSDUHQWVFDQ WGRLW$QGLQ
   ZD\WKDWDJDLQZHHOLPLQDWHGWKHZRUGIL[HGEHFDXVH       WKDWZD\,VWLOODJUHHZLWKWKHIDFWWKDWLQWKHZD\


                                                 3DJH                                                         3DJH
    RIWKHHDV\DELOLW\WRPLVFRQVWUXHWKDW3HRSOHXQGHUJR        WKDWWKDWZDVPHDQWWREHVWDWHGWKDWLWFDQ WEH
    DSHULRGRIWLPHLQOLIHZKHUHWKH\XQGHUVWDQGWKHLU            FKDQJHG)L[HGLVDVLPLODUZRUG,XVHWKDWZRUG
    JHQGHUEHWWHUWKDQRWKHUWLPHV$QGSXEHUW\LVSDUWRI         %<$77251(<%522.6
    SDUWRIWKHPL[                                            46RDQG,GLGQ WDVN\RXDERXWRXUDELOLW\WR
    %<$77251(<%522.6                                             FKDQJHVRPHERG\HOVH/HWPHDVN\RXDGLIIHUHQW
    46RDQGWKLVLVWKHRSSRUWXQLW\\RX UH          TXHVWLRQ$WZKLFKGHYHORSPHQWDOVWDJHLQ\RXU
    KHUHVRZH UHQRWJRLQJWRPLVXQGHUVWDQG\RXUZRUGV           SURIHVVLRQDORSLQLRQGRHVJHQGHULGHQWLW\EHFRPHIL[HG"
    <RXVLJQHGDQGVZRUHWRDQDIILGDYLWODVW\HDULQZKLFK         $77251(<%25(//,2EMHFWLRQIRUP
    \RXVDLGJHQGHULGHQWLW\LVIL[HG, PJLYLQJ\RXDQ           7+(:,71(66$JDLQ,EHOLHYH,VDLG
   RSSRUWXQLW\LI\RXZDQWWRFODULI\RUTXDOLI\WKDW$QG       DOUHDG\WKDWJHQGHULGHQWLW\LVZKDWLWLVIURPWKHWLPH
   P\TXHVWLRQWR\RXLVLVLWQRZ\RXUWHVWLPRQ\WKDW           \RXDUH\RXQJ<RXUXQGHUVWDQGLQJRIWKDWGHYHORSVRYHU
   JHQGHULGHQWLW\LVIL[HGRQFHSXEHUW\KDVRFFXUUHG"            WLPHEDVHGRQ\RXUSDWKWKURXJKOLIH7KDWLQWKDW
   $77251(<%25(//,2EMHFWLRQIRUP             ZD\\RXFDQ WFKDQJHLW
   7+(:,71(66$JDLQ,WKLQNZHKDYH            %<$77251(<%522.6
   DQRWKHUGRFXPHQWKHUHWKDWGRHVQ WXVHWKHZRUGIL[HG         4'RHVWKDWPHDQWKDWLIDFFRUGLQJWR6WHHP]DDQG
   :RXOG\RXOLNHPHWRJREDFNDQGUHDGWKDWSDUW",FDQ        &RKHQ.HWWHQLVSHUFHQWRISUHSXEHUWDOFKLOGUHQZKR
   UHDGWKURXJKLWDQGILQGLWIRU\RX                           DUHGLDJQRVHGZLWKJHQGHUG\VSKRULDXOWLPDWHO\GHVLVW
   %<$77251(<%522.6                                            IURPH[SHULHQFLQJG\VSKRULDWKDWWKHLURULJLQDO
   41R,ZRXOGOLNHWRZRUNZLWK\RXUVZRUQ             GLDJQRVHVZHUHZURQJ"
   GRFXPHQWIURP0D\RIODVW\HDULQZKLFK\RXVDLGLWZDV        $77251(<%25(//,2EMHFWLRQWRIRUP
   IL[HG                                                         7+(:,71(666RWKHUHDUHDORWRI
   $:KHQZHXSGDWHGRFXPHQWVZHWU\WRFODULI\            LQGLYLGXDOVZKRKDYHORRNHGDWWKDWLQIRUPDWLRQDQGIHOW
   DQ\WKLQJWKDWPLJKWEHFRQIXVLQJ                              WKDWWKHRULJLQDOJURXSRILQGLYLGXDOVGLGQ WKDYHD
   4'U$GNLQVLQ0D\RIZKLFKLVQRWVRORQJ      WUDQVJHQGHULGHQWLW\,QD\RXQJJURXSWKDW VKDUGWR


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0814
                                                 3DJH                                                        3DJH
    DVVHVVDWWLPHV$QGVR,ZRXOGVD\LQWKDWZD\\RX          FKLOGKRRGJHQGHUG\VSKRULDWKHQH[WVHQWHQFHUHDGV
    NQRZZHLW VMXVWQRWWKHVDPH$QG\RXFDQUHSHDW       ULJKWDIWHUZKHUHZHVWRSSHGLIFKLOGUHQKDGFRPSOHWHG
    WKHTXHVWLRQIRUPHSOHDVH                                   VRFLDOO\WUDQVLWLRQWKHPD\KDYHJUHDWGLIILFXOW\LQ
    $77251(<%25(//,:HKDYHEHHQJRLQJDQ        UHWXUQLQJWRWKHRULJLQDOJHQGHUUROHXSRQHQWHULQJ
    KRXU, GOLNHWRWDNHDEUHDN                               SXEHUW\$QGLWFRQWLQXHVVRFLDOWUDQVLWLRQLV
    $77251(<%522.6/HWPHUHSHDWWKH             DVVRFLDWHGZLWKWKHSHUVLVWHQFHRI*'JHQGHU
    TXHVWLRQVLQFH,ZDVMXVWLQYLWHGWRGRVR                    LQFRQJUXHQFHDVDFKLOGSURJUHVVHVLQWRDGROHVFHQFH
    %<$77251(<%522.6                                            'R\RXVHHWKDW"
    4,EHOLHYH\RXWHVWLILHGWKDWLWLV\RXUYLHZ          $8KKXK \HV 
   WKDWRQH VJHQGHULGHQWLW\QHYHUFKDQJHVIURPLQIDQF\WR      4$WWKHYHU\HQGRIWKHSDUDJUDSKLWUHDGVVRFLDO
   DGXOWKRRGDOWKRXJKRQH VXQGHUVWDQGLQJRILWPD\FKDQJH       WUDQVLWLRQLQDGGLWLRQWR*'JHQGHULQFRQJUXHQFHKDV
   RYHUWLPH0\TXHVWLRQIRU\RXQRZLVGRHVWKDWPHDQ         EHHQIRXQGWRFRQWULEXWHWRWKHOLNHOLKRRGRI
   WKDWLQHYHU\FDVHLQZKLFKDFKLOGLVGLDJQRVHGDV           SHUVLVWHQFH
   JHQGHUG\VSKRULFDQGWKH\VXEVHTXHQWO\GHVLVWIURP            'R\RXVHHWKDW"
   JHQGHUG\VSKRULDWKDWWKHRULJLQDOGLDJQRVLVZDVZURQJ"       $8KKXK \HV 
   $77251(<%25(//,2EMHFWLRQIRUP            41RZZKDWWKH(QGRFULQH6RFLHW\&RPPLWWHH
   7+(:,71(666R\RXNQRZDWWKHWLPH         FRQVLGHULQJDOOWKHDYDLODEOHUHVHDUFKVD\VLVWKDW
   WKDWWKHLUXQGHUVWDQGLQJRIWKHLULGHQWLW\ZDVGLIIHUHQW      VRFLDOWUDQVLWLRQKDVEHHQIRXQGWRFRQWULEXWHWRWKH
   IURPWKHLUVH[DVVLJQHGDWELUWKZKHQWKH\ZHUHDFKLOG      OLNHOLKRRGRISHUVLVWHQFH,VWKDWKRZ\RXUHDGWKHLU
   LIWKDWZDVWKHFDVHDQGLWLVQRWFOHDULQWKDWVWXG\       ODQJXDJHKHUH"
   WKDWWKDWZDVQHFHVVDULO\WKHFDVHWKDWWKHLQGLYLGXDOV      $77251(<%25(//,2EMHFWLRQIRUP
   IHOWG\VSKRULDDERXWWKDWWKDWLVZKDWKDSSHQHGWR           7+(:,71(667KDW VKRZ,UHDGLW
   WKHP7KHLUXQGHUVWDQGLQJRIWKHLULGHQWLW\LILW           %<$77251(<%522.6
   FKDQJHGRYHUWLPHLWPD\UHOLHYHVRPHRIWKDWJHQGHU         4$QGVRFLDOWUDQVLWLRQKDVWRGRZLWKKRZWKH


                                                 3DJH                                                        3DJH
    G\VSKRULD,JXHVVWKDW VWKHEHVWZD\,FDQVWDWHLW        SHRSOHDURXQGWKHFKLOGWUHDWKLPRUKHUZKDWSURQRXQV
    $77251(<%522.6/HW VWDNHWKDWEUHDN        WKH\XVHZKDWQDPHVWKH\XVHZKDWFORWKLQJWKH\
    7+(:,71(667KDQN\RX                        SURYLGHFRUUHFWLVWKDWFRQVLVWHQWZLWK\RXU
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       XQGHUVWDQGLQJRIVRFLDOWUDQVLWLRQ"
    FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH            $77251(<%25(//,2EMHFWLRQIRUP
    2))9,'(2                                                      %<$77251(<%522.6
                                     4,WKDVWRGRZLWKKRZVRFLHW\KRZWKHSHRSOH
     :+(5(8321$3$86(,17+(5(&25':$6+(/'                    DURXQG\RXWUHDW\RX
                                     &RUUHFW"
   219,'(2                                                      $77251(<%25(//,2EMHFWLRQIRUP
   9,'(2*5$3+(5                                  7+(:,71(66<HV
   :H UHEDFNRQWKHUHFRUG7KHFXUUHQW         %<$77251(<%522.6
   WLPHLVSP(DVWHUQ6WDQGDUG7LPH                      4$QGWKHUHIRUHZKDWWKLVLVVD\LQJLVKRZ
   $77251(<%522.6, PMXVWVRUU\          SDUHQWVDQGWKRVHDURXQGWKHFKLOGWUHDWWKDWFKLOGFDQ
   , PMXVWPRYLQJWKDWVRPDNHVXUHLW VVWLOO              DIIHFWZKHWKHUWKDWFKLOGHQGVXSLGHQWLI\LQJDV
   UHFRUGLQJDQG,GLGQ WPXFNLWXS,MXVWZDQWHGWRQRW      WUDQVJHQGHURULGHQWLI\LQJZLWKDJHQGHULGHQWLW\
   KLWLWZLWKSDSHUV                                           FRQJUXHQWZLWKKLVRUKHUELRORJ\
   $77251(<:,/.,1621<HVLW VVWLOO           &RUUHFW"
   UHFRUGLQJ                                                    $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(662QHPRUHWLPH
   4/HW V'U$GNLQVLI,FDQDVN\RXWRILQG       %<$77251(<%522.6
   ([KLELWDJDLQZKLFKLVWKHJXLGHOLQHV:HDUH        4:KDWWKLVLVVD\LQJLVWKDWKRZSDUHQWVZKHQ
   DJDLQRQSDJHZKHUHZHMXVWZHUH$QGWKHUHDIWHU       LWVD\VWKDWVRFLDOWUDQVLWLRQKDVEHHQIRXQGWR
   WKHGLVFXVVLRQWKDWZHORRNHGDWDERXWGHVLVWDQFHRI          FRQWULEXWHWRWKHOLNHOLKRRGRISHUVLVWHQFHZKDWWKDW


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0815
                                                  3DJH                                                        3DJH
    WHOOVXVLVKRZSDUHQWVDQGRWKHUVDURXQGWKHFKLOG             WKHLUJHQGHULGHQWLW\FDQGHYHORSRYHUWLPH
    WUHDWWKDWFKLOGFDQDIIHFWZKHWKHUWKHFKLOGHQGVXS           %<$77251(<%522.6
    LGHQWLI\LQJDVWUDQVJHQGHURUFLVJHQGHU"                        4'R\RXDJUHHRUGLVDJUHHZLWKWKLVVWDWHPHQWLQ
    $77251(<%25(//,2EMHFWLRQIRUP              WKH(QGRFULQH6RFLHW\*XLGHOLQHVWKDWVRFLDOWUDQVLWLRQ
    7+(:,71(667KDWLVWKHZD\WKDWUHDGV        KDVEHHQIRXQGWRFRQWULEXWHWRWKHOLNHOLKRRGRI
    ,ZRXOGVD\WKDW\RXNQRZ,GRQ WUHFRPPHQG                   SHUVLVWHQFH"
    QHFHVVDULO\,UHFRPPHQGZHIROORZWKHFKLOGDQG             $77251(<%25(//,2EMHFWLRQIRUP
    ZDWFKWKHLUJHQGHUGHYHORSPHQWV                                7+(:,71(66<RXNQRZWKH\,
    %<$77251(<%522.6                                             DQVZHUHGWKDWTXHVWLRQ
   47KLV&RPPLWWHHVD\VWKDWE\DVVLVWLQJDFKLOGWR      %<$77251(<%522.6
   VRFLDOO\WUDQVLWLRQWKHDYDLODEOHVFLHQFHVXJJHVWVWKDW        4, PVRUU\,SHUKDSVGLGQ WFRUUHFWO\
   DGXOWVDUHFRQWULEXWLQJWRWKHOLNHOLKRRGRISHUVLVWHQFH       XQGHUVWDQG6RLI\RXZRXOGDQVZHULWDJDLQWKDWZRXOG
   UDWKHUWKDQGHVLVWDQFH7KDW VZKDWLWVD\V                  EHKHOSIXO
   5LJKW"                                                $6RNLGVZKRQRZ, YHIRUJRWWHQWKHTXHVWLRQ
   $77251(<%25(//,2EMHFWLRQIRUP             47KLVRQHLVDVLPSOHRQH'R\RXDJUHHRU
   7+(:,71(66, PVRUU\, PJRLQJWR          GLVDJUHHZLWKWKHVWDWHPHQWIURPWKLVFRPPLWWHHWKH
   PDNH\RXVD\LWRQHPRUHWLPHSOHDVH,DSRORJL]H           (QGRFULQH6RFLHW\WKDWVRFLDOWUDQVLWLRQKDVEHHQIRXQG
   , PMXVWJHWWLQJWLUHG                                        WRFRQWULEXWHWRWKHOLNHOLKRRGRISHUVLVWHQFH"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4,NQRZWKHIHHOLQJ7KLVVD\VWKDWE\DVVLVWLQJ      7+(:,71(66<RXNQRZWKLVLW V
   DFKLOGWRVRFLDOO\WUDQVLWLRQWKHDYDLODEOHVFLHQFH           KDUGIRUPHWRDJUHHZLWKWKDW$VDSHGLDWULFLDQ,
   VXJJHVWVWKDWDGXOWVDUHTXRWHFRQWULEXWLQJWRWKH           NQRZWKDWSHRSOHSUHSXEHUWDOFKLOGUHQ\RXQJ
   OLNHOLKRRGRISHUVLVWHQFHUDWKHUWKDQGHVLVWDQFH              FKLOGUHQH[SORUHWKHLUJHQGHULGHQWLW\LQDORWRI
   $77251(<%25(//,2EMHFWLRQIRUP             GLIIHUHQWZD\VRYHUWLPHDQGVR,GRQ WNQRZWKDW,FDQ


                                                  3DJH                                                        3DJH
    7+(:,71(66*RVK6R, PQRWVXUHZKDW        DJUHHQHFHVVDULO\WKDWWKHZD\WKDWLW VZULWWHQ
    \RXVD\VRXQGVULJKWWRPH7KDWLVZKDWLWVD\VRQWKH        WKDW,QHFHVVDULO\DJUHHZLWKWKHVSHFLILFWHUPV
    SDSHU                                                          %<$77251(<%522.6
    %<$77251(<%522.6                                             4,GRQ WPHDQWRVXJJHVWWR\RXE\ZRUGRUWRQH
    4$QG,ZLOOJLYH\RXDFKDQFHWRWHOOXVZKHWKHU        WKDWWKLVGRFXPHQWZDVKDQGHGGRZQRQ0RXQW6LQDL,
    \RXDJUHHRUGLVDJUHHZLWKLWEHFDXVHP\XQGHUVWDQGLQJ         XQGHUVWDQGWKDWWKHUH VURRPIRUVFLHQWLVWVWRGLVDJUHH
    LVWKDW\RXLQFRQWUDVWEHOLHYHWKDWH[WHUQDO                 ,DPMXVWWU\LQJWRJHWFOHDURQ\RXURSLQLRQ, P
    LQIOXHQFHVFDQ WDIIHFWJHQGHULGHQWLW\                        SUHWW\VXUHWKLVGRFXPHQWZDVQRWKDQGHGGRZQRQ0RXQW
    &RUUHFW"                                               6LQDL
   $77251(<%25(//,2EMHFWLRQWRIRUP           /HWPHILQGDFRS\RI\RXUUHEXWWDOUHSRUWZKLFK
   %<$77251(<%522.6                                            ,EHOLHYHZDVPDUNHGDV([KLELW([KLELWWKH
   4&DQQRW"                                               UHEXWWDOUHSRUW/HWPHDVN\RXWRWXUQWRSDJHRI
   $6R\RXNQRZDOORI\RXUOLIHLQIOXHQFHV\RXU         \RXUUHEXWWDOUHSRUW:HFDQKDQG\RXDQRWKHUFRS\LI
   LGHQWLW\GHYHORSPHQW<RXFDQ WFKDQJHZKDWLWLV<RX       QHHGEH:HVKRXOGKDYHRQHPRUH
   FDQLWFDQFKDQJH\RXUH[SHULHQFH,GRQ WWKLQN          $,WKLQNWKLVLVLW
   WKDWWKHVHFKLOGUHQZHUHOLNHO\WRKDYHKDGDGLIIHUHQW        41RZH UHORRNLQJIRU\RXUUHEXWWDOUHSRUW
   RXWFRPH                                                       ,W VJRLQJWREHDW\SHZULWWHQNLQGRIVRPHWKLQJRU
   46R\RXUYLHZLVWKDWJHQGHULGHQWLW\FDQ W            RWKHU
   FKDQJHDQGWKHUHIRUHDQ\FKLOGZKRVHJHQGHULGHQWLW\           $/LNHWKLVULJKW"
   DSSHDUVWRFKDQJHPXVWKDYHEHHQPLVWDNHQDWVRPHVWDWH        4([KLELW
   RIWKHLUXQGHUVWDQGLQJ                                        $, PVRUU\1RWKDW VQRWVXJDU
   &RUUHFW"                                              4, PMXVWJRLQJWRKDQG\RXDQRWKHURQH
   $77251(<%25(//,2EMHFWLRQIRUP             $2ND\7KDQN\RX
   7+(:,71(666RWKHLUXQGHUVWDQGLQJRI         41RKDUGIHHOLQJV



                                                                                      3DJHVWR
                                                                                                     Armistead App. 0816
                                                 3DJH                                                         3DJH
    $,,NQRZLW VKHUHEHFDXVH,WKHUH VVR         EHWZHHQDQG$Q\WKLQJHDUOLHURUODWHUDJDLQPLJKW
    PDQ\SDSHUV<RXZDUQHGPHWKHUHZRXOGEHVRPDQ\              WULJJHUVRPHTXHVWLRQVWKDWVRPHWKLQJLVJRLQJRQ
    SDSHUV                                                         46RDJHHLJKWLVJHQHUDOO\JLUOVWXUQHLJKWLQ
    4,GLG,WULHGWRZDUQ\RX                           VHFRQGRUWKLUGJUDGH"7KLUGJUDGHURXJKO\"
    /HWPHDVN\RXWRWXUQWRSDUDJUDSKRI\RXU         $77251(<%25(//,2EMHFWLRQIRUP
    UHEXWWDOUHSRUW                                                7+(:,71(667KDWZRXOGEH\RXNQRZ
    $2KRND\<HDK                                       LWYDULHVEHFDXVHHDUO\VWDUWHUVODWHVWDUWHUV%XW
    43DJHILYH                                             
    $, PVRUU\WKHQXPEHURQHRIWKHQXPEHUV           %<$77251(<%522.6
   VNLSSHGDQGLWZDVMXVWDODEHOLQJRIDUHIHUHQFHVR          4$QGVRIRUQLQHIRUER\VZRXOGEHIRXUWKJUDGH"
   DJDLQ                                                      $77251(<%25(//,2EMHFWLRQWRIRUP
   4<HV7KHVHFRQGVHQWHQFHWKHUH\RXZURWH         7+(:,71(667KDWZRXOGEHWKHW\SLFDO
   DQGWKLVLVRIFRXUVHDUHFHQWVXEPLVVLRQDGROHVFHQWV         %<$77251(<%522.6
   ZLWKSHUVLVWHQWJHQGHUG\VSKRULDDIWHUUHDFKLQJ7DQQHU         46RZH UHWDONLQJJUDGHVFKRRONLGVKHUHQRW
   VWDJHWZRDOPRVWDOZD\VSHUVLVWLQWKHLUJHQGHULGHQWLW\       HYHQWKHHQGRIJUDGHVFKRRO"
   LQWKHORQJWHUP'R\RXVHHWKDWODQJXDJH"                   $77251(<%25(//,2EMHFWLRQIRUP
   $,GR                                                 %<$77251(<%522.6
   46RDQGWKHEDVLVWKDW\RXFLWHIRUWKDW           4$QGLIWKHW\SHRIFKDQJHVWKDWPDUNWKH
   UDWKHUVSHFLILFIDFWXDOSURSRVLWLRQLVDQDUWLFOHRU           EHJLQQLQJRI7DQQHUVWDJHWZRDUHJHQHUDOO\DWOHDVWWR
   DFWXDOO\DFKDSWHUE\7XUEDQ'H9ULHVDQG=XFNHU              WKHOD\PDQ VH\HQRWYLVLEOHRQDFORWKHGFKLOG
   &RUUHFW", PMXVWORRNLQJDWIRRWQRWHWKUHH         &RUUHFW"
   $<HV                                                  $77251(<%25(//,2EMHFWLRQIRUP
   46R7DQQHUVWDJHWZRDV,XQGHUVWDQGRUZH        %<$77251(<%522.6
   FDQORRNDWWKH(QGRFULQH6RFLHW\QRWHEXWWKLVLV        47KDWPDUNWKHEHJLQQLQJ7DQQHUVWDJHWZR"


                                                 3DJH                                                         3DJH
    7DQQHUVWDJHWZRLVZKHQFKLOGUHQILUVWEHJLQWRH[KLELW        $77251(<%25(//,2EMHFWLRQIRUP
    SK\VLFDOO\UHFRJQL]DEOHFKDQJHVLQSXEHUW\                     7+(:,71(66,ZRXOGVD\WKDWVRPH
    5LJKW"                                                 DVVLJQHGIHPDOHVDWELUWKHVSHFLDOO\LIWKH\ UHOHDQ
    $77251(<%25(//,2EMHFWLRQIRUP              \RXFDQVHHWKHLUEUHDVWGHYHORSPHQW
    7+(:,71(66<HV                               %<$77251(<%522.6
    %<$77251(<%522.6                                             4-XVWDEUHDVWEXG%XWLQJHQHUDOZKHQZH
    46R7DQQHUVWDJHRQHWKHUH VQRWKLQJREVHUYDEOH       VSHDNRIDGROHVFHQFHZHGRQ WLQFRPPRQSDUODQFHZH
    $QGWKHEHJLQQLQJRI7DQQHUVWDJHWZRLVWKHILUVW              GRQRWLQFOXGHWKLUGDQGIRXUWKJUDGHUVGRZH"
    REVHUYDEOHFKDQJHV"                                             $77251(<%25(//,2EMHFWLRQIRUP
   $<HV                                                  7+(:,71(66:HOOWKHGHILQLWLRQRI
   $77251(<%25(//,2EMHFWLRQIRUP             DGROHVFHQFHLVWKHWLPHGXULQJSXEHUW\VRWKH\VKRXOG
   %<$77251(<%522.6                                            EHLQFOXGHG
   4$QG,WKLQN\RXWHVWLILHGEXWLI\RXFRXOGMXVW      %<$77251(<%522.6
   UHPLQGXVNLQGRIWKHWLPHVSDQWKDWWKDWWHQGVWREHJLQ        4,Q\RXUH[SHULHQFHDVWRKRZSHRSOHXVHWKH
   IRUER\VDQGJLUOV                                            WHUPWKLUGDQGIRXUWKJUDGHUVLQFOXGHGLQDGROHVFHQFH"
   $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(6667DQQHUWZR7DQQHUWZR         7+(:,71(66,WYDULHVZLWKUHJDUGWR
   IRUWKRVHDVVLJQHGIHPDOHDWELUWKFDQUDQJHLQWKH            WKHFRQWH[W:LWKLQP\PHGLFDOSUDFWLFHWKDW VWKHZD\
   QRUPDOW\SLFDOGHYHORSPHQWEHWZHHQWKHDJHVRIDQG          ZHXVHWKHWHUP
   ,WGRHVIDOORXWVLGHRIWKDWDWWLPHVDQGLV              %<$77251(<%522.6
   FRQVLGHUHGHDUO\DQGFRXOGEHDPDUNHURIDSUREOHPDV         4$WDQ\UDWHZH UHWDONLQJDERXWJUDGHVFKRRO
   ZHOODVGHOD\HGFRXOGEHDPDUNHURIDSUREOHP                DJHVQRWMXQLRUKLJKRUPLGGOHVFKRRODJHV:KDWLV
   4)RUER\V"                                             \RXUEDVLVIRUVD\LQJWKDWWKRVHFKLOGUHQZKRSHUVLVWXS
   $)RUWKRVHDVVLJQHGPDOHDWELUWKVRXVXDOO\          WRWKHEHJLQQLQJRI7DQQHUVWDJHWZRDOPRVWDOZD\V


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0817
                                                 3DJH                                                        3DJH
    SHUVLVWWUDQVJHQGHULGHQWLW\"                                  MXVWODVWZHHN"
    $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ       $,KDYHUHYLHZHGWKLVGRFXPHQW,GRQ WUHPHPEHU
    IRUP                                                          ZKHQWKRXJK
    7+(:,71(66,GRQ WNQRZZKLFK                42ND\
    UHIHUHQFHLWLVEXW,FDQVWDWHWKDWLQP\SUDFWLFH           $QGLQKHUHOHW VORRNDWSDJH$QG
    WKDW VZKDW,KDYHVHHQ                                       WKHUHDWWKHWRSRIQHDUWKHWRSRIWKHILUVWFROXPQ
    %<$77251(<%522.6                                            RQLVDGLVFXVVLRQRIIROORZXSVWXGLHVRI
    4/HWPHVKRZ\RXWKHRQO\UHIHUHQFH\RXGLGFLWH       SHUVLVWHUVDQGGHVLVWHUV'R\RXVHHWKDWGLVFXVVLRQ"
    IRUWKDWZKLFK,ZLOOPDUNDV([KLELWWKHDUWLFOH         $<HV
   E\7XUEDQ'H9ULHVDQG=XFNHUFLWHGLQIRRWQRWHRI         4$QGLWVD\VIRXUOLQHVILYHOLQHVGRZQLW
   \RXUUHEXWWDOUHSRUW, PVRUU\'RQ WNQRZZK\,VDLG      EHJLQVTXRWH5HVWRUD\DQG6NHHPVPDKDYHSURYLGHGWKH
   , PJRLQJWRKDQGWKHZLWQHVVWKDWDUWLFOHQRZ          PRVWUHFHQWVWXG\RIIROORZXSVWXGLHVLQZKLFKWKH
   $7KDQN\RX                                           SHUFHQWDJHRISDUWLFLSDQWVFODVVLILHGDVSHUVLVWHUV
                                   UDQJHGIURPWZRSHUFHQWWRSHUFHQWFROODSVHGDFURVV
    :KHUHXSRQ$GNLQV([KLELW7XUEDQ         QDWDOER\VDQGJLUOVFORVHGTXRWH'R\RXVHHWKDW"
   'H9ULHVDQG=XFNHU$UWLFOHZDVPDUNHG        $<HDK
   IRULGHQWLILFDWLRQ                           4$QGIXUWKHUGRZQXQGHUWKHKHDGLQJSHUVLVWHQFH
                                   RIJHQGHUG\VSKRULDIURPDGROHVFHQFHWRDGXOWKRRGLVD
   &28575(3257(5([FXVHPHEXW\RX UH         YHU\VKRUWSDUDJUDSKWKDWUHDGVLQLWVHQWLUHW\LQ
   PXPEOLQJDQG,FDQ WXQGHUVWDQGHYHU\WKLQJWKDW\RX UH        FRQWUDVWORZUDWHVRISHUVLVWHQFHIURPFKLOGKRRGLQWR
   VD\LQJ                                                       DGROHVFHQFHLWDSSHDUVWKDWWKHYDVWPDMRULW\RI
   $77251(<%522.6$WWKHPRPHQW, PMXVW       WUDQVJHQGHUDGROHVFHQWVSHUVLVWLQWKHLUWUDQVJHQGHU
   VKXIIOLQJSDSHUVDQGKDQGLQJRXWGRFXPHQWV$QG,ZLOO       LGHQWLW\FORVHGTXRWH
   VSHDNXSQRZDQGDVNDTXHVWLRQ6RUU\DERXWWKDW           'R\RXVHHLVWKDW"


                                                 3DJH                                                        3DJH
    &28575(3257(5:HOOZHDUHRQWKH            $<HV
    UHFRUGDQG,QHHGWREHDEOHWRKHDUHYHU\VLQJOHZRUG         4$QGZDVWKDWWKHODQJXDJHWKDW\RXKDGLQPLQG
    WKDW\RXJX\VDUHVD\LQJ                                      ZKHQ\RXFLWHGWKLVUHIHUHQFHLQIRRWQRWHWKUHHRI\RXU
    $77251(<%522.6:H OOGRWKHEHVWZH          UHEXWWDOUHSRUW"
    FDQ                                                           $,ZRXOGKDYHWRORRNDOOWKHZD\WKURXJKWKH
    &28575(3257(5,W VKDUGIRUPHRYHU          DUWLFOH,W VFRQVLVWHQW
    KHUH                                                          4$QGWKHODQJXDJHWKDW,GLUHFWHG\RXWRDWWKH
    %<$77251(<%522.6                                            WRSVXPPDUL]HVVWXGLHVWKDWVKRZVKRZLQJRI
    4,VWKLVLQIDFWWKHDUWLFOHWKDW\RX                SHUVLVWHQFHRIJHQGHUG\VSKRULDDPRQJFKLOGKRRG
   UHIHUHQFHGLQ\RXUUHEXWWDOUHSRUW'U$GNLQVRUWKH        G\VSKRULFVRIRQO\WZRSHUFHQWWRSHUFHQW
   FKDSWHU,VKRXOGVD\"                                         5LJKW"
   $<HDK,PHDQ, GKDYHWRWDNHDPLQXWHWR          $77251(<%25(//,2EMHFWLRQIRUP
   UHYLHZLW                                                    7+(:,71(667KRVHDUHWZRGLIIHUHQW
   9,'(2*5$3+(5&RXQVHOZKLFKWDEQXPEHU       SRSXODWLRQV
   LVWKLV"                                                      %<$77251(<%522.6
   7+(:,71(66, PVRUU\\RXEURNHXS         47KH\DUH$QG, PDVNLQJ\RXQRZDJDLQDERXW
   9,'(2*5$3+(5:KLFKWDEQXPEHULVWKLV        ZKDWLWVD\VDWWKHWRS"
   GRFXPHQW"                                                     $3OHDVHUHSHDW\RXUTXHVWLRQ
   $77251(<%522.67DE,DSRORJL]H        47KHGLVFXVVLRQDWWKHWRSVXPPDUL]HVVWXGLHV
   9,'(2*5$3+(57KDQN\RX                      VKRZLQJSHUVLVWHQWFKLOGKRRGG\VSKRULDRIRQO\EHWZHHQ
   7+(:,71(66,WLVODEHOHGDVWKDW           WZRSHUFHQWDQGSHUFHQWGHSHQGLQJRQWKHVWXG\"
   %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQWRIRUP
   4:HOOGR\RXUHFDOOUHFHQWO\UHDGLQJWKLV            7+(:,71(66,VHHWKDW
   DUWLFOHVLQFHLWZDVFLWHGLQWKLVGRFXPHQWVXEPLWWHG         %<$77251(<%522.6


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0818
                                                 3DJH                                                          3DJH
    4$QGWKDWLVWKDWWKHODUJHPDMRULW\FRQVLVWHGDW       JHQGHUG\VSKRULDGRVRQRODWHUWKDQWKHWLPHWKH\ILUVW
    VRPHVWDJHEHIRUHDGXOWKRRG                                    UHDFK7DQQHUVWDJHWZR"
    &RUUHFW"                                               $77251(<%25(//,2EMHFWLRQIRUP
    $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,GRQ WWKLQNWKDW,UHFDOO
    7+(:,71(660RUHWKDQKDOISHUWKLV           DVWXG\WKDW VEHHQPRGHOHGWKDWZD\
    %<$77251(<%522.6                                             %<$77251(<%522.6
    4$QGQRWKLQJKHUHWHOOVXVDERXWH[DFWO\ZKDW           4&DQ\RXWHOOPHLGHQWLI\IRUPHDQ\VWXG\
    VWDJHRIDGROHVFHQFHEHIRUHDGXOWKRRGWKH\GHVLVWHG            WKDWKDVH[DPLQHGZKHWKHUZKDWLVFDOOHGLQWKH
    GRHVLW"                                                        OLWHUDWXUHZDWFKIXOZDLWLQJFRPELQHGZLWKSV\FKRWKHUDS\
   $77251(<%25(//,2EMHFWLRQIRUP             UHVXOWVLQZRUVHRXWFRPHVIRUFKLOGUHQDVFRPSDUHGWR
   7+(:,71(66,QWKLVOLWHUDWXUH                DGPLQLVWUDWLRQRISXEHUW\EORFNHUVDQGVRFLDORXWFRPHV"
   DGROHVFHQFHLVSXEHUW\,WZRXOGKDYHWREHDWOHDVW          $77251(<%25(//,2EMHFWLRQIRUP
   7DQQHUWZR                                                    7+(:,71(666RWKHH[SHULHQFHLVWKDW
   %<$77251(<%522.6                                            VRPHSDWLHQWVKDYHG\VSKRULDWKDWLVVLJQLILFDQWHQRXJK
   4$WOHDVW1RZP\TXHVWLRQZDVQRWKLQJLQWKH        RQFHWKH\DUHLQSXEHUW\WREHGDQJHURXVWRWKHLUOLIH
   GLVFXVVLRQXSWRZDUGVWKHWRSRIWKHFROXPQDERXWWKHVH        ,ZRUU\DERXWWKRVHSDWLHQWV:HDOORZWKHPDSDXVH
   SHUVLVWHQFHDQGGHVLVWDQFHVWXGLHVWHOOVXVDWZKDW            ZLWKSXEHUW\EORFNHUVWRFRQWLQXHWRILJXUHRXWWKHLU
   VWDJHRISXEHUW\WKHGHVLVWHUVGHVLVWHGGRHVLW"              JHQGHULGHQWLW\,JRWORVWLQP\DQVZHU,DSRORJL]H
   $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
   7+(:,71(66,ZRXOGKDYHWRORRNDWWKH       4:HOO'U$GNLQV,GLGQ WDVNZKDW\RXZHUH
   ZKROHVWXG\-XVWLQWKDWOLQHWKDWGHWDLOLVQRW             ZRUULHGDERXW,DVNHGFDQ\RXLGHQWLI\DQ\VWXG\WKDW
   OLVWHG                                                        H[DPLQHVZKHWKHUZDWFKIXOZDLWLQJIRUFKLOGUHQFRPELQHG
   %<$77251(<%522.6                                            ZLWKSV\FKRWKHUDS\UHVXOWVLQEHWWHURUZRUVHRXWFRPHV
   4$QGVLPLODUO\ORRNLQJDWWKHGLVFXVVLRQXQGHU        RQDYHUDJHWKDQDGPLQLVWHULQJSXEHUW\EORFNHUVDQG


                                                 3DJH                                                          3DJH
    WKHKHDGLQJSHUVLVWHQFHRIJHQGHUG\VSKRULDIURP                VRFLDOWUDQVLWLRQ"
    DGROHVFHQFHWRDGXOWKRRGQRWEHLQJLQWKDWVHQWHQFH             $77251(<%25(//,2EMHFWLRQIRUP
    WHOOVXVZKDWVWDJHRIDGROHVFHQFHZKHWKHULWLV7DQQHU        7+(:,71(66<RXNQRZ,FDQ WUHPHPEHU
    VWDJHWZRRUWKUHHRUIRXULVEHLQJUHIHUUHGWRZKHQLW         WKHH[DFWVWXG\:HKDYHVWXGLHVWKDWVKRZWKDWLI\RX
    VD\VWKHPDMRULW\RIDGROHVFHQWVSHUVLVW"                       DUHQRWKHOSLQJWKHSDWLHQWVUHOLHYHWKHLUJHQGHU
    $77251(<%25(//,2EMHFWLRQIRUP              G\VSKRULDDQGSV\FKRWKHUDS\KDVQRWEHHQVKRZQWRGR
    7+(:,71(666,W VQRWZULWWHQULJKW            WKDWWKHQZHZRXOGEH\RXNQRZDWDQXQHWKLFDOSRLQW
    WKHUHQR                                                      WRGRWKDWVWXG\EHFDXVHLWZRXOGLQFUHDVHULVNRIGHDWK
    %<$77251(<%522.6                                             LQWKRVHSDWLHQWVIRUXVWRZDWFKDQGZDLW
   43OHDVHLGHQWLI\IRUPHDOOVWXGLHV\RXDUHDZDUH      %<$77251(<%522.6
   RIWKDWVKRZWKDWWKRVHZKRGHVLVWIURPFKLOGKRRGJHQGHU       46R\RXUDQVZHULVDWQRWLPHVLQFHWKHLQFHSWLRQ
   G\VSKRULDGRVRE\QRODWHUWKDQEHJLQQLQJRI7DQQHU           RIWKLVILHOGWKDWLVWKHUDS\IRUJHQGHUG\VSKRULDDUH
   VWDJHWZR                                                     \RXDZDUHRIDQ\VWXG\FRPSDULQJRXWFRPHVIRUJHQGHU
   $77251(<%25(//,2EMHFWLRQIRUP             G\VSKRULFFKLOGUHQRIRQWKHRQHKDQGZDWFKIXOZDLWLQJ
   7+(:,71(66,DPQRWJRLQJWREHDEOH         DFFRPSDQLHGE\SV\FKRWKHUDS\DQGRQWKHRWKHUKDQG
   WRUHPHPEHUWKRVHRIIWKHWRSRIP\KHDG                      SXEHUW\EORFNHUVDQGVRFLDOWUDQVLWLRQLQJ"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4&DQ\RXUHPHPEHUDVLQJOHRQH"                        7+(:,71(667KHUH VDORQJKLVWRU\RI
   $77251(<%25(//,2EMHFWLRQIRUP             LQGLYLGXDOVZKRZHUHOHIWXQWUHDWHGRUWUHDWHGZLWK
   7+(:,71(66,ZRXOGKDYHWRKDYH\RX          SV\FKRWKHUDS\ZKRGLHGLQKRVSLWDOVRUQRWLQKRVSLWDOV
   UHSHDWWKHTXHVWLRQEXW,GRXEWLW                           EHFDXVHWKH\ZHUHRQO\JLYHQWKRVHWKHUDSLHVZKLFKZHUH
   %<$77251(<%522.6                                            WKHRQO\RQHVDYDLODEOHDWWKHWLPH
   4,ZLOOUHSHDWLW,GHQWLI\DOOVWXGLHV\RX UH        %<$77251(<%522.6
   DZDUHRIWKDWVKRZWKDWWKRVHZKRGHVLVWIURPFKLOGKRRG        4'U$GNLQV\RXDUHDOVRDZDUHDUH\RXQRW


                                                                                       3DJHVWR
                                                                                                    Armistead App. 0819
                                                3DJH                                                         3DJH
    WKDWWKHUH VDORQJKLVWRU\RILQGLYLGXDOVZKRKDYH            VSHFLILFUHSRUWV,DPDZDUHWKDWWKDWLVDQLVVXHZLWK
    WUDQVLWLRQHGERWKVRFLDOO\DQGKRUPRQDOO\ZKRKDYH             VRPHSHRSOHZKRKDYHWUDQVLWLRQHGIXOO\
    FRPPLWWHGVXLFLGH"                                             %<$77251(<%522.6
    $77251(<%25(//,2EMHFWLRQWRIRUP           4'R\RXEHOLHYHWKDWVRFLDOWUDQVLWLRQLVDQ
    %<$77251(<%522.6                                            LPSRUWDQWSDUWRIPHGLFDOFDUHIRUWUDQVJHQGHU
    47KDW VZHOOGRFXPHQWHGLQWKHOLWHUDWXUHLVLW       LQGLYLGXDOV"
    QRW"                                                           $77251(<%25(//,2EMHFWLRQIRUP
    $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<HV
    7+(:,71(667KHUHDUHLQGLYLGXDOVZKR         %<$77251(<%522.6
   VWLOOVWUXJJOHZLWKGHSUHVVLRQDQGDQ[LHW\WRWKHSRLQW       4$QGGR\RXDOVRFRQVLGHUSXEHUW\EORFNHUVWREH
   WKDWWKH\DUHGRFRPPLWVXLFLGHDQGWKH\KDYHQRW         SDUWRIWUHDWPHQWIRUFKLOGUHQZLWKJHQGHUG\VSKRULD"
   QHFHVVDULO\WKHUHDVRQEHLQJUHODWHGWRWKHLUJHQGHU          $77251(<%25(//,2EMHFWLRQWRWKHIRUP
   G\VSKRULD&RXOGEH+DUGWRNQRZ                          7+(:,71(66,KDYHVHHQUHVXOWVIURPD
   %<$77251(<%522.6                                           UHFHQWVWXG\WKDWVDLGWKDWWKHUHZDVDGHFUHDVHLQ
   4,QIDFW6NHHPVPDDQGFROOHDJXHVDWWKH              G\VSKRULD,WKLQNLWZDVDQ[LHW\DQGGHSUHVVLRQ,
   UHVSHFWHGLQVWLWXWHLQ$PVWHUGDP'H9U\8QLYHUVLW\KDYH      ZRXOGKDYHWRGRXEOHFKHFNWKHDUWLFOHZLWKSXEHUW\
   GRFXPHQWHGYHU\KLJKUDWHVRIVXFFHVVIXOFRPSOHWHG            EORFNHUV2XUJRDOZLWKSXEHUW\EORFNHUVLVWRSDXVH
   VXLFLGHDPRQJWUDQVJHQGHUDGXOWVKDYHWKH\QRW"              DQGDOORZSHRSOHWRXQGHUVWDQGWKHLULGHQWLW\DQGILJXUH
   $77251(<%25(//,2EMHFWLRQIRUP            RXWZKDWLVJRLQJRQZLWKWKDWXQGHUVWDQGLQJDQGZKDWLV
   7+(:,71(66,ZRXOGKDYHWRVHHWKH          WKHEHVWFDUHIRUWKDWSDWLHQWLV
   VWXG\                                                        %<$77251(<%522.6
   %<$77251(<%522.6                                           4,VWKHSRLQWRIDGPLQLVWHULQJSXEHUW\EORFNHUV
   4<RXDUHQRWDZDUHRIWKDWLQIRUPDWLRQ"               WRFKLOGUHQZKRDUHH[SHULHQFLQJJHQGHUG\VSKRULDWR
   $,KDYHQRWVHHQWKDWVWXG\,KDYHUHDGWKH         SUHYHQWSXEHUW\IURPRFFXUULQJDWWKHWLPHWKDWLW


                                                3DJH                                                         3DJH
    OLWHUDWXUH,GRQ WUHFDOODVWXG\VD\LQJWKHUHZDVD         QDWXUDOO\ZRXOGRFFXULQWKDWFKLOG"
    KLJKRUZK\,ZRXOGQHHGDQXPEHU                           $77251(<%25(//,2EMHFWLRQIRUP
    %<$77251(<%522.6                                            7+(:,71(66,QSDWLHQWVLQSDWLHQWV
    4<RXUHDG'U/HYLQH VUHSRUW"                         ZKRDUHKDYLQJHDUO\SXEHUW\LWLVDGLIIHUHQW
    $<HDKLWZDV\HV                                 PHFKDQLVP)RUSHRSOHZLWKJHQGHUG\VSKRULDZKHUH\RX
    4$QGGR\RXUHFDOOWKDWKHFLWHVPXOWLSOH              DUHWU\LQJWRSDXVHLWDQGZHNHHSLWZLWKLQWKHUHDOP
    VWXGLHVLQFOXGLQJVWXGLHVIURP'H9U\8QLYHUVLW\WHDP          RIQRUPDOSXEHUWDOGHYHORSPHQW
    GRFXPHQWLQJKLJKUDWHVRIVXFFHVVIXOFRPSOHWHGVXLFLGH        %<$77251(<%522.6
    QRWVWXGLHVKH VGRQHWKDWFOLQLFKDVGRQHGRFXPHQWHG        4)RULQGLYLGXDOVVXIIHULQJFKLOGUHQVXIIHULQJ
   KLJKUDWHVRIVXFFHVVIXOVXLFLGHDPRQJWUDQVJHQGHU            IURPJHQGHUG\VSKRULDWKHSUHFLVHSRLQWRIDGPLQLVWHULQJ
   DGXOWV"                                                       SXEHUW\EORFNHUVLVWRSUHYHQWSXEHUW\IURPRFFXUULQJLQ
   $77251(<%25(//,2EMHFWLRQIRUP            WKDWFKLOGDWWKHWLPHLWZRXOGRWKHUZLVHQDWXUDOO\
   7+(:,71(66,ZRXOGQHHGDQXPEHU, P      RFFXU
   QRWJRLQJWRFODVVLI\VRPHWKLQJDVKLJKMXVWEHFDXVH      &RUUHFW"
   ,ZRXOGQHHGDQXPEHU                                        $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(66,WZRXOGRXUSDXVLQJ
   4+DYH\RXWKRXJKWWKDWLWZDVLQFXPEHQWXSRQ\RX      WKHSXEHUW\DQGNHHSLQJLWZLWKLQWKHQRUPDOUDQJHRI
   VRPHERG\DVVLVWLQJ\RXQJSHRSOHWRWUDQVLWLRQDQG             SXEHUWDOGHYHORSPHQW
   SUHVFULELQJKRUPRQHVWRWKRURXJKO\LQYHVWLJDWLRQDQG          %<$77251(<%522.6
   TXHVWLRQVXLFLGDOLW\DPRQJWUDQVLWLRQHGWUDQVJHQGHU           4'U$GNLQVWKHSXUSRVHRIDGPLQLVWHULQJ
   LQGLYLGXDOV"                                                  SXEHUWDOEORFNHUVWRDSDUWLFXODUFKLOGLVWRSUHYHQWLW
   $77251(<%25(//,2EMHFWLRQIRUP            IURPKDSSHQLQJZKHQLWZRXOGRWKHUZLVHKDSSHQQDWXUDOO\
   7+(:,71(66$JDLQ\HV,UHDGWKRVH        LQWKDWFKLOG
   ZKHQ,FDQ,DPQRWJRRGZLWKUHFDOOLQJQDPHVLQ            &RUUHFW"



                                                                                     3DJHVWR
                                                                                                     Armistead App. 0820
                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              DQGVLGHHIIHFWVDQGP\JHQHUDOH[SHULHQFHDQGWKH
    %<$77251(<%522.6                                             SXEOLFDWLRQVWKDWDUHDYDLODEOH*RRGQHVVJUDFLRXV
    47KHUHLVQRRWKHUSXUSRVH"                             %R\WKDWOXQFKLVJHWWLQJPH
    $77251(<%25(//,2EMHFWLRQIRUP              ,H[SODLQWRP\SDWLHQWVWKHHIIHFWVDQG
    7+(:,71(66, PVRUU\,KDYHWRDVN          VLGHHIIHFWVDQG,WDONZLWKWKHPDERXWZKHWKHUP\
    \RXXVHGVRPHSURQRXQFHGLQWKHUHWKDWZHUHQRWUHDO        H[SHULHQFHKDVEHHQ,KDYHKDGYHU\IHZSDWLHQWV
    FOHDU,I\RXGRQ WPLQGUHSHDWLQJWKHTXHVWLRQ               H[SHULHQFHDSUREOHPZLWKWKHPHGLFDWLRQ
    %<$77251(<%522.6                                             %<$77251(<%522.6
    47KHSXUSRVHRIDGPLQLVWHULQJSXEHUW\EORFNHUVWR       4$QGLI\RXDUHXQZLOOLQJWRVLWKHUHWRGD\DQG
   DFKLOGVXIIHULQJIURPJHQGHUG\VSKRULDLVWRSUHYHQW          DGPLWWKDW\RXWHOOSDUHQWVWKDWSXEHUW\EORFNHUVDUH
   SXEHUW\IURPKDSSHQLQJLQWKDWFKLOGDWWKHWLPHLW            VDIHWKHQZK\KDYH\RXVWDWHGLQ\RXUH[SHUWUHSRUWWR
   ZRXOGRWKHUZLVHQDWXUDOO\RFFXULQWKDWFKLOGDEVHQWWKH       WKHFRXUWWKDWWUHDWPHQWLQFOXGLQJSXEHUW\EORFNHUV
   EORFNDGH"                                                      DUHVDIH"
   $77251(<%25(//,2EMHFWLRQ                   $77251(<%25(//,2EMHFWLRQIRUP
   7+(:,71(66:HDUHSDXVLQJWKHLU              7+(:,71(666(YHU\SDWLHQWLV
   SXEHUW\RQFHLWVWDUWVSXWWLQJDSDXVH                       LQGLYLGXDO,KDYHWRPDNHDQLQGLYLGXDODVVHVVPHQWIRU
   %<$77251(<%522.6                                            HDFKSDWLHQW,ZLOOVD\LW VVDIHIRUWKHSDWLHQWV
   4,JHWWRDVNWKHTXHVWLRQV7KDWPHDQV\RX           WKDWWKDWDSSOLHVWR
   ZDQWHGWRSUHYHQWSXEHUW\IURPKDSSHQLQJZKHQLWZRXOG         %<$77251(<%522.6
   QDWXUDOO\KDSSHQIRUWKDWFKLOGDSDUWIURPWKH                 4:KLFKSDWLHQWVGRHVWKDWDSSO\WR"
   PHGLFDWLRQ"                                                    $0RVWRIWKHSDWLHQWVGRQ WKDYHD
   $77251(<%25(//,2EMHFWLRQIRUP             FRQWUDLQGLFDWLRQWRXVLQJSXEHUW\EORFNHUV
   7+(:,71(66<HV                              4,VVDIHDWHUPRIDUWWR\RXDVDGRFWRU"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP


                                                 3DJH                                                        3DJH
    47KDQN\RX                                             7+(:,71(66, PQRWVXUHZKDW\RXPHDQ
    <RXUHJXODUO\WHOOSDUHQWVWKDWWKH                    E\WKHZRUGDUW
    DGPLQLVWUDWLRQRISXEHUW\EORFNHUVIRUWKDWSXUSRVHLV         %<$77251(<%522.6
    TXRWHVDIH"                                                    4'RHVLWKDYHDSUHFLVHPHDQLQJ"7RVD\D
    &RUUHFW"                                               SKDUPDFHXWLFDOLVVDIHGRHVWKDWKDYHDPHDQLQJWR\RX
    $77251(<%25(//,2EMHFWLRQIRUP              DVDGRFWRU"
    7+(:,71(66,JRWKURXJKYHU\VSHFLILF         $,WKDVDPHDQLQJ
    OLVWRIVLGHHIIHFWVDQGHIIHFWVZLWKP\SDWLHQWVZLWK          4:KDWLVWKDW"
    WKDWPHGLFDWLRQ                                                $6RLQJHQHUDOZKHQZH UHWDONLQJDERXWVDIHW\
   %<$77251(<%522.6                                            DQGPHGLFLQHZH UHWDONLQJDERXWOLPLWLQJWKHQXPEHURI
   4<RXUHJXODUO\WHOOSDUHQWVXVLQJWKHZRUGWKDW        QHJDWLYHVLGHHIIHFWVWKDWFDQFDXVHVLJQLILFDQWLVVXHV
   SXEHUW\EORFNHUVDUHTXRWHVDIHGR\RXQRW"                 IRUSDWLHQWV,WKLQNWKDWZRXOG,WKLQNWKDW V
   $77251(<%25(//,2EMHFWLRQIRUP             ZKDW,ZRXOGVD\
   7+(:,71(66,DPWHOOLQJP\SDWLHQWV          4,VQ WLWDWUXLVP\RXZHUHWDXJKWLQPHGLFDO
   WKHULVNVDQGEHQHILWV,DPWHOOLQJWKHP,IHHO              VFKRROWKDWHYHU\SKDUPDFHXWLFDOKDVVLGHHIIHFWV"
   FRPIRUWDEOHXVLQJLW                                          $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                            7+(:,71(666RWUXLVPLVDZRUGWKDW
   4/HW VILQG\RXUUHSRUWZKLFKLV([KLELW        VRUU\WKDWLVXQFOHDUWRPH&DQ\RXFODULI\"
   QR\HV([KLELW,I\RXFDQILQG\RXUUHSRUW           %<$77251(<%522.66
   $SRORJL]H7RRPXFKSDSHU7RRORQJDGD\                   4:HUHQ W\RXWDXJKWLQPHGLFDOVFKRROWKDWHYHU\
   'U$GNLQVGR\RXRUGR\RXQRWWHOOSDUHQWV         SKDUPDFHXWLFDOKDVVLGHHIIHFWV"
   WKDWSXEHUW\EORFNHUVDUHVDIH"                                $77251(<%25(//,2EMHFWWRIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<HV
   7+(:,71(66$JDLQ,UHYLHZWKHHIIHFWV       %<$77251(<%522.6


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0821
                                                 3DJH                                                        3DJH
    4$QGGR\RXDJUHHRUGLVDJUHHWKDWDIODW               'R\RXVHHWKDWODQJXDJH"
    DVVHUWLRQWKDWDQ\SKDUPDFHXWLFDOLVVDIHLVQRW                $77251(<%25(//,2EMHFWLRQIRUP
    FRQVLVWHQWZLWKDFFXUDWHPHGLFDOWHUPLQRORJ\"                   7+(:,71(66,GR
    $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
    7+(:,71(66,ZRXOGVD\WKDW,ZRUN            4$QGZKDWLV\RXUXQGHUVWDQGLQJDVWRZK\WKH
    ZLWKZKDWWKHLQIRUPDWLRQLVDYDLODEOHWRPHDERXW              (QGRFULQH6RFLHW\DGYLVHVWKDWLW VLPSRUWDQWWRDGYLVH
    VDIHW\SURILOH,DSSO\WKDWWRHDFKSDWLHQW                   DERXWIHUWLOLW\SUHVHUYDWLRQSULRUWRLQLWLDWLQJSXEHUW\
    LQGLYLGXDOO\6RPHWLPHV,IHHOVDIHUXVLQJLWLQRQH           VXSSUHVVLRQLISXEHUW\VXSSUHVVLRQLVQHDUO\QRWKLQJEXW
    SDWLHQWYHUVXVDQRWKHUSDWLHQW(YHU\GUXJLV                  DSDXVH"
   GLIIHUHQWHYHU\VLGHHIIHFWSURILOHLVGLIIHUHQWHYHU\       $77251(<%25(//,2EMHFWLRQIRUP
   SDWLHQWLVGLIIHUHQW                                          7+(:,71(66:HOOWKH\RXNQRZ
   %<$77251(<%522.6                                            SXEHUW\SDXVLQJLVLQP\H[SHULHQFHDQGLQWKHUHSRUWHG
   4:K\WKHQGLG\RXIODWO\DVVHUWWRWKHFRXUWWKDW      GDWDDOZD\VUHYHUVLEOH,KDYHQRWHYHUKDGDSDWLHQW
   WUHDWPHQWIRUWUDQVJHQGHU\RXWKZKHQ\RXZHUHGLVFXVVLQJ       ZKRGLGQ WUHVXPHWKHLUQRUPDOSXEHUW\ZKHQWKH\FDPH
   SXEHUW\EORFNHUVDQGKRUPRQHWKHUDSLHVLVTXRWHVDIH"        RIIDQGZHUHRQQRRWKHUWUHDWPHQWRIDSXEHUW\
   $77251(<%25(//,2EMHFWLRQWRIRUP           EORFNDGH,ZRXOGWKLQNWKDWWKLVLVEHLQJYHU\FDUHIXO
   7+(:,71(66,QJHQHUDO,KDYHQRW             DERXW\RXQJLQGLYLGXDOVJHWWLQJSXEHUW\EORFNHUV
   H[SHULHQFHGQRUKDYH,VHHQSXEOLVKHGH[SHULHQFHVRI           $JDLQ,KDYHQ WVHHQDQ\UHSRUWV,QIDFWLWLVXVHG
   LVVXHVZLWKXVLQJWKHVHPHGLFDWLRQVWKDWFDXVHVD              WRSUHVHUYHIHUWLOLW\LQFDQFHUSDWLHQWV
   VLJQLILFDQWSUREOHPIRUP\SDWLHQWV                           %<$77251(<%522.6
   %<$77251(<%522.6                                            4'R\RXLQIDFWFRXQVHODOOSDUHQWVDQG
   4<RXUHJXODUO\WHOOSDUHQWVZKDW\RXKDYHVDLG         FKLOGUHQDERXWIHUWLOLW\SUHVHUYDWLRQRSWLRQVEHIRUH
   VHYHUDOWLPHVWRGD\WKDWSXEHUW\EORFNHUVDFWPHUHO\DV       DGPLQLVWHULQJSXEHUW\EORFNHUV"
   DSDXVHDQGDUHIXOO\UHYHUVLEOHGR\RXQRW"                  $77251(<%25(//,2EMHFWLRQIRUP


                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,GR
    7+(:,71(66,GR                              %<$77251(<%522.6
    %<$77251(<%522.6                                             4$QGGR\RXKDYHDYLHZDVWRZKHWKHUIRU
    4$QG\RXDUHDZDUHDUH\RXQRWWKDWWKH               LQVWDQFHD\HDUROGFDQHYHQEHJLQWRXQGHUVWDQG
    (QGRFULQH6RFLHW\JXLGHOLQHVDGYLVHWKDWEHIRUH                 SXEHUW\VH[XDOGHYHORSPHQWDQGWKHSRVVLELOLW\RI
    DSSURYLQJSXEHUW\EORFNHUVDFOLQLFLDQVKRXOGGLVFXVV           EHFRPLQJDSDUHQWVRDVWRSURYLGHPHDQLQJIXOO\LQIRUPHG
    ULVNVWRIHUWLOLW\DQGWKHDYDLODELOLW\WKHSRVVLELOLW\        FRQVHQW"
    RIIHUWLOLW\SUHVHUYDWLRQ                                      $77251(<%25(//,2EMHFWLRQIRUP
    &RUUHFW"                                               7+(:,71(666RWKRVHLQGLYLGXDOVDOVR
   $77251(<%25(//,2EMHFWLRQIRUP             KDYHWKHLUSDUHQWVZKRDUHZLWKWKHPWROHDUQDERXW
   7+(:,71(66, PQRWVXUHWKDWLVLQWKH       WKHVHWKLQJDQGZHLJKWKRVHWKLQJV7KHSDWLHQWLVQRW
   (QGRFULQH6RFLHW\JXLGHOLQHVZLWKSXEHUW\EORFNHUV,W        WKHUHLQLVRODWLRQ7KH\JHWDQRSWLRQDWWKHWLPH
   PD\EH7KDWLWLVQRSDUWRIWKHJHQGHUDIILUPLQJ            ZKHUHZHZRXOGVWRSSXEHUW\EORFNHUVRUDQ\WLPHWKDW
   KRUPRQHUHFRPPHQGDWLRQ                                        WKH\DUHRQWRPDNHDFKDQJHLQWKDW,WLVFRPSOHWHO\
   %<$77251(<%522.6                                            UHYHUVLEOH
   4/HW VORRNDWSDJHLQWKHJXLGHOLQHV            %<$77251(<%522.6
   ([KLELW                                                     4<RXKDYHWHVWLILHGDWWKHEHJLQQLQJRIWKHGD\
   $:KDWH[KLELWDJDLQ"                                \RXKDGFKLOGUHQRI\RXURZQ%RWKDVDSURIHVVLRQDO
   4([KLELW$QG, PJRLQJWRFDOO\RXUDWWHQWLRQ      DQGDVDPRWKHUGR\RXKDYHDYLHZDVWRZKHWKHUD
   WR$QGFROXPQWZRLVJXLGHOLQHZKHUHLWVD\V       \HDUROGFDQVXIILFLHQWO\XQGHUVWDQGSXEHUW\VH[XDO
   TXRWHZHUHFRPPHQGWKHFOLQLFLDQVLQIRUPDQGFRXQVHO          GHYHORSPHQWDQGWKHSRVVLELOLW\RIEHFRPLQJDSDUHQWWR
   DOOLQGLYLGXDOVVHHNLQJJHQGHUDIILUPLQJPHGLFDO               HQDEOHWKHPWRSURYLGHPHDQLQJIXOO\LQIRUPHGFRQVHQW"
   WUHDWPHQWUHJDUGLQJRSWLRQVIRUIHUWLOLW\SUHVHUYDWLRQ         $77251(<%25(//,2EMHFWLRQIRUP
   SULRUWRLQLWLDWLQJSXEHUW\VXSSUHVVLRQLQDGROHVFHQFH        7+(:,71(666RLQ\RXQJNLGVZHXVH



                                                                                      3DJHVWR
                                                                                                     Armistead App. 0822
                                                 3DJH                                                         3DJH
    WKHVHLQILYH\HDUROGV,KDYHWUHDWHGDILYH           WKHGD\, OOEHJODG
    \HDUROGWKLVZHHNZLWKWKLVPHGLFDWLRQIRUHDUO\               %<$77251(<%522.6
    SXEHUW\,WUXVWEDVHGRQWKHGDWDWKDWLVDYDLODEOH          4-XVWWRFODULI\DQG,GRQ WPHDQWRKDUDVV\RX
    WRPHRYHUWKHODVW\HDUVXVLQJWKLVPHGLFDWLRQWR           EXWZH YHEHHQDVNHGWRUHSHDWLW3XEHUW\EORFNHUV
    SDXVHSXEHUW\IRUFHQWUDOSUHFRFLRXVSXEHUW\WKDWLWLV         KDYHEHHQSXWWKURXJKSKDVHRQHSKDVHWZRSKDVHWKUHH
    DVDIHPHGLFDWLRQDQGWKDWWKHSDWLHQWZLOOEHIHUWLOH         FOLQLFDOWULDOVVXEPLWWHGWRWKH)'$IRUWKHSXUSRVHRI
    &DQ WVD\SHUFHQWEHFDXVHZKRNQRZVZKDWHOVHLV            GHOD\LQJSUHFRFLRXVSXEHUW\LQFKLOGUHQXQWLOWKHQRUPDO
    JRLQJRQLQHDFKLQGLYLGXDOSDWLHQWWKDWPD\FDXVHWKHP         WLPHIRUSXEHUW\$QG\RXUDQVZHUZDV"
    WRKDYHDQLQIHUWLOLW\LVVXH                                   $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                            7+(:,71(66<HV
   4'U$GNLQVSXEHUW\EORFNLQJGUXJVKDYHJRQH          %<$77251(<%522.6
   WKURXJKSKDVHRQHSKDVHWZRSKDVHWKUHHFOLQLFDO             4$QGWKH\KDYHQRWEHHQWHVWHGIRUVDIHW\IRU
   WULDOVVXEPLWWHGWRWKH)'$UHYLHZHG7KH\ YHEHHQ           HIILFDF\LQSKDVHRQHSKDVHWZRRUSKDVHWKUHHFOLQLFDO
   DSSURYHGIRUWKHLQGLFDWLRQRISUHFRFLRXVSXEHUW\             WULDOVIRUWKHSXUSRVHRIGHOD\LQJSXEHUW\IURPLWV
   &RUUHFW"                                                QDWXUDOO\RFFXUULQJWLPHLQFKLOGUHQZKRGRQRWVXIIHU
   $77251(<%25(//,2EMHFWLRQIRUP             IURPSUHFRFLRXVSXEHUW\
   7+(:,71(66<HV                              &RUUHFW"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   41RQHRIWKDWKDVEHHQGRQHIRUDQLQGLFDWLRQRI       7+(:,71(66:HXVHGDWDWKDWZDVQ W
   JHQGHUG\VSKRULDWR\RXUNQRZOHGJH                            SUHVHQWHGWRWKH)'$WRWRORRNDWWKLVWRVHHLILW
   &RUUHFW"                                              LVVDIH,W VDOVREHHQDSSURYHGE\WKH)'$WREHXVHG
   $77251(<%25(//,2EMHFWLRQIRUP             LQDGXOWV$OVREHHQXVHGDQGDSSURYHGIRUIHUWLOLW\
   7+(:,71(66,XVHORWVRIPHGLFDWLRQV         SUHVHUYDWLRQ+DVORWVRIDSSURYDOVWKDWKDYHYHULILHG
   WKDWDUHQ W)'$DSSURYHGIRUWKHSDUWLFXODULQGLFDWLRQV       LWVVDIHW\RYHUWLPH


                                                 3DJH                                                         3DJH
    0DQ\GUXJVLQSHGLDWULFVDUHQRWHYHUWHVWHGLQ                 %<$77251(<%522.6
    FKLOGUHQ,W VMXVWZLWKLQWKHODVWIHZ\HDUVWKDWWKH\        4:HOODPRPHQWDJRZKHQ,DVNHG\RXLI\RXWHOO
    KDYHPDGHDUHFRPPHQGDWLRQWKDWWKDWKDSSHQIRUD               SHRSOHWKH\ZHUHVDIH\RXZHUHQRWTXLWHZLOOLQJWRVD\
    PHGLFDWLRQ6RWKHUHDUHPDQ\GUXJVWKDWKDYHQ WEHHQ          WKDW'R\RXZDQWWRUHYLVHWKDWWHVWLPRQ\"
    )'$DSSURYHGWKDWDUHXVHGLQSHGLDWULFVEDVHGRQ               $77251(<%25(//,2EMHFWLRQIRUP
    LQIRUPDWLRQIRUSDWLHQWVLQDGLIIHUHQWLQGLFDWLRQRU           7+(:,71(66,EHOLHYHDWWKHHQGRI
    DGXOWKRRG                                                      WKDW,ZDVVD\LQJWR\RXWKDWHYHU\SDWLHQWLV
    43XEHUW\EORFNHUVKDYHEHHQWHVWHGWKURXJKSKDVH        GLIIHUHQW7KHUHDUHVRPHWKDWKDYHULVNV:KHQ,IHHO
    RQHSKDVHWZRSKDVHWKUHHFOLQLFDOWULDOVIRUWKH             FRPIRUWDEOHWKDWP\SDWLHQWLQIURQWRIPHGRHVQ WKDYH
   SXUSRVHRISRVWSRQLQJSUHFRFLRXVSXEHUW\XQWLOWKH             WKRVHULVNVEDVHGRQWKHPHGLFDOOLWHUDWXUH,IHHOWKDW
   QRUPDOWLPHSHULRGIRUSXEHUW\                                WKH\ UHVDIHWRXVH,KDYHP\H[SHULHQFH,KDYHVHHQ
   &RUUHFW"7KDW VZKDWKDVEHHQWHVWHG"                  WKHOLWHUDWXUH,IHHO\HV
   $77251(<%25(//,2EMHFWLRQWRIRUP           %<$77251(<%522.6
   7+(:,71(66<HV                              47KHODZWKDW VEHLQJFKDOOHQJHGLQWKLVODZVXLW
   %<$77251(<%522.6                                            GRHVQ WUHVWULFWWKHXVHRISXEHUW\EORFNHUVVRIDUDV
   4$QGQRVXFKWHVWVKDYHEHHQGRQHRUVXEPLWWHGWR      \RXXQGHUVWDQGGRHVLW"
   WKH)'$"                                                   $77251(<%25(//,2EMHFWLRQIRUP
   &28575(3257(5&DQ\RXUHSHDWZKDW\RX        7+(:,71(66,GRQ WUHFDOOWKDWEHLQJ
   VDLGEHFDXVH, PQRWVXUHWKDWODVWTXHVWLRQIXOO\FDPH        SDUWRIWKHODZ
   WKURXJK                                                       %<$77251(<%522.6
   $77251(<%522.67KHODVWTXHVWLRQZDV         4,WGRHVQ WH[FOXGHDQ\RQHIRUSDUWLFLSDWLRQRQ
   DQG,,DGPLWWKDWP\YRLFHDVWKHZLWQHVV V         DQ\WHDPEDVHGRQXVHRISXEHUW\EORFNHUVGRHVLW"
   LVGURSSLQJ:H UHWU\LQJKHUH$QG,'DYH V             $77251(<%25(//,2EMHFWLRQIRUP
   UHVWLQJKLVYRLFHIRUDIHZTXHVWLRQVWRZDUGVWKHHQGRI       7+(:,71(661RWWKDW,UHFDOO


                                                                                      3DJHVWR
                                                                                                   Armistead App. 0823
                                                3DJH                                                        3DJH
    %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
    4$QG\RXKDYHSUHYLRXVO\WHVWLILHGWKDWLQ\RXU        7+(:,71(66,ZRXOGQRWWKLQNLWZRXOG
    YLHZWKHODZLVXQUHDVRQDEOHLILWH[FOXGHVSUHYHQWV         EHDSSURSULDWHWRSUHVVXUHDQ\RQH
    DQ\LQGLYLGXDOVZLWKDWUDQVJHQGHULGHQWLW\IURPSOD\LQJ       %<$77251(<%522.6
    LQWKHFDWHJRU\WKDWFRUUHVSRQGVWRWKHLUJHQGHU               46RIRULQVWDQFHDODZWKDWVDLGLI\RXWDNH
    LGHQWLW\                                                      SXEHUW\EORFNHUVWKHQ\RXFDQSOD\RQWKHJLUOVWHDPDQG
    &RUUHFW"                                              LI\RXGRQ W\RXFDQ WWKDWZRXOGFDXVH\RXFRQFHUQDV
    $77251(<%25(//,2EMHFWLRQIRUP             DGRFWRUZRXOGLWQRW"
    7+(:,71(667KDWVRXQGVDFFXUDWH             $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<%522.6                                           7+(:,71(66,GHDOO\WKH\ZRXOGEHDEOH
   4,GRQ WZDQWWRPLVFKDUDFWHUL]H\RXURSLQLRQ        WRZKHWKHURUQRWWKH\KDYHWKHSXEHUW\EORFNHUVRUQRW
   2ND\                                                SOD\RQWKHWHDPWKDWPDWFKHVWKHLUJHQGHULGHQWLW\
   6RZKDWLVWKHUHOHYDQFHWR\RXURSLQLRQWKDW        %<$77251(<%522.6
   DOOWKHGLVFXVVLRQVLQ\RXUUHSRUWDERXWSXEHUW\              4$QGLGHDOO\DQGIURP\RXUSHUVSHFWLYHDQGLQ
   EORFNHUV"                                                     IDFWLIWKHODZVHWXSDQLQFHQWLYHWKDWVD\V\RXFDQ
   $77251(<%25(//,2EMHFWLRQIRUP            RQO\SOD\RQWKHJLUOV WHDPLI\RXWDNHSXEHUW\
   7+(:,71(666RUU\,QHHGVRPHZDWHU       EORFNHUVDQGLI\RXGRQ W\RX UHIRUFORVHGIURPIHPDOH
   $QGWKHQLI\RXGRQ WPLQGZKLOH, PGRLQJWKDWFRXOG      DWKOHWLFVWKDWZRXOGFDXVH\RXFRQFHUQDVDGRFWRUDV
   \RXSOHDVHUHUHDGWKHTXHVWLRQ6RUU\                      ELDVLQJWKHSDWLHQW VDQGSDUHQWV GHFLVLRQVZRXOGLW
   %<$77251(<%522.6                                           QRW"
   4<HV, OOHYHQZDLWXQWLO\RX YHKDG\RXU           $77251(<%25(//,2EMHFWLRQIRUP
   GULQN                                                        %<$77251(<%522.6
   $6RUU\                                               47KDW VQRWDODZ\RXZRXOGZDQWWRVHHRQWKH
   4, PKLWWLQJWKHERWWRPP\VHOI                       ERRNV"


                                                3DJH                                                        3DJH
    $,W VSROOHQVHDVRQ,W VEDG                        $77251(<%25(//,2EMHFWLRQIRUP
    4,W VMXVWJHWWLQJJRLQJ                              7+(:,71(66,GRQ WWKLQN,ZRXOGZDQW
    $,NQRZ                                               WRVHHWKDWRQWKHERRNV+DYHQ WWKRXJKWWKURXJKHYHU\
    4*LYHQZKDWZHMXVWZDONHGWKURXJK                GHWDLORIWKDWEXW,GRQ WWKLQNVR
    $<HV                                                  %<$77251(<%522.6
    4ZKDWLVWKHUHOHYDQFHRIDOOWKHGLVFXVVLRQ       4<RXDUHDZDUHDUH\RXQRWWKDWDOOWKH
    DERXWSXEHUW\EORFNHUVLQ\RXUH[SHUWUHSRUWDQG               UHFRPPHQGDWLRQVLQWKHJXLGHOLQHVDOVRLQWKH
    UHEXWWDOUHSRUWWRWKHRSLQLRQV\RX UHRIIHULQJLQWKLV        JXLGHOLQHVIURPWKH(QGRFULQH6RFLHW\DERXWWKH
    FDVH"                                                          DGPLQLVWUDWLRQRISXEHUW\EORFNHUVLVDFFRUGLQJWRWKH
   $77251(<%25(//,2EMHFWLRQIRUP            FRPPLWWHHWKDWSUHSDUHVWKRVHUHFRPPHQGDWLRQEDVHGRQ
   7+(:,71(666RP\SDUWRIWKLVLVWR         HLWKHUORZTXDOLW\RUYHU\ORZTXDOLW\HYLGHQFH
   WDONDERXWZKDWFDUHLVIRUSHRSOHZKRDUHWUDQVJHQGHU        5LJKW"
   DQGZKDWPHGLFDWLRQVWKH\PLJKWEHRQDQGZKDW                $<RXNQRZDOOUHFRPPHQGDWLRQSXWWRJHWKHUDUH
   WUHDWPHQWVPLJKWEHLGHDOIRUWKHP                           JUDGHGZLWKHYLGHQFHDQGLW VLQWKHUHSRUWZHXVH
   %<$77251(<%522.6                                           WKHPQRWLQWKHUHSRUWLQWKHJXLGHOLQHV$QGZH
   4<RX YHWDONHGDERXWKRZHDFK\RXZDQWWR         XVHORWVRIJXLGHOLQHVWKDWKDYHORZTXDOLW\WRKHOS
   WUHDWHDFKSDWLHQWGLIIHUHQWO\<RXZDQWWREHYHU\          JXLGHRXUFDUH
   FDUHIXODERXWWKHLUWUHDWPHQWFKRLFHVWKHLUSDUHQWV          4/RZTXDOLW\HYLGHQFHPHDQVWKDW\RXDVD
   WUHDWPHQWFKRLFHVWKDWWKH\XQGHUVWDQGDOORIWKH            VFLHQWLVW\RXDVDGRFWRUFDQ WEHYHU\FRQILGDQWWKDW
   FRQVLGHUDWLRQV                                               WKHUHFRPPHQGDWLRQZLOOUHVXOWLQEHQHILFLDOUHVXOWV
   :RXOGLWFDXVH\RXFRQFHUQLI:HVW9LUJLQLDSXW      7KDWLVNLQGRIWKHPHDQLQJRIORZTXDOLW\HYLGHQFH
   LQWRSODFHDODZWKDWFUHDWHGLQFHQWLYHVRUSUHVVXUHVRQ      5LJKW"
   SDUHQWVDQGFKLOGUHQWRPDNHGHFLVLRQVDERXWSXEHUW\          $77251(<%25(//,2EMHFWLRQWRIRUP
   EORFNHUVDWDQHDUO\VWDJH"                                   7+(:,71(66,ZRXOGVXJJHVWLWJLYHVXV


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0824
                                                 3DJH                                                        3DJH
    DSODFHWRVWDUWDQGZHQHHGWREHYHU\PLQGIXOZKHQ            &28575(3257(5,ORVW\RXDWFRJQLWLYH
    XVLQJWKDWLQIRUPDWLRQDVWRKRZZHDSSO\LW                   DQGWKHQ,GLGQ WKHDUDQ\WKLQJIRUOLNHVHFRQGV6R
    $77251(<%25(//,                                ,ZDVQ WVXUHLI\RXZHUHVWLOOWDONLQJVLQFH,FDQ W
    :K\GRQ WZHJRDKHDGDQGWDNHDQRWKHU           VHH\RX
    EUHDN"                                                          $77251(<%522.62IFRXUVH$QG,ZDV
    $77251(<%522.6/HWPHMXVWDVNWKH            6RJROO\
    FRXUWUHSRUWHUKRZPDQ\KRZPXFKPRUHWLPHLQWKH           &28575(3257(57KDQN\RX
    VHYHQR FORFNKRXUV                                            %<$77251(<%522.6
    &28575(3257(5:H UHDWVL[KRXUVDQG          46R, PJRLQJWRSLFNXSWKDWTXHVWLRQDJDLQ
   VL[PLQXWHVVRPLQXWHV                                    ,QWKHSDUDJUDSKWKDWZH UHORRNLQJDWLQ
   $77251(<%522.62ND\:H OOWDNHWKDW        FROXPQRQHRISDJHWKHFRPPLWWHHZULWHVWKDWWKLQJV
   EUHDN$EVROXWHO\                                            WKDWQHHGWREHEHWWHUVWXGLHGLQFOXGHTXRWHWKH
                                    HIIHFWVRISURORQJHGGHOD\RISXEHUW\LQDGROHVFHQFHRQ
    :+(5(8321$3$86(,17+(5(&25':$6+(/'                    ERQHKHDOWKJRQDGDOIXQFWLRQDQGWKHEUDLQLQFOXGLQJ
                                    HIIHFWVRQFRJQLWLYHHPRWLRQDOVRFLDODQGVH[XDO
   $77251(<%522.6                                GHYHORSPHQWFORVHGTXRWH
   $OOULJKW:HZLOOUHVXPH                     'U$GNLQVLVLW\RXUXQGHUVWDQGLQJWKDWWKH
   %<$77251(<%522.6                                            FRPPLWWHHKHUHLVVD\LQJWKDWWKHUH VQRW\HWDGHTXDWH
   4'U$GNLQVRQFHDJDLQ,ZLOOGLUHFW\RXWRWKH       VFLHQWLILFHYDOXDWLRQRIWKHLPSDFWRISXEHUW\EORFNHUV
   (QGRFULQH6RFLHW\JXLGHOLQHV([KLELWDQGDVN\RXWR        RQWKHEUDLQ"
   WXUQZLWKPHWRSDJHDQGFROXPQWZRFROXPQRQH       $77251(<%25(//,2EMHFWLRQIRUP
   , PVRUU\                                                7+(:,71(666R\RXNQRZWKH
   $&ROXPQ"                                           UHFRPPHQGDWLRQE\WKHVDPHJURXSLVWKDWLQVRPH
   4&ROXPQRQH$QGWRZDUGVWKHERWWRPSHQXOWLPDWH      SDWLHQWVWKLVLVWKHDSSURDFKWKDWWKDWLVXVHG


                                                 3DJH                                                        3DJH
    SDUDJUDSKEHJLQVLQWKHIXWXUHZHQHHG'R\RXVHH             &HUWDLQO\ZHDOOZHOFRPHPRUHUHVHDUFK:HDOOZDQWWR
    WKDW"                                                           NQRZLIDQ\WKLQJLVGLIIHUHQWIURPWKHLQIRUPDWLRQWKDW
    $,GR                                                  ZHKDYHDVPHQWLRQHGEHIRUHIRUXVHRIWKLVPHGLFDWLRQ
    4$QGLWVD\VLQWKHIXWXUHWKLVLVLQWKH           LQRWKHUDUHDVZKHUHZH UHQRWVHHLQJDQ\HIIHFWRQ
    SUHOLPLQDU\VHFWLRQ%HIRUHWKHVSHFLILF                       WKHVHWKLQJV
    UHFRPPHQGDWLRQVLWVD\VTXRWHLQWKHIXWXUHZHQHHG           %<$77251(<%522.6
    PRUHULJRURXVHYDOXDWLRQVRIWKHHIIHFWLYHQHVVDQG              4,VLWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJDVD
    VDIHW\RIHQGRFULQHDQGVXUJLFDOSURWRFROV$QGLWJRHV        GRFWRUWKDWWKHGHYHORSPHQWRIWKHEUDLQLQWXUQDIIHFWV
    RQWKHQWRVD\VSHFLILFDOO\HQGRFULQHSURWRFRO              FRJQLWLYHHPRWLRQDOVRFLDODQGVH[XDOGHYHORSPHQW"
   VSHFLILFDOO\HQGRFULQHWUHDWPHQWSURWRFROVIRU*'JHQGHU       $77251(<%25(//,2EMHFWLRQIRUP
   LQFRQJUXHQFHVKRXOGLQFOXGHWKHFDUHIXODVVHVVPHQWRI          7+(:,71(667KHEUDLQKDVHIIHFWVLQ
   WKHIROORZLQJ$QGLWOLVWVDQXPEHURIWKLQJVWKH           DOOWKRVHDUHDV
   HIIHFWLYHSURORQJHGGHOD\RISXEHUW\LQDGROHVFHQFHRQ         %<$77251(<%522.6
   ERQHKHDOWKJRQDGDOIXQFWLRQDQGWKHEUDLQLQFOXGLQJ         47R\RXUNQRZOHGJHLWKDVHIIHFWVWKDWFKDQJH
   HIIHFWVRQFRJQLWLYHHPRWLRQDOHPRWLRQDOVRFLDO          DFURVVWKHFRXUVHRISXEHUW\LQDOOWKRVHDUHDV
   DQGVH[XDOGHYHORSPHQW                                        &RUUHFW"
   +DYH,ZLWKYDULRXVFRUUHFWLRQVUHDGWKDW             $77251(<%25(//,2EMHFWLRQIRUP
   FRUUHFWO\"                                                     7+(:,71(66<HVWKH\ UHDOO
   $<HV                                                  LQWHUUHODWHGDQGWKH\ UHRFFXUULQJDOODWWKHVDPHWLPH
   46RDVRILQWKHRSLQLRQRIWKHFRPPLWWHH        $77251(<%522.6/HWPHPDUNDV([KLELW
   WKDWSXWWRJHWKHUWKHVHJXLGHOLQHV                        DGRFXPHQWWKDWLVWLWOHG7HHQDJH%UDLQ$ZRUNLQ
   &28575(3257(5([FXVHPH,GRQ WNQRZ       3URJUHVVZKLFKLVDPLQIRUPDWLRQVKHHWWKDWLV
   LI\RX UHVSHDNLQJEXW,ORVW\RXDWFRJQLWLYH               DWWULEXWHVLWVHOIWRWKH1DWLRQDO,QVWLWXWHRI0HQWDO
   $77251(<%522.6, PVRUU\"                    +HDOWKZKLFK,EHOLHYHZHGLVFXVVHGHDUOLHU7DE


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0825
                                                 3DJH                                                         3DJH
    <HVWKDQN\RX, PVRUU\,EHOLHYH,VDLGLW([KLELW        WKLQNLQJSDUWRIWKHEUDLQKDSSHQVVRPHWLPHDELWDIWHU
                                                                 WKHEHJLQQLQJRI7DQQHUVWDJHWZRDFFRUGLQJWRWKLV
                                      GHVFULSWLRQKHUH"
     :KHUHXSRQ$GNLQV([KLELW1,0+              $77251(<%25(//,2EMHFWLRQIRUP
    ,QIRUPDWLRQ6KHHWZDVPDUNHGIRU               7+(:,71(666ROHWPHUHDGLWP\VHOI
    LGHQWLILFDWLRQ                                 %<$77251(<%522.6
                                      46XUH
    %<$77251(<%522.6                                             $:KDW\RXUHDGZDVLWVWDUWVEHIRUHWKDW6R
    46R,ZRXOGOLNHWRWDONIRUDPRPHQWDERXWWKH         ,MXVWZDQWWRUHDGLW
   LPSDFWRISXEHUW\DQGWKHUHIRUHSXEHUW\EORFNDGHRQ            4,GLGPLVVSHDN/HWPHMXVWUHDVNP\TXHVWLRQ
   EUDLQGHYHORSPHQW2QWKHVHFRQGSDJHDWWKHPRUH             
   LQIRUPDWLRQZHVHHFRQWDFWLQIRUPDWLRQDWWKH1DWLRQDO        $2ND\
   ,QVWLWXWHRI0HQWDO+HDOWK$QG,GRQ WZDQWWR               4EHFDXVH,PL[HGXSSHDNVDQGVWDUWVULJKW
   PLVUHSUHVHQWGLG\RXHDUOLHUWHVWLI\WKDWLVDZHOO           WKDWZDVWKHSUREOHP
   NQRZQDQGUHVSHFWHGVRXUFHRILQIRUPDWLRQDERXWPHQWDO         $FFRUGLQJWRWKHGHVFULSWLRQKHUHWKLVVHFRQG
   KHDOWKWKHUDSLHV"                                              ZDYHRIGHYHORSPHQWRIWKHWKLQNLQJSDUWRIWKHEUDLQ
   $77251(<%25(//,2EMHFWLRQIRUP             WKHJUD\PDWWHUSHDNVDWVRPHWLPHDIWHUWKHEHJLQQLQJ
   7+(:,71(66<HV                              RI7DQQHUVWDJHWZR"
   %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
   4$QGOHWPHWDNH\RXWRSDJHRQH$QG, PVLPSO\      7+(:,71(663HDNV\HV
   XVLQJWKLVWRSLQGRZQDIHZNLQGRIEDVLFSRLQWV,Q         %<$77251(<%522.6
   WKHVHFRQGFROXPQRXWRIWKUHHWZRWKLUGVRIWKHZD\          4$QGLVLWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJ
   GRZQWKUHHTXDUWHUVRIWKHZD\GRZQZHOOWKH             WKDWWKHJUD\PDWWHULQWKHEUDLQLVWKHWKLQNLQJSDUW
   VHQWHQFHEHJLQVKDOIZD\GRZQ,QWKHILUVWVXFK               RIWKHEUDLQRULVWKDWUHDOO\RXWVLGH\RXUH[SHUWLVH


                                                 3DJH                                                         3DJH
    ORQJLWXGLQDOVWXG\RIFKLOGUHQ'R\RXVHHWKDW"           JLYHQWKDW\RX UHQRWDQHXURORJLVW"
    $,VHHWKDW                                            $77251(<%25(//,2EMHFWLRQIRUP
    4$QGLWJRHVRQWRGHVFULEHUHVHDUFKWKDW               7+(:,71(66,WKLQNWKDWWKDWLVEDVLF
    GLVFRYHUHGWKHVHFRQGZDYHRIRYHUSURGXFWLRQRIJUD\            HQRXJKLQPHGLFDOVFKRROWKDW,FDQDJUHHZLWKWKDW
    PDWWHUZKLFKLWUHIHUVWRDVTXRWHWKHWKLQNLQJSDUW         %<$77251(<%522.6
    RIWKHEUDLQMXVWSULRUWRSXEHUW\'R\RXVHHWKDW"          42ND\
    $,GR                                                  $QGLQWKHQH[WFROXPQDERXWWKHVDPHGLVWDQFH
    4$QGLWJRHVRQWRVD\WKDWWKLVVHFRQG                 GRZQLWUHDGVTXRWHWKHJUD\PDWWHUVSXUWJURZWK
    RYHUSURGXFWLRQSHDNVDWDURXQGDJHLQJLUOVDQGLQ        VSXUWMXVWSULRUWRSXEHUW\ZH YHDOUHDG\WDONHG
   ER\V'R\RXVHHWKDW"                                        DERXWWKHWLPLQJSUHGRPLQDWHVLQWKHIURQWDOOREH
   $<HV                                                  ZKLFKLWJRHVRQWRVD\LVWKHVHDWRITXRWHH[HFXWLYH
   4$QGDFFRUGLQJWR\RXUHDUOLHUWHVWLPRQ\WKDWLV      IXQFWLRQVSODQQLQJLPSXOVHFRQWURODQGUHDVRQLQJ
   SUREDEO\DELWLQWRRQDYHUDJHDELWLQWR7DQQHU           FORVHGTXRWH
   VWDJHWZR                                                     'R\RXVHHWKDW"
   &RUUHFW"                                              $,GR
   $77251(<%25(//,2EMHFWLRQIRUP             4$QGLVLWZLWKLQ\RXUNQRZOHGJHRUQRWZLWKLQ
   7+(:,71(66,QJHQHUDO                       \RXUNQRZOHGJHWKDWWKHIURQWDOOREHLVWKHVHDWRI
   %<$77251(<%522.6                                            H[HFXWLYHIXQFWLRQVLQFOXGLQJSODQQLQJLPSXOVHFRQWURO
   46RDOLWWOHODWHUWKDQWKHEHJLQQLQJRI7DQQHU        DQGUHDVRQLQJ"
   VWDJHWZR"                                                     $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(667KDWLVZKDWP\HGXFDWLRQ
   7+(:,71(66%DVHGRQDYHUDJHV\HV           KDVLQIRUPHGPH
   %<$77251(<%522.6                                            %<$77251(<%522.6
   46RWKLVVHFRQGZDYHRIGHYHORSPHQWRIWKH             4$QGFHUWDLQO\DOORIXV\RXZKRKDYHUDLVHG


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0826
                                                  3DJH                                                        3DJH
    FKLOGUHQKDYHJUDWHIXOO\VHHQWKDWSODQQLQJLPSXOVH            41RZDOOWKHVDPHEUDLQDQGERGLO\GHYHORSPHQW
    FRQWURODQGUHDVRQLQJLPSURYHDFURVVWKH\HDUVRI               LVDUHDOO\ELJDEVROXWHVWDWHPHQWLVQ WLW"
    SXEHUW\                                                        $77251(<%25(//,2EMHFWLRQIRUP
    5LJKW"                                                 7+(:,71(667KHUHDUH\RXNQRZIRU
    $77251(<%25(//,2EMHFWLRQIRUP              WKHPRVWSDUWSHRSOHJRWKURXJKLWLQWKLVPDQQHU2I
    %<$77251(<%522.6                                             FRXUVHDJDLQZLWKPHGLFLQH\RXFDQ WVD\SHUFHQW
    40D\EHVRPHXSVDQGVRPHGRZQV"                         %<$77251(<%522.6
    $, PDPMXVWKDSS\WKDWLWFRQWLQXRXVO\LPSURYHV        4:HOOVSHFLILFDOO\DVDVFLHQWLVWEDVHGRQWKH
    WKHZKROHWLPH                                                 LQIRUPDWLRQDYDLODEOHWR\RX\RXFDQ WVD\ZLWK
   4,ZRQ WSUHVV,ZRQ WSUHVWKHTXHVWLRQ          FRQILGHQFHWKDWSDWLHQWVZKRDUHWUHDWHGZLWKSXEHUW\
   +DYH\RX\RXUVHOIDWWHPSWHGWRPDNHDQ\VWXG\RIWKH         GHOD\LQJPHGLFDWLRQXQGHUJRDOOWKHVDPHEUDLQDQG
   WLPLQJRIEUDLQJUD\PDWWHUGHYHORSPHQWDQGWKHUROHRI        ERGLO\V\VWHPGHYHORSPHQWFDQ\RX"
   SXEHUW\KRUPRQHVLQSURPRWLQJWKDWGHYHORSPHQW"                $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66,XVHGWKHPHGLFDWLRQIRU
   7+(:,71(66,KDYHQRW                       DOORIP\FDUHHU,KDYHIROORZHGSDWLHQWVWKURXJK
   %<$77251(<%522.6                                            WKHLULQWRWKHLUSXEHUW\LQWKHLUJURZWK:KHQ
   4:KDWVWXG\LIDQ\KDYH\RXPDGHRIWKHHIIHFWV      WKH\DUHGRQHZLWKWKHLUSXEHUWDOGHYHORSPHQWZHKDYH
   RIEORFNLQJSXEHUW\DQGWKHLQFUHDVHGOHYHORIKRUPRQHV        QRWVHHQDQ\GHILQDEOHFRJQLWLYHGHYHORSPHQWDOLVVXHV
   DVVRFLDWHGZLWKSXEHUW\RQWKLVJURZWKVSXUWLQWKH            ZLWKWKHP+DYHQ WEHHQDEOHWRLGHQWLI\WKDWZLWKDQ\
   WKLQNLQJSDUWRIWKHEUDLQWKDWRWKHUZLVHSHDNVDW             RIP\SDWLHQWVLQFOXGLQJSUHFRFLRXVSXEHUW\7KHUH V
   DURXQGLQJLUOVDQGLQER\V"                             QRWEHHQDQ\HYLGHQFHLQWKHOLWHUDWXUHRYHUD\HDU V
   $77251(<%25(//,2EMHFWLRQIRUP             ZRUWKRIXVHRIWKLVPHGLFDWLRQWKDWWKHUH VDQ\WKLQJ
   7+(:,71(66,KDYHQRWGRQHWKDWVWXG\       GLIIHUHQWKDSSHQLQJWRWKHVHLQGLYLGXDOV
   ,GRQ WVHHLWKHUHHLWKHU                                    %<$77251(<%522.6


                                                  3DJH                                                        3DJH
    %<$77251(<%522.6                                             4:HOO\RXDOVRKDYHQ WGRQHDQ\V\VWHPDWLFVWXG\
    4<RXVDLGLQ\RXUUHEXWWDOUHSRUWSDUDJUDSK        RIFRJQLWLYHGHYHORSPHQWRIWKRVHIRUZKRP\RXKDYH
    WKDWSDWLHQWVZLWKJHQGHUG\VSKRULDZKRDUHWUHDWHGZLWK        SUHVFULEHGSXEHUW\EORFNHUVDVFRPSDUHGWRLQDFRQWURO
    SXEHUW\GHOD\LQJPHGLFDWLRQXQGHUJRKRUPRQDOSXEHUW\            JURXSKDYH\RX"
    ZLWKDOOWKHVDPHEUDLQDQGRWKHUERGLO\V\VWHP                 $77251(<%25(//,2EMHFWLRQIRUP
    GHYHORSPHQW'R\RXUHFDOOZULWLQJWKDW"                       7+(:,71(661RWSHUVRQDOO\
    $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
    7+(:,71(66, PVRUU\FRXOG\RX"          4$QGWKHWKH(QGRFULQH6RFLHW\OHW
    %<$77251(<%522.6                                             PHDVN\RXWRWXUQLQ([KLELWWRSDJH$QGZH
   45LJKWLQIURQWRI\RX<RXUUHEXWWDOUHSRUWLV       DUHLQWKHVHFWLRQKHUHWKDWGLVFXVVHVDUHFRPPHQGDWLRQ
   ([KLELW"                                                 WRXVH*51+IRUSXUSRVHVRISXEHUW\VXSSUHVVLRQZKHQ
   $,JRWLW                                             SXEHUW\VXSSUHVVLRQLVLQGLFDWHG'R\RXVHHWKDW"
   43DUDJUDSK                                         7KDWKHDGLQJLVRQWKHSUHYLRXVSDJH
   $7KDQN\RXIRU\RXUSDWLHQFH                          $,VHHWKDW
   4+HUHOHWPHMXVWILQGLW/HWPHVHHKHUH          4-XVWZDQWHGWRORFDWH\RXLQWKHGLVFXVVLRQ
   $QGWKHVHFRQGVHQWHQFHVD\VTXRWHSDWLHQWVZLWK             ZH UHWDONLQJDERXWSXEHUW\VXSSUHVVLRQ1RZEDFNWR
   JHQGHUG\VSKRULDWUHDWHGZLWKSXEHUW\GHOD\LQJ                 $QGWKHILUVWWKLQJWKHILUVWVHQWHQFHXQGHU
   PHGLFDWLRQXQGHUJRKRUPRQDOSXEHUW\ZLWKDOOWKHVDPH          WKHKHDGLQJVLGHHIIHFWVVWDWHVWKDWTXRWHWKHSULPDU\
   EUDLQDQGRWKHUERGLO\V\VWHPGHYHORSPHQWFORVHGTXRWH       ULVNVRISXEHUW\VXSSUHVVLRQLQ*'JHQGHULQFRQJUXHQW
   'R\RXVHHWKDW"                                               DGROHVFHQWVPD\LQFOXGHDQGWKHQLWOLVWVDQXPEHURI
   $2KZDLW,PXVWEHORRNLQJDWWKHZURQJSODFH      WKLQJVRQHRIZKLFKLVTXRWHXQNQRZQHIIHFWVRQEUDLQ
   43DUDJUDSKVHFRQGVHQWHQFH,WUXQVRYHUWKH      GHYHORSPHQWFORVHGTXRWH'R\RXVHHWKDW"
   SDJH"                                                          $,GR
   $,VHH,VHH<HDK,VHHWKDW                    46RWKHFRPPLWWHHWKDWSXWWRJHWKHUWKH(QGRFULQH


                                                                                      3DJHVWR
                                                                                                            Armistead App. 0827
                                                             3DJH                                                    3DJH
    6RFLHW\JXLGHOLQHVWKRXJKWWKDWWKHSRWHQWLDOHIIHFWVRI               GHYHORSPHQWV7KHRQO\VRXUFH\RXFLWHLQVXSSRUWRI
    SXEHUW\VXSSUHVVLRQRQEUDLQGHYHORSPHQWZHUHDWDW               WKDWLVDDUWLFOHE\6WDSKRUVLXV
    OHDVWXQNQRZQ<RXMXVWGLVDJUHHG"                                    &RUUHFW"
    $77251(<%25(//,2EMHFWLRQIRUP                     $,ZRXOGKDYHWRORRNDWLWDQGYHULI\WKDW
    7+(:,71(66,GRQ WKDYHDQ\UHDVRQWR                4)RUW\WKUHH  
    EHOLHYHWKDWWKHUH VDQ\GLIIHUHQWHIIHFWRQLQGLYLGXDOV               $:KLFKH[KLELWZHUH\RX"
    EDVHGRQWKHUHVHDUFKIURPHDUO\SXEHUW\DQGWKHVWXGLHV               4,KDYHQRWJLYHQLWWR\RX\HW,DSRORJL]H
    WKDW,PHDQVRUU\P\H[SHULHQFHZLWKWKRVH                       $1R,PHDQ
    SDWLHQWV,ZRXOGZDQWWREHZDWFKIXORIWKRVH                        42KLWZDVSDUDJUDSKLQ\RXUUHEXWWDOUHSRUW
   LQGLYLGXDOVDV,ZRXOGDOZD\VZKRXVHDQ\PHGLFDWLRQIRU              ZKLFKLV
   SRWHQWLDOLVVXHV                                                     $2ND\
   %<$77251(<%522.6                                                   4$OOULJKW
   4(QGRFULQH6RFLHW\WKLQNVWKHHIIHFWRQEUDLQ                 'LG\RXFDUHIXOO\UHDGWKH6WDSKRUVLXVDUWLFOH
   GHYHORSPHQWLVXQNQRZQDQG\RXWKRXJK\RXKDYHGRQHQR               WKDW\RXFLWHGLQSDUDJUDSKRI\RXUUHEXWWDOUHSRUW"
   V\VWHPDWLFVWXG\DUHRIWKHYLHZWKDW\RXNQRZWKDWLV               $$WVRPHSRLQWLQWLPH,KDYHUHDGWKDW\HV
   QRWKDUPIXOWREUDLQGHYHORSPHQW$P,DFFXUDWHO\                    4$UH\RXDEOHWRGHVFULEHWKHH[SHULPHQWWKDWLV
   VXPPDUL]LQJ\RXUWHVWLPRQ\"                                           WKHVWXG\WKDWZDVGRQHLQWKLV6WDSKRUVLXVUHSRUW
   $77251(<%25(//,2EMHFWLRQ                          RUWKH6WDSKRUVLXVDUWLFOH"
   7+(:,71(661R                                      $77251(<%25(//,2EMHFWLRQ
   %<$77251(<%522.6                                                   7+(:,71(66, PQRWIDPLOLDU
   4/HWPHDVNLWDGLIIHUHQWZD\LIWKDWZDVLQ                 %<$77251(<%522.6
   DFFXUDWH                                                             4<RXVD\DOVRLQSDUDJUDSKRI\RXUUHEXWWDO
   $,DPWU\LQJWRWHOO\RXWKDW\RXDUHDEOHWR                 UHSRUWWKDW'U/HYLQH VFODLPVZLWKUHJDUGWRFRQFHUQ
   ORRNDWWKHXVHRIWKLVPHGLFDWLRQLQHDUO\SXEHUWDO                  DERXWEUDLQGHYHORSPHQWLVTXRWHLQDFFXUDWHIRUWKH


                                                             3DJH                                                    3DJH
    SDWLHQWVDQGVHHZKDWKDSSHQVWRWKRVHLQGLYLGXDOV                    DGGLWLRQDOUHDVRQWKDWVRPHSHRSOHQHYHUJRWKURXJK
    7KRVHRXWFRPHVFDQEHXVHGWRJLYH\RXVRPHLQIHUHQFHDV               KRUPRQDOSXEHUW\VXFKDVSDWLHQWVZLWK7XUQHUV\QGURPH
    WRZKDWPLJKWSRWHQWLDOO\KDSSHQLI\RXXVHLWODWHURQ                DQGVWLOOKDYHQRUPDOEUDLQGHYHORSPHQWZLWKUHVSHFWWR
    IRUWKHVDPHSXUSRVHRIGHOD\LQJSXEHUW\,WGRHVQ W                  FRJQLWLRQDQGH[HFXWLYHIXQFWLRQ'R\RXVHHWKDW
    GRHVQ WZKROO\UXOHRXWVRPHWKLQJGLIIHUHQW                       ODQJXDJH"
    4$QGLQGHHGVLPSO\EDVHGRQREVHUYDWLRQ                      $<HV
    QRQV\VWHPDWLFREVHUYDWLRQVIURPRQHFOLQLFLW VQRW                   4$QG\RXGRQ WFLWHDQ\WKLQJIRUWKDW:KDWLV
    SRVVLEOHWRUXOHRXWKDUPIXOHIIHFWVRQEUDLQ                          WKHEDVLVIRUWKDWDVVHUWLRQ"
    GHYHORSPHQWLVLW"                                                    $6RZKHQ\RXORRNDWWKHLQIRUPDWLRQUHJDUGLQJ
   $77251(<%25(//,2EMHFWLRQIRUP                    7XUQHUV\QGURPHZLWKLQWKHPHGLFDOOLWHUDWXUHDVZHOODV
   7+(:,71(66, PQRWVXUHWKDWWKHUH V                WKHP\ZRUNZLWK0DUVKD*DYHQSRUWDW81&ZKRUXQV
   DQ\VWXG\\RXFRXOGGRWRFRPSOHWHO\UROHRXWDQ\HIIHFW              UDQWKHELJJHVW7XUQHUV\QGURPHUHJLVWU\LQWKDW
   DQ\VSHFLILFHIIHFW/RWVRILQGLYLGXDOVKDYH                    H[SHULHQFHZHGLGQRWVHHDQ\SDWLHQWVWKDWKDGSUREOHPV
   GLIIHUHQWHIIHFWV                                                    ZLWKWKHUHPD\KDYHEHHQVRPHWKDWZHUHKDGVRUW
   %<$77251(<%522.6                                                   RILVVXHVZLWKYLVXDOVSDWLDOVNLOOVEXWQRWFRJQLWLYH
   4$QG\RXLQ\RXUFOLQLFKDYHQ WDWWHPSWHGDQ\                 LVVXHV,QIDFW,KDYHSDUWQHUVWKDWDUHZRPHQZLWK
   VWXG\"                                                                7XUQHUV\QGURPHWKDWSUDFWLFHPHGLFLQH
   $77251(<%25(//,2EMHFWLRQIRUP                    4<RXZLOODJUHHZLWKPHDVDVFLHQWLVWZLOO\RX
   7+(:,71(66,KDYHQRWGRQHDVWXG\                 QRWWKDWNLQGRIDQHFGRWDOLQIRUPDWLRQDERXWD
   %<$77251(<%522.6                                                   SDUWLFXODUSHUVRQ\RXNQRZLVQRWYHU\ZHLJKW\HYLGHQFH
   4/HWPHKDYHWDE,Q\RXUUHSRUW\RXDVVHUWHG             DVWRZKHWKHUKRUPRQHFKDQJHVDVVRFLDWHGZLWKSXEHUW\
   WKDWWKRVHWUHDWHGZLWKJHQGHUG\VSKRULDXQGHUJR, P              DUHJHQHUDOO\LPSRUWDQWWRFRJQLWLYHGHYHORSPHQWRI
   VRUU\WKRVHWUHDWHGZLWKSXEHUW\GHOD\LQJPHGLFDWLRQ                 KXPDQV"
   H[SHULHQFHDOOWKHVDPHEUDLQDQGRWKHUERGLO\V\VWHP                 $77251(<%25(//,2EMHFWLRQIRUP



                                                                                             3DJHVWR
                                                                                                     Armistead App. 0828
                                                 3DJH                                                         3DJH
    7+(:,71(66:HFDQGHOYHLQWR7XUQHU           4$QGWKRVHDUHVWDJHVWKDWDVZHORRNHGDWLQ
    V\QGURPHOLWHUDWXUH                                            HDUOLHUGRFXPHQWLQFOXGHFRJQLWLRQVRFLDOVNLOOV
    %<$77251(<%522.6                                             VH[XDOGHYHORSPHQW"
    4:HOO'U$GNLQV,KRSH\RXXQGHUVWDQGWKDW           $77251(<%25(//,2EMHFWLRQIRUP
    \RXUREOLJDWLRQWRSUHSDUHDQH[SHUWUHSRUWZDVWR              7+(:,71(666R\RXNQRZWKDWLVZKDW
    SURYLGH\RXURSLQLRQVDQGWKHEDVLVRI\RXURSLQLRQV           LVZDVZULWWHQWKHUH,DJUHHWKDWWKDWFDQEH
    :KDWOLWHUDWXUHDUH\RXUHO\LQJRQ"                             DIIHFWHGE\WKRVHE\SXEHUW\,DOVRGRQ WVHHLQ
    $77251(<%25(//,2EMHFWLRQIRUP               DQ\RIWKHOLWHUDWXUHDURXQGSHRSOHZKRKDYHQ WJRQH
    7+(:,71(66(YHU\WH[WERRNWKDWWDONV          ZLWKWKURXJKSXEHUW\DQ\PHQWLRQRIDQ\RIWKH
   DERXW7XUQHUV\QGURPHZLWKUHJDUGWRWKHVHSDWLHQWV            FRQFHUQLQJFRJQLWLYHGHOD\VRURWKHULVVXHVDJDLQ
   WDONVDERXWDQ\RIWKHLVVXHVWKDWJRDORQJZLWKWKDW         YLVXDOVSDWLDOKDVEHHQPHQWLRQHG
   ,DQGWKDW VVRPHWKLQJZHVWXG\LQRXUWUDLQLQJDVD       %<$77251(<%522.6
   SHGLDWULFHQGRFULQRORJLVWVEHFDXVHZHVHHWKHVHSDWLHQWV       49LVXDOVSDWLDOFDQ\RXMXVWIRUWKH
   URXWLQHO\6RWKDWKDVEHHQP\H[SHULHQFHDQGWUDLQLQJ       XQLQLWLDWHGWKHOD\PDQFDQ\RXH[SODLQZKDW\RX UH
   %<$77251(<%522.6                                            UHIHUULQJWR"
   4:HOOFDQ\RXLGHQWLI\HYHU\LVQRWYHU\          $)RUWKHXVHRIOLNHGULYLQJDFDUORRNLQJDW
   XVHIXO&DQ\RXLGHQWLI\IRUPHDVLQJOHVRXUFHWKDW          VRPHWKLQJDQGEHLQJDEOHWRHVWLPDWHZKHUHLWLVRU
   UHSRUWVEDVHGRQVWDWLVWLFDOO\VLJQLILFDQWVWXGLHVWKDW        WKRVHVRUWVRIWKLQJVQDYLJDWLQJZLWKDPDSYHUVXVQRW
   LQGLYLGXDOVZKRQHYHUJRWKURXJKSXEHUW\H[SHULHQFHDOO        $77251(<%522.6/HWPHDVNWKHFRXUW
   WKHVDPHEUDLQGHYHORSPHQWDVLQGLYLGXDOVZKRGRJR            UHSRUWHUKRZPDQ\PLQXWHVZHVWLOOKDYHRQWKHFORFN
   WKURXJKSXEHUW\"                                               &28575(3257(5:H UHDWVL[KRXUV
   $77251(<%25(//,2EMHFWLRQIRUP             PLQXWHVVR
   7+(:,71(66,ZRXOGKDYHWRORRNEDFN         $77251(<%522.6:HOO,KDGSURPLVHGWR
   LQWKHOLWHUDWXUHRQWKRVHUHSRUWVEHFDXVHZHWUHDW            KDQGLWRYHUZLWKPLQXWHVWRJRVR,KDYHEURNHQP\


                                                 3DJH                                                         3DJH
    SDWLHQWVQRZZKHQZHUHDOL]HWKH\DUHQRWJRLQJWKURXJK         ZRUG$QG,ZLOOVWRSDQGOHDYHWKHUHPDLQGHURIWKH
    SXEHUW\,FDQ WGRWKDWRIIWKHWRSRIP\KHDG               WLPHWRFRXQVHOIRUWKH6WDWHRI:HVW9LUJLQLD'DYH
    %<$77251(<%522.6                                             7U\RQ
    4$QGDUH\RXQRZFRQWHQGLQJWKDWLWLVQRWZLGHO\       
    DFFHSWHGWKDWKRUPRQDOFKDQJHVDVVRFLDWHGZLWKSXEHUW\          (;$0,1$7,21
    GULYHLPSRUWDQWVWDJHVRIEUDLQJURZWK"                         
    $77251(<%25(//,2EMHFWLRQIRUP               %<$77251(<75<21
    7+(:,71(66, PQRWVD\LQJWKDW:KDW         4+HOOR'U$GNLQV/RQJGD\,DSSUHFLDWH\RXU
    , PVD\LQJLVWKHUHDUHVRPHWKLQJVWKDWDUHVSHFLILF           WLPH0\QDPHLV'DYLG7U\RQDQG,GRUHSUHVHQWWKH
   DQG\RX UHJHQHUDOL]LQJP\WHUPV                              6WDWHRI:HVW9LUJLQLD,ZRXOGOLNHMXVWWR
   %<$77251(<%522.6                                            $<RX UHFXWWLQJRXW
   42ND\                                                 42ND\
   :HOOIOLSSLQJLWDURXQG\RXKDYHDOVREHHQ          $77251(<%522.6<RXDUHJRLQJWRKDYH
   WDXJKWZKHWKHURUQRWLW VLIZH UHVSHDNLQJLQWKH        WRVSHDNXSYHU\FOHDUO\EHFDXVH\RXDUHOLWHUDOO\
   DUHD,UHFRJQL]H\RX UHQRWDQHXURORJLVW                    GLVDSSHDULQJKDOIRIWKHWLPHDQGZHKDYHQRZRUNDURXQG
   &RUUHFW"                                              IRUWKDW
   $&RUUHFW                                              %<$77251(<75<21
   4%XWLW V\RXUXQGHUVWDQGLQJWKDWKRUPRQDO             $2ND\
   FKDQJHVDVVRFLDWHGZLWKSXEHUW\GRGULYHLPSRUWDQW             ,ZLOOVSHDNYHU\ORXGO\&DQ\RXKHDUPHQRZ"
   GHYHORSPHQWDOVWDJHVLQWKHKXPDQEUDLQ                       $<HV
   &RUUHFW"                                              42ND\
   $77251(<%25(//,2EMHFWLRQIRUP             6RWKDQN\RXIRU\RXUWLPHP\1DPHLV'DYLG
   7+(:,71(66<HV                              7U\RQ,DPDQDWWRUQH\IRUWKH6WDWHRI:HVW9LUJLQLD
   %<$77251(<%522.6                                            ,ZRXOGOLNHWRFRQWLQXHZLWKVRPHTXHVWLRQVDERXW\RXU


                                                                                      3DJHVWR
                                                                                                     Armistead App. 0829
                                                  3DJH                                                       3DJH
    UHEXWWDOUHSRUW'R\RXVWLOOKDYHWKDWLQIURQWRI            &RUUHFW"
    \RX"                                                            $<HV
    $<HV                                                   4$UH\RXHTXDOO\IDPLOLDUZLWKWKHSUDFWLFHVRI
    42ND\                                                  WKHRWKHUJHQGHUFDUHFOLQLFVWKURXJKRXWWKHFRXQWU\"
    )LUVWRIDOO\RXKDYHLQGLFDWHGWKDW\RXDUH          $77251(<%25(//,2EMHFWLRQIRUP
    , PVWLOOKHUHJLYHPHDPRPHQW\RXUXQD           7+(:,71(66,NQRZDORWDERXWWKHP,
    FOLQLF                                                         FDQ WVD\,NQRZHYHU\WKLQJ
    &RUUHFW"                                               %<$77251(<75<21
    $77251(<%25(//,2EMHFWLRQIRUP              4'R\RXNQRZLIWKH\KDYHWKHH[DFWVDPH
   7+(:,71(66,KDYHDFOLQLFWKDW, P          VWDQGDUGVRIFDUHDQGSUDFWLFHWKDW\RXUFOLQLFGRHV"
   WKHPHGLFDOGLUHFWRURI\HV                                  $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<75<21                                             7+(:,71(66:HDOOKDYHGLVFXVVHGWKDW
   4$QGWKDWLV, PVRUU\ZKDW VWKHQDPHRI         ZHIROORZWKH(QGRFULQH6RFLHW\JXLGHOLQHVDVZHOODV
   WKHFOLQLFDJDLQ"                                              :3$7+JXLGHOLQHV
   $'XNH&KLOGDQG$GROHVFHQW*HQGHU&OLQLF              %<$77251(<75<21
   4:KDWLVDJHQGHUFDUHFOLQLF"                         4<RXKDYHGLVDJUHHGZLWKVRPHRIWKHJXLGHOLQHV
   $)RURXUSXUSRVHVLQP\FOLQLFLWLQFOXGHV             LQWKH:3$7+JXLGHOLQHVWKDW0U%URRNVKDVVKRZQWR
   SDWLHQWVZKRDUHWUDQVJHQGHUSHRSOHZKRDUHDOVR           \RX
   KDYHLQWHUVH[FRQGLWLRQVDVZHOO                              &RUUHFW"
   4$UHWKHUHRWKHUFOLQLFVWKDW\RXFRQVLGHUJHQGHU      $77251(<%25(//,2EMHFWLRQIRUP
   FDUHFOLQLFVHOVHZKHUHLQWKHFRXQWU\"                         7+(:,71(66,GRQ WWKLQN, YHVHHQWKH
   $<HV                                                  :3$7+JXLGHOLQHVWRGD\
   4:RXOG\RXEHDEOHWRHVWLPDWHDSSUR[LPDWHO\KRZ       %<$77251(<75<21
   PDQ\RIWKHPWKHUHDUH"                                        46RUU\WKH(QGRFULQH6RFLHW\JXLGHOLQHV"


                                                  3DJH                                                       3DJH
    $7KDWQXPEHULVFKDQJLQJDORW,WZRXOGEH            $77251(<%25(//,6DPHREMHFWLRQ
    GLIILFXOWIRUPHWRVD\DFFXUDWHO\                             7+(:,71(666RWKH(QGRFULQH6RFLHW\
    4:RXOGLWEHRYHU"                                  JXLGHOLQHVDUHJXLGHOLQHV$OORIXVZKRXVHJXLGHOLQHV
    $, PQRWVXUH, PQRWVXUH                           GRYDU\VRPHIURPWKRVHJXLGHOLQHVZKHQLW VDSSURSULDWH
    4:RXOGLWEHRYHU"                                   IRUWKHSDUWLFXODUSDWLHQW
    $2KLWFRXOGEHGHILQLWHO\RYHU,WFRXOGEH       %<$77251(<75<21
    RYHUEXW, PQRWVXUH                                     4'R\RXNQRZLIWKHRWKHUFOLQLFVKDYHWKHVDPH
    4$QGDUH\RXGR\RXKDYHDQ\PHHWLQJVZLWK          UHVHUYDWLRQVDERXWWKHSROLFLHVRUJXLGHOLQHVLQWKRVH
    WKRVHRWKHUJHQGHUFDUHFOLQLFV"                                LQWKHHQGRFULQH6RFLHW\ VJXLGHOLQHVWKDW\RX YH
   $77251(<%25(//,2EMHFWLRQIRUP             H[SUHVVHGWRGD\"
   7+(:,71(66<HV                              $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<75<21                                             7+(:,71(66, YHKDGVRPHGLVFXVVLRQV
   4+RZPDQ\ZKDWIDVKLRQDUHWKRVH               ZLWKSHRSOHZKRKDYHVRPHUHVHUYDWLRQVDORQJWKHVDPH
   LQGLYLGXDOPHHWLQJVRUDUHWKH\JURXSPHHWLQJV"                OLQHVWKDW,GR
   $$ELWRIERWK                                        %<$77251(<75<21
   4$UH\RXDZDUHRIWKHSUDFWLFHVRIDOORIWKRVH        4+RZPDQ\FOLQLFVGRHVWKDWUHSUHVHQW"
   RWKHUJHQGHUFDUHFOLQLFV"                                     $2K\RXZHQWRXW<RXZHQWRXW6RUU\
   $77251(<%25(//,2EMHFWLRQIRUP             4+RZPDQ\FOLQLFVGRHVWKDWUHSUHVHQW"
   7+(:,71(66:HGRWDONDERXWSUDFWLFH         $77251(<%25(//,2EMHFWLRQIRUP
   ZKHQZHPHHWZLWKWKHRQHVWKDW,PHHWZLWK&DQ W            7+(:,71(66,W VGLIILFXOWIRUPHWR
   VSHDNWRDOORIWKHRWKHUV                                    VD\EHFDXVHLWLVDWRXUDQQXDOPHHWLQJDQGIRUVRPHRI
   %<$77251(<75<21                                             WKHPHHWLQJVVRLWFRXOGEHDORW,QJURXSPHHWLQJV
   4<RXDUHRIFRXUVHIDPLOLDUZLWKWKHSUDFWLFHVLQ      WKDWZHKDYH,KDYHVRPHWKDWDUHRQHRQRQHDQG,KDYH
   \RXUFOLQLF                                                   VRPHWKDWDUHDERXWILYHGLIIHUHQWJURXSV


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0830
                                                3DJH                                                          3DJH
    %<$77251(<75<21                                             $, PVRUU\,ZURWHLW, PVRUU\, P
    46RIDLUWRVD\\RXGRQ WNQRZ"                        JHWWLQJUHDOO\WLUHG,DSRORJL]H,ZURWHLW
    $, PVRUU\\RXEURNHXSDJDLQ                        4,QWKH,EHOLHYHLWLVWKHWKLUGVHQWHQFH
    4,VLWIDLUWRVD\\RXGRQRWNQRZ"                    VD\VQRPHGLFDOWUHDWPHQWLVSURYLGHGWRWUDQVJHQGHU
    $77251(<%25(//,2EMHFWLRQIRUP             \RXWKXQWLOWKH\KDYHUHDFKHG7DQQHUVWDJHWZR'R\RX
    7+(:,71(66,GRQRWNQRZZKDW"               VHHWKDW"
    %<$77251(<75<21                                             $,GR
    4<RXGRQRWNQRZZKLFKRQHVKDYHWKHVDPH              4:KHQ\RXVD\QRPHGLFDOWUHDWPHQWLVWKDW
    UHVHUYDWLRQVWKDW\RXGRDERXWWKHSURYLVLRQV\RX YH           GRHVWKDWLQFOXGHDIILUPDWLRQWKHUDS\"
   H[SUHVVHGUHVHUYDWLRQVDERXWWRGD\"                           $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP            7+(:,71(66,DPQRWDZDUHRIDQ\WKLQJ
   7+(:,71(66,NQRZ,NQRZ,          FDOOHGDIILUPDWLRQWKHUDS\
   NQRZRIIWKHWRSRIP\KHDGWKUHH7KHRWKHUV,PD\RU       %<$77251(<75<21
   PD\QRWNQRZZKHUHDQLQGLYLGXDOLVIURPZKHQWKH\ UH         4$UH\RXDZDUHRIWKHWHUPDIILUPDWLRQIRU
   WDONLQJLQDOORIRXUPHHWLQJV7KH\DUHELJPHHWLQJV       WUDQVJHQGHULQGLYLGXDOV"
   %<$77251(<75<21                                            $77251(<%25(//,2EMHFWLRQIRUP
   4:KDWDUHWKRVHWKUHH"                                7+(:,71(66*HQGHUDIILUPLQJFDUHLVD
   $6R5DG\&KLOGUHQ VLQ/RV$QJHOHVDQGLQ             WHUP,DPDZDUHRI
   6HDWWOH&KLOGUHQ VDQG7H[DV&KLOGUHQ V                    %<$77251(<75<21
   %<$77251(<75<21                                            4'R\RXFRQVLGHUJHQGHUDIILUPLQJFDUHWREH
   4$UHWKHUHDQ\JHQGHUFDUHFOLQLFVLQ:HVW            PHGLFDOWUHDWPHQW"
   9LUJLQLD"                                                     $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQWRIRUP          7+(:,71(666RLWLVPHDQWWREH
   7+(:,71(66,GRQ WNQRZSHUVRQDOO\DQ\      ZKROLVWLFVRSDUWRILWLVPHGLFDOSDUWRILWLV


                                                3DJH                                                          3DJH
    HQGRFULQRORJLVWVWKDWGRSHGLDWULFHQGRFULQRORJ\RU            VRFLDOSDUWRILWLVVXUJLFDO
    JHQGHUFDUHLQ:HVW9LUJLQLD, PQRWDZDUH                  %<$77251(<75<21
    %<$77251(<75<21                                             4,VDQ\JHQGHUDIILUPLQJFDUHSURYLGHGWR
    4,QWKHUHEXWWDOUHSRUW\RXUSDUDJUDSK, G        WUDQVJHQGHU\RXWKEHIRUHWKH\UHDFK7DQQHUVWDJHWZR"
    OLNHWRDVN\RXVRPHTXHVWLRQVDERXWWKDW,I\RXZRXOG       $77251(<%25(//,2EMHFWLRQIRUP
    WXUQWKHUH                                                    7+(:,71(666RWKHVRFLDOWUDQVLWLRQLV
    $,JRWLW                                             FRQVLGHUHGSDUWRIJHQGHUDIILUPLQJFDUHDQGVRPH
    4:KHQGLG\RXZHOOGLG\RXZULWHWKLV             LQGLYLGXDOVGRVRFLDOO\WUDQVLWLRQEHIRUH7DQQHUVWDJH
    SDUDJUDSK"                                                  WZR
   $77251(<%25(//,2EMHFWLRQIRUP            %<$77251(<75<21
   7+(:,71(66<HV                             4'R\RXDVVLVWWKHPLQWKDW"
   %<$77251(<75<21                                            $77251(<%25(//,2EMHFWLRQIRUP
   4:KHQGLG\RXZULWHLW"                               7+(:,71(661RWW\SLFDOO\7KH\ UHQRW
   $77251(<%25(//,2EMHFWLRQIRUP            XVXDOO\LQP\FOLQLFXQWLOWKH\DUHLQSXEHUW\
   7+(:,71(66,GRQ WUHPHPEHU                %<$77251(<75<21
   %<$77251(<75<21                                            4,VWKHUHDQ\RWKHUW\SHRIJHQGHUDIILUPLQJFDUH
   4:DVLWDIWHU\RXUHFHLYHGWKHH[SHUWUHSRUWV         ZKLFKLVFRQGXFWHGRUSURYLGHGSULRUWR7DQQHUVWDJH
   IURPWKH3ODLQWLII VH[SHUWVH[FXVHPHIURPWKH          WZR"
   'HIHQGDQW VH[SHUWV"                                          $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP            7+(:,71(66%HIRUH7DQQHUVWDJHWZR
   7+(:,71(666RZHZURWHWKHUHEXWWDO         JHQHUDOO\LW VQRQR1R
   DIWHUZHUHFHLYHGWKHH[SHUWZLWQHVVHVIURP\HV          %<$77251(<75<21
   %<$77251(<75<21                                            4:KDWGR\RXFRQVLGHUWREHPHGLFDOWUHDWPHQW
   4:KRLVZH"                                           ZKLFKLVSURYLGHGRQFHWKH\UHDFK7DQQHUVWDJHWZR"


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0831
                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66:HOOQRWDOOLQGLYLGXDOV
    7+(:,71(661RWHYHU\SDWLHQWLV               ZKRDUHWUDQVJHQGHUDFWXDOO\KDYHVXUJHU\,WGHSHQGV
    WUHDWHGZLWKPHGLFDWLRQ6RVRPHGRVRPHGRQ W               RQWKHSDWLHQW0DQ\PDQ\GRQRW2XUUHFRPPHQGDWLRQV
    6RPHWLPHVWKDWLVSXEHUW\EORFNHUV6RPHWLPHVLWLV            DUHWRZDLWXQWLO7KHUHLVDFDYHDWLQWKH
    QRW6RPHWLPHVLWLVJHQGHUDIILUPLQJKRUPRQHV                 (QGRFULQH6RFLHW\JXLGHOLQHVZKHUHVRPHVXUJHU\FRXOG
    GHSHQGLQJRQZKHUHWKH\ UHLQWKHLUGHYHORSPHQW                KDSSHQEHWZHHQDQGEXWJHQHUDOO\DQGXS
    %<$77251(<75<21                                              %<$77251(<75<21
    4:KDWDERXWVXUJHU\LVWKDWFRQVLGHUHGPHGLFDO         4:K\ZDLWXQWLO"
    WUHDWPHQWSURYLGHGWRWUDQVJHQGHU\RXWK"                        $77251(<%25(//,2EMHFWLRQIRUP
   $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(667KDWLVWKHDV,
   7+(:,71(666RSDWLHQWVZKRDUH               XQGHUVWDQGLWWKHOHJDOWLPHDWZKLFKDSHUVRQKDV
   FKLOGUHQDUHQ WKDYLQJVXUJHULHV                              ZKDWLVWKHZRUGIRULW"<RXDOODUHWKHOHJDOSHRSOH
   %<$77251(<75<21                                             , PSUREDEO\JRLQJWRVD\LWZURQJWKHDELOLW\WR
   4:KDW VWKHGLIIHUHQFHEHWZHHQ\RXWKDQG               OHJDOO\FRQVHQWWRWKLQJV3ULRUWRWKDWZHGRJHW
   FKLOGUHQ"                                                      ZKDW VFDOOHGDQDVVHQWIURPWKHSDWLHQWEXWLW VD
   $77251(<%25(//,2EMHFWLRQIRUP             OLWWOHGLIIHUHQWWKDQDFRQVHQWIURPWKHSDWLHQWLI
   7+(:,71(66<RXWKLQJHQHUDOLQP\PLQG       ZH UHGRLQJDJHQHUDOSURFHGXUH
   DUHVRPHZKDWVLPLODUWRDGROHVFHQWVLQWKDWWKH\KDYH          %<$77251(<75<21
   VWDUWHGSXEHUW\                                               4:K\LVWKDWOHJDOFRQVHQWGLIIHUHQWIRUVXUJHU\
   %<$77251(<75<21                                             WKHQLWLVIRUSXEHUW\EORFNHUV"
   4$WZKDWSRLQWDUHLVH[FXVHPHDWZKDW       $77251(<%25(//,2EMHFWLRQIRUP
   SRLQWRUDJHLVVXUJHU\PHGLFDOWUHDWPHQWSURYLGHGWR        7+(:,71(66$V,PHQWLRQHGEHIRUH
   WKRVHZKRKDYHJHQGHUG\VSKRULDRUFRQVLGHUHGWREH            SXEHUW\EORFNHUVDUHQ WDSHUPDQHQWHIIHFWDQGVXUJHU\
   WUDQVJHQGHU"                                                   LVFRPSOLFDWHGWRUHYHUVH


                                                 3DJH                                                        3DJH
    $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<75<21
    7+(:,71(666R\RXFXWRXWDQGFRXOG           4$WWKHSRLQWLQWLPHWKDW\RXSUHVFULEHSXEHUW\
    \RXUHSHDWWKHTXHVWLRQ"                                        EORFNHUVIRUDQDWDOPDOHWKDWSHUVRQKDVDWWKDWSRLQW
    %<$77251(<75<21                                              FRQFOXGHGWKDWWKH\KDYHDJHQGHULGHQWLW\RIIHPDOH
    4<HV/HWPHEDFNXSDQGPDNHVXUH,XQGHUVWDQG       &RUUHFW"
    6XUJHU\LVFRQVLGHUHGPHGLFDOWUHDWPHQW                        $77251(<%25(//,2EMHFWLRQIRUP
    &RUUHFW"                                               7+(:,71(666RIRUSXEHUW\EORFNHUV
    $77251(<%25(//,2EMHFWLRQIRUP              WKH\PD\QRWWRWDOO\EHFOHDURQWKHLUJHQGHULGHQWLW\
    7+(:,71(666R,KHVLWDWHWRXVHWKRVH         7KH\GRKDYHG\VSKRULDZLWKWKHFKDQJHVWKDWDUH
   ZRUGV0\VXUJLFDOFROOHDJXHVZRXOGWDNHVRPHRIIHQVH         KDSSHQLQJWRWKHLUERG\DWWKHWLPHDQGQHHGWLPHWRJHW
   DWWKDW7KH\FRQVLGHUWKHPVHOYHVVXUJHRQVDQGQRW            DEHWWHUXQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\
   PHGLFLQHGRFWRUV6R,WKLQNWKDW VDQRSLQLRQWKHUH         %<$77251(<75<21
   6R, PQRWVXUHWKDWWKDWSKUDVHLVDSSURSULDWH               4$WZKDWSRLQWGRZHNQRZWKDWWKH\KDYHDIXOO
   %<$77251(<75<21                                             XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\"
   46RZKHQ\RXUHIHUWRPHGLFDOWUHDWPHQWLQWKLV        $77251(<%25(//,2EMHFWLRQIRUP
   VWDWHPHQWGRHVWKDWLQFOXGHRUH[FOXGHVXUJHU\"                7+(:,71(66$JDLQZHGRRXUEHVWWR
   $77251(<%25(//,2EMHFWLRQIRUP             WDNHHDFKSDWLHQWDVWKH\JHWROGHUDQGWKH\DUH
   7+(:,71(667KH\GRQRW\HDKWKDW        FRQVLVWHQWIRUDSHULRGRIWLPH$JDLQWKH
   ZRXOGEHLQFOXVLYHRIVXUJHU\LQWKDWSDUWLFXODU               UHFRPPHQGDWLRQDUHDWOHDVWVL[PRQWKV(YHU\RQHLV
   VWDWHPHQW                                                     GLIIHUHQW0RVWRIP\SDWLHQWV LGHQWLW\LVQ WFKDQJLQJ
   %<$77251(<75<21                                             VXEVWDQWLDOO\7KHLUXQGHUVWDQGLQJRIWKHLULGHQWLW\
   4$WZKDWSRLQWLVVXUJHU\SURYLGHGWRWUDQVJHQGHU      LVQ WFKDQJLQJVXEVWDQWLDOO\IRUORQJHUWKDQWKDWEHIRUH
   SHUVRQV"                                                       RQHZRXOGGRDQ\WKLQJGLIIHUHQWRWKHUWKDQSXEHUW\
   $77251(<%25(//,2EMHFWLRQIRUP             EORFNHUV


                                                                                      3DJHVWR
                                                                                                    Armistead App. 0832
                                                3DJH                                                         3DJH
    %<$77251(<75<21                                             4,IWKDWFKLOGVD\VWKLVLVH[WUHPHO\KDUPIXOWR
    4$WZKDWSRLQWVRPHRQHFRPHVWR\RXDQGVD\V       PHWRVWLOOKDYHP\SHQLVDWWKLVDJH,ZDQWLW
    ,DPDELRORJLFDOPDOHRUDVVLJQHGPDOHDWELUWK              UHPRYHGDQG\RXVDLG\RXUVHOIWKDWLVH[WUHPHO\KDUPIXO
    KRZHYHU\RXZDQWWRWHUPWKDWEXW,LGHQWLI\LWDVD          WRQRWDOORZWKLVFKLOGWRQRWSOD\RQDVSRUWVWHDP
    OHWPHUHSKUDVHWKDWEHFDXVH, PQRWVXUH,VDLG           ZLWKZKLFKWKDWFKLOGLGHQWLILHVLVQ WKDYLQJDSHQLV
    WKDWULJKW                                                    ZKHQWKHFKLOGGRHVQ WZDQWRQHHYHQPRUHKDUPIXO"
    6RPHRQHFRPHVWR\RXDQGVD\V,ZDVERUQDQ           $77251(<%25(//,2EMHFWLRQIRUP
    DVVLJQHGPDOHDWELUWKEXW,LGHQWLI\DVDIHPDOH,         7+(:,71(66,WKLQNWKH\ UHERWK
    KDYHLGHQWLILHGDVDIHPDOHIRUWZR\HDUVQRZDQG,ZDQW       WKRVHVLWXDWLRQVFRXOGFDXVHDULVNIRUVHOIKDUPDQG
   WRPRYHIRUZDUGZLWKDQ\WUHDWPHQWSRVVLEOHVRWKDW,         VXLFLGH:HZRXOGQRWOLNHWRGRVRPHWKLQJWKDWLV
   FDQIHHOFRPIRUWDEOHZLWKP\WUXHLGHQWLW\DVDIHPDOH       SHUPDQHQW3OD\LQJRQDVSRUWVWHDPLVQRWVRPHWKLQJ
   <RXDFFHSWWKDWDVWKHLUWUXHLGHQWLW\"                       WKDWLVXQFKDQJHDEOH
   $77251(<%25(//,2EMHFWLRQIRUP            %<$77251(<75<21
   7+(:,71(66<RXGLGQ WJLYHDQDJHDQG       4%XW\RXWROGPH\RXWROGXVWKDWJHQGHULV
   ,GRZD\WKDWLQWRFRQVLGHUDWLRQ                             XQFKDQJHDEOHDQGWKDWFKLOGDWWKDWSRLQWKDV
   %<$77251(<75<21                                            LGHQWLILHGDVDIHPDOH$QGVLQFHWKDWLVQRWJRLQJWR
   4/HW VVD\DWHQ\HDUROG"                            FKDQJHZKDWLVWKHKDUPLQUHPRYLQJWKDWFKLOG VSHQLV"
   $77251(<%25(//,2EMHFWLRQIRUP            $<RXEURNHXSDIWHUZKDWLVWKHKDUPLQUHPRYLQJ
   7+(:,71(666RZHDV,PHQWLRQHGLQP\       WKDWFKLOG
   HDUOLHUWHVWLPRQ\DOVRXVHDVVHVVPHQWVIURPRWKHU             47KDWFKLOG VSHQLV"
   LQGLYLGXDOVZLWKUHJDUGWRWKHFRQVLVWHQF\RIWKHLU           $77251(<%25(//,2EMHFWLRQIRUP
   JHQGHULGHQWLW\DQGLQFOXGLQJIDPLO\DVZHOODVWKHLU         7+(:,71(66,VWDWHGWKDWWKHLU
   PHQWDOKHDOWKSURYLGHUVDQGZHZRXOGSURYLGH                  XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\RFFXUVRYHUWKH
   LQGLYLGXDOL]HGFDUHEDVHGRQWKDWSDWLHQW                    OLIHVSDQDQGVRZHZDQWWREHYHU\FDUHIXOZLWKUHJDUG


                                                3DJH                                                         3DJH
    %<$77251(<75<21                                             WRWKDWDQ\SHUPDQHQWWUHDWPHQW
    4$WWKDWSRLQWGR\RXDFWXDOO\JLYHDGLDJQRVLV        %<$77251(<75<21
    WKDWWKH\DUHWKHLUWUXHJHQGHULGHQWLW\LVIHPDOHRU          46R\RX UHVD\LQJ\RXGRQ W\RX UHVD\LQJ\RX
    ZKDWKDSSHQV"                                                  GRQ WEHOLHYHWKDWWKDWFKLOG VWUXHLGHQWLW\LVD
    $77251(<%25(//,                               IHPDOHWUXHJHQGHULGHQWLW\LVDIHPDOH\RXGRXEWWKDW
    2EMHFWLRQIRUP                                FKLOG"
    7+(:,71(66$JDLQJHQGHULGHQWLW\LVD       $77251(<%25(//,2EMHFWLRQIRUP
    FRUHSDUWRIWKHLUEHLQJDQGWKHLUXQGHUVWDQGLQJRILW         7+(:,71(66,GRQ WGRXEWZKDWP\
    DWWKHWLPHLVWKHLUXQGHUVWDQGLQJRILWDWWKHWLPHDQG       SDWLHQWVWHOOPHEHFDXVHZKDWWKH\WHOOPHLVWKHLU
   WKDWLVWKHRQO\ZD\WKDWZHFDQGHFLGHZKDWVRPHRQH V        WUXWKDQGWKHLULGHQWLW\,GROLNHWKLQNLWLV
   JHQGHULGHQWLW\LV                                           LPSRUWDQWZKHQ\RXDUHPDNLQJWKHVHGHFLVLRQVWRDJDLQ
   %<$77251(<75<21                                            FRUURERUDWHWKDWZLWKRWKHULQGLYLGXDOVZKRDUHZLWKWKH
   46RDWWKDWSRLQWLQWLPHZKHUHWKHFKLOGLV       IDPLO\, PVRUU\ZLWKWKHSHUVRQ$QGZHZDQWWR
   RURUDWWKDWSRLQWLQWLPHZKHUHWKH\KDYH            PDNHVXUHWKDWWKDWLVDGXUDEOHSODFHZKHUHWKHLU
   FRQFOXGHGP\WUXHJHQGHULGHQWLW\LVQRWP\QDWDOVH[RI      XQGHUVWDQGLQJLV,GHDOO\ZHZRXOGOLNHIRULWWREH
   PDOHEXWUDWKHUP\WUXHJHQGHULGHQWLW\LVDIHPDOHZK\      DVXQGHUVWRRGDVLWPLJKWEHEHIRUHPDNLQJDGHFLVLRQ
   VKRXOGQ WWKDWFKLOGWKHQEHDEOHWRVD\,ZDQWJHQGHU        WKDWLVDSHUPDQHQWGHFLVLRQOLNHVXUJHU\
   ,ZDQWVXUJHU\WRUHPRYHP\SHQLV"                        9,'(2*5$3+(50U7U\RQ,VHQW\RXD
   $77251(<%25(//,2EMHFWLRQIRUP            FKDW,GLGQ WNQRZLI\RXVDZWKDW,MXVWZDQWHGWR
   7+(:,71(666RZHGRQ WZDQWWRGR           JLYHDILYHPLQXWHZDUQLQJ
   DQ\WKLQJWKDW VSHUPDQHQWXQWLODSHUVRQLVROGHUDQG         $77251(<75<212KLW VILYHPLQXWHV
   WKHLUFRJQLWLYHGHYHORSPHQWLVEURDGHU$QGLQVRPH          OHIW"7KDQN\RX,GLGQRWVHHWKDW2QHPRPHQW
   FDVHV\RXNQRZZHOO, OOVWRSWKHUH                    %<$77251(<75<21
   %<$77251(<75<21                                            4<RXDUHJHWWLQJSDLGDVDQH[SHUWZLWQHVVLQ


                                                                                     3DJHVWR
                                                                                                     Armistead App. 0833
                                                 3DJH                                                         3DJH
    WKLVFDVHULJKW"                                                GHOD\LQWLPHEHIRUHDWUDQVJHQGHUIHPDOHFDQ
    $77251(<%25(//,2EMHFWLRQIRUP              SDUWLFLSDWHLQWKRVHVSRUWV"
    7+(:,71(66<HV                               $77251(<%25(//,2EMHFWLRQIRUP
    %<$77251(<75<21                                              7+(:,71(66,WKLQNLWZRXOGEHEHWWHU
    4$UH\RXEHLQJSDLGDVDQH[SHUWZLWQHVVLQ             IRUWKHSDWLHQWLIWKH\GLGQRWKDYHWRGHOD\
    FRQQHFWLRQWRDQ\RWKHUOLWLJDWLRQRUWHVWLPRQ\RUDQ\          %<$77251(<75<21
    RWKHUVWDWXWHVVLPLODUVWDWXWHV"                            46R\RXLILWZDVXSWR\RX\RXZRXOG
    $77251(<%25(//,2EMHFWLRQIRUP              HOLPLQDWHWKDWGHOD\WKDWLVUHTXLUHGE\WKHVHRWKHU
    7+(:,71(66,DPKDYHQRWEHHQ             VSRUWVRUJDQL]DWLRQV
   SDLG,DPLQYROYHGLQRWKHUDQRWKHUFDVHWZR            ,VWKDWULJKW"
   FDVHV                                                         $77251(<%25(//,2EMHFWLRQIRUP
   %<$77251(<75<21                                             7+(:,71(666,WKLQNLWZRXOGEHEHWWHU
   4:KDWDUHWKRVHRWKHUWZRFDVHV"                       IRUP\SDWLHQWV<HV
   $, PQRWJRLQJWREHDEOHWRWHOO\RXWKHQDPH         %<$77251(<75<21
   EHFDXVH, PWHUULEOHZLWKQDPHV,WLQYROYHV                  4$QG\RXWKLQNWKRVHRUJDQL]DWLRQVVKRXOGFKDQJH
   WUDQVJHQGHUFDUHLQ$UNDQVDVDVZHOODVLQ                     WKHLUSROLFLHVWRVDWLVI\ZKDW\RXUFRQFHUQLV"
   VSRUWVUHODWHGLVVXHVZLWKWUDQVJHQGHU\RXWKLQ)ORULGD       $77251(<%25(//,2EMHFWLRQIRUP
   4+DYH\RXWHVWLILHGLQWKRVHFDVHV\HW"                7+(:,71(66<RXNQRZWKHUHLVDORWWR
   $,KDYHQRW                                           ZHLJKWKHUH,DPQRWVXUHWKDW,ZRXOGEHDEOHWROLNH
   4<RXWHVWLILHGLQRWKHUFDVHV                         VD\IRUWKHLUSXUSRVHV,GRQ WNQRZDOORIWKHWKLQJV
   5LJKW"                                                WKDWDUHWKHUH)RUP\SDWLHQWVZKDWZRXOGEHEHVWIRU
   $<RXEURNHXSDJDLQ&RXOG\RXUHSHDW"                WKHPLVWRQRWWRKDYHWRKDYHWKDWGHOD\
   4<RXKDYHWHVWLILHGLQRWKHUFDVHV                    %<$77251(<75<21
   5LJKW"                                                4%XWZRXOG\RXDJUHHZLWKPHWKDWWKH6WDWHRI


                                                 3DJH                                                         3DJH
    $<HV                                                   :HVW9LUJLQLDKDGDORWWRZHLJKDVZHOOZKHQLWSXWLQ
    4:KLFKFDVHVDUHWKRVH"                                 SODFHLWVOHJLVODWLRQEHIRUHWKH\SDVVHGWKHODZ"
    $7KHWUDQVJHQGHUUHODWHGFDVHVZHUHZLWK$GDPVLQ       $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ
    )ORULGD:K\DP,EODQNLQJ"                                    IRUP
    4&RQQHFWLFXW"                                           7+(:,71(66,ZRXOGKRSHWKDWHYHU\
    $,GLGQRWDFWXDOO\,KDYHQRWEHHQGHSRVHG         SLHFHRIOHJLVODWLRQLVZHLJKHGKHDYLO\
    LQH[FHSWIRU$GDPV                                        %<$77251(<75<21
    42ND\                                                  4$QG\RXZRXOGDJUHHWKDWLQWKLVFDVHWKHUHZDV
    ,Q\RXULQ\RXUH[SHUWUHSRUW\RXVD\WKDW         DORWWRZHLJKRQDQXPEHURIGLIIHUHQWLVVXHVEHIRUH
   ,KDYHWHVWLILHGWZLFHDVDQH[SHUWDWWULDORU                WKH\SDVVHGWKHODZ
   GHSRVLWLRQ                                                    &RUUHFW"
   $<HDK,ZDVLQYROYHGLQDQRWKHUFDVHDVDQ            $77251(<%25(//,2EMHFWLRQIRUP
   H[SHUWZLWQHVVDQGZDVGHSRVHGIRUDFDVHLQYROYLQJDQ         7+(:,71(66,ZRXOGDJUHH$QG,
   LQIDQWZLWKIUDFWXUHVWKDWZHUHWKHUHZDVFRQFHUQ          ZDVQ WWKHUHWRNQRZZKDWZDVVR,DJUHHWKHUHVKRXOG
   IRUDEXVH                                                     EH
   4, PVRUU\\RXIUR]HRQPH&DQ\RXWHOOPH          %<$77251(<75<21
   ZKDWWKDWZDVDJDLQ"                                           4, PVRUU\,GLGQ WFDWFKWKDW<RXIUR]HXS
   $<HDK7KHUHZDVDFDVHWKDW,ZDVLQYROYHGZLWK      &DQ\RXUHSHDWWKDW"
   ZKHUHWKHSDWLHQW VSDUHQWVWKH\KDGFRQFHUQIRU           $6XUH,DJUHHWKHUHVKRXOGKDYHEHHQ,ZDVQ W
   DEXVHIURPWKHSDUHQWVEHFDXVHWKHFKLOGKDGIUDFWXUHV        WKHUHWRKHDUZKDWKDSSHQHGZLWKUHJDUGWRWKHSURFHVV
   4:HOO, PUXQQLQJRXWRIWLPHVROHWPHJODQFH       VR,GRQ WNQRZLIWKH\DFWXDOO\GLGWKDW
   WKURXJKP\QRWHVDQGVHHLIWKHUHLVDQ\WKLQJHOVH'R        $77251(<75<21
   \RXGLVDJUHHZLWKWKHSROLFLHVRIWKHRWKHUDJHQWV         7KDQN\RX'R,KDYHDQ\WLPHOHIW
   H[FXVHPHRIWKHVSRUWLQJRUJDQL]DWLRQVZKLFKUHTXLUHD       -DFRE"


                                                                                      3DJHVWR
                                                                         Armistead App. 0834
                                                              3DJH
    9,'(2*5$3+(5,WKLQNWKDW VWKHFDS
    $77251(<75<212ND\
    'U$GNLQVWKDQN\RXYHU\PXFKIRU\RXU
    WLPH$SSUHFLDWHLW
    $77251(<%25(//,7KLVLV7DUD%RUHOOL
    IRU3ODLQWLII%3-3ODLQWLIIKDVQRTXHVWLRQVIRU
    WKHZLWQHVV:HZLOOUHDGDQGVLJQ
    9,'(2*5$3+(57KDWFRQFOXGHVWKLV
    GHSRVLWLRQ&XUUHQWWLPHUHDGVSP(DVWHUQ
   6WDQGDUG7LPH
         
   9,'(27$3(''(326,7,21&21&/8'('$730
         















                                                                          3DJH
                                                         Armistead App. 0835
                                                               3DJH

      $        DEVWUDFW                       
DP                  DFFXUDWHO\          
      DEXVH                       
                              DGPLQLVW
         DFDGHPLF                   
DEEUHYLD                        
          DFFHOHUD                  
DELOLW\                                
      DFFHSW        DFNQRZOHGJH          
                                   
          DFFHSWHG      $&/8            
                   DFW              DGPLQLVW
                   $FWLRQ          
                   $FWLYLWLHV          
         DFFHVV                        
DEOH                         
                  DFWLYLW\            
                             DGPLW 
               DFWXDO              
                          
         DFFOLPDWLRQ                   DGROHVFHQFH
                                    
      DFFRPSDQLHG                      
                               
               $GDPV            
          DFFRPSOL                   
                                   
         DFFRXQW       DGG                 
                  DGGLWLRQ               
         DFFXUDF\                          
                                   
         DFFXUDWH                       
                              
                                
                                
                DGGLWLRQDO          
                                 DGROHVFHQW
DEQRUPDO                DGGUHVV              
                                     
DEQRUPDO                       
                                  
                            
DEQRUPDOLW\          DGGUHVVHG             DGROHVFHQWV
                             
DEVHQW             DGGUHVVHV              
                                 
                   DGHTXDWH               
                                  
DEVROXWH                                 
                                   
$EVROXWHO\             DGHTXDWHO\            DGXOW 
                                     
                        $GNLQV              
                                                            Armistead App. 0836
                                                                  3DJH

DGXOWKRRG                          DPSXWDWLRQ      
                                      
                           $PVWHUGDP       
                                       
                                      
                           DQDORJV         
DGXOWV                           DQVZHUHG
               DJUHHG     DQDO\VLV        
                DKHDG               
                                        
                            DQDWRP\     
                                   
DGYDQWDJH                DLGHV              DQVZHULQJ
         DJHQF\     DO     DQGRU      
         DJHQGHU            $QGHUVRQ        
DGYDQWDJHV                           
          DJHQWV         DOLHQDWHG                
DGYLVH                             DQVZHUV
          DJHV     DOLJQ            
DGYLVHV                                 DQ[LHW\
          DJR      DOOHUJLHV              
DGYLVLQJ                            $QGUHZ      
                  $OOLDQFH                
DIIHFW                         DQHFGRWDO       
                  DOORZ              DQ\ERG\
                            $QHVWKHVLD      
                                        
          DJUHH               $QJHOHV        DSDUW 
DIILGDYLW             DOORZHG                   
                                    
DIILUPDWLRQ                  DQLPDO    DSRORJL]H
                                    
                          DQQXDO           
DIILUPHG                                 
                    DOORZLQJ       DQVZHU     
                                
DIILUPLQJ                DOORZV            
                                  
                  DOWHUHG                   
                                        
               DOWHUQDWLRQ           
                                     
                            
                                      
DIWHUQRRQ               DOWHUQDW               
                                    
                   DPD]LQJ             DSSDUHQWO\
                    DPELJXLW\             
DJH                                 DSSHDU 
                    $PHULFDQ           
                                
                DPRXQW                
                                      
                                                            Armistead App. 0837
                                                                  3DJH

DSSHDUHG                              
                                  
DSSHDULQJ      DSSUR[LP                     
                                     DVVLJQHG
         DUHD                    
DSSHDUV                     DVSHFW           
                                  
                        DVVDXOW         
                                     
                                       
DSSOLFDW                      DVVDXOWHG       
                                      
DSSOLHG                                 
DSSOLHV                       DVVD\      
                          DVVHQW          
                                
                           DVVHUW          
DSSO\                              
                            DVVHUWHG        
          DUHDV                        
                                    
DSSRLQWP                       DVVHUWLQJ       
             DUWLFOH V                  
DSSUHFLDWH                         DVVHUWLRQ       
          $UNDQVDV       DUWLFOHV                  
                                       
          $50,67($'                      
DSSURDFK                                  
           DUUDQJHPHQW                        
                                        
DSSURSULDWH    DUW                           
                 DVFHUWDLQ      DVVHUWLRQV      
      DUWKULWLV                         
                   DVNHG     DVVHUWV         
          DUWLFOH                         
                     DVVHV     
                                      DVVLJQPHQW
                           DVVHVV      
DSSURSUL                             
                                         
DSSURYDO                          DVVHVVHG        
                                   DVVLVW
DSSURYDOV                       DVVHVVPHQW      
                                     DVVLVWLQJ
DSSURYHG                               
                                     
                                   
                                       $VVRFLDWH
            DVNLQJ              
DSSURYLQJ                                  DVVRFLDWHG
                          DVVHVVPHQWV      
DSSUR[LP                                  
                       DVVLJQ          
                                                       Armistead App. 0838
                                                             3DJH

                          
        DWWHPSW                  
                        
     DWWHPSWHG                
                               
                             
                             
                             
        DWWHPSWV                    
                            
                        
$VVRFLDWLRQ                     
     DWWHQG                 
DVVXPH                        
          DWWHQGHG                 
                          
DVVXPSWLRQ    DWWHQWLRQ                  
                           
DVVXUH                       
                           
DWKOHWH                            
                            
                              
DWKOHWHV                          
                          
                             
        DWWRUQH\               
                     
DWKOHWLF                         
                           
                        
                        
                          
                       
                          
                       
                           
DWKOHWLFV                     
                        
                    
                           
                      
                           
                         
                      
                           
                           
                           
                          
                             
DWURSKLF                           
                           
DWWDFNHG                       
                                                    Armistead App. 0839
                                                          3DJH

                      
                           
                    
                        
                     
                   
                    
                   
                    
                    
                  
                      
                   
                   
                     
                     
                       
                        
                    
                           
                      
                    
                      
                     
                         
                     
                     
                     
                      
                    
                   
                    
                        
                   
                    
                         
                     
                 
                     
                  
                  
                            
                  
                        
                     
                   
                   
                    
                     
                     
                    
                     
                   
                                                      Armistead App. 0840
                                                            3DJH

                     
                     DYDLODEL
                        
                         DYDLODEOH
                        
                      
                        
                     
                      
                      
                 
                           
               DWWUDFWHG       
                      
            DWWULEXW     
                           
            DWWULEXWHV      
                    DYHUDJH
               DXGLR       
                             
                    
                      
                     
                             
          $XJXVW     
                  $XVWUDOLD       
                  
                      
                  $XVWUDOLDQ     DYHUDJHV
                     
           DXWKRU     
                     DYRLG 
                         DYRLGHG
                    
                    DYRLGLQJ
              DXWKRUL]     
                         
           DXWKRUL]HG     DZDUH 
                         
             DXWKRUV     
                        
                         
                       
                      
                         
                      
                             
                     
                  DXWLVP          
                   
                      
                
                       
                                                            Armistead App. 0841
                                                                  3DJH

                                     
                                      
                                  
                                  
                   EDVLF               EHOLHYHG
         EDFNJURXQG                          
                                    
                                      
          EDFNLQJ              EHKDOI       
      EDFNXS    EDVLV           EHORQJ
                                
         EDG                      EHORQJLQJ
          %DLOH\                         
                             EHKDYLRUV      EHQHILFLDO
          EDODQFH                           
                             EHOLHI     EHQHILW
                                        
      %DUU       EHDW     EHOLHYH    EHQHILWV
                  EHDXWLIXO             
DZIXO    EDVH                        EHVW 
$=              EHFRPLQJ                  
               EDVHG                        
      %                                  
%3-                              
                    EHG               
                 EHJDQ            
                EHJLQQLQJ              
                                       
                                    
                                     
%3- V                                 
                                    
EDE\                                    
EDFN                                   
                                  
                                  
                                 
                             
                                  EHWWHU 
                                      
                                     
                                     
                                    
                   EHJLQV              
                                    
                                      
                                     
                                      
                                    
                                   
                                EH\RQG 
                                    
         EDVHOLQH                          
                                                          Armistead App. 0842
                                                                3DJH

ELDV                                 
ELDVLQJ                                
                                     
ELJ                                
                                        
                                  
ELJJHVW            ELW                
                                   
ELQDU\                            
                                    
      ELRORJ\                            
                                  
ELRORJLFDO                               
                               
                                 
                                
                        EORFNLQJ         
                                  
                                   
                     EORRG        
                                 
          ELUWK                        
                EODQNLQJ      EOXQW       
                            %0,        
                EORFN      %RDUG       
                               
                               
            EORFNDGH               
                        ERGLO\      
                                  
                               
                EORFNHU                  
                         ERG\        
                EORFNHUV               
                              
                               
                                  
                                  
                                     
                      ERQH        
                               
                             
                              
                                    
                                    
                               
                                   
                     ERRN        
                               
ELRORJLF                     ERRNV      
                                  
                       %RUHOOL       
                               
                                                    Armistead App. 0843
                                                          3DJH

                          
                        
                          
                         
                       
                         
                        
                         
                   
                            
                        
                         
                         
                         
                     
                          
                      
                        
                           
                      
                      
                       
                        
                       
                         
                        
                            
                         
                      
                        
                         
                        
                              
                           
                             
                           
                        
                     
                          
                      
                          
                          
                   
                      
                           
                           
                     
                            
                        
                         
                        
                      
                    
                                                          Armistead App. 0844
                                                               3DJH

                                
                %ULGJHSRUW           
                                    
                EULQJLQJ            
                                
              EURDG              
                                   
                                  
                              
      ER\V     EURDGHU                
       EUDLQ                    
                  EURNH            
                                     
                               
                             
                EURNHQ               
                                
                 %URRNH               
ERUQ                               
                  %URRNV             
                        
                                
                            
                              
                             
%RUUHOOL                           
                           
                                 
%RVWRQ                          
                                  
ERWKHU                        
ERWWRP                               
       EUDLQ V                         
                             
       EUDQFKHG                   
                                
         EUHDN                   
                                  
                            
                              
                                     
                                
                             
                             
%RXOHYDUG                           
                                   
ER[                             
          EUHDNIDVW                  
ER\                            
      EUHDNV                 
          EUHDNWKU                  
ER\V                             
      EUHDVW                  
                                                      Armistead App. 0845
                                                           3DJH

                          EXVLQHVV
                        
                    %XWKHUXV
                           
                  
                               &
                    &  
                          
                             
                      &$ 
                         FDOFXODWH
                      
                          FDOFXODWHG
                       
                         &DOLIRUQLD
                         
                           
                           FDOO 
                           
                          
                            
                        
                            
                              
                      
                           
                       
                      
                         FDOOHG 
                            
                             
                       
                    
                              
                        FDOOLQJ
                       
                        
                           
                      FDQFHU
                            
                            FDS 
                 %522.66        FDSDELOL
                          
               %URZQ    FDSDELOLW\
                      
                   EXG         
                    %XLOGLQJ       FDSDFLWLHV
                            
               EXOOLHG        FDSDFLW\
                            
             EXQFK         
                   %XUFK      &DSLWRO 
                  FDSWLRQ
                                                            Armistead App. 0846
                                                                 3DJH

          FDVH                 FHUWLILFDWH     
FDU                                  
FDUGLRYD                   FHUWLILF     
                                      
FDUH                                
                          FHUWLILHG       
                                      
                                      
                            FHUWLI\LQJ      
                                      
                         FHWHUD         FKDQJLQJ
                                       
                  FDXVHG              
                          FKDOOHQJHG      
                 FDXVHV              
                           FKDOOHQJHV     FKDSWHU
                                    
                                   
                  FDXWLRQ        FKDQFH     
                          FKDQJH     
         FDVHV      FDXWLRQHG                FKDUDFWH
                                 
                FDXWLRQV              
                                
                                     
                   FDYHDW               
                                    FKDUDFWH
                                   
           FDYHDWV               &KDUOHVWRQ
                               
                  FHDVH                 
FDUHHU             FHOO             FKDW 
          FDWFK                  FKDWWHG 
                                 FKHFN 
                               
         FDWFKLQJ       FHQWHU            
FDUHIXO                                  
         FDWHJRULFDO                       
                   FHQWUDO                 FKHHUOHDGHU
         FDWHJRULHV                         
                   FHUWDLQ        FKDQJHDEOH      
                                  FKLOG 
FDUHIXOO\      FDWHJRUL]HG              FKDQJHG     
                               
         FDWHJRU\                           
FDULQJ                             
&DUROLQD                                   
                   FHUWDLQO\                
                                  
                                        
                                    
FDUULHG        FDXJKW              FKDQJHV         
         FDXVH                        
                                                           Armistead App. 0847
                                                                3DJH

                              
                          
                             FODVVLIL     
                            
                           
                             
                              
                           FODVVLILHG      
                                      
                           FODVVLI\        
                               
     &KLOGUHQ V     FKURQLF        &/$<721     
                                 
           FLVJHQGHU      FOHDQHG         
                                     
     FKRLFH              FOHDU      
                                   
                            
        FKRLFHV        FLWH              
                                
        FKRRVH                            
FKLOG V                                    
                                     
                                
         FKRVH                          
FKLOGKRRG              FLWHG              
                                     FOLQLFD
                                       
                                      FOLQLFDO
        &+5,67,$1$     FLWHV     FOHDUHU         
                  FLWLQJ                     
     &KULVWLQD               FOHDUO\         
FKLOGUHQ                 &LYLO                   
         FKURPRVRPDO                       
                 FODLP               
                 FODLPV         FOLHQWV         
                                  
                       FOLQLF     
                   FODULILF            
                                
              FODULILHG                 
                                    FOLQLFDOO\
               FODULI\               
    FKURPRVR                        
                                  
                                    
                                 
                                   
        FKURPRVRPH                         
               FODULW\              FOLQLFLDQ
                                   
        FKURPRVRPHV                    
               FODVVLFDO                
                                                            Armistead App. 0848
                                                                 3DJH

&OLQLFLDQ V                                
                                        
FOLQLFLDQV              FROOHFW                  
      FORVHO\                           FRPPRQ 
                   FROOHJH                   
         FORVHU                       
FOLQLFV        FORVHVW              FRPHV      FRPPRQO\
        FORWKHG                            
                   FROOHJHDJH              &RPPRQZH
         FORWKLQJ                          
                                  FRPPXQLW\
       &0(       FROOHJHV                 
          FRDXWKRU                         
                        FRPIRUW        FRPRUELG
         &R'LUHFWRU                         
                   FROOHJLDWH     FRPIRUWDEOH    FRPSDQ\
FOLS     FRDFK                          
      FRDXWKRU                           
                                     FRPSDUH
         FRDXWKRUV      FROXPQ              
                                       FRPSDUHG
       FRHG                     
FOLSV                                
                                       
FORFN    FRJQLWLRQ               FRPLQJ     
FORVH                              FRPSDULQJ
FORVHG                                
      FRJQLWLYH                         FRPSDULVRQ
                                    
                       FRPPD     FRPSHQVD
                                     
                            FRPPHQW        FRPSHWH
                                     
                            
                                  
                                     
          &RKHQ.H              &RPPLVVLRQ      
                FRPELQHG               
                                      
               FRPH      FRPPLW          
                                
         &ROHPDQ                  FRPPLWWHG       
                                      
                                   FRPSHWHG
                          FRPPLWWHH       
         FROODSVHG                         FRPSHWHQW
                                  
          FROOHDJXH                      FRPSHWLQJ
                                     
         FROOHDJXHV                        
                                        
                                  
                                     FRPSHWLWLRQ
                                                          Armistead App. 0849
                                                               3DJH

                                     
               FRQIHU             
                                  
       FRQFHSWLRQ    FRQIHUHQFH              
                                     FRQVLVWV
                                   
         FRQFHUQ       FRQILGDQW              FRQVROLGDWH
                           FRQVLGHU    
FRPSHWLWLYH            FRQILGHQFH              FRQVROLG
                                    
FRPSHWLWRUV                             FRQVWHOO
                  FRQILQH             
FRPSOHWH                FRQILUP        FRQVLGHU   FRQVWUXFW
                                
                            FRQVLGHUHG     
                 FRQIRXQG             
                                FRQVWUXFWHG
FRPSOHWHG              FRQIXVLQJ                
                           
                                   FRQVWUXFWV
         FRQFHUQHG     FRQIXVLRQ               
                                     FRQVXOWHG
FRPSOHWHO\     FRQFHUQLQJ    FRQJUXHQW              
                                 
          FRQFHUQV      &RQQHFWLFXW    FRQVLGHULQJ    
                                      
                  FRQQHFWLRQ          FRQW G 
                              
                                 FRQWDFW
                       FRQVLVWHG      
         FRQFOXGHG                         
&RPSOH[             FRQVHQW        FRQVLVWHQF\   FRQWDLQLQJ
FRPSOH[L                              
                        FRQVLVWHQW    FRQWDLQV
          FRQFOXGHV                     
FRPSOLFDWHG                               FRQWHQGLQJ
         FRQFOXVLRQV   FRQVLGHU              
                                   
          FRQGLWLRQ                     FRQWH[W
                                  
FRPSO\                           
FRPSRQHQWV                                
                               
FRPSUHKH                          
          FRQGLWLRQV                       
FRPSUHKH                               FRQWLQXH
                                      
FRPSXWHU                                  
                                      
FRQFHSW                               
                                 
                                  
       FRQGXFWHG                         
                                                          Armistead App. 0850
                                                               3DJH

FRQWLQXHG                        FRUUHVSR     
         FRSLHV                    
FRQWLQXHV                                
      FRS\              FRUUHVSRQGV    FRXUW 
                                         
                         FRUURERUDWH     
                                
         FRUH              FRXQVHO      
FRQWLQXLQJ    FRUUHFW                     
                                  
                                
                                   
                              
FRQWLQXRXV                          
                                
                              
                                  
FRQWLQXR                           
                             
FRQWLQXXP                            
                               
FRQWUDLQ                             
                               
FRQWUDVW                              
                                     
                                     
FRQWUDVWLQJ                         
                              
FRQWULEXWH                            
                               
                                 
                             FUHDWH 
FRQWULEX                             
                  &RXQVHO V      FUHDWHG
FRQWURO                               
                    &2816(/6       FUHDWLQJ
                                    
                            FRXQW     FUHGHQWL
FRQYHQLHQFH                 FRXQWLQJ        
                                    FULWHULD
FRQYHUVD          FRUUHFWLRQV   FRXQWU\         
                                    
             FRUUHFWO\                
                       &RXQW\       
                                 
                                  
FRQYHUVD                     FRXSOH     
                   FRUUHFWV               FURVV 
                           FRXUVH     
                  FRUUHODWHG           
&RROH\                                
                FRUUHVSRQG              
                                       
                                                            Armistead App. 0851
                                                                 3DJH

                                    
                              'HIHQGDQW      GHQVLILF
         GDWHG                       
                       'HIHQGDQW V     
&VXWRURV                             GHQVLW\
                             'HIHQGDQWV      
FXULRXV                  GHDWK                 
          GDWHV               GHIHQGLQJ      GHQ\LQJ
FXUUHQW        GDXJKWHU                     
                                  GHSHQG 
                                 
      'DYH    'HEDWH    GHILQDEOH      GHSHQGLQJ
                GHFDGH              
                        GHILQH          
                                       
      'DYH V         GHFDGHV        GHILQHG     
                             GHILQLWHO\     GHSHQGV
       'DYLG      'HFHPEHU              
                                    
FXUUHQWO\               GHFLGH                    
          GD\                GHILQLWLRQ      
                                     
FXUULFXOXP              GHFLGHV               
                                   
               GHFLGLQJ             GHSRVHG
                                      
FXW                GHFLVLRQ             GHSRVLWLRQ
                                       
                                    
                   GHFLVLRQV                  
FXWWLQJ                                    
                            GHILQLWLRQV     
                                       
&9                  GHFODUDWLRQ           
F\FOH      GD\V             GHJUHH     
                                     GHSRVLWLRQV
      '                    GHOD\     
'                               GHSUHVVHG
        GHWUDQV                    
GDQJHURXV                                  GHSUHVVLRQ
         GHWUDQV             GHOD\HG         
GDWD            GHFUHDVH                 
                              GHOD\LQJ        
         GHDG                        
                                    
                                 
          GHDO      GHHS              
         GHDOLQJ        GHHSHQHG       GHOD\V          
GDWH                                  
       GHDOV    GHHSHU    GHOYH     GHSUHVVLYH
      'HDQQD     GHHSO\    GHQLHG      
                             'HQLNHU     GHSULYH
            GHIHFW            
                                                           Armistead App. 0852
                                                                3DJH

GHVFULEH                                   
                                
          GHWDLOV                         
                                 GLIIHUHQW
          GHWHUPLQ                       
                                   
                         GLDJQRVHV       
GHVFULEHG      GHWHUPLQ                    
                                   
                            GLDJQRVLV       
                                      
          GHWHUPLQH                     
                                     
                                
                                 
GHVFULEHV      GHWHUPLQHG                     
                              
                                   
GHVFULELQJ                           
                               
                                   
GHVFULSWLRQ    GHWHUPLQLQJ                       
                                       
                                   
       GHWUDQVL            GLDJQRVWLF      
GHVLJQ                             
GHVLJQDWHG                               
         GHYHORS                GLDPHWHU        
                  GHYHORSP               
GHVLJQDWLRQ                       GLFKRWRPRXV     
                                   
GHVLUHV        GHYHORSHG                         
                            GLFWDWH     
GHVLVW            GHYHORSP    GLH        
                            GLHG      
      GHYHORSPHQW                       
               GHYHORSV       GLIIHU     
                                   
            GHYLDWLRQ                  
GHVLVWDQFH                                 
                'H9ULHV              
                      GLIIHUHQFH      
                                  
GHVLVWHG                             
               'H9U\               
GHVLVWHUV                                   
                 'H[XV               
               GLDEHWHV                  
GHVSLWH                             
             GLDJQRVH                 
                                  GLIIHUHQ
GHWDLO                         GLIIHUHQFHV     
                 GLDJQRVHG            GLIIHUHQWO\
                                                            Armistead App. 0853
                                                                 3DJH

                   GLVHDVH               
         GLVFORVXUH                          
                                    
                 GLVPLVVHG                
GLIILFXOW      GLVFORVXUHV                        
                   GLVPLVVLQJ                
                                  
                    GLVRUGHU              
                         GLYLVLRQV       
GLIILFXO                               
                             '1$        GRFXPHQW
GLIILFXOW\     GLVFRPIRUW            GRFWRU     
                                     
GLJ       GLVFRUGDQW                      
                                  GRFXPHQWHG
                                    
GLUHFW    GLVFRYHUHG                         
                                  GRFXPHQWLQJ
                                     
         GLVFRYHULQJ                    GRFXPHQWV
GLUHFWHG                                   
          GLVFXVV                        
                   GLVRUGHUV                 
GLUHFWLQJ                              
                                         
GLUHFWO\                                    GRLQJ 
           GLVFXVVHG               GRFWRUV         
               GLVSDULW\                 
GLUHFWRU                                   
                   GLVSURSR    GRFXPHQW        
                                   
GLVDGYDQ    GLVFXVVHV      GLVWDQFH               
                                    
GLVDJUHH                GLVWLQFW              
      GLVFXVVLQJ                      'RQQD 
               GLVWLQJX              GRRU 
        GLVFXVVLRQ                        '25$ 
             GLVWUDFWHG             
                                  'RULDQH
                   GLVWUHVV                  
                                   'RULV 
                                   GRVH 
                                 GRXEOH
                               
                                       
                'LVWULFW              GRXEW 
                                    
GLVDJUHHG                                  GRZQORDGHG
          GLVFXVVLRQV    GLYHUVLW\              
                                  GRZQV 
GLVDSSHD              GLYLVLRQ                 GRZQVLGHV
                                      
GLVDVVRF                               
                                                           Armistead App. 0854
                                                                3DJH

'U     GUDIWHG                 G\VSKRULD      
            GURSSLQJ                  
                                
        GUDZ      GURYH          G\VSKRUL
      'UHZ     GUXJ               
                        G\VSKRULF
                                 
               GUXJV           
                               G\VSKRUL
                               
                               G\VSKRULFV
                                  
                              
                                       (
                                  (  
             GU\                   
                  '6'                  
                '60                 
                              ( 
                  '609             HPDLO 
                       HDUOLHU 
                                       
                                    
                                 
                                     
         'UHZ V                     
                                     
                             
                  'XFDU             
                                 
                                
                   GXH                 
                   'XNH                  
                         
                            
                                  
                                
                          HDUO\ 
                                      
                                   
                                    
         GULQN                         
                                
                                   
         GULYH                       
                                   
                                   
         GULYHQ                     
                                     
         GULYLQJ        '8/<            HDUQHG 
                   GXUDEOH                HDVLO\ 
                                    (DVW 
          GURSSHG        G\LQJ            
                                                          Armistead App. 0855
                                                               3DJH

(DVWHUQ               HOLWH            
                               HTXDOO\
          (OL]DEHWK             
                         HTXDOV
              (PEDUFDGHUR               
                         HQGRFULQ    (ULFD 
HDV\              (PPD              HUURUV 
                                 HVSHFLDOO\
         HIILFDF\      HPRWLRQDO      HQGRFULQ      
HDWHU                         
HGLWLQJ       HIIRUW                          (648,5( 
                                      
HGLWLRQ       HJJ    HPSOR\HG       HQGRFULQ     
         HJJV                        
HGLWRU    HLJKW    HQDEOH                 
HGXFDWLRQ                       HQGRJHQRXV      
             HQGHG               
                      HQGSRLQW        
               HQGRFULQH                HVVHQWLDO
                       HQGV      
         (LJKWHHQ                        
                       HQMR\    HVVHQWLDOO\
        HLWKHU                     
(GZDUGV                   HQUROOHG       HVWDEOLVK
                           
                       HQUROOLQJ       
                               (VWDEOLV
                      HQVXUH     
HIIHFW                            HVWLPDWH
                                   
                         HQVXULQJ        
                                 
                              HVWURJHQ
                      HQWHULQJ        
                                    HW 
HIIHFWLYH                                  
                           HQWLUH      
                                     
HIIHFWLY   HOLFLWV                           
                                    HYDOXDWH
HIIHFWV       HOLJLELOLW\                     
                                     
         HOLJLEOH               HQWLUHW\        
                                   
                               
                        HQWLWOHG       HYDOXDWHG
                            
                                    
         HOLPLQDWH                       
                                    
    HOLPLQDWHG                       HYDOXDWLRQ
                                 
                  HTXDO       
                                                          Armistead App. 0856
                                                               3DJH

         H[DP                      
                                    
                                    
         (;$0,1$7,21                  
                             
HYDOXDWLRQV                               
          H[DPLQH                         
                                    
HYHQWV         H[DPLQHG       H[HFXWLYH             
                                 
                                      
         H[DPLQHV       H[KLELW              
HYHQWXDOO\                    H[KLELWV       
         H[DPSOH                        H[SHULHQFHG
HYHU\ERG\                     H[LVWHQFH      
                                
                 H[LVWV         
                              
                        H[RPH      
                        H[RQ      
                         H[SHULHQFH     
                              H[SHULHQFHV
HYHU\ERG\ V                             
          H[DPSOHV                       
(YHU\RQH V                              
                                    
HYLGHQFH                               H[SHULHQ
                                    
                               
                                    
                                     
      H[FOXGH                        
                                
                               
                              
                                  H[SHULPHQW
HYLGHQW        H[FOXGHG                         
                               H[SHUW 
H[DFW                              
                                     
                                 
H[DFWO\                          
                                   
          H[FOXGHV                     
                                  
                              
         H[FOXVLRQ                      
                                  
         H[FXVH                     
                                  
                                  
                                   
                                
                                                          Armistead App. 0857
                                                               3DJH

          H[SUHVVLQJ                       
                    IDPLOLDU       
         H[SUHVVLRQ                 
                                   )HGHUDO
                                  
                                     IHHO 
H[SHUWLVH                                   
       H[WHQGHG                         
                                    
     H[WHQGLQJ                       
                                     
      H[WHQGV                         
                                   
         H[WHQVLYH                      
H[SHUWV                          IDPLO\         
      H[WHQW                     
H[SODLQ                          
                                    
          H[WHUQDO                         
             IDFWV             
               IDFWXDO                
                                 IHHOLQJ
                   )DLOLQJ       )$03721     
                          IDU        
H[SODLQHG                IDLQW               
          H[WHUQDOO\     IDLU              IHHOLQJV
                                      
         H[WUHPH                         
H[SODLQLQJ                          IHHOV 
                                   
H[SODLQV                                 IHHV 
          H[WUHPHO\                      IHOORZ 
H[SODQDWLRQ                             IHOORZVKLS
             )DLUO\        IDUWKHU        
H[SORUDWLRQ                               IHOORZVKLSV
                  IDLUQHVV      IDVKLRQ        
H[SORUH                             IHOW 
                                    
H[SORVLYH                     IDVW     
                             IDVWHU        IHPDOH 
H[SUHVV                               
                                
                  IDOO     IDVWHVW        
         H\H                     
                                IDW      
                )       IDOOLQJ       IDWKHU          
          )                            
H[SUHVVHG      IDFHG     IDOVH              
                          )'$       
         IDFW                    
                                  
                               
                   IDOVLW\              
                                                            Armistead App. 0858
                                                                 3DJH

                   ILQDOO\              IOLSSLQJ
                                   
                ILQG                )ORRU 
                                       
                             )ORULGD
                              
                                   
                                    
                                   
                                      
                                   IOXFWXDWLRQ
      IHPLQLQH                         
                                     IOXLG 
         IHUWLOH                        
                                       
      IHUWLOLW\               ILW         
                                
                            ILWQHVV         
              ILQGLQJ                  
                          ILWWLQJ         
                                      
                         ILYH       
         IHUWLOL]HG                        )OXLGLW\
                                 
               ILQH            IRFXV 
                                    
                                 
      ILHOG      ILQJHUV                   
                                IRONV 
              ILQLVK                 
                                   
                                     IROORZ 
                                     
                    ILQLVKHG                
                                        
                                     
                ILUH     ILYHPLQXWH     
                  ILUPO\              
                   ILUVW     IL[HG    IROORZXS
                                       
     ILJXUH                         
                                 
                                   
                                     IROORZHG
                                    
IHPDOHV    ILOH                   
       ILOHG                     
         ILOLQJ                   IROORZLQJ
          ILOO                     
         ILQDO                    
                           IODW       
                           IODWO\          
                                    IROORZV
                                                      Armistead App. 0859
                                                           3DJH

                                   
                           
                          
IRRWEDOO                          
                            
                       
IRRWQRWH                            
                           
                             
                            
                           
                          
                                  
IRUFH                    
IRUFORVHG                      
                          
)RUGH                      
IRUHYHU                            
                            
IRUJHW                     
IRUJHWWLQJ                      
                             
IRUJRWWHQ                         
                          
IRUP                         
                            
                      
                     
                            
                         
                            
                         
                    
                        
                           
                      
                          
                         
                      
                           
                         
                           
                           
                               
                           
                       
                         
                          
                            
                        
                           
                        
                        
                                                         Armistead App. 0860
                                                              3DJH

                               
           )UHHGRP                 
                      IXQFWLRQLQJ      
          IUHHVW\OH                 
                            
              IUHTXHQF\              
                      IXQFWLRQV         
           IUHTXHQW                
                          IXQGDPHQWDO      
           IUHVK                
    IRUPV    IULHQG              
       )RUW\WKUHH             IXQQ\      
              IULOO\    IXUWKHU          
     IRUZDUG       IURQW                 
                                   
                                
                                     
                                 
                                  
                                    
    IRXQG                        
                          IXWXUH           
                              
                                  
                             
     )RXQGDWLRQ    IURQWDO                         
                               *         
        IRXU     IUR]H    *            
                    JDLQHG           
                  IUXVWUDWLRQ               
                           JDPHWH       
            IXOO             
                     JDPHWHV      
                                    
                JDS       
                               
                         *DYHQSRUW        
                               
     IRXUWK                 *'JHQGHU        
                                    
                             
     IUDFWXUHV                         
                                
    )UDQFLVFR     IXOO\     JHQGHU       
                             
                                
       IUDQNO\                         
                               
       IUHH                          
          IXQFWLRQ                   
                                  
                              
                                 
                                                      Armistead App. 0861
                                                           3DJH

                      
                        
                       
                           
                  JHQHV     
                      
                             
                 JHQHWLF        
                               
         JHQGHUD         JLUOV 
                        
                           JLUO\ 
           JHQGHUHG               JLYH 
                          
             JHQGHUV               
                           
       JHQHUDO              
                             
                           
                   JHQHWLF    
                      
                      
                           
                JHQHWLFLVWV    
                                  
                 JHQHWLFV       
                               
                  JHQLWDOLD      
                          
                            
                             JLYHQ 
                                
                           
                         
                     JHQLWDOV       
                              
          *HQHUDO V     JHWWLQJ        
                             
           JHQHUDOL            
                          
           JHQHUDOO\              
                                
                          
                           JLYHV 
                             
                     JLYLQJ 
                   JLUO      
                        
                         JODG 
                       JLUOV     
                        JODQFH
                         
                     JOLGH 
                                                            Armistead App. 0862
                                                                 3DJH

JR                           *51+       
                                        
                                   
                        JURXS      
                                     
                                     
                                     
                   *RRGQHVV              
                                       
                   JRVK                 
                                   
                                  
                         JURXSV     
                  JRWWHQ                   
                                     
                    JRYHUQPHQW     JURZLQJ     
                              JURZV     
                    JRYHUQPH    JURZWK     
                                          
               JUDE               *XLGOLQHV
               JUDFLRXV                 
                                       JX\V 
JRDO               JUDGH     JXHVV 
                                    +
                                   +$/ 
                                    KDOI 
JRDOV             JUDGHG                    
*RG                         JXHVVLQJ        
JRHV                JUDGHUV                  
                            JXLGH       
                   JUDQW                 
                                    
                                   
                   JUDQWV              
                            JXLGHOLQH      KDOIZD\
        JROO\                      
         JRQDGDO    JUDSKLF                  
JRLQJ                         JXLGHOLQHV      
                   JUDWHIXOO\                
                                   KDQG 
          JRQDGV    JUD\             
                          
                                  
      JRRG                       
                    JUHDW             
                                
                                 KDQGHG 
                   JUHDWO\               
                                      KDQGLQJ 
                  *UHHQ             
                                 KDSSHQ 
                                 
                  JULS                
                                                            Armistead App. 0863
                                                                 3DJH

         KDUP     KHDGHG               
                                
               KHDGLQJ              
                                  
                                   +HOOR 
                      KHDOWKE    KHOS 
KDSSHQHG                                     
                             KHDOWKFDUH      
                                  
                         KHDOWK\     
                               KHOSIXO
                                    
                                   
                            KHDU      
KDSSHQLQJ      KDUPHG                 KHOSLQJ
                   KHDGOLQH                
                                    
      KDUPIXO        KHDOWK              KHOSV 
                                +(/67520
                                       
KDSSHQV                               +HPEUHH
                                 
                                     
                                 
KDSSLHU                                  +HQLJ 
                                 +HUEHUW 
KDSS\                              
                                   KHVLWDWH
                     KHDUG     
                               KH\ 
                                  KLJK 
                                  
         KDUPLQJ                            
                                      
          KDUPV                    
KDUDVV    +$51(77                           
KDUDVVHG                              
         +DUSHU                  KHDULQJ         
KDUG                                
         +DUULVRQ                        
                                
                             KHDUW      
          +DUWQHWW                      
                                   
                            
                            +($7+(5     KLJKHU 
                      KHDYLO\         
         +DUYDUG                          KLJKHVW
                                    
         KHDG              KHLJKW    KLJKO\ 
KDUGHU                                     
                            KHOG        
                                    
                                                           Armistead App. 0864
                                                                3DJH

                                   
                                  
+LOWRQ     KRUPRQHV                          
                                  
                  KXQGUHGV                  
KLVWRULFDO                                   
                                     
KLVWRU\              +XVNH              
                   K\SHUWK\               
                                  
                   K\SRWKHW               
KLW                                  
KLWWLQJ                K\SRWK\U    LGHQWLILHV      
                                     
+2/&20%                                       
+ROFXPE                   ,                  
                     LGHD                  
KROG                                     
KRPH                                
KRPHOHVV             LGHDO               
                LGHDOO\        LGHQWLI\        
KRQHVW                                 
                                     
KRSH            LGHDWLRQ                  
                                        
         KRVSLWDO                        
                                        
                 LGHQWLIL               
KRUPRQDO       KRVSLWDOV                           
                LGHQWLIL               
          KRXU                     
         KRXUV                   
                                      
                                   
       KRXVHNHH                       
                            LGHQWLI\LQJ     
         KXPD                         
         KXPDQ                       
                               
                                    
                        LGHQWLW\        
                                      
                                    
                              
KRUPRQDOO\                             
                                    
KRUPRQH                                   
                                 
                                      
                                   
                                    
         KXPDQV                       
                   LGHQWLILHG           
                                                          Armistead App. 0865
                                                               3DJH

      LPSOLFDW   LQFHQWLYH                
                                
                 LQFHQWLYHV              
     LPSO\LQJ               LQFRPSUH    
                  LQFHSWLRQ                 
      LPSRUWDQW              LQFRQJUX    
           LQFK              
               LQFKHV             
                                     
                            
                               
            LQFLGHQFHV             
                                 
              LQFOLQHG                
                        LQFRQJUXHQW    
                  LQFOXGH                 
                                
                        LQFRQJUXLW\    
                                
                          LQFUHDVH       
          LPSUHFLVH                        
                                 
                           LQFUHDVHG      
                                  
                              
                                 
     LPSUHFLVLRQ            LQFUHDVLQJ     
           LQFOXGHG            LQGLYLGX
         LPSUHVVLRQ                     
                     LQFXPEHQW      
         LPSURYH                         
                       LQGLFDWH      LQGLYLGX
                                  
                        LQGLFDWHG      
              LQFOXGHV                LQGLYLGX
LOOQHVV                                
                                  LQGLYLGXDOV
LPDJLQJ                      LQGLFDWHV       
          LPSURYHV                        
LPSDFW                      LQGLFDWLRQ      
          LPSURYLQJ     LQFOXGLQJ               
                                      
         LPSXOVH                        
LPSDLULQJ                                
                            LQGLFDWLRQV    
LPSDLUPHQW     LQDFFXUDWH                       
                               
                           LQGLFDWRU      
                               
LPSDLUV                      LQGLYLGXDO     
                 LQFOXVLRQ                
          LQDSSURS                   
              LQFOXVLYH              
                                                           Armistead App. 0866
                                                                3DJH

                       LQVWLWXWLRQ    LQWHUYHQLQJ
                                 
                      LQVWLWXW    LQWHUYHQRU
                                        
       LQIDQW V             LQVXUDQFH        
            LQIRUPHG                 
          LQIHU                    LQWHUYHQ
         LQIHUHQFH              LQWDNH     
                LQLWLDO        LQWHQG         LQWHUYHQ
      LQIHUWLOLW\                       
                            LQWHUDFWLRQ     
         LQIOXHQFH     LQLWLDWLQJ                
                           LQWHUDFW     
                             
                  LQLWLDWLRQ                
       LQIOXHQFHG             LQWHUDFWV       
                LQMHFWLRQ                LQWHUYLHZ
                    LQWHUFKD      
       LQIOXHQFHV                        
                   LQMXQFWLRQ     LQWHUHVW        
                                       LQWHUYLH
                  LQMXUH              
                          LQWHUHVWLQJ    LQWHUYLHZV
         LQIRJUDSKLF   LQMXULHV                  
                         LQWHUOLQNHG    LQWUDVSH
               LQMXU\                
          LQIRUP                 LQWHUQDO        
                 LQQHU               LQWULFDWHO\
      LQIRUPDWLRQ   LQTXLU\        LQWHUQHW        
                                 LQWURGXFHG
                 LQVLGH         LQWHUSUHW       
                                    LQWURGXF
                            LQWHUSUH     
                  LQVLVW                  LQWURGXF
                            LQWHUUHO     
                 LQVWDQFH                LQYHVWLJ
                           LQWHUUXSW       
                            
                                     LQYHVWLJ
                                     
                                  LQYHVWLJ
                          LQWHUVH[        
                                   LQYLVLEOH
                                      
                                        
                  LQVWDQW             LQYLWDWLRQ
                  LQVWLWXWH              
                                 LQYLWHG 
LQHYLWDEO\                           
                                      
LQIDQF\                                   LQYROXQWDU\
                           LQWHUVH[XDO     
LQIDQW                                 
                                                           Armistead App. 0867
                                                                3DJH

         -$&.621     .DW]:LVH      NQHH       
LQYROYHG       -DFNVRQY                      
                          NQHHV      
         -DFRE                          
                   NHHS     NQHZ       
         -DNH                         
         -DQXDU\                           
                                  
LQYROYHV                                     
                              NQRZ        
                                        
         -RDQQD         NHHSLQJ           
                                    
LQYROYLQJ      MRE                        
                  NHHSV           
                                       
L3KRQH                   .HOO\             
                                   
LVRODWHG       MREV                       
      -2+1$7+$1                       
LVRODWLRQ                  .HOO\ V           
         -RKQVRQ     NHSW                 
LVVXH     MRLQW     NHUIXIIOH              
      -RVK                            
       -26+8$      NLGV                 
          MRXUQDO                       
                                     
                                     
LVVXHG                               
LVVXHV                             
         MRXUQDOV                       
               NLQG             
                                       
         -R\QHU                    
                                   
                                   
                                      
                                  
         MXGJPHQW                          
                                     
         -8/,(                      
         MXPS                       
      MXQLRU                             
                                 
                                           
               .                        
          .$1*                          
,V]DF    NDU\RW\SH                     
LWHP                 NLQGV               
      .$7(/<1                         
LWHPV    .DWKOHHQ                       
                     .OLQHIHO              
     -                                    
                                                           Armistead App. 0868
                                                                3DJH

                    /HDK      
                          OHDQ       
                           OHDUQ      
         ODEHOLQJ      ODS                  
                                      
                 /DSLQVNL                 
         ODEHOV                          
                                  
          ODERUDWRU\    ODUJH                
                        OHDUQHG         
         /DFH\                           
         ODFN                    
          /$,1(<              OHDUQLQJ        
                ODUJHU              
          /DPEGD           OHDYH       
           ODVWLQJ                   
                                    
      /DPEHOHW      ODWH      OHDYLQJ         
              /DXUD              
         ODQJXDJH               /HHSHU         OHWWHU 
                             OHYHO 
                  /$85(1&(            
               ODZ                  
                                  
NQRZLQJ                      /HHSHU V        
                                    
NQRZOHGJH                     OHIW       
                            
                                
                                   
                               
                               
                                   
                       OHJDF\         OHYHOV
                   /DZUHQFH                 
                       OHJDO        
               ODZVXLW                  /HYLQH V
                                   
                  OD\PDQ                    
                                  /LD 
                  OD\PDQ V              
                               
NQRZQ             OHDG     OHJDOO\         
                                     
                 OHDGLQJ        OHJLVODWLRQ     
                                   
NQRZV              OHDGV    OHQJWK    /LEHUWLHV
                                OHVW       
     /                 OHDJXH         OHW V     OLELGR 
/                           OLFHQVHG
ODEHO         OHDJXHV                   
                                     
ODEHOHG                                    OLIH 
                                                           Armistead App. 0869
                                                                3DJH

                                   ORRNLQJ
        OLSV                            
        OLVW                            
                                  
                            ORQJLWXG     
                                      
                           ORRN       
                                      
        OLVWHG     OLYH                  
                                         
                 OLYHV            
         OLVWHQ                           
                 OLYLQJ                
                                  
                               
                                 ORRNV 
                                     
OLIHVSDQ      OLVWHQLQJ                         
                 //3                  
OLJKW    OLVWV    OREH                
                                  
        OLWHUDOO\      ORFDO             /RSLDQR
                  ORFDWH                 
OLNHG    OLWHUDWXUH                       /RUG 
OLNHOLKRRG              ORFDWLRQ             /RV 
                                      
               ORFDWLRQV               ORVH 
                                    ORVLQJ 
               ORGJHG                   ORVW 
                                  
OLNHZLVH                ORQJ             
                                       
OLPLWDWLRQV                                 
                                    ORW 
OLPLWHG                                       
                                      
                                  
OLPLWLQJ                                  
                                 
OLQH                             
                                       
        OLWLJDWLRQ                         
                                     
                           ORRNHG     
                                       
        /LWPDQ                            
                                     
OLQHV    OLWWOH                      
                              
                                         
                 ORQJHU                  ORWV 
                                      
                                 
                                                            Armistead App. 0870
                                                                 3DJH

                                  PDWFK 
                        PDUNHG     
                                      
                    PDOHV                 
                                
                                   PDWFKHG
                                       
                                     
ORXG     PDNLQJ                        PDWFKHV
ORXGO\                           
                                     
                                      PDWFKLQJ
ORZ                                  
          PDOH      PDPPDOV              
                                    PDWHULDOV
                           
             PDQ                PDWK 
                                    PDWWHU
ORZHU                             
                PDQDJHG                  
OXQFK                             
                                    
                 PDQDJHPHQW               
                                       
                    PDQQHU              
                                         
/XQGEHUJ                 0DQXDO     PDUNHU     
                 PDQXIDFW           
                         PDUNHW     
              PDQXVFULSW                
OXQJ                        PDUNLQJ    0DWWHUV
               PDS                 
                     0DUFK               PDWXUHG
      0                          PDUNV       
0'                                PD[LPL]H
               PDUN      0DUVKD          
                                  0D\R 
                      0DUWLQ          
                                    0F&XVNH\
                       PDVFXOLQH        
PD DP                                 PHDQ 
                                        
PDLQ                              
PDLQWDLQ                         PDVN        
                                      
PDMRU                                
                             PDVNHG      
PDMRULW\                  PDVV      
                                  
                                     
                          PDVWHU V        
                                
                                   
                                                           Armistead App. 0871
                                                                3DJH

                                      PLGGOH 
                                      
                               
                                     
                                      
                  PHGLFLQH                 
                               PLOH 
                                  0LOOHU 
                           
                                      PLQG 
                                    
                                         
                                       
                                
                                      
PHDQLQJ                          PHQWLRQ         
                                      
                               
               PHHW     PHQWLRQHG       
                                  
                 PHHWLQJ                   
PHDQLQJIXO                                  
                              
PHDQLQJI                           PLQGIXO
           PHHWLQJV                 
PHDQV                                 PLQH 
                                
                               
                               PLQXWH 
         PHGLFDOO\                     
                  PHPEHU              
                                    PLQXWHV
                PHPEHUV        PHQWLRQLQJ      
          PHGLFDWLRQ                         
                 PHQ       PHUHO\          
                                   
PHDQW                   PHVVDJHV        
                              
                         PHW         
                                 PLQXWHV
                          PHWDEROLF       
                   PHQVHV              PLVFKDUD
                  PHQWDO     PHWKRG     
PHDVXUDEOH                         PLVFRQVWUXH
                                       
PHDVXUH                          0+        PLVKHDUG
                      PLF        
PHFKDQLVP                    0LFKDHO        PLVLQWHU
                                 
PHGLD                           PLVLQWHU
                       PLFURSKRQH      
                                   PLVOHDGLQJ
PHGLFDO    PHGLFDWLRQV          PLFV       
                                                           Armistead App. 0872
                                                                3DJH

                                    QHFHVVDU\
                 PXOWLSOH                
                                   
PLVUHDGLQJ     PRRG               QDWDO    QHHG 
          0RUJDQ                       
PLVUHSUH                            
                                 
PLVUHSUH              PXPEOLQJ                 
                                     
PLVVSHDN       PRUQLQJ        PXVFOH              
                                   
PLVVSRNH                                
                    PXVFXODWXUH             
         0255,6(<                        
PLVWDNH                   PXWDWLRQV                
          PRVVDLFLVP                        
PLVWDNHQ                                    
         PRWKHU                          
PLVXQGHU              PXWHG              
                   PXWLQJ    QDWLRQ V       
PLVXQGHU                                     
                         1        1DWLRQDO       
PL[                1               
PL[HG                           
PL[WXUH                                
          PRWLYDWH       QDPH               
                              QDWXUDOO\      
          0RXQW                     QHHGHG
PRGHOHG                                    
          PRXWK                     
PRP                                   
PRPHQW     PRYH               QDYLJDWLQJ    QHHGV 
                                     QHJDWLYH
                              1&$$     
                                 QHLWKHU
                                     
                            QHDU      
                  QDPHG     QHDUO\        QHXURORJLVW
          PRYHG     QDPHV              
          PRYHV                     
         PRYLQJ              QHFHVVDULO\   QHYHU 
                                      
                                   
                                     
                                     
PRQLWRU        PXFN                     
          PXIIOHG                           
PRQWK               QDUUDWLYH                
                                      
                                    QHYHUWKH
PRQWKV         PXIIOLQJ                       
                                     
         PXOWLGLV    QDUUDWRU               QHZ  
                                                        Armistead App. 0873
                                                             3DJH

                            
          QRZDGD\V                     
                              
          QXDQFHV                 
                                 
QHZV     QXPEHU                  
                            
QHZVSDSHU                     
                            
QLFH                       
                              
1,+                            
                        
                               
                            
                            
                           
                          
                                  
1,0+                           
                              
QLQH                           
1LQHWHHQ                             
                              
QRLVH                             
QRQV\VWH                          
                                   
QRRQ     QXPEHUV                       
QRUPDO                           
                                  
         1XUVH                  
         1<                    
                                
                2                   
         R                      
                                    
          R FORFN                      
1RUWK                             
         2DNV                      
          RDWK                 
                                   
         REHVH               
         REMHFW                  
QRWDU\                          
                        
                            
QRWH                            
                                 
         REMHFWLQJ                    
QRWHV                        
         REMHFWLRQ                    
                            
1RYHPEHU                        
                                                       Armistead App. 0874
                                                            3DJH

                         
                               RIIHULQJ
              REMHFWLYH       
                            
                        
                 REMHFWV         
                               
               REOLJDWLRQ      
                             
                    REVHUYDEOH     RIIHUV
                         
                    REVHUYDWLRQ    RIILFH 
                                 
                            
                   REVHUYDW     
                            
                  REVHUYHG       RIILFLDO
                              
                REWDLQ     
              REWDLQHG       2IWHQWLPHV
                            
                     REYLRXVO\      RK 
                             
                       
                         
                   RFFDVLRQ        
                         
                            
                  RFFXSDWL     
                              
                   RFFXU      
                            RND\ 
                           
                      
                          
                     RFFXUUHG         
                          
                              
                              
                           
                    RFFXUULQJ       
                         
                             
                         
                             
                             
                   RFFXUV          
                             
                RIIHQVH         
                            
             REMHFWLRQV    RIIHU      
                RIIHUHG         
                            
                                                          Armistead App. 0875
                                                               3DJH

        RQH V             RUJDQL]D       
                                   
      RQHSDJH                          
                        
        RQHV              RUJDQV            3
                                  3  
                          RULHQWDWLRQ       
                                         
        RQJRLQJ                        
                          RULJLQDO       SP 
         RQVLWH                         
                RSLQLRQV               
         RRSV                      
         RSHQ                      SDJH 
                                      
                                   
        RSHQLQJ       RSSRUWXQ            
                                  
             RSSRUWXQLW\                 
        RSLQH          RXWFRPH          
     RSLQLQJ                            
                                    
         RSLQLRQ              RXWFRPHV         
               RSSRVHG                    
                                   
ROG          RSSRVLQJ                
                                   
              RSSRVLWH                  
                                  
                        RXWVLGH      
ROGHU                                    
         RSWLPLVWLF                 
                                     
             RSWLRQ                
                                 
          RSWLRQV                
                                      
                                    
ROGV                                
                                      
2O\PSLDQ              RUGHU    RYDULHV      
                      RYHUDOO          
RPLVVLRQ                                  
                RUGLQDU\                   
RQFH                                
                 RUH      RYHUODS      
                  RUJDQL]D    RYHUODSSHG       
                                   
                     RYHUSURG      
                                  
                          RYHUUHSU      
                2UJDQL]D               
                           RYHUZKHO      
                                                           Armistead App. 0876
                                                                3DJH

                                
                  SDUODQFH      SDUWLFLS     
                                       SDVVHG 
                  SDUW               
                                  SDWK 
                                SDWKZD\V
                           SDUWLFLS     
                                      SDWLHQFH
                                      
                                    SDWLHQW 
                                   
                                
                              
                                     
                     SDUWLFXODU      
SDJHV                               
SDLG                              
                              
SDSHU                                  
                           
                                      
                                     
                                    
                                 
SDSHUV                           
                                   
                                   
         SDUDJUDSKV                        
                                     
         3DUGRQ                     
SDUDJUDSK                                  
                                   
       SDUHQW                          
                                   
                                
      SDUHQWDO                       
                 SDUWLDO                 
      SDUHQWV                          
            SDUWLFLS             
                                     
               SDUWLFLSDWH              
                           
                            SDUWLFXO     
                             
                       SDUWLHV      
                                  
                                  
                       SDUWO\     
                            SDUWQHUV        
                                  
                      SDUWV      
        SDUHQWV                        
                                   
                                                           Armistead App. 0877
                                                                3DJH

SDWLHQW V           3&26              SHUFHQWDJH
           SHDN                 
                                    
               SHDNV               
                                
                                    
                                 SHUIRUP
SDWLHQWV           SHGLDWULF                
                             SHUIRUPDQFH
                                       
              SHGLDWUL              
                                     
                                 
                  SHGLDWULFV          SHUIRUPHG
                                
                                SHULRG 
                                     
                                    
                                    
            SHHU                
                                   
                              
                                
                                
                               
               SHHUHG            
         SDWLHQWV       SHHUV              SHUPDQHQW
                                     
     3DWULFLD                          
                  3HJJ\                
        3$75,&.    SHQLV                
        SDXVH                         SHUPLVVLRQ
                                 
                                  SHUPLW
                 3HQQV\OY              
                              SHRSOH V       SHUPLWV
               SHQXOWLPDWH              
                        SHUFHQW     
                                     SHUPLWWHG
                 SHRSOH            
                                   
                                   
                                    
                             
         SDXVLQJ                         
                                 SHUPLWWLQJ
                                   
                            SHUVLVW
    SD\                        
    SD\LQJ                    
         SD\PHQWV                       
                                        
         SD\V                       
                                                           Armistead App. 0878
                                                                3DJH

                                        
                               
                                      
SHUVLVWHQFH             SK\VLFLDQ      3ODLQWLII V     
                               
        SHUVRQV             3ODLQWLIIV      
                                       
              SK\VLFLDQV     SODQ       
      SHUVSHFWLYH             SODQQLQJ        
              SK\VLROR           
                                   
        3HUVSHFW          SOD\      
                                     SRLQW 
SHUVLVWHQW    SHUVXDGHG      SK\VLROR               
                                   
        SKDOLF    SK\VLRORJ\               
        SKDUPDFH                  
SHUVLVWHUV                            
                               
SHUVRQ                            
                                   
     SKDVH     3,                  
           SLFN              
                SLFNLQJ                  
                                
                           SOD\HG          
                                
              SLFNV              
            SLHFH             
                               
         SKHQRPHQRQ                        
                            SOD\LQJ         
                   SLHFHG           
               SLHFHV                 
       SKRQH                        
                                      
                SLQ                SRLQWV
                          SOHDVH      
                  SODFH           SROLFLHV
     SKUDVH                           
                                     
                                     
                                     
        SKUDVHV                            SROLF\ 
                                      
SHUVRQ V      SK\VLFDO                           
                               
                  SODFHG               
                3ODLQWLII                
                               
                        3//&        
                      SRGFDVW     
SHUVRQDOO\    SK\VLFDOO\                           
                                                          Armistead App. 0879
                                                               3DJH

                           SUHOLPLDU\     
                             
       SRVWHG                  SUHOLPLQDU\    
                  SUDFWLWL              
          SRVWLQJ                 SUHSDUDWLRQ    
                  SUHDGROH             
      SRVWSRQLQJ              SUHSDUH        
               SUHDGROH              
         SRWHQWLDO            SUHSDUHG       
                                
                 SUHFDXWLRQV              
                                     
               SUHFLVH                 SUHVHQWD
                    SUHSDUHV        
SROOHQ                           SUHVHQWHG
SRRU                   SUHSXEHUWDO    
         SRWHQWLDOO\                   
SRRUO\                                 
                                     
SRSXODWLRQ                                SUHVHQWLQJ
      SRZHU                      
         SUDFWLFH               SUHV     
                     SUHVFULEH     SUHVHQWO\
              SUHFLVHO\            
                                SUHVHUYD
                                  
                SUHFRFLRXV               
SRSXODWLRQV                            
                                 
SRUWLRQ                                SUHVHUYH
                                     
                  SUHFRQGL    SUHVFULEHG    SUHVV 
SRUWLRQV                            
                                   SUHVVXUH
SRVVLELOLW\                              
                                 
                  SUHGRPLQ             SUHVVXUHG
                            SUHVFULELQJ    
               SUHIHU          SUHVVXUHV
SRVVLEOH                                 
                                  SUHVWLJLRXV
                                  
                 SUHIHUHQFH              SUHVXPDEO\
                                      
                                   SUHWW\ 
               SUHJQDQF\      SUHVFULS   SUHYDOHQFH
                                 
          SUDFWLFHV                       SUHYHQW
                                 
3RVVLEO\                SUHJQDQW       SUHVHQFH       
                                   
3RVW                    SUHVHQW        
       SUDFWLFLQJ                      SUHYHQWV
                                                           Armistead App. 0880
                                                                3DJH

                 SURIHVVL   SURWHFW      
          SUREOHP                  SURWHFWLQJ       
SUHYLRXV                SURIHVVL             
                        SURWRFRO        
                   3URIHVVRU                
                                       
                           SURWRFROV       
         SUREOHPV                    
SUHYLRXVO\              SURILOH       SURYLGH     
          SURFHGXUH                      SV\FKROR
                SURILOHV              
         SURFHGXUHV                         
                   SURJUDP                SV\FKRORJ\
                           SURYLGHG        
          SURFHHG                      SV\FKRWK
SULPDU\               SURJUDPV                 
                                        
                   3URJUHVV                
SULPDWHV       SURFHHGHG                         
                   SURJUHVVHV           SXEHUWDO
SULRU     SURFHHGLQJ                        
                SURKLELWHG            
                                       
                  SURORQJHG     SURYLGHU        
         SURFHVV                            
                                    SXEHUW\
                    SURPLQHQW               
                                     
                                  
                                       
          SURGXFWLYH     SURPLVHG                
                                     
          SURGXFWV       SURPRWLQJ                
                           SURYLGHU V      
          SURIHVVLRQ     SURQRXQFHG             
                            SURYLGHUV       
          SURIHVVL    SURQRXQV                
                                   
               SURQXQFL           
SULRULW\                                 
                   SURSRUWLRQ              
SULYDF\                                
                SURSRUWL             
SULYDWH                          SURYLVLRQV      
                SURSRVDO                 
SUREDEO\                  SV\FKLDWULF     
             SURSRVHG                
                             SV\FKLDW     
                   SURSRVLQJ             
                                   
                   SURSRVLWLRQ   SV\FKLDWU\      
                                       
                          SV\FKROR     
                                                        Armistead App. 0881
                                                             3DJH

                         
                       
     SXEOLF                     
                         
                              
                                
     SXEOLFDWLRQ                   
                 SXUVXDQW         
           SXUVXH          
              SXVK               
                             
               SXW             
                            
                            
                                 
                                
     SXEOLFDW                 
                               
                            
                               
                                 
                              
                              
                            
    SXEOLVK                         
                                    
     SXEOLVKHG      SXWV              
           SXWWLQJ            
                            
                                  
                       4                 
             TXDOLILF            
                                   
             TXDOLILHG              
                                 
        SXEOLVKLQJ     TXDOLILHV           
                             TXHVWLRQHU
               TXDOLI\              
                      TXHVWLRQLQJ
       SXOOHG    TXDOLWDWLYH            
                             
       SXUSRVH        TXDOLW\             
                                
                            
                              
                                 
              TXDQWLWDWH              
                                
              TXDUWHUV           
                              TXHVWLRQV
             TXHVWLRQ               
                                
     SXUSRVHV                         
                                                           Armistead App. 0882
                                                                3DJH

                                   
                           UHDFKLQJ        
                 UDLVHV              
                   UDQ      UHDG       
              UDQGRP                
                                     
                  UDQJH             
                                  
                                  
                                 
                               UHDG\ 
                UDQJHG                    
                                     UHDO 
               UDQN            
TXLFN             UDSLG                UHDOL]H
                                  
TXLFNO\                            UHDOO\ 
                                      
TXLWH             UDSLGO\              
               UDUH                
                                  
                                     
                                   
                  UDUHO\                    
TXRWDWLRQ                                 
                 UDULW\                    
TXRWH                             
                UDWH                 
                              
                                   
                                
                                
                                  
               UDWHV           
     TXRWHG                       
      TXRWHV                     
                                 
     TXRWLQJ        UHDVN           
                                   
                                    
                              UHDGLO\         
             5                        
       5                UHDGLQJ     
                                  
                  UHUHDG             UHDOP 
     UDFHV                       UHDVRQ 
     5DFKHO      UHUHDGLQJ               
                                         
      5DG\     UHDFK              
      UDLVH             UHDGV    UHDVRQDEOH
                                    
        UDLVHG                  
               UHDFKHG               
                                                          Armistead App. 0883
                                                               3DJH

                             
                           UHIXVH
                                   
         UHFDOOLQJ                      UHIXVLQJ
                                
                          UHIHUHHG      UHJDUG 
         UHFHLYH                   
                                 
                           UHIHUHQFH      
       UHFHLYHG                      
                                      
UHDVRQDEO\                             
                                      
UHDVRQLQJ                               
      UHFHSWLRQ                       
                                 
UHDVRQV        UHFLWHG                          
                         UHIHUHQFHG     
         UHFRJQL]                     
UHEXWWDO                       UHIHUHQFHV     
        UHFRJQL]H                     
                          UHIHUUDO       
                                
          UHFRJQL]HG     UHFRUGHG      UHIHUUHG       
                                  
         UHFROOHF                     
                                    
                                    UHJDUGLQJ
                      UHIHUULQJ      
       UHFRPPHQG      UHFRUGLQJ               
                                
                                     UHJDUGV
       UHFRPPHQ                     
UHFDOO                             UHJLPHQ
                                  
                            UHJLRQDO
                                    
                                UHJLVWU\
                       UHIHUV     
                  UHFRUGV             
         UHFRPPHQ                       
                               
                                  
                                    
                   UHFUXLWHG           UHJXODU
          UHFRPPHQGHG                      
                   UHFUXLWPHQW           UHJXODUO\
         UHFRPPHQ                       
               UHG      UHIOHFW        
          UHFRQFLOH      UHGDFWHG                
                          UHIOHFWLYH    5HLQKDUGW
         UHFRUG    UHIHU                
                         UHIUHVK        
                                                            Armistead App. 0884
                                                                 3DJH

UHODWH     UHO\LQJ                            
                                   
UHODWHG    UHPDLQ                        
                                    
                                      
                                   
                                    
UHODWHV    UHPDLQGHU                       UHSUHVHQW
UHODWLQJ                                  
          UHPHPEHU                    
                                    
                                         
                                        
                                     UHSUHVHQ
UHODWLRQ                         UHSRUWHG         
                   UHSHDWLQJ            UHSUHVHQWHG
UHODWLRQ                              
                     UHSKUDVH       UHSRUWHU    UHSUHVHQ
                                       
                  UHSRUW          UHSURGXF
                                
                                 UHSURGXF
                                   
UHODWLRQ                           
                              
                                 
UHOHDVHG                               UHSXWDWLRQ
         UHPHPEHULQJ                     
UHOHYDQFH                                   
         UHPLQG                           
                                       
UHOLDELOLW\    UHPLQGLQJ                    
                                        
UHOLDEOH       UHPRWH                    UHTXHVW
                                 
          UHPRWHO\                        UHTXHVWV
                                        
UHOLHYH        UHPRYH                     UHTXLUH
                                    
                              
          UHPRYHG                        
                             UHSRUWHU V      
          UHPRYLQJ                           
UHO\                         UHSRUWLQJ       
                                UHTXLUHG
          UHQGHUHG                        
                                  
                                   
         UHQHZ           UHSRUWV     
       UHQRXQFH                           UHTXLUHPHQW
                                      
         UHSHDW                       
                                     
                                                           Armistead App. 0885
                                                                3DJH

UHTXLUHP                            
                                   
UHTXLUHV       UHVSHFWHG     UHYLHZ               
                              5REHUWD 
                            
                                    
                             5RJHU 
                                       
                                     
UHVHDUFK                                  UROH 
        UHVSHFWLYH                       
                                     
     UHVSRQGHG     UHYLHZHG                  
                                   
      UHVW                           
                               UROHV 
       UHVWDWH                        URRP 
                                      
       UHVWLQJ                         
                               
       5HVWRUD\                         
                                     
       UHVWULFW                        
                                     
          UHVWURRPV     UHYLHZLQJ                 
                                   
      UHVXOW    5(9,(:6                  URXJKO\ 
                                      
                  UHYLVH                   URXWLQHO\
                                     
                                     UXOH 
                                 UXOHV 
          UHVXOWHG                           
                   ULJKW                
          UHVXOWLQJ                      UXQ 
UHVHDUFKHUV                                
          UHVXOWV                      UXQQLQJ
                                
                                  UXQV 
                                     
       UHVXPH                            
                           ULJRU      
UHVHUYDW                            
         UHVXPLQJ             ULJRURXV       UXVK 
                                UXVKHG
       UHWUDFW                 ULVN     
UHVHUYH                                    
          UHWXUQLQJ                       UXVKLQJ
UHVLGHQFLHV                               
           UHYHUVH                 
UHVLGHQF\                                       6
       UHYHUVLEOH             ULVNV     V  
UHVSHFW                                 
                                                           Armistead App. 0886
                                                                3DJH

                  VFDQV              
               VFKHGXOHG                
6DEDU                                
6DGUD             VFKRRO    VFLHQWLVWV      
                                   
VDIH                     VFRSH       
                                   
                             VHFRQGDU\
                                  
                         6FRWW        
         VD\V             6FRWWVGDOH      
                             VHFRQGV
                       VFUHHQ     
                                
                    VFUHHQLQJ       
                               
                   VFUROO    VHFUHWLRQ
                            VFURWXP         
                                  VHFWLRQ
                      6&58**6      
VDIHU                   VH           
VDIHW\                                   
                           VHD        
                    VFKRROV                 
                           VHDOLQJ     
                       VHDUFK      
                      VHDVRQ         VHH 
                                       
                VFLHQFH                   
                 VHDW       
                                     
VDOHV                        6HDWWOH         
6DQ                                    
                         VHFRQG      
6DUJHQW V                                
                    VFLHQFHV                  
VDWLVI\                                      
                VFLHQWLILF               
                                  
VDZ                                   
                               
                                        
                                       
                                    
VD\LQ                VFLHQWLI             
VD\LQJ                              
                                
                            
                                      
                                    
                                
                   VFLHQWLVW               
          VFDOH                       
                                                          Armistead App. 0887
                                                               3DJH

                                   
                                        
                                  
                                
                                
                                    
                     VHQWHQFHV        
                                       
                      VHSDUDWH         
                                  
                          VHTXHQFH         
                                   
                                      
                       VHULHV      
                         VHULRXV          
                                     
                          VHULRXVO\        
                                       
                           VHUYH        
                                   
           VHOHFW    VHUYLFH          
                VHOI                  
                 VHPLFRORQ      6HUYLFHV          
                                      
                       VHUYLQJ          
              VHQVH                 
                          VHW        
                                 
                VHQW                
              VHQWHQFH       VHWWOLQJ         
                                
                          VHYHQ       
                         VH[         
                                   
                                   
                                    
       VHHLQJ                   
                            
                                     
                              
                                    
                                 
                                
                                  
    VHHNLQJ                      
                               
                                      
                                
       VHHQ                     
                                
                              
                            
                                     
                                                            Armistead App. 0888
                                                                 3DJH

                VLJQLILFDQW               
         VKLIWV                          
                                     VRFLDO 
         VKRUW                     
6H[*HQGHU                    VLW       
                                    
VH[HV     VKRZ                         
                                
                                    
VH[XDO                       6LWWLQJ     
                         VLWXDWLRQ       
                                     
                             VLWXDWLRQV      
                                
                    VLJQLILF               
       VKRZLQJ              VL[         
                   VLJQLQJ              
                VLJQV              
        VKRZQ                          
                                     
                                  
     VKRZV     VLPLODU                  
                                
       VKXIIOH                 6L[WHHQ         
                                      
         VKXIIOLQJ               VL[WK      
                              VL]H      
                                
         6KXPDQ               6NHHPVPD       VRFLDOO\
                   VLPLODUO\                
          VLFN                           
          VLGH                VNHOHWRQ        
VH[XDOJ                                  
                  VLPSOH         VNLOO      
VH[XDOO\                          VNLOOV          
                                     
                  VLPSO\              VRFLHWLHV
                             VNLQ        
                            VNLS      VRFLHW\ 
VKDUH                                   
                             VNLSSHG         
               6LPXODWLRQ               
                             6OLFHU      
                  6LQDL                 
                             VORSH       
VKDUHG    VLGHWUDFNHG    VLQJOH    VORZ       
VKDWWHULQJ                                 
          VLJQ             VORZHG     
          VLJQHG              VORZO\     
VKHHW      VLJQLILF             VPDOO       
                          VPDOOHU     
                                         
VKLIWHG                            VRFDOOHG       
                                                        Armistead App. 0889
                                                             3DJH

                                
                                   
                             
                                   
                         VSHDNHU        
                VRUWV             VSHFWUXP
                               
                           VSHDNHUV       
                                   
                VRXJKW    VSHDNLQJ      VSHFXODWH
                                 
           VRXQG           VSHFXODWLQJ
                                    
                              VSHFXODWLRQ
                                
                                VSHHG 
                           VSHOOHG
                VRXQGHG                 
                                  
               VRXQGV    6SHFLDOLVW    VSHQG 
                                    VSHUP 
                       VSHFLHV       VSOLW 
                           VSRNH 
                                  
                          VSHFLILF       
6RFLHW\ V            VRXUFH               
                               VSRUW 
VRPHERG\                                 
                                  
                            
                                   
                                    
                                  
                               
VRPHRQH V                          
                 VRXUFHV                  
                               
                VRXWK              VSRUWLQJ
                                   
VRPHZKDW              6RXWKHUQ             
                                   VSRUWV 
               VSDQ                
               6SDUNLQJ                 
VRQ                                
            VSDWLDO                  
VRRQ                              
                           
VRUU\            VSHDN               
                   VSHFLILF    
     VRUW                 
                                 
                                   
                                
                                                            Armistead App. 0890
                                                                 3DJH

VSRUWVU                       VWDWHV      VWUDZEHUU\
         VWDQGLQJ                       
VSRW                                 6WUHHW 
VSULQWV                                    
         VWDQGV                        
VSXUW                                  VWUHQJWK
        6WDSKRUVLXV    VWDWHG    VWDWLQJ     
                          VWDWLVWLFDO     
VTXDUH                               
         VWDUW                VWDWLVWL     
6UXWL                                   VWUHQJWKV
                             VWDWXUH         
VWDFN              VWDWHPHQW                VWULYH 
VWDJH                      VWDWXV         VWURQJ
                                       
                         VWDWXWHV       VWURQJHU
                               
                           6WHHPVPD       VWURQJO\
                               
                           6WHHP]D        VWUXFWXUH
      VWDUWHG                          
                         VWHPPLQJ       VWUXFWXUHG
                                  
                          VWHSV      VWUXJJOH
                                   
     VWDUWHUV                       VWUXJJOLQJ
                         6WHSWRH      
         VWDUWLQJ              VWHULOL]LQJ    VWXGHQWV
                                   
                          VWLSXODWHG      
                                      
                        VWLUUHG        VWXGLHG
                                
VWDJHV                    6WRFN     VWXGLHV
                           VWRPDFK          
          VWDUWV                           
VWDQG                          VWRS       
                                      
                                   
VWDQGDUG       VWDWH                       
                                 
                               
                                        
                                       
                       VWRSSHG         
                                       
                                   
                             VWRSSHU         
VWDQGDUGV                               VWXG\ 
                   VWDWHPHQWV     VWUDLJKW         
                                     
                           VWUDZEHU     
                                    
                                                            Armistead App. 0891
                                                                 3DJH

                                      
                                  
          VXEVWDQW    VXLFLGDOLW\              
                                  VXUJHRQV
      VXEVWLWXWH              VXSSUHVVHG      
                                      VXUJHULHV
          VXFFHVV                            
                VXLFLGH                 VXUJHU\
         VXFFHVVIXO            VXSSUHVVLQJ     
                                      
                                
         VXIIHU                      
                                  
                       VXSSUHVVLRQ     
                                 
                              VXUJLFDO
                                
                 VXLFLGHV                  
                                      
                    VXLW               VXUSDVV
                6XLWH               
                                 
          VXIIHUHG       VXPPDUL]HV           VXUSULVLQJ
                                    
                VXPPDUL]LQJ    VXUH    VXUYH\ 
                                   
                                      6XVDQ 
                  6XPPDU\            
6WXWOHU                                VXVSHFW
                 683(5,17               
VW\OH    VXIIHULQJ                          6ZDPLQDWKDQ
VXEMHFW                  6XSHULQW               
                                     
                                  VZHDU 
                                     
                   VXSSRUW                  VZLPPHU
VXEMHFWLYH     VXIIHUV                           
                                    
VXEPLVVLRQ                              VZLPPLQJ
                                      
VXEPLWWHG      VXIILFLH    VXSSRUWHG                 
                               
       VXJDU                       VZRUH 
         VXJJHVW                         
                   VXSSRUWLQJ               VZRUQ 
                                      
                  VXSSRVHG                V\PSWRP
          VXJJHVWLRQ                           
VXEVHTXH                                 V\PSWRPV
         VXJJHVWV                          
VXEVWDQFH                VXSSUHVV              
                                 
VXEVWDQWLDO    VXLFLGDO                         
                                                            Armistead App. 0892
                                                                 3DJH

V\QGURPH                                   
                                 WHOOV 
                                     
                                 
V\VWHP                                
                WDONV             
                                 WHQ 
                   7DQQHU            
V\VWHPDWLF                        WHDPV      
                                WHQGHG 
                       7HHQDJH        WHQGV 
                                      
                       WHHQV    WHUP 
                              
                                        
      7                               
7                                 
WDE    WDNHQ                      
                        7HMZDQL      
                                   
          WDNHV          WHOO        
      WDON                    
                                     
                               
                             
               7DUD                
                                       
                                      
                                        
                   WDUJHW                    
      WDONHG                      WHUPHG 
                  WDVN               WHUPLQRORJ\
                  WDXJKW                   
                                       
WDEOH     WDONLQJ                    
                                       WHUPV 
                WHDFKHU                   
WDNH                                   
                WHDFKHUV                 
                                   
               WHDP                 
                                 
                                   WHUULEOH
                                   
                                      
                                    
                                  
                                  WHUULWRU\
                                    
                                   WHVW 
                         WHOOLQJ     
                                     WHVWHG 
                                      
                                                          Armistead App. 0893
                                                               3DJH

                                    
WHVWHV                                 
WHVWLFOHV                                
                                     
WHVWLFXODU                               
                                   
WHVWLILHG                                 
               WKHUDSLHV               
                               
                       WKLQN     
                                    
                             
                 WKHUDS\              
                             
                             
        WHVWV                        
                               
     7H[DV    WKLQJ           
        WH[W                     
                                      
WHVWLI\       WH[WERRN                      
                                 
WHVWLI\LQJ    WKDQN                      
                              
WHVWLPRQ\                                
           WKLQJV              
                                    
                            
                                  
                                       
                                  
                                   
                                  
                                
                                   
                                  WKLQNLQJ
                                    
                                    
WHVWLQJ                                 
                                  
                                
WHVWRVWH                                
                                WKLQNV
                                     
                               WKLUG 
                                 
                                   
                                
                                      
                                  
                                   
                                   
                                    
                                                         Armistead App. 0894
                                                              3DJH

       WKUHZ                 
          WKURZLQJ                        
7KRPDV                              
         WKURZQ                       
                             
         WLH                    
       WLHG                       
         WLJKWO\                        
                                   
      7LN7RN                         
                               
7KRPDV V       7LN7RN            WLPHG    7RGD\ V
                     WLPHIUDPH       
WKRURXJK       WLPH                        WROG 
                                   
WKRURXJKO\                  WLPHV       
                                 7RPP\ 
                                   
WKRXJKW                             WRQH 
                                WRRO 
                         WRS 
                              
                                 
                                  
                                
WKUHH                    WLPHVSDQ        
                                
                    WLPLQJ          
                                
                             
                              
                      7LPRWK\     
                              
                         WLUHG    WRSLF 
                           WRSLFV 
                                    7RUUL 
                         WLVVXHV    WRWDO 
                       WLWOH      
                           
                                  WRWDOO\
                                   
                          
                         WLWOHG    WRXFK 
                                WRXJK 
                                   
                                 
                              
                      WRGD\      WUDFN 
                              
WKUHHTX                           WUDFNHG
                                    
WKUHHVH                             WUDLO 
                                   WUDLQHG
                                                           Armistead App. 0895
                                                                3DJH

                                  
                                 
WUDLQLQJ                                    
                                 
                                      
                  WUDQVLWL              
                             
                                    
                                   
7UDQV                                
WUDQVFULEHG                             
                 WUDQVLWLRQV              
WUDQVFULSW                          
                                   
                   WUDQVVH[XDO            
                            
                              
                  WUDXPD               
              WUHDGLQJ       WUHDWPHQWV      
                                    
                  WUHDW                
                            WUHDWV     
                       WULDO      
WUDQVFUL                              WUXLVP
                         WULDOV          
                                    WUXO\ 
WUDQVJHQGHU                           WUXVW 
                                   
                         WULFN\         WUXVWLQJ
                              
                WUHDWHG        WULHG    WUXWK 
                                        
                         WULJJHU         
                                  WU\ 
                          WULPHVWHU       
                                
                                       
       WUDQVJHQ                        
                           WURXEOH         
      WUDQVJHQ                     
                            
       WUDQVLWLRQ                      WU\LQJ 
                             
                                 
              WUHDWLQJ       WURXEOHV        
                                    
                        WUXH       
                WUHDWPHQW                 
                                   
                                   
                                      
                                     
      WUDQVLWL                     
                                                          Armistead App. 0896
                                                               3DJH

                       7<521       
                                           
                              8        
                          8           
                       8&/$       
                    8KKXK          
                                
                                
                             
                         XOWLPDWH        
                               
                     XOWLPDWHO\      
                                 
                       XOWUDVRQ     
      7XUQHU    WZRSDJH                  
                    XOWUDVRXQG      
                              
             WZRWKLUGV              
     WZLFH                       
      WZR               XQDEOH      
               W\SH     XQEURNHQ        
                                 
                       81&       
                        XQFKDQJH     
                           
            W\SHV    XQFODULW\       
                W\SHZULWWHQ              
                       XQFOHDU         
                W\SLFDO                 
                      XQFRPIRU     
                                
                                  
                     XQGHUJR         
                              
                             
                                  
                                 
7U\RQQ                       XQGHUJRQH      XQGHUVWD
7XUEDQ                              
             W\SLFDOO\     XQGHUOLQH      XQGHUVWD
                              
WXUQ                      XQGHUO\LQJ       
                                 
                        XQGHUPLQHG       
                               
                      XQGHUVLJQHG     
                                   
                       XQGHUVWDQG      
                                
                                  
                              
                                
                                   
                                                          Armistead App. 0897
                                                               3DJH

                                YHUEDO
        XQNQRZQV                YDULDEOHV      
                              YHULILHG
         XQPXWHG                        
                                 YHULI\ 
       XQUHDVRQ                    
                                   
                         YDULDEO\       
                                  
                    YDULDWLRQ     YHULOL]D
                                 
                                   
                               9(52)) 
        XQUHODWHG                   YHUVD 
                                    YHUVLRQ
         XQVWDEOH                      
                                    YHUVXV 
         XQWUHDWHG               YDULDWLRQV     
                                    
        XQXVXDO                      
                                   
        XQZLOOLQJ                         
                                     
        XSWRGDWH                         
                                   YHUWHEUDWH
XQGHUVWRRG    XSGDWH         XVHIXO               
                         YDULHG         
        XSSHU                  YHVVHOV 
        XSV                 YDULHV         
XQGXO\                                   YLFH 
        XSVLGH                          YLGHR 
XQHTXDO                XVHV                 
         85/                         
XQHWKLFDO     XVH        XVXDOO\    YDULHW\        
                            
XQLQLWLDWHG                           
                                YLGHRFRQ
8QLRQ                              
8QLWHG                            9,'(2*5$
                                           
XQLYHUVL                   9        YDULRXV        
                  9                   
XQLYHUVLW\              YDOXH              
               YDULDELOLW\             
                               
          YDULDEOH       YDUVLW\        
                                      
                           YDU\       
                                   
                                      
XQNQRZQ                       YDVW     
                           YHQWXUH        
                                    
                                                            Armistead App. 0898
                                                                 3DJH

                                     
        YLVLW                         
YLGHRWDSH            ZDONLQJ                  
                               
9,'(27$3('                                
                  :DOO                  
                  :DOWHU     ZDQWV      
YLGHRWDSLQJ                                
          YLVXDO         ZDQW    ZDUQ       
YLHZ                                 
                  ZDUQHG     
          YLWDH              ZDUQLQJ         
                                      
                          ZDUQLQJV        
                                   
         YRLFH                       
                                      
                                       
                                    
                          :DVKLQJWRQ      
                                
                                  
                                    
                             
                         ZDVQ W          
                                  
YLRODWLQJ                                   
                                  
9LUJLQLD    YRLFHV                      
                                    
                                  
        YROXPH                       
       YROXQWDULO\                     
                       ZDWFK     ZD\V 
          YV                               
                               ZDWFKIXO        
             :                         ZH OO 
      :                           
          :                           
         ZDLW            ZDWHU     
                                    
                          ZDYH       
                                      
                                    
       ZDLWLQJ                  ZD\       ZH UH 
                                  
                                 
          ZDLYHG                    
                                        
YLVLEOH    ZDON                       
                                    
         ZDONHG         ZDQWHG               
YLVLRQ                                     
                                                         Armistead App. 0899
                                                              3DJH

                   ZLGHO\            
          ZHLJKW                          
                             
                   :LOH\           
          ZHLJKW\        :LONLQVRQ             
                               
         ZHOFRPH               
                                 
                               
         :HOOQHVV                      
                                  
         ZHQW     ZLOOLQJ                 
                               
          ZHUHQ W                  
                                
                                  
                  ZLWQHVV              
         :HVW                      
                            
                              
                            
                             
                               
                               
                            
                            
                             
                                  
                              
ZH YH                        
                              
                              
                                
                             
ZHDNQHVVHV                         
                                  
ZHDU                             
ZHE                             
:HESDJH    ZHWWLQJ                  
                            
ZHEVLWH    :KLWH                    
          ZKR YH                     
                            
         ZKROLVWLF                  
:HGQHVGD\                           
            ZKROO\                
ZHHN       ZLGH                    
                                
                               
ZHLJK                               
                               
                           
ZHLJKHG                                 
                                                      Armistead App. 0900
                                                           3DJH

                          
                       
                              
                        
                      ZRPHQ V
                         
                         
                       
                        
                     
                         
                     
                            
                       
                           
                        ZRQGHU 
                         ZRUG 
                      
                            
                         
                        
                           
                   ZLWQHVV V        
                          
               :,71(666       
                                  
              ZLWQHVVHV       
                                
                            
               :,71(666        
                              
                            
                           
                       
                            
                          
                        
                   :1<&      
                           
                           
                            
                ZRPDQ      
                              ZRUGV 
                           
                         
                 ZRPDQ V      
                    ZRPHQ      
                       
                          
                           
                      
                            
                          
                                                            Armistead App. 0901
                                                                 3DJH

                                  \RXQJ 
ZRUN                                    
                    ;2                   
                    ;;               
                                   
                                    
                                      
                                   
                                   
                    ;<        \HDU       
                                
         :3$7+                  
                                 
                                
          ZULWH                        
                                      
                                   
          ZULWHV                         \RXQJHU
                                           
          ZULWLQJ               <               
                   <                \RXWK 
                                     
                \DUG                
ZRUNHG                                  
                   \D\                
ZRUNHU         ZULWWHQ                    
                                 
                                    
                                   
:RUNHUV                                  
                          \HDU V          
ZRUNLQJ        ZURQJ     \D\V               
                    \HDK      \HDUV      
                          
ZRUNV                                      =
                                        =2( 
                                  =XFNHU 
          ZURWH                      
:RUOG                                  
                                 ]\JRWH 
                                    
                                      
ZRUULHG                                  ]\JRWHV
         :9                       
ZRUU\                       
ZRUVH    ZZZZKR                              
                            
ZRUWK     :\DQW                               
                                         
                                              
               ;                              
         ;            <HS          
ZRXOGQ W                          <RUN       
                                                            Armistead App. 0902
                                                                 3DJH

                         
                           
                                    
                              
                          
                                
                         WK       
                                
                                 WK 
                             
                                        
                         
                      
                                  
                        
                                       
                           
                               
                            &9
                                      
                                       
                             
                                
                                  
                                 
                     
                                 
                           
                       
                                
                           
                       
                              
                               
                                   
                           
                                     
                       
                             
                           
                              
                                
                           
                          
                              
                         
    WK                      
                           
                                
                            
                           
                               
                              
                                                            Armistead App. 0903
                                                                 3DJH

                             
                   
                    
                                 
                             
                       
                                      
                  
                   
                                  
       WK                 
                               
                           
                                       
                                  
                           
                                
                          
                                  
                                
                           
                                
                                   
                         
                                     
                            
                                    V 
                             
                             
                          
                             
           VW                       
                                
                                   
                        
                              
                             
                             
                                 
                              
                                 
                               
                               
                          
                          
                                   
                            
                                  
                             
                                
                            
                                               
                                         
                                                           Armistead App. 0904
                                                                3DJH

                       
                       
                         
                          
                     WK 
                         
                       
                       
                       
                       
                     
                      
                          
                        
                    
                        
                                
                            
                          
                     
                 
                 
                  
                
                 
                         
                         
               
              
                 
                    
                    
               
              
                  
               
             
             
                 
                     
                
          
                        
                  
                    
              
                
                
                            
                       
WK               
                          
                         
                                                   Armistead App. 0905

                                                            3DJH
,17+(81,7('67$7(6',675,&7&2857

)257+(6287+(51',675,&72):(679,5*,1,$

&+$5/(6721',9,6,21

       

%3-E\KHUQH[WIULHQGDQG

0RWKHU+($7+(5-$&.621

3ODLQWLII &DVH1R

YV &9

:(679,5*,1,$67$7(%2$5'2)

('8&$7,21+$55,621&2817<

%2$5'2)('8&$7,21:(67

9,5*,1,$6(&21'$5<6&+22/

$&7,9,7,(6&200,66,21:

&/$<721%85&+LQKLVRIILFLDO

&DSDFLW\DV6WDWH6XSHULQWHQGHQW 9,'(27$3('

'25$6787/(5LQKHURIILFLDO 9,'(2&21)(5(1&(

&DSDFLW\DV+DUULVRQ&RXQW\ '(326,7,21

6XSHULQWHQGHQW3$75,&.0255,6(< 2)

,QKLVRIILFLDOFDSDFLW\DV $521-$166(10'

$WWRUQH\*HQHUDODQG7+(67$7( $SULO

2):(679,5*,1,$

'HIHQGDQWV

$Q\UHSURGXFWLRQRIWKLVWUDQVFULSW
LVSURKLELWHGZLWKRXWDXWKRUL]DWLRQ
E\WKHFHUWLI\LQJDJHQF\
                                                                                                     Armistead App. 0906
                                                       3DJH                                                       3DJH
    9,'(27$3('9,'(2&21)(5(1&('(326,7,21                $33($5$1&(6 FRQW G
    2)                              
    $521-$166(10'WDNHQRQEHKDOIRIWKH'HIHQGDQW          '$9,'75<21(648,5(
    6WDWHRI:HVW9LUJLQLDKHUHLQSXUVXDQWWRWKH5XOHVRI        6WDWH&DSLWRO&RPSOH[
    &LYLO3URFHGXUHWDNHQEHIRUHPHWKHXQGHUVLJQHG/DFH\       %XLOGLQJ5RRP(
    &6FRWWD&RXUW5HSRUWHUDQG1RWDU\3XEOLFLQDQGIRU        &KDUOHVWRQ:9
    WKH6WDWHRI:HVW9LUJLQLDRQ7KXUVGD\$SULO        &2816(/)2567$7(2):(679,5*,1,$
    EHJLQQLQJDWDP                                     
                                                                   52%(57$)*5((1(648,5(
                                                                 6KXPDQ0F&XVNH\6OLFHU3//&
                                                                 9LUJLQLD6WUHHW(DVW
                                                                 6XLWH
                                                                 &KDUOHVWRQ:9
                                                                 &2816(/)25:(679,5*,1,$6(&21'$5<6&+22/
                                                                 $&7,9,7,(6&200,66,21
                                                              
                                                                 686$1'(1,.(5(648,5(
                                                                 6WHSWRH -RKQVRQ
                                                                 :KLWH2DNV%RXOHYDUG
                                                                 %ULGJHSRUW:9
                                                                 &2816(/)25+$55,621&2817<%2$5'2)('8&$7,21DQG
                                                                 +$55,621&2817<683(5,17(1'(17'25$6787/(5
                                                              
                                                              



                                                       3DJH                                                       3DJH
     $33($5$1&(6                       $33($5$1&(6 FRQW G
                                                                

     -26+8$%/2&.(648,5(                                         .(//<&025*$1(648,5(
     $PHULFDQ&LYLO/LEHUWLHV8QLRQ)RXQGDWLRQ                     %DLOH\:\DQW
     %URDG6WUHHW                                              9LUJLQLD6WUHHW(DVW
     1HZ<RUN1<                                           6XLWH
     &2816(/)253/$,17,))                                     &KDUOHVWRQ:9
                                                                   &2816(/)25:(679,5*,1,$%2$5'2)('8&$7,21DQG
     .$7+/((15+$571(77(648,5(                                 683(5,17(1'$17:&/$<721%85&+
    $1'5(:%$55(648,5(                                      
    (/,=$%(7+5(,1+$5'7(648,5(                                 5$&+(/&6872526(648,5(
    9$/(5,$03(/('(/7252(648,5(                            $OOLDQFH'HIHQGLQJ)UHHGRP
    &RROH\//3                                                  1RUWKWK6WUHHW
    (PEDUFDGHUR&HQWHUWK)ORRU                             6FRWWVGDOH$=
    6DQ)UDQFLVFR&$                                &2816(/)25,17(59(125/$,1(<$50,67($'
    &2816(/6)253/$,17,))                                
                                                                 75$9,6&%$5+$0(648,5(
    6587,6:$0,1$7+$1(648,5(                                   /$:5(1&(:,/.,1621/$:&/(5.
    /DPEGD/HJDO                                                 +XUULFDQH6KRDOV5RDG1(
    :DOO6WUHHWWK)ORRU                                  6XLWH'
    1HZ<RUN1<                                     /DZUHQFHYLOOH*$
    &2816(/)253/$,17,))                                    &2816(/)25,17(59(125/$,1(<$50,67($'
                                                              
                                                              



                                                                                                  3DJHVWR
                                                                                                  Armistead App. 0907
                                                3DJH                                                      3DJH
    ,1'(;                          (;+,%,73$*(
                                                            
    ',6&866,21$021*3$57,(6       3$*(
    :,71(66$521-$166(10'                                180%(5'(6&5,37,21,'(17,),('
    (;$0,1$7,21                                                6WXG\E\*LEVRQHWDO
    %\$WWRUQH\%DUKDP       (UUDWD6KHHW
    (;$0,1$7,21                                                $UWLFOHE\7RUGRIIHWDO
    %\$WWRUQH\7U\RQ       $UWLFOHE\$P\*UHHQHWDO
    &(57,),&$7(       $UWLFOHE\7XUEDQHWDO
                                                             $UWLFOHE\$FKLOOHHWDO
                                                             $UWLFOHE\.XSHUHWDO
                                                             $UWLFOHE\YDQGHU0LHVHQHWDO
                                                             $UWLFOHE\'H9ULHV
                                                             $UWLFOHE\%LJJV
                                                             $UWLFOHE\&RVWDHWDO
                                                             $UWLFOHE\(GZDUGV/HHSHU
                                                             $UWLFOHE\(GZDUGV/HHSHU
                                                             ,QWHUYLHZE\/LVD6HOLQ'DYLV
                                                             /DEHORI/XSURQ
                                                             3XEHUW\%ORFNHUV'RFXPHQW
                                                             (QGRFULQH6RFLHW\ V*XLGHOLQHV
                                                             $UWLFOHE\%ODNHPRUH
                                                             $UWLFOHE\*XVVHWDO
                                                             $UWLFOHE\0RVHVRQHWDO


                                                3DJH                                                      3DJH
    (;+,%,73$*(                         (;+,%,73$*(
                                                            
    3$*(            3$*(
    180%(5'(6&5,37,21,'(17,),('         180%(5'(6&5,37,21,'(17,),('
    ([SHUW5HSRUW             $UWLFOHE\6WHHQVPD
    (QGRFULQH6RFLHW\ V*XLGHOLQHV             $QDO\VLV
    :RUOG+HDOWK2UJDQL]DWLRQ             $UWLFOHE\5DHHWDO
    +DUYDUG0HGLFDO6FKRRO6WXG\             $UWLFOHE\&DUPLFKDHOHWDO
    $PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQ                 :DVKLQJWRQ3RVW$UWLFOH
   *XLGHOLQHV            2XW6SRUWV$UWLFOH
   /LVD/LWWPDQ6WXG\            $UWLFOHE\7XUEDQHWDO
   6WXG\            $UWLFOHE\5\DQHWDO
   $UWLFOHE\9DQGHQEXVVFKH            $UWLFOHE\.OHLQDQG*ROXE
   $UWLFOHE\/LO\'XUZRRG            )RUP
   6WDWHPHQWE\5R\DO$XVWUDOLDQDQG              
   1HZ=HDODQG&ROOHJHRI                         
   3V\FKLDWULVWV         
   3ROLF\&KDQJH5HJDUGLQJ+RUPRQDO               
   7UHDWPHQWRI0LQRUV         
   $UWLFOHE\/LVD1DLQJJRODQ         
   6WXG\         
   $UWLFOH3XEOLVKHGRQ0HGVFDSHFRP         
   $UWLFOHLQ1DWLRQDO+HDOWK6HUYLFH         
   $UWLFOHE\5REHUWR' $QJHOR         


                                                                                             3DJHVWR
                                                                                                               Armistead App. 0908
                                                                 3DJH                                                      3DJH
         2%-(&7,213$*(                                  =RRPFRQIHUHQFH7KHFDSWLRQLVLQWKH8QLWHG6WDWHV
                                                                              'LVWULFW&RXUWIRUWKH6RXWKHUQ'LVWULFWRI:HVW
         $77251(<3$*(                        9LUJLQLD&KDUOHVWRQ'LYLVLRQ%3-HWDOYHUVXV:HVW
         %ORFN               9LUJLQLD6WDWH%RDUGRI(GXFDWLRQHWDO&LYLO$FWLRQ
                       1XPEHU&97KHQDPHRIWKHZLWQHVVLV$URQ
                       -DQVVHQ:LOOWKHDWWRUQH\VSUHVHQWVWDWHWKHLUQDPHV
                       DQGWKHSDUWLHVWKH\UHSUHVHQW"
                       $77251(<%$5+$00\QDPHLV7UDYLV
                        %DUKDP,UHSUHVHQWWKHLQWHUYHQRUVLQWKLVFDVH$QG
                      ZLWKPHLV/DZUHQFH:LONLQVRQ
                      $77251(<&68725265DFKHO&VXWRURVDOVR
                      IRULQWHUYHQRU
                      $77251(<75<217KLVLV'DYLG7U\RQRI
                      WKH:HVW9LUJLQLD$WWRUQH\*HQHUDO V2IILFH
                      UHSUHVHQWLQJWKH6WDWHRI:HVW9LUJLQLD
                       $77251(<'(1,.(5*RRGPRUQLQJ6XVDQ
                      'HQLNHU&RXQVHOIRU'HIHQGDQWV+DUULVRQ&RXQW\%RDUG
                      RI(GXFDWLRQDQG6XSHULQWHQGHQW'RUD6WXWOHU
                      $77251(<025*$17KLVLV.HOO\0RUJDQRQ
                      EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
                      6XSHULQWHQGHQW%XUFK
                      $77251(<*5((17KLVLV5REHUWD*UHHQ
                                                                    KHUHRQEHKDOIRI:HVW9LUJLQLD6HFRQGDU\6FKRRO
                                                                            $FWLYLWLHV&RPPLVVLRQ


                                                                 3DJH                                                      3DJH
    67,38/$7,21                                  $77251(<%/2&.)RU3ODLQWLII%3-WKLV
                     LV-RVK%ORFNIURPWKH$&/8
     ,WLVKHUHE\VWLSXODWHGDQGDJUHHGE\DQGEHWZHHQ                       $77251(<6:$0,1$7+$17KLVLV6UXWL
    FRXQVHOIRUWKHUHVSHFWLYHSDUWLHVWKDWUHDGLQJ                         6ZDPLQDWKDQIURP/DPEGD/HJDORQEHKDOIRI3ODLQWLII
    VLJQLQJVHDOLQJFHUWLILFDWLRQDQGILOLQJDUHQRW                       $77251(<+$571(77*RRGPRUQLQJ7KLV
    ZDLYHG                                                                  LV.DWKOHHQ+DUWQHWWDW&RROH\RQEHKDOIRI3ODLQWLII
                     $77251(<%$55$QGUHZ%DUUIURP&RROH\
    352&((',1*6                                  RQEHKDOIRI3ODLQWLII
                      $77251(<3(/(7'(/7252*RRGPRUQLQJ
   $77251(<%$5+$0&RXQVHOKDVVWLSXODWHG                 7KLVLV9DOHULD3HOHW'HO7RURIURP&RROH\RQEHKDOIRI
   WKDWRXUFRXUWUHSRUWHUSUHVHQWWKLVPRUQLQJFDQVZHDU                  3ODLQWLII
   LQWKHZLWQHVVVR,ZLOOOHWWKHFRXUWUHSRUWHUWDNH                   $77251(<5(,1+$5'77KLVLV(OL]DEHWK
   FDUHRIWKDW                                                           5HLQKDUGWIURP&RROH\RQEHKDOIRI3ODLQWLII
                                             9,'(2*5$3+(5,IWKDW VHYHU\RQHWKH
   $521-$166(10'                                  ZLWQHVVKDVDOUHDG\EHHQVZRUQLQDQGZHFDQEHJLQ
   &$//('$6$:,71(66,17+()2//2:,1*352&((',1*6$1'                   
   +$9,1*),567%((1'8/<6:2517(67,),('$1'6$,'$6                     (;$0,1$7,21
   )2//2:6                                                                
                                              %<$77251(<%$5+$0
   9,'(2*5$3+(50\QDPHLV-DFRE6WRFN                   4*RRGPRUQLQJ'U-DQVVHQ
   , PD&HUWLILHG/HJDO9LGHR6SHFLDOLVWHPSOR\HGE\                      $*RRGPRUQLQJ
   6DUJHQW V&RXUW5HSRUWLQJ6HUYLFHV7KHGDWHWRGD\LV                  4+DYH\RXHYHUKDGDGHSRVLWLRQEHIRUH"
   $SULOWK7KHWLPHRQWKHYLGHRPRQLWRUUHDGV                   $1R
   DP7KLVGHSRVLWLRQLVEHLQJWDNHQUHPRWHO\E\                   4$OOULJKW


                                                                                                      3DJHVWR
                                                                                                     Armistead App. 0909
                                                   3DJH                                                          3DJH
    , PJRLQJWRDVN\RXDVHULHVRITXHVWLRQV            SURIHVVLRQDOO\FRPSHWHQWLQXVLQJWKH$PHULFDQ
    DERXWWKLVFDVHDQG\RXULQYROYHPHQWLQLW'R\RXU           3V\FKLDWULF$VVRFLDWLRQ V'LDJQRVWLFDQG6WDWLVWLFDO
    EHVWWRDQVZHUDXGLEO\-XVWQRGGLQJWKHKHDGZKLOHLW       0DQXDO'609WRPDNHFKLOGDQGDGROHVFHQWPHWDO
    FDQEHFDSWXUHGRQYLGHRFDQQRWEHFDSWXUHGE\RXUFRXUW       LOOQHVVRUSV\FKLDWULFGLDJQRVHVJHQHUDOO\EH\RQGMXVW
    UHSRUWHUDQGVRZH OOWU\WRPDNHKHUOLIHDVHDV\DV         JHQGHUG\VSKRULD"
    SRVVLEOH                                                      $<HV
    , PJRLQJWRGRP\EHVWWRZDLWXQWLO\RXILQLVK        4'R\RXKDYHDQ\UHVLGHQF\RUIHOORZVKLSLQ
    DQDQVZHUEHIRUHVWDUWLQJWKHQH[WTXHVWLRQ$QG,ZLOO       SHGLDWULFV"
    DVNWKDW\RXGRWKHVDPH:H OOSUREDEO\YLRODWHWKDW         $1R
   UXOHDIHZWLPHVEXWFURVVWDONGRHVQ WWUDQVODWHZHOO       4'R\RXKDYHDQ\UHVLGHQF\RUIHOORZVKLSLQ
   RQWKHUHFRUG6RLI\RXQHHGWRWDNHDEUHDNDWDQ\         HQGRFULQRORJ\"
   WLPHWRGD\SOHDVHOHWPHNQRZDQGZHZLOOGRRXUEHVW        $1R
   WRIDFLOLWDWHWKDWDVTXLFNO\DVSRVVLEOH,NQRZZH         4'R\RXKDYHDQ\WUDLQLQJLQVSRUWVSK\VLRORJ\"
   QHHGWRWDNHDEUHDNDWWZRR FORFN                          $1R
   $,WKLQNDERXWVRPHWKLQJOLNHWKDW       4'R\RXKDYHDQ\WUDLQLQJLQVSRUWVPHGLFLQH"
   42ND\                                                $1R
   <RXMXVWOHWXVNQRZZKHQ\RXQHHGWRWDNHLW       4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\
   $OOULJKW                                                    UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRVSRUWV
   $77251(<%$5+$0, PJRLQJWRVKRZ\RXD      SK\VLRORJ\"
   GRFXPHQWZH UHJRLQJWRPDUNDV([KLELW7KLVZLOOEH      $1R
   7DEIRURQOLQHSXUSRVHV                                   4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\
                                   UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRVSRUWV
    :KHUHXSRQ([KLELW([SHUW5HSRUWZDV      PHGLFLQH"
   PDUNHGIRULGHQWLILFDWLRQ                    $1R


                                                   3DJH                                                          3DJH
                                     4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\
    %<$77251(<%$5+$0                                            UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRPDOH
    47KLVLVDFRS\RI\RXUH[SHUWUHSRUWLQWKLV          SK\VLRORJLFDODGYDQWDJHVLQDWKOHWLFVEHIRUHGXULQJRU
    FDVH                                                          DIWHUSXEHUW\"
    ,VWKDWFRUUHFW"                                      $1R
    $<HVWKDWLVFRUUHFW                                 $77251(<%/2&.2EMHFWLRQWRIRUP<RX
    4,I\RX OOWXUQWRWKHILUVWSDJHRI\RXU&9          FDQDQVZHU
    ,W VSUREDEO\SDJHRIWKLVGRFXPHQW'R\RX                %<$77251(<%$5+$0
    KDYH"                                                      4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\
   9,'(2*5$3+(57KLVLVWKHYLGHRJUDSKHU       UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRWKHLPSDFWRI
   &DQ,DVN&RXQVHOWRVSHDNXS"<RXDUHNLQGRIJHWWLQJ       DQ\GUXJVRUKRUPRQHVRQDWKOHWLFSHUIRUPDQFH"
   FXWRIIDWWKHHQGRI\RXUVHQWHQFHV                          $1R
   $77251(<%$5+$03DUGRQ,ZLOOGRP\        4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\
   EHVW                                                         UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRWKHLPSDFWRI
   %<$77251(<%$5+$0                                           WHVWRVWHURQHVXSSUHVVLRQRQDWKOHWLFSHUIRUPDQFH"
   4'R\RXKDYHDGHJUHHLQDGXOWSV\FKLDWU\"            $1R
   $7KHUHLVQRWDGHJUHHLQSV\FKLDWU\                 4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\
   42ND\                                                UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRWKHHIIHFWRI
   6R\RXUDFDGHPLFWUDLQLQJLQSV\FKLDWU\EHJDQ        WUDQVVH[VXUJHULHVRQDWKOHWLFSHUIRUPDQFH"
   ZLWK\RXUSV\FKLDWU\UHVLGHQF\",VWKDWKRZLWZRUNV"        $1R
   $,GLGDPHGLFDOGHJUHHZKHUHWKHUHLV               $77251(<%/2&.2EMHFWLRQ2EMHFWLRQWR
   SV\FKLDWU\WUDLQLQJDQGWKHQDUHVLGHQF\LQDGXOW             WHUPLQRORJ\
   SV\FKLDWU\DQGDIHOORZVKLSLQFKLOGSV\FKLDWU\              %<$77251(<%$5+$0
   4'R\RXFRQVLGHU\RXUVHOIWUDLQHGDQG                 4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\


                                                                                             3DJHVWR
                                                                                                       Armistead App. 0910
                                                    3DJH                                                          3DJH
    UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRWKHVDIHW\           RXWVLGHRIWKLVGRFXPHQW
    LVVXHVDQGULVNVWRZRPHQDVVRFLDWHGZLWKWUDQVJHQGHU           4'RHVWKLVUHSRUWLGHQWLI\DOOIDFWVDQGGDWD
    SDUWLFLSDWLRQLQIHPDOHDWKOHWLFVE\PDOHDWKOHWHV"             WKDW\RXFRQVLGHUHGLQIRUPLQJWKHRSLQLRQVWKDW\RXVHW
    $77251(<%/2&.2EMHFWLRQWRIRUP              IRUWKLQ\RXUUHSRUW"
    6RUU\REMHFWLRQWRIRUP                                       $,ZRXOGQ WVD\LWKDVDOOIDFWVEHFDXVH,GRQ W
    7+(:,71(66<HDK,WKLQNWKHUH VDELW        WKLQNLWLVSRVVLEOHWRLQFOXGHDOOIDFWVLQDQH[SHUW
    RIDSUHPLVHLQWKHUHWKDW,GRQ WDJUHHZLWKEXW,            UHSRUWEXWWKHUHOHYDQWIDFWV\HV
    KDYHQRWJLYHQDQ\OHFWXUHVDERXWWUDQVJHQGHU                   47KLVLQFOXGHVWKHIDFWVWKDW\RX OOUHO\RQLQ
    SDUWLFLSDWLRQLQVSRUWV                                        VXSSRUWLQJWKRVHRSLQLRQV
   %<$77251(<%$5+$0                                            &RUUHFW"
   4'R\RXFRQVLGHUGR\RXKDYHDQ\SURIHVVLRQDO      $7KDW VFRUUHFW
   H[SHUWLVHUHODWHGWRWKHFRQFHSWRIIDLUQHVV"                  4'RHV\RXUUHSRUWVHWRXWDOOWKHUHDVRQVIRUWKH
   $,GRQRW                                             RSLQLRQVWKDW\RXSURSRVHWRRIIHU"
   4'R\RXKDYHDQ\SURIHVVLRQDOH[SHUWLVHRQWKH         $<HV
   GHILQLWLRQRIIDLUQHVV"                                        4<RXUIRRWQRWHVFLWHWR,EHOLHYHVFLHQWLILF
   $,GRQRW                                             RUSURIHVVLRQDODUWLFOHVDQG\RXUHIHUHQFHVRPHRWKHUV
   4:RXOG\RXDJUHHWKDWIDLUQHVVLVDQHOXVLYH          LQ\RXU&9$UHWKRVHDOOWKHDUWLFOHVWKDWIRUPWKH
   VXEMHFWLYHFRQFHSWZLWKPDOOHDEOHERXQGDULHV"                  EDVLVRIWKHRSLQLRQV\RXSURSRVHWRRIIHU"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $1R
   7+(:,71(66,GRQRWKDYHDQRSLQLRQRQ       4:KDWRWKHUDUWLFOHVIRUPWKHEDVLVRIWKH
   WKHGHILQLWLRQRIIDLUQHVV                                    RSLQLRQV\RXSURSRVHWRRIIHU"
   %<$77251(<%$5+$0                                            $,JXHVVWKHTXHVWLRQLVZKDWKDVIRUPHGP\
   4+DYH\RXWUHDWHGRUSHUVRQDOO\H[DPLQHG%3-"          SURIHVVLRQDOH[SHUWLVHDURXQGJHQGHUKHDOWKDQG, YH
   $,KDYHQRW                                           UHDGDORWWKDWDUHQ WQHFHVVDULO\JRLQJWREHDSURSRV


                                                    3DJH                                                          3DJH
    4<RXKDYHQRGLUHFWNQRZOHGJHDVWRZKDW7DQQHU         WRWKLVVSHFLILFUHSRUW
    VWDJH%3-VWDUWHGSXEHUW\EORFNHUVDWWKHDJH                  4%XWWKRVHDUHWKHDUWLFOHVWKDW\RXFLWHGDQG
    &RUUHFW"                                               UHIHUHQFHGLQWKLVGRFXPHQWDUHWKRVHWKDW\RXUHOLHG
    $&RUUHFW                                               XSRQDVWKHEDVLVRIRSLQLRQVWKDW\RXLQWHQGWRRIIHU
    4<RXGRQRWNQRZKRZ%3- VSK\VLRORJ\RUDWKOHWLF       &RUUHFW"
    FDSDELOLWLHVFRPSDUHZLWKJHQHWLFIHPDOHVDWWKHVDPH           $7KDWLVFRUUHFW
    DJH"                                                            4<RXFXUUHQWO\VHUYHDVWKH&OLQLFDO$VVRFLDWH
    $,GRQRW                                              3URIHVVRURI&KLOGDQG$GROHVFHQW3V\FKLDWU\
    $77251(<%/2&.2EMHFWLRQWR                    &RUUHFW"
   WHUPLQRORJ\                                                   $<HV
   %<$77251(<%$5+$0                                            4$QGZKDWLQVWLWXWLRQLVWKDWZLWK"
   47KLVUHSRUW([KLELWRISDJHVVHWVRXWWKH       $,WLVZLWK1RUWKZHVWHUQ8QLYHUVLW\)HLQEHUJ
   FRPSOHWHVWDWHPHQWRIDOORSLQLRQVWKDW\RXZLOOWHVWLI\       6FKRRORI0HGLFLQHDQG$QQDQG5REHUW+/XULH
   WRDWWULDO                                                   &KLOGUHQ V+RVSLWDORI&KLFDJR
   &RUUHFW"                                              4$QGKRZPXFKRI\RXUWLPHLQWKLVSRVLWLRQLV
   $:KLFKUHSRUWDUH\RXUHIHUULQJWR"                    UHODWHGWRGLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULF
   47KHUHSRUWLQIURQWRI\RX([KLELW7DE        FKLOGUHQDQGDGROHVFHQWV"
   $$QGFDQ\RXUHSHDWWKHTXHVWLRQ"6RUU\              $77251(<%/2&.2EMHFWLRQWR
   47KLVUHSRUWVHWVRXWDFRPSOHWHVWDWHPHQWRIDOO      WHUPLQRORJ\
   RSLQLRQVWKDW\RXZLOOWHVWLI\WRDWWULDO                    7+(:,71(66,W VKDUGWRTXDQWLI\
   &RUUHFW"                                              3UREDEO\DERXWSHUFHQWRIP\WLPHLVDOORFDWHGLQ
   $,GRQRWNQRZWKHDQVZHUWRWKDW,PHDQ,          VRPHZD\WRHLWKHUFOLQLFDOFDUHUHVHDUFKRUDFDGHPLFV
   ZRXOGDVVXPHVREXW,GRQ WNQRZ, YHQHYHUEHHQLQD       DURXQGJHQGHUKHDOWK
   WULDOVR,GRQ WNQRZLIWKHUHZLOOEHTXHVWLRQVDVNHG        %<$77251(<%$5+$0


                                                                                              3DJHVWR
                                                                                                       Armistead App. 0911
                                                   3DJH                                                           3DJH
    4$QGZKDWLV\RXUFRPSHQVDWLRQIRUWKLVSRVLWLRQ"       SRVLWLRQ", PUHIHUHQFLQJSDJHRQHRI\RXU&9
    $,WLVURXJKO\D\HDULQVDODU\               $7KDWZDVZKHQ,PRYHGWR&KLFDJRDIHZ\HDUV
    4<RXDOVRVHUYHDVWKH9LFH&KDLURIWKH                DJR
    3ULW]NHU'HSDUWPHQWRI3V\FKRORJ\DQG%HKDYLRUDO+HDOWK         42ND\
    DWWKH$QQDQG5REHUW+/XULH&KLOGUHQ V+RVSLWDORI           6RZKHUHLWVD\VWRSUHVHQW&OLQLFDO
    &KLFDJR                                                        'LUHFWRU1<86H[XDOLW\6HUYLFHWKDWLVMXVWDW\SR"
    &RUUHFW"                                               $7KDWLVDW\SR\HV
    $7KDW VFRUUHFW                                        4<RXFXUUHQWO\VHUYHDVWKH$VVRFLDWH3URIHVVRU
    4$QGKRZPXFKRI\RXUWLPHLQWKLVSRVLWLRQLV          RI&KLOGDQG$GROHVFHQW3V\FKRORJ\DW1RUWKZHVWHUQ
   UHODWHGWRGLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULF             8QLYHUVLW\DQGZHKDYHDOUHDG\GLVFXVVHGWKDW,V
   FKLOGUHQDQGDGROHVFHQWV"                                      WKHUHDGLIIHUHQFHEHWZHHQ&OLQLFDO$VVRFLDWH3URIHVVRU
   $77251(<%/2&.2EMHFWLRQWR                   DQG$VVRFLDWH3URIHVVRURI&KLOGDQG$GROHVFHQW
   WHUPLQRORJ\                                                   3V\FKLDWU\"
   7+(:,71(66$JDLQLWLVKDUGWRSDUVH        $1R
   RXWZKDWVSHFLILFDERXWP\OHDGHUVKLSUROHLVDURXQG           4<RXVHUYHDVWKH9LFH&KDLURI&OLQLFDO$IIDLUV
   JHQGHUKHDOWKEXWLWLVDPLQRULW\RIP\GD\WRGD\            DWWKH3ULW]NHU'HSDUWPHQWRI3V\FKLDWU\DQG%HKDYLRUDO
   ZRUNLQWKDWUROH                                             +HDOWKDWWKH/XULH&KLOGUHQ V+RVSLWDO
   %<$77251(<%$5+$0                                            &RUUHFW"
   4'R\RXKDYHDQDSSUR[LPDWHSHUFHQWDJH"                $7KDW VFRUUHFW
   $1R                                                   4$QGKRZPXFKWLPHLQWKLVSRVLWLRQLVUHODWHGWR
   47ZHQW\ILYH  SHUFHQWPRUHRUOHVV"               GLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULFFKLOGUHQDQG
   $3UREDEO\WHQSHUFHQW                                 DGROHVFHQWV"
   47HQSHUFHQW2ND\                                   $77251(<%/2&.2EMHFWLRQWR
   $QGZKDWLV\RXUFRPSHQVDWLRQIRUWKDW                WHUPLQRORJ\


                                                   3DJH                                                           3DJH
    SRVLWLRQ"                                                       7+(:,71(66,WKLQN,DQVZHUHGWKDWRQH
    $,JHWDVWLSHQGRIDURXQG                     ZLWKWKHJXHVVRIDERXWWHQSHUFHQW
    4<RXFXUUHQWO\VHUYHDVWKH0HGLFDO'LUHFWRURI         %<$77251(<%$5+$0
    2XWSDWLHQW3V\FKLDWULF6HUYLFHVDWWKH/XULH&KLOGUHQ V         42ND\"
    +RVSLWDORI&KLFDJR                                            6RWKDW VWKHVDPHDVWKH9LFH&KDLURIWKH
    ,VWKDWFRUUHFW"                                       'HSDUWPHQWRI3V\FKLDWU\"
    $7KDWVFRUUHFW                                        $&RUUHFW
    4$QGKRZPXFKRI\RXUWLPHLQWKLVSRVLWLRQLV          4<RXFXUUHQWO\VHUYHDVWKH$VVRFLDWH(GLWRUIRU
    UHODWHGWRGLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULF              7UDQVJHQGHU+HDOWK
   FKLOGUHQDQGDGROHVFHQWV"                                      &RUUHFW"
   $77251(<%/2&.2EMHFWLRQWR                   $7KDWLVFRUUHFW
   WHUPLQRORJ\                                                   4$QGZKDWLV\RXUFRPSHQVDWLRQIRUWKDWSRVLWLRQ"
   7+(:,71(66$ERXWSHUFHQWRIP\WLPH       $7KHUHLVQRFRPSHQVDWLRQIRUWKDWSRVLWLRQ
   LVSUREDEO\VSHQWGLVFXVVLQJRUUHODWHGWRWKHKHDOWKRI       4:KDWLVWKDWSXEOLFDWLRQ VDQQXDOLQFRPH"
   WUDQVJHQGHU\RXWKRUWUDQVJHQGHUJHQGHUGLYHUVH            $,GRQRWNQRZ
   \RXWK                                                         4<RXVHUYHDVDUHYLHZHUIRU/*%7+HDOWK
   %<$77251(<%$5+$0                                            &RUUHFW"
   4$QGZKDWLV\RXUFRPSHQVDWLRQIRUWKDWSRVLWLRQ"      $<HV
   $7KHUHLVQRFRPSHQVDWLRQ                             4$QGKRZPXFKRI\RXUWLPHLVUHODWHGLQWKDW
   4<RXFXUUHQWO\VHUYHDVWKH&OLQLFDO'LUHFWRURI       SRVLWLRQLVUHODWHGWRWUHDWLQJRUGLVFXVVLQJ
   WKH1<8*HQGHUDQG6H[XDOLW\6HUYLFHV                         WUDQVJHQGHUFKLOGUHQDQGDGROHVFHQWV"
   ,VWKDWFRUUHFW"                                      $,ZRXOGVD\SHUFHQWRIP\UHYLHZWLPHZLWK
   $7KDWLVQRWFRUUHFW                                  /*%7KHDOWKLVDURXQGJHQGHU
   4:KHQGLG\RXFRQFOXGH\RXUUROHLQWKDW               4'R\RXUHFHLYHDQ\FRPSHQVDWLRQIRUWKDW


                                                                                              3DJHVWR
                                                                                                       Armistead App. 0912
                                                    3DJH                                                          3DJH
    SRVLWLRQ"                                                       WKDW VWKHRQO\RWKHULQFRPH,UHFHLYH
    $,GRQRW                                              4'R\RXUHFHLYHDQ\VSHDNLQJIHHV"
    4'R\RXUHFHLYHDQ\FRPSHQVDWLRQIRU\RXUUROHDV       $,KDYHUHFHLYHGVSHDNLQJIHHVIRUSDUWLFLSDWLRQ
    DUHYLHZHUZLWKWKH-RXUQDORIWKH$FDGHP\RI&KLOGDQG         DQGJUDQGURXQGVDVDQH[DPSOH
    $GROHVFHQW3V\FKLDWU\"                                          4$QGKRZPXFKZRXOGWKRVHVSHDNLQJIHHVUXQ"
    $,GRQRW                                              $,WLVW\SLFDOO\DERXWDWKRXVDQGGROODUVSHU
    4<RXVHUYHGLQYDULRXVSRVLWLRQVZLWKGLIIHUHQW         HYHQW
    SURIHVVLRQDORUJDQL]DWLRQVDFFRUGLQJWRSDUDJUDSKV           4%HIRUHWKHODVWIRXU\HDUVKDG\RXSURYLGHGDQ\
    DQGRI\RXUUHSRUW'RDQ\RIWKRVHSRVLWLRQV               H[SHUWWHVWLPRQ\RQLVVXHVUHODWHGWRJHQGHUG\VSKRULD"
   SURYLGH\RXILQDQFLDOFRPSHQVDWLRQ"                            $&DQ\RXFODULI\WKHGLIIHUHQFHEHWZHHQ
   $1R                                                   WHVWLPRQLHVDQGUHSRUWV", YHVXEPLWWHGDUHSRUWEXW
   4<RXIRXQGHGDQGGLUHFWHG*HQGHU9DULDQW<RXWK         QRW
   DQG)DPLO\1HWZRUN                                            42ND\
   &RUUHFW"                                              6R\RXKDYHVXEPLWWHGDUHSRUW"
   $&RUUHFW                                              $&RUUHFW
   4:KDW V\RXUFRPSHQVDWLRQIRUWKDWSRVLWLRQ"           4'R\RXUHPHPEHUZKDWFDVHWKDWLQYROYHG"
   $=HUR                                                 $7KDWLQYROYHV0HGLFDLGDQGWRSVXUJHU\LQ
   4:KDWLVWKHHQWLW\ VDQQXDOLQFRPHRUEXGJHW"         $UL]RQD
   $=HUR                                                 42ND\
   4<RXLQGLFDWHLQ\RXUUHSRUWWKDW\RXKDYHVHHQ        +DYH\RXHYHUSURYLGHGDQ\WHVWLPRQ\LQWULDO
   DSSUR[LPDWHO\WUDQVJHQGHUSDWLHQWV                        RUGHSRVLWLRQEHIRUHUHODWHGWRJHQGHUG\VSKRULD"
   ,VWKDWFRUUHFW"                                      $,KDYHQRW
   $7KDWLVFRUUHFW                                      4$QGKRZPXFKFRPSHQVDWLRQKDYH\RXUHFHLYHGVR
   4+RZPDQ\SDWLHQWVGR\RXVHHSHU\HDU"                IDULQWKLVFDVH"


                                                    3DJH                                                          3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP              $7KLVFDVHVRIDUQRQHWKXVIDU
    7+(:,71(66, GKDYHWRORRNDWP\             4+RZPXFKDUH\RXH[SHFWLQJWRUHFHLYHVRIDULQ
    UHSRUW,GRQ WKDYHWKHLQIRUPDWLRQLQIURQWRIPH            WKLVFDVH"
    ULJKWQRZ                                                      $,KDYHQ WDGGHGXSP\LQYRLFH\HWEXW,LPDJLQH
    %<$77251(<%$5+$0                                             LW VSUREDEO\DURXQG
    4'R\RXKDYHDEDOOSDUNRIKRZPDQ\SDWLHQWV\RX        42ND\
    VHHLQD\HDU"                                                  'R\RXKDYHDQ\SURIHVVLRQDOH[SHUWLVHUHODWHG
    $,GRQ W                                               WRWKHOHJDOGHILQLWLRQRIUHOHYDQFH"
    4'RHVWKLVLQFOXGHDQG, PDVVXPLQJWKDW\RXU       $,GRQRW
   FROOHDJXHVVHHDGGLWLRQDOSDWLHQWVEH\RQGMXVWWKRVH           4'R\RXKDYHDQ\OHJDOWUDLQLQJRUHGXFDWLRQ"
   WKDW\RXVHH                                                  $,GRQRW
   &RUUHFW"                                              4:KHQ\RXZHUHSUHSDULQJ\RXUUHSRUWGLG\RX
   $&RUUHFW                                              FRQVXOWWKH)HGHUDO5XOHVRI(YLGHQFHRUDQ\RWKHUOHJDO
   4+RZIUHTXHQWO\GR\RXVHHHDFKSDWLHQWV"              VRXUFHVDVWRWKHPHDQLQJRIUHOHYDQFH"
   $,VHHWKHIUHTXHQF\ZLWKZKLFK,VHH              $,GLGQRW
   SDWLHQWVLVGHSHQGHQWXSRQWKHLUFOLQLFDOQHHGVR             46HYHUDOSHRSOHLQWKLVFDVHKDYHUHIHUHQFHG
   EHWZHHQRQFHRUWZLFHDZHHNWRRQFHHYHU\WKUHHPRQWKV       GLVRUGHUVRIVH[XDOGHYHORSPHQW:RXOG\RXDJUHHWKDW
   4$QGKRZPXFKDUHSDWLHQWVFKDUJHGSHU                 JHQGHUG\VSKRULDLVQRWDGLVRUGHURIVH[XDO
   DSSRLQWPHQW"                                                   GHYHORSPHQW"
   $(YHU\WKLQJLVELOOHGWRWKHLULQVXUDQFHVR, P       $77251(<%/2&.2EMHFWLRQWRIRUP
   QRWVXUH                                                      7+(:,71(66*HQGHUG\VSKRULDKDVQRW
   4'R\RXUHFHLYHDQ\RWKHULQFRPHUHODWHGWR\RXU       EHHQFODVVLILHGDVDGLVRUGHURIVH[XDOGHYHORSPHQW
   ZRUNRQJHQGHUG\VSKRULD"                                      %<$77251(<%$5+$0
   $, PEHLQJSDLGIRUP\H[SHUWUHSRUWIRUWKLVVR      42IWKHDSSUR[LPDWHO\WUDQVJHQGHUSDWLHQWV


                                                                                              3DJHVWR
                                                                                                     Armistead App. 0913
                                                   3DJH                                                          3DJH
    \RXKDGVHHQKRZPDQ\VXIIHUHGIURPGLVRUGHURIVH[XDO          :KHUHXSRQ([KLELW(QGRFULQH
    GHYHORSPHQW"                                                   6RFLHW\ V*XLGHOLQHVZDVPDUNHGIRU
    $$PLQRULW\RISDWLHQWVOHVVWKDQWHQ                LGHQWLILFDWLRQ
    46R\RXZRXOGDJUHHWKDWWKHYDVWPDMRULW\RI          
    LQGLYLGXDOVZLWKJHQGHUG\VSKRULDRUZKRDVVHUWD              %<$77251(<%$5+$0
    WUDQVJHQGHULGHQWLW\GRQRWVXIIHUIURPDGLVRUGHURI          4,I\RX OOWXUQWRSDJHRIWKLVGRFXPHQW
    VH[XDOGHYHORSPHQW                                            7KLVGRFXPHQWLVWKH(QGRFULQH6RFLHW\ V*XLGHOLQHV
    &RUUHFW"                                              (QGRFULQH7UHDWPHQWRI*HQGHU'\VSKRULFRU*HQGHU
    $77251(<%/2&.2EMHFWLRQWRIRUP             ,QFRQJUXHQW3HUVRQV(QGRFULQH6RFLHW\&OLQLFDO3UDFWLFH
   7+(:,71(667KHGDWDZHKDYHVSHDNVWR       *XLGHOLQHSXEOLVKHGLQ
   WKHPDMRULW\RISHRSOHZLWKJHQGHUG\VSKRULDGRQRWKDYH      &RUUHFW"
   DGLVRUGHURIVH[GHYHORSPHQW                                $7KDWLVFRUUHFW
   %<$77251(<%$5+$0                                           42QSDJHRIWKLVGRFXPHQWWKH(QGRFULQH
   4'R\RXKDYHDQ\UHDVRQWREHOLHYHWKDW%3-           6RFLHW\LQGLFDWHVWKDWWKLVFRQWLQXXPJHQGHULGHQWLW\
   VXIIHUVIURPDGLVRUGHURIVH[XDOGHYHORSPHQW"                UDQJHGIURPDOOPDOHWKURXJKVRPHWKLQJLQEHWZHHQWRDOO
   $,KDYHQRWUHYLHZHG%3- VFDVH                      IHPDOH\HWVXFKDFODVVLILFDWLRQGRHVQRWWDNHLQWR
   4$UH\RXDZDUHRIDQ\LQVWDQFHLQZKLFKDQ            DFFRXQWWKDWSHRSOHPD\KDYHJHQGHULGHQWLWLHVRXWVLGH
   LQGLYLGXDOZLWKDGLVRUGHURIVH[XDOGHYHORSPHQWKDV          WKLVFRQWLQXXP)RULQVWDQFHVRPHH[SHULHQFH
   DWWHPSWHGWRSOD\RQDJLUOV RUZRPHQ VVSRUWVWHDPLQ       WKHPVHOYHVDVKDYLQJERWKDPDOHDQGIHPDOHJHQGHU
   :HVW9LUJLQLD"                                                LGHQWLW\ZKHUHDVRWKHUVFRPSOHWHO\UHQRXQFHDQ\JHQGHU
   $,DPQRWDZDUH                                      FODVVLILFDWLRQ7KHUHDUHDOVRUHSRUWVRILQGLYLGXDOV
   4,VLW\RXURSLQLRQWKDWDSHUVRQ VJHQGHU            H[SHULHQFLQJDFRQWLQXRXVDQGUDSLGLQYROXQWDU\
   LGHQWLW\LVGXUDEOH"                                          DOWHUQDWLRQEHWZHHQDPDOHDQGIHPDOHLGHQWLW\
   $77251(<%/2&.2EMHFWLRQWRIRUP            'R\RXVHHWKDW"


                                                   3DJH                                                          3DJH
    7+(:,71(66&DQ\RXGHILQHGXUDEOH"           $,GRQ WVHHWKDW
    %<$77251(<%$5+$0                                            46HFRQGFROXPQWRZDUGVWKHERWWRPRIWKHSDJH
    48QFKDQJLQJ                                           $<HV,VHHWKDW
    $77251(<%/2&.2EMHFWLRQWRIRUP             4,VWKLVFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJRI
    7+(:,71(66,WLVP\WHVWLPRQ\WKDW           JHQGHULGHQWLW\"
    WKHUHLVDFRQFHSWRIJHQGHULGHQWLW\WKDWUHPDLQV             $77251(<%/2&.&DQ\RXJLYHKLPWLPHWR
    JHQHUDOO\IL[HGIRUPRVWSHRSOHWKURXJKRXWWKHLUOLYHV        UHDG"
    %<$77251(<%$5+$0                                            $77251(<%$5+$0*ODGO\
    46RLW V\RXURSLQLRQWKDWDSHUVRQ VJHQGHU           7+(:,71(66,WKLQNWKHUHLVD
   LGHQWLW\FDQQRWEHFKDQJHGZLWKPHGLFDORUPHQWDOKHDOWK      GLIIHUHQFHEHWZHHQDJHQGHULGHQWLW\DQGKRZSHRSOH
   LQWHUYHQWLRQ                                                 XQGHUVWDQGDQGH[SUHVVWKDWJHQGHULGHQWLW\$QGLQWKH
   &RUUHFW"                                             FRQWH[WRIWKLVDUWLFOHWKHUDSLGLQYROXQWDU\DOWHUDWLRQ
   &28575(3257(56RUU\&RXQVHOWKDW          EHWZHHQPDOHDQGIHPDOHLGHQWLW\DVDQH[DPSOHLVDFDVH
   TXHVWLRQRQHPRUHWLPH                                       UHSRUWHGRIVLQJOHLQGLYLGXDOVVXEMHFWLYHH[SHULHQFHRI
   %<$77251(<%$5+$0                                           WKHLUJHQGHUDFFRUGLQJWRWKHUHIHUHQFH
   46RLW V\RXURSLQLRQWKDWDSHUVRQ VJHQGHU          %<$77251(<%$5+$0
   LGHQWLW\FDQQRWEHFKDQJHGZLWKPHGLFDORUPHQWDOKHDOWK      4$QGE\WKDW\RX UHUHIHUULQJWRQRWHWHQ"
   LQWHUYHQWLRQ                                                 $&RUUHFW
   &RUUHFW"                                             46RDFFRUGLQJWRWKLVGRFXPHQWVRPHRQHFDQEH
   $<HV                                                 RQHVH[RUWKHRWKHUERWKQHLWKHURULQEHWZHHQ
   $77251(<%$5+$0, PJRLQJWRKDQG\RX        &RUUHFW"
   ZKDWZH UHJRLQJWRPDUNDV([KLELW7KLVZLOOEH          $77251(<%/2&.2EMHFWLRQWRIRUP
   7DE                                                        7+(:,71(66,FDQ WVSHDNIRUWKH
                                   FRQFOXVLRQVGUDZQE\WKHDXWKRURIWKLVDUWLFOH


                                                                                             3DJHVWR
                                                                                                     Armistead App. 0914
                                                   3DJH                                                          3DJH
    %<$77251(<%$5+$0                                            2UJDQL]DWLRQVWDWHPHQWV"
    4$QGDFFRUGLQJWRWKH(QGRFULQH6RFLHW\D              $77251(<%/2&.2EMHFWLRQWRIRUP&DQ
    SHUVRQ VJHQGHULGHQWLW\FDQFKDQJHUDSLGO\                   KHKDYHWLPHWRUHDGWKHGRFXPHQW"
    &RUUHFW"                                              $77251(<%$5+$02IFRXUVH
    $77251(<%/2&.2EMHFWLRQWRIRUP             9,'(2*5$3+(5&RXQVHOLVWKDW7DE"
    7+(:,71(66, PQRWDSDUWRIWKH             /$:&/(5.:,/.,16217DE
    (QGRFULQH6RFLHW\VR, PQRWVXUHKRZWKH\GLVFXVV            $77251(<%$5+$0,WLV
    WKLV                                                          9,'(2*5$3+(52ND\7KDQN\RX
    %<$77251(<%$5+$0                                            7+(:,71(66&DQ\RXUHSHDWWKH
   4$FFRUGLQJWRWKLVGRFXPHQWWKH(QGRFULQH            TXHVWLRQ"
   6RFLHW\LVLQGLFDWLQJWKDWWKHUHDUHUHSRUWVSOXUDORI      %<$77251(<%$5+$0
   LQGLYLGXDOVSOXUDOH[SHULHQFLQJDFRQWLQXRXVDQGUDSLG      4'R\RXDJUHHZLWKWKHVH:RUOG+HDOWK
   LQYROXQWDU\DOWHUQDWLRQEHWZHHQPDOHDQGIHPDOHJHQGHU        2UJDQL]DWLRQVWDWHPHQWV"
   LGHQWLW\                                                     $1RWLQWKHLUHQWLUHW\
   &RUUHFW"                                             4,QZKDWSDUWVGR\RXGLVSXWH"
   $7KDWLVGRFXPHQWHGLQWKHDUWLFOH                   $7KHZRUGJHQGHUDVDFRQFHSWLVPXFKPRUH
   42ND\                                                FRPSOLFDWHGDQG,GRQRWDJUHHZLWKWKHLU
   $, PQRWVXUHRIWKHJRYHUQDQFHRIWKH(QGRFULQH      FKDUDFWHUL]DWLRQLQWKLVSDJH
   6RFLHW\                                                      46RWKH:RUOG+HDOWK2UJDQL]DWLRQVD\VWKDW
   4'R\RXWKLQNWKH(QGRFULQH6RFLHW\*XLGHOLQHV        JHQGHULWVHOILVDVRFLDOFRQVWUXFWDQGFDQFKDQJHRYHU
   DUHZURQJ"                                                    WLPH
   $77251(<%/2&.2EMHFWLRQWRIRUP            &RUUHFW"
   7+(:,71(66,WKLQNDQ\WKLQJUHODWLQJ        $77251(<%/2&.2EMHFWLRQWRIRUP'RHV
   WRJHQGHULGHQWLW\KDVWREHWDNHQLQDEURDGHUFRQWH[W       WKLVGRFXPHQWKDYHD85/WRLW"


                                                   3DJH                                                          3DJH
    ZLWKLQERWKWKHDUWLFOHLQDQGRILWVHOIEXWLQEURDGHU        $77251(<%$5+$0,WGRHVEXW,GRQ W
    SUDFWLFHDQGVSHFLILFDOO\DURXQGFKLOGUHQDQG                  VHHLWSULQWHGRQWKHGRFXPHQW
    DGROHVFHQWV                                                   /$:&/(5.:,/.,1621:HFDQJHWLW
    %<$77251(<%$5+$0                                            $77251(<%$5+$0:HFDQVXSSO\WKDW
    46RZKDWLV\RXUEDVLVIRULQGLFDWLQJWKDWWKLV        7+(:,71(66,DJUHHWKDWLWVD\VRQWKH
    VWDWHPHQWLVSRWHQWLDOO\LQDFFXUDWH"                           GRFXPHQWWKDWJHQGHUYDULHVIURPVRFLHW\WRVRFLHW\DQG
    $77251(<%/2&.2EMHFWLRQWRIRUP             FDQFKDQJHRYHUWLPH
    7+(:,71(66,WKLQNWKHUHLVPRUH             %<$77251(<%$5+$0
    FRQWH[WWKDW VQHHGHGLQRUGHUWRXQGHUVWDQGWKHLQWHQW        4$QGDFFRUGLQJWRWKH:RUOG+HDOWK2UJDQL]DWLRQ
   RIWKHDXWKRUVLQWKLVSDUWLFXODUVHFWLRQ                    JHQGHULGHQWLW\UHIHUVWRDSHUVRQ VH[SHULHQFHRI
   $77251(<%$5+$0, PJRLQJWRKDQG\RX        JHQGHUZKLFKLVDVRFLDOFRQVWUXFW
   ZKDWZHZLOOPDUNDV([KLELW7KLVLVWKHGRFXPHQW         &RUUHFW"
   IURPWKH:RUOG+HDOWK2UJDQL]DWLRQHQWLWOHG*HQGHUDQG        $77251(<%/2&.2EMHFWLRQWRIRUP
   +HDOWK                                                       7+(:,71(66,GRQ WVHHLQWKHGRFXPHQW
                                   ZKHUHLWUHIHUVWRJHQGHULGHQWLW\RUGHILQHVJHQGHU
    :KHUHXSRQ([KLELW:RUOG+HDOWK            LGHQWLW\
   2UJDQL]DWLRQZDVPDUNHGIRU                  %<$77251(<%$5+$0
   LGHQWLILFDWLRQ                               4,WVD\VJHQGHULQWHUDFWVZLWKGLIIHUHQWVH[
                                   ZKLFKUHIHUVWRWKHGLIIHUHQWELRORJLFDODQG
   %<$77251(<%$5+$0                                           SK\VLRORJLFDOFKDUDFWHULVWLFVRIPDOHVIHPDOHV
   4$UH\RXIDPLOLDUZLWKWKH:RUOG+HDOWK               LQWHUVH[SHUVRQVVXFKDVFKURPRVRPHVKRUPRQHVDQG
   2UJDQL]DWLRQ"                                                 UHSURGXFWLYHRUJDQV
   $, YHKHDUGRIWKHP                                  &RUUHFW"
   4'R\RXDJUHHZLWKWKHVH:RUOG+HDOWK                 $7KDWLVFRUUHFWO\UHDG,GRQ WVHHJHQGHU


                                                                                           3DJHVWR
                                                                                                       Armistead App. 0915
                                                    3DJH                                                           3DJH
    LGHQWLW\GHILQHGLQWKLVGRFXPHQW                              UHTXLUHPHQWDOKHDOWKHYDOXDWLRQVLQ\RXURSLQLRQ"
    4*HQGHULGHQWLW\UHIHUVWRDSHUVRQ VGHHSO\KHOG       $77251(<%/2&.2EMHFWLRQWRIRUP
    LQWHUQDODQGLQGLYLGXDOH[SHULHQFHRIJHQGHU                   7+(:,71(66,WGHSHQGVXSRQZKDW
    &RUUHFW"                                               JXLGHOLQHV\RX UHWDONLQJDERXWDQGZKDWUHFRPPHQGDWLRQV
    $7KDW VZKDWLWVD\VKHUH\HV                         WKDWWKHIDPLO\LVORRNLQJIRU
    4,IDQLQGLYLGXDODVVHUWVDQLGHQWLW\RIPDQRU         %<$77251(<%$5+$0
    ERWKKRZFDQDFOLQLFLDQYHULI\ZKHWKHUWKDWLQGLYLGXDO        4:HOOZKDWDUHVRPHRIWKHLQYHQWLRQV"<RXVDLG
    LVWHOOLQJWKHWUXWK"                                           WKHUH VVRPHLQWHUYHQWLRQVWKDWZRXOGUHTXLUHDPHQWDO
    $77251(<%/2&.2EMHFWLRQWRIRUP              KHDOWKHYDOXDWLRQVRWKDWLPSOLHVWKDWWKHUHDUHVRPH
   7+(:,71(66, PQRWVXUHZKDWH[DFWO\         WKDWZRXOGQRW:KDWDUHWKHLQWHUYHQWLRQVWKDWZRXOG
   WKDWPHDQV7KHSURFHVVRIDQDVVHVVPHQWIRUJHQGHU           QRWUHTXLUHDPHQWDOKHDOWKHYDOXDWLRQ"
   FDUHLQYROYHVDFRPSOH[VHULHVRILQWHUYLHZV                  $77251(<%/2&.2EMHFWLRQWRIRUP
   GLDJQRVWLFV                                                   7+(:,71(66<RXNQRZSDUHQWVJLYLQJ
   %<$77251(<%$5+$0                                            KXJVWRWKHLUNLGVLVQRWVRPHWKLQJWKDWDPHQWDOKHDOWK
   46RKRZGRHVWKHFOLQLFLDQDVVHVVZKHWKHUWKH          DVVHVVPHQWZRXOGUHTXLUH3URYLGLQJDZD\RIKHOSLQJ
   SDWLHQWLVDFFXUDWHO\UHODWLQJWKHLUH[SHULHQFHV"              IDPLOLHVWRXQGHUVWDQGWKHLUNLGVRUDVNLQJTXHVWLRQVLV
   $,QWKHW\SLFDOSURFHVVSDUWLFXODUO\DURXQG           QRWVRPHWKLQJWKDWUHTXLUHVDPHQWDOKHDOWKHYDOXDWLRQ
   FKLOGDQGDGROHVFHQWSV\FKLDWU\SDUWRIWKHDVVHVVPHQW        DQGVRPHFKLOGUHQZLOOVRFLDOO\WUDQVLWLRQSULRUWRDQ\
   LQYROYHVLQIRUPDWLRQJDWKHUHGIURPPXOWLSOHFRQWH[WV          DVVHVVPHQWVE\DQ\PHQWDOKHDOWKSURIHVVLRQDO
   46XFKDV"                                              %<$77251(<%$5+$0
   $6XFKDVSDUHQWVVFKRROVFDUHJLYHUVRWKHU           4+RZGR\RXGHWHUPLQHLIDQLQGLYLGXDO
   SURYLGHUVKLVWRU\RYHUWLPHHWFHWHUD                       DVVHUWVDJHQGHULGHQWLW\RIPDOHRUERWKKRZGR\RX
   4$QGLIVRKRZGRHVRQHDVVHVVIURPWKRVH          GHWHUPLQHZKHWKHUWKHLQGLYLGXDOLVPDNLQJDVWDWHPHQW
   YDULRXVFRQWH[WVZKHWKHUVRPHRQHZKR VFODLPLQJWREH          EDVHGRQVRFLHWDOH[SHFWDWLRQVIRUDSDUWLFXODUJHQGHU


                                                    3DJH                                                           3DJH
    PDOHRUERWKLVDFFXUDWHO\UHODWLQJZKDW VJRLQJRQ"            UDWKHUWKDQ"
    $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.2EMHFWLRQ7UDYLV, P
    7+(:,71(66<HDK,JXHVV,GRQ W              VRUU\WKHPDOHRUERWKSKUDVLQJLVWKDWDTXRWHIURP
    XQGHUVWDQGWKHTXHVWLRQH[DFWO\<RXNQRZP\MRELV           VRPHWKLQJ,GRQ WKDYHWKHSDSHULQIURQWRIPHVR
    QRWQHFHVVDULO\WRGHILQHZKDWLVDFFXUDWHLQVRPHRQH V         MXVWZDQWWRFODULI\
    RZQH[SHULHQFH,W VWRXQGHUVWDQGKRZWKDWILWVLQWR          $77251(<%$5+$01RWKDW VQRWD
    W\SLFDOSURFHVVHVDQGGHYHORSPHQWDOH[SHFWDWLRQVIRUWKH        TXHVWLRQIURPVRPHWKLQJ7KDW VMXVWP\TXHVWLRQ
    EURDGUDQJHRIJHQGHUGLYHUVLW\RYHUWLPH                      $77251(<%/2&.2ND\
    %<$77251(<%$5+$0                                             7+(:,71(66&DQ\RXUHSHDWWKH
   4+RZGR\RXGHWHUPLQHZKHWKHUVRPHRQHLQWKDW          TXHVWLRQ"
   VFHQDULRLVDFFXUDWHO\XQGHUVWDQGLQJKLVRZQVXEMHFWLYH        %<$77251(<%$5+$0
   IHHOLQJVKLVRUKHUVXEMHFWLYHIHHOLQJV"                   4,IDQLQGLYLGXDODVVHUWVDJHQGHULGHQWLW\PDOH
   $77251(<%/2&.2EMHFWLRQWRIRUP             RUERWKKRZFDQDFOLQLFLDQYHULI\ZKHWKHUWKH
   7+(:,71(667KHFRQWH[WRIWKH                LQGLYLGXDOLVPDNLQJWKHVWDWHPHQWEDVHGRQVRFLHWDO
   WUHDWPHQWLVUHDOO\LPSRUWDQW,IDQLQGLYLGXDOLV            H[SHFWDWLRQVIRUDSDUWLFXODUJHQGHUUDWKHUWKDQKLVRZQ
   VHHNLQJVSHFLILFLQWHUYHQWLRQVWKDWUHTXLUHDPHQWDO           JHQXLQHJHQGHU"
   KHDOWKDVVHVVPHQWWKHUHDUHVSHFLILFFRPSRQHQWVRIWKDW       $77251(<%/2&.2EMHFWLRQWRIRUP
   PHQWDOKHDOWKDVVHVVPHQWWKDWPXVWEHPHW                     7+(:,71(66,SHUVRQDOO\QHYHUKDG
   %<$77251(<%$5+$0                                            DQ\ERG\DVVHUWDQLGHQWLW\RIPDOHRUERWKEXWSDUWRI
   46RZKDWDUHWKHWUHDWPHQWVWKDWZRXOGUHTXLUHD       WKHDVVHVVPHQWRILIZHDUHGLDJQRVLQJJHQGHU
   PHQWDOKHDOWKDVVHVVPHQW"                                      G\VSKRULDLVXQGHUVWDQGLQJWKHFXOWXUDODQGVRFLDO
   $3XEHUW\EORFNLQJPHGLFDWLRQVKRUPRQHVRU             FRQWH[WVDQGHQVXULQJWKDWIRONVDUHQRWSUHVHQWLQJZLWK
   VXUJHU\                                                       DJHQGHULGHQWLW\WKDWLVLQFRQJUXHQWZLWKWKHLUVH[
   4$QGZKDWDUHWKHLQWHUYHQWLRQVWKDWZRXOGQRW         DVVLJQHGDWELUWKEHFDXVHRIDFWXDORUSHUFHLYHG


                                                                                            3DJHVWR
                                                                                                       Armistead App. 0916
                                                   3DJH                                                            3DJH
    FXOWXUDODGYDQWDJHV                                            LGHQWLILFDWLRQ
    %<$77251(<%$5+$0                                             
    4$QGKRZGRHVRQHJRDERXWDVVHVVLQJWKH                %<$77251(<%$5+$0
    PRWLYDWLRQVEHKLQGWKHFODLPHGJHQGHULGHQWLW\RU               4$UH\RXIDPLOLDUZLWKWKLVVWXG\"7KLVLVD
    WUDQVJHQGHUVH["                                                VWXG\IURPWKH+DUYDUG0HGLFDO6FKRROHQWLWOHG*HQGHU
    $77251(<%/2&.2EMHFWLRQWRIRUP              )OXLGLW\:KDWLW0HDQVDQG:K\6XSSRUW0DWWHUV"
    7+(:,71(66)RUDQ\SV\FKLDWULF                $77251(<%/2&.2EMHFWLRQ
    DVVHVVPHQWWKLVLVWKURXJKDFRPELQDWLRQRILQWHUYLHZV         7+(:,71(667KLVORRNVOLNHDSRSXODU
    JDWKHULQJKLVWRU\IURPUHOHYDQWGDWDVRXUFHVDQG                ZHEVLWHDUWLFOHDQGQRWDVWXG\
   VRPHWLPHVIRUVRPHSHRSOHVWUXFWXUHGLQWHUYLHZVRU             %<$77251(<%$5+$0
   VFDOHV                                                        4$UH\RXIDPLOLDUZLWKWKHDXWKRU'U6DEULQD
   %<$77251(<%$5+$0                                            .DW]6DEUD.DW]:LVH"
   4$QGKRZORQJGRHVLWWDNHWRFRQGXFWVXFKDQ          $'U.DW]:LVHKDVSXEOLVKHGLQWKHZRUOGRI
   DVVHVVPHQW"                                                    WUDQVJHQGHUKHDOWK, PQRWIDPLOLDUZLWKWKHP
   $7KHUHLVQRVSHFLILFWLPHIUDPHLQYROYHGLQWKLV       SHUVRQDOO\,GRQ WNQRZWKHP
   DVVHVVPHQW,WUHDOO\GHSHQGVXSRQFRQWH[WXDOIDFWRUV         4'R\RXNQRZ'U.DW]:LVHDWOHDVWE\
   WKDWDUHKDUGWRQDLOGRZQ                                    UHSXWDWLRQ"
   46RLI\RXZHUHWUHDWLQJDFKLOGRUWHHQDJHUKRZ      $,GRQ W, YHRQO\UHDGVRPHVWXGLHV
   PDQ\UHOHYDQWGDWDVRXUFHVZRXOG\RXQHHGWRJHW               4%XW\RXZRXOGDJUHHWKDWVKHLVKLJKO\UHVSHFWHG
   LQIRUPDWLRQIURPLQRUGHUWRPDNHDFRPSOHWHDVVHVVPHQW        LQWKLVDUHD
   RIWKHFKLOG VPRWLYDWLRQV"                                    &RUUHFW"
   $,GRQ WWKLQNWKHUH VHYHUJRLQJWREHD              $,ZRXOGQRWEHDEOHWRRIIHUDQRSLQLRQ
   FRQFUHWHDQVZHULQWHUPVRIKRZPDQ\7KHUH VQRWD           4%XWVKHLVZLGHO\SXEOLVKHGLQWKLVDUHD
   VSHFLILFDQVZHURIKRZPDQ\VRXUFHVDUHQHFHVVDU\,W V       &RUUHFW"


                                                   3DJH                                                            3DJH
    KRZHYHUPDQ\VRXUFHVDUHQHFHVVDU\WRJDWKHUWKH                $77251(<%/2&.2EMHFWLRQWRIRUP
    UHOHYDQWLQIRUPDWLRQ                                           7+(:,71(66)URPP\UHFROOHFWLRQ\HV
    46RKRZGR\RXGHWHUPLQHZKHWKHU\RXKDYH               %<$77251(<%$5+$0
    JDWKHUHGHQRXJKLQIRUPDWLRQWRPDNHDFRPSHWHQW                 4$WWKHERWWRPRISDJHWZRRIWKLVGRFXPHQW'U
    DVVHVVPHQW"                                                     .DW]:LVHLQGLFDWHVWKDWZKLOHVRPHSHRSOHGHYHORSD
    $,W VKDUGWRVWDWHWKLVLQDQRQSLWK\ZD\EXW        JHQGHULGHQWLW\HDUO\LQFKLOGKRRGRWKHUVPD\LGHQWLI\
    WKDW VNLQGRIZKDWWKHSURFHVVRISV\FKLDWU\DQGFKLOG         ZLWKRQHJHQGHUDWRQHWLPHDQGWKHQDQRWKHUJHQGHU
    SV\FKLDWU\WUDLQLQJKHOSV\RXWROHDUQ                         ODWHURQ
    4&RXOG\RXH[SODLQWRVRPHRQHZKRGRHVQ WKDYH          ,VWKDWFRUUHFW"
   WKHWUDLQLQJKRZ\RXFRPHWRWKHFRQFOXVLRQRND\, YH        $<RX UHUHDGLQJWKDWDFFXUDWHO\\HDK
   JDWKHUHGHQRXJKLQIRUPDWLRQWRPDNHDFRPSHWHQW                46RDFFRUGLQJWRWKLVDUWLFOHRQSDJHWKUHHD
   DVVHVVPHQW"                                                    JHQGHUIOXLGSHUVRQLVRQHZKRVHJHQGHULGHQWLW\FKDQJHV
   $6XUH,FDQWU\+RZDFFXUDWHLVWKHUHSRUWHU       IUHTXHQWO\
   LQWKHLUGHVFULSWLRQRIWKHLUKLVWRU\+RZPXFKGRHVLW       &RUUHFW"
   DOLJQZLWKUHSRUWVIURPRWKHULQIRUPDQWVKRZPXFKGRHV        $77251(<%/2&.2EMHFWLRQWRIRUP
   LWPDWFKZLWKRULVGHYLDQWIURPH[SHFWHGSKHQRW\SLF           7+(:,71(66,GRQRW,KDYHQRW
   SURFHVVHVZLWKWKHGLVRUGHUVLQTXHVWLRQDQGZKDWLVWKH       UHDGLWLQKHUHWKDWLWLVGHILQHGLQWKDWZD\DQG
   LPSUHVVLRQRIWKHHYDOXDWRUDERXWWKHDFFXUDF\RIWKH          WKDW VQRWKRZ,ZRXOGGHILQHJHQGHUIOXLGLW\
   VWDWHPHQWV                                                    %<$77251(<%$5+$0
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX         4$WOHDVW\RXVHHWKHVWDWHPHQWDWWKHILUVWIXOO
   ZKDWZHZLOOPDUNDV([KLELWWKLVZLOOEH7DE           SDUDJUDSKDWWKHWRSRISDJHWKUHHXOWLPDWHO\DQ\RQH
                                    ZKRLGHQWLILHVDVJHQGHUIOXLGLVDJHQGHUIOXLGSHUVRQ
    :KHUHXSRQ([KLELW+DUYDUG0HGLFDO          RIWHQWKHWHUPLVXVHGIRUDSHUVRQ VJHQGHUH[SUHVVLRQ
   6FKRRO6WXG\ZDVPDUNHGIRU                   RUJHQGHULGHQWLW\HVVHQWLDOO\WKHLULQWHUQDOVHQVHRI


                                                                                            3DJHVWR
                                                                                                           Armistead App. 0917
                                                             3DJH                                                      3DJH
    VHOIFKDQJHVIUHTXHQWO\"                                             ZKDWZHZLOOPDUNDV([KLELWDQGWKLVZLOOEH7DE
    $77251(<%/2&.2EMHFWLRQ:H UH                    
    MXPSLQJTXLFNO\IURPSDJHV&DQ\RXJLYHKLPVRPHPRUH               :KHUHXSRQ([KLELW$PHULFDQ
    WLPHWRUHDGEHIRUHDQVZHULQJWKHTXHVWLRQ"                          3V\FKRORJLFDO$VVRFLDWLRQ*XLGHOLQHV
    $77251(<%$5+$0&HUWDLQO\                          ZDVPDUNHGIRULGHQWLILFDWLRQ
    7+(:,71(66<HV, PQRWVHHLQJZKHUH              
    WKDWLVKHUH&DQ\RXSRLQWWKDWRXWIRUPH"                        %<$77251(<%$5+$0
    %<$77251(<%$5+$0                                                  47KLVGRFXPHQWLVWKH$PHULFDQ3V\FKRORJLFDO
    47RSRISDJHWKUHHMXVWDERYHWKDWKRZLV                  $VVRFLDWLRQ*XLGHOLQHVIRU3V\FKRORJLFDO3UDFWLFHZLWK
   JHQGHUIOXLGLW\UHODWHGWRKHDOWKLQFKLOGDQGWHHQV"               7UDQVJHQGHUDQG*HQGHU1RQ&RQIRUPLQJ3HRSOH
   $*HQGHUIOXLGLW\LVDYHU\QRQVSHFLILFWHUPWKDW            &RUUHFW"
   PHDQVYHU\GLIIHUHQWWKLQJVWRGLIIHUHQWSHRSOH,QWKH            $7KDWLVFRUUHFW
   SUDFWLFHRIWKHFOLQLFDOZRUNZLWKWUDQVJHQGHUDQG                  4$QGRQSDJHRIWKLVGRFXPHQWWKH$3$ZULWHV
   JHQGHUGLYHUVH\RXWKNLGVZKRDUHVHOILGHQWLI\LQJDV              MXVWDVVRPHSHRSOHH[SHULHQFHWKHLUVH[XDORULHQWDWLRQ
   JHQGHUIOXLG,ZDQWWRXQGHUVWDQGZKDWLWPHDQVWRWKHP            DVEHLQJIOXLGRUYDULDEOHVRPHSHRSOHDOVRH[SHULHQFH
   DQGZKDWWKDWGHILQLWLRQLVIRUWKDWLQGLYLGXDO,                 WKHLUWKHJHQGHULGHQWLW\DVIOXLG
   GRQ WWKLQNWKHUHLVRQHHVWDEOLVKHGGHILQLWLRQRI                  &RUUHFW"
   JHQGHUIOXLGLW\WKDWKDVEHHQDJUHHGXSRQ                          $&DQ\RXVKRZPHRQWKHSDJHZKHUHWKDWLV"
   4%XWDWOHDVWVRPHUHVSHFWHGSURIHVVLRQDOVLQ               47KHERWWRPRIWKHILUVWSDUDJUDSKLQWKHILUVW
   WKLVDUHQDLQGLFDWHWKDWWKHWHUPJHQGHUIOXLGLW\PHDQV             FROXPQRISDJH
   WKDWWKHSHUVRQ VLQWHUQDOVHQVHRIVHOIWKHLUJHQGHU              $<HV
   LGHQWLW\FKDQJHVIUHTXHQWO\                                        46RWKH$3$*XLGHOLQHVVD\WKDWJHQGHULGHQWLW\
   &RUUHFW"                                                   FDQEHIOXLGRUFKDQJLQJ
   $77251(<%/2&.2EMHFWLRQWRIRUP                  &RUUHFW"


                                                             3DJH                                                      3DJH
    7+(:,71(66,FDQ WVSHDNWRZKDW'U               $77251(<%/2&.2EMHFWLRQWRIRUP
    .DW]:LVHLVXVLQJWRGHILQHLW7KHZD\,ZRXOG                    7+(:,71(66:HOO,WKLQNWKHLPSRUWDQW
    GHVFULEHJHQGHUIOXLGLW\DJDLQRXWVLGHWKHFRQWH[WRI               SLHFHLVVRPHSHRSOHH[SHULHQFHJHQGHULGHQWLW\DVIOXLG
    KRZP\SDWLHQWVDUHDFWXDOO\XVLQJWKHWHUPLVWKDW                 RUYDULDEOH
    XQGHUVWDQGLQJRIWKHH[SUHVVLRQRIJHQGHULGHQWLW\PD\               %<$77251(<%$5+$0
    FKDQJHRYHUWLPH                                                    46RLWFDQEHIOXLGRUFKDQJLQJ"
    %<$77251(<%$5+$0                                                  &RUUHFW"
    46R\RXVDLGWKDWWKHLUXQGHUVWDQGLQJRIJHQGHU              $77251(<%/2&.2EMHFWLRQWRIRUP
    LGHQWLW\FDQFKDQJHRYHUWLPH'U.DW]:LVHVD\VWKDW              %<$77251(<%$5+$0
   WKHLUJHQGHULGHQWLW\FKDQJHVIUHTXHQWO\"                           4)RUDWOHDVWVRPHSHRSOH
   ,VWKDWFRUUHFW"                                           &RUUHFW"
   $7KDW VZKDWLWVWDWHGLQWKLVSRSXODUSUHVV                7+(:,71(66$V,ZRXOGGHVFULEHLWDQG
   DUWLFOH                                                            XQGHUVWDQGLWWKDW VWKHH[SHULHQFHRIH[SUHVVLRQRI
   4$QG'U.DW]:LVHLVDQ$VVLVWDQW3URIHVVRULQ             JHQGHULGHQWLW\FDQEHIOXLGRYHUWLPHZKLFKLV
   $GROHVFHQWDQG<RXQJ$GXOW0HGLFLQHDW%RVWRQ&KLOGUHQ V            GLIIHUHQW
   +RVSLWDO                                                           %<$77251(<%$5+$0
   ,VWKDWFRUUHFW"                                           4+RZLVWKDWGLIIHUHQWWRVD\WKDWRQH VJHQGHU
   $,ZRXOGKDYHWRWDNH\RXUZRUGIRUWKDW                   LGHQWLW\FKDQJHV"
   42ND\                                                      $,W VJHWWLQJDOLWWOHFRPSOLFDWHGLQWHUPVRI
   $UH\RXDZDUHWKDWVKHFRGLUHFWVWKH+DUYDUG              WKHFRQFHSWVWKDWZH UHWDONLQJDERXWEXWWKHLGHQWLW\
   6H[XDO2ULHQWDWLRQDQG*HQGHU,GHQWLW\([SUHVVLRQ(TXLW\            WKDWJHQGHULGHQWLW\LVVRPHWKLQJWKDWLVLQKHUHQWO\
   5HVHDUFK&ROODERUDWLYH"                                             IL[HGWKDWKRZSHRSOHXQGHUVWDQGH[SHULHQFHLWDQG
   $,GRQRWNQRZWKHWHUPQR                                H[SUHVVLWFDQFKDQJHRYHUWLPH7KDW VWKHGLIIHUHQFH
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX              4%XWWKH$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQDW


                                                                                                 3DJHVWR
                                                                                                       Armistead App. 0918
                                                    3DJH                                                           3DJH
    OHDVWGHVFULEHVJHQGHULGHQWLW\DVEHLQJIOXLG                 JHQGHUDGROHVFHQFH
    &RUUHFW"                                               &RUUHFW"
    $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.2EMHFWLRQWRIRUP
    7+(:,71(66,QWKHDUWLFOHWKDW\RX            7+(:,71(66<HDKLQWKHVHVWXGLHVKDYH
    KDYHSXWLQIURQWRIPHLWGHVFULEHVWKDWSHRSOH V              EHHQSXEOLVKHGSULPDULO\E\WKH'XWFKFOLQLFWKHUDWHV
    H[SHULHQFHRIWKHLUJHQGHULGHQWLW\LVIOXLGRYHUWLPH         RIGLVVHQWLHQFHRIWKHGLDJQRVLVRIJHQGHUG\VSKRULDKDV
    %<$77251(<%$5+$0                                             EHHQXSZDUGVRISHUFHQW
    4/HW VJREDFNWR7DEZKLFKLV([KLELW$UH       %<$77251(<%$5+$0
    \RXIDPLOLDUZLWKWKH(QGRFULQH6RFLHW\*XLGHOLQHV"             4$QGDWWKHERWWRPRIWKHILUVWFROXPQRI
   $,DP                                                 SDJHWKHFRPPLWWHHLQGLFDWHVWKDWWKHLUFOLQLFDO
   4,VLW\RXUYLHZWKDWWKHVHJXLGHOLQHVZHUH            H[SHULHQFHVXJJHVWVWKDWWKHSHUVLVWHQFHRIJHQGHU
   GHYHORSHGWKURXJKULJRURXVVFLHQWLILFSURFHVVHV"               G\VSKRULDRUJHQGHULQFRQJUXHQFHFDQRQO\EHUHOLDEO\
   $77251(<%/2&.2EMHFWLRQWRIRUP             DVVHVVHGDIWHUWKHILUVWVLJQVRISXEHUW\
   7+(:,71(66,DJUHH                          ,VWKDWFRUUHFW"
   %<$77251(<%$5+$0                                            $7KDWLVZKDWLVZULWWHQ\HV
   4:RXOG\RXDJUHHWKDWWKHVHJXLGHOLQHVZHUH            4<RXKDYHQRWRIIHUHGDQRSLQLRQLQ\RXUUHSRUW
   GHYHORSHGE\DPRQJWKHPRVWUHVSHFWHGUHVHDUFKHUVLQWKH       DVWRZKHWKHURUZKHWKHURUWRZKDWWUDQVJHQGHU
   ILHOG"                                                         LGHQWLW\KDVDELRORJLFDOEDVLV
   $77251(<%/2&.2EMHFWLRQWRIRUP             ,VWKDWFRUUHFW"
   7+(:,71(66,ZRXOGQ WGLVDJUHHZLWK          $/HWPHMXVWPDNHVXUHWKDW, PUHYLHZLQJLW,
   WKDWQR                                                      KDYHQRWRIIHUHGDQRSLQLRQ
   %<$77251(<%$5+$0                                            4,I\RXZLOOWXUQWRSDJHRI([KLELW7DE
   4'R\RXUHVSHFW'U+HPEUHHRI&ROXPELD                7KHFRPPLWWHHZLWKDOORILWVH[SHULHQFHDQGSUHVHQWLQJ
   8QLYHUVLW\0HGLFDO&HQWHU"                                     DOOWKHHYLGHQFHVDLGWKDWJHQGHUG\VSKRULDLQFKLOGUHQ


                                                    3DJH                                                           3DJH
    $,GR                                                  TXRWHGRHVQRWLQYDULDEO\SHUVLVWLQWRDGROHVFHQFHDQG
    4'R\RXUHVSHFW'U&RKHQ.HWWHQLVRIWKH               DGXOWKRRG
    8QLYHUVLW\RI$PVWHUGDP"                                        ,VWKDWFRUUHFW"
    $,ZRXOGVD\,UHVSHFWDOORIWKHVHFOLQLFLDQV          $7KDWLVFRUUHFW
    DQGUHVHDUFKHUVDOWKRXJK6DELQH+DQQHPD,DPQRW               4,QIDFWWKLVFRPPLWWHHFRQFOXGHGWKDWWKDW
    IDPLOLDUSHUVRQDOO\                                            JHQGHUG\VSKRULDDPLQRULW\RISUHSXEHUWDOFKLOGUHQ
    4,I\RXZLOOWXUQWRSDJHRIWKLVGRFXPHQW        DSSHDUVWRSHUVLVWLQDGROHVFHQFH
    5LJKWXQGHUWKHKHDGLQJHYLGHQFHWKLVDUWLFOHUHSRUWV           ,VWKDWFRUUHFW"
    WKDWWKHODUJHPDMRULW\DERXWSHUFHQWRISUHSXEHUWDO        $7KDWLVFRUUHFW
   FKLOGUHQZLWKDFKLOGKRRGGLDJQRVLVGLGQRWUHPDLQ*'         4, PJRLQJWRWXUQ\RXUDWWHQWLRQWRWKLV
   VODVKJHQGHULQFRQJUXHQWLQDGROHVFHQFH                      ZLOOEH7DE([KLELW
   ,VWKDWFRUUHFW"                                      
   $7KDWLVFRUUHFWO\UHDG\HV                           :KHUHXSRQ([KLELW/LVD/LWWPDQ
   4$QGIRRWQRWHRIWKLVGRFXPHQWFLWHVWR'U         6WXG\ZDVPDUNHGIRULGHQWLILFDWLRQ
   6WHHQVPDGH9ULHV&RKHQ.HWWHQLVDUWLFOHLQ"            
   $7KDW VFRUUHFW                                       %<$77251(<%$5+$0
   47KHVHDUHH[WHQVLYHO\SXEOLVKHGRULJLQDOSHHU         47KLVLVDVWXG\E\/LVD/LWWPDQHQWLWOHG
   UHYLHZHGUHVHDUFKSHHUUHYLHZHGUHVHDUFKHUVLQWKH         ,QGLYLGXDOV7UHDWHGIRU*HQGHU'\VSKRULDZLWKD0HGLFDO
   ILHOG                                                         DQGRU6XUJLFDO7UDQVLWLRQZKR6XEVHTXHQWO\
   &RUUHFW"                                              'HWUDQVLWLRQHG
   $&RUUHFW                                              ,VWKDWFRUUHFW"
   46RWKLVFRPPLWWHHUHYHDOVHYLGHQFHWKDWWKH           $7KDWLVFRUUHFW
   ODUJHPDMRULW\RIFKLOGUHQDERXWSHUFHQWZLWKD           4$UH\RXIDPLOLDUZLWKWKLVVWXG\"
   FKLOGKRRGGLDJQRVLVGRQRWUHPDLQJHQGHUG\VSKRULFLQ          $,DP



                                                                                            3DJHVWR
                                                                                                              Armistead App. 0919
                                                               3DJH                                                       3DJH
    47KHVWXG\ZDVEDVHGRQVXUYH\UHVSRQVHVIURPD                $,GR
    KXQGUHGDGXOWLQGLYLGXDOVZKRZHUHDSSURYHGIRUKRUPRQDO               4'R\RXVHHWKHKHDGLQJGHWUDQVLWLRQ"
    DQGRUVXUJLFDOWUDQVLWLRQXQGHUZHQWVXFKWUDQVLWLRQ                 $,GR
    OLYHGLQDWUDQVJHQGHULGHQWLW\IRUDSHULRGRI\HDUV                  4$QGLWVD\VWKHUHWKDWZKHQSDUWLFLSDQWVGHFLGHG
    DQGWKHQGHFLGHGWRGHWUDQVLWLRQRUUHYHUWWRDJHQGHU                WRGHWUDQVLWLRQWKH\ZHUHDPHDQDJHRI\HDUVROG
    LGHQWLW\DVVRFLDWHGZLWKWKHLUELRORJLFDOVH[                         &RUUHFW"
    ,VWKDWFRUUHFW"                                              $7KDWLVFRUUHFW
    $7KDWLVP\XQGHUVWDQGLQJRIWKHVWXG\\HV                   4+DYH\RXUHDGWKLVVWXG\EHIRUHWRGD\"
    4$QGDOORIWKHVXEMHFWVKDGGHWUDQVLWLRQHGE\                 $,KDYH
   GLVFRQWLQXLQJWKHLUPHGLFDWLRQVKDYLQJVXUJHULHVWR                  46RGRHVQ WWKLVVWXG\DWOHDVWVXJJHVWWKDW
   UHYHUVHWKHHIIHFWVRIWUDQVLWLRQRUERWK                            SDWLHQWVPD\WKLQNWKH\KDYHDVHQVHRIEHORQJLQJWRWKH
   &RUUHFW"                                                     RSSRVLWHVH[EXWFDQEHPLVWDNHQ"
   $77251(<%/2&.2EMHFWLRQWRIRUP$UH               $77251(<%/2&.2EMHFWLRQWRIRUP
   \RXUHDGLQJVRPHWKLQJ"                                                7+(:,71(66,WKLQNZKDWWKLVVWXG\
   $77251(<%$5+$0, PUHIHUHQFLQJ                      GRHVLVKHDUH[SHULHQFHVIURPDVHOHFWJURXSRI
   SDJHWZRFROXPQWZRDWWKHERWWRPRIWKHSDJH                      LQGLYLGXDOVZKRDUHPRWLYDWHGWRSDUWLFLSDWHLQWKH
   7+(:,71(660\UHFROOHFWLRQIURPWKH                 VWXG\DERXWGHWUDQVLWLRQDQGKHDUWKHLUH[SHULHQFHVRI
   VWXG\ZDVWKDWWKLVZDVDOOVHOIUHSRUWVRWKHUHZDVQR              WKHLUFDUH
   ZD\WRYHULI\LIWKDWZDVFRUUHFWRUWUXH                            %<$77251(<%$5+$0
   %<$77251(<%$5+$0                                                   4%XWWKHVWXG\VWLOOLQGLFDWHVWKDWWKRVH
   4%XWWKDW VDWOHDVWZKDWWKHSDUWLFLSDQWV                    LQGLYLGXDOVKDGDVHQVHRIEHORQJLQJWRWKHRSSRVLWHVH[
   UHSRUWHG                                                             DQGODWHUFRQFOXGHGWKDWWKH\ZHUHZHUHPLVWDNHQ
   &RUUHFW"                                                     ,VWKDWFRUUHFW"
   $)URPP\UHFROOHFWLRQ, GKDYHWRUHUHDGWKH                $<RXZLOOKDYHWRIRUJLYHP\FOLQLFLDQQDWXUH


                                                               3DJH                                                       3DJH
    HQWLUHVWXG\WRVD\IRUVXUHEXWWKDWLVP\                            KHUHEXWODQJXDJHLVLPSRUWDQWZKHQZRUNLQJZLWK
    UHFROOHFWLRQ\HV                                                     SDWLHQWVZKRDUHWUDQVLWLRQLQJ,GRQ WNQRZLIWKDW V
    4$QGLI\RXWXUQWRSDJHHLJKWRIWKHVHFRQG                   WKHODQJXDJHWKDWWKH\ZRXOGXVHRULIWKDWLVWKH
    FROXPQXQGHUWKHKHDGLQJGHWUDQVLWLRQ"                               ODQJXDJHWKDWZDVXVHGLQWKLVSDUWLFXODUVXUYH\
    $,GRQ WKDYHSDJHQXPEHUVRQPLQH                            4%XWWKHHIIHFWRIGHWUDQVLWLRQLQJLVWKDWWKH\
    $77251(<%/2&.'R\RXUHIHUHQFHWKH                   DWRQHWLPHWKRXJKWWKH\EHORQJHGWRWKHRSSRVLWHVH[
    SDJHQXPEHUDWWKHWRS"                                                DQGWKHQODWHUFRQFOXGHGWKDWWKH\GLGQRW"
    $77251(<%$5+$07KHVRXUFHFRQWDLQVQR                $77251(<%/2&.2EMHFWLRQWRWKHIRUP
    SDJHQXPEHUVPDNLQJLWGLIILFXOW                                     7+(:,71(66$JDLQ,WKLQNZHZRXOG
   %<$77251(<%$5+$0                                                   ZDQWWRNQRZVSHFLILFDOO\ZKDWHDFKLQGLYLGXDOSHUVRQ
   48QGHUWKHKHDGLQJGHWUDQVLWLRQLW VWKHSDJH                 KRZWKH\GHVFULEHGWKHLUSURFHVV,GRQ WNQRZZKDW
   ULJKWEHIRUHWDEOHIRXU                                              GHWUDQVLWLRQPHDQVWRWKRVHZKRDUHWDNLQJDUHODWLYHO\
   $77251(<%/2&., PVRUU\&DQ,VHH                 DQRQ\PRXVVXUYH\VRLW VKDUGWRGUDZDFRQFOXVLRQ
   WKHKHDGLQJRQWKHGRFXPHQW"-XVWIRUWKHUHFRUGWKLV               DERXWWKHVSHFLILFQDWXUHRILW7KHJHQHUDOO\DFFHSWHG
   GRHVQ WDSSHDUWREHDSDJLQDWHGYHUVLRQRIWKHDUWLFOH               XSRQGHILQLWLRQRIGHWUDQVLWLRQLVJHQHUDOO\DOLJQHG
   ZKHUH\RXNQRZZKHQ,SXOOLWXS,JHWDSXEOLFDWLRQ               ZLWKVRPHERG\ZKRUHYHUWVEDFNWRDJHQGHULGHQWLW\RU
   GDWHDQGSDJHV6R,GRQ WNQRZLIWKLVLVWKHILQDO                 JHQGHUH[SUHVVLRQWKDWLVPRUHDOLJQHGZLWKWKHLUVH[
   YHUVLRQRIWKHDUWLFOHRUQRWEXW\RXFDQSURFHHGZLWK               DVVLJQHGDWELUWK
   WKHTXHVWLRQV                                                        %<$77251(<%$5+$0
   $77251(<%$5+$0&RXQVHO, OOUHWXUQWR              47KLVVWXG\GHILQHVGHWUDQVLWLRQDVGLVFRQWLQXLQJ
   \RXUFRQFHUQV0U%ORFN                                             PHGLFDWLRQVKDYLQJVXUJHULHVWRUHYHUVHWKHHIIHFWRI
   %<$77251(<%$5+$0                                                   WUDQVLWLRQRUERWK
   4'R\RXVHHWKHRQHSDJHEHIRUHWKHSDJHWKDW                 ,VWKDWFRUUHFW",WLVRQSDJHWZR"
   FRQWDLQV7DEOH"                                                     $6KRZPHZKHUHRQSDJHWZR


                                                                                                   3DJHVWR
                                                                                                       Armistead App. 0920
                                                   3DJH                                                            3DJH
    47KHVHFRQGFROXPQRISDJHWZRDWWKHERWWRPRI        <RXPHQWLRQHGWKDWWKLVLVDVHOIUHSRUWLQJVWXG\DQGLW
    WKHSDJH"                                                       REYLRXVO\FRQFHUQVDQHPRWLRQDOO\IUDXJKWDUHDRIJHQGHU
    $77251(<%/2&.2EMHFWLRQWRIRUP              LGHQWLW\6RLVLW\RXUSRVLWLRQWKDWWKLVGRHVQRW
    7+(:,71(66<HDK, PQRWVHHLQJWKDW         SURGXFHVFLHQWLILFDOO\PHDQLQJIXOUHVXOWV"
    'U/LWWPDQLVVSHFLILFDOO\GHILQLQJGHWUDQVLWLRQEXW           $,GRQ WNQRZZKDW\RXPHDQE\VFLHQWLILFDOO\
    GHVFULELQJWKHREMHFWLYHRIWKHVWXG\IRUIRONVZKR             PHDQLQJIXO
    GHWUDQVLWLRQHGE\WKRVHDVSHFWVWKDW\RXQRWHG                 4'R\RXEHOLHYHWKDWWKLVWKHUHVXOWVRIWKLV
    %<$77251(<%$5+$0                                             DUWLFOHDUHVFLHQWLILFDOO\UHOLDEOH"
    42ND\                                                  $,WGHSHQGVXSRQZKDWTXHVWLRQLVEHLQJDVNHG
   %XWVKHQRWHVLQWKHODVWSDUDJUDSKRQWKDW           $VDEODQNHWDQ\NLQGRIVHOHFWLRQELDVSDUWLFXODUO\
   SDJHWKHREMHFWLYHRIWKHFXUUHQWVWXG\ZDVWRGHVFULEH        IRUWKLVVWXG\EDVHGXSRQZKHUHWKHSDUWLFLSDQWVZHUH
   WKHSRSXODWLRQRILQGLYLGXDOVVNLSSLQJZKRWKHQ              GUDZQIURPPDNHVXVQRWZDQWWRGUDZFRQFOXVLRQVDERXW
   GHWUDQVLWLRQHGE\GLVFRQWLQXLQJPHGLFDWLRQVKDYLQJ            WKHLUJHQHUDOL]HGDSSOLFDELOLW\RIWKLVVWXG\WRRWKHU
   VXUJHU\WRUHYHUVHWKHHIIHFWVRIWUDQVLWLRQRUERWK"          WUDQVJHQGHUIRONVLQFOXGLQJRWKHUIRONVZKRPD\KDYH
   $7KDW VFRUUHFW                                       GHWUDQVLWLRQHGEXWWKHJRDORIVFLHQFHLVQRW
   46RVKHLVLQGLFDWLQJZKDWVKHXQGHUVWDQGV             QHFHVVDULO\WRGUDZZLGHO\DSSOLFDEOHFRQFOXVLRQVEXW
   GHWUDQVLWLRQLQJWRPHDQLQWKLVDUWLFOH                       WRSXWXVLQDSRVLWLRQZKHUHZHFDQDVNPRUHTXHVWLRQV
   &RUUHFW"                                              DQGLPSURYHRXUFDUHIRURXUSDWLHQWV
   $77251(<%/2&.2EMHFWLRQWRIRUP             41RZZK\GR\RXVD\ZK\GR\RXKLJKOLJKW
   7+(:,71(66$JDLQ, PQRWVXUHKRZVKH        FRQFHUQVDERXWZKHUHWKHSDUWLFLSDQWVZHUHGUDZQIURP"
   VSHFLILFDOO\GHILQHVGHWUDQVLWLRQ,WLVQRW                  $,KLJKOLJKWWKDWEHFDXVHLWFUHDWHVDVHQVHRI
   QHFHVVDULO\PDGHFOHDULQWKDWVWDWHPHQW                      VHOHFWLRQELDVZKLFKSRWHQWLDOO\DV,VDLGFDQUHGXFH
   %<$77251(<%$5+$0                                            WKHZK\DSSOLFDELOLW\RIWKHFRQFOXVLRQVGUDZQ
   4,VLWWUXHWKDWSHRSOHPD\PLVWDNHIHHOLQJV           4$QGZK\GR\RXVD\WKDWWKHUHLVDSRWHQWLDOIRU


                                                   3DJH                                                            3DJH
    UHVXOWLQJIURPWUDXPDPHQWDOLOOQHVVRUKRPRSKRELDIRU         VHOHFWLRQELDVLQWKLVDUWLFOH"
    DJHQXLQHVHQVHRIWUDQVJHQGHULGHQWLW\"                        $%DVHGXSRQWKHZHEVLWHVWKDW'U/LWWPDQKDV
    $77251(<%/2&.2EMHFWLRQWRIRUP              GUDZQKHUSDUWLFLSDQWV
    7+(:,71(66,WKLQNWKHUHDUHDORWRI         4$QGZK\GR\RXKDYHFRQFHUQVDERXWWKRVH
    FRPSOLFDWHGH[SHULHQFHVWKDWSHRSOHPD\KDYHWKDWPDNH          ZHEVLWHV"
    WKHPTXHVWLRQWKHLUJHQGHULGHQWLW\                            $,KDYHFRQFHUQVDERXWWKHZHEVLWHVEHFDXVHRI
    %<$77251(<%$5+$0                                             WKHFRQWHQWVRIWKRVHZHEVLWHV
    46RLW VDWOHDVWSRVVLEOHWKDWSHRSOHFRXOG            4$QGZKDWLVFRQWHQWVRIWKRVHZHEVLWHVWKDW
    PLVWDNHIHHOLQJVUHVXOWLQJIURPWUDXPDPHQWDOLOOQHVV          FDXVHV\RXFRQFHUQ"
   RUKRPRSKRELDIRUJHQXLQHVHQVHRIWUDQVJHQGHULGHQWLW\       $7KHFRQWHQWRIWKHZHEVLWHVLVXQVFLHQWLILF
   &RUUHFW"                                              $QG,JXHVV, PQRWVXUHKRZWRDUWLFXODWHLWLQDPRVW
   $77251(<%/2&.2EMHFWLRQWRIRUP             GHILQHGZD\YHU\VSHFLILFWRDQVZHULQJDVHWRI
   7+(:,71(66,GRQ WGLVDJUHHZLWKWKDW       TXHVWLRQVWKDWUHHQIRUFHVWKHSUHVWXG\K\SRWKHVHV
   QR                                                            46RZKLFKZHEVLWHVWKDWVKHGUHZSDUWLFLSDQWV
   %<$77251(<%$5+$0                                            IURPFDXVH\RXFRQFHUQ"
   4<RXVDLGLW VFRPSOLFDWHGVRLWVRXQGVOLNHLW       $$VDQH[DPSOH)RXUWK:DYH1RZLVDZHEVLWHWKDW
   ZRXOGEHKDUGVRPHWLPHVIRUDFOLQLFLDQWRWHOOZLWK           'U/LWWPDQKDGXVHGIRUVRPHRIKHUVWXG\UHFUXLWPHQW
   FHUWDLQW\ZKDW VJRLQJRQ"                                     4$QGZK\DUH\RXFRQFHUQHGDERXWWKHXVHRI
   $77251(<%/2&.2EMHFWLRQWRIRUP             )RXUWK:DYHQRZLQWKHUHFUXLWPHQWSURFHVV"
   7+(:,71(66:KDW,ZRXOGGHVFULEHLV          $:KDW,ZRXOGVD\LVWKDWZKHQ\RX UHGHVLJQLQJD
   WKDWLQDQ\WKLQJUHODWHGWRPHQWDOKHDOWKWKDWWKHUHDUH       VWXG\WKDWSUHVXSSRVHVWKHFRQFOXVLRQDQGWKHZHEVLWHLV
   FRPSOLFDWLRQVDQGQXDQFHV7KLVLVQRGLIIHUHQW              GHVLJQHGWRDWWUDFWSHRSOHZKRSUHVXSSRVHWKDW
   %<$77251(<%$5+$0                                            FRQFOXVLRQWKDWOLPLWVWKHDSSOLFDELOLW\RIWKH
   41RZ,EHOLHYH\RXDOOXGHGWRWKLVDPRPHQWDJR      UHVXOWV,WMXVWKDYHWREHWDNHQLQWRDFFRXQW,W


                                                                                            3DJHVWR
                                                                                                            Armistead App. 0921
                                                   3DJH                                                                   3DJH
    GRHVQ WPHDQWKDWWKHUHLVQ WGDWDIURPWKLVNLQGRI            <RXZRXOGQHHGWRXQGHUVWDQGWKHEURDGHUFRQWH[WLQ
    VQRZEDOOUHFUXLWPHQWWKDWLVQ WYDOXDEOHDQG,ZRXOGQ W         RUGHUWRGUDZFRQFOXVLRQVDERXWZKDWWKDWVWDWLVWLFDO
    VD\WKDWWKHUHLVQ WYDOXHWRVRPHRI'U/LWWPDQ V             VLJQLILFDQFHPHDQVDQGWKDWPHDQVUHDOO\GLJJLQJLQWR
    ZRUNVSHFLILFDOO\WKLVVWXG\DVFRPSDUHGWRWKHODVW          WKHVSHFLILFPHWKRGRORJ\RIWKLVVWXG\7KHUHLVDYDVW
    WKRXJK\RXKDYHWRWDNHLWLQWKHFRQWH[WZLWKZKLFKLW         OLWHUDWXUHDERXWHIILFDF\RIVXUYH\GDWDDQGLWUHDOO\
    ZDVGHYHORSHG                                                  GHSHQGVRQWKHVSHFLILFV
    46RDUH\RXVXJJHVWLQJWKDW'U/LWWPDQ                 4:H YHSUHYLRXVO\UHIHUHQFHGSDUDJUDSKHLJKWRI
    SUHVXSSRVHGWKHFRQFOXVLRQWKDWVKHZDQWHGWRUHDFKLQ          \RXUUHSRUWZKHUH\RXPHQWLRQ\RX YHVHHQDSSUR[LPDWHO\
    GHVLJQLQJWKLVVXUYH\"                                          WUDQVJHQGHUSDWLHQWV
   $, POHVVIDPLOLDUZLWKWKHGHVLJQRIWKLVVWXG\       $77251(<%/2&.7UDYLVVRUU\QRWWR
   WKDQSUHYLRXVVWXGLHVWKDWVKHKDVGHVLJQHGZKLFK,           DYRLGDSHQGLQJTXHVWLRQEXWZH UHDOPRVWDWRQHKRXU
   ZRXOGVD\WKDWZDVFRUUHFW                                    VRLIWKLVLVDJRRGWLPHLI\RX UHPRYLQJWRD
   4:KDWRWKHUZHEVLWHVGLGVKHXVHLQWKHSURFHVV        GLIIHUHQWVXEMHFWPD\EHWKLVZRXOGEHDJRRGWLPHWR
   WRFDXVH\RXFRQFHUQ"                                          EUHDN
   $, PQRWDVIDPLOLDUZLWKWKLVVWXG\VR,GRQ W       $77251(<%$5+$0/HWPHZUDSXSDIHZ
   NQRZLIVKHVSHFLILFDOO\LGHQWLILHGZKLFKZHEVLWHV$QG       PRUHDQGWKHQZHZLOOGRWKDW
   ,FDQ WUHFDOOULJKWQRZRQWKHRWKHUVZKLFKWKH\ZHUH        $77251(<%/2&.7KDQNV
   4,I\RXORRNDWSDJHWKUHHVKHGLVFXVVHVWKH           %<$77251(<%$5+$0
   PHWKRGDQGWKHSDUWLFLSDQWVDQGSURFHGXUHV:RXOG             4<RXUFOLQLFDOSUDFWLFHIRUFKLOGUHQDQG
   UHYLHZLQJWKDWUHIUHVK\RXUUHFROOHFWLRQDVWRDQ\             DGROHVFHQWVVWDUWHGLQDERXWHLJKW\HDUVDJR
   FRQFHUQVDERXWSDUWLFLSDQWV"                                   ,VWKDWFRUUHFW"
   $,WZRXOGQRWEHFDXVHVKHGRHVQRWGHVFULEHWKH        $1R,ILQLVKHGPHGLFDOVFKRROLQDQGKDYH
   VSHFLILFIRUD6KHGHVFULEHVDFORVHG)DFHERRNJURXS         EHHQZRUNLQJZLWKDGXOWVFKLOGUHQDQGDGROHVFHQWVVLQFH
   7XPEOHU7ZLWWHUDQG5HGGLWEXWWKRVHDUHODUJH               WKHQ


                                                   3DJH                                                                   3DJH
    ZHEVLWHVWKDWKDYHDORWRIGLIIHUHQWNLQGRIFRQWHQW          42ND\
    46RLVLW\RXUSRVLWLRQWKDWLW VQRWSRVVLEOHWR       $$FWXDOO\WKDW VZKHQ,ILQLVKHGWRJREDFN
    NQRZZKHWKHUDQRQ\PRXVRUDQ\UHVXOWVKDYHDQ\UHODWLRQ         WKDW VZKHQ,ILQLVKHGP\UHVLGHQF\DQGIHOORZVKLS,
    WRWUXHIDFWLQDFWXDOFDVHKLVWRULHV"                          ILQLVKHGPHGLFDOVFKRROLQ,FDQ WEHOLHYHLW V
    $7KDWLVQRWP\SRVLWLRQ                               EHHQORQJ
    4'R\RXKDYHDQ\\RXPHQWLRQHGHDUOLHU              4$QGZKHQGLG\RXEHJLQ\RXUZRUNLQFKLOGDQG
    VRPHWKLQJDERXWKRZWKHVHZHUHDQRQ\PRXVUHVXOWV6RLV        DGROHVFHQWSV\FKLDWU\"
    LWSRVVLEOHWRNQRZZKHWKHUWKH\DFWXDOO\FRUUHVSRQGHG          $,KDGFKLOGDQGDGROHVFHQWSV\FKLDWU\
    ZLWKWUXHFDVHV"                                                H[SHULHQFHVZKHQ,ZDVLQPHGLFDOVFKRRO
   $,WKLQNDQRQ\PRXVVXUYH\V\RXKDYHWRUHDOO\         4:KHQGLG\RXEHJLQSUDFWLFLQJFKLOGDQG
   GLJLQWRWKHVSHFLILFVRIWKHVXUYH\GHVLJQLQRUGHUWR        DGROHVFHQWSV\FKLDWU\"
   GUDZFRQFOXVLRQV$QGDJDLQZLWKDQ\VWXG\LQDQ\            $7KDW VQRWDYHU\VSHFLILFWHUP,SUDFWLFHG
   VXUYH\LQSDUWLFXODU\RXMXVWZDQWWRPDNHVXUH\RXKDYH       FKLOGSV\FKLDWU\DVDPHGLFDOVWXGHQWLQP\WUDLQLQJ
   DQXQGHUVWDQGLQJRIWKDWFRQWH[WKRZEURDGO\WRGUDZ           4:KHQZHUH\RXOLFHQVHGZKHQZHUH\RXILUVW
   FRQFOXVLRQV                                                   OLFHQVHGWRSUDFWLFHFKLOGDQGDGROHVFHQWSV\FKLDWU\"
   4:RXOG\RXDJUHHWKDWRQOLQHUHFUXLWPHQWGRHVQRW      $7KHUH VQRVSHFLILFOLFHQVHWRSUDFWLFHFKLOG
   SURYLGHDVWDWLVWLFDOO\PHDQLQJIXOVDPSOH"                     SV\FKLDWU\$Q\ERG\ZKRLVKDVDPHGLFDOOLFHQVH
   $,ZRXOGQRWDJUHHZLWKWKDW                          FDQSUDFWLFHDQ\PHGLFDOVSHFLDOW\,ZDV%RDUG
   4,VLW\RXUSRVLWLRQKRZFDQDQRQOLQH             &HUWLILHGLQ&KLOGDQG$GROHVFHQW3V\FKLDWU\ZKLFKLVD
   UHFUXLWPHQWSURGXFHDVWDWLVWLFDOO\PHDQLQJIXOVDPSOH"         GLIIHUHQWSURFHVVDQG,ZRXOGKDYHWRORRNWKURXJKWR
   $,WKLQN,ZRXOGQHHGWRXQGHUVWDQGWKHFRQWH[W        UHFDOOWKHGDWH, PDVVXPLQJWKDWLW VRU
   RIZKDW\RXPHDQE\VWDWLVWLFDOO\PHDQLQJIXO7KHUHLV        LVZKHQ,ZDV%RDUG&HUWLILHG
   DGLIIHUHQFHEHWZHHQDVXUYH\WKDWFRXOGEHSRWHQWLDOO\        46RZKHQGLG\RXEHJLQDQG\RXILQLVKHG\RXU
   SRRUO\GHVLJQHGDQG\HWUHDFKVWDWLVWLFDOVLJQLILFDQFH        IHOORZVKLSLQFKLOGDQGDGROHVFHQWSV\FKLDWU\ZKHQ"


                                                                                               3DJHVWR
                                                                                                       Armistead App. 0922
                                                    3DJH                                                          3DJH
    $                                                  $3UREDEO\VRPHZKHUHRQWKHRUGHURIWKDW
    4:KHQGLG\RXEHJLQWUHDWLQJDVDFKLOG          $77251(<%/2&.:RXOGQRZEHDJRRGWLPH
    DQGDGROHVFHQWSV\FKLDWULVWFKLOGUHQZLWKJHQGHU                IRUWKDWEUHDN"
    G\VSKRULD"                                                      $77251(<%$5+$02QHODVWTXHVWLRQ
    $77251(<%/2&.2EMHFWLRQWRIRUP              %<$77251(<%$5+$0
    7+(:,71(66,VDZFKLOGUHQZLWKJHQGHU         4:KDWV\VWHPVGR\RXKDYHLQSODFHWRWUDFNWKHVH
    G\VSKRULDGXULQJP\UHVLGHQF\DQGLQP\IHOORZVKLS             SDWLHQWVILYH\HDUVDIWHUWKH\KDYHEHHQLQ\RXUFDUH"
    %<$77251(<%$5+$0                                             $,KDYHWKHVDPHV\VWHPVDVPRVWSV\FKLDWULVWV
    4$QG\RXUIHOORZVKLS"                                   :HVHHWKHSDWLHQWVZLWKLQRXUFDUH)RONVZLOOUHDFK
   $%HWZHHQDQG                                RXWWRXVDIWHUWLPHKDVSDVVHGDQGLW VRQHRIWKH
   4$QGZKDWSURSRUWLRQRIWKRVHSDWLHQWVVRFLDOO\        JUHDWSOHDVXUHVRIEHLQJDFKLOGSV\FKLDWULVWZHJHWWR
   WUDQVLWLRQHG"                                                  VHHIRONVORQJLWXGLQDOO\6RWKHUHLVQRWDVSHFLILF
   $2IDOORIWKHSDWLHQWVWKDW,VDZLQP\WUDLQLQJ      V\VWHPDSDUWIURPPXWXDOFDUH
   RULQDOORIWKHSDWLHQWVWKDW, YHVHHQRYHUP\WLPHDV       46R\RXUHO\RQWKHPWRUHDFKRXWWR\RX
   DSK\VLFLDQ"                                                   ,VWKDWFRUUHFW"
   4/HW VJRILUVWZLWKWKHWUDLQLQJ                     $77251(<%/2&.2EMHFWLRQWRIRUP
   $,WZDVDPXFKVPDOOHUQXPEHUVRSUREDEO\LI,        7+(:,71(66,WGHSHQGVRQFRQWH[W
   ZHUHWRJXHVVDQG, PJRLQJEDFNSUREDEO\FORVHWR           %<$77251(<%$5+$0
   SHUFHQW                                                    4%XWGR\RXKDYHDQ\V\VWHPDWLFZD\RIWUDFNLQJ
   41LQHW\ILYH  SHUFHQWVRFLDOO\WUDQVLWLRQHG        DOOSDWLHQWVILYH\HDUVDIWHUWKH\OHDYH\RXUFDUH"
   ZKHQ\RXZHUHLQWUDLQLQJ"                                     $7KHUHLVQRV\VWHPDWLFZD\RIWUDFNLQJDOO
   $<HV                                                  SDWLHQWV
   4$QGKRZPDQ\RI\RXUSDWLHQWVRYHUDOOKDYH            $77251(<%$5+$0$OOULJKW/HW VWDNH
   VRFLDOO\WUDQVLWLRQHG"                                         DEUHDN+RZORQJZRXOG\RXDOOOLNH"


                                                    3DJH                                                          3DJH
    $, PQRWVXUHKRZWRDQVZHUWKDWTXHVWLRQ2YHU        $77251(<%/2&.)LYHPLQXWHV
    WKHFRXUVHRIRXUWLPHZRUNLQJWRJHWKHUEHIRUH,               $77251(<%/2&.6KRXOGZHJRRIIWKH
    VWDUWHGVHHLQJWKHPRU, PQRWVXUHKRZWR                  UHFRUG"
    DFFXUDWHO\DQVZHUWKDWTXHVWLRQ                                9,'(2*5$3+(5*RLQJRIIDP
    42YHUWKHMXVWLQJHQHUDOKRZPDQ\RI\RXU          2))9,'(27$3(
    SDWLHQWVVRFLDOO\WUDQVLWLRQHGQRWMXVWZKLOHWKH\ZHUH        
    EHLQJWUHDWHGXQGHU\RXUFDUH"                                   :+(5(8321$6+257%5($.:$67$.(1
    $$QGWKHVHDUHSDWLHQWVZKRDUHVHHLQJPH               
    VSHFLILFDOO\WKURXJKWKHFRQWH[WRIJHQGHURURIWKRVH          219,'(27$3(
   WUDQVJHQGHUSDWLHQWV"                                      9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH
   42IWKHWUDQVJHQGHUSDWLHQWV                      WLPHLVDP
   $3UREDEO\,PHDQLW VDJXHVVEXWSUREDEO\        %<$77251(<%$5+$0
   LQWKHRUGHURISHUFHQW                                    40RPHQWVDJRZHZHUHGLVFXVVLQJ'U/LWWPDQ V
   4$QGZKDWSURSRUWLRQRIWKHSDWLHQWVXVHG          VWXG\WKDWZDV7DE([KLELW$UH\RXDZDUH
   SXEHUW\EORFNHUV"                                              RIDQ\VWXGLHVWKDWFRQWUDGLFW'U/LWWPDQ VGDWD"
   $3UREDEO\DPLQRULW\RIWKRVHSDWLHQWV,I,KDG      $&DQ\RXEHPRUHVSHFLILF"
   WRJXHVVSUREDEO\SHUFHQWRUOHVV                         4$UH\RXDZDUHRIDQ\VWXGLHVWKDWFRQWUDGLFW'U
   4$QGZKDWSHUFHQWRIWKRVHWUDQVJHQGHU             /LWWPDQ VZRUNVXUYH\LQWKLVDUWLFOHLQ([KLELWWKDW
   SDWLHQWVXVHGFURVVVH[KRUPRQHV"                              ILQGIDXOWZLWKKHUGDWD"
   $,GRQ WKDYHP\UHFRUGVLQIURQWRIPHVRLW         $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   ZRXOGUHDOO\MXVWEHDJXHVVEXWSUREDEO\FORVHWRWKH        7+(:,71(66<HDK, PVRUU\,GRQ W
   VDPHSHUFHQWDJHWKDWVRFLDOO\WUDQVLWLRQHGSUREDEO\D         WKLQN,XQGHUVWDQGWKHTXHVWLRQ7KHUHDUHRWKHU
   OLWWOHELWOHVVWKDQWKDW                                     DUWLFOHVWKDWKDYHEHHQZULWWHQDERXWGHWUDQVLWLRQDQG
   4,I,UHFDOOFRUUHFWO\WKDW VDERXWSHUFHQW"        FOLQLFDOH[SHULHQFHVRISDWLHQWVWKDWKDYH


                                                                                            3DJHVWR
                                                                                                       Armistead App. 0923
                                                    3DJH                                                           3DJH
    GHWUDQVLWLRQHGZKRKDYHGHVFULEHGWKRVHH[SHULHQFHV            SDWLHQWVWKDW\RXKDYHWUHDWHGWKHWUDQVJHQGHU
    7KHUHKDVQRWEHHQDVSHFLILFVXUYH\GHVLJQHGRI                SDWLHQWV\RXUHIHUHQFHGLQ\RXUUHSRUWDQG\RX
    GHWUDQVLWLRQHUVRXWVLGHRIWKLVRQHWKDW, PDZDUHRI          PHQWLRQHGWKDWDERXWSHUFHQWRUOHVVRIWKRVHKDG
    %<$77251(<%$5+$0                                             XVHGSXEHUW\EORFNHUV, PZRQGHULQJZK\WKDW
    4+DVDQ\RQHZULWWHQDQDUWLFOHILQGLQJIDXOWZLWK       SHUFHQWDJHLVVRORZ
    WKHZD\'U/LWWPDQLQWHUSUHWHGWKHGDWDWKDW"              $77251(<%/2&.2EMHFWLRQWRIRUP
    $77251(<%/2&.2EMHFWLRQWRIRUP              7+(:,71(66,GRQ WNQRZ/RZFRPSDUHG
    7+(:,71(66)RUWKLVVSHFLILFGDWDVHW         WRZKDW",WKLQNLW VLPSRUWDQWWRXQGHUVWDQGWKH
    RUIRUSUHYLRXV"                                                FRQWH[WWKDWLQZKHQ,ILUVWVWDUWHGP\JHQGHU
   %<$77251(<%$5+$0                                            SURJUDPWKDWSXEHUW\EORFNLQJPHGLFDWLRQVZHUHQRW
   4)RUWKLVVSHFLILFGDWDVHW"                           ZLGHO\DYDLODEOHFRVWXSZDUGVRIDPRQWKDQG
   $)RUWKLVVSHFLILFGDWDVHWIURPP\                   ZHUHQRWFRYHUHGE\PRVWLQVXUDQFH6RSXEHUW\EORFNHUV
   UHFROOHFWLRQWKLVZDVVWXGLHGRUSXEOLVKHGMXVW           ZHUHQRWVRPHWKLQJWKDWZHUHDYDLODEOHLQWKHVDPHZD\
   UHFHQWO\VR, PQRWDZDUHRIDQ\,WGRHVQ WPHDQWKDW        WKH\DUHQRZ$QG,DOVRVDZDIDLUQXPEHURIDGXOWV
   WKHUHDUHQ W                                                  DQGROGHUDGROHVFHQWVIRUZKRPSXEHUW\EORFNHUVDUHQRW
   4$UH\RXDZDUHRIDQ\VWXGLHVWKDWFRQWUDGLFW'U      LQGLFDWHG
   /LWWPDQ VFRQFOXVLRQVLQWKLVDUWLFOH"                    %<$77251(<%$5+$0
   $,I\RXJLYHPHDPRPHQW,ZLOOUHDGWKH               46RRIWKHSDWLHQWVWKDW\RXUHIHUHQFHLQ
   FRQFOXVLRQ                                                    SDUDJUDSKHLJKWRI\RXUUHSRUWZKDWSHUFHQWDJHRIWKRVH
   $77251(<%/2&.2EMHFWLRQWRIRUP             DUHDGXOWV"
   7+(:,71(66,QVRPXFKDV'U/LWWPDQ V         $,ZRXOGUHDOO\KDYHWRJREDFNDQGORRN,
   FRQFOXVLRQLVWKDWWKHUH VQRVLQJOHQDUUDWLYHWR              PHDQLQP\FXUUHQWSUDFWLFH,VHHDGROHVFHQWVDQG
   H[SODLQWKHH[SHULHQFHVRIDOOLQGLYLGXDOVZKR                 \RXQJDGXOWVVRNLQGRISDUVLQJRXWDUWLILFLDOO\ZKRLV
   GHWUDQVLWLRQHGDQGZHVKRXOGWDNHFDUHWRDYRLGSDLQWLQJ       DQGXSLWZRXOGWDNHVRPHWLPHWRGRWKDW3UREDEO\


                                                    3DJH                                                           3DJH
    WKHSRSXODWLRQZLWKDEURDGEUXVK,DJUHHZLWKWKDW            LQWKHRUGHURISHUFHQWDUHFKLOGUHQLQDGROHVFHQFH
    FRQFOXVLRQ                                                     SHUFHQWDGXOWV%XWRIFRXUVHRYHUWRQRZD
    %<$77251(<%$5+$0                                             ORWRIWKRVHIRONVDUHQRZDGXOWV
    4$UH\RXDZDUHRIDQ\VWXGLHVWKDWFRQWUDGLFWKHU       4$QGZKHQ, PDVNLQJDERXWWKHVHSHUFHQWDJHV,
    FRQFOXVLRQVQRWMXVWLQWKHFRQFOXVLRQVHFWLRQEXWKHU          PHDQZKHQ\RXZHUHWUHDWLQJWKHP:KDWSHUFHQWDJHRI
    GHVFULSWLRQRIWKHGHWUDQVLWLRQHUV"                             WKHSDWLHQWV\RXZHUHWUHDWLQJZHUHFKLOGUHQ"
    $77251(<%/2&.2EMHFWLRQWRWKHIRUP          $7KDW VP\EHVWJXHVV
    7+(:,71(66,WKLQNLW VKDUGWR               46HYHQW\ILYH  SHUFHQW"
    SURYLGHDVSHFLILFDQVZHUWRWKDWTXHVWLRQ:HKDYHWR         $<HV
   ORRNDWHDFKVWXG\DQGMXGJHHDFKLQGLYLGXDOVWXG\EDVHG       4$QGDUH\RXGLVWLQJXLVKLQJEHWZHHQSUHSXEHUWDO
   XSRQWKHPHULWV7KHFRQFOXVLRQVVKHGUDZVDUHIURPD         FKLOGUHQDQGDGROHVFHQWVLQWKDWSHUFHQWRUERWK"
   VXEVHWRISDWLHQWVZLWKDYHU\VSHFLILFYLHZSRLQWDQG,       $7KDW VERWK
   DJUHHZLWKKHUDQGKHUFRQFOXVLRQWKDWWKHUHQHHGVWREH       42IWKDWRIDOOWKHSDWLHQWV\RX YHVHHQ
   PRUHUHVHDUFKWREHWWHUXQGHUVWDQGWKHEURDGHU                 DWWKHWLPH\RXVDZWKHPKRZPDQ\ZHUHSUHSXEHUWDO
   LPSOLFDWLRQVRIWKLVFDUH                                     FKLOGUHQ"
   %<$77251(<%$5+$0                                            $3UREDEO\DQGDJDLQ,KDYHWRJLYHWKLVD
   4<RX UHQRWDZDUHRIDQ\DUWLFOHWKDWKDVEHHQ         PDMRUFDYHDW,ZRXOGKDYHWRJREDFNDQGORRNWKURXJK
   SXEOLVKHGVSHFLILFDOO\FULWLTXLQJWKLVVWXG\E\'U       HYHU\WKLQJEXW,ZRXOGVD\SUREDEO\SHUFHQWRIWKDW
   /LWWPDQ                                                       SHUFHQWZHUHSUHSXEHUWDODWWKHWLPHRILQLWLDO
   ,VWKDWFRUUHFW"                                      DVVHVVPHQW
   $1RWWKDW, PDZDUHRI                                4$QGVRWKHQWKHUHPDLQLQJSHUFHQWRIZRXOG
   $77251(<%/2&.2EMHFWLRQWRIRUP             EHDGROHVFHQWV
   %<$77251(<%$5+$0                                            ,VWKDWFRUUHFW"
   4$IHZPRPHQWVDJRZHZHUHDOVRWDONLQJDERXWWKH      $&RUUHFW


                                                                                            3DJHVWR
                                                                                                       Armistead App. 0924
                                                    3DJH                                                          3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP              $/RVWWRIROORZXSLVDVSHFLILFWHUPXVHGLQ
    %<$77251(<%$5+$0                                             VWXGLHVVRLW VQRWVRPHWKLQJWKDW,ZRXOGXVHWR
    4+RZPDQ\RI\RXUSDWLHQWVRIWKRVHSDWLHQWV        GHVFULEHP\SDWLHQWV
    KDYHGHWUDQVLWLRQHGLQD\HDU"                                  4+RZPDQ\SDWLHQWVGR\RXORVHFRQWDFWZLWKDIWHU
    $,W VNLQGRIDKDUGTXHVWLRQWRDQVZHU7KHRQH       ILYH\HDUV"
    SDWLHQWZKRVHOILGHQWLILHVDVKDYLQJGHWUDQVLWLRQHG            $$JDLQ,GRQ WNQRZKRZWRDQVZHUWKDWTXHVWLRQ
    VWDUWHGVHHLQJPHDIWHUVKHKDGGHWUDQVLWLRQHG                 , YHEHHQDWP\FXUUHQWUROHIRUWKUHHVR,KDYHQ W
    4+DYHDQ\RI\RXUSDWLHQWVGHWUDQVLWLRQHGZKLOH         ORVWWRXFKZLWKDQ\VLJQLILFDQWQXPEHURISDWLHQWV
    XQGHU\RXUFDUH"                                                4:KDWDERXWSDWLHQWVWKDW\RXVDZEHIRUH\RXZHUH
   $1RWWKDW, PDZDUHRI                                LQ\RXUFXUUHQWSRVLWLRQ"
   4$QGLVWKHRQHSDWLHQWZKRGHWUDQVLWLRQHGEHIRUH      $, PQRWLQFRQWDFWZLWKSDWLHQWVIURPP\
   VWDUWLQJWRVHH\RXLVWKDWWKHRQO\SDWLHQW\RX UH           SUHYLRXVUROH
   DZDUHRIRIWKHWKDWKDVGHWUDQVLWLRQHG"                   $77251(<%$5+$0$OOULJKW/HW VJRWR
   $7KDWLVWKHRQO\RQHWKDW, PDZDUHRI\HV          7DE7KLVLV([KLELW,EHOLHYH
   %XWFDQ,FODULI\WKDWRIWKRVHSDWLHQWVWKHUHDUH         
   FHUWDLQO\WKRVHZKRGLGQRWFKRRVHWRWUDQVLWLRQ               :KHUHXSRQ([KLELW6WXG\ZDVPDUNHG
   4$QGKRZPDQ\RIWKHFKRVHQRWWRWUDQVLWLRQ"      IRULGHQWLILFDWLRQ
   $,I,KDGWRJXHVVSUREDEO\DERXWWR           
   SUREDEO\WHQSHUFHQW                                          %<$77251(<%$5+$0
   4$QGGLGWKH\PDNHWKDWGHFLVLRQEHIRUHSXEHUW\        4$UH\RXIDPLOLDUZLWKWKLVVWXG\"
   EHJDQ"                                                         $,DPQRW
   $,WZDVDPL[                                         4+DYH\RXVHHQLWEHIRUHWRGD\"
   42IWKRVHZKRFKRVHQRWWRWUDQVLWLRQKRZPDQ\        $,KDYHQRW
   ZHUHFKLOGUHQZKHQWKH\PDGHWKDWGHFLVLRQ"                    42QSDJHRQHWKLVDJDLQKDVEHHQLW V


                                                    3DJH                                                          3DJH
    $,FRXOGQ WWHOO\RXDWWKDWSRLQWEXW                 SDJLQDWHGLQWKHWRSULJKWFRUQHURUWRSLQVLGHFRUQHU
    VLJQLILFDQWO\PRUHZHUHWKHSUHSXEHUWDO\RXWKWKDQ              2QSDJHRQHWKHILUVWVHQWHQFHRIWKHODVWSDUDJUDSK
    DGROHVFHQWV                                                    VD\VJHQGHUWUDQVLWLRQLVDVVFLHQWLILFDOO\IDVFLQDWLQJ
    47KLVLVDVHQVLWLYHTXHVWLRQ,PHDQQRRIIHQVH       DVLWLVVRFLDOO\FRQWURYHUVLDOIRULWSRVHVVLJQLILFDQW
    E\LWEXWKRZPDQ\RIWKHSDWLHQWVKDYHPDGHWKH           SURIHVVLRQDODQGELRHWKLFDOFKDOOHQJHVIRUWKRVH
    VDGGHFLVLRQWRFRPPLWVXLFLGH"                                 FOLQLFLDQVZRUNLQJLQWKHILHOGRIJHQGHUG\VSKRULD
    $77251(<%/2&., PVRUU\,FRXOGQ W          'R\RXDJUHHWKDWJHQGHUGHWUDQVLWLRQSRVHV
    KHDWWKDW&DQ\RXVSHDNXS"                                   VLJQLILFDQWSURIHVVLRQDODQGELRHWKLFDOFKDOOHQJHVIRU
    %<$77251(<%$5+$0                                             SURIHVVLRQDOVWUHDWLQJJHQGHUG\VSKRULD"
   4+RZPDQ\RIWKHSDWLHQWVKDYHPDGHWKHVDG        $77251(<%/2&.2EMHFWLRQWRIRUP
   GHFLVLRQWRFRPPLWVXLFLGH"                                    7+(:,71(66,GRQ WQHFHVVDULO\DJUHH
   $77251(<%/2&.2EMHFWLRQWRIRUP             ZLWKWKHODQJXDJH$QGFHUWDLQO\GRQ WDJUHHZLWKWKH
   7+(:,71(66,V\RXUTXHVWLRQKRZPDQ\         DXWKRUWRXVHVRPHWKLQJWKDW VVFLHQWLILFDOO\
   KDYHFRPSOHWHGVXLFLGH"                                        IDVFLQDWLQJ:KDW,WKLQNLVWKDWHYHU\GHFLVLRQWKDW
   %<$77251(<%$5+$0                                            ZHPDNHLQFKLOGSV\FKLDWU\LQSDUWLFXODULVIUDXJKW
   4&RUUHFW                                              ZLWKHWKLFDOFKDOOHQJHV7KLVLVQRWDQ\GLIIHUHQWIURP
   $2IWKRVHSDWLHQWV]HUR                          WKHHWKLFDOFKDOOHQJHVWKDWZHIDFHZLWKDORWRIRWKHU
   4+RZPDQ\RIWKRVHSDWLHQWVKDYHEHHQ              LQWHUYHQWLRQV
   KRVSLWDOL]HGIRUDSV\FKLDWULFLOOQHVV"                        %<$77251(<%$5+$0
   $,GRQRWKDYHWKDWLQIRUPDWLRQLQIURQWRIPH        4:KDWFKDOOHQJHVGRHVGHWUDQVLWLRQSRVHWR\RXU
   4'R\RXKDYHDQ\JHQHUDOLGHD"                         SURIHVVLRQLQ\RXUYLHZ"
   $,GRQ W                                              $77251(<%/2&.2EMHFWLRQWRIRUP
   4$IWHUILYHRUPRUH\HDUVZKDWSHUFHQWDJHRI\RXU      7+(:,71(66,GRQ WVHHKRZLWSRVHV
   SDWLHQWVZRXOGEHFKDUDFWHUL]HGDVORVWWRIROORZXS"          DQ\FKDOOHQJHVWRP\ZRUN


                                                                                            3DJHVWR
                                                                                                      Armistead App. 0925
                                                   3DJH                                                           3DJH
    %<$77251(<%$5+$0                                             6WHOOD,WLVWKHVDPHSDUDJUDSK
    43DJHWKUHHRIWKLVDUWLFOHWKHDXWKRUVLGHQWLI\       $*RWLW<HDK,GRQ WNQRZZKDWVROYLQJD
    VHYHUDOWKLQJVWKDWPD\SURPSWDSHUVRQ VGHFLVLRQWR           SV\FKRORJLFDORUHPRWLRQDOSUREOHPPHDQVLQWKLV
    GHWUDQVLWLRQLQFOXGLQJXQGHUVWDQGLQJKRZSDVWWUDXPD           FRQWH[W
    LQWHUQDOL]HGVH[LVPDQGRWKHUSV\FKRORJLFDOGLIILFXOWLHV        4%XWWKHVHDXWKRUVDUHDWOHDVWLQGLFDWLQJWKDW
    LQIOXHQFHWKHH[SHULHQFHRIJHQGHUG\VSKRULD                   VROYLQJWKHVHSUREOHPVKRZHYHUWKH\PHDQWKHWHUPPD\
    &RUUHFW"                                               SURPSWDGHFLVLRQWRGHWUDQVLWLRQ
    $77251(<%/2&.2EMHFWLRQ&DQ\RXJLYH        ,VWKDWFRUUHFW"
    KLPDFKDQFHWRUHDG"                                           $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%$5+$02IFRXUVH                    7+(:,71(66,WKLQN, YHDQVZHUHGKRZ,
   7+(:,71(66$QGFDQ\RXUHSHDWZKDW\RX       FDQDQVZHUWKDW
   VDLG"                                                          %<$77251(<%$5+$0
   %<$77251(<%$5+$0                                            42ND\
   42QSDJHWKUHHWKHDXWKRUVLGHQWLI\VHYHUDO            /HW VJREDFNWR7DEZKLFKLV([KLELW
   WKLQJVWKDWPD\SURPSWDSHUVRQ VGHFLVLRQWR                  7KLVZDVWKH/LWWPDQVWXG\WKDWZHZHUHGLVFXVVLQJD
   GHWUDQVLWLRQLQFOXGLQJTXRWHXQGHUVWDQGLQJKRZSDVW          PRPHQWDJR2QSDJHWKUHHH[FXVHPHDFFRUGLQJWR
   WUDXPDLQWHUQDOL]HGVH[LVPDQGRWKHUSV\FKRORJLFDO            7DEOHRQSDJHQLQHSHUFHQWRIWKHSDUWLFLSDQWVLQ
   GLIILFXOWLHVLQIOXHQFHWKHH[SHULHQFHRIJHQGHU                WKLVVXUYH\UHSRUWHGWKDWWKH\EHFDPHPRUHFRPIRUWDEOH
   G\VSKRULD                                                     LGHQWLI\LQJDVWKHLUQDWDOVH[
   &RUUHFW"                                              ,VWKDWFRUUHFW"
   $6RUU\-XVWJLYHPHDVHFRQGWRORRNDWWKH          $77251(<%/2&.2EMHFWLRQWRIRUP
   FRQWH[WKHUH                                                  7+(:,71(66,VHHSHUFHQWRIWKRVH
   46XUH                                                 DVVLJQHGIHPDOHDWELUWKDQGRIWKRVHDVVLJQHGPDOH
   $,DJUHHWKDW VKRZLWLVZULWWHQDQGWKHUH            DWELUWKUHSRUWHGWKDW


                                                   3DJH                                                           3DJH
    DSSHDUVWREHQREDVLVIURPZKLFKWKHDXWKRUKDVEXLOW          %<$77251(<%$5+$0
    WKDWDVVHUWLRQ7KHUHLVQRPHWKRGVGHVFULEHGLQWKLV          46RDQGLVVRWKDWZRXOGEHSHUFHQW
    ZKDWVRHYHU                                                     RIWKHSDUWLFLSDQWVLQWKHVWXG\
    4,EHOLHYHWKHDXWKRULQWKDWLQVWDQFHLVFLWLQJ        &RUUHFW"
    'RGVZRUWK*RQ]DOH]+HU]RJDQGRQH            $77251(<%/2&.2EMHFWLRQWRIRUP
    WZRWKUHHIRXURWKHUVWXGLHV                                 7+(:,71(66,EHOLHYH
    'R\RXVHHWKDW"                                       %<$77251(<%$5+$0
    $,VHHWKRVHVWXGLHV, GKDYHWRORRNDWWKH          4, PVRUU\,GLGQ WKHDU\RXUDQVZHU
    VSHFLILFVWXGLHVLQRUGHUWRXQGHUVWDQGWKHLPSOLFDWLRQV        $,WUXVW\RXUPDWK\HV
   DQGWKHFRQWH[W                                               42ND\
   4%XWWKHDXWKRUVREYLRXVO\VHHPWRKDYHDEDVLV        $QGRQSDJHXQGHUWKHKHDGLQJGLVFXVVLRQ
   RUDWOHDVWDFLWDWLRQEDVLVIRUZKDWWKH\ UHVD\LQJ          WKLVVXUYH\LQGLFDWHVWKDWRQO\DVPDOOSHUFHQWDJHRI
   ,VWKDWFRUUHFW"                                      GHWUDQVLWLRQHUVSHUFHQWLQIRUPHGWKHFOLQLFLDQVDQG
   $77251(<%/2&.2EMHFWLRQWRIRUP             FOLQLFVWKDWIDFLOLWDWHGWKHLUWUDQVIHUWKDWWKH\
   7+(:,71(66$JDLQZLWKRXWNQRZLQJWKH        WKHLUWUDQVLWLRQWKDWWKH\KDGGHWUDQVLWLRQHG
   VSHFLILFVRIWKRVHVWXGLHVLW VKDUGIRUPHWRVD\            ,VWKDWFRUUHFW"
   %<$77251(<%$5+$0                                            $77251(<%/2&.2EMHFWLRQWRIRUP
   47KHDXWKRUVDOVRLQGLFDWHWKDWVROYLQJSUHYLRXV       7+(:,71(66<HVWKHSDUWLFLSDQWVLQ
   SV\FKRORJLFDORUVODVKHPRWLRQDOSUREOHPVWKDW                 WKHVWXG\WKDWLVFRUUHFW
   FRQWULEXWHGWRJHQGHUG\VSKRULDPD\SURPSWWKHGHFLVLRQ        %<$77251(<%$5+$0
   WRGHWUDQVLWLRQ                                               4$QG\RXWHVWLILHGDPRPHQWDJRLI,UHFDOO
   ,VWKDWFRUUHFW"                                      FRUUHFWO\SOHDVHFRUUHFWPHLI, PZURQJWKDW\RXDUH
   $:KHUHLVWKDW"                                        DZDUHRIRQO\RQHSDWLHQWLQ\RXUFDUHHUWKDWKDV
   47KH\DUHFLWLQJ%XWOHUDQG+XWFKLQVRQ          GHWUDQVLWLRQHG


                                                                                            3DJHVWR
                                                                                                       Armistead App. 0926
                                                    3DJH                                                           3DJH
    ,VWKDWFRUUHFW"                                       $77251(<%$5+$0,ZDQWWRVKRZ\RX
    $7KDW, PDZDUHRI\HV                                7DEDQGWKLVZLOOEH([KLELW,WZLOOEHDQ
    4/HW VJRWR7DEZKLFKLV([KLELW               DUWLFOHE\/LO\'XUZRRGHQWLWOHG0HQWDO+HDOWKDQG6HOI
                                      :RUWKLQ6RFLDOO\7UDQVLWLRQHG7UDQVJHQGHU3HRSOH
     :KHUHXSRQ([KLELW$UWLFOHE\                
    9DQGHQEXVVFKHZDVPDUNHGIRU                    :KHUHXSRQ([KLELW$UWLFOHE\/LO\
    LGHQWLILFDWLRQ                                 'XUZRRGZDVPDUNHGIRULGHQWLILFDWLRQ
                                      
    %<$77251(<%$5+$0                                             %<$77251(<%$5+$0
   4$UH\RXIDPLOLDUZLWKWKLVDUWLFOH"                   4$UH\RXIDPLOLDUZLWKWKLVDUWLFOH"
   $,KDYHQRWUHDGWKLVDUWLFOH                         $,DP
   4$QGWKLVLVDDUWLFOHE\,EHOLHYHD             4<RXFLWHGWKLVLQIRRWQRWHQLQHRI\RXUUHSRUW
   JHQWOHPDQQDPHGRUDQLQGLYLGXDOQDPHG                     DVGHPRQVWUDWLQJWKHWUHDWPHQWDVVRFLDWHGZLWKVRFLDO
   9DQGHQEXVVFKH'HWUDQVLWLRQHG5HODWHG1HHGVLQ6SRUWV         WUDQVLWLRQV
   ,VWKDWFRUUHFW"                                      &RUUHFW"
   $7KDWLVFRUUHFW                                      $,KDYHWRORRNDWWKHVSHFLILFIRRWQRWH,NQRZ
   4'LG\RXUHYLHZWKLVDUWLFOHZKHQSUHSDULQJ\RXU       ,FLWHGLWEXW,GRQ WNQRZLILWZDVFLWLQJWRWKDW
   UHSRUW"                                                        VSHFLILFFRQFOXVLRQ
   $,GLGQRW                                            4%\DOOPHDQVWDNHDORRN
   4,I\RXORRNDWSDJHIRXUWKLVDUWLFOHH[DPLQHGD      $&DQ\RXSRLQWPHWRZKHUHP\IRRWQRWHLV"
   VDPSOHVXUYH\RIGHWUDQVLWLRQHUV                          4)RRWQRWHQLQHLVOHWPHILQGLWP\VHOI
   ,VWKDWFRUUHFW"                                      $77251(<6:$0,1$7+$1,W VSDJH
   $77251(<%/2&.2EMHFWLRQ&DQ\RXJLYH       7+(:,71(66<HV
   KLPWLPHWRUHDGWKHGRFXPHQWKHKDVQHYHUVHHQEHIRUH        %<$77251(<%$5+$0


                                                    3DJH                                                           3DJH
    $77251(<%$5+$0&HUWDLQO\                     47KH'XUZRRGDUWLFOHLQLVDVXUYH\RI
    7+(:,71(66&DQ\RXUHSHDWWKH                 FKLOGUHQDQGWKHLUSDUHQWVDERXWWKHFKLOGUHQ VPHQWDO
    TXHVWLRQ"                                                       KHDOWK
    %<$77251(<%$5+$0                                             ,VWKDWFRUUHFW"
    47KLVDUWLFOHKLJKOLJKWVWKHUHVXOWVRIDVXUYH\        $&RUUHFW
    RIGHWUDQVLWLRQHUV                                         47KHFKLOGUHQLQWKH'XUZRRGDUWLFOHZHUHQRW
    &RUUHFW"                                               VXUYH\HGRUDVVHVVHGE\FOLQLFLDQV
    $<HVDVWKH\DUHGHILQLQJGHWUDQVLWLRQLQJ\HV        ,VWKDWFRUUHFW"
    4$QGRQSDJHILYHWKHVHDXWKRUVWKHVH               $,GRQ WNQRZWKHDQVZHUWRWKDW, GKDYHWR
   UHVHDUFKHUVUHSRUWWKDWSHUFHQWRISDUWLFLSDQWV             ORRNDWWKHVSHFLILF
   GHWUDQVLWLRQHGEHFDXVHWKH\UHDOL]HGWKDWWKHLUJHQGHU         4:HOOLIWKLVLVDVHOIUHSRUWLWZRXOGEH
   G\VSKRULDZDVUHODWHGWRRWKHULVVXHV                         UHSRUWLQJZKDWWKHFKLOGUHQWKHPVHOYHVVDLG
   &RUUHFW"                                              &RUUHFW"
   $&RUUHFW                                              $77251(<%/2&.2EMHFWLRQ/HWKLPKDYH
   4$QGWKDWZDVWKHPRVWFRPPRQUHSRUWHGUHDVRQIRU      WLPHWRUHDGWKHDUWLFOH
   GHWUDQVLWLRQLQJ                                               7+(:,71(667KHWUDQV\RXWKSURMHFWZDV
   &RUUHFW"                                              GLUHFWHGE\'U8OVRQLQYROYHGFOLQLFLDQVLQWKH
   $$VWKH\VWDWHG\HV                                  DVVHVVPHQWRIWKHFKLOGUHQDQGWKHLUIDPLOLHV6R, P
   4,QSDUDJUDSKRI\RXUUHSRUW\RXFLWH/LVD          QRWVXUHVSHFLILFDOO\,ZRXOGKDYHWRJRWKURXJKWKH
   /LWWPDQ VVWXG\3DUDJUDSK$QG\RXKLJKOLJKW        PHWKRGVRIWKLVRQHSDUWLFXODUO\IRUPHWRUHFDOO
   ZKDW\RXGHVFULEHDVVHULRXVPHWKRGRORJLFDOIODZVWKDW         $V\RXZLOOVHHIURPWKHSURFHGXUHRQ
   UHQGHUWKHVWXG\PHDQLQJOHVV                                  SDJHZKHQHYHUSRVVLEOHSDUHQWVDQGFKLOGUHQ
   ,VWKDWFRUUHFW"                                      FRPSOHWHGWKHPHDVXUHPHQWVLQVHSDUDWHURRPVRUIDU
   $&RUUHFW                                              HQRXJKLQWKHVDPHURRPWREHRXWRIHDUVKRW$QGVR


                                                                                            3DJHVWR
                                                                                                    Armistead App. 0927
                                                  3DJH                                                          3DJH
    WKH\ZHUHUHVHDUFKHUVZKRZHUHERDUGHGZKRZHUH               %<$77251(<%$5+$0
    SDUWLFLSDWLQJLQWKHVHLQWHUYLHZVZLWKWKHNLGVDQG           4+RZGR\RXKDQGOHDVLWXDWLRQZKHUHSDUHQWDO
    WKHLUIDPLOLHV                                               GHVLUHVPD\EHGLIIHUWKDQWKHFKLOG VGHVLUHV"
    %<$77251(<%$5+$0                                           $7KDWLVDOPRVWDXQLYHUVDOSKHQRPHQRQRI
    4%XWWKRVHUHVHDUFKHUVZHUHMXVWUHFRUGLQJZKDW       SDUHQWKRRGVRWKHUH VQRWDQDW\SLFDOSURFHVV:KHQ
    WKHVWXGHQWVVDLGRXWORXG"                                   WKHUHLVGLVDJUHHPHQWDERXWVSHFLILFLVVXHVLQWKH
    $&RUUHFW                                             WUHDWPHQWSODQWKRVHLQWHUYHQWLRQVDUHJRLQJWREH
    46RWKHUH VQRFOLQLFDODVVHVVPHQWRIWKH             WDLORUHGWRWKHLQGLYLGXDOIDPLOLHVEDVHGXSRQWKHLU
    FKLOGUHQDVSDUWRIWKLVVXUYH\                              QHHG
   ,VWKDWFRUUHFW"                                    46RZKHQ\RXXVHJHQGHUDIILUPLQJFDUHZKDWGR
   $77251(<%/2&.2EMHFWWRIRUP              \RXYLHZDVWKHGLIIHUHQWFRPSRQHQWVRUGLIIHUHQW
   7+(:,71(66,ZRXOGQ WEHDEOHWR           DVSHFWVRIJHQGHUDIILUPLQJFDUHLQ\RXUSUDFWLFH"
   DQVZHUWKDWTXHVWLRQ,WGHSHQGVXSRQKRZLW VXVHG        $77251(<%/2&.2EMHFWLRQWRIRUP
   ,QDUHVHDUFKFRQWH[W\RXPLJKWEHXVLQJWKHVDPH            7+(:,71(66,WKLQNWKDWLVDOVRJRLQJ
   LQVWUXPHQWVWKDWZHZRXOGXVHIRUFOLQLFDODVVHVVPHQWV      WREHKLJKO\FRQWH[WGHSHQGHQW, PDSV\FKLDWULVWDQG
   EXWIRUWKHVDNHRIUHVHDUFKSXUSRVHVLW VQRWXVHGLQ       ,VHHDORWRIFKLOGUHQZLWKFRPSOH[SV\FKLDWULFQHHGV
   WKDWZD\                                                    VRP\SURFHVVIRUJHQGHUDIILUPLQJFDUHLVJRLQJWREH
   %<$77251(<%$5+$0                                          GLIIHUHQWWKDQZKDWVRPHERG\HOVHPLJKWGHVFULEHDV
   4%XWWKHSXUSRVHRIWKLVDUWLFOHZDVMXVWWR         JHQGHUDIILUPLQJFDUHEXW,WKLQN,KLJKOLJKWHGZKDW,
   UHFRUGZKDWWKHFKLOGUHQVDLGDVDVHOIUHSRUW              VHHDVWKHFRPSRQHQWVRILWIRUP\VHOI
   ,VWKDWFRUUHFW"                                    %<$77251(<%$5+$0
   $77251(<%/2&.2EMHFWLRQWRIRUP           4, YHPLVVHGLQ\RXUOLVWRIWKHGLIIHUHQW
   7+(:,71(66$VIDUDV,XQGHUVWDQGWKH      FRPSRQHQWVVRFRXOG\RXH[SODLQDJDLQZKDWGR\RXVHH
   SRLQWRIWKLVDUWLFOHWKH\XWLOL]HGFKLOGVHOIUHSRUW       DVWKHFRPSRQHQWVRIJHQGHUDIILUPLQJFDUH"


                                                  3DJH                                                          3DJH
    ZKLFKLVZKDWLVW\SLFDOO\XVHGLQFKLOGUHQPHQWDO            $7KDWLWVKRXOGEHFKLOGDQGIDPLO\OHGWKDW
    KHDOWKVWXGLHV                                               OLVWHQLQJWRDQGXQGHUVWDQGLQJWKHFKLOGLVDQLPSRUWDQW
    %<$77251(<%$5+$0                                           DVSHFWRIWKHSURFHVVDQGWKDWWKHUHLVQRJHQGHU
    4$FFRUGLQJWRSDJHWKHVHFRQGSDJHRIWKLV        LGHQWLW\RXWFRPHWKDWLVSULYLOHJHGRYHUDQRWKHU, P
    DUWLFOHZKLFKLVSDJHWKHSDUWLFLSDQWVZHUH             VXUH,VDLGLWVOLJKWO\GLIIHUHQWO\WKDQWKHODVWWLPH
    UHFUXLWHGWKURXJKZRUGRIPRXWKQDWLRQDODQGORFDO           DURXQGEXWWKHFRQFHSWVDUHWKHVDPH
    VXSSRUWJURXSVVXPPHUFDPSVDQGRQOLQHIRUXPVIRU            4'R\RXFRQVLGHUVRFLDOWUDQVLWLRQWREHD
    IDPLOLHVRIWUDQVJHQGHUDQGJHQGHUQRQFRQIRUPLQJ\RXWK       FRPSRQHQWRIJHQGHUDIILUPLQJFDUH"
    &RUUHFW"                                             $,WKLQNWKDWXQGHUVWDQGLQJWKHULVNVEHQHILWV
   $7KDWLVFRUUHFW                                    DQGDOWHUQDWLYHVRIVRFLDOWUDQVLWLRQLVDSDUWRI
   4)UHTXHQWO\LQ\RXUUHSRUW\RXUHIHUWR              JHQGHUDIILUPLQJFDUH,QWKDWZD\VRPHWLPHV
   JHQGHUDIILUPLQJFDUH:KDWLQ\RXUYLHZDUHWKH            UHFRPPHQGLQJQRWVRFLDOO\WUDQVLWLRQLQJLVDSDUWRI
   FRPSRQHQWVRIJHQGHUDIILUPLQJFDUH"                         JHQGHUDIILUPLQJFDUH
   $77251(<%/2&.2EMHFWLRQWRIRUP           4%XWJHQGHUDIILUPLQJFDUHFDQEHDQDSSURDFK
   7+(:,71(66,WKLQNWKDWWKHUHLVQR        XVHGDVSDUWRIJHQGHUDIILUPLQJFDUH
   RQHDJUHHGXSRQXVHRIWKDWWHUPDQGLWLVXVHGE\           ,VWKDWFRUUHFW"
   GLIIHUHQWSHRSOHLQGLIIHUHQWFRQWH[WWRPHDQZKDWHYHU       $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   WKH\ZDQWLWWRPHDQGHSHQGLQJXSRQZKRLVDVNLQJWKH       7+(:,71(66&DQ\RXUHSHDWWKH
   TXHVWLRQV7KHZD\WKDW,GHILQHLWIRUP\RZQ             TXHVWLRQ"
   SUDFWLFHLVWKDWLW VLPSRUWDQWIRUFKLOGUHQWREH          %<$77251(<%$5+$0
   KHDUGDQGOLVWHQHGWRWKDWDQ\SDUWLFXODUJHQGHU            46RFLDOWUDQVLWLRQLQJFDQEHDPHWKRGXVHGDV
   LGHQWLW\RXWFRPHLVQRWEHWWHUWKDQDQ\RWKHUDQGWKDW       SDUWRIJHQGHUDIILUPLQJFDUH
   WKHFKLOGDQGIDPLOLHVVKRXOGEHGLUHFWLQJWKHSURFHVV       &RUUHFW"
   ZLWKDSSURSULDWHDVVHVVPHQWVDQGLQWHUYHQWLRQV              $,WLVDQRSWLRQ


                                                                                          3DJHVWR
                                                                                                       Armistead App. 0928
                                                    3DJH                                                           3DJH
    4$QDYDLODEOHWRRO                                     %<$77251(<%$5+$0
    &RUUHFW"                                               4'R\RXFRQVLGHUWKHXVHRIFURVVVH[KRUPRQHVWR
    $<HV                                                   EHDQDYDLODEOHWRRODVSDUWRIJHQGHUDIILUPLQJFDUH"
    4,VLW\RXUEHOLHIWKDWVRFLDOWUDQVLWLRQLVD          $77251(<%/2&.2EMHFWLRQWRIRUP
    W\SHRIPHGLFDORUPHQWDOKHDOWKWUHDWPHQWIRUJHQGHU           7+(:,71(66*HQGHUDIILUPLQJFDUHFDQ
    G\VSKRULD"                                                      LQFOXGHKRUPRQHV
    $,W VDKDUGTXHVWLRQWRDQVZHU6RFLDO                %<$77251(<%$5+$0
    WUDQVLWLRQLVDSUHWW\GLYHUVHFRQFHSWWKDW VKDUGWR           4$UHWKHUHDQ\RWKHUDYDLODEOHWRROVWKDW\RXXVH
    JHWDVDFDWHJRULFDOYDULDEOHWRVWXG\EXWWKH                 DVSDUWRIJHQGHUDIILUPLQJFDUH"
   LPSOLFDWLRQLVWKDWWKHUH VDORWRIWKLQJVWKDWDUH           $<HVWKHUHLVDORWRIWRROVWKDW,XVHWKDWDUH
   RIWHQKHOSIXOIRUPHQWDOKHDOWKWKDWDUHQ WVSHFLILFDOO\       LQYROYHGLQJHQGHUDIILUPLQJFDUH:RUNZLWKWKHIDPLO\
   PHQWDOKHDOWKWUHDWPHQWVULJKWOLNHH[HUFLVHUHJXODU        LVRQHELJSLHFHRILW:RUNZLWKWKHVFKRROLV
   VOHHS7KHVHDUHQ WVSHFLILFPHQWDOKHDOWK                    DQRWKHU5HIHUUDOVIRUVXUJHU\ZKHQLQGLFDWHG
   LQWHUYHQWLRQVEXWQHYHUWKHOHVVKDYHLPSDFWVRQPHQWDO          UHFRPPHQGDWLRQVIRUDVVHVVPHQWDQGWUHDWPHQWRIDQ\
   KHDOWKRXWFRPHV                                               FRRFFXUULQJPHQWDOKHDOWKGLVRUGHULVDSDUWRILW
   4:HOOLQSDUDJUDSK,PHDQSDUDJUDSKRI      4:KDWLV\RXUUROHLQWKHSUHVFULELQJRISXEHUW\
   \RXUUHSRUW\RXVD\WKDWVRFLDOWUDQVLWLRQLVD                EORFNHUV"
   WUHDWPHQWIRUJHQGHUG\VSKRULD"                                $, PRFFDVLRQDOO\LQWKHUROHRIGRLQJDPHQWDO
   $<HDK,ZRXOGDJUHHZLWKWKDW                         KHDOWKDVVHVVPHQWSULRUWRLQLWLDWLRQRIWKRVH
   46RZKDWNLQGRIWUHDWPHQWLVLW"                      PHGLFDWLRQV
   $,W VDSV\FKRVRFLDOLQWHUYHQWLRQ                     4$QGDUH\RXWKHLQGLYLGXDOZKRZRXOGSUHVFULEH
   43V\FKRVRFLDO:KDWGRHVVRFLDOWUDQVLWLRQLQJ         WKHSXEHUW\EORFNHUV"
   LQFOXGHLQ\RXUYLHZ"                                          $,DPQRW
   $,KDYHWRUHFDOOLI,SURYLGHGDQRSHUDWLRQDO         4:KDWW\SHRISURIHVVLRQDOZRXOGEHUHVSRQVLEOH


                                                    3DJH                                                           3DJH
    GHILQLWLRQIRULWLQP\UHSRUW(VVHQWLDOO\ZKDWZH UH         IRUWKHSUHVFULELQJ"
    WDONLQJDERXWLVDQDOLJQPHQWRIJHQGHUUROHDQGJHQGHU         $,QWKHFOLQLFVWKDW,KDYHZRUNHGWKHVHDUH
    LGHQWLW\6RWKDW VWUDQVLWLRQRIQDPHSURQRXQVKDLU        HLWKHUDGROHVFHQWPHGLFLQHVSHFLDOLVWVRUSHGLDWULF
    SDUWLFLSDWLRQLQVH[VHJUHJDWHGDFWLYLWLHVHWFHWHUD          HQGRFULQRORJLVWV
    4$QGVRVRFLDOWUDQVLWLRQLQ\RXUYLHZPHDQVWKH        4$QGLVWKHVDPHWUXHZLWKFURVVVH[KRUPRQHV"
    SDUWLFLSDWLRQLQJLUOVRUER\VDWKOHWLFWHDPVLQ                $<HV
    FRPSHWLWLRQVFRQVLVWHQWZLWKRQHVJHQGHULGHQWLW\              4,Q\RXUUHSRUW\RXGHVFULEHJHQGHUDIILUPLQJ
    ,VWKDWFRUUHFW"                                       FDUHDVWKHSUHYDLOLQJPRGHORIFDUHIRUWUDQVJHQGHU
    $$JDLQLW VJRLQJWREHFRQWH[WGHSHQGHQW,W         \RXWK
   LVQRWD\HVRUQRTXHVWLRQDURXQGVRFLDOWUDQVLWLRQ          ,VWKDWFRUUHFW"$QG, PUHIHUHQFLQJ
   :KDWZH UHJRLQJWREHGRLQJLQWKHFRQWH[WRIDQ              SDUDJUDSKRI\RXUUHSRUW
   DVVHVVPHQWLVXQGHUVWDQGLQJWKHULVNVDQGEHQHILWVRI          $<HV
   DOOWKHYDULRXVRSWLRQVWKDWZHKDYH                          4/DWHURQLQ\RXUUHSRUW\RXUHIHUWRSUHYDLOLQJ
   4,XQGHUVWDQGWKDWLWFDQGLIIHUIURPSHUVRQWR        VWDQGDUGVRIFDUHSDUDJUDSKSDUDJUDSKIRU
   SHUVRQEXWSDUWLFLSDWLRQLQJLUOVRUER\VDWKOHWLF            H[DPSOH%\WKDWDUH\RXUHIHUULQJWRJHQGHUDIILUPLQJ
   WHDPVLQFRPSHWLWLRQFRQVLVWHQWZLWKRQH VJHQGHU              FDUH"
   LGHQWLW\LVDQDVSHFWDSRVVLEOHDVSHFWRIVRFLDO            $:KLFKSDUDJUDSK"
   WUDQVLWLRQLQJ                                                 4(LJKWHHQ  DQG
   &RUUHFW"                                              $,ZRXOGVD\WKDWLWLVDSDUWRIZKDW, P
   $,WPD\EHDQRSWLRQIRUVRPHVWXGHQWV\HV           UHIHUULQJWREXWQRWWKHHQWLUHW\RIZKDW, PUHIHUULQJ
   4'R\RXFRQVLGHUWKHXVHRISXEHUW\EORFNHUVWR        WR
   EHDQDYDLODEOHWRRODVSDUWRIJHQGHUDIILUPLQJFDUH"         4:KDWHOVHDUH\RXUHIHUULQJWRLQSDUDJUDSK
   $,GR                                                 DQGZKHQ\RXVD\SUHYDLOLQJVWDQGDUGVRIFDU"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $7KLVZRXOGLQFOXGHDORWRIFRPSRQHQWV


                                                                                            3DJHVWR
                                                                                                              Armistead App. 0929
                                                               3DJH                                                      3DJH
    LQFOXGLQJERWKWKH(QGRFULQH6RFLHW\*XLGHOLQHVWKH                   $%RWKWKH(QGRFULQH6RFLHW\*XLGHOLQHVDVZHOODV
    :RUOG3URIHVVLRQDO$VVRFLDWLRQIRU7UDQVJHQGHU+HDOWK                  WKH:3$7+VWDQGDUGVRIFDUH
    *XLGHOLQHVDVZHOODVUHFRPPHQGDWLRQVDQGHWKLFDO                      4$Q\RWKHULQWHUQDWLRQDORUSURIHVVLRQDO
    JXLGLQJSULQFLSOHVRIWKHYDULRXVJRYHUQLQJERGLHVWKDW                RUJDQL]DWLRQV"
    ZHDOOZRUNZLWK                                                      $1RWWKDW,FDQUHFDOOQR
    4$QG\RXZRXOGGHVFULEHWKRVHYDULRXVGRFXPHQWV                4$UH\RXDZDUHWKDWLQWHUQDWLRQDODQG
    WKDW\RXMXVWUHIHUHQFHGDVUHIOHFWLQJJHQGHUDIILUPLQJ                SURIHVVLRQDORUJDQL]DWLRQVKDYHEHHQPRYLQJDZD\IURP
    FDUH                                                                  XVLQJSXEHUW\EORFNHUVDQGFURVVVH[KRUPRQHVRQ
    &RUUHFW"                                                      FKLOGUHQDQGDGROHVFHQWVXQGHUWKHDJHRI"
   $,ZRXOGKDYHWRJRWKURXJKIRUH[DPSOHWKH                 $77251(<%/2&.2EMHFWLRQWRIRUP
   (QGRFULQH6RFLHW\*XLGHOLQHVWRNQRZZKHWKHURUQRWWKH\              7+(:,71(66,GRQ WVHHWKDWWKDWLV
   XVHWKDWVSHFLILFWHUP$JDLQ,WKLQN,MXVWZDQWWR                QHFHVVDULO\DFFXUDWH, PJRLQJWRKDYHWRWDNHDEUHDN
   PDNHVXUHWKDW, PHPSKDVL]LQJWKDWJHQGHUDIILUPLQJ                  LQILYHPLQXWHVLIWKDWLVRND\
   FDUHGRHVQRWKDYHDQDJUHHGXSRQGHILQLWLRQVRLW V                  $77251(<%$5+$07KLVZRXOGEHWKH
   FRQWURYHUVLDODQG,ZRXOGQ WNQRZKRZWRDQVZHUWKDW                  SHUIHFWWLPH
   TXHVWLRQ                                                             7+(:,71(66,ZLOOEHTXLFN
   4$V\RXXVHWKHWHUPDQGDV\RXGHILQHWKHWHUP               9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   LQ\RXUSUDFWLFHZRXOG\RXFRQVLGHUWKH:3$7+VWDQGDUGV              FXUUHQWUHDGV
   WRIDOOXQGHUWKHXPEUHOODRIJHQGHUDIILUPLQJFDUH"                  2))9,'(27$3(
   $,ZRXOG\HV                                                 
   4$QGZRXOG\RXFRQVLGHUWKH(QGRFULQH6RFLHW\                  :+(5(8321$6+257%5($.:$67$.(1
   *XLGHOLQHVWRIDOOXQGHUWKHXPEUHOODRI                              
   JHQGHUDIILUPLQJFDUH"                                                219,'(27$3(
   $,ZRXOG\HV                                                9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH


                                                               3DJH                                                      3DJH
    4,QSDUDJUDSKRI\RXUUHSRUW\RXFODLPWKDW                 FXUUHQWWLPHLVDP
    JHQGHUDIILUPLQJFDUHLVHQGRUVHGE\DWOHDVWILYH                     $77251(<%$5+$0, PJRLQJWRVKRZ\RX
    SURIHVVLRQDODVVRFLDWLRQV                                             ZKDWZHZLOOPDUNDV([KLELWWKLVZLOOEH7DE
    $77251(<%/2&.2EMHFWLRQWRIRUP                     
    %<$77251(<%$5+$0                                                     :KHUHXSRQ([KLELW6WDWHPHQWE\
    4$QG\RXUHIHUHQFHRWKHUV:KDWRWKHU                         5R\DO$XVWUDOLDQDQG1HZ=HDODQG&ROOHJH
    RUJDQL]DWLRQVDUH\RXDOOXGLQJWRLQSDUDJUDSKRI                   RI3V\FKLDWULVWVZDVPDUNHGIRU
    \RXUUHSRUW"                                                           LGHQWLILFDWLRQ
    $,GRQ WZDQWWRJHWWKHQDPHRIWKHRUJDQL]DWLRQ              
   LQFRUUHFWEXW1DWLRQDO$VVRFLDWLRQRI6RFLDO:RUNHUV                 %<$77251(<%$5+$0
   DQGWKH1DWLRQDO$VVRFLDWLRQRI0DULWDODQG)DPLO\                    47KLVLVDVWDWHPHQWIURPWKH5R\DO$XVWUDOLDQ
   7KHUDSLVWVKDYHUHOHDVHGVWDWHPHQWVDERXWLWEXW,                   DQG1HZ=HDODQG&ROOHJHRI3V\FKLDWULVWV
   GRQ WKDYHVSHFLILFUHFROOHFWLRQRIWKRVHVLWWLQJKHUH                &RUUHFW"
   WRGD\                                                                $77251(<%/2&.2EMHFWLRQ&DQ\RXJLYH
   42ND\                                                        KLPDFKDQFHWRORRNDWWKHGRFXPHQW"
   $UHWKHUHDQ\RWKHURUJDQL]DWLRQVEHVLGHVWKRVH              7+(:,71(66,W VZKDWLWVD\V,GRQ W
   DQGWKRVHOLVWHGLQSDUDJUDSK"                                     NQRZZKDWWKHJRYHUQPHQWVWUXFWXUHRIWKLVRUJDQL]DWLRQ
   $7KHUHOLNHO\DUHEXWQRQHWKDWDUHFRPLQJWR                 LVRUKRZWKH\UHOHDVHWKHLUVWDWHPHQWVRUKRZWKH\DUH
   PLQGWRGD\                                                           GHYHORSHG
   4:KHQ\RXZHUHSUHSDULQJ\RXUUHSRUWGLG\RX                  %<$77251(<%$5+$0
   FRQVXOWWKHVWDQGDUGVRIFDUHDUWLFXODWHGE\DQ\                      47KLVLV3RVLWLRQ6WDWHPHQWDFFRUGLQJWRWKH
   LQWHUQDWLRQDOSURIHVVLRQDORUJDQL]DWLRQV"                             GRFXPHQW
   $<HV                                                         &RUUHFW"
   4:KLFKRQHV"                                                  $,ZLOOWDNH\RXUZRUGIRULWLIWKDW VZKDWLW


                                                                                                   3DJHVWR
                                                                                                     Armistead App. 0930
                                                   3DJH                                                        3DJH
    VD\V                                                          7+(:,71(663V\FKLDWULVWVDUHRIWHQD
    45LJKWEHORZWKHWLWOH$QGLWZDVSXEOLVKHGLQ       XVHIXODGMXQFWWRWKHWHDPEXWLVQ WDQHFHVVDU\
    $XJXVWRI                                                UHTXLUHPHQW7KHUHDUHPDQ\RWKHUPHQWDOKHDOWK
    ,VWKDWFRUUHFW"                                      SURIHVVLRQDOVZKRKDYHH[SHUWLVHDQGFDQILOOWKLVUROH
    $,GRQ WNQRZZKHUHLWVD\VWKDW                      %<$77251(<%$5+$0
    45LJKWEHORZWKHWDE                                  4$QGZKDWRWKHUSURIHVVLRQDOVGR\RXWKLQNFRXOG
    $*RWLW                                               ILOOWKLVUROH"
    47KH5R\DO$XVWUDOLDQDQG1HZ=HDODQG&ROOHJHRI       $7KLVZRXOGEHOLFHQVHGFOLQLFDOPHQWDOKHDOWK
    3V\FKLDWULVWVLVWKHSURIHVVLRQDOERG\RISV\FKLDWULVWV        SURIHVVLRQDOV
   IRUWKRVHWZRFRXQWULHV                                      4$QGWKRVHZRXOGLQFOXGH"
   ,VWKDWFRUUHFW"                                     $3V\FKRORJLVWVVRFLDOZRUNHUVPDULWDODQG
   $77251(<%/2&.2EMHFWLRQ                    IDPLO\WKHUDSLVWVDQGWKHUHDUHSUREDEO\RWKHUWLWOHV
   7+(:,71(66,GRQRWNQRZWKDW              WKDWDUHJRYHUQHGE\WKHLUUHJXODWRU\ERDUGVWKDW,
   %<$77251(<%$5+$0                                           GRQ WUHFDOOULJKWQRZ
   4, PVRUU\,GLGQ WFDWFK\RXUDQVZHU              %<$77251(<%$5+$0
   $,GRQRWNQRZ                                       4$QGRQZKDWDUH\RXEDVLQJ\RXUGLVDJUHHPHQW
   4$FFRUGLQJWRSDJHWKUHHRIWKLVGRFXPHQWWKH        ZLWKWKH5R\DO&ROOHJH VHPSKDVLVRQWKHLPSRUWDQFHRI
   5R\DO&ROOHJHKDVFRQFOXGHGWKDWWKHUHDUHTXRWH            WKHSV\FKLDWULVW VUROH
   SRODUL]HGYLHZVDQGPL[HGHYLGHQFHUHJDUGLQJWUHDWPHQW        $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   RSWLRQVIRUSHRSOHSUHVHQWLQJZLWKJHQGHULGHQWLW\            FKDUDFWHUL]DWLRQRIWKHGRFXPHQW
   FRQFHUQVHVSHFLDOO\FKLOGUHQDQG\RXQJSHRSOH               7+(:,71(667KH:3$7+VWDQGDUGVRIFDUH
   'R\RXVHHWKDW"                                     DVDQH[DPSOHGRHVQRWGLFWDWHQHFHVVDU\LQYROYHPHQWRI
   $,VHHWKDW                                          DSV\FKLDWULVW$QG,ZRXOGKDYHWRUHYLHZWKH
   4'R\RXDJUHHZLWKWKHLUDVVHVVPHQW"                  (QGRFULQH6RFLHW\EXW,GRQ WEHOLHYHWKDWWKH\


                                                   3DJH                                                        3DJH
    $<HV                                                  VSHFLILFDOO\IURPP\JXLOGHLWKHU
    46RWKLVPHDQVWKDWSURIHVVLRQDOVFDQGLVDJUHH         %<$77251(<%$5+$0
    ZLWKHDFKRWKHUDVWRKRZWRWUHDWFKLOGUHQDQG\RXQJ          4,VLWWUXHWKDWSV\FKLDWULVWVKDYHWUDLQLQJDQG
    SHRSOHZLWKJHQGHUG\VSKRULD                                  VNLOOVWKDWSV\FKRORJLVWVDQGPDULWDOWKHUDSLVWVDQG
    ,VWKDWFRUUHFW"                                     VRFLDOZRUNHUVGRQRWKDYH"
    $77251(<%/2&.2EMHFWLRQWRIRUP             $7KDWLVFRUUHFW
    7+(:,71(66<HDK,WKLQNDQ\                $77251(<%$5+$0, PJRLQJWRKDQG\RX
    WUHDWPHQWGHFLVLRQ\RX UHJRLQJWRKDYHSURIHVVLRQDOV         ZKDWZHZLOOPDUNDV([KLELW$QGWKLVZLOOEH
    GLVDJUHHLQJZLWK\RXDERXWWKHEHVWFRXUVHRIDFWLRQ          7DEIRUWKRVHZDWFKLQJRQOLQH
   7KLVLVQ WDQ\GLIIHUHQWWKDQWKDW                           
   %<$77251(<%$5+$0                                            :KHUHXSRQ([KLELW3ROLF\&KDQJH
   4$QGRQSDJHIRXURIWKHGRFXPHQWWKH5R\DO           5HJDUGLQJ+RUPRQDO7UHDWPHQWRI0LQRUV
   &ROOHJHVD\VWKDWSV\FKLDWULFDVVHVVPHQWDQGWUHDWPHQW        ZDVPDUNHGIRULGHQWLILFDWLRQ
   VKRXOGEHERWKVKRXOGEHERWKEDVHGRQDYDLODEOH          
   HYLGHQFHDQGDOORZIRUIXOOH[SORUDWLRQRIDSHUVRQ V         %<$77251(<%$5+$0
   JHQGHULGHQWLW\$QGLWHPSKDVL]HVWKHLPSRUWDQFHRI         47KLVGRFXPHQWLVDQDQQRXQFHPHQWRIDSROLF\
   WKHSV\FKLDWULVW VUROHWRXQGHUWDNHIRUDVVHVVPHQWLQ        FKDQJHUHJDUGLQJKRUPRQDOWUHDWPHQWRIPLQRUVZLWK
   HYLGHQFHEDVHGWUHDWPHQWLGHDOO\DVSDUWRID                 JHQGHUG\VSKRULDDW$VWULG/LGJUHQ&KLOGUHQ V+RVSLWDO
   PXOWLGLVFLSOLQDU\WHDPHVSHFLDOO\KLJKOLJKWLQJ               $UH\RXDZDUHWKDWWKLVLVWKHPDLQJHQGHUFOLQLFLQ
   GLVWLQJXLVKLQJLVVXHVZKLFKPD\QHHGDGGUHVVLQJDQG           6ZHGHQ"
   WUHDWLQJ'R\RXDJUHHZLWKWKH5R\DO&ROOHJH V              $77251(<%/2&.2EMHFWLRQWRIRUP
   HPSKDVLVRQSV\FKLDWULVWV UROHDQGKRZLW VLPSRUWDQW        7+(:,71(66,GRQ WVHHDQ\VSHFLILF
   WRHQVXUHDSSURSULDWHFDUHIRUJHQGHUG\VSKRULD"              LQIRUPDWLRQDERXWWKLVGRFXPHQWWKDWUHSRUWVZKHUHLW V
   $77251(<%/2&.2EMHFWLRQWRIRUP            IURP


                                                                                         3DJHVWR
                                                                                                               Armistead App. 0931
                                                               3DJH                                                     3DJH
    %<$77251(<%$5+$0                                                     4$UH\RXDZDUHWKDWWKH8QLWHG.LQJGRP V1DWLRQDO
    4$UH\RXDZDUHRI$VWULG/LQGJUHQ+RVSLWDOE\                   +HDOWK6HUYLFHSXWDQHQGWRLQLWLDWLQJKRUPRQH
    UHSXWDWLRQ"                                                             WUHDWPHQWLQQHZFDVHVRILQGLYLGXDOVXQGHU"
    $,GRQ WNQRZLIWKDW VWKHQDPHRILW1R,                  $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    GRQ WUHFDOOWKHVSHFLILFQDPHRIWKH6ZHGLVK&KLOGUHQ V                IRXQGDWLRQ
    +RVSLWDO                                                               7+(:,71(660\XQGHUVWDQGLQJLVWKDW
    4$UH\RXDZDUHWKDWWKH6ZHGLVK$JHQF\IRU+HDOWK               LW VXQGHUOLWLJDWLRQULJKWQRZDQGDILQDOGHFLVLRQKDV
    7HFKQRORJ\$VVHVVPHQWDQG$VVHVVPHQWRI6RFLDO6HUYLFHV                 QRWEHHQUHDFKHGEXW,FRXOGEHZURQJDERXWWKDW
    SXEOLVKHGDQRYHUYLHZRIWKHNQRZOHGJHEDVHZKLFKVKRZHG                %<$77251(<%$5+$0
   DODFNRIHYLGHQFHRIERWKORQJWHUPFRQVHTXHQFHVRIWKH               4$UH\RXDZDUHWKDWWKDW VDWOHDVWDFXUUHQW
   WUHDWPHQWVRIJHQGHUG\VSKRULD"                                        SUDFWLFHWRSXWDQHQGWRLQLWLDWLQJKRUPRQDOWUHDWPHQW
   $,KDYHKHDUG                                             LQQHZSDWLHQWVLQQHZFDVHVRILQGLYLGXDOVXQGHU
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG                  "
   ZKHUHDUH\RXTXRWLQJIURP"                                            $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%$5+$0+DOIZD\WKURXJKWKH                   7+(:,71(66&DQ\RXUHSHDWWKH
   ILUVWSDUDJUDSKRIWKHEDFNJURXQGVHFWLRQRQSDJHRQH                 TXHVWLRQ"
   $77251(<%/2&., PVRUU\:KHUHZDV                  %<$77251(<%$5+$0
   WKLVGRFXPHQWREWDLQHGIURP"                                           4$UH\RXDZDUHWKDWWKH8QLWHG.LQJGRP V1DWLRQDO
   $77251(<%$5+$0,FDQVXSSO\WKDW                     6HUYLFHV FXUUHQWSUDFWLFHLVWRSXWDQHQGWR
   LQIRUPDWLRQEXWWKLVLVDQDQQRXQFHPHQWRIDSROLF\                   LQLWLDWLQJKRUPRQDOWUHDWPHQWVLQQHZFDVHVRI
   FKDQJHIURPD&KLOGUHQ V+RVSLWDOLQ6ZHGHQ                           LQGLYLGXDOVXQGHU"
   $77251(<%/2&.-XVWIRUWKHUHFRUG                   $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   WKLVGRHVQ WVHHPWRKDYHDZDONOLNHLWMXVW                  IRXQGDWLRQ
   ORRNVOLNHZRUGVRQDSDJHZLWKRXWRWKHUVRXUFLQJRQLW               7+(:,71(66,GRQRWKDYHWKH1+6


                                                               3DJH                                                     3DJH
    $77251(<%$5+$0<RXUREMHFWLRQLV                      SROLFLHVLQIURQWRIPHVR,FDQQRWVSHDNWRWKDW
    QRWHG                                                                  $77251(<%$5+$07KHGRFXPHQW([KLELW
    7+(:,71(66,PHDQZLWKRXWVSHDNLQJWR                 ZKDWQXPEHUDUHRQ
    WKHSURYLGHQFHRIWKHGRFXPHQW,KDYHKHDUGWKDWWKHUH                 /$:&/(5.:,/.,1621\HV
    ZDVDFKDQJHZLWKLQWKH6ZHGLVKHVWDEOLVKPHQWLQUHJDUGV                %<$77251(<%$5+$0
    WRSUHSXEHUWDO\RXWKRUSUHSXEHUWDO\RXWK                              4([KLELWLQGLFDWHVTXRWHWKH8QLWHG
    %<$77251(<%$5+$0                                                     .LQJGRP V1DWLRQDO+HDOWK6HUYLFHSXWDQHQGWR
    4$QGZKDWZDV\RXUXQGHUVWDQGLQJRIWKDWFKDQJH"                LQLWLDWLQJKRUPRQDOWUHDWPHQWLQQHZFDVHVRI
    $,ZRXOGKDYHWRORRNWKURXJKWKHVSHFLILFVWR                  LQGLYLGXDOVXQGHU'R\RXKDYHDQ\UHDVRQWREHOLHYH
   NQRZIRUVXUH                                                         WKDWWKDWVWDWHPHQWLVLQDFFXUDWH"
   4:KDWLV\RXUJHQHUDOXQGHUVWDQGLQJRIWKHQDWXUH              $77251(<%/2&.-XVWREMHFWLRQWKDWWKLV
   RIWKDWFKDQJH"                                                        GRFXPHQWFDPHRXWDWDFHUWDLQWLPHDQGVRLW VMXVWQRW
   $0\JHQHUDOXQGHUVWDQGLQJZDVWKHUHZDVDSDXVH                FOHDUZKDWWLPHIUDPH\RXNQRZWKLVTXHVWLRQLV
   RQVRPHRIWKHWUHDWPHQWVPHGLFDOWUHDWPHQWVDYDLODEOH                UHIHUULQJWR$QGMXVWDQRWKHUREMHFWLRQWRWKLV
   IRUFKLOGUHQZLWKJHQGHUG\VSKRULD                                    GRFXPHQW7KLVDSSHDUVWREHDWUDQVODWLRQ
   4$QGE\SDXVHDWOHDVWDFFRUGLQJWRWKLV                      $77251(<%$5+$0<RXUREMHFWLRQLV
   GRFXPHQWLWPHDQVWKDWWKH\KDGGHFLGHGKRUPRQDO                      QRWHG$QGZH YHDOUHDG\DJUHHGWKDWWKHUHDUHWKH
   WUHDWPHQWVLHSXEHUW\EORFNLQJDQGFURVVVH[                        WKUHHREMHFWLRQVVR,ZLOODVN\RXWRFHDVHWKH
   KRUPRQHVZLOOQRWEHLQLWLDWHGLQJHQGHUG\VSKRULF                    VSHDNLQJREMHFWLRQV
   SDWLHQWVXQGHUWKHDJHRI                                          7+(:,71(66,KDYHUHDVRQWRGRXEWLW
   &RUUHFW")LUVWEXOOHWSRLQWLQH[HFXWLYH                     <HV
   GHFLVLRQV                                                             %<$77251(<%$5+$0
   $$JDLQQRWNQRZLQJWKHSURYLGHQFHRIWKLV                     4:KDWLV\RXUUHDVRQWRGRXEWLW"
   GRFXPHQWWKDW VZKDWWKLVGRFXPHQWVD\V\HV                         $0\XQGHUVWDQGLQJLVWKDWWKHUHZHUHOHJDO


                                                                                                3DJHVWR
                                                                                                     Armistead App. 0932
                                                 3DJH                                                         3DJH
    SURFHVVHVLQYROYHGWKDWKDYHFKDQJHGWKHODQGVFDSHRI          GRFXPHQWLVWKDW,GRQ W, YHQRWKHDUGRIZKDW
    WKLVFDUHLQWKH8.                                          &RKHUH)LQODQGLVDQGKRZWKHLUUHFRPPHQGDWLRQVLPSDFW
    4$UH\RXDZDUHRIWKH1DWLRQDO+HDOWK6HUYLFH          SROLFLHVRQWKHJURXQGLQ)LQODQG
    UHLQLWLDWLQJKRUPRQDOWUHDWPHQWVLQQHZFDVHVRI               %<$77251(<%$5+$0
    LQGLYLGXDOVXQGHU"                                          46RDUH\RXQRWIDPLOLDUZLWK&RKHUHDVDQ
    $,DPXQVXUH7KDW VZKHUHP\GRXEWLV               HQWLW\"
    4%XW\RX UHDZDUHWKDWDWRQHWLPHWKH\SXWDQ         $&RUUHFW
    HQGWRWKRVHWUHDWPHQWVIRULQGLYLGXDOVXQGHUWKHDJHRI       4$QGWKDWZDVDTXHVWLRQ$UH\RX"
    "                                                            $,DPQRW
   $<HV                                                 4+DYH\RXVHHQWKLVGRFXPHQWEHIRUHWRGD\"
   $77251(<%/2&.2EMHFWLRQWRIRUP            $,KDYHQRW
   7+(:,71(66<HV                             $77251(<%$5+$0, PJRLQJWRVKRZ\RX
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX        ZKDWZH OOPDUNDV([KLELWDQGWKLVZLOOEH7DE
   ZKDWZHZLOOPDUNDV([KLELW7KLVLVDGRFXPHQW      IRUWKRVHZDWFKLQJDWDGLVWDQFH
   DQDUWLFOHE\/LVD1DLQJJRODQ, PSUREDEO\EXWFKHULQJ       
   WKHODVWQDPH                                                 :KHUHXSRQ([KLELW$UWLFOH3XEOLVKHG
   /$:&/(5.:,/.,16217DE                  RQ0HGVFDSHFRPZDVPDUNHGIRU
   $77251(<%$5+$07DEHQWLWOHG             LGHQWLILFDWLRQ
   +RUPRQDO7UHDWPHQWRI<RXWKZLWK*HQGHU'\VSKRULD6WRSV       
   LQ6ZHGHQ                                                    %<$77251(<%$5+$0
                                   47KLVLVDQDUWLFOHE\%HWV\0F&DOOSXEOLVKHGRQ
    :KHUHXSRQ([KLELW$UWLFOHE\/LVD        0HGVFDSHFRPRQ2FWREHUWK
   1DLQJJRODQZDVPDUNHGIRU                    ,VWKDWFRUUHFW"
   LGHQWLILFDWLRQ                               $<HV


                                                 3DJH                                                         3DJH
                                     4,I\RXORRNDWWKHWKLUGSDUDJUDSKIURPWKH
    %<$77251(<%$5+$0                                            ERWWRP0V0F&DOOUHSRUWVWKDW6FDQGLQDYLDQFRXQWULHV
    4,QWKHIRXUWKSDUDJUDSKLWLQGLFDWHVWKDWRWKHU       PRVWQRWDEO\)LQODQGRQFHHDJHUDGYRFDWHVIRUWKH
    FHQWHUVLQ6ZHGHQWKDWWUHDWJHQGHUG\VSKRULD\RXWKLQ         JHQGHUDIILUPDWLYHDSSURDFKKDYHSXOOHGEDFNDQGLVVXHG
    /RRPDQG/LFRSHQHZLOOIROORZWKHOHDGRIWKH$/%$UH        QHZWUHDWPHQWJXLGHOLQHVLQVWDWLQJWKDW
    \RXDZDUHWKDWWKRVHWZRFOLQLFVKDGPDGHWKHVDPH             SV\FKRWKHUDS\UDWKHUWKDQJHQGHUUHDVVLJQPHQWVKRXOGEH
    GHFLVLRQDVWKH$VWULG/LQGJUHQ&KLOGUHQ V+RVSLWDO"           WKHILUVWOLQHRIWUHDWPHQWIRUJHQGHUG\VSKRULF\RXWK
    $,DPQRW                                             'R\RXVHHWKDW"
    $77251(<%$5+$0, PJRLQJWRVKRZ\RX         $,VHHWKDW
   ZKDWZHZLOOPDUNDV([KLELW,PHDQ, PVRUU\          4'R\RXDJUHHZLWKWKDWDSSURDFK"
   7DE([KLELW                                           $77251(<%/2&.2EMHFWLRQWRIRUP
                                   7+(:,71(660HGVFDSHLVDSRSXODUSUHVV
    :KHUHXSRQ([KLELW6WXG\ZDVPDUNHG      IRUXPIRUGLVFXVVLQJLVVXHVDQGWKHODQJXDJHWKDWLV
   IRULGHQWLILFDWLRQ                           XVHGE\WKLVDXWKRULPSOLHVWRPHWKDWWKLVLVQRW
                                   VRPHERG\ZKRKDVDJUHDWGHDORIH[SHUWLVHRU
   %<$77251(<%$5+$0                                           XQGHUVWDQGLQJLQWKLVILHOG
   4$UH\RXDZDUHWKDW)LQODQGKDVVLPLODUO\             %<$77251(<%$5+$0
   UHYHUVHGLWVFRXUVHLVVXLQJQHZJXLGHOLQHVWKDWDOORZ         4'R\RXDJUHHZLWKXVLQJSV\FKRWKHUDS\UDWKHU
   SXEHUW\EORFNHUVRQO\RQDFDVHE\FDVHEDVLVDIWHU           WKDQJHQGHUUHDVVLJQPHQWDVWKHILUVWOLQHRIWUHDWPHQW
   H[WHQVLYHSV\FKLDWULFDVVHVVPHQW"                             IRUJHQGHUG\VSKRULF\RXWK"
   $77251(<%/2&.2EMHFWLRQWRIRUP$QG       $7KHWHUPJHQGHUUHDVVLJQPHQWLQDQGRILWVHOILV
   FDQ\RXJLYHWKHZLWQHVVDQGPHDFKDQFHWRVHHWKLV          QRWDPHDQLQJIXOWHUPLQWKLVFRQWH[WDQGVRLW V
   GRFXPHQW"&DQWKHGRFXPHQWEHVFUROOHGGRZQ"                 XQFOHDUZKDWWKLVSDUWLFXODUDXWKRULVWU\LQJWRJHW
   7+(:,71(66:KDW,FDQVD\DERXWWKLV        DFURVV$QGLW VDIDOVHGLFKRWRP\WKDWLVEHLQJ



                                                                                       3DJHVWR
                                                                                                        Armistead App. 0933
                                                         3DJH                                                     3DJH
    SRVLWLYHWKDWGRHVQ WDFWXDOO\KDSSHQ                            H[FOXGHGZKLFKZRXOGEHUHTXLUHGLQDYDOLGDWHG
    4$UH\RXDZDUHWKDW)LQODQGKDGLVVXHGQHZ                PHWDDQDO\VLVW\SHDSSURDFK6RZLWKRXWDYHU\VSHFLILF
    WUHDWPHQWJXLGHOLQHVLQ"                                     GHVFULSWLRQRIWKHPHWKRGRORJ\LW VJRLQJWREHKDUGIRU
    $,GRQ WUHFDOOWKHVSHFLILFVRIZKHQJXLGHOLQHV          PHWRPDNHDQHGXFDWHGVWDWHPHQW
    ZHUHUHFRPPHQGHG%XWEDVHGXSRQWKHGRFXPHQWWKDW\RX           %<$77251(<%$5+$0
    SODFHGLQIURQWRIPHLWVHHPVWREH\HV%XW,WKLQN            4,I\RXORRNDWSDJHWKUHHRIWKHGRFXPHQWXQGHU
    WKHGHVFULSWLRQRIWKRVHJXLGHOLQHVDQGZKDW\RXSXWLQ           H[HFXWLYHVXPPDU\LWKLJKOLJKWVWKHQLQHREVHUYDWLRQDO
    IURQWRIPHDVWKH&RKHUHJXLGHOLQHVZKLFKDJDLQ, P             VWXGLHVWKDWZHUHLQFOXGHGLQWKHHYLGHQFHUHYLHZ
    QRWVXUHZKDWWKH\DFWXDOO\UHSUHVHQWLQWHUPVRIWKHLU           $<HDKLQDPHWDDQDO\VLVRUHYHQDV\VWHPDWLF
   SROLFLHVWKHUHDUHFRQWUDGLFWLRQVWKHUH                        UHYLHZRQHRIWKHSURFHVVHVWKDWRFFXUVLV\RXGHILQHDV
   $77251(<%/2&., PVRUU\,ZDQWWR            WKHDXWKRUVZKDW\RXDUHVHDUFKLQJIRUZKDWDUHWKH
   SXWRQWKHUHFRUGWKLVGRFXPHQWDERXW)LQODQGDOVR               H[FOXVLRQDU\DQGLQFOXVLRQDU\FULWHULDIRUHDFK
   DSSHDUVWREHDWUDQVODWLRQIURPWKHRULJLQDOE\WKH             LQGLYLGXDOVWXG\DQGDOLVWRIHYHU\VLQJOHVWXG\WKDW
   6RFLHW\IRU(YLGHQFH%DVHG*HQGHU0HGLFLQHZKRVHZHEVLWH         ZDVUHYLHZHGDQGZK\RUZK\QRWLWZDVLQFOXGHG7KDW
   GHVFULEHVLWDVDQXQRIILFLDOWUDQVODWLRQ6R,MXVW            LVPLVVLQJKHUHVRLW V,GRQ WNQRZKRZWKH
   ZDQWWRQRWHWKDWIRUWKHUHFRUG                                DXWKRUVGHFLGHGZKLFKRQHVWRLQFOXGHRUZKLFKRQHVQRW
   $77251(<%$5+$06RQRWHG, PJRLQJWR         WRLQFOXGHZKLFKPDNHVLWKDUGWRGUDZDFRQFOXVLRQ
   VKRZ\RXZKDWZHZLOOPDUNDV([KLELW7DE                IURPWKHUHSRUWDVLWVWDQGV
                                      4+DYH\RXVHHQDQ\RWKHUUHSRUWVWKDWVXJJHVW
    :KHUHXSRQ([KLELW$UWLFOHLQ                WKDWWKHHYLGHQFHEHLQJGLVFXVVHGRQSDJHXQGHUWKH
   1DWLRQDO+HDOWK6HUYLFHZDVPDUNHGIRU          FRQFOXVLRQVKHDGLQJLVQ WDQ\WKLQJKLJKHUWKDQDYHU\
   LGHQWLILFDWLRQ                                  ORZFHUWDLQW\XVLQJPRGLILHGJUDGH"
                                      $, PQRWSHUFHQWIDPLOLDUZLWKPRGLILHGJUDGH
   %<$77251(<%$5+$0                                              DVDPHWKRGRORJ\VR,FDQ WVSHDNWRKRZWKDWZRXOG


                                                         3DJH                                                     3DJH
    4$QG,ZLOOGLUHFW\RXUDWWHQWLRQWRSDJH             DSSO\WRRWKHUVWXGLHV
    7KLVLVDWRLGHQWLI\WKHGRFXPHQWIRUWKHUHFRUG            4$QGWKHQH[WSDUDJUDSKWKHDXWKRUVLQGLFDWHWKDW
    7KLVLVDQ(YLGHQFH5HYLHZHG*RQDGRWURSKLQ5HOHDVLQJ              VWXGLHVIRXQGGLIIHUHQFHVLQRXWFRPHFRXOGUHSUHVHQW
    +RUPRQH$QDORJVIRU&KLOGUHQDQG$GROHVFHQWVZLWK*HQGHU          FKDQJHVWKDWDUHHLWKHUDTXHVWLRQDEOHFOLQLFDOYDOXHRU
    '\VSKRULDIURPWKH1DWLRQDO+HDOWK6HUYLFHLQ           WKHVWXGLHVWKHPVHOYHVDUHQRWUHOLDEOHDQGFKDQJHV
    RULQ2QSDJHULJKWDWWKHEHJLQQLQJRIWKH            FRXOGEHGXHWRFRQIRXQGLQJELDVRUFKDQFH'R\RX
    FRQFOXVLRQVVHFWLRQWKHDXWKRUVLQGLFDWHWKDWWKH                 DJUHHWKDWWKDWLVSRVVLEOH"
    UHVXOWVRIVWXGLHVWKDWUHSRUWHGLPSDFWRQWKHFULWLFDO           $77251(<%/2&.2EMHFWLRQWRIRUP
    RXWFRPHVRIJHQGHUG\VSKRULDDQGPHQWDOKHDOWKDQGWKH            7+(:,71(66:HOO,DJUHHWKDWDOO
   LPSRUWDQWRXWFRPHVRIERG\LPDJHDQGSV\FKRVRFLDOLPSDFW         WKLQJVDUHSRVVLEOHWKDWVFLHQWLILFOLWHUDWXUHLVQRW
   LQFKLOGUHQDQGDGROHVFHQWVZLWKJHQGHUG\VSKRULDDUHD          DOZD\VSHUFHQWGUDZLQJDQ\FRQFOXVLRQV%XWDJDLQ
   YHU\ORZFHUWDLQW\XVLQJPRGLILHGJUDGH7KH\VXJJHVW           ZLWKRXWNQRZLQJVSHFLILFDOO\KRZWKH\LQFOXGHGZKDWWKH\
   OLWWOHFKDQJHZLWK*Q5+DQDORJVIURPEDVHOLQHWR                 LQFOXGHGRUZK\WKH\LQFOXGHGZKDWWKH\LQFOXGHGDQGZK\
   IROORZXS'R\RXVHHWKDW"                                     WKH\RSWWRUHPRYHRWKHUVLW VQRWSRVVLEOHIRUPHWR
   $,GRQRW                                               GUDZDVSHFLILFFRQFOXVLRQIURPWKLV
   4)LUVWSDUDJUDSKXQGHUWKHFRQFOXVLRQ                  %<$77251(<%$5+$0
   $<HV,VHHWKDW                                        4,QSDUDJUDSKRI\RXUUHSRUW\RXGLVWLQJXLVK
   4'R\RXKDYHDQ\VFLHQWLILFEDVLVIRUGLVSXWLQJ          'U/HYLQH VDSSURDFKWRWUHDWLQJJHQGHUG\VSKRULDDV
   WKLVFRQFOXVLRQ"                                                 RU\RXGHVFULEHLWDVJHQGHULGHQWLW\FRQYHUVLRQ
   $77251(<%/2&.2EMHFWLRQ/HWKLPUHDG         PRGHO'R\RXUHFDOOWKDW"
   WKHGRFXPHQW                                                    $<HV
   7+(:,71(66,PHDQZLWKRXWKDYLQJVHHQ         4,Q\RXUYLHZDUHWKHUHWZRDSSURDFKHVWR
   WKLVEHIRUH, PQRWVXUHZKDWWKHVFRSLQJZDVIRUKRZ           WUHDWLQJJHQGHUG\VSKRULDLQFKLOGUHQDQGDGROHVFHQWV
   WKH\GHILQHGZKLFKVWXGLHVWRLQFOXGHZKLFKRQHVZHUH           WKHJHQGHUDIILUPLQJPRGHODQGWKHFRQYHUVLRQWKHUDS\


                                                                                          3DJHVWR
                                                                                                      Armistead App. 0934
                                                  3DJH                                                         3DJH
    PRGHO"                                                          LGHQWLW\LVDQHJDWLYHRXWFRPH
    $77251(<%/2&.2EMHFWLRQWRIRUP              4$QGZK\ZRXOG\RXGUDZWKDWFRQFOXVLRQIURPWKDW
    7+(:,71(66,ZRXOGQRWDJUHHZLWKWKDW        DVVRFLDWLRQ"
    FKDUDFWHUL]DWLRQ                                               $%DVHGXSRQWKHGHVFULSWLRQRIWKHFDUHRQWKH
    %<$77251(<%$5+$0                                             ZHEVLWH%XWWKDWZRXOGEHDQDVVXPSWLRQ,ZRXOG
    4+RZPDQ\RWKHUDSSURDFKHVGR\RXVHH"+RZGR          QHYHUGRWKDWRQDQ\LQGLYLGXDOEDVLVIRUDQ\RIWKHVH
    \RXFDWHJRUL]HWKHGLIIHUHQWDSSURDFKHVIRUWUHDWLQJ            DXWKRUVZLWKRXWNQRZLQJWKHP
    JHQGHUG\VSKRULDLQFKLOGUHQDQGDGROHVFHQWV"                   4%H\RQGWKHDVVRFLDWLRQGR\RXKDYHDQ\UHDVRQ
    $,GRQ WDJUHHZLWKWKHSUHPLVHEXWWKHUH              WRGRXEWWKHVFKRODUO\LQWHJULW\RIWKHDXWKRUVKHUH"
   VSHFLILFGHILQHGWUHDWPHQWSDUDGLJPVWKDWDUHXVHG,         $,WKLQN\RXFDQ WUHDOO\WDONDERXWVFKRODUO\
   WKLQNWKHUHDUHWKHUHDUHHOHPHQWVRIFRQYHUVLRQ           LQWHJULW\ZKHQLW VDOHWWHUWRWKHHGLWRU,W VQRW
   WKHUDS\DV,UHIHUUHGWRLQP\UHSRUW7KHUHDUH              WKHVDPHVDPHOHYHORIHYLGHQFHDVDQRWKHUVWXG\
   HOHPHQWVRIJHQGHUDIILUPLQJFDUHDQGWKHUHLVD               ZRXOGEH
   VSHFWUXPLQEHWZHHQWKDW                                      4,W VDOHWWHUWRWKHHGLWRUWKDWFLWHV
   4:KDWDUHWKHHOHPHQWVZKDWDUHWKHHOHPHQWV       GLIIHUHQWVRXUFHV
   RILGHQWLW\JHQGHULGHQWLW\FRQYHUVLRQPRGHOLQ\RXU       ,VWKDWFRUUHFW", PORRNLQJDWWKHODVWSDJH
   PLQG"                                                          $7KHVRXUFHVDUHQ WQXPEHUHGVR,GRQ WNQRZKRZ
   $,WKLQNWKHSULPDU\HOHPHQWDV,XQGHUVWDQGLW        PDQ\VRXUFHVLWKDVEXW
   LQFRQYHUVLRQWKHUDS\LVDSUHVXSSRVLWLRQWKDWD               $77251(<%/2&./HWKLPORRNDWLW
   WUDQVJHQGHURXWFRPHLVDQLQKHUHQWO\QHJDWLYHRXWFRPH          %<$77251(<%$5+$0
   DQGWKDWHQJDJHPHQWRULQWHUYHQWLRQVVKRXOGEHSXWLQWR        47KHUHIHUHQFHVDWWKHHQGDUHQXPEHUHG([FXVH
   SODFHLQRUGHUWRPDNHWKDWRXWFRPHWKHOHDVWOLNHO\DV        PH,DSRORJL]H,ZDVORRNLQJDWWKHZURQJGRFXPHQW
   SRVVLEOH                                                      $7KHUHDUHIRRWQRWHV,ZRXOGDVVXPHWKDW\RX
   4$QGLQ\RXUPLQGJHQGHUDIILUPLQJFDUHLVFDUH        DUHFRUUHFWRQWKDW


                                                  3DJH                                                         3DJH
    WKDWDIILUPVWKDWFKLOG VJHQGHULGHQWLW\                      4:HDUHWDONLQJDERXWWKLVOHWWHUWRWKHHGLWRU
    &RUUHFW"                                                 OHWPHFODULI\IRUWKHUHFRUGEHFDXVH,ZDVORRNLQJ
    $77251(<%/2&.2EMHFWLRQWRIRUP              DWWKHZURQJGRFXPHQWSULRUWRTXHVWLRQLQJIRUZKLFK,
    7+(:,71(66$V,GHVFULEHGHDUOLHU             DSRORJL]H7KLVOHWWHUWRWKHHGLWRUFRQWDLQV
    WKHUHDUHPXOWLSOHFRPSRQHQWVWRKRZ,ZRXOGGHILQH             DSSUR[LPDWHO\WZRSDJHVRIW\SHGPDWHULDOVOLVWLQJWKH
    JHQGHUDIILUPLQJWKHUDS\                                       UHIHUHQFHVWKDWLWXVHV
    $77251(<%$5+$0/HW VJRWR([KLELW        &RUUHFW"
    WKLVZLOOEH7DE                                            $<HVFRUUHFW
                                      4'LG\RXUHYLHZWKLVDUWLFOHZKHQSUHSDULQJ\RXU
    :KHUHXSRQ([KLELW$UWLFOHE\              UHSRUW"
   5REHUWR' $QJHORZDVPDUNHGIRU               $,GLGQRW
   LGHQWLILFDWLRQ                                4'LG\RXUHYLHZWKLVDUWLFOHEHIRUHWRGD\"
                                    $,KDYHQRW
   %<$77251(<%$5+$0                                            47KHDUWLFOHUHYLHZVWKHGRFXPHQWSXEOLVKHGE\
   47KLVLVDQDUWLFOHE\5REHUWR' $QJHORSXEOLVKHG      7XUEDQHWDOLQDVWXG\E\7XUEDQHWDOLQ
   LQHQWLWOHG2QH6FLHQFH'RHV1RW)LW$OO$UH\RX       
   IDPLOLDUZLWKWKHVHDXWKRUV"                                   ,VWKDWFRUUHFW"
   $1RWSHUVRQDOO\QR                                   $,WGRHV
   4$UH\RXIDPLOLDUZLWKWKHPE\UHSXWDWLRQ"             $77251(<%/2&.2EMHFWLRQWRIRUP
   $/RRNLQJDW'U' $QJHOR VIRRWQRWHVJLYHQWKDW       %<$77251(<%$5+$0
   KHZRUNVIRUWKH6RFLHW\IRU(YLGHQFH%DVHG*HQGHU             4,I\RXORRNDWWKHODVWSDJHWKDWDUWLFOHLV
   0HGLFLQHWKHQ,PLJKWGUDZVRPHFRQFOXVLRQVIURPWKDW        WKHVDPHDUWLFOHWKDW\RXFLWHGLQSDUDJUDSKRI\RXU
   4$QGZKDWFRQFOXVLRQVZRXOG\RXGUDZIURPWKDW"        UHSRUW
   $7KDWWKHUHLVDSUHVXSSRVLWLRQWKDWWUDQVJHQGHU       ,VWKDWFRUUHFW"


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0935
                                                  3DJH                                                          3DJH
    $7KDW VFRUUHFW                                        HQGVXSEHLQJZKHWKHUWKDWLVDFLVJHQGHULGHQWLW\RU
    47KLV' $QJHORHWDOFULWLFL]HG7XUEDQRQ             WUDQVJHQGHULGHQWLW\7KHGLIIHUHQFHEHWZHHQWKDWDQGD
    SDJHRQHIRUKLVVLPSOLVWLFDIILUPDWLRQYHUVXV                  FRQYHUVLRQWKHUDS\LVDJDLQDSUHVXSSRVLWLRQWKDWD
    FRQYHUVLRQELQDU\RU,VKRXOGVWDWHSHUPHDWHVKLV           WUDQVJHQGHULGHQWLW\LVDQLQKHUHQWO\ZRUVHRXWFRPH
    QDUUDWLYHDQGHVWDEOLVKHVDIRXQGDWLRQIRUWKHLU                ZKLFKLVQRWIRFXVHGRQWKHRYHUDOOPHQWDOKHDOWKDQG
    DQDO\VLVDQGFRQFOXVLRQV'R\RXVHHWKDWRQWKHILUVW         ZHOOEHLQJRIWKHFKLOG
    SDJH"                                                           %<$77251(<%$5+$0
    $:KDWSDJH"                                             4,XQGHUVWDQGWKHGLVWLQFWLRQWKDW\RX UHPDNLQJ
    47KHILUVWSDJHVHFRQGFROXPQPLGGOHSDUDJUDSK       , PWU\LQJWRXQGHUVWDQGDUHWKHUHDVZHDVVHVV
   $,VHHWKDW\HV                                      GLIIHUHQWSHRSOH VDSSURDFKHVWRWKLVDUHDFDQZH
   47KHVHDXWKRUVVWDWHWKHQRWLRQWKDWDOOWKHUDS\       FKDUDFWHUL]HWKHPE\WKHJRDOVRIWKHLUDSSURDFKLQWRD
   LQWHUYHQWLRQVIRUJHQGHUG\VSKRULDFDQEHFDWHJRULFDOO\        JHQGHUDIILUPLQJPRGHODQGDFRQYHUVLRQWKHUDS\PRGHO
   FODVVLILHGLQWRWKLVVLPSOLVWLFELQDU\EHWUD\VD               DQGWKRVHDUHEDVLFDOO\WZRGLIIHUHQWFDPSV
   PLVXQGHUVWDQGLQJRIWKHFRPSOH[LW\RISV\FKRWKHUDS\           ,VWKDWFRUUHFW"
   :RXOG\RXDJUHHZLWKWKDWVWDWHPHQW"                           $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG          7+(:,71(66:HFDQQRW
   DVNLQJKLPTXHVWLRQVDERXWDQDUWLFOHKHKDVQ WUHDG          %<$77251(<%$5+$0
   7+(:,71(667KHSUHPLVHRIWKDW               4$QGLQVD\LQJWKDW, PQRWWU\LQJWRVD\WKDW
   VWDWHPHQWLPSOLHVDFRJQLWLRQRQEHKDOIRIWKHDXWKRUV         WKHUDSHXWLFWHFKQLTXHVEHORQJLQRQHRUWKHRWKHU, P
   RIWKDWVWXG\WKDW,GRQ WWKLQNLVQHFHVVDULO\                MXVWWU\LQJWRVD\FDQZHFDWHJRUL]HWUHDWPHQW
   DFFXUDWH,GRQ WWKLQNWKDWWKHDXWKRUVRIWKH7XUEDQ        DSSURDFKHVE\WKHJRDOV"
   VWXG\ZRXOGVXJJHVWWKDWWKHUHLVDVLPSOHELQDU\RI           $77251(<%/2&.2EMHFWLRQWRIRUP
   WKHUDS\LQWHUYHQWLRQV                                         %<$77251(<%$5+$0
   %<$77251(<%$5+$0                                            4%HFDXVHWKDWVHHPVWREHZKDW\RXDUHGRLQJLQ


                                                  3DJH                                                          3DJH
    4$QG\RXZRXOGDOVRVD\WKHUH VQRWDVLPSOLVWLF        SDUDJUDSKRI\RXUUHSRUW
    ELQDU\                                                         $7KHUH VDSURFHVVYHUVXVDQRXWFRPHTXHVWLRQ
    ,VWKDWFRUUHFW"                                       WKDW, PMXVWQRWXQGHUVWDQGLQJWKHGLVWLQFWLRQEHWZHHQ
    $7KDWLVFRUUHFW                                       IRUDV, PGHILQLQJFRQYHUVLRQWKHUDS\KHUHLWLVD
    46RLQSDUDJUDSKRI\RXUUHSRUW\RX UHQRW           VSHFLILFJRDOWKDWDWUDQVJHQGHURXWFRPHLVDQHJDWLYH
    WU\LQJWRGUDZD\RX UHQRWWU\LQJWRGUDZVRPHVRUW        RXWFRPH)RUJHQGHUDIILUPLQJWKHUDS\RULQWHUYHQWLRQV
    RIGLFKRWRP\EHWZHHQ'U/HYLQH VDSSURDFKDQG\RXUV"           WKHUHLVQRSUHVXSSRVHGRXWFRPHWKDWLVEHWWHUWKDQ
    $77251(<%/2&.2EMHFWLRQWRIRUP              DQRWKHURWKHUWKDQEXLOGLQJWKHPHQWDOKHDOWKDQG
    7+(:,71(66,WLVOHVVKHOSIXOIRUPH          ZHOOEHLQJRIWKHFKLOG
   WRGHVFULEHLWDVLGHQWLI\LQJDGLFKRWRP\EXWUHDOO\           42ND\
   PRUHIRFXVHGRQWKHJRDOVRIWUHDWPHQWDSSURDFK$QGLI       $$QGWKHUHLVPDQ\GLIIHUHQWZD\VRIDSSURDFKLQJ
   WKHJRDORIWKHWUHDWPHQWDSSURDFKLVDFRQYHUVLRQW\SH        WKDWTXHVWLRQDQGLQWHUYHQLQJWKDWDUHJRLQJWREH
   JRDOWKHQ,WKLQNWKHUHLVDGUDZEHWZHHQWKDWDQGWKH        RXWVLGHRIWKHVFRSHRIDJRDOEDVHGDSSURDFK
   VWDQGDUGRIFDUHRIWKHDIILUPDWLYHPRGHO                     4,WVWLOOVRXQGVDQGDJDLQ, PMXVWWU\LQJWR
   %<$77251(<%$5+$0                                            H[SORUHDQGXQGHUVWDQGZKDW\RX UHVD\LQJKHUH,W
   46RWKDWLQ\RXUYLHZDUHWKHUHWZRGLIIHUHQW          VWLOOVRXQGVOLNHWKHUHLVRQHDSSURDFKWKDWKDVDJRDO
   WUHDWPHQWJRDOVZKHQWUHDWLQJJHQGHUG\VSKRULD":HFDQ        LQ\RXUYLHZRIKDYLQJWKHFKLOGUHWXUQWRFRPIRUWZLWK
   FDWHJRUL]HWUHDWPHQWDSSURDFKHVE\WKHJRDOVFRQYHUVLRQ       WKHFKLOG VQDWDOVH[DQGWKHQWKHUHLVDQRWKHUDSSURDFK
   WKHUDS\YHUVXVWKHJHQGHUDIILUPLQJPRGHOWKDW\RXKDYH        WKDWKDVDJRDOWKDWVD\V,GRQ WFDUHZKHUH\RXHQGXS
   RXWOLQHG"                                                      ,VWKDWIDLUWRVD\"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWLRQWRIRUP
   7+(:,71(667KHZD\,ZRXOGGHVFULEH          7+(:,71(66$JDLQ,WKLQNLWUHDOO\
   WKHJRDORIWKHJHQGHUDIILUPLQJPRGHOLVWRKDYHD            QDUURZVGRZQZKDW VDKLJKO\FRPSOH[TXHVWLRQVRLW V
   KHDOWK\UHVLOLHQWFKLOGZKDWHYHUWKHJHQGHULGHQWLW\          UHDOO\KDUGWRJLYHDQDQVZHUWRWKDW%XWLIZHGHILQH


                                                                                        3DJHVWR
                                                                                                             Armistead App. 0936
                                                             3DJH                                                     3DJH
    FRQYHUVLRQDVDSSURDFKRQHDQGHYHU\WKLQJHOVHRXWVLGH                $,FDQ WVSHDNWRZKDWWKHDXWKRUV PRWLYDWLRQV
    RIWKDW,FDQZRUNZLWKWKDWLIWKDWLVKHOSIXOIRU                  DUHIRUZULWLQJWKLV,GRQRWNQRZ
    KDYLQJIXUWKHUGLVFXVVLRQRUDVNLQJPRUHTXHVWLRQV                   4%DVHGRQ\RXUNQRZOHGJHRIWKHILHOGGR\RX
    %<$77251(<%$5+$0                                                   EHOLHYHWKDWWKDW VDUHDVRQDEOHFRQFHUQ"
    4,VWKDWWKHZD\\RXZRXOGGHVFULEHWKLV                      $,GRQRW
    VLWXDWLRQLQWKHILHOGDWSUHVHQW"                                    4:K\QRW"
    $,WLVQRWWKHZD\,ZRXOGGHVFULEHWKHVLWXDWLRQ             $%HFDXVHXQGHUVWDQGLQJWKHRYHUODSDQGWKH
    LQWKHILHOG                                                         LQWHUDFWLRQEHWZHHQJHQGHULGHQWLW\DQGVH[XDOLW\DQG
    42QSDJHILYHRIWKLVDUWLFOH                            VH[XDORULHQWDWLRQLVDSDUWRIWKHDVVHVVPHQWSURFHVV
   $77251(<%/2&., PVRUU\ZKLFK                     LQDIILUPLQJFDUH
   DUWLFOH"                                                             4$WWKHERWWRPRISDJHRQHWKHDXWKRUVZULWHLI
   $77251(<%$5+$02Q7DERI                        DQ\WKLQJRWKHUWKDQDIILUPDWLRQLVYLHZHGDV*,&(
   ([KLELW'U' $QJHOR VDUWLFOH                                 $:KDWSDJHLVWKDW"
   %<$77251(<%$5+$0                                                  42QSDJHVL[, PVRUU\6DPHSDJH\RXZHUHRQ
   4,WVRXQGVWRPHOLNH\RXDUHUHMHFWLQJZKDW                 ZLWKWKHJD\DIILUPDWLYHWKHUDS\RUJD\FRQYHUVLRQ
   WKHVHDXWKRUVGHVFULEHDVDFRQIODWLRQRIHWKLFDO                    WKHUDS\7KHODVWSDUDJUDSKLQFROXPQRQHRISDJHVL[
   QRQDIILUPLQJSV\FKRWKHUDS\DQGFRQYHUVLRQWKHUDS\QH[W             ,IDQ\WKLQJRWKHUWKDQDIILUPDWLRQLVYLHZHGDV*,&(LW
   WRWKHODVWSDUDJUDSKRQWKHSDJH                                   IROORZVWKDWWKHSURYLVLRQRISV\FKRWKHUDS\LQWKHVH
   $77251(<%/2&.2EMHFWLRQ3OHDVHJLYH              FOLQLFDOVFHQDULRVFDQEHVHHQDVKDUPIXOFRQYHUVLRQ
   KLPWLPHWRUHDGWKHSDJH                                           HIIRUWV,IWKHVHWKHUDSHXWLFHIIRUWVGRQRWDLPWR
   7+(:,71(66, YHQHYHUVHHQRIRUKHDUG             FRQYHUWRUFRQVROLGDWHDQLGHQWLW\EXWLQVWHDGDLPWR
   DGHILQLWLRQIRUHWKLFDOQRQDIILUPDWLYHSV\FKRWKHUDS\              KHOSLQGLYLGXDOVJDLQDGHHSHUXQGHUVWDQGLQJRIWKHLU
   VR,GRQ WNQRZZKDWWKDWPHDQV                                     GLVFRPIRUWZLWKWKHPVHOYHVWKHIDFWRUVWKDWKDYH
   %<$77251(<%$5+$0                                                  FRQWULEXWHGWRWKHLUGLVWUHVVDQGWKHLUPRWLYDWLRQVIRU


                                                             3DJH                                                     3DJH
    4,VLW\RXUSRVLWLRQWKDWWKHUHLVQRVXFKWKLQJ"             VHHNLQJWUDQVLWLRQ,VLW\RXUSRVLWLRQWKDWWKHUHDUH
    $,KDYHQHYHUKHDUGRIVXFKDWKLQJ                          QRWKHUDSHXWLFLQWHUYHQWLRQVWKDWGRQRWDLPWRFRQYHUW
    42QSDJHVL[LQWKHILUVWFROXPQWKHDXWKRUV                RUFRQVROLGDWHDQLGHQWLW\"
    ZULWHLQIDFWVRPHKRPRSKRELFVRFLHWLHVDQGLQGHHG                  $77251(<%/2&.2EMHFWLRQWRIRUP
    IDPLOLHVWKDWUHMHFWKRPRVH[XDOLW\DPRQJWKHLUFKLOGUHQ               7+(:,71(66:KDW,ZRXOGVD\LVWKDW
    KDYHHPEUDFHGWKHDIILUPDWLYHELRPHGLFDOSDWKZD\ZKLFK               KHOSLQJLQGLYLGXDOVJDLQDGHHSHUXQGHUVWDQGLQJRIWKHLU
    SRVHVTXHVWLRQVDVWRZKHWKHUTXRWHDIILUPDWLYHFDUH                GLVFRPIRUWZLWKWKHPVHOYHVWKHIDFWRUVFRQWULEXWLQJWR
    LQVRPHFDVHVLQVRPHLQVWDQFHVVHUYHWKHUROHRIJD\                 WKHLUGLVWUHVVDQGWKHLUPRWLYDWLRQVIRUVHHNLQJ
    FRQYHUVLRQWKHUDS\'R\RXEHOLHYHWKDWWKDW VD                     WUDQVLWLRQLVDYLWDODQGLQKHUHQWSDUWRI
   OHJLWLPDWHFRQFHUQ"                                                  JHQGHUDIILUPLQJFDUH
   $,GRQRW                                                   %<$77251(<%$5+$0
   4:K\QRW"                                                    4%XWDPRPHQWDJR\RXLQGLFDWHGWKDW\RXZHUHQRW
   $$V,PHQWLRQHGEHIRUHDIILUPDWLYHFDUHLVQRW              DZDUHRIDQ\HWKLFDOQRQDIILUPDWLYHSV\FKRWKHUDS\"
   SUHVXSSRVHGDQ\RQHVSHFLILFRXWFRPH                                $7KDWLVQRWDSKUDVHWKDW,KDYHKHDUGRUKDYH
   4'R\RXWKLQNWKDWVRPHRQHFDQKDYHDFRQFHUQ                KHDUGGHVFULEHG:KDWWKHSDVVDJHWKDW\RXDUH
   WKDWDIILUPDWLYHFDUHFRXOGVHUYHWKHUROHUHJDUGOHVVRI             UHIHUULQJWRGHVFULEHVLVDYHU\W\SLFDOSURFHVV
   LWVGROHVHUYHWKHUROHRIJD\FRQYHUVLRQWKHUDS\"                  LQYROYHGLQDQ\NLQGRIVWDQGDUGRIFDUHDURXQGDQ\WKLQJ
   $77251(<%/2&.2EMHFWLRQWRIRUP                   UHDOO\LVXQGHUVWDQGLQJPRWLYDWLRQVDQGXQGHUVWDQGLQJ
   7+(:,71(66:HOOWKHDXWKRUVDSSHDUWR             GLVWUHVV7KHUHLVQRWKLQJWKHUHLVQRWKLQJQRYHO
   KDYHWKDWFRQFHUQ,WLVQRWDFRQFHUQWKDWKDVEHHQ                DERXWWKDWGHVFULSWLRQRIFDUHWKDWLVQRWDOUHDG\XQGHU
   ERUQHRXWE\WKHOLWHUDWXUHLQP\FOLQLFDOH[SHULHQFH               WKHXPEUHOODRIDIILUPLQJFDUH
   %<$77251(<%$5+$0                                                  4$QGDOLWWOHELWODWHULQWKDWSDUDJUDSK,
   4'R\RXEHOLHYHWKDWWKHDXWKRUVDUHUHDVRQDEOH              EHOLHYHDWWKHWRSRIFROXPQWZRRISDJHVL[WKH
   LQKDYLQJWKDWFRQFHUQ"                                              DXWKRUVULJKWERWKFRQYHUVLRQDQGDIILUPDWLYHWKHUDS\


                                                                                              3DJHVWR
                                                                                                     Armistead App. 0937
                                                 3DJH                                                         3DJH
    HIIRUWVFDUU\WKHULVNRIXQGXHLQIOXHQFHSRWHQWLDOO\          %<$77251(<%$5+$0
    FRPSURPLVLQJSDWLHQWDXWRQRP\'R\RXDJUHHWKDWWKDW         47DE7KLVLVWKHDUWLFOHE\/LO\'XUZRRG
    LVDSRVVLELOLW\"                                              HWDOSXEOLVKHGLQ<RXFLWHGWKLVDUWLFOHDOVR
    $$JDLQ, PQRWVXUHZKDWWKHDXWKRUVDUH              LQIRRWQRWHQLQHRI\RXUUHSRUW
    UHIHUULQJWRZKHQWKH\VD\DIILUPDWLRQWKHUDS\HIIRUWV         ,VWKDWFRUUHFW"
    EHFDXVHZKDWWKH\ UHGHVFULELQJDVHWKLFDO                    $7KDWLVFRUUHFW
    QRQDIILUPDWLYHLQWHUYHQWLRQVIDOOVWRPHXQGHUWKH            4$QGZHKDYHSUHYLRXVO\GLVFXVVHGKRZWKLV
    FOHDUUXEULFRIDIILUPLQJFDUHVR,GRQ WNQRZZKDW           DUWLFOHUHSRUWVZKDWFKLOGUHQDQGSDUHQWVVDLGDERXWWKH
    WKH\PHDQE\WKLV                                             FKLOGUHQ VPHQWDOKHDOWK
   42ND\                                                ,VWKDWFRUUHFW"
   ,QSDUDJUDSKRI\RXUUHSRUW\RXLQGLFDWH      $7KDWLVFRUUHFW
   \RXVWDWHGUHVHDUFKLQGLFDWHVWKDWVRFLDOWUDQVLWLRQLQJ       45HDOO\DVHOIUHSRUW
   VLJQLILFDQWO\LPSURYHVWKHPHQWDOKHDOWKRIWUDQVJHQGHU       &RUUHFW"
   \RXQJSHRSOH                                                 $,WKLQNZHZHQWWKURXJKWKDWHDUOLHU,WZDV
   ,VWKDWFRUUHFW"                                     QRWMXVWDVHOIUHSRUW7KHVHZHUHLQWHUYLHZOHG
   $<HV                                                 HYDOXDWLRQV
   $77251(<%$5+$0$QG, PJRLQJWRVKRZ        4%XWDQLQWHUYLHZOHGVHOIUHSRUW
   \RXZKDWZHZLOOPDUNDV([KLELW7KLVLV7DE         &RUUHFW"
   IRUWKRVHIROORZLQJIURPDGLVWDQFH7KLVLVDVWXG\E\      $7KHUHZHUHDOVRSDUHQWUHSRUWVWKDWZHUH
   *LEVRQHWDOSXEOLVKHGLQ                             4$QGVRVHOIUHSRUWVRIFKLOGUHQSDUHQWDO
                                   UHSRUWVDERXWWKHLUFKLOGUHQ
    :KHUHXSRQ([KLELW6WXG\E\*LEVRQ       &RUUHFW"
   HWDOZDVPDUNHGIRULGHQWLILFDWLRQ        $&RUUHFW
                                   42ND\


                                                 3DJH                                                         3DJH
    %<$77251(<%$5+$0                                            $QGWKHQLQIRRWQRWHQLQH\RXDOVRFLWHDVWXG\
    4<RX YHFLWHGWKLVDUWLFOHLQIRRWQRWHQLQHRI         E\2OVRQHWDOLQIRRWQRWHQLQHRI\RXUUHSRUW
    \RXUUHSRUW                                                   &RUUHFW"
    ,VWKDWFRUUHFW"                                      $7KDWLVFRUUHFW
    $/HWPHMXVWGRXEOHFKHFN,EHOLHYHVR<HV        4$QGLQIRRWQRWHQLQH\RXLQGLFDWHWKDWDOOHJHG
    48QGHUPHWKRGVRQSDJHRQHRI([KLELWLW            VWDWLVWLFDOHUURUVLQWKDWDUWLFOHKDYHDOUHDG\EHHQ
    LQGLFDWHVWKLVDFURVVVHFWLRQDOVWXG\                        FRUUHFWHGLQ
    ,VWKDWFRUUHFW"                                      &RUUHFW"
    $7KDWLVFRUUHFW                                      $&RUUHFW
   4&DQFURVVVHFWLRQDOVWXGLHVEHXVHGWR               4$QGIRUWKDWDVVHUWLRQ\RXFLWHDVWXG\E\
   GHPRQVWUDWHFDXVDWLRQ"                                        2OVRQHWDOLQ
   $1RWRQWKHLURZQQR                                ,VWKDWFRUUHFW"
   46RWKLVVWXG\GRHVQRWVKRZWKDWVRFLDO              $,GRQ WVHHWKDW
   WUDQVLWLRQVFDXVHGDQ\LPSURYHPHQWLQPHQWDOKHDOWK          $77251(<%/2&.2EMHFWLRQ:KHUHDUH
   &RUUHFW"                                             \RXDW"
   $7KLVVWXG\GHPRQVWUDWHGWKDWWKHUHZDVD             7+(:,71(66,GRQ WVHHLW,I\RXFDQ
   FRUUHODWLRQEHWZHHQLPSURYHGPHQWDOKHDOWKDQGVRFLDO         SRLQWWRPHZKHUHWKDWLV
   WUDQVLWLRQ                                                   %<$77251(<%$5+$0
   46RLWGLGQRWVKRZFDXVDWLRQ                        4)RRWQRWHQLQHRQSDJHVPDOOVWDWLVWLFDO
   ,VWKDWFRUUHFW"                                     HUURUVLQ2OVRQKDGDOUHDG\EHHQFRUUHFWHGLQ
   $,WGLGQRWVKRZFDXVDWLRQ                           VHH2OVRQHWDOPHQWDOKHDOWKRIWUDQVJHQGHU
   4, PJRLQJWRVKRZ\RX([KLELW/HW VJREDFN      VWXGHQWZKRDUHVXSSRUWHGLQWKHLULGHQWLW\WKURXJKRXW
   WR([KLELW                                                 $<HV
   /$:&/(5.:,/.,16217DE                 4,VWKDWFRUUHFW"


                                                                                      3DJHVWR
                                                                                                                 Armistead App. 0938
                                                 3DJH                                                                        3DJH
    $<HV                                                  7RUGRIIHWDOZDVPDUNHGIRU
    $77251(<%$5+$0, PJRLQJWRVKRZ\RX         LGHQWLILFDWLRQ
    ZKDWZHDUHJRLQJWRPDUNDV([KLELW7KLVZLOOEH         
    WDE                                                       %<$77251(<%$5+$0
                                     47KLVLVDQDUWLFOHE\7RUGRIIHWDOSXEOLVKHG
     :KHUHXSRQ([KLELW(UUDWD6KHHWZDV       LQHQWLWOHG0HQWDO+HDOWK2XWFRPHVLQ7UDQVJHQGHU
    PDUNHGIRULGHQWLILFDWLRQ                     DQG1RQ%LQDU\<RXWK5HFHLYLQJ*HQGHU$IILUPLQJ&DUH
                                     7KLVLVRQHRIWKHVWXGLHVWKDW\RXFLWHGLQIRRWQRWH
    %<$77251(<%$5+$0                                            RI\RXUUHSRUW"
   47KLVLVWKHHUUDWDVKHHWWKDW\RXFLWHGLQ           $7KDWLVFRUUHFW
   IRRWQRWHQLQHRI\RXUUHSRUW                                 4$FFRUGLQJWRWDEOHRQHRQSDJHILYHRIWKLV
   ,VWKDWFRUUHFW"                                     UHSRUWSHUFHQWRIWKHSDUWLFLSDQWVZHUHDOVR
   $7KDWLVFRUUHFW                                     UHFHLYLQJPHQWDOKHDOWKWKHUDS\
   47KHRQO\FKDQJHLQWKLVDUWLFOHLVWKH          ,VWKDWFRUUHFW"
   KLJKOLJKWDQGPLVVLQJFRPPRQIURPWKHDUWLFOH           $7KDWLVFRUUHFW
   ,VWKDWFRUUHFW"                                    46RLW VQRWSRVVLEOHWRGHWHUPLQHKRZPXFKRI
   $77251(<%/2&.2EMHFWLRQWRIRUP            WKHLPSURYHPHQWZDVGXHWRSXEHUW\EORFNLQJPHGLFDWLRQ
   7+(:,71(66<HV                             DQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\DQGKRZPXFKZDV
   %<$77251(<%$5+$0                                           GXHWRWKHPHQWDOKHDOWKWKHUDS\
   4,QSDUDJUDSKRI\RXUUHSRUW\RXVD\WKDW          &RUUHFW"
   VWXGLHVKDYHUHSHDWHGO\GRFXPHQWHGSXEHUW\EORFNLQJ           $77251(<%/2&.2EMHFWLRQWRIRUP
   PHGLFDWLRQDQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\DUH           7+(:,71(667KHUHLVDORWRITXHVWLRQV
   DVVRFLDWHGZLWKPHQWDOKHDOWKEHQHILWVLQERWKWKHVKRUW      LQWKDWRQHVLQJXODUTXHVWLRQDERXWVWXG\GHVLJQDQG
   DQGORQJWHUP                                                ZKDWZHNQRZDERXWWKHKLVWRU\RIWUDQVJHQGHUKHDOWK


                                                 3DJH                                                                        3DJH
    ,VWKDWFRUUHFW"                                      RXWFRPHVSULRUWRWKHH[LVWHQFHRIJHQGHUDIILUPLQJ
    $7KDWLVFRUUHFW                                      FDUH$VWKLVVWXG\LVGHVLJQHGLWLVQRWGHVLJQHGLQ
    4$QGWKHVWXGLHVWKDW\RX UHFLWLQJIRUWKDW           VXFKDZD\WREHDEOHWRVSHFLILFDOO\NHHSWKDWDSDUW
    DVVHUWLRQDUHWKRVHOLVWHGLQIRRWQRWHRI\RXU              $77251(<%$5+$0$OOULJKW
    UHSRUW                                                        , PJRLQJWRVKRZ\RXZKDWZHZLOOPDUN
    &RUUHFW"                                              DV([KLELWDQGWKLVZLOOEH7DE
    $7KDWLVFRUUHFW                                      
    4$UHWKHUHDQ\RWKHUVWKDW\RXDUHUHIHUHQFLQJ"         :KHUHXSRQ([KLELW$UWLFOHE\$P\
    $7KRVHDUHWKHRQO\WKDW, PUHIHUHQFLQJ              *UHHQHWDOZDVPDUNHGIRU
   4,QSDUDJUDSKRI\RXUUHSRUW\RXFODLPWKDW        LGHQWLILFDWLRQ
   'U&DQWRUIDLOVWRGLVFXVVPDQ\RIWKHVWXGLHV               
   GRFXPHQWLQJWKHEHQHILWVRISXEHUW\EORFNLQJPHGLFDWLRQ      %<$77251(<%$5+$0
   :KLFKRIWKHVWXGLHVLQIRRWQRWHGLGKHIDLOWR            47KLVLVWKHVHFRQGDUWLFOH7KLVLVDQDUWLFOH
   GLVFXVV"                                                      E\$P\*UHHQHQWLWOHGLWVD\VHWDOHQWLWOHG
   $,ZRXOGQHHGWRUHYLHZ'U&DQWRU VUHSRUWWR        $VVRFLDWLRQRI*HQGHU$IILUPLQJ+RUPRQH7KHUDS\ZLWK
   NQRZVSHFLILFDOO\                                            'HSUHVVLRQ7KRXJKWVRI6XLFLGHDQG$WWHPSWHG6XLFLGH
   4'R\RXUHFDOOQRZZKLFKRQHVKHIDLOHGWR            $PRQJ7UDQVJHQGHUDQG1RQELQDU\<RXWKSXEOLVKHGLQ
   GLVFXVV"                                                      7KLVLVWKHVHFRQGDUWLFOHWKDW\RXFLWHGLQIRRWQRWH
   $,GRQRW                                            RI\RXUUHSRUW
   $77251(<%$5+$0$OOULJKW, PJRLQJ        ,VWKDWFRUUHFW"
   WRVKRZ\RXZKDWZHZLOOPDUNDV([KLELWDQGWKLVLV      $7KDWLVFRUUHFW
   7DE                                                       42QSDJHVL[RIWKLVUHSRUWFROXPQWZRWKH
                                   DXWKRUVLQGLFDWHWKDWFDXVDWLRQFDQQRWEHLQIHUUHGGXH
    :KHUHXSRQ([KLELW$UWLFOHE\             WRWKLVVWXG\ VFURVVVHFWLRQDOGHVLJQ



                                                                                                    3DJHVWR
                                                                                                                        Armistead App. 0939
                                                             3DJH                                                                  3DJH
    &RUUHFW"                                                      LGHQWLILFDWLRQ
    $7KDWLVFRUUHFW                                              
    47KLVVWXG\DOVRGRHVQRWSURYHWKDWSXEHUW\                   %<$77251(<%$5+$0
    EORFNLQJPHGLFDWLRQDQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\               4<RXDOVRFLWHGWKLVDUWLFOHLQIRRWQRWHRI
    FDXVHGDQ\LPSURYHPHQWV                                               \RXUUHSRUW
    &RUUHFW"                                                      ,VWKDWFRUUHFW"
    $77251(<%/2&.2EMHFWLRQWRIRUP                     $<HV,GLG
    7+(:,71(667KLVVWXG\ZDVQRWGHVLJQHG               4$QGRQSDJHWZRRIWKLVUHSRUWWKHERWWRPRI
    WRVKRZDFDXVDORXWFRPHQR                                          WKHILUVWFROXPQWKHDXWKRUVZULWHWKDWPRVW
   $77251(<%$5+$0/HW VJRWR([KLELW              VXEMHFWVTXRWHPRVWVXEMHFWVZHUHIROORZHGE\
   WKLVZLOOEH7DE                                                 PHQWDOKHDOWKSURIHVVLRQDOVFORVHGTXRWHDQGTXRWH
                                           WKRVHWKDWZHUHQRWZHUHHQFRXUDJHGWRVHHDPHQWDO
    :KHUHXSRQ([KLELW$UWLFOHE\                     KHDOWKSURIHVVLRQDO
   7XUEDQHWDOZDVPDUNHGIRU                        &RUUHFW"
   LGHQWLILFDWLRQ                                       $7KDWLVFRUUHFW
                                           4$QGRQSDJHWKUHHWKHILUVWFROXPQWKHDXWKRUV
   %<$77251(<%$5+$0                                                   VD\WKDWDIWHUVWDWLVWLFDOO\DGMXVWLQJIRUSV\FKLDWULF
   47KLVLVDQDUWLFOHE\7XUEDQHWDOSXEOLVKHG               PHGLFDWLRQDQGHQJDJHPHQWLQFRXQVHOLQJTXRWHPRVW
   LQHQWLWOHG3XEHUWDO5LVNVIRU7UDQVJHQGHU<RXWK                 SUHGLFWRUVGLGQRWUHDFKVWDWLVWLFDOVLJQLILFDQFH
   DQG5LVNVRI6XLFLGH,GHDWLRQ6XLFLGDO,GHDWLRQ"                  ,VWKDWFRUUHFW"
   $77251(<%/2&.2EMHFWLRQWRPLVUHDGLQJ               $:KHUHDUH\RX"
   WKHQDPHRIWKHVWXG\                                                43DJHWKUHHFROXPQRQHXQGHUUHJUHVVLRQ
   %<$77251(<%$5+$0                                                   DQDO\VLV
   47KLVLVWKHWKLUGDUWLFOHWKDW\RXFLWHGLQ                  $&RUUHFW


                                                             3DJH                                                                  3DJH
    IRRWQRWHRI\RXUUHSRUW                                           $77251(<%$5+$0, PJRLQJWRVKRZ\RX
    ,VWKDWFRUUHFW"                                             ZKDWZHZLOOPDUNDV([KLELWWKLVLV7DE
    $7KDWLVFRUUHFW                                             
    4$QGRQSDJHVHYHQRIWKLVDUWLFOHWKHDXWKRUV                 :KHUHXSRQ([KLELW$UWLFOHE\.XSHU
    DOVRLQGLFDWHWKDWOLPLWDWLRQVLQFOXGHWKH                            HWDOZDVPDUNHGIRULGHQWLILFDWLRQ
    FURVVVHFWLRQDOWKHVWXG\ VFURVVVHFWLRQDOGHVLJQ               
    ZKLFKGRHVQRWDOORZIRUGHWHUPLQDWLRQRIFDXVDWLRQ                  %<$77251(<%$5+$0
    ,VWKDWFRUUHFW"                                             47KLVLVDQDUWLFOHE\.XSHUHWDOSXEOLVKHGLQ
    $7KDWLVFRUUHFW                                             HQWLWOHG%RG\'LVVDWLVIDFWLRQDQG0HQWDO+HDOWK
   46RWKLVVWXG\GRHVQRWSURYHWKDWSXEHUW\                   2XWFRPHVRI<RXWKRQ*HQGHU$IILUPLQJ+RUPRQH7KHUDS\
   EORFNLQJPHGLFDWLRQDQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\             2QSDJHVL[OHWPHUHSKUDVHWKDWIRUWKHUHFRUG
   FDXVHGDQ\LPSURYHPHQWV                                             <RXFLWHGWKLVDUWLFOHLQIRRWQRWHRI\RXUUHSRUW
   &RUUHFW"                                                    ,VWKDWFRUUHFW"
   $7KLVVWXG\ZDVQRWGHVLJQHGWRGHPRQVWUDWH                  $7KDWLVFRUUHFW
   FDXVDWLRQ                                                           4$FFRUGLQJWR7DEOHRQSDJHVL[QRQHRIWKH
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX               UHVXOWVIRUWKRVHUHFHLYLQJSXEHUW\VXSSUHVVLRQZHUH
   ZKDWZHZLOOPDUNDV([KLELW7KLVLVDQDUWLFOHE\              VWDWLVWLFDOO\VLJQLILFDQW
   $FKLOOHHWDOHQWLWOHG/RQJLWXGLQDO,PSDFWRI*HQGHU               &RUUHFW"
   $IILUPLQJ(QGRFULQH,QWHUYHQWLRQRQ0HQWDO+HDOWKDQG                $,QHHGDIHZPLQXWHV
   :HOOEHLQJRI7UDQVJHQGHU<RXWKV3UHOLPLQDU\5HVXOWV                47DNH\RXUWLPH
   SXEOLVKHGLQ                                                   $$V,UHDGWKHERWWRPRIWKDWWDEOHWKHUHDUHD
                                          QXPEHURIDQDO\VHVWKDWUHDFKHGVWDWLVWLFDO
    :KHUHXSRQ([KLELW$UWLFOHE\                    VLJQLILFDQFH
   $FKLOOHHWDOZDVPDUNHGIRU                      4%XWLI\RXORRNDWWKHOLQHVIRUHDFKRQHXQGHU



                                                                                                           3DJHVWR
                                                                                                             Armistead App. 0940
                                                              3DJH                                                     3DJH
    HDFKRIWKHVFRUHVERG\GLVVDWLVIDFWLRQGHSUHVVLYH                   SDUWLFLSDQWVLQWKHJURXSVEHIRUHDQGDIWHUSXEHUW\
    V\PSWRPVGHSUHVVLYHV\PSWRPV4,'6DQ[LHW\V\PSWRPV                  VXSSUHVVLRQPD\SRWHQWLDOO\OLPLWWKHUHVXOWV"
    SDQLFV\PSWRPVJHQHUDOL]HGDQ[LHW\V\PSWRPVVRFLDO                   $<HV,VHHWKDW
    DQ[LHW\V\PSWRPVVHSDUDWLRQDQ[LHW\V\PSWRPVVFKRRO                  47KHSUHVHQWVWXG\FDQWKHUHIRUHQRWSURYLGH
    DYRLGDQFHV\PSWRPVWKHOLQHVPDUNHGSXEHUW\VXSSUHVVLRQ               HYLGHQFHDERXWWKHGLUHFWEHQHILWVRISXEHUW\
    KDYHQRVXSHUVFULSWRQWKHP                                           VXSSUHVVLRQRYHUWLPHDQGWKHORQJWHUPPHQWDOKHDOWK
    ,VWKDWFRUUHFW"                                              RXWFRPHV
    $77251(<%/2&.2EMHFWLRQWRIRUP                     ,VWKDWFRUUHFW"
    7+(:,71(667KDWLVFRUUHFW                          $7KDWLVFRUUHFW
   %<$77251(<%$5+$0                                                   46RWKHDXWKRUVRIWKLVVWXG\LQGLFDWHWKDW
   46RQRQHRIWKRVHQRQHRIWKHVSHFLILF                    FRQFOXVLRQVDERXWWKHORQJWHUPEHQHILWVRISXEHUW\
   ILQGLQJVUHJDUGLQJLQGLYLGXDOVRQSXEHUW\VXSSUHVVLRQ                 VXSSUHVVLRQVKRXOGWKXVEHPDGHZLWKH[WUHPHFDXWLRQ
   RQO\ZHUHVWDWLVWLFDOO\VLJQLILFDQW                                  PHDQLQJSURVSHFWLYHORQJWHUPIROORZXSVWXGLHVZLWK
   ,VWKDWFRUUHFW"                                             UHSHDWHGPHDVXUHGGHVLJQRILQGLYLGXDOVEHLQJIROORZHG
   $1RQHRIWKHPZHUHVWDWLVWLFDOO\VLJQLILFDQWDV               RYHUWLPHWRFRQILUP
   PHDVXUHGE\WKHLUUHSRUWV                                            ,VWKDWFRUUHFW"
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX                $7KDWLVFRUUHFW
   ZKDWZHZLOOPDUNDV([KLELW7KLVZLOOEH7DE               $77251(<%$5+$0, PJRLQJWRVKRZ\RX
                                           ZKDWZHZLOOPDUNDV([KLELW7KLVZLOOEH7DE
    :KHUHXSRQ([KLELW$UWLFOHE\YDQ                 
   GHU0LHVHQHWDOPDUNHGIRU                         :KHUHXSRQ([KLELW$UWLFOHE\GH
   LGHQWLILFDWLRQ                                       9ULHVZDVPDUNHGIRULGHQWLILFDWLRQ
                                           
   %<$77251(<%$5+$0                                                   %<$77251(<%$5+$0


                                                              3DJH                                                     3DJH
    47KLVLVDQDUWLFOHE\YDQGHU0LHVHQHWDO                 47KLVLVDQDUWLFOHE\YDQGHU0LHVHQRU,
    SXEOLVKHGLQHQWLWOHG3V\FKRORJLFDO)XQFWLRQLQJLQ                PHDQ'H9ULHVHWDOH[FXVHPH'H9ULHVHWDO
    7UDQVJHQGHU$GROHVFHQWV%HIRUHDQG$IWHU*HQGHU                        <RXQJ$GXOW3V\FKRVRFLDO2XWFRPH$IWHU3XEHUW\
    $IILUPDWLYH&DUH&RPSDUHGZLWK&LVJHQGHU*HQHUDO                       6XSSUHVVLRQDQG*HQGHU5HDVVLJQPHQW7KLVLVWKHODVW
    3RSXODWLRQRI3HHUV<RXFLWHGWKLVDUWLFOHLQIRRWQRWH               DUWLFOH\RXFLWHLQIRRWQRWHRI\RXUUHSRUW
    RI\RXUUHSRUW                                                     ,VWKDWFRUUHFW"
    ,VWKDWFRUUHFW"                                              $7KDWLVFRUUHFW
    $7KDWLVFRUUHFW                                              4$WWKH'XWFKFOLQLFSDWLHQWVZKRUHFHLYHSXEHUW\
    47KHDXWKRUVRQSDJHILYHLQFROXPQWZRWKH                  EORFNHUVDOVRUHFHLYHSV\FKRWKHUDS\
   DXWKRUVRIWKLVVWXG\                                            ,VWKDWFRUUHFW"
   $:KDWSDJH"                                                   $7KDWLVFRUUHFW
   43DJHILYH                                                   46RDJDLQWKHUHLVQRZD\WRGHWHUPLQHKRZPXFK
   $,KDYHWKDWLQWKHV                                     RIWKHLPSURYHPHQWUHIOHFWHGLQWKLVVWXG\LVGXHWRWKH
   42KVRUU\7KHILIWKSDJHEXWLW V               SXEHUW\EORFNHUVDQGKRZPXFKLVGXHWRWKH
   SDJLQDWHG7KHDXWKRUVRIWKLVVWXG\LQGLFDWHWKDW              SV\FKRWKHUDS\
   TXRWHGXHWRLWVFURVVVHFWLRQDOGHVLJQWKHSUHVHQW                 &RUUHFW"
   VWXG\FDQQRWSURYLGHHYLGHQFHDERXWWKHGLUHFWEHQHILWV               $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   RISXEHUW\VXSSUHVVLRQRYHUWLPHDQGORQJWHUPPHQWDO                 7+(:,71(66/HWPHUHVWDWHP\UHVSRQVH
   KHDOWKRXWFRPHV"                                                      WRWKHSUHYLRXVTXHVWLRQ7KH'XWFKFOLQLFDOZD\V
   &RUUHFW"                                                     UHFRPPHQGVSDUWLFLSDWLRQLQWKHUDS\, PQRWD
   $,GRQ WVHHZKHUHWKDWLV                                   SHUFHQWFHUWDLQWKDWHYHU\SDUWLFLSDQWSDUWLFLSDWHG
   41H[WWRWKHODVWSDUDJUDSKLQWKHVHFRQGFROXPQ             LQWKHWKHUDS\DVGLUHFWHG
   7KHWKLUGDQGPRVWLPSRUWDQWVNLSSLQJWKH                         %<$77251(<%$5+$0
   FURVVVHFWLRQDOGHVLJQRIWKLVVWXG\GLIIHUHQW                        4)RUWKHPRVWSDUWWKH'XWFKPRGHOFRPELQHG


                                                                                              3DJHVWR
                                                                                                       Armistead App. 0941
                                                  3DJH                                                          3DJH
    SV\FKRWKHUDS\ZLWKSXEHUW\EORFNHUV                            XVLQRWKHUGUDZEDFNVWKDWXQGHUPLQGLWVUHOLDELOLW\
    &RUUHFW"                                               &RUUHFW"
    $77251(<%/2&.2EMHFWLRQ                      $77251(<%/2&.2EMHFWLRQWRIRUP
    7+(:,71(667KDWLVFRUUHFW$QGPD\,        7+(:,71(66,WGHSHQGVXSRQWKHW\SHRI
    VWDWHWKDW,WKLQNWKDWLVSDUWRIWKHUHDVRQWKDWWKH          GDWDWKDWLVEHLQJFDOFXODWHG
    YDQGHU0LHVHQVWXG\LVTXLWHLPSRUWDQWEHFDXVHLWGRHV         %<$77251(<%$5+$0
    VWDUWWRORRNDWWKHLPSDFWRIEHLQJRQWKHZDLWOLVW           4:K\GR\RXPHDQE\WKDW"
    DQGWKHLPSDFWVRIMXVWJHWWLQJSV\FKRWKHUDS\DORQH             $,ILWLVTXDOLWDWLYHLQWHUYLHZGDWD\HVWKHUH
    YHUVXVDFFHVVWRSXEHUW\VXSSUHVVLRQDQGRUKRUPRQHV           LVUHWURVSHFWLYHGDWDWKDWUHYLHZVFRQWHPSRUDU\
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX         GRFXPHQWDWLRQDQGFKDUWVODEUHVXOWVLPDJLQJUHVXOWV
   ZKDWZH UHJRLQJWRPDUNDV([KLELW7DE              HWFHWHUD7KDWLVOHVVFRQIRXQGHGE\WKDWNLQGRI
                                      ELDV
    :KHUHXSRQ([KLELW$UWLFOHZDV            4:KHQZHDUHWDONLQJDERXWSHRSOHUHFDOOLQJWKHLU
   PDUNHGIRULGHQWLILFDWLRQ                     H[SHULHQFHVEHIRUHKRUPRQHWKHUDS\ZDVDYDLODEOHWKDW
                                    ZRXOGEHWKHTXDOLWDWLYHW\SHRIGDWD
   %<$77251(<%$5+$0                                            &RUUHFW"
   47KLVLVDQDUWLFOHE\0LFKDHO%LJJVSXEOLVKHGLQ      $&RUUHFW$QGZKHQDQDO\]LQJWKDWGDWD\RXKDYH
   *HQGHU'\VSKRULDDQG3V\FKRORJLFDO)XQFWLRQLQJLQ        WRWDNHWKDWLQWRDFFRXQW
   $GROHVFHQWV7UHDWHGZLWK*Q5+D$UH\RXIDPLOLDUZLWK         46RWKDWVWLOOGRHVQ WKHOSPHXQGHUVWDQGZK\\RX
   WKLVVWXG\"                                                    GLVDJUHHZLWKWKDWVWDWHPHQWEHFDXVHWKH'XWFKPRGHO
   $77251(<%/2&.2EMHFWLRQ                     FRPELQHVKRUPRQHVZLWKSV\FKRVRFLDOSV\FKRORJLFDO
   PLVFKDUDFWHUL]HVWKHGRFXPHQW                                 VXSSRUWWKHWZRHIIHFWVDUHLQHYLWDEO\FRQIODWHG"
   %<$77251(<%$5+$0                                            $:HKDYHDORQJKLVWRU\RISHRSOHUHFHLYLQJ
   4$UH\RXIDPLOLDUZLWKWKLVOHWWHUWRWKHHGLWRU"      SV\FKRORJLFDOVXSSRUWDORQH$QGZLWKWKHDGGLWLRQRI


                                                  3DJH                                                          3DJH
    $,KDYHQRWUHDGWKLVOHWWHUWRWKHHGLWRU             WKHVHLQWHUYHQWLRQVDQGWKLVPRGHORIFDUHRXWFRPHV
    4,I\RXORRNDWERWWRPRISDJHRQHFRQWLQXLQJ           LPSURYHZLWKVSHFLILFPHDVXUHVDURXQGJHQGHUG\VSKRULD
    RQWRSDJHWZRWKHDXWKRUZULWHVDQDGGLWLRQDO                  42YHUWKDWWLPHWKHSV\FKRORJLFDOVXSSRUWZRXOG
    FRPSOLFDWLRQZLWKWKLVWUHDWPHQWLVWKDWWKH'XWFKPRGHO        KDYHHYROYHGDVPRUHXQGHUVWDQGLQJZDVJDLQHG
    FRPELQHV*Q5+DZLWKSV\FKRORJLFDOVXSSRUWVRWKHWZR            &RUUHFW"
    HIIHFWVDUHLQHYLWDEO\FRQIODWHG'RDJUHHZLWKWKDW           $2QHZRXOGKRSH\HV
    VWDWHPHQW"                                                      $77251(<%/2&.2EMHFWLRQWRIRUP
    $,GRQRW                                              %<$77251(<%$51+$0
    4:K\"                                                   4%XWIRUWKHLQGLYLGXDOVZKRUHFHLYHWUHDWPHQW
   $8VHRI*Q5+ORJVIRUWKLVNLQGRILQWHUYHQWLRQ        XQGHUWKH'XWFKPRGHOUHFHLYLQJERWKWKHKRUPRQHVDQG
   ZHUHILUVWXVHGLQ6RHYHU\HYHU\WUDQVJHQGHU       WKHSV\FKRORJLFDOVXSSRUWLW VLPSRVVLEOHWRGHWHUPLQH
   SHUVRQSULRUWRKDGQRDFFHVVWRWKLVNLQGRI             KRZPXFKLPSURYHPHQWZDVGXHWRWKHSV\FKRORJLFDO
   WUHDWPHQW%HWZHHQDQGSUREDEO\DERXWWKHVH         VXSSRUWDQGKRZPXFKZDVGXHWRWKHKRUPRQHV
   PHGLFDWLRQVZHUHQRWZLGHO\DYDLODEOHDQGVRXQDYDLODEOH       &RUUHFW"
   IRUXVHIRUPRVWSHRSOH6RZHKDYHWKHFOLQLFDO              $77251(<%/2&.2EMHFWLRQWRIRUP
   H[SHULHQFHRIDGXOWVWDONLQJUHWURVSHFWLYHO\DERXW           7+(:,71(667KHUHKDVQRWEHHQDVWXG\
   WKHLUH[SHULHQFHVDVZHOODVWKHSDWLHQWVWKDWZHKDYH         WKDWKDVVRXJKWWRLGHQWLI\WKHVSHFLILFSHUFHQWDJHRI
   WUHDWHGWKDWGLGYHUVXVGLGQRWKDYHDFFHVVWRWKHVH           LPSDFWRIWKRVHWZR
   LQWHUYHQWLRQV6RZHKDYHERWKFOLQLFDOH[SHULHQFHDQG        $77251(<%$5+$0$OOULJKW
   VRPHUHWURVSHFWLYHGDWDWKDWORRNVDWWKLVTXHVWLRQ            , PJRLQJWRVKRZ\RXZKDWZHZLOOPDUN
   VSHFLILFDOO\                                                  DV([KLELW
   4&DQUHWURVSHFWLYHGDWDGHPRQVWUDWHFDXVDWLRQ"         
   $,QVRPHFDVHVLWFDQ                                  :KHUHXSRQ([KLELW$UWLFOHZDV
   4%XWUHWURVSHFWLYHGDWDLVVXEMHFWWRUHFDOOE\        PDUNHGIRULGHQWLILFDWLRQ


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0942
                                                  3DJH                                                          3DJH
                                      $77251(<%$5+$0/HW VJRWRWDE
    %<$77251(<%$5+$0                                             
    47DE7KLVLVDQDUWLFOHE\&RVWDHWDO           :KHUHXSRQ([KLELW$UWLFOHE\
    ,Q3V\FKRORJLFDO6XSSRUW3XEHUW\([SUHVVLRQDQG           (GZDUGV/HHSHUZDVPDUNHGIRU
    3V\FKRVRFLDO)XQFWLRQLQJLQ$GROHVFHQWVZLWK*HQGHU             LGHQWLILFDWLRQ
    '\VSKRULD                                                      
    ,VWKDWFRUUHFW"                                       7+(:,71(66
    $7KDWLVFRUUHFW                                       $QGWRFODULI\WKH&*$6LVVRPHWKLQJWKDW
    4<RXFLWHWKLVDUWLFOHLQIRRWQRWHRI\RXU           LVFOLQLFLDQUDWHGRIUHPHG\REMHFWLYHFULWHULD
   UHSRUW                                                        %<$77251(<%$5+$0
   ,VWKDWFRUUHFW"                                      4'R\RXZDQWWRWDNHDEUHDN"
   $7KDW VFRUUHFW                                       $,QDIHZPLQXWHVLIWKDW VRND\
   41RZLQWKLVVWXG\WKHUHZHUHWZRJURXSVRI           4$UH\RXDZDUHRI'U(GZDUGV/HHSHU VUHSXWDWLRQ
   DGROHVFHQWVWKRVHZKRUHFHLYHERWKSXEHUW\,PHDQ        LQWKHILHOG"
   ERWKWKHUDS\DQGSXEHUW\EORFNHUVDWWKHRXWVHWDQG            $,DP
   WKRVHZKRUHFHLYHGMXVWWKHUDS\DWWKHRXWVHW                 4$UH\RXSHUVRQDOO\DFTXDLQWHGZLWK'U
   &RUUHFW"                                              (GZDUGV/HHSHU"
   $, OOQHHGDPLQXWHWRUHIUHVKP\VHOI                 $,DP
   46XUH$QG, PUHIHUHQFLQJSDJHVWKHVHFRQG      4+DYHWKHWZRRI\RXZRUNHGWRJHWKHULQWKH
   FROXPQRYHUWRWKHWRSRIWKHILUVWFROXPQ               $PHULFDQ3V\FKLDWULF$FDGHPLFV$VVRFLDWLRQ"
   $7KDW VFRUUHFW                                       $:HKDYHQRWZRUNHGWRJHWKHUWKURXJKWKH$PHULFDQ
   4$QGRQSDJHJRLQJRYHUWRWKH              3V\FKLDWULF$VVRFLDWLRQ'U(GZDUGV/HHSHULVD
   DXWKRU VQRWHWKDWWKHGLIIHUHQFHEHWZHHQWKH                  SV\FKRORJLVW
   LPPHGLDWHO\HOLJLEOHJURXSDQGWKHGHOD\HGHOLJLEOH            46KHVHUYHGDVDPHPEHURIWKHWDVNIRUFHWR


                                                  3DJH                                                          3DJH
    JURXSIDLOHGWRUHDFKVLJQLILFDQFH                             GHYHORSSUDFWLFHJXLGHOLQHVIRUZRUNLQJZLWKWUDQVJHQGHU
    &RUUHFW"                                               LQGLYLGXDOV"+DYH\RXVHUYHGLQDVLPLODUFDSDFLW\ZLWK
    $6RDV,UHDGWKLVLPPHGLDWHO\HOLJLEOHJURXS          WKH$PHULFDQ3V\FKLDWULF$VVRFLDWLRQ"
    ZKRKDGDKLJKHULQSV\FKRVRFLDOIXQFWLRQLQJGLGQRW            $,KDYH$QGZHERWKZRUNHGWRJHWKHURQWKH
    VKRZDQ\VLJQLILFDQWLPSURYHPHQWDIWHUPRQWKVEXW           :3$7+VWDQGDUGVRIFDUHSURYLVLRQ
    DIWHUPRQWKVWKHUHZDVDVWDWLVWLFDOGLIIHUHQFH             4<RXDQWLFLSDWHGP\QH[WTXHVWLRQ6R\RXZRXOG
    47KHQLWVD\VILQDOO\HYHQLIWKHHQGRU               DJUHHWKDW'U(GZDUGV/HHSHULVFRQVLGHUHGDQ
    IROORZXSVWXG\SODQWKUHHLPPHGLDWHO\HOLJLEOHJURXS         LQWHUQDWLRQDOH[SHUWLQWKLVDUHD
    KDGDILYHSRLQWKLJKHU&*$6VFRUHWKDQWKHGHOD\HG             &RUUHFW"
   HOLJLEOHJURXSWKLVGLIIHUHQFHIDLOHGWRUHDFK                $<HV'U(GZDUGV/HHSHULVDFRPSOLFDWHGILJXUH
   VLJQLILFDQFH                                                  ULJKWQRZEXW\HVVKHKDVDORWRIH[SHUWLVH
   &RUUHFW"                                              $77251(<%$5+$0,ZDQWWRVKRZ\RXZKDW
   $7KDW VFRUUHFW:KDW,KDYHWRSRLQWRXWWKHUH      ZHZLOOPDUNDV([KLELW7KLVLV7DE
   LV&*$6LVWKHFKLOGUHQ VJOREDODVVHVVPHQWVFDOHDQG         
   QRWDPHDVXUHRIJHQGHUG\VSKRULDRUTXDOLW\RIOLIHRU         :KHUHXSRQ([KLELW$UWLFOHE\
   GLVWUHVVLQERG\                                              (GZDUGV/HHSHUZDVPDUNHGIRU
   4,VLWDPHDVXUHRIDFKLOG VPHQWDOKHDOWK"           LGHQWLILFDWLRQ
   $77251(<%/2&.2EMHFWLRQ                     
   7+(:,71(66,WLVDURXJKDQGYHU\            $77251(<%/2&.,LPDJLQH\RXKDYHDORW
   SUHFLVHPHDVXUHRIJHQHUDOIXQFWLRQLQJ                        RITXHVWLRQVDERXWWKLVQH[WGRFXPHQWDQG,MXVWZDQW
   %<$77251(<%$5+$0                                            WRPDNHVXUHWKHZLWQHVVKDVDFKDQFHWRKDYHDEDWKURRP
   4%XWLWLVWKHVFDOHWKDWWKLVVWXG\ZDVXVLQJ        EUHDNLILW VJRLQJWRJRRQIRUWHQPLQXWHVRUPRUH
   &RUUHFW"                                              $77251(<%$5+$0,KDYHQRREMHFWLRQWR
   $7KDWLVFRUUHFW                                      WKDW


                                                                                        3DJHVWR
                                                                                                     Armistead App. 0943
                                                 3DJH                                                          3DJH
    7+(:,71(66)LYHPLQXWHV                     4'U$QGHUVRQLVDPHPEHURIWKH$PHULFDQ
    $77251(<%$5+$0:HZLOOWDNHILYH             3V\FKRORJLFDO$VVRFLDWLRQ&RPPLWWHHWDVNHGZLWKZULWLQJ
    PLQXWHV                                                       JXLGHOLQHVDQGZRUNLQJZLWKWUDQVJHQGHULQGLYLGXDOV
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       ,VWKDWFRUUHFW"
    WLPHLVSP                                             $,GRQRWNQRZ
    2))9,'(2                                                      4'U$QGHUVRQLVDIRUPHUSUHVLGHQWRIWKH86
                                     3URIHVVLRQDO$VVRFLDWLRQIRU7UDQVJHQGHU+HDOWK
     :+(5(8321$6+257%5($.:$67$.(1                           ,VWKDWFRUUHFW"
                                     $7KDWLVFRUUHFW
   219,'(2                                                      4'U$QGHUVRQLVDIRUPHUERDUGPHPEHUIRUWKH
   9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG       :RUOG3URIHVVLRQDO$VVRFLDWLRQIRU7UDQVJHQGHU+HDOWK
   WKHFXUUHQWWLPHUHDGVSP                             &RUUHFW"
   %<$77251(<%$5+$0                                           $, PQRWVXUH
   4$PRPHQWDJRZHZHUHGLVFXVVLQJ'U                  4%H\RQGWKHFRPPLWWHHDVVLJQPHQWVOLVWHGRQ
   (GZDUGV/HHSHUDQG\RXFRPPHQWHGWKDWVKHLVD                SDJHWZRRI\RXU&9KDYH\RXKHOGDQ\FRPPLWWHH
   FRPSOLFDWHGLQGLYLGXDO                                       DVVLJQPHQWVIRUWKH863$7+RU:3$7+2UJDQL]DWLRQV"
   :KDWGLG\RXPHDQE\WKDW"                           $1RWDGGLWLRQDOFRPPLWWHHDVVLJQPHQWVWKDQ:3$7+
   $:KDW,PHDQLVWKDWVKHKDVSXEOLVKHGVRPH           RU863$7+QR
   WKLQJVLQSRSXODUSUHVVWKDWKDYHOHGPHWREHWDONLQJ        4,QWKLVFRS\SXEOLVKHGLQWKH:DVKLQJWRQ3RVW
   DERXWKHUKHUH                                               'U(GZDUGV/HHSHUDQG'U$QGHUVRQVXPPDUL]HVD
   4$QGZRXOGRQHRIWKRVHEHWKHGRFXPHQWEHIRUH        VLWXDWLRQRID\HDUROGQDWDOJLUOZLWKQRSULRU
   \RX([KLELW"                                               KLVWRU\RIJHQGHUG\VSKRULD6RPHLVVXHVRIVH[XDO
   $7KDWLVFRUUHFW                                     DVVDXOWDQGGHSUHVVLRQDQGWKHQDQDEUXSWDQQRXQFHPHQW
   47KLVLVDQDUWLFOHSXEOLVKHGLQWKH:DVKLQJWRQ       RIWKLVFKLOGRIWUDQVJHQGHULGHQWLW\


                                                 3DJH                                                          3DJH
    3RVWE\'U(GZDUGV/HHSHUDQG'U$QGHUVRQ                   'RHVWKDWVXPPDUL]HWKHVFHQDULRWKH\RXWOLQH"
    ,VWKDWFRUUHFW"                                      $7KDWLVWKHVFHQDULRWKH\RXWOLQHG
    $7KDWLVFRUUHFW                                      $77251(<%/2&.2EMHFWLRQWRIRUP
    4:KDWLVLWDUHWKHUHDQ\RWKHUSXEOLFDWLRQV       %<$77251(<%$51+$0
    WKDW'U(GZDUGV/HHSHUKDVZULWWHQUHFHQWO\WKDWFDXVHG       4:KDWSHUFHQWRI\RXUSDWLHQWVILUVWSUHVHQWDVD
    \RXWRGHVFULEHKHUDVDFRPSOLFDWHGILJXUH"                   WHDPZLWKRXWDSULRUJHQGHUG\VSKRULDGLDJQRVLV"
    $1RQR                                               $:HOOILUVW,MXVWZDQWWRDGGUHVVWKHVFHQDULR
    46RMXVWWKLVRQHDUWLFOH                             ZLWK3DWULFLDWKLVLVDSRSXODUSUHVVDUWLFOHVR,
    ,VWKDWFRUUHFW"                                      KDYHQRLGHDLI3DWULFLDLVDUHDOSHUVRQRUDQDPDOJDP
   $<HV                                                 48QGHUVWRRG
   4$UH\RXIDPLOLDUZLWK'U$QGHUVRQ"                  $,KRSHLW VDQDPDOJDPEHFDXVHLWZRXOGEH
   $,DP                                                XQHWKLFDOWRQRWKDYHFRQVHQWWRSXEOLVKWKLVVWRU\
   46KHLVDFOLQLFDOSV\FKLDWULVW"                      :KHWKHURUQRWDFKLOGKDVDGLDJQRVLVRIJHQGHU
   $6KHLVDSV\FKRORJLVW                               G\VSKRULDEHIRUHWKH\FRPHWRVHHPHLVGHSHQGHQWXSRQ
   4$SV\FKRORJLVW$QG'U$QGHUVRQKDVEHHQ           LIWKH\ YHKDGSUHYLRXVHYDOXDWLRQVVRLW VGHSHQGHQW
   ZRUNLQJZLWKWUDQVJHQGHU\RXWKIRUDORQJWLPH               ,GRQ WKDYHDVSHFLILFQXPEHUIRU\RX
   ,VWKDWFRUUHFW"                                     4,QJHQHUDOKRZPDQ\RI\RXUSDWLHQWVILUVW
   $, PQRWDKXQGUHGSHUFHQWIDPLOLDUZLWK'U          SUHVHQWDVDWHDPYHUVXVILUVWSUHVHQWLQJDVDFKLOG"
   $QGHUVRQ VKLVWRU\,GRQ WNQRZ                             $7KDWLVYHU\GLIIHUHQWGHSHQGLQJXSRQZKLFK
   4:DVVKHLQWKHILHOGEHIRUH\RX"                     FLWHWKDW,ZDVSUDFWLFLQJDW6RLQ1HZ<RUN,VDZ
   $,GRQ WNQRZ                                        PRUHSUHSXEHUWDO\RXWKWKDQ,GRLQ&KLFDJR
   4'U$QGHUVRQLVDOVRDWUDQVJHQGHU                  46RLQ1HZ<RUNZKDWSHUFHQWRI\RXUSDWLHQWV
   ,VWKDWFRUUHFW"                                     ILUVWSUHVHQWHGDVDGROHVFHQWVYHUVXVFKLOGUHQ"
   $7KDWLVFRUUHFW                                     $,WKLQN,DQVZHUHGWKDWTXHVWLRQHDUOLHU,I,


                                                                                      3DJHVWR
                                                                                                       Armistead App. 0944
                                                  3DJH                                                          3DJH
    UHPHPEHULWZDVSHUFHQWRIWKHSHUFHQW                   VRUW"
    4$QGLQ&KLFDJRKRZPDQ\ZKDWSHUFHQWDJHRI         $6RLIZH UHWDONLQJDVVLJQHGIHPDOHVDWELUWK
    \RXUSDWLHQWVSUHVHQWDVDGROHVFHQWVYHUVXVDVWHHQ"            LVWKDWZKDW\RXPHDQ"
    $3UREDEO\SHUFHQWGXULQJDGROHVFHQFH                4<HV1DWDOIHPDOHV
    4$QGDUHWKRVHDOODGROHVFHQWVZKRILUVW                $%HWZHHQRQHRXWIRXUDQGRQHRXWRIHLJKW
    SUHVHQWHGDVDGROHVFHQWVRUGLGWKH\ILUVWSUHVHQWZLWK         DVVLJQHGIHPDOHVDWELUWKZKRGRQRWLGHQWLI\DV
    JHQGHUG\VSKRULDDVDFKLOG"                                    WUDQVJHQGHUKDYHH[SRVXUHWRVH[XDODVVDXOWDQGWUDXPDI
    $,W VDFRPELQDWLRQRIERWK                            VRPHNLQG:KDWZHNQRZIURPWKHOLWHUDWXUHLVWKDW
    46RRI\RXUDGROHVFHQWSDWLHQWVKRZPDQ\                UDWHVRIVH[XDODVVDXOWDQGVH[XDODEXVHRIWUDQVJHQGHU
   SUHVHQWHGILUVWDVDQDGROHVFHQWDQGKRZPDQ\SUHVHQWHG       \RXWKLVKLJKHUWKDQWKDWDQGP\SDWLHQWVDUHUHODWLYHO\
   DVDFKLOG"                                                    VLPLODUWRWKDWVRSUREDEO\LQWKHRUGHURIWR
   $,GRQ WKDYHWKDWLQIRUPDWLRQLQIURQWRIPH         SHUFHQW
   4'R\RXKDYHDJHQHUDOEDOOSDUNLGHD"                  4:KDWSROLFLHVGR\RXKDYHLQSODFHWRHQVXUH
   $1R,PHDQWKHTXHVWLRQ,JXHVVZKDW, P         DGHTXDWHFRXQVHOLQJDQGWKHUDS\IRUWKDWWUDXPDEHIRUH
   VWUXJJOLQJZLWKLVWKDWWKHUHDUHDORWRIDGROHVFHQWV         PDNLQJDQ\GHFLVLRQVUHJDUGLQJKRUPRQHV"
   ZKR,VHHZKRSUHVHQWHGWKHILUVWDVDGROHVFHQWEXW           $77251(<%/2&.2EMHFWLRQWRIRUP
   KDYHFOHDUV\PSWRPVRIJHQGHUG\VSKRULDJRLQJEDFNWR          7+(:,71(66$VVHVVLQJFRRFFXUULQJ
   FKLOGKRRG6R, PQRWVXUHKRZWRFKDUDFWHUL]HWKRVH          SV\FKLDWULFGLVRUGHUVRUVWUHVVRUVRUWUDXPDVLVDQ
   FKLOGUHQLQ\RXUTXHVWLRQ                                     LQKHUHQWSDUWRIDQ\DVVHVVPHQW
   4:KDWSHUFHQWRIWKHSDWLHQWVWKDWSUHVHQW             %<$77251(<%$5+$0
   WKHPVHOYHVWR\RXILUVWDVDQDGROHVFHQWDUHQDWDO             4%H\RQGMXVWLWEHLQJDQLQKHUHQWSDUWRIDQ\
   IHPDOH"                                                        DVVHVVPHQWGR\RXKDYHDQ\RWKHUSROLFLHVRUVWDQGDUGV
   $77251(<%/2&.2EMHFWLRQWR                   WKDW\RXXVHWRHQVXUHWKDWWKHWUDXPDLVDGGUHVVHG
   WHUPLQRORJ\                                                   EHIRUHPDNLQJGHFLVLRQVUHJDUGLQJKRUPRQHV"


                                                  3DJH                                                          3DJH
    7+(:,71(66,ZRXOGVD\LQWKHFOLQLF          $77251(<%/2&.2EMHFWLRQWRIRUP
    ZKHUH, PSUDFWLFLQJFXUUHQWO\FHUWDLQO\RYHUKDOIRI          7+(:,71(66,PHDQ,GRQ WKDYHD
    WKHFKLOGUHQSUHVHQWLQJLQDGROHVFHQFHIRUWKHILUVW            ZULWWHQGRZQSROLF\,QFRUSRUDWLQJXQGHUVWDQGLQJRI
    WLPHDUHDVVLJQHGIHPDOHDWELUWK                              WUDXPDLVDOZD\VJRLQJWREHDQLPSRUWDQWSDUWRIDQ\
    %<$77251(<%$5+$0                                             LQIRUPHGDVVHVVPHQWSULRUWRPRYLQJIRUZDUGZLWKDQ
    4$QGLQ1HZ<RUNZKDWSHUFHQWRIWKHSDWLHQWV          LQWHUYHQWLRQ
    WKDWSUHVHQWHGWR\RXILUVWDVDQDGROHVFHQWRUQDWDO           %<$77251(<%$5+$0
    IHPDOH"                                                         4'R\RXDJUHHRUGLVDJUHHWKDWEHIRUHSUHVFULELQJ
    $,Q1HZ<RUNLWZDVPRUHHYHQVSOLWEHWZHHQWKRVH       KRUPRQHVWRDWHHQJLUOZKRKDVVXIIHUHGVH[XDODEXVHRU
   DVVLJQHGIHPDOHDQGWKRVHDVVLJQHGPDOHDWELUWK              GHSUHVVLRQPHGLFDOSURIHVVLRQDOVKDYHDUHVSRQVLELOLW\
   4$QGKHUHZKHQ\RXVD\LW VPRUHWKDQSHUFHQW       WRFRQILUPWKDWWKHSDWLHQWKDVUHFHLYHGDWKRURXJK
   DUHZHWDONLQJSHUFHQWZH UHWDONLQJSHUFHQW           PHQWDOKHDOWKDVVHVVPHQWLQFOXGLQJLQYHVWLJDWLQJKRZ
   SHUFHQW"                                                    RWKHUPHQWDOKHDOWKLVVXHVDQGDQ\RWKHUFKDQJHVLQKHU
   $,GRQ WKDYHWKDWLQIRUPDWLRQLQIURQWRIPHVR      OLIHPLJKWEHFRQWULEXWLQJWRKHUGHVLUHDUHSHUFHLYHG
   ,FRXOGQ WWHOO\RXVSHFLILFDOO\,WZRXOGEHDJXHVV        WUDQVJHQGHULGHQWLILFDWLRQ"
   4'R\RXKDYHDUDQJH"                                  $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   $,GRQ W,GRQ W0RUHWKDQLVWKHFORVHVW       WHUPLQRORJ\
   WKDW,FDQJHWULJKWQRZ                                      7+(:,71(666RIRUDQ\FKLOGUHJDUGOHVV
   40RUHWKDQSHUFHQW"                                 RIJHQGHUZKRZHDUHUHFRPPHQGLQJDPHGLFDORUVXUJLFDO
   $3UREDEO\QRWQR                                     LQWHUYHQWLRQZHDUHDVVHVVLQJIRUWKHSUHVHQFHRI
   46RVRPHZKHUHEHWZHHQDQG"                       JHQGHUG\VSKRULDWKHSUHVHQFHRIFRRFFXUULQJ
   $7KDW VDJRRGJXHVV                                  SV\FKLDWULFGLVRUGHUVDQGWKHLULPSDFWRQWKDWGLDJQRVLV
   4:KDWSURSRUWLRQRIWHHQJLUOVSUHVHQWLQJDW\RXU      RUWKHFDSDFLW\WRFRQVHQWWRWUHDWPHQWDQGDFOHDU
   FOLQLFKDYHVXIIHUHGVH[XDODVVDXOWRUDEXVHRIDQ\            XQGHUVWDQGLQJRIWKHULVNVEHQHILWVDQGDOWHUQDWLYHVRI


                                                                                        3DJHVWR
                                                                                                      Armistead App. 0945
                                                  3DJH                                                         3DJH
    ZKDWHYHUWKDWLQWHUYHQWLRQPD\EH                              SV\FKRORJLFDODVVHVVPHQWEHIRUHLQLWLDWLQJSXEHUW\
    %<$77251(<%$5+$0                                             EORFNHUVRUKRUPRQHV0\TXHVWLRQWR\RXLVLVWKDW
    46RWKHQDQGWKDWZRXOGLQFOXGHLQYHVWLJDWLQJ       \RXUSROLF\"
    KRZRWKHUPHQWDOKHDOWKLVVXHVDQGRWKHUFKDQJHVLQKHU         $77251(<%/2&.2EMHFWLRQWRIRUP
    OLIHPLJKWEHFRQWULEXWLQJWRKHUGHVLUHRUSHUFHLYHG           7+(:,71(66$JDLQ,FDQ WVSHDNWRWKH
    WUDQVJHQGHULGHQWLILFDWLRQ"                                     DFFXUDF\RI'U(GZDUGV/HHSHUDQG'U$QGHUVRQ V
    $7KDWLVFRUUHFW                                       GHVFULSWLRQRIDVWXG\WKDW,KDYHQ WVHHQ
    $77251(<%/2&.2EMHFWLRQWRWHUPLQRORJ\        %<$77251(<%$5+$0
    DQGSURQRXQV                                                   4, PQRWDVNLQJ\RXWR, PDVNLQJGR\RXKDYH
   %<$77251(<%$5+$0                                            LVLW\RXUSROLF\DW\RXUFOLQLFWKDW\RXGRQRW
   4'R\RXDJUHHRUGLVDJUHHWKDWWKHVWDQGDUGVRI        UHTXLUHSV\FKRORJLFDODVVHVVPHQWVEHIRUHLQLWLDWLQJ
   FDUHUHFRPPHQGPHQWDOVXSSRUWDQGFRPSUHKHQVLYH                SXEHUW\EORFNHUVIRUKRUPRQHV"
   DVVHVVPHQWIRUDOOG\VSKRULF\RXWKEHIRUHVWDUWLQJ             $:HUHTXLUHSV\FKRORJLFDODVVHVVPHQWVSULRUWR
   PHGLFDOLQWHUYHQWLRQV"                                         LQLWLDWLRQ\HV
   $,ZRXOGDJUHHWKDWWKHFXUUHQWUHFRPPHQGDWLRQV       $77251(<75<217UDYLVLW V'DYH7U\RQ
   ZKLFKDUHLQWKHSURFHVVRIEHLQJXSGDWHGUHFRPPHQGWKDW       <RXUHIHUUHGWRWKLVDV7DE,EHOLHYH\RXPHDQ
   DPHQWDOKHDOWKDVVHVVPHQWEHLQSODFH$QGLW VQRWD        ([KLELW,VWKDWULJKW"
   PDQGDWHWKDWSV\FKRWKHUDS\LVDUHTXLUHPHQWSULRUWR           $77251(<%$5+$0,W VERWK([KLELW
   LQLWLDWLRQRIPHGLFDOFDUHIRUJHQGHUG\VSKRULDDQGLW        DQG7DE
   LVQRWLQGLFDWHGIRUHYHU\SDWLHQW                            %<$77251(<%$5+$0
   4$QGWKDW VSDUWO\EHFDXVHWKHVWDQGDUGVRIFDUH       4:KHQSDWLHQWVFRPHWR\RXUHIHUUHGE\D
   DUHJXLGHOLQHVQRWPDQGDWHV                                   SHGLDWULFLDQRUFRXQVHORUZLWKQRH[SHUWLVHLQJHQGHU
   &RUUHFW"                                              G\VSKRULDDVVHVVPHQWRUGLDJQRVLVZKDWSROLFLHVGR\RX
   $,W VPRVWO\EHFDXVHRIWKHLQGLFDWLRQVIRUWKH        KDYHWRHQVXUHWKDWWKHSDWLHQWVUHFHLYHIXOODQG


                                                  3DJH                                                         3DJH
    SDWLHQW VEHVWLQWHUHVWWKDWSV\FKRWKHUDS\LVQRWD             DGHTXDWHFRXUVHRIPHQWDOKHDOWKFDUHEHIRUHSUHVFULELQJ
    UHTXLUHPHQWIRUIRONVZKRDUHRWKHUZLVHGRLQJZHOO             OLIHDOWHULQJKRUPRQHV"
    4%XWLW VDOVRWUXHWKDWWKHVWDQGDUGVRIFDUH          $77251(<%/2&.2EMHFWLRQWRIRUP
    DUHJXLGHOLQHVQRWPDQGDWHV                                    7+(:,71(66$VDPHQWDOKHDOWK
    &RUUHFW"                                               SURIHVVLRQDO, PQRWWKHSHUVRQZKRLVSUHVFULELQJWKRVH
    $7KDWLVFRUUHFW7KH\DUHJXLGHOLQHV                 WUHDWPHQWV
    42QSDJHWZRRIWKLVDUWLFOHWKHDXWKRULV          %<$77251(<%$5+$0
    DQGE\WKLVDUWLFOH, PUHIHUULQJWRWDE7KHDXWKRU        4%HIRUH\RXUHFRPPHQGVRPHRQHIRUHOLJLELOLW\IRU
    KDVLQGLFDWHGWKDWDVWXG\RIWHQSHGLDWULFJHQGHU              OLIHDOWHULQJKRUPRQHV"
   FOLQLFVLQ&DQDGDIRXQGWKDWKDOIGRQRWUHTXLUH               $77251(<%/2&.2EMHFWLRQWRIRUP
   SV\FKRORJLFDODVVHVVPHQWEHIRUHLQLWLDWLQJSXEHUW\             7+(:,71(663ULRUWRPDNLQJD
   EORFNHUVRUKRUPRQHV                                          UHFRPPHQGDWLRQRIKRUPRQHLQLWLDWLRQ, PGRLQJP\RZQ
   ,VWKDW\RXUSROLF\"                                  DVVHVVPHQWDQGHQVXULQJWKDWWKRVHVWDQGDUGVDUHPHW
   $:KHUHLVWKLVLQWKHDUWLFOH",GRQ WVHHLW        %<$77251(<%$5+$0
   47KHERWWRPRISDJHWZR"                               46REH\RQG\RXURZQDVVHVVPHQWVGR\RXKDYHDQ\
   $:KDW,ZDQWWRHPSKDVL]HLVWKLVLVDQRSWHG         SROLFLHVWKDWJXLGHWKDWSURFHVV"
   DQGDSRSXODUSUHVVRXWOHWDQGQRWDVWXG\6R,KDYH         $2XUFOLQLFKDVLWVRZQSROLFLHVGHSHQGHQWXSRQ
   QRLGHDZKHUHWKH\JDWKHUHGWKHLULQIRUPDWLRQDERXWWKLV       FOLQLFDOSUDFWLFHRUZKHWKHURUQRWSDWLHQWVDUH
   RUWKHDFFXUDF\RIWKHVWDWHPHQWQRUGR,NQRZZKDWWKH       HQUROOHGLQDSDUWLFXODUWULDOEXWLWLVWKHVWDQGDUG
   DXWKRUVPHDQWE\DSV\FKRORJLFDODVVHVVPHQW                   RIFDUHDVODLGRXWE\ERWK(QGRFULQH6RFLHW\DQG:3$7+
   4,XQGHUVWDQG,GLGQRWPHDQWRLPSO\WKDW          WKDWDGROHVFHQWSDWLHQWVKDYHDSV\FKRORJLFDO
   WKLVDUWLFOH([KLELWWDSLVDVWXG\,ZDV             DVVHVVPHQW7KHUH VDORWRIODWLWXGHIRUZKDWWKDW
   PHUHO\TXRWLQJWKHDXWKRUVWKDWDVWXG\RIWHQ                DFWXDOO\PHDQV
   SHGLDWULFJHQGHUFOLQLFVIRXQGWKDWKDOIGRQRWUHTXLUH        4$QGRQSDJHWKUHHRIWKLVGRFXPHQW([KLELW


                                                                                       3DJHVWR
                                                                                                       Armistead App. 0946
                                                  3DJH                                                          3DJH
    WKHERWWRPRIWKHILUVWSDUDJUDSKWKHDXWKRUVZULWHDVD        $,UHDOO\GRQ WPHDQWRSDUVHWKLVEXW,GRQ W
    UHVXOWZHPD\EHKDUPLQJVRPHRIWKH\RXQJSHRSOHZH            NQRZZKDW'U(GZDUGV/HHSHURU'U$QGHUVRQ VFRQFHUQV
    VWULYHWRVXSSRUWSHRSOHZKRPD\QRWEHSUHSDUHGIRU           DUHEXWWKHHYLGHQFHWKDWZHKDYHIURPWKHOLWHUDWXUH
    WKHJHQGHUWUDQVLWLRQVWKH\DUHEHLQJUXVKHGLQWR              DQGIURPRXUFOLQLFDOH[SHULHQFHLVWKDWWKLVLVQRWD
    'R\RXVKDUHWKHFRQFHUQRIWKHVHDXWKRUV"             EURDGH[SHULHQFHRIPRVWFKLOGUHQ
    $,GRQ WKDYHQXPEHUVRQP\HQG:KLFKZKHUH       4$QGZKDWOLWHUDWXUHDUH\RXUHIHUHQFLQJZKHQ
    LVLW"                                                          \RXVD\ZHUHIHUHQFHGWKHOLWHUDWXUH"
    4 ,QGLFDWLQJ                                           $, PUHIHUHQFLQJWKHOLWHUDWXUHWKDW,FLWHGLQ
    $*RWLW&DQ\RXUHSHDWWKHTXHVWLRQ"6RUU\          P\UHSRUW
   47KHDXWKRUVH[SUHVVFRQFHUQWKDWZHPD\EH        4$QGZKLFKVSHFLILFSRUWLRQVRI\RXUUHSRUWDUH
   TXRWHZHPD\EHKDUPLQJVRPHRIWKH\RXQJSHRSOHZH           \RXUHIHUHQFLQJ"
   VWULYHWRVXSSRUWSHRSOHZKRPD\QRWEHSUHSDUHGIRU          $/HWPHMXVWWDNHDPRPHQW:KDW, PUHIHUHQFLQJ
   WKHJHQGHUWUDQVLWLRQVWKH\DUHEHLQJUXVKHGLQWR             LVWKHORQJLWXGLQDOVWXGLHVLQSDUWLFXODUWKDWKDYH
   'R\RXVKDUHWKHDXWKRU VFRQFHUQ"                    IROORZHGWKHVHNLGVRYHUWLPH
   $,GRQRW7KHVHDUHWHVWHGK\SRWKHVHVWKDWFDQ       4$QGZKLFKRQHVZRXOGWKRVHEHLQ\RXUUHSRUW"
   EHUHVHDUFKHGDQGWKLVLVQRWZKDWWKLVLV                   $5HDOO\DQ\WKLQJIURPWKH'XWFKFOLQLFLVJRLQJ
   4<RXVDLG\RXKDYHQRFRQFHUQWKDWSHRSOHDUH          WRKDYHDORQJLWXGLQDOIRFXVWRWKHPEXW,WKLQNZKDW V
   EHLQJUXVKHGLQWRJHQGHUWUDQVLWLRQV"                          PRUHLPSRUWDQWLVWKDWLQDOORIWKHVHVWXGLHVZKLFK
   $7KLVLVDVXSSRVLWLRQE\WKHVHWZRDXWKRUVWKDW       LQFOXGHVRPHRIWKH'XWFKVWXGLHVERWKLQFKLOGKRRGDQG
   SHRSOHDUHEHLQJUXVKHGLQWRJHQGHUWUDQVLWLRQ, PQRW       DGXOWVWKDWKDYHORRNHGDWUHJUHWUDWHVRUGHWUDQVLWLRQ
   VXUHZKDWWKDWPHDQVDQGWKDWKDVQRWEHHQWKHFOLQLFDO       KDYHVKRZQWKDWWKLVLVDYHU\LQIUHTXHQWRFFXUUHQFH
   H[SHULHQFHWKDW, YHKDGQRUZKDWWKHJXLGHOLQHV               DQGWKHUHKDVEHHQQRWKLQJ, YHUHDGZLWKLQWKH
   UHFRPPHQG                                                     VFLHQWLILFOLWHUDWXUHWKDWLQDQ\ZD\WULHVWR
   46R\RXZHUHQRWDZDUHRISHRSOHEHLQJUXVKHG          RSHUDWLRQDOL]HWKLVLGHDRIFKLOGUHQEHLQJIRUFHGLQWR


                                                  3DJH                                                          3DJH
    LQWRWUDQVLWLRQVWKDWWKH\DUHQRWUHDG\IRU"                   RUSUHVVXUHGLQWRWUDQVLWLRQ
    $7KDWKDVQRWEHHQP\H[SHULHQFHQR                   4:KDWVWHSVGR\RXWDNHWRHQVXUHWKDWJHQGHU
    42QSDJHIRXUWRZDUGVWKHERWWRPRIWKHSDJHWKH       G\VSKRULDWKHFKLOG VWKHFKLOG VRUWHHQ VJHQGHU
    DXWKRUVUHIHUHQFHDUHFHQWVWXG\RIGHWUDQVLWLRQHUV        G\VSKRULDZDVQRWFDXVHGE\VRPHWKLQJVSHFLILFVXFKDV
    SHUFHQWRIZKRPUHSRUWHGWKDWWKH\EHOLHYHWKHLU             WUDXPDDEXVHRUPHQWDOKHDOWKFRQGLWLRQEHIRUH
    RULJLQDOG\VSKRULDKDGEHHQFDXVHGE\VRPHWKLQJVSHFLILF        UHFRPPHQGLQJVRPHRQHIRUSXEHUW\EORFNLQJRUFURVVVH[
    VXFKDVWUDXPDDEXVHRUPHQWDOKHDOWKFRQGLWLRQ               KRUPRQHV"
    )LIW\ILYH  SHUFHQWRIZKRPVDLGWKH\GLGQRW               $77251(<%/2&.2EMHFWLRQWRIRUP
    UHFHLYHDGHTXDWHHYDOXDWLRQIURPD'U2UPHQWDOKHDOWK         7+(:,71(66,SHUIRUPDWKRURXJK
   SURIHVVLRQDOEHIRUHVWDUWLQJWUDQVLWLRQ                       HYDOXDWLRQ
   $UH\RXDZDUHRIWKDWVWXG\WKDWDXWKRUV                %<$77251(<%$5+$0
   UHIHUHQFHKHUH"                                                4$Q\WKLQJEH\RQGWKHWKRURXJKHYDOXDWLRQ"
   $77251(<%/2&.2EMHFWWRIRUP                $$YHU\WKRURXJKHYDOXDWLRQ,WLQYROYHV
   7+(:,71(66,DP, PDVVXPLQJ            PXOWLSOHVWHSVDV,GHVFULEHGHDUOLHU
   EHFDXVH,WKLQNWKH\KDYHDIRRWQRWHLQKHUHVRPHZKHUH        46RWKLVFRPSUHKHQVLYHWKHDXWKRUVDFWXDOO\
   EXWLWLVQRWLQWKLVSDUWLFXODUDUWLFOHEXWWKH\DUH         WDONDERXWDFRPSUHKHQVLYHDVVHVVPHQWRQSDJHWKUHHRI
   UHFHLYLQJWRWKHUHFHQW/LWWPDQVWXG\                     WKHLUDUWLFOH$QGWKH\LQGLFDWHWKDWFRPSUHKHQVLYH
   GHWUDQVLWLRQHUV                                               DVVHVVPHQWDQGJHQGHUH[SORUDWRU\WKHUDS\KHOSV
   %<$77251(<%$5+$0                                            TXRWHKHOSVD\RXQJSHUVRQSHHOEDFNWKHOD\HUVRI
   4'R\RXVKDUHWKHFRQFHUQWKDWVRPHKDYHEHHQ          WKHLUGHYHORSLQJDGROHVFHQWLGHQWLW\DQGH[DPLQHV
   PLVGLDJQRVHGDVWUDQVJHQGHUZKHQWKHLUJHQGHUG\VSKRULD        IDFWRUVWKDWFRQWULEXWHWRWKHLUG\VSKRULD$QGWKRVH
   ZDVLQIDFWQRWLQQDWHEXWFDXVHE\VRPHWKLQJ               LQFOXGHVRZKDWVWHSVGLG\RXWDNHWRLGHQWLI\WKH
   VSHFLILFVXFKDVWUDXPDDEXVHRUPHQWDOKHDOWK               IDFWRUVWKDWPD\FRQWULEXWHWRDFKLOG VRUWHHQ VVHQVH
   FRQGLWLRQ"                                                     RIG\VSKRULD"



                                                                                        3DJHVWR
                                                                                                       Armistead App. 0947
                                                  3DJH                                                          3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP              WKHLULGHQWLWLHVWKDWLVDVKDUHGFKDUDFWHULVWLFRIVRPH
    7+(:,71(66,WLVDWKRURXJKDVVHVVPHQW        RIWKHSDWLHQWVWKDW,KDYHVHHQ
    DQGWKHUHDUHPXOWLSOHIDFWRUVZLWKLQWKDWDVVHVVPHQW           %<$77251(<%$5+$0
    WKDWVSHDNWRWKRVHFRQFHUQVVSHFLILFDOO\                      46R\RXKDYHQRWRQO\WZRIDFWRUVWKDWFRXOG
    %<$77251(<%$5+$0                                             FRQWULEXWHWRDFKLOG VWUDQVJHQGHULGHQWLILFDWLRQ
    4$QGZKDWDUHWKRVHPXOWLSOHIDFWRUV"                   RWKHUWKDQ"
    $8QGHUVWDQGLQJGHYHORSPHQWDOKLVWRU\JHWWLQJ           $&DQ,VWRS\RXVLU", PQRWLGHQWLI\LQJWKDW
    PXOWLSOHSHUIRUPDQFHGRLQJWKHGLDJQRVWLFDVVHVVPHQWRI        DVDFDXVHRUDFDXVDOIDFWRULQDFRUHJHQGHULGHQWLW\
    DQ\FRRFFXUULQJPHQWDOKHDOWKFRQGLWLRQVDQGHQVXULQJ          ,WLVWKHXQGHUVWDQGLQJDQGH[SUHVVLRQRIWKDWLGHQWLW\
   WKDWWKRVHDUHDGHTXDWHO\H[SORUHGDQGXQGHUVWRRG             WKDWRIWHQFKDQJHV
   4:KDWIDFWRUVLQDWUDQVJHQGHULGHQWLW\GR\RX         42ND\
   LGHQWLI\DVPRVWRIWHQFRQWULEXWLQJWRJHQGHUG\VSKRULD"       $QGWKDWLVZK\,ZDVWU\LQJWRWDONDERXW
   $77251(<%/2&.2EMHFWLRQWRIRUP             WUDQVJHQGHULGHQWLILFDWLRQPRUHEURDGO\%XW\RX YH
   7+(:,71(66,WKLQNLW VFRPSOLFDWHGWR       LGHQWLILHGWZRIDFWRUVWKDWFRQWULEXWHWRWKDWQRW
   DQVZHUWKDWLQDVKRUWZD\EHFDXVHQRWHYHU\FKLOGZKR        QHFHVVDULO\FDXVDOEXWFRQWULEXWH$UHWKHUHDQ\RWKHUV
   LGHQWLILHVDVWUDQVJHQGHUZRXOGPHHWGLDJQRVWLFFULWHULD       WKDW\RXKDYHLGHQWLILHGDVPRVWRIWHQFRQWULEXWLQJ
   IRUJHQGHUG\VSKRULD$QGVSHFLILFDOO\LIZHDJUHHG          DV"
   ZLWKWKHSUHPLVHWKDWWKHJHQGHUG\VSKRULDLVEHLQJ            $1RWWKDW,KDYHVHHQ
   FDXVHGE\WUDXPDWKDW VVSHFLILFDOO\DUXOHRXWRIWKH         47KHDXWKRUVRQSDJHWKUHHH[SUHVVDFRQFHUQ
   GLDJQRVLVRIJHQGHUG\VSKRULD6RWKDWLVSDUWRIZKDW        DERXWRWKHULQIOXHQFHVWKDWSDWLHQWVFDQEHVXEMHFWHG
   ZH UHGRLQJLQDQDVVHVVPHQWLVWRXQGHUVWDQGWKHUROH         WRVRDVLQWKHVHDVVHVVPHQWVSDWLHQWVUHIOHFWRQWKH
   RIRWKHUSRWHQWLDOIDFWRUVLQKHOSLQJDNLGH[SORUHDQG        GXUDWLRQRIWKHG\VSKRULDWKH\IHHOWKH\FRQWLQXHD
   XQGHUVWDQGWKHLULGHQWLW\                                     JHQGHUWKHLQWHUVHFWLRQRIVH[XDORULHQWDWLRQHW
   %<$77251(<%$5+$0                                            FHWHUDVRFLDOPHGLDLQWHUQHWDQGSHHULQIOXHQFHV


                                                  3DJH                                                          3DJH
    47KHQDOORZPHWRFODULI\WKHTXHVWLRQ:KDW           'R\RXVKDUHFRQFHUQVWKDWWHHQVPD\EHPLVOHGE\
    IDFWRUVRWKHUWKDQDQLQQDWHWUDQVJHQGHULGHQWLW\GR\RX        7LN7RNRURWKHUVRFLDOPHGLDWRVHOIGLDJQRVHDV
    LGHQWLI\DVPRVWRIWHQFRQWULEXWLQJWRDFKLOG V                WUDQVJHQGHUZKHQLQIDFWRWKHUIDFWRUVKDYHGULYHQ
    WUDQVJHQGHULGHQWLILFDWLRQ"                                     WKHLUJHQGHUG\VSKRULDRUWKHLUWUDQVJHQGHU
    $77251(<%/2&.2EMHFWLRQWRIRUP              LGHQWLILFDWLRQ"
    7+(:,71(667KHFKLOGUHQWKDW,KDYH           $77251(<%/2&.2EMHFWLRQWRIRUP
    WUHDWHGRYHUP\\HDUVRIGRLQJWKLVZRUNWKDWGHVFULEHD        7+(:,71(667RFODULI\WUDQVJHQGHU
    JHQGHULGHQWLW\WKDWLVLQFRQVLVWHQWZKRGRQ W                  LVQ WDGLDJQRVLVVR, PQRWFRQFHUQHGDERXWWKDW
    XOWLPDWHO\PHHWWKHFULWHULDIRUJHQGHUG\VSKRULDDUH           VSHFLILFDOO\$QG,WKLQNWKDW VWKHVWXG\RIDOO
   RIWHQFKLOGUHQZKRKDYHEHHQVXEMHFWHGWRPXOWLSOHW\SHV       SKHQRPHQRQZKHWKHURUQRWWKLVLVRFFXUULQJEXWDJDLQ
   RIWUDXPD7KDWZRXOGEHRQHRIWKHIDFWRUV                  DVDSDUWRIDFRPSUHKHQVLYHJHQGHUDVVHVVPHQWZHDUH
   %<$77251(<%$5+$0                                            ORRNLQJDWPXOWLSOHIDFWRUVEH\RQGDFKLOG V
   4:KDWRWKHURQHVZRXOG\RXLGHQWLI\"                   VHOIUHSRUW
   $7KHRWKHUIDFWRUVDUHDURXQGSDUHQWDOFRQIOLFWV      %<$77251(<%$5+$0
   7KDW VSUREDEO\WKHRWKHUODUJHFRKRUWRINLGVZKHQ            46RGR\RXVKDUHFRQFHUQVWKDWWHHQVPD\EH
   H[SORUDWLRQLVWKHIXOOFRPHDURXQGZKLFKSDUHQWV             PLVOHGE\VRFLDOPHGLDWRVHOIGHFODUHDVWUDQVJHQGHU
   SDUWLFXODUO\GLYRUFLQJSDUHQWVDUHDFWLQJLQFRQIOLFW        ZKHQLQIDFWRWKHUIDFWRUVKDYHGULYHQWKHLUJHQGHU
   46RE\WKDW\RXPHDQIRUH[DPSOHRQHSDUHQW           G\VSKRULD"
   VXSSRUWLQJDQDIILUPDWLRQDSSURDFKDQGWKHRWKHUUDLVLQJ       $77251(<%/2&.2EMHFWLRQ
   FRQFHUQVDERXWSURFHHGLQJLQWKDWGLUHFWLRQ"                   7+(:,71(66,ZRXOGQRWFKDUDFWHUL]HLW
   $77251(<%/2&.2EMHFWLRQWRIRUP             LQWKDWZD\
   7+(:,71(667KDW VQRWDQLQIUHTXHQW          %<$77251(<%$5+$0
   RFFXUUHQFHDQGWKLVLVDYHU\UDUHRXWFRPHWRWKDWEXW        4+RZZRXOG\RXFKDUDFWHUL]HLW"
   LQWKDWFRKRUWRISDWLHQWVZKRGHVLVW,ZRXOGVD\LQ          $,ZRXOGFKDUDFWHUL]HLWE\WDNLQJH[SORUDWLRQRI


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0948
                                                  3DJH                                                          3DJH
    DQLGHQWLW\YLD7LN7RNIRUZKDWLWLVDVDQRUPDO              $,WKLQNRQHRIWKHOLPLWDWLRQVRIDQ
    SURFHVVRIDGROHVFHQWGHYHORSPHQWDQGKDYLQJDFKLOGZKR        LQWHUQDWLRQDOGRFXPHQWLVWKDWWKHUHLVQRWJRLQJWREH
    VHOILGHQWLILHVDVWUDQVJHQGHUDVDUHVXOWRIVHHLQJD          WKDWOHYHORIVSHFLILFLW\EHFDXVHFRQVHQWODZVDUHJRLQJ
    YLGHRRQ7LN7RNLVQRWJRLQJWREHWKHFKLOGZKRPHHWV          WREHGLIIHUHQWIURPVWDWHWRVWDWHQRWWRPHQWLRQ
    WKHW\SLFDOSKHQRPHQRORJ\WKDWZHZRXOGVHHZLWKJHQGHU         FRXQWU\WRFRXQWU\
    G\VSKRULD7KDWLVSDUWRIWKHDVVHVVPHQWWKDWZHDUH          42ND\
    HYDOXDWLQJ                                                     2QSDJHWZR, PVRUU\RQSDJHWKUHH
    42ND\                                                  OHWPHFODULI\DJDLQ, PVRUU\,FRQIXVHGP\VHOI2Q
    6RWKHQLQJHQHUDO\RXGRQ WDJUHHZLWKWKH           SDJHWZRWKHDXWKRUVZULWHWKDWDIWHUH[SORULQJZKRVKH
   FRQFHUQVWKDWWKHDXWKRUVUDLVHUHJDUGLQJWKHLQIOXHQFH        ZDVDIWHUD\HDURIH[SORULQJZKRVKHZDV3DWULFLD
   RIVRFLDOPHGLDLQWHUQHWDQGSHHULQIOXHQFHV                 QRORQJHUIHOWVKHZDVDER\VKHGHFLGHGWRVWRS
   &RUUHFW"                                              ELQGLQJKHUEUHDVWVDQGZHDULQJER\VFORWKHV
   $,ZRXOGVD\LW VDPDWWHURIGHJUHH,GRQ W         :KDWSURSRUWLRQRIWKRVHZKRSUHVHQWDW\RXU
   WKLQNVRFLDOPHGLDKDVEHHQDSDUWLFXODUO\KHDOWK\WKLQJ       FOLQLFFKDQJHWKHLUPLQGVDQGGHFLGHGWRUHPDLQZLWKRU
   IRUNLGVLQJHQHUDODQGXQGHUVWDQGLQJKRZLWLPSDFWV          UHWXUQWRWKHJHQGHULGHQWLW\RIWKHLUQDWDOVH[EHIRUH
   NLGVLVVRPHWKLQJWKDWZHDOOQHHGWREHOHDUQLQJPRUH         XQGHUJRLQJDQ\KRUPRQDOWUHDWPHQWV"
   DERXW                                                         $77251(<%/2&.2EMHFWLRQWRIRUP
   4,QWKHODVWSDUDJUDSKRQSDJHWKUHHWKHDXWKRUV      7+(:,71(66, PRQHSUDFWLWLRQHULQP\
   WDONDERXWKRZWKH:3$7+UHFRPPHQGVFROODERUDWLYH              FOLQLFVR,GRQ WKDYHWKHGDWDRQHYHU\ERG\$QG,
   DSSURDFKWKDWLQYROYHVSDUHQWVDQGWDNHLQWRDFFRXQWWKH       WKLQNDORWRIWKDWLVJRLQJWRGHSHQGXSRQWKH
   FRPSOH[LWLHVRIDGROHVFHQWV                                   SRSXODWLRQWKDW\RXDUHVHHLQJ
   'R\RXVHHWKDW"                                      %<$77251(<%$5+$0
   $<HV                                                  4:KDWSURSRUWLRQRI\RXUSDWLHQWVWKHQFKDQJHG
   4'R\RXXQGHUVWDQGWKH:3$7+VWDQGDUGVRIFDUH         WKHLUPLQGDQGGHFLGHWRUHPDLQRUUHWXUQWRWKHJHQGHU


                                                  3DJH                                                          3DJH
    IRUDGROHVFHQWVWRFDOOIRUDFROODERUDWLYHDSSURDFK            LGHQWLW\RIWKHLUQDWDOVH[EHIRUHXQGHUJRLQJDQ\
    WKDWLQYROYHVERWKSDUHQWVZKHQHYHUSRVVLEOH"                   KRUPRQDOWUHDWPHQWV"
    $7KHUHLVQRWDVSHFLILFFDOORXWZLWKLQWKH            $77251(<%/2&.2EMHFWLRQWRIRUP
    VWDQGDUGVRIFDUHIRUP\UHFROOHFWLRQWKDWVD\ERWK             7+(:,71(66,ZRXOGVD\DPLQRULW\RI
    SDUHQWVQHHGEHLQYROYHGEXWWKDW VFHUWDLQO\LPSOLHG          SDWLHQWV
    DQGLVWKHJHQHUDOSUDFWLFHWRLQFOXGHDOOSDUHQWVRU           %<$77251(<%$5+$0
    DOOIDPLO\PHPEHUVZKRDUHLQYROYHGLQWKHFKLOG VOLIH         4'R\RXKDYHDUDQJH"
    ZKRPHYHULVJRLQJWRQHHGWREHLQWKHURRPLQRUGHUWR         $,GRQ W,WKLQNZKHQ\RXZHUHDVNLQJWKRVH
    ERWKJHWDFOHDUXQGHUVWDQGLQJRIZKDW VJRLQJRQDV            TXHVWLRQVDWWKHEHJLQQLQJDERXWP\WUDQVJHQGHU
   ZHOODVPDNHVXUHWKHFKLOGJHWVWKHDGHTXDWHVXSSRUWWR       SDWLHQWVLQWKDWFRKRUWDQG,WKLQNSHUFHQWSXUVXHG
   EHDEOHWRWKULYH                                             VRPHWKLQJVEXWEHLQJWKDWSHUFHQWWKDWGLGQ W
   46RLVLW\RXUXQGHUVWDQGLQJWKDWWKH:3$7+            6RPHZKHUHLQWKHUH
   VWDQGDUGVRIFDUHZRXOGDOORZWUHDWPHQWWRSURFHHGEDVHG       42QSDJHILYHRIWKLVGRFXPHQWWKHODVWSDJHWKH
   RQWKHFRQVHQWRIRQHSDUHQW"                                  DXWKRUVUHSRUWDULVLQJDQXPEHURIGHWUDQVLWLRQHUVWKDW
   $$VZHWDONHGDERXWHDUOLHUWKHVHDUHJXLGHOLQHV      FOLQLFLDQVUHSRUWVHHLQJ$UH\RXDZDUHRIWKLVULVLQJ
   DQGQRWPDQGDWHV,QSUDFWLFHZLWKLQWKH8QLWHG6WDWHV        QXPEHURIGHWUDQVLWLRQHUV"
   DOPRVWDOOFRQVHQWSURFHVVHVIRUSXEHUW\VXSSUHVVLRQDQG       $77251(<%/2&.2EMHFWLRQWRIRUP
   KRUPRQHVJRWKURXJKDWZRSDUHQWFRQVHQWSURFHVV               7+(:,71(66, PDZDUHWKDWWKHVHWZR
   ZKHQHYHUSRVVLEOHHYHQWKRXJKWKDWLVQRWDUHTXLUHPHQW       DXWKRUVDUHUDLVLQJWKDWLW VDSRVVLELOLW\,WLVQRW
   RIWKHODZ                                                    VRPHWKLQJWKDW, YHVHHQSXEOLVKHGLQWKHOLWHUDWXUH
   4:KDW, PWU\LQJWRJHWWRLVZKDWLVWKH              %<$77251(<%$5+$0
   UHTXLUHPHQWVRIWKHJXLGHOLQHVUHFRJQL]LQJWKDWWKH           4+DYH\RXVHHQDULVLQJQXPEHURIGHWUDQVLWLRQHUV
   JXLGHOLQHVDUHQRWPDQGDWRU\EXWGRWKHJXLGHOLQHV            DW\RXUFOLQLF"
   DOORZIRUWUHDWPHQWEDVHGRQWKHFRQVHQWRIRQHSDUHQW"        $,WKLQNWKHTXHVWLRQLVZKHWKHURUQRWWKH


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0949
                                                  3DJH                                                          3DJH
    SHUFHQWDJHLVFKDQJLQJDQGWKDW VQRWDQDQVZHUZHNQRZ        PRPHQW,ZDQWWRXQGHUVWDQGKRZWREHVWPHHWWKHLU
    ,WKLQNE\GHILQLWLRQWKHPRUHSHRSOH\RXVHHWKHPRUH          QHHGV6RDQ\WKLQJWKDWLVJRLQJWRLQWHUIHUHZLWKPH
    IRONVWKHGHWUDQVLWLRQ\RX UHJRLQJWRVHH$QGWKH        EHLQJDEOHWRXQGHUVWDQGWKDWLVJRLQJWREHDSUREOHP
    GLIIHUHQFHRIFKLOGUHQZKRKDGDFFHVVWRJHQGHUFDUHQRZ        IRUPH
    FRPSDUHGWRDGHFDGHDJRLVMXVWRUGHUVRIPDJQLWXGH            $77251(<%$5+$0, PJRLQJWRVKRZ\RX
    GLIIHUHQW%XW,GRQ WNQRZRUWKHUHKDVQRWEHHQDQ\          ZKDWZHZLOOPDUNDV([KLELW7KLVLVDOVR7DE
    HYLGHQFHWKDW, YHVHHQWKDWWKHSHUFHQWDJHRINLGVZKR         
    GHWUDQVLWLRQLVDQ\GLIIHUHQWQRZWKDQLWZDVDGHFDGH           :KHUHXSRQ([KLELW,QWHUYLHZE\/LVD
    DJR                                                            6HOLQ'DYLVZDVPDUNHGIRU
   4$IHZSDUDJUDSKVDERYHZKDWZHZHUHMXVWORRNLQJ      LGHQWLILFDWLRQ
   DWLWVD\VRQO\DTXDUWHURIWKHVHLQGLYLGXDOVWROG           
   WKHLUGRFWRUVWKH\KDGUHYHUVHGWKHLUWUDQVLWLRQVPDNLQJ       %<$77251(<%$5+$0
   WKLVSRSXODWLRQHVSHFLDOO\KDUGWRWUDFN:RXOG\RX           47KLVLVDQLQWHUYLHZZULWWHQXSE\/LVD6HOLQ
   DJUHHWKDWWKLVSRSXODWLRQLVGLIILFXOWWRWUDFN"              'DYLVRI4XLOOHWWHHQWLWOHG7UDQV3LRQHHU([SODLQVKHU
   $77251(<%/2&.2EMHFWLRQWRIRUP             5HVLJQDWLRQIURPWKH863URIHVVLRQDO$VVRFLDWLRQIRU
   7+(:,71(66$JDLQWKLVLVQRWDVWXG\       7UDQVJHQGHU+HDOWKSXEOLVKHGDWWKHEHJLQQLQJRI
   DQGVRLW VKDUGWRNLQGRIPDNHDSURQRXQFHPHQWDERXWD       $UH\RXIDPLOLDUZLWKWKLVDUWLFOH"
   SRSXODWLRQZLWKRXWDGHILQHGXQGHUVWDQGLQJRIZKDWWKDW        $,DPQRW
   SRSXODWLRQDFWXDOO\LV2XUIRONVZKRGRQ WWDONWR           4, PJRLQJWRGLUHFW\RXUDWWHQWLRQWR
   WKHLUPHGLFDOSURIHVVLRQDOVDERXWGLVVDWLVIDFWLRQLQ           SDJHWKUHH7KLVLVDQLQWHUYLHZZLWK'U$QGHUVRQWKH
   WKHLUFDUHDGLIILFXOWSRSXODWLRQWRWUHDW,WKLQN          VDPHLQGLYLGXDOZKRLVDFRDXWKRURIWKH:DVKLQJWRQ
   SUREDEO\E\GHILQLWLRQWKDWLVWUXH                           3RVWDUWLFOHZHZHUHMXVWGLVFXVVLQJ
   %<$77251(<%$5+$0                                            &RUUHFW"
   4$QGWREHFOHDU,ZDVQ WDVNLQJLIWKH\ UH           $7KDWLVFRUUHFW


                                                  3DJH                                                          3DJH
    GLIILFXOWWRWUHDW,ZDVMXVWDVNLQJZRXOG\RXDJUHH           42QSDJHWKUHH'U$QGHUVRQVWDWHVWKHGDWDDUH
    WKH\ UHGLIILFXOWWRWUDFN"                                     YHU\FOHDUWKDWDGROHVFHQWJLUOVDUHFRPLQJWRJHQGHU
    $,WKLQNE\GHILQLWLRQ\HVLIWKH\DUHQRW            FOLQLFVLQJUHDWHUSURSRUWLRQWKDQDGROHVFHQWER\VDQG
    UHDFKLQJRXWWRWKHLUSURYLGHUVRUGURSSLQJRXWRI              WKLVLVDFKDQJHLQWKHODVWFRXSOHRI\HDUVDQGLW VDQ
    VWXGLHV\HV                                                   RSHQTXHVWLRQZKDWGRZHPDNHRIWKDW:HUHDOO\GRQ W
    47KHQH[WWRODVWSDUDJUDSKRIWKLVDUWLFOH             NQRZZKDW VJRLQJRQDQGZHVKRXOGEHFRQFHUQHGDERXW
    EHJLQVE\VD\LQJWKHSUHVVXUHE\DFWLYLVWVPHGLFDODQG         LW'RHVKHUH[SHULHQFHPDWFK\RXUH[SHULHQFH"
    PHQWDOKHDOWKSURYLGHUVDORQJZLWKDQDWLRQDO/*%7              $77251(<%/2&.2EMHFWLRQWRIRUP
    RUJDQL]DWLRQVWRVLOHQFHWKHYRLFHVRIGHWUDQVLWLRQHUV          7+(:,71(66,WKLQNLW VFRQVLVWHQWLQ
   DQGVDERWDJHWKHGLVFXVVLRQDURXQGZKDWLVRFFXUULQJLQ        WKHOLWHUDWXUHWKDWZH YHVHHQPRUHDVVLJQHGIHPDOHVDW
   WKHILHOGLVXQFRQVFLRQDEOH'R\RXDJUHHWKDWLWLV          ELUWKSUHVHQWLQJIRUFDUHWKDQLQWKHSDVW
   FRQFHUQLQJWKDWFHUWDLQRUJDQL]DWLRQVDUHVHHNLQJWR           %<$77251(<%$5+$0
   VLOHQFHWKHYRLFHRIGHWUDQVLWLRQHUV"                          4$QGKDYH\RXVHHQWKLVFKDQJHLQEDODQFHVLQFH
   $77251(<%/2&.2EMHFWLRQWRIRUP             DSSUR[LPDWHO\"
   7+(:,71(66,WLVQRWP\H[SHULHQFH          $,GRQ WNQRZLI,ZRXOGVD\,FRXOGSRLQWWR
   WKDWRUJDQL]DWLRQVDUHVHHNLQJWRVLOHQFHWKHYRLFHVRI        RQHVSHFLILF\HDUEXWZLWKHDFK\HDULWVHHPVOLNH
   IRONVZKRLGHQWLI\DVGHWUDQVLWLRQHUVQR                     WKDW V,WKLQNSUREDEO\WKDW VZKHQWKHGDWDFDPH
   %<$77251(<%$5+$0                                            RXWWKDWWKDWGHPRQVWUDWHGLW
   4,IWKH\ZHUHZRXOG\RXDJUHHWKDWWKDWLV             4:KHQGR\RXUHFDOOEHJLQQLQJWRVHHWKLVWUHQG
   XQFRQVFLRQDEOH"                                                GHYHORS"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $,WKLQNRQHRIWKHFKDOOHQJHVLVWKDWWKHVFRSH
   7+(:,71(660\MREDVDSV\FKLDWULVW          RIWKHOLWHUDWXUHLVOLPLWHGWRDIHZYHU\VSHFLILF
   DQGDFKLOGSV\FKLDWULVWLQSDUWLFXODULVWRXQGHUVWDQG        VXEVHWVRIZKHUHFOLQLFDOFDUHLVSUDFWLFHGDQGVRZH
   WKHNLGZKRLVVLWWLQJLQIURQWRIPHLQWKDWYHU\             KDYHWRMXVWEHFDUHIXOQRWWRFRPSOHWHO\JHQHUDOL]H


                                                                                        3DJHVWR
                                                                                                      Armistead App. 0950
                                                  3DJH                                                          3DJH
    6RLQWKHVHVSHFLILFFOLQLFVZKDWZHKDYHVHHQLVD             DGROHVFHQWVZKRKDYHSUHH[LVWLQJPHQWDOKHDOWKSUREOHPV
    SUHSRQGHUDQFHDQGDQLQFUHDVHRIDVVLJQHGIHPDOHVDW            DQGDUHORRNLQJIRUDQH[SODQDWLRQDERXWZKRWKH\DUH
    ELUWK,FDQ WVSHDNWRWKLVEHLQJDQDWLRQDO                  $QGWKHUH VDELWRI,ZRXOGVD\IDQWDV\DERXWVHHNLQJ
    SKHQRPHQRQEXWWKHOLWHUDWXUHSUREDEO\FHUWDLQO\DOO           WRIRUPDQLGHQWLW\WKDWPD\WKHQH[SODLQWKHLU
    SRLQWVLQWKDWGLUHFWLRQ,WKLQNSHUVRQDOO\IRUPH,          GLVWUHVV<RXZRXOGDJUHHWKDWWKHDGROHVFHQW\HDUVFDQ
    MXVWVWDUWHGWRVHHPRUHDVVLJQHGIHPDOHVDWELUWK              EHGLVWUHVVLQJIRUPDQ\WHHQVZKHWKHUWKH\DUH
    SUHVHQWLQJLQDGROHVFHQFH,WKLQNLQWKHPLGVLV           WUDQVJHQGHURUQRW
    QRWXQUHDVRQDEOH                                               &RUUHFW"
    4,VWKHUHDQ\WHVWLQVFLHQWLILFXQGHUVWDQGLQJDV       $77251(<%/2&.2EMHFWLRQWRIRUP
   WRZK\WKLVWUHQGLQWKHOLWHUDWXUHLVGHYHORSLQJ"             7+(:,71(66,ZRXOGZKROO\DJUHHZLWK
   $7KHUHLVQRW                                         WKDW\HV
   4'R\RXDJUHHWKDWWKLVLVVRPHWKLQJWKDW              %<$77251(<%$5+$0
   SUDFWLWLRQHUVVKRXOGEHYHU\FRQFHUQHGDERXWEHIRUH            4'R\RXVKDUHWKHFRQFHUQWKDWVRPHWHHQVZKR
   DJUHHLQJWRDGPLQLVWHUVWHULOL]LQJFURVVVH[KRUPRQHVWR       SUHVHQWDWFOLQLFVDUHLQGXOJLQJLQDIDQWDV\DERXWZKDW
   WHHQJLUOV"                                                    DWUDQVJHQGHULGHQWLW\ZLOOGRIRUWKHPDQGWKHLU
   $77251(<%/2&.2EMHFWLRQWRIRUP             GLVWUHVV"
   7+(:,71(667KHWKLQJWKDW VLPSRUWDQW        $,ZRXOGQRWSXWLWLQWKDWZD\QR
   LVZKDWDUHWKHVSHFLILFIDFWRUVRIWKHFKLOGLQWKH           4$VSDUWRI\RXUDVVHVVPHQWGR\RXKDYHWRDV
   IDPLO\WKDWLVVLWWLQJLQIURQWRI\RXDQGKRZWRHQVXUH       SDUWRI\RXUWKRURXJKDVVHVVPHQWGR\RXKDYHWRDVVHVV
   WKDWWKDWFKLOGKDVJRWWHQDSSURSULDWHFDUHDQGWKDW           ZKHWKHUWKHWHHQLVLQFRUUHFWO\DVVHVVLQJZKDWD
   ZH UHPDNLQJDUHFRPPHQGDWLRQEDVHGXSRQWKHEHVW              WUDQVJHQGHULGHQWLW\ZRXOGGRIRUWKHPDQGWKHLU
   LQWHUHVWRIWKDWLQGLYLGXDOFKLOGWKDWLVLUUHVSHFWLYH         GLVWUHVV"
   RISRSXODWLRQEDVHGFKDQJHVWKDWDUHKDSSHQLQJ                $$SDUWRIDQ\IRUPHGLQIRUPHGFRQVHQW
   %<$77251(<%$5+$0                                            SURFHVVLVDVVHVVLQJWKHXQGHUVWDQGLQJRIWKHFKLOGDQG


                                                  3DJH                                                          3DJH
    4'RQ W\RXQHHGWRDVVHVVWKRXJKZKHWKHUWKH            WKHIDPLO\ VXQGHUVWDQGLQJRIWKHULVNVEHQHILWVDQG
    LQGLYLGXDOLQIURQWRI\RXLVH[HPSODURIWKDWQDWLRQDO         DOWHUQDWLYHVRIWKDWVSHFLILFLQWHUYHQWLRQ7KDWZRXOG
    RIWKDWWUHQGLQWKHOLWHUDWXUH"                            LQFOXGHDQXQUHDOLVWLFEHOLHIDERXWZKDWWKHSRWHQWLDO
    $7KDW VZKHUHWKDW VZKHUHDQDVVHVVPHQW            EHQHILWVPD\EH
    FRPHVLQ                                                       4$OOULJKW
    46R\RXZRXOGDJUHHWKHQWKDWSUDFWLWLRQHUV             ,ZDQWWRJRWRSDJHILYHRIWKLVGRFXPHQW
    VKRXOGEHFRQFHUQHGDERXWWKLVWUHQGEHIRUHGHFLGLQJWR         'U$QGHUVRQLQGLFDWHVHDUOLHUWRGD\,WDONHGWRVRPH
    DGPLQLVWHUKRUPRQHV                                            SDUHQWVZKREURXJKWWKHLUFKLOGWRDKHDOWK
    &RUUHFW"                                               SURIHVVLRQDO7KHFKLOGLVVHHQWKUHHWLPHVE\D
   $77251(<%/2&.2EMHFWLRQWRIRUP             WKHUDSLVWDQGWKHQUHFRPPHQGHGIRUKRUPRQHV7KH
   7+(:,71(66:KDW, PVWDWLQJLVWKDW          WKHUDSLVWQHYHUWDONHGWRWKHSDUHQWV'R\RXVKDUHKHU
   WKHJXLGHOLQHVIRUZKDW VLQYROYHGLQDVVHVVPHQWKDYH          FRQFHUQWKDWWKUHHVHVVLRQVZLWKDPHQWDOKHDOWK
   EHHQUHODWLYHO\FOHDUDQGWKDWZHZDQWWRPDNHWKH             SURYLGHUVLVIDUOHVVWKDQUHTXLUHGEHIRUHDFRPSHWHQW
   GHFLVLRQVEDVHGXSRQZKDW VLQWKHEHVWLQWHUHVWDQG           GLDJQRVLVRIDGXUDEOHWUDQVJHQGHULGHQWLW\FDQEHPDGH"
   XQGHUVWDQGLQJRIWKHSDWLHQWDQGIDPLO\WKDWZHDUH            $77251(<%/2&.2EMHFWLRQWRWKHIRUP
   VHHLQJ:HVKRXOGDOZD\VEHFRQFHUQHG:HVKRXOG             7+(:,71(66,ZRXOGQRW7KHREMHFWLRQ
   DOZD\VEHEXLOGLQJXSRXUXQGHUVWDQGLQJRIWKHILHOGDV       DV,UHDGLWLQWKLVDUWLFOHWKDW\RX YHSXWLQIURQWRI
   ZHOODVVRPHRIWKHHSLGHPLRORJ\RIWKHILHOG%XWWKDW       PHZLWKWKHLQWHUYLHZZLWK'U$QGHUVRQKHUFRQFHUQ
   GRHVQ WFKDQJHWKHLQGLYLGXDOH[SHULHQFHVRIWKHSDWLHQW       VHHPVWREHPRUHDERXWQRWKDYLQJVSRNHQWRWKHSDUHQWV
   DQGWKHIDPLO\WKDWZH UHPHHWLQJZLWK                        SULRUWRWKHUHFRPPHQGDWLRQ$QG,FDQ WWDNHKHUZRUG
   %<$77251(<%$5+$0                                            IRULWWKDWWKLVZDVWUXH:HKHDUDORWRIWKLQJVIURP
   42ND\                                                 SDUHQWVZKRH[SUHVVIUXVWUDWLRQZLWKFDUHWKDWLV
   $WWKHERWWRPRISDJHIRXU'U$QGHUVRQVD\V          XOWLPDWHO\IRXQGQRWWREHDFFXUDWH
   WKDWVKHLVTXRWHZRUULHGWKDWWKHUHLVDQHZJURXSRI       %<$77251(<%$5+$0


                                                                                        3DJHVWR
                                                                                                             Armistead App. 0951
                                                 3DJH                                                                    3DJH
    4:RXOG\RXVKDUHWKHFRQFHUQWKDWSUHVFULELQJ          %<$77251(<%$5+$0
    KRUPRQHVLIRQHSDUHQWLVVWURQJO\RSSRVHGWRLWLV            4, PMXVWDVNLQJLIWKDW VDSRVVLEOHRXWFRPH"
    FUHDWLQJDOLNHOLKRRGRIIDPLO\FRQIOLFWWKDWLVJRLQJ         $<HV
    WROLNHO\EHGHVWDELOL]LQJDQGKDUPIXOWRWKHFKLOG"           4$OOULJKW
    $77251(<%/2&.2EMHFWLRQWRWKHIRUP         ,VLW\RXURSLQLRQWKDWLW VXQUHDVRQDEOHWR
    $UH\RXUHIHUHQFLQJVRPHWKLQJLQWKHDUWLFOHRULVWKLV        H[FOXGHIURPIHPDOHWHDPVELRORJLFDOPDOHVDQGE\WKDW
    \RXURZQTXHVWLRQ"                                             ,PHDQSHRSOHZLWK;<FKURPRVRPHVZKRKDYHJDLQHGD
    $77251(<%$5+$0,DPUHIHUHQFLQJ              SK\VLRORJLFDODGYDQWDJHDVDUHVXOWRIXQGHUJRLQJPDOH
    SDJHVL[ZKHUH'U$QGHUVRQVD\V\RXGRQ WZDQWWRUXVK       SXEHUW\"
   DKHDGZLWKDNLGJLYLQJWKHPHQFRXUDJHPHQWWKDWWKH\ UH      $7KLVLVRXWVLGHRIWKHVFRSHRIZKDW,ZDV
   JRLQJWRJHWKRUPRQHVXQWLOZHEULQJWKHLUSDUHQWV            SURYLGLQJP\WHVWLPRQ\RQ
   DORQJ%DWWOLQJWKHSDUHQWVLVDQRZLQSURSRVLWLRQ         4:HOOLQSDUDJUDSKRI\RXUUHSRUW\RXVD\QR
   %<$77251(<%$5+$0                                           UHDVRQDEOHPHQWDOKHDOWKSURIHVVLRQDOFRXOGWKLQNWKH
   46RMXVWWREHFOHDUDERXWWKHTXHVWLRQGR\RX        DFWLQTXHVWLRQLVDQ\WKLQJEXWKDUPIXOWRWKHPHQWDO
   VKDUHWKHFRQFHUQWKDWSUHVFULELQJKRUPRQHVLIRQH            KHDOWKRIWUDQVJHQGHU\RXWKDQGWKDWSUHYHQWLQJ
   SDUHQWLVVWURQJO\RSSRVHGLVOLNHO\FUHDWLQJWKH             WUDQVJHQGHU\RXWKIURPSDUWLFLSDWLQJLQWKHVDPH
   OLNHOLKRRGRIIDPLO\FRQIOLFWWKDWPD\EHVHSDUDWHO\          DFWLYLWLHVDVWKHLUSHHUVXQGHUPLQHVWKHLUDELOLW\WR
   GHVWDELOL]LQJDQGKDUPIXOWRWKHFKLOG"                       VRFLDOO\WUDQVLWLRQDQGSUHYHQWVWUDQVJHQGHU\RXWKIURP
   $77251(<%/2&.2EMHFWLRQWRWKHIRUP         DFFHVVLQJLPSRUWDQWHGXFDWLRQDODQGVRFLDOEHQHILWV
   DQGIRXQGDWLRQ                                               6R, PDVNLQJ\RXLVLW\RXURSLQLRQWKDWLW V
   7+(:,71(66:KDW,KHDU'U$QGHUVRQ V       XQUHDVRQDEOHWRH[FOXGHIURPIHPDOHWHDPVELRORJLFDO
   FRQFHUQIURPWKLVLVWKDWEDWWOLQJZLWKSDUHQWVLVD          PDOHVZKRKDYHJDLQHGDSK\VLRORJLFDODGYDQWDJHDVD
   QRZLQSURSRVLWLRQ,WKLQNWKDW VGLIIHUHQWIURP            UHVXOWRIXQGHUJRLQJPDOHSXEHUW\"
   UHFRPPHQGLQJDWUHDWPHQWWKDWQRWDOOSDUHQWVDJUHHWR       $77251(<%/2&.2EMHFWLRQWRIRUPDQG


                                                 3DJH                                                                    3DJH
    ,WKLQNLW VDERXWWKHZRUNRISV\FKRWKHUDS\ZKLFK            VFRSH
    LQYROYHVXQGHUVWDQGLQJDQGKHDULQJSDUHQWV H[SHULHQFHV        7+(:,71(66$JDLQ,FDQWHVWLI\WRWKH
    DQGREMHFWLRQV                                                PHQWDOKHDOWKDVSHFWVRIH[FOXVLRQ,FDQ WWHVWLI\WR
    %<$77251(<%$5+$0                                            WKHHQGRFULQRORJLFFKDQJHVRIWKHSK\VLRORJLFFKDQJHVLQ
    4'R\RXWKLQNWKDWSUHVFULELQJKRUPRQHVLIRQH         VSRUWVVSHFLILFDOO\
    SDUHQWLVVWURQJO\RSSRVHGLVOLNHO\FUHDWLQJIDPLO\           %<$77251(<%$5+$0
    FRQIOLFWWKDWPD\EHVHSDUDWHO\GHVWDELOL]LQJDQG              4, PQRWDVNLQJ\RXWRWHVWLI\WRWKH
    KDUPIXOWRWKHFKLOG"                                          HQGRFULQRORJ\DVSHFWVRIWKLV, PMXVWDVNLQJLVLW
    $,FDQ WDQVZHUWKDWTXHVWLRQZLWKRXWDVSHFLILF       \RXURSLQLRQWKDWLIZHDVVXPHWKDWDQLQGLYLGXDOKDV
   IDPLO\VFHQDULRLQIURQWRIPH,KDYHVHHQWKH              JDLQHGSK\VLRORJLFDODGYDQWDJHDVDUHVXOWRIXQGHUJRLQJ
   RSSRVLWHEHWKHFDVHZKHUHWKHFRQIOLFWLVWKHFUHDWLRQ       PDOHSXEHUW\WKDWLWLVVWLOOXQIDLUWRRU
   RIWKHODFNRIFRQVHQVXVDVRSSRVHGWRWKHRWKHUZD\          XQUHDVRQDEOHWRH[FOXGHWKHPIURPFRPSHWLQJRQDZRPHQ V
   DURXQG$QG, YHVHHQNLGVLQP\H[SHULHQFHWUHDWLQJ         WHDP"
   NLGVZKRKDGSDUHQWVZKRKDYHRSWHGRXWRIDQ\                $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   GHFLVLRQDOFDSDFLW\DQGWKHNLG VPHGLFDOFDUHEXW            VFRSH
   QHYHUWKHOHVVGRPXFKEHWWHUZKHQJLYHQDFFHVVWRWKLV         7+(:,71(667KDWLVQRWDQDVVXPSWLRQ,
   FDUH                                                         IHHOFRPIRUWDEOHPDNLQJ
   4%XWLWLVDOVRSRVVLEOHWKDWSUHVFULELQJ             %<$77251(<%$5+$0
   KRUPRQHVRYHUWKHREMHFWLRQRIRQHSDUHQWFDQFUHDWH          4:HOOLI\RXVD\WKDWLWLVQRUHDVRQDEOHPHQWDO
   FRQIOLFWZLWKLQWKHIDPLO\                                   KHDOWKSURIHVVLRQDOFDQVD\WKDWWKLV$FWLVDQ\WKLQJ
   &RUUHFW"                                             EXWKDUPIXOWRWKHPHQWDOKHDOWKRIWUDQVJHQGHU\RXWK
   $77251(<%/2&.2EMHFWLRQWRWKHIRUP        WKDWGRHVQ WGHSHQGXSRQZKHWKHUWKHFKLOGKDVXQGHUJRQH
   7+(:,71(668QGHUVWDQGLQJWKHLPSDFWRI      PDOHSXEHUW\RUQRW
   DQ\LQWHUYHQWLRQLVDSDUWRIWKDWFRQVHQWSURFHVV           ,VWKDWFRUUHFW"



                                                                                           3DJHVWR
                                                                                                       Armistead App. 0952
                                                  3DJH                                                          3DJH
    $7KDWLVFRUUHFW                                       4,VQ WLWWUXHWKDWSXEHUW\EORFNHUVMXVWVWRS
    46RHYHQLIWKHFKLOGHYHQLIWKHLQGLYLGXDO        IXUWKHUW\SLFDOPDOHGHYHORSPHQW"
    KDVXQGHUJRQHPDOHSXEHUW\\RX UHVD\LQJWKDWQR                $77251(<%/2&.6DPHREMHFWLRQV
    UHDVRQDEOHPHQWDOKHDOWKSURIHVVLRQDOFRXOGWKLQNWKDW          7+(:,71(66,ZRXOG,ZRXOGJLYH
    WKH$FWLVDQ\WKLQJEXWKDUPIXOEDUULQJWKHPIURP              WZRUHVSRQVHV2QH,ZRXOGZDQWDQHQGRFULQRORJLVWWR
    FRPSHWLQJRQWKHZRPHQ VWHDPLVDQ\WKLQJEXWKDUPIXO          ZHLJKLQRQWKHVSHFLILFVEXWFOHDUO\SXEHUW\EORFNHUV
    ,VWKDWFRUUHFW"                                       DUHDOVRSUHVFULEHGWRIRONVDVVLJQHGIHPDOHVDWELUWK
    $,ZRXOGVD\H[FOXVLRQDQGLVRODWLRQIURPDFFHVV        DVZHOO7KHUH VPRUHWKDQMXVWLPSDFWVRQWHVWRVWHURQH
    WRVDPHDJHGSHHUDFWLYLWLHVLVOLNHO\WREHKDUPIXO            DVDUHVXOWRIWKHVHPHGLFDWLRQV
   IURPDPHQWDOKHDOWKSHUVSHFWLYH                              %<$77251(<%$5+$0
   47RZKDWH[WHQWFDQSXEHUW\EORFNHUVVWDUWHG           4,XQGHUVWDQGEXW\RXPDNHUHFRPPHQGDWLRQVIRU
   ODWHVXFKDVDJHXQULQJWKHEHOOE\UHYHUVLQJ             ZKHWKHUSHRSOHDUHHOLJLEOHWRUHFHLYHSXEHUW\EORFNLQJ
   SK\VLFDOFKDQJHVLQPDOHSXEHUW\"                              KRUPRQHV
   $77251(<%/2&.6RUU\,FDQ WKHDUWKH        ,VWKDWFRUUHFW"
   TXHVWLRQV                                                     $7KDWLVFRUUHFW
   %<$77251(<%$5+$0                                            46R\RXKDYHWRKDYHVRPHXQGHUVWDQGLQJRIWKH
   47RZKDWH[WHQWGRSXEHUW\EORFNHUVVWDUWHGODWH      HIIHFWVRIWKHVHPHGLFDWLRQV
   IRUH[DPSOHDJHXQULQJWKHEHOOE\UHYHUVLQJWKH           ,VWKDWFRUUHFW"
   SK\VLFDOFKDQJHVRIPDOHSXEHUW\"                              $7KDWLVFRUUHFW
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG          46RLVQ WLWWUXHWKDWSXEHUW\EORFNHUV
   VFRSH                                                         DGPLQLVWHUHGWRQDWDOPDOHVVKRXOGVWRSIXUWKHUW\SLFDO
   7+(:,71(66,WLVDFRPSOLFDWHG               PDOHGHYHORSPHQW"
   TXHVWLRQWKDWLVEHVWOHIWWRDQHQGRFULQRORJLVWWR            $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   DQVZHU                                                        VFRSH


                                                  3DJH                                                          3DJH
    %<$77251(<%$5+$0                                             7+(:,71(66, GKDYHWKHVDPHDQVZHU
    4&DQSXEHUW\EORFNHUVUHYHUVHWKHSK\VLFDO              DQGWKH\GRPRUHWKDQWKDW
    FKDQJHVRIPDOHSXEHUW\WRWKHJHQLWDOV"                        %<$77251(<%$51+$0
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG           4:KDWHOVHGRWKH\GR"
    VFRSH"                                                          $$JDLQ,ZRXOGGHIHUWRWKHHQGRFULQRORJLVWIRU
    7+(:,71(66,W VWKHVDPHDQVZHU,           WKHVSHFLILFSDWKRSK\VLRORJ\RIKRZ*Q5+DQDORJVDIIHFW
    ZRXOGGHIHUWRDQHQGRFULQRORJLVWRQWKDWUHVSRQVH             DFRPSOLFDWHGSK\VLRORJ\RIWKHERG\
    %<$77251(<%$5+$0                                             4%XWZKDWLV\RXUXQGHUVWDQGLQJRIKRZWKH\
    4&DQSXEHUW\EORFNHUVUHYHUVHWKHSK\VLFDO              DIIHFWEHFDXVH\RXVDLGWKH\DOVRGRRWKHUWKLQJV"
   FKDQJHVWRWKHKDLU"                                           $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   $77251(<%/2&.6DPHREMHFWLRQV               VFRSH
   7+(:,71(66$JDLQ,ZRXOGGHIHUWRDQ        7+(:,71(66,WKLQN,DQVZHUHGLW,Q
   HQGRFULQRORJLVW                                               WKH*Q5+DQDORJVDUHJLYHQDQDQDWRPLFPDQQHUFRPSDUHG
   %<$77251(<%$5+$0                                            WRWKHSXOVDWLOHZD\LQZKLFK*Q5+LVUHOHDVHGGXULQJ
   4&DQWKH\UHYHUVHWKHSK\VLFDOFKDQJHVWRWKH          WKHSXEHUW\ZKLFKLVZKDWFDXVHVWKHVXSSUHVVLRQRI
   YRLFHRUWKHPXVFOHV"                                          RWKHUKRUPRQHVPRUHWKDQMXVWWHVWRVWHURQHDQGHVWURJHQ
   $77251(<%/2&.6DPHREMHFWLRQV               %<$77251(<%$51+$0
   7+(:,71(666DPHDQVZHU                      4,ISXEHUW\EORFNLQJKRUPRQHVDUHDGPLQLVWHUHGWR
   %<$77251(<%$5+$0                                            DQDWDOPDOHGRWKH\FDXVHWKDWLQGLYLGXDOWRXQGHUJR
   4&DQWKH\UHYHUVHWKHHIIHFWWKHSK\VLFDO          W\SLFDOO\IHPDOHSXEHUWDOGHYHORSPHQW"
   FKDQJHVRIPDOHSXEHUW\WRWKHKHDUWRUOXQJVL]H"             $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   $77251(<%/2&.6DPHREMHFWLRQ                VFRSH
   7+(:,71(666DPHDQVZHU                     7+(:,71(667KH\GRQRW
   %<$77251(<%$51+$0                                           %<$77251(<%$5+$0


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0953
                                                  3DJH                                                          3DJH
    46RWKH\MXVWVWRSIXUWKHUPDOHGHYHORSPHQW            EHDURXQGWKHLVKPDUN%XWWKHUHLVDEURDG
    &RUUHFW"                                               YDULDELOLW\$QGDJDLQWKHUHLVDQDQVZHUWKDWH[LVWV
    $77251(<%/2&.6DPHREMHFWLRQV                IRUWKLVTXHVWLRQWKDW,GRQ WKDYHLQIURQWRIPH
    7+(:,71(66$VNLQGRID*HVWDOWSLWK\         4$UH\RXIDPLOLDUZLWK7DQQHUVWDJHVRISXEHUW\"
    UHVSRQVH\HVWKH\FDXVHSXEHUW\IRUDVVLJQHGIHPDOHV          $,DP
    DWELUWKDQGDVVLJQHGPDOHVDWELUWKZKRDUHJLYHQWKHVH        4:KDWDUHWKHGLIIHUHQW7DQQHUVWDJHVRISXEHUW\"
    PHGLFDWLRQV                                                    $7DQQHUVWDJHVRQHWKURXJKILYHDUHWKHGLIIHUHQW
    %<$77251(<%$51+$0                                            7DQQHUVWDJHV
    4:KHQGRHVSXEHUW\W\SLFDOO\EHJLQLQELRORJLFDO        46RZKDWLV7DQQHUVWDJHRQHLQELRORJLFDOPDOHV"
   PDOHV"                                                         $,WGHSHQGVXSRQLIZH UHWDONLQJDERXWJHQLWDOLD
   $77251(<%/2&.6DPHREMHFWLRQV               RUFKHVWGHYHORSPHQWEXWLW VQRSXEHUWDOFKDQJHV
   7+(:,71(667KRVHDUHYHU\NQRZQGDWD         VR
   WKDWDQHQGRFULQRORJLVWFRXOGWHOO\RX                        4$QGZKDWLVWZR"
   %<$77251(<%$5+$0                                            $7ZRLVDWWKHLQLWLDOVWDJHVRISXEHUWDOFKDQJHV
   4, PVXUHWKRXJKWKDWDVDSV\FKLDWULVW\RX          WKDW\RXVWDUWWRVHH7KHVSHFLILFVRIWKH7DQQHU
   KDYHDJHQHUDOXQGHUVWDQGLQJRIZKDWDJHVSXEHUW\              VWDJLQJLVVRPHWKLQJWKDW\RXQHHGWREHWUDLQHGRQ,
   W\SLFDOO\EHJLQVLQELRORJLFDOPDOHV"                          ZRXOGQRWFODLPP\VHOIDVDQH[SHUWLQEHLQJDEOHWR
   $77251(<%/2&.6DPHREMHFWLRQV               DFFXUDWHO\DFFHVVWKH7DQQHUVWDJHRIDFKLOG
   7+(:,71(66,GRKRZHYHU,DP               4'R\RXNQRZZKHQDWZKDWDJHV7DQQHU6WDJH
   DVVHVVLQJLQGLYLGXDOVZKRFRPHWKURXJKP\RIILFH$QG         W\SLFDOO\LQLWLDWHVLQELRORJLFDOPDOHV"
   UHJDUGOHVVRIZKDWWKHSRSXODWLRQVD\VDERXWZKHQ              $$JDLQLW VJRLQJWREHDQLQGLYLGXDOL]HG
   SXEHUW\LVW\SLFDOLW VJRLQJWRGHSHQGXSRQZKRWKDW         H[SHULHQFHDQGWKDW VZK\ZHGRDVVHVVPHQWV
   LQGLYLGXDOFKLOGLVDQGZKHQWKH\GHYHORSSXEHUW\             4'R\RXKDYHDUDQJHDQDJHUDQJHDVWRZKHQLW
   %<$77251(<%$5+$0                                            W\SLFDOO\EHJLQV"


                                                  3DJH                                                          3DJH
    4,XQGHUVWDQGEXWP\TXHVWLRQLVQ WDERXWDQ           $:KHQZHWDONDERXWWKHRQVHWRISXEHUW\ZH UH
    LQGLYLGXDO0\TXHVWLRQLVZKHQGRHVLWW\SLFDOO\EHJLQ        WDONLQJDERXW7DQQHUVWDJHWZRW\SLFDOO\
    LQELRORJLFDOPDOHV                                            4$QGDWZKDWDJHGRWKRVHW\SLFDOO\DULVH"
    $77251(<%/2&.6DPHREMHFWLRQV                $)RUDVVLJQHGPDOHVDWELUWKRUDVVLJQHGIHPDOHV"
    7+(:,71(66$JDLQWKLVLVDYHU\              4)RUELRORJLFDOPDOHV
    NQRZDEOHIDFWEDVHGDQVZHULQDSRSXODWLRQOHYHO,W V         $77251(<%/2&.2EMHFWLRQWR
    QRWLQIRUPDWLRQ,KDYHLQIURQWRIPH                          WHUPLQRORJ\
    %<$77251(<%$5+$0                                             7+(:,71(666RIRUIRONVDVVLJQHGPDOH
    46R\RXKDYHQRLVLW\RXUWHVWLPRQ\WKDW\RX       DWELUWKDJDLQZH UHJRLQJWRVHHLWLQWKDWLVK
   KDYHQRLQIRUPDWLRQDVWRZKHQSXEHUW\W\SLFDOO\EHJLQV        UDQJH
   LQELRORJLFDOIHPDOHV"                                         %<$77251(<%$5+$0
   $77251(<%/2&.&DQ,MXVWJLYHD              4$QG7DQQHU6WDJHZKDWLVWKDW"
   VWDQGLQJREMHFWLRQWRTXHVWLRQVDVNLQJWKHZLWQHVVDERXW       $)XUWKHUGHYHORSPHQW7KHUH VWDEOHVDQGFKDUWV
   WKHHIIHFWVWKHHQGRFULQRORJ\HIIHFWVRIEORFNHUV          \RXZRXOGKDYHWRORRNDW, PQRWJRLQJWREHDEOHWR
   DQGKRUPRQHVVR,GRQ WKDYHWRPDNHDQREMHFWLRQHDFK        XVHODQJXDJHWRGHVFULEHLWLQDQDFFXUDWHZD\
   WLPH"                                                          4$QGZKHQDSSUR[LPDWHO\ZKHQZKDWDJHUDQJH
   $77251(<%$5+$0<HV                          GRHV7DQQHU6WDJHEHJLQLQELRORJLFDOPDOHV"
   7+(:,71(660\WHVWLPRQ\LV,GRQ W           $7KDW VQRWDQDQVZHUWKDW,FDQJLYH\RX
   ZDQWWRJLYHDQLPSUHFLVHDQVZHUIRUDTXHVWLRQWKDW           4$QGZKDWLV7DQQHU6WDJH"
   WKHUHLVDVSHFLILFDQVZHUWR                                 $7KHVDPHDQVZHULVIXUWKHUSURJUHVVLRQRI
   %<$77251(<%$5+$0                                            SXEHUWDOFKDQJHV
   4:KDWLV\RXUXQGHUVWDQGLQJDV\RXVLWKHUH           4$QGGR\RXNQRZZKDWDJHUDQJHWKDWW\SLFDOO\
   WRGD\DVWRZKHQSXEHUW\W\SLFDOO\EHJLQVLQPDOHV"           EHJLQVLQELRORJLFDOPDOHV"
   $7KHUDQJHIRUW\SLFDOSXEHUW\LQPDOHVWHQGVWR       $6DPHDQVZHUDVEHIRUH7KDW VQRWDQDQVZHU,


                                                                                        3DJHVWR
                                                                                                             Armistead App. 0954
                                                  3DJH                                                                      3DJH
    KDYHKHUH                                                      WKHFDPHUD
    4$QGZRXOGWKHVDPHDQVZHUVKROGWUXHIRU7DQQHU        7+(:,71(66,VWKDWEHWWHU"
    6WDJH",VWKDWD\HV"                                        $77251(<%/2&.<HV
    $7KDW VD\HV,IRUJRWWKDWQRGGLQJ              7+(:,71(66&DQ\RXUHSHDWWKH
    4<HV<RX YHEHHQSUHWW\JRRGWRGD\, YHEHHQ        TXHVWLRQ", PVRUU\
    LPSUHVVHG                                                      %<$77251(<%$5+$0
    'RHVQ WWKHSRVLWLRQWKDWDOORZLQJELRORJLFDO          4$VVRPHRQHIDPLOLDUZLWKWKHHWKLFDOVWDQGDUGV
    PDOHVWRSOD\RQDJLUOVWHDPLIWKH\EORFNHGSXEHUW\           RISV\FKLDWU\GR\RXWKLQNLWZRXOGEHHWKLFDOIRUWKH
    EHIRUHLWEHJLQVFUHDWHSUHVVXUHIRUSDUHQWVDQG                6WDWHRI:HVW9LUJLQLDWRVWUXFWXUHLWVODZLQDZD\
   FKLOGUHQWRPDNHSXEHUW\EORFNLQJGHFLVLRQDWD\RXQJ          WKDWSXWVQRZRUQHYHUSUHVVXUHRQSDUHQWVDQGFKLOGUHQ
   DJH"                                                           ZKRDUHGHDOLQJZLWKJHQGHUG\VSKRULDWRGHFLGHDWDQ
   $77251(<%/2&.2EMHFWLRQWRIRUP             HDUO\DJHZKHWKHUWRVWRSWKHQDWXUDOGHYHORSPHQWRI
   %<$77251(<%$5+$0                                            SXEHUW\"
   46RUWRISXWWKHPLQDQRZRUQHYHUVLWXDWLRQ"         $77251(<%/2&.2EMHFWLRQWRIRUP
   $2IWKRVHSDWLHQWVWKDW,KDYHVHHQWKDWKDV      7+(:,71(66,PHDQWKDW VDTXHVWLRQ
   QHYHUFRPHXSDVDFRQFHUQ                                    WKDWKDVDWHVWDEOHK\SRWKHVLV'RHV;LQWHUYHQWLRQ
   47KHDWKOHWLFLVVXHKDVQHYHUFRPHXSDVD             OHDGWRWKLVNLQGRISUHVVXUH"7KDW VQRWDVWXG\WKDW
   FRQFHUQ"                                                       , YHHYHUVHHQQRUKDVLWEHHQP\FOLQLFDOH[SHULHQFH
   $,WKDVQRW                                           WKDWLW VEHHQWKHFDVH
   4'R\RXWKLQNLWZRXOGDVDSUDFWLWLRQHULQ        %<$77251(<%$5+$0
   WKHILHOGGR\RXWKLQNLWZRXOGHYHQEHHWKLFDOIRUWKH        4:RXOGLWEHHWKLFDOWRSXWWKDWNLQGRISUHVVXUH
   6WDWHRI:HVW9LUJLQLDWRVWUXFWXUHLWVODZLQDZD\           RQVRPHRQHXQGHUWKHHWKLFDOVWDQGDUGVRIWKHILHOGRI
   WKDWSXWVQRZRUQHYHUSUHVVXUHRQSDUHQWVDQGFKLOGUHQ        SV\FKLDWU\"
   ZKRDUHGHDOLQJZLWKJHQGHUG\VSKRULDWRGHFLGHDWDQ          $77251(<%/2&.2EMHFWLRQWRIRUPDQG


                                                  3DJH                                                                      3DJH
    HDUO\DJHZKHWKHUWRVWRSWKHQDWXUDOGHYHORSPHQWRI            IRXQGDWLRQ"
    SXEHUW\"                                                        7+(:,71(66,WLVDYHU\WKHRUHWLFDO
    $77251(<%/2&.2EMHFWLRQWRIRUP              TXHVWLRQWKDWUHDOO\GRHVQ WHQWHULQWRLWZKHQZHDUH
    7+(:,71(66$VDFKLOGSV\FKLDWULVWLQ         RQHRQRQHZLWKWKHVHNLGVDQGWKHLUIDPLOLHV
    WKLVILHOGZH UHGRLQJLQGLYLGXDOEDVHGDVVHVVPHQWVZLWK        %<$77251(<%$5+$0
    WKHFKLOGUHQDQGIDPLOLHVWKDWDUHLQIURQWRIXV$QG         4, PQRWDVNLQJDERXWRQHRQRQHLQWHUDFWLRQV
    ZKDWWKDWPHDQVLQWKHFRQWH[WRIWKLVTXHVWLRQLVWKDW         ZLWKNLGVDQGIDPLOLHV, PDVNLQJLQJHQHUDOLQWKHRU\
    ZHDUHDVVHVVLQJDOORIWKHLUGLIIHUHQWDFWLYLWLHV             LVLWHWKLFDOWRSXWWKDWNLQGRISUHVVXUHRQVRPHRQH"
    LQWHUHVWVDQGZRUNLQJZLWKDOOWKHV\VWHPVWKDWZHFDQ          $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   WRHQVXUHDVDIHDQGDSSURSULDWHVHWRIGHFLVLRQVWKDW         IRXQGDWLRQ
   DUHJRLQJWROHDGWRWKHEHVWRXWFRPHVIRUWKLV                7+(:,71(66, PVRUU\,FDQ WJLYHD
   LQGLYLGXDOFKLOGDQGQRWDPHGLFDOHPSKDVLVWKDWLV            EHWWHUDQVZHUEXWHQVXULQJWKDWDFKLOGLVPDNLQJD
   RXWVLGHRIWKHVFRSHWKDW,FDQDQVZHU                        GHFLVLRQZLWKRXWFRHUFLRQLVDSDUWRIWKHLQIRUPHG
   %<$77251(<%$5+$0                                            FRQVHQWSURFHVV
   4%XW\RX UHIDPLOLDUZLWKWKHHWKLFDOVWDQGDUGV        %<$77251(<%$5+$0
   RI\RXUILHOG                                                 4,VLW\RXURSLQLRQWKDWLWLVXQUHDVRQDEOHWR
   ,VWKDWFRUUHFW"                                      H[FOXGHIURPIHPDOHWHDPVELRORJLFDOPDOHVZKREHJLQ
   $,DP\HV                                            XQGHUJRLQJPDOHSXEHUW\EXWDUHQRZRQSXEHUW\EORFNHUV"
   48QGHUWKRVHHWKLFDOVWDQGDUGVZRXOGLWEH             $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   HWKLFDOIRUWKH6WDWHWRVWUXFWXUHLWVODZLQDZD\WKDW       VFRSH
   SXWVWKLVNLQGRIQRZRUQHYHUSUHVVXUHRQSDUHQWVDQG         7+(:,71(66&DQ\RXUHSHDWWKH
   FKLOGUHQ"                                                      TXHVWLRQ"
   $77251(<%/2&.2EMHFWLRQWRIRUP$OVR       %<$77251(<%$5+$0
   WKHZLWQHVVLVLQVKDGRZ,FDQ WUHDOO\VHHKLPIRU          4,VLW\RXURSLQLRQWKDWLWLVXQUHDVRQDEOHWR



                                                                                            3DJHVWR
                                                                                                          Armistead App. 0955
                                                           3DJH                                                    3DJH
    H[FOXGHIURPIHPDOHWHDPVELRORJLFDOPDOHVZKREHJLQ                46RLVLWKDUPIXOWRWKHPHQWDOKHDOWKRID
    XQGHUJRLQJPDOHSXEHUW\EXWDUHQRZRQSXEHUW\EORFNHUV"            ELRORJLFDOPDOHZKRLVH[SHULHQFLQJJHQGHUG\VSKRULDWR
    $,VLWXQHWKLFDOLVWKHTXHVWLRQ"                           EHH[FOXGHGIURPWKHZRPHQ VWHDPHYHQLIKHLVRQ
    48QUHDVRQDEOH                                              SXEHUW\EORFNHUV"
    $8QUHDVRQDEOH,ZRXOGGHIHUWRNLQGRIRXU                $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    SK\VLRORJ\DQGHQGRFULQRORJ\H[SHUWVDQGRXUPHGLFDO                WHUPLQRORJ\
    HWKLFVH[SHUWVLQUHQGHULQJDQRSLQLRQRQWKDW                      7+(:,71(66$Q\SRWHQWLDOH[FOXVLRQV
    VSHFLILFDOO\                                                       IURPDSHHUDSSURSULDWHDFWLYLW\KDVWKHSRWHQWLDOWR
    4,VLW\RXURSLQLRQWKDWLWLVKDUPIXOWR\RXWK V           KDYHQHJDWLYHFRQVHTXHQFHVRQWKHPHQWDOKHDOWKRIWKDW
   PHQWDOKHDOWKWREHH[FOXGHGIURPIHPDOHWHDPV                     JLUO$QGDJDLQWKDW VJRLQJWREHVRPHWKLQJWKDWRQ
   ELRORJLFDOPDOHVZKREHJLQXQGHUJRLQJPDOHSXEHUW\EXW             DQLQGLYLGXDOEDVLVZHDUHDVVHVVLQJ
   DUHQRZRQSXEHUW\EORFNHUV"                                       %<$77251(<%$5+$0
   $:KDW,ZRXOGVD\LVWKDWH[FOXVLRQDVZHOODV             4$QGWKDWZRXOGEHLUUHVSHFWLYHRIZKHWKHUWKH
   VSHFLILFOHJDOH[FOXVLRQIURPDFWLYLWLHVRIVDPHDJHG              LQGLYLGXDOLVRQSXEHUW\EORFNHUVEHJLQVWRXQGHUJR
   SHHUVLVOLNHO\WREHKDUPIXOIRUDNLG VPHQWDOKHDOWK           PDOHSXEHUW\RUQRW
   41RZWKH$FWLQTXHVWLRQGRHVQRWSUHYHQWD               &RUUHFW"
   ELRORJLFDOPDOHZKRKDVJHQGHUG\VSKRULDIURPFRPSHWLQJ            $$QLQGLYLGXDODVVHVVPHQWLVJRLQJWREH
   RQWKHER\VWHDP                                                  LQKHUHQWO\WDLORUHGWRZKHUHYHUDQLQGLYLGXDOLV
   ,VWKDWFRUUHFW"                                          $77251(<%$5+$0:K\GRQ WZHSDXVHIRU
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG              OXQFK"
   VFRSH                                                             $77251(<%/2&./HW VJRRIIWKHUHFRUG
   7+(:,71(66, GQHHGWRNQRZVSHFLILFV           9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   ,GRQ WNQRZZKDW\RX UHUHIHUULQJWR,WKLQNORWVRI            FXUUHQWWLPHUHDGVSP
   SHRSOHKDYHGLIIHUHQWSROLFLHVDURXQGKRZWKLVDFWXDOO\            2))9,'(27$3(


                                                           3DJH                                                    3DJH
    ZRUNV                                                              
    %<$77251(<%$5+$0                                                  :+(5(8321$6+257%5($.:$67$.(1
    4, PDVNLQJ\RXUXQGHUVWDQGLQJRIWKHVWDWXWH               
    XSRQZKLFK\RX UHRSLQLQJ                                          219,'(27$3(
    $&DQ\RXUHSHDWWKHTXHVWLRQSOHDVH"                       9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH
    47KH$FWLQTXHVWLRQGRHVQRWSUHYHQWD                     FXUUHQWWLPHUHDGVSP
    ELRORJLFDOPDOHZKRLVH[SHULHQFLQJJHQGHUG\VSKRULD                %<$77251(<%522.6
    IURPFRPSHWLQJRQWKHER\VWHDP                                    4:KDWGRHVSXEHUW\VXSSUHVVLRQRUSXEHUW\
    &RUUHFW"                                                   EORFNHUVGR"
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG              $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   VFRSH                                                             VFRSH
   7+(:,71(666RRQH,GRQ WNQRZZKDW             7+(:,71(66,WKLQN,DQVZHUHGWKDW
   ELRORJLFDOPDOHQHFHVVDULO\PHDQV                                 TXHVWLRQEHIRUH6RWKH\VXSSUHVVWKHHQGRJHQRXV
   %<$77251(<%$5+$0                                                UHOHDVHRIWHVWRVWHURQHDQGHVWURJHQDVZHOODVVRPH
   4$QLQGLYLGXDOZLWK;<FKURPRVRPHVQDWDOPDOH"            RWKHUKRUPRQHV
   $6RDVVLJQHGPDOHDWELUWKFDQKDYHDQXPEHURI            %<$77251(<%$5+$0
   UHDVRQVZK\WKH\PLJKWQRWEHDEOHWRSOD\RQWKHER\V             4+RZGRHVSXEHUW\VXSSUHVVLRQGLIIHUIURPFURVV
   WHDPLQFOXGLQJLQWHQVLW\RIJHQGHUG\VSKRULD                     VH[KRUPRQHV"
   4%XWWKHODZGRHVQRWSUHYHQWWKHPIURPSOD\LQJ            $77251(<%/2&.6DPHREMHFWLRQ
   RQWKHER\VWHDP                                                  7+(:,71(667RWDOO\GLIIHUHQW
   &RUUHFW"                                                 PHGLFDWLRQ2QHVXSSUHVVKRUPRQHVDQGWKHRWKHULVD
   $)URPP\UHDGRIWKHODZLWGRHVQRWSUHYHQWWKHP          GLUHFWKRUPRQHLWVHOI
   IURPSOD\LQJRQWKHER\VWHDP$JDLQIURPDPHQWDO               %<$77251(<%$5+$0
   KHDOWKSHUVSHFWLYHWKHLUJHQGHUG\VSKRULDPD\                    46RFURVVVH[KRUPRQHVDUHJLYHQZLWKWKH


                                                                                           3DJHVWR
                                                                                                          Armistead App. 0956
                                                          3DJH                                                     3DJH
    LQWHQWLRQRIFDXVLQJGHYHORSPHQWW\SLFDOWRWKHRWKHU              $7KDW VQRWDTXHVWLRQ,FDQVSHDNWR7KDW VD
    VH[                                                               TXHVWLRQIRUWKHSK\VLFLDQRUSURYLGHUZKR VSUHVFULELQJ
    &RUUHFW"                                                  WKDWVSHFLILFPHGLFDWLRQ
    $,WGHSHQGVXSRQWKHFRQWH[WLQZKLFKKRUPRQHV             46RDIWHU\RXUHFRPPHQGWKDWDSDWLHQWUHFHLYH
    DUHXVHG$QGDJDLQ,ZRXOGGHIHUIRUP\HQGRFULQRORJ\           SXEHUW\EORFNLQJKRUPRQHVZKDWLV\RXUFRQWLQXLQJ
    FROOHDJXHVRQWKHVSHFLILFV                                       LQYROYHPHQWLQWKHSXEHUW\EORFNLQJSURFHVV"
    46RLIFURVVVH[KRUPRQHVDUHJLYHQWRDQDWDO             $0\FRQWLQXLQJLQYROYHPHQWUHDOO\GHSHQGVXSRQ
    PDOHDVSDUWRIWUHDWPHQWIRUJHQGHUG\VSKRULDZKDWLV            WKHLQGLYLGXDOFKLOGDQGIDPLO\IRUWKHVDNHRIDPHQWDO
    WKHLQWHQWLRQ"                                                     KHDOWKDVVHVVPHQW)RUWKHLQLWLDWLRQRISXEHUW\
   $77251(<%/2&.2EMHFWLRQWRIRUP                VXSSUHVVLRQLW VDQDVVHVVPHQWIRUWKHLQLWLDWLRQRI
   7+(:,71(66$V,XQGHUVWDQGLWLIDQ            SXEHUW\VXSSUHVVLRQ7KHLQYROYHPHQWWKHUHDIWHULV
   DVVLJQHGPDOHDWELUWKLVJLYHQFURVVVH[KRUPRQHVWKDW           UHDOO\GHSHQGHQWXSRQZKDWWKHLQGLYLGXDOQHHGVRIWKDW
   LVHVWURJHQLQRUGHUWRSURYLGHWKHHIIHFWVRIHVWURJHQ           FKLOGDUH
   RQWKHERG\                                                      4'R\RXSOD\DQ\UROHLQFRQWLQXLQJWRDGYLVH
   %<$77251(<%$5+$0                                               ZKHWKHUWKHSDWLHQWFDQFRQWLQXHWRUHFHLYHSXEHUW\
   4$QGWKHHIIHFWVRIHVWURJHQRQWKHERG\DUHZKDW         EORFNLQJKRUPRQHVRUFRPHRIIRIWKHP"
   QDWDOIHPDOHVZRXOGQDWXUDOO\H[SHULHQFHDVDUHVXOWRI           $,WUHDOO\GHSHQGVXSRQWKHFRQWH[W,IWKH
   SXEHUW\                                                          FKLOGLVVHHNLQJWRFRPHRIIRISXEHUW\VXSSUHVVLRQ
   &RUUHFW                                                  EHFDXVHRIDVKLIWLQWKHLUXQGHUVWDQGLQJRIWKHLU
   $,PHDQWKDWLVFRUUHFW\HV                            LGHQWLW\FHUWDLQO\WKDW VDFRQYHUVDWLRQWKDW,ZRXOG
   4$QGVRLIDQDWDOIHPDOHLVJLYHQFURVVVH[              EHLQYROYHGLQ,IWKH\DUHFRPLQJRIIRISXEHUW\
   KRUPRQHVVKH VEHLQJJLYHQWHVWRVWHURQHWRFUHDWHWKH            VXSSUHVVLRQEHFDXVHWKH\KDYHDVXIILFLHQWDPRXQWRI
   HIIHFWVWKDWQDWDOPDOHVZRXOGQDWXUDOO\H[SHULHQFH               WHVWRVWHURQHRUHVWURJHQLQWKHLUV\VWHPWKDWWKH\DUH
   WKURXJKSXEHUW\                                                  QRORQJHUUHTXLULQJWKDWIURPDPHGLFDOSXUSRVHWKDW V


                                                          3DJH                                                     3DJH
    &RUUHFW"                                                  QRWDGLVFXVVLRQWKDW, PSULY\WR
    $7\SLFDOO\VSHDNLQJDQDVVLJQHGIHPDOHDWELUWK           4:KHQ\RXDUHGLVFXVVLQJSXEHUW\EORFNHUVZLWK
    LVJRLQJWREHUHFHLYLQJWHVWRVWHURQHDQGZLOOKDYHWKH            SDWLHQWVDQGWKHLUSDUHQWVGR\RXGHVFULEHWKHPDV
    VXEVHTXHQWHIIHFWVDVDUHVXOWRIKDYLQJWHVWRVWHURQHLQ           SODFLQJDSDXVHRQSXEHUW\"
    WKHEORRGVWUHDP                                                   $7KDW VQRWVSHFLILFODQJXDJHWKDW,XVH
    40D\EH,ZDVFRQIXVHGDQDWDOPDOHZKRLVJLYHQ           4'R\RXGHVFULEHWKHPDVEHLQJUHYHUVLEOH"
    FURVVVH[KRUPRQHV"                                                $$JDLQWKDW VQRWDODQJXDJHWKDW,XVH, P
    $<RXZHUHULJKW                                           PXFKPRUHVSHFLILFLQP\GLVFXVVLRQV
    4,ZDVULJKWRND\$WZKDW7DQQHUVWDJHGR\RX           46RRQWKHLVVXHRIZKHWKHUSXEHUW\EORFNLQJ
   UHFRPPHQGWKDWDSDWLHQWEHJLQSXEHUW\EORFNHUKRUPRQHV"          KRUPRQHVDUHUHYHUVLEOHZKDWGR\RXWHOOSDUHQWVDQG
   $$JDLQWKDW VJRLQJWRGHSHQGXSRQDQ                    SDWLHQWV"
   LQGLYLGXDOL]HGDVVHVVPHQWZLWKWKHIDPLO\EXWQHYHU              $,ZRXOGVD\E\DQGODUJHPRVWRIWKHHIIHFWV
   EHIRUH7DQQHU6WDJHRISXEHUW\                                 RISXEHUW\VXSSUHVVLRQDUHUHYHUVLEOH
   4$QGLQZKDWDJHGRHV7DQQHU6WDJHEHJLQDJDLQ"         4$QGZKHQ\RXVD\E\DQGODUJHZKDWHIIHFWVDUH
   $77251(<%/2&.$VNHGDQGDQVZHUHG               \RXUHIHUHQFLQJ"
   7+(:,71(66,WKLQN,DQVZHUHGWKDW              $:KDW, PUHIHUHQFLQJLVWKDWWKHOLWHUDWXUHLV
   TXHVWLRQ,WUHDOO\GHSHQGVXSRQWKHSHUVRQ                     VWLOODQRSHQERRNDQGZHDUHFRQVWDQWO\VHHNLQJDQG
   %<$77251(<%$5+$0                                               OHDUQLQJQHZLQIRUPDWLRQ:HZDQWWRXQGHUVWDQGZKDW
   4$QGW\SLFDOO\                                       WKRVHSRWHQWLDOQHZGDWDWHOOXVDERXWWKHHIILFDF\
   $$QGIRUDQDVVLJQHGPDOHDWELUWKZH UHWDONLQJ          VDIHW\HWFHWHUDRIWKHVHLQWHUYHQWLRQV
   LVKEXWDJDLQ,ZRXOGUHIHUWRP\HQGRFULQRORJ\               46RZKHQ\RXVD\WKH\DUHE\DQGODUJHWKH
   FROOHDJXHVRQWKHVSHFLILFGDWHV                                 HIIHFWVDUHUHYHUVLEOHZKLFKHIIHFWVDUH\RX
   4$QGWKURXJKZKDW7DQQHUVWDJHGR\RXUHFRPPHQG           UHIHUHQFLQJDUHWKHE\DQGODUJH"
   WKDWDSDWLHQWUHPDLQRQSXEHUW\EORFNHUV"                        $:KHQ,VD\E\DQGODUJHLW VUHDOO\DFDYHDWWR


                                                                                           3DJHVWR
                                                                                                      Armistead App. 0957
                                                  3DJH                                                          3DJH
    DOORZIRUWKHWKLQJVWKDWZHGRQ W\HWNQRZ                    \RXUSUDFWLFH"
    46RZKLFKHIIHFWVDUHUHYHUVLEOH"                       $77251(<%/2&.2EMHFWLRQWRIRUP
    $9LUWXDOO\DOORIWKHHIIHFWVWKDWZH UHDZDUHRI       7+(:,71(667KLVLVWKHGRFXPHQW
    DUHUHYHUVLEOH                                                 DV,UHDGLWLVDVHWRIJXLGHOLQHVIRUWKHSUDFWLFHRI
    4:KHQ\RX UHGLVFXVVLQJSXEHUW\EORFNHUVZLWK           FDUHWKDWVKRXOGEHLQGLYLGXDOO\DSSOLHGWRHDFKFKLOG
    SDWLHQWVDQGWKHLUSDUHQWVGR\RXGHVFULEHWKHPDVVDIH"        DQGIDPLO\0\SUDFWLFHWDNHVWKHVHUHFRPPHQGDWLRQVDQG
    $6DIHLVQ WDELQDU\FRQFHSWLQP\ZRUOG7KHUH        LQGLYLGXDOO\DSSOLHVWKHPWRWKHVSHFLILFULVNV
    LVQRVXFKWKLQJDVDQ\WKLQJWKDWLVFRPSOHWHO\VDIHRU         EHQHILWVDQGDOWHUQDWLYHVIRUWKHFKLOGVLWWLQJLQIURQW
    XQVDIH6RZHWDONDERXWJUDGDWLRQVRIULVNZLWKDQ\           RIPH
   LQWHUYHQWLRQ                                                  %<$77251(<%$5+$0
   46RIRUSXEHUW\EORFNHUVZKDWDUHWKHZKDW V       42QWKHSULRUSDJHLQQXPEHUWKH(QGRFULQH
   WKHJUDGDWLRQRIULVN"                                         6RFLHW\UHFRPPHQGVDJDLQVWSXEHUW\EORFNLQJDQGJHQGHU
   $,WLVLQGLYLGXDOL]HGWRWKHVSHFLILFQHHGVRI         DIILUPLQJKRUPRQHWUHDWPHQWLQSUHSXEHUWDOFKLOGUHQ'R
   WKHFKLOGDQGWKHIDPLO\                                      \RXDSSURYHWKHXVHRISXEHUW\EORFNHUVEHIRUHSXEHUW\"
   4,QJHQHUDOZKDWLV\RXUXQGHUVWDQGLQJRIWKH         $,GRQRW
   JUDGDWLRQVRIULVNDFURVVWKHERDUG"                           4<RXGLGQ WUHFRPPHQGRUSUHVFULEHDQ\SXEHUW\
   $77251(<%/2&.2EMHFWLRQWRIRUP             EORFNHUVIRU%3-
   7+(:,71(66,GRQ WKDYHDEHWWHU             ,VWKDWFRUUHFW"
   DQVZHUIRU\RXEHFDXVHWKDW VWKHZKROHSURFHVVRIGRLQJ       $,KDYHQRW
   DQLQIRUPHGFRQVHQWSURFHVVLVXQGHUVWDQGLQJZKDWDUH         4<RXGLGQRWHYDOXDWH%3-EHIRUHKHVWDUWHG
   WKHVSHFLILFULVNVDQGEHQHILWVDQGDOWHUQDWLYHVIRU           WDNLQJSXEHUW\EORFNHUV
   WKDWLQGLYLGXDOFKLOG                                         ,VWKDWFRUUHFW"
   %<$77251(<%$5+$0                                            $,KDYHQRWHYDOXDWHGKHURUVHHQKHUWKHVH
   4$UH\RXDZDUHRIWKHOLWHUDWXUHUHJDUGLQJDQ\         PDWHULDOV


                                                  3DJH                                                          3DJH
    WHVWLQJRISXEHUW\EORFNLQJKRUPRQHVDQGWKHJUDGDWLRQV         4,VLW\RXURSLQLRQWKDWQRUHVSRQVLEOHFOLQLFV
    RIULVNVSUHVHQWHGLQWKRVHWHVWV"                              EHJLQSXEHUW\EORFNLQJEHIRUHSXEHUW\EHJLQV"
    $, PQRWVXUHZKDW\RXPHDQE\WHVWV                   $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    $77251(<%/2&.2EMHFWLRQWRIRUP              VFRSH
    7+(:,71(66, PQRWVXUHZKDW\RXPHDQ         7+(:,71(667KHUH VQRLQGLFDWLRQWR
    E\WHVWLQJ                                                     VWDUWSXEHUW\EORFNLQJDJHQWVXQWLO7DQQHU6WDJH
    %<$77251(<%$5+$0                                             %<$77251(<%$5+$0
    4'RQ WPHGLFDWLRQVXQGHUJRWHVWLQJEHIRUHWKH\          4,VQ WLWWUXHWKDWWKHUHKDYHEHHQQR3KDVH,
    FDQEHXVHG"                                                    FOLQLFDOWULDOVWRWHVWWKHVDIHW\RI*Q5+LQKLELWRUV
   $7KHUH VDZLGHYDULHW\RISURFHVVHVE\ZKLFK          IRUWKLVDJHJURXS"
   PHGLFDWLRQVDUHDSSURYHGRUQRWDSSURYHGIRUFHUWDLQ           $7KDWLVP\XQGHUVWDQGLQJEXW,ZRXOGKDYHWR
   LQGLFDWLRQV                                                   VSHFLILFDOO\UHYLHZWKHOLWHUDWXUHZLWKWKDWTXHVWLRQLQ
   $77251(<%$5+$0/HW VJRWR7DE,         PLQG, PQRWIDPLOLDUFRPSOHWHO\IDPLOLDUZLWKWKH
   EHOLHYHWKDW V([KLELW                                      SKDVHGQRPHQFODWXUHLQWKLVFRQWH[W
   /$:&/(5.:,/.,1621([KLELW                4,VQ WLWWUXHWKDWWKHUHKDYHEHHQQR3KDVH,
   %<$77251(<%$5+$0                                            FOLQLFDOWULDOVWRWHVWWKHVDIHW\RI*Q5+LQKLELWRUV
   4,W VWKH(QGRFULQH6RFLHW\*XLGHOLQHVIURP      IRUWKLVGXUDWLRQ"
   7+(:,71(66<HV                             $$JDLQ,ZRXOGQHHGWRILQGDGHILQLWLRQRIZKDW
   %<$77251(<%$5+$0                                            \RXDUHUHIHUULQJWRE\3KDVH,VSHFLILFDOO\
   42QSDJHWKH(QGRFULQH6RFLHW\VWDWHVZH          4,VQ WLWWUXHWKHUHKDYHEHHQQRFOLQLFDOWULDOV
   VXJJHVWWKDWFOLQLFLDQVEHJLQSXEHUWDOKRUPRQH                 SHU)'$UXOHVIRUWKLVXVHRISXEHUW\EORFNHUV"
   VXSSUHVVLRQWKHUDS\SXEHUWDOKRUPRQHVXSSUHVVLRQ           $,GRQ WNQRZZKDWLVPHDQWE\SHU)'$UXOHV
   DIWHUJLUOVDQGER\VILUVWH[KLELWSK\VLFDOFKDQJHVRI         4)RRGDQG'UXJ$GPLQLVWUDWLRQUXOHV"
   SXEHUW\7DQQHUVWDJHV*%,VWKDWFRQVLVWHQWZLWK       $<HDK, PQRWIDPLOLDUZLWKZKDWWKHLUUXOHV


                                                                                       3DJHVWR
                                                                                                              Armistead App. 0958
                                                              3DJH                                                     3DJH
      DUH7KHUHKDYHEHHQFOLQLFDOWULDOVRIWKHVH                       FXUUHQWWLPHUHDGVSP
      PHGLFDWLRQVIRUWKLVSXUSRVH                                        %<$77251(<%$5+$0
      4:KLFKFOLQLFDOWULDOVDUH\RXUHIHUHQFLQJ"                  4:HZHUHORRNLQJDW7DEZKLFKLV([KLELW
      $7KHUHDUHFOLQLFDOWULDOVWKURXJKWKH'XWFK                 SDJH$ERXWWKUHHTXDUWHUVGRZQWKHILUVWFROXPQ
      FOLQLF7KHUHLVDOVRDQRQJRLQJFOLQLFDOWULDOKHUHLQ             WKH(QGRFULQH6RFLHW\LQGLFDWHVTXRWHLQWKHIXWXUHZH
      WKH86DPXOWLSKDVHVWXG\                                       QHHGPRUHULJRURXVHYDOXDWLRQVRIWKHHIIHFWLYHQHVVDQG
      47KDWVWXG\LVVWLOORQJRLQJ                                VDIHW\RIHQGRFULQHDQGVXUJLFDOSURWRFROVDQG
      &RUUHFW                                                    VSHFLILFDOO\KLJKOLJKWWKHQHHGWRLQFOXGHDFDUHIXO
      $7KDWLVFRUUHFW                                            DVVHVVPHQWRIWKHHIIHFWRISURORQJHGGHOD\RISXEHUW\
     46RWKHUHDUHQRFRPSOHWHGFOLQLFDOWULDOVLQWKH           LQDGROHVFHQFHRQERQHKHDOWKJRQDGDOIXQFWLRQDQGWKH
     8QLWHG6WDWHVXQGHU)'$UXOHV                                      EUDLQ
     &RUUHFW"                                                   'R\RXVHHWKDW"
     $,DPQRW                                              $,VHHWKDW\HV
     $77251(<%/2&.2EMHFWLRQWRWKHIRUP              4'R\RXDJUHHWKDWPRUHULJRURXVHYDOXDWLRQVRI
     7+(:,71(66,FDQ WVD\WKDW, P                   WKHVDIHW\RIHQGRFULQHDQGVXUJLFDOSURWRFROVDUH
     IDPLOLDUZLWKDOOFOLQLFDOWULDOVWKDWKDYHHYHU                    QHHGHG"
     KDSSHQHGVRWKDW VQRWDVWDWHPHQW,FDQDQVZHU                   $,ZRXOGDJUHHWKDWWKDW VDQLPSRUWDQWJRDOIRU
     %<$77251(<%$5+$0                                                 DOOWUHDWPHQWV\HV
     4<RX UHQRWDZDUHRIDQ\WKRXJK"                           4'R\RXDJUHHWKDWEHFDXVHDVWKH(QGRFULQH
     $,GRQ WNQRZZKDWLVPHDQWE\3KDVH,DQGZKDW             6RFLHW\LQGLFDWHGKHUHWKDWWKHVHHYDOXDWLRQVDUH
     VSHFLILFDOO\LVUHJLVWHUHGZLWKWKH)'$IRUWKHLU                   QHHGHGLQWKHIXWXUHWKDWWKLVWKDWWKH\KDYHQRW
     SXUSRVHVYHUVXVWKHFRSLRXVQXPEHUVRIFOLQLFDOWULDOV              EHHQGRQH\HW"
     WKDWKDYHKDSSHQHG                                                 $:HOOWKLVLVSXEOLVKHGLQ7KHUHDUH
     4$UH\RXDZDUHRIDQ\FOLQLFDOWULDOVLQWKH                RQJRLQJWULDOVWKDWDUHKDSSHQLQJQRZDQGVRPHWKDW


                                                              3DJH                                                     3DJH
    8QLWHG6WDWHVWKDWKDYHEHHQFRPSOHWHGUHJDUGLQJWKH                   KDYHKDGDWOHDVWSUHOLPLQDU\GDWDSUHVHQWHGDWYDULRXV
    VDIHW\RIXVLQJSXEHUW\EORFNHUVIRUJHQGHUG\VSKRULD"                 PHHWLQJVWKDWKDYHORRNHGDWVRPHRIWKHVH
    $77251(<%/2&.2EMHFWLRQWRIRUP                     46RWKHLVVXHKHUHLVWKHSURORQJGHOD\RI
    7+(:,71(66<HDK, PQRWVXUHKRZ,                  SXEHUW\<RXZRXOGDJUHHWKDWLW VTXLWHGLIIHUHQWIURP
    FDQDQVZHUWKDWEHFDXVH, PQRWDZDUHRIDOORIWKH                    WUHDWLQJLQGLYLGXDOVZLWKSUHFRFLRXVSXEHUW\
    WULDOVWKDWKDYHRFFXUUHG                                             &RUUHFW"
    $77251(<%/2&.&RXQVHOFDQZHKDYHD                 $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    GLVFXVVLRQDERXWWKHVFRSHRIWKLVGHSRVLWLRQ", P                    VFRSH
    KDSS\WRKDYHLWRIIWKHUHFRUG,GRQ WZDQWLWWR                   7+(:,71(66$VDQRQHQGRFULQRORJLVW,
   LQIOXHQFHWKHZLWQHVVDWDOOEXWWKLVLVDUHEXWWDO                  ZRXOGQ WKD]DUGDQRSLQLRQRQWKDW
   ZLWQHVVDGGUHVVLQJVSHFLILFLVVXHVDQGLWVHHPVWKDW                 %<$77251(<%$5+$0
   \RXNQRZWKHUHDUHDORWRITXHVWLRQVWKDWDUHMXVW                  4'R\RXWUHDWLQGLYLGXDOVIRUSUHFRFLRXVSXEHUW\"
   UHDOO\IDURXWVLGHWKHVFRSH6R, GORYHWRKDYHD                  $,GRQRW
   GLVFXVVLRQ                                                           4'R\RXDJUHHZLWKWKH(QGRFULQH6RFLHW\WKDW
   $77251(<%$5+$0, PKDSS\WRJRRIIWKH              WKHUHKDYHQRW\HWEHHQDVWXG\RIKRZWKHSURORQJHG
   UHFRUG                                                               GHOD\RISXEHUW\DIIHFWVERQHKHDOWK"
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH              $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   FXUUHQWWLPHUHDGVSP                                          VFRSH
   2))9,'(27$3(                                                         7+(:,71(66,GRQ WNQRZLI,FDQ
                                           DQVZHUWKDWLQWKHPRVWDFFXUDWHZD\,NQRZ, YHVHHQ
    :+(5(8321$12))5(&25'',6&866,21:$6+(/'                        SUHOLPLQDU\GDWDSUHVHQWHGDWYDULRXVPHHWLQJVDERXW
                                           LPSDFWVRQERQHKHDOWKEXW, PQRWDVIDPLOLDUZLWKWKH
   219,'(27$3(                                                          HQGRFULQHOLWHUDWXUHDV,DPZLWKWKHPHQWDOKHDOWK
   9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH                OLWHUDWXUH


                                                                                               3DJHVWR
                                                                                                              Armistead App. 0959
                                                  3DJH                                                                      3DJH
    %<$77251(<%$5+$0                                             $:KDW,ZRXOGVD\WKLVZDVSXEOLVKHGLQDQG
    4'R\RXDJUHHWKDWWKHUHKDVQRW\HWEHHQDVWXG\       VRZHZRXOGZDQWWRXSGDWHVLQFHWKHQDERXWDQ\
    RQWKHSURORQJHGHIIHFWRIWKHSURORQJHGGHOD\RI           OLWHUDWXUHVLQFHWKHQRQWKHVHSRWHQWLDOULVNV:KDW,
    SXEHUW\DIIHFWLQJJRQDGDOIXQFWLRQ"                             ZDQWWRGRLVPDNHVXUHWKDWWKHHQGRFULQRORJLVWRUWKH
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG           DGROHVFHQWPHGLFLQHVSHFLDOLVWZKRHYHULWLVWKDWLV
    VFRSH                                                          SUHVFULELQJWKHVSHFLILFWUHDWPHQWNQRZVKRZWRKDYH
    7+(:,71(666DPHDQVZHUDVWRWKHODVW         WKRVHGLVFXVVLRQVEDVHGRQWKHSV\FKLDWULFQHHGVRIWKH
    RQH                                                            SDWLHQWVWKDW, PVHHLQJ
    %<$77251(<%$51+$0                                            4/HW VWXUQWRLQWKLVGRFXPHQW7KH
   4$QGWKDWLVWKHVDPHDVIHUWLOLW\"                    (QGRFULQH6RFLHW\LQGLFDWHVWKDWWKHWDVNIRUFHIROORZHG
   &RUUHFW"                                              WKHDSSURDFKUHFRPPHQGHGE\WKHJUDGLQJRI
   $7KHUHKDVEHHQPRUHVWXG\IHUWLOLW\LQWKRVH          UHFRPPHQGDWLRQVDQGDVVHVVPHQWVGHYHORSPHQWDQG
   SRSXODWLRQV                                                   HYDOXDWLRQJURXS7KHLQWHUQDWLRQDOJURXSZLWK
   4'R\RXDJUHHWKHUHKDVQRW\HWEHHQDVWXG\RQ        H[SHUWLVHLQWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQRI
   KRZWKHSURORQJHGGHOD\RISXEHUW\DIIHFWVWKHEUDLQ"          HYLGHQFHEDVHGJXLGHOLQHV'R\RXVHHWKDWLQWKH
   $7KHUHDUHRQJRLQJVWXGLHV                            VHFRQGFROXPQ"
   41RQHFRPSOHWH\HW"                                    $<HV
   $1RQHWKDWKDYHSXEOLVKHGWKXVIDUWKDW, PDZDUH      4$QGLQWKLVGRFXPHQWWKH\LQGLFDWHWKDWWKHXVH
   RIDJDLQ                                                      RIWKHSKUDVHZHUHFRPPHQGDQGWKHQXPEHURQHDUHVWURQJ
   4$QGZKHQ\RXVD\WKHUHDUHRQJRLQJVWXGLHVRI         UHFRPPHQGDWLRQVXVHWKHSKUDVHZHUHFRPPHQG
   ERQHKHDOWKQRQHKDYHSXEOLVKHGVRIDUWKDW\RX UH            UHFRPPHQGDWLRQVXVHWKHSKUDVHRIZHVXJJHVWLQQXPEHU
   DZDUHRI                                                      WZR
   &RUUHFW"                                              ,VWKDWFRUUHFW"
   $,NQRZ,KDYHVHHQGDWDSXEOLVKHGDWYDULRXV          $&RUUHFW


                                                  3DJH                                                                      3DJH
    QDWLRQDODQGLQWHUQDWLRQDOPHHWLQJVVR,FRXOGQRW             46RWKHUHFRPPHQGDWLRQVUHJDUGLQJWKHXVHRI
    DQVZHUWKDWTXHVWLRQDFFXUDWHO\,WKLQNWKLQJVKDYH           SXEHUW\EORFNHUVDUHEDVHGRQORZTXDOLW\HYLGHQFH
    EHHQSXEOLVKHGRQERQHKHDOWKEXW, PQRWIDPLOLDUZLWK        &RUUHFW"
    , PQRWDVIDPLOLDUZLWKWKHHQGRFULQRORJLF                 $77251(<%/2&.2EMHFWLRQWRIRUP
    OLWHUDWXUHDV,DPWKHPHQWDOKHDOWKOLWHUDWXUH                7+(:,71(66:KDW,FDQVWDWHLVKRZ
    4$UH\RXDZDUHRIDQ\VWXGLHVWKDWKDYHEHHQ            WKLVSDUWLFXODUZRUNLQJJURXSZLWKLQWKH(QGRFULQH
    FRPSOHWHGUHJDUGLQJWKHSURORQJHGGHOD\RISXEHUW\              6RFLHW\FKDUDFWHUL]HGLWXVLQJWKHDVVHVVPHQWWRRODQG
    DIIHFWLQJWKHFRJQLWLYHHPRWLRQDOVRFLDODQGVH[XDO           XVLQJWKLVDVVHVVPHQWWRROWKDWLVKRZLWZDVJUDGHGIRU
    GHYHORSPHQW"                                                    WKHVDNHRIWKLVVHWRIJXLGHOLQHV
   $&DQ\RXUHSHDWWKHTXHVWLRQ"                          %<$77251(<%$5+$0
   4$UH\RXDZDUHRIDQ\VWXGLHVWKDWKDYHEHHQ           4:HUH\RXDZDUHRIWKLVZKHQ\RXGUDIWHG\RXU
   FRPSOHWHGUHJDUGLQJWKHSURORQJHGGHOD\RIKRZWKH         UHSRUW"
   SURORQJHGGHOD\RISXEHUW\DIIHFWVWKHFRJQLWLYH              $<HV
   HPRWLRQDOVRFLDODQGVH[XDOGHYHORSPHQW"                      4'R\RXDJUHHRUGLVDJUHHZLWKWKLVDVVHVVPHQWRI
   $7KHUHKDYHEHHQDQXPEHURIVWXGLHVLQFOXGLQJ         WKHTXDOLW\RIWKHHYLGHQFH"
   VWXGLHVWKDWZHKDYHUHIHUHQFHGKHUHWKDWKDYHORRNHGDW       $%DVHGXSRQKRZWKH\GLGLW,ZRXOGDJUHH,Q
   ORQJWHUPSV\FKRVRFLDORXWFRPHVIRUWKHVHNLGV6R            WKHZRUOGRIFKLOGSV\FKLDWU\WKLVLVYHU\FRPPRQ
   FHUWDLQO\VRPHRIWKRVHLWHPVKDYHEHHQORRNHGDWTXLWH        7KHUHLVYHU\OLWWOHWKDWZHKDYHLQWHUPVRIYHU\
   H[WHQVLYHO\6RPHKDYHQRW\HWRUKDYHVWXGLHVWKDWDUH       PDLQVWUHDPVWDQGDUGRIFDUHWUHDWPHQWVWKDWKDVDQ\WKLQJ
   RQJRLQJ                                                       RWKHUWKDQSRRUTXDOLW\RIHYLGHQFHEDVHGXSRQXVLQJ
   4,IWKH(QGRFULQH6RFLHW\LVLQGLFDWLQJWKDWDOO       WKHVHVWDQGDUGV
   RIWKLVLVQHHGHGUHVHDUFKZK\DUH\RXZKDWGR\RX        $77251(<%$5+$0, PJRLQJWRKDQG\RX
   WHOOSDUHQWVDERXWWKHUHODWLYHVDIHW\RISXEHUW\              ZKDWZHZLOOPDUNDV([KLELWDQGWKDWZLOOEH
   EORFNLQJKRUPRQHV"                                             7DE"


                                                                                             3DJHVWR
                                                                                                        Armistead App. 0960
                                                 3DJH                                                             3DJH
    7+(:,71(667KDQNV                           $,GRQRWVHHZKHUHLWVD\VWKDW
    /$:&/(5.:,/.,1621<RX UHZHOFRPH           4"
                                      $<HV
     :KHUHXSRQ([KLELW/DEHORI/XSURQ        4'R\RXNQRZZK\WKHWHVWZDVZHLJKWHGWRZDUGV
    ZDVPDUNHGIRULGHQWLILFDWLRQ                 JLUOV"
                                      $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    %<$77251(<%$5+$0                                            VFRSHDQGIRXQGDWLRQ
    47KLVLVWKHODEHORI/XSURQSKDUPDFHXWLFDO           7+(:,71(66,WZRXOGEHDPHUH
    ODEHOIRU/XSURQ5LJKWDWWKHWRSRISDJHRQHWKLV          VXSSRVLWLRQRQP\HQG
   ODEHOLQGLFDWHVWKDW/XSURQLVDSSURYHGIRUSXEHUW\           %<$77251(<%$5+$0
   EORFNLQJRUGHOD\IRUSUHFRFLRXVSXEHUW\                     4,VLWEHFDXVHSUHFRFLRXVSXEHUW\LVPRUHFRPPRQ
   &RUUHFW"                                             LQJLUOV"
   $7KDWLVFRUUHFW                                     $,ZRXOGGHIHUWRDQHQGRFULQRORJLVWRQWKLV
   4$QGSUHFRFLRXVSXEHUW\LVDKRUPRQDOLPEDODQFH      HSLGHPLRORJ\RIWKDW
   &RUUHFW"                                             4%XWWKHJRDORIXVLQJ/XSURQLQWKLVFRQWH[WLV
   $,WKLQNWKHUH VDSUHFLVHWHUPLQRORJ\IRU            WRKHOSVWHHUWKHERG\LQWRKHDOWK\DQGQRUPDO
   SUHFRFLRXVSXEHUW\WKDWLQYROYHVPRUHWKDQMXVWD             GHYHORSPHQW
   KRUPRQDOLPEDODQFH                                           &RUUHFW"
   4%XWLW VDPDOIXQFWLRQRIKRUPRQDOFRQWUROVLQ       $77251(<%/2&.2EMHFWLRQWRIRUP
   WKHEUDLQ"                                                    VFRSH
   $77251(<%/2&.2EMHFWLRQWRWKHIRUP        7+(:,71(66*HQHUDOO\VSHDNLQJ,ZRXOG
   7+(:,71(660\XQGHUVWDQGLQJDVD            DJUHHZLWKWKDW
   QRQHQGRFULQRORJLVWLVWKDW VLQLWLDWLRQRISXEHUW\PXFK      %<$77251(<%$5+$0
   HDUOLHUWKDQDQWLFLSDWHGRUH[SHFWHGEDVHGXSRQWKH           43UHVFULELQJ/XSURQRURWKHU*Q5+IRUJHQGHU


                                                 3DJH                                                             3DJH
    KLVWRU\RIWKHIDPLO\                                         G\VSKRULDGLVUXSWVKRUPRQHVDQGGHYHORSPHQWVDWDQHDUO\
    %<$77251(<%$5+$0                                            VWDJH
    46R/XSURQLVLQVSHFWHGDQGDSSURYHGE\WKH)'$        &RUUHFW"
    IRUVDIHW\DQGHIILFDF\IRUSUHFRFLRXVSXEHUW\QRWIRU         $77251(<%/2&.2EMHFWLRQWRWKHIRUP
    DOORWKHUSRVVLEOHXVHV                                       DQGVFRSH
    &RUUHFW"                                              7+(:,71(66$JDLQDVDPHQWDOKHDOWK
    $&RUUHFW                                              SURIHVVLRQDOWKLVZRXOGEHRXWVLGHRIP\DUHDRI
    4$QG/XSURQZDVWHVWHGRQO\IRUGHOD\LQJSXEHUW\       H[SHUWLVHWRFRPPHQWRQWKDW
    XSXQWLOWKHQRUPDODJHRISXEHUW\                            %<$77251(<%$5+$0
   &RUUHFW"                                             4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW
   $77251(<%/2&.2EMHFWLRQWRIRUP            LQFOXGHVERQHJURZWKVXFKDVKHLJKW"
   7+(:,71(66, PQRWIDPLOLDUZLWKWKH        $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   OLWHUDWXUHWKDWZDVXVHGIRUJDLQLQJWKH)'$DSSURYDO         VFRSH
   IRUWKLVLQGLFDWLRQ                                          7+(:,71(66<HV,ZRXOG
   %<$77251(<%$5+$0                                           %<$77251(<%$5+$0
   4,I\RXWXUQWRVHFWLRQ\RX OOVHH         4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW
   WKDWLWVD\VWKDWWKLV/XSURQZDVWHVWHGIRUPRQWKO\      FDQLQFOXGHERQHVWUHQJWKHQLQJ"
   DGPLQLVWUDWLRQRQPDOHVDQGIHPDOHV                     $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   ,VWKDWFRUUHFW"                                     VFRSH
   $7KDWLVFRUUHFW                                     7+(:,71(666SHFLILFVRIWKDWTXHVWLRQ
   4$QGRQWKHQH[WSDJH\RX OOVHHLWZDVWHVWHG        DUHUHDOO\RXWVLGHRIP\VFRSHRIXQGHUVWDQGLQJLQWKH
   IRUWKUHHPRQWKVDGPLQLVWUDWLRQRQPDOHVDQG             SUDFWLFHWKDW,KDYH
   IHPDOHV                                                      %<$77251(<%$5+$0
   ,VWKDWFRUUHFW"                                     4%XWLQJHQHUDO\RXZRXOGDJUHHWKDWERQHVJHW



                                                                                        3DJHVWR
                                                                                                       Armistead App. 0961
                                                  3DJH                                                          3DJH
    VWURQJHUGXULQJSXEHUW\HVSHFLDOO\IRUPHQ"                    EHHQGHOD\HG
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG           4%XWWKHLUGHYHORSPHQWLQWKDWUHJDUGLVQRW
    VFRSH                                                          FRQWHPSRUDQHRXVZLWKWKHLUSHHUV
    7+(:,71(660\XQGHUVWDQGLQJLVWKDW           &RUUHFW"
    WKHSURFHVVRIERQHKHDOWKLVDTXLWHG\QDPLFQRW              $77251(<%/2&.2EMHFWLRQWRIRUP
    VWDWLFQRUELQDU\SURFHVVVRLW VPRUHFRPSOLFDWHGWKDQ        7+(:,71(66,QP\VSHFLILFK\SRWKHWLFDO
    ,IHHOWKDW,FDQDQVZHUWKDWTXHVWLRQWR                      VRPHRIWKHLUGHYHORSPHQWLVJRLQJWREHFRQWHPSRUDQHRXV
    %<$77251(<%$5+$0                                             ZLWKWKHLUSHHUV6RPHRILWZLOOQRWEH
    4%XWGRERQHVJHQHUDOO\JHWVWURQJHUDVSXEHUW\         $77251(<%$5+$0, PJRLQJWRVKRZ\RX
   SURJUHVVHV"                                                    ZKDWZHZLOOPDUNDV([KLELW7KLVZLOOEH7DE
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG          
   VFRSH                                                          :KHUHXSRQ([KLELW3XEHUW\%ORFNHUV
   7+(:,71(66$JDLQ,WKLQNLW VDPRUH        'RFXPHQWPDUNHGIRULGHQWLILFDWLRQ
   FRPSOLFDWHGDQVZHUWKDQD\HVRUDQREXW, PQRW         
   %<$77251(<%$5+$0                                            7+(:,71(66&DQ,DVNDFODULI\LQJ
   4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW      TXHVWLRQLWLVHDVWFRDVWWLPHQRWFHQWUDO
   LQFOXGHVEUDLQGHYHORSPHQW"                                    $77251(<6:$0,1$7+$1<HV
   $<HV                                                  /$:&/(5.:,/.,16217DE
   4(DFKRIWKHVHWKLQJVKDYHVWRSSHGRUGHFUHDVHG        %<$77251(<%$5+$0
   E\WKHDGPLQLVWUDWLRQRISXEHUW\EORFNHUV                     47KLVGRFXPHQWLVDKDQGRXWRULW VIURPWKH
   &RUUHFW"                                              , PJRLQJWREXWFKHUWKHQDPH'RHUQEHFKHU
   $,GRQ WWKLQNZHFDQVD\WKDWLW VEHHQVWRSSHG       &KLOGUHQ V+RVSLWDODW2+68IURPWKHLUJHQGHUFOLQLFDQG
   RUGHFUHDVHG7KHUH VQRWDWHUPGHFUHDVLQJEUDLQ             DERXWSXEHUW\EORFNHUVGRFXPHQW$WWKHERWWRPRISDJH
   GHYHORSPHQWWKDWKDVEHHQVWXGLHGRUUHIHUUHGWRLQWKH        WKUHHWKLVGRFXPHQWLQGLFDWHVWKDWUHVHDUFKHUVKDYHQRW


                                                  3DJH                                                          3DJH
    OLWHUDWXUHDV, PDZDUHRILW                                  ILQLVKHGVWXG\LQJKRZVDIHSXEHUW\EORFNHUVDUHLQWKH
    46ORZHUEUDLQGHYHORSPHQW"                              ORQJWHUP
    $77251(<%/2&.2EMHFWLRQWRIRUP              'R\RXDJUHHZLWKWKDW"
    7+(:,71(666ORZHULVQ WDZRUGWKDW           $<HDK,ZRXOGDJUHHZLWKWKDW
    , YHXVHGVHHQLQWKHOLWHUDWXUHHLWKHU                       42QWKHQH[WSDJHWKLVGRFXPHQWVD\VWKDWEHFDXVH
    $77251(<75<217UDYLVFDQ\RXVSHDNXS        SXEHUW\EORFNEHFDXVHEORFNLQJSXEHUW\KRUPRQHVFDQ
    MXVWDOLWWOHELWPRUHSOHDVH"                                 ZHDNHQ\RXUERQHVLWLVEHVWWRMXVWWDNHWKHPIRUMXVW
    $77251(<%$5+$0&HUWDLQO\                     WZRRUWKUHH\HDUV
    %<$77251(<%$5+$0                                             'R\RXDJUHHRUGLVDJUHH"
   4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW      $7KDWLVRXWVLGHRIP\VFRSHRIH[SHUWLVH
   DOVRLQFOXGHVSV\FKRVRFLDOGHYHORSPHQWRIDQDGXOW             $JDLQWKLVLVDSXEOLFIDFLQJWKHPRVWOLNH
   LGHQWLW\DVDVH[XDOEHLQJFRQWHPSRUDQHRXVZLWKRQHV           ZHEVLWH,FDQ WEHTXLWHFHUWDLQZKDWWKHFRQWH[WRI
   SHHUV"                                                         WKLVLVEXWWKHLQGLYLGXDOL]HGGLVFXVVLRQV\RX UH
   $,ZRXOGVD\,ZRXOGDJUHHZLWKWKDWDVDQ             KDYLQJZLWKSDWLHQWVDQGIDPLOLHVLVDOZD\VJRLQJWREH
   DGROHVFHQWGHYHORSPHQWDOSURFHVVQRWQHFHVVDULO\DVD         PRUHFRPSOH[WKDQRQHRUWZRVHQWHQFHV
   SXEHUWDOGHYHORSPHQWDOSURFHVV                                4'R\RXH[SHFWWRRIIHUDQ\RSLQLRQLQWKLVFDVH
   4:KDW VWKHZKDW V\RXUGLVWLQFWLRQEHWZHHQ        WKDWSXEHUW\EORFNHUVDGPLQLVWHUHGDFFRUGLQJWR\RXU
   DQDGROHVFHQWSXEHUWDOGHYHORSPHQWH[FXVHPHDQ           JXLGHOLQHVDUHVDIHDQGUHYHUVLEOH"
   DGROHVFHQWGHYHORSPHQWDOSURFHVVDQGDSXEHUWDO                $,GRQ W,JXHVV,GRQ WXQGHUVWDQGWKH
   GHYHORSPHQWDOSURFHVV"                                         TXHVWLRQ,SURYLGHGP\H[SHUWWHVWLPRQ\DQGP\
   $$VDQH[DPSOHIRONVZKRKDYHGHOD\HGSXEHUW\        WHVWLPRQ\LVIRFXVHGRQWKHPHQWDOKHDOWKHIIHFWVRI
   VR\HDUROGVZKR,KDYHVHHQWKDWKDYH\HWWRXQGHUJR       YDULRXVLQWHUYHQWLRQV
   DOOVWDJHVRISXEHUW\QHYHUWKHOHVVGHYHORSDVHQVHRI          42ND\
   LGHQWLW\LQGHSHQGHQWRIWKHIDFWWKDWWKHLUSXEHUW\KDV        'R\RXDQWLFLSDWHVD\LQJDQ\WKLQJDERXWWKH



                                                                                        3DJHVWR
                                                                                                      Armistead App. 0962
                                                  3DJH                                                         3DJH
    UHYHUVLELOLW\RISXEHUW\EORFNHUV"                              $77251(<%/2&.2EMHFWLRQWRIRUP
    $2WKHUWKDQZKDW,KDYHDOUHDG\GLVFXVVHG,            7+(:,71(66$OOULVNVDUHJUDGHGULVN
    GRQ WWKLQNVR                                                 DQEHQHILWVDVZHOODVDOWHUQDWLYHVIRUHDFKLQGLYLGXDO
    4/HW VJRWRWDE,WKLQNWKDW V([KLELW           FKLOG
    $QGRQSDJHDJDLQDERXWWZRWKLUGVGRZQWKHILUVW        %<$77251(<%$5+$0
    FROXPQWKH(QGRFULQH6RFLHW\VD\VZHVWLOOQHHGWR             4%XWLILWKDGDQLUUHYHUVLEOHDIIHFWRQEUDLQ
    VWXG\WKHHIIHFWVRISXEHUW\EORFNLQJKRUPRQHVRQ               GHYHORSPHQWWKDWZRXOGVWLOOEHDVHULRXVFRQFHUQ
    JRQDGDOIXQFWLRQ                                               UHJDUGOHVVRIWKHJUDGDWLRQVWKDWZHZRXOGKDYHWR
    &RUUHFW"                                               FRQVLGHUDQGDGGUHVVLW"
   $<HV                                                  $77251(<%/2&.2EMHFWLRQWRIRUP
   47KDWUHIHUVWRKRUPRQHVHFUHWLRQ                     7+(:,71(667KHUHDUHDQXPEHURI
   &RUUHFW"                                              LQWHUYHQWLRQVWKDWOHDGWRLUUHYHUVLEOHFKDQJHVWKDWDUH
   $+RUPRQHVHFUHWLRQ"                                    EHQHILFLDODQGDUHQRWRIFRQFHUQWRVDIHW\
   48KKXK \HV                                          $77251(<%$5+$0$OOULJKW
   $, PQRWVXUHZKDW\RXPHDQE\WKDW                   'RZHKDYH7DE"
   4*RQDGDOIXQFWLRQUHIHUVWRWKHDFKLHYHPHQWRI         /$:&/(5.:,/.,16217KDWRQH,KDYH
   WKHSURGXFWLRQE\WKHJRQDGVRIIHUWLOHRYDRUVSHUP          $77251(<%$5+$07KLVZLOOEH([KLELW
   &RUUHFW"                                              7DEMXVWWRPDNHLWFRQGXFLYH
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG          
   VFRSH                                                          :KHUHXSRQ([KLELW(QGRFULQH
   7+(:,71(66,FDQ WVSHDNWRWKH              6RFLHW\ V*XLGHOLQHVZDVPDUNHGIRU
   DXWKRU VLQWHQWIRUKRZWKH\XVHGWKDWODQJXDJH,W V         LGHQWLILFDWLRQ
   EURDGHULQVFRSHIURPP\SHUVSHFWLYHWKDQWKDW                
   %<$77251(<%$5+$0                                            %<$77251(<%$5+$0


                                                  3DJH                                                         3DJH
    4'RHVLWLQFOXGHWKHDFKLHYHPHQWRISURGXFWLRQRI       4$QGLI\RXORRNRQDWWKHHQGRIWKH
    IHUWLOHRYDRUVSHUP"                                           GRFXPHQWZKHUHLWVD\VIRUPRUHLQIRUPDWLRQLWVWDWHG
    $7KDWLVDFRPSRQHQW\HV                              WKLVLVDGRFXPHQWIURPWKH1DWLRQDO,QVWLWXWHRI0HQWDO
    4:KDWRWKHUFRPSRQHQWVGR\RXKDYHLQPLQGIRU          +HDOWK
    WKDWWHUP"                                                      &RUUHFW"
    $)RUJRQDGDOGHYHORSPHQWLQFOXGHVVL]HVKDSH          $77251(<%/2&.2EMHFWLRQWRIRUP
    VH[XDOIXQFWLRQLQJ                                             IRXQGDWLRQ
    42QSDJH,ZDQWWRJRWRKDYHZHGRQH           7+(:,71(66,KDYHQRLGHDRIZKDWWKH
    7DE\HW"                                                      FRQWH[WRIWKLVZHEVLWHLVRUZKDWWKLVLVIURP
   $77251(<%$5+$0,ZDQWWRLQWURGXFH           %<$77251(<%$5+$0
   ZKDWZLOOEHPDUNHGDV([KLELWWKLVZLOOEH7DE         4%XWLWJLYHVWKH1DWLRQDO,QVWLWXWHRI0HQWDO
   7KHVHDUH(QGRFULQH6RFLHW\JXLGHOLQHVIURP              +HDOWK VZHEVLWH
   /$:&/(5.:,/.,1621,GRQ WWKLQN,           ,VWKDWFRUUHFW"
   KDYHWKDW                                                     $,WGRHV
   $77251(<%$5+$00D\EHZHGR                  4$QGLWVD\VIRUPRUHLQIRUPDWLRQ\RXFDQHPDLO
   /$:&/(5.:,/.,16216L["                      WKH1DWLRQDO,QVWLWXWHRI0HQWDO+HDOWKHPDLODGGUHVV
   $77251(<%$5+$08KKXK \HV                  &RUUHFW"
   /$:&/(5.:,/.,16218KXK QR                $7KDWLVFRUUHFW
   %<$77251(<%$5+$0                                            4$QGWKDW VDSDUWRIWKH1DWLRQDO,QVWLWXWH
   4:HZLOOJREDFNWR7DEWKHQ([KLELW:RXOG      5LJKW"
   \RXDJUHHWKDWLIWKHDGPLQLVWUDWLRQIRUSXEHUW\               $,WLV
   EORFNHUVIRUJHQGHUG\VSKRULDKDVLUUHYHUVLEOHHIIHFWV         4$QGWKHFLWDWLRQVLW VGUDZLQJIURPDUWLFOHVLQ
   RQEUDLQGHYHORSPHQWWKDWZRXOGEHDVHULRXVVDIHW\           DQG
   SUREOHP"                                                       &RUUHFW"


                                                                                       3DJHVWR
                                                                                                        Armistead App. 0963
                                                  3DJH                                                           3DJH
    $7KDWLVFRUUHFW                                      &RUUHFW"
    42QSDJHRQHLQWKHPLGGOHFROXPQWKHDUWLFOH         $,IWKDW VZKDWLWVD\V\HV
    GHVFULEHVJUD\PDWWHUDWWKHWKLQNLQJSDUWRIWKHEUDLQ       4'R\RXNQRZKDYH\RXFRQGXFWHGDQ\VWXGLHV
    'R\RXDJUHHZLWKWKDWGHVFULSWLRQ"                   WRGHWHUPLQHWKHHIIHFWRIDGPLQLVWHULQJSXEHUW\
    $,ZRXOGGHVFULEHLWDVDJURVV                        EORFNHUVGXULQJWKHRUGLQDU\\HDUVRISXEHUW\DQGKRZ
    PLVFKDUDFWHUL]DWLRQRIWKHFRPSOH[LW\RIWKHEUDLQ            WKDWZRXOGLPSDFWWKHRUGLQDU\GHYHORSPHQWRIEUDLQ
    4:KDWLV\RXUXQGHUVWDQGLQJRIWKHIXQFWLRQRI         PDWWHULQWKHEUDLQRIDFKLOG"
    WKHJUD\PDWWHU"                                               $,KDYHQRWEXWLWNLQGRIVRXQGVOLNHWKDWLV
    $7KDWLVRQHHOHPHQWRILW,WKLQNLWLVDORW       FRQIODWLQJWKLVDVDVWXG\ZKLFKLVGHILQLWHO\QRW
   RIQXDQFH,JXHVVLVWKHZRUGWKDW, PORRNLQJIRU          41R, PMXVWDVNLQJLI\RXKDGFRQGXFWHGDQ\
   ,W VQRWFKDUDFWHUL]HGE\WKDWPXFKRIDSLWK\SKUDVH        VXFKVWXGLHV"
   QRWRIDQHXURSDWKRORJLVW                                    $,KDYHQRW
   47KHDUWLFOHWDONVDERXWDVHFRQGZDYHRI             4$UH\RXDZDUHRIDQ\VXFKVWXGLHV"
   SURGXFWLRQLQJUD\PDWWHUWKDWSHDNVDURXQGDJHLQ         $7KHUHDUHVWXGLHVWKDWDUHRQJRLQJQRZ
   JLUOVDQGLQER\V$QGWKHDUWLFOHUHIHUVWRWKDWDV      47KDWDUHRQJRLQJ
   MXVWSULRUWRSXEHUW\,QWHUPVRI7DQQHUVWDJHVWKDW        $77251(<%$5+$02ND\
   ZRXOGEHDURXQG7DQQHUIRUPRVWER\VDQGJLUOVZRXOG       , PJRLQJWRVKRZ\RXZKDWZHPDUNHGDV
   LWQRW"                                                       ([KLELWWKLVZLOOEH7DE
   $7KDWZRXOGEH7DQQHU6WDJH                        
   47KDWZRXOGEH7DQQHU6WDJH%XWE\RU        :KHUHXSRQ([KLELW$UWLFOHE\
   \RXKDYHDOUHDG\E\DJHLVKLQER\VLW VW\SLFDO      %ODNHPRUHHWDOZDVPDUNHGIRU
   IRUSXEHUW\EORFNHUVWRKDYHEHHQDGPLQLVWHUHG               LGHQWLILFDWLRQ
   &RUUHFW"                                             
   $7RXVHWKHODQJXDJHRIWKLVDUWLFOHWKH             %<$77251(<%$5+$0


                                                  3DJH                                                           3DJH
    GLIIHUHQFHVLQ7DQQHUVWDJHVLVFDXVHGE\WKHTXRWH          47KLVLVDQDUWLFOHE\%ODNHPRUHHWDO
    VXUJLQJVH[KRUPRQHVQRWWKHRWKHUZD\DURXQG6RLW V        SXEOLVKHGLQ7KH5ROHRI3XEHUW\LQWKH'HYHORSLQJ
    QRWDERXWDJHEXWLW VWKHH[SRVXUHWRKRUPRQHVWKDW          $GROHVFHQW%UDLQ2QSDJHWKHDUWLFOHVWDWHVWKH
    FDXVHVWKH7DQQHUVWDJHVWRGHYHORS                           DJHVDWZKLFKWKHVHSHDNVLQJUD\PDWWHUYROXPHZHUH
    4+DYH\RXPDGHDVWXG\\RXUVHOIDERXWWKHWLPLQJ       REVHUYHGFRUUHVSRQGWRWKHVH[XDOO\GLPRUSKLFDJHV
    RIEUDLQJUD\PDWWHUGHYHORSPHQWDQGWKHSXEHUW\               JRQDGDUFKH, PPLVSURQRXQFLQJWKDWRQVHWZKLFK
    KRUPRQHVLQFDXVLQJWKDWGHYHORSPHQW"                          VXJJHVWVSRVVLEOHLQWHUDFWLRQVEHWZHHQSXEHUW\KRUPRQHV
    $,KDYHQRW                                           DQGJUD\PDWWHUGHYHORSPHQW
    4'R\RXKDYHDQ\UHDVRQWRGRXEWWKHWLPLQJDQG        'R\RXDJUHHRUGLVDJUHHZLWKWKDWVWDWHPHQW"
   QDWXUHRIGHYHORSPHQWDVVHWRXWLQWKLV1DWLRQDO             $, PQRWVHHLQJZKHUH\RX UHUHIHUULQJWRWKLV
   ,QVWLWXWHRI+HDOWKSXEOLFDWLRQ"                              42QSDJHILUVWFROXPQULJKWDERYHWKHUROH
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG         RISXEHUW\LQJUD\PDWWHUGHYHORSPHQW"
   IRXQGDWLRQ                                                   $$VVWDWHGLQWKLVVWXG\WKHFKDQJHVZHUH
   7+(:,71(66,RQO\KDYHWKHFRQWH[WRI       REVHUYHGWRFRUUHVSRQGWRWKHDJHVZKLFKVXJJHVW
   WKLVDUWLFOHWKDW\RX YHSXWLQIURQWRIPHIRUWKH           SRVVLEOHLQWHUDFWLRQV,KDYHQRREMHFWLRQWRWKHLGHD
   ILUVWWLPHDQGLQWKLVDUWLFOHWKH\GHVFULEHWKHEUDLQ        WKDWWKHUHDUHSRVVLEOHLQWHUDFWLRQVEHWZHHQSXEHUW\
   FKDQJHVMXVWKDSSHQLQJSULRUWRSXEHUW\ZKLFKLVSULRU       KRUPRQHVDQGJUD\PDWWHUGHYHORSPHQWEXWDJDLQRXWVLGH
   WRZKHQZHZRXOGEHLQLWLDWLQJDQ\LQWHUYHQWLRQV              WKHILHOGRIP\H[SHUWLVH
   PHGLFDOO\                                                    42ND\
   %<$77251(<%$5+$0                                           ,WDOVRUHIHUVWRRWKHU05,VWXGLHVVKRZLQJD
   4$QGLWVD\VWKRXJKWKDWLWLVSRVVLEO\WKH           JUDGXDOHPHUJHQFHRIVH[XDOGLPRUSKLVPVDFURVVSXEHUW\
   WKLFNHQLQJSHDNVDURXQGRUGHSHQGLQJRQJLUOVDQG      'R\RXNQRZZKDWVH[XDOGLPRUSKLVPRIWKHEUDLQPHDQV"
   ER\VDQGWKDW VSRVVLEO\UHODWHGWRWKHLQIOXHQFHRI          $,GR
   VXUJLQJVH[KRUPRQHV                                         4:KDWGRHVLWPHDQ"



                                                                                        3DJHVWR
                                                                                                     Armistead App. 0964
                                                 3DJH                                                          3DJH
    $'LIIHUHQFHVWKDWDUHPHDVXUDEOHEHWZHHQIRONV         $,W\SLFDOO\XVHODQJXDJHWKDWLVPRUHVLPLODUWR
    DVVLJQHGIHPDOHDQGIRONVDVVLJQHGPDOHDWELUWKLV            KRZWKH\DFWXDOO\GHVFULEHGLWLQWKLVDUWLFOHZKLFKLV
    W\SLFDOO\KRZWKDWLVGHVFULEHG                               WRVD\WKDWLWPD\KDYHXQNQRZQHIIHFWVRQEUDLQ
    42QWKHILUVWSDJHRIWKLVGRFXPHQWLWVD\V            GHYHORSPHQW
    WKURXJKRXWDGROHVFHQFHWKHUHDUHFKDQJHVLQWKH                42ND\
    VWUXFWXUHDQGIXQFWLRQRIWKHEUDLQVH[XDOGLPRUSKLVP         $77251(<%$5+$0/HW VJRWR7DE
    LQPDQ\RIWKHVHFKDQJHVVXJJHVWSRVVLEOHUHODWLRQVKLSV        ZKLFKZHKDYHDOUHDG\ORRNHGDWDQGWKDWLV([KLELW
    WRSXEHUW\                                                    /$:&/(5.:,/.,1621([KLELW
    7KLVDUWLFOHLVVD\LQJWKDWWKHDYDLODEOH             %<$77251(<%$5+$0
   HYLGHQFHVXJJHVWVVH[OLQNVSXEHUW\KRUPRQHVWRSOD\D        4([KLELW"
   UROHLQVWLPXODWLQJEUDLQGHYHORSPHQWGR\RXDJUHH"          $77251(<*5((17UDYLVWKLVLV5REHUWD
   $77251(<%/2&.2EMHFWLRQWRIRUP            *UHHQ, PVRUU\WRLQWHUUXSW,ZRQGHUHGLI\RX
   7+(:,71(66&HUWDLQO\,DJUHHWKDW           ZRXOGQ WPLQGNHHSLQJ\RXUYRLFHXS, PMXVWKDYLQJ
   H[SRVXUHWRVH[KRUPRQHLVDSDUWRIEUDLQGHYHORSPHQW        WURXEOHKHDULQJ1RGRXEWLW VPHEXWLW GEHJUHDW
   IRUDOOSHRSOH:HNQRZOHVVDERXWWKHGHYHORSLQJEUDLQ      7KDQN\RX
   IRUWUDQVJHQGHU\RXWK                                        $77251(<%$5+$0,WPD\DOVREHZKHUH
   %<$77251(<%$5+$0                                           , PORFDWHGLQWKHURRPEXW, PJHWWLQJLWIURPHQRXJK
   4'R\RXDJUHHWKLVLQFOXGHVDDVSHFWVRIEUDLQ        SHRSOHVR,DSSUHFLDWHWKHUHPLQGHU
   GHYHORSPHQWWKDWGLIIHUEHWZHHQKHDOWK\PDOHVDQG             9,'(2*5$3+(5&RXQVHOGLG\RXVD\
   KHDOWK\IHPDOHV"                                              ([KLELW
   $77251(<%/2&.2EMHFWLRQDVWRIRUP         $77251(<%$5+$0([KLELW
   7+(:,71(66,GRQ W,KDYHQ WVHHQ        %<$77251(<%$5+$0
   DQ\OLWHUDWXUHWKDWVSHDNVWRWKDWVSHFLILFTXHVWLRQ         43DJHWZRDWWKHWRSUHIHUVWRWKHJUD\PDWWHU
   %<$77251(<%$5+$0                                           RUWKHZKLWHPDWWHUDQGKRZUHVHDUFKSXUSRUWVDZDYH


                                                 3DJH                                                          3DJH
    42ND\                                                 RIZKLWHPDWWHUJURZWKWKDWEHJLQVDWWKHIURQWRIWKH
    /HW VJREDFNWR([KLELWSDJH"                EUDLQLQHDUO\FKLOGKRRGPRYHVWRWKHVLGHDIWHU
    $77251(<%/2&.:KDWSDJHZDVWKDW            SXEHUW\VWULNLQJJURZWKVSXUWVFDQEHVHHQIURPDJH
    &RXQVHO"                                                       WRLQDUHDVFRQQHFWLQJEUDLQUHJLRQVVSHFLDOL]HGIRU
    $77251(<%$5+$0                         ODQJXDJHDQGXQGHUVWDQGLQJVSHFLDOUHODWLRQVKLSV$JHV
    %<$77251(<%$5+$0                                            DQGDUHVRUWRIWKHKHDUWDQGFHQWHURI
    48QGHUWKHKHDGLQJVLGHHIIHFWVWKHDUWLFOH           SXEHUW\
    LQGLFDWHVWKDWWKHSULPDU\ULVNRISXEHUWDOVXSSUHVVLRQ        &RUUHFW"
    LQ*'JHQGHULQFRQJUXHQWDGROHVFHQWVPD\LQFOXGH             $77251(<%/2&.2EMHFWLRQWRIRUP
   HOOLSVHVXQNQRZQHIIHFWVRQEUDLQGHYHORSPHQWGR\RX        7+(:,71(66,WGHSHQGVXSRQWKHFKLOG
   VHHWKDW"                                                     %<$77251(<%$5+$0
   $,VHHWKDW                                          4,QJHQHUDO"
   4$QGLQWKHILUVWFROXPQRILQGLFDWHVWKDW       $77251(<%/2&.6DPHREMHFWLRQ
   DQLPDOGDWDVXJJHVWVWKHUHPD\EHHIIHFWVRI*Q5+             7+(:,71(66,GRQ WZDQWLWWREHOLNH
   DQDORJVRQFRJQLWLYHIXQFWLRQ                                , PSDUVLQJWKLVRXWEXWLW VUHDOO\LPSRUWDQW:H
   'R\RXVHHWKDW"                                     FDQ WDSSO\SRSXODWLRQEDVHGGDWDRQWRDQLQGLYLGXDODQG
   $,VHHWKDW                                          PDNHFRQFOXVLRQVDERXWLW
   4&RJQLWLYHIXQFWLRQPHDQVWKHDELOLW\WRWKLQN       %<$77251(<%$5+$0
   &RUUHFW"                                             4%XWZHFDQDVVHVVSRSXODWLRQEDVHGGDWDDVWR
   $7KDWLVRQHDVSHFWRIFRJQLWLYHIXQFWLRQLQJ         ZKHQSXEHUW\LVJHQHUDOO\RFFXUULQJDQGJHQHUDOO\LW V
   4'R\RXWHOOSDUHQWVDQGSDWLHQWVWKDWWKH            RFFXUULQJDURXQGWKHDJHVRIWR"
   (QGRFULQH6RFLHW\KDVLQGLFDWHGWKDWWKHUHDUHXQNQRZQ        $,ZRXOGDJUHHZLWKWKHVWDWHPHQWWKDWSXEHUW\LV
   HIIHFWVRQEUDLQGHYHORSPHQWUHODWHGWRWKHXVHRI            JHQHUDOO\RFFXUULQJZLWKLQWKRVHDJHUDQJHV\HV
   SXEHUW\EORFNLQJKRUPRQHV"                                    4$QGWKDWLVDOVRDSSUR[LPDWHO\ZKHQSXEHUW\


                                                                                       3DJHVWR
                                                                                                              Armistead App. 0965
                                                  3DJH                                                                3DJH
    EORFNLQJKRUPRQHVDUHEHLQJSUHVFULEHG                         4+DYH\RXPDGHDQ\V\VWHPDWLFVWXGLHVRIVXLFLGH
    ,VWKDWWUXH"                                          DPRQJWKHWKRXVDQGVWUHDWHGDWWKH/XULH&KLOGUHQ V
    $,WGHSHQGVXSRQWKHLQGLYLGXDO                        +RVSLWDOKHUHLQ&KLFDJR"
    4%XWJHQHUDOO\DURXQGDJHLVZKDW\RX                $,KDYHDVWXG\RQJRLQJ
    LQGLFDWHGHDUOLHU                                              4+DVWKDWVWXG\JHQHUDWHGDQ\SUHOLPLQDU\UHVXOWV
    &RUUHFW"                                               \HW"
    $,WUHDOO\GHSHQGVXSRQWKHLQGLYLGXDO7R             $,WKDVQRW
    FODULI\LW VEDVHGXSRQ7DQQHUVWDJHDVRQHHOHPHQW           4+DYH\RXPDGHDQ\V\VWHPLFVWXGLHVRIVXLFLGH
    DJHKDVRQHHOHPHQWSV\FKRVRFLDOIXQFWLRQLQJKDV               DPRQJWKHWKRXVDQGV\RX YHWUHDWHGDWWKH*HQGHU9DULDQW
   DQRWKHUIDPLO\FKRLFHV,W VDFDOFXOXVRIWKHULVNV        <RXWKDQG)DPLO\1HWZRUN"
   EHQHILWVDQGDOWHUQDWLYHVWKDWJXLGHZKHQZHGHFLGHWR         $7KDWLVQRWDFOLQLFDOVHUYLFH
   LQWHUYHQHLIZHGHFLGHWRLQWHUYHQH                           4$UH\RXDZDUHWKDWVXLFLGHIRUDQ\UHDVRQLV
   46R\RXZRXOGDJUHHWKDWDWHHQDJHEUDLQDQG           H[WUHPHO\UDUHDPRQJFKLOGUHQ\RXQJHUWKDQ"
   FRJQLWLYHGHYHORSPHQWDFURVVSXEHUW\LVDYHU\                 $77251(<%/2&.2EMHFWLRQWRIRUP
   FRPSOLFDWHGDUHDDQGRQHWKDW VQRWHDVLO\XQGHUVWRRG         7+(:,71(66,ZRXOGGLVDJUHHZLWKWKDW
   &RUUHFW"                                              DVDVWDWHPHQW,W VDPRQJRQHRIWKHWRSFDXVHVRI
   $77251(<%/2&.2EMHFWLRQWRIRUP             GHDWKIRUFKLOGUHQRIDJHVWR
   7+(:,71(66<HVDGROHVFHQWEUDLQ             %<$77251(<%$5+$0
   GHYHORSPHQWLVDFRPSOLFDWHGSKHQRPHQRQIRUVXUH,           4$QGZKDW V\RXUEDVLVIRUVD\LQJWKDW"
   KDYHQRREMHFWLRQWRWKDW                                     $7KH&'&GDWD
   %<$77251(<%$5+$0                                            4'LG\RXFLWHWKDWGDWDLQ\RXUUHSRUW"
   4,VWKDWDQDUHDRI\RXUSURIHVVLRQDOUHVHDUFK         $,GLGQRW
   DQGLQYHVWLJDWLRQ"                                             4<RX UHQRWRIIHULQJDQRSLQLRQWKDW%3-IDFHGD
   $6SHFLILFDOO\RQQHXURVFLHQFHZLWKUHJDUGWR           KLJKVXLFLGHULVNXQOHVVSXWRQSXEHUW\EORFNHUV


                                                  3DJH                                                                3DJH
    DGROHVFHQWGHYHORSPHQWQRLWLVQRW                          &RUUHFW"
    $77251(<%$5+$0/HW VJRWR7DE             $,DPQRW
    7+(:,71(66,QHHGWRWDNHDQRWKHU             4+DVDQ\UHVSRQVLEOHKHDOWKDXWKRULW\RU
    EDWKURRPEUHDN                                                 RUJDQL]DWLRQPDGHDFODLPWKDWWKHXVHRISXEHUW\
    $77251(<%$5+$0/HW VMXVWWDNHDEUHDN        EORFNHUVUHODWHWRVXLFLGH"
    QRZ/HW VJRRIIWKHUHFRUG                                  $77251(<%/2&.2EMHFWLRQWRIRUP
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH        7+(:,71(66,PHDQWKDW VDELJOLVW
    FXUUHQWWLPHUHDGVSP                                    ,GRQ WWKLQNDQ\WKDW, PDZDUHRIKDYHPDGHWKHFODLP
    2))9,'(27$3(                                                   HVSHFLDOO\ZKHQLWFRPHVWRFDXVDWLRQ
                                    %<$77251(<%$5+$0
    :+(5(8321$6+257%5($.:$67$.(1                           4,QSDUDJUDSKRI\RXUUHSRUW\RXUHIHUWR
                                    JHQGHUDIILUPLQJKRUPRQHWKHUDS\DQG\RXPDNHVLPLODU
   219,'(27$3(                                                   VWDWHPHQWVLQSDUDJUDSKVDQG:KDWGR\RX
   9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH         PHDQE\JHQGHUDIILUPLQJKRUPRQHWKHUDS\"
   FXUUHQWWLPHUHDGVSP                                   $7\SLFDOO\VSHDNLQJZKHQ, PUHIHUULQJWR
   %<$77251(<%$5+$0                                            JHQGHUDIILUPLQJKRUPRQHWKHUDS\WKHVHDUHKRUPRQHV
   4$UH\RXDQH[SHUWRQVXLFLGHDQGVXLFLGDOLW\"         WKDWDUHDOLJQHGZLWKWKHJHQGHULGHQWLW\
   $,JXHVV,GRQ WNQRZH[DFWO\KRZWRTXDOLI\WKDW      46RWKDWPHDQVWKHDGPLQLVWUDWLRQRIFURVVVH[
   UHVSRQVH,NQRZPRUHWKDQPRVWSHRSOHDERXWVXLFLGH          KRUPRQHV
   DQGVXLFLGDOLW\\HV                                          ,VWKDWFRUUHFW"
   4+DYH\RXPDGHDQ\V\VWHPDWLFVWXG\RIVXLFLGH         $77251(<%/2&.2EMHFWLRQWRIRUP
   DPRQJWKHWKRXVDQGVWUHDWHGDWWKH1<8*HQGHUDQG              7+(:,71(66<HDK,PHDQ,WKLQN,
   6H[XDOLW\6HUYLFH"                                             ZRXOGFDOOWKHPJHQGHUDIILUPLQJKRUPRQHV7KDWLVKRZ
   $,KDYHQRW                                           W\SLFDOO\WKH\DUHUHIHUUHGWRLQWKHOLWHUDWXUH



                                                                                                3DJHVWR
                                                                                                      Armistead App. 0966
                                                  3DJH                                                         3DJH
    %<$77251(<%$5+$0                                             $,W VDKLJKO\FRPSOLFDWHGTXHVWLRQWKDWGHSHQGV
    46RWKLVPHDQVWKDW\RXZRXOGDGPLQLVWHU                XSRQDORWRIIDFWRUVWKDWDUHDERYHWKHVFRSHRIP\
    WHVWRVWHURQHWRQDWDOIHPDOHV                                  WHVWLPRQ\KHUH$VDQH[DPSOHWKHUHDUHPDQ\DGXOW
    &RUUHFW"                                               WUDQVJHQGHUPHQZKREHFRPHSUHJQDQWGHVSLWHEHLQJRQ
    $77251(<%/2&.2EMHFWLRQWRIRUP              WHVWRVWHURQHIRUPDQ\\HDUV
    7+(:,71(66,SHUVRQDOO\ZRXOGQRW           4$QGZKDWVWXGLHVDUH\RXUHIHUHQFLQJWKDW
    EXW                                                        VXSSRUWWKDWVWDWHPHQW"
    %<$77251(<%$5+$0                                             $, PQRWUHIHUHQFLQJDQ\VWXGLHVWRWKLV, P
    4&URVVVH[KRUPRQHVRUJHQGHUDIILUPLQJKRUPRQHV        UHIHUHQFLQJSHUVRQDOH[SHULHQFHV
   UHIHUVWRWKHDGPLQLVWUDWLRQRIWHVWRVWHURQHWRQDWDO          42ND\
   IHPDOHV                                                       &URVVVH[KRUPRQHVFDQQRWFDXVHDQDGROHVFHQW
   &RUUHFW"                                              WRGHYHORSWKHJHQLWDOLDDVVRFLDWHGZLWKKLVRUKHU
   $2UDVVLJQHGIHPDOHVDWELUWK\HVWKDW V             KLVRUKHUGHVLUHGWUDQVJHQGHULGHQWLW\
   FRUUHFW                                                       &RUUHFW"
   4$QGLWPHDQVWKHDGPLQLVWUDWLRQRIWHVWRVWHURQH       $77251(<%/2&.2EMHFWLRQWRIRUP
   VXSSUHVVLRQRIHVWURJHQIRUQDWDOPDOHV                       7+(:,71(667KDW VFRUUHFW
   &RUUHFW"                                              %<$77251(<%$5+$0
   $77251(<%/2&.2EMHFWLRQWRIRUP             4&URVVVH[KRUPRQHVDOVRFDQQRWDFKLHYHPDOH
   7+(:,71(66$VVLJQHGPDOHDWELUWK           KHLJKWLQDQDWDOIHPDOH
   \HV                                                           &RUUHFW"
   %<$77251(<%$5+$0                                            $77251(<%/2&.2EMHFWLRQWRIRUP
   4<RXPHDQDVVLJQHGPDOHVDWELUWK"                     7+(:,71(66,ZRXOGGHIHUWRP\
   $<HV,VWKDWZKDW,QRWVDLG"6RUU\                HQGRFULQHFROOHDJXHVRQWKDWDQVZHU
   4:KDWLV\RXUUROHLQWKHDGPLQLVWUDWLRQRIFURVV      %<$77251(<%$5+$0


                                                  3DJH                                                         3DJH
    VH[KRUPRQHV"                                                   4&DQFURVVVH[KRUPRQHVFKDQJHWKHKLSDQGOHJ
    $,WGHSHQGVRQWKHFKLOGDQGWKHIDPLO\EXWP\         FRQILJXUDWLRQLQDQDWDOPDOHWRPDWFKWKDWRIDQDWDO
    UROHLVPRVWRIWHQDVDPHQWDOKHDOWKSURIHVVLRQDOZKR          IHPDOH"
    LVHLWKHUGRLQJWKHDVVHVVPHQWRUSURYLGLQJFDUHIRUWKH        $77251(<%/2&.2EMHFWLRQWRIRUP
    FRRFFXUULQJSV\FKLDWULFGLVRUGHUVWKDWDUHSUHVHQWLQ          7+(:,71(66,ZRXOGGHIHUWRP\
    WKDWLQGLYLGXDOFKLOG                                          HQGRFULQHFROOHDJXHVRQWKDWTXHVWLRQ
    4&URVVVH[KRUPRQHVSUHYHQWUDWKHUWKDQHQDEOHDQ       $77251(<%$5+$0/HW VJRWR7DE
    DGROHVFHQWIURPEHFRPLQJFDSDEOHRIUHSURGXFLQJ                 7KLVLVSUREDEO\QHZ
    VH[XDOO\                                                       /$:&/(5.:,/.,1621<HV
   &RUUHFW"                                              $77251(<%$5+$07KLVLVDQDUWLFOHE\
   $77251(<%/2&.2EMHFWLRQWRWKHIRUP         *XVVHWDOLQHQWLWOHG7UDQVJHQGHUDQG*HQGHU
   7+(:,71(667KDW VQRWVRPHWKLQJWKDW,       1RQ&RQIRUPLQJ$GROHVFHQW&DUH7KLVZLOOEH
   FDQDQVZHU7KDW VRXWRIWKHVFRSHRIP\H[SHUWLVH          ([KLELW
   %<$77251(<%$5+$0                                            
   4<RXODFNDQXQGHUVWDQGLQJRIWKHHIIHFWVRI            :KHUHXSRQ([KLELW$UWLFOHE\*XVV
   DGPLQLVWHULQJFURVVVH[KRUPRQHV"                              HWDOZDVPDUNHGIRULGHQWLILFDWLRQ
   $77251(<%/2&.2EMHFWLRQWRIRUP             
   7+(:,71(66,ZRXOGGLVDJUHHZLWKWKDW        %<$77251(<%$5+$0
   VWDWHPHQW                                                     4$UH\RXIDPLOLDUZLWKWKHDXWKRUV"
   %<$77251(<%$5+$0                                            /$:&/(5.:,/.,1621, PVRUU\,JDYH
   46RP\TXHVWLRQLVZKDWLVWKHHIIHFWRI               \RXWKHZURQJRQH+HUHLVWKHULJKWRQH
   DGPLQLVWHULQJFURVVVH[KRUPRQHVRQDQDGROHVFHQW V            7+(:,71(66,NQRZ'U6KXPHU$QGZH
   DELOLW\WRGHYHORSDQGEHFRPHFDSDEOHRIUHSURGXFLQJ           UHDGVRPHWKLQJE\.DW]:LVHHDUOLHU,GRQ WNQRZ&DUO\
   VH[XDOO\"                                                      *XVV


                                                                                       3DJHVWR
                                                                                                       Armistead App. 0967
                                                  3DJH                                                          3DJH
    %<$77251(<%$5+$0                                             LGHQWLILFDWLRQ
    43DJHIRXURIWKLVGRFXPHQWLQGLFDWHVWKDWLID         
    SDWLHQWLVRQFURVVVH[KRUPRQHVLW VLPSRUWDQWWR              %<$77251(<%$5+$0
    UHPLQGWKHPWKDWWKHVLGHHIIHFWVPD\EHLQIHUWLOLW\           4$UH\RXIDPLOLDUZLWKWKLVVWXG\"
    ,VWKDWFRUUHFW"                                       $&HUWDLQO\QRWWKHGHWDLOVRILW7KLVLVWKH
    $:KHUHDUH\RXSRLQWLQJWR"                             ILUVWWLPH, PUHFDOOLQJORRNLQJDWLW
    47KHWRSRISDJHIRXU                                  4$UH\RXDZDUHRIDQ\RWKHUVWXGLHVUHJDUGLQJWKH
    $<HV                                                   DELOLW\RILQGLYLGXDOVWDNLQJFURVVVH[KRUPRQHVWR
    4'R\RXDJUHHZLWKWKDWVWDWHPHQW"                      EHFRPHSUHJQDQW"
   $,DJUHH                                              $7KHUHDUHDQXPEHURIRQJRLQJVWXGLHVWKDWDUH
   4'R\RXNQRZRIDQ\ORQJWHUPVWXGLHVWKDWZLOO        ORRNLQJLQWRWKRVHTXHVWLRQV\HV
   FKDQJHWRZKDWH[WHQWLQIHUWLOLW\FDXVHGE\WDNLQJFURVV       4,I\RXORRNDW7DEOHRQSDJHQXPEHUWKLV
   VH[KRUPRQHVFDQEHUHYHUVHGODWHULQOLIH"                    WDEOHLQGLFDWHVWKHUHZHUHSUHJQDQFLHVDPRQJWKH
   $7KHUHDUHRQJRLQJVWXGLHVQRZEXW, PQRWDZDUH      UHVSRQGHQWVZKRKDYHHYHUXVHGWHVWRVWHURQH
   RIDQ\WKDWKDYHSXEOLVKHGDQ\WKLQJ                           'R\RXVHHWKDW"
   4+DYH\RXVWXGLHGWKHOLWHUDWXUHUHJDUGLQJPHQWDO      $<HV
   KHDOWKSUREOHPVLQDGXOWVUHVXOWLQJIURPVWHULOLW\"            4$QGWKHUHZHUHDPRQJWKRVHZKRKDYHQHYHU
   $77251(<%/2&.2EMHFWLRQWRIRUP             XVHGWHVWRVWHURQH
   7+(:,71(66,GRQ WNQRZZKDW\RXPHDQ        'R\RXVHHWKDW"
   E\VWXGLHG,GRQ WWKLQNSUREDEO\PRUHWKDQDQ\              $,VHHWKDW
   FXUVRU\PDQQHU                                                4%XWRQO\RIWKHVHSUHJQDQFLHVRFFXUUHGDIWHU
   %<$77251(<%$5+$0                                            LQLWLDWLQJWHVWRVWHURQH,VWKDWFRUUHFW"$QG, P
   47KHXVHRIFURVVVH[KRUPRQHVWRDIILUPD             UHIHUHQFLQJSDJHZKHQ,VD\WKDWDWWKHERWWRPRI
   WUDQVJHQGHULGHQWLW\LVDQRIIODEHOXVH                      SDJH


                                                  3DJH                                                          3DJH
    &RUUHFW"                                               $77251(<%/2&.:KHUHLVWKLVRQSDJH
    $77251(<%/2&.2EMHFWLRQWR                    "
    WHUPLQRORJ\                                                    $77251(<%$5+$07KHYHU\ODVWOLQHRQ
    7+(:,71(66,IE\RIIODEHO\RXPHDQ           SDJHH[WHQGLQJRYHURQWRSDJH
    RIIODEHOIRUWKH)'$"                                          7+(:,71(66,VHHRQ7DEOHWKHQXPEHU
    %<$77251(<%$5+$0                                             RISUHJQDQFLHVDIWHULQLWLDWLQJWHVWRVWHURQHZDV
    4<HV                                                   %<$77251(<%$5+$0
    $<HDKDVIDUDV,NQRZ$JDLQ, PQRW                46RWKHRWKHURIWKHSUHJQDQFLHVWHOOXV
    SUHVFULELQJWKHVHPHGLFDWLRQVDVDSV\FKLDWULVW                QRWKLQJDERXWWKHLPSDFWRIWHVWRVWHURQHRQIHPDOH
   4(DUOLHU\RXPHQWLRQHGWKDWVRPHRI\RXU               IHUWLOLW\DQGWKHSRVVLEOHLPSDFWRIELUWKGHIHFWV
   SDWLHQWVVRPHWUDQVVRPHZRPHQQDWDOIHPDOHV          &RUUHFW"
   ZKRLGHQWLI\DVPDOHKDYHEHHQDEOHWREHFRPHSUHJQDQW        $:HOOWKHTXHVWLRQDERXWIHUWLOLW\FHUWDLQO\
   'R\RXUHFDOOWKDWWHVWLPRQ\"                                  GRHVQ WVSHDNWRXVEHLQJDEOHWRXQGHUVWDQGLWPRUH
   $,GLGQRWVD\DQ\WKLQJDERXWP\SDWLHQWV,VDLG      EDVHGXSRQWKHGDWDSRLQWV$QGZLWKRXWUHDGLQJWKH
   WKRVHZHUHSHUVRQDOH[SHULHQFHV                               DUWLFOH,GRQ WNQRZLIWKHDXWKRUVDLGDQ\WKLQJDERXW
   43HUVRQDOH[SHULHQFHV, PVRUU\,DVVXPHGLW       ELUWKGHIHFWV
   ZDVSDWLHQWVVRWKDQN\RXIRUWKDWFRUUHFWLRQ,ZRXOG       42QSDJHLWLQGLFDWHVWKDWRIWKHRU
   OLNHWRVKRZ\RX7DE7KLVLVJRLQJWREHDQDUWLFOH       RIWKHSUHJQDQFLHVWKDWVWDUWHGZKLOHWDNLQJ
   E\0RVHVRQHWDOLQHQWLWOHG3UHJQDQF\                 WHVWRVWHURQHKDOIRIWKHPHQGHGLQPLVFDUULDJH
   ,QWHQWLRQVDQG2XWFRPHVWDEIRUWKRVHDWKRPHDQG          &RUUHFW"
   ([KLELWIRUWKHUHFRUG                                     $<HV
                                     42QHHQGHGLQDERUWLRQDQGRQHZDVQRWUHSRUWHG
    :KHUHXSRQ([KLELW$UWLFOHE\              &RUUHFW"
   0RVHVRQHWDOZDVPDUNHGIRU                $,GRQ WVHHZKHUHWKDWLV


                                                                                        3DJHVWR
                                                                                                     Armistead App. 0968
                                                 3DJH                                                          3DJH
    4,W VWKHVDPHOLQH7ZRRIWKHVHIRXU                %<$77251(<%$5+$0
    SUHJQDQFLHVHQGHGLQPLVFDUULDJHSDUHQWKHVHVRQHHQGHG       47DE([KLELWLVWKH6WHHQVPDDUWLFOH
    LQDERUWLRQLQWKHRXWFRPHDQGWHVWRVWHURQHGXUDWLRQIRU       WKDW\RXFLWHGLQIRRWQRWHRI\RXUUHSRUW
    WKHRWKHUIRXUZHUHQRWUHSRUWHG"                              ,VWKDWFRUUHFW"
    $<HV                                                  $7KDWLVFRUUHFW
    42ND\                                                 4/HW VORRNDW7DEOHRQSDJH$QGLWJLYHV
    $QGWKHUHLVQRGDWDJLYHQRQWKHRWKHURXWFRPH       LQWKHILUVWIRXUFROXPQVLWJLYHVQXPEHUVRQ
    RIWKHRWKHUSUHJQDQFLHV6RWKLVDUWLFOHGRHVQRW         SHUVLVWHQFHDQGGHVLVWDQFHDPRQJWKHVWXG\VXEMHFWV
    GRFXPHQWDVLQJOHOLYHELUWKWRDQDWDOIHPDOHDWDQ\          $QGDERXWKDOIZD\GRZQLWGHOLQHDWHVKRZPDQ\RIWKH
   WLPHDIWHUWDNLQJWHVWRVWHURQH                               SHUVLVWLQJER\VDQGJLUOVDQGGHVLVWLQJER\VDQGJLUOV
   &RUUHFW"                                             KDGDFKLOGKRRGGLDJQRVLVRIJHQGHULGHQWLW\GLVRUGHU
   $77251(<%/2&.2EMHFWLRQWRIRUP$QG       &RUUHFW"
   JLYHKLPDFKDQFHWRUHDGSOHDVH                            $&RUUHFW
   7+(:,71(66,ZRXOGUHDOO\KDYHWRUHDG      4$QGLWDOVREUHDNVGRZQKRZPDQ\ZHUH
   WKHDUWLFOHTXLWHFORVHO\WRDJUHHZLWKWKDW, PQRW        VXEWKUHVKROG, PSUHVXPLQJWKDWPHDQVIRUJHQGHU
   VHHLQJWKHWH[WLQWKLVDUWLFOHWRVXSSRUWWKDW,QWKH      LGHQWLW\GLVRUGHU
   3UHJQDQF\,QWHQWLRQVDQG2XWFRPHVDV, PUHDGLQJLWLW      &RUUHFW"
   GLVFXVVHVZKDWWKHSRWHQWLDORXWFRPHVDUHEXWLWGLGQ W      $7KDWLVFRUUHFW
   SDUVHWKRVHLQWRZKRKDGWHVWRVWHURQHEHIRUHRUDIWHU        46RDFFRUGLQJWR7DEOHRIWKH
   VR, PQRWVXUH                                              SHUVLVWLQJER\VKDGJHQGHULGHQWLW\GLVRUGHU
   %<$77251(<%$5+$0                                           &RUUHFW"
   42ND\                                                $&RUUHFW
   /HWPHVKLIWJHDUVDQGWXUQWRSDUDJUDSKRI       46RWKDWPHDQVDERXWRIWKHSHUVLVWLQJER\V
   \RXUUHSRUW7KHUH\RXLQGLFDWH\RXVWDWHWKDW           KDGWKDWFRQGLWLRQ


                                                 3DJH                                                          3DJH
    WKHUHLVQRHYLGHQFHVXSSRUWLQJ'U/HYLQH VVSHFXODWLRQ       &RUUHFW
    WKDWDOORZLQJSUHSXEHUWDOFKLOGUHQWRVH[XDOO\                 $&RUUHFW
    WUDQVLWLRQSXWVFKLOGUHQRQDFRQYH\RUEHOWWREHFRPLQJ        4$QGDFFRUGLQJWR7DEOHRIWKH
    WUDQVJHQGHUDGROHVFHQWVDQGDGXOWV$QG\RXVD\               SHUVLVWLQJJLUOVKDGWKHVDPHGLDJQRVLVRURIWKH
    HYLGHQFHVKRZVWKDWSUHSXEHUWDOFKLOGUHQZKRDUHOLNHO\        &RUUHFW"
    WRKDYHDVWDEOHWUDQVJHQGHULGHQWLW\LQWRDGROHVFHQFH         $7KDW VFRUUHFW
    DUHWKHFKLOGUHQZKRDUHPRVWOLNHO\WRDUWLFXODWHD           4$QGDFFRUGLQJWRWKHVDPH7DEOHRIWKH
    VWURQJDQGFRQVLVWHQWQHHGWRVRFLDOO\WUDQVLWLRQ             GHVLVWLQJER\VKDGWKDWGLDJQRVLV
    'R\RXVHHWKDW"                                      &RUUHFW"
   $,VHHWKDW                                          $7KDWLVFRUUHFW
   4$QGLQIRRWQRWH\RXFLWHDQDUWLFOHE\            46RWKDW VRIWKH
   6WHHQVPDSXEOLVKHGLQ                                   &RUUHFW"
   ,VWKDWFRUUHFW"                                     $, OOWDNH\RXUZRUGIRUWKHPDWK
   $7KDW VFRUUHFW                                      4:HOO\RXFDQVHHLWRQ([KLELW VLF 2Q
   $77251(<%$5+$0,ZLOOVKRZ\RXZKDW         7DEOHRIWKHGHVLVWLQJJLUOVKDGJHQGHU
   ZH UHJRLQJWRPDUNDV([KLELW7DEDQG,ZLOO        LGHQWLW\GLVRUGHURURIWKH
   DOVRVKRZ\RX7DEZKLFKLV([KLELW                   &RUUHFW"
                                   $&RUUHFW
    :KHUHXSRQ([KLELW$UWLFOHE\             4'R\RXVHHDQ\UHDVRQWRGLVSXWHWKHILJXUHVVHW
   6WHHQVPDZDVPDUNHGIRU                      IRUWKRQ([KLELWRQ7DE([KLELW
   LGHQWLILFDWLRQ                               ([KLELW"
    :KHUHXSRQ([KLELW$QDO\VLVZDV          $1R,KDYHQRUHDVRQWR
   PDUNHGIRULGHQWLILFDWLRQ                    $77251(<6:$0,1$7+$1,WKLQNKHLV
                                   ORRNLQJDWWKHZURQJGRFXPHQW


                                                                                      3DJHVWR
                                                                                                          Armistead App. 0969
                                                  3DJH                                                              3DJH
    %<$77251(<%$5+$0                                             4,QIRRWQRWHRI\RXUUHSRUWSDUDJUDSK\RX
    4, PWDONLQJDERXWWKLV                                FLWHDQDUWLFOHE\5DHVD\LQJIRUWKHSURSRVLWLRQWKDW
    $*RWLW6RWKLVLVDWUDQVSRVLWLRQIURP               VRFLDOO\WUDQVLWLRQLQJEHIRUHSXEHUW\GLGQRWLQFUHDVH
    7DEOH"                                                        FKLOGUHQ VFURVVJHQGHULGHQWLILFDWLRQDQGGHIHUULQJ
    4&RUUHFW                                               WUDQVJHQGHUGLGQRWGHFUHDVHFURVVJHQGHU
    $,PHDQ, PJRLQJWRKDYH                       LGHQWLILFDWLRQ
    $77251(<%/2&.-XVWREMHFWLRQ, P            ,VWKDWFRUUHFW"
    VRUU\FDQZHSXWRQWKHUHFRUGZKDWWKLVGRFXPHQWLV"          $7KDWLVFRUUHFW
    ,VLWDUHSULQWRIZKDW VLQWKH6WHHQVPDRULVLWQHZ          $77251(<%$5+$0$OOULJKW
   DQDO\VLVWKDW"                                             /HW VWXUQWR7DE7KLVZLOOEH
   $77251(<%$5+$0([KLELWLVDQ              ([KLELWDQGLWZLOOEHDQDUWLFOHE\5DHHWDO
   DQDO\VLVRIWKH6WHHQVPDDUWLFOHWKDWLV                  SXEOLVKHGLQ3UHGLFWLQJ(DUO\&KLOGKRRG*HQGHU
   ([KLELW                                                    7UDQVLWLRQV
   $77251(<%/2&.7KDQN\RX$QGLV            $77251(<%/2&.,W VFHQWUDOWLPH
   WKHUHDQDXWKRURIWKHDQDO\VLV"                               6RWKHZLWQHVVKDVWRWDNHDEUHDNDW"
   $77251(<%$5+$0, PVRUU\6D\WKDW          7+(:,71(66,FDQGR
   DJDLQ                                                         
   $77251(<%/2&.,VWKHUHDQDXWKRURI           :KHUHXSRQ([KLELW$UWLFOHE\5DH
   WKLVDQDO\VLV"                                                 HWDOPDUNHGIRULGHQWLILFDWLRQ
   $77251(<%$5+$0<HVLWZDVPH               
   %<$77251(<%$5+$0                                            %<$77251(<%$5+$0
   46RDFFRUGLQJWRWKHILJXUHVWKDWKDYHEHHQ            4([KLELWLVWKHDUWLFOHWKDW\RXFLWHGLQ
   FDOFXODWHGIURPWDEOHRQHRIWKH6WHHQVPDDUWLFOH          IRRWQRWHRI\RXUUHSRUW
   FKLOGUHQRIWKHFKLOGUHQZKRKDGJHQGHULGHQWLW\        ,VWKDWFRUUHFW"


                                                  3DJH                                                              3DJH
    GLVRUGHUSHUVLVWHGDQGGHVLVWHG                         $7KDW VFRUUHFW
    ,VWKDWFRUUHFW"                                       42QSDJHWKHDXWKRULQGLFDWHVWKDW
    $77251(<%/2&.2EMHFWLRQWRJLYHWKH           UHSOLFDWLRQRIWKLVDIIHFWLVPXWHGSUHIHUDEO\IURP
    ZLWQHVVDFKDQFHWRVHHLWRQKLVRZQZKDWWKHILJXUHV          ORQJLWXGLQDOVWXG\FRPSDULQJDVLQJOHJURXSRIFKLOGUHQ
    DUH                                                            EHIRUHDQGDIWHUWUDQVLWLRQ
    7+(:,71(66, PQRWVXUH,XQGHUVWDQG          &RUUHFW"
    ZKDW\RXUTXHVWLRQLV                                          $7KDW VFRUUHFW
    %<$77251(<%$5+$0                                             4$QGWKHDXWKRUVDOVRLQGLFDWHWKDWWKH\WHVWHGD
    42IWKHFKLOGUHQZLWKWKHWKHFKLOGUHQZKR       VDPSOHVNHZHGE\UDFHFODVVSDUHQWDOWKDWHGXFDWLRQ
   KDGDGLDJQRVLVRIJHQGHULGHQWLW\GLVRUGHU                DQGSROLWLFDODIILOLDWLRQWKDWPD\RUPD\QRWDIIHFWWKH
   SHUVLVWHGDQGGHVLVWHG                                     FKLOGUHQWKDWDUHVRFLDOO\WUDQVLWLRQLQJQRZRULQWKH
   ,VWKDWFRUUHFW"                                      IXWXUH
   $,ZRXOGKDYHWRGRWKHPDWKP\VHOIIRUPHWRVD\      &RUUHFW"
   \HVWRWKDWEXWLW VDERXWULJKW                             $7KDWLVFRUUHFW
   46RDFFRUGLQJWR6WHHQVPDILJXUHVRIWKH              4$QGWKH\DOVRLQGLFDWHWKDWIROORZXSRFFXUUHG
   FKLOGUHQZLWKWKHVWURQJHVWWUDQVJHQGHULGHQWLW\DV            RQO\WZR\HDUVDIWHUWHVWLQJDQGVRPHRIWKHFKLOGUHQ
   FKLOGUHQSHUFHQWSHUVLVWHGDQGSHUFHQWGHVLVWHG         ZKRKDGQRWWUDQVLWLRQHGFRXOGWUDQVLWLRQLQWKHIXWXUH
   &RUUHFW"                                              DQGVRPHZKRKDGWUDQVLWLRQHGFRXOGQRWUHYHUWLQWKH
   $77251(<%/2&.2EMHFWLRQWRIRUP             IXWXUH
   7+(:,71(66$JDLQ,ZRXOGKDYHWRUXQ       &RUUHFW"
   WKRVHQXPEHUVP\VHOILQRUGHUWRXQOHVVLW V               $&RUUHFW
   UHIHUUHGWRDOUHDG\LQWKHDUWLFOHEXWWKDWVRXQGV            4$QGWKH\LQGLFDWHGWKDWWKHUHVDPSOHLVOLNHO\
   DERXWULJKW                                                   DQRYHUHVWLPDWHRIKRZPDQ\JHQGHUFRQIRUPLQJFKLOGUHQ
   %<$77251(<%$5+$0                                            LQWKHJHQHUDOSRSXODWLRQZLOOVRFLDOO\WUDQVLWLRQ



                                                                                            3DJHVWR
                                                                                                      Armistead App. 0970
                                                 3DJH                                                          3DJH
    &RUUHFW"                                              SXEHUW\EORFNHUVPD\FRQVROLGDWHJHQGHUG\VSKRULDLQ
    $:KHUHLVWKDWLQWKHDUWLFOH"                         \RXQJSHRSOHSXWWLQJWKHPRQDOLIHORQJSDWKRI
    46HFRQGFROXPQRISDJH                            ELRPHGLFDOLQYHQWLRQ
    $<HV                                                  ,VWKDWFRUUHFW"
    46DPHFROXPQWKH\DOVRLQGLFDWHWKDWWKH\UHOLHG       $77251(<%/2&.2EMHFWLVWRIRUP
    RQDFRQYHQLHQWVDPSOHRILQGLYLGXDOVUHFUXLWHGWKURXJK        7+(:,71(66&DQ\RXVKRZPHZKHUHWKDW
    OLVWVDQGHYHQWVVHUYLQJWUDQVJHQGHUFKLOGUHQDQGJHQGHU       LVRQWKLVSDJH"
    QRQFRQIRUPLQJFKLOGUHQ                                       %<$77251(<%$5+$0
    &RUUHFW"                                              47KHILUVWFROXPQRQWKHVHFRQGSDUDJUDSK7KH
   $7KDWLVFRUUHFW                                     VHFRQGFROXPQ
   4/HW VJREDFNWR7DEZKLFKLV([KLELW          $77251(<75<21-DNHFDQ\RXVFUROO
   3DJHWKH(QGRFULQH6RFLHW\LQGLFDWHVWKDWLI            GRZQDELW"
   FKLOGUHQKDYHFRPSOHWHO\VRFLDOO\WUDQVLWLRQHGWKH\KDYH      7+(:,71(66,ZRXOGQRWDJUHHZLWKKRZ
   P\JUHDWHUGLIILFXOW\UHWXUQLQJWRWKHRULJLQDOJHQGHU        \RXDVNHGWKDWTXHVWLRQ,JXHVV&DQ\RXUHSHDWLWRU
   RQHQWHULQJSXEHUW\                                          FODULI\"
   ,VWKDWFRUUHFW"                                     %<$77251(<%$5+$0
   $7KDW VFRUUHFW,WVD\VLWWKHUHEXWWKDW V        4,MXVWZDVUHDGLQJZKDWLWVDLG7KH\LQGLFDWH
   EDVHGRQVXSSRVLWLRQ                                         LQWKLVVHFWLRQDGGLWLRQDOO\VLQFHDOPRVWDOORIWKH
   4)RRWQRWHUHIHUHQFHQXPEHUVXSSRVLWLRQ      FKLOGUHQWUHDWHGZLWKSXEHUW\EORFNHUVSURFHHGWRFURVV
   UHIHUHQFHQXPEHULVDQDUWLFOHE\6WHHQVPDHW         VH[KRUPRQHVFLWLQJGH9ULHVFRQFHUQVKDYHEHHQ
   DOSXEOLVKHGLQ                                       UDLVHGDWSXEHUW\EORFNHUVPD\FRQVROLGDWHJHQGHU
   $UH\RXVD\LQJWKDWWKDW VDVXSSRVLWLRQ"            G\VSKRULDLQ\RXQJSHRSOHSXWWLQJWKHPRQDOLIHORQJ
   $77251(<%/2&.2EMHFWLRQWRIRUP            SDWKRIELRPHGLFDOLQWHUYHQWLRQV"
   7+(:,71(661R, PVD\LQJWKDWWKH          $,W VELWRIDORJLFDOOHDSDQGDOVRMXVW


                                                 3DJH                                                          3DJH
    SDUWRIWKDWDUWLFOHWKDWUHIHUVWRWKHWKHRUHWLFDOULVN       LQFRUUHFW7KHGH9ULHVVWXG\VSHFLILFDOO\ZDVORRNLQJ
    LVEDVHGQRWRQDQ\GDWDWKDWZDVFROOHFWHGE\WKH             DWWKHFKLOGUHQLQWKH$PVWHUGDPFOLQLFZKLFKLVQRW
    UHVHDUFKHUVLQWKDWVWXG\                                     EURDGO\DSSOLFDEOHWRRWKHUJHQGHUFOLQLFVDFURVVWKH
    %<$77251(<%$5+$0                                            UHVWRIWKHZRUOG
    47KH(QGRFULQH6RFLHW\DOVRLQGLFDWHVWKDWWKH         4%XW\RXUHOLHGXSRQGH9ULHVDUWLFOHLQ
    VRFLDOWUDQVLWLRQKDVEHHQIRXQGWRFRQWULEXWHWRWKH          \RXUUHSRUWDVZHOOGLGQ W\RX"
    OLNHOLKRRGRISHUVLVWHQFH                                     $,DJUHH<HDK
    ,VWKDWFRUUHFW"                                      46RWKHUHDUHSURIHVVLRQDOVZKRKDYHUDLVHGWKHVH
    $7KDWLVDPLVVWDWLQJRI'U6WHHQVPD                 FRQFHUQVDQGKROGWKHFRQFHUQVWKDWVRFLDOWUDQVLWLRQLQJ
   47KDWLVZKDWWKH(QGRFULQH6RFLHW\KDV               FDQQRWFKDQJHWKHRXWFRPHIRUDFKLOG
   FRQFOXGHG                                                    ,VWKDWFRUUHFW"
   &RUUHFW"                                             $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<%/2&.2EMHFWLRQWRIRUP            7+(:,71(66,WKLQNWKHUH VWZR
   7+(:,71(667KDWLVZKDWWKH\KDYH           GLIIHUHQWTXHVWLRQV7KHILUVWTXHVWLRQLVGR,DJUHH
   ZULWWHQKHUHLQWKHDUWLFOH\RXSUHVHQWHG\HV               ZLWKWKLVVWDWHPHQWWKDWDOPRVWDOOFKLOGUHQWUHDWHG
   $77251(<%$5+$0/HW VJRWR7DE           ZLWKSXEHUW\EORFNHUVSURFHHGWRFURVVVH[KRUPRQHV"
   QXPEHU                                                   7KDWLVQRWGDWDWKDWZHKDYHQRUGRHVWKLVDUWLFOH
   /$:&/(5.:,/.,1621([KLELW              SRLQWWRGDWDRWKHUWKDQWKH'XWFKFOLQLFWKDWKDVD
   %<$77251(<%$5+$0                                           YHU\VSHFLILFSURWRFRO
   4([KLELW1XPEHUDQGZHDUHJRLQJWREH            7KHTXHVWLRQDERXWZKHWKHUVRFLDO
   ORRNLQJDWWKHVL[WKSDJHRIWKLVGRFXPHQW$QG'U          WUDQVLWLRQFKDQJHVDFKLOG VWUDMHFWRU\LVDGLIIHUHQW
   ' $QJHORHWDODUWLFOHLQGLFDWHVWKDWVLQFHDOPRVWDOO      TXHVWLRQ,WLVDTXHVWLRQWKDWWKH'XWFKKDYHUDLVHG
   WKHFKLOGUHQWUHDWHGZLWKSXEHUW\EORFNHUVSURFHHGHGWR       DVDSRVVLELOLW\EXWKDVQRW,KDYHQRWVHHQDQ\
   FURVVVH[KRUPRQHVFRQFHUQVKDYHEHHQUDLVHGWKDW             OLWHUDWXUHWKDWSURYLGHVHYLGHQFHIRUWKDW


                                                                                       3DJHVWR
                                                                                                      Armistead App. 0971
                                                  3DJH                                                         3DJH
    %<$77251(<%$5+$0                                             $7KDWLVFRUUHFW
    4%XW\RXZLOOUHFRJQL]HWKDWWKHUHDUHVRPH             4:RXOG\RXDJUHHWKDWWKHPDMRULW\RIFKLOGUHQ
    UHVHDUFKHUVLQWKHILHOGZKRKDYHUDLVHGWKHVHFRQFHUQV         ZKRUHFHLYHSXEHUW\EORFNHUVJRRQDQGWDNHFURVVVH[
    DQGGRKROGWKHVHFRQFHUQV                                     KRUPRQHV"
    &RUUHFW"                                               $77251(<%/2&.2EMHFWLRQWRIRUP
    $7KHUHDUHUHVHDUFKHUVLQWKHILHOGZKRDVNWKHVH       7+(:,71(667KDWLVQRWDTXHVWLRQ
    TXHVWLRQV\HV                                                 WKDWZHKDYHDQDQVZHUWREDVHGXSRQWKHOLWHUDWXUH$
    $77251(<%$5+$0/HW VJRWR7DE            PDMRULW\RISDWLHQWVZLWKJHQGHUG\VSKRULDWKDWDUH
    $77251(<75<21+RZODWHDUHZHJRLQJLQ        SUHVFULEHSXEHUW\EORFNHUVDUHQRWLQYROYHGLQFOLQLFDO
   WKLVVHVVLRQXQWLORU"                              FDUHDWHLWKHUWKH7DYLVWRFNFOLQLFRUWKH$PVWHUGDP
   $77251(<%$5+$07KHZLWQHVVKDV               FOLQLF
   LQGLFDWHGKHFDQJRWR                                   %<$77251(<%$5+$0
   $77251(<75<212ND\                          4,VLWLQ\RXUSUDFWLFHGRWKHPDMRULW\RI
   $77251(<%$5+$0([KLELWLVDQ              FKLOGUHQZKRUHFHLYHSXEHUW\EORFNHUVIRUJHQGHU
   DUWLFOHE\&DUPLFKDHOHWDO6KRUWWHUP2XWFRPHV        G\VSKRULDJRRQWRWDNHFURVVVH[KRUPRQHV"
   RI3XEHUWDO6XSSUHVVLRQLQD6HOHFWHG&RKRUWRIWR       $%DVHGXSRQWKHGHPRJUDSKLFRIWKHSDWLHQWVWKDW
   \HDUROG<RXQJ3HRSOH,I\RX OOWXUQWRSDJH             , PVHHLQJSDUWLFXODUO\LQ&KLFDJR\HVEXW, PQRW
                                     VHHLQJWKH\RXQJHUNLGVDVPXFKDV,GLGLQ1HZ<RUN
    :KHUHXSRQ([KLELW$UWLFOHE\              46RDVDSUDFWLFDODQGHWKLFDOPDWWHUWKH
   &DUPLFKDHOHWDOZDVPDUNHGIRU             GHFLVLRQWRSXWDFKLOGRQSXEHUW\EORFNHUVPXVWEH
   LGHQWLILFDWLRQ                                FRQVLGHUHGDVHTXLYDOHQWRIDGHFLVLRQWRSXWWKH
                                    FKLOGUHQRQFURVVVH[KRUPRQHVZLWKDOORIWKH
   %<$77251(<%$5+$0                                            FRQVLGHUDWLRQVDQGIXOOFRQVHQWREOLJDWLRQVOLVWHGLQ
   4$UH\RXIDPLOLDUZLWKWKLVSDSHU"                     WKDWGHFLVLRQ


                                                  3DJH                                                         3DJH
    $,KDYHQRWUHDGWKURXJKWKLVSDSHU\HW               &RUUHFW"
    47KHOHDGDXWKRUVDUHDVVRFLDWHGZLWKWKH               $77251(<%/2&.2EMHFWLRQWRIRUP
    7DYLVWRFN"                                                      7+(:,71(661R
    $7KDWLVFRUUHFW                                       %<$77251(<%$5+$0
    4$QGWKDW VSDUWRIWKH1DWLRQDO+HDOWK6HUYLFHV        4:K\GR\RXVD\ZK\GR\RXGLVDJUHH"
    RIWKH8.                                                      $,QKHUHQWLQWKHLQIRUPHGFRQVHQWSURFHVVLVD
    ,VWKDWFRUUHFW"                                       VSHFLILFGLVFXVVLRQRIWKHULVNEHQHILWVDQG
    $7KDWLVFRUUHFW"                                       DOWHUQDWLYHVRIDVSHFLILFLQWHUYHQWLRQ+RUPRQHVDUH
    4$QGLW VWKHOHDGLQJDQGPRVWUHVSHFWHGFOLQLF         QRWSXEHUW\EORFNHUVLW VDVHSDUDWHGLVFXVVLRQ
   LQWKH8.                                                     4(YHQWKRXJKWKHYDVWPDMRULW\DFFRUGLQJWRWKH
   &RUUHFW"                                              UHVHDUFKDQGDFFRUGLQJWR\RXUWHVWLPRQ\JRRQWRWDNH
   $7KDW,FDQ WDQVZHU                                  FURVVVH[KRUPRQHV"
   4,I\RX OOORRNDWSDJHWKHDXWKRUVLQGLFDWH       $77251(<%/2&.2EMHFWLRQWRIRUPDQG
   WKDWRQH\RXQJSHUVRQGHFLGHGWRVWRS*Q5+DDQGGLGQRW        PLVFKDUDFWHUL]HVWHVWLPRQ\
   VWDUWFURVVVH[KRUPRQHVGXHWRFRQWLQXHGXQFHUWDLQW\          7+(:,71(66$GHVFULSWLRQRIWKH
   DQGFRQFHUQVDERXWWKHVLGHHIIHFWVRIFURVVVH[               SRWHQWLDOWUDMHFWRULHVRIGHYHORSPHQWLVDSDUWRIWKH
   KRUPRQHVWKHUHPDLQLQJRUSHUFHQWHOHFWHGWR            GLVFXVVLRQLQDQLQIRUPHGFRQVHQWSURFHVVIRUWKH
   VWDUWFURVVVH[KRUPRQHV                                      HQJDJHPHQWZLWKSXEHUW\VXSSUHVVLRQDJHQWV,W VQRW
   ,VWKDWFRUUHFW"                                      WKHVDPHDVLQIRUPHGFRQVHQWSURFHVVGLVFXVVLRQDURXQG
   $&RUUHFW                                              WKHXVHRIKRUPRQHVDWWKDWWLPH
   46RWKHYDVWPDMRULW\RIWKHVHFKLOGUHQZKR            %<$77251(<%$5+$0
   UHFHLYHGSXEHUW\EORFNHUVZHQWRQWRWDNHFURVVVH[             46RZKHQ\RX UHKDYLQJDQLQIRUPHGFRQVHQW
   KRUPRQHV                                                      GLVFXVVLRQVXUURXQGLQJWKHGHFLVLRQWRVWDUWSXEHUW\
   &RUUHFW"                                              EORFNHUVGR\RXGLVFXVVZLWKSDUHQWVDQGSDWLHQWVWKH


                                                                                       3DJHVWR
                                                                                                        Armistead App. 0972
                                                  3DJH                                                           3DJH
    GDQJHUVDVVRFLDWHGZLWKFURVVVH[KRUPRQHV"                      :+(5(8321$6+257%5($.:$67$.(1
    $7KLVLVJRLQJWREHYHU\LQGLYLGXDOL]HG                
    GLVFXVVLRQVWKDWZHKDYHZLWKIDPLOLHV,W VDYHU\            219,'(27$3(
    PRPHQWRXVGHFLVLRQWRPDNHWKLVNLQGRIWUHDWPHQW               9,'(2*5$3+(5%DFNRQWKHUHFRUGWKH
    FKRLFH7KHSRWHQWLDOWUDMHFWRULHVDUHDOOGLVFXVVHG           FXUUHQWWLPHUHDGVSP
    DQGWKHUH VULVNWRHYHU\WKLQJ,GRQ WWKLQNLWLV            $77251(<%$5+$0$OOULJKW/HW VJRWR
    XVHIXOWRXVHWKHWHUPGDQJHUVLQWKHFRQWH[WRIPHGLFDO        7DEZKLFKZLOOEH([KLELW1XPEHU
    FDUHEXWLW VDERXWZHLJKLQJULVNVRILQWHUYHQWLRQVEXW         
    DOVRZHLJKLQJWKHULVNVRIQRQLQWHUYHQLQJ$QGLW V            :KHUHXSRQ([KLELW:DVKLQJWRQ3RVW
   DSSURSULDWHWRKDYHWKRVHGLVFXVVLRQVDERXWZKDWWKRVH         $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
   SRWHQWLDORXWFRPHVPD\EHZLWKHDFKLQGLYLGXDONLG            
   4+RZGR\RXJHWLQIRUPHGFRQVHQWIURPDFKLOG"         %<$77251(<%$5+$0
   $<RXJHWDVVHQWIURPDFKLOGEXW\RXJHW              47KLVLVZLOOEHD:DVKLQJWRQ3RVWDUWLFOHIURP
   LQIRUPHGFRQVHQWIURPDSDUHQW                                -DQXDU\$UH\RXDZDUHRIWKHVHDVRQ
   4+RZGR\RXJHWKRZFDQDFKLOGHYHQEHJLQWR      VZLPPLQJHYHQWVVXUURXQGLQJWKH8QLYHUVLW\RI
   XQGHUVWDQGWKHLPSOLFDWLRQVRIVWDUWLQJSXEHUW\EORFNHUV       3HQQV\OYDQLD VVZLPPHU/LD7KRPDV"
   DQGWKHQSRWHQWLDOO\JRLQJWRFURVVVH[KRUPRQHVWKH          $77251(<%/2&.2EMHFWLRQWRVFRSH
   HIIHFWVWKDWWKDWPD\KDYHRQWKHIHUWLOLW\ZKHQWKH           7+(:,71(66,KDYHQRWEHHQIROORZLQJ
   FKLOGLVLVK"                                               FORVHO\EXW, YHKHDUGDERXWLW
   $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%$5+$0
   7+(:,71(66:HOO,KDYHDVNHZHG            42ND\
   SHUVSHFWLYHKHUHEHFDXVHRIWKHZRUNWKDW,GREXW            2QSDJHWKUHHRI([KLELWWKHDUWLFOH
   WKHUHDUH\HDUROGVZKRDUHRIWHQPXFKPRUHFDSDEOH         UHIHUHQFHVWKDW/LD7KRPDVLQKHUILUVW\HDULQWKH
   RIKDYLQJWKDWNLQGRILQIRUPHGGHFLVLRQWKDQPDQ\             :RPHQ V'LYLVLRQDIWHUPRUHWKDQD\HDURIWHVWRVWHURQH


                                                  3DJH                                                           3DJH
    DGXOWVWKDW,KDYHHQFRXQWHUHGZKLFKLVWRVD\LW VDQ         VXSSUHVVLRQVHWWKH:RPHQ V'LYLVLRQUHFRUGLQWZR
    LQGLYLGXDOL]HGDVVHVVPHQWEDVHGXSRQPXOWLSOHWKLQJV           HYHQWV
    LQFOXGLQJWKHFRJQLWLYHVWDWXVRIWKHFKLOGWKHLU              'R\RXVHHWKDW"
    FDSDFLW\WRHQJDJHEDFNDQGIRUWKDQGKDYHDQRSHQ              $,VHHWKDW\HV
    GLVFXVVLRQDQGDUHDOLVWLFGLVFXVVLRQDERXWWKH                 4$QG/LD7KRPDVEHDWWKHEHVWWLPHRIZRPHQ V
    SRWHQWLDOEHQHILWVULVNVDQGDOWHUQDWLYHVLQVSHFLILF          2O\PSLDQ7RUUL+XVNHLQWKHIUHHVW\OH
    LQWHUYHQWLRQ                                                   'R\RXVHHWKDW"
    %<$77251(<%$5+$0                                             $,VHHWKDW
    4,VLW\RXUSRVLWLRQWKDWPRVW\HDUROGVKDYH        $77251(<%/2&.,MXVWZDQWWRQRWHDQ
   DEHWWHUXQGHUVWDQGLQJRUDEHWWHUFDSDELOLW\RIPDNLQJ        REMHFWLRQWRIRXQGDWLRQWKDWWKHUH VQR85/7KLV
   GHFLVLRQVDERXWWKHLUORQJWHUPIHUWLOLW\WKDQDGXOWV"         DSSHDUVWREHFXWDQGSDVWHG6R, PMXVWQRWLQJWKDW
   $,WLVQRWP\SRVLWLRQDQG,ZLOOUHIOHFWWKDW         IRUWKHUHFRUG
   WKDWZDVDVWDWHPHQWPHDQWLQMHVWEXWLWGRHVUHIOHFW        $77251(<%$5+$0$QG,ZRXOGQRWH)RU
   VRPHVHQVHRIUHDOLW\LQWHUPVRIWKHPDWXULW\OHYHORI        WKHUHFRUGWKDWWKHUHLVDQ85/DWWKHERWWRPRISDJH
   \HDUROGVQRWVSHDNLQJWRWKHPDWXULW\OHYHORIPRVW       DWWKHERWWRPRIHDFKSDJH
   VRPHWKLQJVLQWKHZRUOG                                    $77251(<%/2&.7KDQNV,W VQRW
   $77251(<%$5+$0,WKLQNWKLVZRXOGEHD       YLVLEOHIURPZKDW VRQWKHVFUHHQ
   JRRGWLPHWRSDXVHIRU\RXUDSSRLQWPHQWDQGJLYH\RXD         $77251(<%$5+$02ND\
   IHZPRPHQWVEHIRUHWKDWVWDUWVVRZH OOJRRIIWKH            -XVWWU\LQJWREHFOHDU
   UHFRUG                                                        %<$77251(<%$5+$0
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       4,VLW\RXUSRVLWLRQWKDWLWLVIDLUIRU/LD
   FXUUHQWWLPHUHDGVSP                                   7KRPDVWRFRPSHWHLQWKH:RPHQ V'LYLVLRQRIVZLPPLQJ"
   2))9,'(27$3(                                                  $77251(<%/2&.2EMHFWLRQWRVFRSH
                                    7+(:,71(66,GRQ WKDYHDQRSLQLRQRQ



                                                                                        3DJHVWR
                                                                                                                Armistead App. 0973
                                                                3DJH                                                     3DJH
     WKHIDLUQHVV                                                           $,KDYHQRWKHDUGRI,V]DF+HQLJXQWLOWRGD\DW
     %<$77251(<%$5+$0                                                     OHDVWE\QDPH
     4'R\RXEHOLHYHWKDWLW VEHQHILFLDOWR/LD                     4'R\RXVHHRQWKHILUVWSDJHRIWKLVDUWLFOHWKH
     7KRPDV PHQWDOKHDOWKWRFRPSHWHLQWKH:RPHQ V                         DUWLFOHUHDGV+HQLJDWUDQVPDQFRPSHWLQJRQWKH
     'LYLVLRQ"                                                               ZRPHQ VVZLPPLQJWHDPDW<DOH"
     $,FRXOGQ WWHOO\RXWKDWXQOHVV,KDGHYDOXDWHG                $,VHHWKDW\HV
     /LD7KRPDVKHUVHOI                                                     46RLQWKLVHYHQWDELRORJLFDOPDOHLGHQWLILHVDV
     4%XWLW V\RXURSLQLRQDVH[SUHVVHGLQ                          IHPDOH/LD7KRPDVFRPSHWHGDJDLQVWDELRORJLFDOIHPDOH
     SDUDJUDSKRI\RXUUHSRUWWKDWQRUHDVRQDEOHPHQWDO                   ZKRLGHQWLILHVDVPDOH,V]DF+HQLJLQWKHZRPHQ V
    KHDOWKSURIHVVLRQDOFRXOGFRQFOXGHWKDWWKH$FWLV                     FRPSHWLWLRQ"
    DQ\WKLQJEXWKDUPIXOWRWKHPHQWDOKHDOWKRIWUDQVJHQGHU               $77251(<%/2&.2EMHFWLRQFDQ\RXJLYH
    \RXWK                                                                 KLPDFKDQFHWRUHDGWKHDUWLFOH+H VQHYHUVHHQRU
    ,VWKDWFRUUHFW"                                              KHDUGRIWKLVEHIRUH"
    $,ZRXOGVD\\RXWKDVDFODVV\HVWKDWLV                    7+(:,71(66,WVHHPVWKDWLVZKDW
    FRUUHFWEXWWKHVSHFLILFGHWDLOVRIWKDWLPSDFWDUHQRW               VWLSXODWHGLQWKHDUWLFOH
    JRLQJWREHNQRZQDQG,ZRXOGQ WFDUHWRVXUPLVHRQLW                 %<$77251(<%$5+$0
    IRUDVSHFLILFLQGLYLGXDOWKDWLVQRWXQGHUP\FDUH                   42ND\
    42ND\                                                         $FFRUGLQJWRWKHWHUPLQRORJ\\RXSUHIHUGR\RX
    %XWLW V\RXUSRVLWLRQWKDWDOORZLQJD                        FRQVLGHU+HQLJWREHDQ\WKLQJRWKHUWKDQDPDQ"
    WUDQVJHQGHURUDOORZLQJQDWDOPDOHVWRFRPSHWHLQ                  $77251(<%/2&.2EMHFWLRQWRIRUP
    WKH:RPHQ V'LYLVLRQLIWKH\DUHJHQGHUG\VSKRULFLV                   7+(:,71(66,ZLOOW\SLFDOO\DVNWKH
    EHQHILFLDOWRWKHLUPHQWDOKHDOWKLQJHQHUDO                         LQGLYLGXDOVWKDW, PZRUNLQJZLWKRUHQJDJLQJZLWKKRZ
    &RUUHFW"                                                      WKH\FKRRVHWRGHILQHWKHLURZQVHQVHRIODEHOV1RW
    $77251(<%/2&.2EMHFWLRQWRWHUPLQRORJ\               NQRZLQJ,V]DF,FDQ WVSHDNIRUKLP


                                                                3DJH                                                     3DJH
    DQGIRUP                                                                %<$77251(<%$5+$0
    7+(:,71(66,QP\UHSRUWH[FOXGLQJ                      42ND\
    WUDQVJHQGHU\RXWKFDQEHKDUPIXOWRWKHLUPHQWDOKHDOWK                 %XWDFFRUGLQJWRWKHWHUPLQRORJ\WKDW\RX YH
    %<$77251(<%$5+$0                                                      EHHQXVLQJ,V]DFZRXOGEHDQLQGLYLGXDODVVLJQHGIHPDOH
    4$QGZKHQ\RXVD\H[FOXGLQJWKHP\RXPHDQ                        VH[DWELUWKDQGLGHQWLI\LQJDVPDOH
    H[FOXGLQJWKHPIURPFRPSHWLWLRQFRQVLVWHQWZLWKWKHLU                    &RUUHFW"
    JHQGHULGHQWLW\                                                         $$JDLQ,GRQ WVHH
    ,VWKDWFRUUHFW"                                                4+HQLJDWUDQVPDQ"
    $7KDWLVFRUUHFW                                                $DGHVFULSWLRQRIKLVZRUGVWRGHVFULEHKLV
   $77251(<%$5+$0$OOULJKW                             LGHQWLW\VR,FDQ WVD\KRZKHLGHQWLILHVKLPVHOIEXW
   ,ZDQWWRVKRZ\RX7DEQRZ7KLVZLOO                LWDSSHDUVWKURXJKWKDWWKDW VKRZWKDWLVWKH
   EH([KLELW                                                          LPSOLFDWLRQRIWKHDUWLFOHDWOHDVW
                                             4,QWKHDUWLFOHLWXVHVPDVFXOLQHSURQRXQVWR
    :KHUHXSRQ([KLELW2XW6SRUWV                       UHIHUWR+HQLJ
   $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ                 &RUUHFW"
                                             $<HV
   %<$77251(<%$5+$0                                                     4'R\RXWKLQNLW GEHQHILFLDOWR+HQLJ VPHQWDO
   4+DYH\RXUHDGDERXW,V]DF+HQLJEHIRUHWRGD\"                  KHDOWKWRFRPSHWHRQWKHZRPHQ VWHDP"
   $,KDYHQRW                                                    $$JDLQ,FDQ WDQVZHUWKDWXQOHVV,KDG
   47KLVLVDQDUWLFOHIURP2XW6SRUWVSXEOLVKHGRQ                HYDOXDWHG+HQLJP\VHOI
   -DQXDU\WKE\.DUOHLJK:HEEHQWLWOHG7UDQV                      4,QJHQHUDOLI\RXKDYHDWUDQVJHQGHULQGLYLGXDO
   VZLPPHUV/LD7KRPDVDQG,V]DF+HQLJZHQWKHDGWRKHDGLQ                ZKRZDQWVWRFRPSHWHRQWKHWHDPFRQVLVWHQWKLVRUKHU
   WKHSRROHDFKJHWWLQJZLQV$UH\RXDZDUHWKDW,V]DF                  ELRORJLFDOVH[GR\RXWKLQNLW VEHQHILFLDOWRKLVRU
   +HQLJLVDELRORJLFDOIHPDOHZKRLGHQWLILHVDVPDOH"                    KHUPHQWDOKHDOWKWREHDOORZHGWRGRVR"


                                                                                                 3DJHVWR
                                                                                                       Armistead App. 0974
                                                  3DJH                                                          3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUP              ,VWKDWFRUUHFW"
    7+(:,71(66$JDLQWKLVLVDQ                 $:H UHWDONLQJVSHFLILFDOO\DERXWWKHVWXG\
    LQGLYLGXDOL]HGGLVFXVVLRQWKDW\RXKDYHZLWKSDWLHQWV          SDUWLFLSDQWVRQSHUFHSWLYHSHUFHSWLRQVRIFRQYHUVLRQ
    :LWKWKHSDWLHQWVWKDW, YHKDG,KDYHKDGSDWLHQWVZKR         WKHUDS\
    ZRXOGEHKDUPHGE\KDYLQJWRFRPSHWHZLWKWKHFRKRUWRI         4%XWWKDW VZKDW VPHDQWE\WKRVHFRQYHUVLRQ
    NLGVZKRZHUHDOLJQHGZLWKWKHLUVH[DVVLJQHGDWELUWK         HIIRUWV
    %<$77251(<%$5+$0                                             &RUUHFW"
    4,XQGHUVWDQG\RXUSRVLWLRQDERXWNLGVZKRDUH          $&RUUHFW
    IRUFHGWRGRVRPHWKLQJZKDWDERXWNLGVZKRZDQWWR             4,QIRRWQRWHVL[\RXFLWHDQDUWLFOHE\7XUEDQ
   FRPSHWHZLWKWKDWVDPHFRKRUWGR\RXWKLQNLW V               SXEOLVKHGLQ
   EHQHILFLDOWRDOORZWKHPWRFRPSHWHDVWKH\VHHILW"           ,VWKDWFRUUHFW"
   $$VDPHQWDOKHDOWKSURIHVVLRQDOZRUNLQJZLWK          $7KDWLVFRUUHFW
   NLGVDQGIDPLOLHVLWUHDOO\LVDQLQGLYLGXDOL]HG              $77251(<%$5+$0$OOULJKW
   GLVFXVVLRQ7KHUHLVQRWJRLQJWREHDVSHFLILFDQVZHU        , PJRLQJWRVKRZ\RX7DEZKLFKZLOO
   WKDW VXQLYHUVDOIRUDOONLGV                                 EH([KLELW
   4'R\RXEHOLHYHWKDWLI+HQLJZHUHSUHYHQWHGIURP      
   FRPSHWLQJZLWKWKHZRPHQ VWHDPDVGHVLUHGWKDWLW             :KHUHXSRQ([KLELW$UWLFOHE\
   FRXOGEHKDUPIXOWR+HQLJ VPHQWDOKHDOWK                  7XUEDQHWDOZDVPDUNHGIRU
   $77251(<%/2&.2EMHFWLRQWRIRUP             LGHQWLILFDWLRQ
   %<$77251(<%$5+$0                                            
   4SRVVLEO\"                                         %<$77251(<%$5+$0
   $,FDQ WVSHDNWRWKHVSHFLILFVDERXWDSHUVRQ         47KLVLVDQDUWLFOHSXEOLVKHGE\7XUEDQHWDO
   WKDW, YHQHYHUHYDOXDWHG                                     SXEOLVKHGLQLW VHQWLWOHG$VVRFLDWLRQ%HWZHHQ
   4,ILWLVKDUPIXOWRVRPHRQH VPHQWDOKHDOWKWR        5HFDOOHG([SRVXUHWR*HQGHU,GHQWLW\&RQYHUVLRQ(IIRUWV


                                                  3DJH                                                          3DJH
    EHSUHYHQWHGIURPSDUWLFLSDWLQJLQDWKOHWLFVRQDWHDP          DQG3V\FKRORJLFDO'LVWUHVVDQG6XLFLGH$WWHPSWV$PRQJ
    FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\FRXOGLWEH              7UDQVJHQGHU$GXOWV7KLVLVWKHDUWLFOHWKDW\RXFLWHG
    KDUPIXOWRWKHLUPHQWDOKHDOWKWREHSUHYHQWHGIURP             LQ\RXUUHSRUW
    FRPSHWLQJRQDWHDPFRQVLVWHQWZLWKWKHLUELRORJLFDOVH[        ,VWKDWFRUUHFW"
    LIWKH\VRZDQWHGWR"                                           $7KDWLVFRUUHFW
    $77251(<%/2&.2EMHFWLRQWRIRUP              4$QGWKLVLVWKHDUWLFOHFLWHGLQIRRWQRWHVL[DV
    7+(:,71(66,WKLQNWKHUH VDZKROH            VXSSRUWIRUWKHSURSRVLWLRQWKDWVWXGLHVWKDWIRXQGWKDW
    KRVWRIK\SRWKHWLFDOVWKDWFRXOGSRWHQWLDOO\EH                 SHRSOHZKRUHSRUWHGFRQYHUVLRQHIIRUWVDUHPRUHOLNHO\
    SRVVLEOH                                                       WRKDYHUHSRUWHGVXLFLGH
   %<$77251(<%$5+$0                                            &RUUHFW"
   4$QGWKDWLVRQHRIWKHP"                              $7KDW VFRUUHFW
   $77251(<%/2&.2EMHFWLRQWRIRUP             42QSDJHWZRRIWKLVDUWLFOHWKHDXWKRUVDQG
   7+(:,71(667KDW VSRVVLEOH                  E\WKLVDUWLFOH, PUHIHUULQJWR([KLELW7KH
   $77251(<%$5+$02ND\                         DXWKRUVQRWHWKDWWKH\UHO\XSRQGDWDIURPWKH1DWLRQDO
   %<$77251(<%$5+$0                                            &HQWHUIRU7UDQVJHQGHU4XDOLW\DQGLWVWUDQVJHQGHU
   4,QSDUDJUDSKRI\RXUUHSRUW\RXZULWHD            VXUYH\
   UHFHQWVWXG\IRXQGSHRSOHZKRUHSRUWHGH[SHULHQFLQJ            &RUUHFW"
   WKRVHFRQYHUVLRQHIIRUWVZHUHPRUHOLNHO\WRUHSRUWDQ         $7KDWLVFRUUHFW
   DWWHPSWHGVXLFLGHHVSHFLDOO\WKRVHZKRUHSRUWHG               42QSDJHHLJKWRIWKLVGRFXPHQWWKHDXWKRUV
   UHFHLYLQJVXFKWKHUDS\LQFKLOGKRRG                           DGPLWWKDWLWLVFURVVVHFWLRQDOVWXG\GHVLJQHG
   'R\RXVHHWKDW"                                      SUHFOXGHVGHWHUPLQDWLRQRIFDXVDWLRQ
   $,VHHWKDW                                           &RUUHFW"
   4$QGWKHUHZHDUHWDONLQJDERXWFRQYHUVLRQ             $,GRQ WKDYHSDJHQXPEHUV:KLFKRQHLVWKDW"
   WKHUDS\                                                       4,W VWKHRQHZLWKVWUHQJWKVDQGOLPLWDWLRQVDW



                                                                                        3DJHVWR
                                                                                                      Armistead App. 0975
                                                  3DJH                                                         3DJH
    WKHKHDGLQJDWWKHERWWRP                                      DUWLFOHE\5\DQHWDOSXEOLVKHGLQHQWLWOHG
    $&DQ\RXUHSHDWWKHTXHVWLRQ"                           )DPLO\$FFHSWDQFHLQ$GROHVFHQFHDQGWKH+HDOWKRI/*%7
    42QSDJHHLJKWWKHDXWKRUVDGPLWWKDWWKH              <RXQJ$GXOWV
    VWXGLHVFURVVVHFWLRQDOVWXG\GHVLJQSUHFOXGHV                  
    GHWHUPLQDWLRQRIFDXVDWLRQ                                      :KHUHXSRQ([KLELW$UWLFOHE\5\DQ
    &RUUHFW"                                               HWDOZDVPDUNHGIRULGHQWLILFDWLRQ
    $7KDWLVFRUUHFW                                       
    47KHDXWKRUVDOVRDGPLWWKDWWKRVHZLWKZRUVH           %<$77251(<%$5+$0
    PHQWDOKHDOWKRULQWHUQDOL]HGWUDQVSKRELDPD\KDYHEHHQ         47KLVLVWKHDUWLFOHWKDW\RXFLWHGLQIRRWQRWH
   PRUHOLNHO\WRVHHNRXWFRQYHUVLRQWKHUDS\UDWKHUWKDQ         VHYHQRI\RXUUHSRUW
   QRQ*,&(WKHUDS\VXJJHVWLQJFRQYHUVLRQHIIRUWVLWVHOI          &RUUHFW"
   ZHUHQRWFDXVDWLYHRIWKHVHSRRUPHQWDOKHDOWKRXWFRPHV       $7KDWLVFRUUHFW
   &RUUHFW"                                              42QSDJHLQWKHVHFRQGFROXPQWKHDXWKRUV
   $7KDWLVZKDWLVZULWWHQFRUUHFW                     QRWHWKDWWKH\UHOLHGRQDVDPSOHRISHRSOH
   42ND\                                                 ,VWKDWFRUUHFW"
   6RWKLVVWXG\GRHVQRWHVWDEOLVKDFDXVDOOLQN        $7KDWLVFRUUHFW
   EHWZHHQFRQYHUVLRQWKHUDS\DQGVXLFLGDOLW\                    42IWKDWVDPSOHRQO\QLQHSHUFHQWLGHQWLILHGDV
   &RUUHFW"                                              WUDQVJHQGHU
   $7KDWLVFRUUHFW                                      &RUUHFW"7KDW VRQSDJH
   47KHDXWKRUVDOVRDGPLWWKDWWKH\ODFNGDWD            $&RUUHFW
   UHJDUGLQJWKHGHJUHHWRZKLFK*,&(RFFXUUHG                   47KDWPHDQVZH UHWDONLQJDERXWQLQHSHRSOH
   &RUUHFW"                                              &RUUHFW"WLPHVQLQHSHUFHQWLV
   $7KDWLVFRUUHFW                                      $, OOWDNH\RXUPDWK
   4$QGWKH\DOVRDGPLWWKDWWKH\ODFNHGLQIRUPDWLRQ      42QSDJHWKHDXWKRUVDGPLWWKDWWKH\FDQQRW


                                                  3DJH                                                         3DJH
    DVWRZKDWVSHFLILFPRGDOLWLHVZHUHXVHG                       FODLPWKDWWKLVVDPSOHLVUHSUHVHQWDWLYHRIWKHJHQHUDO
    &RUUHFW"                                               SRSXODWLRQRI/*%7LQGLYLGXDOV
    $7KDWLVFRUUHFW                                       ,VWKDWFRUUHFW"
    47XUEDQHWDOLQDOVRDGPLWVWKDW                $7KDWLVFRUUHFW
    SDUWLFLSDQWVZHUHQRWUHFUXLWHGYLDUDQGRPVDPSOLQJDQG         42QSDJHWRWKHDXWKRUVUHFRJQL]HWKDW
    WKXVWKHVDPSOHPD\QRWEHQDWLRQDOO\UHSUHVHQWDWLYH           WKLVLVDUHWURVSHFWLYHVWXG\ZKLFKTXRWHDOORZVIRU
    ,VWKDWFRUUHFW"                                       WKHSRWHQWLDORIUHFDOOELDVLQGHVFULELQJVSHFLILF
    $7KDWLVFRUUHFW                                       IDPLO\UHDFWLRQVWRWKHLU/*%7LGHQWLW\
    4,QSDUDJUDSK\RXJRRQWRVD\WKDW                  &RUUHFW"
   FRQFOXVLRQVIXUWKHUVXSSRUWHGE\H[WHQVLYHHYLGHQFHWKDW       $7KDWLVFRUUHFW
   UHMHFWLRQRID\RXQJSHUVRQ VJHQGHULGHQWLW\E\IDPLO\        4$QGWKHQLQIRRWQRWHVHYHQRI\RXUUHSRUW\RX
   DQGSHHUVLVWKHVWURQJHVWSUHGLFWRUIRUDGYHUVHPHQWDO        DOVRFLWHDQDUWLFOHE\.OHLQDQG*ROXESXEOLVKHGLQ
   KHDOWKRXWFRPHV                                               
   ,VWKDWFRUUHFW"                                      &RUUHFW"
   $7KDWLVFRUUHFW                                      $7KDWLVFRUUHFW
   4$QG\RXFLWHLQWKDWDUWLFOH\RXFLWHLQ          4$OOULJKW
   IRRWQRWHVHYHQDQDUWLFOHE\5\DQHWDOSXEOLVKHGLQ         $77251(<%$5+$0, PJRLQJWRVKRZ\RX
                                                             ZKDWZHZLOOPDUNDV([KLELWZKLFKLV7DE
   ,VWKDWFRUUHFW"                                      
   $, PQRWVHHLQJWKDW                                   :KHUHXSRQ([KLELW$UWLFOHE\.OHLQ
   4,QIRRWQRWHVHYHQ"                                    DQG*ROXEZDVPDUNHGIRU
   $2KLQIRRWQRWHVHYHQ\HV                           LGHQWLILFDWLRQ
   $77251(<%$5+$0, PJRLQJWRVKRZ\RX         
   ZKDWZHZLOOPDUNDV([KLELWZKLFKLV7DEDQ          %<$77251(<%$5+$0


                                                                                       3DJHVWR
                                                                                                       Armistead App. 0976
                                                  3DJH                                                          3DJH
    47KLVLVDQDUWLFOHE\.OHLQDQG*ROXEHQWLWOHG         HYHQWWKHVHYHULW\RIWKHUHMHFWLRQRUZKHWKHUWKLV
    )DPLO\5HMHFWLRQDVD3UHGLFWRURI6XLFLGH$WWHPSWV            FKDQJHGRYHUWLPH
    7KLVDUWLFOHVLPSO\VD\VWKDWIDPLO\UHMHFWLRQLVD             &RUUHFW"
    SUHGLFWRURIVXLFLGHDWWHPSWVDQGVXEVWDQFHDEXVHDPRQJ         $&RUUHFW
    WUDQVJHQGHUDQGJHQGHUQRQFRQIRUPLQJDGXOWV                   4'R\RXDJUHHZLWKWKHPWKDWWKHVHIDFWRUVPLJKW
    &RUUHFW"                                               KDYHLQIOXHQFHGWKHLUUHVXOWV"
    $77251(<%/2&.2EMHFWLRQ&DQ\RX             $6XUH
    SRLQWWRZKHUH\RXDUHUHDGLQJIURP"                            4$OOULJKW
    $77251(<%$5+$07KHWLWOH                     /HW VJRWR7DEZKLFKLV([KLELW7KLV
   7+(:,71(667KH\LGHQWLI\DVD                DUWLFOHZHGLVFXVVHGEHIRUHEXWWKLVUHYLHZVWKH7XUEDQ
   SUHGLFWRU\HV                                                DUWLFOHWKDW\RXFLWHGLQIRRWQRWHVHYHQRI\RXUUHSRUW
   %<$77251(<%$5+$0                                            ,VWKDWFRUUHFW"
   4,QIDFWWKHZRUGVWURQJHVWGRHVQRWHYHQDSSHDU      $7KDWLVFRUUHFW
   LQWKLVDUWLFOH                                               42UIRRWQRWHVL[RI\RXUUHSRUW2ND\
   ,VWKDWFRUUHFW"                                      $QGLQ\RXUUHSRUW\RXDUHXVLQJWKH7XUEDQ
   $77251(<%/2&.2EMHFWLRQ                     DUWLFOHWRFULWLTXHWKHXVHRIZKDW\RXGHVFULEHDV
   7+(:,71(66,ZRXOGKDYHWRUHDGWKH          FRQYHUVLRQWKHUDS\
   ZKROHDUWLFOH                                                 ,VWKDWFRUUHFW"
   $77251(<%/2&./HWKLPUHDGLW               $77251(<%/2&.2EMHFWLRQWRIRUP
   7+(:,71(667KHDXWKRUVQRWHRQ              7+(:,71(66, PMXVWSXOOLQJWKLVXS
   SDJHRQDPXOWLYDULDQWPRGHOPRGHUDWHOHYHOVRI           ZKHUH,KDYHLW$V,VWDWHGLQP\UHSRUWWKH7XUEDQ
   IDPLO\UHMHFWLRQZHUHDVVRFLDWHGZLWKDOPRVWWZLFHWKH         DUWLFOHIRXQGWKDWSHRSOHZKRUHSRUWHGH[SHULHQFLQJ
   RGGVRIDWWHPSWHGVXLFLGHDQGKLJKOHYHOVRIIDPLO\            WKRVHFRQYHUVLRQHIIRUWVZHUHPRUHOLNHO\WRKDYH
   UHMHFWLRQZHUHDVVRFLDWHGZLWKDOPRVWWKUHHDQGDKDOI         UHSRUWHGDWWHPSWLQJVXLFLGH


                                                  3DJH                                                          3DJH
    WLPHVWKHRGGVRIDWWHPSWHGVXLFLGH:KLOHWKHUHLVQRW        %<$77251(<%$5+$0
    DQ\XVHRIWKHZRUGVWURQJHU,GRQ WVHHDQ\DGGLWLRQDO        46R\RX UHXVLQJLWWRFULWLTXHZKDW\RX
    ULVNVWKDWZHUHKLJKOLJKWHGLQWKLVVSHFLILFVWXG\             GHVFULEHGDVFRQYHUVLRQWKHUDS\
    %<$77251(<%$5+$0                                             ,VWKDWIDLU"
    42ND\                                                  $,WKLQNWKDW VIDLU
    2QSDJHVWHPPLQJRYHURQWRWKHDXWKRUV        42QSDJHWZRRI'U' $QJHOR VOHWWHUWRWKH
    DGPLWWKDWWKH\UHOLHGRQGDWD17'6WKDWXVHVDPSOLQJ           HGLWRUKHQRWHVDWWKHWRSRIWKHILUVWWRZDUGVWKH
    WHFKQLTXHVWKDWZHUHQRWUDQGRPDQGLQFOXGHGD                  WRSRIWKHILUVWFROXPQWKDW7XUEDQ VDQDO\VLVXVHGGDWD
    KRPRJHQRXVVWXG\SRSXODWLRQWKDWZDVODUJHO\ZKLWH             IURPWKH8676VXUYH\RIWUDQVJHQGHULGHQWLI\LQJ
   HGXFDWHGDQGHPSOR\HG                                         LQGLYLGXDOVWKLVVXUYH\LVFRQYHQLHQWVDPSOLQJ
   &RUUHFW"                                              PHWKRGRORJ\ZKLFKJHQHUDWHVORZHUTXDOLW\GDWD
   $7KDWLVFRUUHFW                                      :RXOG\RXDJUHHWKDWFRQYHQLHQWVDPSOLQJ
   4'R\RXDJUHHZLWKWKHPWKDWWKLVOLPLWVWKH           JHQHUDWHVORZTXDOLW\GDWD"
   JHQHUDOL]DELOLW\RIWKHDUWLFOH VILQGLQJV"                    $&RQYHQLHQWVDPSOLQJJHQHUDWHVORZHUTXDOLW\
   $,GR                                                 GDWD$QGWKHQVRPHRWKHUVWDWLVWLFDOPHWKRGRIVWXG\
   47KHDXWKRUVDOVRDGPLWWKDWWKHFURVVVHFWLRQDO       GHVLJQ2QHRIWKHZD\VWKDW\RXZDQWWRFRXQWHUDFW
   QDWXUHRIWKHGDWDGLGQRWDOORZXVWRGHWHUPLQHDQ\           WKDWSRWHQWLDOIRUORZTXDOLW\RIGDWDLVWRKDYH
   FDXVDOUHODWLRQVKLSEHWZHHQIDPLO\UHMHFWLRQDQGWKH           LQFUHDVHGQXPEHURISDUWLFLSDQWV7KHGLIIHUHQFHRI
   QHJDWLYHKHDOWKUHODWHGRXWFRPHV                              SDUWLFLSDQWVLQWKLVSDUWLFXODUVXUYH\DQDO\VLV
   &RUUHFW"                                              YHUVXVVD\LQDQRWKHULQDQRWKHUGRHVDGGD
   $&RUUHFW                                              OLWWOHELWPRUHFRQWH[WWRWKHDSSOLFDELOLW\RIWKHVH
   47KHDXWKRUVDOVRLQGLFDWHWKDWWKH\GLGQRWKDYH      ILQGLQJV
   DQ\LQIRUPDWLRQDERXWWKHWLPHIUDPHZLWKLQZKLFKIDPLO\        45LJKWEHORZWKDW'U' $QJHORHWDOQRWHVWKDW
   UHMHFWLRQRFFXUUHGLQFOXGLQJZKDWSUHFLSLWDWHGWKH            WKHSDUWLFLSDQWVZHUHUHFUXLWHGWKURXJKWUDQVJHQGHU


                                                                                        3DJHVWR
                                                                                                          Armistead App. 0977
                                                          3DJH                                                     3DJH
    DGYRFDF\RUJDQL]DWLRQVDQGVXEMHFWVZHUHDVNHGWRSOHGJH           WKH\ZHUHGLVTXDOLILHGIURPFRPSOHWLQJWKHVXUYH\7KH\
    WRSURPRWHVXUYH\DPRQJIULHQGVDQGIDPLO\7KLV                  QRWHWKDWWKLVIDLOXUHLVDVHULRXVRYHUVLJKW
    UHFUXLWLQJPHWKRG\LHOGHGDODUJHEXWKLJKO\VNHZHG                'R\RXDJUHHZLWKWKHPWKDWWKDW VDVHULRXV
    VDPSOH:RXOG\RXDJUHHWKDWWKHVDPSOHIRUWKLVVXUYH\           RYHUVLJKW"
    ZDVKLJKO\VNHZHG"                                                 $77251(<%/2&.2EMHFWLRQWRIRUP
    $77251(<%/2&.2EMHFWLRQWRIRUP                 7+(:,71(66,ZRXOGQHHGWRORRNDWWKH
    7+(:,71(66,WKLQNZH GKDYHWR                  VSHFLILFVXUYH\LQVWUXFWLRQVIRUWKHVXUYH\LQTXHVWLRQ
    XQGHUVWDQGZKDWVSHFLILFDOO\\RXPHDQE\VNHZHGDQG                WRXQGHUVWDQGWKHYDOLGLW\RIWKDW,GRQ WVHHKRZLQ
    VNHZHGLQZKDWZD\,W VKDUGWRNQRZ                            WKHFRQWH[WRIWKLVWKDWIRONVZKRGHWUDQVLWLRQHGZHUH
   %<$77251(<%$5+$0                                               VSHFLILFDOO\H[FOXGHGEXW
   47KHDXWKRUVJRRQLQ7DEOHWRGHPRQVWUDWHZKDW         %<$77251(<%$5+$0
   WKH\PHDQE\VNHZLQJRIWKHGDWD8SRQUHYLHZLQJWKHLU           4'LG\RXUHYLHZ"
   LQIRUPDWLRQZRXOG\RXDJUHHWKDWWKHVDPSOHZDVVNHZHG"          $&DQ\RXSRLQWWRZKHUHWKDWZKHUHLQWKH
   $77251(<%/2&.2EMHFWLRQWRIRUP                RULJLQDODUWLFOHRUWKHVWXG\WKDWWKRVHIRONVDUH
   7+(:,71(66$JDLQ, PQRWVXUHVNHZHG          H[FOXGHGVSHFLILFDOO\,PD\KDYHPLVVHGLW
   LQFRPSDUDWLYHFRPSDULVRQWRZKDW"                            4,GRQ WKDYHWKHRULJLQDOVXUYH\RQKDQGDWWKH
   %<$77251(<%$5+$0                                               PRPHQW,ILWSURYHGWKDWWKH\ZHUHH[FOXGHGZRXOG\RX
   47KHDXWKRUVFRQWLQXHRQSDJHWZRE\VD\LQJWKDW          DJUHHWKDWWKDWZRXOGEHDVHULRXVRYHUVLJKW"
   DQXPEHURIDGGLWLRQDOGDWDLUUHJXODULWLHVLQWKH8676            $77251(<%/2&.2EMHFWLRQWRIRUP
   UDLVHIXUWKHUTXHVWLRQVDERXWWKHTXDOLW\RIWKHGDWD             7+(:,71(66,WZRXOGUHDOO\GHSHQGRQ
   FDSWXUHGE\WKHVXUYH\7KH\WDONDERXWKRZKLJKQXPEHU          KRZWKDWZDVGRQHDQGZKDWWKHODQJXDJHZDVXVHG
   RIVXUYH\SDUWLFLSDQWVKDGQRWWUDQVLWLRQHGPHGLFDOO\RU          :LWKRXWVHHLQJLW,FDQ WPDNHDFRPPHQWRWKHUZLVH
   VRFLDOO\VLJQLILFDQWQXPEHUUHSRUWHGQRLQWHQWLRQWR             %<$77251(<%$5+$0
   WUDQVLWLRQLQWKHIXWXUH7KHLQIRUPDWLRQDERXW                  4:KDWLIWKHUHZDVQRODQJXDJHLQYROYHGLWZDV


                                                          3DJH                                                     3DJH
    WUHDWPHQWVGRHVQRWDSSHDUWREHDFFXUDWHDVDQXPEHURI           MXVWWKRVHZKRLQGLFDWHGWKDWWKH\ZHUHHLWKHUGHVLVWLQJ
    UHVSRQGHQWVUHSRUWHGWKHLQLWLDWLRQRISXEHUW\EORFNHUV            RUGHWUDQVLWLRQLQJRUQRWLQFOXGHGLQWKHGDWDVHW"
    DIWHUWKHDJHZKLFKLVKLJKO\LPSUREDEOH)XUWKHU            $,ZRXOGQHHGWRVHHWKHFRQWH[WRILWLQRUGHU
    WKHVXUYH\KDVGHYHORSHGVSHFLDOZDLWLQJGXHWR                    WRPDNHDMXGJPHQWRQWKHYDOLGLW\RIWKDWVWUXFWXUH
    XQH[SHFWHGKLJKSURSRUWLRQRIUHVSRQGHQWVZKRUHSRUWHG             42QSDJHIRXURIWKLVGRFXPHQW7KHDXWKRUVQRWH
    WKDWWKH\ZHUHH[DFWO\\HDUVROG'R\RXDJUHHWKDW            WKDW7XUEDQ VK\SRWKHVLVLVIXUWKHUZHDNHQHGE\D
    WKHVHLUUHJXODULWLHVUDLVHVHULRXVTXHVWLRQVDERXWWKH             VLJQLILFDQWIODZLQWKHLUGDWDDQDO\VLVIDLOXUHWR
    UHOLDELOLW\RIWKHGDWD"                                           FRQWUROIRULQGLYLGXDOVSUH*,&(H[SRVXUHPHQWDOKHDOWK
    $,WKLQNWKHVHDUHDOOHOHPHQWVWKDW\RXZDQWWR           H[SRVXUHVWDWXVQRWLQJWKDWWKLVLVDSRWHQWLDO
   WDNHLQWRFRQWH[WDV\RX UHHVWDEOLVKLQJYDOLGLW\RIWKH          FRPSRXQGDQGPD\PDVNUHYHUVHFDXVDWLRQ
   GDWDDQGWKHFRQFOXVLRQVWKDWFRXOGEHGUDZQ                     'R\RXKDYHDQ\VFLHQWLILFEDVLVIRUGLVSXWLQJ
   47KHVHFRQGFROXPQRISDJHWZRWKHDXWKRUVQRWH          WKDWFRQFHUQ"
   WKDWWKHHPSKDVLVRQWKHVXUYH\ VJRDOVWRKLJKOLJKWWKH          $/HWPHUHYLHZWKLVSDUWRIWKHSDSHUSOHDVH
   LQMXVWLFHVVXIIHUHGE\WUDQVJHQGHUSHRSOHGXULQJWKH              $77251(<%/2&.-XVWREMHFWLRQ,GRQ W
   UHFUXLWPHQWVWDJHLQWKHLQWURGXFWLRQRIWKHVXUYH\               WKLQNKHUHDGWKHIXOOWKHVHQWHQFH
   LQVWUXPHQWLWVHOIPDGHLWHOLJLEOHIRUUHSRUWLQJDGYHUVH          7+(:,71(66,KDYHQRWVHHQDQ\
   H[SHULHQFHVGXHWRGHPDQGELDV                                   OLWHUDWXUHRQVSHFLILFULVNVRUSUHGLFWRUVIRU
   'R\RXDJUHHWKDWWKLVGHPDQGELDVOLNHO\                LQGLYLGXDOVZKRZRXOGEHH[SRVHGWRJHQGHULGHQWLW\
   VNHZHGWKHUHVSRQVHV"                                             FRQYHUVLRQHIIRUWVDQGVRWKHVXSSRVLWLRQLQKHUHQWLQ
   $,ZRXOGQ WDJUHHWKDWLWOLNHO\EXWWKDW                WKLVSDUDJUDSKWKDWWKHDXWKRUVDUHPDNLQJWKDWDQ
   LPSOLHVWKDWZHKDYHGDWDWKDWZHGRQ WKDYH,W VD             LQGLYLGXDO VXQGHUO\LQJSRRUPHQWDOKHDOWKOHGWRWKHLU
   SRVVLELOLW\WKDWWKHVHDXWKRUVDUHUDLVLQJ                       H[SHULHQFHRIJHQGHULGHQWLW\FRQYHUVLRQHIIRUWVLVQRW
   41RZWKHDXWKRUVDOVRQRWHWKDWWKHH[SHULHQFH           VXSSRUWHGE\P\XQGHUVWDQGLQJRIWKHOLWHUDWXUH
   RIGHWUDQVLWLRQHUVDQGWKHVLVWHUVZHUHQRWLQFOXGHGDV          %<$77251(<%$5+$0


                                                                                           3DJHVWR
                                                                                                     Armistead App. 0978
                                                 3DJH                                                          3DJH
    4'R\RXKDYHDQ\UHDVRQWRGLVSXWHDSRWHQWLDO         KLJKOLJKWWKHFURVVVHFWLRQDOGHVLJQRIWKH8676DQG
    IRUDFRQIRXQGRUWKHSRWHQWLDOIRUPDVNLQJUHYHUVHG           LQGLFDWHWKDWSUHVHQWLQJDKLJKO\FRQIRXQGHGDVVRFLDWLRQ
    FDXVDWLRQWKDWWKHDXWKRUVLGHQWLI\KHUH"                      RIFDXVDWLRQLVDVHULRXVHUURU
    $$V,GHVFULEHG,KDYHQ WVHHQDQ\OLWHUDWXUH         'R\RXDJUHHWKDWSUHVHQWLQJDFRQIRXQGHG
    WKDWVSHDNVWRWKLVQRUKDVWKDWEHHQP\FOLQLFDO              DVVRFLDWLRQDVFDXVDWLRQLVDVHULRXVHUURU"
    H[SHULHQFH                                                    $77251(<%/2&.2EMHFWLRQWRIRUP
    42QSDJHWZRRIWKLVGRFXPHQWWKHDXWKRUVQRWH         7+(:,71(66,KDYHQRWFODLPHGQRUGR,
    WKDW7XUEDQ VFRQFOXVLRQVUHVWRQWKHDVVXPSWLRQWKDW          XQGHUVWDQGP\UHDGLQJRIWKH7XUEDQHWDODUWLFOHWR
    WKH\KDYHDYDOLGZD\RIGHWHUPLQLQJZKHWKHURUQRWWKH        FODLPFDXVDWLRQZKHQDQDVVRFLDWLRQKDVEHHQIRXQGDQG
   UHVSRQGHQWZDVH[SRVHGWRWKHXQHWKLFDOSUDFWLFHRI           LQIDFWWKH\VSHFLILFDOO\FDOOHGRXWWKDWLWZDVQRW
   FRQYHUVLRQWKHUDS\'R\RXDJUHHWKDWWKLVODFNRI           FDXVDWLYHRUDWOHDVWWKHDQDO\VLVFRXOGQRWSURYHLW
   FRQWH[WLQGHWDLOUHQGHUVWKHTXHVWLRQLQFDSDEOHRI           ZDVFDXVDWLYHZLWKDFURVVVHFWLRQDOGHVLJQ
   GLIIHUHQWLDWLQJEHWZHHQHWKLFDOQRQDIILUPLQJ             %<$77251(<%$5+$0
   QRQDIILUPDWLYHQHXWUDODQGFRXQWHUVXQHWKLFDO                46RZKHQ\RXZURWHSDUDJUDSKRI\RXUUHSRUW
   FRQYHUVLRQWKHUDS\"                                           DQGVDLGWKDWDVWXG\IRXQGWKDWSHRSOHZKRUHSRUWHG
   $,GRQRW                                            H[SHULHQFLQJWKHVHFRQYHUVLRQHIIRUWVZHUHPRUHOLNHO\
   $77251(<%/2&.6RUU\REMHFWLRQWR           WRKDYHUHSRUWHGDWWHPSWLQJVXLFLGHHVSHFLDOO\WKRVH
   IRUP                                                         ZKRUHSRUWHGUHFHLYLQJVXFKWKHUDS\LQFKLOGKRRGZHUH
   %<$77251(<%$5+$0                                           \RXVXJJHVWLQJWKDWWKHFRQYHUVLRQHIIRUWVFDXVHGWKH
   4%DFNRQSDJHIRXUWKHDXWKRUVQRWHWKDWWKH          VXLFLGHDWWHPSWV"
   IDLOXUHWRFRQWUROIRUWKHVXEMHFWV EDVHOLQHPHQWDO          $,EHOLHYHLQP\WHVWLPRQ\,DPVD\LQJWKDWWKHUH
   KHDOWKPDNHVLWLPSRVVLEOHWRGHWHUPLQHZKHWKHUWKH           LVDUHODWLRQVKLSEHWZHHQWKRVHZKRDUHH[SRVHGWR
   PHQWDOKHDOWKRUVXLFLGDOLW\RIDVXEMHFWSHUVRQVWD\HG       FRQYHUVLRQHIIRUWVDQGWKRVHZKRKDYHGHVFULEHG
   WKHVDPHRUSRWHQWLDOO\HYHQLPSURYHGDIWHUWKH               UHSRUWLQJDWWHPSWLQJVXLFLGH


                                                 3DJH                                                          3DJH
    QRQDIILUPLQJHQFRXQWHU'R\RXKDYHDQ\VFLHQWLILF           4$QGKRZZRXOG\RXGHVFULEHWKDWUHODWLRQVKLS"
    EDVLVIRUGLVSXWLQJWKLVREVHUYDWLRQ"                          $$VDQDVVRFLDWLRQ
    $77251(<%/2&.2EMHFWLRQWRIRUP             4,VDVVRFLDWLRQDV\QRQ\PIRUFRUUHODWLRQ"
    7+(:,71(66$JDLQLIZHZDQWHGWRJR         $77251(<%/2&.2EMHFWLRQWRIRUP
    EDFNWRWKH7XUEDQVWXG\LWVHOIDQGORRNPRUH                  7+(:,71(66,WGHSHQGVRQWKHFRQWH[W
    VSHFLILFDOO\DWWKHLUPHWKRGRORJ\DQGWKHLUGHVFULSWLRQ        EXWJHQHUDOO\LQSODLQ(QJOLVKDVVRFLDWLRQDQG
    WKDWZRXOGEHDPRUHDFFXUDWHZD\RIJHWWLQJDSRWHQWLDO       FRUUHODWLRQDUHUHODWLYHV\QRQ\PVIRURQHDQRWKHU
    XSVDQGGRZQVVLGHRIWKLVVWXG\RWKHUWKDQWKLVOHWWHU        %<$77251(<%$5+$0
    WRWKHHGLWRU                                                 4,QWKLVVSHFLILFFRQWH[WRI\RXUUHSRUWZKHQ
   %<$77251(<%$5+$0                                           \RXVD\WKDW\RXDUHUHSRUWLQJDQDVVRFLDWLRQZHUH\RX
   4%XWGR\RXKDYHDQ\EDVLVIRUDQ\VFLHQWLILF      XVLQJDVVRFLDWLRQLQFRUUHODWLRQWRV\QRQ\PV"
   EDVLVIRUGLVSXWLQJWKDWREVHUYDWLRQ"                         $$VIDUDV,NQRZ,ZDV\HDK
   $77251(<%/2&.2EMHFWLRQWRIRUP            4+DYH\RXKDGSDWLHQWVLPSDFWHGE\QRWEHLQJ
   7+(:,71(667KLVTXHVWLRQJHWVWRD          DOORZHGWRSOD\VSRUWVFRQVLVWHQWZLWKWKHLUJHQGHU
   YHU\VSHFLILFW\SHRIVWXG\GHVLJQHGPHWKRGRORJ\7KDW       LGHQWLW\"
   LVVRPHWKLQJWKDWW\SLFDOO\LVGRQHE\DGDWDVFLHQWLVW      $2QRFFDVLRQ\HV
   ZKLFKLVQRWZKHUHP\OHYHORIH[SHUWLVHLV7KHUHDUH       4$SSUR[LPDWHO\KRZPDQ\VXFKSDWLHQWV"
   QXDQFHVLQLW:KDW,ZRXOGVD\LVLQDSRSXODWLRQDV        $2QWKHRUGHURIOHVVWKDQWZRRUWKUHH
   ODUJHRIDVXUYH\WKDWKDYLQJDGHQRPLQDWRUDVKLJKDV        4:KDWVSRUWVZHUHWKRVHSDWLHQWVSDUWLFLSDWLQJ
   WKH\KDGKHOSVWRUHGXFHWKHFKDQFHVRIFRQIRXQGHUVOLNH      LQ"
   WKHDXWKRUVLQWKLVOHWWHUWRWKHHGLWRUDUHGHVFULELQJ       $,GRQRWUHFDOOWKHVSHFLILF7KHVHZHUH
   DVSUREOHPDWLF                                               WKHWZRRUWKUHHWKDW,KDGZHUHDOOLQWKHRUGHURI
   %<$77251(<%$5+$0                                           EHWZHHQILYHVL[DQGVHYHQ\HDUROGV
   4$OLWWOHELWODWHURQSDJHILYHWKHDXWKRUV          4:KDWZDV\RXUIROORZXSZLWKHDFKSDWLHQW"


                                                                                      3DJHVWR
                                                                                                       Armistead App. 0979
                                                 3DJH                                                           3DJH
    $:LWKWKRVHSDUWLFXODUNLGV"                            MXVWGLVFXVVLQJ$QG([KLELW,EHOLHYHZDVWKH
    4<HV                                                   GRFXPHQWWKDWDGGUHVVHGWKDW7XUEDQVWXG\
    $:LWKRXWKDYLQJWKHLUFKDUWVLQIURQWRIPHLW V       $,VHH([KLELWDVWKHOHWWHUWRWKHHGLWRU
    KDUGWRH[SRXQG0\W\SLFDOSURFHVVZRXOGEH                   IURP' $QJHORHWDO
    XQGHUVWDQGLQJZK\LW VKDSSHQLQJZKDWWKH\QHHGDQGKRZ        4$QGWKDW VWKHRQHWKDWZHZHUHMXVWORRNLQJDW
    WRFRRUGLQDWHZLWKZKDWHYHUSURJUDPWRKHOSPDNHVXUH           DGGUHVVLQJWKH7XUEDQVWXG\
    WKDWWKHNLGJHWVWKHVXSSRUWWKDWLVJRLQJWREHPRVW          5LJKW"
    EHQHILFLDOWRWKHP                                             $&RUUHFW
    4$UH\RXRIIHULQJDQRSLQLRQWKDWWKH6WDWHRI          46ROHWPHMXVWDVN\RX\RXGLGFLWHWKH7XUEDQ
   :HVW9LUJLQLDGRHVQRWKDYHDVWURQJLQWHUHVWLQ               VWXG\LQ\RXUUHSRUW
   HQVXULQJVDIHFRPSHWLWLRQIRUZRPHQ"                           5LJKW"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $<HV
   7+(:,71(660\WHVWLPRQ\LVDERXWWKH         4<HDKDQGWKDWZDVWRVXSSRUW\RXURSLQLRQ
   PHQWDOKHDOWKLPSDFWV,GRQ WKDYHDQRSLQLRQRQWKH         5LJKW"
   VWDWHLQWHUHVWVRI:HVW9LUJLQLDLQWKLVUHJDUG               $7KDWLVWRVXSSRUWP\RSLQLRQ\HV
   %<$77251(<%$5+$0                                            41RZEHIRUH\RXXVHGLWGLG\RXGRVRPHWKLQJWR
   4$UH\RXRIIHULQJDQRSLQLRQWKDWWKH6WDWHRI         FLWHFKHFNLWWRVHHLIWKHUHZHUHDQ\DUWLFOHVWKDW
   :HVW9LUJLQLDGRHVQRWKDYHDVWURQJLQWHUHVWLQ               HLWKHUFKDOOHQJHGLWRUFULWLTXHGLWRUFULWLFL]HGLW"
   HQVXULQJIDLUFRPSHWLWLRQ"                                     $,ZRXOGVD\WKDWDURXWLQHUHYLHZRIWKH
   $77251(<%/2&.2EMHFWLRQWRIRUP             OLWHUDWXUHLVDSDUWRIP\GD\WRGD\SUDFWLFH7KLV
   7+(:,71(666DPHDQVZHU                      SDUWLFXODUDUWLFOHGLGQRWFRPHXSLQWKDWUHYLHZ
   %<$77251(<%$5+$0                                            42ND\
   4:RXOG\RXDJUHHWKDWHQVXULQJIDLUQHVVDQG            ,VWKHUHDZD\WRVSHFLILFDOO\VHDUFKIRULWWR
   VDIHW\LVDQLPSRUWDQWVWDWHLQWHUHVW                         VHHLIWRORRNDWLWDQGWKHQGRDVHDUFKDQGVHH


                                                 3DJH                                                           3DJH
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG           ZKDWRWKHUDUWLFOHVDUHTXRWHGRUFLWHG"
    VFRSH                                                          $0\JXHVVLVWKHUHSUREDEO\LV, PQRWDZDUHRI
    7+(:,71(666DPHDQVZHU                       LW
    $77251(<%$5+$0$OOULJKW,EHOLHYH          4%XW,WKLQN\RXVDLG\RXZHUHQRWDZDUHRIWKH
    WKRVHDUHDOOP\TXHVWLRQVIRUWRGD\,ZLOOWXUQWKH          OHWWHUZKLFKLV([KLELWSULRUWRLVVXLQJ\RXUH[SHUW
    IORRURYHUWR0U7U\RQ                                        UHSRUW
    $77251(<7<5212ND\                           ,VWKDWULJKW"
    +HUH,DP                                       $7KDWLVFRUUHFW
                                      4:RXOGLWKDYHEHHQKHOSIXOWRKDYHVHHQWKDW
   (;$0,1$7,21                             DKHDGRIWLPH"
                                    $,WKLQNLWZRXOGKDYHEHHQKHOSIXOIRUPHWR
   %<$77251(<75<21                                             IHHOPRUHSUHSDUHGLQWKLVGHSRVLWLRQ,GRQ WWKLQNLW
   40\QDPH V'DYLG7U\RQ,DPZLWKWKH:HVW            ZRXOGKDYHFKDQJHGDQ\RIP\UHSRUW
   9LUJLQLD$WWRUQH\*HQHUDO V2IILFHDQGUHSUHVHQWWKH           4,I\RXKDGWKDWZRXOG\RXKDYHLQYHVWLJDWHG
   6WDWHRI:HVW9LUJLQLD6RZH YHJRWDERXWDQKRXU            WKRVHFULWLFLVPVWRVHHLIWKH\ZHUHIDLOHGFULWLFLVPV"
   OHIW'R\RXZDQWWRMXVWNHHSRQJRLQJDQGILQLVKXS         $7KHDXWKRUVRIWKH7XUEDQVWXG\KDGUDLVHGPRVW
   RUZRXOG\RXOLNHWRWDNHDEUHDNIRUILYHPLQXWHV             RIWKRVHFULWLFLVPVWKHPVHOYHVLQWKHFRQWH[WRIWKHLU
   EHIRUHZHILQLVKXS"                                           UHSRUW
   $,WKLQNOHW VNHHSJRLQJ,I,KDYHWRWDNHD        4$QGGLG\RXLQGHSHQGHQWO\ORRNDWLWDQG
   EUHDN, OOOHW\RXNQRZ,DSSUHFLDWHLW                    GHWHUPLQHLIWKH\ZHUHLIWKDWFDXVHG\RXVRPH
   42ND\                                                 FRQFHUQV"
   <RXEHW+DSS\WRKHOS\RXRXWWKDWZD\DJDLQ       $&RQFHUQVZRXOGQ WEHWKHULJKWZRUG,W VDERXW
   ,MXVWZDQWWRIROORZXSILUVWRIDOORQDFRXSOHRI         ZHLJKLQJWKHHYLGHQFHDQGPDNLQJVXUHWKDWZHXQGHUVWDQG
   TXHVWLRQVDERXWWKH7XUEDQVWXG\LI,PD\WKDWZHZHUH       FRQWH[WDQGDSSOLFDELOLW\7KHUH VQRWKLQJLQWKLV


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0980
                                                  3DJH                                                          3DJH
    OHWWHUWRWKHHGLWRUWKDWFKDQJHVWKRVHGHPDQGVIURPP\         'RHVWKDWVRKHILOHGVRPHWKLQJZLWKWKH
    UHDGLQJRIWKH7XUEDQDUWLFOH                                  &RXUWRULJLQDOO\'LG\RXUHYLHZWKDWRQH"
    46R\RXDUHVD\LQJWKDWWKLVOHWWHULQWKH7XUEDQ       $,WZDVWKHRULJLQDOUHSRUWWKDW,KDGUHYLHZHG
    DUWLFOH, PVRUU\\RX UHVD\LQJWKLVOHWWHUWRWKH         42ND\
    HGLWRUGRHVQRWUDLVHDQ\QHZLVVXHVDWDOOWKDQZKDW           6ROHWPHMXVWEHFOHDU6RKHILOHGDQ
    WKH7XUEDQVWXG\LWVHOIUDLVHG                                 RULJLQDOUHSRUWEDFNLQODVW\HDUDQGWKHQLVVXHGD
    ,VWKDWULJKW"                                         QHZUHSRUWLQ)HEUXDU\RIWKLV\HDUDQGWKHQLVVXHGD
    $,ZRXOGKDYHWRUHDGWKURXJKWKLVLQDPRUH            UHEXWWDOUHSRUW6RDWRWDORIWKUHH'LG\RXVHHDOO
    GHWDLOHGPDQQHUWRVD\IRUFHUWDLQWKDWQRVLQJOHLVVXH         WKUHHRIWKRVH"
   KDVEHHQDGGUHVVHG1RQHRIZKLFKZHGLVFXVVHGWRGD\          $,ZRXOGKDYHWRVHHWKHP
   DUHHOHPHQWVWKDWKDGQ WEHHQDGGUHVVHGHLWKHUE\             $77251(<%/2&.2EMHFWWRIRUP
   P\VHOIUHDGLQJWKH7XUEDQDUWLFOHRUE\WKH7XUEDQHW         7+(:,71(66,ZRXOGKDYHWRVHHWKHPLQ
   DOLQWKHDUWLFOHLWVHOI                                     IURQWRIPHWRNQRZLILWZDVVRPHWKLQJWKDW,KDGUHDG
   4%XW\RXGRQRWUDLVHDQ\RIWKRVHFRQFHUQVLQ         ,GRQ WNQRZWKHWHUPLQRORJ\ZHOOHQRXJKWRNQRZLI,
   \RXUUHSRUWGR\RX"                                           ZDVUHDGLQJWKHRULJLQDOUHSRUWRUUHEXWWDOUHSRUWRU
   $77251(<%/2&.2EMHFWLRQWRIRUP             WKHWKLUGW\SH
   7+(:,71(661R1RQRWVSHFLILFDOO\        %<$77251(<75<21
   %<$77251(<75<21                                             46RRQHRIWKHPZDVH[SHUWUHSRUWZKLFKZDV
   42ND\)DLUHQRXJK                                   LVVXHG,EHOLHYHLQ)HEUXDU\RIWKLV\HDU,EHOLHYH
   ,I\RXFDQIROORZ\RXUUHSRUWQRZZKLFK, P          \RXVDZWKDWRQH
   IRUJHWWLQJZKLFKH[KLELWWKDWLV([KLELW7KDQN\RX       $$JDLQ,ZRXOGKDYHWRVHHWKHUHSRUWLQIURQW
   6RILUVWRIDOO\RXVDLG\RXZHUHUHWDLQHGE\       RIPHWRNQRZLILWZDVWKHRQH,VDZ
   &RXQVHOIRUWKH3ODLQWLIIVDVDQH[SHUW&DQ\RXWHOO         42ND\
   PHZKHQ\RXZHUHUHWDLQHGSOHDVH"                             7KHUHZDVDQRWKHURQHZKLFKZDVODEHOHGDV


                                                  3DJH                                                          3DJH
    $,ZRXOGKDYHWRSXOOXSP\LQYRLFHWRJLYH\RX         UHEXWWDO'R\RXUHPHPEHULI\RXVDZWKDWRQH"
    WKHVSHFLILFGDWHDQG, PJXHVVLQJ0U%ORFNPLJKWKDYH        $,ZRXOGKDYHWRJREDFNWKURXJKP\QRWHV,
    WKDWLQIRUPDWLRQDWWKHUHDG\                                  GRQ WKDYHLWLQIURQWRIPHVR,DSRORJL]HIRUQRW
    48QIRUWXQDWHO\,FDQ WGHSRVHKLP,ZRXOGORYH       UHFDOOLQJ
    WREXW,GRQ WWKLQNKHZRXOGDJUHHWRWKDW6RDV            4:HOOOHWPHDVN\RXWKLVTXHVWLRQ'R\RX
    EHVW\RXFDQUHFDOOILUVWRIDOOZDVLWWKLV\HDU          UHPHPEHUKRZPDQ\UHSRUWV\RXVDZIURP'U6DIHU"
    RUODVW\HDU"                                                   $$OO,FDQVD\LV,UHPHPEHUVHHLQJDWOHDVWWZR
    $,WZDVWKLV\HDUWRWKHEHVWRIP\UHFROOHFWLRQ       49HU\JRRG$QG'U$GNLQVKRZPDQ\RIKHU
    42ND\                                                  UHSRUWVGLG\RXVHH"
   :DVLWDIWHUWKHRWKHUH[SHUWUHSRUWVFDPHRXW        $,FDQ WEHFHUWDLQEXW,WKLQN,DOVRVDZWZR
   RUEHIRUH"                                                     RIKHUV
   $,EHOLHYH,ZDVKLUHGRUUHWDLQHG,GRQ WNQRZ      4$QG, OOUHSUHVHQWWR\RXWKDWHDFKRIWKHP
   ZKDWWKHFRUUHFWWHUPLQRORJ\LVVRIRUJLYHPHDIWHUWKH       LVVXHGDUHEXWWDOUHSRUW$QGGLG\RXUHDGWKHLU
   GHYHORSPHQWRIWKHDGGLWLRQDOH[SHUWUHSRUWV,WZDV          UHEXWWDOUHSRUWVSULRUWRSUHSDULQJ\RXUUHEXWWDO
   WKHUHEXWWDOWRWKRVHUHSRUWVWKDWOHGWRP\EHLQJ             UHSRUW"
   UHWDLQHGWRP\UHFROOHFWLRQ                                   $,GRQ WKDYHWKHGRFXPHQWDWLRQLQIURQWRIPHLQ
   4, PVRUU\"                                            WHUPVRIZKHQ,ZDVVSHQGLQJWLPHRQZKDWSLHFHRIWKLV
   $)URPP\UHFROOHFWLRQ$QG, PWHUULEOHZLWK          SURFHVV7KDW VDSDUWRIP\QRWHVWKDWDUHQRWKHUH
   GDWHVVR,DSRORJL]HIRUWKDW                                WRGD\
   4,QSDUDJUDSKIRXU\RXVD\\RXH[SODLQZKDW       4'R\RXNQRZZK\\RXZHUHDVNHGWRLVVXHD
   \RXYLHZHGDQG\RXPHQWLRQWKHUHSRUWVRI'U6DIHU           UHEXWWDOUHSRUWLI'U6DIHUDQG'U$GNLQVZHUHERWK
   'RHVWKDWUHIHUWR'U6DIHU VRULJLQDOUHSRUWWKDWZDV        LVVXLQJUHEXWWDOUHSRUWV"
   ILOHGZLWKWKH&RXUWDQGKLVUHEXWWDOUHSRUWVWULNH        $77251(<%/2&.2EMHFWLRQ-XVWGRQ W
   WKDW                                                          GLVFXVVDQ\RIWKHFRQWHQWVRI\RXUFRPPXQLFDWLRQVZLWK


                                                                                        3DJHVWR
                                                                                                       Armistead App. 0981
                                                  3DJH                                                          3DJH
    WKHDWWRUQH\V                                                  YHU\JHVWDOWWKDWWKHFOLQLFLDQXVHVWRUDWHDFKLOG
    $77251(<75<21&RUUHFW                        ,W VQRWDQLQVWUXPHQWWKDW,ILQGFOLQLFDOO\XVHIXO
    7+(:,71(660\XQGHUVWDQGLQJZDVWR            4,VLWQRWFOLQLFDOO\XVHIXOEHFDXVHLWGRHVQ W
    UHEXWWKHUHSRUWVRI'U/HYLQHDQG'U&DQWRU                 KDYHREMHFWLYHFULWHULD"
    %<$77251(<75<21                                              $,ZRXOGQ WVD\LW VIDLUWRVD\WKDWWKHUHDUH
    4,V\RXUUHEXWWDOGLIIHUHQWWKDQWKHUHEXWWDOVRI       QRREMHFWLYHFULWHULDEXWWKHUHDUHDWWLPHV
    'U$GNLQVDQG'U6DIHU"                                       FRQWUDGLFWRU\REMHFWLYHFULWHULDZLWKLQWKH&*$6$QG
    $77251(<%/2&.2EMHFWLRQWRIRUP              DJDLQ,ZRXOGKHKDYHWRVHHWKH&*$6LQIURQWRIPHWR
    7+(:,71(66<HV                               SRLQWRXWWKRVHVSHFLILFVEXWWKHUHDUHRWKHU
   %<$77251(<75<21                                             IXQFWLRQVRURWKHUZD\VRIPHDVXULQJRXWFRPHVWKDQWKH
   43DUGRQPH"                                            &*$6
   $<HV                                                  4:KDWLVDQREMHFWLYHFULWHULD":KDWGRHVWKDW
   4'RHV\RXUUHEXWWDOUHSRUWKDYHDQ\RSLQLRQV           WHUPPHDQLQRWKHUZRUGV"
   ZKLFKDUHGLIIHUHQWIURP'U6DIHUDQG'U$GNLQV              $77251(<%/2&.2EMHFWLRQWRIRUP
   UHSRUWV"                                                       7+(:,71(66,JXHVVZKDWZRXOGVD\LV
   $77251(<%/2&.2EMHFWLRQWRIRUP             ZHZRXOGZDQWDSV\FKRPHWULFDOO\YDOLGDSSURDFKIRU
   7+(:,71(66,WKLQNLW VKDUGZLWKRXW         DQVZHULQJDTXHVWLRQLGHDOO\WKDWLVRIFOLQLFDO
   WKHVSHFLILFUHSRUWVLQIURQWRIPH,NQRZWKH\ZHUH         UHOHYDQFH
   ORQJGRFXPHQWVDQG,ZDVVSHFLILFDOO\UHEXWWLQJWKH            %<$77251(<75<21
   UHSRUWVRI'U/HYLQHDQG&DQWRU                              4&DQ\RXMXVWUHSHDW\RXUDQVZHUIRUPH",
   %<$77251(<75<21                                             GLGQ WTXLWHXQGHUVWDQGLW
   4'R\RXKDYHDQ\VSHFLILFUHSRUWVWKDWDUHQRW         $3UREDEO\QRWWKHVDPHODQJXDJH$
   UHEXWWLQJ'U/HYLQHDQG'U&DQWRU"                           SV\FKRPHWULFDOO\YDOLGWRROWKDWLQDQLGHDOZRUOG
   $7KHSURFHVVRIGHYHORSLQJWKLVUHEXWWDOUHSRUW        SURYLGHVVRPHNLQGRIFOLQLFDOUHOHYDQFH


                                                  3DJH                                                          3DJH
    ZDVIRUWKDWVSHFLILFLQWHQW                                   42ND\
    46R\RXGRQ WEHOLHYH\RXKDYHDQ\RULJLQDO             <RXVDLGSV\FKRPHWULFDOO\YDOLGWRRO
    RSLQLRQVWRUHSRUWZRXOGWKDWEHDIDLUVWDWHPHQW"             'LG,JHWWKDWULJKW"
    $77251(<%/2&.2EMHFWLRQWRIRUP              $3V\FKRPHWULFDOO\YDOLGDWHGWRRO\HV
    7+(:,71(66, PQRW,JXHVV, PQRW        49DOLGDWHG"
    VXUHZKDW\RXPHDQE\RULJLQDORSLQLRQV                        $<HV
    %<$77251(<75<21                                              4:KDWLVWKDW"
    46ROHW VPRYHRQ'R\RXUHFDOOWKH&RVWD             $(VVHQWLDOO\\RXZDQWWRXQGHUVWDQGWKDWWKH
    VWXG\"                                                          PHDVXUH\RX UHXVLQJLVPHDVXULQJZKDWLWVD\VWR
   $<HVZHKDGUHYLHZHGRQH&RVWDVWXG\HDUOLHU         PHDVXUHDQGLVUHOLDEOHDFURVVPXOWLSOHGRPDLQV7KH
   &DQ\RXUHPLQGPHRIWKHH[KLELWQXPEHU"                       &*$6KDVEHHQZLGHO\XVHGLQUHVHDUFKLW VMXVWQRWP\
   4,EHOLHYHLW V([KLELW"                            IDYRULWHWRROEHFDXVH,GRQ WILQGLWWRKDYHWKDW
   $$OOULJKW2ND\                                     VHFRQGGRPDLQRIKDYLQJWKDWFOLQLFDOXWLOLW\
   4,EHOLHYHWKDWGXULQJWKDWGLVFXVVLRQ\RX             4/HWPHDVN\RXWRWDNHDORRNDWSDUDJUDSKRI
   UHIHUUHGWRWKHVWDQGDUGVLQWKHUHDVEHLQJURXJKRU           \RXURSLQLRQ"
   LPSUHFLVHPHDVXUHDQGOHWPHJHWWKLVULJKWDQGQRW       $, PORRNLQJDWLWQRZ
   REMHFWLYHFULWHULD                                            4<RXVD\DWRQHSRLQWLWVD\VFRQWUDU\WRWKH
   'R\RXUHPHPEHUWKDW"                                 SRUWUD\DO'R\RXVHHWKDWVHQWHQFH"
   $,KDGGHVFULEHGWKH&*$6WKH&KLOGUHQ V*OREDO       $,VHHWKDW\HV
   $VVHVVPHQW6FDOHDVDQLPSUHFLVHPHDVXUHRIFKLOGUHQ V        4&RQWUDU\WRWKHSRUWUD\DOLQ'U/HYLQHDQG'U
   IXQFWLRQLQJ                                                   &DQWRU VUHSRUWVJHQGHUDIILUPLQJWUHDWPHQWDOVR
   4$QG\RXVDLGQRWKDYLQJDQ\REMHFWLYHFULWHULD       UHTXLUHVDFDUHIXODQGWKRURXJKDVVHVVPHQWRID
   FDQ\RXKHOSZLWKWKDW"                                        SDWLHQW VPHQWDOKHDOWKLQFOXGLQJFRRFFXUULQJ
   $<HVLW VDVFDOHIURP]HURWRDKXQGUHGWKDWLV      FRQGLWLRQVKLVWRU\RIWUDXPDDQGVXEVWDQFHDEXVHDPRQJ



                                                                                        3DJHVWR
                                                                                                            Armistead App. 0982
                                                 3DJH                                                                  3DJH
    PDQ\RWKHUIDFWRUV0\TXHVWLRQIRU\RXLVZLWKUHVSHFW        FHUWLILFDWLRQLQRUGHUIRU\RXWRKDYHGHPRQVWUDWHGD
    WR\RXUODQJXDJHDFDUHIXODQGWKRURXJKDVVHVVPHQWDQG        FDUHIXODQGWKRURXJKDVVHVVPHQW,QRUGHUWRJHW%RDUG
    , GOLNHWRWKHQNQRZDUHWKHUHSV\FKRPHWULFDOO\                &HUWLILHG,KDGWRGRDFDUHIXODQGWKRURXJKDVVHVVPHQW
    YDOLGDWHGWRROVXVHGWRGRWKDW"                                LQIURQWRIDERDUGRIH[DPLQHUVVRWKLVLVLQKHUHQWWR
    $7KHUHDUHRQRFFDVLRQDQGSDUWLFXODUO\ZKHQ           WKHSUDFWLFHRIPHQWDOKHDOWK
    ZH UHORRNLQJDWUHVHDUFKRXWFRPHVIRUWUDQVJHQGHU\RXWK        4,VWKHUHEXWWKHUHLVQRUHTXLUHPHQWWKDW
    WKHUHDUHDQXPEHURISV\FKRPHWULFDOO\YDOLGDWHG                WKHVHYDULRXVVWDQGDUGL]HGWRROVWKDW\RXPHQWLRQHGWR
    VFUHHQLQJVRURXWFRPHPHDVXUHVWKDWDUHXVHG                   PHWKHVHSV\FKRPHWULFDOO\YDOLGWRROVKDYHWREHXVHG
    4:KDWDUHWKRVH"                                        LVWKHUH"
   $7KHVHLQFOXGHPRVWLPSRUWDQWO\WKH8WUHFKW            $7KHUHLVQ WDQGWKHUHLVQRWDFOLQLFDO
   *HQGHU'\VSKRULD6FDOHWKH%RG\,PDJH6FDOH                  YHULILFDWLRQWKDWWKH\EHXVHGLQHYHU\LQVWDQFH)RU
   KLVWRULFDOO\ZKDW VLQWKH'XWFKGDWDWKH7RURQWRGDWD       WKHVDNHRIWKHVHNLQGRIVWXGLHVLW VLPSRUWDQWWR
   DQGWKH&RVWDGDWDDQG7KH7DYLVWRFN&OLQLFDOORIWKHP       KDYHWKHVHYDOLGDWHGWRROVVRZH UHDOOVSHDNLQJWKH
   ZHUHSDUWLFLSDWRU\LQNLQGRIWKHLQIRUPDOUHVHDUFK            VDPHODQJXDJHDQGWKDWRXWFRPHVFDQEHWUDFNHGRYHU
   JURXSWKDWDJUHHGWRFROOHFWWKHVDPHPHDVXUHVVRWKHVH       WLPHEXWQRWQHFHVVDULO\LQHYHU\FOLQLFDOHYHQWLVLW
   LQFOXGHGWKH$FKHQEDFK&%&/DQGWKH\XVHVHOIUHSRUW        JRLQJWREHZDUUDQWHG
   4, PVRUU\:KDWZDVWKHILUVWRQH\RXVDLG           4,I\RXGRQ WXVHWKHPLQHYHU\FOLQLFDOHYHQW
   EHIRUH%RG\,PDJH6FDOH"                                       WKHQKRZFDQKRZFDQ\RXDGHTXDWHO\WUDFNVRPHWKLQJ
   $8WUHFKW*HQGHU'\VSKRULD6FDOH                       DFURVVSDWLHQWVLI\RXZDQWHGWRGRDVWXG\"
   48WUHFKW*HQGHU'\VSKRULD6FDOH"                       $77251(<%/2&.2EMHFWLRQWRIRUP
   $&RUUHFW                                              7+(:,71(66$VDQH[DPSOHWKHUHDUHD
   4:KDWLVWKDW"                                         QXPEHURISV\FKRPHWULFDOO\YDOLGDWHGWRROVWKDWFDQQRW
   $,W VDPHDVXUHRIWKHGHJUHHDQGLQWHQVLW\RI         EHDGPLQLVWHUHGDWHYHU\FOLQLFDOHQFRXQWHURWKHUZLVH
   JHQGHUG\VSKRULD                                              WKH\ZRXOGEHUHQGHUHGLQYDOLG6RWKHUH VDORWRI


                                                 3DJH                                                                  3DJH
    4+RZLVLWZKDWGRHVLWORRNOLNH"'RHVLW         QXDQFHLQWKHVHVSHFLILFWRROVDQG,WKLQNWKDWOHYHORI
    KDYHDVHULHVRIVFDOHRQHWRWHQRQGLIIHUHQWLVVXHVRU        QXDQFHLVUHDOO\DFOLQLFDOMXGJPHQWEDVHGXSRQ
    ZKDWLVLW"                                                     SURIHVVLRQDODQGSUHYDLOLQJVWDQGDUGV
    $,W VDVHULHVRITXHVWLRQVWKDW, GKDYHWRKDYH       %<$77251(<75<21
    LQIURQWRIPHWRJLYHDEHWWHUMRERIGHVFULELQJEXW          42ND\
    LWSURYLGHVDUDWLQJRI,FDQ WUHPHPEHUZKDWWKH           6RWKHUH VQRREMHFWLYHPHDVXUHRIVRPHRQH
    UDQJHLVIURP]HURWRVRPHZKHUHLQWKHORZGR]HQVWKDW        RWKHUWKDQZHOOOHWPHEDFNXS6RGLIIHUHQW
    FRUUHODWHVZLWKWKHLQWHQVLW\RIJHQGHUG\VSKRULD              SV\FKLDWULVWVZRXOGFRPHXSZLWKGLIIHUHQWFRQFOXVLRQV
    4,VWKDWVRPHWKLQJWKDW\RXXVHLQ\RXUSUDFWLFH        ,VWKDWULJKW"
   WRGLDJQRVHJHQGHUG\VSKRULD"                                  $77251(<%/2&.2EMHFWLRQWRIRUP
   $,WLVDQHOHPHQWWKDW,KDYHXVHG                    7+(:,71(66,GRQ WWKLQNWKDW V
   4'R\RXXVHWKDWZLWKHYHU\SDWLHQW"                   UHODWHGWRZKDW,ZDVVSHDNLQJDERXW,WKLQNGLIIHUHQW
   $,WLVQRWVRPHWKLQJWKDW,XVHZLWKHYHU\             SV\FKLDWULVWVZRXOGXWLOL]HGLIIHUHQWLQVWUXPHQWVWR
   SDWLHQW7KHFRQWHQWVRIWKH8WUHFKW*HQGHU'\VSKRULD         SURYLGHDQDVVHVVPHQWDQGWKDW VJRLQJWRFKDQJHIURP
   6FDOHDUHJHQHUDOO\SLHFHVWKDW, PJHWWLQJRUJDWKHULQJ       SHUVRQWRSHUVRQ,FDQ WVSHDNWRGLDJQRVWLF
   IURPHYHU\FOLQLFDOHQFRXQWHUZLWKRXWQHFHVVDULO\              UHOLDELOLW\IRUDSV\FKLDWULVWWKDW,KDYHQ WPHWRU
   XWLOL]LQJWKHVSHFLILFWRRO                                   WUDLQHG
   47KLVVWDWHPHQWDFDUHIXODQGWKRURXJK                %<$77251(<75<21
   DVVHVVPHQWGRHVWKDWKDYHDLVWKHUHDVRXUFHIRU         4/HWPHDVN\RXKRZORQJ\RXZRXOGQRUPDOO\VSHQG
   WKDWSDUWLFXODUVWDQGDUG"                                      ZLWKDFKLOGEHIRUHRUDGROHVFHQWEHIRUHSUHVFULELQJ
   $7KHUHDUHDQXPEHURIVRXUFHVIRUWKLV                SXEHUW\EORFNHUV"
   SDUWLFXODUVWDQGDUG7KHJHQHUDOSUDFWLFHRIFKLOGUHQ V       $77251(<%/2&.2EMHFWLRQWRIRUP
   PHQWDOKHDOWKIURPP\JXLOGLQFKLOGDGROHVFHQFH               7+(:,71(667KHUHLVQRWJRLQJWREHD
   SV\FKLDWU\WKHUHDUH\HDUVRIWUDLQLQJDQG                    VLQJOHDQVZHUWRWKDWTXHVWLRQ,WUHDOO\LVGHSHQGHQW



                                                                                          3DJHVWR
                                                                                                       Armistead App. 0983
                                                  3DJH                                                          3DJH
    RQWKHUHTXLUHPHQWVRIWKHDVVHVVPHQWDVZHOODVWKH           7KHUHDUHFLUFXPVWDQFHVLQZKLFKSDWLHQWVKDYHEHHQ
    LQGLYLGXDOIDFWRUVRIWKDWFKLOGDQGWKDWIDPLO\               IROORZHGIRUVHYHUDO\HDUVE\WKHUDSLVWVWKDWFDQ
    %<$77251(<75<21                                              SURYLGHDWUHPHQGRXVDPRXQWRIFROODWHUDOLQIRUPDWLRQ
    4&RXOGWHQPLQXWHVEHORQJHQRXJK"                      LQFOXGLQJLQIRUPDWLRQSURYLGHGE\SDUHQWVIDPLO\
    $1RWLQP\RSLQLRQ                                     PHPEHUVFRPPXQLW\SURYLGHUVHWFHWHUDWKDWFDQDOORZ
    4:KDWDERXWPLQXWHV"                                 PRUHDEEUHYLDWHGDVVHVVPHQWIRUVRPHSHRSOH
    $/LNHO\QRW                                            %<$77251(<75<21
    4+RZDERXWDQKRXU"                                     4,VVRPHRQHDVFRQVLVWHQWO\VSHQGLQJRQO\DQKRXU
    $,WZRXOGEHYHU\DW\SLFDOLQP\SUDFWLFHWR            ZLWKRQHSDWLHQWZLWKHDFKSDWLHQWIRUUHFRPPHQGLQJ
   VSHQGWKDWOLWWOHWLPHSULRUWRPDNLQJDUHFRPPHQGDWLRQ        SXEHUW\EORFNHUVWKDWZRXOGORRNNLQGRIOLNHDUXEEHU
   IRUSXEHUW\VXSSUHVVLRQ,GRDPXFKPRUHWKRURXJK            VWDPSUHFRPPHQGDWLRQZRXOGQ WLW"
   DVVHVVPHQWWKDQDQKRXU                                       $77251(<%/2&.2EMHFWLRQ
   46RKRZORQJZRXOGDWKRURXJKDVVHVVPHQWQRUPDOO\      %<$77251(<75<21
   WDNH"                                                          4$VVXPLQJWKDWLW VKDSSHQLQJ"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWLRQWRIRUP
   %<$77251(<75<21                                             7+(:,71(66,ZRXOGKDYHWRVHHWKH
   4<RXVDLGPRUHWKDQDQKRXU,WKLQN"                   VSHFLILFVLQRUGHUWRPDNHDQ\NLQGRIFRPPHQW
   $&RUUHFW,ZRXOGVD\PRUHWKDQDQKRXU,           %<$77251(<75<21
   WKLQNPD\EHWKHUH VDFHLOLQJEXWQRWDURRI:KDW,         4,VQ WLWIDLUIRU'U/HYLQHRU&DQWRUWR
   PHDQE\WKDWWKDWLVWKHUHDUHFHUWDLQFULWHULDUHTXLUHG       H[SUHVVFRQFHUQWKDWLQDFWXDOSUDFWLFHWKDWPD\EH
   LQRUGHUWRPDNHDUHFRPPHQGDWLRQIRUDWUHDWPHQWIRU          KDSSHQLQJ"
   JHQGHUG\VSKRULDWREHRIIHUHG7KRVHLQFOXGHD               $77251(<%/2&.2EMHFWLRQWRIRUP
   GLDJQRVLVRIJHQGHUG\VSKRULDDUHFRJQLWLRQRIDQ\            7+(:,71(66,KDYHQRWVHHQDQ\ZKHUHLQ
   FRRFFXUULQJPHQWDOKHDOWKLVVXHVDQGZKHWKHURUQRW           'U&DQWRURU'U/HYLQH VUHSRUWRUZLWKLQWKH


                                                  3DJH                                                          3DJH
    WKH\DUHDGHTXDWHO\ZHOOFRQWUROOHGHQRXJKWREHDEOHWR        OLWHUDWXUHWKDWWKLVLVDSHUYDVLYHWKLQJWKDWLV
    SURFHHGZLWKFDUH$QGDFOHDUXQGHUVWDQGLQJRIWKH            KDSSHQLQJ
    ULVNVEHQHILWVDQGDOWHUQDWLYHVRIWKDWWUHDWPHQW             %<$77251(<75<21
    7KHUH VQRVSHFLILFWLPHIUDPHRQWKDWDVDQDVVHVVPHQW         4:HOOLW VQRWWUDFNHGDWDOOVRZHZRXOGQ W
    4+RZPDQ\YLVLWVZRXOG\RXH[SHFWWREHDGHTXDWH        NQRZZRXOGZHRQHZD\RUWKHRWKHU"
    IRUDFDUHIXODQGWKRURXJKDVVHVVPHQW"                          $77251(<%/2&.2EMHFWLRQWRIRUP
    $77251(<%/2&.2EMHFWLRQWRIRUP              7+(:,71(66,WLVDTXHVWLRQWKDWFRXOG
    7+(:,71(66$QG,DSRORJL]HLW V          EHDVNHG,GRQ WWKLQNLW VIRUPHWRPDNH
    , PQRWWU\LQJWREHHYDVLYH,WUHDOO\LVJRLQJWR            VXSSRVLWLRQVQRUGR,WKLQNLWLVIRU'U&DQWRUDQG
   GHSHQGXSRQHDFKLQGLYLGXDOFKLOG                             'U/HYLQHWRPDNHVXSSRVLWLRQVDERXWWKHFULWLFDOFDUH
   %<$77251(<75<21                                             RIWUDQVJHQGHU\RXWKLQWKLVFRQWH[W
   4:KDWDERXWLVRQHHQRXJK"+DYH\RXHYHUGRQHLW      %<$77251(<75<21
   JLYHQDUHFRPPHQGDWLRQIRUSXEHUW\EORFNHUDIWHU           4,VWKHUHDQ\LVWKHUHDQ\SODFHZKHUH\RX
   RQO\RQHYLVLWIRUDQKRXU"                                    UHSRUWDQ\FHQWUDOORFDWLRQZKHUH\RXRU\RXUFOLQLF
   $77251(<%/2&.&RPSRXQGTXHVWLRQ             UHSRUWKRZPXFKWLPHDQGHIIRUWDQGZKDW\RXUWKRURXJK
   7+(:,71(66,KDYHQHYHUJLYHQD              H[DPLQDWLRQLVVRWKDWLWFDQEHWUDFNHG"
   UHFRPPHQGDWLRQIRUSXEHUW\VXSSUHVVLRQDIWHUDRQHKRXU        $7KHVLWHZKHUH, PDWQRZLVSDUWRIDIRXUVLWH
   YLVLWSHUVRQDOO\                                              1,+WULDOWKDWKDVSXEOLVKHGRQWKHVSHFLILFDVVHVVPHQW
   %<$77251(<75<21                                             SURFHVVHVWKDWWKHNLGVZKRDUHLQYROYHGLQWKHVWXG\
   4:KDW VWKHPLQLPXPWLPHWKDW\RXWKLQNLV             HQJDJHLQ
   DGHTXDWH"                                                      4+RZPDQ\NLGVDUHLQWKDWWULDO"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $, PQRWDVSHFLILFSDUWLFLSDQWLQWKH
   7+(:,71(66$V,VDLG,GRQ WWKLQN          RUJDQL]DWLRQRIWKDWWULDOVR,GRQ WKDYHWKDW
   LW VEDVHGRQWLPH,W VEDVHGDERXWWKHFRQWHQW             LQIRUPDWLRQLQIURQWRIPH



                                                                                        3DJHVWR
                                                                                                           Armistead App. 0984
                                                 3DJH                                                                 3DJH
    4'RHV\RXUFOLQLFUHSRUWWRWKDWWULDO"                IRULGHQWLILFDWLRQ
    $0\JHQGHUFOLQLFWKHJHQGHUFOLQLFZLWKLQWKH        
    KRVSLWDOWKDW,ZRUNLQWKHUHDUHPDQ\SDWLHQWVZKRDUH       $77251(<75<21,I\RXFRXOGEULQJWKDW
    HQUROOHGLQWKDWWULDO\HV                                   XS-DNH
    4%XWLW VFHUWDLQO\QRWPDQGDWHGULJKW"               9,'(2*5$3+(5<HV*LYHPHRQHVHFRQG
    $1R                                                   , PMXVWPDUNLQJWKDWULJKWQRZ:HPLJKWKDYHWRPDUN
    4:KHQWKHVHFDUHIXODQGWKRURXJKDVVHVVPHQWVDUH       WKLVRQHSK\VLFDOO\7KHSURJUDPZRQ WPDUNLWEHFDXVH
    GRQHZKDWW\SHRIGRFXPHQWDWLRQVKRXOGEHXVHGIRU            LW VDUHGDFWHGGRFXPHQW
    WKDW"                                                          $77251(<75<212ND\7KHQZH OOGR
   $77251(<%/2&.2EMHFWLRQWRIRUP            WKDWWREULQJWKDWXS$QGWKHQLI\RXFRXOG-DNH
   7+(:,71(667KDW VDYHU\FRQWH[WXDO         MXVWVFUROOGRZQLQWKLV,MXVWKDYHDFRXSOH
   TXHVWLRQ:HKDYHSUHYDLOLQJVWDQGDUGVLQWHUPVRIZKDW      TXHVWLRQVDERXWWKLVIRUP
   VKRXOGDQGVKRXOGQ WEHGRFXPHQWHGWKURXJKYDULRXV            7+(:,71(662ND\
   SURIHVVLRQDORUJDQL]DWLRQVEXWWKDW VJRLQJWRFKDQJH        $77251(<75<21*RRQWRWKHQH[WSDJH
   IURPVWDWHWRVWDWHFRXQWU\WRFRXQWU\                      GRZQ
   %<$77251(<75<21                                            %<$77251(<75<21
   4$QGZKDWDERXWLQWKH6WDWHRI:HVW9LUJLQLD"        4+DYH\RXHYHUVHHQDIRUPOLNHWKLV"
   $,KDYHQRNQRZOHGJHRIGRFXPHQWDWLRQ                 $77251(<%/2&.2EMHFWLRQWRIRUP1R
   UHTXLUHPHQWVLQWKH6WDWHRI:HVW9LUJLQLD                   SXQLQWHQGHG
   4+RZDERXWLQWKH8QLWHG6WDWHVLQJHQHUDO"           7+(:,71(66&RXOG\RXEHDOLWWOHPRUH
   $$VIDUDV, PDZDUHWKHUHDUHQRXQLYHUVDO          VSHFLILF",PHDQ, YHVHHQWKLVLVNLQGRIYHU\
   UHFRPPHQGDWLRQVLQWHUPVRIVSHFLILFVRIKRZWKLQJVDUH       W\SLFDOIRUDORWRILQWDNHW\SHGRFXPHQWVLQPHQWDO
   GRFXPHQWHG                                                   KHDOWKFOLQLFVRULQPHGLFDOFOLQLFV
   4$UHWKHUHDQ\RUJDQL]DWLRQVOLNHWKH:3$7+RU        %<$77251(<75<21


                                                 3DJH                                                                 3DJH
    DQ\RWKHURUJDQL]DWLRQVWKDWGRJLYHUHFRPPHQGDWLRQVRQ        46R\RXZRXOGFKDUDFWHUL]HWKLVDVDW\SLFDO
    ZKDWGRFXPHQWDWLRQWRXVHLQ$PHULFD"                          LQWDNHIRUP"
    $:3$7+KDVFHUWDLQO\SURYLGHGVRPHHGXFDWLRQDO         $77251(<%/2&.2EMHFWLRQ
    HYHQWVLQWHUPVRIEHVWSUDFWLFHVLQGRFXPHQWLQJEXW          7+(:,71(66,ZRXOGQ WFKDUDFWHUL]HLW
    WKHVHDUHQ WVSHFLILFJXLGHOLQHVRUUHFRPPHQGDWLRQV,        LQWKDWZD\,KDYHVHHQW\SLFDOLQWDNHIRUPVWKDW
    WKLQNLWLVQRWDEOHWRVD\WKDWWKH'XWFKFOLQLFLQ            UHVHPEOHWKLVLQVRPHZD\V
    SDUWLFXODUKDVEHHQTXLWHYLJRURXVLQWKHLUSURGXFWLRQ         %<$77251(<75<21
    RIUHVHDUFKDQGLVTXLWHZHOOUHVSHFWHGLQWKHZRUOGLQ        4:RXOGWKLVEHVRPHWKLQJWKDW\RXZRXOGFRQVLGHU
    WHUPVRIKRZWKLQJVDUHVWUXFWXUHGDQGWKH\DFWXDOO\          DGHTXDWHWRGRFXPHQWDFDUHIXODQGWKRURXJKDVVHVVPHQW"
   GRQ WHYHQKDYHDOHWWHUWKDWWKHLUFOLQLFLDQVZULWH          $77251(<%/2&.2EMHFWLRQWRIRUP
   DQGRUVHHLQLWLDWLRQRISXEHUW\VXSSUHVVLRQIRU              7+(:,71(66$JDLQZLWKRXWNQRZLQJWKH
   JHQGHUDIILUPLQJKRUPRQHV                                    FRQWH[WRIWKHLQGLYLGXDO VSUDFWLFHLW VLPSRVVLEOH
   $77251(<75<21-DNHLI\RXFRXOGEULQJ      IRUPHWRVD\
   XSWKHH[KLELWHQWLWOHG$GROHVFHQW0HGLFLQH                  %<$77251(<75<21
   &RQILGHQWLDO3DWLHQW4XHVWLRQQDLUHZKLFKKDVEHHQ            4,VWKLVDIRUPWKDW\RXZRXOGXVHIRUFDUHIXO
   UHGDFWHG"                                                     DQGWKRURXJKDVVHVVPHQWRIDSDWLHQW VPHQWDOKHDOWK"
   9,'(2*5$3+(5'R\RXZDQWWKDWPDUNHG"        $77251(<%/2&.2EMHFWLRQWRIRUP
   $77251(<7<521<HVSOHDVHZKHUHYHUZH      7+(:,71(66,GRQ WXVHWKLVIRUP,
   DUHDWLQWKHQH[WQXPEHU                                    FDQ WVD\ZKHWKHURUQRW,ZDVLQWKHFRQWH[WWKLV
   9,'(2*5$3+(5,EHOLHYHZH UHDW          SURYLGHUZDVSUDFWLFLQJWKDW,ZRXOGQ WXVHWKLVIRUPDV
   /$:&/(5.:,/.,1621                      SDUWRIP\DVVHVVPHQW
   $77251(<6:$0,1$7+$1                     %<$77251(<75<21
                                   4)DLUHQRXJK'R\RXXVHLWDVDSDUWRI\RXU
    :KHUHXSRQ([KLELW)RUPZDVPDUNHG       FDUHIXOWKRXJKWWKRURXJKDVVHVVPHQWRIWKHSDWLHQW V



                                                                                         3DJHVWR
                                                                                                      Armistead App. 0985
                                                  3DJH                                                         3DJH
    PHQWDOKHDOWKDUHWKHUHDQ\RWKHUIRUPVWKDW\RXH[SHFW        DVHDUO\DV\HDUVROGRUVRPHWLPHVHYHQHDUOLHU
    WRVHHLQWKHFDUHJLYHU VILOHDERXWWKDWSDWLHQW V             5LJKW"
    PHQWDOKHDOWK"                                                  $,FDQ WVD\WKDW, PIDPLOLDUZLWKKRZHDFK
    $1RWVSHFLILFDOO\                                      VWDWHRUJDQL]HVWKHLUSULPDU\DQGVHFRQGDU\HGXFDWLRQ
    47KLVZRXOGEHDGHTXDWH"                                V\VWHPV, PIDPLOLDUZLWKKRZLWZDVLQ1HZ<RUNDQG
    $77251(<%/2&.2EMHFWLRQWRIRUP              ,OOLQRLVDQGWKDWZDVRFFDVLRQDOO\WKHFDVH
    7+(:,71(66$JDLQ,FDQ WVSHDNWR           46RLIDQ\HDUROGZKRKDVQRWJRQHWKURXJK
    WKHDGHTXDF\RILWZLWKRXWXQGHUVWDQGLQJWKHFRQWH[WRI         SXEHUW\LVLQ0LGGOH6FKRROWKHQWKLVZRXOGGHILQLWHO\
    WKHUHVWRIWKHWUHDWPHQW                                      DSSO\WRVRPHSUHSXEHVFHQWFKLOGUHQ
   %<$77251(<75<21                                             5LJKW"
   4,VWKHUHDQ\FHUWLILFDWLRQWKDW\RXWKLQNLV          $77251(<%/2&.2EMHFWLRQWRIRUP
   QHFHVVDU\RUDSSURSULDWHIRUVRPHRQHWRGLDJQRVHJHQGHU        %<$77251(<75<21
   G\VSKRULD"                                                     4, PVRUU\,GLGQ WPDNHWKDWFOHDU6RLI
   $7KHUHLVQRXQLYHUVDOFHUWLILFDWLRQSURFHVV          WKHUHDUHSUHSXEHVFHQWER\VWKDWDUHLQPLGGOHVFKRRO
   :KDWZHKDYHDUHJXLGHOLQHVDQGUHFRPPHQGDWLRQVIRU            WKHQ+%ZRXOGDIIHFWWKHP
   HQVXULQJWKDWIRONVIRUWKHPHQWDOKHDOWKSURVSHFWLYH         5LJKW"
   DJDLQPHGLFDOSURIHVVLRQDOVDUHDEOHWRGLDJQRVHJHQGHU       $,ZRXOGKDYHWRSXW+%LQIURQWRIPHWR
   G\VSKRULDEXWIURPWKHPHQWDOKHDOWKSURVSHFWLYHLW V        WRNQRZVSHFLILFDOO\, GKDYHWRUHIDPLOLDUL]H
   UHFRPPHQGHGWKDWZHDUHOLFHQVHGFOLQLFDOSURIHVVLRQDOV        P\VHOIZLWKLWWKHVSHFLILFVRILW
   WKDWKDYHVRPHLIQRWDQH[SHUWOHYHORIXQGHUVWDQGLQJ        4, PVRUU\WRLQWHUUXSW\RX
   RIJHQGHULGHQWLW\LVVXHVDQGKDYLQJFRQWLQXLQJ                $<HDK,ZRXOGQ WZDQWWRFRPPHQWRQVRPHWKLQJ,
   HGXFDWLRQLQWKHILHOG7KHVHDUHRQJRLQJ                     GRQ WKDYHLQIURQWRIPHULJKWQRZ
   UHFRPPHQGDWLRQV,ZRXOGQ WVD\LWZDVWKHH[SHUWLVH         42ND\
   EXWNQRZOHGJHDERXWVWDQGDUGRIFDUHWKDW VFRQJUXHQW          6RMXVWVR\RXNQRZ,KDGWRUHORFDWHIURPP\


                                                  3DJH                                                         3DJH
    ZLWKKRZRWKHUGLVRUGHUVDUHDOVRWUHDWHG                      RIILFHWRP\KRPHDQGWKHUH VDSRRGOHLQKHUHWKDW\RX
    4/HWPHDVN\RXDERXWSDUDJUDSKRI\RXU              PD\KHDU6RIRUJLYHLI\RXKHDUWKHLQWHUUXSWLRQ
    UHSRUW                                                         $77251(<%/2&.2EMHFWLRQWRWKH
    'R\RXVHHWKHODVWVHQWHQFHWKHUH"                    SRRGOH
    $<HV                                                   $77251(<75<21/HWPHWDNHRQHVHFRQG
    4,WVD\V+%GRHVQRWDIIHFWHOHPHQWDU\             ,ZLOOEHULJKWEDFN
    VWXGHQWVHOHPHQWDU\VFKRROVWXGHQWVZKRDUH                 7+(:,71(660D\EHQRZLVDJRRGWLPH
    WUDQVJHQGHUER\V"                                               IRUEDWKURRPEUHDN
    $<HV                                                   $77251(<%/2&./HW VJRRIIWKHUHFRUG
   46R\RXSUHYLRXVO\WHVWLILHGWKDWSXEHUW\LV       9,'(2*5$3+(5*RLQJRIIWKHUHFRUGWKH
   VWDUWVRQWKHDYHUDJHDERXWDJHIRUPDOHV                  WLPHUHDGVSP
   5LJKW"                                                  2))9,'(2
   $77251(<%/2&.2EMHFWLRQWRIRUP             
   7+(:,71(66$JDLQ,ZRXOGGHIHUWRRXU        :+(5(8321$6+257%5($.:$67$.(1
   WKDW VDQDQVZHUDEOHTXHVWLRQEDVHGXSRQQDWLRQDO          
   GDWDWKDW,GRQ WKDYHLQIURQWRIPHEXWLVKLV          219,'(2
   \HV                                                           $77251(<7<5212ND\OHW VJREDFNRQ
   %<$77251(<75<21                                             WKHUHFRUG
   4$QGWKHUDQJHZRXOGEHIURPZKDW,UHDGWKH      9,'(2*5$3+(5%DFNRQWKHUHFRUGWKH
   UDQJHLVJHQHUDOO\EHWZHHQDQG\HDUVROG                 FXUUHQWWLPHUHDGVSP
   5LJKW"                                                %<$77251(<75<21
   $$JDLQ,ZRXOGGHIHUWRP\HQGRFULQHFROOHDJXHV      4/HWPHGLUHFW\RXWRSDUDJUDSKRI\RXU
   EXW\HVWKDW VWKDW VSUHWW\W\SLFDO                     UHSRUW"
   4$QG\RX UHDZDUHWKDWER\VJRLQWR0LGGOH6FKRRO      $<HS


                                                                                       3DJHVWR
                                                                                                     Armistead App. 0986
                                                 3DJH                                                         3DJH
    46RWKHUH VWKHOHW VVHHVWDUWLQJZLWKWKH       SULPDULO\WKHJHQGHUUROHEDVHGEHKDYLRUVWKDWZHUH
    ZRUGSUHSXEHUWDOFKLOGUHQZKRKHLQVLVWVDUHFKLOGUHQ          OHDGLQJWRWKLVGLDJQRVLVDVRSSRVHGWRDFKDQJHLQ
    ZLWKQRQFRQIRUPLQJJHQGHUH[SUHVVLRQZKRUHDOL]HDWWKH       LGHQWLW\
    RQVHWRISXEHUW\WKDWWKHLUJHQGHULGHQWLW\LV                 %<$77251(<75<21
    FRQVLVWHQWZLWKWKHLUVH[DVVLJQHGDWELUWK7KHLU            4<RXZHUHIUHH]LQJXSRQPHVROHWPHMXVWVHH
    XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\FKDQJHVDWWKH          LI,FDQXQGHUVWDQGWKLVE\ORRNLQJDWWKH
    RQVHWRISXEHUW\EXWWKHLUJHQGHULGHQWLW\GRHVQRW          WUDQVFULSWLRQ,IDFKLOGH[SODLQVWKHUHDVRQVZK\KH
    6RWKDW VUHDOO\DFLUFXODUDUJXPHQWXQOHVVWKHUH VVRPH       RUVKHKDVDGLIIHUHQWJHQGHULGHQWLW\WKDWKLVRUKHU
    REMHFWLYHH[WHUQDOZD\RISURYLQJZKDWWKDWFKLOG V            QDWDOVH[WKHQDWDOVH[GHVLJQDWLRQWKHQODWHUVD\VWKH
   JHQGHULGHQWLW\DFWXDOO\LVZRXOGQ W\RXDJUHH"              RSSRVLWHWKHUHLVUHDOO\QRZD\RIWHOOLQJZKHWKHURU
   $77251(<%/2&.2EMHFWLRQWRIRUP            QRWLW VMXVWWKHSHUVRQ VJHQGHULGHQWLW\RUWKH
   7+(:,71(66,WKLQNWKDWWKHUHVHDUFK        XQGHUVWDQGLQJRIWKHLGHQWLW\KDVFKDQJHGEDVHGRQWKDW
   WKDWZHKDYHRQLQKHUHQWJHQGHULGHQWLW\LVUHODWLYHO\        FKLOG VRUSHUVRQ VVWDWHPHQWV
   UHFHQWDQGQHHGVDOLWWOHELWPRUHUREXVWIROORZXS          5LJKW"
   :KDWZHKDYHDUHVWXGLHVRIFRJQLWLRQDVZHOODVVRPH         $77251(<%/2&.2EMHFWLRQWRIRUP
   YHU\OLPLWHGEUDLQLPDJLQJVWXGLHVWKDWSRLQWWRVRPH         7+(:,71(66,ZRXOGVD\WRFRPSOLFDWH
   HOHPHQWRIJHQGHULGHQWLW\WKDWKDVDQREMHFWLYH              PDWWHUVHYHQIXUWKHUDQXPEHURIWKHVWXGLHVWKDWDUH
   FULWHULDWRLW7KHVHDUHQRWVWXGLHVWKDWDUH               XVHGWRGHVFULEHWKLVGHVLVWDQFHSKHQRPHQRQZHUHILUVW
   VLJQLILFDQWHQRXJKRUKDYHHQRXJKSDUWLFLSDQWVIRUXVWR      FDUULHGRXWXQGHUWKH'60,92QWKH'60,9WKH
   GUDZDQ\NLQGRIVLJQLILFDQWFRQFOXVLRQVEXWLWGRHV         GLDJQRVLVZDVJHQGHUGLVRUGHULQFKLOGKRRG$QGLQWKDW
   VSHDNZKHQSDLUHGZLWKFOLQLFDOH[SHULHQFHVRINLGVZKR       QRPHQFODWXUHDQLGHQWLW\WKDWLVLQFRQJUXHQWZLWKVH[
   KDYHGHVLVWHGWKDWWKHZD\WKDWWKH\GHVFULEHWKHLU           DVVLJQHGDWELUWKZDVQRWRQHRIWKHUHTXLUHGHOHPHQWV
   LGHQWLW\LVWKDWLWLVQRWDIL[RUDFKDQJHLQWKHLU         $QGVRWKHUHDUHFKLOGUHQZKRDUHGHVFULEHGLQWKH
   VHQVHRIVHOIEXWPRUHDERXWWKHH[SUHVVLRQRIWKHLU          FRPPRQSDUODQFHDVWUDQVJHQGHUEHFDXVHWKH\PHWFULWHULD


                                                 3DJH                                                         3DJH
    EHKDYLRUVDQGWKHLUXQGHUVWDQGLQJRIKRZWKH\ILWLQWR         IRUZKDWZDVWKHQJHQGHULGHQWLW\GLVRUGHUZKR
    WKHZRUOGWKDWKDVFKDQJHG                                    QHYHUWKHOHVVGLVFXVVHGDQ\LGHQWLW\LQFRQJUXHQWZLWK
    46RDV\RXVD\LW VWRRHDUO\WRUHDOO\NQRZIRU       WKHLUVH[DWELUWK6RWKDWPDNHVLWKDUGWRGUDZILUP
    VXUHZKLFKRIWKHVHWKLQJVLWLVULJKW"                       FRQFOXVLRQVDERXWGDWDFDSWXUHGXQGHUWKH'60,9
    $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<75<21
    7+(:,71(66:KDW,ZRXOGVD\LVLW VD        4$QG\RXDUHIDPLOLDUZLWKWKDWGLDJQRVWLFDQG
    SUHSRQGHUDQFHRIFOLQLFDOH[SHULHQFHDQGWKHVWXGLHV           VWDWLVWLFDOPDQXDORIPHQWDOGLVRUGHUV
    WKDWZHGRKDYHSRLQWWRWKLVEHLQJPXFKPRUHOLNHO\          5LJKW"
    %<$77251(<75<21                                             $,DP
   40XFKPRUHOLNHO\LVWKDW\RXUWHVWLPRQ\"            4$QG\RXFLWHGLWLQ\RXUUHSRUWV
   $%DVHGRQP\FOLQLFDOH[SHULHQFHV\HV               5LJKW"
   4%XWWKHUH VQRZD\WKDWDQ\RQHRXWVLGHRI        $&RUUHFW
   WKHUH VQRREMHFWLYHPHDVXUHPHQWWRPDNHWKDW                 47KDWLVDPDQXDOWRDVVLVWLQWKHGLDJQRVLVRI
   GHWHUPLQDWLRQULJKW"                                         PHQWDOGLVRUGHUV
   $77251(<%/2&.2EMHFWLRQWRIRUP            5LJKW"
   7+(:,71(667KHZD\WKDW,ZRXOG             $7KDWLVFRUUHFW
   GHVFULEHLWLVWKDWJHQGHUG\VSKRULDDVDGLDJQRVLV           4,VWKHUHDYDOXHRIWRFODVVLI\LQJDFRQGLWLRQ
   LQFOXGHVERWKLGHQWLW\EDVHGFULWHULDWKDWDUHREMHFWLYH      DVDPHQWDOGLVRUGHUV"
   DQGDUHPHDVXUHGWKURXJKWKHFRXUVHRIWKHVFDOHVWKDW        $77251(<%/2&.2EMHFWLRQWRIRUP
   ZHWDONHGDERXWHDUOLHUDVZHOODVPHDVXUHVRIUROHDQG      7+(:,71(66,GRQ WNQRZLI,FDQRIIHU
   EHKDYLRUDQGFRQJUXHQFHZLWK\RXUERG\7KHVHDUH            DQH[SHUWRSLQLRQRQWKDW,KDYHDELDVHGWDON
   WKLQJVWKDWDUHWUDFNHGRYHUWLPHLQWKHVWXGLHVWKDWZH      DERXWDVHOHFWLRQELDVDVDSV\FKLDWULVWDQGDPHQWDO
   KDYHDQGZKHQDFKLOGGHVLVWVIURPWKDWGLDJQRVLVRI         KHDOWKSURIHVVLRQDO,WKLQNLW VLPSRUWDQWIRUXVWR
   JHQGHUG\VSKRULDLWLVFOHDUDWWKDWSRLQWWKDWLWZDV        GHVWLJPDWL]HPHQWDOLOOQHVVDVPXFKDVSRVVLEOHVR


                                                                                      3DJHVWR
                                                                                                          Armistead App. 0987
                                                          3DJH                                                     3DJH
    ZKDWHYHULVJRLQJWRDOORZIRONVDFFHVVWRFDUH, P               GLVFULPLQDWLRQ+RZHYHUWKHUHKDVEHHQOLWHUDWXUH,
    UHODWLYHO\QHXWUDORQSODFLQJDYDOXHRQZKHWKHURUQRW            FDQ WUHPHPEHUWKHQDPHVRIWKHDXWKRUVRUWKHGDWHRI
    VRPHWKLQJLVDGLDJQRVLVRUQRW                                   WKHVWXG\WKDWORRNDWVSHFLILFODZVWKDWDUHHQDFWHG
    %<$77251(<75<21                                                 WRGLVFULPLQDWHDJDLQVW/*%7SHRSOHDQGLPSDFWRQERWK
    4$PDQXDOGRHVQRWUHFRPPHQGDQ\WUHDWPHQWVRQO\          PHQWDOKHDOWKDQGPHGLFDOKHDOWKDQGVRWKRVHNLQGRI
    WRROVIRUGLDJQRVLV                                               GLVFULPLQDWLRQODZVFHUWDLQO\GRKDYHUHDOIHOWLPSDFW
    ,VWKDWULJKW"                                            IRUWUDQVJHQGHUIRONV
    $77251(<%/2&.2EMHFWLRQWRIRUP                 %<$77251(<75<21
    7+(:,71(667KHPDLQJRDORI'60IRU              46RDUH\RXVD\LQJWKDWWKLVVHQWHQFHLV
   FODVVLI\LQJGLDJQRVHVDQGHQVXULQJVWDELOLW\RU                   UHIHUULQJWRDODZVXFKDV+%RUQRW"
   UHOLDELOLW\RIWKRVHGLDJQRVHVDFURVVSUDFWLFH                    $,WKLQNDV,VWDWHGIRUWKHVDNHRIWKLV
   ORFDWLRQV                                                        H[SHUWUHSRUWWKH<KXWRUHIHUHQFHIURPLVZKDW, P
   %<$77251(<75<21                                                XVLQJWRFUDIWWKDWVWDWHPHQW
   47KDWGRHVQRWUHFRPPHQGRUHYHQSURYLGHDQ\              4, PVRUU\WKHZKDWIURP"
   WUHDWPHQWV                                                       $)RRWQRWHQXPEHU
   5LJKW"                                                   4:KDWDUHWKRVHSURIRXQGLPSDFWVRIPHQWDOKHDOWK
   $7KHWH[WRIWKH'60RIWHQUHFRPPHQGVRU                  WKDW\RXDUHUHIHUULQJWR"
   GHVFULEHVWUHDWPHQWV                                             $:HOODV,PHQWLRQHGHDUOLHULQP\UHSRUWDUH
   4'RHVLWGHVFULEHWUHDWPHQWVIRUJHQGHU                   FRUUHODWLRQEHWZHHQPDQ\H[SRVXUHVWKDWWUDQVJHQGHU
   G\VSKRULD"                                                        LQGLYLGXDOVKDYHDQGLQFUHDVHGUDWHVRIVXLFLGHVHOI
   $7KHWH[WZDVUHFHQWO\UHYLVHGIRUJHQGHU                 KDUPVXEVWDQFHXVHH[SRVXUHWRWUDXPDWKDWKDYH
   G\VSKRULDDQGVR,UHDOO\ZDQWWRVHHWKHWH[WLQIURQW          FHUWDLQO\SURIRXQGQHJDWLYHLPSDFWVIRUWKHIRONVZKR
   RIPHIRUPHWRWDONDERXWLW                                    DUHH[SHULHQFLQJWKHP
   46RLQWKH'609\RXGRQ WNQRZLILWKDVDQ\             4$QGRIWKRVHKDUPVWKDW\RXKDYHMXVWPHQWLRQHG


                                                          3DJH                                                     3DJH
    UHFRPPHQGDWLRQVIRUWUHDWPHQWVLQLWIRUJHQGHU                    DUH\RXDZDUHRIDQ\RIWKHPFDXVHGE\WRDFKLOGRU
    G\VSKRULD"                                                         SHUVRQZKRZDVQRWZKRZDVDWUDQVJHQGHUIHPDOHQRW
    $,GRQ WNQRZLQWKHUHYLVHGWH[WKRZPXFKZDV             DOORZHGWRSDUWLFLSDWHRQDJLUOVRUZRPDQ VDWKOHWLF
    FKDQJHGZLWKRXWIDPLOLDUL]LQJP\VHOIZLWKLW$QG, P             WHDP"
    KDSS\WRORRNDWLW,W VDTXLFNUHDGEXWSULPDULO\             $$V,KDGWHVWLILHGWRHDUOLHU,WKLQN,VDLG
    WKH'609DVLWFRPHVWRJHQGHUG\VSKRULDLVD                     , YHKDGWZRRUWKUHHSDWLHQWVZKRDUHH[FOXGHGIURP
    GHVFULSWLRQRIWKHSKHQRPHQRORJ\QRWDUHFRPPHQGDWLRQ              VSRUWVWHDPVRQHRIZKLFKZDVDFKLOGZKRZDVDVVLJQHG
    IRUWUHDWPHQWV                                                    PDOHDWELUWKZKRDWDJHVL[ZDVQRWDOORZHGWR
    4$QGZKHQZDVLWUHYLVHG"                                  SDUWLFLSDWHLQWKHVSRUW,FDQ WUHPHPEHUZKDWVXSSRUW
   $,WZDVMXVWUHOHDVHGDERXWDZHHNDJRPD\EH             LWZDV7KLVZDVDFKLOGZKRZDVKHFNOHGDQGNLFNHGRXW
   WZR                                                              RIWKHJURXSRIIULHQGVWKDWZHUHSDUWLFLSDWLQJLQWKDW
   4/HWPHDVN\RXWRWDNHDORRNDW\RXUUHSRUW            VSRUWZKLFKOHGWRQHJDWLYHPHQWDOKHDOWKFRQVHTXHQFHV
   SDUDJUDSK<RXVD\WRWKHFRQWUDU\DVQRWHG                  IRUWKDWLQGLYLGXDOFKLOG
   SUHYLRXVO\VWLJPDDQGGLVFULPLQDWLRQKDYHEHHQVKRZQWR          4:KDWVSHFLILF,SUHVXPHWKDW VWKRXJKWVRI
   KDYHDSURIRXQGO\KDUPIXOLPSDFWRQWKHPHQWDOKHDOWKRI          VXLFLGDOLW\
   WUDQVJHQGHUSHRSOHDQGRWKHUPLQRULW\JURXSV1RZZKHQ          5LJKW"
   \RXVD\VWLJPDDQGGLVFULPLQDWLRQ\RX UHQRWUHIHUULQJ           $7KDQNIXOO\DWWKDWDJHWKH\ZHUHQRW
   VSHFLILFDOO\WRQRWDOORZLQJDVXVLQJ\RXUWHUPD               4+RZGLGWKDWFKLOGDGDSWWRWKHVLWXDWLRQ"
   WUDQVJHQGHUJLUOWRSDUWLFLSDWHRQDJLUOVVSRUWVWHDP            $:HOOZHZRUNHGZLWKWKHFKLOGWKHIDPLO\DQG
   WREHWKDWW\SHRIVWLJPDRUGLVFULPLQDWLRQDUH\RX"             WKHVSRUWVWHDPWRXQGHUVWDQGZKDWWKLVFKLOGPD\QHHG
   $77251(<%/2&.2EMHFWLRQWRWKHIRUP            DQGHQGHGXS,WKLQNLWZDV7EDOO,WKLQNHQGHGXS
   7+(:,71(667KHUHIHUHQFHWKDW,                 MRLQLQJWKH7EDOOWHDP
   UHIHUUHGWRLQP\UHSRUW,ZRXOGZDQWWRORRNDW                 46RKRZPXFKKRZPXFKRIDGHOD\ZDVWKHUH
   EHFDXVHWKH\KDGDQRSHUDWLRQDOWHUPIRUVWLJPDDQG               EHWZHHQZDQWLQJWRMRLQWKH7EDOOWHDPDQGEHLQJ



                                                                                           3DJHVWR
                                                                                                       Armistead App. 0988
                                                       3DJH                                                     3DJH
    DOORZHGWRMRLQWKH7EDOOWHDP"                                JHQHUDO,PHDQ\RXPDGHDJHQHUDOL]HGVWDWHPHQWKHUH
    $7KLVZDV\HDUVDJRVR,GRQ WUHFDOOWKH              LQWKHODVWVHQWHQFHRISDUDJUDSK6RP\TXHVWLRQ
    VSHFLILFV                                                      LVDVLWSHUWDLQVWRWKLVJHQHUDOL]HGVWDWHPHQWLV
    4:RXOGLWEH\RXUWHVWLPRQ\WKDWDQ\GHOD\DWDOO       WKHUHDQ\GHOD\WKDWZRXOGQRWFDXVHDSURIRXQGO\
    EHWZHHQWKHWLPHRILGHQWLI\LQJIRUDQDWDOPDOH                KDUPIXOLPSDFWRQWKHPHQWDOKHDOWKRIWUDQVJHQGHU
    LGHQWLI\LQJDVDIHPDOHDQGSDUWLFLSDWLQJRQDIHPDOH           SHRSOHLIWKH\DUHGHQLHGWKHRSSRUWXQLW\WRLPPHGLDWHO\
    WHDPZRXOGEHSURIRXQGO\KDUPIXO"                               SDUWLFLSDWHLQWKHVSRUWVWHDPRIWKHLUJHQGHULGHQWLW\"
    $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    7+(:,71(66,KDYHQRWVHHQDQ\VWXGLHV        FKDUDFWHUL]DWLRQ
   WKDWKDYHDVNHGWKDWTXHVWLRQRUFRXOGVSHDNWRWKH            7+(:,71(66,W VDORQJVHQWHQFHZLWKD
   GXUDWLRQRIWLPHEHWZHHQH[FOXVLRQIURPDQDFWLYLW\DQG        ORWRIFODXVHV, PWU\LQJWR, PWU\LQJWRSDUVH
   WKHPHQWDOKHDOWKLPSDFWV                                     WKHPDOORXWWRPDNHVXUHWKDW, PDQVZHULQJWKLV
   %<$77251(<75<21                                             DFFXUDWHO\$V,WHVWLILHGWRLQP\UHSRUWWKHUH V
   4,VLW\RXUSRVLWLRQWKDWDVVRRQDVWKHFKLOGRU      HYLGHQFHRIGLVFULPLQDWLRQVWLJPDDQGELDVOHDGLQJWR
   SHUVRQZKRLVDQDWDOPDOHGHWHUPLQHVRULGHQWLILHVDVD       LQGLYLGXDOKDUPV7KHVSHFLILFPDQLIHVWDWLRQRIWKRVH
   IHPDOHWKDWWKDWSHUVRQVKRXOGEHLPPHGLDWHO\DOORZHG         KDUPVDUHKLJKO\LQGLYLGXDOL]HGDQGUHTXLUHLQGLYLGXDO
   WRSOD\RQIHPDOHWHDPV"                                       DVVHVVPHQWRIHDFKFKLOGDQGIDPLO\LQRUGHUWRNQRZ
   $77251(<%/2&.2EMHFWLRQWRIRUPDQG          :KLFKLVZK\\RXFDQ WVSHDNWRWKHVSHFLILFLPSDFWVIRU
   VFRSH                                                         HDFKLQGLYLGXDOFKLOGEXWZKDWZHNQRZDUH
   7+(:,71(66, PQRWDEOHWRDQVZHUWKDW       SRSXODWLRQEDVHGGDWD
   TXHVWLRQ,WKLQNWKDW VRXWRIWKHVFRSHRIP\               4,VLW\RXUYLHZWKDWLIDIWHUDSV\FKLDWULVWRU
   H[SHUWLVH                                                     SV\FKRORJLVWRUDSSURSULDWHKHDOWKFDUHLQGLYLGXDO
   %<$77251(<75<21                                             GHWHUPLQHVWKDWWKHUHZRXOGEHDSURIRXQGO\KDUPIXO
   4/HWPHDVNLWGLIIHUHQWO\EHFDXVH,GLGQ WDVN        LPSDFWWKDWKHDOWKFDUHSURIHVVLRQDOVKRXOGEHWKHRQHWR


                                                       3DJH                                                     3DJH
    LWTXLWHDVDUWIXOO\DV,FRXOGKDYH<RXLQGLFDWHG            GHWHUPLQHZKHWKHURUQRWWKHFKLOGVKRXOGEHDOORZHGWR
    SURIRXQGO\KDUPIXORUKDYHDSURIRXQGO\KDUPIXOLPSDFW         SDUWLFLSDWHRQDJLUO VWHDP"
    6RLIDFKLOGRUDGROHVFHQWRUDGXOWDGXOWPHDQLQJ             $,GRQ WKDYHDVSHFLILFRSLQLRQDERXWKRZVSRUWV
    DQ\RQHWKURXJKFROOHJLDWHDJHZHUHWREHDQDWDOPDOH          DGPLQLVWUDWLRQYDU\IURPVWDWHWRVWDWH,NQRZLW V
    DQGLGHQWLI\DVDIHPDOHDQGLVQRWDOORZHGWR                  YHU\GLIIHUHQWIURPVWDWHWRVWDWH:KDW,ZRXOGVD\LV
    LPPHGLDWHO\SDUWLFLSDWHRQIHPDOHWHDPVZRXOGWKDWEH          IURPDPHQWDOKHDOWKSHUVSHFWLYHP\JRDOLVWRKHOSRXU
    SURIRXQGO\KDUPIXOZRXOGLWKDYHDSURIRXQGO\KDUPIXO          NLGVDFFHVVVSDFHVWKDWDUHJRLQJWREHKHDOWKSURPRWLQJ
    LPSDFWRQWKHLUPHQWDOKHDOWK"                                  DQGEXLOGUHVLOLHQFH,WKLQNLW VLPSRUWDQWIRUKHDOWK
    $7KDWZRXOGUHTXLUHDQLQGLYLGXDOL]HGDVVHVVPHQW        SURIHVVLRQDOVWREHLQYROYHGLQWKHGHFLVLRQVWKDWDUH
   RIWKDWFKLOGRU\RXQJDGXOWLQRUGHUWRXQGHUVWDQGWKH        PDGHEXW,FDQ WVSHDNWRWKHOHJLVODWLYHSURFHVV
   SRWHQWLDOLPSDFWVVSHFLILFWRWKDWLQGLYLGXDO                 ZLWKLQWKHVFRSHRIP\H[SHUWLVH
   4:KDWLIWKH\ZHUHUHTXLUHGWRZDLWDIXOO\HDU       4,VWKHPHQWDOKHDOWKRIWKHFLVJHQGHUIHPDOHV
   ZRXOGWKDWEHSURIRXQGO\KDYHDSURIRXQGO\KDUPIXO         ZKRPLJKWEHDWDGLVDGYDQWDJHRIWKHSDUWLFLSDWLRQRID
   LPSDFWRQWKHPHQWDOKHDOWKRIWKDWSHUVRQ"                    WUDQVJHQGHUIHPDOHRQWKHWHDPLVWKHLUPHQWDOKHDOWK
   $77251(<%/2&.2EMHFWLRQWRIRUP             LPSRUWDQW"
   7+(:,71(666DPHDQVZHU                      $77251(<%/2&.2EMHFWLRQWRIRUP
   %<%<$77251(<75<21                                          7+(:,71(66,ZRXOGVD\ILUVWWKDWWKH
   4:HOODVDJHQHUDOUXOHGR\RXKDYHDQ\RSLQLRQ       PHQWDOKHDOWKRIFLVJHQGHUFKLOGUHQZKRKDYH
   DVDJHQHUDOUXOH"                                             SDUWLFLSDWHGLQVSRUWVLVFHUWDLQO\DWWHVWDEOH
   $77251(<%/2&.2EMHFWLRQWRIRUP             K\SRWKHVLVWRH[SORUHDQGLW VQRWUHVHDUFKWKDW,KDYH
   7+(:,71(66*HQHUDOUXOHRIZKDW", P        VHHQQRUWKDW, PDZDUHWKDWLWH[LVWV%H\RQGWKDW
   QRWXQGHUVWDQGLQJWKHTXHVWLRQ                                \RXNQRZP\H[SHUWLVHGRHVQRWH[WHQGWRWKLV
   %<$77251(<75<21                                             SRSXODWLRQDV\RXKDYHDVNHGWKLVTXHVWLRQ
   4/HWPHWU\DJDLQ6RLVWKHUHGR\RXKDYHD      %<$77251(<75<21


                                                                                        3DJHVWR
                                                                                                      Armistead App. 0989
                                                  3DJH                                                          3DJH
    46RWKHQOHWPHDVNWKDWVSHFLILFDOO\KDYH\RX         ELRORJLFDOPDOHVPD\QRWFRPSHWHRQJLUOVWHDPV
    WUHDWHGDQ\FLVJHQGHUIHPDOHVWKDWKDYHEHHQXSVHWDERXW        'R\RXXQGHUVWDQGWKDW"
    WUDQVJHQGHUIHPDOHVSDUWLFLSDWLQJRQWKHJLUOVWHDP"            $,GRQ WEHFDXVHELRORJLFDOPDOHDVDWHUPLV
    $,KDYHWUHDWHGFLVJHQGHUJLUOVZKRKDYHKDG            FHUWDLQO\XSIRUGHEDWH
    WUDQVJHQGHUWHDPPDWHV,KDYHQRWWUHDWHGDQ\ERG\ZKR          4:KLFKZRUGZRXOG\RXOLNHWRXVH"
    KDVH[SUHVVHGDQ\FRQFHUQRUKDUPIURPWKDW                    $,GRQ WNQRZLIWKHUH VJRLQJWREHDQDQVZHU
    4'R\RXDFNQRZOHGJHWKDWWKHUHDUHWKRVH                IRUWKDWLQWKHFRQWH[WRIWKLVSDUWLFXODUELOO,
    FLVJHQGHUJLUOVZKRDUHVXIIHULQJIURPSV\FKRORJLFDO            WKLQN
    KDUPIURPWKDW"                                                 4+RZDERXWQDWDOPDOHGRHVWKDWZRUN"
   $77251(<%/2&.2EMHFWLRQWRIRUP             $6XUH:HFDQXVHWKDW,ZRXOGW\SLFDOO\XVH
   7+(:,71(66,ZRXOGQRWDFNQRZOHGJH           DVVLJQHGPDOHDWELUWKEXW\HV
   WKDW7KDWLVQRWGDWDWKDW,KDYHVHHQQRUKDVEHHQP\       42ND\
   SHUVRQDOH[SHULHQFHZLWKSDWLHQWVWKDW,KDYHVHHQRU          6RQDWDOPDOHVXQGHUWKLV%LOODUHQRWDOORZHG
   RWKHUFROOHDJXHVZKRKDYHGHVFULEHGWKLV                      WRSDUWLFLSDWHRQJLUOVVSRUWVWHDPV
   %<$77251(<75<21                                             'R\RXXQGHUVWDQGWKDW"
   4$UH\RXDZDUHWKDWVRPHRI/LD7KRPDV FLVJHQGHU      $77251(<%/2&.2EMHFWLRQWRIRUP
   WHDPPDWHVDUHYHU\XSVHWDERXW/LD7KRPDVSDUWLFLSDWLQJ        7+(:,71(66<HDK$QG,DSRORJL]H,
   RQWKHIHPDOHVZLPPLQJWHDP"                                   UHDOO\GRQ WPHDQWREHSDUVLQJLIWKHWH[WRIWKH%LOO
   $77251(<%/2&.2EMHFWLRQWRIRUP             LVELRORJLFDOPDOHVZKDWWKDWMXVWPHDQVLVWKDWWKDW
   7+(:,71(66,KDYHQ WUHDGPXFKDERXW         LVDFRPSOH[WHUPWKDWGRHVQ WKDYHDXQLYHUVDO
   /LD7KRPDVRUKHUWHDPPDWHVSULRUWRWRGD\VR, PQRW         DFFHSWDQFH%XW,XQGHUVWDQGWKDWWKHJRDORIWKH%LOO
   DZDUHRIDQ\VSHFLILFVWRWKDW                                LVIRUIRONVDVVLJQHGPDOHDWELUWKQRWWRSDUWLFLSDWH
   %<$77251(<75<21                                             LQZRPHQ VVSRUWVWHDPV\HV
   4+DYH\RXUHDGDQ\WKLQJDERXWWKDWLQFLGHQW        %<$77251(<75<21


                                                  3DJH                                                          3DJH
    H[FXVHPHWKDWVLWXDWLRQ"                                      4,IDWRXVH\RXUWHUPDSHUVRQDVVLJQHG
    $:HOO, YHUHDGVRPHWKLQJWRGD\                       PDOHDWELUWKLVWROGWKDWWKDWSHUVRQPD\QRW
    43ULRUWRWRGD\"                                        SDUWLFLSDWHRQJLUOVVSRUWVDQGDVLQVRPDQ\RWKHU
    $:KLFKGLGQRWPHQWLRQDERXWWHDPPDWHVEHLQJ            WKLQJVLQOLIH\RXDUHWROGWKDW VWKHUXOHDQG\RX
    XSVHW, YHKHDUGDERXWLWEXW,KDYHQRWUHDGLW            KDYHWROLYHZLWKLWLVWKHUHYDOXHLQOHDUQLQJFRSLQJ
    46R\RX UHDZDUHRILW"                                 VNLOOVWRGHDOZLWKUXOHVWKDW\RXGRQ WDJUHHZLWKDQG
    $, PYDJXHO\DZDUHRILW\HV, YHQRWGRQHDQ\       DELGHE\WKHP"
    SULPDU\UHVHDUFKLQWRLW                                       $77251(<%/2&.2EMHFWLRQWRIRUP
    $77251(<%/2&.&RXOGZHJHWDWLPH             7+(:,71(66,JXHVVWKHZD\,ZRXOG
   FKHFN"                                                         DSSURDFKLWLVWKDWLIZHORRNDWWKHGDWDFOLQLFDO
   9,'(2*5$3+(5,WORRNVOLNH,JRWDERXW        H[SHULHQFHVDQGIURPWKHWHVWLPRQLHVRIWUDQVJHQGHU
   WKUHHPLQXWHVOHIW                                            LQGLYLGXDOVWKDWWKH\IDFHHQRXJKRQDGDLO\EDVLV
   $77251(<75<21,VSHDNUHDOO\IDVW           VWLJPDGLVFULPLQDWLRQH[FOXVLRQWKDWWKH\DOOZRXOG
   %<$77251(<75<21                                             EHQHILWIURPDKHDOWK\GHYHORSPHQWRIFRSLQJVNLOOV
   4:HOOLVWKHUHEHQHILWVLQIRUH[DPSOH\RX       1RZKHUHLQWKHILHOGRISV\FKLDWU\LVLWUHFRPPHQGHG
   VDLGWKDW+%\RX YHUHDG+%DQG\RX UHDZDUH          WKDWZHH[SRVHSHRSOHWRWUDXPDWLFHYHQWVIRUWKHPWR
   WKDWLWGRHVUHTXLUHZHOOILUVWRIDOODUH\RX           GHYHORSFRSLQJVNLOOVWRPDQDJHWKURXJK
   DZDUHWKDW+%GRHVQRWXVHWKHZRUGWUDQVJHQGHUDW        %<$77251(<75<21
   DOORUWUDQVZRPDQRUWUDQVJLUODWDOO"                       4:HOOQRWWRLQWHQWLRQDOO\GRVREXWWKHUH V
   $,ZRXOGZDQWWRORRNDWLWVSHFLILFDOO\WR            ODZVDQGUXOHVWKDW\RXPDGHWKDWVDLG\RXKDYHWROLYH
   GRXEOHFKHFNWKDWWKDW VFRUUHFWEXW,ZRXOGWDNH\RXU        ZLWKWKRVHUXOHVWKHQLW V\RXUSRVLWLRQWKDWWKHUXOHV
   ZRUGIRULW                                                   QHHGWREHFKDQJHGWRFRPSO\ZLWKWKHZLVKHVRIWKDW
   4$QGVRLQ+%LWGRHVUHTXLUHWKDWDOO           SHUVRQ"
   ELRORJLFDOPDOHVPXVWOHWPHUHSKUDVHWKDWWKDW           $77251(<%/2&.2EMHFWLRQWRIRUP


                                                                                       3DJHVWR
                                                                        Armistead App. 0990
                                                 3DJH
    7+(:,71(66$JDLQP\H[SHUWWHVWLPRQ\
    LVUHEXWWLQJWKHWHVWLPRQ\RI'U/HYLQHDQG&DQWRU,
    FDQ WVSHDNWRWKHVSHFLILFOHJLVODWLYHSURFHVVHVLQ
    WHUPVRIWKHEHVWZD\IRUVWDWHVWRDSSURDFKDFRPSOH[
    LVVXHVXFKDVWKLV
    $77251(<75<21,KDYHQRIXUWKHU
    TXHVWLRQV7KDQN\RXIRU\RXUWLPH,DSSUHFLDWHLW
    7+(:,71(667KDQN\RX:KDWLV\RXU
    SRRGOH VQDPH"&DQ,DVNWKDWRIIWKHUHFRUG"
   $77251(<%/2&.:HGRQ WKDYHDQ\
   5HGLUHFWTXHVWLRQV'U-DQVVHQZLOOUHYLHZWKH
   WUDQVFULSW
   $77251(<*5((17KLVLV5REHUWD*UHHQRQ
   EHKDOIRI:966$&1RTXHVWLRQV
   $77251(<025*$17KLVLV.HOO\0RUJDQRQ
   EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
   6XSHULQWHQGDQW%XUFK,GRQ WKDYHDQ\TXHVWLRQV
   7KDQN\RX
   $77251(<'(1,.(5'U-DQVVHQWKDQN\RX
   IRU\RXUWLPHWRGD\WKLVLV6XVDQ'HQLNHU,KDYHQR
   TXHVWLRQV
   7+(:,71(667KDQN\RXJX\V
   9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
   FXUUHQWWLPHUHDGVSP


                                                 3DJH
           
    9,'(27$3(''(326,7,21&21&/8'('$730
           
 
 
 
 
 
 


















                                                                  3DJHVWR
                                                            Armistead App. 0991
                                                                  3DJH

      $                  DFWLRQ     DGHTXDWHO\       
DP                                       
                DFWLYLVWV                 
                                           
DEEUHYLDWHG    DFFHVVLQJ      DFWLYLWLHV     DGMXQFW         
                                     
DELGH     DFFRXQW              DGMXVWLQJ        
DELOLW\                                     
                             $GNLQV     
                                      
                                      
          DFFXUDF\       DFWLYLW\       $GNLQV          
DEOH                                    
                            DGPLQLVWHU      
                    DFWXDO              
         DFFXUDWH                             
                                    
                   DGDSW    DGPLQLVW     
                  DGG                
                  DGGHG                
                  DGGLWLRQ                 
                                     
                    DGGLWLRQDO               
                             DGPLQLVW     
         DFFXUDWHO\                          
DERUWLRQ                             
                             DGPLQLVW     
                                  DGROHVFH
DEUXSW                                  
                   DGGLWLRQ             DGROHVFHQWV
DEXVH                                
          $FKHQEDFK      DGGUHVV                  
                                    
       DFKLHYH                            
                                        
          DFKLHYHPHQW    DGGUHVVHG      DGPLW     
                                 
DFDGHPLF                                     
          $FKLOOH                     
DFDGHPLFV            DGGUHVVLQJ             
          DFNQRZOHGJH              DGPLWV     
                         DGROHVFHQFH     
$FDGHP\    $&/8                        
DFFHSWDQFH     DFTXDLQWHG     DGHTXDF\                 
                                    
         DFW      DGHTXDWH                  
DFFHSWHG                                    
                                        
DFFHVV                                  
                                    
                                     
         DFWLQJ                             
                                  DGROHVFHQW      
                                                           Armistead App. 0992
                                                                 3DJH

DGXOW                              
                                  
                                  
                                     
                                  
                                     
     DIILUPLQJ                        
DGXOWKRRG                                
                    DJUHH                
DGXOWV                                 
                                
                               
                                  
                               
                                  
         DIILUPV                      
                                     
       DJH                     
                                    
                                      $/% 
                                      DOLJQ 
DGYDQWDJH                               DOLJQHG
                     DJUHHG      
                                  
DGYDQWDJHV                                
                                  DOLJQPHQW
DGYHUVH                                     
                                    DOOHJHG
                                     
DGYLVH                           DJUHHLQJ       $OOLDQFH
                                  
DGYRFDF\                      DKHDG    DOORFDWHG
                                      
DGYRFDWHV                   DLP      DOORZ 
                                    
$IIDLUV                                     
                            DO     
DIIHFW                       
                                  
          DJHG                   
       DJHQF\                     
                                      
         DJHQWV                 
DIILOLDWLRQ                            DOORZHG
         DJHV                    
DIILUP                                  
                              
DIILUPDWLRQ                             
                                 
      DJR                     
                                   
                                  DOORZLQJ
DIILUPDWLYH                                
                                                           Armistead App. 0993
                                                                 3DJH

                            DQWLFLSDWHG     
                                   
                                 
DOORZV                  DQ[LHW\         
DOOXGHG                               
                                        
DOOXGLQJ                        DQ\ERG\         
           DQDO\]LQJ                       
DOWHUDWLRQ                                 
          DQDWRPLF                           
DOWHULQJ                      $3$     
          DQGRU            DSDUW      
DOWHUQDWLRQ                              
                        DSRORJL]H       
          $QGHUVRQ                      
DOWHUQDW                              
                                  
                                DSSURDFKHV
                                      
                                     
                            DSSHDU     
                                      
                                  DSSURDFKLQJ
                                     
          $QGHUVRQ V             DSSHDUV    DSSURSULDWH
                                       
DPDOJDP                                    
                                    
$PHULFD                                   
          $QGUHZ                       
$PHULFDQ                       DSSOLFDE     
        DQLPDO                          
                                    DSSURYDO
          $QQ                         
                                  DSSURYH
          DQQRXQFH            DSSOLFDEOH      
                                      DSSURYHG
DPRXQW                  DQVZHUDEOH               
                          DSSOLHG         
          DQQXDO    DQVZHUHG                 
$PVWHUGDP                     DSSOLHV         
      DQRQ\PRXV                        DSSUR[LPDWH
                       DSSO\      
$P\                                  DSSUR[LP
       DQVZHU                     
DQDORJV               DQVZHULQJ     DSSRLQWPHQW      
                                 
                                
                          DSSUHFLDWH      
DQDO\VHV              DQVZHUV                 
                                  
DQDO\VLV           DQWLFLSDWH              $SULO 
                        DSSURDFK         
                                                         Armistead App. 0994
                                                               3DJH

DSURSRV                               
                                 
DUHD                               
                          DVVHVVPHQW
                     DVNLQJ     
                               
                              
                                 
DUHDV                         
DUHQD                            
DUJXPHQW                               
                                  
$UL]RQD                         
                            
$50,67($'                               
                           
$URQ                               
                                   
             DVSHFW      
DUWIXOO\                              
                               
DUWLFOH                DVSHFWV     
                           
                         
                              
                DVVDXOW         
                            
                              
                               
                       DVVHQW          
                           
                  DVVHUW      
             DUWLFOH V                
                     DVVHUWLRQ       
             DUWLFOHV                  
                                
                           
                      DVVHUWV     
                                 
                                
                   DVVHVV     
         DUWLFXODWH               
                                  
                                
              DUWLFXODWHG             
                                 
               DUWLILFL   DVVHVVHG        
                               
          DVNHG    DVVHVVLQJ       
                                   
                                
                               
                           
                                                        Armistead App. 0995
                                                              3DJH

                               
                            
                                 
                                  
DVVHVVPHQWV                             
               DWWHPSWLQJ          
         DVVRFLDWLRQ                    
                           
           DWWHPSWV            
                              
                               
                                
               DWWHQWLRQ            
                                 
                            
DVVLJQHG                              
                  DWWHVWDEOH             
                                 
            $WWRUQH\             
                       
        $VVRFLDW              
                             
        DVVRFLDW                 
                                
         DVVXPH              
                          
                         
        DVVXPHG                     
                             
      DVVXPLQJ                   
                            
                          
                                 
         DVVXPSWLRQ                 
                              
                              
                             
         $VWULG                      
                          
                             
DVVLJQPHQWV                          
     DWKOHWHV                  
                                
DVVLVW        DWKOHWLF                  
                           
$VVLVWDQW                     
                            
$VVRFLDWH                         
                             
      DWKOHWLFV                   
                               
DVVRFLDWHG                              
      DWWHPSWHG                 
                                                    Armistead App. 0996
                                                          3DJH

                
                          
                        
                         
                          
                           
                   
                        
                        
                         
                         
                  
                      
                         
                          
                      
                         
                    
                           
                    
                      
                   
                     
                        
                             
                  
                     
                         
                 
                  
                           
                        
                    
                      
                     
                        
                     
               
                  
                    
                      
                    
                         
                        
                   
                     
                          
                   
                           
                      
                      
                      
                 
                                                         Armistead App. 0997
                                                               3DJH

              DXWRQRP\               
                                 
             DYDLODEOH                
                              
                             
                             
                                  
                                 
                     $=          
                                    
                             %          
                  DYHUDJH       %3-         
                    EDFN        
              DYRLG            
                                   
               DYRLGDQFH                 
                                      
              DZDUH               
                                    
                                   
                               
                             
                                
DWWRUQH\V                            
                             
DWWUDFW                                 
                                     
DW\SLFDO                                  
                                 
DXGLEO\                          
$XJXVW                                
$XVWUDOLDQ                            
                                 
                                  
DXWKRU                             
                                  
                                 
                                   
                         
                                   
                     EDFNJURXQG      
                                   
                   %DLOH\       
                     EDODQFH          
DXWKRU V                               
                          EDOO      
                               
                                
DXWKRULW\                    EDOOSDUN        
                                       
DXWKRUL]                                
           DXWKRUV               %DUKDP      
DXWKRUV                                  
                                                     Armistead App. 0998
                                                           3DJH

                          
                         EDVH 
                       EDVHG 
                     
                           
                        
                             
                          
                          
                       
                        
                           
                            
                        
                          
                          
                                
                     
                           
                         
                       
                         
                          
                         
                           
                          
                        
                         
                         
                              
                     EDVHOLQH
                          
                               
                           EDVLFDOO\
                        
                       EDVLQJ
                          
                      EDVLV 
                       
                                
                         
                           
                            
                  %$51+$0        
                            
                        
                         
                           
                           
                             
                      %DUU      EDWKURRP
                             
                    EDUULQJ        
                                                          Armistead App. 0999
                                                                3DJH

                           ELRHWKLFDO     
EDWWOLQJ                                   
                        ELRORJLFDO     
EHDW                                
EHFRPLQJ                                
                                    
                  EHW             
EHJDQ          EHWUD\V               
                               %ODNHPRUH
EHJLQQLQJ              %HWV\           
               EHWWHU             
          EHOO                        
                                   EODQNHW
         EHORQJ                        
EHJLQV                              EORFN 
         EHORQJHG                       
                                    
         EHORQJLQJ                     
                                  
          EHOW     EH\RQG              
         EHQHILFLDO                        
                                     
                               
EHKDOI                    ELRPHGLFDO      
                                   
                                
       EHQHILW                ELUWK     
                                     
      EHQHILWV      ELDV             
EHKDYLRU                          
                                   
%HKDYLRUDO                               
                                
EHKDYLRUV                             
                                   
                                  
EHOLHI             ELDVHG                  
                                    
EHOLHYH                 ELJ               
                                       
                  %LJJV             
                                 
               ELOO            
                                
                                      
         EHVW    ELOOHG               
                   ELQDU\              
                           
                                   
                                       
                                  
                 ELQGLQJ                  
                           ELW         
                                                   Armistead App. 1000
                                                        3DJH

                            
                        
                              
                               
                       
                            
                         
                              
                    
                      
                         
                        
                          
                            
                            
                       
                       
                     
                             
                             
                          
                           
                        
                        
                       
                         
                             
                            
                             
                           
                       
                          
                       
                       
                          
                          
                         
                         
                EORFNHG        
                           
               EORFNHU       EORFNLQJ
                            
                             
                  EORFNHUV       
                         
                    
                        
                              
                          
                               
                             
                   
                             
                                                            Armistead App. 1001
                                                                 3DJH

                      EXWFKHU         
                                   FDU 
                            EXWFKHULQJ     FDUH 
                   EUHDN               
                            %XWOHU     
                                        
                               &         
                          &         
                                 
                                    
          %RXOHYDUG                &$           
EORRGVWUHDP                         FDOFXODWHG      
          ERXQGDULHV                     
ERDUG                                 
        ER\                FDOFXOXV         
     ER\V                    
                       FDOO     
                   EUHDNV                   
                           FDOOHG      
               EUHDVWV                  
                        FDPHUD     
ERDUGHG             %ULGJHSRUW     FDPSV        
ERDUGV                                    
                  EULQJ    &DQDGD           
ERGLHV                                  
ERG\                    &DQWRU          
               EURDG                 
                                   
                                     
                                   
          %3-        EURDGHU                   
                             
                     &DQWRU V        
                               
                  EURDGO\                  
ERQH     %3- V                FDSDELOL     
                                     
         EUDLQ              FDSDELOLW\      
                   %522.6              
               EURXJKW        FDSDEOH         
                                  
ERQHV              EUXVK                
                   EXGJHW    FDSDFLW\        
                    EXLOG           
ERRN             EXLOGLQJ               
ERUQH                               
%RVWRQ                               
ERWWRP            EXLOW                 
             EXOOHW         &DSLWRO      
                     FDSWLRQ     
               %XUFK      FDSWXUHG        
                                
                                       
                                                            Armistead App. 1002
                                                                 3DJH

                                       
                        &(57,),&$7(     
          FDWFK     FDXVLQJ                     
         FDWHJRULFDO              FHUWLILF     
                                      
         FDWHJRUL    FDXWLRQ               
                           &HUWLILHG       
          FDWHJRUL]H     FDYHDW               
                                 
                   &%&/               FKDQJHG
                  &'&      FHUWLI\LQJ      
         FDXVDO    FHDVH                
                 FHLOLQJ        FHWHUD     
FDUHHU                                  
FDUHIXO                 FHQWHU               
         FDXVDWLRQ                          
                                    
                                      
                   FHQWHUV        &*$6       
                                   FKDQJHV
                 FHQWUDO                    
                                       
                                  
                                    
                  FHUWDLQ        &KDLU       
FDUHJLYHU V                              
                         FKDOOHQJHG      
FDUHJLYHUV     FDXVDWLYH                         
                            FKDOOHQJHV      
&DUO\                          
&DUPLFKDHO     FDXVH                       
                                    
                                     
FDUULHG                  FHUWDLQO\      FKDQFH      
                                   
FDUU\                               
FDVH                                      
                                     
      FDXVHG                             
                                   
                                     
                             FKDQFHV         
                                   
                          FKDQJH     FKDQJLQJ
                                    
                                    
                                   FKDUDFWH
                                 
FDVHV                                 FKDUDFWH
                                
                   FHUWDLQW\               FKDUDFWH
          FDXVHV                         
                                      
                                                          Armistead App. 1003
                                                               3DJH

                                 FLWDWLRQ
                                    
FKDUDFWH                           FLWDWLRQV
                               
              FKLOGKRRG              FLWH 
                           
                                 
                             
FKDUDFWH                            
                                      
                                  
                                    
FKDUJHG                                
                                    
&KDUOHVWRQ                              
              FKLOGUHQ               
                                 
FKDUWV                                   FLWHG 
                       FKLOGUHQ V      
                                
                              
FKHFN                              
                                  
                           
FKHVW                            
&KLFDJR                                   
                             
                               
                              
                                  
                               
                                
FKLOG                      FKRLFH     
                     FKRLFHV         
                               
                      FKRRVH     
                               
                  FKRVH     FLWHV 
                              
                     FKURPRVRPHV    FLWLQJ 
                                
                               
                                 
                           FLUFXODU        
      FKLOG V                          &LYLO 
                      FLUFXPVW      
                                  FODLP 
                           FLVJHQGHU       
                               
                              
                              
                               
                               FODLPHG 
                                                           Armistead App. 1004
                                                                3DJH

                                     &ROOHJH V
FODLPLQJ                      FRRFFXU     
                                       
FODULI\                               FROOHJLDWH
                                  
                                   &ROXPELD
                                   
                                 FROXPQ 
          FOLQLF                         
                           FRDVW      
                         FRHUFLRQ         
                                 
                          FRJQLWLRQ       
FODULI\LQJ             FOLQLFDOO\               
                                   
FODVV          FOLQLFLDQ      FRJQLWLYH       
                                 
FODVVLIL                              
                                   
FODVVLILHG                               
                                        
                        &RKHQ.H     
FODVVLI\LQJ            FOLQLFLDQV              
                        &RKHUH     
                               
FODXVHV                                      
         FOLQLFDO               FRKRUW          
&/$<721                           
                                    
FOHDU           FOLQLFV                  
                           FROXPQV
                             FROODERU     
                                  FRPELQDWLRQ
                                       
                                   FRPELQHG
                           FROODWHUDO      
                                       FRPELQHV
                            FROOHDJXHV      
                                  
                 FORVH               FRPH 
                                   
                  FORVHG              
                                     
                 FORVHO\                  
FOHDUO\                                    
                           FROOHFW         
&/(5.              FORVHVW                  
                      FROOHFWHG       
                  FORWKHV                  FRPHV 
                       &ROOHJH     
               FRDXWKRU               
                               FRPIRUW
                  FRGLUHFWV                
                                                          Armistead App. 1005
                                                               3DJH

FRPIRUWDEOH                               
                FRPSOH[LW\           
                              
FRPLQJ                              
                  FRPSOLFDWH               
                                  
FRPPHQW        FRPSHWHG      FRPSOLFDWHG          
                                      
         FRPSHWHQW                    
                                  
                                FRQFOXVLRQV
FRPPHQWHG                              
         FRPSHWLQJ                        
&RPPLVVLRQ                            
                                
                                      
FRPPLW                              
                                   
FRPPLWWHH                        FRQFHUQHG      
                   FRPSOLFD              
       FRPSHWLWLRQ                       
               FRPSOLFD              
                                  
                 FRPSO\                
FRPPRQ                  FRQFHUQLQJ     
         FRPSHWLW   FRPSRQHQW               
                         FRQFHUQV       
         FRPSOHWH      FRPSRQHQWV           
                               
FRPPXQLF                             
                                 FRQFUHWH
FRPPXQLW\      FRPSOHWHG                      
                                      FRQGLWLRQ
FRPSDUDWLYH                                
                                  
FRPSDUH             FRPSRXQG                
FRPSDUHG                               
       FRPSOHWHO\                     FRQGLWLRQV
                   FRPSUHKH            
                                   
                                FRQGXFLYH
FRPSDULQJ                             
                                   FRQGXFW
FRPSDULVRQ     FRPSOHWLQJ    FRPSURPL    FRQFOXGH       
                                     FRQGXFWHG
FRPSHQVD    FRPSOH[    FRQFHSW                 
                        FRQFOXGHG      
                            
                           
              FRQFHSWV               FRQIHUHQFH
                               
                   FRQFHUQ    FRQFOXVLRQ    &RQILGHQ
FRPSHWH        FRPSOH[L                       
                                                         Armistead App. 1006
                                                              3DJH

FRQILJXU                         
               FRQWHPSR   FRQWLQXHG      
FRQILUP       FRQVHTXH                      
                 FRQWHQW       FRQWLQXLQJ     
                                 
FRQIODWHG                           
         FRQVLGHU       FRQWHQWV               
                          FRQWLQXRXV     
FRQIODWLQJ                            
                                 
FRQIODWLRQ           FRQWH[W       FRQWLQXXP      
                                  
FRQIOLFW                    FRQWUDGLFW     
                              
      FRQVLGHU               
                    FRQWUDGL    
        FRQVLGHUHG                   
FRQIOLFWV                FRQWUDGL    
                                
FRQIRUPLQJ    FRQVLVWHQW              FRQWUDU\       
                              
FRQIRXQG                              
                            FRQWULEXWH    FRQYHUW
FRQIRXQGHG                           
                                  
                                  FRQYH\RU
FRQIRXQGHUV                              
                        FRQWULEXWHG   &RROH\ 
FRQIRXQGLQJ                              
                                    
FRQIXVHG      FRQVLVWH             FRQWULEX   FRRUGLQDWH
                                     
         FRQVROLGDWH                     FRSLQJ 
FRQJUXHQFH                               
                                  FRSLRXV
FRQJUXHQW                               
        FRQVWDQWO\                      FRS\ 
FRQQHFWLQJ                     FRQWURO        
         FRQVWUXFW                      FRUH 
FRQVHQVXV                            FRUQHU 
                          FRQWUROOHG     
FRQVHQW       FRQVXOW                      FRUUHFW 
                           FRQWUROV        
                                    
     FRQW G      FRQWH[WV      FRQWURYH    
                             
         FRQWDFW             FRQYHQLHQW     
                  FRQWH[WXDO              
        FRQWDLQV                      
                                 
                  FRQWLQXH      FRQYHUVD    
        FRQWHPSR                     
                       FRQYHUVLRQ     
                                                    Armistead App. 1007
                                                         3DJH

                       
                          
                 
                        
                          
                          
                         
                     
                          
                           
                   
                           
                            
                     
                        
                   
                  
                 
                            
                        
                      FRUUHFWHG
                       
                   FRUUHFWLRQ
                    
                   FRUUHFWO\
                           
                    
                 
                          
                        FRUUHODWHV
                        
                             FRUUHODWLRQ
                      
                     
                   
                        FRUUHVSRQG
                            
                    FRUUHVSR
                      
                    FRVW 
                         &RVWD 
                 
                     
                    
                     FRXQVHO 
                        
                  
                   
                      
                            
                    
                        
                     
                                                           Armistead App. 1008
                                                                3DJH

                                    
          FULWHULD                    
                                    GDWH 
                                     
FRXQVHOLQJ                              
                                      
                       ' $QJHOR V      
FRXQVHORU                              GDWHV 
                 FURVVVH              
&2816(/6                                'DYH 
                            GDLO\    'DYLG 
FRXQWHUDFW                     GDQJHUV         
                                
FRXQWHUV       FULWLFDO                GDWD       'DYLV 
                                  
FRXQWULHV              &VXWRURV             GD\WRGD\
          FULWLFLVPV                 
                                
FRXQWU\                FXOWXUDO            GH 
        FULWLFL]HG                 
               FXUUHQW                  
&RXQW\                              
       FULWLTXH                   
                                  
FRXSOH                          GHWUDQV
         FULWLTXHG                      
                                   'HWUDQV
FRXUVH     FULWLTXLQJ                     
                                  GHDO 
      FURVV                        
                             GHDOLQJ
                                 
                                  
FRXUW                                   GHDWK 
                                   GHEDWH 
                           GHFDGH 
                                
                  FXUUHQWO\               GHFLGH
                                 
                                
FRYHUHG                           
                FXUVRU\                  
FUDIW                           GHFLGHG 
FUHDWH              FXW                
                  FXWRII            
                &9                   
                                
FUHDWHV                                    
                                      GHFLGLQJ
FUHDWLQJ                    '                   
               '                GHFLVLRQ
                                        
FUHDWLRQ            ' $QJHOR                 
                                                           Armistead App. 1009
                                                                3DJH

           GHOD\LQJ                 
                                       GHVFULEHG
              GHOLQHDWHV                
                                  
                  GHPDQG                   
                                
        GHILQHG    GHPDQGV                   
                                    
                  GHPRJUDSKLF               
                          GHSRVH     
               GHPRQVWUDWH    GHSRVLWLRQ      
GHFLVLRQDO                               
        GHILQHV                            
GHFLVLRQV                                   
                                     GHVFULEHV
               GHPRQVWU               
        GHILQLQJ                          
                                   
                            GHSUHVVLRQ      
         GHILQLWHO\     GHPRQVWU              
GHFODUH                                     
                  GHQLHG             GHVFULELQJ
GHFUHDVH      GHILQLWLRQ     'HQLNHU    GHSUHVVLYH       
                                
GHFUHDVHG                 GHU         
               GHQRPLQDWRU              
GHFUHDVLQJ                             GHVFULSWLRQ
                  'HSDUWPHQW                 
GHHSHU                                   
                          GHVFULEH         
                   GHSHQG                
GHHSO\                                 
GHIHFWV       GHJUHH                        
                            
'HIHQGDQW                                  
                                    
'HIHQGDQWV                                  
     'HO        GHSHQGHQW                
'HIHQGLQJ                              
          GHOD\                GHVLJQ 
GHIHU                            
                                   
                                   
                                    
                  GHSHQGLQJ                 
                                      
                                     
                                       
     GHOD\HG        GHSHQGV              
GHIHUULQJ                              GHVLJQDWLRQ
                                   
GHILQH                                GHVLJQHG
                                   
                                                          Armistead App. 1010
                                                               3DJH

                                  GLIIHUHQFH
                                  
                                  
                           GHYHORSP    
                                 
                                 
                                
GHVLJQLQJ                       GHYHORSP    
               GHYHORSHG               
GHVLUH                         GHYLDQW        
         GHWHUPLQHV                    
                            GLDJQRVH      GLIIHUHQFHV
GHVLUHG                 GHYHORSLQJ              
         GHWHUPLQLQJ                     
                                 
GHVLUHV    GHWUDQVL             GLDJQRVHV     GLIIHUHQW
                                     
GHVLVW                               
                GHYHORSPHQW   GLDJQRVLQJ     
GHVLVWDQFH                           
                         GLDJQRVLV       
                          
GHVLVWHG                            
                                   
                              
                                   
GHVLVWLQJ                                
         GHWUDQVL                      
                               
                                      
GHVLVWV                              
                                 
GHVSLWH                              
                            
GHVWDELO                          
                               
                                 
GHVWLJPD                      GLDJQRVWLF     
         GHWUDQVL                
GHWDLO                              
                                   
GHWDLOHG                             
                          GLDJQRVWLFV    
GHWDLOV                            
                            GLFKRWRP\      
                               
GHWHUPLQ                            
                        GLFWDWH        
         GHWUDQVL                     
                     GLIIHU     
                                   GLIIHUHQ
GHWHUPLQH                              
          GHYHORS                     GLIIHUHQWO\
                                                           Armistead App. 1011
                                                                3DJH

                                        
         GLVDJUHH                       
GLIILFXOW                       GLVWLQFWLRQ     
                                       
      GLVFRPIRUW                    
                                
GLIILFXO                     GLVWLQJXLVK     
        GLVFRQWL                    
GLIILFXOW\                       GLVWLQJX     
                   GLVFXVVLRQV              
GLJ                                     
GLJJLQJ    GLVFULPL             GLVWUHVV        
GLPRUSKLF                                  
          GLVFULPL                  
GLPRUSKLVP           GLVRUGHU                
                                
                                 
GLPRUSKLVPV                              
                           GLVWUHVVLQJ     
GLUHFW     GLVFXVV                    
                        'LVWULFW     
                                 
                         GLYHUVH         
                                     
         GLVFXVVHG                      
                   GLVRUGHUV     GLYHUVLW\       
GLUHFWHG                                     
                             'LYLVLRQ     
                                        
                                     
GLUHFWLQJ                                
                                    
GLUHFWLRQ                      GLYRUFLQJ       
         GLVFXVVHV                        
                    GLVSXWH       GRFWRUV         
'LUHFWRU                                   
        GLVFXVVLQJ             GRFXPHQW        
                                     
GLVDGYDQ          GLVSXWLQJ             
                                   
GLVDJUHH                                  
                                    GRFXPHQW
                GLVTXDOL              
                                   
                   GLVUXSWV             
                                    
                  GLVVDWLV          GRFXPHQWHG
                                      
                                      
                                      
         GLVFXVVLRQ     GLVVHQWL             GRFXPHQWLQJ
                                   
GLVDJUHHLQJ              GLVWDQFH                 
                                                         Armistead App. 1012
                                                              3DJH

                            
                              
                              
'RGVZRUWK              GUDZV            
                GUHZ           
'RHUQEHFKHU         GULYHQ          
                              
GRLQJ         GURSSLQJ               
                                 
                'UXJ            
                   GUXJV              
                '60        G\VSKRULF
               '60,9              
                                   
                                     
               '609              
                                 
GROH                               
GROODUV             GXH                
GRPDLQ                     
                                  (
GRPDLQV                              (  
                             
'RUD                               
                           ( 
GRXEOH                         HPDLO
              '8/<                
GRXEW         GXUDEOH               HDJHU 
                           HDU 
                             HDUOLHU 
                  GXUDWLRQ              
                                  
                                 
GRZQV                                
GR]HQV    GUDIWHG                       
'U                'XUZRRG         
       GUDZ                       
                           
                            
                'XWFK                
                              
                                
                                  
                                  
                            
                            HDUO\ 
                                    
          GUDZEDFNV                    
                                     
         GUDZLQJ                           
                  G\QDPLF                  
                                     
      GUDZQ    G\VSKRULD               
                                                           Armistead App. 1013
                                                                3DJH

                           HPSOR\HG        
HDVW                                    
               HOHFWHG                 
HDV\                        HQDEOH     
HG             HOHPHQW       HQDFWHG         
HGLWRU                              
                        HQFRXQWHU      HQGRFULQ
                                    
                                HQGRFULQ
                                  
                  HOHPHQWDU\    HQFRXQWHUHG     
                                  
                    HOHPHQWV      HQFRXUDJHG      
                                
HGXFDWHG                   HQFRXUDJ     
                                  HQGRJHQRXV
                           HQGHG     
HGXFDWLRQ                                HQGRUVHG
                  HOLJLELOLW\            
                                HQGV 
              HOLJLEOH      HQGRFULQH      HQJDJH 
          HIILFDF\                     
                              HQJDJHPHQW
                                 
                                  
         HIIRUW         (OL]DEHWK            
HGXFDWLRQDO                       HQJDJLQJ
         HIIRUWV        HOOLSVHV                  
                                 (QJOLVK
(GZDUGV            HOXVLYH                 
                                   HQUROOHG
              (PEDUFDGHUR          
                                       
                HPEUDFHG           HQVXUH 
                                     
               HPHUJHQFH            
                                
                  HPRWLRQDO               
          HLJKW                      
                                  HQVXULQJ
(GZDUGV              HPRWLRQDOO\             
                                       
HIIHFW             HPSKDVLV                
                                     
         (LJKWHHQ                          
                                      
          HLWKHU                    
                HPSKDVL]H               
                           HQGRFULQ    HQWHU 
HIIHFWLY              HPSKDVL]HV              HQWHULQJ
                                        
HIIHFWV                 HPSKDVL]LQJ   HQGRFULQ    HQWLUH 
                                      HQWLUHW\
                                                            Armistead App. 1014
                                                                 3DJH

                                      
          HVWDEOLVKHG                       
HQWLWOHG                           HYHU\ERG\       
      HVWDEOLVKHV                        
                         HYLGHQFH        
         HVWDEOLV                     
                  HWKLFDO                   
          HVWDEOLV                      
                                     H[FOXGH
         HVWLPDWH                        
                                     
          HVWURJHQ                           
                                       
                               H[FOXGHG
                                  
                                 
                                     
                                       
          HW                        
                                   
              HWKLFV             H[FOXGLQJ
HQWLW\           HYDOXDWH               
HQWLW\ V                                H[FOXVLRQ
                HYDOXDWHG                
HSLGHPLR                                 
                                   
                                      
(TXLW\                             
HTXLYDOHQW               HYDOXDWLQJ              H[FOXVLR
                          HYLGHQFH     
HUUDWD               HYDOXDWLRQ               H[FOXVLRQV
                    HYROYHG         
HUURU                                H[FXVH 
                      H[DFWO\         
HUURUV                          
                                    
HVSHFLDOO\              HYDOXDWLRQV               
                               H[DPLQDWLRQ    H[HFXWLYH
                                      
                                      
                                    H[HPSODU
                                      
                  HYDOXDWRU      H[DPLQHG       H[HUFLVH
                                       
(648,5(               HYDVLYH                  H[KLELW 
                      H[DPLQHUV        
              HYHQW                 
                       H[DPLQHV         
                                    
HVVHQWLDOO\                   H[DPSOH     
            HYHQWV               
                                    
HVWDEOLVK                                  
                                                         Armistead App. 1015
                                                              3DJH

        ([KLELW                      
          ([KLELW              
     ([KLELW                     
                                 
        ([KLELW    ([KLELW              
                               
         ([KLELW    ([KLELW               
                                
        ([KLELW    ([KLELW               
                         H[SHULHQFHV    
     ([KLELW    ([KLELW                
                              
        ([KLELW                    H[SHUWV
                                 
         ([KLELW    ([KLELW               H[SODLQ 
                              
         ([KLELW    ([KLELW               
                            
     ([KLELW     ([KLELW                
                              H[SODLQV
              H[LVWHQFH            
                            
              H[LVWV            H[SODQDWLRQ
        ([KLELW                      
               H[SHFW                 H[SORUDWLRQ
     ([KLELW             H[SHULHQ    
                                     
     ([KLELW                        
             H[SHFWDW             H[SORUDWRU\
     ([KLELW                    
                              H[SORUH
        ([KLELW    H[SHFWHG                
                                
     ([KLELW                      
          H[SHFWLQJ      H[SHUW     H[SORUHG
    ([KLELW                     
             H[SHULHQFH          H[SORULQJ
     ([KLELW                     
                                H[SRVH
        ([KLELW                   
                              H[SRVHG
       ([KLELW                    
                                 
     ([KLELW                
                           H[SRVXUH
        ([KLELW                       
([KLELW                               
         ([KLELW                   
                                 
([KLELW    ([KLELW               H[SHUWLVH      
                               
([KLELW                          H[SRVXUHV
      ([KLELW                      
                                                           Armistead App. 1016
                                                                3DJH

H[SRXQG        IDFW                     IHHO 
                IDOO             
H[SUHVV                                  
                 IDOOV              
                   IDOVH            IHHOLQJV
                  IDPLOLDU                 
                                  
         IDFWEDVHG                     IHHV 
                                    
H[SUHVVHG      IDFWRU                      )HLQEHUJ
          IDFWRUV                        
                                       IHOORZVKLS
H[SUHVVLRQ                                  
                                     
                                     
                             
                                 IHOW 
                             
                                  IHPDOH 
                                 
H[WHQG                                    
                                    
H[WHQGLQJ                                  
                          IDPLO\ V       
H[WHQVLYH                                   
                            IDQWDV\        
                                   
H[WHQVLYHO\    IDFWV            IDU       
                                 
         IDLO                        
H[WHQW         IDLOHG                             
                                 
                                 
H[WHUQDO                                
          IDLOV    IDPLOLDU              
H[WUHPH        IDLOXUH                           
                   IDPLOLHV                
H[WUHPHO\                          IDVFLQDWLQJ    
                                
               IDLU              IDVW     
      )                       IDXOW     
I                                    
IDFH                      IDYRULWH       
                                    
)DFHERRN                          )'$      
                                      
IDFHG              IDPLO\         IHPDOHV 
IDFLOLWDWH                            
                                       
IDFLOLWDWHG    IDLUQHVV                 )HEUXDU\       
                                 
IDFLQJ                          )HGHUDO        
                                      
                                                            Armistead App. 1017
                                                                 3DJH

         ILQDQFLDO                IRFXVHG         
                                        
         ILQG                           
                                   
                           IRONV      
                                  
                                 
         ILQGLQJ                    
         ILQGLQJV                           
                                   
IHUWLOH                                    
                                      
          ILQLVK                         
IHUWLOLW\                               
      ILQLVKHG       ILW               
                             
                                   
                   ILWV                  
ILHOG     )LQODQG        ILYH            
                               
                        IROORZ     
                                  
                                     
         ILUP               IROORZXS      IRRWQRWHV
         ILUVW                   
                                   
                               
                                    IRUD 
                                    IRUFH 
                                   
                                      IRUFHG
                          IROORZHG        
                                     
                IL[               IRUJHWWLQJ
ILIWK             IL[HG                
)LIW\ILYH                                IRUJLYH
                    IODZ                 
ILJXUH                IODZV     IROORZLQJ       
                  IORRU                 
                                  IRUJRW 
ILJXUHV             IOXLG              IRUP 
                      IROORZV          
                                   
                              
ILOH                    )RRG       
ILOHG                      IRRWQRWH        
                                      
ILOLQJ               IOXLGLW\               
ILOO                             
ILQDO                                
                                      
ILQDOO\                                    
                   IRFXV              
                                                    Armistead App. 1018
                                                         3DJH

                           
                       
                         
                            
                         
                       
                         
                       
                IRXUVLWH
                            
                      IRXUWK 
                        
                          
                       )UDQFLVFR
                IRUPHG     
                          IUDXJKW 
              IRUPHU     
                              )UHHGRP 
               IRUPLQJ    IUHHVW\OH
                    IRUPV      
                               IUHH]LQJ
                     IRUWK       
                       IUHTXHQF\
                      
                  IRUXP    IUHTXHQWO\
               IRUXPV      
              IRUZDUG          
                            
               IRXQG      
                           
                              IULHQG 
                          IULHQGV
                              
                               
                              IURQW 
                            
                     IRXQGDWLRQ       
                           
                            
                      
                              
                          
                            
                               
                           
                            
                 IRXQGHG         
                            
                   IRXU        
                      
                            
                             
                             
                                                        Armistead App. 1019
                                                             3DJH

                                    
                                  
              *                 
         *                      
          *%                      
                                
          *$                      
         JDLQ                   
                                 
      JDLQHG                 
                             
IUXVWUDWLRQ                        
         JDLQLQJ                  
IXOO                        
          JDWKHU                     
         JDWKHUHG                  
                           
                              
                           
         JDWKHULQJ                  
IXQFWLRQ                          
                          
          JD\             
                        
          *'                   
                               
      JHDUV                   
IXQFWLRQLQJ    JHQGHU                   
                            
                               
                                  
                        
                               JHQGHUD
                                 
                              JHQGHUD
                               
IXQFWLRQV                             
                              
IXUWKHU                          
                                
                            
                                
                             
                            
                           
                                 
                             
                            
                           
IXWXUH                        
                             
                           
                           
                                                            Armistead App. 1020
                                                                 3DJH

                                   
                                  
                                   
                                     
          JHQHUDWHG                      
                                JRDOEDVHG
         JHQHUDWHV                *Q5+D     
                JLUOV               JRDOV 
                  JLYH                 
         JHQHWLF          JR      
JHQGHUG    JHQLWDOLD                   
                                  JRLQJ 
JHQHUDO                                  
      JHQLWDOV                            
                                
          JHQWOHPDQ                           
                                       
         JHQXLQH                             
                               
                                    
          JHVWDOW                            
                                       
                                        
         JHWWLQJ                            
                                      
                                        
                                       
                                        
                                    
                   JLYHQ                
                                    
                                  
      *LEVRQ                       
                                    
          *,&(                        
*HQHUDO V                                
                                 
         JLUO                         
JHQHUDOL                                 
                                    
JHQHUDOL]H                               
                                       
JHQHUDOL]HG    JLUO V                        
          JLUOV                       
                    JLYHV               
                                   
JHQHUDOO\                JLYLQJ              
                                 
                 *ODGO\     JRDO       
                  JOREDO                
                                    
                             
                  *Q5+               
                                                           Armistead App. 1021
                                                                3DJH

         JRQDGV                           KDSSHQHG
                           
        *RQ]DOH]                   KDSSHQLQJ
                                 
      JRRG      JURVV               
              JURXQG               
                  JURXS            
                                  
                                       
                              KDSS\ 
                                     
                                 
                                     
                              KDUG 
    JRWWHQ                          
                                      
        JRYHUQDQFH                        
                                        
        JRYHUQHG       JURXSV                
                                      
         JRYHUQLQJ                         
                                      
         JRYHUQPHQW     JURZWK                   
                                    
        JUDGDWLRQ                        
                 JXHVV     JXLGLQJ     
        JUDGDWLRQV            JXLOG      
                                  KDUP 
                            *XVV        
                               KDUPHG 
         JUDGH                   KDUPIXO
                     JX\V      
        JUDGHG                             
                           +         
         JUDGLQJ                 +      
                          KDLU        
        JUDGXDO                           
                           KDOI       
         JUDQG                       
         JUD\                        
                                    
*ROXE                         KDOIZD\         
          JXHVVLQJ                 
                                       
JRQDGDO                JXLGH    KDQG       
        JUHDW                         
                  *XLGHOLQH                 
                                   
         JUHDWHU        JXLGHOLQHV              KDUPLQJ
JRQDGDUFKH                                 
                         KDQGOH     KDUPV 
*RQDGRWU   *UHHQ             +DQQHPD     
                       KDSSHQ    +DUULVRQ
                                                         Armistead App. 1022
                                                              3DJH

                                 
                               +HU]RJ 
                                    KLJK 
+DUWQHWW                           
                           
+DUYDUG                               
                               
                                 KLJKHU
KD]DUG                     KHDULQJ         
                                     
+%                              
+%                    KHDUW    KLJKOLJKW
                                  
                  KHDW        
                        +($7+(5      
                   KHFNOHG         
                                   
KHDG                      KHLJKW          
KHDGWR                             KLJKOLJKWHG
                              
KHDGLQJ                 KHOG        
                          KLJKOLJK
                             
                     KHOS     KLJKOLJKWV
                                
                                   KLJKO\ 
KHDOWK                               
                                 
                            
                                  
                       KHOSIXO         
          +HDOWK V                 
                               
              KHDOWKU             KLS 
                           KLUHG 
           KHDOWKFDUH    KHOSLQJ        KLVWRULF
                                     
                            KLVWRULHV
              KHDOWK\                 
                      KHOSV      KLVWRU\
                          
                                
                      +HPEUHH         
                                   
                  KHDU     +HQLJ     
                          
                             
                            
                              
                               KROG 
              KHDUG              
                          +HQLJ V         
                                   KRPH 
                                                         Armistead App. 1023
                                                              3DJH

KRPRJHQRXV                       
                      LGHQWLIL    
KRPRSKRELD                             
                              
KRPRSKRELF                       
                                  
KRPRVH[X                           
                                 LGHQWLI\
KRSH                                 
              KRVSLWDO             
KRUPRQDO                                 
           KRVW               
             KRXU               
                               
                           
                             
                             
                                 
               KXJV                
             KXQGUHG              
                                   
KRUPRQH                                LGHQWLI\LQJ
                  +XUULFDQH               
                                      
                 +XVNH               
             +XWFKLQVRQ              
                                   
               K\SRWKHVHV               
                                    
                               LGHQWLWLHV
                 K\SRWKHVLV               
                               
                                   LGHQWLW\
                              
            K\SRWKHW             
                                
             K\SRWKHW              
                                  
                                    
KRUPRQHV                    ,             
                  LH               
                 LGHD                
                                    
                               
                              
                                  
                                  
                          LGHQWLILHG      
              LGHDO             
             LGHDOO\               
                           
                                   
        KRVSLWDO      ,GHDWLRQ       LGHQWLILHV     
                                                          Armistead App. 1024
                                                               3DJH

                     LPSURYH         
              LPSOHPHQ               
    LGHQWLW\                        
             LPSOLFDWLRQ    LPSURYHG        
     ,OOLQRLV                           
                                  LQFOXGLQJ
        LOOQHVV    LPSOLFDW    LPSURYHPHQW      
                                  
                                    
             LPSOLHG                  
        LPDJH                        
              LPSOLHV               
       LPDJLQH             LPSURYHP     
                                 
     LPDJLQJ                           
                 LPSO\    LPSURYHV       LQFOXVLR
                LPSRUWDQFH               
       LPEDODQFH                LQDFFXUDWH     LQFRPH 
                                  
    LPPHGLDWHO\    LPSRUWDQW                 
                     LQFDSDEOH      LQFRQJUX
                               
                       LQFLGHQW       LQFRQJUXHQW
                                      
                           LQFOXGH     
     LPSDFW                    
                                  
                                     
                                LQFRQVLV
                             
                                    ,QFRUSRU
                                    
                                  LQFRUUHFW
                                     
                                  
                                 LQFRUUHFWO\
                                    
                                LQFUHDVH
            LPSRUWDQWO\               
                                 
              LPSRVVLEOH              LQFUHDVHG
        LPSDFWHG                          
                         LQFOXGHG        
       LPSDFWV                        LQGHSHQGHQW
                  LPSUHFLVH             
                             LQGHSHQG
                                 
                 LPSUHVVHG               LQGLFDWH
                                  
             LPSUHVVLRQ               
                    LQFOXGHV        
            LPSUREDEOH                 
                                 
                                                        Armistead App. 1025
                                                             3DJH

                LQGLYLGX             
         LQGLFDWLRQ                     
                                  
                                  
        LQGLFDWLRQV           LQIOXHQFHG    LQKLELWRUV
                                   
                         LQIOXHQFHV    LQLWLDO
        LQGLYLGXDO                
                               
                      LQIRUPDO      LQLWLDWHG
                  LQGLYLGX            
                     LQIRUPDQWV    LQLWLDWHV
              LQGLYLGXDOV             
                      LQIRUPDWLRQ   LQLWLDWLQJ
                                 
LQGLFDWHG                             
                           
                                  
                                  
                                   
                                
                                 
                                 LQLWLDWLRQ
                             
                                  
                                 
                                  
                                  
LQGLFDWHV                             
                                
                                  
                              LQMXVWLFHV
                      LQIRUPHG       
                              LQQDWH
                                    
                                   
                                 LQVLGH 
                                 LQVLVWV
                                 
                           ,QVRPXFK
                              
                              LQVSHFWHG
               LQGXOJLQJ     LQIUHTXHQW     
                                 LQVWDQFH
                LQHYLWDEO\             
                         LQKHUHQW        
                                
             LQIHUUHG           LQVWDQFHV
      LQGLYLGX                     
LQGLFDWLQJ            LQIHUWLOLW\           ,QVWLWXWH
                             
     LQGLYLGX   LQIOXHQFH              
                         LQKHUHQWO\     
                                                           Armistead App. 1026
                                                                3DJH

LQVWLWXWLRQ                    LQYROYHG        
          LQWHUIHUH                          
LQVWUXFW                              
          LQWHUQDO                           
LQVWUXPHQW                              
                                   
          LQWHUQDO                      LVVXLQJ
LQVWUXPHQWV                              
                                       
         LQWHUQDW                      
LQVXUDQFH                               ,V]DF 
                                  
                                      
LQWDNH                                 
                           LQYROYHPHQW    LW G 
LQWDNHW\SH    LQWHUQHW                           
                                   LWHPV 
LQWHJULW\                         
       LQWHUSUHWHG   LQWHUYLHZ      LQYROYHV             -
LQWHQG                                    -$&.621 
LQWHQGHG       LQWHUUXSW                  -DFRE 
                                    -DNH 
LQWHQVLW\                               
         LQWHUUXS                       
                                     -DQVVHQ 
          LQWHUVHF   LQWHUYLHZV                
LQWHQW                   LUUHJXOD      
         LQWHUVH[                      
                   LQWURGXFH                 
LQWHQWLRQ      LQWHUYHQH              LUUHVSHF    -DQXDU\
             LQWURGXF              
         LQWHUYHQLQJ                      
LQWHQWLR            LQYDOLG        LUUHYHUV    MHVW 
         LQWHUYHQRU                      MRE 
,QWHQWLRQV            LQYDULDEO\             
                             LVRODWLRQ       
         LQWHUYHQRUV   LQYHQWLRQ                -RKQVRQ 
LQWHUDFWLRQ                        LVVXH    MRLQ 
          LQWHUYHQ   LQYHQWLRQV                
LQWHUDFW                               MRLQLQJ
                   LQYHVWLJ               
                                 -RVK 
                 LQYHVWLJ              -26+8$ 
LQWHUDFWV                     LVVXHG    -RXUQDO 
                                       MXGJH 
LQWHUHVW                LQYHVWLJ         MXGJPHQW
                                     
                 LQYRLFH    LVVXHV      
                                 MXPSLQJ 
               LQYROXQWDU\      
                                          .
LQWHUHVWV      LQWHUYHQ                      .DUOHLJK
                                    
                                                          Armistead App. 1027
                                                               3DJH

.DWKOHHQ                  NQRZV    ODUJHO\
                             .XSHU      
.DW]                            ODWH 
.DW]:LVH                                       
                            /         
                       /         ODWLWXGH
                       ODE      
                          ODEHO     ODZ 
NHHS                        
                                
NHHSLQJ                                  
                            ODEHOHG        
.HOO\       .LQJGRP V                       
                         ODEHOV         
                                 
NLFNHG         .OHLQ           /DFH\       
                    ODFN     
NLG                                  
         NQRZ                       
                                  
                               
                            ODFNHG         
NLG V                           
                        ODLG     
NLGV                  /$,1(<     
                                       
                     /DPEGD     
                                  
                        ODQGVFDSH     /DZUHQFH
                               
                          ODQJXDJH      /DZUHQFH
                           
                               ODZV 
                                  
                             
                          OD\HUV
                                  
                  NQRZDEOH               OHDG 
                                  
                 NQRZLQJ                  
                                  
NLQG                                
                                 OHDGHUVKLS
                                   
                       ODUJH     OHDGLQJ
                                     
              NQRZOHGJH                
                              
                                 OHDS 
                                OHDUQ 
                                   OHDUQLQJ
                 NQRZQ              
                                 
                                                           Armistead App. 1028
                                                                3DJH

                                     
OHDYH                                  
OHFWXUHV      OHWWHU         /LFRSHQH       OLVWHG    /LWWPDQ 
                                 
            /LGJUHQ                   
                                  
                    OLIH       OLVWHQHG         
OHG                                     
                     OLVWHQLQJ       
                                       /LWWPDQ V
                            OLVWLQJ          
                                   
                          OLVWV      
OHIW    OHYHO              OLWHUDWXUH      
                  OLIHDOW               OLYH 
                                      
OHJ            OLIHORQJ                OLYHG 
OHJDO                               OLYHV 
               OLNHOLKRRG           //3 
                           ORFDO 
        OHYHOV                            ORFDWHG
              /LO\              
OHJLVODWLYH   /HYLQH                    ORFDWLRQ
                                   
                  OLPLW              ORFDWLRQV
OHJLWLPDWH             OLPLWDWLRQV              
                                    ORJLFDO
OHW V                                
         /HYLQH V                        ORJV 
                  OLPLWHG                  ORQJ 
                                       
                                 
                  OLPLWV              
        /*%7                         
                  /LQGJUHQ                 
                                       
                                       
                OLQH             
                                      ORQJWHUP
         /LD                          
                                       
                OLQHV               
                       OLWLJDWLRQ      
                  OLQN                
                   OLQNV    OLWWOH     
              /LVD               
                                 
        /LEHUWLHV                         ORQJHU
                                         
         OLFHQVH                         
                                ORQJLWXG
        OLFHQVHG       OLVW                
                                   
                                                           Armistead App. 1029
                                                                3DJH

                                 
ORQJLWXG             /XULH             PDQGDWH
                                 
ORRN                                   PDQGDWHG
                                     
                                       PDQGDWHV
                         0                
                    0                 
          ORRNV      0'            
                               PDQGDWRU\
                   PDJQLWXGH               
                                  PDQLIHVW
          /RRP      PDLQ               
          ORVH                         PDQQHU
          ORVW      PDLQVWUHDP              
                                    
          ORW       PDMRU               
                PDMRULW\                PDQXDO 
                              
                                     
                                 PDULWDO
                                  
                                      
                   PDNLQJ    PDOHV     
                           PDUN 
                                      
                               
                                      
                                    
                                    
                                   
                                 
                                     
                                     
                                  
         ORWV                     
          ORXG       PDOH                
         ORYH                 
                                   
ORRNHG         ORZ                      
                                 
                                  
                                
                                 
ORRNLQJ                                
         ORZHU           PDOIXQFWLRQ    
                              
          OXQFK           PDOOHDEOH      
         OXQJ                        
         /XSURQ            PDQ        
                              
                                      
                        PDQDJH        PDUNHG 
                                                           Armistead App. 1030
                                                                3DJH

                                 PHGLFDWLRQ
     PDWK                PHDVXUH         
                                
                                 
                               
        PDWWHU                          
                                     
                                  
                            PHDVXUHG        
                                  PHGLFDWLRQV
                                 
                                    
                        PHDVXUHPHQW     
                                      
                            PHDVXUHP     
        PDWWHUV                        
                 PHDQLQJ        PHDVXUHV        
         PDWXULW\                            
                             
        0F&DOO                             
                 PHDQLQJIXO     PHDVXULQJ       
                                     
         0F&XVNH\                        PHGLFLQH
                             PHGLD     
         PHDQ                       
               PHDQLQJOHVV            
                         0HGLFDLG        
                  PHDQV                
                        PHGLFDO      
                             
                           0HGVFDSH
                             
                            0HGVFDSH
                                        
                                  
                               PHHW 
                                 
                                     
                                   PHHWLQJ
                                  
                                PHHWLQJV
PDUNLQJ                                 
                                     
PDVFXOLQH                               PHHWV 
                                  PHPEHU
PDVN                                
PDVNLQJ                                    
                   PHDQW             PHPEHUV
PDWFK                                
                                       
                           PHGLFDOO\      PHQ 
PDWHULDOV                                  
                 PHDVXUDEOH              PHQWDO 
                                                          Armistead App. 1031
                                                               3DJH

                 PHWDO               
          PHWKRG              
                       PLVFDUULDJH     
                                
                                
          PHWKRGRO    PLVFKDUD     
                                   
               PHWKRGRORJ\    PLVFKDUD    PRPHQWRXV
                            
                                PRPHQWV
                     PLVGLDJQ     
                             
                 PHWKRGV    PLVOHG     
                                    PRQLWRU
                           PLVSURQR     
                 0LFKDHO                  PRQWK 
                      PLVUHDGLQJ     PRQWKO\
                 PLG                 
                PLGGOH    PLVVHG    PRQWKV 
                                
                       PLVVLQJ         
                              0RUJDQ 
             0LHVHQ               
                      PLVVWDWLQJ      
                                     PRUQLQJ
                        PLVWDNH         
                                   
                PLQG      PLVWDNHQ        
                        0255,6(<
                        PLVXQGHU     
                                0RVHVRQ 
                      PL[        
   PHQWLRQ             PL[HG     0RWKHU 
                  PLQGV    PRGDOLWLHV     PRWLYDWHG
                 PLQH                  
                  PLQLPXP        PRGHO      PRWLYDWLRQV
        PHQWLRQHG                      
              PLQRULW\               
                            
                             PRXWK 
                                PRYH 
                                 PRYHG 
          PLQRUV               PRYHV 
       PHUH                     PRYLQJ 
      PHUHO\         PLQXWH                  
                                   05, 
       PHULWV    PLQXWHV    PRGHUDWH       PXOWLSKDVH
        PHW                           
                          PRGLILHG       PXOWLYD
                                   
                             PXOWLGLV
       PHWDDQDO            PRPHQW     
                                   PXOWLSOH
                                                          Armistead App. 1032
                                                               3DJH

                                  
                                     
                        QHXURSDW    
               QHFHVVDU\              
                       QHXURVFL    
                                
                           QHXWUDO        
                   QHHG              
PXVFOHV                                 
                          QHYHU    1LQHW\ILYH
PXWHG                               
PXWXDO                            QRZLQ
                                     
       1       QDWLRQDO                       QRGGLQJ 
1                                 
                                QRPHQFOD
                              
QDLO                             
1DLQJJRODQ                                QRQ 
                                    QRQDIIL
                                 
QDPH                                 
                                   
                                   
                                   QRQDIIL
                         QHYHUWKH    
                                  
                                    
                                     1RQ%LQDU\
                                     
QDPH V                          QHZ     QRQFRQI
         QDWLRQDOO\     QHHGHG           
QDPHG                          
          QDWXUDO                       
QDPHV                QHHGV          
                                      
QDUUDWLYH      QDWXUDOO\                        QRQHQGR
                                  
          QDWXUH                      
QDUURZV                                   QRQLQWH
                                 
QDWDO                             QRQSLWK\
                  QHJDWLYH               
         1(                      1RQELQDU\
         QHFHVVDULO\                       
                                  QRQFRQIR
                                      
                                    QRQVSHFLILF
                                      
                                    QRUPDO 
                  QHLWKHU       1+6      
                           1,+      
                1HWZRUN       QLQH      
                                                       Armistead App. 1033
                                                            3DJH

                              
QRUPDOO\                          
                           
                                
1RUWK                        
1RUWKZHV                           
                           
QRWDEOH                                
                             
QRWDEO\                            
                                
1RWDU\                               
QRWH                       
                            
                                
                            
                              
                              
                               
                           
                               
                             
       QXPEHUHG                     
QRWHG                         
          QXPEHUV                
                              
                                
                                 
QRWHV                            
                                
       1<                     
QRWLQJ         1<8                       
                             
                                
QRWLRQ                                        
               2                    
QRYHO    2                         
17'6      R FORFN                    
QXDQFH                                
         2DNV                   
        2EMHFW                    
QXDQFHV                              
                                   
                            
QXPEHU      REMHFWLRQ                     
                            
                          
                                
                           
                                  
                                
                             
                           
                                                          Armistead App. 1034
                                                               3DJH

                 RIIHUHG                
                           RSHQ 
                              
                RIIHULQJ                  
                                 RSHUDWLRQDO
                             
              RIILFH               
        REOLJDWLRQV                       RSHUDWLR
                              
        REVHUYDWLRQ                       RSLQLQJ
              RIILFLDO                 
       REVHUYDW                  RSLQLRQ
               2K       ROG         
        REVHUYHG                           
              2+68                
       REWDLQHG       RND\                 
                                 
       REYLRXVO\                       
                 ROGHU      
    RFFDVLRQ             ROGV      
                      2OVRQ      
                               
       RFFDVLRQ                    
                       2O\PSLDQ        
                                    
       RFFXUUHG                 RQFH       
                                       
                                    
                         RQH V      
                                     
                         RQHV        
     RFFXUUHQFH                         
                                    
                                 
        RFFXUULQJ                         
                                   RSLQLRQV
                                 
                             
                          RQJRLQJ         
       RFFXUV                            
                                 
       2FWREHU                        
                              RSSRUWXQLW\
REMHFWLRQV   RGGV                     
                                 RSSRVHG
        RIIODEHO                         
                                
        RIIHQVH                       
     RIIHU               RQOLQH    RSSRVLWH
                               
                              
REMHFWLYH                       RQVHW      
                                   
                                                         Armistead App. 1035
                                                              3DJH

RSW                              
         RULJLQDO      RXWOLQHG              
RSWHG                            
RSWLRQ                             
                   2XWSDWLHQW           
RSWLRQV                                     
               RXWVHW                
                             
RUGHU          RXWVLGH           
                                 
      RULJLQDOO\                      
                              
       RXWFRPH                           
                             
                                   
                               
                                  
                                 
                                      
                          
                 RYD               
                                     
                  RYHUDOO                  
                                  
                                   
RUGHUV             RYHUODS               
RUGLQDU\                                 
                RYHUVLJKW               
RUJDQL]D                        
       RXWFRPHV      RYHUYLHZ                 
                                 
                                   
                      3                  
                   3            
                               
                                   
RUJDQL]D             SP             
                                   
                                  
                                   
                                    
                             
                                 
                                     
                          
                                  
RUJDQL]HV                              
                  SDJH              
RUJDQV                             
RULHQWDWLRQ                           
          RXWOHW                        
                                  
          RXWOLQH                     
                                                          Armistead App. 1036
                                                               3DJH

                                    
SDJHV                              
                             
                           SDUWLFLSDQW    
                                 
SDJLQDWHG                                  
                        SDUWLFLS    
                                 
SDLG                              
SDLQWLQJ                                  
                   SDUHQWV              
SDLUHG                                 
                  SDUODQFH                
SDQLF                            
SDSHU                SDUVH             
                                     
                                    SDUWLFXO
                                     
SDSHUV    SDUDJUDSKV     SDUVLQJ             
                                   
                               
                                    
SDUDGLJPV      3DUGRQ    SDUW      SDUWLFLSDWH    
                                     
SDUDJUDSK      SDUHQW                      SDUWLHV 
                                  
                                  SDUWO\
                           
                               SDUWV 
                           SDVVDJH
                                    
                         SDUWLFLS   SDVVHG 
       SDUHQWDO                        SDVWHG
                                   
                        SDUWLFLS   SDWK 
                                 
                                    SDWKRSK\
          SDUHQWKHVHV                      
                                    SDWKZD\
         SDUHQWKRRG                       
                                SDWLHQW
         SDUHQWV                        
                            SDUWLFLS    
                                 
                                    
                                   
                                 
                                   
                        SDUWLFLS    
                                  
                       SDUWLFXODU     
                                 
                                  
                                                         Armistead App. 1037
                                                              3DJH

                         
                                SHUVLVW 
SDWLHQW V                            
                             SHUVLVWHG
                             
                        
                                SHUVLVWHQFH
SDWLHQWV                               
                            
                           
                              SHUVLVWLQJ
                             
     3DWULFLD                          
                              
                              SHUVRQ 
      3$75,&.                  
     SDXVH               
                        
                             
                               
                            
         SHDNV                  
                               
                                 
       SHGLDWULF                    
                          
                             
      SHGLDWUL                  
                       SHUFHQWDJH     
    SHGLDWULFV                        
                               
        SHHO                  SHUVRQ V
        SHHU                         
                                      
                                    
                                 
                                    
    SHHUDSS             SHUFHQWDJHV    
                                      
        SHHUV     SHRSOH V      SHUFHSWLRQV    
                                  
                      SHUFHSWLYH    SHUVRQDO
                 SHUFHLYHG               
                       SHUIHFW        
                                   
        3(/(                SHUIRUP       SHUVRQDOO\
      3HOHW      SHUFHQW                 
                           SHUIRUPDQFH    
      SHQGLQJ                      
                                      
         3HQQV\OY                   
                      SHULRG     
        SHRSOH         SHUPHDWHV      
                                                            Armistead App. 1038
                                                                 3DJH

                  SOHGJH               
SHUVRQV    SK\VLRORJ\     3//&                SRVLWLYH
                 SOXUDO    SRSXODWLRQ      
SHUVSHFWLYH                          SRVVLELOLW\
                   SRLQW                 
         SLHFH                      
                                    
                                  
          SLHFHV                           SRVVLEOH
SHUWDLQV                                 
          3LRQHHU                             
SHUYDVLYH                                  
          SLWK\                         
SKDUPDFH                                 
          SODFH                           
3KDVH                                 
                                  
                         SRSXODWL     
SKDVHG                  SRLQWLQJ                 
         SODFHG                        
SKHQRPHQ    SODFLQJ        SRLQWV              
                             SRSXODWLRQV     
                    SRODUL]HG                
SKHQRPHQRQ     SODLQ               SRUWLRQV        
           3ODLQWLII      SROLFLHV                 
                         SRUWUD\DO       
                                  
                         SRVH       
                      SRVHV    SRVVLEO\
SKHQRW\SLF     3ODLQWLIIV                         
                                    
SKUDVH         SODQ                SRVLWLRQ       3RVW 
                   SROLF\            
      SOD\                    
                                     
                                     
SKUDVLQJ                                SRWHQWLDO
                                  
SK\VLFDO                SROLWLFDO             
                               
     SOD\LQJ        SRRGOH             
                                    
         SOHDVH    SRRGOH V                  
SK\VLFDOO\                                    
                   SRRO                
SK\VLFLDQ                SRRU                
                                     
                                      
SK\VLRORJLF             SRRUO\              
                   SRSXODU               
SK\VLROR                                 
      SOHDVXUHV                         
                          SRVLWLRQV       
                                                         Armistead App. 1039
                                                              3DJH

SRWHQWLDOO\   SUHSXEH                      SUHYHQW
                                  
         SUHFLSLW                    
                                    
         SUHFLVH                SUHVHQWLQJ     
                 SUHSRQGH            SUHYHQWHG
                                     
        SUHFOXGHV                         
SUDFWLFDO              SUHSXEHUWDO           SUHYHQWLQJ
                               
SUDFWLFH      SUHFRFLRXV                   SUHYHQWV
                            
                         SUHYLRXV
                          SUHVLGHQW       
                                  
                         SUHVV     
         3UHGLFWLQJ                       
                  SUHSXEHV            
         SUHGLFWRU                       SUHYLRXVO\
                  SUHVFULEH               
                   SUHVVXUH       
         SUHGLFWRUV                       
                                SULPDULO\
               SUHVFULEHG              
     SUHH[LVWLQJ                   
                                   SULPDU\
        SUHIHU         SUHVFULELQJ             
                      SUHVVXUHG      
        SUHIHUDEO\                        
                       SUHVWXG\       
         SUHJQDQFLHV                   SULQFLSOHV
                     SUHVXPH        
                              SULQWHG 
                         SUHVXPLQJ     SULRU 
        3UHJQDQF\                       
SUDFWLFHG                       SUHVXSSRVH     
                                    
        SUHJQDQW       SUHVHQFH      SUHVXSSRVHG    
SUDFWLFHV                          
                  SUHVHQW                
SUDFWLFLQJ                   SUHVXSSRVHV    
         SUHOLPLQDU\                   
                         SUHVXSSR    
                                  
                                 
SUDFWLWL   SUHPLVH                  
                          SUHWW\     
                                   
SUDFWLWL                              
        SUHSDUHG       SUHVHQWHG     SUHYDLOLQJ     
                             
SUH*,&(                               
         SUHSDULQJ                    
                                                          Armistead App. 1040
                                                               3DJH

3ULW]NHU                               SURYHG
      352&((',1*6          SURJUHVVHV     
SULYLOHJHG                            SURYLGH
           SURFHVV             SURJUHVVLRQ    
SULY\                            
SUREDEO\                  SURKLELWHG     
                                  
                            SURMHFW        
                                    
                     SURORQJ        
                               
                         SURORQJHG     SURYLGHG
                                    
                                 
                            
                                
                                   
                          SURPRWH       SURYLGHQFH
                                     
                          SURPRWLQJ     SURYLGHU
                                     
                            SURPSW     
                                SURYLGHUV
                               
                       SURQRXQF    
               SURIHVVL            
                           SURQRXQV       
                   SURIHVVL        SURYLGHV
                                 
                           SURSRUWLRQ     
                                 
SUREOHP                              SURYLGLQJ
                                    
         SURFHVVHV                    
SUREOHPDWLF                             
                                 SURYLQJ
SUREOHPV                          SURSRVH        
               3URIHVVRU           SURYLVLRQ
                                   
                        SURSRVLWLRQ    
SURFHGXUH                             SV\FKLDWULF
                 SURIRXQG                
SURFHGXUHV     SURGXFH                    
                    SURIRXQGO\    SURVSHFWLYH    
SURFHHG        SURGXFWLRQ                      
                                  
                        SURWRFRO       
                                 
                           SURWRFROV      
          SURIHVVLRQ                  
SURFHHGHG                SURJUDP       SURYH     
         SURIHVVL                      
SURFHHGLQJ                              
                                                        Armistead App. 1041
                                                             3DJH

                                    
SV\FKLDW                           
          SXEHUW\            
                          
                               
                               
                            
                             
         SV\FKROR                  
                                
                            
                               
        SV\FKROR                    
SV\FKLDW                          
                                
        3V\FKRORJ\                  
SV\FKLDW                          
      SV\FKRPH                 
                              
                                 
                                 SXEOLF 
                          
      SV\FKRVR                   SXEOLFDWLRQ
SV\FKLDW                    
                            
SV\FKLDWU\                            SXEOLFDW
                              
                            SXEOLFDW
                             
                           SXEOLVK
                             
                               SXEOLVKHG
     SV\FKRWK               
                        
                           
                      
                            
                               
                             
                            
                               
                             
SV\FKROR                        
     SXEHUWDO                
                        
                              
                          
                               
                         
                                
                              
                          
                           
                                                        Armistead App. 1042
                                                             3DJH

                               
                             TXRWH 
                                
                                 
                                  
                                   
                  TXHVWLRQ    
                               
          SXWV            TXHVWLRQLQJ    
                                    
                          4XHVWLRQ    
                                  
         SXWWLQJ               TXHVWLRQV      
                          
                                         
               4                       TXRWHG 
      4,'6                     TXRWLQJ
         TXDOLI\                    
                                   
          TXDOLWDWLYH            
                                   5
         TXDOLW\                     5  
SXOO                              
                              UDFH 
SXOOHG                            5DFKHO 
SXOOLQJ                                 
                            5DH 
SXOVDWLOH                            
                                
SXQ      TXDQWLI\                     UDLVH 
SXUSRUWV                                   
         TXDUWHU                        
SXUSRVH                                  
          TXHVWLRQ                   UDLVHG
                                
                                     
SXUSRVHV                                
                             
                                 
                     TXLFN      
SXUVXDQW                       UDLVLQJ
SXUVXHG                 TXLFNO\         
                              
SXW                     4XLOOHWWH       
                                UDQGRP 
                   TXLWH      
                              UDQJH 
                                 
                                     
                                  
                                  
                                  
                                   
                                                            Armistead App. 1043
                                                                 3DJH

                                   
                            UHFHLYLQJ
UDQJHG                            
UDQJHV                                    
                                  
UDSLG                                
                                      
                           UHEXWWDOV       
UDSLGO\                              
UDUH                   UHEXWWLQJ       
         UHDGLQJ                   UHFRJQLWLRQ
UDWH                                    
UDWHG                        UHFDOO    UHFRJQL]H
UDWHV                                    
                                       
                                     UHFRJQL]LQJ
                                       
UDWLQJ                           UHFROOHF
UHDFK                                  
                                     
          UHDGV                          
                                      
                                   
UHDFKHG                                    
                                       
                  UHDVRQ              
UHDFKLQJ                                     UHFRPPHQG
                                  
UHDFWLRQV                                   
                                         
UHDG                                     
                       5HFDOOHG        
                                      
          UHDG\           UHFDOOLQJ       
                                    
      UHDO      UHDVRQDEOH               UHFRPPHQ
                                    
       UHDOLVWLF                UHFHLYH         
                                    
         UHDOLW\                        
                                    
         UHDOL]H                           
                   UHDVRQV                   
          UHDOL]HG                          UHFRPPHQ
                                        
         UHDOO\                          
                   UHDVVLJQ              
                              
                                 
                             UHFHLYHG        
               UHEXW              
                   UHEXWWDO                 
                                  
                                                            Armistead App. 1044
                                                                 3DJH

                                   
      UHFUXLWLQJ                     
                                    
UHFRPPHQGHG    UHFUXLWPHQW    5HIHUUDOV                
                                     
               UHIHUUHG                  
                                    
                                   
         UHGDFWHG                         UHODWLQJ
UHFRPPHQ                                 
                                       
         5HGGLW             UHJDUGOHVV       
          5HGLUHFW                          
                  UHIHUULQJ                 
          UHGXFH                       UHODWLRQ
UHFRPPHQGV                                   
         UHHQIRUFHV            UHJDUGV        UHODWLRQ
                                     
         UHIDPLOL             UHJLRQV         
                                      
UHFRUG    UHIHU               UHJLVWHUHG     UHODWLRQ
                                    
                            UHJUHVVLRQ      
                                     UHODWLYH
                         UHJUHW          
                                     
      UHIHUHQFH               UHJXODU        UHODWLYHO\
                                        
                      UHJXODWRU\      
               UHIHUV              
                     5HLQKDUGW       
                              
                                   UHOHDVH
                         UHLQLWLD     
      UHIHUHQFHG                         
                        UHMHFW    UHOHDVHG
                     UHMHFWLQJ       
                                   
                   UHIOHFW        UHMHFWLRQ       
      UHIHUHQFHV                       5HOHDVLQJ
                               
                 UHIOHFWHG               UHOHYDQFH
                                  
       UHIHUHQFLQJ    UHIOHFWLQJ                
                       UHODWH    UHOHYDQW
                 UHIUHVK        UHODWHG          
UHFRUGLQJ                                    
                                       UHOLDELOLW\
UHFRUGV             UHJDUG           
                                       
UHFUXLWHG                                  
            UHJDUGLQJ              
                               UHOLDEOH
                                                         Armistead App. 1045
                                                              3DJH

                              UHSUHVHQ
                              
UHOLDEO\                                 UHSULQW
                                    
UHOLHG                              UHSURGXFLQJ
                                    
                                     UHSURGXF
                               
          UHSHDWHG                   UHSURGXF
UHORFDWH                             
         UHSHDWHGO\                 UHSXWDWLRQ
UHO\                               
          UHSKUDVH                    
                                  
UHPDLQ                   UHSRUWHU     
          UHSOLFDWLRQ                 UHTXLUH
                              
         UHSRUW                     
UHPDLQLQJ                   UHSRUWLQJ       
                                   
                                  
UHPDLQV                        
UHPHG\                           
UHPHPEHU                               
                        UHSRUWV        UHTXLUHG
                               
                              
                                    
                              
                                  
                                  UHTXLUHPHQW
UHPLQG                           
                              
UHPLQGHU                           
                             
UHPRWHO\                            
                         UHTXLUHP
UHPRYH                          
                            
UHQGHU                           
UHQGHUHG                         UHTXLUHV
                                   
UHQGHULQJ                            
                                   UHTXLULQJ
UHQGHUV                     UHSUHVHQW       
                                  UHUHDG 
UHQRXQFH                                  UHVHDUFK
                                  
UHSHDW                       
                               
                  UHSUHVHQ     
                UHSRUWHG                
                                    
                                                          Armistead App. 1046
                                                               3DJH

                UHYHUVH                 
                           UHYLVHG        
        UHVSRQVHV                         
                                
                      ULJKW     
        UHVSRQVL                  ULJRURXV
                                
      UHVSRQVLEOH    UHYHUVHG                 
                                     ULVLQJ
                                 
                                 
         UHVW                          ULVN 
UHVHDUFKHG              UHYHUVLE             
                                      
UHVHDUFKHUV   UHVWDWH        UHYHUVLEOH               
                              
         UHVXOW                   
                                 
                                   
                 UHYHUVLQJ               
                                 ULVNV 
                UHYHUW               
UHVHPEOH                                   
         UHVXOWLQJ      UHYHUWV                  
UHVLGHQF\                                
               UHYLHZ              
       UHVXOWV                       
                              
5HVLJQDWLRQ                            
                              
UHVLOLHQFH                            
                                     
UHVLOLHQW                                  
                                
UHVSHFW                                
                                  
     UHWDLQHG                         5RDG 
UHVSHFWHG           UHYLHZHG               5REHUW 
                                   
         UHWURVSH                 5REHUWD 
                                  
                                  
                                       
UHVSHFWLYH                            5REHUWR 
          UHWURVSH    UHYLHZHU                 
UHVSRQGHQW                            UREXVW
        UHWXUQ    UHYLHZLQJ                
UHVSRQGHQWV                               UROH 
                              
       UHWXUQLQJ                       
UHVSRQVH               UHYLHZV              
        UHYHDOV                            
                                    
                                                            Armistead App. 1047
                                                                 3DJH

             6        6DUJHQW V             
     6                         
             VDZ               
         6DELQH                       
         VDERWDJH             VFDOHV     
                                     
       6DEUD           6FDQGLQD     
         6DEULQD                        
                   VD\LQJ    VFHQDULR        
          VDG                         
         VDIH                     
                                    
URRI                      VFHQDULRV       
URRP                                    
          6DIHU              VFKRODUO\       
                                  
                          VFKRRO      
URRPV     6DIHU V                       
URXJK                                 
         VDIHW\                         
URXJKO\                            
URXQGV                             
URXWLQH                  VD\V             VFRSLQJ
                                 
5R\DO                            VFRUH 
                                VFRUHV 
                       VFKRROV        6FRWW 
                                   6FRWWVGDOH
                            VFLHQFH         
UXEEHU         VDNH                         VFUHHQ
                                      
UXEULF                       VFLHQWLILF     VFUHHQLQJV
UXOH                                    
                                     VFUROO
      VDODU\                        
         VDPHDJHG                          
                                     VFUROOHG
UXOHV       VDPSOH                        
                                       VHDOLQJ 
                                 VHDUFK
                       VFLHQWLI     
                                 VHDUFKLQJ
                                   
                      VFLHQWLVW      VHDVRQ
UXQ                                      
                       VFRSH    VHFRQG 
UXVK      VDPSOLQJ                            
UXVKHG                                
                                  
                                
5\DQ                VFDOH               
         6DQ                           
                                    
                                                         Armistead App. 1048
                                                              3DJH

                                  
                                 
                       VHOHFW    VHSDUDWLRQ
                        6HOHFWHG        
                                 VHULHV 
                   VHOHFWLRQ       
                                
                                    VHULRXV
VHFRQGDU\                                 
              VHHN    VHOI     
                  VHHNLQJ                  
                                 
VHFUHWLRQ                        
                          
VHFWLRQ                           VHUYH 
                              
                              
              VHHQ                 
                             
                                   
VHFWLRQDO                              
                       VHOIUHSRUW    VHUYHG 
                                
                          VHOIUHS     
VHH                              VHUYLFH 
                     6HOLQ        
                             
                          VHQVH      
                                 
                         
                             
                                      
                             6HUYLFHV
                                
                                 
                                
                                 
                  VHQVLWLYH      6HUYLFHV
                                  
                          VHQWHQFH       VHUYLQJ
                               
                                VHVVLRQ
                                   
                                  VHVVLRQV
                                    
                                VHW 
                        VHQWHQFHV        
                                 
         VHHLQJ                       
                    VHSDUDWH        
                           
                                     
                         VHSDUDWHO\      
                                                           Armistead App. 1049
                                                                3DJH

                  6KRDOV     VKRZV      
                  VKRUW      6KXPDQ     VLU 
VHWV                      6KXPHU         VLVWHUV
                                   
VHYHQ                        VLF      VLW 
                        VLGH      VLWH 
                                      VLWWLQJ
                                 
                                      
        VH[VHJU                        
VHYHQ\H              6KRUWWHUP     VLJQLILF     
        VH[LVP                    VLWXDWLRQ
6HYHQW\             VKRW                 
          VH[XDO    VKRZ                
VHYHULW\                               
                         VLJQLILFDQW     
VH[                                  
                                     
                                       VL[ 
                               
                                   
                                 
                                   
                                   
                    VLJQLILF     
                               
                                     
                           VLJQLQJ     
                         VLJQV      
                            VLOHQFH         
         VH[XDOLW\                      VL[WK 
                                 VL]H 
                        VLPLODU         
                                VNHZHG 
        VH[XDOO\                          
                                       
                                 
                        VLPLODUO\       
        VKDGRZ                             
                            VLPSOH         VNHZLQJ
    VKDSH                        
        VKDUH              VLPSOLVWLF     VNLOOV 
                            
                                       
                      VLPSO\    VNLSSLQJ
                          VLQJOH     
                                      
                                 VODVK 
        VKDUHG    VKRZHG               
        VKHHW       VKRZLQJ                  VOHHS 
                               6OLFHU 
     VKLIW    VKRZQ             VOLJKWO\
                        VLQJXODU        
                                                           Armistead App. 1050
                                                                3DJH

6ORZHU                                 
                                     
VPDOO                               
                          VSHDNLQJ        
VPDOOHU                                  
                                   
VQRZEDOO                                  
                                  
VRFLDO                               
                  VRUW                
                                      
                                  
                                    
              VRXJKW         VSHDNV     
                                 
               VRXQGV               
                      VSHFLDO         
         6RFLHW\ V                         
                                      
                           VSHFLDOLVW      
                 VRXUFH                
      VROYLQJ                           
               VRXUFHV        VSHFLDOLVWV     
                                     
       VRPHERG\             VSHFLDOL]HG     
                                     
                        VSHFLDOW\       
                                   
          VRPHRQH V              VSHFLILF        
                 VRXUFLQJ              
VRFLDOO\                                
          VRRQ    6RXWKHUQ            
       VRUU\                           
               VSDFHV               
           VSHDN            
                             
                                   
                               
                               
                                  
                                   
                                   
VRFLHWDO                                
                                       
                                      
VRFLHWLHV                                  
                                      
VRFLHW\                               
                                  
                                  
                                VSHFLILF
                                    
                                
                                                           Armistead App. 1051
                                                                3DJH

                                   
     VSHFXODWLRQ                        
                           VWDUWV          
         VSHQG    VWDJLQJ                  
                                     
        VSHQGLQJ       VWDPS    VWDWH     
                 VWDQGDUG              
                                  VWDWHPHQWV
        VSHQW                       
        VSHUP                    
                                   
        VSOLW                      
         VSRNHQ                           
                  VWDQGDUG              
         VSRUW                        VWDWHV 
              VWDQGDUGV                 
        VSRUWV                       
                                    
                             
                               
                                       
                                   
                        
                                    
                                VWDWLF 
                                  VWDWLQJ
                         VWDWHG     
                                
                               VWDWLVWLFDO
                                       
        VSXUWV                        
         6UXWL                          
                                      
VSHFLILFLW\   VWDELOLW\      VWDQGLQJ       VWDWHPHQW       
                                  
VSHFLILFV     VWDEOH    VWDQGV                
     VWDJH                          
                VWDUW               VWDWLVWL
                                      
                                 
                             
                                     
               VWDUWHG               
                           VWDWXV 
                                    
                                     VWDWXWH
                               
                                    VWD\HG
                                     
        VWDJHV    VWDUWLQJ                6WHHQVPD 
                               
                                    
VSHFWUXP                                   
                                                         Armistead App. 1052
                                                              3DJH

                              
         VWURQJ                      
                                
                                   VWXG\ V
                              
VWHHU    VWURQJHU                 
6WHOOD                      VWXG\LQJ
VWHPPLQJ                              
          VWURQJHVW                6WXWOHU 
VWHSV                          
                              VXEMHFW
6WHSWRH                          
VWHULOLW\      VWURQJO\                      
                             
VWHULOL]LQJ                         VXEMHFWHG
         VWUXFWXUH                     
VWLJPD                                 
                               VXEMHFWLYH
                          
                                   
                                  
VWLPXODWLQJ                             VXEMHFWV
         VWUXFWXUHG                      
VWLSHQG             VWXG\           
VWLSXODWHG                              
        VWUXJJOLQJ                 
                               VXEMHFWV
6WRFN     VWXGHQW                       
VWRS                             VXEPLWWHG
                                  
       VWXGHQWV                    VXEVHTXHQW
                              
                              6XEVHTXH
         VWXGLHG                      
                                VXEVHW 
VWRSSHG                               VXEVHWV
                           
6WRSV    VWXGLHV                    VXEVWDQFH
VWRU\                       
6WUHHW                                  
                            
                             VXEWKUHV
VWUHQJWK                          
                          VXIIHU 
VWUHQJWKV                            VXIIHUHG
                                
VWUHVVRUV                              
                               
VWULNH                               
                             VXIIHULQJ
VWULNLQJ                              
                                VXIIHUV
VWULYH                         
                                                          Armistead App. 1053
                                                               3DJH

VXIILFLHQW     6XSHULQW                    
                    VXUJHU\        
VXJJHVW        6XSHULQW                   
                                   6ZHGLVK
                              
                                      
         VXSHUVFULSW            VXUJLFDO      VZLPPHU
                                 
         VXSSO\                     VZLPPHUV
                                  
          VXSSRUW            VXUJLQJ       VZLPPLQJ
VXJJHVWLQJ                          
                         VXUPLVH        
                VXUH              
                         VXUURXQGLQJ    
VXJJHVWV                                  VZRUQ 
                                     
                      VXUYH\    V\PSWRPV
                                   
                                  
6XLFLGDO                            
                              
VXLFLGDOLW\                        V\QRQ\P
                               
                                V\QRQ\PV
         VXSSRUWHG                      
                                  V\VWHP 
VXLFLGH                             
                                V\VWHPDWLF
      VXSSRUWLQJ                  
                                     
                              
                                 
     VXSSRVLWLRQ                    V\VWHPLF
                                   
                           VXUYH\ V      V\VWHPV 
                                  
                          VXUYH\HG       
                       
          VXSSRVLW            VXUYH\V             7
                                 7 
      VXSSUHVV                6XVDQ       
                                   
         VXSSUHVVLRQ                      
6XLWH                         6ZDPLQDWKDQ   WDE 
                                  
VXPPDUL]H                              
                                       
VXPPDUL]HV                             
                                     
VXPPDU\                  VXUJHULHV     VZHDU      
                            6ZHGHQ          
VXPPHU                                 
                                                          Armistead App. 1054
                                                               3DJH

                             
                                    
                       WDS       
                    WDVN     WHHQ V 
                                
                           WDVNHG    WHHQDJH
                       7DYLVWRFN       
             WDNHV               WHHQDJHU
              WDON                
                                  WHHQV 
        WDEOHV                 WHDP       
                                     
         WDLORUHG                         WHOO 
                                   
                                     
        WDNH                          
                                   
                                    
                                  
                 WDONHG                
                                  
                                    
                                WHOOLQJ 
                  WDONLQJ              
                                WHQ 
                                   
                                   
                                 
                                  
                                 
                                
                                
                       WHDPPDWHV      WHQGV 
                              WHUP 
                                   
                                       
                         WHDPV        
                                       
                              
             WDONV              
               7DQQHU             
                                 
                               
                                 
                            
                                 
                           WHFKQLTXHV      
                                  
                                 
                         7HFKQRORJ\     WHUPLQRORJ\
        WDNHQ                         
                        WHHQ       
WDEOH                             
                                                           Armistead App. 1055
                                                                3DJH

                WKHRU\               
               WKHUDSHXWLF                
                                        
                          WKLQJV      
                                  
                  WKHUDSLVW                  
                                   
                  WKHUDSLVWV                
                                       
                                     
        WHVWLQJ                              
                                    
                  WKHUDS\                    
        WHVWRVWH                        
                                    
WHUPV                                   
                                    
                                    
                                    
                        WKLQN       
                                   
                               
                             
                                  
                                 
WHUULEOH                                 
                            
WHVW                              
                                
                                    
WHVWDEOH      WHVWV                          
                                       
WHVWHG        WH[W                    
                               
                             
                                       
                                   
WHVWLILHG     WKDQN                          
                                
                                      
                                  
                                       
                              
WHVWLI\                                  
      7KDQNIXOO\                         
                                   
WHVWLPRQLHV   7KDQNV                     
                                       
                 WKLFNHQLQJ                 
WHVWLPRQ\     7KDWV                         
       WKHRUHWLFDO    WKLQJ              
                                       
                                      
                                                           Armistead App. 1056
                                                                3DJH

                                     
                         WRGD\    WRXFK 
                                  WUDFN 
WKLQNLQJ                                 
                                    
WKLUG                              
                                   WUDFNHG
                                       
                                    
7KRPDV                                      
                              WUDFNLQJ
                                    
                                     WUDLQHG
                                      
                                     
                                 
7KRPDV                             WUDLQLQJ
                                     
                            WROG     
WKRURXJK                                  
         WKUHHTX             WRRO       
                             
         WKULYH                           
                                      
         7KXUVGD\                   
         7LN7RN                      
                           WRROV     WUDMHFWR
         WLPH                         
                                     
                       WUDMHFWRU\
                                   
                                   WUDQV 
                                       
                       WRS       
                            
WKRXJKW                             
                                 
WKRXJKWV                                
                WLPHIUDPH              WUDQVFULSW
                                   
WKRXVDQG                               
                                  WUDQVFUL
WKRXVDQGV                                    
               WLPHV            WUDQVIHU
                          7RUGRII     
WKUHH                               WUDQVJHQGHU
                           7RUR       
                               
                 WLPLQJ    7RURQWR        
                               
                WLWOH      7RUUL      
                             WRWDO      
                   WLWOHV         7RWDOO\        
                                                       Armistead App. 1057
                                                            3DJH

                             
                               
                                
                             WUHDWPHQWV
                              
            WUDQVLWLRQV            
                               
                              
                               
                                
                              
                            
                        WUHDWLQJ       
                WUDQVODWH               
                            
              WUDQVODWLRQ             
                                 
                          
        WUDQVLWLRQ    WUDQVSKRELD            
                               
             WUDQVSRV        WUHPHQGRXV
                              
            WUDQVVH[              WUHQG 
                                  
            WUDXPD              
                  WUHDWPHQW     WULDO 
                             
                            
                         
                         
                            
                           
                              
                             WULDOV 
                                
                                 
            WUDXPDV                
                          
               WUDXPDWLF               
                              
               7UDYLV         WULHV 
                          WURXEOH
       WUDQVLWL                     
                         WUXH 
                                
                              
           WUHDW           
                                 
                                  
        WUDQVLWL                     
                           
                 WUHDWHG                 
                                  
                                                         Armistead App. 1058
                                                              3DJH

                          W\SHV    XQDYDLODEOH
                       W\SLFDO         
WUXVW                        XQFHUWDLQW\
WUXWK                                
WU\                              8QFKDQJLQJ
                              
                                 XQFOHDU
WU\LQJ                                  
                                    XQFRQVFL
       7XPEOHU                          
                                XQGHUJR
        7XUEDQ                       
                                   
                               
                      W\SLFDOO\       
                            XQGHUJRLQJ
                               
                             
7U\RQ                             
                             
                               
                            
                                  XQGHUJRQH
                                
                               
                            XQGHUO\LQJ
                             
                              XQGHUPLQG
        7XUEDQ V                         
                     W\SR     XQGHUPLQHV
                         7<521      
                                    XQGHUVLJQHG
        WXUQ                        
                                    XQGHUVWDQG
                            8           
                  8           
                        8.        
                     86        
                              
                                    
                         8KKXK          
             WZRWKLUGV               
     7ZHQW\ILYH                       
               W\SH      8KXK     
        WZLFH             8.      
                         8OVRQ      
        7ZLWWHU               XOWLPDWHO\      
                                  
      WZR                         
                                
                           XPEUHOOD        
                               
            W\SHG              
                                                          Armistead App. 1059
                                                               3DJH

                                
                                YDOLG 
                8QLYHUVLW\                
                                    
                                    
                                 YDOLGDWHG
                                      
                 XQNQRZQ               
                                 
                                      
                 XQRIILFLDO             YDOLGLW\
                                     
                 XQUHDOLVWLF              
                                   
               XQUHDVRQ             YDOXDEOH
                                      
                                  YDOXH 
                                
                           
        XQGHUVWDQGV                     
XQGHUVWD            XQULQJ                   
     XQGHUVWRRG                 YDQ 
             XQVDIH              
              XQVFLHQW               
                       XVHIXO     
     XQGHUWDNH     XQVXUH               
              XSGDWH            9DQGHQEX
      XQGHUZHQW     XSGDWHG        XVHV        
                                      
         XQGXH    XSV                YDULDELOLW\
        XQHWKLFDO     XSVHW                
                         863$7+         YDULDEOH
                                    
           XSZDUGV    8676       
      XQH[SHFWHG                       9DULDQW
                 85/                  
         XQIDLU              XWLOLW\         
              XVH                 YDULHV 
         8QIRUWXQ             XWLOL]H        YDULHW\
                                  
        8QLRQ                XWLOL]HG       YDULRXV 
      8QLWHG                          
                       XWLOL]LQJ        
                                      
                    8WUHFKW         
                               
                                  
                               
                                         
         XQLYHUVDO                   9         YDU\ 
                          YDJXHO\        YDVW 
                                    
                          9DOHULD     
                                                           Armistead App. 1060
                                                                3DJH

               9ULHV                
YHULILFD                      ZDQWHG      
                                      
YHULI\    9,'(27$3('                        
                                    
                           ZDQWLQJ         
YHUVLRQ       YLHZ      YV                    
                               ZDQWV     
YHUVXV                   :         ZDUUDQWHG       
                   :                ZD\V 
              ZDLW       :DVKLQJWRQ      
                                   
                                     
                 ZDLWLQJ                 ZH OO 
                                
         YLHZHG         ZDLYHG     ZDVQ W          
              ZDON               
                 :DOO       ZDWFKLQJ       ZH UH 
9LFH      YLHZSRLQW      ZDQW                   
                                   
YLGHR    YLHZV               ZDYH        
     YLJRURXV                            
                                
         YLRODWH                        
     9LUJLQLD          ZD\        
9,'(2&21                      
                              
YLGHRJUD                            
                                    
                               
                              
                                      
                                     
                                     
                                
                                   
                                   
                               
                                   
      9LUWXDOO\                      ZH YH 
                                     
         YLVLEOH                            
                                 
         YLVLW                       ZHDNHQ 
                                ZHDNHQHG
        YLVLWV                        
        YLWDO                    ZHDULQJ
9,'(27$3(     YRLFH                        
                                    :HEE 
                                  ZHEVLWH 
        YRLFHV                        
                                      
     YROXPH                        
                                                       Armistead App. 1061
                                                            3DJH

                                
       :LONLQVRQ                    
ZHEVLWHV                        
                          
                         
                                
                              
ZHHN                                
                                   
ZHLJK                          
ZHLJKLQJ                          
                                 
                              
ZHLJKWHG                              
                              
ZHOFRPH                                 
                              
ZHOOEHLQJ     ZLQ                  
          ZLQV                     
         ZLVKHV                      
ZHOOEHLQJ                           
          ZLWQHVV                  
ZHQW                           
                             
                                 
:HVW                                 
                               
                      
                           
                           
                             
                               
                                 
                            
                                   
                           
                               
                          
                            
                                 
ZKDWVRHYHU                           
                               
ZKLWH                           
                              
                                
                                 
ZKROO\                               
                             
ZLGH                      
ZLGHO\                        
                             
                             
                                 
                                                            Armistead App. 1062
                                                                 3DJH

                                   
                                       
                                    
                   ZRUULHG        ZURQJ      
                                       
            ZRUVH                
                                     
         ZRUGV    :RUWK                 
                    ZRXOGQ W                 
                                  
          ZRUN            ZURWH     
                             :9     
                                   
                        :966$&          
                                      
                          :\DQW       <HS 
                                       <KXWR 
                                 ;        \LHOGHG
                         ;      
                            ;<        <RUN 
                                    
                                         
         ZRUNHG                    <         
                         <DOH       
               :3$7+     \HDK       \RXQJ 
ZRPDQ                               
ZRPDQ V        ZRUNHUV                          
                                     
ZRPHQ                            
                                       
         ZRUNLQJ                    
ZRPHQ V                                  
                                    
                                      
                    ZUDS                 
                    ZULWH                
                                      
                                  
                                   \RXQJHU
        ZRUNV                         
                           \HDU        
                                  \RXWK 
         ZRUOG       ZULWHV                
ZRQGHUHG                                  
                ZULWLQJ                
ZRQGHULQJ                                  
                                   
ZRUG                 ZULWWHQ               
                               
                                    
                            \HDUV       
                                      
                                   
                                                          Armistead App. 1063
                                                               3DJH

                                
                      \HDU        
                                  
                                
                                      
                                   
                                
                                   
                                 
                                 
                               
                             
                                   
                                        
                               
\RXWK V                                
                                
<RXWKV                                     
                                   
                                        
      =                              
=HDODQG                              \HDU
                                  
                LVK              
]HUR                            
                                      
                                   
                               
                 \HDU             
=RRP                           
                                    
                               
                                  
                                   
                                   
                                
                                 
                                 
                                
                                    
         \HDUROG                   
                                   
                             
                              
                            
                           
            LVK             
                                   
                             
                                   
                           
                                
                               
                                                           Armistead App. 1064
                                                                3DJH

                                 
                                 
                                     
                                 
                      
                                  
                                
                              
                                 
                            
                           
                             
                                    
       V                      
                              
                                 
                                
                                         
                               
                           
                               
                                 
WK                             
                                           
                                       
                          
                                  
                             
                                      
                                
                                
                                     
                                 
                                 
                             
                            
                           
&9                           
                                 
                          
             WK                 
                               
                                    
                               
                                   
                                 
                               
                           
                                  
                                  
                                  
                                 
VRPHW                      
                                                            Armistead App. 1065
                                                                 3DJH

                             
                          
                               
                                    
                             
                                     
                      WK        
                                             
                                  
                                
                                 
                                
                                 
                                    
                             
                                
                    
                                     
                                  
                                        
                                 
                           V 
                                   
                                    
                                  
                          
                                  
                                 
                                
                          
                                 
                                 
                                        
                                     
                             
                                   
                                    
                                
                              
                                   
                                
                                 
                                
                                    
                                
                                    WK 
                      
                                   
                                   
                              
                                      
                                          
                                         
                            Armistead App. 1066
                                 3DJH

         WK 
 
 
 
 
  
 
 
  
  
 
 
 
 
 
 
       
  
  
 
  
 
  
  
  
  
WK 
  
 
 
  
 
 
 

  
 
  
  
 
 
  
  
  
  
  
  
 
  
  
 
  
                                                   Armistead App. 1067

 1             IN THE UNITED STATES DISTRICT COURT
 2          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
 3                      CHARLESTON DIVISION
 4
 5   B.P.J. BY HER NEXT FRIEND AND     )
     MOTHER, HEATHER JACKSON,          )
 6                                     )
                 PLAINTIFF,            )
 7                                     ) CIVIL ACTION NO.
            VS.                        ) 2:21-cv-00316
 8                                     )
     WEST VIRGINIA STATE BOARD OF      )
 9   EDUCATION, HARRISON COUNTY BOARD )
     OF EDUCATION, WEST VIRGINIA       )
10   SECONDARY SCHOOL ACTIVITIES       )
     COMMISSION, W. CLAYTON BURCH IN   )
11   HIS OFFICIAL CAPACITY AS STATE    )
     SUPERINTENDENT, DORA STUTLER IN   )
12   HER OFFICIAL CAPACITY AS HARRISON )
     COUNTY SUPERINTENDENT, AND THE    )
13   STATE OF WEST VIRGINIA,,          )
                                       )
14               DEFENDANTS,           )
                                       )
15          AND                        )
                                       )
16   LAINEY ARMISTEAD,                 )
                                       )
17              DEFENDANT-INTERVENOR.  )
     _________________________________ )
18
19          VIDEOTAPED REMOTE ZOOM 30(b)(6) DEPOSITION
20     WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION
21                        BERNARD DOLAN
22                  FRIDAY, FEBRUARY 11, 2022
23
24   JOB NO. 5079532
25   REPORTED BY: DAYNA HESTER, C.S.R. 9970

                                                    Page 1

                        Veritext Legal Solutions
                             866 299-5127
                                                                                                             Armistead App. 1068

 1   VIDEOTAPED REMOTE ZOOM 30(B)(6) DEPOSITION OF WEST                 1 APPEARANCES OF COUNSEL (CONTINUED):
 2   VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION BERNARD            2 FOR DEFENDANT WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES
                                                                          COMMISSION:
 3   DOLAN, TAKEN ON BEHALF OF PLAINTIFF B.P.J., BY HER NEXT
                                                                        3
 4   FRIEND AND MOTHER, HEATHER JACKSON, AT 12:18 P.M., EASTERN             SHUMAN MCCUSKEY SLICER PLLC
 5   STANDARD TIME, FRIDAY, FEBRUARY 11, 2022, WITH THE WITNESS         4   BY: ROBERTA F. GREEN, ESQ.
 6   (PHYSICALLY PRESENT WITH COUNSEL), COURT REPORTER, AND                    (PRESENT VIA ZOOM VIDEOCONFERENCE WITH WITNESS)
 7   VIDEOGRAPHER APPEARING REMOTELY VIA ZOOM VIDEOCONFERENCE,          5   BY: KIMBERLY M. BANDY, ESQ.
                                                                               (PRESENT VIA ZOOM VIDEOCONFERENCE)
 8   BEFORE DAYNA HESTER, C.S.R. NO. 9970.
                                                                        6   1411 VIRGINIA STREET EAST, SUITE 200
 9                                                                          CHARLESTON, WEST VIRGINIA 25301
10   APPEARANCES OF COUNSEL:                                            7   (304) 345-1400
11   FOR PLAINTIFF B.P.J., BY HER NEXT FRIEND AND MOTHER,                   RGREEN@SHUMANLAW.COM
     HEATHER JACKSON:                                                   8   KBANDY@SHUMANLAW.COM
                                                                        9
12
                                                                          FOR DEFENDANT WEST VIRGINIA STATE BOARD OF EDUCATION,
       COOLEY, LLP                                                     10 W. CLAYTON BURCH IN HIS OFFICIAL CAPACITY AS STATE
13     BY: KATELYN KANG, ESQ.                                             SUPERINTENDENT:
          (PRESENT VIA ZOOM VIDEOCONFERENCE)                           11
14     BY: VALERIA M. PELET DEL TORO, ESQ.                                  BAILEY & SLOTNICK P.L.L.C.
          (PRESENT VIA ZOOM VIDEOCONFERENCE)                           12   BY: KELLY C. MORGAN, ESQ.
                                                                               (PRESENT VIA ZOOM VIDEOCONFERENCE)
15     55 HUDSON YARDS                                                 13   BY: KRISTEN V. HAMMOND, OF COUNSEL
       NEW YORK, NEW YORK 10001-2157                                           (PRESENT VIA ZOOM VIDEOCONFERENCE)
16     (212) 479-6849                                                  14   500 VIRGINIA STREET EAST, SUITE 600
       KKANG@COOLEY.COM                                                     CHARLESTON, WEST VIRGINIA 25301
17     VPELETDELTORO@COOLEY.COM                                        15   (304) 720-0711
                                                                            KMORGAN@BAILEYWYANT.COM
18     COOLEY, LLP
                                                                       16   KHAMMOND@BAILEYWYANT.COM
       BY: KATHLEEN R. HARTNETT, ESQ.                                  17
19        (PRESENT VIA ZOOM VIDEOCONFERENCE)                              FOR DEFENDANT THE STATE OF WEST VIRGINIA:
       BY: JULIE VEROFF, ESQ.                                          18
20        (PRESENT VIA ZOOM VIDEOCONFERENCE)                                OFFICE OF THE WEST VIRGINIA ATTORNEY GENERAL
                                                                       19   BY: CURTIS CAPEHART, DEPUTY ATTORNEY GENERAL
       BY: ZOË HELSTROM, ESQ.
                                                                               (PRESENT VIA ZOOM VIDEOCONFERENCE)
21        (PRESENT VIA ZOOM VIDEOCONFERENCE)                           20   BY: JESSECA RENEE CHURCH, DEPUTY ATTORNEY GENERAL
       3 EMBARCADERO CENTER, 20TH FLOOR                                     1900 KANAWHA BOULEVARD EAST
22     SAN FRANCISCO, CALIFORNIA 94111-4004                            21   CHARLESTON, WEST VIRIGINIA 25305
       (415) 693-2000                                                       (304) 558-2021
                                                                       22   CURTIS.R.A.CAPEHART@WVAGO.GOV
23     KHARTNETT@COOLEY.COM
                                                                            JESSECA.R.CHURCH@WVAGO.GOV
       JVEROFF@COOLEY.COM                                              23
24     ZHELSTROM@COOLEY.COM                                            24
25     -- APPEARANCES CONTINUED ON NEXT PAGE --                        25   -- APPEARANCES CONTINUED ON NEXT PAGE --
                                                              Page 2                                                                Page 4
 1 APPEARANCES OF COUNSEL (CONTINUED):                                  1 APPEARANCES OF COUNSEL (CONTINUED):
 2 PLAINTIFF B.P.J., BY HER NEXT FRIEND AND MOTHER, HEATHER             2 FOR DEFENDANT HARRISON COUNTY BOARD OF EDUCATION, DORA
   JACKSON (CONT'D):                                                      STUTLER IN HER OFFICIAL CAPACITY AS HARRISON COUNTY
 3                                                                      3 SUPERINTENDENT:
     COOLEY, LLP                                                        4   STEPTOE & JOHNSON PLLC
 4   BY: ANDREW BARR, ESQ.                                                  BY: JEFFREY M. CROPP, OF COUNSEL
        (PRESENT VIA ZOOM VIDEOCONFERENCE)                              5      (PRESENT VIA ZOOM VIDEOCONFERENCE)
 5   1144 15TH STREET, SUITE 2300                                           400 WHITE OAKS BOULEVARD
     DENVER, COLORADO 80202-2686                                        6   BRIDGEPORT, WEST VIRIGINIA 26330
 6   (720) 566-4121                                                         (304) 933-8145
     ABARR@COOLEY.COM                                                   7   JEFFREY.CROPP@STEPTOE-JOHNSON.COM
 7                                                                      8
 8   AMERICAN CIVIL LIBERTIES UNION FOUNDATION                            FOR DEFENDANT-INTERVENOR LAINEY ARMISTEAD:
     BY: JOSHUA BLOCK, SENIOR STAFF ATTORNEY                            9
 9      (PRESENT VIA ZOOM VIDEOCONFERENCE)                                  ALLIANCE DEFENDING FREEDOM
     125 BROAD STREET                                                  10   BY: JONATHAN SCRUGGS, SENIOR COUNSEL
10   NEW YORK, NEW YORK 10004                                                  (PRESENT VIA ZOOM VIDEOCONFERENCE)
     (212) 549-2569                                                    11   BY: HAL FRAMPTON, SENIOR COUNSEL
11   JBLOCK@ACLU.ORG                                                           (PRESENT VIA ZOOM VIDEOCONFERENCE)
12   AMERICAN CIVIL LIBERTIES UNION OF WEST VIRGINIA                   12   BY: CATIE BYRD KELLEY, LEGAL COUNSEL
     FOUNDATION                                                                (PRESENT VIA ZOOM VIDEOCONFERENCE)
13   BY: NICHOLAS WARD, STAFF ATTORNEY                                 13   BY: CHRISTIANA HOLCOMB, LEGAL COUNSEL
        (PRESENT VIA ZOOM VIDEOCONFERENCE)                                     (PRESENT VIA ZOOM VIDEOCONFERENCE)
14   BY: LOREE STARK, LEGAL DIRECTOR                                   14   15100 NORTH 90TH STREET
        (PRESENT VIA ZOOM VIDEOCONFERENCE)                                  SCOTTSDALE, ARIZONA 85260
15   P.O. BOX 3952                                                     15   (480) 444-0020
     CHARLESTON, WEST VIRGINIA 25339-3952                                   JSCRUGGS@ADFLEGAL.ORG
16   (914) 393-4614                                                    16   HFRAMPTON@ADFLEGAL.ORG
     NWARD@ACLUWV.ORG                                                       CKELLEY@ADFLEGAL.ORG
17   LSTARK@ACLUWV.ORG                                                 17   HOLCOMB@ADFLEGAL.ORG
18                                                                     18
     LAMBDA LEGAL                                                           LAW OFFICES OF TIMOTHY D. DUCAR, P.L.C
19   BY: SRUTI SWAMINATHAN, STAFF ATTORNEY                             19   BY: TIMOTHY DANIEL DUCAR, ESQ.
        YOUTH NATIONAL HEADQUARTERS                                            (PRESENT VIA ZOOM VIDEOCONFERENCE)
20      (PRESENT VIA ZOOM VIDEOCONFERENCE)                             20   9280 EAST RAINTREE DRIVE, SUITE 104
     120 WALL STREET, 19TH FLOOR,                                           SCOTTSDALE, ARIZONA 85260
21   NEW YORK, NEW YORK 10005-3919                                     21   (480) 502-2119
     (212) 809-8585                                                         ORDERS@AZLAWYERS.COM
22   SWAMINATHAN@LAMBDALEGAL.ORG                                       22
23                                                                     23
24                                                                     24
25   -- APPEARANCES CONTINUED ON NEXT PAGE --                          25   -- APPEARANCES CONTINUED ON NEXT PAGE --
                                                              Page 3                                                                Page 5

                                                                                                                    2 (Pages 2 - 5)
                                                       Veritext Legal Solutions
                                                            866 299-5127
                                                                                                 Armistead App. 1069

 1 APPEARANCES (CONTINUED):                                1       E X H I B I T S (CONTINUED)
 2 ALSO PRESENT:                                           2 EXHIBIT NO. PAGE DESCRIPTION
 3   HEATHER HUTCHENS, GENERAL COUNSEL                     3 EXHIBIT 9    140 FILE TITLED
     WEST VIRGINIA DEPARTMENT OF EDUCATION                              "EXHIBIT 0009 - TAB 01.PDF"
 4   (PRESENT VIA ZOOM VIDEOCONFERENCE)                    4
 5   MICHELE BLATT, DEPUTY SUPERINTENDENT                    EXHIBIT 10 142 FILE TITLED
                                                           5            "EXHIBIT 0010 - TAB 06.PDF"
     WEST VIRGINIA DEPARTMENT OF EDUCATION
                                                           6 EXHIBIT 11 146 FILE TITLED
 6   (PRESENT VIA ZOOM VIDEOCONFERENCE)
                                                                        "EXHIBIT 0011 - TAB 03.PDF"
 7   SHAWNA HYNES, VIDEOGRAPHER                            7
     (PRESENT VIA ZOOM VIDEOCONFERENCE)                      EXHIBIT 12 148 FILE TITLED
 8                                                         8            "EXHIBIT 0012 - TAB 04.PDF"
     LINDSAY DUPHILY, VERITEXT CONCIERGE                   9 EXHIBIT 13 151 FILE TITLED
 9   (PRESENT VIA ZOOM VIDEOCONFERENCE)                                 "EXHIBIT 0013 - TAB 17.PDF"
10                                                        10
11                                                           EXHIBIT 14 152 FILE TITLED
12                                                        11            "EXHIBIT 0014 - TAB 08.PDF"
13                                                        12
14                                                        13
15                                                        14
16                                                        15
                                                          16
17
                                                          17
18
                                                          18
19                                                        19
20                                                        20
21                                                        21
22                                                        22
23                                                        23
24                                                        24
25                                                        25
                                                 Page 6                                                             Page 8

 1            INDEX                                        1          ZOOM VIDEOCONFERENCE DEPOSITION
 2 DEPONENT        EXAMINATION           PAGE
 3 BERNARD DOLAN                                           2           FRIDAY, FEBRUARY 11, 2022
 4           BY MS. KANG         14                        3         12:18 P.M. EASTERN STANDARD TIME
 5           BY MR. CROPP        158
 6
                                                           4
 7                                                         5          THE VIDEOGRAPHER: Good afternoon.
 8   QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER         6          We are going on the record at 12:18 p.m. 12:18
 9            (NONE.)
10                                                         7   EST on February 11th, 2022.                      12:18
             EXHIBITS                                      8          Please note that the microphones may pick 12:18
11
   EXHIBIT NO. PAGE DESCRIPTION
                                                           9   up background noise, private conversations, and         12:18
12                                                        10   interference if unmuted.                      12:18
   EXHIBIT 1   18   FILE TITLED                           11          When muted remember to unmute to speak on 12:18
13            "EXHIBIT 0001 - TAB 14.PDF"
14 EXHIBIT 2   33   FILE TITLED                           12   the record.                             12:18
              "EXHIBIT 0002 - TAB 19.PDF"                 13          Audio and video recording will continue to 12:18
15
   EXHIBIT 3   47   FILE TITLED
                                                          14   take place unless all parties agree to go off the 12:18
16            "EXHIBIT 0003 - TAB 09.PDF"                 15   record.                                12:18
17 EXHIBIT 4   91   FILE TITLED                           16          This is Media Unit 1 of the video-recorded 12:18
              "EXHIBIT 0004 - TAB 11.PDF"
18                                                        17   deposition of 30(b)(6) witness Bernie Dolan taken by 12:19
   EXHIBIT 5   103 FILE TITLED                            18   counsel for plaintiff in the matter of B.P.J., by 12:19
19            "EXHIBIT 0005 - TAB 18.PDF"
20 EXHIBIT 6   121 FILE TITLED
                                                          19   her next friend and mother, Heather Jackson, versus 12:19
              "EXHIBIT 0006 - TAB 15.PDF"                 20   West Virginia State Board of Education, et al.,       12:19
21                                                        21   filed in the United States District Court for the 12:19
   EXHIBIT 7   126 FILE TITLED
22            "EXHIBIT 0007 - TAB .02.PDF"                22   Southern District of West Virginia, Charleston         12:19
23 EXHIBIT 8   128 FILE TITLED                            23   Division. Case Number 2:21-cv-00316.                  12:19
              "EXHIBIT 0008 - TAB 07.PDF"
24
                                                          24          This deposition is being conducted via       12:19
25     -- EXHIBITS CONTINUED ON NEXT PAGE --              25   Veritext Virtual Zoom technology and all parties are 12:19
                                                 Page 7                                                             Page 9

                                                                                                       3 (Pages 6 - 9)
                                         Veritext Legal Solutions
                                              866 299-5127
                                                                                                                Armistead App. 1070

 1   attending remotely.                          12:19             1          MS. GREEN: This is Roberta Green, Shuman                12:21
 2          My name is Shawna Hynes from the firm            12:19 2     McCuskey & Slicer. I'm here on behalf of WVSSAC.                 12:21
 3   Veritext Legal Solutions, and I am the videographer. 12:19 3              And here with me today is our deponent            12:22
 4          The court reporter is Dayna Hester from       12:19     4    30(b)(6) witness Bernie Dolan.                   12:22
 5   the firm Veritext Legal Solutions.                12:20        5          MS. BANDY: Hello.                         12:22
 6          I am not related to any party in this     12:20         6          This is Kimberly Bandy also on behalf of          12:22
 7   action, nor am I financially interested in the      12:20      7    West Virginia SSAC.                           12:22
 8   outcome.                                 12:20                 8          MS. MORGAN: This is Kelly Morgan on                   12:22
 9          Counsel present and everyone attending        12:20     9    behalf of the West Virginia State Board of Education 12:22
10   remotely will state their appearances and           12:20     10    and Superintendent Burch.                       12:22
11   affiliations for the record.                 12:20            11          I have with me as well general counsel          12:22
12          If there are any objections to proceeding, 12:20       12    Heather Hutchens and Deputy Superintendent Michelle              12:22
13   please state them at the time of your appearance       12:20 13     Blatt as our representative.                  12:22
14   beginning with the noticing attorney.              12:20      14          MR. CAPEHEART: This is Curtis Capeheart                 12:22
15          MS. KANG: Hi.                          12:20           15    the West Virginia Attorney General's office on           12:22
16          My name is Katelyn Kang. I'm an attorney 12:20 16            behalf of the defendant State of West Virginia.         12:22
17   at the law firm of Cooley LLP, and I'm here on          12:20 17          Also with me in my office is another          12:22
18   behalf of the plaintiff.                    12:20             18    individual from the office, Jesseca Church.           12:22
19          And I'll let my co-counsel introduce        12:20      19          MR. CROPP: My name is Jeffrey Cropp. I'm 12:22
20   themselves.                               12:20               20    with Steptoe & Johnson. We represent defendants              12:22
21          MS. HARTNETT: Hi.                         12:20        21    Harrison County Board of Education and                  12:22
22          This is Kathleen Hartnett from Cooley LLP 12:20 22           Superintendent Dora Stutler.                    12:22
23   for plaintiff.                          12:20                 23          MS. HAMMOND: Hi.                            12:23
24          MR. BARR: Good afternoon.                   12:20      24          This is Kristen Hammond. I'm also on            12:23
25          This is Andrew Barr from Cooley LLP on          12:20 25     behalf of the West Virginia State Board of Education 12:23
                                                         Page 10                                                                 Page 12

 1   behalf of plaintiff.                      12:20                 1 and Superintendent Burch.                         12:23
 2          MS. VEROFF: Hello.                      12:20            2         MR. SCRUGGS: All right. I think that             12:23
 3          This is Julie Veroff from Cooley LP on       12:20       3 leaves us as intervenor.                      12:23
 4   behalf of plaintiff.                      12:20                 4         Jonathan Scruggs on behalf of the             12:23
 5          MS. STARK: Hi.                        12:20              5 Intervenor with Alliance Defending Freedom.                   12:23
 6          This is Loree Stark with the American       12:20        6         And also attending today on behalf of the       12:23
 7   Civil Liberties Union of West Virginia on behalf of 12:21       7 intervenor is my -- let me get my list here -- Catie 12:23
 8   plaintiff.                             12:21                    8 Kelly, Christiana Holcomb, Hal Frampton, and                  12:23
 9          MR. WARD: Hi.                         12:21              9 Timothy Ducar.                                12:23
10          Nicholas Ward, ACLU West Virginia, on           12:21   10         And that is it.                   12:23
11   behalf of plaintiff.                      12:21                11         THE VIDEOGRAPHER: Thank you.                          12:23
12          MS. HELSTROM: Hi.                        12:21          12         If that's everybody, will the court       12:23
13          This is Zoë Helstrom from Cooley LLP on         12:21   13 reporter please swear in the witness.                 12:23
14   behalf of plaintiff.                      12:21                14         THE REPORTER: Okay. And because it is a                 12:23
15          MS. PELET DEL TORO: Hi.                      12:21      15 federal case, I do have a read-on. One second.            12:23
16          This is Valeria Pelet del Toro from Cooley 12:21        16         My name is Dayna Hester. This statement            13:08
17   LLP on behalf of plaintiff.                   12:21            17 is to acknowledge my obligations pursuant to Federal 13:08
18          MS. GREEN: Hi.                        12:21             18 Rules of Civil Procedure.                       13:08
19          Am I too soon?                      12:21               19         Rule 30(b), Subsection 5(a). My business          13:08
20          MR. BLOCK: Hi.                        12:21             20 address is 707 Wilshire Boulevard, Los Angeles,               13:08
21          This is Josh Block from ACLU on behalf of 12:21         21 California. The videographer has stated the              13:08
22   plaintiff.                             12:21                   22 additional required information.
23          MS. SWAMINATHAN: And hi.                       12:21    23         Rule 30(b), Subsection 5(c). Upon
24          This is Sruti Swaminathan from Lambda          12:21    24 completion of the deposition, if there is a
25   Legal on behalf of plaintiff.                 12:21            25 stipulation about the custody of the transcript or
                                                         Page 11                                                                          Page 13

                                                                                                                     4 (Pages 10 - 13)
                                                Veritext Legal Solutions
                                                     866 299-5127
                                                                                                                        Armistead App. 1071

 1   other pertinent matters, I will recite such                              1        Because the court reporter is taking down       12:26
 2   stipulation(s). Additionally, the videographer will                      2 what we say on the record, I'll do my best to avoid       12:26
 3   read-off when the deposition concludes.                                  3 talking over you and to avoid talking at the same        12:26
 4          So with this being said, I will now swear                         4 time as you.                             12:26
 5   in the witness.                                                          5        And then, finally, I'm going to try to do   12:26
 6          Mr. Dolan, please, raise your right hand.                         6 a break every hour or so -- but if at any point you      12:26
 7          THE WITNESS: [Witness did as requested].                          7 need a break, we'll finish up whatever question we        12:26
 8          THE REPORTER: Do you affirm the testimony                         8 are on, and we can take a break whenever you feel          12:26
 9   you are about to give in the cause now pending will                      9 comfortable.                             12:26
10   be the truth, the whole truth, and nothing but the                      10        Does that sound fair?                12:26
11   truth?                                 12:24                            11     A. Yes, ma'am.                         12:26
12          THE WITNESS: I do.                      12:24                    12     Q. Have you ever had your deposition taken           12:26
13          THE REPORTER: Thank you.                    12:24                13 before?                                12:26
14                                                                           14     A. Yes.                            12:26
15               BERNARD DOLAN                                               15     Q. When was it?                        12:26
16         having been first duly sworn, was                                 16     A. Two years ago, I believe.                 12:26
17         examined and testified as follows:                                17     Q. What was it about?                      12:26
18                                                                           18     A. A herpes case in wrestling.               12:26
19             EXAMINATION                    12:25        19     Q. So were you testifying on behalf of the    12:26
20   BY MS. KANG:                            12:25         20 WVSSAC?                                  12:26
21      Q. Hi. Good afternoon, Mr. Dolan. How are 12:25 21        A. Yes, ma'am.                      12:26
22   you?                             12:25                22     Q. And going forward if I say the          12:26
23      A. Good. How are you?                 12:25        23 "Commission" instead of the "WVSSAC," would that be 12:26
24      Q. Doing well.                    12:25            24 all right with you?                     12:26
25        Thank you so much for spending your Friday 12:25 25     A. That is fine.                  12:26
                                                                   Page 14                                                                       Page 16

 1 afternoon with us.                          12:25                          1       Q. So you mentioned it's a herpes case. Can 12:26
 2        Before we get started, would you please        12:25                2   you tell me whether you testified on behalf of the 12:27
 3 state and spell your name for the record.             12:25                3   W- -- of the Commission or was it in your personal 12:27
 4     A. Bernard, B-E-R-N-A-R-D; Dolan, D-O-L-A-N.                12:25      4   capacity?                              12:27
 5     Q. Mr. Dolan, before we get started, we have        12:25              5       A. I believe it was on behalf of the        12:27
 6 some housekeeping items. So the oath you just took            12:25        6   Commission, but I'm -- I wouldn't -- I'm not sure. 12:27
 7 is the same oath you would take if you were             12:25              7       Q. Have you ever -- have you ever had your        12:27
 8 testifying in a courtroom. So what that means is        12:25              8   deposition taken other than this time?           12:27
 9 you must testify truthfully and not leave out any       12:25              9       A. Not that I recall.                 12:27
10 important facts.                          12:25                           10       Q. Have you ever testified at trial?        12:27
11        Is there any reason you cannot testify        12:25                11       A. Yes.                            12:27
12 truthfully today?                           12:25                         12       Q. When was this?                       12:27
13     A. No.                             12:25                              13       A. Couple years -- I would say probably three 12:27
14     Q. Please give verbal answers to any of my          12:25             14   or four years ago.                        12:27
15 questions. Nodding or shaking your head cannot,              12:25        15       Q. What was it about?                    12:27
16 unfortunately, be captured by the court reporter.       12:25             16       A. A golf ruling in a championship.          12:27
17 So the answer you just gave was perfect.              12:25               17       Q. And so were you also testifying on behalf 12:27
18        If you don't understand the question,         12:25                18   of the Commission?                           12:27
19 please let me know, and I'm happy to try to rephrase 12:25                19       A. Yes, ma'am.                        12:27
20 it or make it clear for you. If you answer, I will     12:25              20       Q. Did you bring anything with you today?        12:27
21 assume you understood. Is that fair?                 12:25                21       A. Just a bottle of water.              12:27
22     A. Yes.                            12:25                              22       Q. Good.                            12:27
23     Q. And just to be clear, when I ask questions 12:25                   23          And do you understand that you are here to 12:27
24 I am not seeking communications that you had with             12:26       24   respond to a 30(b)(6) deposition notice?           12:28
25 your attorney.                           12:26                            25       A. Yes.                            12:28
                                                                   Page 15                                                                       Page 17

                                                                                                                            5 (Pages 14 - 17)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                            Armistead App. 1072

 1      Q. Do you know what a 30(b)(6) deposition -- 12:28 1                  A. Not necessary for that one.              12:30
 2   deposition notice is?                         12:28              2       Q. And just to clarify, you didn't talk to    12:30
 3      A. Yes.                                12:28                  3   anyone other than your attorney?                  12:30
 4      Q. Have you had a chance to review the              12:28     4       A. No.                             12:30
 5   deposition notice?                            12:28              5       Q. For Topic 3, what did you do to prepare       12:30
 6      A. Yes.                                12:28                  6   for Topic 3?                             12:30
 7      Q. So in that deposition notice, there were a 12:28           7       A. Looked at our handbook, rules and            12:30
 8   number of topics.                             12:28              8   regulations handbook.                         12:30
 9          Are you familiar with each of the topics 12:28            9       Q. Did you review any other document?             12:30
10   described in that notice?                      12:28            10       A. No.                             12:30
11      A. Yes.                                12:28                 11       Q. Did you consult with anyone other than         12:30
12      Q. So if you go into your Marked Exhibits            12:28   12   your attorney?                            12:30
13   folder, I'm going to introduce to you a document          12:28 13       A. No.                             12:30
14   that's been marked as Exhibit 1.                   12:28        14       Q. And is there any reason you cannot give        12:30
15          (Deposition Exhibit 1 was marked for           12:28     15   full and complete answers on behalf of the           12:30
16          identification and is attached hereto.)      12:28       16   Commission for that topic?                      12:30
17   BY MS. KANG:                                    12:28           17       A. No.                             12:30
18      Q. Let me know when you have had a chance to 12:28 18                 Q. For Topic 4, what did you do to prepare       12:31
19   pull that up.                              12:28                19   for it?                              12:31
20      A. Okay. Exhibit 1, the deposition notice. 12:28             20       A. Rules and regulations handbook.             12:31
21      Q. That's correct.                        12:28              21       Q. Did you review anything else?              12:31
22          And I'm going to ask you to scroll down to 12:28         22       A. No.                             12:31
23   Page 6 of Exhibit A. I believe it's Page 7 of the 12:28         23       Q. Did you consult with anyone other than         12:31
24   actual pdf, if that's helpful, or Page 6.          12:29        24   your attorney?                            12:31
25      A. Yes. Okay.                             12:29              25       A. No.                             12:31
                                                          Page 18                                                              Page 20

 1      Q. Great.                            12:29                   1       Q. And is there any reason you cannot give       12:31
 2         So I'm going to go through each of the       12:29        2    full and complete answers on behalf of the         12:31
 3   topics and just ask you a few questions about them. 12:29       3    Commission for Topic 4?                       12:31
 4         So for Topic 1, what did you do to prepare 12:29          4       A. No.                            12:31
 5   for Topic 1?                             12:29                  5       Q. For Topic 5, what did you do to prepare      12:31
 6      A. Looked at our organization.                12:29          6    for that?                            12:31
 7      Q. Did you review any documents?                 12:29       7       A. Looked at our rules and regulations and      12:31
 8      A. Our rules and regulations.               12:29            8    probably researched my email.                  12:31
 9      Q. And by looked at your organization, did         12:29     9       Q. Can you clarify for me what you mean by        12:31
10   you mean --                               12:29                10    researched your email?                      12:31
11      A. Review --                           12:29                11       A. Just search the email to make sure I       12:31
12      Q. -- look at your -- sorry. Go ahead.         12:29        12    didn't have any communication with the plaintiffs. 12:31
13      A. Just -- there's a part of our rules and    12:29         13       Q. Did you consult with anyone other than        12:31
14   regulations that has a history of the organization. 12:29      14    your attorney for Topic 5?                   12:32
15      Q. Got it.                           12:29                  15       A. No.                            12:32
16         Is there any reason you can't give full     12:29        16       Q. And is there any reason you cannot give       12:32
17   and complete testimony on Topic 1?                  12:29      17    full and complete answers on behalf of the         12:32
18      A. No.                              12:29                   18    Commission?                              12:32
19      Q. When preparing for Topic 1, did you            12:30     19       A. No.                            12:32
20   consult with anyone other than your attorney?          12:30   20       Q. Sorry. I know these questions are         12:32
21      A. No.                              12:30                   21    repetitive, but I do appreciate it.          12:32
22      Q. Moving on to Topic 2, same question. What 12:30          22           For Topic 6, what did you do to prepare    12:32
23   did you do to prepare for Topic 2?                12:30        23    for Topic 6?                           12:32
24      A. Probably just discuss with my attorney.        12:30     24       A. Researched -- or looked through my emails 12:32
25      Q. And did you review any documents?               12:30    25    as well as text messages.                  12:32
                                                          Page 19                                                              Page 21

                                                                                                               6 (Pages 18 - 21)
                                                  Veritext Legal Solutions
                                                       866 299-5127
                                                                                                                            Armistead App. 1073

 1     Q. Did you review any documents?                     12:32                1     Q. Did you consult anyone other than your            12:34
 2     A. Not really. Just -- I'm sorry.             12:32                       2 attorney?                                12:34
 3           Our transgender policy or our Board           12:32                 3     A. No.                               12:34
 4 policy. That was all.                           12:32                         4     Q. Is there any reason you cannot give full        12:34
 5     Q. Did you review any of the emails or text           12:32               5 and complete answers on behalf of the Commission?               12:34
 6 messages that you searched for?                     12:32                     6     A. No.                               12:34
 7     A. I probably would have read them for -- to           12:32              7     Q. All right. We're almost there.              12:34
 8 determine whether there was any substance to them,              12:32         8           For Topic 10, what did you do to prepare      12:34
 9 yes.                                    12:33                                 9 for it?                               12:34
10     Q. Did you consult with anyone other than              12:33             10     A. Reviewed the rules and regulations              12:34
11 your attorney for Topic 6?                        12:33                      11 handbook.                                 12:35
12     A. No.                               12:33                               12     Q. Did you review anything else?                  12:35
13     Q. And is there any reason you cannot give             12:33             13     A. No.                               12:35
14 full and complete answers on behalf of the                12:33              14     Q. Did you -- did you consult anyone other          12:35
15 Commission for Topic 6?                            12:33                     15 than your attorney?                           12:35
16     A. No.                               12:33                               16     A. No.                               12:35
17     Q. For Topic 7, what did you do to prepare            12:33              17     Q. Is there any reason you cannot give full        12:35
18 for it?                                 12:33                                18 and complete answers on behalf of the Commission?               12:35
19     A. Looked at our rules and regulations              12:33                19     A. No.                               12:35
20 handbook.                                 12:33                              20     Q. For Topic 11, what did you do to prepare            12:35
21     Q. Did you review any documents other than              12:33            21 for it?                               12:35
22 the rules and regulations handbook?                     12:33                22     A. Reviewed the rules and regulations              12:35
23     A. No.                               12:33                               23 handbook as well as the Board policy on transgender. 12:35
24     Q. Did you consult with anyone other than              12:33             24     Q. Did you review anything else?                  12:35
25 your attorney about Topic 7?                       12:33                     25     A. No.                               12:35
                                                                      Page 22                                                                         Page 24

 1       A. No.                          12:33                                   1     Q. Did you consult with anyone other than           12:35
 2       Q. And is there any reason you cannot give     12:33                    2 your attorney?                             12:35
 3   full and complete answers on behalf of the        12:33                     3     A. No.                               12:35
 4   Commission?                              12:33                              4     Q. Is there any reason you cannot give full        12:35
 5       A. No.                          12:33                                   5 and complete answers on behalf of the Commission?               12:35
 6       Q. For Topic 8, what did you do to prepare    12:33                     6     A. No.                               12:35
 7   for Topic 8?                           12:33                                7     Q. For Topic 12, what did you do to prepare            12:35
 8       A. Reviewed text messages and emails          12:33                     8 for it?                               12:35
 9   concerning House Bill 3293.                   12:34                         9     A. Reviewed the rules and regulations              12:36
10       Q. Did you review anything else?           12:34                       10 handbook.                                 12:36
11       A. No.                          12:34                                  11     Q. Did you review anything else?                  12:36
12       Q. Did you consult with anyone other than      12:34                   12     A. No.                               12:36
13   your attorney?                          12:34                              13     Q. Did you consult with anyone other than           12:36
14       A. No.                          12:34                                  14 your attorney?                             12:36
15       Q. And is there any reason you cannot give     12:34                   15     A. No.                               12:36
16   full and complete answers on behalf of the        12:34                    16     Q. Is there any reason you can't give full        12:36
17   Commission?                              12:34                             17 and complete answers on behalf of the Commission?               12:36
18       A. No.                          12:34                                  18     A. No.                               12:36
19       Q. For Topic 9, what did you do to prepare    12:34                    19     Q. For Topic 13, what did you do to prepare            12:36
20   for Topic 9?                           12:34                               20 for it?                               12:36
21       A. Reviewed the rules and regulations        12:34                     21     A. Read the rule -- read the House Bill 3293. 12:36
22   handbook.                              12:34                               22     Q. Did you review anything else?                  12:36
23       Q. Did you review anything other than the     12:34                    23     A. Just our rules and regulations.             12:36
24   rules and regulations handbook?                12:34                       24     Q. Did you consult with anyone other than           12:36
25       A. No.                          12:34                                  25 your attorney?                             12:36
                                                                      Page 23                                                                         Page 25

                                                                                                                                 7 (Pages 22 - 25)
                                                           Veritext Legal Solutions
                                                                866 299-5127
                                                                                                                       Armistead App. 1074

 1     A. No.                              12:36                                 1        A. No.                             12:39
 2     Q. And is there any reason you cannot give             12:36              2        Q. Did you discuss today's deposition with      12:39
 3 full and complete answers on behalf of the                12:36               3   anyone other than your attorney?                  12:39
 4 Commission?                                 12:36                             4        A. Just that I had it scheduled so people     12:39
 5     A. I -- I did consult -- I probably -- I had    12:37                     5   would know in the office not to send me calls.        12:39
 6 a communication with Melissa White from House                     12:37       6        Q. So other employees at -- at the          12:39
 7 Education. She had sent me documents -- or a                12:37             7   Commission; is that right?                     12:39
 8 document. So I would say I communicated with                  12:37           8        A. Yes, ma'am.                        12:39
 9 Melissa White about House Bill 3293.                      12:37               9        Q. Do you know who B.P.J. is?                12:39
10     Q. Was this in preparation for this            12:37                     10        A. By name only, yes.                    12:39
11 deposition?                               12:37                              11        Q. Do you know anything else about her?          12:39
12     A. No. I'm sorry.                      12:37                             12           MS. GREEN: I'll just object to the form, 12:39
13     Q. No need to apologize.                      12:37                      13   to the extent he knows things from me, from counsel. 12:39
14        All right. Last -- last topic. What did     12:37                     14           THE WITNESS: I have -- only know what -- 12:39
15 you do to prepare for Topic 14?                     12:37                    15   the documents that have been sent to me. I don't       12:39
16     A. Primarily reviewed the rules and              12:37                   16   know anything firsthand about her.                 12:40
17 regulations handbook and the transgender Board               12:37           17   BY MS. KANG:                                  12:40
18 policy and look at emails and text messages.              12:37              18        Q. Do you agree that B.P.J. is a girl who is 12:40
19     Q. Anything else?                       12:38                            19   transgender?                              12:40
20     A. No.                              12:38                                20           MS. GREEN: I'll object to the form. And 12:40
21     Q. Did you consult with anyone other than              12:38             21   I'll just object outside the scope.            12:40
22 your attorney?                             12:38                             22           THE WITNESS: It's been presented to me         12:40
23     A. No.                              12:38                                23   that way.                               12:40
24     Q. Is there any reason you cannot give full         12:38                24   BY MS. KANG:                                  12:40
25 and complete answers on behalf of the Commission?                 12:38      25        Q. Are you aware that B.P.J. ran            12:40
                                                                      Page 26                                                             Page 28

 1     A. No.                              12:38                                 1   cross-country on the girls' team at Bridgeport       12:40
 2     Q. So for some of these topics, you mentioned 12:38                       2   Middle School?                              12:40
 3 reviewing emails and documents. Do you know if                12:38           3      A. Yes.                             12:40
 4 those emails and documents have been produced to              12:38           4      Q. How did you become aware of that?              12:40
 5 Plaintiff?                              12:38                                 5      A. Through the court case.                  12:40
 6     A. They all have, yes.                   12:38                            6      Q. Have you ever spoken to B.P.J.?              12:40
 7     Q. All right. Thank you.                    12:38                         7      A. I have not.                        12:40
 8        MS. KANG: You can take down Exhibit 1.                12:38            8      Q. Have you ever spoken to B.P.J.'s parents? 12:40
 9 BY MS. KANG:                                    12:38                         9      A. No.                              12:40
10     Q. Do you understand that you're testifying           12:38              10          MS. GREEN: And I'll just object to the       12:40
11 about these topics in the deposition notice on            12:38              11   extent this is outside the scope.              12:40
12 behalf of the Commission?                          12:38                     12   BY MS. KANG:                                  12:40
13     A. Yes.                             12:38                                13      Q. Have you ever spoken to B.P.J.'s sibling? 12:40
14     Q. So just to be clear, when I ask for your       12:38                  14      A. No.                              12:40
15 position on something, I -- I'm asking for the            12:38              15      Q. Now, I want to just talk a little bit      12:40
16 position of -- of the Commission unless I say             12:38              16   about your personal background to sort of better       12:41
17 otherwise.                                12:38                              17   understand your selection as -- as the witness for 12:41
18        You understand?                       12:38                           18   the 30(b)(6) deposition.                     12:41
19     A. Yes, ma'am.                          12:38                            19          What is your position at the Commission? 12:41
20     Q. In general, what did you do to prepare for 12:38                      20      A. I am the executive director.              12:41
21 today's deposition?                         12:38                            21      Q. What are your responsibilities as           12:41
22     A. Again, reviewed the rule -- the rules and          12:39              22   executive director?                         12:41
23 regulations.                              12:39                              23      A. Generally oversee the organization, assign 12:41
24     Q. Did you meet with anyone other than your             12:39            24   duties and evaluate staff, make decisions when         12:41
25 attorney?                               12:39                                25   there's disagreement amongst schools.               12:41
                                                                      Page 27                                                             Page 29

                                                                                                                          8 (Pages 26 - 29)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                   Armistead App. 1075

 1       Q. What sort of duties do you assign?            12:41        1   they come up before the Board to either appeal their 12:44
 2       A. Director of all the tournaments. So           12:41        2   discipline or appeal their ineligibility.        12:44
 3   each -- each assistant executive director is         12:41        3   BY MS. KANG:                                   12:44
 4   assigned multiple sports that they will oversee         12:41     4       Q. Do you report to anyone currently as the 12:44
 5   and -- and put on the tournaments.                  12:41         5   executive director?                          12:44
 6          I assign secretarial duties to the        12:41            6       A. I have ten Board members, yes.              12:44
 7   secretarial staff.                         12:41                  7       Q. Is that the same Board of Directors that 12:44
 8       Q. How many assistant executive directors do 12:42            8   you were just talking about?                    12:44
 9   you have?                                  12:42                  9       A. Yes, ma'am.                          12:44
10       A. Three.                             12:42                  10       Q. Does anyone report to you?                 12:44
11       Q. So I believe you said you make decisions 12:42            11       A. My eight other staff members report to me, 12:44
12   when schools have disputes. Is that accurate?           12:42    12   yes.                                   12:44
13       A. Yes, ma'am.                           12:42               13       Q. What are their titles?                 12:44
14       Q. Can you tell me a little bit -- a little 12:42            14       A. Three of --                        12:44
15   bit more about that.                          12:42              15          MS. GREEN: Object. Outside the scope.           12:44
16          MS. GREEN: I'll just object. Outside the 12:42            16          And can I just have a continuing objection 12:44
17   scope.                                  12:42                    17   for the outside scope, or you want be to keep         12:44
18          THE WITNESS: If there is a difference           12:42     18   hopping in?                               12:44
19   on -- opinion on eligibility of a student in one      12:42      19          MS. KANG: Yes. I'll grant you a             12:44
20   school, one school may say they are eligible, one        12:42   20   continuing objection for outside the scope, Roberta. 12:44
21   school may say they are ineligible. So we gather         12:42   21          MS. GREEN: Thank you. Thank you.                12:44
22   the facts, and we'll make a determination.            12:42      22          THE WITNESS: There are three assistant          12:44
23   BY MS. KANG:                                    12:42            23   executive directors, one events communication           12:44
24       Q. And by "we," do you mean you as the              12:42    24   coordinator, one bookkeeper, and three secretaries. 12:44
25   executive director or the Commission?                 12:42      25   ///
                                                           Page 30                                                                          Page 32

 1      A. The Commission.                         12:42           1       BY MS. KANG:                                    12:45
 2      Q. And who is --                        12:42              2          Q. Have you ever been employed by -- employed 12:45
 3      A. And I -- I'm sorry. Me as the executive 12:42           3       by the Attorney General's Office of the State of         12:45
 4   director for the Commission.                    12:42         4       West Virginia?                            12:45
 5      Q. Understood.                          12:42              5          A. No.                             12:45
 6          How long have you been the executive          12:42    6          Q. Have you ever been employed by the                 12:45
 7   director?                              12:43                  7       West Virginia House of Delegates?                   12:45
 8      A. Seven years.                        12:43               8          A. No.                             12:45
 9      Q. Have you held any other positions at the 12:43          9          Q. Have you ever been employed by the                 12:45
10   Commission?                                12:43             10       West Virginia Senate?                           12:45
11      A. No.                             12:43                  11          A. No.                             12:45
12      Q. Do you --                          12:43               12          Q. Have you ever been employed by the                 12:45
13      A. Pardon me. Wait a minute.                  12:43       13       Harrison County Board of Education?                     12:45
14          I was on the Board of Directors at one      12:43     14          A. No.                             12:45
15   point.                               12:43                   15          Q. Have you ever been employed by the                 12:45
16      Q. And when was that?                       12:43         16       West Virginia State Board of Education?                  12:45
17      A. That -- I believe it was 2012 to 2014.       12:43     17          A. No.                             12:45
18      Q. What was your role when you were on the          12:43 18          Q. So I am going to introduce to you a           12:45
19   Board of Directors?                         12:43            19       document that is going to be marked as Exhibit 2.          12:45
20          MS. GREEN: Object to the form.              12:43     20             And I'll let you know when it should          12:45
21          THE WITNESS: Approve -- approve the             12:43 21       appear in your Marked Exhibit folder.               12:45
22   workings of the organization to proof financial       12:43 22              (Deposition Exhibit 2 was marked for              12:45
23   reports, those things.                     12:43             23             identification and is attached hereto.)     12:45
24          Also to hear appeals of students or       12:43       24       BY MS. KANG:                                    12:45
25   coaches who have been -- who violated the rule and 12:43 25              Q. So if you go to your Marked Exhibit               12:45
                                                           Page 31                                                                          Page 33

                                                                                                                      9 (Pages 30 - 33)
                                                  Veritext Legal Solutions
                                                       866 299-5127
                                                                                                                              Armistead App. 1076

 1 folder, you should now see a document that's been             12:45            1     Q. What was your role as the athletic                12:48
 2 marked as Exhibit 2.                          12:45                            2 director?                                12:48
 3          Let me know when you see it.               12:46                      3     A. I was the athletic director at Wheeling            12:48
 4       A. Okay.                            12:46                                4 Park High School.                                12:48
 5       Q. So on Page 2 of Exhibit 2, you'll see a      12:46                    5         What was the question?                     12:48
 6 section entitled "Bernie Dolan," and this is -- I'll 12:46                     6     Q. Sure.                             12:48
 7 represent to you that this is a screenshot that I     12:46                    7         Could you tell me what some of your               12:48
 8 took from the Commission website on February 10th,              12:46          8 responsibilities were in that role?                 12:48
 9 2022. And in the bottom left corner you'll see the          12:46              9     A. I would oversee the coaches, do their              12:48
10 URL stamp where I pulled it from the website.               12:46             10 evaluations, purchase equipment for each team, as                12:48
11          And I'd just like to ask you a few         12:46                     11 well as coordinate transportation, and also make             12:48
12 questions about your biography in -- on this page.          12:46             12 sure all eligibility information was submitted to           12:48
13          Do you agree with what's written in the      12:46                   13 the Commission -- Commission as well as accurate.                 12:48
14 paragraph on Page 2 of Exhibit 2 under "Bernie               12:46            14     Q. What is the state golf tournament?                12:49
15 Dolan"?                                  12:46                                15     A. State championship for golf.                 12:49
16          MS. MORGAN: Counsel, this is Kelly                 12:46             16     Q. And what was your role there?                     12:49
17 Morgan.                                   12:46                               17     A. The director.                        12:49
18          I do not see an Exhibit 2 in the Egnyte.     12:46                   18     Q. What is OVAC?                              12:49
19          MS. KANG: So if you're -- if anyone is        12:46                  19     A. It's the Ohio Valley Athletic Conference.           12:49
20 having trouble accessing the Marked Exhibits, I             12:46             20 It was the conference that Wheeling Park was a               12:49
21 recommend clicking on the folder again to refresh            12:46            21 member of, and still is, but it's the athletic       12:49
22 it.                                   12:46                                   22 conference for the high schools.                    12:49
23          Let me know if you continue to have          12:47                   23     Q. What was your role there?                    12:49
24 problems.                                 12:47                               24     A. I served on executive Board a couple of             12:49
25          THE WITNESS: I do -- I agree with what is 12:47        25 the years while I was the athletic director at                         12:49
                                                           Page 34                                                                                       Page 36

 1   written there.                           12:47                               1   Wheeling Park.                              12:49
 2   BY MS. KANG:                                   12:47                         2       Q. Finally, what is WVADA?                     12:49
 3      Q. Where did you work before your current            12:47                3       A. West Virginia Athletic Directors            12:49
 4   role at the Commission?                         12:47                        4   Association.                             12:49
 5      A. Ohio County Schools.                       12:47                       5       Q. What was your role there?                 12:49
 6      Q. How long did you work there?                  12:47                    6       A. I served on the executive Board -- or the 12:49
 7      A. 30 years.                          12:47                               7   Board of Directors for a couple of years while I was 12:49
 8      Q. Whoa.                               12:47                              8   the athletic director at Wheeling Park High School. 12:49
 9          Did you interact with any transgender         12:47                   9       Q. And do you yourself play sports?             12:50
10   individuals in that role?                    12:47                          10       A. A little bit still.               12:50
11      A. I did not.                         12:47                              11       Q. What sports do you play?                  12:50
12      Q. When did you attend West Virginia               12:47                 12       A. Tennis a little bit. Basketball a little 12:50
13   University?                               12:47                             13   bit. Pickleball.                         12:50
14      A. I graduated in '85; so probably '81 to        12:47                   14       Q. Do you currently coach any sports?            12:50
15   '85.                                  12:47                                 15       A. I do not.                        12:50
16      Q. And when did you attend Salem                  12:47                  16       Q. Did you used to coach?                   12:50
17   International University?                      12:47                        17       A. I did.                          12:50
18      A. I would say '99 to 2000 or 2000 to 2001. 12:47                        18       Q. What did you coach?                     12:50
19      Q. What is the Super Six?                    12:47                       19       A. 18 years I coached boys' and girls' track 12:50
20      A. State football championship.                12:48                     20   at Wheeling Park High School;                     12:50
21      Q. What was your role there?                   12:48                     21          12 as the head coach for both boys and        12:50
22      A. I had a variety of roles starting out from 12:48                      22   girls;                                12:50
23   assistant media director over the years to being the 12:48                  23          Assistant coach of football;            12:50
24   director -- once I was the athletic director of      12:48                  24          And assistant coach of girls' basketball. 12:50
25   Wheeling Park High School.                        12:48                     25       Q. Thank you.                          12:50
                                                                       Page 35                                                                           Page 37

                                                                                                                               10 (Pages 34 - 37)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                               Armistead App. 1077

 1        MS. KANG: You can take down Exhibit 2                   12:50             1     Q. And you said you stopped collecting dues            12:53
 2 now.                                    12:50                                    2 for 20 years; is that correct?                   12:53
 3 BY MS. KANG:                                       12:50                         3     A. Yes.                             12:53
 4     Q. So now I want to move into talking a                12:50                 4     Q. Why did the Commission stop collecting                12:53
 5 little bit more about the Commission and its                 12:50               5 dues?                                   12:53
 6 structure.                                 12:50                                 6     A. At that point, it was more trouble than it 12:53
 7        When was the Commission founded?                      12:50               7 was worth it. There wasn't that much money coming                12:53
 8     A. In 1916.                              12:50                               8 in from dues. It was before my time, though.              12:53
 9     Q. Why was it founded?                           12:51                       9     Q. Understood.                          12:53
10     A. To primarily handle disputes between                  12:51              10          How many employees does the Commission                  12:53
11 schools at that point, and they did provide              12:51                  11 have currently?                            12:53
12 championship opportunities for schools.                    12:51                12     A. Nine.                             12:53
13     Q. What sort of disputes between schools?                12:51              13     Q. Is there someone who is considered in              12:54
14     A. As I said earlier, it could be              12:51                        14 charge of the Commission?                          12:54
15 eligibility; it could have been breaking of             12:51                   15     A. I would assume -- I am the executive              12:54
16 contracts; could be officials, you know -- who --             12:51             16 director. So I would be in charge. But I still          12:54
17 what officials get assigned to games.                  12:51                    17 answer to my Board of Directors.                     12:54
18        So there is quite a bit of conflict           12:51                      18     Q. So does the Commission have a relationship 12:54
19 possible.                                  12:51                                19 with the State Board of Education in West Virginia?             12:54
20     Q. How does the Commission define secondary                    12:51        20     A. We do have a relationship, number one. As 12:54
21 sports?                                    12:51                                21 our rules are promulgated from our members, they                12:54
22     A. Secondary sports, we are -- we oversee the 12:51                         22 will submit rules to be voted on by the membership            12:54
23 sports that we currently have, which is -- a number            12:51            23 at our Board of Control.                         12:54
24 of them.                                   12:52                                24          If at the Board of Control they pass by a      12:54
25        But the -- what happens is, as the schools 12:52                         25 majority, then those rules get submitted to the           12:54
                                                                         Page 38                                                                         Page 40

 1 offer these sports as clubs, once there is enough            12:52               1 State Board of Education who would then put them out 12:54
 2 schools that offer the sports, then they would               12:52               2 for public comment.                             12:54
 3 petition us to recognize an additional sport. So we 12:52                        3          And they would have final vote on whether         12:54
 4 have, I believe, 19 championships at this point.             12:52               4 or not the rule becomes law. And if it does, they          12:54
 5     Q. What grades count as a secondary grade?                12:52              5 will submit that to the Secretary of State's office. 12:55
 6     A. 6th through 12.                         12:52                             6     Q. So just to clarify, who submits the rules         12:55
 7     Q. Do you know if Bridgeport Middle School                 12:52             7 to the Board of Control again?                     12:55
 8 qualifies as a secondary school?                      12:52                      8     A. Principals. We are a principals               12:55
 9     A. They are a member of our association. So               12:52              9 organization. So each principal has one vote in our 12:55
10 yes.                                    12:52                                   10 membership.                                12:55
11     Q. Can you tell me what is a member of                   12:52              11     Q. And are you the principal of your member              12:55
12 your -- what does a member of your association mean? 12:52                      12 school?                                  12:55
13     A. First of all, initially there was           12:52                        13     A. Yes, ma'am.                          12:55
14 a initia- -- an initiation fee. And there were          12:52                   14     Q. Do you personally, as the executive               12:55
15 dues. But we have not charged dues for 20 years.               12:52            15 director, work with the State Board of Education of           12:55
16        To be a member, you just have to                12:53                    16 West Virginia?                              12:55
17 provide -- you have to agree to follow all the rules 12:53                      17     A. Not directly.                       12:55
18 and regulations as well as provide an opportunity              12:53            18          MS. GREEN: I'm sorry. Could -- I'm              12:55
19 for a boy sport and a girl sport in each of the            12:53                19 sorry.                                 12:55
20 seasons.                                   12:53                                20          Ms. Kang, would you repeat the question?          12:55
21     Q. So each member school has to offer a boys' 12:53                         21          MS. KANG: Sure.                         12:55
22 team or a girls' team for each support?                 12:53                   22 BY MS. KANG:                                     12:55
23     A. Yes.                                12:53                                23     Q. Do you personally, as the executive               12:55
24     Q. Is that right?                        12:53                              24 director, have a role or relationship with the State 12:55
25     A. Yes. Yes.                             12:53                              25 Board of Education of West Virginia?                     12:55
                                                                         Page 39                                                                         Page 41

                                                                                                                                 11 (Pages 38 - 41)
                                                           Veritext Legal Solutions
                                                                866 299-5127
                                                                                                                              Armistead App. 1078

 1     A. I don't have a -- I mean, I have a working 12:55                        1 with a final answer.                           12:58
 2 relationship because we deal with same schools. But 12:55                      2       Q. What sort of information would you look              12:58
 3 as far as on a daily basis of any interaction, no -- 12:55                     3 at?                                    12:58
 4 other than they approve the rules.                  12:56                      4       A. Whether they -- when they enrolled at the           12:58
 5     Q. Does the Commission have a relationship               12:56             5 school, who they -- are they still living with their 12:58
 6 with the County Board of Education?                     12:56                  6 parents, same household, did they -- did they make a 12:58
 7     A. Not really. We are a principals               12:56                     7 bona fide move, and whether they have a 2.0 or not.             12:58
 8 organization. We do communicate with county boards. 12:56                      8 Things like that.                           12:58
 9 But our membership are the high schools.                 12:56                 9       Q. Anything else?                        12:58
10     Q. What sort of communication --                  12:56                   10       A. Could be age. There's a number of rules            12:58
11     A. And --                           12:56                                 11 for eligibility, but those are the biggest ones.        12:58
12     Q. Oh, sorry.                           12:56                             12       Q. So if a student is deemed ineligible by        12:59
13          What sort of communications would you have 12:56                     13 the Commission, is that student -- student               12:59
14 with the County Board?                          12:56                         14 prohibited from playing?                            12:59
15     A. Oftentimes we would -- if there is rules         12:56                 15       A. The student would be prohibited from               12:59
16 or memos that we go out and send out, sometimes we              12:56         16 playing in a varsity or JV game. There's only a              12:59
17 will send them to the County Boards of Education              12:56           17 limited exception as to when they would be able to             12:59
18 that -- to keep them up to date on what is going on          12:56            18 even practice with the team. But for the most part, 12:59
19 with the Commission.                            12:56                         19 if you're ineligible, you're ineligible for all        12:59
20     Q. By "rules," do you mean the Commission's              12:56            20 activities for that team.                      12:59
21 rules?                                12:56                                   21       Q. And I believe you mentioned that you have             12:59
22     A. It could be -- yes, the Commission rules.        12:56                 22 286 member schools. Do you know if that includes                12:59
23 Yep. Yes.                               12:57                                 23 all the schools -- secondary schools in                12:59
24     Q. Does the Commission determine who can play 12:57                       24 West Virginia?                               12:59
25 on a secondary school sports team?                    12:57                   25       A. It does not.                      12:59
                                                                       Page 42                                                                            Page 44

 1          MS. GREEN: Object to the form.                12:57                   1       Q. Do you know how many schools are not a                12:59
 2          THE WITNESS: When you say "Commission,"                    12:57      2 member school in West Virginia?                         12:59
 3 it's not the nine members here at the office.          12:57                   3       A. I do not.                        12:59
 4          The Commission, technically, is made up by 12:57                      4       Q. If the Commission finds a person is            12:59
 5 the 286 members. So they have voted in the rules,            12:57             5 ineligible, is there an appeal process?                12:59
 6 and they are required by law -- by the -- being a           12:57              6       A. Yes, there is.                     12:59
 7 member to follow those rules. So only when there is 12:57                      7       Q. Can you walk me through what that appeal              13:00
 8 a dispute do we intervene.                      12:57                          8 process looks like?                            13:00
 9 BY MS. KANG:                                    12:57                          9       A. They would -- I would send them a letter            13:00
10     Q. So I'd ask who makes the initial              12:57                    10 telling them initially that they were determined             13:00
11 determination of a student's eligibility?            12:57                    11 ineligible. If they would like a hearing in front           13:00
12     A. That would be the school.                    12:57                     12 of our Board of Directors, then along with the               13:00
13     Q. I believe you mentioned earlier the -- a         12:57                 13 level -- along with a letter of ineligibility, I       13:00
14 dispute process. So the student -- or a student's       12:57                 14 would send the appeal papers that they would fill             13:00
15 eligibility is disputed.                     12:57                            15 out and return to me.                          13:00
16          Can you walk me through what would happen             12:57          16          And then within 30 days, I would bring             13:00
17 there?                                12:57                                   17 them before our Board of Directors for them to make              13:00
18     A. It could be a school sending -- if           12:57                     18 a decision to grant a waiver or not. And the Board             13:00
19 Student A left School Number 1, went to School                12:58           19 can grant a waiver for rule fails to accomplish what 13:00
20 Number 2, and didn't follow the normal transfer              12:58            20 it was intended for or there's a hardship on the            13:00
21 procedures, School A might file a complaint to say,           12:58           21 student.                                 13:00
22 "Hey, can you look at so-and-so because they never             12:58          22       Q. What sort of hardship would count?                 13:00
23 sat out with School B, or Number 2."                  12:58                   23       A. It -- it's up to the Board of Directors.     13:00
24          So we would intervene and get the            12:58                   24 So there is -- there's no marker that you have to           13:00
25 information, work with the two schools, and come up             12:58     25 hit. So there's lots of different things that may           13:01
                                                                     Page 43                                                                              Page 45

                                                                                                                                12 (Pages 42 - 45)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                  Armistead App. 1079

 1   have come up.                            13:01                1             Is this the most recent version of the       13:04
 2      Q. Have you taken part in the appeal process 13:01         2       rules and regulations?                        13:04
 3   before?                               13:01                   3          A. Yes. There may be editorial changes               13:04
 4      A. When I was a member of the Board of           13:01     4       between then, but that's the most recent copy we           13:04
 5   Directors, yes.                         13:01                 5       have, yes.                             13:04
 6      Q. So is it the Board of Directors that makes 13:01        6          Q. So is it fair to say --              13:04
 7   the determination on the appeal?                13:01         7          A. For --                          13:04
 8      A. Yes.                            13:01                   8          Q. I'm sorry. Go ahead.                      13:04
 9      Q. Are you familiar with WVEIS, the             13:01      9          A. For the current year.                    13:04
10   West Virginia Education Information System?            13:01 10          Q. So is it fair to say that this document        13:04
11      A. Yes.                            13:01                  11       is -- is currently in effect?                13:04
12      Q. Does the Commission have any control over 13:01 12                 A. Yes.                            13:04
13   the information that goes into WVEIS?              13:01     13          Q. And just to be clear, is this the rules      13:04
14      A. No. We have no access to that note.         13:01      14       and regulations handbook that you reviewed when                13:04
15      Q. In West Virginia, to your knowledge, has a 13:01 15             preparing for this deposition?                   13:04
16   college team ever competed against a middle school 13:0116               A. Yes.                            13:04
17   team?                                13:02                   17          Q. Is the Commission required to follow these 13:04
18      A. Has a college team ever competed against a 13:02 18             rules and regulations?                        13:04
19   middle school?                           13:02               19          A. The Commission as well as all the member               13:04
20      Q. That's correct.                    13:02               20       schools, yes.                           13:04
21      A. It would be against our rule if they did. 13:02        21          Q. So I believe you might have mentioned it            13:04
22   But no, not to my knowledge.                   13:02         22       earlier, but just to be clear, can you walk me          13:04
23          MS. KANG: So I'm going to introduce a        13:02 23          through the rule-making process of the rules and           13:05
24   document to you that's going to be marked as         13:02 24         regulations in this handbook?                     13:05
25   Exhibit 3, and I'll let you know when folks can     13:02 25             A. Okay. Any principal can submit a rule             13:05
                                                           Page 46                                                                           Page 48

 1   access it in their Marked Exhibit folder.            13:02        1   proposal. It has to be in by January 15th.             13:05
 2           (Deposition Exhibit 3 was marked for          13:02       2         This rule proposal would then be looked at 13:05
 3           identification and is attached hereto.)    13:02          3   by our constitution and bylaws committee. They                13:05
 4           MS. KANG: So Exhibit 3 should now be in 13:02 4               would make sure that it's legal and written             13:05
 5   everyone's Marked Exhibit folder. If you don't see 13:02 5            appropriate.                            13:05
 6   it, try clicking on the folder again to refresh it. 13:03         6         In the next week here, we'll be sending          13:05
 7   BY MS. KANG:                                    13:03             7   out those proposals, all of our rule proposal           13:05
 8        Q. Mr. Dolan, let me know when you're able to 13:03 8            changes out to our membership.                     13:05
 9   access Exhibit 3.                            13:03                9         We will meet in the -- the first week of        13:05
10        A. Okay.                             13:03                  10   in April. And we will go over all of the rule           13:05
11        Q. Do you recognize this document?               13:03      11   proposals, and we'll vote on them individually.           13:05
12        A. It is our rules and regulations handbook. 13:03          12         If they pass by a majority, they'll move        13:05
13   Yes.                                    13:03                    13   on to the State Board of Education, who puts them              13:05
14        Q. Do you know who prepared this document?            13:03 14   out for comment. And then they will vote on them               13:05
15        A. Over time it's -- you know -- you know,        13:03     15   whether or not they will move forward as part of our 13:06
16   it's the charge of one of my secretaries to -- once 13:03        16   rule book.                             13:06
17   rules are changed, to submit the changes. But we         13:03 17        Q. What do you mean by you make sure that the 13:06
18   take care of that in -- in the office here.        13:03         18   proposed rule is legal?                       13:06
19        Q. So is this a Commission that's responsible 13:03         19      A. Sometimes the way it's written may not be           13:06
20   for the information in the rules and regulations       13:03     20   appropriate. You know, there just may be                 13:06
21   handbook?                                   13:03                21   misspellings, misinterpretation. So any changes we             13:06
22        A. Yes.                             13:03                   22   make would go back to the person who made it. We                13:06
23        Q. So you'll notice that on the first page of 13:03         23   would re-read it and say, "Is this what your intent       13:06
24   Exhibit 3 it says that this was revised and printed 13:04 24          was" to make sure it's written properly.               13:06
25   August 2021.                                 13:04               25      Q. And just to be clear, who exactly votes on 13:06
                                                           Page 47                                                                           Page 49

                                                                                                                      13 (Pages 46 - 49)
                                                   Veritext Legal Solutions
                                                        866 299-5127
                                                                                                                         Armistead App. 1080

 1   the proposed rule in the Commission?                13:06                 1        Q. So it's Page 99 of the pdf. But I believe 13:10
 2       A. At our Board of Control, all 286 members 13:06                     2   it's Page 85 of the actual document.              13:10
 3   are eligible to vote. So if they come to our annual 13:06                 3        A. Okay.                           13:10
 4   meeting, we will discuss each item. And then the        13:07             4        Q. And just for future reference, when I -- 13:10
 5   next day we vote on every item that we have.          13:07               5   when I say Page 99 or Page 2, I'm referring the page 13:10
 6       Q. So it -- it would be the Board of Control 13:07                    6   of the pdf not the page numbers that may be written 13:10
 7   and any member school who participate in that           13:07             7   in the exhibit.                         13:10
 8   meeting that would vote on that rule?              13:07                  8          MS. GREEN: His assistant is slow. He has 13:10
 9       A. That is correct.                    13:07                          9   got a really slow assistant over here who is paging 13:10
10       Q. Who amends these rules if they need           13:07               10   through a page at a time. We should be back in         13:10
11   amendments?                                 13:07                        11   about two weeks.                           13:10
12       A. Beforehand, it would be the constitution 13:07                    12          THE WITNESS: Is it the organizational          13:10
13   and bylaws. There is a committee that we have           13:07            13   chart?                                13:10
14   that -- made up of five principals.             13:07                    14   BY MS. KANG:                                  13:10
15       Q. Who is responsible for enforcing these        13:07               15        Q. That's correct.                   13:10
16   rules?                                13:07                              16        A. Okay. Yes. I am there.                 13:10
17       A. All of the member schools plus the SSAC          13:07            17        Q. Do you recognize this organizational        13:10
18   office itself.                          13:07                            18   chart?                                13:10
19       Q. What happens if a member school doesn't         13:07             19        A. I do.                          13:11
20   follow these rules?                         13:07                        20        Q. Do you believe that accurately reflects     13:11
21       A. Either the coach, the administration, or 13:07                    21   the organizational structure of the Commission?         13:11
22   the school itself could face any sort of penalty     13:07               22        A. Except for the State Board of Education, 13:11
23   from a letter of warning to suspension or fine.      13:08               23   they only have oversight of our -- they have final 13:11
24       Q. By "suspension," do you mean suspension          13:08            24   say of our rules. So that may be why they are         13:11
25   from being a member school?                       13:08                  25   placed at the top.                        13:11
                                                                   Page 50                                                                          Page 52

 1     A. I don't know if we have ever suspended          13:08                1        The Board of Directors -- I'm not sure it        13:11
 2 anybody from being a member school, but it would be            13:08        2 accurately reflects our organization. But yeah.           13:11
 3 suspicion of games, maybe not able to participate in 13:08                  3     Q. Would --                           13:11
 4 championships.                            13:08                             4     A. The Board of Directors does not answer to           13:11
 5        But, to my knowledge, we have never            13:08                 5 the Board of Control, I guess.                    13:11
 6 suspended anybody from being a member.                     13:08            6     Q. So, I guess, where would you place the            13:11
 7     Q. Is it possible for the Commission to          13:08                  7 Board of Directors in the organizational chart to         13:11
 8 cancel a school's membership?                      13:08                    8 make it more accurate?                          13:11
 9     A. I'm not sure.                     13:08                              9     A. Well, I would probably and will probably           13:11
10     Q. To your knowledge, has anyone ever              13:08               10 move State Board of Education, National Federation              13:11
11 submitted a rule proposal about the participation of 13:08                 11 out of the chart, and Board of Directors would be at 13:11
12 transgender students?                       13:08                          12 the top. Board of Control would be where the               13:11
13     A. No.                            13:08                                13 National Federation is.                         13:12
14     Q. So I'm going to be just walking you            13:09                14     Q. So is it fair to say that the Board of      13:12
15 through a couple of excerpts in this exhibit. And       13:09              15 Directors is probably the one at the head of the          13:12
16 it is quite long. So I'm only going to be pointing     13:09               16 organization?                             13:12
17 to certain sections.                     13:09                             17     A. That is correct.                    13:12
18        So with that said, as I am going through,      13:09                18     Q. I'm just going to ask you few questions           13:12
19 if you want me to slow down or pause, or you want to 13:09                 19 about a couple of these -- of these entries on the        13:12
20 read over something, just -- just let me know.         13:09               20 organizational chart.                       13:12
21        So I'm going to ask you to turn to Page 99 13:09                    21        Can you tell me a little more about the       13:12
22 of the pdf. In the bottom right-hand corner, it       13:09                22 State Board of Education's relationship with the           13:12
23 will be stamped WVSSAC000216. And let me know                      13:09   23 Board of Control specifically.                    13:12
24 whenever you happen to get there.                   13:09                  24     A. With the Board of Control, the State Board 13:12
25     A. What page again?                       13:10                        25 of Education has final -- they will review and put         13:12
                                                                   Page 51                                                                          Page 53

                                                                                                                           14 (Pages 50 - 53)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                      Armistead App. 1081

 1   the rules out for comments by the general public,          13:12    1 ever promulgate or propose rules?                       13:15
 2   and they'll have the final say on the votes.           13:12        2      A. If they are one of the five principals         13:15
 3          That's probably the only relationship the 13:12              3 they can, yes.                              13:15
 4   State Board of Education has with the Board of             13:12    4      Q. Can you tell me a little bit more about           13:15
 5   Control.                                    13:13                   5 what your assistant executive directors do in              13:16
 6       Q. I know you touched a bit on this earlier, 13:13              6 relation to the rules in this handbook?                13:16
 7   but could you tell me a bit more about what the            13:13    7      A. Basically they -- they can help interpret         13:16
 8   Board of Control's role is in the Commission.             13:13     8 the rules between our member schools, if there is              13:16
 9       A. The Board of Control's charge is to vote 13:13               9 issues.                                  13:16
10   for rule changes, either vote them up or down.            13:13    10         But they primarily are responsible for the 13:16
11       Q. What do you mean by "vote them up or                13:13   11 championships in their particular sports. But they             13:16
12   down"?                                       13:13                 12 can answer questions and interpretations on disputes 13:16
13       A. When the -- they are put up for a vote,          13:13      13 of the rule book between schools.                      13:16
14   whether it's to create a new rule or not, it's their 13:13         14      Q. By overseeing the championship, does that              13:16
15   vote -- it's a majority of the Board of Control that 13:13         15 include issuing rules for the championship?                13:16
16   is there that day for the vote.                   13:13            16      A. No. All of our playing rules are created          13:16
17          It either passes or it fails. If it      13:13              17 by the National Federation. There are some times                13:16
18   passes, it goes on to the State Board of Education. 13:13          18 that they have -- by state adoption that you can           13:16
19       Q. Does the State Board ever promulgate rules 13:13            19 modify rules, but we follow the NFHS playing rules                13:16
20   that the Commission has to follow?                    13:13        20 100 percent.                                13:17
21       A. The State Board has a 2.0 policy that is 13:13              21      Q. So the --                          13:17
22   in our rule book, but it never passed our Board of 13:14           22      A. Close a 100 percent. As close to a              13:17
23   Control. It was -- it's a State Board of Education 13:14           23 100 percent as possible.                          13:17
24   policy.                                    13:14                   24      Q. So does -- so the Commission does not have 13:17
25       Q. Does the Commission have to follow that             13:14   25 any of its own rules in relation to championship?              13:17
                                                             Page 54                                                                              Page 56

 1   2.0 rule?                                13:14                  1          A. No. There are rules in there that govern          13:17
 2      A. Yes. And all of our members.                 13:14        2       how many people are at the game; you know, how many                  13:17
 3      Q. Are you aware of any other rules from the 13:14           3       teams are at the game; where the game is going to be 13:17
 4   State Board of Education?                       13:14           4       held. All those things. The time. The place.            13:17
 5      A. Not really.                          13:14                5       Those are all determined by our Board of Directors.           13:17
 6      Q. What is the Board of Control's               13:14        6             And then they are given the charge to           13:17
 7   relationship with the directors, if any?           13:14        7       myself or my -- my assistants to run those              13:17
 8      A. Five of the Board of Directors are            13:14       8       championships on those days.                         13:17
 9   principals; so five of those principals would be       13:14    9          Q. What does the Sports Medicine Committee                 13:17
10   members of the Board of Control. That's about            13:14 10       do?                                    13:17
11   the -- the best relationship -- the only         13:14         11          A. They advise us in all of our rules and          13:17
12   relationship they have.                       13:14            12       regulations that go in for each sport for safety.       13:18
13      Q. What is the Board of Control's               13:14       13       For instance, concussion, heat illness, sudden           13:18
14   relationship with the executive director?            13:14     14       cardiac arrest, whether we are making modifications            13:18
15      A. None, really. I mean, the Board -- the         13:15     15       to practice schedules based on their -- their           13:18
16   Board -- the five members of the Board of Directors 13:15 16            expertise.                               13:18
17   that are principals represented an administrative      13:15 17               And so they will make recommendations to               13:18
18   district. And so the Board -- the Board of           13:15     18       us for modifying sports to make it more safe.            13:18
19   Directors answers to schools in their district. So 13:15       19          Q. So who makes up the Sports Medicine                 13:18
20   that's the only indirect connection between myself 13:15 20             Committee?                                 13:18
21   and the Board of Control.                      13:15           21          A. There's a variety of doctors and athletic         13:18
22      Q. And there are ten Board of                 13:15         22       trainers. I believe there is -- I mean, there is a    13:18
23   Directors members; is that right?                 13:15        23       number of them. At least 12. I'm not sure of the          13:18
24      A. Yes, ma'am.                           13:15              24       exact number because they come off and on. But                13:18
25      Q. Does any member of the Board of Directors 13:15 25                yeah. So they -- that's who makes it up is a            13:18
                                                             Page 55                                                                              Page 57

                                                                                                                        15 (Pages 54 - 57)
                                                    Veritext Legal Solutions
                                                         866 299-5127
                                                                                                                                 Armistead App. 1082

 1 variety of medical personnel.                     13:18                       1   about previous.                            13:35
 2      Q. And do they report to you?                 13:19                      2       Q. All right. So I'm going to have a similar 13:35
 3      A. They would make recommendations to me to                 13:19        3   set of questions next. So just diving a little bit 13:35
 4 give to the Board of Directors if we happen to have         13:19             4   more into the Commission's role at -- role in         13:35
 5 changes about -- sport-specific things, practice,         13:19               5   sports.                                13:35
 6 things like that. Things that are not in the rule        13:19                6          Can you tell me -- I know you mentioned         13:35
 7 book, but they are modifications or rules that they        13:19              7   some earlier -- what factors are currently used to 13:36
 8 would apply.                              13:19                               8   determine a student's eligibility?               13:36
 9         Heat illness is a big example. They are         13:19                 9       A. Number one is do they live with their -- 13:36
10 providing recommendations on how long a practice is, 13:19                   10   are they enrolled in the school;                13:36
11 what you are allowed to do at a practice, and things 13:19                   11          Number two, do they live with their         13:36
12 like that.                             13:19                                 12   parents;                                13:36
13      Q. Do you happen to know if anyone from the            13:19            13          Number three, do they reside in the         13:36
14 West Virginia Legislature spoke with anyone from the 13:19                   14   district where their school is;                13:36
15 Sports Medicine Committee before H.B. 3293 was                   13:19       15          What's -- what's their age as of         13:36
16 passed?                                 13:19                                16   August 1st of the -- that current year;           13:36
17      A. Not that I know of.                     13:19                        17          Are they playing on any other teams          13:36
18         MS. KANG: So I think now might be a good                13:19        18   outside the school team.                       13:36
19 time for a five- to ten-minute break, just let you        13:19              19          Those are the majority -- and do they have 13:36
20 stretch your legs a little bit.                 13:20                        20   a 2.0.                                 13:36
21         THE WITNESS: Okay.                          13:20                    21          Those are the majority of the eligibility 13:36
22         MS. KANG: Roberta, are you all right with 13:20                      22   reasons that somebody might not be eligible for a       13:36
23 that?                                 13:20                                  23   period of time.                           13:36
24         MS. GREEN: Yes. I think it's a good              13:20               24       Q. If I could just put a pin in that.       13:36
25 time.                                  13:20                                 25          So a student could be ineligible for a     13:36
                                                                      Page 58                                                                              Page 60

 1         MS. KANG: All right. So why don't we --            13:20              1 certain period of time and then gain eligibility?             13:36
 2 why don't we take a break until about 1:30.               13:20               2      A. Yes.                                  13:37
 3         THE WITNESS: Okay.                          13:20                     3      Q. And the factors that are used to determine 13:37
 4         THE VIDEOGRAPHER: This marks the end of                    13:20      4 a student's eligibility -- are those the rules and        13:37
 5 Media Number 1. Going off the record. The time is               13:20         5 regulations in the handbook plus the rules                    13:37
 6 1:20.                                  13:20                                  6 promulgated by the State Board of Education?                    13:37
 7         (Brief recess.)                  13:34                                7      A. It is the -- the rules that are in our         13:37
 8         THE VIDEOGRAPHER: This marks the                         13:34        8 rule book, as well as the 2.0, which is the               13:37
 9 beginning of Media Number 2 in the deposition of                13:34         9 West Virginia Department of ED's rule, State Board                13:37
10 30(b)(6) Witness Bernie Dolan.                      13:34                    10 of Education.                                  13:37
11         Back on the record. The time is 1:35.           13:35                11         It's in our rule book, but it's not           13:37
12 BY MS. KANG:                                     13:35                       12 technically our rule, but it's for all of our           13:37
13      Q. Mr. Dolan, before I move on to my next             13:35             13 member -- all of our public schools, and our private 13:37
14 topic, I just want to ask you two more quick              13:35              14 schools follow it too.                           13:37
15 questions about the Sports Medicine Committee.                  13:35        15      Q. Do the -- do the county boards of                13:37
16         To your knowledge, has the Sports Medicine 13:35                     16 education in West Virginia have any rules that                 13:37
17 Committee or anyone from that committee ever made a                13:35     17 determine a student's eligibility?                     13:37
18 recommendation regarding transgender participation               13:35       18         MS. GREEN: And I'll just object to the                13:37
19 in athletics?                            13:35                               19 form.                                     13:37
20      A. I don't believe it's ever been on the       13:35                    20         THE WITNESS: They are not supposed to                    13:37
21 agenda, no.                              13:35                               21 have any rules additional than ours. They have                  13:38
22      Q. Do you know if the Sports Medicine                13:35              22 given over the rights of overseeing sports to the              13:38
23 Committee has ever made a recommendation on girls                 13:35      23 SSAC.                                         13:38
24 playing on boys' teams?                          13:35                       24 BY MS. KANG:                                          13:38
25      A. Not in my tenure here, no. I don't know           13:35              25      Q. When a student's eligibility is in              13:38
                                                                      Page 59                                                                              Page 61

                                                                                                                                   16 (Pages 58 - 61)
                                                           Veritext Legal Solutions
                                                                866 299-5127
                                                                                                                   Armistead App. 1083

 1 dispute, who makes the final determination as to       13:38    1            bottom?                                    13:42
 2 that student's eligibility?                 13:38               2            BY MS. KANG:                                     13:42
 3      A. I would make the initial -- well, the       13:38       3               Q. WVSSAC000133.                                13:42
 4   school makes the initial call. I would then either 13:38      4               A. Yep. Okay. Yes.                           13:42
 5   verify or overturn their decision based upon the      13:38   5               Q. At the top of Exhibit 3, Page 16, you'll 13:42
 6   facts.                                 13:38                  6            note it says, "Title 127 Legislative Rule."           13:42
 7          And then if they're not happy with the      13:38      7                   Do you know what a legislative rule is? 13:42
 8   answer that I get, they want to appeal that, they    13:38    8               A. I assume -- no. All of our rules are 127. 13:42
 9   take that to the Board of Directors. And if they     13:38    9            So I think that's the area that we are in. But I      13:42
10   are -- if my ruling is sustained at the Board of    13:38    10            would probably be guessing if I did, you know.            13:42
11   Directors, they have a Board of Review that they       13:38 11                   MS. GREEN: Yeah.                           13:42
12   could go to to get one final opportunity for a      13:38    12                   THE WITNESS: Yeah.                           13:42
13   waiver.                                 13:38                13            BY MS. KANG:                                     13:42
14      Q. And the Board of Review is that different 13:39        14               Q. Do you know who promulgated this specific 13:42
15   from the Board of Control?                      13:39        15            rule?                                    13:42
16      A. It is. The Board of Review is the final 13:39          16                   MS. GREEN: I'll just object to the form. 13:42
17   Board that has seven members and may or may not be 13:39     17                   THE WITNESS: Well, our rules have been in 13:42
18   connected to the schools. It's more general. But 13:39       18            place since 1916. So over time, all of our rules        13:42
19   they are appointed by the State Board of Education. 13:39    19            have had some modification every year.                  13:43
20      Q. Is the Board of Review a part of the         13:39     20                   So as far as when that particular rule,      13:43
21   Commission?                                 13:39            21            the most current part, I couldn't tell you.          13:43
22      A. They are appointed by the Board of -- or 13:39         22                   It's probably -- well, it says it was      13:43
23   the State Board of Education. So I think you've       13:39  23            effective in September 9 of 2019. So that means           13:43
24   seen them say WVSSAC Board of Review, but we have no 13:39 24              there was a rule change at the Board of Control in 13:43
25   input as to whether or not -- who the members are. 13:39     25            2019.                                     13:43
                                                                  Page 62                                                            Page 64

 1      Q. Are any Commission members currently part        13:39           1   BY MS. KANG:                                     13:43
 2   of the Board of Review?                          13:39                 2       Q. Okay. I just want to draw your attention 13:43
 3       A. There may be one member who is a Board             13:39        3   to the section on the same page it says "127-1-2          13:43
 4   office personnel who also serves on the              13:40             4   Name."                                      13:43
 5   Commission -- or on the Board of Review as the            13:40        5          And in this paragraph -- I'll read out a 13:43
 6   athletic director's association, but she is not a    13:40             6   section. But take your time reading it as well.         13:43
 7   member -- she's not an employee of one of the            13:40         7          It says [as read]:                    13:43
 8   schools. She works at the county office.             13:40             8             "Extracurricular activities of the       13:43
 9       Q. Which county office?                      13:40                 9          students in the public secondary             13:43
10       A. I believe Lewis County office.              13:40              10          schools are controlled pursuant to           13:43
11       Q. Okay. So I want us to go back to             13:40             11          W. Va. Code 18225, and authority for             13:43
12   Exhibit 3. And this will be Page 16 of the pdf.        13:40          12          the delegation of such control to the         13:43
13   And in the bottom right-hand corner it will be Bates 13:40            13          Commission is granted by statute."             13:44
14   stamped VSV- -- WVSSAC000133. And let me know                   13:40 14       A. Yes.                                13:44
15   whenever you get a chance to review it.               13:40           15       Q. Now, did I -- did I read this correctly? 13:44
16          MS. GREEN: And, Ms. Kang, what was the              13:40      16       A. You did.                              13:44
17   pdf page?                                 13:41                       17       Q. Is this statement accurate?                13:44
18          MS. KANG: Sure. It's Page 16.                13:41             18       A. I believe it's accurate. But it's not       13:44
19          MS. GREEN: 15 or 16?                       13:41               19   inclusive if that's the -- because it's -- we have 13:44
20   BY MS. KANG:                                    13:41                 20   private schools as members also.                     13:44
21       Q. 16. 1,6.                          13:41                        21          But the legislature apparently, by           13:44
22       A. Okay. I'm at 14 now.                     13:41                 22   statute, only dealt with the public schools.           13:44
23          MS. GREEN: Sorry.                         13:41                23       Q. Do you know how many private schools are 13:44
24          THE WITNESS: Okay.                          13:41              24   part of your membership?                           13:44
25          MS. GREEN: And what does it read at the 13:41                  25       A. Somewhere around 20. I don't know the              13:44
                                                                  Page 63                                                            Page 65

                                                                                                                    17 (Pages 62 - 65)
                                                       Veritext Legal Solutions
                                                            866 299-5127
                                                                                                                            Armistead App. 1084

 1 exact number.                               13:44                              1   BY MS. KANG:                                 13:47
 2     Q. Are you familiar at all with West Virginia 13:44                        2       Q. What does "supervise and control           13:47
 3 Code 18225?                                 13:44                              3   interscholastic athletics" mean?               13:47
 4     A. Yes.                              13:44                                 4          MS. GREEN: Object to the form.             13:47
 5     Q. What is your understanding of it?                13:44                  5          THE WITNESS: Provide the rules and make 13:47
 6        MS. GREEN: I'll just object to the extent 13:44                         6   sure that everybody is following the rules.        13:47
 7 it would call for a legal conclusion.               13:44                      7   BY MS. KANG:                                 13:47
 8        THE WITNESS: It was when they authorized                  13:45         8       Q. And how do you make sure that everyone is 13:47
 9 the WVSSAC.                                     13:45                          9   following the rules?                       13:47
10 BY MS. KANG:                                     13:45                        10       A. Well, usually it -- you know, it's brought 13:47
11     Q. What do you mean "authorized WVSSAC"?                      13:45       11   to our attention either through members of the       13:47
12     A. We had been an organization since 1916.              13:45             12   public, schools in particular. Sometimes we see       13:47
13 And in the late '60s, they -- for some reason they         13:45              13   violations in the newspaper, and we follow up on       13:47
14 put us in the code, I guess.                     13:45                        14   them.                                 13:48
15     Q. What does "extracurricular activities" in          13:45               15       Q. By "follow up," you mean you reach out to 13:48
16 this section mean?                              13:45                         16   the individual member school?                   13:48
17     A. It would be sports and band.                 13:45                     17       A. Yes. And ask them for a written response 13:48
18     Q. Does it include club sports?                13:45                      18   as to what the allegation might be.             13:48
19     A. No. Not -- not in terms of the WVSSAC,               13:45             19       Q. And do you have a rough estimate of how        13:48
20 no.                                     13:45                                 20   many violations happen a year?                  13:48
21     Q. When does a club sport become a sport that 13:46                       21       A. How many violations? Or how many times           13:48
22 is controlled by the WVSSAC?                            13:46                 22   are we called about a violation?               13:48
23     A. When there is more than 30 -- more than 20 13:46                       23       Q. Let's say, how many times you are called 13:48
24 we can recognize it.                            13:46                         24   for a violation.                        13:48
25        At 32 teams, when there are 32 individual          13:46               25       A. If I had to guess, it would probably be    13:48
                                                                       Page 66                                                                       Page 68

 1 teams, our Board can authorize a championship for                13:46         1 two or three a month. Not counting the appeals --        13:48
 2 one class.                               13:46                                 2 the student appeals.                        13:48
 3        If there is 50 percent of our             13:46                         3     Q. How does a school stop being a member of              13:48
 4 membership -- of the high school membership, they                13:46         4 the WVSSAC?                                  13:48
 5 could authorize two classes; 75 percent they could              13:46          5     A. To be honest with you, I'm not sure how a         13:49
 6 authorize three.                           13:46                               6 public school does.                          13:49
 7     Q. So I'm going to draw your attention now             13:46               7        The private school simply writes us a          13:49
 8 staying on the same page on Exhibit 3 to the section 13:46                     8 letter and says, "We no longer want to be a member            13:49
 9 that says, "127-1-3 Goals."                       13:46                        9 of your organization." There's no penalty for          13:49
10        And I'm also going to refer you to the           13:46                 10 withdrawal.                              13:49
11 section that says "3.1." And I'll read it out loud. 13:46                     11     Q. Is there a reason why it's a different        13:49
12 And feel free to take your time reading it as well.        13:46              12 rule for a private school versus a public school?       13:49
13 [As read]:                                13:46                               13     A. I guess a public could withdraw.              13:49
14          "This Commission, through the                  13:46                 14     Q. To your knowledge, has any public school          13:49
15        employment of instrumentalities                  13:46                 15 ever withdrawn?                              13:49
16        hereinafter established, shall             13:47                       16     A. No. Just -- they have consolidated; and,        13:49
17        supervise and control interscholastic            13:47                 17 therefore, they become a new school, or they've          13:49
18        athletics and band activities among              13:47                 18 closed and have been absorbed into a new school.             13:49
19        member schools."                         13:47                         19 But, to my knowledge, no public school has ever not           13:49
20     A. Okay.                              13:47                               20 been a member.                              13:49
21     Q. Did I read this correctly?                 13:47                       21     Q. Are all public schools in West Virginia         13:49
22     A. You did.                            13:47                              22 currently members?                            13:49
23     Q. Is this statement accurate?                13:47                       23     A. All public secondary schools 6 through 12, 13:49
24        MS. GREEN: Object to form.                       13:47                 24 yes.                                 13:49
25        THE WITNESS: Yes.                           13:47                      25     Q. If a school is not a member of the            13:49
                                                                       Page 67                                                                       Page 69

                                                                                                                              18 (Pages 66 - 69)
                                                            Veritext Legal Solutions
                                                                 866 299-5127
                                                                                                                                Armistead App. 1085

 1   Commission, could it still offer interscholastic       13:49                   1   Commission?                                 13:52
 2   sports?                                  13:49                                 2      A. I'm sure they did at one time, yes.         13:52
 3      A. Yes.                               13:49                                 3      Q. So we're going to stay on the same page, 13:52
 4      Q. Can a school that is not a member compete 13:50                          4   but I'm going to draw your attention to the section 13:52
 5   with member schools?                            13:50                          5   that starts with 4.2.b. Says [as read]:          13:52
 6      A. As long as they are a school, yes.           13:50                       6            "The principal or designee is and       13:52
 7      Q. So now I would like to draw your attention 13:50                         7          shall be responsible for conducting        13:52
 8   to Page 17 of Exhibit 3, it should be just the next 13:50                      8          interscholastic athletic
 9   page down.                                 13:50                               9          and band activities of the school in
10          And I'll ask you to look at the paragraph 13:50                        10          accordance with the constitution,
11   that starts "127-1-4. Membership."                  13:50                     11          bylaws, rules and regulations of the
12      A. Okay.                               13:50                               12          Commission which have been adopted by
13      Q. And that paragraph says [as read]:             13:50                    13          the Board of Control of the Commission
14            "The WVSSAC shall be composed of the            13:50                14          for the governing of such
15          principals or designee, of those public      13:50                     15          activities."                     13:52
16          or private secondary schools which have         13:50                  16      A. Okay.                              13:52
17          certified in writing to the State        13:50                         17      Q. Did I read this correctly?               13:52
18          Superintendent of Schools of               13:50                       18      A. Yes.                              13:52
19          West Virginia [paren] (State              13:50                        19      Q. Do you believe this statement is accurate? 13:52
20          Superintendent) that they have elected        13:50                    20          MS. GREEN: Object to the form.               13:52
21          to delegate the control, supervision,       13:50                      21          THE WITNESS: Yes.                        13:52
22          and regulation of their interscholastic     13:50                      22   BY MS. KANG:                                  13:52
23          athletic and band activities."           13:50                         23      Q. What happens if a principal or a designee 13:52
24          Did I read that correctly?              13:50                          24   breaks one of the Commission's rules?               13:53
25      A. Yes.                               13:50                                25      A. There's a -- depends upon what the rule is 13:53
                                                                         Page 70                                                                          Page 72

 1     Q. Is this statement accurate?                   13:51                       1 and how often, it could be a letter of discipline,         13:53
 2         MS. GREEN: Object to the form.                  13:51                    2 it could be a verbal warning, or it could go all the 13:53
 3         THE WITNESS: Yes.                            13:51                       3 way up to suspension or fine.                      13:53
 4 BY MS. KANG:                                        13:51                        4     Q. So am I right that, when a member school             13:53
 5     Q. What does it mean to "delegate the               13:51                    5 makes a determination of what students are eligible           13:53
 6 control, supervision, and regulation of their               13:51                6 to play secondary sports, it has to follow the rules 13:53
 7 interscholastic athletic and band activities"?              13:51                7 and regulations of the Commission?                        13:53
 8         MS. GREEN: Object to the form.                  13:51                    8     A. Yes.                               13:53
 9         THE WITNESS: It means that the WVSSAC and 13:51                          9     Q. So now I'm going to ask you to scroll down 13:53
10 its member schools will write rules and everybody               13:51           10 two more pages to Page 19. It should be stamped               13:53
11 will follow them.                              13:51                            11 WVSSAC000136 of Exhibit 3. Let me know whenever                       13:53
12         And so they can't have rules of their own           13:51               12 you're there.                             13:53
13 that are separate from the rules that we have all            13:51              13     A. Okay. We're there.                     13:53
14 agreed to.                                  13:51                               14     Q. I'm sorry. Let me actually take you to             13:54
15 BY MS. KANG:                                        13:51                       15 Page 20. That's Bates stamped -137 of Exhibit 3.             13:54
16     Q. So just to be a clear, a member school               13:51               16     A. Okay.                              13:54
17 cannot issue its own rules -- is that -- for           13:51                    17     Q. So in the section that says "127-1-8.          13:54
18 interscholastic athletics; is that right?            13:51                      18 Board of Directors," it says [as read]:              13:54
19     A. Not if it's in conflict with our rule.         13:51                     19          "The Board of Directors shall have           13:54
20     Q. Can it issue rules that are not in            13:51                      20        authority to administer the regulations        13:54
21 conflict with the SSAC rules?                         13:51                     21        of the WVSSAC."                            13:54
22     A. Sure.                                13:51                               22        Did I read that correctly?             13:54
23     Q. Did Bridgeport Middle School delegate its              13:52             23     A. You did.                            13:54
24 control, supervision, and regulation of                13:52                    24     Q. Do you believe the statement is accurate?           13:54
25 interscholastic athletic activities to the            13:52                     25     A. Yes.                               13:54
                                                                         Page 71                                                                          Page 73

                                                                                                                                  19 (Pages 70 - 73)
                                                           Veritext Legal Solutions
                                                                866 299-5127
                                                                                                                       Armistead App. 1086

 1     Q. What does administer the regulations of          13:54                1       A. Well, the Commission cannot. The Board of 13:56
 2 the WVSSAC mean?                                  13:54                      2   Directors can. And then the Board of Review can.          13:56
 3        MS. GREEN: Object to the form.                13:54                   3   But the -- the office itself cannot grant waivers. 13:56
 4        THE WITNESS: Make sure everybody is                  13:54            4          I'll take that back.                 13:56
 5 following the rules as written and interpreted.         13:54                5          I can grant a waiver if it's been ruled     13:56
 6        (Simultaneously speaking.)                 13:54                      6   before in a similar fashion by the Board, but I        13:57
 7 BY MS. KANG:                                    13:54                        7   don't have -- I don't execute that.              13:57
 8     Q. By "interpreted," who --                 13:54                        8       Q. So is it fair to say that if the Board of 13:57
 9     A. The --                           13:55                                9   Review issues a determination of a student's           13:57
10     Q. -- makes -- oh, sorry.               13:55                           10   eligibility and the current student before you has a 13:57
11     A. Just --                          13:55                               11   similar set of facts, you can rely on that previous 13:57
12     Q. Did you --                         13:55                             12   determination?                               13:57
13     A. As the rules are written.                13:55                       13          MS. GREEN: Object to the form.                13:57
14     Q. Does it mean anything else?                 13:55                    14          THE WITNESS: The rule says that, but             13:57
15     A. No.                              13:55                               15   they're never -- I've yet to find two cases that are 13:57
16     Q. I'm going to ask you to scroll one more          13:55               16   exactly similar. So...                       13:57
17 page down to the page that's Bates stamped                13:55             17   BY MS. KANG:                                    13:57
18 WVSSAC -138. It should be Page 21 of the pdf of              13:55          18       Q. But you have the ability to -- to do so? 13:57
19 Exhibit 3.                              13:55                               19       A. It says that we have the ability to do so, 13:57
20     A. Okay.                            13:55                               20   yes.                                    13:57
21     Q. So I'll draw your attention to             13:55                     21       Q. So now I'd like to -- we're staying on the 13:57
22 Section 8.5, which says [as read]:                 13:55                    22   same page -- draw your attention to Paragraph 8.7         13:57
23          "The Board of Directors shall have         13:55                   23   and 8.8.                                 13:57
24        power to decide all cases of             13:55                       24          So I'll read Paragraph 8.7 first. It says 13:57
25        eligibility of students and          13:55                           25   [as read]:                               13:57
                                                                     Page 74                                                              Page 76

 1          participants in interscholastic         13:55         1                         "At the request of the Board of          13:58
 2          athletic and band activities. The        13:55        2                       Directors, a Deputy Board Member may              13:58
 3          Board may also exercise discretionary        13:55    3                       investigate matters of eligibility and      13:58
 4          powers it may deem necessary for the          13:55   4                       other violations of the rules and         13:58
 5          furtherance of education and             13:55        5                       regulations of the WVSSAC. The Deputy              13:58
 6          interscholastic athletic and band         13:55       6                       Board Member shall submit to the Board           13:58
 7          activities in the secondary schools of     13:56      7                       of Directors a written report of          13:58
 8          West Virginia."                      13:56            8                       findings and recommendations for              13:58
 9          Did I read that correctly?             13:56          9                       disposition of the case(s)."            13:58
10       A. You did.                           13:56             10                       Did I read that correctly?              13:58
11       Q. Do you believe this statement is accurate? 13:56 11                        A. You did.                            13:58
12          MS. GREEN: Object to the form.               13:56   12                    Q. Do you believe this statement is accurate? 13:58
13          THE WITNESS: Yes.                         13:56      13                       MS. GREEN: Object to form.                   13:58
14   BY MS. KANG:                                   13:56        14                       THE WITNESS: Yes.                          13:58
15       Q. What does it mean "Shall have the power to 13:56 15                     BY MS. KANG:                                  13:58
16   decide all cases of eligibility of students and     13:56   16                    Q. When would the Board of Directors request 13:58
17   participants in interscholastic athletic and band     13:56 17                 an investigation into matters of eligibility?       13:58
18   activities"?                             13:56              18                    A. If something was brought to them by a           13:58
19          MS. GREEN: Object to form.                  13:56    19                 member school or the public at large.              13:58
20          THE WITNESS: If I have -- if the school 13:56 20                           Q. Are there any Deputy Board Members                13:58
21   or I have determined somebody to be ineligible, they 13:56 21                  currently?                              13:58
22   can grant a waiver to make them eligible.            13:56  22                    A. There are ten.                       13:58
23   BY MS. KANG:                                   13:56        23                    Q. Who do they report to?                   13:58
24       Q. Can anyone other than the Commission grant 13:56 24                        A. They have very few -- very few               13:58
25   a waiver?                                13:56              25                 responsibilities. We have not asked them to           13:59
                                                                     Page 75                                                              Page 77

                                                                                                                        20 (Pages 74 - 77)
                                                        Veritext Legal Solutions
                                                             866 299-5127
                                                                                                                           Armistead App. 1087

 1   investigate. We -- you know, we feel like it has     13:59   1                   A. A formal protest would be somebody's --          14:01
 2   put some them in difficult positions. So most of     13:59   2                has written it and put their name to it.          14:01
 3   the investigations come out of our office.        13:59      3                      Informal would be an anonymous letter or a 14:01
 4      Q. Can you tell me a little bit more about     13:59      4                phone call.                               14:01
 5   putting them in difficult positions; what you mean 13:59 5                       Q. So I'm going to ask you to scroll one page 14:01
 6   by that.                                13:59                6                down in Exhibit 3 to the page that is Bates          14:01
 7      A. If they have to go into somebody else's      13:59     7                Stamped -139. It should be Page 22 of the pdf.         14:01
 8   school and make a determination on eligibility or     13:59 8                    A. Okay.                               14:01
 9   where somebody lives, it could be a rival school and 13:59 9                     Q. So I am looking at Section 127-1-9 titled 14:01
10   people might not want them there.                13:59      10                "Funds."                                 14:01
11          So, you know, we have taken it over        13:59     11                   A. Okay.                               14:01
12   because it's unbiased if we're looking at it.    13:59      12                   Q. How -- how is the Commission funded?              14:01
13      Q. So are the Deputy Board Members designees 13:5913                          A. All of our revenue comes from championship 14:02
14   or members of the member school?                   13:59    14                events, ticket sales at championship events;         14:02
15      A. They are principals of a member school,       13:59 15                        Regional basketball ticket sales;          14:02
16   yes.                                   14:00                16                      Playoffs for football;                 14:02
17      Q. So now on Paragraph 8.8 it says [as read]: 14:00 17                           Registering of officials;               14:02
18            "The Board of Directors shall have      14:00      18                      Coaches Education;                      14:02
19          the power to investigate through the                 19                      And corporate partnership.                14:02
20          Deputy Board Member, or in                           20                   Q. Are there any other sources of revenue?         14:02
21          such other manner as may be found                    21                   A. None of any significance.                  14:02
22          advisable, matters of eligibility and                22                   Q. By "none of any significance," what do you 14:02
23          other violations of rules when the                   23                mean?                                    14:02
24          Board deems it advisable to do so on                 24                   A. There would be maybe some fines in there 14:02
25          the basis of information furnished,                  25                for people -- coaches not paying -- or not          14:02
                                                                    Page 78                                                                             Page 80

 1        even though a formal protest is not                                  1 evaluating their officials or not putting scores in. 14:02
 2        filed."                                                              2 Things like that.                              14:02
 3        Did I read that correctly?             14:00                         3     Q. How much money are those fines usually?                  14:02
 4     A. You did.                            14:00                            4     A. $25 or $50 or $10, depending upon what it               14:02
 5     Q. Is this statement accurate?             14:00                        5 is for.                                14:03
 6        MS. GREEN: Object to the form.                 14:00                 6     Q. Now, you mentioned the Coaches Education.                 14:03
 7        THE WITNESS: It is.                     14:00                        7 Could you tell me a bit more about what that is.            14:03
 8 BY MS. KANG:                                  14:00                         8     A. The legislature requires that our coaches          14:03
 9     Q. So when would the Board -- when would the              14:00         9 who are non-teachers must have a Coaches Education.               14:03
10 Board deem it advisable to investigate matters of        14:00             10 And this is a State Board of Education. But they            14:03
11 eligibility even without formal protest?           14:00                   11 have charged us with providing the education, but               14:03
12     A. Sometimes they --                      14:00                        12 State Board of Education would do the certification. 14:03
13        MS. GREEN: Object to the form.                 14:00                13     Q. Do the coaches pay the Commission for this 14:03
14        I'm sorry.                     14:00                                14 education?                                14:03
15        THE WITNESS: Oh. I'm sorry.                    14:00                15     A. They do.                            14:03
16        Sometimes they get anonymous letters that        14:00              16     Q. Is the Commission a for-profit                   14:03
17 would supply some information; and, you know, they             14:00       17 organization?                              14:03
18 would -- now they would ask us because I also can          14:00           18     A. We are not.                             14:03
19 investigate. And so we would do it and then --          14:00              19     Q. Do you receive any funds from the federal            14:03
20 instead of our Board -- Deputy Board just because we 14:01                 20 government?                                    14:03
21 don't want to put them in a position where they         14:01              21     A. We received from -- some pandemic funds.                 14:03
22 would be ruling on a -- sometimes a competitor.          14:01             22           But that was all through the small           14:03
23 BY MS. KANG:                                  14:01                        23 business authority.                             14:04
24     Q. And what is the difference between a            14:01               24     Q. Anything else?                           14:04
25 formal protest versus an informal protest?            14:01                25     A. We have received GEAR funding from --                    14:04
                                                                    Page 79                                                                          Page 81

                                                                                                                            21 (Pages 78 - 81)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                          Armistead App. 1088

 1 through the Department of Education for monies to go 14:04                 1 services to the school?                        14:07
 2 back to the school through AEDs, wet globe bulbs          14:04            2      Q. Let's start with cash sent back to them.       14:07
 3 [verbatim], reimbursement for travel, things like       14:04              3         MS. GREEN: Object to the form.                 14:07
 4 that.                               14:04                                  4         THE WITNESS: I would say $300,000 out of                14:07
 5         Because everybody was in short -- low         14:04                5 a probably $1.5 million budget.                      14:07
 6 attendance, and so we were trying to find a way to       14:04             6 BY MS. KANG:                                    14:07
 7 help them with their money.                     14:04                      7      Q. So what about services?                    14:07
 8     Q. By "gear funding," do you mean sports gear 14:04                    8      A. The services -- oh. I'm sorry.              14:07
 9 or...                               14:04                                  9         Services would be higher because -- I          14:07
10     A. For them they also had limited attendance        14:04             10 would think it's probably closer to $700,000               14:07
11 and limited games. So --                      14:04                       11 depending upon what you call as "giving back".                14:07
12         Did I miss the question?              14:04                       12         You know, if it's -- some people would say 14:07
13         Okay. What was your question again?           14:04               13 that the expenses to put on tournaments is a way to           14:07
14     Q. Oh. I just asked that by "gear funding,"       14:04               14 give back.                                14:07
15 did you mean sports gear?                       14:04                     15         Direct expenses would be, you know, the            14:07
16     A. No. No. It is -- I think it's -- GEAR is 14:05                     16 things that we are purchasing for them right now,            14:07
17 the program.                            14:05                             17 which would be the AED and the wet globe bulb and                  14:07
18     Q. Understood.                          14:05                         18 the cooling submersion tubs.                       14:07
19         And was this all during the pandemic?         14:05               19      Q. So what -- what is encompassed in the term 14:08
20     A. Yes, ma'am.                          14:05                         20 "services"?                                14:08
21     Q. Do you receive any funds from your member          14:05           21      A. Services. Each -- each season we travel            14:08
22 schools?                              14:05                               22 around the state to meet with all principals for a         14:08
23     A. The only funds we receive at this time         14:05               23 regional principal meeting.                        14:08
24 would be fines that they would have to pay for not       14:05            24         We also travel around the state to meet        14:08
25 attending, not putting in scores.               14:05                     25 with each sport during each -- at the beginning of           14:08
                                                                   Page 82                                                                           Page 84

 1          Sometimes our events might be held at         14:05      1            each season to make sure -- we go over all the rules 14:08
 2   their schools; so they would collect the gate and      14:05    2            and regulations that are current.                14:08
 3   then write us a check.                        14:05             3                  Those are some of -- as well as expenses        14:08
 4          But that's pretty much all we get from the 14:05         4            that we incur hosting the tournaments for them.            14:08
 5   schools.                                14:05                   5                  And the coaches -- you know, we have -- we 14:08
 6      Q. And how much are the fines?                  14:05        6            have expenses in materials for Coaches Education.           14:08
 7      A. For not putting in an evaluation, it's       14:05        7               Q. I believe you mentioned you stopped                14:09
 8   $10;                                  14:05                     8            collecting dues from your members.                   14:09
 9          For not doing your eligibility, it's $25; 14:05          9                  Do you currently have any plans to resume           14:09
10          And if you don't put in a score, it's $50. 14:05        10            collecting dues?                           14:09
11      Q. Is any of the Commission's revenue shared 14:06 11                        A. No. We have a proposal from one of our               14:09
12   with the member schools?                         14:06         12            principals for this year to strike out the -- all of 14:09
13      A. Yes.                              14:06                  13            the dues' language and inserting language in there         14:09
14      Q. How is it shared?                       14:06            14            that says, "Could resume at any time when                 14:09
15      A. We -- we give reimbursement back to the           14:06 15             necessary."                              14:09
16   schools. Each sport has a different formula, but we 14:06 16                    Q. So, now, sticking with Exhibit 3, I'm          14:09
17   help with travel and meal money at most of the          14:06 17             actually going to ask you to go back up to Page 6 of 14:09
18   events.                                14:06                   18            the pdf and the Bates stamp is WVSSAC000123. And                   14:09
19          At football they also get a commission of 14:06         19            let me know whenever you get there.                   14:09
20   the gate. 20 percent the first week, 15 percent the 14:06 20                    A. Okay.                             14:10
21   second, 10 the third, and 5 at the championship.       14:06 21                 Q. So I'm going to direct you to the            14:10
22      Q. If you had to estimate, what percentage of 14:06 22                    paragraph that begins with "Discrimination                14:10
23   Commission funds go to the member schools?               14:06 23            Prohibited."                             14:10
24      A. When you say go to the schools, you mean 14:06 24                            Take your time reading it, and let me know 14:10
25   actually cash sent back to them? Or do you mean          14:07 25            whenever you are finished reading that paragraph.           14:10
                                                                   Page 83                                                                        Page 85

                                                                                                                            22 (Pages 82 - 85)
                                                       Veritext Legal Solutions
                                                            866 299-5127
                                                                                                                             Armistead App. 1089

 1     A. [Witness reviews document].                   14:10                    1            Sportsmanship is that everybody's on a      14:12
 2          Okay.                          14:10                                 2   fair playing field. And the -- you should be          14:12
 3     Q. Do you know who wrote this portion of the            14:10             3   gracious in losing and winning.                   14:13
 4 handbook?                                 14:10                               4        Q. What do you mean by "fair playing field"? 14:13
 5     A. I do not.                         14:10                                5            MS. GREEN: Object to the form.              14:13
 6     Q. Do you know how long this portion has been 14:10                       6            THE WITNESS: Same age. Same gender.               14:13
 7 in the handbook?                            14:10                             7   BY MS. KANG:                                   14:13
 8     A. I do not.                         14:10                                8        Q. Anything else?                       14:13
 9     Q. Do you remember ever reviewing this                 14:10              9        A. No.                             14:13
10 section of the handbook?                         14:10                       10            When I say "same age," it would be same       14:13
11     A. Yes.                             14:10                                11   programatic level. So middle -- middle school kids 14:13
12     Q. When did you review it?                     14:11                     12   cannot play against high school but freshmen can          14:13
13     A. I --                            14:11                                 13   play against seniors.                        14:13
14     Q. Oh. Go ahead.                         14:11                           14        Q. What are physical -- the physical and        14:13
15     A. I would say a couple of years ago. We've            14:11             15   social benefits that are referenced in this        14:13
16 tried to have a book study and go through all of           14:11             16   paragraph?                                14:13
17 these.                                 14:11                                 17        A. Just good -- for one, just good health. 14:13
18     Q. When you reviewed it a couple of years             14:11              18   Participation. Also, you know, we believe that          14:13
19 ago, did you believe the Commission was required to              14:11       19   it's -- the competitive part is good, and the       14:14
20 comply with Title IX?                           14:11                        20   training part is beneficial to the student athlete. 14:14
21     A. Yes.                             14:11                                21        Q. Why do you believe it's beneficial?         14:14
22     Q. Is the Commission currently required to            14:11              22        A. Studies we have read. And as a             14:14
23 comply with Title IX?                           14:11                        23   participant a long time ago.                    14:14
24          MS. GREEN: I'll just object to the form.        14:11               24        Q. What does "partisanship and prejudice"         14:14
25          THE WITNESS: I would believe that the             14:11             25   mean in this paragraph?                        14:14
                                                                      Page 86                                                                        Page 88

 1 schools are required to follow Title IX. But I           14:11                1       A. Partisanship and prejudice would mean that 14:14
 2 believe we believe it also.                     14:11                         2 it's equal. You know, one side -- especially         14:14
 3 BY MS. KANG:                                     14:11                        3 with -- you know, as far as equipment or what -- if        14:14
 4     Q. Now, I want to turn your attention to the         14:11                4 you come to a game, you can't have lush seats for          14:15
 5 section below that titled "Beliefs and Objectives."        14:11              5 you and the other team have foldable chairs and            14:15
 6          Take a moment to read the first paragraph       14:11                6 things like that. So that's part- -- partisan.     14:15
 7 and let me know whenever you are done.                     14:11              7          You know, all the equipment at a game has       14:15
 8     A. [Witness reviews document].                   14:11                    8 to be the same equipment everybody is using. Same            14:15
 9          Okay.                          14:12                                 9 ball. Same rims. Everything is the same.             14:15
10     Q. What are "proper ideals of sportsmanship," 14:12                      10       Q. What do you mean by "prejudice" in this         14:15
11 as written in this paragraph?                    14:12                       11 paragraph?                                 14:15
12          MS. GREEN: Object to the form.                 14:12                12       A. Prejudice would mean, you know -- you            14:15
13          THE WITNESS: Are you on Paragraph 1 or 3? 14:12                     13 know, is there some advantage to one team over             14:15
14 BY MS. KANG:                                     14:12                       14 another.                                 14:15
15     Q. Paragraph 1 [verbatim] of the Beliefs and          14:12              15       Q. What sort of advantage are you referring        14:15
16 Objectives section.                         14:12                            16 to?                                    14:15
17     A. What was your question again?                 14:12                   17       A. Could be something as simple as a tarp          14:15
18     Q. Sure.                            14:12                                18 over your bench as opposed to the other team not           14:15
19          What are -- what are the proper ideals of      14:12                19 having it;                               14:15
20 sportsmanship?                              14:12                            20          Could be as simple as a heater. You might 14:16
21          I'm sorry. I --                 14:12                               21 have a heater on a sideline at a cold game and they        14:16
22     A. The --                            14:12                               22 don't.                                 14:16
23     Q. I am referring to Paragraph 3. You had it 14:12                       23          So things that would make the game unfair       14:16
24 right the first time.                      14:12                             24 that are outside of the game.                    14:16
25     A. Okay.                             14:12                               25       Q. Is there anything else that you believe    14:16
                                                                      Page 87                                                                        Page 89

                                                                                                                              23 (Pages 86 - 89)
                                                        Veritext Legal Solutions
                                                             866 299-5127
                                                                                                                  Armistead App. 1090

 1   would make the game unfair?                       14:16           1 BY MS. KANG:                                     14:19
 2          MS. GREEN: Object to the form.               14:16         2     Q. And, Mr. Dolan, let me know whenever you                 14:19
 3          THE WITNESS: There are probably other            14:16     3 have it up.                              14:19
 4   things, but right off the top of my head not sure. 14:16          4     A. Okay.                             14:19
 5          Could be something as simple as how far        14:16       5         MS. GREEN: Counsel, was there a certain               14:19
 6   you got to walk to your locker room in between          14:16     6 page in the exhibit?                           14:19
 7   games.                                  14:16                     7         MS. KANG: Yeah.                          14:19
 8   BY MS. KANG:                                  14:16               8 BY MS. KANG:                                     14:19
 9      Q. Do you believe that allowing transgender 14:16              9     Q. If you go to Page 6 to start, that would         14:19
10   students to participate on sports teams consistent 14:16         10 be great. And the Bates stamp is -365.                  14:19
11   with their gender identity is consistent with the    14:16       11         MS. GREEN: I'm sorry.                        14:19
12   goals identified in this paragraph?              14:16           12         THE WITNESS: That's fine.                      14:19
13          MS. GREEN: Object to the form.               14:16        13         Is this the "2016-'17 Participation           14:19
14          THE WITNESS: I believe our -- our Board 14:16             14 Report"?                                 14:19
15   policy was that, if it was not safe or unfair      14:16         15 BY MS. KANG:                                     14:19
16   advantage, then it would be okay for them to          14:17      16     Q. Do you believe it is?                    14:19
17   participate.                            14:17                    17     A. Okay.                             14:20
18   BY MS. KANG:                                  14:17              18         [Witness reviews document].                   14:20
19      Q. Does Bridgeport Middle School                 14:17        19         Okay.                           14:20
20   cross-country count as an interscholastic athletic? 14:17        20     Q. So I'm going to represent to you that this 14:20
21      A. It does.                          14:17                    21 is a document that was produced by your counsel in              14:20
22          MS. KANG: So I'm actually about to move 14:17             22 response to one of plaintiff's discovery requests.           14:20
23   into the next session. I think we are up on an       14:17       23         If you want to read the text of the           14:20
24   hour.                                  14:17                     24 request, it's Request Number 15 in this same                 14:20
25          Roberta, do you have preference as to       14:17         25 document.                                 14:20
                                                          Page 90                                                                              Page 92

 1   whether you want me to get started or you want to        14:17    1         Do you recognize this document that is           14:20
 2   take a break now?                           14:17                 2 before you right now?                            14:20
 3          THE WITNESS: I'm good.                      14:17          3     A. I do.                            14:20
 4          MS. GREEN: All right. Let's do --           14:17          4     Q. What is it?                           14:20
 5          THE WITNESS: I can't go to the bathroom. 14:17             5     A. This is a participation -- the National          14:20
 6          MS. GREEN: I know. Really no need for a 14:17              6 Federation of High School keeps track of how many                14:20
 7   bathroom break over here.                       14:18             7 participants are in each sport, trying to find          14:20
 8          MS. KANG: All right. Well, if it's okay 14:18              8 trends among the sports, which ones are growing,                14:20
 9   with you, we'll go on a little bit longer.        14:18           9 which ones are falling; and if they are falling, how 14:20
10          Let me know if you do need a break.          14:18        10 come.                                   14:20
11          So we can take down Exhibit 3.             14:18          11     Q. What is the National Federation of State           14:21
12   BY MS. KANG:                                   14:18             12 High School Associations?                             14:21
13       Q. And I want to talk a little bit about some 14:18          13     A. It is the association of 51 members, the          14:21
14   of the statistics that the Commission turns over to 14:18        14 50 states plus Washington, D.C., and they primarily             14:21
15   various organizations.                       14:18               15 provide the sport-specific rules for almost all of        14:21
16          So I'm going to introduce an exhibit that 14:18           16 our events.                              14:21
17   will be marked as Exhibit 4.                    14:18            17     Q. How long have you provided these                   14:21
18          MS. KANG: And I'll let you know when it's 14:18           18 statistics to the Federation?                    14:21
19   in everyone's folders.                      14:18                19     A. To be honest with you, they've been               14:21
20          (Deposition Exhibit 4 was marked for          14:19       20 tracking them, but I couldn't tell you how long we            14:21
21          identification and is attached hereto.)    14:19          21 have.                                  14:21
22          MS. KANG: Exhibit 4 should now be in            14:19     22     Q. Do you think it's --                    14:21
23   everyone's Marked Exhibit folder.                  14:19         23     A. I would assume.                          14:21
24          Let me know if anyone has trouble            14:19        24     Q. Go ahead.                              14:21
25   accessing it.                            14:19                   25     A. I would assume -- it's a -- it's an           14:21
                                                          Page 91                                                                              Page 93

                                                                                                                       24 (Pages 90 - 93)
                                                 Veritext Legal Solutions
                                                      866 299-5127
                                                                                                             Armistead App. 1091

 1   ongoing thing; so I would think it's probably been 14:21 1                Q. So it's any grade from 9 to 12?            14:24
 2   done for a number of years.                     14:21           2         A. It's a combination of 9 through 12, yes. 14:24
 3       Q. More than ten?                        14:21              3         Q. If we go over to the third column, the one 14:24
 4       A. Yes.                              14:21                  4     that says "Male," what does that mean?               14:24
 5       Q. More than 20?                         14:21              5         A. That -- it's the same -- when we do our       14:24
 6       A. Probably.                           14:21                6     eligibility sheets by sport, for instance, football, 14:24
 7       Q. Why do you provide these statistics to the 14:21         7     football doesn't differentiate between boys and        14:24
 8   NFHS?                                     14:22                 8     girls. It's -- they're asking for the number of     14:24
 9       A. They -- they gather them for the whole         14:22     9     participants.                               14:25
10   country to try to monitor which sports are growing 14:22 10                  When you get to girls' track, it can only 14:25
11   in popularity and which ones might not be. And the 14:22 11           be done by girls; so, therefore, that -- that's why 14:25
12   ones that aren't, they're trying to look and see     14:22     12     there's not -- there's a zero in girls' track for 14:25
13   why.                                    14:22                  13     males and boys' track has a number but girls' does 14:25
14       Q. I'm just going to ask you a few questions 14:22         14     not.                                     14:25
15   to help me understand how to read this chart.          14:22 15              So football is the number of participants. 14:25
16          Did you prepare this document?              14:22       16     So in the blue column under "Male," it would be the 14:25
17       A. I personally did not prepare it. But this 14:22         17     number of male -- or number of people in football. 14:25
18   is a document prepared by our office, yes.           14:22     18     Could be male or female because our eligibility         14:25
19       Q. Do you know who prepared this document?            14:2219     doesn't differentiate between the two.              14:25
20       A. Alice Goodwin in our office.               14:22        20         Q. So just to be clear, even if a girl plays 14:25
21       Q. What's her position?                    14:22           21     on the football team, she will not show up in the       14:25
22       A. Secretary.                         14:22                22     column that says "Female" for football?              14:25
23       Q. Is she your secretary?                  14:22           23         A. That's correct. Because they're asking        14:25
24       A. No.                              14:22                  24     for the number of participants in football, and it's 14:25
25       Q. Do you know which secretary she is?            14:22    25     primarily football -- it's primarily a male sport. 14:26
                                                          Page 94                                                              Page 96

 1       A. Well, we don't all have specific           14:22           1   So it falls under the male category. That's the       14:26
 2   secretaries. She works primarily with Greg Reed,         14:23    2   best we could do for them.                      14:26
 3   but we all ask different people to do different      14:23        3           Similarly, cheer is primarily a cheer     14:26
 4   things, depending upon what the level of activity      14:23      4   event, but there are boys. But there's no number in 14:26
 5   going on in the office for that particular staff    14:23         5   there. So we just -- it's just the total number in 14:26
 6   member is.                                14:23                   6   that -- for that particular sport.             14:26
 7       Q. What is Greg Reed's role?                 14:23            7       Q. Okay. Scroll all the way over to the         14:26
 8       A. Assistant executive director.             14:23            8   gray-colored columns. They're labeled as              14:26
 9       Q. Do you contribute any information to this 14:23            9   "Mid/Junior."                              14:26
10   document?                                  14:23                 10           What does "Mid/Junior" mean?                14:26
11       A. This document is -- I personally do not. 14:23            11       A. It was either middle school or junior high 14:26
12   It's pulled from our website. And it probably -- it 14:23        12   and -- you know. I don't believe we have any more 14:26
13   is self-populating, I believe. So she doesn't       14:23        13   junior high. So probably could be fixed to say just 14:26
14   actually type it in there. They pull it from our     14:23       14   middle school.                              14:26
15   eligibility sheets.                        14:23                 15       Q. What grades would those be?                 14:26
16       Q. And who is "they"?                      14:23             16       A. 6th through 8.                       14:26
17       A. Our -- our web designer created this form, 14:23          17       Q. So now I'm going to ask you to -- to          14:26
18   and it self-populates from that form, from their      14:24      18   scroll down to Page 11. It will be Bates            14:27
19   eligibility.                            14:24                    19   stamped -370.                               14:27
20       Q. So in the second column of this chart, it 14:24           20           Let me know whenever you get there.           14:27
21   says "Senior."                             14:24                 21       A. Okay.                              14:27
22          What does that mean?                    14:24             22       Q. So the last year that you produced this       14:27
23       A. "Senior" means "high school."               14:24         23   document is 2020 to 2021.                        14:27
24       Q. So senior --                        14:24                 24           Do you know when the 2021 to 2022              14:27
25       A. 9 through 12.                        14:24                25   statistics will be published?                  14:27
                                                          Page 95                                                              Page 97

                                                                                                              25 (Pages 94 - 97)
                                                  Veritext Legal Solutions
                                                       866 299-5127
                                                                                                                          Armistead App. 1092

 1     A. We submitted them over the summer.                14:27              1 2018 to 2019. Is there a reason why we don't have             14:30
 2 Obviously, our spring sports aren't -- aren't in       14:27                2 the 2019 to 2020 statistics?                     14:30
 3 place yet. So we wouldn't have numbers for them.             14:27          3     A. I don't know if that's the most recent         14:30
 4     Q. For the 2021 to 2022 period, do you know           14:27             4 one. Because obviously with COVID and them not                   14:30
 5 if B.P.J. will be listed in the "Female" column or       14:27              5 working from the office for a long period of time, I 14:30
 6 the "Male" column?                             14:27                        6 don't know if they have not submitted the most               14:30
 7          MS. GREEN: Object to form.                14:28                    7 recent years.                            14:30
 8          THE WITNESS: Which team is she on?               14:28             8     Q. So in the column that says "Boys School,"           14:30
 9 BY MS. KANG:                                   14:28                        9 what does this column indicate?                      14:30
10     Q. She is on the cross-country team for            14:28               10     A. Are we still on Page 7?                   14:30
11 girls.                                 14:28                               11     Q. Yes. We are -- we are on Page 12.              14:31
12     A. And then that's where she will be listed.       14:28               12     A. 12. Okay.                          14:31
13 Because it's just pulling the number off of the         14:28              13     Q. The Bates stamp is -371.                   14:31
14 eligibility of that particular team.             14:28                     14     A. And which one am I looking for?                 14:31
15     Q. And the numbers that are submitted, are           14:28             15     Q. Yeah. So if you go over, it's the fourth       14:31
16 they coming from the member schools themselves?                 14:28      16 column. It says "Boys School."                       14:31
17     A. They -- the member schools have to submit          14:28            17     A. Boys -- okay.                        14:31
18 their eligibility on our site. And from there,         14:28               18     Q. Yeah.                             14:31
19 it takes the total of each school and puts them in       14:28             19     A. These are -- these are the schools that        14:31
20 their category.                           14:28                            20 are offering basketball. If you are looking at         14:31
21     Q. So I'm going to ask you to scroll down one 14:28                    21 basketball, there is 124 schools who are offering          14:31
22 more page to the doc- -- to the document that is         14:28             22 boys' basketball. And there are 124 schools that          14:31
23 Bates Stamped -371.                            14:28                       23 are offering girls' basketball.               14:31
24     A. Okay.                             14:28                             24         You'll notice that "Baseball" has 122.        14:31
25     Q. So this is also a document that was           14:28                 25 There are no girls -- there are no girls' baseball       14:31
                                                                    Page 98                                                                       Page 100

 1   produced by your counsel in response to one of           14:29 1              teams. That's why it is a "0."                  14:31
 2   plaintiff's discovery requests.                 14:29            2                Q. Got it.                           14:31
 3          If you want the read the text of that      14:29          3                   And then the boys participation, does that 14:31
 4   request, you can look at Request 14 on Page -4 of         14:29 4             reflect that 3,052 boys participated of the         14:31
 5   this exhibit.                            14:29                   5            124 schools that offer boys' basketball?            14:32
 6          Do you recognize this document?               14:29       6                A. Yes.                              14:32
 7      A. This is a form from the National              14:29        7                   And I would believe this is just high       14:32
 8   Federation that puts our participation numbers into 14:29 8                   school. It's not middle school also.              14:32
 9   their chart.                             14:29                   9                Q. Do you know if co-ed teams are reflected 14:32
10          So the numbers that came off of that chart 14:29         10            on the chart?                              14:32
11   for '18/'19 would match these numbers.                14:29     11                A. Again, co-ed teams would be -- they would 14:32
12          All those sports that are activities that 14:29          12            be reflected as the -- the majority sport. So, for 14:32
13   are -- have zeros by them, those are activities or 14:29        13            instance, baseball, it could be co-ed if a girl     14:32
14   sports that we do not offer. But they are offered 14:29 14                    wanted to play baseball. But she would be listed on 14:32
15   through the National Federation.                   14:29        15            the -- the school was offering boys' baseball -- or 14:32
16      Q. So you do not -- you as a Commission do            14:29 16             they are offering baseball, the girl would simply be 14:32
17   not make this form?                           14:29             17            listed on the eligibility and be counted as a        14:32
18      A. No. They send this back to us. This is 14:29              18            baseball participant, not as a female.             14:33
19   basically a verification of the form we sent to       14:30     19                   So in this -- this study that they are    14:33
20   them.                                   14:30                   20            doing is simply the number of participants in that 14:33
21      Q. So is it fair to say that the National      14:30         21            sport, not a breakdown of boys and girls if it's      14:33
22   Federation takes information that you give them and 14:3022                   co-ed.                                  14:33
23   puts it into this form?                      14:30              23                Q. Who determines whether to make a team             14:33
24      A. Yes, ma'am.                            14:30              24            co-ed?                                   14:33
25      Q. So I noticed that the year only goes to        14:30      25                A. Well, if you have enough boys and have           14:33
                                                                    Page 99                                                                       Page 101

                                                                                                                          26 (Pages 98 - 101)
                                                          Veritext Legal Solutions
                                                               866 299-5127
                                                                                                                         Armistead App. 1093

 1 enough girls to have a team, then if we are offering 14:33                  1     Q. So I would like to draw your attention to         14:36
 2 boys and girls, then you have to have a separate          14:33             2 Interrogatory Number 13 on Exhibit 5.                    14:37
 3 team.                                  14:33                                3        What does "participation mixed as               14:37
 4         For instance, cross-country, you can have       14:33               4 indicated to respond to demand" mean?                     14:37
 5 one girl and she could make up a team or she could           14:33          5     A. "Identify all WVSSAC sponsored sports in                14:37
 6 be the team. But if you only have one soccer girl,        14:33             6 which students may participate on a team designated             14:37
 7 she couldn't be the team. So she would have to play 14:33                   7 as co-ed or mixed."                            14:37
 8 with the boys. And that would be co-ed at the time. 14:34                   8        Is that the question? And why cheer is           14:37
 9     Q. Is it fair to say that what makes a sport     14:34                  9 considered mixed?                               14:37
10 co-ed depends on the sport?                       14:34                    10     Q. Yeah. That -- why don't we start there.           14:37
11         MS. GREEN: Object to the form.               14:34                 11        Why is cheer considered mixed?                  14:37
12         THE WITNESS: It depends on the sport -- I 14:34                    12     A. It has both boys and girls. So it could          14:37
13 would say depends upon the participants.                14:34              13 be co-ed or mixed.                             14:37
14         If there are enough of each gender to       14:34                  14     Q. What is the difference between calling            14:37
15 participate, we would have separate -- separate           14:34            15 cheer mixed and saying that "participation mixed as             14:38
16 championships.                              14:34                          16 indicated to respond to demand"?                       14:38
17 BY MS. KANG:                                    14:34                      17     A. Basically because cheer almost always has           14:38
18     Q. So is it fair to say that once a certain     14:34                  18 boy members. Wrestling is starting to get a number              14:38
19 number of participants is reached for boys and            14:34            19 of them. Baseball very seldom has -- it's very            14:38
20 girls, they have to be separate?                  14:34                    20 seldom a mixed sport. And football is very seldom.              14:38
21     A. At some point based on the number, we              14:34            21 But golf is transitioning into its own sport.           14:38
22 would make a recommendation to the Board of                  14:34         22     Q. By "seldom," do you mean girls seldom               14:38
23 Directors that we now have enough to break them and             14:35      23 participate on those teams?                      14:38
24 have a stand-alone.                         14:35                          24     A. That is correct.                    14:38
25     Q. Can you give me an example of when you               14:35       25        Q. Just to be clear, football is a boys'       14:38
                                                                  Page 102                                                                         Page 104

 1   made that recommendation?                         14:35         1             team, but if a girl wants to play football, she        14:39
 2       A. We haven't made it yet. But I will tell 14:35            2             would be permitted to play on that team?                14:39
 3   you that we're -- you know, we have offered more          14:35 3                  A. That's correct.                       14:39
 4   opportunities for girls in golf. And our number of 14:35 4                         Q. If a boy wanted to play on a girls' team, 14:39
 5   girls playing golf has gone up significantly.        14:35      5             would they be permitted to?                        14:39
 6          We'll watch the numbers. And, as time         14:35      6                  A. No.                                14:39
 7   goes on, if we -- if the numbers continue to grow, 14:35 7                         Q. Why not?                              14:39
 8   then they will have the opportunity to have a         14:35     8                  A. Because girls have been -- they've been 14:39
 9   stand-alone program for girls' golf. Right now,        14:35    9             denied opportunity in the past, and by allowing boys 14:39
10   they play on the boys' team or the co-ed team.         14:35 10               to participate on girls' teams that are strictly     14:39
11          MS. KANG: So we can take down this              14:35 11               girls, for instance, girls' soccer, girls'        14:39
12   exhibit, and I'm going to introduce a different       14:35    12             basketball, volleyball and softball, that girls       14:39
13   document as the next exhibit, which I believe is       14:36 13               would then lose opportunity.                       14:39
14   Exhibit 5.                              14:36                  14                  Q. Do you have any rules preventing a boy           14:39
15          (Deposition Exhibit 5 was marked for          14:36     15             from playing on a girls' team?                     14:39
16          identification and is attached hereto.)    14:36        16                  A. Yes.                               14:39
17          MS. KANG: Exhibit 5 is now in everyone's 14:36 17                           Q. What rule would that be?                   14:39
18   Marked Exhibit folder. Please let me know if you         14:36 18                  A. I have to find it in my rule book.          14:40
19   have trouble accessing it.                     14:36           19                  Q. Why don't we go back to the rule book, and 14:40
20   BY MS. KANG:                                   14:36           20             I'll ask you a few questions on that.               14:40
21       Q. Mr. Dolan, let me know once you have it          14:36 21                      So we'll go back to Exhibit 3.            14:40
22   up.                                   14:36                    22                     (Simultaneously speaking.)                 14:40
23          And once you have it up, if you could go 14:36          23                     THE WITNESS: I'm trying to --                 14:40
24   to Page 5 of the pdf, that would be great.          14:36      24             BY MS. KANG:                                     14:40
25       A. Okay.                             14:36                 25                  Q. And it should be --                     14:40
                                                                   Page 103                                                                        Page 105

                                                                                                                       27 (Pages 102 - 105)
                                                        Veritext Legal Solutions
                                                             866 299-5127
                                                                                                                 Armistead App. 1094

 1       A. Try --                         14:40                  1         A. I -- I'm not sure. I don't know if it's 14:43
 2       Q. It should be Exhibit 3. It should be     14:40        2      gone that far. But I would say a significant         14:43
 3   Page 17, and the Bates stamp should end in -148.      14:40 3       number, yes. I don't know if it's made it to 20.      14:43
 4       A. Page 17 talks about our membership.         14:40     4         Q. Fair enough.                          14:43
 5       Q. Yes. I'm looking at Paragraph 3.8 of      14:40       5              So the team is separated by boys' and       14:43
 6   Exhibit 3 on -148.                        14:40              6      girls' teams. Can a student ask to participate on a 14:43
 7       A. Okay.                           14:40                 7      co-ed team?                                14:43
 8       Q. Take a moment to read Paragraph 3.8 and       14:41 8           A. If there is a boys' team and a girls'       14:43
 9   let me know when you've had a chance to finish        14:41 9       team -- are we talking about, like, boys' and girls' 14:43
10   reading it.                           14:41                 10      basketball and can the girls' basketball player play 14:44
11       A. What page are you on again? Because I        14:41 11        on the boys' team? Is that what you're asking?         14:44
12   don't have 3.8.                         14:41               12         Q. Yes.                              14:44
13       Q. No problem. It's page 17. The Bates        14:41     13         A. They cannot. If there is a team for them, 14:44
14   stamp should end in -148.                    14:41          14      they must play on the team of their gender.           14:44
15       A. 17 of the pdf document or 17 of our --     14:41     15         Q. Let's go back to Exhibit 5.               14:44
16   that's numbered on our rule book?               14:41       16              And then I think once we are done with       14:44
17       Q. This might be page -- this might be 17     14:41     17      that exhibit, we can take a break.               14:44
18   that's numbered in your rule book. My apologies.      14:41 18              So let's go back to Page 5 of the pdf. I 14:44
19   It's Page 31 of the pdf.                  14:41             19      just have a few follow-up questions. Back to           14:44
20       A. Okay. We're getting there.             14:41         20      Interrogatory Number 13.                        14:44
21          MS. GREEN: We should have music to play 14:41 21                A. Okay.                              14:44
22   through the...                         14:41                22         Q. What grades does junior varsity cover?          14:44
23          THE WITNESS: Okay. Scroll down.              14:41 23           A. It doesn't have a grade. It could be 9 to 14:44
24          Okay. Yep. Yes. Yes. 3.8.             14:42          24      12. You could be a senior and still on the junior 14:44
25   ///                                                         25      varsity. If some -- some schools because of numbers 14:44
                                                       Page 106                                                                           Page 108

 1   BY MS. KANG:                                   14:42            1 will have just the varsity. Some will have varsity         14:45
 2       Q. Is that the rule that you were thinking of 14:42         2 and j- -- junior varsity. And some will have              14:45
 3   that prevented a transgender boy from playing on a 14:42        3 varsity, junior varsity, and a freshman team.             14:45
 4   girls' team?                             14:42                  4         So just different designation of those       14:45
 5       A. Yes.                             14:42                   5 teams.                                   14:45
 6           MS. GREEN: Object to the form, if I           14:42     6      Q. What does junior varsity mean?                   14:45
 7   can --                                 14:42                    7      A. Junior varsity --                    14:45
 8           THE WITNESS: Okay. Back up?                    14:42    8         MS. GREEN: I was just going to object to           14:45
 9           MS. GREEN: Yes.                        14:42            9 the form.                                 14:45
10   BY MS. KANG:                                   14:42           10         THE WITNESS: Okay.                           14:45
11       Q. Why was this rule enacted?                  14:42       11         When you have too many kids and you                14:45
12       A. I would assume to -- it complies with          14:42    12 have -- you want an opportunity for them, you have a 14:45
13   Title IX, but it's -- you know, we're trying to not 14:42      13 junior varsity as long as you can get a schedule for 14:45
14   allow boys to participate in girls' events to either 14:42     14 them.                                    14:45
15   hurt them or dominate them.                       14:42        15 BY MS. KANG:                                      14:45
16       Q. When was this rule, Section 3.8, enacted? 14:42         16      Q. What does "varsity" mean?                    14:45
17       A. I would have to find that out. I'd have 14:42           17      A. You are the team that participates for the 14:45
18   to go back through all of our rules and find when it 14:42     18 state championships.                             14:45
19   was -- when it was enacted.                      14:42         19      Q. What does "freshman" mean?                       14:45
20       Q. Do you believe that it was enacted within 14:43         20      A. Some large schools want to give more               14:45
21   the past five years?                        14:43              21 opportunity to their student athletes. So they have 14:45
22       A. No.                              14:43                  22 too many kids for a junior varsity, JV; so they have 14:46
23       Q. Past ten?                         14:43                 23 a separate freshman program.                        14:46
24       A. No.                              14:43                  24      Q. Just to be clear, if a student wants to      14:46
25       Q. Past 20?                          14:43                 25 play a sport that is not in this list -- so it's not 14:46
                                                       Page 107                                                                           Page 109

                                                                                                               28 (Pages 106 - 109)
                                                Veritext Legal Solutions
                                                     866 299-5127
                                                                                                                   Armistead App. 1095

 1   cheer, wrestling, baseball, football, or golf --      14:46        1        So, obviously, they don't know how many             14:49
 2   they have to join either the boys' or girls' team? 14:46           2 baseball, softball, track, and tennis participants       14:49
 3      A. I think that's everybody that is not         14:46           3 we have coming up because we haven't had our teams                14:49
 4   included, yes.                              14:46                  4 yet.                                  14:49
 5      Q. One last question before we take a break. 14:46              5        MS. KANG: Okay. I think now is a good               14:49
 6          I would like to draw your attention to        14:46         6 time for everybody to take a break, if that is all       14:49
 7   Page 9 of Exhibit 5, and this is the response to        14:46      7 right with you, Mr. Dolan.                       14:49
 8   Interrogatory Number 14.                         14:46             8        THE WITNESS: Sure.                          14:49
 9      A. Okay.                               14:46                    9        Okay. Roberta, is that -- does that work         14:49
10      Q. So just to be clear, to make sure I am          14:46       10 for you?                                 14:49
11   reading this chart correctly, in the first row that 14:46         11        MS. GREEN: Sure. Thank you.                      14:49
12   starts with "Andrew Jackson Middle School," it            14:46   12        MS. KANG: Of course.                        14:49
13   indicates that one girl participated in wrestling. 14:47          13        THE VIDEOGRAPHER: This marks the end of                     14:49
14          Is that an accurate -- is that an accurate 14:47           14 Media Number 2.                                14:49
15   interpretation?                             14:47                 15        Going off the record. The time is 2:49.         14:49
16      A. It is.                            14:47                     16        (Brief recess.)                     14:59
17      Q. How do you collect these statistics?            14:47       17        THE VIDEOGRAPHER: This marks the                          15:00
18      A. This was a survey of the schools because, 14:47             18 beginning of Media Number 3 in the deposition of                15:00
19   when they do their eligibility, it doesn't          14:47         19 30(b)(6) Witness Bernie Dolan.                       15:00
20   distinguish between boys and girls.                 14:47         20        Back on the record. The time is 3:01.           15:00
21          So in order to find out who is playing        14:47        21 BY MS. KANG:                                     15:00
22   what sports, how many -- how many girls are               14:47   22     Q. Mr. Dolan, would it be harmful to a              15:01
23   participating in -- in the sports that allow boys      14:47      23 student if they were forbidden from playing school             15:01
24   and girls, the co-ed or mixed, we -- we have to          14:47    24 sports?                                 15:01
25   survey them to find out.                        14:47             25        MS. GREEN: Object to the form.                   15:01
                                                          Page 110                                                                          Page 112

 1      Q. When was this survey done?                    14:47          1        THE WITNESS: There are lots of kids who                 15:01
 2      A. In the last two weeks, I would imagine. I 14:47              2 are, I think, not allowed to participate for           15:01
 3   forget. I mean, it was in the last three -- two to 14:47           3 whatever reason. It could be eligibility things.         15:01
 4   three weeks.                               14:47                   4 So happens to a lot of kids right now.                 15:01
 5      Q. Why did you survey the schools?                14:47         5        We do think there are benefits to           15:01
 6      A. Just to find out how many girls were           14:47         6 participation.                           15:01
 7   participating in our -- since we don't have accurate 14:47         7 BY MS. KANG:                                     15:01
 8   data of how many girls are playing different sports, 14:48         8     Q. What sort of benefits does playing a             15:01
 9   this was our opportunity to go ahead and -- and poll 14:48         9 school sport afford?                           15:01
10   our membership.                               14:48               10     A. Giving an opportunity for leadership,             15:01
11          Not every school replied. And we don't         14:48       11 personal health, camaraderie, cooperation.               15:01
12   have a way to verify it. It was just for us to have 14:48         12     Q. I want to talk a little bit about House         15:01
13   an idea. We looked --                          14:48              13 Bill 3293, or H.B. 3293, and a little bit more about 15:01
14      Q. Are there any -- oh. Go ahead, please.         14:48        14 the Commission's policy for H.B. 3293 was enacted.               15:01
15      A. We would look at this data, for instance, 14:48             15     A. Okay.                             15:02
16   golf and wrestling, to determine how close we are to 14:48        16     Q. Do you believe that H.B. 3293 forbids             15:02
17   having its own sport.                         14:48               17 B.P.J. from playing on a girls' team?                  15:02
18      Q. Is this data the current data? Or is this 14:48             18        MS. GREEN: Object to the perform.                 15:02
19   data, like, a participation across all years --     14:48         19        THE WITNESS: I would believe it did                 15:02
20      A. And again --                          14:48                 20 before the court case. Yes.                      15:02
21      Q. -- of all time?                      14:48                  21 BY MS. KANG:                                     15:02
22      A. I believe -- you know, it wasn't a           14:48          22     Q. Have you ever talked to any organizations           15:02
23   certified data. Schools were primarily listing        14:48       23 outside of the State of West Virginia regarding            15:02
24   second -- second -- or last year's spring sports and 14:48        24 H.B. 3293?                                 15:02
25   this year's winter and fall.                   14:49              25     A. Not that I know of.                     15:02
                                                          Page 111                                                                          Page 113

                                                                                                                29 (Pages 110 - 113)
                                                   Veritext Legal Solutions
                                                        866 299-5127
                                                                                                                          Armistead App. 1096

 1      Q. Have you ever talked to any organizations 15:02        1                       MS. GREEN: Objection to form.                15:04
 2   outside of West Virginia concerning transgender       15:02 2                        THE WITNESS: Sorry.                       15:04
 3   athletes generally?                      15:02               3                       Yes.                           15:04
 4      A. We may have talked -- you know, our           15:02    4                BY MS. KANG:                                  15:04
 5   National Federation, it was probably on a -- one of 15:02 5                      Q. And then you may already understand this, 15:04
 6   our either winter meetings or summer meetings there 15:02 6                   but when I use the phrase "H.B. 3293," I am            15:04
 7   was probably a topic.                      15:02             7                referring to House Bill 3293.                   15:04
 8          And I would have to go back and look, but 15:02       8                       Are you familiar with this bill?         15:05
 9   the state may have put up a presentation on whatever 15:02 9                     A. Yes.                              15:05
10   their -- whatever their rule was.             15:02         10                   Q. To your knowledge, has a cisgender boy           15:05
11      Q. Do you remember when this meeting              15:03 11                 ever played on a girl's sports team?              15:05
12   occurred?                              15:03                12                       MS. GREEN: Objection to the form.             15:05
13      A. I do not.                        15:03                13                       THE WITNESS: Not to my knowledge.                 15:05
14      Q. Do you know which state proposed a rule? 15:03 14                       BY MS. KANG:                                  15:05
15          MS. GREEN: Object to the form.             15:03     15                   Q. To your knowledge, has it ever been raised 15:05
16          THE WITNESS: I believe the presentation 15:03 16                       as an issue?                             15:05
17   was from Connecticut.                       15:03           17                       MS. GREEN: Object to the form.               15:05
18   BY MS. KANG:                                15:03           18                       THE WITNESS: No.                         15:05
19      Q. Do you remember what the rule they            15:03   19                BY MS. KANG:                                  15:05
20   proposed was?                            15:03              20                   Q. Currently, if a cisgender girl wants to 15:05
21          MS. GREEN: Object to the form.             15:03     21                play football, is she permitted to do so on the      15:05
22          THE WITNESS: I don't know. They weren't 15:03 22                       boys' team?                              15:05
23   proposing a rule; they were explaining their rule. 15:03 23                      A. Yes. Because there's no girls' team at       15:05
24   BY MS. KANG:                                15:03           24                the moment.                               15:05
25      Q. Do you remember what their rule was?           15:03 25                    Q. Before H.B. 3293 was enacted, did the           15:05
                                                                   Page 114                                                                      Page 116

 1     A. I believe it was full participation by        15:03                  1 Commission allow transgender students to participate 15:06
 2 gender identity.                           15:03                            2 on sports teams consistent with their gender            15:06
 3     Q. Okay. So I'm going to ask you a few              15:03               3 identity?                               15:06
 4 questions about the Commission's policy. Before I            15:03          4         MS. GREEN: Object to the form.                15:06
 5 do so, just to be totally clear on the record, I'm    15:03                 5         THE WITNESS: Our policy ident- --               15:06
 6 just going to give you some terms that I'll explain      15:04              6 whatever the school identified them in WVEIS was how 15:06
 7 my definitions for. So whenever I ask you               15:04               7 we recognize them.                           15:06
 8 questions, this is what I mean.                  15:04                      8 BY MS. KANG:                                    15:06
 9         When I use the term "cisgender," I am         15:04                 9     Q. Can you tell me a little bit more about        15:06
10 referring to someone whose gender identity matches            15:04        10 this policy?                             15:06
11 the sex they were assigned at birth. So, for          15:04                11         MS. GREEN: Object to the form.                15:06
12 example, if someone was assigned male at birth and            15:04        12         THE WITNESS: Basically, it was to protect 15:06
13 they identify as a male, that person would be a          15:04             13 athletes from harm or unfairness because of physical 15:06
14 cisgender boy.                             15:04                           14 abilities. So whatever the school identified them        15:06
15         When I use the term "transgender," I am         15:04              15 at if -- if everybody was okay with that, they got       15:06
16 referring to someone whose gender identity does not           15:04        16 to participate.                          15:06
17 match the sex they were assigned at birth. So, for       15:04             17         If it ever came to a point where somebody       15:07
18 example, if someone was assigned male at birth but            15:04        18 was too big, too strong, or it wasn't safe for that     15:07
19 then they identify as female, that person would be a 15:04                 19 person to play, then they could appeal to the Board. 15:07
20 transgender girl or woman.                       15:04                     20 BY MS. KANG:                                    15:07
21         And so for purposes of the questions I        15:04                21     Q. Can you tell me a little bit more about        15:07
22 will be asking next, I'll be using these definitions 15:04                 22 what you mean by "it wasn't safe" for them to play?        15:07
23 for -- for clarity.                      15:04                             23     A. Could be a volleyball player who could           15:07
24         Are you all right with that?            15:04                      24 jump much higher than the girls, much stronger. And 15:07
25     A. Yes.                             15:04                              25 when he hits the ball, could hurt the -- hurt the       15:07
                                                                   Page 115                                                                      Page 117

                                                                                                                        30 (Pages 114 - 117)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                           Armistead App. 1097

 1 other participants.                      15:07                             1 looked to WVEIS to determine a student's gender?                   15:10
 2     Q. How did the Commission come up with this           15:07            2      A. We have -- we don't have access to WVEIS.               15:10
 3 policy?                               15:07                                3 We would ask the school to provide what they have                  15:10
 4     A. It was actually created by my predecessor. 15:07                    4 designated the student as in WVEIS.                        15:10
 5 And just came in in the beginnings of my time. And            15:07        5      Q. Has this always been the case?                  15:11
 6 they were just addressing an issue that hadn't come      15:07             6      A. I would assume that it's always been the            15:11
 7 to West Virginia at this point, but they wanted to      15:08              7 case. Even before we had a policy, the school                15:11
 8 have something in there as a temporary stopgap           15:08             8 determined what they put in WVEIS.                          15:11
 9 measure.                               15:08                               9      Q. Have you received any complaints about               15:11
10        And to this point, no one has written a    15:08                   10 B.P.J.'s participation?                         15:11
11 rule to be voted on -- our -- by our membership. So 15:08                 11      A. Not that I know of.                      15:11
12 that has been the -- our guidance since 2016.          15:08              12      Q. And to be clear, you haven't received any           15:11
13     Q. Who was your predecessor?                  15:08                   13 complaints about transgender students participating             15:11
14     A. Gary Ray.                         15:08                            14 in West Virginia?                               15:11
15     Q. And why did he feel the need to enact this 15:08                   15      A. No.                               15:11
16 policy?                               15:08                               16      Q. Have any transgender students ever asked             15:11
17        MS. GREEN: Object to the form.                 15:08               17 the Commission if they could participate in sports              15:11
18        THE WITNESS: As we went to the national            15:08           18 at a secondary school level?                        15:11
19 meetings more and more, people were saying this was            15:08      19         MS. GREEN: Object to the form.                     15:11
20 an issue, and so they wanted -- you know, it had not 15:08                20         THE WITNESS: I had one boy who wanted to                   15:11
21 hit West Virginia yet but wanted to have something        15:08           21 be a -- play volleyball, and we told him he couldn't 15:12
22 in place to protect the kids.                 15:09                       22 play volleyball because it was a girls' sport. And           15:12
23 BY MS. KANG:                                  15:09                       23 he said, "Then I'll be a boy -- I'll be a girl."        15:12
24     Q. Did you ever receive any complaints about         15:09            24         And -- but he wasn't -- he never did            15:12
25 this policy?                           15:09                              25 anything else with it. And we assumed he just                15:12
                                                                  Page 118                                                                       Page 120

 1      A. No.                              15:09                             1 wanted to play volleyball because it never came back 15:12
 2      Q. Do you know who specifically drafted the 15:09                     2 up.                                     15:12
 3   policy?                                15:09                             3         I did have contact with a school who said          15:12
 4      A. I believe it was probably my predecessor 15:09                     4 they had one student who one day identified as a                15:12
 5   Gary Ray and -- and the legal counsel at the time. 15:09                 5 girl, next day a boy, and back and forth. But we             15:12
 6      Q. Do you know if anyone else participated in 15:09                   6 have not heard anything more from that student.                 15:12
 7   the drafting?                            15:09                           7 So...                                   15:12
 8      A. I don't think so.                    15:09                         8 BY MS. KANG:                                       15:12
 9      Q. Was this policy ever implemented?              15:09               9      Q. When was that?                           15:12
10      A. We have never used it, if that's what you 15:09                   10      A. That would have been in the last year.             15:12
11   are asking.                             15:09                           11      Q. Do you remember which school it was from?                  15:12
12      Q. What do you mean by "never used it"?            15:09             12      A. Yes.                              15:12
13      A. Nobody ever brought up a case -- I'm not 15:09                    13      Q. Which school was it?                        15:12
14   even aware of any case of transgender participating. 15:09              14      A. South Charleston High School.                    15:12
15   Therefore, nobody ever brought it to the Board to       15:10           15      Q. So I'm going to introduce a document                15:13
16   decide whether or not it was fair or safe.         15:10                16 that's going to be marked as Exhibit 6.                 15:13
17      Q. When a school determines a student's           15:10              17         I'll let you know when it's available in        15:13
18   gender, is that always put into WVEIS?               15:10              18 your folder.                               15:13
19         MS. GREEN: Object to the form.                15:10               19         (Deposition Exhibit 6 was marked for               15:13
20         THE WITNESS: I am not sure what they put 15:10                    20         identification and is attached hereto.)       15:13
21   in WVEIS, to be honest with you. I'm not -- you         15:10           21         MS. KANG: Exhibit 6 is now available in              15:13
22   know, each school, I would assume, has rules and         15:10          22 the shared exhibit folder.                         15:13
23   regulations they have to do.                   15:10                    23 BY MS. KANG:                                       15:13
24   BY MS. KANG:                                  15:10                     24      Q. Mr. Dolan, let me know when you have had a 15:13
25      Q. Is it fair to say that the Commission       15:10                 25 chance to look at it.                        15:13
                                                                  Page 119                                                                          Page 121

                                                                                                                        31 (Pages 118 - 121)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                 Armistead App. 1098

 1      A. [Witness reviews document].                 15:13       1     BY MS. KANG:                                  15:16
 2         Okay.                            15:13                  2        Q. Did you or your staff ever consider             15:16
 3      Q. Do you recognize this document?                15:14    3     putting in this policy -- putting in a hormone         15:16
 4      A. Yeah. This was our transgender Board of 15:14           4     requirement?                              15:16
 5   Directors policy.                          15:14              5             MS. GREEN: Object to the form.                15:16
 6      Q. Is this the same policy that we were          15:14     6             THE WITNESS: No. Because we would not                  15:16
 7   discussing earlier?                        15:14              7     change the policy. I think it would -- if it was      15:16
 8      A. Yes.                              15:14                 8     going to change, it was going to be changed by a         15:16
 9      Q. So I want to draw your attention to Bullet 15:14        9     rule by our membership and was never brought forward 15:16
10   Point 1, which says [as read]:                 15:14         10     as a rule proposal.                       15:16
11            "The transgender student's school        15:14      11     BY MS. KANG:                                  15:16
12         shall make the initial determination as      15:14     12        Q. Am I right to say that this policy was not 15:16
13         to whether a student may participate in       15:14    13     a rule?                               15:16
14         interscholastic athletics in a gender      15:14       14        A. That's correct.                     15:16
15         that does not match the gender assigned        15:14   15        Q. What's the difference between this policy         15:16
16         to him or her at birth."              15:14            16     versus a rule?                           15:16
17         Did I read that correctly?             15:14           17        A. This never went before the membership to           15:16
18      A. Yes.                              15:14                18     have a vote; so I don't think it has the power of a     15:16
19      Q. Why did the Commission give the initial          15:14 19     rule.                                15:16
20   determination to the transgender student's school? 15:14 20            Q. What sort of power would that be?               15:16
21         MS. GREEN: Object to the form.                15:14    21        A. Well, this was giving guidance to a Board         15:16
22         THE WITNESS: First of all, we -- we don't 15:14 22            of Directors.                           15:17
23   know this student. There would be no way for us to 15:14 23                 But a rule is voted on and -- and approved 15:17
24   know all the factors.                       15:14            24     by the State Board of Education; so it is the rule      15:17
25         So the school is the entity that works      15:14      25     of law for high school athletics from the WVSSAC.             15:17
                                                       Page 122                                                                         Page 124

 1   closely with that student and the parents and the    15:15      1      Q. What do you mean by it provided guidance            15:17
 2   family on a daily basis.                    15:15               2 to the Board of Directors?                       15:17
 3   BY MS. KANG:                                 15:15              3      A. Would allow them to grant waivers if             15:17
 4       Q. Why did the Commission think transgender 15:15           4 somebody -- if it was unsafe or unfair to other          15:17
 5   students should be able to participate on teams      15:15      5 students or to this student.                    15:17
 6   consistent with their identity?               15:15             6      Q. By unfair to the student, do you mean            15:17
 7          MS. GREEN: Object to the form.             15:15         7 unfair to the trans student?                    15:17
 8          THE WITNESS: I assume that the school          15:15     8      A. Either one. Either one. For safety or          15:17
 9   would put them in the proper place, wherever the       15:15    9 given them advantages that made it unfair.               15:17
10   school decided based on all the factors.          15:15        10      Q. Am I right that this policy does not           15:18
11   BY MS. KANG:                                 15:15             11 mention anything about WVEIS?                           15:18
12       Q. Did you ever consider implementing a          15:15     12           MS. GREEN: Object to the form.                15:18
13   hormone requirement in this policy?               15:15        13           THE WITNESS: I don't believe it -- I          15:18
14          MS. GREEN: I'm sorry. I didn't hear what 15:15          14 don't believe it mentions WVEIS. It does say that          15:18
15   you said, Ms. Kang.                         15:15              15 the school will make the initial determination.          15:18
16          MS. KANG: Sure.                       15:15             16 BY MS. KANG:                                    15:18
17   BY MS. KANG:                                 15:15             17      Q. Under this policy, what happens if a            15:18
18       Q. Did you ever consider implementing a          15:15     18 student's gender marker in WVEIS is, let's say --          15:18
19   hormone requirement in this policy?               15:15        19 let's say, male, but the school treats the student       15:18
20          MS. GREEN: Thank you.                    15:15          20 as female? What would the SAC do in that situation? 15:18
21          Object to the form.                 15:15               21           MS. GREEN: I'll object to the form.           15:18
22          THE WITNESS: Our -- it was my                15:15      22 Speculative.                               15:18
23   predecessor's. So I'm not sure of their discussion 15:15       23           THE WITNESS: I think we would have to             15:18
24   as to whether or not they were going to put that in 15:16      24 look at all the factors that were involved in -- you 15:18
25   or not.                               15:16                    25 know, I'm not even sure what the factors would be,             15:19
                                                       Page 123                                                                          Page 125

                                                                                                              32 (Pages 122 - 125)
                                                Veritext Legal Solutions
                                                     866 299-5127
                                                                                                                       Armistead App. 1099

 1   but I think we would have to, you know, have             15:19 1                   A. Right. It had not gone through any court 15:22
 2   everything presented to us to make a determination. 15:19 2                    action. Yes.                             15:22
 3   BY MS. KANG:                                   15:19             3                 Q. Were you concerned that the policy was           15:22
 4       Q. So is it fair to say, in that case you     15:19          4             going to be challenged at some point?                15:22
 5   would not strictly follow WVEIS?                     15:19       5                 A. All of our -- all of our policies get      15:22
 6          MS. GREEN: Object to the form.                15:19       6             challenged at some point. So...                  15:22
 7          THE WITNESS: We would -- it would be in 15:19 7                             Q. Fair enough.                        15:22
 8   the cases where it was unsafe and unfair that we         15:19 8                   A. Yes.                             15:22
 9   would not be following WVEIS. If we felt like it          15:19 9                  Q. So now I'm going to introduce a document 15:22
10   was unsafe or unfair to the participants, other       15:19     10             as Exhibit 8. One moment.                        15:22
11   participants or the transgender student, then the      15:19    11                    MS. KANG: Exhibit 8 is now available in 15:22
12   Board can override it.                        15:19             12             everyone's Marked Exhibit folder.                   15:22
13   BY MS. KANG:                                   15:19            13                    (Deposition Exhibit 8 was marked for          15:22
14       Q. Okay. I'm going to ask you to turn your 15:19            14                    identification and is attached hereto.)     15:22
15   attention to a document that I'm going to be marking 15:19 15                  BY MS. KANG:                                   15:22
16   as Exhibit 7.                              15:19                16                 Q. Mr. Dolan, let me know whenever you have 15:22
17          MS. KANG: And I'll let you know when it's 15:19 17                      it open.                               15:22
18   available in everyone's folder.                  15:19          18                 A. Okay.                             15:23
19          (Deposition Exhibit 7 was marked for           15:20     19                 Q. So I know this was a while ago, but do you 15:23
20          identification and is attached hereto.)     15:20        20             remember the meeting that is referenced in             15:23
21          MS. KANG: Exhibit 7 should now be                15:20 21               Exhibit 8?                               15:23
22   available in everyone's Marked Exhibit folder.          15:20 22                   A. Not specifically. But yes.               15:23
23   BY MS. KANG:                                   15:20            23                 Q. Do you remember at all who was present at 15:23
24       Q. And let me know, Mr. Dolan, whenever you 15:20 24                       this meeting?                             15:23
25   have a chance to -- to look at it.               15:20          25                 A. It's probably in the minutes.             15:23
                                                                    Page 126                                                            Page 128

 1     A. Okay.                              15:20                              1           THE WITNESS: Can you scroll down to the 15:23
 2     Q. So this is an email that was produced by          15:20               2   next page and see...                          15:23
 3 your counsel in response to one of plaintiff's          15:20                3           MS. GREEN: Okay.                         15:23
 4 document request.                              15:20                         4           THE WITNESS: Keep going. See if                15:23
 5        Do you remember this particular email?            15:20               5   there's...                               15:23
 6     A. After I went back and searched it, yeah.          15:20               6           [Witness reviews document].                15:24
 7 And I don't remember -- I didn't remember it until I 15:21                   7           I do not remember. I would assume it was 15:24
 8 was looking for it.                           15:21                          8   all of my Board of Directors, though.               15:24
 9     Q. Is bernie.dolan@wvssac.org your email              15:21              9   BY MS. KANG:                                    15:24
10 address?                                 15:21                              10       Q. How often does the Board of Directors            15:24
11     A. It is.                         15:21                                 11   meet?                                     15:24
12     Q. Who is Daniel Swartos?                     15:21                     12       A. Mostly once a month. There a couple of           15:24
13     A. He is the executive director for the           15:21                 13   months that we don't meet. So about ten times a          15:24
14 South Dakota High School Athletic Association -- or            15:21        14   year.                                    15:24
15 Activities Association.                        15:21                        15       Q. Is this Board of Directors report given to 15:24
16     Q. Is that an association in South Dakota?          15:21               16   anyone outside of the Board of Directors?              15:24
17     A. Yes.                              15:21                              17           MS. GREEN: Object to the form.               15:24
18     Q. So I'd like to draw your attention to           15:21                18           THE WITNESS: I'm not sure because we              15:24
19 Page 2 of this pdf that's been Bates Stamped -224.         15:21            19   don't give it out anymore. So I don't know if         15:24
20 Let me know whenever you get there.                      15:21              20   that's -- if this came from the interscholastic or 15:24
21     A. Okay.                              15:21                             21   if it was Board of Directors report that somebody        15:24
22     Q. In this email you say [as read]:           15:21                     22   would have submitted.                           15:24
23          "It has not been challenged yet."        15:21                     23           I don't do it currently; so I don't know 15:25
24        To clarify, are you referring to the       15:21                     24   if it was -- who it went to in the past.          15:25
25 policy that we looked at in Exhibit 6?                 15:21                25   ///
                                                                    Page 127                                                            Page 129

                                                                                                                     33 (Pages 126 - 129)
                                                          Veritext Legal Solutions
                                                               866 299-5127
                                                                                                                               Armistead App. 1100

 1 BY MS. KANG:                                         15:25                        1         THE WITNESS: When we meet with our                     15:27
 2      Q. Did it used to go to someone before?                 15:25                2 principals and -- when we meet with our principals            15:27
 3      A. I don't know. That's what I...                15:25                       3 and also at an administrative workshop for a number            15:28
 4      Q. So I want to draw your attention to Page 2 15:25                          4 of years, we indicated that whatever they determined 15:28
 5 of the pdf. It's been Bates Stamped -283. And it's 15:25                          5 we would accept as long as it was not unsafe or           15:28
 6 Bullet Point 4 "Legal Update."                         15:25                      6 unfair.                                15:28
 7         And in Bullet Point 4, you'll see another        15:25                    7 BY MS. KANG:                                   15:28
 8 Bullet Point iv that says "Transgender."                 15:25                    8     Q. So is it fair to say that your member          15:28
 9         Read that paragraph and let me know when               15:25              9 schools were aware of this policy?                    15:28
10 you are finished.                              15:25                             10     A. Well, I would think at different times.         15:28
11      A. [Witness reviews document].                     15:25                    11 Again, the turnover at schools is high. So if --        15:28
12         Okay.                            15:25                                   12 did somebody -- every person -- did we verify that            15:28
13      Q. Regarding this specific topic, what was              15:25               13 they heard it? I don't know.                    15:28
14 discussed?                                    15:26                              14         But the turnover is relatively high at all 15:28
15         MS. GREEN: Object to the form.                   15:26                   15 of our schools, especially at the principal level.      15:28
16         THE WITNESS: Based on the information                    15:26           16 So...                                 15:28
17 there -- obviously, I can't remember in 2016 -- but            15:26             17     Q. Would it be fair to say that at one point       15:28
18 we were discussing the policy and how it was -- how                  15:26       18 you did inform the member schools about this policy? 15:28
19 schools would -- how it would work with the schools. 15:26                       19         MS. GREEN: Object to the form.                 15:28
20 BY MS. KANG:                                         15:26                       20         THE WITNESS: As long as they attended our 15:29
21      Q. And what do you mean "how it would work                  15:26           21 meetings, yes. They might not --                   15:29
22 with the schools"?                              15:26                            22 BY MS. KANG:                                   15:29
23      A. Well, it says, Number 1, the school would              15:26             23     Q. And by --                          15:29
24 make the first determination; did they meet all               15:26              24     A. -- have attended.                      15:29
25 other eligibility requirements; was it fair             15:26                    25     Q. And by "meetings," do you mean the Board               15:29
                                                                         Page 130                                                                       Page 132

 1 competition if the school allows; you know, was                 15:26             1   of Directors meetings?                          15:29
 2 there an appeal process; and then make sure that we              15:26            2      A. No. It would be our regional principals 15:29
 3 look at each case on an individual basis and kind              15:26              3   meetings that we did at the beginning of each year. 15:29
 4 of -- where the Board stood.                          15:26                       4      Q. Does the Commission report H.B. 3293?              15:29
 5      Q. What do you mean by "where the Board                    15:26             5          MS. GREEN: Object to form.                   15:29
 6 stood"?                                      15:26                                6          THE WITNESS: I don't think we ever --            15:29
 7      A. I don't know what the discussion was at               15:27               7   there was ever a position on it. I think our         15:29
 8 that point.                                  15:27                                8   position has been we support Title IX and try to        15:29
 9      Q. I notice that in this line it says           15:27                        9   give more opportunities for girls. But bottom line 15:29
10 [as read]:                               15:27                                   10   is we are not allowed to discriminate by our rule -- 15:29
11           "Editing our transgender policy and           15:27                    11   by our policies.                            15:29
12         guidelines...."                       15:27                              12   BY MS. KANG:                                    15:29
13         As far as you know, was there any editing             15:27              13      Q. By "not allowed to discriminate," do you 15:29
14 that was done to the policy?                          15:27                      14   mean also not allowed to discriminate against           15:29
15      A. I don't believe we edited anything because 15:27                         15   transgender students?                          15:30
16 it's still the exact same policy that -- that they       15:27                   16      A. I would think we are not allowed to -- we 15:30
17 approved months earlier.                             15:27                       17   are not allowed to discriminate against transgender. 15:30
18      Q. Do you remember if the Board of                      15:27               18   That's correct.                            15:30
19 Directors -- the Board of Directors unanimously                 15:27            19       Q. Could you tell me a little bit more about 15:30
20 approved this policy?                            15:27                           20   what you mean by advance Title IX?                    15:30
21      A. I don't know.                          15:27                             21      A. Well, we continued to offer more               15:30
22      Q. Do you remember if anything was ever                   15:27             22   opportunities and protect the opportunities that       15:30
23 conveyed outside of the Board of Directors regarding 15:27                       23   girls have.                              15:30
24 this policy?                                 15:27                               24          We have increased the opportunities for 15:30
25         MS. GREEN: Object to the form.                   15:27                   25   girl golfers to participate just against girls. So 15:30
                                                                         Page 131                                                                       Page 133

                                                                                                                             34 (Pages 130 - 133)
                                                            Veritext Legal Solutions
                                                                 866 299-5127
                                                                                                                    Armistead App. 1101

 1   our number of girls' golfers has risen tremendously. 15:30 1                 BY MS. KANG:                                  15:33
 2           We also have supported a girls' only        15:30       2               Q. Believe it or not, I am on my last set of 15:33
 3   wrestling invitational that has allowed more girls 15:30        3            questions. So thank you for bearing with me so far. 15:33
 4   to participate in wrestling.                   15:30            4            Hopefully, we can get this done early.             15:33
 5           We have encouraged schools to make sure         15:31 5                    So now I want to talk a little bit more     15:33
 6   that Title IX is followed when they are putting in 15:31        6            about House Bill 3293.                        15:33
 7   fields, putting in locker rooms, money for programs, 15:31 7                       Were you involved at all in the passage of 15:33
 8   and things like that.                        15:31              8            H.B. 3293?                                15:33
 9       Q. Do you believe that Title IX also protects 15:31         9                  MS. GREEN: Object to the form.               15:33
10   transgender girls?                           15:31             10                  THE WITNESS: I wouldn't say I was               15:33
11           MS. GREEN: Object to the form.               15:31     11            involved in the passage.                     15:33
12           THE WITNESS: I -- I am not sure. I think 15:31 12                          Oftentimes I get asked to come down and         15:33
13   that it -- it has been ruled that way, yes.        15:31       13            speak. And I was asked to speak to the Democratic 15:33
14   BY MS. KANG:                                    15:31          14            caucus. And I pretty much said what I said earlier. 15:33
15       Q. Have there ever been any safety concerns 15:31 15                     We support girls' sports and continued to offer more 15:33
16   with girls playing on the boys' team?               15:31      16            opportunities for them. But we're not allowed to       15:33
17           MS. GREEN: Object to the form.               15:31     17            discriminate.                            15:34
18           THE WITNESS: The girls are choosing to           15:31 18            BY MS. KANG:                                  15:34
19   participate. So I think all kids there's -- there's 15:31      19               Q. Besides the Democratic caucus, did you          15:34
20   an oppor- -- there's a possibility of injury. And 15:31        20            speak to anyone else?                        15:34
21   so, you know, it -- it's brought out in their       15:31      21               A. I had communication with Melissa White,           15:34
22   preparticipation physical that, you know, there is a 15:31 22                who was -- is the counsel for House Ed.             15:34
23   possibility of injury.                       15:32             23               Q. And did you think --                    15:34
24   BY MS. KANG:                                    15:32          24               A. And I think that --                   15:34
25       Q. To your knowledge, have there been any           15:32 25                Q. Go ahead.                           15:34
                                                                  Page 134                                                           Page 136

 1 injuries from a girl playing on a boys' team?          15:32               1       A. I don't think -- I don't think we spoke     15:34
 2          MS. GREEN: Object to the form.               15:32                2   about it. She had sent me an email about it.         15:34
 3          THE WITNESS: Oh, I'm sure. I mean, I           15:32              3       Q. Did you speak to any legislative committee 15:34
 4 don't know specifically. But there's -- people get      15:32              4   about H.B. 3293?                            15:34
 5 hurt every day in every sport. So I'm sure somebody 15:32                  5          MS. GREEN: Object to the form.               15:34
 6 has gotten hurt in football or wrestling.           15:32                  6          THE WITNESS: I spoke to the caucus. I           15:34
 7 BY MS. KANG:                                   15:32                       7   was down there as a witness in front of finance, I 15:34
 8       Q. In the context of school sports, what is     15:32                8   believe, Senate finance -- or House finance. But I 15:34
 9 competitive skill?                          15:32                          9   was never called in to -- to give an opinion or any 15:34
10          MS. GREEN: Object to the form.               15:32               10   information.                              15:34
11          THE WITNESS: Skill needed to be               15:32              11   BY MS. KANG:                                  15:34
12 successful in that sport.                     15:32                       12       Q. So you were called in as a witness but you 15:34
13 BY MS. KANG:                                   15:32                      13   didn't testify?                          15:34
14       Q. Does cross-country require competitive        15:32              14       A. They told me to be available.             15:34
15 skill?                                15:32                               15       Q. Were you told anything about H.B. 3293           15:35
16          MS. GREEN: Object to the form.               15:32               16   before it was passed?                        15:35
17          THE WITNESS: I would think so.                15:32              17          MS. GREEN: Object to the form.               15:35
18 BY MS. KANG:                                   15:32                      18          THE WITNESS: Actually, I was sent an            15:35
19       Q. Do you know whether any girls who tried         15:32            19   email from Melissa White. But when I looked at it, 15:35
20 out for cross-country at Bridgeport Middle School           15:32         20   the beginning of it was a home school bill.          15:35
21 for the fall of 2021 were unable to join the team?      15:32             21          So I assumed she sent the wrong bill.       15:35
22          MS. GREEN: Object to the form.               15:33               22   And -- but it did say "transgender" at the top. So 15:35
23          THE WITNESS: We were not involved in the             15:33       23   I sent it to the legal counsel who was helping us     15:35
24 selection. So I don't know.                    15:33                      24   with legislative activity. Or --              15:35
25 ///                                                                       25          MS. GREEN: And I'll object to the form. 15:35
                                                                  Page 135                                                           Page 137

                                                                                                                  35 (Pages 134 - 137)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                           Armistead App. 1102

 1         THE WITNESS: Okay.                           15:35                    1 would say we're following it, yes.                 15:38
 2         MS. GREEN: Caution him regarding                  15:35               2     Q. Okay. I'm going to introduce a document             15:38
 3 conversations with counsel.                       15:35                       3 as Exhibit 9, and I'll let you know when it's            15:38
 4         THE WITNESS: Okay.                           15:35                    4 available.                              15:38
 5 BY MS. KANG:                                   15:35                          5        (Deposition Exhibit 9 was marked for              15:38
 6     Q. By "counsel," was it counsel at the            15:35                   6        identification and is attached hereto.)     15:39
 7 Commission?                                  15:35                            7        MS. KANG: Exhibit 9 is now available in             15:39
 8     A. It is counsel --                   15:35                               8 the Marked Exhibits folder.                       15:39
 9         MS. GREEN: I'll just --                15:35                          9 BY MS. KANG:                                     15:39
10         THE WITNESS: Okay.                           15:35                   10     Q. And let me know when you have a chance to             15:39
11         MS. GREEN: -- object to the form.             15:36                  11 pull it up, Mr. Dolan.                      15:39
12         THE WITNESS: Okay.                           15:36                   12     A. Okay.                            15:39
13         It was counsel we've had at -- that we        15:36                  13     Q. So these are some text messages that your           15:39
14 used during legislative time.                    15:36                       14 counsel produced in response to Plaintiff's              15:39
15 BY MS. KANG:                                   15:36                         15 discovery requests. It's been Bates stamped               15:39
16     Q. Who is this person?                     15:36                         16 WVSSAC000001. And I'm going to represent to you                    15:39
17         MS. GREEN: I'll just object to the form.         15:36               17 that these are texts between you and                15:39
18 I think they're in the privilege log. We identified 15:36                    18 Stephen Baldwin.                            15:39
19 them.                                  15:36                                 19        Do you remember this conversation?                15:39
20         Do you know the name of the firm?              15:36                 20     A. Yes.                            15:39
21         THE WITNESS: Dinsmore & Shohl is the law                 15:36       21        MS. GREEN: Object to the form.                15:39
22 firm.                                 15:36                                  22        THE WITNESS: Yes, I do.                      15:39
23 BY MS. KANG:                                   15:36                         23 BY MS. KANG:                                     15:39
24     Q. Did any legislators tell you about the         15:36                  24     Q. Who is Stephen Baldwin?                      15:39
25 purpose of H.B. 3293?                            15:36                       25     A. Senator from Greenbrier County.               15:39
                                                                     Page 138                                                                        Page 140

 1         MS. GREEN: Object to the form.                 15:36                  1       Q. Is this the same Democratic office that       15:40
 2         THE WITNESS: I don't remember having that 15:36                       2   you were just talking about?                   15:40
 3 conversation with any of them. I had one email from 15:36                     3       A. Yes, ma'am.                         15:40
 4 Senator Unger, who sent me the NCAA guidelines at                 15:36       4       Q. Why did you decide to participate in this 15:40
 5 the time. It was unsolicited and didn't have             15:36                5   meeting?                                15:40
 6 anything, really, with it, just a link to the NCAA        15:36               6          MS. GREEN: Object to the form.               15:40
 7 guidelines.                              15:37                                7          THE WITNESS: Oftentimes I -- I don't feel 15:40
 8 BY MS. KANG:                                   15:37                          8   like I have a choice. When the legislature calls, I 15:40
 9     Q. Did you respond to that email?                15:37                    9   need to go down and be heard.                     15:40
10     A. I did not.                        15:37                               10   BY MS. KANG:                                  15:40
11     Q. Has the Commission taken any steps to              15:37              11       Q. Did you bring any documents with you to          15:40
12 contemplate policies or rules concerning the              15:37              12   this meeting?                             15:40
13 implementation of H.B. 3293?                         15:37                   13       A. Just the -- just our board policy.        15:40
14         MS. GREEN: Object to the form.                 15:37                 14       Q. Do you remember if you were shown any             15:40
15         THE WITNESS: The legislation 3293 charged 15:37                      15   documents at the meeting?                       15:40
16 the Department of Ed with creating the rule. So            15:37             16       A. I don't remember.                     15:40
17 we're going to wait for those guidelines to come out 15:37                   17       Q. Did the Democratic Caucus give you any           15:40
18 and then probably just bring them into our rule book 15:37                   18   documents?                                15:40
19 like we did the 2.0.                         15:37                           19       A. I don't remember if they gave me the bill 15:40
20 BY MS. KANG:                                   15:37                         20   at that time or not. So I'm not sure.           15:40
21     Q. But to be clear, if the State Board           15:37                   21       Q. So if you scroll down to the document          15:41
22 promulgates a rule, will the Commission have to              15:37           22   that's Bates Stamped -006. And I believe it's         15:41
23 follow that rule?                          15:38                             23   Page 6 of 7 of the pdf of Exhibit 9.             15:41
24     A. Our schools would have to follow it,            15:38                 24       A. Okay.                            15:41
25 which, if all of our schools have to follow it, I        15:38               25       Q. Do you know who Rucker is?                   15:41
                                                                     Page 139                                                                        Page 141

                                                                                                                          36 (Pages 138 - 141)
                                                         Veritext Legal Solutions
                                                              866 299-5127
                                                                                                                  Armistead App. 1103

 1      A. Senator Rucker is the Senate education           15:41     1      A. I believe in the Title IX document it says 15:45
 2   chair.                                 15:41                     2   you can't discriminate. And so we support Title IX; 15:45
 3      Q. Do you agree with her statement that it is 15:41           3   so we have to support the whole thing.              15:45
 4   not a real policy?                         15:41                 4      Q. You also say in your response that            15:45
 5      A. I believe it is a policy that -- but it    15:41           5   [as read]:                              15:45
 6   had not -- it didn't go through a rule-writing       15:42       6             "This has increased the quantity and     15:45
 7   process and was never challenged in court and           15:42    7          quality of opportunities for girls in     15:45
 8   upheld.                                 15:42                    8          our schools."                       15:45
 9          So we think it was an internal policy,       15:42        9          What opportunities do you believe has been 15:45
10   yes, that we give our --                      15:42             10   increased?                                15:45
11      Q. What do you mean --                       15:42           11      A. Well, when I was in school, which would           15:45
12      A. We give our board the opportunity to hear 15:42           12   have been the early -- early '70s, may or may not       15:45
13   cases of appeals.                          15:42                13   have had girls' basketball at all and wouldn't have 15:45
14      Q. Can you clarify what you mean by "internal 15:42          14   had volleyball or soccer, for sure, swim. So over 15:45
15   policy"?                                15:42                   15   the last 50 years, we have increased the sports that 15:45
16      A. Well, it wasn't in our rule book.           15:42         16   girls can participate in a hundred times over.       15:45
17      Q. So I'm going to introduce an additional         15:42     17      Q. Do you believe that B.P.J. should have the 15:45
18   document as Exhibit 10.                         15:42           18   right to these opportunities?                  15:46
19          (Deposition Exhibit 10 was marked for          15:43     19          MS. GREEN: Object to the form.               15:46
20          identification and is attached hereto.)     15:43        20          THE WITNESS: I believe we'll follow the 15:46
21          MS. KANG: Exhibit 10 is now available in 15:43           21   rule -- the law.                          15:46
22   the Marked Exhibits folder.                      15:43          22   BY MS. KANG:                                   15:46
23   BY MS. KANG:                                   15:43            23      Q. What do you mean by "follow the law"?             15:46
24      Q. Let me know when you have it up,                15:43     24      A. Whatever -- whatever the Department of Ed 15:46
25   Mr. Dolan.                                15:43                 25   writes as the rule, then we have to implement that 15:46
                                                         Page 142                                                                          Page 144

 1      A. [Witness reviews document].                 15:43          1 with all of our schools.                      15:46
 2          Okay.                             15:43                   2       Q. Do you believe that B.P.J.'s participation 15:46
 3      Q. Do you remember this email?                  15:43         3 in cross-country harms any of these opportunities?           15:46
 4      A. After I looked it back up, yes.           15:44            4          MS. GREEN: Object to the form.                15:46
 5      Q. And is that still your email address at      15:44         5          THE WITNESS: Well, "harm" is a -- a               15:46
 6   the top?                                 15:44                   6 unique word because harm might be that it might not            15:46
 7      A. It is.                            15:44                    7 physically harm somebody, but they -- you know, harm 15:46
 8      Q. Who is John Raby?                        15:44             8 might be that you take somebody's position on the             15:46
 9      A. John Raby is an Associated Press reporter. 15:44           9 team.                                   15:46
10      Q. Had you spoken to him before?                15:44        10          In cross-country, only the top seven kids     15:46
11      A. Probably in a different capacity. When I 15:44            11 get to compete on the varsity team, whether it's            15:46
12   was the director of Super Six, he was a reporter      15:44     12 middle school or high school. If you are               15:46
13   that would come to games. So...                  15:44          13 number seven and you get bumped out, there might be                15:46
14      Q. So on the first page of Exhibit 10,         15:44         14 harm.                                   15:47
15   Mr. Raby asks the question [as read]:              15:44        15          But, in general, physical harm, I don't     15:47
16            "What does the WVSSAC think of the           15:44     16 believe so.                               15:47
17          bill?"                          15:44                    17 BY MS. KANG:                                    15:47
18          And then if you go to the next page of      15:44        18       Q. Do you know if B.P.J. has, as you say,            15:47
19   Exhibit 10, in response you write [as read]:         15:44      19 bumped out another girl?                           15:47
20            "The WVSSAC has supported Title IX            15:44    20       A. I do not.                        15:47
21          for the last 50 years...Title IX has     15:44           21          MS. GREEN: Object to the form.                15:47
22          non discrimination language that we         15:44        22          THE WITNESS: Okay.                         15:47
23          support."                         15:45                  23          MS. KANG: So I am going to introduce               15:47
24          What do you mean by "Title IX has            15:45       24 another document as Exhibit 11.                      15:47
25   non-discrimination language that we support"?           15:45   25 ///
                                                         Page 143                                                                          Page 145

                                                                                                               37 (Pages 142 - 145)
                                                 Veritext Legal Solutions
                                                      866 299-5127
                                                                                                                      Armistead App. 1104

 1          (Deposition Exhibit 11 was marked for           15:47       1            But we'll take a pause here and come back          15:50
 2          identification and is attached hereto.)      15:48          2 around 3:56.                                 15:50
 3          MS. GREEN: Okay.                          15:48             3            THE WITNESS: Okay.                            15:50
 4          MS. KANG: Exhibit 11 is now available in 15:48              4            THE VIDEOGRAPHER: Going off the record.                    15:50
 5   everyone's Marked Exhibit folder.                    15:48         5 The time is 3:51.                              15:50
 6   BY MS. KANG:                                    15:48              6            (Brief recess.)                   15:57
 7      Q. Let me know when you have it up.                 15:48       7            THE VIDEOGRAPHER: Back on the record.                      15:57
 8          And, Mr. Dolan, we can take a five-minute 15:48             8 The time is 3:57.                              15:57
 9   break, I think, after -- after this email, before we 15:48         9 BY MS. KANG:                                         15:57
10   wrap up.                                   15:48                  10         Q. Mr. Dolan, I'm going to introduce another           15:57
11      A. Okay.                                15:48                  11 document as Exhibit 12.                              15:57
12          Scroll down.                         15:48                 12         A. Okay.                            15:57
13          Okay.                             15:48                    13         Q. And I'll let you know when it's in there.         15:57
14      Q. Do you recognize this email?                  15:48         14            (Deposition Exhibit 12 was marked for             15:57
15      A. I do.                              15:48                    15            identification and is attached hereto.)       15:58
16      Q. Do you remember this email?                    15:48        16            MS. KANG: Okay. Exhibit 12 is now                  15:58
17      A. I don't know if I remember it. But I           15:48        17 available in the Marked Exhibits folder.                   15:58
18   recognize it, yes.                           15:48                18 BY MS. KANG:                                         15:58
19      Q. Who is Josh Weekley?                         15:48          19         Q. Let me know when you have had a chance to               15:58
20      A. He runs RunWV which keeps track of all              15:48   20 pull it up.                                15:58
21   boys' and girls' track and cross-country times and 15:49          21         A. Scroll down.                        15:58
22   posts them on runwv.com.                           15:49          22            That's it. Okay.                   15:58
23      Q. Why did you contact him?                      15:49         23            Okay.                           15:58
24      A. I was looking for data in comparing girls' 15:49            24         Q. Is this the same Melissa White as the one          15:59
25   times to boys' times.                         15:49               25 you were referencing earlier?                         15:59
                                                           Page 146                                                                             Page 148

 1       Q. Why did you want that data?                 15:49        1            A. Yes.                            15:59
 2       A. Just curious to see if there were         15:49          2            Q. Do you know what Melissa White's position              15:59
 3   advantages that boy -- if -- what the actual data     15:49     3      is?                                    15:59
 4   showed for comparison of boys' and girls' times.        15:49 4              A. Well, on the paper it says Chief Counsel           15:59
 5       Q. Did you ask in response to any questions 15:49           5      for Committee on Education of West Virginia House of 15:59
 6   from the West Virginia Legislature?                 15:49       6      Delegates.                                15:59
 7       A. I don't remember the time frame of this; 15:49           7            Q. Do you know why Melissa White reached out                 15:59
 8   so I don't know if it was before or after or during 15:49       8      to you regarding H.B. 3293?                          15:59
 9   the legislative time.                       15:49               9            A. There may have been original language in              15:59
10       Q. Did you ever get the data from Josh           15:49     10      there that may have identified the WVSSAC. I don't                 15:59
11   Weekley?                                  15:50                11      know. But it involves athletics; so I'm sure, as a          15:59
12       A. Did not. Did not. They had computer            15:50    12      courtesy, she was sending me something.                     15:59
13   problems and so...                           15:50             13            Q. Had you spoken to her about athletics             15:59
14       Q. What did you mean by "a transgender issue" 15:50 14             before this email?                             15:59
15   on the --                               15:50                  15               MS. GREEN: I'll object to the form.            15:59
16       A. Again --                           15:50                16               THE WITNESS: This -- that -- last year or 15:59
17       Q. -- first page?                      15:50               17      in general?                               15:59
18       A. I was asking -- I was just telling him. I 15:50         18      BY MS. KANG:                                       15:59
19   was trying to compare boys' times and girls' times 15:50 19                  Q. In general.                       15:59
20   and what hap- -- you know, what the actual times         15:50 20            A. Yeah. I mean, every time there is              15:59
21   were of boys and girls competing against each other. 15:50 21          legislation involving athletics, home school,              15:59
22          MS. GREEN: Okay. I think if folks are          15:50    22      whatever, it's not unusual for them to contact me            15:59
23   all right, we will take a five-minute break, and      15:50    23      about our position or our input on it.                 16:00
24   then I should have -- let's see -- I should have a 15:50       24            Q. So you notice in the top-right corner,         16:00
25   couple more exhibits to go through.                 15:50      25      Thursday, March 11th is underlined.                     16:00
                                                           Page 147                                                                             Page 149

                                                                                                                    38 (Pages 146 - 149)
                                                   Veritext Legal Solutions
                                                        866 299-5127
                                                                                                                       Armistead App. 1105

 1        Was this the first time that Melissa White 16:00                       1   BY MS. KANG:                                   16:03
 2 spoke to you about H.B. 3293?                         16:00                   2       Q. Who is "them"?                        16:03
 3        MS. GREEN: Object to the form.                   16:00                 3       A. House -- House Education.                  16:03
 4        THE WITNESS: I believe it was. I may                16:00              4       Q. Did you provide the policy to her?           16:03
 5 have been underlining that as I was gathering my               16:00          5       A. I'm sure I did.                    16:03
 6 documents to make sure I got them all out of my                16:00          6       Q. Did she say anything to you afterwards         16:03
 7 email. So that might be why that was underlined.               16:00          7   about the transgender policy?                    16:03
 8 BY MS. KANG:                                      16:00                       8       A. Not that I recall.                  16:03
 9     Q. In this email, she asks for your thoughts          16:00               9       Q. Did the two of you discuss H.B. 3293 after 16:03
10 on H.B. 3293.                                 16:00                          10   this text conversation at any point?              16:04
11        Did you provide her with any thoughts?             16:00              11          MS. GREEN: Object to the form.               16:04
12     A. I did not. It was -- it -- I thought        16:00                     12          THE WITNESS: Not that I recall.              16:04
13 there was an attachment to that, and I sent it off.       16:01              13          MS. KANG: I'm just going to introduce one 16:04
14        Was there -- oh, yeah. There it is. Down 16:01                        14   last exhibit, Exhibit 14.                   16:04
15 at the bottom.                             16:01                             15          (Deposition Exhibit 14 was marked for          16:04
16        And I didn't -- I didn't open it. I sent    16:01                     16          identification and is attached hereto.)    16:04
17 it off to Dinsmore & Shohl.                        16:01                     17          MS. KANG: Exhibit 14 is now available in 16:04
18     Q. Did you ever have any verbal                    16:01                 18   the Marked Exhibits folder.                     16:04
19 communications with Melissa White about this bill?              16:01        19   BY MS. KANG:                                   16:04
20     A. The only communication I could -- might              16:01            20       Q. And let me know when you have it up.            16:04
21 have had is that when she asked me to come to the              16:01         21          THE WITNESS: That is 11.                    16:04
22 finance meeting and wait outside. And then I was               16:01         22          MS. GREEN: Oh. I'm sorry. Uploaded              16:04
23 told I wasn't needed.                          16:01                         23   error there.                            16:04
24        MS. KANG: I'm going to introduce a                 16:01              24          THE WITNESS: It was 9. Yeah.                  16:04
25 document as Exhibit 13.                           16:01                      25          There it is.                     16:04
                                                                     Page 150                                                           Page 152

 1          (Deposition Exhibit 13 was marked for         16:02      1                      MS. GREEN: I'm sorry.                   16:04
 2          identification and is attached hereto.)    16:02         2                      THE WITNESS: Okay.                        16:05
 3          MS. KANG: Exhibit 13 is now available in 16:02 3                         BY MS. KANG:                                  16:05
 4   everyone's Marked Exhibit folder.                  16:02        4                  Q. So on the first page that is Bates         16:05
 5   BY MS. KANG:                                   16:02            5               Stamped -286, you will see it reads "Regional         16:05
 6       Q. So let me know when you have it up. And 16:02 6                          Principals' Meetings."                       16:05
 7   once you have it up, if you could scroll to the very 16:02      7                      What is the purpose of the Regional         16:05
 8   last page that has been Bates stamped -370. Let me 16:02 8                      Principals' Meetings?                        16:05
 9   know.                                   16:02                   9                  A. It's when we make sure that any new rules, 16:05
10       A. Okay.                             16:02                 10               we go over them. And then also -- most importantly, 16:05
11       Q. Do you recognize this text exchange?          16:02     11               they get their C&I cards, which are all the coaches 16:05
12       A. Yes.                             16:02                  12               get in free to games.                      16:05
13       Q. Is the Melissa at the top of the thread     16:03       13                      And so that's the only reason why they       16:05
14   referring to Melissa White?                     16:03          14               come to the meeting, sadly to say, not to hear me      16:05
15       A. Yes.                             16:03                  15               speak.                                 16:06
16       Q. Do you know why she asked for the              16:03    16                  Q. And apologies for my ignorance. But            16:06
17   transgender policy?                         16:03              17               what's a C&I card?                          16:06
18          MS. GREEN: Object to the form.               16:03      18                  A. Courtesy and identification card. It's      16:06
19          THE WITNESS: At some point, I don't --          16:03 19                 like a free pass into all high school games.        16:06
20   I'm not sure of the date. But at some point we        16:03    20                  Q. All right. Scroll down one page in           16:06
21   were -- you know, we had told them that we had a         16:03 21               Exhibit 14 to the page Bates Stamped -287.            16:06
22   Board policy for transgender.                    16:03         22                  A. Is it the schedule?                  16:06
23          So I'm sure she was trying to get a copy 16:03          23                  Q. No. It's just the first --           16:06
24   of that.                               16:03                   24                  A. Regional Principals' Meeting?               16:06
25   ///                                                            25                  Q. That's correct.                     16:06
                                                                     Page 151                                                           Page 153

                                                                                                                     39 (Pages 150 - 153)
                                                           Veritext Legal Solutions
                                                                866 299-5127
                                                                                                                            Armistead App. 1106

 1      A. First slide?                     16:06                               1 current position is that gender is identified in          16:09
 2      Q. That's -- that's correct.            16:06                           2 WVEIS," would you have to depend on the school's                  16:09
 3      A. Okay.                           16:06                                3 determination?                              16:09
 4      Q. So are these the slides that were        16:06                       4       A. Yes.                            16:09
 5   presented at this meeting?                   16:06                         5       Q. Can the information in WVEIS for someone's 16:10
 6      A. Yes.                           16:06                                 6 gender be changed?                                16:10
 7      Q. Do you know who prepared these slides?         16:06                 7          MS. GREEN: Object to the form.                   16:10
 8      A. Each of us prepared our -- our portion,     16:06                    8          THE WITNESS: I'm not sure what the rules            16:10
 9   myself and the three assistants. So we all have     16:06                  9 are for WVEIS.                                  16:10
10   different areas to cover.                  16:07                          10 BY MS. KANG:                                      16:10
11      Q. By "three assistants," you mean your three 16:07                    11       Q. Do you know who contributes information to 16:10
12   assistant executive directors?               16:07                        12 WVEIS?                                     16:10
13      A. Uh-huh.                           16:07                             13          MS. GREEN: Object to the form.                   16:10
14      Q. So I want to draw your attention to what's 16:07                    14          THE WITNESS: Each school does, but I'm                 16:10
15   been Bates stamped -346. Apology if I -- will       16:07                 15 not sure, like, who in each school.                  16:10
16   identify the page number in a moment.              16:07                  16 BY MS. KANG:                                      16:10
17          So it is Page 61 of the pdf.         16:07                         17       Q. Do you remember if this slide was                16:10
18      A. Okay.                           16:07                               18 discussed during the regional principals' meeting?           16:10
19      Q. Do you recognize this slide?             16:07                      19       A. Probably was. I would say yes.                 16:10
20      A. I'm not there yet.                  16:07                           20       Q. What was discussed?                       16:10
21          MS. GREEN: I'm sorry.                  16:07                       21          MS. GREEN: Object to the form.                   16:10
22   BY MS. KANG:                                16:07                         22          THE WITNESS: Just what was on the slide,               16:10
23      Q. Oh. I'm sorry.                     16:07                            23 that current law is being challenged, and we were            16:10
24      A. Yes.                           16:08                                24 waiting for final ruling from the Department of Ed.             16:10
25      Q. Do you know who prepared this slide?          16:08                 25 ///
                                                                    Page 154                                                                         Page 156

 1     A. This would have been Cindy Daniel.                16:08               1 BY MS. KANG:                                      16:10
 2     Q. And she is one of your --                 16:08                       2       Q. Anything else?                         16:10
 3     A. Assistant executive directors.               16:08                    3       A. As it relates to transgender as it relates 16:10
 4     Q. So in the second bullet point here, it         16:08                  4 to this slide, you mean?                          16:10
 5 says [as read]:                             16:08                            5       Q. That's correct.                    16:11
 6           "WVSSAC's current position is that           16:08                 6       A. I don't think there was anything more            16:11
 7         gender is identified in WVEIS for            16:08                   7 discussed, from my knowledge.                           16:11
 8         athletic participation purposes."           16:08                    8          MS. KANG: So I believe that is all my            16:11
 9         What does this mean?                    16:08                        9 questions.                                16:11
10     A. Well, I think this was before the ruling         16:08               10          I'm going to go off the record for about       16:11
11 that B.P.J. could participate; so that we were still 16:08                  11 five minutes or so and see if there's anything else         16:11
12 reiterating it in our policy at the time until we       16:08               12 I need to ask.                             16:11
13 got the final ruling from the Department of Ed.             16:09           13          But, otherwise, I think we're at the       16:11
14     Q. Just to be clear, if someone's gender in        16:09                14 finish line, Mr. Dolan.                         16:11
15 WVEIS is male, does that mean they would have to                16:09       15          THE WITNESS: Good.                          16:11
16 play on the boys' team?                         16:09                       16          THE VIDEOGRAPHER: Off the record. The                     16:11
17     A. Yes.                             16:09                               17 time is 4:11.                             16:11
18     Q. Before H.B. 3293 was enacted and under                16:09          18          (Brief recess.)                   16:17
19 your trans policy, did you just rely on the school's 16:09                  19          THE VIDEOGRAPHER: Back on the record.                     16:17
20 determination of gender or would you go into WVEIS               16:09      20 The time is 4:18.                           16:17
21 and look at WVEIS?                              16:09                       21          MS. KANG: Mr. Dolan, I am finished asking 16:17
22     A. We don't have access to WVEIS; so we                  16:09          22 my questions. I will reserve the right to ask any          16:17
23 wouldn't be able to. And, to our knowledge, we               16:09          23 questions depending on other parties' questions.            16:18
24 didn't have any other cases prior to this.            16:09                 24 I'll also reserve the right to ask questions if         16:18
25     Q. So in this slide, when it says "the           16:09                  25 there are changes in the errata. But otherwise I           16:18
                                                                    Page 155                                                                         Page 157

                                                                                                                          40 (Pages 154 - 157)
                                                          Veritext Legal Solutions
                                                               866 299-5127
                                                                                                                                Armistead App. 1107

 1 think we're -- you're done with me for today.               16:18               1     A. I don't --                         16:20
 2        THE WITNESS: Okay. Thank you.                        16:18               2     Q. Go ahead.                             16:20
 3        THE VIDEOGRAPHER: Is there anybody else                      16:18       3     A. I don't remember if it was on this past             16:20
 4 with questions or should I go ahead and close out?            16:18             4 year -- it was on this year with Cindy's slide, but         16:20
 5        MR. SCRUGGS: This is Jonathan Scruggs for 16:18                          5 normally it was on mine.                           16:20
 6 the intervenor. No questions from us.                  16:18                    6          So I don't -- I would have to go back and         16:20
 7        MS. MORGAN: This is Kelly Morgan.                      16:18             7 check all my -- if we record them. And if you                16:20
 8        No questions for the State Board and            16:18                    8 didn't go to the meeting, then you were able to              16:20
 9 Superintendent Burch.                              16:18                        9 listen to the recording.                       16:20
10        MR. CROPP: This is Jeffrey Cropp for                 16:18              10     Q. Okay. This policy -- excuse me.                 16:20
11 Harrison County Board of Education and Dora Stutler. 16:18                     11          The policy was never voted on by the              16:21
12                                     16:18                                      12 member schools, the transgender policy?                     16:21
13                EXAMINATION                          16:18                      13     A. That's correct.                       16:21
14 BY MR. CROPP:                                      16:18                       14          MR. CROPP: I don't have any further                16:21
15     Q. I just have a couple of follow-up              16:18                    15 questions.                                 16:21
16 questions, Mr. Dolan.                          16:19                           16          Thank you.                         16:21
17     A. Okay.                               16:19                               17          MR. CAPEHEART: Curtis Capeheart for the                   16:21
18     Q. Regarding Exhibit 6, which is the               16:19                   18 State.                                   16:21
19 transgender policy, was a copy of that policy ever           16:19             19          I have no questions.                  16:21
20 distributed to the member schools?                    16:19                    20          Thank you, Mr. Dolan.                     16:21
21     A. I don't believe so.                   16:19                             21          THE WITNESS: Thank you.                           16:21
22     Q. Okay. Was a copy of the transgender                 16:19               22          THE VIDEOGRAPHER: Okay. That looks like                     16:21
23 policy ever given to the principals?                 16:19                     23 everybody. So I'll go ahead and close out unless             16:21
24     A. I don't believe so.                   16:19                             24 there is anything else.                        16:21
25     Q. Was a copy of that transgender policy ever 16:19        25                          THE REPORTER: And this is the reporter.               16:21
                                                         Page 158                                                                                       Page 160

 1 given to the County Boards of Education?                    16:19               1          I did hear that there will be an errata     16:21
 2     A. I don't believe so.                   16:19                              2 sheet. So is the witness reviewing?                   16:21
 3     Q. Was a copy of the transgender policy ever             16:19              3          MS. GREEN: Yes. We'll read and sign.                16:21
 4 given to the county superintendents?                   16:19                    4 And if I could --                            16:21
 5     A. I don't believe so.                   16:19                              5          This is Roberta Green.                    16:21
 6     Q. You mentioned that -- at a regional             16:19                    6          So if I could please have it sent to me,      16:21
 7 meeting that that policy was reviewed with the               16:19              7 and I'll get with Mr. Dolan.                       16:21
 8 principals who attended the -- that meeting.               16:19                8          THE REPORTER: Thank you.                           16:21
 9        But my question is, is that -- was that        16:19                     9          THE VIDEOGRAPHER: Thank you.                           16:21
10 just at the first meeting where the policy was             16:19               10          We are off the record at 4:22 p.m. EST,           16:21
11 introduced, or did you go over that policy every             16:19             11 and this concludes today's testimony given by                16:22
12 regional meeting after it was introduced?                  16:19               12 30(b)(6) Witness Bernie Dolan. The total number of                 16:22
13        MS. GREEN: Object to the form.                  16:19                   13 Media Units used was three. And will be retained by 16:22
14        THE WITNESS: Normally, we would -- you                      16:20       14 Veritext Legal Solutions.                          16:22
15 mean each year? Or do you mean, like, when we do                   16:20       15          (Whereupon, at 4:22 p.m., the deposition
16 ten of them, was it brought up at each ten?                16:20               16          of BERNARD DOLAN was adjourned.)
17 BY MR. CROPP:                                      16:20                       17                --- oOo ---
18     Q. Each year. So it was introduced in one              16:20               18
19 year. My question is at the subsequent years -- did 16:20                      19
20 you go over that policy during the subsequent years           16:20            20
21 at that -- at all ten regional meetings?             16:20                     21
22     A. I would say it was -- I don't know when it 16:20                        22
23 came off, but it was on the agenda for a number of            16:20            23
24 years, yes.                                16:20                               24
25     Q. Whether you say --                      16:20                           25
                                                                       Page 159                                                                           Page 161

                                                                                                                              41 (Pages 158 - 161)
                                                          Veritext Legal Solutions
                                                               866 299-5127
                                                                                                                                     Armistead App. 1108

 1                                                                                 1 ROBERTA F. GREEN, ESQ.
 2                                                                                 2 RGREEN@SHUMANLAW.COM
 3                                                                                 3                             February 28, 2022
 4        I, BERNARD DOLAN, hereby certify under penalty                           4 RE: B.P.J. vs. WEST VIRGINIA STATE BOARD OF EDUCATION
 5 of perjury under the laws of the State of California that                       5 February 11, 2022, BERNARD DOLAN, JOB NO. 5079532
 6 the foregoing is true and correct.                                              6 The above-referenced transcript has been
 7        Executed this _________________ day of
                                                                                   7 completed by Veritext Legal Solutions and
 8 _________________, 2022, at ___________________,
                                                                                   8 review of the transcript is being handled as follows:
 9 California.
                                                                                   9 __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext
10
                                                                                  10   to schedule a time to review the original transcript at
11
                                                                                  11   a Veritext office.
12     __________________________________
                                                                                  12 __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF
13     BERNARD DOLAN
                                                                                  13   Transcript - The witness should review the transcript and
       30(b)(6) DEPOSITION
                                                                                  14   make any necessary corrections on the errata pages included
14     WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION
                                                                                  15   below, notating the page and line number of the corrections.
15
                                                                                  16   The witness should then sign and date the errata and penalty
16
                                                                                  17   of perjury pages and return the completed pages to all
17
                                                                                  18   appearing counsel within the period of time determined at
18

19
                                                                                  19   the deposition or provided by the Code of Civil Procedure.

20                                                                                20 __ Waiving the CA Code of Civil Procedure per Stipulation of

21                                                                                21   Counsel - Original transcript to be released for signature

22                                                                                22   as determined at the deposition.

23                                                                                23 __ Signature Waived – Reading & Signature was waived at the
24                                                                                24   time of the deposition.
25                                                                                25
                                                                       Page 162                                                                       Page 164

 1    STATE OF CALIFORNIA                                      )                   1 _x_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF
 2    COUNTY OF LOS ANGELES                                        ) SS.           2    Transcript - The witness should review the transcript and
 3                                                                                 3    make any necessary corrections on the errata pages included
 4           I, Dayna Hester, C.S.R. No. 9970, in                                  4    below, notating the page and line number of the corrections.
 5    and for the State of California, do hereby certify:                          5    The witness should then sign and date the errata and penalty
 6           That, prior to being examined, the witness named                      6    of perjury pages and return the completed pages to all
 7    in the foregoing deposition was by me duly sworn to                          7    appearing counsel within the period of time determined at
 8    testify to the truth, the whole truth, and nothing but the                   8    the deposition or provided by the Federal Rules.
 9    truth;
                                                                                   9 __ Federal R&S Not Requested - Reading & Signature was not
10           That said deposition was taken down by me in
                                                                                  10    requested before the completion of the deposition.
11    shorthand at the time and place therein named and
                                                                                  11
12    thereafter reduced to typewriting under my direction, and
                                                                                  12
13    the same is a true, correct, and complete transcript of
                                                                                  13
14    said proceedings;
                                                                                  14
15           That if the foregoing pertains to the original
                                                                                  15
16    transcript of a deposition in a Federal Case, before
                                                                                  16
17    completion of the proceedings, review of the transcript
18    { XX } was { } was not required;                                            17

19           I further certify that I am not interested in                        18
20    the event of the action.                                                    19
21           Witness my hand this 26th da day of February,                        20
22    2022.                                                                       21
23                                                                                22
                    <%18516,Signature%>                                           23
24                  Certified Shorthand Reporter                                  24
25                  for the State of California                                   25
                                                                       Page 163                                                                       Page 165

                                                                                                                                 42 (Pages 162 - 165)
                                                               Veritext Legal Solutions
                                                                    866 299-5127
                                                                     Armistead App. 1109

 1 B.P.J. vs. WEST VIRGINIA STATE BOARD OF EDUCATION
 2 BERNARD DOLAN (#5079532)
 3         ERRATA SHEET
 4 PAGE_____ LINE_____ CHANGE________________________
 5 __________________________________________________
 6 REASON____________________________________________
 7 PAGE_____ LINE_____ CHANGE________________________
 8 __________________________________________________
 9 REASON____________________________________________
10 PAGE_____ LINE_____ CHANGE________________________
11 __________________________________________________
12 REASON____________________________________________
13 PAGE_____ LINE_____ CHANGE________________________
14 __________________________________________________
15 REASON____________________________________________
16 PAGE_____ LINE_____ CHANGE________________________
17 __________________________________________________
18 REASON____________________________________________
19 PAGE_____ LINE_____ CHANGE________________________
20 __________________________________________________
21 REASON____________________________________________
22
23 ________________________________ _______________
24 WITNESS               Date
25
                                                 Page 166




                                                                         43 (Page 166)
                                          Veritext Legal Solutions
                                               866 299-5127
                                                                     Armistead App. 1110

[& - 2300]

          &             10 8:4 24:8 81:4      138 74:18            1:35 59:11
 & 4:11 5:4 12:2,20       83:8,21 142:18,19   139 80:7             1st 60:16
   138:21 150:17          142:21 143:14,19    14 7:4 8:10 26:15              2
   164:23 165:9         100 56:20,22,23         63:22 99:4 110:8
                                                                   2 7:14 19:22,23
                        10001-2157 2:15         152:14,15,17
          0                                                          33:19,22 34:2,5,5
                        10004 3:10              153:21
 0 101:1                                                             34:14,14,18 38:1
                        10005-3919 3:21       14.pdf 7:13
 0001 7:13                                                           43:20,23 52:5
                        103 7:18              140 8:3
 0002 7:14                                                           59:9 112:14
                        104 5:20              1411 4:6
 0003 7:16                                                           127:19 130:4
                        10th 34:8             142 8:4
 0004 7:17                                                         2.0 44:7 54:21
                        11 1:22 2:5 8:6 9:2   146 8:6
 0005 7:19                                                           55:1 61:8
                          24:20 97:18         148 8:7 106:3,6,14
 0006 7:20                                                         2.0. 60:20 139:19
                          145:24 146:1,4      15 63:19 83:20
 0007 7:22                                                         20 39:15 40:2
                          152:21 164:5          92:24
 0008 7:23                                                           65:25 66:23 73:15
                        11.pdf 7:17           15.pdf 7:20
 0009 8:3                                                            83:20 94:5 107:25
                        1144 3:5              151 8:9
 0010 8:5                                                            108:3
                        11th 9:7 149:25       15100 5:14
 0011 8:6                                                          200 4:6
                        12 8:7 25:7 37:21     152 8:10
 0012 8:8                                                          2000 35:18,18
                          39:6 57:23 69:23    158 7:5
 0013 8:9                                                          2001 35:18
                          95:25 96:1,2        15th 3:5 49:1
 0014 8:11                                                         2012 31:17
                          100:11,12 108:24    16 63:12,18,19,21
 00316 1:7 9:23                                                    2014 31:17
                          148:11,14,16          64:5
 006 141:22                                                        2016 92:13 118:12
                        120 3:20              17 70:8 92:13
 01.pdf 8:3                                                          130:17
                        121 7:20                106:3,4,13,15,15
 02.pdf 7:22                                                       2018 100:1
                        122 100:24              106:17
 03.pdf 8:6                                                        2019 64:23,25
                        124 100:21,22         17.pdf 8:9
 04.pdf 8:8                                                          100:1,2
                          101:5               18 7:12 37:19
 06.pdf 8:5                                                        2020 97:23 100:2
                        125 3:9                 99:11
 07.pdf 7:23                                                       2021 47:25 97:23
                        126 7:21              18.pdf 7:19
 08.pdf 8:11                                                         97:24 98:4 135:21
                        127 64:6,8            18225 65:11 66:3
 09.pdf 7:16                                                       2022 1:22 2:5 9:2
                        127-1-2 65:3          18516 163:23
                                                                     9:7 34:9 97:24
          1             127-1-3 67:9          19 39:4 73:10
                                                                     98:4 162:8 163:22
 1 7:12 9:16 18:14      127-1-4 70:11           99:11
                                                                     164:3,5
   18:15,20 19:4,5,17   127-1-8 73:17         19.pdf 7:14
                                                                   2025.520 164:9,12
   19:19 27:8 43:19     127-1-9 80:9          1900 4:20
                                                                   20th 2:21
   59:5 87:13,15        128 7:23              1916 38:8 64:18
                                                                   21 74:18
   122:10 130:23        13 8:9 25:19 104:2      66:12
                                                                   212 2:16 3:10,21
   165:1                  108:20 150:25       19th 3:20
                                                                   22 80:7
 1,6 63:21                151:1,3             1:20 59:6
                                                                   224 127:19
 1.5 84:5               137 73:15             1:30 59:2
                                                                   2300 3:5


                                                                                Page 1
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                     Armistead App. 1111

[25 - accomplish]

 25 81:4 83:9            136:6,8 137:4,15    500 4:14              8.5 74:22
 25301 4:6,14            138:25 139:13,15    502-2119 5:21         8.7 76:22,24
 25305 4:21              149:8 150:2,10      5079532 1:24          8.8 78:17
 25339-3952 3:15         152:9 155:18          164:5 166:2         8.8. 76:23
 26330 5:6             33 7:14               51 93:13              80202-2686 3:5
 26th 163:21           345-1400 4:7          549-2569 3:10         809-8585 3:21
 28 164:3              346 154:15            55 2:15               81 35:14
 283 130:5             365 92:10             558-2021 4:21         85 35:14,15 52:2
 286 43:5 44:22        370 97:19 151:8       566-4121 3:6          85260 5:14,20
   50:2 153:5          371 98:23 100:13               6                      9
 287 153:21            393-4614 3:16
                                             6 1:19 2:1 7:20       9 8:3 23:19,20
 2:21 1:7 9:23         3952 3:15
                                               9:17 12:4 17:24       64:23 95:25 96:1
 2:49 112:15           3:01 112:20
                                               18:1,23,24 21:22      96:2 108:23 110:7
          3            3:51 148:5
                                               21:23 22:11,15        140:3,5,7 141:23
                       3:56 148:2
 3 2:21 7:15 20:5,6                            29:18 59:10 69:23     152:24
                       3:57 148:8
   46:25 47:2,4,9,24                           85:17 92:9 112:19   90th 5:14
   63:12 64:5 67:8               4             121:16,19,21        91 7:17
   70:8 73:11,15       4 7:17 20:18 21:3       127:25 141:23       914 3:16
   74:19 80:6 85:16      91:17,20,22 99:4      158:18 161:12       9280 5:20
   87:13,23 91:11        130:6,7               162:13              933-8145 5:6
   105:21 106:2,6      4.2.b. 72:5           600 4:14              94111-4004 2:22
   112:18              400 5:5               60s 66:13             99 35:18 51:21
 3,052 101:4           415 2:22              61 154:17               52:1,5
 3.1. 67:11            444-0020 5:15         693-2000 2:22         9970 1:25 2:8
 3.8 106:5,8 107:16    47 7:15               6th 39:6 97:16          163:4
 3.8. 106:12,24        479-6849 2:16                  7                      a
 30 1:19 2:1 9:17      480 5:15,21
                                             7 7:21 18:23 22:17    abarr 3:6
   12:4 13:19,23       4:11 157:17
                                               22:25 100:10        abilities 117:14
   17:24 18:1 29:18    4:18 157:20
                                               126:16,19,21        ability 76:18,19
   35:7 45:16 59:10    4:22 161:10,15
                                               141:23              able 44:17 47:8
   66:23 112:19                  5           700,000 84:10           51:3 123:5 155:23
   161:12 162:13
                       5 7:18 13:19,23       707 13:20               160:8
   165:1
                         21:5,14 83:21       70s 144:12            absorbed 69:18
 300,000 84:4
                         103:14,15,17,24     720 3:6               accept 132:5
 304 4:7,15,21 5:6
                         104:2 108:15,18     720-0711 4:15         access 46:14 47:1
 31 106:19
                         110:7               75 67:5                 47:9 120:2 155:22
 32 66:25,25
                       50 67:3 81:4 83:10             8            accessing 34:20
 3293 23:9 25:21
                         93:14 143:21                                91:25 103:19
   26:9 58:15 113:13                         8 7:23 23:6,7
                         144:15                                    accomplish 45:19
   113:13,14,16,24                             97:16 128:10,11
   116:6,7,25 133:4                            128:13,21

                                                                                Page 2
                                Veritext Legal Solutions
                                     866 299-5127
                                                                        Armistead App. 1112

[accurate - assistants]

 accurate 30:12           adopted 72:12           133:14,16,17        appearances 2:10
   36:13 53:8 65:17       adoption 56:18          134:3 136:16          2:25 3:1,25 4:1,25
   65:18 67:23 71:1       advance 133:20        allowing 90:9           5:1,25 6:1 10:10
   72:19 73:24 75:11      advantage 89:13         105:9               appearing 2:7
   77:12 79:5 110:14        89:15 90:16         allows 131:1            164:18 165:7
   110:14 111:7           advantages 125:9      amendments            apply 58:8
 accurately 52:20           147:3                 50:11               appointed 62:19
   53:2                   advisable 78:22,24    amends 50:10            62:22
 acknowledge                79:10               american 3:8,12       appreciate 21:21
   13:17                  advise 57:11            11:6                appropriate 49:5
 aclu 11:10,21            aed 84:17             andrew 3:4 10:25        49:20
 aclu.org 3:11            aeds 82:2               110:12              approve 31:21,21
 acluwv.org 3:16          affiliations 10:11    angeles 13:20           42:4
   3:17                   affirm 14:8             163:2               approved 124:23
 action 1:7 10:7          afford 113:9          annual 50:3             131:17,20
   128:2 163:20           afternoon 9:5         anonymous 79:16       april 49:10
 activities 1:10,20         10:24 14:21 15:1      80:3                area 64:9
   2:2 4:2 44:20 65:8     age 44:10 60:15       answer 7:8 15:17      areas 154:10
   66:15 67:18 70:23        88:6,10               15:20 40:17 44:1    arizona 5:14,20
   71:7,25 72:9,15        agenda 59:21            53:4 56:12 62:8     armistead 1:16
   75:2,7,18 99:12,13       159:23              answers 15:14           5:8
   127:15 162:14          ago 16:16 17:14         20:15 21:2,17       arrest 57:14
 activity 95:4              86:15,19 88:23        22:14 23:3,16       asked 77:25 82:14
   137:24                   128:19                24:5,18 25:5,17       120:16 136:12,13
 actual 18:24 52:2        agree 9:14 28:18        26:3,25 55:19         150:21 151:16
   147:3,20                 34:13,25 39:17      anybody 51:2,6        asking 27:15 96:8
 additional 13:22           142:3                 158:3                 96:23 108:11
   39:3 61:21 142:17      agreed 71:14          anymore 129:19          115:22 119:11
 additionally 14:2        ahead 19:12 48:8      apologies 106:18        147:18 157:21
 address 13:20              86:14 93:24 111:9     153:16              asks 143:15 150:9
   127:10 143:5             111:14 136:25       apologize 26:13       assign 29:23 30:1
 addressing 118:6           158:4 160:2,23      apology 154:15          30:6
 adflegal.org 5:15        al 9:20               apparently 65:21      assigned 30:4
   5:16,16,17             alice 94:20           appeal 32:1,2 45:5      38:17 115:11,12
 adjourned 161:16         allegation 68:18        45:7,14 46:2,7        115:17,18 122:15
 administer 73:20         alliance 5:9 13:5       62:8 117:19 131:2   assistant 30:3,8
   74:1                   allow 107:14          appeals 31:24 69:1      32:22 35:23 37:23
 administration             110:23 117:1          69:2 142:13           37:24 52:8,9 56:5
   50:21                    125:3               appear 33:21            95:8 154:12 155:3
 administrative           allowed 58:11         appearance 10:13      assistants 57:7
   55:17 132:3              113:2 133:10,13                             154:9,11

                                                                                   Page 3
                                   Veritext Legal Solutions
                                        866 299-5127
                                                                       Armistead App. 1113

[associated - believe]

 associated 143:9        attending 10:1,9        18:1 29:18 43:23      130:16
 association 37:4          13:6 82:25            59:10 112:19        basically 56:7
   39:9,12 63:6          attention 65:2          161:12 162:13         99:19 104:17
   93:13 127:14,15         67:7 68:11 70:7       165:1                 117:12
   127:16                  72:4 74:21 76:22    b.p.j. 1:5 2:3,11     basis 42:3 78:25
 associations 93:12        87:4 104:1 110:6      3:2 9:18 28:9,18      123:2 131:3
 assume 15:21              122:9 126:15          28:25 29:6 98:5     basketball 37:12
   40:15 64:8 93:23        127:18 130:4          113:17 144:17         37:24 80:15
   93:25 107:12            154:14                145:18 155:11         100:20,21,22,23
   119:22 120:6          attorney 3:8,13,19      164:4 166:1           101:5 105:12
   123:8 129:7             4:18,19,20 10:14    b.p.j.'s 29:8,13        108:10,10 144:13
 assumed 120:25            10:16 12:15 15:25     120:10 145:2        bates 63:13 73:15
   137:21                  19:20,24 20:3,12    back 49:22 52:10        74:17 80:6 85:18
 athlete 88:20             20:24 21:14 22:11     59:11 63:11 76:4      92:10 97:18 98:23
 athletes 109:21           22:25 23:13 24:2      82:2 83:15,25         100:13 106:3,13
   114:3 117:13            24:15 25:2,14,25      84:2,11,14 85:17      127:19 130:5
 athletic 35:24 36:1       26:22 27:25 28:3      99:18 105:19,21       140:15 141:22
   36:3,19,21,25 37:3      33:3                  107:8,18 108:15       151:8 153:4,21
   37:8 57:21 63:6       audio 9:13              108:18,19 112:20      154:15
   70:23 71:7,25         august 47:25            114:8 121:1,5       bathroom 91:5,7
   72:8 75:2,6,17          60:16                 127:6 143:4 148:1   bearing 136:3
   90:20 127:14          authority 65:11         148:7 157:19        beginning 10:14
   155:8                   73:20 81:23           160:6                 59:9 84:25 112:18
 athletics 59:19         authorize 67:1,5,6    background 9:9          133:3 137:20
   67:18 68:3 71:18      authorized 66:8         29:16               beginnings 118:5
   122:14 124:25           66:11               bailey 4:11           begins 85:22
   149:11,13,21          available 121:17      baileywyant.com       behalf 2:3 10:18
 attached 18:16            121:21 126:18,22      4:15,16               11:1,4,7,11,14,17
   33:23 47:3 91:21        128:11 137:14       baldwin 140:18,24       11:21,25 12:2,6,9
   103:16 121:20           140:4,7 142:21      ball 89:9 117:25        12:16,25 13:4,6
   126:20 128:14           146:4 148:17        band 66:17 67:18        16:19 17:2,5,17
   140:6 142:20            151:3 152:17          70:23 71:7 72:9       20:15 21:2,17
   146:2 148:15          avoid 16:2,3            75:2,6,17             22:14 23:3,16
   151:2 152:16          aware 28:25 29:4      bandy 4:5 12:5,6        24:5,18 25:5,17
 attachment                55:3 119:14 132:9   barr 3:4 10:24,25       26:3,25 27:12
   150:13                azlawyers.com         baseball 100:24,25    beliefs 87:5,15
 attend 35:12,16           5:21                  101:13,14,15,16     believe 16:16 17:5
 attendance 82:6                  b              101:18 104:19         18:23 30:11 31:17
   82:10                                         110:1 112:2           39:4 43:13 44:21
                         b 1:19 2:1 7:10 8:1
 attended 132:20                               based 57:15 62:5        48:21 52:1,20
                           9:17 12:4 13:19
   132:24 159:8                                  102:21 123:10         57:22 59:20 63:10
                           13:23 15:4 17:24

                                                                                  Page 4
                                  Veritext Legal Solutions
                                       866 299-5127
                                                                      Armistead App. 1114

[believe - bylaws]

   65:18 72:19 73:24   biography 34:12         79:9,10,20,20          107:14 108:5,8,9
   75:11 77:12 85:7    birth 115:11,12,17      81:10,12 90:14         108:11 110:2,20
   86:19,25 87:2,2       115:18 122:16         102:22 117:19          110:23 116:22
   88:18,21 89:25      bit 29:15 30:14,15      119:15 122:4           134:16 135:1
   90:9,14 92:16         37:10,12,13 38:5      124:21,24 125:2        146:21,25 147:4
   95:13 97:12 101:7     38:18 54:6,7 56:4     126:12 129:8,10        147:19,21 155:16
   103:13 107:20         58:20 60:3 78:4       129:15,16,21         break 16:6,7,8
   111:22 113:16,19      81:7 91:9,13          131:4,5,18,19,23       58:19 59:2 91:2,7
   114:16 115:1          113:12,13 117:9       132:25 139:21          91:10 102:23
   119:4 125:13,14       117:21 133:19         141:13 142:12          108:17 110:5
   131:15 134:9          136:5                 151:22 158:8,11        112:6 146:9
   136:2 137:8         blatt 6:5 12:13         164:4 166:1            147:23
   141:22 142:5        block 3:8 11:20,21     boards 42:8,17        breakdown
   144:1,9,17,20       blue 96:16              61:15 159:1            101:21
   145:2,16 150:4      board 1:8,9 4:9        bona 44:7             breaking 38:15
   157:8 158:21,24       5:2 9:20 12:9,21     book 49:16 54:22      breaks 72:24
   159:2,5               12:25 22:3 24:23      56:13 58:7 61:8      bridgeport 5:6
 bench 89:18             26:17 31:14,19        61:11 86:16            29:1 39:7 71:23
 beneficial 88:20        32:1,6,7 33:13,16     105:18,19 106:16       90:19 135:20
   88:21                 36:24 37:6,7          106:18 139:18        brief 59:7 112:16
 benefits 88:15          40:17,19,23,24        142:16                 148:6 157:18
   113:5,8               41:1,7,15,25 42:6    bookkeeper 32:24      bring 17:20 45:16
 bernard 1:21 2:2        42:14 45:12,17,18    bottle 17:21            139:18 141:11
   7:3 14:15 15:4        45:23 46:4,6         bottom 34:9 51:22     broad 3:9
   161:16 162:4,13       49:13 50:2,6          63:13 64:1 133:9     brought 68:10
   164:5 166:2           52:22 53:1,4,5,7      150:15                 77:18 119:13,15
 bernie 9:17 12:4        53:10,11,12,14,22    boulevard 4:20          124:9 134:21
   34:6,14 59:10         53:23,24,24 54:4,4    5:5 13:20              159:16
   112:19 161:12         54:8,9,15,18,19,21   box 3:15              budget 84:5
 bernie.dolan            54:22,23 55:4,6,8    boy 39:19 104:18      bulb 84:17
   127:9                 55:10,13,15,16,16     105:4,14 107:3       bulbs 82:2
 best 16:2 55:11         55:18,18,21,22,25     115:14 116:10        bullet 122:9 130:6
   97:2                  57:5 58:4 61:6,9      120:20,23 121:5        130:7,8 155:4
 better 29:16            62:9,10,11,14,15      147:3                bumped 145:13,19
 big 58:9 117:18         62:16,17,19,20,22    boys 37:19,21         burch 1:10 4:10
 biggest 44:11           62:23,24 63:2,3,5     39:21 59:24 96:7       12:10 13:1 158:9
 bill 23:9 25:21         64:24 67:1 72:13      96:13 97:4 100:8     business 13:19
   26:9 113:13 116:7     73:18,19 74:23        100:16,17,22           81:23
   116:8 136:6           75:3 76:1,2,6,8       101:3,4,5,15,21,25   bylaws 49:3 50:13
   137:20,21 141:19      77:1,2,6,6,16,20      102:2,8,19 103:10      72:11
   143:17 150:19         78:13,18,20,24        104:12,25 105:9

                                                                                Page 5
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                      Armistead App. 1115

[byrd - come]

 byrd 5:12             category 97:1            54:10 58:5 157:25     110:10 115:5
           c             98:20                charge 40:14,16         120:12 139:21
                       catie 5:12 13:7          47:16 54:9 57:6       155:14
 c 4:12 13:23
                       caucus 136:14,19       charged 39:15         clicking 34:21
 c&i 153:11,17
                         137:6 141:17           81:11 139:15          47:6
 c.s.r. 1:25 2:8
                       cause 14:9             charleston 1:3        close 56:22,22
   163:4
                       caution 138:2            3:15 4:6,14,21        111:16 158:4
 ca 164:9,12,20
                       ccp 164:9,12             9:22 121:14           160:23
 california 2:22
                       center 2:21            chart 52:13,18        closed 69:18
   13:21 162:5,9
                       certain 51:17 61:1       53:7,11,20 94:15    closely 123:1
   163:1,5,25
                         92:5 102:18            95:20 99:9,10       closer 84:10
 call 62:4 66:7 80:4
                       certification 81:12      101:10 110:11       club 66:18,21
   84:11
                       certified 70:17        check 83:3 160:7      clubs 39:1
 called 68:22,23
                         111:23 163:24        cheer 97:3,3 104:8    coach 37:14,16,18
   137:9,12
                       certify 162:4            104:11,15,17          37:21,23,24 50:21
 calling 104:14
                         163:5,19               110:1               coached 37:19
 calls 28:5 141:8
                       chair 142:2            chief 149:4           coaches 31:25
 camaraderie
                       chairs 89:5            choice 141:8            36:9 80:18,25
   113:11
                       challenged 127:23      choosing 134:18         81:6,8,9,13 85:5,6
 cancel 51:8
                         128:4,6 142:7        christiana 5:13         153:11
 capacity 1:11,12
                         156:23                 13:8                code 65:11 66:3,14
   4:10 5:2 17:4
                       championship           church 4:20 12:18       164:9,12,19,20
   143:11
                         17:16 35:20 36:15    cindy 155:1           cold 89:21
 capehart 4:19
                         38:12 56:14,15,25    cindy's 160:4         collect 83:2 110:17
 capeheart 12:14
                         67:1 80:13,14        cisgender 115:9       collecting 40:1,4
   12:14 160:17,17
                         83:21                  115:14 116:10,20      85:8,10
 captured 15:16
                       championships          civil 1:7 3:8,12      college 46:16,18
 card 153:17,18
                         39:4 51:4 56:11        11:7 13:18 164:19   colorado 3:5
 cardiac 57:14
                         57:8 102:16            164:20              colored 97:8
 cards 153:11
                         109:18               ckelley 5:16          column 95:20 96:3
 care 47:18
                       chance 18:4,18         clarify 20:2 21:9       96:16,22 98:5,6
 case 9:23 13:15
                         63:15 106:9            41:6 127:24           100:8,9,16
   16:18 17:1 29:5
                         121:25 126:25          142:14              columns 97:8
   77:9 113:20
                         140:10 148:19        clarity 115:23        combination 96:2
   119:13,14 120:5,7
                       change 64:24           class 67:2            come 32:1 43:25
   126:4 131:3
                         124:7,8 166:4,7,10   classes 67:5            46:1 50:3 57:24
   163:16
                         166:13,16,19         clayton 1:10 4:10       78:3 89:4 93:10
 cases 74:24 75:16
                       changed 47:17          clear 15:20,23          118:2,6 136:12
   76:15 126:8
                         124:8 156:6            27:14 48:13,22        139:17 143:13
   142:13 155:24
                       changes 47:17            49:25 71:16 96:20     148:1 150:21
 cash 83:25 84:2
                         48:3 49:8,21           104:25 109:24         153:14

                                                                                 Page 6
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Armistead App. 1116

[comes - copy]

 comes 80:13              59:23 137:3 149:5   concerning 23:9        continue 9:13
 comfortable 16:9       communicate 42:8        114:2 139:12           34:23 103:7
 coming 40:7 98:16      communicated          concerns 134:15        continued 2:25 3:1
   112:3                  26:8                concierge 6:8            3:25 4:1,25 5:1,25
 comment 41:2           communication         concludes 14:3           6:1 7:25 8:1
   49:14                  21:12 26:6 32:23      161:11                 133:21 136:15
 comments 54:1            42:10 136:21        conclusion 66:7        continuing 32:16
 commission 1:10          150:20              concussion 57:13         32:20
   1:20 2:2 4:2 16:23   communications        conducted 9:24         contracts 38:16
   17:3,6,18 20:16        15:24 42:13         conducting 72:7        contribute 95:9
   21:3,18 22:15          150:19              conference 36:19       contributes
   23:4,17 24:5,18      compare 147:19          36:20,22               156:11
   25:5,17 26:4,25      comparing 146:24      conflict 38:18         control 40:23,24
   27:12,16 28:7        comparison 147:4        71:19,21               41:7 46:12 50:2,6
   29:19 30:25 31:1     compete 70:4          connected 62:18          53:5,12,23,24 54:5
   31:4,10 34:8 35:4      145:11              connecticut              54:15,23 55:10,21
   36:13,13 38:5,7,20   competed 46:16          114:17                 62:15 64:24 65:12
   40:4,10,14,18 42:5     46:18               connection 55:20         67:17 68:2 70:21
   42:19,22,24 43:2,4   competing 147:21      consider 123:12          71:6,24 72:13
   44:13 45:4 46:12     competition 131:1       123:18 124:2         control's 54:8,9
   47:19 48:17,19       competitive 88:19     considered 40:13         55:6,13
   50:1 51:7 52:21        135:9,14              104:9,11             controlled 65:10
   54:8,20,25 56:24     competitor 79:22      consistent 90:10         66:22
   62:21 63:1,5         complaint 43:21         90:11 117:2 123:6    conversation
   65:13 67:14 70:1     complaints 118:24     consolidated             139:3 140:19
   72:1,12,13 73:7        120:9,13              69:16                  152:10
   75:24 76:1 80:12     complete 19:17        constitution 49:3      conversations 9:9
   81:13,16 83:19,23      20:15 21:2,17         50:12 72:10            138:3
   86:19,22 91:14         22:14 23:3,16       consult 19:20          conveyed 131:23
   99:16 117:1 118:2      24:5,18 25:5,17       20:11,23 21:13       cooley 2:12,18 3:3
   119:25 120:17          26:3,25 163:13        22:10,24 23:12         10:17,22,25 11:3
   122:19 123:4         completed 164:7         24:1,14 25:1,13,24     11:13,16
   133:4 138:7            164:17 165:6          26:5,21              cooley.com 2:16
   139:11,22 162:14     completion 13:24      cont'd 3:2               2:17,23,23,24 3:6
 commission's             163:17 165:10       contact 121:3          cooling 84:18
   42:20 60:4 72:24     complies 107:12         146:23 149:22        cooperation
   83:11 113:14         comply 86:20,23         164:9                  113:11
   115:4                composed 70:14        contemplate            coordinate 36:11
 committee 49:3         computer 147:12         139:12               coordinator 32:24
   50:13 57:9,20        concerned 128:3       context 135:8          copy 48:4 151:23
   58:15 59:15,17,17                                                   158:19,22,25

                                                                                  Page 7
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                      Armistead App. 1117

[copy - deposition]

   159:3                  61:15 63:8,9,10       129:23              defendants 1:14
 corner 34:9 51:22        140:25 158:11       curtis 4:19 12:14       12:20
   63:13 149:24           159:1,4 163:2         160:17              defending 5:9 13:5
 corporate 80:19        couple 17:13          curtis.r.a.capehart   define 38:20
 correct 18:21 40:2       36:24 37:7 51:15      4:22                definitions 115:7
   46:20 50:9 52:15       53:19 86:15,18      custody 13:25           115:22
   53:17 96:23            129:12 147:25       cv 1:7 9:23           del 2:14 11:15,16
   104:24 105:3           158:15                        d           delegate 70:21
   124:14 133:18        course 112:12                                 71:5,23
                                              d 5:18 7:1 15:4,4
   153:25 154:2         court 1:1 2:6 9:21                          delegates 33:7
                                              d.c. 93:14
   157:5 160:13           10:4 13:12 15:16                            149:6
                                              daily 42:3 123:2
   162:6 163:13           16:1 29:5 113:20                          delegation 65:12
                                              dakota 127:14,16
 corrections 164:14       128:1 142:7                               demand 104:4,16
                                              daniel 5:19 127:12
   164:15 165:3,4       courtesy 149:12                             democratic 136:13
                                                155:1
 correctly 65:15          153:18                                      136:19 141:1,17
                                              data 111:8,15,18
   67:21 70:24 72:17    courtroom 15:8                              denied 105:9
                                                111:18,19,23
   73:22 75:9 77:10     cover 108:22                                denver 3:5
                                                146:24 147:1,3,10
   79:3 110:11            154:10                                    department 6:3,5
                                              date 42:18 151:20
   122:17               covid 100:4                                   61:9 82:1 139:16
                                                164:16 165:5
 counsel 2:6,10 3:1     create 54:14                                  144:24 155:13
                                                166:24
   4:1,13 5:1,4,10,11   created 56:16                                 156:24
                                              day 50:5 54:16
   5:12,13 6:3 7:8        95:17 118:4                               depend 156:2
                                                121:4,5 135:5
   9:18 10:9,19         creating 139:16                             depending 81:4
                                                162:7 163:21
   12:11 28:13 34:16    cropp 5:4 7:5                                 84:11 95:4 157:23
                                              dayna 1:25 2:8
   92:5,21 99:1           12:19,19 158:10                           depends 72:25
                                                10:4 13:16 163:4
   119:5 127:3            158:10,14 159:17                            102:10,12,13
                                              days 45:16 57:8
   136:22 137:23          160:14                                    deponent 7:2 12:3
                                              deal 42:2
   138:3,6,6,8,13       cross 29:1 90:20                            deposition 1:19
                                              dealt 65:22
   140:14 149:4           98:10 102:4                                 2:1 9:1,17,24
                                              decide 74:24 75:16
   164:18,21 165:7        135:14,20 145:3                             13:24 14:3 16:12
                                                119:16 141:4
 count 39:5 45:22         145:10 146:21                               17:8,24 18:1,2,5,7
                                              decided 123:10
   90:20                curious 147:2                                 18:15,20 26:11
                                              decision 45:18
 counted 101:17         current 35:3 48:9                             27:11,21 28:2
                                                62:5
 counting 69:1            60:16 64:21 76:10                           29:18 33:22 47:2
                                              decisions 29:24
 country 29:1             85:2 111:18 155:6                           48:15 59:9 91:20
                                                30:11
   90:20 94:10 98:10      156:1,23                                    103:15 112:18
                                              deem 75:4 79:10
   102:4 135:14,20      currently 32:4                                121:19 126:19
                                              deemed 44:12
   145:3,10 146:21        37:14 38:23 40:11                           128:13 140:5
                                              deems 78:24
 county 1:9,12 5:2        48:11 60:7 63:1                             142:19 146:1
                                              defendant 1:17
   5:2 12:21 33:13        69:22 77:21 85:9                            148:14 151:1
                                                4:2,9,17 5:2,8
   35:5 42:6,8,14,17      86:22 116:20                                152:15 161:15
                                                12:16

                                                                                 Page 8
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                      Armistead App. 1118

[deposition - dues]

   162:13 163:7,10       154:10               discretionary 75:3      130:11 140:2
   163:16 164:19,22    differentiate 96:7     discriminate            141:21 142:18
   164:24 165:8,10       96:19                  133:10,13,14,17       143:1 144:1
 deputy 4:19,20 6:5    difficult 78:2,5         136:17 144:2          145:24 148:11
   12:12 77:2,5,20     dinsmore 138:21        discrimination          150:25
   78:13,20 79:20        150:17                 85:22 143:22,25     documents 19:7
 described 18:10       direct 84:15 85:21     discuss 19:24 28:2      19:25 22:1,21
 description 7:11      direction 163:12         50:4 152:9            26:7 27:3,4 28:15
   8:2                 directly 41:17         discussed 130:14        141:11,15,18
 designated 104:6      director 3:14            156:18,20 157:7       150:6
   120:4                 29:20,22 30:2,3,25   discussing 122:7      doing 14:24 83:9
 designation 109:4       31:4,7 32:5 35:23      130:18                101:20
 designee 70:15          35:24,24 36:2,3,17   discussion 123:23     dolan 1:21 2:3 7:3
   72:6,23               36:25 37:8 40:16       131:7                 9:17 12:4 14:6,15
 designees 78:13         41:15,24 55:14       disposition 77:9        14:21 15:4,5 34:6
 designer 95:17          95:8 127:13          dispute 43:8,14         34:15 47:8 59:10
 determination           143:12                 62:1                  59:13 92:2 103:21
   30:22 43:11 46:7    director's 63:6        disputed 43:15          112:7,19,22
   62:1 73:5 76:9,12   directors 30:8         disputes 30:12          121:24 126:24
   78:8 122:12,20        31:14,19 32:7,23       38:10,13 56:12        128:16 140:11
   125:15 126:2          37:3,7 40:17         distinguish 110:20      142:25 146:8
   130:24 155:20         45:12,17,23 46:5,6   distributed 158:20      148:10 157:14,21
   156:3                 53:1,4,7,11,15       district 1:1,2 9:21     158:16 160:20
 determine 22:8          55:7,8,16,19,23,25     9:22 55:18,19         161:7,12,16 162:4
   42:24 60:8 61:3       56:5 57:5 58:4         60:14                 162:13 164:5
   61:17 111:16          62:9,11 73:18,19     diving 60:3             166:2
   120:1                 74:23 76:2 77:2,7    division 1:3 9:23     dominate 107:15
 determined 45:10        77:16 78:18          doc 98:22             dora 1:11 5:2
   57:5 75:21 120:8      102:23 122:5         doctors 57:21           12:22 158:11
   132:4 164:18,22       124:22 125:2         document 18:13        drafted 119:2
   165:7                 129:8,10,15,16,21      20:9 26:8 33:19     drafting 119:7
 determines 101:23       131:19,19,23           34:1 46:24 47:11    draw 65:2 67:7
   119:17                133:1 154:12           47:14 48:10 52:2      70:7 72:4 74:21
 difference 30:18        155:3                  86:1 87:8 92:18       76:22 104:1 110:6
   79:24 104:14        disagreement             92:21,25 93:1         122:9 127:18
   124:15                29:25                  94:16,18,19 95:10     130:4 154:14
 different 45:25       discipline 32:2          95:11 97:23 98:22   drive 5:20
   62:14 69:11 83:16     73:1                   98:25 99:6 103:13   ducar 5:18,19 13:9
   95:3,3 103:12       discovery 92:22          106:15 121:15       dues 39:15,15 40:1
   109:4 111:8           99:2 140:15            122:1,3 126:15        40:5,8 85:8,10,13
   132:10 143:11                                127:4 128:9 129:6

                                                                                Page 9
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Armistead App. 1119

[duly - exhibit]

 duly 14:16 163:7         164:4 166:1          employment 67:15        82:5 89:8 110:3
 duphily 6:8            education's 53:22      enact 118:15            112:6 117:15
 duties 29:24 30:1      effect 48:11           enacted 107:11,16       160:23
   30:6                 effective 64:23          107:19,20 113:14    everybody's 88:1
           e            egnyte 34:18             116:25 155:18       everyone's 47:5
                        eight 32:11            encompassed             91:19,23 103:17
 e 7:1,10 8:1 15:4
                        either 32:1 50:21        84:19                 126:18,22 128:12
   164:9,12 165:1
                          54:10,17 62:4        encouraged 134:5        146:5 151:4
   166:3,3,3
                          68:11 97:11          enforcing 50:15       exact 57:24 66:1
 earlier 38:14
                          107:14 110:2         enrolled 44:4           131:16
   43:13 48:22 54:6
                          114:6 125:8,8          60:10               exactly 49:25
   60:7 122:7 131:17
                        elected 70:20          entitled 34:6           76:16
   136:14 148:25
                        eligibility 30:19      entity 122:25         examination 7:2
 early 136:4 144:12
                          36:12 38:15 43:11    entries 53:19           14:19 158:13
   144:12
                          43:15 44:11 60:8     equal 89:2            examined 14:17
 east 4:6,14,20 5:20
                          60:21 61:1,4,17,25   equipment 36:10         163:6
 eastern 2:4 9:3
                          62:2 74:25 75:16       89:3,7,8            example 58:9
 ed 101:9,11,13,22
                          76:10 77:3,17        errata 157:25           102:25 115:12,18
   101:24 102:8,10
                          78:8,22 79:11          161:1 164:14,16     exception 44:17
   103:10 104:7,13
                          83:9 95:15,19          165:3,5             excerpts 51:15
   108:7 110:24
                          96:6,18 98:14,18     error 152:23          exchange 151:11
   136:22 139:16
                          101:17 110:19        especially 89:2       excuse 160:10
   144:24 155:13
                          113:3 130:25           132:15              execute 76:7
   156:24
                        eligible 30:20 50:3    esq 2:13,14,18,19     executed 162:7
 ed's 61:9
                          60:22 73:5 75:22       2:20 3:4 4:4,5,12   executive 29:20,22
 edited 131:15
                        else's 78:7              5:19 164:1            30:3,8,25 31:3,6
 editing 131:11,13
                        email 21:8,10,11       est 9:7 161:10          32:5,23 36:24
 editorial 48:3
                          127:2,5,9,22 137:2   established 67:16       37:6 40:15 41:14
 education 1:9,9
                          137:19 139:3,9       estimate 68:19          41:23 55:14 56:5
   4:9 5:2 6:3,5 9:20
                          143:3,5 146:9,14       83:22                 95:8 127:13
   12:9,21,25 26:7
                          146:16 149:14        et 9:20                 154:12 155:3
   33:13,16 40:19
                          150:7,9              evaluate 29:24        exercise 75:3
   41:1,15,25 42:6,17
                        emails 21:24 22:5      evaluating 81:1       exhibit 7:11,12,13
   46:10 49:13 52:22
                          23:8 26:18 27:3,4    evaluation 83:7         7:14,14,15,16,17
   53:10,25 54:4,18
                        embarcadero 2:21       evaluations 36:10       7:17,18,19,20,20
   54:23 55:4 61:6
                        employed 33:2,2,6      event 97:4 163:20       7:21,22,23,23 8:2
   61:10,16 62:19,23
                          33:9,12,15           events 32:23 80:14      8:3,3,4,5,6,6,7,8,9
   75:5 80:18 81:6,9
                        employee 63:7            80:14 83:1,18         8:9,10,11 18:14,15
   81:10,11,12,14
                        employees 28:6           93:16 107:14          18:20,23 27:8
   82:1 85:6 124:24
                          40:10                everybody 13:12         33:19,21,22,25
   142:1 149:5 152:3
                                                 68:6 71:10 74:4       34:2,5,14,18 38:1
   158:11 159:1

                                                                                 Page 10
                                  Veritext Legal Solutions
                                       866 299-5127
                                                                        Armistead App. 1120

[exhibit - foregoing]

   46:25 47:1,2,4,5,9     125:24,25           fields 134:7            five 50:14 55:8,9
   47:24 51:15 52:7     facts 15:10 30:22     file 7:12,14,15,17        55:16 56:2 58:19
   63:12 64:5 67:8        62:6 76:11             7:18,20,21,23 8:3      107:21 146:8
   70:8 73:11,15        fails 45:19 54:17        8:4,6,7,9,10 43:21     147:23 157:11
   74:19 80:6 85:16     fair 15:21 16:10      filed 9:21 79:2         fixed 97:13
   91:11,16,17,20,22      48:6,10 53:14       fill 45:14              floor 2:21 3:20
   91:23 92:6 99:5        76:8 88:2,4 99:21   final 41:3 44:1         foldable 89:5
   103:12,13,14,15        102:9,18 108:4         52:23 53:25 54:2     folder 18:13 33:21
   103:17,18 104:2        119:16,25 126:4        62:1,12,16 155:13      34:1,21 47:1,5,6
   105:21 106:2,6         128:7 130:25           156:24                 91:23 103:18
   108:15,17 110:7        132:8,17            finally 16:5 37:2         121:18,22 126:18
   121:16,19,21,22      fall 111:25 135:21    finance 137:7,8,8         126:22 128:12
   126:16,19,21,22      falling 93:9,9           150:22                 140:8 142:22
   127:25 128:10,11     falls 97:1            financial 31:22           146:5 148:17
   128:12,13,21         familiar 18:9 46:9    financially 10:7          151:4 152:18
   140:3,5,7 141:23       66:2 116:8          find 76:15 82:6         folders 91:19
   142:18,19,21         family 123:2             93:7 105:18          folks 46:25 147:22
   143:14,19 145:24     far 42:3 64:20           107:17,18 110:21     follow 39:17 43:7
   146:1,4,5 148:11       89:3 90:5 108:2        110:25 111:6           43:20 48:17 50:20
   148:14,16 150:25       131:13 136:3        findings 77:8             54:20,25 56:19
   151:1,3,4 152:14     fashion 76:6          finds 45:4                61:14 68:13,15
   152:14,15,17         february 1:22 2:5     fine 16:25 50:23          71:11 73:6 87:1
   153:21 158:18          9:2,7 34:8 163:21      73:3 92:12             108:19 126:5
 exhibits 7:25            164:3,5             fines 80:24 81:3          139:23,24,25
   18:12 34:20 140:8    federal 13:15,17         82:24 83:6             144:20,23 158:15
   142:22 147:25          81:19 163:16        finish 16:7 106:9       followed 134:6
   148:17 152:18          165:1,8,9              157:14               following 68:6,9
 expenses 84:13,15      federation 53:10      finished 85:25            74:5 126:9 140:1
   85:3,6                 53:13 56:17 93:6       130:10 157:21        follows 14:17
 expertise 57:16          93:11,18 99:8,15    firm 10:2,5,17            164:8
 explain 115:6            99:22 114:5            138:20,22            football 35:20
 explaining 114:23      fee 39:14             first 14:16 39:13         37:23 80:16 83:19
 extent 28:13 29:11     feel 16:8 67:12          47:23 49:9 76:24       96:6,7,15,17,21,22
   66:6                   78:1 118:15 141:7      83:20 87:6,24          96:24,25 104:20
 extracurricular        felt 126:9               110:11 122:22          104:25 105:1
   65:8 66:15           female 96:18,22          130:24 143:14          110:1 116:21
           f              98:5 101:18            147:17 150:1           135:6
                          115:19 125:20          153:4,23 154:1       forbidden 112:23
 f 4:4 164:1
                        fide 44:7                159:10               forbids 113:16
 face 50:22
                        field 88:2,4          firsthand 28:16         foregoing 162:6
 factors 60:7 61:3
                                                                        163:7,15
   122:24 123:10

                                                                                  Page 11
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                      Armistead App. 1121

[forget - go]

 forget 111:3          founded 38:7,9        games 38:17 51:3         105:11,12,15
 form 28:12,20         four 17:14              82:11 90:7 143:13      107:4,14 108:6,8,9
   31:20 43:1 61:19    fourth 100:15           153:12,19              108:10 110:2,20
   64:16 67:24 68:4    frame 147:7           gary 118:14 119:5        110:22,24 111:6,8
   71:2,8 72:20 74:3   frampton 5:11         gate 83:2,20             113:17 116:23
   75:12,19 76:13        13:8                gather 30:21 94:9        117:24 120:22
   77:13 79:6,13       francisco 2:22        gathering 150:5          133:9,23,25 134:1
   84:3 86:24 87:12    frcp 165:1            gear 81:25 82:8,8        134:2,3,10,16,18
   88:5 90:2,13        free 67:12 153:12       82:14,15,16            135:19 136:15
   95:17,18 98:7         153:19              gender 88:6 90:11        144:7,13,16
   99:7,17,19,23       freedom 5:9 13:5        102:14 108:14          146:21,24 147:4
   102:11 107:6        freshman 109:3          115:2,10,16 117:2      147:19,21
   109:9 112:25          109:19,23             119:18 120:1         give 14:9 15:14
   114:15,21 116:1     freshmen 88:12          122:14,15 125:18       19:16 20:14 21:1
   116:12,17 117:4     friday 1:22 2:5 9:2     155:7,14,20 156:1      21:16 22:13 23:2
   117:11 118:17         14:25                 156:6                  23:15 24:4,17
   119:19 120:19       friend 1:5 2:4,11     general 4:18,19,20       25:4,16 26:2,24
   122:21 123:7,21       3:2 9:19              6:3 12:11 27:20        58:4 83:15 84:14
   124:5 125:12,21     front 45:11 137:7       54:1 62:18 145:15      99:22 102:25
   126:6 129:17        full 19:16 20:15        149:17,19              109:20 115:6
   130:15 131:25         21:2,17 22:14       general's 12:15          122:19 129:19
   132:19 133:5          23:3,16 24:4,17       33:3                   133:9 137:9
   134:11,17 135:2       25:4,16 26:3,24     generally 29:23          141:17 142:10,12
   135:10,16,22          115:1                 114:3                given 57:6 61:22
   136:9 137:5,17,25   funded 80:12          getting 106:20           125:9 129:15
   138:11,17 139:1     funding 81:25         girl 28:18 39:19         158:23 159:1,4
   139:14 140:21         82:8,14               96:20 101:13,16        161:11
   141:6 144:19        funds 80:10 81:19       102:5,6 105:1        giving 84:11
   145:4,21 149:15       81:21 82:21,23        110:13 115:20          113:10 124:21
   150:3 151:18          83:23                 116:20 120:23        globe 82:2 84:17
   152:11 156:7,13     furnished 78:25         121:5 133:25         go 9:14 18:12 19:2
   156:21 159:13       further 160:14          135:1 145:19           19:12 33:25 42:16
 formal 79:1,11,25       163:19              girl's 116:11            48:8 49:10,22
   80:1                furtherance 75:5      girls 29:1 37:19,22      57:12 62:12 63:11
 formula 83:16         future 52:4             37:24 39:22 59:23      73:2 78:7 82:1
 forth 121:5                     g             96:8,10,11,12,13       83:23,24 85:1,17
 forward 16:22                                 98:11 100:23,25        86:14,16 91:5,9
                       gain 61:1
   49:15 124:9                                 100:25 101:21          92:9 93:24 96:3
                       game 44:16 57:2,3
 found 78:21                                   102:1,2,20 103:4,5     100:15 103:23
                         57:3 89:4,7,21,23
 foundation 3:8,12                             103:9 104:12,22        105:19,21 107:18
                         89:24 90:1
                                               105:4,8,10,11,11       108:15,18 111:9

                                                                                Page 12
                                Veritext Legal Solutions
                                     866 299-5127
                                                                     Armistead App. 1122

[go - hearing]

   111:14 114:8          157:15                123:20 124:5        hand 14:6 51:22
   130:2 136:25        goodwin 94:20           125:12,21 126:6       63:13 163:21
   141:9 142:6         gotten 135:6            129:3,17 130:15     handbook 20:7,8
   143:18 147:25       govern 57:1             131:25 132:19         20:20 22:20,22
   153:10 155:20       governing 72:14         133:5 134:11,17       23:22,24 24:11,23
   157:10 158:4        government 81:20        135:2,10,16,22        25:10 26:17 47:12
   159:11,20 160:2,6   gracious 88:3           136:9 137:5,17,25     47:21 48:14,24
   160:8,23            grade 39:5 96:1         138:2,9,11,17         56:6 61:5 86:4,7
 goals 67:9 90:12        108:23                139:1,14 140:21       86:10
 goes 46:13 54:18      grades 39:5 97:15       141:6 144:19        handle 38:10
   99:25 103:7           108:22                145:4,21 146:3      handled 164:8
 going 9:6 16:5,22     graduated 35:14         147:22 149:15       hap 147:20
   18:13,22 19:2       grant 32:19 45:18       150:3 151:18        happen 43:16
   33:18,19 42:18        45:19 75:22,24        152:11,22 153:1       51:24 58:4,13
   46:23,24 51:14,16     76:3,5 125:3          154:21 156:7,13       68:20
   51:18,21 53:18      granted 65:13           156:21 159:13       happens 38:25
   57:3 59:5 60:2      gray 97:8               161:3,5 164:1         50:19 72:23 113:4
   67:7,10 72:3,4      great 19:1 92:10      greenbrier 140:25       125:17
   73:9 74:16 80:5       103:24              greg 95:2,7           happy 15:19 62:7
   85:17,21 91:16      green 4:4 11:18       grow 103:7            hardship 45:20,22
   92:20 94:14 95:5      12:1,1 28:12,20     growing 93:8          harm 117:13
   97:17 98:21           29:10 30:16 31:20     94:10                 145:5,6,7,7,14,15
   103:12 109:8          32:15,21 41:18      guess 53:5,6 66:14    harmful 112:22
   112:15 115:3,6        43:1 52:8 58:24       68:25 69:13         harms 145:3
   121:15,16 123:24      61:18 63:16,19,23   guessing 64:10        harrison 1:9,12
   124:8,8 126:14,15     63:25 64:11,16      guidance 118:12         5:2,2 12:21 33:13
   128:4,9 129:4         66:6 67:24 68:4       124:21 125:1          158:11
   139:17 140:2,16       71:2,8 72:20 74:3   guidelines 131:12     hartnett 2:18
   142:17 145:23         75:12,19 76:13        139:4,7,17            10:21,22
   148:4,10 150:24       77:13 79:6,13                h            head 15:15 37:21
   152:13 157:10         84:3 86:24 87:12                            53:15 90:4
                                             h 7:10 8:1 166:3
 golf 17:16 36:14        88:5 90:2,13 91:4                         headquarters 3:19
                                             h.b. 58:15 113:13
   36:15 103:4,5,9       91:6 92:5,11 98:7                         health 88:17
                                               113:14,16,24
   104:21 110:1          102:11 106:21                               113:11
                                               116:6,25 133:4
   111:16                107:6,9 109:8                             hear 31:24 123:14
                                               136:8 137:4,15
 golfers 133:25          112:11,25 113:18                            142:12 153:14
                                               138:25 139:13
   134:1                 114:15,21 116:1                             161:1
                                               149:8 150:2,10
 good 9:5 10:24          116:12,17 117:4                           heard 121:6
                                               152:9 155:18
   14:21,23 17:22        117:11 118:17                               132:13 141:9
                                             hal 5:11 13:8
   58:18,24 88:17,17     119:19 120:19                             hearing 45:11
                                             hammond 4:13
   88:19 91:3 112:5      122:21 123:7,14
                                               12:23,24

                                                                              Page 13
                                Veritext Legal Solutions
                                     866 299-5127
                                                                        Armistead App. 1123

[heat - international]

 heat 57:13 58:9         hit 45:25 118:21      identified 90:12       ineligibility 32:2
 heater 89:20,21         hits 117:25              117:6,14 121:4        45:13
 heather 1:5 2:4,11      holcomb 5:13,17          138:18 149:10       ineligible 30:21
   3:2 6:3 9:19 12:12      13:8                   155:7 156:1           44:12,19,19 45:5
 held 31:9 57:4          home 137:20           identify 104:5           45:11 60:25 75:21
   83:1                    149:21                 115:13,19 154:16    inform 132:18
 hello 11:2 12:5         honest 69:5 93:19     identity 90:11         informal 79:25
 help 56:7 82:7            119:21                 115:2,10,16 117:3     80:3
   83:17 94:15           hopefully 136:4          123:6               information 13:22
 helpful 18:24           hopping 32:18         ignorance 153:16         36:12 43:25 44:2
 helping 137:23          hormone 123:13        illness 57:13 58:9       46:10,13 47:20
 helstrom 2:20             123:19 124:3        imagine 111:2            78:25 79:17 95:9
   11:12,13              hosting 85:4          implement 144:25         99:22 130:16
 hereinafter 67:16       hour 16:6 90:24       implementation           137:10 156:5,11
 hereto 18:16 33:23      house 23:9 25:21         139:13              initia 39:14
   47:3 91:21 103:16       26:6,9 33:7         implemented            initial 43:10 62:3,4
   121:20 126:20           113:12 116:7           119:9                 122:12,19 125:15
   128:14 140:6            136:6,22 137:8      implementing           initially 39:13
   142:20 146:2            149:5 152:3,3          123:12,18             45:10
   148:15 151:2          household 44:6        important 15:10        initiation 39:14
   152:16                housekeeping 15:6     importantly            injuries 135:1
 herpes 16:18 17:1       hudson 2:15              153:10              injury 134:20,23
 hester 1:25 2:8         huh 154:13            include 56:15          input 62:25
   10:4 13:16 163:4      hundred 144:16           66:18                 149:23
 hey 43:22               hurt 107:15           included 110:4         inserting 85:13
 hframpton 5:16            117:25,25 135:5,6      164:14 165:3        instance 57:13
 hi 10:15,21 11:5,9      hutchens 6:3          includes 44:22           96:6 101:13 102:4
   11:12,15,18,20,23       12:12               inclusive 65:19          105:11 111:15
   12:23 14:21           hynes 6:7 10:2        increased 133:24       instructed 7:8
 high 35:25 36:4,22                i              144:6,10,15         instrumentalities
   37:8,20 42:9 67:4                           incur 85:4               67:15
                         idea 111:13
   88:12 93:6,12                               indicate 100:9         intended 45:20
                         ideals 87:10,19
   95:23 97:11,13                              indicated 104:4,16     intent 49:23
                         ident 117:5
   101:7 121:14                                   132:4               interact 35:9
                         identification
   124:25 127:14                               indicates 110:13       interaction 42:3
                           18:16 33:23 47:3
   132:11,14 145:12                            indirect 55:20         interested 10:7
                           91:21 103:16
   153:19                                      individual 12:18         163:19
                           121:20 126:20
 higher 84:9                                      66:25 68:16 131:3   interference 9:10
                           128:14 140:6
   117:24                                      individually 49:11     internal 142:9,14
                           142:20 146:2
 history 19:14                                 individuals 35:10      international
                           148:15 151:2
                                                                        35:17
                           152:16 153:18

                                                                                  Page 14
                                  Veritext Legal Solutions
                                       866 299-5127
                                                                     Armistead App. 1124

[interpret - know]

 interpret 56:7         issues 56:9 76:9               k             139:20 140:7,9,23
 interpretation         issuing 56:15         kanawha 4:20           141:10 142:21,23
   110:15               item 50:4,5           kang 2:13 7:4          144:22 145:17,23
 interpretations        items 15:6             10:15,16 14:20        146:4,6 148:9,16
   56:12                iv 130:8               18:17 27:8,9          148:18 149:18
 interpreted 74:5,8     ix 86:20,23 87:1       28:17,24 29:12        150:8,24 151:3,5
 interrogatory            107:13 133:8,20      30:23 32:3,19         152:1,13,17,19
   104:2 108:20           134:6,9 143:20,21    33:1,24 34:19         153:3 154:22
   110:8                  143:24 144:1,2       35:2 38:1,3 41:20     156:10,16 157:1,8
 interscholastic                  j            41:21,22 43:9         157:21
   67:17 68:3 70:1                             46:23 47:4,7        katelyn 2:13 10:16
                        j 109:2
   70:22 71:7,18,25                            52:14 58:18,22      kathleen 2:18
                        jackson 1:5 2:4,11
   72:8 75:1,6,17                              59:1,12 61:24         10:22
                          3:2 9:19 110:12
   90:20 122:14                                63:16,18,20 64:2    kbandy 4:8
                        january 49:1
   129:20                                      64:13 65:1 66:10    keep 32:17 42:18
                        jblock 3:11
 intervene 43:8,24                             68:1,7 71:4,15        129:4
                        jeffrey 5:4 12:19
 intervenor 1:17                               72:22 74:7 75:14    keeps 93:6 146:20
                          158:10
   5:8 13:3,5,7 158:6                          75:23 76:17 77:15   kelley 5:12
                        jeffrey.cropp 5:7
 introduce 10:19                               79:8,23 84:6 87:3   kelly 4:12 12:8
                        jesseca 4:20 12:18
   18:13 33:18 46:23                           87:14 88:7 90:8       13:8 34:16 158:7
                        jesseca.r.church
   91:16 103:12                                90:18,22 91:8,12    khammond 4:16
                          4:22
   121:15 128:9                                91:18,22 92:1,7,8   khartnett 2:23
                        job 1:24 164:5
   140:2 142:17                                92:15 98:9 102:17   kids 88:11 109:11
                        john 143:8,9
   145:23 148:10                               103:11,17,20          109:22 113:1,4
                        johnson 5:4 12:20
   150:24 152:13                               105:24 107:1,10       118:22 134:19
                        johnson.com 5:7
 introduced 159:11                             109:15 112:5,12       145:10
                        join 110:2 135:21
   159:12,18                                   112:21 113:7,21     kimberly 4:5 12:6
                        jonathan 5:10
 investigate 77:3                              114:18,24 116:4     kind 131:3
                          13:4 158:5
   78:1,19 79:10,19                            116:14,19 117:8     kkang 2:16
                        josh 11:21 146:19
 investigation                                 117:20 118:23       kmorgan 4:15
                          147:10
   77:17                                       119:24 121:8,21     know 15:19 18:1
                        joshua 3:8
 investigations                                121:23 123:3,11       18:18 21:20 27:3
                        jscruggs 5:15
   78:3                                        123:15,16,17          28:5,9,11,14,16
                        julie 2:19 11:3
 invitational 134:3                            124:1,11 125:16       33:20 34:3,23
                        jump 117:24
 involved 125:24                               126:3,13,17,21,23     38:16 39:7 44:22
                        junior 97:9,10,11
   135:23 136:7,11                             128:11,15 129:9       45:1 46:25 47:8
                          97:13 108:22,24
 involves 149:11                               130:1,20 132:7,22     47:14,15,15 49:20
                          109:2,3,6,7,13,22
 involving 149:21                              133:12 134:14,24      51:1,20,23 54:6
                        jv 44:16 109:22
 issue 71:17,20                                135:7,13,18 136:1     57:2 58:13,17
                        jveroff 2:23
   116:16 118:6,20                             136:18 137:11         59:22,25 60:6
   147:14                                      138:5,15,23 139:8     63:14 64:7,10,14

                                                                              Page 15
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                    Armistead App. 1125

[know - male]

  65:23,25 68:10                l          level 45:13 88:11      longer 69:8 91:9
  73:11 78:1,11        l 15:4                 95:4 120:18         look 19:12 26:18
  79:17 84:12,15       labeled 97:8           132:15                43:22 44:2 70:10
  85:5,19,24 86:3,6    lainey 1:16 5:8     lewis 63:10              94:12 99:4 111:15
  87:7 88:18 89:2,3    lambda 3:18 11:24 liberties 3:8,12           114:8 121:25
  89:7,12,13 91:6,10   lambdalegal.org        11:7                  125:24 126:25
  91:18,24 92:2          3:22              limited 44:17            131:3 155:21
  94:19,25 97:12,20    language 85:13,13      82:10,11            looked 19:6,9 20:7
  97:24 98:4 100:3       143:22,25 149:9   lindsay 6:8              21:7,24 22:19
  100:6 101:9 103:3    large 77:19 109:20 line 131:9 133:9          49:2 111:13 120:1
  103:18,21 106:9      late 66:13             157:14 164:15         127:25 137:19
  107:13 108:1,3       law 5:18 10:17         165:4 166:4,7,10      143:4
  111:22 112:1           41:4 43:6 124:25     166:13,16,19        looking 78:12 80:9
  113:25 114:4,14        138:21 144:21,23 link 139:6                100:14,20 106:5
  114:22 118:20          156:23            list 13:7 109:25         127:8 146:24
  119:2,6,22 120:11    laws 162:5          listed 98:5,12         looks 45:8 160:22
  121:17,24 122:23     leadership 113:10      101:14,17           loree 3:14 11:6
  122:24 125:25        leave 15:9          listen   160:9         los 13:20 163:2
  126:1,17,24          leaves 13:3         listing 111:23         lose 105:13
  127:20 128:16,19     left 34:9 43:19     little 29:15 30:14     losing 88:3
  129:19,23 130:3,9    legal 3:14,18 5:12     30:14 37:10,12,12   lot 113:4
  131:1,7,13,21          5:13 10:3,5 11:25    38:5 53:21 56:4     lots 45:25 113:1
  132:13 134:21,22       49:4,18 66:7         58:20 60:3 78:4     loud 67:11
  135:4,19,24            119:5 130:6          91:9,13 113:12,13   low 82:5
  138:20 140:3,10        137:23 161:14        117:9,21 133:19     lp 11:3
  141:25 142:24          164:7                136:5               lstark 3:17
  145:7,18 146:7,17    legislation 139:15  live   60:9,11         lush 89:4
  147:8,20 148:13        149:21            lives 78:9                      m
  148:19 149:2,7,11    legislative 64:6,7  living 44:5
                                                                  m 2:14 4:5 5:4
  151:6,9,16,21          137:3,24 138:14   llp 2:12,18 3:3
                                                                  ma'am 16:11,21
  152:20 154:7,25        147:9                10:17,22,25 11:13
                                                                    17:19 27:19 28:8
  156:11 159:22        legislators 138:24     11:17
                                                                    30:13 32:9 41:13
knowledge 46:15        legislature 58:14   locked 164:12
                                                                    55:24 82:20 99:24
  46:22 51:5,10          65:21 81:8 141:8     165:1
                                                                    141:3
  59:16 69:14,19         147:6             locker 90:6 134:7
                                                                  majority 40:25
  116:10,13,15         legs 58:20          log 138:18
                                                                    49:12 54:15 60:19
  134:25 155:23        letter 45:9,13      long 31:6 35:6
                                                                    60:21 101:12
  157:7                  50:23 69:8 73:1      51:16 58:10 70:6
                                                                  making 48:23
knows 28:13              80:3                 86:6 88:23 93:17
                                                                    57:14
kristen 4:13 12:24     letters 79:16          93:20 100:5
                                                                  male 96:4,16,17
                                              109:13 132:5,20
                                                                    96:18,25 97:1

                                                                             Page 16
                                Veritext Legal Solutions
                                     866 299-5127
                                                                     Armistead App. 1126

[male - mother]

  98:6 115:12,13,18     109:19 111:3          41:11 43:7 44:22     middle 29:2 39:7
  125:19 155:15         115:8 117:22          45:2 46:4 48:19       46:16,19 71:23
 males 96:13            119:12 125:1,6        50:7,17,19,25 51:2    88:11,11 90:19
 manner 78:21           130:21 131:5          51:6 55:25 56:8       97:11,14 101:8
 march 149:25           132:25 133:14,20      61:13 63:3,7          110:12 135:20
 marked 18:12,14        135:3 142:11,14       67:19 68:16 69:3      145:12
  18:15 33:19,21,22     143:24 144:23         69:8,20,25 70:4,5    million 84:5
  33:25 34:2,20         147:14 149:20         71:10,16 73:4        mine 160:5
  46:24 47:1,2,5        154:11 155:9,15       77:2,6,19 78:14,15   minute 31:13
  91:17,20,23           157:4 159:15,15       78:20 82:21 83:12     58:19 146:8
  103:15,18 121:16     means 15:8 64:23       83:23 95:6 98:16      147:23
  121:19 126:19,22      71:9 95:23            98:17 132:8,18       minutes 128:25
  128:12,13 140:5,8    measure 118:9          158:20 160:12         157:11
  142:19,22 146:1,5    media 9:16 35:23      members 32:6,11       misinterpretation
  148:14,17 151:1,4     59:5,9 112:14,18      40:21 43:3,5 50:2     49:21
  152:15,18             161:13                55:2,10,16,23        misspellings 49:21
 marker 45:24          medical 58:1           62:17,25 63:1        mixed 104:3,7,9
  125:18               medicine 57:9,19       65:20 68:11 69:22     104:11,13,15,15
 marking 126:15         58:15 59:15,16,22     77:20 78:13,14        104:20 110:24
 marks 59:4,8          meet 27:24 49:9        85:8 93:13 104:18    modification
  112:13,17             84:22,24 129:11      membership             64:19
 match 99:11            129:13 130:24         40:22 41:10 42:9     modifications
  115:17 122:15         132:1,2               49:8 51:8 65:24       57:14 58:7
 matches 115:10        meeting 50:4,8         67:4,4 70:11         modify 56:19
 materials 85:6         84:23 114:11          106:4 111:10         modifying 57:18
 matter 9:18            128:20,24 141:5       118:11 124:9,17      moment 87:6
 matters 14:1 77:3      141:12,15 150:22     memos 42:16            106:8 116:24
  77:17 78:22 79:10     153:14,24 154:5      mention 125:11         128:10 154:16
 mccuskey 4:3 12:2      156:18 159:7,8,10    mentioned 17:1        money 40:7 81:3
 meal 83:17             159:12 160:8          27:2 43:13 44:21      82:7 83:17 134:7
 mean 19:10 21:9       meetings 114:6,6       48:21 60:6 81:6      monies 82:1
  30:24 39:12 42:1      118:19 132:21,25      85:7 159:6           monitor 94:10
  42:20 49:17 50:24     133:1,3 153:6,8      mentions 125:14       month 69:1
  54:11 55:15 57:22     159:21               messages 21:25         129:12
  66:11,16 68:3,15     melissa 26:6,9         22:6 23:8 26:18      months 129:13
  71:5 74:2,14          136:21 137:19         140:13                131:17
  75:15 78:5 80:23      148:24 149:2,7       michele 6:5           morgan 4:12 12:8
  82:8,15 83:24,25      150:1,19 151:13      michelle 12:12         12:8 34:16,17
  88:4,25 89:1,10,12    151:14               microphones 9:8        158:7,7
  95:22 96:4 97:10     member 36:21          mid 97:9,10           mother 1:5 2:4,11
  104:4,22 109:6,16     39:9,11,12,16,21                            3:2 9:19

                                                                              Page 17
                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Armistead App. 1127

[move - okay]

 move 38:4 44:7         nine 40:12 43:3        nward 3:16            obviously 98:2
   49:12,15 53:10       nodding 15:15                   o              100:4 112:1
   59:13 90:22          noise 9:9                                      130:17
                                               o 15:4
 moving 19:22           non 81:9 143:22                              occurred 114:12
                                               oaks 5:5
 multiple 30:4            143:25                                     offer 39:1,2,21
                                               oath 15:6,7
 music 106:21           normal 43:20                                   70:1 99:14 101:5
                                               object 28:12,20,21
 muted 9:11             normally 159:14                                133:21 136:15
                                                 29:10 30:16 31:20
          n               160:5                                      offered 99:14
                                                 32:15 43:1 61:18
                        north 5:14                                     103:3
 n 7:1 15:4,4                                    64:16 66:6 67:24
                        notating 164:15                              offering 100:20,21
 name 10:2,16                                    68:4 71:2,8 72:20
                          165:4                                        100:23 101:15,16
   12:19 13:16 15:3                              74:3 75:12,19
                        note 9:8 46:14                                 102:1
   28:10 65:4 80:2                               76:13 77:13 79:6
                          64:6                                       office 4:18 12:15
   138:20                                        79:13 84:3 86:24
                        notice 17:24 18:2                              12:17,18 28:5
 named 163:6,11                                  87:12 88:5 90:2
                          18:5,7,10,20 27:11                           33:3 41:5 43:3
 national 3:19                                   90:13 98:7 102:11
                          47:23 100:24                                 47:18 50:18 63:4
   53:10,13 56:17                                107:6 109:8
                          131:9 149:24                                 63:8,9,10 76:3
   93:5,11 99:7,15,21                            112:25 113:18
                        noticed 99:25                                  78:3 94:18,20
   114:5 118:18                                  114:15,21 116:17
                        noticing 10:14                                 95:5 100:5 141:1
 ncaa 139:4,6                                    117:4,11 118:17
                        number 9:23 18:8                               164:11
 necessary 20:1                                  119:19 120:19
                          38:23 40:20 43:19                          offices 5:18
   75:4 85:15 164:14                             122:21 123:7,21
                          43:20,23 44:10                             official 1:11,12
   165:3                                         124:5 125:12,21
                          57:23,24 59:5,9                              4:10 5:2
 need 16:7 26:13                                 126:6 129:17
                          60:9,11,13 66:1                            officials 38:16,17
   50:10 91:6,10                                 130:15 131:25
                          92:24 94:2 96:8                              80:17 81:1
   118:15 141:9                                  132:19 133:5
                          96:13,15,17,17,24                          oftentimes 42:15
   157:12                                        134:11,17 135:2
                          97:4,5 98:13                                 136:12 141:7
 needed 135:11                                   135:10,16,22
                          101:20 102:19,21                           oh 42:12 74:10
   150:23                                        136:9 137:5,17,25
                          103:4 104:2,18                               79:15 82:14 84:8
 never 43:22 51:5                                138:11,17 139:1
                          108:3,20 110:8                               86:14 111:14
   54:22 76:15                                   139:14 140:21
                          112:14,18 130:23                             135:3 150:14
   119:10,12 120:24                              141:6 144:19
                          132:3 134:1                                  152:22 154:23
   121:1 124:9,17                                145:4,21 149:15
                          145:13 154:16                              ohio 35:5 36:19
   137:9 142:7                                   150:3 151:18
                          159:23 161:12                              okay 13:14 18:20
   160:11                                        152:11 156:7,13
                          164:15 165:4                                 18:25 34:4 47:10
 new 2:15,15 3:10                                156:21 159:13
                        numbered 106:16                                48:25 52:3,16
   3:10,21,21 54:14                            objection 32:16,20
                          106:18                                       58:21 59:3 63:11
   69:17,18 153:9                                116:1,12
                        numbers 52:6                                   63:22,24 64:4
 newspaper 68:13                               objections 10:12
                          98:3,15 99:8,10,11                           65:2 67:20 70:12
 nfhs 56:19 94:8                               objectives 87:5,16
                          103:6,7 108:25                               72:16 73:13,16
 nicholas 3:13                                 obligations 13:17
                                                                       74:20 80:8,11
   11:10

                                                                                Page 18
                                  Veritext Legal Solutions
                                       866 299-5127
                                                                       Armistead App. 1128

[okay - participation]

   82:13 85:20 86:2      opportunity 39:18     p.o. 3:15             pardon 31:13
   87:9,25 90:16           62:12 103:8 105:9   page 2:25 3:25        paren 70:19
   91:8 92:4,17,19         105:13 109:12,21      4:25 5:25 7:2,11    parents 29:8 44:6
   97:7,21 98:24           111:9 113:10          7:25 8:2 18:23,23    60:12 123:1
   100:12,17 103:25        142:12                18:24 34:5,12,14    park 35:25 36:4
   106:7,20,23,24        opposed 89:18           47:23 51:21,25       36:20 37:1,8,20
   107:8 108:21          order 110:21            52:1,2,5,5,5,6,10   part 19:13 44:18
   109:10 110:9          orders 5:21             63:12,17,18 64:5     46:2 49:15 62:20
   112:5,9 113:15        organization 19:6       65:3 67:8 70:8,9     63:1 64:21 65:24
   115:3 117:15            19:9,14 29:23         72:3 73:10,15        88:19,20 89:6
   122:2 126:14            31:22 41:9 42:8       74:17,17,18 76:22   participant 88:23
   127:1,21 128:18         53:2,16 66:12         80:5,6,7 85:17       101:18
   129:3 130:12            69:9 81:17            92:6,9 97:18        participants 75:1
   138:1,4,10,12         organizational          98:22 99:4 100:10    75:17 93:7 96:9
   140:2,12 141:24         52:12,17,21 53:7      100:11 103:24        96:15,24 101:20
   143:2 145:22            53:20                 106:3,4,11,13,17     102:13,19 112:2
   146:3,11,13           organizations           106:19 108:18        118:1 126:10,11
   147:22 148:3,12         91:15 113:22          110:7 127:19        participate 50:7
   148:16,22,23            114:1                 129:2 130:4          51:3 90:10,17
   151:10 153:2          original 149:9          141:23 143:14,18     102:15 104:6,23
   154:3,18 158:2,17       163:15 164:10,21      147:17 151:8         105:10 107:14
   158:22 160:10,22      outcome 10:8            153:4,20,21          108:6 113:2 117:1
 once 35:24 39:1         outside 28:21           154:16,17 164:15     117:16 120:17
   47:16 102:18            29:11 30:16 32:15     165:4 166:4,7,10     122:13 123:5
   103:21,23 108:16        32:17,20 60:18        166:13,16,19         133:25 134:4,19
   129:12 151:7            89:24 113:23        pages 73:10            141:4 144:16
 ones 44:11 93:8,9         114:2 129:16          164:14,17,17         155:11
   94:11,12                131:23 150:22         165:3,6,6           participated 101:4
 ongoing 94:1            ovac 36:18            paging 52:9            110:13 119:6
 ooo 161:17              override 126:12       pandemic 81:21        participates
 open 128:17             oversee 29:23 30:4      82:19                109:17
   150:16                  36:9 38:22          paper 149:4           participating
 opinion 30:19           overseeing 56:14      papers 45:14           110:23 111:7
   137:9                   61:22               paragraph 34:14        119:14 120:13
 oppor 134:20            oversight 52:23         65:5 70:10,13       participation
 opportunities           overturn 62:5           76:22,24 78:17       51:11 59:18 88:18
   38:12 103:4 133:9               p             85:22,25 87:6,11     92:13 93:5 99:8
   133:22,22,24                                  87:13,15,23 88:16    101:3 104:3,15
                         p.l.c 5:18
   136:16 144:7,9,18                             88:25 89:11 90:12    111:19 113:6
                         p.l.l.c. 4:11
   145:3                                         106:5,8 130:9        115:1 120:10
                         p.m. 2:4 9:3,6
                                                                      145:2 155:8
                           161:10,15

                                                                                Page 19
                                  Veritext Legal Solutions
                                       866 299-5127
                                                                      Armistead App. 1129

[particular - posts]

 particular 56:11      percentage 83:22       plaintiff's 92:22     pointing 51:16
   64:20 68:12 95:5    perfect 15:17            99:2 127:3 140:14   policies 128:5
   97:6 98:14 127:5    perform 113:18         plaintiffs 21:12       133:11 139:12
 parties 9:14,25       period 60:23 61:1      plans 85:9            policy 22:3,4
   157:23                98:4 100:5 164:18    play 37:9,11 42:24     24:23 26:18 54:21
 partisan 89:6           165:7                  73:6 88:12,13        54:24 90:15
 partisanship          perjury 162:5            101:14 102:7         113:14 115:4
   88:24 89:1            164:17 165:6           103:10 105:1,2,4     117:5,10 118:3,16
 partnership 80:19     permitted 105:2,5        106:21 108:10,14     118:25 119:3,9
 party 10:6              116:21                 109:25 116:21        120:7 122:5,6
 pass 40:24 49:12      person 45:4 49:22        117:19,22 120:21     123:13,19 124:3,7
   153:19                115:13,19 117:19       120:22 121:1         124:12,15 125:10
 passage 136:7,11        132:12 138:16          155:16               125:17 127:25
 passed 54:22          personal 17:3          played 116:11          128:3 130:18
   58:16 137:16          29:16 113:11         player 108:10          131:11,14,16,20
 passes 54:17,18       personally 41:14         117:23               131:24 132:9,18
 pause 51:19 148:1       41:23 94:17 95:11    playing 44:14,16       141:13 142:4,5,9
 pay 81:13 82:24       personnel 58:1           56:16,19 59:24       142:15 151:17,22
 paying 80:25            63:4                   60:17 88:2,4         152:4,7 155:12,19
 pdf 18:24 51:22       pertains 163:15          103:5 105:15         158:19,19,23,25
   52:1,6 63:12,17     pertinent 14:1           107:3 110:21         159:3,7,10,11,20
   74:18 80:7 85:18    petition 39:3            111:8 112:23         160:10,11,12
   103:24 106:15,19    phone 80:4               113:8,17 134:16     poll 111:9
   108:18 127:19       phrase 116:6             135:1               popularity 94:11
   130:5 141:23        physical 88:14,14      playoffs 80:16        populates 95:18
   154:17 164:12         117:13 134:22        plays 96:20           populating 95:13
   165:1                 145:15               please 9:8 10:13      portion 86:3,6
 pelet 2:14 11:15      physically 2:6           13:13 14:6 15:2      154:8
   11:16                 145:7                  15:14,19 103:18     position 27:15,16
 penalty 50:22 69:9    pick 9:8                 111:14 161:6         29:19 79:21 94:21
   162:4 164:16        pickleball 37:13       pllc 4:3 5:4           133:7,8 145:8
   165:5               pin 60:24              plus 50:17 61:5        149:2,23 155:6
 pending 14:9          place 9:14 53:6          93:14                156:1
 people 28:4 57:2        57:4 64:18 98:3      point 16:6 31:15      positions 31:9
   78:10 80:25 84:12     118:22 123:9           38:11 39:4 40:6      78:2,5
   95:3 96:17 118:19     163:11                 102:21 117:17       possibility 134:20
   135:4               placed 52:25             118:7,10 122:10      134:23
 percent 56:20,22      plaintiff 1:6 2:3,11     128:4,6 130:6,7,8   possible 38:19
   56:23 67:3,5          3:2 9:18 10:18,23      131:8 132:17         51:7 56:23
   83:20,20              11:1,4,8,11,14,17      151:19,20 152:10    posts 146:22
                         11:22,25 27:5          155:4

                                                                               Page 20
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                    Armistead App. 1130

[power - quantity]

 power 74:24 75:15     preventing 105:14     proceedings            93:15 94:7 120:3
   78:19 124:18,20     previous 60:1           163:14,17            150:11 152:4
 powers 75:4             76:11               process 43:14 45:5   provided 93:17
 practice 44:18        primarily 26:16         45:8 46:2 48:23      125:1 164:19
   57:15 58:5,10,11      38:10 56:10 93:14     131:2 142:7          165:8
 predecessor 118:4       95:2 96:25,25       produced 27:4        providing 58:10
   118:13 119:4          97:3 111:23           92:21 97:22 99:1     81:11
 predecessor's         principal 41:9,11       127:2 140:14       public 41:2 54:1
   123:23                48:25 72:6,23       profit 81:16           61:13 65:9,22
 preference 90:25        84:23 132:15        program 82:17          68:12 69:6,12,13
 prejudice 88:24       principals 41:8,8       103:9 109:23         69:14,19,21,23
   89:1,10,12            42:7 50:14 55:9,9   programatic            70:15 77:19
 preparation 26:10       55:17 56:2 70:15      88:11              published 97:25
 prepare 19:4,23         78:15 84:22 85:12   programs 134:7       pull 18:19 95:14
   20:5,18 21:5,22       132:2,2 133:2       prohibited 44:14       140:11 148:20
   22:17 23:6,19         153:6,8,24 156:18     44:15 85:23        pulled 34:10 95:12
   24:8,20 25:7,19       158:23 159:8        promulgate 54:19     pulling 98:13
   26:15 27:20 94:16   printed 47:24           56:1               purchase 36:10
   94:17               prior 155:24 163:6    promulgated          purchasing 84:16
 prepared 47:14        private 9:9 61:13       40:21 61:6 64:14   purpose 138:25
   94:18,19 154:7,8      65:20,23 69:7,12    promulgates            153:7
   154:25                70:16                 139:22             purposes 115:21
 preparing 19:19       privilege 138:18      proof 31:22            155:8
   48:15               probably 17:13        proper 87:10,19      pursuant 13:17
 preparticipation        19:24 21:8 22:7       123:9                65:10
   134:22                26:5 35:14 53:9,9   properly 49:24       put 30:5 41:1
 present 2:6,13,14       53:15 54:3 64:10    proposal 49:1,2,7      53:25 54:13 60:24
   2:19,20,21 3:4,9      64:22 68:25 84:5      51:11 85:11          66:14 78:2 79:21
   3:13,14,20 4:4,5      84:10 90:3 94:1,6     124:10               80:2 83:10 84:13
   4:12,13,19 5:5,10     95:12 97:13 114:5   proposals 49:7,11      114:9 119:18,20
   5:11,12,13,19 6:2     114:7 119:4         propose 56:1           120:8 123:9,24
   6:4,6,7,9 10:9        128:25 139:18       proposed 49:18       puts 49:13 98:19
   128:23                143:11 156:19         50:1 114:14,20       99:8,23
 presentation          problem 106:13        proposing 114:23     putting 78:5 81:1
   114:9,16            problems 34:24        protect 117:12         82:25 83:7 124:3
 presented 28:22         147:13                118:22 133:22        124:3 134:6,7
   126:2 154:5         procedure 13:18       protects 134:9                 q
 press 143:9             164:19,20           protest 79:1,11,25
                                                                  qualifies 39:8
 pretty 83:4 136:14    procedures 43:21        79:25 80:1
                                                                  quality 144:7
 prevented 107:3       proceeding 10:12      provide 38:11
                                                                  quantity 144:6
                                               39:17,18 68:5

                                                                             Page 21
                                Veritext Legal Solutions
                                     866 299-5127
                                                                        Armistead App. 1131

[question - repetitive]

 question 15:18             127:22 130:9        recommendations       regulations 19:8
   16:7 19:22 36:5          131:10 143:15,19      57:17 58:3,10         19:14 20:8,20
   41:20 82:12,13           144:5 155:5 161:3     77:8                  21:7 22:19,22
   87:17 104:8 110:5      reading 65:6          record 9:6,12,15        23:21,24 24:10,22
   143:15 159:9,19          67:12 85:24,25        10:11 15:3 16:2       25:9,23 26:17
 questions 7:8              106:10 110:11         59:5,11 112:15,20     27:23 39:18 47:12
   15:15,23 19:3            164:23 165:9          115:5 148:4,7         47:20 48:2,14,18
   21:20 34:12 53:18      reads 153:5             157:10,16,19          48:24 57:12 61:5
   56:12 59:15 60:3       real 142:4              160:7 161:10          72:11 73:7,20
   94:14 105:20           really 22:2 42:7      recorded 9:16           74:1 77:5 85:2
   108:19 115:4,8,21        52:9 55:5,15 91:6   recording 9:13          119:23
   136:3 147:5 157:9        139:6                 160:9               reimbursement
   157:22,23,23,24        reason 15:11          reduced 163:12          82:3 83:15
   158:4,6,8,16             19:16 20:14 21:1    reed 95:2             reiterating 155:12
   160:15,19                21:16 22:13 23:2    reed's 95:7           related 10:6
 quick 59:14                23:15 24:4,17       refer 67:10           relates 157:3,3
 quite 38:18 51:16          25:4,16 26:2,24     reference 52:4        relation 56:6,25
           r                66:13 69:11 100:1   referenced 88:15      relationship 40:18
                            113:3 153:13          128:20 164:6          40:20 41:24 42:2
 r 2:18 15:4,4 166:3
                            166:6,9,12,15,18    referencing             42:5 53:22 54:3
   166:3
                            166:21                148:25                55:7,11,12,14
 r&s 165:1,9
                          reasons 60:22         referring 52:5        relatively 132:14
 raby 143:8,9,15
                          recall 17:9 152:8       87:23 89:15         released 164:21
 raintree 5:20
                            152:12                115:10,16 116:7     rely 76:11 155:19
 raise 14:6
                          receive 81:19           127:24 151:14       remember 9:11
 raised 116:15
                            82:21,23 118:24     reflect 101:4           86:9 114:11,19,25
 ran 28:25
                          received 81:21,25     reflected 101:9,12      121:11 127:5,7,7
 ray 118:14 119:5
                            120:9,12            reflects 52:20 53:2     128:20,23 129:7
 reach 68:15
                          recess 59:7 112:16    refresh 34:21 47:6      130:17 131:18,22
 reached 102:19
                            148:6 157:18        regarding 59:18         139:2 140:19
   149:7
                          recite 14:1             113:23 130:13         141:14,16,19
 read 13:15 14:3
                          recognize 39:3          131:23 138:2          143:3 146:16,17
   22:7 25:21,21
                            47:11 52:17 66:24     149:8 158:18          147:7 156:17
   49:23 51:20 63:25
                            93:1 99:6 117:7     regional 80:15          160:3
   65:5,7,15 67:11,13
                            122:3 146:14,18       84:23 133:2 153:5   remote 1:19 2:1
   67:21 70:13,24
                            151:11 154:19         153:7,24 156:18     remotely 2:7 10:1
   72:5,17 73:18,22
                          recommend 34:21         159:6,12,21           10:10
   74:22 75:9 76:24
                          recommendation        registering 80:17     renee 4:20
   76:25 77:10 78:17
                            59:18,23 102:22     regulation 70:22      repeat 41:20
   79:3 87:6 88:22
                            103:1                 71:6,24             repetitive 21:21
   92:23 94:15 99:3
   106:8 122:10,17

                                                                                 Page 22
                                   Veritext Legal Solutions
                                        866 299-5127
                                                                       Armistead App. 1132

[rephrase - runwv.com.]

 rephrase 15:19        response 68:17           87:24 90:4 91:4,8      124:23,24 133:10
 replied 111:11          92:22 99:1 110:7       93:2 103:9 112:7       139:16,18,22,23
 report 32:4,10,11       127:3 140:14           113:4 115:24           142:6,16 144:21
   58:2 77:7,23          143:19 144:4           124:12 125:10          144:25
   92:14 129:15,21       147:5                  128:1 144:18         ruled 76:5 134:13
   133:4               responsibilities         147:23 149:24        rules 13:18 19:8
 reported 1:25           29:21 36:8 77:25       153:20 157:22,24       19:13 20:7,20
 reporter 2:6 10:4     responsible 47:19      rights 61:22             21:7 22:19,22
   13:13,14 14:8,13      50:15 56:10 72:7     rims 89:9                23:21,24 24:10,22
   15:16 16:1 143:9    resume 85:9,14         risen 134:1              25:9,23 26:16
   143:12 160:25,25    retained 161:13        rival 78:9               27:22 39:17 40:21
   161:8 163:24        return 45:15           roberta 4:4 12:1         40:22,25 41:6
 reports 31:23           164:17 165:6           32:20 58:22 90:25      42:4,15,20,21,22
 represent 12:20       revenue 80:13,20         112:9 161:5 164:1      43:5,7 44:10
   34:7 92:20 140:16     83:11                role 31:18 35:4,10       47:12,17,20 48:2
 representative        review 18:4 19:7         35:21 36:1,8,16,23     48:13,18,23 50:10
   12:13                 19:11,25 20:9,21       37:5 41:24 54:8        50:16,20 52:24
 represented 55:17       22:1,5,21 23:10,23     60:4,4 95:7            54:1,19 55:3 56:1
 request 77:1,16         24:12,24 25:11,22    roles 35:22              56:6,8,15,16,19,19
   92:24,24 99:4,4       53:25 62:11,14,16    room 90:6                56:25 57:1,11
   127:4                 62:20,24 63:2,5,15   rooms 134:7              58:7 61:4,5,7,16
 requested 14:7          76:2,9 86:12         rough 68:19              61:21 64:8,17,18
   165:1,9,10            163:17 164:8,10      row 110:11               68:5,6,9 71:10,12
 requests 92:22          164:13 165:2         rucker 141:25            71:13,17,20,21
   99:2 140:15         reviewed 23:8,21         142:1                  72:11,24 73:6
 require 135:14          24:10,22 25:9        rule 13:19,23            74:5,13 77:4
 required 13:22          26:16 27:22 48:14      25:21 27:22 31:25      78:23 85:1 93:15
   43:6 48:17 86:19      86:18 159:7            41:4 45:19 46:21       105:14 107:18
   86:22 87:1 163:18   reviewing 27:3           48:23,25 49:2,7,10     119:22 139:12
 requirement             86:9 161:2             49:16,18 50:1,8        153:9 156:8 165:8
   123:13,19 124:4     reviews 86:1 87:8        51:11 54:10,14,22    ruling 17:16 62:10
 requirements            92:18 122:1 129:6      55:1 56:13 58:6        79:22 155:10,13
   130:25                130:11 143:1           61:8,9,11,12 64:6      156:24
 requires 81:8         revised 47:24            64:7,15,20,24        run 57:7
 researched 21:8       rgreen 4:7 164:2         69:12 71:19 72:25    runs 146:20
   21:10,24            right 13:2 14:6          76:14 105:17,18      runwv 146:20
 reserve 157:22,24       16:24 24:7 26:14       105:19 106:16,18     runwv.com.
 reside 60:13            27:7 28:7 39:24        107:2,11,16            146:22
 respond 17:24           51:22 55:23 58:22      114:10,14,19,23
   104:4,16 139:9        59:1 60:2 63:13        114:23,25 118:11
                         71:18 73:4 84:16       124:9,10,13,16,19

                                                                                 Page 23
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                      Armistead App. 1133

[s - september]

           s             69:18,19,25 70:4,6     111:5,23 130:19     section 34:6 65:3,6
 s 7:10 8:1 14:2         71:16,23 72:9          130:19,22 132:9       66:16 67:8,11
   77:9 166:3            73:4 75:20 77:19       132:11,15,18          72:4 73:17 74:22
 sac 125:20              78:8,9,14,15 82:2      134:5 139:24,25       80:9 86:10 87:5
 sadly 153:14            84:1 88:11,12          144:8 145:1           87:16 107:16
 safe 57:18 90:15        90:19 93:6,12          158:20 160:12       sections 51:17
   117:18,22 119:16      95:23 97:11,14       scope 28:21 29:11     see 34:1,3,5,9,18
 safety 57:12 125:8      98:19 100:8,16         30:17 32:15,17,20     47:5 68:12 94:12
   134:15                101:8,8,15 110:12    score 83:10             129:2,4 130:7
 salem 35:16             111:11 112:23        scores 81:1 82:25       147:2,24 153:5
 sales 80:14,15          113:9 117:6,14       scottsdale 5:14,20      157:11
 san 2:22                119:17,22 120:3,7    screenshot 34:7       seeking 15:24
 sat 43:23               120:18 121:3,11      scroll 18:22 73:9     seen 62:24
 saying 104:15           121:13,14 122:11       74:16 80:5 97:7     seldom 104:19,20
   118:19                122:20,25 123:8        97:18 98:21           104:20,22,22
 says 47:24 64:6,22      123:10 124:25          106:23 129:1        selection 29:17
   65:3,7 67:9,11        125:15,19 127:14       141:21 146:12         135:24
   69:8 70:13 72:5       130:23 131:1           148:21 151:7        self 95:13,18
   73:17,18 74:22        135:8,20 137:20        153:20              senate 33:10 137:8
   76:14,19,24 78:17     144:11 145:12,12     scruggs 5:10 13:2       142:1
   85:14 95:21 96:4      149:21 153:19          13:4 158:5,5        senator 139:4
   96:22 100:8,16        156:14,15 162:14     search 21:11            140:25 142:1
   122:10 130:8,23     school's 51:8          searched 22:6         send 28:5 42:16,17
   131:9 144:1 149:4     155:19 156:2           127:6                 45:9,14 99:18
   155:5,25            schools 29:25          season 84:21 85:1     sending 43:18
 schedule 109:13         30:12 35:5 36:22     seasons 39:20           49:6 149:12
   153:22 164:10         38:11,12,13,25       seats 89:4            senior 3:8 5:10,11
 scheduled 28:4          39:2 42:2,9 43:25    second 13:15            95:21,23,24
 schedules 57:15         44:22,23,23 45:1       83:21 95:20           108:24
 school 1:10,20 2:2      48:20 50:17 55:19      111:24,24 155:4     seniors 88:13
   4:2 29:2 30:20,20     56:8,13 61:13,14     secondary 1:10,20     sent 26:7 28:15
   30:21 35:25 36:4      62:18 63:8 65:10       2:2 4:2 38:20,22      83:25 84:2 99:19
   37:8,20 39:7,8,21     65:20,22,23 67:19      39:5,8 42:25          137:2,18,21,23
   41:12 42:25 43:12     68:12 69:21,23         44:23 65:9 69:23      139:4 150:13,16
   43:18,19,19,21,23     70:5,16,18 71:10       70:16 73:6 75:7       161:6
   44:5 45:2 46:16       75:7 82:22 83:2,5      120:18 162:14       separate 71:13
   46:19 50:7,19,22      83:12,16,23,24       secretarial 30:6,7      102:2,15,15,20
   50:25 51:2 60:10      87:1 98:16,17        secretaries 32:24       109:23
   60:14,18 62:4         100:19,21,22           47:16 95:2          separated 108:5
   67:4 68:16 69:3,6     101:5 108:25         secretary 41:5        september 64:23
   69:7,12,12,14,17      109:20 110:18          94:22,23,25

                                                                               Page 24
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                     Armistead App. 1134

[served - start]

 served 36:24 37:6     similarly 97:3          84:8 87:21 92:11    sports 30:4 37:9
 serves 63:4           simple 89:17,20         116:2 123:14          37:11,14 38:21,22
 services 84:1,7,8,9     90:5                  152:22 153:1          38:23 39:1,2
   84:20,21            simply 69:7             154:21,23             42:25 56:11 57:9
 session 90:23           101:16,20           sort 29:16 30:1         57:18,19 58:15
 set 60:3 76:11        simultaneously          38:13 42:10,13        59:15,16,22 60:5
   136:2                 74:6 105:22           44:2 45:22 50:22      61:22 66:17,18
 seven 31:8 62:17      site 98:18              89:15 113:8           70:2 73:6 82:8,15
   145:10,13           situation 125:20        124:20                90:10 93:8 94:10
 sex 115:11,17         six 35:19 143:12      sound 16:10             98:2 99:12,14
 shaking 15:15         skill 135:9,11,15     sources 80:20           104:5 110:22,23
 shared 83:11,14       slicer 4:3 12:2       south 121:14            111:8,24 112:24
   121:22              slide 154:1,19,25       127:14,16             116:11 117:2
 shawna 6:7 10:2         155:25 156:17,22    southern 1:2 9:22       120:17 135:8
 sheet 161:2             157:4 160:4         speak 9:11 136:13       136:15 144:15
 sheets 95:15 96:6     slides 154:4,7          136:13,20 137:3     sportsmanship
 shohl 138:21          slotnick 4:11           153:15                87:10,20 88:1
   150:17              slow 51:19 52:8,9     speaking 74:6         spring 98:2 111:24
 short 82:5            small 81:22             105:22              sruti 3:19 11:24
 shorthand 163:11      soccer 102:6          specific 58:5 64:14   ss 163:2
   163:24                105:11 144:14         93:15 95:1 130:13   ssac 12:7 50:17
 show 96:21            social 88:15          specifically 53:23      61:23 71:21
 showed 147:4          softball 105:12         119:2 128:22        staff 3:8,13,19
 shown 141:14            112:2                 135:4                 29:24 30:7 32:11
 shuman 4:3 12:1       solutions 10:3,5      speculative 125:22      95:5 124:2
 shumanlaw.com           161:14 164:7        spell 15:3            stamp 34:10 85:18
   4:7,8 164:2         somebody 60:22        spending 14:25          92:10 100:13
 sibling 29:13           75:21 78:7,9        spoke 58:14 137:1       106:3,14
 side 89:2               117:17 125:4          137:6 150:2         stamped 51:23
 sideline 89:21          129:21 132:12       spoken 29:6,8,13        63:14 73:10,15
 sign 161:3 164:16       135:5 145:7           143:10 149:13         74:17 80:7 97:19
   165:5               somebody's 80:1       sponsored 104:5         98:23 127:19
 signature 163:23        145:8               sport 39:3,19,19        130:5 140:15
   164:21,23,23        someone's 155:14        57:12 58:5 66:21      141:22 151:8
   165:9                 156:5                 66:21 83:16 84:25     153:5,21 154:15
 significance 80:21    soon 11:19              93:7,15 96:6,25     stand 102:24
   80:22               sorry 19:12 21:20       97:6 101:12,21        103:9
 significant 108:2       22:2 26:12 31:3       102:9,10,12         standard 2:5 9:3
 significantly 103:5     41:18,19 42:12        104:20,21 109:25    stark 3:14 11:5,6
 similar 60:2 76:6       48:8 63:23 73:14      111:17 113:9        start 84:2 92:9
   76:11,16              74:10 79:14,15        120:22 135:5,12       104:10

                                                                              Page 25
                                Veritext Legal Solutions
                                     866 299-5127
                                                                     Armistead App. 1135

[started - take]

 started 15:2,5 91:1   sticking 85:16        stutler 1:11 5:2      supposed 61:20
 starting 35:22        stipulation 13:25       12:22 158:11        sure 17:6 21:11
   104:18                14:2 164:20         submersion 84:18        36:6,12 41:21
 starts 70:11 72:5     stood 131:4,6         submit 40:22 41:5       49:4,17,24 51:9
   110:12              stop 40:4 69:3          47:17 48:25 77:6      53:1 57:23 63:18
 state 1:8,11,13 4:9   stopgap 118:8           98:17                 68:6,8 69:5 71:22
   4:10,17 9:20        stopped 40:1 85:7     submits 41:6            72:2 74:4 85:1
   10:10,13 12:9,16    street 3:5,9,20 4:6   submitted 36:12         87:18 90:4 108:1
   12:25 15:3 33:3       4:14 5:14             40:25 51:11 98:1      110:10 112:8,11
   33:16 35:20 36:14   stretch 58:20           98:15 100:6           119:20 123:16,23
   36:15 40:19 41:1    strictly 105:10         129:22                125:25 129:18
   41:15,24 49:13        126:5               subsection 13:19        131:2 134:5,12
   52:22 53:10,22,24   strike 85:12            13:23                 135:3,5 141:20
   54:4,18,19,21,23    strong 117:18         subsequent 159:19       144:14 149:11
   55:4 56:18 61:6,9   stronger 117:24         159:20                150:6 151:20,23
   62:19,23 70:17,19   structure 38:6        substance 22:8          152:5 153:9 156:8
   81:10,12 84:22,24     52:21               successful 135:12       156:15
   93:11 109:18        student 30:19         sudden 57:13          survey 110:18,25
   113:23 114:9,14       43:14,19 44:12,13   suite 3:5 4:6,14        111:1,5
   124:24 139:21         44:13,15 45:21        5:20                suspended 51:1,6
   158:8 160:18          60:25 69:2 76:10    summer 98:1           suspension 50:23
   162:5 163:1,5,25      88:20 108:6           114:6                 50:24,24 73:3
   164:4,9,12 166:1      109:21,24 112:23    super 35:19           suspicion 51:3
 state's 41:5            120:4 121:4,6         143:12              sustained 62:10
 stated 13:21            122:13,23 123:1     superintendent        swaminathan 3:19
 statement 13:16         125:5,6,7,19          1:11,12 4:10 5:3      3:22 11:23,24
   65:17 67:23 71:1      126:11                6:5 12:10,12,22     swartos 127:12
   72:19 73:24 75:11   student's 43:11,14      13:1 70:18,20       swear 13:13 14:4
   77:12 79:5 142:3      60:8 61:4,17,25       158:9               swim 144:14
 states 1:1 9:21         62:2 76:9 119:17    superintendents       sworn 14:16 163:7
   93:14                 120:1 122:11,20       159:4               system 46:10
 statistics 91:14        125:18              supervise 67:17                 t
   93:18 94:7 97:25    students 31:24          68:2
                                                                   t 7:10 8:1 166:3,3
   100:2 110:17          51:12 65:9 73:5     supervision 70:21
                                                                   tab 7:13,14,16,17
 statute 65:13,22        74:25 75:16 90:10     71:6,24
                                                                     7:19,20,22,23 8:3
 stay 72:3               104:6 117:1         supply 79:17
                                                                     8:5,6,8,9,11
 staying 67:8 76:21      120:13,16 123:5     support 39:22
                                                                   take 9:14 15:7
 stephen 140:18,24       125:5 133:15          133:8 136:15
                                                                     16:8 27:8 38:1
 steps 139:11          studies 88:22           143:23,25 144:2,3
                                                                     47:18 59:2 62:9
 steptoe 5:4,7 12:20   study 86:16           supported 134:2
                                                                     65:6 67:12 73:14
                         101:19                143:20
                                                                     76:4 85:24 87:6

                                                                              Page 26
                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Armistead App. 1136

[take - top]

   91:2,11 103:11       technically 43:4        161:8,9                82:23 85:14,24
   106:8 108:17           61:12               thing 94:1 144:3         87:24 88:23 100:5
   110:5 112:6 145:8    technology 9:25       things 28:13 31:23       102:8 103:6
   146:8 147:23         tell 17:2 30:14         44:8 45:25 57:4        111:21 112:6,15
   148:1                  36:7 39:11 53:21      58:5,6,6,11 81:2       112:20 118:5
 taken 2:3 9:17           54:7 56:4 60:6        82:3 84:16 89:6        119:5 138:14
   16:12 17:8 46:2        64:21 78:4 81:7       89:23 90:4 95:4        139:5 141:20
   78:11 139:11           93:20 103:2 117:9     113:3 134:8            147:7,9 148:5,8
   163:10                 117:21 133:19       think 13:2 58:18         149:20 150:1
 takes 98:19 99:22        138:24                58:24 62:23 64:9       155:12 157:17,20
 talk 20:2 29:15        telling 45:10           82:16 84:10 90:23      163:11 164:10,18
   91:13 113:12           147:18                93:22 94:1 108:16      164:24 165:7
   136:5                temporary 118:8         110:3 112:5 113:2   times 56:17 68:21
 talked 113:22          ten 32:6 55:22          113:5 119:8 123:4      68:23 129:13
   114:1,4                58:19 77:22 94:3      124:7,18 125:23        132:10 144:16
 talking 16:3,3 32:8      107:23 129:13         126:1 132:10           146:21,25,25
   38:4 108:9 141:2       159:16,16,21          133:6,7,16 134:12      147:4,19,19,20
 talks 106:4            tennis 37:12 112:2      134:19 135:17       timothy 5:18,19
 tarp 89:17             tenure 59:25            136:23,24 137:1,1      13:9
 teachers 81:9          term 84:19 115:9        138:18 142:9        title 64:6 86:20,23
 team 29:1 36:10          115:15                143:16 146:9           87:1 107:13 133:8
   39:22,22 42:25       terms 66:19 115:6       147:22 155:10          133:20 134:6,9
   44:18,20 46:16,17    testified 14:17         157:6,13 158:1         143:20,21,24
   46:18 60:18 89:5       17:2,10             thinking 107:2           144:1,2
   89:13,18 96:21       testify 15:9,11       third 83:21 96:3      titled 7:12,14,15
   98:8,10,14 101:23      137:13 163:8        thought 150:12           7:17,18,20,21,23
   102:1,3,5,6,7        testifying 15:8       thoughts 150:9,11        8:3,4,6,7,9,10 80:9
   103:10,10 104:6        16:19 17:17 27:10   thread 151:13            87:5
   105:1,2,4,15 107:4   testimony 14:8        three 17:13 30:10     titles 32:13
   108:5,7,8,9,11,13      19:17 161:11          32:14,22,24 60:13   today 12:3 13:6
   108:14 109:3,17      text 21:25 22:5         67:6 69:1 111:3,4      15:12 17:20 158:1
   110:2 113:17           23:8 26:18 92:23      154:9,11,11         today's 27:21 28:2
   116:11,22,23           99:3 140:13           161:13                 161:11
   134:16 135:1,21        151:11 152:10       thursday 149:25       told 120:21 137:14
   145:9,11 155:16      texts 140:17          ticket 80:14,15          137:15 150:23
 teams 57:3 59:24       thank 13:11 14:13     time 2:5 9:3 10:13       151:21
   60:17 66:25 67:1       14:25 27:7 32:21      16:4 17:8 40:8      top 52:25 53:12
   90:10 101:1,9,11       32:21 37:25           47:15 52:10 57:4       64:5 90:4 137:22
   104:23 105:10          112:11 123:20         58:19,25 59:5,11       143:6 145:10
   108:6 109:5 112:3      136:3 158:2           60:23 61:1 64:18       149:24 151:13
   117:2 123:5            160:16,20,21          65:6 67:12 72:2

                                                                                 Page 27
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Armistead App. 1137

[topic - videographer]

 topic 19:4,5,17,19        152:7 157:3         typewriting           uploaded 152:22
   19:22,23 20:5,6,16      158:19,22,25          163:12              url 34:10
   20:18 21:3,5,14,22      159:3 160:12                  u           use 115:9,15 116:6
   21:23 22:11,15,17     transitioning                               usually 68:10 81:3
                                               uh 154:13
   22:25 23:6,7,19,20      104:21                                              v
                                               unable 135:21
   24:8,20 25:7,19       transportation
                                               unanimously           v 4:13
   26:14,15 59:14          36:11
                                                 131:19              va 65:11
   114:7 130:13          travel 82:3 83:17
                                               unbiased 78:12        valeria 2:14 11:16
 topics 18:8,9 19:3        84:21,24
                                               underlined 149:25     valley 36:19
   27:2,11               treats 125:19
                                                 150:7               variety 35:22
 toro 2:14 11:15,16      tremendously
                                               underlining 150:5       57:21 58:1
 total 97:5 98:19          134:1
                                               understand 15:18      various 91:15
   161:12                trends 93:8
                                                 17:23 27:10,18      varsity 44:16
 totally 115:5           trial 17:10
                                                 29:17 94:15 116:5     108:22,25 109:1,1
 touched 54:6            tried 86:16 135:19
                                               understanding           109:2,3,3,6,7,13
 tournament 36:14        trouble 34:20 40:6
                                                 66:5                  109:16,22 145:11
 tournaments 30:2          91:24 103:19
                                               understood 15:21      verbal 15:14 73:2
   30:5 84:13 85:4       true 162:6 163:13
                                                 31:5 40:9 82:18       150:18
 track 37:19 93:6        truth 14:10,10,11
                                               unfair 89:23 90:1     verbatim 82:3
   96:10,12,13 112:2       163:8,8,9
                                                 90:15 125:4,6,7,9     87:15
   146:20,21             truthfully 15:9,12
                                                 126:8,10 132:6      verification 99:19
 tracking 93:20          try 15:19 16:5
                                               unfairness 117:13     verify 62:5 111:12
 trainers 57:22            47:6 94:10 106:1
                                               unfortunately           132:12
 training 88:20            133:8
                                                 15:16               veritext 6:8 9:25
 trans 125:7 155:19      trying 82:6 93:7
                                               unger 139:4             10:3,5 161:14
 transcript 13:25          94:12 105:23
                                               union 3:8,12 11:7       164:7,9,11
   163:13,16,17            107:13 147:19
                                               unique 145:6          veroff 2:19 11:2,3
   164:6,8,10,13,13        151:23
                                               unit 9:16             version 48:1
   164:21 165:2,2        tubs 84:18
                                               united 1:1 9:21       versus 9:19 69:12
 transfer 43:20          turn 51:21 87:4
                                               units 161:13            79:25 124:16
 transgender 22:3          126:14
                                               university 35:13      video 9:13,16
   24:23 26:17 28:19     turnover 132:11
                                                 35:17               videoconference
   35:9 51:12 59:18        132:14
                                               unmute 9:11             2:7,13,14,19,20,21
   90:9 107:3 114:2      turns 91:14
                                               unmuted 9:10            3:4,9,13,14,20 4:4
   115:15,20 117:1       two 16:16 43:25
                                               unsafe 125:4            4:5,12,13,19 5:5
   119:14 120:13,16        52:11 59:14 60:11
                                                 126:8,10 132:5        5:10,11,12,13,19
   122:4,11,20 123:4       67:5 69:1 73:10
                                               unsolicited 139:5       6:4,6,7,9 9:1
   126:11 130:8            76:15 96:19 111:2
                                               unusual 149:22        videographer 2:7
   131:11 133:15,17        111:3 152:9
                                               update 130:6            6:7 9:5 10:3 13:11
   134:10 137:22         type 95:14
                                               upheld 142:8            13:21 14:2 59:4,8
   147:14 151:17,22
                                                                       112:13,17 148:4,7

                                                                                 Page 28
                                  Veritext Legal Solutions
                                       866 299-5127
                                                                      Armistead App. 1138

[videographer - witness]

   157:16,19 158:3      vsv 63:14              122:23 134:13        winning 88:3
   160:22 161:9                  w            we've 86:15           winter 111:25
 videotaped 1:19                               138:13                114:6
                        w 1:10 4:10 17:3
   2:1                                        web 95:17             withdraw 69:13
                          65:11
 violated 31:25                               website 34:8,10       withdrawal 69:10
                        wait 31:13 139:17
 violation 68:22,24                            95:12                withdrawn 69:15
                          150:22
 violations 68:13                             week 49:6,9 83:20     witness 2:5 4:4
                        waiting 156:24
   68:20,21 77:4                              weekley 146:19         9:17 12:4 13:13
                        waived 164:23,23
   78:23                                       147:11                14:5,7,7,12 28:14
                        waiver 45:18,19
 virginia 1:2,8,9,13                          weeks 52:11 111:2      28:22 29:17 30:18
                          62:13 75:22,25
   1:20 2:2 3:12,15                            111:4                 31:21 32:22 34:25
                          76:5
   4:2,6,6,9,14,14,17                         went 43:19 118:18      43:2 52:12 58:21
                        waivers 76:3
   4:18 6:3,5 9:20,22                          124:17 127:6          59:3,10 61:20
                          125:3
   11:7,10 12:7,9,15                           129:24                63:24 64:12,17
                        waiving 164:20
   12:16,25 33:4,7,10                         west 1:2,8,9,13,20     66:8 67:25 68:5
                        walk 43:16 45:7
   33:16 35:12 37:3                            2:1 3:12,15 4:2,6     71:3,9 72:21 74:4
                          48:22 90:6
   40:19 41:16,25                              4:9,14,17,18,21       75:13,20 76:14
                        walking 51:14
   44:24 45:2 46:10                            5:6 6:3,5 9:20,22     77:14 79:7,15
                        wall 3:20
   46:15 58:14 61:9                            11:7,10 12:7,9,15     84:4 86:1,25 87:8
                        want 29:15 32:17
   61:16 66:2 69:21                            12:16,25 33:4,7,10    87:13 88:6 90:3
                          38:4 51:19,19
   70:19 75:8 113:23                           33:16 35:12 37:3      90:14 91:3,5
                          59:14 62:8 63:11
   114:2 118:7,21                              40:19 41:16,25        92:12,18 98:8
                          65:2 69:8 78:10
   120:14 147:6                                44:24 45:2 46:10      102:12 105:23
                          79:21 87:4 91:1,1
   149:5 162:14                                46:15 58:14 61:9      106:23 107:8
                          91:13 92:23 99:3
   164:4 166:1                                 61:16 66:2 69:21      109:10 112:8,19
                          109:12,20 113:12
 viriginia 4:21 5:6                            70:19 75:8 113:23     113:1,19 114:16
                          122:9 130:4 136:5
 virtual 9:25                                  114:2 118:7,21        114:22 116:2,13
                          147:1 154:14
 volleyball 105:12                             120:14 147:6          116:18 117:5,12
                        wanted 101:14
   117:23 120:21,22                            149:5 162:14          118:18 119:20
                          105:4 118:7,20,21
   121:1 144:14                                164:4 166:1           120:20 122:1,22
                          120:20 121:1
 vote 41:3,9 49:11                            wet 82:2 84:17         123:8,22 124:6
                        wants 105:1
   49:14 50:3,5,8                             wheeling 35:25         125:13,23 126:7
                          109:24 116:20
   54:9,10,11,13,15                            36:3,20 37:1,8,20     129:1,4,6,18
                        ward 3:13 11:9,10
   54:16 124:18                               white 5:5 26:6,9       130:11,16 132:1
                        warning 50:23
 voted 40:22 43:5                              136:21 137:19         132:20 133:6
                          73:2
   118:11 124:23                               148:24 149:7          134:12,18 135:3
                        washington 93:14
   160:11                                      150:1,19 151:14       135:11,17,23
                        watch 103:6
 votes 49:25 54:2                             white's 149:2          136:10 137:6,7,12
                        water 17:21
 vpeletdeltoro 2:17                           whoa 35:8              137:18 138:1,4,10
                        way 28:23 49:19
 vs 1:7 164:4 166:1                           wilshire 13:20         138:12,21 139:2
                          73:3 82:6 84:13
                                                                     139:15 140:22
                          97:7 111:12

                                                                               Page 29
                                 Veritext Legal Solutions
                                      866 299-5127
                                                                    Armistead App. 1139

[witness - zoë]

  141:7 143:1         wvada 37:2               97:22 99:25
  144:20 145:5,22     wvago.gov 4:22,22        121:10 129:14
  148:3 149:16        wveis 46:9,13            133:3 149:16
  150:4 151:19          117:6 119:18,21        159:15,18,19
  152:12,21,24          120:1,2,4,8 125:11     160:4,4
  153:2 156:8,14,22     125:14,18 126:5,9    year's 111:24,25
  157:15 158:2          155:7,15,20,21,22    years 16:16 17:13
  159:14 160:21         156:2,5,9,12           17:14 31:8 35:7
  161:2,12 163:6,21   wvssac 12:2 16:20        35:23 36:25 37:7
  164:13,16 165:2,5     16:23 62:24 66:9       37:19 39:15 40:2
  166:24                66:11,19,22 69:4       86:15,18 94:2
 woman 115:20           70:14 71:9 73:21       100:7 107:21
 word 145:6             74:2,18 77:5           111:19 132:4
 work 35:3,6 41:15      104:5 124:25           143:21 144:15
  43:25 112:9           143:16,20 149:10       159:19,20,24
  130:19,21           wvssac's 155:6         yep 42:23 64:4
 working 42:1         wvssac.org 127:9         106:24
  100:5               wvssac000001           york 2:15,15 3:10
 workings 31:22         140:16                 3:10,21,21
 works 63:8 95:2      wvssac000123           youth 3:19
  122:25                85:18                          z
 workshop 132:3       wvssac000133
                                             zero 96:12
 worth 40:7             63:14 64:3
                                             zeros 99:13
 wrap 146:10          wvssac000136
                                             zhelstrom 2:24
 wrestling 16:18        73:11
                                             zoom 1:19 2:1,7
  104:18 110:1,13     wvssac000216
                                               2:13,14,19,20,21
  111:16 134:3,4        51:23
                                               3:4,9,13,14,20 4:4
  135:6                        x               4:5,12,13,19 5:5
 write 71:10 83:3
                      x 7:1,10 8:1 165:1       5:10,11,12,13,19
  143:19
                      xx 163:18                6:4,6,7,9 9:1,25
 writes 69:7 144:25
                               y             zoë 2:20 11:13
 writing 70:17
  142:6               yards 2:15
 written 34:13 35:1   yeah 53:2 57:25
  49:4,19,24 52:6       64:11,12 92:7
  68:17 74:5,13         100:15,18 104:10
  77:7 80:2 87:11       122:4 127:6
  118:10                149:20 150:14
 wrong 137:21           152:24
 wrote 86:3           year 48:9 60:16
                        64:19 68:20 85:12

                                                                            Page 30
                                Veritext Legal Solutions
                                     866 299-5127

                                                Armistead App. 1140



             )HGHUDO5XOHVRI&LYLO3URFHGXUH

                         5XOH



    H 5HYLHZ%\WKH:LWQHVV&KDQJHV

     5HYLHZ6WDWHPHQWRI&KDQJHV2QUHTXHVWE\WKH

GHSRQHQWRUDSDUW\EHIRUHWKHGHSRVLWLRQLV

FRPSOHWHGWKHGHSRQHQWPXVWEHDOORZHGGD\V

DIWHUEHLQJQRWLILHGE\WKHRIILFHUWKDWWKH

WUDQVFULSWRUUHFRUGLQJLVDYDLODEOHLQZKLFK

    $ WRUHYLHZWKHWUDQVFULSWRUUHFRUGLQJDQG

    % LIWKHUHDUHFKDQJHVLQIRUPRUVXEVWDQFHWR

VLJQDVWDWHPHQWOLVWLQJWKHFKDQJHVDQGWKH

UHDVRQVIRUPDNLQJWKHP

     &KDQJHV,QGLFDWHGLQWKH2IILFHU V&HUWLILFDWH

7KHRIILFHUPXVWQRWHLQWKHFHUWLILFDWHSUHVFULEHG

E\5XOH I      ZKHWKHUDUHYLHZZDVUHTXHVWHG

DQGLIVRPXVWDWWDFKDQ\FKDQJHVWKHGHSRQHQW

PDNHVGXULQJWKHGD\SHULRG




',6&/$,0(57+()25(*2,1*)('(5$/352&('85(58/(6

$5(3529,'(')25,1)250$7,21$/385326(621/<

7+($%29(58/(6$5(&855(17$62)$35,/

3/($6(5()(5727+($33/,&$%/()('(5$/58/(6

2)&,9,/352&('85()258372'$7(,1)250$7,21
                                              Armistead App. 1141
              VERITEXT LEGAL SOLUTIONS
    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
                                                   Armistead App. 1142
                                                                         1


 1                IN THE UNITED STATES DISTRICT COURT

 2             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 3                        CHARLESTON DIVISION

 4                           * * * * * * * *

 5   B.P.J., by her next friend and      *

 6   Mother, HEATHER JACKSON,            *

 7       Plaintiff                       *   Case No.

 8       vs.                             *   2:21-CV-00316

 9   WEST VIRGINIA STATE BOARD OF        *

10   EDUCATION, HARRISON COUNTY          *

11   BOARD OF EDUCATION, WEST            *

12   VIRGINIA SECONDARY SCHOOL           *

13   ACTIVITIES COMMISSION, W.           *

14   CLAYTON BURCH in his official       * CONFIDENTIAL

15   Capacity as State Superintendent,* VIDEOTAPED

16   DORA STUTLER in her official        * VIDEOCONFERENCE

17   Capacity as Harrison County         * DEPOSITION

18   Superintendent, PATRICK MORRISEY *           OF

19   In his official capacity as         * KACIE KIDD, M.D.

20   Attorney General, and THE STATE     * February 21, 2022

21   OF WEST VIRGINIA,                   *

22       Defendants                      *

23               Any reproduction of this transcript
                  is prohibited without authorization
24                      by the certifying agency.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                 Armistead App. 1143
                                                                       2


 1      CONFIDENTIAL VIDEOTAPED VIDEOCONFERENCE DEPOSITION

 2                               OF

 3   KACIE KIDD, M.D., taken on behalf of the Defendant,

 4   State of West Virginia herein, pursuant to the Rules of

 5   Civil Procedure, taken before me, the undersigned,

 6   Nicole Montagano, a Court Reporter and Notary Public in

 7   and for the State of West Virginia, on Monday, February

 8   21, 2022, beginning at 10:16 a.m.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1144
                                                                          3


 1                        A P P E A R A N C E S

 2

 3   JOSHUA BLOCK, ESQUIRE

 4   American Civil Liberties Union Foundation

 5   125 Broad Street

 6   New York, NY    10004

 7   COUNSEL FOR PLAINTIFF

 8

 9   KATHLEEN R. HARTNETT, ESQUIRE

10   ANDREW BARR, ESQUIRE

11   KATELYN KANG, ESQUIRE

12   ZOE HELSTROM, ESQUIRE

13   ELIZABETH REINHARDT, ESQUIRE

14   Cooley, LLP

15   3 Embarcadero Center

16   20th Floor

17   San Francisco, CA       94111-4004

18       COUNSELS FOR PLAINTIFF

19

20

21

22

23

24



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1145
                                                                         4


 1                  A P P E A R A N C E S (cont'd)

 2

 3   SRUTI SWAMINATHAN, ESQUIRE

 4   Lambda Legal

 5   120 Wall Street

 6   19th Floor

 7   New York, NY     10005-3919

 8       COUNSEL FOR PLAINTIFF

 9

10   DAVID TRYON, ESQUIRE

11   CURTIS R.A. CAPEHART, ESQUIRE

12   State Capitol Complex

13   Building 1, Room E-26

14   Charleston, WV     25305

15       COUNSEL FOR STATE OF WEST VIRGINIA

16

17   ROBERTA F. GREEN, ESQUIRE

18   Shuman McCuskey Slicer, PLLC

19   1411 Virginia Street East

20   Suite 200

21   Charleston, WV     25301

22       COUNSEL FOR WEST VIRGINIA SECONDARY SCHOOL

23       ACTIVITIES COMMISSION

24



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1146
                                                                        5


 1                  A P P E A R A N C E S (cont'd)

 2

 3   SUSAN DENIKER, ESQUIRE

 4   JEFFREY M. CROPP, ESQUIRE

 5   Steptoe & Johnson

 6   400 White Oaks Boulevard

 7   Bridgeport, WV   26330

 8       COUNSEL FOR HARRISON COUNTY BOARD OF EDUCATION and

 9       HARRISON COUNTY SUPERINTENDENT DORA STUTLER

10

11   KELLY C. MORGAN, ESQUIRE

12   MICHAEL W. TAYLOR, ESQUIRE

13   Bailey Wyant

14   500 Virginia Street East

15   Suite 600

16   Charleston, WV   25301

17       COUNSEL FOR WEST VIRGINIA BOARD OF EDUCATION and

18       SUPERINTENDANT W. CLAYTON BURCH

19

20   CHRISTIANA HOLCOMB, ESQUIRE

21   Alliance Defending Freedom

22   15100 North 90th Street

23   Scottsdale, AZ   85260

24       COUNSEL FOR INTERVENOR, LAINEY ARMISTEAD



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                  Armistead App. 1147
                                                                        6


 1                 A P P E A R A N C E S (cont'd)

 2

 3   TIMOTHY D. DUCAR, ESQUIRE

 4   Law Office of Timothy D. Ducar

 5   7430 East Butherus Drive, Suite E

 6   Scottsdale, AZ     85260

 7       COUNSEL FOR INTERVENOR, LAINEY ARMISTEAD

 8

 9   TIMOTHY R. LINKOUS, ESQUIRE

10   Lindous Law, PLLC

11   10 Cheat Landing

12   Suite 200

13   Morgantown, WV     26508

14       COUNSEL FOR KACIE KIDD, M.D.

15

16

17

18

19

20

21

22

23

24



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1148
                                                                          7


 1                               I N D E X

 2

 3   DISCUSSION AMONG PARTIES                          10 -    15

 4   WITNESS: KACIE KIDD, M.D.

 5   EXAMINATION

 6      By Attorney Tryon                              16 - 134

 7   DISCUSSION AMONG PARTIES                         134 - 136

 8   CERTIFICATE                                              137

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1149
                                                                        8


 1                            EXHIBIT PAGE

 2

 3                                                  PAGE

 4   NUMBER   DESCRIPTION                       IDENTIFIED

 5   16       Doctor's Note                           --

 6   33       Standards of Care for the

 7            Health of Transsexual, Transgender,

 8            And Gender Nonconforming People         --

 9   35       Doctor's Note                           --

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                 Armistead App. 1150
                                                                       9


 1                         OBJECTION PAGE

 2

 3   ATTORNEY                                   PAGE

 4   Hartnett    19, 30, 44, 44, 46, 54, 54, 54, 63, 64, 77,

 5   77, 77, 86, 86, 87, 87, 88, 92, 94, 95, 95, 96, 97, 99,

 6   103, 103, 104, 114, 117, 117, 118, 118, 119, 119, 120,

 7   120, 120, 121, 122, 122, 123, 123, 123, 124, 124, 124,

 8   128, 128, 128, 130, 130, 130, 131, 131, 132, 132, 133

 9

10   Linkous                                                 23

11

12

13

14

15

16

17

18

19

20

21

22

23

24



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1151
                                                                     10


 1                        S T I P U L A T I O N

 2   --------------------------------------------------------

 3   (It is hereby stipulated and agreed by and between

 4   counsel for the respective parties that reading,

 5   signing, sealing, certification and filing are not

 6   waived.)

 7   --------------------------------------------------------

 8                        P R O C E E D I N G S

 9   --------------------------------------------------------

10                    VIDEOGRAPHER: We are now on the record.

11   My name is Jacob Stock.     I'm a Certified Legal Video

12   Specialist employed by Sargent's Court Reporting

13   Services.   The date today is February 21st, 2022, and

14   the current time is 10:16 a.m. Eastern Standard Time.

15   This deposition is being taken remotely by

16   videoconferencing.     The caption of this case in the

17   United States District Court for the Southern District

18   of West Virginia, Charleston Division.       BPJ by her next

19   friend and mother, Heather Jackson v. West Virginia

20   State Board of Education, et al.     Case number

21   2:21-CV-00316.   The name of the witness is Kacie Kidd,

22   M.D.   Will the attorneys present state their names and

23   the parties they represent?

24                    ATTORNEY LINKOUS:   This is Tim Linkous on



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                       Armistead App. 1152
                                                                        11


 1   behalf of Kacie Kidd, M.D.

 2                     ATTORNEY TRYON:     This is David Tryon on

 3   behalf of the State of West Virginia.

 4                     ATTORNEY DENIKER:     This is Susan Deniker

 5   on behalf of Defendants Harrison County Board of

 6   Education and Superintendant Dora Stutler.

 7                     ATTORNEY GREEN:     This is Roberta Green on

 8   behalf of West Virginia Secondary School Activities

 9   Commission.

10                     ATTORNEY MORGAN:     This is Kelly Morgan on

11   behalf of West Virginia Board of Education and

12   Superintendant Burch.

13                     ATTORNEY HOLCOMB:     This is Christiana

14   Holcomb on behalf of Intervenor, Lainey Armistead.

15                     ATTORNEY HARTNETT:        And sorry, I think I

16   was on mute before.     This is Kathleen Hartnett from

17   Cooley for Plaintiff.     And there are several others on

18   the line for Plaintiff from Cooley.

19                     ATTORNEY BARR:     Yes.     Good morning.     This

20   is Andrew Barr from Cooley on behalf of Plaintiff.

21                     ATTORNEY KANG:     Good morning.     This is

22   Katelyn Kang from Cooley on behalf of the Plaintiff.

23                     ATTORNEY REINHARDT:        Good morning.    This

24   is Elizabeth Reinhardt on behalf of Plaintiff.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1153
                                                                      12


 1                    ATTORNEY HELSTROM:     Good morning.     This

 2   is Zoe Helstrom from Cooley on behalf of Plaintiff.

 3                    ATTORNEY SWAMINATHAN:     Good morning.

 4   This is Sruti Swaminathan from Lambda Legal on behalf of

 5   Plaintiff.

 6                    ATTORNEY BLOCK:     Good morning.     This is

 7   Josh Block from the ACLU on behalf of Plaintiff.

 8                    VIDEOGRAPHER:     If that's everybody, the

 9   court reporter can swear in the witness, and we can

10   begin.

11                    ATTORNEY TRYON:     Two things.     So first of

12   all, I went to mention that my colleague, Curtis

13   Capehart, is on this call.     And I wanted to take care of

14   a housekeeping matter before we get started.         I wonder

15   if we could do that, if we could exclude Dr. Kidd for

16   just a moment.

17                    VIDEOGRAPHER:

18                    Yes, give me one second.

19                    ATTORNEY TRYON:

20                    Thank you.   So I just wanted to --- we

21   had previously in other depositions we've talked about

22   how we're going to handle objections.      And Mr. Linkous,

23   in some other depositions, we've said that we are going

24   to handle by stating objection for form of the question



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                       Armistead App. 1154
                                                                           13


 1   or directing the witness not to answer for privilege

 2   issues.   And Kathleen, are you going to be handling this

 3   deposition?

 4                     ATTORNEY HARTNETT:        Yes, David.   And

 5   would you like to discuss this off the record first and

 6   then we can put our agreements on the record?

 7                     ATTORNEY TRYON:      Okay.

 8                     ATTORNEY HARTNETT:        Can we go off the

 9   record?

10                     VIDEOGRAPHER:      Yes.    Going off the

11   record.   The current time is 10:20 a.m.

12   OFF VIDEOTAPE

13                                  ---

14   (WHEREUPON, AN OFF RECORD DISCUSSION WAS HELD.)

15                                  ---

16   ON VIDEOTAPE

17                     VIDEOGRAPHER:      Back on the record.        The

18   current time is 10:24 a.m.

19                     ATTORNEY TRYON:      Thank you.    So while we

20   were off the record we had a discussion and we've come

21   to an agreement on how to handle objections, that

22   primarily we would be handling objections by stating one

23   of three things, either objection to form, objection as

24   to technology --- or terminology, excuse me, or



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1155
                                                                      14


 1   objection to any privileges or scope.        So I guess that's

 2   four.   And Mr. Linkous has said he will strive for that,

 3   but has not specifically addressed --- agreed to that.

 4   And finally, the counsel for Defendants have indicated

 5   that they will --- if there is an objection by counsel

 6   for Dr. Kidd, then they will be included within that

 7   objection.    So they don't have to object as well.         Is

 8   that a fair summary of our discussion?

 9                     ATTORNEY HARTNETT:     Just on the last

10   point, it was objections by the witness to Counsel.

11                     ATTORNEY TRYON:     Thank you for correcting

12   me.

13                     ATTORNEY LINKOUS:     Hey, Dave, can I ask a

14   quick question?

15                     ATTORNEY TRYON:     Yes.

16                     ATTORNEY LINKOUS:     Ms. Holcomb, who was

17   on just a second ago, I heard her say she represents an

18   intervenor, and I didn't know there was an intervenor,

19   so who intervened and what's the story there?

20                     ATTORNEY TRYON:     The intervenor is Lainey

21   Armistead, I think that's how you say her last name, who

22   is a colleague student, a female college student who has

23   intervened.

24                     ATTORNEY LINKOUS:



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                       Armistead App. 1156
                                                                         15


 1                    Okay.    Thank you.     I appreciate that.

 2                    ATTORNEY HARTNETT:       And Tim, that's a

 3   gender college student who is seeking to intervene to

 4   defend the state law.

 5                    ATTORNEY LINKOUS:       I see.   Thank you.

 6                    COURT REPORTER:       Josh, one second.      It's

 7   the court reporter.      Can you go off the record, please,

 8   Josh?

 9                    VIDEOGRAPHER:       Going off the record,

10   10:26 a.m.

11   OFF VIDEOTAPE

12                                  ---

13   (WHEREUPON, AN OFF RECORD DISCUSSION WAS HELD.)

14                                  ---

15   ON VIDEOTAPE

16                    VIDEOGRAPHER:       Back on the record.      The

17   current time reads 10:32 a.m.

18                    ATTORNEY DUCAR:       My name is Tim Ducar.

19   I'm entering an appearance on behalf of the intervenor,

20   Lainey Armistead.

21                    VIDEOGRAPHER:       The court reporter can

22   swear in the witness and we can begin.

23                                 - - -

24                         KACIE KIDD, M.D.,



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1157
                                                                     16


 1   CALLED AS A WITNESS IN THE FOLLOWING PROCEEDINGS, HAVING

 2   FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS FOLLOWS:

 3                                - - -

 4                             EXAMINATION

 5                                  ---

 6   BY ATTORNEY TRYON:

 7      Q.    Dr. Kidd, my name is David Tryon.       I represent

 8   the State of West Virginia.      Can you, first of all, tell

 9   me how you would prefer that I address you?

10      A.    Hi, I'm Kacie Kidd.      I use she/her pronouns.

11   You're welcome to address me as Kacie or Dr. Kidd.

12      Q.    Very good.     So Kacie --- well, let me call you

13   Dr. Kidd.    Dr. Kidd, are you represented by counsel

14   today?

15      A.    I am.

16      Q.    And who is that?

17      A.    Mr. Linkous.

18      Q.    And how long has he represented you?

19      A.    Well, I can't recall our exact first email

20   exchange.    I think it's been over a month.

21      Q.    Okay.

22               Have you ever been deposed before?

23      A.    I have not.

24      Q.    Have you ever testified at trial before?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1158
                                                                   17


 1      A.   I have not.

 2      Q.   Excuse me.     Sorry about that.   Have you ever

 3   been sued before?

 4      A.   I have not.

 5      Q.   Have you ever been retained as an expert either

 6   as a testifying or consulting expert in any litigation

 7   or otherwise?

 8      A.   I have not.

 9      Q.   We are in Federal Court, so the Federal Rules of

10   Procedure apply here.    And under the Federal Rules of

11   Procedures 30(c)(2) it provides for objections by your

12   counsel or other counsel.    And while we were off the

13   record or before --- we have agreed to certain ways to

14   make objections.    And then even if there are objections,

15   you'll still need to answer questions unless your

16   counsel directs you to not do so.

17            Understand?

18      A.   Yes.

19      Q.   Do you have any questions about that?

20      A.   No.

21      Q.   Okay.

22            So when you answer, as you're doing now, please

23   answer verbally rather than a nod or a shake.        The court

24   reporter, especially since she is not currently watching



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1159
                                                                     18


 1   us, will not be able to detect anything other than your

 2   actual words.

 3               Okay?

 4      A.   Yes.

 5      Q.   Now, if you don't understand my questions,

 6   please say so, and I will try to reframe them or say it

 7   in a different way.

 8               All right?

 9      A.   Okay.

10      Q.   And if you need a break, let us know and we'll

11   make --- we'll try and accommodate that.       The only thing

12   you can't do is take a break after I've asked a

13   question.     So we need to do it before I ask a question.

14   And I'll also note that this deposition is being

15   conducted as upon Cross Examination.

16               Now, are you familiar with the lawsuit that's

17   involved here?

18      A.   I know of the lawsuit loosely.        I don't know

19   significant details.

20      Q.   Okay.

21               Just briefly, the Plaintiff in the case is BPJ.

22   Are you aware of who BPJ is?

23      A.   I am.

24      Q.   And BPJ is suing various Defendants asserting



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1160
                                                                     19


 1   that a law known as HB-3293 is invalid at least as it

 2   pertains to BPJ.     Were you aware of that much?

 3      A.     Not the numbers and name of that law, but

 4   loosely, yes.

 5      Q.     Okay.

 6             Have you heard of the law, loosely known ---

 7   well, it is known as HB-3293, sometimes called the

 8   Women's Sports --- Save Women's Sports Act, and maybe

 9   there's other names for it, too.       Have you heard of the

10   law?

11                     ATTORNEY HARTNETT:    Objection to the

12   form.

13                     THE WITNESS:   In lay media, yes.

14   BY ATTORNEY TRYON:

15      Q.     You haven't actually seen the lawsuit.

16             Is that right?

17      A.     That's correct.

18      Q.     Have you read that law?

19      A.     I can't recall if I read the actual law that

20   passed.

21      Q.     Okay.

22             Have you brought any documents to the

23   deposition with you today?

24      A.     I was told to have the two --- I think they're



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1161
                                                                     20


 1   called exhibits, the WPATH Guidelines and my clinical

 2   record.

 3      Q.      Okay.

 4               And do you have those in hard copy or just

 5   electronically?

 6      A.      Both.

 7      Q.      Okay.

 8               And have you reviewed any documents in

 9   preparation for this deposition?

10      A.      Yes.

11      Q.      Which documents are those?

12      A.      They were documents provided by my lawyer

13   telling me about depositions because I add ---.

14                      ATTORNEY LINKOUS:   Stop right there, Dr.

15   Kidd.     Communications from me to you and the substance

16   of those communications are privileged.       You don't have

17   to talk about the substance of those.

18   BY ATTORNEY TRYON:

19      Q.      Yes.    All I need to know and I don't want to

20   know what you and your lawyer talked about.         I just want

21   to know what documents you've looked at in preparation

22   for your deposition today.

23      A.      Sure.    So those documents certainly.

24      Q.      Okay.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                      Armistead App. 1162
                                                                        21


 1             So those are the medical records you mentioned,

 2   as well as the WPATH standards?

 3      A.     Yes.

 4      Q.     Anything else?

 5      A.     I've certainly reviewed the medical literature

 6   in this case but that is an ongoing process that I'm

 7   always engaged in.

 8      Q.     Okay.

 9             Now, on Saturday we received some additional

10   documents from your office, which appear to be similar

11   to what's previously been marked as Exhibit 16.           Do you

12   have those in front of you as well?

13      A.     I'm not familiar with what Exhibit 16 includes.

14                     ATTORNEY LINKOUS:     Mr. Tryon, I will just

15   interrupt and say that those records didn't really come

16   from her office, they came from me.       And I sent them to

17   Plaintiff's Counsel, who then provided them to you.

18                     ATTORNEY TRYON:     Got it.   And do you know

19   if Dr. Kidd has those in front of her as well?

20                     ATTORNEY LINKOUS:     She should, yes.

21                     ATTORNEY TRYON:     Okay.

22   BY ATTORNEY TRYON:

23      Q.     So having gone through those --- excuse me one

24   moment.   So just some quick background.        Can you give me



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1163
                                                                     22


 1   your full name and address, please?

 2      A.     My home address or my work address?

 3      Q.     Both, please.

 4      A.     My full name is Kacie Marie Kidd.     My work

 5   address is --- depends on if you're looking at my office

 6   or clinical practice, but my office is 1 Medical Center

 7   Drive, Morgantown, West Virginia, 26506, I believe.         And

 8   my home address ---.

 9      Q.     Can you slow down just a little bit, please?

10      A.     Sure.

11      Q.     Go ahead.

12      A.     Do you need me to repeat?    My home address is

13   106 Canyon Ridge Drive, Morgantown, West Virginia,

14   26508.

15      Q.     And can you give me your work phone number,

16   please?

17      A.     I would need to check my business card.       Is it

18   okay if I do that?

19      Q.     Yes.

20      A.     My work phone (304) 293-6307.

21      Q.     And I would also like to ask you for your

22   personal phone number, which I would use only in the

23   event that for some reason you were no longer

24   represented by counsel.    Otherwise, I would contact you



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1164
                                                                          23


 1   through counsel.

 2                     ATTORNEY LINKOUS:     I would --- I just

 3   object and instruct her not to answer on that.          I will

 4   accept subpoenas and you can contact me through her.             I

 5   will continue representing her.       And if not, there will

 6   be new counsel assigned and you will be informed of

 7   that.

 8                     ATTORNEY TRYON:     Well, I've never had

 9   anyone instruct a witness not to do that before, but

10   I'll move on.

11   BY ATTORNEY TRYON:

12      Q.     Can you tell me where you went to --- about your

13   education, your undergraduate education first, please?

14      A.     Sure.    I received my Bachelor's Degree in

15   biology and women's studies from West Virginia

16   University.     I then went to medical school at West

17   Virginia University School of Medicine.       After that I

18   completed a four-year residency in internal medicine and

19   pediatrics at West Virginia University School of

20   Medicine.     I then completed a three-year fellowship in

21   adolescent medicine at the University of Pittsburgh.

22      Q.     What was your major in your pre-Bachelor's

23   Degree?

24      A.     It was biology and women's studies.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1165
                                                                     24


 1      Q.   And when did you get your Bachelor's Degree?

 2      A.   I graduated with my Bachelor's in 2010.

 3      Q.   And medical school, when did you graduate there?

 4      A.   2014.

 5      Q.   Did you have any particular emphasis at the West

 6   Virginia School of Medicine?

 7      A.   It's not customary for people to have emphasis

 8   in medical school but instead in residency.

 9      Q.   Okay.

10               And in your residency what was your specialty

11   or emphasis?

12      A.   I did a dual residency in internal medicine and

13   pediatrics.

14      Q.   And when did you get that?        When did you

15   complete your residency?

16      A.   In 2018.

17      Q.   And then your fellowship, what was that in?

18      A.   Adolescent medicine.

19      Q.   And when did you complete that?

20      A.   In 2021.

21      Q.   Any particular reason that you chose adolescent

22   medicine?

23      A.   Supporting adolescents and young adults is my

24   favorite part of medicine.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1166
                                                                     25


 1      Q.   Have you had any other specialized training

 2   other than what you just discussed?

 3      A.   Within adolescent medicine there are several

 4   ways to have additional training and I did pursue one of

 5   those ways.

 6      Q.   And what was that?

 7      A.   Gender affirming care.

 8      Q.   And in what way did you pursue that?

 9      A.   I dedicated much of my clinical training to

10   learning under experts in this space.       I also dedicated

11   my research training in a similar vein, and I engaged in

12   organizations and groups and additional educational

13   opportunities to round out that training.

14      Q.   What experts are you referring to?

15      A.   Doctor Gerald Montano, Doctor Selma Witchell

16   among others.

17      Q.   I'm sorry.      Montano and who is the other one?

18      A.   Selma Witchell.

19      Q.   Can you spell that, please?

20      A.   W-I-T-C-H-E-L-L.

21      Q.   And what was the first name?

22      A.   Selma, S-E-L-M-A.

23      Q.   And where is Selma Witchell?

24      A.   The University of Pittsburgh.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1167
                                                                     26


 1      Q.   Do you have a license to practice medicine?

 2      A.   I do.

 3      Q.   Where?

 4      A.   In the State of West Virginia.

 5      Q.   Any others?

 6      A.   I previously held a training license in the

 7   State of Pennsylvania when I was a trainee there.

 8      Q.   But currently you do not?

 9      A.   I do not.

10      Q.   And do you have any --- you may have answered

11   this, but do you have any specific specialties?

12      A.   My specialties are pediatrics, internal

13   medicine, adolescent medicine and gender affirming care.

14      Q.   I was wondering if that was my computer dinging

15   or someone else's.

16      A.   I think it may be mine.       Give me a second.      I'll

17   sign out of my email.

18      Q.   Okay.

19      A.   Okay.

20      Q.   Do you have Board Certifications?

21      A.   I do.

22      Q.   What are those?

23      A.   I'm Board Certified in Internal Medicine and

24   Pediatrics.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1168
                                                                   27


 1      Q.     What was necessary to get Board Certification

 2   for internal medicine?

 3      A.     I was trained in internal medication and many of

 4   my patients are adults by legal definition.

 5      Q.     I'm sorry.   You broke up.   Can you repeat that

 6   please?

 7      A.     Sure.    I was trained in internal medicine and

 8   eligible to sit that Board Examination.     Additionally, a

 9   lot of my patients are over the age of 18.

10      Q.     So you had to sit for a Board Examination.

11             Is that right?

12      A.     I sat for two Board Examinations in Pediatrics

13   and Internal Medicine as well as numerous Board

14   Examinations to be allowed to get to that point.

15      Q.     Okay.

16             And you passed those boards?

17      A.     I did.

18      Q.     Are you a member of any medical societies?

19      A.     I am.

20      Q.     What are those?

21      A.     I am currently a member of the American Academy

22   of Pediatrics.     I'm a member of the Society for

23   Adolescent Health and Medicine.     I am also a member of

24   the World Professional Association for Transgender



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1169
                                                                     28


 1   Health.

 2      Q.      Any others?

 3      A.      Not that I can recall.

 4      Q.      When you said the Society for Adolescent

 5   Medicine, did I hear that right?

 6      A.      The Society for Adolescent Health and Medicine,

 7   abbreviated SAHM, S-A-H-M.

 8      Q.      And what do you need to be a member of that,

 9   what do you need to do?

10      A.      Most of these organizations have membership

11   tiers for a variety of persons and you need to pay a

12   fee.     But for the purpose of my membership, it's as a

13   physician.     And for the American Academy of Pediatrics I

14   have a special notation in my membership as someone who

15   has passed the board exam for that field.

16      Q.      For WPATH, what do you need to do to be a member

17   there?

18      A.      You need to sign up and pay a fee and check your

19   membership category.     Mine, again, is physician and

20   although I think I may be still listed as a student

21   member based on my training time at the University of

22   Pittsburgh for that membership, but I am also part of

23   their global education initiative, which is an

24   additional training on top of being a member.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1170
                                                                   29


 1      Q.     I'm sorry, global what initiative?

 2      A.     Education initiative.

 3      Q.     Are you a member of the ---?

 4      A.     I am not.

 5      Q.     Are you a member or on the board of any

 6   educational organizations?

 7      A.     I think it depends on what you mean by

 8   educational organization.

 9      Q.     Any organizations that try and educate on any

10   issues?

11      A.     Well, broadly, I'm faculty at West Virginia

12   School of Medicine and I routinely educate a variety of

13   learners at a variety of levels.     I'm also part of

14   something called the Tri-State Gender Collaborative,

15   which is a community-based organization that does

16   provide education.

17      Q.     And do you have privileges at any hospitals?

18      A.     I do have privileges at Ruby Memorial Hospital

19   in Morgantown, West Virginia.

20      Q.     Any others?

21      A.     No.

22      Q.     So tell me of your work experience, your

23   professional work experience.

24      A.     Can you restate your question?



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1171
                                                                    30


 1      Q.      Yes.   So I'm interested to learn your work

 2   experience, where you have worked and what you have done

 3   starting --- I'm not sure exactly --- you've told me

 4   about your internship and then I know that you are doing

 5   some other things.     So after your internship, did you

 6   have any professional --- did you start working right

 7   away or did you just do the fellowship or is fellowship

 8   considered work?     Help me out, understand your work

 9   history.

10                     ATTORNEY HARTNETT:   Objection to the

11   form.

12                     THE WITNESS:   Medicine training is

13   complicated, and so the internship is part of residency.

14   That was part of the four years that I spent in internal

15   medicine and pediatrics training.      During that time I

16   was working in a variety of settings to obtain training

17   in both of those fields.

18                     After that was completed I was also doing

19   training at the University of Pittsburgh.       One could

20   consider all of those work.      And I was a paid employee

21   during that time when I was a trainee as well.

22   BY ATTORNEY TRYON:

23      Q.      What's the first job in which you were actually

24   treating patients?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1172
                                                                     31


 1      A.   I have been treating patients since I was a

 2   medical student.

 3      Q.   Okay.

 4               And your first paid job where you were treating

 5   patients?

 6      A.   That would have been the beginning of my

 7   residency, which is often called an internship in

 8   internal medicine and pediatrics.

 9      Q.   And then how about your fellowship, were you

10   treating patients during your fellowship?

11      A.   Yes.

12      Q.   What is your current --- I don't know what the

13   right term would be profession --- excuse me, profession

14   or your work status?

15      A.   I am currently an assistant professor in the

16   Department of Pediatrics at the WVU School of Medicine.

17   I am also the Medical Director of the WVU Medicine

18   Children's Gender and Sexual Development Clinic.

19      Q.   And then do you have a separate practice where

20   you diagnose and treat patients?

21      A.   Under those titles, yes.

22      Q.   Okay.

23               So it's not separate from those?

24      A.   No.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1173
                                                                     32


 1      Q.   Do you get paid directly by the patients or just

 2   only get paid by the West Virginia University?

 3      A.   I am dual employed as is the customary practice

 4   for physicians who are working at the WV School of

 5   Medicine, and so my dual employment goes both through

 6   West Virginia University as well as --- I believe it's

 7   called UHA, the University Health Associates, but I may

 8   need to clarify that.

 9      Q.   Okay.

10               As assistant professor what do you do?

11      A.   Assistant professor is my title in my tenure

12   track of employment, and so it's fairly traditional for

13   assistant professors to be the entry point of tenure

14   track position, if that makes sense.       And my role in

15   that is to provide medical care as well as to conduct

16   research and to provide teaching.

17      Q.   So I understood conduct research and also

18   teaching.    What was the first thing you said?

19      A.   To provide clinical care.

20      Q.   What do you teach?

21      A.   I teach a variety of learner types and topics,

22   but they typically center adolescent medicine and gender

23   affirming care or both.

24      Q.   Are there classes specifically on those topics



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1174
                                                                   33


 1   or is it part of a more general class?

 2      A.   Most often my teaching is as a guest lecturer

 3   for a medical student class or a residency training

 4   program or something called grand rounds, which is a

 5   teaching opportunity for faculty-level positions.

 6      Q.   What types of research do you do?

 7      A.   I conduct mix methods research, including

 8   qualitative and quantitative analyses, centering gender

 9   adversity in people and their experiences as well as the

10   experiences of their family.

11      Q.   How many papers have you published?

12      A.   I don't know that I could give you a complete

13   answer to that question.   I suspect --- I know that it

14   is more than 12.   I suspect less than 20.    It also

15   depends on what you mean by paper.

16      Q.   Okay.

17            When you say provide clinical care --- well,

18   let me come back to that in a minute.    As Medical

19   Director of the West Virginia University --- excuse me,

20   West Virginia University Medicine Children's Gender and

21   Sexual Development --- do I have that title right?

22      A.   Almost.    It's the WVU Medicine Children's Gender

23   and Sexual Development Clinic.

24      Q.   And what is your role?    What do you do in that



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                  Armistead App. 1175
                                                                   34


 1   role?

 2      A.   I direct the clinical care of gender diverse

 3   intersex and questioning youth, ages approximately 3

 4   through 26 in our multi-disciplinary team.

 5      Q.   So how is that different then from where you

 6   provide clinical care as an assistant professor?

 7      A.   Those two jobs descriptions overlap quite a bit.

 8      Q.   Are there any parts that do not overlap?

 9      A.   I would argue that it's outside of my role as an

10   assistant professor but definitely in my role as the

11   Medical Director of the clinic to have meetings where we

12   discuss the care we provide, to meet with our DEI head

13   more promptly, diversity, equity and inclusion, those

14   sorts of things.

15      Q.   Do you supervise anyone in either of your roles?

16      A.   I often precept trainees, residents and medical

17   students.

18      Q.   Could you repeat that?

19      A.   I often precept trainees, including residents

20   and medical students.

21      Q.   You said preset?

22      A.   Precept, P-R-E-C-E-P-T.     It's a word used in

23   medical care to discuss supervision of trainees.       I'm

24   their preceptor.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1176
                                                                     35


 1      Q.     And do you supervise them as they are giving

 2   medical care?

 3      A.     Yes.

 4      Q.     Would it be fair to say that you are currently a

 5   treating physician?

 6      A.     Yes.

 7      Q.     And just so I have it right rather than me

 8   trying to restate it, in what areas do you treat

 9   patients?

10      A.     I provide care for adolescents and young adults.

11      Q.     In what areas?

12      A.     In adolescent medicine, in gender affirming

13   care.

14      Q.     Do you provide general --- are you a

15   pediatrician as well?

16      A.     It's complicated.     Adolescent medicine is a

17   complicated --- and there are many adolescent

18   specialists who do provide well child care for young

19   people.     I do that infrequently.    And so for example, if

20   a young person wishes for me to be their primary care

21   provider, I can do that on a limited basis, but the

22   majority of my care is subspecialty care and

23   consultation.

24      Q.     When patients need to come to you do they come



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1177
                                                                     36


 1   to you directly or through the University?

 2      A.      Can you restate the question?

 3      Q.      So it's my understanding that you do treat

 4   patients.     And so my question is do they come to you

 5   directly or do they go through the University?

 6      A.      I'm not understanding what you mean by coming

 7   through the University.

 8      Q.      How do you --- how do patients come to you?

 9      A.      They can call our scheduling line that is

10   available on our website or they can be referred from

11   another physician or provider.

12      Q.      How much of your time is spent with patients

13   versus your time in doing research and teaching and

14   other things?

15      A.      I am 20 percent clinical and 80 percent

16   research.

17      Q.      So when a new patient comes in what is the ---

18   let me back up for a second.      Have you been --- one

19   second.     When you have a new patient come in --- I'm

20   sorry, let me go back to my other question.        Have you

21   been asked to be an expert witness in this case?

22      A.      No.

23      Q.      Tell me about the intake process for a new

24   patient.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                 Armistead App. 1178
                                                                  37


 1      A.   Well, depending on how a new patient finds us,

 2   either through direct scheduling or referral, once they

 3   have the visit they usually meet with us for a longer

 4   than perhaps expected visit to compare to other

 5   pediatric practices.   New patients visit with my team

 6   are usually between two and two and a half hours.       An

 7   hour of that is typically spent with me and we have a

 8   fairly long conversation with the young person, with

 9   family members together and separately and then we work

10   together to help support that young person together.

11      Q.   When you say your team, who is on your team?

12      A.   Our team, from my practice, currently includes

13   myself, a child and adolescent psychiatrist, whose name

14   is Dr. Deci, and a clinical therapist, whose name is Ms.

15   Brianna Hayes.

16      Q.   Doctor Steven --- what is his last name?

17      A.   Deci, D-E-C-I.

18      Q.   And Brianna Hayes, what is ---?

19      A.   H-A-Y-E-S.

20      Q.   What's her practice?

21      A.   She is a clinical therapist.

22      Q.   And Doctor Deci, what's the practice?

23      A.   He is a child and adolescent psychiatrist.

24      Q.   When the patient first is coming in --- let me



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1179
                                                                        38


 1   back up just a little bit for some more nuts and bolts

 2   in my question.     Do they first meet with a secretary or

 3   nurse or fill out papers online?       How does that process

 4   --- let's start with someone who is just direct

 5   scheduling.

 6      A.   And so if someone calls our scheduling line,

 7   they are scheduled for a visit.      And they would arrive

 8   at their visit time, they would check in.       They would

 9   sit in the waiting room.      A nurse would call them back,

10   take their vital signs and they would be put in an exam

11   room with their family.      They arrive with family.        And

12   then our team would see them.

13      Q.   As far as the initial record, setting up the

14   initial record of who this person is and what they're

15   coming in for, who does that?

16      A.   The family when they call when to make a visit

17   will ask for a gender visit, and that's the only

18   questioning that happens at that time.

19      Q.   And then everything else that is input into the

20   patient's records would either be from the nurse or from

21   you or your team?

22      A.   For those who are directly scheduling.          If

23   someone has been referred, it may be that they're

24   referring provider or a scheduler from their referral



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                 Armistead App. 1180
                                                                  39


 1   team put additional documentation in.

 2      Q.   Is there any --- okay.

 3            So when you meet with the patients, is it

 4   initially just you or is it with the entire team first?

 5      A.   So it depends.     We like to do a greeting where

 6   we all pile in these exam rooms and say hello and

 7   introduce ourselves so young people and families know

 8   our names and faces.    Sometimes that is not possible for

 9   a variety of reasons.    And also sometimes families don't

10   need all of us and may or may not be interested in

11   seeing all of us.   Sometimes families just want to see

12   me or sometimes they just want to see the mental health

13   providers, and we try to accommodate that where we can.

14      Q.   Do you gather their past medical history?

15      A.   Yes.

16      Q.   And is their medical history important?

17      A.   I think that every patient's medical history,

18   medication list, allergies, things like that can be

19   important to their care.

20      Q.   Can you explain to me why?     I mean it may seem

21   obvious to you, but I would like to just understand it.

22      A.   Okay.

23           And so, someone's past medical history could

24   certainly impact their present health, and so part of my



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1181
                                                                    40


 1   routine practice is to ask young people and their

 2   families what kind of diagnoses they have had in the

 3   past, including things like asthma, allergies, if

 4   they've broken their arm before, a whole host of

 5   questions.

 6      Q.   Are those things relevant to gender care?

 7      A.   They could be.

 8      Q.   How would allergies be related to gender care?

 9      A.   If you had an allergy to a medication that was

10   related or the same as a medication that I could

11   provide, that would be a concern to me.

12      Q.   And do you typically take the history just from

13   the patient or do you reach out to other healthcare

14   providers?

15      A.   I take my history from the patient and parent or

16   guardian in front of me, but I also have access to our

17   electronic health record and I review that as well for

18   meeting new patients.

19      Q.   Tell me about the electronic health record.

20      A.   Our health system uses an electronic health

21   record called Epic.

22      Q.   And what is located in the Epic system?

23      A.   A variety of things, including vital signs from

24   previous visits, notes from prior visits and prior



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1182
                                                                     41


 1   providers, information about the family address and

 2   phone number, should we need to mail anything or call

 3   them, things like that.

 4      Q.   Does the Epic system --- let me back up.          So the

 5   Epic system is a system used by West Virginia

 6   University.

 7            Is that right?

 8      A.   WV Medicine specifically and UHA uses Epic I

 9   believe in most, if not all, of their hospitals.         I

10   think a couple hospitals are going live with Epic soon.

11   I think it's an incredibly common electronic health

12   record in this country and others I believe.

13      Q.   I've heard of it.       I don't know a lot about it.

14   So tell me, would Epic system that WVU Medicine is

15   using, does it just have information from within the WVU

16   Medicine medical system or does it expand out to all

17   providers in the country, for example?

18      A.   It would be wonderful if it did that if an

19   effective way.     There's a bit of capitalism involved

20   there I suspect, but we do have something called Care

21   Everywhere, which is a tab that you can select and for

22   some circumstances it allows you to see notes from other

23   Epics systems outside of WVU Medicine.

24      Q.   So what is the WVU medical system?         Where else



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1183
                                                                     42


 1   are they tied into?

 2      A.   Can you restate your question?

 3      Q.   First of all, let me make sure I get my

 4   terminology correct.     It's WVU Medical?

 5      A.   WVU Medicine.      I think that's the brand name for

 6   the UHA health family of hospitals and clinics and that

 7   sort of thing.

 8      Q.   So WVU Medicine uses the Epic system and also

 9   you can utilize Care Everywhere.       So my question is,

10   Care Everywhere ties you into what other systems?

11      A.   I don't know the comprehensive list.            It's kind

12   of a bit of luck I think sometimes navigating Care

13   Everywhere.    It's a little bit of what I would consider

14   a clunky system, but Care Everywhere is within Epic.           It

15   is not itself a separate system.

16      Q.   Understood.      But can you recall any other

17   organizations that you can access through Care

18   Everywhere?

19      A.   I know that I can access the University of

20   Pittsburgh in some capacity.      I previously worked in

21   that system, and so I wasn't seeing exactly what it

22   looked like if I was in their system, but I can't really

23   speak to other systems that are connected.

24      Q.   And if a patient comes in and they've had prior



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1184
                                                                       43


 1   medical providers, do they typically bring in any copies

 2   of medical records?

 3      A.     That would be wonderful, but it doesn't happen

 4   very often.

 5      Q.     Is the intake process any different for when

 6   someone comes in as a referral patient?

 7      A.     It depends on how they've been referred.        So for

 8   example, sometimes providers will reach out to me

 9   through secure communication within Epic and say they

10   have a patient they wish to refer and they might have

11   questions about how to make that happen.       So there may

12   be an additional layer of communication there.          I often

13   ask questions about urgency of need.       Sometimes patients

14   are needing to see me sooner for a variety of reasons,

15   maybe mental health concerns, that may be just stress

16   about getting a visit, and so I can accommodate those

17   things.

18      Q.     So if the referred physician had information,

19   they can send that to you through the Epic system?

20      A.     They can send me a communication and that may

21   include information that they feel is relevant for me to

22   know about the patient they're sending me.

23      Q.     When they send that communication, what does

24   that look like?     Is that email, texting?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1185
                                                                   44


 1      A.   It's --- it's neither.     It's actually a

 2   communication system within Epic.     It's called Inbasket.

 3      Q.   And does Inbasket provide for just

 4   communications or also sending documents?

 5      A.   I believe you can attach documents within those,

 6   but I have very intermittent luck of doing so and most

 7   folks do not use that feature.

 8      Q.   Anything else different about when you receive a

 9   referral as opposed to a direct contact?

10                   ATTORNEY HARTNETT:    Objection to form.

11                   THE WITNESS:    Not that I can think of.

12   BY ATTORNEY TRYON:

13      Q.   Let me ask you generally what types of

14   information do you need to diagnose a problem?

15                   ATTORNEY HARTNETT:    Objection to form.

16                   THE WITNESS:    Can you restate the

17   question?

18   BY ATTORNEY TRYON:

19      Q.   Yes.   So in your field, are you --- do you

20   diagnose patients?

21      A.   If it is within my scope of practice, yes.

22      Q.   And what type of --- what information do you

23   need to make a diagnosis of your patients?

24      A.   It depends on the patient and the diagnoses I'm



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1186
                                                                     45


 1   considering.

 2      Q.   Is there something called objective versus

 3   subjective symptoms?

 4      A.   Yes.

 5      Q.   Can you explain what those are and the

 6   difference?

 7      A.   Objective tends to refer to things like vital

 8   signs or labs, things that we measure.       Subjective tends

 9   to refer to things that patients tell us, like that they

10   have headaches or the severity of their headaches.

11      Q.   How do you measure subjective symptoms?

12      A.   You talk with your patient.

13      Q.   Anything else?

14      A.   That's the primary way to diagnose most things

15   is to have a conversation with your patient.

16      Q.   Is there a --- an objective way to measure the

17   subjective symptoms?

18      A.   We have a lot of scales for a lot of things.            We

19   have a lot of diagnostic criteria for a lot of things,

20   but most of medicine would not exist in my opinion if we

21   didn't talk with our patients.

22      Q.   I understand that.       So it sounds like there's

23   not a good way to actually put a measurement on

24   subjective symptoms.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1187
                                                                     46


 1            Is that a fair statement?

 2                     ATTORNEY HARTNETT:    Object to form.

 3                     THE WITNESS:    They are by nature

 4   subjective.

 5   BY ATTORNEY TRYON:

 6      Q.    So when someone comes to you for gender

 7   dysphoria issues as opposed to other types of medical

 8   issues --- actually, let me start that all over again.

 9   Do you ever treat patients or diagnose patients for

10   things other than gender dysphoria issues?

11      A.    Yes.

12      Q.    What other medical issues do you diagnose or

13   treat?

14      A.    It's a very extensive list.

15      Q.    Okay.

16            Then I won't make you go through it, but can

17   you give me some just general ideas?

18      A.    Dysmenorrhea is an incredibly common thing that

19   I treat and diagnose.

20      Q.    Can you repeat that or spell that, please?

21      A.    Dysmenorrhea, D-Y-S-M-E-N-O-R-R-H-E-A.

22   Dysmenorrhea.

23      Q.    What is that?

24      A.    Dysmenorrhea is difficult periods.        It's a whole



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1188
                                                                        47


 1   host of things that lead to heavy bleeding,

 2   uncomfortable bleeding, pain with bleeding, and can

 3   really impact live experience with young people.

 4      Q.   Okay.

 5            Anything else?

 6      A.   As I said, there are many things that I diagnose

 7   and treat.

 8      Q.   Give me a few examples just so I sort of

 9   understand your practice.

10      A.   Okay.

11           Sexually transmitted infections.        I'm an

12   adolescent medicine doctor, so really anything in the

13   pubertal period or young period is in my practice.           But

14   I often screen and treat for sexually-transmitted

15   infections.    I also manage contraception.     I also talk

16   about mood, anxiety, depression.       Would you like more?

17      Q.   I think I'm getting the sense of it.            So let me

18   ask you about gender dysphoria.      Can you give me your

19   definition for what gender dysphoria is?

20      A.   My definition is loosely based on the DSM-V,

21   which has criteria for the diagnosis of gender

22   dysphoria, but it is stress, significant distress often

23   associated with the inconference between one's sex

24   assigned at birth and gender identity lasting longer



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1189
                                                                     48


 1   than six months with accompanying things like seeking to

 2   present one's self gender expression in line with one's

 3   affirmed gender and in opposition to one's sex assigned

 4   at birth as well as some other criteria.

 5      Q.   Is the actual intake process that we have

 6   discussed for someone coming to you for gender dysphoria

 7   different than some of these other issues that you've

 8   mentioned to me?

 9      A.   Can you restate the question?

10      Q.   Sure.

11               When someone comes to you, you have given me

12   sort of the --- explained to me how the intake process

13   works in general.     And my question is, is it any

14   different in general than with respect to someone coming

15   to you with gender dysphoria specifically?

16      A.   In some ways.      I ask a whole lot more questions

17   about gender when we are talking about gender dysphoria,

18   although I ask all of my patients about gender identity.

19      Q.   Why do you ask all of your patients about gender

20   identity?

21      A.   It's important that I'm respectful of them and

22   their name and pronouns, and also we know that gender

23   diverse young people, and by my definition that is

24   anyone who's sex assigned at birth and gender identity



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1190
                                                                     49


 1   do not fully align, we know that those young people face

 2   health disparities and inequities associated with mental

 3   health, and I want to make sure I can address those if

 4   they are present.

 5                    ATTORNEY TRYON:    Let me just ask the

 6   court reporter if you're able to keep up with this?

 7                    COURT REPORTER:    Attorney Tryon, if the

 8   doctor could speak a little bit slower because I'm ---

 9   yeah, a little bit slower, Doctor, please.

10                    THE WITNESS:    Absolutely.

11                    ATTORNEY HARTNETT:    She is doing a great

12   time on the real time, though, but appreciate the point.

13   BY ATTORNEY TRYON:

14      Q.   What is --- what percentage of your practice

15   involves gender dysphoria or gender identity issues?

16      A.   I couldn't give you an exact number, but my

17   guess would be 80 percent.

18      Q.   Now, you mention there's --- this may not be

19   your word, but there's a process for diagnosing gender

20   dysphoria.

21            Is that right?

22      A.   There are diagnostic criteria, yes.

23      Q.   And can you list those for me again?           You

24   started to go through that a little bit, but if you



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1191
                                                                     50


 1   could go through that I would appreciate it.

 2      A.   These are located in the DSM-V, and I cannot

 3   recite them by memory.

 4      Q.   Well, as best as you can, can you tell me what

 5   they are?

 6      A.   Loosely, the definition of gender dysphoria by

 7   my interpretation is that there is distress, often

 8   significant distress, associated with an incongruent

 9   between one's sex assigned at birth and one's gender

10   identity lasting for at least six months and also

11   inclusive of some other criteria, which include things

12   like desiring to align one's gender expression with

13   one's affirmed gender and in opposition to one's

14   assigned sex.

15      Q.   About how many people have come to you to get an

16   initial diagnosis of gender dysphoria?

17      A.   I want to clarify that most folks, at least a

18   substantial portion of folks don't come to me asking for

19   that diagnosis specifically, but more broadly to have

20   conversations about means of support, although I am able

21   to provide that diagnosis.

22      Q.   Okay.

23               And about how many people have you given that

24   diagnosis to?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1192
                                                                     51


 1      A.    I couldn't give you an exact number.           I can

 2   approximate and say that I have seen well over a hundred

 3   patients in my clinic.

 4      Q.    And in which or for which you've given a

 5   diagnosis or gone through that --- let me start that

 6   over.   Of those hundreds, those are the --- those you've

 7   actually gone through the process to make a diagnosis of

 8   gender dysphoria?

 9      A.    I've certainly asked all of the relevant

10   questions.    Sometimes young people and their families

11   don't desire to have that diagnosis listed in their

12   chart due to fear of discrimination.

13      Q.    But you would say you've given that diagnosis

14   for over a hundred patients?

15      A.    I've certainly asked the questions associated

16   with that diagnosis, yes.

17      Q.    Okay.

18               But I'm asking where you've done the actual

19   initial diagnose --- given actual diagnosis of that

20   gender dysphoria, would you say over a hundred or not?

21      A.    It's really hard to say because there is no ---

22   there is no way that one gives a formal diagnosis kind

23   of as a here it is.     It's more of a you meet these

24   criteria.    Let's explore what that means.      Does that



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1193
                                                                    52


 1   feel in line with your life experience.      Sometimes I

 2   have to write it in the chart for the purpose of

 3   insurance coverage, for medication for example.        But

 4   it's a bit more complicated than just saying you checked

 5   the boxes, here is your diagnosis.

 6      Q.      Okay.

 7              Have you ever had a patient that came to you

 8   and you discussed gender dysphoria with that patient and

 9   ultimately you concluded that the patient did not have

10   gender dysphoria?

11      A.      I have.

12      Q.      Are those patients who initially thought they

13   had gender dysphoria and you concluded they did not?

14      A.      Not usually, no.   Those are more often patients

15   who are questioning this part of themselves and

16   exploring their identities as a normal part of

17   adolescent development.

18      Q.      For any of the patients that have come to you

19   and said they thought they had gender dysphoria, have

20   you arrived at a different diagnosis of what was causing

21   their concerns?

22      A.      I can't recall an occasion like that.

23      Q.      Are you familiar with the concept of watchful

24   waiting?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1194
                                                                    53


 1      A.   I am.

 2      Q.   Have you ever recommended that to a patient?

 3      A.   I have not because it is not recommended by the

 4   American Academy of Pediatrics.

 5      Q.   Tell me how you are familiar with that.

 6      A.   I'm familiar with it through the policy

 7   statement on the care of this population of young people

 8   from the American Academy of Pediatrics by Rafferty, et

 9   al., 2018.

10      Q.   Have you --- tell me that citation again.

11      A.   Sure.     Rafferty, et al., 2018, the American

12   Academy of Pediatrics.

13                    ATTORNEY LINKOUS:     Mr. Tryon, I know

14   we've been going about an hour-and-a-half.       When you get

15   to a logical breaking point, I could use three minutes.

16                    ATTORNEY TRYON:     Okay.

17                    Give me just another couple of minutes

18   and then we will break.

19   BY ATTORNEY TRYON:

20      Q.   Have you read any literature other than that

21   about watchful waiting?

22      A.   That is the literature that most specifically

23   sticks out in my mind.     I'm sure I've read countless

24   articles that discuss this in one form or another.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1195
                                                                   54


 1      Q.   Are you aware that there are other articles that

 2   do recommend watchful waiting?

 3                     ATTORNEY HARTNETT:   Objection to form.

 4                     THE WITNESS:   I am not familiar with

 5   articles like that from highly-respected medical

 6   organizations.

 7   BY ATTORNEY TRYON:

 8      Q.   Are you aware of any, whether or not they are

 9   from highly-respected medical organizations?

10      A.   Not off the top of my head, no.

11      Q.   Have you read their studies?      I mean, this is a

12   Dutch concept.

13            Right?

14                     ATTORNEY HARTNETT:   Objection to form.

15                     THE WITNESS:   I'm not familiar with what

16   you're talking about.

17   BY ATTORNEY TRYON:

18      Q.   It's called the Dutch Approach, and you're not

19   --- you haven't heard that?

20                     ATTORNEY HARTNETT:   Objection to form.

21                     THE WITNESS:   I certainly am familiar

22   about the Netherlands and the Dutch and the work they've

23   been doing in this space for more than a decade.

24   BY ATTORNEY TRYON:



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1196
                                                                      55


 1      Q.     And over there watchful waiting is considered an

 2   appropriate recommendation.

 3             Right?

 4      A.     I can't speak to that.       I know from their

 5   literature they've demonstrated that the approach we

 6   take here in this country when done in their country was

 7   very helpful and reduced mental health concerns in their

 8   young people.      I believe that's a DeVry study from more

 9   than ten years ago.

10      Q.     What is the difference between gender dysphoria

11   and gender nonconformity?

12                      ATTORNEY TRYON:     You know what, I will

13   withdraw that question.      We can take a break right now.

14   When we come back we can talk about that.        Okay?

15                      ATTORNEY LINKOUS:     We can go off the

16   record.

17                      VIDEOGRAPHER:     Going off the record.     The

18   current time reads 11:26 a.m.

19   OFF VIDEOTAPE

20                                  ---

21   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

22                                  ---

23   ON VIDEOTAPE

24                      VIDEOGRAPHER:     We are back on the record.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1197
                                                                     56


 1   The current time reads 11:37 a.m.

 2   BY ATTORNEY TRYON:

 3      Q.      Dr. Kidd, when we concluded, when we took our

 4   break we were just finishing up talking about watchful

 5   waiting.    Let me ask you just one or two more questions

 6   about that.     Is watchful waiting something that --- is

 7   the only reason that you don't ever recommend that is

 8   because of the Rafferty study?

 9      A.      So Rafferty is not a study.     It's a policy

10   statement from the American Academy of Pediatrics that

11   summarizes best practice guidelines for gender diverse

12   young people.       And so in that it does not recommend

13   watchful waiting.

14            Additionally, based on my own literature view

15   conducted over the course of my career thus far I have

16   never seen medical literature that supports the use of

17   that practice and is associated with positive mental

18   health outcomes for youth.

19      Q.      Okay.

20              Let me ask you about gender dysphoria versus

21   gender non-conformity.       You're familiar with both those

22   terms.

23              Right?

24      A.      I am.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1198
                                                                     57


 1      Q.   What's the difference between those two things?

 2      A.   Gender conformity is simply someone rejecting

 3   some tenet of what society presumes they should look

 4   like, act like, think like as it pertains to gender.

 5   And so that could be someone who, like myself, was

 6   assigned female but who is very interested in building

 7   and construction, right.      Typically, that is considered

 8   a more masculine pursuit.      And so that could be gender

 9   non-conformity, and that could extend through my

10   expression.    Perhaps I would want to present myself in a

11   way that is more masculine or more androgenous.         That

12   would also be reflective of gender nonconformity.

13             Where this enters into the territory of gender

14   dysphoria is when you have that significant distress

15   associated with that encumbrance between my sex

16   assignment and my gender identity.       That is the

17   difference.

18      Q.   Could you repeat that last part again?

19      A.   From where?

20                     ATTORNEY TRYON:    Can I ask the court

21   reporter to read back that answer?

22                     COURT REPORTER:    It is simply someone

23   rejecting of what society presumed they should look

24   like, act like, think like as it pertains to gender.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1199
                                                                    58


 1   And so that could be someone, who like myself, was

 2   assigned female but who is very interested in building

 3   and construction, right.     Typically that is considered a

 4   more masculine pursuit, and so that could be gender

 5   non-conformity and that could express through my

 6   expression perhaps.     I would want to perhaps myself in

 7   --- want to present myself in a way that is perhaps more

 8   masculine or androgenous, where this enters into the

 9   area of territory of gender dysphoria where you have

10   that significant distress encumbrance in between my

11   gender society.     That is the difference.   That's the

12   part I messed up.

13   BY ATTORNEY TRYON:

14         Q.   Isn't there always some level of anxiety or

15   distress when someone has a gender non-conformity?

16         A.   No, not always.

17         Q.   So then in every event where there is some level

18   of stress or anxiety does it then turn into gender

19   dysphoria?

20         A.   No.   The word that I use is significant or

21   severe, and I believe that language is also echoed in

22   diagnostic criteria.

23         Q.   So when I use the name BPJ, do you know who that

24   is?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                       Armistead App. 1200
                                                                        59


 1       A.        I do.

 2       Q.        Who is that?

 3       A.        That is B       , my patient.

 4       Q.        Last name J          ?

 5       A.        I believe it's a hyphenated last name,

 6   P        -J           , but yes.

 7       Q.        Very good.     Thank you for correcting me on that.

 8   Any --- prior to --- strike that.

 9                 Do you have any personal relationship with

10   either BPJ or BPJ's family?

11       A.        I am a physician caring for this young person.

12   That is the extent of my relationship with this family

13   and this young person.

14       Q.        When did you first hear of BPJ, with that ---

15   those initials or any other name?

16       A.        I believe the first time I heard about B            was

17   when Dr. Someshwar, an adolescent medicine specialist

18   who i work with, recommended that she see me.

19       Q.        Remind me how to spell that doctor's name?

20       A.        S-O-M-E-S-C-H-W-A-R (sic), Someshwar.

21       Q.        And how did that come about?

22       A.        So Dr. Someshwar is the division head of

23   Division of Adolescent Medicine and WVU Medicine

24   Children's and my direct supervisor in my current



                     SARGENT'S COURT REPORTING SERVICE, INC.
                                 (814) 536-8908
                                                   Armistead App. 1201
                                                                    60


 1   position, but also Dr. Someshwar provides care for

 2   gender diverse people, as I do, but she does not provide

 3   care for those who are interested in or have received

 4   pubertal blockers.

 5      Q.      Why not?

 6      A.      That is outside of her scope but well within my

 7   own, and that is why she wished for me to see B           .

 8      Q.      And how did --- and I'm also going to use BPJ

 9   because that's the name on the Complaint, number one,

10   and number two, since BPJ is a minor, that's my practice

11   is to refer to people in court proceedings by their

12   initials, all minors.

13                    ATTORNEY HARTNETT:    And if I could just

14   --- for the record, this is Kathleen Hartnett for

15   Plaintiff.    It's acceptable to us for you to refer to

16   her as B       or BPJ in this deposition.    We marked the

17   Complaint BPJ per rules of Court, and we'll mark the

18   parts of this deposition about her medical records, if

19   any, confidential, but Plaintiff has no objection to

20   referring to her in either way.     Thank you.

21                    ATTORNEY TRYON:    Well, to be clear, I'm

22   going to continue doing that because if I make the

23   mistake elsewhere, I can be sanctioned by a court, so

24   I'm going to stay with that.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1202
                                                                      61


 1   BY ATTORNEY TRYON:

 2      Q.      So how did BPJ come to the attention to Dr.

 3   Someshwar?

 4      A.      It is my understanding that Dr. Someshwar had

 5   provided care to B      .

 6      Q.      Do you know what care?

 7      A.      I had seen a note from Dr. Someshwar.

 8      Q.      And what did that note say?

 9      A.      I can't recall the contents of that note, simply

10   that I do remember seeing one.

11      Q.      Is that in the records that you mentioned before

12   or the Epic records?

13      A.      It would be in the Epic record, yes.

14      Q.      Do you remember when you had your first contact

15   with BPJ and BPJ's family?

16      A.      I know from my records the exact date.      But

17   without I could easily tell you it was in the fall.          I

18   can look at my records to get you the exact date if that

19   would be helpful.

20      Q.      Before we go there, let me ask you if you have a

21   specific recollection of meeting with BPJ and Heather

22   Jackson.

23      A.      I do.

24      Q.      What do you remember right now about that



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1203
                                                                      62


 1   encounter?

 2      A.   I have a mental picture of where B             and her

 3   mom were sitting in the exam room.      That's most of the

 4   extent of what I recall just from my own memory and not

 5   reviewing the note.

 6      Q.   Do you have a mental memory of the discussions

 7   you had with BPJ and BPJ's mother?

 8      A.   That would certainly refresh from my review of

 9   my own note but also my practice is to have fairly

10   similar structured conversations with families, and so I

11   have a rough template in my brain of what we would have

12   talked about.

13      Q.   Tell me about that template.

14      A.   It involves asking lots of questions about young

15   people, their interests, their journey with gender

16   identity, their family.     Sometimes I ask about pets.

17   It's a whole host of things to get to know the young

18   person and their family.

19      Q.   What does that term mean journey with gender

20   identity?

21      A.   We are all forever growing and evolving and

22   changing as humans.    It's part of the human experience,

23   but particularly as it relates to gender for my patients

24   that's often a bit of a long journey, and so that may be



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                 Armistead App. 1204
                                                                   63


 1   starting from when they are young children.       It may be

 2   starting from when they are adolescents.    But

 3   regardless, there is always much to talk about with

 4   regard to a young person's experience of their own

 5   gender identity over time.

 6      Q.   And is that gender identity sometimes fluid?

 7      A.   It absolutely can be.

 8      Q.   Somebody may be for one period of time have a

 9   gender identity as one gender and then that can change?

10      A.   Yes.

11                  ATTORNEY HARTNETT:    Object to form.

12   BY ATTORNEY TRYON:

13      Q.   How many genders are there?

14      A.   There are more genders than we understand, can

15   conceptualize or can count.

16      Q.   So over a hundred?

17      A.   Gender is a spectrum.    There is no solid number.

18   It's someone's lived experience.    It's much more

19   complicated than we try to make it by binarizing people.

20      Q.   So setting aside binder --- how do you say that,

21   binderizing?

22      A.   Binarizing people.    Forcing folks into a binary.

23      Q.   I've read some place there's 27 genders.       Would

24   you agree with that or not?



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1205
                                                                     64


 1                     ATTORNEY HARTNETT:     Object to the form.

 2                     THE WITNESS:    I'm certainly not familiar

 3   with that particular study, but I would dispute it as I

 4   could probably list more than 27 myself.

 5   BY ATTORNEY TRYON:

 6      Q.      And when someone is gender fluid what does that

 7   mean?

 8      A.      It depends on the individual, and so these terms

 9   tend to be applied to folks but what matters to me is

10   the individual's definition of themselves.

11      Q.      Have you had any --- well, let me move on to

12   Exhibit 16.

13                     ATTORNEY TRYON:     And let me try to bring

14   this up.    This is going to be a first for me on doing

15   this on the system.

16                     VIDEOGRAPHER:     And I'm here if you need

17   some help or I can pull it up as well.

18                     ATTORNEY TRYON:     So Jacob, when I pull up

19   exhibits file sharing, it wants me to enter a password.

20                     VIDEOGRAPHER:     Did you join with a new

21   link when you rejoined after we got everything fixed?

22                     ATTORNEY TRYON:     I attempted to join with

23   the same link.

24                     VIDEOGRAPHER:     I can set that new one or



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1206
                                                                      65


 1   I can just pull it up for you, either/or.

 2                     ATTORNEY TRYON:     Why don't you do that.

 3   Can you pull up Exhibit 16, please?

 4                     VIDEOGRAPHER:     Yes, just give me one

 5   second.

 6                     ATTORNEY TRYON:     No, I had uploaded.

 7   Maybe you can't access them.      I had uploaded three

 8   documents.     One was Exhibit 16 just so we would only

 9   have to look at that one.

10                     VIDEOGRAPHER:     Got you.   If you have them

11   uploaded, then I would not have access to them unless

12   you share them as host and share them with me.

13                     ATTORNEY TRYON:     Let me see if I can do

14   this.

15                     VIDEOGRAPHER:     Also, when you upload if

16   you check mark any of the boxes --- like if you check

17   mark like Defendant's Counsel, they would also all have

18   access to that as well.

19                     ATTORNEY TRYON:     Well, it's now rejecting

20   my password.

21                     VIDEOGRAPHER:     It might be since it's a

22   probably a different link that you joined the meeting

23   with you might have to hit the forget password and set

24   up a new one.     That one --- the    old one that you made



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                        Armistead App. 1207
                                                                         66


 1   might be tied to the old link.

 2                         ATTORNEY TRYON:     Let's go off the record

 3   for a second so I can get this straightened out.

 4                         VIDEOGRAPHER:     Going off the record.     The

 5   current time reads 11:52.

 6   OFF VIDEOTAPE

 7                                    - - -

 8   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

 9                                    - - -

10   ON VIDEOTAPE

11                         VIDEOGRAPHER:     We are back on the record.

12   The current time reads 11:59 a.m.

13   BY ATTORNEY TRYON:

14         Q.      Dr. Kidd, this is what we've marked as Exhibit

15   16.        Do you recognize this?

16         A.      I'm not able to read any of it due to size.

17         Q.      Okay.

18                  I'm trying to blow it up.     Does that help?

19         A.      I have not seen it change.      I may be able to do

20   --- I can do it on my end specifically.           Let me do that.

21   I can only see the first page so far, but this does look

22   familiar, yes.

23         Q.      I believe you can click the different pages, 1

24   through 9.



                      SARGENT'S COURT REPORTING SERVICE, INC.
                                  (814) 536-8908
                                                    Armistead App. 1208
                                                                     67


 1       A.     I see that now.    Yes.   This looks like my note.

 2       Q.     Do you have a hard copy of that in front of you

 3   as well?

 4       A.     I do.

 5       Q.     Feel free to use either one, just to go through

 6   this.

 7       A.     Yes.

 8       Q.     So my first question is simply what is this

 9   document?

10       A.     So certainly there are pages associated with

11   this packet that I'm not familiar with.       I think they

12   are part from the pull from the health system.          But

13   specifically as it relates to the section that begins

14   B        is a 11-year-old patient, that is the beginning of

15   my clinical note from our patient visit.

16       Q.     How is the information in here populated into

17   this document?

18       A.     The note itself?

19       Q.     Well, everything in here.     I'm just trying to

20   understand how this document is created.

21       A.     I can't speak to the ancillary information

22   outside of my patient note.      I can tell you how my note

23   was created.

24       Q.     Well, let's start with that then.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1209
                                                                      68


 1      A.     Okay.

 2             I use a note template that has spaces for me to

 3   fill in information, as well as some information that is

 4   already populated that I can adjust accordingly.

 5      Q.     Is that note template in Epic?

 6      A.     It is.

 7      Q.     And then Epic takes that information and would

 8   populate it into a document that looks like what we have

 9   before us?

10      A.     Specifically the section that begins B             is an

11   11-year-old patient, yes.

12      Q.     The other information in here, for example, the

13   visit date, the name, those sorts of things, do you know

14   how those are populated into this document?

15      A.     So let me --- I don't know that you can see

16   where I am in the document, but this portion here that

17   has the WVU Medicine Children's logo, I think it copied

18   poorly.     But from this section down, this is my note

19   template.     Above that ---.

20      Q.     I cannot see where you're at.

21                      ATTORNEY TRYON:     Jacob, can you enable

22   her to show that?

23                      ATTORNEY LINKOUS:     Jacob, you're on mute.

24                      VIDEOGRAPHER:     I have you enabled to mark



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1210
                                                                      69


 1   up the document.     You should be able to put in

 2   highlights or drag us around.     Whatever you do we should

 3   see.

 4                   THE WITNESS:    Okay.

 5                   VIDEOGRAPHER:     If you highlighted that

 6   right there, that's --- I see the highlight.         Does

 7   everyone else see that highlight?

 8                   ATTORNEY TRYON:     No, I can't see it.

 9                   VIDEOGRAPHER:     On page three, around the

10   it looks like the logo.

11                   ATTORNEY LINKOUS:       I see it.

12                   ATTORNEY HARTNETT:       This is Kathleen

13   Hartnett.   Just to make sure I'm clear, is the witness

14   able to move the exhibit in the window but the others

15   who see it cannot?

16                   VIDEOGRAPHER:     Right now I have the

17   witness set to move it.     I can give anybody permission

18   to alter it and move it around and stuff.        And it does

19   that for everybody.     So right now I just have the

20   witness with the permission for that.       Does that make

21   sense?

22                   ATTORNEY TYRON:     Yes.

23                   ATTORNEY HARTNETT:       Yes.

24                   ATTORNEY TYRON:     Yes.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1211
                                                                       70


 1   BY ATTORNEY TRYON:

 2      Q.     Is it highlighted in color?

 3      A.     It is yellow.

 4                     ATTORNEY LINKOUS:     Mr. Tryon, she is also

 5   on BPJ099.    I don't know if you're on that same page or

 6   not.    I think she moved us down to that page.

 7                     VIDEOGRAPHER:     Let me try something to

 8   synch it back up for you, Mr. Tryon.

 9                     ATTORNEY TRYON:     Okay.

10                     VIDEOGRAPHER:     Do you see it now?

11                     ATTORNEY TRYON:     I see the document.     I

12   don't see any yellow highlighting.

13   BY ATTORNEY TRYON:

14      Q.     Well, go ahead and describe where you're at.

15      A.     Sure.   There's a logo on one of these pages that

16   has some cookie-cutter people holding hands and it says

17   WV Medicine Children's, although I think the photocopy

18   did not do that logo any justice.       But that is the logo

19   located on the top of my note.       And that logo and

20   everything beneath it is part of my note template.          I am

21   not familiar with how Epic aggregates the additional

22   information in this packet.

23      Q.     Okay.

24              Do you know who enters in the information, for



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1212
                                                                     71


 1   example, the date of birth and the visit date?

 2      A.     That information is likely entered at the time

 3   of the visit being scheduled, although that is not part

 4   of my role and so I cannot be certain.

 5      Q.     At the very top of that page, I think it's the

 6   same page, do you see it's got a number --- MRN number.

 7   Is that the patient's number that's assigned?

 8      A.     I have an E number on my screen that's below the

 9   date of the visit encounter.       That is in my note

10   template.     That is the patient's medical record number,

11   that E number.

12      Q.     So I'm seeing MRN: E2003446?

13      A.     Yes.    And I know that you're having trouble

14   seeing my highlighting, and I don't know if you can see

15   that piece.      I pulled that number into my notes.     I'm

16   not sure where you're referring to it, but that is the

17   number.

18      Q.     Right at the top, I'm looking at the very top of

19   this page, page --- it's labeled BPJ099, and it's page

20   one.

21      A.     I can see it here.

22      Q.     Yes.    Now I see you're highlighting, although

23   it's not yellow.      Okay.   So then if you move over to the

24   right and it says sex M.       Does that stand for male?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1213
                                                                     72


 1      A.      It does.

 2      Q.      And who would input that that BPJ's sex is male?

 3      A.      I cannot speak with certainty, but my guess

 4   would be the person who collected the insurance

 5   information.

 6      Q.      And why would --- if BPJ identifies as a female,

 7   as I think you say later on, why would that be put there

 8   as male?

 9      A.      The sex marker has to line up with the insurance

10   for the purposes of billing in the medical system.

11      Q.      Is that the only reason?

12      A.      That's the reason that I'm familiar with.

13      Q.      So you did not put that information in there?

14      A.      I did not.

15      Q.      If you can scroll down where it says desired to

16   be treated as other gender.

17      A.      Sure.

18      Q.      It shows the name pronouns of she and her.

19              Right?

20      A.      Yes.

21      Q.      And if I scroll down further I look at and I see

22   under gender dysphoria patient describes this experience

23   for themselves as --- why do you use a different pronoun

24   down there?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1214
                                                                        73


 1      A.    That's part of my standard note template.           The

 2   things before the colons in these sections are part of a

 3   note template.

 4      Q.    Okay.

 5             Then back up to desire to be rid of secondary

 6   sex characteristics.     It says expectations for today's

 7   visit.   That's part of the template?

 8      A.    It is before the colon.

 9      Q.    Right.     And so that template is something that's

10   created by Epic or by someone else?

11      A.    That's a note template that I created within

12   Epic.

13      Q.    I see.     And so it says want to establish care.

14   That seems obvious to me, but can you explain that?

15      A.    This was my first time seeing B         .      And as

16   part of my first visit with all of my patients I ask,

17   you know, what are their expectations or goals for

18   today's visit.     And when I asked that question, B

19   and her mom responded that they wanted to establish care

20   today.   I'm not sure exactly who said that.         I suspect

21   it was mom.

22      Q.    And next it says has                        since

23   June 2020 placed by Dr. Montano at UPMC.       And you put

24   that in there?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                 Armistead App. 1215
                                                                   74


 1      A.   I did.

 2      Q.   And how did you know about that                       ?

 3      A.   I suspect that mom told me.     That information

 4   was provided to me during this visit.    But also it was

 5   in the medical record that I would have briefly reviewed

 6   prior to this visit.

 7      Q.   What medical record is that?

 8      A.   The notes that are available for me in Epic.

 9      Q.   So you're telling me that in Epic there would be

10   some notes that stated that there was an              , a

11                   ?

12      A.   I believe Dr. Someshwar's note referred to it,

13   yes.

14      Q.   Did you ever ask Dr. Montano if he had placed

15   that        ?

16      A.   I don't recall specifically asking Dr. Montano

17   if he placed the         , no.

18      Q.   Did you do anything to confirm that the

19   was in place?

20      A.   I examined B     's arm.   I palpated the                 .

21   I noted the small scar at the insertion site.        I also

22   confirmed it based on lab testing.

23      Q.   Next, under desire to gain secondary sex

24   characteristics of other gender, slash --- other gender,



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1216
                                                                    75


 1   colon, that was part of the form?

 2      A.     That was part of my note template, yes.

 3      Q.     And you created that?

 4      A.     I did.   I should note it's based off of a

 5   template from those that taught me.

 6      Q.     Which would be whom?

 7      A.     Dr. Montano.

 8      Q.     Under there it has --- under severity, wanting

 9   to be other gender, other gender is based on the

10   following, hair style and clothing and desire for

11   hormone therapy, which you created that template.

12             Right.

13      A.     Yes, everything before the colon.

14      Q.     And you inputted feminine, feminine in the

15   future.

16             Right?

17      A.     I did, based on our conversation during this

18   visit.

19      Q.     Are those the things upon which you made a

20   determination --- strike that.

21             Did you make a determination that B          was

22   gender dysphoric?

23      A.     If you review the criteria for diagnosis for

24   gender dysphoria it's that essentially insistent,



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                       Armistead App. 1217
                                                                        76


 1   persistent, consistent, incongruence associated with

 2   significant distress, as I discussed earlier, plus two

 3   or more of a list of criteria.         This note outlines those

 4   criteria.        And so based on the responses to questions

 5   that I asked in relation to my documentation here, yes,

 6   B          does meet the diagnostic criteria for gender

 7   dysphoria.

 8         Q.     Did you actually make a diagnosis?

 9         A.     B      already had that diagnosis prior to seeing

10   me.

11         Q.     And that was --- who made that diagnosis?

12         A.     I suspect the first person was Dr. Montano,

13   although I don't know that for sure.

14         Q.     And who told you that she already --- that BPJ

15   already had such a diagnosis?

16         A.     The medical record.

17         Q.     And that medical record which was from Dr.

18   Someshwar?

19         A.     And Doctor Someshwar would have had one of those

20   notes, yes.

21         Q.     Any other notes that would have said that?

22         A.     Likely notes from B       's therapist.

23         Q.     And you have access to B        's therapist's ---

24   excuse me, BPJ's therapist --- let me start that over.



                      SARGENT'S COURT REPORTING SERVICE, INC.
                                  (814) 536-8908
                                                     Armistead App. 1218
                                                                      77


 1   You had information from BPJ's therapist?

 2      A.   I had documentation.

 3                        ATTORNEY HARTNETT:   Object to form.

 4                        THE WITNESS:   Of her record.

 5   BY ATTORNEY TRYON:

 6      Q.   Is that also on Epic?

 7      A.   Yes.

 8      Q.   So I want to go back to this part where it says

 9   desire to gain secondary sex characteristics.           So are

10   hairstyle and clothing the only bases to determine if

11   someone is gender dysphoric?

12                        ATTORNEY HARTNETT:   Object to form.

13                        THE WITNESS:   No.

14   BY ATTORNEY TRYON:

15      Q.   What other?

16      A.   Potential criteria, potential things that we

17   look for.     There's no one single criterion.

18      Q.   But those are the only things that are listed in

19   this form.

20               Right?

21                        ATTORNEY HARTNETT:   Object to form.

22                        THE WITNESS:   In that particular section.

23   BY ATTORNEY TRYON:

24      Q.   And desire for hormone therapy in the future.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1219
                                                                    78


 1   What additional hormone therapy was desired?

 2      A.   Estrogen.

 3      Q.   And were you told why?

 4      A.   I can't recall our exact conversation, but it is

 5   my typical practice to have pretty detailed

 6   conversations about where a young person is in their

 7   chem thought process and understanding of what estrogen

 8   could mean for them.

 9      Q.   And what could it mean for them?

10      A.   It could meaning gaining secondary sex

11   characteristics of the other gender.

12      Q.   Such as?

13      A.   Breast growth.

14      Q.   Any others?

15      A.   Several others.

16      Q.   What are those?

17      A.   Thinning of hair follicles, softening of skin.

18   Those are the primary.

19      Q.   I'm sorry.     What did you say about hair

20   follicles?

21      A.   Thinning, making the hair follicles less

22   apparent on the body especially.

23      Q.   And do you recall discussing those with BPJ and

24   BPJ's mother?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1220
                                                                    79


 1      A.      I can't recall the specifics of that encounter,

 2   but is my standard practice to have those discussions.

 3      Q.      Up at the top of that page, do you see at the

 4   very top where it says P        -J       , comma, and it's

 5   blocked out?

 6      A.      Yes.

 7      Q.      So --- let me back up.    This document was

 8   produced to Plaintiff's Counsel then gave it to us.

 9   Were you involved in that production to Plaintiff's

10   Counsel?

11      A.      I was not.

12      Q.      Okay.

13              Let me move on to the next page.     And let me

14   ask you, during this conversation was BPJ joined by

15   Heather the entire time?

16      A.      It is my standard practice to talk to young

17   people alone for at least a portion of their visit, and

18   so I suspect I did that during this visit.

19      Q.      Do you recall during this visit anyone other

20   than you were involved as far as healthcare providers?

21      A.      It is often that I have trainees with me, most

22   often in the role of shadows to witness how I talk to

23   patients, how I gather this information, that sort of

24   thing, how I provide care.     I do not recall having a



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1221
                                                                    80


 1   trainee with me that day, but my memory could be

 2   mistaken there.

 3      Q.      And in your memory was anyone else from WVU in

 4   that meeting?

 5      A.      From WV Medicine?

 6      Q.      Yes.

 7      A.      I don't think so because I know that the other

 8   members of my multidisciplinary team were not a part of

 9   this conversation as B         was already established with

10   a mental health therapist.

11      Q.      Under past medical history --- and I'm now on

12   page two of this document, it shows mental health HX.

13   What is that?      What does HX stand for?

14      A.      It's a common medical abbreviation for the word

15   history.

16      Q.      In this past medical history that you have put

17   here, the source is --- what was the source?

18      A.      This source was very likely B      's mother.

19      Q.      Under social history do you see that?

20      A.      I do.

21      Q.      Is there anything in there that affects or would

22   affect a determination or a diagnosis of BPJ having

23   gender dysphoria?

24      A.      These items in the social history are really



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1222
                                                                     81


 1   about getting to know B        and her family dynamic and

 2   more about her generally.     These are not directly

 3   related to her gender identity.

 4      Q.    And let me just confirm up at the top of the

 5   page it says --- it shows the date being 9/16/2021.         Was

 6   that the date of the visit?

 7      A.    To the best of my recollection, yes.

 8      Q.    On the next page it shows patient active problem

 9   list.   Do you see that?

10      A.    I do.

11      Q.    And what --- it says WCC well check.         Is that

12   something that you inputted?

13      A.    It is not.   So this is a problem list that is

14   maintained in Epic usually by the patient's primary care

15   provider.

16      Q.    Who is this patient's primary care provider?

17      A.    I do not recall.

18      Q.    Is there anything on this form that would tell

19   you?

20      A.    On this particular form, no, although in the

21   Epic record that would likely be noted, at least to the

22   extent of my note.    It is not written in my notes.       It

23   may have been in some of these ancillary pages that I'm

24   not as familiar with.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1223
                                                                        82


 1      Q.   During the visit did you discuss any of these

 2   items under the diagnosis --- well, excuse me, under the

 3   patient active problem list?

 4      A.   Not to my recollection, no.

 5      Q.   I'm sorry.     Let me finish my question.       The six

 6   bullet points that are listed there, you did not input

 7   any of those?

 8      A.   That is correct.

 9      Q.   And you didn't discuss any of those with BPJ or

10   BPJ's mother?

11      A.   Not to my recollection, no.

12      Q.   Now, the next paragraph of notes, was that

13   something that you inputted?

14      A.   It is.

15      Q.   And you ordered labs to confirm that the                  was

16   likely to release medication.     Do I understand that

17   correctly?

18      A.   I ordered labs to confirm that the             was

19   continuing to release the medication, as I suspected it

20   would be, yes.

21      Q.   Why do you do that?

22      A.   It's routine and to make sure that the               is

23   functioning as we expect it to.     And for my practice I

24   usually check those labs every 6 to 12 months.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1224
                                                                       83


 1      Q.   How is the         supposed to function?

 2      A.   So the         has a medication called                .

 3                is a gonadotropin-releasing hormone agonist,

 4   or abbreviated a GRNHA.      A GRNHA works at the level of a

 5   hypervolemic pituitary gonadal access to suppress that

 6   access and subsequent release of sex hormones, either

 7   testosterone or estrogen, depending on the sex assigned

 8   at birth.

 9      Q.   Is it the same medication for both to stop

10   either testosterone or estrogen or is it different?

11      A.   It is the same medication.        It works in the same

12   way.

13      Q.   And did you also discuss that a             scan be

14   done?

15      A.   I had a discussion with B           and her mother

16   about why I thought a          scan could be helpful and

17   they opted to get one.

18      Q.   It says I shared resources with mom to connect

19   her to local parents support programs.       Who were those

20   resources?

21      A.   I am connected to community organizations run by

22   parents wherein parents can talk with other parents of

23   gender diverse people.      My abbreviation for the program

24   I referred B       's mom to is, in fact, next to B         's



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1225
                                                                     84


 1   mom's email.      It's abbreviated POT for the Parent

 2   Outreach Program.

 3      Q.     At the bottom it says on the day of the

 4   encounter a total of 60 minutes was spent on this

 5   patient encounter, including review of historical

 6   information, examination, documentation of post

 7   activities.    And my question is what was the historical

 8   information?

 9      A.     That would have been the conversation with B

10   and her mom talking about the medical history as well as

11   my pre-review of the chart prior to this visit.

12      Q.     And then the examination, what would that

13   entail?

14      A.     For B      , to my memory, that included making

15   sure that B        's heart and lungs sounded normal and

16   generally evaluating how she was able to communicate,

17   how she moved about the room, those sorts of things are

18   the aspects of my physical exam.

19      Q.     And when it refers to documentation, what is

20   that referring to?

21      A.     The actual writing of this note.

22      Q.     Anything that is not in this note?

23      A.     It would have also involved me ordering the labs

24   and the        scan, writing why I was ordering the



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1226
                                                                    85


 1   scan, things of that nature.

 2         Q.   And what would the post visit activities refer

 3   to?

 4         A.   That could be things like reviewing the labs if

 5   they came back the same day.      This is a billing

 6   statement and only includes the time spent during that

 7   same day.

 8                    ATTORNEY LINKOUS:     I'm sorry.   Can you

 9   repeat that?

10                    THE WITNESS:     It is a billing statement

11   and so it is referring to activities that were

12   undertaken on that day.

13   BY ATTORNEY TRYON:

14         Q.   In your discussion with BPJ and BPJ's mother was

15   there any indication that BPJ had ever had any suicidal

16   ideations, suicide plans, threats or attempts?

17         A.   Not to my recollection.

18         Q.   Did you ask?

19         A.   I likely did.   That is part of my standard

20   practice.

21         Q.   Why do you ask that?

22         A.   Because gender diverse young people like B

23   base health inequities particularly as it relates to

24   mental health, although that's at population level and



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1227
                                                                       86


 1   does not necessarily apply to B        .

 2      Q.   Why wouldn't it apply to B         ?

 3      A.   That's a population statistic, and so B              is

 4   her own person and may or may not be in line population

 5   statistics more promptly.

 6      Q.   And now I understand.      Do you know if BPJ has

 7   ever been hospitalized for anything?

 8      A.   I reviewed the chart and don't recall a specific

 9   example of hospitalization.      I think there may have been

10   notes from emergency sorts of visits, but I don't

11   remember an inpatient hospitalization.

12      Q.   Before this visit had BPJ ever been diagnosed

13   with any mental or emotional illnesses?

14                     ATTORNEY HARTNETT:   Object to form.

15                     THE WITNESS:   Mom specifically mentioned

16   gender dysphoria, which is a diagnosis within the DSM-V,

17   which is a diagnostic and statistical manual and so I

18   suppose that could count.

19   BY ATTORNEY TRYON:

20      Q.   Well, is that a mental or emotional illness?

21                     ATTORNEY HARTNETT:   Object to form.

22                     THE WITNESS:   It depends on your

23   interpretation.    It is a diagnosis in the DSM-V.

24   BY ATTORNEY TRYON:



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                      Armistead App. 1228
                                                                       87


 1      Q.      Okay.

 2               It is a diagnosis.      Is it a diagnosis of mental

 3   illness?

 4                        ATTORNEY HARTNETT:   Objection to form.

 5                        THE WITNESS:   That is a very challenging

 6   question, and so the short answer is gender dysphoria is

 7   significant distress, and it is that distress that can

 8   be considered a mental health concern.         Being gender

 9   diverse or transgender is not a pathology.

10   BY ATTORNEY TRYON:

11      Q.      Can you define then for our purposes what you

12   consider --- or based on DSM-V, what is a mental

13   illness?

14                        ATTORNEY HARTNETT:   Object to form.

15                        THE WITNESS:   Can you rephrase the

16   question?

17   BY ATTORNEY TRYON:

18      Q.      Yes.    So you referred to the DSM-V.

19               Right?

20      A.      I mentioned it, yes.

21      Q.      Does that define what a mental illness is?

22      A.      The DSM-V is the diagnostic and statistical

23   manual of essentially all of the things that the

24   American Psychiatric Association considers in their



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                         Armistead App. 1229
                                                                           88


 1   wheelhouse for diagnoses.      And so things like depression

 2   and anxiety are certainly in there but also things like

 3   gender dysphoria.

 4      Q.      Does it define the term mental illness?

 5      A.      I can't recall.    It's a very broad term.

 6      Q.      Other than gender dysphoria, were there any

 7   other mental or emotional issues or problems that you

 8   were aware that BPJ had been diagnosed with?

 9      A.      Not that I can ---.

10                       ATTORNEY HARTNETT:     Object to the form.

11                       ATTORNEY TRYON:     Jacob, can you pull up

12   Exhibit 33, please?      Actually, I take that back.          Let's

13   stick with this exhibit a little bit longer.

14                       VIDEOGRAPHER:     You got it.

15                       ATTORNEY TRYON:     I apologize for that.

16   BY ATTORNEY TRYON:

17      Q.      So turning to page six of this exhibit?

18      A.      I'm unable to do that on my end.

19      Q.      I can.

20      A.      I can now, yeah.

21      Q.      Okay.

22              If you can go down to where it shows --- sorry,

23   it would be on actually page eight, eight of nine, I

24   believe.    And this was part of the testing that you



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1230
                                                                   89


 1   would have requested.

 2             Is that right?

 3      A.    This is one of those forms that Epic has

 4   compiled for you, but it does look like it is of the

 5   labs that I ordered, yes.

 6      Q.    When this came back did you review it?

 7      A.    I did.

 8      Q.    And it shows under components testosterone total

 9   serum.   Do you see that?

10      A.    Let me highlight and make sure we're looking at

11   the same thing.    Here?

12      Q.    Yes.

13      A.    Yes.

14      Q.    And if you go lower it shows the total serum and

15   it shows value of less than 7.0.

16             Right?

17      A.    Yes.

18      Q.    And down below it shows the Tanner reference

19   stages and for prepubertal, 7-20 for Stage 1.

20             Right?

21      A.    I can see that.

22      Q.    So does that testosterone level indicate that

23   BPJ was at Tanner Stage 1?

24      A.    No, that is not a correct interpretation.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                     Armistead App. 1231
                                                                         90


 1         Q.   Could you please interpret it for me?

 2         A.   Sure.   So the testosterone level demonstrates

 3   that it is suppressed, actually below a detectable

 4   threshold of 7.0 for the purposes of this lab.          It is

 5   important to note that all bodies, unless they are too

 6   young or being blocked, make testosterone and that

 7   includes people who are assigned female.        And so I

 8   myself right now very likely, in fact I'm extremely

 9   confident, have a level much higher than seven of

10   testosterone because that is normal for an adult female.

11   And so B      's testosterone based on this level is fully

12   suppressed.    The reason that the Tanner stage reference

13   guidelines are in this record is that other folks use

14   this lab to monitor pubertal progression.        B       was

15   Tanner stage prior to the rod and was at Tanner 2 at

16   that time.    And so this table is not relevant to B            ,

17   just a refresh in the lab that her testosterone is fully

18   suppressed.

19                      ATTORNEY TRYON:     Okay.

20                      Now let's turn to Exhibit 33.

21                      VIDEOGRAPHER:     Before I show it, you said

22   33.

23                      ATTORNEY TRYON:     I didn't hear you.

24                      VIDEOGRAPHER:     Before I show it, you said



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                        Armistead App. 1232
                                                                         91


 1   33.

 2                        Correct?

 3                        ATTORNEY TRYON:     Right.   I sent you two

 4   other forms.

 5                        VIDEOGRAPHER:     I just wanted to make sure

 6   before I showed it.

 7                        ATTORNEY TRYON:     Yes.

 8                        VIDEOGRAPHER:     And does everybody see

 9   that.

10                        THE WITNESS:    Yes.

11                        ATTORNEY TRYON:     I do.

12   BY ATTORNEY TRYON:

13         Q.    Great.    So if we could go forward into page 11.

14   Sorry, it's going to be page 11 of the document itself,

15   so it looks like that will be page --- I'm not sure.

16              And Dr. Kidd, if you have the hard copy it might

17   be easier to read.       It depends on which one you want to

18   look at.     So the first two sentences of this read

19   through --- actually maybe the first three sentences.

20   Why don't you go ahead and read them to yourself.              We

21   don't need to read them out loud.

22                        VIDEOGRAPHER:     While she's reading that,

23   Mr. Tryon, I also gave you permission to mark the

24   document as well if you need to highlight something or



                    SARGENT'S COURT REPORTING SERVICE, INC.
                                (814) 536-8908
                                                    Armistead App. 1233
                                                                     92


 1   guide the witness.

 2                     ATTORNEY TRYON:     Thank you.

 3                     VIDEOGRAPHER:     You're welcome.

 4   BY ATTORNEY TRYON:

 5      Q.   Have you finished?

 6      A.   I have.

 7      Q.   Great.     So this indicates that gender dysphoria

 8   during childhood is not evidently continued to childhood

 9   rather than the dysphoria persists and resulted for only

10   6 to 23 percent of the children.

11            Right?

12                     ATTORNEY HARTNETT:     Object to form.

13                     THE WITNESS:    I believe, which are a bit

14   dated, but yes, that is what it says.

15   BY ATTORNEY TRYON:

16      Q.   Do you think that percentage has changed?

17      A.   I think our understanding of diagnostic

18   criteria, for example many of those studies were from

19   when we used GID, a different diagnostic criteria, that

20   has evolved additional these guidelines from WV are from

21   2012, I believe.     There is a new version that is set to

22   come out in the I think late winter of this coming year

23   that I was involved in giving feedback for.

24      Q.   Yes.     That version has not yet been accepted or



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1234
                                                                     93


 1   issued, has it?

 2       A.     Not yet.   It's expected like within the winter.

 3       Q.     Assuming that's accepted, since it's still out

 4   for comment, but assuming it's accepted, how does it

 5   change in the eighth version, how does it change this

 6   language?

 7       A.     To be clear, it's still not out for comment.

 8   The comment period has ended and it's now back with its

 9   writing committee.     But there is more space given, to my

10   recollection, for exploring those differences by

11   diagnostic criteria that we did inform this prior

12   studies.     I think it's important, though, to center

13   B        in this conversation.   B      is an adolescent,

14   meaning that the second paragraph discussing the

15   likelihood of her gender identity is more relevant.

16       Q.     And under these guidelines what is the

17   percentage of persistence for adolescents?

18       A.     I couldn't cite a specific number because again

19   it's complicated, but it is the majority is my

20   understanding.

21       Q.     So when BPJ originally identified as being a

22   girl, BPJ was a child.

23               Right?

24       A.     I believe social transition was in third grade,



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                       Armistead App. 1235
                                                                        94


 1   so into adolescence but perhaps not quite there yet

 2   depending on your definition of adolescence.

 3      Q.   How do you define adolescence?

 4      A.   It depends.        The World Health Organization puts

 5   numbers on young people, and so I believe they say age

 6   10 to 19.     But that's not necessarily reflective of

 7   pubertal changes, which is how I would define

 8   adolescence.     And it's normal for pubertal changes to

 9   begin at age nine.

10      Q.   And for --- well, let me just ask you, so since

11   this is the current and existing guideline and --- or

12   excuse me, standard of care, which you said you

13   subscribe to.

14               Right?

15                        ATTORNEY HARTNETT:   Object to form.

16                        THE WITNESS:   Well, I think it is

17   important to note if I may in this document.

18   BY ATTORNEY TRYON:

19      Q.   I apologize.        I didn't hear that.

20      A.   It's possible, I would like to point out on

21   page two, page number two on that part of it where it

22   lists the standards of care are flexible clinical

23   guidelines, that's a critical piece of all of this.             And

24   so they are not a kind of rule book but instead a



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1236
                                                                   95


 1   guideline and there are many circumstances to deviate

 2   based on an individual patient circumstance.

 3      Q.   So you pick and choose what you agree with?

 4                  ATTORNEY HARTNETT:    Object to form.

 5                  THE WITNESS:    Not at all.   I follow

 6   numerous guidelines, including those from the American

 7   Academy of Pediatrics, but I also shape them to fit the

 8   needs of the patient.

 9   BY ATTORNEY TRYON:

10      Q.   Do you share with BPJ and BPJ's mother the

11   statistics that 6 to 23 percent of children due to

12   dysphoria --- excuse me, that the dysphoria persists

13   into adulthood for only 6 to 23 percent of children?

14   Did you share that with BPJ or BPJ's mother?

15                  ATTORNEY HARTNETT:    Object to form.

16                  THE WITNESS:    I believe the comment was

17   not relevant to the patient in front of me.

18   BY ATTORNEY TRYON:

19      Q.   Did you share with BPJ or BPJ's mother the fact

20   that not all adolescents persist into adulthood?

21      A.   I create space for people to explore their

22   gender identities.   I do not assume that any of us will

23   wake up tomorrow feeling the way we feel today about our

24   gender identity.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1237
                                                                    96


 1      Q.    So the answer is no, you did not share that with

 2   them?

 3      A.    I create space to have that conversation.

 4      Q.    Did you have a discussion in which you told BPJ

 5   or BPJ's mother that BPJ's gender dysphoria may not

 6   persist into adulthood?

 7      A.    I specifically in my practice make space to have

 8   conversations about fluidity and gender identity.

 9      Q.    That doesn't mean anything to me.      What do you

10   mean create space?

11                    ATTORNEY HARTNETT:    Object to form.

12                    THE WITNESS:    We have a conversation

13   where I explain to young people that I don't expect them

14   to be the same person every day for the rest of their

15   lives.   And if they feel that circumstances have changed

16   or if their family feels that circumstances have changed

17   the rod that B       has is fully reversible and it's

18   always an option to remove that rod if it was in B            's

19   best interest, which I did not feel it was at the time

20   of our encounter.

21   BY ATTORNEY TRYON:

22      Q.    Did you tell BPJ or BPJ's mother that gender

23   dysphoria does not always persist for adolescents into

24   adulthood?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1238
                                                                   97


 1      A.   I don't think I said that exact thing, no.

 2      Q.   As I understand it --- well, let me back up.

 3   Did BPJ or BPJ's mother tell you how it came about that

 4   BPJ identified as being a girl instead of a boy?

 5      A.   I can't remember our exact conversation, but it

 6   is my standard practice to ask questions relative to

 7   that point and so I suspect, yes, we had that

 8   conversation.

 9      Q.   You don't remember anything about that

10   conversation relative what I just asked you?

11      A.   Not beyond what is documented in my note.

12      Q.   In your notes it says that patient has

13   identified gender diverse since, and then you inserted

14   around age two.    Does that refresh your recollection at

15   all as far as what happened at around age two?

16      A.   I document what is talked about during the

17   visit, and so yes, that would have been the

18   conversation.

19      Q.   Do you remember anything else about BPJ

20   identifying as a girl around age two?

21                     ATTORNEY HARTNETT:   Object to reading

22   from the document that is not before the witness.

23                     ATTORNEY TRYON:   She has a hard copy.

24                     ATTORNEY HARTNETT:   I don't know where



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1239
                                                                     98


 1   you're reading from.   Can you tell us where you are

 2   reading from?

 3                    ATTORNEY TRYON:     Sure.   It's on page one

 4   of the --- well, it's on page three of the actual

 5   exhibit and page one of Dr. Kidd's office notes.

 6                    ATTORNEY LINKOUS:     It's okay.   I think

 7   Dr. Kidd has her office notes in front of her.         Go

 8   ahead, Doctor.

 9   BY ATTORNEY TRYON:

10      Q.    So I'm just asking when it says patient has

11   identified as gender diverse since and then you inputted

12   around age two, comma, she said she was a girl around

13   age three, does that refresh your recollection about

14   your conversation about how that came about?

15      A.    Somewhat, yes.

16      Q.    Okay.

17             And what do you remember now?

18      A.    Specifically that B         and her mom more likely

19   in this conversation would have told me that for me to

20   write it down and so likely B        's mom said that she

21   identified as gender diverse in some capacity, be that a

22   girl or otherwise, but first said she was a girl at age

23   three.   And that's a common differentiation.       It's often

24   children exhibit behaviors and interests that are



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1240
                                                                    99


 1   gendered in a direction parents may not expect.         And

 2   that aligns with that question you had earlier about

 3   non-conformity.

 4      Q.     Do you remember anything else about that

 5   conversation relating to that?

 6      A.     Well, my next line is that third grade was when

 7   she started to wear girl clothes comfortably.         I think I

 8   had a typo there.      I meant to write comfortably instead

 9   of comfortable.     And that social transition was the

10   summer before third grade.

11      Q.     And you have no other recollection about the

12   conversation?

13      A.     I do not.

14      Q.     Very good.

15                     ATTORNEY HARTNETT:    I object to form on

16   the last question.      Sorry.

17   BY ATTORNEY TRYON:

18      Q.     Was the father, Wesley Pepper, in this meeting?

19      A.     No.   My appointment with B       was with B

20   and her mom.

21      Q.     Did you ever talk to Wesley Pepper?

22      A.     I have not yet, though I expect to in the

23   future.

24                     ATTORNEY TRYON:   Let's take a quick ---



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                     Armistead App. 1241
                                                                     100


 1   off the record for just one moment.

 2                      VIDEOGRAPHER:   We are going off the

 3   record.     The current time reads 12:48 p.m.

 4   OFF VIDEOTAPE

 5                                 - - -

 6   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

 7                                 - - -

 8   ON VIDEOTAPE

 9                      VIDEOGRAPHER:   We are back on the record.

10   The current time reads 12:48 p.m.

11   BY ATTORNEY TRYON:

12      Q.     So back in Exhibit 33, if we go to what's at the

13   bottom of the page, page 15 of the document itself.           And

14   I have a question for you on paragraph two.        If you can

15   take some time and review that and then I will ask you a

16   question.

17      A.     Beginning with assessment of gender dysphoria?

18      Q.     Correct.

19      A.     Okay.

20      Q.     Are you ready?

21      A.     Yes.

22      Q.     Great.     So the second sentence says a

23   psychodiagnostic and psychiatric assessment covering the

24   areas of emotional functioning, peer and other social



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1242
                                                                    101


 1   relationships and intellectual functioning, slash,

 2   school achievement should be performed.

 3             Did I read that correctly?

 4      A.     I believe so.

 5      Q.     Do you know if a psychodiagnostic and

 6   psychiatric assessment was performed?

 7      A.     And so during my visit, portions of that were

 8   absolutely performed.     But B       had those kinds of

 9   discussions previously based on my review of the notes

10   and my experience working with Dr. Montano.

11      Q.     So and --- okay.

12             I understand you have had experience with Dr.

13   Montano, but how do you know that those were performed

14   for BPJ specifically?

15      A.     I know Dr. Montano's routine practice because he

16   is one of my teachers and I'm very confident in his

17   skills.

18      Q.     I understand that.      But for BPJ specifically,

19   are you aware if it was done?

20      A.     Based on my review of the chart, I had every

21   indication that --- and I want to quote this, a

22   psychodiagnostic assessment covering areas of emotional

23   functioning, peer and other social relationships and

24   intellectual functioning and school achievement was



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1243
                                                                    102


 1   performed.

 2      Q.    By whom?

 3      A.    By Dr. Montano.

 4      Q.    Okay.

 5             And there was something in the records that

 6   shows that?

 7      A.    I was able to see portions of Dr. Montano's

 8   note.   It's that Care Everywhere thing we were talking

 9   about before, that they're not complete notes.          But

10   based on my understanding of what I was reading, Dr.

11   Montano had the same conversation with B           that he had

12   with all of the patients that I have witnessed him

13   talking to.

14      Q.    What were in his notes that said that since we

15   don't have those?

16      A.    And so I can't recall exactly what was in his

17   notes, but his notes are templated very similarly to my

18   notes in that they explore things like mental health

19   concerns, like school functioning, like peer support and

20   family support, things of that nature.

21      Q.    And what does --- what's his title or his

22   specialty?

23      A.    So Dr. Montano is the Clinical Director of the

24   Gender and Sexual Development Clinic at the Children's



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1244
                                                                    103


 1   Hospital of Pittsburgh.      He is Board Certified in

 2   Pediatrics and he is an expert in pediatric gender

 3   affirming care.

 4      Q.      Is he a psychologist or a psychiatrist?

 5                       ATTORNEY HARTNETT:   Object to form.

 6                       THE WITNESS:   He is an adolescent

 7   medicine specialist.      And adolescent medicine

 8   specialists have extensive training and experience in

 9   mental health support for young people.

10   BY ATTORNEY TRYON:

11      Q.      Is that a qualification --- does he have

12   qualifications that you don't?

13                       ATTORNEY HARTNETT:   Object to form.

14                       THE WITNESS:   I am not aware.   He may

15   well.   But he certainly had tons of training in the

16   space as have I.

17   BY ATTORNEY TRYON:

18      Q.      Okay.

19              But you are not a psychiatrist or a

20   psychologist.

21              Right?

22      A.      I am neither of those two things.     That is

23   correct.

24      Q.      So when it says psychiatric assessments, what



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1245
                                                                   104


 1   qualifications do you believe is necessary to do a

 2   psychiatric assessment?

 3      A.   Someone who has extensive training and

 4   background in psychiatric diagnoses like anxiety,

 5   depression, and for these purposes gender dysphoria.

 6      Q.   And you're asserting you have that

 7   qualification?

 8      A.   I do have that qualification, yes.

 9      Q.   Now, if we wanted these notes out of Epic that

10   you referenced, how would we get those?

11      A.   I honestly am not sure how that system works or

12   the process of you getting those notes works.

13      Q.   Who has control over those?

14                    ATTORNEY HARTNETT:     Objection to form.

15                    THE WITNESS:   I don't know.

16                    ATTORNEY LINKOUS:     Mr. Tryon, I can be of

17   benefit if you would like.

18                    ATTORNEY TRYON:     Sure.

19                    ATTORNEY LINKOUS:     Health Information

20   Management at West Virginia University Hospitals, Inc.

21   is the owner of the Epic medical records.       I can also

22   send you an address for that.

23                    ATTORNEY TRYON:     That would be wonderful

24   if you would do that.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1246
                                                                     105


 1                    ATTORNEY LINKOUS:     I would be happy to.

 2                    ATTORNEY TRYON:     Can you email that to

 3   me?

 4                    ATTORNEY LINKOUS:     Yes, absolutely.

 5                    ATTORNEY TRYON:     You have either mine

 6   or ---?

 7                    ATTORNEY LINKOUS:     Yes.

 8                    ATTORNEY TRYON:     If not, you have

 9   Curtis'.

10                    Right?

11                    ATTORNEY LINKOUS:     I do, yes.

12                    ATTORNEY TRYON:     That would be wonderful.

13   Thanks.

14                    ATTORNEY HARTNETT:     This is Kathleen

15   Hartnett.    Are you asking for the full Epic records for

16   Dr. Kidd or --- I just was unclear of what records

17   you're asking for.

18                    ATTORNEY TRYON:     Well, I'm a little

19   unclear what exactly there is in Epic, so it's hard for

20   me to ask.   So I guess I would be probably asking for

21   all of the records in Epic for BPJ.

22                    ATTORNEY HARTNETT:     Okay.

23                    Just for the record, as you know, the

24   Plaintiff has requested BPJ's records from WV Medical,



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                     Armistead App. 1247
                                                                       106


 1   produced what we have and this Saturday --- and maybe

 2   Mr. Linkous can speak to it further, we produced

 3   additional records that were apparently the printout

 4   that Dr. Kidd was able to see, even though that's not

 5   what the records department produced.       Just for the

 6   record, we produced all records that we received from

 7   WVU Medical, which was in our requests were all records

 8   that exist.

 9                     ATTORNEY LINKOUS:    Sure.    And to expedite

10   things, I can certainly --- if counsel agree, I can

11   certainly produce to Kathleen the records I have

12   obtained from WVU, because I represent WVU, obviously,

13   and then Kathleen can redact and send them on.

14                     ATTORNEY HARTNETT:    We have done that.

15   Is that the records that you sent this weekend.

16                     ATTORNEY LINKOUS:    That is Dr. Kidd's

17   office visit.     I have access to BPJ's records from the

18   health system that go beyond Dr. Kidd's visit.

19                     ATTORNEY HARTNETT:    Okay.

20                     I mean, obviously whatever you would like

21   to do would be helpful, but I guess for the record to be

22   clear we've asked for and to our knowledge received all

23   documents related to BPJ's treatment by WVU Medical.

24   And that's what we produced to the other parties.           And



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1248
                                                                    107


 1   then we understood this weekend that you were able to

 2   --- Dr. Kidd is able to see something different in her

 3   interphase, and so --- which appeared to be largely

 4   additional administrative information, and we produced

 5   that document as soon as we received it from you on

 6   Saturday.

 7                   ATTORNEY LINKOUS:     That's correct.      I can

 8   do it however you would like.

 9                   ATTORNEY TRYON:     So Mr. Linkous, we would

10   like to get the rest of the documents that are in the

11   Epic system that we don't already have.       And we will go

12   over the other documents that I got over the weekend

13   next.   But if there are additional documents in the Epic

14   system, we'd like to obtain those.

15                   ATTORNEY LINKOUS:     Okay.

16                   ATTORNEY HARTNETT:     Just to be clear, are

17   you asking for the --- sorry, the documents from the

18   Epic system from WVU Medical?

19                   ATTORNEY TRYON:     Are you asking me?

20                   ATTORNEY HARTNETT:     Yes, just because I

21   think what the witness has stated is that the Epic

22   system is used by different institutions, and so I think

23   --- I'm just trying to be clear if you are asking Mr.

24   Linkous for the documents from WVU Medical's Epic system



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1249
                                                                    108


 1   or you are trying to seek more broadly all of the

 2   documents about BPJ that may be out there in the, you

 3   know, in the Epic systems of other institutions, which

 4   it doesn't sound like he is the person that would be

 5   able to get that for you.

 6                    ATTORNEY TRYON:     Right.   That's my

 7   understanding.    So whatever Mr. Linkous has access to,

 8   including Epic and the Care System, which is part of

 9   Epic.

10                    ATTORNEY LINKOUS:     I only have access to

11   West Virginia University records, and that would include

12   these --- what was the tab called again, Care Everywhere

13   tab.    And I can certainly produce that.     I would prefer

14   to produce that in a link to Kathleen and then let

15   Kathleen look at it.    It may be duplicative of what she

16   already has and then she can produce.

17                    ATTORNEY TRYON:     I will agree to that.

18                    ATTORNEY HARTNETT:     And I will just make

19   a representation for the record that we'll produce it

20   even if it's duplicative just to make clear to the

21   Defendants that we are producing everything we have.

22   And I would expect that those --- any records that were

23   referred to in a different institution have been sought

24   and received from that institution, such as Dr. Montano.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1250
                                                                  109


 1                  ATTORNEY LINKOUS:     And just, Mr. Tryon, I

 2   want to be completely transparent with you so when you

 3   get the records you can understand any distinction or

 4   differences that might be in them.    When I get records

 5   from West Virginia University I have my nursing staff

 6   organize them, Bates stamp them and bookmark them in a

 7   PDF document so they're in a format that I typically use

 8   for case by case by case.   So for instance, the exhibit

 9   you are about to use will have my unique Bates stamp

10   number on it at the bottom center.    I can produce them

11   certainly in that Bates stamped organized, bookmarked

12   fashion to Kathleen or I can produce the native

13   documents as they came to me, however you would like.

14   Does that make sense?

15                  ATTORNEY TRYON:     Native, you mean without

16   the Bates stamp?

17                  ATTORNEY LINKOUS:     Yes.   So for instance,

18   West Virginia University may end me --- I'm making it up

19   --- a thousand pages of medical records for a patient.

20   I give that to my nursing staff who organizes it by

21   provider, by date, and they bookmark it so you can go to

22   this date, this date, this date, this lab result, this

23   admission, this ER, this pediatrician and you can

24   navigate the records quickly.    So I have my nursing



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1251
                                                                     110


 1   staff do that for me.

 2                     ATTORNEY TRYON:     That's great.

 3                     ATTORNEY LINKOUS:     I can produce that if

 4   you'd like.    That way there's a Bates stamp and it shows

 5   you every one through how many ever there are.

 6                     ATTORNEY TRYON:     That's fantastic.     I

 7   appreciate it.

 8                     ATTORNEY LINKOUS:     Sure.

 9                     ATTORNEY TRYON:     So I would like to now

10   turn to Exhibit 35.     If you could pull that up, Jacob.

11                     VIDEOGRAPHER:     Can you see that?

12                     ATTORNEY TRYON:     Yes.

13                     ATTORNEY TYRON:     Yes.

14                     VIDEOGRAPHER:     And again, the witness and

15   Mr. Tryon, you have permission to move to pages,

16   highlight that, et cetera.

17                     ATTORNEY TRYON:     Thank you.

18   BY ATTORNEY TRYON:

19      Q.   So Dr. Kidd, my first question simply, do you

20   recognize this document?

21      A.   I recognize that it is a face sheet, and I think

22   this may have been part of the packet that I was sent.

23                     ATTORNEY HARTNETT:     Could I ask for the

24   record what --- we can only see one page at a time and I



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1252
                                                                   111


 1   don't have this exhibit.     So I'd be happy to pull the

 2   document that Mr. Linkous gave us and that we produced

 3   to you, but what Bates numbers are on this document?

 4                  ATTORNEY TRYON:     Sure.   They got cut off

 5   because the Bates number is so close to the bottom that

 6   when I printed it out ---.

 7                  VIDEOGRAPHER:     And Attorney Hartnett, I

 8   did submit this document, which basically means it is

 9   now shared with everybody.     If you go to the top and

10   click on files, then that --- exhibit file sharing, you

11   should be able to see it off to the right.

12                  ATTORNEY HARTNETT:     I do.

13                  VIDEOGRAPHER:     And you should be able to

14   download that yourself.

15                  ATTORNEY HARTNETT:     Appreciate it.      Thank

16   you.

17                  VIDEOGRAPHER:     You're welcome.

18                  ATTORNEY TRYON:     And Mr. Linkous' Bates

19   numbers are 101103 through 101137.

20                  ATTORNEY HARTNETT:     And these were, just

21   for the record, the documents that we produced on

22   Saturday from Mr. Linkous with Bates BPJ 02510 to BPJ

23   02545.

24   BY ATTORNEY TRYON:



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1253
                                                                    112


 1      Q.     Okay.

 2             Dr. Kidd, I'm not sure I understood your

 3   answer.   What do you understand this document to be?

 4      A.     I just scrolled through it and it looks like

 5   some supportive documentation around my note.

 6      Q.     Would there be any information in this document

 7   that's not in Exhibit 16?

 8      A.     Is Exhibit 16 the document we reviewed

 9   previously.

10      Q.     Yes, it is the --- it's your notes and the lab

11   information.

12      A.     I can't speak to the nuance in this ancillary

13   documentation.     I'm sure that there is information on

14   the face sheet if it was not present in the prior

15   packet, Exhibit 16, but my notes should be the same in

16   both packets.

17      Q.     Now, there are places where there have been

18   redactions of names.

19             Do you see that?

20      A.     Are you referring to --- let me use my

21   highlighter again.

22      Q.     On the very first page that you look at there

23   are three places where information is blocked out, which

24   yeah, you've highlighted it.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1254
                                                                    113


 1         A.   Yes, I can see that.

 2         Q.   Did you have any involvement in that --- in

 3   blocking that out or redacting it?

 4         A.   No, no, I did not.

 5                     ATTORNEY HARTNETT:    For the record,

 6   Plaintiff produced these to you with that information

 7   redacted at the request of Mr. Linkous.

 8   BY ATTORNEY TRYON:

 9         Q.   On the second page of this exhibit, if you can

10   go there, under the organs inventory, none of that is

11   filled out.     Is there a reason for that?

12         A.   So this is a form that is optional to complete

13   in Epic and is not part of my standard practice for

14   adolescents.

15         Q.   So underneath admission diagnosis, slash, and

16   reasons for visits, do you see that?

17         A.   I do not --- oh, down here at the bottom, yes, I

18   see that now.

19         Q.   What is ICD-10-CM?

20         A.   That is the system that we use for billing codes

21   ICD-10 specifically, I'm not sure what the -CM refers

22   to.

23         Q.   And under it, it says long-term, parentheses,

24   current, closed paren, use of other agents affecting



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1255
                                                                  114


 1   estrogen receptors and estrogen levels.     And that's

 2   under the admission diagnosis and reason for visit.         So

 3   tell me what that means.

 4      A.   I have to assume because I myself did not enter

 5   in that code I believe that that is an umbrella code

 6   that the code I actually entered falls under.         But

 7   again, I can't be positive about that.     The code I would

 8   have ---.

 9      Q.   Go ahead.

10      A.   The code I would have entered was likely

11   something along the lines of long-term use of a

12   gonadotropin-releasing hormone agonist or GRNHA.

13      Q.   And is that a diagnosis or reason for visit?

14      A.   So that is a reason to get the labs and the

15   scan that I subsequently ordered.     And so when you order

16   labs or imaging you have to tell insurance why it is

17   medically relevant.   And so that is the purpose of that

18   code.

19      Q.   During your visit with BPJ and BPJ's mother, did

20   you actually make any diagnoses?

21                   ATTORNEY HARTNETT:    Objection to form.

22                   THE WITNESS:    To my recollection, no new

23   diagnoses that had not already been made.

24   BY ATTORNEY TRYON:



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                  Armistead App. 1256
                                                                  115


 1      Q.     On the fourth page, which at the bottom center

 2   is 101 to 106, do you see --- let's see.     I'm blowing it

 3   up on my screen.     Does it get any larger on yours?

 4      A.     No, but I have it zoomed in on mine.

 5                     VIDEOGRAPHER:   Mr. Tryon, if you

 6   highlight or write with the pencil tool, that will share

 7   it with everybody.     But the zoom feature --- or the

 8   zooming is specific to each person.     So each person can

 9   zoom in on the page that whatever their preference is.

10   BY ATTORNEY TRYON:

11      Q.     Okay.

12             So I tried to highlight this one part that says

13   it says gender dysphoria.     Did it highlight on your

14   screen?

15      A.     Where patient describes this experience for

16   themselves as?

17      Q.     Yes.

18      A.     Yes.

19      Q.     So before the colon that's part of the form.

20             Is that right?

21      A.     That's correct.

22      Q.     And then the rest of that language you added?

23      A.     That language came from B       and I typed it in

24   to this note.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1257
                                                                   116


 1      Q.     Do you remember any more about the conversation

 2   with BPJ about those words?

 3      A.     I can't speak more to what other words were

 4   said, but I try to write these as directly as the young

 5   person provides them to me, and I didn't make any

 6   additional notation.     I make additional notation if the

 7   young person's experience is unexpected or different

 8   from my experience in working with gender diverse young

 9   people.   And so in my practice this would suggest that

10   this was what B        said and that her experience she

11   described was very similar to other young people that I

12   have cared for.

13      Q.     What does it mean angel, slash, devil on

14   shoulder kind of feeling?

15      A.     To my recollection, B      kind of described that

16   what you often see depicted in media, that there were

17   kind of parts of who she was that were in conflict.         And

18   my interpretation based on my memory was that those

19   parts of her were her gender identity and what society

20   kind of expects of her because of her sex assignment.

21   That's that distress that is associated with the gender

22   dysphoria diagnostic code.

23      Q.     What did society expect from BPJ?

24      A.     Typically when babies are assigned male at birth



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1258
                                                                    117


 1   we expect them to identify as boys and eventually men

 2   and to live their lives as such.

 3      Q.   Do you remember anything specifically about BPJ,

 4   though, about what BPJ thought society expected of BPJ?

 5      A.   I can't recall specifically if B            spoke to

 6   that.

 7      Q.   What does society expect of boys and men?

 8                     ATTORNEY HARTNETT:    Object to form.

 9                     THE WITNESS:    Can you restate that

10   question?

11   BY ATTORNEY TRYON:

12      Q.   Well, I'm just going back to what you said, you

13   said society expects certain things of boys and I think

14   you used the terminology of those that are assigned male

15   at birth and they expect certain things of boys and

16   certain things when they grow up to be men.

17      A.   Society.

18                     ATTORNEY HARTNETT:    Object to form.

19                     THE WITNESS:    To be very clear on this,

20   society expects --- in my experience if someone is

21   assigned male that they identify as male, simply put.

22   BY ATTORNEY TRYON:

23      Q.   Okay.

24               Well, what specifically does society expect of



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1259
                                                                    118


 1   men?

 2                     ATTORNEY HARTNETT:    Object to form.

 3                     THE WITNESS:    Can you rephrase that?

 4   BY ATTORNEY TRYON:

 5      Q.      Well, you're telling me that society expects

 6   certain things of boys and men.      I want to know what you

 7   are saying that society expects from them.

 8                     ATTORNEY HARTNETT:    Object to form.

 9                     THE WITNESS:    I'm simply stating is that

10   folks who are assigned male are expected to identify as

11   male.     That is what society expects.

12   BY ATTORNEY TRYON:

13      Q.      And what does that mean to identify as male?

14      A.      To have one's sense of gender for one's self be

15   on the masculine spectrum.

16      Q.      What's on the masculine spectrum?

17      A.      There is a very helpful tool for this that I

18   often use in talking about gender identity.        It's called

19   the gender unicorn, and it diagrams this out really

20   nicely.     But essentially there are masculine and

21   feminine and nonbinary and other gender components in

22   all of us to some varying degree.       And when I say

23   masculine I mean that the masculine component is

24   dominant.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1260
                                                                     119


 1      Q.   What are masculine components?

 2      A.   It's a bit of a cultural and time, so temporally

 3   associated sort of thing, and I talk about this with

 4   patients and families, but it's often how we

 5   communicate, how we carry ourselves, what our place and

 6   role in society is, lots of expectations.       But when

 7   we're talking about gender identity, it's this inherent

 8   sense of self as it relates to gender.

 9                     ATTORNEY TRYON:    I would ask the court

10   reporter to read back my question, please.

11                     COURT REPORTER:    What are the masculine

12   components?

13   BY ATTORNEY TRYON:

14      Q.   Please answer that question.

15                     ATTORNEY HARTNETT:    Object to form.

16                     THE WITNESS:    They are not specific

17   components but instead a sense of self.

18   BY ATTORNEY TRYON:

19      Q.   So there are no masculine components?

20                     ATTORNEY HARTNETT:    Object to form.

21                     THE WITNESS:    There is not a checkbox for

22   masculinity, although society does impose ideas on us.

23   BY ATTORNEY TRYON:

24      Q.   Well, you used term masculine components.           I



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1261
                                                                   120


 1   didn't.   What were you referring to?

 2      A.     Those thoughts that society has about what is

 3   masculine.

 4      Q.     Which are what?

 5      A.     I think it depends on the society in question.

 6      Q.     Okay.

 7             Our society here in West Virginia?

 8                     ATTORNEY HARTNETT:   Object to form.

 9                     THE WITNESS:   Here in West Virginia one

10   may masculine things are --- things like I gave the

11   example earlier of interest in construction, right, and

12   what we were discussing earlier, interest in hunting.

13   While there are many folks who consider those things

14   feminine as well, they stereotypically masculine in our

15   society by my interpretation.

16   BY ATTORNEY TRYON:

17      Q.     So that would be your stereotype?

18                     ATTORNEY HARTNETT:   Object to form.

19                     THE WITNESS:   The stereotype that I

20   observe in our society as part of my job.

21   BY ATTORNEY TRYON:

22      Q.     So how have you reported your observations as to

23   what constitutes a masculine component?

24                     ATTORNEY HARTNETT:   Object to form.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1262
                                                                  121


 1                   ATTORNEY TRYON:    Do you have a list?

 2                   THE WITNESS:    Could you repeat the

 3   question?

 4   BY ATTORNEY TRYON:

 5      Q.   Do you have a list of what you've observed to be

 6   masculine components in our society here in West

 7   Virginia?

 8                   ATTORNEY HARTNETT:    Object to form.

 9                   THE WITNESS:    I do not have a list, no.

10   BY ATTORNEY TRYON:

11      Q.   So just when you're talking to a young person

12   how do you know what constitutes a masculine component?

13      A.   I think that's irrelevant for the purposes of

14   discussing someone's gender identity as they see it

15   themselves and instead more relevant to conversations

16   about society's expectations of them.

17      Q.   You say it's relevant or irrelevant?

18      A.   It is relevant in some ways as to how they see

19   themselves certainly.   The primary thing we focus on is

20   how the young person experiences their gender identity.

21      Q.   How did BPJ experience BPJ's identity?

22      A.   She identified as a girl.

23      Q.   And what does that mean then?

24      A.   It means that in her own mind and her own sense



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1263
                                                                   122


 1   of self she is a girl.     She sees herself as a girl.      Her

 2   relationships with people are based on her own internal

 3   sense of self as a girl.

 4      Q.   Did BPJ tell her what components constitute

 5   being a girl?

 6                   ATTORNEY HARTNETT:    Object to form.

 7                   THE WITNESS:    Not to my recollection.

 8   BY ATTORNEY TRYON:

 9      Q.   So just the fact that BPJ said I identify as a

10   girl, that was enough?

11                   ATTORNEY HARTNETT:    Object to form.

12                   THE WITNESS:    No one knows their own

13   lived experience better than the individual themselves.

14   And so when young people tell me how they identify, I

15   explore what that mean for them.     But B      identifies

16   as a girl and so she is a girl.

17   BY ATTORNEY TRYON:

18      Q.   So you explored that with BPJ.       Can you tell me

19   about that exploration, what it meant for BPJ to be a

20   girl?

21      A.   Only to the extent that I documented it and

22   based on my standard practice.     I don't recall the

23   specifics of our conversation beyond that.

24      Q.   So if someone comes to you and says --- who is a



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1264
                                                                    123


 1   girl who was, as you say, assigned the sex of female at

 2   birth, that says I identify as a male, but all outward

 3   appearances --- let me rephrase that.       Let me just start

 4   over.   If a young woman of any age comes to you and says

 5   I identify as a male, is that in and of itself enough to

 6   establish gender --- now I'm forgetting the terminology,

 7   sorry, gender dysphoria?

 8                     ATTORNEY HARTNETT:    Object to form.

 9                     THE WITNESS:    It is not because, as we

10   discussed, there are specific diagnostic criteria for

11   that diagnosis.

12   BY ATTORNEY TRYON:

13      Q.    And that is they have to identify as such for

14   six months?

15                     ATTORNEY HARTNETT:    Object to form.

16                     THE WITNESS:    I'm happy to review based

17   on my memory, but I would refer to the DSM-V and that

18   specific diagnostic criteria.

19   BY ATTORNEY TRYON:

20      Q.    What if that persons says I don't care about

21   DSM-V, you know, I was assigned girl at birth, but I

22   identify as a girl, that's not good enough?

23                     ATTORNEY HARTNETT:    Object to form.

24                     THE WITNESS:    I think you are confusing



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                       Armistead App. 1265
                                                                       124


 1   the difference between gender dysphoria, the diagnosis,

 2   and gender identity, the experience.

 3   BY ATTORNEY TRYON:

 4         Q.      Thank you for clarifying.     So for someone to

 5   have a gender identity different than what they are

 6   quote assigned at birth, they just simply need to say

 7   that they have a different gender identity.

 8                  Is that right?

 9                        ATTORNEY HARTNETT:    Object to form.

10                        THE WITNESS:    They also don't have to say

11   it.        It's something they know in their own minds for

12   themselves and for them to share or not.

13   BY ATTORNEY TRYON:

14         Q.      But if they share that, is it your view that

15   that person needs to accept that, that other folks need

16   to accept that?

17                        ATTORNEY HARTNETT:    Object to form.

18                        THE WITNESS:    It's my view that no one

19   can know inside someone's else's mind better than that

20   person themselves.

21   BY ATTORNEY TRYON:

22         Q.      Do others --- should others be required to

23   accept that or not?

24                        ATTORNEY HARTNETT:    Object to form.



                      SARGENT'S COURT REPORTING SERVICE, INC.
                                  (814) 536-8908
                                                     Armistead App. 1266
                                                                     125


 1                      THE WITNESS:   I can't speak to that more

 2   broadly.    All I can talk about is B        and what she

 3   told me.

 4   BY ATTORNEY TRYON:

 5      Q.      Okay.

 6              If we could turn now to page --- okay.        I'm

 7   looking at what is page 18 of 36.       Do you see that?

 8      A.      I do.

 9      Q.      Okay.   So ---.

10                      ATTORNEY HARTNETT:   Could I just say for

11   the record it's the document with the 101120 at the

12   bottom?

13                      ATTORNEY TRYON:   Correct.

14                      ATTORNEY HARTNETT:   Thank you.

15   BY ATTORNEY TRYON:

16      Q.      And it says --- under messages sent it shows

17   delivery and it shows on 10/25/2021 it looks like a

18   message was sent to Matthew Bunner.       Is that a correct

19   interpretation of that?

20      A.      That would be my guess, although I'm not

21   familiar with that exact message nor is this kind of

22   usually how I see this report.       So outside of this

23   setting, I wouldn't necessarily have access to this

24   view.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                     Armistead App. 1267
                                                                     126


 1      Q.   Do you remember talking to or sending a message

 2   to Mr. Bunner on 10/25/2021?

 3      A.   No, I don't have recollection of that and I

 4   suspect it was not me who sent the message.

 5      Q.   Okay.

 6               Then down below further it says call

 7   information and it references Steven Deci and you and

 8   --- that's all.     It references a call apparently on

 9   9/16/2021.     Do you know what that is about?

10      A.   I don't.      I don't recall receiving a phone call.

11   I do know that is the date of the visit and the time of

12   the visit, and so this may be what it is referring to.

13      Q.   Okay.

14               Now, I'm on page 21, which is at the bottom of

15   the page.     The bottom is 101123.    And under here it

16   shows today's visit.     There's a box there.     Do you see

17   that?

18      A.   I do.

19      Q.   And who inputted this information?

20      A.   It depends on what information you're referring

21   to, and I only know partial answers to that question.

22      Q.   Okay.

23               The blood pressure?

24      A.   It is our standard practice that the nurse takes



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1268
                                                                   127


 1   the blood pressure and then enters it into the chart.

 2      Q.   The same thing with the BMI and the weight?

 3      A.   So the nurse would take a weight and measure

 4   height and then the computer would automatically

 5   calculate a BMI.

 6      Q.   Okay.

 7            And the temperature, the nurse does that as

 8   well?

 9      A.   Yes.

10      Q.   And the pulse?

11      A.   Yes.

12      Q.   And it says under that percentiles calculated

13   using cc, paren, boys 2, dash, 20 years, closed paren.

14   Do you see that there?

15      A.   I do.

16      Q.   And so why is that percentage using the boys

17   chart as opposed to a girls chart?

18      A.   Because in Epic the sex designation carries over

19   to the gender marker, and so that is what chart is used.

20      Q.   Is there a reason to determine percentiles for

21   the child?

22      A.   The BMI percentiles are important for youth as

23   BMI itself is a poor measure and so BMI percentile is

24   the standard based on my training that is used.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1269
                                                                   128


 1      Q.      And why is that important?

 2      A.      It's important to look at growth and development

 3   throughout childhood.    Children are not fixed as adults

 4   often are in their height, for example.

 5      Q.      So if BPJ identifies as a female, why not use

 6   the female chart?

 7                    ATTORNEY HARTNETT:     Object to the form.

 8                    THE WITNESS:    It's a question and it's a

 9   limitation of our health system and our health record.

10   BY ATTORNEY TRYON:

11      Q.      So you don't think it matters which chart is

12   used, whether it's a male or female?

13                    ATTORNEY HARTNETT:     Object to form.

14                    THE WITNESS:    I certainly think it

15   matters.

16   BY ATTORNEY TRYON:

17      Q.      And why does it matter?

18      A.      It matters because these charts are slightly

19   different and based on a child's growth trajectory it

20   may be better to use one chart over the other or even

21   both to make sure that a child growth trajectory is on

22   target.

23      Q.      Did you prescribe any treatment for BPJ?

24                    ATTORNEY HARTNETT:     Object to form.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                       Armistead App. 1270
                                                                       129


 1                      THE WITNESS:    No new treatment.      I did

 2   continue with        .   For example, we did not discontinue

 3   the        during my visit.

 4   BY ATTORNEY TRYON:

 5         Q.   Is --- let me see if I can pronounce this right.

 6                   hormone, what is that?

 7         A.                 hormone or LH is a hormone that is

 8   downregulated by the presence of the          .    It is a

 9   hormone that goes on to stimulate a secretion of sex

10   hormone in the body throughout.

11         Q.   Do you anticipate any of --- prescribing any

12   further treatment?

13         A.   So I think I have a visit with B            coming up

14   next month and at that point we will be discussing B

15   and her family's goals and discussing options like

16              .   We began that conversation at our first

17   visit.

18         Q.   And what about options such as surgery?

19         A.   I'm not a surgeon, and in my experience, B

20   is very young to be making kind of long-term plans in

21   that direction, although if she has questions I will

22   answer them to the best of my ability.

23         Q.   So if that's something that BPJ wanted, is there

24   something that you would --- is that something you would



                    SARGENT'S COURT REPORTING SERVICE, INC.
                                (814) 536-8908
                                                    Armistead App. 1271
                                                                    130


 1   refer BPJ to someone else?

 2                     ATTORNEY HARTNETT:    Object to form.

 3                     THE WITNESS:    When appropriate.

 4   BY ATTORNEY TRYON:

 5      Q.      Do you have someone in particular --- well, have

 6   you ever referred anybody to another specialist for

 7   surgery?

 8      A.      Yes.

 9      Q.      Who have you referred them to?

10      A.      Well, there are usually surgical centers as well

11   as individual surgeons, but it depends on what the young

12   person is seeking and what their insurance coverage is,

13   where their family is located, and a host of other

14   factors.

15      Q.      How many referrals have you made for surgery?

16                     ATTORNEY HARTNETT:    Object to form,

17   scope.     Go ahead.

18                     THE WITNESS:    I couldn't speak to that

19   specifically.     I don't know off the top of my head.

20   BY ATTORNEY TRYON:

21      Q.      More than one?

22      A.      Yes.

23                     ATTORNEY HARTNETT:    Same objection.

24   BY ATTORNEY TRYON:



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1272
                                                                     131


 1      Q.    Can you just give me the names of a couple of

 2   folks who do this type of --- do surgery for gender

 3   transition?

 4                     ATTORNEY HARTNETT:     Objection, form,

 5   scope.

 6                     THE WITNESS:    What type of surgery are we

 7   talking about?

 8   BY ATTORNEY TRYON:

 9      Q.    Sex reassignment surgery.

10                     ATTORNEY HARTNETT:     Objection.     This

11   deposition concerns the diagnosis and treatment of

12   Plaintiff, BPJ aka B         P      -J      .   I would like

13   to understand how this line of questioning is at all

14   relevant to that.

15                     ATTORNEY TRYON:    To understand the future

16   of possible treatments.

17                     ATTORNEY HARTNETT:     She has not testified

18   to any such future possible treatment with BPJ or --- I

19   just don't understand why having her list the names of

20   providers to conduct surgeries has anything at all to do

21   with BPJ's diagnosis or treatment.

22   BY ATTORNEY TRYON:

23      Q.    You can answer the question.

24      A.    Can you restate the question?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1273
                                                                   132


 1      Q.   Can you give me a list of providers for a sex

 2   reassignment surgery that you've referred people to?

 3                    ATTORNEY HARTNETT:    Object to the form

 4   and scope.

 5                    THE WITNESS:    Sex reassignment surgery is

 6   very broad, and so I'm not able to give you a specific

 7   list of surgeons without further clarity.

 8   BY ATTORNEY TRYON:

 9      Q.   Then I guess I need to ask you what is included

10   within sex reassignment surgery.

11      A.   It's a rather long list, but none of this

12   pertains to B        right now and may not in the future.

13      Q.   But you have referred folks out for some form of

14   sex reassignment surgery or not?

15                    ATTORNEY HARTNETT:    Object to form.

16                    THE WITNESS:    I have referred patients

17   for a variety of needs outside of my scope of practice,

18   yes.

19   BY ATTORNEY TRYON:

20      Q.   Can you recall the name of even one of the

21   surgeons you've referred people to?

22                    ATTORNEY HARTNETT:    Same objection and

23   asked and answered.

24                    THE WITNESS:    John Pang.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1274
                                                                   133


 1   BY ATTORNEY TRYON:

 2      Q.   How do you spell the last name?

 3      A.   P-A-N-G.

 4      Q.   Give me two more and we will be done.

 5                    ATTORNEY HARTNETT:     Objection to scope

 6   and form and harassing the witness.

 7                    ATTORNEY LINKOUS:     If you can recall, you

 8   can tell him.

 9                    THE WITNESS:    And there are usually teams

10   and not individual surgeons, but Toby Meltzer is someone

11   whose name I had mentioned previously.      And I'm thinking

12   of centers, and so there's lots of folks in centers.

13   BY ATTORNEY TRYON:

14      Q.   Give me a center name?

15      A.   The Hopkins Clinic.

16      Q.   Is that in West Virginia?

17      A.   It is not.     In fact, none of these providers

18   are.

19      Q.   I see.     Okay.

20                    ATTORNEY TRYON:     Let's go off the record.

21   Let me take just a very short break and see if there are

22   any other questions that I have.

23                    VIDEOGRAPHER:     Going off the record.     The

24   current time reads 1:32 p.m.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                  Armistead App. 1275
                                                                   134


 1   OFF VIDEOTAPE

 2                               - - -

 3   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

 4                               - - -

 5   ON VIDEOTAPE

 6                   VIDEOGRAPHER:     We are back on the record.

 7   The current time reads 1:41 p.m.

 8                   ATTORNEY TRYON:     Dr. Kidd, I want to

 9   thank you very much for your time.     I have no further

10   questions for you at this time.     In the rare event that,

11   unlikely I will say, event that the Epic records somehow

12   show something that we need to reconvene this for, then

13   I would want to reconvene this.     Otherwise, I have no

14   further questions.   And you have the option to --- well,

15   your counsel will advise you you have the option to read

16   this or waive reading.    So that's all I have.      Thanks

17   again.

18                   ATTORNEY HARTNETT:     And this is Kathleen

19   Hartnett for Plaintiff.    I just would like to

20   provisionally mark the transcript as confidential in

21   light of the discussion of medical records.       And we'll

22   do a more specific designation when we review.

23                   And I also just wanted to state from the

24   Plaintiff's perspective, the deposition is closed



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1276
                                                                     135


 1   because we made the production requested of us, but we

 2   will, as I noted, review with what Mr. Linkous sent and

 3   we will send to Defendants anything responsive to RFP-1

 4   per the way we have responded to date in this

 5   litigation.

 6                     ATTORNEY LINKOUS:     If there are no more

 7   questions, we will read and sign.        And you may send her

 8   deposition transcript to me and I will facilitate the

 9   errata process to the doctor.

10                     ATTORNEY TRYON:     Any other Defendants

11   have any other questions?

12                     ATTORNEY CROPP:     This is Jeff Cropp for

13   Defendant Harrison County Board of Education and Doris

14   Stutler.     I came on for Susan Deniker who had to leave

15   early.     We have no questions today.

16                     ATTORNEY GREEN:     This is Roberta Green

17   here on behalf of West Virginia Secondary School

18   Activities Commission.      No questions.

19                     ATTORNEY TAYLOR:     This is Michael Taylor

20   on behalf of the West Virginia State Board of Education.

21   Kelly Morgan had to step off, so I jumped on, and we

22   have no questions.

23                     ATTORNEY TRYON:     Mr. Ducar, you are

24   muted.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1277
                                                                      136


 1                     ATTORNEY DUCAR:     Thank you.   Timothy

 2   Ducar on behalf of the Intervenor Lainey Armistead.             We

 3   have no questions.

 4                     ATTORNEY TRYON:     Thank you, everyone.

 5                     VIDEOGRAPHER:     That concludes this

 6   deposition.     The current time reads 1:43 p.m.        Thank

 7   you, Counsel.

 8                            * * * * * * *

 9             VIDEOTAPED VIDEOCONFERENCE DEPOSITION

10                       CONCLUDED AT 1:43 P.M.

11                            * * * * * * *

12

13

14

15

16

17

18

19

20

21

22

23

24



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1278


                                                          137
 1   STATE OF WEST VIRGINIA    )

 2                         CERTIFICATE

 3               I, Nicole Montagano, a Notary Public in

 4   and for the State of West Virginia, do hereby

 5   certify:

 6               That the witness whose testimony appears

 7   in the foregoing deposition, was duly sworn by me

 8   on said date, and that the transcribed deposition

 9   of said witness is a true record of the testimony

10   given by said witness;

11               That the proceeding is herein recorded

12   fully and accurately;

13               That I am neither attorney nor counsel

14   for, nor related to any of the parties to the

15   action in which these depositions were taken, and

16   further that I am not a relative of any attorney

17   or counsel employed by the parties hereto, or

18   financially interested in this action.

19               I certify that the attached transcript

20   meets the requirements set forth within article

21   twenty-seven, chapter forty-seven of the West

22   Virginia.

23

24                                  Nicole Montagano,

25                                       Court Reporter
                                                   Armistead App. 1279
                                                                         1


 1                IN THE UNITED STATES DISTRICT COURT

 2             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 3                        CHARLESTON DIVISION

 4                           * * * * * * * *

 5   B.P.J., by her next friend and      *

 6   Mother, HEATHER JACKSON,            *

 7       Plaintiff                       *   Case No.

 8       vs.                             *   2:21-CV-00316

 9   WEST VIRGINIA STATE BOARD OF        *

10   EDUCATION, HARRISON COUNTY          *

11   BOARD OF EDUCATION, WEST            *

12   VIRGINIA SECONDARY SCHOOL           *

13   ACTIVITIES COMMISSION, W.           *

14   CLAYTON BURCH in his official       *

15   Capacity as State Superintendent,* VIDEOTAPED

16   DORA STUTLER in her official        * VIDEOCONFERENCE

17   Capacity as Harrison County         * DEPOSITION

18   Superintendent, PATRICK MORRISEY *           OF

19   In his official capacity as         * BPJ

20   Attorney General, and THE STATE     * January 21, 2022

21   OF WEST VIRGINIA,                   *

22       Defendants                      *

23               Any reproduction of this transcript
                  is prohibited without authorization
24                      by the certifying agency.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                 Armistead App. 1280
                                                                       2


 1             VIDEOTAPED VIDEOCONFERENCE DEPOSITION

 2                               OF

 3   BPJ, taken on behalf of the Defendant, State of West

 4   Virginia herein, pursuant to the Rules of Civil

 5   Procedure, taken before me, the undersigned, Nicole

 6   Montagano, a Court Reporter and Notary Public in and for

 7   the State of West Virginia, on Friday, January 21, 2022,

 8   beginning at 10:09 a.m.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1281
                                                                          3


 1                        A P P E A R A N C E S

 2

 3   JOSHUA BLOCK, ESQUIRE

 4   American Civil Liberties Union Foundation

 5   125 Broad Street

 6   New York, NY     10004

 7   COUNSEL FOR PLAINTIFF

 8

 9   LOREE STARK, ESQUIRE

10   ACLU of West Virginia

11   P.O. Box 3952

12   Charleston, WV     25339

13       COUNSEL FOR PLAINTIFF

14

15   KATHLEEN R. HARTNETT, ESQUIRE

16   ANDREW BARR, ESQUIRE

17   JULIE VEROFF, ESQUIRE

18   ZOE HELSTROM, ESQUIRE

19   Cooley, LLP

20   3 Embarcadero Center

21   20th Floor

22   San Francisco, CA        94111-4004

23       COUNSELS FOR PLAINTIFF

24



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1282
                                                                         4


 1                  A P P E A R A N C E S (cont'd)

 2

 3   SRUTI SWAMINATHAN, ESQUIRE

 4   Lambda Legal

 5   120 Wall Street

 6   19th Floor

 7   New York, NY     10005-3919

 8       COUNSEL FOR PLAINTIFF

 9

10   DAVID TRYON, ESQUIRE

11   CURTIS R.A. CAPEHART, ESQUIRE

12   State Capitol Complex

13   Building 1, Room E-26

14   Charleston, WV     25305

15       COUNSEL FOR STATE OF WEST VIRGINIA

16

17   ROBERTA F. GREEN, ESQUIRE

18   KIMBERLY M. BANDY, ESQUIRE

19   SHANNON ROGERS, ESQUIRE

20   Shuman McCuskey Slicer, PLLC

21   1411 Virginia Street East, Suite 200

22   Charleston, WV     25301

23       COUNSEL FOR WEST VIRGINIA SECONDARY SCHOOL

24       ACTIVITIES COMMISSION



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1283
                                                                        5


 1                  A P P E A R A N C E S (cont'd)

 2

 3   SUSAN DENIKER, ESQUIRE

 4   Steptoe & Johnson

 5   400 White Oaks Boulevard

 6   Bridgeport, WV   26330

 7       COUNSEL FOR HARRISON COUNTY BOARD OF EDUCATION and

 8       HARRISON COUNTY SUPERINTENDENT DORA STUTLER

 9

10   KELLY C. MORGAN, ESQUIRE

11   KRISTEN V. HAMMOND, ESQUIRE

12   Bailey Wyant

13   500 Virginia Street East

14   Suite 600

15   Charleston, WV   25301

16       COUNSEL FOR WEST VIRGINIA BOARD OF EDUCATION and

17       SUPERINTENDANT W. CLAYTON BURCH

18

19   TIMOTHY D. DUCAR, ESQUIRE

20   Law Office of Timothy D. Ducar

21   7430 East Butherus Drive

22   Suite E

23   Scottsdale, AZ   85260

24       COUNSEL FOR INTERVENOR, LAINEY ARMISTEAD



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1284
                                                                          6


 1                               I N D E X

 2

 3   DISCUSSION AMONG PARTIES                            11 -    15

 4   WITNESS: BPJ

 5   EXAMINATION

 6      By Attorney Capehart                             15 - 122

 7   EXAMINATION

 8      By Attorney Rogers                              122 - 123

 9   EXAMINATION

10      By Attorney Deniker                             123 - 142

11   EXAMINATION

12      By Attorney Hammond                             143 - 144

13   EXAMINATION

14      By Attorney Ducar                               144 - 155

15   DISCUSSION AMONG PARTIES                           155 - 157

16   CERTIFICATE                                                158

17

18

19

20

21

22

23

24



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1285
                                                                         7


 1                            EXHIBIT PAGE

 2

 3                                                  PAGE

 4   NUMBER   DESCRIPTION                        IDENTIFIED

 5   Exhibit 1    Davis Medical Records              --*

 6   Exhibit 1R   Davis Medical Records             --*

 7   Exhibit 2    Davis Medical Records              --*

 8   Exhibit 3    WVU Medical Records               --*

 9   Exhibit 4    UPMC Children's Medical

10                Records                            --*

11   Exhibit 5    UPMC Children's Medical

12                Records                            --*

13   Exhibit 6    UPMC Children's Medical

14                Records                            --*

15   Exhibit 7    UPMC Children's Medical

16                Records

17   Exhibit 8    UPMC Children's Medical

18                Records                            --*

19   Exhibit 9    UPMC Children's Medical

20                Records                            --*

21   Exhibit 11A Progress Notes                      --*

22   Exhibit 11B Progress Notes                      --*

23   Exhibit 11C Progress Notes                      --*

24   Exhibit 11D Progress Notes                      --*



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1286
                                                                         8


 1                            EXHIBIT PAGE

 2

 3                                                  PAGE

 4   NUMBER       DESCRIPTION                    IDENTIFIED

 5   Exhibit 12   UPMC Children's Medical

 6                Records                             --*

 7   Exhibit 13   UMPC Children's Medical

 8                Records                             --*

 9   Exhibit 14   WVU Medical Records                 --*

10   Exhibit 15   WVU Medical Records                 --*

11   Exhibit 16   WVU Medical Records                 --*

12   Exhibit 17   Gender Support Plan                 --*

13   Exhibit 18   Preferred Name Request Form         --*

14   Exhibit 19   Gender Support Plan                 --*

15   Exhibit 20   Student Information                 --*

16   Exhibit 20R Student Information                  --*

17   Exhibit 21   Screening Results                   --*

18   Exhibit 21R Screening Results                    --*

19   Exhibit 22   Birth Certificate                   --*

20   Exhibit 22R Birth Certificate                    --*

21   Exhibit 23   Heart Walk Article                  --

22   Exhibit 23R Heart Walk Article                   --

23   Exhibit 24   Photo                               --

24   Exhibit 24R Photo                                --



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1287
                                                                         9


 1                            EXHIBIT PAGE

 2

 3                                                  PAGE

 4   NUMBER       DESCRIPTION                    IDENTIFIED

 5   Exhibit 25   WV Record                          --

 6   Exhibit 26   Photo of Mom and BPJ              --

 7   Exhibit 27   Article                           --

 8   Exhibit 28   Article                           --

 9   Exhibit 29   Lambda Legal Article               --

10   Exhibit 30   Declaration of Heather

11                Jackson                            --

12   Exhibit 31   Declaration of BJP                --

13   Exhibit 32   First Amended Complaint            --

14   Exhibit 33   Standards of Care                  --

15   Exhibit 34   House Bill 3293                   --

16

17

18

19

20

21

22

23   * CONFIDENTIAL EXHIBITS

24



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                 Armistead App. 1288
                                                                  10


 1                         OBJECTION PAGE

 2

 3   ATTORNEY                                   PAGE

 4   Hartnett    19, 23, 24, 26, 26, 27, 27, 29, 29, 30, 30,

 5   30, 31, 31, 31, 32, 32, 33, 33, 34, 34, 34, 35, 35, 36,

 6   36, 37, 37, 38, 38, 39, 41, 41, 42, 43, 43, 44, 44, 45,

 7   46, 48, 49, 50, 51, 52, 52, 53, 54, 54, 55, 57, 59, 60,

 8   61, 62, 62, 63, 63, 66, 67, 68, 68, 69, 70, 70, 70, 71,

 9   72, 72, 73, 74, 74, 75, 76, 76, 78, 79, 80, 81, 81, 82,

10   84, 85, 85, 85, 86, 87, 87, 88, 88, 89, 89, 90, 90, 94,

11   94, 95, 96, 97, 97, 98, 99, 100, 100, 101, 101, 102,

12   103, 104, 104, 107, 108, 108, 109, 109, 110, 110, 111,

13   112, 113, 113, 114, 116, 117, 118, 118, 119, 120, 120,

14   121, 121, 128, 133, 135, 137, 139, 140, 142, 144, 146,

15   146, 147, 148, 150, 150, 150, 151, 151, 151, 153, 153,

16   154, 155, 155, 156

17

18

19

20

21

22

23

24



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1289
                                                                    11


 1                      S T I P U L A T I O N

 2   --------------------------------------------------------

 3   (It is hereby stipulated and agreed by and between

 4   counsel for the respective parties that reading,

 5   signing, sealing, certification and filing are not

 6   waived.)

 7   --------------------------------------------------------

 8                    VIDEOGRAPHER:   We're now on the record.

 9   My name is Jacob Stock.    I'm a Certified Legal Video

10   Specialist employed by Sargent's Court Reporting

11   Services, which is located at 210 Main Street,

12   Johnstown, PA 15901.    The date today is January 21st,

13   2022.   The current time reads 10:09 a.m., Eastern

14   Standard Time.   This deposition is being taken remotely

15   by Zoom conference.    The caption of the case is in the

16   United States District Court for the Southern District

17   of West Virginia, Charleston Division, BPJ, by her Next

18   Friend and Mother, Heather Jackson versus West Virginia

19   State Board of Education, et al.      Civil Action Number

20   2:21-CV-00316.   The name of the witness is BPJ.

21                    Will the attorneys present state their

22   names and the parties they represent?

23                    ATTORNEY CAPEHART:    This is Curtis

24   Capehart for the State of West Virginia.      And with me is



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1290
                                                                      12


 1   my colleague, David Tryon.

 2                    ATTORNEY HARTNETT:     Good morning.     This

 3   is Kathleen Hartnett from Cooley, LLP, for Plaintiff

 4   BPJ, who is the witness today.      And the other

 5   Plaintiff's Counsel could introduce themselves, first

 6   with the others from Cooley and then we could go to

 7   ACLU, ACLU of West Virginia and Lambda.

 8                    ATTORNEY BARR:     Good morning.     This is

 9   Andrew Barr from Cooley, LLP, on behalf of the

10   Plaintiff.

11                    ATTORNEY VEROFF:     Good morning.     This is

12   Julie Veroff from Cooley, LLP, on behalf of the

13   Plaintiff.

14                    ATTORNEY HELSTROM:     Good morning.     This

15   is Zoe Helstrom from Cooley, LLP, on behalf of the

16   Plaintiff.

17                    ATTORNEY BLOCK:     Good morning.     This is

18   Josh Block from ACLU on behalf of Plaintiff.

19                    ATTORNEY STARK:     Good morning.     This is

20   Loree Stark with the ACLU of West Virginia on behalf of

21   the Plaintiff.

22                    ATTORNEY SWAMINATHAN:     Good morning.

23   This is Sruti Swaminathan from Lambda Legal on behalf of

24   Plaintiff.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1291
                                                                      13


 1                    ATTORNEY DENIKER:     Good morning.     I'm

 2   Susan Deniker with Steptoe and Johnson, counsel for

 3   Defendants Harrison County Board of Education and

 4   Harrison County Superintendant Dora Stutler.

 5                    ATTORNEY GREEN:     Good morning.     This is

 6   Roberta Green on behalf of West Virginia Secondary

 7   School Activities Commission, and I will let me

 8   colleagues introduce.

 9                    ATTORNEY BANDY:     Hello.   This is Kimberly

10   Bandy also on behalf of West Virginia Secondary School

11   Activities Commission.

12                    ATTORNEY HAMMOND:     Good morning.     This is

13   Kristen Hammond.    And Kelly Morgan is also on here with

14   Bailey and Wyant and we represent the West Virginia

15   State Board of Education and Superintendant Burch.

16                    ATTORNEY DUCAR:     Good morning.     Timothy

17   Ducar here on behalf of the Intervenor, Lainey

18   Armistead.

19                    ATTORNEY HOLCOMB:     Good morning.

20   Christiana Holcomb with Alliance Defending Freedom on

21   behalf of the Intervenor.

22                    ATTORNEY CSUTOROS:     Good morning.     This

23   Rachel Csutoros on behalf of Alliance Defending Freedom

24   on behalf of the Intervenor.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1292
                                                                     14


 1                     ATTORNEY BROWN:     And good morning.    Josh

 2   Brown on behalf of the Intervenor.

 3                     VIDEOGRAPHER:     And if that's everybody,

 4   the court reporter can swear in the witness so we can

 5   begin the deposition.

 6                     COURT REPORTER:     Can you please raise

 7   your hand, BPJ?

 8                                ---

 9                                BPJ,

10   CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND

11   HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS

12   FOLLOWS:

13                                ---

14                     COURT REPORTER:     Thank you.

15                     ATTORNEY HARTNETT:     Before we begin this

16   morning, if it's okay with Mr. Capehart, the parties

17   were going to put on the record a couple of stipulations

18   about objections that they had reached for today's

19   proceedings.   I would just direct the record in this

20   case to the record of the deposition yesterday of

21   Heather Jackson held on January 20th, and the same

22   stipulations with respect to objections for

23   legal/medical and expert testimony with respect to

24   terminology and with respect to potentially



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1293
                                                                       15


 1   mischaracterization of the evidence.       Those same

 2   stipulations would hold today.       And so for the record,

 3   the Plaintiff agrees to that.       And it would be helpful I

 4   think if the other Defendants could just assent to those

 5   stipulations for today on the record.

 6                    ATTORNEY DENIKER:      This is Susan Deniker.

 7   I stipulate to that.

 8                    ATTORNEY GREEN:     This is Roberta Green on

 9   behalf of WVSSAC.    We stipulate to that.

10                    ATTORNEY HAMMOND:      This is Kristen

11   Hammond, and we also stipulate to that.

12                    ATTORNEY DUCAR:     This is Tim Ducar.      We

13   also stipulate to that.

14                    ATTORNEY CAPEHART:      And the State does as

15   well.

16                    ATTORNEY CAPEHART:      Anything else,

17   Kathleen, or should I go ahead?

18                    ATTORNEY HARTNETT:      Nothing here.

19                    ATTORNEY CAPEHART:      All right.    Thanks

20   very much.

21                                 ---

22                             EXAMINATION

23                                 ---

24   BY ATTORNEY CAPEHART:



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                      Armistead App. 1294
                                                                       16


 1      Q.      Well, good morning.    Nice to finally get to meet

 2   you.    My name is Curtis Capehart, as I said just a

 3   minute ago.       I represent the State of West Virginia in

 4   this.    Now up to this point we've been referring to you

 5   by the initials as BPJ because that is the way you have

 6   been identified in the Complaint that started this

 7   lawsuit.    Now, is that okay or would you prefer that I

 8   call you something else while we're talking here today?

 9   Because initials can be a little awkward.         So if you

10   feel more comfortable with me calling you something

11   else, that's perfectly fine.       You just let me know what

12   that could be.

13      A.      You can call me B

14      Q.      Okay.

15                       ATTORNEY HARTNETT:   If I could just say

16   for the record, not to interrupt, that we filed with the

17   BPJ initials in light of the Rules of Court, but the

18   Plaintiff Counsel has no objection to you referring to

19   her as B          in this deposition.

20                       ATTORNEY CAPEHART:   Okay.

21   BY ATTORNEY CAPEHART:

22      Q.      You are represented by counsel here today and is

23   that Kathleen, Ms. Hartnett, that was speaking just now?

24      A.      Yes.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1295
                                                                     17


 1      Q.   Have you ever been involved in a lawsuit before?

 2      A.   No.

 3      Q.   So you've probably never been deposed before,

 4   have you?

 5      A.   Can you repeat the question?

 6      Q.   Sure.      You haven't been deposed before then,

 7   have you?

 8      A.   No.

 9      Q.   Okay.

10               Also if there is a time where you have trouble

11   understanding me or hearing me, just do what you just

12   did there, let me know and I'll try and speak up a

13   little bit.     We don't have the best microphone

14   placements in here, so that might be a thing as we go

15   through today.

16               So as I go through and answer --- I'm sorry, if

17   I go through and ask you questions today, I just need

18   you to try to remember to answer verbally, not just nod

19   your head or shake your head because there is a video,

20   but we need to have those verbal responses so we can

21   truly understand what your answer is.       And if you do not

22   understand a question, that's fine.       You just need to

23   say so so that I can try and put together a better

24   question or try to explain more of what I'm trying to



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                       Armistead App. 1296
                                                                        18


 1   learn.        Okay?

 2                  Now, if you answer one of questions that I ask

 3   you today, we are going to assume that you understand

 4   it.        So if there is any kind of confusion, we don't want

 5   to deal with any of that.          It's better you just ask me

 6   and I'll try and improve my question for you.

 7                  Does that all make sense?

 8         A.      Yes.

 9         Q.      Okay.

10                  Also, I want to kind of touch on a couple of

11   other things here before I get started with some

12   questioning.          Just understand that we are not here to

13   judge you.        We're just trying to learn some of the facts

14   here, things we don't know.          This lawsuit was filed

15   trying to have a West Virginia State Law declared

16   invalid under the U.S. Constitution and another Federal

17   Law referred to as Title 9.          And that's --- that's

18   pretty serious.          So we, as the lawyers for the State,

19   have an obligation to defend that law.          That means I

20   have to ask you some questions that might make all of us

21   uncomfortable a little bit, but I have an obligation to

22   try and get through these.          That's not my goal.    I'm

23   just trying to find out information.          Okay?

24                  Now, also if I ask you a question that makes



                      SARGENT'S COURT REPORTING SERVICE, INC.
                                  (814) 536-8908
                                                    Armistead App. 1297
                                                                     19


 1   you very uncomfortable, tell me, and I can try, if I

 2   can, to rephrase it in a way to make you not

 3   uncomfortable.     I can't say that I won't ask those kinds

 4   of questions because there's some things that we have to

 5   ask questions about, some things that we need to get

 6   your testimony on, but I'm not trying to make you feel

 7   bad or upset you in any way.

 8            Okay?

 9      A.   Okay.

10                     ATTORNEY HARTNETT:    I would just object

11   to the extent you're seeking the witness to agree with

12   your description of your role.      But on the other hand, I

13   appreciate you letting her know that she can let you

14   know if she has an upsetting question.

15   BY ATTORNEY CAPEHART:

16      Q.   Also, I'm just going to --- a word about

17   objections.     Sometimes when we go through these, your

18   lawyer might make an objection.      I may ask a question,

19   Kathleen may same objection, something else.        Now, if

20   that happens, the lawyers may have to have a

21   conversation.     It's unlikely, but the lawyers may have

22   to talk about something, at which point you wouldn't be

23   able to hear us or see us.      We don't think that's going

24   to happen, but we at least want to let you know.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                         Armistead App. 1298
                                                                          20


 1             Also, generally, if your lawyer says objection,

 2   you can go ahead and answer the question unless your

 3   lawyer directs you not to.

 4      A.     Okay.

 5      Q.     Oh, and one last thing.        If you need to take a

 6   break for any reason, go to the bathroom, get more

 7   water, something of that nature, just let me know and we

 8   will take a break as soon as we can.            We just can't take

 9   a break if I've asked a question and we are waiting for

10   you to finish your answer.

11             Does that make sense?

12      A.     Yes.

13      Q.     Okay.        Great.

14             We will try and get through this as quickly as

15   we can.   I'm sure you have a lot of other things that

16   you would rather do on a Friday.         So with that, let me

17   ask you, if you can, to please state your name for the

18   record.

19      A.     First and last?

20      Q.     Yes, please.

21      A.     B        P            J   .

22      Q.     Great.        What is your address?

23      A.     Could you repeat the question?

24      Q.     Sure.        What is your home address?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1299
                                                                    21


 1         A.   I'm not sure.

 2         Q.   Okay.

 3              And where do you go to school?

 4         A.   Bridgeport Middle School.

 5         Q.   Do you remember signing a document called a

 6   Declaration back when this lawsuit was first getting

 7   started?

 8         A.   I can't remember.

 9         Q.   Okay.

10              If you could look at --- it's marked Exhibit

11   31.

12                      ATTORNEY CAPEHART:   Court Reporter, if

13   you could pull up that exhibit also.

14   BY ATTORNEY CAPEHART:

15         Q.   So do you have Exhibit 31 in front of you?

16         A.   Yes.

17         Q.   It's also up on the screen, just to make sure

18   that we're all looking at this document here?

19                      MS. JACKSON:   This is this.

20   BY ATTORNEY CAPEHART:

21         Q.   There's on the screen electronic version of it,

22   too.

23                      ATTORNEY HARTNETT:   For the record, we

24   have copies of the exhibits face down in the room with



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1300
                                                                   22


 1   the witness, and the witness may feel free to pick up

 2   the exhibit once it's referred to by the questioning

 3   counsel and look at the hard copy.

 4   BY ATTORNEY CAPEHART:

 5      Q.   Okay.

 6            Looking at this, now if you look at the last

 7   page, I believe it is number page four, it has the

 8   initials BPJ there and then some handwritten

 9   signature-like initials of BPJ.     Looking at those, do

10   you recognize those?

11      A.   Yes.

12      Q.   And that's your handwriting, I guess?

13      A.   Yes.

14      Q.   Okay.   Thanks very much.

15            Looking at this, does it jog your memory a

16   little bit that this is something you had to deal with

17   back when the lawsuit was started?

18      A.   Not really.

19      Q.   Okay.

20            And do you remember signing it?

21      A.   A little bit.

22      Q.   I know it's been a while, so I thought you might

23   want to go and look at a couple of these things to

24   remember what was in here.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1301
                                                                      23


 1                    MS. JACKSON:    Do you want to read through

 2   it?

 3                    THE WITNESS:    No.

 4   BY ATTORNEY CAPEHART:

 5         Q.   If you want to take a minute, you can kind of

 6   read all through it.    You just go ahead and let us know

 7   when you've had a chance to do that.

 8                    MS. JACKSON:    You need to tell them when

 9   you're done.

10                    THE WITNESS:    Oh, I'm done.

11   BY ATTORNEY CAPEHART:

12         Q.   Thank you.

13              Now, since you signed this back in May of last

14   year, obviously it's been quite a while since May.         And

15   is anything --- well, let me rephrase.      Back at that

16   time, if you look on page two, this was --- in

17   paragraph 11 you were talking about trying out for

18   cross-country and track.     And obviously, with the

19   passage of time, you tried out for the track team,

20   right, cross-country track team.

21                    ATTORNEY HARTNETT:    Objection, form.

22                    THE WITNESS:    I tried out cross-country.

23   Track is not a sport that was available at that time.

24   BY ATTORNEY CAPEHART:



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1302
                                                                        24


 1      Q.   Is track a spring sport?

 2      A.   Yes.

 3      Q.   Okay.

 4               So you tried out for cross-country.     Did you

 5   make the cross-country team?

 6      A.   Yes.

 7      Q.   Back on the bottom of the first page, under the

 8   paragraph number four, it describes that you when you

 9   were younger would play with your mom's clothes, liked

10   paint and girly items.      Whenever you said girly items

11   there with the quotations around it, what kind of items

12   are those?

13      A.   Items that had maybe unicorns on it, sparkles,

14   anything that would stick out in general that was maybe

15   a mystical creature that was like a unicorn maybe.             I

16   had some stuff that was pandas because I really like

17   pandas, and they were always multi-colored.        And that's

18   about it.

19      Q.   Okay.

20               I'm going to set that off to the side for a

21   minute and just ask you a few other questions.          Your

22   mother told us that you are comfortable explaining your

23   gender identity.     Are you?

24                     ATTORNEY HARTNETT:    Objection to form.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1303
                                                                     25


 1                     THE WITNESS:    Yes.

 2   BY ATTORNEY CAPEHART:

 3      Q.   Can you explain to me what is your gender

 4   identity?

 5      A.   I am female and I go by the pronoun she or her.

 6      Q.   Do you also refer to yourself as a transgender

 7   girl?

 8      A.   No.     I refer myself as a girl because I am a

 9   girl, and that's it.

10      Q.   Okay.

11               Does it bother you if someone does refer to you

12   as a transgender girl?

13      A.   No, because that's still calling me a girl, but

14   I prefer to be called as just a girl.

15      Q.   Okay.

16               Did you have a problem with --- looking back at

17   your Declaration, at Exhibit 31, in paragraph 12 it

18   says, the second line, I am a transgender girl.         Is that

19   okay with you that that's written that way?

20      A.   Yes, that is fine because that is --- that's

21   still showing that I am a girl and that is on a ---

22   that's on my Declaration.

23      Q.   And transgender female or transgender girl, are

24   both of those terms accurate?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1304
                                                                    26


 1                     ATTORNEY HARTNETT:   Objection to form.

 2                     THE WITNESS:   Yes, because I am a

 3   transgender female and a transgender girl.

 4   BY ATTORNEY CAPEHART:

 5      Q.     Okay.

 6              I just want to make sure I got the terminology

 7   down.    Do you remember the first time you heard the term

 8   transgender?

 9      A.     I can't remember.

10      Q.     Okay.

11              As long as you remember, you just --- have you

12   always had an understanding of what transgender means?

13      A.     I don't know, I don't think so.

14      Q.     So --- and I'm not trying to put words in your

15   mouth.    I'm just trying to understand.    So do you think

16   there was a time that you didn't, but at some point you

17   learned it, you just don't remember when that was?

18      A.     Yes.

19      Q.     All right.

20              Do you have any recollection of a time when you

21   were not a transgender girl?

22                     ATTORNEY HARTNETT:   Objection to form.

23                     THE WITNESS:   A little bit of a memory,

24   but not much.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1305
                                                                      27


 1   BY ATTORNEY CAPEHART:

 2      Q.      What kind of a memory do you have --- let me

 3   back up.    How old is that memory?

 4      A.      Four or five years.

 5      Q.      Okay.

 6              Was that memory --- what were you doing that

 7   you can remember, I guess, maybe not being a transgender

 8   girl at that time?

 9                      ATTORNEY HARTNETT:   Objection to form.

10                      THE WITNESS:   I think I was learning

11   something in school and I found it really interesting.

12   BY ATTORNEY CAPEHART:

13      Q.      Okay.

14              You don't remember what that was that you were

15   learning, do you?

16      A.      No.

17      Q.      Your mother also told us that at some point when

18   you were younger you told her that you were a girl.         Do

19   you remember the first time you told your mother that?

20      A.      I can't remember.

21      Q.      Okay.

22              Do you remember the first time you told someone

23   other than your mother that you were a transgender girl?

24                      ATTORNEY HARTNETT:   Objection to form.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1306
                                                                     28


 1                     THE WITNESS:    I --- can you say it again?

 2   BY ATTORNEY CAPEHART:

 3      Q.   Sure.      I will try to make it a little bit

 4   better, too.    Do you remember the time that you first

 5   told someone other than your mother that you were a

 6   girl?

 7      A.   Yes.

 8      Q.   Okay.

 9            Can you tell me about that?

10      A.   It was in school.        It was new, whenever I just

11   came out, and it was the year of 4th grade.

12      Q.   Okay.

13            Do you remember who you were talking to?

14      A.   I don't remember.

15      Q.   Now, you said that was 4th grade, that that was

16   the year that you came out.       Do you use terminology like

17   socially transition when you talk about that time?

18      A.   Could you repeat the question?

19      Q.   Sure.      Let me ask a different one.     Are you

20   familiar with the term social transition or to socially

21   transition?

22      A.   No.

23      Q.   Okay.

24            When you --- and I'm going to use your term,



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                       Armistead App. 1307
                                                                        29


 1   okay.      When you said you came out in 4th grade and that

 2   was the time when you maybe started talking to other

 3   people about being a girl, you don't really remember who

 4   that was, but generally how was that time for you?

 5                        ATTORNEY HARTNETT:    Objection to form.

 6                        THE WITNESS:    It was good because I made

 7   a lot of new friends.        A lot of people were really nice

 8   to me.

 9   BY ATTORNEY CAPEHART:

10         Q.    Were your old friends nice to you, too?

11         A.    Yes.

12         Q.    How was everybody at your school, teachers and

13   other folks that worked there?

14                        ATTORNEY HARTNETT:    Objection to form.

15                        THE WITNESS:    They were very good about

16   it.

17   BY ATTORNEY CAPEHART:

18         Q.    Did you have any bad experiences that year?

19         A.    No.

20         Q.    Okay.

21                B      , for you what does it mean to be female

22   or to be a girl?

23         A.    Could you repeat the question?

24         Q.    Sure.     I'm trying to understand your perspective



                      SARGENT'S COURT REPORTING SERVICE, INC.
                                  (814) 536-8908
                                                    Armistead App. 1308
                                                                     30


 1   on things, and so that's why I'm just asking, to you,

 2   what does it mean to be a girl or to be female?

 3                     ATTORNEY HARTNETT:    Objection to form.

 4                     THE WITNESS:    It means --- it means

 5   everything.    I've always wanted to be a girl.

 6   BY ATTORNEY CAPEHART:

 7      Q.   Okay.

 8            And what is it about a girl or female that

 9   makes them different from boys or males?

10                     ATTORNEY HARTNETT:    Objection to form.

11                     THE WITNESS:    How they act and how they

12   dress their selves.

13   BY ATTORNEY CAPEHART:

14      Q.   Okay.

15            Anything else other than how they act or how

16   they dress?

17      A.   Not that I can think of right now.

18      Q.   Okay.

19            How do girls or females dress differently than

20   boys or males?

21                     ATTORNEY HARTNETT:    Objection to form.

22                     THE WITNESS:    Females would wear ---

23   normally wear dresses and males would normally wear

24   tuxedos and suits.     And their casual clothes are most of



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1309
                                                                   31


 1   the time different but sometimes can be the same.

 2   BY ATTORNEY CAPEHART:

 3      Q.    Okay.

 4            So do I look like I'm dressed like a male

 5   because I'm wearing a suit jacket and tie?

 6                    ATTORNEY HARTNETT:    Objection to form.

 7                    THE WITNESS:   Yes.

 8   BY ATTORNEY CAPEHART:

 9      Q.    Okay.

10      A.    Because that is also how you present yourself.

11      Q.    Okay.

12            Is presenting one's self, when you say that, is

13   that different than how one dresses and how one acts or

14   is it both of those together?

15                    ATTORNEY HARTNETT:    Objection to form.

16   Sorry.

17                    THE WITNESS:   It's kind of a mix of all

18   of it.

19   BY ATTORNEY CAPEHART:

20      Q.    Now, when you say that how someone acts is

21   different regarding girls to boys, what do you mean by

22   that?

23      A.    Normally ---.

24                    ATTORNEY HARTNETT:    Objection to form.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                 Armistead App. 1310
                                                                  32


 1                   THE WITNESS:   Most of the time males will

 2   look very big and buff and females most of the time do

 3   not like that look, but some can.

 4   BY ATTORNEY CAPEHART:

 5      Q.   Okay.

 6            What else about how a person acts puts them in

 7   a more of a female category than a male category?

 8                   ATTORNEY HARTNETT:   Objection to form.

 9                   THE WITNESS:   They would maybe --- they

10   wouldn't want to look like a guy.    A guy wouldn't want

11   to look like a girl and a girl wouldn't want to look

12   like a guy unless --- unless you do, which sometimes

13   people do do that.

14   BY ATTORNEY CAPEHART:

15      Q.   Okay.

16            So if someone is trying to look like a guy,

17   then they are going to wear more what I'll call

18   traditional attire, like you said, maybe like a tuxedo

19   or a suit with a coat and a tie and they may want to

20   look bigger and buff and in an overall way present

21   themselves as male.

22            Is that right?

23                   ATTORNEY HARTNETT:   Objection to form.

24                   THE WITNESS:   Most of the time but not



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1311
                                                                    33


 1   all the time.

 2   BY ATTORNEY CAPEHART:

 3      Q.    Okay.

 4            Are there actions or things that people do that

 5   make you think this person is acting more like a male or

 6   someone is acting more like a female?

 7                     ATTORNEY HARTNETT:   Objection to form.

 8                     THE WITNESS:   Sometimes.

 9   BY ATTORNEY CAPEHART:

10      Q.    Okay.

11            When you say sometimes what are you thinking

12   about?

13      A.    Maybe people are walking around because

14   sometimes it's how they walk that you can tell and their

15   hair sometimes.

16      Q.    What kind of hair is more male as compared with

17   hair that is more female to you?

18                     ATTORNEY HARTNETT:   Objection to form.

19                     THE WITNESS:   I think longer hair is more

20   ladylike and short hair is more manly, but sometimes

21   people do like an option of that where people --- where

22   guys will like long hair and girls will like short hair.

23   BY ATTORNEY CAPEHART:

24      Q.    I think my father would agree with you on what



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1312
                                                                      34


 1   you said there.     Are there other kind of behaviors that

 2   people exhibit that are more male or more female besides

 3   walking and maybe kind of their physical posture?

 4                     ATTORNEY HARTNETT:    Objection to form.

 5                     THE WITNESS:    Not really, no.

 6   BY ATTORNEY CAPEHART:

 7      Q.   Okay.

 8            Besides, as you said, males would be more big

 9   and buff and females not really liking that look as

10   much, although some of them do, are there other physical

11   attributes that makes you think someone is more male or

12   more female?

13                     ATTORNEY HARTNETT:    Objection to form.

14                     THE WITNESS:    Not really.

15   BY ATTORNEY CAPEHART:

16      Q.   Does height have anything to do with it?

17                     ATTORNEY HARTNETT:    Objection to form.

18                     THE WITNESS:    No, because that can go

19   either way.    That's genetics if you're tall or not.

20   BY ATTORNEY CAPEHART:

21      Q.   As you have been growing up, from what I

22   understand, you talk with your mom a lot.

23            Right?

24      A.   Yes.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1313
                                                                     35


 1      Q.   Have you ever talked with your mother about what

 2   it means to be female?

 3      A.   Yes.

 4      Q.   Okay.

 5               What did your mother --- strike that.

 6               Did your mother try to help you as you were

 7   going through this process to kind of understand this a

 8   little bit more what is male and female?

 9                     ATTORNEY HARTNETT:     Objection to form.

10                     THE WITNESS:    Could you repeat the

11   question?

12   BY ATTORNEY CAPEHART:

13      Q.   Sure.      As you've been growing up and as you've

14   been talking with your mother over the years as you

15   realized, as you said, you're a girl and as we were just

16   talking about, that there are certain things in your

17   mind that go more with being female rather than being

18   male, did you and your mom have conversations about that

19   same kind of thing we were just discussing?

20                     ATTORNEY HARTNETT:     Objection to form.

21                     THE WITNESS:    Yes.

22   BY ATTORNEY CAPEHART:

23      Q.   Okay.

24               What did you all talk about?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1314
                                                                      36


 1      A.      We talked about looks and --- mainly looks and

 2   that was about it.

 3      Q.      Okay.

 4              Did you talk about makeup?

 5      A.      Yes.

 6      Q.      Okay.

 7              Is that something to you that is more female or

 8   more male?

 9      A.      More female, but some males do wear them ---

10   wear it.

11      Q.      Did you and your mom talk about jewelry?

12      A.      Ish, not really because jewelry can be worn by

13   males and females.

14      Q.      That's fair.   I'm wearing some myself right now.

15   Did you all talk about anything else other than those

16   few things that you just provided to me and also the

17   makeup?

18                      ATTORNEY HARTNETT:   Objection to form.

19                      THE WITNESS:   Not really.

20   BY ATTORNEY CAPEHART:

21      Q.      Okay.

22              Have you ever had any of those kinds of

23   conversations with your father?

24                      ATTORNEY HARTNETT:   Objection to form.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1315
                                                                    37


 1                    THE WITNESS:    Not really because I don't

 2   think he would understand it because he is a guy that is

 3   --- he really --- he likes doing manly stuff and I don't

 4   think he'd understand makeup.

 5   BY ATTORNEY CAPEHART:

 6      Q.    So with all that in mind, I'm just trying to

 7   understand how you think about some of these things.

 8   How do you define girls and boys?

 9                    ATTORNEY HARTNETT:    Objection to form.

10                    THE WITNESS:    Males try to look muscular

11   and they do --- they lift weights and have short hair,

12   but girls can also do that, but it's most commonly found

13   with guys.   With girls, they usually have long hair, but

14   guys can have that, too.     They wear makeup and have

15   different clothing than males.

16   BY ATTORNEY CAPEHART:

17      Q.    Okay.

18            Are there activities that girls or females like

19   to do that men don't like to do or that males don't like

20   to do?

21                    ATTORNEY HARTNETT:    Objection to form.

22                    THE WITNESS:    Not really because sports

23   are for everyone and they should --- and every --- and

24   any person should be able to play.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1316
                                                                    38


 1   BY ATTORNEY CAPEHART:

 2      Q.      I thank you for that.   I was making it a little

 3   bit more broad than that even though.      Are there other

 4   things outside of sports that may be girls and females

 5   like to do that typically, from your experience, boys

 6   and males don't like to do?

 7                    ATTORNEY HARTNETT:    Objection to form.

 8                    THE WITNESS:    Not really because anything

 9   that a female could do a male could do, and anything a

10   male could do a female could do.

11   BY ATTORNEY CAPEHART:

12      Q.      And among all of your friends, are they mostly

13   girls, mostly boys or all across both boys and girls?

14      A.      They are mostly girls, but I do have some guy

15   friends.

16      Q.      What do you like to do with your friends that

17   are girls?

18      A.      We hang out, sometimes we play video games.

19      Q.      Do you go --- do you like going to the mall or

20   shopping?    I know that has been harder recently since

21   COVID?

22                    ATTORNEY HARTNETT:    Objection to form.

23                    THE WITNESS:    Sometimes, but not really

24   because of COVID.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1317
                                                                     39


 1   BY ATTORNEY CAPEHART:

 2      Q.    Do you do the same kind of things with your

 3   friends that are boys?

 4      A.    We also hang out.       We talk about video games, we

 5   play video games, so, yes, about the same.

 6      Q.    Okay.

 7               At some point you decided to change your name.

 8   Do you remember when you decided to do that?

 9      A.    When I came out.

10      Q.    So in 4th grade, as you mentioned earlier?

11      A.    I came out in the third --- the summer of third

12   grade.   But when I was like actually talking to people

13   and stuff about it, it was 4th grade.       So yes, when I

14   came out.

15      Q.    Okay.

16               And so when did you start going by B        ?

17      A.    The summer of third grade.

18      Q.    Did you go by B         at school at that time, too,

19   or did you wait until fourth grade for that?

20                     ATTORNEY HARTNETT:    Objection to form.

21                     THE WITNESS:    It was the summer of third

22   grade and I was kind of presenting through third grade,

23   but I didn't go by B        , just --- at that point I

24   waited until fourth grade.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1318
                                                                   40


 1   BY ATTORNEY CAPEHART:

 2      Q.    Okay.

 3            How did you select your new name?

 4      A.    I've always liked the name, so that's what I

 5   liked.

 6      Q.    Okay.

 7            And why did you decide at that time that you

 8   needed a new name?

 9      A.    Because I didn't think my name fit for me.

10      Q.    Okay.

11            And you're familiar with the term dead name.

12            Right?

13      A.    Yes.

14      Q.    Okay.

15            Do you remember the first time that you

16   encountered that word --- or I'm sorry, that term?

17      A.    That term?   When I came out, I was told that I

18   could be dead named and they told me what that was.        And

19   then later I looked it up and figured out what it was

20   more in depth.

21      Q.    Okay.

22            Do you remember who it was that had told you

23   that you could be dead named?

24      A.    I can't remember.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                  Armistead App. 1319
                                                                     41


 1      Q.     Was it your mom?

 2      A.     It may have been, but I can't remember.

 3      Q.     From what your mother and your father told us,

 4   it sounds like your mother has been the parent that has

 5   taken you to all but maybe one of your appointments to

 6   talk to people about being a transgender girl.        Is that

 7   about right from your recollection?

 8                     ATTORNEY HARTNETT:   Objection to form.

 9                     THE WITNESS:   Yes, that is about right.

10   BY ATTORNEY CAPEHART:

11      Q.     Have you had a lot of appointments to talk with

12   doctors or other healthcare providers about being a

13   transgender girl?

14                     ATTORNEY HARTNETT:   Objection to form.

15                     THE WITNESS:   I wouldn't say it was a

16   lot, but I also wouldn't say it was like a little.        It

17   was a good amount of appointments.

18   BY ATTORNEY CAPEHART:

19      Q.     Okay.

20             After one of those appointments you received a

21   diagnosis of gender dysphoria.     Have you been told that

22   before?

23      A.     Yes.

24      Q.     Okay.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                  Armistead App. 1320
                                                                   42


 1            When was the first time you remember

 2   encountering that term gender dysphoria?

 3      A.   I don't know the date, but I think my mom told

 4   me that I had it.

 5      Q.   Okay.

 6            Do you remember generally when that was?

 7      A.   I can't remember.      It may have been 2021 or

 8   2022.

 9      Q.   Also, when you're remembering something, if you

10   remember it by year, I know that is how I remember a lot

11   of things growing up, if something happened at a

12   particular year of school rather than a calendar year.

13   You know, if that's a frame of remembering for you, too,

14   that is fine also.   Calendar years aren't as important.

15            Do you know what gender dysphoria is?

16      A.   A little bit about it, but I don't know the

17   actual definition.

18      Q.   Okay.

19            Did you look it up and research it like you did

20   dead name after you heard it?

21                   ATTORNEY HARTNETT:    Objection to form.

22                   THE WITNESS:    I don't think so because if

23   I did I'd probably know more about it.

24   BY ATTORNEY CAPEHART:



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                 Armistead App. 1321
                                                                   43


 1      Q.   And you said --- do you remember the doctor

 2   visit where you first heard one of your doctors use that

 3   term?

 4      A.   I can't remember.

 5      Q.   Do you remember an appointment with Dr. Montano?

 6      A.   Yes, I remember some of the appointments with

 7   him.

 8      Q.   Okay.

 9            There is some medical records that show that

10   you had an appointment with Dr. Montano where he did a

11   full assessment of you in the summer of 2019.        Do you

12   remember that by any chance?

13                    ATTORNEY HARTNETT:   Objection to form.

14                    THE WITNESS:   Not really because that was

15   a long time ago.

16   BY ATTORNEY CAPEHART:

17      Q.   Do you remember any appointment with Dr. Montano

18   that was a longer appointment where you talked about a

19   lot of things?

20                    ATTORNEY HARTNETT:   Objection to form.

21                    THE WITNESS:   Not really because they all

22   felt like they went by so fast because during the things

23   I usually had to miss a day of school, and I was always

24   thinking about what I missed.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1322
                                                                     44


 1   BY ATTORNEY CAPEHART:

 2      Q.   I did the same thing at your age.

 3               Whenever you had those appointments with Dr.

 4   Montano or at Dr. Montano's office, I know oftentimes at

 5   those appointments it's not just the doctor, that there

 6   are sometimes other people that work there that will

 7   come in and see a patient during the appointment time.

 8   What do you recall about those appointments and who you

 9   met with?

10                     ATTORNEY HARTNETT:    Objection to form.

11                     THE WITNESS:    I can't remember, but I ---

12   I don't remember their name, but I remember a time where

13   someone else went in there.

14   BY ATTORNEY CAPEHART:

15      Q.   Do you remember the kinds of things that you

16   would talk about with Dr. Montano or any of the other

17   people at those appointments?

18      A.   Maybe --- I don't know.        I can't remember.

19      Q.   When you were at appointments at Dr. Montano's

20   office, do you recall him or any of his staff running

21   tests on you?

22                     ATTORNEY HARTNETT:    Objection to form.

23                     THE WITNESS:    I can't recall.

24   BY ATTORNEY CAPEHART:



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1323
                                                                   45


 1      Q.   Okay.

 2            At those appointments do you remember hearing

 3   people talking about how to treat gender dysphoria?

 4      A.   I can't remember.

 5      Q.   Has your mother discussed with you how your

 6   gender dysphoria is being treated now?

 7      A.   Maybe back whenever I --- whenever I was

 8   diagnosed with it, but I can't remember.

 9      Q.   Whenever there's any decisions that have to get

10   made about your treatment for your gender dysphoria,

11   does your mother talk with you about that and explain

12   everything that's happening?

13      A.   Yes.

14      Q.   Okay.

15            When you all are having those conversations and

16   a decision has to be made, does your mother let you make

17   those decisions?

18                     ATTORNEY HARTNETT:   Objection to form.

19                     THE WITNESS:   Yes, I am part of the

20   making of the decisions what happens to me.

21   BY ATTORNEY CAPEHART:

22      Q.   Okay.

23            Do you and your mother ever disagree about what

24   should be done?



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                  Armistead App. 1324
                                                                   46


 1                   ATTORNEY HARTNETT:     Objection to form.

 2                   THE WITNESS:    Not --- not --- I don't

 3   think we have, but there is a possibility that could

 4   happen or could have happened and I don't recall.

 5   BY ATTORNEY CAPEHART:

 6      Q.   Okay.

 7            Give me just a second.

 8                   ATTORNEY HARTNETT:     Also, I think it

 9   might be a good time to take a quick break just given

10   the youth and amount of water consumption.     So maybe we

11   can take a five to ten-minute bathroom break when it's

12   good for you, Curtis.

13                   ATTORNEY CAPEHART:     Oh, yeah, that's

14   actually perfectly fine.

15                   ATTORNEY HARTNETT:     Can we take a

16   ten-minute break?   Yeah, let's just take a ten-minute

17   break so we're are not all back too early.

18                   ATTORNEY CAPEHART:     Sounds great.

19                   VIDEOGRAPHER:     Going off the record.     The

20   current time reads 11:01 a.m.

21   OFF VIDEOTAPE

22                               ---

23   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

24                               ---



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1325
                                                                     47


 1   ON VIDEOTAPE

 2                      VIDEOGRAPHER:   We are back on the record.

 3   The current time reads 11:13 a.m.

 4   BY ATTORNEY CAPEHART:

 5      Q.     Okay.

 6              Well, during the break I was going back over

 7   some notes and just have a couple of questions that kind

 8   of relate to some things we already talked about and

 9   then I'm going to move on.

10              Okay?

11      A.     That Declaration that we had looked at earlier,

12   I recall that you had mentioned when you first looked at

13   it you didn't recall seeing it, you didn't recall

14   signing it, you then looked at your initial signatures

15   and then you had read the rest of the document.         After

16   we went through all of that, did that jog your memory

17   any.    Do you remember signing it?

18      A.     I do remember signing it, but I kind of have a

19   little bit of memory seeing it, but I do have a memory

20   signing it.

21      Q.     Okay.

22              Also, when you recalled learning and hearing

23   the term about dead name and that someone might do that

24   to you at school, did anyone actually do that to you at



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1326
                                                                      48


 1   school?

 2         A.   Not that I can remember.

 3         Q.   Okay.

 4               I think you had also said you kind of did some

 5   research.    What kind of research did you do looking into

 6   that term?

 7         A.   Just looking what it meant, looking up what it

 8   meant.

 9         Q.   Did you look it up in a book or on the internet?

10         A.   The internet.

11         Q.   Okay.

12               Do you recall where on the internet you found

13   it?

14         A.   I think I looked it up on Google and I did

15   another one, but I can't remember what it was.          It was

16   one of the unpopular ones.

17         Q.   Okay.

18               Also, when you were --- or when we were talking

19   about the characteristics or things that make a person

20   more female or more male you had said that height really

21   didn't make a difference, that that was really more

22   genetic.     Do genetics have something more to do with

23   being a girl or a boy?

24                      ATTORNEY HARTNETT:   Objection to form.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1327
                                                                     49


 1                     THE WITNESS:    I wouldn't know.

 2   BY ATTORNEY CAPEHART:

 3      Q.    Also, is there anything that definitively makes

 4   a person a girl or a female versus a boy or a male?

 5                     ATTORNEY HARTNETT:    Objection to form.

 6                     THE WITNESS:    Could you repeat the

 7   question?

 8   BY ATTORNEY CAPEHART:

 9      Q.    Sure.     And I will preface it with kind of what

10   we were kind of talking about before.       You were

11   describing how there were a lot of things that are

12   typically --- and I don't think you used that word but

13   I'm going to use it, more typically associated with

14   males like tuxedos or suits, short hair, being buff,

15   working out, that sort of thing, and other things that

16   were more typically associated with being female,

17   wearing dresses, longer hair, not preferring to have

18   that maybe over muscled physique, wearing makeup, that

19   sort of thing, and that there were even some other

20   things you said are maybe more associated with males,

21   but that doesn't mean that females don't do it or vice

22   versa.   I think that's what you said.

23               So I'm wondering is there anything in your mind

24   that if you see a person doing that or wearing that or



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1328
                                                                   50


 1   whatever that thing might be, is there something that

 2   you, if you see it associated with a person, you think

 3   only boys do that or only girls do that?

 4                   ATTORNEY HARTNETT:    Objection to form.

 5                   THE WITNESS:    No, because if I see

 6   someone like that and I don't --- I don't immediately

 7   go, oh, that's a guy, oh, that's a girl.     I ask them,

 8   oh, what are your pronouns, what is your gender

 9   identity.   And that's --- that's the better way to

10   figure out what they --- what they are and if they're

11   male or female or what --- if they're nonbinary or

12   whatever they are.

13   BY ATTORNEY CAPEHART:

14      Q.   You mentioned a term nonbinary.      Can you explain

15   what nonbinary means?

16      A.   It is a person that doesn't identify as a male

17   or female and they go by they/them pronouns.

18      Q.   Do you know anyone that is nonbinary?

19      A.   One of my lawyers is.

20      Q.   Do you know anybody at your school or your

21   hometown that is nonbinary?

22      A.   I don't think so.

23      Q.   Okay.

24                   ATTORNEY HARTNETT:    Heather, do you want



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1329
                                                                     51


 1   a minute for a break?

 2                   MS. JACKSON:   Just to get a sip of water.

 3                   ATTORNEY HARTNETT:   Can you give her a

 4   mute to, the court reporter, just to let her work

 5   through that?   It's happened to all of us.     No worries.

 6                   MS. JACKSON:   It went down the wrong

 7   pipe.

 8                   ATTORNEY CAPEHART:   And again, if you

 9   need to take another break, that's fine, too.        All okay

10   on your end?

11                   MS. JACKSON:   We're good.

12                   ATTORNEY CAPEHART:   Okay.

13   BY ATTORNEY CAPEHART:

14      Q.   I don't want to upset you, but I need to ask a

15   couple of questions about some comments that, according

16   to what we learned, your father had made in the past.

17                   ATTORNEY HARTNETT:   Objection to form.

18                   ATTORNEY CAPEHART:   That wasn't a

19   question, but okay.

20   BY ATTORNEY CAPEHART:

21      Q.   We understand that ---.

22                   ATTORNEY HARTNETT:   Sorry.    Just to make

23   clear my objection was that you were stating that

24   certain statements had been made, and I'm objecting to



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1330
                                                                      52


 1   the foundation.

 2                     ATTORNEY CAPEHART:    Okay.

 3                     ATTORNEY HARTNETT:    Go ahead.

 4   BY ATTORNEY CAPEHART:

 5      Q.   I've looked at some records and there are some

 6   notations and

 7                                  When we were talking with

 8   your mother she had said she did not know what had

 9   happened there.     Can you tell me what had happened when

10   that occurred?

11                     ATTORNEY HARTNETT:    Objection to form.

12                     THE WITNESS:    Could you repeat the

13   question?

14   BY ATTORNEY CAPEHART:

15      Q.   Sure.      We've seen in some records a notation

16

17                                        Your mother did not

18   know what had happened on that occasion.        She recalled

19   that when this happened, but she didn't know what had

20   actually occurred

21               Do you remember that?

22                     ATTORNEY HARTNETT:    Objection to form.

23   Go ahead.

24                     THE WITNESS:    I can't remember, but I'm



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1331
                                                                     53


 1   pretty sure it was --- I was scared of something that

 2   was --- honestly I shouldn't have been scared of.          It

 3   was nowhere near me.    It was probably a spider or

 4   something.   But just the phrase

 5                                          it is like don't be

 6   scared of that, there's no reason to.      It's just another

 7   use of don't be scared of that.

 8   BY ATTORNEY CAPEHART:

 9      Q.   Okay.

10            We were --- we were just wondering what had

11   happened there because, as I recall, when this was being

12   discussed yesterday, that your mother indicated you were

13   very upset when you had

14

15                                    Does that help you

16   remember anything more?

17                    ATTORNEY HARTNETT:    Objection, form.

18                    THE WITNESS:    Not really.

19   BY ATTORNEY CAPEHART:

20      Q.   Also, we seen a note in one of the medical

21   records that was, again, discussed yesterday and your

22   mother said we would need to ask you about it.

23

24



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1332
                                                                     54


 1

 2                     ATTORNEY HARTNETT:    Objection to form.

 3                     THE WITNESS:    Could you restate the

 4   question?

 5   BY ATTORNEY CAPEHART:

 6      Q.   Sure.      We were looking at some records and there

 7   was some notation

 8                           Your mother wasn't familiar with

 9   that and said we should ask you about it.        So I'm asking

10   you if you recall ever discussing that with one of your

11   treaters?

12                     ATTORNEY HARTNETT:    Objection to form.

13                     THE WITNESS:    I don't remember discussing

14   that with anyone besides my mom really.       But it was a

15   long time ago, so I --- I can't remember if I did or

16   not.

17   BY ATTORNEY CAPEHART:

18      Q.   Okay.

19               Do you know what that would relate to, that

20   reference

21      A.   He probably got mad at me, like really mad in

22   the situation, and he was probably threatening

23

24      Q.   Has that happened sometimes?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1333
                                                                     55


 1      A.     A long time ago.     It doesn't happen anymore now.

 2      Q.     Did it happen on multiple occasions or just

 3   once?

 4      A.     It was --- well, it was a couple of times maybe

 5   in like the same three days or something like that, but

 6   after those three days it stopped.

 7      Q.     Did you talk with your mom about it when that

 8   happened?

 9      A.     Yes.

10      Q.     Okay.

11               Did she tell you that she was going to talk to

12   your father for you?

13                     ATTORNEY HARTNETT:    Objection.      Go ahead.

14                     THE WITNESS:    She --- I think she did.

15   She talked to him, and that's why he stopped doing it.

16   BY ATTORNEY CAPEHART:

17      Q.                                    ?

18      A.     Could you restate it?

19      Q.     Sure.    Do you have appointments from time to

20   time to

21                                                    ?

22

23

24



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                      Armistead App. 1334
                                                                       56


 1                     ATTORNEY CAPEHART:       We've got a fire

 2   drill going on.    Hold on, everybody.

 3                     THE WITNESS:    What happened?

 4                     MS. JACKSON:    They have a fire alarm

 5   going off.

 6                     THE WITNESS:    Oh.

 7                     VIDEOGRAPHER:      Do you want to go off the

 8   record?

 9                     ATTORNEY HARTNETT:       We're fine with that.

10                     VIDEOGRAPHER:     Going off the record.        The

11   current time reads 11:25 a.m.

12   OFF VIDEOTAPE

13                                 ---

14   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

15                                 ---

16   ON VIDEOTAPE

17                     VIDEOGRAPHER:      Back back on the record.

18   The current time reads 11:41 a.m.

19                     ATTORNEY GREEN:       All right.   Thank you

20   and I will just hop in for a minute.         This is Roberta

21   Green on behalf of WVSSAC.       And I just wanted to note

22   for the record the appearance of my co-counsel, Shannon

23   Rogers, who's with me on behalf of WVSSAC.           I just

24   wanted to note that for the record and I'll hop off.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                        Armistead App. 1335
                                                                         57


 1   Thanks.

 2                      ATTORNEY CAPEHART:    Okay.

 3                      Now that we are through our building

 4   emergency, if I could ask the court reporter to go back

 5   to the last line of actual testimony.        I don't recall

 6   what point during that event we broke off the record,

 7   but if you could go back and tell us where we were

 8   whenever loud noises started happening.

 9                      COURT REPORTER:    The question, sure.         Do

10   you have any appointments from time to

11

12                          Answer, yes.    Question, okay.       Who do

13   you meet with?      And then that's when the fire drill

14   happened.

15                      ATTORNEY CAPEHART:    Thank you.

16   BY ATTORNEY CAPEHART:

17      Q.     B       , let's just pick up there.       Who do you

18   meet with?

19      A.     I meet with                His name is

20      Q.     Okay.

21               Do you know what office or group                 is

22   with?

23                      ATTORNEY HARTNETT:    Objection to form.

24                      THE WITNESS:   Could you repeat the



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                       Armistead App. 1336
                                                                        58


 1   question?

 2   BY ATTORNEY CAPEHART:

 3      Q.     Sure.     Is                                  or is

 4             part of a                  ?

 5      A.     I don't know.

 6      Q.     Do you know the name --- I'm sorry.          I cut you

 7   off.    Go ahead.

 8      A.     I just go to him for                .    That's ---.

 9      Q.     Okay.

10               How often do you meet with             ?

11      A.     It just depends because sometimes maybe it's

12   once a month, but it can be anytime.         If we call him and

13   we need to go, he usually has a spot open.

14      Q.     Okay.

15               And just generally speaking, what kind of

16   things do you discuss with               ?

17      A.

18

19      Q.     Okay.

20               Whenever you meet with            , do you go in

21   alone or does your mother go in with you?

22      A.     It depends.     It usually starts with me and my

23   mom in there, then she waits out in the lobby and we

24   talk.    And sometimes I go out and my mother talks to him



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                         Armistead App. 1337
                                                                            59


 1   and then we get back --- we both go in the room at the

 2   end and then we say bye and then we leave.

 3        Q.       Okay.

 4                 And how do you like that process, going to talk

 5   to             ?

 6        A.       I love it because I can talk about

 7             .

 8        Q.       Does that help you to feel better?

 9        A.       Uh-huh (yes).

10        Q.       Do you know --- excuse me, do you know whether

11   you have had any                                       ?

12                          ATTORNEY HARTNETT:     Objection to form.

13                          THE WITNESS:     Could you rephrase that?

14   BY ATTORNEY CAPEHART:

15        Q.       Yes.    And let me back up and ask another

16   question I had forgotten to ask earlier.            Do you know

17   what                   profession is?

18        A.       I don't know.

19        Q.       Okay.

20        A.       All I know is that he is a                .    That's

21   what I know.

22        Q.       Okay.

23                 And do you know whether              is a           of

24   some sort or just a



                        SARGENT'S COURT REPORTING SERVICE, INC.
                                    (814) 536-8908
                                                    Armistead App. 1338
                                                                     60


 1                     ATTORNEY HARTNETT:    Objection to form.

 2                     THE WITNESS:    I do not know.

 3   BY ATTORNEY CAPEHART:

 4      Q.   Okay.     Okay.

 5            Now, if you could look at Exhibit 34.         Do you

 6   have the document marked as Exhibit 34 in front of you?

 7   It says West Virginia Legislature at the top and then in

 8   the middle of the page there's a line that says House

 9   Bill 3293.

10      A.   Yes, we have that.

11      Q.   Okay.     Great.

12            Have you ever seen this before?

13      A.   I don't think so.

14      Q.   Okay.

15            So if you --- this is just of kind of a cover

16   page for what was House Bill 3293 that passed the

17   legislature and was signed the Governor last year.          This

18   is the --- this is the bill, the law that your lawsuit

19   is challenging.

20            Now, if you look --- start looking at page two

21   you'll see there is a lot of text here.       Have you seen

22   any of this before?       You don't have to read it all, just

23   kind of glance over it.      And if you think you may have

24   seen parts before, you can say so, but ---.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                      Armistead App. 1339
                                                                       61


 1      A.    I don't think I've seen this before.

 2      Q.    Okay.    Okay.   All right.

 3             Well, I'm not going to ask you to read the

 4   whole thing right now.     I'm just going to ask you about

 5   a couple of parts of it.

 6             Okay?

 7      A.    Uh-huh (yes).

 8      Q.    Because there's a lot to read here.

 9                     ATTORNEY HARTNETT:     I'll just refer to

10   our standing objection.     Thank you.

11                     ATTORNEY CAPEHART:     Sure.   Sure.

12   BY ATTORNEY CAPEHART:

13      Q.    On what's marked at the bottom of the page as

14   page two you'll see that there are kind of a column of

15   numbers that run down the left-hand side of the page

16   there.   The top number on page two should be a ten?

17      A.    Uh-huh (yes).

18      Q.    Okay.

19             And I'll just refer to those lines to direct

20   you to a couple of spots.     Okay.    And just so you know,

21   that's a standard part of what a bill looks like so that

22   whenever they're looking at legislation people can refer

23   to a procedure or line.     That way they can follow it

24   more easy.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                   Armistead App. 1340
                                                                    62


 1             So the lines I'm going to direct you to are 25

 2   and 26.   This is a definition that is set forth in this

 3   bill and it is down in West Virginia Code.       So just read

 4   that and let me know when you've read that definition in

 5   this bill.

 6      A.     I've read it.

 7      Q.     Okay.

 8             Do you think that's a proper definition of

 9   biological sex?

10                      ATTORNEY HARTNETT:   Objection to

11   terminology.      Make that a standing objection.

12                      THE WITNESS:   I would not know that if I

13   --- if that would be ---.

14   BY ATTORNEY CAPEHART:

15      Q.     Okay.

16             Have you ever heard people use language like

17   biological sex or biological female?

18                      ATTORNEY HARTNETT:   Objection to form.

19                      THE WITNESS:   Yes, I've heard people use

20   that.

21   BY ATTORNEY CAPEHART:

22      Q.     Okay.

23             Has anyone ever explained what they mean when

24   they have used that terminology around you?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1341
                                                                     63


 1         A.   I don't think so or I just can't remember.

 2         Q.   Okay.

 3              This definition, at lines 25 and 26, does this,

 4   based on the way that you have heard people use the term

 5   in the past, is this about what you think they meant?

 6                      ATTORNEY HARTNETT:    Objection to form.

 7                      THE WITNESS:   Yes.

 8   BY ATTORNEY CAPEHART:

 9         Q.   Okay.

10              So now that you've read that in this bill

11   that's what that term means, look up at lines 21 and 22

12   and let me know when you've read those two lines.

13         A.   Okay.

14         Q.   Do you agree with that statement at lines 21 and

15   22?

16                      ATTORNEY HARTNETT:    Objection to form.

17                      THE WITNESS:   I don't because I think if

18   someone wants to play on the girls team, like me, they

19   should be able to even though they are --- they're not

20   following that requirement.

21   BY ATTORNEY CAPEHART:

22         Q.   Okay.

23              Before I move on to ask some questions about

24   cheerleading and track, I just want to talk about a



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1342
                                                                   64


 1   couple of other words that we were just touching on.

 2   But I just want to make sure that we understand each

 3   other or at least you understand me.     You have heard

 4   people use the term biological female or the term

 5   biological male before.

 6             Is that correct?

 7      A.    Yes.

 8      Q.    Okay.

 9             And just so we're clear, if I use the term

10   biological female or biological girl, I'm describing

11   people who were determined to be female at the time of

12   birth.   Okay?   I'm not looking at the statute.      I'm just

13   saying like if I use that term, that's what I'm talking

14   about.   Just so that if I use a word and you're not sure

15   what I mean, I'm trying to explain in advance so there's

16   no confusion.    Does that make sense?

17      A.    Yes.

18      Q.    Okay.

19             And also, if I say biological male or

20   biological boy I mean someone who was determined to be

21   male at the time of birth.

22      A.    Yes.

23      Q.    So if I use that --- if I use that kind of

24   terminology that is what I'm talking about, people who



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1343
                                                                      65


 1   were determined to be that at the time of birth.         Okay?

 2               When did you first get interested in sports?

 3      A.     I've always liked running.      And I think

 4   running's a sport, so since I could walk and run.

 5      Q.     What kind of sports, in addition to running,

 6   have you been interested in?

 7      A.     Cheering was one.     I was a little bit interested

 8   in volleyball, but not anymore.

 9      Q.     Why not?

10      A.     I just never --- I just didn't --- I just lost

11   liking of it.

12      Q.     Whenever I say interested in --- let me

13   rephrase.    Whenever you say that you are interested in

14   running, you were interested in cheer and been part of a

15   team and for a short time you are interested in

16   volleyball but aren't really interested anymore, do you

17   mean interested in participating and playing those

18   sports?

19      A.     Yes.

20      Q.     Okay.

21               Are there other sports that you have been

22   interested in from the perspective of being a viewer but

23   maybe not a participant?

24      A.     Could you repeat the question?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1344
                                                                   66


 1      Q.   Sure.     Besides the three that you just talked

 2   about, running, cheer, volleyball, are there other

 3   sports that you have an interest in as a viewer, as a

 4   person that's in the stand watching it, or watching it

 5   on television, but you don't have an interest in playing

 6   or taking part?

 7      A.   I like watching football.

 8      Q.   Okay.

 9            Anything else?

10      A.   That's about it.

11      Q.   Does your mom watch football?

12      A.   Yeah.     We like the same team.

13      Q.   What team?

14      A.   The Cleveland Browns.

15      Q.   Do you like any other football teams?

16      A.   Not really, no.

17      Q.   Do you just watch professional football or do

18   you watch college, too?

19      A.   Just professional.

20      Q.   Now, have your parents encouraged you to be

21   involved in sports?

22                     ATTORNEY HARTNETT:   Objection to form.

23                     THE WITNESS:   I'd say so that they

24   encouraged me.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1345
                                                                     67


 1   BY ATTORNEY CAPEHART:

 2      Q.   Okay.

 3               Now that you've been on a couple of different

 4   kind of teams, girls cross-country and also cheer when

 5   you were younger, do you enjoy getting to compete as

 6   part of a team?

 7      A.   Yes, I do.

 8      Q.   If you were in a sport where you weren't on a

 9   team, that you were just an individual on a team, would

10   you enjoy that also?

11      A.   No, because that's not --- that's not on ---

12   you're not on a team, you're not doing teamwork, that's

13   just by yourself.

14      Q.   So is the bigger appeal to you in sports being

15   part of a team, being part of a group, working towards a

16   common goal?

17                     ATTORNEY HARTNETT:    Objection to form.

18                     THE WITNESS:    Could you repeat the

19   question?

20   BY ATTORNEY CAPEHART:

21      Q.   Sure.      You said you wouldn't really like being

22   in an individual sport, maybe something like, I don't

23   know, figure skating maybe, because you wouldn't be part

24   of a team, you would be --- that you like being part of



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1346
                                                                     68


 1   a team?

 2      A.      Yes.

 3      Q.      So is that what draws you to some of the sports

 4   that you are interested in, the team aspect?

 5      A.      Yeah, the team aspect and I can make new

 6   friends.

 7      Q.      Do you consider yourself competitive whenever

 8   you're playing sports or when you're playing games with

 9   your friends?

10                       ATTORNEY HARTNETT:   Objection to form.

11                       THE WITNESS:   I want to call myself

12   competitive.       I'm just a person that likes playing

13   games.     I'm not like, oh, I got to win.    I just like

14   playing them, doing sports.

15   BY ATTORNEY CAPEHART:

16      Q.      Okay.

17               Do you have some friends that are like that?

18      A.      Yeah, I have a couple of friends.

19      Q.      I think we all have a couple of friends that are

20   like that.

21               So in those sports that you're interested in,

22   including football, do you think rules are really

23   important in sports?

24                       ATTORNEY HARTNETT:   Objection to form.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1347
                                                                       69


 1                       THE WITNESS:   Yes, I think rules are

 2   important because you wouldn't want someone having an

 3   unfair advantage, like cheating.

 4   BY ATTORNEY CAPEHART:

 5      Q.      Right.

 6      A.      And like ---.

 7      Q.      Sorry.    Go ahead.

 8      A.      Like in baseball, I don't know what it's called,

 9   but getting a better grip on the ball, that's cheating.

10   That's not fair.

11      Q.      So do you think rules are a big part of or an

12   important part of making sure that sports are fair?

13      A.      Yes.

14                       ATTORNEY HARTNETT:   Objection to form.

15   Sorry, B      .     Just make sure you give me a chance to

16   object, but you should then give your answer.          So let's

17   try that one again.

18                       ATTORNEY CAPEHART:   Court Reporter, can

19   you repeat the last question?

20                       THE WITNESS:   Could you repeat the last

21   question?

22                       COURT REPORTER:   Question, so do you

23   think rules are a big part of or an important part of

24   making sure that sports are fair?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1348
                                                                     70


 1                    ATTORNEY HARTNETT:     Objection to form.

 2                    THE WITNESS:     I think they are a big part

 3   of making sports fair.

 4   BY ATTORNEY CAPEHART:

 5      Q.      What does it mean for sports, for competition to

 6   be fair?

 7                    ATTORNEY HARTNETT:     Objection to form.

 8                    THE WITNESS:     Well, sometimes it can mean

 9   losing --- maybe winning unfair and winning things

10   because if people are cheating then they could get --- I

11   don't know if there's a cash prize.       So if they cheat,

12   they're going to get that.       That's not fair because they

13   get something out of cheating.

14   BY ATTORNEY CAPEHART:

15      Q.      So it sounds like that you're saying that if

16   somebody breaks a rule like the one that you were

17   talking about in baseball, and by breaking that rule

18   that helps them to win or beat someone else, that that

19   wouldn't be fair.       Is that what you're ---?

20                    ATTORNEY HARTNETT:     Objection.

21                    THE WITNESS: Yes.

22   BY ATTORNEY CAPEHART:

23      Q.      I'm sorry.    I think I lost part of your answer

24   there.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                     Armistead App. 1349
                                                                      71


 1      A.     Yes, that's what I'm saying.

 2      Q.     Who do you think should make up the rules for

 3   sports?

 4                     ATTORNEY HARTNETT:     Objection to form.

 5                     THE WITNESS:    I don't know.

 6   BY ATTORNEY CAPEHART:

 7      Q.     I'm going to ask you a couple of questions about

 8   your time on cheerleading.       How many years were you on

 9   the cheer team?

10      A.     I was on the cheer team for two years.

11      Q.     Okay.

12             And if I recall from what your mother had told

13   us, it was part of the Bridgeport Youth --- is it

14   Bridgeport Youth Football League?        Is that what it was?

15                     MS. JACKSON:    Yes.

16                     COURT REPORTER:    I'm sorry.    Ms. Jackson,

17   did you say yes or was it the witness.        I'm sorry.

18                     MS. JACKSON:    I said yes.

19   BY ATTORNEY CAPEHART:

20      Q.     My understanding is that that's not affiliated

21   with the schools in any way, that's an independent, what

22   a lot of people would maybe call midget football league

23   and that that league has cheerleading teams also.

24             Is that right?



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                       Armistead App. 1350
                                                                        72


 1                      ATTORNEY HARTNETT:    Objection to form.

 2                      THE WITNESS:   Yes.   Sorry.

 3   BY ATTORNEY CAPEHART:

 4      Q.      Okay.

 5               I just want to make sure I understood that.

 6   That's how things were when my daughter did midget cheer

 7   --- midget league cheer, also.

 8             What team were you on like B, C D?       Do you

 9   recall?

10                      ATTORNEY HARTNETT:    Objection to form.

11                      THE WITNESS:   I was on Bridgeport Pee Wee

12   Red.

13   BY ATTORNEY CAPEHART:

14      Q.      Okay.

15               And were the members of that team all within

16   --- all the same age or within a year of each other?

17      A.      They were within a year of each other.

18      Q.      So was that third and fourth or fourth and

19   fifth?

20      A.      I think it was fourth and fifth.

21      Q.      Did you enjoy being on the cheerleading team?

22      A.      Yeah, it was really fun.

23      Q.      Did you like cheering at sidelines at games more

24   than competition cheer?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1351
                                                                   73


 1                   ATTORNEY HARTNETT:    Objection to form.

 2                   THE WITNESS:    I did like cheering on

 3   sidelines better because I had stage fright and I feel

 4   whenever I was cheering on the sidelines most of the

 5   people were paying attention to the game, so I didn't

 6   have as much stage fright.     But at competition, that was

 7   the main thing that everyone was focusing on.

 8   BY ATTORNEY CAPEHART:

 9      Q.   When you would be part of the team and working

10   on your competition cheer, you all did stunts.

11            Is that correct?

12      A.   Yes, that is correct.

13      Q.   Did you get to be a flyer or were you a base?

14      A.   I was a base.

15      Q.   Did you enjoy that more than going up in the

16   air?

17      A.   Definitely, because I have a fear of heights.

18      Q.   Understandable.     So now that you're in Middle

19   School you were on the cross-country track team this

20   fall and you're also interested in running track.

21            Is that correct?

22      A.   Yes.

23      Q.   Okay.

24            I know I've seen in some reports and maybe in



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                       Armistead App. 1352
                                                                          74


 1   your Declaration, too, you mentioned that there were

 2   other people in your family that had run.          Is that the

 3   basis for your interest in being on cross-country and

 4   also doing track this spring?

 5         A.   Yes.

 6         Q.   Bridgeport Middle doesn't have coed teams, does

 7   it?

 8                        ATTORNEY HARTNETT:    Objection to form.

 9                        THE WITNESS:    Could you repeat the

10   question?

11   BY ATTORNEY CAPEHART:

12         Q.   Sure.     Do you know what a coed team is?       Have

13   you heard that term before?

14         A.   No.

15         Q.   Okay.

16               I realize I'm probably dating myself a little

17   bit there.       That term is not really used all that

18   frequently maybe nowadays, but that just essentially

19   means that coed would be, you know, boys and girls all

20   on the same team together.          And I guess you don't.     You

21   just have a boys team and a girl teams.

22               Right?

23         A.   Yes.

24                        ATTORNEY HARTNETT:    Objection to form.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                      Armistead App. 1353
                                                                       75


 1                     THE WITNESS:    Sorry.

 2   BY ATTORNEY CAPEHART:

 3      Q.   Now, in this --- for spring track you're going

 4   to try out for the girls team.

 5               Correct?

 6      A.   Yes.

 7      Q.   Now, that tryout and also the one for

 8   cross-country track, are those competitive tryouts where

 9   everybody has to run and be timed?

10                     ATTORNEY HARTNETT:       Objection to form.

11                     THE WITNESS:    Kind of because when we did

12   cross-country, all of us made it.       But I was told that

13   the year before, when I was in 5th grade, that they had

14   to cut people because there was too many.         So I think

15   that they only cut people if there's not --- if there is

16   too many.

17   BY ATTORNEY CAPEHART:

18      Q.   Do you know how many there were on cross-country

19   this fall?

20      A.   I don't know.

21      Q.   Okay.

22               If there is some upper limit, though, your team

23   didn't reach that limit in terms of participants?

24      A.   I think it may have been exactly the limit or



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1354
                                                                     76


 1   less, but I don't know.

 2      Q.   You don't remember anyone that tried out not

 3   making the team, though?

 4      A.   Nope.      Everyone made it if they didn't quit.

 5      Q.   Okay.

 6               Do you remember how many meets or events you

 7   went to this past fall?

 8      A.   I don't know for a fact, but it was around seven

 9   to eight.

10      Q.   And were all of those competitive team events

11   where they were tracking everyone's times with a team

12   placing at the end?

13                     ATTORNEY HARTNETT:    Objection to form.

14                     THE WITNESS:    Yes, there was.

15   BY ATTORNEY CAPEHART:

16      Q.   Okay.

17               How did you all do this fall?

18      A.   We did very good.

19      Q.   Great.      Did you place at most of the events that

20   the team went to?

21                     ATTORNEY HARTNETT:    Objection to form.

22   BY ATTORNEY CAPEHART:

23      Q.   And by team I mean did the team place at the

24   event that your team participated in?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1355
                                                                    77


 1      A.     Most of the time, yes.   Some of them weren't,

 2   but we always got close.

 3      Q.     Did your team get first place at any of the

 4   events?

 5      A.     Yes.

 6      Q.     How did that feel to be part of a team that got

 7   first place at one of these events?

 8      A.     It felt awesome.   It felt great.

 9      Q.     Okay.

10             So just because I don't know a tremendous

11   amount about cross-country or track and field, for

12   cross-country do you understand how the scoring works or

13   how the timing ends up with a team being first place or

14   second place or last place?

15      A.     I do not know.

16      Q.     But you would like to win, right?     You would

17   like your team to win.

18             Right?

19      A.     Yes.

20      Q.     What track sports do you want to run in this

21   spring, track events I should say?

22      A.     I'm thinking about doing long distance.

23      Q.     And by long distance what does that mean in

24   terms of the actual distance?



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                  Armistead App. 1356
                                                                   78


 1      A.   There is a mile, two miles, and I think there

 2   may be a three-mile one.

 3      Q.   So are you training to build up your stamina to

 4   those right now?

 5      A.   Not currently just because it is really cold

 6   out.

 7      Q.   That's fair.    Just like I was asking you to help

 8   me understand a little bit about how cross-country does

 9   its scoring and placing, I think I know a little bit

10   more about track and field.     In events like the distance

11   runs, the one, two or even --- one mile, two mile or

12   even longer distances, there are individual places in

13   each of those events.

14            Correct?

15      A.   Uh-huh (yes).

16      Q.   So do the first, second, third place finishers

17   get metals in those?

18                    ATTORNEY HARTNETT:   Objection to form.

19                    THE WITNESS:   I'm not sure because this

20   would be my first year doing track.

21   BY ATTORNEY CAPEHART:

22      Q.   And do you know whether the outcome of those

23   individual races are then factored into some overall

24   team standing?



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                 Armistead App. 1357
                                                                  79


 1      A.   I do not know.

 2      Q.   Okay.

 3            Now, at all of these events that you have

 4   participated in this past fall with the girls track team

 5   and then the ones that you would like to be part of this

 6   spring for track and field, those are just girls teams

 7   against girls teams.

 8            Is that correct?

 9                   ATTORNEY HARTNETT:    Objection to form.

10                   THE WITNESS:    I do not know because,

11   again, this is my first year.

12   BY ATTORNEY CAPEHART:

13      Q.   Okay.

14            Now, at the cross-country events you went to

15   this past fall, when your team got first place, that was

16   just competing against a girls team.

17            Correct?

18      A.   Yes.

19      Q.   Okay.

20            At those same events or meets are there also

21   boys teams present?

22      A.   Yes.

23      Q.   Okay.

24            But your team only competed against the girls



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1358
                                                                     80


 1   teams.

 2               Correct?

 3      A.    Yes.

 4      Q.    Would you have liked for your teams to have

 5   competed against boys teams and girls teams?

 6      A.    At a couple of meets they did.       But when they

 7   do, they only tallied the girls points and the guys

 8   teams differently and then they did the teams' totals.

 9      Q.    Okay.

10               Did anyone explain to you why they did that

11   that way?

12      A.    I don't know.

13      Q.    Okay.

14               Do you think that they may have done those

15   tallies differently because someone thought that boys

16   could run faster than girls?

17                     ATTORNEY HARTNETT:    Objection to form.

18                     THE WITNESS:    I don't know.   I don't know

19   that.

20   BY ATTORNEY CAPEHART:

21      Q.    Okay.

22      A.    But whenever we started the --- a different ---

23   like the guys would go five minutes before and then five

24   minutes later the girls would go, so it was easier to



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                     Armistead App. 1359
                                                                      81


 1   tally up all the points.

 2      Q.   Okay.

 3            Do you think that the boys can run faster than

 4   the girls?

 5                    ATTORNEY HARTNETT:       Objection to form.

 6                    THE WITNESS:    I do not believe so because

 7   I also think that is a genetic thing, if you are fast or

 8   not.

 9   BY ATTORNEY CAPEHART:

10      Q.   Okay.

11            From what I remember reading somewhere you're

12   pretty good with math.

13            Is that fair to say?

14      A.   Yes.

15                    ATTORNEY HARTNETT:       Objection to form.

16                    THE WITNESS:    Sorry.

17                    ATTORNEY HARTNETT:       That is okay.

18   BY ATTORNEY CAPEHART:

19      Q.   Do you know what statistics are?

20      A.   I am familiar with the word, but I don't know

21   what it means.

22      Q.   Okay.

23            Would you and your teammates sometimes compare

24   times after meets?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                     Armistead App. 1360
                                                                      82


 1      A.   Sometimes.

 2      Q.   Okay.

 3               And at the cross-country events, was the course

 4   that you would run a different length every time?

 5      A.   It was always around 2 miles to 2.3, so --- so

 6   not really.

 7      Q.   Okay.

 8               I was just curious because I have a number of

 9   friends that are athletes and they really seem to enjoy

10   talking about statistics, you know, how fast they run or

11   in baseball a batting average or in football a

12   quarterback's completion percentage or something, that

13   those are, it seems for folks in and around sports, ways

14   that you can try to evaluate or to get a sense of

15   something about a person or group of people.         Have you

16   heard and seen statistics talked about when you watch

17   those football broadcasts with your mom?

18                     ATTORNEY HARTNETT:    Objection to the

19   narrative and to the question form.

20                     THE WITNESS:    Could you repeat the

21   question?

22                     ATTORNEY CAPEHART:    Sure.

23   BY ATTORNEY CAPEHART:

24      Q.   Have you seen or heard statistics talked about



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1361
                                                                   83


 1   on those football broadcasts that you watch with your

 2   mom?

 3      A.    Sometimes, but I don't really pay attention to

 4   those because I mainly like watching the game.

 5      Q.    That's fair.

 6                   MS. JACKSON:    Excuse me.   She needs to

 7   use the restroom.

 8                   ATTORNEY CAPEHART:     Absolutely.   Take a

 9   break.

10                   MS. JACKSON:    Can you get through?

11                   VIDEOGRAPHER:      Going off the record.

12   The current time reads 12:18 p.m.

13   OFF VIDEOTAPE

14                               ---

15   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

16                               ---

17   ON VIDEOTAPE

18                   VIDEOGRAPHER:     We are back on the record.

19   The current time reads 12:25 p.m.

20   BY ATTORNEY CAPEHART:

21      Q.    All right.

22            Well, let's see.   When we left off I was just

23   asking you about things about statistics.     Have you ever

24   looked up any statistical data about cross-country for



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                  Armistead App. 1362
                                                                   84


 1   people your age?

 2      A.     No, I have not looked up the statistics for

 3   people my age.

 4      Q.     And I think I framed that question as for

 5   cross-country.     Have you ever done that with track and

 6   field, for example, the one mile or the two mile?

 7      A.     No, I have not.

 8      Q.     If you were to see statistics that show that, on

 9   average, 11-year-old biological boys were 20 percent

10   faster than 11-year-old biological females in the mile

11   run, would that surprise you?

12                     ATTORNEY HARTNETT:   Objection to form.

13                     THE WITNESS:   Yes, because I think

14   biological --- it's all about genetics, if you're fast

15   or not.

16   BY ATTORNEY CAPEHART:

17      Q.     So if you're fast or not is about genetics?

18      A.     I think it is, but it could be not.

19      Q.     Okay.

20             If that were true, that there is a statistic

21   somewhere that shows that 11-year-old biological boys

22   are 20 percent faster than biological girls of the same

23   age, would it be fair to have the biological boys

24   running in the mile race with biological girls?



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1363
                                                                    85


 1                    ATTORNEY HARTNETT:    Objection to form.

 2                    THE WITNESS:    Can you say the question

 3   again?

 4   BY ATTORNEY CAPEHART:

 5      Q.    Sure.   If there were statistics that did show

 6   that difference of 20 percent between biological boys at

 7   a certain age and biological girls at that same age,

 8   would it be fair to allow biological boys to run that

 9   same race as the biological girls?

10                    ATTORNEY HARTNETT:    Objection to form.

11                    THE WITNESS:    If they identify as a

12   female, then I think, yes.      But if not, then I don't

13   think that it should.

14   BY ATTORNEY CAPEHART:

15      Q.    Okay.

16            So you said if they identify as a female, then

17   they should be able to run with the biological girls?

18      A.    Yes.

19      Q.    Did I hear you right?

20      A.    Yes.

21      Q.    Okay.

22            So then could any biological boy be on the

23   girls team so long as they identify as female?

24                    ATTORNEY HARTNETT:    Objection to form.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1364
                                                                      86


 1                     THE WITNESS:   I think so.    Sorry.

 2                     ATTORNEY HARTNETT:   Sorry.

 3   BY ATTORNEY CAPEHART:

 4      Q.   And when you say they identify as female, just

 5   explain that to me so I make sure I understand it.

 6      A.   When people are transgender from male to female,

 7   like me, that's what I think is identifying as a female.

 8      Q.   Okay.

 9            Is it enough for someone in your mind to

10   identify as female for them to just say that they

11   believe they're female or do they need to do something

12   more than that?

13                     ATTORNEY HARTNETT:   Objection to form.

14                     THE WITNESS:   I think they need to have

15   an appearance and there has to be a reason.        Like ---

16   well, not a reason, but they have to --- they have to

17   not just say, oh, I identify as female, I should run.

18   They should have already been transitioned.        It can't

19   just be out of nowhere.    Like, oh, all of the sudden,

20   now that I started, I just realize that I can do this,

21   oh, I'm transgender.    That's --- I don't think that ---

22   I think maybe --- I don't know, a year into the

23   transition that you should be able to.

24   BY ATTORNEY CAPEHART:



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1365
                                                                    87


 1      Q.     Okay.

 2             So when you say a year into their transition

 3   do, you mean like just their social transition, the way

 4   they are presenting themselves?

 5      A.     Yes.

 6      Q.     Okay.

 7             For that kind of hypothetical person that you

 8   were describing there, if they had gone a year into

 9   their transition, as I think you've described it, then

10   in your mind that's what they need to do so that they

11   could be on the girls team?

12                     ATTORNEY HARTNETT:    Objection to form.

13                     THE WITNESS:   Yes.

14   BY ATTORNEY CAPEHART:

15      Q.     Okay.

16             Do they --- do they need to be doing something

17   else like taking puberty blockers or something of that

18   nature?

19                     ATTORNEY HARTNETT:    Objection to form.

20                     THE WITNESS:   I think they should be on

21   puberty blockers to do it because if they have hit

22   puberty, then that's a different story because they hit

23   puberty and that's not changeable.

24   BY ATTORNEY CAPEHART:



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                      Armistead App. 1366
                                                                       88


 1      Q.   Okay.

 2               When they hit puberty and that's not

 3   changeable, explain that to me a little if you can.

 4                     ATTORNEY HARTNETT:       Objection to form.

 5   Go ahead.

 6                     THE WITNESS:    If they've hit puberty,

 7   then they are maturing and they are going to get a

 8   deeper voice.     A girl would get a bigger Adam's apple

 9   and then that's really it.       And I think that gives them

10   more of an unfair advantage.      I could be wrong, but I

11   think after they hit puberty, I don't know, I think

12   something happens, but I'm not sure.

13   BY ATTORNEY CAPEHART:

14      Q.   Do you think there is something else that

15   happens besides the depth of voice and the Adam's apple?

16      A.   I think they may get faster because their

17   testosterone levels will rise.

18      Q.   Okay.

19               And do you think that's not an issue for

20   someone that hasn't gone through puberty yet?

21                     ATTORNEY HARTNETT:       Objection to form.

22                     THE WITNESS:    Sorry.     Yes, because their

23   testosterone levels, if they are on puberty blockers,

24   won't be as high and they won't be --- it won't be high



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1367
                                                                   89


 1   and it won't give them any advantage.

 2   BY ATTORNEY CAPEHART:

 3      Q.   If there was someone in that situation that

 4   wasn't on puberty blockers, do you think that would be

 5   unfair for that person to be on a girls team?

 6                   ATTORNEY HARTNETT:    Objection to form.

 7                   THE WITNESS:    As long as they haven't hit

 8   puberty, then I think it's fine.     But if they have hit

 9   puberty, then I think they should maybe go on hormone

10   blockers and then maybe then, because I --- I could be

11   wrong, but I think their testosterone levels will drop

12   if they go on hormone blockers after puberty.

13   BY ATTORNEY CAPEHART:

14      Q.   Okay.

15            Do you think that they also need to be getting

16   treated for gender dysphoria?

17                   ATTORNEY HARTNETT:    Objection to form.

18                   THE WITNESS:    I don't think that matters

19   because if they don't have gender dysphoria, why should

20   they be getting treated for it.

21   BY ATTORNEY CAPEHART:

22      Q.   So if there was a person that went through that,

23   a biological boy who had done all the things that you

24   say needed to be done and they could be on the girls



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1368
                                                                      90


 1   team, but at some point in the future that person

 2   decided they wanted to, I don't know, revert back to

 3   being on the boys team for sports, should that be

 4   allowed?

 5                      ATTORNEY HARTNETT:     Objection to form.

 6                      THE WITNESS:   If they want to, then yes,

 7   go ahead, because they will --- if they are --- if they

 8   still have the requirements to be on the girls team,

 9   then they will be on puberty blockers and then the

10   testosterone levels will still be low.        So --- but if

11   they get off, then they'll just raise back, and they

12   could still run on the boys team, but they can't run on

13   the girls.

14   BY ATTORNEY CAPEHART:

15      Q.      Okay.

16              You've been talking about puberty blockers like

17   a person that knows about them, which I think you do.

18   What do you know about puberty blockers?

19                      ATTORNEY HARTNETT:     Objection to the

20   preamble and to the form.

21                      THE WITNESS:   Okay.

22                      Could you repeat the question?

23   BY ATTORNEY CAPEHART:

24      Q.      Sure.   What do you know about puberty blockers?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                 Armistead App. 1369
                                                                  91


 1      A.   They stop hormone levels from rising and they

 2   have --- they have a chance for --- they have side

 3   effects, but if you are transgender they can help ---

 4   they can help with the process of a transition because

 5   it will stop you from hitting puberty and you won't grow

 6   an Adam's apple, you won't grow facial hair and your

 7   voice won't get deeper.

 8      Q.   Okay.

 9            You're receiving puberty blocking medications

10   now.

11            Is that correct?

12      A.   Yes, that's correct.

13      Q.   Okay.

14            Did you want to start that medication to delay

15   or prevent puberty?

16      A.   Yes, that is correct.

17      Q.   Okay.

18            We had talked some about your doctors'

19   appointments before.   You had some appointments before

20   receiving the puberty blockers.

21            Correct?

22      A.   Yes, that is correct.

23      Q.   Okay.

24            Do you remember an appointment where you talked



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                 Armistead App. 1370
                                                                     92


 1   with a doctor about getting puberty blocking meds?

 2      A.   Yes.

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14                  .

15

16

17              .

18                  .

19

20

21                                           ?

22                  .                                            h

23

24



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                      Armistead App. 1371
                                                            93


 1       .

 2

 3

 4                                                      d

 5

 6                                                          e

 7

 8   .

 9

10

11

12

13

14

15

16

17

18

19

20

21                                                  a

22

23

24



     SARGENT'S COURT REPORTING SERVICE, INC.
                 (814) 536-8908
                                      Armistead App. 1372
                                                            94


 1

 2

 3

 4

 5

 6

 7

 8

 9                          :                       e

10

11                                              e

12

13

14

15

16

17                          :                           .

18                                                          .

19

20                                                          d

21

22   .                                          m

23

24



     SARGENT'S COURT REPORTING SERVICE, INC.
                 (814) 536-8908
                                                 Armistead App. 1373
                                                                  95


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18                   ATTORNEY CAPEHART:   I think this is a

19   good spot to take a break.   The next part that I'm going

20   to get into I think is going to take a little more time

21   than we have.   I see it's 12:41, so if it's all right

22   with everyone, I suggest we go off the record and talk

23   about when we come back.

24                   ATTORNEY HARTNETT:   That's fine with us.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1374
                                                                    96


 1                    VIDEOGRAPHER:     Going off the record.      The

 2   current time reads 12:41 p.m.

 3   OFF VIDEOTAPE

 4                                ---

 5   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

 6                                ---

 7   ON VIDEOTAPE

 8                    VIDEOGRAPHER:     We are back on the record.

 9   The current time reads 1:19 p.m.

10   BY ATTORNEY CAPEHART:

11      Q.    Okay.

12             Well, before I move onto something else, I just

13   wanted to follow up on something that you had mentioned

14   before the break, B     .   And I hope you had a good

15   break.   You had mentioned testosterone before.       Where

16   had you learned about what testosterone is?

17      A.    The doctors.

18      Q.    Okay.

19             Like Dr. Montano, those people?

20      A.    Yes.

21

22

23

24



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                      Armistead App. 1375
                                                                       97


 1

 2

 3                     .                                               e

 4

 5

 6

 7                                  .

 8                                          :

 9

10   BY ATTORNEY CAPEHART:

11      Q.      Okay.

12              You had mentioned before in relation to a

13   biological boy running on a girls team and that they

14   would need to, I think you had said --- I'm not trying

15   to put words in your mouth, but I think you had said

16   something along the lines that they would need to be

17   taking some kind of medication relative to the

18   testosterone if they were either going through puberty

19   or had gone through puberty.

20                         ATTORNEY HARTNETT:   Objection to form.

21   BY ATTORNEY CAPEHART:

22      Q.      Do you remember that when we were talking

23   earlier?

24      A.      Yes.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1376
                                                                     98


 1      Q.      Okay.

 2               Why did you mention testosterone relative to

 3   how a biological boy might be performing in running?

 4      A.      Because I think that --- that after --- whenever

 5   you half an increase of testosterone, that --- I think

 6   that increases your athletic ability, but I could be

 7   wrong there.

 8      Q.      Okay.   Fair enough.

 9               Do you know that because of what the doctors

10   had talked to you about?

11                      ATTORNEY HARTNETT:   Objection to form.

12                      THE WITNESS:   I am pretty sure, yeah.

13   BY ATTORNEY CAPEHART:

14      Q.      Okay.

15               Have you had done any independent research

16   yourself to learn more about testosterone?

17      A.      I don't recall.    I may have, but I don't

18   remember.

19      Q.      Okay.

20               Do you recall reading the Complaint in this

21   lawsuit?

22      A.      I do not.

23      Q.      Okay.

24               If you could look at Exhibit 32 for just a



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1377
                                                                     99


 1   minute.   Okay.    It says Exhibit WV-32 at the bottom

 2   right corner and has a lot of other words, but in

 3   boldface in the upper right center are the words First

 4   Amended Complaint.     Okay.   This is as it says is the

 5   First Amended Complaint, means there was an original

 6   Complaint that had been amended once in its first

 7   Amended Complaint.     Do you recall ever having seen this

 8   before now that you are getting a chance to look at it?

 9      A.     Yes, I think so.

10      Q.     Okay.

11             Do you remember reading over it yourself?

12      A.     I don't think so.

13      Q.     Okay.

14             Do you remember anyone discussing with you what

15   was in the Complaint?

16      A.     I think I discussed it with my mom.

17      Q.     But you don't know everything that's in here

18   because you haven't read it yourself.

19             Is that correct?

20      A.     I don't.

21                     ATTORNEY HARTNETT:    Objection.

22                     THE WITNESS:    I don't remember if I have

23   or haven't.

24   BY ATTORNEY CAPEHART:



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                 Armistead App. 1378
                                                                    100


 1      Q.   Okay.

 2            You don't remember if you have or have not.

 3   Okay.

 4            Now, I think we had talked before about the

 5   fact that your lawsuit is challenging the HB 3293.           You

 6   may have remembered we had looked at that very briefly

 7   and I had directed you to a couple of parts of it and

 8   you had said you hadn't read the whole thing.        And I

 9   will also represent to you that it also had some other

10   definitions in there for biological male and female.           Do

11   you believe there is a difference between biological

12   males and biological females?

13                   ATTORNEY HARTNETT:    Objection to form and

14   the preamble.

15                   THE WITNESS:    I don't know.

16   BY ATTORNEY CAPEHART:

17      Q.   Okay.

18            You don't know if there is any difference

19   between a biological boy and a biological girl?

20                   ATTORNEY HARTNETT:    Objection to form.

21                   THE WITNESS:    I don't know.   I don't know

22   if there is a difference.

23   BY ATTORNEY CAPEHART:

24      Q.   Okay.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                      Armistead App. 1379
                                                                      101


 1               Do you think there are physical differences

 2   between a biological boy and a biological girl?

 3                     ATTORNEY HARTNETT:    Objection.

 4                     THE WITNESS:    Could you repeat the

 5   question?

 6   BY ATTORNEY CAPEHART:

 7      Q.   Sure.      Do you think there are physical

 8   differences between a biological boy and a biological

 9   girl?

10      A.   Yes.

11      Q.   Okay.

12                     ATTORNEY HARTNETT:    And I just have a

13   standing objection in terminology, but I will not

14   continue to make that objection.

15                     ATTORNEY CAPEHART:    Noted.    Thank you.

16   BY ATTORNEY CAPEHART:

17      Q.   What do you understand the physical differences

18   are between a biological boy and a biological girl?

19      A.   A biological boy has a penis and a biological

20   girl has a vagina.

21      Q.   Okay.

22               Do you believe there are any other physical

23   differences between a biological boy and a biological

24   girl?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1380
                                                                    102


 1      A.   There --- yes, but that part could be with

 2   either one, because long hair could also be with a guy

 3   or like that's --- like if a girl, a biological girl,

 4   would probably have long hair, but a guy could also have

 5   long hair.     And then a guy could have --- a guy could

 6   have short hair and a girl could also have that.         And a

 7   biological guy would probably want to look muscular, but

 8   a biological girl would probably --- could probably want

 9   to look like that.

10      Q.   So apart from a superficial difference like hair

11   length or how much someone works out and also the

12   difference in genitalia, are you aware of any other

13   differences?

14                     ATTORNEY HARTNETT:    Objection to form.

15                     THE WITNESS:    Not that I can think of

16   right now.

17   BY ATTORNEY CAPEHART:

18      Q.   Okay.      Okay.

19            Can you all look at Exhibit 26?       Do you have

20   Exhibit 26?

21      A.   Yes.

22      Q.   This looks like it is an article from the

23   Gazette Mail.     If you flip to the second page of the

24   exhibit, the fourth block of text up from the bottom it



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1381
                                                                     103


 1   reads, quote, I just want to run, I come from a family

 2   of runners, close quoted, P                   said in a news

 3   release.    Quote, I know how hurtful a law like this is

 4   to all kids like me who just want to play sports with

 5   their classmates, and I'm doing this for them.          Trans

 6   kids deserve better, closed quote.       B    , do you

 7   remember talking to a reporter before this article got

 8   written?

 9      A.      Yes.

10      Q.      Okay.

11               And the quoted language that I was just reading

12   there that's also in the exhibit, do you remember saying

13   that?

14      A.      Yes.

15      Q.      Okay.

16               So those are your words, no one was

17   paraphrasing something you were trying to tell them

18   then?

19      A.      No.

20      Q.      Okay.

21               Is a trans kid an appropriate term to use?

22                      ATTORNEY HARTNETT:   Objection, form.

23                      THE WITNESS:   Could you repeat the

24   question?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1382
                                                                    104


 1   BY ATTORNEY CAPEHART:

 2      Q.     Sure.   In the quote it says trans kids deserve

 3   better.   I'm just curious, is trans kids a normal term

 4   that is used and is acceptable to use?

 5                     ATTORNEY HARTNETT:    Objection, form.

 6                     THE WITNESS:   Could you repeat the

 7   question one more time?

 8   BY ATTORNEY CAPEHART:

 9      Q.     Sure.   And I'm not trying to trick you.       I'm

10   just trying to understand because you used the term

11   trans kids, and I think I've seen it in maybe another

12   article, too, and I just thought I encountered it

13   another experience.     So I'm asking the question is that

14   an acceptable term to use to refer to transgender boys

15   or transgender girls?

16                     ATTORNEY HARTNETT:    Same objection.

17                     THE WITNESS:   Yes.

18   BY ATTORNEY CAPEHART:

19      Q.     Is it okay to call you a trans kid?

20      A.     If you don't know that I don't know my name and

21   you know I'm trans, then yes, that's acceptable.         But if

22   you know my name and you're purposely calling me that,

23   then not really, but it's still fine.

24      Q.     Yeah.   And I don't intend to.    I was just



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                          Armistead App. 1383
                                                                          105


 1   curious ---

 2       A.     Yes.

 3       Q.     --- from the nuances and the acceptable use of

 4   the term.     So thank you.     Excuse me.     If you can look

 5   at Exhibit 27.

 6                        ATTORNEY HARTNETT:     And just for the

 7   record and the witness's knowledge, B               , you should

 8   feel free to review the full exhibit before you answer

 9   questions if you want to.

10                        THE WITNESS:   Okay.

11                        MS. JACKSON:   So that's the first page.

12                        ATTORNEY CAPEHART:     You all just let me

13   know whenever you're ready to proceed.

14                        Okay?

15                        ATTORNEY HARTNETT:     I'm sorry.      I think

16   B        is ready.

17                        THE WITNESS:   Yeah.

18                        ATTORNEY CAPEHART:     Okay.    Thank you.

19   BY ATTORNEY CAPEHART:

20       Q.     I'm going to try to make sure I direct you to

21   the proper page.       It looks like it's the last page of

22   the text, which looks like it's about the fourth to the

23   last page of the exhibit.       At the top of the page the

24   test begins with the word when Justice.             Right there.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1384
                                                                  106


 1   Have you all found that on your hard copy?

 2      A.   Yes.

 3      Q.   Okay.   All right.

 4            So let's see, this first block here that reads

 5   when Justice signed the Bill banning transgender girls

 6   from sports teams, B        was devastated she said.     Then

 7   another quote, I felt horrible because I knew then I

 8   couldn't run with the other girls.     Do you remember

 9   talking to the author of this piece before it came out?

10      A.   Yes.

11      Q.   Okay.

12            And does that quote seem right?     Do you

13   remember saying that?

14      A.   Yes.

15      Q.   Okay.

16            Now, I recall earlier you mentioned that you

17   hadn't read the bill, the new law yourself, but here you

18   said you couldn't run with the other girls after the

19   Governor signed it.     How did you know that since you

20   hadn't read through the bill?

21      A.   I was told by my mom.

22      Q.   Okay.

23            Do you remember when you and your mother had

24   that discussion?



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1385
                                                                    107


 1       A.     I don't remember.

 2       Q.     All right.

 3               Were you aware of this bill before your mom

 4   told you that it was now a law?

 5       A.     I was aware of it, but I didn't know that it was

 6   going to get signed.

 7       Q.     Okay.

 8               What did you know about it before your mom told

 9   you it was signed and was now a law?

10       A.     That I wouldn't be able to run with the girls

11   once it got signed.

12       Q.     Okay.   All right.

13               If you move down to and look at the fourth

14   block of text there on the page it says as hard as it is

15   to be a trans kid and a mother of a trans kid, suddenly

16   thrust into the public eye in a conservative state,

17   B        and Jackson agree that the potential payoff makes

18   it all worth it.     You don't have a problem with the

19   author using trans kid there, do you?

20       A.     No.

21       Q.     Okay.

22               How hard has it been in Bridgeport and Lost

23   Creek to be a trans kid, as the author says?

24                      ATTORNEY HARTNETT:   Objection to form.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1386
                                                                  108


 1                    THE WITNESS:   Could you --- could you

 2   repeat the question?

 3   BY ATTORNEY CAPEHART:

 4      Q.   Sure.    This little bit of language here is

 5   talking about it being hard to be a trans kid and the

 6   mother of a trans kid, so my question is how hard has

 7   that been on you in Bridgeport and Lost Creek?

 8                    ATTORNEY HARTNETT:    Objection to form.

 9                    THE WITNESS:   Well, a lot of the people

10   don't support it and don't agree with it, so that's what

11   makes it hard.

12   BY ATTORNEY CAPEHART:

13      Q.   Okay.

14            You had said that school had gone really well

15   with your transition.

16            Correct?

17      A.   Uh-huh (yes).

18      Q.   Okay.

19            So are these people you're describing now, are

20   these all people outside of school?

21                    ATTORNEY HARTNETT:    Objection to form.

22                    THE WITNESS:   Yes.

23   BY ATTORNEY CAPEHART:

24      Q.   Okay.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1387
                                                                    109


 1            What kind of people are these?

 2                     ATTORNEY HARTNETT:    Objection to form.

 3                     THE WITNESS:    Usually adults.

 4   BY ATTORNEY CAPEHART:

 5      Q.   Okay.

 6            Are these people you know or strangers?

 7      A.   Strangers.

 8      Q.   Well, what have they done?

 9      A.   Just not --- just be mean in general.

10      Q.   Well, how are they being mean?

11      A.   They don't support it.       Sometimes people call me

12   names, just be mean.

13      Q.   Okay.

14            Does this happen often?

15      A.   Not as much now, but it used to happen a lot.

16      Q.   When you say used to happen a lot, do you mean

17   back at the time that you transitioned or before that or

18   after that?

19      A.   Well ---.

20                     ATTORNEY HARTNETT:    Objection to form.

21                     THE WITNESS:    Well, at the time and a

22   little bit after because I was so --- I was new to it

23   and I didn't know how to handle people like being

24   meaning about it.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1388
                                                                   110


 1   BY ATTORNEY CAPEHART:

 2      Q.      Okay.

 3              Would people be mean to you when your parents

 4   were around?

 5      A.      They wouldn't do it like directly to my face

 6   usually.    They would say it to my mom or my dad and then

 7   my parents would tell me.     So it wasn't usually directly

 8   to me.

 9      Q.      So when they would say these things, you weren't

10   in the presence of these people when they were saying

11   them?

12      A.      Most of the time, yes.

13      Q.      Oh, okay.

14              But then your mom and your dad would have

15   people say things to them and then your mom and dad

16   would tell you about what other people had said?

17                      ATTORNEY HARTNETT:   Objection to form.

18   BY ATTORNEY CAPEHART:

19      Q.      Is that correct?

20      A.      Yes, but sometimes they wouldn't tell me just

21   I'm assuming to try not to make me sad.

22      Q.      Have any other kids ever said the kind of things

23   to you that your parents said adults had told them?

24                      ATTORNEY HARTNETT:   Objection to form.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                 Armistead App. 1389
                                                                 111


 1                    THE WITNESS:   No.

 2   BY ATTORNEY CAPEHART:

 3      Q.   No?     Do you and your family attend a church?

 4      A.   Not anymore.

 5      Q.   Okay.

 6            Did you before?

 7      A.   For a short period of time, yes.

 8      Q.   Okay.

 9            Did you ever have any issues or problems there?

10      A.   No.

11      Q.   So there weren't any adults at that church that

12   were mean to you or that said mean things to your

13   parents that you know of?

14      A.   At that time I was not transitioned yet, so

15   there was no comments like that.

16      Q.   Okay.

17            Do you remember when you had said your mom had

18   explained to you because the bill was now signed you

19   wouldn't be able to run, did she explain what part of

20   the new law would stop you from running?

21                    ATTORNEY HARTNETT:   Objection to form.

22                    THE WITNESS:   No, she just told me that

23   because of this I couldn't run.

24   BY ATTORNEY CAPEHART:



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1390
                                                                   112


 1      Q.   Okay.

 2            And because you haven't read the bill yourself,

 3   you don't have any knowledge of what part of the bill

 4   prevents you from running.

 5            Is that correct?

 6      A.   Yes.

 7                   ATTORNEY HARTNETT:     Objection to form.

 8   BY ATTORNEY CAPEHART:

 9      Q.   Thank you.       All right.   Let's see Exhibit 28.

10   I just was going to interject that you are free to read

11   the entirety if you would like to, the 20 pages.        It's a

12   lot, but I have no problem telling you the only thing

13   I'm going to ask you about is the portion on the last

14   page, the part under the subtitle B        's trials.

15                   MS. JACKSON:    Thank you.

16                   ATTORNEY CAPEHART:     You're welcome.

17                   THE WITNESS:    I'm ready.

18   BY ATTORNEY CAPEHART:

19      Q.   Okay.   Great.

20            Do you remember talking to this author from

21   ESPN?

22      A.   I can't remember.

23      Q.   It sounds like your tryouts were pretty

24   challenging.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1391
                                                                    113


 1               Is that true?

 2      A.   Yes.

 3      Q.   Okay.

 4               Do you recall expressing anything to this

 5   reporter that's quoted here or otherwise described?

 6                     ATTORNEY HARTNETT:    Objection to the

 7   form.

 8                     THE WITNESS:    Could you repeat the

 9   question?

10   BY ATTORNEY CAPEHART:

11      Q.   Sure.      Do you recall saying this part that's

12   quoted here about your friends or discussing any of the

13   rest of it with the reporter?

14      A.   I don't remember, but I think I remember saying

15   maybe some of this, but I can't remember.       I can't

16   remember.

17      Q.   Okay.      Okay.

18               And it seems like you were understandably

19   excited to have made the team.

20               Is that right?

21      A.   Yes.

22      Q.   Okay.

23               How many girls were on the team this past fall?

24                     ATTORNEY HARTNETT:    Objection.      I'm



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1392
                                                                   114


 1   sorry.

 2                    THE WITNESS:    I don't know.

 3   BY ATTORNEY CAPEHART:

 4      Q.    Okay.

 5            And you were the only transgender girl on the

 6   team.

 7            Is that correct?

 8                    ATTORNEY HARTNETT:    Objection to form.

 9                    THE WITNESS:    As I knew of, there may

10   have been people that haven't come yet, but of what I

11   knew I was the only one.

12   BY ATTORNEY CAPEHART:

13      Q.    So far as you know, you're the only transgender

14   girl on the team.

15            Is that correct?

16      A.    Yes.

17      Q.    Okay.   Okay.

18            Exhibit 29, which is much shorter.      Okay.     Take

19   a look at that, however much you would like to, and then

20   let me know whenever you'd like to proceed.

21      A.    I'm done reading.

22      Q.    Okay.

23            Let's see.      Just below kind of the mid point of

24   the page, about the third block of real text it starts



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1393
                                                                    115


 1   off with a quote there and it says, quote, I just want

 2   to run and the State wants to stop me from running as

 3   part of a team at my school, end quote, said B          , an

 4   11-year0old Middle School student.      Quote, I love

 5   running and being part of the team and the State of West

 6   Virginia should explain in court why they won't let me,

 7   end quote.   Do you remember saying or writing that?

 8      A.   I remember saying that.

 9      Q.   Okay.

10            Who did you say that to?

11      A.   I can't remember.

12      Q.   Okay.

13            But those are all your words.

14            Correct?

15      A.   Uh-huh (yes).

16      Q.   Okay.

17      A.   Yes.

18      Q.   In what ways --- strike that.

19            When you say that the State of West Virginia

20   should explain in court why they won't let you be part

21   of the team, are you referring to HB-3293?

22      A.   Yes.

23      Q.   But as you said earlier, you're not sure what

24   part of that prevents you from running, you just know



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1394
                                                                  116


 1   that it does because you have been told that.

 2            Correct?

 3                   ATTORNEY HARTNETT:     Objection to form.

 4                   THE WITNESS:    Yes.

 5   BY ATTORNEY CAPEHART:

 6      Q.   Okay.

 7            Sorry for that.    B    , are you aware of or

 8   have you read anything that the State has filed with the

 9   Court in this case?

10      A.   I think I've skimmed through a couple of things,

11   but not really read them.

12      Q.   Okay.

13            Those couple of things that you think you have

14   skimmed through, do you recall what those were?

15      A.   One of them was the one thing we just read ---

16   the thing that we went through just a little bit, I

17   skimmed through that.   And there was another one, but I

18   don't remember which one it was.

19      Q.   Okay.

20            The thing that we went just went through, I

21   apologize, we have gone through a few things.

22      A.   Just now, the one just now I skimmed through,

23   couple of paragraphs.   I'm pretty sure at least.

24      Q.   Do you mean Exhibit 29?



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                      Armistead App. 1395
                                                                      117


 1                       MS. JACKSON:   This?

 2                       THE WITNESS:   Yes.

 3   BY ATTORNEY CAPEHART:

 4      Q.      Exhibit 29 is not anything that the State has

 5   written.     I'm just explaining what this is.      And my

 6   understanding is that this is a news release from Lambda

 7   Legal.     So you think there may have been something else,

 8   though, that you looked at, you're just not really sure?

 9      A.      Yeah.

10      Q.      Okay.    Okay.

11               Give me just a second to check a couple of

12   things.     Okay.   There's a couple of things to just run

13   through real quick and then I think I might be done.

14   One, just following back up on the thought of why the

15   State won't let you run, why do you think, to use your

16   words from this press release, that the State won't let

17   you run?

18      A.      Could you repeat the question?

19      Q.      Sure.    In the release here there is, as you

20   said, your language saying that you want the State to

21   explain in court why they won't let you, referring back

22   to being part of a team and running.         Why do you --- why

23   do you think that is?

24                       ATTORNEY HARTNETT:     Objection.   Form.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1396
                                                                    118


 1                     THE WITNESS:    Because I don't think there

 2   is a good enough reason for me to not be able to run.

 3   BY ATTORNEY CAPEHART:

 4      Q.   Okay.

 5               When you say there's not a good enough reason,

 6   has someone spoken to you or explained some reason why

 7   they think that the State wouldn't let you run?

 8                     ATTORNEY HARTNETT:    Objection to form.

 9                     THE WITNESS:    Could you repeat the

10   question?

11                     ATTORNEY CAPEHART:    Court Reporter, can

12   read that question back for us?

13                     COURT REPORTER:    When you say there is

14   not a good enough reason, has someone --- has someone

15   --- I'm sorry.     When you say there's not a good enough

16   reason, has someone spoken to you or explained some

17   reason why they think that the State wouldn't let you

18   run?

19                     ATTORNEY HARTNETT:    Objection.

20                     THE WITNESS:    No one has explained the

21   reason, but that's why I think there's not a good enough

22   reason for me to not run.

23   BY ATTORNEY CAPEHART:

24      Q.   So you have not had any conversations with



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1397
                                                                   119


 1   anyone who could explain what reasons the State may have

 2   presented as to why they passed this bill?

 3                      ATTORNEY HARTNETT:   I would just object

 4   to the extent this would entail any conversations with

 5   your lawyers, B       , and you should not testify about

 6   those conversations.     If there are conversations other

 7   than ones with your lawyer, you can testify about that.

 8                      THE WITNESS:   What was --- can you repeat

 9   the question?

10   BY ATTORNEY CAPEHART:

11      Q.      Sure.   And to pick up on Kathleen's comment, I'm

12   not trying to get you to divulge any confidential

13   communications that you had with your lawyers, but I'm

14   just trying to understand your comment where you said

15   that there is not a good enough reason and that no one

16   has explained a reason why the State passed this bill.

17   So I'm asking you what kind of conversations have you

18   had, if any, with anyone other than your lawyers about

19   the reason why this bill may have been passed?

20      A.      I haven't had any conversations with any of my

21   lawyers.

22      Q.      Okay.

23              Have you talked with your mom about why this

24   law may have been passed?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1398
                                                                    120


 1      A.   I don't think I have, no.

 2      Q.   And you already said you have not looked at any

 3   of the State's filings or documents that it has put in

 4   before the Court in this case?

 5                     ATTORNEY HARTNETT:     Objection, MT.

 6                     THE WITNESS:    I don't think so.

 7   BY ATTORNEY CAPEHART:

 8      Q.   Okay.

 9            You don't recall whether you have seen those,

10   but you don't believe so, is that what you said

11   previously?

12                     ATTORNEY HARTNETT:     Objection, MT.

13                     THE WITNESS:    Yes.

14   BY ATTORNEY CAPEHART:

15      Q.   Okay.

16            Real briefly, look back at Exhibit 31, which is

17   the Declaration that you looked at when we started.

18   Just let me know when you have it.

19      A.   We have the Declaration.

20      Q.   Okay.

21            Look at page three, if you would.        Got it?

22      A.   Uh-huh (yes), yes.

23      Q.   Okay.

24            There at paragraph number 13 it says, I do not



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1399
                                                                   121


 1   want to run with the boys and I should not have to run

 2   with the boys.    What's wrong with running with the boys?

 3      A.   I'm not a boy.     I'm a girl.    I should be able to

 4   run with the girls.

 5      Q.   Okay.

 6            Are there any competitive concerns if you did

 7   run with the boys?

 8                     ATTORNEY HARTNETT:    Objection.   Form.

 9                     THE WITNESS:   No.   I just think I'm a

10   girl and I shouldn't have to run with the boys.        I

11   should be able to run with the girls because I am a

12   girl.

13   BY ATTORNEY CAPEHART:

14      Q.   Okay.

15            One other --- one other quick question for you.

16   Do you know that under the law you could run with the

17   boys if you wanted to.

18            Right?

19                     ATTORNEY HARTNETT:    Objection to form.

20                     THE WITNESS:   That I could if I wanted

21   to, but that's not --- I'm not running with the boys

22   because I am a girl.

23   BY ATTORNEY CAPEHART:

24      Q.   Okay.



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                      Armistead App. 1400
                                                                      122


 1               I just wanted to make sure that someone had

 2   apprised you that the law does not prevent that, that

 3   new law.     Fair enough.    And I believe that's everything

 4   I have for you right now.       Thank you very much for your

 5   patience.

 6                     ATTORNEY CAPEHART:      And whoever the next

 7   person in line wants to take over the questioning, go

 8   right ahead.

 9                     ATTORNEY HARNETT:       And I know we haven't

10   gone for an hour yet, but I just wanted to check to see,

11   B    , do you need a bathroom break before we do more

12   questions?

13                     THE WITNESS:     I'm good.

14                     ATTORNEY ROGERS:     I think I'm next if I'm

15   understanding the order that was established earlier

16   this week.

17                     Is that right?

18                     ATTORNEY HARTNETT:       I believe Roberta

19   went next.

20                     ATTORNEY ROGERS:     All right.

21                                   ---

22                               EXAMINATION

23                                   ---

24   BY ATTORNEY ROGERS:



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1401
                                                                    123


 1      Q.    Hi, B       .   My name is Shannon Rogers.     I am one

 2   of the attorneys that represents the West Virginia

 3   Secondary School Activities Commission, which is

 4   sometimes referred to as the WVSSAC.       And so when I'm

 5   saying WVSSAC that's what I'm referring to.

 6            Does that make sense?

 7      A.    Yes.

 8      Q.    Okay.

 9            Had you ever had heard of the WVSSAC before?

10      A.    I don't think so.

11      Q.    Okay.

12            Do you know if you have ever spoken to anybody

13   who is with the WVSSAC?

14      A.    I don't know.

15      Q.    You don't know?      Okay.

16            Do you know if anybody --- well, strike that.

17            So you don't think you've ever communicated or

18   you just don't remember?

19      A.    I don't think I've ever communicated.

20                     ATTORNEY ROGERS:    Okay.

21                     I don't have any other questions.       Thank

22   you, B    .

23                                  ---

24                              EXAMINATION



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1402
                                                                      124


 1                                   ---

 2   BY ATTORNEY DENIKER:

 3      Q.      Hi, B      .   My name is Susan Deniker.     I'm an

 4   attorney who works at a law firm called Steptoe and

 5   Johnson, and I represent the Harrison Board of Education

 6   and the Superintendant Dora Stutler.       Thank you for your

 7   time today.       I know it has been a long day and I know

 8   it's hard to sit in front of a computer screen, so thank

 9   you.     You've done a really great job.

10               I'm going to ask you a few questions about your

11   experience in school and in cross-country.        If I ask you

12   anything that doesn't make sense or that you don't

13   understand, please let me know.       You've done a really

14   great job with that today, but will you let me know if I

15   ask you something that you don't understand?

16      A.      Yes.

17      Q.      Very good.

18               And then also, if you need to take a break at

19   any time, just let me know and we'll be glad to take a

20   break.

21               Okay?

22      A.      Okay.

23      Q.      So yesterday I got to ask some questions of your

24   mom and she told me that you went to elementary school



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1403
                                                                    125


 1   at Norwood Elementary.

 2               Is that correct?

 3      A.   Yes.

 4      Q.   And did you go to Norwood Elementary School from

 5   kindergarten through the fifth grade?

 6      A.   Yes.

 7      Q.   How did you like Norwood?

 8      A.   It was a nice school.       I really enjoyed it.

 9      Q.   Did you have a good experience there?

10      A.   Yeah.

11      Q.   Was Mrs. Stutler your principal for a period of

12   the time that you were at Norwood Elementary School?

13      A.   Yes.

14      Q.   Did you know her then?

15      A.   Like know her --- could you repeat the question?

16      Q.   Sure.      No.   It probably wasn't a very good

17   question.     Did you sometimes have interactions with Mrs.

18   Stutler when she was your principal?

19      A.   Yes.

20      Q.   And how was that?       Was she nice with you when

21   you dealt with her?

22      A.   Yes.

23      Q.   Did you think she was a good principal?

24      A.   Yes.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                 Armistead App. 1404
                                                                 126


 1      Q.   Who was the principal after Mrs. Stutler?

 2      A.   Mrs. Shields.

 3      Q.   And did you like Mrs. Shields?

 4      A.   Yeah.

 5      Q.   Was she nice to you when you were at school?

 6      A.   Yes.

 7      Q.   Now, I know you said earlier that you came out

 8   in the fourth grade.

 9            Is that right?

10      A.   I came out in the summer of third grade, but in

11   school it was in the fourth grade.

12      Q.   Okay.

13            And something else I should have said to you at

14   the beginning is that I want to use terms that you're

15   comfortable with.   And so if I don't use the right

16   terms, you correct me.

17            Okay?

18      A.   Okay.

19      Q.   So when you started school in the fourth grade

20   it is my understanding then you came to school

21   presenting as a girl, as a female.

22            Is that correct?

23      A.   Yes.

24      Q.   And did you have any discussions with your



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1405
                                                                   127


 1   teachers or the principal or anyone else at Norwood

 2   about making that change?

 3      A.      Yes.

 4      Q.      Tell me about those communications that you

 5   would have had.

 6      A.      I think it was the day before school started we

 7   went to the school to establish where --- everything

 8   about what the teacher should be calling me, where my

 9   bathroom would be and everything like that.

10      Q.      Were you part of that meeting, B       ?

11      A.      Yes.

12      Q.      Do you recall who else was in that meeting?

13      A.      There was Mrs. Louder, it was the principal.        I

14   don't know if it at the time it was Mrs. Stutler or Mrs.

15   Shields and someone else.     I can't remember their name.

16      Q.      Was the school counselor maybe part of that

17   meeting?

18      A.      I think so.

19      Q.      Was Mrs. Louder your teacher that year?

20      A.      Yes.

21      Q.      And was your mom also in that meeting?

22      A.      Yes.

23      Q.      Anyone else that you remember?

24      A.      Not really, no.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1406
                                                                    128


 1      Q.      Were you happy with what came out of that

 2   meeting?

 3      A.      Yes.

 4      Q.      You were comfortable with the agreements that

 5   was reached with regard to the name that would be used

 6   and the bathroom facilities and any other accommodations

 7   that would be made for you?

 8                      ATTORNEY HARTNETT:    Objection.

 9                      THE WITNESS:   Yes.

10   BY ATTORNEY DENIKER:

11      Q.      And then how did fourth grade go?     Was it a good

12   --- was it a good year for you?

13      A.      Yeah.

14      Q.      Did you feel that the teachers and the principal

15   and the other employees of the school were supportive of

16   you?

17      A.      Yes, very.

18      Q.      Good.   And did you feel that they treated you

19   kindly and fairly?

20      A.      Yes.

21      Q.      And it sounds like from your earlier testimony

22   that you also had a good experience with the students in

23   the school.

24              Is that correct?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                   Armistead App. 1407
                                                                   129


 1      A.      Yes.

 2      Q.      Tell me about your fifth grade year at Norwood

 3   Elementary School.     Did you have a good experience that

 4   year?

 5      A.      Yes.   There was brand new teachers and my

 6   teacher was Ms. Watson.     She was a very nice teacher.

 7      Q.      And do you feel that everyone at the school was

 8   supportive of you?

 9      A.      Yes.

10      Q.      Did you feel that everybody treated you in a

11   fair and kind manner?

12      A.      Yes.

13      Q.      And so you had a good school year in fifth grade

14   as well?

15      A.      Yes.

16      Q.      Do you recall having any other meetings in

17   fourth or fifth grade to discuss your transitioning to

18   being --- to presenting as a girl at school?

19      A.      Not that I can remember.   Beginning of fourth

20   grade was the only one I think.

21      Q.      And then it's my understanding that this year

22   you started at Bridgeport Middle School.

23              Is that right?

24      A.      Yes.



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                  Armistead App. 1408
                                                                  130


 1      Q.     And are you in the sixth grade this year, B          ?

 2      A.     Yes.

 3      Q.     Do you remember when you were in Norwood

 4   Elementary School having a meeting and filling out a

 5   document that was called a Gender Support Plan?

 6      A.     Yes, I remember that.

 7      Q.     And did you participate in the meeting where

 8   that plan was discussed?

 9      A.     Yes.

10      Q.     And did you think that that was a good meeting?

11      A.     Yes.

12      Q.     Were you happy with the outcome of what was

13   agreed upon at that meeting?

14      A.     Yes.

15      Q.     And then you had another one of those meetings

16   with school officials before you started at the Middle

17   School.

18             Is that right?

19      A.     Yes.

20      Q.     And I think that that meeting happened in May of

21   2021, which would have been the end of your fifth grade

22   year.

23             Is that --- does that sound right?

24      A.     Yes.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1409
                                                                   131


 1      Q.      And were you a part of that meeting?

 2      A.      Yes.

 3      Q.      Do you remember who else was a part of that

 4   meeting?

 5      A.      We had my new principal, Mr. Mazza, the

 6   counselor there, Mrs. Shields and my mom.

 7      Q.      And were you comfortable with what was discussed

 8   and agreed upon at that meeting?

 9      A.      Yes.

10      Q.      And how has sixth grade been so far?

11      A.      It's been good.

12      Q.      Do you like Mr. Mazza?

13      A.      Yes.

14      Q.      He is your principal this year.

15              Is that right?

16      A.      Yes.

17      Q.      Do you feel like Mr. Mazza is supportive of you?

18      A.      Yes, very.

19      Q.      Good.   And do you think that he treats you in a

20   kind and fair manner?

21      A.      Yes.

22      Q.      How are your classes this year?    Do you like

23   them?

24      A.      Yeah, I like my classes.   I have really nice



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1410
                                                                    132


 1   teachers.

 2      Q.      I think I saw that you are a straight A student.

 3   Maybe I saw that in something that your mom wrote.

 4               Is that right?

 5      A.      Yes.

 6      Q.      Congratulations.    Good for you.   Do you feel

 7   that your teachers are fair and supportive of you?

 8      A.      Yes.

 9      Q.      And are you comfortable with the arrangements

10   that the school has made for you this year in terms of

11   addressing how you want to present at school as being a

12   girl?

13      A.      Yes.

14      Q.      I know that we have discussed today sports and

15   your participation in sports, and I heard you say that

16   you love running.

17               Is that right?

18      A.      Yes.

19      Q.      And I understand that you tried out for the

20   girls cross-country team.

21               Is that correct?

22      A.      Yes.

23      Q.      So I want to talk to you a little bit about that

24   process.     The cross-country team, did they do some



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1411
                                                                  133


 1   training and conditioning over the summer before the

 2   year started?

 3      A.   Yes.     There was a week of conditioning before

 4   the season started.

 5      Q.   And did that happen over the summer?

 6      A.   Yes.

 7      Q.   Did you participate in that conditioning?

 8      A.   Yes.

 9      Q.   And how was that experience?      Was that a

10   positive experience for you?

11      A.   Yes.

12      Q.   And then tryouts I think were in August for

13   cross-country.

14            Is that right?

15      A.   Yes.

16      Q.   And were you permitted to try out for the girls

17   cross-country team?

18      A.   Could you ---?

19      Q.   Let me rephrase that.     Were you allowed to try

20   out for the girls cross-country team?

21                    ATTORNEY HARTNETT:    Objection to form.

22                    THE WITNESS:   Yes.

23   BY ATTORNEY DENIKER:

24      Q.   And was that the team you wanted to try out for?



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                    Armistead App. 1412
                                                                    134


 1      A.   Yes.

 2      Q.   And did you make the team?

 3      A.   Yes.

 4      Q.   And I think you said this year they didn't have

 5   any cuts.

 6               Is that right?

 7      A.   Yes.

 8      Q.   Who were your coaches for cross-country this

 9   year?

10      A.   I had Ms. Schoonmaker, Ms. --- Coach Flesher and

11   Coach McBrayer.

12      Q.   And did they coach both the girls and the boys

13   cross-country teams?

14      A.   Yes.

15      Q.   How was your season?

16      A.   It was good.

17      Q.   Did you like cross-country?

18      A.   Yes.

19      Q.   Did you believe that your coaches treated your

20   fairly and kindly this season?

21      A.   Yes.

22      Q.   Did you feel that they were supportive of you?

23      A.   Yes.

24      Q.   So you think it's fun to run up hills and



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                      Armistead App. 1413
                                                                      135


 1   through water and mud, B         ?

 2      A.   Yes.

 3      Q.   Because that's what cross-country is about,

 4   isn't it?

 5      A.   Yes.

 6      Q.   It's a hard sport I think.          Do you think it's

 7   hard?

 8      A.   It depends if you've done it before and how much

 9   you run normally.

10      Q.   Do you think you would like to do it again?

11      A.   Yes.

12      Q.   And I heard you talk a little bit about track.

13   Are there other --- is track something that you're

14   interested in doing?

15      A.   Yes.

16      Q.   And I heard you said you might want to be --- do

17   the distance running in track.

18               Is that right?

19      A.   Yes.

20      Q.   You're a tough girl.          Cross-country and distance

21   running and track, those are the hard once, aren't they?

22                     ATTORNEY HARTNETT:       Objection to form.

23                     THE WITNESS:       It just depends if you've

24   ran before or whatever you've done.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                  Armistead App. 1414
                                                                  136


 1   BY ATTORNEY DENIKER:

 2      Q.   I think that you're right.      I think it depends

 3   how good of shape you're in.    Are you planning to

 4   condition in the off season?

 5      A.   If it's not freezing, then yes.

 6      Q.   I understand.    We were talking about what a cold

 7   day it is here in West Virginia, isn't it?

 8      A.   Yes.

 9      Q.   B      , has anybody in the school system ever

10   told you that Harrison County Schools wouldn't let you

11   participate on a girls sports team for any reason?

12                   ATTORNEY HARTNETT:    Objection to form.

13                   THE WITNESS:    After a bill was passed,

14   not --- I don't think there was because when the bill

15   was passed, I already went trying out and then we ---

16   then the whatever it was called where I could do ---

17   where I could play in the sports team from the Judge

18   came out.

19   BY ATTORNEY DENIKER:

20      Q.   And I just want to make clear, did any of your

21   coaches ever tell you that you couldn't run on the girls

22   team?

23      A.   No.

24      Q.   Did Mr. Mazza ever tell you that you couldn't



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                      Armistead App. 1415
                                                                      137


 1   run on the girls team?

 2       A.       No.

 3       Q.       Did any of your teachers tell you that you

 4   couldn't run on the girls team?

 5       A.       No.

 6       Q.       And did Mrs. Stutler ever tell you that you

 7   couldn't run on the girls team?

 8       A.       There was not a cross-country back then, so I

 9   couldn't run whenever she was my principal, so ---.

10       Q.       And that was when you were in elementary school.

11                 Is that right?

12       A.       Yes.

13       Q.       And that's a good point that you brought up,

14   B        .   There aren't any school sports in elementary

15   school in Harrison County, are there?

16                        ATTORNEY HARTNETT:   Objection to form.

17                        THE WITNESS:   No, you're very limited to

18   them and most of them aren't even in the school.           You

19   have to do them outside of school.

20   BY ATTORNEY DENIKER:

21       Q.       Did you have any school-sponsored sports at

22   Norwood Elementary School?

23       A.       I don't know.     I don't --- yeah, I don't know.

24       Q.       Okay.



                     SARGENT'S COURT REPORTING SERVICE, INC.
                                 (814) 536-8908
                                                      Armistead App. 1416
                                                                      138


 1              Did you try out or participate in any sports

 2   that were run by the school while you were at Norwood?

 3      A.      I --- no.

 4      Q.      And so let me go back and ask you about Mrs.

 5   Stutler.       So it's kind of funny.    You had Mrs. Stutler

 6   as your principal at Norwood for a little bit.

 7              Is that right?

 8      A.      Yes.

 9      Q.      And do you know where she went after she left

10   Norwood?

11      A.      The Board of Education.

12      Q.      She did.     She went to the Central Board Office.

13   And did you know that she's now the Superintendant of

14   Schools?

15      A.      I did not know that.      I just knew she went to

16   the Board of Education.

17      Q.      Well, she's actually your school superintendant

18   now.    And have you had any communications with her since

19   she became superintendant?

20      A.      No.

21      Q.      Well, now you know who your superintendant is.

22   So if you see her at school you can call her

23   Superintendant Stutler now.

24              B       , let me check my notes and see if I have



                     SARGENT'S COURT REPORTING SERVICE, INC.
                                 (814) 536-8908
                                                      Armistead App. 1417
                                                                      139


 1   any other questions.       I think I'm just about done.

 2               B     , did you have any conversations with

 3   anybody that works for the Harrison County Board of

 4   Education, teachers, principals, anybody like that,

 5   coaches, regarding this House Bill 3293?

 6                       ATTORNEY HARTNETT:    Objection to form.

 7                       THE WITNESS:    Could you repeat the

 8   question?

 9   BY ATTORNEY DENIKER:

10      Q.    Sure.       Did you talk with anybody who works for

11   the Harrison County Board of Education or is somehow

12   connected with the Board of Education about House Bill

13   3293?

14      A.    I think I did.       I think I may have.     I'm not

15   sure.   I can't remember her name.        It started with an S,

16   I know that.

17      Q.    Do you know what that --- what the woman you're

18   referring to, do you know what her job was?

19      A.    I do not know.

20      Q.    Was it a teacher or a principal?

21      A.    I don't know that.        I just --- she was at one of

22   our meetings, and I think we may have talked a little

23   bit about that.

24      Q.    And was that one of your Gender Support Plan



                     SARGENT'S COURT REPORTING SERVICE, INC.
                                 (814) 536-8908
                                                       Armistead App. 1418
                                                                       140


 1   meetings?

 2         A.      Yes.

 3         Q.      Okay.

 4                  And was that the one before you were going into

 5   Middle School?

 6         A.      I think.    I can't remember.   I just --- I can't

 7   remember, but I think she either talked about that or

 8   the Gender Support Plan.

 9         Q.      Okay.

10                  Do you remember what she said about House Bill

11   3293?

12         A.      I do not.   Because she may have not talked about

13   it.        She --- because she was there at one of our

14   meetings, so she could have not, but I think she did.

15         Q.      But you don't remember what was said?

16         A.      I don't.

17         Q.      Okay.

18                  Do you remember any conversations with anybody

19   at school or anybody affiliated with the school about

20   House Bill 3293?

21                         ATTORNEY HARTNETT:   Objection, form.

22                         THE WITNESS:   Not that I can think of off

23   the top of my head.

24   BY ATTORNEY DENIKER:



                      SARGENT'S COURT REPORTING SERVICE, INC.
                                  (814) 536-8908
                                                   Armistead App. 1419
                                                                   141


 1      Q.   And B       , I should have clarified.     Do you know

 2   what I'm talking about when I say House Bill 3293?

 3      A.   Yeah, HB-3293.     Yes.

 4      Q.   Okay.

 5            I just wanted to make sure that you knew what I

 6   was talking about.    I thought that you did.

 7            B      , if you had any concerns about how you

 8   were being treated at school, would you feel comfortable

 9   going to talk to Mr. Mazza about that?

10      A.   Yes.    If I was being treated bad, then I would

11   talk to Mr. Mazza.

12      Q.   Would you also feel comfortable going to some of

13   your teachers about that?

14      A.   Yes.

15      Q.   But do you feel that overall all of the teachers

16   and administrators, including your principals at

17   Bridgeport Middle School, have been supportive of your

18   status as a transgender student?

19      A.   Could you repeat the question?

20      Q.   Sure.     And I apologize, it was a long one.       Do

21   you believe that the teachers and administrators, and

22   that would include the principals and the other

23   employees at Bridgeport Middle School, have been

24   supportive of your transgender status?



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                      Armistead App. 1420
                                                                      142


 1      A.     Yes, I think they have been supportive.

 2      Q.     When you were on the cross-country team did you

 3   believe your teammates were supportive of you?

 4      A.     Yes.

 5      Q.     And how about in school, have you had any issues

 6   with other students or problems with students related to

 7   your transgender status?

 8                    ATTORNEY HARTNETT:        Objection to form.

 9                    THE WITNESS:    No.   No.

10                    ATTORNEY DENIKER:     B       , those are all

11   the questions I have for you now.      Thanks so much for

12   your time today.

13                    ATTORNEY HARTNETT:        We can take a break.

14   I think this might be a good time to take a break and

15   then we can come back for questions.

16                    VIDEOGRAPHER:     Okay.     Going off the

17   record.   The current time reads 2:28 p.m.

18   OFF VIDEOTAPE

19                                ---

20   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

21                                ---

22   ON VIDEOTAPE

23                    VIDEOGRAPHER:     We are back on the record.

24   The current time reads 2:42 p.m.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                  Armistead App. 1421
                                                                  143


 1                                --

 2                            EXAMINATION

 3                                ---

 4   BY ATTORNEY HAMMOND:

 5      Q.   Hi, B     .    My name is Kristen Hammond.     And I'm

 6   an attorney with the law firm of Bailey and Wyant.        And

 7   I represent the West Virginia State Board of Education

 8   and the State Superintendant Clayton Burch.     And I just

 9   have I think a few questions for you today.     Do you know

10   what the State Board of Education is?

11      A.   I don't know.

12      Q.   Okay.

13            And do you know or have you ever heard of the

14   West Virginia State Superintendant Clayton Burch?

15      A.   No.

16      Q.   Okay.

17            So I guess since you do not know them, do you

18   have any memory or any recall of maybe talking to

19   anybody at the State level or at the Board of Education

20   level regarding this lawsuit or regarding the House Bill

21   or your sports?   How about we limit it to that?

22      A.   I don't remember if I have or not.

23      Q.   Okay.

24            So you just don't recall.     Could you possibly



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                          Armistead App. 1422
                                                                            144


 1   have talked to somebody?

 2                     ATTORNEY HARTNETT:        Objection to form.

 3                     THE WITNESS:       Could you repeat the

 4   question?

 5   BY ATTORNEY HAMMOND:

 6         Q.   Yes.   I just want to see --- you say you don't

 7   recall talking to anybody.       Do you think that it's a

 8   possibility that you did talk to somebody or you don't

 9   believe that you've talked to anybody?

10         A.   I don't believe I've talked to anybody.

11                     ATTORNEY HAMMOND:        Okay.    Thank you for

12   your time.    I just had a couple of questions, and that's

13   all I have for you today.      Thank you.

14                                  ---

15                             EXAMINATION

16                                  ---

17   BY ATTORNEY DUCAR:

18         Q.   Good afternoon, B         .   I'm Timothy Ducar.        I

19   represent the Intervenor in this case.             I wanted to ask

20   you a question about Exhibit 29.          Do you have that

21   available?

22                     MS. JACKSON:       Give me a second to find

23   it.

24                     ATTORNEY DUCAR:        Yes, that's it.       Can you



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                     Armistead App. 1423
                                                                     145


 1   scroll down just four paragraphs?        Thank you.

 2   BY ATTORNEY DUCAR:

 3      Q.      B      , you had testified earlier that paragraph

 4   that starts with I just want to run, that you had ---

 5   that's a quote from you.

 6              Correct?

 7      A.      Yes.

 8      Q.      I just wanted to know, is that a quote that you

 9   wrote on paper and provided to somebody or wrote on a

10   computer and provided to somebody or did you actually

11   say that with your --- verbally?

12      A.      I said that.

13      Q.      Verbally?

14      A.      Yeah, I said that verbally.

15      Q.      Thank you.     When did you decide you liked

16   running?

17      A.      I've always liked running.      It's from when I

18   could walk, I liked running.

19                      ATTORNEY DUCAR:    We're done with this

20   exhibit, Mr. Court Reporter.       Thank you.

21   BY ATTORNEY DUCAR:

22      Q.      When did you decide you wanted to try out for

23   the girls cross-country team?

24      A.      I've always wanted to do cross-country, so when



                    SARGENT'S COURT REPORTING SERVICE, INC.
                                (814) 536-8908
                                                     Armistead App. 1424
                                                                     146


 1   I had the chance I decided I wanted to.

 2         Q.   And did you know about it because your brothers

 3   ran?

 4         A.   Yes.

 5         Q.   Did your mom encourage you to try out for the

 6   girls team?

 7                     ATTORNEY HARTNETT:     Objection to form.

 8                     THE WITNESS:    Yes.   Yes, she encouraged

 9   me.

10   BY ATTORNEY DUCAR:

11         Q.   And these try-outs were last summer.

12              Correct?

13         A.   Yes.

14         Q.   Going into sixth grade?

15         A.   Yes.

16         Q.   Did your dad encourage you to try out for the

17   girls team?

18         A.   Yes.

19         Q.   Earlier you testified that you did well in

20   cross-country.     Did you have any rankings?

21                     ATTORNEY HARTNETT:     Object to the form.

22                     THE WITNESS:    I --- could you rephrase

23   the question?

24   BY ATTORNEY DUCAR:



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1425
                                                                    147


 1      Q.   Do you have any idea how well you did on your

 2   team as an individual?

 3      A.   I don't know.

 4      Q.   Do they keep track of individual times and ---?

 5      A.   I think they put it on a website.

 6      Q.   Is that something you have ever seen?

 7      A.   My mom looks at it, but I don't.

 8      Q.   Do you have any indication whether or not you

 9   were one of the better runners or not one of the better

10   runners on the team?

11                     ATTORNEY HARTNETT:    Objection to form.

12                     THE WITNESS:    I don't know.   I think I

13   was good.

14   BY ATTORNEY DUCAR:

15      Q.   Do you want to run cross-country again next

16   year?

17      A.   Yes.

18      Q.   Track tryouts are coming up in the spring.

19               Correct?

20      A.   Yes.

21      Q.   And you intend to try out for track?

22      A.   Yes.

23      Q.   Do you want to compete in any other sports

24   besides track and cross-country?



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                    Armistead App. 1426
                                                                    148


 1      A.   Not really.

 2      Q.   Why not?

 3      A.   I don't find any other sport really interesting

 4   besides running.

 5      Q.   You said trusting?

 6      A.   Interesting.

 7      Q.   What does that mean?

 8      A.   What is interesting?

 9      Q.   Oh, interesting.     I misheard you.     Thank you.

10   And I think I misheard you on something else, so I'm

11   going to re-ask the question.    Do you like to compete?

12                   ATTORNEY HARTNETT:    Objection to the

13   form.

14                   THE WITNESS:    I'm not a really

15   competitive person.    I just play a sport because I think

16   it's fun.

17   BY ATTORNEY DUCAR:

18      Q.   Do you consider yourself a good athlete?

19      A.   Yes.

20      Q.   What makes you a good athlete?

21      A.   I'm good at running, good at the sports I do.

22      Q.   Do you try hard to win?

23      A.   Yes.   Well --- yes.

24      Q.   Have you talked to anybody else about playing



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                   Armistead App. 1427
                                                                   149


 1   other sports other than cross-country and track?

 2      A.     I've talked to my mom about playing other

 3   sports.

 4      Q.     What sports have you talked to her about?

 5      A.     Volleyball and maybe basketball.

 6      Q.     And describe for me what you guys talked about

 7   as far as volleyball and basketball?

 8      A.     We talked about trying new sports.

 9      Q.     When did you two talk about those subjects?

10      A.     I can't remember.

11      Q.     Was it in the last six months or ---?

12      A.     I don't --- I can't remember.

13      Q.     Did you bring up the idea of playing volleyball

14   to her?

15      A.     Yes.

16      Q.     And what did she say?

17      A.     That's a good idea.

18      Q.     Did she say that about basketball as well?

19      A.     I think she may have brought up basketball, but

20   I can't remember.   It may have been me or her.

21      Q.     Did you feel like she was encouraging you to

22   play volleyball?

23      A.     She liked the idea.     So I wouldn't say

24   encouraged, but she thought it was a good idea.



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                  Armistead App. 1428
                                                                  150


 1      Q.     Did she think playing basketball was a good

 2   idea?

 3                   ATTORNEY HARTNETT:    Objection to form.

 4                   THE WITNESS:    I think so, yes.

 5   BY ATTORNEY DUCAR:

 6      Q.     And as you sit here right now, you don't have

 7   any plans to go out for a volleyball or a basketball

 8   team.

 9             Correct?

10      A.     No, not right now.   No.

11      Q.     Do you foresee yourself running on the

12   cross-country team or on the track team later in high

13   school?

14                   ATTORNEY HARTNETT:    Objection to form.

15                   THE WITNESS:    Yes, yes.

16   BY ATTORNEY DUCAR:

17      Q.     Do you see yourself running on the cross-country

18   team or track team if you ever go to college on a

19   college team?

20                   ATTORNEY HARTNETT:    Same objection.

21   Objection to form.

22                   THE WITNESS:    Maybe, but I haven't

23   thought that far ahead.

24   BY ATTORNEY DUCAR:



                 SARGENT'S COURT REPORTING SERVICE, INC.
                             (814) 536-8908
                                                    Armistead App. 1429
                                                                    151


 1      Q.   Sure.      When was the first time you remember

 2   thinking that you wanted to be a girl?

 3                     ATTORNEY HARTNETT:    Objection to form.

 4                     THE WITNESS:    I can't remember.

 5   BY ATTORNEY DUCAR:

 6      Q.   Do you remember the first time you talked to

 7   somebody about the fact that you wanted to become a

 8   girl?

 9                     ATTORNEY HARTNETT:    Objection.

10                     THE WITNESS:    I also can't --- I don't

11   remember.

12   BY ATTORNEY DUCAR:

13      Q.   There's a statement in the record that indicates

14   you feel like a girl.     What does feeling like a girl

15   mean?

16                     ATTORNEY HARTNETT:    Objection to form.

17                     THE WITNESS:    I just know that I want to

18   be a girl and I feel like a girl inside.

19   BY ATTORNEY DUCAR:

20      Q.   You picked out the name B           for yourself.

21               Correct?

22      A.   Yes.

23      Q.   When did you do that?

24      A.   Whenever I transitioned.



                   SARGENT'S COURT REPORTING SERVICE, INC.
                               (814) 536-8908
                                                 Armistead App. 1430
                                                                 152


 1      Q.   Going into fourth grade?

 2      A.   Yes.

 3      Q.   How did you pick that name?

 4      A.   I've always liked it.

 5      Q.   Me, too.     I have a daughter named B       .

 6            Did anyone else help you pick that name?

 7      A.   I think my friends liked that name, too.

 8      Q.   When did you start wearing girl's clothing at

 9   home?

10      A.   I mean, I've always wanted my mom's clothes, so

11   I really started dressing like that maybe at home, third

12   grade, the year of third grade.

13      Q.   Did you ask your parents if you could do it or

14   did you just do it?

15      A.   I just did it.

16      Q.   What was their reaction?

17      A.   Positive.

18      Q.   When did you first ask your parents to refer to

19   you as she or her?

20      A.   When I transitioned.

21      Q.   Going into fourth grade?

22      A.   Yes.

23      Q.   When did you start presenting as a girl in other

24   ways at home?   I guess that would be makeup, other ways



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                   Armistead App. 1431
                                                                   153


 1   besides clothing.

 2                      ATTORNEY HARTNETT:   Objection to form.

 3                      THE WITNESS:   Could you restate the

 4   question, please?

 5   BY ATTORNEY DUCAR:

 6      Q.      Yeah.   I'll withdraw that question.

 7              When did you start presenting as a girl at

 8   home?

 9      A.      It started when I was really young.

10                      ATTORNEY HARTNETT:   Objection.

11                      THE WITNESS:   But I fully started wearing

12   clothes on my own, not wearing my mother's, around the

13   third-grade year.

14   BY ATTORNEY DUCAR:

15      Q.      Do you wear jewelry?

16      A.      Not a lot.   I used to wear earrings but not

17   anymore.

18      Q.      Do you wear makeup?

19      A.      No.

20      Q.      Are there other ways you presented at home as a

21   girl besides dressing as a girl?

22      A.      Well, I always wanted girly --- a girly room and

23   girly items.

24      Q.      And you started wearing girls clothing in fourth



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                     Armistead App. 1432
                                                                     154


 1   grade.

 2              Correct?

 3      A.      Yes.

 4      Q.      Do you recall the first time you saw a doctor or

 5   a therapist about your desire to be a girl?

 6      A.      I can't remember.

 7      Q.      How did you first learn about puberty blocking

 8   treatment?

 9      A.      Could you repeat the question, please?

10      Q.      How did you first learn about puberty blocking

11   treatment?

12      A.      My mom.    My mom told me about it whenever I

13   transitioned.

14      Q.      And is that something that you wanted to do?

15      A.      Yes.

16      Q.      At some point you wanted to start hormone

17   therapy?

18      A.      Yes.

19      Q.      Do you know what that means?

20      A.      Getting female hormones.

21      Q.      B      , do you ever feel anxious?

22                      ATTORNEY HARTNETT:    Objection to form.

23                      ATTORNEY DUCAR:    Let me restate that.

24   That's fair.



                    SARGENT'S COURT REPORTING SERVICE, INC.
                                (814) 536-8908
                                                   Armistead App. 1433
                                                                   155


 1   BY ATTORNEY DUCAR:

 2      Q.   Does the fact that you are transitioning make

 3   you feel anxious?

 4      A.   No.

 5      Q.   Does the fact that you're part of this lawsuit

 6   make you feel anxious?

 7                  ATTORNEY HARTNETT:       Objection to form.

 8                  THE WITNESS:    No.

 9   BY ATTORNEY DUCAR:

10      Q.   Do you know what the word anxious means?

11      A.   Nervous.

12      Q.   Do you know what gender dysphoria is?

13      A.   Yes.

14

15

16

17

18

19                  ATTORNEY DUCAR:       Thank you, B     .   I

20   have no further questions for you today.

21                  ATTORNEY CAPEHART:       We have no further

22   questions at this time.   We're just going to note as we

23   have in the last two depositions the possibility of

24   having to revisit something.   If for some reason some



                SARGENT'S COURT REPORTING SERVICE, INC.
                            (814) 536-8908
                                                     Armistead App. 1434
                                                                     156


 1   medical records would could to light, although I

 2   understand that's unlikely, we're still noting that, but

 3   you would object to that?

 4                    ATTORNEY HARTNETT:     Yes, we object, but

 5   we appreciate you making the record you want to make.

 6                    ATTORNEY CAPEHART:     Thank you.

 7                    ATTORNEY HARTNETT:     I'm sorry.     Just on

 8   that point, though, I mean, is there any specific item

 9   that you lack today that you need to make a record?

10                    ATTORNEY CAPEHART:     I think our concern

11   has been the possibility of new records that might be

12   produced following the depositions.

13                    ATTORNEY HARTNETT:     Okay.   Thank you.

14                    ATTORNEY CAPEHART:     Thank you.

15                    ATTORNEY HARTNETT:     I mean, is anyone

16   else going to have any further questioning?        Sorry.

17   Just for the witness's awareness, we're confirming

18   whether or not there will be additional questioning from

19   any Defendant.

20                    ATTORNEY ROGERS:     I don't have any

21   further questions.

22                    ATTORNEY DENIKER:     I have no further

23   questions.   Thank you again for your time today, B             .

24                    ATTORNEY HAMMOND:     I have no further



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                       Armistead App. 1435
                                                                       157


 1   questions.   Thank you.

 2                    ATTORNEY DUCAR:     I have nothing further.

 3   Thank you.

 4                    ATTORNEY HARTNETT:        And we also have no

 5   questions for the witness today.

 6                    VIDEOGRAPHER:     Okay.     If there are no

 7   further questions, that concludes today's deposition.

 8   And the current time reads 3:01 p.m.

 9                    COURT REPORTER:     Is it reading and

10   signing for your client?

11                    ATTORNEY HARTNETT:        Yes.   I'm sorry.     I

12   meant to say that on the record.

13                             * * * * * * *

14            VIDEOTAPED VIDEOCONFERENCE DEPOSITION

15                      CONCLUDED AT 3:01 P.M.

16                             * * * * * * *

17

18

19

20

21

22

23

24



                  SARGENT'S COURT REPORTING SERVICE, INC.
                              (814) 536-8908
                                                    Armistead App. 1436



                                                          158
 1   STATE OF WEST VIRGINIA    )

 2                         CERTIFICATE

 3               I, Nicole Montagano, a Notary Public in

 4   and for the State of West Virginia, do hereby

 5   certify:

 6               That the witness whose testimony appears

 7   in the foregoing deposition, was duly sworn by me

 8   on said date, and that the transcribed deposition

 9   of said witness is a true record of the testimony

10   given by said witness;

11               That the proceeding is herein recorded

12   fully and accurately;

13               That I am neither attorney nor counsel

14   for, nor related to any of the parties to the

15   action in which these depositions were taken, and

16   further that I am not a relative of any attorney

17   or counsel employed by the parties hereto, or

18   financially interested in this action.

19               I certify that the attached transcript
20   meets the requirements set forth within article
21   twenty-seven, chapter forty-seven of the West
22   Virginia.
23

24                                  Nicole Montagano,
25                                       Court Reporter
                                                                                     Armistead App. 1437
                                                                                 CONFIDENTIAL


                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                             Plaintiff,

                       v.                                  Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                              Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
                                                           PLAINTIFF’S RESPONSES AND
 OF EDUCATION, WEST VIRGINIA
                                                           OBJECTIONS TO DEFENDANT-
 SECONDARY SCHOOL ACTIVITIES
                                                           INTERVENOR LAINEY
 COMMISSION, W. CLAYTON BURCH in his
                                                           ARMISTEAD’S FIRST SET OF
 official capacity as State Superintendent, DORA
                                                           REQUESTS FOR ADMISSION
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


       Pursuant to Federal Rules of Civil Procedure 33 and 36 and the applicable Local Rules of

the Southern District of West Virginia and this Court, Plaintiff B.P.J. by her next friend and

mother, Heather Jackson, responds as follows to Defendant-Intervenor Lainey Armistead’s

(“Defendant-Intervenor”) First Set of Requests for Admission (“Requests”):

                                   GENERAL RESPONSES

   1. B.P.J.’s response to the Requests is made to the best of B.P.J.’s present knowledge,

       information, and belief. This response is at all times subject to such additional or different

       information that discovery or further investigation may disclose and, while based on the

       present state of B.P.J.’s recollection, is subject to such refreshing of recollection, and such

                                                 1
                                                                                   Armistead App. 1438
                                                                               CONFIDENTIAL


       additional knowledge of facts, as may result from B.P.J.’s further discovery or

       investigation.

   2. B.P.J. reserves the right to make any use of, or to introduce at any hearing and at trial,

       information and/or documents responsive to the Requests but discovered subsequent to the

       date of this response, including, but not limited to, any information or documents obtained

       in discovery herein.

   3. B.P.J. reserves all objections or other questions as to the competency, relevance,

       materiality, privilege, or admissibility as evidence in any subsequent proceeding in or trial

       of this or any other action for any purpose whatsoever of this response and any document

       or thing identified or provided in response to the Requests.

   4. B.P.J. reserves the right to object on any ground at any time to such other or supplemental

       Requests as Defendant-Intervenor may at any time propound involving or relating to the

       subject matter of these Requests.

   5. B.P.J. is willing to meet and confer with Defendant-Intervenor regarding any response or

       objection to the Requests.

                                    GENERAL OBJECTIONS

       B.P.J. makes the following general objections, whether or not separately set forth in

response to each Request, to each and every Definition, Instruction, and Request made in

Defendant-Intervenor’s First Set of Requests for Admission:

   1. B.P.J. objects generally to all Definitions, Instructions, and Requests inclusive, insofar as

       each such Request seeks information protected by the attorney-client privilege, the work

       product doctrine, or any other applicable privilege. Such information shall not be produced

       in response to the Requests, and any inadvertent production thereof shall not be deemed a



                                                2
                                                                               Armistead App. 1439
                                                                            CONFIDENTIAL


   waiver of any privilege or right with respect to such information or of any work product

   doctrine that may attach thereto.

2. B.P.J. objects to all Definitions, Instructions, and Requests inclusive, to the extent they

   purport to enlarge, expand, or alter in any way the plain meaning and scope of any specific

   request on the ground that such enlargement, expansion, or alteration renders said Request

   vague, ambiguous, unintelligible, unduly broad, and uncertain.

3. B.P.J. objects to all Definitions, Instructions, and Requests inclusive, to the extent they

   seek information or materials not currently in B.P.J.’s possession, custody, or control, or

   refer to persons, entities, or events not known to B.P.J., on the grounds that such

   Instructions, Definitions, or Requests seek to require more of B.P.J. than any obligation

   imposed by law, would subject B.P.J. to unreasonable and undue burden and expense, and

   would seek to impose upon B.P.J. an obligation to investigate or discover information or

   materials from third parties or services who are equally accessible to Defendant-Intervenor.

4. B.P.J.’s failure to object to the Requests on a particular ground shall not be construed as a

   waiver of her right to object on that ground or any additional ground at any time.

5. B.P.J. objects to the number of Requests as burdensome, cumulative, and not proportional

   to the needs of the case.

6. B.P.J. objects to Requests Nos. 13 through 61 because they do not seek “admissions for

   the record of facts already known,” Wigler v. Elec. Data Sys. Corp., 108 F.R.D. 204, 206

   (D. Md. 1985), but instead seek admissions to hypothetical questions regarding the

   treatment of various endocrine conditions not at issue in this case and/or that have not yet

   been the subject of expert testimony. B.P.J. has attempted to respond to the Requests to




                                             3
                                                                                  Armistead App. 1440
                                                                              CONFIDENTIAL


       the best of her ability, but reserves the right to supplement, amend, or withdraw responses

       in light of additional facts learned during expert discovery.

       SPECIFIC OBJECTIONS AND RESPONSES TO DOCUMENT REQUESTS

       Without waiving or limiting in any manner any of the foregoing General Objections, but

rather incorporating them into each of the following responses to the extent applicable, B.P.J.

responds to the specific requests of Defendant-Intervenor’s First Set of Requests for Admission as

follows:

Request for Admission No. 1:

   1. Admit that B.P.J. has chromosomes characteristic of the male sex (i.e. XY chromosomes).

B.P.J.’s Response to Request for Admission No. 1:

       B.P.J. objects to the phrase “chromosomes characteristic of the male sex” as vague, and

interprets the phrase to mean “has XY chromosomes.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that B.P.J. has XY chromosomes.

Request for Admission No. 2:

   2. Admit that, but for the            -pharmaceutical intervention B.P.J. has received, B.P.J.

       would have hormones—including testosterone levels—characteristic of the male sex.

B.P.J.’s Response to Request for Admission No. 2:

       B.P.J. objects to the phrase “characteristic of” as vague and construes the phrase to mean

“typical of.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

admit or deny this request for admission because B.P.J. has not gone through puberty and cannot




                                                 4
                                                                                       Armistead App. 1441
                                                                                CONFIDENTIAL


determine what her hormones level would have been if she had not received puberty blocking

medication.

Request for Admission No. 3:

   3. Admit that B.P.J.’s internal and external reproductive organs are characteristic of the male

       sex.

B.P.J.’s Response to Request for Admission No. 3:

       B.P.J. objects to the phrase “characteristic of” as vague and construes the phrase to mean

“typical of.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that B.P.J.’s internal and external reproductive organs are typical of the male sex.

Request for Admission No. 4:

   4. Admit that B.P.J. is a biological male.

B.P.J.’s Response to Request for Admission No. 4:

       B.P.J. objects to the phrase “is a biological male” as vague and scientifically inaccurate,

and construes the phrase to mean “had a male sex assigned at birth.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that B.P.J. had a male sex assigned at birth.

Request for Admission No. 5:

   5. Admit there are “benefits associated with sex-separated school athletics.” (First Am.

       Compl. ¶ 39).

B.P.J.’s Response to Request for Admission No. 5:

       B.P.J. admits there are benefits associated with school athletics, including when such

athletics are provided in a sex-separated manner.



                                                 5
                                                                                  Armistead App. 1442
                                                                               CONFIDENTIAL


Request for Admission No. 6:

   6. Admit that one of the “benefits associated with sex-separated school athletics” (First Am.

       Compl. ¶ 39) is separation based on sex-related “physiological characteristics associated

       with athletic performance” (Id. ¶ 40).

B.P.J.’s Response to Request for Admission No. 6:

       Deny.

Request for Admission No. 7:

   7. Admit there are post-pubescent, high-school-aged male-identifying biological males who

       cannot run a 5,000 meter track race as quickly as some post-pubescent, high-school aged

       female-identifying biological females.

B.P.J.’s Response to Request for Admission No. 7:

       B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

inaccurate and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“female-identifying biological females” as vague and scientifically inaccurate and interprets the

phrase to mean “cisgender girls.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that there are post-pubescent, high-school-aged cisgender boys who cannot run a 5,000 meter track

race as quickly as some post-pubescent, high-school aged cisgender girls.

Request for Admission No. 8:

   8. You have alleged that “[g]irls who are transgender and who do go through some or all of

       their endogenous puberty can receive gender-affirming hormone therapy that reduces their

       circulating testosterone levels and mitigates and often eliminates any athletic benefit from

       having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that such



                                                6
                                                                                   Armistead App. 1443
                                                                                CONFIDENTIAL


       “gender affirming hormone therapy that reduces circulating testosterone levels” to the

       levels typical of cisgender females does not necessarily completely “eliminate[] any

       athletic benefit from having gone through endogenous [male] puberty.”

B.P.J.’s Response to Request for Admission No. 8:

       Deny.

Request for Admission No. 9:

   9. You have alleged that “[g]irls who are transgender and who do go through some or all of

       their endogenous puberty can receive gender-affirming hormone therapy that reduces their

       circulating testosterone levels and mitigates and often eliminates any athletic benefit from

       having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female

       identifying biological males who go through endogenous puberty and do not receive

       pharmaceutical or surgical intervention have, at the “population level” (as this term is used

       in First Am. Compl. ¶ 40), athletic performance advantages over female-identifying

       biological females of the same age who have received no pharmaceutical or surgical

       intervention.

B.P.J.’s Response to Request for Admission No. 9:

       B.P.J. objects to the phrase “female-identifying biological males” as vague and

scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

and interprets the phrase to mean “cisgender girls.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

admit or deny this request for admission because there have not been sufficient studies to determine

whether there are average differences in performance between girls who are transgender and have



                                                 7
                                                                                   Armistead App. 1444
                                                                                CONFIDENTIAL


gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

group compared to cisgender girls as a group including in light of other possible factors.

Request for Admission No. 10:

   10. You have alleged that “[g]irls who are transgender and who do go through some or all of

       their endogenous puberty can receive gender-affirming hormone therapy that reduces their

       circulating testosterone levels and mitigates and often eliminates any athletic benefit from

       having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female

       identifying biological males who go through endogenous puberty and do not receive

       pharmaceutical or surgical intervention have, at the “population level” (as this term is used

       in First Am. Compl. ¶ 40), athletic advantages relevant to performance in track and cross-

       country events over female-identifying biological females of the same age who have

       received no pharmaceutical or surgical intervention.

B.P.J.’s Response to Request for Admission No. 10:

       B.P.J. objects to the phrase “female-identifying biological males” as vague and

scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

and interprets the phrase to mean “cisgender girls.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

admit or deny this request for admission because there have not been sufficient studies to determine

whether there are average differences in performance between girls who are transgender and have

gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

group compared to cisgender girls as a group including in light of other possible factors.

Request for Admission No. 11:



                                                 8
                                                                                   Armistead App. 1445
                                                                                CONFIDENTIAL


   11. You have alleged that “[g]irls who are transgender and who do go through some or all of

       their endogenous puberty can receive gender-affirming hormone therapy that reduces their

       circulating testosterone levels and mitigates and often eliminates any athletic benefit from

       having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female

       identifying biological males who go through endogenous puberty and do not receive

       pharmaceutical or surgical intervention more often than not have athletic performance

       advantages over female-identifying biological females of the same age who have received

       no pharmaceutical or surgical intervention.

B.P.J.’s Response to Request for Admission No. 11:

       B.P.J. objects to the phrase “female-identifying biological males” as vague and

scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

and interprets the phrase to mean “cisgender girls.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

admit or deny this request for admission because there have not been sufficient studies to determine

whether there are average differences in performance between girls who are transgender and have

gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

group compared to cisgender girls as a group including in light of other possible factors.

Request for Admission No. 12:

   12. You have alleged that “[g]irls who are transgender and who do go through some or all of

       their endogenous puberty can receive gender-affirming hormone therapy that reduces their

       circulating testosterone levels and mitigates and often eliminates any athletic benefit from

       having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female



                                                 9
                                                                                   Armistead App. 1446
                                                                                CONFIDENTIAL


       identifying biological males who go through endogenous puberty and do not receive

       pharmaceutical or surgical intervention more often than not have athletic advantages

       relevant to performance in track and cross-country events over female-identifying

       biological females of the same age who have received no pharmaceutical or surgical

       intervention.

B.P.J.’s Response to Request for Admission No. 12:

       B.P.J. objects to the phrase “female-identifying biological males” as vague and

scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

and interprets the phrase to mean “cisgender girls.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

admit or deny this request for admission because there have not been sufficient studies to determine

whether there are average differences in performance between girls who are transgender and have

gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

group compared to cisgender girls as a group including in light of other possible factors.

Request for Admission No. 13:

   13. Admit there are biological males who experience central precocious puberty.

B.P.J.’s Response to Request for Admission No. 13:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

there are people with a male sex assigned at birth who experience central precocious puberty.

Request for Admission No. 14:



                                                10
                                                                                    Armistead App. 1447
                                                                                CONFIDENTIAL


   14. Admit that Histrelin is a medically accepted treatment for central precocious puberty.

B.P.J.’s Response to Request for Admission No. 14:

       Admit.

Request for Admission No. 15:

   15. Admit that Histrelin is used to treat biological males with idiopathic short stature.

B.P.J.’s Response to Request for Admission No. 15:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

phrase “is used to treat” and interprets the phrase to mean “is a medically accepted treatment for.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

that Histrelin is a medically accepted treatment for people with a male sex assigned at birth with

idiopathic short stature.

Request for Admission No. 16:

   16. Admit that Histrelin is used to treat biological males with growth hormone deficiency.

B.P.J.’s Response to Request for Admission No. 16:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

phrase “is used to treat” and interprets the phrase to mean “is a medically accepted treatment for.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

that Histrelin is a medically accepted treatment for people with a male sex assigned at birth with

growth hormone deficiency.

Request for Admission No. 17:

   17. Admit there are biological males who experience delayed puberty.



                                                11
                                                                                   Armistead App. 1448
                                                                                CONFIDENTIAL


B.P.J.’s Response to Request for Admission No. 17:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

there are people with a male sex assigned at birth who experience delayed puberty.

Request for Admission No. 18:

   18. Admit there are biological males who experience hypogonadism.

B.P.J.’s Response to Request for Admission No. 18:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

there are people with a male sex assigned at birth who experience hypogonadism.

Request for Admission No. 19:

   19. Admit there are biological males with medical conditions that inhibit testosterone

       production.

B.P.J.’s Response to Request for Admission No. 19:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.”

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

there are people with a male sex assigned at birth with medical conditions that inhibit testosterone

production.

Request for Admission No. 20:




                                                12
                                                                                    Armistead App. 1449
                                                                                CONFIDENTIAL


   20. Admit there are middle-school-aged biological males who, because of delayed puberty,

       have circulating testosterone comparable to that of biological females of their same age.

B.P.J.’s Response to Request for Admission No. 20:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

vague. B.P.J. objects to this request as vague with respect to whether the phrase “comparable to

that of biological females of their same age” refers to typical circulating testosterone levels for

people who had a female sex assigned at birth as a group or to the circulating testosterone levels

of at least one person with a female sex assigned at birth. B.P.J. also objects to this request as

vague because it does not specify whether the people with a female sex assigned at birth at issue

have gone through puberty even though cisgender girls on average typically begin puberty at a

younger age than cisgender boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that it is possible at least one middle-school-aged person who was assigned a male sex at birth and

who had delayed puberty likely has the same levels of circulating testosterone as at least one person

of the same age who was assigned a female sex at birth.

Request for Admission No. 21:

   21. Admit there are high-school-aged biological males who, because of delayed puberty, have

       circulating testosterone comparable to that of biological females of their same age.

B.P.J.’s Response to Request for Admission No. 21:




                                                 13
                                                                                     Armistead App. 1450
                                                                                 CONFIDENTIAL


       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

vague. B.P.J. also objects to this request as vague with respect to whether the phrase “comparable

to that of biological females of their same age” refers to typical circulating testosterone levels for

people with a female sex assigned at birth as a group or to the circulating testosterone levels of at

least one person who was assigned a female sex at birth.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that it is possible at least one high-school-aged person who was assigned a male sex at birth and

who had delayed puberty likely has the same levels of circulating testosterone as at least one person

of the same age who was assigned a female sex at birth.

Request for Admission No. 22:

   22. Admit there are middle-school-aged biological males who, because of hypogonadism, have

       circulating testosterone comparable to that of biological females of their same age.

B.P.J.’s Response to Request for Admission No. 22:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

vague. B.P.J. also objects to this request as vague with respect to whether the phrase “comparable

to that of biological females of their same age” refers to typical circulating testosterone levels for

people who are assigned a female sex at birth as a group or to the circulating testosterone levels of



                                                 14
                                                                                     Armistead App. 1451
                                                                                 CONFIDENTIAL


at least one person who was assigned a female sex at birth. B.P.J. also objects to this request as

vague because it does not specify whether the people assigned a female sex at births at issue have

gone through puberty even though girls on average typically begin puberty at a younger age than

boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that it is possible at least one middle-school-aged person who was assigned a male sex at birth and

who has hypogonadism likely has the same levels of circulating testosterone as at least one person

of the same age who was assigned a female sex at birth.

Request for Admission No. 23:

   23. Admit there are high-school-aged biological males who, because of hypogonadism, have

       circulating testosterone comparable to that of biological females of their same age.

B.P.J.’s Response to Request for Admission No. 23:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

vague. B.P.J. also objects to this request as vague with respect to whether the phrase “comparable

to that of biological females of their same age” refers to typical circulating testosterone levels for

cisgender girls as a group or to the circulating testosterone levels of at least one person with a

female sex assigned at birth.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that it is possible at least one high-school-aged person who was assigned a male sex at birth and




                                                 15
                                                                                     Armistead App. 1452
                                                                                 CONFIDENTIAL


who had delayed puberty likely has the same levels of circulating testosterone as at least one person

of the same age who was assigned a female sex at birth.

Request for Admission No. 24:

   24. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, B.P.J. is similarly situated to male-identifying biological

       males of the same age who have received the same puberty blocking treatment as B.P.J

B.P.J.’s Response to Request for Admission No. 24:

       B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J. to make

the counterfactual assumption that there are cisgender boys of the same age as B.P.J. who have

received the same puberty blocking treatment as B.P.J.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 25:

   25. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, B.P.J. is similarly situated to male-identifying biological males of

       the same age who have received the same puberty blocking treatment as B.P.J.



                                                 16
                                                                                     Armistead App. 1453
                                                                                 CONFIDENTIAL


B.P.J.’s Response to Request for Admission No. 25:

       B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J. to make

the counterfactual assumption that there are cisgender boys of the same age as B.P.J. who have

received the same puberty blocking treatment as B.P.J.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that B.P.J. likely has the same level of circulating testosterone as cisgender boys who have not yet

begun puberty but denies that they are similarly situated for purposes of Title IX or the Equal

Protection Clause.

Request for Admission No. 26:

   26. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, B.P.J. is similarly situated to biological male students of

       the same age who have received the same puberty blocking treatment as B.P.J., regardless

       of the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 26:

       B.P.J. objects to the phrase “biological male students” as vague and scientifically

inaccurate, and interprets the phrase to mean “students with a male sex assigned at birth.” B.P.J.

objects to the phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it

requires B.P.J. to make the counterfactual assumption that there are cisgender boys of the same

age as B.P.J. who have received the same puberty blocking treatment as B.P.J.



                                                 17
                                                                                    Armistead App. 1454
                                                                                CONFIDENTIAL


       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 27:

   27. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, B.P.J. is similarly situated to biological male students of the same

       age who have received the same puberty blocking treatment as B.P.J., regardless of the

       students’ gender identity.

B.P.J.’s Response to Request for Admission No. 27:

       B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

interprets the phrase to mean “people who were assigned a male sex at birth.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

to make the counterfactual assumption that there are cisgender boys of the same age as B.P.J. who

have received the same puberty blocking treatment as B.P.J.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that B.P.J. likely has the same level of circulating testosterone as other people who were assigned

a male sex at birth who have not begun puberty but denies that they are similarly situated regardless

of gender identity for purposes of Title IX or the Equal Protection Clause.

Request for Admission No. 28:

   28. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school



                                                 18
                                                                                    Armistead App. 1455
                                                                                CONFIDENTIAL


       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, middle school male-identifying biological male students

       who received puberty blocking treatment that effectively delayed male puberty are

       similarly situated to middle school female-identifying biological females of the same age

       who received no puberty blocking treatment.

B.P.J.’s Response to Request for Admission No. 28:

       B.P.J. objects to the phrase “male-identifying biological male students” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the

phrase “female-identifying biological females” as vague and scientifically inaccurate, and

interprets the phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as

vague. B.P.J. also objects to this request as vague because it does not specify whether the cisgender

girls at issue have gone through puberty even though girls on average typically begin puberty at a

younger age than boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 29:

   29. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, middle school male-identifying male students who received puberty

       blocking treatment that effectively delayed male puberty are similarly situated to middle




                                                 19
                                                                                    Armistead App. 1456
                                                                                CONFIDENTIAL


       school female-identifying females of the same age who received no puberty blocking

       treatment.

B.P.J.’s Response to Request for Admission No. 29:

       B.P.J. objects to the phrase “male-identifying biological male students” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the

phrase “female-identifying biological females” as vague and scientifically inaccurate, and

interprets the phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as

vague. B.P.J. also objects to this request as vague because it does not specify whether the cisgender

girls at issue have gone through puberty even though girls on average typically begin puberty at a

younger age than boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 30:

   30. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, biological male middle school students, regardless of

       gender identity, who received puberty blocking treatment that effectively delayed male

       puberty are similarly situated to middle school female-identifying females of the same age

       who received no puberty blocking treatment.

B.P.J.’s Response to Request for Admission No. 30:

       B.P.J. objects to the phrase “biological male middle school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “students with a male sex assigned at



                                                 20
                                                                                     Armistead App. 1457
                                                                                 CONFIDENTIAL


birth.”    B.P.J. objects to the phrase “female-identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 31:

    31. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

          cisgender boys with respect to physiological characteristics associated with athletic

          performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

          “physiological characteristics associated with athletic performance” relevant to running

          track or cross-country, biological male middle school students, regardless of gender

          identity, who received puberty blocking treatment that effectively delayed male puberty

          are similarly situated to female-identifying females of the same age who received no

          puberty blocking treatment.

B.P.J.’s Response to Request for Admission No. 31:

          B.P.J. objects to the phrase “biological male middle school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “students with a male sex assigned at

birth.”    B.P.J. objects to the phrase “female-identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. also objects to this request as vague because it does

not specify whether the cisgender girls at issue have gone through puberty even though girls on

average typically begin puberty at a younger age than boys on average.




                                                  21
                                                                                   Armistead App. 1458
                                                                                CONFIDENTIAL


       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 32:

   32. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

       separated school athletic teams, high school male-identifying male students who received

       puberty blocking treatment that effectively delayed male puberty are similarly situated to

       high school female-identifying females of the same age who received no puberty blocking

       or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 32:

       B.P.J. objects to the phrase “male-identifying male students” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“female-identifying biological females” as vague and scientifically inaccurate, and interprets the

phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague. B.P.J.

objects to this request to the extent it requires B.P.J. to make the counterfactual assumption that

there are cisgender boys in high school who receive puberty blocking treatment.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 33:

   33. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related



                                                22
                                                                                   Armistead App. 1459
                                                                                CONFIDENTIAL


       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, high school male-identifying male students who received puberty

       blocking treatment that effectively delayed male puberty are similarly situated to high

       school female-identifying females of the same age who received no puberty blocking or

       other hormone therapy.

B.P.J.’s Response to Request for Admission No. 33:

       B.P.J. objects to the phrase “male-identifying male students” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“female-identifying biological females” as vague and scientifically inaccurate, and interprets the

phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague. B.P.J.

objects to this request to the extent it requires B.P.J. to make the counterfactual assumption that

there are cisgender boys in high school who receive puberty blocking treatment.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 34:

   34. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, biological male high school students, regardless of gender

       identity, who received puberty blocking treatment that effectively delayed male puberty

       are similarly situated to high school female-identifying females of the same age who

       received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 34:



                                                23
                                                                                   Armistead App. 1460
                                                                                CONFIDENTIAL


       B.P.J. objects to the phrase “biological male high school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it

requires B.P.J. to make the counterfactual assumption that there are cisgender boys in high school

who receive puberty blocking treatment.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 35:

   35. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, biological male high school students, regardless of gender identity,

       who received puberty blocking treatment that effectively delayed male puberty are

       similarly situated to high school female-identifying females of the same age who received

       no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 35:

       B.P.J. objects to the phrase “biological male high school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.



                                                24
                                                                                   Armistead App. 1461
                                                                                CONFIDENTIAL


objects to the phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it

requires B.P.J. to make the counterfactual assumption that there are cisgender boys in high school

who receive puberty blocking treatment.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 36:

   36. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

       separated school athletic teams, B.P.J. is not similarly situated to female-identifying

       biological male students of the same age who have not received any form of puberty

       blocking or other hormone therapy

B.P.J.’s Response to Request for Admission No. 36:

       B.P.J. objects to the phrase “female-identifying biological male students” as vague and

scientifically inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 37:

   37. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running



                                                25
                                                                                   Armistead App. 1462
                                                                               CONFIDENTIAL


       track or cross-country, B.P.J. is not similarly situated to female-identifying biological

       males of the same age who have not received any form of puberty blocking or other

       hormone therapy.

B.P.J.’s Response to Request for Admission No. 37:

       B.P.J. objects to the phrase “female-identifying biological male students” as vague and

scientifically inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J.

objects to the phrase “similarly situated” as vague. B.P.J. also objects to this request as vague

because it does not specify whether the hypothetical 11-year-old girls who are transgender have

begun endogenous puberty.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 38:

   38. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

       separated school athletic teams, B.P.J. is not similarly situated to biological male students

       of the same age who have not received any form of puberty blocking or other hormone

       therapy, regardless of the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 38:

       B.P.J. objects to the phrase “biological male students” as vague and scientifically

inaccurate, and interprets the phrase to mean “students who were assigned a male sex at birth.”

B.P.J. objects to the phrase “similarly situated” as vague.




                                                 26
                                                                                   Armistead App. 1463
                                                                                CONFIDENTIAL


       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

the request for admission.

Request for Admission No. 39:

   39. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any “physiological

       characteristics associated with athletic performance” relevant to running track or cross-

       country, B.P.J. is not similarly situated to biological male students of the same age who

       have not received any form of puberty blocking or other hormone therapy, regardless of

       the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 39:

       B.P.J. objects to the phrase “biological male students” as vague and scientifically

inaccurate, and interprets the phrase to mean “students who were assigned a male sex at birth.”

B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. objects to the phrase “similarly

situated” as vague. B.P.J. also objects to this request as vague because it does not specify whether

the hypothetical 11-year-olds with a male sex assigned at birth have begun endogenous puberty.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 40:

   40. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, high school male-identifying biological males who



                                                27
                                                                                   Armistead App. 1464
                                                                                CONFIDENTIAL


       experienced endogenous male puberty but have since received hormone therapy sufficient

       to bring their circulating testosterone down into the range typical for biological females of

       their same age are similarly situated to female-identifying biological females of the same

       age who have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 40:

       B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“biological females” as vague and scientifically inaccurate, and interprets the phrase to mean

“people who had a female sex assigned at birth.” B.P.J. objects to the phrase “similarly situated”

as vague. B.P.J. objects to this request to the extent it requires B.P.J. to make the counterfactual

assumption that there are cisgender boys in high school who receive hormone therapy sufficient

to bring their circulating testosterone down into the range typical for cisgender girls of the same

age.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 41:

   41. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

       characteristics associated with athletic performance” relevant to running track or cross-

       country, high school male-identifying biological males who experienced endogenous male

       puberty but have since received hormone therapy sufficient to bring their circulating

       testosterone down into the range typical for biological females of their same age are



                                                28
                                                                                    Armistead App. 1465
                                                                                CONFIDENTIAL


       similarly situated to female-identifying biological females of the same age who have

       received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 41:

       B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

“biological females” as vague and scientifically inaccurate, and interprets the phrase to mean

“people who had a female sex assigned at birth.” B.P.J. objects to the phrase “female identifying

biological females” as vague and scientifically inaccurate, and interprets the phrase to mean

“cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. objects to this

request to the extent it requires B.P.J. to make the counterfactual assumption that there are

cisgender boys in high school who receive hormone therapy sufficient to bring their circulating

testosterone down into the range typical for cisgender girls of the same age.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that cisgender high school boys who lower their levels of circulating testosterone to the same levels

that are typical for cisgender girls of the same age would, on average, have the same levels of

circulating testosterone as cisgender girls, on average, but denies that the two groups are similarly

situated for purposes of Title IX or the Equal Protection Clause.

Request for Admission No. 42:

   42. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

       separated school athletic teams, biological male middle school students, regardless of

       gender identity, who experienced endogenous male puberty but have since received



                                                 29
                                                                                    Armistead App. 1466
                                                                                CONFIDENTIAL


       hormone therapy sufficient to bring their circulating testosterone down into the range

       typical for biological females of their age are similarly situated to female-identifying

       biological females of the same age who have received no puberty blocking or other

       hormone therapy.

B.P.J.’s Response to Request for Admission No. 42:

       B.P.J. objects to the phrase “biological male middle school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “middle school students who were

assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

to make the counterfactual assumption that there are cisgender boys in middle school who receive

hormone therapy sufficient to bring their circulating testosterone down into the range typical for

cisgender girls of the same age.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 43:

   43. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

       characteristics associated with athletic performance” relevant to running track and cross-

       country, biological male middle school students, regardless of gender identity, who



                                                 30
                                                                                    Armistead App. 1467
                                                                                CONFIDENTIAL


       experienced endogenous male puberty but have since received hormone therapy sufficient

       to bring their circulating testosterone down into the range typical for biological females of

       their same age are similarly situated to female-identifying biological females of the same

       age who have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 43:

       B.P.J. objects to the phrase “biological male middle school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “middle school students who were

assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

to make the counterfactual assumption that there are cisgender boys in middle school who receive

hormone therapy sufficient to bring their circulating testosterone down into the range typical for

cisgender girls of the same age.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that the two hypothetical groups of people would have on average the same levels of circulating

testosterone but denies that they would be similarly situated for purposes of Title IX and the Equal

Protection Clause.

Request for Admission No. 44:

   44. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex



                                                 31
                                                                                    Armistead App. 1468
                                                                                CONFIDENTIAL


        separated school athletic teams, biological male high school students, regardless of gender

        identity, who experienced endogenous male puberty but have since received hormone

        therapy sufficient to bring their circulating testosterone down into the range typical for

        biological females of their same age, are similarly situated to female-identifying biological

        females of the same age who have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 44:

        B.P.J. objects to the phrase “biological male high school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “high school students who were

assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

to make the counterfactual assumption that there are high school cisgender boys who experienced

endogenous male puberty but have since received hormone therapy sufficient to bring their

circulating testosterone down into the range typical for people who had a female sex assigned at

birth of their age.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 45:

    45. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

        cisgender boys with respect to physiological characteristics associated with athletic

        performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological



                                                 32
                                                                                    Armistead App. 1469
                                                                                CONFIDENTIAL


        characteristics associated with athletic performance” relevant to running track and cross-

        country, biological male high school students, regardless of gender identity, who

        experienced endogenous male puberty but have since received hormone therapy sufficient

        to bring their circulating testosterone down into the range typical for biological females of

        their same age are similarly situated to female-identifying biological females of the same

        age who have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 45:

        B.P.J. objects to the phrase “biological male high school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “high school students who were

assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

to make the counterfactual assumption that there are high school cisgender boys who experienced

endogenous male puberty but have since received hormone therapy sufficient to bring their

circulating testosterone down into the range typical for people who had a female sex assigned at

birth of their age.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that the two hypothetical groups of people would have on average the same levels of circulating

testosterone but denies that they would be similarly situated for purposes of Title IX and the Equal

Protection Clause.

Request for Admission No. 46:



                                                 33
                                                                                    Armistead App. 1470
                                                                                CONFIDENTIAL


   46. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, B.P.J. is not similarly situated to female-identifying

       biological females of the same age who have received hormone therapy to delay female

       puberty or produce masculinizing effects.

B.P.J.’s Response to Request for Admission No. 46:

       B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to the request to the extent that it requires

B.P.J. to make the counterfactual assumption that “puberty blocking treatment” can “produce

masculinizing effects.” B.P.J. objects to this request to the extent it requires B.P.J. to make the

counterfactual assumption that there are 11-year-old cisgender girls who receive hormone therapy

to delay female puberty or produce masculinizing effects.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 47:

   47. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

       characteristics associated with athletic performance” relevant to running track or cross-

       country, B.P.J. is not similarly situated to female-identifying biological females of the same




                                                 34
                                                                                         Armistead App. 1471
                                                                                     CONFIDENTIAL


           age who have received puberty blocking treatment to delay female puberty or produce

           masculinizing effects.

B.P.J.’s Response to Request for Admission No. 47:

           B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague and requires B.P.J. to make the counterfactual assumption that

“puberty blocking treatment” can “produce masculinizing effects.” B.P.J. objects to this request

to the extent it requires B.P.J. to make the counterfactual assumption that there are 11-year-old

cisgender girls who receive hormone therapy to delay female puberty or produce masculinizing

effects.

           Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 48:

    48. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

           (as opposed to cisgender boys) for purposes of participating on sex-separated school

           athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

           separated school athletic teams, B.P.J. is not similarly situated to biological female students

           of the same age who have received puberty blocking treatment to delay female puberty or

           produce masculinizing effects, regardless of the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 48:

           B.P.J. objects to the phrase “biological female students” as vague and scientifically

inaccurate, and interprets the phrase to mean “students who were assigned a female sex at birth.”




                                                     35
                                                                                    Armistead App. 1472
                                                                                CONFIDENTIAL


       B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. objects to the request to

the extent that it requires B.P.J. to make the counterfactual assumption that “puberty blocking

treatment” can “produce masculinizing effects.” B.P.J. objects to this request to the extent it

requires B.P.J. to make the counterfactual assumption that there are 11-year-old cisgender girls

who receive hormone therapy to delay female puberty or produce masculinizing effects.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 49:

   49. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

       characteristics associated with athletic performance” relevant to running track or cross-

       country, B.P.J. is not similarly situated to biological female students of the same age who

       have received puberty blocking treatment to delay female puberty or produce

       masculinizing effects, regardless of the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 49:

       B.P.J. objects to the phrase “female identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

phrase “similarly situated” as vague. B.P.J. objects to the request to the extent that it requires

B.P.J. to make the counterfactual assumption that “puberty blocking treatment” can “produce

masculinizing effects.” B.P.J. objects to this request to the extent it requires B.P.J. to make the

counterfactual assumption that there are 11-year-old cisgender girls who receive puberty blocking

treatment.



                                                 36
                                                                                   Armistead App. 1473
                                                                               CONFIDENTIAL


       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

B.P.J. likely has the same circulating levels of testosterone as people of the same age who have a

female sex assigned at birth and who receive puberty blocking treatment but denies that B.P.J. is

similarly situated to those individuals regardless of the students’ gender identity for purposes of

Title IX and the Equal Protection Clause.

Request for Admission No. 50:

   50. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

       separated school athletic teams, B.P.J. is similarly situated to male-identifying biological

       females of the same age who have not received any form of puberty blocking or other

       hormone therapy.

B.P.J.’s Response to Request for Admission No. 50:

       B.P.J. objects to the phrase “male identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “boys who are transgender.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 51:

   51. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running



                                                37
                                                                                    Armistead App. 1474
                                                                                CONFIDENTIAL


       track or cross country, B.P.J. is similarly situated to male-identifying biological females of

       the same age who have not received any form of puberty blocking or other hormone

       therapy.

B.P.J.’s Response to Request for Admission No. 51:

       B.P.J. objects to the phrase “male identifying biological females” as vague and

scientifically inaccurate, and interprets the phrase to mean “boys who are transgender.” B.P.J.

objects to the phrase “similarly situated” as vague. B.P.J. also objects to the request as vague

because it does not specify whether the 11-year-old people who were assigned a female sex at birth

at issue have gone through puberty even though girls on average typically begin puberty at a

younger age than boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 52:

   52. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” Am. Compl. ¶ 39. Admit that for purposes of participating on sex-separated

       school athletic teams, B.P.J. is similarly situated to biological female students of the same

       age who have not received any form of puberty blocking or other hormone therapy,

       regardless of the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 52:

       B.P.J. objects to the phrase “biological female students” as vague and scientifically

inaccurate, and interprets the phrase to mean “students who had a female-sex assigned at birth.”

B.P.J. objects to the phrase “similarly situated” as vague.



                                                 38
                                                                                    Armistead App. 1475
                                                                                CONFIDENTIAL


       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 53:

   53. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, B.P.J. is similarly situated to biological female students of the same

       age who have not received any form of puberty blocking or other hormone therapy,

       regardless of the students’ gender identity.

B.P.J.’s Response to Request for Admission No. 53:

       B.P.J. objects to the phrase “biological female students” as vague and scientifically

inaccurate, and interprets the phrase to mean “people who were assigned a female sex at birth.”

B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. also objects to the request as

vague because it does not specify whether the 11-year-old people who were assigned a female sex

at birth at issue have gone through puberty even though girls on average typically begin puberty

at a younger age than boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 54:

   54. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-



                                                39
                                                                                   Armistead App. 1476
                                                                                CONFIDENTIAL


       separated school athletic teams, female-identifying biological male middle school students

       who have not received any form of puberty blocking or other hormone therapy are not

       similarly situated to female-identifying biological females of the same age who have

       received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 54:

       B.P.J. objects to the phrase “female-identifying biological male” as vague and scientifically

inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J. objects to the

phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 55:

   55. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, female-identifying biological male middle school students who

       have not received any form of puberty blocking or other hormone therapy are not similarly

       situated to female-identifying biological females of the same age who have received no

       puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 55:

       B.P.J. objects to the phrase “female-identifying biological male” as vague and scientifically

inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J. objects to the

phrase “female-identifying biological female” as vague and scientifically inaccurate, and interprets



                                                40
                                                                                   Armistead App. 1477
                                                                               CONFIDENTIAL


the phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague.

B.P.J. objects to the request as vague because it does not specify whether the cisgender girls at

issue have gone through puberty even though girls on average typically begin puberty at a younger

age than boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 56:

   56. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

       separated school athletic teams, female-identifying biological male high school students

       who have not received any form of puberty blocking or other hormone therapy are not

       similarly situated to female-identifying biological females of the same age who have

       received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 56:

       B.P.J. objects to the phrase “female-identifying biological male high school students” as

vague and scientifically inaccurate, and interprets the phrase to mean “girls who are transgender

who are high school students.” B.P.J. objects to the phrase “female-identifying biological females”

as vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 57:



                                                41
                                                                                   Armistead App. 1478
                                                                                CONFIDENTIAL


   57. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, female-identifying biological male high school students who have

       not received any form of puberty blocking or other hormone therapy are not similarly

       situated to female-identifying biological females of the same age who have received no

       puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 57:

       B.P.J. objects to the phrase “female-identifying biological male high school students” as

vague and scientifically inaccurate, and interprets the phrase to mean “girls who are transgender

who are high school students.” B.P.J. objects to the phrase “female-identifying biological females”

as vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that girls who are transgender who are high school students and who have not received any form

of puberty blocking or other hormone therapy will, on average, have higher levels of circulating

testosterone than cisgender girls who have received no puberty blocking or other hormone therapy,

on average, but deny that the two groups are not similarly situated for purposes of Title IX and the

Equal Protection Clause.

Request for Admission No. 58:

   58. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school



                                                42
                                                                                   Armistead App. 1479
                                                                               CONFIDENTIAL


       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, biological male middle school students, regardless of

       gender identity, who have not received any form of puberty blocking or other hormone

       therapy are not similarly situated to female-identifying biological females of the same age

       who have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 58:

       B.P.J. objects to the phrase “biological male middle school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “middle school students who had a male

sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 59:

   59. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance” relevant to running

       track or cross-country, biological male middle school students, regardless of gender

       identity, who have not received any form of puberty blocking or other hormone therapy

       are not similarly situated to female identifying biological females of the same age who

       have received no puberty blocking or other hormone therapy.




                                                43
                                                                                   Armistead App. 1480
                                                                               CONFIDENTIAL


B.P.J.’s Response to Request for Admission No. 59:

       B.P.J. objects to the phrase “biological male middle school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “middle school students who had a male

sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague. B.P.J. also objects to this request as vague

because it does not specify whether the cisgender girls at issue have gone through puberty even

though girls on average typically begin puberty at a younger age than boys on average.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 60:

   60. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

       (as opposed to cisgender boys) for purposes of participating on sex-separated school

       athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

       separated school athletic teams, biological male high school students, regardless of gender

       identity, who have not received any form of puberty blocking or other hormone therapy

       are not similarly situated to female-identifying biological females of the same age who

       have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 60:

       B.P.J. objects to the phrase “biological male high school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as




                                                44
                                                                                  Armistead App. 1481
                                                                               CONFIDENTIAL


vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 61:

   61. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

       cisgender boys with respect to physiological characteristics associated with athletic

       performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

       “physiological characteristics associated with athletic performance,” Am. Compl. ¶ 40,

       relevant to running track or cross-country, biological male high school students, regardless

       of gender identity, who have not received any form of puberty blocking or other hormone

       therapy are not similarly situated to female-identifying biological females of the same age

       who have received no puberty blocking or other hormone therapy.

B.P.J.’s Response to Request for Admission No. 61:

       B.P.J. objects to the phrase “biological male high school students” as vague and

scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

objects to the phrase “similarly situated” as vague.

       Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

that high school students who had a male sex assigned at birth who have not received any form of

puberty blocking or other hormone therapy will, on average, have higher levels of circulating

testosterone than cisgender girls of the same age who have received no puberty blocking or other



                                                45
                                                                                   Armistead App. 1482
                                                                                CONFIDENTIAL


hormone therapy, on average, but denies that they are not similarly situated regardless of gender

identity for purposes of Title IX and the Equal Protection Clause.

Request for Admission No. 62:

    62. Admit that a person’s gender identity may be neither male nor female.

B.P.J.’s Response to Request for Admission No. 62:

        Admit.

Request for Admission No. 63:

    63. Admit that a person’s gender identity may change over time.

B.P.J.’s Response to Request for Admission No. 63:

        Deny.

Request for Admission No. 64:

    64. Admit that under H.B. 3293, a male-identifying biological male athlete is precluded from

        participating on sex-separated female sports teams regardless of the quantity of circulating

        testosterone in this individual’s body.

B.P.J.’s Response to Request for Admission No. 64:

        B.P.J. objects to the phrase “male-identifying biological male” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boy.” B.P.J. further objects to the phrase

“under H.B. 3293” as vague and interprets the phrase to mean the period of time after H.B. 3293

was enacted.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission because cisgender boys were already precluded from participating on

sex-separated female sports before H.B. 3293 was enacted, but admits that H.B. 3293 continues

this existing policy.



                                                  46
                                                                                    Armistead App. 1483
                                                                                CONFIDENTIAL


Request for Admission No. 65:

    65. Admit that under H.B. 3293, a male-identifying biological male athlete is precluded from

        participating on sex-separated female sports teams regardless of the extent to which he has

        (or has not) experienced endogenous male puberty.

B.P.J.’s Response to Request for Admission No. 65:

        B.P.J. objects to the phrase “male-identifying biological male” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boy.” B.P.J. further objects to the phrase

“under H.B. 3293” as vague and interprets the phrase to mean the period of time after H.B. 3293

was enacted.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission because cisgender boys were already precluded from participating on

sex-separated female sports before H.B. 3293 was enacted, but admits that H.B. 3293 continues

this existing policy.

Request for Admission No. 66:

    66. Admit that under H.B. 3293, a male-identifying biological male athlete is precluded from

        participating on sex-separated female sports teams regardless of athletic ability.

B.P.J.’s Response to Request for Admission No. 66:

        B.P.J. objects to the phrase “male-identifying biological male” as vague and scientifically

inaccurate, and interprets the phrase to mean “cisgender boy.” B.P.J. further objects to the phrase

“under H.B. 3293” as vague and interprets the phrase to mean the period of time after H.B. 3293

was enacted.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission because cisgender boys were already precluded from participating on



                                                 47
                                                                                     Armistead App. 1484
                                                                                 CONFIDENTIAL


sex-separated female sports before H.B. 3293 was enacted, but admits that H.B. 3293 continues

this existing policy.

Request for Admission No. 67:

    67. Admit that in the absence of medical intervention, endogenous male puberty provides, at

        the “population level” (as this term is used in First Am. Compl. ¶ 40), benefits in athletic

        performance not obtained by people who do not experience male puberty.

B.P.J.’s Response to Request for Admission No. 67:

        B.P.J. objects to the phrase “benefits in athletic performance” as vague because it does not

specify the stage of puberty or the athletic competition at issue. B.P.J. also objects to the phrase

“medical intervention” as vague.

        Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

admit or deny this request for admission because there have not been sufficient studies across all

athletes of all ages in all sports at all levels to determine whether there are average differences in

performance between individuals who have gone through endogenous male puberty and not

received medical intervention compared to people who have not experienced male puberty

including in light of other possible factors.

Request for Admission No. 68:

    68. Admit that the State of West Virginia has a significant governmental interest in promoting

        equal athletic opportunities for people born with the physiological characteristics

        associated with the female sex.

B.P.J.’s Response to Request for Admission No. 68:

        B.P.J. objects to the phrase “significant governmental interest” as vague. B.P.J. objects to

the phrase “promoting equal athletic opportunities for people born with the physiological



                                                 48
                                                                                     Armistead App. 1485
                                                                                 CONFIDENTIAL


characteristics associated with the female sex” as vague because it does not specify the comparator

group.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.

Request for Admission No. 69:

   69. Admit that gender identity, divorced from all forms of hormone therapy or other

         pharmacological treatment, has no independent effect on athletic ability.

B.P.J.’s Response to Request for Admission No. 69:

         B.P.J. objects to the phrases “independent effect” and “athletic ability” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

this request for admission.


 Dated: February 7, 2022                            Respectfully submitted,
                                                    /s/ Loree Stark
 Joshua Block*
 Taylor Brown*                                      Loree Stark (Bar No. 12936)
 Chase Strangio*                                    AMERICAN CIVIL LIBERTIES UNION OF WEST
 AMERICAN CIVIL LIBERTIES UNION                     VIRGINIA FOUNDATION
 FOUNDATION                                         P.O. Box 3952
 125 Broad St.                                      Charleston, WV 25339-3952
 New York, NY 10004                                 Phone: (914) 393-4614
 Phone: (212) 549-2569                              lstark@acluwv.org
 jblock@aclu.org
                                                    Kathleen Hartnett*
 Avatara Smith-Carrington*                          Julie Veroff*
 LAMBDA LEGAL                                       COOLEY LLP
 3500 Oak Lawn Avenue, Suite 500                    3 Embarcadero Center, 20th Floor
 Dallas, TX 75219                                   San Francisco, CA 94111
 Phone: (214) 219-8585                              Phone: (415) 693-2000
 asmithcarrington@lambdalegal.org                   khartnett@cooley.com

 Carl Charles*                                      Katelyn Kang*
 Tara Borelli*                                      COOLEY LLP
 LAMBDA LEGAL                                       55 Hudson Yards
 158 West Ponce De Leon Ave., Ste. 105              New York, NY 10001-2157

                                                  49
                                                                  Armistead App. 1486
                                                           CONFIDENTIAL


Decatur, GA 30                  Phone: (212) 479-6000
Phone: (404) 897-1880           kkang@cooley.com
ccharles@lambdalegal.org
                                Elizabeth Reinhardt*
Sruti Swaminathan*              COOLEY LLP
LAMBDA LEGAL                    500 Boylston Street, 14th Floor
120 Wall Street, 19th Floor     Boston, MA 02116-3736
New York, NY 10005              Phone: (617) 937-2305
Phone: (212) 809-8585           ereinhardt@cooley.com
sswaminathan@lambdalegal.org
                                *Visiting Attorneys
Andrew Barr*
COOLEY LLP                      Attorneys for Plaintiff
1144 15th St. Suite 2300
Denver, CO 80202-5686
Phone: (720) 566-4000
abarr@cooley.com




                               50
                                                                                           Armistead App. 1487
                                                                                       &21),'(17,$/



                          ,17+(81,7('67$7(6',675,&7&2857
                      )257+(6287+(51',675,&72):(679,5*,1,$
                                  &+$5/(6721',9,6,21

    %3-E\KHUQH[WIULHQGDQGPRWKHU+($7+(5
    -$&.621

                                  Plaintiff

                           Y                                   &LYLO$FWLRQ1RFY

    :(679,5*,1,$67$7(%2$5'2)                                +RQ-RVHSK5*RRGZLQ
    ('8&$7,21+$55,621&2817<%2$5'
                                                                 3/$,17,))¶65(63216(6$1'
    2)('8&$7,21:(679,5*,1,$
                                                                 2%-(&7,21672,17(59(125
    6(&21'$5<6&+22/$&7,9,7,(6
                                                                 /$,1(<$50,67($'¶67+,5'
    &200,66,21:&/$<721%85&+LQKLV
                                                                 6(72),17(552*$725,(6$1'
    RIILFLDOFDSDFLW\DV6WDWH6XSHULQWHQGHQW'25$
                                                                 6(&21'$1'7+,5'6(762)
    6787/(5LQKHURIILFLDOFDSDFLW\DV+DUULVRQ
                                                                 5(48(676)25$'0,66,21
    &RXQW\6XSHULQWHQGHQWDQG7+(67$7(2)
                                                                 
    :(679,5*,1,$
                                                             
                                  Defendants

                           DQG

    /$,1(<$50,67($'

                                  Defendant-Intervenor

          3XUVXDQWWR)HGHUDO5XOHVRI&LYLO3URFHGXUH5XOHVDQG3ODLQWLII%3-E\KHU

QH[W IULHQG DQG PRWKHU +HDWKHU -DFNVRQ ³%3-´  UHVSRQGV DV IROORZV WR ,QWHUYHQRU /DLQH\

$UPLVWHDG¶V ³,QWHUYHQRU´ 7KLUG6HWRI,QWHUURJDWRULHV ³,QWHUURJDWRULHV´ DQG6HFRQGDQG7KLUG

6HWVRI5HTXHVWVIRU$GPLVVLRQ ³5HTXHVWV´ 

                                        *(1(5$/5(63216(6

       %3-¶VUHVSRQVHWRWKH,QWHUURJDWRULHVDQG5HTXHVWVLVPDGHWRWKHEHVWRI%3-¶VSUHVHQW

          NQRZOHGJHLQIRUPDWLRQDQGEHOLHI7KLVUHVSRQVHLVDWDOOWLPHVVXEMHFWWRVXFKDGGLWLRQDO

          RU GLIIHUHQW LQIRUPDWLRQ WKDW GLVFRYHU\ RU IXUWKHU LQYHVWLJDWLRQ PD\ GLVFORVH DQG ZKLOH

          EDVHG RQ WKH SUHVHQW VWDWH RI %3-¶V UHFROOHFWLRQ LV VXEMHFW WR VXFK UHIUHVKLQJ RI





Y

                                                                                          Armistead App. 1488



       UHFROOHFWLRQDQGVXFKDGGLWLRQDONQRZOHGJHRIIDFWVDVPD\UHVXOWIURP%3-¶VIXUWKHU

       GLVFRYHU\RULQYHVWLJDWLRQ

     7R WKH H[WHQW %3- DJUHHV WR SURGXFH GRFXPHQWV RU LQIRUPDWLRQ LQ UHVSRQVH WR DQ\

       SDUWLFXODU ,QWHUURJDWRU\ RU 5HTXHVW %3- ZLOO SURGXFH RQO\ QRQSULYLOHJHG UHVSRQVLYH

       GRFXPHQWVLQKHUSRVVHVVLRQFXVWRG\RUFRQWURODQGLQDFFRUGDQFHZLWK([KLELW$RIWKH

       SDUWLHV¶5XOH I UHSRUWILOHGRQ6HSWHPEHU (&)1R LQWKLVDFWLRQ

     %3-KDVQRGXW\WRDQGZLOOQRWSURGXFHRULGHQWLI\GRFXPHQWVRULQIRUPDWLRQWKDWDUH

       QRWLQKHUSRVVHVVLRQFXVWRG\RUFRQWURO%\VWDWLQJLQWKHVHUHVSRQVHVWKDW%3-ZLOO

       VHDUFKIRURUSURGXFHGRFXPHQWVRULQIRUPDWLRQ%3-GRHVQRWUHSUHVHQWWKDWDQ\VXFK

       GRFXPHQWVRULQIRUPDWLRQDFWXDOO\H[LVW5DWKHU%3-UHSUHVHQWVWKDWVKHZLOOXQGHUWDNH

       D JRRGIDLWK VHDUFK DQG UHDVRQDEOH LQTXLU\ WR DVFHUWDLQ ZKHWKHU WKH GRFXPHQWV RU

       LQIRUPDWLRQ GHVFULEHG LQ DQ\ VXFK UHVSRQVH GR LQ IDFW H[LVW DQG LI VR ZLOO SURGXFH

       UHVSRQVLYHQRQSULYLOHJHGGRFXPHQWVRULQIRUPDWLRQZLWKLQ%3-¶VSRVVHVVLRQFXVWRG\

       RUFRQWUROLQDFFRUGDQFHZLWK([KLELW$RIWKHSDUWLHV¶5XOH I UHSRUWILOHGRQ6HSWHPEHU

        (&)1R LQWKLVDFWLRQ

     %3- UHVHUYHV WKH ULJKW WR PDNHDQ\XVHRIRUWRLQWURGXFHDWDQ\KHDULQJDQGDWWULDO

       GRFXPHQWVUHVSRQVLYHWRWKH,QWHUURJDWRULHVRU5HTXHVWVEXWGLVFRYHUHGVXEVHTXHQWWRWKH

       GDWHRI%3-¶VLQLWLDOSURGXFWLRQLQFOXGLQJEXWQRWOLPLWHGWRDQ\GRFXPHQWVREWDLQHGLQ

       GLVFRYHU\KHUHLQ

     %3- UHVHUYHV DOO REMHFWLRQV RU RWKHU TXHVWLRQV DV WR WKH FRPSHWHQF\ UHOHYDQFH

       PDWHULDOLW\SULYLOHJHRUDGPLVVLELOLW\DVHYLGHQFHLQDQ\VXEVHTXHQWSURFHHGLQJLQRUWULDO




                                                   


                                                                                        Armistead App. 1489



        RIWKLVRUDQ\RWKHUDFWLRQIRUDQ\SXUSRVHZKDWVRHYHURIWKLVUHVSRQVHDQGDQ\GRFXPHQW

        RUWKLQJSURGXFHGLQUHVSRQVHWRWKH,QWHUURJDWRULHVRU5HTXHVWV

     %3-UHVHUYHVWKHULJKWWRREMHFWRQDQ\JURXQGDWDQ\WLPHWRVXFKRWKHURUVXSSOHPHQWDO

        UHTXHVWVIRUSURGXFWLRQDV,QWHUYHQRUPD\DWDQ\WLPHSURSRXQGLQYROYLQJRUUHODWLQJWRWKH

        VXEMHFWPDWWHURIWKHVH,QWHUURJDWRULHVRU5HTXHVWV

     %3-LVZLOOLQJWRPHHWDQGFRQIHUZLWK,QWHUYHQRUUHJDUGLQJDQ\UHVSRQVHRUREMHFWLRQWR

        WKH,QWHUURJDWRULHVRU5HTXHVWV

                                    *(1(5$/2%-(&7,216

        %3- PDNHV WKH IROORZLQJ JHQHUDO REMHFWLRQV ZKHWKHU RU QRW VHSDUDWHO\ VHW IRUWK LQ

UHVSRQVHWRHDFK,QWHUURJDWRU\RU5HTXHVWWRHDFKDQGHYHU\'HILQLWLRQ,QWHUURJDWRU\DQG5HTXHVW

PDGH LQ ,QWHUYHQRU¶V 7KLUG 6HW RI ,QWHUURJDWRULHV DQG 6HFRQG DQG 7KLUG 6HWV RI 5HTXHVWV IRU

$GPLVVLRQ

     %3-REMHFWVJHQHUDOO\WRDOO'HILQLWLRQV,QWHUURJDWRULHVDQG5HTXHVWVLQFOXVLYHLQVRIDU

        DV HDFK VXFK UHTXHVW VHHNV SURGXFWLRQ RI GRFXPHQWV RU LQIRUPDWLRQ SURWHFWHG E\ WKH

        DWWRUQH\FOLHQWSULYLOHJHWKHZRUNSURGXFWGRFWULQHRUDQ\RWKHUDSSOLFDEOHSULYLOHJH6XFK

        GRFXPHQWV RU LQIRUPDWLRQ VKDOO QRW EH SURGXFHG LQ UHVSRQVH WR WKH ,QWHUURJDWRULHV RU

        5HTXHVWV DQG DQ\ LQDGYHUWHQW SURGXFWLRQ WKHUHRI VKDOO QRW EH GHHPHG D ZDLYHU RI DQ\

        SULYLOHJHRUULJKWZLWKUHVSHFWWRVXFKGRFXPHQWVRULQIRUPDWLRQRURIDQ\ZRUNSURGXFW

        GRFWULQHWKDWPD\DWWDFKWKHUHWR

     %3-REMHFWVWRDOO'HILQLWLRQV,QWHUURJDWRULHVDQG5HTXHVWVLQFOXVLYHWRWKHH[WHQWWKH\

        SXUSRUWWRHQODUJHH[SDQGRUDOWHULQDQ\ZD\WKHSODLQPHDQLQJDQGVFRSHRIDQ\VSHFLILF

        5HTXHVWRQWKHJURXQGWKDWVXFKHQODUJHPHQWH[SDQVLRQRUDOWHUDWLRQUHQGHUVVDLG5HTXHVW

        YDJXHDPELJXRXVXQLQWHOOLJLEOHXQGXO\EURDGDQGXQFHUWDLQ




                                                   


                                                                                            Armistead App. 1490



     %3-REMHFWVWRDOO'HILQLWLRQV,QWHUURJDWRULHVDQG5HTXHVWVLQFOXVLYHWRWKHH[WHQWWKH\

           VHHNGRFXPHQWVQRWFXUUHQWO\LQ%3-¶VSRVVHVVLRQFXVWRG\RUFRQWURORUUHIHUWRSHUVRQV

           HQWLWLHV RU HYHQWV QRW NQRZQ WR %3- RQ WKH JURXQGV WKDW VXFK 'HILQLWLRQV

           ,QWHUURJDWRULHVRU5HTXHVWVVHHNWRUHTXLUHPRUHRI%3-WKDQDQ\REOLJDWLRQLPSRVHGE\

           ODZZRXOGVXEMHFW%3-WRXQUHDVRQDEOHDQGXQGXHEXUGHQDQGH[SHQVHDQGZRXOGVHHN

           WR LPSRVH XSRQ %3- DQ REOLJDWLRQ WR LQYHVWLJDWH RU GLVFRYHU LQIRUPDWLRQ RU PDWHULDOV

           IURPWKLUGSDUWLHVRUVHUYLFHVZKRDUHHTXDOO\DFFHVVLEOHWR,QWHUYHQRU

     %3-¶VIDLOXUHWRREMHFWWRWKH,QWHUURJDWRULHVRU5HTXHVWVRQDSDUWLFXODUJURXQGVKDOOQRW

           EHFRQVWUXHGDVDZDLYHURIKHUULJKWWRREMHFWRQWKDWJURXQGRUDQ\DGGLWLRQDOJURXQGDW

           DQ\WLPH

            63(&,),&2%-(&7,216$1'5(63216(672,17(552*$725,(6

           :LWKRXWZDLYLQJRUOLPLWLQJLQDQ\PDQQHUDQ\RIWKHIRUHJRLQJ*HQHUDO2EMHFWLRQVEXW

UDWKHU LQFRUSRUDWLQJ WKHP LQWR HDFK RI WKH IROORZLQJ UHVSRQVHV WR WKH H[WHQW DSSOLFDEOH %3-

UHVSRQGVWRWKHVSHFLILF5HTXHVWVRI,QWHUYHQRU¶V7KLUG6HWRI,QWHUURJDWRULHVDVIROORZV

,QWHUURJDWRU\1R

           :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

               WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R%3-IXUWKHUREMHFWVWR,QWHUURJDWRU\EHFDXVHLW

DVNV%3-WRSURYLGH³UHDVRQV´DQG³DOOPDWHULDOIDFWVVXSSRUWLQJ´DQRSSRVLQJSDUW\¶VFRQWHQWLRQ

WKDW%3-KDVDOUHDG\DGPLWWHG




                                                      


                                                                                       Armistead App. 1491



,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R%3-REMHFWWR,QWHUYHQRU¶V,QWHUURJDWRU\1RWR

WKHH[WHQWLWUHTXLUHV%3-WRSURYLGH³UHDVRQV´DQG³DOOPDWHULDOIDFWVVXSSRUWLQJ´DFRQWHQWLRQ

WKDW%3-KDVDOUHDG\DGPLWWHG

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

LVQRWVLPLODUO\VLWXDWHGWRDK\SRWKHWLFDOFLVJHQGHUER\ZKRKDVQRW\HWEHJXQSXEHUW\IRUSXUSRVHV

RI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVHEHFDXVH%3-LVDJLUO

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV5HTXHVWIRU$GPLVVLRQ1REHFDXVH%3-LVDJLUO

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP




                                                   


                                                                                       Armistead App. 1492



%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV 5HTXHVW IRU $GPLVVLRQ 1R  EHFDXVH IRU SXUSRVHV RI SDUWLFLSDWLQJ RQ VH[VHSDUDWHG

VFKRRODWKOHWLFWHDPVFLVJHQGHUJLUOVDUHVLPLODUO\VLWXDWHGWRJLUOVZKRDUHWUDQVJHQGHUDQGQRW

VLPLODUO\VLWXDWHGWRFLVJHQGHUER\V

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV 5HTXHVW IRU $GPLVVLRQ 1R  EHFDXVH IRU SXUSRVHV RI SDUWLFLSDWLQJ RQ VH[VHSDUDWHG

VFKRRODWKOHWLFWHDPVJLUOVZKRDUHWUDQVJHQGHUDUHVLPLODUO\VLWXDWHGWRFLVJHQGHUJLUOV

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R




                                                   


                                                                                        Armistead App. 1493



           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV 5HTXHVWIRU$GPLVVLRQ1REHFDXVH %3- DQG WKH K\SRWKHWLFDOFLVJHQGHU JLUOLQ WKH

5HTXHVWDUHERWKJLUOV

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-IXUWKHUREMHFWV

WR ,QWHUURJDWRU\ 1R  EHFDXVH LW DVNV %3- WR SURYLGH ³UHDVRQV´ DQG ³DOO PDWHULDO IDFWV

VXSSRUWLQJ´DQRSSRVLQJSDUW\¶VFRQWHQWLRQWKDW%3-KDVDOUHDG\DGPLWWHG

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV5HTXHVWIRU$GPLVVLRQ1REHFDXVHJHQGHULGHQWLW\LVGLVWLQFWIURPJHQGHUH[SUHVVLRQ

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP




                                                   


                                                                                                  Armistead App. 1494



%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQG VSHFLILF REMHFWLRQV FRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           $VVWDWHGLQ%3-¶VUHVSRQVH%3-FDQQRWDGPLWRUGHQ\WKLV5HTXHVWEHFDXVHWKHUHKDYH

QRW EHHQ VXIILFLHQW VWXGLHV DFURVV DOO DWKOHWHV RI DOO DJHV LQ DOO VSRUWV DW DOO OHYHOV WR GHWHUPLQH

ZKHWKHUWKHUHDUHDYHUDJHGLIIHUHQFHVLQSHUIRUPDQFHEHWZHHQLQGLYLGXDOVZKRKDYHJRQHWKURXJK

HQGRJHQRXVPDOHSXEHUW\DQGQRWUHFHLYHGPHGLFDOLQWHUYHQWLRQDVFRPSDUHGWRSHRSOHZKRKDYH

QRWH[SHULHQFHGPDOHSXEHUW\LQFOXGLQJLQOLJKWRIRWKHUSRVVLEOHIDFWRUV

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV 5HTXHVW IRU $GPLVVLRQ 1R  EHFDXVH WKH 6WDWH RI :HVW 9LUJLQLD¶V VLJQLILFDQW

JRYHUQPHQWDO LQWHUHVW LV LQ SURPRWLQJ HTXDO DWKOHWLF RSSRUWXQLWLHV IRU DOO SHUVRQV ZLWKRXW

GLVFULPLQDWLRQRQWKHEDVLVRIVH[

,QWHUURJDWRU\1R

          :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

              WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP




                                                        


                                                                                             Armistead App. 1495



%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

           6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

GHQLHV5HTXHVWIRU$GPLVVLRQ1REHFDXVHFLVJHQGHUER\VDQGPHQZHUHDOUHDG\SURKLELWHG

IURPSDUWLFLSDWLQJLQVSRUWVGHVLJQDWHGIRUZRPHQRUJLUOVEHIRUH+%ZDVHQDFWHG

,QWHUURJDWRU\1R

          <RXFRQWHQGLQUHVSRQVHWR,QWHUYHQRU¶V,QWHUURJDWRU\WKDW³+%GRHVQRW

              DIIHFW WKH DELOLW\ RI FLVJHQGHU ER\V DQG PHQ WR SOD\ RQ VSRUWV WHDPV GHVLJQDWHG IRU

              IHPDOHVZRPHQRUJLUOVEHFDXVHFLVJHQGHUER\VDQGPHQZHUHDOUHDG\SURKLELWHGIURP

              GRLQJVREHIRUH+%ZDVHQDFWHG´,GHQWLI\DOOPDWHULDO:HVW9LUJLQLDODZVRU

              SROLFLHVLQHIIHFWEHIRUH+%ZDVHQDFWHGWKDW\RXFRQWHQGSURKLELWHGFLVJHQGHU

              ER\VDQGPHQIURPFRPSHWLQJRQVSRUWVWHDPVGHVLJQDWHGIRUIHPDOHVZRPHQRUJLUOV

%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

           %3-UHIHUV,QWHUYHQRUWR:9D&RGH5%3-DOVRUHIHUV,QWHUYHQRUWRWKH

 E   GHSRVLWLRQ RI WKH :HVW 9LUJLQLD 6HFRQGDU\ 6FKRRO $FWLYLWLHV &RPPLVVLRQ DQG WKH

WHVWLPRQ\JLYHQWKHUHLQ%3-DOVRUHIHUV,QWHUYHQRUWR6HFWLRQRIWKH1DWLRQDO&ROOHJLDWH

$WKOHWLF$VVRFLDWLRQ+DQGERRNVIRU'LYLVLRQV,WKURXJK,,,

,QWHUURJDWRU\1R

         ,GHQWLI\DOOJRYHUQPHQWLQWHUHVWVWKDW\RXFRQWHQGDGYDQFH+%ZKHQDSSOLHGWR

              H[FOXGHDELRORJLFDOPDOHZKRLGHQWLILHVDVDPDOHIURP:HVW9LUJLQLDVSRUWVWHDPV

              GHVLJQDWHGIRUZRPHQRUJLUOV




                                                      


                                                                                          Armistead App. 1496



%3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

        %3- REMHFWV WR WKH SKUDVH ³D ELRORJLFDO PDOH ZKR LGHQWLILHV DV PDOH´ DV YDJXH DQG

VFLHQWLILFDOO\ LQDFFXUDWH DQG LQWHUSUHWV WKH SKUDVH WR PHDQ ³D FLVJHQGHU ER\ DQG PDQ´  %3-

REMHFWVWRWKHSKUDVH³JRYHUQPHQWLQWHUHVWVWKDW\RXFRQWHQGDGYDQFH+%´DQGLQWHUSUHWV

WKHSKUDVHWRPHDQ³JRYHUQPHQWLQWHUHVWVWKDW\RXFRQWHQGDUHDGYDQFHGE\+%´

        6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDW+%

GRHVQRWDGYDQFHDQ\JRYHUQPHQWLQWHUHVWVZKHQDSSOLHGWRH[FOXGHDFLVJHQGHUER\RUPDQ

IURPVSRUWVWHDPVGHVLJQDWHGIRUZRPHQRUJLUOVEHFDXVHFLVJHQGHUER\VDQGPHQZHUHDOUHDG\

SURKLELWHG IURP SDUWLFLSDWLQJ LQ VSRUWV GHVLJQDWHG IRU ZRPHQ RU JLUOV EHIRUH +%  ZDV

HQDFWHG

    63(&,),&2%-(&7,216$1'5(63216(6725(48(676)25$'0,66,21

        :LWKRXWZDLYLQJRUOLPLWLQJLQDQ\PDQQHUDQ\RIWKHIRUHJRLQJ*HQHUDO2EMHFWLRQVEXW

UDWKHU LQFRUSRUDWLQJ WKHP LQWR HDFK RI WKH IROORZLQJ UHVSRQVHV WR WKH H[WHQW DSSOLFDEOH %3-

UHVSRQGVWRWKHVSHFLILF5HTXHVWVRI,QWHUYHQRU¶V6HFRQGDQG7KLUG6HWVRI5HTXHVWVIRU$GPLVVLRQ

DVIROORZV

5HTXHVWIRU$GPLVVLRQ1R

      $GPLWWKDW+%IXUWKHUVDQLPSRUWDQWJRYHUQPHQWLQWHUHVWE\H[FOXGLQJPDOHV

            ZKRLGHQWLI\DVPDOHIURP:HVW9LUJLQLDVSRUWVGHVLJQDWHGIRUZRPHQRUJLUOV

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

       %3- REMHFWV WR WKH SKUDVH ³PDOHV ZKR LGHQWLI\ DV PDOH´ DV YDJXH DQG VFLHQWLILFDOO\

LQDFFXUDWH DQG LQWHUSUHWV WKH SKUDVH WR PHDQ ³FLVJHQGHU ER\V´  %3- REMHFWV WR WKH SKUDVH

³LPSRUWDQWJRYHUQPHQWDOLQWHUHVW´DVYDJXH6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQG

ZLWKRXWZDLYHUWKHUHRI%3-GHQLHVWKLV5HTXHVW




                                                   


                                                                                           Armistead App. 1497



5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

            ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

            WUDFNRUFURVVFRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRIHPDOHLGHQWLI\LQJELRORJLFDO

            PDOHVRIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHU

            KRUPRQHWKHUDS\DQGKDYHQRWEHJXQHQGRJHQRXVPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUJLUOV´

%3-REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

WKLV5HTXHVW

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

            ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

            WUDFNRUFURVVFRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRIHPDOHLGHQWLI\LQJELRORJLFDO

            PDOHVRIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHU

            KRUPRQHWKHUDS\DQGKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\




                                                   


                                                                                           Armistead App. 1498



%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUJLUOV´

%3- REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´ DVYDJXH%3-REMHFWVWRWKLV5HTXHVW WR WKH

H[WHQWLWUHTXLUHV%3-WRPDNHDVVXPSWLRQVDERXWWKHVH[UHODWHGSK\VLRORJLFDOFKDUDFWHULVWLFV

DVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFHRIDK\SRWKHWLFDOJLUOZKRLVWUDQVJHQGHU

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

WKDWJLUOVZKRDUHWUDQVJHQGHURIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJ

RURWKHUKRUPRQHWKHUDS\DQGKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\PD\QRWKDYHWKHVDPHVH[

UHODWHGSK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFHUHOHYDQWWRUXQQLQJWUDFN

RUFURVVFRXQWU\DV%3-%3-GHQLHVWKDWWKHWZRJURXSVDUHQRWVLPLODUO\VLWXDWHGIRUSXUSRVHV

RI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVH

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

            ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

            WUDFN RU FURVVFRXQWU\ PLGGOH VFKRRO PDOHLGHQWLI\LQJ PDOH VWXGHQWV ZKR UHFHLYHG

            SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\HGPDOHSXEHUW\DUHVLPLODUO\VLWXDWHG

            WR PLGGOH VFKRRO IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR KDYH UHFHLYHG QR

            SXEHUW\EORFNLQJWUHDWPHQWDQGKDYHQRWEHJXQHQGRJHQRXVIHPDOHSXEHUW\




                                                   


                                                                                            Armistead App. 1499



%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3-REMHFWVWRWKHSKUDVH³PDOHLGHQWLI\LQJPDOHVWXGHQWV´DVYDJXHDQGVFLHQWLILFDOO\

LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHFLVJHQGHUER\V´%3-REMHFWVWR

WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\ LQDFFXUDWH DQG

LQWHUSUHWV WKH SKUDVH WR PHDQ ³VWXGHQWV ZKR DUH FLVJHQGHU JLUOV´  %3- REMHFWV WR WKH SKUDVH

³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV%3-WR

PDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKRUHFHLYH

SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

WKDW FLVJHQGHUER\VZKRKDYHQRW \HWEHJXQSXEHUW\ ZRXOGRQDYHUDJH KDYHVLPLODUOHYHOV RI

FLUFXODWLQJWHVWRVWHURQHDVFLVJHQGHUJLUOVRIWKHVDPHDJHZKRKDYHQRWEHJXQSXEHUW\EXWGHQLHV

WKDWWKHWZRJURXSVDUHVLPLODUO\VLWXDWHGIRUSXUSRVHVRI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVH

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

            ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

            WUDFN RU FURVVFRXQWU\ PLGGOH VFKRRO PDOHLGHQWLI\LQJ PDOH VWXGHQWV ZKR UHFHLYHG

            SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\HGPDOHSXEHUW\DUHVLPLODUO\VLWXDWHG

            WR PLGGOH VFKRRO IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR KDYH UHFHLYHG QR

            SXEHUW\EORFNLQJWUHDWPHQWDQGKDYHEHJXQHQGRJHQRXVIHPDOHSXEHUW\




                                                    


                                                                                            Armistead App. 1500



%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

           %3-REMHFWVWRWKHSKUDVH³PDOHLGHQWLI\LQJPDOHVWXGHQWV´DVYDJXHDQGVFLHQWLILFDOO\

LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHFLVJHQGHUER\V´%3-REMHFWVWR

WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\ LQDFFXUDWH DQG

LQWHUSUHWV WKH SKUDVH WR PHDQ ³VWXGHQWV ZKR DUH FLVJHQGHU JLUOV´  %3- REMHFWV WR WKH SKUDVH

³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV%3-WR

PDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKRUHFHLYH

SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

           6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

WKLV5HTXHVW

5HTXHVWIRU$GPLVVLRQ1R

          <RXKDYHDOOHJHGWKDW³>J@LUOVZKRDUHWUDQVJHQGHUDUHQRWVLPLODUO\VLWXDWHGWR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

              ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

              WUDFN RU FURVVFRXQWU\ ELRORJLFDOPDOHPLGGOHVFKRROVWXGHQWV UHJDUGOHVV RI JHQGHU

              LGHQWLW\ ZKR UHFHLYHG SXEHUW\ EORFNLQJ WUHDWPHQW WKDW HIIHFWLYHO\ GHOD\HG PDOH

              SXEHUW\ DUH VLPLODUO\ VLWXDWHG WR IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR

              UHFHLYHG QR SXEHUW\ EORFNLQJ WUHDWPHQW DQG KDYH QRW EHJXQ HQGRJHQRXV IHPDOH

              SXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

           %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH PLGGOH VFKRRO VWXGHQWV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³PLGGOHVFKRROVWXGHQWVZLWKDPDOHVH[




                                                    


                                                                                           Armistead App. 1501



DVVLJQHG DW ELUWK´  %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³FLVJHQGHUJLUOV´%3-REMHFWVWRWKH

SKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV

%3-WRPDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKR

UHFHLYHSXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

WKDWPLGGOHVFKRROVWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWKZKRKDYH QRW \HWEHJXQSXEHUW\

ZRXOGRQDYHUDJHKDYHVLPLODUOHYHOVRIFLUFXODWLQJWHVWRVWHURQHDVFLVJHQGHUJLUOVRIWKHVDPH

DJHZKRKDYHQRWEHJXQSXEHUW\EXWGHQLHVWKDWWKHWZRJURXSVDUHVLPLODUO\VLWXDWHGIRUSXUSRVHV

RI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVHUHJDUGOHVVRIJHQGHULGHQWLW\

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

            ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

            WUDFN RU FURVVFRXQWU\ ELRORJLFDOPDOHPLGGOHVFKRROVWXGHQWV UHJDUGOHVV RI JHQGHU

            LGHQWLW\ ZKR UHFHLYHG SXEHUW\ EORFNLQJ WUHDWPHQW WKDW HIIHFWLYHO\ GHOD\HG PDOH

            SXEHUW\ DUH VLPLODUO\ VLWXDWHG WR IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR

            UHFHLYHGQRSXEHUW\EORFNLQJWUHDWPHQWDQGKDYHEHJXQHQGRJHQRXVIHPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH PLGGOH VFKRRO VWXGHQWV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³PLGGOHVFKRROVWXGHQWVZLWKDPDOHVH[

DVVLJQHG DW ELUWK´  %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH´ DV YDJXH DQG




                                                   


                                                                                           Armistead App. 1502



VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³FLVJHQGHUJLUOV´%3-REMHFWVWRWKH

SKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV

%3-WRPDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKR

UHFHLYHSXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

WKLV5HTXHVW

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´)LUVW$P&RPSO$GPLWWKDWZLWKUHVSHFWWRDQ\³SK\VLRORJLFDO

            FKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJWUDFNRUFURVV

            FRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRELRORJLFDOPDOHVWXGHQWVRIWKHVDPHDJHZKR

            KDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHUKRUPRQHWKHUDS\UHJDUGOHVV

            RIWKHVWXGHQWV¶JHQGHULGHQWLW\DQGKDYHQRWEHJXQHQGRJHQRXVPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\

LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWK´%3-

REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

WKLV5HTXHVW

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF




                                                   


                                                                                            Armistead App. 1503



             SHUIRUPDQFH´)LUVW$P&RPSO$GPLWWKDWZLWKUHVSHFWWRDQ\³SK\VLRORJLFDO

             FKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJWUDFNRUFURVV

             FRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRELRORJLFDOPDOHVWXGHQWVRIWKHVDPHDJHZKR

             KDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHUKRUPRQHWKHUDS\UHJDUGOHVV

             RIWKHVWXGHQWV¶JHQGHULGHQWLW\DQGKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\

LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWK´%3-

REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

WKDWVWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWKZKRKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\ZRXOG

RQDYHUDJHKDYHKLJKOHYHOVRIFLUFXODWLQJWHVWRVWHURQHWKDQ%3-EXWGHQLHVWKDWWKHWZRJURXSV

DUHVLPLODUO\VLWXDWHGIRUSXUSRVHVRI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVHUHJDUGOHVVRIJHQGHU

LGHQWLW\

5HTXHVWIRU$GPLVVLRQ1R

        <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

             FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

             SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

             ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

             WUDFNRUFURVVFRXQWU\%3-LVVLPLODUO\VLWXDWHGWRPDOHLGHQWLI\LQJELRORJLFDOIHPDOHV

             RIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHUKRUPRQH

             WKHUDS\DQGKDYHQRWEHJXQHQGRJHQRXVIHPDOHSXEHUW\




                                                    


                                                                                           Armistead App. 1504



%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³PDOHLGHQWLI\LQJ ELRORJLFDO IHPDOHV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUER\V´

%3-REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

WKDWVWXGHQWVZKRDUHWUDQVJHQGHUER\VDQGKDYHQRWEHJXQHQGRJHQRXVIHPDOHSXEHUW\ZRXOGRQ

DYHUDJHKDYHVLPLODUOHYHOVRIFLUFXODWLQJWHVWRVWHURQHDV%3-EXWGHQLHVWKDWWKHWZRJURXSVDUH

VLPLODUO\VLWXDWHGIRUSXUSRVHVRI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVH

5HTXHVWIRU$GPLVVLRQ1R

       <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

            FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

            SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

            ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

            WUDFNRUFURVVFRXQWU\%3-LVVLPLODUO\VLWXDWHGWRPDOHLGHQWLI\LQJELRORJLFDOIHPDOHV

            RIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHUKRUPRQH

            WKHUDS\DQGKDYHEHJXQHQGRJHQRXVIHPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³PDOHLGHQWLI\LQJ ELRORJLFDO IHPDOHV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUER\V´

%3-REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

WKLV5HTXHVW




                                                   


                                                                                            Armistead App. 1505



5HTXHVWIRU$GPLVVLRQ1R

        <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

             FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

             SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

             ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

             WUDFNRUFURVVFRXQWU\%3-LVVLPLODUO\VLWXDWHGWRELRORJLFDOIHPDOHVWXGHQWVRIWKH

             VDPH DJH ZKR KDYH QRW UHFHLYHG DQ\ IRUP RI SXEHUW\ EORFNLQJ RU RWKHU KRUPRQH

             WKHUDS\UHJDUGOHVVRIWKHVWXGHQWV¶JHQGHULGHQWLW\DQGKDYHQRWEHJXQHQGRJHQRXV

             IHPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

        %3- REMHFWV WR WKH SKUDVH ³PDOHLGHQWLI\LQJ ELRORJLFDO IHPDOHV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUER\V´

%3-REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

        6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

WKDWVWXGHQWVZKRDUHWUDQVJHQGHUER\VDQGKDYHQRWEHJXQHQGRJHQRXVIHPDOHSXEHUW\ZRXOGRQ

DYHUDJHKDYHVLPLODUOHYHOVRIFLUFXODWLQJWHVWRVWHURQHDV%3-EXWGHQLHVWKDWWKHWZRJURXSVDUH

VLPLODUO\ VLWXDWHG IRU SXUSRVHV RI 7LWOH ,; RU WKH (TXDO 3URWHFWLRQ &ODXVH UHJDUGOHVV RI JHQGHU

LGHQWLW\

5HTXHVWIRU$GPLVVLRQ1R

        <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

             FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

             SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

             ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ




                                                    


                                                                                      Armistead App. 1506



             WUDFNRUFURVVFRXQWU\%3-LVVLPLODUO\VLWXDWHGWRELRORJLFDOIHPDOHVWXGHQWVRIWKH

             VDPH DJH ZKR KDYH QRW UHFHLYHG DQ\ IRUP RI SXEHUW\ EORFNLQJ RU RWKHU KRUPRQH

             WKHUDS\UHJDUGOHVVRIWKHVWXGHQWV¶JHQGHULGHQWLW\DQGKDYHQRWEHJXQHQGRJHQRXV

             IHPDOHSXEHUW\

%3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

         %3- REMHFWV WR WKH SKUDVH ³PDOHLGHQWLI\LQJ ELRORJLFDO IHPDOHV´ DV YDJXH DQG

VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUER\V´

%3-REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

         6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

WKLV5HTXHVW

         

    'DWHG0DUFK                           5HVSHFWIXOO\6XEPLWWHG
                                                    V/RUHH6WDUN
    -RVKXD%ORFN                                   /RUHH6WDUN %DU1R 
    7D\ORU%URZQ                                   $0(5,&$1&,9,//,%(57,(681,212)
    &KDVH6WUDQJLR                                 :(67
    $0(5,&$1&,9,//,%(57,(681,21                 9,5*,1,$)281'$7,21
    )281'$7,21                                     32%R[
    %URDG6W                                  &KDUOHVWRQ:9
    1HZ<RUN1<                             3KRQH  
    3KRQH                            OVWDUN#DFOXZYRUJ
    MEORFN#DFOXRUJ                                
    WEURZQ#DFOXRUJ                                .DWKOHHQ+DUWQHWW 
    FVWUDQJLR#DFOXRUJ                             -XOLH9HURII 
                                                   &22/(<//3
    $YDWDUD6PLWK&DUULQJWRQ                       (PEDUFDGHUR&HQWHUWK)ORRU
    /$0%'$/(*$/                                   6DQ)UDQFLVFR&$
    2DN/DZQ$YHQXH6XLWH                3KRQH  
    'DOODV7;                               NKDUWQHWW#FRROH\FRP
    3KRQH                            MYHURII#FRROH\FRP
    DVPLWKFDUULQJWRQ#ODPEGDOHJDORUJ               
                                                   .DWHO\Q.DQJ 
    &DUO&KDUOHV                                   &22/(<//3
    7DUD%RUHOOL                                   +XGVRQ<DUGV
    /$0%'$/(*$/                                   1HZ<RUN1<


                                                 


                                                                               Armistead App. 1507



    :HVW3RQFH'H/HRQ$YH6WH      3KRQH  
    'HFDWXU*$                             NNDQJ#FRROH\FRP
    3KRQH                        
    FFKDUOHV#ODPEGDOHJDORUJ                   (OL]DEHWK5HLQKDUGW 
    WERUHOOL#ODPEGDOHJDORUJ                   &22/(<//3
                                               %R\OVWRQ6WUHHWWK)ORRU
    6UXWL6ZDPLQDWKDQ                          %RVWRQ0$
    /$0%'$/(*$/                               3KRQH  
    :DOO6WUHHWWK)ORRU                HUHLQKDUGW#FRROH\FRP
    1HZ<RUN1<                         
    3KRQH                          Visiting Attorneys
    VVZDPLQDWKDQ#ODPEGDOHJDORUJ
                                               Attorneys for Plaintiff
    $QGUHZ%DUU 
    &22/(<//3
    WK6W6XLWH
    'HQYHU&2
    3KRQH  
    DEDUU#FRROH\FRP

         







                                             


                                                                                                          Armistead App. 1508



                       ,17+(81,7('67$7(6',675,&7&2857
                   )257+(6287+(51',675,&72):(679,5*,1,$
                               &+$5/(6721',9,6,21

 %3-E\KHUQH[WIULHQGDQGPRWKHU+($7+(5
 -$&.621

                               Plaintiff

                        Y                                   &LYLO$FWLRQ1RFY

 :(679,5*,1,$67$7(%2$5'2)                                +RQ-RVHSK5*RRGZLQ
 ('8&$7,21+$55,621&2817<%2$5'
 2)('8&$7,21:(679,5*,1,$
 6(&21'$5<6&+22/$&7,9,7,(6
 &200,66,21:&/$<721%85&+LQKLV
 RIILFLDOFDSDFLW\DV6WDWH6XSHULQWHQGHQW'25$
 6787/(5LQKHURIILFLDOFDSDFLW\DV+DUULVRQ
 &RXQW\6XSHULQWHQGHQWDQG7+(67$7(2)
 :(679,5*,1,$

                               Defendants

                        DQG

 /$,1(<$50,67($'

                               Defendant-Intervenor


                                             9(5,),&$7,21

       $IWHU EHLQJ ILUVW GXO\ VZRUQ , +HDWKHU -DFNVRQ GHSRVH DQG VD\ WKDW , KDYH UHDG WKH

IRUHJRLQJ UHVSRQVHV LQ 3ODLQWLII¶V 5HVSRQVHV DQG 2EMHFWLRQV WR ,QWHUYHQRU /DLQH\ $UPLVWHDG¶V

7KLUG6HWRI,QWHUURJDWRULHVDQG6HFRQGDQG7KLUG6HWVRI5HTXHVWVIRU$GPLVVLRQGDWHG0DUFK

DQGNQRZLWVFRQWHQWV7KHIRUHJRLQJLVWUXHWRP\NQRZOHGJHH[FHSWWRWKRVHPDWWHUVVWDWHG

WREHDOOHJHGRQLQIRUPDWLRQDQGEHOLHIDQGDVWRWKRVHPDWWHUV,EHOLHYHWKHPWREHWUXH

                                                                  BBBBBBBBBBBBBBBBBBBBBB
                                                               6LJQHGE\+HDWKHU-DFNVRQ
                                                               'DWH 7LPH0DUFK(67



                                                                  +HDWKHU-DFNVRQ


                                                    
                                                                                                                                  Armistead App. 1509



 67$7(2):(679,5*,1,$

             +DUULVRQ
 &2817<2)BBBBBBBBBBBBBBBWRZLW

              7D
               DNH
                N Q VX
              7DNHQ  XEEVVFULEH DQG VZRUQ WR EHIRUH PH WKH XQGHUVLJQHG 1RWDU\ 3XEOLF WKLV GDWH
                      VXEVFULEHG

 BBBBBBBBBBBBBBBBBBBBBBBB
6LJQHGE\=DNL0LFKDHOV
'DWH 7LPH0DUFK(67


 0\FRPPLVVLRQH[SLUHV 


                                                7KLVUHPRWHRQOLQHQRWDUL]DWLRQLQYROYHGWKHXVHRIDXGLRYLVXDOFRPPXQLFDWLRQ
                                                WHFKQRORJ\




                                                                 
                                                                                  Armistead App. 1510
                                           9LGHR0HHWLQJ
9LGHR,'DDNH3$LS:25HFRUGLQJ85/KWWSVGVXFFDDNH3$LS:23DVVFRGH
                                                                              Armistead App. 1511



                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

B.P.J., by her next friend and mother,
HEATHER JACKSON,

                                     Plaintiff,

v.                                                        Civil Action No. 2:21-cv-00316
                                                   Hon. Joseph R. Goodwin, District Judge

WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY BOARD
OF EDUCATION, WEST VIRGINIA
SECONDARY SCHOOL ACTIVITIES
COMMISSION, W. CLAYTON BURCH in his
official capacity as State Superintendent,
DORA STUTLER in her official capacity as
Harrison County Superintendent, PATRICK
MORRISEY in his official capacity as Attorney
General, and THE STATE OF WEST VIRGINIA,

                                     Defendants,

and

LAINEY ARMISTEAD,

                                     Defendant-Intervenor.

 DEFENDANT HARRISON COUNTY BOARD OF EDUCATION’S RESPONSES AND
  OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR ADMISSION

               Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Defendant Harrison

County Board of Education (“County Board”) hereby responds and objects to “Plaintiff’s Second

Set of Requests for Admission to Defendant Harrison County Board of Education” as follows:

               GENERAL OBJECTION: The County Board objects to the definitions of

“County Board” and “County Superintendent” as set forth in Plaintiff’s requests for admission.

Those definitions are overly broad and outside the permissible scope of discovery under the



14094080
                                                                                        Armistead App. 1512



Federal Rules of Civil Procedure as the definitions improperly broaden the identity of parties in

this case. For instance, the definitions of the “County Board” and the “County Superintendent”

also include their “officers, directors, employees, partners, corporate parent, subsidiaries, affiliates,

attorneys, accountants, consultants, representatives and agents.” The County Board objects to

providing responses pursuant to the broadened definitions of “County Board” and “County

Superintendent.” The County Board further objects to the Definitions and Instructions set forth in

Plaintiff’s requests to the extent they are inconsistent with the Federal Rules of Civil Procedure or

applicable law.


                REQUEST NO. 5:          Admit that Plaintiff B.P.J. has been diagnosed with gender

dysphoria.

                RESPONSE:               The County Board admits that medical records produced in

this case state that Plaintiff B.P.J. has been diagnosed with gender dysphoria.


                REQUEST NO. 6:          Admit that in 2021 Plaintiff B.P.J. was a member of

Bridgeport Middle School’s girls’ cross-country team.

                RESPONSE:               Admitted.


                REQUEST NO. 7:          Admit that Plaintiff B.P.J. placed 51 out of 66 competitors

in the girls’ middle school cross country Mountain Hollar MS Invitational meet in 2021.

                RESPONSE:               Upon information and belief, and based on information

provided on RunWV.com regarding the results of the race, the County Board admits this request.




14094080                                            2
                                                                                    Armistead App. 1513



               REQUEST NO. 8:          Admit that Plaintiff B.P.J. placed 123 out of 150 competitors

in the girls’ middle school cross country Doddridge Invitational meet in 2021.

               RESPONSE:               Upon information and belief, and based on information

provided on RunWV.com regarding the results of the race, the County Board admits this request.


               REQUEST NO. 9:          Admit that you have not received any complaints associated

with Plaintiff B.P.J.’s membership on Bridgeport Middle School’s girls’ cross country team.

               RESPONSE:               Admitted.


               REQUEST NO. 10: Admit that no middle school girl was harmed as a result of

B.P.J.’s participation on Bridgeport Middle School’s girls’ cross country team in 2021.

               RESPONSE:               OBJECTION. The County Board objects to this request

because it is vague. The County Board does not know what Plaintiff means by the term “harmed.”

Subject to and without waiving the objection, the County Board admits that no student was cut

from the Bridgeport Middle School’s girls’ cross country team in 2021. The County Board

otherwise denies this request because it is unclear what Plaintiff is asking.


               REQUEST NO. 11: Admit that no middle school girl was injured as a result of

Plaintiff B.P.J.’s participation on Bridgeport Middle School’s girls’ cross country team in 2021.

               RESPONSE:               OBJECTION. The County Board objects to this request

because it is vague. The County Board does not know what Plaintiff means by the term “injured.”

Subject to and without waiving the objection, the County Board admits that no student was cut

from the Bridgeport Middle School’s girls’ cross country team in 2021. The County Board

otherwise denies this request because it is unclear what Plaintiff is asking.




14094080                                           3
                                                                                   Armistead App. 1514



               REQUEST NO. 12: Admit that no Bridgeport Middle School girl student was

prohibited from joining Bridgeport Middle School’s girls’ cross-country team in 2021.

               RESPONSE:              Admitted.


               REQUEST NO. 13: Admit that Bridgeport Middle School’s girls’ cross-country

team did not turn anyone away from participating due to lack of space on the roster in 2021.

               RESPONSE:              Admitted.


               REQUEST NO. 14: Admit that Plaintiff B.P.J. does not have an unfair athletic

advantage over other girls participating on the Bridgeport Middle School girls’ cross-country team.

               RESPONSE:              Even with a reasonable inquiry, the County Board cannot

admit or deny this request because the information it knows or can readily obtain is insufficient to

enable the County Board to admit or deny the request.


               REQUEST NO. 15: Admit that Plaintiff B.P.J. does not have an unfair athletic

advantage over girls competing against the Bridgeport Middle School girls’ cross-country team.

               RESPONSE:              Even with a reasonable inquiry, the County Board cannot

admit or deny this request because the information it knows or can readily obtain is insufficient to

enable the County Board to admit or deny the request.


               REQUEST NO. 16: Admit that cross country is a sport that requires “competitive

skill” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board cannot admit or deny this request because “competitive skill” is not defined in H.B. 3293.



14094080                                          4
                                                                                   Armistead App. 1515



               REQUEST NO. 17: Admit that cross country is a sport that requires “competitive

skill” as that phrase is used in 34 C.F.R.§106.41(b).

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board cannot admit or deny this request because “competitive skill” is not defined in 34

C.F.R.§106.41(b).


               REQUEST NO. 18: Admit that cross country is not a “contact sport” as that

phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board cannot admit or deny this request because “contact sport” is not defined in H.B. 3293.


               REQUEST NO. 19: Admit that cross country is not a “contact sport” as that

phrase is used in 34 C.F.R.§106.41(b).

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that “cross country” is not specifically identified as a “contact sport” in 34

C.F.R.§106.41(b).


               REQUEST NO. 20: Admit that, but for the injunction issued in this case

(Dkt. 67), Plaintiff B.P.J. would not have been permitted to be a member of Bridgeport Middle




14094080                                         5
                                                                                    Armistead App. 1516



School’s girls’ cross-country team in 2021 because of H.B. 3293 (codified at Code of West

Virginia §18-2-25d(c)(2)).

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

sports designated for females, women, or girls shall not be open to students of the male sex where

selection for such teams is based upon competitive skill or the activity involved is a contact

sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issues in this

case, the County Board admits this request.


               REQUEST NO. 21: Admit that, but for the injunction issued in this case

(Dkt. 67), Plaintiff B.P.J. would not be permitted to be a member of any girls’ athletic team offered

at Bridgeport Middle School because of H.B. 3293 (codified at Code of West Virginia §18-2-

25d(c)(2)).

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

sports designated for females, women, or girls shall not be open to students of the male sex where

selection for such teams is based upon competitive skill or the activity involved is a contact

sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

case, the County Board admits this request.




14094080                                         6
                                                                                    Armistead App. 1517



               REQUEST NO. 22: Admit that H.B. 3293 prohibits Plaintiff B.P.J. from

participating on girls’ athletic teams at all public secondary schools located in West Virginia.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

sports designated for females, women, or girls shall not be open to students of the male sex where

selection for such teams is based upon competitive skill or the activity involved is a contact

sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

case, the County Board admits this request.


               REQUEST NO. 23: Admit that the State Board of Education and the State

Superintendent must comply with H.B. 3293 unless enjoined from doing so by a court.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board is not in a position to admit or deny this request because it concerns the State Board of

Education and State Superintendent’s obligations under H.B. 3293.


               REQUEST NO. 24: Admit that H.B. 3293 prohibits the State Board of Education

and the State Superintendent from adopting or enforcing a policy that would allow B.P.J. to

participate on girls’ athletic teams at Bridgeport Middle School.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board is not in a position to admit or deny this request because it concerns the State Board of

Education and State Superintendent’s obligations under H.B. 3293.

14094080                                         7
                                                                                  Armistead App. 1518



                 REQUEST NO. 25: Admit that the Harrison County Board of Education and the

Harrison County School Superintendent must comply with H.B. 3293 unless enjoined from doing

so by a court.

                 RESPONSE:           OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


                 REQUEST NO. 26: Admit that H.B. 3293 prohibits the Harrison County Board

of Education and the Harrison County Superintendent from adopting or enforcing a policy that

would allow B.P.J. to participate on girls’ athletic teams at Bridgeport Middle School.

                 RESPONSE:           OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this



14094080                                        8
                                                                               Armistead App. 1519



request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


               REQUEST NO. 27: Admit that the West Virginia Secondary School Athletic

Commission must comply with H.B. 3293 unless enjoined from doing so by a court.

               RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board is not in a position to admit or deny this request because it concerns the West Virginia

Secondary School Athletic Commission’s obligations under H.B. 3293.


               REQUEST NO. 28: Admit that H.B. 3293 prohibits the West Virginia Secondary

School Athletic Commission from adopting or enforcing a policy that would allow B.P.J. to

participate on girls’ athletic teams at Bridgeport Middle School

               RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board is not in a position to admit or deny this request because it concerns the West Virginia

Secondary School Athletic Commission’s obligations under H.B. 3293.


               REQUEST NO. 29: Admit that there are no athletic teams designated as “coed or

mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

25d(c)(1)(C)), offered at Bridgeport Middle School.

               RESPONSE:             Denied.


               REQUEST NO. 30: Admit that there are no athletic teams designated as “coed or

mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

14094080                                        9
                                                                                  Armistead App. 1520



25d(c)(1)(C)), that compete interscholastically offered at any public secondary school located in

West Virginia.

                 RESPONSE:           Denied.


                 REQUEST NO. 31: Admit that there are no cross-country teams designated as

“coed or mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

25d(c)(1)(C)), that compete interscholastically offered by any member school of the West Virginia

Secondary School Activities Commission.

                 RESPONSE:           OBJECTION. The County Board objects to the scope of

this request. Subject to and without waiving the objection, the County Board can only answer on

behalf of schools in Harrison County, and admits that there are no “co-ed or mixed” cross country

teams in Harrison County.


                 REQUEST NO. 32: Admit that there are no athletic leagues designated as “coed

or mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

25d(c)(1)(C)), that comprise teams from more than one school supervised by the West Virginia

Secondary School Activities Commission.

                 RESPONSE:           OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, and even with

a reasonable inquiry, the County Board cannot admit or deny this request because the information

it knows or can readily obtain is insufficient to enable the County Board to admit or deny the

request.


                 REQUEST NO. 33: Admit that there are no athletic teams designated as “coed or

mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-


14094080                                       10
                                                                                   Armistead App. 1521



25d(c)(1)(C)),” that compete interscholastically offered by any public secondary school under the

supervision of the West Virginia State Board of Education.

               RESPONSE:              OBJECTION. The County Board objects to this request

because it is vague. Subject to and without waiving the objection, the County Board denies the

request because there are “co-ed” teams in Harrison County, but the County Board cannot admit

or deny the rest of the request based on how it is phrased.


               REQUEST NO. 34: Admit that H.B. 3293 does not prohibit a cisgender girl

student at Bridgeport Middle School from joining a girls’ athletic team offered at Bridgeport

Middle School.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, and based on

the language used in H.B. 3293, the County Board admits this request.


               REQUEST NO. 35: Admit that H.B. 3293 does not prohibit a cisgender girl

student at any public secondary school in West Virginia from joining a girls’ athletic team offered

by her public secondary school.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, and based on

the language used in H.B. 3293, the County Board admits this request.


               REQUEST NO. 36: Admit that H.B. 3293 prohibits a Bridgeport Middle School

transgender girl student from joining a girls’ athletic team offered at Bridgeport Middle School.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County


14094080                                         11
                                                                                    Armistead App. 1522



Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

sports designated for females, women, or girls shall not be open to students of the male sex where

selection for such teams is based upon competitive skill or the activity involved is a contact

sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

case, the County Board admits this request.


               REQUEST NO. 37: Admit that H.B. 3293 prohibits any transgender girl

secondary school student located in West Virginia from joining a girls’ athletic team offered by

her public secondary school.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

sports designated for females, women, or girls shall not be open to students of the male sex where

selection for such teams is based upon competitive skill or the activity involved is a contact

sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

case, the County Board admits this request.


               REQUEST NO. 38: Admit that prior to the enactment of H.B. 3293, cisgender

boy students at Bridgeport Middle School were prohibited from joining girls’ athletic teams

offered at Bridgeport Middle School.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County




14094080                                         12
                                                                                  Armistead App. 1523



Board admits that there is a West Virginia Secondary School Activities Commission rule that may

apply to this situation.


                REQUEST NO. 39: Admit that prior to the enactment of H.B. 3293, a cisgender

boy student at any public secondary school in West Virginia was prohibited from joining girls’

athletic teams offered at his public secondary school.

                RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that there is a West Virginia Secondary School Activities Commission rule that may

apply to this situation.

                REQUEST NO. 40: Admit that prior to the enactment of H.B. 3293, you are not

aware of any transgender student athlete participating on an athletic team offered by Bridgeport

Middle School.

                RESPONSE:             Admitted.


                REQUEST NO. 41: Admit that prior to the enactment of H.B. 3293, you are not

aware of any transgender student athlete participating on an athletic team offered by a public

secondary school in West Virginia.

                RESPONSE:             Admitted.


                REQUEST NO. 42: Admit that other than Plaintiff B.P.J., you are not aware of a

transgender student athlete participating on an athletic team offered by Bridgeport Middle School.

                RESPONSE:             Admitted.




14094080                                          13
                                                                                  Armistead App. 1524



               REQUEST NO. 43: Admit that other than Plaintiff B.P.J., you are not aware of a

transgender student athlete participating on an athletic team offered by a public secondary school

in West Virginia.

               RESPONSE:              Admitted.


               REQUEST NO. 44: Admit that students derive social benefits from participation

on athletic teams offered by public secondary schools in West Virginia.

               RESPONSE:              Admitted.


               REQUEST NO. 45: Admit that students derive psychological benefits from

participation on athletic teams offered by public secondary schools in West Virginia.

               RESPONSE:              Admitted.


               REQUEST NO. 46: Admit that interscholastic athletic competition benefits

middle school students.

               RESPONSE:              Admitted.


               REQUEST NO. 47: Admit that middle school students who participate in

interscholastic athletics receive benefits regardless whether they win or lose.

               RESPONSE:              Admitted.


               REQUEST NO. 48: Admit that but for the injunction issued in this case, the

Harrison County School Board and schools within the Harrison County School District would

comply with H.B. 3293.

               RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County


14094080                                          14
                                                                                Armistead App. 1525



Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


               REQUEST NO. 49: Admit that but for the injunction in this case (Dkt. 67) the

Harrison County School Board and schools within the Harrison County School District would not

take any actions that violated H.B. 3293.

               RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


               REQUEST NO. 50: Admit that, but for the injunction in this case (Dkt. 67), the

Harrison County School Board and Bridgeport Middle School would not have permitted Plaintiff

14094080                                      15
                                                                                 Armistead App. 1526



B.P.J. to try out for the Bridgeport Middle School’s girls’ cross-country team in 2021 because of

H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

              RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


              REQUEST NO. 51: Admit that, but for the injunction in this case (Dkt. 67), the

Harrison County School Board and Bridgeport Middle School would not have allowed Plaintiff

B.P.J. to participate on the Bridgeport Middle School’s girls’ cross-country team in 2021 because

of H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

              RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this



14094080                                       16
                                                                                Armistead App. 1527



request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


              REQUEST NO. 52: Admit that, but for the injunction in this case (Dkt. 67), the

Harrison County School Board and Bridgeport Middle School would not permit Plaintiff B.P.J. to

try out for any girls’ athletic team offered at Bridgeport Middle School because of H.B. 3293

(codified at Code of West Virginia §18-2-25d(c)(2)).

              RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


              REQUEST NO. 53: Admit that, but for the injunction issued in this case

(Dkt. 67), the Harrison County School Board and Bridgeport Middle School would not permit

Plaintiff B.P.J. to be a member of any girls’ athletic team offered at Bridgeport Middle School

because of H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

              RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

14094080                                      17
                                                                                Armistead App. 1528



Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

Boards of Education, including the County Board and its County Superintendent, because H.B.

3293 provides for private causes of action, and thus imposes liability against County Boards of

Education, like the County Board, and while the County Board and its County Superintendent did

not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

request because, absent an injunction by a court, the County Board would be compelled and

required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

Board no discretion.


               REQUEST NO. 54: Admit that Plaintiff B.P.J.’s gender is identified as “male” in

the West Virginia Education Information System (“WVEIS”).

               RESPONSE:             Admitted.


               REQUEST NO. 55: Admit that you have the ability to change Plaintiff B.P.J.’s

gender in WVEIS to “female.”

               RESPONSE:             OBJECTION. The County Board objects to the request

because it seeks information that is not relevant to any party’s claim or defense and is not

proportional to the needs of the case. Subject to and without waiving the objection, the County

Board admits that it has the ability to change data in WVEIS.


               REQUEST NO. 56: Admit that H.B. 3293 allows a student to bring an action

against you for alleged violations of H.B. 3293.

               RESPONSE:             OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits this request.


14094080                                           18
                                                                                Armistead App. 1529



              REQUEST NO. 57: Admit that you are required to regulate athletic activities

offered by public secondary schools in Harrison County. See Code of West Virginia §18-2-25.

              RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that the provisions of West Virginia Code §18-2-25 require it to regulate athletic

activities of public secondary schools in Harrison County.


              REQUEST NO. 58: Admit that you are required to control interscholastic athletic

events in which Bridgeport Middle School participates. See Code of West Virginia §18-2-25.

              RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that the provisions of West Virginia Code §18-2-25 require it to control athletic

activities of public secondary schools in Harrison County.


              REQUEST NO. 59: Admit that you are required supervise interscholastic athletic

events in which Bridgeport Middle School participates. See Code of West Virginia §18-2-25.

              RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that the provisions of West Virginia Code §18-2-25 require it to supervise athletic

activities of public secondary schools in Harrison County.


              REQUEST NO. 60: Admit that you are required regulate interscholastic athletic

events in which Bridgeport Middle School participates. See Code of West Virginia §18-2-25.

              RESPONSE:              OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County


14094080                                       19
                                                                                     Armistead App. 1530



Board admits that the provisions of West Virginia Code §18-2-25 require it to regulate athletic

events in which Bridgeport Middle School participates.


               REQUEST NO. 61: Admit that Bridgeport Middle School is a member school of

the West Virginia Secondary School Activities Commission.

               RESPONSE:               Admitted.


               REQUEST NO. 62: Admit that you have delegated control over interscholastic

athletic events in Harrison County to the West Virginia Secondary School Activities Commission.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that it has delegated some, but not all, control over interscholastic athletic events in

Harrison County to the West Virginia Secondary School Activities Commission.


               REQUEST NO. 63: Admit            that    you   have   delegated    supervision    over

interscholastic athletic events to the West Virginia Secondary School Activities Commission.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits that it has delegated some, but not all, supervision over interscholastic athletic events

to the West Virginia Secondary School Activities Commission.


               REQUEST NO. 64: Admit that you have delegated regulation of interscholastic

athletic events to the West Virginia Secondary School Activities Commission.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County



14094080                                           20
                                                                                     Armistead App. 1531



Board admits that it has delegated some, but not all, regulation of interscholastic athletic events to

the West Virginia Secondary School Activities Commission.


               REQUEST NO. 65: Admit that the State Board of Education controls you. See

Code of West Virginia §18-2-5.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board denies this request because West Virginia Code §18-2-5 states that “the State Board of

Education shall exercise general supervision of the public schools of the state, and shall promulgate

rules[.]”


               REQUEST NO. 66: Admit that you receive federal financial assistance.

               RESPONSE:               Admitted.


               REQUEST NO. 67: Admit that you must comply with Title IX of the Education

Amendments of 1972, 20 U.S.C. §1681 et seq.

               RESPONSE:               OBJECTION. The County Board objects to the extent this

request is seeking a legal conclusion. Subject to and without waiving the objection, the County

Board admits this request.

               Dated this the 10th day of March, 2022.


                                                   /s/ Susan L. Deniker
                                                   Susan L. Deniker         (WV ID #7992)
                                                   Jeffrey M. Cropp         (WV ID #8030)
STEPTOE & JOHNSON PLLC                             400 White Oaks Boulevard
   OF COUNSEL                                      Bridgeport, WV 26330-4500
                                                   (304) 933-8000

                                                   Counsel for Defendants Harrison County Board of
                                                   Education and Dora Stutler


14094080                                           21
Armistead App. 1532
Armistead App. 1533
Armistead App. 1534
Armistead App. 1535
Armistead App. 1536
Armistead App. 1537
Armistead App. 1538
Armistead App. 1539
Armistead App. 1540
Armistead App. 1541
Armistead App. 1542
Armistead App. 1543
                                                                                                                  Armistead App. 1544
                                     Ritchie County                                                           Ritchie County
    BMS XC-Boys                    Saturday, October 1                      BMS XC-Girls                    Saturday, October 1
  First Name   Last Name   Distance Actual Time Pace Per Mile         First Name       Last Name   Distance Actual Time Pace Per Mile
                                1.9      11:00.7       05:47.7                                           1.9      13:16.7       06:59.3
                                1.9      12:53.6       06:47.2                                           1.9      13:19.4       07:00.7
                                1.9      13:18.6       07:00.3                                           1.9      14:46.6       07:46.6
                                1.9      13:23.9       07:03.1                                           1.9      15:00.6       07:54.0
                                1.9      13:25.0       07:03.7                                           1.9      15:02.0       07:54.7
                                1.9      14:05.5       07:25.0                                           1.9      15:31.2       08:10.1
                                1.9      14:20.3       07:32.8                                           1.9      15:40.2       08:14.8
                                1.9      14:25.3       07:35.4                                           1.9      16:03.7       08:27.2
                                1.9      14:34.8       07:40.4                                           1.9      17:17.2       09:05.9
                                1.9      14:53.4       07:50.2                                           1.9      17:30.1       09:12.7
                                1.9      15:21.5       08:05.0                                           1.9      18:11.7       09:34.6
                                1.9      16:40.2       08:46.4       B             P      -J             1.9      19:02.6       10:01.4
                                1.9      17:27.6       09:11.4                                           1.9      19:12.5       10:06.6
                                1.9      19:22.6       10:11.9                                           1.9      21:13.7       11:10.4
                           N/A      N/A          N/A                                                     1.9      24:06.1       12:41.1
                           N/A      N/A          N/A                                               N/A       N/A          N/A
                           N/A      N/A          N/A                                               N/A       N/A          N/A
                                                                                                   N/A       N/A          N/A




                                                           Varsity Sheets
CONFIDENTIAL
                                                                                                                     HCBOE 01265
                                                                                                                                                                                                                  Armistead App. 1545




                                                                           WI Last Call                       Harrison County Champs-Mountaineer Middle                 XC Time Trial-Bridgeport City Park Course                                 Ritchie County
                                                                      Saturday, October 16                               Wednesday, October 13                                    Thursday, October 7                                           Saturday, October
Boy/Girl   Grade:          First Name       Last Name       Distance       Actual Time     Pace Per Mile        Distance       Actual Time     Pace Per Mile TT Place       Course Length TT Time              TT Pace/Mile          Distance       Actual Time
Boy        8th Grade                                                 2.1         13:08.6          06:15.5                2.1          12:54.1         06:08.6             1             1.55           09:34.6         0:06:11                1.9          11:00.7
Boy        8th Grade                                                 2.1         15:00.7          07:08.9                2.1          14:20.9         06:49.9             0 N/A               N/A              N/A               N/A              N/A
Boy        6th Grade                                                 2.1         15:19.4          07:17.8                2.1          14:43.8         07:00.9             5             1.55           11:24.7         0:07:22                1.9          14:34.8
Boy        7th Grade                                                 2.1         15:57.5          07:35.9                2.1          14:51.7         07:04.6             3             1.55           10:54.9         0:07:03                1.9          12:53.6
Boy        7th Grade                                                 2.1         16:04.4          07:39.2                2.1          15:17.6         07:17.0             0 N/A               N/A              N/A                            1.9          13:25.0
Boy        8th Grade                                                 2.1         16:51.4          08:01.6                2.1          16:38.1         07:55.3             8             1.55           11:42.4         0:07:33                1.9          14:53.4
Boy        6th Grade                                                 2.1         17:20.6          08:15.5                2.1          16:49.6         08:00.8             9             1.55           11:47.7         0:07:37                1.9          14:20.3
Boy        8th Grade                                                 2.1         17:51.5          08:30.3                2.1          16:47.5         07:59.8            10             1.55           12:04.6         0:07:47                1.9          14:05.5
Boy        7th Grade                                                 2.1         18:05.0          08:36.7                2.1          16:53.4         08:02.6            11             1.55           12:08.3         0:07:50                1.9          14:25.3
Boy        8th Grade                                                 2.1         18:34.3          08:50.6                2.1          18:55.8         09:00.9             0 N/A               N/A              N/A                            1.9          15:21.5
Boy        7th Grade                                                 2.1         20:39.9          09:50.4                2.1          19:23.7         09:14.1            15             1.55           13:26.9         0:08:41                1.9          17:27.6
Boy        7th Grade                                                 2.1         22:05.1          10:31.0                2.1          19:27.0         09:15.7            18             1.55           13:52.5         0:08:57                1.9          16:40.2
Boy        7th Grade                                    N/A              N/A             N/A                             2.1          22:04.6         10:30.8            27             1.55           19:38.5         0:12:40                1.9          19:22.6
Boy        7th Grade                                    N/A              N/A             N/A                             2.1          22:32.3         10:44.0             0 N/A               N/A              N/A               N/A              N/A
Boy        7th Grade                                    N/A              N/A             N/A                N/A              N/A              N/A                         0 N/A               N/A              N/A               N/A              N/A
Boy        7th Grade                                    N/A              N/A             N/A                N/A              N/A              N/A                         2             1.55           10:52.2         0:07:01                1.9          13:18.6
Boy        6th Grade                                    N/A              N/A             N/A                N/A              N/A              N/A                         4             1.55           10:58.8         0:07:05                1.9          13:23.9
Girl       8th Grade                                                 2.1         15:48.7          07:31.8                2.1          15:32.7         07:24.1             6             1.55           11:25.3         0:07:22                1.9          13:16.7
Girl       6th Grade                                                 2.1         16:12.7          07:43.2                2.1          16:53.4         08:02.6             7             1.55           11:25.8         0:07:22                1.9          13:19.4
Girl       6th Grade                                                 2.1         17:27.3          08:18.7                2.1          18:14.6         08:41.2            13             1.55           12:31.9         0:08:05                1.9          14:46.6
Girl       7th Grade                                                 2.1         18:08.5          08:38.4                2.1          17:55.2         08:32.0             0 N/A               N/A              N/A                            1.9          15:31.2
Girl       6th Grade                                                 2.1         19:11.0          09:08.1                2.1          18:20.5         08:44.1            23             1.55           15:23.9         0:09:56                1.9          15:02.0
Girl       8th Grade                                                 2.1         19:24.8          09:14.7                2.1          17:56.8         08:32.8            12             1.55           12:29.5         0:08:04                1.9          16:03.7
Girl       6th Grade                                                 2.1         19:57.8          09:30.4                2.1          19:07.4         09:06.4            17             1.55           13:49.7         0:08:55                1.9          15:40.2
Girl       7th Grade                                                 2.1         20:57.9          09:59.0                2.1          19:02.2         09:03.9            16             1.55           13:44.4         0:08:52                1.9          17:30.1
Girl       7th Grade                                                 2.1         21:05.5          10:02.6                2.1          19:27.7         09:16.0            19             1.55           13:56.8         0:09:00   N/A              N/A
Girl       8th Grade                                                 2.1         21:11.3          10:05.4                2.1          18:36.9         08:51.9            20             1.55           14:52.2         0:09:36                1.9          17:17.2
Girl       6th Grade   B                P     -J                     2.1         21:50.8          10:24.2                2.1          22:38.1         10:46.7            24             1.55           16:10.1         0:10:26                1.9          19:02.6
Girl       6th Grade                                                 2.1         22:03.8          10:30.4                2.1          21:37.2         10:17.7            22             1.55           15:17.6         0:09:52                1.9          19:12.5
Girl       8th Grade                                                 2.1         22:39.5          10:47.4                2.1          22:14.4         10:35.4            21             1.55           14:53.3         0:09:36                1.9          18:11.7
Girl       7th Grade                                                 2.1         26:11.1          12:28.1                2.1          27:59.0         13:19.5            26             1.55           17:51.7         0:11:31                1.9          21:13.7
Girl       8th Grade                                                 2.1         27:40.9          13:10.9                2.1          26:38.8         12:41.3            25             1.55           17:42.1         0:11:25   N/A              N/A
Girl       6th Grade                                                 2.1         29:14.2          13:55.4                2.1          32:50.9         15:38.5            28             1.55           22:15.5         0:14:22                1.9          24:06.1
Girl       8th Grade                                    N/A              N/A             N/A                N/A              N/A              N/A                         0 N/A               N/A              N/A               N/A              N/A
Girl       8th Grade                                    N/A              N/A             N/A                N/A              N/A              N/A                        14              1.55          12:53.7         0:08:19                1.9          15:00.6




                                                                                                                     2021 Team

    CONFIDENTIAL
                                                                                                                                                                                                                       HCBOE 01266
                                                                                                                                                                                                                                    Armistead App. 1546




                                 Braxton Invitational                                Doddridge Invitational                            Taylor County Invitational                   Mountain Holler Invitational-University HS     XC Time Trial-Bridgeport City Park Course
1                              Saturday, September 25                               Thursday, September 16                             Wednesday, September 8                                Thursday, September 2                        Tuesday, August 24, 2021
 Pace Per Mile        Distance       Actual Time      Pace Per Mile        Distance       Actual Time     Pace Per Mile        Distance       Actual Time      Pace Per Mile        Distance      Actual Time      Pace Per Mile Place Course Length TT Time TT Pace/Mile
        05:47.7                  2          13:03.5          06:31.8                1.9          11:01.2         05:48.0                1.9          11:26.0          06:01.1                 2           12:10.1          06:05.0   1            1.55 10:28.9         0:06:46
N/A                              2          14:18.5          07:09.2   N/A              N/A              N/A                            1.9          13:00.0          06:50.5                 2           13:36.1          06:48.1   4            1.55 11:24.8         0:07:22
        07:40.4                  2          14:40.6          07:20.3                1.9          13:21.8         07:02.0                1.9          13:33.0          07:07.9                 2           14:20.7          07:10.3   3            1.55 11:23.5         0:07:21
        06:47.2                  2          14:44.8          07:22.4                1.9          13:39.2         07:11.2                1.9          13:49.0          07:16.3                 2           14:41.8          07:20.9  11            1.55 12:13.5         0:07:53
        07:03.7                  2          15:11.3          07:35.6   N/A              N/A              N/A                            1.9          13:52.0          07:17.9                 2           15:07.6          07:33.8   8            1.55 12:07.3         0:07:49
        07:50.2                  2          16:21.4          08:10.7                1.9          14:36.2         07:41.2                1.9          14:32.0          07:38.9                 2           16:17.5          08:08.8   9            1.55 12:12.6         0:07:53
        07:32.8                  2          16:13.9          08:07.0                1.9          15:50.6         08:20.3                1.9          16:05.0          08:27.9                 2           18:13.1          09:06.6  12            1.55 12:33.4         0:08:06
        07:25.0                  2          16:26.4          08:13.2   N/A              N/A              N/A                            1.9          14:34.0          07:40.0                 2           16:52.3          08:26.1   0 N/A             N/A       N/A
        07:35.4                  2          16:37.1          08:18.6                1.9          16:37.4         08:44.9                1.9          16:49.0          08:51.1                 2           18:20.5          09:10.3  16            1.55 13:06.2         0:08:27
        08:05.0                  2          18:13.6          09:06.8                1.9          16:51.0         08:52.1                1.9          16:49.1          08:51.1                 2           20:03.9          10:02.0  20            1.55 14:31.7         0:09:22
        09:11.4                  2          18:39.3          09:19.6                1.9          18:32.6         09:45.6                1.9          17:28.0          09:11.6                 2           20:05.1          10:02.5  28            1.55 18:37.2         0:12:01
        08:46.4                  2          20:26.5          10:13.3                1.9          18:57.9         09:58.9                1.9          18:50.0          09:54.7                 2           21:20.4          10:40.2  26            1.55 16:21.2         0:10:33
        10:11.9                  2          22:33.3          11:16.7                1.9          21:07.7         11:07.2                1.9          20:40.0          10:52.6                 2           21:54.7          10:57.4  33            1.55 19:37.6         0:12:40
N/A               N/A              N/A              N/A                N/A              N/A              N/A                            1.9          20:58.0          11:02.1   N/A             N/A               N/A               29            1.55 18:41.0         0:12:03
N/A               N/A              N/A              N/A                             1.9          15:02.7         07:55.1   N/A              N/A              N/A                N/A             N/A               N/A               10            1.55 12:13.0         0:07:53
        07:00.3                  2          15:02.3          07:31.2                1.9          14:29.7         07:37.7                1.9          14:10.0          07:27.4                 2           15:32.1          07:46.1  17            1.55 13:50.2         0:08:56
        07:03.1                  2          14:49.9          07:25.0                1.9          14:06.3         07:25.4                1.9          14:08.0          07:26.3                 2           15:28.4          07:44.2   5            1.55 11:33.5         0:07:27
        06:59.3                  2          15:49.2          07:54.6                1.9          14:25.4         07:35.5                1.9          13:46.7          07:15.1                 2           16:17.8          08:08.9   7            1.55 11:38.7         0:07:31
        07:00.7                  2          16:17.8          08:08.9                1.9          14:13.0         07:28.9                1.9          15:25.0          08:06.8                 2           14:24.5          07:12.3  13            1.55 12:53.0         0:08:19
        07:46.6                  2          17:09.2          08:34.6                1.9          16:40.9         08:46.8                1.9          16:28.0          08:40.0                 2           16:24.8          08:12.4  24            1.55 15:28.1         0:09:59
        08:10.1                  2          18:20.2          09:10.1                1.9          16:40.5         08:46.6   N/A              N/A              N/A                N/A             N/A               N/A               19            1.55 14:18.2         0:09:14
        07:54.7                  2          17:50.3          08:55.2                1.9          16:50.8         08:52.0                1.9          17:41.0          09:18.4                 2           18:08.4          09:04.2  27            1.55 16:56.1         0:10:56
        08:27.2                  2          19:29.9          09:45.0                1.9          15:59.3         08:24.9                1.9          16:52.0          08:52.6                 2           17:20.1          08:40.0  15            1.55 12:59.8         0:08:23
        08:14.8   N/A              N/A              N/A                             1.9          17:25.7         09:10.4                1.9          16:43.0          08:47.9                 2           17:09.8          08:34.9  22            1.55 14:47.2         0:09:32
        09:12.7                  2          17:41.7          08:50.8                1.9          17:39.3         09:17.5                1.9          17:58.0          09:27.4                 2           18:35.8          09:17.9  23            1.55 15:25.5         0:09:57
N/A                              2          20:30.8          10:15.4                1.9          18:01.3         09:29.1                1.9          17:06.0          09:00.0                 2           17:34.4          08:47.2  21            1.55 14:32.2         0:09:23
        09:05.9                  2          21:06.2          10:33.1                1.9          18:05.5         09:31.3                1.9          18:09.0          09:33.2                 2           19:17.1          09:38.6  18            1.55 14:17.7         0:09:13
        10:01.4                  2          24:08.4          12:04.2                1.9          21:50.5         11:29.7                1.9          20:31.0          10:47.9                 2           21:46.1          10:53.0  30            1.55 19:04.5         0:12:18
        10:06.6                  2          22:44.2          11:22.1                1.9          19:49.2         10:25.9                1.9          20:53.0          10:59.5                 2           22:33.9          11:17.0  35            1.55 20:52.5         0:13:28
        09:34.6                  2          21:45.0          10:52.5                1.9          19:36.0         10:18.9                1.9          19:30.0          10:15.8                 2           20:43.7          10:21.8  25            1.55 15:42.3         0:10:08
        11:10.4                  2          27:04.2          13:32.1                1.9          22:25.5         11:48.2                1.9          23:30.0          12:22.1                 2           24:55.9          12:28.0  34            1.55 20:34.8         0:13:17
N/A               N/A              N/A              N/A                             1.9          22:06.9         11:38.4                1.9          21:47.0          11:27.9                 2           22:55.7          11:27.9  32            1.55 19:16.2         0:12:26
        12:41.1   N/A              N/A              N/A                             1.9          28:48.5         15:09.8                1.9          25:58.0          13:40.0   N/A             N/A               N/A               36            1.55 23:44.9         0:15:19
N/A               N/A              N/A              N/A                N/A              N/A              N/A               N/A              N/A              N/A                N/A             N/A               N/A               31            1.55 19:08.6         0:12:21
        07:54.0                  2          20:25.0          10:12.5   N/A              N/A              N/A               N/A              N/A              N/A                N/A             N/A               N/A               14            1.55 12:56.1         0:08:21




                                                                                                                                   2021 Team

CONFIDENTIAL
                                                                                                                                                                                                                                          HCBOE 01267
                                                                                                                                             Armistead App. 1547
                                                              XC Time Trial-Bridgeport City Park Course    XC Time Trial-Bridgeport City Park Course     Difference (BOLD is
                              Time Trial Comparison                  Thursday, October 7, 2021                    Tuesday, August 24, 2021                    improved)
   Boy/Girl      Grade:       First Name       Last Name   TT Place Course Length TT Time TT Pace/Mile Place Course Length TT Time TT Pace/Mile            Time Pace/Mile
Boy           7th Grade                                           0 N/A            N/A       N/A            10            1.55 12:13.0         0:07:53   N/A      N/A
Girl          8th Grade                                           0 N/A            N/A       N/A            31            1.55 19:08.6         0:12:21   N/A      N/A
Boy           8th Grade                                           0 N/A            N/A       N/A            20            1.55 14:31.7         0:09:22   N/A      N/A
Boy           7th Grade                                           0 N/A            N/A       N/A             8            1.55 12:07.3         0:07:49   N/A      N/A
Boy           8th Grade                                           0 N/A            N/A       N/A             4            1.55 11:24.8         0:07:22   N/A      N/A
Girl          7th Grade                                           0 N/A            N/A       N/A            19            1.55 14:18.2         0:09:14   N/A      N/A
Boy           7th Grade                                           0 N/A            N/A       N/A            29            1.55 18:41.0         0:12:03   N/A      N/A
Boy           8th Grade                                           1            1.55 09:34.6        0:06:11   1            1.55 10:28.9         0:06:46    00:54.3 0:00:35
Boy           7th Grade                                           2            1.55 10:52.2        0:07:01  17            1.55 13:50.2         0:08:56    02:58.0 0:01:55
Boy           7th Grade                                           3            1.55 10:54.9        0:07:03  11            1.55 12:13.5         0:07:53    01:18.5 0:00:51
Boy           6th Grade                                           4            1.55 10:58.8        0:07:05   5            1.55 11:33.5         0:07:27    00:34.7 0:00:22
Boy           6th Grade                                           5            1.55 11:24.7        0:07:22   3            1.55 11:23.5         0:07:21   00:01.2 0:00:01
Girl          8th Grade                                           6            1.55 11:25.3        0:07:22   7            1.55 11:38.7         0:07:31    00:13.4 0:00:09
Girl          6th Grade                                           7            1.55 11:25.8        0:07:22  13            1.55 12:53.0         0:08:19    01:27.2 0:00:56
Boy           8th Grade                                           8            1.55 11:42.4        0:07:33   9            1.55 12:12.6         0:07:53    00:30.2 0:00:19
Boy           6th Grade                                           9            1.55 11:47.7        0:07:37  12            1.55 12:33.4         0:08:06    00:45.7 0:00:29
Boy           8th Grade                                          10            1.55 12:04.6        0:07:47   0 N/A             N/A       N/A             N/A      N/A
Boy           7th Grade                                          11            1.55 12:08.3        0:07:50  16            1.55 13:06.2         0:08:27    00:57.8 0:00:37
Girl          8th Grade                                          12            1.55 12:29.5        0:08:04  15            1.55 12:59.8         0:08:23    00:30.3 0:00:20
Girl          6th Grade                                          13            1.55 12:31.9        0:08:05  24            1.55 15:28.1         0:09:59    02:56.2 0:01:54
Girl          8th Grade                                          14            1.55 12:53.7        0:08:19  14            1.55 12:56.1         0:08:21    00:02.4 0:00:02
Boy           7th Grade                                          15            1.55 13:26.9        0:08:41  28            1.55 18:37.2         0:12:01    05:10.3 0:03:20
Girl          7th Grade                                          16            1.55 13:44.4        0:08:52  23            1.55 15:25.5         0:09:57    01:41.1 0:01:05
Girl          6th Grade                                          17            1.55 13:49.7        0:08:55  22            1.55 14:47.2         0:09:32    00:57.5 0:00:37
Boy           7th Grade                                          18            1.55 13:52.5        0:08:57  26            1.55 16:21.2         0:10:33    02:28.7 0:01:36
Girl          7th Grade                                          19            1.55 13:56.8        0:09:00  21            1.55 14:32.2         0:09:23    00:35.4 0:00:23
Girl          8th Grade                                          20            1.55 14:52.2        0:09:36  18            1.55 14:17.7         0:09:13   00:34.5 0:00:22
Girl          8th Grade                                          21            1.55 14:53.3        0:09:36  25            1.55 15:42.3         0:10:08    00:49.0 0:00:32
Girl          6th Grade                                          22            1.55 15:17.6        0:09:52  35            1.55 20:52.5         0:13:28    05:34.9 0:03:36
Girl          6th Grade                                          23            1.55 15:23.9        0:09:56  27            1.55 16:56.1         0:10:56    01:32.2 0:01:00
Girl          6th Grade   B                P     -J              24            1.55 16:10.1        0:10:26  30            1.55 19:04.5         0:12:18    02:54.4 0:01:53
Girl          8th Grade                                          25            1.55 17:42.1        0:11:25  32            1.55 19:16.2         0:12:26    01:34.1 0:01:01
Girl          7th Grade                                          26            1.55 17:51.7        0:11:31  34            1.55 20:34.8         0:13:17    02:43.1 0:01:45
Boy           7th Grade                                          27            1.55 19:38.5        0:12:40  33            1.55 19:37.6         0:12:40   00:00.9 0:00:01
Girl          6th Grade                                          28            1.55 22:15.5        0:14:22  36            1.55 23:44.9         0:15:19    01:29.4 0:00:58




                                                                       Time Trial Comp
CONFIDENTIAL
                                                                                                                                                 HCBOE 01268
